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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  ) Chapter 11
                                                            )
    QUORUM HEALTH CORPORATION, et                           ) Case No. 20-10766 (KBO)
    al.,1                                                   )
                                                            ) (Joint Administration Requested)
                                      Debtors.              )
                                                            )

             CERTIFICATION OF DEBTORS’ CONSOLIDATED LIST OF CREDITORS

             In accordance with Rule 1007(a) of the Federal Rules of Bankruptcy Procedure and Rule

1007-2(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware (the “Local Bankruptcy Rules”), a list of creditors (the “List”)

of Quorum Health Corporation and its affiliated debtors and debtors-in-possession (collectively, the

“Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) is filed by attachment

hereto.

             The list has been prepared, on a consolidated basis, from the Debtors’ books and records.

The undersigned hereby certifies that the List contains the names and addresses of all creditors of

the Debtors that could be ascertained after diligent inquiry, based on a review of the Debtors’ books

and records, and is consistent with the information contained therein; provided, however, that the

List does not contain patient names, even if such patients might be creditors of the Debtors. To the

extent practicable, the List complies with Local Bankruptcy Rule 1007-2(a). The Debtors reserve

the right to amended or supplement the List as necessary.




1
      The last four digits of Quorum Health Corporation’s tax identification number are 5208. Due to the large number
      of Debtors in these chapter 11 cases, for which the Debtors have requested joint administration, a complete list of
      the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
      list of such information may be obtained on the website of the Debtors’ proposed claims and noticing agent at
      https://dm.epiq11.com/Quorum. The location of Quorum Health Corporation’s corporate headquarters and the
      Debtors’ service address is 1573 Mallory Lane, Brentwood, Tennessee 37027.

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       Although the information contained in the List is based on a review of the Debtors’ books

and records, the Debtors have not completed a comprehensive legal and/or factual investigation with

regard to possible defenses of the Debtors and their estates to any claims of the potential claimants

included in the List. In addition, certain of the parties included in the List may not hold outstanding

claims as of the date hereof, and therefore may not be creditors of the Debtors and their estates for

purposes of the Chapter 11 Cases. Therefore, the List does not, and should not be deemed or

otherwise construed to, constitute either (i) a waiver of any defenses of the Debtors and their estates

to any claims that may be asserted against the Debtors and their estates or (ii) an acknowledgment

or admission of the validity, priority, or amount of any claims that may be asserted against the

Debtors and their estates.

       I, Alfred Lumsdaine, an authorized signatory in these cases, declare under penalty of perjury

that I have reviewed the attached List and that it is true and correct to the best of my knowledge,

information and belief, with reliance on appropriate corporate officers and the Debtors’ books and

records.

Dated: April 7, 2020



                                                         Alfred Lumsdaine
                                                         Executive Vice President and
                                                         Chief Financial Officer




                                                  2
1 ON 1 FITNESS DEMING LLC Case 20-10766-BLS      Doc 6 ONE,
                                       11 SOUTH BUILDING  Filed
                                                              LLC04/07/20   Page
                                                                               11 3 of 1969
                                                                                  SOUTH BUILDING ONE, LLC
2303 COLUMBUS RD SE                    1000 ELEVEN SOUTH, STE 5A                P.O. BOX 140
DEMING, NM 88030                       P.O. BOX 140                             COLUMBIA, IL 62236
                                       COLUMBIA, IL 62236




142-PRAXAIR DISTRIBUTION INC            1-800 NOTIFY                            19TH WARD YOUTH FOUNDATION
P.O. BOX 120812 DEPT 0812               7950 NW 53RD ST                         10402 S WESTERN AVE
DALLAS, TX 75312-0812                   STE 341                                 CHICAGO, IL 60643
                                        MIAMI, FL 33166




1POINT VASCULAR LLC                     1ST ASSISTANT INC.                      1ST LOANS FINANCIAL
1616 S KENTUCKY                         P.O. BOX 679005                         12601 S WESTERM AVE
STE C420                                DALLAS, TX 75267-9005                   BLUE ISLAND, IL 60406
AMARILLO, TX 79102




20S HIDEOUT STEAKHOUSE & BAR            304 CREATIONS                           309 DESIGNS BY CHRISTINA LANDON
2602 WANDA                              17622 RT 152                            411 W SOUTH ST
MARION, IL 62959                        GENOA, WV 25517                         ABINGDON, IL 61410




309 DESIGNS BY CHRISTINA LANDON         32 WV SCHOOL OF OSTEOPATHIC MED         3-D TECHNOLOGY GROUP, LLC
411 W SOUTH STREET                      C/O ECSI                                701 COOL SPRINGS BLVD
ABINGDON, IL 61410                      P.O. BOX 718                            5TH FL, STE 510
                                        WEXFORD, PA 15090-0718                  FRANKLIN, TN 37067




3DR LABS II LLC                         3GS, LLC DBA DATALOCK                   3M COMPANY
C/O DESALVO AND COMPANY                 1970 W. EXPRESSWAY 83                   2807 PAYSPHERE CIR
9987 CARVER RD, STE 210                 MERCEDES, TX 78570                      CHICAGO, IL 60674
CINCINNATI, OH 45242-0000




3M COMPANY                              3M COMPANY                              3M HEALTH INFORMATION SYSTEMS
DEPT 0881                               P.O. BOX 842689                         575 WEST MURRAY BLVD
P.O. BOX 120881                         DALLAS, TX 75284-2689                   MURRAY, UT 84157
DALLAS, TX 75312-0881




3M HEALTHCARE                           3T MEDICAL SYSTEMS, INC.                415 GROUP
P.O. BOX 842689                         40515 KOPPERNICK RD                     4100 HOLIDAY ST NW
DALLAS, TX 75284-2689                   CANTON, MI 48187                        CANTON, OH 44718




4IMPRINT, INC                           4IMPRINT, INC                           4TH CIRCUIT FVCC
101 COMMERCE ST                         25303 NETWORK PL                        27390 W 4TH ST RD
OSHKOSH, WI 54901                       CHICAGO, IL 60673-1253                  CENTRALIA, IL 62801




4-WEB INC                               515 FCA                                 5250 INC
4 WEB MEDICAL                           P.O. BOX 1612                           P.O. BOX 2259
P.O. BOX 671718                         BLUE RIDGE, GA 30513                    BLUE RIDGE, GA 30513
DALLAS, TX 75267-1718
641 PLUMBING AND ELECTRICCase 20-10766-BLS      Doc 6
                                      7M FABRICATION      Filed 04/07/20   Page 4 ofDISTRICT
                                                                              828TH  1969 AGRICULTURAL
1182 N POPLAR ST                      807 NORTH 8TH ST                        ASSOCIATION
PARIS, TN 38242                       ALPINE, TX 79830                        14800 7TH ST
                                                                              VICTORVILLE, CA 92395




9W HALO OPCO LP                        A & B GLASS                            A & E MEDICAL CORP
ATL LOCKBOX - P.O. BOX 532268          3208 E FM 700                          5206 ASBURY RD
ATLANTA, GA 30353-2268                 BIG SPRING, TX 79720                   P.O. BOX 758
                                                                              FARMINGDALE, NJ 07727




A & G CLAIMS                           A & H BALANCE CO, INC                  A & O FOODS, INC.
4940 CAMPBELL BLVD STE 170             169 E. REYNOLDS RD, STE 206A           P.O. BOX 896
BALTIMORE, MD 21236                    LEXINGTON, KY 40517                    JONESBORO, IL 62952




A A R P UHC CLAIM DIV.                 A AMERICAN COACH TOURS INC             A AND G AUTOMOTIVE INC
POB 740819                             3454 WASHINGTON ST                     109 TRANSCRAFT DR
ATLANTA, GA 30374-0819                 PARK CITY, IL 60085                    ANNA, IL 62906-0000




A BUSHONG, ASHLEY                      A C SYSTEMS, INC                       A FAIR BARN CATERING
209 S 4TH ST                           11724 ADIE RD                          802 W 5TH ST
MONMOUTH, IL 61462                     MARYLAND HEIGHTS, MO 63043-3302        FLORA, IL 62839




A FAIR BARN                            A FINE SWINE BBQ & PIZZA               A M I C I, INC
3416 HOTZE RD                          3106 BRDWAY ST                         518 VINCENT ST
SALEM, IL 62881                        MT. VERNON, IL 62864                   SPRING CITY, PA 19475




APIC                                   A POCKET FULL OF SUNSHINE, LLC         A S D SPECIALTY HEALTHCARE
2651 WARRENVILLE RD                    11384 E. IDLEWOOD RD                   1950 N STEMMONS FREEWAY STE 5010
DOWNERS GROVE, IL 60515-5753           MT. VERNON, IL 62864                   LOCKBOX 848104
                                                                              DALLAS, TX 75207




A SAY INC                              A SELF STORAGE                         A SELF STORAGE
SAY COMMUNICATIONS LLC                 P.O. BOX 2259                          P.O. BOX 2259
155 WOOSTER ST 4F                      BLUE RIDGE, GA 30513                   BLUE RIDGE, GA 30513
NEW YORK, NY 10012




A SIGN OF RECOGNITION,LLC              A STAT COURIER SERVICE, LLC            A TEC AMBULANCE INC
2208 DARK SKIES LN                     P.O. BOX 36521                         P.O. BOX 457
ALPINE, TX 79830                       ALBUQUERQUE, NM 87176                  WHEELING, IL 60090




A W POLLARD INS AGENCY                 A&I BENEFIT ADMIN                      A&K SPECIALTY CONTRACTORS,INC
P.O. BOX 879                           P.O. BOX 3236                          710 ROBINSON DR
DEMING, NM 88031                       PORTLAND, OR 97208                     MARION, IL 62959
A. WEINSTEIN & ASSOC       Case 20-10766-BLS     Doc 6
                                        A.C. MCCARTNEY       Filed 04/07/20   Page 5 MCCARTNEY
                                                                                 A.C. of 1969
1259A RAND RD                            606 N SPARTA                            606 N SPARTA
DES PLAINES, IL 60016                    P.O. BOX 465                            PO BOX 465
                                         WATAGA, IL 61488                        WATAGA, IL 61488




A.D. HUESING CORP                        A.D. HUESING CORP                       A.M.I. INC
P.O. BOX 7425                            PO BOX 7425                             89 FRONT STREET, SUITE 309
MADISON, WI 53707-7425                   MADISON, WI 53707-7425                  MARBLEHEAD, MA 01945




A.O.P. ORTHOTIC & PROSHETICS             A.S. FABRICATING, INC.                  A-1 AUTOMOTIVE
835-B JOHN HOPKINS DR                    15518 N. HWY 37                         733 PHILLIPS 210 RD
GREENVILLE, NC 27834                     MT. VERNON, IL 62864                    LEXA, AR 72355




A1 BUILDERS LLC                          A-1 JANITORIAL SERVICES                 A-1 LOCK AND SECURITY/10
PAUL E ROMERO                            RICHARD & CYNTHIA R. TREVINO            209 W. EMERY ST
10727 MCMICHAEL LN SW                    P.O. BOX 2414                           DALTON, GA 30720
ALBUQUERQUE, NM 87121                    ODESSA, TX 79760-2414




A-1 SERVICES INC                         A-2 SUBURBAN PLUMBIN, INC               A2Z LOCK & SECURITY
47 NORTH 600 EAST                        P.O. BOX 364                            915 E. MAIN STREET
ST GEORGE, UT 84770                      MIDLOTHIAN, IL 60445                    BARSTOW, CA 92311




AAA FIRE PROTECTION CORP                 AAA QUALITY APPLIANCE CARE INC          AAA SELF STORAGE
P.O. BOX 43334                           1370 S BERTELSEN RD                     P.O. BOX 12535
LAS VEGAS, NV 89116-1334                 EUGENE, OR 97402                        JACKSON, TN 38308




AAA TENT MASTERS                         AAAM                                    AABB SALES DEPT
15828 93RD ST                            35 E WACKER DRIVE SUITE 850             8101 GLENBROOK RD
KENOSHA, WI 53142                        CHICAGO, IL 60601                       BETHESDA, MD 20814




AABB SALES DEPT                          AABCE REMODELING INC                    AACN CERTIFICATION CORP
P.O. BOX 791251                          3409 COUNTRYSIDE DR                     101 COLUMBIA
BALTIMORE, MD 21279                      JOHNSBURG, IL 60051                     ALISO VIEJO, CA 92656-4109




AACVPR PROGRAM CERTIFICATION             AADCO MEDICAL, INC                      AADVANTAGE LAUNDRY SYSTEMS, INC
8556 SOLUTIONS CENTER                    2279 VT RTE 66 CATAMOUNT COMM           2510 NATIONAL DR
CHICAGO, IL 60677-8005                   P.O. BOX 410                            GARLAND, TX 75041-0000
                                         RANDOLPH, VT 05060




AAF INTERNATIONAL                        AAIM EMPLOYERS ASSOCIATION              AALDERS, DONALEE
24828 NETWORK PLACE                      P.O. BOX 790379                         468 WHEATRIDGE RD
CHICAGO, IL 60673-1248                   ST LOUIS, MO 63179                      STANSBURY, UT 84074
AAMI PUBLICATIONS        Case 20-10766-BLS
                                      AAMI      Doc 6 Filed 04/07/20      Page 6 of 1969
                                                                             AARC
P.O. BOX 0211                         P.O. BOX 890694                        P.O. BOX 650097
ANNAPOLIS JUNCTION, MD 20701-0211     CHARLOTTE, NC 28289-0694               DALLAS, TX 75265-0097




AARON CARTER                         AARON JAMES HILL AND TYRONE FLOYD       AARON M OBRIEN MD
P.O.BOX 304                          BERRY                                   AARON M OBRIEN MD PC
PICKNEYVILLE, IL 62274               C/O BRADLEY CARTER, SEAN AIELLO,        2794 E 3710 S
                                     SCHELL & OGLESBY, LLC                   ST GEORGE, UT 84790
                                     509 NEW HIGHWAY 96 WEST, SUITE 201
                                     FRANKLIN, TN 37064

AARON MURRAY                         AARON, BEATRICE                         AARON, KENDRICK DO. PRS
103 N SCOTT ST                       P.O. BOX 3022                           ADDRESS ON FILE
PO BOX 276                           BLAIRSVILLE, GA 30514
ALEXIS, IL 61412




AARON, KENDRICK, DO. PRS             AARON, KIMBERLY G.                      AARON, NAOMI
ADDRESS ON FILE                      9329 NC HIGHWAY 33 E                    7535 S HONORE ST
                                     CHOCOWINITY, NC 27817                   CHICAGO, IL 60620




AARP HEALTH CARE OPTIONS             AARP HEALTHCARE OPTION                  AARP HEALTHCARE OPTIONS
UNITED HEALTHCARE                    P.O. BOX 740819                         P.O. BOX 740819
P.O. BOX 740819                      ATLANTA, GA 30374                       ATLANTA, GA 30374-0819
ATLANTA, GA 30374-0819




AARP INSURANCE CO                    AARP REFUNDS CHECK CONTROL              AARP UHC CLAIM DIV.
P.O. BOX 740819                      P.O. BOX 740819                         P.O. BOX 740819
ATLANTA, GA 30374-0819               ATLANTA, GA 30374-0819                  ATLANTA, GA 30374-0819




AARP UNITED HEALTHCARE               AARP                                    AARP
PO BOX 740819                        P.O. BOX 31362                          RECOVERY SERVICES
ATLANTA, GA 30374-0819               SALT LAKE CITY, UT 84131                P.O. BOX 101760
                                                                             ATLANTA, GA 30392-1760




AARP                                 AARP                                    AARP
UNITED HEALTHCARE CLAIMS             UNITED HEALTHCARE CLAIMS                UNITED HEALTHCARE CLAIMS
P.O. BOX 704819                      P.O. BOX 740819                         P.O. BOX 740819
ATLANTA, GA 30374-0819               ATLANTA, GA 30374-0000                  ATLANTA, GA 30374-0819




AARP                                 AARP/MEDICARE COMPLTE UHC               AARP/UNITED HEALTHCARE
UNITED HEALTHCARE CLAIMS             P.O. BOX 30974                          P.O. BOX 740819
PO BOX 740819                        SALT LAKE CITY, UT 84130-0974           ATLANTA, GA 30374-0819
ATLANTA, GA 30374-0819




AARSETH, SHEILA                      AASPA                                   AB STAFFING SOLUTIONS LLC
314 W COLLEGE ST                     P.O. BOX 781688                         3451 S MERCY RD STE 102
SPARTA, IL 62286                     SEBASTIAN, FL 32978                     GILBERT, AZ 85297-0000
AB WATER TECHNOLOGIES & Case
                        SVC LLC20-10766-BLS     Doc 6SOLUTIONS
                                       ABACUS HEALTH      Filed 04/07/20
                                                                LLC        Page 7 ofFERNANDO
                                                                              ABAD,  1969 O.
1301 DON BUDGE WAY                     1210 PONTIAC AVE                       ADDRESS ON FILE
EL PASO, TX 79936                      CRANSTON, RI 02920-0000




ABAD, FERNANDO                         ABAD, JULIE                            ABAD, JULIE
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




ABANATHA, BRITTNAY L.                  ABATEMENT TECHNOLOGIES, INC.           ABB POWER PROTECTION, LLC
ADDRESS ON FILE                        605 SATELLITE BLVD, SUITE 300          27583 NETWORK PL
                                       SUWANEE, GA 30024                      CHICAGO, IL 60673-1275




ABBASI, ISMAIL Z.                      ABBETT, MICHAEL E.                     ABBEVILLE COUNTY MEMORIAL HOSPITAL
7210 W 107TH ST APT 28                 132 DOUGLAS PL                         420 THOMSON CIRCLE
WORTH, IL 60482                        GRANITE CITY, IL 62040                 P.O. BOX 887
                                                                              ABBEVILLE, SC 29620-0887




ABBEY, ERNEST A.                       ABBOTT & BINGLEY                       ABBOTT / AMO SALES & SERVICES, INC
ADDRESS ON FILE                        1650 DES PERES RD                      75 REMITTANCE DR STE1437
                                       STE 220                                CHICAGO, IL 60675-1437
                                       ST. LOUIS, MO 63131




ABBOTT DIABETES CARE SALES CORP        ABBOTT DIAGNOSTICS                     ABBOTT EMS OF ILLINOIS
ABBOTT LABORATORIES                    P.O. BOX 92679                         P.O. BOX 847199
P.O. BOX 92679                         CHICAGO, IL 60675-2679                 DALLAS, TX 75284-7199
CHICAGO, IL 60675-2679




ABBOTT LABORATORIES DBA ST JUDE        ABBOTT LABORATORIES DIAGNOSTIC         ABBOTT LABORATORIES INC
MEDICAL                                P.O. BOX 100997                        22400 NETWORK PLACE
22400 NETWORK PLACE                    ATLANTA, GA 30384-0997                 CHICAGO, IL 60673-1224
CHICAGO, IL 60673-1224




ABBOTT LABORATORIES INC                ABBOTT LABORATORIES                    ABBOTT LABORATORIES
ABBOTT NUTRITION                       22400 NETWORK PLACE                    DUNCAN EIDT, NATIONAL ACCOUNT
75 REMITTANCE DR 1310                  CHICAGO, IL 60673-1224                 MANAGER
CHICAGO, IL 60675-1310                                                        3650 MANSELL RD SUITE 200
                                                                              ALPHARETTA, GA 30022



ABBOTT LABORATORIES                    ABBOTT LABORATORIES, INC               ABBOTT LABORATORIES, INC
P.O. BOX 92679                         100 ABBOTT PARK RD                     22400 NETWORK PL
CHICAGO, IL 60675                      ABBOTT PARK, IL 60064                  CHICAGO, IL 60673-1224




ABBOTT LABORATORIES, INC               ABBOTT LABORATORIES, INC               ABBOTT LABORATORIES, INC
75 REMITTANCE DR STE 1310              HOSPITAL PRODUCTS DIVISION             P.O. BOX 100997
CHICAGO, IL 60675-1310                 22400 NETWORK PL                       ATLANTA, GA 30384-0997
                                       CHICAGO, IL 60673-1224
ABBOTT LABORATORIES, INC Case 20-10766-BLS      Doc 6 Filed 04/07/20
                                      ABBOTT LABORATORIES/DIAG         Page 8 of 1969
                                                                          ABBOTT LABORATORIES/DIAG
P.O. BOX 92679                        P.O. BOX 92679                       P.O. BOX 92679
CHICAGO, IL 60675-2679                CHICAGO, IL 60675                    CHICAGO, IL 60675-2679




ABBOTT LABORATORIES/VAS DIV          ABBOTT NUTRITION                      ABBOTT NUTRITION
75 REMITTANCE DRIVE, SUITE 1138      22400 NETWORK PL                      75 REMITTANCE DR STE 1310
CHICAGO, IL 60675-1138               CHICAGO, IL 60673-1224                CHICAGO, IL 60675-1310




ABBOTT NUTRITION                     ABBOTT NUTRITION                      ABBOTT NUTRITION
75 REMITTANCE DRIVE STE 1310         P.O. BOX 100997                       P.O. BOX 92679
CHICAGO, IL 60675-1310               ATLANTA, GA 30384                     CHICAGO, IL 60675-2679




ABBOTT POINT-POINT-OF-CARE           ABBOTT VASCULAR INC                   ABBOTT VASCULAR INC
P.O. BOX 92679                       22400 NETWORK PL                      75 REMITTANCE DR STE 1138
CHICAGO, IL 60675-2679               CHICAGO, IL 60673-1224                CHICAGO, IL 60675




ABBOTT VASCULAR INC                  ABBOTT VASCULAR                       ABBOTT, JENI
75 REMITTANCE DR STE 1138            75 REMITTANCE DR                      ADDRESS ON FILE
CHICAGO, IL 60675-1138               SUITE 1138
                                     CHICAGO, IL 60675




ABBOTT, WILBERT                      ABBVIE INC DBA ABBVIE US LLC          ABBVIE INC DBA ABBVIE US LLC
2432 MORRISON RD                     1 N WAUKEGAN RD                       62671 COLLECTION CENTER DR
GRANITE CITY, IL 62040               NORTH CHICAGO, IL 60064               CHICAGO, IL 60693-0626




ABBVIE US LLC                        ABC DOOR                              ABC LOCKBOX
62671 COLLECTION CENTER DR           2915 RICHMOND NE                      P.O. BOX 533014
CHICAGO, IL 60693-0626               ALBUQUERQUE, NM 87107                 ATLANTA, GA 30353




ABC PRINTING CO                      ABC, INC.                             ABDI, MOHAMED
406 N MAIN ST                                                              186 WILLIAM MANLY ST. UNIT 1
LAS CRUCES, NM 88001                                                       SAN JOSE, CA 95136




ABDUL-RAHMAN SHARAN                  ABDUR RAHMAN, IDRIES MD PRS           ABDUR RAHMAN, IDRIES MD PRS
322 E MONTANA ST                     34320 N BOBOLINK TRAIL                ADDRESS ON FILE
PHILADELPHIA, PA 19119               GRAYSLAKE, IL 60030




ABDUR RAHMAN, JAMIL MD PRS           ABDUR RAHMAN, JAMIL MD PRS            ABDUR REHMAN
24700 W INDIAN TRAIL RD              ADDRESS ON FILE                       ADDRESS ON FILE
BARRINGTON, IL 60010
ABEAR, WALTER M.            Case 20-10766-BLS    Doc COMPANY
                                         ABEC ELECTRIC 6 FiledINC
                                                                04/07/20   Page 9 ofJESSICA
                                                                              ABEL,   1969
ADDRESS ON FILE                           407 SPENCE LN                        2640 ROUND RIDGE RD
                                          NASVHILLE, TN 37210                  LOGANVILLE, GA 30052




ABELL, HOLLY L.                           ABELL, LINETTE R                     ABELL, LYDIA A.
139 STONEBRIAR DR                         4835 S 4TH AVE                       402 SIDESADDLE CIRCLE
TROY, IL 62294                            PHOENIX, AZ 85041                    SCOTTS VALLEY, CA 95066




ABELL, NATHAN J.                          ABELN, KATHLEEN A.                   ABENDROTH, KURT
ADDRESS ON FILE                           139 BURLINGTON                       14529 WALDEN COURT
                                          COLLINSVILLE, IL 62234               APT G4
                                                                               OAK FOREST, IL 60452




ABENITY INC                               ABER, JEFFREY M.                     ABERCROMBIE, ECHO S.
725 COOL SPRINGS BLVD                     801 SOUTH MIAMI AVE                  226 BIG WILLOW LN
STE 600                                   3110                                 ELLIJAY, GA 30536
FRANKLIN, TN 37067                        MIAMI, FL 33130




ABERCROMBIE, SHARON                       ABEREGG, BRITTANY                    ABERLE, JAMES
1265 SPRINGVILLE HILL RD                  16 CRABAPPLE LN                      ADDRESS ON FILE
JONESBORO, IL 62952                       LOUISA, KY 41230




ABERN, ADAM S.                            ABERNATHY, JENNIFER                  ABERNATHY, MICHAEL G
17454 W WINNEBAGO DR                      2871 COLWELL ROAD                    1593 BATES RD
GRAYSLAKE, IL 60030                       BLUE RIDGE, GA 30513-3315            ELLIJAY, GA 30540




ABERNATHY, THOMAS                         ABETO, BRENDA D.                     ABEYTA, KENNETH
502 HWY 414 N                             ADDRESS ON FILE                      600 EL CRESTON CIRCLE
P.O. BOX 558                                                                   LAS VEGAS, NM 87701
MOUNTAIN VIEW, WY 82939-0558




ABEYTA, THOMAS R.                         ABF/ROM CARE HEALTH SERVICES         ABIGAIL GREAVES
ADDRESS ON FILE                           12984 MAURER IND DR, STE A           2331 W MOLLY LANE
                                          SUNSET HILLS, MO 63127-1554          DUNLAP, IL 61525




ABILA, DEEDRA                             ABILITY NETWORK INC.                 ABIOMED INC
366 NM HWY 386                            P.O. BOX 856015                      P.O. BOX 6214
ANTON CHICO, NM 87711                     MINNEAPOLIS, MN 55485-6015           BOSTON, MA 02212-6214




ABLES & ANNES, PC                         ABLES, PATRICIA                      ABMS SOLUTIONS LLC
100 N LASALLE ST STE 2207                 130 PARKER LN                        26146 NETWORK PL
CHICAGO, IL 60606                         LEXINGTON, TN 38351                  CHICAGO, IL 60673-1606
ABMS SOLUTIONS, LLC      Case 20-10766-BLS    Doc 6
                                      ABNER, ELMA        Filed 04/07/20   PageABNER,
                                                                               10 ofFAYE
                                                                                     1969
26146 NETWORK PL                       1850 ABNER FLAT RD                     10999 HWY 15 S
CHICAGO, IL 60673-1606                 BEATTYVILLE, KY 41311                  LOST CREEK, KY 41348




ABNER, MEGHAN                          ABNEY, BETTY J.                        ABOAGYE, LINDA O.
7602 ROB ST NW                         1445 JAMESTOWN RD                      3613 N HARRIER RD APT 204
MASSILLON, OH 44646                    COBDEN, IL 62920                       WAUKEGAN, IL 60087




ABOBON, FLORLILIA V.                   ABOUELZEIN, SHADIA M.                  ABR LOCKSMITHS
ADDRESS ON FILE                        P. O. BOX 830                          5371 MOBILE RD
                                       OAK LAWN, IL 60454                     BLUE RIDGE, GA 30513




ABRAHAM, HAZEL                         ABRAHAM, JOANNA                        ABRAHAM, JOVEN
5769 N WINDSONG DR                     2480 DOWNING CIRCLE                    ADDRESS ON FILE
STANSBURY, UT 84074                    GURNEE, IL 60031




ABRAHAM, PATRICIA                      ABRAMS ORA L.                          ABREA, KATRIS
1708 CHERRY CT                         1615 SUNSET AVE                        234 E CLARK ST
LAKE VILLA, IL 60046                   APT A14                                GRANTSVILLE, UT 84029
                                       WAUKEGAN, IL 60087




ABREGO, GLADYS                         ABREGO, KARINA                         ABRICA-GOMEZ, VANESSA
340 SW GARFIELD AVE                    147 ARTHUR RD                          33 MINTO RD APT 1105
MUNDELEIN, IL 60060                    WATSONVILLE, CA 95076                  WATSONVILLE, CA 95076




ABRIGG, ALICIA                         ABS MEDICAL INC                        ABS MEDICAL INC
13525 HILL AVE NW                      5217 THATCHER RD                       8482 SOLUTION CENTER
UNIONTOWN, OH 44685                    DOWNERS GROVE, IL 60515                CHICAGO, IL 60677-8004




ABSHER, CHERYL                         ABSOLUTE ACCESS ID LLC                 ABSOLUTE ADVERTISING, INC
4817 MARKET RD                         800 S GAY ST STE 7001                  14052 W 90TH AVE
MARION, IL 62959                       KNOXVILLE, TN 37929                    ST JOHN, IN 46373




ABSOLUTE FIRE PROTECTION INC           ABSOLUTE IMAGING SOLUTIONS, LLC        ABSOPURE WATER COMPANY
915 S COUNTY RD W                      ATTN: ACCOUNTS RECEIVABLE              DEPT 932259
ODESSA, TX 79763                       2403 SIDNEY ST, STE 220                P.O. BOX 701760
                                       PITTSBURGH, PA 15203                   PLYMOUTH, MI 48170




ABSOPURE WATER COMPANY                 ABSOPURE WATER COMPANY                 ABSOPURE WATER COMPANY
DEPT 932864                            DEPT 967054                            P.O. BOX 701760
P.O. BOX 701760                        P.O. BOX 701760                        PLYMOUTH, MI 48170-0970
PLYMOUTH, MI 48170-0970                PLYMOUTH, MI 48170
ABUGHOUSH, MUHANNAD A. Case 20-10766-BLS    Doc
                                    ABUKAMLEH,    6 D.
                                                JEHAD Filed 04/07/20     PageABUKHZAAM,
                                                                              11 of 1969LINDA J.
9821 RIDGELAND AVE                  13603 COBALT RD                           628 2ND ST
OAK LAWN, IL 60453                  VICTORVILLE, CA 92392                     BETHALTO, IL 62010




ABUNDES, ISAMAR                      ABURIZEG, MOHAMMAD R.                    ABU-SHAQRA, STEVEN
2912 W. GRANDVILLE AVE               2417 SOUTH RIDGELAND                     10215 SOUTH 84TH AVE
WAUKEGAN, IL 60085                   BERWYN, IL 60402                         PALOS HILLS, IL 60465




ACADEMIC BOOSTERS OF BREATHITT       ACADEMIC RADIOLOGY                       ACADEMY OF NUTRITION AND DIETETICS
COUNTY                               MMC BOX 101                              GENERAL ACCOUNT
P.O. BOX 1136                        701 N 1ST ST                             P.O. BOX 97215
JACKSON, KY 41339                    SPRINGFIELD, IL 62781                    CHICAGO, IL 60607




ACADEMY OF NUTRITION AND DIETETICS   ACCA C/O MEADOWBROOK                     ACCEL GRAPHICS
GENERAL ACCOUNT                      P.O. BOX 11047                           302 1ST ST EAST
P.O. BOX 97215                       MONTGOMERY, AL 36111                     FORT PAYNE, AL 35967-2016
CHICAGO, IL 60678-7215




ACCEL GRAPHICS, LLC                  ACCELECARE WOUND CENTER INC              ACCENT COST CONTAINMENT
302 1ST ST EAST                      28525 NETWORK PL                         171 MERCY RD
FORT PAYNE, AL 35967-2016            CHICAGO, IL 60673                        P.O. BOX 952366
                                                                              ST LOUIS, MO 63195-2366




ACCENT COST CONTAINMENT              ACCENT DESIGNS BY PAT HIGGINS LLC        ACCENT FOOD SERVICES, LLC
P.O. BOX 542007                      312 WILSON PIKE CR                       P.O. BOX 46114
OMAHA, NE 68154-8007                 BRENTWOOD, TN 37027                      HOUSTON, TX 77210-4603




ACCENT INS RECOVERY SOLUTION         ACCENT INS RECOVERY SOLUTIONS            ACCENT INS RECOVERY SOLUTIONS
171 MERCY RD                         171 MERCY RD                             171 MERCY RD
P.O. BOX 952366                      P.O. BOX 952366                          P.O. BOX 952366
ST LOUIS, MO 63195                   ST LOUIS, MO 63195-2366                  ST. LOUIS, MO 63195-2366




ACCENT INSURANCE                     ACCENT RECOVERIES                        ACCENT
171 MERCY RD                         P.O. BOX 952366                          11808 MIRACLE HILLS
P.O. BOX 952366                      ST. LOUIS, MO 63195                      P.O. BOX 542007
ST LOUIS, MO 63195-2366                                                       OMAHA, NE 68154




ACCENT                               ACCENT                                   ACCENT
CIGNA HEALTHCARE                     CIGNA HEALTHCARE                         CIGNA HEALTHCARE
11808 MIRACLE HILLS                  P.O. BOX 952366                          P.O. BOX 952366
P.O. BOX 542007                      ST LOUIS, MO 63195-2366                  ST LOUIS, MO 84115
OMAHA, NE 68154-8007



ACCENT                               ACCENT                                   ACCENT
COST CONTAINMENT                     P.O. BOX 952366                          P.O. BOX 952366
P.O. BOX 542007                      P.O. BOX 952366                          SAINT LOUIS, MO 63195-2366
OMAHA, NE 68154-8007                 ST LOUIS, MO 63195
ACCENT                     Case 20-10766-BLS
                                        ACCENT Doc 6         Filed 04/07/20   PageACCENT
                                                                                   12 of 1969
P.O. BOX 952366                         P.O. BOX 952366                           P.O. BOX 952366
ST LOUIS, MO 63195                      ST LOUIS, MO 63195                        ST LOUIS, MO 63195-2366




ACCENT                                  ACCENT                                    ACCENT
P.O. BOX 952366                         PO BOX 952366                             REFUND DEPARTMENT
ST. LOUIS, MO 63195-2366                ST LOUIS, MO 63195                        P.O. BOX 952366
                                                                                  ST LOUIS, MO 63195-2366




ACCENT                                  ACCESS INFORMATION MANAGEMENT             ACCESS MEDICAL SUPPLY INC.
REFUND DEPT                             P.O. BOX 21494                            658 ALBION AVE
P.O. BOX 952366                         NEW YORK, NY 10087-1494                   SCHAUMBURG, IL 60193
ST LOUIS, MO 63195-2366




ACCESS MEDICINE                         ACCESS                                    ACCESSORIES UNLIMITED
C/O STEVEN MANNING, MD                  P.O. BOX 310511                           P.O. BOX 982
112 WEST MAIN ST                        DES MOINES, IA 50331-0511                 COOKEVILLE, TN 38503
WILLIAMSTON, NC 27892




ACCIDENT FUND INS CO OF AMERICA         ACCLARENT, INC                            ACCOUNT CONTROL TECHNOLOGY INC
P.O. BOX 40790                          16888 COLLECTION CENTER DR                P.O. BOX 9025
LANSING, MI 48901                       CHICAGO, IL 60693-0168                    RENTON, WA 98057




ACCOUNT RESOLUTION CORP                 ACCOUNTEMPS                               ACCOUNTEMPS
700 GODDARD AVE                         12400 COLLECTIONS CENTER DR               P.O. BOX 743295
CHESTERFIELD, MO 63005                  CHICAGO, IL 60693                         LOS ANGELES, CA 90074-3295




ACCOUNTEMPS                             ACCOUNTING PRINICIPALS                    ACCREDITATION ASSOCIATION FOR
PO BOX 743295                           DEPT CH 14031                             AMBULATORY HEALTH CARE
LOS ANGELES, CA 90074-3295              PALATINE, IL 60055                        5250 OLD ORCHARD RD, STE 200
                                                                                  SKOKIE, IL 60077




ACCREDITATION COMMISSION FOR HEALTH     ACCRUENT LLC                              ACCTCORP INTERNATIONAL OF SALEM
CARE INC                                DEPT 3636                                 3700 RIVER ROAD N SUITE 7
139 WESTON OAKS CT                      P.O. BOX 123636                           KEIZER, OR 97303
CARY, NC 27513                          DALLAS, TX 75312-3636




ACCUPATH DIAGNOSTIC LAB INC             ACCURATE INSTRUMENT REPAIR SER            ACCURATE SURGICAL & SCIENTIFIC
LAB CORP                                14 COOL MEADOWS DR                        300 SHAMES DR
P.O. BOX 12140                          BALLWIN, MO 63011                         WESTBURY, NY 11590
BURLINGTON, NC 27216-2140




ACCUSITE SURGICAL SERVICES INC          ACCUSITE SURGICAL SERVICES INC            ACCUTECH
P.O. BOX 5007                           P.O. BOX 5007                             10125 S 52ND ST
GAINSVILLE, GA 30504                    GAINSVILLE, GA 30504                      FRANKLIN, WI 53132
ACCUTOME, INC.             Case 20-10766-BLS   Doc
                                        ACCUTOME, INC.6        Filed 04/07/20   PageACCUVEIN
                                                                                     13 of 1969
                                                                                             INC
3222 PHOENIX PIKE                         3222 PHOENIXVILLE PIKE                    DEPT CH 16850
MALVERN, PA 19355                         MALVERN, PA 19355                         PALATINE, IL 60055




ACCUVEIN, INC.                            ACCUVEIN, INC.                            ACCUVEIN, LLC
40 GOOSE HILL RD                          DEPT. CH 16850                            40 GOOSE HILL RD
COLD SPRING HARBOR, NY 11724              PALATINE, IL 60055                        COLD SPRING HARBOR, NY 11724




ACE DISPOSAL INCORPORATED                 ACE ELECTRIC LAB SYSTEMS                  ACE ELECTRIC LABS SYSTEMS
P.O. BOX 2608                             1550 S KINGSHIGHWAY BLVD                  1550 S KINGSHIGHWAY BLVD
SALT LAKE CITY, UT 84110                  ST LOUIS, MO 63110                        ST. LOUIS, MO 63110




ACE HARDWARE                              ACE HARDWARE                              ACE HARDWARE
102 W MESQUITE BLVD                       1350 SOUTH MAIN                           P.O. BOX 140
MESQUITE, NV 89027                        RED BUD, IL 62278                         COLUMBIA, IL 62236




ACE HARDWARE/LIBERTYVILLE                 ACE HEATING AND AIR, INC                  ACE HVAC, LLC
155 PETERSON RD                           249 W UTAH AVE                            3983 N 570 W
LIBERTYVILLE, IL 60048                    TOOELE, UT 84074-0000                     ERDA, UT 84074




ACE HVAC, LLC                             ACE PROPERTY & CASUALTY CO                ACE RECYCLING & DISPOSAL
P.O. BOX 292                              P.O. BOX 6561                             2274 S TECHNOLOGY DR
STOCKTON, UT 84071                        SCRANTON, PA 18505-6561                   WEST VALLEY CITY, UT 84119




ACE RECYCLING & DISPOSAL                  ACE REFRIGERATION SVC PROVIDERS LLC       ACE REWINDING
P.O. BOX 2608                             104 BLUE BIRD LN                          113 SOUTH 23RD
SALT LAKE CITY, UT 84110                  BLUE RIDGE, GA 30513                      WEST MEMPHIS, AR 72301




ACE ROLL-OFF SERVICE INC                  ACE ROOF CARE                             ACEDO, ANGELINA
7222 WAYNESBURG RD                        88432 TIMBERLINE DRIVE                    ADDRESS ON FILE
WAYNESBURG, OH 44688                      VENETA, OR 97487




ACEES STORE                               ACELL INC                                 ACELL INC
510 FRONT ST                              6640 ELI WHITNEY DR                       P.O. BOX 347766
DONGOLA, IL 62926                         STE 200                                   PITTSBURGH, PA 15251-4766
                                          COLUMBIA, MD 21046




ACEVISION ULTRASOUND,LLC                  ACEVISION, INC                            ACFALLE, CHARISSE T.
245 W ROOSEVELT RD                        1513 DANIEL COURT                         ADDRESS ON FILE
BLDG 7 UNIT 47                            SYCAMORE, IL 60178
WEST CHICAGO, IL 60185
ACHC                     Case 20-10766-BLS     DocLLC
                                      ACI MEDICAL,  6       Filed 04/07/20   PageACIST
                                                                                  14 of  1969 SYSTEMS INC
                                                                                       MEDICAL
139 WESTON OAKS CT                      1857 DIAMOND ST                          7905 FULLER RD
CARY, NC 27513                          SAN MARCOS, CA 92078                     EDEN PRAIRIE, MN 55344




ACIST MEDICAL SYSTEMS INC               ACKER, AVA                               ACKER, MISTY CHERYL
P.O. BOX 978975                         P.O. BOX 1055                            2090 W 27TH AVE
DALLAS, TX 75397-8975                   MCCAYSVILLE, GA 30555                    EUGENE, OR 97405-0000




ACKERMAN, SHERRY L.                     ACKERMANN, ROBERT L.                     ACKERSON, MICHAEL
125 PLAINMONT ST NE                     P.O. BOX 1099                            240 NORTH WEST 5TH ST
NAVARRE, OH 44662                       WAUKEGAN, IL 60079                       WOODHULL, IL 61490




ACKLEY, RICHARD M.                      ACKLIN, ANGELA Y.                        ACKLIN, JASON A.
3008 ZEB BR                             ADDRESS ON FILE                          ADDRESS ON FILE
EAST RIDGE, KY 41216




ACL SERVICES LTD                        ACL                                      ACM PRODUCTION CO., LLC
C/O TX9113U                             P.O. BOX 27901                           2642 W 880 N
P.O. BOX 55950                          WEST ALLIS, WI 53227                     PROVO, UT 84601
BOSTON, MA 02205-5950




ACME CREDIT SERVICE/CHECK ALERT         ACOBA, ANTONIO G.                        ACOCKS, DAVID
ATTN: REFUNDS                           971 HANCOCK ST                           808 MISSOURI AVE
1124 S 8TH, P.O. BOX 3762               SALINAS, CA 93906                        SOUTH ROXANA, IL 62087
SPRINGFIELD, IL 62706




ACOFP                                   ACOG                                     ACOG
6532 SOLUTION CENTER                    AMERICAN COLLEGE OF OB&GYN               P.O. BOX 826312
CHICAGO, IL 60677-6005                  P.O. BOX 117223                          PHILADELPHIA, PA 19182-6312
                                        ATLANTA, GA 30368-7223




ACOG                                    ACORN PARK LLC                           ACOS
PO BOX 117223                           P.O. BOX 714                             123 NORTH HENRY STREET
ATLANTA, GA 30368                       SPRINGFIELD, OR 97477                    ALEXANDRIA, VA 22314-2903




ACOSTA MEDICAL TESTING CORPORATION      ACOSTA MENENDEZ, VANESSA                 ACOSTA, DOROTHY
1010 165TH ST                           ADDRESS ON FILE                          ADDRESS ON FILE
HAMMOND, IN 46324




ACOSTA, FLORDELIZA P.                   ACOSTA, FRANCISCO J.                     ACOSTA, HAYLI
ADDRESS ON FILE                         225 BOCKIUS ST                           901 N GLEN EAGLES DR
                                        WATSONVILLE, CA 95076                    TOOELE, UT 84074
ACOSTA, INGRID            Case 20-10766-BLS     Doc 6
                                       ACOSTA, INGRID       Filed 04/07/20   PageACOSTA,
                                                                                  15 of 1969
                                                                                         JOAQUIN A.
ADDRESS ON FILE                         ADDRESS ON FILE                           P.O. BOX 1642
                                                                                  SANTA CRUZ, CA 95061




ACOSTA, JOEL E.                         ACOSTA, MARIAH E.                         ACOSTA, MD, CHRISTIAN
ADDRESS ON FILE                         606 PALM AVE                              1420, NE MIAMI PL,
                                        SEASIDE, CA 93955                         APT 1401
                                                                                  MIAMI, FL 33132




ACOSTA, MELINDA                         ACOSTA, NOEMI                             ACOSTA, ROSA
25522 TAMARISK ST                       ADDRESS ON FILE                           ADDRESS ON FILE
BARSTOW, CA 92311




ACP                                     ACR                                       ACREMAN, SCOTT
P.O. BOX 7777                           MAMMOGRAPHY ACCREDTATION                  102 PINEHURST DR
PHILADELPHIA, PA 19175-0260             1891 PRESTON WHITE DR                     GREENVILLE, AL 36037
                                        RESTON, VA 20191-4326




ACR-RE ACCREDITATION                    ACS DRIVES, INC                           ACS EDUCATION SERVICES, INC
1891 PRESTON WHITE DR                   905 OLD WARRIOR RIVER RD                  P.O. BOX 7051
RESTON, VA 20191-4326                   HUEYTOWN, AL 35023                        UTICA, NY 13504-7051




ACS EDUCATION SERVICES, INC.            ACS PRIMARY CARE PHYSICIANS –             ACS
P.O. BOX 7051                           SOUTHEAST, P.C.                           RE:BRANDI WOODS WEBB J-0786-0433
UTICA, NY 13504-7051                    809 82ND PKWY                             P.O. BOX 7051
                                        MYRTLE BEACH, SC 29572-4607               UTICA, NY 13504-7051




ACSM                                    ACSM                                      ACT
P.O. BOX 1440                           PO BOX 1440                               ONE TRANSIT WAY
INDIANAPOLIS, IN 46206-0000             INDIANAPOLIS, IN 46206-0000               GRANITE CITY, IL 62040




ACTEON NETWORKS, LLC                    ACTION ADVERTISING, INC                   ACTION MEDIA
165 INDIANA AVE                         300-8 EAST ARLINGTON BLVD                 P.O. BOX 26
FORT WASHINGTON, PA 19034               GREENVILLE, NC 27854                      WALTONVILLE, IL 62894




ACTIS, ROBERT J.                        ACTIVE MEDICAL INC                        ACTIVE MEDICAL LLC
3341 STOREY BLVD                        2200-B HUMMINGBIRD LANE                   3890 TEASY VALLEY RD
EUGENE, OR 97405                        HARRISBURGH, PA 17112                     HURRICANE, WV 25526




ACTIVE SURGICAL LLC                     ACTON, JAMES H.                           ACTON, RYAN
6033 HILLCREST RD                       54 SCHOOL ST                              112 KING ARTHUR CT
MEDFORD, OR 97504                       VALLEY HEAD, AL 35989                     COLLINSVILLE, IL 62234
ACUDERM, INC              Case 20-10766-BLS    Doc 6 R.Filed 04/07/20
                                       ACUFF, CHRISTINA                  PageACUFF,
                                                                              16 ofELLEN
                                                                                    1969C.
5370 NW 35 TERRACE                      ADDRESS ON FILE                      45 ACUFF LN
FT LAUDERDALE, FL 33309                                                      ANNA, IL 62906




ACUITY INSURANCE                        ACUMED INC                           ACUMED LLC
P.O. BOX 58                             7995 COLLECTION CENTER DR            7995 COLLECTION CENTER DR
SHEBOYGAN, WI 53082                     CHICAGO, IL 60693                    CHICAGO, IL 60693




ACUNA, DANIELLE D.                      ACUNTO, VINCENT                      ACUSIS, LLC
815 THRUPPS ST                          ADDRESS ON FILE                      P.O. BOX 951107
LAS VEGAS, NM 87701                                                          CLEVELAND, OH 44193




ACUTE CARE INC                          ACUTE CARE INC                       ACUTE CARE PHARMACEUTICAL INC
1609 ANKENY BLVD                        ACUTETRACK                           12225 WORLD TRADE DR
STE 200                                 P.O. BOX 3288                        STE A-E
ANKENY, IA 50023                        DES MOINES, IA 50316-3288            SAN DIEGO, CA 92128




ACUTE CARE PHARMACEUTICAL INC           ACUTE CARE PHARMACEUTICAL INC        ACUTE CARE PHARMACEUTICAL INC
12225 WORLD TRADE DR                    12225 WORLF TRADE DRIVE, STE F       P.O. BOX 734568
STE F                                   SAN DIEGO, CA 92128                  CHICAGO, IL 60673
SAN DIEGO, CA 92128




ACUTE CARE, INC                         ACUTE MEDICAL SERVICES, LLC          ACUTECARE TELEMEDICINE
1609 N ANKENY BLVD, STE 200             P.O. BOX 15010                       7402 HOLLISTER AVENUE
ANKENY, IA 50023                        HUMBLE, TX 77346                     GOLETA, CA 93117




ADA SHOULDERS                           ADAIR, CHRISTINE                     ADAIR, PATRICIA L.
7741 S SEELEY                           783 STEVENS GROVE CHRUCH RD          303 E MAIN ST
CHICAGO, IL 60620                       LEXINGTON, GA 30648                  LITTLE YORK, IL 61453




ADAIR, QUIANNA                          ADAIR, RACHEL M.                     ADAM BALLARD
3010 JONES ST APT 322                   114 W PINE ST                        110 MELTON WAY
RAINBOW CITY, AL 35906                  BALDWIN, IL 62217                    COVINGTON, GA 30016-4982




ADAM BEVEVINO DBA AJCB SERVICES LLC     ADAM ESTRADA                         ADAM FEINSTEIN
6448 CALLE VISTA DR                     1317 TUCSON                          NELSON, MULLINS, RILEY &
EL PASO, TX 79912                       BIG SPRING, TX 79720                 SCARBOROUGH, LLP
                                                                             ATTN: JAMES AUMAN HALTOM
                                                                             ONE NASHVILLE PLACE; 150 FOURTH AVE,
                                                                             NORTH, STE 1100
                                                                             NASHVILLE, TN 37219

ADAM LORIS                              ADAM NOUD                            ADAM SETH VOWAN
ADDRESS ON FILE                         428 BLOOMFIELD CT                    ADDRESS ON FILE
                                        LEBANON, IL 62254
ADAMES, CARLA LOUISE      Case 20-10766-BLS    Doc 6ATTORNEYS
                                       ADAMS & ADAMS   Filed 04/07/20
                                                              AT LAW    PageADAMS,
                                                                             17 of ALICIA
                                                                                    1969R.
2131 9TH ST                             P.O. BOX 606                        7207 S SEELEY AVE
FLORENCE, OR 97439                      110 E. MAIN ST                      CHICAGO, IL 60636
                                        LOUISA, KY 41230




ADAMS, ALISA                            ADAMS, ARTHUR                       ADAMS, ASHLEY K
ADDRESS ON FILE                         4463 MERLIN WAY                     ADDRESS ON FILE
                                        SOQUEL, CA 95073




ADAMS, ASHLEY K.                        ADAMS, BESSIE L                     ADAMS, BESSIE SUZANNE
ADDRESS ON FILE                         500 E 6TH AV APT 227                ADDRESS ON FILE
                                        JUNCTION CITY, OR 97448




ADAMS, BILLIE L.                        ADAMS, BRENDA GAIL                  ADAMS, BRENDA L.
628 SETH HYATT                          ADDRESS ON FILE                     ADDRESS ON FILE
ELLIJAY, GA 30540




ADAMS, BRITTANY L.                      ADAMS, COREY                        ADAMS, CYNTHIA S.
ADDRESS ON FILE                         1172 PILLOWVILLE GLEASON RD         7046 WARDS MILL RD
                                        GLEASON, TN 38229                   MARION, IL 62959




ADAMS, DALE                             ADAMS, DANIEL L.                    ADAMS, DEBRA
1015 SPRING BRANCH                      3238 DUKE AVE                       656 HEYWOOD AVE
WAYNE, WV 25570                         BIG SPRING, TX 79720                EUGENE, OR 97404




ADAMS, DIANA L.                         ADAMS, DIANA L.                     ADAMS, ELIZABETH A.
1003 N JOHNSON ST                       ADDRESS ON FILE                     304 E PARKS ST
MARION, IL 62959                                                            SALEM, IL 62881




ADAMS, EMMA                             ADAMS, FRANKIE D.                   ADAMS, JACQUELINE M.
1000 N MAIN ST                          1859 ELIZA DOSTER RD NW             2841 N REED STATION RD 1
ANNA, IL 62906                          MONROE, GA 30656                    DESOTO, IL 62924




ADAMS, JACQULINE H.                     ADAMS, JEFFREY W.                   ADAMS, JEREMY
630 E HIGHTOWER TR                      ADDRESS ON FILE                     3120 SUSSEX AVE
SOCIAL CIRCLE, GA 30025                                                     MARKHAM, IL 60428




ADAMS, KARLEE E.                        ADAMS, KAYLYN                       ADAMS, KAYSEY
977 W 2390 S                            110809 S BELL AVE                   2915 11TH ST
PERRY, UT 84302                         CHICAGO, IL 60643                   WINTHROP HARBOR, IL 60096
ADAMS, LARISSA F.        Case 20-10766-BLS     Doc
                                      ADAMS, LILA M. 6       Filed 04/07/20   PageADAMS,
                                                                                   18 of LINDA
                                                                                          1969A.
597 W 1800 N                            617 MINNIE AVE                            12133 S. 70TH COURT
CLINTON, UT 84015                       DUPO, IL 62239                            PALOS HEIGHTS, IL 60463




ADAMS, LINDA M.                         ADAMS, LINSEY K.                          ADAMS, LORI A.
805 HIGHLAND DR                         953 FORRESTER WAY                         ADDRESS ON FILE
BIG SPRING, TX 79720                    EUGENE, OR 97401




ADAMS, LORI                             ADAMS, MARGARET                           ADAMS, MARIA P.
ADDRESS ON FILE                         2044 COUNTRYSIDE LN                       ADDRESS ON FILE
                                        ROUND LAKE, IL 60073




ADAMS, MARTIN J.                        ADAMS, MELANI R.                          ADAMS, MICHAEL C.
6582 GLENBROOK AVE NW                   ADDRESS ON FILE                           ADDRESS ON FILE
MASSILLON, OH 44646




ADAMS, MICHAEL                          ADAMS, MISTY                              ADAMS, MYISHA
854 SHARON COPLEY RD                    ADDRESS ON FILE                           10016 PARKE AVE.
WADSWORTH, OH 44281                                                               OAKLAWN, IL 60453




ADAMS, NAOMI T.                         ADAMS, NEIL R.                            ADAMS, OLIVIA J.
3530 NE. MONROE ST.                     529 ADAMS RD                              1309 LITTLE CAT FORK RD
PEORIA, IL 61603                        DALMATIA, PA 17017                        LOUISA, KY 41230




ADAMS, REBECCA                          ADAMS, REBECCA                            ADAMS, REBECCA
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




ADAMS, RICCI K.                         ADAMS, ROBERT GEORGE                      ADAMS, ROECHEL
1004 ORRVILLE ST NW                     1525 OPAL DR APT G202                     ADDRESS ON FILE
MASSILLON, OH 44647                     ELKO, NV 89801




ADAMS, ROMIE                            ADAMS, RONALD TODD                        ADAMS, RONALD TODD
168 VALENCIA ST                         1615 S. BRIDGEFARMER RD                   ADDRESS ON FILE
LAS VEGAS, NM 87701                     MCKINNEY, TX 75069




ADAMS, RUBY                             ADAMS, SHELIA M.                          ADAMS, SHERI
59 SFC 319                              12540 HWY 79 S                            1740 HWY 515 SOUTH
FORREST CITY, AR 72335                  MCKENZIE, TN 38201                        BLUE RIDGE, GA 30513
ADAMS, STACY L.         Case 20-10766-BLS    Doc 6 J.Filed 04/07/20
                                     ADAMS, STEPHANIE                 PageADAMS,
                                                                           19 of SUSY
                                                                                  1969Z.
ADDRESS ON FILE                       ADDRESS ON FILE                      200 RANCHITOS DEL SOL
                                                                           APTOS, CA 95003




ADAMS, SUZANNE                        ADAMS, TABITHA                       ADAMS, TARYN
96 DALTON ST                          400 EUCLID AVE                       2405 CINDY LN
RAINSVILLE, AL 35986                  PAINTSVILLE, KY 41240                BIG SPRING, TX 79720




ADAMS, TRUDY                          ADAMS, VANESSA L                     ADAMS, VANESSA
ADDRESS ON FILE                       12456 FAIRVIEW AVE APT 1E            485 YEARLING DR
                                      APT 1E                               LOGANVILLE, GA 30052
                                      BLUE ISLAND, IL 60406




ADAMSON, JILL N.                      ADAMSON, JUAN F.                     ADAMSON, KARL
ADDRESS ON FILE                       2620 QUARTZ ST                       22005 TEWAS DR SE
                                      SANTA CRUZ, CA 95062                 DEMING, NM 88030




ADAMS-ROSSIGNOL, CAROLYN H.           ADAPTIVE MEDICAL PARTNERS INC        ADAZZIO, DESIREE
8865 DEL THOMAS RD                    3229 PREMIER DR STE 200              480 HIDDEN VALLEY RD
SMYRNA, TN 37167                      IRVING, TX 75063                     SOQUEL, CA 95073




ADB SAFEGATE AMERICAS LLC             ADCO COMPANIES, LTD.                 ADCO DISTRIBUTORS INC
P.O. BOX 29160                        3657 PINE LN                         221 CHERRY N
NEW YORK, NY 10087-9160               BESSEMER, AL 35022                   CANTON, OH 44702




ADCO SERVICES INC                     ADCOCK, JESSICA M.                   ADCOCK, WILLIAM-ALLEN B.
P.O. BOX 413                          1246 HASTINGS CEMETARY RD            6309 WILDWOOD VALLEY DR
TINLEY PARK, IL 60477                 GREENVILLE, IL 62246                 BRENTWOOD, TN 37027




ADDIE HARRINGTON                      ADDISON MONTGOMERY                   ADDISON PROF FINANCIAL SEARCH, LLC
1306 CAUTHEN DR                       5424 SUMMER PL                       125 SOUTH WACKER, STE 2700
ROCKINGHAM, NC 28379-4870             JONESBORO, AR 72404                  CHICAGO, IL 60606




ADDISON, COURTNEY B.                  ADDISON, RACHEL M.                   ADDITIVE ORTHOPAEDICS, LLC
ADDRESS ON FILE                       ADDRESS ON FILE                      P.O. BOX 310
                                                                           LITTLE SILVER, NJ 07739




ADEGBORE, ALABI                       ADELA AGUAYO                         ADELANTO HEALTHCARE VENTURES LLC
510 W 104TH ST                        P.O. BOX 7453                        401 W 15TH ST
CHICAGO, IL 60628                     BUNKERVILLE, NV 89007                STE 840
                                                                           AUSTIN, TX 78701
ADELINE FERRY REV TRUST Case 20-10766-BLS    Doc 6WILLIAM
                                     ADELSBERGER,        Filed 04/07/20    PageADEMOKUNLA,
                                                                                20 of 1969JAMEASE
722 WEST WHITE ST                    2813 DOGWOOD DR                           100 DREW LN APT 11
MILLSTADT, IL 62260                  GRANITE CITY, IL 62040-5812               WAUKEGAN, IL 60085




ADEN, ALLETHA V.                       ADEN, ALLY                              ADEN, DESTRY
ADDRESS ON FILE                        1250 SOUTH LICK CREEK RD                ADDRESS ON FILE
                                       BUNCOMBE, IL 62912-0000




ADENT, CAROLINE L.                     ADEOYE, RUSHEEDAT                       ADEPT MEDICAL INTERNATIONAL
11845 LAWLER                           ADDRESS ON FILE                         665 PLEASANT VALLEY RD
ALSIP, IL 60803                                                                DIAMOND SPRINGS, CA 95619




ADEPT MEDICAL                          ADEPT-MED INTERNATIONAL, INC            ADEQ
665 PLEASANT VALLEY RD                 665 PLEASANT VALLEY RD                  FISCAL DIVISION
SUITE C                                STE C                                   5301 NORTHSHORE DR
DIAMOND SPRINGS, CA 95619              DIAMOND SPRINGS, CA 95619               NORTH LITTLE ROCK, AR 72118-5317




ADETOLA, ISAAC                         ADEYEMI, TOLULOPE C.                    ADHEZION BIOMEDICAL LLC
ADDRESS ON FILE                        1601 PATRIOT WAY                        ONE MERIDIAN BLVD STE 1B02
                                       BOURBONNAIS, IL 60914                   WYOMISSING, PA 19610




ADINDU, NGOZIKA                        ADIRONDACK MEDICAL CENTER               ADJUDICATE INC
1404 BROOKSIDE DR                      2233 STATE ROUTE 86                     JUDICATE WEST
MUNSTER, IN 46321                      SARANAC LAKE, NY 12983                  1851 E FIRST ST - STE 1600
                                                                               SANTA ANA, CA 92705




ADKINS, AISLIN B.                      ADKINS, AISLIN                          ADKINS, ANGELA L.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




ADKINS, CARRIE                         ADKINS, DEBRA J.                        ADKINS, DELINDA
P.O. BOX 1181                          6557 STATE ROUTE 516 NW                 5737 SWANSON DR
JACKSON, KY 41339                      DUNDEE, OH 44624                        ASHLAND, KY 41102




ADKINS, DIAMOND                        ADKINS, GARNETT                         ADKINS, JOHN S.
13800 S HAMLIN AVE                     379 CHAPEL RD                           1609 WATKINS AVE NE
ROBBINS, IL 60472                      LOUISA, KY 41230                        FORT PAYNE, AL 35967




ADKINS, JUDITH                         ADKINS, KARA J.                         ADKINS, KESLEEN
834 HAROLD PRITCHETT RD                2630 TABORS CREEK RD P.O. BOX 556       5230 FACTOR RD SW
ELLIJAY, GA 30540                      FORT GAY, WV 25514                      SHERRODSVILLE, OH 44675-9706
ADKINS, LILA                Case 20-10766-BLS     Doc 6MAXFiled 04/07/20
                                         ADKINS, MARLIN                     PageADKINS,
                                                                                 21 of MELISA
                                                                                        1969 J.
1611 OSAGE RD                              594 RIVER LOOP 1                     5465 ROUTE 37
BIG SPRING, TX 79720-0000                  EUGENE, OR 97404                     MARION, IL 62959




ADKINS, REBECA L.                          ADKINS, SHAWNDA D.                   ADKINS, SHELBY K.
ADDRESS ON FILE                            ADDRESS ON FILE                      641 LAUREL CREEK RD
                                                                                LOUISA, KY 41230




ADKINS, WALTER                             ADKINSON, JUDY I.                    ADMINISTRATIVE CONCEPTS INC
1811 JONES RD                              485 LAKE FORREST DR                  994 OLD EAGLE SCHOOL RD STE 1005
WILLIAMSTON, NC 27892                      BLUE RIDGE, GA 30513                 WAYNE, PA 19087-1802




ADMINISTRATIVE DISTRICT                    ADMINISTRATORS OF THE TULANE         ADMIRAL INSURANCE COMPANY
660 N INDUSTRIAL DR                        EDUCATIONAL FUND                     1000 HOWARD BLVD, STE 300
ELMHURST, IL 60126                         1430 TULN AVE                        P.O. BOX 5430
                                           NEW ORLEANS, LA 70112                MOUNT LAUREL, NJ 08054




ADMIRAL INSURANCE COMPANY                  ADNAN, HASAN                         ADOBE SYSTEMS INCORPORATED
BERKLEY MEDICAL EXCESS                     3901 SONOMA SPRINGS AVE 1306         29322 NETWORK PL
UNDERWRITERS, LLC                          LAS CRUCES, NM 88011                 CHICAGO, IL 60673-1293
16305 SWINGLEY RIDGE RD, STE 450
CHESTERFIELD, MO 63017



ADOLF, JEREMY                              ADOLF, SARAH L.                      ADOLPH KIEFER AND ASSOCIATES, LLC
1460 G STREET                              2630 N 20TH ST.                      903 MORRISSEY DR
SPRINGFIELD, OR 97477                      SPRINGFIELD, OR 97477                BLOOMINGTON, IL 61701




ADOLPHUS MESSENGER                         ADORERS OF THE BLOOD OF CHRIST       ADRIAN BILLINGS,MD,PHD,PA
8877 COLTON ST NW                          4233 SULPHUR AVE                     605 E HENDRYX DR
MASSILLON, OH 44646                        ST. LOUIS, MO 63109                  ALPINE, TX 79830




ADRIAN, NICHOLE                            ADRIANNA CASTANEDA                   ADRIANO, REYNATO
6 MILL LN                                  2121 S KIPLING DR                    ADDRESS ON FILE
LOCK HAVEN, PA 17745                       DEMING, NM 88030




ADS SECURITY, LP                           ADS SECURITY, LP                     ADSCO OPCO LLC
3001 ARMORY DR                             P.O. BOX 531687                      LAW PUBLICATIONS
STE 100                                    ATLANTA, GA 30353-1687               15000 E BELTWOOD PKWY
NASHVILLE, TN 37204                                                             ADDISON, TX 75001




ADSLCNM, INC.                              ADT SECURITY SERVICES, INC.          ADT
300 NORTH 17TH ST                          P.O. BOX 371878                      P.O. BOX 9001076
STE A                                      PITTSBURGH, PA 15250-7878            LOUISVILLE, KY 40290-1076
LAS CRUCES, NM 88005
AD-TECH INC            Case 20-10766-BLS   Doc 6 HELEN
                                    ADUANA-DOCKERY, Filed 04/07/20      PageADV
                                                                             22MOBILE
                                                                                of 1969
                                                                                      DIAGNOSTIC
350 S NORTHWEST HIGHWAY             ADDRESS ON FILE                         7725 N KNOXVILLE AVE
STE 300                                                                     PEORIA, IL 61614
PARK RIDGE, IL 60065




ADV SPINE PAIN                      ADVANCE AMERICA CASH ADVANCE            ADVANCE INSTRUMENTS
1337 N 1400 E                       CENTERS OF IL INC                       P.O. BOX 845116
LOGAN, UT 84341                     142 JUNCTION DR                         BOSTON, MA 02284-5116
                                    GLEN CARBON, IL 62034




ADVANCE MEDICAL DESIGNS, INC.       ADVANCE PLUMBING                        ADVANCE SERVICES
1241 ATLANTA INDUSTRIAL DR          EDWARD ROACH                            P.O. BOX 390398
MARIETTA, GA 30066                  P.O. BOX 1831                           OMAHA, NE 68138
                                    BIG SPRING, TX 79720




ADVANCE SERVICES                    ADVANCED AUTO PARTS                     ADVANCED CARDIOVASCULAR VEIN
PO BOX 390398                       5008 AIRPORT RD                         CENTER, P.C.
OMAHA, NE 68138                     ROANOKE, VA 24012                       1340 UNION UNIVERSITY DR
                                                                            JACKSON, TN 38305




ADVANCED CHEMICAL SENSORS           ADVANCED COMMUNICATIONS &               ADVANCED COMPRESSOR SYSTEMS, INC
101 B GLADES RD                     ELECTRONICS INC                         P.O. BOX 12372
BOCA RATON, FL 33432                2417 BAYLOR DR SE                       ALBUQUERQUE, NM 87195
                                    ALBUQUERQUE, NM 87106




ADVANCED CONNECTIONS INC            ADVANCED COOLING THERAPY, INC           ADVANCED CRITICAL DEVICES
2015 MKCKENZIE DR                   3440 S DEARBORN ST 215-S                7005 SOUTH EDGERTON RD
STE 120                             CHICAGO, IL 60616                       BRECKSVILLE, OH 44141
CARROLLTON, TX 75006




ADVANCED DISCOVERY INC              ADVANCED DISPOSAL SERVICES              ADVANCED DISPOSAL
P.O. BOX 102242                     P.O. BOX 743019                         90 FORT WADE RD
ATLANTA, GA 30368-2242              ATLANTA, GA 30374-3019                  PONTE VEDRA, FL 32081




ADVANCED DISPOSAL                   ADVANCED DISPOSAL                       ADVANCED ELECTRONIC SERVICES
P.O. BOX 6484                       P.O. BOX 74008053                       101 TECHNOLOGY LN
CAROL STREAM, IL 60197-6484         CHICAGO, IL 60674-8053                  MT AIRY, NC 27030




ADVANCED ENTRY SYSTEMS              ADVANCED FILTRATION CONCEPTS, INC.      ADVANCED IMAGING CONSULTANTS, LLC
P.O. BOX 896542                     P.O. BOX 80759                          230 GRAY BRIDGE ROAD
CHARLOTTE, NC 28289-6542            RANCHO SANTA MARGARITA, CA 92688-0759   ST. LOUIS, MO 63124




ADVANCED MED CAR, LLC               ADVANCED MEDICAL SALES, INC             ADVANCED MEDICAL TRANSPORT
204 SUN MEADOW CT                   216 AVENIDA FABRICANTE 110              7520 SOLUTION CENTER
SMITHTON, IL 62285                  SAN CLEMENTE, CA 92672                  CHICAGO, IL 60677-7005
                      Case 20-10766-BLS
ADVANCED ORTHOPAEDIC SOLUTIONS INC ADVANCED Doc  6 Filed
                                              PHARMA       04/07/20
                                                     DBA AVELLA OF        PageADVANCED
                                                                               23 of 1969
                                                                                       PLUMBING & MECHANICAL
3203 KASHIWA ST                    HOUSTON                                    P.O. BOX 17
TORRANCE, CA 90505                 ACCOUNTING DEPT                            MONMOUTH, IL 61462
                                   9265 KIRBY DR
                                   HOUSTON, TX 77054



ADVANCED PLUMBING & MECHANICAL       ADVANCED PULMONARY SLEEP DISORDERS       ADVANCED RADIATION ONCOLOGY CE
PO BOX 17                            & INTERNAL MEDICINE PLLC                 P.O. BOX 379
MONMOUTH, IL 61462                   P.O. BOX 910686                          ORLAND PARK, IL 60462
                                     ST GEORGE, UT 84791




ADVANCED RESOURCES                   ADVANCED STERILIZATION PRODUCT           ADVANCED STERILIZATION PRODUCT
8057 SOLUTIONS CENTER                5972 COLLECTIONS CENTER DR               P.O. BOX 406663
CHICAGO, IL 60677-8000               CHICAGO, IL 60693                        ATLANTA, GA 30384




ADVANCED STERILIZATION PRODUCTS      ADVANCED STERILIZATION PRODUCTS          ADVANCED STERILIZATION PRODUCTS
SERVICES INC.                        5972 COLLECTIONS CENTER DR               5972 COLLECTIONS CENTER DR
33 TECHNOLOGY DR                     CHICAGO, IL 60693                        J&J HEALTHCARE MANUFACTURER
IRVINE, CA 92618                                                              CHICAGO, IL 60693




ADVANCED SURGICAL SERVICES           ADVANCED TESTING & CERTIFICATION         ADVANCED TILE RESTORATION
6714 TREE KNOLL                      P.O. BOX 12545                           3875 HOPYARD RD STE 194
TROY, MI 48098                       SCOTTSDALE, AZ 85267-2545                PLEASANTON, CA 94588




ADVANCING SIGHT NETWORK              ADVANTAGE HEALTH CARE STAFFING           ADVANTAGE LEASING CORPORATION
DBA ADVANCING SIGHT GLOBAL           P.O. BOX 80126                           13400 BISHOPS LN, STE 280
500 ROBERT JEMISON RD                MIDLAND, TX 79708                        BROOKFIELD, WI 53005
BIRMINGHAM, AL 35209-0000




ADVANTAGE MEDICAL CABLES AND         ADVANTAGE MEDICAL ELECTRONICS, LLC       ADVANTAGE MEDICAL ELECTRONICS, LLC
ELECTRONICS                          P.O. BOX 17308                           PO BOX 17308
11711 NW 39TH ST                     CLEARWATER, FL 33762-0308                CLEARWATER, FL 33762-0308
CORAL SPRINGS, FL 33065




ADVANTAGE MEDICAL INC                ADVANTAGE NURSING SERVICES               ADVANTRA FREEDOM
1090 FIFTH ST                        2127 INNERBELT BUSINESS                  P.O. BOX 7152
STE 121                              CENTER DR STE 100                        LONDON, KY 40742
CALIMESA, CA 92320                   ST LOUIS, MO 63114




ADVANTRA GHP                         ADVENT HEALTH PARTNERS INC               ADVENT SYSTEMS, INC.
P.O. BOX 8052                        301 PLUS PARK BLVD                       435 W FULLERTON AVE
LONDON, KY 40742                     STE 215                                  ELMHURST, IL 60126
                                     NASHVILLE, TN 37217




ADVERTISING SPECIALTY SERVICES       ADVERTISOMG SPECIALTY SERVICES           ADVISORY BOARD COMPANY, THE
402 EAST MONTGOMERY CROSSROAD        402 EAST MONTGOMERY CROSSROAD            P.O. BOX 84019
SAVANNAH, GA 31406                   SAVANNAH, GA 31406                       CHICAGO, IL 60689-4002
                        Case 20-10766-BLS
ADVOCATE HEALTH PARTNERS-BCBS-IL     ADVOCATE Doc  6 Filed
                                                MEDICAL GROUP04/07/20    PageADVOCATE
                                                                              24 of 1969
                                                                                      NETWORKS LLC
P.O. BOX 443                         1701 W GOLF RD                          6200 THE CORNERS PKWY
MOUNT PROSPECT, IL 60056-0443        STE 2-1100                              TERRACE LEVEL T-100
                                     ROLLING MEADOW, IL 60008                NORCROSS, GA 30092




AE & ASSOCIATES LLC                   AEGON USA INVESTMENT MANAGEMENT,       AEGON USA INVESTMENT MANAGEMENT,
506 QUEENSLAND CIR                    LLC- FM                                LLC- FM
CORONA, CA 92879                      AUIM CREDIT OPPORTUNITIES MASTER       CANOE CREDIT OPPORTUNITIES FUND
                                      FUND LTD.




AEGON USA INVESTMENT MANAGEMENT,      AEGON USA INVESTMENT MANAGEMENT,       AEGON USA INVESTMENT MANAGEMENT,
LLC- FM                               LLC- FM                                LLC- FM
CEDAR FUNDING II CLO, LTD             CEDAR FUNDING IV CLO, LTD.             CEDAR FUNDING IX CLO, LTD.




AEGON USA INVESTMENT MANAGEMENT,      AEGON USA INVESTMENT MANAGEMENT,       AEGON USA INVESTMENT MANAGEMENT,
LLC- FM                               LLC- FM                                LLC- FM
CEDAR FUNDING V CLO, LTD              CEDAR FUNDING VI CLO, LTD.             CEDAR FUNDING VII, CLO LTD.




AEGON USA INVESTMENT MANAGEMENT,      AEGON USA INVESTMENT MANAGEMENT,       AEGON USA INVESTMENT MANAGEMENT,
LLC- FM                               LLC- FM                                LLC- FM
CEDAR FUNDING VIII CLO                CEDAR FUNDING X CLO, LTD.              CEDAR FUNDING XI CLO, LTD




AEGON USA INVESTMENT MANAGEMENT,      AEGON USA INVESTMENT MANAGEMENT,       AEGON USA INVESTMENT MANAGEMENT,
LLC- FM                               LLC- FM                                LLC- FM
COMBUSTION ENGINEERING 524(G)         MASSACHUSETTS FIDELITY TRUST           TRANSAMERICA CORPORATION MASTER
ASBESTOS PL TRUST                     COMPANY                                PENSION TRUST




AEGON USA INVESTMENT MANAGEMENT,      AEGON USA INVESTMENT MANAGEMENT,       AENEAS INTERNET AND TELEPHONE
LLC- FM                               LLC- FM                                300 N CUMBERLAND ST, STE 200
TRANSAMERICA FLOATING RATE            TRANSAMERICA LIFE INSURANCE COMPANY    JACKSON, TN 38301




AENEAS INTERNET SERVICES              AEP-APPALACHIAN POWER                  AEP-KENTUCKY POWER
P.O. BOX 277                          P.O. BOX 371496                        P.O. BOX 371496
JACKSON, TN 38302-0277                PITTSBURGH, PA 15250                   PITTSBURGH, PA 15250




AERC RECYCLING SOLUTIONS              AERNE, LAURA                           AEROCARE
P.O. BOX 95000-3755                   1914 BUTLER BLVD                       2233 E MAIN ST
PHILADELPHIA, PA 19195-0001           EDWARDSVILLE, IL 62025                 MONTROSE, CO 81401




AEROTEK INC                           AESCULAP IMPLANT SYSTEMS LLC           AESCULAP IMPLANT SYSTEMS, LLC
3689 COLLECTION CTR DR                P.O. BOX 780391                        3773 CORPORATE PARKWAY
CHICAGO, IL 60693                     PHILADELPHIA, PA 19178-0391            CENTER VALLEY, PA 18034
AESCULAP INC              Case 20-10766-BLS
                                       AESCULAPDoc
                                                 INC 6   Filed 04/07/20    PageAESCULAP,
                                                                                25 of 1969
                                                                                         INC
P.O. BOX 780426                        PO BOX 780426                           P.O. BOX 780426
PHILADELPHIA, PA 19178-0426            PHILADELPHIA, PA 19178-0426             PHILADELPHIA, PA 19178-0426




AESCULUP IMPLANT SYSTEMS LLC           AESYNT INC                              AETNA US HEALTHCARE
P.O. BOX 780391                        INPHARMICS                              BOX 981106
PHILADELPHIA, PA 19178-0391            P.O. BOX 787521                         EL PASO, TX 79998
                                       PHILADELPHIA, PA 19178-7521




AETNA AMERICAN CONTINENTAL INS CO      AETNA AMERICAN CONTINENTAL INS CO       AETNA AMERICAN CONTINENTAL INS CO
ATTN: FINANCE/REFUNDS                  P.O. BOX 680579                         P.O. BOX 680579
800 CRESCENT CENTRE DR STE 200         FRANKLIN, TN 37008                      FRANKLIN, TN 37068
FRANKLIN, TN 37067




AETNA AMERICAN CONTINENTAL             AETNA APU                               AETNA BETTER HEALTH OF IL
900 CRESENT CENTRE DR                  PO BOX 30969                            P.O. BOX 66545
SUITE 200                              AMARILLO, TX 79120                      PHOENIX, AZ 85082-6545
FRANKLIN, TN 37067




AETNA BETTER HEALTH OF KY              AETNA BETTER HEALTH OF KY               AETNA BETTER HEALTH OF KY
4500 E COTTON CENTER BLVD              9900 CORPORATE CAMPUS DR                P.O. BOX 65195
PHOENIX, AZ 85040                      STE 1000                                PHOENIX, AZ 85082
                                       LOUISVILLE, KY 40223-4050




AETNA BETTER HEALTH OF NEW JERSEY      AETNA BETTER HEALTH OF PA               AETNA BETTER HEALTH OF STATE
ATTN:FINANCE                           4500 E COTTON CENTER BLVD               151 FARMINGTON AVE
4500 E COTTON CENTER BLVD              FINANCE PROVIDER REFUND DEPT            HARTFORD, CT 06156
PHOENIX, AZ 85040                      PHOENIX, AZ 85040




AETNA BETTER HEALTH WV                 AETNA BETTER HEALTH WV                  AETNA BETTER HEALTH
500 VIRGINIA ST EAST                   P.O. BOX 67450                          1 S WACKER DR
CHARLESTON, WV 25301                   PHOENIX, AZ 85082-7450                  MAILSTOP S646
                                                                               CHICAGO, IL 60606




AETNA BETTER HEALTH                    AETNA BETTER HEALTH                     AETNA BETTER HEALTH
1253 HADDONFIELD BERLIN RD             2000 MARKET ST                          333 W WACKER DR
VOORHEES, NJ 08043-4847                STE 850                                 STE 2100 MC F646
                                       PHILADELPHIA, PA 19103                  CHICAGO, IL 60606




AETNA BETTER HEALTH                    AETNA BETTER HEALTH                     AETNA BETTER HEALTH
4500 E COTTON CENTER BLVD              P.O. BOX 64205                          P.O. BOX 66545
PHOENIX, AZ 85040                      PHOENIX, AZ 85082                       PHOENIX, AZ 85082




AETNA BETTER HEALTH                    AETNA BETTER HEALTH                     AETNA BETTER HEALTHCARE OF KENTUCKY
P.O. BOX 66545                         P.O. BOX 842605                         P.O. BOX 935005
PHOENIX, AZ 85082-6545                 DALLAS, TX 75284                        ATLANTA, GA 31193
AETNA BETTER HLT OF MO     Case 20-10766-BLS    Doc (POS
                                        AETNA CHOICE 6 Filed
                                                         II) 04/07/20   PageAETNA
                                                                             26 ofCHOICE
                                                                                   1969(POS II)
10 S BRDWAY                              P.O. BOX 14079                     PO. BOX 14079
STE 1200                                 LEXINGTON, KY 40512-4079           LEXINGTON, KY 40512-4079
ST LOUIS, MO 63102




AETNA COVENTRY HEALTHCARE                AETNA HEALTH PLAN                  AETNA HEALTH
P.O. BOX 7822                            P.O. BOX 784838                    P.O. BOX 680579
LONDON, KY 40742-7087                    ATTN: REFUNDS                      FRANKLIN, TN 37068
                                         PHILADELPHIA, PA 19178




AETNA HEALTHCARE-PRIMARY                 AETNA HMO                          AETNA INC
P.O. BOX 981109                          ASSET PROTECTION UNIT              P.O. BOX 415000
EL PASO, TX 79998-1109                   P.O. BOX 30969                     NASHVILLE, TN 37241
                                         AMARILLO, TX 79120




AETNA INC                                AETNA INS                          AETNA KENTUCKY POWER
P.O. BOX 784836                          P.O. BOX 14079                     P.O. BOX 981109
PHILADELPHIA, PA 19178-4836              LEXINGTON, KY 40512                EL PASO, TX 79998-1109




AETNA LIFE INSURANCE COMPANY             AETNA LIFE INSURANCE COMPANY       AETNA MEDICARE ADVANTAGE
29406 RELIABLE PARKWAY                   29408 RELIABLE PARKWAY             151 FARMINGTON AVE
MAIL STOP U23S                           MAIL STOP U235                     HARTFORD, CT 06156
CHICAGO, IL 60686-0294                   CHICAGO, IL 60686




AETNA MEDICARE HMO                       AETNA MEDICARE PPO                 AETNA MEDICARE
P.O. BOX 981106                          P.O. BOX 981106                    P.O. BOX 14089
EL PASO, TX 79998-1106                   EL PASO, TX 79998-1106             LEXINGTON, KY 40512




AETNA MEDICARE                           AETNA OPEN ACCESS                  AETNA POS
P.O. BOX 14089                           P.O. BOX 14586                     P.O. BOX 981107
LEXINGTON, KY 40512-4089                 LEXINGTON, KY 40512-4586           EL PASO, TX 79998-1107




AETNA REFUNDS                            AETNA SENIOR PRODUCTS              AETNA SENIOR SUPPLEMENTAL INSURANCE
P.O. BOX 14079                           800 CRESCENT CENTRE DR             ASSET PROTECTION UNIT
LEXINGTON, KY 40512-4079                 STE 200                            P.O. BOX 30969
                                         FRANKLIN, TN 37067                 AMARILLO, TX 79120




AETNA SENIOR SUPPLEMENTAL INSURANCE      AETNA SENIOR SUPPLEMENTS           AETNA STUDENT HLTH PLAN
C/O ASSET PROTECTION UNIT, INC.          P.O. BOX 14770                     P.O. BOX 415808
P.O. BOX 30969                           LEXINGTON, KY 40512                RECOVERY DEPT
AMARILLO, TX 79120                                                          BOSTON, MA 02241




AETNA US HEALTHCARE                      AETNA                              AETNA
P.O. BOX 981106                          151 FARMINGTON AVE                 151 FARMINGTON AVE
EL PASO, TX 79998-1106                   HARFFORD, CT 06156                 HARTFORD, CT 06156
AETNA                      Case 20-10766-BLS
                                        AETNA   Doc 6       Filed 04/07/20   PageAETNA
                                                                                  27 of 1969
151 FARMINGTON AVENUE                   29406 RELIABLE PKWY                      29408 RELIABLE PARKWAY
HARTFORD, CT 06156                      CHICAGO, IL 60686-0294                   MAIL STOP U23S
                                                                                 CHICAGO, IL 60686




AETNA                                   AETNA                                    AETNA
75 REMITTANCE DR STE 6019               ASSET PROTECTION UNIT                    ATTN OVERPAYMENT RECOVERY
CHICAGO, IL 60675                       P.O. BOX 30969                           P.O. BOX 14079
                                        AMARILLO, TX 79120                       LEXINGTON, KY 40512-4079




AETNA                                   AETNA                                    AETNA
ATTN: RECOVERY                          ATTN:REFUNDS                             C/O EQUICLAIM
120 E KENSINGER DR                      P.O.BOX 14079                            P.O. BOX 973563
CRANBERRY, PA 16066                     LEXINGTON, KY 40512-4079                 DALLAS, TX 75397-3563




AETNA                                   AETNA                                    AETNA
P O BOX 981106                          P.O. BOX 14020                           P.O. BOX 14079
EL PASO, TX 79998-1106                  LEXINGTON, KY 40512                      ATTN PATIENT REFUNDS
                                                                                 LEXINGTON, KY 40512




AETNA                                   AETNA                                    AETNA
P.O. BOX 14079                          P.O. BOX 14079                           P.O. BOX 14094
CLAIMS/REFUNDS                          LEXINGTON, KY 40512                      LEXINGTON, KY 40512
LEXINGTON, KY 40512-4079




AETNA                                   AETNA                                    AETNA
P.O. BOX 14103                          P.O. BOX 2010                            P.O. BOX 5008
LEXINGTON, KY 40512                     LAGRANGE, KY 40031                       BRENTWOOD, TN 37024




AETNA                                   AETNA                                    AETNA
P.O. BOX 589                            P.O. BOX 62198                           P.O. BOX 981106
LAGRANGE, KY 40031-0589                 PHOENIX, AZ 85082                        EL PASO, TX 79998




AETNA                                   AETNA                                    AETNA
P.O. BOX 981106                         P.O. BOX 981107                          P.O. BOX 991106
EL PASO, TX 79998-1106                  EL PASO, TX 79998-1107                   EL PASO, TX 79998-1106




AETNA                                   AETNA                                    AETNA, INC
P.O.BOX 981106                          REFUND BILLING - COB REFUND              151 FARMINGTON AVE
EL PASO, TX 79998-1106                  P.O. BOX 589                             HARTFORD, CT 06156
                                        LAGRANGE, KY 40031-0589




AETNA, INC                              AETNA, INC                               AETNA, INC
P.O. BOX 981106                         P.O. BOX 981107                          P.O. BOX 981109
EL PASO, TX 79998-1106                  EL PASO, TX 79998-1107                   EL PASO, TX 79998-1109
AETNA, INC            Case 20-10766-BLS     Doc 6INCFiled 04/07/20
                                   AFC INDUSTRIES                            PageAFCO
                                                                                  28 of 1969CORPORATION
                                                                                      CREDIT
VASCULAR ULTRASOUND CLAIMS         13-16 133 PL                                  P.O. BOX 360572
P.O. BOX 981106                    COLLEGE POINT, NY 11356                       PITTSBURGH, PA 15250-6572
EL PASO, TX 79998




AFETOR-PRICE, PATIENCE                 AFFILIATED PHYSICIANS GROUP OF ILLINOIS   AFFILIATED PHYSICIANS GROUP, LLC
1166 OTIS DR                           18410 S CROSSING DR STE A                 18410 S CROSSING DR STE A
BETHLEHEM, GA 30620                    TINLEY PARK, IL 60487                     TINLEY PARK, IL 60487




AFFILIATED REALTY & MANAGEMENT CO.     AFFILIATED STEAM EQUIPMENT CO.            AFFILIATED STEAM EQUIPMENT CO.
1720 W ALGONQUIN RD                    12424 SOUTH LOMBARD LANE                  12424 SOUTH LOMBARD LN
STE 200                                ALSIP, IL 60803-1863                      ALSIP, IL 60803-1863
MT PROSPECT, IL 60056




AFFORDABLE DENTURES & IMPLANTS         AFLAC                                     AFT, SUSAN L.
1201 BRIARWOOD AVE SW                  1932 WYNNTON RD                           56 FOX CHASE LN
FORT PAYNE, AL 35967                   COLUMBUS, GA 31999                        MURPHY, NC 28906




AFT, SUSIE                             AFTAN BRANCH                              AGA, LLC (ATLANTA GI)
QMRC                                   6109 E COUNTY RD 62                       1355 PEACHTREE ST NE
30513                                  UNIT A                                    STE 1600
                                       MIDLAND, TX 79705-0000                    ATLANTA, GA 30309




AGAN, JULIE D.                         AGAN, KENNETH LEE                         AGAPE CHRISTIAN HIGH SCHOOL
ADDRESS ON FILE                        145 AGAN CIRCLE                           5208 MEADOWLAND PARKWAY
                                       LEESBURG, AL 35983-3846                   MARION, IL 62959




AGARWAL, MAHESH K.                     AGBAYANI, RUBEN L.                        AGBODJAH, DZIFA A.
ADDRESS ON FILE                        31235 AVENIDA EL MUNDO                    ADDRESS ON FILE
                                       CATHEDRAL CITY, CA 92234




AGENCY FOR MEDICAL INNOVATIONS, INC.   AGERS, JEWEL ANNA                         AGFA FINANCE CORPORATION
89 FRONT ST, STE 309                   4285 BRECKENRIDGE LN                      200 BALLARDVALE ST
MARBLEHEAD, MA 01945                   GRANITE CITY, IL 62040                    WILMINGTON, MA 01887




AGFA HEALTHCARE CORPORATION            AGHA, SOHAIL M.                           AGILENT TECHNOLOGIES
10 SOUTH ACADEMY ST                    4060 RUDD COURT                           4187 COLLECTIONS CENTER DR
GREENVILLE, SC 29601                   GURNEE, IL 60031                          CHICAGO, IL 60693




AGILITI HEALTH, INC                    AGILITI HEALTH, INC                       AGILITI HEALTH, INC.
ATTN: A/R                              P.O. BOX 851313                           P.O. BOX 851313
6625 W. 78TH ST.STE 300                MINNEAPOLIS, MN 55485-1313                MINNEAPOLIS, MN 55485-1313
MINNEAPOLIS, MN 55439
AGILITI SURGICAL, INC    Case 20-10766-BLS    Doc 6 Filed
                                      AGILUM HEALTHCARE       04/07/20
                                                         INTELLIGENCE, INC   PageAGING
                                                                                  29 ofWITH
                                                                                        1969DIGNITY, INC.
P.O. BOX 851315                       501 CORPORATE CENTRE DR                     P.O. BOX 1661
MINNEAPOLIS, MN 55485-1315            STE 520                                     TALLAHASSEE, FL 32302
                                      FRANKLIN, TN 37067




AGL INVESTMENT GROUP LTD CO.            AGLES, WILLIAM                            AGNES SMITH
CEO                                     3120 W. CHAIN OF ROCKS RD                 256 STONE BROOK DR
347 MAIN STREET                         LOT 174                                   GALAX, VA 24333
SUITE 2                                 GRANITE CITY, IL 62040
PAINTSVILLE, KY 41240



AGNES STEWART MIDDLE SCHOOL SPS         AGNEW, ASHLEY                             AGONA, MARY K
DIS.19                                  449 E ASHLEY ST                           2585 NOTRE DAME ST NE
900 S 32ND ST                           ASHLEY, IL 62808                          CANTON, OH 44721
SPRINGFIELD, OR 97478




AGOS, MICHAEL                           AGUADO, DIANA                             AGUAYO SHASTA
7524 24TH AVE                           2154 N ARAPAHOE TRL                       29 MILLPOND
KENOSHA, WI 53143                       ROUND LAKE HEIGHTS, IL 60073              STANSBURY PARK, UT 84074




AGUAYO, ADELA                           AGUAYO, TERESA                            AGUEDA TACKNEY
P.O. BOX 7453                           4908 G RD                                 848 SAMOY ST
BUNKERVILLE, NV 89007                   WATERLOO, IL 62298                        LAS VEGAS, NV 89110-2771




AGUERO, MASAO                           AGUILA CASEY MARIE                        AGUILA, CASEY MARIE P.
383 REGENCY CIR APT 205                 ADDRESS ON FILE                           ADDRESS ON FILE
SALINAS, CA 93906




AGUILA, CHRISTINE                       AGUILA, VIOLETA R.                        AGUILAR BALABAGNO, LARIZA J.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




AGUILAR FRAGA, SILVIA                   AGUILAR PALOMAR, ANDREA                   AGUILAR, ALEXANDRA P.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




AGUILAR, AMBER N.                       AGUILAR, BELINDA M.                       AGUILAR, BRITTANY
1002 NW 1ST ST                          1106 NORTH 11TH                           1108 PEARSON
BIG SPRING, TX 79720                    ALPINE, TX 79830                          JOLIET, IL 60435




AGUILAR, CARMEN                         AGUILAR, CLARA L.                         AGUILAR, DIANA
519 WEST BLVD                           1508 SUNSET DR                            2410 YEOMAN ST
WILLIAMSTON, NC 27892                   BIG SPRING, TX 79720                      WAUKEGAN, IL 60087
AGUILAR, GLORIA         Case 20-10766-BLS
                                     AGUILAR, Doc
                                              ILSY 6       Filed 04/07/20   PageAGUILAR,
                                                                                 30 of 1969
                                                                                         JESSIE
500 N ACOMA DR                         1720 GOLF RD APT 109                      ADDRESS ON FILE
DEMING, NM 88030                       WAUKEGAN, IL 60087




AGUILAR, JOSE G.                       AGUILAR, JUSTIN J.                        AGUILAR, MARIA
ADDRESS ON FILE                        1002 NW 1ST ST.                           1929 N. 170 W.
                                       BIG SPRING, TX 79720                      TOOELE, UT 84074




AGUILAR, MERILIDA                      AGUILAR, MIRNA                            AGUILAR, NICOLE
1257 LA CANADA WAY                     138 CREST DR                              214 WAITE ST.
SALINAS, CA 93901                      WATSONVILLE, CA 95076                     EUGENE, OR 97402




AGUILAR, PATRICIA A.                   AGUILAR, PATRICIA                         AGUILERA ORDONEZ, LORENA
ADDRESS ON FILE                        2006 S IRON                               P.O. BOX 346
                                       DEMING, NM 88030                          BARSTOW, CA 92312




AGUILERA, ALMA N                       AGUILERA, ALMA N.                         AGUILERA, ALMA
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




AGUILERA, BRENDA A.                    AGUILERA, DANIEL                          AGUILERA, ESMERALDA
12058 S ARTESIAN AVE                   102 WILLOWCREEK ST                        2680 ARLINGTON DR
BLUE ISLAND, IL 60406                  WATSONVILLE, CA 95076                     HOLLISTER, CA 95023




AGUILERA, JESSY F.                     AGUILERA-SARABIA, ISELA                   AGUILLON, LORETTA
91 BEECH AVE                           1013 EAST VIRGINIA WAY                    409 E 3RD
WAUKEGAN, IL 60087                     BARSTOW, CA 92311                         BIG SPRING, TX 79720-0000




AGUILOS, TIOZON ANA LINDA              AGUIRRE FAITH                             AGUIRRE ROSA
1732 ELIZABETH AVE                     631 STEVENS AVE                           216 N CLINTON
NORTH CHICAGO, IL 60064                BARSTOW, CA 92311                         COLLINSVILLE, IL 62234




AGUIRRE, ANGELICA E.                   AGUIRRE, ELISHA                           AGUIRRE, GAUDENCIA
ADDRESS ON FILE                        631 STEVENS AVE                           ADDRESS ON FILE
                                       BARSTOW, CA 92311




AGUIRRE, JOSE                          AGUIRRE, LIZBETH                          AGUIRRE, NATALY
ADDRESS ON FILE                        247 ZINNIA DR                             417 CARMEL ST
                                       ROMEOVILLE, IL 60446                      WATSONVILLE, CA 95076
AGUIRRE, PATRICIA          Case 20-10766-BLS
                                        AGUIRRE,Doc 6 Filed 04/07/20
                                                SANDRA                 PageAGUIRRES
                                                                            31 of 1969
                                                                                    S, LISA M.
P O BOX 527                              1821 N MCAREE RD                   ADDRESS ON FILE
COLUMBUS, NM 88029                       WAUKEGAN, IL 60085




AGWUEDU, NKIRU P.                        AHA ECC DISTRIBUTION               AHA ECC DISTRIBUTION
207 BAYHILL BLVD                         P.O. BOX 841390                    PO BOX 841390
GLEN CARBON, IL 62034                    DALLAS, TX 75284                   DALLAS, TX 75284




AHCCCS OFFICE OF LEGAL ASSISTANCE        AHERN, ROBERT                      AHERT
ATTN: ACCOUNTING                         15116 WILLOW LN                    419 NATURAL RESOURCES DR
P.O. BOX 25520                           OAK FOREST, IL 60452-1542          LITTLE ROCK, AR 72205
PHOENIX, AZ 85002




AHHRA                                    AHI OF INDIANA INCORPORATED        AHLIN, LILLIE
419 NATURAL RESOURCES DR                 P.O. BOX 50346                     3165 JILL AVE
LITTLE ROCK, AR 72205                    ST LOUIS, MO 63105                 GRANITE CITY, IL 62040




AHLUWALIA, RAVINDER S.                   AHMAD, GARY                        AHMAD, WAQAR
159 WEST BRDWAY                          ADDRESS ON FILE                    ADDRESS ON FILE
APT 302
SALT LAKE CITY, UT 84101




AHMED, ABDUL Q                           AHMED, ABDUL Q                     AHMED, ADEEB
110 HOSPITAL DR APT 304                  110 HOSPITAL DRIVE                 1800 AMBERLEY COURT
HELENA, AR 72342                         STE 304                            APT 207
                                         HELENA, AR 72342                   LAKE FOREST, IL 60045




AHMED, ALI                               AHMED, AZEEM U.                    AHMED, STEVE SAEED MD
ADDRESS ON FILE                          11351 TWIN LAKES DR                803 CAPROCK
                                         ORLAND PARK, IL 60467              BIG SPRING, TX 79720




AHN, JENNIFER                            AHNE, BARBARA                      AHNE, STEVEN
700 MILL CIRCLE UNIT 105                 ADDRESS ON FILE                    317 SILVERTHORNE DR
WHEELING, IL 60090                                                          FREEBURG, IL 62243




AHNES BAKERY LLC                         AHNKE, ARLON H. J., JR             AHRENDT, TROY
201 W MILL ST                            890 DEERCREST CR                   506 N GRIMES RD
WATERLOO, IL 62298                       EVANS, GA 30809                    ROBERSONVILLE, NC 27871




AHRENS, KATHRYN                          AHSLEY FRENCH                      AIDONIS, GEORGE
P.O. BOX 526                             889 SPEING OAK CT                  13006 CRESCENT CT
FORT DAVIS, TX 79734                     LOGANVILLE, GA 30052               CRESTWOOD, IL 60418-1211
AIELLO MICHAEL P            Case 20-10766-BLS
                                         AIG     Doc 6     Filed 04/07/20   PageAIKEN
                                                                                 32 of  1969 PHYSICIANS PA
                                                                                      EMERGENCY
302 N ASH APT 209                        175 WATER ST                           FAMILY MEDCENTER OF AIKEN
WAUKEGAN, IL 60085                       NEW YORK, NY 10038-4969                216 EDGEFIELD AVE NW
                                                                                AIKEN, SC 29801-3910




AIKEN-DIMICK, JENNIFER E.                AIKEY, DONALD F. JR.                   AINSLIE, ROBERT
2765 VALENCIA RD                         11 WOODLAND DR                         P.O. BOX 1063
APTOS, CA 95003                          LOCK HAVEN, PA 17745                   THAYNE, WY 83127




AIOSSA LAW FIRM                          AIR COMFORT CORPORATION                AIR CON REFRIGERATION&HEATING
1738 WASHINGTON ST                       2550 BRAGA DR                          123 LAKE ST
WAUKEGAN, IL 60085                       BROADVIEW, IL 60155                    WAUKEGAN, IL 60085-6599




AIR CONDITIONING DISCOUNT SUPPLY         AIR EVAC LIFETEAM                      AIR FILTER SERVICE
750 PRESTON DR 5                         P.O. BOX 948                           ONE N. CORPORATE DR
MESQUITE, NV 89027                       WEST PLAINS, MO 65775-9917             RIVERDALE, NJ 07457




AIR INTRODUCTION AND REGULATION          AIR LIQUIDE H A CORP                   AIR MED CARE NETWORK
90710 HUNTLEY CT                         P.O. BOX 301046                        AIR MEDICAL GROUP HOLDINGS
COBURG, OR 97408                         DALLAS, TX 75303-1046                  P.O. BOX 948
                                                                                WEST PLAINS, MO 65775




AIR METHODS CORPORATION                  AIR METHODS CORPORATION                AIR PRODUCTS & CHEMICALS, INC.
P.O. BOX 172892                          P.O. BOX 713362                        7201 HAMILTON BLVD
DENVER, CO 80217-2892                    CINCINNATI, OH 45271-3362              ALLENTOWN, PA 18195-1501




AIR PRODUCTS & CHEMICALS, INC.           AIR QUALITY CONSULTING LLC             AIR TECHNICAL SERVICES, INC
MAIL CODE: 5701                          1264 W PITCHFORK RD                    2856 CELA
P.O. BOX 71200                           MURRAY, UT 84123                       MEMPHIS, TN 38128
CHARLOTTE, NC 28272-1200




AIRCLEAN SYSTEMS                         AIRE-MASTER OF AMERICA, INC            AIRE-MASTER OF MADISON CTY
2179 EAST LYON STATION RD                P.O. BOX 2310                          4519 SHOSHONE TRAILS
CREEDMOOR, NC 27522                      NIXA, MO 65714-0000                    ST. CHARLES, MO 63304




AIRESPRING                               AIRFLOW DIRECTION INC                  AIRGAS INC
FILE 1422                                2 LIVINGSTON LN                        259 N RADNOR-CHESTER RD
1801 WEST OLYMPIC BLVD                   NEWBURY, MA 01951                      STE 100
PASADENA, CA 91199-0001                                                         RADNOR, PA 19087-5283




AIRGAS INC                               AIRGAS MID AMERICA INC                 AIRGAS MID SOUTH
AIRGAS USA LLC                           P.O. BOX 734672                        P.O. BOX 734671
P.O. BOX 102289                          DALLAS, TX 75373-4672                  DALLAS, TX 75373-4671
PASADENA, CA 91189-2289
AIRGAS NORTH CENTRAL      Case 20-10766-BLS    Doc 6
                                       AIRGAS NORTH     Filed 04/07/20
                                                    CENTRAL              PageAIRGAS
                                                                              33 ofNORTH
                                                                                    1969 CENTRAL
P.O. BOX 734445                          P.O. BOX 802576                     P.O. BOX 802576
CHICAGO, IL 60673-4445                   CHICAGO, IL 60680                   CHICAGO, IL 60680-2576




AIRGAS PURITAN MEDICAL                   AIRGAS SAFETY                       AIRGAS SOUTH
2400 E. COMMERCIAL BLVD                  P.O. BOX 734671                     P.O. BOX 734672
STE 215                                  DALLAS, TX 75373-4671               DALLAS, TX 75373-4672
FORT LAUDERDALE, FL 33308




AIRGAS SOUTH, INC                        AIRGAS SOUTHWEST INC                AIRGAS USA LLC
600 AIRWAYS BLVD                         P.O. BOX 676015                     P.O. BOX 734672
JACKSON, TN 38301-3231                   DALLAS, TX 75267-6015               DALLAS, TX 75373-4672




AIRGAS USA LLC-CENTRAL DIVISION          AIRGAS USA, LLC                     AIRGAS USA, LLC
P.O. BOX 676015                          P.O. BOX 102289                     P.O. BOX 532609
DALLAS, TX 75267-6015                    PASADENA, CA 91189-2289             ATLANTA, GA 30353-2609




AIRGAS USA, LLC                          AIRGAS USA, LLC                     AIRGAS USA, LLC
P.O. BOX 734671                          P.O. BOX 734672                     P.O. BOX 7423
DALLAS, TX 75373-4671                    DALLAS, TX 75373-4672               PASADENA, CA 91109-7423




AIRGAS                                   AIRGAS, INC.                        AIRPORT CITY TAXI
PO BOX 734672                            P.O. BOX 532609                     1717 IRVING RD
DALLAS, TX 75373-4672                    ATLANTA, GA 30353-2609              EUGENE, OR 97402




AIRPORT WINDSOCK CORP                    AIRTIME INFLATABLES, INC            AIRTOUCH CELLULAR
1135 N 7TH ST                            P.O. BOX 886                        VERIZON WIRELESS
LAKE CITY, MN 55041                      CHARLES, IL 60174                   P.O. BOX 660108
                                                                             DALLAS, TX 75266-0108




AISIN LIGHT METALS, LLC                  AITI, TAMER MD                      AIYASH, ARIFA Z.
10900 REDCO DR                           ADDRESS ON FILE                     ADDRESS ON FILE
MARION, IL 62959




AJAYI, OLUKEMI                           AJILON PROFESSIONAL STAFFING        AJJARAPU, PONNAMMA K.
8830 5TH ST                              DEPT CH. 14031                      ADDRESS ON FILE
HIGHLAND, IN 46322                       PALATINE, IL 60055




AKEMON, BESSIE L.                        AKERS, BRADLEY SCOTT                AKERS, CONNIE
ADDRESS ON FILE                          5780 FORSYTHIA ST                   P.O. BOX 144
                                         SPRINGFIELD, OR 97478               ALLEN, KY 41601
AKERS, MIRANDA              Case 20-10766-BLS    Doc 6 L. Filed 04/07/20
                                         AKERS, SUZANNA                     PageAKERS,
                                                                                 34 ofTHARRIN
                                                                                       1969
ADDRESS ON FILE                            P.O. BOX 675                         423 E DONNEWALD ST
                                           WITTENSVILLE, KY 41274               WORDEN, IL 62097




AKESIS CAPITAL LLC                         AKHIL, AMINA                         AKIN, JASON L.
951 YAMATO RD, STE 160                     ADDRESS ON FILE                      ADDRESS ON FILE
BOCA RATON, FL 33431




AKIN, JEREMIAH A.                          AKINOLA, OLUMIDE O.                  AKINPELU, MARTHA
409 S WARD ST.                             ADDRESS ON FILE                      1705 GREENWAY DR
BENTON, IL 62812                                                                AUGUSTA, GA 30909




AKINS FURNITURE                            AKINS, ANGELA W.                     AKINS, JENNIFER J.
3450 CO RD 81                              ADDRESS ON FILE                      ADDRESS ON FILE
FORT PAYNE, AL 35967




AKINS, LEONARD                             AKINS, LINDSEY RENEA                 AKINS, SHANTA
213 THOMAS DR                              ADDRESS ON FILE                      1085 HOLIDAY DR APT 426
FYFFE, AL 35971-5318                                                            FORREST CITY, AR 72335




AKINS, STACIE M                            AKINSANYA, MEGAN F.                  AKOREDE, NIMAT
16310 AL HIGHWAY 176                       ADDRESS ON FILE                      25050 W NICKLAUS WAY
FORT PAYNE, AL 35967-5950                                                       ANTIOCH, IL 60002




AKORN, INC.                                AKPORE, TRACY L.                     AKRON CANTON REG FOOD BANK
LOCKBOX 3950                               ADDRESS ON FILE                      350 OPPORTUNITY PKWY
3950 PAYSPHERE CIRCLE                                                           FOODBANK
CHICAGO, IL 60674                                                               AKRON, OH 44307




AL INST FOR DEAF & BLIND                   AL. DEPT OF ENVIRONMENTAL            ALA CHILD SUPPORT PYMT CTR
P.O. BOX 698                               MANAGEMENT                           P.O. BOX 244015
TALLADEGA, AL 35161                        P.O. BOX 301463                      MONTGOMERY, AL 36124
                                           MONTGOMERY, AL 36130-1463




ALABAMA BOARD OF MEDICAL EXAMINERS         ALABAMA BOARD OF NURSING             ALABAMA BOARD OF PHARMACY
P.O. BOX 946                               RSA PLAZA 770 WASHINGTON             P.O. BOX 381988
MONTGOMERY, AL 36101-0946                  P.O. BOX 303900                      BIRMINGHAM, AL 35238-1988
                                           MONTGOMERY, AL 36130




ALABAMA DEPARTMENT OF REVENUE              ALABAMA DEPARTMENT OF REVENUE        ALABAMA DEPT OF CONSERVATION &
BUSINESS PRIVILEGE TAX SECTION             GORDON PERSONS BLDG, ROOM 4325       NATURAL RESOURCES
P.O. BOX 327320                            50 NORTH RIPLEY ST                   64 N UNION ST
MONTGOMERY, AL 36132-7320                  MONTGOMERY, AL 36104                 MONTGOMERY, AL 36130
                       Case 20-10766-BLS
ALABAMA DEPT OF ENVIRONMENTAL       ALABAMA Doc
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                                                                                 35 of 1969
                                                                                        DEPT OF PUBLIC HEALTH
ATTN: GROUND WATER BRANCH           ALABAMA DEPT OF LABOR                        ATTN: RAY SHERER BUREAU OF HEALTH
P.O. BOX 301463                     649 MONROE ST                                PROVIDER STANDARDS DIVISION OF
MONTGOMERY, AL 36130                MONTGOMERY, AL 36131                         HEALTH CARE FACILITIES
                                                                                 201 MONROE ST
                                                                                 P.O. BOX 303017, STE 710
                                                                                 MONTGOMERY, AL 36130-3017

ALABAMA DEPT OF PUBLIC HEALTH         ALABAMA DEPT OF PUBLIC HEALTH              ALABAMA DEPT OF PUBLIC HEALTH
BUREAU OF HEALTH PROVIDER STANDARDS   BUREAU OF HEALTH PROVIDER STANDARDS        OFFICE OF RADIATION CONTR
DIVISION OF HEALTH CARE FACILITIES    OFFICE OF RADIATION CONTROL STATE          P.O. BOX 303017
P.O. BOX 303017, STE 710              DEPT OF PUBLIC HEALTH                      MONTGOMERY, AL 36130
MONTGOMERY, AL 36130-3017             P.O. BOX 303017
                                      MONTGOMERY, AL 36130-3017

ALABAMA DEPT OF PUBLIC HEALTH         ALABAMA DEPT OF PUBLIC HEALTH              ALABAMA DEPT OF PUBLIC HEALTH
RSA TOWER,REV.RECOVERY,OFFICE 1090    THE RSA TOWER                              X-RAY COMPLIANCE & REGISTRATION
P.O. BOX 303017                       201 MONROE ST                              STATE DEPT OF PUBLIC HEALTH
MONTGOMERY, AL 36130-3017             MONTGOMERY, AL 36104                       P.O. BOX 303017
                                                                                 MONTGOMERY, AL 36130-3017



ALABAMA DEPT OF REVENUE               ALABAMA DEPT OF REVENUE                    ALABAMA HOSPITAL ASSOCIATION
COLLECTION SERVICE                    INDIVIDUAL & CORPORATE TAX DIVISION        500 NORTH EAST BLVD
P.O. BOX 327820                       50 N RIPLEY ST                             MONTGOMERY, AL 36117
MONTGOMERY, AL 36132-7820             MONTGOMERY, AL 36104




ALABAMA MEDIA GROUP                   ALABAMA MEDICAID AGENCY                    ALABAMA MEDICAID AGENCY
P.O. BOX 77571                        501 DEXTER AVE                             P.O. BOX 241684
DETROIT, MI 48277                     P.O. BOX 5624                              MONTGOMERY, AL 36124-1684
                                      MONTGOMERY, AL 36103-5624




ALABAMA MEDICAID AGENCY               ALABAMA MEDICAID AGENCY                    ALABAMA OCCUPATIONAL SAFETY AND
P.O. BOX 244032                       P.O. BOX 244032                            HEALTH ADMINISTRATION
MONTGOMERY, AL 36107                  MONTGOMERY, AL 36124                       1141 MONTLIMAR DR, STE 1006
                                                                                 MOBILE, AL 36609




ALABAMA OCCUPATIONAL SAFETY AND       ALABAMA OFFICE OF THE ATTORNEY             ALABAMA RESTAURANT CLEANERS
HEALTH ADMINISTRATION                 GENERAL                                    6083 WILLIAM O LN
MEDICAL FORUM BLDG                    CONSUMER INTEREST DIVISION                 GARDENDALE, AL 35071
950 22ND ST NORTH, RM 1050            501 WASHINGTON AVE
BIRMINGHAM, AL 35203                  MONTGOMERY, AL 36104



ALABAMA RURAL HEALTH ASSOCIATION      ALABAMA STATE BOARD OF MEDICAL             ALABAMA STATE BOARD OF PHARMACY
P.O. BOX 963                          EXAMINERS                                  111 VILLAGE ST
TROY, AL 36081                        EXAMINERS CONTROLLED SUBS                  BIRMINGHAM, AL 35242
                                      P O BOX 946
                                      MONTGOMERY, AL 36101



ALABAMA STATE TREASURY                ALADDIN TEMP-RITE LLC                      ALADDIN TEMP-RITE LLC
UNCLAIMED PROPERTY DIVISION           P.O. BOX 8500-3431                         P.O. BOX 8500-3431
P.O. BOX 302520                       PHILADELPHIA, PA 19178                     PHILADELPHIA, PA 19178-3431
MONTGOMERY, AL 36130-2520




ALAFARO, MELANIE                      ALAIMALO, NATHAN                           ALAINA KRISTINE PHOTOGRAPHY
2905 GILMORE DR                       ADDRESS ON FILE                            10209 E. KARMA RD
DEMING, NM 88030                                                                 WALTONVILLE, IL 62894
ALAMO 1                   Case 20-10766-BLS    Doc 6 TISSUE
                                       ALAMO BIOLOGICS FiledBANK
                                                             04/07/20     PageALAMO
                                                                               36 ofENVIRONMENTAL
                                                                                     1969         INC
ABATEMENT DIVISION INC.                 P.O. BOX 691433                       DBA ALAMO1
2900 NACOGDOCHES RD                     SAN ANTONIO, TX 78269                 2900 NACOGDOCHES RD
SAN ANTONIO, TX 78217                                                         SAN ANTONIO, TX 78217




ALAN COOPER                             ALAN COPPERSTONE                      ALAN JOSEPHSEN CO, LLC
408 FRANKLIN ST                         695 NORTH KELLOGG STREET              101 EAST MAPLE AVE
BOX 134                                 GALESBURG, IL 61401-0000              MUNDELEIN, IL 60060-0000
VICTORIA, IL 61485




ALAN, ABEL LARRY                        ALANA BROWN                           ALAS, ERIKA
ADDRESS ON FILE                         916 N CHERRY ST                       4112 GREENLEAF CT APT. 201
                                        GALESBURG, IL 61401                   PARK CITY, IL 60085




ALASE, JOYCE O.                         ALASKA DIVISION OF CORPORATIONS       ALAYON-HOWARD, MARIBEL
901 E FM 700 APT 415                    P.O. BOX 110806                       1633 215TH PL
BIG SPRING, TX 79720                    JUNEAU, AK 99811-0806                 SAUK VILLAGE, IL 60411




ALBA, KATHLEEN                          ALBANESE, MICHAEL D.                  ALBANESE, MICHAEL
45 CARNEROS RD                          ADDRESS ON FILE                       218 S ASPEN CT UNIT 1
AROMAS, CA 95004                                                              WARREN, OH 44484




ALBARRAN, MARGARITA                     ALBAUGH, BRANDOLYN M.                 ALBAUGH, CODY M.
1501 WILSON AVE                         ADDRESS ON FILE                       ADDRESS ON FILE
WAUKEGAN, IL 60087




ALBEE, DR. BHAVIKA                      ALBERS CATHY M.                       ALBERS, BECKY
314 S. MAIN ST                          5738 DUNBAR CIRCLE                    8522 WOODLN RD
JONESBORO, AR 72401                     MILTON, FL 32583                      GERMANTOWN, IL 62245




ALBERS, CHRISTINE                       ALBERS, JEFFREY                       ALBERS, JOAN
6315 KK RD                              2309 HOLIDAY LN                       ADDRESS ON FILE
WATERLOO, IL 62298                      MARYVILLE, IL 62062-5677




ALBERS, KELLY                           ALBERS, SCOTT G.                      ALBERS, TRACI
1221 SEWARD DR                          ADDRESS ON FILE                       9580 HILLBROOKE LN
OFALLON, IL 62269                                                             BARTELSO, IL 62218




ALBERT, HARRIS J.                       ALBERT, JARRETT                       ALBERT, JASON M.
28247 CLEAR LAKE RD                     38685 N HILLTOP AVE                   ADDRESS ON FILE
EUGENE, OR 97402-0000                   ANTIOCH, IL 60002
ALBERT, MARK           Case 20-10766-BLS
                                    ALBERTS,Doc  6 G.Filed 04/07/20
                                            SHARON                    PageALBERTSEN,
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1876 LEDGEWOOD BLVD NE              ADDRESS ON FILE                       ADDRESS ON FILE
MASSILLON, OH 44646




ALBERTSON, TYVAN                     ALBIETZ, LINDA A                     ALBOHER, ADAM
807 E MAIN ST                        1470 W LOSEY ST                      501 MAIN ST
GRANTSVILLE, UT 84029                GALESBURG, IL 61401                  EVANSTON, WY 82930-0000




ALBON, VICTORIA                      ALBRECHT, CAIJ                       ALBRECHT, KAREN A.
35 ALBON LN                          183 HOLLAND DR                       406 COTTONWOOD TRACE, UNIT B
ELKVILLE, IL 62932                   EVANSTON, WY 82930                   GLEN CARBON, IL 62034




ALBRECHT, KIMBERLY                   ALBRECHT, VALERIE M.                 ALBRITTON, EMMA L.
337 WILSON AVE                       5101 MARGRET CURTIS LN               930 DUNBAR ST
WOOD RIVER, IL 62095                 MIDLOTHIAN, IL 60445                 GREENVILLE, AL 36037




ALBRITTON, LAURA                     ALCAIDE, MARGARITA                   ALCANTAR, FRANCES
137 HURT ST                          117 JUNIPER ST                       2210 N HWY 350
SCOTTSBORO, AL 35769                 WAUKEGAN, IL 60085                   BIG SPRING, TX 79720




ALCANTARA, KRYSTEL                   ALCO SALES & SERVICE CO              ALCO SALES
297 QUEBRADA DEL MAR RD              6851 HIGH GROVE BLVD                 6851 HIGH GROVE BLVD
MARINA, CA 93933                     BURR RIDGE, IL 60527-7579            BURR RIDGE, IL 60527




ALCON LABORATORIES INC               ALCON LABORATORIES INC               ALCON LABORATORIES INC
6201 S FREEWAY                       P.O. BOX 677775                      P.O. BOX 677775
FORT WORTH, TX 76134                 DALLAS, TX 75267                     DALLAS, TX 75267-7775




ALCON LABORATORIES, INC              ALCON VISION LLC                     ALCON, ROGER
P.O. BOX 677775                      6201 S FREEWAY                       P.O. BOX 78
DALLAS, TX 75267-7775                FORT WORTH, TX 76134                 OCATE, NM 87734




ALCOPRO, INC.                        ALCOTT, DONALD A.                    ALDABA, MONSERRAT
P.O. BOX 10954                       1046 N JACKSON ST                    ADDRESS ON FILE
KNOXVILLE, TN 37939                  WAUKEGAN, IL 60085




ALDANA, ANABEL                       ALDEA, JOSE MIGUEL                   ALDEN, ALLISON
102 BEACHVIEW                        ADDRESS ON FILE                      103 N DAVIS ST
ROUND LAKE, IL 60073                                                      AVON, IL 61415
ALDER, STEVEN             Case 20-10766-BLS   Doc
                                       ALDERETE,    6
                                                 BETH      Filed 04/07/20   PageALDERETE,
                                                                                 38 of 1969
                                                                                          JORDAN
ADDRESS ON FILE                         1617 8TH ST                             ADDRESS ON FILE
                                        LAS VEGAS, NM 87701




ALDERMAN DANELLA ANN                    ALDERMAN, CHADD                         ALDERMAN, LUCY
1225 W 10TH AVE UNIT 24                 2221 G RD                               2281 CASHES VALLEY RD
JUNCTION CITY, OR 97448                 FULTS, IL 62244                         CHERRY LOG, GA 30522




ALDERMAN, NOAH                          ALDERMAN, WAYNE                         ALDERMAN, WAYNE
1182 LAZY HOLLOW PL                     1182 LAZY HOLLOW PL                     1182 LAZY HOLLOW PLACE
WINTER PARK, FL 32792                   WINTER PARK, FL 32792                   WINTER PARK, FL 32792




ALDERS, MARY J                          ALDERSON, DELMA                         ALDERSON, KIMBERLY N.
1317 N JACKSON ST                       20857 W VERONA AVE                      ADDRESS ON FILE
WAUKEGAN, IL 60085                      LAKE VILLA, IL 60046




ALDERTON, LYNN M.                       ALDIN, ZIYAD                            ALDREDGE, MORGAN T.
9919 ARTHUR LN                          533 LAKEHURST RD APT 1L                 14413 SANDERSON AVE
SAINT LOUIS, MO 63128                   WAUKEGAN, IL 60085                      DOLTON, IL 60419




ALDRICH, CAROLYN                        ALDRICH, LASHELL                        ALDRICH, SUZANNE
33 CROSS ST                             ADDRESS ON FILE                         ADDRESS ON FILE
SYLVANIA, AL 35988




ALDRIDGE REBEKAH                        ALDRIDGE, ASHLEY                        ALDRIDGE, BOK
ADDRESS ON FILE                         1479 W MAIN ST                          365 FARMINGTON DR
                                        GALESBURG, IL 61401                     EVANS, GA 30809




ALDRIDGE, MICHAEL L.                    ALDRIDGE, REBEKAH R.                    ALDRIDGE, REBEKAH
148 D ST                                ADDRESS ON FILE                         ADDRESS ON FILE
LOUISA, KY 41230




ALDRIDGE, SAM                           ALEGARBES, JEREMIAH                     ALEGIS REVENUE GROUP LLC
952 SIENNA RIDGE                        301 BRIGHAM RD                          P.O. BOX 639190
BRASELTON, GA 30517                     TOOELE, UT 84074                        CINCINNATI, OH 45263-9190




ALEGRE, ANA MARGARITA                   ALEMU, ELIZABETH S.                     ALERE INFORMATICS, INC
508 NORTH G ST                          ADDRESS ON FILE                         2000 HOLIDAY DR
MONMOUTH, IL 61462                                                              CHARLOTTESVILLE, VA 22901
ALERE INFORMATICS, INC     Case 20-10766-BLS    Doc 6 Filed
                                        ALERE INFORMATICS, INC 04/07/20   PageALERE
                                                                               39 ofNORTH
                                                                                     1969AMERICA INC
P.O. BOX 734697                           P.O. BOX 845849                     P.O. BOX 846153
DALLAS, TX 75373-4697                     BOSTON, MA 02284-5849               BOSTON, MA 02284-6153




ALERE NORTH AMERICA, INC                  ALERE NORTH AMERICA, LLC            ALERTMD, LLC
P.O. BOX 846153                           P.O. BOX 846153                     1580 WHISTLER CT
BOSTON, MA 02284-6153                     BOSTON, MA 02284-6153               NAPERVILLE, IL 60564




ALESIA ODOM                               ALETA L ODONNELL                    ALEX, MATHEW
268 LAKEVIEW DR                           703 S MAIN ST                       ADDRESS ON FILE
HUGHES, AR 72348                          ABINGDON      IL, IL 61410




ALEXA, MEREDITH                           ALEXANDER FAMILY TRUST 1            ALEXANDER FOX
1321 OSAGE ST                             C/O MICHAEL ALEXANDER               312 SHORT ST
WYNNE, AR 72396                           1 DOCTORS PARK RD, STE A            PO BOX 92
                                          MT. VERNON, IL 62864                NORTH HENDERSON, IL 61466




ALEXANDER LAB                             ALEXANDER SULLIVAN, DELLA           ALEXANDER, ALLEN ARTHUR
4575 CRYSTAL LAKE NW                      623 BAY VIEW DR                     38507 HIGHWAY 58
CANAL FULTON, OH 44614                    APTOS, CA 95003                     DEXTER, OR 97431




ALEXANDER, BELINDA R.                     ALEXANDER, BRIAN T.                 ALEXANDER, CATHY
ADDRESS ON FILE                           ADDRESS ON FILE                     2970 CENTER POINT RD SOUTH
                                                                              REAGAN, TN 38368-0000




ALEXANDER, CHANDRA C.                     ALEXANDER, CHARLOTTE                ALEXANDER, CHRISTOPHER D.
83424 WILLIAMSON LN                       822 BROWNS FRK                      ADDRESS ON FILE
DEXTER, OR 97431                          LOWMANSVILLE, KY 41232-9201




ALEXANDER, CINDY                          ALEXANDER, COURTNEI J               ALEXANDER, CYNTHIA M.
1323 BEECH BLUFF RD                       829 CHICAGO ST                      1044 MCALISTER AVE
BEECH BLUFF, TN 38313-7839                WEST HELENA, AR 72390               NORTH CHICAGO, IL 60064




ALEXANDER, ERIC D.                        ALEXANDER, JAMESHA                  ALEXANDER, JEREMY
ADDRESS ON FILE                           ADDRESS ON FILE                     1620 LOCUST ST
                                                                              HAMILTON, IL 62341




ALEXANDER, JOYCE V.                       ALEXANDER, KAREN L.                 ALEXANDER, KAREN
14512 HARPER                              ADDRESS ON FILE                     3690 LURAY RD
DOLTON, IL 60419                                                              BEECH BLUFF, TN 38313
ALEXANDER, KAREN        Case 20-10766-BLS   Doc
                                     ALEXANDER,   6 Filed 04/07/20
                                                LAURA                PageALEXANDER,
                                                                          40 of 1969MARY LOUISE
HRMC                                  ADDRESS ON FILE                    750 E 36TH AVE APT 6
72342                                                                    EUGENE, OR 97405




ALEXANDER, MELVA                      ALEXANDER, NYEISHA C.              ALEXANDER, OCTAVIA T.
1212 ALEXANDER LN                     3601 E DOERR AVE                   ADDRESS ON FILE
WILLIAMSTON, NC 27892                 ALTON, IL 62002




ALEXANDER, PHILIP M.                  ALEXANDER, RENNA                   ALEXANDER, SARA
ADDRESS ON FILE                       14432 CENTER AVE                   ADDRESS ON FILE
                                      HARVEY, IL 60426




ALEXANDER, SHARON                     ALEXANDER, SHELLEY D.              ALEXANDER, SYLVIA L.
709 E. 88TH ST                        207 S. MULKEY ST.                  ADDRESS ON FILE
CHICAGO, IL 60619                     CHRISTOPHER, IL 62822




ALEXANDER, VICTORIA                   ALEXIS SCHOOLCRAFT                 ALEXIS SCHOOLCRAFT
200 PARK PL                           3893 EAGLE RIDGE DR                C/O GARY MARTOCCIO, SPIELBERGER LAW
LEXINGTON, TN 38351                   ELGIN, IL 60124                    GROUP
                                                                         4890 W KENNEDY BLVD, STE 950
                                                                         TAMPA, FL 33609



ALFA AUTO                             ALFA INSURANCE                     ALFANO, JULIE
P.O. BOX 680577                       480 GREENVILLE BYPASS              400 N PIONEER RD
FORT PAYNE, AL 35968                  ATTN WILL STARLING                 WAUKEGAN, IL 60085
                                      GREENVILLE, AL 36037




ALFANO, ROBERT C.                     ALFANO-JOHNSON, MARIE              ALFARO LTD
2240 CHOCTAW RD                       607 41ST AVE                       DBA MESA VIEW MEDICAL GROUP
WAUKEGAN, IL 60087                    SANTA CRUZ, CA 95062               1301 BERTHA HOWE AVE 8
                                                                         MESQUITE, NV 89027




ALFARO LTD                            ALFARO, ENRIQUE MD                 ALFARO, ERIKA
DBA MESA VIEW MEDICAL GROUP           500 MOUNTAINSIDE CT                122 EAST ANDERSON LOT 7
P.O. BOX 9101                         MESQUITE, NV 89027                 FORT PAYNE, AL 35967
BELFAST, ME 04915-9101




ALFARO, JUANITA                       ALFELDT, CRYSTAL                   ALFONSO, IMELDA A.
12568 W HENDEE RD                     329 CHERRY ST                      ADDRESS ON FILE
BEACH PARK, IL 60087                  OAKDALE, IL 62268




ALFORD, EVA C.                        ALFORD, KATRISA                    ALFORD, LINDSAY
3411 DONALD ST                        16921 JESSICA RD                   3621 HWY 431 S
EUGENE, OR 97405                      LOT 100                            ALBERTVILLE, AL 35950
                                      LAURINBURG, NC 28352
ALFORD, NANCY M.        Case 20-10766-BLS     Doc 6 R.
                                     ALGIEN, MARGARET Filed 04/07/20   PageAL-HALASEH,
                                                                            41 of 1969 WAEL I.
ADDRESS ON FILE                        1207 PECOS ST P.O. BOX 884           ADDRESS ON FILE
                                       LAS VEGAS, NM 87701




ALICE E GREEN                          ALICE TRAINING INSTITUTE, LLC        ALICEA, ZULMA L
297 CONCORD DR                         3613 RESERVE COMMONS DR              11 E OVERBEND TRL
MESQUITE, NV 89027                     MEDINA, OH 44256                     BLUE RIDGE, GA 30513




ALIGN MD EMERGENCY OF ILLINOIS PLLC    ALIGN MD OF ILLINOIS PLLC            ALIGNMD OF HELENA, PLLC
5121 MARYLAND WAY STE 300              5121 MARYLAND WAY STE 300            5121 MARYLAND WAY STE 300
BRENTWOOD, TN 37027                    BRENTWOOD, TN 37027                  BRENTWOOD, TN 37027




ALIGNMD OF NEW MEXICO PLLC             ALIMED INC                           ALIMED INC
5121 MARYLAND WAY STE 300              ACCOUNTS RECEIVABLE                  P.O. BOX 206417
BRENTWOOD, TN 37027                    P.O. BOX 9135                        DALLAS, TX 75320
                                       DEDHAM, MA 02027




ALIMED INC.                            ALIMED INC.                          ALIMED, INC.
P O BOX 9135                           PO BOX 9135                          ACCOUNTS RECEIVABLE
DEDHAM, MA 02027-9135                  DEDHAM, MA 02027                     297 HIGH ST
                                                                            P.O. BOX 9135
                                                                            DEDHAM, MA 02027-9135



ALIMED, INC.                           ALIREZ, KATHLEEN                     ALIS CHY
ACCOUNTS RECEIVABLE                    124 SOUTH GRAND AVE 13               320 N THIRD ST
P.O. BOX 206417                        LAS VEGAS, NM 87701                  MONMOUTH, IL 61462
DALLAS, TX 75320




ALISAGO, MEGAN B.                      ALISON HUBER                         ALIU, ESMERALDA
470 RIVER RD                           1167 TURKEY FOOD ROAD APT 12         303 S SCOTT ST
FELTON, CA 95018                       LEXINGTON, KY 40502                  ALEXIS, IL 61412




ALIU, LEONARD                          ALIVE HOSPICE, INC.                  ALJASSEM, ALMUTHANNA
303 S SCOTT                            1718 PATTERSON ST                    5342 NEWPORT DR
ALEXIS, IL 61412                       NASHVILLE, TN 37203                  LISLE, IL 60532




ALJAZARA, YASMIN                       ALJEBURI, ERICA L.                   ALKHATEEB, HANAA
108 JESSEN ST                          1030 MARKET ST                       ADDRESS ON FILE
PEOTONE, IL 60468                      MADISON, IL 62060




ALKHATEEB, SAFAA                       ALKUINO, RHEENA MAE R.               ALL AMERICAN PUBLISHING
12628 PETALUMA RD                      ADDRESS ON FILE                      5411 KENDALL ST
VICTORVILLE, CA 92392                                                       BOISE, ID 83706
                       Case
ALL AMERICAN PUMP& MACHINE INC 20-10766-BLS     Doc
                                       ALL AROUND     6 COURIER,
                                                    SOCAL Filed 04/07/20
                                                                  LLLP     PageALL
                                                                                42ASPECTS
                                                                                   of 1969ENVIRONMENTAL &
1310 NORTH BELL ST                     17731 IRVINE BLVD 110                   DEMOLITION LLC
SAN ANGELO, TX 76903                   TUSTIN, CA 92780                        P.O. BOX 2386
                                                                               EUGENE, OR 97402




ALL BRAND COMPRESSOR SERVICE           ALL BRAND COMPRESSOR SERVICE            ALL GLASS
2412 4TH AVE                           2412 4TH AVENUE                         27 LINDEN ST
MOLINE, IL 61265                       MOLINE, IL 61265                        LEXINGTON, TN 38351




ALL HANDS INTERPRETING SERVICES TOO    ALL MEDICAL PERSONNEL, INC              ALL OUT TENT & EVENT RENTAL LLC
P.O. BOX 735                           4000 HOLLYWOOD BLVD                     P.O. BOX 70
YONCALLA, OR 97499                     STE 600N                                RIVERTON, UT 84065
                                       HOLLYWOOD, FL 33021




ALL PARTS MEDICAL INC.                 ALL PARTS MEDICAL                       ALL PARTS MEDICAL, LLC
400 BRICK CHURCH PARK DR               62654 COLLECTIONS CENTER DRIVE          62654 COLLECTION CENTER DR
NASHVILLE, TN 37207                    CHICAGO, IL 60693                       CHICAGO, IL 60693




ALL PARTS MEDICAL, LLC                 ALL PHASE BUSINESS SUPPLIES, INC        ALL SAVERS - UHC
62654 COLLECTIONS CENTER DR            1920 E. GLADWICK ST                     P.O. BOX 31375
CHICAGO, IL 60693                      RANCHO DOMINQUEZ, CA 90220-0000         SALT LAKE CITY, UT 84131-0375




ALL SOUTH SUBCONTRACTORS INC           ALL STAR LANES                          ALL STAR MEDICAL
2678 QUEENZTOWN RD                     1111 NORTH 200 WEST                     128 NORTH BRD ST
BIRMINGHAM, AL 35210                   TOOELE, UT 84074                        ALBERTVILLE, AL 35950-1722




ALL STAR RECRUITING LOCUMS LLC         ALL STAR RECRUITING                     ALL STARS-N-STITCHES
P.O. BOX 936725                        4400 WEST SAMPLE RD STE 250             P.O. BOX 10
ATLANTA, GA 31193-6725                 COCONUT CREEK, FL 33073                 BENTON, IL 62812




ALL STEELE CARPORTS                    ALL STREAM                              ALL TYPE COMPRESSOR
2200 N GRANVILLE AVE                   18110 SE 34TH ST, BLDG 1 STE 100        1712 NORTH MAIN ST
MUNCIE, IN 47303                       VANCOUVER, WA 98683                     DUPO, IL 62239




ALL WASHED UP, LLC                     ALL WEST COMMUNICATIONS                 ALL WEST COMMUNICATIONS
708 W. MARCY                           50 W 100 N                              50 W 100 N
BIG SPRING, TX 79720                   KAMAS, UT 84036                         KAMAS, UT 84036-9738




ALLA, SREENIVASA R.                    ALLAMAN, CHARITY J.                     ALLAMAN, CRYSTAL R.
ADDRESS ON FILE                        ADDRESS ON FILE                         208 SIMS ST
                                                                               ALEXIS, IL 61412
ALLAN, CHERYL             Case 20-10766-BLS    Doc 6 GALLERY
                                       ALLANS FURNITURE Filed 04/07/20   PageALLANSMITH,
                                                                              43 of 1969 CAROLYN E.
302 CUNNINGHAM DR E                      202 SCURRY                           29652 JEANS RD SPC 15
FORT PAYNE, AL 35967                     BIG SPRING, TX 79720                 VENETA, OR 97487




ALLARD, TAMA                             ALLBRIDGE C/O ALC                    ALL-CLEAN PRESSURE CLEANING
1504 KARIN DR                            P.O. BOX 78131                       C/O VANCE STEVENS
SWANSEA, IL 62226-2142                   MILWAUKEE, WI 53278-0000             2961 TENNIS RD
                                                                              FT PAYNE, AL 35967




ALLDREDGE, JENE L.                       ALLEGIANCE BENEFIT PLAN              ALLEGIANCE CORPORATION
61 E SOUTH CREST CIRCLE                  P.O. BOX 3018                        CARDINAL HEALTH 200 LLC
EDWARDSVILLE, IL 62025                   MISSOULA, MT 97477                   P.O. BOX 70539
                                                                              CHICAGO, IL 60673




ALLEGIS GROUP HOLDINGS INC               ALLEGRA PRINT & IMAGING              ALLEGRA PRINT & IMAGING
AEROTEK COMMERCIAL STAFFING              439 N HENDERSON ST                   439 N HENDERSON
P.O. BOX 198531                          GALESBURG, IL 61401                  GALESBURG, IL 61401
ATLANTA, GA 30384-8531




ALLEN AGNES R                            ALLEN AND WITHROW                    ALLEN GWENDOLYN J
131 MTN LIBERTY RD                       P.O. BOX 17248                       1384 N HENDERSON ST 424
MCCAYSVILLE, GA 30555                    LITTLE ROCK, AR 72222                GALESBURG, IL 61401




ALLEN HARDY                              ALLEN MEDICAL SYSTEMS INC            ALLEN MEDICAL SYSTEMS, INC.
309 CLUSTER ST                           100 DISCOVERY WAY                    100 DISCOVERY WAY
FOLEY, AL 36535                          ACTON, MA 01720                      ACTION, MA 01720-3948




ALLEN MEDICAL SYSTEMS, INC.              ALLEN MEDICAL                        ALLEN, AARON
P.O. BOX 84918                           100 DISCOVERY WAY                    4154 LOVING ROAD
CHICAGO, IL 60689-4918                   ACTON, MA 01720                      MORGANTON, GA 30560-2802




ALLEN, ADELHEID M.                       ALLEN, ALEXIS                        ALLEN, ALLISON
1600 BLUEBIRD ST                         7117 N LIGHTHOUSE LN                 70 PETERS AVE
BIG SPRING, TX 79720                     MT VERNON, IL 62810                  BEECH CREEK, PA 16822




ALLEN, AMY L.                            ALLEN, ANGELA R.                     ALLEN, ANGELA
ADDRESS ON FILE                          206 HERRING DR                       ADDRESS ON FILE
                                         COPPERHILL, TN 37317




ALLEN, ANGELA                            ALLEN, ANITA Y.                      ALLEN, ASHLEY
ADDRESS ON FILE                          213 S WALNUT ST                      1681 3RD ST
                                         GLENWOOD, IL 60425                   MADISON, IL 62060
ALLEN, BETH A.            Case 20-10766-BLS     Doc G.
                                       ALLEN, BOBBIE 6       Filed 04/07/20   PageALLEN,
                                                                                   44 ofBONNIE
                                                                                         1969 R.
ADDRESS ON FILE                          ADDRESS ON FILE                          2918 ESCHOL
                                                                                  ZION, IL 60099




ALLEN, CAITLYN                           ALLEN, CATHY A.                          ALLEN, CHARLOTTA S.
95 NEW RENFROE ST                        ADDRESS ON FILE                          ADDRESS ON FILE
LEXINGTON, TN 38351




ALLEN, CHERYL L.                         ALLEN, CHYNNA                            ALLEN, DEANNA L.
ADDRESS ON FILE                          P.O. BOX 714                             810 CARRINGTON AVE SE
                                         HIAWASSEE, GA 30546                      FORT PAYNE, AL 35967




ALLEN, DEVINAE                           ALLEN, DIANE                             ALLEN, DORIS T.
400 RUTLEDGE ST                          2180 WOODLAKE BLVD                       12417 S YALE AVE
PARK FOREST, IL 60466                    MONROE, GA 30655                         CHICAGO, IL 60628-7211




ALLEN, DORIS                             ALLEN, DUSTIN                            ALLEN, ELISABETH
4218 SABRENA AVE                         ADDRESS ON FILE                          ADDRESS ON FILE
EUGENE, OR 97404




ALLEN, ELIZABETH ANN                     ALLEN, ELIZABETH C.                      ALLEN, ELIZABETH
ADDRESS ON FILE                          7116 HONEYSUCKLE COURT SE                ADDRESS ON FILE
                                         COVINGTON, GA 30014




ALLEN, GWENDOLYN J.                      ALLEN, JAMES L                           ALLEN, JANIS K.
1384 N HENDERSON ST 424                  ADDRESS ON FILE                          570 NELSON AVE
GALESBURG, IL 61401                                                               TOOELE, UT 84074




ALLEN, JERICKA                           ALLEN, JESS                              ALLEN, JULIE D.
9951 S PARNELL AVE                       2815 STONECOAL RD                        303 HALIA CREST
CHICAGO, IL 60628                        KERMIT, WV 25674                         MT. VERNON, IL 62864




ALLEN, KAMELIA                           ALLEN, KAMELIA                           ALLEN, KANDICE LEE
130 LAUREN CIR APT. D                    ADDRESS ON FILE                          4080 ROYAL AVE
BELLEVILLE, IL 62223                                                              EUGENE, OR 97402




ALLEN, KATE M.                           ALLEN, KATHRYN R.                        ALLEN, KELLY S.
4763 CROWLEY RD                          ADDRESS ON FILE                          18033 E BOWES RD
KELL, IL 62853                                                                    BONNIE, IL 62816
ALLEN, KENT              Case 20-10766-BLS     Doc 6
                                      ALLEN, LACI            Filed 04/07/20   PageALLEN,
                                                                                   45 ofLARRY
                                                                                         1969S.
3661 LOST ACRES LN                     208 S. WEST ST.                            ADDRESS ON FILE
RED BUD, IL 62278                      KNOXVILLE, IL 61448




ALLEN, LATOSHIA L.                     ALLEN, LAURA                               ALLEN, MADISON M.
ADDRESS ON FILE                        ADDRESS ON FILE                            9852 HWY 69A
                                                                                  BIG SANDY, TN 38221




ALLEN, MARIAN L.                       ALLEN, MARIAN                              ALLEN, MARYRENEE
ADDRESS ON FILE                        ADDRESS ON FILE                            P.O. BOX 1781
                                                                                  BLUE RIDGE, GA 30513




ALLEN, MEGAN J.                        ALLEN, MELINDA I.                          ALLEN, MELISSA L.
2304 MIRACLE AVE                       ADDRESS ON FILE                            428 WILLOW RUN
GRANITE CITY, IL 62040                                                            RED BUD, IL 62278




ALLEN, NATHANIEL                       ALLEN, NETHA                               ALLEN, NICOLE
800 S 12TH ST                          10993 MESA LINDA ST                        16835 LUELLA AVE
WEST MEMPHIS, AR 72301                 VICTORVILLE, CA 92392                      SOUTH HOLLAND, IL 60473




ALLEN, NIKLAS B.                       ALLEN, NINA S.                             ALLEN, PAULA
ADDRESS ON FILE                        ADDRESS ON FILE                            35 JOE BRANCH
                                                                                  INEZ, KY 41224




ALLEN, PEGGY S.                        ALLEN, PHYLLIS R.                          ALLEN, RAVEN A.
ADDRESS ON FILE                        ADDRESS ON FILE                            51 HUNTINGDON ST
                                                                                  LEXINGTON, TN 38351




ALLEN, RAYMOND A                       ALLEN, REGINA A.                           ALLEN, RODERICK A.
141 CENTRAL AVE                        ADDRESS ON FILE                            ADDRESS ON FILE
GRANITE CITY, IL 62040




ALLEN, ROHLFING                        ALLEN, RUSERT                              ALLEN, SEBRENA
5203 BLUFF RD                          17188 GOUDY RD                             ADDRESS ON FILE
VALMEYER, IL 62295                     DALTON, OH 44618




ALLEN, SHONARI                         ALLEN, SIOBHAN                             ALLEN, STEPHANIE A.
2819 EZEKIEL AVE                       5707 S. HONORE ST                          16740 HAZELWOOD DR
ZION, IL 60099                         CHICAGO, IL 60636-1644                     PLAINFIELD, IL 60586
ALLEN, SYBL A.           Case 20-10766-BLS     Doc 6C. Filed 04/07/20
                                      ALLEN, TAMERA                      PageALLEN,
                                                                              46 ofTAMERA
                                                                                    1969
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




ALLEN, TOMMY                            ALLEN, VIRGIL                        ALLEN, VISHNUE E.
3985 HWY 581                            P.O. BOX 85                          2227 W 171ST ST
ULYSSES, KY 41264                       EPWORTH, GA 30541                    HAZEL CREST, IL 60429




ALLEN, YVONNE A.                        ALLENBAUGH, PHILIP                   ALLENDE, NANCY
4434 BRETZ DR                           1750 EAST MAIN ST                    2833 WALL AVE
RICHTON PARK, IL 60471                  LOUISVILLE, OH 44641                 WAUKEGAN, IL 60087




ALLENSWORTH, PATRICIA                   ALLENWARD, DOLORES L.                ALLERGAN INC
51784 DEXTER ST                         34148 N WHITE OAK LN                 12975 COLLECTIONS CENTER DR
P.O. BOX 260                            GURNEE, IL 60031                     CHICAGO, IL 60693-0129
BLUE RIVER, OR 97413




ALLERGAN SALES/MEDICAL (INAMED          ALLERGAN SALES/MEDICAL (INAMED       ALLERGAN USA INC
12975 COLLECTIONS CENTER DR             12975 COLLECTIONS CENTER DRIVE       12975 COLLECTIONS CENTER DR
CHICAGO, IL 60693                       CHICAGO, IL 60693                    CHICAGO, IL 60693-0129




ALLERGAN USA INC.                       ALLERGAN USA, INC                    ALLERGAN USA, INC
12975 COLLECTIONS CENTER DRIVE          12975 COLLECTIONS CENTER DRIVE       12975 COLLECTIONS CTR. DR
CHICAGO, IL 60693                       CHICAGO, IL 60693-0129               CHICAGO, IL 60693




ALLERGAN                                ALLERGAN                             ALLEY, REBECCA H.
12975 COLLECTIONS CENTER DR             12975 COLLECTIONS CENTER DRIVE       ADDRESS ON FILE
CHICAGO, IL 60693-0129                  CHICAGO, IL 60693




ALLEYNE, ZENA                           ALLGIRE, MABEL                       ALLGOOD, JAMES WESLEY
24450 POTOMAC CT                        13 RICHARD ST                        P.O. BOX 941
CRETE, IL 60417                         WATERLOO, IL 62298                   WINDER, GA 30680




ALLGOOD, SANDRA                         ALLI, KIMBERLY G.                    ALLI, LARRY
312 HAMILTON DR NE                      1475 BURGE RD                        1837 LACKEY LN
FORT PAYNE, AL 35967                    CENTRALIA, IL 62801                  CENTRALIA, IL 62801




ALLIANCE COAL BILL REVIEW               ALLIANCE COAL INS.                   ALLIANCE COAL
P.O. BOX 43457                          ATTN: REFUNDS DEPT                   P.O. BOX 22027
LOUISVILLE, KY 40253-0457               P.O. BOX 1808                        TULSA, OK 74119
                                        GRAPEVINE, TX 76099-1808
                         CaseINS
ALLIANCE HEALTHCARE SERVICES   20-10766-BLS
                                       ALLIANCEDoc   6 Filed
                                                HEALTHCARE    04/07/20
                                                           SERVICES, INC.    PageALLIANCE
                                                                                  47 of 1969
                                                                                          HEALTHCARE SERVICES, INC.
P.O. BOX 55826                         100 BAYVIEW CIRCLE                         P.O. BOX 19532
LOS ANGELES, CA 90074-5826             STE 400                                    IRVINE, CA 92623
                                       NEWPORT BEACH, CA 92660




ALLIANCE HEALTHCARE SERVICES, INC.      ALLIANCE HEALTHCARE SERVICES, INC.        ALLIANCE RECRUITING RESOURCES
P.O. BOX 55826                          P.O. BOX 96485                            P.O. BOX 670416
LOS ANGELES, CA 90074-5826              CHICAGO, IL 60693-6485                    DALLAS, TX 75267-0416




ALLIANT HEALTH PLANS                    ALLIANT HEALTH PLANS                      ALLIANT STAFFING, LLC
1503 N TIBBS                            P.O. BOX 198161                           7201 WISCONSIN AVE, STE 705
DALTON, GA 30720                        ATLANTA, GA 30384                         BETHESDA, MD 20814




ALLIANZ GLOBAL RISKS US INSURANCE       ALLIED 100 LLC                            ALLIED AWNING & RENTAL
COMPANY                                 1800 US HWY 51 N                          DBA: ALLIED ELECTRIC SIGN & AWNING
225 W. WASHINGTON ST., STE 1800         WOODRUFF, WI 54568                        P.O. BOX 27911
CHICAGO, IL 60606-3484                                                            SALT LAKE CITY, UT 84127




ALLIED BARTON SECURITY SERVICES         ALLIED BENEFIT SYSTEMS INC                ALLIED BUSINESS SOLUTIONS INC
P.O. BOX 828854                         REFUND DEPT                               6475 E PACIFIC COAST
PHILADELPHIA, PA 19182-8854             200 W ADAMS, STE 500                      HWY 158
                                        CHICAGO, IL 60606                         LONG BEACH, CA 90803




ALLIED COMMUNICATIONS, INC.             ALLIED FIRE AND SECURITY                  ALLIED HEALTHCARE PRODUCTS INC
708 WERNE DR                            425 W 2ND AVE                             P O BOX 790379
LEXINGTON, KY 40504-1009                SPOKANE, WA 99201                         ST LOUIS, MO 63179




ALLIED HEALTHCARE PRODUCTS              ALLIED HEALTHCARE PRODUCTS                ALLIED HEALTHCARE PRODUCTS, INC
C/O SUMMIT FINANCIAL RESOURCES          P.O. BOX 790379                           4911 SOLUTION CENTER
4911 SOLUTION CENTER                    ST. LOUIS, MO 63179                       CHICAGO, IL 60677-4009
CHICAGO, IL 60677




ALLIED HEALTHCARE PRODUCTS, INC.        ALLIED INFOTECH CORPORATION               ALLIED INTERSTATE LLC
P.O. BOX 790379                         2170 ROMIG RD                             P.O. BOX 19066
ST. LOUIS, MO 63179                     AKRON, OH 44320                           MINNEAPOLIS, MN 55419-0066




ALLIED INTERSTATE LLC                   ALLIED INTERSTATE LLC                     ALLIED UNIVERSAL SECURITY SERVICES
P.O. BOX 361445                         P.O. BOX 361563                           P.O. BOX 31001-2374
COLUMBUS, OH 43236-1563                 COLUMBUS, OH 43236-1563                   PASADENA, CA 91110-2374




ALLIED VALVE INC                        ALLIED WORD ASSURANCE COMPANY, AG         ALLIED WORLD ASSURANCE COMPANY
P.O. BOX 490                            27 RICHMOND RD                            3424 PEACHTREE RD NE
BETTENDORF, IA 52722                    PEMBROKE HM 08                            STE 550
                                        BERMUDA                                   ATLANTA, GA 30326
                        Case 20-10766-BLS
ALLIED WORLD NATIONAL ASSURANCE CO   ALLIED Doc 6     Filed 04/07/20        PageALLIED-PHYSICIANS
                                                                                 48 of 1969       BENEFITS TRUST LIFE
1690 NEW BRITAIN AVE                 P.O. BOX 29186                              INS
FARMINGTON, CT 06032                 SHAWNEE MISSION, KS 66201                   P.O. BOX 909786
                                                                                 CHICAGO, IL 60690-9786




ALLISON CHURCHILL                     ALLISON JAMES                              ALLISON JOHNSON
ADDRESS ON FILE                       291 FLOYDS WAY                             ADDRESS ON FILE
                                      BLAIRSVILLE, GA 30512




ALLISON, JAMES                        ALLISON, JARED P.                          ALLISON, JOHN W.
291 FLOYDS WAY                        4323 CROSSGATE DR                          ADDRESS ON FILE
BLAIRSVILLE, GA 30512                 CHAMPAIGN, IL 61822




ALLISON, JOHN                         ALLISON, JOSEPHINE                         ALLISON, JOSHUA C
ADDRESS ON FILE                       109 DELL ST                                809 YALE AVE
                                      ROBERSONVILLE, NC 27871                    EDWARDSVILLE, IL 62025




ALLISON, KATHRYN                      ALLISON, SHARON R                          ALLISON, SHARON R.
238 BRICKYARD RD                      P.O. BOX 486                               17086 AL HIGHWAY 117
ETOWAH, NC 28729                      STEVENSON, AL 35772-3568                   STEVENSON, AL 35772-3568




ALLISON, SUSAN                        ALLMAN, TONJIA E.                          ALLOSOURCE INC
2111 MIDHURST LN                      17570 HIGHWAY 70                           6278 S TROY CIRCLE
JOLIET, IL 60435                      HUNTINGDON, TN 38344                       CENTENNIAL, CO 80111




ALLOSOURCE INC                        ALLPARTS MEDICAL                           ALLPRINTGRAPHICS
P.O. BOX 801020                       62654 COLLECTIONS CENTER DR                2002 CERRILLOS RD
KANSAS CITY, MO 64180-1020            CHICAGO, IL 60693                          STE C
                                                                                 SANTA FE, NM 87505




ALLRED, CORY M.                       ALLRED, DANA                               ALLRED, ISABEL
1692 BRINLEE CT                       P.O. BOX 204                               900 E 18TH ST
ERDA, UT 84074                        STOCKTON, UT 84071                         BIG SPRING, TX 79720




ALLRED, STEVIE                        ALLSCRIPTS HEALTHCARE LLC                  ALLSCRIPTS HEALTHCARE LLC
ADDRESS ON FILE                       24630 NETWORK PL                           24630 NETWORK PLACE
                                      CHICAGO, IL 60673-1246                     CHICAGO, IL 60673-1246




ALLSCRIPTS HEALTHCARE SOLUTIONS INC   ALLSCRIPTS HEALTHCARE, LLC                 ALLSTATE INSURANCE COMPANY
24630 NETWORK PL                      C/O RYAN A. KURTZ, MILLER & MARTIN PLLC    2202 FOX DR
CHICAGO, IL 60673-1246                1180 WEST PEACHTREE ST. NW, SUITE 2100     CHAMPAIGN, IL 61820
                                      ATLANTA, GA 30309
                       Case 20-10766-BLS
ALLSTATE INSURANCE COMPANY          ALLSTATEDoc    6 Filed
                                              INSURANCE    04/07/20
                                                        COMPANY       PageALLSTATE
                                                                           49 of 1969
                                                                                   MARKETING SERVICE INC
P.O. BOX 187                        P.O. BOX 2874                          FAMILY READERS SERVICE
MINNEAPOLIS, MN 55400               CLINTON, IA 52733                      P.O. BOX 1469
                                                                           ELYRIA, OH 44036




ALLSTATE                             ALLSTATE                              ALLSTATE
ATTN ALEXIS ORTEGA                   P.O. BOX 660636                       PO BOX 2874
10002 PARK MEASDOWS DR               DALLAS, TX 75266                      CLINTON, IA 52733
LONE TREE, CO 80124




ALM, DONNA                           ALMAGUER, ANITA                       ALMANZA, ORLANDO
561 EUREKA CYN RD                    ADDRESS ON FILE                       2001 LORI DR
CORRALITOS, CA 95076                                                       DEMING, NM 88030




ALMAZAN, CECILIA D.                  ALMAZAN, MARIA                        ALMENDARES, CYNTHIA
1204 S MONTICELLO ST                 12551 IRVINIG AVE.                    11270 W EDGEWOOD RD
BIG SPRING, TX 79720                 BLUE ISLAND, IL 60406                 BEACH PARK, IL 60087




ALMENDAREZ, ANGELA                   ALMODOVAR, AMANDA                     ALMOST FAMILY
746 BARRON BLVD APT. D               ADDRESS ON FILE                       9510 ORMSBY STATION RD
GRAYSLAKE, IL 60030                                                        STE 300
                                                                           LOUISVILLE, KY 40223




ALMOWALLAD, MASHAEL                  ALOFFO, AVANELL                       ALONZO, JOAHNNA P.
ADDRESS ON FILE                      110 LAKE SHORE DR                     1481 MUSTANG CT
                                     CARTERVILLE, IL 62918                 SALINAS, CA 93905




ALONZO, LORIANN                      ALPHA BAKING CO, INC                  ALPHA CARD
P.O. BOX 168                         36230 TREASURY CENTER                 P.O. BOX 231179
BARSTOW, CA 92312                    CHICAGO, IL 60694                     PORTLAND, OR 97281




ALPHA KAPPA ALPHA SORORITY INC       ALPHA SOURCE INC                      ALPIN SURGICAL SPECIALTIES INC
P.O. BOX 8525                        P.O. BOX 809203                       105 LINCOLN AVE
WAUKEGAN, IL 60079-8525              CHICAGO, IL 60680-9201                BUTLER, PA 16001




ALPINE 7 ON 7 FOOTBAL                ALPINE ALTHLETIC BOOSTERS             ALPINE AUTO RENTAL
P.O. BOX 867                         300 E HENDRYX                         414 EAST HOLLAND AVE
ALPINE, TX 79831                     ALPINE, TX 79830                      P.O. BOX 1419
                                                                           ALPINE, TX 79831




ALPINE AVALANCHE                     ALPINE CHAMBER OF COMMERCE            ALPINE CHRISTIAN SCHOOL
P.O. BOX 719                         P.O. BOX 2325                         1901 LOOP DR
ALPINE, TX 79830                     ALPINE, TX 79831                      ALPINE, TX 79830
ALPINE COUNRY CLUB       Case 20-10766-BLS    Doc 6MARKET
                                      ALPINE CRAFTS   Filed 04/07/20         PageALPINE
                                                                                  50 ofGALLERY
                                                                                        1969 NIGHT
P.O. BOX 985                            P.O. BOX 1723                            105 E HOLLAND AVE
ALPINE, TX 79831                        ALPINE, TX 79831                         ALPINE, TX 79830




ALPINE HIGH SCHOOL FIGHTING BUCK BAND   ALPINE INDEPENDENT SCHOOL DISTRICT       ALPINE MOTORSPORTS
P.O. BOX 2115                           704 WEST SUL ROSS                        1606A WEST HIGHWAY 90
ALPINE, TX 79830                        ALPINE, TX 79830                         ALPINE, TX 79830




ALPINE PLUMBCO                          ALPINE POWER WASH                        ALPINE RADIO LLC
P.O. BOX 2074                           1204 W SANDERSON                         P.O. BOX 184
ALPINE, TX 79831                        ALPINE, TX 79830                         ALPINE, TX 79831-0184




ALQALQILI, NEDAL                        ALREFAEI, LINA                           ALSBROOKS, MICHAEL
ADDRESS ON FILE                         3868 BRUSHY RIDGE WAY                    3516 EDMONTON ST
                                        SUWANEE, GA 30024                        HEPHZIBAH, GA 30815-6520




ALSCO -AMERICAN LINEN DIV               ALSCO, INC                               ALSCO, INC
150 26TH ST                             150 26TH ST                              1831 WEST BRDWAY
OGDEN, UT 84401                         OGDEN, UT 84401                          EUGENE, OR 97402




ALSCO, INC                              ALSCO, INC                               ALSCO, INC
315 LYNCH ST                            3370 W 1820 S                            404 N UNIVERSITY AVE
ST LOUIS, MO 63118                      SALT LAKE CITY, UT 84104                 LUBBOCK, TX 79415




ALSCO, INC                              ALSCO, INC                               ALSHAHRANI, OMAR
717 SUMMIT AVE                          P.O. BOX 21509                           14838 VANCE JACKSON ROAD, APT 125
KINSTON, NC 28501                       EUGENE, OR 97402                         SAN ANTONIO, TX 78249




ALSHAYEF, ADHAM H.                      ALSHELLEH, EMAN                          ALSIKAFI, NEJD MD
839 S STONEBROOK CR                     988 SHADOW CREST CIR,                    ADDRESS ON FILE
FORREST CITY, AR 72335                  KINGMAN, AZ 86409




ALSIP CHAMBER OF COMMERCE               ALSIP HOTEL INVESTORS, LLC               ALSIP INDUSTRIAL ASSOCIATION
12159 SO. PULASKI RD                    5000 W 127TH ST                          4500 WEST 123RD ST
ALSIP, IL 60803                         ALSIP, IL 60803                          ALSIP, IL 60803




ALSIP, BILLY                            ALSTON & BIRD LLP                        ALSTON JR., DIONE W.
514 ASHLAR ST                           P.O. BOX 933124                          1050 4TH ST UNIT 2
JONESBORO, IL 62952                     ATLANTA, GA 31193-3124                   LAS VEGAS, NM 87701
ALTA CONSTRUCTION INC       Case 20-10766-BLS    DocSERVICES
                                         ALTA HEALTH 6 Filed 04/07/20          PageALTA
                                                                                    51 LANGUAGE
                                                                                        of 1969 SERVICES INC
P.O. BOX 1021                             598 W 900 S                              3355 LENOX RD NE STE 510
LYMAN, WY 82937                           STE 240                                  ATLANTA, GA 30326
                                          WOODS CROSS, UT 84010




ALTA MEDICAL SPECIALTIES                  ALTA SPICER                              ALTA VISTA REGIONAL HOSPITAL
2322 S PRESIDENTS DR STE. B               771 COUNTY RD 1000N                      AUXILLARY
SALT LAKE CITY, UT 84120                  SIMS, IL 62886                           C/O 104 LEGION DR
                                                                                   LAS VEGAS, NM 87701




ALTA VISTA REGIONAL HOSPITAL              ALTEE LAS VEGAS, LTD                     ALTENBERGER, JILL
ENTITY 0160                               C/O ATLEE DEVELOPMENT, INC.              6520 E. MAIN ST
104 LEGION DR                             970 ISOM ROAD                            MARYVILLE, IL 62062
LAS VEGAS, NM 87701                       SAN ANTONIO, TX 78216




ALTEP INC                                 ALTHEN, PHYLLIS W.                       ALTHOFF INDUSTRIES INC
7450 REMCON CR                            2139 BLADWIN PARK DR                     8001 S ROUTE 31
EL PASO, TX 79912                         MT PLEASANT, SC 29466                    CRYSTAL LAKE, IL 60014




ALTHOFF, DOUG                             ALTHOUSE, JOHN M.                        ALTHOUSE, KATHERINE
541 CATHERINE DR                          280 HODGES ST                            280 HODGES ST
RED BUD, IL 62278                         RAINSVILLE, AL 35986                     RAINSVILLE, AL 35986




ALTIDOR, DENISE                           ALTIER, TRISHA M.                        ALTIMORE, AMANDA L.
2990 WELLBROOK DR                         1717 FLORIAN DR NW                       1921 VILLAGE ST SE
LOGANVILLE, GA 30052-7804                 CANTON, OH 44709                         CANTON, OH 44707




ALTIUS FINANCIAL REPORTING                ALTIUS RECOVERY DEPARTMENT               ALTIUS
P.O. BOX 7087                             P.O. BOX 951239                          P.O. BOX 7147
LONDON, KY 40742-7087                     DALLAS, TX 75395                         LONDON, KY 40742




ALTMAN, ANFERNEE A.                       ALTMAN, DANIEL J.                        ALTO DEVELOPMENT CORP
2333 120TH ST                             1321 OAKLAND DR STE 2272                 5206 ASBURY RD
BLUE ISLAND, IL 60406                     HOUSTON, TX 77043                        P.O. BOX 758
                                                                                   FARMINGDALE, NJ 07727




ALTON MEMORIAL HOSPITAL                   ALTON REGIONAL CVB                       ALTOONA VA MEDICAL CENTER
1 MEMORIAL DR                             200 PIASA ST                             2907 PLEASANT VALLEY CENTER
ATTN MARY EISLER                          ALTON, IL 62002                          ALTOONA, PA 16602
ALTON, IL 62002




ALTORFER INDUSTRIES INC                   ALTURA COMMUNICATION SOLUTIONS LLC       ALTUS GROUP US INC
635 W LAKE ST                             1540 S LEWIS ST                          P.O. BOX 675005
ELMHURST, IL 60126                        ANAHEIM, CA 92805                        DALLAS, TX 75267-5005
ALVA, RUBY                  Case 20-10766-BLS   Doc
                                         ALVARADO,    6 Filed 04/07/20
                                                   APOLONIA              PageALVARADO,
                                                                              52 of 1969
                                                                                       DANIELA
ADDRESS ON FILE                           13434 OLDE WESTERN                 2839 W. MINNESOTA AVE
                                          BLUE ISLAND, IL 60406              BLUE ISLAND, IL 60406




ALVARADO, DIANELLY                        ALVARADO, DIANIRA                  ALVARADO, ESPERANZA
2405 HEBRON AVE                           ADDRESS ON FILE                    13416 CALIFORNIA
ZION, IL 60099                                                               BLUE ISLAND, IL 60406




ALVARADO, JESSICA B.                      ALVARADO, PAIGE                    ALVARADOABREU, RUTH
ADDRESS ON FILE                           246 COWBOY LN                      208 BERNICE ST
                                          LUBBOCK, TX 79404                  COLLINSVILLE, IL 62234




ALVAREZ MONROY GUSTAVO                    ALVAREZ MONROY, GUSTAVO            ALVAREZ SANCHEZ, JOSE S.
P.O. BOX 8653                             P.O. BOX 8653                      ADDRESS ON FILE
WAUKEGAN, IL 60079                        WAUKEGAN, IL 60079




ALVAREZ, ALISHA                           ALVAREZ, AMANDA                    ALVAREZ, CYNTHIA
333 W RAILWAY BLVD                        ADDRESS ON FILE                    401 FOXTAIL CANYON RD
LORDSBURG, NM 88045                                                          CALIENTE, CA 93518




ALVAREZ, IRENE                            ALVAREZ, JOANNA M.                 ALVAREZ, JUDITH
16950 JASMINE ST. APT 128                 3600 DIXON ST                      306 DORIS ST
VICTORVILLE, CA 92395                     BIG SPRING, TX 79720               QUEEN CITY, TX 75572




ALVAREZ, JULIE                            ALVAREZ, JULIETA                   ALVAREZ, OFELIA
4055 VICKY                                4055 VICKY                         244 FARRAGUT ST
BIG SPRING, TX 79720                      BIG SPRING, TX 79720               PARK FOREST, IL 60466




ALVAREZ, RICARDO                          ALVAREZ, SOLEDAD                   ALVAREZ, SUE
37385 JASPER LOWELL RD                    302 PHEASANT DR                    900 HAVEL CT
JASPER, OR 97438                          MESQUITE, NV 89027-6131            CHARLOTTE, NC 28211




ALVERA, JACOBS                            ALVERSON, JIMMY D.                 ALVES, OLEM
116 FAIRWAY DR                            401 LINCOLN AVE SE                 2176 CHARNELTON ST
WATERLOO, IL 62298                        FORT PAYNE, AL 35967-1610          EUGENE, OR 97405




ALVEY, CHRISTINA                          ALVEY, JORDAN                      ALVINO, GENNARO
1908 SPRUCE ST                            5475 BRIENNE WAY                   2448 DAHLIA ST.
MURPHYSBORO, IL 62966                     TOOELE, UT 84074                   LAS VEGAS, NM 87701
ALWAYS CARING LLC         Case 20-10766-BLS     Doc 6COMMUNICATIONS
                                       ALWAYS THERE       Filed 04/07/20   PageALWEH,
                                                                                53 of ABDULRAHMAN
                                                                                      1969
201 WOODARD AVE                        DBA 1-800 NOTIFY                        ADDRESS ON FILE
FULMERS PERSONAL CARE HOME             7950 NW 53RD ST, STE 341
LOCK HAVEN, PA 17745-1716              MIAMI, FL 33166




ALYSSA CHARBONEAU                      ALZATE, JUAN MD                         ALZHEIMERS ARKANSAS
ADDRESS ON FILE                        65 LAKEWOOD DR                          201 MARKHAM CENTER DR
                                       GLENCOE, IL 60022                       LITTLE ROCK, AR 72205




ALZHEIMERS ASSOC IL CHAPTER            ALZHEIMERS ASSOC IL CHAPTER             ALZHEIMERS ASSOCIATION
614 W GLAN AVE                         614 W GLAN AVENUE                       225 NORTH MICHIGAN AVE.,1700
PEORIA, IL 61614                       PEORIA, IL 61614                        CHICAGO, IL 60601




ALZHEIMERS ASSOCIATION                 AM ACADEMY OF PHYSICIAN ASSIST          AM ACADEMY OF SLEEP MEDICINE
9374 OLIVE BLVD                        ATTN ACCOUNTING                         2510 N FRONTAGE RD
ST LOUIS, MO 63132                     2318 MILL ROAD SUITE 1300               DARIEN, IL 60561-0000
                                       ALEXANDRIA, VA 22314




AM ASSOC OF NURSE ANESTHETISTS         AM COLLEGE OF GASTROENTEROLOGY          AM OPPORTUNITIES LLC
P.O. BOX 4289                          6400 GOLDSBORO RD                       1237 SAGE ST
CAROL STREAM, IL 60197-4289            STE 200                                 EVANSTON, WY 82930
                                       BETHESDA, MD 20817




A-M SYSTEMS                            A-M SYSTEMS, LLC                        A-M SYSTEMS, LLC
P.O. BOX 850                           P.O. BOX 850                            PO BOX 850
CARLSBORG, WA 98324                    CARLSBORG, WA 98324                     CARLSBORG, WA 98324




AMA INSURANCE                          AMADI, CULBERTH C.                      AMADOR, JULIE
ATTN: CLAIMS                           ADDRESS ON FILE                         ADDRESS ON FILE
P.O. BOX 804238
CHICAGO, IL 60680




AMAJOR, CHIDI D.                       AMAN, JEANNE                            AMANDA MENDEZ
2759 WHITEHALL CT LIVERMORE            1387 WESTFIELD AVE. SW                  270 W RAILROAD RD
SALINAS, CA 94550                      NORTH CANTON, OH 44720                  PO BOX 322
                                                                               ROSEVILLE, IL 61473




AMAR MEDICAL ASSOCIATES LTD            AMAR MUKERJI, MD                        AMAR, HELENA
3165 MYRTLE AVE                        ADDRESS ON FILE                         4687 HWY 261
GRANTIE CITY, IL 62040                                                         MORO, AR 72368




AMARE, BANTU                           AMARI WALLS                             AMARO, MONICA
ADDRESS ON FILE                        38 INDIANWOOD DR                        1801 WALLACE ST
                                       THORNTON, IL 60476                      BIG SPRING, TX 79720
AMARU, MARGARET           Case 20-10766-BLS    Doc 6
                                       AMATO, ALYSSA      Filed 04/07/20   PageAMATO,
                                                                                54 of ANGELA
                                                                                       1969
14485 SENECA RD APT 177                 16 PYRAMID DR 1602                     302 ANDERSON DR
VICTORVILLE, CA 92392                   HUNTINGTON, WV 25705                   ROBERSONVILLE, NC 27871




AMAYA, GLORIA Y.                        AMAYA, KAREN                           AMAZING CABLING SERVICES LLC
714 CASSERLY RD                         14350 FONTAINE WAY                     4049 CALLE DE LUNA
WATSONVILLE, CA 95076                   VICTORVILLE, CA 92394                  LAS CRUCES, NM 88012




AMBASSADOR COMPANY                      AMBASSADOR COMPANY                     AMBASSADOR NURSING & REHAB CENTER
P.O. BOX 639590                         P.O. BOX 890287                        LLC
CINCINNATI, OH 45263                    CHARLOTTE, NC 28289-0287               4900 N BERNARD ST
                                                                               CHICAGO, IL 60625




AMBASSADOR SERVICES INC                 AMBER KIMBROUGH                        AMBERG, JANICE
BEYOND THIS DAY                         886 W 2ND ST                           1604 LATHAM RD
P.O. BOX 269                            GALESBURG, IL 61401                    DRESDEN, TN 38225
GASTONIA, NC 28053




AMBERLAVAGE, TAMIE J.                   AMBETTER ARKANSAS                      AMBETTER FROM HOME STATE HEALTH
221 E COAL ST                           1 ALLIED DR BLDG 1 FLOOR 4             ATTN: REFUNDS
SHAMOKIN, PA 17976                      LITTLE ROCK, AR 72202                  11720 BORMAN DR
                                                                               ST. LOUIS, MO 63146-0000




AMBETTER FROM PEACH STATE               AMBETTER FROM SILVERSUMMIT             AMBETTER HEALTH
OVERPAYMENT                             HEALTHPLAN                             AMBETTER STE 30
P.O. BOX 204697                         2500 N BUFFALO DR STE 230              SMYRNA, GA 30082
DALLAS, TX 75320                        LAS VEGAS, NV 89128




AMBETTER                                AMBETTER                               AMBLEE SURGICAL
FROM SILVERSUMMIT HEALTHPLAN            P.O. BOX 5000                          404 GORDON DR
2500 N BUFFALO DR STE 230               FARMINGTON, MO 63640-5000              EXTON, PA 19341-0000
LAS VEGAS, NV 89128




AMBLER SURGICAL LLC                     AMBRIZ, JOSE M                         AMBROSE, AMBER C.
730 SPRINGDALE DR                       912 TOMAHAWK TRL                       ADDRESS ON FILE
EXTON, PA 19341-2828                    ROUND LAKE, IL 60073




AMBROSE, WILLIE M                       AMBROSIANI, MICHAEL V.                 AMBRY GENETICS CORPORATION
301 E VANCE ST                          ADDRESS ON FILE                        P.O. BOX 51458
WILLIAMSTON, NC 27892                                                          ONTARIO, CA 91761-1048




AMBRY, TANNER J.                        AMBU INC                               AMBU INC
ADDRESS ON FILE                         6230 OLD DOBBIN LN                     P.O. BOX 347818
                                        STE 250                                PITTSBURGH, PA 15251-4818
                                        COLUMBIA, MD 21045
                       Case 20-10766-BLS
AMBULANCE SERVICES OF FORREST CITY, AMBULANCEDoc  6 Filed
                                               SERVICES      04/07/20INCPageAMBULANCE
                                                         OF LEXINGTON,       55 of 1969SERVICES OF MCKENZIE, INC
LLC                                 1573 MALLORY LN, STE 100                4600 TOWSON AVE, STE 136
124 WEST CAPITOL AVE                BRENTWOOD, TN 37027                     FORT SMITH, AR 72901
STE 1900
LITTLE ROCK, AR 72201



AMBULANCE SERVICES OF MCKENZIE, INC.   AMBULANCE SERVICES OF TOOELE, LLC      AMBURGEY, BARBARA
1573 MALLORY LN, STE 100               1209 ORANGE ST                         1721 OLIVEWOOD CR NE
BRENTWOOD, TN 37027                    WILMINGTON, DE 19801                   MASSILLON, OH 44646-2550




AMBURGEY, MONICA A.                    AMC                                    AMD GLOBAL TELEMEDICINE INC
1036 BENNINGTON AVE NE                 11711 NW 39TH ST                       321 BILLERICA RD
MASSILLON, OH 44646                    CORAL SPRINGS, FL 33065-2511           CHELMSFORD, MA 01824




AMEDA,INC                              AMEDEE, EARLINE                        AMEDU, IZIEGBUWA A.
P.O. BOX 28448                         4740 W 189TH ST                        1025 CHARLELA LN APT 402
NEW YORK, NY 10087-8448                COUNTRY CLUB HI, IL 60478              ELK GROVE VILLAGE, IL 60007




AMEEN, BETHANY L.                      AMELIO, TIFFANY A.                     AMEN, JAMAE
ADDRESS ON FILE                        2465 CHANDLER RD                       855 OLD MILL RD
                                       GRAYSON, GA 30017                      MESQUITE, NV 89027-0000




AMENDOLA, MARY F.                      AMER CANCER SOCIETY                    AMER COLLEGE OF SURGEONS PROF
3735 CARL NW                           525 N BROAD ST                         DIV OF EDUC
UNIONTOWN, OH 44685                    CANFIELD, OH 44406                     633 N SAINT CLAIR ST
                                                                              CHICAGO, IL 60611-3211




AMER DIABETES ASSOCIATION              AMER RED CROSS                         AMER SCTY OF HEALTH SYS PHARMA
15455 CONWAY RD                        P.O. BOX 73013                         P.O. BOX 38061
STE 360                                CHICAGO, IL 60673                      BALTIMORE, MD 21297-8061
CHESTERFIELD, MO 63017




AMERCIAN PROFICIENCY INSTITUTE         AMEREN ILLINOIS COMPANY                AMEREN ILLINOIS COMPANY
1159 BUSINESS PARK DR                  300 LIBERTY                            P.O. BOX 88034
TRAVERSE CITY, MI 49686                PEORIA, IL 61602                       CHICAGO, IL 60680-1034




AMEREN ILLINOIS                        AMEREN ILLINOIS                        AMERENIP
P.O. BOX 88034                         PO BOX 88034                           P.O. BOX 88034
CHICAGO, IL 60680-1034                 CHICAGO, IL 60680-1034                 CHICAGO, IL 60680-1034




AMERI CASH LOANS                       AMERI CASH LOANS                       AMERIBEN
P.O. BOX 184                           PO BOX 184                             P.O. BOX 7186
DES PLAINES, IL 60016                  DES PLAINES, IL 60016                  BOISE, ID 83707-1186
                       Case 20-10766-BLS
AMERICAN ACADEMY OF FAMILY          AMERICANDoc    6 Filed
                                               ACADEMY       04/07/20
                                                       OF FAMILY              PageAMERICAN
                                                                                   56 of 1969
                                                                                           ACADEMY OF NURSE PRACT
PHYSICIANS                          PHYSICIANS                                    NATIONAL ADMIN OFFICE
11400 TOMAHAWK CREEK PKWY           P.O. BOX 419662                               P.O. BOX 12846
LEAWOOD, KS 66211-2680              KANSAS CITY, MO 64141-6662                    AUSTIN, TX 78711




AMERICAN ACADEMY OF PEDIATRICS        AMERICAN ACADEMY OF PEDS                    AMERICAN ACADEMY OF SLEEP MEDICINE
P.O. BOX 776442                       PO BOX 776442                               2510 N FRONTAGE RD
CHICAGO, IL 60677-6442                CHICAGO, IL 60677-6442                      DARIEN, IL 60561




AMERICAN ACADEMY OF SLEEP MEDICINE    AMERICAN ACADEMY OF SLEEP MEDICINE          AMERICAN ACADEMY OF SLEEP MEDICINE
ATTN ISR                              ATTN ISR                                    ATTN: SLEEP ISR
2510 NORTH FRONTAGE RD                2510 NORTH FRONTAGE RD                      P.O. BOX 7289
DARIEN, IL 60561                      DARIEN, IL 60561-1511                       CAROL STREAM, IL 60197-7200




AMERICAN ACADEMY OF SLEEP             AMERICAN AIR BALANCE CO., INC               AMERICAN AIR FILTER CO.
P.O. BOX 7200                         4721 E. HUNTER AVE.                         24828 NETWORK PL
CAROL STREAM, IL 60197-7200           ANAHEIM, CA 92807                           CHICAGO, IL 60673-1248




AMERICAN ARBITRATION ASSOCIATION      AMERICAN ASSOC OF BLOOD BANKS               AMERICAN BOARD OF COLON AND RECTAL
6000 FAIRVIEW RD                      P.O. BOX 791251                             SURGERY
STE 1200                              BALTIMORE, MD 21279                         20600 EUREKA RD
CHARLOTTE, NC 28210                                                               STE 600
                                                                                  TAYLOR, MI 48180



AMERICAN BOARD OF UROLOGY             AMERICAN BOARD OF WOUND                     AMERICAN BOARD OF
600 PETER JEFFERSON PARKWAY           MANAGEMENT                                  WOUND MANAGEMENT
STE 150                               1800 M. ST. NW, 400S                        1800 M. ST. NW, 400S
CHARLOTTESVILLE, VA 22911             WASHINGTON, DC 20036                        WASHINGTON, DC 20036




AMERICAN BUILDING SERVICES            AMERICAN CANCER SOCIETY                     AMERICAN CANCER SOCIETY
953 SETON CT                          100 TRI STATE INTL, STE 125                 5 SCHIBER CT, BLDG A
WHEELING, IL 60090                    LINCOLNSHIRE, IL 60069                      MARYVILLE, IL 62062




AMERICAN CANCER SOCIETY               AMERICAN CANCER SOCIETY                     AMERICAN CANCER SOCIETY
ATTN: POWER OF PINK GOLF SCRAMBLE     ATTN: RELAY FOR LIFE JEFF CO                BARSTOW RFL
5 SCHIBER CT                          5 SCHIBER CT                                1043 WEST AVE M-4, B
MARYVILLE, IL 62062                   MARYVILLE, IL 62062                         PALMDALE, CA 93551




AMERICAN CANCER SOCIETY               AMERICAN CANCER SOCIETY                     AMERICAN CANCER SOCIETY
C/O EVANSTON RELAY FOR LIFE           HENDERSON COUNTY                            RELAY FOR LIFE OF BREATHITT COUNTY
P.O. BOX 1446                         2935 US HWY 45 BYPASS                       9 SISSYS LN
CASPER, WY 82602                      JACKSON, TN 38305                           JACKSON, KY 41339




AMERICAN CANCER SOCIETY               AMERICAN CANCER SOCIETY, IL DIV. INC.       AMERICAN CANCER SOCIETY, IL DIV. INC.
RELAY FOR LIFE UNDERWRITER            5 SCHIBER COURT, SUITE C                    5 SCHIBER CT, STE C
2815 CORONADO                         MARYVILLE, IL 62062                         MARYVILLE, IL 62062
BIG SPRING, TX 79720
                       Case 20-10766-BLS
AMERICAN CANCER SOCIETY-HELENA      AMERICANDoc
                                              CASE6MANAGEMENT
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                                                                                     CATHETER CORP
P.O. BOX 3154                       ASSOCIATION                             6918 S.E.HARBOR CIRCLE
WEST HELENA, AR 72390               11701 W 36TH ST                         STUART, FL 34996
                                    LITTLE ROCK, AR 72211




AMERICAN COAL CO                      AMERICAN COLLEGE OF CARDIOLOGY        AMERICAN COLLEGE OF CARDIOLOGY
THE HEALTH PLAN                       FOUNDATION                            FOUNDATION
46226 NATIONAL RD                     ACC ACCREDITATION SERVICES            ATTN: 2020 NCDR RENEWAL
ST CLAIRSVILLE, OH 43950              5600 BLAZER PARKWAY, STE 320          P.O. BOX 37095
                                      DUBLIN, OH 43017-0000                 BALTIMORE, MD 21297-3095



AMERICAN COLLEGE OF CARDIOLOGY        AMERICAN COLLEGE OF CARDIOLOGY        AMERICAN COLLEGE OF CARDIOLOGY
FOUNDATION                            FOUNDATION                            MEMBERSHI
P.O. BOX 37132                        PO BOX 37132                          P.O. BOX 37548
BALTIMORE, MD 21297-3132              BALTIMORE, MD 21297-3132              BALTIMORE, MD 21297-3548




AMERICAN COLLEGE OF CARDIOLOGY        AMERICAN COLLEGE OF CARDIOLOGY        AMERICAN COLLEGE OF CARDIOLOGY
FOUNDATION                            MEMBERSHIP                            P.O. BOX 79231
P.O. BOX 37132                        P.O. BOX 37548                        BALTIMORE, MD 21279-0231
BALTIMORE, MD 21297-3132              BALTIMORE, MD 21297-3548




AMERICAN COLLEGE OF HEALTHCARE        AMERICAN COLLEGE OF OB/GYN            AMERICAN COLLEGE OF RADIOLOGY
EXECUTIVES                            P.O. BOX 117223                       1891 PRESTON WHITE DR
300 S RIVERSIDE PLAZA                 THE COLLEGE DISTRIBUTION CENTER       ATTN: ACCREDITATION
STE 1900                              ATLANTA, GA 30368-7223                RESTON, VA 20191
CHICAGO, IL 60606-6698



AMERICAN COLLEGE OF RADIOLOGY         AMERICAN COLLEGE OF RADIOLOGY         AMERICAN COLLEGE OF RADIOLOGY
1891 PRESTON WHITE DR                 1891 PRESTON WHITE DR                 1891 PRESTON WHITE DR
ATTN: ACCREDITATION                   PRESTON, VA 20191                     RESTON, VA 20191
RESTON, VA 20191-0000




AMERICAN COLLEGE OF RADIOLOGY         AMERICAN COLLEGE OF RADIOLOGY         AMERICAN COLLEGE OF RADIOLOGY
1891 PRESTON WHITE DRIVE              1891 PRESTON WHITE DRIVE              MAMMOGRAPHY ACCREDITATION
PRESTON, VA 20191                     RESTON, VA 20191-4326                 1891 PRESTON WHITE DR
                                                                            RESTON, VA 20191




AMERICAN COLLEGE OF SURGEONS          AMERICAN COLLEGE OF SURGEONS          AMERICAN COLLEGE OF
P.O. BOX 87618                        P.O. BOX 87618                        CARDIOLOGY FOUNDATION
DEPT 10368                            DEPT 8021                             P.O. BOX 37132
CHICAGO, IL 60680-0618                CHICAGO, IL 60680                     BALTIMORE, MD 21297-3132




AMERICAN COLLEGE RADIOLOGY            AMERICAN COMBUSTION SERVICE INC       AMERICAN CONSULTANTS
1891 PRESTON WHITE DR                 P.O. BOX 817                          9359 W. 75TH ST
RESTON, VA 20191                      MOKENA, IL 60448                      OVERLAND PARK, KS 66204




AMERICAN CONTENENTAL                  AMERICAN CONTINENTAL INS              AMERICAN CONTINENTAL INSURANCE
P.O. BOX 30969                        800 CRESCENT DR STE 200               COMPANY
AMARILLO, TX 79120                    FRANKLIN, TN 37067                    ATTN: FINANCE/REFUNDS
                                                                            800 CRESCENT CENTRE DR STE 200
                                                                            FRANKLIN, TN 37067
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AMERICAN CONTINENTAL INSURANCE        AMERICANDoc    6 FiledINSURANCE
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COMPANY                               COMPANY                                COMPANY
P.O. BOX 14770                        P.O. BOX 30010                         P.O. BOX 30969
LEXINGTON, KY 40512-4770              AUSTIN, TX 78755-3010                  C/O ASSET PROTECTION UNIT INC
                                                                             AMARILLO, TX 79120



AMERICAN CONTINENTAL INSURANCE        AMERICAN CONTINENTAL INSURANCE         AMERICAN CONTINENTAL INSURANCE
COMPANY                               P.O. BOX 14770                         P.O. BOX 14770
P.O. BOX 5008                         LEXINGTON, KY 40512                    LEXINGTON, KY 40512-4770
BRENTWOOD, TN 37024




AMERICAN COURIER SERVICE, INC         AMERICAN CTR FOR SPINE/NEUROSU         AMERICAN DELI PRODUCTS
8056 W GRAND AVE                      712 S. MILWAUKEE AVE                   346 LAUREN LANDING
RIVER GROVE, IL 60171                 LIBERTYVILLE, IL 60048                 BALLWIN, MO 63021




AMERICAN DIETETIC ASSOC               AMERICAN DIETETIC ASSOC                AMERICAN EDUCATION SERVICES
120 SOUTH RIVERSIDE PLAZA             P.O. BOX 4489                          1200 NORTH 7TH ST
STE 2000                              CAROL STREAM, IL 90197-4489            HARIISBURG, PA 17102
CHICAGO, IL 60606




AMERICAN EDUCATION SERVICES           AMERICAN EDUCATION SERVICES            AMERICAN EDUCATION SERVICES
HARRISBURG, PA 17130-0001             P.O. BOX 65093                         PAYMENT CENTER
                                      BALTIMORE, MD 21264-5093               HARRISBURG, PA 17130-0001




AMERICAN EDUCATION SERVICES           AMERICAN EDUCATION SERVICES            AMERICAN EDUCATION SVC
PAYMENT CENTER                        RE: J. ELEDA (ALASE)                   PAYMENT CENTER
P.O. BOX 65093                        PAYMENT CENTER ACCT:0735954356         P.O. BOX 65093
BALTIMORE, MD 21264-5093              HARRISBURG, PA 17130-0001              BALTIMORE, MD 21264-5093




AMERICAN ELECTRIC POWER               AMERICAN ELECTRIC POWER                AMERICAN ELECTRIC POWER
1 RIVERSIDE PLAZA                     1 RIVERSIDE PLAZA                      P.O. BOX 24002
COLUMBUS, OH 43215                    COLUMBUS, OH 43215-2372                CANTON, OH 44701-4002




AMERICAN EXPRESS                      AMERICAN FAMILY INS CO                 AMERICAN FAMILY INS CO
P.O. BOX 650448                       P.O. BOX 1                             PO BOX 1
DALLAS, TX 75265-0448                 DES MOINES, IA 50306                   DES MOINES, IA 50306




AMERICAN FAMILY INSURANCE GROUP       AMERICAN FAMILY MUTUAL INS             AMERICAN FAMILY MUTUAL INSURANCE CO
6000 AMERICAN PKWY                    P.O. BOX 1                             6000 AMERICAN PARKWAY
MADISON, WI 53783-0001                DES MOINES, IA 50306                   MADISON, WI 53783




AMERICAN FIRE PROTECTION GRP INC      AMERICAN FLAG CO., INC.                AMERICAN HEALTH CARE SUPPLY
SUPERIOR FIRE JACKSON TN              221 OXMOOR BLVD                        100 SOUTH MILWAUKEE AVE
P.O. BOX 74008409                     BIRMINGHAM, AL 35209                   VERNON HILLS, IL 60061
CHICAGO, IL 60674-8409
AMERICAN HEALTH INFO MGMTCase
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                                                  HEART6 ASSOC
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                                                                                 59 of 1969
                                                                                         HEART ASSOC, INC
P.O. BOX 4295                           C/O SARAH PARKER                         208 SOUTH LASALLE ST STE 1500
CAROL STREAM, IL 60197-4295             2141 W. WHITE OAKS DR                    CHICAGO, IL 60604
                                        SPRINGFIELD, IL 62704




AMERICAN HEART ASSOC, INC               AMERICAN HEART ASSOC, INC                AMERICAN HEART ASSOC, INC
4682 DOUGLAS CIRCLE NW                  543 US 64                                7272 GREENVILLE AVE
CANTON, OH 44718                        PLYMOUTH, NC 27962                       DALLAS, TX 75231




AMERICAN HEART ASSOC, INC               AMERICAN HEART ASSOC, INC                AMERICAN HEART ASSOC, INC
AHA ECC DISTRIBUTION                    ATTN: ACCOUNTS RECEIVABLE                C/O SARAH PARKER
P.O. BOX 841390                         460 NORTH LINDBERGH BLVD                 2141 W. WHITE OAKS DR
DALLAS, TX 75284-1390                   ST. LOUIS, MO 63141                      SPRINGFIELD, IL 62704




AMERICAN HEART ASSOC, INC               AMERICAN HEART ASSOC, INC                AMERICAN HEART ASSOCIATION
MIDWEST AFFILIATE-ACCTS REC             P.O. BOX 841750                          7272 GREENVILE AVE.
P.O. BOX 50035                          DALLAS, TX 75284-1750                    DALLAS, TX 75231
PRESCOTT, AZ 86304-5035




AMERICAN HEART ASSOCIATION              AMERICAN HEART ASSOCIATION               AMERICAN HERITAGE LIFE INSURANCE
P.O. BOX 841390                         PO BOX 50035                             COMPANY
DALLAS, TX 75284                        PRESCOTT, AZ 86304                       ALLSTATE BENEFITS
                                                                                 1776 AMERICAN HERITAGE LIFE DR
                                                                                 JACKSONVILLE, FL 32224



AMERICAN HOSPITAL ASSOC                 AMERICAN HOSPITAL ASSOC                  AMERICAN HOSPITAL ASSOCIATION
P.O. BOX 92247                          P.O. BOX 92247                           ASHRM/AHA
CHICAGO, IL 60675-2247                  CHICAGO, IL 60675-2683                   75 REMITTANCE DR - STE 1885
                                                                                 CHICAGO, IL 60675-1885




AMERICAN HOSPITAL ASSOCIATION/SHSMD     AMERICAN HOSPITAL DIRECTORY INC          AMERICAN INSTITUTE OF CERTIFIED
P.O. BOX 75315                          166 THIERMAN LN                          PUBLIC ACCOUNTANTS
CHICAGO, IL 60675-5315                  LOUISVILLE, KY 40207                     P.O. BOX 37049
                                                                                 BOONE, IA 50037




AMERICAN IV PRODUCTS INC                AMERICAN IV PRODUCTS                     AMERICAN KIDNEY STONE MANAGEME
DBA AIV INC                             7485 SHIPLEY AVE                         100 W 3RD ST
7485 SHIPLEY AVE                        HARMANS, MD 21077                        COLUMBUS, OH 43201
HARMANS, MD 21077




AMERICAN KIDNEY STONE MANAGEME          AMERICAN LEGION POST 79                  AMERICAN LEGION
100 W 3RD STREET                        P.O. BOX 695                             P.O BOX 1048
COLUMBUS, OH 43201                      ALPINE, TX 79831                         LOUISA, KY 41230




AMERICAN LINEN SUPPLY                   AMERICAN MANAGEMENT SERVICES, INC        AMERICAN MEDICAL ASSOCIATION
550 N CHURCH                            P.O. BOX 910431                          330 N WABASH AVE
LAS CRUCES, NM 88001                    ST GEORGE, UT 84791                      STE 39300
                                                                                 CHICAGO, IL 60611
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AMERICAN MEDICAL ASSOCIATION         AMERICANDoc   6 ASSOCIATION
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                                                                                       MEDICAL ASSOCIATION
330 NORTH WABASH AVE, SUITE 39300    P.O. BOX 4198                            P.O. BOX 74008935
CHICAGO, IL 60611-5885               CAROL STREAM, IL 60197-9788              CHICAGO, IL 60674-8935




AMERICAN MEDICAL CARE, LLC            AMERICAN MESSAGING                      AMERICAN MESSAGING
6 LYNNBROOK ROAD                      1720 LAKEPOINTE DR, STE 100             P.O. BOX 5749
ST. LOUIS, MO 63131                   LEWISVILLE, TX 75057                    CAROL STREAM, IL 60197




AMERICAN MESSAGING                    AMERICAN NATIONAL INS CO OF TEXAS       AMERICAN NATIONAL LIFE INS CO. OF TX
P.O. BOX 5749                         P.O. BOX 10546                          P.O. BOX 10546
CAROL STREAM, IL 60197-5749           SPRINGFIELD, MO 65808-0546              SPRINGFIELD, MO 65808-0546




AMERICAN NATIONAL LIFE INS CO.        AMERICAN NATIONAL RED CROSS & ITS       AMERICAN OSMENT
HEALTH BENEFITS                       CONSTITUENT CHAP                        P.O. BOX 52918
P.O. BOX 1892                         AMERICAN RED CROSS-73013                LAFAYETTE, LA 70505-2918
GALVESTON, TX 77553                   P.O. BOX 73013
                                      CHICAGO, IL 60673-7013



AMERICAN OSTEOPATHIC ASSOC            AMERICAN OUTFITTERS                     AMERICAN PHYSICIAN PARTNERS LLC
P.O. BOX 6250                         3700 SUNSET AVE                         5121 MARYLAND WAY, STE 300
CAROL STREAM, IL 60197-6250           WAUKEGAN, IL 60087                      BRENTWOOD, TN 37027




AMERICAN PHYSICIAN PARTNERS           AMERICAN PHYSICIANS INSURANCE           AMERICAN POSTAL WORKERS UNION
C/O DARLENE WHITE                     SOLUTIONS INC                           HEALTH PLAN
601 MARTIN LUTHER KING JR DR NE       70 PASSAGE                              P.O. BOX 1358
ALBUQUERQUE, NM 87102                 IRVINE, CA 92603                        GLEN BURNIE, MD 21060-1358




AMERICAN POSTAL WORKERS               AMERICAN PROFICIENCY INST.              AMERICAN PROFICIENCY INSTITUTE
PO BOX 1358                           P.O. BOX 30516                          DEPARTMENT 9526
GLEN BURNIE, MD 21060                 LANSING, MI 48909-8016                  PO BOX 30516
                                                                              LANSING, MI 48909-8016




AMERICAN PROFICIENCY INSTITUTE        AMERICAN PROFICIENCY INSTITUTE          AMERICAN PROFICIENCY INSTITUTE
DEPT 9526                             DEPT. 9526                              P O BOX 30516
P.O. BOX 30516                        P.O. BOX 30516                          DEPT 9526
LANSING, MI 48909-8016                LANSING, MI 48909-8016                  LANSING, MI 48909-8016




AMERICAN PSYCHIATRIC NURSES ASSOC     AMERICAN RECRUITERS, INC.               AMERICAN RED CROSS
3141 FAIRVIEW PARK DR 625             6810 N STATE RD 7                       MO-ILL REG BLOOD SER
FALLS CHURCH, VA 22042                COCONUT CREEK, FL 33073                 P.O. BOX 73013
                                                                              CHICAGO, IL 60673-7916




AMERICAN RED CROSS                    AMERICAN RED CROSS                      AMERICAN RED CROSS
NATIONAL HEADQUARTERS                 NATIONAL HEADQUARTERS                   P.O. BOX 100805
P.O. BOX 73013                        PO BOX 73013                            PASADENA, CA 91189-0805
CHICAGO, IL 60673-7013                CHICAGO, IL 60673-7013
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                                                                                       REPUBLIC INS CO
P.O. BOX 730040                          P.O. BOX 21670                        P.O. BOX 1
DALLAS, TX 75373-0040                    EAGAN, MN 55121                       DES MOINES, IA 50306




AMERICAN RETIREMENT LIFE                 AMERICAN RETIREMENT LIFE              AMERICAN SOC GENERAL SURGEONS
P.O. BOX 30010                           PO BOX 30010                          4582 S. ULSTER ST 201
AUSTIN, TX 78755-3010                    AUSTIN, TX 78755-3010                 DENVER, CO 80237




AMERICAN SOCIETY FOR QUALITY INC DBA     AMERICAN SOCIETY FOR                  AMERICAN SOCIETY OF COMPOSERS
ASQ                                      GASTROINTESTINAL ENDOSCOPY            AUTHORS & PUBLISHERS
600 N PLANKINTON AVE                     P.O. BOX 809055                       ASCAP
MILWAUKEE, WI 53203-2914                 CHICAGO, IL 60680-9055                P.O. BOX 331608
                                                                               NASHVILLE, TN 37203-7515



AMERICAN SOCIETY OF GENERAL              AMERICAN SOCIETY OF ORTHOPEDIC        AMERICAN SOCIETY OF
SURGEONS                                 PROFESSIONALS                         HEALTH SYSTEM PHARMACISTS
C/O JD LYMON GROUP                       625 6TH AVE SOUTH SUITE 365           P.O. BOX 75487
750 MAIN ST STE 206                      ST PETERSBURG, FL 33701               BALTIMORE, MD 21275
MENDOTA HEIGHTS, MN 55118



AMERICAN STORAGE                         AMERICAN STORAGE                      AMERICAN SURGICAL ASSISTANTS INC
100 DOGWALK RD                           1000 ENTERPRISE LANE                  7324 SOUTHWEST FWY
ANNA, IL 62906                           ANNA, IL 62906                        STE 1550
                                                                               HOUSTON, TX 77074




AMERICAN SURGICAL PROFESSIONALS          AMERICAN SURGICAL SPECIALTIES         AMERICAN TELECONFERENCING SERVICES
7324 SOUTHWEST FWY                       COMPANY                               LTD
STE 1550                                 475 METROPLEX DRIVE, SUITE 401        2300 LAKEVIEW PKWY, STE 300
HOUSTON, TX 77074                        NASHVILLE, TN 37211                   ALPHARETTA, GA 30009




AMERICAN TESTING & INSPECTION            AMERICAN WASTE REMOVAL                AMERICAS FINANCIAL CHOICE
SERVICES                                 502 CARMONY RD, NE                    1537 JOHNSON RD
1976 INNERBELT BUSINESS CTR DR           ALBUQUERQUE, NM 87107                 GRANITE CITY, IL 62040
ST LOUIS, MO 63114-5760




AMERICASH LOANS, LLC                     AMERICASHLOAN.NET                     AMERICHOICE UNITED HEALTH GROUP
P.O. BOX 1728                            P.O. BOX 1728                         P.O. BOX 740804
DES PLAINES, IL 60017                    DES PLAINES, IL 60016                 ATTN: RECOVERY SERVICE
                                                                               ATLANTA, GA 30374




AMERICO FINANCIAL LIFE AND ANNUITY INS   AMERICOM IMAGING SYS INC              AMERIGAS COLLINSVILLE
CO                                       10352 LAKE BLUFF DR                   P.O. BOX 660288
P.O. BOX 10814                           ST LOUIS, MO 63123                    DALLAS, TX 75266-0288
CLEARWATER, FL 33757




AMERIGROUP COLTS                         AMERIGROUP COMMUNITY CARE             AMERIGROUP CORPORATION
P.O. BOX 61010                           P.O. BOX 933657                       P.O. BOX 179
VIRGINIA BEACH, VA 23466-1010            ATLANTA, GA 31193-3657                LAMONT HANLEY ASSOC
                                                                               MANCHESTER, NH 03105
AMERIGROUP FLORIDA        Case 20-10766-BLS     DocGEORGIA
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P.O. BOX 61010                         P.O. BOX 933657                          ATTN CLAIM REFUND
VIRGINIA BEACH, VA 23466-1010          ATLANTA, GA 31193-3657                   P.O. BOX 934743
                                                                                ATLANTA, GA 31193-4743




AMERIGROUP HEALTHCARE                 AMERIGROUP NEW YORK                       AMERIGROUP NEW YORK
P.O. BOX 933657                       P.O. BOX 61010                            P.O. BOX 61010
ATLANTA, GA 31193-3657                VIRGINIA BEACH, VA 23466-1010             VIRGINIA BEACHQVA, VA 23466-1010




AMERIGROUP REALSOLUTIONS              AMERIGROUP REALSOLUTIONS                  AMERIGROUP REFUNDS UNIT
462 S. 4TH STREET                     555 E NORTH LN                            P.O. BOX 61010
SUITE 1500                            STE 6120                                  VIRGINIA BEACH, VA 23466-1010
LOUISVILLE, KY 40202                  CONSHOHOCKEN, PA 19428




AMERIGROUP RESOLUTIONS                AMERIGROUP TEXAS INC                      AMERIGROUP TN
P.O. BOX 934743                       ATTN: OVERPAYMENT RECOVERY                P.O. BOX 933657
ATLANTA, GA 31193-4743                P.O. BOX 7368                             ATLANTA, GA 31193-3657
                                      COLUMBUS, GA 31908-7368




AMERIGROUP                            AMERIGROUP                                AMERIGROUP
4425 CORPORATION LN STE 100           ATTN: OVERPAYMENT                         ATTN: REFUNDS
VIRGINIA BEACH, VA 23462              P.O. BOX 61010                            P.O. BOX 931655
                                      VIRGINIA BEACH, VA 23466-1010             ATLANTA, GA 31193-1655




AMERIGROUP                            AMERIGROUP                                AMERIGROUP
ATTN: REFUNDS                         ATTN: REFUNDS                             POB 933657
P.O. BOX 933657                       P.O. BOX 933657                           ATLANTA, GA 31193
ATLANTA, GA 31193                     ATLANTA, GA 31193-3657




AMERIGROUP                            AMERIHEALTH CARITAS PENNSYLVANIA          AMERIHEALTH CARITAS
VASCULAR ULTRASOUND CLAIMS            P.O. BOX 7118                             P.O. BOX 7113
P.O. BOX 933557                       ATTN: CLAIMS REPAYMENT RESEARCH UNI       ATTN CREDIT BALANCE
ATLANTA, GA 31193                     LONDON, KY 40742                          LONDON, KY 40742




AMERIHEALTH NORTHEAST                 AMERIHEALTH SERVICE CENTE                 AMERIPATH ARVADA
200 STEVENS DR                        1901 MARKET ST                            P.O. BOX 840274
PHILADELPHIA, PA 19113                PHILADELPHIA, PA 19103-1480               DALLAS, TX 75284-0274




AMERIPATH CORPORATION                 AMERIPATH INDIANAPOLIS                    AMERIPATH LUBBOCK 5.01 CORPORATION
DO NOT USE NOT A PRS ANYMORE          13179 COLLECTION CENTER DR                (MEDICAL DIRECTOR)
15132 COLLECTIONS CENTER DR           CHICAGO, IL 60693                         15132 COLLECTIONS CENTER DR
CHICAGO, IL 60693-0151                                                          CHICAGO, IL 60693-0151




AMERIPATH LUBBOCK 5.01 CORPORATION    AMERIPATH OKLAHOMA CITY                   AMERIPRIDE SERVICES INC.
PATHOLOGY                             P.O. BOX 849893                           P.O. BOX 1594
15132 COLLECTIONS CENTER DR           DALLAS, TX 75284-9893                     BEMIDJI, MN 56619-1594
CHICAGO, IL 60693-0151
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CHICAGO, IL 60673-1249                   CHICAGO, IL 60673-1249            CHICAGO, IL 60673-1249




AMES, DAVID                              AMES, KATLYN                      AMES-COLOR FILE/30
43 LEGACY DR                             ADDRESS ON FILE                   24923 NETWORK PLACE
GRANITE CITY, IL 62040                                                     CHICAGO, IL 60673-1249




AMEZOLA, KALY                            AMI CARDIAC MONITORING INC        AMI CARDIAC MONITORING INC
ADDRESS ON FILE                          1803 RESEARCH BLVD, STE 600       1803 RESEARCH BLVD. SUITE 6000
                                         ROCKVILLE, MD 20850               ROCKVILLE, MD 20850




AMI J WINTER                             AMICK, NORMAN DALE                AMICO ACCESSORIES
990 DUDLEY ST                            131 PINE GROVE DR                 85 FULTON WAY
GALESBURG, IL 61401                      BLUE RIDGE, GA 30513              RICHMOND HILL
                                                                           ONTARIO, ON L4B 2N4
                                                                           CANADA



AMLINGS                                  AMMOND, BONNIE                    AMN HEALTHCARE ALLIED INC
P.O. BOX 826                             1839 MEADOWBROOK RD SW            P.O. BOX 281939
BENSONVILLE, IL 60106                    MASSILLON, OH 44647               ATLANTA, GA 30384-1939




AMN HEALTHCARE INC                       AMN HEALTHCARE SERVICES INC       AMN HEALTHCARE WORKFORCE
ACCOUNTS RECEIVABLE                      MEDPARTNERS HIM LLC               SOLUTIONS LLC
12400 HIGH BLUFF DR                      P.O. BOX 744869                   P.O. BOX 744869
SAN DIEGO, CA 92130-6157                 ATLANTA, GA 30374-4869            ATLANTA, GA 30374-4869




AMN WORKFORCE SOLUTIONS LLC              AMN WORKFORCE SOLUTIONS LLC       AMNIOX MEDICAL, INC
DBA MED PARTNERS HIM-CDI                 P.O. BOX 744869                   7300 CORPORTE CTR DR
P.O. BOX 744869                          ATLANTA, GA 30374-0490            STE 700
ATLANTA, GA 30374-4869                                                     MIAMI, FL 33126-1208




AMO SALES & SERVICE                      AMO SALES & SERVICE               AMO SALES AND SERVICE, INC
75 REMITTANCE DR                         75 REMITTANCE DRIVE               P.O. BOX 74007099
STE 1437                                 STE 1437                          CHICAGO, IL 60674-7099
CHICAGO, IL 60675                        CHICAGO, IL 60675




AMO USA INC                              AMORE-BROCCOLI, ANTONIA T.        AMOS PAUL A
P.O. BOX 74007099                        4300 SOQUEL DR STE 217            522 FRED AMOS RD
CHICAGO, IL 60674-7099                   SOQUEL, CA 95073                  MURPHY, NC 28906




AMOS, APRIL M.                           AMOS, DOROTHY C.                  AMOS, MICHELE A
21139 GRAY HAWK DR                       1415 OLD TOWNE DR                 522 FRED AMOS RD
MATTESON, IL 60443                       PALMER, AK 99645                  MURPHY, NC 28906
AMOS, NICOLE A.               Case 20-10766-BLS    Doc 6M. Filed 04/07/20
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                                                                                              1969 M.
2609 LAUREN LAKE DR                         ADDRESS ON FILE                           14 A EASTGATE DR
SHILOH, IL 62221                                                                      GRANITE CITY, IL 62040




AMP ELECTRICAL SERVICES, INC                AMP HEALTH INC DBA ADAPTIVE MEDICAL       AMP YOUR GOOD, INC
3075 GRAND AVE                              PARTNERS INC                              88 EAST MAIN ST
GALESBURG, IL 61401                         3229 PREMIER DR                           STE 439
                                            STE 200                                   MENDHAM, NJ 07945
                                            IRVING, TX 75063



AMPAC HOLDINGS LLC                          AMPRONIX, INC                             AMRAEN, JENNIFER M.
25366 NETWORK PL                            15 WHATNEY                                7334 W. 119TH PL
CHICAGO, IL 60673-1253                      IRVINE, CA 92618                          PALOS HEIGHTS, IL 60463




AMREIN, JOHN                                AMS MECHANICAL SYSTEMS                    AMS SERVICES
538 NORTHGATE RD                            9341 ADAM DON PARKWAY                     95 PLEASANT HILL RD
LINDENHURST, IL 60046                       WOODRIDGE, IL 60517                       NESBIT, MS 38632




AMS STORE & SHRED, LLC                      AMSTUTZ, DIANE L.                         AMSTUTZ, MANDY
13 PROSPER CT                               608 NEALE AVE SW                          758 AMHERST RD NE
LAKE IN THE HILLS, IL 60156                 MASSILLON, OH 44647                       MASSILLON, OH 44646




AMTEC MEDICAL INC                           AMTEC MEDICAL                             AMTELCO
3709 PROMONTORY POINT DR                    3701 DROSSETT DR 190                      4800 CURTIN DR
STE 114                                     AUSTIN, TX 78744                          MCFARLAND, WI 53558
AUSTIN, TX 78744




AMTMANN, MARY L.                            AMTRYKE LLC                               AMU, ANDREA M.
ADDRESS ON FILE                             P.O. BOX 5127                             151 MANOR DR
                                            HIGH POINT, NC 27262                      MIDDLEBURG, PA 17842




AMUDSON, SAMANTHA                           AMUNDSON, ASHLEY                          AMY CENTER, THE
752 HARDY WAY UNIT E                        20746 OTOWI RD                            500 FAIRFIELD RD
MESQUITE, NV 89027                          APPLE VALLEY, CA 92307                    MT. VERNON, IL 62864




AMY HESTER                                  AMY S WALTER                              AMY, TEPEN
613 W NIXON DR                              645 JEFFREY AVE                           121 PLEASANT RIDGE DR
OFALLON, IL 62269                           MASSILLON, OH 44646                       EDWARDSVILLE, IL 62025




AMYS CARPET CARE                            AMYS CLEANING SERVICE                     ANA BURNETT
1050 E LOSEY ST                             4380 LLOYD COREY ROAD                     PO BOX 95
GAELSBURG, IL 61401                         ROBERSONVILLE, NC 27871                   LONDON MILLS, IL 61544
ANA MARGARITA ALEGRE     Case 20-10766-BLS
                                      ANACAPA Doc 6 FiledINC.
                                              TECHNOLOGIES, 04/07/20    PageANACOM
                                                                             65 of 1969
                                                                                   MEDTEK
508 NORTH G ST                         301 E. ARROW HIGHWAY                 1240 SOUTH CLAUDINA ST
MONMOUTH, IL 61462                     STE 106                              ANAHEIM, CA 92805
                                       SAN DIMAS, CA 91773




ANAGHO, NICHOLINE                      ANANIA, KIMBERLY J.                  ANANT, ARCHANA S.
237 COLLINGSWORTH TRACE                1725 MAIN AVE W                      ADDRESS ON FILE
LAWRENCEVILLE, GA 30043                MASSILLON, OH 44647




ANASARIAS, REYNALDO G.                 ANASTASIA, VINCENT                   ANAYA, KASSANDRA
ADDRESS ON FILE                        306 GOLDEN ROD LN                    12234 GREENWOOD AVE
                                       AUBURN, GA 30011-3309                BLUE ISLAND, IL 60406




ANAYA, SUSANA                          ANAYA-ROCHA, JOSE                    ANAZAOHEALTH CORPORATION
12524 S. TRUMBULL AVE                  142 LESTER CT                        P.O. BOX 850001
ALSIP, IL 60803                        WATSONVILLE, CA 95076                ORLANDO, FL 32885-0389




ANBAR, IDA                             ANCHONDO, MARCOS                     ANCHONDO, PETE M.
915 W 22ND AVE                         203 SOUTH JACKSON ST                 509 S. AYLESFORD
EUGENE, OR 97405                       ALPINE, TX 79830                     BIG SPRING, TX 79720




ANCHOR GARDEN & RENTAL                 ANCHOR PRODUCTS COMPANY              ANCHOR TOURS
P.O. BOX 1725                          52 OFFICIAL RD                       1650 HIGHWAY 412 WEST
1701 PERKINS                           ADDISON, IL 60101-4589               LEXINGTON, TN 38351
MT VERNON, IL 62864




ANCONA PLUMBING AND HEATING            ANDA INC                             ANDA INC
15986 E KENNEDY RD                     2915 WESTON RD                       P.O. BOX 930219
MT VERNON, IL 62864                    WESTON, FL 33331                     ATLANTA, GA 31193-0219




ANDALEON, DAISY MD                     ANDALEON, DAISY                      ANDARGE, AMEHA T.
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




ANDAZOLA, EVA Y.                       ANDERS, DEBRA                        ANDERS, KIMBERLY
3394 PARKRIDGE PL                      13129 TIMBER TRL                     6204 MARINE RD
LAS CRUCES, NM 88005                   PALOS HEIGHTS, IL 60463              ALHAMBRA, IL 62001




ANDERS, SHELBY                         ANDERS, THERESA                      ANDERSEN, BARBARA
4532 NAMEOKI RD                        14395 SCHOONER DR P.O. BOX 337       14 SHATTUCK RD
GRANITE CITY, IL 62040                 HELENDALE, CA 92342                  HADLEY, MA 01035
ANDERSEN, CAROL             Case 20-10766-BLS   Doc
                                         ANDERSEN,   6 Filed 04/07/20
                                                   CHRISTOPHER             PageANDERSEN,
                                                                                66 of 1969
                                                                                         DENNIS KEITH
12046 ELM DR                              4057 BRECKENRIDGE LN                  2769 MAIA LOOP
BLUE ISLAND, IL 60803                     GRANITE CITY, IL 62040                SPRINGFIELD, OR 97477-0000




ANDERSEN, ELDON                           ANDERSEN, KEVEN                       ANDERSON DOROTHY A
3058 STAPP DR                             771 VALLEY VIEW DR                    PO BOX 354
EUGENE, OR 97408-0000                     TOOELE, UT 84074                      WOODHULL     IL, IL 61490




ANDERSON HOSPITAL MED STAFF               ANDERSON HOSPITAL STAFF OFFICE        ANDERSON HOSPITAL STAFF OFFICE
6800 STATE ROUTE 162                      6800 STATE RT. 162                    6800 STATE RTE 162
MARYVILLE, IL 62062                       P.O. BOX 1000                         P.O. BOX 1000
                                          MARYVILLE, IL 62062                   MARYVILLE, IL 62062-8500




ANDERSON LEROY E                          ANDERSON LILLIE OPAL                  ANDERSON MELSIE M
1838 MULKEY GAP RD                        P O BOX 198                           567 CHURCHILL AVE
BLAIRSVILLE, GA 30512                     ELLIJAY, GA 30540                     GALESBURG, IL 61401




ANDERSON OVERHEAD DOOR, INC               ANDERSON PEST SOLUTIONS               ANDERSON PEST SOLUTIONS
610 E PLAZA DR                            P.O. BOX 600670                       P.O. BOX 600670
CARTERVILLE, IL 62918                     JACKSONVILLE, FL 32260                JACKSONVILLE, FL 32260-0670




ANDERSON SARAH M                          ANDERSON, AISHA                       ANDERSON, ALISHA
1838 MULKEY GAP RD                        112 SPRUCE ST                         1351 W. CARL SANDBURG DR APT 802
BLAIRSVILLE, GA 30512                     WILLIAMSTON, NC 27892                 GALESBURG, IL 61401




ANDERSON, ALLENA                          ANDERSON, ALLISON J                   ANDERSON, ALLISON J.
P.O. BOX 235                              2223 BOWMAN RD                        2223 BOWMAN RD
MARKS, MS 38646                           FRANKLIN, TN 37064                    FRANKLIN, TN 37064




ANDERSON, ALY K.                          ANDERSON, AMANDA M.                   ANDERSON, ANA
47 W MAIN ST P.O. BOX 147                 3207 CARLSON AVE                      165 CRESTVIEW COURT
GRANTSVILLE, UT 84029                     GRANITE CITY, IL 62040                WATSONVILLE, CA 95076




ANDERSON, ANNETTE R.                      ANDERSON, ANNETTE                     ANDERSON, BENJAMIN
ADDRESS ON FILE                           ADDRESS ON FILE                       156 ANDERSON CARR DR.
                                                                                COPPERHILL, TN 37317




ANDERSON, BETTY W.                        ANDERSON, BRIDGET                     ANDERSON, BRIGETTE
4035 N COCHRANE LN                        ADDRESS ON FILE                       ADDRESS ON FILE
ERDA, UT 84074
ANDERSON, CALEB           Case 20-10766-BLS   Doc
                                       ANDERSON,    6 Filed 04/07/20
                                                 CALEB                 PageANDERSON,
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                                                                                     CARI
ADDRESS ON FILE                         ADDRESS ON FILE                    925 VALLEY VIEW DR
                                                                           MESQUITE, NV 89027-3103




ANDERSON, CHRISTINA                     ANDERSON, CHRISTINE                ANDERSON, CHRISTINE
ADDRESS ON FILE                         ADDRESS ON FILE                    212 MEYER ST
                                                                           LEBANON, IL 62254




ANDERSON, CHRISTINE                     ANDERSON, CHRISTOPHER A.           ANDERSON, CONSTRUCTION
635 LAUGHRUN DR                         3190 KINNEY LOOP                   808 SFC 340
FORREST CITY, AR 72335                  EUGENE, OR 97408                   FORREST CITY, AR 72335




ANDERSON, CURTIS                        ANDERSON, CYNTHIA                  ANDERSON, DAIRY INC
ADDRESS ON FILE                         182 SANTILEON LN                   801 SEARLES AVE
                                        RAINSVILLE, AL 35986-5941          LAS VEGAS, NV 89101




ANDERSON, DAMION                        ANDERSON, DARIUS                   ANDERSON, DELORES
2635 NORKENZIE RD                       ADDRESS ON FILE                    619 E FREMONT ST
EUGENE, OR 97408-1680                                                      GALESBURG, IL 61401




ANDERSON, EDDIE J.                      ANDERSON, EDWARD                   ANDERSON, ELIZABETH P.
1440 JACKSON ST UNIT 4                  856 FOREST DR                      75 COUNTY RD 68
NORTH CHICAGO, IL 60064                 GREENVILLE, AL 36037-3518          SECTION, AL 35771




ANDERSON, EMALEE                        ANDERSON, EMILLIE M.               ANDERSON, GEORGE R.
12495 MORGANTON HWY.                    ADDRESS ON FILE                    179 WILLOW ST
MORGANTON, GA 30560                                                        GRANTSVILLE, UT 84029




ANDERSON, GUSTAV                        ANDERSON, HARRIS                   ANDERSON, HARRY
3427 E NORWAY TR                        2213 DYLAN DR                      596 GALLOWAY
CRETE, IL 60417                         MARION, IL 62959                   WEST HELENA, AR 72390




ANDERSON, HILLARY A.                    ANDERSON, HOLLY A.                 ANDERSON, JAIME C.
1725 FOSTER DR                          39315 N EMMAUS AVE                 1283 SKYLINE AVE EAST
BELLEVILLE, IL 62226                    BEACH PARK, IL 60099               FORT PAYNE, AL 35967




ANDERSON, JAMES AND ANDERSON, EDDIE     ANDERSON, JESSICA K.               ANDERSON, JUDY L.
3250 CRUCIFER RD                        1174 BARNETT RD                    1415 OAK PATCH RD
HURON, TN 38345                         MURPHY, NC 28906                   EUGENE, OR 97402
ANDERSON, KAREN M.        Case 20-10766-BLS   Doc
                                       ANDERSON,    6
                                                 KAREN   Filed 04/07/20   PageANDERSON,
                                                                               68 of 1969
                                                                                        KARLA
17200 OAK PARK AVE UNIT 301            ADDRESS ON FILE                        ADDRESS ON FILE
TINLEY PARK, IL 60477




ANDERSON, KATHARINE MARJOR            ANDERSON, KEITH                         ANDERSON, KENNA
2422 J ST                             1545 JOHNSON DR                         2605 CENTER ST
SPRINGFIELD, OR 97477-0000            WILLIAMSTON, NC 27892                   GRANITE CITY, IL 62040




ANDERSON, KIMBERLY J.                 ANDERSON, KIMBERLY                      ANDERSON, LAKEN B.
5310 WASSON RD                        ADDRESS ON FILE                         1408 STADIUM AVE
BIG SPRING, TX 79720                                                          BIG SPRING, TX 79720




ANDERSON, LAURA J.                    ANDERSON, LAURIE E.                     ANDERSON, LILLIE OPAL
342 32ND AVE                          ADDRESS ON FILE                         P.O. BOX 198
SANTA CRUZ, CA 95062                                                          ELLIJAY, GA 30540




ANDERSON, LINDSEY NICOLE              ANDERSON, LINDSEY R.                    ANDERSON, LISA A.
1150 DARLENE LN APT 254               871 HEMLOCK ST NW                       ADDRESS ON FILE
EUGENE, OR 97401                      MASSILLON, OH 44647




ANDERSON, LISA M.                     ANDERSON, LISA                          ANDERSON, MARGARET SUZANNE
2550 CHARGLOW DR                      ADDRESS ON FILE                         1898 COUNTY RD 667
ST. LOUIS, MO 63129                                                           HENAGAR, AL 35978




ANDERSON, MARK W.                     ANDERSON, MARY C.                       ANDERSON, MARY M.
3813 TICKSEED DR                      2730 CENTER ST APT C                    1219 12TH ST
ZION, IL 60099                        GRANITE CITY, IL 62040                  SPRINGFIELD, OR 97477-0101




ANDERSON, MAX                         ANDERSON, MELANIE                       ANDERSON, MICHAEL
C/O RICK ANDERSON HCPOA               262 PINE FOREST LOOP                    773 WOLFE CRK RD
650 US HWY 34                         BLUE RIDGE, GA 30513                    RICETOWN, KY 41364
MONMOUTH, IL 61462




ANDERSON, MINDY R.                    ANDERSON, NICOLE L.3480:3628            ANDERSON, NORIKO
ADDRESS ON FILE                       1275 SPYGLASS DR                        141 APARICIO DR
                                      EUGENE, OR 97401                        TOOELE, UT 84074




ANDERSON, NORIKO                      ANDERSON, PASSHUN J.                    ANDERSON, PAYDEN
611 S 790 W                           13717 S STEWART AVE UNIT 3W             P.O. BOX 222
TOOELE, UT 84074                      RIVERDALE, IL 60827                     LOGANDALE, NV 89021-0000
ANDERSON, PETER J.        Case 20-10766-BLS   Doc
                                       ANDERSON,    6 Filed 04/07/20
                                                 RALPH                 PageANDERSON,
                                                                            69 of 1969
                                                                                     RANDY
ADDRESS ON FILE                         305 GRANDVIEW AVE NW               15 JULIE DR
                                        CANTON, OH 44708                   GLEN CARBON, IL 62034




ANDERSON, RICHARD                       ANDERSON, ROBIN G.                 ANDERSON, ROSS
14 PARKWOOD CIRCLE                      ADDRESS ON FILE                    838 WILLARD ST
DAHINDA, IL 61428                                                          GALESBURG, IL 61401




ANDERSON, SAMANTHA RENA                 ANDERSON, SAMANTHA                 ANDERSON, SARA S.
ADDRESS ON FILE                         ADDRESS ON FILE                    150 NORTHVIEW
                                                                           KNOXVILLE, IL 61448




ANDERSON, SARA                          ANDERSON, SARAH E.                 ANDERSON, SHANE
598 WEST 3560 NORTH                     ADDRESS ON FILE                    P.O. BOX 711
ERDA, UT 84074                                                             GRANTSVILLE, UT 84029




ANDERSON, SUE                           ANDERSON, SUSAN L.                 ANDERSON, TALIA
150 NORTHVIEW DR                        2390 LAWRENCE ST.                  3204 23RD ST
KNOXVILLE, IL 61448                     EUGENE, OR 97405                   ZION, IL 60099




ANDERSON, TAMMY                         ANDERSON, TERRI A                  ANDERSON, TOMAS CAMILLE
1010 OLD ROUTE 146 LOOP                 3203 SCENIC DR                     1330 I ST
VIENNA, IL 62995                        SCOTTSBORO, AL 35769               SPRINGFIELD, OR 97477




ANDERSON, VALERIE A.                    ANDERSON, VALERIE G                ANDERSON, VALERIE
ADDRESS ON FILE                         ADDRESS ON FILE                    ADDRESS ON FILE




ANDERSON, VERA KAY                      ANDERSON, VICKI                    ANDERSON, VICKIE L.
658 S 57TH ST SPC 63                    7338 HEARTHSTONE BLVD              ADDRESS ON FILE
SPRINGFIELD, OR 97478-0000              EDWARDSVILLE, IL 62025




ANDERSON, ZELPHA                        ANDERSON-HOWARD, LA DONNA          ANDERSON-ROQUE, SHEILA
124 LAKE WARREN DR                      2708 LARKSPUR LN                   8770 TROCADERO RD SE
MONMOUTH, IL 61462                      HAZEL CREST, IL 60429              DEMING, NM 88030




ANDERSONS CONSTRUCTION INC              ANDERTON, NANCY                    ANDRADE JR., ISIDRO D.
60 WINSTON RD                           500 AL HIGHWAY 73                  ADDRESS ON FILE
MCKENZIE, TN 38201                      BRYANT, AL 35958
ANDRADE, ASHLEY M.        Case 20-10766-BLS
                                       ANDRADE,Doc  6 Filed
                                                CHRISTINE C. 04/07/20   PageANDRADE,
                                                                             70 of 1969
                                                                                     RAFAEL M.
1250 BARSTOW RD APT 12                  1135 S 1050 WEST                    2121 EMERSON DR
BARSTOW, CA 92311                       TOOELE, UT 84074                    DEMING, NM 88030




ANDRADE-POZOS, ALICIA                   ANDRAE, ALBERT W.                   ANDRASCO, DONNA L.
127 KEARNEY ST.                         1022 N ADAMS ST                     10949 AUSTIN AVE
WATSONVILLE, CA 95076                   SAN ANGELO, TX 76902-0000           CHICAGO RIDGE, IL 60415-2227




ANDRE MANZAY                            ANDREA BESS                         ANDREA PRATT/665 CASH TRUSTEE
529 FRONT ST                            ADDRESS ON FILE                     ADDRESS ON FILE
COLORADO CITY, TX 79512




ANDREANI, RONALD IRVING                 ANDREASEN, JENA                     ANDREOLI, STEVEN
41810 MADRONE ST                        ADDRESS ON FILE                     777 EASTBROOK COURT
SPRINGFIELD, OR 97478                                                       CROWN POINT, IN 46307




ANDRES, LIDIA T.                        ANDRES, TERESA                      ANDRESEN MD, PAMELA E.
48 LIBERTY AVE                          ADDRESS ON FILE                     ADDRESS ON FILE
HENRY, TN 38231




ANDRETTA, SHANNON                       ANDREW BARRETT HESTER, MD           ANDREW CRAWFORD
985 JANET DR                            ADDRESS ON FILE                     1527 N CHERRY ST
KNOXVILLE, IL 61448                                                         GALESBURG, IL 61401




ANDREW H BATE                           ANDREW MCIVOR                       ANDREW R BEARDEN
2038 SWAINSONS RUN                      ADDRESS ON FILE                     506 LOGAN STREET SE
NAPLES, FL 34105                                                            FORT PAYNE, AL 35967




ANDREW, ANN MARIE                       ANDREW, JAMES T.                    ANDREWS, ABBY L.
P.O. BOX 2524                           ADDRESS ON FILE                     ADDRESS ON FILE
OVERTON, NV 89040-2524




ANDREWS, ANDI NIKITA                    ANDREWS, ANGEL C.                   ANDREWS, BROOKE
466 COUNTY RD 560                       ADDRESS ON FILE                     2635 MEADOWLN DR
FORT PAYNE, AL 35968                                                        GRANITE CITY, IL 62040




ANDREWS, CHRISTOPHER                    ANDREWS, CRISTA                     ANDREWS, GLENN H.
627 LOOKOUT TERRACE                     1684 CLUB ESTATES DR                1035 HAMPSTEAD PL
FORT PAYNE, AL 35967                    STATHAM, GA 30666                   MARTINEZ, GA 30907
ANDREWS, HEATHER N.        Case 20-10766-BLS   Doc
                                        ANDREWS,    6 Filed
                                                 JEANNETTE M. 04/07/20      PageANDREWS,
                                                                                 71 of 1969
                                                                                         JESSICA T.
ADDRESS ON FILE                          18457 LAKEVIEW CIR EAST                 2428 CAMP LEACH RD
                                         TINLEY PARK, IL 60477                   WASHINGTON, NC 27889




ANDREWS, JILL                            ANDREWS, KAREN                          ANDREWS, KEVIN
4 KINCAID DR                             ADDRESS ON FILE                         7633 OAKDALE ST NW
FAIRFIELD, IL 62837-1105                                                         MASSILLON, OH 44646-1939




ANDREWS, LATOYA                          ANDREWS, MORRIS                         ANDREWS, PAULA
115 NORTH ELM ST                         524 EAST WILLOW ST 101                  4212 79TH ST
WILLIAMSTON, NC 27892                    SCOTTSBORO, AL 35768                    KENOSHA, WI 53142




ANDREWS, SHERRY                          ANDREWS, STEVEN T.                      ANDREWS, TIFFANY
463 S PRAIRIE COVE                       ADDRESS ON FILE                         255 LAKESIDE CIR
MARION, AR 72364                                                                 COVINGTON, GA 30016




ANDREWS, TRACI                           ANDREWS, TRACY N.                       ANDREWS-JONES, REGENA
2635 MEADOWLANE DR                       P.O. BOX 143                            ADDRESS ON FILE
GRANITE CITY, IL 62040                   GOODWIN, AR 72340




ANDREWS-NOURSE, BETTY M.                 ANDRUCKI, HENRY                         ANDRUS, BRETT J
ADDRESS ON FILE                          412 RED ROCK DR                         328 CANDELARIA DR
                                         LINDENHURST, IL 60046                   TOOELE, UT 84074




ANDRUS, ESTERA                           ANDRUS, MATT                            ANDRUS, TALLI
6552 GRAND HICKORY DR                    3564 EAST ELGIN                         191 SPAULDING LN
BRASELTON, GA 30517                      GILBERT, AZ 85295                       EVANSTON, WY 82930




ANDRUS, TALLI                            ANDRZEJEWSKI, SADE N.                   ANDUS, JESSICA A.
ADDRESS ON FILE                          ADDRESS ON FILE                         313 WORLAND CIR
                                                                                 EVANSTON, WY 82930




ANDUS, JESSICA                           ANESTHESIA ASSOC. OF SO ILLINOIS        ANESTHESIA ASSOCIATES OF SOUTHERN
147 BARRETT AVE                          2700 TURNBERRY DR                       ILLINOIS 0143 8933
EVANSTON, WY 82930                       MARION, IL 62959                        2700 TURNBERRY DRIVE
                                                                                 MARION, IL 62959




ANESTHESIA CONSULTING AND                ANESTHESIA MGMT GRP N.AL LLC            ANESTHESIA RESOURCES
MANAGEMENT LP                            P.O. BOX 680045                         P.O. BOX 669247
6225 N STATE HWY 161                     FORT PAYNE, AL 35968                    MARIETTA, GA 30066
STE 200
IRVING, TX 75038
ANGE, TIFFANY            Case 20-10766-BLS    DocASSOCIATION
                                      ANGEL NAMES 6 Filed 04/07/20      PageANGEL
                                                                             72 ofPURE,LLC
                                                                                   1969
ADDRESS ON FILE                        P.O. BOX 423                         P.O. BOX 2778
                                       SARATOGA SPRINGS, NY 12866           CALHOUN, GA 30703




ANGEL PURE,LLC                         ANGEL, JENNIFER T.                   ANGEL, MAGEN
POB 2778                               ADDRESS ON FILE                      ADDRESS ON FILE
CALHOUN, GA 30703




ANGELA GEER                            ANGELA MINNICK                       ANGELA MOJICA
2819 MYRTLE AVE                        11248 S.ALBANY AVE.                  12235 S LAWNDALE AVE
GRANITE CITY, IL 62040                 CHCAGO, IL 60655                     ALSIP, IL 60803




ANGELA, OTOUPAL                        ANGELA, TANKERSLEY                   ANGELASTRO, HOLLY
P.O. BOX 2004                          969 SUGAR HOLLOW RD                  5527 WINDSOR WAY
FORT DAVIS, TX 79734                   CHATSWORTH, GA 30705                 TOOELE, UT 84074




ANGELEO, MARGARITA                     ANGELES, ANDRES                      ANGELES, MARIA
4446 W HWY 17 S                        2055 JERDEN THICKET RD               1614 LESLIE AVE
WILLIAMSTON, NC 27892                  JAMESVILLE, NC 27846                 ROUND LAKE BEACH, IL 60073




ANGELES, MARY                          ANGELES, ROWELL                      ANGELGUARD PRODUCTS, INC
9899 HWY 171                           ADDRESS ON FILE                      305 LAKE ROAD
WILLIAMSTON, NC 27892                                                       MEDINA, OH 44256




ANGELICA CORPORATION                   ANGELICA TEXTILE SERVICES, INC       ANGELINA HARRISON
P.O. BOX 532268                        1105 LAKEWOOD PARKWAY, STE 210       3412 COUNTY ROAD 94
ATLANTA, GA 30353-2268                 ALPHARETTA, GA 30009                 FYFFE, AL 35971




ANGELL, LISA                           ANGELO SOYANGCO                      ANGELO STATE UNVERSITY
P.O. BOX 5513                          3315 N SEMINARY STREET               ASU STATION 10902
SANTA CRUZ, CA 95063                   GALESBURG, IL 61401                  SAN ANGELO, TX 76909-0000




ANGELO, MAE J.                         ANGIODYNAMICS INC                    ANGIODYNAMICS
4041 SOQUEL DRSTE A121                 P.O. BOX 1549                        P.O. BOX 1549
SOQUEL, CA 95073                       ALBANYBURY, NY 12201                 ALBANY, NY 12201-1549




ANGIODYNAMICS, INC                     ANGLE, CASSANDRA E.                  ANGLEA, MARY ALICE
P.O. BOX 1549                          ADDRESS ON FILE                      207 ENGLISH AVE
ALBANY, NY 12201-1549                                                       RAINSBOW CITY, AL 35906
ANGLIN, WILMA KATHERINE Case 20-10766-BLS
                                     ANGSTADT,Doc  6 Filed 04/07/20
                                                RICHELE               PageANGUAY,
                                                                           73 of 1969
                                                                                  DEBRA
31 SE THOMPSON AVE SPC 50            3363 ERVIN RD NW                     ADDRESS ON FILE
WINSTON, OR 97496                    DOVER, OH 44622




ANGUIANO, CECILIA                    ANGUIANO, MARIA M.                   ANGUIANO, ROGELIO
29 HILLMAN CT                        134 AGATE DR                         ADDRESS ON FILE
WAUKEGAN, IL 60085                   WATSONVILLE, CA 95076




ANGULO, AMY                          ANGULO, CHERYL L.                    ANGUSTAIN, DUSTIN
ADDRESS ON FILE                      15517 RIDGELAND AVE                  ADDRESS ON FILE
                                     OAK FOREST, IL 60452




ANGWIN, ASHLEE                       ANGWIN, JOHN S.                      ANICICH, MARY P.
831 SAGE ST                          P.O. BOX 1165                        12243 S 45TH AVE
EVANSTON, WY 82930                   EVANSTON, WY 82931-1165              ALSIP, IL 60803




ANIL, ANANYA                         ANILAO, FELISA G.                    ANILAO, VIRGINIA B.
8507 MASON LN                        ADDRESS ON FILE                      926 N BERWICK BLVD
TINLEY PARK, IL 60477                                                     WAUKEGAN, IL 60085




ANIXTER INC.                         ANIXTER INC.                         ANJEWIERDEN, BRIAN D.
2301 PATRIOT BLVD                    A DIVISION OF ANIXTER, INC           ADDRESS ON FILE
GLENVIEW, IL 60026-8020              P.O. BOX 847428
                                     DALLAS, TX 75284-7428




ANKENY, JEFRE ALAN                   ANN BURDIC                           ANN KILEY CENTER
3120 ADMIRAL ST                      ADDRESS ON FILE                      1201 DUGDALE CIRCLE
EUGENE, OR 97404                                                          WAUKEGAN, IL 60085




ANN PENNINGTON                       ANN RICE, BETH                       ANN YOUNG, SHARON
236 E DAYTON ST                      103 WEST CLAY ST                     73 RD 9008
GALESBURG, IL 61401                  TROY, IL 62294                       FORT PAYNE, AL 35967




ANNA CLINIC CORP.                    ANNA HOSPITAL CORPORATION            ANNA HOSPITAL CORPORATION
208 SOUTH LASALLE ST                 1573 MALLORY LN, STE 100             517 NORTH MAIN ST
STE 814                              BRENTWOOD, TN 37027                  ANNA, IL 62906
CHICAGO, IL 60604




ANNA JONESBORO HIGH SCHOOL           ANNA STATE BANK                      ANNA STATE BANK
608 SOUTH MAIN ST                    ATTN: AMBER BELCHER                  ATTN: AMBER BELCHER
ATTN. YEARBOOK ADVISOR               100 EAST VIENNA STREET               P.O. BOX 647
ANNA, IL 62906                       ANNA, IL 62906                       ANNA, IL 62906
ANNA WATKINS PHOTO, LLC Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                     ANNE HALL                         PageANNE
                                                                            74 of 1969
                                                                                M DOUCLEFF
1851 GALLOWAY ROAD                   405 W PENN ST                         301 E 12TH ST
BLUE RIDGE, GA 30513                 ROSEVILLE, IL 61473                   ALTON, IL 62002-7228




ANNEN, CYNTHIA A.                   ANODYNE SURGICAL                       ANONUEVO, GRACE R.
4950 OAKVALE ST SW                  804 CORPORATE CENTRE DRIVE             ADDRESS ON FILE
CANTON, OH 44706                    OFALLON, MO 63368-8684




ANOVORX DISTRIBUTION LLC            ANP, GREG D.                           ANSELL SANDEL MEDICAL SOLUTIONS LLC
1710 N SHELBY OAKS RD               960 N 16TH ST, STE 304                 DEPT CH 16992
SUITE 6                             SPRINGFIELD, OR 97477                  PALANTINE, IL 60055-6992
MEMPHIS, TN 38134-7403




ANSER OREGON                        ANSER OREGON                           ANSWER DIRECT ANSWERING SERV
2761 ALLIED ST                      2761 ALLIED STREET                     P.O. BOX 4352
GREEN BAY, WI 54304-5501            GREEN BAY, WI 54304-5501               15 CANTY LN
                                                                           FAIRVIEW HEIGHTS, IL 62208




ANSWER MIDWEST, INC.                ANSWER MIDWEST, INC.                   ANSWERING MEMPHIS
307 HENRY ST                        307 HENRY STREET                       P.O. BOX 639236
STE 207                             SUITE 207                              CINCINNATI, OH 45263-9236
ALTON, IL 62002-6326                ALTON, IL 62002-6326




ANSWERNET                           ANTARCTIC MECHANICAL SYSTEMS INC       ANTEA GROUP
2738 BARTLETT BLV                   9341 ADAM DON PKWY                     3351 SOLUTIONS CENTER
MEMPHIS, TN 38134                   WOODRIDGE, IL 60517-0000               CHICAGO, IL 60677-3003




ANTENOR, JAMES                      ANTHEM BCBS C/O LAMONT HANLEY ASSOC    ANTHEM BCBS CENTRAL REGION
107 NORTHDALE PL                    INC                                    P.O. BOX 73651
LAWRENCEVILLE, GA 30046             P.O. BOX 179                           CLEVELAND, OH 44193-1177
                                    MANCHESTER, NH 03105-0179




ANTHEM BCBS HEALTHCARE SOLUTIONS    ANTHEM BCBS HEALTHCARE SOLUTIONS       ANTHEM BCBS KY
C/O LAMONT HANLEY & ASSOC INC       C/O LAMONT HANLEY & ASSOC INC          ATTN: OVERPAYMENT RECOVERY
P.O. BOX 179                        P.O. BOX 179                           P.O. BOX 105187
MANCHESTER, NH 03105                MANCHESTER, NH 03105-0179              ATLANTA, GA 30348-5187




ANTHEM BCBS                         ANTHEM BCBS                            ANTHEM BCBS
ATTN: REFUNDS                       ATTN: REFUNDS                          CENTRAL REGION - CCOA LOCKBOX
P.O. BOX 37180                      P.O. BOX 73651                         P.O. BOX 73651
LOUISVILLE, KY 40233-7180           CLEVELAND, OH 44193-1177               CLEVELAND, OH 44193-1177




ANTHEM BCBS                         ANTHEM BCBS                            ANTHEM BLUE CHOICE HMO
OVERPAYMENT RECOVERY                P O BOX 105557                         CCOA LOCKBOX
P.O. BOX 73651                      ATLANTA, GA 30348                      P.O. BOX 73651
CLEVELAND, OH 44193                                                        CLEVELAND, OH 44193
                       Case 20-10766-BLS
ANTHEM BLUE CROSS BLUE SHIELD               DocCROSS
                                    ANTHEM BLUE   6 FiledBLUE 04/07/20
                                                              SHIELD     PageANTHEM
                                                                              75 of 1969
                                                                                    BLUE CROSS BLUE SHIELD
1351 WILLIAM HOWARD                 3075 VANDERCAR WAY                       ATTN: REFUNDS
CINCINNATI, OH 45206                CINCINNATI, OH 45209                     P.O. BOX 37180
                                                                             LOUISVILLE, KY 40233-7180




ANTHEM BLUE CROSS BLUE SHIELD         ANTHEM BLUE CROSS BLUE SHIELD          ANTHEM BLUE CROSS BLUE SHIELD
C/O LAMONT HANLEY & ASSOC INC         COST CONTAINMENT DISPUTE               OVERPAYMENT RECOVERY
P.O. BOX 179                          P.O. BOX 62427                         P.O. BOX 92420
MANCHESTER, NH 03105-0179             VIRGINIA BEACH, VA 23466               CLEVELAND, OH 44193




ANTHEM BLUE CROSS BLUE SHIELD         ANTHEM BLUE CROSS BLUE SHIELD          ANTHEM BLUE CROSS BLUE SHIELD
P.O. BOX 105187                       P.O. BOX 105557                        P.O. BOX 5747
ATLANTA, GA 30348                     ATLANTA, GA 30348                      DENVER, CO 80217-5747




ANTHEM BLUE CROSS BLUE SHIELD         ANTHEM BLUE CROSS BLUE SHIELD          ANTHEM BLUE CROSS REFUND
P.O. BOX 659940                       P.O. BOX 933657                        DEPARTMENT
SAN ANTONIO, TX 78265-9939            ATLANTA, GA 31193                      CENTRAL REGION - CCOA LOCKBOX
                                                                             P.O. BOX 73651
                                                                             CLEVELAND, OH 44193-1177



ANTHEM BLUE CROSS                     ANTHEM HEALTH PLANS OF KY              ANTHEM MEDIBLUE HMO
1138 ELM STREET                       3075 VANDERCAR WAY                     P.O. BOX 105187
MANCHESTER, NH 03101                  CINCINNATI, OH 45209                   ATLANTA, GA 30348




ANTHEM MEDICARE ADVANTAGE             ANTHEM MEDICARE PREFERRED PPO          ANTHEM SENIOR ADVANTAGE
P.O. BOX 105187                       P.O. BOX 105187                        P.O. BOX 105187
ATLANTA, GA 30348                     ATLANTA, GA 30348                      ATLANTA, GA 30348




ANTHEM SR MCR                         ANTHEM                                 ANTHIS, ALISON
P.O. BOX 105187                       120 MONUMENT CIRCLE                    ADDRESS ON FILE
ATLANTA, GA 30348                     INDIANAPOLIS, IN 46204




ANTHONIES CLEANING SERVICE            ANTHONY EVERS                          ANTHONY GEREMIA
P.O. BOX 16483                        701 ASHTON LANE,                       6163 E IL HIGHWAY 15
LAS CRUCES, NM 88004                  SOUTH ELGIN, IL 60177                  WOODLAWN, IL 62898




ANTHONY GUGLIELMO                     ANTHONY, AISLYNN                       ANTHONY, COREY B.
3410 WILDERNESS DR                    ADDRESS ON FILE                        ADDRESS ON FILE
EDWARDSVILLE, IL 62025




ANTHONY, DEBRA L.                     ANTHONY, LINDA RAE                     ANTHONY, NAOMI L.
22960 MORNING LIGHT DR                88455 STEPHENS RD                      17937 SCHOOL ST
RAPID CITY, SD 57703                  SPRINGFIELD, OR 97478                  LANSING, IL 60438
ANTHONY, SHAQUECIA A.      Case 20-10766-BLS   Doc
                                        ANTHONYS    6 FINGERPRINTING
                                                 MOBILE Filed 04/07/20    PageANTIMICROBIAL
                                                                               76 of 1969 THERAPY INC
ADDRESS ON FILE                          10 S. RIVERSIDE PLAZA                P.O. BOX 276
                                         STE 875                              SPERRYVILLE, VA 22740
                                         CHICAGO, IL 60606




ANTINORI, JAMES                          ANTIOCH CHAMBER OF COMMERCE          ANTIQUE ROSE
3060 OAK RIMLN                           882 MAIN ST                          401 CLEVELAND ST
PARK CITY, UT 84060                      ANTIOCH, IL 60002                    FORREST CITY, AR 72335




ANTIX INC                                ANTONIO, JOSE G.                     ANTRUM, VI-ANNE
717 W ORGAN AVE                          706 SLOAT CIRCLE                     14 HEMLOCK LN
LAS CRUCES, NM 88005                     SALINAS, CA 93907                    AMHERST, NY 14226




ANTUNES, ANTONIO R.                      ANWAR, ASIF, MD                      ANYBATTERY
94324 11TH ST                            ADDRESS ON FILE                      P.O. BOX 312
P.O. BOX 1570                                                                 ROSEMOUNT, MN 55068
GOLD BEACH, OR 97444




ANYPROMO, INC                            ANZALDUA, BRANDON                    AOFOLAJUWONLO, ADEKEMI
1511 E HOLT BLVD                         ADDRESS ON FILE                      7333 NORTHGATE WAY
ONTARIO, CA 91761                                                             DOWNERS GROVE, IL 60516




AON PREMIUM FINANCE, LLC                 AON RISK SERVICES CENTRAL INC.       AON RISK SERVICES SOUTH, INC.
200 E. RANDOLPH ST                       AON CENTER                           FRANKLIN TN OFFICE
CHICAGO, IL 60601                        200 E RANDOLPH ST                    501 CORPORATE CENTRE DR, STE 300
                                         CHICAGO, IL 60601                    FRANKLIN, TN 37067




AON RISK SERVICES SOUTH, INC.            AORN, INC                            AORN, INC
P.O. BOX 955816                          2170 S PARKER RD                     DEPT 1380
ST LOUIS, MO 63195-5616                  STE 400                              P.O. BOX 17180
                                         DENVER, CO 80231                     DENVER, CO 80217-0180




APACIBLE, MARLENE G.                     APARICIO, MARIA                      APARNA RAO
ADDRESS ON FILE                          ADDRESS ON FILE                      HOLZER & HOLZER, LLC
                                                                              ATTN: COREY D. HOLZER
                                                                              1200 ASHWOOD PARKWAY, STE 410
                                                                              ATLANTA, GA 30338



APBS, INC.                               APBS, INC.                           APCO GRAPHICS INC
209 HAZEL ST                             209 HAZEL STREET                     P.O. BOX 930335
TROY, IL 62294                           TROY, IL 62294                       ATLANTA, GA 31193-0335




APCOR INC                                APDYNE MEDICAL COMPANY               APDYNE MEDICAL COMPANY
10289 NW 46TH ST                         1049 S VINE ST                       1049 SOUTH VINE ST
SUNRISE, FL 33351                        DENVER, CO 80209-4622                DENVER, CO 80209-4622
APELLO                    Case 20-10766-BLS    Doc 6E LEE
                                       APEX & ROBERT    Filed 04/07/20
                                                          MOVING & STORAGEPageAPEX
                                                                               77 of 1969
                                                                                   CREDIT PARTNERS LLC
2818 S REDWOOD RD                        CO INC                                JFIN CLO 2014 LTD.
SLC, UT 84119                            3195 FRANKLIN LIMESTONE RD
                                         ANTIOCH, TN 37013




APEX MECHANICAL SOLUTIONS LLC            APEX MOVING STORAGE                   APEX RADIOLOGY MEDICAL GROUP INC.
3821 HOMEWOOD RD                         3195 FRANKLIN LIMESTONE RD            P.O. BOX 459
MEMPHIS, TN 38118                        ANTIOCH, TN 37013                     HEMET, CA 92546-0000




APEX SYSTEMS LLC                         APEX TECHNOLOGIES                     APG EAST LLC
3750 COLLECTIONS CENTER DR               P.O. BOX 13210                        P.O. BOX 1967
CHICAGO, IL 60693                        LAS CRUCES, NM 88013                  GREENVILLE, NC 27835




API HEALTHCARE                           APIC DISTRIBUTION CENTER              APIC SOLUTIONS INC
33073 COLLECTION CTR DR                  P.O. BOX 291                          5550 MIDWAY PARK PL NE
CHICAGO, IL 60693-0330                   9050 JUNCTION DR                      ALBUQUERQUE, NM 87109-5800
                                         ANNAPOLIS JUNCTION, MD 20701




APIC TEXT ONLINE                         APIC                                  APIC
P.O. BOX 291                             DISTRIBUTION CENTER                   P.O. BOX 79502
ANNAPOLIS JUNCTION, MD 20701             PO BOX 291                            BALTIMORE, MD 21279-0502
                                         ANNAPOLIS JUNCTION, MD 20701




APIC(ASSOC FOR PROFESS INFECTI           APODACA, ELIZABETH A.                 APODACA, ELIZABETH
P.O. BOX 79502                           ADDRESS ON FILE                       ADDRESS ON FILE
BALTIMORE, MD 21279-0502




APODACA, GEORGIANA                       APOGEE HEALTH PARTNERS INC            APOGEE MEDICAL MANAGEMENT
ADDRESS ON FILE                          2850 S. WABASH AVE                    15059 N SCOTTSDALE RD
                                         CHICAGO, IL 60616                     STE 600
                                                                               SCOTTSDALE, AZ 85254-2685




APOLLO CORPORATION                       APOLLO CORPORATION                    APOLLO ENDOSURGERY INC
450 MAIN STREET                          P.O. BOX 219                          32663 COLLECTION CENTER DR
SOMERSET, WI 54025                       450 MAIN ST                           CHICAGO, IL 60693-0326
                                         SOMERSET, WI 54025




APOLLO ENDOSURGERY                       APOLLO GLOBAL MANAGEMENT, LLC- FM     APOSTROPHE
32663 COLLECTION CENTER DR               APOLLO CREDIT STRATEGIES MASTER       P.O. BOX 99012
CHICAGO, IL 60693                        FUND LTD.                             LUBBOCK, TX 79490




APP OF NEVADA ED, PLLC                   APP UNIPATH , LLC                     APPALACHIA ACES
5121 MARYLAND WAY, STE 300               P.O. BOX 671289                       110 VICTORY LN
BRENTWOOD, TN 37027                      DALLAS, TX 75267-1289                 C/O BEN BLEVINS
                                                                               LOUISA, KY 41230
APPALACHIAN 1ST RESPONSE Case 20-10766-BLS     DocNEWSPAPERS
                                      APPALACHIAN    6 Filed 04/07/20   PageAPPALACHIAN
                                                                             78 of 1969PHYSICIANS GROUP
180 HOSPITAL DR BOX 1E                201 CAROLINE AVE                      4799 BLUE RIDGE HWY
SO WILLIAMSON, KY 41503-4071          P.O. BOX 802                          BLUE RIDGE, GA 30513
                                      PIKEVILLE, KY 41502




APPALACHIAN PROPANE                   APPALACHIAN ROOFING, INC.             APPALACHIAN ROOFING/DBA STEVE STACY
1619 RAY MOUNTAIN RD                  3831 SUGAR CREEK RD.                  ROOFING
ELLIJAY, GA 30536                     BLUE RIDGE, GA 30513                  419 BALLEWTOWN ROAD
                                                                            BLUE RIDGE, GA 30513




APPERSON LODGE 195                    APPLE CHEVROLET, INC                  APPLE VALLEY COMMUNICATIONS
P.O. BOX 436                          8585 W 159TH ST                       P.O. BOX 787
LOUISA, KY 41230                      TINLEY PARK, IL 60487                 APPLE VALLEY, CA 92307




APPLE VALLEY SANITATION               APPLE VALLEY SANITATION               APPLEGARTH, DAVID
4890 KY RTE 321 SOUTH                 P.O. BOX 429                          136 CENTER ST
HAGERHILL, KY 41222                   HAGERHILL, KY 41222                   EVANSTON, WY 82930




APPLEGATE, MARY J.                    APPLETON MEDICAL SERVICES, INC        APPLEWHITE, BRANDON
P.O. BOX 3095                         118 N MAIN ST                         ADDRESS ON FILE
WEST HELENA, AR 72390                 SAINT CHARLES, MO 63301




APPLEWHITE, LORI                      APPLIANCE CARE CENTER, INC.           APPLIED MAINT SUPPLIES
ADDRESS ON FILE                       4460 HWY 412W                         & SOLUTIONS, LLC
                                      LEXINGTON, TN 38351                   P.O. BOX 74186
                                                                            CLEVELAND, OH 44194-4186




APPLIED MEDICAL DIST                  APPLIED MEDICAL DISTRIBUTION          APPLIED MEDICAL DISTRIBUTION
P.O. BOX 3511                         CORPORATION                           CORPORATION
CAROL STREAM, IL 60132-3511           P.O. BOX 0894854                      P.O. BOX 3511
                                      LOS ANGELES, CA 90189-4854            CAROL STREAM, IL 60132-3511




APPLIED MEDICAL DISTRIBUTION          APPLIED MEDICAL DISTRIBUTION          APPLIED MEDICAL TECHNOLOGY, INC.
CORPORATION                           P.O. BOX 894854                       8000 KATHERINE BLVD
P.O. BOX 894854                       LOS ANGELES, CA 90189-4854            BRECKSVILLE, OH 44141
LOS ANGELES, CA 90189-4854




APPLIED MEDICAL                       APPLIED MEDICAL, INC.                 APPONEY, CYNTHIA R.
PO BOX 3511                           P.O. BOX 3511                         2915 WARREN
CAROL STREAM, IL 60132                CAROL STREAM, IL 60132-3511           GRANITE CITY, IL 62040




APPONEY, CYNTHIA R.                   APPONEY, THERESA                      APPRISE HEALTH INSIGHTS
ADDRESS ON FILE                       2013 4TH ST                           4000 KRUSE WAY PL BLDG 2
                                      MADISON, IL 62060                     STE 100
                                                                            LAKE OSWEGO, OR 97267
APPRISE HEALTH INSIGHTS Case 20-10766-BLS    Doc
                                     APRIOMED, INC 6 Filed 04/07/20      PageAPRIOMED,
                                                                              79 of 1969
                                                                                       INC
4000 KRUSE WAY PLACE BLDG 2          2 PALMER DR                             45 SOUTH MAIN ST UNIT 2
SUITE 100                            LONDONDERRY, NH 03053                   DERRY, NH 03038
LAKE OSWEGO, OR 97267




APTA                                 APWU HEALTH PLAN                        APWU HEALTH PLAN
P.O. BOX 75701                       P.O. BOX 1358                           P.O.BOX 1358
BALTIMORE, MD 21298-8014             GLEN BURNIE, MD 21060                   GLEN BURNIE, MD 21060




APWU HEALTHCARE                      APWU HP                                 APWU
P.O. BOX 1358                        P.O. BOX 5909                           C/O ODSA
CLAIMS RECOVERY                      SCRANTON, PA 18505                      P.O. BOX 34188
GLEN BURNIE, MD 21060                                                        WASHINGTON, DC 20043




APWUHP FEDERAL                       AQUA 911                                AQUA CHILL OF CHICAGO
799 CROMWELL PARK DR                 95 S WALNUT CT                          P O BOX 24684
GLEN BURNIE, MD 21061                MUNDELEIN, IL 60060                     TEMPE, AZ 85285




AQUA CHILL OF CHICAGO                AQUA OHIO INC                           AQUA POOL & SPA PROS
P.O. BOX 24684                       P.O. BOX 1229                           2060 E GRAND AVE
TEMPE, AZ 85285                      NEWARK, NJ 07101-1229                   LINDENHURST, IL 60046




AQUA SERVICE COMPANY                 AQUA SYSTEMS                            AQUA SYSTEMS
1084 INDUSTRIAL DR 3                 7785 E US HIGHWAY 36                    7785 EAST US HIGHWAY 36
BENSENVILLE, IL 60106                AVON, IN 46123                          AVON, IN 46123




AQUACIDE COMPANY                     AQUARIUM SERVICES AND SYSTEMS LLC       AQUATECH
1627 9TH ST                          4466 FOX HOLLOW RD                      9435 S 255 W
P.O. BOX 10748                       EUGENE, OR 97405                        SANDY, UT 84070-3275
WHITE BEAR LAKE, MN 55110-0748




AQUINO, MARY A.                      AQUINO-FULKS, MARGARET                  AQUIPT INC
11021 HALEY CT                       ADDRESS ON FILE                         P.O. BOX 37849
ORLAND PARK, IL 60467                                                        BALTIMORE, MD 21297-7849




AR DEPT OF PARKS AND TOURISM - MS    ARABESQUE DANCE STUDIO                  ARAGON, MICHELLE T.
RIVER STATE PARK                     101 N DIVISION ST C                     ADDRESS ON FILE
2955 HWY 44                          CARTERVILLE, IL 62918
MARIANNA, AR 72360




ARAGON, MONICA R.                    ARAGON, YADIRA L.                       ARAIYAMA, KITTY L.
ADDRESS ON FILE                      256 BOWKER RD                           P.O. BOX 265
                                     FREEDOM, CA 95019                       DEXTER, OR 97431-0000
ARALLES, GEORGIA        Case 20-10766-BLS
                                     ARAMARKDoc
                                            CORP6       Filed 04/07/20   PageARAMARK
                                                                              80 of 1969
                                                                                     CORP
18793 W WESTWOOD PL                  25259 NETWORK PL                        27310 NETWORK PL
LAKE VILLA, IL 60046                 AUCA CHICAGO MC LOCKBOX                 CHICAGO, IL 60673-1273
                                     CHICAGO, IL 60673-1252




ARAMARK CORPORATION                  ARAMARK HEALTHCARE SUPPORT              ARAMARK SERVICES, INC. 2800
BRET COLLINS, DIRECTOR               SERVICES, LLC 0186                      PO 25259 NETWORK PLACE
GPO RELATIONSHIP MANAGER             1101 MARKET STREET                      CHICAGO, IL 60673-1252
27020 230TH PL SE                    19TH FLOOR
MAPLE VALLEY, WA 98038               PHILADELPHIA, PA 19107



ARAMARK UNIFORM SERVICES INC         ARAMARK UNIFORM SERVICES                ARAMARK UNIFORM SERVICES
25259 NETWORK PL                     AUS WEST LOCKBOX                        AUS WEST LOCKBOX
CHICAGO, IL 60673-1252               P.O. BOX 101179                         P.O. BOX 101179
                                     PASADEMA, CA 91189-0005                 PASADENA, CA 91189-0005




ARAMARK                              ARAMARK                                 ARANT, JULIA
25259 NETWORK PLACE                  AKA WEARGUARD                           197 COUNTY RD 7
AUCA CHICAGO MC LOCKBOX              22512 NETWORK PL                        MINTER, AL 36761
CHICAGO, IL 60673-1252               CHICAGO, IL 60673-1225




ARAO, MELANIE                        ARASIN, CATHERINE M.                    ARAUZ, MIRIAM
219 CENTRAL AVE APT 8                5272 MASSILLON RD                       279 MICHIGAN AVE APT 210
CAPITOLA, CA 95010                   NORTH CANTON, OH 44720                  GALESBURG, IL 61401




ARBEITER, CARL                       ARBIS, RODERICK D.                      ARBOGAST, DAVID M.
1935 CRANE RD                        1219 E GREYSTONE DR                     3500 39TH ST SW
DESOTO, IL 62924                     ROUND LAKE BEACH, IL 60073              CANTON, OH 44706




ARBOGAST, JOHN                       ARBOLEDA, RAMON H.                      ARBUTICE, RITCHIE
20505 W SHISSLER RD                  805 N LEWIS AVE                         P.O. BOX 345
ELMWOOD, IL 61529                    WAUKEGAN, IL 60085                      VANCLEVE, KY 41385




ARC ADMINISTRATORS                   ARC MEDICAL CORPORATION                 ARC MEDICAL CORPORATION
P.O. BOX 12290                       1651 QUAIL HOLLOW RD NW                 ADDRESS ON FILE
LEXINGTON, KY 40582                  FORT PAYNE, AL 35967




ARCARE                               ARCELIA, FELIX                          ARCENEAUX, DORIS
P.O. BOX 497                         1027 WESTMORELAND AVE                   8844 S DANTE
AUGUSTA, AR 72006                    WAUKEGAN, IL 60085                      CHICAGO, IL 60619




ARCHDIOCESE OF PORTLAND              ARCHER WNDOW CLEANING                   ARCHER, ARLIS
2838 E BURNSIDE STREET               14616 BEECH AVE                         2701 GOOD RD
PORTLAND, OR 97214-1895              ORLAND PARK, IL 60462                   ORRVILLE, OH 44667
ARCHER, LAWRENCE           Case 20-10766-BLS    Doc 6
                                        ARCHER, PAMELA       Filed 04/07/20   PageARCHIE,
                                                                                   81 of WILLIAM
                                                                                          1969
2612 CAYUGA ST                           1135 N ELM ST                            454 HOXIE AVE
GRANITE CITY, IL 62040                   APT 1                                    CALUMET CITY, IL 60409
                                         ORRVILLE, OH 44667-1000




ARCHITECTURAL SUPPORT SERVICES INC       ARCHIVE AMERICA OF ILLINOIS              ARCHULETA, CAITLYN
377 RICHARDSON RD SE                     3455 NW 54TH ST                          2041 8TH ST APT 1
STE 1                                    MIAMI, FL 33142                          LAS VEGAS, NM 87701
CALHOUN, GA 30701




ARCHWAY LITHOTRIPSY, LLC                 ARCHWAY PHYSICIAN RECRUITMENT LLC        ARCIGA, ESTEBAN
835 WESTWOOD INDUSTRIAL PARK DR          P.O. BOX 11886                           709 KINGS ROW
STE 203                                  ST LOUIS, MO 63105                       CRESWELL, OR 97426
WELDON SPRING, MO 63304




ARCILLA, JELDEN                          ARCON GENERAL CONTRACTORS                ARCON GROUP, THE
555 S. GALLERIA WAY, 403                 513 COBBLESTONE STE 3                    513 COBBLESTONE COURT, STE 3
CHANDLER, AZ 85226                       MADISON, MS 39110                        MADISON, MS 39110




ARDITI, DEBORAH                          ARDMORE FINANCE                          AREA ADVERTISING AGENCY, INC.
149½ NORTH WALNUT ST                     1223 MADISON AVE                         824 WINCHESTER AVE
WOOSTER, OH 44961                        MADISON, IL 62060                        P.O. BOX 51
                                                                                  ASHLAND, KY 41101




AREA WIDE COMMUNICATIONS                 AREA WIDE COMMUNICATIONS                 AREA WIDE, INC
P.O. BOX 8                               P.O. BOX 8                               6115 EVELINE ST
110 N MAIN                               MEDINA, TN 38355                         SAINT LOUIS, MO 63139
MEDINA, TN 38355




ARELLANES, YVETTE M.                     ARELLANO EMILIO L                        ARELLANO, JO A.
P.O. BOX 1946                            249 N 6TH ST                             2414 COUNTY RD 307
LAS VEGAS, NM 87701                      TOOELE, UT 84074                         COLORADO CITY, TX 79512




ARELLANO, MARIA THERESA                  ARELLANO, STEPHANIE                      ARENAS, SANDRA
2601 REBECCA DR                          13639 YAKIMA RD APT 1                    13164 GREENWOOD AVE
BIGSPRING, TX 79720                      APPLE VALLEY, CA 92308                   BLUE ISLAND, IL 60406




ARENDELL, BRANDY A.                      ARENDELL, JEFFREY                        ARENDZIAK, ROBERT
ADDRESS ON FILE                          6713 STONERIDGE ESTATES                  2447 OAK
                                         COLUMBIA, IL 62236                       BLUE ISLAND, IL 60406




ARENS, NORMA ALICE                       AREVALO, DAISY                           ARFT, LUCUS D.
565 HARLOW RD APT 23                     430 N. COUNTY ST.                        ADDRESS ON FILE
SPRINGFIELD, OR 97477-0000               WAUKEGAN, IL 60085
ARGO GROUP US            Case 20-10766-BLS    Doc 6INC Filed 04/07/20
                                      ARGO MEDICAL,                     PageARGO
                                                                             82 of 1969 INC
                                                                                 MEDICAL,
MANAGEMENT LIABILITY - UNDERWRITING   3501 CANONGATE WAY                    3501 CANONGATE WAY
101 HUDSON ST, STE 1201               FORT SMITH, AR 72908                  FORT SMTIH, AR 72908
JERSEY CITY, NJ 07302




ARGO, CHARLES                         ARGO, DENISE M.                       ARGO, LURLINE C
970 STONEWALL ST N                    ADDRESS ON FILE                       1600 BALLEWTOWN RD
MCKENZIE, TN 38201                                                          BLUE RIDGE, GA 30513




ARGO, LURLINE C.                      ARGO, SCOTT B.                        ARGON MEDICAL DEVICES INC
20 ROXBURY DR                         ADDRESS ON FILE                       P.O. BOX 677482
ATHENS, OH 45701                                                            DALLAS, TX 75267




ARGON MEDICAL DEVICES INC             ARGON MEDICAL DEVICES, INC.           ARGON MEDICAL DEVICES, INC.
P.O. BOX 677482                       1445 FLAT CREEK RD                    P.O. BOX 677482
DALLAS, TX 75267-7482                 ATHENS, TX 75751                      DALLAS, TX 75267-7482




ARGON MEDICAL                         ARGONAUT INSURANCE COMPANY            ARGONAUT INSURANCE COMPANY
PO BOX 677482                         175 E. HOUSTON ST                     P.O. BOX 469011
DALLAS, TX 75267                      STE 1300                              SAN ANTONIO, TX 78246
                                      SAN ANTONIO, TX 78205




ARGUELLO, CONNIE                      ARGUELLO, MARIA J.                    ARGYLE, KATHLEEN
2806 E. HWY 350                       633 MANOR LN                          P.O. BOX 409
BIG SPRING, TX 79720                  BIG SPRING, TX 79720                  RANDOLPH, UT 84064




ARGYLE, ROSEMARY                      ARIAS, ANGELIQUE                      ARIAS, CARMEN U.
4031 W 4300 S 19                      208 11TH ST                           ADDRESS ON FILE
WEST VALLEY CITY, UT 84120            LAS VEGAS, NM 87701




ARIAS, EDUARDO                        ARIBA INC                             ARIF, MD REZAUL
2922 HYDE PARK                        P.O. BOX 642962                       811 BRADLEY CIRCLE
WAUKEGAN, IL 60085                    PITTSBURGH, PA 15264-2962             LOGANVILLE, GA 30052




ARINE BROADIE                         ARIS TELERADIOLOGY COMPANY, LLC       ARISPE, AARON P.
P.O.BOX 1707                          5655 HUDSON DR                        642 SAN JACINTO ST
ROBERSONVILLE, NC 27871               STE 210                               SAN ANGELO, TX 76903-0000
                                      HUDSON, OH 44236




ARISPE, ANTHONY                       ARIZMENDI, MARINA E                   ARIZMENDI, NICOLE
2103 AVE Z                            10742 W WOODLAND AVE                  2409 ELIZABETH AVE.
SNYDER, TX 79549-0000                 BEACH PARK, IL 60087                  ZION, IL 60099
ARIZMENDI, VICTORIA         Case 20-10766-BLS    Doc 6 Filed
                                         ARIZONA DEPARTMENT     04/07/20
                                                            OF ECONOMIC       PageARIZONA
                                                                                   83 of 1969
                                                                                          DEPARTMENT OF REVENUE
ADDRESS ON FILE                            SECURITY                               1600 W. MONROE
                                           P.O. BOX 52027                         PHOENIX, AZ 85007-2650
                                           PHOENIX, AZ 85072-2027




ARIZONA DEPARTMENT OF REVENUE              ARIZONA DEPARTMENT OF REVENUE          ARIZONA DEPARTMENT OF REVENUE
1600 WEST MONROE DIVISION CODE 10          P.O. BOX 29009                         P.O. BOX 29079
UNCLAIMED PROPERTY DIVISION                PHOENIX, AZ 85038-9009                 PHOENIX, AZ 85038
PHOENIX, AZ 85007




ARIZONA DEPARTMENT OF REVENUE              ARIZONA MACHINERY                      ARIZONA UNCLAIMED PROPERTY UNIT
P.O. BOX 29085                             11111 W MCVOWELL RD                    1600 W. MONROE
PHOENIX, AZ 85038-9085                     AVONDALE, AZ 85392                     PHOENIX, AZ 85007-2650




ARIZONA UNCLAIMED PROPERTY UNIT            ARJO INC                               ARJO, INC
ARIZONA UNCLAIMED PROPERTY SECTION         P.O. BOX 640799                        GETINGE GROUP/ARJOHUNTLEIGH INC
1600 W MONROE ST                           PITTSBURGH, PA 15264-0799              P.O. BOX 640799
DIVISION CODE: 10                                                                 PITTSBURGH, PA 15264-0799
PHOENIX, AZ 85007



ARJO, INC                                  ARJO, INC                              ARJO-CENTURY DISTRIBUTING, INC
P.O. BOX 640799                            P.O. BOX 844746                        P.O. BOX 640799
PITTSBURGH, PA 15264-0799                  DALLAS, TX 75284-4746                  PITTSBURGH, PA 15264-0799




ARJOHUNTLEIGH                              ARJOHUNTLEIGH, INC                     ARJOHUNTLEIGH, INC.
PO BOX 640799                              P.O. BOX 640799                        P.O. BOX 844746
PITTSBURGH, PA 15264-0799                  PITTSBURGH, PA 15264-0799              DALLAS, TX 75284-4746




ARK DEPT OF HEALTH & HUMAN SERV            ARK DEPT OF HUMAN SERVICES             ARKANSAS AUDIT OF STATE
4815 W MARKHAM ST                          P.O. BOX 8181                          1401 W CAPITOL AVE - STE 325
SLOT 29                                    LITTLE ROCK, AR 72203-8181             UNCLAIMED PROPERTY DIVISION
LITTLE ROCK, AR 72205-3867                                                        LITTLE ROCK, AR 72201




ARKANSAS AUTOMATIC SPRINKLER               ARKANSAS CHILD SUPPORT CLEARIN         ARKANSAS CHILD SUPPORT
P.O. BOX 1370                              OFFICE OF CHILD SUPPORT                P O BOX 8125
CABOT, AR 72023                            P.O. BOX 8125                          LITTLE ROCK, AR 72203
                                           LITTLE ROCK, AR 72203




ARKANSAS CHILDRENS HOSPITAL                ARKANSAS DEMOCRAT-GAZETTE              ARKANSAS DEPARTMENT OF FINANCE &
1 CHILDRENS WAY MAIL SLOT 661              P.O. BOX 2221                          ADMINISTRATION
LITTLE ROCK, AR 72202                      LITTLE ROCK, AR 72203                  OFFICE OF STATE REVENUE ADMIN.
                                                                                  1509 W 7TH ST
                                                                                  LITTLE ROCK, AR 72201



ARKANSAS DEPARTMENT OF FINANCE &           ARKANSAS DEPARTMENT OF FINANCE &       ARKANSAS DEPARTMENT OF FINANCE AND
ADMINISTRATION                             ADMINISTRATION                         ADMINISTRATION
P.O. BOX 8055                              P.O. BOX 8090                          1509 W 7TH ST
LITTLE ROCK, AR 72203-8055                 LITTLE ROCK, AR 72203-0000             LITTLE ROCK, AR 72201
ARKANSAS DEPARTMENT OFCase       20-10766-BLS
                           FINANCE AND   ARKANSAS Doc  6 FiledOF04/07/20
                                                   DEPARTMENT       HEALTH   PageARKANSAS
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                                                                                          DEPARTMENT OF HEALTH
ADMINISTRATION                           4815 W MARKHAM ST                       4815 W MARKHAM ST
DEPT OF FINANCE AND ADMINISTRATION       SLOT 29                                 SLOT 57
CORPORATION INCOME TAX SECTION           LITTLE ROCK, AR 72205-3867              LITTLE ROCK, AR 72205-3867
P.O. BOX 919
LITTLE ROCK, AR 72203-0919

ARKANSAS DEPARTMENT OF HEALTH           ARKANSAS DEPARTMENT OF HEALTH            ARKANSAS DEPARTMENT OF HEALTH
5800 W 10TH ST STE 800                  ATTN: MAMMOGRAPHY PROGRAM                HEALTH FACILITY SERVICES
LITTLE ROCK, AR 72204-1763              5800 W 10TH ST, STE 401                  5800 W 10TH ST, STE 400
                                        LITTLE ROCK, AR 72204                    LITTLE ROCK, AR 72204




ARKANSAS DEPARTMENT OF HEALTH           ARKANSAS DEPARTMENT OF HEALTH            ARKANSAS DEPARTMENT OF HEALTH
LITTLE ROCK, AR 72205-3867              OFFICE OF EMERGENCY MEDICAL              RADIATION CONTROL SECTION
                                        SERVICES                                 4815 WEST MARKHAM ST
                                        5800 W 10TH ST, STE 800                  MAIL SLOT 30
                                        LITTLE ROCK, AR 72204                    LITTLE ROCK, AR 72205-3867



ARKANSAS DEPARTMENT OF HUMAN            ARKANSAS DEPARTMENT OF HUMAN             ARKANSAS DEPARTMENT OF REVENUE
SERVICES                                SERVICES                                 7TH & WOLFE STS
700 MAIN STREET                         FINANCE & ADMINISTRATION ACCOUNTS        LITTLE ROCK, AR 72201
LITTLE ROCK, AR 72203-1437              RECEIVABLE/HOSPITAL PROVIDER FEES
                                        P.O. BOX 8181 SLOT WG2
                                        LITTLE ROCK, AR 72203-8181

ARKANSAS DEPARTMENT OF WORKFORCE        ARKANSAS DEPT OF ENVIRONMENTAL           ARKANSAS DEPT OF HEALTH RADIATION
SERVICES                                QUALITY                                  CONTROL
P.O. BOX 8007                           5301 NORTHSHORE DR                       4815 W MARKHAM ST
ATTN: VOLUNTARY PAYMENTS                NORTH LITTLE ROCK, AR 72118-5317         SLOT 29
LITTLE ROCK, AR 72203-8007                                                       LITTLE ROCK, AR 72205-3867



ARKANSAS DEPT OF HEALTH/VITAL           ARKANSAS DEPT OF HUMAN SERVICES          ARKANSAS DEPT OF LABOR
RECORDS                                 P.O. BOX 8181                            10421 WEST MARKHAM
4815 W MARKHAM ST                       SLOT WG2                                 LITTLE ROCK, AR 72205
SLOT 29                                 LITTLE ROCK, AR 72203-8181
LITTLE ROCK, AR 72205-3867



ARKANSAS DEPT OF LABOR                  ARKANSAS DIV OF MEDICAL SERVICES         ARKANSAS DIV OF MEDICAL SERVICES
ELEVATOR INSPECTION DIV                 DEPT OF HUMAN SERVICES                   DEPT OF HUMAN SERVICES
10421 W MARKHAM                         DONAGHEY PLAZA SOUTH                     DONAGHEY PLAZA SOUTH
LITTLE ROCK, AR 72205-2190              P.O. BOX 1437; SLOT S401                 P.O. BOX 1437; SLOT S401
                                        LITTLE ROCK, AK 72203-1437               LITTLE ROCK, AR 72203-1437



ARKANSAS FILTER, INC                    ARKANSAS FLAG & BANNER, INC              ARKANSAS HEALTH SERVICES PERMIT
130 BROCKINGTON RD                      800 WEST NINTH ST                        AGENCY
SHERWOOD, AR 72120                      LITTLE ROCK, AR 72201                    FREEWAY MEDICAL BLDG
                                                                                 5800 WEST 10TH ST, STE 805
                                                                                 LITTLE ROCK, AR 72204



ARKANSAS HOSPITAL ASSOCIATION           ARKANSAS LAND AND DEVELOPMENT            ARKANSAS MEDICAID ATTN REFUNDS
419 NATURAL RESOURCES DR                P.O. BOX 743                             P.O. BOX 8181
LITTLE ROCK, AR 72205                   BRINKLEY, AR 72021-0000                  LITTLE ROCK, AR 72203




ARKANSAS MEDICAID PROGRAM               ARKANSAS MEDICAID PROGRAM                ARKANSAS MEDICAID REFUNDS
P.O. BOX 8104                           P.O. BOX 8181 SLOT WG2                   P.O. BOX 8181
LITTLE ROCK, AR 72203-8104              LITTLE ROCK, AR 72203                    LITTLE ROCK, AR 72203
ARKANSAS MEDICAID        Case 20-10766-BLS   Doc
                                      ARKANSAS    6 Filed 04/07/20
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P O BOX 8104                           P.O. BOX 8036                             P.O. BOX 8181
LITTLE ROCK, AR 72203                  LITTLE ROCK, AR 72203                     LITTLE ROCK, AR 72203




ARKANSAS OCCUPATIONAL SAFETY AND       ARKANSAS OFFICE OF THE ATTORNEY           ARKANSAS PATHOLOGY ASSOCIATES
HEALTH ADMINISTRATION                  GENERAL                                   P.O. BOX 55148
10810 EXECUTIVE CENTER DR DANVILLE     CONSUMER PROTECTION DIVISION              LITTLE ROCK, AR 72215-5148
BLDG 2; STE 206                        323 CTR ST STE 200
LITTLE ROCK, AR 72211                  LITTLE ROCK, AR 72201



ARKANSAS RURAL HEALTH PARTNERSHIP      ARKANSAS SECRETARY OF STATE               ARKANSAS STATE BOARD OF PHARMACY
1969 LAKEHALL RD                       BUSINESS & COMMERCIAL SVCS DIVISION       322 S MAIN ST, STE 600
LAKE VILLAGE, AR 71653-0000            1401 WEST CAPITOL AVE, STE 250            LITTLE ROCK, AR 72201
                                       VICTORY BLDG
                                       LITTLE ROCK, AR 72201



ARKANSAS TRAUMA SOCIETY                ARKANSAS VALLEY REGIONAL MEDICAL          ARLINGTON HEALTHCARE, INC
11610 PLEASANT RIDGE RD STE 103        CENTER                                    180 S. WESTERN AVE
LITTLE ROCK, AR 72223                  1100 CARSON AVE                           STE 112
                                       LA JUNTA, CO 81050                        CARPENTERSVILLE, IL 60110




ARLINGTON SECURITY CO LLC              ARMAND, MORRIS L                          ARMBRECHT, DONALD
808 S ARTHUR AVENUE                    567 HWY 11 SW                             423 SUNSET DR
ARLINGTON HEIGHTS, IL 60005            MONROE, GA 30655-6078                     WATERLOO, IL 62298




ARMENDARIZ, LESLIE B.                  ARMENT, WAYNE                             ARMENTA, EFRAIN
ADDRESS ON FILE                        1300 SOUTH 17TH ST                        101 W ACACIA ST
                                       HERRIN, IL 62948                          SALINAS, CA 93901




ARMIENTI, VALENTINO                    ARMIJO GLASSWORKS                         ARMIJO MARTINEZ, PAMELA
7285 SVL BOX                           753 LEE DR                                863 SPERRY DR
VICTORVILLE, CA 92392                  LAS VEGAS, NM 87701                       LAS VEGAS, NM 87701




ARMIJO, ANGELA K.                      ARMIJO, DEBORA C.                         ARMIJO, KACEE D.
ADDRESS ON FILE                        ADDRESS ON FILE                           701 E. ELM
                                                                                 DEMING, NM 88030




ARMIJO, MONIQUE                        ARMITAGE, RONALD E.                       ARMOND, WILLIAM
906 ½ PECOS ST                         8740 MILMONT ST NW                        512 MONROE ST
LAS VEGAS, NM 87701                    MASSILLON, OH 44646                       PLYMOUTH, NC 27962




ARMOR HOLDCO INC                       ARMS M.D., DONALD M.                      ARMS, APRIL
AMERICAN STOCK TRANSFER & TRUST CO     ADDRESS ON FILE                           3226 DREXEL AVE
P.O. BOX 12893                                                                   BIG SPRING, TX 79720
PHILADELPHIA, PA 19176-0893
ARMS, ELIZABETH             Case 20-10766-BLS    Doc 6P. Filed 04/07/20
                                         ARMS, LADONNA                    PageARMS,
                                                                               86 ofMARY
                                                                                     1969M.
ADDRESS ON FILE                           P.O. BOX 564                        ADDRESS ON FILE
                                          PAINTSVILLE, KY 41240




ARMSTEAD, ARTIE                           ARMSTRONG MED INDUSTRIES INC        ARMSTRONG MED INDUSTRIES INC
39234 N. OGDEN LN                         575 KNIGHTSBRIDGE PKWY.             P.O. BOX 700
BEACH PARK, IL 60083                      P.O. BOX 700                        LINCOLNSHIRE, IL 60069
                                          LINCOLNSHIRE, IL 60069-0700




ARMSTRONG MEDICAL INC.                    ARMSTRONG MEDICAL IND               ARMSTRONG MEDICAL IND.
P.O. BOX 700                              575 KNIGHTSBRIDGE PKWAY             575 KNIGHTS BRIDGE PKWY
LINCOLN SHIRE ILL.                        PO BOX 700                          P.O. BOX 700
LINCOLNSHIRE, IL 60069-0700               LINCOLNSHIRE, IL 60069              LINCOLNSHIRE, IL 60069-0700




ARMSTRONG MEDICAL INDUSTRIES I            ARMSTRONG MEDICAL                   ARMSTRONG RELOCATION
575 KNIGHTSBRIDGE PKWY                    575 KNIGHTSBRIDGE PKWY              100 ARMSTRONG COURT
LINCOLNSHIRE, IL 60069-0700               LINCOLNSHIRE, IL 60069-0700         LAVERGNE, TN 37086




ARMSTRONG TEASDALE LLP                    ARMSTRONG UTILITIES INC             ARMSTRONG WENDY
7700 FORSYTH BLVD, STE 1800               P.O. BOX 37749                      P O BOX 290293
SAINT LOUIS, MO 63105                     PHILADELPHIA, PA 19101-5049         PHELAN, CA 92329




ARMSTRONG, DANA C.                        ARMSTRONG, DAVID K.                 ARMSTRONG, EDWARD ALVA
411 RD 917                                17311 MAGNOLIA ISLAND BLV           494 W 10TH AVE APT 202
COLLINSVILLE, AL 35961                    CLERMONT, FL 34711                  EUGENE, OR 97401




ARMSTRONG, FARROL                         ARMSTRONG, JAMES                    ARMSTRONG, JAMES
6801 ARMSTRONG RD                         300 HARRIS DR                       35 CYGNET RD
KINMUNDY, IL 62854                        BLUE RIDGE, GA 30513                SILVER CITY, NM 88061




ARMSTRONG, JEFFERY                        ARMSTRONG, JESSICA R.               ARMSTRONG, JILL
24716 W LAKESHORE DR                      301 EVELYN AVE E                    300 HARRIS RD
ROUND LAKE, IL 60073                      WYNNE, AR 72396                     BLUE RIDGE, GA 30513




ARMSTRONG, JOSEPH P.                      ARMSTRONG, MARK A.                  ARMSTRONG, MILLIE
1921 OAK CREEK RD E-5-138                 1731 HUDSON RD                      9611 S AVALON
RIVER RIDGE, LA 70123                     MADISON, TN 37115                   CHICAGO, IL 60628




ARMSTRONG, MONA L.                        ARMSTRONG, NATHAN                   ARMSTRONG, REBECCA
ADDRESS ON FILE                           644 TANEY ST.                       313 N WORTHINGTON DR
                                          EUGENE, OR 97402                    WEST MEMPHIS, AR 72301
ARMSTRONG, REGINA L.     Case 20-10766-BLS   DocTIMOTHY
                                      ARMSTRONG,  6 Filed
                                                        L. 04/07/20   PageARMSTRONG,
                                                                           87 of 1969TONI
ADDRESS ON FILE                        6132 TULIPTREE LN                  1040 ROSE LANE
                                       NASHVILLE, TN 37221                LOUISA, KY 41230




ARMSTRONG, WANDA                       ARMSTRONG, WENDY                   ARMSTRONG-WHITEHURST, NIKITIA J.
210 BEECH GROVE DR                     P.O. BOX 290293                    ADDRESS ON FILE
FORREST CITY, AR 72335                 PHELAN, CA 92329




ARMSTRONG-WHITEHURST, NIKITIA J.       ARMUS CORPORATION                  ARNALL GOLDEN GREGORY LLP
115 THELMA ST                          950 TOWER LN STE 375               171 17TH ST NW
WILLIAMSTON, NC 27892                  FOSTER CITY, CA 94404-2198         STE 2100
                                                                          ATLANTA, GA 30363-1031




ARNC HOLDCO LLC                        ARNDT, ANDREW                      ARNELL, DARIN
ADVANTAGE RN LLC                       21801 107TH ST                     101 LAKEVIEW
P.O. BOX 404691                        BRISTOL, WI 53104                  TOOELE, UT 84074
ATLANTA, GA 30384-4674




ARNELL, MONICA                         ARNETT, CALEB L.                   ARNETT, FROST
ADDRESS ON FILE                        ADDRESS ON FILE                    P.O. BOX 198988
                                                                          NASHVILLE, TN 37219




ARNETT, JESSICA                        ARNETT, KATHLEEN                   ARNETT, KEENA S.
ADDRESS ON FILE                        1295 1295 LAKE FIELD RD            ADDRESS ON FILE
                                       SALYERSVILLE, KY 41465




ARNETT, TERISA R.                      ARNETT, TINA                       ARNING, BESSIE A.
ADDRESS ON FILE                        237 AUXIER BRANCH                  977 W STACEY RD
                                       SALYERSVILLE, KY 41465             RICHVIEW, IL 62877




ARNOLD DMD, ROBERT D.                  ARNOLD J. MINOR, DDS.              ARNOLD SCOTT HARRIC PC
200 W MAIN ST                          69 N. CHAMBERS ST                  111 W JACKSON BLVD STE 600
MARION, IL 62959                       GALESBURG, IL 61401                CHICAGO, IL 60604




ARNOLD, AMANDA L.                      ARNOLD, BECKI                      ARNOLD, JACOB
ADDRESS ON FILE                        10815 CHAYLA RD                    9 LONGVIEW CT
                                       MARION, IL 62959                   SAINT JACOB, IL 62281




ARNOLD, JASON W.                       ARNOLD, JOHNATHAN R.               ARNOLD, KATHERINE R.
306 SIXTEENTH FAIRWAY                  270 SIXTHEENTH FAIRWAY             ADDRESS ON FILE
MCKENZIE, TN 38201                     MCKENZIE, TN 38201
ARNOLD, KEGAN C.         Case 20-10766-BLS    Doc 6
                                      ARNOLD, LOIS        Filed 04/07/20   PageARNOLD,
                                                                                88 of 1969
                                                                                       MADISON A.
6605 MOAKE SCHOOL RD                   12137 MAPLE AVE                          ADDRESS ON FILE
MARION, IL 62959                       BLUE ISLAND, IL 60406




ARNOLD, MARCELLA                       ARNOLD, MELISSA A.                       ARNOLD, NICHOLAS S.
ADDRESS ON FILE                        171 EUBANKS RD                           429 WILSON PARK LN
                                       BRUCETON, TN 38317                       GRANITE CITY, IL 62040




ARNOLD, REBECCA J.                     ARNOLD, SARA LYNN                        ARNOLD, SHIRLEY
ADDRESS ON FILE                        19276 BRAGGS LN                          526 ELMFORD AVE SW
                                       WEST FRANKFORT, IL 62896                 MASSILLON, OH 44646




ARNOLD, VICTORIA A.                    ARNOLDS, CAROL                           ARNOLDY, KRISTEN
3230 LIBERTY CHURCH RD                 1725 PLEASANT RIDGE RD                   1 COURTNEY PL 209
HOLLADAY, TN 38341                     VIENNA, IL 62995                         BIG SPRING, TX 79720




ARNOW, TODD                            ARONSON, MICHELLE B.                     ARORA, ROBIN
P.O. BOX 2994                          16387 MUNI RD                            ADDRESS ON FILE
NANTUCKET, MA 02584                    APPLE VALLEY, CA 92307




ARORA, VIVEK MD                        ARP, MARY J                              ARP, PEGGY J.
5470 FAIRMONT RD                       951 EATON ROAD                           471 HILLCREST DR
LIBERTYVILLE, IL 60048                 BLUE RIDGE, GA 30513                     MC CAYSVILLE, GA 30555




ARP, ROBERT                            ARQUETTE, JUDITH                         ARR, JENNIFER A.
471 HILLCREST DR                       12801 GREGORY ST                         ADDRESS ON FILE
MCCAYSVILLE, GA 30555                  BLUE ISLAND, IL 60406




ARRAS, DIXIE                           ARRATIA, THERESA R.                      ARREDONDO RAYA, ELIZABETH
327 S RIEBELING                        104 PELICAN DR                           840 MADISON ST
COLUMBIA, IL 62236                     WATSONVILLE, CA 95076                    WATSONVILLE, CA 95076




ARREDONDO, JENNIFER                    ARREDONDO, MARICELA M.                   ARREOLA CHAVEZ, YAJAIRA Y.
655 NORTH 9TH ST                       174 WILLIAMS AVE                         2213 S GOLD
HARRISBURG, OR 97446                   WATSONVILLE, CA 95076                    DEMING, NM 88030




ARREOLA CHAVEZ, YAJAIRA Y.             ARREOLA, CHRISTINA I.                    ARREOLA, DAVID
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE
ARREOLA, MARTHA D.         Case 20-10766-BLS    Doc 6 N.Filed 04/07/20
                                        ARREY, BENEDICT                         PageARRINGTON,
                                                                                     89 of 1969KATHRYN M.
ADDRESS ON FILE                          45321 CERRILLOS RD                         397 STATE BRANCH RD
                                         SANTA FE, NM 87507                         BLAINE, KY 41124




ARRINGTON, VERNON B.                     ARRINGTON, WANDA E.                        ARROW GLOBAL ASSET DISPOSITION, INC
ADDRESS ON FILE                          P.O. BOX 1653                              62795 COLLECTION CENTER DRIVE
                                         DEMING, NM 88030                           CHICAGO, IL 60693-0627




ARROW GLOBAL ASSET DISPOSITION, INC.     ARROW GLOBAL ASSET DISPOSITION, INC.       ARROW GLOBAL ASSET DISPOSITON
62795 COLLECTION CENTER DR               7459 S. LIMA ST                            62795 COLLECTION CENTER DR
CHICAGO, IL 60693-0627                   ENGLEWOOD, CO 80112                        CHICAGO, IL 60693




ARROW INTERNATIONAL INC                  ARROW INTERNATIONAL                        ARROW INTERNATIONAL
P.O. BOX 60519                           P.O. BOX 60519                             PO BOX 60519
CHARLOTTE, NC 28260-0519                 CHARLOTTE, NC 28260-0519                   CHARLOTTE, NC 28260




ARROW INTERNATIONAL, INC                 ARROW INTERNATIONAL, INC.                  ARROW INTERNATIONAL, INC.
P.O. BOX 60519                           P.O. BOX 60519                             P.O. BOX 85000-S-9060
CHARLOTTE, NC 28260-0519                 CHARLOTTE, NC 28260-0519                   PHILADELPHIA, PA 19178-9060




ARROWHEAD REALTY CORPORATION             ARROWHEAD SCIENTIFIC INC                   ARROW-MED AMBULANCE, INC.
CROWN CORPORATE HOUSING                  ARROWHEAD FORENSICS                        68 SHACKS LN
1109 HARPETH INDUSTRIAL CT               11006 STRANG LINE RD                       JACKSON, KY 41339
FRANKLIN, TN 37064-2223                  LENEXA, KS 66215




ARROWOOD, ALVA J.                        ARROWOOD, GARY FRANKLIN                    ARROWOOD, MELISSA
ADDRESS ON FILE                          2714 MERCHANT ST                           2095 HIGHWAY 1933
                                         MARION, IL 62959                           JACKSON, KY 41339




ARROYO, ANGELICA                         ARROYO, ELISA P.                           ARROYO, ELIZABETH L
324 ARBOL DR                             1209 HUNTINGTON ST                         12216 S LAWNDALE AVE
WATSONVILLE, CA 95076                    SALINAS, CA 93906                          ALSIP, IL 60803




ARROYO, FERNANDO                         ARROYO, GYSSELLE                           ARROYO, MANUEL
87N 6TH ST                               ADDRESS ON FILE                            319 WASHINGTON PARK
WHEELING, IL 60090                                                                  WAUKEGAN, IL 60085




ARSHINKOFF, MICHELLE L.                  ARTEAGA, OLGA                              ARTEAGA, SHIRLEY L.
105 LAKE RIDGE DR                        814 S 8TH STREET                           ADDRESS ON FILE
BLUE RIDGE, GA 30513                     MONMOUTH, IL 61462
ARTEGRAFT, INC          Case 20-10766-BLS
                                     ARTEL   Doc 6 Filed 04/07/20       PageARTERBRIDGE,
                                                                             90 of 1969TERRY L.
206 NORTH CENTER DR                  25 BRADLEY DR                          P.O. BOX 1484
NORTH BRUNSWICK, NJ 08902            WESTBROOK, ME 04092-2013               ROBERSONVILLE, NC 27871




ARTESIA GENERAL HOSPITAL              ARTHREX 0190                          ARTHREX INC
702 N 13TH ST                         P.O. BOX 403511                       P.O. BOX 403511
ARTESIA, NM 88210                     ATLANTA, GA 30384-3511                ATLANTA, GA 30384




ARTHREX INC                           ARTHREX INC.                          ARTHREX
P.O. BOX 403511                       JACK HILLEBRAND                       PO BOX 403511
ATLANTA, GA 30384-3511                ILLINOIS TERRITORY MANAGER            ATLANTA, GA 30384
                                      1370 CREEKSIDE BOULEVARD
                                      NAPLES, FL 34108



ARTHREX, INC.                         ARTHREX, INC.                         ARTHRITIS FOUNDATION
P.O. BOX 403511                       POB 403511                            HEARTLAND REGION
ATLANTA, GA 30384-3511                ATLANTA, GA 30384                     9433 OLIVE BLVD STE 100
                                                                            ST LOUIS, MO 63132




ARTHROSURFACE INC                     ARTHROSURFACE INCORPORATED            ARTHROSURFACE, INC
DEPT 1480                             28 FORGE PARKWAY                      ATTN: ACCOUNTS RECEIVABLE
P.O. BOX 4110                         FRANKLIN, MA 02038                    DEPT 1480 BOX 4110
WOBURN, MA 01888-4110                                                       WOBURN, MA 01888-4110




ARTHROSURFACE, INC.                   ARTHUR J. GALLAGHER RISK MANAGEMENT   ARTHUR J. GALLAGHER RISK MANAGEMENT
DEPARTMENT 1480 BOX 4110              SERVICES, INC                         SERVICES, INC
WOBURN, MA 01888-4110                 2850 GOLF RD                          470 ATLANTIC AVE
                                      ROLLING MEADOWS, IL 60008             BOSTON, MA 02210




ARTHUR J. GALLAGHER RISK MANAGEMENT   ARTHUR J. GALLAGHER RISK MANAGEMENT   ARTHUR L DAVIS PUBLISHING AGENCY, INC.
SERVICES, INC                         SERVICES, INC                         517 WASHINGON ST
8511 SOUTH SAM HOUSTON PARKWAY EAST   P.O. BOX 71164                        P.O. BOX 216
STE 200                               CHICAGO, IL 60694-1164                CEDAR FALLS, IA 50613
HOUSTON, TX 77075



ARTHUR, JACQUELINE                    ARTIAGA, ROSARIO                      ARTIE ODOM
286 170TH ST                          3205 W WHITTIER DR                    268 LAKEVIEW DR
AVON, IL 61415                        DEMING, NM 88030                      HUGHES, AR 72348




ARTIFACT HEALTH INC                   ARTIFICIAL ICE EVENTS                 ARTIME, BOB L.
211 COLLEGE RD                        147 SUMMIT ST 3A                      11 TIMOTHY LN
CONCORD, MA 01742                     PEABODY, MA 01960                     BELLEVILLE, IL 62226




ARTISAN MEDICAL                       ARTISTIC SIGN DESIGN, LLC             ARTISTICALLY CLEAN
617 STOKES RD STE 4-306               3038 SPECIALTY CIRCLE                 325 E MAIN ST
MEDFORD, NJ 08055                     SOUTH SALT LAKE, UT 84115-0000        BARSTOW, CA 92311
ARTOSS, INC              Case 20-10766-BLS
                                      ARTS INC.,Doc
                                                 THE 6 Filed 04/07/20     PageARTSTARTS
                                                                               91 of 1969
P.O. BOX 6004                         P.O. BOX 394                            P.O. BOX 1005
SAINT CLOUD, MN 56302-6004            EVANSTON, WY 82931                      MARION, IL 62959




ARUIZA, DAN                           ARUIZA, RICHARD H.                      ARUP LABORATORIES
66 HONEYSUCKLE                        237 VISTA DEL MAR DR                    P.O. BOX 27964
WATSONVILLE, CA 95076                 WATSONVILLE, CA 95076                   SALT LAKE CITY, UT 84127




ARVIDSON, DEANA                       ARVIZO, FERNANDO S.                     ARVOLD, SUSAN D.
151 TIFFANY LN                        1615 S. EMERSON DR                      843 KENDALL PARK DR
MINERAL BLUFF, GA 30559               DEMING, NM 88030                        WINDER, GA 30680




ARWOOD, SOPHIA L.                     ASAHI INTECC USA, INC.                  ASAHI INTECC USA, INC.
ADDRESS ON FILE                       22 EXECUTIVE PARK, STE 110              3002 DOW AVE., STE 212
                                      IRVINE, CA 92614-2705                   TUSTIN, CA 92780




ASANOVA, LEILA                        ASBERY, KATHY                           ASBRIDGE, TAMI
96 E DELGADA LN                       15679 N. TURREL                         ADDRESS ON FILE
STANSBURY, UT 84074                   MT. VERNON, IL 62864




ASBROCK, RODNEY E.                    ASBURY, MARY                            ASBY, SHERRI
ADDRESS ON FILE                       ADDRESS ON FILE                         3145 JOHN FLEMMING RD
                                                                              STOKES, NC 27884




ASCENCIO MOYA, VIKTOR F.              ASCENCIO, MEGHAN                        ASCENDIUM
ADDRESS ON FILE                       ADDRESS ON FILE                         C/O FINANCIAL MGMT SYSTEMX, INC
                                                                              P.O. BOX 1729
                                                                              WOODSTOCK, GA 30188-1394




ASCENSION BUSINESS SOLUTIONS CORP     ASCENSION GROUP ARCHITECTS LLC          ASCHENAKI MD, MEKDELAWIT
6423 BOOT HILL RD                     DBA E4H - ENVIRONMENTS FOR HEALTH       121277 QUICKSLIVER WAY
CASPER, WY 82604                      1250 EAST COPELAND RD - STE 500         MESQUITE, NV 89027
                                      ARLINGTON, TX 76011-4911




ASCO POWER SERVICES INC               ASCO SERVICES INC                       ASCOM WIRELESS SOLUTIONS INC
160 PARK AVE                          ASCO POWER SERVICES INC                 3428 COLLECTIONS CENTER DR
FLORHAM PARK, NJ 07932                P.O. BOX 73473                          CHICAGO, IL 60693
                                      CHICAGO, IL 60673-7473




ASCP PRESS                            ASD HEALTHCARE INC                      ASD HEALTHCARE INC
3462 EAGLE WAY                        1950 N STEMMONS FREEWAY, STE 5010       P.O. BOX 848104
CHICAGO, IL 60678-1346                LOCKBOX 848104                          DALLAS, TX 75284
                                      DALLAS, TX 75284-8104
ASD HEALTHCARE INC       Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      ASD HEALTHCARE                       PageASD
                                                                                92HEALTHCARE
                                                                                   of 1969
P.O. BOX 848104                        P.O. BOX 848104                         PO BOX 848104
DALLAS, TX 75284-8104                  DALLAS, TX 75284-8104                   DALLAS, TX 75284-8104




ASD HEALTHCARE, INC.                   ASD SPECIALTY HEALTH CARE LLC           ASD SPECIALTY HEALTHCARE INC
POB 848104                             1950 N STEMMONS FREEWAY, STE 5010       3101 GAYLOARD PKWY
DALLAS, TX 75284-8104                  LOCKBOX 848104                          FRISCO, TX 75034
                                       DALLAS, TX 75284-8104




ASD SPECIALTY HEALTHCARE INC           ASD SPECIALTY HEALTHCARE INC            ASD SPECIALTY HEALTHCARE LLC
DBA ONCOLOGY SUPPLY                    P.O. BOX 848104                         5025 PLANO PKWY
2801 HORACE SHEPARD DR                 DALLAS, TX 75284-8104                   CARROLLTON, TX 75010
DOTHAN, AL 36303




ASE DIRECT INC                         ASE                                     ASEBES, SHARON
7113 PEACH CT                          P.O. BOX 890082                         150 OOTEN BR
STE 200                                CHARLOTTE, NC 28289-0082                DELBARTON, WV 25670-7365
BRENTWOOD, TN 37027




ASENCE, REMEGIO F.                     ASERLIND, MEENA M.                      ASEVES, BREANA
ADDRESS ON FILE                        ADDRESS ON FILE                         612 INDUSTRIAL DR
                                                                               PALMYRA, MO 63461




ASGE                                   ASH, ANNETTE C.                         ASH, KATHRYN
P.O. BOX 809055                        3206 13TH ST S.W.                       1818 ESIC DR
CHICAGO, IL 60680-9055                 CANTON, OH 44710                        EDWARDSVILLE, IL 62025




ASH, WILLIAM                           ASHAL, NOVELLA                          ASHAUER, SHIRLEY
304 FRANKLIN                           4069 VESCI AVE                          221 HAMEL AVE P.O. BOX 249
TROY, IL 62294                         GRANITE CITY, IL 62040                  HAMEL, IL 62046




ASHBRIDGE, JANE L.                     ASHBURN, ROBBIE D.                      ASHBY, DIANE
1068 QUEEN ANNE DR NW                  ADDRESS ON FILE                         1439 FOREST AVE
MASSILLON, OH 44647                                                            CALUMET CITY, IL 60409




ASHBY, ERIC                            ASHBY, TIMOTHY B.                       ASHCRAFT, ALYNA
12992 JOCHUM LN                        207 BROWN GABBARD RD                    ADDRESS ON FILE
PITTSBURG, IL 62974                    RICETOWN, KY 41364




ASHCRAFT, BILLY W.                     ASHCRAFT, MELISSA J                     ASHCROFT, MEGHAN
P.O. BOX 302                           2108 ASHLY DR                           ADDRESS ON FILE
COLT, AR 72326                         AUGUSTA, GA 30906
ASHE                       Case 20-10766-BLS    Doc 6
                                        ASHE, FARRAH        Filed 04/07/20   PageASHE,
                                                                                  93 of  1969
                                                                                       SHERRY
P.O. BOX 75315                           1580 LOVING RD                          660 HAGIN RD
CHICAGO, IL 60675-5315                   MORGANTON, GA 30560                     GROVETOWN, GA 30813-4701




ASHE/AHA                                 ASHE/AHA                                ASHER, DEBERA A.
75 REMITTANCE DR                         75 REMITTANCE DR, STE 1885              ADDRESS ON FILE
SUITE 1885                               P.O. BOX 75315
CHICAGO, IL 60675                        CHICAGO, IL 60675-5315




ASHER, KAREN LEONA                       ASHER, TIMOTHY                          ASHFORD, SHAUNA
40355 JASPER LOWELL RD                   870 WALTER HERNDON RD                   ADDRESS ON FILE
LOWELL, OR 97452                         PARSONS, TN 38363




ASHHRA                                   ASHIBUOGWU, MAGNU                       ASHLAND COMMUNITY & TECH COLLEGE &
P.O. BOX 75315                           2718 ANN DR                             SADIE CAVINS
CHICAGO, IL 60675-5315                   BIG SPRING, TX 79720-0000               89 RIGHT FORK LITTLE HURRICANE
                                                                                 CREEK RD
                                                                                 PRICHARD, WV 25555



ASHLEY A BUSHONG                         ASHLEY FRAZIER                          ASHLEY GOTT, COUNTY COLLECTOR
209 S 4TH ST                             ADDRESS ON FILE                         407 NORTH MONROE, STE 104
MONMOUTH, IL 61462                                                               MARION, IL 62959




ASHLEY, BILLIE G                         ASHLEY, SARAH E.                        ASHMORE, VICTORIA
197 INFIELD LN                           ADDRESS ON FILE                         4823 LEDGESTONE DR
GRAYSLAKE, IL 60030                                                              SMITHTON, IL 62285




ASHP                                     ASHRAF, ANITA                           ASHRM
P.O. BOX 75487                           ADDRESS ON FILE                         P.O. BOX 75315
BALTIMORE, MD 21275-5487                                                         CHICAGO, IL 60675-5315




ASHTON, KATHRYN L.                       ASHUNI TAYLOR                           ASHWORTH, FLORA C.
325 BRAE BURN DR                         9 CARRIAGE LN                           129 MIMS AVE NW
EUGENE, OR 97405                         EDWARDSVILLE, IL 62025-0000             RAINSVILLE, AL 35986-6115




ASIDI, VERONICA E.                       ASKEW, AARON                            ASKEW, CHARLES
ADDRESS ON FILE                          7520 N VERMONT LN                       4034 BEAR GRASS RD
                                         MT VERNON, IL 62864                     WILLIAMSTON, NC 27892




ASKEW, GWENDOLYN                         ASKEW, JAVA                             ASLIN, LYNDA
3034 RICHTON PL                          100 SOUTH HAINES ST                     2802 ROBERTSON DR
RICHTON PARK, IL 60471                   WILLIAMSTON, NC 27892                   ABILENE, TX 79606-0000
ASMUS, CHRISTINE D.        Case 20-10766-BLS
                                        ASNC    Doc 6       Filed 04/07/20   PageASPECT
                                                                                  94 of SOFTWARE
                                                                                        1969     INC
3458 DOVERSHIRE AVE NW                  9302 LEE HIGHWAY                         P.O. BOX 2869
MASSILLON, OH 44646                     STE 1210                                 CAROL STREAM, IL 60132-2869
                                        FAIRFAX, VA 22031




ASPEN MOUNTIAN PLUMBING                 ASPEN SURGICAL PRODUCTS INC              ASPEN SURGICAL PRODUCTS INC
137 WILD ROSE LN                        3998 RELIABLE PARKWAY                    3998 RELIABLE PRKWY
ROCK SPRINGS, WY 82901                  CHICAGO, IL 60686-0039                   CHICAGO, IL 60686-0039




ASPEN UROLOGY, LLC                      ASPHALT MAINT LLC                        ASPIRE BARIATRICS, INC.
1147 N 1000 E                           1675 CHILDERS RD                         3200 HORIZON DR, STE 100
LEHI, UT 84043                          MARION, IL 62959                         KING OF PRUSSIA, PA 19406




ASPYRA LLC                              ASRT                                     ASSA ABLOY ENTRANCE SYS US, INC
705 SW 10TH ST                          15000 CENTRAL AVE SE                     P.O. BOX 827375
STE 109                                 ALBUQUERQUE, NM 87123-3909               PHILADELPHIA, PA 19182-7375
BLUE SPRINGS, MO 64015




ASSAY TECHNOLOGY, INC                   ASSET MGMT OUTSOURCING RECOVERIES        ASSET PROTECTION UNIT INC
1382 STEALTH ST                         INC                                      P.O. BOX 33061
LIVERMORE, CA 94551                     501 NE HOOD AVE STE 125                  AMARILLO, TX 79120
                                        GRESHAM, OR 97030




ASSET PROTECTION UNIT, INC.             ASSIMOS, CAITLIN                         ASSOC FOR AMBULATORY
P.O. BOX 33061                          25434 SPRING HILL DR                     BEHAVIORAL HEALTHCARE
AMARILLO, TX 79120                      MONROE, OR 97456                         864 TARPLEY LN
                                                                                 KENNESAW, GA 30152




ASSOC FOR THE ADVANCEMENT OF            ASSOC FOR THE ADVANCEMENT OF             ASSOCIATED BAG CO
MEDICAL INSTRUMENTATI                   MEDICAL INSTRUMENTATI                    P.O. BOX 3285
4301 N. FAIRFAX DRIVE                   P.O. BOX 211                             MILWAUKEE, WI 53201-3285
SUITE 301                               ANNAPOLIS JUNCTION, MD 20701
ARLINGTON, VA 22203-1633



ASSOCIATED BAG COMPANY                  ASSOCIATED BAG COMPANY                   ASSOCIATED BANK, NA
P.O. BOX 3285                           P.O. BOX 8820                            200 E RANDOLPH DR
MILWAUKEE, WI 53201-3285                CAROL STREAM, IL 60197-8820              CHICAGO, IL 60601




ASSOCIATED BANK, NA                     ASSOCIATED BANK, NA                      ASSOCIATED BANK, NA
200 N ADAMS ST                          330 E KILBOUM AVE                        525 W MONROE ST, STE 2400
GREENBAY, WI 54307                      PLAXA E TOWER 2, STE 375                 CHICAGO, IL 60661
                                        MILWAUKEE, WI 53202




ASSOCIATED LUMBER                       ASSOCIATED PATHOLOGISTS CHARTERED        ASSOCIATED PATHOLOGISTS, LLC
104 W CHESTNUT                          P.O. BOX 912395                          P.O. BOX 639259
ANNA, IL 62906                          PASADENA, CA 91110-2395                  CINCINNATI, OH 45263-9259
                        Case 20-10766-BLS
ASSOCIATED PRECISION LABS                     DocUROLOGICAL
                                     ASSOCIATED     6 FiledSPECIALISTS,
                                                             04/07/20     PageASSOCIATION
                                                                               95 of 1969FOR HEALTHCARE
2336 N INTERSTATE DR                 LLC                                      P.O. BOX 75315
P.O. BOX 721164                      2850 W 95TH ST                           RESOURCE & MATERIALS MANAGEMENT
NORMAN, OK 73072-2991                STE 302                                  CHICAGO, IL 60675-5315
                                     EVERGREEN PARK, IL 60805



ASSOCIATION MANAGEMENT RESOURCES      ASSOCIATION OF NUTRITION &              ASSOCIATION OF OPERATING ROOM
35204 EAGLE WAY                       FOODSERVICE PROFESSIONA                 NURSES INC
CHICAGO, IL 60678-1352                406 SURREY WOODS DR                     2170 SOUTH PARKER RD
                                      ST. CHARLES, IL 60174-2386              STE 400
                                                                              DENVER, CO 80231-5711



ASSURED IMAGING LLC                   ASSURED LIFE ASSOCIATION                AST EXCHANGE AGENT 25488
ASSURED IMAGING                       P.O. BOX2397                            HEALTH MANAGEMENT ASSOCIATES
7717 N HARTMAN LN                     OMAHA, NE 68103                         6201 15TH AVE
TUCSON, AZ 85743-9506                                                         BROOKLYN, NY 11219-5411




ASTEX ENVIRONMENTAL SERV.             ASTGEN, DENISE                          ASTIN, SHERRY
139 BRANIFF DR                        ADDRESS ON FILE                         340 MCDANIEL
SAN ANTONIO, TX 78216                                                         FORREST CITY, AR 72335




ASTOR CHOLOCATE CORP                  ASTRAIN, ENRIQUETA                      ASTRAIN, ROLANDO C.
651 NEW HAMPSHIRE AVE                 314 HOPE DR NW                          1115 WILLIAMS AVE NE
LAKEWOOD, NJ 08701                    FORT PAYNE, AL 35967-4078               FORT PAYNE, AL 35967




ASTURA MEDICAL                        ASU MID-SOUTH COMMUNITY COLLEGE         ASURE TEST, INC
3186 LIONSHEAD AVENUE, SUITE 100      FOUNDATION                              2101 COLLIER CORP PKWY
CARLSBAD, CA 92010                    2000 WEST BRDWAY                        ST CHARLES, MO 63303
                                      WEST MEMPHIS, AR 72301




AT&T BUS SERVICE-CELLULAR             AT&T CORP                               AT&T MOBILITY FIRST NET
P.O. BOX 5019                         P.O. BOX 5019                           P.O. BOX 6463
CAROL STREAM, IL 60197-5019           CAROL STREAM, IL 60197-5019             CAROL STREAM, IL 60197-5095




AT&T MOBILITY FIRST NET               AT&T MOBILITY LLC                       AT&T MOBILITY
P.O. BOX 6463                         P.O. BOX 6463                           P.O. BOX 6463
CAROL STREAM, IL 60197-6463           CAROL STREAM, IL 60197-6463             CAROL STREAM, IL 60197-6463




AT&T PRO - CABS                       AT&T SERVICES INC                       AT&T TELECONFERENCE SERVICE
P.O. BOX 105373                       P.O. BOX 105373                         P.O. BOX 2840
ATLANTA, GA 30348                     ATLANTA, GA 30348                       OMAHA, NE 68103-2840




AT&T                                  AT&T                                    AT&T
208 S AKARD ST                        501 A55 0083 6908                       870 338 8682 2169
DALLAS, TX 75202                      P.O. BOX 5001                           P.O. BOX 5001
                                      CAROL STREAM, IL 60197-5001             CAROL STREAM, IL 60197
AT&T                     Case 20-10766-BLS
                                      AT&T      Doc 6     Filed 04/07/20   PageAT&T
                                                                                96 of 1969
ACCT 87033883895127                     P O BOX 105068                         P O BOX 105414
P.O. BOX 105414                         ATLANTA, GA 30348-5068                 ATLANTA, GA 30348-5414
ATLANTA, GA 30348-5414




AT&T                                    AT&T                                   AT&T
P O BOX 5001                            P O BOX 5011                           P O BOX 5014
CAROL STREAM, IL 60197-5001             CAROL STREAM, IL 60197-5011            CAROL STREAM, IL 60197-5014




AT&T                                    AT&T                                   AT&T
P.O. BOX 105068                         P.O. BOX 105262                        P.O. BOX 105414
ATLANTA, GA 30348-5068                  ATLANTA, GA 30348-5262                 ATLANTA, GA 30348-5414




AT&T                                    AT&T                                   AT&T
P.O. BOX 5001                           P.O. BOX 5002                          P.O. BOX 5011
CAROL STREAM, IL 60197-5001             CAROL STREAM, IL 60197                 CAROL STREAM, IL 60197-5011




AT&T                                    AT&T                                   AT&T
P.O. BOX 5014                           P.O. BOX 5014                          P.O. BOX 5019
CAROL STREAM, IL 60197                  CAROL STREAM, IL 60197-5014            CAROL STREAM, IL 60197-5019




AT&T                                    AT&T                                   AT&T
P.O. BOX 5080                           P.O. BOX 9009                          PO BOX 5002
CAROL STREAM, IL 60197-5080             CAROL STREAM, IL 60197-9009            CAROL STREAM, IL 60197




ATAA, SADEEKA                           ATCHISON HOSPITAL                      ATCHISON, KRISTIN N.
1508 WILSON AVE                         800 RAVIN HILL DR                      ADDRESS ON FILE
WAUKEGAN, IL 60087                      ATCHISON, KS 66002




ATCHLEY, BREANNA D.                     ATCO MANUFACTURING CORP.               ATENCIO, SHANNON
2236 BERN AVE                           1401 BARCLAY CIR SE                    P.O. BOX 917
GRANITE CITY, IL 62040                  MARIETTA, GA 30060-2925                ROCIADA, NM 87742




ATENOUSAZAR, ANYA                       ATERS, NIKI                            ATHENA HEALTH 2800
4449 CALLISTO LN                        P.O. BOX 3                             P O BOX 415615
TURLOCK, CA 95382                       KEYESPORT, IL 62253                    BOSTON, MA 02241-5615




ATHENAHEALTH, INC                       ATHENAHEALTH, INC.                     ATHENAHEALTH, INC.
JESSICA COLLINS, SVP, GENERAL COUNSEL   311 ARSENAL ST                         P.O. BOX 415615
311 ARSENAL STREET                      WATERTOWN, MA 02472                    BOSTON, MA 02241-5615
WATERTOWN, MA 02472
ATHENS ORTHOPEDIC CLINICCase
                         PA  20-10766-BLS
                                     ATHERLEY,Doc 6
                                               KAYLA     Filed 04/07/20      PageATHERTON,
                                                                                  97 of 1969
                                                                                           PATENA
1765 OLD WEST BRD ST                 47 S MAIN                                   910 BUTTER RIDGE RD
BLDG 2 STE 200                       VERNON, UT 84080                            ULLIN, IL 62992-0000
ATHENS, GA 30606




ATILES, DAVID                         ATIS ELEVATOR INSPECTIONS LLC              ATKENSON MDSC, PAUL T.
3040 N HAUSSEN CT                     2127 INNERBELT BUS CENTER DR               14640 JOHN HUMPHREY DR
CHICAGO, IL 60618                     ST LOUIS, MO 63114-5760                    ORLAND PARK, IL 60462




ATKIN, LEANN                          ATKIN, SALLY J.                            ATKIN, SID B.
1367 HARBOUR DR                       ADDRESS ON FILE                            ADDRESS ON FILE
MESQUITE, NV 89027




ATKINS, ANGELICA                      ATKINS, DELORES                            ATKINS, KENNY S.
26 E BRAYTON ST                       P.O. BOX 653                               ADDRESS ON FILE
CHICAGO, IL 60628                     PARKIN, AR 72373




ATKINS, LINDSAY B.                    ATKINS, MILTON L                           ATKINS, SANDI E.
3320 PHAETON CT.                      P.O. BOX 653                               ADDRESS ON FILE
PLANO, TX 75023                       PARKIN, AR 72373




ATKINS, SONJA L.                      ATKINS, VIRGINIA CAROLY                    ATKINSON, BETTY E.
1051 ACORN COURT                      1329 COUNTY RD 60                          300 PARKWAY PL
WATKINSVILLE, GA 30677                PISGAH, AL 35765-6441                      MONROE, GA 30655-3101




ATKINSON, DORRIS                      ATKINSON, ERIKA                            ATKINSON, JENNIFER
100 A INDEPENDENCE BLVD               1708 CASTLEBERRY DR                        ADDRESS ON FILE
GREENVILLE, NC 27834                  MARION, IL 62959




ATKINSON, MICHAEL                     ATKINSON, NATASHA Y.                       ATKINSON, STEPHANIE
1058 TAYLOR CT                        1013 WALKER ST                             ADDRESS ON FILE
WINDER, GA 30680                      HELENA, AR 72342




ATKINSON, STEPHANIE                   ATKINSON, STEPHANIE                        ATLANTA PLUMBERS & STEAMFITTERS H &
440 KINGFISHER AVE                    ADDRESS ON FILE                            W FUND
EVANSTON, WY 82930                                                               374 MAYNARD TERRACE SE
                                                                                 ATLANTA, GA 30316




ATLANTIC COASTAL SUPPLY, INC          ATLANTIC HOSPITALIST PHYSICIANS, LLP       ATLANTIC IMAGING CORP.
P.O. BOX 2887                         ATTN:ACCTS REC / TSG RESOURCES INC         P.O. BOX 54803
GREENVILLE, NC 27836                  P.O. BOX 677979                            ATLANTA, GA 30308
                                      DALLAS, TX 75267-7979
ATLANTIC IMAGING CORP.     Case 20-10766-BLS    Doc 6 SOLUTIONS
                                        ATLAS BUSINESS  Filed 04/07/20
                                                                INC           PageATLAS
                                                                                   98 ofMEDSTAFF
                                                                                         1969 LLC
POB 54803                                P.O. BOX 9013                            11506 NICHOLAS ST
ATLANTA, GA 30308                        FARGO, ND 58106-9013                     STE 105
                                                                                  OMAHA, NE 68154




ATLAS SUPPLY CO, INC                     ATLAS VAN LINES INC                      ATLEE LAS VEGAS LTD
3820 DR M L KING DR                      P.O. BOX 952340                          970 ISOM RD
ST LOUIS, MO 63113                       ST LOUIS, MO 63195-2340                  SAN ANTONIO, TX 78216




ATLER-WILKINSON, TWYLA K.                ATMOS ENERGY                             ATMOS ENERGY
3007 RONNIES RD                          5430 LYNDON B JOHNSON FWY                P.O. BOX 790311
LAS VEGAS, NM 87701                      DALLAS, TX 75230                         ST. LOUIS, MO 63179-0311




ATOS IT SOLUTIONS AND SERVICES INC       ATOS IT SOLUTIONS AND SERVICES INC       ATRICURE INC
4851 REGENT BLVD                         PYRAMID HEALTHCARE SOLUTIONS             DPT CH 19447
IRVING, TX 75063                         P.O. BOX 78000 - DEPT 772066             PALATINE, IL 60055-9447
                                         DETROIT, MI 48278-1177




ATRICURE, INC                            ATRIO HEALTH PLANS                       ATS FACILITY SYSTEMS INC
DEPT CH 19447                            P.O. BOX 8030                            690 N MERIDIAN RD
PALATINE, IL 60055-9447                  KALISPELL, MT 59904                      STE 108
                                                                                  KALISPELL, MT 59901




ATS FACILITY SYSTEMS INC                 ATS FACILITY SYSTEMS                     ATS TEST & BALANCE
P.O. BOX 94600                           P.O. BOX 94600                           2856 CELA RD
SEATTLE, WA 98124-6900                   SEATTLE, WA 98124-6900                   MEMPHIS, TN 38128




ATTARD, SARA                             ATTENTION 2 DETAIL                       ATTERBERRY, JACKLYNN
15533 MORGANTON HWY                      3708 STATE ROUTE 3                       ADDRESS ON FILE
MORGANTON, GA 30560                      RED BUD, IL 62278




ATTIG, SUE A.                            ATTUNE MEDICAL                           ATTWOOD, STEVE A.
199 ROUSH RD                             3440 S DEARBORN ST 215-S                 305 PALM AVE
NORTHUMBERLAND, PA 17857                 CHICAGO, IL 60616                        BARSTOW, CA 92311-0000




ATUL PATEL                               ATVS AND MORE INC DBA                    ATWATER, KATHY
183 SUMMER LINE RIDGE                    SOUTHERN ILLINOIS MOTORSPORTS            1085 HOLIDAY DR APT 1612
OFALLON, IL 62269                        2200 WEST RAMADA LN                      FORREST CITY, AR 72335
                                         CARBONDALE, IL 62901




ATWATER, LORIE                           ATWELL, KIMBERLEY M.                     ATWILL, NANCY
863 YATES ST                             ADDRESS ON FILE                          512 WELL AVE
GALESBURG, IL 61401                                                               FULTON, KY 42041
ATWOOD, ALFRED            Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                       ATZEFF, KRISTOPHER                    PageAU,
                                                                                  99AZUCENA
                                                                                     of 1969
5 ORVHID CT                             540 E NORTH AVE                          1603 S KIPLING DR
EDWARDSVILLE, IL 62025                  LAKE BLUFF, IL 60044                     DEMING, NM 88030




AUA HOLDINGS, LLC                       AUBERTIN, KEVIN                          AUBREY MAGEE
4600 MEMORIAL DR                        P.O. BOX 775                             186 WILLOW LN
STE W3                                  NORTHPORT, WA 99157                      KNOXVILLE, IL 61448
BELLEVILLE, IL 62226




AUBRY, SHALISSA                         AUBUSCHON, BLAKE C.                      AUBUSCHON, DANIELLE L.
434 S COLEMAN                           1201 ROBERT DR                           316 N MARKET
TOOELE, UT 84074                        MARYVILLE, IL 62062                      WATERLOO, IL 62298




AUD, DAVID                              AUD, VIRGINIA                            AUDIT ASSURANCE SERVICES LLC
P.O. BOX 443                            P.O. BOX 26                              P.O. BOX 160162
EQUALITY, IL 62934                      498 MCDUFFY                              ATTN: JEFF KENDIG
                                        EQUALITY, IL 62934                       NASHVILLE, TN 37216




AUDIT MICROCONTROLS, INC                AUDITOR OF STATE OF UNCLAIMED            AUDRA EARLE DESCALZI - ICEO
222 TECHNOLOGY PARKWAY                  PROPERTY DIVISION                        BARSTOW COMMUNITY HOSPITAL
EATONTON, GA 31024                      ATTN: ANDREA LEA, AUDITOR OF STATE       820 EAST MOUNTAIN VIEW ST
                                        UNCLAIMED PROPERTY DIVISION              BARSTOW, CA 92311
                                        1401 WEST CAPITOL AVE
                                        LITTLE ROCK, AR 72201

AUDREY KANE                             AUDREY KANE                              AUER, CAMBER M.
310 COUNTRY VILLAGE DR                  C/O HOLLIE L WIELAND, SEARS &            ADDRESS ON FILE
LAMAR, CO 815052                        ASSOCIATES PC
                                        2 N CASCADE AVE, STE 1250
                                        COLORADO SPRINGS, CO 80903



AUER, JUDITH A.                         AUFDENGARTEN, JORDYN                     AUGHNEY, JACKI
ADDRESS ON FILE                         ADDRESS ON FILE                          1484 SANCTUARY RDG
                                                                                 MESQUITE, NV 89027-1831




AUGSPURGER, ROBERT                      AUGUST GARDEN, THE                       AUGUSTA HEALTH SYSTEM, LLC
2162 UNIV COMMONS DR SE                 1300 NIEDRINGHAUS                        1573 MALLORY LN, STE 100
MASSILLON, OH 44646                     GRANITE CITY, IL 62040                   BRENTWOOD, TN 37027




AUGUSTA HOSPITAL, LLC                   AUGUSTA PHYSICIAN SERVICES, LLC          AUGUSTA, DOROTHY
1209 ORANGE ST                          1209 ORANGE ST                           553 WEST 125TH PL
WILMINGTON, DE 19801                    WILMINGTON, DE 19801                     CHICAGO, IL 60628




AUGUSTA-MORRIS, LUANA                   AUGUSTINE, ADAM                          AUGUSTYNIAK, PATRICIA
22600 GALLANT FOX RD                    4105 GEORGE BUCHANAN DR                  11355 S LAWNDALE
MONTEREY, CA 93940                      LA VERGNE, TN 37086                      CHICAGO, IL 60655
AULT, CYNTHIA             Case 20-10766-BLS    Doc 6
                                        AULTCARE            Filed 04/07/20   Page AULTMAN
                                                                                  100 of 1969
                                                                                          HOSPITAL
157 MCJUNKINS RD                        P.O. BOX 6910                             2600 6TH ST SW
TURTLETOWN, TN 37391                    CANTON, OH 44709                          CANTON, OH 44710




AUMAN SARAH S                           AUMILLER, ROBERT                          AUNE, JOSEPH F.
101 HELLS HOLLOW WAY                    ADDRESS ON FILE                           103 W 4300 N
BLUE RIDGE, GA 30513                                                              PLEASANT VIEW UT, UT 84414




AUNGST ST, ROBERT L.                    AUREUS NURSING LLC                        AUREUS NURSING LLC
241 E KELLER ST                         P.O. BOX 3037                             P.O. BOX 3037
LOCK HAVEN, PA 17745                    OMAHA, NE 68103                           OMAHA, NE 68103-0037




AUREUS RADIOLOGY LLC                    AUREUS RADIOLOGY LLC                      AURORA MEDICAL GROUP ILLINOIS
C&A PLAZA 13609 CALIFORNIA ST           P.O. BOX 3037                             LTD/VIVEK ARORA MD
STE 200                                 OMAHA, NE 68103-0037                      45 TOWER CT.
OMAHA, NE 68154-5260                                                              STE C
                                                                                  GURNEE, IL 60031



AUSELELIA, REBECCA                      AUSTEN SIMULATION CTR, THE                AUSTIN MAY
4068 ISLE CR NW                         ATTN B CUCKLER                            P.O. BOX 1170
MASSILLON, OH 44646                     47 NORTH MAIN ST                          LOGANDALE, NV 89021
                                        AKRON, OH 44308




AUSTIN MEDICAL VENTURES INC             AUSTIN MONTGOMERY                         AUSTIN SCOTT TIMOTHY
3011 CENTRE OAK WAY                     ADDRESS ON FILE                           36234 RICHARDSON GAP RD
SUITE 102                                                                         P.O. BOX 196
GERMANTOWN, TN 38138-6303                                                         JEFFERSON, OR 97352




AUSTIN, ABBY                            AUSTIN, ALLISON                           AUSTIN, ASHLEA M.
1700 DEW DROP DR                        1152 E 6TH AVE                            ADDRESS ON FILE
MARION, IL 62959                        MONMOUTH, IL 61462




AUSTIN, BRANDI N.                       AUSTIN, DAWN                              AUSTIN, DOUGLAS J., MD
P.O. BOX 1432                           1021 E 100TH PL                           ADDRESS ON FILE
CENTRALIA, IL 62801                     CHICAGO, IL 60628




AUSTIN, FELICIA C.                      AUSTIN, GARY R.                           AUSTIN, JERRY J.
101 S ROBERSON ST                       700 E. 16TH                               731 COUNTY RD 358
ROBERSONVILLE, NC 27871                 BIG SPRING, TX 79720                      GROVEOAK, AL 35975-4966




AUSTIN, JUANITA                         AUSTIN, KATHY C.                          AUSTIN, KATLYN
1570 COBURN RD                          ADDRESS ON FILE                           1868 ALCOVY STATION RD
BROWNSVILLE, TN 38012                                                             COVINGTON, GA 30014
AUSTIN, LINDA A.       Case 20-10766-BLS     DocM.6
                                     AUSTIN, LISA         Filed 04/07/20   Page AUSTIN,
                                                                                101 ofLYERLA
                                                                                        1969
ADDRESS ON FILE                       ADDRESS ON FILE                           49 BROOKWOOD DR
                                                                                MCCLURE, IL 62957-0000




AUSTIN, MASHONNA L.                   AUSTIN, MICHAEL                           AUSTIN, NANCY
ADDRESS ON FILE                       ADDRESS ON FILE                           925 STATE ROUTE 37 N
                                                                                BUNCOMBE, IL 62912-2205




AUSTIN, OLIVE R.                      AUSTIN, SHEILA                            AUSTIN, TERRELL C.
405 TOWER RD                          116 GRASMERE CT                           12342 S BISHOP ST 2-N
MCKENZIE, TN 38201                    PRATTVILLE, AL 36066                      CALUMET PARK, IL 60827




AUSTIN, VANESSA G.                    AUTHORIZED ELEVATOR                       AUTO CREDIT OF SOUTHERN IL
213 DAVIS RD                          1807 BELT WAY DR                          1100 WEST DEYOUNG
BIG SPRING, TX 79720                  ST. LOUIS, MO 63114                       MARION, IL 62959




AUTO DESIGNS BY SEBASTIAN INC         AUTO OWNERS INSURANCE                     AUTO SERVICE EXPRESS
604 S MARKET ST                       PEORIA BRANCH CLAIM OFFICE                1051 MOHAWK BLVD
WATERLOO, IL 62298                    P.O. BOX 3337                             SPRINGFIELD, OR 97477
                                      PEORIA, IL 61612-3337




AUTO TIRE AND PARTS                   AUTO TIRE AND PARTS                       AUTOLOGOUS BLOOD RESOURCES INC
515 SOUTH MAIN                        88 RICHVIEW DR                            P.O. BOX 649
RED BUD, IL 62278                     ANNA, IL 62906                            LAWRENCEVILLE, GA 30046-0649




AUTOMATED PACKAGING SYSTEMS           AUTOMATIC CONTROLS EQUIP SYS              AUTOMATIC DOOR SALES & SERVICE
10175 PHILLIPP PARKWAY                1585 FENCORP DRIVE                        3013 CORPORATE CENTER DR
STREETSBORO, OH 44241                 FENTON, MO 63026-0000                     BRYANT, AR 72022




AUTOMATIC DOOR SYSTEMS LLC            AUTOMATIC DOOR SYSTEMS LLC                AUTOMATION PARTS WAREHOUSE
5002 HADLEY ST                        9001 LENEXA DR                            P.O. BOX 6659
OVERLAND PARK, KS 66203               OVERLAND PARK, KS 66215                   GLENDALE, AZ 85312-6659




AUTOMOTIVE CREDIT CORPORATION         AUTONATION                                AUTOZONE INC
1990 E ALGONQUIN RD, STE 180          2515 MT MORIAH RD                         P.O. BOX 116067
SCHAUMBURG, IL 60173                  MEMPHIS, TN 38115                         ATLANTA, GA 30368-6067




AUTOZONE STORES LLC                   AUTOZONE                                  AUTREY, DONNA
P.O. BOX 116067                       671 WEST CHURCH ST                        22827 RIDGEWAY AVE
ATLANTA, GA 30368                     LEXINGTON, TN 38351                       RICHTON PARK, IL 60471
AUTUMN HULGAN               Case 20-10766-BLS
                                          AUTUMN Doc  6 Filed 04/07/20
                                                 L ALTON                    Page AUTUMN
                                                                                 102 of RIDGE
                                                                                        1969SLF
ADDRESS ON FILE                           190 72ND ST                            BOX 1328
                                          BIG SPRING, TX 79720-0000              VIENNA, IL 62995




AUVIL, PENNY                              AUX. GIFT SHOP                         AUXIER, AMANDA
P.O. BOX 1416                             820 E.MOUNTAIN VIEW ST                 ADDRESS ON FILE
MURPHY, NC 28906                          BARSTOW, CA 92311




AUXIER, AMANDA                            AUXIER, KATHYE                         AUXIER, LORNA
ADDRESS ON FILE                           ADDRESS ON FILE                        ADDRESS ON FILE




AUXLIARY/FRH                              AVADANIAN, GREGG                       AVAIL DIAGNOSTICS, LLC
2855 OLD HWY 5                            58 COVERED BRIDGE RD                   5673 PEACHTREE DUNWOODY RD NE
BLUE RIDGE, GA 30513                      BLAIRSVILLE, GA 30512                  STE 300
                                                                                 ATLANTA, GA 30342




AVALOS, DEBORAH D.                        AVALOS, MARISOL                        AVALOS, MISTY A.
18156 CAPRI ST                            ADDRESS ON FILE                        ADDRESS ON FILE
HESPERIA, CA 92345




AVANOS MEDICAL SALES LLC                  AVANOS MEDICAL SALES LLC               AVANOS MEDICAL SALES, LLC
5405 WINDWARD PARKWAY                     P.O. BOX 732583                        P.O. BOX 732583
STE 100 SOUTH                             DALLAS, TX 75373-2583                  DALLAS, TX 75373-2583
ALPHARETTA, GA 30004




AVANOS MEDICAL, INC                       AVANS, ALICIA                          AVANT HEALTHCARE PROFESSIONALS LLC
P.O. BOX 732583                           3526 STEFFISBURG DR                    1211 SEMORAN BLVD
DALLAS, TX 75373-2583                     NASHVILLE, TN 37211                    STE 227
                                                                                 CASSELBERRY, FL 32707-0000




AVANT, DANNY                              AVANT, DAVID                           AVANT, THOMAS
1510 W LEATHERWOOD RD                     P.O. BOX 742                           55 LEE COUNTY RD 236
BIG SPRING, TX 79720-0000                 FORREST CITY, AR 72336                 MARIANNA, AR 72360




AVANTE ULTRASOUND                         AVELON HEALTH CARE                     AVENARIUS, JUDY M.
1040 DERITA RD                            206 NORTH 2100 WEST                    5185 HWY 708 N
STE A                                     SALT LAKE CITY, UT 84116               BEATYVILLE, KY 41311
CONCORD, NC 28027




AVERA HEALTH                              AVERA MCKENNAN                         AVERBUCH, DANA
3900 WEST AVERA DR                        AVERA MED GRP OCCUPATIONAL MEDICINE    20 MUIRFIELD LN
SIOUX FALLS, SD 57108                     P.O. BOX 86370                         HUNTSVILLE, AL 35802
                                          SIOUX FALLS, SD 57118
AVERETT, DENISE         Case 20-10766-BLS
                                      AVERITT Doc 6 INC.
                                              EXPRESS Filed 04/07/20     Page AVERY
                                                                              103 of  1969 INC.
                                                                                    PARTNERS,
ADDRESS ON FILE                        P.O. BOX 3145                          1805 OLD ALABAMA RD
                                       COOKEVILLE, TN 38502-3145              STE 200
                                                                              ROSWELL, GA 30076-2230




AVERY PARTNERS, INC.                   AVERY, ELIZABETH                       AVERY, LEANNE M.
1805 OLD ALABAMA ROAD                  84 W MAIN ST                           609 BENTON ST.
SUITE 200                              P.O. BOX 383                           VALLEY PARK, MO 63088
ROSWELL, GA 30076                      GRANTSVILLE, UT 84029




AVERY, MICHAEL JR                      AVERY, SARAH M.                        AVIACODE INC
746 W SAGEWOOD CIR                     ADDRESS ON FILE                        DEPT CH 19787
GRANTSVILLE, UT 84029                                                         PALATINE, IL 60055-9787




AVILA BURCIAGA, JUAN                   AVILA ZAMBRANO, REFUGIO                AVILA, JESSIE M.
P.O. BOX 1913                          2330 W 121 PL                          P.O. BOX 2593
PRESIDIO, TX 79845                     BLUE ISLAND, IL 60406                  WATSONVILLE, CA 95077




AVILA, JOSE                            AVILA, KIMBERLY                        AVILA, ROGINA ANNE M.
2235 W ORCHARD ST                      5935 N ELIZABETH ST                    ADDRESS ON FILE
BLUE ISLAND, IL 60406                  STANSBURY PARK, UT 84074




AVILA, ROSALIA                         AVILA, SULEMA                          AVILA-MILLER, JESSICA M.
2129 W 136TH ST                        P.O. BOX 1913                          2623 WILLOWBROOK LN UNIT 121
BLUE ISLAND, IL 60406                  PRESIDIO, TX 79845                     APTOS, CA 95003




AVILES, MARTHA                         AVINA, CYNTHIA                         AVIRETT, ALEXANDRA
3308 BRISTOL RD                        ADDRESS ON FILE                        2025 COUNTY RD 97
WAUKEGAN, IL 60087                                                            FORT PAYNE, AL 35968




AVIS, NELSON                           AVITA, LAURENCIO                       AVITAL, EINAV
1264 AUGUSTA AVE                       12201 S. HAMLIN AVE                    523 MIRAMAR DR
AUGUSTA, GA 30901                      ALSIP, IL 60803-1303                   SANTA CRUZ, CA 95060




AVITIA, SAUL                           AVITT, MARLENE                         AVIZION GLASS CORBIN
18919 W OAK AVE                        206 N HAUGHTON ST                      2410 SOUTH MAIN ST
MUNDELEIN, IL 60060                    WILLIAMSTON, NC 27892                  CORBIN, KY 40701




AVMED HEALTH PLANS                     AVMED                                  AVR
P.O. BOX 749                           P.O. BOX 569004                        37092 EAGLE WAY
GAINESVILLE, FL 32602                  ATTN: CLAIMS DEPT/RECOVERY UNIT        IL HOSP ASSOC
                                       MIAMI, FL 33256-9887                   CHICAGO, IL 60678-1370
AVT LEASING FUND III LLC Case 20-10766-BLS     Doc 6 Filed
                                       AWAKE TECHNOLOGIES   04/07/20
                                                          CORPORATION      Page AWAKE
                                                                                104 ofTECHNOLOGIES
                                                                                       1969
6995 UNION PARK CENTER, STE 400A       3060 W 13TH ST                           3060 W 13TH ST
COTTONWOOD HEIGHTS, UT 84047           CADILLAC, MI 49601                       CADILLAC, MI 49601




AWALT, KARA                           AWARDS NETWORK                            AWASOM, MARCELINE N.
1916 PINE ST                          P.O. BOX 100                              4 QUAIL FOREST LN
ELDORADO, IL 62930                    LA PORTE, IN 46352                        SAVANNAH, GA 31419




AWES, KARSHE                          AWHONN                                    AWHONN
ADDRESS ON FILE                       20000 L ST NW STE 740                     6704 SE 21ST AVE
                                      WASHINGTON, DC 20036                      PORTLAND, OR 97202




AX, ANGIE                             AXA XL INSURANCE                          AXA XL INSURANCE
5104 BUENA                            100 CONSTITUTION PLAZA, 15TH FLOOR        3340 PEACHTREE RD, NE, STE 2950
GRANITE CITY, IL 62040                HARTFORD, CT 06103                        ATLANTA, GA 30326




AXCELL, LISA M.                       AXE, CAROL                                AXEL & ASSOCIATES, INC
ADDRESS ON FILE                       6 SPRANKLE ST NE                          675 NORTH COURT SUITE 210
                                      NAVARRE, OH 44662                         PALATINE, IL 60067




AXEL & ASSOCIATES, INC                AXNICK, ELISABETH                         AXOGEN INC
675 NORTH COURT                       2050 GOODPASTURE LOOP 86                  13631 PROGRESS BLVD STE 400
STE 210                               EUGENE, OR 97401                          ALACHUA, FL 32615
PALATINE, IL 60067




AXOGEN                                AXTELL, STACEY                            AYA HEALTHCARE
P.O. BOX 123830                       105 S BESS AVE.                           DEPT. 3519
DEPT 3830                             MARISSA, IL 62257                         P.O. BOX 123519
DALLAS, TX 75312-3830                                                           DALLAS, TX 75312-3519




AYA HEALTHCARE, INC.                  AYALA, ANDREA                             AYALA, CECILIA
DEPT 3519                             ADDRESS ON FILE                           505 CIRVELO ST.
P.O. BOX 123519                                                                 WATSONVILLE, CA 95076
DALLAS, TX 75312-3519




AYALA, EDUARDO                        AYALA, JACQUELINE A.                      AYALA, JOSELUIS
5250 GRAND AVE                        1804 INDIANA CT                           813 FIELDSTONE DR
STE 14                                GALESBURG, IL 61401                       LAKE VILLA, IL 60046
GURNEE, IL 60031-1877




AYALA, JOSEPHINE K.                   AYALA, MARIA                              AYALA, MARISOL S.
ADDRESS ON FILE                       1602 LARK ST                              2263 PRAIRIE ST
                                      BIG SPRING, TX 79720                      BLUE ISLAND, IL 60406
AYALA, VALERIE         Case 20-10766-BLS     Doc 6 JOSEFINE
                                     AYALA-CLEMENTE,   Filed 04/07/20
                                                                A.      Page AYALAGONZALEZ,
                                                                             105 of 1969 FRANCISCO
180 YELLOW CREEK RD APT I            237 PACIFICA BLVD UNIT 206             1345 JUDGE PL
EVANSTON, WY 82930                   WATSONVILLE, CA 95076                  WAUKEGAN, IL 60085




AYARE, HANANE                         AYCOX, AIMEE                          AYDELETTE, JAMES
16834 SAYRE AVE                       2526 HI ROC CIRCLE                    1080 MOCKINGBIRD RD
TINLEY PARK, IL 60477                 CONYERS, GA 30012                     WILLIAMSTON, NC 27892




AYDELOTTE, CHRISTOPHER                AYE, NORMA                            AYERS JAMES
1327 N CEDARWOOD RD                   384 E BRIGHAM RD                      1415 SCHLENKER RD
TOOELE, UT 84074                      STANSBURY, UT 84074                   BUNCOMBE, IL 62912




AYERS, BETTY JO                       AYERS, BRANDY                         AYERS, JOYCE M.
ADDRESS ON FILE                       96 MAPLE CIRCLE DR                    129 WILLINGHAM ST
                                      DECATURVILLE, TN 38329                RAINSVILLE, AL 35986




AYERS, PAUL J                         AYERS, SPENCER                        AYERS, THOMAS
520 N MAIN ST                         ADDRESS ON FILE                       1240 MINERAL BLUFF HWY
DIX, IL 62830                                                               MINERAL BLUFF, GA 30559




AYLSWORTH, JAY                        AYLSWORTH, RUTH                       AYLWARD, BRIANNA
504 BARGRAVES BLVD                    504 BARGRAVES                         7228 155TH AVE
TROY, IL 62294                        TROY, IL 62294                        KENOSHA, WI 53142




AYLWARD, JANE                         AYLWARD, NED W.                       AYLWARD, WILLIAM
14620 SHERMAN AVE                     1111 EDGEWATER LN                     14620 SHERMAN AVE
POSEN, IL 60469                       ANTIOCH, IL 60002                     POSEN, IL 60469




AYRES HOTEL BARSTOW                   AYRES, SAMUEL C.                      AYRES, TASHA
2812 LENWOOD RD                       6025 57TH AVE                         ADDRESS ON FILE
BARSTOW, CA 92311                     KENOSHA, WI 53142




AYUKESONG, RICHARD M.                 AZAB, SHADI                           AZER MEDICAL SUPPLY INC
6 POTAWATOMIE TRAIL 3                 183 N EAST RIVER RD APT C3            156A E MAIN ST
INDIAN HEAD PARK, IL 60525            DES PLAINES, IL 60016                 GALESBURG, IL 61401




AZER MEDICAL SUPPLY INC               AZIYO MED, LLC                        AZUCENA, CELISARROYO
156A E MAIN STREET                    1100 OLD ELLIS RD                     408 RED ROCK DR
GALESBURG, IL 61401                   STE 1200                              LINDENHRUST, IL 60046
                                      ROSWELL, GA 30076
AZUL, CARLEEN G.           Case 20-10766-BLS    Doc 6
                                         AZURE WILBERT        Filed 04/07/20    Page AZZARELLO,
                                                                                     106 of 1969DEBORAH
ADDRESS ON FILE                           P.O. BOX 1062                              251 SOUTH NINETH
                                          BIG SPRING, TX 79720                       WOOD RIVER, IL 62095




AZZONE, HOLLY                             B &L ENGINEERING                           B & B ENTERPRISES
79 S OPLAINE RD                           1901 CARNEGIE AVE                          P.O. BOX 605
GURNEE, IL 60031                          STE Q                                      MCKENZIE, TN 38201
                                          SANTA ANA, CA 92705




B & B PLUMBING                            B & D SIGNS                                B & E ELECTRONICS INC
P.O. BOX 82                               3170 OLD HIGHWAY 51N                       3890 NORTH HIGHLAND AVE
FORREST CITY, AR 72336-0082               COBDEN, IL 62920                           JACKSON, TN 38305




B & L ENGINEERING                         B & S SERVICES                             B B & E BUILDING AND RENTAL, INC.
1901 CARNEGIE AVE STE 0                   P.O. BOX 420873                            P.O. BOX 120
SANTA ANA, CA 92705                       DEL RIO, TX 78842                          LOUISA, KY 41230




B BRAUN MEDICAL INC                       B N B ELECTRIC, INC.                       B PROPERTY GROUP LLC
P O BOX 780433                            P.O. BOX 1309                              701 12TH ST
PHILADELPHIA, PA 19178-0433               BIG SPRING, TX 79721-1309                  EVANSTON, WY 82930




B&C COMMUNICATIONS                        B. BRAUN INTERVENTIONAL SYSTEMS INC        B. BRAUN MEDICAL INC.
L-2787                                    P.O. BOX 780412                            P.O. BOX 536420
COLUMBUS, OH 43260-2787                   PHILADELPHIA, PA 19178-0412                PITTSBURGH, PA 15253




B. BRAUN MEDICAL INC.                     B. E. SMITH, INC.                          B.E.S.T. OPPORTUNITIES, INC.
P.O. BOX 780433                           9777 RIDGE DR                              22450 HEADQUARTERS DR
PHILADELPHIA, PA 19178-0433               STE 300                                    APPLE VALLEY, CA 92307
                                          LENEXA, KS 66219




B.E.S.T.                                  B.E.S.T.                                   B/N/G COURIER LLC
71 EISENHOWER LANE SOUTH                  71 EISENHOWER LN SOUTH                     6111 S 4000 W
LOMBARD, IL 60148                         (BIOMEDICAL ELECTRONICS)                   TAYLORSVILLE, UT 84118
                                          LOMBARD, IL 60148




BAADE, ANTHONY                            BAASIE, ROBERT W.                          BABB, DEBBIE
825 DUNBAR RD                             ADDRESS ON FILE                            ADDRESS ON FILE
MUNDELEIN, IL 60060-1160




BABB, DEBRA S.                            BABB, JASON E.                             BABB, JENNIFER
ADDRESS ON FILE                           ADDRESS ON FILE                            ADDRESS ON FILE
BABCOCK, BEAU C.         Case 20-10766-BLS   Doc
                                       BABCOCK,     6 Filed
                                                ELIZABETH C. 04/07/20     Page BABCOCK,
                                                                               107 of 1969
                                                                                        MIA
932 MARQUET WAY                         ADDRESS ON FILE                        271 BRIDLE LN
EUGENE, OR 97401                                                               STANSBURY, UT 84074




BABCOCK, SAMUEL                         BABCOCK, STEVEN W.                     BABCOCK, STEVEN
271 BRIDLE LN                           ADDRESS ON FILE                        ADDRESS ON FILE
STANSBURY, UT 84074




BABDUL-RAZZAQ REVOCABLE TRUST           BABENCO, KRISTINE                      BABIN, PEGGY A.
                                        2408 W HWY 90 38                       6373 GROTON ST NW APT D4
                                        ALPINE, TX 79830                       CANTON, OH 44708




BABINGTON, JOHN D.                      BABINGTON, JULIE                       BABRAK, CRISTAL L.
18 FOREST HILL LN                       18 FOREST HILL LN                      1408 TUCSON RD
EDWARDSVILLE, IL 62025                  EDWARDSVILLE, IL 62025                 BIG SPRING, TX 79720




BABU, MOLLYKUTTY                        BABWARI, BETTY                         BABY DOLLS FOOD TRUCK
ADDRESS ON FILE                         30 LEDFORD LN                          3600 WEST HIGHWAY 90 8
                                        ELLIJAY, GA 30540                      ALPINE, TX 79830




BABY FRIENDLY USA                       BACA, AMANDA L.                        BACA, ANNASTASIA M.
125 WOLF RD STE 402                     ADDRESS ON FILE                        ADDRESS ON FILE
ALBANY, NY 12205




BACA, ELOY                              BACA, FRANCINE L.                      BACA, LOUIE J.
201 SHERWOOD                            ADDRESS ON FILE                        215 CHICO DR
DEMING, NM 88030                                                               LAS VEGAS, NM 87701




BACA, MARIA G.                          BACA, STEVE                            BACANI, JOSELITO C.
P.O. BOX 454                            ADDRESS ON FILE                        418 SHADOW CREEK DR
ALPINE, TX 79831                                                               VERNON HILLS, IL 60061




BACCHETTI, PAMELA                       BACCUS TERMITE AND PEST CONTROL INC    BACH, TAMARA
43 CAMROSE GREEN                        P.O. BOX 1208                          105 CHEYENNE DR
MARYVILLE, IL 62062                     MONROE, GA 30655                       EVANSTON, WY 82930




BACH, TAMARA                            BACHAN, AMI J.                         BACHELOR, JAMES
105 CHEYENNE                            7275 MESA DR                           11197 E IDLEWOOD RD
EVANSTON, WY 82930                      APTOS, CA 95003                        MT VERNON, IL 62864
BACHLER, LEVI              Case 20-10766-BLS
                                         BACHTEL,Doc
                                                  ANNA6      Filed 04/07/20   Page BACK,
                                                                                   108 of   1969
                                                                                         KRISTA
682 S 1050 W                              10303 HUNTERS WAY SW                     ADDRESS ON FILE
TOOELE, UT 84074                          MASSILLON, OH 44647




BACK, LINDA                               BACKER, JOY                              BACKES, DIANE M.
P.O. BOX 364                              1015 POLK ST.                            1221 MAIN ST P.O. BOX 41
JACKSON, KY 41339                         EUGENE, OR 97402                         MAEYSTOWN, IL 62256




BACKFLOW SOLUTIONS                        BACKSTOPPERS                             BACKUP THERAPY STAFFING LLC
1127 BRDWAY RD N                          2330 MADISON AVE                         P.O. BOX 70331
LEXINGTON, TN 38351                       GRANITE CITY, IL 62040                   SPRINGFIELD, OR 97475




BACON, GAROLD                             BACON, SUMMER                            BAD EVENTS
53 DIETERICH AVE                          340 BASS RD                              P.O. BOX 1629
GALESBURG, IL 61401                       HUGHES, AR 72348                         BIG SPRING, TX 79721




BADARNZA, JOHN, JR.                       BADE ROOFING, INC                        BADER, STEPHANIE
OR WANDA BADARNZA                         3806 LEMAY FERRY RD                      11317 S CENTRAL PARK AVE
2338 STONER AVE NE                        ST. LOUIS, MO 63125                      CHICAGO, IL 60655-3415
MASSILLON, OH 44646-4937




BADERTSCHER, MELISSA                      BADGEPASS INC                            BADGER MUTUAL
ADDRESS ON FILE                           280 TRACE COLONY PARK                    P.O. BOX 2092
                                          RIDGELAND, MS 39157                      MILWAUKEE, WI 53201




BADGER TOUR AND TRAVEL                    BADGETT, MELISSA                         BADIE BRANDON R
6759 WEST GREENFIELD AVE                  2721 STRATFORD LN                        10910 S BEVERLY AVE
WEST ALLIS, WI 53214                      GRANITE CITY, IL 62040                   CHICAGO, IL 60643




BADIE, KATIE                              BADMAN, RONALD E.                        BADZIOCH, KRISTEN
12404 CARPENTER ST                        4179 SNYDERTOWN RD                       3128 W WALTON ST UNIT 1
CALUMET PARK, IL 60827                    DANVILLE, PA 17821                       CHICAGO, IL 60622




BAER STEPHEN                              BAESSLER, RALPH                          BAETZ, NORMAN
37538 N COLUMBUS AVE                      419 CHALET DR                            5279 BECK RD
LAKE VILLA, IL 60046                      MESQUITE, NV 89027                       RED BUD, IL 62278




BAEZ, BIANCA                              BAEZA, ATANACIO C.                       BAEZA, DORIS
2240 COUNTY RD 50                         P.O. BOX 1556                            ADDRESS ON FILE
LEESBURG, AL 35983                        ALPINE, TX 79830
BAEZA, HERMALINDA        Case 20-10766-BLS     Doc 6
                                       BAEZA, MARIA          Filed 04/07/20   Page BAEZALOPEZ,
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900 S. SANTA FE 61                      2600 CRESTLINE APT 2                       P.O. BOX 2172
DEMING, NM 88030                        BIG SPRING, TX 79720                       PRESIDIO, TX 79845




BAGAT, INC.                             BAGELMAN, TINA                             BAGGERLY, LORI L.
P.O. BOX 292148                         2004 GREENLAND RD                          808 N. 11TH
KETTERING, OH 45429                     BLYTHE, GA 30805                           ALPINE, TX 79830




BAGGETT, TODD L.                        BAGGOT, AMRY                               BAGHERI, TONI L.
505 RICHARDSON ST                       8003 KILLEEN ST NW                         ADDRESS ON FILE
BALD KNOB, AR 72010                     MASSILLON, OH 44646-9557




BAGHMANLI, ZIYA                         BAGI LAURA L                               BAGNONI, DANNY M.
ADDRESS ON FILE                         2471 WATERMAN ST                           237 FARMINGTON DR W
                                        GRANITE CITY, IL 62040                     EVANS, GA 30809




BAGS OF LOVE                            BAGWELL ARTHUR O JR                        BAGWELL, AMY M.
1052 GREEN ACRES RD                     300 N CEDAR ST                             ADDRESS ON FILE
EUGENE, OR 97408                        ABINGDON, IL 61410




BAGWELL, ARTHUR O., JR                  BAGWELL, CLAIRE M.                         BAGWELL, HANNAH R.
300 N CEDAR ST                          36682 WHEELER RD                           1302 KARRIS LN APT C
ABINGDON, IL 61410                      PLEASANT HILL, OR 97455                    MARION, IL 62959




BAGWELL, PAMELA GILBERT                 BAGWILL, JACKIE M.                         BAH, JEFFREY
1078 QUAKER VALLEY DR                   ADDRESS ON FILE                            P.O. BOX 248
TRAVERSE CITY, MI 49686                                                            UWC HEALTH CLINIC
                                                                                   MONTEZUMA, NM 87731




BAHN, BELINDA                           BAHRAINWALA, MURTUZA                       BAHRE, SONIA
408 ARROWHEAD                           ADDRESS ON FILE                            1102 RANDER RD
TROY, IL 62294                                                                     MURPHY, NC 28906




BAHRINGER, WARREN III                   BAIG, KHURSHEED                            BAILES, CRAIG & YON, PLLC
2122 S SILVER                           36836 N DEERVIEW DR                        P.O. BOX 1926
P.O. BOX 2628                           LAKE VILLA, IL 60046                       HUNTINGTON, WV 25720
DEMING, NM 88031




BAILES, MARY                            BAILEY & GLASSER LLP                       BAILEY BOILER WORKS, INC
72 N HELMS ST                           209 CAPITOL ST                             1103 FM 1585
LEXINGTON, TN 38351                     CHARLESTON, WV 25301                       LUBBOCK, TX 79423
BAILEY, ADNITA L AND DAVIDCase
                           E   20-10766-BLS     Doc 6 N. Filed 04/07/20
                                        BAILEY, AMANDA                    Page BAILEY,
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                                                                                       1969
                                        ADDRESS ON FILE                        ADDRESS ON FILE




BAILEY, AMANDA                         BAILEY, ANGELA JILL                     BAILEY, AUSTIN
ADDRESS ON FILE                        245 COUNTY RD 53                        ADDRESS ON FILE
                                       CEDAR BLUFF, AL 35959-4636




BAILEY, BARBARA SHELTON                BAILEY, BENNY C.                        BAILEY, BETTY
                                       133 CHAPLIN RD                          264 COUNTY RD 682
                                       LOUISA, KY 41230                        CEDAR BLUFF, AL 35959




BAILEY, BRIAN C.                       BAILEY, CHERYL                          BAILEY, DAISY
ADDRESS ON FILE                        1409 CREEK VIEW DR                      627 SUMMIT AVE
                                       MONROE, GA 30655                        COLLINSVILLE, IL 62234




BAILEY, DAVID S.                       BAILEY, DAWN                            BAILEY, DENISE D.
ADDRESS ON FILE                        2970 SAINT ELMO AVE NE                  6751 COLORADO CT RIO RANCHO
                                       CANTON, OH 44714                        RIO RANCHO, NM 87144




BAILEY, DONNA L.                       BAILEY, DOROTHY J.                      BAILEY, DOUGLAS
ADDRESS ON FILE                        12534 S WENTWORTH                       529 GRAY STREET
                                       CHICAGO, IL 60628                       BLUE RIDGE, GA 30513




BAILEY, DR. THOMAS                     BAILEY, ELDON                           BAILEY, ELOIS
P.O. BOX 2660                          6755 B ST                               116 OLD GIBSON RD
WEST HELENA, AR 72390                  SPRINGFIELD, OR 97478                   HAMLET, NC 28345




BAILEY, EMANUELLE                      BAILEY, ERIN                            BAILEY, ETHEL
518 NOTH 17TH                          202 NORTH CHURCH ST                     320 GLEN IRIS DR
WEST MEMPHIS, AR 72301                 PITTSBURG, IL 62974                     MONROE, GA 30655




BAILEY, HAILEY B.                      BAILEY, HEATHER D.                      BAILEY, HOSICK
423 FLANAGAN ACRES RD                  ADDRESS ON FILE                         ADDRESS ON FILE
LEXINGTON, TN 38351




BAILEY, JERA L.                        BAILEY, JOAN                            BAILEY, JOSHUA
3949 ROSE SPRINGS RD                   10734 S EBERHART                        ADDRESS ON FILE
ERDA, UT 84074                         CHICAGO, IL 60628
BAILEY, KELLE           Case 20-10766-BLS     Doc 6A.
                                      BAILEY, KERRY        Filed 04/07/20   Page BAILEY,
                                                                                 111 ofKIMBERLY
                                                                                         1969 L.
3400 PILLOWVILLE-GLEASON RD           ADDRESS ON FILE                            2187 ETHRIDGE RD
GLEASON, TN 38229                                                                JEFFERSON, GA 30549




BAILEY, LEANNE M.                     BAILEY, MELONIE A.                         BAILEY, NAOMI
ADDRESS ON FILE                       ADDRESS ON FILE                            27 BEHLER RD
                                                                                 WATSONVILLE, CA 95076




BAILEY, NATASHA L.                    BAILEY, NOEL O.                            BAILEY, PATRICIA
ADDRESS ON FILE                       10 GLORY LN                                ADDRESS ON FILE
                                      GRANITE CITY, IL 62040




BAILEY, PHYLIS                        BAILEY, RANDALL                            BAILEY, RICHARD PRESTON
2347 TIMBER RIDGE                     3400 PILLOWVILLE GLEASON RD                4863 CAMELLIA ST
ST. JACOB, IL 62281                   GLEASON, TN 38229-6725                     SPRINGFIELD, OR 97478




BAILEY, SABRA                         BAILEY, SHEENA                             BAILEY, SHERI
206 LANDSDOWNE AVE                    436 MANISTEE                               1305 JEFFERY RD
GRAYSON, KY 41143                     CALUMET CITY, IL 60409                     BIG SPRING, TX 79720




BAILEY, SHERILEE                      BAILEY, STEPHANIE C.                       BAILEY, SUSAN
ADDRESS ON FILE                       5 RIVIERA DR                               ADDRESS ON FILE
                                      GRANITE CITY, IL 62040




BAILEY, TENAL                         BAILEY, TERRY                              BAILEY, TREVE
549 COUNTY RD 241                     378 SHAW AVE NE                            3949 ROSE SPRINGS RD
HENAGAR, AL 35978                     MASSILLON, OH 44646                        ERDA, UT 84074




BAILEY, WILLARD                       BAILEY, WILLIAM J.                         BAILEY, ZACHARY A.
164 PLEDGER HARBOR RD                 ADDRESS ON FILE                            ADDRESS ON FILE
COLUMBIA, NC 27925




BAILEY-PROPHETE, JANICE K.            BAIMA, KATHERINE A.                        BAIN, JAMIE L.
ADDRESS ON FILE                       400 SUNSET COURT                           ADDRESS ON FILE
                                      STAUNTON, IL 62088-1439




BAIN, JEANNIE L.                      BAIN, REBECCA                              BAINE INC.
ADDRESS ON FILE                       1925 HOT SPRINGS BLVD                      D/B/A BAINE ROOFING COMPANY
                                      LAS VEGAS, NM 87701                        P.O. BOX 383
                                                                                 CARBONDALE, IL 62903-0383
BAINE TERRY D            Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                       BAINE, TERRY                   Page BAINS
                                                                           112 of   1969
                                                                                 M.D., RUSHIM
316 KELLETT CIRCLE NE                  113 COUNTY RD 865                    1500 NATHAN LN
FORT PAYNE, AL 35967-0000              COLLINSVILLE, AL 35961               LIBERTYVILLE, IL 60048




BAIR, BRADLEY                        BAIR, JENELLE                          BAIR, TODD
4111 DIXON                           10945 KENTFIELD DR                     1798 KNOX RD 700E
BIG SPRING, TX 79720                 LEBANON, IL 62254                      GALESBURG, IL 61401




BAIRD, ANITA                         BAIRD, JOHN D.                         BAIRD, JOHN
300 ACKERMAN PL                      499 S. PARKSIDE AVE                    ADDRESS ON FILE
TROY, IL 62294                       ELMHURST, IL 60126




BAISDEN, BELINDA S.                  BAISDEN, COURTNEY N.                   BAISDEN, EDWARD
3003 OAK TREE LN                     ADDRESS ON FILE                        1958 JENNIES CREEK RD
HUNTINGTON, WV 25704                                                        KERMIT, WV 25674




BAISDEN, RACHEL S.                   BAITEY, SHONA                          BAIZA, CARINA V.
ADDRESS ON FILE                      1534 ASKA RD                           221 S. MARTIN AVE
                                     BLUE RIDGE, GA 30513                   WAUKEGAN, IL 60085




BAKER COMPANY INC, THE               BAKER DONELSON BEARMAN CALDWELL &      BAKER DONELSON BEARMAN CALDWELL &
P.O. BOX 324                         BERKOWITZ PC                           BERKOWITZ PC
CANAJOHARIE, NY 13317                MONARCH PLAZA                          P.O. BOX 190613
                                     3414 PEACHTREE RD NE, STE 1500         NASHVILLE, TN 37219
                                     ATLANTA, GA 30326



BAKER HEALTHCARE CONSULTING INC      BAKER II, KENNETH                      BAKER M.D., NORAH C.
P.O. BOX 771910                      ADDRESS ON FILE                        110 LINCOLN DR
DETROIT, MI 48277-1910                                                      WATERLOO, IL 62298




BAKER SHEA LYNN                      BAKER, ADRIE                           BAKER, AMY C.
32218 PRICEBORO DR                   153 SALOLI WAY                         ADDRESS ON FILE
HARRISBURG, OR 97446                 LOUDEN, TN 37774




BAKER, AMY                           BAKER, ARDITH                          BAKER, AUDIE
ADDRESS ON FILE                      7118 BRETZ ST NW                       3200 PARKWAY
                                     MASSILLON, OH 44646                    BIG SPRING, TX 79720




BAKER, AUDRA                         BAKER, BARRY GLEN                      BAKER, BERNECE
ADDRESS ON FILE                      2753 COUNTY RD 358                     62 JOSEPH LN
                                     PISGAH, AL 35765-7265                  JACKSON, KY 41339-9088
BAKER, BETTY             Case 20-10766-BLS      Doc 6
                                       BAKER, CARA         Filed 04/07/20   Page BAKER,
                                                                                 113 ofCAROL
                                                                                        1969ANN
P.O. BOX 373                           7555 N 2000TH RD                          1712 SALEM RD
SPRINGFIELD, OR 97478-6103             SCIOTA, IL 61475                          MT. VERNON, IL 62864




BAKER, CAROLYN L.                       BAKER, CASSANDRA                         BAKER, CHRISTOPHER
2653 TOM ODUM RD NW                     711 E 1ST ST                             4786 FREEDOM BLVD
MONROE, GA 30656-7814                   BECKEMEYER, IL 62219                     APTOS, CA 95003




BAKER, DANA                             BAKER, DESHEA                            BAKER, DOROTHY
2206 EDGEMERE RD                        ADDRESS ON FILE                          3117 ROWMONT RD SW
BIG SPRING, TX 79720                                                             MASSILLON, OH 44646-3841




BAKER, ERIC                             BAKER, FREDIA                            BAKER, GEORGE B.
470 WESTWOOD DR                         119 LIZZIE DEE LN                        30301 RIVERVIEW DR
LEXINGTON, TN 38351-0000                LEXINGTON, TN 38351                      JUNCTION CITY, OR 97448-9441




BAKER, GINA M.                          BAKER, GLENN                             BAKER, HEATHER L.
307 HAMMOCK RD SE                       915 BEATTYVILLE RD                       226 KORMAN AVE NE
PALM BAY, FL 32909                      JACKSON, KY 41339                        MASSILLON, OH 44646




BAKER, JAMES DANNY                      BAKER, JANE N.                           BAKER, JENNIFER L.
808 MURDOCK RD NE                       580 DUTY LN                              316 HARTS WAY
FORT PAYNE, AL 35967-7813               COBDEN, IL 62920                         MURPHY, NC 28906




BAKER, JENNIFER W.                      BAKER, JESSE L.                          BAKER, JESSICA
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




BAKER, JO                               BAKER, JO                                BAKER, KAMRYN
13476 BOWLING ALLEY RD                  ADDRESS ON FILE                          ADDRESS ON FILE
BENTON, IL 62812




BAKER, KATELYN M.                       BAKER, KELLY W.                          BAKER, KERA
912 OAKRIDGE DR                         3011 DAN PEELE RD                        1299 BERTHA HOWE AVE
MARYVILLE, IL 62062                     WILLIAMSTON, NC 27892                    MESQUITE, NV 89027




BAKER, KRISTEN                          BAKER, LISE                              BAKER, LORRAINE
485 PRIVATE RD 2188                     7380 SPOOKY HOLLOW RD NW                 12350 S HONORE ST
SOUTH POINT, OH 45680                   SUGARCREEK, OH 44681                     CALUMET PARK, IL 60827
BAKER, LUTHER            Case 20-10766-BLS     Doc C.
                                       BAKER, MARIA 6       Filed 04/07/20   Page BAKER,
                                                                                  114 ofMELISSA
                                                                                         1969 A.
3901 W 123RD ST                         ADDRESS ON FILE                           ADDRESS ON FILE
APT 3W
ALSIP, IL 60803




BAKER, MIKE D.                          BAKER, NANCY L.                           BAKER, NOAH
ADDRESS ON FILE                         928 WEST MAIN ST APT.H1                   1115 JUSTIN LN
                                        ALBERTVILLE, AL 35950-3836                ROBERSONVILLE, NC 27871




BAKER, PATRICK K                        BAKER, RACHELLE A.                        BAKER, RAYMOND
518 TERRACE LN                          350 SANTANA LN                            13471 LINCOLN ST
TOOELE, UT 84074                        APTOS, CA 95003                           NORTH LAWRENCE, OH 44666




BAKER, ROBERT W.                        BAKER, ROBERT                             BAKER, ROBERT
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




BAKER, ROBERT                           BAKER, SHAKENDRIA                         BAKER, SHAKENDRIA
ADDRESS ON FILE                         ADDRESS ON FILE                           1207 CHERRY ST
                                                                                  HELENA, AR 72342




BAKER, SHELLY D.                        BAKER, SHERRIE                            BAKER, SUSAN
221 E SECOND ST                         2503 BENTON ST                            4209 ERNA
SPARTA, IL 62286                        GRANITE CITY, IL 62040                    BELLEVILLE, IL 62226




BAKER, TAMMIE                           BAKER, THERESA A.                         BAKER, TIFANI
3486 MANASSAS DR                        ADDRESS ON FILE                           ADDRESS ON FILE
EDWARDSVILLE, IL 62025




BAKER, VICKI E.                         BAKER, VICKI R.                           BAKER, WHITNEY L.
6623 W 167TH ST                         34879 SEAVEY LOOP RD                      ADDRESS ON FILE
TINLEY PARK, IL 60477                   EUGENE, OR 97405




BAKER, WILLIAM B.                       BAKER. SHEA LYNN                          BAKERS AUTO PARTS
ADDRESS ON FILE                         32218 PRICEBORO DR                        363 HIGHWAY 15 SOUTH
                                        HARRISBURG, OR 97446                      JACKSON, KY 41339-2461




BAKERVARNER, DOROTHY L.                 BAKERY CITY LLC                           BAKHSHI, MALIHEH
11565 S RACINE AVE                      CITY BAKING                               480 SAN BERNABE DR
CHICAGO, IL 60643                       1041 45TH AVE                             MONTEREY, CA 93940
                                        LONG ISLAND CITY, NY 11101
BAKHTAR, OMID            Case 20-10766-BLS
                                       BAKKUM,Doc 6
                                              BARON        Filed 04/07/20   Page BAKLEY,
                                                                                 115 ofTIA
                                                                                         1969
                                                                                           J.
3035 DUVALL CT.                        118 N GRETTA AVE                          1810 E 24TH ST
GILROY, CA 95020                       WAUKEGAN, IL 60085                        BIG SPRING, TX 79720




BAKOS, MARY                            BAKSHIS DIANE                             BAKSHIS, DIANE
2821 FALCON CREST DR                   2559 CLUBHOME LANE                        2559 CLUB HOME LN
EDWARDSVILLE, IL 62025                 WAUKEGAN, IL 60085                        WAUKEGAN, IL 60087




BALADAD, THERESA                       BALANAG, ROSALINDA                        BALAY, ALEXIA
ADDRESS ON FILE                        3936 HARPER AVE                           4020 TARTAN TRAIL
                                       GURNEE, IL 60031                          ZION, IL 60099




BALAY, GERALDO                         BALAZI, BRIAN                             BALBONA, AIDAN E.
2105 MELROSE AVE                       706 AIRPORT RD                            ADDRESS ON FILE
WAUKEGAN, IL 60085                     SALEM, IL 62881




BALCO SOUND, INC.                      BALD KNOB CROSS OF PEACE, INC             BALDACCI, KIMBERLY J.
P.O. BOX 54028                         P.O. BOX 35                               16800 S 93RD AVE
LUBBOCK, TX 79453                      ALTO PASS, IL 62905-0000                  ORLAND HILLS, IL 60477




BALDELLI, GRACE                        BALDONADO, MICHAEL A.                     BALDRIDGE, LORA L.
1711 STATE RD 40002                    ADDRESS ON FILE                           645 CHEROKEE RD
MEHOOPANY, PA 18629                                                              RACELAND, KY 41169




BALDWIN ENTERPRISES                    BALDWIN SUE                               BALDWIN, BRUCE A.
222 POTOMAC BLVD                       1460 G STREET                             ADDRESS ON FILE
P.O. BOX 849                           SPRINGFIELD, OR 97477
MT. VERNON, IL 62864




BALDWIN, DEBRA                         BALDWIN, KELLY A.                         BALDWIN, MARKISHA
124 BRIAR LN                           3004 COUNTY RD 48                         218 ROBIN DR
MORGANTON, GA 30560                    SECTION, AL 35771                         PLYMOUTH, NC 27962




BALDWIN, SUE                           BALDWIN, SUSAN A.                         BALDWIN, TEONNA
1460 G ST                              ADDRESS ON FILE                           ADDRESS ON FILE
SPRINGFIELD, OR 97477




BALDWIN, UAEALESI                      BALDYGA, LINDA FOR BALDYGA, ROBERT        BALESTRIERI, MELODY
ADDRESS ON FILE                        235 WILLIS RD                             3194 TALLMON ST
                                       SARDIS, TN 38371                          MARINA, CA 93933
BALIUS, MICHAEL J.       Case 20-10766-BLS     Doc 6
                                       BALKE, SUSAN         Filed 04/07/20   Page BALL,
                                                                                  116 ARIN
                                                                                        of 1969
                                                                                            NICHOLE
25913 HWY 22                            171 CHERRY ST                             358 HWY 350
MCKENZIE, TN 38201                      MARIANNA, AR 72360                        WYNNE, AR 72396




BALL, BETH CAROLYN                      BALL, BETH CAROLYN                        BALL, JANA
646 B ST                                ADDRESS ON FILE                           2709 PITTS RD
SPRINGFIELD, OR 97477                                                             SARDIS, TN 38371




BALL, KATIE J.                          BALL, KETA                                BALL, LORETTA
750 PEDRO AVE.                          148 BOYD ST                               217 N 4TH ST
BEN LOMOND, CA 95005                    GLENWOOD, AL 36034                        TOOELE, UT 84074




BALL, MICHAEL P.                        BALL, MICHAEL                             BALL, MONA
ADDRESS ON FILE                         ADDRESS ON FILE                           467 TWIN RIDGE AVE
                                                                                  EVANSTON, WY 82930




BALL, PAULA J.                          BALL, SAUNDRA                             BALLA, LINDA
16830 MONROE RD                         P.O. BOX 291                              609 BALDWIN AVE
WEST FRANKFORT, IL 62896                LOWMANSVILLE, KY 41232                    WAUKEGAN, IL 60085




BALLANTINE COMMUNICATIONS, INC          BALLANTYNE, DOROTHY J.                    BALLARD JOHN
PO DRAWER A                             7162 EMERALD COVE AVE NW                  ADDRESS ON FILE
DURANGO, CO 81302                       CANAL FULTON, OH 44614




BALLARD PH.D., JOHN J.                  BALLARD PH.D., JOHN J.                    BALLARD, AMANDA F.
4482 VILLAGE GATE DR                    ADDRESS ON FILE                           ADDRESS ON FILE
ARLINGTON, TN 38002




BALLARD, AMY                            BALLARD, CAROL                            BALLARD, JOHN J. - CEO
1208 MCPHERSON                          121 W SIMMONS ST APT 208                  FORREST CITY MEDICAL CENTER
ALTON, IL 62002                         GALESBURG, IL 61401                       1601 NEWCASTLE RD
                                                                                  FORREST CITY, AR 72335




BALLARD, KELLYE M.                      BALLARD, KYLE                             BALLARD, RANDALL B.
ADDRESS ON FILE                         3601 VALLEY DR                            405 E HARRIET ST
                                        GODFREY, IL 62035                         ALPINE, TX 79830




BALLARD, RHONDA L.                      BALLARD, TANNER                           BALLENGER ANTHONY JAMES
1889 COUNTY LINE RD                     2213 W 19TH ST                            6005 GRAYSTONE LOOP
MANSFIELD, GA 30055                     PLAINVIEW, TX 79072                       SPRINGFIELD, OR 97478
                      Case 20-10766-BLS
BALLENGER, ANTHONY JAMES                     DocBRAD
                                    BALLENGER,    6 Filed 04/07/20      Page BALLENGER,
                                                                             117 of 1969CHRIS A.
6005 GRAYSTONE LOOP                 301 1ST ST W 681389                      1508 FISCHER RD NE
SPRINGFIELD, OR 97478               FORT PAYNE, AL 35967                     FORT PAYNE, AL 35967-7623




BALLENGER, KENNETH L.               BALLENTINE, JAMES                        BALLESTRACCI, TIFFANY
ADDRESS ON FILE                     172 OAK ST                               740 AGNES DR
                                    MCKENZIE, TN 38201                       BARSTOW, CA 92311




BALLEW, DONNA                       BALLEW, ODELL C.                         BALLEZA, KRISTOFFER VINCENT D.
ADDRESS ON FILE                     222 BALLEW LAKE RD                       17430 BRIDALWOOD LN
                                    BLAIRSVILLE, GA 30512                    TINLEY PARK, IL 60487




BALLINGTON, THERESA J.              BALLOON, DR. CRAIG,                      BALLOUT, JALAL
ADDRESS ON FILE                     2410 CLEVELAND AVE NW                    10445 AUSTIN AVE UNIT 1C
                                    CANTON, OH 44709                         OAK LAWN, IL 60453




BALMER, MARY K.                     BALOGUN, KAYODE M.                       BALOT MILAGROS P.
101 ROSE TREE LN                    7 SELTZER AVE                            5681 STEEPLE POINTE BLVD
LAKE VILLA, IL 60046                WOMELSDORF, PA 19567                     GURNEE, IL 60031




BALSOFIORE, DAVID M.                BALTAZAR MARTINEZ, SANDRA                BALTAZAR, CECILIA
ADDRESS ON FILE                     12331 6TH ST                             3500 W COUNTY RD 300
                                    YUCALPA, CA 92399                        MIDLAND, TX 79706




BALTIERREZ, DALIA                   BALTZ, CINDY R.                          BALTZELL, KINDRA A.
507 NE 6TH ST                       4042 COMMONS DR                          131 GROVE ST P.O. BOX 333
BIG SPRING, TX 79720                SPRINGHILL, TN 37174                     ULLIN, IL 62992




BALUYOT, EMMALYN                    BALZER, SUE                              BAMBOO BRACE, THE
ADDRESS ON FILE                     25 HIGHLAND PARK VILLAGE                 P.O. BOX 58518
                                    DALLAS, TX 75205                         SLC, UT 84158




BANAHAN, JOHN                       BANC OF AMERICA LEASING & CAPITAL LLC    BANCOLITA, ALEXIS M.
6540 179TH ST                       2059 NORTHLAKE PKWY, 3 N                 1525 LAKE COOK RD APT 449
TINLEY PARK, IL 60477               TUCKER, GA 30084                         DEERFIELD, IL 60015




BANCORP SOUTH BANK                  BANCROFT, GEORGE III                     BANCROFT, JAMES
ATTN: GREG IRVIN                    601 AVONDALE DR                          621 TECOLOTE ST
ONE MISSISSIPPI PLAZA               BIG SPRINGS, TX 79720                    LAS VEGAS, NM 87701
201 SOUTH SPRING STREET
TUPELO, MS 38804
BANCROFT, JAMES           Case 20-10766-BLS     Doc 6
                                        BANDA, NICK         Filed 04/07/20   Page BANDITS,
                                                                                  118 of 1969
                                                                                           GLEN C.
908 CAMPBELL AVE                         300 LILLIAN DR                           981 HOLIDAY POINT PKWY
YREKA, CA 96097                          BARSTOW, CA 92311                        EDWARDSVILLE, IL 62025




BANDONG, ANGELICA                        BANDY, PATRICIA                          BANEZ, CLARIDAD C.
46 HOPE DR                               19650 HWY 64 WEST                        8700 TIMBERS POINTE DR
WATSONVILLE, CA 95076                    MURPHY, NC 28906                         TINLEY PARK, IL 60487




BANFORD, BREANN N.                       BANGERT, ALICIA                          BANIA, JULIA
ADDRESS ON FILE                          ADDRESS ON FILE                          16862 S OTTAWA DR
                                                                                  LOCKPORT, IL 60441




BANISTER, MARY                           BANISTER, MELINDA D.                     BANK OF AMERICA NA
342 S BANISTER LN                        5508 103RD ST                            150 N COLLEGE ST
GRANTSVILLE, UT 84029                    LUBBOCK, TX 79424                        NC1-028-17-06
                                                                                  CHARLOTTE, NC 28255




BANK OF AMERICA NA                       BANK OF AMERICA                          BANK OF AMERICA
BANC OF AMERICA LEASING & CAPITAL        ATTN: JIMMY WAGGONER                     BANK OF AMERICA NA
2059 NORTHLAKE PKWY 3RD FL N             600 PEACHTREE ST NE                      ATTN: JIMMY WAGGONER
TUCKER, GA 30084                         ATLANTA, GA 30308                        600 PEACHTREE ST NE
                                                                                  ATLANTA, GA 30308



BANK OF AMERICA                          BANK OF EDWARDSVILLE                     BANK OF NEW YORK MELLON (0901, 0954,
ONE FLEET WAY                            330 WEST VANDALIA ST                     2209)
PA6-580-02-30                            EDWARDSVILLE, IL 62025                   ATTN EVENT CREATION
SCRANTON, PA 18507-1999                                                           500 GRANT STREET
                                                                                  ROOM 151-1700
                                                                                  PITTSBURGH, PA 15258

BANKDIRECT CAPITAL FINANCE               BANKER FIDELITY                          BANKER, TYLER S.
TWO CONWAY PARK                          P.O. BOX 10552                           1234 UNION CHURCH RD
150 NORTH FIELD DR, STE 190              ATLANTA, GA 30348-0000                   MCKENZIE, TN 38201
LAKE FOREST, IL 60045




BANKERS FIDELITY ASSURANCE               BANKERS FIDELITY LIFE INS CO             BANKERS FIDELITY LIFE
4370 PEACHTREE RD NE                     P.O. BOX 105652                          P.O. BOX 105185
ATLANTA, GA 30319                        ATLANTA, GA 30348-5652                   ATLANTA, GA 30348




BANKERS LIFE AND CASUALTY                BANKERS LIFE AND CASUALTY                BANKERS LIFE AND CASUALTY
ATTN: REFUNDS DEPARTMENT                 P.O. BOX 1902                            P.O. BOX 1938
P.O. BOX 1935                            CARMEL, IN 46082-1902                    CARMEL, IN 46082-1938
CARMEL, IN 46032-1935




BANKERS LIFE AND CASUALTY                BANKERS LIFE I/P                         BANKERS LIFE INSURANCE
P.O. BOX 30969                           P O BOX 2035                             P O BOX 1935
C/O ASSET PROTECTION UNIT                CARMEL, IN 46082                         CARMEL, IN 46082-1935
AMARILLO, TX 79120
BANKERS LIFE INSURANCE Case 20-10766-BLS
                                     BANKERSDoc    6 Filed 04/07/20
                                              LIFE INSURANCE           Page BANKERS
                                                                            119 of 1969
                                                                                    LIFE
P.O. BOX 66927                       PO BOX 66927                           11825 N PENNSYLVANIA ST
CHICAGO, IL 60666-0927               CHICAGO, IL 60666-0927                 CARMEL, IN 46032




BANKERS LIFE                         BANKERS LIFE                           BANKERS LIFE/COLONIAL PENN LIFE
ATTN: REFUNDS                        COLONIAL PENN LIFE INSURANCE COMPANY   INSURANCE COMPANY
P.O. BOX 1935                        ATTN: CLAIMS                           ATTN: CLAIMS
CARMEL, IN 46082-1935                P.O. BOX 1935                          P.O. BOX 1935
                                     CARMEL, IN 46082-1935                  CARMEL, IN 46082-1935



BANKFINANCIAL FSB                    BANKHEAD, TRAVIS M.                    BANKS TAMMY
15W060 N FRONTAGE RD                 ADDRESS ON FILE                        ADDRESS ON FILE
BURR RIDGE, IL 60527




BANKS, ADRIAN                        BANKS, AMY                             BANKS, ASHLEY
968 W MAIN ST                        ADDRESS ON FILE                        ADDRESS ON FILE
GALESBURG, IL 61401




BANKS, ASHLEY                        BANKS, BETTY                           BANKS, DENISE E.
ADDRESS ON FILE                      ADDRESS ON FILE                        13 W 125TH PL
                                                                            CHICAGO, IL 60628




BANKS, DREAM                         BANKS, GREGORY                         BANKS, HEATHER R.
14730 CENTRAL AVE                    26 DIRECTOR DR.                        ADDRESS ON FILE
OAK FOREST, IL 60452                 BLUE RIDGE, GA 30513




BANKS, JESHUA                        BANKS, KIMBERLY A                      BANKS, KIMBERLY
730 WADSWORTH AVE                    ADDRESS ON FILE                        ADDRESS ON FILE
WAUKEGAN, IL 60085




BANKS, MARY JANE                     BANKS, MONICA                          BANKS, NORMA
313 38TH ST NE                       1004 WOOD ST                           13 W.125TH PL
FORT PAYNE, AL 35967-3950            BIG SPRING, TX 79720                   CHICAGO, IL 60628




BANKS, RAYMOND E.                    BANKS, RUTH                            BANKS, SHELIA
2809 TYLER AVE                       120 W 116TH ST                         3336 HWY 306
WAUKEGAN, IL 60087                   CHICAGO, IL 60628                      COTTON PLANT, AR 72036




BANKSTON, DEUNDREA                   BANKSTON, NICOLE                       BANNER FINANCE
P.O. BOX 1527                        390 COUNTY ROAD 87                     827 E POPLAR
DEMING, NM 88031                     HENAGAR, AL 35978                      HARRISBURG, IL 62946
BANNER, JOSEPH         Case 20-10766-BLS     DocBRENDA
                                     BANNERMAN,   6 FiledJ. 04/07/20        Page BANNISTER,
                                                                                 120 of 1969JOHN
P.O. BOX 668                         829 CHEYENNE LANE                           222 EDWARDS STREET
MOUNTAIN VIEW, WY 82939-0668         NEW LENOX, IL 60451                         GLEN CARBON, IL 62034-0000




BANSAL, RAHUL                         BANSAL, TULIKA                             BANSLEY, ELENA
ADDRESS ON FILE                       3304 HERSHISER CT.                         10749 S. LONGWOOD AVE.
                                      EDWARDSVILLE, IL 62025                     CHICAGO, IL 60643




BANTA, PAMELA                         BANTON, DANIELLE M.                        BANUELOS, ANGELICA
408 BELTLINE ROAD APT 1               ADDRESS ON FILE                            1320 KELLY DR.
COLLINSVILLE, IL 62234                                                           BARSTOW, CA 92311




BANUELOS, BRANDON D.                  BANUELOS, CASEY                            BANYAN INTERNATIONAL CORP
888 E 18TH AVE APT 4                  2833 FORTUNE DR                            DEPT CH 14330
EUGENE, OR 97401                      GRANITE CITY, IL 62040                     PALATINE, IL 60055-4330




BANYAN SPE FUND LLC                   BANZA, ILUNGA N.                           BAPTIST HEALTH SYSTEMS INC
951 YAMATO RD, STE 160                1938 ALCOVYSHOALS BLUFF                    2701 EASTPOINT PARKWAY
BOCA RATON, FL 33431                  LAWRENCEVILLE, GA 30045                    LOUISVILLE, KY 40223




BAPTIST HEALTHCARE SYSTEM INC         BAPTIST MEMORIAL HOSPITAL - FORRECT        BAQUIRAN, NELLY
P.O. BOX 950257                       CITY INC                                   ADDRESS ON FILE
LOUISVILLE, KY 40295-0257             1601 NEWCASTLE RD
                                      FORREST CITY, AR 72335




BAR RAY PRODUCTS                      BARAHONA, AMY M.                           BARAJAS, ANA M.
90 E. LAKEVIEW DR                     329 ALEXIS LANE                            4202 JAY DR
LITTLESTOWN, PA 17340-1704            CANAL FULTON, OH 44614                     ZION, IL 60099




BARAJAS, DENISE                       BARAJAS, PATRICIA                          BARAKAT, SAM
4202 JAY DR                           2215 175TH ST                              15897 COUNTY ROAD 50
ZION, IL 60099                        LANSING, IL 60438                          GROVEOAK, AL 35975




BARANEK, JAIME M.                     BARANOWSKI, DAVID S.                       BARANYK, NICHOLAS
14457 S LAMON AVE 2N                  13150 SACRAMENTO                           2650 BLENHEIM AVE
MIDLOTHIAN, IL 60445                  BLUE ISLAND, IL 60406                      ALLIANCE, OH 44601-4511




BARATTI, SHANNON L.                   BARBA, LIDIA E.                            BARBA. LIDIA
8705 COUNTRY VIEW LN                  ADDRESS ON FILE                            ADDRESS ON FILE
BURLINGTON, WI 53105
BARBARA AGUILAR           Case 20-10766-BLS
                                        BARBARADoc 6 Filed 04/07/20
                                                BOOKER                Page BARBARA
                                                                           121 of 1969
                                                                                   C BELL
357 APACHE HILLS DR NW                  14635 GREENWOOD RD                 7412 STEINER STORE RD
DEMING, NM 88030                        UNIT 410                           HONORAVILLE, AL 36042
                                        DOLTON, IL 60419




BARBARA C MCCALLIN                      BARBARA CHESSER                    BARBARA CROUCH
680 DARTMOUTH ST SE                     21531 CHESSER RD                   37 PINE HILL RD
BREWSTER, OH 44613-1516                 RED LEVEL, AL 36474                WATSONVILLE, CA 95076




BARBARA DUNLAP                          BARBARA FERRELL                    BARBARA KROL
147 BIG JOHN DRIVE                      911 MILL RIDGE PATH NE             2190 N BROAD ST
MARTIN, TN 38237                        MASSILLON, OH 44646                GALESBURG, IL 61401




BARBARA L PARKER                        BARBARA LINK                       BARBARA LOWERY
1004 KACIE DR                           311 BROOK RD                       721 BROOK HOLLOW
PLEASANTVIEW, TN 37146                  ABINGDON, IL 61410                 NASHVILLE, TN 37205




BARBARA MAESTAS                         BARBARA MALONEY                    BARBARA MILLER
ADDRESS ON FILE                         623 W HURST ST                     P O BOX 951
                                        BUSHNELL, IL 61422                 DONA ANA, NM 88032




BARBARA PALO                            BARBARA R. PAUL                    BARBARA ROSS
2795 VIEWMONT AVE                       ADDRESS ON FILE                    705 SCENIC ROAD E
SPRINGFIELD, OR 97477                                                      FORT PAYNE, AL 35967




BARBARA SCHOOLEY                        BARBARA SUESS                      BARBARA TATE
3417 MARYVILLE RD                       861 PLANT SCHOOL AVE               11521 S VINCENNES
GRANITE CITY, IL 62040                  GREENVILLE, IL 62246               CHICAGO, IL 60643




BARBARA UTLAK                           BARBARA WIEBBECKE                  BARBATOS FLOWERS & GREEN
4455 DRESSLER RD NW                     177A VULCO DR                      6017 12TH ST NW
CANTON, OH 44718                        HENDERSON, TN 37075                CANTON, OH 44708




BARBE, TONY                             BARBEAU, DWIGHT                    BARBEAU, RONALD
705 BREEDLOVE DR, STE 200               5638 BANNISTER LANE                803 MONROE ST
MONROE, GA 30655                        SMITHTON, IL 62285                 RED BUD, IL 62278-1356




BARBER, AMBER L.                        BARBER, AMY J.                     BARBER, AMY
2503 JOANN DR UNIT B                    ADDRESS ON FILE                    ADDRESS ON FILE
BIG SPRING, TX 79720
BARBER, AMY               Case 20-10766-BLS
                                        BARBER,Doc
                                               BART 6
                                                    O. Filed 04/07/20   Page BARBER,
                                                                             122 of BRADY
                                                                                     1969 H.
ADDRESS ON FILE                          368 ROAD 1971                       ADDRESS ON FILE
                                         VALLEY HEAD, AL 35989




BARBER, CASEY D.                         BARBER, DONALD                      BARBER, GEORGIANNA S.
ADDRESS ON FILE                          ADDRESS ON FILE                     336 SCHOOL RD
                                                                             WINDSOR, NC 27983




BARBER, JENRY M.                         BARBER, KRISTY                      BARBER, MARGARET ELIZABETH
6417 SADDLETREE DR                       ADDRESS ON FILE                     91747 BLUE RIVER RES RD
WESLEY CHAPEL, FL 33544                                                      BLUE RIVER, OR 97413-0000




BARBER, MICHELLE M.                      BARBER, RUTH                        BARBER, TERRANCE P.
ADDRESS ON FILE                          22325 US HWY 64                     MANAGED CARE CONSULTING SERV
                                         WILLIAMSTON, NC 27892               1300 RUTH DR
                                                                             KIRKWOOD, MO 63122-1024




BARBERA, TERRY                           BARBERIA, LUIS ENRIQUE E.           BARBERIS, VIRGINIA
5938 PERRY HILLS DR SW                   6388 EMERALD LN                     6443 LEBANNON RD
CANTON, OH 44706                         GILROY, CA 95020                    COLLINSVILLE, IL 62234




BARBINI, GERALD J.                       BARBOA-ARCHULETA, MADALENA          BARBOSA, MARIA
15 TEAL CIRCLE                           801 EAST ROYBAL DR                  12754 LINCOLN ST
WEST DENNIS, MA 02670                    LAS VEGAS, NM 87701                 BLUE ISLAND, IL 60406




BARBOUR-ROBERTSON, EDNA D.               BARCHETT, GERALD W.                 BARCLAY, EDWARD H.
2103 MULBERRY ST                         220 TOCCOA COURT                    3352 ST KITTS AVE
ALTON, IL 62002                          ELLIJAY, GA 30540                   EUGENE, OR 97408




BARCLAY, SCOTT W.                        BARCLAYS CAPITAL INC. (0229)        BARCOM
113 BRYAN RD                             ATTN CORPORATE ACTIONS/REORG        P.O. BOX 433
BIG SPRING, TX 79720                     745 7TH AVENUE, 3RD FLOOR           BELLEVILLE, IL 62222
                                         NEW YORK, NY 10019




BARCROFT, NYDIA Y.                       BARCZAK, JENNIFER                   BARD ACCESS SYSTEM, INC
ADDRESS ON FILE                          839 W KENT AVE                      C.R. BARD INC.
                                         CRETE, IL 60417                     P.O. BOX 75767
                                                                             CHARLOTTE, NC 28275




BARD ACCESS SYSTEMS INC                  BARD ACCESS SYSTEMS INC             BARD ACCESS SYSTEMS
CR BARD INC                              P.O. BOX 75767                      PO BOX 75767
P.O. BOX 75767                           CHARLOTTE, NC 28275                 CHARLOTTE, NC 28275
CHARLOTTE, NC 28275
BARD ACCESS, INC.       Case 20-10766-BLS     DocSYSTEMS
                                      BARD BIOPSY 6 Filed   04/07/20
                                                         / SENO RX     Page BARD
                                                                            123 DAVOL
                                                                                 of 1969
                                                                                      INC.
POB 75767                              P.O. BOX 75767                       P.O. BOX 75767
CHARLOTTE, NC 28275                    CHARLOTTE, NC 28275                  CHARLOTTE, NC 28275




BARD INTERVENTIONAL PROD               BARD MEDICAL                         BARD PERIPHERAL VASCULAR INC
C.R. BARD, INC                         P.O. BOX 75767                       CR BARD INC
P.O. BOX 75767                         CHARLOTTE, NC 28275                  P.O. BOX 75767
CHARLOTTE, NC 28275                                                         CHARLOTTE, NC 28275




BARD PERIPHERAL VASCULAR INC           BARD UROLOGICAL                      BARD, INC
P.O. BOX 75767                         P.O. BOX 75767                       IMPRA, INC
CHARLOTTE, NC 28275                    CHARLOTTE, NC 28275                  P.O. BOX 75767
                                                                            CHARLOTTE, NC 28275




BARDELL, JASON                         BARDELL, JUDITH                      BARDELL, TERENCE A.
326 W KNOX ST                          ADDRESS ON FILE                      845 GREENVIEW STREET
GALESBURG, IL 61401                                                         GURNEE, IL 60031




BARDO, LEVI J.                         BARDSLEY, CHRISTI                    BARDY DIAGNOSTIC INC
863 VALLEY R.D                         1521 N. WAVERLY ST.                  311 B OCCIDENTAL AVE S
SALEM, OH 44460                        WASHINGTON, UT 84780                 SEATTLE, WA 98104




BARE, DAVID D.                         BAREFIELD JUSTIN N                   BAREITER, AMBER
5306 BIG WILLS RD NW                   89 BEARING CIRCLE                    3120 WEST CHAIN OF ROCKS
FORT PAYNE, AL 35967-8206              PRT WENTWORTH, GA 31407              LOT 206
                                                                            GRANITE CITY, IL 62040




BARELA, AMANDA                         BARELA, AMANDA                       BARELA, THERESA A.
1106 TAOS RD                           1160 TAOS ROAD                       ADDRESS ON FILE
BARSTOW, CA 92311                      BARSTOW, CA 92311




BARETTA, SCOTT                         BAREYKINA, EKATERINA YEVGE           BARFIELD, AVERY
991 AZTEC RD                           285 E MAIN                           1070 ASKA RD
GREENVILLE, AL 36037                   GRANTSVILLE, UT 84029                BLUE RIDGE, GA 30513-4704




BARFIELD, CLIFTON                      BARFIELD, DAVID T.                   BARFIELD, STACI L.
111 BETCHER RD                         ADDRESS ON FILE                      ADDRESS ON FILE
WILLIAMSTON, NC 27892




BARGAMIAN, BRADLEY M.                  BARGER JANICE                        BARGER, CATHLEEN
10943 BEACON CT                        825 WILLOW DR                        200 DEBBIE DR
ST JOHN, IN 46373                      CHICAGO HEIGHTS, IL 60411            COLLINSVILLE, IL 62234
BARGER, LESLIE            Case 20-10766-BLS
                                        BARGER,Doc 6 Filed 04/07/20
                                               MELANIE                  Page BARGER,
                                                                             124 of STANLEY
                                                                                     1969
ADDRESS ON FILE                         ADDRESS ON FILE                      105 S FERNE CLIFFE
                                                                             GOREVILLE, IL 62939




BARGERON, SYBILLE A.                    BARGREEN ELLINGSON OREGON INC        BARI GULLEDGE
1551 GOSHEN RD                          3232 NE INDUSTRIAL                   ADDRESS ON FILE
AUGUSTA, GA 30906-9369                  PORTLAND, OR 97210




BARILLAS, CHAROLYN R.                   BARILONE, JOHN A.                    BARING INDUSTRIES
ADDRESS ON FILE                         4339 RIDGE CLIFF DR                  3249 S.W. 42ND STREET
                                        AUGUSTA, GA 30909-9621               FORT LAUDERDALE, FL 33312




BARION, SAMINEO P.                      BARK, MARY A.                        BARK, MARY A.
1112 SOTOL ST                           8550 PEACH TREE LANE                 ADDRESS ON FILE
SILVER CITY, NM 88061                   SPARTA, IL 62286




BARKAN, JAMES                           BARKAN, KATHRYN                      BARKER JOHNNY
1362 KENYON AVE SW                      1362 KENYON AVE SW                   P.O. BOX 58
MASSILLON, OH 44647                     MASSILLON, OH 44647                  CAMPTON, KY 41301




BARKER, ALANNA A.                       BARKER, AMY J.                       BARKER, AMY L.
22813 W LORRAINE AVENUE                 280 TIMBERLAKE DRIVE                 ADDRESS ON FILE
PLAINFIELD, IL 60586                    MCKENZIE, TN 38201




BARKER, AMY                             BARKER, ANNABEL                      BARKER, BRYANNA L.
ADDRESS ON FILE                         P.O. BOX 135                         454 SMITH AVE
                                        BIG SPRING, TX 79721                 EVANSTON, WY 82930




BARKER, CASEY                           BARKER, CHERYL M.                    BARKER, CHRISTA
ADDRESS ON FILE                         ADDRESS ON FILE                      155 HOMESTRETCH
                                                                             EVANSTON, WY 82930




BARKER, CHRISTA                         BARKER, CODY JAMES M.                BARKER, EMMELIE
ADDRESS ON FILE                         3605 DIXON STREET                    ADDRESS ON FILE
                                        BIG SPRING, TX 79720




BARKER, ESTHER M.                       BARKER, HEATHER N.                   BARKER, JANET E.
505 MORGAN ST.                          2814 LINCOLN WAY E. APT B            ADDRESS ON FILE
ANNA, IL 62906                          MASSILLON, OH 44646
BARKER, JOHN A.          Case 20-10766-BLS
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                                                                                          1969
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BARKER, MELISSA F.                      BARKER, MELISSA                           BARKER, MELISSA
2718 LICKSKILLET RD                     122 CAMERON CIRCLE, APT K                 ADDRESS ON FILE
EPWORTH, GA 30541                       CLARKSVILLE, GA 30523




BARKER, SANDRA J.                       BARKER, SAVANAH                           BARKER, TERESA
545 SPRUCE ST                           ADDRESS ON FILE                           454 SMITH AVE
APTOS, CA 95003                                                                   EVANSTON, WY 82930




BARKER, THELDA                          BARKER, TIFFANY                           BARKER, VICKIE R.
702 BLOCK ST                            29 ROCK HOUSE LOOP RD                     289 STEEL BRANCH ROAD
WYNNE, AR 72396                         JACKSON, KY 41339                         BLAINE, KY 41124




BARKER, VICKY                           BARKER, ZACH R.                           BARKLEY, DONNA R.
ADDRESS ON FILE                         1203 DEVON DRIVE                          ADDRESS ON FILE
                                        ANTIOCH, IL 60002




BARKLEY, LOCKE D.                       BARKSDALE, TERESA                         BARLEY, JOANNE
CHAPTER 13 PROCEEDINGS                  ADDRESS ON FILE                           424 9TH ST NE
P.O. BOX 1859                                                                     MASSILLON, OH 44646
MEMPHIS, TN 38101




BARLOCK, MARY                           BARLOW DIANA E                            BARLOW, AMY M.
301 E. OLIVE 23                         140 TOMMYS LANE                           914 EAST BROADWAY
SALEM, IL 62881                         MURPHY, NC 28906                          CENTRALIA, IL 62801




BARLOW, DIANE                           BARLOW, DONNA M.                          BARLOW, SHERRIE K.
P.O. BOX 1215                           153 EAGLE PASS CT                         ADDRESS ON FILE
LOGANDALE, NV 89021-1215                UNIT E
                                        HEPHZIBAH, GA 30815-5083




BARMES, ANGELA                          BARNABAE, SAMANTHA                        BARNARD, CAROL A.
1505 1/2 LOCUST STREET                  29 B FAWN AVE                             706 EPWORTH ST
LARENCEVILLE, IL 62439                  NEW OXFORD, PA 17350                      FAIRFIELD, IL 62837




BARNER, AL F.                           BARNER, JON                               BARNER-CARR, ANDRIA
1969 STONEGATE DR                       6165 CARTAGE AVE NW                       11143 S. PEORIA STREET
CALUMET CITY, IL 60409                  CANAL FULTON, OH 44614                    CHICAGO, IL 60643
BARNES & THORNBURG LLP Case 20-10766-BLS
                                     BARNES &Doc   6 Filed
                                              THORNBURG  LLP04/07/20   Page BARNES,
                                                                            126 of ALEXIS
                                                                                    1969 M.
1906 WEST END AVE                    ONE NORTH WACKER DR                    7639 MADERA AVE
NASHVILLE, TN 37203                  STE 4400                               HESPERIA, CA 92345
                                     CHICAGO, IL 60606




BARNES, BOBBYE J.                     BARNES, CAROL                         BARNES, CAROLYN A.
3315 MARKET STREET                    5520 HWY 20                           14159 HUNT CLUB LN
EAST SAINT LOUIS, IL 62204            LOGANVILLE, GA 30052                  PLAINFIELD, IL 60544




BARNES, CASSANDRA N.                  BARNES, CYNTHIA                       BARNES, DENISE
855 GRASSY CREEK RD.                  199 LUCIUS LANE                       2017 ALABAMA AVENUE NW
COPPERHILL, TN 37317                  CHERRY LOG, GA 30522-2338             FORT PAYNE, AL 35967




BARNES, DION                          BARNES, EDWARD                        BARNES, ELIZABETH
11 N GENESEE ST                       1945 FAIRCREST ST SE                  ADDRESS ON FILE
WAUKEGAN, IL 60085                    CANTON, OH 44707-1245




BARNES, FRANCIS                       BARNES, FREDERICK W.                  BARNES, JANICE D.
1559 FROST LANDING                    2944 PAUL MALCOM RD                   14405 KENWOOD AVE
COLUMBIA, IL 62236-2876               MONROE, GA 30641                      DOLTON, IL 60419




BARNES, JENIFER C.                    BARNES, JENNIFER D.                   BARNES, JENNIFER D.
ADDRESS ON FILE                       ADDRESS ON FILE                       418 OLD BLUE RIDGE HWY
                                                                            BLAIRSVILLE, GA 30512




BARNES, KATHLEEN D.                   BARNES, KATRINA G.                    BARNES, LAWRENCE J.
2206 GILBOA AVE                       ADDRESS ON FILE                       ADDRESS ON FILE
ZION, IL 60099




BARNES, LINDSEY                       BARNES, LLOYD WINFORD                 BARNES, LORI
ADDRESS ON FILE                       P.O. BOX 426                          621 COLLEGE ST
                                      GERALDINE, AL 35974                   HUGHES, AR 72348




BARNES, MARY ANN                      BARNES, MICHAEL R.                    BARNES, MISTY D.
3036 LOGAN RD                         ADDRESS ON FILE                       ADDRESS ON FILE
WEST FRANKFORT, IL 62896




BARNES, NINA                          BARNES, RENEASHIA                     BARNES, RENEE N.
1401 E 19TH ST                        ADDRESS ON FILE                       14911 CHICAGO ROAD
BIG SPRING, TX 79720-0000                                                   DOLTON, IL 60419
BARNES, REX              Case 20-10766-BLS
                                       BARNES,Doc  6 Filed 04/07/20
                                              RICHARD                 Page BARNES,
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                                                                                   1969
1429 68TH STREET NW                    12715 S THROOP ST                   ADDRESS ON FILE
FORT PAYNE, AL 35967                   CALUMET PARK, IL 60827




BARNES, RICHARD                        BARNES, SABRINA F.                  BARNES, SABRINA
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




BARNES, SHARON E.                      BARNES, SHELLEY A.                  BARNES, SHONNA E.
12414 S RACINE                         ADDRESS ON FILE                     ADDRESS ON FILE
CALUMET PARK, IL 60827




BARNES, TIFFANY A.                     BARNES, TONIE                       BARNES, WENDI A.
125 GRADIENT COURT UNIT 5243           ADDRESS ON FILE                     3663 122ND ST
ELLIJAY, GA 30540                                                          PLEASANT PRAIRIE, WI 53158




BARNES-JEWISH HOSP TRAUMA SERV         BARNES-JEWISH HOSPITAL              BARNETT HAVILYN F
1 BARNES-JEWISH PLAZA                  P.O. BOX 954540                     581 COUNTY RD 555
MAILSTOP 90-72-417                     ST LOUIS, MO 63195-4540             VALLEY HEAD, AL 35989
ST LOUIS, MO 63110




BARNETT JENNIFER A                     BARNETT, BARBARA E.                 BARNETT, DANA K.
P O BOX 695                            ADDRESS ON FILE                     546 14TH STREET
400 LOWERY LANE                                                            RAWLINS, WY 82301
MCCAYSVILLE, GA 30555




BARNETT, FELICIA                       BARNETT, HARVEY                     BARNETT, JAMIE D.
6267 WALLINGFORD ROAD                  1245 HANKINS RD NE                  13050 W 21ST STREET
FLEMINGSBURG, KY 41041                 APT 4                               WADSWORTH, IL 60083
                                       MASSILLON, OH 44646-4483




BARNETT, JUSTIN DWAYNE                 BARNETT, KEYLA M.                   BARNETT, MELISSA
22564 ANVIL CIRCLE                     ADDRESS ON FILE                     4812 49TH AVENUE
MCCALLA, AL 35111                                                          MOLINE, IL 61265




BARNETT, RUTH DARLENE                  BARNETT, TIMOTHY E.                 BARNETT, WENDY M.
226 HILLTOP DRIVE                      57 MELWAY CIR                       154 CARLTON POINT DRIVE
JACKSON, KY 41339                      MONTEREY, CA 93940                  WENTZVILLE, MO 63385




BARNETTE, BRANDON C.                   BARNETTE, MEGAN                     BARNETTS PLUMBING & HEATING
ADDRESS ON FILE                        1390 BIEDERMEIER RD                 11335 HWY 30 EAST
                                       WINDER, GA 30680                    JACKSON, KY 41339-0000
BARNEY L CONWAY            Case 20-10766-BLS
                                         BARNEY,Doc
                                                RILEY6       Filed 04/07/20   Page BARNEYS
                                                                                   128 of 1969
                                                                                           BRAKE & WHEEL ALIGNMENT
211 N SMITHWICK ST                        P.O. BOX 92                              2311 MADISON AVE.
WILLIAMSTON, NC 27892                     FORT DAVIS, TX 79734                     GRANITE CITY, IL 62040




BARNHART PROSTHETIC & ORTHOTIC            BARNSTORMING GROUP LLC                   BARNUM, DEANNA
SERVICES, INC                             4747 PRICE RD                            301 VINEYARD LN
1881 2ND STREET, SUITE 101                GAINESVILLE, GA 30506                    MESQUITE, NV 89027
SPRINGFIELD, OR 97477




BARON, DENNIS J. III - ATTORNEY           BARON, REBECCA                           BARONE, VINCE D.
17600 CHESTERFIELD AIRPORT RD             1963 CAPTAINS DR                         ADDRESS ON FILE
STE 201                                   WORDEN, IL 62097
CHESTERFIELD, MO 63005




BARONI, NICOLE W.                         BAROWSKI, ROBERT                         BARR DOOR INC
2020 ALABAMA AVE NW                       552 S ELMWOOD AVE                        P O BOX 55490
FORT PAYNE, AL 35967                      WAUKEGAN, IL 60085                       RIVERSIDE, CA 92517-0000




BARR GROUP INC, THE                       BARR, ANITA                              BARR, ANTOINETTE
503-C LIGON DR                            1408 W MAIN ST                           145 OAK MEADOWS PL
NASHVILLE, TN 37204-2858                  WILLIAMSTON, NC 27892-0000               COVINGTON, GA 30016




BARR, EILEEN T.                           BARR, JORDAN M.                          BARR, SHARRON
ADDRESS ON FILE                           ADDRESS ON FILE                          6938 LEIGH AVE NW
                                                                                   NORTH CANTON, OH 44720-6520




BARR, TARA                                BARR, TIMOTHY                            BARR, TRINA C.
9605 LOWMILLER RD.                        5210 PEACH ST                            ADDRESS ON FILE
MINERVA, OH 44657                         LOUISVILLE, OH 44641-9393




BARRA JEFFREY R                           BARRACCOS PIZZA                          BARRACLOUGH, SHIRLEY
4945 WATER VALLEY ROAD                    3701 W 95TH ST                           54 BENCHMARK VILLAGE
COBDEN, IL 62920                          EVERGREEN PARK, IL 60805                 TOOELE, UT 84074




BARRAGAN, ANDREW                          BARRAGAN, ANDREW                         BARRAGAN, PENNY
ADDRESS ON FILE                           ADDRESS ON FILE                          ADDRESS ON FILE




BARRAGAN, ZULEMA                          BARRAS, CHAD S.                          BARRAZA, ANNA M.
755 D ST                                  P O BOX 281                              205 E FIRST ST
LOS BANOS, CA 93635                       JOHNSTON CITY, IL 62951                  DEMING, NM 88030
BARRAZA, OSVALDO          Case 20-10766-BLS    Doc
                                        BARRAZA,    6 Filed 04/07/20
                                                 VERONICA                 Page BARRENTINE,
                                                                               129 of 1969 BELINDA J.
606 S JACKSON ST                        540 E. MAIN STREET                      ADDRESS ON FILE
WAUKEGAN, IL 60085                      MORGAN HILL, CA 95037




BARRERA, BENNIE                         BARRERA, ISABELLE M.                    BARRERAS WINDOW CLEANING
P.O. BOX 25                             3430 LEE AVE.                           320 FRANKLIN ST UNIT 2
MEADOW, UT 84644                        GURNEE, IL 60031                        WAUKEGAN, IL 60085




BARRETT & FARAHANY                      BARRETT BUSINESS SERVICE, INC           BARRETT I, DAVID R.
1100 PEACHTREE ST NE                    450 COUNTRY CLUB RD., SUITE 150         P.O. BOX 388 7 COTTON AVENUE
STE 500                                 EUGENE, OR 97401                        PORTERDALE, GA 30070
ATLANTA, GA 30309




BARRETT, EUGENE W.                      BARRETT, LILLIAN S.                     BARRETT, NANCY
745 HWY 587                             1892 AARON DR                           ADDRESS ON FILE
BEATTYVILLE, KY 41311                   COTTAGE GLEN
                                        TOOELE, UT 84074




BARRETT, NICOLE                         BARRETT, PAMELA                         BARRETT, ROBERT F.
1612 E 17TH ST                          4035 DELRAY CT                          4031 ALABAMA HWY 71
BIG SPRINGS, TX 79720                   MARTINEZ, GA 30907-2504                 DUTTON, AL 35744




BARRETT, ROBERT WILLIAM                 BARRETT, SANDRA M.                      BARRETT, SHERIKA S
ADDRESS ON FILE                         8699 HWY 52 E                           111 MAPLE ST
                                        BEATTYVILLE, KY 41311                   HUGHES, AR 72348




BARRETT, STEPHEN C.                     BARRIENTES, ASHLEY                      BARRIENTES, MARISA
18726 SAND DE SAC RD                    1708 S. MONTICELLO                      1501 WOOD ST
PRUNDALE, CA 93907                      BIG SPRING, TX 79720                    BIG SPRING, TX 79720




BARRIENTEZ, ERIN                        BARRIENTOS, CHRISTOPHER F.              BARRIENTOS, FRANCISCA
ADDRESS ON FILE                         12518 WESTERN AVE APT 2                 2803 ESHCOL AVE
                                        BLUE ISLAND, IL 60406                   103
                                                                                ZION, IL 60099




BARRIENTOS, H MARCO                     BARRIENTOS, JESUSA                      BARRINGTON HEALTH CARE INC
10929 COUNTY RD 51                      2803 ESHCOL AVE                         1890 N BRAYMORE DRIVE
COLLINSVILLE, AL 35961                  ZION, IL 60099                          BARRINGTON, IL 60010




BARRINGTON, TANI M.                     BARRIOS, EDITH                          BARROMA, ROB
553 CEDAR ST                            3029 22ND PLACE                         9355 HOME AVE
P.O. BOX 631                            NORTH CHICAGO, IL 60064                 DES PLAINES, IL 60016
JUNCTION CITY, OR 97448
BARRON PATZY              Case 20-10766-BLS
                                        BARRON,Doc 6 Filed 04/07/20
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                                                                                     1969
12231 TAILS CREEK RD                    5401 E COUNTY ROAD 120 TRLR 8        828 FOOTHILL RD
ELLIJAY, GA 30540                       MIDLAND, TX 79706                    HOLLISTER, CA 95023




BARRON, KATHY                           BARRON, LAURA                        BARRON, MONICA
7 CR 7730                               ADDRESS ON FILE                      1401 N US 87
WYNNE, AR 72396                                                              BIG SPRING, TX 79720




BARRON, TERESA J.                       BARRONTINE, ELIZABETH T.             BARROW HEALTH VENTURES, INC.
ADDRESS ON FILE                         ADDRESS ON FILE                      289 S. CULVER ST.
                                                                             LAWRENCEVILLE, GA 30046




BARROWCLIFFE, GLORIA W.                 BARROWCLIFFE, MATTHEW                BARROWMAN, CARISSA
2619 SOUTH WENGER RD                    1 COURTNEY PL APT 606                15368 RODEO ST
DALTON, OH 44618                        BIG SPRING, TX 79720                 HESPERIA, CA 92345




BARROZO, EVANGELINA                     BARROZO, MARIA E.                    BARRY M ROSENBERG & ELLEN J
12108 MAPLE AVE                         12108 S MAPLE AVE                    ROSENBERG JT TEN
BLUE ISLAND, IL 60406                   BLUE ISLAND, IL 60406                26 FLOWER RD
                                                                             HOPEWELL JCT, NY 12533-5935




BARRY, AURELLA                          BARRY, ELIZABETH                     BARRY, EMILY S.
P.O. BOX 944                            1812 LAMAR PLACE EAST                772 DIVISON STREET
MESQUITE, NV 89024                      HERNADO, MS 38632                    KNOXVILLE, IL 61448




BARRY, MARY ANNE                        BARRY, MICHAEL                       BARRY, TRACY E.
6743 N NEWGARD                          10038 JEFFERSON ST                   4272 CONN RD
CHICAGO, IL 60626                       BENTON, IL 62812                     MARINE, IL 62061




BARSTOW AREA CHAMBER                    BARSTOW CITY TAXI                    BARSTOW COLLEGE FOUNDATION
OF COMMERCE                             P.O. BOX 2327                        2700 BARSTOW RD
P.O. BOX 698                            BARSTOW, CA 92311                    BARSTOW, CA 92311
BARSTOW, CA 92312




BARSTOW COMMUNITY HOSPITAL              BARSTOW COMMUNITY HOSPITAL           BARSTOW COMMUNITY HOSPITAL
AUXILIARY                               820 E MOUNTAIN VIEW ST               ENTITY 0115
AUXILIARY                               BARSTOW, CA 92311                    820 E MOUNTAIN VIEW STREET
820 E. MT VIEW ST                                                            BARSTOW, CA 92311
BARSTOW, CA 92311



BARSTOW COMMUNITY HOSPITAL              BARSTOW FLOWER AND                   BARSTOW GLASS & MIRROR
MEDICAL STAFF                           1910 WEST MAIN STREET                1100 W MAIN ST
555 S. SEVENTH ST.                      BARSTOW, CA 92311                    BARSTOW, CA
BARSTOW, CA 92311                                                            BARSTOW, CA 92311
BARSTOW HEALTH SYSTEM Case
                      INC  20-10766-BLS
                                    BARSTOWDoc   6 Filed
                                             HEALTHCARE     04/07/20 INC.
                                                          MANAGEMENT,  Page BARSTOW
                                                                            131 of 1969
                                                                                      HIGH SCHOOL BAND
555 S. 7TH ST                       818 WEST 7TH STREET                     BOOSTER INC.
BARSTOW, CA 92311                   LOS ANGELES, CA 90017                   P.O. BOX 2351
                                                                            BARSTOW, CA 92311




BARSTOW HIGH SCHOOL                   BARSTOW JUDO CLUB                      BARSTOW LITTLE LEAGUE
FOOTBALL BOOSTERS                     32780 AMARYLIS AVE                     P.O. BOX 1695
P.O. BOX 152                          BARSTOW, CA 92311                      BARSTOW, CA 92311
BARSTOW, CA 92312




BARSTOW MIRROR AND GLASS              BARSTOW OPTIMIST CLUB                  BARSTOW POLICE DEPT
1100 MAIN ST                          P.O. BOX 458                           POLICE ACTIVITIES LEAGUE
BARSTOW, CA 92311                     BARSTOW, CA 92312                      220 E. MT VIEW STE B
                                                                             BARSTOW, CA 92311




BARSTOW PRIMARY CARE CLINIC           BARSTOW PRIMARY CARE                   BARSTOW SENIOR CITIZENS CENTER
ATTN: SHERISE FRANKLIN                805 EAST MOUNTAIN VIEW ST.             555 MELISSA AVE
805 E. MOUNTAIN VIEW STREET           BARSTOW, CA 92311                      BARSTOW, CA 92311
BARSTOW, CA 92311




BARSTOW SHRINE CLUB                   BARSTOW SURGICAL INC                   BARSTOW TIRE & BRAKE
221 AVE J                             705 E. VIRGINIA WAY                    100 W MAIN STREET BO
BARSTOW, CA 92311                     SUITE B                                BARSTOW, CA 92311
                                      BARSTOW, CA 92311




BART BARBER, DO                       BART, CARTER                           BARTAK SOPHIE L
415 MEDICAL CENTER DRIVE              2124 AR HWY 15                         7605 ANNBICK LN
FORT PAYNE, AL 35968                  MARIANNA, AR 72360                     CHARLOTTE, NC 28269




BARTAK, VILIA                         BARTASHNICK, DALE H., JR               BARTELS AND STOUT
19504 116TH UNIT C                    91 N 3RD ST                            22525 SE 64TH PL 160
MOKENA, IL 60448                      TOOELE, UT 84074                       ISSAGQUAH, WA 98027




BARTELS, MAUREEN A.                   BARTH, KATIE A.                        BARTH, PAUL C.
1863 PIONEER PARKWAY 429              ADDRESS ON FILE                        ADDRESS ON FILE
SPRINGFIELD, OR 97477




BARTHOLOMEW, JANET M.                 BARTIZAL, JOHN F.                      BARTKUS, CAROL A.
ADDRESS ON FILE                       38396 N COLUMBIA BAY RD                19634 BEDFORD LANE
                                      LAKE VILLA, IL 60046                   MOKENA, IL 60448




BARTLEBAUGH, SHEILA                   BARTLETT, LATOYA M.                    BARTLETT, LINDA
143 MAIN TRL                          28 N COTTAGE GROVE AVENUE              2900 7TH ST NW
ROCKINGHAM, NC 28379-7421             APT 1S                                 CANTON, OH 44708
                                      GLENWOOD, IL 60425
BARTLETT, NANNETTE       Case 20-10766-BLS    Doc
                                       BARTLETT,    6 Filed 04/07/20
                                                 TONGI                 Page BARTLEY,
                                                                            132 of 1969
                                                                                     BRANDY M.
725 30TH AVE                            ADDRESS ON FILE                     5 BURTON AVENUE NE
SANTA CRUZ, CA 95062                                                        MASSILLON, OH 44646




BARTLEY, DEBBIE K.                      BARTLOMIEJ, IRLA                    BARTO, ALLISON
4233 SOUTH HIGHWAY 3                    1026 S BEECHWOOD DR                 10624 S CLAREMONT AVE
LOUISA, KY 41230                        MT PROSPECT, IL 60056               CHICAGO, IL 60643




BARTOK, ROBIN                           BARTOLOME, KEVIN                    BARTOLONE, JESSICA
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




BARTOLONE, JESSICA                      BARTOLONE, ROSE                     BARTON & ASSOCIATES, INC
2540 URBANA AVE SE                      14340 KIMMENS RD SW                 P.O. BOX 417844
MASSILLON, OH 44646                     MASSILLON, OH 44647                 BOSTON, MA 02241-7844




BARTON AND ASSOCIATES, INC              BARTON BOOSTER CLUB                 BARTON SONJA D
300 JUBILEE DRIVE                       P.O. BOX 2504                       P.O. BOX 334
PEABODY, MA 01960                       WEST HELENA, AR 72390               FORT BRIDGER, WY 82933-0334




BARTON, CAMI                            BARTON, DIANE                       BARTON, DYLAN
553 GOLD DUST RD                        315 SERVICE RD                      553 GOLD DUST RD
GRANTSVILLE, UT 84029                   PALESTINE, AR 72372                 GRANTSVILLE, UT 84029




BARTON, JARED B., M.D.                  BARTON, JILL M.                     BARTON, JILL
163 KINGFISHER AVE                      ADDRESS ON FILE                     ADDRESS ON FILE
EVANSTON, WY 82930




BARTON, KELLY                           BARTON, MOLLY                       BARTON, MONIQUE K.
1612 MAPLE STREET                       37 PINE VIEW DR                     ADDRESS ON FILE
ALTON, IL 62002                         LOCK HAVEN, PA 17745




BARTON, MONIQUE                         BARTON, SHARON E.                   BARTRAM, SARA
ADDRESS ON FILE                         301 BLAIRBETH DR                    23 STEVIC RD
                                        SAN JOSE, CA 95119                  MARSHALLVILLE, OH 44645




BARTZ, BRENDA                           BARWICK, BRIAN W.                   BAS
ADDRESS ON FILE                         1400 MCCAUSLAND AVE                 17475 JOPVANNA DR 1B
                                        ST LOUIS, MO 63117                  HOMEWOOD, IL 60430
BAS                      Case 20-10766-BLS     Doc
                                       BASA, JOSE A. 6        Filed 04/07/20   Page BASCO,
                                                                                    133 ofCAROLINE
                                                                                           1969
17475 JOVANNA DR                         2966 W NEMESIS AVE                         ADDRESS ON FILE
SUITE 1 D                                WAUKEGAN, IL 60085
HOMEWOOD, IL 60430




BASEBALL FACTORY INC.                    BASES OF VIRGINIA, LLC                     BASHAM, NANETTE
5801 WALTER ROAD                         114 BREEZY POINT DRIVE                     1103 W. PINE
BIG SPRING, TX 79720                     YORKTOWN, VA 23692                         SALEM, IL 62881




BASILE CHRISTINE                         BASILE, CANDICE L.                         BASILIO, MARIA
12537 MEADOW LANE                        ADDRESS ON FILE                            525 CIRVELO ST
BLUE ISLAND, IL 60406                                                               WATSONVILLE, CA 95076




BASIN 2 WAY RADIO, INC                   BASKERVILLE, HIAWATHA                      BASKIN, DONNA S.
P.O. BOX 1429                            705 VIRGINIA AVE                           14010 HIGHWAY 79 SOUTH
BIG SPRING, TX 79721                     KANSAS CITY, MO 64106                      MCKENZIE, TN 38201




BASKIN, ERIC                             BASKIN, TAJUANA                            BASKINS, JENNY
412 BLACKBURN RD                         443 ADAMS ST                               ADDRESS ON FILE
MCKENZIE, TN 38201                       DOLTON, IL 60419




BASKINS, STEPHANIE N.                    BASLER, JAMIE                              BASLER, JAMIE
ADDRESS ON FILE                          8390 ST RT 127 N                           8390 STATE ROUTE 37 N
                                         ALTO PASS, IL 62905                        ALTO PASS, IL 62905




BASLEY, WILLIAM R.                       BASNIGHT, SONYA                            BASS BERRY & SIMS PLC
ADDRESS ON FILE                          106 GURKIN LANE                            150 THIRD AVE S
                                         PLYMOUTH, NC 27962-0000                    STE 2800
                                                                                    NASHVILLE, TN 37201




BASS GEORGE, KELLE J.                    BASS, DEBORAH                              BASS, DOLLY
P.O. BOX 61                              1164 COUNTY RD 462                         P.O. BOX 1009
ANNA, IL 62906                           PISGAH, AL 35765                           PARKIN, AR 72373




BASS, DOROTHY                            BASS, GLYNNES                              BASS, JENNIFER AND WOOD, RYLEE
12033 S. PERRY AVE                       ADDRESS ON FILE                            1700 INDEPENDENCE LOOP
CHICAGO, IL 60628                                                                   LEXINGTON, TN 38351




BASS, KATHLEEN                           BASS, KEVIN                                BASS, LINDA I.
564 BRADFORD PARK CT                     ADDRESS ON FILE                            ADDRESS ON FILE
LOGANVILLE, GA 30052
BASSET, GALLIGHER          Case 20-10766-BLS
                                         BASSETT,Doc 6 Filed 04/07/20
                                                  DENNIS                Page BASSETT,
                                                                             134 of 1969
                                                                                      TRACY L.
P.O. BOX 2934                            ADDRESS ON FILE                     113 W CANDY LN
CLINTON, IA 52733-2934                                                       COTTAGE HILLS, IL 62018




BASSO, AMANDA - CEO                      BASSO, AMANDA                       BASTABLE, PATRICIA
CROSSROADS COMMUNITY HOSPITAL            ADDRESS ON FILE                     102 REBECCA CT
8 DOCTORS PARK RD                                                            COLLINSVILLE, IL 62234
MT VERNON, IL 62864




BASTEN, JILL                             BASTIAN, ARNOLA                     BASTIAN, LAURA K.
ADDRESS ON FILE                          755 SKYLINE DR                      ADDRESS ON FILE
                                         COBDEN, IL 62920




BASTIAN, LAURA M.                        BASTIDA, SARAH                      BASWELL JENNIFER RENAE
7806 W. 165TH PLACE                      ADDRESS ON FILE                     ADDRESS ON FILE
TINLEY PARK, IL 60477




BASWELL, JENNIFER                        BASWELL, JENNIFER                   BATAC-PARKER, PAMELA
96 ROBIN LN                              ADDRESS ON FILE                     39275 N MCAREE RD.
RAINSVILLE, AL 35986                                                         BEACH PARK, IL 60099




BATALLA, GAMALIEL                        BATAYEH, LAUREN E.                  BATCHELOR & KIMBALL INC
6212 OLD BRIDGE AVE NW                   10117 CAMBRIDGE DRIVE               2227 PLUNKETT RD NW
MASSILLON, OH 44646                      MOKENA, IL 60448                    CONYERS, GA 30012




BATCHELOR & KIMBALL, INC                 BATCHELOR, ANJALEE                  BATCHELOR, LAWANDA A.
P.O. BOX 70                              812 COUNTRY CLUB                    410 COUNTY ROAD 326
6700 TRIBBLE STREET                      STANSBURY PARK, UT 84074            CHERRY VALLEY, AR 72324
LITHONIA, GA 30058-0000




BATCHIK, GIA U.                          BATEMAN, ALEXIS J.                  BATEMAN, JAZZAE
2901 SMITH GRADE                         5523 GENEVA WAY                     ADDRESS ON FILE
SANTA CRUZ, CA 95060                     TOOELE, UT 84074




BATEMAN, KAYLA                           BATEMAN, LISA M.                    BATEMAN, VICKIE L.
32917 DIAMOND HILL DR SPACE D            ADDRESS ON FILE                     ADDRESS ON FILE
HARRISBURG, OR 97446




BATES MALLORY A                          BATES SALES COMPANY                 BATES, CAITLIN A.
1133 PACK CREEK RD                       A DIV OF PURVIS INDUSTIRES          ADDRESS ON FILE
BLUE RIDGE, GA 30513                     P.O. BOX 540757
                                         DALLAS, TX 75354-0757
BATES, JACK             Case 20-10766-BLS     Doc 6
                                      BATES, JODY         Filed 04/07/20     Page BATES,
                                                                                  135 ofLAUREN
                                                                                          1969
438 LAKESHORE DR                       123 GEOFFREY LN                            ADDRESS ON FILE
LEXINGTON, TN 38351                    OXFORD, GA 30054




BATES, MONIQUE                         BATES, SAMANTHA R.                         BATES, TIFFANY
ADDRESS ON FILE                        317 30TH ST. APT 310 C                     P.O. BOX 20554
                                       SPRINGFIELD, OR 97478                      CHICAAGO, IL 60620




BATES, WHITNEY                         BATESVILLE CLINIC PA                       BATH, TINA G.
2109 BROWNS CHAPEL RD                  107 EUREKS ST                              ADDRESS ON FILE
RAINSVILLE, AL 35986                   BATESVILLE, MS 38606




BATH, TINA                             BATHEN, JOHN R.                            BATJES, JANINE D.
ADDRESS ON FILE                        ADDRESS ON FILE                            35024 LAKE MATTHEWS
                                                                                  INGLESIDE, IL 60041




BATSON, ANGELICA                       BATSON, ANTOINETTE R.                      BATSON, ERICA IRENE
P.O. BOX 701                           430 PARK LANE                              4820 BOHLEYSVILLE ROAD
COAHOMA, TX 79511                      HERRIN, IL 62948                           WATERLOO, IL 62298




BATSON, HUNTER C.                      BATSON, REBECCA L.                         BATTEAU, GAIL
ADDRESS ON FILE                        2617 PINE STREET                           3876 FELICIA RD
                                       GRANITE CITY, IL 62040                     PINCKNEYVILLE, IL 62274-3015




BATTEN JEANNE G                        BATTEN, JAMES R.                           BATTEN, SHANNON E.
904 SCHOOL DRIVE                       1945 US HIGHWAY 150 N                      601 GREENHILL BLVD NW APT B302
WILLIAMSTON, NC 27892                  GALESBURG, IL 61401                        FORT PAYNE, AL 35967




BATTEN, STEVEN                         BATTERIES PLUS                             BATTERTON, CAROLE A.
P.O. BOX 56                            3045 LANCASTER DRIVE NE                    989 E FREMONT ST
BOONEVILLE, KY 41314-0056              SALEM, OR 97305                            GALESBURG, IL 61401




BATTERY SPECIALIST GOLF CARS           BATTERY SPECIALISTS & GOLF CARS MBC        BATTISE, LATRICIA
800 SPRINGFIELD ROAD                   1018 S 10TH ST                             ADDRESS ON FILE
TAYLORVILLE, IL 62568                  MT VERNON, IL 62864




BATTISFORE, BRIAN                      BATTISTI, EZIO                             BATTLE BORN MEDIA LLC
404 BLUFFS EDGE DR                     210 GEORGE AVE                             509 HOTEL PLAZA
LAKEMOOR, IL 60051                     NEW ELLENTOWN, SC 29809-3017               BOULDER CITY, NV 89005
BATTLE, KIMARA          Case 20-10766-BLS
                                      BATTLES,Doc
                                               GAIL 6      Filed 04/07/20   Page BATTLES,
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                                                                                          JUSTIN
9937 S. CICERO 105                      200 CEDAR RIDGE LANE                     139 ROOSTER LN
OAK LAWN, IL 60453                      APT 205                                  LINDEN, TN 37096-0000
                                        RICHTON PARK, IL 60471




BATTLES, RACHEL A.                      BATTLES, RACHEL A.                       BATTLES, SARA
ADDRESS ON FILE                         P.O. BOX 419                             1155 CO RD 43
                                        MENTONE, AL 35984                        CEDAR BLUFF, AL 35959




BATTS SERVICES                          BATTS, BETTY A.                          BATTS, BETTY A.
501 MCALLISTER ROAD                     707 LICKLITER ST                         ADDRESS ON FILE
ALBERTVILLE, AL 35950                   BENTON, IL 62812




BATTY, CRAIG A                          BATY, JANICE                             BATZLAFF, ASHTON L.
384 E 1050 S                            3304 WEST HIGHWAY 80 APT26               126 MADELINE WAY APT 117
SPTINGDALE, UT 84663                    BIG SPRING, TX 79720                     WHITE HOUSE, TN 37188




BAUCHMAN, TOM                           BAUDER, SYLVIA WANNITE                   BAUDVILLE
1002 LAKEVIEW DR                        467 WEST FAIRVIEW DRIVE                  5380 52ND ST
EVANSVILLE, IL 62242                    SPRINGFIELD, OR 97477-0000               GRAND RAPIDS, MI 49512




BAUER, AUDREY                           BAUER, BARRY LEWIS                       BAUER, CONNIE
26181 W SPRING GROVE ROAD               4946 78TH ST E                           158 W VINE ST
ANTIOCH, IL 60002                       BRADENTON, FL 34203-7984                 GRANTSVILLE, UT 84029




BAUER, DAN                              BAUER, DENISE                            BAUER, DUSTIN
158 W VINE ST                           2177 N 130 W                             1056 MEADOW LAKE DR
GRANTSVILLE, UT 84029                   TOOELE, UT 84074                         MARYVILLE, IL 62062




BAUER, GERALD D.                        BAUER, JANE                              BAUER, MACIE
875 BAUER RD                            101 GRAND AVENUE                         2109 WINSTON LANE
JONESBORO, IL 62952                     ANNA, IL 62906                           YOUNG HARRIS, GA 30582




BAUER, PAMELA                           BAUER, ROSE                              BAUER, SHANNON L.
29 RUSHMORE                             1438 SCHAEFER RD                         308 SOUTH BENTLEY APT D
GLEN CARBON, IL 62034                   GRANITE CITY, IL 62040                   MARION, IL 62959




BAUER, STEVEN ANDREW                    BAUER, TANYA L.                          BAUER, VALERIE
787 HAYDEN BRIDGE PL                    2901 PERSHING BLVD                       5701 HILLCREST PLACE
SPRINGFIELD, OR 97477                   GRANITE CITY, IL 62040                   MIDLAND, TX 79707
BAUER-LINCOLN, ZAIR R.     Case 20-10766-BLS    Doc A6
                                         BAUGH WILLIE        Filed 04/07/20   Page BAUGH,
                                                                                   137 ofCATHY
                                                                                          1969
ADDRESS ON FILE                           12226 S CARPENTER                       20621 CO. HWY 22
                                          CHICAGO, IL 60643                       HOYLETON, IL 62803




BAUGH, DAVID L.                           BAUGH, JAMMIE R.                        BAUGH, KRISTINA
3115 W 114TH STREET                       ADDRESS ON FILE                         P.O. BOX 517
MERRIONETTE PARK, IL 60803                                                        BLUE RIDGE, GA 30513-0000




BAUGH, MELISSA J.                         BAUGH, NICHOLLE                         BAUGH, NORMA J.
ADDRESS ON FILE                           224 TOPONCE DR                          835 ODE PEPPERS ROAD
                                          EVANSTON, WY 82930                      WINDER, GA 30680-4715




BAUGH, SHERRI L.                          BAUGHAM, RANDY G.                       BAUGHMAN, CINDY L.
ADDRESS ON FILE                           ADDRESS ON FILE                         6100 RIDGEWOOD SW
                                                                                  CANTON, OH 44706




BAUGHMAN, ELIZABETH J.                    BAUGHMAN, ERIN                          BAUGHMAN, PATRICIA A.
ADDRESS ON FILE                           C/O CHARGES BAUGHMAN                    4254 GREENWAY TRAIL ST NW
                                          1965 HIGH STREET                        MASSILLON, OH 44647
                                          CHESTER, IL 62233




BAUGHMAN, RICHARD                         BAUGUS, MATTHEW S.                      BAULER, KATHRYN LOUISE
98 STONEY RIDGE LN                        ADDRESS ON FILE                         P.O. BOX 12
MILL HALL, PA 17751                                                               SPRINGER, NM 87747




BAUM SHARON L                             BAUM, DIANE L.                          BAUM, JEFFREY
540 MICAHS WAY                            ADDRESS ON FILE                         300 N FIRST ST
COLUMBIA, IL 62236                                                                LENZBURG, IL 62255




BAUM, KARLA                               BAUM, LORI A.                           BAUM, RON V
250 N TAYLOR RD                           ADDRESS ON FILE                         561 UPLAND DR
GRANTSVILLE, UT 84029                                                             TOOELE, UT 84074




BAUM, SHARON L.                           BAUM, TARA MD                           BAUMANN, RICHARD
11605 SARBAUGH ST SW                      1132 OLD WAGON RD                       10642 S HOYNE
MASSILLON, OH 44647-9767                  KNOXVILLE, IL 61448                     CHICAGO, IL 60643




BAUMANN, WILLIAM                          BAUM-DOHERTY, SHANNON                   BAUMGARTEN JADE
2031 R 4TH STREET                         845 TAMWOOD DRIVE                       4928 N DAWN DR
MADISON, IL 62060                         CANAL FULTON, OH 44614                  PEORIA, IL 61614
BAUMGERALD, GERALD E.    Case 20-10766-BLS     Doc 6A. Filed 04/07/20
                                       BAUNE, KELSEY                     Page BAUS,
                                                                              138 of  1969
                                                                                    RACHEL
670 DARTMOUTH ST SE                     ADDRESS ON FILE                       13109 OLD LINCOLN WAY
BREWSTER, OH 44613                                                            ORRVILLE, OH 44667




BAUSCH & LOMB - SURGICAL DIV            BAUSCH & LOMB SURGICAL                BAUSCH & LOMB
4395 COLLECTION CENTER DR               4395 COLLECTIONS CENTER DR            50 TECHNOLOGY DR
CHICAGO, IL 60693-0043                  CHICAGO, IL 60693-0043                IRVINE, CA 92618




BAUSCH & LOMB                           BAUTISTA, ANGELITA C.                 BAUTISTA, BEATRIZ A.
BAUSCH HEALTH US,LLC                    ADDRESS ON FILE                       ADDRESS ON FILE
4395 COLLCTION CENTER DR
CHICAGO, IL 60693-0043




BAUTISTA, MARIANA                       BAUTISTA, MARIANA                     BAWCUM, MYRTLE L.
ADDRESS ON FILE                         378 DUGOUT VALLEY ROAD LOT 2          356 LEOTA DR
                                        FORT PAYNE, AL 35968                  LEXINGTON    TN, TN 38351




BAX, BERNADETTE                         BAXENDALE, AMANDA                     BAXTER HEALTHCARE BIOTECH GROU
ADDRESS ON FILE                         ADDRESS ON FILE                       P.O. BOX 70564
                                                                              CHICAGO, IL 60673-0564




BAXTER HEALTHCARE CORP                  BAXTER HEALTHCARE CORP                BAXTER HEALTHCARE CORP
P.O. BOX 100714                         P.O. BOX 70564                        P.O. BOX 70564
PASADENA, CA 91189-0003                 CHICAGO, IL 60673                     CHICAGO, IL 60673-0564




BAXTER HEALTHCARE CORP                  BAXTER HEALTHCARE CORP                BAXTER HEALTHCARE CORPORATION
P.O. BOX 730531                         P.O. BOX 905788                       1 BAXTER PKWY
DALLAS, TX 75373                        CHARLOTTE, NC 28290                   DEERFIELD, IL 60015




BAXTER HEALTHCARE                       BAXTER HEALTHCARE/MED DELIVERY        BAXTER IV SYSTEMS DIV
PO BOX 70564                            P.O. BOX 100714                       P O BOX 70564
CHICAGO, IL 60673                       PASADENA, CA 91189-0003               CHICAGO, IL 60673




BAXTER, ANDREW                          BAXTER, DONNA H.                      BAXTER, EDNA M.
559 HIGH ST NW                          ADDRESS ON FILE                       P.O. BOX 276
CARROLLTON, OH 44615                                                          104 N LINE ST
                                                                              CREAL SPRINGS, IL 62922




BAXTER, HOLLY                           BAXTER, JAMES L.                      BAXTER, LUCY
908 CALVERT                             2438 COCHRAN ST                       811 N 7TH ST
FORREST CITY, AR 72335                  BLUE ISLAND, IL 60406                 ALPINE, TX 79830
BAXTER, TERESA          Case 20-10766-BLS
                                      BAXTER, Doc 6 DOUGLAS
                                              WARREN Filed 04/07/20       Page BAY
                                                                               139MEDICAL
                                                                                   of 1969
1645 SPRUCE AVE                        37859 ROW RIVER RD                     2710 NORTHRIDGE DR. NW
GALESBURG, IL 61401                    P.O. BOX 224                           SUITE B
                                       DORENA, OR 97434                       WALKER, MI 49544




BAY MEDICAL, INC                       BAY MICHEAL                            BAYARDO, EDUARDO V.
2710 NORTHRIDGE DR NW                  3740 W 117TH ST                        47470 HIGHWAY 58 APT C
SUITE B                                GARDEN HOMES, IL 60803-4212            OAKRIDGE, OR 97463
GRAND RAPIDS, MI 49544-9112




BAYER CORPORATION                      BAYER HEALTHCARE FDB MEDRAD            BAYER HEALTHCARE LLC
BAYER HEALTHCARE LLC                   P.O. BOX 360172                        100 BAYER ROAD
P.O. BOX 360172                        PITTSBURGH, PA 15251-6172              PITTSBURGH, PA 15205
PITTSBURGH, PA 15251




BAYER HEALTHCARE LLC                   BAYER HEALTHCARE PHARMACEUTICALS       BAYER HEALTHCARE
P.O. BOX 360172                        INC                                    P.O. BOX 360172
PITTSBURGH, PA 15251-6172              P.O. BOX 10435                         PITTSBURGH, PA 15251-6172
                                       PALANTINE, IL 60055-0435




BAYER HEALTHCARE                       BAYER, DANNY                           BAYER, LOLA
PO BOX 360172                          P.O.BOX 922                            1970 EVELYNS DRIVE
PITTSBURGH, PA 15251-6172              MT VERNON, IL 62864                    HOLLISTER, CA 95023




BAYER, RYAN                            BAYES, AMY B.                          BAYES, AUDREY
ADDRESS ON FILE                        401 CROW ST.                           107 TERRY RD
                                       BIG SPRING, TX 79720                   BIG SPRING, TX 79720




BAYES, DEBBIE                          BAYES, KEVIN R                         BAYES, SAMANTHA
7307 N. SERVICE RD                     ADDRESS ON FILE                        2307 BRENT DRIVE
BIG SPRING, TX 79720                                                          BIG SPRING, TX 79720




BAYLEE WATSON                          BAYLES, RANDY                          BAYLESS KAREN R
2981 OLD MILL RD                       2670 PERRY DR SW                       1668 S THOMPSONVILLE RD
RUTLEDGE, GA 30663                     CANTON, OH 44706-2225                  THOMPSONVILLE, IL 62890




BAYLEY ANGELA                          BAYLIS MEDICAL COMPANY INC             BAYLISS, ANDREA
111 LELAND LN                          5959 TRANS-CANADA HIGHWAY              38757 JASPER LOWELL RD
OTTAWA, IL 61350                       MONTREAL, QC H4T 1A1                   FALL CREEK, OR 97438
                                       CANADA




BAYLOR COLLEGE OF MEDICINE DEPT OF     BAYLOR COLLEGE OF MEDICINE             BAYLOR SCOTT & WHITE MEDICAL CENTER
NEUROLOGY                              DEPT OF NEUROLOGY                      (TEMPLE) PROGRAM
7200 CAMBRIDGE STREET, 9A              7200 CAMBRIDGE STREET, 9A              MS-01-161B 2401 SOUTH 31ST ST
PETER KELLAWAY SEC OF NEUROPHYSIOLO    PETER KELLAWAY SEC OF NEUROPHYSIOLO    C/O BARBARA EDWARDS,GME ADMIN
HOUSTON, TX 77030                      HOUSTON, TX 77030                      TEMPLE, TX 76508
BAYLOR, ANDREW           Case 20-10766-BLS    DocPRODUCTS
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                                                                           140 ofTAYLOR
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10225 W FORD AVE                       2710 NORTHRIDGE DR. NW              447 E WILLARD ST APT 8
BEACH PARK, IL 60099                   STE B                               WATAGA, IL 61488
                                       WALKER, MI 49544




BAYON, HAZEL MARIE S.                  BAYOU REGION SURGICAL CENTER        BAYS, DAVID
ADDRESS ON FILE                        604 N. ACADIA RD.                   130 WEST ST APT 1
                                       SUITE 300                           EDWARDSVILLE, IL 62025
                                       THIBODAUX, LA 70301-4847




BAYSINGAR, RODNEY                      BAYSINGER MICHAEL L                 BAZE, MATTHEW
P.O. BOX 157                           13303 COCHRAN ROAD                  12536 E. IDLEWOOD RD
ALTONA, IL 61414                       MARION, IL 62959                    MT. VERNON, IL 62864




BAZE, SHELBY B.                        BAZEMORE (BROWN), JAMESE            BAZEMORE, CHARLENE
31 RED BIRD TRAIL                      1510 COOPER HILL RD                 ADDRESS ON FILE
BLUE RIDGE, GA 30513                   WINDSOR, NC 27983




BAZEMORE, TAKELYA                      BAZZELL, CHARLA                     BB & T BANK
101 OUTERBRIDGE RD                     5867 HENRY MANSFIELD RD             ATTN: BRITTANY STUCK
WILLIAMSTON, NC 27892                  HENRY, TN 38231                     902 WASHINGTON ST
                                                                           WILLIAMSTON, NC 27892




BBM ENGINEERING                        BC ADVANTAGE ATTN:REFUNDS           BC BS OF PA HIGHMARK
38715 N DREXEL BLVD                    P.O. BOX 360899                     P.O. BOX 890062
ANTIOCH, IL 60002                      BIRMINGHAM, AL 35236                CAMP HILL, PA 17089-0062




BC BS OF WA                            BC COMMUNITY FHP                    BC COMMUNITY FHP
ATTN: ACCOUNTING                       P.O. BOX 3418                       P.O. BOX 804433
P O BOX 27630                          SCRANTON, PA 18505                  CHICAGO, IL 60680
ALBUQUERQUE, NM 87125-7630




BC COMMUNITY MMAI                      BC GROUP INTERNATIONAL INC          BC GROUP INTERNATIONAL INC
P O BOX 805107                         3081 ELM POINT INDUSTRIAL DR        3081 ELM POINT INDUSTRIAL DRIVE
CHICAGO, IL 87780-4112                 ST CHARLES, MO 63301-4333           ST CHARLES, MO 63301-4333




BC GROUP INTERNATIONAL, INC.           BC GROUP INTL INC                   BC HEATING & AIR
3081 ELM POINT INDUSTRIAL DRIVE        3081 ELM POINT INDUSTRIAL DR        P.O. BOX 1273
SAINT CHARLES, MO 63301                SAINT CHARLES, MO 63301             MUNFORD, TN 38058




BC INNOVATION PHY                      BC MCR HMO                          BC OF OREGON PREFERRED
901 MCCLINTOCK DRIVE                   P.O. BOX 850107                     P.O. BOX 30805
STE 203                                CHICAGO, IL 60680-4112              SALT LAKE CITY, UT 84130
BURR RIDGE, IL 60527
BC/BS OF TEXAS            Case 20-10766-BLS
                                        BC/BS OFDoc  6
                                                 TEXAS       Filed 04/07/20   Page BCBS
                                                                                   141 -of
                                                                                        TN1969
RE:PATIENT REFUND                        RE:PATIENT REFUND                        1 CAMERON HILL CIR
P.O. BOX 731431                          P.O. BOX 844854                          SUITE 2
DALLAS, TX 75373                         DALLAS, TX 75284                         CHATTANOOGA, TN 37402




BCBS ANTHEM                              BCBS CENTENNIAL CARE                     BCBS CO & NV PPO
P.O. BOX 933657                          P O BOX 27838                            21555 OXNARD ST
ATLANTA, GA 31193-3657                   ALBUQUERQUE, NM 87125                    WOODLAND HILLS, CA 91367




BCBS FEDERAL                             BCBS FEP                                 BCBS FEP
P.O. BOX 805107                          ATTN: REFUNDS                            ATTN: REFUNDS
CHICAGO, IL 60680-3625                   P.O. BOX 805107                          P.O. BOX 805107
                                         CHICAGO, IL 60680                        CHICAGO, IL 60680-3625




BCBS FEP                                 BCBS FEP                                 BCBS HMO
P.O. BOX 73651                           P.O. BOX 7368                            P.O. BOX 11968
CLEVELAND, OH 44193-1117                 GA083E-0014/REFUND DEPT.                 ALBUQUERQUE, NM 87192
                                         COLUMBUS, GA 31908




BCBS IL COMMUNITY                        BCBS IL                                  BCBS IL
P.O. BOX 3267                            29068 NETWORK PLACE                      HEALTH CARE SERV REFND DEPT
SCRANTON, PA 18505-0267                  CHICAGO, IL 60673                        2552 NETWORK PL
                                                                                  CHICAGO, IL 60673




BCBS ILLINOIS                            BCBS KY                                  BCBS MD
25718 NETWORK PLACE                      P.O. BOX 105370                          P.O.BOX 1115
CHICAGO, IL 60673-1257                   ATLANTA, GA 30348-5370                   LEXINGTON, KY 40512-4115




BCBS MICHIGAN                            BCBS NC                                  BCBS NM - CENTENNIAL CARE
REFUND DEPT                              P.O. BOX 2291                            P.O. BOX 27838
600 LAFAYETTE EAST                       DURHAM, NC 27702                         ALBUQUERQUE, NM 87125
DETROIT, MI 48226-0000




BCBS OF AR                               BCBS OF CALIFORNIA                       BCBS OF GEORGIA
P.O. BOX 2181                            P O BOX 1505                             P.O. BOX 23920
LITTLE ROCK, AR 72203-2181               RED BLUFF, CA 96080                      ONE ADVANTAGE LLC
                                                                                  BELLEVILLE, IL 62223




BCBS OF GEORGIA                          BCBS OF GEORGIA                          BCBS OF IL
P.O. BOX 73651                           P.O. BOX 7368                            ATTN:REFUNDS
CLEVELAND, OH 44193                      COLUMBUS, GA 31908                       25718 NETWORK PLACE
                                                                                  CHICAGO, IL 60673




BCBS OF ILLINOIS                         BCBS OF ILLINOIS                         BCBS OF ILLINOIS
25553 NETWORK PLACE                      300 EAST RANDOLPH                        ATTN:REFUNDS
CHICAGO, IL 60673-1255                   CHICAGO, IL 60601-5099                   25718 NETWORK PLACE
                                                                                  CHICAGO, IL 60673-1257
BCBS OF ILLINOIS       Case 20-10766-BLS
                                     BCBS OFDoc    6 Filed 04/07/20
                                             ILLINOIS                   Page BCBS
                                                                             142 OF
                                                                                  of ILLINOIS
                                                                                      1969
HEALTH CARE SERVICE CORP             HEALTHCARE SERV CORP                     HEALTHCARE SERVICE CORP
25552 NETWORK PLACE                  300 EAST RANDOLPH                        25553 NETWORK PLACE
CHICAGO, IL 60673-1255               CHICAGO, IL 60601-5099                   CHICAGO, IL 60673-1255




BCBS OF ILLINOIS                     BCBS OF ILLINOIS                         BCBS OF MI
P.O. BOX 3836                        P.O. BOX 805107                          600 EAST LAFAYETTE BLVD
SCRANTON, PA 18505                   CHICAGO, IL 60680-4112                   DETROIT, MI 48226




BCBS OF MICHIGAN                     BCBS OF MICHIGAN                         BCBS OF NC
MICHIGAN REC MC 605C                 P.O. BOX 366                             ATTN: FINANCIAL RECOVERY
P.O. BOX 366                         DETROIT, MI 48231-0366                   P.O. BOX 30048
DETROIT, MI 48231-0366                                                        DURHAM, NC 27702-3048




BCBS OF NC                           BCBS OF NC                               BCBS OF NEW MEXICO
ATTN:FINANCIAL PROCESSING SRVS       P.O. BOX 35                              ATTN REFUND DEPARTMENT
P.O. BOX 30048                       DURHAM, NC 27702                         P O BOX 731431
DURHAM, NC 27702-3048                                                         DALLAS, TX 75373-1431




BCBS OF NM                           BCBS OF NORTH CAROLINA                   BCBS OF NORTH CAROLINA
P.O. BOX 27630                       P.O. BOX 2291                            P.O. BOX 30048
ALBUQUERQUE, NM 87125                DURHAM, NC 27702-2291                    ATTN: FINANCIAL PROCESSING SRVS
                                                                              DURHAM, NC 27702-3048




BCBS OF OHIO - ANTHEM                BCBS OF SOUTH CAROLINA                   BCBS OF TENNESSEE
P.O. BOX 105187                      4101 PERCIVAL ROAD                       1 CAMERON HILL CIRCLE
ATLANTA, GA 30348-5187               COLUMBIA, SC 29229                       SUITE 0002
                                                                              CHATTANOOGA, TN 37402-0002




BCBS OF TENNESSEE                    BCBS OF TEXAS OUTPATIENT                 BCBS OF TEXAS
1 CAMERON HILL CR                    P.O. BOX 660044                          P.O. BOX 660044
CHATTANOOGA, TN 37402                DALLAS, TX 75266-0044                    DALLAS, TX 75266




BCBS OF TN FINANCIAL RECOVERY UNIT   BCBS OF TN/SUBROGATION DEPT.             BCBS OF WYOMING
ONE CAMERON HILL CIR STE 0040        1 CAMERON HILL CIRCLE/SUITE 0008         ATTN FINANCE DEPT
CHATTANOOGA, TN 37402                CHATTANOOGA, TN 37402                    P.O. BOX 2266
                                                                              CHEYENNE, WY 82003-2266




BCBS OF WYOMING                      BCBS TN                                  BCBS UT
P.O. BOX 2266                        1 CAMERON HILL CIRCLE, STE 2             ATTN: REFUND DEPT
CHEYENNE, WY 82003                   CHATTANOOGA, TN 37402-0002               P.O. BOX 30270
                                                                              SALT LAKE CITY, UT 84130




BCBS WV                              BCBS                                     BCBS
P.O. BOX 7026                        CASH RECEIPTS                            P O BOX 7344
WHEELING, WV 26003-0766              P.O. BOX 92306                           CHICAGO, IL 60680-0000
                                     CLEVELAND, OH 44193
BCBS                    Case 20-10766-BLS     Doc 6EMPLOYEE
                                      BCBS/FEDERAL     Filed 04/07/20
                                                             PROGRAM       Page BCBS-FEP
                                                                                143 of 1969
P.O. BOX 2266                         CENTRAL REGION-CCOA LOCKBOX              ATTN: REFUNDS DEPT
CHEYENNE, WY 82003-0000               P.O. BOX 73651                           P.O. BOX 105557
                                      CLEVELAND, OH 44193                      ATLANTA, GA 30348-5557




BCBSIL                                BCBS-IL-BLUE CROSS COMMUNITY             BCBS-MI MEDICARE RPLCMT ADVANTAGE
29068 NETWORK PLACE                   P.O. BOX 3418                            P O BOX 32593
CHICAGO, IL 60673                     SCRANTON, PA 18505-0418                  DETROIT, MI 48232-0593




BCBS-MI                               BCBS-NM                                  BCBS-PA HIGHMARK BCBS
P.O. BOX 32593                        P O BOX 27838                            P.O. BOX 1210
DETROIT, MI 48232-0593                ALBUQUERQUE, NM 87125-7838               PITTSBURGH, PA 15230-1210




BCCLT CONSULTING ENGINEERS            BCH INC                                  BCH, INC.
300 NW SECOND STREET                  DBA WELLNESSWORKS                        D/B/A WELLNESS WORKS
EVANSVILLE, IN 47708-0000             P.O. BOX 677979                          821 SIXTH AVENUE - P.O. BOX 640
                                      DALLAS, TX 75267-7979                    PICAYUNE, MS 39466




BCHFS                                 BD (BECTON, DICKINSON AND COMPANY)       BD HEALTHCARE SYSTEMS
949 COUNTY RD 1300 N                  21588 NETWORK PLACE                      P.O. BOX 70942
CARMI, IL 62821                       CHICAGO, IL 60673-1215                   CHICAGO, IL 60673




BD                                    BDS COURIER INC                          BEACH ANDREW J
21588 NETWORK PL                      P.O. BOX 117                             1080 E 24TH AVE
CHICAGO, IL 60673-1215                NEWBORN, GA 30056                        EUGENE, OR 97405




BEACH MADELINE                        BEACH, BETTY                             BEACH, CRYSTAL L.
204 SOUTH PARK AVE                    6081 BLUE RIDGE DRIVE                    ADDRESS ON FILE
WILLIAMSTON, NC 27892                 BLUE RIDGE, GA 30513




BEACH, LISA J.                        BEACHAM, JUDY D.                         BEACHAM, KENADI
208 WALNUT ST                         105 SLATESTONE DR                        206 BOX ELDER DR
OAK CITY, NC 27857                    WASHINGTON, NC 27889                     GRANTSVILLE, UT 84029




BEACHEL, MIRANDA L.                   BEACON HEALTH OPTIONS INC                BEACON HEALTH OPTIONS INC.
1429 MOUND CITY RD                    P.O. BOX 1850                            240 CORPORATE BOULEVARD
MARION, AR 72364                      HICKSVILLE, NY 11802-1850                NORFOLK, VA 23502




BEACON HEALTH                         BEACON HILL STAFFING GROUP LLC           BEACON MEDAES LLC
500 UNICORN PARK DR                   P.O. BOX 846193                          DEPT 3234
WOBURN, MA 01801                      BOSTON, MA 02284-6193                    P.O. BOX 123234
                                                                               DALLAS, TX 75312-3234
BEACON METALS INC        Case 20-10766-BLS
                                       BEACON Doc  6 HOSPICE
                                              OF HOPE Filed 04/07/20
                                                             OF ILLINOIS Page BEACONMEDAES,
                                                                              144 of 1969 LLC
P.O. BOX 65462                          102 E MAIN ST                        DEPT 3234
SLC, UT 84165                           GALESBURG, IL 61401                  PO BOX 123234
                                                                             DALLAS, TX 75312-3234




BEAGIN, PATRICIA                        BEAGLEY, ELIZABETH A.                BEAL - CHAPMAN, SHANNA
558 BRIDLE CHAP CIR                     ADDRESS ON FILE                      301 SUMMER AZURE ST
MESQUITE, NV 89034                                                           GEORGETOWN, TX 78626




BEAL, CAROLAN                           BEAL, LORRAINE J.                    BEAL, MICHAEL A.
ADDRESS ON FILE                         10924 CARPENTER ST.                  187 MANFRE RD.
                                        MOKENA, IL 60448                     WATSONVILLE, CA 95076




BEAL, SHANNON                           BEAL, STEVE                          BEALL, DENNIS
19155 PIMLICO RD                        1022 BEECH BLUFF RD                  P.O. BOX 223
APPLE VALLEY, CA 92308                  BEECH BLUFF, TN 38313                VALIER, IL 62891-0223




BEALS, LORI                             BEAM, BRIAN A.                       BEAM, ELAINE
265 N 2970 W                            ADDRESS ON FILE                      1025 S 6TH ST SPACE 48
PROVO, UT 84601                                                              HARRISBURG, OR 97446




BEAM, SHERRI L.                         BEAM, TENSIE B.                      BEAMER, MARY SUMNER
16465 PALOMAS RD SE                     101 KEY RD                           48063 W 2ND ST
DEMING, NM 88030                        EDGEFIELD, SC 29824                  P.O. BOX 1145
                                                                             OAKRIDGE, OR 97463




BEAN, ANGELA                            BEAN, CURTISS                        BEAN, ETHEL
P.O. BOX 1181                           16562 N. SEAGULL LN                  30 E 122ND ST
FORREST CITY, AR 72336                  BLUFORD, IL 62814                    CHICAGO, IL 60628-6817




BEAN, JAMIE                             BEAN, JILL A.                        BEAN, KELLY R.
825 CENTENNIAL BLVD                     ADDRESS ON FILE                      ADDRESS ON FILE
SPRINGFIELD, OR 97477




BEAN, RUSSELL W.                        BEANE, PATRICIA                      BEANLAND, JULIE
ADDRESS ON FILE                         1134 3RD ST SE                       4680 OLD HWY 51 N
                                        MASSILLON, OH 44646                  COBDEN, IL 62920




BEAR RIVER DENTAL                       BEAR VALLEY COMMUNITY HOSPITAL       BEAR VALLEY RENTALS
50 PARK RD                              41870 GARSTIN DRIVE                  12402 INDUSTRIAL BLVD, STE G1
EVANSTON, WY 82930                      P.O. BOX 1649                        VICTORVILLE, CA 92395
                                        BIG BEAR LAKE, CA 92315
BEAR, DAVID, MD           Case 20-10766-BLS     Doc 6
                                        BEAR, MICHELE        Filed 04/07/20   Page BEARD
                                                                                   145 of  1969K
                                                                                         AARON
ADDRESS ON FILE                          1570 WATERS EDGE DRIVE                    3945 LYNDALE DR NW
                                         FLEMING ISLAND, FL 32003                  FORT PAYNE, AL 35968-3043




BEARD, ARTHUR                            BEARD, DENEANE M.                         BEARD, EMMETT
10 CHAPEL HILL ACCESS RD                 7232 OLD FRANKLIN ROAD                    3436 W 162ND STREET
MCKENZIE, TN 38201                       FAIRVIEW, TN 37062                        MARKHAM, IL 60428




BEARD, HEATHER Y.                        BEARD, STEVEN                             BEARDALL, BRANDON
ADDRESS ON FILE                          7922 LOS PALMAS RD                        ADDRESS ON FILE
                                         HESPERIA, CA 92344




BEARDEN, EDWARD E.                       BEARDEN, GINA S.                          BEARDEN, HALEY M.
1086 COUNTY RD 539                       1570 NORTH LICK CREEK RD                  276 GREENWOOD LANE
FYFFE, AL 35971-9579                     GOREVILLE, IL 62939                       GERALDINE, AL 35974




BEARDEN, JENNIFER N.                     BEARDEN, MARSHA                           BEARDEN, MELISSA G.
931 E 46TH ST                            14924 AL HIGHWAY 68                       ADDRESS ON FILE
CHICAGO, IL 60653                        CROSSVILLE, AL 35962




BEARE, RANDY                             BEARROW, KIMBERLY                         BEARUP, KARIE A.
3231 BEARE LN                            1565 RIVERVIEW ROAD                       ADDRESS ON FILE
MILLSTADT, IL 62260                      MONROE, GA 30655




BEASLEY, DARLA K.                        BEASLEY, DELORIS                          BEASLEY, DEREK
3427 OLD STATE ROUTE 22                  14422 S INDIANA                           650 WEST ST
GLEASON, TN 38229                        APT 234                                   TAMMS, IL 62988-0000
                                         RIVERDALE, IL 60827




BEASLEY, EDNA L.                         BEASLEY, JENNIFER L.                      BEASLEY, JERRY
18714 RT 13 EAST                         241 ROLLING HILLS LANE                    7 HICKERSON ST
MARION, IL 62959                         MCKENZIE, TN 38201                        MCKENZIE, TN 38201




BEASLEY, JOHNNIE N.                      BEASLEY, JULIE A.                         BEASLEY, KRISTINA
909 PORTER STREET                        ADDRESS ON FILE                           245 WILLOW SHOALS DR.
HELENA, AR 72342                                                                   COVINGTON, GA 30016




BEASLEY, LAKETIA                         BEASLEY, LEANNE C.                        BEASLEY, SHELIA M.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE
BEASLEY, SYBIL C.         Case 20-10766-BLS
                                        BEASLIN,Doc  6
                                                ERIN E.       Filed 04/07/20   Page BEASLIN,
                                                                                    146 of ERIN
                                                                                             1969E.
909 PORTER STREET                         ADDRESS ON FILE                           236 GRAND VIEW CIRCLE
HELENA, AR 72342                                                                    EVANSTON, WY 82930




BEASON CELESTE                            BEASON, LESLIE A.                         BEASTER LESLIE A
2661 WESTMORELAND DR                      ADDRESS ON FILE                           ADDRESS ON FILE
GRANITE CITY, IL 62040




BEASTON, PAMELA                           BEASTON, PAMELA                           BEASTON, VALERIE L.
1034 THOMAS DR                            ADDRESS ON FILE                           ADDRESS ON FILE
RED BUD, IL 62278




BEATA, KELLEY                             BEATHEA, JOHN E.                          BEATIE, JOHN
2645 EDISON AVE                           7124 S TALMAN 2ND FL                      P.O. BOX 628
GRANITE CITY, IL 62040                    CHICAGO, IL 60629                         MINERAL BLUFF, GA 30559-0628




BEATON, NANCY                             BEATRIZ REYES                             BEATTIE, MARK A.
88939 RUSTIC LN                           ADDRESS ON FILE                           2024 TOWNE LAKE HILLS W.
FLORENCE, OR 97439-8632                                                             WOODSTOCK, GA 30189




BEATTY MARKETING & SALES LLC              BEATTY, BETTY                             BEATTY, DR. STEVEN
9345 151ST AVENUE NE                      69 CLUB HOUSE DR                          P O BOX 346
REDMOND, WA 98052                         JEFFERSON, GA 30549-7056                  ANNA, IL 62906




BEATTYVILLE FLORIST                       BEAU BABCOCK                              BEAUCHAMP, MARK
169 MAIN STREET                           1460 G STREET                             844 W 35TH PL
BEATTYVILLE, KY 41311                     SPRINGFIELD, OR 97477                     EUGENE, OR 97405




BEAUFORT CO HOSPITAL/LAB                  BEAULIEU TODD THEOPHEL                    BEAULIEU, RACHAEL
628 E 12TH ST                             35900 JASPER RD                           2342 AMES RD
WASHINGTON, NC 27889                      SPRINGFIELD, OR 97478                     RED BUD, IL 62278




BEAULIEU, SPRING R.                       BEAUMONT, JUNE                            BEAUREGARD, LYDIA M
3387 SHELLBURNE AVE                       1952 HARTFORD ST                          636 NORTHRIDGE AVE
CANTON, OH 44708                          SALINAS, CA 93906                         TOOELE, UT 84074




BEAUREGARD, STEPHANIE                     BEAVER EXPRESS SERVICE, LLC               BEAVER SHREDDING INC.
225 SHADOWBROOKE CIRCLE                   P.O. BOX 1168                             P.O. BOX 1703
LOGANVILLE, GA 30052                      WOODWARD, OK 73802                        BRIDGEVIEW, IL 60455
BEAVER, CARRIE              Case 20-10766-BLS
                                          BEAVER, Doc 6 L. Filed 04/07/20
                                                  JOSHUA                       Page BEAVER,
                                                                                    147 of LOREN
                                                                                            1969 N.
357 FIRST STREET                            8702 KLONDIKE RD                        917 EAST RED BUD ST
MCCAYSVILLE, GA 30555                       WORDEN, IL 62097                        RED BUD, IL 62278




BEAVER, LYNNE R.                            BEAVERS GENEVA                          BEAVERS JERRY B
10724 S. RHODES AVE                         1064 MT OAK RD                          148 HORSESHOE BEND RD
CHICAGO, IL 60628                           ELLIJAY, GA 30536                       MORGANTON, GA 30560




BEAVERS, BELINDA                            BEAVERS, GRAHAM & CALVERT               BEAVERS, HAROLD V.
402 E SYCAMORE ST                           P.O. BOX 320                            10 BEAVER ST
LOUISA, KY 41230                            TAYLORSVILLE, IL 62568                  BLUE RIDGE, GA 30513




BEAVERS, HAROLD                             BEAVERS, JAMES                          BEAVERS, MEKESHA E.
783 S ALDRIDGE LN                           830 OLD MOBILE RD                       214 PADENREICH AVE
ROUND LAKE, IL 60073                        MCCAYSVILLE, GA 30555                   GADSDEN, AL 35903




BEAVERS, PAMELA                             BEAVERS, SARAH                          BEAVERS, WADE
475 YELLOW CREEK RD                         193 COUNTY ROAD 1303                    299 GARDEN WOOD LANE
EVANSTON, WY 82930                          BRIDGEPORT, TX 76426                    MURPHY, NC 28906




BEAVERS, WILLIAM                            BEAVER-VISITEC INTERNATIONAL INC        BEAVER-VISITEC INTERNATIONAL, LTD
1064 MOUNTAIN OAK RD                        P.O. BOX 842837                         P.O. BOX 842837
ELLIJAY, GA 30536-2687                      BOSTON, MA 02284-2837                   BOSTON, MA 02284-2837




BEAVER-VISITEC INTL.,INC.                   BEAZER, GREGORY R.                      BEAZER, JEFFREY
P.O. BOX 734261                             ADDRESS ON FILE                         ADDRESS ON FILE
CHICAGO, IL 60673-4261




BEAZER, KELLI                               BEAZLEY INSURANCE COMPANY               BEAZLEY USA SERVICES, INC.
74 NO. TRACKSIDE CIRCLE                     30 BATTERSON PARK RD                    30 BATTERSON PARK ROAD
GRANTSVILLE, UT 84029                       FARMINGTON, CT 06032                    FARMINGTON, CT 06032




BEAZLEY-KENNEDY, JEANETTA M.                BEBOUT, KAYLA M.                        BEBOUT, PATRICIA
2340 ITHICA DR SE                           7187 PARROT ROAD                        28558 HUFFORD RD
MARIETTA, GA 30067                          TAMAROA, IL 62888                       PERRYSBURG, OH 43551




BEC INTEGRATED SOLUTIONS                    BECERRA, DIANA                          BECHAUD, VIOLETTA
5225 SHERIDAN DRIVE                         3743 W 121ST PL                         308 WOODHILL LN.
GEORGETOWN SQUARE                           ALSIP, IL 60803                         LAKE VILLA, IL 60046
WILLIAMSVILLE, NY 14221
BECHDEL, JACK B.          Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                        BECHEL CHRISTINA              Page BECHTOLD,
                                                                           148 of 1969
                                                                                     JESSICA L.
777 PLUNKETS RUN RD                     1118 E WOODFIELDS DR               229 MADISON AVE
MILL HALL, PA 17751                     ALTON, IL 62002                    ALTON, IL 62002




BECK OIL INC.                           BECK, JASMINE A.                   BECK, JESSICA
16640 D ST.                             4915 MARTIN AVE NE APT J-2         447 BECK DR
VICTORVILLE, CA 92395                   FORT PAYNE, AL 35967               HIAWASSEE, GA 30546




BECK, JOHN                              BECK, JOHN                         BECK, JOSEPH
206 2ND STREET NW                       910 GRAND AVE                      317 N 100 E
FORT PAYNE, AL 35967                    EDWARDSVILLE, IL 62025             TOOELE, UT 84074




BECK, KATHLEEN E.                       BECK, KEVIN                        BECK, MARY L.
12 GREEN VALLEY RD                      620 SHORT STREET                   225 MCKINLEY ST
BELEN, NM 87002                         COLLINSVILLE, IL 62234             WORDEN, IL 62097




BECK, MELANIE                           BECK, MICHAEL                      BECK, MISTY D.
781 EAST SUNSET VIEW ROAD               50 JORDAN AVE                      ADDRESS ON FILE
GRANTSVILLE, UT 84029                   MCKENZIE, TN 38201




BECK, NADEZHDA M.                       BECK, TAMMY                        BECK, WILMA
1151 EAGLES BLUFF DRIVE                 211 TRENTON RD                     1600 BALLEWTOWN ROAD
CLARKSVILLE, TN 37040                   FORREST CITY, AR 72335             BLUE RIDGE, GA 30513-5337




BECKEMEYER GARY R                       BECKER ROSCOW JENNIFER M           BECKER, AMANDA S.
23600 MICHAEL ROAD                      1215 RAYMOND DRIVE                 ADDRESS ON FILE
CARLYLE, IL 62231                       RED BUD, IL 62278




BECKER, ANNE L.                         BECKER, CALEB                      BECKER, HAROLD MATTHEW
12512 HOLM DRIVE                        2204 NICHOLE LN APT C              1309 N ASH ST
HOMER GLEN, IL 60491                    MARION, IL 62959                   P.O. BOX 564
                                                                           JUNCTION CITY, OR 97448




BECKER, JENNIFER                        BECKER, JOSEPH                     BECKER, MICHAEL E.
522 ORCHARD LN P.O BOX 262              12512 HOLM DRV                     4340 INWOOD LANE
BEECHER, IL 60401                       HOMER GLEN, IL 60491               EUGENE, OR 97405




BECKER, NATHAN D.                       BECKETT, JAMES                     BECKETT, PATRICIA
2158 CLEVELAND                          3040 MARK TRAIL                    35894 RT 152
GRANITE CITY, IL 62040                  GLEN CARBON, IL 62034              DUNLOW, WV 25511
BECKFORD, HESLYN          Case 20-10766-BLS   Doc
                                        BECKHAM,    6
                                                 SARA        Filed 04/07/20   Page BECKLEY,
                                                                                   149 of 1969
                                                                                            KENDRA S.
16400 ASHLAND AVENUE                     ADDRESS ON FILE                           8792 STATE ROUTE 154
MARKHAM, IL 60426                                                                  BALDWIN, IL 62217




BECKLEY, PAMELA J.                       BECKMAN COULTER CAPITAL                   BECKMAN COULTER INC
ADDRESS ON FILE                          ATTN KEN JONES REF239205                  DEPT CH 10164
                                         1111 OLD EAGLE SCHOOL RD                  PALATINE, IL 60055
                                         WAYNE, PA 19087




BECKMAN COULTER INC                      BECKMAN COULTER INC                       BECKMAN COULTER
DEPT CH 10164                            DEPT. CH 10164                            DEPT CH 10164
PALATINE, IL 60055-0164                  PALATINE, IL 60055-0164                   PALATINE, IL 60055




BECKMAN, AMANDA M.                       BECKMAN, PATTI A.                         BECKMAN, PATTI A.
181 SUNNYVIEW DRIVE                      314 FLANIGAN RD                           ADDRESS ON FILE
GALESBURG, IL 61401                      MURPHYSBORO, IL 62966




BECKMAN, RICHARD                         BECKMANN, ASHLEY                          BECKMANN, DAVID P.
3355 N DELTA HWY 148                     1606 RUSTIC LN                            6031 S GARFIELD AVE
EUGENE, OR 97408                         ST. JACOB, IL 62281                       BURR RIDGE, IL 60527




BECKSTEAD, JEDEDIAH                      BECKSTEAD, KENNETH                        BECKSTEAD, KRISTIN
318 E HIGHGATE COURT                     P.O. BOX 266                              3631 N CAMPBELL RD
STANSBURY PARK, UT 84074                 LYMAN, WY 82937                           ERDA, UT 84074




BECKSTROM, HEATHER E.                    BECKWITH, NYA L.                          BECKY A CHRISTIANSON
355 BLUFF AVE UNIT 3B                    610 JANET DR                              P.O. BOX 151
LA GRANGE, IL 60525                      LEBANON, IL 62254                         SPEARFISH, SD 57783




BECKY ENGLEHARDT                         BECKY WEBSTER                             BECOAT, MELANIE J.
1122 BRENTWOOD PL                        836 MAPLE AVE                             ADDRESS ON FILE
BRENTWOOD, TN 37027                      GALESBURG, IL 61401




BECTON DICKINSON & COMPANY               BECTON DICKINSON & COMPANY                BECTON DICKINSON AND COMPANY
BD SUPPLY CHAIN SERVICES                 P.O. BOX 28983                            1 BECTON DRIVE
21588 NETWORK PLACE                      NEW YORK, NY 10087-8983                   FRANKLIN LAKES, NJ 07417
CHICAGO, IL 60673-1215




BECTON DICKINSON AND COMPANY             BECTON DICKINSON CRITICAL CARE            BECTON DICKINSON DIAGNOSTIC SYSTEMS
21588 NETWORK PLACE                      P O BOX 223095                            21588 NETWORK PLACE
CHICAGO, IL 60673-1215                   PITTSBURGH, PA 15251                      CHICAGO, IL 60673-1215
                       Case 20-10766-BLS
BECTON DICKINSON MICROBIOLOGY        BECTON Doc    6 Filed 04/07/20
                                             DICKINSON                Page BECTON
                                                                           150 ofDICKSON
                                                                                  1969 & COMPANY
21588 NETWORK PLACE                  P O BOX 70942                        P.O. BOX 100921
CHICAGO, IL 60673-1215               CHICAGO, IL 60673-0001               PASADENA, CA 91189-0921




BECTON, DICKINSON AND COMPANY        BECTON, SABRINA                      BECTON-HILL, TONYA
21588 NETWORK PLACE                  3814 HIGHPOINTE DR                   2707 HEBRON AVE UNIT C
CHICAGO, IL 60673-1215               HEPHZIBAH, GA 30815                  ZION, IL 60099




BED TECHS, INC                       BEDFORD, LESLIEANNE                  BEDGOOD, TEIA R.
7080 CHARTOM CIRCLE                  14592 CAMBRIA RD                     ADDRESS ON FILE
P.O. BOX 300                         CARTERVILLE, IL 62918
AURORA, IN 47001




BEDNAR LORI                          BEDNAR, JAMES                        BEDOYAALMANZA, CARLOS
42340 N ADDISON LANE                 1271 OVERLAND AVE. NE                32 S ORCHARD AVE
ANTIOCH, IL 60002                    NORTH CANTON, OH 44720               WAUKEGAN, IL 60085




BEDUM, SHANTAHER                     BEDWELL, CHASITY                     BEE, MARNISHIA
1 COURTNEY PL                        150 BLACKWELL RD                     ADDRESS ON FILE
APT 105                              DARDEN, TN 38328
BIG SPRING, TX 79720-0000




BEE, MARNISHIA                       BEEBE, ALAN L.                       BEEBE, DORRIS
1801 MARTIN LUTHER DR                ADDRESS ON FILE                      2125 PROVIDENCE ST
HELENA, AR 72342                                                          EUGENE, OR 97401-4978




BEEBE, RONALD                        BEECHAM, DANNY S.                    BEECHAM, RACHEL
1064 LAKEVIEW ROAD SOUTH             ADDRESS ON FILE                      ADDRESS ON FILE
DAHINDA, IL 61428




BEECHAM, ROY                         BEECHAM, SHERRY L.                   BEECHAM, STEPHANIE R.
ADDRESS ON FILE                      83 HIDDEN VALLEY CIRCLE              1129 CHICKASAW ROAD
                                     LEXINGTON, TN 38351                  PARIS, TN 38242




BEECHAM, WILLIAM                     BEECHLER, JENNIFER                   BEECHSTREET
1780 HOLLY SPRINGS CHURCH RD         3424 HARTZEL RD                      ATT: ACCOUNTING
WILLIAMSTON, NC 27892                EDWARDSVILLE, IL 62025               P.O. BOX 1618
                                                                          SAN RAMON, CA 94583




BEEKLEY CORP                         BEEKLEY CORPORATION                  BEEKLEY CORPORATION
ONE PRESTIGE LANE                    ONE PRESTIGE LANE                    ONE PRESTIGE LANE
BRISTOL, CT 06010                    BRISTOL, CT 06010-7468               BRISTOL, CT 27560-6010
BEEKLEY MEDICAL           Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                        BEELER CHARLES                    Page BEELER
                                                                               151 ofIMPRESSION,
                                                                                      1969       INC.
ONE PRESTIGE LANE                       176 BRANDUS DRIVE                      POB 3687
BRISTOL, CT 06010                       HAYESVILLE, NC 28904                   CHATTANOOGA, TN 37404-3687




BEELER IMPRESSIONS, INC.                BEELER, SUSAN                          BEESLEY, ADELE
P.O. BOX 3687                           15097 ARCADIA ST NW                    595 W MULBERRY STREET
2334 MCCALLIE AVENUE                    CANAL FULTON, OH 44614-8540            STANSBURY PARK, UT 84074
CHATTANOOGA, TN 37404-3687




BEETLER DAVID E                         BEETLER DIANNE L                       BEETLER DIANNE L.
PO BOX 27                               1146 KNOX ROAD 2900N                   1146 KNOX ROAD 2900N
ONEIDA, IL 61467                        ALTONA, IL 61414                       ALTONA, IL 61414




BEETLER, ANITA                          BEETLER, DAVID E.                      BEEVERS, SHERRY L.
1890 SUNSET DR                          P.O. BOX 27                            P O BOX 30
GALESBURG, IL 61401                     ONEIDA, IL 61467                       WATSONVILLE, CA 95077




BEGAY, CONNIE                           BEGGARS PIZZA                          BEGGS, ELAINE S.
502 LOS ALAMOGORDOS RD                  12949 S CALIFORNIA AVE                 P.O. BOX 494
LAS VEGAS, NM 87701                     BLUE ISLAND, IL 60622                  LINCOLNTON, GA 30817




BEGIS, KIMBERLY                         BEGORA, ANNA                           BEHAL, ANUJ MD
1317 FIELDSTONE DRIVE                   12936 S EXCHANGE AVE                   2154 W DIVISION 301
WATERLOO, IL 62298                      CHICAGO, IL 60633                      CHICAGO, IL 60622




BEHAVIORAL HEALTH SYSTEMS INC           BEHAVIORAL SAFETY PRODUCTS             BEHITER, SIERRA D.
SAFETY FIRST                            29A NORTH MAIN STREET, SUITE 3         4710 STEFANI ROAD
P.O. BOX 830724                         WATKINSVILLE, GA 30677-0000            RED BUD, IL 62278
BIRMINGHAM, AL 35283-0724




BEHM, WAYNE L.                          BEHNER, JR., BRUCE M.                  BEHNKE, KATIE
10820 E CENTER RD                       ADDRESS ON FILE                        50 PEARSON ROAD
MULKEYTOWN, IL 62865                                                           HARRISBURG, IL 62946




BEHNKEN, AMANDA                         BEHR MCCARTER & POTTER PC              BEHR MCCARTER & POTTER PC
1658 AMES RD                            55 IVAN ALLEN JR BLVD, STE 1000        7777 BONHOMME AVE
PRAIRIE DU ROCHER, IL 62277             ATLANTA, GA 30308                      STE 1400
                                                                               ST LOUIS, MO 63105-1942




BEHRENS JOY K                           BEHRENS, JOY K.                        BEHRENS, JOYCHE
1409 N ACADEMY                          1409 N ACADEMY                         1095 MACOMB RD
GALESBURG      IL, IL 61401             GALESBURG       IL, IL 61401           GALESBURG      IL, IL 61401
BEILER, KRISTI          Case 20-10766-BLS    Doc
                                      BEILMANN,    6 Filed 04/07/20
                                                CHRISTINA              Page BEIN,
                                                                            152 KATIE
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225 DOG RD                             11444 11TH AVE                       11614 S KNOX AVE
PANTEGO, NC 27860                      PLEASANT PRAIRIE, WI 53158           ALSIP, IL 60803-2237




BEITH, MADONNA                         BEITUNI, DIANA                       BEJARANO, ISABEL
99 NEELY COVE                          6238 CARLSBAD DR                     ADDRESS ON FILE
MARION, AR 72364                       TINLEY PARK, IL 60477




BELAIR, CATHY S.                       BELANGEE, KIMBERLY                   BELANGER, VICTORIA A.
170 WALNUT RIDGE 4029                  ADDRESS ON FILE                      P.O. BOX 879 2730 N MOAPA VALLEY
ELLIJAY, GA 30536                                                           LOGANDALE, NV 89021




BELCHER, COCHISE                       BELCHER, DAVID                       BELCHER, HOLLINGS
506 SPRINGMOOR CT                      P.O. BOX 557                         10624 SCATELL ST NW
LOGANVILLE, GA 30052                   ANNA, IL 62906-0000                  CANAL FULTON, OH 44614




BELCHER, JEAISA                        BELCHER, KERRY D.                    BELCHER, REX
102 BELCHER RD                         ADDRESS ON FILE                      1315 HAMILTON AVE E
WILLIAMSTON, NC 27892                                                       WYNNE, AR 72396




BELCHER, ROBERTA                       BELCHER, SHELBI                      BELDEN, SHARON
2140 UPPER PEACHTREE RD                2329 NEW LAKE RD                     P.O.BOX 71
MURPHY, NC 28906                       THOMPSONVILLE, IL 62890              ST ELMO, IL 62458




BELEM, TAMMY M.                        BELEN, MARY GRACE                    BELENKO, VIKTOR I.
398 S 4TH STREET                       ADDRESS ON FILE                      1740 H DELL RANGE BLVD
TOOELE, UT 84074                                                            CHEYENNE, WY 82009




BELEW, JAMES                           BELEW, RACHEL                        BELHASEN, KATHY J.
352 EASTERN SHORES DR                  274 CADES ATWOOD RD                  ADDRESS ON FILE
LEXINGTON, TN 38351                    MILAN, TN 38358




BELHASEN, LORETTA P.                   BELHASEN, SARAH M                    BELHASEN, SARAH M.
ADDRESS ON FILE                        224 SECOND STREET                    838 S. MAYO TRAIL
                                       PAINTSVILLE, KY 41240                PAINTSVILLE, KY 41240




BELIMED INC                            BELINDA BUIES LUMBERJACK TREE        BELINDA FLETCHER
P.O. BOX 602447                        SERVICE                              516 N 8TH ST
CHARLOTTE, NC 28260                    P.O. BOX 2092                        WEST MEMPHIS, AR 72301
                                       WEST HELENA, AR 72390
BELINDA VARDELL           Case 20-10766-BLS     Doc
                                        BELINGON,    6 D. Filed 04/07/20
                                                  JOAN                     Page BELK
                                                                                153SARAH
                                                                                     of 1969
                                                                                          N
3100 E 23RD ST                          205 COUNTY HILL DR                      2840 WAYNE AVE
GRANITE CITY, IL 62040-5912             MARION, AR 72364                        GRANITE CITY, IL 62040




BELL FOWLER, EULA                       BELL HARRY R                            BELL HOSPITAL SYSTEMS INC
P.O. BOX 98                             12815 S JUSTINE ST                      232 S WARWICK AVE
COAHOMA, TX 79511-0098                  CALUMET PARK, IL 60827                  WESTMONT, IL 60559




BELL INTERNATIONAL                      BELL MEDICAL INC                        BELL MEDICAL INC.
8868 RESEARCH BLVD                      1728 MACKLIND AVENUE                    P O BOX 771470
AUSTIN, TX 78758                        ST LOUIS, MO 63110                      ST LOUIS, MO 63177-9816




BELL MEDICAL INC.                       BELL REAL ESTATE, INC                   BELL WEBB, KIMBERLY
P.O. BOX 771470                         630 RIVER ROAD                          7165 HWY 105
ST LOUIS, MO 63177-9816                 EUGENE, OR 97404                        TREZEVANT, TN 38258




BELL, CHARLES                           BELL, CHLOE M.                          BELL, CRAIG
ADDRESS ON FILE                         ADDRESS ON FILE                         P.O. BOX 1616
                                                                                OVERTON, NV 89040




BELL, CURTIS                            BELL, DANIELLE C.                       BELL, DAVON
71 CARSON DR SE                         ADDRESS ON FILE                         13513 MONTEREY WAY
FT WALTON BEACH, FL 32548                                                       VICTORVILLE, CA 92392




BELL, DEANNA L.                         BELL, DONNA G.                          BELL, DORIS
405 E STATE ST                          2535 SUNSET CIRCLE                      101 PLYMOUTH STREET
OFALLON, IL 62269                       LAKE WALES, FL 33898                    WILLIAMSTON, NC 27892




BELL, EDITH                             BELL, FREDA                             BELL, GINA J.
1800 W SUMMIT ST                        1410 COUNTY ROAD 153                    ADDRESS ON FILE
EVANSTON, WY 82930-3143                 FORT PAYNE, AL 35967




BELL, HALEY B.                          BELL, HANNAH W.                         BELL, HEATHER
306 COOK AVE.                           17 STONE DRIVE                          1043 COUNTY ROAD C48
JONESBORO, IL 62952                     SYLVANIA, AL 35988-0573                 LAS VEGAS, NM 87701




BELL, JASMIN A.                         BELL, JULIE                             BELL, KALA R.
ADDRESS ON FILE                         836 WALNUT DRIVE                        1189 SCENIC DR
                                        MONROE, GA 30655                        SECTION, AL 35771
BELL, KAMMERA A.           Case 20-10766-BLS     Doc 6
                                         BELL, KERRY        Filed 04/07/20   Page BELL,
                                                                                  154 LINDA
                                                                                        of 1969
                                                                                             A.
ADDRESS ON FILE                           304 RIDGEWOOD DR                        ADDRESS ON FILE
                                          PLYMOUTH, NC 27962




BELL, MARIA DEL PILAR G.                  BELL, MARILYN                           BELL, ROY
104 SUNSET TERRACE                        2051 CARRINGTON ST                      135 OTTO BELL LANE
SCOTTS VALLEY, CA 95066                   GALESBURG, IL 61401                     COPPERHILL, TN 37317




BELL, SHELBY                              BELL, SHURON C.                         BELL, SUSAN K.
909 ARMORY ROAD PMB 189                   336 WESTMINSTER                         ADDRESS ON FILE
BARSTOW, CA 92311                         GLEN CARBON, IL 62034




BELL, TANYEKA                             BELL, TARA                              BELL, ZACHARY E.
ADDRESS ON FILE                           312 JORDAN ST                           3176 LANGLEY DRIVE
                                          MT VERNON, IL 62864                     FRANKLIN, TN 37064




BELLA, KATHY S.                           BELLAMY DEBORAH                         BELLAMY, AMY L.
ADDRESS ON FILE                           4713 DWARF LANE                         ADDRESS ON FILE
                                          ALTON, IL 62002




BELLAMY, ANGELA L.                        BELLAMY, ANGELA L.                      BELLANDO RORY S
ADDRESS ON FILE                           P.O. BOX 324                            238 BURMA RD
                                          JACKSON, KY 41339                       CAMAS VALLEY, OR 97416




BELLAR, ROBERT E.                         BELL-BURRIES, SELMA                     BELLE, MICHAEL A.
ADDRESS ON FILE                           950 N 89TH ST                           526 MISSION ST.
                                          EAST SAINT LOUIS, IL 62203              SANTA CRUZ, CA 95060




BELLEQUE - JONES, MICHELLE R.             BELLEVILLE EAST HIGH SCHOOL             BELLEVILLE NEWS DEMOCRAT
ADDRESS ON FILE                           ATTN: AARON KREMEL                      P.O. BOX 25428
                                          2555 WEST BLVD                          RICHMOND, VA 23260
                                          BELLEVILLE, IL 62221




BELLEVILLE NEWS DEMOCRAT                  BELLEVILLE NEWS DEMOCRAT                BELLEVILLE SUPPLY
P.O. BOX 427                              P.O. BOX 510356                         700 SOUTH 3RD STREET
BELLEVILLE, IL 62222-0427                 LIVONIA, MI 48151-0000                  P.O. BOX 545
                                                                                  BELLEVILLE, IL 62220




BELLEVILLE SURGICAL CENTER                BELLEVILLE, JOHN L.                     BELLINGER, KENNETH
28 NORTH 64TH ST                          ADDRESS ON FILE                         ADDRESS ON FILE
BELLEVILLE, IL 62223
BELLINGHAM, BECKY        Case 20-10766-BLS    DocREBECCA
                                       BELLINGHAM, 6 Filed
                                                         J. 04/07/20      Page BELLOMY,
                                                                               155 of 1969
                                                                                        STEVEN
405 N 9TH                               ADDRESS ON FILE                        1151 BIG HURRICANE CREEK
HARRISBURG, OR 97446                                                           PRICHARD, WV 25555




BELLOWS, KATHERINE                      BELLS ULTIMATE TRUCK OUTFITTERS        BELLSOUTH TELECOMMUNICATIONS INC
6500 TWIN OAKS PLACE                    2982 WADSWORTH RD                      P.O. BOX 105503
FALLS CHURCH, VA 22042                  WAUKEGAN, IL 60087                     ATLANTA, GA 30348-5503




BELMAN, ESMERALDA                       BELMONT INSTRUMENT CORP.               BELOBRAYDIC, ANTHONY R.
P.O. BOX 52                             780 BOSTON ROAD                        13942 SULPUR SPRINGS ROAD
MOAPA, NV 89025                         BILLERICA, MA 01821                    CREAL SPRINGS, IL 62922




BELONGIE, KATHLEEN                      BELOVED COMMUNITY FAMILY               BELT, TOM
P.O. BOX 384                            WELLNESS CENTER                        237 OAK TREE DRIVE
CHERRY LOG, GA 30522                    6821 S HALSTED ST                      COLUMBIA, IL 62236
                                        CHICAGO, IL 60621




BELTRAN, DIANA                          BELTRAN, GIOVANNI                      BELTZ, JOHN T.
P.O. BOX 463                            108 N SAINT JAMES ST                   ADDRESS ON FILE
STANTON, TX 79782                       WAUKEGAN, IL 60085




BELVILLE, KRISTY                        BELYAEV, STANISLAV V.                  BEMES INC
551 PECK ST                             11117 COUNTRY CLB NE                   800 SUNPARK DR
GALESBURG, IL 61401                     ALBUQUERQUE, NM 87111                  FENTON, MO 63026




BEMESDERFER, LARRY L.                   BEMIS, PATRICIA J.                     BEMPAH, ROSEMOND
1014 TAMARACK LANE                      828 BRIDLE PATH LN                     488 S SOANGETAHA ROAD, APT.27
MARION, IL 62959                        MESQUITE, NV 89034                     GALESBURG, IL 61401




BEN HILL ROOFING & SIDING CO., INC.     BENA, JANE M.                          BENAK, MARK A.
6811 W. BANKHEAD HWY.                   17608 W MEADOWBROOK DRIVE              729 HAMPTON
DOUGLASVILLE, GA 30134                  GRAYSLAKE, IL 60030                    MONROE, GA 30655




BENALLY, ANDREW                         BENAN SYSTEMS                          BENARD, WHITNEY
877 E MAIN ST                           11445 E VIAL LINDA                     ADDRESS ON FILE
GRANTSVILLE, UT 84029                   STE 2 475
                                        SCOTTSDALE, AZ 85259




BENAS, LACEY                            BENAVIDES, REGAN                       BENAVIDEZ, CARI A.
ADDRESS ON FILE                         P.O. BOX 1766                          ADDRESS ON FILE
                                        OVERTON, NV 89040-1766
BENAVIDEZ, CHRISTINA      Case 20-10766-BLS    Doc
                                        BENAVIDEZ,   6 T.
                                                   LEDEN Filed 04/07/20      Page BENAVIDEZ,
                                                                                  156 of 1969TERRAH
403 OLIVIA ROAD                           P.O. BOX 2878                           712 UNION STREET REAR UNIT
LAS VEGAS, NM 87701                       LAS VEGAS, NM 87701                     LAS VEGAS, NM 87701




BENCOMO, ERIK                             BEND PLASTIC FABRICATION & MATERIALS    BENDA, PHILLIP W.
ADDRESS ON FILE                           61505 AMERICAN LANE 101                 6211 W MAIN ST
                                          BEND, OR 97702-0000                     MARYVILLE, IL 62062




BENDER JERRY L                            BENDER, BRUCE A.                        BENDER, DAVID H.
12747 S CARPENTER                         1470 CAMINO DOCE SW                     1503 WEBER DR
CALUMET PARK, IL 60827                    DEMING, NM 88030                        EDWARDSVILLE, IL 62025




BENDIXEN, WAYNE                           BENDLER MECHANICAL INC                  BENDOWSKI, JOSEPH
918 CR 101                                P.O. BOX 1467                           1303 N 6TH STREET
EVANSTON, WY 82930-9065                   HIGH RIDGE, MO 63049                    ALPINE, TX 79830




BENEDICT, CHRISTOPHER                     BENEFIELD JOE E                         BENEFIELD, JENNIFER S.
ADDRESS ON FILE                           79 MAPLE AVE                            712 COUNTY ROAD 264
                                          RAINSVILLE, AL 35986-4863               FORT PAYNE, AL 35967




BENEFIELD, LINA L.                        BENEFIELD, SANDRA H.                    BENEFIELD, VIVIAN J.
1702 SMITH GAP RD NW                      48 RIVERBEND CIRCLE                     79 MAPLE AVE
FORT PAYNE, AL 35968-3049                 GUNTERSVILLE, AL 35976-8326             RAINSVILLE, AL 35986




BENEFIT ADMINISTRATIVE SYSTEMS            BENEFIT ADMINISTRATIVE SYSTEMS          BENEFIT ADMINISTRATIVE SYSTEMS
17475 JOVANNA DR SUITE 1D                 ATTN: REFUNDS                           ATTN: REFUNDS
HOMEWOOD, IL 60430-0000                   17475 JOVANNA DR SUITE 1D               17475 JOVANNA DR
                                          HOMEWOOD, IL 60430                      HOMEWOOD, IL 60430




BENEFIT ASSISTANCE CORP                   BENEFIT MANAGEMENT INC HL               BENEFIT RECOVERY
P.O.BOX 950                               P.O. BOX 1090                           P.O. BOX 172207
HURRICANE, WV 25526                       2015 16TH ST                            MEMPHIS, TN 38187-2207
                                          GREAT BEND, KS 67530




BENEFIT SUPPORT, INC: TOWNS COUNTY        BENEFIT WALLET                          BENEFITWALLET
P.O. BOX 2977                             410 SOUTH AIKMAN                        307 INTERNATIONAL CR
ATTN: JAN STRICKLAND                      C/O KATHRYN GOODWIN                     SUITE 200
GAINESVILLE, GA 30503-2977                MARION, IL 62959                        HUNT VALLEY, MD 21030




BENEK, ANNETTE JANE                       BENEWAH COMMUNITY HOSPITAL              BENGE, ASHLEY
2145 HAYES ST                             229 SOUTH SEVENTH STREET                ADDRESS ON FILE
EUGENE, OR 97405                          SAINT MARIES, ID 83861-1894
BENHAM, SANDRA          Case 20-10766-BLS      DocR.6
                                      BENIN, ALICE       Filed 04/07/20   Page BENITEZ,
                                                                               157 of CELIA
                                                                                        1969E.
12568 HIGHWAY 1812 NORTH              3626 W 125TH ST                          1125 SHERIDAN RD
VANCLEVE, KY 41385                    ALSIP, IL 60803                          WINTHROP HARBOR, IL 60096




BENITEZ, STEPHANIE M.                  BENJAMIN BEN HOLLIS                     BENJAMIN D CHERESKIN
5807 W. 82ND PL.                       607 EAST 9TH ST                         2450 NORTH LAKEVIEW AVE
BURBANK, IL 60459                      ALTON, IL 62002                         CHICAGO, IL 60614




BENJAMIN DO, ERIN                      BENJAMIN STILLMAN PSY.D                 BENJAMIN TRANSPORTATION LLC
1605 PORTAGE ST NW                     134 JAMESTOWN WAY                       P.O. BOX 237
NORTH CANTON, OH 44720                 ANNISTON, AL 36207                      WAYNESBURG, OH 44688




BENJAMIN, CHRISTOPHER S.               BENJAMIN, JULIUS                        BENJAMIN, NATALIE
1930 ELANCO AVENUE                     4206 BERTAND LN                         4554 W 122ND ST
EUGENE, OR 97408                       BEACH PARK, IL 60099                    APT 209
                                                                               ALSIP, IL 60803




BENJAMIN, ONEIDA M.                    BENJAMIN, SUSAN D.                      BENN, AMBER S.
780 FAY ST SE                          740 CABLE CT                            14700 CENTRAL AVE APT B 105
MASSILLON, OH 44646                    SANTA CRUZ, CA 95062                    OAK FOREST, IL 60452




BENNETT ELECTRONIC SERVICE CO          BENNETT ELECTRONIC SERVICE CO           BENNETT KRISTINE B
P.O. BOX 12                            PO BOX 12                               20 QUEBEC CIRCLE
PONTIAC, IL 61764                      PONTIAC, IL 61764                       TOOELE, UT 84074




BENNETT MICHAEL                        BENNETT ROY M                           BENNETT, ALISSA
ADDRESS ON FILE                        264 FOXFIRE ROAD                        5975 CENTER HILL CHURCH RD
                                       BLUE RIDGE, GA 30513                    LOGANVILLE, GA 30052




BENNETT, AMY                           BENNETT, ANGELA G.                      BENNETT, ANNETTE
1500 CHRISTIAN CHAPEL RD               ADDRESS ON FILE                         1840 MOUNT VERNON RD NW
ANNA, IL 62906                                                                 MONROE, GA 30656




BENNETT, BLAKE A.                      BENNETT, CORNELIA                       BENNETT, DEBORAH KAYE
13174 N INDIGO LN                      4348 NC HWY 903                         12157 BAHAMA DRIVE
ASHLEY, IL 62808                       ROBERSONVILLE, NC 27871                 MARION, IL 62959




BENNETT, ELWOOD J.                     BENNETT, IXANDY                         BENNETT, JENNIFER
C/O CRAIG J BENNETT                    ADDRESS ON FILE                         ADDRESS ON FILE
3011 CIRCLE DR
BLOOMSBURG, PA 17815
BENNETT, JESSICA D.      Case 20-10766-BLS    Doc
                                       BENNETT,    6 M.Filed 04/07/20
                                                JOYCE                   Page BENNETT,
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                                                                                      JUSTIN
368 CLEVELAND ST.                       ADDRESS ON FILE                      947 FOREST STREET APT 12
ELBERTON, GA 30635                                                           CHARLESTON, IL 61920




BENNETT, KELLY                          BENNETT, LORETTA                     BENNETT, MARGARITA
306 HOENER AVENUE                       5528 BENT CREEK                      ADDRESS ON FILE
WATERLOO, IL 62298                      HAHIRA, GA 31632




BENNETT, MARGERY C                      BENNETT, MICHAEL                     BENNETT, RENA
545 BALACLAVA DR                        ADDRESS ON FILE                      2205 DAVENPORT RD
GREENVILLE, AL 36037                                                         GREENVILLE, AL 36037-6457




BENNETT, ROXANNE L.                     BENNETT, SHANNON M.                  BENNETT, SHANNON
262 SWARTZ RD                           224 N. 4TH ST.                       ADDRESS ON FILE
AKRON, OH 44319                         DUPO, IL 62239




BENNETT, SHELLY                         BENNETT, SONNY                       BENNETT, STACY L.
3614 E STREET                           345 COLERIDGE DR APT 97              16267 HWY 366
SPRINGFIELD, OR 97478                   SALINAS, CA 93901                    HOLLY GROVE, AR 72069




BENNETT, STACY L.                       BENNETT, STEPHANIE                   BENNETT, SUE R.
ADDRESS ON FILE                         2180 EDLER RD.                       151 W CARL SANDBURG
                                        BISHOP, GA 30621                     GALESBURG, IL 61401




BENNETT, TRACY L.                       BENNETT, TRACY L.                    BENNETT, WILLIAM R.
ADDRESS ON FILE                         6262 HWY 316 SOUTH                   ADDRESS ON FILE
                                        MARVELL, AR 72366




BENNIE BERRY                            BENNINGER, LISA J.                   BENNION BRAE LEE
P.O. BOX 681325                         ADDRESS ON FILE                      335 DESERET AVE
FORT PAYNE, AL 35968                                                         TOOELE, UT 84074




BENNION, PATRICIA                       BENO, ELMARIE A.                     BENOFF, STEVE RAYMOND
511 N BUCHANAN ST                       42 W HAGUE DR                        8033 LEBANON RD
EDWARDSVILLE, IL 62025                  ANTIOCH, IL 60002                    TROY, IL 62294




BENOIST BROTHERS                        BENROTH, REBECCA                     BENSACON, MARY K
107 NORTH 16TH STREET                   506 W 400 S                          7711 CRANFORD NW
MT. VERNON, IL 62864                    TOOELE, UT 84074                     MASSILLON, OH 44646
BENSEMA, BARBARA L.        Case 20-10766-BLS
                                         BENSON Doc 6 Filed
                                                BERTOLDO BAKER04/07/20    Page BENSON
                                                              & CARTER CHTD    159 ofSHELLEY
                                                                                      1969 KAY
15403 HOLLYWOOD DRIVE                     7408 W SAHARA AVE                  4906 WILLOW LANE
ORLAND PARK, IL 60462                     LAS VEGAS, NV 89117                GRANITE CITY, IL 62040




BENSON, BRITTANY R.                       BENSON, CHIQUITA S.                BENSON, DAWN M.
7238 RIVERLAND AVE. S.W.                  ADDRESS ON FILE                    315 E WOOSTER ST
NAVARRE, OH 44662                                                            NAVARRE, OH 44662




BENSON, DEBBIE                            BENSON, GLORIA                     BENSON, JAMES S.
2625 BELT                                 206 B.WILLIAM STREET               508 N. HARRISON ST. APT. 204
EAST ST LOUIS, IL 62201                   CENTRE, AL 35960                   FORT WORTH, TX 79830




BENSON, JANET L.                          BENSON, JESSICA                    BENSON, MARY
ADDRESS ON FILE                           132 S CARR ST                      P.O. BOX 1591
                                          WATAGA, IL 61488                   LOGANDALE, NV 89021-1591




BENSON, MILDRED S.                        BENSON, NICHOLAS C.                BENSON, SCOTT
10448 RIDGELAND AVE                       89 SOUTH VALLEY DRIVE APT 31       10437 LAURENS DR. N.E.
CHICAGO RIDGE, IL 60415                   EVANSTON, WY 82930                 BOLIVAR, OH 44612




BENSON, STEVEN                            BENT KAREN S                       BENT, DALLAS
121 E. NORTH STREET                       C/O TED BENT                       945 OLD CYPRESS RD
DUQUOIN, IL 62832                         1015 STATE ROUTE 97                VIENNA, IL 62995
                                          GILSON, IL 61436




BENT, KAREN S.                            BENTANCUR, JANIE                   BENTHALL, PAULA J.
C/O TED BENT                              609 N. GOLIAD                      ADDRESS ON FILE
1015 STATE ROUTE 97                       BIG SPRING, TX 79720
GILSON, IL 61436




BENTHALL, SHIEKA E.                       BENTLER, BARBARA A.                BENTLEY, CHARLES F
ADDRESS ON FILE                           1264 EASTWOOD CIRCLE SE            131 STONEROAD DR
                                          NORTH CANTON, OH 44720             GREENVILLE, TX 36037




BENTLEY, DALLAS                           BENTLEY, KIMBERLY R.               BENTLEY, MARGARET
224 BENTLEY ROAD                          ADDRESS ON FILE                    4282 FOREST HOME RD
SALYERSVILLE, KY 41465                                                       GREENVILLE, AL 36037-6824




BENTLEY, RHONDA V.                        BENTLEY, TIWEYA S.                 BENTON CITY CHAMBER OF COMMERCE
131 STONE ROAD DR                         ADDRESS ON FILE                    211 N. MAIN
GREENVILLE, AL 36037                                                         P.O. BOX 574
                                                                             BENTON, IL 62812
                       Case 20-10766-BLS
BENTON COMM. PARK DISTRICT           BENTON Doc   6 CLUB
                                             COUNTRY  Filed 04/07/20       Page BENTON
                                                                                160 ofNEWS
                                                                                       1969
P.O. BOX 18                          14783 STATE HWY 14                        SOUTHERN IL LOCAL MEDIA GROUP
BENTON, IL 62812-0000                BENTON, IL 62812                          P.O. BOX 764
                                                                               HARRISBURG, IL 62946




BENTON SHARON                         BENTON, JAMES W.                         BENTON, KATHLEEN
9 SUNDANCE DR                         6789 US 45 S                             1508 FLETCHER ST
MT ZION, IL 62549                     CARRIER MILLS, IL 62917                  COLLINSVILLE, IL 62234




BENTON, LEONARD                       BENTON, ROBERT A.                        BENZ, CHELSEA
72 PLACE FONTAINE                     2200 S 1800 E                            2701 STRATFORD LN
LITHONIA, GA 30038                    SALT LAKE CITY, UT 84106                 GRANITE CITY, IL 62040




BENZINEB, MONIQUE A.                  BEQUETTE, AMANDA R.                      BERA LEASING CO.
10362 W ILLINOIS AVE                  ADDRESS ON FILE                          P.O. BOX 3687
BEACH PARK, IL 60099                                                           CHATTANOOGA, GA 37404




BERACHA KOVACHEVICH, MOSHE            BERANEK, ASHLEY                          BERANEK, KRISTEN D.
1919 WOODLAWN AVENUE                  6112 N KEATING AVE                       ADDRESS ON FILE
EUGENE, OR 97403                      CHICAGI, IL 60646




BERBARI, AUBREY R.                    BERCEGEAY, TRACY                         BERDIS, ANTHONY S.
9040 JANE ST NW                       212 44TH ST NE                           344 SHAW AVE. NE
MASSILLON, OH 44646                   FORT PAYNE, AL 35967                     MASSILLON, OH 44646




BEREAVEMENT SERVICES/RTS              BERENDSON, MELISA L.                     BERENS, FRED
1910 SOUTH AVE                        11535 FELTS RD                           3105 SUNNYBROOK ST NW
GUNDERSON LUTHERAN MEDICAL CTR        CARRIER MILLS, IL 62917                  MASSILLON, OH 44647
LACROSSE, WI 54601




BERENZ LAW NETWORK                    BERG, DENNIS W.                          BERG, ELIZABETH
134 N LASALLE ST                      1319 PARK AVE                            5373 KASKASKIA ROAD
SUITE 1515                            WINTHROP HARBOR, IL 60096                WATERLOO, IL 62298
CHICAGO, IL 60602




BERG-ANDERSON, SAMUAL A.              BERGER MONTAGUE                          BERGER, DAWN
2201 MURIEL DR. APT.10                ATTN: DANIEL WALKER                      21254 S 79TH AVE
BARSTOW, CA 92311                     2001 PENNSYLVANIA AVE, NW, STE 300       FRANKFORT, IL 60423
                                      WASHINGTON, DC 20006




BERGER, MADISON                       BERGER, MARGARET S.                      BERGERON SUSAN W
ADDRESS ON FILE                       19136 CENTER AVE                         716 OQUIRRH AVE
                                      HOMEWOOD, IL 60430                       TOOELE, UT 84074
BERGFELD, THOMAS          Case 20-10766-BLS   Doc 6BRENDA
                                        BERGHAMMER,   Filed 04/07/20   Page BERGIN,
                                                                            161 ofLAURA
                                                                                    1969E.
2222 DEER SPRINGS TR                    ADDRESS ON FILE                     5327 WATERBURY DR 404
SHILOH, IL 62221                                                            CRESTWOOD, IL 60418




BERGIN, PATRICK J.                      BERGIN, PATRICK                     BERGLAND, MARCUS R.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




BERGMAN, FRANK                          BERGMAN, JEANNETTE                  BERGMAN, SYLVIA M.
2009 FAIRFIELD PL APT 2                 87801 LUPE LN                       9027 CHARRINGTON DRIVE
OFALLON, IL 62269-7237                  SPRINGFIELD, OR 97478               FRANKFORT, IL 60423




BERGMAN, VIRGINIA                       BERGMANN ROSCOW PLUMBING INC        BERGMANN, LOUIS
1 SOUTH LAKE AVE                        56 EMPIRE DRIVE                     6754 KONARCIK RD
THIRD LAKE, IL 60030                    BELLEVILLE, IL 62220                WATERLOO, IL 62298




BERGMANN-KRAUSE, JENNIFER A.            BERGMEYER, DONALD                   BERGNER, KITTY
3245 BRIDGERIDGE DR                     2240 CARLYLE ST NW                  1921 GLIDDON BLVD
SAINT LOUIS, MO 63125                   MASSILLON, OH 44646-2520            UNIT A
                                                                            TROY, IL 62294-3345




BERGSTROM, JUDITH                       BERGSTROM, KATHERINE M.             BERGSTROM, STEVEN ALAN
988 N 63RD ST                           ADDRESS ON FILE                     767 S 68TH ST
SPRINGFIELD, OR 97478                                                       SPRINGFIELD, OR 97478




BERKEL, JOHN                            BERKELEY MEDEVICES INC              BERKINSHAW, CATHERINE W.
419 JACKSON                             1330 SOUTH 51ST ST                  330 PONY GHOST TRAIL
STAUNTON, IL 62088                      RICHMOND, CA 94804-4628             BLUE RIDGE, GA 30513




BERKLAN, HELEN E.                       BERKOWITZ, SHIRLEY A.               BERKSHIRE HATHAWAY INTERNATIONAL
821 LEITH AVE                           4458 DEER CREEK DR                  INS LTD
WAUKEGAN, IL 60085                      WOOSTER, OH 44691-7419              8 FENCHURCH PLACE
                                                                            4TH FL
                                                                            LONDON EC3M 4AJ
                                                                            UNITED KINGDOM

BERKSHIRE HATHAWAY                      BERKSHIRE HATHAWAY                  BERKSHIRE, EUGENE
ADDRESS ON FILE                         P.O. BOX 881716                     1943 W HIGH ST
                                        SAN FRANCISCO, CA 94188             ORRVILLE, OH 44667-9419




BERLYAK, CHRISTOPHER L.                 BERMUDEZ, LUCY                      BERMUDEZ, WENDY
108 JOSH LANE                           ADDRESS ON FILE                     1065 FISHER LANE
CARROLLTON, OH 44615                                                        WINNETKA, IL 60093
BERN, MARGARET           Case 20-10766-BLS   Doc
                                       BERNACKI,   6 S. Filed 04/07/20
                                                 MARY                    Page BERNAIX,
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                                                                                       DENNIS
1600 W MAIN                              11650 W 195TH ST                     1848 SPRING AVE
GALESBURG, IL 61401                      MOKENA, IL 60448                     GRANITE CITY, IL 62040




BERNAL, AMANDA                           BERNAL, MONICA M.                    BERNARD E DAVIS
ADDRESS ON FILE                          1102 BARNES AVE                      2167 SANDEEP DR
                                         BIG SPRING, TX 79720                 GALESBURG, IL 61401




BERNARD E RERRI, MD                      BERNARD E RERRI, MD                  BERNARD E RERRI, MD
1000 FAIRFIELD RD                        8 DOCTORS PARK ROAD                  C/O FEIRICH/MAGER/GREEN/RYAN;
MOUNT VERNON, IL 62864                   MOUNT VERNON, IL 62864               MICHAEL A. DAHLEN
                                                                              2001 WEST MAIN STREET
                                                                              CARBONDALE, IL 62903



BERNARD E RERRI, MD                      BERNARD MATTHEW G                    BERNARD, PAULA
C/O ROBERT E EGGMANN, CARMODY            3645 COUNTY RD 49                    244 LEXINGTON
MACDONALD                                CEDAR BLUFF, AL 35959-4713           FORREST CITY, AR 72335
120 S CENTRAL AVE, STE 1800
ST. LOUIS, MO 63105



BERNARDO RIOS                            BERNARDO, ALBERT M.                  BERNARDONI, CHARLES
23 PERIGAN LANE                          ADDRESS ON FILE                      504 BAINBRIDGE RD
GRANITE CITY, IL 62040                                                        MARION, IL 62959




BERNARDONI, JOAN                         BERNER, JILL M.                      BERNETT HARPER
504 BAINBRIDGE RD                        206 HALE AVE                         P.O. BOX 284
MARION, IL 62959                         EDWARDSVILLE, IL 62025               HUGHES, AR 72348




BERNHARD, BETTY JO                       BERNICE FIELDS                       BERNICE PIND
3755 DONALD ST                           2021 B MENARD                        ADDRESS ON FILE
EUGENE, OR 97405                         ST LOUIS, MO 63104




BERNIER, MARYLINE J.                     BERNING, KELLY                       BERREDA, KATRINE
426 SHENANDOAH DRIVE                     13 SIERRA DR                         6450 COUNTY ROAD
ELLIJAY, GA 30540                        GLEN CARBON, IL 62034                FORT PAYNE, AL 35967




BERRESFORD, CLAUDIA J.                   BERRESFORD, SIOBHAN K.               BERRINGER, DELORES
284 SECOND SE                            10661 ELTON ST SW                    709 CRAIGMONT DR
BREWSTER, OH 44613                       NAVARRE, OH 44662                    BIG SPRING, TX 79720




BERRY CATHERINE G                        BERRY, AARON                         BERRY, BRENDA
4629 COUNTY RD 255                       205 NORTH RAILROAD STREET            ADDRESS ON FILE
FORT PAYNE, AL 35967                     CAMPBELL HILL, IL 62916
BERRY, BRITTANIE         Case 20-10766-BLS     Doc 6 W.Filed 04/07/20
                                       BERRY, CHARLES                   Page BERRY,
                                                                             163 ofCOURTNEY
                                                                                    1969
ADDRESS ON FILE                         361 COUNTY ROAD 658                  P.O. BOX 448
                                        GROVEOAK, AL 35975-4227              CAMPTON, KY 41301-0448




BERRY, DANIEL                           BERRY, DOROTHY                       BERRY, ERIN K.
3585 SUNSHINE RD SW                     3507 WELLSPRINGS DRIVE               ADDRESS ON FILE
DEMING, NM 88030                        SAN ANTONIO, TX 79830




BERRY, ETHEL                            BERRY, FRANCES                       BERRY, JASON
P.O. BOX 448                            P. O. BOX 106                        3585 SUNSHINE RD SW
CAMPTON, KY 41301-0000                  CALDWELL, AR 72322                   DEMING, NM 88030




BERRY, JENNY L.                         BERRY, KITTY                         BERRY, LAUREL L.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




BERRY, LESLIE A.                        BERRY, MARCUS J.                     BERRY, SHELBY L.
P.O. BOX 874                            ADDRESS ON FILE                      105 N WASSON DR
COAHOMA, TX 79511                                                            BIG SPRING, TX 79720




BERRY, SHERI                            BERRYMAN CONSTRUCTION CORPORATION    BERSCHEIT, KENNETH
324 HORSE PT                            P.O. BOX 25244                       P.O. BOX 1487
BLUE RIDGE, GA 30513-5724               EUGENE, OR 97402                     EVANSTON, WY 82931-1487




BERSON RANDEE                           BERT SHEPPARD ESTATE                 BERT, ABBY
1110 VISTA DR                           2608 LYNN DR                         1249 SANPAT LN
GURNEE, IL 60031                        BIG SPRING, TX 79720-6132            CARBONDALE, IL 62902




BERTAGNOLE, TRACY                       BERTAGNOLLI, NATALIE                 BERTALMIO, KELLY D.
4612 WENDOVER ST                        ADDRESS ON FILE                      5468 EDISON AVE
EUGENE, OR 97404                                                             OAK LAWN, IL 60453




BERTE, MARIA LORIELET                   BERTIE COUNTY TAX COLLECTOR          BERTILLE MAYBERRY
ADDRESS ON FILE                         P.O. BOX 527                         235 HIGH ST SE
                                        WINDSOR, NC 27892                    CANAL FULTON, OH 44614




BERTLEFF, THOMAS D.                     BERTONE, JOHN E.                     BERTONE, MARIA FRANCINE
720 28TH ST NW                          200 A GREEN MEADOW DR                962 E 24TH AVE
MASSILLON, OH 44647                     WATSONVILLE, CA 95076                EUGENE, OR 97405
BERTRAM, DEBORAH         Case 20-10766-BLS   Doc
                                       BERTSCHI,    6 Filed 04/07/20
                                                 BRIAN                     Page BERUMEN,
                                                                                164 of 1969
                                                                                         MARTHA
526 LEGACY PL                           906 AIRPORT RD                          ADDRESS ON FILE
APT 25                                  MT VERNON, IL 62864
WATERLOO, IL 62298




BERWIND, JOHN SHERRY, III               BESEEKER, CHERIE                        BESHEL, SARAH L.
515 DOUGLAS LN                          6215 CARLSBAD DR                        210 W FOREST AVE APT 303
GALLATIN, TN 37066                      TINLEY PARK, IL 60477-2924              ROUND LAKE, IL 60073




BESOZZI, THOMAS E.                      BESS, ANDREA                            BESS, GWENETTA
1235 7TH ST NE                          ADDRESS ON FILE                         13991 NC HIGHWAY 125 P.O. BOX 74
NO CANTON, OH 44720                                                             HAMILTON, NC 27840




BESSE MEDICAL SUPPLY                    BESSE, ALEXANDRIA P.                    BESST, KARA L.
1576 SOLUTIONS CTR                      411 EAST SPRING ST                      ADDRESS ON FILE
CHICAGO, IL 60677-1005                  MARISSA, IL 62257




BESS-TABB, PAMELLA A.                   BESSY, CECIL                            BEST BEST & KRIEGER LLP
ADDRESS ON FILE                         1978 KINCHELOE LN                       P.O. BOX 1028
                                        MYRTLE POINT, OR 97458-1610             RIVERSIDE, CA 92502




BEST BUY CO. INC.                       BEST COURIER & DELIVERY                 BEST DAVID
26 PLAZA DRIVE                          P.O. BOX 6327                           4717 TOLLEY CREEK DR
FAIRVIEW HEIGHTS, IL 62208              LIBERTYVILLE, IL 60048                  WINSTON SALEM, NC 27106




BEST HOME HEALTH AND HOST               BEST PRACTICE PROFESSIONALS, INC        BEST TAMMY L
105 YELLOW CREEK RD                     DBA ONE SOURCE DOCUMENT MGMT            8549 TREYBROOKE PLACE
EVANSTON, WY 82930                      P.O. BOX 581230                         OFALLON, IL 62269
                                        SALT LAKE CITY, UT 84158-1230




BEST WESTERN MONTEZUMA INN & SUITES     BEST, MICHELLE                          BEST, SHEMECA
2020 N GRAND AVE                        1834 COUNTY RD 680 NORTH                317 EAST SECOND STREET
LAS VEGAS, NM 87701                     FAIRFIELD, IL 62837                     ROBERSONVILLE, NC 27871




BETH A MITCHELL                         BETH ALLEN                              BETH HOSICK
41 BEAGLE RD                            ADDRESS ON FILE                         ADDRESS ON FILE
MILL HALL, PA 17751




BETH MARIE MOORE, M.D.                  BETH NISSEN                             BETH PAUL
ADDRESS ON FILE                         786 LOMBARD STREET                      3365 MOLLANE ST NW
                                        GALESBURG, IL 61401                     MASSILLON, OH 44646
                        Case
BETHANY CHRISTIAN MISSION     20-10766-BLS
                          CENTER       BETHANYDoc    6 Filed 04/07/20
                                                 LINDON                   Page BETHANY
                                                                               165 of 1969
                                                                                       MORATH
17 BETHANY CIRCLE                      P.O. BOX 59                             215 JAMESTOWN RD
CAMPTON, KY 41301                      TOPMOST, KY 41862                       MACOMB, IL 61455




BETHANY RIDER                         BETHEL UNIVERSITY                        BETHEL, MICHAEL
2635 CHRISTIAN CHAPEL RD              325 CHERRY AVENUE                        3312 GREENBRIAR AVE
DONGOLA, IL 62992                     MCKENZIE, TN 38201                       GODFREY, IL 62035




BETHEL, SARA M.                       BETHELL, MAGGIE L.                       BETHUNE, KATHY
3669 DUKE ST.                         ADDRESS ON FILE                          ADDRESS ON FILE
SPRINGFIELD, OR 97478




BETHUNE, OLLIE                        BETHUNE, ORLAN C., JR                    BETHUNE, TARA L.
597 COUNTY ROAD 801                   4937 COUNTY RD 16                        ADDRESS ON FILE
FLAT ROCK, AL 35966                   HENAGAR, AL 35978




BETKE, MARY K.                        BETSY ANDERSON                           BETSY CARTER
25 SHEEHAN DR.                        492 2ND ST SW                            2218 LEMONDS RD
LAKE VILLA, IL 60046                  BREWSTER, OH 44613-1238                  SOCIAL CIRCLE, GA 30025-3115




BETSY LYNN PHOTOGRAPHY                BETT, TONEY                              BETTE FARNETH
401 WEST FRANKLIN STREET              197 COUNTY ROAD 789                      2425 HIGH MILL AVE NW
LOUISA, KY 41230                      IDER, AL 35981                           MASSILLON, OH 44646




BETTERS, BRADLEY                      BETTIE RICHARDSON                        BETTINSON, COURTNEY K.
P.O. BOX 2714                         317 DOGWOOD ST                           ADDRESS ON FILE
BLAIRSVILLE, GA 30514                 PARK FOREST, IL 60466




BETTIS, RENEESHA                      BETTS, DYLAN                             BETTS, SHARYL
ADDRESS ON FILE                       65 ABEL COURT                            32292 RIFLE RANGE ROAD
                                      PONTOON BEACH, IL 62040                  TAMMS, IL 62988




BETTY BRUNS                           BETTY C HAINES                           BETTY CUSIC
2345 N SEMINARY ST                    405 LONG IRON LANE                       105 PECANWAY DR
SEMINARY MANOR                        MESQUITE, NV 89027                       NATCHEZ, MS 39120-4617
GALESBURG, IL 61412




BETTY HOLLAND                         BETTY JO ROONEY, BREWSTER CTY TAX        BETTY NELSON
98 G ST SW                            OFFICE                                   4237 ORCHARD
NAVARRE, OH 44662                     107 WEST AVENUE E, SUITE 1               GALESBURG, IL 61401
                                      ALPINE, TX 79830
BETTY R KELLY               Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                          BETTY SHANKLIN                    Page BETTY
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                                                                                       WOODY
17160 HIGHLAND RD                         1560 KEUPER BLVD NE                   12324 S LOOMIS
LAURINBURG, NC 28352                      MASSILLON, OH 44646                   CALUMET PARK, IL 60827




BETZ, EMMA                                BEVARD INEZ M                         BEVARD, JAMES O.
510 19TH ST NW                            683 N CHERRY ST                       683 N CHERRY ST APT 302
FORT PAYNE, AL 35967                      APT 302                               GALESBURG, IL 61401
                                          GALESBURG, IL 61401




BEVEL, BRITTANIE R.                       BEVEL, LYNDSEY                        BEVER, DAWN K.
ADDRESS ON FILE                           410 LINCOLN AVE SE                    815 E WATERLOO RD
                                          FORT PAYNE, AL 35967                  AKRON, OH 44306




BEVERIDGE, AARON M.                       BEVERLY A HUNT                        BEVERLY AREA PLANNING
1327 GERBER WOODS DRIVE                   510 BETHELL                           1987 WEST 111TH ST
EDWARDSVILLE, IL 62025                    BRINKLEY, AR 72021                    CHICAGO, IL 60643




BEVERLY BANK & TRUST COMPANY NA           BEVERLY BANK & TRUST COMPANY NA       BEVERLY BEST
10258 S WESTERN AVE                       10258 S WESTERN AVE                   3502 VICKSBURG DRIVE
CHICAGO, IL 60010                         CHICAGO, IL 60643                     EDWARDSVILLE, IL 62025




BEVERLY DUNWAY, CLERK                     BEVERLY HARRISON                      BEVERLY KEEL-PETTY CASH CUSTODIAN
170 JUSTICE CENTER DRIVE                  1676 JEFFERSON ST                     ADDRESS ON FILE
SUITE B                                   GALESBURG, IL 61401
LEXINGTON, TN 38351




BEVERLY RICHMOND                          BEVERLY ROSOHO SCHOLARSHIP            BEVERLY S SHAW
219 ILLINI DR                             FUND C/O BANTERRA BANK                ADDRESS ON FILE
GALESBURG, IL 61401                       506 N. VICTOR ST
                                          CHRISTOPHER, IL 62822




BEVERLY SIMPSON INC                       BEVERLY SPORTS APPAREL, INC           BEVERLY WILLIAMS
333 LAKEWOOD CIRCLE                       12714 S. WESTERN AVE                  3445 HWY 17
BURR RIDGE, IL 60527                      BLUE ISLAND, IL 60406                 WILLIAMSTON, NC 27892




BEVILACQUA, ELVINA                        BEVINGTON, MARY                       BEVINS, JUDY
375 CLIFFORD AVE.UNIT 312                 832 STATE AVE NE                      730 HWY 3 SOUTH
WATSONVILLE, CA 95076                     MASSILLON, OH 44646                   LOUISA, KY 41230




BEVINS, LYNDELLA A.                       BEVIS BRADLEY                         BEVIS CONSTRUCTION
ADDRESS ON FILE                           4 TIMBER LANE                         1300 PARK AVE
                                          EDWARDSVILLE, IL 62025                MT VERNON, IL 62864
BEVIS, GAUGE            Case 20-10766-BLS     Doc A.6
                                      BEVIS, LYNNE          Filed 04/07/20   Page BEVIS,
                                                                                  167 of   1969L.
                                                                                         MELINDA
ADDRESS ON FILE                         ADDRESS ON FILE                           8518 NORTH MATISSE LANE
                                                                                  MT. VERNON, IL 62864




BEVIS, STEPHEN                          BEWLEY, MARCI                             BEX, MARY E.
2717 BISHOP AVE                         ADDRESS ON FILE                           312 YOUTH JERSEY RD
MT VERNON, IL 62864                                                               COVINGTON, GA 30014




BEY, ADETOLA                            BEYE, LISA A.                             BEYER, CRAIG A.
10207 S ARTESIAN                        188 LAS COLINAS DRIVE                     ADDRESS ON FILE
CHICAGO, IL 60655                       WATSONVILLE, CA 95076




BEYER, VICTORIA M.                      BEZHANOVA, KLARA                          BEZYACK, CASSANDRA A.
ADDRESS ON FILE                         2408 LITTLE ROUND TOP DR.                 8440 STATE HIGHWAY 150 S
                                        EDWARDSVILLE, IL 62025                    EVANSTON, WY 82930




BG MEDICAL                              BGACDC                                    BH MANAGEMENT SERV.LLC
P.O. BOX 1861                           P.O. BOX 1356                             THE PRESERVE AT OSPREY LAKE
BARRINGTON, IL 60011                    MARVELL, AR 72366                         2025 GREYSTEM CIRCLE
                                                                                  GURNEE, IL 60031




BH PATIENT SOLUTIONS, LLC               BH4 GRAND LLC                             BHAKTA M.D., SHYAM
2817 WEST END AVENUE                    17W 431 NORTH FRONTAGE RD                 7359 BELLERIVE DR
SUITE 126-281                           SUITE 200                                 SOLON, OH 44139
NASHVILLE, TN 37203                     DARIEN, IL 60561




BHAKTA SHUSHILABEN                      BHALLI, ARSHAD                            BHAN, MARIA HELEN LOUISE
1152 NORTH GRAND AVE                    9718 FARRELL DR                           28451 KOKKELER RD
LAS VEGAS, NM 87701                     HOUSTON, TX 77070-0000                    EUGENE, OR 97402




BHARDWAJ, ANITA R.                      BHATTHAL, SHABROOP                        BHP ENTERPRISES
ADDRESS ON FILE                         4318 BERTRAND LANE                        P.O. BOX 267
                                        BEACH PARK, IL 60099                      MIDDLETON, ID 83644




BHUSAL, SANJAYA                         BIAGI, MOLY                               BIAGI, NORA LYNN
ADDRESS ON FILE                         226 E. WILLIAMS                           1124 6TH ST
                                        SALEM, IL 62881                           SPRINGFIELD, OR 97477




BIANCA BAEZ                             BIANCA WILLIAMS                           BIANCO, KATHLEEN
2240 COUNTY ROAD 50                     13403 S. MONTICELL AVE                    4422 STARBOARD CT
LEESBURG, AL 35983                      ROBBINS, IL 60472                         SOQUEL, CA 95073
BIANDO GROUP LLC, THE Case 20-10766-BLS     Doc 6LLC,Filed
                                    BIANDO GROUP      THE 04/07/20   Page BIARNESEN,
                                                                          168 of 1969NEAL M.
3284 MEDLOCK BRIDGE RD, STE 400     4056 WETHERBURN WAY                   573 ANITA AVE APT 1S
NORCROSS, GA 30092                  STE 101                               ANTIOCH, IL 60002
                                    NORCROSS, GA 30092




BIAS, RANDY                          BIASE, PAMELA                        BIBAY, MICHAEL C.
4225 H D ATHA DR                     950 HAYWOOD CREEK RD                 ADDRESS ON FILE
COVINGTON, GA 30014                  PULASKI, TN 38478




BIBB, ANNA M.                        BIBBS, DIANNE J.                     BIBBS, LAURANN
ADDRESS ON FILE                      ADDRESS ON FILE                      1628 W 105TH PL
                                                                          CHICAGO, IL 60643




BIBLE, PAMELA                        BIBY, ALAN & AUDREY                  BICE, EILEEN
2680 HWY 163                         1926 STATE HIGHWAY 14                789 SWEDENBURG RD
WYNNE, AR 72396                      MULKEYTOWN, IL 62865                 KNOXVILLE, IL 61448




BICKEL, KEELY J.                     BICKER ESTHER                        BICKERDIKE, CHARLENE
ADDRESS ON FILE                      180 DAWSON WAY                       POBOX 148 POBOX 148
                                     BLUE RIDGE, GA 30513                 DEMING, NM 88030




BICKERS, JOYCE                       BICKERSTAFF, BRACKY F.               BICKERSTAFF, DANIELLE
2335 CLEAR VUE LN                    1002 BOYCE STREET                    1209 SANDER AVENUE NE
SPRINGFIELD, OR 97477-1343           WILLIAMSTON, NC 27892                FORT PAYNE, AL 35967




BICKHAM, MOLLY K.                    BICKLEIN, JOHN                       BICKSLER IRIS E
ADDRESS ON FILE                      7306 DEER HILL RD                    1313 E 28TH AVE
                                     WATERLOO, IL 62298-4814              EUGENE, OR 97403




BICOASTAL MEDIA                      BIDDLE, LORIA MAE                    BIDDLE, MIRANDA B.
1500 VALLEY RIVER DRIVE, SUITE 350   214 COUNTY ROAD 143                  102 HIGH POINT LANE
EUGENE, OR 97401                     VALLEY HEAD, AL 35989-2004           DONGOLA, IL 62926




BIDDLE, TALITHA                      BIDROWSKI, EDWARD                    BIDWELL, ANGELA S.
256 VAUGHN DR                        13115 S LINDER AVE                   2506 BONNER LANE
RAINSVILLE, AL 35986                 CRESTWOOD, IL 60418                  LINDENHURST, IL 60046




BIDWELL, ANGELA S.                   BIEDERMAN, PEYTON                    BIEGANOWSKI, CASSANDRA L.
ADDRESS ON FILE                      467 VANDERBILT AVE, APT 2B           40480 NORTH LAKE SHORE DR.
                                     BROOKLYN, NY 11238                   ANTIOCH, IL 60002
BIEGGER, WHITNEY E.      Case 20-10766-BLS    Doc
                                       BIELAWSKI,   6 M.Filed 04/07/20
                                                  MARY                         Page BIELKE,
                                                                                    169 ofDENNIS
                                                                                            1969
566 HORN LN                              38651 N DREXEL BLVD                        602 S EAST ST
EUGENE, OR 97404-0000                    ANTIOCH, IL 60002                          NEW ATHENS, IL 62264




BIELLIER, SHIRLEY                        BIEN, STEPHEN                              BIENSKI, DEBRA J.
507 W UVALDE                             820 HOLY OAK ROAD                          801 NORTH 6TH STREET P.O. BOX 215
ALPINE, TX 79830                         EDWARDSVILLE, IL 62025                     MARATHON, TX 79842




BIERLY-LITMAN LOCK & DOOR                BIERMAN, BETTY J.                          BIERMAN, HAROLD
957 MCKINLEY AVE NW                      ADDRESS ON FILE                            10 ROSE WOOD COURT
CANTON, OH 44703                                                                    STEELEVILLE, IL 62288




BIERMAN, MICHAEL D.                      BIESBOER, ANNA M.                          BIESK, JULIA F.
ADDRESS ON FILE                          2718 W ORCHARD                             318 12TH ST
                                         BLUE ISLAND, IL 60406                      WOOD RIVER, IL 62095




BIF FAMILY TRUST                         BIFFAR, CAROL                              BIFFAR, KOREN N.
3 SOMERSET DOWNS                         ADDRESS ON FILE                            ADDRESS ON FILE
ST. LOUIS, MO 63124




BIFFAR, PHILLIP S.                       BIFFAR, SARA                               BIG BEND AMATEUR CLUB INC
5872 STATE RT 159                        5872 STATE RT 159                          301 N 5TH. STREET
RED BUD, IL 62278                        RED BUD, IL 62278                          ALPINE, TX 79830




BIG BEND AMATEUR                         BIG BEND COMM BASEBALL/SOFTBALL INC        BIG BEND GAZETTE
SOFTBALL ASSOCIATION                     410 N 5TH STREET                           405 1/2 W AVENUE A
2600 HWY 118 N                           ALPINE, TX 79830                           ALPINE, TX 79830
ALPINE, TX 79830




BIG BEND HOSPITAL CORPORATION            BIG BEND HOSPITAL CORPORATION              BIG BEND HOSPITAL CORPORATION
1999 BRYAN STREET                        2600 N WHY 118                             C/O QHCCS LLC
SUITE 900                                ALPINE, TX 79830                           1573 MALLORY LANE, STE 100
DALLAS, TX 75201                                                                    BRENTWOOD, TN 37027




BIG BEND LITTLE LEAGUE                   BIG BEND LIVESTOCK SHOW ASSN.              BIG BEND MEDICAL GROUP 501(A)
P.O. BOX 1501                            P.O. BOX 1342                              1999 BRYAN STREET
ALPINE, TX 79831                         ALPINE, TX 79830                           SUITE 900
                                                                                    DALLAS, TX 75201




BIG BEND MINI STORAGE                    BIG BEND PAPER & SPECIALTY                 BIG BEND PARKS & RECREATION FOR KIDS
P.O. BOX 27                              P.O. BOX 788                               505 E HENDRYX
ALPINE, TX 79831                         ALPINE, TX 79831                           ALPINE, TX 79830
BIG BEND RANCH RODEO    Case 20-10766-BLS
                                      BIG BENDDoc  6 Filed
                                               REGIONAL      04/07/20
                                                        MEDICAL CENTER      Page BIG
                                                                                 170   of 1969
                                                                                     BEND REGIONAL
P.O. BOX 2140                           ENTITY 0158                              HOSPITAL DISTRICT
ALPINE, TX 79831                        2600 N HWY 118                           P.O. BOX 1439
                                        ALPINE, TX 79830                         ALPINE, TX 79832




BIG BEND SENTINEL                       BIG BEND SHOOTING FOUNDATION INC         BIG BEND TELEPHONE COMPANY
P.O. BOX P                              P.O. BOX 1214                            808 NORTH 5TH STREET
MARFA, TX 79843                         ALPINE, TX 79831                         ALPINE, TX 79830-3002




BIG BLUE MOTOR SALES                    BIG BROTHERS BIG SISTERS MOUNTAIN        BIG CANYON TELEVISION
HWY 2565                                REGION                                   P.O. BOX 192
LOUISA, KY 41230                        1229 S ST FRANCIS DRIVE                  ALPINE, TX 79831
                                        SUITE C
                                        SANTA FE, NM 87505



BIG JIMS FLOORING,INC                   BIG MUDDY MEDIA                          BIG O TIRES
1222 WINDY RIDGE RD                     400 SOUTH GREENBRIAR RD                  855 N MAIN
BLUE RIDGE, GA 30513                    CARTERVILLE, IL 62918                    TOOELE, UT 84074




BIG PROMO MARKETING LLC                 BIG RED QUARTERBACK CLUB                 BIG SANDY COMMUNITY & TECH COLLEGE &
4 DOGWOOD ROAD                          P.O. BOX 992                             HAYDEN CRUM
MOORESTOWN, NJ 08057                    LEXINGTON, TN 38351                      23 CRUMCAKE LANE
                                                                                 DEBORD, KY 41214




BIG SANDY COMMUNITY & TECH COLLEGE      BIG SANDY MEDIA LLC                      BIG SANDY NEWS
AND BRENT BURKE                         P.O. BOX 766                             P.O. BOX 272
115 LAFFERTY LANE                       LOUISA, KY 41230                         240 EAST MAIN STREET
INEZ, KY 41224                                                                   CARLISLE, KY 40311




BIG SKY PLUMBING                        BIG SPRING CHAMBER OF COMMERCE           BIG SPRING COWBOY REUNION
583 E 1200 N                            P.O. BOX 1391                            & RODEO
GENOLA, UT 84655                        BIG SPRING, TX 79721-1391                P.O. BOX 1107
                                                                                 BIG SPRING, TX 79721




BIG SPRING FIRE EXTINGUISHER            BIG SPRING HERALD                        BIG SPRING HOSPITAL CORPORATION
PEYTON SEDBERRY                         P.O. BOX 1431                            1573 MALLORY LANE, SUITE 100
P.O. BOX 727                            BIG SPRING, TX 79721-1431                BRENTWOOD, TN 37027
BIG SPRING, TX 79721-0727




BIG SPRING ROTARY                       BIG SPRING STONE CENTER, LLC             BIG, YVONNE
P.O. BOX 1503                           203 PERRY PARKWAY                        1834 8TH ST
BIG SPRING, TX 79721                    SUITE 6                                  LAS VEGAS, NM 87701
                                        GAITHERSBURG, MD 20877




BIGALKE, JULIE A.                       BIGALKE, JUSTIN                          BIGBEE, BRADY J.
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE
BIGBEE, RUTH CANDY      Case 20-10766-BLS     Doc M.
                                      BIGBEE, RUTH 6       Filed 04/07/20   Page BIGELOW,
                                                                                 171 of 1969
                                                                                          STEVEN
1460 G STREET                          ADDRESS ON FILE                           3457 SPRUCE ST
SPRINGFIELD, OR 97477                                                            NORTH BEND, OR 97459-1129




BIGENYTE, SIMONA                       BIGGS IRENE L                             BIGGS, JACQUELINE B.
ADDRESS ON FILE                        355 RENO RD                               707 EAST FIFTEENTH ST
                                       PLYMOUTH, NC 27962                        CHRISTOPHER, IL 62822




BIGGS, KASEY L.                        BIGGS, LINDA F.                           BIGGS, LINDA H.
2020 PINE STREET                       3188 SANDY FLAT ROAD                      805 MEADOW ROAD
MURPHYSBORO, IL 62966                  BETHEL SPRINGS, TN 38315                  COLERAIN, NC 27924




BIGGS, SHONTA P.                       BIGGS, TRACY                              BIGGS, TRACY
ADDRESS ON FILE                        658 COUNTRY GROVE APARTMENTS              P.O. BOX 1785
                                       MONROE, GA 30655                          MONROE, GA 30655-6785




BIGHAM, CRAIG                          BIGHAM, DALTON                            BIGHAM, DENISE
709 SHORTCUT DRIVE                     407 E PARK STREET                         9269 LL ROAD
MOUNDS, IL 62964                       DUQUOIN, IL 62832                         RED BUD, IL 62278




BIGHAM, HALEY                          BIGHAM, THOMAS W.                         BILBAO, JULIUS R.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




BILBAY, DIANNE                         BILBAY, KIM                               BILETNIKOFF, LORI A.
3093 WOODWARD AVE                      23 A EAST WATER ST                        ADDRESS ON FILE
LOT 66                                 LOCK HAVEN, PA 17745
AVIS, PA 17721-0284




BILEY, RODNEY L.                       BILL & HESTER YATES                       BILL, BART L.
4014 THISTLE LN                        2021 SHERWOOD DR                          ADDRESS ON FILE
ZION, IL 60099                         HUMBOLDT, TN 38343




BILLALBA, VANESSA D.                   BILLICK, AMBER K.                         BILLIE JEAN GONZALES
4014 PARKWAY                           ADDRESS ON FILE                           ADDRESS ON FILE
BIG SPRING, TX 79720




BILLIE JEAN PERSIP                     BILLIE K FARLEY                           BILLIE ROBERTSON
P.O. BOX 3015                          1020 COUNTY ROAD 36                       ADDRESS ON FILE
LAS VEGAS, NM 87701                    COLLINSVILLE, AL 35961
BILLIE VINCENT            Case 20-10766-BLS
                                        BILLIEJO,Doc 6 Filed 04/07/20
                                                 ALMANZA                Page BILLIMACK,
                                                                             172 of 1969GRANT W.
ADDRESS ON FILE                          1360 MIRAGE DR.                     1300 BLUE CREEK TRAIL
                                         BARSTOW, CA 92311                   METAMORA, IL 61548




BILLINGS SABINE                          BILLINGS, BILLY D.                  BILLINGS, JOSHUA
280 NE CAMBRIDGE CIRCLE                  676 COUNTRY CLUB                    ADDRESS ON FILE
CORVALLIS, OR 97330                      STANSBURY PARK, UT 84074




BILLINGS, KATLYN                         BILLINGS, LINDA                     BILLINGS, SARAH
156 WILLIAMS STREET P.O. BOX 258         519 MICHAEL CIR                     111 VEGA ROAD
LIVINGSTON, IL 62058                     MONROE, GA 30655                    ROYAL OAKS, CA 95076




BILLINGSLEY, BRUCE                       BILLINGSLEY, GARY                   BILLINGTON, PATRICIA J.
722 N FORREST ST                         P.O. BOX 949                        24 BENCHMARK VILLAGE
FORREST CITY, AR 72335                   LOGANDALE, NV 89021-0000            TOOELE, UT 84074




BILLS FLOWERS & GIFTS                    BILLS, MONIQUE C.                   BILLS, RACHEL
19775 EAST MAIN ST                       5198 IMPERIAL ST                    635 VERMILLION AVENUE
HUNTINGDON, TN 38344                     EUGENE, OR 97405                    ST. GEORGE, UT 84790-8347




BILLY JARRETT                            BILLY UNGER                         BILLY W ELLIOTT
P.O. BOX 91                              744 ELLA ST                         537 SPRUCE LN
HICKORY RIDGE, AR 72347                  GALESBURG, IL 61401                 MONROE, GA 30655




BILOCHE, KHALILAH                        BILODEAU, KATIE                     BILTZ, ERIN G.
17832 JOHN AVE                           7394 E. CASPER ROAD                 5327 WASSON RD
COUNTRY CLUB HILLS, IL 60478             WALTONVILLE, IL 62894-3903          BIG SPRING, TX 79720




BILY, ANDREW                             BIMART                              BINDER, OLIVIA
2220 MCCORD ST.                          P.O. BOX 2310                       15236 9TH AVENUE
MURPHYSBORO, IL 62966                    EUGENE, OR 97402                    PHOENIX, IL 60426




BINDRABAN, UMADAI                        BINDRABAN, UMADAI                   BINEGAR, JULIE A.
1183 LAVISTA DR                          1183 LAVISTA DRIVE                  4828 ROOSEVELT AVE. NE
MONROE, GA 30655                         MONROE, GA 30655                    CANTON, OH 44705




BINFORD, KATIE K.                        BING, MARY A.                       BING, RONALD
ADDRESS ON FILE                          545 MONTROSE AVENUE N.W.            7081 SHEPLER CHURCH AVE SW
                                         MASSILLON, OH 44646                 NAVARRE, OH 44662-9273
BINGEN, JACQUELINE M.     Case 20-10766-BLS    Doc
                                        BINGHAM, BURT6       Filed 04/07/20   Page BINGHAM,
                                                                                   173 of 1969
                                                                                            GARY A.
ADDRESS ON FILE                          P.O. BOX 250                              13 LANCE LANE
                                         WOODRUFF, UT 84086-0000                   BLUE RIDGE, GA 30513




BINGNEAR, ASHLEY                         BINKLEY JR., LEONARD C.                   BINKLEY JR., LEONARD C.
215 JERRY DR                             107 SOUTH GOVERNORS COVE                  ADDRESS ON FILE
DEARING, GA 30808-3917                   HENDERSONVILLE, TN 37075




BINKLEY, MICHAEL G.                      BINNS, EDWARD                             BINNS, CRYSTAL R.
1580 WHITLOCK RD                         9979 S THROOP ST                          ADDRESS ON FILE
PARIS, TN 38242                          CHICAGO, IL 60643




BINTZ INC                                BIO MED ENGINEERING                       BIO MEDICAL EQUIPMENT SERVICE CO
1855 S 300 W                             3080 S STATE ST                           2709 S PARK RD
SLC, UT 84115                            SALT LAKE CITY, UT 84115                  LOUISVILLE, KY 40219




BIO RAD LABORATORIES                     BIO RAD LABORATORIES, INC                 BIO THERM INSTRUMENT SERVICES, INC.
CLINICAL DIAGNOSTICS DIV.                CLINICAL DIAGNOSTICS GROUP                290 JENKINS LANE
DEPT 9740                                P.O. BOX 849740                           GUYS, TN 38339
LOS ANGELES, CA 90084-9740               LOS ANGELES, CA 90084-9740




BIOCEPT INC                              BIOCOMPATIBLES, INC                       BIOCOMPOSITES INC
FILE 1689                                A BTG INTERNATIONAL GROUP CO              700 MILITARY CUTOFF RD STE 320
1801 W OLYMPIC BLVD                      P.O. BOX 789811                           WILMINGTON, NC 28405
PASADENA, CA 91199-1689                  PHILADELPHIA, PA 19178-9811




BIOCOMPOSITES INC                        BIODEX MEDICAL SYSTEMS INC                BIOFIRE DIAGNOSTICS, LLC
P.O. BOX 538618                          P.O. BOX 36348                            P.O. BOX 581463
ATLANTA, GA 30353-8618                   NEWARK, NJ 07188-6348                     SALT LAKE CITY, UT 85158




BIOFIRE INC                              BIO-MED ENGINEERING, INC.                 BIOMED ENTERPRISES, LTD
515 COLOROW DRIVE                        3080 SOUTH STATE STREET                   8353 S. WABASH AVE
SLC, UT 84108                            SALT LAKE CITY, UT 84115                  CHICAGO, IL 60619




BIO-MEDICAL DEVICES INTERNATIONAL        BIOMEDICAL ELECTRONICS SERVICES &         BIOMEDICS LLC
17171 DAIMLER AVENUE                     TECHNOLOGIES                              184 CANOE CREEK
IRVINE, CA 92614                         71 EISENHOWER LANE SOUTH                  RAINBOW CITY, AL 35906
                                         LOMBARD, IL 60148-0000




BIOMERICS ATL, LLC                       BIOMERIEUX INC                            BIOMERIEUX INC.
6102 VICTORY WAY                         P.O. BOX 500308                           P.O. BOX 500308
INDIANAPOLIS, IN 46278                   ST LOUIS, MO 63150-0308                   ST LOUIS, MO 63150-0308
BIOMERIEUX VITEK INC      Case 20-10766-BLS    Doc 6
                                        BIOMERIEUX          Filed 04/07/20   Page BIOMERIEUX,
                                                                                  174 of 1969 INC
P.O. BOX 500308                         PO BOX 500308                             100 RODOLPHE ST
ST LOUIS, MO 63150-0308                 ST LOUIS, MO 63150                        DURHAM, NC 27712




BIOMERIEUX, INC                         BIOMET INC                                BIOMET INC
595 ANGLUM RD                           75 REMITTANCE DR                          75 REMITTANCE DRIVE
HAZELWOOD, MO 63042-2320                STE 3283                                  SUITE 3283
                                        CHICAGO, IL 60675                         CHICAGO, IL 60675-3283




BIOMET MICROFIXATION INC                BIOMET MICROFIXATION INC                  BIOMET ORTHOPEDICS
75 REMITTANCE DR., SUITE 3071           SUITE 3071                                P.O. BOX 277530
CHICAGO, IL 60675-3071                  75 REMITTANCEDRIVE                        ATLANTA, GA 30384-7530
                                        CHICAGO, IL 60675-3071




BIOMET ORTHOPEDICS, LLC                 BIOMET SPORTS MEDICINE                    BIOMET
56 EAST BELL DRIVE                      75 REMITTANCE DRIVE, SUITE 3283           75 REMITTANCE DRIVE
WARSAW, IN 46581                        CHICAGO, IL 60675-3283                    SUITE 3283
                                                                                  CHICAGO, IL 60675-3283




BIOMET, INC                             BIOMET, INC                               BIOMET, INC/30
JORDAN HOWELL, NATIONAL ACCOUNT         P.O. BOX 277530                           75 REMITTANCE DR, SUITE 3283
MANAGER                                 ATLANTA, GA 30384-7530                    CHICAGO, IL 60675-3283
345 E MAIN STREET
WARSAW, IN 46581



BIOMET/ZIMMER                           BIONESS                                   BIONIX DEVELOPMENT CORP
14235 COLLECTIONS CENTER DR.            25103 RYE CANYON LOOP                     5154 ENTERPRISE BLVD
CHICAGO, IL 60693                       VALENCIA, CA 91355                        TOLEDO, OH 43612-0000




BIONIX DEVELOPMENT CORP                 BIONIX                                    BIO-ONE, INC
5154 ENTERPRISE BLVD                    5154 ENTERPRISE BLVD                      11066 HI TECH DR
TOLEDO, OH 43612-3807                   TOLEDO, OH 43612-3807                     WHITMORE LAKE, MI 48189-9133




BIOPRO, INC.                            BIO-RAD DIAGNOSTICS GROUP                 BIO-RAD LABORATORIES INC
2929 LAPEER ROAD                                                                  CLINICAL DIAGNOSTICS GROUP
PORT HURON, MI 48060                                                              DEPT 9740
                                                                                  LOS ANGELES, CA 90084-9740




BIO-RAD LABORATORIES INC                BIO-RAD LABORATORIES INC                  BIO-RAD LABORATORIES, INC
DEPT 9740                               P.O. BOX 849740                           CLINICAL DIAGNOSTICS GROUP
LOS ANGELES, CA 90084                   LOS ANGELES, CA 90084-9740                P.O. BOX 849740
                                                                                  LOS ANGELES, CA 90084-9740




BIO-RAD LABORATORIES, INC.              BIO-RAD                                   BIO-REFERENCE LAB
P.O. BOX 849740                         PO BOX 849740                             481 EDWADS H ROSS DR
CLINICAL DIAGNOSTICS GROUP              LOS ANGELES, CA 90084                     ELMWOOD PARK, NJ 07407
LOS ANGELES, CA 90084-9740
BIOSEAL INC              Case 20-10766-BLS     Doc 6LLCFiled 04/07/20
                                       BIOTE MEDICAL,                   Page BIOTECH
                                                                             175 of SYSTEMS,
                                                                                     1969 LTD
167 W ORANGETHORPE AVE                 P.O. BOX 227283                      3633 WEST LAKE AVE, STE 201A
PLACENTIA, CA 92870-0000               DALLAS, TX 75222-7283                GLENVIEW, IL 60026




BIO-TISSUE INC                        BIOTRONIC NATIONAL LLC                BIOTRONIK INC
8305 NW 27TH ST.                      812 AVIS DRIVE                        6024 JEAN ROAD
DORAL, FL 33122                       ANN ARBON, MI 48108                   LAKE OSWEGO, OR 97035




BIOTRONIK INC                         BIOTRONIK INC                         BIOVENTUS LLC
P.O. BOX 205421                       P.O. BOX 205421                       ANTHONY DADAMIO, SVP & GENERAL
DALLAS, TX 75320                      DALLAS, TX 75320-5421                 COUNSEL
                                                                            4721 EMPEROR BLVD STE 100
                                                                            DURHAM, NC 27703



BIOVENTUS LLC                         BIOVENTUS                             BIOVENTUS, LLC
P.O. BOX 732824                       P.O. BOX 732823                       OSTEOAMP LOCKBOX
DALLAS, TX 75373-2824                 DALLAS, TX 75373-2823                 P.O. BOX 732824
                                                                            DALLAS, TX 75373-2824




BIOVENTUS, LLC                        BIRCH COMMUNICATIONS                  BIRCH, REX
P.O. BOX 732823                       4885 RIVERSIDE DR, STE 304            P.O. BOX 299
DALLAS, TX 75373-2823                 MACON, GA 31210                       LYMAN, WY 82937




BIRCHLER, COURTNEY S.                 BIRD, GRISELDA                        BIRD, JACKIE
14232 ARNOLD RD                       32310 J ST.                           P.O. BOX 1068
DALTON, OH 44618                      BARSTOW, CA 92311                     KEMMERER, WY 83101-1068




BIRD, JANET                           BIRD, MARY LOU                        BIRD, RHONDA
573 OAK LANE                          141 CENTRAL AVE                       152 ASTER AVE
TOOELE, UT 84074-0000                 GRANITE CITY, IL 62040                BELLEFONTE, PA 16823-7045




BIRD, VIRGINIA A.                     BIRDITT, VICKI                        BIRDS EYE VIEW MAPS - TERLINGUA
208 E ANCHOR AVE                      1126 S 5TH ST                         412 SOUTH ADAMS PMB140
EUGENE, OR 97404                      MONMOUTH, IL 61462                    FREDERICKSBURG, TX 78624




BIRDWELL, BETTY                       BIRDWELL, KAREN J.                    BIRGANS, KRISTI L.
2311 ALLENDALE RD                     ADDRESS ON FILE                       ADDRESS ON FILE
BIG SPRING, TX 79720




BIRGIT MORGAN                         BIRK, KELLY                           BIRKBECK, LINDA K.
527 ST CLAIRE RD                      623 SUMMIT AVE                        1424 HEARTLAND AVE
FAIRVIEW HEIGHTS, IL 62208            COLLINSVILLE, IL 62234                ORRVILLE, OH 44667
BIRKBECK, PATRICIA        Case 20-10766-BLS     Doc 6A. Filed 04/07/20
                                        BIRKE, KATRINA                   Page BIRKNER,
                                                                              176 of 1969
                                                                                       AMANDA N
1705 W HILL DR                           ADDRESS ON FILE                      15493 CO RD 1225 E
ORRVILLE, OH 44667                                                            MCLEANSBORO, IL 62859




BIRKNER, ERIC                            BIRKNER, JANET K.                    BIRMINGHAM, ANGELA
P.O. BOX 45                              ADDRESS ON FILE                      166 PARIS ST
WATERLOO, IL 62298                                                            MCKENZIE, TN 38201




BIRMINGHAM, LUCRETIA A.                  BIRMINGHAM, THOMAS E.                BIRMINGHAM, TOM
1780 SUNSHINE RD. S.W.                   ADDRESS ON FILE                      C/O AVRH
DEMING, NM 88030                                                              104 LEGION DR
                                                                              LAS VEGAS, NM 87701




BIRTH RITE                               BIRTIC, CARY M.                      BISAHA, JOHN P.
931 N PARK                               11194 W LELAND AVE                   1048 WINSLOW AVENUE
P.O. BOX 1443                            BEACH PARK, IL 60099                 WOODSTOCK, IL 60098
MONTROSE, CO 81402-1443




BISBEE, JEFFREY                          BISCHING, CAROL                      BISCHOFF, AMANDA
ADDRESS ON FILE                          2336 EGYPTIAN HILLS DRIVE            2011 EAST C STREET
                                         CREAL SPRINGS, IL 62922-1316         BELLEVILLE, IL 62221-4103




BISCHOFF, KAREN J.                       BISE, DEBRA M.                       BISHOP, BRANDY
14913 S LYNNE CT                         135 BAILEY ST                        71 COUNTY ROAD 325 APT.C5
OAK FOREST, IL 60452                     MCKENZIE, TN 38201                   FLAT ROCK, AL 35966




BISHOP, BROWN                            BISHOP, CAROLYN A.                   BISHOP, CATHLEEN N.
25 JUNIPER                               ADDRESS ON FILE                      1309 BERWICK RD
RAINSVILLE, AL 35986                                                          BERWICK, IL 61417




BISHOP, CATHY                            BISHOP, CINDY                        BISHOP, CODY K.
824 OTTO                                 P.O. BOX 102                         3850 W FARTHINGTON CIRCLE
EAST ST LOUIS, IL 62206                  ALEXIS, IL 61412                     WEST JORDAN, UT 84088




BISHOP, DAMARIS A.                       BISHOP, EMMA                         BISHOP, JIM
ADDRESS ON FILE                          665 HINCHEY CEMETERY RD              1683 E. SPRINGWOOD DR
                                         HENRY, TN 38231-3947                 SULLIVAN, IN 47882




BISHOP, KIM                              BISHOP, MD, CHARLES                  BISHOP, RACHELLE A.
10184 W 20TH ST                          ADDRESS ON FILE                      ADDRESS ON FILE
ODESSA, TX 79763
BISHOP, REBECCA         Case 20-10766-BLS     Doc 6 E. Filed 04/07/20
                                      BISHOP, ROBERT                    Page BISIGNANI,
                                                                             177 of 1969BRANDON
ADDRESS ON FILE                         1111 SWEETWATER CIRCLE               322 N MAIN ST APT1
                                        ATHENS, GA 30606                     MOSCOW, PA 18444




BISMUTH, CLARE J.                       BISSEGGER, SCOTT                     BISSELL, DONALD A.
3177 CHARLES MACDONALD DR               266 COUNTRY CLUB                     1584 1ST ST NE
SARASOTA, FL 34240                      STANSBURY PARK, UT 84074             APT J
                                                                             MASSILLON, OH 44646




BISSELL, RUTH I.                        BISSONNETTE, MARC                    BI-STATE COMPRESSOR, INC.
607 W 15TH ST                           ADDRESS ON FILE                      P.O. BOX 958584
BIG SPRING, TX 79720                                                         ST. LOUIS, MO 63195-8584




BITNER, JOSEPH A.                       BITTER, BLANCA                       BITTER, WILLIAM
P.O. BOX 4                              235 DONNER PLACE                     ADDRESS ON FILE
BLANCHARD, PA 16826                     GRANTSVILLE, UT 84029




BITTLE, ERIC                            BITTLE, PAMELA                       BITTLER, MARLENE
1505 OLD HIGHWAY 51 N                   3303 W. LAKEVIEW ROAD                1616 S MAIN ST
ANNA, IL 62906                          MARION, IL 62959                     APT 102
                                                                             NORTH CANTON, OH 44709




BITUN, NEIL T.                          BITZER, MARY ANN                     BIVACCA, DONALD J.
ADDRESS ON FILE                         2 CHELSEA RD                         ADDRESS ON FILE
                                        COLLINSVILLE, IL 62234-4866




BIVACCA, DONALD J.                      BIVENS, MILDRED                      BIVINS, ASHLEY D.
406 11TH AVE N                          12849 S ADA ST                       ADDRESS ON FILE
APT 627                                 APT 1E
NASHVILLE, TN 37203                     CALUMET PARK, IL 60827




BIVINS, CHELSEA B.                      BIXLER, DAVID M.                     BIXLER, LOYCE EVELYN
1130 JACOB DR                           ADDRESS ON FILE                      31668 GREEN ISLAND ROAD
RED BUD, IL 62278                                                            EUGENE, OR 97408-0000




BIZAILLION, MANDY L.                    BIZWELL, JACKIE                      BJC HEALTHCARE
ADDRESS ON FILE                         P.O. BOX 116                         8300 EAGER RD, STE 300C
                                        RIVES, TN 38253-0116                 MAILSTOP 92-92-247
                                                                             ST LOUIS, MO 63144-1412




BJERREJENSEN, POUL E.                   BJK INVESTMENTS OF WY                BJORKMAN, LINDA S.
943 NEW YORK ST                         202 B AVENUE                         820 BATEMAN STREET
WAUKEGAN, IL 60085                      EVANSTON, WY 82930-0000              GALESBURG, IL 61401
BKD LLP                  Case 20-10766-BLS
                                       BLACHLY,Doc 6 Filed 04/07/20
                                                BARBARA                  Page BLACHNIK,
                                                                              178 of 1969
                                                                                        SUSAN E.
TWO AMERICAN CENTER                    13866 WARWICK DR NW                    P.O. BOX 901
3102 WEST END AVE - STE 1050           CANAL FULTON, OH 44614                 CRESWELL, OR 97426
NASVHILLE, TN 37203




BLACK & BLACK SURGICAL INC.           BLACK & SONS CONSTRUCTION INC.          BLACK BOX NETWORK SERVICES INC.
5175 S. ROYAL ATLANTA DRIVE           P.O. BOX 963                            P.O. BOX 775192
TUCKER, GA 30084                      MT VERNON, IL 62864                     CHICAGO, IL 60677-5192




BLACK BOX NETWORK SERVICES            BLACK BOX RESALE SERVICES               BLACK DIAMOND CAPITAL MANAGEMENT
2707 MAIN ST                          P.O. BOX 775140                         LLC
DULUTH, GA 30096                      CHICAGO, IL 60677-5140                  BLACK DIAMOND CLO 2013-1 LTD




BLACK DIAMOND CAPITAL MANAGEMENT      BLACK DIAMOND CAPITAL MANAGEMENT        BLACK DIAMOND CAPITAL MANAGEMENT
LLC                                   LLC                                     LLC
BLACK DIAMOND CLO 2014-1, LTD.        BLACK DIAMOND CLO 2016-1 LTD.           BLACK DIAMOND CLO 2017-1 LTD.




BLACK DIAMOND HARLEY DAVIDSON         BLACK DIAMOND RV                        BLACK HAWK COLLEGE
2400 WILLIAMSON COUNTY PKWAY          2405 BLACK DIAMOND DRIVE                6600 34TH AVE
MARION, IL 62959                      MARION, IL 62959                        MOLINE, IL 61265




BLACK MCCUSKEY SOUERS & ARBAUGH LPA   BLACK SHERI M                           BLACK TAMMY
220 MARKET AVE S                      5725 SPORTSMAN ROAD                     118 COLLIER CIRCLE
STE 1000                              WATERLOO, IL 62298                      RAINSVILLE, AL 35986-5332
CANTON, OH 44702




BLACK WOLF GROUP INC                  BLACK, AMBER A.                         BLACK, ANNA KAY
TWO MEN AND A TRUCK                   3283 YOUNG AVE NW                       3350 SWEETWATER RD
3510 COLEMAN ST                       MASSILLON, OH 44647                     APT 1318
NORTH LAS VEGAS, NV 89032                                                     LAWRENCEVILLE, GA 30044




BLACK, CHRISTIAN T.                   BLACK, DAWN W.                          BLACK, E. DIANE C.
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




BLACK, E. DIANE C.                    BLACK, JORDAN L.                        BLACK, JOSHUA
215 LOOP ROAD                         ADDRESS ON FILE                         13154 NAVARRE RD. SW
BEAR RIVER, WY 82930                                                          BEACH CITY, OH 44608




BLACK, KEDRICK                        BLACK, KIRBY                            BLACK, KRISTLE J.
6674 MALACHITE WAY                    41E COUGAR DR                           ADDRESS ON FILE
STANSBURY PARK, UT 84074              GLEN CARBON, IL 62034
BLACK, KRISTY S.         Case 20-10766-BLS     DocD.6
                                       BLACK, LELA          Filed 04/07/20   Page BLACK,
                                                                                  179 ofLUIZA
                                                                                          1969
2603 CENTRAL DRIVE                      ADDRESS ON FILE                           90630 MARCOLA ROAD
BIG SPRING, TX 79720                                                              SPRINGFIELD, OR 97478




BLACK, PAMELA                           BLACK, PAULINE                            BLACK, RANDY
1135 EAGLE CREST RD                     7531 PINEAPPLE HWY                        7345 PINEAPPLE HWY
CENTRALIA, IL 62801                     GREENVILLE, AL 36037-7253                 GREENVILLE, AL 36037




BLACK, ROBERTA                          BLACK, SHERRY                             BLACK, TANNER
742 SHERWOOD DR                         P.O. BOX 943                              2021 FERN DR
FORREST CITY, AR 72335                  CARRIER MILLS, IL 62917                   LOUISA, KY 41230




BLACK, TENAE D.                         BLACK, TRACI J.                           BLACK, TRACI
12734 GIFFORD WAY                       ADDRESS ON FILE                           ADDRESS ON FILE
VICTORVILLE, CA 92392




BLACKBURN, ALICIA D.                    BLACKBURN, CLIFFORD                       BLACKBURN, ELLA S.
195 FERGUSON DRIVE                      2300 MCDERMOTT RD                         ADDRESS ON FILE
LEXINGTON, TN 38351                     PLANO, TX 75025




BLACKBURN, LORI A.                      BLACKBURN, MARK                           BLACKBURN, SHANNA S.
4225 STATE ROUTE 155                    848 KNOX RD 100E                          ADDRESS ON FILE
PRAIRIE DU ROCHER, IL 62277             GALESBURG, IL 61401




BLACKBURN, SHANNON M.                   BLACKBURN, SHERI L.                       BLACKBURN, TINA
1660 MILES AVE NW                       590 WILBER RD                             ADDRESS ON FILE
CANTON, OH 44708                        BLAINE, KY 41124




BLACKETT, DANIELLE                      BLACKFORD, NATALEE E.                     BLACKHAWK MODIFICATIONS INC
ADDRESS ON FILE                         ADDRESS ON FILE                           7601 KARL MAY DR
                                                                                  WACO, TX 76708




BLACKHAWK NETWORK                       BLACKLEY, BENNIE                          BLACKLINE,LLC
ATTN: CASH APPLICATIONS STE B-105       741 E 91ST                                2217 LOCUST ST
16610 N BLACKHAWK CANYON HIGHWAY        CHICAGO, IL 60619                         1ST FLOOR
PHOENIX, AZ 85053                                                                 ST. LOUIS, MO 63103




BLACKMAN, DORRIS                        BLACKMON, APRIL                           BLACKMON, FRANCES,
1084 MITCHELL LOOP                      1542 GAINESVILLE HWY                      P.O. BOX 33
MCKENZIE, TN 38201                      BLAIRSVILLE, GA 30512                     ST PAULS, NC 28384-0033
BLACKMON, HAROLD D.       Case 20-10766-BLS   Doc
                                        BLACKMON,   6
                                                  NED     Filed 04/07/20       Page BLACKROCK
                                                                                    180 of 1969
                                                                                              FINANCIAL MANAGEMENT
368 SIERRA SPRINGS DR                    461 GLADE RD                               ADVANCED SERIES TRUST - AST
MURPHY, NC 28906                         MESQUITE, NV 89027                         BLACKROCK GLOBAL STRATEGIES
                                                                                    PORTFOLIO




BLACKROCK FINANCIAL MANAGEMENT           BLACKROCK FINANCIAL MANAGEMENT             BLACKROCK FINANCIAL MANAGEMENT
BLACKROCK CORPORATE HIGH YIELD FUND      BLACKROCK CREDIT ALPHA MASTER FUND         BLACKROCK HIGH YIELD BOND PORTFOLIO
INC                                      LP                                         OF BLACKROCK FUNDS V




BLACKROCK FINANCIAL MANAGEMENT           BLACKROCK FINANCIAL MANAGEMENT             BLACKROCK FINANCIAL MANAGEMENT
BLACKROCK HIGH YIELD PORTFOLIO OF        BLACKROCK HIGH YIELD V.I. FUND OF          BLACKROCK MULTI-SECTOR INCOME TRUST
BLACKROCK SERIES FUND II, INC.           BLACKROCK VARIABLE SERIES FUNDS II,
                                         INC.




BLACKROCK FINANCIAL MANAGEMENT           BLACKROCK FINANCIAL MANAGEMENT             BLACKROCK FINANCIAL MANAGEMENT
BRIGHTHOUSE FUNDS TRUST I -              CALIFORNIA STATE TEACHERS                  EMPLOYEES RETIREMENT FUND OF THE
BLACKROCK HIGH YIELD PORTFOLIO           RETIREMENT SYSTEM-2                        CITY OF DALLAS




BLACKROCK FINANCIAL MANAGEMENT           BLACKROCK FINANCIAL MANAGEMENT             BLACKROCK FINANCIAL MANAGEMENT
HC NCBR FUND                             HIGH YIELD BOND FUND-2                     METROPOLITAN LIFE INSURANCE
                                                                                    COMPANY-3




BLACKROCK FINANCIAL MANAGEMENT           BLACKROCK FINANCIAL MANAGEMENT             BLACKROCK FINANCIAL MANAGEMENT
NAVY EXCHANGE SERVICE COMMAND            PPL SERVICES CORPORATION MASTER            THE OBSIDIAN MASTER FUND
RETIREMENT TRUST                         TRUST




BLACKSTOCK, BOBBY                        BLACKSTONE, CLAUDIA G.                     BLACKSTONE, PAUL
3010 THREADGILL RD                       3211 RAMSGATE RD                           1538 CITATION RD
HURON, TN 38345-7726                     AUGUSTA, GA 30909                          HEPHZIBAH, GA 30815




BLACKTOP INDUSTRIES                      BLACKWELL HEALTHCARE                       BLACKWELL, DOYLE S.
P.O. BOX 314                             2201 BROOKHOLLOW PLAZA DR 165              ADDRESS ON FILE
CATLETTSBURG, KY 41129                   ARLINGTON, TX 76006




BLACKWELL, GWENDA                        BLACKWELL, HEIDI M.                        BLACKWELL, KAJA
2614 SARAVILLE RD                        5373 CLAY STREET                           ADDRESS ON FILE
CREAL SPRINGS, IL 62922                  LOUISVILLE, OH 44641




BLACKWELL, MICHAEL A.                    BLACKWELL, RICKEY JOE                      BLACKWELL, THYRA ELAINE
15908 COUNTY RD 50                       4140 COUNTY ROAD 43                        2302 DESOTO PKWY NE
GROVEOAK, AL 35975                       FYFFE, AL 35971                            FORT PAYNE, AL 35967-7902
BLACKWELL, TRACY L.     Case 20-10766-BLS   DocTRUETT
                                      BLACKWELL, 6 Filed 04/07/20   Page BLACKWOOD,
                                                                         181 of 1969JEAN
ADDRESS ON FILE                       220 CHAT A WHILE LANE              14631 UNIVERSITY AVENUE
                                      MORGANTON, GA 30560                DOLTON, IL 60419




BLACKWOOD, NOVELETTE M.               BLADDICK, AMY                      BLADDICK, JOEL
ADDRESS ON FILE                       5156 BUENA                         3309 WILSHIRE
                                      GODFREY, IL 62035                  GRANITE CITY, IL 62040




BLADE TAYLOR                          BLADE, DENNIS                      BLADES, DEBRA L.
ADDRESS ON FILE                       628 GATEWOOD WAY                   812 WEST ST. LOUIS AVENUE
                                      MONROE, GA 30656                   PINCKNEYVILLE, IL 62274




BLADES, JENNIFER                      BLADES, VIVIAN L.                  BLAGG, CAROL A.
5391 KERLEY RD                        2208 WEST CHERRY STREET            524 SINQUENFIELD CR
WEST FRANKFORT, IL 62896              HERRIN, IL 62948                   LOUISVILLE, GA 30434




BLAGG, ROBERT                         BLAGOJA, VELOFF                    BLAINE AUTUMN FEST
1415 2ND STREET                       6324 WOODMOOR AVE NW               C/O JOYCE AUSTIN
WINTHROP HARBOR, IL 60096             CANTON, OH 44718                   1027 DAISY LANE
                                                                         LOUISA, KY 41230




BLAINE CASHMORE                       BLAINE ELEMENTARY SCHOOL           BLAIR, ALEC R.
ADDRESS ON FILE                       ATTN:FALL CARNIVAL CAMPAIGN        ADDRESS ON FILE
                                      600 HIGHWAY 2562
                                      BLAINE, KY 41124




BLAIR, ALISON M.                      BLAIR, AMY N.                      BLAIR, ANDREA
ADDRESS ON FILE                       ADDRESS ON FILE                    260 HOMESTEAD ESTATES LN
                                                                         TUTOR KEY, KY 41263




BLAIR, ANGELINA M.                    BLAIR, ASHLEY L.                   BLAIR, CHANDA
ADDRESS ON FILE                       ADDRESS ON FILE                    ADDRESS ON FILE




BLAIR, DEBRA L.                       BLAIR, DONNA J.                    BLAIR, ELIZABETH L.
ADDRESS ON FILE                       ADDRESS ON FILE                    4955 BARRIE ST. NW
                                                                         CANTON, OH 44708




BLAIR, GARY D.                        BLAIR, JAMES O.                    BLAIR, JANIS
1378 PIEDMONT                         5175 RT 460                        10867 NAVARRO RD
SPRINGFIELD, OR 97477                 STAFFORDSVILLE, KY 41256           SOUTH JORDON, UT 84009-7754
BLAIR, JESSICA           Case 20-10766-BLS      Doc 6
                                       BLAIR, JESSICA     Filed 04/07/20   Page BLAIR,
                                                                                182 of   1969
                                                                                       KELLY L.
ADDRESS ON FILE                         462 MILL BRANCH RD                       RR 1 BOX 170AA
                                        PAINTSVILLE, KY 41240                    ELIZABETHTOWN, IL 62931




BLAIR, MABLE G.                         BLAIR, PAULA A.                          BLAIR, WENDY
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




BLAKE BENHOFF                           BLAKE BUMANN                             BLAKE DALLAS
16915 ST ROSE ROAD                      544 N 40TH ST                            P O BOX 684
BREESE, IL 62230                        BELLEVILLE, IL 62226                     SILVER CITY, NM 88062




BLAKE, ALEXIA B.                        BLAKE, BRIAN G.                          BLAKE, BRIDGET
ADDRESS ON FILE                         15604 ROB ROY DR                         ADDRESS ON FILE
                                        OAK FOREST, IL 60452




BLAKE, HEATHER                          BLAKE, JESSICA                           BLAKE, JOYANNA H.
388 COUNTY RD 88                        334 STRONG AVE                           ADDRESS ON FILE
FORT PAYNE, AL 35968-3404               COLLINSVILLE, IL 62234




BLAKE, KRISTEN                          BLAKE, SUZANNE L.                        BLAKE, VANESSA
463 W. 28TH PL GARDEN UNIT              327 NM-88                                ADDRESS ON FILE
CHICAGO, IL 60616                       PORTALES, NM 88130




BLAKE. DANIELLE                         BLAKEBURN, HOLLY                         BLAKELY, GREGORY
837 N 680 W                             8825 PARKDALE DR                         125 KIRT LANE
TOOELE, UT 84074                        CASEYVILLE, IL 62232                     ANNA, IL 62906




BLAKELY, WILSON                         BLAKEMAN, DANIELLE                       BLAKEMAN, JACOB C.
5 CR 757                                409 CENTER ST                            ADDRESS ON FILE
WYNNE, AR 72396                         EVANSTON, WY 82930-3654




BLAKEMORE, JACK                         BLAKESLEE, ASHLEY                        BLAKLEY, JANONTIA D.
7045 STALLION DR                        8153 CLORE ST                            ADDRESS ON FILE
EDWARDSVILLE, IL 62025                  EVANSVILLE, IL 62242




BLALOCK JANUARY P                       BLALOCK, ANGELA W.                       BLALOCK, JANUARY
ADDRESS ON FILE                         6202 ROBIN LN NW                         ADDRESS ON FILE
                                        FORT PAYNE, AL 35967-8909
BLALOCK, TONYA           Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       BLANCA ALATORRE               Page BLANCA
                                                                          183 ofVILLEGASSALGADO
                                                                                 1969
47 1ST AVENUE APT.6                    2640 COCHRAN ST                    522 BAY CREEK CROSSING
FYFFE, AL 35971                        BLUE ISLAND, IL 60406              LOGANVILLE, GA 30052-7348




BLANCHARD, RHONDA                      BLANCHETT, CHRISTIE D.             BLANCHETTE, THERESA C.
511 MARY STREET                        53 PENDERGRASS AVE                 416 MONTEREY AVE
CENTRE, AL 35960                       FYFFE, AL 35971                    CAPITOLA, CA 95010




BLANCHFIELD, JULIE                     BLANCO, MARY                       BLANCO, NORMA
ADDRESS ON FILE                        802 APPLE HILL DR                  10758 NAVAJO RD.
                                       WEST CHESTER, PA 19380             APPLE VALLEY, CA 92308




BLAND, BRODY                           BLANDFORD DEBBIE L                 BLANDFORD, AMY
2000 BONNIE BEST RD                    3567 SWEET BRIAR LN                6358 ALASKA LANE
WILLIAMSTON, NC 27892-0000             COLUMBIA, IL 62236                 CARTERVILLE, IL 62918




BLANDFORD, NINA                        BLANEY LORA L                      BLANEY, KEVIN
12996 WOOSTER NW                       2008 KENSINGTON PLACE              2008 KENSINGTON PL
MASSILLON, OH 44647                    SAINT JACOB, IL 62281              SAINT JACOB, IL 62281




BLANK, CRYSTAL L.                      BLANKENSHIP AUTO PARTS INC         BLANKENSHIP BARBARA A
2012 KNOX ROAD 280 E                   217 WEST CHURCH STREET             1050 CO RD 567
GALESBURG, IL 61401                    LEXINGTON, TN 38351                GAYLESVILLE, AL 35973-9803




BLANKENSHIP, ANITA                     BLANKENSHIP, CARI A.               BLANKENSHIP, CATHERINE E.
P.O. BOX 1954                          ADDRESS ON FILE                    ADDRESS ON FILE
INEZ, KY 41224




BLANKENSHIP, CERISSA                   BLANKENSHIP, CHRISTINE D.          BLANKENSHIP, JUNE A.
ADDRESS ON FILE                        2087 DEWEY ST                      ADDRESS ON FILE
                                       EUGENE, OR 97402




BLANKENSHIP, SANDRA G.                 BLANKENSHIP, TAIT E.               BLANKLEY, PAUL
72 HICKORY DRIVE                       ADDRESS ON FILE                    2823 BUXTON AVE
LOUISA, KY 41230                                                          GRANITE CITY, IL 62040




BLANSIT, KAREN RAYE                    BLANSIT, MARY M                    BLANSIT, NOLAN W.
363 COUNTY RD 498                      5108 B GREENHILL BLVD NW           3511 WOOD AVE
HENAGAR, AL 35978-4912                 FORT PAYNE, AL 35968               EUGENE, OR 97402
BLANTON JOHNNY W         Case 20-10766-BLS    Doc
                                       BLANTON,    6 Filed 04/07/20
                                                COLBY                 Page BLANTON,
                                                                           184 of 1969
                                                                                    JACINDA K.
274 BLANTON LANE                       650 KY ROUTE 993                    ADDRESS ON FILE
ELLIJAY, GA 30536                      PAINTSVILLE, KY 41240




BLANTON, JEANA L.                      BLANTON, JEREMY S.                  BLANTON, KEITH
HC 60 BOX 614                          ADDRESS ON FILE                     510 W. FIFTH STREET
SALYERSVILLE, KY 41465                                                     CENTRALIA, IL 62801




BLANTON, RITA                          BLASHFORD, SHAWNAMARIE A.           BLASI, ADAM T.
47 E STRASBROUG LANE                   ADDRESS ON FILE                     10431 256TH AVE
STANSBURY PARK, UT 84074                                                   TREVOR, WI 53179




BLASI, LIV M.                          BLASKO, ROBERT J.                   BLAST MASTERS, INC
1200 W MILBURN AVE                     815 FRONTIER PASS TRAIL             P.O. BOX 2684
MT PROSPECT, FL 60056                  MESQUITE, NV 89034                  BIG SPRINGS, TX 79721




BLATT, HASENMILLER, LEIBSKER           BLATT, TATUM C.                     BLAYLOCK, COURTNEY
& MOORE, LLC                           1291 CASHES VALLEY RD.              305 FONTAINEBLEAU
P.O. BOX 489                           CHERRY LOG, GA 30522                OFALLON, IL 62269
NORMAL, IL 61761




BLAYLOCK, JEANNE                       BLAYLOCK, SANDRA                    BLAYLOCK, TONYA
103 CE BRAWNER RD                      6 COACHLIGHT STA                    232 EMERALD WAY WEST
WYNNE, AR 72396                        ST PETERS, MO 63376                 GRANITE CITY, IL 62040




BLAZEK, PATRICIA M.                    BLAZER, BEVERLY                     BLEA PACHECO, KAREN
7517 175 ST UNIT 332                   130 CANAL ST W                      ADDRESS ON FILE
TINLEY PARK, IL 60477                  NAVARRE, OH 44662




BLEDSOE, ANDREW                        BLEDSOE, HAILEY                     BLEDSOE, ROBERT
144 KELLYS HAVEN LANE                  1763 CHESTNUT GAP RD                794 INGLEWOOD ST
HURON, TN 38345                        BLUE RIDGE, GA 30513                SALINAS, CA 93906




BLEDSOE, TRACY J.                      BLENDA V HALL                       BLENKINSOPP JOHN
2008 LEE 116                           2375 BARTON CHAPEL RD               ADDRESS ON FILE
MARIANNA, AR 72360                     APT 13E
                                       AUGUSTA, GA 30906




BLENKINSOPP, JEREMY                    BLENKINSOPP, JOHN - ITV             BLENKINSOPP, JOHN
224 STAGS LEAP CT                      6588 BRADFORD CT                    1361 AGARITA AVE
EUGENE, OR 97404                       CUCAMONGA, CA 91701                 BARSTOW, CA 92311-4581
BLENKINSOPP, JOHN         Case 20-10766-BLS    Doc
                                        BLESSING     6
                                                 BRIAN      Filed 04/07/20   Page BLESSING,
                                                                                  185 of 1969
                                                                                            RHIANA G.
ADDRESS ON FILE                          6189 BRITTANY CT                         ADDRESS ON FILE
                                         GURNEE, IL 60031




BLEVINS, BETH R.                         BLEVINS, CATHY J.                        BLEVINS, CLEVA D.
ADDRESS ON FILE                          4260 US HIGHWAY 460 LOT 40               159 COUNTY RD 787
                                         STAFFORDSVILLE, KY 41256                 IDER, AL 35981-3437




BLEVINS, GARY G.                         BLEVINS, HANNAH M.                       BLEVINS, JENNIFER R.
ADDRESS ON FILE                          900 OLD ROUTE 23                         1931 DRY RIDGE RD
                                         LOWMANSVILLE, KY 41232                   ADAMS, KY 41201




BLEVINS, MATTHEW                         BLEVINS, PEGGY L.                        BLEVINS, RAYMOND LOUIS
101 CARNEGIE CT.                         P.O. BOX 984                             1631 COUNTY RD 141
DOTHAN, AL 36305                         RAINSVILLE, AL 35986                     FLAT ROCK, AL 35966-8428




BLEVINS, STUART                          BLICKMAN INDUSTRIES                      BLILER, CONNIE R.
1032 FIVE FORKS ROAD                     ACCOUNTS RECEIVABLE                      P.O. BOX 475
LOUISA, KY 41230                         500 US HIGHWAY 46 EAST                   LAMAR, PA 16848-0475
                                         CLIFTON, NJ 07011




BLILIE, MARIA C.                         BLINDS GALORE                            BLISS, GRACE RENEE
ADDRESS ON FILE                          1795 GREENWAY RD                         24792 W DEMMING RD
                                         HURON, TN 38345                          P.O. BOX 221
                                                                                  ELMIRA, OR 97437




BLISS, VERN K.                           BLISSENBACH, MADISON A.                  BLITT & GAINES PC
P.O. BOX 2251                            425 EAST PINE STREET                     661 GLENN AVE
EVANSTON, WY 82931-2251                  RED BUD, IL 62278                        WHEELING, IL 60090




BLITT & GAINES PC                        BLITT & GAINES PC                        BLITT & GAINES
661 GLENN AVENUE                         661 W GLENN AVENUE                       661 GLEN OAK
WHEELING, IL 60090-0000                  WHEELING, IL 60090-0000                  WHEELING, IL 60090




BLITT & GAINES, PPC                      BLITT AND GAINES, P.C.                   BLIZZARD, KAREN D.
661 W GLEN AVE                           661 W GLENN AVENUE                       ADDRESS ON FILE
WHEELING, IL 60090                       WHEELING, IL 60090




BLOCH, ANNMARIE                          BLOCH, ANNMARIE                          BLOCH, JONAHTAN
ADDRESS ON FILE                          1800 CASHES VALLEY RD                    ADDRESS ON FILE
                                         CHERRY LOG, GA 30522
BLOCH, JONATHAN A.       Case 20-10766-BLS
                                       BLOCHERDoc 6 Filed
                                               COMPANY, INC. 04/07/20     Page BLOCK
                                                                               186 of  1969 COMPANY INC
                                                                                     ELECTRIC
ADDRESS ON FILE                         P.O. BOX 310                           7107 MILWAUKEE AVE
                                        CULLMAN, AL 35056                      NILES, IL 60714-4487




BLOCK IMAGING INTERNATIONAL, INC.       BLOCK, LISA S.                         BLOCK, MARYANN
1845 CEDAR STREET                       6732 NANTUCKET COURT                   16514 BLOSSOM LANE
HOLT, MI 48842                          GURNEE, IL 60031                       TINLEY PARK, IL 60487




BLOCKER, MARGARET Y.                    BLOCKER, SUSAN K.                      BLOESCH, VALLERIE
1120 ARBORWOOD RIDGE                    5125 BOILING SPRINGS RD                ADDRESS ON FILE
BISHOP, GA 30621                        MURPHY, NC 28906




BLOGNA, SAMUEL                          BLOMBERG, MARTI K.                     BLOMBERG-BAYLIS, KAREN
2417 TANGLEWOOD DR NE                   TO THE ESTATE OF: 116 MORSE AVE        6579 GESELL RD
MASSILLON, OH 44646                     CRESWELL, OR 97426                     KIMMUNDY, IL 62854




BLOMELEY, GEOFFREY S.                   BLOMELEY, GEOFFREY S.                  BLOMQUIST, JACOB
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




BLOMQUIST, JOSEPH                       BLOMQUIST, SIERRA                      BLOOD ALICIA
ADDRESS ON FILE                         78543 CEDAR PARK ROAD                  29 S 5TH ST
                                        COTTAGE GROVE, OR 97424                TOOELE, UT 84074




BLOOD ASSURANCE INC                     BLOOD ASSURANCE, INC                   BLOOD CONNECTION, THE
705 EAST FOURTH STREET                  705 EAST 4TH STREET                    1099 BRACKEN RD
CHATTANOOGA, TN 37403                   CHATTANOOGA, TN 37403                  PIEDMONT, SC 29673




BLOOD COURRIER                          BLOOD SYSTEMS INC                      BLOODWORKS NW
P.O. BOX 110634                         P.O. BOX 53022                         921 TERRY AVE
CLEVELAND, OH 44111                     PHOENIX, AZ 85072-3022                 SEATTLE, WA 98104




BLOODWORTH, LINDA J.                    BLOODWORTH, ROGER                      BLOOM, NORMAN C.
ADDRESS ON FILE                         222 FOREST RIDGE CT                    1365 DEBRICK RD
                                        GLEN CARBON, IL 62034                  EUGENE, OR 97401




BLOOMBERG FINANCE LP                    BLOOMBERG LP                           BLOOMFELDT JOHN NORMAN
P.O. BOX 416604                         BUSINESSWEEK SUBSCRIPTION              25382 MOYER ST
BOSTON, MA 02241-6604                   P.O. BOX 416604                        ELMIRA, OR 97437
                                        BOSTON, MA 02241-6604
BLOSSER, ELIZABETH G.   Case 20-10766-BLS   Doc
                                      BLOSSOM    6 Filed
                                              SHOPPE, THE 04/07/20       Page BLOSSOM,
                                                                              187 of 1969
                                                                                       JAKEMA
520 OREGON ST                         118 1ST ST SOUTH                        ADDRESS ON FILE
WATSONVILLE, CA 95076                 FORT PAYNE, AL 35967




BLOTT, JOHN                           BLOUNT, TENIEGA                         BLOUNT, TODD P.
606 SANDPIPER DR SE                   4722 ARIEL DR                           6649 HALLS HILL PIKE
NEW PHILADELPHIA, PA 44663            GRIMESLAND, NC 27837                    MURFREESBORO, TN 37130




BLOW, AMBER L.                        BLOW, ELIZABETH A.                      BLUE & CO LLC
908 ILLINOIS AVE                      ADDRESS ON FILE                         2712 SOLUTION CENTER
RED BUD, IL 62278                                                             CHICAGO, IL 60677-2007




BLUE ADVANTAGE                        BLUE CAP FOUNDATION, INC                BLUE CENTENNIAL
450 RIVERCHASE PKWY                   2155 BROADWAY                           P.O. BOX 27838
BIRMINGHAM, AL 35298                  BLUE ISLAND, IL 60406                   ALBUQUERQUE, NM 87125




BLUE CROSS BLUE SHIELD OF IL          BLUE CROSS & BLUE SHIELD OF MICHIGAN    BLUE CROSS & BLUE SHIELD
P.O. BOX 7344                         ATTN: CORPORATE RECOVERIS 0410          MRC-552001
CHICAGO, IL 60680                     P.O. BOX 366                            25553 NETWORK PLACE
                                      DETROIT, MI 48231-0366                  CHICAGO, IL 60673-1255




BLUE CROSS AND BLUE SHIELD OF IL      BLUE CROSS ANTHEM                       BLUE CROSS BLUE SHEILD OF IL
25718 NETWORK PLACE                   P.O. BOX 92420                          P.O. BOX 805107
CHICAGO, IL 60673-1257                CLEVELAND, OH 44193                     CHICAGO, IL 60680




BLUE CROSS BLUE SHEILD                BLUE CROSS BLUE SHIELD CA               BLUE CROSS BLUE SHIELD ILLINOIS
P O BOX 360899                        P.O. BOX 272510                         25718 NETWORK PLACE
BIRMINGHAM, AL 35236-0899             CHICO, CA 95927-2510                    CHICAGO, IL 60673-1257




BLUE CROSS BLUE SHIELD KY             BLUE CROSS BLUE SHIELD KY               BLUE CROSS BLUE SHIELD NEW MEXICO
P.O. BOX 105187                       P.O. BOX 61010                          ATTN REFUND DEPT/CASH DISBURS
ATLANTA, GA 30348-5187                VIRGINIA BEACH, VA 23466-1010           P O BOX 731431
                                                                              DALLAS, TX 75373-1431




BLUE CROSS BLUE SHIELD OF ALABAMA     BLUE CROSS BLUE SHIELD OF GA            BLUE CROSS BLUE SHIELD OF GEORGIA
450 RIVERCHASE PKWY E                 P.O. BOX 73651                          P.O. BOX 5281
BIRMINGHAM, AL 35244                  CLEVELAND, OH 44193                     CAROL STREAM, IL 60197




BLUE CROSS BLUE SHIELD OF GEORGIA     BLUE CROSS BLUE SHIELD OF IL            BLUE CROSS BLUE SHIELD OF IL
P.O. BOX 933657                       25718 NETWORK PLACE                     HEALTH CARE SERVICE CORP
ATLANTA, GA 31193-3657                CHICAGO, IL 60673-1257                  25553 NETWORK PLACE
                                                                              CHICAGO, IL 60673-1255
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BLUE CROSS BLUE SHIELD OF IL 20-10766-BLS     DocBLUE
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HEALTHCARE SERV CLAIMS OVERPMT        HEALTHCARE SERVICE CORP                 MRC-5070
29068 NETWORK PLACE                   25553 NETWORK PLACE                     25553 NETWORK PLACE
CHICAGO, IL 60673                     CHICAGO, IL 60673-1255                  CHICAGO, IL 60673-1255




BLUE CROSS BLUE SHIELD OF IL           BLUE CROSS BLUE SHIELD OF IL           BLUE CROSS BLUE SHIELD OF IL
P O BOX 805107                         P.O. BOX 7344                          P.O. BOX 7344
CHICAGO, IL 60680-4112                 CHICAGO, IL 60680                      CHICAGO, IL 60680-7344




BLUE CROSS BLUE SHIELD OF IL           BLUE CROSS BLUE SHIELD OF IL           BLUE CROSS BLUE SHIELD OF ILLINOIS
P.O. BOX 805107                        REFUNDS                                25718 NETWORK PLACE
CHICAGO, IL 60680-4112                 25718 NETWORK PLACE                    ATT: REFUNDS
                                       CHICAGO, IL 60673-1257                 CHICAGO, IL 60673-1257




BLUE CROSS BLUE SHIELD OF ILLINOIS     BLUE CROSS BLUE SHIELD OF MI           BLUE CROSS BLUE SHIELD OF MN
MRC-552001                             P.O. BOX 33248                         P O BOX 64179
25553 NETWORK PLACE                    ATTN REFUNDS                           ST PAUL, MN 55164
CHICAGO, IL 60673-1255                 DETROIT, MI 48232-4248




BLUE CROSS BLUE SHIELD OF NC           BLUE CROSS BLUE SHIELD OF NC           BLUE CROSS BLUE SHIELD OF NM
P.O. BOX 2291                          P.O. BOX 30048                         ATTN REFUND RECOVERY
DURHAM, NC 27702                       ATTN FINANCIAL PROC SVCS               P O BOX 94075
                                       DURHAM, NC 27702-3048                  CHICAGO, IL 60680-0000




BLUE CROSS BLUE SHIELD OF NM           BLUE CROSS BLUE SHIELD OF SC           BLUE CROSS BLUE SHIELD OF SOUTH
P.O. BOX 27630                         LOCKBOX AX-A31                         CAROLINA
ALBUQUERQUE, NM 87125-7830             I-20 E AT ALPINE RD                    ATTN: ACCOUNTING
                                       COLUMBIA, SC 29219-0001                P O BOX 100300
                                                                              COLUMBIA, SC 29202-3300



BLUE CROSS BLUE SHIELD OF TEXAS        BLUE CROSS BLUE SHIELD OF TEXAS        BLUE CROSS BLUE SHIELD OF TEXAS
ATTN: REFUND DEPARTMENT                P.O. BOX 120695                        P.O. BOX 731431
P.O. BOX 650776                        DEPT 0695 - REFUND & RECOVERY          DALLAS, TX 75373-1431
DALLAS, TX 75265-9598                  DALLAS, TX 75312-0000




BLUE CROSS BLUE SHIELD OF WYO          BLUE CROSS BLUE SHIELD OH              BLUE CROSS BLUE SHIELD
P.O. BOX 2266                          P.O. BOX 105187                        225 NORTH MICHIGAN AVE.
CHEYENNE, WY 82003-2226                ATLANTA, GA 30348-5187                 CHICAGO, IL 60601




BLUE CROSS BLUE SHIELD                 BLUE CROSS BLUE SHIELD                 BLUE CROSS BLUE SHIELD
300 EAST RANDOLPH                      450 RIVERCHASE PARKWAY EAST            450 RIVERCHASE PARKWAY
CHICAGO, IL 60601-5099                 BIRMINGHAM, AL 35244                   BIRMINGHAM, AL 35298




BLUE CROSS BLUE SHIELD                 BLUE CROSS BLUE SHIELD                 BLUE CROSS BLUE SHIELD
BRENTON H. JOHNSON, ACCOUNT            HEALTH CARE SERVICE CORP               P O BOX 27630
EXECUTIVE                              DEPT CH 14368                          ALBUQUERQUE, NM 87125-0000
MAJOR ACCOUNTS                         PALATINE, IL 60055-4368
1 CAMERON HILL CIRCLE
CHATTANOOGA, TN 37402
BLUE CROSS BLUE SHIELD Case 20-10766-BLS     DocBLUE
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                                                                                        BLUE SHIELD
P O BOX 805107                       P.O. BOX 105370                          P.O. BOX 2181
CHICAGO, IL 60680                    ATLANTA, GA 30348                        LITTLE ROCK, AR 72203




BLUE CROSS BLUE SHIELD                BLUE CROSS BLUE SHIELD                  BLUE CROSS BLUE SHIELD
P.O. BOX 30270                        P.O. BOX 5747                           P.O. BOX 73651
SALT LAKE CITY, UT 84130-0000         DENVER, CO 80217                        CENTRAL REGION-CCOA LOCKBOX
                                                                              CLEVELAND, OH 44193




BLUE CROSS BLUE SHIELD                BLUE CROSS BLUE SHIELD                  BLUE CROSS BLUE SHIELDS OF IL
P.O. BOX 791021                       P.O. BOX 805107                         ATTN: REFUNDS
BALTIMORE, MD 21279                   CHICAGO, IL 60680-4112                  25718 NETWORK PLACE
                                                                              CHICAGO, IL 60673




BLUE CROSS BS OF AL                   BLUE CROSS BS OF FLORIDA                BLUE CROSS BS OF TN
450 RIVER CHASE PKWY EAST             P.O. BOX 1798                           1 CAMERON HILL CIRCLE STE 0040
BIRMINGHAM, AL 35244                  JACKSONVILLE, FL 32231                  CHATTANOOGA, TN 37402




BLUE CROSS COMMUNITY CENTENNIAL       BLUE CROSS COMMUNITY HEALTH PLAN        BLUE CROSS COMMUNITY HEALTH
P.O. BOX 731431                       C/O PROVIDER SERVICES                   P.O. BOX 3418
DALLAS, TX 75373                      P.O. BOX 3418                           C/O PROVIDER SERVICES
                                      SCRANTON, PA 18505                      SCRANTON, PA 18505




BLUE CROSS FLORIDA                    BLUE CROSS IL MEDICAID                  BLUE CROSS INDEPENDENCE PA
P.O. BOX 121213                       P.O. BOX 4168                           P.O. BOX 21974
DEPT 1213                             SCRANTON, PA 18505-6168                 EAGAN, MN 55121
DALLAS, TX 75312




BLUE CROSS MEDICARE ADVANTAGE         BLUE CROSS MI                           BLUE CROSS NY EMPIRE
P.O. BOX 3686                         600 LAFAYETTE EAST                      P.O. BOX 1407
SCRANTON, PA 18505-0000               DETROIT, MI 48226                       NEW YORK, NY 10008-1407




BLUE CROSS OF CALIFORNIA              BLUE CROSS OF CALIFORNIA-PPO            BLUE CROSS OF GEORGIA
P.O. BOX 5281                         P.O. BOX 4194                           P.O. BOX 105557
CAROL STREAM, IL 60197-5281           OVERPAYMENT DEPT.                       REFUND RECOVERY
                                      WOODLAND HILLS, CA 91367                ATLANTA, GA 30348




BLUE CROSS OF IDAHO                   BLUE CROSS OF MICHIGAN                  BLUE CROSS OF OHIO
P.O. BOX 7408                         ATT OVERPAYMENT                         P.O. BOX 105187
BOISE, ID 83707-1408                  P.O. BOX 366                            ATLANTA, GA 30348-5187
                                      DETROIT, MI 48231-0366




BLUE CROSS OF TENNESSEE               BLUE CROSS OF TN C/O FROST ARNETT CO    BLUE CROSS OF TN
P.O. BOX 2087                         P.O. BOX 198988                         P O BOX 180150
ATTN:HARRIS KLEIN ASSC                NASHVILLE, TN 37219                     CHATTANOOGA, TN 37401
WOODSTOCK, GA 30188
BLUE CROSS OF UT        Case 20-10766-BLS    Doc 6
                                      BLUE CROSS          Filed 04/07/20   Page BLUE
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P.O. BOX 3016                         300 E RANDOLPH                            P.O. BOX 2181
TACOMA, WA 98401-3016                 CHICAGO, IL 60601                         LITTLE ROCK, AR 72203-2181




BLUE CROSS                            BLUE CROSS/BLUE SHIELD                    BLUE CROSS/HEALTH CARE SERVICE
P.O. BOX 9907                         300 E RANDOLPH ST                         REFUND DEPT/CASH DISBURSEMENTS
COLUMBUS, GA 31908                    CHICAGO, IL 60601                         25718 NETWORK PLACE
                                                                                CHICAGO, IL 60673




BLUE ENDO                             BLUE ISLAND CHAMBER OF COMMERCE, INC      BLUE ISLAND CLINIC COMPANY, LLC
8097 FLINT STREET                     2434 W VERMONT ST                         1209 ORANGE STREET
LENEXA, KS 66214                      BLUE ISLAND, IL 60464                     WILMINGTON, DE 19801




BLUE ISLAND CLINIC COMPANY, LLC       BLUE ISLAND FIRE DEPARTMENT               BLUE ISLAND HBP MEDICAL GROUP, LLC
P.O. BOX 7835                         BLUE ISLAND FIRE DEPARTME                 1209 ORANGE STREET
BELFAST, ME 04915-7800                2601 VERMONT STREET                       WILMINGTON, DE 19801
                                      BLUE ISLAND, IL 60406




BLUE ISLAND HOSPITAL COMPANY, LLC     BLUE ISLAND ILLINOIS HOLDINGS, LLC        BLUE ISLAND PARK DISTRICT
12935 S. GREGORY ST.                  1573 MALLORY LANE, SUITE 100              12804 S HIGHLAND AVE
BLUE ISLAND, IL 60406                 BRENTWOOD, TN 37027                       BLUE ISLAND, IL 60406




BLUE ISLAND POLICE FOP LODGE          BLUE MEDICARE HMO & PPO                   BLUE MEDICARE HMO
13031 S. GREENWOOD AVE                REFUNDS                                   P.O. BOX 3567
BLUE ISLAND, IL 60406                 P.O.BOX 17509                             SCRANTON, PA 18503
                                      WINSTON-SALEM, NC 27116-7509




BLUE MEDICARE PPO                     BLUE RAVEN                                BLUE RIDGE COMM. THEATER, INC.
P O BOX 3567                          65 MILLER DRIVE                           2591 EAST FIRST STREET
SCRANTON, PA 18503                    DAWSONVILLE,, GA 30534                    BLUE RIDGE, GA 30513




BLUE RIDGE FLOWERS                    BLUE RIDGE GEORGIA HOLDINGS, LLC          BLUE RIDGE GEORGIA HOSPITAL
8024 BLUE RIDGE DRIVE                 1209 ORANGE STREET                        COMPANY, LLC
BLUE RIDGE, GA 30513                  WILMINGTON, DE 19801                      1209 ORANGE STREET
                                                                                WILMINGTON, DE 19801




BLUE RIDGE HANDYMAN COMPANY LLC       BLUE RIDGE HANDYMANY COMPANY LLC          BLUE RIDGE MEDICAL GROUP
42 NELS RIDGE RD                      985 MADOLA ROAD                           101 RIVERSTONE VISTA
MINERAL BLUFF, GA 30559               EPWORTH, GA 30541                         SUITE 111
                                                                                BLUE RIDGE, GA 30513




BLUE RIDGE MEDICAL TRANSPORT          BLUE RIDGE MOUNTAIN ARTS ASSOC            BLUE RIDGE MOUNTIAN MOVING AND
16658 MORGANTON HWY                   420 W. MAIN STREET                        PACKING
MORGANTON, GA 30560                   BLUE RIDGE, GA 30513                      P.O. BOX 503
                                                                                BLUE RIDGE, GA 30513
BLUE RIDGE STONE DEPOT Case 20-10766-BLS      DocWATER
                                     BLUE RIDGE    6 Filed  04/07/20
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                                                                             191 ROYAL
                                                                                  of 1969
                                                                                       STAFFING, LLC
5051 APPALACHIAN HWY                 4309 CLEAR CREEK RD                     400 FAIRWAY DRIVE
BLUE RIDGE, GA 30513                 ELLIJAY, GA 30536                       SUITE 107
                                                                             DEERFIELD BEACH, FL 33441




BLUE SHIELD CA                        BLUE SHIELD OF CALIFORNIA - FEP        BLUE SHIELD OF CALIFORNIA
ANNT: CORPORATE RECOVERY              P.O. BOX 241012                        P.O. BOX 241012
PP BOX 241012                         LODI, CA 95241                         LODI, CA 95241-9512
LODI, CA 95241




BLUE SKY PRODUCTIONS                  BLUE SKY TECHNOLOGIES, LLC             BLUE TECHNOLOGIES
P.O. BOX 920700                       5510 SOUTHWEST DR STE 9                P O BOX 31475
EL PASO, TX 79902                     JONESBORO, AR 72404-0000               INDEPENDENCE, OH 44131




BLUE TURTLE SVCS INC                  BLUE, MATT                             BLUECARE TENNESSEE
2256 HERRICK CIRCLE                   445 SALUKI WAY                         1 CAMERON HILL CIRCLE
HUDSON, OH 44236                      GOREVILLE, IL 62939                    CHATTANOOGA, TN 37402-0000




BLUECROSS BLUESHIELD OF TENNESSEE     BLUEGRASS BIOMEDICAL, INC.             BLUEGRASS CARDIOLOGY, LLC
801 PINE ST                           P.O. BOX 296                           128 MAHOGANY DRIVE
CHATTANOOGA, TN 37402                 DANVILLE, KY 40422                     RICHMOND, KY 40475




BLUEGRASS HEALTH NETWORK              BLUELINE SERVICES                      BLUELINE SERVICES
ATTN: HEATHER NICHOLS                 448 E 6400 S STE 425                   448 EAST WINCHESTER,
P.O. BOX 23640                        SALT LAKE CITY, UT 84107               STE 425
LOUISVILLE, KY 40223                                                         SALT LAKE CITY, UT 84107




BLUFF CITY PROVISIONS                 BLUFF CITY TOURS                       BLUM, AMY
3081 BELLBROOK CENTER DR              4550 LEVIS LN                          124 ELLINGTON BLVD APT 7
MEMPHIS, TN 38116                     GODFREY, IL 62035                      GAITHERSBURG, MD 20878




BLUMENAUER, KELLY J.                  BLUMENSHINE, FRANCES                   BLUMENSTOCK, JACQUELYN
1489 HORNS LANE NW                    2035 BULLARD ST                        23822 MEADOWLARK RD
DOVER, OH 44622                       MONTGOMERY, AL 36106-1717              CARRIER MILLS, IL 62917




BLUMENTHAL, LEWIS                     BLUMER, SCOTT                          BLUMSTEIN, HANNAH R.
1221 THORNAPPLE LANE                  5835 ISLAND DRIVE NW                   612 E 4TH ST
NORTHBROOK, IL 60062                  CANTON, OH 44718                       ALTON, IL 62002




BLUNT-GARDINER, AUNDRICA K.           BLYDEN, ERROL                          BM PROPERTIES OF MONMOUTH
7731 N PAULINA ST. A                  209 SAXON WOODS DRIVE                  441 E MAIN STREET
CHICAGO, IL 60626                     ATHENS, GA 30607                       GALESBURG, IL 61401-0000
BNP/CUST (2787)       Case 20-10766-BLS
                                    BOADLE, Doc   6 Filed 04/07/20
                                             SANDRA                      Page BOARD
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                                                                                       GOVERNONRS OF THE ST
ATTN PROXY DEPARTMENT               7435 ELLIOTT RD                           FRANCIS COUNTY HOSPITAL SYSTEM
525 WASHINGTON BLVD                 LAKE CHARLES, LA 70605-0000               211 SAINT FRANCIS DR
9TH FLOOR                                                                     CAPE GIRARDEAU, MO 63703
JERSEY CITY, NJ 07310



BOARD OF REG NURSING                BOARD OF REGENTS OF THE UNIVERSITY        BOARD OF REGENTS
P.O. BOX 944210                     OF NEW MEXICO                             COLLEGE OF SOUTHERN NEVADA
SACRAMENTO, CA 94244-2100           MSC05 3200                                3200 E CHEYENNE AVE CYE124
                                    1 UNIVERSITY OF NEW MEXICO                NORTH LAS VEGAS, NV 89030
                                    ALBUQUERQUE, NM 87131-0001



BOARD, DENA                         BOARDING HOUSE                            BOARS NEST BED & BREAKFAST
ADDRESS ON FILE                     407 PARKVIEW ST NE                        820 KRATZINGER HOLLOW ROAD
                                    MASSILLON, OH 44646                       COBDEN, IL 62920




BOATENG, REINDORF                   BOATMAN, CHRISTINE                        BOATRIGHT, AMY
3270 POSSUM RUN CT S                3810 HWY 414                              19915 GA HWY 46
COLUMBUS, OH 43224                  MOUNTAINVIEW, WY 82939                    PEMBROKE, GA 31321




BOATRIGHT, DEREK                    BOATRIGHT, KRISTY                         BOATWRIGHT, ANN G.
ADDRESS ON FILE                     ADDRESS ON FILE                           2324 CREEK VIEW DR
                                                                              AUGUSTA, GA 30907




BOATWRIGHT, JONATHAN E.             BOB JONES, CO                             BOB STOTLAR BLDG CENTER
ADDRESS ON FILE                     KURT HANKS                                P.O. BOX 506
                                    12012 SOUTH HIDDEN VALLEY CLUB DR         MARION, IL 62959
                                    SANDYR, UT 84092




BOB WATT, COUNTY COLLECTOR          BOBAN, DENNIS                             BOBBI FEE
100 SOUTH 10TH STREET, ROOM 100     7700 W GOLF DR.                           ADDRESS ON FILE
MT VERNON, IL 62864                 APT 1A
                                    60463-3037




BOBBIE WHITE                        BOBBIE WINK                               BOBBY DYER FOR MILDRED STANFILL
P.O. BOX 1392                       ADDRESS ON FILE                           170 LAKEWOOD DR
GILLETTE, WY 82717-1392                                                       LEXINGTON, TN 38351




BOBBY MCCORMICK                     BOBBY MORGAN                              BOBBY ROEVER
620 N MECHANIC ST                   503 PAR DR DRIVE APT 9                    P.O. BOX 1247
MACOMB, IL 61455                    MARION, AR 72364                          BIG SPRING, TX 79720




BOBBYS FROZEN CUSTARD               BOBCAT OF ST LOUIS                        BOBO II, NICOLAS
P.O. BOX 678                        401 W OUTER RD                            P.O. BOX 1528
MARYVILLE, IL 62062                 VALLEY PARK, MO 63088                     SILVER CITY, NM 88062
BOBO, ASHLEY R.          Case 20-10766-BLS    Doc 6
                                       BOBO, ASHLEY       Filed 04/07/20   Page BOBO,
                                                                                193 of  1969M.
                                                                                      MICHELE
ADDRESS ON FILE                        ADDRESS ON FILE                          2811 SOUTH ANDERSON RD
                                                                                BIG SPRING, TX 79720




BOBO, NICOLAS C.                       BOBO, WANDA                              BOCK, ALICE
1853 S LAMINA LOOP P.O. BOX 1528       2320 MATTHEW CT                          14841 TRUMBULL AVE
SILVER CITY, NM 88061                  MONROE, GA 30655                         MIDLOTHIAN, IL 60445




BOCK, LAWRENCE E.                      BOCK, NATHANIEL                          BOCKHORN, AMIE M.
1124 PICCOLO LN                        144 REAGAN DR                            ADDRESS ON FILE
VOLO, IL 60073                         TROY, IL 62294




BOCKHORST, BRITNEY                     BOCZEK, DOUGLAS J.                       BODDIE, ALEXIS L.
114 PARK PLAZA                         ADDRESS ON FILE                          ADDRESS ON FILE
RED BUD, IL 62278




BODDIE, JASMINE A.                     BODE DRUG, INC                           BODE, RANDAL
ADDRESS ON FILE                        P.O. BOX 110                             209 HAZEL ST
                                       MOUND CITY, IL 62963-0110                TROY, IL 62294




BODEKER, PATRICIA A.                   BODENSTEINER, MISTY                      BODEWES-WAGGANER, BERNADINE T.
ADDRESS ON FILE                        4461 WHITT STATION RUN NW                ADDRESS ON FILE
                                       ACWORTH, GA 30101




BODI, EDWARD P.                        BODINE, JENNIFER                         BODITRAK SPORTS LLC
3 MICHAEL CT                           1505 JUNIPER LANE                        383 MARSHALL AVENUE
BETHALTO, IL 62010                     SPRINGFIELD, OR 97477                    ST LOUIS, MO 63119




BODLE, DONALD, S.                      BODOLLO, ERIKA R.                        BODY, LYNDA K.
200 RACHEL DR                          10825 ORRVILLE ST NW                     828 W ROBINSON ST.
BELLEFONTE, PA 16823-9622              MASSILLON, OH 44647                      HARRISBURG, IL 62946




BOECK, JAY                             BOEHLER, DARA R.                         BOEHM, THERESA A.
761 BOULEVARD DE CANNES                950 CTY RD 5                             ADDRESS ON FILE
EDWARDSVILLE, IL 62025-5308            GOLDEN VALLEY, ND 58541




BOEHRINGER LABORATORIES LLC            BOEHRINGER LABORATORIES                  BOELENS, TIFFANY D.
300 THOMS DRIVE                        P.O. BOX 870                             ADDRESS ON FILE
PHOENIXVILLE, PA 19460                 NORRISTOWN, PA 19404
                        Case 20-10766-BLS
BOELTER COMPANIES INC, THE            BOERNER  Doc  6 KFiled 04/07/20
                                                WILLIAM                      Page BOERSMA
                                                                                  194 of 1969
                                                                                          THERESA A
P.O. BOX 734296                       P.O. BOX 183                                ADDRESS ON FILE
CHICAGO, IL 60673-4296                ELLIJAY, GA 30540




BOERSMA, ROBERT R.                    BOESCH, LAURIE E.                           BOESER, KYLE
38662 N PINE AVERD                    ADDRESS ON FILE                             231 W. MAIN ST
BEACH PARK, IL 60099                                                              ST. JACOB, IL 62281




BOETTCHER, STACY                      BOFA SECURITIES, INC. (0161, 5198, 5143)    BOGAN-BELL, SHARON
206 KNOX ROAD 2000 N                  ATTN EARL WEEKS OR PROXY DEPT.              1250 W 112TH PL
GALESBURG, IL 61401                   C/O MERRILL LYNCH CORPORATE ACTIONS         CHICAGO, IL 60643
                                      4804 DEER LAKE DR. E.
                                      JACKSONVILLE, FL 32246



BOGARD, AMANDA M.                     BOGASKI, CYNTHIA                            BOGDALA, MATTHEW J.
4001 HALE LN                          921 WOODLAND DR.                            ADDRESS ON FILE
ISLAND LAKE, IL 60042                 MARYVILLE, IL 62062




BOGDAN, JUDITH A.                     BOGET, LISA A.                              BOGGAN, DANIEL T.
9063 NEWCASTLE CT                     ADDRESS ON FILE                             ADDRESS ON FILE
TINLEY PARK, IL 60487




BOGGESS, ABBY                         BOGGS EUGENE                                BOGGS JEANIE
91 LARA LN                            P.O. BOX 253                                31 RED BIRD TRAIL
LOUISA, KY 41230                      MC KENZIE, TN 38201                         BLUE RIDGE, GA 30513




BOGGS, ABBY L.                        BOGGS, BRENDA                               BOGGS, CHARLES
ADDRESS ON FILE                       3511 MASON ROAD                             673 STRAIGHT FORK ROAD
                                      RISING FAWN, GA 30738                       CORNETTSVILLE, KY 41731




BOGGS, DELBERT                        BOGGS, KATELYNN M.                          BOGGS, KIMBERLY J.
1517 MAPLE STREET                     ADDRESS ON FILE                             ADDRESS ON FILE
FLATWOODS, KY 41139




BOGGS, MADELINE                       BOGGS, RICKY                                BOGGS, RUBY MICHELLE
ADDRESS ON FILE                       P.O. BOX 1375                               3660 AL HIGHWAY 40
                                      INEZ, KY 41224-1375                         HENAGAR, AL 35978




BOGGS, SHANA                          BOGGS, SONYA M.                             BOGGS, TIA
ADDRESS ON FILE                       ADDRESS ON FILE                             ADDRESS ON FILE
BOGLE, ROBIN M.          Case 20-10766-BLS
                                       BOGLINO,Doc 6 E.Filed 04/07/20
                                                SEARRA                  Page BOGUE,
                                                                             195 ofDANIELLE
                                                                                    1969 L.
69 GREENWOOD LN                         206 EAST WILLOW                     ADDRESS ON FILE
HENAGAR, AL 35978                       LYMAN, WY 82937




BOGUE, WILLIAM ROBERT                   BOGUSLOFSKI, CORY                   BOGUSLOFSKI, CORY
403 BAYVIEW CT                          84074                               P.O. BOX 612
GLEN CARBON, IL 62034                                                       ALPINE, AZ 85920




BOHANEK, CARRIE                         BOHANNON, DEBBIE                    BOHANNON, ELDEN LELAND
80 PAW PAW LN                           ADDRESS ON FILE                     416 KELLY RD EAST
MCKENZIE, TN 38201                                                          FORT PAYNE, AL 35967-7327




BOHNAK, JENNIFER K.                     BOHNAK, JENNIFER K.                 BOHNE, MICHELE B.
7849 LEBANON ROAD                       ADDRESS ON FILE                     12223 RICHARD AVE
TROY, IL 62294                                                              PALOS HEIGHTS, IL 60463




BOHNER, SHANDA L                        BOHRER, DENISE A.                   BOIE, MARK
242 MEADOWVIEW CR DR                    18800 ROSE LANE                     625 US HWY 51 S
PAXINOS, PA 17860                       MOKENA, IL 60448                    ANNA, IL 62906




BOILER INSPECTION DIVISION              BOISSONNEAULT, AMELIA R.            BOK, DEBRA ALDRIDGE
10421 WEST MARKHAM                      30035 N WAUKEGAN RD APT 107         365 FARMINGTON DR E
LITTLE ROCK, AR 72205                   LAKE BLUFF, IL 60044                EVANS, GA 30809




BOKEMEIER, MARIE R.                     BOKKER, GAIL                        BOLAND, BRIDGET
11 MONTE VISTA AVENUE                   460 SFC 434                         ADDRESS ON FILE
WATSONVILLE, CA 95076                   FORREST CITY, AR 72335




BOLAND, PHILLIP                         BOLANLE, ASIYANBOLA MD              BOLD, DAVID
100 S JAMES ST. APT 5                   1489A N VAN DORN STREET             119 BROOKS DR
SPARTA, IL 62286                        ALEXANDRIA, VA 22304                BETHALTO, IL 62010




BOLDA, JENNIFER L.                      BOLDEN, DEBRA A.                    BOLDEN, DELISSA
30361 HILLCREST PO 56                   ADDRESS ON FILE                     763 RICE ST
BEECHER, IL 60401                                                           WOOD RIVER, IL 62095




BOLDER OUTREACH SOLUTIONS LLC           BOLDT, SHARON K.                    BOLDUC, ELIZABETH
P.O. BOX 538449                         142 E. DOPPLER RD.                  596 LAKE DRIVE
MEDICAID ELIGIBILTY & DENIAL SOLUTI     ASHLEY, IL 62808                    WOODHULL, IL 61490
ATLANTA, GA 30353-8449
BOLDWARE, DIANE           Case 20-10766-BLS     Doc 6 M.
                                        BOLEN, CHRISTINA Filed 04/07/20   Page BOLEN,
                                                                               196 ofEDITH
                                                                                      1969 F.
P.O. BOX 681432                           ADDRESS ON FILE                      312 N 21ST
FORT PAYNE, AL 35968                                                           HERRIN, IL 62948




BOLEN, JODI R.                            BOLEN, WHITTNEY                      BOLES & COMPANY
ADDRESS ON FILE                           ADDRESS ON FILE                      JUDY BOLES HAMM
                                                                               213 MOCKINGBIRD LN
                                                                               TYLER, TX 75701




BOLES, JACQUELINE D.                      BOLES, KELSEY                        BOLES, TIFFANI N.
311A NORTH THIRD STREET                   1105 WEST WHITE                      ADDRESS ON FILE
WEST HELENA, AR 72390                     MARION, IL 62959




BOLGER, GERRY                             BOLIN, BRYTNY A.                     BOLINDER, CODEE
613 LUCILLE CT                            ADDRESS ON FILE                      ADDRESS ON FILE
EVANSTON, WY 82930




BOLINDER, JASON                           BOLINDER, SCOTT                      BOLINE, MARY LYNN
ADDRESS ON FILE                           5453 SCARSBOROUGH WAY                3629 W. 108TH STREET
                                          STANSBURY, UT 84074                  CHICAGO, IL 60655




BOLIVAR, LUCY O.                          BOLLASINA COMMUNICATIONS             BOLLES, JOYCE
2505 METROPOLITAN AVE                     10043 GRANT MEADOW LN                708 VENTANA CIR
WAUKEGAN, IL 60087                        ST. LOUIS, MO 63123                  MESQUITE, NV 89027




BOLLIER, MARTY                            BOLLING, EUDORA M.                   BOLLING, ROSALYN A.
P.O. BOX 1482                             1745 POPLAR ST                       ADDRESS ON FILE
ALPINE, TX 79831                          GRANITE CITY, IL 62040




BOLLINGER, EVAN                           BOLLINGER, JAMEY                     BOLLMAN, APRIL D.
9 GOLDEN ROD LANE                         710 BROWN ST                         ADDRESS ON FILE
EDWARDSVILLE, IL 62025                    BRIGHTON, IL 62012-1195




BOLLMAN, TRACI                            BOLLMANN, DANIEL R.                  BOLLMANN, DIEDRA M.
2351 31ST STREET                          ADDRESS ON FILE                      ADDRESS ON FILE
SPRINGFIELD, OR 97477




BOLLMANN, LIBBY J.                        BOLT, JEFFREY C.                     BOLTON GREGORY S
914 CLEARVIEW DRIVE                       ADDRESS ON FILE                      884 RUBEN CT
BELLEVILLE, IL 62223                                                           GRANTSVILLE, UT 84029
BOLTON, EDNA           Case 20-10766-BLS
                                     BOLTON, Doc  6 L.Filed 04/07/20
                                             EDWARD                    Page BOLTON,
                                                                            197 of MARY
                                                                                    1969A.
7307 RICHARDLAND COURT               4725 HAWTHORNE DR NE                   ADDRESS ON FILE
ROSWELL, GA 30076                    FORT PAYNE, AL 35967-3937




BOLTON, SEAN ERIC                     BOMAN LINDA S                         BOMAN, ANNA
2170 MELLOWOOD CT                     775 COUNTY ROAD 49                    P.O. BOX 377
SPRINGFIELD, OR 97477                 CEDAR BLUFF, AL 35959-4437            STEVENSON, AL 35772




BOMAN, BEVERLY P.                     BOMAN, HEATHER                        BOMAN, SAGE
135 MARGARET AVE                      ADDRESS ON FILE                       1124 S 1050 W
SECTION, AL 35771                                                           TOOELE, UT 84074




BOMAR COMMERCIAL CLEANING             BOMER, LAWRENCE                       BOMER, MARTHA L.
3913 FARMINGTON LN                    ADDRESS ON FILE                       ADDRESS ON FILE
JOHNSBURG, IL 60051




BONACCIA, SHELLI                      BONADUCE, SAMANTHA J.                 BONAM, DIANA
882 W 1100 S                          717 HAWTHORN DRIVE                    1133 PROSPECT AVE SW
PRICE, UT 84501                       DOVER, OH 44622                       CANTON, OH 44706-1566




BONAR, KRISTIE                        BOND JOANN E                          BOND, ALLEN R
91091 SUNDERMAN RD                    279 COUNTY RD 258                     ADDRESS ON FILE
SPRINGFIELD, OR 97478                 FORT PAYNE, AL 35967-7018




BOND, ALLISON L.                      BOND, CONNIE H.                       BOND, CORTNEY
518 PEACH ORCHARD PL NW               ADDRESS ON FILE                       ADDRESS ON FILE
AIKEN, SC 29801




BOND, CYNTHIA                         BOND, DEBORAH S.                      BOND, GEOFFREY O.
671 GOOSE CREEK                       ADDRESS ON FILE                       507 W MISSISSIPPI ST
OLIVE HILL, KY 41164-8129                                                   JONESBORO, IL 62952




BOND, JANET A.                        BOND, KEVIN D.                        BOND, KYLE
365 COUNTY ROAD 600 N                 3805 W 138TH PL                       5004 SHERMAN BLVD SW
NORRIS CITY, IL 62869                 ROBBINS, IL 60472                     NAVARRE, OH 44662




BOND, MARIA ELLANNE                   BOND, NORMAN G.                       BOND, STYRON
5004 SHERMAN BLVD SW                  89 BIGGS BRANCH RD.                   107 PRICE ST
NAVARRE, OH 44662                     LOUISA, KY 41230                      WILLIAMSTON, NC 27892
BONDER, KENNETH A.        Case 20-10766-BLS    Doc P.
                                        BONDS, ANNIE 6     Filed 04/07/20   Page BONDURANT,
                                                                                 198 of 1969SOPIDA
4430 W 115TH PLACE                       ADDRESS ON FILE                         ADDRESS ON FILE
ALSIP, IL 60803




BONE FOAM INC                            BONE FOAM, INC                          BONE FOAM, INC.
20175 COUNTRY RD 50                      20175 COUNTY ROAD 50                    3650 ANNAPOLIS LANE, 105
CORCORAN, MN 55340                       CORCORAN, NM 55340                      PLYMOUTH, MN 55447-0000




BONE SOLUTIONS INC                       BONE, AMANDA B.                         BONE, AMANDA B.
5712 COLLEYVILLE BLVD STE 210            1029 HIDDEN LAKES RD.                   ADDRESS ON FILE
COLLEYVILLE, TX 76034                    WILLIAMSTON, NC 27892




BONE, CONNER                             BONE, MEGAN A.                          BONFLEUR, BRUCE
1029 HIDDEN LAKES RD                     6765 LAY SPRINGS RD                     P O BOX 55
WILLIAMSTON, NC 27892                    GADSDEN, AL 35904                       WHITECLAY, NE 69365-0101




BONHAM JEAN M                            BONHAM, CARLTON W.                      BONIFIELD LEIGH A
1199 N TERRY ST SPC 129                  444 EDITSTO DR                          3001 SOUTHWOOD
EUGENE, OR 97402-1443                    NORTH AUGUSTA, SC 29841-2772            MILLSTADT, IL 62260




BONILLA CHAVEZ, MARICELA                 BONILLA MIGUEL                          BONILLA, JESSIE
36 B TREMBLEY LN                         3420 MICHAEL AVE                        151 N 4TH ST
WATSONVILLE, CA 95076                    WAUKEGAN, IL 60085                      SUNBURY, PA 17801




BONILLA, LAURO                           BONKOWSKI, MICHAEL                      BONNER, MARY
ADDRESS ON FILE                          472 MT VERNON RD                        ADDRESS ON FILE
                                         MONROE, GA 30655




BONNER, SHELLEY                          BONNERS ACOUSTICAL CONTRACTORS, INC     BONNEY, PATRICK J
221 SOUTH MIDWAY ST                      111 RAINBOW INDUSTRIAL BLVD             2518 BURR OAK AVE
MARVELL, AR 72366                        RAINBOW CITY, AL 35906                  BLUE ISLAND, IL 60406-2027




BONNEY, PENNY                            BONNIE BROOK GOLF COURSE                BONNIE BROWN
2518 BURR OAK AVE                        2800 N LEWIS AVE                        978 KNOX HWY 27
BLUE ISLAND, IL 60406                    WAUKEGAN, IL 60087                      GILSON, IL 61436




BONNIE HOWARD                            BONNIE L GEHRING                        BONNIE LYNN HILL
ADDRESS ON FILE                          154 BENDER ST NE                        5215 VAN BIBBER COURT
                                         NAVARRE, OH 44662-8542                  ASHLAND, KY 41102
BONNIE MOORE             Case 20-10766-BLS    Doc 6
                                       BONO, KEITH         Filed 04/07/20   Page BONSKY,
                                                                                 199 of MEGAN
                                                                                         1969 M
5605 PLUM TREE DR                      109 W MONROE ST                           7777 MUDBROOK ST NW
SOUTHHAVEN, MS 38671                   ANNA, IL 62906-0000                       MASSILLON, OH 44646-1109




BONTHRON, STEFANIE                     BONTRAGER, JOHN H.                        BOOB INC
12909 PINOAK LANE                      609 CNFORD NW
BENTON, IL 62812                       MASSILLON, OH 44646




BOOKER, ALMA J.                        BOOKER, KIMBERLY S.                       BOOKER, MARCUS K.
ADDRESS ON FILE                        ADDRESS ON FILE                           10197 GREEN MOSS DR S
                                                                                 CORDOVA, TN 38018




BOOKER, PATRICIA                       BOOKER, RACHEL D.                         BOOKER, TANYA M.
1038 WILDWOOD GLEN                     2422 N SAMSON WAY APT 2C                  17217 CALIFORNIA
STONE MOUNTAIN, GA 30083               WAUKEGAN, IL 60087                        HAZEL CREST, IL 60429




BOOKHOUT, BRITTANY                     BOOKHOUT, KARI                            BOOMER, CHRISTOPHER
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




BOOMSMA, WENDI                         BOONE COUNTY HOSPITAL                     BOONE DIANE
18261 CHICAGO AVE.                     1015 UNION STREET                         12418 S UNION
LANSING, IL 60438                      BOONE, IA 50036-4898                      CHICAGO, IL 60628




BOONE, DANIEL MATTHEW                  BOONE, DIANE                              BOONE, HERSHEL
41 PARK DR                             12418 S UNION AVE                         1140 PILLOWVILLE GLEASON RD
LOCK HAVEN, PA 17745                   CHICAGO, IL 60628                         GLEASON, TN 38229




BOONE, JAMES C.                        BOONE, JOEL                               BOONE, LAUREN R.
2152 SUMMIT HILL RD                    4638 WILHOITE RD                          ADDRESS ON FILE
HOWARD, PA 16841                       FRANKLIN, TN 37064




BOONE, MICHAEL                         BOONEVILLE SENTINEL                       BOOS, CYNTHIA M.
3717 W 137TH ST                        P O BOX 129                               825 MULLANPHY RD
ROBBINS, IL 60472                      BOONEVILLE, KY 41314                      FLORISSANT, MO 63031




BOOSE, DENIA                           BOOSE, MARDELL                            BOOTES, RHONDA E.
364 PHILLIPS 113 RD                    P.O. BOX 1463                             ADDRESS ON FILE
POPLAR GROVE, AR 72374                 744 PHILLIPS 116 RD
                                       MARVELL, AR 72366
BOOTES, RONNIE          Case 20-10766-BLS    Doc 6
                                      BOOTH, ALAYNA      Filed 04/07/20   Page BOOTH,
                                                                               200 ofCARLA
                                                                                      1969R.
815 MONROE ST                         ADDRESS ON FILE                          ADDRESS ON FILE
HARRISBURG, OR 97446-0000




BOOTH, JOSETTE                        BOOTH, KAREN M.                          BOOTH, KOTNEY
ADDRESS ON FILE                       ADDRESS ON FILE                          322 GANNETT DR
                                                                               EVANSTON, WY 82930




BOOTH, VICKIE                         BOOTH, WILLIE E.                         BOOTHE, CHERYL
116 MORNINGSIDE                       200 WINDERMERE DR                        200 THOMPSON DR
MARION, AR 72364                      LOGANVILLE, GA 30052-4648                MESQUITE, NV 89027




BOOTHE, ELVIS                         BOOTHE, KELLY                            BOOZER, DWIGHT
110 SULCER ST                         2228 WALLS MTN                           237 COUNTY ROAD 108
PALESTINE, AR 72372                   HIAWASSEE, GA 30546-5131                 SYLVANIA, AL 35988




BORAM, ELIZABETH K.                   BORAM, ELIZABETH                         BORCHARD, AMY M.
ADDRESS ON FILE                       ADDRESS ON FILE                          89021 SUTTON LAKE RD
                                                                               FLORENCE, OR 97439




BORCHARDT, ANNE C.                    BORDEN DAIRY COMPANY                     BORDEOS, AILEEN T.
ADDRESS ON FILE                       P.O. BOX 933179                          ADDRESS ON FILE
                                      CLEVELAND, OH 44193




BORDER PEST CONTROL INC               BORDERS HELEN                            BORDERS, BRAYDEN P.
3100 E PINE ST                        12821 S ABERDEEN                         226 W 200 S
DEMING, NM 88030                      CALUMET PARK, IL 60827                   TOOELE, UT 84074




BORDERS, KEITH W.                     BORDERS, SHARON L.                       BOREIKA, SNIEGUOLE
ADDRESS ON FILE                       ADDRESS ON FILE                          913 W. COURTLAND ST.
                                                                               MUNDELEIN, IL 60060




BOREK, NATALIE M.                     BOREN, LINDA K                           BOREUP, AMANDA L.
541 BLUE JAY LANE                     8830 HWY 284                             ADDRESS ON FILE
SANTA CRUZ, CA 95065                  FORREST CITY, AR 72335




BOREUP, AMANDA                        BORGSTEDTE, SHELLY                       BORHAUER, CELESTE M.
ADDRESS ON FILE                       2315 COUNTY RD C2671                     2900 CAROL DR
                                      STANTON, TX 79782-0000                   JOLIET, IL 60432
BORJA, ELYZSA           Case 20-10766-BLS     Doc 6 ROSEBELLE
                                      BORJA, NATALIE  Filed 04/07/20
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                                                                                   1969
2101 S KIPPLING DR                     ADDRESS ON FILE                     ADDRESS ON FILE
DEMING, NM 88030




BORJA, RELYSA MAE                      BORJA, SARAH                        BORK, SCOTT W.
ADDRESS ON FILE                        ADDRESS ON FILE                     802 EAST 2ND AVENUE
                                                                           EASLEY, SC 29640




BORLAND, AMY                           BORN, ASHLEY D.                     BORN, MICHELLE D.
ADDRESS ON FILE                        P O BOX 528                         ADDRESS ON FILE
                                       COAHOMA, TX 79511




BOROVKA, SHARON M.                     BOROWIAKS IGA                       BORREGO, RACHEL
17417 W DARTMOOR DR                    500 SOUTH 10TH STREET               ADDRESS ON FILE
GRAYSLAKE, IL 60030                    MT. VERNON, IL 62864




BORRENPOHL, ZACHARY                    BORRUEL, SHIRLEY                    BORSON, DANIEL LUSTIG
4054 ALMA AVE                          27790 BRUCITE RD                    65 WEST 35TH PLACE
ST. LOUIS, MO 63116                    BARSTOW, CA 92311-0000              EUGENE, OR 97405




BORUNDA, JANNEL                        BOS, HENRIETTA                      BOSCOPUTNAM, MARION ANNETT
6720 DERBY DR APT K                    504 SO 100 WEST                     436 S 68TH PLACE
GURNEE, IL 60031                       JEROME, ID 83338                    SPRINGFIELD, OR 97478




BOSNICK, ANDREW T                      BOSNICK, JULIE                      BOSNICK, ORRIN
145 MULBERRY ST                        ADDRESS ON FILE                     P.O. BOX 158
MARIANNA, AR 72360                                                         MORO, AR 72368




BOSNICK, STANLEY                       BOSNICK, TYLER                      BOSS INSTRUMENTS, LTD
618 NORTH FORREST AVE                  197 LEE 447                         104 SOMMERFIELD DRIVE
MARIANNA, AR 72360                     MORO, AR 72368                      GORDONSVILLE, VA 22942




BOSSARD, CASSIE                        BOSTON MAGELLIA V                   BOSTON MEDICAL PRODUCTS INC
460 N 13TH ST                          1986 COYOTE RIDGE DRIVE             70 CHESTNUT STREET
PHILOMATH, OR 97370                    LAS CRUCES, NM 88001                SHREWSBURY, MA 01545




BOSTON MEDICAL PRODUCTS                BOSTON SCIENTIFIC / NAMIC           BOSTON SCIENTIFIC CORP
70 CHESTNUT ST                         48 PINE STREET                      P.O. BOX 512638
SHREWSBURY, MA 01545                   CHURCH STREET STATION               LOS ANGELES, CA 90051-0638
                                       HUDSON FALLS, NY 12839
BOSTON SCIENTIFIC CORP Case 20-10766-BLS
                                     BOSTON Doc    6 Filed
                                             SCIENTIFIC CORP 04/07/20   Page BOSTON
                                                                             202 ofSCIENTIFIC
                                                                                    1969 CORP
P.O. BOX 786205                      P.O. BOX 786205                        P.O. BOX 8500 6205
PHILADELPHIA, PA 19178               PHILADELPHIA, PA 19178-6205            PHILADELPHIA, PA 19178




BOSTON SCIENTIFIC CORP                BOSTON SCIENTIFIC CORP                BOSTON SCIENTIFIC CORP.
P.O. BOX 8500-6205                    P.O. BOX 951653                       C/O MICROVASIVE ENDOSCOPY
PHILADELPHIA, PA 19178-6205           DALLAS, TX 75395-1653                 P.O. BOX 512638
                                                                            LOS ANGELES, CA 90051-0638




BOSTON SCIENTIFIC CORPORATION 0186    BOSTON SCIENTIFIC CORPORATION         BOSTON SCIENTIFIC CRM
P.O.BOX 951653                        DOUG MILLS, DIRECTOR NATIONAL         P.O. BOX 8500-6205
DALLAS, TX 75395-1653                 ACCOUNTS                              PHILADELPHIA, PA 19178-6205
                                      100 BOSTON SCIENTIFIC WAY
                                      MARLBOROUGH, MA 01752



BOSTON SCIENTIFIC ELECTROPHYSIOLOGY   BOSTON SCIENTIFIC                     BOSTON SCIENTIFIC
P O BOX 8500-6205                     100 BOSTON SCIENTIFIC WAY             PO BOX 786205
PHILADELPHIA, PA 19178-6205           MARLBOROUGH, MA 01752                 PHILADELPHIA, PA 19178-6205




BOSTON, CARRIE E.                     BOSTON, CHRISTIAN                     BOSTON, DIANA
383 COLONIAL DR                       1000 N MONTGOMERY AVE                 49 ROTTINGHAM CT
MARION, AR 72364                      LITCHFIELD, IL 62056                  EDWARDSVILLE, IL 62025




BOSTON, LISA L.                       BOSTON, TAMMY R.                      BOSTWICK, STACEY
ADDRESS ON FILE                       7180 LIBERTY ROAD                     295 MACEDONIA ROAD
                                      CAMPBELLSVILLE, KY 42718              MCKENZIE, TN 38201




BOSWELL PHARMACY SERVICES             BOSWELL, DONNA S.                     BOSWELL, EVELYN
131 SCHOOLHOUSE RD.                   217 BROWNS FORK ROAD                  4225 ROSE LANE
P.O. BOX 266                          LOWMANSVILLE, KY 41232                APT. 7
JENNERSTOWN, PA 15547                                                       MT. VERNON, IL 62864




BOSWORTH COMPANY LTD, THE             BOTANA, MELIVIA                       BOTELLO ELSA
2205 WEST INDUSTRIAL                  12547 GREENWOOD AVE                   P.O. BOX 3945
P.O. BOX 3449                         APT 1                                 WEST WENDOVER, NV 89883
MIDLAND, TX 79702                     BLUE ISLAND, IL 60406




BOTHERN, SUSAN                        BOTHWELL REGIONAL HEALTH CENTER       BOTNER JOHN M
1056 TOBA BOWEN RD                    601 E. 14TH ST.                       3757 KY 30 WEST
WILLIAMSTON, NC 27892                 SEDALIA, MO 65301                     BOONEVILLE, KY 41314




BOTTARI, MICHELLE S.                  BOTTELBERGHE, KATE                    BOTTLING GROUP LLC
19418 EVERETT LANE                    31 EAST CHERRY STREET                 PEPSI-COLA
MOKENA, IL 60448                      GRANTSVILLE, UT 84029                 75 REMITTANCE DR - STE 1884
                                                                            CHICAGO, IL 60675-1884
                        Case 20-10766-BLS
BOTTOM LINE SYSTEMS, INC.                     DocAMANDA
                                      BOTTOMLEY,   6 Filed
                                                         L.  04/07/20   Page BOTTORFF,
                                                                             203 of 1969
                                                                                       ALLEN D.
541 BUTTERMILK PIKE                   990 COLONIAL AVE                       ADDRESS ON FILE
SUITE 401                             CANAL FULTON, OH 44614
CRESCENT SPRINGS, KY 41017




BOTTORFF, SHANA                       BOUCHARD PETER ALAN                    BOUCHER, JACK
403 PHILLIPS 319 ROAD                 3375 UNIVERSITY ST                     215 S MAIN ST
WEST HELENA, AR 72390                 EUGENE, OR 97405                       SMITHTON, IL 62285




BOUDREAU, CHERIE P.                   BOUDREAUX, KAREN                       BOUDREAUX, TERESA
1921 MAPLEVIEW COURT                  1505 SUNRISE RD                        12650 RUNNING DEER RD
SWANSEA, IL 62226                     BARSTOW, CA 92311                      APPLE VALLEY, CA 92308




BOUGHMAN, KIMBERLY                    BOUGHMAN, RUSSELL                      BOULA, RODNEY
12287 RYDER ST NW                     3233 CARMONT AVE SW                    13 GEISERS WAY
MASSILLON, OH 44647-9660              MASSILLON, OH 44647                    KEENE, NY 12942




BOULARD RANDY                         BOULDIN SONYA CHEZELLE                 BOULET, LISA K.
67 ENGLAND AVE                        47 UNION GROVE RD N                    27702 WATERMAN ROAD BARSTOW CA
TOOELE, UT 84074                      CROSSVILLE, AL 35962                   BARSTOW, CA 92311




BOULTON, SANDRA L.                    BOUNCE HOUSE GUY, THE                  BOUND TREE MEDICAL LLC
ADDRESS ON FILE                       27528 RIMROCK RD                       2144 RELIABLE PARKWAY
                                      BARSTOW, CA 92311                      CHICAGO, IL 60686-0021




BOUND TREE MEDICAL                    BOUND TREE MEDICAL, LLC                BOUNDS, BEVERLY A.
P.O. BOX 8023                         23537 NETWORK PLACE                    1067 BUCKBOARD TRAIL
DUBLIN, OH 43016-2023                 CHICAGO, IL 60673-1235                 MESQUITE, NV 89034




BOUNDS, ERICA                         BOUNDS, TRACY R.                       BOUNTIFUL BLOSSOMS
100 E. JERSEY ST                      ADDRESS ON FILE                        113 W MILL ST
OTTERVILLE, IL 62037                                                         WATERLOO, IL 62298




BOURGEOIS, AMANDA                     BOURGOYNE JR FREDDIE W                 BOURLAND PRINTING
1144 ELIZABETH ST                     12259 S YALE                           30037 FEDERAL LANE
BARSTOW, CA 92311                     CHICAGO, IL 60628                      EUGENE, OR 97402




BOURNE, HALEY A.                      BOURNE, JAPATH H.                      BOURQUE, MICHAEL
129 SPRINGS LAKE DR                   154 W BRAYTON ST                       26159 WEST OAKRIDGE COURT
MARTINEZ, GA 30907-1650               CHICAGO, IL 60628-7315                 CHANNAHON, IL 60410
BOURQUIN, TODD A.         Case 20-10766-BLS
                                        BOUSER,Doc 6 Filed
                                               KIMBERLY S. 04/07/20      Page BOUSHARD,
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                                                                                        TARA
6110 HOLLYDALE AVE NE                   ADDRESS ON FILE                       705 DOUGLAS LANE
CANTON, OH 44721-3318                                                         GRANITE CITY, IL 62040




BOUTWELL, COLLEEN M.                    BOUTWELL, MARGARETTE I.               BOUYA, MOHAMED
105 ORE CT                              P.O. BOX 1864                         1795 RUTLAND PASS DRIVE
WASHINGTON, NC 27889                    ROBERTSDALE, AL 36567                 LAWRENCEVILLE, GA 30045




BOUYSOU, JANET                          BOVA, HEATHER                         BOVELL, ASHA
3325 FANNY THOMPSON RD                  ADDRESS ON FILE                       403 E HAMILTON AVE
MONROE, GA 30655                                                              WYNNE, AR 72396




BOVIA SR., DONALD G.                    BOVIALL, BARBARA J.                   BOW TIE PREMIUM PROVISIONS
ADDRESS ON FILE                         303 EAST MAIN ST.                     519 D RUDDER RD
                                        KARNAK, IL 62956                      FENTON, MO 63026-0000




BOW TIE PREMIUM                         BOWDEN CAROLYN A                      BOWDEN, ASHLEY
PROVISIONS, INC                         6545 ATHENA DR                        ADDRESS ON FILE
806 ST. LOUIS AVENUE                    GLEN CARBON, IL 62034
VALLEY PARK, MO 63088




BOWDEN, VIRGINIA                        BOWDER, DAVID W.                      BOWEN & BOWENS
2898 HWY 163                            3875 HIGHWAY O                        1265 BIGGS LANE
CHERRY VALLEY, AR 72324                 FARMINGTON, MO 63640                  WILLIAMSTON, NC 27892




BOWEN BEN                               BOWEN HEAT AIR & REFRIGERATION        BOWEN LAVERNE
ADDRESS ON FILE                         1120 TYNER RD                         17161 S SCHOOL
                                        WILLIAMSTON, NC 27892                 SOUTH HOLLAND, IL 60473




BOWEN, ANGELA                           BOWEN, CARLA G.                       BOWEN, EDWIN
1495 TYNER RD                           ADDRESS ON FILE                       2001 EAST BOWMAN DR
WILLIAMSTON, NC 27982                                                         GREENVILLE, IL 62246




BOWEN, JANET J.                         BOWEN, JEREL                          BOWEN, JILL B.
3562 WYNN RD                            24355 HWY 32 N                        ADDRESS ON FILE
ROBERSONVILLE, NC 27871                 PLYMOUTH, NC 27862




BOWEN, KENNETH                          BOWEN, KRISTEN G.                     BOWEN, MICHAEL
ADDRESS ON FILE                         783 SAN ANDREAS ROAD                  ADDRESS ON FILE
                                        LA SELVA BEACH, CA 95076
BOWEN, MICHELLE D.      Case 20-10766-BLS    Doc 6
                                      BOWEN, MISTI        Filed 04/07/20   Page BOWEN,
                                                                                205 ofREBECCA
                                                                                       1969 S.
2395 W 23RD AVE THE ESTATE OF         ADDRESS ON FILE                          P.O.BOX 2223
EUGENE, OR 97405                                                               BIG SPRING, TX 79721




BOWEN, RUBY                           BOWEN, SANDRA                            BOWEN, SHERRY W.
5486 N US HIGHWAY 23                  4115 EL NIDO                             ADDRESS ON FILE
PAINTSVILLE, KY 41240                 HOBBS, NM 88240




BOWEN, STEPHEN R.                     BOWEN, TAYLOR J.                         BOWEN, TERESA
ADDRESS ON FILE                       ADDRESS ON FILE                          P.O. BOX 142
                                                                               COLLINSVILLE, AL 35961




BOWEN, TERESA                         BOWEN, TIFFANY J.                        BOWEN, TIFFANY L.
P.O. BOX 1509                         132 WHEELER HOLLOW                       17 MANDI LANE
INEZ, KY 41224                        FORT GAY, WV 25514                       RAINSVILLE, AL 35986




BOWENS, SHELA                         BOWER, AL                                BOWER, FRANCESKA
ADDRESS ON FILE                       3617 W. 115 PLACE                        3 ANDREWS ROAD
                                      CHICAGO, IL 60655                        BATH, ME 04530




BOWERS ABBY                           BOWERS, ANN P., MD PC                    BOWERS, BRENDA K.
18151 RT 37                           3450 SUSSEX STREET                       2622 SALEM GLEN CROSSING
JOHNSTON CITY, IL 62951               EUGENE, OR 97401                         MURFREESBORO, TN 37128




BOWERS, BRENDA K.                     BOWERS, HERMINA                          BOWERS, JESSI
ADDRESS ON FILE                       2945 ROSEBUD RD                          2609 WASSON RD APT 3
                                      APT 519                                  BIG SPRINGS, TX 79720
                                      LOGANVILLE, GA 30052-8961




BOWERS, JUSTIN D.                     BOWERS, KIM                              BOWERS, MATTHEW
2329 NEW LAKE ROAD                    7322 MOBILE ROAD                         ADDRESS ON FILE
THOMPSONVILLE, IL 62890               BLUE RIDGE, GA 30513




BOWERS, RACHEL A.                     BOWERS, TIFFANY                          BOWERS, VIRGINIA
293 DORTON                            713 CHELSEA CIR                          688 SFC 340
BAY, AR 72411                         MARIANNA, AR 72360                       FORREST CITY, AR 72335




BOWERSIRONS, TIMOTHY W.               BOWES, SHELLEY                           BOWIE, ALEAH L.
440 BROOK AVE                         38 WALNUT ST                             456 BLANCHARD ROUTE ROAD PO. BOX 89
TOOELE, UT 84074                      TRION, GA 30753                          SERAFINA, NM 87569
BOWIE, DAWN R.           Case 20-10766-BLS
                                       BOWLES,Doc 6 Filed 04/07/20
                                              CHANDRA                Page BOWLES,
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                                                                                  HEATHER
637 PIPPIN LANE                        ADDRESS ON FILE                    1290 ACORN PARK ST
WATSONVILLE, CA 95076                                                     EUGENE, OR 97402




BOWLES, TONI                           BOWLING CARLA                      BOWLING, CYNTHIA
12401 S. WENTWORTH AVE                 14266 HWY 191                      8252 TRAPHAGEN ST NW
CHICAGO, IL 60628                      HAZEL GREEN, KY 41332              MASSILLON, OH 44646




BOWLING, DENISE                        BOWLING, ELIZABETH                 BOWLING, JOHN
P.O. BOX 1003                          ADDRESS ON FILE                    70 COUNTRY LANE
HAZARD, KY 41701                                                          IDER, AL 35981




BOWLING, KIRBY                         BOWLING, MARGARET                  BOWLING, SAUNDRA
7435 KY RT 3215                        256 ELK DR                         14499 CO RD 1300 E
HAGER HILL, KY 41222                   BEAR RIVER, WY 82930               MCLEANSBORO, IL 62859




BOWLING, SUSAN M.                      BOWLING, VICTORIA                  BOWMAN BETTY J
2313 ELISHA AVE APT 3                  ADDRESS ON FILE                    ADDRESS ON FILE
ZION, IL 60099




BOWMAN DAVID MD                        BOWMAN MFG. CO. INC.               BOWMAN SIONYL
ADDRESS ON FILE                        20325 71ST AVE.NE STE.D            P.O. BOX 806
                                       ARLINGOTN, WA 98223                MORGANTON, GA 30560




BOWMAN, ALEXUS                         BOWMAN, ANNA                       BOWMAN, BEVERLY M.
3160 COUNTY ROAD 44                    5473 CRICKET LN                    7098 SUNRISE CR
LEESBURG, AL 35983                     TOOELE, UT 84074                   FRANKLIN, TN 37067




BOWMAN, BONNIE                         BOWMAN, CARL                       BOWMAN, CHANDRA
807 KY 708                             6030 ELM LN                        310 KEARTON DR.
BOONEVILLE, KY 41314                   MATTESON, IL 60443                 FAIRVIEW HEIGHTS, IL 62208




BOWMAN, DAVID MD                       BOWMAN, DAVID                      BOWMAN, DAVID
ADDRESS ON FILE                        ADDRESS ON FILE                    5473 CRICKET LN
                                                                          STANSBURY PARK, UT 84074




BOWMAN, DAWN L.                        BOWMAN, DEENA                      BOWMAN, JAMIE S.
ADDRESS ON FILE                        ADDRESS ON FILE                    3812 GRAND AVE SW
                                                                          FORT PAYNE, AL 35967
BOWMAN, JANIE           Case 20-10766-BLS   Doc
                                      BOWMAN, JON 6      Filed 04/07/20   Page BOWMAN,
                                                                               207 of 1969
                                                                                       LAMESA Y.
ADDRESS ON FILE                        ADDRESS ON FILE                         1812 DOG TOWN ROAD
                                                                               FORT PAYNE, AL 35967




BOWMAN, MARIANNE                       BOWMAN, PATRICIA                        BOWMAN, RACHEL N.
P.O. BOX 0                             224 HAYDEN AVE                          2024 PIEDMONT CIR
ELLIJAY, GA 30540                      EVANSTON, WY 82930-5600                 ST PETERS, MO 63304




BOWN, TYLER                            BOWN, ZOEY                              BOWSER, ERIN C.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




BOWSER, ROSE                           BOWSER, TERRY                           BOX JR, CHARLES A.
536 MADISON ST                         320 WESTVIEW DR                         839 FOREST CT
PLYMOUTH, NC 27962                     EDWARDSVILLE, IL 62025                  GREENVILLE, AL 36037




BOX, DAVID H.                          BOX, JEANIE                             BOX, JENITA K.
197 TOMAHAWK DRIVE                     310 COOK ST                             ADDRESS ON FILE
EVANSTON, WY 82930                     TROY, IL 62294-1832




BOX, MEREDITH R.                       BOX, ROBERT                             BOXDORFER, VIRGINIA LEE
ADDRESS ON FILE                        310 COOK STREET                         2632 WESTMORELAND DR
                                       TROY, IL 62294                          GRANITE CITY, IL 62040




BOXLER, JAMES                          BOXLEY, ROBERT                          BOY SCOUTS OF AMERICA TROOP 85
1942 COLONIAL PKWY NE                  15 COUNTRY LAKES LN                     P.O. BOX 597
MASSILLON, OH 44646                    WATERLOO, IL 62298                      HERRIN, IL 62948




BOYCE, HEATHER                         BOYCE, KEVIN G.                         BOYD CARLA
2114 CROWN PARK DRIVE                  312 FREDERICK ST                        ADDRESS ON FILE
WINDER, GA 30680                       LOCK HAVEN, PA 17745




BOYD CASEY M                           BOYD CO UNITED WAY                      BOYD PROMOTIONS LLC
7266 DAISY ST                          P.O. BOX 2285                           9013 OLD SMYRNA RD
SPRINGFIELD, OR 97478-0000             ASHLAND, KY 41105-2285                  BRENTWOOD, TN 37027




BOYD, ANGELA J.                        BOYD, CHARLENE                          BOYD, DEBORAH J.
1782 CHERRY ROAD                       5696 TUCKERS CORNER RD                  1150 COTTON LANE
WASHINGTON, NC 27889                   MCLEANSBORO, IL 62859                   HUNTINGDON, TN 38344
BOYD, DERON L.              Case 20-10766-BLS     Doc 6
                                          BOYD, ELAINE         Filed 04/07/20   Page BOYD,
                                                                                     208 ofJOE1969
                                                                                               E.
ADDRESS ON FILE                            2535 W 79TH ST                            315 BRADY MILL RD
                                           CHICAGO, IL 60652                         ANNA, IL 62906




BOYD, KARLA A.                             BOYD, KELLY                               BOYD, MARY
ADDRESS ON FILE                            ADDRESS ON FILE                           298 CARNEROS RD
                                                                                     AROMAS, CA 95004




BOYD, SADE                                 BOYD, SHANNON J.                          BOYD, SHEILA
6756 DERBY DR                              ADDRESS ON FILE                           P.O. BOX 356
GURNEE, IL 60031                                                                     SHELBIANA, KY 41562




BOYD, SHIRLEY                              BOYD, TANNER LUTHER                       BOYD, TERRY
P.O. BOX 64                                5454 COUNTY RD 712                        1090 MAGNOLIA DR
HUEYSVILLE, KY 41640                       IDER, AL 35981-4541                       HIGHLAND HOME, AL 36041-3412




BOYD, WENDY                                BOYDSTUN, HOLLIE J.                       BOYDSTUN, JOHN
ADDRESS ON FILE                            ADDRESS ON FILE                           1014 150TH ST
                                                                                     BERWICK, IL 61417




BOYDSTUN, MARILYN                          BOYER, BEULAH L.                          BOYER, CHRISTOPHER
290 STATE ROUTE 41                         14893 NAVARRE RD SW                       20 ENGLEWOOD DR
SAINT AUGUSTINE, IL 61474                  WILMOT, OH 44689-0000                     GLEN CARBON, IL 62034




BOYER, HENRY                               BOYER, JERRY                              BOYER, LINDSAY
253 PEARL ST                               25 WOLF CREEK SPUR                        1060 HUNTERS CROSSING LANE
MARIANNA, AR 72360                         MINERAL BLUFF, GA 30559                   MONROE, GA 30656




BOYER, NICK                                BOYER, REV. ROY                           BOYER, RUTH M.
1060 HUNTERS CROSSING LN                   120 MICHELLE DR                           2212 LESTER DRIVE NE 343
MONROE, GA 30656-4895                      GLEN CARBON, IL 62034                     ALBUQUERQUE, NM 87112




BOYER, TORI E.                             BOYER-MYERS, SALLY M.                     BOYETTE, CHAD
120 MICHELLE DR                            ADDRESS ON FILE                           5532 N RONNIE DRIVE
GLEN CARBON, IL 62034                                                                WATERLOO, IL 62298




BOYETTE, JANA W.                           BOYLAN, BARBARA                           BOYLAN, LISA
6207 COUNTY ROAD 72                        1158 WEST 11TH ALLEY                      ADDRESS ON FILE
FYFFE, AL 35971                            EUGENE, OR 97402
BOYLE, ELIZABETH A.       Case 20-10766-BLS     Doc 6
                                        BOYLE, JESSICA    Filed 04/07/20   Page BOYLES,
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P O BOX 1467                             143 HARDEN PKWY APT B                  39930 BUSINESS LOOP I 80 P.O. BOX 313
APTOS, CA 95001                          SALINAS, CA 93906                      LYMAN, WY 82937




BOYS & GIRLS CLUB OF EMERALD VALLEY      BOYS & GIRLS CLUB                      BOYS & GIRLS CLUB
P.O. BOX 1318                            P.O. BOX 204                           P.O. BOX 383
EUGENE, OR 97401                         BARSTOW, CA 92311                      990 NORTH MISSOURI
                                                                                WEST MEMPHIS, AR 72301




BOYS & GIRLS CLUB                        BOYS AND GIRLS CLUB                    BOYT, SARA
P.O. BOX 649                             P O BOX 511                            255 LEE BYRD RD
JASPER, GA 30143                         HELENA, AR 72342                       LOGANVILLE, GA 30052




BOYTER, GINGER                           BOYTON ST COMMUNITY CENTER             BPI MEDICAL INC
132 LAUREN LN                            P.O. BOX 1647                          5417 12TH STREET E. SUITE 100
SOCIAL CIRCLE, GA 30025                  501 W. BOYTON ST                       FIFE, WA 98424
                                         MARION, IL 62959




BR SUPPLY INC                            BRAATEN, AMBER R.                      BRABAZON PUMP COMPANY LTD
2706 EAST END DRIVE                      ADDRESS ON FILE                        2484 CENTURY ROAD
HUMBOLDT, TN 38343                                                              GREEN BAY, WI 54303




BRACCINO, NICHOLAS                       BRACCO DIAGNOSTIC INC                  BRACCO DIAGNOSTICS INC
7148 LEMURIA CIRCLE                      P.O. BOX 978952                        PO BOX 978952
UNIT 1201                                DALLAS, TX 75397-8952                  DALLAS, TX 75397-8952
NAPLES, FL 34109




BRACE, EBONY                             BRACE, MICHELLE                        BRACEY, TESSA M.
ADDRESS ON FILE                          1728 N 40 E                            214 HIGH ST NW
                                         TOOELE, UT 84074-0000                  NAVARRE, OH 44662-1132




BRACIAK, MICHAEL                         BRACKEBUSCH, JOYCE M., MD              BRACKEEN, STEVEN W.
2817 FORTUNE DR                          360 S GARDEN WAY SUITE 200             ADDRESS ON FILE
GRANITE CITY, IL 62040                   EUGENE, OR 97401




BRACKEN, ELIZABETH S.                    BRACKEN, JAMES C.                      BRACKEN, LORI
ADDRESS ON FILE                          ADDRESS ON FILE                        1350 HUMMINGBIRD LN
                                                                                BUNCOMBE, IL 62912




BRACKEN, MACKENZIE                       BRACKETT, GORDON                       BRACKETT, STEPHANIE C.
ADDRESS ON FILE                          5460 CENTER HILL CHURCH RD             ADDRESS ON FILE
                                         LOGANVILLE, GA 30052-4236
BRACY, TRACY D.          Case 20-10766-BLS    DocREFRIGERATION
                                       BRAD CRICK 6 Filed 04/07/20   Page BRAD
                                                                          210 POSEY
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106 N. HAWTHRONE DR                    930 BIG RIDGE ROAD                 ADDRESS ON FILE
LINDENHURST, IL 60046                  HARRSIBURG, IL 62946




BRAD TURNER                            BRADBURN CHRISTINA JE              BRADBURN, ERYN
P.O. BOX 323                           P.O. BOX 1934                      11513 W CYPRESS DR. APT 3
KNOXVILLE, IL 61448                    BLUE RIDGE, GA 30513               CARBONDALE, IL 62901




BRADBURN, KAYLA                        BRADBURN, LANA D.                  BRADBURN, SCOTT
31 MEADOW CREEK WAY                    ADDRESS ON FILE                    105 SAFFRON LANE
BLUE RIDGE, GA 30513                                                      BLUE RIDGE, GA 30513




BRADBURY, VIRGINIA                     BRADDIX, DEREK C.                  BRADDY, JERRY
3010 ALEXANDER CROSSING                1233 CASHMERE LN                   19624 SYMERON RD
LOGANVILLE, GA 30052                   ST PETERS, MO 63376                APPLE VALLEY, CA 92307




BRADDY, KATELYNN                       BRADDY, SHIRLEY                    BRADDY, SYLVIA M.
15831 N ANGLING LN                     17442 E DIVIDE RD                  ADDRESS ON FILE
MT. VERNON, IL 62864                   TEXICO, IL 62889




BRADEN SHIELDING SYSTEMS, LLC          BRADEN, JOHN                       BRADEN, NATHAN
9260 BROKEN ARROW EXPRESSWAY           4120 BRASWELL CHURCH RD            12460 ST RT 14
TULSA, OK 74145                        GOOD HOPE, GA 30641                MCLEANSBORO, IL 62859




BRADENSTEIN, MARGARET                  BRADFIELD, ALMA                    BRADFORD FLOWER SHOP
4609 BUCK RUN CT                       42 MORNINGSIDE DR                  P.O. BOX 237
APT A                                  LEXINGTON, TN 38351                BRADFORD, TN 38316
ROANOKE, VA 24018-9095




BRADFORD SYSTEMS CORP.                 BRADFORD TERESA F                  BRADFORD WOLENHAUPT
430 COUNTRY CLUB ROAD                  4792 MAIN ST POWELL                421 W. 2ND STREET
BENSONVILLE, IL 60106                  FYFFE, AL 35971                    CENTRALIA, IL 62801




BRADFORD, CARL L.                      BRADFORD, JANEEN N.                BRADFORD, LASHANDA R.
34354 WHITE CLOVER CT                  5419 NORTH MOUNT EATON R           ADDRESS ON FILE
ROUND LAKE, IL 60073                   ORRVILLE, OH 44667




BRADFORD, PHARRAH                      BRADFORD, SHERITHA L.              BRADICH, JOHN
11243 E IDLEWOOD RD                    ADDRESS ON FILE                    13145 S. AVENUE M
MT VERNON, IL 62864                                                       CHICAGO, IL 60633-1303
BRADIE, BREONDA           Case 20-10766-BLS
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                                                ADAM6J Filed 04/07/20       Page BRADLEY
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                                                                                         AND BOULT CUMMINGS LLP
11335 S VINCENNES AVE                    916 OLD CASHES VALLEY RD                1600 DIVISION ST, STE 700
CHICAGO, IL 60643                        BLUE RIDGE, GA 30513                    NASHVILLE, TN 37203




BRADLEY ARANT BOULT CUMMINGS LLP         BRADLEY ARANT BOULT CUMMINGS LLP        BRADLEY ARANT BOULT CUMMINGS LLP
CORBY COCHRAN ANDERSON, PARTNER          ONE FEDERAL PLACE                       P.O. BOX 340025
HEARST TOWER                             1819 5TH AVE N                          NASHVILLE, TN 37203-0025
214 NORTH TRYON STREET, SUITE 3700       BIRMINGHAM, AL 35203
CHARLOTTE, NC 28202



BRADLEY BAGWELL                          BRADLEY CONSTRUCTION                    BRADLEY COUNTY MEDICAL CENTER
112 LINWOOD DR                           1205 SPRINGVILE HILL ROAD               404 SOUTH BRADLEY STREET
COLLINSVILLE, IL 62234                   JONESBORO, IL 62952                     WARREN, AR 71671




BRADLEY D FUTRELL - ITV                  BRADLEY GAP CHURCH                      BRADLEY PRODUCTS INC
503 E BLACKBERRY LN                      1525 YATESVILLE ROAD                    P.O. BOX 201405
MCLEANSBORO, IL 62859                    LOUISA, KY 41230                        BLOOMINGTON, MN 55420




BRADLEY PRODUCTS, INC.                   BRADLEY TATE                            BRADLEY, ADA L.
1700 W 94TH ST.                          742 NATCHEZ TRACE DR                    ADDRESS ON FILE
BLOOMINGTON, MN 55431                    LEXINGTON, TN 38351




BRADLEY, ANGELA                          BRADLEY, ANTONIO M.                     BRADLEY, ASHLEE
ADDRESS ON FILE                          1058 ARKANSAS                           ADDRESS ON FILE
                                         HELENA, AR 72342




BRADLEY, BERNICE                         BRADLEY, CRYSTAL                        BRADLEY, DEBORAH
954 CHERRY ST                            ADDRESS ON FILE                         ADDRESS ON FILE
FORREST CITY, AR 72335




BRADLEY, DIANA                           BRADLEY, DOROTHY                        BRADLEY, DR JESSE
ADDRESS ON FILE                          3709 W 119TH ST                         ADDRESS ON FILE
                                         APT 112
                                         ALSIP, IL 60803




BRADLEY, INDIA D.                        BRADLEY, JENA                           BRADLEY, JESSE
ADDRESS ON FILE                          8010 COUNTY ROAD 5850                   ADDRESS ON FILE
                                         SHALLOWATER, TX 79363




BRADLEY, KAREN L.                        BRADLEY, KAYLEE                         BRADLEY, LUCINDA
ADDRESS ON FILE                          ADDRESS ON FILE                         3920 NICOLE CIRCLE
                                                                                 NORMAN, OK 73072
BRADLEY, PATRICIA L.     Case 20-10766-BLS
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                                                                                   1969
2029 GOOSE LAKE RD                     2804 E ARCADIA HEIGHTS CIR           449 MARMAC DR
PRAIRIE DU ROCHER, IL 62277            SALT LAKE CITY, UT 84109-1406        GALESBURG, IL 61401




BRADSHAW DOOR CONTROLS                BRADSHAW, AMANDA L.                   BRADSHAW, CARRIE
2395 S 2570 W                         ADDRESS ON FILE                       4248 LAKE DR
WEST VALLEY CITY, UT 84119                                                  GRANITE CITY, IL 62040




BRADSHAW, CORA L.                     BRADSHAW, DEBRA                       BRADSHAW, JEANNETTE
5057 ARAN CR NW                       1023 N. BERWICK BLVD 2                ADDRESS ON FILE
NORTH CANTON, OH 44720-7401           WAUKEGAN, IL 60085




BRADSHAW, KIMBERLY                    BRADSHAW, MYRTLE                      BRADSHAWS UNIFORMS
419 SHERMAN                           1221 HAMILTON AVE E                   1018 GAULT AVE SOUTH
PARK FOREST, IL 60466                 WYNNE, AR 72396                       FORT PAYNE, AL 35967




BRADY GOODMAN                         BRADY INDUSTRIES OF TEXAS INC         BRADY J FISHER
1460 G STREET                         7055 LINDELL RD                       1078 CAMPBELL MILL RD
SPRINGFIELD, OR 97477                 LAS VEGAS, NV 89118                   LEWISBURG, PA 17837




BRADY SCHLABACH                       BRADY TRANE SERVICES, INC             BRADY, ALBERT
6398 COUNTY ROAD 203                  P.O. BOX 13587                        505 LEE RD 419
MILLERSBURG, OH 44654-8230            1915 N. CHURCH ST                     MARIANNA, AR 72360
                                      GREENSBORO, NC 27415




BRADY, ANGELA M.                      BRADY, BARRETT A.                     BRADY, CHAD D.
70 WEST CHESTNUT                      ADDRESS ON FILE                       ADDRESS ON FILE
MARIANNA, AR 72360




BRADY, CHAD                           BRADY, CHELSEA                        BRADY, DAVID W.
ADDRESS ON FILE                       ADDRESS ON FILE                       3111 PARKWAY ST N
                                                                            HAMMOND, IN 46323




BRADY, ELAINE                         BRADY, JANIECE                        BRADY, JUSTIN G.
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




BRADY, ROGER                          BRAGD, KELLY                          BRAGG, KYLIE D.
ADDRESS ON FILE                       ADDRESS ON FILE                       232 BOURDELAIS DR
                                                                            SWANSEA, IL 62226
BRAID, BRYAN              Case 20-10766-BLS     Doc 6 B.Filed 04/07/20
                                        BRAKE, BENJAMIN                     Page BRAKEFIELD,
                                                                                 213 of 1969 PATRICIA A.
P.O. BOX 302                             15173 COUNTY ROAD 400 E                  442 JACKSON AVE NE
ENERGY, IL 62933                         DAHLGREN, IL 62828-9730                  BREWSTER, OH 44613




BRAMBLE, AMANDA G.                       BRAMBLET, MARY L.                        BRAMER, ROBERT A.
1000 PINECREST ST                        1157 KNIGHT ROAD                         ADDRESS ON FILE
WILLIAMSTON, NC 27892                    ELLIJAY, GA 30540




BRAMLETT, CASSIE                         BRAMLETT, LEIGH A.                       BRAMLETT, RYAN C.
ADDRESS ON FILE                          19 LINDSEY LN                            ADDRESS ON FILE
                                         BLUE RIDGE, GA 30513




BRAMLETT, SANDRA                         BRAMM, VALERIE M.                        BRAMMER, MELISSA
190 DIAL ROAD                            801 WEST MARCY DR. APT. 27               P.O. BOX 1661
BLUE RIDGE, GA 30513-5430                BIG SPRING, TX 79720                     OVERTON, NV 89040




BRAMSEN, VIRGINIA MARIE                  BRANCH BANKING AND TRUST COMPANY         BRANCH REGINALD
527 NORTH 9TH STREET                     223 WEST NASH ST                         5 TIMBER STONE CT
SPRINGFIELD, OR 97477                    WILSON, NC 27893                         GLEN CARBON, IL 62034




BRANCH, ALINDA                           BRANCH, ANGELA                           BRANCH, ANGELA
05 TIMBER STONE CT                       6150 MARCH LN                            6150 MARSH LN
GLEN CARBON, IL 62034                    MATTESON, IL 60443                       MATTESON, IL 60443




BRANCH, DEONTA                           BRANCH, LAKISEY                          BRANCHIK, MONICA
536B COOK ST                             527 BRIDGEPORT PL                        3335 DRYSDALE COURT
MONROE, GA 30655-1504                    MONROE, GA 30655-7817                    EDWARDSVILLE, IL 62025




BRAND MARY JO                            BRAND ROBERT W                           BRAND STREET LLC
23468 HALL RD                            260 E FIFTH ST                           108 DALTON LANE
CHESHIRE, OR 97419-9712                  GALESBURG, IL 61401                      TUSCUMBIA, AL 35674-0000




BRAND SUSAN                              BRAND, DANIEL                            BRAND, ROBERT W.
4589 COXEYVILLE RD                       211 6TH ST NW                            260 E FIFTH ST
COLUMBIA, IL 62236                       MASSILLON, OH 44647-5412                 GALESBURG, IL 61401




BRAND, WILLIS L.                         BRANDENBURG, DOROTHY                     BRANDENBURG, KRISTIN
6411 OLE STILL DRIVE                     210 S MARKET ST                          ADDRESS ON FILE
WATERLOO, IL 62298                       C/O CRAIG BRANDENBURG POA
                                         KNOXVILLE, IL 61448
BRANDENBURG, MICHAEL W.Case 20-10766-BLS     Doc 6NICOLE
                                     BRANDENBURG,      Filed 04/07/20     Page BRANDENFELS,
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ADDRESS ON FILE                      210 S MARKET                              1338 YORK ST
                                     KNOXVILLE, IL 61448                       SAN FRANCISCO, CA 94110-4230




BRANDES, CRAIG E.                     BRANDI GUSTAFSON                         BRANDI MCLENDON
ADDRESS ON FILE                       ADDRESS ON FILE                          6878 HWY 1S
                                                                               MARIANNA, AR 72360




BRANDI SHRADER                        BRANDIE ALLEN                            BRANDIE L STEFANI
ADDRESS ON FILE                       16 LAKEVIEW DRIVE                        2004 BROAD ST
                                      FREEBURG, IL 62243                       EVANSVILLE, IL 62242




BRANDMEYER, BARBARA                   BRANDNER, DANIEL                         BRANDNER, JEANETTE M.
P.O. BOX 314                          15405 LINDEN DRV                         ADDRESS ON FILE
ALBERS, IL 62215                      OAK FOREST, IL 60452




BRANDNER, JEANETTE                    BRANDON GILBERT ATTY                     BRANDON MASSEY
ADDRESS ON FILE                       5320 22ND AVE                            60 MAIN ST SOUTH
                                      MOLINE, IL 61265-3627                    SECTION, AL 35771




BRANDON WEBB, DO PRS                  BRANDON WESLEY                           BRANDON, ROBIN D.
ADDRESS ON FILE                       682 MONACO CT                            ADDRESS ON FILE
                                      EDWARDSVILLE, IL 62025




BRANDS, FAITH K.                      BRANDT & SONS MARKETING GROUP INC        BRANDT, SUSAN M.
ADDRESS ON FILE                       311 N 3RD AVENUE                         603 N LINCOLN ST
                                      WAUSAU, WI 54401                         SALEM, IL 62881




BRANDT, SUSAN M.                      BRANDY BRITTON                           BRANDY CRABILL
ADDRESS ON FILE                       ADDRESS ON FILE                          4318 LAFRANCE AVE
                                                                               NORTH PORT, FL 34286-6990




BRANDY EICHELBERGER                   BRANDY GRANT                             BRANDY L HAWKINS
ADDRESS ON FILE                       1101 STANDFORD                           104 OAK CIRCLE, APT 15
                                      BIG SPRING, TX 79720                     IDER, AL 35981




BRANDY PONCE                          BRANHAM, JUDY L.                         BRANHAM, KELLY J.
324 W WEST ST                         70 CHESTNUT DRIVE                        ADDRESS ON FILE
ONEIDA, IL 61467                      LOUISA, KY 41230
BRANHAM, MELISSA         Case 20-10766-BLS   Doc
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                                                                                   RHONDA
ADDRESS ON FILE                        ADDRESS ON FILE                    338 DRY BRANCH RD
                                                                          WEST LIBERTY, KY 41472




BRANN, MEGAN L.                        BRANN, WILLIAM                     BRANNAN CARRIE D
ADDRESS ON FILE                        6731 STONE MILLDR                  107 COUNTY LINE ROAD 150
                                       SLC, UT 84121                      NORTH
                                                                          THOMPSONVILLE, IL 62890




BRANNAN, BONNIE                        BRANNEN JOHN C                     BRANNEN MITZIE
8303 STATE ROUTE 1377                  9313 CHRISTOPHER LAKE DR           38 EAST RIDGE LANE
BARDWELL, KY 42023                     COLUMBIA, IL 62236                 ELLIJAY, GA 30536




BRANNICK, MELISSA D.                   BRANNON, DEWEY                     BRANNON, EDDIE
879 SUNDANCE AVE                       3716 BRAGGS RD                     ADDRESS ON FILE
EVANSTON, WY 82930                     GREENVILLE, AL 37037




BRANNON, KIMBERLY                      BRANNON, MICHELLE N.               BRANNON, PATRICK V.
118 EAGLE ROCK RD.                     5764 MICA ST                       11308 S FORRESTVILLE AVE
BLUE RIDGE, GA 30513                   SPRINGFIELD, OR 97478              CHICAGO, IL 60628




BRANSON GARRETT A                      BRANTLEY ALICE F                   BRANTLEY, CHELSIE
1669 CEMENT HOLLOW RD                  210 ADAMS ST                       783 INDEPENDENCE RD
EAST CARONDELET, IL 62240              ROCHESTER, NY 14608                LEXINGTON, TN 38351




BRANTLEY, GINA N.                      BRANTLEY, LISA R.                  BRANTLEY, VANESSA
ADDRESS ON FILE                        124 GREENHAVEN LN APT 2A20         720 KNIGHT AVE APT 3
                                       GURNEE, IL 60031                   PARK CITY, IL 60085




BRANTON, KATHERINE W.                  BRANUM, BETTY                      BRAR, GURJEET
501 W BUENA VISTA ST                   1079 SPRINGHILL RD                 1251 MARLTON CHASE DRIVE
BARSTOW, CA 92311                      GREENVILLE, AL 36037               LAWRENCEVILLE, GA 30044




BRASEL ELISE                           BRASEL, JEFFRY                     BRASEL, SARA N.
1202 S OXFORDSHIRE LN                  1202 S OXFORDSHIRE LN              81805 MAHR LANE
EDWARDSVILLE, IL 62025                 EDWARDSVILLE, IL 62025             CRESWELL, OR 97426




BRASEL, SARA N.                        BRASFIELD, JANET C.                BRASFIELD, MEAGHAN
ADDRESS ON FILE                        ADDRESS ON FILE                    1317 ASBURY DRIVE
                                                                          NEW JOHNSONVILLE, TN 37134
BRASHEAR, BRETT           Case 20-10766-BLS   Doc
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                                                                                      LARRY
871 MEADOR RD                           200 PLEASANT ACRES                   P.O. BOX 485
IUKA, IL 62849-3547                     VIENNA, IL 62995                     DECATURVILLE, TN 38329




BRASK, BRADLEY                          BRASS, ROSEMARIE                     BRASSELER USA MEDICAL LLC
ADDRESS ON FILE                         42 BRASS HILL ROAD                   ONE BRASSELER BLVD
                                        BLUE RIDGE, GA 30513                 ATTN. ACCTS PAY-JANET
                                                                             SAVANNAH, GA 31419




BRASSLER USA MEDICAL,LLC                BRASSTOWN VALLEY RESORT, INC.        BRATCHER, HOLLY N.
ONE BRASSLER BLVD.                      6321 US HWY 76                       ADDRESS ON FILE
SAVANNAH, GA 31419                      YOUNG HARRIS, GA 30582




BRATCHER, JUDY                          BRATEK ERIKA                         BRATLAND PROPERTIES, LLC
413 AVALON DR                           26393 W FAROAK CIRCLE                P.O. BOX 1541
TROY, IL 62294-2080                     ANTIOCH, IL 60002                    ROSEBURG, OR 97470




BRATTON, CHRISTOPHER AND EMILY          BRATTON, CHRISTOPHER                 BRATTON, JR., JOHN
P.O. BOX 586                            ADDRESS ON FILE                      3417 CENTRAL AVE
LEXINGTON, TN 38351                                                          PADUCAH, KY 42001




BRAU, MARY LOU                          BRAUCH, JESSICA N.                   BRAUER, JAMES RADCLIFFE
3120 AGATE ST                           ADDRESS ON FILE                      ADDRESS ON FILE
EUGENE, OR 97405-0000




BRAUN CHRISTOPHER                       BRAUN HEMESATH, KELLY                BRAUN, AMANDA
ADDRESS ON FILE                         11655 S LARAMIE AVE                  505 THIRD ST
                                        ALSIP, IL 60803                      EVANSVILLE, IL 62242




BRAUN, CHRISTOPHER                      BRAUN, CHRISTOPHER                   BRAUN, DANA
4414 SOMERSET LN                        ADDRESS ON FILE                      965 9TH STREET NE
MADISON, WI 53711                                                            MASSILLON, OH 44646




BRAUNDMEIER, JESSICA A.                 BRAUNER, WHITNEY                     BRAVARD, SHIRLEY M.
2340 EDWARDS ST                         809 SOUTH AIKMAN STREET              13131 N STANFORD LN
ALTON, IL 62002                         MARION, IL 62959                     OPDYKE, IL 62872




BRAVE WAY LLC, THE                      BRAVIN, KENNETH                      BRAVO, RACHEL M.
26151 N OAK AVE                         1049 BOMBAY CT                       ADDRESS ON FILE
MUNDELEIN, IL 60060                     LAS VEGAS, NV 89110-2603
BRAVO, SHEILA M.         Case 20-10766-BLS     Doc 6
                                       BRAVO, TONI          Filed 04/07/20   Page BRAWLEY
                                                                                  217 of 1969
                                                                                          INA B
ADDRESS ON FILE                         1479 BULB AVE                             13893 MORGANTON HWY
                                        SANTA CRUZ, CA 95062                      MORGANTON, GA 30560




BRAWNER, JANET                          BRAWNER, JOAN                             BRAWNER, MARY
2806 HIGHWAY 284                        2838 HWY 284                              1806 A DODD DR
FORREST CITY, AR 72335                  FORREST CITY, AR 72335                    WYNNE, AR 72396




BRAWNER, ROSIE                          BRAXTON, LAURA                            BRAY, BRITTANY B.
441 E KIM                               64 SEABEACH RD                            1806 LOUIS AVE NW
WYNNE, AR 72396                         HONORAVILLE, AL 36042                     FORT PAYNE, AL 35967-5529




BRAY, CIDNIE V.                         BRAY, JAELYN                              BRAY, MIRANDA E.
ADDRESS ON FILE                         77 OXFORD DR                              ADDRESS ON FILE
                                        JACKSON, TN 38305




BRAY, SERENA                            BRAYFIELD, AMBER K.                       BRAYFIELD, MEGAN N.
7123 HORNER                             11060 MOSES DR                            600 SOUTH 29TH
APT B                                   BENTON, IL 62812                          HERRIN, IL 62948
ST. LOUIS, MO 63117




BRAZELTON, DEBORAH K.                   BRAZZIL, ANJA                             BREANNA JOHNSON
ADDRESS ON FILE                         315 54TH STREET                           ADDRESS ON FILE
                                        SPRINGFIELD, OR 97478-6131




BREANNA RENFROE                         BREASSEALE, MARY J.                       BREATHITT ADVOCATE
447 SHILO BRANCH ROAD                   ADDRESS ON FILE                           P.O. BOX 1015
RAINSVILLE, AL 35986                                                              JACKSON, KY 41339




BREATHITT BASEBALL                      BREATHITT CO FISCAL COURT                 BREATHITT CO HEALTH DEPT
2307 BOBCAT LANE                        1137 MAIN STREET                          P.O. BOX 730
JACKSON, KY 41339-0000                  JACKSON, KY 41339                         JACKSON, KY 41339




BREATHITT CO LADYCATS SOFTBALL          BREATHITT CO SENIOR CITIZENS              BREATHITT CO. CLERKS OFFICE
BREATHITT CO HIGH SCHOOL                329 BROADWAY                              1137 MAIN ST. 202
2307 BOBCAT LANE                        JACKSON, KY 41339                         JACKSON, KY 41339-0000
JACKSON, KY 41339




BREATHITT CO. FOOTBALL                  BREATHITT COUNTY HONEY FESTIVAL           BREATHITT COUNTY SHERIFF
BOOSTERS CLUB                           C/O KAREN GRIFFITH                        1137 MAIN STREET
P.O. BOX 85                             20 TWIN CEDAR ROAD                        JACKSON, KY 41339
JACKSON, KY 41339                       JACKSON, KY 41339
                       Case 20-10766-BLS
BREATHITT COUNTY TREASURER                   Doc
                                     BREATHITT    6 Filed
                                                COUNTY      04/07/20
                                                       TREASURER       Page BREAUX,
                                                                            218 of DANITA
                                                                                    1969 G.
LICENSE FEE ADMINISTRATOR            P.O. BOX 2                             ADDRESS ON FILE
P.O. BOX 2                           JACKSON, KY 41339
JACKSON, KY 41339




BREAUX, JOHN C.                       BREAUX, MICHAEL                       BREDEWEG DANA J
1151 HARDY DR                         2000 GUM CREEK SPUR                   109 W 17TH AVE
COVINGTON, LA 70433                   LOGANVILLE, GA 30052-4201             EUGENE, OR 97401-0000




BREDSKAR, JUDY L.                     BREEAH SKIRTEN                        BREECE, GREG
ADDRESS ON FILE                       1460 G STREET                         920 SE LOREN LN
                                      SPRIGFIELD, OR 97477                  TOLEDO, OR 97391




BREED, GILDA L.                       BREEDEN, JOSEPH                       BREEDING, DENNIS
336 E MAIN ST                         49 OAKLAND DRIVE                      1380 TYLER CT
DU QUOIN, IL 62832                    BLUE RIDGE, GA 30513                  RED BUD, IL 62278




BREEDLOVE, JAMES T.                   BREEDLOVES                            BREEZE, ERIC K.
2020 WALNUT ST 31-B                   123 W SECOND ST                       8898 E ILLINOIS HWY 148
PHILADELPHIA, PA 19103                KEWANEE, IL 61443                     WALTONVILLE, IL 62894




BREEZE, LISA                          BREG CORP                             BREG, INC
1150 BYARS RD                         P.O. BOX 849991                       P.O. BOX 849991
CENTRALIA, IL 62801                   DALLAS, TX 75284-9991                 DALLAS, TX 75284




BREG, INC.                            BREGENZER, AUSTIN P.                  BREHM, SALLY
2885 LOKER AVENUE EAST                1152 BRUSSEL RD P.O. BOX 581          5801 BEATTYVILLE ROAD
CARLSBAD, CA 92010                    CARROLLTON, OH 44615                  JACKSON, KY 41339




BREITBARTH, LINDA S.                  BREITENSTEIN, JACLYN M.               BREITWEISER, ELAINE
11601 S KEDVALE AVE                   ADDRESS ON FILE                       758 COUNTRY CLUB
ALSIP, IL 60803                                                             STANSBURY PARK, UT 84074-0000




BRELAND, EVA M.                       BRENDA ABETO                          BRENDA BARTZ
304 S. EDMONDS AVE. P.O BOX 414       ADDRESS ON FILE                       2190 PLEASANT DR
MCCRORY, AR 72101                                                           CAMBRIDGE, WI 53523




BRENDA CARRILLO                       BRENDA CORRAL                         BRENDA HAHN
244 MUSCAT DR                         721 LEAD ST                           443 WALES RD NE
MESQUITE, NV 89027                    DEMING, NM 88030                      APT 5
                                                                            MASSILLON, OH 44646-5878
BRENDA KERBY             Case 20-10766-BLS
                                       BRENDA Doc
                                              KERR 6      Filed 04/07/20   Page BRENDA
                                                                                219 ofMYERS
                                                                                       1969
P.O. BOX 60                             P.O. BOX 76                            P O BOX 413
MENTONE, AL 35984                       INEZ, KY 41224                         308 CLINTON
                                                                               AVON, IL 61415-0000




BRENDA PROCTOR                          BRENDA S BLACKBURN                     BRENDA S SHEFFIELD
285 HILLVALE ST                         52 PINE ST                             968 BELL LN
GLOVERVILLE, SC 29828                   WRIGHTSVILLE, GA 31096                 GREENVILLE, AL 36037




BRENDA SALAZAR                          BRENDA WHITE                           BRENDA WINDER
30791 US HIGHWAY 58                     RE:PATIENT REFUNDS                     P O BOX 63
BARSTOW, CA 92311                       P.O. BOX 402                           HURLEY, NM 88043
                                        COAHMOMA, TX 79511




BRENDA ZACHA                            BRENDLE, AMY S.                        BRENDLEY, KIMBERLY A.
ADDRESS ON FILE                         494 JOE MOODY ROAD                     ADDRESS ON FILE
                                        WARNE, NC 28909




BRENECKI, MARCOLINA E.                  BRENNAN BURTKER LLC                    BRENNAN BURTKER LLC
12734 CALIFORNIA                        1900 W LOOP SOUTH, STE 1500            20 N CLARK ST
BLUE ISLAND, IL 60406                   HOUSTON, TX 77027                      STE 1800
                                                                               CHICAGO, IL 60602




BRENNAN, JUNE A.                        BRENNAN, MARISSA L.                    BRENNAN, RUTH
ADDRESS ON FILE                         ADDRESS ON FILE                        261 THE ESPLANADE WAY SE
                                                                               LOGANVILLE, GA 30052




BRENNER, JEFFREY W.                     BRENNER, KATIE M.                      BRENT & MARY VARNER
732 W BROADWAY                          2781 EAST EASTON RD                    203 KING AVE
EUGENE, OR 97402                        CRESTON, OH 44217                      MEDINA, TN 38355




BRENT BORCHERT                          BRENT CLYDE                            BRENT GOSSETT
LAW OFFICE                              3401 SOUTH HIGHWAY 89                  P.O. BOX 467
2930 WESTWOOD BLVD 100                  BOUNTIFUL, UT 84010                    MCCRORY, AR 72101
LOS ANGELES, CA 90064




BRENT LEWIS                             BRENT WILSON                           BRENTISE, JUSTINE
P.O. BOX 1808                           ADDRESS ON FILE                        834 200TH AVE
OVERTON, NV 89040-1808                                                         MONMOUTH, IL 61462




BRENTWOOD COMMUNICATIONS, INC           BRENTWOOD COURT REPORTING              BRENTWOOD HEALTH AND REHABILITATION
215 JAMESTOWN PARK ROAD                 SERVICES LLC                           115 BRENTWOOD DR
SUITE 203                               5121 MARYLAND WAY                      WAYNESBORO, GA 30830
BRENTWOOD, TN 37027                     STE 209
                                        BRENTWOOD, TN 37027
BRENZA, RANDALL            Case 20-10766-BLS
                                         BRESKE, Doc 6
                                                 GLORIA       Filed 04/07/20   Page BRESLAW,
                                                                                    220 of 1969
                                                                                             MOLLY
10128 S KOLIN AVE                         4609 KYLEMORE CT                          83100 BRADFORD RD
OAK LAWN, IL 60453                        JOLIET, IL 60431                          CRESWELL, OR 97426




BRESS, JEANNE M.                          BRESSENDORFF, JAMES                       BREST, LAUREN J.
545 WOOD RIVER AVE                        403 TURQUISE CT                           5953 ESSEX RD
COTTAGE HILLS, IL 62018                   FAYETTEVILLE, IL 62258                    OAK FOREST, IL 60452




BRET R STALEY                             BRETAN, PETER                             BRETT DICKEY MEMORIAL FUND
P.O. BOX 1356                             620 CLAIRE CT                             2984 MOBILE RD
OVERTON, NV 89040                         NOVATO, CA 94949                          MC CAYSVILLE, GA 30555




BRETT JAMES A                             BRETT TAPLEY, MICAH                       BREVIG, SIDSEL M.
255 BAKER LANE                            60 WHITTENBURG LN                         ADDRESS ON FILE
GOREVILLE, IL 62939                       TUNNEL HILL, IL 62972




BREVIS CORPORATION                        BREW, MATTHEW                             BREW, RONALD
225 WEST 2855 SOUTH                       2600 W 108TH ST                           1657 WILSON CT
SALT LAKE CITY, UT 84115                  CHICAGO, IL 60655                         EUGENE, OR 97404




BREWER CHARLES H                          BREWER DIANNE T                           BREWER, AMANDA
222 WHISPERING PINE LANE                  1215 KY 15 N                              ADDRESS ON FILE
CHERRY LOG, GA 30522                      CAMPTON, KY 41301




BREWER, BOB                               BREWER, BRENDA                            BREWER, BRUCE
P.O. BOX 1014                             ADDRESS ON FILE                           229 BERGER ST N
ALPINE, TX 79831                                                                    EAST CANTON, OH 44730-1065




BREWER, CANDIE L.                         BREWER, CANDIS                            BREWER, CHERYL
799 BODKINS RD.                           3920 VILLAGE MAIN STREET                  ADDRESS ON FILE
GREENFIELD, TN 38230                      LOGANVILLE, GA 30052




BREWER, GAYLE M.                          BREWER, JAMIE M.                          BREWER, JUNE T.
ADDRESS ON FILE                           270 BRACKIN TRACE                         118 COUNTY ROAD 18
                                          GRAYSON, GA 30017                         FYFFE, AL 35971-3900




BREWER, KAITLIN                           BREWER, KYLE A.                           BREWER, LILA R
300 INDIANA AVE                           ADDRESS ON FILE                           100 HAYNES
EAST GALESBURG, IL 61430                                                            PALESTINE, AR 72372
BREWER, LINDA J.         Case 20-10766-BLS
                                       BREWER,Doc  6 J.Filed 04/07/20
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                                                                                     LINDSAY
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




BREWER, LOWELL                          BREWER, MC                           BREWER, MELISSA A.
RR 2 BOX 108                            3736 KENTUCKY 1812                   117 E. UTAH AVE
BOONEVILLE, KY 41314-8988               CAMPTON, KY 41301-8688               TOOELE, UT 84074




BREWER, TINA                            BREWER, TRENNA                       BREWER, WANDA F.
1205 K STREET                           P.O. BOX 1075                        3514 SHELL AVE
MARTIN, TN 38237                        KERMIT, WV 25674                     MIDLAND, TX 79707




BREWER-SCOTT, ROSALIND                  BREWNER, AMANDA                      BREWSTER COUNTY JAIL
11313 S INDIANA                         4443 MEADOWLAND PARKWAY              201 W AVENUE
CHICAGO, IL 60628                       MARION, IL 62959                     ALPINE, TX 79830




BREWSTER COUNTY TAX COLLECTOR           BREWSTER COUNTY TAX OFFICE           BREWSTER COUNTY TAX OFFICE
107 W AVE E 1                           107 W AVENUE E 1                     107 WEST AVENUE E 1
ALPINE, TX 79830                        ALPINE, TX 79830                     ALPINE, TX 79830




BREWSTER EMERGENCY MEDICINE             BREWSTER, ETHELYN                    BREWSTER, TAMMY A.
P.O. BOX 677979                         163 N SEMINARY ST                    ADDRESS ON FILE
DALLAS, TX 75267-7979                   GALESBURG, IL 61401




BREWTON, MARY                           BREZOFF, LORI                        BRIAN BAILEY
6242 W HICKORY GROVE RD                 1771 BANKS ST                        ADDRESS ON FILE
LETOHATCHEE, AL 36047                   TOOELE, UT 84074




BRIAN DECK                              BRIAN E HENSON                       BRIAN JUDD TOURS INC.
3848 E BRIDGEPORT PKWY                  7857 WHEELER RD                      17 EAST WINCHESTER STREET 100
GILBERT, AZ 85295                       MARION, AR 72364                     MURRAY, UT 84107




BRIAN JUDD TOURS                        BRIAN LANE MD                        BRIAN OFLYNN
2055 NORTH MAIN                         ADDRESS ON FILE                      P O BOX 80
TOOLE, UT 84074                                                              MIMBRES, NM 88049




BRIAN P. EDMISON & ASSOC                BRIAN PEOPLES                        BRIAN VANHOOSE
JEFF STATE BANK BUILDING                9454 SILVERDALE COURT                502 NELSON BRANCH RD
P.O. BOX 568                            BRENTWOOD, TN 37027                  LOWMANSVILLE, KY 41232
MT. VERNON, IL 62864
BRIANA BRITO             Case 20-10766-BLS     Doc
                                       BRIANA K.    6 Filed 04/07/20
                                                 MULLINS                      Page BRIANNA
                                                                                   222 of ALEXANDER
                                                                                           1969
P.O. BOX 1432                           24 CRIPPLE CREEK RD.                       4320 STEGALL RD
LAS VEGAS, NM 87701                     JACKSON, KY 41339-0000                     HURON, TN 38345




BRIANNA NICHOLS                         BRIANNA PRINCE                             BRIANSCOTT ENG
ADDRESS ON FILE                         8281 N. IL HWY 148                         1118 MELODIE LANE
                                        MT. VERNON, IL 62864                       COLONA, IL 61241




BRIARWOOD COMMUNITY LIVING CENTER       BRICE, DOROTHY                             BRICE, SHARI L.
41 HOSPITAL DRIVE                       147 E 115TH ST APT 1N                      5167 W BELLAIRE AVE
LEXINGTON, TN 38351                     CHICAGO, IL 60628                          OAK FOREST, IL 60452




BRICENO, NICOLAS                        BRICKELY PLUMBING/ELECTRIC                 BRICKER, DEBRA S.
P.O. BOX 474                            203 EAST WILLOW STREET                     20 12TH ST NW
MOAPA, NV 89025-0474                    SCOTTSBORO, AL 35768                       MASSILLON, OH 44647-0000




BRIDDELL, REBECCA                       BRIDER, KIWANNA L.                         BRIDGEMAN, ASHLYN
2416 COPPERCREEK RD                     ADDRESS ON FILE                            1110 BEECH AVE
MARYVILLE, IL 62062                                                                KEMMERER, WY 83101




BRIDGEMAN, DOUGLAS                      BRIDGEMAN, RUBY J.                         BRIDGER VALLEY CHRISTMAS FESTIVAL
605 BARRINGER SCHOOL LN                 P.O. BOX 680392                            P.O. BOX 1345
ANNA, IL 62906                          FORT PAYNE, AL 35968-1618                  LYMAN, WY 82937




BRIDGER VALLEY ELECTRIC ASSOCIATION     BRIDGER VALLEY ELECTRIC ASSOCIATION        BRIDGER VALLEY LAWN & LANDSCAPING,
D/B/A BVEA                              P.O. BOX 399                               INC.
40014 BUISINESS LOOP I-80               MOUNTAIN VIEW, WY 82939                    P.O. BOX 565
LYMAN, WY 82937                                                                    LYMAN, WY 82937-0565




BRIDGER VALLEY PIONEER                  BRIDGER VALLEY SUB FOR SANTA               BRIDGERS COACHES, INC.
P.O. BOX 538                            P.O. BOX 463                               3704 MEDALLION PLACE
LYMAN, WY 82937-0538                    MTN VIEW, WY 82939-0463                    NEWPORT, AR 72112




BRIDGERS, JOY M.                        BRIDGES JAIMEE                             BRIDGES, DALE
ADDRESS ON FILE                         119 NORWOOD CT                             139 E WOOD AVE
                                        TROY, IL 62294                             PALESTINE, AR 72372




BRIDGES, DELORES                        BRIDGES, JAMES G.                          BRIDGES, JANET L.
214 GIBBS ST                            41 MCALLISTER LN                           3326 LAKESIDE DR
GLEASON, TN 38229                       ALBERTVILLE, AL 35950                      EUGENE, OR 97401-0000
BRIDGES, JOHN          Case 20-10766-BLS
                                     BRIDGES,Doc  6 M. Filed 04/07/20
                                              LAURA                     Page BRIDGES,
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                                                                                      LEONA J.
2105 WEST CHERRY STREET              4224 RANIER AVE NW                      1006 GRANITE DR.
PORTALES, NM 88130                   MASSILLON, OH 44646                     MANTENO, IL 60950




BRIDGES, MELINDA L.                   BRIDGES, REBECCA                       BRIDGES, SUSAN
1201D EVANS ST                        ADDRESS ON FILE                        521 PECAN LN
MOREHEAD CITY, NC 28557                                                      HAYNEVILLE, AL 36040-2787




BRIDGES, WILLIAM                      BRIDGET BOLAND                         BRIDGET MULLENIX
3044 MOCKINGBIRD LANE                 ADDRESS ON FILE                        22288 CHARLES RD
GRANITE CITY, IL 62040                                                       STAUNTON, IL 62088




BRIDGEWAY                             BRIDGEWAY                              BRIDGEWAY
2323 WINDISH DR                       P.O. BOX 1447                          PO BOX 1447
GALESBURG, IL 61401                   GALESBURG, IL 61401                    GALESBURG, IL 61401




BRIGADE CAPITAL MANAGEMENT, LP        BRIGADE CAPITAL MANAGEMENT, LP         BRIGANCE, STACY
ACIS CLO 2014-3, LTD                  ACIS CLO 2015-6 LTD.                   1110 ST. BONIFACE
                                                                             EAST ST. LOUIS, IL 62206




BRIGGINS MARLENE J                    BRIGGS CORPORATION                     BRIGGS HEALTHCARE
116 HILLWOOD DR                       4900 UNIVERSITY AVE, SUITE 200         4900 UNIVERSITY AVE
RUSSELLVILLE, KY 42276                WEST DES MOINES, IA 50266              SUITE 200
                                                                             WEST DES MOINES, IA 50266




BRIGGS HEALTHCARE                     BRIGGS MEDICAL SERVICE COMPANY         BRIGGS, CHELSEY
7300 WESTOWN PARKWAY, STE 100         4900 UNIVERSITY AVE                    14 KIMBERLY CT
WEST DES MOINES, IA 50266             STE 200                                COLLINSVILLE, IL 62234
                                      WEST DES MOINES, IA 50266




BRIGGS, DENISE                        BRIGGS, HAROLD E.                      BRIGGS, JULIANA
273 NORWOOD PLACE                     2715 GRAND AVE                         805 SUNVIEW ST
EAST ALTON, IL 62024                  GRANITE CITY, IL 62040                 EUGENE, OR 97404




BRIGGS, PATRICIA                      BRIGGS, ROBERT                         BRIGGS, RODNEY
ADDRESS ON FILE                       3 GREEN RIDGE DR                       P.O. BOX 1205
                                      COLLINSVILLE, IL 62234                 LOGANDALE, NV 89021




BRIGGS, VELMA                         BRIGGS,ROBERT                          BRIGHT, BRITTANY
501 SOUTH PARK ST                     175 PRAIRIE SCENE                      105 E WILSON ST
GREENVILLE, AL 36037                  ANTIOCH, IL 60002                      VALIER, IL 62891
BRIGHT, JUDITH            Case 20-10766-BLS    Doc
                                        BRIGHTLIFE   6 Filed 04/07/20
                                                   DIRECT               Page BRIGHTVIEW
                                                                             224 of 1969LANDSCAPES, LLC
12853 ADA APT 3W                         1110 BONIFANT ST., STE 200          P.O. BOX 740655
CALUMET PARK, IL 60827                   SILVER SPRING, MD 20910-4548        ATLANTA, GA 30374-0655




BRIGITTE MARTIN                          BRIGMAN, JULIE A.                   BRILL, CLINT
2331 CLEBURN LN                          100 NORTH OLD ST.LOUIS RD           P.O. BOX 1195
TALLAHASSEE, FL 32309                    HARTFORD, IL 62048                  OVERTON, NV 89040-1195




BRILL, DALE E.                           BRIMHAL,L JASON                     BRIMINGHAM, RENE
2200 E 1ST STREET UNIT 1506              P.O. BOX 232                        2577 FRANKS CORNER RD.
ALAMOGORDO, NM 88310                     GRANTSVILLE, UT 84029               EARLE, AR 72331




BRIMM, MELISSA Y.                        BRINAGER, SHARON                    BRINDIS, OCTAVIO
ADDRESS ON FILE                          RT. 65 BOX 359                      255 GLENN ST APT 2A
                                         WILLIAMSON, WV 25661                GRAYSLAKE, IL 60030




BRINEGAR, DANIEL VERNON                  BRINER, ALLEN                       BRINGER, KAREN
106 PINE HOLLOW LN                       3405 PRINCETON                      236 IOWA
COLLINSVILLE, IL 62234                   GRANITE CITY, IL 62040              GRANITE CITY, IL 62040




BRININGER, CONNIE A.                     BRINK, KELLIE J.                    BRINK, KELLY
3221 NITTANY VALLEY DR                   ADDRESS ON FILE                     ADDRESS ON FILE
HOWARD, PA 16841




BRINK, LISA                              BRINKER, GILLIAN                    BRINKERHOFF, CHRISTINA
3120 LIME AVE                            11600 PURPLE SAGE RD SW             ADDRESS ON FILE
MT. VERNON, IL 62864                     DEMING, NM 88030




BRINKERHOFF, LINDSAY                     BRINKLEY CHAMBER OF COMMERCE        BRINKLEY, CYNTHIA A.
220 LUPINE DR                            217 WEST CYPRESS                    18033 TARPON CT
EVANSTON, WY 82930                       BRINKLEY, AR 72021                  HOMEWOOD, IL 60430




BRINKLEY, DANIEL                         BRINKLEY, DARLENE                   BRINKLEY, F NANCY
1740 PURDY RD                            20 GARRETT ISLAND RD                4960 CARMONT AVE SW
HUNTINGDON, TN 38344                     PLYMOUTH, NC 27892                  NAVARRE, OH 44662




BRINKMANN, NATHAN                        BRINKS INCORPORATED                 BRINKS INCORPORATED
5701 KONARCIK RD                         7373 SOLUTIONS CENTER               7373 SOLUTIONS CENTER
WATERLOO, IL 62298-3167                  CHICAGO, IL 60677                   CHICAGO, IL 60677-7003
BRINSON DEBORAH          Case 20-10766-BLS     Doc
                                       BRISBOIS,     6 J. Filed 04/07/20
                                                 KEITH                     Page BRISCOE
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                                                                                        1969 A
556 HARVEST POINT RD                   ADDRESS ON FILE                         2425 N MCAREE RD
ELIZABETH CITY, NC 27909                                                       WAUKEGAN, IL 60087




BRISCOE, STEPHANIE                      BRISCOLINO, WILLIAM                    BRISENDINE, DANITA M.
501 N. MCLAREN ST APT B                 140 KNOLL DR                           7071 COUNTY RD 43
MARION, IL 62959                        KIRKWOOD, IL 61447                     FORT PAYNE, AL 35967-4341




BRISENDINE, LINDA GAIL                  BRISENDINE, RACHEL                     BRISSETTE, LARRY
1250 SKYLINE AVE E                      135 DAVIDSON DRIVE NE                  38514 HIGHWAY 58
FORT PAYNE, AL 35967-7471               FORT PAYNE, AL 35967                   DEXTER, OR 97431-9627




BRISTOL WEST AUTO INSURANCE             BRISTOL, NANCY M.                      BRISTOW, BURTIS
P.O. BOX 258806                         2070 BRISTOL AVE                       1034 COUNTY ROAD
OKLAHOMA CITY, OK 73125-8806            ANDREWS, NC 28901                      1900 NORTH
                                                                               WEST SALEM, IL 62476




BRITNEY LEVY                            BRITO MELISSA                          BRITO, JOSHUA R.
P.O. BOX 1017                           257 W 230 N                            321 COUNTY RD A11A
LOGANDALE, NV 89021                     TOOELE, UT 84074                       LAS VEGAS, NM 87701




BRITO, RICK                             BRITSCH WAYNE L                        BRITT DEVON ALEXANDER
840 W ROYBAL DR                         15 BELMONT PL                          1645 US ROUTE 9
LAS VEGAS, NM 87701                     MARYVILLE, IL 62062                    SCHROON LAKE, NY 12870




BRITT JR., MELVIN L.                    BRITT, ELIZABETH L.                    BRITTA, STACEY
637 BRIARCLIFF CIRCLE                   ADDRESS ON FILE                        296 N PLEASANT AVE
JACKSON, MS 39212                                                              GALESBURG, IL 61401




BRITTANY ADAMS                          BRITTANY LAWSON                        BRITTANY MILLERS
ADDRESS ON FILE                         ADDRESS ON FILE                        355 HAMILTON AVE
                                                                               EUGENE, OR 97404




BRITTANY MOSQUEDA                       BRITTANY NOBLE                         BRITTANY PETTY
1402 S WHITTIER DR                      P.O. BOX 1544                          ADDRESS ON FILE
DEMING, NM 88030                        BOONEVILLE, KY 41314




BRITTANY R GRACE                        BRITTANY ROPER                         BRITTANY WEBER
23 OAK VALLEY DRIVE                     280 RIVERSIDE RD                       2595 ST RT 21 E
CARBONDALE, IL 62901                    APT 5E                                 TIPTONVILLE, TN 38079
                                        MESQUITE, NV 89027
BRITTINGHAM, PATRICIA D. Case 20-10766-BLS
                                       BRITTNAYDoc   6 Filed 04/07/20
                                                 ALEXANDER              Page BRITTNEY
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                                                                                      CAMPANELLA
339 W LOSEY ST                         1913 E BAY ST                         ADDRESS ON FILE
GALESBURG, IL 61401                    HOSCHTON, GA 30548




BRITTNEY CARTER                       BRITTNEY VOYDA                         BRITTON SABRINA K
117 KOHLER LANE                       ADDRESS ON FILE                        22163 ALABAMA HWY 117
ANNA, IL 62906                                                               IDER, AL 35981




BRITTON, BRANDY S.                    BRITTON, FRED                          BRITTON, JENNA
ADDRESS ON FILE                       ADDRESS ON FILE                        3020 TUNNEL HILL RD
                                                                             VILLA RIDGE, IL 62996




BROACH, JILLIAN                       BROADBENT, LINDA                       BROADBENT, RAY
651 ROSCOE DAVIS RD                   362 N 100 W                            96 RANDALL WAY
MONROE, GA 30656                      TOOELE, UT 84074                       EVANSTON, WY 82930-4744




BROADCAST MUSIC INC                   BROADDUS DOUGLAS                       BROADDUS, STEPHEN
10 MUSIC SQUARE EAST                  36947 US HIGHWAY 11                    ADDRESS ON FILE
NASHVILLE, TN 37203                   VALLEY HEAD, AL 35989-3715




BROADEN, KHYLISHIA                    BROADHEAD, ANGELA                      BROADHEAD, CASSIE K.
2409 ILLINOIS AVE                     125 CANYON HOLLOW DR                   775 LAKEVIEW
EAST ST LOUIS, IL 62205               EVANSTON, WY 82930-4789                STANSBURY PARK, UT 84074




BROADHEAD, CASSIE                     BROADHURST, DARRELL L                  BROADIE, ARINE
484 E VANCOTT WAY                     514 AMERICAS WAY 4866                  P.O.BOX 1707
STANSBURY PARK, UT 84074              3017 EAGLE DR SE                       ROBERSONVILLE, NC 27871
                                      BOX ELDER, SD 57719




BROADRIDGE INVESTOR COMMUNICATION     BROADSPIRE SERVICES                    BROADSPIRE
SOLUTIONS INC                         P.O. BOX 14645                         P.O. BOX 14348
P.O. BOX 416423                       LEXINGTON, KY 40512                    LEXINGTON, KY 40512
BOSTON, MA 02241-6423




BROADWAY, CYNTHIA G.                  BROADY, JOHN                           BROCCO, CRISTI M.
975 SHILOH ROAD                       6149 N. LOG CABIN LN                   1111 CARLACE DR
COBDEN, IL 62920                      OPDYKE, IL 62872-3305                  COLLINSVILLE, IL 62234




BROCCOLI, JOHN                        BROCHIN, STEVE                         BROCK & SCOTT PLLC
280 PINE CREST DR.                    1321 NORTH LOOP                        1315 WESTBROOK PLAZA DR
COPPERHILL, TN 37317                  SILVER CITY, NM 88061                  WINSTON-SALEM, NC 27103
BROCK KATHLEEN M         Case 20-10766-BLS    Doc 6A. Filed 04/07/20
                                       BROCK, BECKY                    Page BROCK,
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2713 WALNUT ST                          ADDRESS ON FILE                    ADDRESS ON FILE
BLUE ISLAND, IL 60406




BROCK, MARTHA                           BROCK, MARY E.                     BROCK, MICHAEL E.
1027 S A ST                             ADDRESS ON FILE                    ADDRESS ON FILE
MONMOUTH, IL 61462




BROCK, RACHEL                           BROCK, SCOTT                       BROCK, SHERRIE L.
1300 LEE PETERS RD                      N 20 W 22149 NORTH AVE             ADDRESS ON FILE
LOGANVILLE, GA 30052                    WAUKESHA, WI 53186-0000




BROCK, WANDA                            BROCKETT, KYLE D.                  BROCKETT, STACY R.
3604 PARKWAY RD                         1844 NEW LAKE RD                   ADDRESS ON FILE
BIG SPRING, TX 79720                    THOMPSONVILLE, IL 62890




BROCKHUM, KENNETH                       BROCKLAND, BOB                     BROCKMAN, KENDYL
1682 MAIN ST                            580 OLD STATE RTE 3                159 S PLEASANT BLVD UNIT 21
JAMESVILLE, NC 27846                    COLUMBIA, IL 62236                 PLEASANT GROVE, UT 84062




BROCKMAN, MARTIN D.                     BROCKMANN, MARILYN                 BROCKMANN, MAXWELL H.
ADDRESS ON FILE                         624 COUNTRY CLUB DR                441 E 17TH AVE APT 14
                                        MONROE, GA 30655                   EUGENE, OR 97401




BROCKMEYER, JAMIE                       BROCKUP, CRYSTAL                   BROCKWAY, JENNIFER
ADDRESS ON FILE                         217 LINCOLN GREEN ROAD             ADDRESS ON FILE
                                        FYFFE, AL 35971




BRODE, JOHN                             BRODERS, KIETRA                    BRODMAN, LINDA S.
3001 NORTHTOWN PL                       ADDRESS ON FILE                    1231 ANDREW LANE
MIDLAND, TX 79705-0000                                                     SANTA CRUZ, CA 95062




BRODRICK, ERIN                          BRODSTON, MIRANDA R                BROEDY RENNER
ADDRESS ON FILE                         1258 E 270 S                       409 E COURT ST
                                        TOOELE, UT 84074                   FARMINGTON, IL 61531




BROEKER, DALLAS R.                      BROEKER, JEFFREY                   BROEKING, EDWARD AND RAYMOND
421 N 23RD ST                           443 CARTER DRIVE
HERRIN, IL 62948                        DUPO, IL 62239
BROFKA LINDA A          Case 20-10766-BLS
                                      BROGAN,Doc 6 Filed 04/07/20
                                             JENNIFER               Page BROGDEN,
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                                                                                  BETH
1603 LISA LANE                        4205 BELDEN AVE SE                 989 COUNTY LINE RD
MARION, IL 62959                      CANTON, OH 44707                   MCKENZIE, AL 36456




BROGDEN, ERIN                         BROKEN ARROW ARCHERY CLUB          BROKENSHIRE, CINDY L.
465 CROSS CREEK RD                    16251 NORTH HIGHWAY 3              420 SHARRY LYNN CIR
GREENVILLE, AL 36037                  LOUISA, KY 41230                   PADUCAH, KY 42003-8808




BROKER CONSOLIDATED                   BROMLEY, ROBIN L.                  BRONNBAUER, JEREE
ERA PROPERTY MGMT                     ADDRESS ON FILE                    512 REESE DR
550 PIONEER BLVD 102                                                     COLLINSVILLE, IL 62234
MESQUITE, NV 89027




BRONNBAUER, LAURA L.                  BRONSON REGINA M                   BRONSON, PATTY SUE
ADDRESS ON FILE                       ADDRESS ON FILE                    2384 LOCH DR
                                                                         SPRINGFIELD, OR 97477




BROOK, CODY                           BROOKE ROWOLD                      BROOKFIELD, MYRITA G.
12649 W. GRAVES                       220 N. MAIN ST                     1208 IOWA ST
BEACH PARK, IL 60087                  TRENTON, IL 62293                  MADISON, IL 62060




BROOKHART, JESSICA                    BROOKMAN, RONDA D.                 BROOKS ANGELA
245 THOMPSON DRIVE                    19296 NORTH HARMONY RD             ADDRESS ON FILE
GOREVILLE, IL 62939                   BLUFORD, IL 62814




BROOKS ANGELA                         BROOKS JAY W                       BROOKS LINDA R
2585 VILLAGE PARK DR APT 307          P.O. BOX 22                        106 HODGES ST
WAUKEGAN, IL 60087                    206 S MEADOW                       RAINSVILLE, AL 35986-6706
                                      ROYALTON, IL 62983




BROOKS, ANGEL                         BROOKS, ANGIE                      BROOKS, ARIEL
ADDRESS ON FILE                       1712 E 15 TH STREET                4385 ALABAMA HWY 273
                                      BIG SPRING, TX 79720               LEESBURG, AL 35983




BROOKS, ASHLEY                        BROOKS, BETTY                      BROOKS, CHARLES
1531 THIBODO RD                       10122 S NORMAL AVE                 701 WISCONSIN
VISTA, CA 92081                       CHICAGO, IL 60628                  WAUKEGAN, IL 60085




BROOKS, CHRIS                         BROOKS, DANNY                      BROOKS, DELORA
87 INDUSTRIAL BLVD                    2056 COUNTY ROAD 382               ADDRESS ON FILE
BLUE RIDGE, GA 30513                  HENAGAR, AL 35978
BROOKS, DENNIS             Case 20-10766-BLS
                                         BROOKS,Doc
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1829 BEAR PEN ROAD                        2129 WILLIAMS STREET                P.O. BOX 272
CAMPTON, KY 41301-9495                    FORREST CITY, AR 72335              FYFFE, AL 35971




BROOKS, JORDAN                            BROOKS, JOSLYNN S.                  BROOKS, JUSTIN S.
75 DANIEL DR                              16 MONTCLAIR DR                     ADDRESS ON FILE
EUGENE, OR 97404                          FAIRVIEW HEIGHTS, IL 62208




BROOKS, KELSIE                            BROOKS, LINDA R.                    BROOKS, LORETHA
ADDRESS ON FILE                           106 HODGES ST                       316 ANDREWS DR
                                          RAINSVILLE, AL 35986                MARIANNA, AR 72360




BROOKS, LORI A.                           BROOKS, MARTHA                      BROOKS, MICHELLE M.
ADDRESS ON FILE                           790 DAVIS ROAD                      10966 W YORKHOUSE RD
                                          BLUE RIDGE, GA 30513                BEACH PARK, IL 60087




BROOKS, MICHELLE                          BROOKS, PAULA L.                    BROOKS, PAULA
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE




BROOKS, RENNEE                            BROOKS, ROBERT T.                   BROOKS, RON
380 MARATHON RD                           10966 W YORKHOUSE RD                P.O. BOX 385
ALPINE, TX 79830                          BEACH PARK, IL 60087                CAOHOMA, TX 79511-0000




BROOKS, SANDY                             BROOKS, STEPHANIE M.                BROOKS, STEPHANIE
2230 NUNNALLY FARM RD                     ADDRESS ON FILE                     ADDRESS ON FILE
MONROE, GA 30655-5547




BROOKS, TERRY                             BROOKS, THOMAS                      BROOKS, TIFANEY S.
303 WALNUT ST                             274 HERMOSA WAY                     ADDRESS ON FILE
P.O. BOX 413                              MESQUITE, NV 89027-5174
NEW WINDSOR, IL 61465




BROOKSBY, CHELSEE ANN                     BROOKSHIRE CYNTHIA                  BROOKSHIRE JASON
3155 S HIDDEN VALLEY 290                  13040 MORGANTON HWY                 93 JERSEY COURT UNIT 7332
ST GEORGE, UT 84790                       MORGANTON, GA 30560                 ELLIJAY, GA 30540




BROOKSHIRE, CYNTHIA                       BROOKSHIRE, TOSHA M.                BROOKSIDE COUNTRY CLUB
237 PLEASANT HILL RD                      ADDRESS ON FILE                     1800 CANTON AVE NW
COPPERHILL, TN 37317                                                          CANTON, OH 44708
BROOKS-SHRUM, KRISTIN M.Case 20-10766-BLS
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BROPHY, JASON A.                      BRORBY, ALEXANDER                        BROSIUS, EUGENE
ADDRESS ON FILE                       ADDRESS ON FILE                          571 DUKE ST
                                                                               NORTHUMBERLAND, PA 17857




BROSKA, DANIEL                        BROSSARD, JANE B.                        BROSWICK, DOLORES
612 BUCKINGHAM DR                     14526 S KEELER AVE                       ADDRESS ON FILE
TROY, IL 62294                        MIDLOTHIAN, IL 60445




BROTHERS MARY K                       BROTHERS PLUMBING INC                    BROTHERS, HARVEY
1251 COUNTY RD 443                    P.O. BOX 445                             2181 GRAND AVE
DAWSON, AL 35963-3619                 CRESWELL, OR 97426                       GALESBURG, IL 61401




BROTHERS, JEAN M.                     BROTHERS, RANDY                          BROTHERTON, CAROL L.
2930 PATTON PL NW                     902 S. FEAZEL STREET                     1980 MICHIGAN AVE
CANTON, OH 44708                      HARRISBURG, IL 62946                     ENGLEWOOD, FL 34224-5425




BROTHERTON, HUGH J.                   BROTT, NICOLE E.                         BROTZ, TRACEY
1980 MICHIGAN AVE                     ADDRESS ON FILE                          627 MCCARTHY
ENGLEWOOD, FL 34224-5425                                                       RED BUD, IL 62278




BROUGHER, GARY J.                     BROUGHTON, JUSTIN                        BROUILLETTE, DANETTE
ADDRESS ON FILE                       9625 CHAMPIONS DR                        298 MEADOW TRAIL
                                      GRANBURY, TX 76049-0000                  CHERRY LOG, GA 30522




BROUSSARD, MARVETTE                   BROUSSEAU, GAVIN J.                      BROW, JAMES A.
12717 S JUSTINE                       ADDRESS ON FILE                          9833 W 144TH PLACE
CALUMET PARK, IL 60827                                                         ORLAND PARK, IL 60462




BROWDER, CHASITY H.                   BROWDER, RANDY                           BROWDER, SHONNA K.
1530 BRUSH CREEK DR                   ADDRESS ON FILE                          511 DAVID AVE
MONROE, GA 30655-3700                                                          SCOTTSBORO, AL 35768




BROWDER, VICTOR                       BROWER, SCOTT                            BROWN & CROUPPEN PC
ADDRESS ON FILE                       1308 CEDARWOOD DRIVE SW                  ONE METROPOLITAN SQUARE
                                      FORT PAYNE, AL 35968                     211 N BROADWAY STE 1600
                                                                               ST LOUIS, MO 63102
                      Case
BROWN BROTHERS HARRIMAN       20-10766-BLS
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ATTN CORPORATE ACTIONS / VAULT         565 LONE OAK AVE                     964 WEATHERVANE LANE
140 BROADWAY                           EUGENE, OR 97404                     TROY, IL 62294
NEW YORK, NY 10005




BROWN DONALD J                        BROWN ELECTRIC INC                    BROWN FOOD SERVICE
1156 COUNTY RD 523                    437 ROUTE 37                          500 EAST CLAYTON LANE
FYFFE, AL 35971-4339                  P O BOX 220                           P.O. BOX 690
                                      GOREVILLE, IL 62939                   LOUISA, KY 41230-9801




BROWN INDUSTRIES INC                  BROWN INDUSTRIES, INC                 BROWN JACQUELINE
344 W FRONT ST                        344 WEST FRONT STREET                 ADDRESS ON FILE
MEDIA, PA 19063                       MEDICA, PA 19063-2640




BROWN KARL L                          BROWN KIMBERLY                        BROWN LAURA K
127 EAGLE CREEK                       ADDRESS ON FILE                       123 BRIDGEWATER DR
COLLINSVILLE, IL 62234                                                      JACKSON, GA 30233




BROWN LYDIA K                         BROWN MANDEE                          BROWN MARY ANN
807 COUNTY RD 849                     ADDRESS ON FILE                       9626 FOX HUNT CIR W
SYLVANIA, AL 35988-2058                                                     DOUGLASVILLE, GA 30135




BROWN MARY E                          BROWN MARY R                          BROWN NICOLE
ADDRESS ON FILE                       12812 JUSTINE                         ADDRESS ON FILE
                                      CALUMET PARK, IL 60827




BROWN RANDY L                         BROWN SERENA                          BROWN STANLEY W
ADDRESS ON FILE                       256 CALLABOOSE ROCKY BR               509 S ADAMS
                                      CAMPTON, KY 41301                     WEST FRANKFORT, IL 62896




BROWN TINA                            BROWN, ALAN R.                        BROWN, ALAN
3558 COUNTY RD 151                    ADDRESS ON FILE                       ADDRESS ON FILE
HENAGAR, AL 35978-6425




BROWN, ALANA                          BROWN, ALLEN                          BROWN, ALMA
916 N CHERRY ST                       207 W. ROBINSON RD                    134 ALLENDALE RD
GALESBURG, IL 61401                   BIG SPRING, TX 79720                  FOREST HOME, AL 36030




BROWN, AMANDA W.                      BROWN, AMI                            BROWN, AMY M.
2161 DANIELS BRIDGE ROAD              613 LAKERIDGE CT                      ADDRESS ON FILE
ATHENS, GA 30606                      MESQUITE, NV 89027-7602
BROWN, AMY N.           Case 20-10766-BLS
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339 OLD SHILOH RD                     ADDRESS ON FILE                          2722 LONDON LN
ADAMSVILLE, TN 38310                                                           BELLEVILLE, IL 62221




BROWN, ANN LACY                       BROWN, ANN MARIE                         BROWN, ANTHONY E.
                                      496 HEATHER CT                           200 COUNTY ROAD 715
                                      LINDENHURST, IL 60046                    BRYANT, AL 35958




BROWN, ARLENE FOR MARY BROWN          BROWN, ASHLEY N.                         BROWN, AUDREY J.
400 JOHNNY JAMES RD                   135 PHILLIPS ROAD 223                    409 PARLIAMENT RD
CEDAR GROVE, TN 38321                 LEXA, AR 72355                           AUGUSTA, GA 30907-3043




BROWN, BECKY                          BROWN, BEN                               BROWN, BENITA
1095 CANAL ST                         ADDRESS ON FILE                          2715 MERRILL STREET
WILLIAMSTON, NC 27892                                                          SHREVEPORT, LA 71109




BROWN, BOBBIE                         BROWN, BOBBY                             BROWN, BOBBY
148 STAFFORD RD                       ADDRESS ON FILE                          ADDRESS ON FILE
PROCTOR, AR 72376




BROWN, BONNIE                         BROWN, BRANDI M.                         BROWN, BRETT EUGENE
978 KNOX HWY 27                       220 N TAYLOR ST                          183 S 47TH ST
GILSON, IL 61436                      RED BUD, IL 62278                        SPRINGFIELD, OR 97478




BROWN, BROCK                          BROWN, CASSANDRA J.                      BROWN, CASSANDRA
366 2ND SOUTH ST                      12720 S LOOMIS STREET                    1900 DILL RD APT 110
MESQUITE, NV 89027                    CALUMET PARK, IL 60827                   BARSTOW, CA 92311




BROWN, CHELSEA                        BROWN, CHERRELLE                         BROWN, CHERYL
ADDRESS ON FILE                       247 SHELBY DR                            12402 EAST LOOP ROAD
                                      MARIANNA, AR 72360                       MT. VERNON, IL 62864




BROWN, CHRISTY S.                     BROWN, CONNIE                            BROWN, CORY A.
ADDRESS ON FILE                       446 OAK ST                               5026 REVERE AVE NW
                                      GALESBURG, IL 61401                      MASSILLON, OH 44647




BROWN, COURTNEY C.                    BROWN, COURTNEY S.                       BROWN, CYNTHIA J.
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE
BROWN, DAMION A.         Case 20-10766-BLS
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ADDRESS ON FILE                         190 BALCOM ROAD                      ADDRESS ON FILE
                                        ANNA, IL 62906




BROWN, DAVID V.                         BROWN, DEBORAH S.                    BROWN, DEE
240 COUNTRY CLUB DR                     ADDRESS ON FILE                      471 PAN WILL RD
GREENVILLE, AL 36037                                                         MINERAL BLUFF, GA 30559




BROWN, DENISE M.                        BROWN, DIANA                         BROWN, DIANNA M.
136 WEBB STREET                         ADDRESS ON FILE                      1235 BEN FULTON RD
CALUMET CITY, IL 60409                                                       NORTH LAWRENCE, OH 44666




BROWN, DOKOTA                           BROWN, DOUGLAS                       BROWN, EBONY
7810 17TH AVE                           711 HOMESTEAD POINTE                 ADDRESS ON FILE
KENOSHA, WI 53143                       ORRVILLE, OH 44667




BROWN, ELISHA                           BROWN, ELIZABETH                     BROWN, ELLA M.
205 ROSELAWN AVE                        307 S HAMILTON AVE                   41 LAWSON LANE
FAIRVIEW HEIGHTS, IL 62208              SCOTTSBORO, AL 35768                 DIXMOOR, IL 60426




BROWN, GOLDA LACY                       BROWN, HEATHER J.                    BROWN, HEATHER L.
                                        49 BLANCA LANE 1004                  160 COUNTY ROAD 786
                                        WATSONVILLE, CA 95076                FORT PAYNE, AL 35967




BROWN, HEATHER R.                       BROWN, HELEN                         BROWN, HUGH M.
ADDRESS ON FILE                         785 OLD BABB RD                      ADDRESS ON FILE
                                        ROCKY FACE, GA 30740




BROWN, HUNTER D.                        BROWN, JACQUELINE L.                 BROWN, JAMES P.
ADDRESS ON FILE                         ADDRESS ON FILE                      1640 N. SIMPSON ST.
                                                                             PORTLAND, OR 97217




BROWN, JAMIE L.                         BROWN, JAMIE L.                      BROWN, JAMIE
1510 DANNEHOLD FARMS DRIVE              ADDRESS ON FILE                      413 EAST WASHINGTON
WATERLOO, IL 62298                                                           MILLSTADT, IL 62260




BROWN, JARAD                            BROWN, JAVONER                       BROWN, JAVONER
2041 COUNTY ROAD 788                    117A ALBEMARLE DR                    ADDRESS ON FILE
IDER, AL 35981                          PLYMOUTH, NC 27962
BROWN, JAZMAN A.            Case 20-10766-BLS
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10398 W ILLINOIS AVE                       15285 W PINE LAKE RD                 ADDRESS ON FILE
BEACH PARK, IL 60099                       SALEM, OH 44460




BROWN, JESSICA                             BROWN, JOVANTAE N.                   BROWN, JOY C.
ADDRESS ON FILE                            55 MARQUETTE STREET                  ADDRESS ON FILE
                                           PARK FOREST, IL 60466




BROWN, JUDITH                              BROWN, KAEL COURTENEY                BROWN, KATHLEEN
502 E WOODS ST                             ADDRESS ON FILE                      ADDRESS ON FILE
AVON, IL 61415




BROWN, KEVIN G.                            BROWN, KIM                           BROWN, KIMBERLY A.
ADDRESS ON FILE                            16784 BULGER AVE                     ADDRESS ON FILE
                                           1ST FLOOR
                                           HAZEL CREST, IL 60429




BROWN, KIMBERLY M.                         BROWN, LARRY J                       BROWN, LASHONDA
ADDRESS ON FILE                            232 N 9TH                            ADDRESS ON FILE
                                           WEST HELENA, AR 72390




BROWN, LATISHA                             BROWN, LAURIE J.                     BROWN, LEROICA
823 GREENOCK WAY                           691 APPLE TREE LANE                  1000 ROYAL HEIGHTS RD APT. 23
MARION, AR 72364                           MESQUITE, NV 89027                   BELLEVILLE, IL 62226




BROWN, LESTER                              BROWN, LOUIS L.                      BROWN, LYZA T.
3235 CORNELL AVE                           2225 OLD HUNTINGDON RD               ADDRESS ON FILE
BIG SPRING, TX 79720-0000                  LEXINGTON, TN 38351-6590




BROWN, MAGAN L.                            BROWN, MANDEE L.                     BROWN, MANDY N.
ADDRESS ON FILE                            ADDRESS ON FILE                      3500 N DIRKSEN PKWY LOT 101
                                                                                SPRINGFIELD, IL 62702




BROWN, MARGARET FOR RALPH OVERMAN          BROWN, MARIAN MARTHA                 BROWN, MARIE
301 HORSESHOE HOLLOW LN                    84153 HILLTOP DR                     9919 S MERRILL AVE
LEXINGTON, TN 38351                        PLEASANT HILL, OR 97455              CHICAGO, IL 60617




BROWN, MARY E.                             BROWN, MASHELL                       BROWN, MATTHEW D.
ADDRESS ON FILE                            14716 LEXINGTON AVENUE               910 N BENTLEY ST APT E
                                           HARVEY, IL 60426                     MARION, IL 62959
BROWN, MATTHEW            Case 20-10766-BLS
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BROWN, MIRIAM                            BROWN, MORGAN R.                    BROWN, NANCY E.
1610 1ST ST NE                           1910 CHRISTIAN CHAPEL RD            ADDRESS ON FILE
AMHEARST MEADOWS                         DONGOLA, IL 62926
MASSILLON, OH 44646




BROWN, NICOLE C.                         BROWN, NICOLE K.                    BROWN, NICOLE K.
15436 OROGRANDE DR                       200 45TH ST NE APT 35               ADDRESS ON FILE
OAK FOREST, IL 60452                     FORT PAYNE, AL 35967




BROWN, NICOLE                            BROWN, NICOLE                       BROWN, PAMELA S.
12540 S. THROOP STREET                   ADDRESS ON FILE                     133 BRECKENRIDGE DR
CALUMET PARK, IL 60827                                                       NORTH AUGUSTA, GA 29841-4471




BROWN, PAYTON                            BROWN, REBECCA A.                   BROWN, RHONDA M.
P.O. BOX 54                              ADDRESS ON FILE                     251 TRACY DR
LYMAN, WY 82937                                                              MONTICELLO, AR 71655




BROWN, RICKIE F.                         BROWN, SAMUEL L.                    BROWN, SANDRA
84 FOREST HILLS DRIVE                    ADDRESS ON FILE                     25 PARKWOOD DRIVE
TOMPKINSVILLE, KY 42167                                                      COVINGTON, GA 30016




BROWN, SARA E.                           BROWN, SARAH A GILFILLAN            BROWN, SARAH B.
ADDRESS ON FILE                          1583 210TH AVE                      ADDRESS ON FILE
                                         GALESBURG, IL 61401




BROWN, SARAH E.                          BROWN, SARAH J.                     BROWN, SHAKIRA N.
31 W OGARA ST.                           ADDRESS ON FILE                     12234 S EMERALD AVE.
HARRISBURG, IL 62946                                                         CHICAGO, IL 60628




BROWN, SHANIKA                           BROWN, SHARA J.                     BROWN, SHARONDA D.
870 E OLD WILLOW RD APT 145              7033 TATMAN ROAD SE                 ADDRESS ON FILE
PROSPECT HEIGHTS, IL 60070               UHRICHSVILLE, OH 44683




BROWN, SHAWNA                            BROWN, SHEILA B.                    BROWN, SHIKITA
2396 EDISON ST. NW                       2940 CTY RD 162                     ADDRESS ON FILE
UNIONTOWN, OH 44685                      PISGAH, AL 35765
BROWN, STEPHANIE L.       Case 20-10766-BLS
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7818 PILOT KNOB AVENUE                  ADDRESS ON FILE                    821 WALLER RD
LOUISVILLE, OH 44641                                                       CEDAR GROVE, TN 38321




BROWN, STEVEN                           BROWN, SUSAN B.                    BROWN, SUSAN B.
ADDRESS ON FILE                         ADDRESS ON FILE                    219 WISTERIA DRIVE
                                                                           FRANKLIN, TN 37064




BROWN, SUSAN                            BROWN, TACAIRA                     BROWN, TALITHA
ADDRESS ON FILE                         512 BRIGHTON PARK DR APT7          ADDRESS ON FILE
                                        GREENVILLE, NC 27834




BROWN, TAMIKA                           BROWN, TANYA M.                    BROWN, TARA
ADDRESS ON FILE                         6309 VIRGINIA LANE                 1415 FLINTRIDGE AVE
                                        MATTESON, IL 60443                 EUGENE, OR 97401




BROWN, TERESA D.                        BROWN, TERESA                      BROWN, TERESA
ADDRESS ON FILE                         ADDRESS ON FILE                    1460 G STREET
                                                                           ATTN. ACCTS PAY-JANET
                                                                           SPRINGFIELD, OR 97477




BROWN, TERRIE L.                        BROWN, THERESE                     BROWN, TIMOTHY M.
212 FARMER CIRCLE                       826 NOTRE DAME DR.                 527 OLIVE ST
MINERAL BLUFF, GA 30559                 MATTESON, IL 60443                 GALESBURG, IL 61401




BROWN, TINA E.                          BROWN, TONI M.                     BROWN, TRISHA
17246 S SCHOOL ST                       1965 CR 812                        106 BORNITE P.O. BOX 102
SOUTH HOLLAND, IL 60473                 GAYLESVILLE, AL 35973              TYRONE, NM 88065




BROWN, TRISHA                           BROWN, VALERIE                     BROWN, VANESSA M.
P.O. BOX 102                            18649 OAKWOOD AVENUE               3635 153RD ST
TYRONE, NM 88065                        COUNTRY CLUB HILLS, IL 60478       MIDLOTHIAN, IL 60445




BROWN, VELMA                            BROWN, VICTORIA L.                 BROWN, VINCENT
ADDRESS ON FILE                         2935 ROSEBUD ROAD APT 404          12633 MARSHFIELD AVE
                                        LOGANVILLE, GA 30052               CALUMET PARK, IL 60827




BROWN, VONYA L.                         BROWN, WILLIAM P.                  BROWN-BROWN, RANDALL L.
2595 BEAR TRAP ROAD                     14670 ELTON ST SW                  ADDRESS ON FILE
WILLIAMSTON, NC 27892                   NAVARRE, OH 44662
BROWNING, ANGELA J.     Case 20-10766-BLS   Doc
                                      BROWNING,   6 Filed 04/07/20
                                                BROOKE               Page BROWNING,
                                                                          237 of 1969
                                                                                    HOLLY L.
ADDRESS ON FILE                       117 W HUNTERS RIDGE                 ADDRESS ON FILE
                                      VALMEYER, IL 62295




BROWNING, JESSICA R.                  BROWNING, JODI L.                   BROWNING, MARLA
ADDRESS ON FILE                       22264 E HEARD LN                    894 MASON ROAD
                                      MACEDONIA, IL 62860                 BRASSTOWN, GA 28902-8101




BROWNING, NORA E.                     BROWNING, PATTI J.                  BROWNING, PAULA
16153 DAMEN AVE                       121 W SIMMONS ST APT 115            211 SERVICE DR
MARKHAM, IL 60428                     GALESBURG, IL 61401                 PALESTINE, AR 72372




BROWNING, WILLA D.                    BROWN-KIKER, SUSAN G.               BROWNLEE, AMANDA
ADDRESS ON FILE                       ADDRESS ON FILE                     676 WILLIAMSTOWN RD
                                                                          MINERAL BLUFF, GA 30559




BROWNLEE, CHERRI S.                   BROWNLEE, DEMARCO                   BROWNLEE, THOMAS
ADDRESS ON FILE                       ADDRESS ON FILE                     702 N STATE ST UNIT H
                                                                          FREEBURG, IL 62243




BROWNLESS, RACHEL                     BROWNRILEY, SHIRLEY                 BROWNS ALLCARE INC
1471 KNOX ROAD 1550 N                 8606 S BLACKSTONE                   P.O. BOX 139
DAHINDA, IL 61428                     CHICAGO, IL 60619                   COLT, AR 72326




BROWNS EQUIPMENT & RENTAL LLC         BROWNS LAWN CARE                    BROWNS MINI STORAGE
P.O. BOX 2598                         P O BOX 139                         1601 STATE STREET
WEST HELENA, AR 72390                 COLT, AR 72326                      BARSTOW, CA 92311




BROWNSWORD, JEAN                      BROWNSWORD, MICHELLE R.             BROWN-TRUDEL, LINDA
4445 7TH ST NW                        2591 ASHWELL AVE SW                 3465 E MAGIC HILLS CIRCLE
CANTON, OH 44708-3627                 MASSILLON, OH 44646                 SALT LAKE CITY, UT 84121




BROWNWOOD REGIONAL MEDICAL CENTER     BROWNYARD, JAMI M.                  BROYLES ANGELA DARLENE
P.O. BOX 760                          2451 MOUNT LEBANON RD               734 COUNTY RD 560
BROWNWOOD, TX 76804                   DECATURVILLE, TN 38329              FORT PAYNE, AL 35968-4703




BROYLES, REBECCA                      BRU, INGRID D.                      BRUAL, MARUJITA Y.
ADDRESS ON FILE                       144 N THIRD ST. 6                   ADDRESS ON FILE
                                      TOOELE, UT 84074
BRUBAKER, PAYTON S.      Case 20-10766-BLS    Doc 6 CONST,
                                       BRUCE CONCRETE Filed 04/07/20
                                                            INC        Page BRUCE
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                                                                                    1969
129 DEARING DR                          4401 HIGHWAY 162                    6311 INNISBROOK DR
BOALSBURG, PA 16827                     GRENAITE CITY, IL 62040             PROSPECT, KY 40059-9285




BRUCE MURRAY                            BRUCE SCHAEFER                      BRUCE, AMANDA L
8 POINT LANE                            203 S MAIN ST                       P MILL RD
FORREST CITY, AR 72335                  SMITHTON, IL 62285                  SELINGROVE, PA 17870




BRUCE, AMBER S.                         BRUCE, AMBER                        BRUCE, ASHLEY
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




BRUCE, CAROL                            BRUCE, ELLA                         BRUCE, JONATHEN
308 DOTSON ROAD                         1646 WEST 104TH PL                  1646 WEST 104TH PL
MURPHY, NC 28906                        CHICAGO, IL 60643                   CHICAGO, IL 60643




BRUCE, KATHRYN G.                       BRUCE, MELANIE                      BRUCE, RITA
680 AUDEL AVE.                          ADDRESS ON FILE                     525 NOTTINHAM DR
EUGENE, OR 97404                                                            TROY, IL 62294




BRUCKERT, GRUENKE & LONG, P.C.          BRUCKNER, NICK C.                   BRUECKMAN, DEBBIE A.
1002 EAST WESLEY DRIVE                  3027 HUMMINGBIRD LN                 ADDRESS ON FILE
SUITE 100                               EUGENE, OR 97405
OFALLON, IL 62269




BRUEGGEMANN, REBEKAH S.                 BRUEGGER, SHARON                    BRUMBACK, LANA DALE
ADDRESS ON FILE                         3100 LAS CRUCES ST                  2490 BOWTIE AVE
                                        DEMING, NM 88030                    EUGENE, OR 97404




BRUMBAUGH, MICAH                        BRUMBELOE, ALICIA                   BRUMBELOE, JERIKA B.
371 POINT OF VIEW DR                    ADDRESS ON FILE                     ADDRESS ON FILE
EDWARDSVILLE, IL 62025




BRUMFIELD, BO                           BRUMFIELD, KEVIN                    BRUMFIELD, KIMBERLY R.
17 EAST CLAYTON LANE                    200 PARKWOOD                        ADDRESS ON FILE
LOUISA, KY 41230                        WATERLOO, IL 62298




BRUMLEVE, JEANNE                        BRUMLEVE, MAGEN                     BRUMLEY, KATHERYN D.
1282 WING HILL RD                       342 BRUMLEVE ROAD                   2514 GUNTER CIRCLE
COBDEN, IL 62920                        COBDEN, IL 62920                    BIG SPRING, TX 79720
BRUMLEY, RAMONA C.      Case 20-10766-BLS   Doc
                                      BRUMMETT,   6 Filed 04/07/20
                                                JAMES                     Page BRUMMITT,
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                                                                                         ALICE F.
1828 HWY 193                          11602 E. BLACK WARD RD                    ADDRESS ON FILE
WYNNE, AR 72396                       MT. VERNON, IL 62864




BRUNDELET, JAMES                      BRUNER, TERRY                             BRUNGARD, LINDSEY A
8273 MILMONT ST NW                    943 N CHERRY ST                           29 SPEED LN
MASSILLON, OH 44646                   GALESBURG, IL 61401                       MILL HALL, PA 17751




BRUNKHARDT, ALLEN                     BRUNKHORST, KATHY                         BRUNNER, BRUCE
199 LAKEVIEW DR                       ADDRESS ON FILE                           ADDRESS ON FILE
WATAGA, IL 61488




BRUNO, LAURIE A.                      BRUNO, MARYLYNN S.                        BRUNO, SANDRA A.
15932 LATROBE AVE                     803 ORIOLE DRIVE                          3821 W 106TH ST
OAK FOREST, IL 60452                  PEOTONE, IL 60468                         CHICAGO, IL 60655




BRUNO, STACEY L.                      BRUNO, YVES R.                            BRUNS, BETTY
1612 KINSELLA AVE                     ADDRESS ON FILE                           2345 N SEMINARY ST
SWANSEA, IL 62226                                                               SEMINARY MANOR
                                                                                GALESBURG, IL 61412




BRUNS, DANIEL ROBERT                  BRUNS, RUBY                               BRUNSON, NANCY E.
19304 S MOSIER RD                     DBA PROFESSIONAL CONCEPTS ADVERT.         2311 AVE N SNYDER
OREGON CITY, OR 97045                 401 E. 17TH ST.                           SNYDER, TX 79549
                                      BIG SPRING, TX 79720




BRUNSWIG, JENNA                       BRUNSWIG, JENNIFER D.                     BRUNT, AMBER
ADDRESS ON FILE                       ADDRESS ON FILE                           931 GUY HART RD
                                                                                REAGAN, TN 38368




BRUSH, JENNY                          BRUSS, ETAIN M.                           BRUZZI, VINCENT
ADDRESS ON FILE                       ADDRESS ON FILE                           403 E 11TH AVE
                                                                                ESCONDIDO, CA 92025




BRYAN DELANEY                         BRYAN EXHAUST SERVICE INC.                BRYAN LAZAROFF
ADDRESS ON FILE                       2808 N NAOMI STREET                       9490 JULIA DR
                                      BURBANK, CA 91504                         ST JOHN, IN 46373




BRYAN, AMY T.                         BRYAN, CAROL                              BRYAN, DAVID E.
4584 N MT ZION RD                     1141 BLASINGAME ROAD NE                   6950 WASHINGTON AVE
HONORAVILLE, AL 36042-5419            MONROE, GA 30655                          UNIVERSITY CITY, MO 63130
BRYAN, JASON W.          Case 20-10766-BLS     Doc 6
                                       BRYAN, JOAN          Filed 04/07/20   Page BRYAN,
                                                                                  240 ofLISA
                                                                                          1969
                                                                                             B.
602 E NATIONS AVE                       210 MILL HOLE RD                          92 MAY STREET
ALPINE, TX 79830                        WASHINGTON, NC 27889                      HAYESVILLE, NC 28904-9660




BRYAN, SHARON M.                        BRYAN, TAMARA                             BRYAN, WILLIAM
ADDRESS ON FILE                         3255 IVORY RD NW                          15123 N. SEAGULL LANE
                                        CARROLLTON, OH 44615                      BLUFORD, IL 62814




BRYANT DEBRA LEIGH                      BRYANT EYE CLINIC                         BRYANT HARDIN
14167 SURF COURT                        309 ELM ST                                511 SOUTH 5TH STREET
SOUTH BEBIT, IL 61080                   HELENA, AR 72342                          LOVEJOY, IL 62059




BRYANT LEE E                            BRYANT MELISSA S                          BRYANT, AMBER D.
5815 DESOTO PARKWAY NE                  564 BIBLE BAPTIST RD                      4400 RIGHT FK WILSON CK
FORT PAYNE, AL 35967                    ELLIJAY, GA 30536                         WAYNE, WV 25570




BRYANT, AMBER                           BRYANT, BRITTANY                          BRYANT, DEBBIE H.
4400 RT. FORK WILSON CREEK              ADDRESS ON FILE                           1020 HARRISON LANE
WAYNE, WV 25570                                                                   WILLIAMSTON, NC 27892




BRYANT, DEBORAH L.                      BRYANT, DEBRA L.                          BRYANT, DUANE H.
ADDRESS ON FILE                         14167 SURF CT.                            ADDRESS ON FILE
                                        SOUTH BELOIT, IL 61080




BRYANT, DUSTIN C.                       BRYANT, DUSTIN                            BRYANT, JANAE
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




BRYANT, JERRY LEE                       BRYANT, JODI L.                           BRYANT, JOYCE
2609 CHEYENNE DR                        ADDRESS ON FILE                           554 DEAN RD
BIG SPIRNG, TX 79720                                                              MINERAL BLUFF, GA 30559




BRYANT, KATHY R.                        BRYANT, KELLY J.                          BRYANT, KIERA
433 BUENA VISTA ST                      ADDRESS ON FILE                           3610 W LEXINGTON
EDWARDSVILLE, IL 62025                                                            CHICAGO, IL 60624




BRYANT, LOUIS                           BRYANT, MARIE                             BRYANT, MELISSA W.
210 SFC 420                             P.O. BOX 465                              2053 COUNTY RD 108
FORREST CITY, AR 72335                  MINERAL BLUFF, GA 30559-0465              RAINSVILLE, AL 35986
BRYANT, RICHARD M.      Case 20-10766-BLS
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270 OLD RIDGE RD                      331 W 200 S                          ADDRESS ON FILE
MCCAYSVILLE, GA 30555-2038            TOOELE, UT 84074




BRYANT, SUSAN L.                     BRYANT, TARA                          BRYANT, TAYLOR L.
1677 COUNTY ROAD 550                 300 E. CLEARFIELD LANE                ADDRESS ON FILE
GROVE OAK, AL 35975                  APPLETON, WI 54913




BRYANT, THOMAS EDWARD                BRYANT, VALERIE                       BRYANT, VALERIE-KAY
559 MOORE RANCH LANE                 ADDRESS ON FILE                       ADDRESS ON FILE
P.O. BOX 85
DAYS CREEK, OR 97429




BRYDER HEATING & COOLING             BRYDON, ELIZABETH                     BRYLKOWSKA, BARBARA
2535 EDISON AVE                      P.O. BOX 1453                         833 TIMBER LAKE DR
GRANITE CITY, IL 62040               ELLIJAY, GA 30540                     ANTIOCH, IL 60002




BRYNER, JOANN                        BRYON WITZEL                          BRYSIEWICZ, CHERYL
P.O. BOX 593                         ADDRESS ON FILE                       421 BRITTANY LANE
FYFFE, AL 35971                                                            LINDENHURST, IL 60046




BRYSON SANDRA                        BRYSON, BAILEY                        BRYSON, MATTHEW F.
668 GA HIGHWAY 180                   ADDRESS ON FILE                       221 GREENWOOD DRIVE
BLAIRSVILLE, GA 30512                                                      HENAGAR, AL 35978




BRYTON CORPORATION                   BSC SUPPLY LLC                        BSC SUPPLY
P.O. BOX 68177                       200 5TH AVE                           200 FIFTH AVE
INDIANAPOLIS, IN 46268               STE 3020                              STE 3020
                                     WALTHAM, MA 02451                     WALTHAM, MA 02451




BSN JOBST INC                        BSN MEDICAL, INC                      BSN SPORTS
P.O. BOX 751766                      P.O. BOX 751766                       P.O. BOX 660176
CHARLOTTE, NC 28275-1766             CHARLOTTE, NC 28275-1766              DALLAS, TX 75266




BSN SPORTS                           BTI CONTRACTING, INC                  BTU BUILDING MATERIALS, INC
PO BOX 660176                        P.O. BOX 314                          P.O. BOX 578
DALLAS, TX 75266                     CATLETTSBURG, KY 41129                RATON, NM 87740




BTU COMPANY, INC                     BUB, PATRICIA G.                      BUBB, KATHLEEN
770 PASQUINELLI DR STE 414           3744 GREEN STREET                     360 E PARK ST
WESTMONT, IL 60559                   STEGER, IL 60475                      APT 511
                                                                           LOCK HAVEN, PA 17745-2951
BUBELIS, ZILVINAS       Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                      BUCA, JOHN                     Page BUCANE
                                                                          242 ofMEDICAL
                                                                                 1969 INC
2690 MISTY WOODS RD                   12244 GREGORY ST                   340 RIVERVIEW AVENUE
BUFFALO GROVE, IL 60089               BLUE ISLAND, IL 60406              LOGAN, WV 25601




BUCEY, MICHELE                      BUCEY, MICHELLE A                    BUCH, KAREN S.
7502 LINCOLN ST SE                  349 HOLLYWOOD NE                     ADDRESS ON FILE
EAST CANTON, OH 44730-9564          CANTON, OH 44704




BUCHALTER A PROFESSIONAL            BUCHANAN GENERAL HOSPITAL            BUCHANAN SANITATION
CORPORATION                         1535 SLATE CREEK ROAD                P.O. BOX 310
1000 WILSHIRE BLVD, STE 1500        GRUNDY, VA 24614                     HAZEL GREEN, KY 41332
LOS ANGELES, CA 90017-1730




BUCHANAN SONIA                      BUCHANAN, ASHLEY L.                  BUCHANAN, CANDACE
1650 PARTRIDGE                      1014 N ILLINOIS AVE                  2730 MARKET ST
WAUKEGAN, IL 60087                  SALEM, IL 62881                      EAST SAINT LOUIS, IL 62207




BUCHANAN, CHARLOTTE                 BUCHANAN, CICILLA                    BUCHANAN, CRISTY L.
P. O. BOX 264                       90 BEASLEY DR                        752 COUNTY ROAD 300 NORTH
COAHOMA, TX 79511                   LEXINGTON, TN 38351                  WAYNE CITY, IL 62895




BUCHANAN, MELANIE E.                BUCHANAN, ROCHELLE D.                BUCHANAN, TINA M.
210 SOUTH JOHNSON STREET            ADDRESS ON FILE                      4045 BAUM RD
NORRIS CITY, IL 62869                                                    FULTS, IL 62244




BUCHANAN, TINA M.                   BUCHE, LAURA M.                      BUCHELE, NINA
ADDRESS ON FILE                     5508 W 129TH ST                      2595 S PINE ST
                                    CRESTWOOD, IL 60418                  CENTRALIA, IL 62801




BUCHEN, BRAD                        BUCHER, NANCY J.                     BUCHER, ROBERT P.
ADDRESS ON FILE                     13926 ELTON RD SW                    164 MAIN ST SE
                                    NAVARRE, OH 44662                    BREWSTER, OH 44613




BUCHER, ROBERT                      BUCHER, SHARON                       BUCHHOLZ, ASHLEY N.
11215 SHETLER RD NW                 112 WING                             ADDRESS ON FILE
BOLIVAR, OH 44612-8523              COLLINSVILLE, IL 62234




BUCHMEIER, ROBIN LEE                BUCHMEIER, ROBIN                     BUCHTA, LEO
47529 SCHOOL ST                     109 ARTHUR CT                        106 SAINT NICHOLAS LN
OAKRIDGE, OR 97463                  GILBERTSVILLE, KY 42044              BUNCUMBE, IL 62912
BUCHTA, TAMMY L.         Case 20-10766-BLS   Doc 6ROGER
                                       BUCHWALTER,   Filed 04/07/20   Page BUCK
                                                                           243 BUILDING
                                                                                of 1969SUPPLY
10684 W EASTWOOD RD                    711 E MAIN ST                       574 EAST CHURCH STREET
BEACH PARK, IL 60087                   DALTON, OH 44618-9610               LEXINGTON, TN 38351




BUCK, BETHANY B.                       BUCK, CINDY D.                      BUCK, HAILEY ANNICE
68 NORTHWOOD DRIVE                     ADDRESS ON FILE                     39282 UPPER CAMP CREEK RD
HORSESHOE LAKE, AR 72348                                                   SPRINGFIELD, OR 97478




BUCK, HANNAH                           BUCK, LINDA                         BUCK, LORRI A.
23245 US HWY 64                        916 SEBRING DRIVE                   ADDRESS ON FILE
WILLIAMSTON, NC 27892                  WINTERVILLE, NC 28590




BUCK, LORRI A.                         BUCK, LOUISA                        BUCK, WHITNIE
50 LIBERTY LN                          1086 N SEMINARY ST                  ADDRESS ON FILE
HIGHLAND, IL 62249                     GALESBURG, IL 61401




BUCKELEW, KEVIN                        BUCKELS, MELISSA A.                 BUCKEM, HOLLY R.
1199 RAMSEY RD                         212 WATSON ST                       39874 DEERHORN RD
JACKSONVILLE, NC 28546-4114            MADISON, IL 62060                   SPRINGFIELD, OR 97478




BUCKEYE COMMUNITY HEALTH PLAN          BUCKEYE HEALTH PLAN                 BUCKHOLTZ SHELLEY J
P.O. BOX 6200                          75 REMITTANCE DRIVE                 P.O. BOX 284
FARMINGTON, MO 63640-3805              CHICAGO, IL 60675                   RUSSELL, IL 60075




BUCKHOLTZ, JORDAN L.                   BUCKI, JONATHAN                     BUCKINGHAM DOOLITTLE & BURROUGHS
ADDRESS ON FILE                        13260 S. COUNTY CLUB CT 2A          LLC
                                       PALOS HEIGHTS, IL 60463             3800 EMBASSY PKWY
                                                                           STE 300
                                                                           AKRON, OH 44333



BUCKINGHAM, BIRGIT R.                  BUCKINGHAM, KERRY                   BUCKLES, MARCY
70 JANINE CT                           261 W AMSTERDAM                     1117 EAST THIRD STREET
GRANITE CITY, IL 62040                 STANSBURY PARK, UT 84074            TRENTON, IL 62293




BUCKLEW, DORA M.                       BUCKLEY JANE E                      BUCKLEY, JULIA E.
2962 THACKERAY AVE. NW                 1922 CEDAR BROOK DR                 16302 TRUMBULL
MASSILLON, OH 44646                    EUGENE, OR 97402-0000               MARKHAM, IL 60428




BUCKLEY, MICHAEL FOR KALIB CHUMNEY     BUCKLEY, SARAH                      BUCKLEY, SCOTT
129 WILLOW COURTS                      804 N 9TH 1/2 ST                    ADDRESS ON FILE
LEXINGTON, TN 38351                    MONMOUTH, IL 61462
BUCKLEY, SCOTT         Case 20-10766-BLS   Doc
                                     BUCKMAN    6 LFiled 04/07/20
                                             BRENDA                 Page BUCKMAN,
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                                                                                  JARON
ADDRESS ON FILE                      219 BAUER LN                        422 MAIN ST
                                     MARYVILLE, IL 62062                 MAQUON, IL 61458




BUCKMAN, KELLY                       BUCKNER, BROCK W.                   BUCKNER, CONNIE L.
ADDRESS ON FILE                      ADDRESS ON FILE                     P O BOX 1687
                                                                         DEMING, NM 88031




BUCKTAIL MEDICAL CENTER              BUCKWAY, KEVIN M.                   BUDD, LINDSEY
1001 PINE ST                         876 N 1340 E                        13402 LAKE TURNBERRY CIRCLE
RENOVO, PA 17764                     TOOELE, UT 84074                    ORLANDO, FL 32828




BUDD, ROBERT                         BUDDE, CRAIG                        BUDDELL, CHRISTINE
2314 N ANDERSON RD                   6185 GRIGGS RD                      905 CAMPBELL AVE
BIG SPRING, TX 79720                 RED BUD, IL 62278                   CHICAGO HEIGHTS, IL 60411




BUDDY KNOTT                          BUDGET TAXI                         BUDISCAK, SUSAN H.
309 HWY 190                          P.O. BOX 21155                      3025 CHALFORD CIRCLE NW
MCKENZIE, TN 38201                   EUGENE, OR 97402                    NO CANTON, OH 44720




BUDRYS, MICHAEL                      BUDWELL, ALLISON                    BUDZIER, DORRIS
516 SCENIC ROAD                      211 W MAIN ST                       2490 POLK ST
FORT PAYNE, AL 35967                 APT B                               EUGENE, OR 97405-1837
                                     STAUNTON, IL 62088




BUEHLER, EVELYN L.                   BUEHNERKEMPLER, EDITH               BUEHRLE, VINCENT
37278 ROZANNE DR                     1727 OAKDALE LN                     207 1ST AVE
NEWBERRY SPRINGS, CA 92365           WYNNE, AR 72396                     EDWARDSVILLE, IL 62025




BUEL, CAROLYN ELAINE                 BUELL, JENNIFER                     BUENTELLO, EULALIA
865 W 17TH AVE                       ADDRESS ON FILE                     433 N BUTRICK ST
EUGENE, OR 97402                                                         WAUKEGAN, IL 60085




BUERGER MOSELEY & CARSON PLC         BUERGER MOSELEY & CARSON PLC        BUERGER, JANICE L.
306 PUBLIC SQUARE                    345 PARK AVE                        670 LAKEVIEW DRIVE
FRANKLIN, TN 37064                   NEW YORK, NY 10154                  CREAL SPRINGS, IL 62922




BUESCHEL, JOHN                       BUESCHER, KERRI A.                  BUESKING, MICHAEL
409 PAUL DRIVE                       14851 REMINGTON RD                  9314 CHRISTOPHER LAKE DR
WATERLOO, IL 62298                   MARION, IL 62959                    COLUMBIA, IL 62236
BUETTNER, JENNIFER M.    Case 20-10766-BLS    Doc
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                                                                                      STACEY
ADDRESS ON FILE                        836 N MARKET ST                      5733 KASKASKIA RD
                                       WATERLOO, IL 62298                   WATERLOO, IL 62298




BUEZO CONCEPCION                       BUFFALO ENERGY                       BUFFALO FILTER DIV MEDTEK
279 VARONEN AVE                        P.O. BOX 446                         5900 GENESEE ST
WAUKEGAN, IL 60087                     MAN, WV 25635                        LANCASTER, NY 14095-9024




BUFFALO FILTER                         BUFFALO ROCK COMPANY                 BUFFINGTON, MARK
29298 NETWORK PLACE                    P.O. BOX 2247                        17175 N IDLEWOOD LN
CHICAGO, IL 60673-1292                 BIRMINGHAM, AL 35201                 MT VERNON, IL 62864




BUFFINGTON, NATHANIEL                  BUFORD, JON                          BUFORD, KATHERINE
1609 FOREST AVENUE NW                  8339 KUHN STATION RD                 8339 KUHN STATION RD
FORT PAYNE, AL 35967                   EDWARDSVILLE, IL 62025               EDWARDSVILLE, IL 62025




BUFORD, ROSALIND C.                    BUGGER, JESSE                        BUGSMITH PEST CONTROL
342 HAVEN DR UNIT V6                   2900 INDIAN MEADOWS                  11611 GAYNESWOOD ST
GREENVILLE, NC 27834                   EDWARDSVILLE, IL 62025               VICTORVILLE, CA 92392




BUHL, KAYLIE                           BUHLER JESSE A                       BUHLER, MARIA
2449 DEER RUN DR                       291 N RACE ST APT 2                  606 EASTCREST AVE
P.O. BOX 426                           GRANTSVILLE, UT 84029                TOOELE, UT 84074
STOCKTON, UT 84071




BUHLMAN, JEFFREY                       BUHR, TARA A.                        BUI, HEINRIK
39 MEADOWLARK CIR                      ADDRESS ON FILE                      401 PACIFIC AVE. APT 214
GRANTSVILLE, UT 84029                                                       SANTA CRUZ, CA 95060




BUI, LAUREL M.                         BUILD A TEAM CONSULTANTS, LLC        BUITRON, DOROTHY
ADDRESS ON FILE                        82 PINEVIEW RIDGE COURT              ADDRESS ON FILE
                                       ST. CHARLES, MO 63303




BUKOVAC, JOSEPH                        BUKOVSKY, PAMELA J.                  BULBMAN RENO
7427 CREEK RIDGE LANE                  25532 W BROOKS FARM RD               P.O. BOX 12280
EDWRDSVILLE, IL 62025                  ROUND LAKE, IL 60073                 RENO, NV 89510




BULGER, CHRIS                          BULGER, J C.                         BULL MOTOR COMPANY
1556 COPPERSTONE DR                    207 HANGING STAR LANE                P.O. BOX 1107
BRENTWOOD, TN 37027                    GEORGETOWN, TX 78633                 WYNNE, AR 72396
BULL, MABEL E.         Case 20-10766-BLS
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                                                                                    DAVID
450 BOARDWALK PL                     1229 N 17TH ST                        132 NORTHWOOD DR
COTTAGE GROVE, OR 97424              24                                    MCKENZIE, TN 38201
                                     BELLEVILLE, IL 62226




BULLARD, GEORGE                      BULLARD, GERALD                       BULLARD, JEANNIE
354 GEELAN DR                        9481 ROADRUNNER PATH                  703 N MAPLE STREET
MARION, AR 72364                     SNYDER, TX 79549-0000                 BENTON, IL 62812




BULLARD, LINDA                       BULLARD, MALISHA G.                   BULLDOG PEST CTRL INC
ADDRESS ON FILE                      1393 COUNTY RD 46                     71 WEST FIRST NORTH
                                     GAYLESVILLE, AL 35973                 MESQUITE, NV 89027




BULLFROG ENTERPRISES                 BULLINGTON, CAROLYN R.                BULLINGTON, WILLIAM L.
1581 SOUTH A STREET                  908 ELLIS DRIVE APT.1H                104 MANLEY ST
SPRINGFIELD, OR 97477                MOUNT VERNON, IL 62864                MCKENZIE, TN 38201




BULLOCK COURIER SERVICE              BULLOCK MARY L                        BULLOCK, BARBARA A.
FRANK H BULLOCK                      5041 FORT BRANCH RD                   2700 HARRISON RD
3452 NC HWY 43 NORTH                 OAK CITY, NC 27857                    WILLIAMSTON, NC 27892
GREENVILLE, NC 27834-6142




BULLOCK, DONNIE                      BULLOCK, DOROTHY                      BULLOCK, FRANZISKA
P.O.BOX 214                          691 MAJESTY CROSSING                  954 W 420 S
ROBERSONVILLE, NC 27871-0000         WINDER, GA 30680                      TOOELE, UT 84074




BULLOCK, JOSEPHINE E.                BULLOCK, MANDY L.                     BULLOCK, MATTHEW V.
P O BOX 447                          108 SUNSET DRIVE                      91 DORY LANE
313 BROAD STREET                     WILLIAMSTON, NC 27892                 STANSBURY PARK, UT 84074
ROBERSONVILLE, NC 27871




BULLOCK, REBECCA                     BULLOCK, RITA                         BULLOCK, RUBY
ADDRESS ON FILE                      P.O. BOX 643                          233 N HOMETOWN CT
                                     FT DEPOSIT, AL 36032                  TOOELE, UT 84074-0000




BULLOCK, SCOTT D.                    BULLOCK, TREVOR                       BULLOCK-GLASS, REBECCA
ADDRESS ON FILE                      P.O. BOX 204                          ADDRESS ON FILE
                                     DOWELL, IL 62927




BULLOCKS, TINA                       BULLSEYE TOTAL MEDIA                  BULMON, GERALD
ADDRESS ON FILE                      1506 KANAWHA BLVD WEST                554 RT FK JETTS CREEK RD
                                     CHARLESTON, WV 25387                  BOONEVILLE, KY 41314
BULTSMA, DEBBIE           Case 20-10766-BLS
                                        BUMANN,Doc 6 E. Filed 04/07/20
                                               BLAKE                     Page BUMGARDNER,
                                                                              247 of 1969LORRAINE
4303 BARRY LN                            P.O. BOX 23474                       650 HARLOW RD 133
OAK FOREST, IL 60452                     BELLEVILLE, IL 62223                 SPRINGFIELD, OR 97477-1216




BUNCH, BARBARA L.                        BUNCHER, BREANA                      BUNDERSON, BREANNA
102 TROEKLER LANE                        1819 MEADOW LANE                     ADDRESS ON FILE
GRANITE CITY, IL 62040                   EDWARDSVILLE, IL 62025




BUNDOCK, KIMBERLY                        BUNDREN, MARCY                       BUNDY, ELISA
3427 EDWARDSVILLE RD                     117 WILLIFORD RD                     42044 N EAST ROAD
EDWARDSVILLE, IL 62025                   JONESBORO, IL 62952                  ANTIOCH, IL 60002




BUNGAL, NONETTE                          BUNK ALEXIS                          BUNKER, ASHLEY E.
731 N LINDEN AVE APT 1E                  13884 SHIPMAN ROAD                   5267 N 1740 W
WAUKEGAN, IL 60085                       SHIPMAN, IL 62685                    SAINT GEORGE, UT 84770




BUNKER, JOCELYN                          BUNKER, SHARON                       BUNN, KEVIN J.
ADDRESS ON FILE                          2630 ODIN RD
                                         ODIN, IL 62870




BUNN, KEVIN J.                           BUNTING, KIMBERLY K.                 BUNTON, APRIL
2711 BRAMBLE DR                          14931 BUCKLEY RD                     ADDRESS ON FILE
MONROE, LA 71201                         MARION, IL 62959




BURAK, FRANK                             BURBACH, RODNEY                      BURBANK, JANE
1704 MACARTHUR DR                        6314 MILLER DR                       98 S MCMICHAEL
WAUKEGAN, IL 60087                       EDWARDSVILLE, IL 62025               GRANTSVILLE, UT 84029




BURBATT, WENDY C.                        BURBICH, JULIANNE                    BURBIDGE ANDREA
749 ARCE STREET                          629-211TH PLACE                      2250 CHURCHWOOD DR
WATSONVILLE, CA 95076                    DYER, IN 46311                       TOOELE, UT 84074




BURBIDGE TAYA                            BURBIDGE, JESSICA                    BURBOL, KAYLA J.
2250 CHURCHWOOD DR                       342 W 440 S                          654 FORTNER ROAD
TOOELE, UT 84074                         TOOELE, UT 84074                     FORT PAYNE, AL 35968




BURCH, CAROL A.                          BURCH, DONALD                        BURCH, ERIN R.
1560 KEUPER BLVD NE                      3410 CABERNET LANE                   1290 BOWDEN RD
MASSILLON, OH 44646                      EUGENE, OR 97404                     HUNTINGDON, TN 38344
BURCH, REBECCA            Case 20-10766-BLS   Doc
                                        BURCHAM,    6 Filed 04/07/20
                                                 JAMIE                   Page BURCHAM,
                                                                              248 of 1969
                                                                                       JANET
ADDRESS ON FILE                         753 SALAMANDER RD SE                  369 BETHEL CT
                                        JEFFERSON, OR 97352                   MCKENZIE, TN 38201




BURCHETT, ANDREA J.                     BURCHETT, NICOLE                      BURCHUM, JACQUELINE
ADDRESS ON FILE                         ADDRESS ON FILE                       410 SAND PIT LOOP
                                                                              CAMDEN, TN 38320




BURDESS, TYSON                          BURDETT, CAROLYN                      BURDETT, CONNOR
122 SKYLINE DR                          230 STARBOARD LANE                    1909 W WINDSOR DR
EVANSTON, WY 82930                      STANSBURY PARK, UT 84074              ROUND LAKE, IL 60073




BURDGE, OPAL                            BURDIC, ANN T.                        BURDIC, ANN
365 52ND PL                             ADDRESS ON FILE                       ADDRESS ON FILE
SPRINGFIELD, OR 97478




BURDICK NORMAN R                        BURDICK, NORMAN R.                    BUREAU FOR CHILD SUPPORT
285 N CHAMBERS ST                       285 N CHAMBERS ST                     ENFORCEMENT
GALESBURG      IL, IL 61401             GALESBURG      IL, IL 61401           P.O. BOX 247
                                                                              CHARLESTON, WV 25321




BUREAU OF DISABILITY                    BUREAU OF EMERGENCY MEDICAL           BUREAU OF TENNCARE
P.O. BOX 19250                          SERVICES                              310 GREAT CIRCLE ROAD, 4-EAST
SPRINGFIELD, IL 62794                   P.O. BOX 142004                       NASHVILLE, TN 37243
                                        SALT LAKE CITY, UT 84114-2004




BUREAU OF TENNCARE                      BUREAU OF WORKERS COMPENSATION        BURFORD, JAMES LEWIS
FISCAL 4-EAST                           P.O. BOX 15429                        160 WETLEAU DR
310 GREAT CIRCLE RD                     COLUMBUS, OH 43215-0429               LOWELL, OR 97452
NASHVILLE, TN 37243




BURGART, TERESA                         BURGE, HENRY                          BURGE, WENDY
90 ADAM SUTTON DR                       324 JENNIFER COURT                    324 JENNIFER COURT
MURPHY, NC 28906                        TROY, IL 62294                        TROY, IL 62294




BURGER, ELIZABETH                       BURGER, GLENDA                        BURGER, STEPHEN K.
253 HAMELIN ROAD                        ADDRESS ON FILE                       ADDRESS ON FILE
AIKEN, SC 29805




BURGER, TERESA                          BURGER, THERESA L.                    BURGESS ARIEL P
411 PARK VIEW DR                        1416 GENOA ROAD SW                    1 DUNLAP COVE
LEBANON, IL 62254                       MASSILLON, OH 44646                   EDWARDSVILLE, IL 62025
BURGESS MARILYN A        Case 20-10766-BLS   Doc
                                       BURGESS,    6
                                                DANA       Filed 04/07/20   Page BURGESS,
                                                                                 249 of 1969
                                                                                          DIANA C.
ADDRESS ON FILE                         4201 GODFREY AVE NE                      ADDRESS ON FILE
                                        FORT PAYNE, AL 35967-7854




BURGESS, JASON P.                       BURGESS, MARILYN                         BURGESS, PEARL E.
ADDRESS ON FILE                         ADDRESS ON FILE                          18633 BERNADINE
                                                                                 LANSING, IL 60438




BURGESS, RANDA M.                       BURGESS, RUSSELL                         BURGESS, RUTH MARY
620 S CARBON ST                         302 OAK ST                               3370 HAWTHORNE AVE
MARION, IL 62959                        ANNA, IL 62906                           EUGENE, OR 97402




BURGESS, SHIRLEY                        BURGESS, TAMMY S.                        BURGESS, TAMMY S.
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




BURGESS, TIMOTHY W.                     BURGESS, TRYSTA A.                       BURGESS, TRYSTA
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




BURGOS, CHRISTINE L.                    BURGOS, GUADALUPE                        BURGOS, VIOLETA C.
34948 CEDAR RD                          5340 A HENRY COURT                       ADDRESS ON FILE
BARSTOW, CA 92311                       GURNEE, IL 60031




BURK WINSTON R                          BURK, BARBARA                            BURK, CAROL A.
203 DOGWOOD DR                          2432 TIMBER CREEK                        912 LOW AVE
EAST ELLIJAY, GA 30539                  ST. JACOB, IL 62281                      WAUKEGAN, IL 60085




BURK, CAROL A.                          BURK, CATHY                              BURKARD, JESSICA G.
ADDRESS ON FILE                         270 WESTWOOD                             ADDRESS ON FILE
                                        WEST HELENA, AR 72390




BURKART THOMAS W                        BURKAVAGE DESIGN ASSOCIATES INC          BURKE CLEANERS
7882 JERUSALEM                          BDA ARCHITECTS LLC                       936 WEST FOURTH ST
EDWARDSVILLE, IL 62025                  200 ABINGTON EXECUTIVE PARK              DAVENPORT, IA 52802
                                        CLARKS SUMMIT, PA 18411-2260




BURKE DANIEL                            BURKE KELSEY                             BURKE, ASHER
677 N 350 W                             236 IMPROVEMENT BR                       10 CREEKSIDE RD
TOOELE, UT 84074                        EAST JENKINS, KY 41537                   LEXINGTON, TN 38351
BURKE, CINDY              Case 20-10766-BLS     Doc 6
                                        BURKE, CONNIE        Filed 04/07/20   Page BURKE,
                                                                                   250 ofDAWN
                                                                                          1969M.
1080 BLAINE CREEK ROAD                   ADDRESS ON FILE                           ADDRESS ON FILE
LOUISA, KY 41230




BURKE, EMILY                             BURKE, JOHN D., SR.                       BURKE, KARA
447 WELLS ST.                            360 FOXCHASE CR                           13632 S HIGHWAY 3
MURPHYSBORO, IL 62966                    NORTH AUGUSTA, GA 29860-8184              LOUISA, KY 41230




BURKE, LAURA                             BURKE, PATRICK MICHAEL                    BURKENBINE, DR. CANDY
ADDRESS ON FILE                          38808 UPPER CAMP CREEK RD                 13501 EMBUDITO VIEW COURT NE
                                         SPRINGFIELD, OR 97478                     ALBUQUERQUE, NM 87111




BURKETT RICHARD W                        BURKETT, HEATHER M.                       BURKETT, KENNETT
843 PRICKETT AV                          ADDRESS ON FILE                           612 SHADOW LN
EDWARDSVILLE, IL 62025                                                             PRATTVILLE, AL 36066-5018




BURKETT, ROSEMARIE                       BURKEY, LINDSAY L.                        BURKHARDT-CRIPPS, PATRICIA
1095 SIR LIONEL                          5882 EASTVIEW ST NE                       ADDRESS ON FILE
DYERSBURG, TN 38024                      LOUISVILLE, OH 44641




BURKHOLDER, MATTHEW                      BURKLEY, TERESA K.                        BURKS MICROSCOPE SALES & SERV
126 BROOKSTOWN AVE                       164 CASENTINI ST APT B                    7300 HWY 641 N
APT 432                                  SALINAS, CA 93907                         PURYEAR, TN 38251
WINSTON SALEM, NC 27101




BURKS MICROSCOPE SALES                   BURKS, CHANTEL                            BURKS, LAURIE E.
7300 HWY 641 N                           408 MOCKINGBIRD LN                        508 RODEO RD
PURYEAR, TN 38251                        NIXA, MO 65714                            BIG SPRING, TX 79720




BURKS, LYNN W.                           BURKS, MELISSA K.                         BURKS, PAULA
137 PIZARRO DRIVE                        ADDRESS ON FILE                           ADDRESS ON FILE
HOT SPRINGS VILLAGE, AR 71909




BURKS, PAULA                             BURKY, CHRISTINE R.                       BURLEIGH, JULIE
ADDRESS ON FILE                          2416 CARLENE AVE SW                       201 BROKEN CIRCLE DR
                                         MASSILLON, OH 44647                       EVANSTON, WY 82930




BURLEIGH, SIERRA                         BURLEW, HOLLY                             BURLEY, MEGAN
121 ALECIAS WAY                          ADDRESS ON FILE                           ADDRESS ON FILE
EVANSTON, WY 82930-0000
BURLING, KENDALL F.     Case 20-10766-BLS    Doc SHANNON
                                      BURLINGAME, 6 Filed 04/07/20   Page BURLISON,
                                                                          251 of 1969
                                                                                    BARBARA
308 E HARRIET AVE                     ADDRESS ON FILE                     652 TREZEVANT ST
ALPINE, TX 79830                                                          ATWOOD, TN 38220




BURLISON, JENNIFER A.                 BURLSON, SUE A.                     BURMESTER, CATHERINE
ADDRESS ON FILE                       5945 RICHVILLE DR SW                5422 RICHFIELD ROAD
                                      NAVARRE, OH 44662                   RED BUD, IL 62278




BURNELIS, PAM                         BURNELL ODOM                        BURNELL, PAGE
9752 STONEGLEN DRIVE                  200 OLD WHISKEY RD NW               1326 N WASHINGTON ST
COLORADO SPRINGS, CO 80920            NEW ELLENTON, SC 29809              FORREST CITY, AR 72335




BURNER, MARY                          BURNETT MD, OTIS                    BURNETT SARAH R
1006 S. JACKSON ST                    106 MONCLAIR CIRCLE                 18539 W COUNTRY LN
HARRISBURG, IL 62946-2819             DURHAM, NC 27713                    GRAYSLAKE, IL 60030




BURNETT, ANA P.                       BURNETT, ANA                        BURNETT, CARL
ADDRESS ON FILE                       ADDRESS ON FILE                     101 W MAPLE ST
                                                                          BRINKLEY, AR 72021




BURNETT, GLENNELL                     BURNETT, JOHN E.                    BURNETT, MISTY C
P.O.BOX 253                           1424 LANTZ CT                       990 ROSELAND LN
OAK CITY, NC 27857                    EDWARDSVILLE, IL 62025              SOUTHSIDE, AL 35907




BURNETT, MISTY C                      BURNETT, RODNEY                     BURNETTE, CHRISTINA K.
ADDRESS ON FILE                       10211 HWY 32 N                      820 BUCK BRANCH ROAD
                                      ROPER, NC 67105                     MANSFIELD, TN 38236




BURNETTE, CODY A.                     BURNETTE, EVELYN J.                 BURNETTE, G E.
228 LICK BRANCH RD                    P.O. BOX 884                        ADDRESS ON FILE
FORT GAY, WV 25514                    COPPERHILL, TN 37317




BURNETTE, SHARON                      BURNETTE, SHARRON L.                BURNETTE, SHAWNA
ADDRESS ON FILE                       5 COUNTY ROAD 341                   P.O. BOX 498
                                      WYNNE, AR 72396                     FORT GAY, WV 25514




BURNETT-MOSS, KATRINA J.              BURNHAM EMILY S                     BURNHAM EMILY S
9516 S. VANDERPOEL AVE                292 BEAR FOOT DRIVE                 ADDRESS ON FILE
CHICAGO, IL 60643                     BLUE RIDGE, GA 30513
BURNHAM, STACIE         Case 20-10766-BLS
                                      BURNINE,Doc  6 D. Filed 04/07/20
                                               HOLLY                     Page BURNS
                                                                              252 ofLESLIE
                                                                                      1969 A
411 TRAYLOR STREET E                    120 BERTHA ST.                        611 DILLON OAKS DR
FYFFE, AL 35971                         MCKENZIE, TN 38201                    MURPHY, NC 28906




BURNS WHITE LLC                         BURNS WHITE LLC                       BURNS, ASHLYN
48 26TH ST                              716 WEST MAIN ST, STE 300             53 MEADOWBROOK CIRCLE
PITTSBURGH, PA 15222                    LOUISVILLE, KY 40202                  MARION, AR 72364




BURNS, BOBBY KYLE                       BURNS, COURTNEY L.                    BURNS, CYNTHIA A.
1390 W 10TH AVE                         ADDRESS ON FILE                       ADDRESS ON FILE
P.O. BOX 1415
SPRINGFIELD, OR 97477




BURNS, DYENICSHA S.                     BURNS, GARNER                         BURNS, JENNIFER
205 MAPLE DRIVE                         1102 CAROLINE CT                      1837 HWY 78 W
FRANKLIN, TN 37064                      LOGANVILLE, GA 30052                  MORO, AR 72368




BURNS, JESSICA N.                       BURNS, KAREE S.                       BURNS, KAREE
7538 GREENS MILL DR                     37149 WALLACE CREEK ROAD              1460 G STREET
LOGANVILLE, GA 30052                    SPRINGFIELD, OR 97478                 ATTN. ACCTS PAYABLE-JANE
                                                                              SPRINGFIELD, OR 97477




BURNS, KRISTEN M.                       BURNS, LYNDA                          BURNS, MARSHA
ADDRESS ON FILE                         2717 LAKEBRIDGE CT                    51 LEPERE CT
                                        MARYVILLE, IL 62062                   DUPO, IL 62239




BURNS, MARVIN B.                        BURNS, MCKENNA A.                     BURNS, PATRICIA A.
P.O. BOX 53                             37149 WALLACE CREEK ROAD              ADDRESS ON FILE
BLUE RIDGE, GA 30513                    SPRINGFIELD, OR 97478




BURNS, PATRICIA                         BURNS, PEGGY                          BURNS, RONALD
ADDRESS ON FILE                         2446 N MILLBORNE RD                   P.O. BOX 103
                                        WOOSTER, OH 44691-9539                MARIETTA, MS 38856




BURNS, STACY                            BURNS, SUSAN                          BURNS, TAMMY K.
ADDRESS ON FILE                         1831 FULLER RD                        270 ROCKHOUND RD. SW
                                        DYERSBURG, TN 38024                   DEMING, NM 88030




BURNSHICKS, DOROTHY                     BURNSIDE, LEWIS                       BURNSON, NANCY J.
16540 WOODLAWN WEST AVE                 832 COUNTRY CLUB                      2346 CLYDE TERRACE
SOUTH HOLLAND, IL 60473                 STANSBURY, UT 84074                   HOMEWOOD, IL 60430
BURRELL TARAH M         Case 20-10766-BLS
                                      BURRELL,Doc  6
                                               ALICIA       Filed 04/07/20   Page BURRELL,
                                                                                  253 of 1969
                                                                                           ALICIA
490 COPPERHEAD RD                       ADDRESS ON FILE                           2808 STANTONSBURG ROAD
BLAIRSVILLE, GA 30512                                                             APT 1D
                                                                                  GREENVILLE, NC 27834




BURRIS EQUIPMENT CO                     BURRIS, ANGELA M.                         BURRIS, ASHLEY
2216 N GREENBAY RD                      ADDRESS ON FILE                           715 HARVEL LANE
WAUKEGAN, IL 60087                                                                JONESBORO, IL 62952




BURRIS, DIANA L.                        BURRIS, DONALD                            BURRIS, LARRY
2513 DEVONSHIRE ROAD                    1050 S LEGRAND DR                         PO BOX 544
SPRINGFIELD, IL 62703                   GRANTSVILLE, UT 84029                     KEMMERER, WY 83101-0544




BURRIS, RUTH A.                         BURROW, JAMES                             BURROW, LAURA
3134 LAKE DR                            162 S HARTWELL AVE                        2198 DALLY TRL
MARINA, CA 93933                        WAUKESHA, WI 53186                        COVINGTON, GA 30014




BURROW, PATRICIA L.                     BURROWS, DWAYNE T.                        BURRTEC WASTE INDUSTRIES INC
204 N BAXTER ST                         ADDRESS ON FILE                           9890 CHERRY AVE
BRINKLEY, AR 72021                                                                FONTANA, CA 92335




BURRTEC WASTE INDUSTRIES INC            BURRUM, SHERRY L.                         BURRUS, ELAINE
P.O. BOX 6240                           9307 160TH STREET COURT EAST              508 MONTCLAIRE AVE
BUENA PARK, CA 90622-6240               PUYALLUP, WA 98375                        EDWARDSVILLE, IL 62025-0000




BURSETT, DENISE                         BURSEY & ASSOCIATES                       BURSICH KATHRYN N
3013 WILLOW BRANCH LANE                 6740 N ORACLE RD SUITE 151                3 EQUESTRIAN CT S
HERRIN, IL 62948                        TUCSON, AZ 85704                          GLEN CARBON, IL 62034




BURT KELLEY D                           BURT, CAROLYN                             BURT, JODY
64 SOLA CIRCLE NE                       ADDRESS ON FILE                           799 RODEO DRIVE
FORT PAYNE, AL 35967                                                              GRANTSVILLE, UT 84029




BURT, KRISTOPHER S.                     BURT, LAURA L.                            BURT, VALERIE C.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




BURT, WANDA                             BURTIN, DALENA                            BURTON & BURTON
ADDRESS ON FILE                         5532 HARRISON ST.                         325 CLEVELAND RD
                                        MERRILLVILLE, IN 46410                    BOGART, GA 30622
BURTON MURPHY, CINDY V. Case 20-10766-BLS
                                      BURTON,Doc   6 W.
                                               ANTHONY  Filed 04/07/20   Page BURTON,
                                                                              254 of BRIAN
                                                                                      1969W.
ADDRESS ON FILE                       38703 SHERIDAN RD 191                   ADDRESS ON FILE
                                      BEACH PARK, IL 60099




BURTON, CAROL                          BURTON, CATHERINE L.                   BURTON, CHRISTINA
6807 BOWKER DR.                        2434 FOX HOUND TRACE                   251 WARDS CHAPEL RD
STANSBURY PARK, UT 84074               MONROE, GA 30655                       GLEASON, TN 38229




BURTON, CRAIG M.                       BURTON, ELIZAH                         BURTON, JESSIE
84 GRASSY MEADOW LANE                  381 SFC 503                            217 WEST JACKSON APT 51
CARBONDALE, IL 62902                   WIDENER, AR 72394                      WEST MEMPHIS, AR 72301




BURTON, JOSEPH                         BURTON, JOSEPHINE A.                   BURTON, JUDY C.
183 MIMOSA ROAD                        ADDRESS ON FILE                        515 LONG IRON LN
LOUISA, KY 41230                                                              MESQUITE, NV 89027




BURTON, KELLY M.                       BURTON, KELLY M.                       BURTON, MAKAILEY
ADDRESS ON FILE                        ADDRESS ON FILE                        193 ARROWHEAD CIR
                                                                              EVANSTON, WY 82930




BURTON, MONIQUE                        BURTON, MONIQUE                        BURTON, RACHEL
105 RANDOLPH RD                        ADDRESS ON FILE                        151 ALICIA DRIVE
WASHINGTON, NC 27889                                                          WINDER, GA 30680




BURTON, RACHEL                         BURTON, RHONDA J.                      BURTON, SARA
ADDRESS ON FILE                        3104 BALD KNOB RD                      312 NELLIES RIDGE
                                       HOLLADAY, TN 38341                     VALMEYER, IL 62295




BURTON, SHERRY                         BURTON, SHERRY                         BURTON, TREY
1120 SUMMERSET DRIVE                   2291 US 64 WEST                        313 MARTY GRATEN CT
JAMESVILLE, NC 27846                   PLYMOUTH, NC 27962                     HAMEL, IL 62046




BURTON, WILSON                         BURTS, BRIAN                           BURWELL, BRIDGET J.
139 10TH ST                            1750 W BROADWAY TRLR2022               5989 EAST HOUSTON ROAD
RENOVO, PA 17764                       BLUE ISLAND, IL 60406                  WOODLAWN, IL 62864




BUSATTO, LORI                          BUSBY STORAGE UNITS                    BUSBY, KRISTY R.
919 W MAIN ST                          215 B EAST VIENNA ST                   ADDRESS ON FILE
WILLIAMSTON, NC 27892                  ANNA, IL 62906
BUSBY, LYNN Z.            Case 20-10766-BLS     Doc 6 R. Filed 04/07/20
                                        BUSBY, TAHSHIA                    Page BUSCEMI,
                                                                               255 of 1969
                                                                                        ANTHONY
17369 MEADOW DR.                          1406 AIRPARK RD                      14430 COUNTRY HOLLOW CT
BRIDGEVILLE, DE 19933                     WYNNE, AR 72396                      HESPERIA, CA 92344




BUSCEMI, M.D., MARIE A                    BUSCH, JANET L.                      BUSCH, STEVEN D.
ADDRESS ON FILE                           5100 S MAIN AVE APT D303             654 BRIAR DRIVE
                                          SPRINGFIELD, MO 65810                SYCAMORE, IL 60178




BUSCHE, THOMAS                            BUSCHMAN, GUY                        BUSER KIMBERLY
1300 COOS RIVER HWY                       4 RENWICK COURT                      P.O. BOX 14
COOS BAY, OR 97420                        SAN ANTONIO, TX 78218                VERGENNES, IL 62994




BUSEY BANK                                BUSH, AUBRIE                         BUSH, CORTNEY T.
ATTN: ALEX DOOLITTLE                      2548 16TH ST                         ADDRESS ON FILE
3502 MARYVILLE ROAD                       SPRINGFIELD, OR 97477
GRANITE CITY, IL 62040




BUSH, DEANA L.                            BUSH, DONNA                          BUSH, EUGENE N.
209 SUNSHINE DR                           ADDRESS ON FILE                      ADDRESS ON FILE
RIO, IL 61472




BUSH, GLEN L.                             BUSH, GRACE V.                       BUSH, HALEY
5782 GREEN RD                             P.O. BOX 748                         ADDRESS ON FILE
SOUTHSIDE, AL 35907                       CAMPTON, KY 41301




BUSH, JAIME N.                            BUSH, JENNIFER                       BUSH, LENORA A.
225 WATERMELON HILL RD                    ADDRESS ON FILE                      1933 HWY 3193
LOUISA, KY 41230                                                               JACKSON, KY 41339




BUSH, LISA                                BUSH, NICOLE G.                      BUSH, PAMELA
12528 TREE LINE DR                        2310 CR 49                           ADDRESS ON FILE
HIGHLAND, IL 62249                        SECTION, AL 35771




BUSH, PAMELA                              BUSH, RICHARD                        BUSH, SAMUEL
ADDRESS ON FILE                           P.O. BOX 2465                        1606 N GARLAND RD
                                          OVERTON, NV 89040-2465               MCKENZIE, AL 36456




BUSH, TAMMY                               BUSH, TRAYRICE                       BUSHELL, SHENETTE CORBIE
P.O. BOX 104                              903 GOVERNORS RD                     506 TALL OAKS EAST
MCKENZIE, AL 35456-0104                   WINDSOR, NC 27983                    MONROE, GA 30655
BUSHEY, CINDY            Case 20-10766-BLS
                                       BUSHUR,Doc 6 Filed 04/07/20
                                              JOSEPH                 Page BUSHWAY,
                                                                          256 of 1969
                                                                                   SUSAN
ADDRESS ON FILE                        509 DAKOTAH                        237 KORMAN N.E.
                                       ST JACOB, IL 62281-1569            MASSILLON, OH 44646




BUSIC RICHARD M                        BUSINESSOLVER.COM INC              BUSINESSOLVER.COM INC
6436 DOGWOOD ST                        1025 ASHWORTH RD 101               P.O. BOX 310411
SPRINGFIELD, OR 97478                  WEST DES MOINES, IA 50265          DES MOINES, IA 50331-0411




BUSKIRK, ANNA                          BUSKIRK, GENEVA M.                 BUSKIRK, VANESSA L.
P.O. BOX 303                           P.O. BOX 1                         17 BAKER AVE
PRESTONSBURG, KY 41353-0303            INEZ, KY 41224                     RUMA, IL 62278




BUSSE, SARAH                           BUSSEY LAURA S                     BUSSEY, JOYCE
1708 MEADOW LANE                       204 APPLE LANE                     1010 7TH AVE
EDWARDSVILLE, IL 62025                 ANNA, IL 62906                     AUGUSTA, GA 30901-4014




BUSTAMANTE, IRMA                       BUSTAMANTE, JOHN G.                BUSTAMANTE-PIROLI, ELIZABETH
3310 GAIL HWY                          ADDRESS ON FILE                    P.O. BOX 400086
BIG SPRING, TX 79720                                                      HESPERIA, CA 92340




BUSTER, EUNICE LILLIAN                 BUSTER, TRACI                      BUSTOS, MARY CHRISLYN Y.
1759 S ST                              ADDRESS ON FILE                    ADDRESS ON FILE
SPRINGFIELD, OR 97477




BUSY BEE PRINTING LLC                  BUSY BS CLEANING SERVICE           BUTCHER, MARCIA
334 WEST MAIN ST                       3928 COUNTY ROAD 94                49 SPRING BRANCH RD
HENDERSONVILLE, TN 37075               LOT 7                              WILLIAMSPORT, KY 41271
                                       FYFFE, AL 35971




BUTCHER, PAIGE L.                      BUTERICK, FRANCES P.               BUTLER & ASSOCIATES PA
ADDRESS ON FILE                        1075 E VICTORY DR                  3706 S TOPEKA BLVD
                                       LINDENHURST, IL 60046              SUITE 300
                                                                          TOPEKA, KS 66609




BUTLER COUNTY PROBATE JUDGE            BUTLER RHIT, TERESA T., CTR        BUTLER SUPPLY
700 COURT SQUARE 4                     2521 NEW HOPE RD                   P.O. BOX 17415
GREENVILLE, AL 36037                   HENDERSONVILLE, TN 37075           ST. LOUIS, MO 63178-7415




BUTLER, ALPHA (RENEE)                  BUTLER, ALPHA R.                   BUTLER, ALVIN
ADDRESS ON FILE                        ADDRESS ON FILE                    35 TANAGER DR
                                                                          DECATUR, IL 62526
BUTLER, ARIAH          Case 20-10766-BLS
                                     BUTLER, Doc
                                             BETSY6   Filed 04/07/20   Page BUTLER,
                                                                            257 ofBRIDGET
                                                                                    1969 A.
285 WEST MILLCREEK WAY               7019 REMMINGTON CT                     55 WINSTON AVE
TOOELE, UT 84075                     EDWARDSVILLE, IL 62025                 MCKENZIE, TN 38201




BUTLER, CATHERINE                     BUTLER, CHANTELLE                     BUTLER, CLAIR
5948 S ST RT 14                       301W TREE HOUSE LANE                  122 PRIMROSE LN
MCLEANSBORO, IL 62859                 ROUND LAKE, IL 60073                  HOWARD, PA 16841




BUTLER, CRYSTAL                       BUTLER, DESHIA                        BUTLER, EBONY N.
1310 COX RD                           435 CALVERT RD                        3544 COUNTY ROAD 106
MADISON, GA 30650                     FORREST CITY, AR 72335                MENTONE, AL 35984




BUTLER, ERNEST R.                     BUTLER, ESTILL                        BUTLER, IRIS E.
16642 PUMP HOUSE ROAD                 78 HADDIX CHURCH DRIVE                3119 MARYVILLE RD
TAMMS, IL 62988                       JACKSON, KY 41339                     GRANITE CITY, IL 62040




BUTLER, JADE T.                       BUTLER, JAMIE                         BUTLER, JOHNATHON C.
1014 CAMELOT COVE                     ADDRESS ON FILE                       ADDRESS ON FILE
WEST MEMPHIS, AR 72301




BUTLER, JOYCE A.                      BUTLER, KELVIN L.                     BUTLER, LAVETTE
ADDRESS ON FILE                       19 RIEGEL RD                          3140 BELLE ST
                                      JOHNSTON, SC 29832-2715               ALTON, IL 62002-4333




BUTLER, LINDA M.                      BUTLER, LISA                          BUTLER, LYNNSIE
ADDRESS ON FILE                       P.O. BOX 865                          22 MERRY LANE APT. A
                                      GRANTSVILLE, UT 84029                 GREENVILLE, NC 27858




BUTLER, MALLORY A.                    BUTLER, MARK M.                       BUTLER, NATALIE A.
ADDRESS ON FILE                       49 W 2100 N                           ADDRESS ON FILE
                                      TOOELE, UT 84074




BUTLER, NOELLE J.                     BUTLER, NOELLE                        BUTLER, OLENA I.
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




BUTLER, RICHARD E.                    BUTLER, TANISHA                       BUTLER, TOMMIE
125 SEA OAKS COURT                    ADDRESS ON FILE                       535 S 15TH ST
NOLENSVILLE, TN 37135                                                       WEST MEMPHIS, AR 72301
BUTLER, WENDA L.       Case 20-10766-BLS
                                     BUTLER, Doc  6 E. Filed 04/07/20
                                             WILLIAM                    Page BUTRUM,
                                                                             258 of CHARLETA
                                                                                     1969
419 E CHURCH ST                        P.O. BOX 4                            P.O. BOX 2184
LOCK HAVEN, PA 17745                   OAK CITY, NC 27857                    BIG SPRING, TX 79721




BUTT, ANAM                             BUTT, STEVEN MD                       BUTTARS GAYLON
241 SUPERIOR CIR                       ADDRESS ON FILE                       275 VALLEY VIEW DRIVE
BARTLETT, IL 60103                                                           TOOELE, UT 84074




BUTTRAM BRYLIE                         BUTTRY, PATRICK                       BUTTS SHANNEN
223 CAMP LANE                          695 CR 1100E                          2265 N ESSEX LN
FYFFE, AL 35971-2318                   NORRIS CITY, IL 62869                 ROUND LAKE BEACH, IL 60073




BUTTS, BAILIE E.                       BUTTS, JUTTA B.                       BUTTS, KARLA M.
ADDRESS ON FILE                        ADDRESS ON FILE                       ADDRESS ON FILE




BUTTS, LISA C                          BUTTS, NACY E.                        BUTTS, THOMAS
608 WOODVALLEY RD                      ADDRESS ON FILE                       505 VALLEY VIEW DR
GREENVILLE, AL 36037                                                         EDWARDSVILLE, IL 62025-3304




BUTUSOV, SPRING T.                     BUTZ, PHILLIP                         BUXTON, LINDA
2316 GRAYSTONE DR                      4795 STAGECOACH TRL SE                442 CRYSTAL CANYON DR
JOLIET, IL 60431                       DEMING, NM 88030                      MESQUITE, NV 89027




BUYERS DIRECT                          BUYERS DIRECT                         BUZA, MAUREEN J.
P.O. BOX 818                           PO BOX 818                            14616 MICHIGAN AVE
ELM CITY, NC 27822                     ELM CITY, NC 27822                    DOLTON, IL 60419




BUZAN, CARLA A.                        BUZAN, JESSICA                        BUZIANIS, JUSTIN SCOTT
ADDRESS ON FILE                        ADDRESS ON FILE                       1407 MIDDLE CANYON RD
                                                                             TOOELE, UT 84074




BW MAINTENANCE, INC                    BWANA LLC                             BWIRABUCIZA, KITUMAINI
P O BOX 1174                           1507 E 53RD ST                        208 TOWLER SHOALS DR
BENTON, IL 62812                       CHICAGO, IL 60615                     LOGANVILLE, GA 30052




BYARS, DORIS J.                        BYARS, MARCERALLO                     BYARS, MILDRED
P.O. BOX 843                           450 HIGHWAY 140 W                     11050 HIGHWAY 77
MARIANNA, AR 72360                     PURYEAR, TN 38251                     HUNTINGDON, TN 38344
                      Case 20-10766-BLS
BYASSEE MUSIC AND SOUND             BYASSEE, Doc  6
                                              LINDA       Filed 04/07/20   Page BYCHOWSKI,
                                                                                259 of 1969JOHN W.
521 W MAIN STREET                   517 S. COURT                                12109 W 33RD ST
MARION, IL 62959                    MARION, IL 62959                            BEACH PARK, IL 60099




BYER, GARY                            BYER, GARY                                BYER, LISA J.
113 SOUTH ST NW                       113 SOUTH ST NW                           2526 DUANE AVE NW
NAVARRE, OH 44662                     NAVARRE, OH 44662-1152                    MASSILLON, OH 44647




BYERLEY, DIANE M.                     BYERLY, ANGIE                             BYERLY, ERICH, M.D.
3115 FLINTLOCK COURT                  2811 MACAUSLAN ST                         2811 MACAUSLAN ST
DACULA, GA 30019                      BIG SPRING, TX 79720                      BIG SPRING, TX 79720




BYERLY, LEE E.                        BYERS DAN                                 BYERS DANIEL
2811 MACAUSLAN                        940 105TH AVE                             940 105TH AVE
BIG SPRING, TX 79720                  BERWICK, IL 61417                         BERWICK, IL 61417




BYERS, BETTY                          BYERS, DAN                                BYERS, JAQUITA
P.O. BOX 1474                         940 105TH AVE                             484 VALLEY VIEW CIR
LYMAN, WY 82937                       BERWICK, IL 61417                         MESQUITE, NV 89027-3111




BYERS, KELLY R.                       BYERS, ROBERT                             BYFIELD, M.D., CLYDE E.
13 E DAYTON AVE                       P.O. BOX 1474                             ADDRESS ON FILE
HARRISBURG, IL 62946                  LYMAN, WY 82937




BYFORD, CHRISTINE                     BYLINE FINANCIAL                          BYLYKBASHI, BRISILDA
12607 GREENWOOD AVE                   BIN 88205                                 ADDRESS ON FILE
BLUE ISLAND, IL 60406                 MILWAUKEE, WI 53288




BYNUM, JAMES VANCE                    BYNUM, JESSICA                            BYNUM, REGENA
405 COUNTY ROAD 551                   204 COLLEGE ST                            405 COUNTY RD 551
GROVEOAK, AL 35975                    VIENNA, IL 62995                          GROVEOAK, AL 35975-4846




BYRAM, DEIDRE                         BYRANT HOLLINGSWORTH                      BYRD, ALLASICA
94 PORTER ROAD                        172 BLACKBERRY HILL CIR                   424 COAHOMA AVENUE
TRENTON, GA 30752                     LEXINGTON, TN 38351                       CLARKSDALE, MS 38614




BYRD, ANTIONETTE                      BYRD, BRENT                               BYRD, CHARLES S.
ADDRESS ON FILE                       905 NORTH AVE N. E.                       2104 PRESTWOOD AVE NW
                                      MASSILLON, OH 44646                       FORT PAYNE, AL 35967-3477
BYRD, HAROLD              Case 20-10766-BLS     Doc 6
                                        BYRD, JAMIE         Filed 04/07/20   Page BYRD,
                                                                                  260 of   1969
                                                                                        JENNIFER
16782 HIGHWAY 121 S                      570 CABIN TRAIL                          1525 FISCHER ROAD
MARIANNA, AR 72360                       BLUE RIDGE, GA 30513                     FORT PAYNE, AL 35967




BYRD, JOEL K.                            BYRD, LATOYA                             BYRD, NELLIE
3985 HWY 104 N                           502 GRAND AVENUE                         1629 VASCO ADCOCK RD
CEDAR GROVE, TN 38321                    HELENA, AR 72342                         MONROE, GA 30655




BYRD, RACHEL R.                          BYRD-WATSON DRUG                         BYRNE, DONNA M., M.D.
11870 TRITTS ST NW P.O. BOX 535          P.O. BOX 1179                            ADDRESS ON FILE
CANAL FULTON, OH 44614                   MT. VERNON, IL 62864




BYRNE-GILBO, MARY LYNN                   BYRNES, WILLIAM                          BYRON MABES
2420 W 113TH STREET                      10812 S KENNETH AVE                      ADDRESS ON FILE
CHICAGO, IL 60655                        OAK LAWN, IL 60453




BYRUM, CONNIE                            BYRUM, JANET                             BYRUM, MARGARET SQUIRES
6231 TAMMY LITTLE DRIVE                  4455 COUNTY RD 121                       1762 FT BRANCH RD
SECTION, AL 35771                        FORT PAYNE, AL 35968-5129                OAK CITY, NC 27857




BYRUM, NEKESHIA                          BYRUM, ROBYN                             BYSTRACK, LAUREN E.
514 CAIN AVENUE                          744 BROWN STREET                         306 PAMLICO DR
RAINSVILLE, AL 35986                     FYFFE, AL 35971                          WASHINGTON, NC 27889




BYTHEWAY, MINDY N.                       C & B LIFT TRUCK SERVICES                C & C DOORS, LLC
317 TRAPPERS POND CT.                    6250 KNOX IND. DRIVE                     P.O. BOX 23
TOOELE, UT 84074                         ST LOUIS, MO 63139                       WINFIELD, WV 25213




C & C LOCKSMITH                          C & C QUALITY PRINTING                   C & C RENTALS, INC.
516 N 4TH ST                             4636 GRAVOIS RD                          1599 AIRPORT ROAD W.
WEST HELENA, AR 72390                    ST. LOUIS, MO 63116                      FORT PAYNE, AL 35968




C & C TECHTRONICS                        C & O HOSPITAL                           C AND C PUMPS & SUPPLY
1356 DUNLEITH DR 303                     511 MAIN STREET 2ND FLOOR                P.O. BOX 308
MEMPHIS, TN 38103                        CLIFTON FORGE, VA 24422-1166             13085 RT 37
                                                                                  MARION, IL 62959




C AND H DISCOUNT DRUGS                   C DOWELL, SAMUEL                         C GLENNON RAU TRUST
1916 GAULT AVENUE NORTH                  236 23RD ST NW                           1312 FIELDCREST DR
FT PAYNE, AL 35967                       CANTON, OH 44709                         RED BUD, IL 62278
C HEIDY, BARBARA         Case 20-10766-BLS     Doc 6
                                       C J ERICKSON      Filed 04/07/20   Page C261 of 1969
                                                                                 LOMAX, JULIE
4809 CHOCTAW TRL NW                     4141 W 124TH PLACE                     2057 MOSSY OAK CIRCLE
ALBUQUERQUE, NM 87120                   ALSIP, IL 60803                        CLARKSVILLE, TN 37043-0000




C LUNG, ROBERT                          C R BARD - BARD ACCESS SYSTEMS         C R BARD - BARD PERIPHERAL VAS
5106 SUMMITVIEW CR NW                   P.O. BOX 75767                         P.O. BOX 75767
CANTON, OH 44708                        CHARLOTTE, NC 28275                    CHARLOTTE, NC 28275




C R BARD INC                            C R BARD PERIPHERAL VASC               C R BARD
P.O. BOX 75767                          P.O. BOX 75767                         DAVOL
CHARLOTTE, NC 28275                     CHARLOTTE, NC 28275                    P.O. BOX 75767
                                                                               CHARLOTTE, NC 28275




C R BARD, INC (BARD ACCESS)             C R BARD, INC                          C R BARD, INC.
P O BOX 75767                           P.O. BOX 75767                         MICHAEL CURTIS
CHARLOTTE, NC 28275-5767                CHARLOTTE, NC 28275                    NATIONAL ACCOUNT EXECUTIVE
                                                                               4308 W 66TH STREET
                                                                               PRAIRIE VILLAGE, KS 66208



C R BARD, INC.                          C T CORPORATION SYSTEM                 C&B LINEN
P.O. BOX 75767                          P.O. BOX 4349                          P.O. BOX 478
CHARLOTTE, NC 28275-5767                CAROL STREAM, IL 60197-4349            WAYNESBORO, TN 38485




C&L CLEANING SERVICE                    C. R. BARD MEDICAL/UROLOGICAL          C.R. BARD (DAVOL)
P.O. BOX 624                            P.O. BOX 75767                         P.O. BOX 75767
GALESBURG, IL 61401                     CHARLOTTE, NC 28275                    CHARLOTTE, NC 28275




C.R. BARD INC                           C.R. BARD INC                          C.R. BARD INC. MED DIVISION
P O BOX 75767                           P.O. BOX 75767                         P.O. BOX 75767
CHARLOTTE, NC 28275                     CHARLOTTE, NC 28275                    CHARLOTTE, NC 28275




C.R. BARD INC.                          C.R. BARD PERIPHERAL VASCULAR          C.R. BARD
P.O. BOX 75767                          P.O. BOX 75767                         BARD MEDICAL DIVISION
CHARLOTTE, NC 28275                     CHARLOTTE, NC 28275                    PO BOX 75767
                                                                               CHARLOTTE, NC 28275




C.R. BARD, INC                          C.R. BARD, INC.                        C.R. BARD, UROLOGICAL
P.O. BOX 75767                          P.O. BOX 75767                         P.O. BOX 75767
CHARLOTTE, NC 28275                     CHARLOTTE, NC 28275                    CHARLOTTE, NC 28275




C.SIMON, RUSSELL                        CA DEPARTMENT OF INDUSTRIAL            CA DEPARTMENT OF PUBLIC HEALTH LAB
P O BOX 2199                            RELATIONS                              FIELD SERVICES
MEMPHIS, TN 38101-2199                  DIVISION OF LABOR STANDARDS            850 MARINA RAY PKWY BLDG P
                                        ENFORCEMENT                            1ST FLOOR
                                        2031 HOWE AVENUE, SUITE 100            RICHMOND, CA 94804-6403
                                        SACRAMENTO, CA 95825
CA DEPARTMENT OF PUBLICCase  20-10766-BLS
                        HEALTH        CA DEPT Doc   6 Filed
                                               OF PUBLIC HEALTH04/07/20    Page CA
                                                                                262  of 1969
                                                                                   STATE BOARD OF PHARMACY
850 MARINA BAY PARKWAY                GENETIC DISEASE BRANCH                    1625 N. MARKET BLVD N219
BLDG P 1ST FLOOR                      P.O. BOX 2516                             SACRAMENTO, CA 95834
RICHMOND, CA 94804-6403               EL CERRITO, CA 94530-3651




CA STATE DISBURSEMENT UNIT             CA. DEPT OF TOXIC SUBSTANCES CTRL        CAAHEP
P.O. BOX 989067                        1001 "I" ST                              25400 US HIGHWAY 19 NORTH
WEST SACRAMENTO, CA 95798-9067         P.O. BOX 806                             SUITE 158
                                       SACRAMENTO, CA 95814-2828                CLEARWATER, FL 33756




CABALLERO NORMA                        CABALLERO, JUAN                          CABALLERO, LUCIO L
DBA PRINT WORKZ                        3710 PACIFIC ST.                         P O BOX 788
1416 S SANTA MONICA ST                 NORTH BEND, OR 97459                     DEMING, NM 88031
DEMING, NM 88030




CABALLERO, NORMA                       CABALLO, MARYANN                         CABANAS, REBECCA
1416 SANTA MONICA                      7960 W SEQUOIA CT                        ADDRESS ON FILE
DEMING, NM 88030                       ORLAND PARK, IL 60462




CABARRUBIA, AURORA V.                  CABARRUS, KIM                            CABELL, LORETTA
ADDRESS ON FILE                        221 HORTONTOWN RD                        12324 S BENCK DR
                                       ROPER, NC 27970                          APT 203
                                                                                ALSIP, IL 60803




CABINET FOR HEALTH & FAMILY SERVICES   CABLE, JOHN M.                           CABLES & SENSORS
DEPT FOR MEDICAID SERVICES             2084 HARDSCRABBLE RD                     5874 S SEMORAN BLVD
275 EAST MAIN STREET 6C-B              MINERAL BLUFF, GA 30559                  ORLANDA, FL 32822
FRANKFORT, KY 40621




CABLES & SENSORS, LLC                  CABOT, MARIA M.                          CABOTAJE, CATHERINE M.
5874 S SEMORAN BLVD                    14 LA JOLLA ST                           ADDRESS ON FILE
ORLANDO, FL 32822-0000                 WATSONVILLE, CA 95076




CABRAL, SUSAN                          CABRALES, ORALIA                         CABRERA, ELVIA B.
110 PAULINE DR.                        9934 S. COMMERCIAL AVE                   130 FUCHSIA DR.
WATSONVILLE, CA 95076                  CHICAGO, IL 60617                        FREEDOM, CA 95019




CABRERA, FRANCHESCA                    CABRERA, JOHN N.                         CABRERA, JOSEPHA NINA F.
ADDRESS ON FILE                        3502 SPYGLASS CIRCLE                     521 W BRIAR PLACE APT 512
                                       PALOS HEIGHTS, IL 60463                  CHICAGO, IL 60657




CABRERA, JULIA                         CABRERA, JULIA                           CABRERA, MARIA E.
14553 KILDARE AVE                      14716 KARLOV AVE. UNIT 2                 10 VALDEZ LANE
MIDLOTHIAN, IL 60445                   MIDLOTHIAN, IL 60445                     WATSONVILLE, CA 95076
CABRERA, MARTHA C.         Case 20-10766-BLS    Doc
                                         CABRIELES,   6 Filed 04/07/20
                                                    BRIZA                 Page CABUAY,
                                                                               263 of GEMMA
                                                                                       1969 R.
2007 S LEAD ST                            1145 JACKSON ST                      ADDRESS ON FILE
DEMING, NM 88030                          NORTH CHICAGO, IL 60064




CACHE VALLEY ELECTRIC COMPANY             CACHE VALLEY ELECTRIC COMPANY        CACTUS CAFE LLC
12550 SW 68TH AVE                         875 NORTH 1000 WEST                  218 WEST CEDAR
PORTLAND, OR 97223                        LOGAN, UT 84321                      DEMING, NM 88030




CADE HENDERSON, JAMES D.                  CADE, CRAIG                          CADET LEADERSHIP & EDUCATION
777 HAYNES ROAD                           NM 87701-0000                        2665 HWY 30 WEST
ALTOONA, AL 35952-0000                                                         JACKSON, KY 41339




CADILLAC COFFEE COMPANY                   CADWELL LABORATORIES INC.            CADY-HUBER, MELISSA A.
7221 INNOVATION BLVD                      909 NORTH KELLOGG STREET             ADDRESS ON FILE
FORT WAYNE, IL 46818                      KENNEWICK, WA 99336




CAESAR, CHARLES                           CAESAR, CHARLES                      CAFARELLI, MIKE
526 LEGACY DR                             526 LEGACY DRIVE                     235 E COUNTRY HAVEN LN
WATERLOO, IL 62298                        WATERLOO, IL 62298                   GRANTSVILLE, UT 84029




CAFE, ROBERT PAUL                         CAFFEY, CORA                         CAFFEY, MARQUETO
1008 DOVER CT                             1600 JACKSON ST                      ADDRESS ON FILE
GURNEE, IL 60031                          NORTH CHICAGO, IL 60064




CAFFROY, CHANDRA                          CAGAMPANG, MARIA LOURDES D.          CAGLE, ADAM
P.O. BOX 515                              1855 8TH ST APT 11                   468 N BROAD ST
ANCHOR POINT, AK 99556-0515               LAS VEGAS, NM 87701                  LEXINGTON, TN 38351




CAGLE, DONNA                              CAGLE, JASON P.                      CAGLE, JEREMY
468 N BROAD ST                            ADDRESS ON FILE                      ADDRESS ON FILE
LEXINGTON, TN 38351-1678




CAGLE, MELISSA                            CAGLE, SHANE G.                      CAGUITLA, KEVIN B.
284 S CHEROKEE RD                         ADDRESS ON FILE                      ADDRESS ON FILE
SOCIAL CIRCLE, GA 30025




CAHABA MEDICARE PART A                    CAHABA MEDICARE PART B               CAHILL HEATING, A/C, ELECTRIC
P.O. BOX 7247                             P.O. BOX 7247                        28983 HERKY DR
LOCKBOX 6028                              LOCKBOX 6029                         LAKE BLUFF, IL 60044
PHILADELPHIA, PA 19170-6029               PHILADELPHIA, PA 19170-6029
CAHILL, CHRIS           Case 20-10766-BLS     Doc 6 Filed
                                      CAHILL, CHRISTOPHER L. 04/07/20   Page CAHILL,
                                                                             264 ofJAMES
                                                                                     1969
5453 OLD NATCHEZ TRACE                ADDRESS ON FILE                        1242 WEST MAIN ST
PRIMM SPRINGS, TN 38476                                                      GALESBURG, IL 61401




CAHILL, VIRDEN A.                     CAHOON, KENNETH                        CAHOON, TONYA R.
15 TULIP COURT                        ADDRESS ON FILE                        24369 NC HIGHWAY 32 N
GRANITE CITY, IL 62040                                                       PLYMOUTH, NC 27962




CAILA, TAYLOR                         CAILTEAUX, JOANN                       CAIN, ALLISA
7810 NW 79TH PL                       4576 DUTCH HALE RD                     258 CANEY CREEK RD
KANSAS CITY, MO 64152                 CLAY CITY, IL 62824                    MURPHY, NC 28906-8860




CAIN, AMY L.                          CAIN, BARBARA M.                       CAIN, DELORES
ADDRESS ON FILE                       ADDRESS ON FILE                        2718 TENNYSON PL
                                                                             HAZEL CREST, IL 60429




CAIN, HANNAH                          CAIN, HEATHER A.                       CAIN, JOHN W.
ADDRESS ON FILE                       1601 WEST COPELAND STREET              9750 CRESCENT PARK CIRCLE UNIT 523
                                      MARION, IL 62959                       ORLAND PARK, IL 60462




CAIN, JOHN W.                         CAIN, LARRY R.                         CAIN, MARY A.
ADDRESS ON FILE                       402 WEST FAYETTE                       3215 23RD STREET N.W.
                                      PATOKA, IL 62875                       CANTON, OH 44708




CAIN, MISTY                           CAIN, RACHEL L.                        CAINE & WEINER
9644 COLTON RD                        165 24TH ST NW                         P O BOX 5010
WINDHAM, OH 44288-9567                MASSILLON, OH 44647                    WOODLAND HILLS, CA 91365-5010




CAINE & WEINER                        CAINE & WEINER                         CAINES, TIFFANY P.
P.O. BOX 55848                        P.O. BOX 55848                         ADDRESS ON FILE
SHERMAN OAK, CA 91413-0848            SHERMAN OAKS, CA 91413




CAINES, TIFFANY                       CAIRS                                  CAITLIN MUELLER
ADDRESS ON FILE                       4801 SOUTHWICK DRIVE                   100 BURNS FARM BLVD
                                      SUITE 610                              EDWARDSVILLE, IL 62025
                                      MATTESON, IL 60443




CAITLIN VAN ABBEMMA                   CAITLYN WALDEN                         CAJERO, LUIS
ADDRESS ON FILE                       460 N 10TH STREET                      13023 MAPLE AVE
                                      HARRISBURG, OR 97446-9519              BLUE ISLAND, IL 60406
CAJUN EXPRESS              Case 20-10766-BLS    Doc
                                         CAL COAST   6 FiledINSTRUMENTS
                                                   OPHTHALMIC 04/07/20 Page CALABRETTA
                                                                            265 of 1969BELINDA
5082 HWY 78N                              527 VAN NESS AVE                   901 RIDGEWAY CHURCH RD
WHEATLEY, AR 72392                        TORRANCE, CA 90501                 ELLIJAY, GA 30540




CALABRETTA, SHIRLINA                      CALABRO-PAYNE, ANTONIA             CALAHAN, AMBER R.
209 COUNTRY HILL DRIVE                    453 CLEAR CREEK RD                 ADDRESS ON FILE
MARION, AR 72364                          ELLIJAY, GA 30536




CALAI, BETTY                              CALAIS REGIONAL HOSPITAL           CALANCHI, ANDREW
3140 WATTOVA RD NW                        24 HOSPITAL LANE                   1700 4TH ST NE
MASSILLON, OH 44646-3077                  CALAIS, ME 04619-1329              DEMING, NM 88030




CALANDRO, BRITTNEY N.                     CALANDRO, KAYLA R.                 CALAWAY, TANYA
ADDRESS ON FILE                           ADDRESS ON FILE                    ADDRESS ON FILE




CALAWAY, TONYA S.                         CALDERA MEDICAL INC                CALDERA MEDICAL
ADDRESS ON FILE                           5171 CLARETON DR                   5171 CLARETON DRIVE
                                          AGOURA HILLS, CA 91301-4523        AGOURA HILLS, CA 91301




CALDERON ROSARIO                          CALDERON, ANTONIO J.               CALDERON, DORA A.
131 NAUTICAL DR                           717 HAFEN LN UNIT 7C               1615 ARRINGTON DR
STANSBURY PARK, UT 84074                  MESQUITE, NV 89027                 NORTH CHICAGO, IL 60064




CALDERON, GRACIELA                        CALDONIA SMITH                     CALDWELL ANNE M
ADDRESS ON FILE                           10737 S UNION                      805 FAIRWAY RD NW
                                          CHICAGO, IL 60628                  FORT PAYNE, AL 35967




CALDWELL COUNTY HOSPITAL                  CALDWELL FIRE DEPT                 CALDWELL IV, WILLIAM S.
100 MEDICAL CENTER DRIVE                  P O BOX 139                        3520 HERBERT DRIVE
P.O. BOX 410                              CALDWELL, AR 72322-0193            FRANKLIN, TN 37067
PRINCETON, KY 42445




CALDWELL IV, WILLIAM S.                   CALDWELL ROOF RESTORATION INC      CALDWELL, ANNA M.
ADDRESS ON FILE                           8435 SW 52 AVE                     1746 MASHFORK RD
                                          PORTLAND, OR 97219                 SALYERSVILLE, KY 41465




CALDWELL, ARTHUR                          CALDWELL, BRENDA                   CALDWELL, ERIN M.
1854 GARY RD                              ADDRESS ON FILE                    ADDRESS ON FILE
CHESANING, MI 48616
CALDWELL, ERIN              Case 20-10766-BLS   Doc
                                          CALDWELL,   6 Filed 04/07/20
                                                    JEANNA                 Page CALDWELL,
                                                                                266 of 1969
                                                                                          JOHN W.
ADDRESS ON FILE                           P.O. BOX 2214                         1578 COUNTY ROAD 103
                                          HAZARD, KY 41702                      EVANSTON, WY 82930-9052




CALDWELL, KENNEDY                         CALDWELL, MARITA G.                   CALDWELL, RICKY D.
46 DAVE KENNEDY LN                        ADDRESS ON FILE                       ADDRESS ON FILE
CAMDEN, AL 36726




CALDWELL, SUSAN                           CALDWELL, TERRENCE                    CALDWELL, TORI
1905 EUBANKS RD                           403 JACKSON AVE NE                    P.O. BOX 154
BIG SPRING, TX 79720-0000                 BREWSTER, OH 44613-1119               DELLROY, OH 44620




CALDWELL, WILLIAM                         CALDWELL, WILLIAM                     CALDWELL, WILLIAM
ADDRESS ON FILE                           ADDRESS ON FILE                       ADDRESS ON FILE




CALE WEBER                                CALEB ARNOLD                          CALEB NEWELL
1943 DUKE ST                              1331 OSAGE ST                         520 NEWMAN ST
EDWARDSVILLE, IL 62025                    WYNNE, AR 72396                       KNOXVILLE, IL 61448




CALEB OREAR - ICEO                        CALESS, SARA Y.                       CALHOON, KENNETH W
ALTA VISTA REGIONAL HOSPITAL              ADDRESS ON FILE                       ADDRESS ON FILE
104 LEGION DR
LAS VEGAS, NM 87701




CALHOUN, COLETTE                          CALHOUN, JESSYKA                      CALHOUN, MARC
179 ALLEN ROAD                            ADDRESS ON FILE                       4039 W 127ST ST
COPPERHILL, TN 37317                                                            APT 8
                                                                                ALSIP, IL 60803-1954




CALHOUN, SUZANNE                          CALIBOSO, TINA L.                     CALIBOSO, TINA
2198 MASHVILLE RD                         3488 DAWSON RD                        14695 KING CANYON RD
GREENVILLE, AL 36037-6459                 SEDALIA, CO 80135                     VICITORVILLE, CA 92392




CALICA, CONNIE                            CALICUTT, ASHLEY                      CALIF. STATE DISBURSEMENT UNIT
ADDRESS ON FILE                           4200 THE WOODS DR APT 401             P.O. BOX 989067
                                          SAN JOSE, CA 95136                    WEST SACRAMENTO, CA 95798-9067




CALIFORNIA AIR RESOURCES BOARD            CALIFORNIA AIR RESOURCES BOARD        CALIFORNIA ANESTHESIA PROVIDERS, A
1001 "I" ST                               1001 "I" ST                           MEDICAL CORP
P.O. BOX 2815                             P.O. BOX 2815                         7032 COLLECTION CENTER DRIVE
SACRAMENTO, CA 95812                      SACRAMENTO, CA 95814                  CHICAGO, IL 60693
                       Case 20-10766-BLS
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                                                 BOARD       04/07/20
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                                                                               267 of 1969CHAMBER OF COMMERCE
450 N ST                             NURSING                                   P.O. BOX 537016
P.O. BOX 942879                      P.O. BOX 944210                           SACRAMENTO, CA 95853-7016
SACRAMENTO, CA 95814                 SACRAMENTO, CA 94244-2100




CALIFORNIA DEPARTMENT CONSUMER        CALIFORNIA DEPARTMENT OF HEALTH          CALIFORNIA DEPARTMENT OF HEALTH
AFFAIRS                               CARE SERVICES                            CARE SERVICES
CONSUMER INFORMATION DIVISION         ACCTG SECTION UNIT-MAIL STOP 1101        PROVIDER ENROLLMENT DIVISION
1625 N MARKET BLVD STE N 112          1501 CAPITOL AVE - STE 71.2048           P.O. BOX 997412, MS 4704
SACRAMENTO, CA 95834                  SACRAMENTO, CA 95814-5005                SACRAMENTO, CA 95899-7412



CALIFORNIA DEPARTMENT OF              CALIFORNIA DEPARTMENT OF PUBLIC          CALIFORNIA DEPARTMENT OF PUBLIC
HEALTHCARE SERVICES                   HEALTH                                   HEALTH
ATTN: JENNIFER KENT, DIRECTOR         1615 CAPITOL AVENUE, MS 0503             ATTN: DONNA MCCALLUM
DEPARTMENT OF HEALTH SERVICES         SACRAMENTO, CA 95814                     LABORATORY FIELD SERVICES BRANCH
P.O. BOX 997413, MS 0000                                                       FACILITY LICENSING SECTION
SACRAMENTO, CA 95899-7413                                                      850 MARINA BAY PARKWAY BLDG P, 1ST
                                                                               FLOOR
                                                                               RICHMOND, CA 94804

CALIFORNIA DEPARTMENT OF PUBLIC       CALIFORNIA DEPARTMENT OF PUBLIC          CALIFORNIA DEPARTMENT OF PUBLIC
HEALTH                                HEALTH                                   HEALTH
LICENSING AND CERTIFICATION           P.O. BOX 997377, MS 0500                 RADIOLOGIC HEALTH BRANCH
P.O. BOX 997377, MS 3000              SACRAMENTO, CA 95899-7377                LICENSING SECTION
SACRAMENTO, CA 95899-7377                                                      P.O. BOX 997414, M.S. 7610
                                                                               SACRAMENTO, CA 95899-7414

CALIFORNIA DEPARTMENT OF PUBLIC       CALIFORNIA DEPT OF CONSERVATION          CALIFORNIA DEPT OF HEALTH SRV
HEALTH                                801 K ST, MS 24-01                       RADIOLOGIC HLTH BRNCH
RADIOLOGIC HEALTH BRANCH              SACRAMENTO, CA 95814                     P.O. BOX 997414
REGISTRATION UNIT, MAMMOGRAPHY                                                 SACRAMENTO, CA 95899-7414
CERTIFICATION PROGRAM
P.O. BOX 997414, MS 7610
SACRAMENTO, CA 95899-7414

CALIFORNIA DEPT OF TAX AND FEE        CALIFORNIA DEPT OF WATER RESOURCES       CALIFORNIA DEPT OF WATER RESOURCES
ADMINISTRATION                        1416 9TH ST                              P.O. BOX 94236
P.O. BOX 942879                       SACRAMENTO, CA 95814                     SACRAMENTO, CA 94236
SACRAMENTO, CA 94279-0001




CALIFORNIA ENVIRONMENTAL PROTECTION   CALIFORNIA FIRST NATIONAL BANK           CALIFORNIA FRANCHISE TAX BOARD
AGENCY                                28 EXECUTIVE PARK                        121 SPEAR ST
1001 I ST                             IRVINE, CA 92614                         STE 400
P.O. BOX 2815                                                                  SAN FRANCISCO, CA 94105-1584
SACRAMENTO, CA 95812-2815



CALIFORNIA FRANCHISE TAX BOARD        CALIFORNIA FRANCHISE TAX BOARD           CALIFORNIA FRANCHISE TAX BOARD
1515 CLAY ST                          300 S SPRING ST                          3321 POWER INN RD
STE 305                               STE 5704                                 STE 250
OAKLAND, CA 94612-1445                LOS ANGELES, CA 90013-1265               SACRAMENTO, CA 95826-3893




CALIFORNIA FRANCHISE TAX BOARD        CALIFORNIA FRANCHISE TAX BOARD           CALIFORNIA FRANCHISE TAX BOARD
600 W SANTA ANA BLVD                  7575 METROPOLITAN DR                     BANKRUPTCY SECTION MS A340
STE 300                               STE 201                                  P.O. BOX 2952
SANTA ANA, CA 92701-4543              SAN DIEGO, CA 92108-4421                 SACRAMENTO, CA 95812-2952




CALIFORNIA FRANCHISE TAX BOARD        CALIFORNIA FRANCHISE TAX BOARD           CALIFORNIA HEALTH FOUNDATION & TRUST
P.O. BOX 942840                       P.O. BOX 942867                          1215 K ST - STE 800
SACRAMENTO, CA 94240-0002             SACRAMENTO, CA 94257                     SACRAMENTO, CA 95814
                          CaseAND
CALIFORNIA HEALTH FOUNDATION   20-10766-BLS
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TRUST                                   BOARD                                    155 GRAND AVE, STE 100
FIVE STAR BANK                          1001 I ST                                STE 1100
6810 FIVE STAR BLVD, SUITE 100          P.O. BOX 4025                            OAKLAND, CA 94612
ROCKLIN, CA 95677                       SACRAMENTO, CA 95812-4025



CALIFORNIA NURSES ASSOCIATION          CALIFORNIA NURSES ASSOCIATION             CALIFORNIA NURSES ASSOCIATION
225 WEST BROADWAY, 3500                2700 ATLANTIC AVE                         8455 COLESVILLE RD
GLENDALE, CA 91204                     LONG BEACH, CA 90806                      SUITE 1100
                                                                                 SILVER SPRING, MD 20910




CALIFORNIA NURSES ASSOCIATION          CALIFORNIA NURSES ASSOCIATION             CALIFORNIA NURSES ASSOCIATION
980 9TH ST, STE 700                    NNOC / NNU                                NNU
SACRAMENTO, CA 95814                   850 W JACKSON BLVD                        8455 COLESVILL RD, STE 1100
                                       STE 750                                   SILVER SPRING, MD 20910
                                       CHICAGO, IL 60607



CALIFORNIA NURSES ASSOCIATION          CALIFORNIA OCCUPATIONAL SAFETY AND        CALIFORNIA QUALITY PLASTICS, INC.
SOUTHERN UNITED NURSES (SUN)           HEALTH ADMINISTRATION                     2226 CASTLE HARBOUR PLACE SOUTH
P.O. BOX 4007                          1515 CLAY STREET, SUITE 1901              ONTARIO, CA 91761
LOUISVILLE, KY 40204-2044              OAKLAND, CA 94612




CALIFORNIA SECRETARY OF STATE          CALIFORNIA SECRETARY OF STATE             CALIFORNIA STATE BOARD OF PHARMACY
1500 11TH ST                           P.O. BOX 5616                             1625 NORTH MARKET BOULEVARD, SUITE
SACRAMENTO, CA 95814                   MONTGOMERY, AL 36103-5616                 N219
                                                                                 SACRAMENTO, CA 95834




CALIFORNIA STATE BOARD OF PHARMACY     CALIFORNIA STATE COMPTROLLER              CALIFORNIA STATE CONTROLLER
2720 GATEWAY OAKS DR, STE 100          UNCLAIMED PROPERTY DIVISION               10600 WHITE ROCK RD, STE 141
SACRAMENTO, CA 95833                   P.O. BOX 942850                           RANCHO CORDOVA, CA 95670
                                       SACRAMENTO, CA 94250-5873




CALIFORNIA STATE CONTROLLER            CALIFORNIA STATE DEPARTMENT OF            CALIFORNIA TECHNICAL EMPLOYEES’
ATTN: BETTY T. YEE, CALIFORNIA STATE   HEALTH CARE SERVICE                       COALITION
CONTROLLER                             1501 CAPITOL AVE - STE 71.2048
CALIFORNIA STATE CONTROLLERS OFFICE    HQAF-CASHIER UNIT MAILSTOP 1101
UNCLAIMED PROPERTY DIVISION            SACRAMENTO, CA 95814-5005
P.O. BOX 942850,
SACRAMENTO, CA 94250-5873

CALIMAN II, ALLAN J.                   CALL, JAN                                 CALL, JR, RICHARD H.
9901 SPAULDING AVE                     1379 EAST 1710 SOUTH                      271 SHIELDS RD
EVERGREEN PARK, IL 60805               ST. GEORGE, UT 84790                      MINERAL BLUFF, GA 30559




CALL, KATRINA T.                       CALL, NATALIE                             CALLADITTO, KIMBERLEE R.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




CALLAHAN CAROL                         CALLAHAN, ANNETTE B.                      CALLAHAN, BRIAN
906 HADLEY                             200 13TH STREET SW                        476 CHESTNUT GAP LANE
COLLINSVILLE, IL 62234                 FORT PAYNE, AL 35967                      BLUE RIDGE, GA 30513
CALLAHAN, CATHERINE      Case 20-10766-BLS    Doc
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                                                                             269 of 1969
                                                                                       LORA
ADDRESS ON FILE                        1446 RIVER FALLS VIEW                 1365 SPRUCE STREET 104
                                       MONROE, GA 30655                      FLORENCE, OR 97439




CALLAN, PEGGY A.                       CALLED & DELIVERED                    CALLEJAS, DAVID A.
319 N. MARION AVE.                     COURIER SERVICES                      416 OAK ST
LOUISVILLE, OH 44641                   2727 DILLINGER RD                     WAUKEGAN, IL 60085
                                       CARBONDALE, IL 62901




CALLEJAS, MARISA                       CALLEJAS, MARISA                      CALLES, JOSHUA
1654 PARTRIDGE ST                      ADDRESS ON FILE                       15162 RIDGEBRIAR LN
WAUKEGAN, IL 60087                                                           VICTORVILLE, CA 92394




CALLES, RAQUEL                         CALLIE STEWART                        CALLIHAN, CHICITA L.
810 S COPPER ST                        1500 CAMINO DOCE                      ADDRESS ON FILE
DEMING, NM 88030                       DEMING, NM 88030




CALLIHAN, DOROTHY J.                   CALLIHAN, MORRIS                      CALLIHAN, NATHAN
97 OLD SILVER MINE RD                  P.O. BOX 1542                         ADDRESS ON FILE
MCCAYSVILLE, GA 30555                  BLUE RIDGE, GA 30513




CALLIHAN, NATHAN K.                    CALLIS, JOSEPH D.                     CALLIS, SANDRA G.
ADDRESS ON FILE                        239 E CRESTVIEW                       720 HIGHWAY 190
                                       COLUMBIA, IL 62236                    TREZEVANT, TN 38258




CALLISON, JUDI                         CALLISON, JUDITH                      CALLISTER, JADE
2220 E ST                              2220 E STREET                         ADDRESS ON FILE
SPRINGFIELD, OR 97477                  SPRINGFIELD, OR 97477




CALLISTO COMMUNICATIONS, LLC           CALLMULTIPLIER, INC                   CALLMULTIPLIER, INC
18075 EDISON AVE.                      201 ROBERT S KERR AVENUE              201 ROBERT S KERR AVENUE
CHESTERFIELD, MO 63005                 OKLAHOMA CITY, OK 73102               SUITE 210
                                                                             OKLAHOMA, OK 73102




CALLNET CALL CENTER SERVICES           CALLNET CALL CENTER SVCS, INC.        CALLO-RAMIREZ, ANA MARIE M.
P.O. BOX 1345                          P.O. BOX 1345                         ADDRESS ON FILE
BLOOMINGTON, IN 47402                  BLOOMINGTON, IN 47401-0000




CALLOWAY, BETHANY D.                   CALLOWAY, CHRISTOPHER                 CALLOWAY, KYLE
516 EAST MAPLE STREET                  325 RED OAK LN                        2172 GRAYSTONE PKWY
NORTH CANTON, OH 44720                 MCCAYSVILLE, GA 30555                 GRAYSON, GA 30017-1103
CALOPTIMA                 Case 20-10766-BLS
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                                                AREA6INDUSTRIAL
                                                        Filed 04/07/20       Page CALUMET
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                                                                                          PAINT & WALLPAPER
P.O. BOX 11037                           1000 EAST 111TH STREET 1OTH FLOOR        12120 WESTERN AVE
ORANGE, CA 92856                         CHICAGO, IL 60628                        BLUE ISLAND, IL 60406




CALUMET PARK CHAMBER OF COMMERCE         CALUMET TOWNSHIP                         CALVARY CHRISTIAN SCHOOL
12409 S THROOP ST                        2353 YORK ST.                            1611 N WASHINGTON
CALUMET PARK, IL 60827                   BLUE ISLAND, IL 60406                    FORREST CITY, AR 72335




CALVERT, ERIC                            CALVERT, KATHY J.                        CALVERT, SEAN P.
6345 COUNTY RD 76                        11846 E. DIANA ROAD                      ADDRESS ON FILE
GROVEOAK, AL 35975-4825                  MT. VERNON, IL 62864




CALVERT, TIMOTHY                         CALVILLO, CHRISTINE A.                   CALVILLO, CHRISTINE N.
1552 TIPPERARY CR                        12839 FRANCISCO                          1228 18TH ST APT.F
MONROE, GA 30656-4502                    BLUE ISLAND, IL 60406                    SANTA MONICA, CA 90404




CALVILLO, DAVID P.                       CALVILLO, PAUL R.                        CALVIO, SAMUEL
336 PALM AVE                             ADDRESS ON FILE                          6513 N US HWY 87
BARSTOW, CA 92311                                                                 BIG SPRING, TX 79720-0000




CALVO LINDA                              CALZADA, SALVADOR E                      CAMACHO, CONCHA D.
408 ALDERWOOD CT                         1306 PELICAN CT                          ADDRESS ON FILE
EDWARDSVILLE, IL 62025                   ZION, IL 60099




CAMACHO, OLGA                            CAMACHO, VICTOR H.                       CAMARA, JASON
356 E 169TH STREET                       6550 FREEDOM BLVD                        1916 11TH ST.
SO.HOLLAND, IL 60473                     APTOS, CA 95003                          WINTHROP HARBOR, IL 60096




CAMARA, SARAH                            CAMARENA, LETICIA                        CAMBLIN, PAMELA A.
1916 11TH ST                             3128 VICKIE LANE                         ADDRESS ON FILE
WINTHROP HARBOR, IL 60096                NORTH CHICAGO, IL 60064




CAMBRAY, FRANCISCO                       CAMELLO JR., GASPAR M.                   CAMER, DANIEL
670 S ELMWOOD AVE                        ADDRESS ON FILE                          10728 WASHTENAW
WAUKEGAN, IL 60085                                                                CHICAGO, IL 60655




CAMERER KATHLEEN SUE                     CAMERER, KATHERINE                       CAMERO, CYNTHIA
78238 HIGH PRAIRIE RD                    ADDRESS ON FILE                          350 EAST LAKE DRIVE
OAKRIDGE, OR 97463                                                                EDWARDSVILLE, IL 62025
CAMERON GREEN             Case 20-10766-BLS   Doc
                                        CAMERON KIRK6      Filed 04/07/20   Page CAMERON
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                                                                                         M MARTIN, PA
ADDRESS ON FILE                          P.O. BOX 256                            310 S. MCCASKEY RD
                                         CHERRY LOG, GA 30522                    WILLIAMSTON, NC 27892




CAMERON, CHRISTIAN T.                    CAMERON, CHRISTOPHER                    CAMERON, KRISTEN S.
2949 GILMER AVE                          1077 N 690 E                            1040 PINEWOOD COURT
ABILENE, TX 79606                        TOOELE, UT 84074                        ANNA, IL 62906




CAMFIL USA INC                           CAMFIL USA INC                          CAMFIL USA, INC
3302 SOLUTIONS CENTER                    3302 SOLUTIONS CENTER                   3303 SOLUTIONS CENTER
CHICAGO, IL 60677-3003                   CHICAGO, IL 60677-3033                  CHICAGO, IL 60677-3003




CAMFIL USA, INC.                         CAMI BROWN                              CAMIANI, MARY A.
3302 SOLUTIONS CNETER                    P.O. BOX 54                             16699 MENAHKA RD
CHICAGO, IL 60677-3003                   LYMAN, WY 82937                         APPLE VALLEY, CA 92307-0000




CAMILLA HUDSON                           CAMILLE MORHUN                          CAMILLE TOPHAM
113 HUDSON REESE RD                      2 EAST SOUTH ST KBOX 1132               465 UTAH TRAIL
ROCKINGHAM, NC 28379                     GALESBURG, IL 61401                     ENOCH, UT 84721




CAMLIN, MARTHA M                         CAMMEL, LISA                            CAMP JOSHUA
719 29TH ST NE                           208 WILLOW AVE NE                       ADDRESS ON FILE
CANTON, OH 44714                         MASSILLON, OH 44646-4546




CAMP OF EXCELLENCE INC, NFP              CAMP SYSTEMS INTERNATIONAL INC          CAMP, ANNA M.
815 BROADWAY ST                          DEPT CH 19788                           6401 MEADOWBROOK LN NW
MT. VERNON, IL 62864                     PALATINE, IL 60055-9788                 FORT PAYNE, AL 35967




CAMP, ANNA M.                            CAMP, GERALDINE                         CAMP, JOSHUA B.
ADDRESS ON FILE                          351 LEE BYRD ROAD                       ADDRESS ON FILE
                                         LOGANVILLE, GA 30052




CAMP, LORI L.                            CAMP, LORI                              CAMP, TRACY
7155 SE 2ND PLACE                        ADDRESS ON FILE                         4279 BUTTERBRIDGE RD.
STARKE, FL 32091                                                                 NORTH LAWRENCE, OH 44666




CAMPANELLA, BRITTNEY N.                  CAMPANELLA, HAILI M.                    CAMPANELLI PROPERTIES LTD
ADDRESS ON FILE                          305 HAZELWOOD DRIVE                     6427 SELKIRK CIR NW
                                         LAKE VILLA, IL 60046                    CANTON, OH 44718
                       Case 20-10766-BLS
CAMPANELLI PROPERTIES LTD                    DocLIFE
                                     CAMPANION      6 Filed 04/07/20   Page CAMPBELL
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                                                                                     - CEO, CHAD
6427 SELKIRK CR NW                   P.O. BOX 55210                         MCKENZIE-WILLAMETTE MEDICAL CENTER
CANTON, OH 44718                     INDIANAPOLIS, IN 46205                 1460 G ST
                                                                            SPRINGFIELD, OR 97477




CAMPBELL FIRE & SAFETY, INC.          CAMPBELL FIRE & SAFETY, INC.          CAMPBELL FIRE & SAFETY, INC.
1400 WARREN AVENUE                    1400 WARREN AVENUE                    P.O. BOX 655
MT. VERNON, IL 62864                  P.O. BOX 655                          1400 WARREN AVENUE
                                      MT. VERNON, IL 62864                  MT. VERNON, IL 62864




CAMPBELL IRENE                        CAMPBELL, AMY R.                      CAMPBELL, BEN
840 HIGHLAND ROAD                     1221 LANGUILLE AVE EAST               7824 CENTER STREET
JACKSON, KY 41339                     WYNNE, AR 72396                       LAKE POINT, UT 84074




CAMPBELL, BRADLY R.                   CAMPBELL, CAITLYN A.                  CAMPBELL, CANDACE
ADDRESS ON FILE                       15 CR 729                             15720 LARAMIE AVE
                                      WYNNE, AR 72396                       OAK FOREST, IL 60452




CAMPBELL, CARL O.                     CAMPBELL, CARL                        CAMPBELL, CARRIE L.
1320 MOUNTAIN VIEW                    1038 11TH ST NE                       101 NEWMAN DRIVE
P.O. BOX 383                          MASSILLON, OH 44646                   HERRIN, IL 62948
BENTON, TN 37307




CAMPBELL, CHAD A.                     CAMPBELL, CHADWICK L.                 CAMPBELL, CLARK I.
1738 RAVELLO WAY                      110 DEER CREST HEIGHTS                ADDRESS ON FILE
BRENTWOOD, TN 37027                   BLUE RIDGE, GA 30513




CAMPBELL, CRUSOE                      CAMPBELL, CYNTHIA L.                  CAMPBELL, D. J.
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




CAMPBELL, DANIELLE                    CAMPBELL, DONNA V.                    CAMPBELL, DOROTHY
ADDRESS ON FILE                       505 E. MESQUITE BLVD.                 122 FOX RUN
                                      MESQUITE, NV 89027                    SPARTA, IL 62286




CAMPBELL, ELMER                       CAMPBELL, IRIS L.                     CAMPBELL, JACQUELINE S.
5629 EXECUTIVE DR                     1950 WEST CANAL STREET UNIT 3D        ADDRESS ON FILE
LOGANVILLE, GA 30052-2905             BLUE ISLAND, IL 60406




CAMPBELL, JACQUELINE S.               CAMPBELL, JENNIFER D.                 CAMPBELL, JENNIFER L.
ADDRESS ON FILE                       406 N. ORANGE ST.                     ADDRESS ON FILE
                                      ALPINE, TX 79830
CAMPBELL, JESSIE J.         Case 20-10766-BLS   Doc
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                                                                                              JOANN C.
311 BUS CIRCLE SW                           253 HALE STREET                         ADDRESS ON FILE
FORT PAYNE, AL 35967                        GRANTSVILLE, UT 84029




CAMPBELL, JOSEPHINE                         CAMPBELL, JULIENNE L.                   CAMPBELL, JULIETTE
P.O. BOX 1213                               ADDRESS ON FILE                         1950 CANAL STREET UNIT 3D
LEXINGTON, TN 38351                                                                 BLUE ISLAND, IL 60406




CAMPBELL, KAYLA                             CAMPBELL, KELLEY R.                     CAMPBELL, KELLY
ADDRESS ON FILE                             ADDRESS ON FILE                         ADDRESS ON FILE




CAMPBELL, LISA A.                           CAMPBELL, LORETTA                       CAMPBELL, MAYSA
P.O. BOX 150 320 E FARMER                   ADDRESS ON FILE                         207 S. LEONARD AVE
LITTLE YORK, IL 61453                                                               DUQUOIN, IL 62832-2634




CAMPBELL, MICHAEL S.                        CAMPBELL, NANCY M.                      CAMPBELL, NORVAL
ADDRESS ON FILE                             41 OAK HILL ROAD                        1450 N DIXIE DOWN RD 146
                                            WEBBVILLE, KY 41180                     ST GEORGE, UT 84790




CAMPBELL, PAULA M.                          CAMPBELL, ROXANNE                       CAMPBELL, RYAN T.
52 PARKER CV                                314 6TH STREET                          ADDRESS ON FILE
WILDERSVILLE, TN 38388                      BLUFORD, IL 62814




CAMPBELL, SAM                               CAMPBELL, SHABRIA L.                    CAMPBELL, SHAINA
683 UPPER LAUREL                            ADDRESS ON FILE                         43 MOOCHIE DRIVE
CLAYHOLE, KY 41317                                                                  HAZARD, KY 41701




CAMPBELL, SUE B.                            CAMPBELL, TOD                           CAMPBELL, VICKI S.
2440 TENNIS COURT RD                        1213 CEDAR RIDGE CT                     4000 LANDER RD NW
BLUE RIDGE, GA 30513                        COLLINSVILLE, IL 62234                  MALVERN, OH 44644




CAMPBELL, WILLIAM J.                        CAMPBELL,INA UNIQUE EMBROIDERY          CAMPBELL-LANE, JALAYNE C.
ADDRESS ON FILE                             2305 WALNUT STREET                      685 DOE LANE
                                            WAUKEGAN, IL 60087                      LOGANVILLE, GA 30052




CAMPE, KIM                                  CAMPER, BENGIE                          CAMPER, THOMAS
6 WESTBROOKE                                22 POWERS CEMETERY RD                   1366 LANE AVE
TROY, IL 62294                              SCOTTS HILL, TN 38374                   GALESBURG, IL 61401
CAMPIONE, DIANE J.        Case 20-10766-BLS
                                        CAMPISI,Doc 6 L. Filed 04/07/20
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                                                                                        1969 A.
353 MILLER ST                             407 SANDY AVE NE                     347 OHIO AVE NE
BEECHER, IL 60401                         MASSILLON, OH 44646                  MASSILLON, OH 44646




CAMPO, ANGENE                             CAMPO, ANGENE                        CAMPO, ANGENE
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




CAMPOMIZZI, KRISTINA A.                   CAMPOS, CARMEN                       CAMPOS, CELIA
ADDRESS ON FILE                           P.O. BOX 780                         741 W KNOX ST
                                          MOUNTAIN VIEW, WY 82939              GALESBURG, IL 61401




CAMPOS, CYNTHIA M.                        CAMPOS, ESTEVAN                      CAMPOS, GONZALO
729 CIPRES STREET                         1240 BLACKBURN ST 104                12611 S ANN ST
WATSONVILLE, CA 95076                     GURNEE, IL 60031                     BLUE ISLAND, IL 60406




CAMPOS, JASMINE                           CAMPOS, JEWLIE A.                    CAMPOS, JEWLIE A.
577 NORTH 680 WEST                        2021 SOUTH NICKLE                    ADDRESS ON FILE
TOOELE, UT 84074                          DEMING, NM 88030




CAMPOS, MIGUEL A.                         CAMPOS, NIFA                         CAMPOS, RAUL
312 BOLLENBACHER DR                       3507 IMPERIAL AVE.                   311 PARK AVE
SALINAS, CA 93906                         MIDLAND, TX 79707                    CLARENDON HILLS, IL 60514




CAMPOS, RUTH                              CAMPTON WATERWORKS                   CAMUS, JOHN
156 BLACKFOOT ST                          698 MAIN ST                          ADDRESS ON FILE
MESQUITE, NV 89027                        CAMPTON, KY 41301




CANADA, JEAN                              CANADAY, KEVIN                       CANADY, KEVIN
P.O.BOX 21                                1195 EAST GROVE ROAD                 1310 MAYS BRIDGE RD
POWELLSVILLE, NC 27967                    GLEASON, TN 38229                    SPRINGVILLE, TN 38256




CANALES, ELISABETH J.                     CANALES, JANESSA                     CANCER SUPPORT
4106 PARKWAY RD.                          1109 SYCAMORE ST                     OF DEMING/LUNA COUNTY
BIG SPRING, TX 79720                      BIG SPRING, TX 79720                 P O BOX 1746
                                                                               DEMING, NM 88031




CANCER WELLNESS CENTER                    CANDACE HEDRICK                      CANDACE L. GRAHAM
215 REVERE DR                             1953 140TH ST                        5805 93RD STREET
NORTHBROOK, IL 60062                      CAMERON, IL 61423                    LUBBOCK, TX 79424
CANDACE SALYERS            Case 20-10766-BLS   Doc
                                         CANDACE, ANN6BAXTER
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                                                                                     COLE
P.O. BOX 219                              144 DESERT WINDS WAY                 ADDRESS ON FILE
ANNA, IL 62906                            MESQUITE, NV 89027-0000




CANDLER, STACI J.                         CANDRA ROBERTS                       CANDYCO LLC
ADDRESS ON FILE                           ADDRESS ON FILE                      356 W 1000 S
                                                                               HEBER, UT 84032




CANEDA, LIRIOS B.                         CANEER, GAVIN D.                     CANELA, JOYCE A.
ADDRESS ON FILE                           ADDRESS ON FILE                      1340 S WHITE OAK DR APT 412
                                                                               WAUKEGAN, IL 60085




CANERDY, DONALD                           CANEY CREEK PUBLICATIONS             CANFIELD, DOROTHY
553 COUNTY RD 141                         P.O. BOX 765                         90838 ALVADORE RD
FLAT ROCK, AL 35966-4122                  RAINSVILLE, AL 35986                 JUNCTION CITY, OR 97448




CANFIELD, SANDRA                          CANFORA, MICHELLE L.                 CANHAM CHRISTIAN T
767 BEVERLY AVE                           1006 OAKWOOD AVE NE                  1510 COLAVITO WAY
CANAL FULTON, OH 44614                    MASSILLON, OH 44646                  TOOELE, UT 84074




CANHAM, KRISTINE L.                       CANIA, SANDRA                        CANIK, ORREL
184 LUCERNE CT                            18421 GARNET RD                      2456 W 122ND ST
WHEELING, IL 60090                        CARLINVILLE, IL 62626                BLUE ISLAND, IL 60406




CANLAS, TRACEY                            CANN, DYLON R.                       CANNAMORE, MADIE M.
ADDRESS ON FILE                           ADDRESS ON FILE                      6720 S KEATING
                                                                               APT 205
                                                                               CHICAGO, IL 60629




CANNAMORE, PAMELA                         CANNAVERDE, EMILY                    CANNON COCHRAN MANAGEMENT
4117 MARYLAND AVE                         231 ADA STREET                       SERVICES INC
CHICAGO, IL 60653                         BLUE RIDGE, GA 30513-4504            P.O. BOX 2205
                                                                               INDIANAPOLIS, IN 46206-2205




CANNON, ANDREW                            CANNON, APRIL D.                     CANNON, CHUCK
ADDRESS ON FILE                           ADDRESS ON FILE                      123 N 9TH ST
                                                                               DUPO, IL 62239




CANNON, CYNTHIA                           CANNON, DEBBIE                       CANNON, IDA B.
74 N ARTHUR AVE                           ADDRESS ON FILE                      ADDRESS ON FILE
GALESBURG, IL 61401
CANNON, JESSIKA L.       Case 20-10766-BLS
                                       CANNON,Doc
                                              JOHN6        Filed 04/07/20   Page CANNON,
                                                                                 276 of MITZIE
                                                                                         1969 A.
ADDRESS ON FILE                        2538 W 113TH ST                           ADDRESS ON FILE
                                       CHICAGO, IL 60655




CANNON, TRACY                          CANNONITO, CHRISTOPHER                    CANO ESTRADA, VIVIANA
ADDRESS ON FILE                        17116 ODELL AVE                           ADDRESS ON FILE
                                       TINLEY PARK, IL 60477




CANO ESTRADA, VIVIANA                  CANO, DEVON                               CANO, RAMONA J.
1318 W HICKORY ST                      152 TERRY LOOP                            2101 W.BRUNSON P.O. BOX 1673
DEMING, NM 88030                       WATSONVILLE, CA 95076                     ALPINE, TX 79831




CANO, STEFHANI A.                      CANOE PRESS & CONSULTING SERVICES         CANON MEDICAL FINANCE USA
12317 W. VERCOE AVE                    C/O MICHAEL H. COHEN                      P O BOX 911608
BEACH PARK, IL 60087                   333 N. EUCLID AVE                         DENVER, CO 80291-1608
                                       OAK PARK, IL 60302




CANON MEDICAL FINANCE USA              CANON MEDICAL FINANCE USA                 CANON MEDICAL SYSTEMS USA INC
P.O. BOX 41602                         P.O. BOX 911608                           P.O. BOX 775220
PHILADELPHIA, PA 19101-1602            DENVER, CO 80291-1608                     CHICAGO, IL 60677




CANON MEDICAL SYSTEMS USA INC          CANON MEDICAL SYSTEMS USA, INC.           CANON MEDICAL SYSTERMS USA INC
P.O. BOX 775220                        2441 MICHELLE DRIVE                       P.O. BOX 775220
CHICAGO, IL 60677-5220                 TUSTIN, CA 92780                          CHICAGO, IL 60677-5220




CANONES, MARILOU                       CANSINO, HECTOR B.                        CANSINO, HECTOR B.
14535 TRIPP AVENUE                     3801 CONNALLY ST                          ADDRESS ON FILE
MIDLOTHIAN, IL 60445                   BIG SPRING, TX 79720




CANTELLANO, ALICIA T.                  CANTERBURY, CHRIS E.                      CANTERBURY, DAVID
109 COMMERCE ST                        740 PARADISE RD                           P.O. BOX 384
LOCK HAVEN, PA 17745-2516              PRUNEDALE, CA 93907                       FORT GAY, WV 25514




CANTLEY, AQUOYA                        CANTON CITY INCOME TAX                    CANTON ELECTRICAL WELFARE FUND
408 SOUTH 17TH STREET                  P.O. BOX 9940                             33 FITCH BLVD
MOUNT VERNON, IL 62864                 CANTON, OH 44711-9940                     AUSTINVILLE, OH 44515




CANTON MUNICIPAL COURT                 CANTON PATHOLOGY ASSOC                    CANTOR, MIGUEL
P.O. BOX 24218                         2600 6TH ST SW                            P.O. BOX 102
CANTON, OH 44701                       CANTON, OH 44710                          COLLINSVILLE, AL 35961
CANTRELL CHRISTOPHER       Case 20-10766-BLS    Doc
                                         CANTRELL    6 COMPANY
                                                  DRUG   Filed 04/07/20      Page CANTRELL
                                                                                  277 of 1969
                                                                                           DRUG COMPANY
105 HIGHLAND STREET E                     7321 CANTRELL RD STE 400                7700 NORTHSHORE PLACE DR
CORDOVA, AL 35550                         LITTLE ROCK, AR 72207                   NORTH LITTLE ROCK, AR 72118




CANTRELL DRUG COMPANY                     CANTRELL DRUG COMPANY                   CANTRELL PATRICIA A
7700 NORTHSHORE PLACE DRIVE               P.O. BOX 16253                          ADDRESS ON FILE
NORTH LITTLE ROCK, AR 72118               GREENVILLE, SC 29606




CANTRELL ROBERT                           CANTRELL STACY L                        CANTRELL, ESTON L.
1150 SPARKS RD                            P.O. BOX 504                            342 CUB TRAIL
MORGANTON, GA 30560                       COLLINSVILLE, AL 35961-0504             CHERRY LOG, GA 30522




CANTRELL, EULAS                           CANTRELL, JILLIAN B.                    CANTRELL, JOHN
50 ROSS BRANCH                            ADDRESS ON FILE                         P.O. BOX 344
FLATGAP, KY 41219                                                                 BIG SPRING, TX 79721-0000




CANTRELL, JR, WILLIAM K.                  CANTRELL, KIMBERLY                      CANTRELL, MIKE
6294 MOAKE SCHOOL RD                      7488 HWY 1760                           2024 FERN DRIVE
MARION, IL 62959                          LOUISA, KY 41230                        LOUISA, KY 41230




CANTRELL, RUTH                            CANTRELL, SAMUEL L.                     CANTRELL, SAMUEL L.
ADDRESS ON FILE                           244 HALBERTON DR                        ADDRESS ON FILE
                                          FRANKLIN, TN 37069




CANTRELL, SONIA                           CANTRELL, TARA                          CANTRELL, TESS
1150 SPARKS ROAD                          114 BRIDGE STREET                       ADDRESS ON FILE
MORGANTON, GA 30560                       PAINTSVILLE, KY 41240




CANTRELL, VICKIE A.                       CANTRELL. JUNE                          CANTRELLS CUSTOM CLEANING
ADDRESS ON FILE                           40 WHITE OAK LANE                       417 SOUTH LOCK AVENUE
                                          PLYMOUTH, NC 27962                      LOUISA, KY 41230




CANTU, ELSA                               CANTU, LYDIA E.                         CANTY, BEULAH
7550 COUNTRY CLUB DR                      7550 COUNTRY CLUB DRIVE APT 6107        1198 UNIONTOWN RD
APT 6107                                  LAREDO, TX 78041                        JAMESVILLE, NC 27846
LAREDO, TX 78041




CAO, BAILEY                               CAO, PATRICK H.                         CAPA, RACHEL S.
1939 NORWICH LANE                         309 WEST DEL RIO 7                      ADDRESS ON FILE
BOLINGBROOK, IL 60490                     ALPINE, TX 79830
CAPALDI, ELDA               Case 20-10766-BLS
                                          CAPALDI,Doc  6 Filed 04/07/20
                                                  LUCIANA                 Page CAPE
                                                                               278 COD
                                                                                    of 1969
                                                                                        SYSTEMS CORPORATION
3146 VENTURA CR NW                         920 COLINA VISTA NW                 9 LILY POND LN
MASSILLON, OH 44646                        MASSILLON, OH 44646                 P.O. BOX 276
                                                                               COHASSET, MA 02025




CAPE ELECTRICAL SUPPLY INC                 CAPE ELECTRICAL SUPPLY LLC          CAPE PROSTHETICS & ORTHOTICS
P O BOX 677                                P.O. BOX 177215                     7111 W EDGERTON AVE
CAPE GIRARDEAU, MO 63702                   ATLANTA, GA 30368-7215              SUITE 301
                                                                               GREENFIELD, WI 53220-0000




CAPE PROSTHETICS ORTHOTICS                 CAPE RADIOLOGY GROUP INC            CAPE, BRITTINI Y.
118 AIRWAY DR                              70 DOCTORS PARK                     ADDRESS ON FILE
MARION, IL 62959-5841                      ATTN: MELISSA HUBBARD
                                           CAPE GIRARDEAU, MO 63703




CAPE, MARGARET                             CAPENER, RICHARD                    CAPENER,RICHARD
2518 E 24TH ST                             ADDRESS ON FILE                     ADDRESS ON FILE
BIG SPRING, TX 79720-0000




CAPINTEC, INC                              CAPINTEC, INC.                      CAPINTEC, INC.
7 VREELAND ROAD - SUITE 101                7 VREELAND ROAD                     7 VREELAND ROAD
FLORHAM PARK, NJ 07932                     FLORHAM PARK, NJ 07932              SUITE 101
                                                                               FLORHAM PARK, NJ 07932-0000




CAPISTRANO, JEFF                           CAPITAL BLUE CROSS                  CAPITAL CRED & COLL SERV INC
15834 ORLAN BROOK DR APT 3E                PROVIDER CORRESPONDENCE UNIT        10200 SW EASTRIDGE STREET, STE 201
ORLAND PARK, IL 60462                      2500 ELMERTON AVE                   PORTLAND, OR 97225
                                           P.O. BOX 779519
                                           HARRISBURG, PA 17177-9519



CAPITAL FIRE EXTINGUISHER CO I             CAPITAL SOLUTIONS                   CAPITOL ADMINISTRATORS
P.O. BOX 6245                              P.O. BOX 930330                     2920 PROSPECTS PARK DRIVE
N LITTLE ROCK, AR 72124                    ATLANTA, GA 31193-0330              SUITE 210
                                                                               RANCHO CORDOVA, CA 95670




CAPITOL FLAG & FLAGPOLE CO.                CAPITOL GROUP, INC                  CAPLIN, JENNIFER
623 W. LANE STREET                         3125 COCKRELL LN                    625 E DUCATI WAY
RALEIGH, NC 27603                          P O BOX 3801                        ST. GEORGE, UT 84790
                                           SPRINGFIELD, IL 62711




CAPOLUPO, MARY J.                          CAPPEL, BLAINE D.                   CAPPETTO, DIANA
14374 BOREGO RD APT 108                    ADDRESS ON FILE                     2 JANEESE CRT
VICTORVILLE, CA 92392                                                          MANTENO, IL 60950




CAPPS YOLANDA C                            CAPPS, BRUCE                        CAPPS, CHARLES M.
1575 N IRVING ST                           89553 TWO MILE LN                   5603 LL ROAD
COQUILLE, OR 97423                         P.O. BOX 153                        WATERLOO, IL 62298
                                           BANDON, OR 97411-0000
CAPPS, CHERIE            Case 20-10766-BLS     Doc 6
                                       CAPPS, CORY          Filed 04/07/20   Page CAPPS,
                                                                                  279 ofDEDRA,
                                                                                         1969NP
86437 LORANE HWY                        1546 NORTH ITALY LANE                    ADDRESS ON FILE
EUGENE, OR 97405-9481                   BELLE RIVE, IL 62810




CAPPS, LORETTA JEAN                     CAPPS, TIFFANY                           CAPRATA, WILLIAM J.
24 HANNIGAN DR                          ADDRESS ON FILE                          RR 1 BOX 146C
DELTA, PA 17314-9327                                                             ELIZABETHTOWN, IL 62931




CAPRI, SABRINA                          CAPRIO, JOSEPH E.                        CAPRITA, GEORGE SR
ADDRESS ON FILE                         651 E MAIN ST                            826 JACKSON AVE NW
                                        LOCK HAVEN, PA 17745                     MASSILLON, OH 44646-2965




CAPRON, KAYLEIGH A.                     CAPRON, MARGY                            CAPSA SOLUTIONS LLC
14950 FRENCH ST P.O. BOX 116            4615 ST RT 37 S                          DBA CAPSA HEALTHCARE
DAMASCUS, OH 44619                      CYPRESS, IL 62923                        8206 SOLUTIONS CENTER
                                                                                 CHICAGO, IL 60677-8002




CAPSA SOLUTIONS, LLC                    CAPSA SOLUTIONS, LLC                     CAPSTAR BANK
8206 SOLUTIONS CENTER                   DBA CAPSA HEALTHCARE                     CAPSTAR BANK
CHICAGO, IL 60677-8002                  8206 SOLUTIONS CENTER
                                        CHICAGO, IL 60677-8002




CAPUA, CLIFFORD                         CAPULE, NENY C.                          CAPULE, RENE V.
11885 TIFFANY STREET                    ADDRESS ON FILE                          ADDRESS ON FILE
VICTORVILLE, CA 92392




CARA BAKER                              CARA MCCOLLUMS BIRTHDAY BOOK             CARABALLO, DEBORAH A.
7555 N 2000TH RD                        PROJECT                                  ADDRESS ON FILE
SCIOTA, IL 61475                        P.O. BOX 411
                                        FORREST CITY, AR 72336-0411




CARAKER, CAROL                          CARAVAN CARE                             CARAVAN HEALTH
608 S JEFFERSON                         P.O. BOX 1965                            P.O. BOX 219285
DU QUOIN, IL 62832                      APPLE VALLEY, CA 92307                   KANSAS CITY, MO 64121-9285




CARBAJAL, AURORA                        CARBAJAL, STACY M.                       CARBAJAL, YVONNE
339 HUSHBECK AVE                        1018 S. SHELLY DR                        4535 TROCADERO RD SE
WATSONVILLE, CA 95076                   DEMING, NM 88030                         DEMING, NM 88030




CARBOFIX ORTHOPEDICS INC                CARBONDALE ACUTES                        CARBONDALE HEARING CENTER
7183 BEACH DR SW STE 1                  16343 COLLECTIONS CENTER DR              JOHN REIMBOLD MS CCC-A
OCEAN ISLE BEACH, NC 28469              CHICAGO, IL 60693                        P.O. BOX 1058 1717 W MAIN ST
                                                                                 CARBONDALE, IL 62903-1058
CARBONDALE TROPHY CO     Case 20-10766-BLS
                                       CARDEN,Doc
                                              KEITH6     Filed 04/07/20       Page CARDENAS
                                                                                   280 of 1969
                                                                                            MARIA V
118 N. ILLINOIS AVENUE                  604 PENHOLLOWAY CT                         250 E VIRGINIA WAY
CARBONDALE, IL 62901                    LOGANVILLE, GA 30052-6723                  BARSTOW, CA 92311




CARDENAS VASQUEZ, JOSE A.               CARDENAS, FREDDY                           CARDER, PATRICIA
ADDRESS ON FILE                         1819 MONTEZUMA AVE                         24 GRAY SQUIREL DR
                                        LAS VEGAS, NM 87701                        ANDREWS, NC 28901




CARDIAC CARE CONSULTANTS OF NEW         CARDIAC CONSULTANTS                        CARDIAC SCIENCE
MEXICO PC                               900 MAIN ST                                P.O. BOX 776401
711 CHRISTOPHER DR                      SUITE 320                                  CHICAGO, IL 60677-6401
BELEN, NM 87002                         PEORIA, IL 61602




CARDIAC SERVICES MOBILE, INC            CARDIAC SURGERY ASSOCIATES SC              CARDIN MICHAEL J
618 GRASSMERE PARK DR STE 17            2650 WARRENVILLE RD STE 280                33249 N VALLEYVIEW DR
NASHVILLE, TN 37211                     DOWNERS GROVE, IL 60515                    ROUND LAKE, IL 60073




CARDINAL GERALD J                       CARDINAL HEALTH (ALLEGIANCE)               CARDINAL HEALTH / PYXIS
30 ELLINGTON DR                         MEDICAL PRODUCTS AND SERVICES              LOCKBOX 771952
TROY, IL 62294                          P.O. BOX 100316                            1952 SOLUTIONS CENTER
                                        PASADENA, CA 91189-0316                    CHICAGO, IL 60677




CARDINAL HEALTH /RX                     CARDINAL HEALTH 100 INC                    CARDINAL HEALTH 108, INC
3740 COLLECTIONS CENTER DRIVE           CARDINAL HEALTH 414 LLC/NUCL RX SVC        14265 COLLECTIONS
CHICAGO, IL 60693-0037                  P.O. BOX 70609                             CENTER DRIVE
                                        CHICAGO, IL 60673-0609                     CHICAGO, IL 60693




CARDINAL HEALTH 108, LLC 2800           CARDINAL HEALTH 110 INC                    CARDINAL HEALTH 110, INC
14265 COLLECTIONS                       BANK OF AMERICA LOCKBOX SERVICES           BANK OF AMERICA LOCKBOX SERVICES
CENTER DRIVE                            5279 COLLECTIONS CENTER DR                 15898 COLLECTIONS CNENTER DR
CHICAGO, IL 60693                       CHICAGO, IL 60693                          CHICAGO, IL 60693




CARDINAL HEALTH 110, INC                CARDINAL HEALTH 110, LLC                   CARDINAL HEALTH 110, LLC
C/O BANK OF AMERICA LOCKBOX             BANK OF AMERICA ATTN: LOCKBOX              BANK OF AMERICA LOCKBOX SERVICES
15898 COLLECTIONS CNTR DR               402605 6000 FELDWOOD ROAD                  402605 6000 FELDWOOD ROAD
CHICAGO, IL 60693                       COLLEGE PARK, GA 30349                     COLLEGE PARK, GA 30349




CARDINAL HEALTH 110, LLC                CARDINAL HEALTH 110, LLC                   CARDINAL HEALTH 110, LLC
BANK OF AMERICA LOCKBOX SERVICES        BANK OF AMERICA LOCKBOX SERVICES           BANK OF AMERICA LOCKBOX SERVICES
5279 COLLECTIONS CENTER DR              5303 COLLECTIONS CENTER DRIVE              6000 FELDWOOD RD
CHICAGO, IL 60693                       CHICAGO, IL 60693                          LOCKBOX 402605
                                                                                   COLLEGE PARK, GA 30349



CARDINAL HEALTH 110, LLC                CARDINAL HEALTH 110, LLC                   CARDINAL HEALTH 200 LLC
C/O BANK OF AMERICA LOCKBOX             C/O BANK OF AMERICA LOCKBOX                MEDICAL PRODUCTS AND SERVICES
5279 COLLECTIONS CENTER DR              5303 COLLECTIONS CENTER DRIVE              P.O. BOX 730112
CHICAGO, IL 60693                       CHICAGO, IL 60693                          DALLAS, TX 75373
CARDINAL HEALTH 200 LLC Case 20-10766-BLS
                                      CARDINALDoc    6 414
                                                HEALTH  Filed
                                                           LLC 04/07/20    Page CARDINAL
                                                                                281 of 1969
                                                                                         HEALTH 414 LLC
P.O. BOX 100316                       NUCLEAR PHARMACY MEDICINE                 NUCLEAR PHARMACY SVCS
PASADENA, CA 91189-0316               P.O. BOX 70609                            P.O. BOX 100552
                                      CHICAGO, IL 60673-0609                    PASADENA, CA 91189-0552




CARDINAL HEALTH 414 LLC                CARDINAL HEALTH 414 LLC                  CARDINAL HEALTH 414, INC.
P.O. BOX 100552                        P.O. BOX 70609                           P.O. BOX 70609
PASADENA, CA 91189-0552                CHICAGO, IL 60673                        CHICAGO, IL 60673-0609




CARDINAL HEALTH 414, LLC (NUC PHARM)   CARDINAL HEALTH INC WV                   CARDINAL HEALTH INC
NUCLEAR PHARMACY SERV                  5303 COLLECTIONS CENTER DR               P.O. BOX 730112
P.O. BOX 100552                        BANK OF AMERICA LOCKBOX SERVICES         DALLAS, TX 75373
PASENDA, CA 91189-0552                 CHICAGO, IL 60693




CARDINAL HEALTH MED PDTS & SER         CARDINAL HEALTH MED PRODUCTS             CARDINAL HEALTH MEDICAL PROD
P O BOX 70539                          P.O. BOX 730112                          P.O. BOX 70539
CHICAGO, IL 60673-0539                 DALLAS, TX 75373                         CHICAGO, IL 60673




CARDINAL HEALTH MEDICAL PRODUC         CARDINAL HEALTH MEDICAL                  CARDINAL HEALTH NPS
P.O. BOX 100316                        PRODUCTS AND SERVICES                    P O BOX 70609
PASADENA, CA 91189-0316                P.O. BOX 70539                           CHICAGO, IL 60673-0609
                                       CHICAGO, IL 60673




CARDINAL HEALTH NUCLEAR PHARMACY       CARDINAL HEALTH PHARM DI                 CARDINAL HEALTH PHARM DI
SERVICES                               BANK OF AMERICA                          C/O BANK OF AMERICA LOCKBOX
P.O. BOX 70609                         6000 FELDWOOD ROAD LOCKBOX 402605        5303 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60673-0609                 COLLEGE PARK, GA 30349                   CHICAGO, IL 60693




CARDINAL HEALTH PHARM DISTRIB          CARDINAL HEALTH PHARM DIVISION           CARDINAL HEALTH PHARM.
BANK OF AMERICA                        1000 W TEMPLE ST                         C/O BANK OF AMERICA
6000 FELDWOOD RD, LB 402605            FILE 57130 GROUND LVL                    P.O. BOX 402605
COLLEGE PARK, GA 30349                 LOS ANGELES, CA 90012                    ATLANTA, GA 30384-2605




CARDINAL HEALTH PHARMACEUTICAL BANK    CARDINAL HEALTH PHARMACEUTICAL           CARDINAL HEALTH PHARMACEUTICAL
OF AMERICA                             3712 COLLECTIONS CTR DR                  ATTN LOCKBOX 402605
BANK OF AMERICA                        CHICAGO, IL 60693-0037                   6000 FELDWOOD RD
LOCKBOX 402605                                                                  COLLEGE PARK, GA 30349
COLLEGE PARK, GA 30349



CARDINAL HEALTH PHARMACEUTICAL         CARDINAL HEALTH PHARMACEUTICAL           CARDINAL HEALTH PHARMACEUTICAL
BANK OF AM LOCKBOX                     BANK OF AMERICA LOCKBOX SERVICES         BANK OF AMERICA
5303 COLLECTIONS CTR DR                5303 COLLECTIONS CENTER DR               6000 FELDWOOD RD, LB 402605
CHICAGO, IL 60693-0051                 CHICAGO, IL 60693                        ATLANTA, GA 30349




CARDINAL HEALTH PHARMACEUTICAL         CARDINAL HEALTH PHARMACEUTICAL           CARDINAL HEALTH PHARMACY
BANK OF AMERICA                        BANK OF AMERICA                          BANK OF AMERICA
6000 FELDWOOD RD, LB 402605            P.O. BOX 402605                          6000 FELDWOOD RD LOCKBOX 402605
COLLEGE PARK, GA 30349                 ATLANTA, GA 30384                        COLLEGE PARK, GA 30349
                       Case
CARDINAL HEALTH SOLUTIONS, INC 20-10766-BLS
                                        CARDINALDoc  6 Filed 04/07/20
                                                 HEALTH                   Page CARDINAL
                                                                               282 of 1969
                                                                                        HEALTH
P.O. BOX 730112                         7000 CARDINAL PLACE                    BANK OF AMERICA
DALLAS, TX 75373                        DUBLIN, OH 43107                       6000 FELDWOOD RD LBX 402605
                                                                               COLLEGE PARK, GA 30349




CARDINAL HEALTH                       CARDINAL HEALTH                          CARDINAL HEALTH
BANK OF AMERICA, 6000 FELDWOOD ROAD   MED PRODUCTS & SERVICES                  MEDICAL PRODUCTS AND SERVICES
LOCKBOX 402605                        P.O. BOX 70539                           P O BOX 70539
COLLEGE PARK, GA 30349                CHICAGO, IL 60673-0539                   CHICAGO, IL 60673-0539




CARDINAL HEALTH                       CARDINAL HEALTH                          CARDINAL HEALTH
MEDICAL PRODUCTS AND SERVICES         MEDICAL PRODUCTS AND SERVICES            MEDICAL PRODUCTS AND SERVICES
P.O. BOX 70539                        P.O. BOX 70539                           P.O. BOX 730112
CHICAGO, IL 60673                     CHICAGO, IL 60673-0539                   DALLAS, TX 75373-0112




CARDINAL HEALTH                       CARDINAL HEALTH                          CARDINAL HEALTH
NUCLEAR PHARM SERVICES                NUCLEAR PHARMACY SERVICES                NUCLEAR PHARMACY SERVICES
P.O. BOX 70609                        P.O. BOX 100552                          P.O. BOX 70609
CHICAGO, IL 60673                     PASADENA, CA 91189-0552                  CHICAGO, IL 60673-0609




CARDINAL HEALTH                       CARDINAL HEALTH, INC                     CARDINAL HEALTH, INC.
P.O. BOX 70539                        BANK OF AMERICA                          BANK OF AMERICA
CHICAGO, IL 60673-0539                6000 FELDWOOD RD, LB 402605              6000 FELDWOOD RD, LB 402605
                                      COLLAGE PARK, GA 30349                   COLLEGE PARK, GA 30349




CARDINAL HEALTH, INC.                 CARDINAL HEALTH, INC.                    CARDINAL HEALTH, MEDICAL PRODU
C/0 BANK OF AMERICA LOCKBOX           KEVIN DICKEMPER, NATIONAL ACCOUNT        P.O. BOX 730112
5279 COLLECTIONS CENTER DR            MANAGER                                  DALLAS, TX 75373-0112
CHICAGO, IL 60693-0052                7000 CARDINAL PLACE
                                      DUBLIN, OH 43017



CARDINAL HEALTH,,INC.                 CARDINAL HEALTH/HLS MED FGT              CARDINAL HEALTHCARE (MD)
NUCLEAR PHARMACY SERVICES             CARDINAL HEALTH                          P O BOX 730112
PO 70609                              P.O. BOX 70539                           DALLAS, TX 75373
CHICAGO, IL 60673-0609                CHICAGO, IL 60673-0539




CARDINAL HEATLH                       CARDINAL HLTH 110 INC                    CARDINAL HLTH INC (MEDFREIGHT)
MEDICAL PRODUCTS AND SER              C/O BANK OF AM LOCKBOX 402605            POB 730112-OPTIFREIGHT
P.O. BOX 70539                        6000 FELDWOOD RD                         DALLAS, TX 75373
CHICAGO, IL 60673-0539                COLLEGE PARK, GA 30349




CARDINAL HLTH MEDICAL PRODUCTS        CARDINAL HLTH NUCLEAR PHARMACY           CARDINAL HLTH,INC-PHARM551767
P.O. BOX 100316                       P.O. BOX 100552                          C/O BANK OF AMERICA
PASADENA, CA 91189                    PASADENA, CA 91189-0552                  P.O. BOX 402605
                                                                               ATLANTA, GA 30384-2605




CARDINAL SCALE MANUFACTURING CO       CARDINAL SCALE MANUFACTURING CO          CARDINAL
P.O. BOX 526                          PO BOX 526                               BANK OF AMERICA LOCKBOX SERVICE
WEBB CITY, MO 64870                   WEBB CITY, MO 64870                      5279 COLLECTION CENTER DRIVE
                                                                               P.O. BOX 70539
                                                                               CHICAGO, IL 60673-0539
CARDINAL                 Case 20-10766-BLS    Doc
                                       CARDINAL,    6
                                                 PAUL     Filed 04/07/20   Page CARDIO
                                                                                283 ofPARTNERS
                                                                                       1969 INC
PO BOX 70539                            9N559 KOSHARE                          29170 NETWORK PLACE
CHICAGO, IL 60673-0539                  ELGIN, IL 60120                        CHICAGO, IL 60673-1291




CARDIO PARTNERS                         CARDIO SOLUTIONS                       CARDIONET INC
29170 NETWORK PLACE                     P.O. BOX 638922                        P.O. BOX 417570
CHICAGO, IL 60673-1291                  CINCINNATI, OH 45263-8922              BOSTON, MA 02241-7570




CARDIONET, LLC                          CARDIOSOLUTION LLC                     CARDIOSOLUTIONS, LLC
P.O. BOX 417570                         P O BOX 639028                         P.O. BOX 639028
BOSTON, MA 02241-7570                   CINCINNATI, OH 45263-9028              CINCINNATTI, OH 45263-9028




CARDIOTHORACIC & VASCULAR SURGICAL      CARDIOVASCULAR SYSTEMS INC             CARDIOVASCULAR SYSTEMS INC
ASSOCIATES,S.C.                         1225 OLD HWY 8 NW                      DEPT. CH 19348
4400 W. 95TH STREET                     ST PAUL, MN 55112                      PALATINE, IL 60055-9348
SUITE 205
OAK LAWN, IL 60453



CARDIOVASCULAR SYSTEMS, INC             CARDIOVASCULAR SYSTEMS, INC.           CARDIVA MEDICAL, INC
DEPT CH 19348                           DEPT CH 19348                          P.O. BOX 744137
PALTINE, IL 60055-9348                  PALATINE, IL 60055-9348                ATLANTA, GA 30384-4137




CARDONA, LESLIE                         CARDONA-LEMIRE, RAMONA E.              CARDONATAPIA, CARLA C.
12213 GREGORY ST                        107 N LINCOLN ST                       523 CZACKI ST
BLUE ISLAND, IL 60406                   ROYALTON, IL 62983                     LEMONT, IL 60439




CARDOZA HERNANDEZ, MARICELA             CARDWELL DISTRIBUTING, INC.            CARDWELL JUDITH
P O BOX 665                             P.O. BOX 27954                         1207 MAIN ST E
COLUMBUS, NM 88029                      SALT LAKE CITY, UT 84127-0954          RAINSVILLE, AL 35986-4530




CARDWELL, TIMOTHY                       CARE 1ST                               CARE DIRECTIVES LLC
ADDRESS ON FILE                         100 STINEMAN AVE. RM 202               25060 HANCOCK AVE STE 103-482
                                        ALHAMBRA, CA 91801                     MURRIETA, CA 92562




CARE FUSION 211, INC                    CARE FUSION 2200 INC                   CARE FUSION 2200, INC
CARDINAL HEALTH                         25146 NETWORK PLACE                    25146 NETWORK PLACE
88253 EXPEDITE WAY                      CHICAGO, IL 60673                      CHICAGO, IL 60673
CHICAGO, IL 60695




CARE FUSION SOLUTIONS                   CARE FUSION SOLUTIONS, LLC             CARE FUSION SOLUTIONS/PYXIS PROD
25082 NETWORK PLACE                     25082 NETWORK PLACE                    25082 NETWORK PL
PYXIS PRODUCTS                          CHICAGO, IL 60673-1250                 CHICAGO, IL 60673-1250
CHICAGO, IL 60673-1250
                       Case
CARE FUSION SOLUTIONS/PYXIS   20-10766-BLS
                            PROD               Doc 6 Filed 04/07/20
                                       CARE FUSION                      Page CARE
                                                                             284 FUSION
                                                                                  of 1969
25082 NETWORK PLACE                    88253 EXPEDITE WAY                    PYXIS PRODUCTS-LBOX771952
CHICAGO, IL 60673-1250                 CHICAGO, IL 60695                     25082 NETWORK PLACE
                                                                             CHICAGO, IL 60673-1250




CARE IMPROVEMENT PLUS SOUTHEAST      CARE IMPROVEMENT PLUS                   CARE IMPROVEMENT PLUS
P.O. BOX 822657                      351 W CAMDEN ST                         ATTN: OVERPAYMENT
PHILADELPHIA, PA 19182               STE 100                                 P.O. BOX 488
                                     BALTIMORE, MD 21201                     LINTHICUM, MD 21090




CARE MEDICAL SUPPLIES                CARE WORKS MANAGED CARE SERVICES        CARE, SCOTT
ORLANDO - DEPT 59                    405 DUKE DRIVE SUITE 270                PNC BANK
P.O. BOX 850001                      FRANKLIN, TN 37067                      P.O. BOX 73790-N
ORLANDO, FL 32885-0001                                                       CLEVELAND, OH 44193




CAREASSIT                            CAREER INSTITUTE OF TECHNOLOGY          CAREERBUILDER, LLC
ATTN REFUNDS                         1611 CHISHOLM TRAIL SUITE 200           13047 COLLECTION CENTER DRIVE
P.O. BOX 14450                       ROUND ROCK, TX 78681                    CHICAGO, IL 60693-0130
PORTLAND, OR 97293




CAREERBUILDER, LLC                   CAREFIRST BCBS                          CAREFIRST BLUE CHOICE
13047 COLLECTION DRIVE CENTER        10455 MILL RUN CIR                      P.O. BOX 14114
CHICAGO, IL 60693-0130               OWINGS MILLS, MD 21117                  MAIL ADMINISTRATOR
                                                                             LEXINGTON, KY 40512




CAREFUSION (VIASYS RESP)             CAREFUSION 203                          CAREFUSION 203
88253 EXPEDITE WAYT                  23578 NETWORK PLACE                     CAREFUSION 203
CHICAGO, IL 60695-0001               CHICAGO, IL 60673-1235                  23578 NETWORK PL
                                                                             CHICAGO, IL 60673-1235




CAREFUSION 211 , INC.                CAREFUSION 211 , INC.                   CAREFUSION 211
88253 EXPEDITE WAY                   88253 EXPEDITE WAY                      FKA VIASYS RESPIRATORY CARE
(REPIRATORY / VIASYS)                CHICAGO, IL 60695-0001                  88253 EXPEDITE WAY
CHICAGO, IL 60695-0001                                                       CHICAGO, IL 60695-0001




CAREFUSION 2200 (V MUELLER)          CAREFUSION 2200 (V MUELLER)             CAREFUSION 2200 INC
25146 NETWORK PL                     25146 NETWORK PLACE                     25146 NETWORK PL
CHICAGO, IL 60673-1250               CHICAGO, IL 60673-1250                  CHICAGO, IL 60673-1250




CAREFUSION 2200, INC.                CAREFUSION 2200,INC                     CAREFUSION 303 INC
25146 NETWORK PLACE                  25146 NETWORK PLACE                     ALARIS - CAREFUSION SOLUTIONS
CHICAGO, IL 60673-1250               1215400                                 25565 NETWORK PL
                                     CHICAGO, IL 60673-1250                  CHICAGO, IL 60673-1255




CAREFUSION 303 INC                   CAREFUSION 303 INC                      CAREFUSION ALARIS PRODUCTS
DBA CAREFUSION SOLUTIONS LLC         PYXIS PRODUCTS                          25565 NETWORK PLACE
25082 NETWORK PLACE                  25082 NETWORK PL                        CHICAGO, IL 60673-1255
CHICAGO, IL 60673-1250               CHICAGO, IL 60673-1250
CAREFUSION FDB VIASYS    Case 20-10766-BLS   DocPYXIS
                                       CAREFUSION 6 Filed 04/07/20      Page CAREFUSION
                                                                             285 of 1969SOL LLC PYXIS/PROD
88253 EXPEDITE WAY                     PYXIS PRODUCTS                        PYXIS PRODUCTS
CHICAGO, IL 60695-0001                 25082 NETWORK PLACE                   25082 NETWORK PLACE
                                       CHICAGO, IL 60673-1250                CHICAGO, IL 60673-1250




CAREFUSION SOLUTION LLC                CAREFUSION SOLUTION LLC               CAREFUSION SOLUTIONS 303 LLC
PYXIS PRODUCTS                         PYXIS PRODUCTS                        PYXIS PRODUCTS
25082 NETWORK PLACE                    25082 NETWORK PLACE                   25082 NETWORK PLACE
CHICAGO, IL 60673-1250                 CHICAGO, IL 60673-1255                CHICAGO, IL 60673-1255




CAREFUSION SOLUTIONS LLC (PYXIS)       CAREFUSION SOLUTIONS LLC              CAREFUSION SOLUTIONS LLC
PYXIS PRODUCTS                         25565 NETWORK PLACE                   PYXIS PRODUCTS
25082 NETWORK PLACE                    CHICAGO, IL 60673-1255                25082 NETWORK PLACE
CHICAGO, IL 60673-1250                                                       CHICAGO, IL 60673-1250




CAREFUSION SOLUTIONS LLC               CAREFUSION SOLUTIONS LLC-PYXIS        CAREFUSION SOLUTIONS
PYXIS PRODUCTS                         PYXIS PRODUCTS                        25082 NETWORK PLACE
25082 NETWORK PLACE                    25082 NETWORK PLACE                   CHICAGO, IL 60673
CHICAGO, IL 60673-1255                 CHICAGO, IL 60673-1250




CAREFUSION SOLUTIONS, LLC              CAREFUSION SOLUTIONS, LLC             CAREFUSION SOLUTIONS, LLC
25082 NETWORK PL                       25082 NETWORK PLACE                   PYXIS PRODUCTS
CHICAGO, IL 60673-1250                 CHICAGO, IL 60673-1250                25082 NETWORK PL
                                                                             CHICAGO, IL 60673-1250




CAREFUSION SOLUTIONS, LLC              CAREFUSION SOLUTIONS, LLC             CAREFUSION SOLUTIONS, LLC
PYXIS PRODUCTS                         PYXIS PRODUCTS                        PYXIS PRODUCTS
25082 NETWORK PLACE                    25082 NETWORK PLACE                   25565 NETWORK PLACE
CHICAGO, IL 60673-1250                 CHICAGO, IL 60673-1255                CHICAGO, IL 60673-1255




CAREFUSION V MUELLER                   CAREFUSION                            CAREFUSION
CAREFUSION 2200 INC                    25146 NETWORK PL                      25146 NETWORK PLACE
25146 NETWORK PLACE                    INTERVENTIONAL SPECIALTIES            CHICAGO, IL 60673-1250
CHICAGO, IL 60673-1250                 CHICAGO, IL 60673-1250




CAREFUSION                             CAREFUSION                            CAREFUSION
25565 NETWORK PL                       25565 NETWORK PLACE                   25565 NETWORK PLACE
CHICAGO, IL 60673-1255                 ALARIS PRODUCTS                       CHICAGO, IL 60673-1255
                                       CHICAGO, IL 60673-1255




CAREFUSION                             CAREFUSION, LLC                       CAREFUSION/ALARIS PRODUCTS
ALARIS PRODUCTS                        25565 NETWORK PLACE                   25565 NETWORK PLACE
25565 NETWORK PLACE                    CHICAGO, IL 60673-1255                CHICAGO, IL 60673
CHICAGO, IL 60673-1255




CAREHARMONY INC                        CAREMARK                              CAREMORE
214 OVERLOOK CR                        P.O. BOX 52115                        P.O. BOX 366
STE 225                                PHOENIX, AZ 85072                     ARTESIA, CA 90702
BRENTWOOD, TN 37027
CARESOURCE GEORGIA        Case 20-10766-BLS   Doc GEORGIA
                                        CARESOURCE 6 Filed 04/07/20   Page CARESOURCE
                                                                           286 of 1969GEORGIA
L-3857                                  L-3857                             L-3857
ATTN: CLAIM RECOVERY                    ATTN: CLAIM RECOVERY               COLUMBUS, GA 43260
COLUMBUS, GA 43260                      COLUMBUS, OH 43260




CARESOURCE HEALTHCARE                   CARESOURCE OP                      CARESOURCE
ATTN: CLAIM RECOVERY                    P.O. BOX 824                       230 N MAIN ST
P.O. BOX 8738                           DAYTON, OH 45401                   ATTN:REFUNDS
DAYTON, OH 45401                                                           DAYTON, OH 45402-0000




CARESOURCE                              CARESOURCE                         CARESOURCE
LOCKBOX 3857                            P.O. BOX 1920                      P.O. BOX 706365
COLUMBUS, OH 43260-3857                 DAYTON, OH 45401                   CINCINNATI, OH 45270-6365




CARESOURCE                              CARESTREAM HEALTH INC              CARESTREAM HEALTH INC
P.O. BOX 824                            150 VERONA ST                      DEPT 19286
ATTN: FINANCE                           ROCHESTER, NY 14608                PALATINE, IL 60055-9286
DAYTON, OH 45401-0824




CARESTREAM HEALTH INC                   CARESTREAM HEALTH INC              CARESTREAM HEALTH INC
DEPT CH 19286                           DEPT CH 19286                      DEPT CH19286
PALANTINE, IL 60055                     PALATINE, IL 60055-9286            PALENTINE, IL 60055-9286




CARESTREAM HEALTH INC                   CARESTREAM HEALTH INC.             CARESTREAM HEALTH, INC.
DEPT. CH 19286                          DEPT CH 19286                      DEPT CH 19286
PALATINE, IL 60055-9286                 PALATINE, IL 60055-9286            PALATINE, IL 60055-9286




CARESTREAM MEDICAL                      CARESTREAM                         CAREWORKS MCS
774 S NORTHLAKE BLVD                    DEPT CH 19286                      ATTN: SHARI THURSTON
SUITE 1016                              PALATINE, IL 60055-9286            9300 W 110TH ST STE 520
ALTAMONTE SPRINGS, FL 32701                                                OVERLAND PARK, KS 66210




CAREY COUNSELING CENTER                 CAREY, BENJAMIN                    CAREY, BETTY
P.O. BOX 30                             311 JEFFERSON RD APT C             1700 S LANCASTER
PARIS, TN 38242                         EDWARDSVILLE, IL 62025             UNIT 48
                                                                           BIG SPRING, TX 79720-0000




CAREY, BRENDA                           CAREY, CHRISTINA                   CAREY, JEFFREY L.
P.O. BOX 1602                           ADDRESS ON FILE                    12488 MILLERSBURG RD SW
ROBBINSVILLE, NC 28771                                                     MASSILLON, OH 44647




CAREY, JOHN RICHARD                     CAREY, PATRICK D.                  CAREY, SHIRLEY
90324 HILL ROAD                         13740 S DUBLIN DRV                 3700 BABCOCK LN SPC 78
SPRINGFIELD, OR 97478                   HOMER GLEN, IL 60491               EUGENE, OR 97401-7056
CAREY, TOMMY              Case 20-10766-BLS
                                        CARGES,Doc  6 Filed 04/07/20
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                                                                            287 of 1969 LAURA
4400 WASSON RD                          ADDRESS ON FILE                    ADDRESS ON FILE
BIG SPRING, TX 79720-0000




CARIBEE SIGN COMPANY                  CARILLO ANGELIQUE                    CARINA WHITE MICHAEL
335 LEMAY FERRY RD                    ADDRESS ON FILE                      347 YATES AVE
ST LOUIS, MO 63125                                                         2ND FLR
                                                                           CALUMET CITY, IL 60409




CARING COUNSELING MINISTRIES          CARIS MPI, INC                       CARITAS FAMILY SOLUTIONS
11264 ROUTE 37 NORTH                  750 W JOHN CARPENTER FREEWAY         8601 W MAIN ST
MARION, IL 62959                      SUITE 800                            STE 201
                                      IRVING, TX 75039                     BELLEVILLE, IL 62223




CARL MCCURDY                          CARL MCLAUGHLIN JR                   CARL STRATTON
100 EAST 144TH ST                     2146 US HWY 67                       1630 3RD ST
RIVERDALE, IL 60827                   MONMOUTH, IL 61462                   MADISON, IL 62060




CARL SWANSON INSURANCE                CARL ZEISS MEDITEC INC               CARL ZEISS MEDITEC INC
1087 N HENDERSON                      P.O. BOX 100372                      P.O. BOX 207377
GALESBURG, IL 61401                   PASADENA, CA 91189-0372              DALLAS, TX 75320-7377




CARL ZEISS MEDITEC INC                CARL ZEISS MEDITEC, INC              CARL ZEISS MEDITEC, INC.
PO BOX 100372                         5160 HACIENDA DRIVE                  P.O. BOX 100372
PASADENA, CA 91189-0372               DUBLIN, CA 94586                     PASADENA, CA 91189-0372




CARL ZEISS MICROSCOPY, LLC            CARL, COLLEEN M.                     CARLA COLLING
1 ZEISS DRIVE                         1530 21ST ST NW                      ADDRESS ON FILE
THORNWOOD, NY 10594                   CANTON, OH 44709




CARLA DIAZ                            CARLA GARLAND                        CARLA SPRANGER
299 WOODBURY LANE                     85 SHADY ACRES LANE                  225 TALL PINE LN
MESQUITE, NV 89027                    ELLIJAY, GA 30540                    ATHENS, GA 30605-7714




CARLBORG, CHRISTINE                   CARLE FOUNDATION                     CARLEY SCHULTZ
2257 HIGH POINT DR                    611 WEST PARK STREET                 1837 KNOX ROAD 100 E
LINDENHURST, IL 60046                 URBANA, IL 61801                     GALESBURG, IL 61401




CARLILE MELISSA                       CARLILE, KIRK E.                     CARLILE, MARANDA S.
107 N RAINSONG RD                     1746 TIMBER RIDGE ESTATES DR         313 COUNT FLEET ROAD
DALTON, GA 30720                      WILDWOOD, MO 63011                   ST. GEORGE, UT 84790
CARLINO, PATRICIA          Case 20-10766-BLS     Doc
                                         CARLI-RAE   6 Filed 04/07/20
                                                   MONTANO              Page CARLISLE
                                                                             288 of 1969
                                                                                      SYN TEC INCORPORATED
901 19TH ST                              ADDRESS ON FILE                     P.O. BOX 7000
ZION, IL 60099                                                               CARLISLE, PA 17013




CARLISLE, ALEXIS                         CARLISLE, ANDREA L.                 CARLISLE, BOBBIE
ADDRESS ON FILE                          400 S VIRGINIA AVE                  523 NOTTINGHAM
                                         BELLEVILLE, IL 62220                TOOELE, UT 84074




CARLISLE, NORMA J.                       CARLOS DIMIDJIAN                    CARLOS ECHEVARRIA
2720 COBDEN SCHOOL ROAD                  1608 W.FM 700, STE B                546 WEST PORTLAND STREET
COBDEN, IL 62920                         BIG SPRING, TX 79720                PHOENIX, AZ 85003-0000




CARLOS GONZALES                          CARLOS TAYLOR                       CARLOS, APRIL
ADDRESS ON FILE                          985 PIGEON CREEK RD                 2313 LAS CRUCES ST
                                         GREENVILLE, AL 36037                DEMING, NM 88030




CARLOS, MARYCAROLINE V.                  CARLSON ALISA M                     CARLSON DONALD J
32 LANCASTER CIRCLE                      990 BEECHER AVE                     40826 N IL ROUTE 83
GURNEE, IL 60031                         GALESBURG, IL 61401                 ANTIOCH, IL 60002




CARLSON SUE A                            CARLSON WAGONLIT TRAVEL INC         CARLSON, ALISA M.
7345 YORKTOWN RD                         P.O. BOX 860044                     990 BEECHER AVE
FRANKFORT, IL 60423-3013                 MINNEAPOLIS, MN 55486-0044          GALESBURG, IL 61401




CARLSON, GEORGE                          CARLSON, JACQUELYN                  CARLSON, JEAN E.
19410 YANAN RD.                          406 N PARKWAY AVE                   P.O. BOX 567
APPLE VALLEY, CA 92307                   TOOELE, UT 84074                    CHRISTMAS VALLEY, OR 97641-0000




CARLSON, JULIE                           CARLSON, KENDALL                    CARLSON, MARY JANE
7825 PARK CENTRAL DR S                   ADDRESS ON FILE                     15520 S MILLARD
TINLEY PARK, IL 60477                                                        MARKHAM, IL 60428




CARLSON, RHONDA L.                       CARLSON, STEPHANIE                  CARLSON, TANYA J.
2004 ROBLEE AVE.                         725 S WEST ST                       ADDRESS ON FILE
MURPHYSBORO, IL 62966                    GALESBURG, IL 61401




CARLTON, ELIZABETH                       CARLTON, JAMIE L.                   CARLTON, JAMIE
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE
CARLTON, MARIANN         Case 20-10766-BLS    Doc
                                       CARLTON,    6 B. Filed 04/07/20
                                                MARY                     Page CARLTON,
                                                                              289 of 1969
                                                                                       SHIRLEY MAYES
4006 GREGORY DR                          ADDRESS ON FILE                      2019 WRIGHTSBORO RD
ZION, IL 60099                                                                THOMSON, GA 30824




CARLTON, ZOE A.                          CARLYON, ANDREA                      CARMANY, HEATHER
ADDRESS ON FILE                          1179 CANTERBURY RD                   13421 SEBE DRIVE
                                         HONORAVILLE, AL 36042                MARSHALLVILLE, OH 44645




CARMEN RODRIGUEZ                         CARMICHAEL, CHRISTINA M.             CARMICHAEL, JAMIE
ADDRESS ON FILE                          ADDRESS ON FILE                      P.O. BOX 1172
                                                                              TOOELE, UT 84074-0000




CARMICHAEL, STACY                        CARMODY & CARMODY LLP                CARMODY DAVID G
403 AMETHYST LN                          134 EVERGREE LN                      1401 E FREMONT ST
MASCOUTAH, IL 62258                      GLASTONBURY, CT 06033                GALESBURG, IL 61401




CARMON ASHLEY BROOKE                     CARMONA PUREZA                       CARMONA, ILIANA
4250 COUNTY ROAD 89                      P.O. BOX 242                         12805 WINCHESTER AVE
GAYLESVILLE, AL 35973                    COBDEN, IL 62920                     UNIT 1
                                                                              BLUE ISLAND, IL 60406




CARMONA, PUREZA                          CARNAGEY, SETH P                     CARNAGHI, SHIRLENE
117 MAPLE ST E P.O. BOX 242              17475 COYOTE RD SE                   1308 MONTEBELLO DR
COBDEN, IL 62920                         DEMING, NM 88030                     UNIT A
                                                                              HERRIN, IL 62948




CARNAHAN GROUP INC                       CARNAHAN, KAITLYNN J.                CARNAHAN, MARIAH
5005 WEST LAUREL ST                      ADDRESS ON FILE                      ADDRESS ON FILE
STE 204
TAMPA, FL 33607




CARNELL, JEFF                            CARNELL, JOE E.                      CARNER, WILLIAM
5818 73RD ST                             ADDRESS ON FILE                      37944 N HARPER RD
LUBBOCK, TX 79424-0000                                                        WAUKEGAN, IL 60087




CARNES, ADRIAN                           CARNES, CHELSEA T.                   CARNES, JAMIE A.
1932 FAIRWAY DR                          24 CLENDANIEL DRIVE                  683 S STATE ST
AUGUSTA, GA 30906                        DOVER, DE 19904                      EAST GALESBURG, IL 61430




CARNES, ROBERT J.                        CARNESECCA, JADYN N.                 CARNEY, AISHA
1108 NE KAYAK LOOP 2                     ADDRESS ON FILE                      15805 ORLAN BROOK DR UNIT 58
BEND, OR 97701                                                                ORLAND PARK, IL, IL 60462
CARNEY, JENNIFER        Case 20-10766-BLS
                                      CARNEY,Doc    6 Filed
                                              JR, RICHARD T. 04/07/20   Page CARNEY,
                                                                             290 of SHAGE
                                                                                     1969 A.
307 W OAK                             105 DERBY LANE                         2570 JOHN ST.
WEST FRANKFORT, IL 62896              MARYVILLE, IL 62062                    WOOSTER, OH 44691




CARNEY, SHARON L.                     CAROL A GORANSON                       CAROL BALLARD
400 NORTH CYPRESS ST. P. O. BOX 621   725 W HOME AVENUE                      121 W SIMMONS ST APT 208
RICHTON, MS 39476                     HARTSVILLE, SC 29550                   GALESBURG, IL 61401




CAROL BIFFAR                          CAROL BROCK                            CAROL CRUMP
ADDRESS ON FILE                       442 CEDAR POINTE                       325 CENTER ST
                                      SOCIAL CIRCLE, GA 30025-4206           EVANSTON, WY 82930-0000




CAROL HUTCHISON                       CAROL IVES                             CAROL KAHTZ
ADDRESS ON FILE                       518 S 8TH ST                           1412 HARRISON ST
                                      MONMOUTH, IL 61462                     MT. VERNON, IL 62864-3728




CAROL KIESLING, MD                    CAROL KOVACH                           CAROL KREIDER TRUST
C/O 108 LEGION DR STE A               1704 VENICE AVE                        106 W CORTLAND ST
LAS VEGAS, NM 87701                   GRANITE CITY, IL 62040                 P.O. BOX 197
                                                                             AVON, IL 61415




CAROL KREIDER TRUST                   CAROL L SHOTWELL                       CAROL MAYNARD
106 W CORTLAND ST                     P O BOX 193                            2704 DONITHON ROAD
PO BOX 197                            MALVERN, OH 44644                      LOUISA, KY 41230
AVON, IL 61415




CAROL MCCONN                          CAROL PALMER                           CAROL PIPER
41 HERON WALK                         300 N JEFFERSON                        1409 PEBBLE CHASE CR NE
OKATIE, SC 29909-4240                 ABINGDON, IL 61410                     MASSILLON, OH 44646




CAROL REEDER                          CAROL ROBBINS                          CAROL SOLINGER
2000 ARIANA BLVD                      5954 TROY ST                           302 E MAIN ST
AUBURNDALE, FL 33823-2031             LOUISVILLE, OH 44641-9217              BEACH CITY, OH 44608




CAROL STEVENSON                       CAROL WHITSEL                          CAROL WHITSEL
2900 CHEYENNE LANE                    90440 SHADOWS DR                       ADDRESS ON FILE
GODFREY, IL 62035                     SPRINGFIELD, OR 97478




CAROLE A BATTERTON                    CAROLINA AVILES                        CAROLINA JANITORIAL SUPPLY INC
989 E FREMONT ST                      2624 BROADWAY ST                       238 E WATER STREET
GALESBURG, IL 61401                   BLUE ISLAND, IL 60406                  WASHINGTON, NC 27889
                         Case 20-10766-BLS
CAROLINA MAMMOGRAPHY REGISTRY,  UNC-   CAROLINADoc  6 INS.
                                                 MUTUAL  Filed 04/07/20   Page CAROLINAS
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                                                                                         MEDICAL REPAIR LLC
CHAPEL HILL                            CLAIMS ACCOUNT                          1041 INVESTMENT BLVD
DEPT OF RADIOLOGY,ATTN:BO-CMR          P.O BOX 6455                            SUITE 153
101 MANNING DR, CB-7510                HIGH POINT, NC 27262                    APEX, NC 27502
CHAPEL HILL, NC 27599-7510



CAROLINE LEA MORGAN                    CAROLINE SWEET                          CAROLL P FOSTER VFW POST 3455
503 DOGWOOD LANE                       201 S MAIN ST                           AUXILIARY
MARION, IL 62959-1309                  RIO, IL 61472                           70 VFW LANE
                                                                               ANNA, IL 62906




CAROLS AMBULANCE INC                   CAROLYN BRUNNER                         CAROLYN CUMMINGS
126 SOUTH DIXIE BLVD                   418 HIGHLAND PEAK CT                    ADDRESS ON FILE
ODESSA, TX 79761-5501                  OFALLON, IL 62269




CAROLYN LANDIS                         CAROLYN MCCLENDON                       CAROLYN SEEGER
1480 HALL CHURCH ROAD                  P.O. BOX 316                            875 BROWN AVE
MAKANDA, IL 62958                      MARIANNA, AR 72360                      GALESBURG, IL 61401




CAROLYN SMITH                          CAROLYN THOMAS                          CAROLYNS COMMUNICATIONS
ADDRESS ON FILE                        2090 87TH ST                            INCORPORATED
                                       MONMOUTH, IL 61462                      2121 FOUNTAIN DR
                                                                               STE N
                                                                               SNELLVILLE, GA 30078



CARON, PAMELA                          CARONIS MD, GREGORY                     CARPANI, SHANNON C.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




CARPENTER DENNIS                       CARPENTER KENNY                         CARPENTER TOMMY A
ADDRESS ON FILE                        8814 HWY 30 EAST                        85103 RIDGETOP DRIVE
                                       JACKSON, KY 41339                       EUGENE, OR 97405




CARPENTER, AMANDA N.                   CARPENTER, AMANDA N.                    CARPENTER, AMY
ADDRESS ON FILE                        4009 PIPER RD                           1971 COUNTY ROAD 315 E
                                       BIG SPRING, TX 79720                    XENIA, IL 62899




CARPENTER, AMY                         CARPENTER, BETHSHEBA                    CARPENTER, BRADY
1971 CR 315 E                          ADDRESS ON FILE                         41 E PEAR ST
XENIA, IL 62899                                                                GRANTSVILLE, UT 84029




CARPENTER, DANIELLE C.                 CARPENTER, DAWN                         CARPENTER, DENNIS
ADDRESS ON FILE                        640 HARVARD                             ADDRESS ON FILE
                                       EDWARDSVILLE, IL 62025
CARPENTER, JANETTE      Case 20-10766-BLS   DocJENNIFER
                                      CARPENTER, 6 FiledA. 04/07/20    Page CARPENTER,
                                                                            292 of 1969JODIE L.
ADDRESS ON FILE                        ADDRESS ON FILE                      13190 ORRVILLE ST NW
                                                                            NORTH LAWRENCE, OH 44666




CARPENTER, KAITLYN                     CARPENTER, KERI N.                   CARPENTER, LISA ANN
5170A PARADISE MOUNTAIN LOOP           ADDRESS ON FILE                      P O BOX 863
FORT IRWIN, CA 92310                                                        DRAIN, OR 97435




CARPENTER, NANCY                       CARPENTER, PAUL                      CARPENTER, WILLIAM A.
C/O IRA CARPENTER                      12270 UNION AVE NE                   2612 HANOVER AVENUE
4625 COUDERSPORT PK                    ALLIANCE, OH 44601                   RICHMOND, VA 23220
LOCK HAVEN, PA 17745




CARPENTER, WILLIAM E.                  CARPENTERS H&W TRUST FUND STL        CARPENTERS H&W TRUST FUND STL
664 SUDDERTH 4                         ATTN: PROVIDER SERVICES              ATTN: PROVIDER SERVICES
RUIDOSO, NM 88345                      1419 HAMILTON AVE STE 100            1419 HAMPTON AVE STE 100
                                       ST LOUIS, MO 63139                   ST LOUIS, MO 63139




CARPENTERS HEALTH & WELFARE            CARPENTERS HEALTH & WELFARE          CARPENTERS TRUST FUND ST LOUIS
1419 HAMPTON AVE 100                   TRUST FUND OF ST LOUIS               ATTN: PROVIDER SERVICES
ST LOUIS, MO 63139                     1419 HAMPTON AVE                     1419 HAMILTON AVE STE 100
                                       ST LOUIS, MO 63139                   ST LOUIS, MO 63139




CARPENTERS                             CARPER SHOP INC, THE                 CARPET SHOP INC, THE
P.O. BOX 7796                          405 WASHINGTON ST                    405 WASHINGTON ST
LONDON, KY 40742                       WILLIAMSTON, NC 27892                WILLIAMSTON, NC 27892




CARPETLAND                             CARR MARY DWAN                       CARR, ALYSSA B.
1936 N HENDERSON ST                    P.O. BOX 723                         7118 TOWNSHIP RD 319
GALESBURG, IL 61401                    MOUNTAIN VIEW, WY 82939-0723         MILLERSBURG, OH 44654




CARR, ANGELA T.                        CARR, CARMEN                         CARR, DUSTIN L.
ADDRESS ON FILE                        1820 S SANTA BARBARA ST              2317 CRYSTAL SPRING LANE
                                       DEMING, NM 88030                     HERMITAGE, TN 37076




CARR, ELIZABETH A.                     CARR, JANICE                         CARR, KERRI L.
291 SCARBOROUGH DR APT 808             2495 CLAUDE BREWER RD                2950 E. SNAPSHOT ROAD
CONROE, TX 77304                       LOGANVILLE, GA 30052                 WOODLAWN, IL 62898




CARR, KERRI L.                         CARR, MARCUS A.                      CARR, SHAUN
ADDRESS ON FILE                        11 TUSCANY CV                        P.O. BOX 1536
                                       JACKSON, TN 38305                    OXFORD, GA 30054
CARRANZA, MARIA V.          Case 20-10766-BLS   Doc
                                          CARRASCO,   6 BOWLING
                                                    ALICIA Filed 04/07/20   Page CARRASCO,
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                                                                                           ALMA R.
1240 BLACKBURN ST                           6290 N. GRAPE CREEK RD               ADDRESS ON FILE
GURNEE, IL 60031                            SAN ANGELO, TX 76901




CARRASCO, ALMA                              CARRASCO, JACQUELINE                 CARRASCO, JESSE
ADDRESS ON FILE                             133 E. 117TH ST                      1602 N WEATHERFORD ST
                                            APT.2                                MIDLAND, TX 79701-0000
                                            CHICAGO, IL 60628-5622




CARRASCO, MANUEL R.                         CARRELLAS, JOAN                      CARRENO YADIRA
904 CAPROCK                                 59 BISHOP LAMY RD                    650 S FULTON AVE
BIG SPRING, TX 79720                        LAMY, NM 87540-0000                  WAUKEGAN, IL 60085-7260




CARRENO, MODESTA                            CARREON, MELANIE A.                  CARREONGAETA, JAVIER
1326 N LINDEN AVE                           2630 N DELANY RD APT 9               621 W PARK AVE APT D
WAUKEGAN, IL 60085                          WAUKEGAN, IL 60087                   LIBERTYVILLE, IL 60048




CARRERA-CRUZ, JENNIFER                      CARRERAS, BARBARA L.                 CARRICK, ERIN E.
ADDRESS ON FILE                             ADDRESS ON FILE                      7496 MARKET AVE NORTH
                                                                                 CANTON, OH 44721




CARRICK, MELISSA                            CARRIE DAIGLE                        CARRIE GARCIA
150 GRANT ST. P.O. BOX 73                   ADDRESS ON FILE                      ADDRESS ON FILE
WAYNESBURG, OH 44688




CARRIE HAWKINSON                            CARRIE HOWELL, AN INDIVIDUAL         CARRIE ROBINSON
385 KNOX RD 2000N                                                                93 MOON WAY
GALESBURG, IL 61401                                                              EVANSTON, WY 82930




CARRIE WAGNER                               CARRIED AWAY BARBECUE                CARRIER CORPORATION
ADDRESS ON FILE                             104 TOMAHAWK DRIVE                   P.O. BOX 93844
                                            LOUISA, KY 41230                     CHICAGO, IL 60673-3844




CARRIER M D, JEREMY R.                      CARRIER TERESA J                     CARRIER, AARON THOMAS
702 MEYER COURT                             1025 S 6TH ST SPC 23                 230 MCKENZIE PLACE
KNOXVILLE, IL 61448                         HARRISBURG, OR 97446-0000            HARRISBURG, OR 97446




CARRILLO BERTHA                             CARRILLO DOLORES                     CARRILLO QUIJANO, MARIA
350 MORIAH AVE                              400 LAWN TERRACE                     1849 ESIC DRIE
P.O. BOX 568                                ROUND LAKE, IL 60073                 EDWARDSVILLE, IL 62025
WENDOVER, UT 84083
                       Case 20-10766-BLS
CARRILLO RAMIREZ, JACQUELINE                 Doc
                                     CARRILLO, ANA6   Filed 04/07/20   Page CARRILLO,
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                                                                                      ANGELIQUE
3111 ROGERS ROAD                     1716 W SUMMIT ST                       ADDRESS ON FILE
LAS VEGAS, NM 87701                  EVANSTON, WY 82930




CARRILLO, BERTHALUPE G.               CARRILLO, EVANGELINA                  CARRILLO, GIANNA
645 CALIFORNIA ST                     ADDRESS ON FILE                       361 E CAMDEN LANE
WATSONVILLE, CA 95076                                                       ROUND LAKE BEACH, IL 60073




CARRILLO, JOCELIN                     CARRILLO, JOSE                        CARRILLO, JOSEPH A.
506 S 16TH ST. N/A                    13319 REXFORD ST                      2640 W. 121ST PLACE
ALPINE, TX 79830                      BLUE ISLAND, IL 60406                 BLUE ISLAND, IL 60406




CARRILLO, LARISSA ANN                 CARRILLO, MATEO                       CARRILLO, NANCY
2848 GAME FARM RD                     4327 W PARKER                         ADDRESS ON FILE
SPRINGFIELD, OR 97477                 CHICAGO, IL 60639




CARRILLO, STEPHANIE                   CARRINGTON, TINIKA L.                 CARROLL CHRISTOPHER R
ADDRESS ON FILE                       26 E MANCHESTER DR                    6 NORTH SHORE DRIVE
                                      CHICAGO HEIGHTS, IL 60411             EDWARDSVILLE, IL 62025




CARROLL CO CHAMBER OF COMMERCE        CARROLL CO GENERAL SESSIONS CT        CARROLL CO SPORTS HALL OF FAME
P.O. BOX 726                          99 COURT SQUARE                       C/O RONNIE WILLIAMS
HUNTINGDON, TN 38344                  SUITE 104                             475 TIMBER LANE
                                      HUNTINGDON, TN 38344                  HUNTINGDON, TN 38244




CARROLL COUNTY CIRCUIT COURT CLERK    CARROLL COUNTY COURT CLERK            CARROLL COUNTY ELECTRIC DEPT
99 COURT SQUARE 103                   625 HIGH ST                           P.O. BOX 527
HUNTINGDON, TN 38344                  STE 103                               HUNTINGDON, TN 38344-0527
                                      HUNTINGDON, TN 38344




CARROLL COUNTY LUMBER CO              CARROLL COUNTY TRUSTEE                CARROLL GEORGE C
15955 HIGHLAND DR                     625 HIGH STREET                       3060 FLORAL HILL DRIVE
MCKENZIE, TN 38201                    SUITE 106                             EUGENE, OR 97403
                                      HUNTINGDON, TN 38344




CARROLL PELFREY                       CARROLL, AUDREY A                     CARROLL, AUDREY D.
399 PACK CREEK RD                     ADDRESS ON FILE                       ADDRESS ON FILE
BLUE RIDGE, GA 30513




CARROLL, CYNTHIA                      CARROLL, DEBRA                        CARROLL, EISHA S.
14513 OAKLEY ST                       864 BROADLEAF ROAD                    216 APPLETON DR
DIXMOOR, IL 60426                     LOUISA, KY 41230                      APTOS, CA 95003
CARROLL, ELIZABETH     Case 20-10766-BLS
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                                                                            295 of 1969
                                                                                     JOHN L.
12125 HILLCREST PL                   1404 RUNNELS STREET                    ADDRESS ON FILE
MARYLAND HEIGHTS, MO 63043           BIG SPRING, TX 79720




CARROLL, JULIA L.                     CARROLL, KALA                         CARROLL, KAYLA D.
ADDRESS ON FILE                       760 N 200 ST                          ADDRESS ON FILE
                                      VANDALIA, IL 62471




CARROLL, LISA                         CARROLL, MARGARET L.                  CARROLL, MARY KATHERINE N.
5180 BUNDORAN ST NW                   10143 S OAKLEY AVE                    P.O. BOX 1181
NORTH CANTON, OH 44720                CHICAGO, IL 60643                     RAINSVILLE, AL 35986




CARROLL, MICHELLE                     CARROLL, PAULA B.                     CARROLL, RALPH W.
3144 MYRTLE AVE                       64 MEADOWS DRIVE                      4960 YACKEY DRIVE NW
GRANITE CITY, IL 62040                RAINSVILLE, AL 35986                  STRASBURG, OH 44680




CARROLL, ROGER A.                     CARROLL, THELMA                       CARROT-TOP INDUSTRIES INC
84324 HILLTOP DR                      1529 N CRATER AVE                     437 DIMMOCKS MILL ROAD
PLEASANT HILL, OR 97455               APT 58H                               P.O.BOX 820
                                      DOVER, OH 44622                       HILLSBOROUGH, NC 27278




CARRUTH, BEVERLY                      CARRUTH, TONY W.                      CARRUTHERS, TRACIE M.
ADDRESS ON FILE                       ADDRESS ON FILE                       632 CIRCLEHILL RD SE
                                                                            NORTH CANTON, OH 44720




CARSNER, RONALD C.                    CARSNER, RONALD C.                    CARSON BAILEY, MELINDA L.
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




CARSON TAHOE HEALTH SYSTEM            CARSON, AMBER NICOLE                  CARSON, CAITLYNN
1600 MEDICAL PARKWAY                  6734 HWY 137                          ADDRESS ON FILE
P.O. BOX 2168                         VALLEY HEAD, AL 35989
CARSON CITY, NV 89702




CARSON, LILA GAIL                     CARSON, PATTI                         CARSON, SAMEKA L.
3926 COUNTY RD 751                    1557 MARSHALL RD                      358 TANNERS BRIDGE CR
VALLEY HEAD, AL 35989-4547            RAINSVILLE, AL 35986                  BETHLEHEM, GA 30620-3210




CARSON, SHERIKA                       CARSTENS HEALTH IND INC               CARSTENS HEALTH IND INC
1808 S BENTON ST                      7310 W. WILSON AVE                    7310 W. WILSON AVE
BIG SPRING, TX 79720                  P.O. BOX 99110                        P.O. BOX 99110
                                      CHICAGO, IL 60693                     CHICAGO, IL 60706
CARSTENS HEALTH IND INC Case 20-10766-BLS
                                      CARSTENSDocINC.6  Filed 04/07/20   Page CARSTENS
                                                                              296 of 1969
7310 W. WILSON AVE                    P.O. BOX 99110                         PO BOX 99110
P.O. BOX 99110                        CHICAGO, IL 60693                      CHICAGO, IL 60693
CHICAGO,, IL 60693




CARSTENS, SARAH L.                     CARTE BLANCHE CATERERS                CARTEE, ANGELA
ADDRESS ON FILE                        1000 S BERTELSEN RD SUITE 1           1143 TEAL DR
                                       EUGENE, OR 97402                      RED BUD, IL 62278-2422




CARTER NELLIE                          CARTER STEPHANIE C                    CARTER, AARON
266 TY BLAKE DRIVE                     324 COUNTY ROAD 453                   P.O. BOX 304
CAMPTON, KY 41301                      COLLINSVILLE, AL 35961-4753           PICKNEYVILLE, IL 62274




CARTER, ALLISON W.                     CARTER, AMY D.                        CARTER, ANGELA R.
ADDRESS ON FILE                        8351 FALL DR. P O BOX 25              ADDRESS ON FILE
                                       SPARTA, IL 62286




CARTER, ANHELIA I.                     CARTER, BEVERLY B.                    CARTER, CAROLYN R.
ADDRESS ON FILE                        63 LOVING RD                          ADDRESS ON FILE
                                       MORGANTON, GA 30560




CARTER, CATHERINE                      CARTER, CHRYSANTHIA                   CARTER, CINDY L.
ADDRESS ON FILE                        533 SOUTH ST                          611 210TH AVE
                                       GREENVILLE, AL 36037                  MONMOUTH, IL 61462




CARTER, CYNTHIA L.                     CARTER, DEANN B.                      CARTER, DIANE C.
31 HORSTMAN LANE                       1546 BELL HILL RD                     18558 OLD PLANK ROAD
FOLEY, MO 63347                        MURPHY, NC 28906                      WILDWOOD, IL 60030




CARTER, EVELYN                         CARTER, JASMIN                        CARTER, KELLI C.
P.O. BOX 2698                          4111 BARBERRY LN APT 1 C              419 HOME AVE APT D
BIG SPRING, TX 79721-0000              ZION, IL 60099                        EDWARDSVILLE, IL 62025




CARTER, KENDALL                        CARTER, KERRI                         CARTER, KIMBERLY
ADDRESS ON FILE                        1129 W. 104TH PLACE                   40277 REUBEN LEIGH RD
                                       CHICAGO, IL 60643                     LOWELL, OR 97452




CARTER, KRYSTAL D.                     CARTER, LESTER E.                     CARTER, LEVI E.
209 HILLCREST DRIVE                    ADDRESS ON FILE                       ADDRESS ON FILE
TULLAHOMA, TN 37388
CARTER, LINDA           Case 20-10766-BLS
                                      CARTER, Doc 6 M.
                                              LUCRECE Filed 04/07/20    Page CARTER,
                                                                             297 of MICHELLE
                                                                                     1969 H.
ADDRESS ON FILE                        149 BOBWHITE ROAD                    ADDRESS ON FILE
                                       LOUISA, KY 41230




CARTER, MIRANDA L.                     CARTER, NATHAN                       CARTER, QUANTA C.
31 LAUREL FORK ROAD                    2440 LEGACY DR.                      151 INDIANA
GENOA, WV 25517                        POCATELLO, ID 83201                  PARK FOREST, IL 60466




CARTER, REBECCA L.                     CARTER, RENEE                        CARTER, SHAKERIA
1700 S. MAIN ST                        ADDRESS ON FILE                      ADDRESS ON FILE
BIG SPRING, TX 79720




CARTER, SHARON M.                      CARTER, STEPHANIE                    CARTER, SYLVIA A.
ADDRESS ON FILE                        5307 S HYDE PARK BLVD APT. 414       1107 GRAND AVENUE
                                       CHICAGO, IL 60615                    WAUKEGAN, IL 60085




CARTER, TABITHA R.                     CARTER, TAYLOR M.                    CARTER, TRILLAN
ADDRESS ON FILE                        ADDRESS ON FILE                      P.O. BOX 1485
                                                                            SOCIAL CIRCLE, GA 30025




CARTER, VICTORIA                       CARTER, WALTER                       CARTER, WHITNEY
ADDRESS ON FILE                        106 NANTAHALA LANE                   1812 GARRETT ST
                                       APT C                                RAINSVILLE, AL 35986
                                       BLAIRSVILLE, GA 30512-4496




CARTERS AUTO PARTS                     CARTERVILLE AREA ROTARY CLUB         CARTERVILLE CHAMBER OF COMMERCE
P.O. BOX 850                           P.O. BOX 362                         P O BOX 262
LOUISA, KY 41230                       CARTERVILLE, IL 62918                CARTERVILLE, IL 62918




CARTERVILLE CHAMBER                    CARTERVILLE FIRE DEPARTMENT          CARTERVILLE HIGH SCHOOL
OF COMMERCE                            300 NORTH DIVISION ST                1415 W. GRAND AVE.
P O BOX 262                            CARTERVILLE, IL 62918                CARTERVILLE, IL 62918
CARTERVILLE, IL 62918




CARTERVILLE JR HIGH SCHOOL             CARTERVILLE-STANLEY STEEMER          CARTILLAR, BRITNI
ATTN: KIMBERLY KRAATZ                  1800 CLARK STREET                    ADDRESS ON FILE
816 S DIVISION                         CARTERVILLE, IL 62918
CARTERVILLE, IL 62918




CARTILLAR, BRITNI                      CARTIVA INC                          CARTIVA INC
ADDRESS ON FILE                        DEPT 3846                            DEPT 3846
                                       P.O. BOX 123846                      P.O. BOX 123846
                                       DALLAS, TX 75312                     DALLAS, TX 75312-3808
CARTIVA INC                Case 20-10766-BLS   Doc
                                         CARTRON, JOY 6
                                                      Y. Filed 04/07/20      Page CARTWRIGHT,
                                                                                  298 of 1969 ALYSSA
DEPT 3846                                 423 WALNUT ST                           14631 CREEKVIEW DR
P.O. BOX 123846                           DECATUR, AL 35601                       ORLAND PARK, IL 60467
DALLAS, TX 75312-3846




CARTWRIGHT, BRITTANY                      CARTWRIGHT, CANDACE K.                  CARTWRIGHT, ELLIS J.
ADDRESS ON FILE                           ADDRESS ON FILE                         419 HIGH ST
                                                                                  LOCK HAVEN, PA 17745




CARTWRIGHT, JIMMY                         CARTY, KATLYN E.                        CARUTH, BEVERLY A.
4292 STATE HWY 106 EAST                   ADDRESS ON FILE                         ADDRESS ON FILE
GEORGIANA, AL 36033




CARVALHO, CHRISTINE A.                    CARVER, AMANDA N.                       CARVER, EMMA L.
171 PIONEER RD                            P.O. BOX 515064                         570 BIG CREEK CIRCLE
WATSONVILLE, CA 95076                     ST. LOUIS, MO 63151                     LAKETOWN, UT 84038




CARVER, JOHN A.                           CARVER, KELSEY                          CARVER, MARK D.
303 PINE LN                               1130 LOVING ROAD                        ADDRESS ON FILE
MINERAL BLUFF, GA 30559                   MORGANTON, GA 30560




CARY MEDICAL CENTER                       CARY, JAMES G.                          CARY, JUSTIN P.
163 VAN BUREN ROAD                        230 SCHOOL HOUSE ROAD                   ADDRESS ON FILE
SUITE 1                                   YUMA, TN 38390
CARIBOU, ME 04736-2599




CARYN HENN                                CAS MEDICAL SYSTEMS, INC                CAS MEDICAL SYSTEMS, INC
ADDRESS ON FILE                           44 EAST INDUSTRIAL ROAD                 P.O. BOX 392660
                                          BRANFORD, CT 06405                      PITTSBURGH, PA 15251-2660




CASAMBA LLC                               CASAPAO, ANGELITA A.                    CASARRUBIAS, SAMANTHA
5210 LEWIS ROAD SUITE 10                  ADDRESS ON FILE                         9259 S TROY
AGOURA HILLS, CA 91301                                                            EVERGREEN PARK, IL 60805




CASATRO, CYNTHIA                          CASCADE HEALTH BEHAVIORAL HEALTH        CASCADE HEALTH FOUNDATION
50 PARK VILLAGE DRIVE                     EAP                                     P.O. BOX 35142 428026
FLORENCE, OR 97439                        P.O. BOX 35142 NO 428026                SEATTLE, WA 98124-5142
                                          SEATTLE, WA 98124-5142




CASCADE HEALTH FOUNDATION                 CASCADE HEALTH SOLUTIONS                CASCADE MEDICAL ASSOCIATES
P.O. BOX 35142 NO 428026                  2650 SUZANNE WAY 200                    P.O. BOX 825
SEATTLE, WA 98124-5142                    EUGENE, OR 97408                        SPRINGFIELD, OR 97477
CASCO INTERNATIONAL INC Case 20-10766-BLS     Doc 6 Filed 04/07/20
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                                                                          299 ofMANUFACTURING
                                                                                 1969         SOLUTIONS INC
DBA C A SHORT COMPANY                 C.A. SHORT CO. INC                  3107 SPRING GROVE AVE
P.O. BOX 890151                       P.O. BOX 890151                     CINCINNATI, OH 45225
CHARLOTTE, NC 28289-0151              CHARLOTTE, NC 28289-0151




CASCO MANUFACTURING SOLUTIONS INC   CASE MEDICAL INC                      CASE, DONALD
3107 SPRING GROVE AVE               P.O. BOX 5069                         412 S 6TH AVE
CINCINNATI, OH 45225-0000           SOUTH HACKENSACK, NJ 07606            BARSTOW, CA 92311




CASE, HEATHER R.                    CASE, JAMIE                           CASE, KELLEY
6880 RENO DR                        576 HIGHWAY 1496                      ADDRESS ON FILE
LOUISVILLE, OH 44641                LOUISA, KY 41230




CASE, TIMOTHY M.                    CASE, YVONNE                          CASEMETRO
ADDRESS ON FILE                     6161 WILLOW ROAD                      520 LINCOLN AVE
                                    IDER, AL 35981                        SUITE 200
                                                                          DOWNINGTOWN, PA 19335




CASEY AINSWORTH, LPN                CASEY FITZGERALD                      CASEY HUFF
                                    1435 NICHOLASVILLE RD                 10695 LICK CREEK RD
                                    APT 2223                              BUNCOMBE, IL 62912
                                    LEXINGTON, KY 40503-0000




CASEY MCNABB                        CASEY, ANNIE                          CASEY, BONNIE F.
3667 YOGI WAY                       363 OAK ST                            427 SFC 741
EUGENE, OR 97404                    LUVERNE, AL 36049                     FORREST CITY, AR 72335




CASEY, BRENDA                       CASEY, BRIAN S.                       CASEY, BRITTANY N.
ADDRESS ON FILE                     ADDRESS ON FILE                       301 S CLINTON ST
                                                                          NEW ATHENS, IL 62264




CASEY, CHELSIE J.                   CASEY, PATRICK                        CASEYS GENERAL STORE
ADDRESS ON FILE                     128 WEST CROSS ST                     P.O. BOX 3001
                                    DONGOLA, IL 62926                     ANKENY, IA 50021




CASH ADVANCE CENTERS OF ILL, NC     CASH EXPRESS                          CASH JENNIFER R
4142 W 167TH ST                     P.O. BOX 349                          955 LAUREL BRANCH RD
OAK FOREST, IL 60452                INEZ, KY 41224                        MURPHY, NC 28906




CASH, LAWRENCE L.                   CASH, MORGAN                          CASH, SHANNON
929 CHARLES AVE                     ADDRESS ON FILE                       ADDRESS ON FILE
WINTHROP HARBOR, IL 60096
CASH, VICKI              Case 20-10766-BLS    Doc
                                       CASHCITY    6 CORP
                                                LOANS Filed 04/07/20      Page CASH-LYNCH,
                                                                               300 of 1969 ANGELA B.
ADDRESS ON FILE                         5603 W 79TH ST                         ADDRESS ON FILE
                                        UNIT B
                                        BURBANK, IL 60459




CASHMAN, KIP                            CASHMORE, BLAINE J.                    CASHMORE, BLAINE
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




CASHSTAR, INC                           CASIE STINSON                          CASILLAS BERUMEN, SERGIO G.
P.O. BOX 913248                         ADDRESS ON FILE                        ADDRESS ON FILE
DENVER, CO 80291-3248




CASILLAS, ERICK A.                      CASILLAS, MARIA A.                     CASILLAS, SERGIO MD
13614 ZIRCON WAY                        1300 S. ROSWELL ST.                    ADDRESS ON FILE
VICTORVILLE, CA 92394                   DEMING, NM 88030




CASILLAS, VALERIE                       CASIMIER, PORAY                        CASINO, KRYSTA
1755 YUMA RD SW                         10500 S CHURCH ST                      ADDRESS ON FILE
DEMING, NM 88030                        CHICAGO, IL 60643




CASKILL, BETTY                          CASOLARI, LINDSAY                      CASOLARI, MARK
344 SKY HIGH DRIVE                      2947 DILLINGER ROAD                    2947 DILLINGER RD
BLUE RIDGE, GA 30513                    CARBONDALE, IL 62901                   CARBONDALE, IL 62901




CASON, ELLEN G.                         CASON, NANCY                           CASPARY, HOLLY
ADDRESS ON FILE                         1470 MESQUITE DR                       732 GREENWOOD DR
                                        HOLLISTER, CA 95023                    CANAL FULTON, OH 44614-9135




CASPER, ALICE                           CASPER, AMY                            CASPER, HEATHER M.
101 CROOKED CREEK LN                    119 W. MONROE ST.                      4176 APOLLO RD SE
DONGOLA, IL 62926-0000                  ANNA, IL 62906-0000                    AMSTERDAM, OH 43903




CASPER, SAMANTHA B.                     CASPER, SAMANTHA B.                    CASPIAN CAPITAL LP -FM
ADDRESS ON FILE                         1288 WINDBROOKE DRIVE                  BLACKSTONE ALTERNATIVE INVESTMENT
                                        GRIMESLAND, NC 27837                   FUND PLC




CASPIAN CAPITAL LP -FM                  CASPIAN CAPITAL LP -FM                 CASPIAN CAPITAL LP -FM
BLACKSTONE ALTERNATIVE MULTI-           CASPIAN FOCUSED OPPORTUNITIES FUND,    CASPIAN HLSC1, LLC
STRATEGY SUB FUND IV L.L.C.             LP
CASPIAN CAPITAL LP -FM   Case 20-10766-BLS
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CASPIAN SC HOLDINGS LP                  CASPIAN SELECT CREDIT MASTER FUND        CASPIAN SOLITUDE MASTER FUND LP
                                        LTD




CASPIAN CAPITAL LP -FM                  CASPIAN CAPITAL LP -FM                   CASS COUNTY MEMORIAL HOSPITAL
SPRING CREEK CAPITAL, LLC-3             SUPER CASPIAN CAYMAN FUND LIMITED        1501 E. 10TH STREET
                                                                                 ATLANTIC, IA 50022




CASS, MAYME M.                          CASSANDRA BAKER                          CASSANDRA DUTY
ADDRESS ON FILE                         9668 HAYDEN DR                           683 PROSPERITY LN
                                        APT 5                                    MESQUITE, NV 89027
                                        MASCOUTAH, IL 62258




CASSANDRA LLOYD                         CASSANDRA LUCERO                         CASSAR, JOSETTE
ADDRESS ON FILE                         2701 7TH STREET SP 41                    171 BROWNS VALLEY RD
                                        LAS VEGAS, NM 87701                      WATSONVILLE, CA 95076




CASSAUNDRA FRIEND                       CASSEDAY, PAM                            CASSEDAY, PAMELA
1135 W NORTH ST                         ADDRESS ON FILE                          ADDRESS ON FILE
GALESBURG, IL 61401




CASSELL, JOHN                           CASSIDY HOWELL                           CASSIDY, MICHAEL P.
682 WEST EDEN LANE                      ADDRESS ON FILE                          10 MAREA ST APT. 5
INEZ, KY 41224                                                                   LA SELVA, CA 95076




CASSIDY, SHELIA D.                      CASSIE CAUSEY                            CASSIE CIRIMOTICH
729 WAGON WHEEL RD                      102 BAYARD AVE                           1215 BRIDGE AVE
GREENVILLE, AL 36037                    KNOXVILLE, IL 61448                      GALESBURG, IL 61401




CASSIE CIRIMOTICH                       CASSIE STONE                             CASSIE W PEARSON
ADDRESS ON FILE                         1022 S MADISON ST                        797 ALBERTON ROAD
                                        LEWISTOWN, IL 61542                      LEXINGTON, TN 38351




CASSIL, VIRGINIA L.                     CASSITY-MICKLE, PAULA                    CASSLING
615 PLAT I ROAD                         P.O. BOX 1347 30425 LAKE ST              13808 F STREET
SUTHERLIN, OR 97479                     LUCERNE VALLEY, CA 92356                 OMAHA, NE 68137




CASTANEDA SAMANIEGO, LILIANA A.         CASTANEDA, BRENDA                        CASTANEDA, SARAI Y.
P.O. BOX 1896                           1503 KILDEER ST                          ADDRESS ON FILE
MESQUITE, NV 89024                      ROUND LAKE BEACH, IL 60073
CASTELL, NADIA            Case 20-10766-BLS
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2123 W HOUSTON AVE                      3090 HIGHWAY 1 SOUTH                811 E 14TH ST
FULLERTON, CA 92833                     MARIANNA, AR 72360                  BIG SPRING, TX 79720-0000




CASTELLANO, SARA                        CASTELLANOS, AGUSTINA               CASTELLANOS, JOHN
115 SOUTH GRAND SPACE 2                 43 FLETCHER CT.                     9688 W 16TH ST
LAS VEGAS, NM 87701                     WATSONVILLE, CA 95076               ZION, IL 60099




CASTELLARI, REANNA R.                   CASTELLI, NIKKI A.                  CASTILAW, THOMAS
ADDRESS ON FILE                         824 S 1ST ST                        ADDRESS ON FILE
                                        BARSTOW, CA 92311-0000




CASTILLO DAVALOS, ARASELI               CASTILLO REYNA                      CASTILLO TOMASA
161 DESERT DR SPC 62                    117 N MCAREE RD                     223 S VICTORY ST
MESQUITE, NV 89027                      WAUKEGAN, IL 60085                  WAUKEGAN, IL 60085




CASTILLO, AMY                           CASTILLO, ARASELI                   CASTILLO, CHERYL D.
17742 STATE LINE AVENUE                 161 DESERT DR                       2604 CORONADO AVE.
LANSING, IL 60438                       MESQUITE, NV 89027                  BIG SPRING, TX 79720




CASTILLO, DELIA T.                      CASTILLO, ERIKA                     CASTILLO, EUGENIO
11900 RICO ST                           25 DICK PHELPS RD                   2108 S. MAIN
CASTROVILLE, CA 95012                   WATSONVILLE, CA 95076               BIG SPRING, TX 79720




CASTILLO, GINA B.                       CASTILLO, HAZEL LYNN T.             CASTILLO, JEANETTE
12521 S DEER PARK DRIVE                 ADDRESS ON FILE                     213 PACIFICA BLVD UNIT 202
ALSIP, IL 60803                                                             WATSONVILLE, CA 95076




CASTILLO, JOSEPH                        CASTILLO, JUAN P.                   CASTILLO, KIRBY S.
712 VIRGINIA ST                         3007 N. KENNETH AVE.                1707 N FROLIC AVE
BAYARD, NM 88023                        CHICAGO, IL 60641                   WAUKEGAN, IL 60085




CASTILLO, MD, PHD, MARIO J              CASTILLO, MELISSA L.                CASTILLO, MELISSA
4 GLENWICK COVE                         36915 MOONBROOK LANE                1205 HARDING
BIG SPRING, TX 79720                    MURRIETA, CA 92563                  BIG SPRING, TX 79720




CASTILLO, MONICA                        CASTILLO, RAMON                     CASTILLO, SHERRY
14115 WESTERN AVE.T307                  10210 ROBERTA PLACE                 ADDRESS ON FILE
BLUE ISLAND, IL 60406                   CASTROVILLE, CA 95012
CASTILLO, SHIRLEY         Case 20-10766-BLS    Doc
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                                                                                             STEPHANIE M.
ADDRESS ON FILE                           5925 NORTE RD SE                         ADDRESS ON FILE
                                          DEMING, NM 88030




CASTILLO, TALVA H.                        CASTLE JR, ROBERT L.                     CASTLE, ASHLEY M.
1031 HICKORY ST                           644 HIGHWAY 1                            ADDRESS ON FILE
COLORADO CITY, TX 79512                   LOUISA, KY 41230




CASTLE, KIMBERLY                          CASTLE, MARK                             CASTLE, MICHAEL D.
ADDRESS ON FILE                           ADDRESS ON FILE                          76 SMOKEY HOLLOW
                                                                                   THEALKA, KY 41240




CASTLE, STEVEN                            CASTLEBERRY, KATIE                       CASTLEBERRY, TALLIE
29334 RT 52                               ADDRESS ON FILE                          101 E CENTRAL AVE
FORT GAY, WV 25514                                                                 MCCAYSVILLE, GA 30555-2511




CASTLEMAN, MATTHEW                        CASTLEN, ROBERT                          CASTNER, LAWRENCE E.
2041 N. 425 ST                            373 N. OLD ASKA RD                       6322 CHILTERN RD NW
VANDALIA, IL 62471                        BLUE RIDGE, GA 30513                     CANAL FULTON, OH 44614




CASTO, KARIANNE                           CASTONGUAY, ILYA                         CASTOR, MARIE-FRANCE
6151 HOLDERMAN AVE                        612 OAK AVE                              ADDRESS ON FILE
LOUISVILLE, OH 44641                      LAKE BLUFF, IL 60044




CASTREJON ISABEL                          CASTREJON, LIZBETH                       CASTRO ELIZABETH
1310 JACKSON ST                           ADDRESS ON FILE                          304 WOODLAWN DR
NORTH CHICAGO, IL 60064                                                            MUNDELEIN, IL 60060




CASTRO, ANGIE                             CASTRO, ANGIE                            CASTRO, CELITA
4217 MUIR ST                              4217 MUIR                                ADDRESS ON FILE
BIG SPRING, TX 79720                      BIG SPRING, TX 79720




CASTRO, GAVINO                            CASTRO, HECTOR J.                        CASTRO, JUDITH
16230 BORMET DRIVE                        205 SPRING                               788 RODRIGUEZ ST 55
TINLEY PARK, IL 60477                     KYLE, TX 78640                           WATSONVILLE, CA 95076




CASTRO, MARGARITA                         CASTRO, MARY                             CASTRO, MELODY
16078 RANCHERIAS RD APT F                 420 WILSHIRE PLACE APT C                 3414 SPRING DRIVE
APPLE VALLEY, CA 92307                    BARSTOW, CA 92311                        ATLANTA, GA 30360
CASTRO, PEGGY L.            Case 20-10766-BLS
                                          CASTRO,Doc 6 Filed
                                                 SHANANDREA A. 04/07/20    Page CASTRO,
                                                                                304 of STEPHANIE
                                                                                        1969
16230 BORMET DRIVE                         16375 WOODLAND HILLS LANE            1122 N ASH ST
TINLEY PARK, IL 60477                      WATSONVILLE, CA 95076                WAUKEGAN, IL 60085




CASTRODALE MARY L                          CASTRODALE, MARY L.                  CASWELL, TRACY A.
1538 N PRAIRIE ST                          1538 N PRAIRIE ST                    ADDRESS ON FILE
GALESBURG        IL, IL 61401              GALESBURG        IL, IL 61401




CATALANO-MCCLUNG, TONI                     CATALAN-RIVERA, IVELISSE             CATANUS, MYLENE H.
1255 NEWCOMB DRIVE                         108 BALDWIN AVE                      39203 NORTH OGDEN LANE
UNIONTOWN, OH 44685                        WAUKEGAN, IL 60085                   BEACH PARK, IL 60083




CATE, MAURINE                              CATES, AMANDA                        CATES, KARLA
13114 S COVEY RUN LANE                     P.O. BOX 1032                        401 E. WILSON AVENUE
SPOKANE, WA 99224                          PECOS, NM 87552                      SANDOVAL, IL 62882




CATES, RACHEL M.                           CATES, VONNICE J.                    CATHCART, CHARLES
325 SYCAMORE ST                            626 SADDLE RIDGE DRIVE               506 PIN OAK LN
COLLINSVILLE, IL 62234                     BETHLEHEM, GA 30620                  MARISSA, IL 62257




CATHERINE A JAMES                          CATHERINE E ROOTES                   CATHERINE HARRINGTON, M.D.
279 MICHIGAN AVE APT 209                   1592 1ST ST NE                       265 E 100 N
GALESBURG, IL 61401                        APT E                                MONTICELLO, UT 84535
                                           MASSILLON, OH 44646




CATHERINE THOMPSON                         CATHERINE WORKMAN                    CATHEY, CHRISTY DEE
615 SOUTH CLAY STREET                      209 MCELHATTAN AVE                   47166 AIRPORT RD
SANDOVAL, IL 62882                         LOCK HAVEN, PA 17745                 P.O. BOX 892
                                                                                OAKRIDGE, OR 97463




CATHLEEN N BISHOP                          CATHOLIC CHARITIES OF THE            CATHOLIC COMMUNITY SERVICES OF LANE
1309 BERWICK RD                            ARCHDIOCESE OF CHICAGO               COUNTY
BERWICK, IL 61417                          721 N. LASALLE                       1025 G STREET
                                           CHICAGO, IL 60654                    SPRINGFIELD, OR 97477




CATHY GEBRU                                CATHY GEBRU                          CATHY SOLOMON
1602 ANGLIND ROAD                          ADDRESS ON FILE                      205 STAR LANE
ALEXIS, IL 61412                                                                GLEN CARBON, IL 62034




CATHY STEPHENS-CROEL                       CATHY TAYLOR                         CATIZONE, STACEY L.
22300 WAALEW ROAD                          10816 N DAVID COURT                  454 BARNABY DRIVE
APPLE VALLEY, CA 92307-6916                PEORIA, IL 61615                     OSWEGO, IL 60543
CATLETT, ADAM             Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                        CATLIN PLM-206298-0114         Page CATLIN
                                                                            305 ofSTEVEN
                                                                                    1969
373 HWY 318                                                                 P.O. BOX 1
MARVELL, AR 72366                                                           ROBERTSON, WY 82944-0001




CATLIN, ANGIE M.                        CATLIN, ANGIE                       CATO GARDOZA, JR, DEVANE
ADDRESS ON FILE                         ADDRESS ON FILE                     P.O. BOX 1067
                                                                            204 WILDCAT RD
                                                                            WILLIAMSTON, NC 27892




CATO, ASHLEY L.                         CATO, MARIANN                       CATON, CAROLINE
ADDRESS ON FILE                         ADDRESS ON FILE                     1313 GRAND AVE
                                                                            EDWARDSVILLE, IL 62025




CATRETT, JOHN                           CATRON, KENNETH                     CATRON, MICHELE
535 CHAPEL HILL RD                      14237 S WENTWORTH AVE               ADDRESS ON FILE
RUTLEDGE, AL 36071                      RIVERDALE, IL 60827




CATRONE, CHRIS                          CATRONE, SHEILA                     CATT, WILLIAM
2304 N MILLBORNE RD                     2304 N MILLBORNE RD                 313 LAKEWOOD
ORRVILLE, OH 44667-9560                 ORRVILLE, OH 44667-9560             WEST MEMPHIS, AR 72301




CATTELAN, CAROL                         CATUNAO, HALSEY D.                  CAUDELL JAMES
1321 UINTA DRIVE                        9815 69TH ST                        ADDRESS ON FILE
KEMMERER, WY 83101-3929                 KENOSHA, WI 53142




CAUDELL, JAMES E.                       CAUDELL, THERESA                    CAUDILL, BETSY
ADDRESS ON FILE                         65 BAKER BAR SUBDIVISON             795 BOONE CREEK ROAD
                                        BEATTYVILLE, KY 41311               STANTON, KY 40380




CAUDILL, BOBBY                          CAUDILL, ERIC                       CAUDILL, ETHEL
907 ADAMS STREET                        2390 HWY 541                        6808 US 460
LOUISA, KY 41230                        JACKSON, KY 41339                   OIL SPRINGS, KY 41238




CAUDILL, JEREMY P.                      CAUDILL, JONATHAN                   CAUDILL, JULIE
106 LOUIS DR                            921 WOODLAND COURT                  83 ROBERT HOLLON LANE
SEARCY, AR 72143                        PAINTSVILLE, KY 41240               JACKSON, KY 41339




CAUDILL, MANDY                          CAUDILL, REBECCA M.                 CAUDILL, REBECCA M.
1321 AGARITA AVE                        411 JOHNSON BRANCH                  ADDRESS ON FILE
BARSTOW, CA 92311                       HAGER HILL, KY 41222
CAUDILL, STEPHANIE      Case 20-10766-BLS
                                      CAUDILL,Doc 6 Filed
                                              STEPHENIA R. 04/07/20   Page CAUDILL,
                                                                           306 of TIFFANY
                                                                                    1969
55 SUNSET HOLLOW                      ADDRESS ON FILE                      27 CHESTNUT DR
STAFFORDSVILLE, KY 41256                                                   JACKSON, KY 41339




CAUDILL, TIMOTHY J.                  CAUDILL, WILLIAM J.                   CAUDILLO CHRISTINE
ADDRESS ON FILE                      27 CHESTNUT DRIVE                     440 E LAKE DR
                                     JACKSON, KY 41339                     EDWARDSVILLE, IL 62025




CAUGHRON, JOSH                       CAULDER, LISA                         CAULDER, SANDRA
ADDRESS ON FILE                      76 WHISPERING PINES RD                504 QUEBEC RD
                                     BLUE RIDGE, GA 30513                  COLERAIN, NC 27924




CAUPERT, ERICA                       CAUSEY, AVIS                          CAUTHEN, ANDREW
1320 N 17TH ST                       18950 BIRCH AVE                       5631 CLEARVIEW ST
BELLEVILLE, IL 62226-0000            COUNTRY CLUB HILL, IL 60478           COTTONDALE, AL 35453




CAVALCANTI, RENATE K.                CAVALLARO, VIRGINIA                   CAVALLO BUS LINES, LLC
ADDRESS ON FILE                      2990 TARA MURPHY DR                   509 ILLINOIS AVE
                                     HENDERSON, NV 89044                   GILLESPIE, IL 62033




CAVAROC, MARIE                       CAVAZOS, ASHLEY M.                    CAVAZOS, JOE
1455 CLEARWATER LANE                 2511 BROADWAY ST                      3615 CONNALLY
SPRINGFIELD, OR 97478                BIG SPRING, TX 79720                  BIG SPRING, TX 79720




CAVENDER, JAMES                      CAVINEE, JULIE A.                     CAVINEE, JULIE
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




CAVINS, ALEXANDRA B.                 CAVINS, CONNIE J.                     CAVINS, CRYSTAL D.
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




CAVINS, TYLER G.                     CAWVEY, RACHAEL                       CAYANONG, LAURICE A.
ADDRESS ON FILE                      ADDRESS ON FILE                       3187 N AUGUSTA DR
                                                                           WADSWORTH, IL 60083




CAYTON, BRITTNEY L.                  CAZARES, ALYSSA                       CAZARES, MARY LOU
707 40TH ST SE                       1408 S SILVER AVE                     401 S. FLORENCE P.O. BOX 97
CANTON, OH 44707                     DEMING, NM 88030                      STANTON, TX 79782
CAZAREZ, IRMA J.          Case 20-10766-BLS
                                        CAZINS Doc 6      Filed 04/07/20   Page CBG
                                                                                307BIOTECH
                                                                                    of 1969LTD
2427 CHURCH AVE                         P.O. BOX 169                            30175 SOLON INDUSTRIAL PARKWAY
RAINSVILLE, AL 35986                    EVANSTON, WY 82931-0169                 SOLON, OH 44139




CBSPD, OASIS COMMONS                    CBT NUGGETS LLC                         CCH AUXILIARY
148 MAIN STREET                         1550 VALLEY RIVER DR                    8 DOCTORS PARK ROAD
SUITE D-1                               EUGENE, OR 97401                        MT. VERNON, IL 62864
LEBANON, NJ 08833




CCJRM-INNOVATION PMT                    CCMSI                                   CCMSI
CONTRACTOR                              2 EAST MAIN TOWN CENTER BLVD            2 EAST MAIN TOWN CENTER BLVD
P.O. BOX 809351                         DANVILLE, IL 61832                      TOWNE CENTRE BUILDING
CHICAGO, IL 60680-9351                                                          DANVILLE, IL 61832




CCMSI                                   CCOA LOCKBOX                            CCS-SALYER, LLC
3333 WARRENVILLE ROAD                   P.O. BOX 73651                          31330 SCHOOLCRAFT RD
LISLE, IL 60532                         CLEVELAND, OH 44193-1177                LIVONIA, MI 48150




CDEBACA, EARLENE V.                     CDEBACA, MICHAEL                        CDH PARTNERS INC
ADDRESS ON FILE                         5201 FREDRICK CT APT F                  675 TOWER RD
                                        GURNEE, IL 60031                        MARIETTA, GA 30060




CDR INVESTMENTS, INC.                   CDS ELECTRIC                            CDS ELECTRIC
P.O. BOX 111                            242 ASPEN HILLS CT                      242 ASPEN HILLS CT
BIG SPRING, TX 79720                    EVANSTON, WY 82930-4785                 P.O. BOX 610
                                                                                EVANSTON, WY 82930-4785




CDS ELECTRIC                            CDW COMPUTER CENTERS INC                CDW COMPUTER CENTERS INC
242 ASPEN HILLS CT                      75 REMITTANCE DRIVE SUITE 1515          75 REMITTANCE DRIVE SUITE 1515
P.O. BOX 610                            P.O. BOX 75723                          P.O. BOX 75723
EVANSTON, WY 82931-0610                 CHICAGO, IL 60675-1515                  CHICAGO, IL 60675-5723




CDW COMPUTER CENTERS INC                CDW COMPUTER CENTERS, INC               CDW DIRECT LLC
P.O. BOX 75723                          P O BOX 75723                           75 REMITTANCE DR
CHICAGO, IL 60675-5723                  CHICAGO, IL 60675-5723                  STE 1515
                                                                                CHICAGO, IL 60675




CDW DIRECT LLC                          CDW DIRECT LLC                          CDW GOVERMENT INC
75 REMITTANCE DRIVE SUITE 1515          75 REMITTANCE DRIVE                     75 REMITTANCE DRIVE SUITE 1515
P.O. BOX 75723                          SUITE 1515                              P.O. BOX 75723
CHICAGO, IL 60675-5723                  CHICAGO, IL 60675                       CHICAGO, IL 60675-1515




CDW GOVERMENT INC                       CDW GOVERNMENT INC                      CDW GOVERNMENT INC
75 REMITTANCE DRIVE SUITE 1515          75 REMITTANCE DR 1515                   75 REMITTANCE DRIVE SUITE 1515
P.O. BOX 75723                          CHICAGO, IL 60675-1515                  P.O. BOX 75723
CHICAGO, IL 60675-5723                                                          CHICAGO, IL 60675-1515
CDW GOVERNMENT INC         Case 20-10766-BLS   Doc 6 Filed
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                                                                            308GOVERNMENT
                                                                                of 1969
75 REMITTANCE DRIVE                      75 REMITTANCE DRIVE               75 REMITTANCE DR
CHICAGO, IL 60675-1515                   SUITE 1515                        STE 1515
                                         CHICAGO, IL 60675-1515            CHICAGO, IL 60675-1515




CDW GOVERNMENT                           CDW GOVERNMENT                    CDW GOVERNMENT, INC.
75 REMITTANCE DRIVE                      75 REMITTANCE DRIVE               75 REMITTANCE DR.
STE 1515                                 SUITE 1515                        SUITE 1515
CHICAGO, IL 60675-1515                   CHICAGO, IL 60675                 CHICAGO, IL 60675-1515




CDW GOVERNMENT, INC/30                   CDW-G GOVERNMENT                  CDW-G
75 REMITTANCE DR. SUITE 1515             75 REMITTANCE DR, STE 1515        75 REMITTANCE DRIVE STE 1515
ACCT 4398032                             CHICAGO, IL 60675-1515            CHICAGO, IL 60675-1515
CHICAGO, IL 60675-1515




CDW-G                                    CEARLEY JOHN W                    CEASER, WALTER L.
CDW GOVERNMENTAL INC.                    P.O. BOX 839                      772 W MCAULEY DR
75 REMITTANCE SUITE 1515                 DUCKTOWN, TN 37326                WEST MEMPHIS, AR 72301
CHICAGO, IL 60675-1515




CECELIA FLORA                            CECIL MCGREW                      CECIL, MARCY A.
4417 GODFREY AVENUE NE                   907 E TWYMAN ST                   ADDRESS ON FILE
FORT PAYNE, AL 35967                     BUSHNELL, IL 61422




CECILIA ALMAZAN                          CECILIA MCVEY                     CECILIO-FARIST, HERMELINDA
1204 S. MONTECELLO ST.                   1715 N KELLOGG                    114 WARLICK DRIVE
BIG SPRING, TX 79720                     GALESBURG, IL 61401               ELLIJAY, GA 30540-5940




CED/CAIN ELECTRICAL SUPPLY               CEDANO, BERNARDA A.               CEDAR BLUFF OIL COMPANY
P.O. BOX 206562                          4337 COLE PL                      P O BOX 249
DALLAS, TX 75320-6562                    SHREVEPORT, LA 71109              CEDAR BLUFF, AL 35959




CEDAR CREEK HALL                         CEDAR CREEK LLC CORP OFFICE       CEDARHURST CENTER FOR THE ARTS
571 E NORTH ST                           450 N MACARTHUR                   2600 RICHVIEW ROAD
GALESBURG, IL 61401                      OKLAHOMA CITY, OK 73127           P.O.BOX 923
                                                                           MT. VERNON, IL 62864




CEDAR-SINAI MEDICAL SENTER               CEDE & CO (FAST ACCOUNT)          CEDILLO, SHAYLA
8797 BEVERLY BLVD SUITE 250              P.O. BOX 20                       1811 SANDERS AVENUE NE
LOS ANGELES, CA 90048                    BOWLING GREEN STATION             FORT PAYNE, AL 35967
                                         NEW YORK, NY 10004




CEDRO TORO                               CEECO                             CEFARATTI, JEANETTE
LEAN SIX SIGMA TOOLBOX                   519 W. SOUTH PARK ST.             81 WESTBROOKE
896 E 3240 N                             OKEECHOBEE, FL 34972              TROY, IL 62294
LEHI, UT 84043
CEFFALIO, JACQUELINE     Case 20-10766-BLS     Doc 6K. Filed 04/07/20
                                       CEJA, CHELENE                       Page CEJA,
                                                                                309 MANUEL
                                                                                      of 1969
141 SHALLOW CREEK                       1708 S. EMERSON DR.                     1708 S. EMERSON
BLAIRSVILLE, GA 30512                   DEMING, NM 88030                        DEMING, NM 88030




CELESTE CLAYTON                         CELESTRIN, SUSANA                       CELINA A HOWELL
15531 DREXEL AVE                        83 STRAUSS VILLAGE LANE                 ADDRESS ON FILE
DOLTON, IL 60419-2749                   BLUE RIDGE, GA 30513-2932




CELIZ-JABER, CATHERINE                  CELL MARQUE CORP                        CELLCO PARTNERSHIP
10335 S MAYFIELD 3N                     DEPT 951                                VERIZON WIRELESS
OAK LAWN, IL 60453                      P.O. BOX 52194                          P.O. BOX 25505
                                        PHOENIX, AZ 85072-2194                  LEHIGH VALLEY, PA 18002-5505




CELLULAR DATA SOLUTIONS                 CELTIC HEALTHCARE                       CELULARITY INC.
1014 MILLS PARK ROAD                    150 SCHARBERRY LANE                     P.O. BOX 21648
BRYANT, AR 72022                        MARS, PA 16046                          NEW YORK, NY 10087




CEMENT MASONS LOCAL 90                  CEMENT MASONS LOCAL 90                  CENIGA, LINDSEY
825 MARYVILLE CENTER DR                 P.O. BOX 6877                           955 VINE STREET
CHESTERFIELD, MO 63017-0000             CHESTERFIELD, MO 63006                  JUNCTION CITY, OR 97448




CENIZO JOURNAL                          CENPATICO BEHAVIORAL HEALTH             CENPATICO
P.O. BOX 2025                           ATTN: REFUNDS DEPARTMENT                12515-8 RESEARCH
ALPINE, TX 79831                        P.O. BOX 7100                           SUITE 400
                                        FARMINGTON, MO 63640-3815               AUSTIN, TX 78759




CENTEGRA HEALTH SYSTEM                  CENTENE - ILLINICARE HEALTH PLAN        CENTENE COUNTYCARE
4021 MEDICAL CENTER DR.                 P.O. BOX 4020                           P.O. BOX 5010
MCHENRY, IL 60050                       FARMINGTON, MO 63640-4402               FARMINGTON, MO 63640-5010




CENTENE MGMT CORP                       CENTENE                                 CENTER FOR GASTRO HEALTH
ATTN BOX 233805                         ATTN: PEACH STATE HEALTH PLAN           & DR. SPRUNGER
3805 MOMENTUM PL                        P.O. BOX 936142                         5023 N. ILLINOIS ST
CHICAGO, IL 60689                       ATLANTA, GA 31193-6142                  FAIRVIEW HEIGHTS, IL 62208-0000




CENTERING CORP                          CENTERING CORPORATION                   CENTERPOINT ENERGY ARKLA
7230 MAPLE ST                           7230 MAPLE STREET                       P O BOX 4583
OMAHA, NE 68134                         OMAHA, NE 68134                         HOUSTON, TX 77210-4583




CENTERPOINT ENERGY ARKLA                CENTERPOINT ENERGY INC                  CENTERPOINT ENERGY SERVICES
P.O. BOX 4583                           1111 LOUISIANA ST                       P.O. BOX 301149
HOUSTON, TX 77210-4583                  HOUSTON, TX 77002                       DALLAS, TX 75303-1149
CENTERPOINTE HOSPITAL Case 20-10766-BLS
                                    CENTERSDoc   6 Filed
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                                                         CONT. &        Page CENTERS
                                                                             310 of 1969
                                                                                     FOR MEDICARE & MEDICAID
4801 WELDON SPRING PKWY             PREVENTION                               SERVICES
ATTN SHEILA HUNT                    1600 CLINTON ROAD                        DIVISION OD PREMIUM BILLING & COLL
ST CHARLES, MO 63304                ATLANTA, GA 30329-4027                   MAIL STOP C3-11-03 7500 SECURITY BL
                                                                             BALTIMORE, MD 21244



CENTERS, ANGEL M.                     CENTERSTONE FOUNDATION                 CENTERSTONE OF IL, INC
319 LYNN DR                           200 N EMERALD LANE                     ATTN: CENTRAL BILLING OFFICE
CROSSVILLE, AL 35962                  ATTN: JOCELYN POPIT                    902 W MAIN ST
                                      CARBONDALE, IL 62901                   WEST FRANKFORT, IL 62896




CENTIMARK CORP                        CENTIMARK CORPORATION                  CENTINEL SPINE LLC
P.O. BOX 536254                       12 GRANDVIEW CIRCLE                    P.O. BOX 207368
PITTSBURGH, PA 15253-5904             P.O. BOX 536254                        DALLAS, TX 75320-7368
                                      CANONSBURG, PA 15317




CENTRAL ALABAMA PHYSICIAN SERVICES,   CENTRAL CHILD SUPPORT                  CENTRAL CHRISTIAN CHURCH
INC.                                  RECEIVING UNIT                         301 N. 10TH ST.
2 NORTH JACKSON STREET                P.O. BOX 305200                        MT VERNON, IL 62864
SUITE 605                             NASHVILLE, TN 37229
MONTGOMERY, AL 36104



CENTRAL COUNTY EMERGENCY 911          CENTRAL EXTERMINATING COMPANY          CENTRAL EXTERMINATION CO
ATTN: J W TERRILL                     3202 ST CLAIR AVE                      3202 ST CLAIR AVE
825 MARYVILLE CENTRE DR STE 200       CLEVELAND, OH 44114                    CLEVELAND, OH 44114
ST. LOUIS, MO 63017




CENTRAL IL IMAGING JV                 CENTRAL IL IMAGING JV                  CENTRAL IL LOANS
P.O. BOX 741127                       PO BOX 741127                          1110 N CARBON
LOS ANGELES, CA 90074-1127            LOS ANGELES, CA 90074-1127             MARION, IL 62959




CENTRAL IL SPICE COMPANY              CENTRAL ILLINOIS BAKEHOUSE             CENTRAL ILLINOIS PRODUCE
SPICE OF LIFE                         208 N. 1ST ST                          500 S GLOVER AVE
500 SOUTH GLOVER                      CHAMPAIGN, IL 61820                    URBANA, IL 61802
URBANA, IL 61802




CENTRAL SCALE & SUPPLY CO, INC        CENTRAL STATE OF INDEMNITY OF OMAHA    CENTRAL STATES AUTOMATIC
13701 S KENTONAVE                     P.O. BOX 10815                         13740 SOUTH CALIFORNIA AVE
CRESTWOOD, IL 60418                   CLEARWATER, FL 33757-8815              SPRINKLERS INC
                                                                             BLUE ISLAND, IL 60406-2835




CENTRAL STATES SERVICES, INC.         CENTRAL STATES                         CENTRAL SUPPORT RECEIPTING UNIT
P.O. BOX 1476                         245 FENEL LANE                         P.O. BOX 305200
LAKE OZARK, MO 65049                  HILLSIDE, IL 60162                     NASHVILLE, TN 37229




CENTRAL SYSTEMS                       CENTRAL UTAH PATHOLOGY                 CENTRAL UTAH PATHOLOGY
6433 TOPANGA CANYON BLVD 402          P O BOX 276                            P.O. BOX 276
CANOGA PARK, CA 91303                 MIDVALE, UT 84047                      MIDVALE, UT 84047
CENTRAL VOICE INC           Case 20-10766-BLS
                                          CENTRALDoc
                                                 WEB 6   Filed 04/07/20
                                                     TECHNOLOGIES            Page CENTRIC
                                                                                  311 of SECURITY
                                                                                          1969 &
2021 ART MUSEUM DRIVE                      502 NORTH 5TH STREET                  AUTOMATION, INC
SUITE 100                                  ALPINE, TX 79830                      103 LANTER CT
JACKSONVILLE, FL 32207                                                           COLLINSVILLE, IL 62234




CENTRICITY PERINATAL USERS GROUP           CENTRO LATINO AMERICANO               CENTRO MEMPHIS
(CPNUG)                                    944 WEST 5TH AVE                      3315 OVERTON CROSSING
C/O MELANIE GRUBB                          EUGENE, OR 97402                      MEMPHIS, TN 38127
316 NORTH COURT STREET
MEDINA, OH 44256



CENTURA XRAY INC                           CENTURION MEDICAL PRODUCTS CORP       CENTURION MEDICAL PRODUCTS CORP
4381 RENAISSANCE PARKWAY                   P.O. BOX 842816                       P.O. BOX 842816
CLEVELAND, OH 44128                        BOSTON, MA 02284-2816                 BOXTON, MA 02284-2816




CENTURION MEDICAL                          CENTURY CHUTE LLC                     CENTURY HEALTHCARE LLC
PRODUCTS CORPORATION                       105 INDUSTRIAL DRIVE                  P.O. BOX 2256
P.O. BOX 842816                            MINOOKA, IL 60447                     C/O WEB TPA
BOSTON, MA 02284-2816                                                            GRAPEVINE, TX 76099




CENTURY II STAFFING, INC.                  CENTURY LINK                          CENTURY LINK
9020 OVERLOOK BLVD                         P O BOX 91155                         P.O. BOX 4300
SUITE 201                                  SEATTLE, WA 98111-9255                CAROL STREAM, IL 60197-4300
BRENTWOOD, TN 37027




CENTURY LINK                               CENTURYLINK                           CENTURYLINK
P.O. BOX 91155                             100 CENTURYLINK DR                    ACCESS BILL
SEATTLE, WA 98111-9255                     MONROE, LA 71203                      P.O. BOX 4648
                                                                                 MONROE, LA 71211-4646




CENTURYLINK                                CENTURYLINK                           CENTURYLINK
P.O. BOX 29040                             P.O. BOX 29040                        P.O. BOX 4300
PHOENIX, AZ 85038                          PHOENIX, AZ 85038-9040                CAROL STREAM, IL 60197




CENTURYLINK                                CENTURYLINK                           CENTURYLINK
P.O. BOX 4300                              P.O. BOX 4305                         P.O. BOX 52187
CAROL STREAM, IL 60197-4300                CAROL STREAM, IL 60197-4305           PHOENIX, AZ 85072-2187




CENTURYLINK                                CEPHEID                               CEPHEID
P.O. BOX 91155                             P O BOX 204399                        P.O. BOX 204399
SEATTLE, WA 98111-9255                     DALLAS, TX 75320-4399                 DALLAS, TX 75320-4399




CEPHEID, INC.                              CEPICKY, GEORGE                       CERAPEDICS, INC
P.O. BOX 204399                            ADDRESS ON FILE                       P.O. BOX 17180 DEPT. 1543
DALLAS, TX 75320-4399                                                            DENVER, CO 80217-0180
CERAS, RAMON J.            Case 20-10766-BLS
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                                                  ANNA6M. Filed 04/07/20       Page CEREDO
                                                                                    312 of VOLUNTEER
                                                                                            1969     FIRE DEPARTMENT
50 ORTEGA DR APT D                         5545 CR 58                               P.O. BOX 1119
WATSONVILLE, CA 95076                      PISGAH, AL 35765                         CEREDO, WV 25507




CERENTANO, MIKE                            CERIDIAN TAX SERVICE INC                 CERIDIAN TAX SERVICE INC
30 GLEN RIDGE ROAD                         13839 COLLECTION CENTER DR               3311 E OLD SHAKOPEE RD
GLEN CARBON, IL 62034                      CHICAGO, IL 60693                        MINNEAPOLIS, MN 55425-1640




CERIDIAN TAX SERVICE INC                   CERMAK, JOSEPH                           CERNER CORPORATION
P O BOX 10989                              279 OAKWOOD DR                           2800 ROCK CREEK PARKWAY
NEWARD, NJ 07193                           ANTIOCH, IL 60002                        KANSAS CITY, MO 64117




CERNER CORPORATION                         CERNER CORPORATION                       CERNEY, NANCY
P.O. BOX 959156                            SR. DIRECTOR, CONTRACT MANAGEMENT        1600 AIRPORT ROAD
ST LOUIS, MO 63195-9156                    2800 ROCKCREEK PARKWAY                   JONESBORO, IL 62952
                                           KANSAS CITY, MO 64117




CERNY, JOHN MICHAEL, MD                    CERNY, MARY B.                           CERONE NATALIE R
515 N MAIN STREET                          405 OTTEN LANE                           10467 W ILLINOIS AVE
ANNA, IL 62906                             ANNA, IL 62906                           BEACH PARK, IL 60099




CEROSKY, SHELBY                            CERTAPRO PAINTERS BELLEVILLE             CERTIFIED LABORATORIES
4431 RAYEL CIRCLE                          5720 N BELT WEST RD                      23261 NETWORK PLACE
UNIONTOWN, OH 44685                        STE 20-255                               CHICAGO, IL 60673
                                           BELLEVILLE, IL 62226




CERTIFIED LOCKSMITHING                     CERTIPHI SCREENING INC                   CERTIPHI SCREENING INC
12858 SOUTH WESTERN AVENUE                 ACCOUNTING DEPT                          P O BOX 1675
BLUE ISLAND, IL 60406                      P.O. BOX 1675                            SOUTHAMPTON, PA 18966
                                           SOUTHAMPTON, PA 18966




CERTIPHI SCREENING INC                     CERTIPHI SCREENING INC                   CERTIPHI SCREENING INC
P.O. BOX 1675                              P.O. BOX 1675                            P.O. BOX 1675
ATTN: ACCOUNTS RECEIVABLE                  SOUTHAMPTON, PA 18966                    SOUTHAMTON, PA 18966
SOUTHAMPTON, PA 18966




CERTIPHI SCREENING INC                     CERTIPHI SCREENING INC                   CERTIPHI SCREENING INC
P.O. BOX 1675                              P.O. BOX 1675                            PO BOX 1675
SOUTHHAMPTON, PA 18966                     SOUTHHAMPTON, PA 18966-1675              SOUTHAMPTON, PA 18966




CERVANTES, ALICIA                          CERVANTES, AURORA C.                     CERVANTES, MARLIN
220 FUCHSIA DR                             P.O. BOX 1645                            2713 N PINE ST
FREEDOM, CA 95019                          WATSONVILLE, CA 95077                    WAUKEGAN, IL 60087
                         Case 20-10766-BLS
CERVANTES-HERNANDEZ, ANDREA                  DocKEITH,
                                       CERVANTEZ   6 REAGAN
                                                       Filed 04/07/20   Page CERVENY,
                                                                             313 of 1969
                                                                                      JUSTIN
166 KINGSTON PL                        ADDRESS ON FILE                       602 N MISSOURI ST
CHICAGO HEIGHTS, IL 60411                                                    FT STOCKTON, TX 79735-0000




CETERIX ORTHOPAEDICS, INC             CEY MEDICAL SERVICES                   CGS - J15 PART A OHIO
6500 KAISER DRIVE, SUITE 120          720 LOWE ROAD                          P.O. BOX 957352
FREEMONT, CA 94555                    CROSSVILLE, TN 38572                   ST LOUIS, MO 63101




CGS - J15 PART B KENTUCKY             CGS - J15 PART B OHIO                  CGS ADMINISTRATORS LLC
ATTN: REFUNDS                         P.O. BOX 957352                        P.O. BOX 20018
P.O. BOX 957065                       ST LOUIS, MO 63195-7065                NASHVILLE, KY 37202
ST LOUIS, MO 63195-7065




CGS ADMINISTRATORS LLC                CGS ADMINISTRATORS LLC                 CGS
P.O. BOX 20019                        P.O. BOX 957065                        LOCKBOX 957635 - PART A OHIO
NASHVILLE, TN 37202                   ST. LOUIS, MO 63195-7065               1005 CONVENTION PLZ SL-MO-C1WS
                                                                             ST LOUIS, MO 63101




CHA PUBLICATIONS SALES CENTER         CHACKO, ELSIE G.                       CHACON, CARLOS
1215 K STREET                         ADDRESS ON FILE                        1497 STATE HWY 91
SUITE 800                                                                    SANTA ROSA, NM 88435
SACRAMENTO, CA 95814




CHACON, SALVADOR                      CHACON-BARBA, LYDIA                    CHAD A THARAN
1306 E 18TH ST                        233 EUCALYPTUS DR                      ADDRESS ON FILE
BIG SPRING, TX 79720-0000             SALINAS, CA 93905




CHAD KEHRER                           CHAD PINCKNEY                          CHAD SAWYER
15094 N. SUNFISH LANE                 1198 ARCADIA DR                        13443 JORDAN CREEK RD
WOODLAWN, IL 62898                    GALESBURG, IL 61401                    EWING, IL 62836




CHAD SCHMIDGALL                       CHADWICK PLUMBING SERVICE              CHAET, ADRI
11501 N BALLYMORE AVE                 1715 MCCURDY LOOP ROAD                 1460 G STREET
DUNLAP, IL 61525                      FORT PAYNE, AL 35967                   SPRINGFIELD, OR 97477




CHAET, ADRIENNE B.                    CHAFFIN DOROTHY MARIE                  CHAFFIN SARAH
ADDRESS ON FILE                       47478 HANSEN ST                        6870 RABEN RD
                                      OAKRIDGE, OR 97463                     RIDGWAY, IL 62979




CHAFFIN, CHANDRA                      CHAFFIN, DERRICK M.                    CHAFFIN, DORA
1020 CRYSTAL BROOK WAY                8549 S DAMEN                           P.O. BOX 47
MONROE, GA 30655                      CHICAGO, IL 60620                      KERMIT, WV 25674
CHAFFIN, HANNAH K.       Case 20-10766-BLS
                                       CHAFFIN,Doc 6 K.Filed 04/07/20
                                               MARSHA                   Page CHAFFIN,
                                                                             314 of 1969
                                                                                      ROBERT
2011 LONG BRANCH ROAD                   8132 NORTH HWY 3                     1368 MORGAN CREEK ROAD
LOUISA, KY 41230                        LOUISA, KY 41230                     LOUISA, KY 41230




CHAFFINS, AMANDA K.                     CHAIREZ, DANA                        CHAKEEN, MARTIN L.
40 APPLE CT                             8 ROSEWOOD CIR                       1270 ASPEN LANE
LOUISA, KY 41230                        SILVER CITY, NM 88061                ELK GROVE VILL, IL 60007




CHALAMBAGA, CARLOS                      CHALLAN, CHESSON                     CHALLENGERS, EUGENE
2009 S MCGREGOR RD                      1200 TALL TIMBERS                    P.O. BOX 41408
COAHOMA, TX 79511-0000                  WILLIAMSTON, NC 27892                EUGENE, OR 97404




CHALOFF, AVA                            CHALUS, TRACEY                       CHAMBER OF COMMERCE SW MAD CO
1574 COBURG RD BOX 173                  ADDRESS ON FILE                      3600 NAMEOKI RD
EUGENE, OR 97401                                                             SUITE 202
                                                                             GRANITE CITY, IL 62040




CHAMBER, MARIANNA                       CHAMBERLAIN, CHERYL L.               CHAMBERLAIN, COURTNEY
P O BOX 584                             45 HARDWOOD DRIVE                    ADDRESS ON FILE
MARIANNA, AR 72360                      COVINGTON, GA 30016




CHAMBERLAIN, CRYSTAL                    CHAMBERLAIN, KRYSTAL M.              CHAMBERLAIN, MOLLY
ADDRESS ON FILE                         621 LAKEVIEW DR                      2105 TUSCANY RIDGE CT
                                        WATERLOO, IL 62298                   MARYVILLE, IL 62062




CHAMBERLAIN, SANDRA                     CHAMBERLAIN, TERRI                   CHAMBERLAIN, TOM
1175 SUNBIRD DRIVE                      ADDRESS ON FILE                      2035 PIERMONT WAY
WATSONVILLE, CA 95076                                                        HARLEYSVILLE, PA 19438




CHAMBERLIN, ROBERT                      CHAMBERS KRISTI EVETTE               CHAMBERS, ALISIA
11261 SUNSET POINT                      6104 FAIRWAY CIRCLE NW               2138 135TH PL APT -4
PLAINWELL, MI 49080                     FORT PAYNE, AL 35967-4053            BLUE ISLAND, IL 60406




CHAMBERS, ANGELA                        CHAMBERS, CHRISTINA J.               CHAMBERS, CHRISTINA J.
ADDRESS ON FILE                         576 MONROE STREET                    ADDRESS ON FILE
                                        GALESBURG, IL 61401




CHAMBERS, EUNICE M.                     CHAMBERS, GINA                       CHAMBERS, IRVIN
100 BELCHER DR                          2424 THORNHILL RD                    1750 BOILING SPRINGS RD
ANNA, IL 62906                          TIFTON, GA 31793                     MURPHY, NC 28906
CHAMBERS, KAREN          Case 20-10766-BLS   Doc
                                       CHAMBERS,   6 Filed 04/07/20
                                                 KELLY                Page CHAMBERS,
                                                                           315 of 1969
                                                                                     MARQUITA
1947 BROAD STREET                      4116 SARAH DRIVE                    10 WALDOBORO RD
STATHAM, GA 30666                      ZION, IL 60099                      FRIENDSHIP, ME 04547-4223




CHAMBERS, MARTHA                       CHAMBERS, STEVEN WOODROW            CHAMBLE, KORSHINA
245 COUNTY ROAD 119                    88245 MILLICAN RD                   16802 WESTERN AVENUE
FORT PAYNE, AL 35968                   SPRINGFIELD, OR 97478-0000          HAZELCREST, IL 60429




CHAMBLIN, JEAN                         CHAMBLISS, ANGELIA                  CHAMBORA, HALEY
3252 ERIN DR                           784 SHULER RD                       4193 S HAMETOWN RD
GRANITE CITY, IL 62040                 BLAIRSVILLE, GA 30512               NORTON, OH 44203-5443




CHAMELEON CORPORATION INC              CHAMELEON CORPORATION INC           CHAMNESS, DARREN M.
625 BAKERS BRIDGE SUITE 105            625 BAKERS BRIDGE SUITE 105         2452 BENTON ST
FRANKLIN, TN 37067                     FRANKLINE, TN 37067                 GRANITE CITY, IL 62040




CHAMNESS, JACK W                       CHAMNESS, JERI M.                   CHAMNESS, JOHANNA B.
205 N BENTLEY                          11439 PAULTON ROAD                  ADDRESS ON FILE
MARION, IL 62959                       PITTSBURG, IL 62974-1712




CHAMNESS, KATELYNN                     CHAMNESS, URSULA                    CHAMP VA FM
2905 US 51S LOOP                       2023 FLORAL HILL DR                 ATTN: REFUNDS
ANNA, IL 62906-0000                    EUGENE, OR 97403                    P.O.BOX 469064
                                                                           DENVER, CO 80246-9064




CHAMP VA FM                            CHAMP VA FM                         CHAMP VA FM
FINANCIAL MANAGEMENT                   P.O. BOX 469062                     P.O. BOX 469064
P.O. BOX 469062                        DENVER, CO 80246-9062               DENVER, CO 80246-9062
DENVER, CO 80246-9062




CHAMP VA FM                            CHAMP VA                            CHAMP VA
P.O. BOX 65024                         ATTN: REFUNDS                       P.O. BOX 469062
DENVER, CO 80206-5024                  P.O.BOX 469064                      FINANCIAL MANAGEMENT
                                       DENVER, CO 80246-9064               DENVER, CO 80246




CHAMP, HOWARD                          CHAMPAGNE JUSTE, GUERLAINE          CHAMPION CHRISTOPHER D
530 HUNTING CREEK RD.                  3725 MANCHESTER DR                  520 WADE CROSS ROAD
ROUSSEAU, KY 41366                     LAWRENCEVILLE, GA 30044             MINERAL BLUFF, GA 30559




CHAMPLIN, MEGAN E.                     CHAMPUS CLAIMS PROC. CENTER         CHAMPUS PALMETTO GBA
218 WEST FOURTH                        RE:REFUND DEPT                      P.O. BOX 7031
BENTON, IL 62812                       P.O. BOX 7031                       CAMDEN, SC 29020
                                       CAMDEN, SC 29020
CHAMPUS TRICARE SO        Case 20-10766-BLS   Doc
                                        CHAMPUS     6 WPS
                                                TRICARE Filed 04/07/20   Page CHAMPUS
                                                                              316 of 1969
P.O. BOX 100279                          P.O. BOX 7031                       P.O. BOX 7889
COLUMBIA, SC 29202-3279                  CAMDEN, SC 29020                    MADISON, WI 53707




CHAMPUS/TRICARE WPS                      CHAMPVA ATTN: REFUNDS               CHAMPVA DEPT OF TREASURY
TRICARE STANDARD                         P.O. BOX 469063                     FINANCIAL MGMT SERVICE
P.O. BOX 870140                          DENVER, CO 80246                    P.O. BOX 51318
SURFSIDE BEACH, SC 29587-9746                                                PHILADELPHIA, PA 19115




CHAMPVA HEALTHCARE                       CHAMPVA OP/HEALTH ADMIN.CTR         CHAMPVA PROGRAM
P.O. BOX 469062                          P.O. BOX 469064                     ATTN: CLAIMS
DENVER, CO 80246-9062                    DENVER, CO 80246                    P O BOX 469063
                                                                             DENVER, CO 80246-9063




CHAMPVA VA CENTER                        CHAMPVA                             CHAMPVA
P O BOX 469064                           ATTN FISCAL                         ATTN HEALTH ADMIN CENTER
DENVER, CO 80246                         P.O. BOX 469062                     P.O. BOX 469064
                                         DENVER, CO 80246-9062               DENVER, CO 80246




CHAMPVA                                  CHAMPVA                             CHAMPVA
ATTN.: FINANCIAL MGMT                    ATTN.: FINANCIAL MGMT               ATTN: FINANCIAL MNGMT
P.O. BOX 469062                          P.O. BOX 469062                     P.O. BOX 469062
DENVER, CO 80246-9062                    DENVER, CO 80246-9064               DENVER, CO 80246




CHAMPVA                                  CHAMPVA                             CHAMPVA
ATTN: FINANCIAL MNGMT                    ATTN: FISCAL DEPARTMENT             P O BOX 469064
P.O. BOX 469062                          P.O. BOX 469062                     DENVER, CO 80246-9064
DENVER, CO 80246-9064                    DENVER, CO 80246-9062




CHAMPVA                                  CHAMPVA                             CHAMPVA
P O BOX 65024                            P.O. BOX 469028                     P.O. BOX 469062
DENVER, CO 80206-9024                    DENVER, CO 80246                    DENVER, CO 80246-9062




CHAMPVA                                  CHAMPVA                             CHAMPVA
P.O. BOX 469063                          P.O. BOX 469063                     P.O. BOX 469064
DENVER, CO 80246                         DENVER, CO 80246-9064               DENVER, CO 80246




CHAMPVA                                  CHAMPVA                             CHAMPVA
P.O. BOX 469064                          P.O. BOX 469064                     P.O. BOX 51318
DENVER, CO 80246-9062                    DENVER, CO 80246-9064               PHILADELPHIA, PA 19115




CHAMPVA                                  CHAMPVA                             CHAN, DINAH Q.
P.O. BOX 65024                           PO BOX 51318                        ADDRESS ON FILE
DENVER, CO 80206                         PHILADELPHIA, PA 19115
CHANBO, ROS                 Case 20-10766-BLS
                                          CHANCE Doc 6 Filed
                                                 BERNADETTE    04/07/20
                                                            MARTIN             Page CHANCE,
                                                                                    317 of STACY
                                                                                            1969 R. M.D.
618 BRYN MAWR ST                           2542 GRIMES ROAD                         ADDRESS ON FILE
PARK CITY, IL 60085                        ROBERSONVILLE, NC 27871




CHANCERUSSELL DEBORAH K                    CHANCERY COURT CLERK                     CHANCEY, CRYSTALIN
476 W 500 S                                1 PUBLIC SQUARE                          ADDRESS ON FILE
TOOELE, UT 84074                           NASHVILLE, AR 37201




CHANCY, JERRY                              CHANDA SMITH                             CHANDLEE, ANGELA
2204 EDGEMERE RD                           ADDRESS ON FILE                          716 MAIN ST
BIG SPRING, TX 79721-0000                                                           NORTH HENDERSON, IL 61466




CHANDLER DOERR                             CHANDLER, CHRISTOPHER A.                 CHANDLER, ELAINE
ADDRESS ON FILE                            419 WANDERING TRL                        249 VISTA RIDGE CIR
                                           FRANKLIN, TN 37067                       EVANSTON, WY 82930-4653




CHANDLER, ERICA                            CHANDLER, JARROD S.                      CHANDLER, JASON
8521 S MARYLAND AVE                        ADDRESS ON FILE                          P.O. BOX 254
CHICAGO, IL 60619                                                                   WOODRUFF, UT 84086




CHANDLER, JUDY P.                          CHANDLER, LASONDRA                       CHANDLER, MAGAN
52 MOUNTAIN VALLEY AVE                     413 BRANDON STREET                       P.O. BOX 2178
APT A1                                     SYLVANIA, AL 35988                       FORREST CITY, AR 72336
COLLINSVILLE, AL 35961-1611




CHANDLER, MEGAN S.                         CHANDLER, RANDY L.                       CHANDLER, RANDY L.
P.O. BOX 235                               21640 HIGHWAY 22                         ADDRESS ON FILE
STANTON, TX 79782                          MCKENZIE, TN 38201




CHANDLER, STEPHANY D.                      CHANDLER, TERESA M.                      CHANDLER, TERIONNA T.
569 ADAMS ROAD                             ADDRESS ON FILE                          ADDRESS ON FILE
MARTIN, TN 38237




CHANDLER, TONI                             CHANDLER, TONIKEE M.                     CHANDLER, TONIKEE
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




CHANDRA LEON                               CHANDULAL M PATEL ATTORNEY AT LAW        CHANDY, RACHANA
721 PIN OAK DR                             4074 S ARCHER AVE                        ADDRESS ON FILE
MARION, AR 72364-0000                      CHICAGO, IL 50632
CHANEEL RODRIQUEZ        Case 20-10766-BLS
                                       CHANEY,Doc 6M. Filed 04/07/20
                                              BETSY                       Page CHANEY,
                                                                               318 of PEGGY
                                                                                       1969 L.
610 COLGATE                             P.O. BOX 10                            6460 COUNTY ROAD 121
BIG SPRING, TX 79720                    NEW BURNSIDE, IL 62967                 FORT PAYNE, AL 35967




CHANEYL, MELISSA                        CHANG, SHU TIEN                        CHANGE HEALTHCARE LLC
261 PRESTWICK CT                        73 CLOVER HILL DR                      22423 NETWORK PLACE
MESQUITE, NV 89027                      GREENVILLE, AL 36037                   CHANGE HEALTHCARE TECHNOLOGIES LLC
                                                                               CHICAGO, IL 60673-1224




CHANGE HEALTHCARE LLC                   CHANGE HEALTHCARE LLC                  CHANGE HEALTHCARE LLC
CHANGE HLTHCARE TECHNOLOGIES LLC        P O BOX 98347                          P.O. BOX 572490
P.O. BOX 98347                          CHICAGO, IL 60693-8347                 MURRAY, UT 84157-2490
CHICAGO, IL 60693-8347




CHANGE HEALTHCARE LLC                   CHANGE HEALTHCARE SOLUTIONS LLC        CHANGE HEALTHCARE SOLUTIONS LLC
P.O. BOX 98347                          P.O. BOX 403421                        P.O. BOX 572490
CHICAGO, IL 60693-8347                  ATLANTA, GA 30384                      MURRAY, UT 84157-2490




CHANGE HEALTHCARE                       CHANNING BETE                          CHANNING L BETE CO INC
P.O. BOX 98347                          P.O. BOX 3538                          1 COMMUNITY PLACE
CHICAGO, IL 60693-8347                  SOUTH DEERFIELD, MA 01373-3538         P.O. BOX 3538
                                                                               SOUTH DEERFIELD, MA 01373




CHANNING L BETE CO INC                  CHANNING L BETE CO INC                 CHANNING L BETE CO INC
1 COMMUNITY PLACE                       1 COMMUNITY PLACE                      1 COMMUNITY PLACE
P.O. BOX 3538                           P.O. BOX 3538                          P.O. BOX 3538
SOUTH DEERFIELD, MA 01373-0200          SOUTH DEERFIELD, MA 01373-3538         SOUTH DEERFIELD, MA 01373-7328




CHANNING L BETE CO INC                  CHANSLER, NICOLE                       CHAO & TAN MEDICAL GROUP, INC
AMER HEART ASSOC                        ADDRESS ON FILE                        P.O. BOX 626
P.O. BOX 3538                                                                  BARSTOW, CA 92312
SOUTH DEERFIELD, MA 01373-3538




CHAPARRO, MARIA SOLEDAD                 CHAPEL, PETERS                         CHAPLAIN, KILEY D.
137 POOLE CIRCLE                        P.O. BOX 600                           14145 BURTON DRIVE
FYFFE, AL 35971-4906                    FORT GAY, WV 25514                     WEST FRANKFORT, IL 62896




CHAPMAN HERSCHEL E                      CHAPMAN ROBERT E                       CHAPMAN, ALBERTA
P O BOX 344                             260 RIDGE LAKE DRIVE                   ADDRESS ON FILE
MORGANTON, GA 30560                     MONTGOMERY, TX 77316-6864




CHAPMAN, DAWN                           CHAPMAN, DAWN                          CHAPMAN, DEREK G.
3125 JAMISON BLVD                       3125 JAMISON BLVD                      P.O. BOX 696 209 E 4TH ST
MT VERNON, IL 62864                     MT. VERNON, IL 62864-2551              FORSAN, TX 79733
CHAPMAN, DOSHA            Case 20-10766-BLS   Doc
                                        CHAPMAN,    6 A.
                                                 GINGER Filed 04/07/20   Page CHAPMAN,
                                                                              319 of 1969
                                                                                       HELEN
1440 PANBOWL ROAD                        P.O. BOX 696 209 E 4TH ST            4905 102ND ST
JACKSON, KY 41339-7558                   FORSAN, TX 79733                     LUBBOCK, TX 79424-0000




CHAPMAN, JERE                            CHAPMAN, LADON                       CHAPMAN, MELISSA
570 19TH STREET                          987 6TH STREET SOUTH                 10854 FOREST BAPTIST CHURCH RD
SPRINGFIELD, OR 97477-5009               SYLVANIA, AL 35988                   BENTON, IL 62812




CHAPMAN, MURRAY K.                       CHAPMAN, NORMAN L.                   CHAPMAN, OLIVER LYLE
ADDRESS ON FILE                          2480 CHUCKANUT ST                    1765 BRYANT AVE
                                         EUGENE, OR 97408-0000                COTTAGE GROVE, OR 97424




CHAPMAN, RAY LEROY                       CHAPMAN, ROSEMARY                    CHAPMAN, SHELLY E.
3715 WILLOWBROOK ST                      1030 WEST SHORE DR                   ADDRESS ON FILE
EUGENE, OR 97404                         GALESBURG, IL 61401




CHAPMAN, SKYLAR                          CHAPMAN, TRAVIS R.                   CHAPMAN, ZACHARY K.
8870 MEADOWLARK DRIVE                    3906 PARK RD SW                      ADDRESS ON FILE
CATLETTSBURG, KY 41129                   FORT PAYNE, AL 35967




CHAPMANFEGER, JUDITH                     CHAPMANHARDEMAN, BETTY               CHAPMAN-SCHULTZ, SUSAN
95 CATHERINE AVE                         7401 S PAYTON                        722 LILLIAN
BEECH CREEK, PA 16822-6905               CHICAGO, IL 60649                    COLLINSVILLE, IL 62234




CHAPPELL, GLORIA                         CHAPPELL, HYLA                       CHAPPELL, JAY H.
P.O. BOX 871 3702 DIXON                  1219 E 17TH ST                       ADDRESS ON FILE
BIG SPRING, TX 79721                     BIG SPRING, TX 79720




CHAPPELL, PAULA                          CHAPPETTO, JOSEPH                    CHAPPETTO, MARYHELEN
P.O. BOX 1593                            10231 S HOYNE AVE                    10231 S HOYNE
LOGANDALE, NV 89021-1593                 CHICAGO, IL 60643                    CHICAGO, IL 60643




CHAPTER 13 STANDING TRUSTEE              CHAPTER 13 STANDING TRUSTEE          CHAPTER 13 TRUSTEE EDKY
3789 MOMENTUM PLACE                      P.O. BOX 205                         BOB G KEARNEY
CHICAGO, IL 60689-5337                   GADSDEN, AL 35902                    P.O. BOX 2199
                                                                              MEMPHIS, TN 38101-2199




CHAPTER 13 TRUSTEE EDKY                  CHAPTER 13 TRUSTEE EDKY              CHAPTER 13 TRUSTEE EDKY
DIANA S. SAUGHERTY                       P O BOX 730                          P.O. BOX 1313
P.O. BOX 2112                            MEMPHIS, TN 38101                    JACKSON, TN 38302
MEMPHIS, TN 38101-2112
CHAPTER 13 TRUSTEE EDKYCase 20-10766-BLS
                                     CHAPTERDoc     6 Filed
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P.O. BOX 1313                        P.O. BOX 1766                           P.O. BOX 1898
JACKSON, TN 38302                    MEMPHIS, TN 38101-1766                  MEMPHIS, TN 38101-1898




CHAPTER 13 TRUSTEE EDKY               CHAPTER 13 TRUSTEE                     CHAPTER 13 TRUSTEE
P.O. BOX 190                          P.O. BOX 102043                        P.O. BOX 340019
MEMPHIS, TN 38101-0190                MD ATHENS-MAXON                        NASHVILLE, TN 37203-0019
                                      ATLANTA, GA 30368-2043




CHAPTER 13 TRUSTEE                    CHARBONEAU, ALYSSA L.                  CHARBONEAU, ALYSSA
P.O. BOX 613199                       ADDRESS ON FILE                        ADDRESS ON FILE
MEMPHIS, TN 38101-3199




CHARBONEAU, DAVID                     CHARBONNEAU, RICHARD S.                CHARBONNIER, KIMBERLY
840W 200 N                            ADDRESS ON FILE                        74 RAES CREEK DRIVE
SALT LAKE CITY, UT 84116                                                     GRANITE CITY, IL 62040




CHARITY, CATHY                        CHARITY, ELLIOTT                       CHARLENE KELLY
929 MCALISTER                         P.O. BOX 15                            ADDRESS ON FILE
WAUKEGAN, IL 60085                    FT DEPOSIT, AL 36032-0015




CHARLES A BREWER                      CHARLES A EVANS                        CHARLES A KARICHNER
248 LOCUST LN                         727 ORCHARD AVE NE                     14 PALMER AVE
LEXINGTON, TN 38351                   MASSILLON, OH 44646                    MILL HALL, PA 17751




CHARLES BROWDER                       CHARLES C JAMES                        CHARLES E WALLEN
1714 N GARLAND RD                     2201 DARREN DR                         P.O. BOX 752
MCKENZIE, AL 36456                    MARION, IL 62959                       STAFFORDSVILLE, KY 41256




CHARLES FIELD                         CHARLES JARRELL                        CHARLES JOBE
13003 SEELEY AVE                      870 COLLINS CREEK ROAD                 361 ROE CREEK ROAD
BLUE ISLAND, IL 60406                 WARFIELD, KY 41267                     CATLETTSBURG, KY 41129




CHARLES MCELVAINE                     CHARLES MEADOWS                        CHARLES MICHAEL JONES
825 E HATCH RD                        35 BRENTWOOD TERRACE                   1465 COUNTY ROAD 664
AVON, IL 61415                        HUNTINGTON, WV 25704                   CEDAR BLUFF, AL 35959




CHARLES NELSON DVM                    CHARLES OBRIAN                         CHARLES R FISHER
1007 CLIFF DR                         319 POOR HOUSE ROAD                    C/O GAIL SATTAZAHN POA
SANTA PAULA, CA 93060                 LOUISA, KY 41230                       15074 COUDERSPORT PK
                                                                             LOCK HAVEN, PA 17745
CHARLES R MCCONNELL       Case 20-10766-BLS
                                        CHARLESDoc  6 Filed 04/07/20
                                                S BYRD                        Page CHARLES
                                                                                   321 of 1969
                                                                                           S NILES JR
1511 BURKHART RD                          2104 PRESTWOOD AVENUE NW                 6029 SUNRISE CR
ORRVILLE, OH 44667                        FORT PAYNE, AL 35967                     FRANKLIN, TN 37067




CHARLES SCHWAB & CO., INC. (0164)         CHARLES SCHWAB & CO., INC. (0164)        CHARLES STRANGE
ATTN CHRISTINA YOUNG OR PROXY MGR         ATTN DARYL SLATER OR REORG MGR           1002 N DEAN ST
2423 EAST LINCOLN DRIVE                   3800 CITIBANK CENTER                     BUSHNELL, IL 61422
PHOENIX, AZ 85016-1215                    B3-12
                                          TAMPA, FL 33610



CHARLES W SPENCER MS, DABMP               CHARLES, BEQUETTA D.                     CHARLES, CARRIE M.
1417 MARBELLA RIDGE CT                    15328 CHERRY LANE                        ADDRESS ON FILE
LAS VEGAS, NV 89117                       MARKHAM, IL 60428




CHARLES, CHASITY P.                       CHARLES, HOLLY A.                        CHARLES, JAN L.
ADDRESS ON FILE                           307 BRAINERD AVENUE                      3535 GARDEN ST
                                          LIBERTYVILLE, IL 60048                   SANTA CRUZ, CA 95062




CHARLES, LINDA                            CHARLEYS UPHOLSTERY                      CHARLIES BAKERY & CAFE
1515 SANTA CATALINA                       300 ELIZABETH STREET                     715 DOUGLAS AVE
DEMING, NM 88030                          BOAZ, AL 35957                           LAS VEGAS, NM 87701




CHARLOTTE C MANNING                       CHARLOTTE CHAMBERLAIN                    CHARLOTTE L FALCONE
304 LAKESIDE DR                           619 W MAIN ST                            602 SHERI NE
BRANDON, MS 39047-6139                    TOULON, IL 61483                         MASSILLON, OH 44646




CHARLTON, DEANNA                          CHARLYN DAVIS-HAGER PETTY CASH           CHARLYN DAVIS-HAGER
1460 G STREET P.O. BOX 21153 EUGENE, OR   ADDRESS ON FILE                          ADDRESS ON FILE
SPRINGFIELD, OR 97477




CHARLYN HADEN                             CHARMAINE RIDENOUR                       CHAROLOTTE B CHITTOM MANNING
185 DEER RIDGE RD                         2100 DAWN PLACE                          304 LAKESIDE DR
GOREVILLE, IL 62939                       GRANITE CITY, IL 62040                   BRANDON, MS 39047-6139




CHARPIE III, KENNETH E.                   CHART POOL USA, INC                      CHARTER COMMUNICATIONS HOLDINGS LLC
ADDRESS ON FILE                           5695 OLD PORTER ROAD                     TIME WARNER CABLE-NORTHEAST
                                          PORTAGE, IN 46368                        P.O. BOX 901
                                                                                   CAROL STREAM, IL 60132-0901




CHARTER COMMUNICATIONS                    CHARTER COMMUNICATIONS                   CHARTER COMMUNICATIONS
400 ATLANTIC ST, 10TH FL                  P.O. BOX 60229                           P.O. BOX 742613
STAMFORD, CT 06901                        LOS ANGELES, CA 90060-0229               CINCINNATI, OH 45274-2613
CHARTER COMMUNICATIONS    Case 20-10766-BLS
                                        CHARTERDoc    6 Filed 04/07/20
                                                  COMMUNICATIONS         Page CHARTER
                                                                              322 of 1969
                                                                                      COMMUNICATIONS
P.O. BOX 742616                         P.O. BOX 790086                       P.O. BOX 790086
CINCINNATI, OH 45274-2616               SAINT LOUIS, MO 63179-0086            ST LOUIS, MO 63179-0086




CHARTER COMMUNICATIONS                 CHARTER COMMUNICATIONS                 CHARTER COMMUNICATIONS
P.O. BOX 790086                        P.O. BOX 790086                        P.O. BOX 94188
ST LOUIS, MO 63179                     ST LOUIS, MO 63179-0220                PALATINE, IL 60094-4188




CHARTRAND LENARD                       CHARTRAND, PATRICIA                    CHASE COLLINGS
P O BOX 323                            4342 JANY LN                           ADDRESS ON FILE
EAST CARONDELET, IL 62240              STEELEVILLE, IL 62288-2730




CHASE DENNIS EMERGENCY MEDICAL         CHASE GARDENS MEDICAL LLC              CHASE RENE
GROUP                                  541 WILLAMETTE ST STE 106              4302 JOHN STOCKBAUER 75
P.O. BOX 634850                        EUGENE, OR 97401                       VICTORIA, TX 77904
CINCINNATI, OH 45263-4718




CHASE SECURITIES, INC                  CHASE, ANNETTA J.                      CHASE, BARBARA
CHASE LINCOLN FIRST COMMERCIAL CORP    ADDRESS ON FILE                        P.O. BOX 875
                                                                              PAINTSVILLE, KY 41240




CHASE, BONNIE K.                       CHASE, DAVID R.                        CHASE, DAVID
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




CHASE, MAMIE J.                        CHASE, PAMELA J.                       CHASITY NOOJIN
6735 MATHEW STREET                     33406 TENNESSEE RD                     2333 COUNTY ROAD 44
ST LOUIS, MO 63121                     LEBANON, OR 97355                      FORT PAYNE, AL 35967




CHASSE, AMBER                          CHASSIDY DONELSON                      CHASTAIN KEITH A
P.O. BOX 344                           ADDRESS ON FILE                        28 CHASTAIN ROAD
IDER, AL 35981                                                                CHERRY LOG, GA 30522




CHASTAIN, BOBBY                        CHASTAIN, DIONNA                       CHASTAIN, JACOB
4727 BLUE RIDGE DRIVE                  P.O. BOX 418                           501 GRAPE CREEK RD
BLUE RIDGE, GA 30513-3240              MC CAYSVILLE, GA 30555                 MURPHY, NC 28906




CHASTAIN, KATHY                        CHASTAIN, NORENE D.                    CHASTAIN, PAM
POB 626                                3052 WYEOAK DRIVE
MCCAYSVILLE, GA 30555                  BELLEVILLE, IL 62221
CHASTAIN, PAMELA K.      Case 20-10766-BLS    Doc
                                       CHASTAIN,    6 K.
                                                 PAMELA Filed 04/07/20   Page CHASTAIN,
                                                                              323 of 1969
                                                                                        TERI
ADDRESS ON FILE                          174 PATTERSON STREET                 828 COUNTY ROAD 855
                                         BLUE RIDGE, GA 30513                 COLLINSVILLE, AL 35961




CHATHAM, DWIGHT                          CHATMAN, ALLEE                       CHATMAN, APRIL F.
249 NORTH CASHES VALLEY OVERLOOK         9229 S ELLIS AVE                     ADDRESS ON FILE
CHERRY LOG, GA 30522                     CHICAGO, IL 60619




CHATMAN, GIAVONNA                        CHATMAN, THOMAS                      CHATTANOOGA HAMILTON COUNTY
274 W 1ST ST                             13005 KINSLEY HEIGHTS DR             HOSPITAL AURTHORITY
GRANITE CITY, IL 62040                   BLACK JACK, MO 63033-4559            WORKFORCE CORPORATE HEALTH
                                                                              P.O. BOX 189
                                                                              CHATTANOOGA, TN 37401-0189



CHATTANOOGA INDUSTRIAL MOTORS            CHATTANOOGA-HAMILTON COUNTY          CHATWELL, JOYCE
P.O. BOX 264                             HOSPITAL AUTHORITY                   2403 S COUNTY RD 1110
WILDWOOD, GA 30757                       P.O. BOX 6006                        MIDLAND, TX 79706-0000
                                         CHATTANOOGA, TN 37401




CHATWOOD, TRACIE L.                      CHATWOOD, TRACIE                     CHAUDHRY, MARJORIE I.
ADDRESS ON FILE                          ADDRESS ON FILE                      13100 WAKEFIELD DR
                                                                              BEACH PARK, IL 60083




CHAUDOIN, ALISHA                         CHAVARRIA, BETTY S.                  CHAVEZ JACQUIE MARIE
ADDRESS ON FILE                          ADDRESS ON FILE                      27935 APACHE
                                                                              BARSTOW, CA 92311




CHAVEZ JR., JOSEPH E.                    CHAVEZ, ALYSSA                       CHAVEZ, BENJAMIN I.
800 DALLAS ST.                           1309 S MALLERY ST                    ADDRESS ON FILE
BIG SPRING, TX 79720                     DEMING, NM 88030




CHAVEZ, CARLOS                           CHAVEZ, CHALYSSA                     CHAVEZ, CHON
2642 WEST ATLANTIC AVE                   ADDRESS ON FILE                      608 NE 9TH ST
WAUKEGAN, IL 60085                                                            BIG SPRING, TX 79720-0000




CHAVEZ, CRISTOFER A.                     CHAVEZ, CRUZ NICOLAS                 CHAVEZ, DANIELA
1837 N BERRA BLVD APT D204               141 COUNTY ROAD 6                    P O BOX 187
TOOELE, UT 84074                         COLLINSVILLE, AL 35961               DEMING, NM 88031




CHAVEZ, ELIA G.                          CHAVEZ, ELIZABETH                    CHAVEZ, ELIZABETH
7821 S MASSASOIT AVE                     ADDRESS ON FILE                      ADDRESS ON FILE
BURBANK, IL 60459
CHAVEZ, GLORIA S.        Case 20-10766-BLS
                                       CHAVEZ, Doc 6 JAQUEZ
                                               GUSTAVO Filed 04/07/20   Page CHAVEZ,
                                                                             324 of JOLEEN
                                                                                     1969
1354 WILLOW ROAD                        203 TYLER AVE NE                     572 ECHO VALLEY ROAD
HOMEWOOD, IL 60430                      FORT PAYNE, AL 35967                 SALINAS, CA 93907




CHAVEZ, KAREN                           CHAVEZ, KELSEY                       CHAVEZ, LETICIA
ADDRESS ON FILE                         2221 AMETHYST AVE                    23904 SUNSET LAKES CT
                                        BARSTOW, CA 92311                    MANHATTAN, IL 60442




CHAVEZ, MARIA E.                        CHAVEZ, MARY E.                      CHAVEZ, MELANIE H.
212 ARTHUR RD                           ADDRESS ON FILE                      ADDRESS ON FILE
WATSONVILLE, CA 95076




CHAVEZ, MICHAEL                         CHAVEZ, NAYIBI                       CHAVEZ, NENITA
6948 SWAN LN                            ADDRESS ON FILE                      ADDRESS ON FILE
SCHERERVILLE, IN 46375




CHAVEZ, NOHEMA                          CHAVEZ, OLGA L.                      CHAVEZ, OLGA
416 1/2 JAMES ST                        2615 121ST ST                        2615 121ST STREET
DEMING, NM 88030                        BLUE ISLAND, IL 60406                BLUE ISLAND, IL 60406




CHAVEZ, RANULFO                         CHAVEZ, ROSA E.                      CHAVEZ, ROSA L.
293 WATSON RD.                          7550 CHESTER LN                      13 WESTFIELD CIRCLE
ELLIJAY, GA 30540                       SALINAS, CA 93907                    SALINAS, CA 93906




CHAVEZ, VANESSA C.                      CHAVIRA, GLORIA L.                   CHAVIRA, THOMAS
1000 W HEMLOCK                          ADDRESS ON FILE                      1121 BROADWAY AVE
DEMING, NM 88030                                                             BARSTOW, CA 92311




CHAVIS, MADISON                         CHAVIS, PATEN                        CHAVIS, SHERRI
10401 COUNTY ROAD 52                    20 BAILEY AVE                        ADDRESS ON FILE
DAWSON, AL 35963                        FYFFE, AL 35971




CHAVIS, THOMAS                          CHAWLA M.D., HARSH                   CHAWLA, DHRUVA
P.O. BOX 68                             ADDRESS ON FILE                      ADDRESS ON FILE
PARMELE, NC 27861-0068




CHAWLA, DHRUVA                          CHAYREZ, MARIA                       CHAYSON, LETICIA
303 WOODLAWN DR                         12750 HERMANAS RD SW                 P.O. BOX 596
WILLIAMSTON, NC 27892                   DEMING, NM 88030                     EAST ELLIJAY, GA 30539
CHC                       Case 20-10766-BLS    Doc
                                        CHCT OHIO LLC6        Filed 04/07/20   Page CHEATHAM,
                                                                                    325 of 1969
                                                                                              JULIE M.
P.O. BOX 1808                            COMMUNITY HEALTHCARE TRUST SERVICES        ADDRESS ON FILE
WEBTPA                                   3326 ASPEN GROVE DR - STE 150
GRAPEVINE, TX 76099                      FRANKLIN, TN 37067




CHEATHAM, MICHELE L.                     CHEATHAM, RAMONA R.                        CHEATWOOD, KYLEE
5110 GIANT CITY ROAD                     5132 SINGING HILLS DRIVE                   430 AULTMAN AVE NW
CARBONDALE, IL 62902                     ANTIOCH, TN 37013                          CANTON, OH 44708




CHEBII, RAEL J.                          CHECKER CAB OF GRANITE CITY, LTD           CHECKLIST BOARDS CORP
2706 MISTY BROOK LANE                    2810 NAMEOKI RD                            763 LINDEN AVENUE
JOLIET, IL 60432                         GRANITE CITY, IL 62040                     ROCHESTER, NY 14625




CHECKPOINT SURGICAL, INC.                CHECKSTER INC                              CHEDIAK, RONALD
22901 MILLCREEK BLVD.                    926 DIABLO AVE 305                         612 N 11TH ST
SUITE 360                                NOVATO, CA 94947                           HERRIN, IL 62948
CLEVELAND, OH 44122




CHEEK, AMANDA                            CHEEK, CHERYL                              CHEEK, KIM A.
1007A WOODBURY COURT                     385 SHIELDS RD                             1524 CENTER ST
ANNA, IL 62906                           MINERAL BLUFF, GA 30559                    PEKIN, IL 61554




CHEEK, KIM                               CHEEK, TIFFANY                             CHEETAH MEDICAL, INC
ADDRESS ON FILE                          1717 SUN STAR DR.                          600 SE MARITIME AVENUE, SUITE 220
                                         RALEIGH, NC 27610                          VANCOUVER, WA 98661




CHEF WORKS INC                           CHEHADEGHASSAN, CHEHADE MD                 CHEK MED SYSTEMS INC
12325 KERRAN STREET                      P.O. BOX 707                               200 GRANDVIEW AVE
POWAY, CA 92064                          SHORT HILLS, NJ 07078                      CAMP HILL, PA 17011-1706




CHEKEVDIA, MICHAEL                       CHELLSTORP, KYLE                           CHELSEA BROWN
1936 8TH STREET S                        10 NORTH LAKE STREET                       ADDRESS ON FILE
ROYALTON, IL 62983-2106                  APT 218
                                         GRAYSLAKE, IL 60030




CHELSEA WAGNER                           CHELSEY A MANNING                          CHELSEY CHRIST
1460 G STREET                            3695 ED GROCERY RD                         46 ARBOR SPRINGS
SPRINGFIELD, OR 97477                    WILLIAMSTON, NC 27892                      TROY, IL 62294




CHELSEY SMITH                            CHEMSEARCH                                 CHEMSEARCHFE DIVISION
2313 ROBIN DR                            23261 NETWORK PLACE                        23261 NETWORK PLACE
LOGANVILLE, GA 30052-7159                CHICAGO, IL 60673-0000                     CHICAGO, IL 60673-1232
CHEMTREAT INC          Case 20-10766-BLS     DocINC6 Filed 04/07/20
                                     CHEMTREAT                        Page CHEMTRON
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                                                                                    CORPORATION
15045 COLLECTIONS CENTER DR          15045 COLLECTIONS CENTER DRIVE        35850 SCHNEIDER COURT
CHICAGO, IL 60693                    CHICAGO, IL 60693                     AVON, OH 44011




CHEMTRON CORPORATION                 CHENEY, ALICE R.                      CHENG, PANGELA
P.O. BOX 74305                       ADDRESS ON FILE                       ADDRESS ON FILE
CLEVELAND, OH 44194




CHENIAE, JESSICA L.                  CHENOA JONES                          CHENTHURAN DEIVARAJU
ADDRESS ON FILE                      ADDRESS ON FILE                       309 8TH STREET APT. C
                                                                           LAS VEGAS, NM 87701




CHEPES, TERA L.                      CHEPONIS, RAY                         CHERAMIE, STEVEN JR
228 WEST MOHAWK DRIVE                370 OLDE WICK TRL                     133 BUCKSKIN LN
MALVERN, OH 44644                    HOSCHTON, GA 30548-5500               LOCKPORT, LA 70374-0000




CHERI DIEMER                         CHERI JOWERS                          CHERI L WILLARD - ICEO
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




CHERI SICHLING                       CHERIAN, MERCY                        CHERIE ROBERTS
110 N 3RD ST APT10                   ADDRESS ON FILE                       ADDRESS ON FILE
MONMOUTH, IL 61462




CHEROKEE FLOOR COVERING              CHEROKEE GLASS                        CHERRETTE, JANET
P O BOX 184                          552 WEST MAIN STREET                  4422 MARTIN AVENUE NE
LEBANON, GA 30146                    CENTRE, AL 35960                      FORT PAYNE, AL 35967




CHERRINGTON FIRM PLLC, THE           CHERRINGTON ROBERT G JR               CHERRINGTON, KIMBERLY J.
P.O. BOX 150                         2137 TIMBERVIEW LANE                  ADDRESS ON FILE
PROVO, UT 84603                      WATAGA, IL 61488




CHERRY STREET RESTAURANT & BAR       CHERRY, AVENIEL A.                    CHERRY, EILEEN M.
57 S CHERRY ST                       58 ENGLAND HEIGHTS RD                 1800TUDOR LANE
GALESBURG, IL 61401                  CARBONDALE, IL 62903                  NEW LENOX, IL 60451




CHERRY, JANETTE L.                   CHERRY, JOSEPH                        CHERRY, SHERRY A.
4143 W 18TH AVENUE 87                195 LAKEVIEW DR S                     ADDRESS ON FILE
EUGENE, OR 97402                     LEXINGTON, TN 38351-1243
CHERRY, WILLIAM          Case 20-10766-BLS    Doc
                                       CHERYL A    6 Filed 04/07/20
                                                FREDERICK                Page CHERYL
                                                                              327 ofA1969
                                                                                     MOLL
1166 WORTHINGTON RD.                   160 FISHING CREEK RD                  707 SEYMOUR LAKE ROAD
SPRINGFIELD, MA 01109                  MILL HALL, PA 17751                   ELLIS GROVE, IL 62241




CHERYL KAISER                          CHERYL L COLCLASURE                   CHERYL LIGHTFOOT
275 EUTAW SPRINGS TR                   880 WASHINGTON AVE                    419 17TH ST NE
NORTH AUGUSTA, SC 29860                GALESBURG, IL 61401                   MASSILLON, OH 44646




CHERYL LYNN ALLEN                      CHERYL LYNNE BATSON                   CHERYL MARTIN
214 E FULTON ST                        37 PUNTILLA DRIVE                     2315 MANCHESTER AVE SW
MARISSA, IL 62257                      TIJERAS, NM 87059-0000                MASSILLON, OH 44647




CHERYL R BURGESS                       CHERYL RENEE KING                     CHERYL RICHARDSON
P.O. BOX 152                           ADDRESS ON FILE                       ADDRESS ON FILE
MADISON, AR 72359




CHESNEY, GARY                          CHESNUT JACQUELYN                     CHESNUT, RENEE B.
12 KINGSRIDGE DR                       1545 HUGHES ST                        ADDRESS ON FILE
MT VERNON, IL 62864                    EUGENE, OR 97402




CHESONIS, DAVID                        CHESSER, CATHY L.                     CHESSER, HANNAH
26577 W SYCAMORE RD                    ADDRESS ON FILE                       6828 HAMPSHIRE CT
ANTIOCH, IL 60002                                                            MARYVILLE, IL 62062




CHESSER, NAKISHA                       CHESSON DAVIS, SAMANTHA N.            CHESSON III, JOSEPH M.
ADDRESS ON FILE                        1280 TALL TIMBERS EAST LANE           8097 LONG RIDGE
                                       WILLIAMSTON, NC 27892                 PLYMOUTH, NC 27962




CHESTER & VICTORIA ARD                 CHESTER COUNTY GENERAL SESSIONS       CHESTER GREENHOUSES & FLORIST
216 PARIS AVE                          333 ERIC BELL DR SUITE D              1309 ALLENDALE BLVD.
MCKENZIE, TN 38201                     HENDERSON, TN 38340                   CHESTER, IL 62233




CHESTER, CHERYL V.                     CHESTER, DESSA                        CHESTER, JEDSON
459 FLYWAY LN                          152 HILL SIDE TERRACE                 52405 SQUIRREL HUNTING RD
WINDER, GA 30680                       ANNA, IL 62906                        MORGANTON, GA 30560




CHESTER, RHONDA                        CHESTERFIELD RESOURCES                CHESTNUT, AUDREY D.
2870 WHITNEY RD SE                     P O BOX 1884                          133 S SEVENTH STREET
MONROE, GA 30655-7544                  AKRON, OH 44309                       WEST HELENA, AR 72390
CHESWORTH, BRIAN            Case 20-10766-BLS    Doc
                                          CHEVALIER,   6 Filed 04/07/20
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                                                                                   328 of 1969ROSEMARY
2718 CINDY                                 2230 WEATHERSTONE CIRCLE                6803 MILITIA HILL ST NW
BIG SPRING, TX 79720                       CONYERS, GA 30094                       CANTON, OH 44718




CHEWNING, MARY                             CHEYENE SOUTHERDGRAHAM                  CHEYNEY, RHONDA
777 W MAIN ST                              57 VILLAGE CT                           11155 HOOVER AVE.
WILMOT, OH 44689                           GLEN CARBON, IL 62034                   UNIONTOWN, OH 44685




CHG COMPANIES INC                          CHG MEDICAL STAFFING, INC               CHG-MERIDIAN US FINANCE LTD
DBA COMPHEALTH                             6440 SOUTH MILROCK DRIVE                21800 OXNARD ST, STE 400
P.O. BOX 972651                            SUITE 175                               WOODLAND HILLS, CA 91367
DALLAS, TX 75397-2651                      SALT LAKE CITY, UT 84121-5892




CHG-MERIDIAN US FINANCE LTD                CHG-MERIDIAN US FINANCE LTD             CHG-MERIDIAN USA CORP
P O BOX 310577                             P.O. BOX 310577                         P.O. BOX 310577
DES MOINES, IA 50331-0577                  DES MOINES, IA 50331-0577               DES MOINES, IA 50331-0577




CHG-MERIDIAN USA CORP.                     CHG-MERIDIAN USA CORP.                  CHG-MERIDIAN USA CORPORATION
P.O. BOX 310577                            PO BOX 310577                           11100 WAYZATA BLVD, STE 801
DES MOINES, IA 50331-0577                  DES MOINES, IA 50331-0577               MINNETONKA, MN 55305




CHG-MERIDIAN USA CORPORATION               CHG-MERIDIAN USA CORPORATION            CHG-MERIDIAN WELLS FARGO BANK
21800 OXHARD ST, STE 400                   21800 OXNARD ST, STE 400                NORTHWEST NA
WOODLAND HILLS, CA 91367                   WOODLAND HILLS, CA 91367                P.O. BOX 310577
                                                                                   DES MOINE, IA 50331-0577




CHHABRA, LOVELY                            CHHIM, THAINY                           CHI LABORERS HEALTH/WELFARE FU
ADDRESS ON FILE                            ADDRESS ON FILE                         11465 W CERMAK RD
                                                                                   WESTCHESTER, IL 60154




CHI SIGMA CHAPTER 520                      CHI ST. LUKES HEALTH BRAZOSPORT         CHIACCHIARINI, JOSEPH
1 UNIVERSITY CIRCLE                        100 MEDICAL DRIVE                       ADDRESS ON FILE
CURRENS HALL 510                           LAKE JACKSON, TX 77566-5674
MACOMB, IL 61455




CHIAPELLI, CANDACE                         CHIBE, GERRY                            CHICAGO AREA AUTOPSY SERVICES
19812 N HARMONY LN                         3746 W. 149TH STREET                    600 HOLIDAY PLAZA, STE 535
MOUNT VERNON, IL 62864                     MIDLOTHIAN, IL 60445                    MATTESON, IL 60443-2238




CHICAGO AREA INTERPRETER REFERRAL          CHICAGO CENTER FOR WOMENS HEALTH        CHICAGO MESSENGER SERVICE
SERV, LLC                                  505 S LAKE SHORE DR. 4904               P.O. BOX 7010
4801 SOUTHWICK DR, STE 610                 CHICAGO, IL 60611                       WESCHESTER, IL 60154
MATTESON, IL 60443
CHICAGO OFFICE TECHNOLOGYCase 20-10766-BLS
                            GROUP      CHICAGODoc    6 Filed
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                                                                                       REGIONAL COUNCIL OF
P.O. BOX 5940                          45 N OGDEN AVE                          CARPENTERS
LOCK BOX 20-COE 001                    CHICAGO, IL 60607                       12 E ERIE ST
CAROL STREAM, IL 60197-5940                                                    CHICAGO, IL 60611




CHICAGO SOUTHLAND ECONOMIC             CHICAGO TRIBUNE                         CHICHESTER, TIMOTHY OR LOREL
DEVELOPMENT CORP                       14839 COLLECTIONS CENTER DRIVE          23614 W BRIAR TERRACE
1904 W. 17TH STREET                    CHICAGO, IL 60693-0148                  ANTIOCH, IL 60002
HAZEL CREST, IL 60429




CHICKERING, DAVID                      CHICKO, AMY                             CHIDIEBERE OPARA
9 GERMANIA                             430 LONG BRANCH ROAD                    ADDRESS ON FILE
COLUMBIA, IL 62236                     LOUISA, KY 41230




CHIDIEBERE OPARA                       CHIDIEBERE OPARA, MD                    CHIDSEY KATHLEEN L
1165 N MILWAUKEE AVENUE 1106           ADDRESS ON FILE                         153 LOVELADY RD W
CHICAGO, IL 60642                                                              BALL GROUND, GA 30107




CHIEF BUSINESS OFFICE PURCHASE CARE    CHIEF BUSINESS OFFICE,PC                CHIGGER RIDGE
DEPARTMENT OF VETERANS AFFAIRS         DEPT OF VETERANS AFFAIRS                POB 255
P.O.BOX 469062                         P.O.BOX 469062                          MORGANTON, GA 30560
DENVER, CO 80246-9062                  DENVER, CO 80246




CHIH YEN, DPM                          CHIHIL, LYNETTE M.                      CHILD SUPPORT ENFORCEMENT DIV
259 OAKWOOD DR.                        860 TANGLEWOOD DR                       CASH PROCESSING
JACKSON, KY 41339                      MEDINA, OH 44256                        P.O. BOX 25109
                                                                               ALBUQUERQUE, NM 87125-0109




CHILD SUPPORT ENFORCEMENT DIV.         CHILD SUPPORT SERVICES (ORS)            CHILD SUPPORT
P.O. BOX 25109                         P.O. BOX 45011                          P.O. BOX 14059
ALBUQUERQUE, NM 87125-0109             SALT LAKE CITY, UT 84145-0011           LEXINGTON, KY 40512-4059




CHILD, MACKENZIE                       CHILDERS JIMMIE                         CHILDERS JR., WENDELL
ADDRESS ON FILE                        1770 PARKS RD                           LEE COUNTY
                                       COTTAGE GROVE, OR 97424                 P.O. BOX P
                                                                               BEATTYVILLE, KY 41311




CHILDERS RINDA                         CHILDERS, ALMA                          CHILDERS, AMY S.
P.O. BOX 968                           5095 MANCHESTER AVE SW                  13719 HIGHWAY 1690
JACKSON, KY 41339-0968                 NAVARRE, OH 44662-9689                  LOUISA, KY 41230




CHILDERS, APRIL D.                     CHILDERS, ASHLEY J.                     CHILDERS, CINDY
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE
CHILDERS, GLENDA       Case 20-10766-BLS    Doc
                                     CHILDERS,    6 T.Filed 04/07/20
                                               JACOB                   Page CHILDERS,
                                                                            330 of 1969
                                                                                      JOSHLYN
12994 HIGHWAY 1690                     1400 NORTH IVY LANE                  4487 CASCADE DR.
LOUISA, KY 41230                       MARION, IL 62959                     EUGENE, OR 97402




CHILDERS, KIMBERLY                     CHILDERS, LESLIE                     CHILDERS, LINDSAY K.
ADDRESS ON FILE                        118 WOOSTER ST NW                    ADDRESS ON FILE
                                       NAVARRE, OH 44662




CHILDERS, LISA R.                      CHILDERS, MICKAYLA L.                CHILDERS, MINDY S.
ADDRESS ON FILE                        351 40TH STREET                      ADDRESS ON FILE
                                       SPRINGFIELD, OR 97478




CHILDERS, PATSY J.                     CHILDERS, TAMMY D.                   CHILDERS, VIVIAN C.
2005 KIMBER ROAD                       ADDRESS ON FILE                      ADDRESS ON FILE
DONGOLA, IL 62926




CHILDRENS HOSPITAL MED CTR             CHILDRENS MEDICAL RESOURCE NETWORK   CHILDRENS SINGLE TRUST FUND
P.O. BOX 1750                          P.O. BOX 19605                       826 JADE DR
AKRON, OH 44309                        SPRINGFIELD, IL 62794-9605           C/O AUSTIN COOK
                                                                            OFALLON, IL 62269




CHILDRESS, LORENE E.                   CHILDRESS, SHANNON                   CHILDS DAVID K
2081 W. 200 N.                         3920 GRAND AVENUE SW                 598 SEAGULL DR
DANA, IN 47847                         FORT PAYNE, AL 35967                 TOOELE, UT 84074




CHILDS, ALEX                           CHILDS, ALEX                         CHILDS, WHITNEY A.
ADDRESS ON FILE                        ADDRESS ON FILE                      598 SEAGUL DRIVE
                                                                            TOOELE, UT 84074




CHILLIS, BONITA D.                     CHIMNEY PRO LLC                      CHIN, MCKENZIE K.
1201 W 108TH PL                        1297 COUNTY RD 835                   4630 N STATE RT 157
CHICAGO, IL 60643                      FORT PAYNE, AL 35968                 EDWARDSVILLE, IL 62025




CHIN, ROBERT                           CHINA, JELENA                        CHINN, DAWN E.
ADDRESS ON FILE                        930 TAYLOR                           ADDRESS ON FILE
                                       GURNEE, IL 60031




CHIOU, CHERYL B.                       CHIPMAN MARY                         CHIPMAN, JESSICA
ADDRESS ON FILE                        ADDRESS ON FILE                      5454 HEATHER WAY
                                                                            STANSBURY PARK, UT 84074
CHIPMAN, KIMBERLY L.    Case 20-10766-BLS
                                      CHIPMAN,Doc 6E. Filed 04/07/20
                                               MARY                    Page CHIPPS,
                                                                            331 ofCAFFREY
                                                                                    1969 & DUBILIER, P.S.C.
2118 CRYSTAL SPRING LANE              ADDRESS ON FILE                       290 BIG RUN ROAD
HERMITAGE, TN 37076                                                         LEXINGTON, KY 40503-0000




CHIQUITA WEAVER                       CHIRAG MAKHIJA                        CHIRIAC, MARIA
7357 S SEELEY                         1752 CLAIRMONT WAY NE                 ADDRESS ON FILE
CHICAGO, IL 60636                     BROOKHAVEN, GA 30329-1616




CHISENHALL, BARBARA C.                CHISENHALL, CALEB W.                  CHISENHALL, MATT
2413 CHISENHALL RD SW                 12793 COUNTY ROAD 50                  ADDRESS ON FILE
FORT PAYNE, AL 35968-3443             FYFFE, AL 35971




CHISM, JOYCE                          CHISM, LYNDSAY                        CHITI, ROBERT
1025 JOHNSON ST SE                    ADDRESS ON FILE                       500 SUNSET COURT
MASSILLON, OH 44646                                                         STAUNTON, IL 62088




CHITTENDEN, JONATHAN                  CHITTUM BROOKE                        CHITWOOD, DANIEL
4980 HILLARD RD                       1036 SHERIDAN RD APT 4                3908 LYNDALE DRIVE NW
MCKENZIE, TN 38201                    WINTHROP HARBOR, IL 60096             FORT PAYNE, AL 35968




CHITWOOD, JANET                       CHITWOOD, JENNA R.                    CHIZMADIA, RYAN M.
P.O. BOX 261                          ADDRESS ON FILE                       337 NORTH WENGER RD
GLIDE, OR 97443                                                             DALTON, OH 44618




CHIZUM, STEPHEN P.                    CHLARSON, TENNEAL                     CHLEBOUN, STEFFANY
5515 KING ARTHUR CT                   1542 S HOGAN RD                       85 CRESTVIEW DR
EUGENE, OR 97401                      P.O. BOX 547                          GLEN CARBON, IL 62034
                                      STOCKTON, UT 84071




CHOATE MENTAL HEALTH                  CHOATE, JOHN M.                       CHOATE, LOTTYE
1000 NORTH MAIN ST                    4110 HWY 350                          56 HAZEL AVE
ANNA, IL 62906                        BIG SPRING, TX 79720-0000             MCKENZIE, TN 38201




CHOATE, PAYTON J.                     CHOCTAW MEMORIAL HOSPITAL             CHOI, MD, ROBERT
ADDRESS ON FILE                       1405 EAST KIRK ROAD                   ADDRESS ON FILE
                                      HUGO, OK 74743-3603




CHOICE BOOKS                          CHOICE BOOKS                          CHOICE MEDICAL GROUP
10154 ROSEDALE MILFORD CTR RD         1705 W MOUNT VERNON                   18564 HIGHWAY 18 SUITE 105
IRWIN, OH 43029                       METAMORA, IL 61548                    APPLE VALLEY, CA 92307
CHOICE MEDICAL GROUP Case 20-10766-BLS     DocLEMC
                                   CHOIR BOYS   6 Filed 04/07/20   Page CHONITA,
                                                                        332 of 1969
                                                                                 SPENCER
18564 HIGHWAY 18 SUITE 105         400 PLATINUM                         1822 W 108TH PL
P.O. BOX 2659                      DEMING, NM 88030                     CHICAGO, IL 60643
APPLE VALLEY, CA 92307




CHORAL DYNAMICS                    CHORAL DYNAMICS                      CHOTO, ANA M.
P.O. BOX 432                       PO BOX 432                           ADDRESS ON FILE
GALESBURG, IL 61401                GALESBURG, IL 61401




CHOUDHRY N. MUMTAZ, M.D.           CHOVAN, MARY                         CHOVAN, NANCY
ADDRESS ON FILE                    927 WALES RD NE                      326 SANDY AVE NE
                                   MASSILLON, OH 44646-4723             MASSILLON, OH 44646




CHOW, TAK AND ANLI                 CHOWANIEC, JAMES                     CHOWDHURY, ZAKI H.
P.O. BOX 1926                      P.O. BOX 877                         18 CLAYTON DOWNS LANE
BARSTOW, CA 92312                  PARSONS, TN 38363                    FRONTENAC, MO 63131




CHOWN HARDWARE                     CHRESTMAN, BARBARA                   CHRIS CHU
P.O. BOX 2888                      1644 SFC 759                         ADDRESS ON FILE
PORTLAND, OR 97208-2888            HUGHES, AR 72348




CHRIS D MINTON                     CHRIS FONDRIEST                      CHRIS GRAY
20308 NC 903                       5189 LYNNCREST ST SW                 2537 QUEENS CT
ROBERSONVILLE, NC 27871            CANTON, OH 44706                     GROVETOWN, GA 30813




CHRIS HARRELL PHOTO                CHRIS LESLIE                         CHRIS LUDI
104 E. FREDRICKS                   ADDRESS ON FILE                      C/O AVRH
BARSTOW, CA 92311                                                       104 LEGION DR
                                                                        LAS VEGAS, NM 87701




CHRIS SCHLAUTMAN                   CHRIS SIEVERS                        CHRIS SLUSSER, MADISON COUNTY
5130 GENNIFER LANE                 2209 KINGSPOINTE DR                  TREASURER
AVISTON, IL 62216                  MARION, IL 62959                     157 NORTH MAIN ST, STE 125
                                                                        EDWARDSVILLE, IL 62025




CHRIS SLUSSER, MADISON COUNTY      CHRISINE, STACY                      CHRISMAN, RHONDA
TREASURER                          ADDRESS ON FILE                      3965 HWY 242 W
P.O. BOX 849                                                            LEXA, AR 72355
EDWARDSVILLE, IL 62025-0849




CHRISSY HEWITT                     CHRIST, BRITTANY                     CHRIST, REBECCA S.
822 EDDIE BERN ACRES               2309 HUNTERS POINT DR                2516 CENTER ST
TROY, IL 62294                     GRANITE CITY, IL 62040               GRANITE CITY, IL 62040
CHRIST, SHARI            Case 20-10766-BLS
                                       CHRISTA Doc 6 Filed 04/07/20
                                               BOTNER                 Page CHRISTA
                                                                           333 of M1969
                                                                                    BROTHERS
ADDRESS ON FILE                                                            P.O. BOX 1554
                                                                           MARFA, TX 79843




CHRISTA MCANELLY                       CHRISTA SUZANNE PESTKA, MD          CHRISTA SUZANNE PESTKA, MD
913 WILLIAMS AVENUE NE                 2003 EMILY LANE                     ADDRESS ON FILE
FORT PAYNE, AL 35967                   MARION, IL 62959




CHRISTEN PLESICA                       CHRISTENBERRY, CATHY A.             CHRISTENBERRY, DAWN
1911 S LAKE STOREY RD                  ADDRESS ON FILE                     139 PINEVIEW DRIVE
GALESBURG, IL 61401                                                        RAINSVILLE, AL 35986




CHRISTENBERRY, DAWN, PETTY CASH        CHRISTENBERRY, HEATHER R.           CHRISTENBERRY, TOMARA D.
CUSTODIAN                              389 COUNTY ROAD 824                 139 PINEVIEW DRIVE
315 MEDICAL CENTER DR SW               RAINSVILLE, AL 35986                RAINSVILLE, AL 35986
FORT PAYNE, AL 35968




CHRISTENSEN & GRIFFITH CONST.          CHRISTENSEN AMBER                   CHRISTENSEN CANDACE
P.O. BOX 147                           1210 S WHITE OAK DRIVE              59 LOW CREEK LN
TOOELE, UT 84074                       APT 917                             BLAIRSVILLE, GA 30512
                                       WAUKEGAN, IL 60085




CHRISTENSEN STACIE                     CHRISTENSEN, ALISON                 CHRISTENSEN, AMBER
P.O. BOX 799                           61 N COOLEY STREET                  1210 S WHITE OAK DR. APT 917
MOUNTAIN VIEW, WY 82939-0799           GRANTSVILLE, UT 84029               WAUKEGAN, IN 60085




CHRISTENSEN, BECKY L.                  CHRISTENSEN, CAMERON                CHRISTENSEN, CHERI
ADDRESS ON FILE                        6463 SNOW HOLLOW DR                 1237 BLIND VIEW RIDGE
                                       WEST VALLEY, UT 84128               MESQUITE, NV 89027




CHRISTENSEN, JEANA L.                  CHRISTENSEN, KATIE                  CHRISTENSEN, LAURA JEAN
ADDRESS ON FILE                        204 CHAMPS AVE                      1283 E 970 N
                                       EVANSTON, WY 82930                  TOOELE, UT 84074




CHRISTENSEN, NEIL WALLIS               CHRISTENSEN, SEAN                   CHRISTENSEN, SEAN
2156 N 15TH STREET                     ADDRESS ON FILE                     214 DEL RIO DR
SPRINGFIELD, OR 97477-0000                                                 EVANSTON, WY 82930




CHRISTENSEN, TERRIE                    CHRISTENSEN, WAYNE                  CHRISTENSON ELECTRIC INC
1522 EAST PASS CANYON                  124 HEATHER CT                      111 SW COLUMBIA 488
ERDA, UT 84074                         MESQUITE, NV 89027                  PORTLAND, OR 97208-2888
CHRISTI BLACK            Case 20-10766-BLS     Doc 6
                                       CHRISTI LITTLE      Filed 04/07/20   Page CHRISTIAN
                                                                                 334 of 1969
                                                                                           BROTHERS SERVICES
1210 CEDARWOOD DR SW                    2930 BOLD SPRINGS RD NW                  HBS REFUNDS
FORT PAYNE, AL 35968                    MONROE, GA 30656                         1205 WINDHAM PKWY
                                                                                 ROMEOVILLE, IL 60446




CHRISTIAN CARE CENTER MCKENZIE          CHRISTIAN COLSON                         CHRISTIAN MAREE
150 OAK MANOR RD                        889 KEMP RD                              P.O. BOX 603
MCKENZIE, TN 38201                      MARTIN, TN 38237                         MCCRORY, AR 72101




CHRISTIAN PLUMBING,INC/10               CHRISTIAN SWAIN                          CHRISTIAN, ALICIA
3475 BLAIRSVILLE HWY                    505 GODFREY AVENUE NE                    1489 JOELS BRANCH RD
MURPHY, NC 28906                        FORT PAYNE, AL 35967                     GENOA, WV 25517




CHRISTIAN, CYNTHIA M.                   CHRISTIAN, JENNIFER                      CHRISTIAN, JONATHAN
17740 ANTHONY AVENUE                    ADDRESS ON FILE                          169 HARROW CR
COUNTRY CLUB HILLS, IL 60478                                                     AIKEN, SC 29803-8736




CHRISTIAN, SCOTT                        CHRISTIAN, SHAREE P.                     CHRISTIANSEN, BONNIE L.
6543 RICHVILLE DR SW                    ADDRESS ON FILE                          429 CIRCLE DR
CANTON, OH 44706                                                                 PRAIRIE DU ROCHER, IL 62277




CHRISTIANSEN, KELLY                     CHRISTIANSEN, ROBERT                     CHRISTIANSON, KENNETH
5360 FOXCHASE AVE NW                    1316 PALMER CREEK DR                     200 WEST MULLER RD
CANTON, OH 44718                        COLUMBIA, IL 62236-2746                  EAST PEORIA, IL 61611




CHRISTIE L CARL                         CHRISTIE LEBLANC, RN                     CHRISTIE MEDICAL HOLDINGS, INC
609 LITTLE MOUNTAIN RD                                                           3175 LENOX PARK BOULEVARD, STE 200
SUNBURY, PA 17801-5542                                                           MEMPHIS, TN 38115




CHRISTINA ACUFF                         CHRISTINA CASTLEMAN                      CHRISTINA ELIZABETH LIPE
ADDRESS ON FILE                         2680 LUNA ROAD SW                        2807 CHERRY
                                        DEMING, NM 88030                         MT VERNON, IL 62864




CHRISTINA HOWARD                        CHRISTINA MCCARTNEY                      CHRISTINA N EADS
182 FOREST OAKS DR                      1020 KNOX HWY 7                          209 MAIN ST
CASEYVILLE, IL 62232                    GALESBURG, IL 61401                      NEW WINDSOR, IL 61465




CHRISTINA RENEE NASH                    CHRISTINA SMITH                          CHRISTINE ANDERSON
2296 PLANTATION RD                      ADDRESS ON FILE                          212 MEYER
AUGUSTA, GA 30906-8965                                                           LEBANON, IL 62254
CHRISTINE ANDERSON     Case 20-10766-BLS     Doc
                                     CHRISTINE    6 Filed 04/07/20
                                               CLARK                 Page CHRISTINE
                                                                          335 of 1969
                                                                                    DELCOUR
ADDRESS ON FILE                       ADDRESS ON FILE                     8 DOCTORS PARK ROAD
                                                                          MT. VERNON, IL 62864




CHRISTINE FREDERICK                   CHRISTINE GAMBER                    CHRISTINE HARTFORD
ADDRESS ON FILE                       333 BEVERLY RD                      5944 MACLEOD DR
                                      ELIZABETHTOWN, PA 17022-9599        MEMPHIS, TN 38119




CHRISTINE HEBERT                      CHRISTINE LANE                      CHRISTINE M LINDER
3213 WATSON MILL DR                   ADDRESS ON FILE                     3515 KENYON AVE NW
LOGANVILLE, GA 30052                                                      MASSILLON, OH 44647




CHRISTINE WEBER                       CHRISTINE WELTY                     CHRISTINE WHITTET
ADDRESS ON FILE                       ADDRESS ON FILE                     1398 N CHERRY ST
                                                                          GALESBURG, IL 61401




CHRISTLE, ELIZABETH                   CHRISTLEY, HOLLY                    CHRISTMAS FOR COPS
7127 154TH CT N                       1567 E ERDA WAY                     C/O DAVID KEEN
PALM BEACH GARDENS, FL 33418          ERDA, UT 84074                      24 SW CRESCENT
                                                                          MT. VERNON, IL 62864




CHRISTMAS, RAMONA L                   CHRISTOFALOS, MICHELLE L.           CHRISTOFFERSON, JANET R.
758 RED OAK DRIVE                     ADDRESS ON FILE                     P.O. BOX 1081
LEWISVILLE, TX 75067                                                      EVANSTON, WY 82931-1081




CHRISTOPHER BOWLES                    CHRISTOPHER CAMP                    CHRISTOPHER COURTRIGHT
113 OAK HILL DR                       259 CAMP LANE                       2519 KNOX RD 1240E
MARYVILLE, IL 62062                   FYFFE, AL 35971                     ONEIDA, IL 61467




CHRISTOPHER HARCROW                   CHRISTOPHER HOOKER                  CHRISTOPHER JACKSON
10568 COUNTY ROAD 52                  618 COUNTRY MEADOW LANE             ADDRESS ON FILE
DAWSON, AL 35963                      BELLEVILLE, IL 62221




CHRISTOPHER KESEL                     CHRISTOPHER KURT                    CHRISTOPHER LITTLEJOHN
8387 LEBANON RD                       ADDRESS ON FILE                     302 NORTH 41ST ST
NASHVILLE, IL 62263                                                       BELLEVILLE, IL 62226




CHRISTOPHER MARKS                     CHRISTOPHER MERCER                  CHRISTOPHER PETERSON
9351 GRASSY RD                        11 CHARLES DRIVE                    13911 JAMES DR
MARION, IL 62959                      GLEN CARBON, IL 62034               MIDLOTHIAN, IL 60445
CHRISTOPHER SINCLAIR      Case 20-10766-BLS    Doc 6BRENDA
                                        CHRISTOPHER,   Filed 04/07/20         Page CHRISTOPHER,
                                                                                   336 of 1969BRYAN S.
1387 CHAPARRAL DR                        12939 E 106TH WAY                         ADDRESS ON FILE
MESQUITE, NV 89027-0000                  COMMERCE CITY, CO 80022-0627




CHRISTOPHER, PHYLLIS                     CHRISTOPHER, TINGLE                       CHRISTOPHERSON ERIN
911 BELLEFONTE AVE                       1825 ELIZABETH RD                         1837 W VERRA BLVD H303
LOCK HAVEN, PA 17745                     STAUNTON, IL 62088                        TOOELE, UT 84074




CHRISTUS HEALTH PLAN                     CHRISTUS HEALTH                           CHRISTUS ST. VINCENT MEDICAL GROUP,
P.O. BOX 981651                          919 HIDDEN RIDGE                          LLC
EL PASO, TX 79998                        IRVING, TX 75038                          919 HIDDEN RIDGE
                                                                                   IRVING, TX 75038




CHRISTY HOBBS                            CHRISTY JONES                             CHRISTY LONG
ADDRESS ON FILE                          ADDRESS ON FILE                           2054 MILLHAVEN RD
                                                                                   GIRARD, GA 30426




CHRISTY P CURNUTTE                       CHRISTY WINSLOW                           CHRISTY, DARON R.
323 LEVISA DRIVE                         ADDRESS ON FILE                           1205 LOOP DR
LOUISA, KY 41230                                                                   PLEASANT VIEW, TN 37027




CHRISTY, DAVID                           CHRISTY, TANYA A.                         CHROMZACK, WILLIAM T.
556 COUNTY RD 807                        406 W. CARROLL ST                         1708 JULIANNE DR
FLAT ROCK, AL 35966                      ORIENT, IL 62874                          MARION, IL 62959




CHROSTOSKI, CHRISTY                      CHROSTOSKI, SHANNON M.                    CHRYSSOS, ANTONIOS E.
ADDRESS ON FILE                          19166 CRAB ORCHARD RD                     8 SOUTHCOVE LANE
                                         MARION, IL 62959                          SOUTH CHARLESTON, WV 25309




CHRYSSOS, NANCY                          CHS / COMMUNITY HEALTH SYSTEMS INC        CHS PINCHHITTERS
5828 FRAZER AVE                          4000 MERIDIAN BLVD                        RICHARD VINCENT
NORTH CANTON, OH 44720                   FRANKLIN, TN 37067                        101 DERBY LANE
                                                                                   MARYVILLE, IL 62062




CHS RECEIVABLES FUNDING LLC              CHS UTAH HOLDINGS, LLC                    CHS/COMMUNITY HEALTH SYSTEMS INC
4000 MERIDIAN BLVD                       1209 ORANGE STREET                        CHSPSC LLC
FRANKLIN, TN 37067                       WILMINGTON, DE 19801                      4000 MERIDIAN BLVD
                                                                                   FRANKLIN, TN 37067




CHSPSC LEASING INC                       CHSPSC, LLC D/B/A CLEARVIEW REGIONAL      CHSPSC, LLC
CHSPSC LEASING INC                       MEDICAL CENTER                            4000 MERIDIAN BOULEVARD
P.O. BOX 69, 720 WEST BAY ROAD           2151 WEST SPRING ST                       FRANKLIN, TN 37067
GRAND CAYMAN KY1-1102                    MONROE, GA 30655
CAYMAN ISLAND
CHU, CHRISTOPHER        Case 20-10766-BLS    Doc 6
                                      CHUA, CORAZON      Filed 04/07/20   Page CHUA,
                                                                               337 of   1969
                                                                                     MITCHELL
ADDRESS ON FILE                        82 E. DORTON BLVD.                      ADDRESS ON FILE
                                       STAFFORDSVILLE, KY 41256




CHUANG, JENNY                          CHUC-TZOC GERMAN                        CHUNG, ELEXISE D.
718 MOONEY DRIVE                       3909 PLAINS AVENUE SOUTH WEST           ADDRESS ON FILE
MONTEREY PARK, CA 91755                FORT PAYNE, AL 35967




CHURCH OF JESUS CHRIST OF LATTER DAY   CHURCH OF JESUS CHRIST OF LATTER DAY    CHURCH, DAVID
SAINTS                                 SAINTS, THE                             ADDRESS ON FILE
GRANTSVILLE 11TH WARD 488933           50 E NORTH TEMPLE
GRANTSVILLE, UT 84029                  DONATIONS OFFICE, ROOM 1521
                                       SALT LAKE CITY, UT 84150



CHURCH, GREG                           CHURCHILL HIGH SCHOOL                   CHURCHILL, ALLISON
P O BOX 2125                           1850 BAILEY HILL ROAD                   ADDRESS ON FILE
DEMING, NM 88031                       EUGENE, OR 97405




CHURCHILL, ALLISON                     CHURCHWELL, JAMES                       CHY, ALIS
ADDRESS ON FILE                        2991 ROCKY MOUNT RD                     320 N THIRD ST
                                       HIGHLAND HOME, AL 36041                 MONMOUTH, IL 61462




CI SERVICE                             CIANCIOLO, LISA                         CIBM BANK
P.O. BOX 965                           ADDRESS ON FILE                         19601 W BLUEMOUND RD
MINOOKA, IL 60447                                                              BROOKFIELD, WI 53045




CIBOLA GENERAL HOSPITAL CORPORATION    CIBOLA GENERAL HOSPITAL CORPORATION     CICHON, DANIEL J.
1016 E. ROOSEVELT                      1016 ROOSEVELT AVENUE                   595 ALIMA TERRACE
GRANTS, NM 87020                       GRANTS, NM 87020                        ANTIOCH, IL 60002




CICHONSKI, CAROL B.                    CIERRA JENNINGS                         CIESCO, KAREN
158 HONEY SUCKLE CT                    ADDRESS ON FILE                         334 DILLONS RIDGE RD
ROUND LAKE BEACH, IL 60073                                                     MORGANTON, GA 30560




CIEZKOWSKI, DOROTHY                    CIFONI, SHEILA S.                       CIFUENTES, SILVIA M.
2186 13TH STREET                       6296 BOATMAN DR NW                      ADDRESS ON FILE
FLORENCE, OR 97439                     CANAL FULTON, OH 44614




CIGNA - BOURBONNAIS CLAIMS OFFICE      CIGNA - GREAT WEST HEALTHCARE           CIGNA (TN)
P.O. BOX 182223                        8505 E ORCHARD RD                       P.O. BOX 182223
CHATTONOOGA, TN 37422-7223             GREENWOOD VILLAGE, CO 80111             CHATTANOOGA, TN 37422-8033
CIGNA / ACCENT          Case 20-10766-BLS      Doc 6
                                      CIGNA / ACCENT     Filed 04/07/20    Page CIGNA
                                                                                338 of  1969
                                                                                      ATTN: RECOVERY SERVICES
P.O. BOX 952366                        P.O. BOX 952366                          P.O. BOX 952366
ST LOUIS, MO 63195                     ST LOUIS, MO 63195-2366                  ST LOUIS, MO 63195-2366




CIGNA C/O ACCENT                       CIGNA C/O CONDUENT PYMT INTEGRITY        CIGNA C/O PRS
11808 MIRCALE HILLS DRIVE              SOLUTIONS                                P.O. BOX 415000
OMAHA, NE 68154                        P.O. BOX 30114                           NASHVILLE, TN 37241
                                       SALT LAKE CITY, UT 84130-9993




CIGNA CORPORATION                      CIGNA CPHP OP                            CIGNA GREAT WEST
P.O. BOX 182223                        P O BOX 182223                           1000 GREAT WEST DR
CHATTANOOGA, TN 37422                  CHATTANOOGA, TN 37422                    KENNET, MO 63857




CIGNA HEALTH & LIFE INS CO             CIGNA HEALTH & LIFE INS CO               CIGNA HEALTH & LIFE INS CO
MEDICAID REIMBURSMENT UNIT             P.O. BOX 182223                          P.O. BOX 182223
P.O.BOX 188021                         CHATTANOOGA, TN 37422                    CHATTANOOGA, TN 37422-7223
CHATTANOOGA, TN 37422-8021




CIGNA HEALTH & LIFE INS CO             CIGNA HEALTH & LIFE INS                  CIGNA HEALTH AND LIFE
P.O. BOX 30010                         PO BOX 30010                             P.O. BOX 15050
AUSTIN, TX 78755                       AUSTIN, TX 78755                         WILMINGTON, DE 19850




CIGNA HEALTH CARE                      CIGNA HEALTHCARE ATTCOR TEAM             CIGNA HEALTHCARE PROCLAIM
P.O. BOX 188012                        P.O. BOX 188012                          P.O. BOX 2625
CHATANOOGA, TN 37422-7223              CHATTANOOGA, TN 37422                    DEL MAR, CA 92014




CIGNA HEALTHCARE                       CIGNA HEALTHCARE                         CIGNA HEALTHCARE
ACCENT                                 JOHNSON & ROUNDTREE                      OVERPAYMENT RECOVERY
P.O. BOX 952366                        P.O. BOX 2625                            P.O. BOX 188012
ST LOUIS, MO 63195                     DEL MAR, CA 92014                        CHATTANOOGA, TN 37422




CIGNA HEALTHCARE                       CIGNA HEALTHCARE                         CIGNA HEALTHCARE
P.O. BOX 188012 ATT: REFUNDS           P.O. BOX 188012                          P.O. BOX 952366
CHATTANOOGA, TN 37422                  OVERPAYMENT RECOVERY                     ST LOUIS, MO 63195
                                       CHATTANOOGA, TN 37422




CIGNA HEALTHCARE                       CIGNA HEALTHSPRING INC                   CIGNA HEALTHSPRING OF IL
POB 182223                             P.O. BOX 20002                           P.O. BOX 981706
CHATTANOOGA, TN 37422                  NASHVILLE, TN 37202                      EL PASO, TX 79998-1706




CIGNA HEALTHSPRINGS OF IL              CIGNA HLTH & LIFE INS CO                 CIGNA HLTH OP
P O BOX 981804                         8505 E. ORCHARD RD.                      P.O.BOX 952366
EL PASO, TX 79998                      GREENWOOD VILLAGE, CO 80111              ST LOUIS, MO 63195
CIGNA HMO              Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                     CIGNA HMO                       Page CIGNA
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                                                                                INTERNATIONAL
P.O. BOX 182223                      P.O. BOX 952366                      P O BOX 15050
CHATTANOOGA, TN 37422-7223           ST LOUIS, MO 63195                   WILMINGTON, DE 19850




CIGNA JOHNSON & ROUNTREE            CIGNA LCHP                            CIGNA LIFE AND HEALTH INSURANCE CO
P.O. BOX 2625                       P O BOX 5200                          P.O. BOX 182223
DELMAR, CA 92014-2625               SCRANTON, PA 18505-5200               CHATTANOOGA, TN 37422-7223




CIGNA OBS                           CIGNA OVERPAYMENT RECOVEERY           CIGNA POS
MSC 410834                          P.O. BOX 188012                       P.O. BOX 182223
P.O. BOX 415000                     CHATTANOOGA, TN 37422                 CHATTANOOGA, TN 37422-7223
NASHVILLE, TN 37241




CIGNA POS                           CIGNA PPO                             CIGNA PPO
P.O. BOX 589                        ACCENT                                CLAIMS DEPT
LAGRANGE, KY 40031                  P.O. BOX 952366                       P.O. BOX 182223
                                    ST LOUIS, MO 63195                    CHATTANOOGA, TN 37422-7223




CIGNA PPO                           CIGNA PPO                             CIGNA PPO
MSC410834                           P.O. BOX 182223                       P.O. BOX 3008
P.O. BOX 415000                     CHATTANOOGA, TN 37422-7223            NAPERVILLE, IL 60566
NASHVILLE, TN 37241




CIGNA PPO                           CIGNA STERLING LIFE INS CO            CIGNA SUPPLEMENTAL
P.O. BOX 952366                     P.O. BOX 30010                        P O BOX 5700
ST LOUIS, MO 63195                  AUSTIN, TX 78755                      SCRANTON, PA 18505




CIGNA US HEALTHCARE                 CIGNA                                 CIGNA
P.O. BOX 188012                     1000 GREAT WEST DR                    ACCENT
CHATTANOOGA, TN 37422               KENNETT, MO 63857                     P.O. BOX 952366
                                                                          ST LOUIS, MO 63195




CIGNA                               CIGNA                                 CIGNA
ATTN COR TEAM                       ATTN OVERPAYMENT RECOVERY UNIT        ATTN: MEDICAL REFUNDS
P.O. BOX 188012                     P.O. BOX 188061                       P.O. BOX 188012
CHATTANOOGA, TN 37422               CHATTANOOGA, TN 37422-8061            CHATTANOOGA, TN 37422




CIGNA                               CIGNA                                 CIGNA
ATTN: MEDICAL REFUNDS               ATTN: OVERPAYMENT UNIT                ATTN: REFUND DEPARTMENT
P.O. BOX 188012                     P.O. BOX 188061                       P.O. BOX 182223
CHATTANOOGA, TN 37422-8061          CHATTANOOGA, TX 37422-8061            CHATTANOOGA, TN 37422-7223




CIGNA                               CIGNA                                 CIGNA
ATTN: REFUND DEPT                   ATTN:REFUNDS                          ATTN:REFUNDS
P.O. BOX 26580                      P.O.BOX 188012                        P.O.BOX 188012
AUSTIN, TX 78755                    CHATTANOOGA, TN 37422-0000            CHATTANOOGA, TN 37422-8012
CIGNA                    Case 20-10766-BLS
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MSC 410834                             P O BOX 182223                       P O BOX 188012
P.O. BOX 415000                        CHATTANOOGA, TN 37422-2223           CHATTANOOGA, TN 37422
NASHVILLE, TN 37241-0834




CIGNA                                 CIGNA                                 CIGNA
P O BOX 188012                        P O BOX 188061                        P O BOX 188061
CHATTANOOGA, TN 37422-8012            CHATTANOOGA, TN 37422-0000            CHATTANOOGA, TN 37422-7223




CIGNA                                 CIGNA                                 CIGNA
P O BOX 188061                        P O BOX 542007                        P O BOX 589
CHATTANOOGA, TN 37422-8061            OMAHA, NE 68154-8007                  LAGRANGE, KY 40031




CIGNA                                 CIGNA                                 CIGNA
P O BOX 952366                        P.O. BOX 12018                        P.O. BOX 14601
ST LOUIS, MO 63195                    CHEYENNE, WY 82003-1234               LEXINGTON, KY 40512-4601




CIGNA                                 CIGNA                                 CIGNA
P.O. BOX 182223                       P.O. BOX 182223                       P.O. BOX 182223
CHATANOOGA, TN 37422-7223             CHATTANOOGA, IN 37422                 CHATTANOOGA, IN 37422-8061




CIGNA                                 CIGNA                                 CIGNA
P.O. BOX 182223                       P.O. BOX 182223                       P.O. BOX 188004
CHATTANOOGA, TN 37422-7223            CHATTANOOGA, TN 37422-8061            CHATTANOOGA, TN 37422-8004




CIGNA                                 CIGNA                                 CIGNA
P.O. BOX 188007                       P.O. BOX 188012                       P.O. BOX 188012
CHATTANOOGA, TN 37422                 CHATTANOOGA, TN 37422                 CHATTANOOGA, TN 37422-8012




CIGNA                                 CIGNA                                 CIGNA
P.O. BOX 188012                       P.O. BOX 188017                       P.O. BOX 188061
CHATTANOOGA, TN 37422-8061            CHATTANOOGA, TN 37422-8061            CHATTANOOGA, TN 37422




CIGNA                                 CIGNA                                 CIGNA
P.O. BOX 188061                       P.O. BOX 188061                       P.O. BOX 30010
CHATTANOOGA, TN 37422-0000            CHATTANOOGA, TN 37422-8061            AUSTIN, TX 78755-3010




CIGNA                                 CIGNA                                 CIGNA
P.O. BOX 589                          P.O. BOX 732127                       P.O. BOX 952366
RAWLINGS FINANCIAL ACC RCVRY          C/O EQUICLAIM LLC                     ST JONS, MO 63195
LAGRANGE, KY 40031                    DALLAS, TX 75373
CIGNA                       Case 20-10766-BLS
                                          CIGNA Doc 6        Filed 04/07/20   Page CIGNA
                                                                                   341 of 1969
P.O. BOX 952366                           P.O. BOX 952366                         P.O. BOX 952366
ST LOUIS, MO 63195                        ST. LOUIS, MO 63195                     ST. LOUIS, MO 63195-2366




CIGNA                                     CIGNA                                   CIGNA
P.O. BOX 981706                           P.O. BOX 981804                         PO BOX 182223
EL PASO, TX 79998-1706                    EL PASO, TX 79998-1804                  CHATTANOOGA, TN 37422




CIGNA                                     CIGNA                                   CIGNA/ACCENT
PO BOX 188012                             POBOX 188061                            P.O.BOX 952366
CHATTANOOGA, TN 37422                     CHATTANOOGA, TN 37422-8061              ST LOUIS, MO 63195




CIGNA/RAWLINGS FINANCIAL SERVICES         CIGNA-ACCENT                            CIGNA-ACCENT
P.O. BOX 589                              P.O. BOX 952366                         P.O. BOX 952366
ACCELERATED RECOVERY DIVISION             ST. LOUIS, MO 63195-2366                ST.LOUIS, MO 63195
LAGRANGE, KY 40031-0589




CIGNA-GREAT WEST HEALTH CARE              CIHQ-HACP                               CIHQ-HACP
8505 EAST ORCHARD ROAD                    P.O. BOX 6206                           PO BOX 6206
GREENWOOD VILLAGE, CO 80111               SANTA MARIA, CA 93456                   SANTA MARIA, CA 93456




CII EMBROIDERY                            CIMALA, DEREK W.                        CIMRO
60 S KELLOGG ST                           ADDRESS ON FILE                         100 TRADE CENTRE DRIVE
GALESBURG, IL 61401                                                               SUITE 401
                                                                                  CHAMPAIGN, IL 61820-7233




CINCINNATI INS                            CINCINNATI SUB-ZERO                     CINDIS CATERING CO
P.O. BOX 145496                           12011 MOSTELLER RD.                     11550 E SUMTER RD
CINCINNATI, OH 45250-5496                 CINCINNATI, OH 45241                    DIX, IL 62830




CINDY A WAGNER                            CINDY BROKENSHIRE                       CINDY DALTON
518 E BROOKS ST                           420 SHARRY LYNN CR                      ADDRESS ON FILE
GALESBURG, IL 61401                       PADUCAH, KY 42003




CINDY HALBERT                             CINDY ISRAEL                            CINDY KING, LLC
1082 SFC 311                              16820 E COUNTRY CLUB                    8 STITES LANE
FORREST CITY, AR 72335                    MT VERNON, IL 62864                     MINERAL BLUFF, GA 30559




CINDY RIOS                                CINEMA AD SALES                         CINQUEGRANI, CAROLINE E.
121 LADY ASTOR ST                         407 W. WOOD ST.                         1862 E BELVIDERE RD 152
DANVILLE, VA 24541                        PARIS, TN 38242                         GRAYSLAKE, IL 60030
CINTAS 904                Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                        CINTAS 904                     Page CINTAS
                                                                            342 ofCORP
                                                                                   1969(RENTALS)
P.O. BOX 630921                         P.O.BOX 630921                      P.O. BOX 630910
CINCINNATI, OH 45263-0921               CINCINNATI, OH 45263-0921           CINCINNATI, OH 45263-0910




CINTAS CORP LOC 316                   CINTAS CORP.731/CINTAS LOC 731        CINTAS CORPORATION 2
P.O. BOX 630910                       P.O. BOX 88005                        97627 EAGLE WAY
CINCINNATI, OH 45263-0910             CHICAGO, IL 60680-1005                CHICAGO, IL 60678-7627




CINTAS CORPORATION 452                CINTAS CORPORATION NO 2               CINTAS CORPORATION
P.O. BOX 88005                        P.O. BOX 630910                       97627 EAGLE WAY
CHICAGO, IL 60680-1005                CINCINNATI, OH 45263                  CHICAGO, IL 60678-9760




CINTAS CORPORATION                    CINTAS FIRE 636525                    CINTAS FIRE PROTECTION OF CARBONDALE
P.O. BOX 88005                        P.O. BOX 636525                       634 LAMBERT POINTE DRIVE
CHICAGO, IL 60680-1005                CINCINNATI, OH 45263-6525             HAZELWOOD, MO 63042




CINTAS FIRE PROTECTION, LOC F80       CINTAS LOC 108                        CINTAS
704 W 8TH STREET                      P.O. BOX 650838                       P O BOX 88005
VANCOUVER, WA 98660                   DALLAS, TX 75265                      CHICAGO, IL 60680-1005




CIOE, DAVID                           CIOFFI, ERIC                          CIONI, JAMES R.
2805 W. MANITOU TRAIL                 743 BELL ROAD                         136 MICHIGAN AVE.
MCHENRY, IL 60051                     MINERAL BLUFF, GA 30559-8759          HIGHWOOD, IL 60040




CIONKOS MARKET, INC.                  CIOX HEALTH LLC                       CIOX HEALTH LLC
2901 MADISON AVE                      P O BOX 409669                        P.O. BOX 409669
GRANITE CITY, IL 62040                ATLANTA, GA 30384-9669                ALTANTA, GA 30384-9669




CIOX HEALTH LLC                       CIOX HEALTH LLC                       CIOX HEALTH LLC
P.O. BOX 409669                       P.O. BOX 409875                       P.O.BOX 409669
ATLANTA, GA 30384-9669                ATLANTA, GA 30384-9669                ATLANTA, GA 30384-9669




CIOX HEALTH                           CIOX HEALTH                           CIOX HEALTH
P O BOX 409669                        P.O. BOX 409669                       P.O. BOX 409875
ATLANTA, GA 30384                     ATLANTA, GA 30384                     ATLANTA, GA 30384




CIOX HEALTH                           CIOX HEALTH                           CIRCADIANCE, LLC
P.O.BOX 409669                        PO BOX 409669                         1300 RODI RD.
ATLANTA, GA 30384                     ATLANTA, GA 30384                     TURTLE CREEK, PA 15145
CIRCO, JILL              Case 20-10766-BLS     Doc 6
                                       CIRCUIT CLERK        Filed 04/07/20    Page CIRCUIT
                                                                                   343 ofCOURT
                                                                                           1969OF CALHOUN COUNTY
624 S 122ND ST                          MADISON COUNTY COURTHOUSE                  25 WEST 11TH ST
OMAHA, NE 68154                         100 NORTH SIDE SQUARE                      ANNISTON, AL 36201
                                        HUNTSVILLE, AL 35801-4820




CIRCUIT COURT OF JEFFERSON CTY          CIRIMOTICH, CASSIE G.                      CIRIMOTICH, LOGAN
P.O. BOX 100                            ADDRESS ON FILE                            1335 SW 66TH AVE 304
HILLSBORO, MO 63050                                                                PORTLAND, OR 97225




CIRRO ENERGY                            CISCO, HEATHER R.                          CISNEROS, AMY M.
2745 DALLAS PKWY                        ADDRESS ON FILE                            1810 S. BENTON
STE 200                                                                            BIG SPRING, TX 79720
PLANO, TX 75093




CISNEROS, PEDRO J.                      CISNEROS, ROXANA                           CIT BANK NA
6135 S NATCHEZ AVE                      15781 E 10500N RD                          1 CIT DR
CHICAGO, IL 60638                       GRANT PARK, IL 60940                       LIVINGSTON, NJ 07039




CIT BANK NA                             CIT BANK NA                                CIT EQUIPMENT FINANCE
10201 CENTURION PKWY N                  CIT FINANCE LLC                            10201 CENTURION PKWY N, STE 100
ATTN: ADAM TORO LITIGATION MGR          300 S RIVERSIDE PLZ, IL1-0196              JACKSONVILLE, FL 32256
JACKSONVILLE, FL 32256                  CHICAGO, IL 60606




CIT NORTHBRIDGE CREDIT LLC              CIT                                        CITADEL OUTSOURCE GROUP
AS AGENT                                21146 NETWORK PLACE                        162 IMPERIAL BOULEVARD
11 W 42ND ST                            CHICAGO, IL 60673                          HENDERSONVILLE, TN 37075
NEW YORK, NY 10036




CITIBANK INTERNATIONAL                  CITIBANK, N.A. (0908)                      CITIZENS BANK
CITIBANK, NATIONAL ASSOCIATION          ATTN SHERIDA SINANAN OR PROXY DEPT.        ATTN: LINDSEY WOLFE
                                        3801 CITIBANK CENTER                       ONE CITIZENS PLAZA
                                        B/3RD FLOOR/ZONE 12                        PROVIDENCE, RI 02903
                                        TAMPA, FL 33610



CITIZENS BANK                           CITRANO DIAGNOSTIC LABORATORIES            CITTADINO JR DOMINIC
ATTN: LORIE KIRK                        810 GLEN EAGLES COURT                      1513 DOGWOOD RD
ONE CITIZENS PLAZA                      SUITE 100                                  CARBONDALE, IL 62902
PROVIDENCE, RI 02903                    BALTIMORE, MD 21286




CITY CLERK TREASURER                    CITY CLERK TREASURER                       CITY CLERK-TREASURER
P O BOX 1074                            P.O. BOX 1074                              P O BOX 1074
FORREST CITY, AR 72336                  FORREST CITY, AR 72336                     FORREST CITY, AR 72336




CITY DRUG                               CITY ELECTRIC SUPPLY CO.                   CITY FLORIST
131 10TH ST                             1600 N. MILWAUKEE AVE                      80 WALDREN ST
EVANSTON, WY 82930                      SUITE 801                                  MCKENZIE, TN 38201
                                        LAKE VILLA, IL 60046-0000
CITY MAGNETS, INC       Case 20-10766-BLS     Doc 6BANKFiled 04/07/20
                                      CITY NATIONAL                      Page CITY
                                                                              344OFofALPINE
                                                                                      1969GAS DEPT
P.O. BOX 529                          ATTN: THERESA HALL                      100 N 13TH ST
35 VALLEY ROAD                        45 KY-321                               ALPINE, TX 79830-0000
SUNRISE BEACH, MO 65079               PAINTSVILLE, KY 41240




CITY OF ALPINE                        CITY OF ALPINE                          CITY OF ALPINE
100 13TH STREET                       ATTN RANDY GUZMAN, GAS UTILITY          ATTN SCOTT PERRY, DIRECTOR OF PUBLIC
ALPINE, TX 79830                      DIRECTOR                                UTILITIES
                                      203 N APPLE ST                          309 W SUL ROSS AVE
                                      ALPINE, TX 79830                        ALPINE, TX 79830



CITY OF ALPINE                        CITY OF ALPINE                          CITY OF ANNA
ATTN: GAS DEPT                        ATTN: GAS DEPT                          ATTN CHRIS THATCHER, CUSTOMER
100 NORTH 13TH STREET                 100 NORTH 13TH STREET                   SERVICE SUPERVISOR
ALPINE, TX 79830                      ALPINE, TX 79830-0000                   101 S POWELL PKWY
                                                                              ANNA, TX 754



CITY OF ANNA, ILLINOIS                CITY OF BARSTOW                         CITY OF BARSTOW
103 MARKET ST                         220 E. MT. VIEW                         220 E. MT. VIEW
ANNA, IL 62906                        BARSTOW, CA 92311                       BARSTOW, CA
                                                                              BARSTOW, CA 92311




CITY OF BARSTOW, CALIFORNIA           CITY OF BEATTYVILLE                     CITY OF BEATTYVILLE
220 E MOUNTAIN VIEW ST A              28 RAILROAD ST, STE A                   P.O. BOX 307
BARSTOW, CA 92311                     BEATTYVILLE, KY 41311                   BEATTYVILLE, KY 41311




CITY OF BEATTYVILLE                   CITY OF BIG SPRING                      CITY OF BIG SPRING
P.O. BOX 307,                         310 NOLAN ST                            ATTN FELICIA GUERRA, WATER OFFICE
BEATTYVILLE, KY 41311                 BIG SPRING, TX 79720                    SUPERVISOR
                                                                              501 RUNNELS ST
                                                                              BIG SPRING, TX 79720



CITY OF BIG SPRING                    CITY OF BIG SPRING                      CITY OF BIG SPRING
ATTN: CONVENTION & VISITOR BUREAU     ATTN: WATER DEPARTMENT                  INDUSTRIAL PARK/AIRPARK
113 E. 3RD ST                         501 RUNNELS ST                          310 NOLAN
BIG SPRING, TX 79720                  BIG SPRING, TX 79720                    BIG SPRING, TX 79720




CITY OF BIG SPRING                    CITY OF BLUE ISLAND                     CITY OF BLUE ISLAND
SENIOR CITIZENS CENTER                13051 S GREENWOOD AVE                   13051 S GREENWOOD AVE
310 NOLAN ST                          BLUE ISLAND, IL 60406-0329              BLUE ISLAND, IL 60406-2428
BIG SPRING, TX 79720




CITY OF BLUE ISLAND                   CITY OF BRENTWOOD WATER SERVICES        CITY OF CAMPTON WATERWORKS
WATER & SEWER DEPT                    P.O. BOX 292225                         P.O. BOX 35
13051 GREENWOOD AVE                   P.O. BOX 292225                         CAMPTON, KY 41301
BLUE ISLAND, IL 60406                 NASHVILLE, TN 37229-2225




CITY OF CAMPTON WATERWORKS            CITY OF CAMPTON                         CITY OF CAMPTON
P.O. BOX 35                           698 MAIN ST                             P.O. BOX 35
CAMPTON, KY 41301-0035                CAMPTON, KY 41301                       CAMPTON, KY 41301
CITY OF CHESTER             Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                          CITY OF CHICAGO                Page CITY
                                                                              345OFofCHICAGO
                                                                                      1969
ATTN: REFUNDS                             DEPT OF WATER                       DEPT OF WATER
1330 SWANWICK ST                          CITY HALL                           P.O. BOX 6330
CHESTER, IL 62233                         1000 E OHIO ST                      CHICAGO, IL 60680-6330
                                          CHICAGO, IL 60601



CITY OF COLUMBIA ILLINOIS                 CITY OF CUYAHOGA FALLS              CITY OF DEMING
P.O. BOX 467                              2310 2ND ST                         309 S GOLD AVE
COLUMBIA, IL 62236-0467                   CUYAHOGA FALLS, OH 44221            DEMINING, NM 88031-0706




CITY OF DEMING                            CITY OF DEMING                      CITY OF DEMING
309 S GOLD AVE                            309 S GOLD                          P.O. BOX 706
P.O. BOX 706                              P O BOX 706                         DEMING, NM 88031
DEMING, NM 88031-0706                     DEMING, NM 88031-0706




CITY OF DEMING--WATER & GAS               CITY OF DEMING-WATER & GAS          CITY OF DEMING--WATER & GAS
309 S GOLD                                309 S GOLD                          P.O. BOX 706
P.O. BOX 706                              P.O. BOX 706                        DEMING, NM 88031-0706
DEMING, NM 88031-0706                     DEMING, NM 88031-0706




CITY OF EDWARDSVILLE                      CITY OF EDWARDSVILLE                CITY OF EUGENE
P.O. BOX 407                              WATER DEPT                          P.O. BOX 1967
EDWARDSVILLE, IL 62025                    EDWARDSVILLE CITY HALL              EUGENE, OR 97440
                                          118 HILLSBORO AVE
                                          EDWARDSVILLE, IL 62025



CITY OF EUGENE                            CITY OF EVANSTON                    CITY OF EVANSTON
P.O. BOX 914                              1200 MAIN ST                        1200 MAIN ST
SPRINGFIELD, OR 97477                     EVANSTON, WY 82930                  EVANSTON, WY 82930-3396




CITY OF EVANSTON                          CITY OF EVANSTON                    CITY OF FORT PAYNE
1200 MAIN STREET                          PUBLIC WORKS                        100 ALABAMA AVE NW
EVANSTON, WY 82930-3396                   2100 RIDGE AVE                      FORT PAYNE, AL 35967
                                          EVANSTON, IL 60201




CITY OF FORT PAYNE                        CITY OF FORT PAYNE                  CITY OF FORT PAYNE
100 ALABAMA AVE. NW                       100 ALABAMA AVENUE NW               100 ALABAMA AVENUE NW
FORT PAYNE, AL 35967                      FORT PAYNE, AL 35967-2052           FT PAYNE, AL 35967




CITY OF FORT PAYNE                        CITY OF FORT PAYNE                  CITY OF GADSDEN
1004 DEWYER AVE SW                        SPC SNT SVC                         P.O. BOX 267
FORT PAYNE, AL 35967                      100 ALABAMA AVENUE NW               GADSDEN, AL 35902
                                          FORT PAYNE, AL 35967-2052




CITY OF GALESBURG                         CITY OF GALESBURG                   CITY OF GALESBURG
P.O. BOX 1387                             P.O. BOX 1589                       P.O. BOX 1589
GALESBURG, IL 61401                       GALESBURG, IL 61401                 GALESBURG, IL 61402-1589
CITY OF GALESBURG          Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                         CITY OF GALESBURG              Page CITY
                                                                             346OFofGRANITE
                                                                                     1969 CITY
PO BOX 1589                              UTILITY BILLING                     2000 EDISON AVE RM 2
GALESBURG, IL 61401                      55 W TOMPKINS ST                    GRANITE CITY, IL 62040-4513
                                         GALESBURG, IL 61401




CITY OF GRANITE CITY                     CITY OF GRANITE CITY                CITY OF HELENA-W HELENA
CITY TREASURER                           RIVERS EDGE COMPLEX                 ATTN CITY CLERK
2000 EDISON AVE, RM 2                    8TH & D STREETS                     P.O. BOX 248
GRANITE CITY, IL 62040-4513              GRANITE CITY, IL 62040              HELENA-W HELENA, AR 72342




CITY OF HELENA-WEST HELENA               CITY OF IDER SEWER                  CITY OF INEZ
ATTN CITY CLERK                          P.O. BOX 157                        P.O. BOX 540
P.O. BOX 248                             IDER, AL 35981                      INEZ, KY 41224
HELENA-WEST HELENA, AR 72342-0248




CITY OF JACKSON                          CITY OF JACKSON                     CITY OF JACKSON
333 BROADWAY STREET                      333 BROADWAY                        OCCUPATIONAL TAX ADMINISTRATOR
JACKSON, KY 41339                        JACKSON, KY                         333 BROADWAY
                                         JACKSON, KY 41339                   JACKSON, KY 41339




CITY OF KEMMERER FIREWORKS               CITY OF KNOXVILLE                   CITY OF LAS VEGAS NM
COMMITTEE                                33 N SIDE PUBLIC SQUARE             905 12TH STREET
220 WYOMNING HWY 233                     KNOXVILLE, IL 61448                 LAS VEGAS, NM 87701
KEMMERER, WY 83101




CITY OF LAS VEGAS NM                     CITY OF LAS VEGAS REC CENTER        CITY OF LAS VEGAS SENIOR CITIZENS
UTILITIES DEPT                           1751 NORTH GRAND                    CENTER
905 12TH ST                              LAS VEGAS, NM 87701-0160            500 RAILROAD AVE
LAS VEGAS, NM 87701                                                          LAS VEGAS, NM 87701




CITY OF LAS VEGAS                        CITY OF LAS VEGAS                   CITY OF LEXINGTON
1700 N GRAND AVE                         1700 NORTH GRAND AVENUE             33 FIRST ST
LAS VEGAS, NM 87701                      LAS VEGAS, NM 87701                 LEXINGTON, KY 38351




CITY OF LEXINGTON                        CITY OF LEXINGTON                   CITY OF LOCK HAVEN TAX OFFICE - LST TAX
SUE WOOD LEXINGTON CITY RECORDER         SUE WOOD                            20 EAST CHURCH ST
P.O. BOX 1699                            P.O. BOX 1699                       LOCK HAVEN, PA 17745
LEXINGTON, TN 38351                      LEXINGTON, TN 38351




CITY OF LOUISA                           CITY OF MARIANNA                    CITY OF MARION WATER & SEWER
215 N. MAIN CROSS STREET                 ATTN CITY CLERK                     1102 TOWER SQ PLAZA
LOUISA, KY 41230                         35 SOUTH POPLAR                     MARION, IL 62959
                                         MARIANNA, AR 72360




CITY OF MARION WATER & SEWER             CITY OF MARION                      CITY OF MARION
1102 TOWER SQUARE PLAZA                  WATER & SEWER DEPT                  WATER & SEWER
MARION, IL 62959                         1102 TOWER SQUARE PLAZA             1102 TOWER SQ PLAZA
                                         MARION, IL 62959                    MARION, IL 62959
CITY OF MARION        Case 20-10766-BLS     Doc 6 Filed
                                    CITY OF MASSILLON SEWER04/07/20
                                                             DEPARTMNETPage CITY
                                                                            347OFofMASSILLON
                                                                                    1969
WATER DEPT                          ONE JAMES DUNCAN PLAZA                  ONE JAMES DUNCAN PLAZA
1102 TOWER SQUARE PLAZA             MASSILLON, OH 44646-6687                MASSILLON, OH 44646
MARION, IL 62959




CITY OF MCCAYSVILLE GA                CITY OF MCKENZIE                      CITY OF MCKENZIE
POB 6                                 2470 CEDAR ST                         AUTOMATED TRAFFIC ENFORCMENT
98-L38WQ-SEWER LINE EXTENSION         P O BOX 160                           DEPARTMENT 888548
MCCAYSVILLE, GA 30555                 MCKENZIE, TN 38201                    KNOXVILLE, TN 37995-8548




CITY OF MCLEMORESVILLE                CITY OF MESQUITE                      CITY OF MESQUITE
P.O. BOX 38                           10 E MESQUITE BLVD                    10 E. MESQUITE BLVD
MCLEMORESVILLE, TN 38235              MESQUITE, NV 89027                    MESQUITE, NV 89027




CITY OF MESQUITE                      CITY OF MESQUITE                      CITY OF MESQUITE
DEPT OF ATHLETIC & LEISURE SVCS       DEPT OF ATHLETICS & LEISURE SVCS      SANITATION DEPT
100 W OLD MILL RD                     100 WEST OLD MILL RD                  10 E MESQUITE BLVD
MESQUITE, NV 89027                    MESQUITE, NV 89027                    MESQUITE, NV 89027




CITY OF MONMOUTH                      CITY OF MOUNT VERNON, IL              CITY OF MT VERNON
100 E BROADWAY                        UTILITIES DEPT                        P.O. BOX 1708
MONMOUTH, IL 61462                    1100 MAIN ST                          MT VERNON, IL 62864
                                      MOUNT VERNON, IL 62864




CITY OF NORTH CHICAGO                 CITY OF PAINTSVILLE                   CITY OF PAINTSVILLE
1850 LEWIS AVENUE                     340 MAIN ST                           C/O BUSINSS PERMIT/OCCUPATIONAL LIC
NORTH CHICAGO, IL 60064-2098          PAINTSVILLE, KY 41240                 P.O. BOX 1588
                                                                            PAINTSVILLE, KY 41240




CITY OF PALESTINE                     CITY OF RAINSVILLE                    CITY OF RATON
P O BOX 175                           P.O. BOX 309                          P.O. BOX 910
PALESTINE, AR 72372                   ATTN.: JUDY LEWIS                     RATON, NM 87740
                                      RAINSVILLE, AL 35986




CITY OF RED BUD                       CITY OF RED BUD                       CITY OF RED BUD
200 EAST MARKET STREET                ATTN: LIZ COWELL                      ATTN: REFUNDS
RED BUD, IL 62278                     200 EAST MARKET ST.                   200 EAST MARKET ST.
                                      RED BUD, IL 62278                     RED BUD, IL 62278




CITY OF RED BUD                       CITY OF SPGFD-AMBULANCE ACCT S        CITY OF SPRINGFIELD
UTILITIES DEPT                        P.O. BOX 914                          225 FIFTH STREET
525 POWER ST                          SPRINGFIELD, OR 97477                 SPRINGFIELD, OR 97477
RED BUD, IL 62278




CITY OF SPRINGFIELD                   CITY OF TROY, ILLINOIS                CITY OF TROY, ILLINOIS
CITY WATER LIGHTS & POWER             116 E MARKET STREET                   PUBLIC WORKS
300 S 7TH ST - RM 101                 TROY, IL 62294                        116 E MARKET ST
SPRINGFIELD, IL 62701                                                       TROY, IL 62294
CITY OF WATERLOO         Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                       CITY OF WATERLOO                   Page CITY
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                                                                                       1969       UTILITIES
100 W 4TH ST                           100 W FOURTH STREET                     250 MAIN STREET
WATERLOO, IL 62298                     WATERLOO, IL 62298                      WATSONVILLE, CA 95076




CITY OF WAUKEGAN CHMBR OF COMM         CITY OF WAUKEGAN WTR BILLING            CITY OF WAUKEGAN
100 N MARTIN LUTHER KING AVENUE        P.O. BOX 2602                           100 N MARTIN LUTHER KING
WAUKEGAN, IL 60085                     BEDFORD PARK, IL 60499                  WAUKEGAN, IL 60085




CITY OF WAUKEGAN                       CITY OF WAUKEGAN                        CITY OF WAUKEGAN/BUILDING DEPT
P.O. BOX 2602                          WATER DEPT                              100 N MARTIN LUTHER KING AVENUE
BEDFORD PARK, IL 60499                 100 N MARTIN LUTHER KING JR AVE         WAUKEGAN, IL 60085
                                       WAUKEGAN, IL 60085




CITY OF WEST MEMPHIS                   CITY OF WIDENER WATER DEPARTMENT        CITY OF WYNNE SERVICES
205 SOUTH REDDING                      200 E MAINST                            121 E MERRIMAN AVE
WEST MEMPHIS, AR 72301                 WIDENER, AR 72394                       WYNNE, AR 72396




CITY OF WYNNE                          CITY OF ZION                            CITY OR MARION
206 S FALLS BLVD                       CITY CLERK                              1102 TOWER SQUARE PLAZA
WYNNE, AR 72396                        2828 SHERIDAN ROAD                      MARION, IL 62959
                                       ZION, IL 60099




CIVCO MED INSTRUMENTS CO INC           CIVCO MEDICAL INSTRUMENTS CO INC        CIVCO MEDICAL INSTRUMENTS CO INC.
CIVCO MEDICAL SOLUTIONS                P O BOX 933598                          BOX 933598
P.O. BOX 933598                        ATLANTA, GA 31193-3598                  ATLANTA, GA 31193-3598
ATLANTA, GA 31193-3598




CIVCO MEDICAL INSTRUMENTS              CIVCO MEDICAL SOLUTIONS                 CIVCO MEDICAL SOLUTIONS
BOX 933598                             BOX 933598                              P O BOX 933598
ATLANTA, GA 31193-3598                 ATLANTA, GA 31193-3598                  ATLANTAVER, GA 31193-3598




CIVCO MEDICAL SOLUTIONS                CIVCO RADIOTHERAPY                      CIVIC ART CENTER
P.O. BOX 933598                        P.O. BOX 933598                         114 E MAIN
ATLANTA, GA 31193-3598                 ATLANTA, GA 31193-3532                  GALESBURG, IL 61401




CIVIELLO, J NANCY                      CJE EXCURSIONS. LLC                     CK POWER
613 SPRUCE LANE NW                     4842 MCCRORY AVENUE                     P.O. BOX 790379
STRASBURG, OH 44680                    MEMPHIS, TN 38122                       ST. LOUIS, MO 63179




CK SERVICES                            CLAAR, MARY                             CLACK, CRYSTAL A.
2545 VALLEY BROOK DR                   1401 38TH ST NW                         88928 BRIDGE ST
FLORISSANT, MO 63031                   CANTON, OH 44709                        SPRINGFIELD, OR 97478
CLAFFEY, KEVIN             Case 20-10766-BLS   Doc
                                         CLAGGETT,   6 R.Filed 04/07/20
                                                   ANNA                   Page CLAGGETTE,
                                                                               349 of 1969KEON
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




CLAGUE, LYLE                              CLAIMS MANAGEMENT INC                CLAIMS MANAGEMENT INC
1352 N CEDAR ST                           ATTN: RECOVERY                       ATTN: WALMART
GALESBURG, IL 61401                       P.O. BOX 847226                      P.O. BOX 14731
                                          DALLAS, TX 85284                     LEXINGTON, KY 40512




CLAIMS MANAGEMENT INC                     CLAIR, SONIA S.                      CLAIRE EHRLICH
P.O. BOX 14731                            P.O. BOX 724                         7 PRAIRIE RD
LEXINGTON, KY 40512-4731                  JACKSON, KY 41339                    MACOMB, IL 61455




CLAM MARIE A                              CLAMPITT, EMILY L.                   CLANCY, AILIS E.
9961 ELM CIRCLE                           35 LIZZIE DEE LN                     2641 W 89TH ST
OAK LAWN, IL 60453                        LEXINGTON, TN 38351                  EVERGREEN PARK, IL 60805




CLANTON, JUANITA M.                       CLANTON, MISTY                       CLANTON, TOBY JIM
415 HICKORY HAVEN DR                      20954 ALABAMA HWY 176                21226 AL HWY 176
GURNEE, IL 60031                          FORT PAYNE, AL 35967                 COLLINSVILLE, AL 35961-3605




CLANTON, TOM                              CLANTON, TYLER                       CLAPP, KATHRYN
1450 COUNTY ROAD 22                       21261 ALABAMA HWY 176                454 HIGHLAND AVE
COLLINSVILLE, AL 35961                    COLLINSVILLE, AL 35961               BARSTOW, CA 92311




CLAPPER, ELIZABETH                        CLARA CATES                          CLARA DENSON
1404 FOXHOUND TRAIL                       1596 CASPER CHURCH RD                214 ANNA LANE
BEECHER, IL 60401                         COBDEN, IL 62920                     WEST MEMPHIS, TN 72301




CLARA TORRES                              CLARCOR AIR FILTRATION               CLARE ELSEA
1953 GODFREY AVENUE NE                    P.O. BOX 404201                      770 PARKWAY DRIVE 1
FORT PAYNE, AL 35967                      ATLANTA, GA 30384                    SALYERSVILLE, KY 41465-9740




CLARENCE FENTON                           CLARENCE SANDOVAL                    CLARIDA & ZIEGLER ENGINEERING
220 6TH ST SW                             511 LOS ALAMOGORDAR RD               410 NORTH COURT ST
MASSILLON, OH 44647                       LAS VEGAS, NM 87701                  P.O. BOX 937
                                                                               MARION, IL 62959




CLARIDA ENGINEERING CO.                   CLARIS HEALTH                        CLARIS HEALTH
P.O. BOX 937                              ATTN:OVERPAYMENT RECOVERY            OVERPAYMENT RECOVERY
410 NORTH COURT ST                        P.O. BOX 292876                      P.O. BOX 292876
MARION, IL 62959                          NASHVILLE, TN 37229                  NASHVILLE, TN 37229
CLARIS HEALTH            Case 20-10766-BLS     Doc 6
                                       CLARIS HEALTH          Filed 04/07/20   Page CLARISSA
                                                                                    350 of 1969
                                                                                             VARIHUE
P.O. BOX 290034                         P.O. BOX 292876                             250 ROSE COURT
NASHVILLE, TN 37229                     NASHVILLE, TN 37229                         EUGENE, OR 97401




CLARISSA VARIHUE                        CLARITY GROUP, INC                          CLARK & COMPANY
ADDRESS ON FILE                         8725 W. HIGGINS ROAD                        8885 HAVEN AVE, SUITE 120
                                        SUITE 810                                   RANCHO CUCAMONGA, CA 71930
                                        CHICAGO, IL 60631




CLARK AND COMPANY                       CLARK CNTY ASSESSOR                         CLARK CNTY DAQ
8885 HAVEN AVE                          500 S GRAND CENTRAL PKWY 2ND FL             4701 W. RUSSELL RD STE 200
SUITE 120                               P.O. BOX 551401                             LAS VEGAS, NV 89118-2231
RANCHO CUCAMONGA, CA 91730              LAS VEGAS, NV 89155




CLARK CNTY TREASURER/TAX                CLARK COUNTY ASSESSOR                       CLARK COUNTY ASSESSOR
500 S GRAND CENTRAL 1FLR                500 S GRAND CNTRL PRKWY, 2ND FL             500 S GRAND CNTRL PRKWY, 2ND FL
P.O. BOX 551220                         P.O. BOX 551401                             P.O. BOX 551401
LAS VEGAS, NV 89155                     LAS VEGAS, NV 89155                         LAS VEGAS, NV 89155-1401




CLARK COUNTY ASSESSOR                   CLARK COUNTY BUSINESS LIC                   CLARK COUNTY SUPERIOR COURT
500 SOUTH GRAND CENTRAL PARKWAY         P.O. BOX 551810                             P.O. BOX 5000
2ND FL                                  LAS VEGAS, NV 89155-1810                    VANCOUVER, WA 98666
LAS VEGAS, NV 89155




CLARK COUNTY TREASURER                  CLARK COUNTY TREASURER                      CLARK COUNTY TREASURER
500 S GRAND CENTRAL PARKWAY 1ST         500 SOUTH GRAND CENTRAL PARKWAY 1ST         500 SOUTH GRAND CENTRAL PARKWAY
FLOOR                                   FLOOR,                                      2ND FL
LAS VEGAS, NV 89155-1220                P.O. BOX 551220                             LAS VEGAS, NV 89155
                                        LAS VEGAS, NV 89155-1220



CLARK EVE JANE                          CLARK II, JOSEPH L.                         CLARK III, DONALD L.
41900 DEEHORN RD                        910 RACE STREET                             534B MOCKING BIRD STREET
P.O. BOX 642                            DOVER, OH 44622                             TROY, IL 62294
WALTERVILLE, OR 97489




CLARK JEANETTE M                        CLARK JR, FREDDIE A.                        CLARK TERESA A
110 BEHRENS DR                          371 CULBERSON RD                            ADDRESS ON FILE
EDWARDSVILLE, IL 62025                  MURPHY, NC 28906-0000




CLARK TRANSPORTATION SERVICES           CLARK WATERS                                CLARK, AARON
12940 PITTSBURG RD                      4053 MISSISSIPPI AVE                        20833 CORINTH
MARION, IL 62959                        APT 69                                      OLYMPIA FIELDS, IL 60461
                                        E. ST. LOUIS, IL 62206




CLARK, ANNE M.                          CLARK, APRIL                                CLARK, ASHLEY
17518 W BRIDLE CT                       1109 BUTTONWOOD DR                          6603 TOWLINE DR
GURNEE, IL 60031                        WESTMONT, IL 60559                          CANAL FULTON, OH 44614
CLARK, AUTUM             Case 20-10766-BLS     Doc 6 M.Filed 04/07/20
                                       CLARK, BARBARA                   Page CLARK,
                                                                             351 ofBELINDA
                                                                                    1969 M.
5710 COUNTY ROAD 76                     934 N. 1380 E.                       126 ALICE DR
GROVEOAK, AL 35975                      TOOELE, UT 84074                     OFALLON, IL 62269




CLARK, BRION M.                         CLARK, CARRIE L.                     CLARK, CECELIA
ADDRESS ON FILE                         950 AIRPORT ROAD SPC 1               507 W GREENWOOD AVE APT 4
                                        ALBANY, OR 97322                     WAUKEGAN, IL 60087




CLARK, CHRISTINE A.                     CLARK, CHRISTINE A.                  CLARK, CRYSTAL
2649 W 122ND ST                         ADDRESS ON FILE                      ADDRESS ON FILE
BLUE ISLAND, IL 60406




CLARK, ELAINE                           CLARK, ELIZABETH                     CLARK, ERICKA
25751 FLECK RD                          3130 MIDLANE DRIVE                   113 PINEDALE DR
VENETA, OR 97487                        WADSWORTH, IL 60083                  DOVER, OH 44622




CLARK, FANNIE V.                        CLARK, GERI K.                       CLARK, GRACELYN
9150 S HARPER AVE                       39615 PLACE RD.                      14011 N STATE ROUTE 94
CHICAGO, IL 60619                       FALL CREEK, OR 97438                 WEST ALTON, MO 63386




CLARK, HARDY                            CLARK, HAROLD GENE                   CLARK, JAMES
P.O. BOX 1435                           201 BUSHNELL LN                      126 ALICE DR
OVERTON, NV 89040-1435                  EUGENE, OR 97404-0000                OFALLON, IL 62269




CLARK, JAMES                            CLARK, JAMIE S.                      CLARK, JASON R.
ADDRESS ON FILE                         4068 GEORGIA ST NW                   7675 BROOKSIE THOMPSON RD
                                        MASSILLON, OH 44646                  BATH SPRINGS, TN 38311




CLARK, JEFFREY M.                       CLARK, JENNIFER                      CLARK, JENNIFER
ADDRESS ON FILE                         2737 COUNTY ROAD 865                 ADDRESS ON FILE
                                        GAYLESVILLE, AL 35973




CLARK, JESSE O.                         CLARK, JOHNSON                       CLARK, JUANITA
ADDRESS ON FILE                         729 N 375 E                          P.O.BOX 264
                                        SPRINGVILLE, UT 84663                WILLIAMSTON, NC 27892




CLARK, KARIS A.                         CLARK, KATHY D.                      CLARK, KRISTA
312 GALESBURG RD                        575 PAMPAS RD SW                     ADDRESS ON FILE
KNOXVILLE, IL 61448                     DEMING, NM 88030
CLARK, LEISA G.         Case 20-10766-BLS     Doc 6
                                      CLARK, LENAE         Filed 04/07/20   Page CLARK,
                                                                                 352 ofLISA
                                                                                         1969
                                                                                            M.
ADDRESS ON FILE                        35711 N HELENDALE RD                      1103 E MAIN APT 1
                                       INGLESIDE, IL 60041                       BENTON, IL 62812




CLARK, LORA                            CLARK, LORRI J.                           CLARK, MACY L.
1975 MT ZION RD                        ADDRESS ON FILE                           21475 BENTON STREET
VIENNA, IL 62995                                                                 THOMPSONVILLE, IL 62890




CLARK, MAILELANI                       CLARK, MARIBETH G.                        CLARK, MARY R.
ADDRESS ON FILE                        ADDRESS ON FILE                           543 STURGEON DRIVE
                                                                                 AKRON, OH 44319




CLARK, MEGAN R.                        CLARK, MICHAEL D                          CLARK, MILTON
5915 BROOKMERE ST                      P.O. BOX 2219                             17141 KENWOOD AVE
EDWARDS, IL 61528                      MEMPHIS, TN 38101-2219                    SOUTH HOLLAND, IL 60473




CLARK, NICOLE S.                       CLARK, NICOLE                             CLARK, PHILIP
ADDRESS ON FILE                        3943 W 168TH STREET                       2665 WINGATE WAY NW APT 4
                                       COUNTRY CLUB HILLS, IL 60478              CANTON, OH 44708




CLARK, RALPH                           CLARK, ROGER                              CLARK, RYAN F.
5801 BEATTYVILLE ROAD                  418 N MAIN AVE                            5388 CARR CIRCLE
JACKSON, KY 41339                      WYOMING, IL 61491                         DUGWAY, UT 84022




CLARK, SAMANTHA L.                     CLARK, SAMANTHA                           CLARK, SANDRA D.
2712 ORCHARD AVENUE                    ADDRESS ON FILE                           10905 BURLINGTON ROAD
HUNTINGTON, WV 25704                                                             KENOSHA, WI 53144




CLARK, SHELLY                          CLARK, SHERILL                            CLARK, STACEY A.
625 N. DIVISION ST                     2760 MAIN STREET WEST                     5468 OAKRIDGE DRIVE
DUQUOIN, IL 62832                      RAINSVILLE, AL 35986                      LOUISVILLE, OH 44641




CLARK, STANLEY                         CLARK, STEVE J.                           CLARK, TAMMY
619 SCENIC ROAD NE                     ADDRESS ON FILE                           2664 S 3150 W
FORT PAYNE, AL 35967                                                             WEST HAVEN, UT 84401




CLARK, TERESA                          CLARK, TIMMY                              CLARK, TODD
ADDRESS ON FILE                        2056 COUNTY RD 532                        211 WISCONSIN AVE
                                       FYFFE, AL 35971                           ALTON, IL 62002
CLARK, VICKI             Case 20-10766-BLS     Doc 6
                                       CLARK, WENDY        Filed 04/07/20   Page CLARK,
                                                                                 353 ofWILLIAM
                                                                                        1969
806 S 1ST ST                            2706 HOLLAND GRACE                       ADDRESS ON FILE
OCONEE, IL 62553                        BIG SPRING, TX 79720




CLARK, WILLIAM                          CLARK, WILMA J.                          CLARKE DUANE
ADDRESS ON FILE                         41624 US HIGHWAY 11                      1002 EAST WESLEY DR
                                        VALLEY HEAD, AL 35989-4525               SUITE 100
                                                                                 OFALLON, IL 62269




CLARKE, MADISON                         CLARKE, MAXINE                           CLARKE, SHANICE
9750 EAST BARAT ROAD                    ADDRESS ON FILE                          503 SAGINAW AVE
MOUNT VERNON, IL 62864                                                           CALUMET CITY, IL 60409




CLARKE, SUZANNE D.                      CLARKE, THOMAS                           CLARKE,MAXINE
2942 PINE HILL SPUR                     P.O. BOX 3102                            ADDRESS ON FILE
CAPE GIRARDEAU, MO 63701                WEST HELENA, AR 72390




CLARK-GLASS, NICOLE L.                  CLARK-PATTON, LOLITA                     CLARKSDALE PRESS REGISTER
ADDRESS ON FILE                         7360 NORMANDIE CT APT G                  128 EAST SECOND ST
                                        HAZELWOOD, MO 63042                      CLARKSDALE, MS 38614




CLARKSON & ASSOCIATES, LLC              CLARKSON, ERICA N.                       CLASSEN, LINDSAY R.
GARNISHMENTS                            ADDRESS ON FILE                          ADDRESS ON FILE
162 NORTH 400 EAST A-204
ST. GEORGE, UT 84771




CLATTERBUCK, SALLIE                     CLAUDIA MADANI                           CLAUDIA STAPLETON
978 MESQUTE SPRNGS DR-202               ADDRESS ON FILE                          1133 KAPPIN
MESQUITE, NV 89027                                                               HIGHLAND, IL 62249




CLAUSEN, KENDRA L.                      CLAUSON, RICK                            CLAUSSEN CAROLYN A
ADDRESS ON FILE                         211 ODELL LOOP                           1699 N TERRY ST SPC 99
                                        MURPHY, NC 28906                         EUGENE, OR 97402




CLAVIN, MARY L                          CLAXTON, DEBRA                           CLAY COUNTY HEALTHCARE AUTHORITY
651 BARKLEY ST                          533 DEER CROSSING COURT                  CLAY COUNTY HOSPITAL
GRANITE CITY, IL 62040                  HAINSVILLE, IL 60030                     83825 HIGHWAY 9 - P.O. BOX 1270
                                                                                 ASHLAND, AL 36251




CLAY KAY K                              CLAY, AKISHA                             CLAY, CHARLOTTE A.
2560 LYNCH AVE                          1299 BERTHA HOWE AVE                     ADDRESS ON FILE
GRANITE CITY, IL 62040                  MESQUITE, NV 89027
CLAY, KIZZY             Case 20-10766-BLS     Doc 6
                                      CLAY, SHIRLEY       Filed 04/07/20   Page CLAY,
                                                                                354 SUZANNE
                                                                                      of 1969F.
ADDRESS ON FILE                         P.O. BOX 1101                           85 S. LINKS DRIVE
                                        FORREST CITY, AR 72335                  COVINGTON, GA 30014




CLAY, TERESA D.                         CLAYBON, WOODROW W.                     CLAYBORNE, LORETTA
ADDRESS ON FILE                         217 E 107TH ST                          1312 MELROSE AVE 106
                                        CHICAGO, IL 60628                       WAUKEGAN, IL 60085




CLAYBOURNE, ABIGAIL                     CLAYS REFRIGERATION                     CLAYSON, JOEY L.
ADDRESS ON FILE                         445 RIVER AVE                           175 W. HERITAGE HILL DR.
                                        EUGENE, OR 97404-2510                   TOOELE, UT 84074




CLAYTON ANDERSON                        CLAYTON BILLINGS                        CLAYTON PAUL D
2677 MARY JANE                          P.O. BOX 176                            11330 COUNTY RD 51
MISSOULA, MT 59808                      MARSHALL, AR 99585                      COLLINSVILLE, AL 35961-4217




CLAYTON SLEEP INSTITUTE, LLC            CLAYTON SLEEP INSTITUTE, LLC            CLAYTON, CODY
11200 TESSON FERRY                      2531 SOUTH BIG BEND BLVD                80 GLENWOOD DR
ATTN: CHERYL FINDER                     ST. LOUIS, MO 63143                     GLEN CARBON, IL 62034
ST LOUIS, MO 63123




CLAYTON, DANIEL                         CLAYTON, ERICA                          CLAYTON, LEONA C.
ADDRESS ON FILE                         2229 COUNTY ROAD 44                     ADDRESS ON FILE
                                        FORT PAYNE, AL 35968




CLAYTON, LORI A.                        CLAYTON, MESHA J.                       CLAYTON, SHERYL
12369 TN 220(STREET ADDRESS) P.O. BOX   1332 L STREET                           ADDRESS ON FILE
396(MAILING ADDRESS)                    SPRINGFIELD, OR 97477
ATWOOD, TN 38220




CLAYTON, STELLA L.                      CLEAMER, JESSE GENE                     CLEAN AIR FLOW INC
ADDRESS ON FILE                         9 SOUTH 9TH ST                          18 NOTTINGHAM DR
                                        APT A                                   P.O. BOX 725
                                        MASCOUTAH, IL 62258                     LINCOLNSHIRE, IL 60069




CLEAN AIR FLOW INC                      CLEAN AIR FLOW INC                      CLEAN HARBORS
18 NOTTINGHAM DR                        P O BOX 725                             ENVIRONMENTAL SVCS INC
P.O. BOX 725                            LINCOLNSHIRE, IL 60069                  P.O. BOX 3442
LINCOLNSIRE, IL 60069                                                           BOSTON, MA 02241-3442




CLEAN HEALTHCARE APPAREL LLC            CLEAN UNIFORM COMPANY                   CLEANING, JUANS
P.O. BOX 840140                         P.O. BOX 840140                         1140 MIRAGE DR.
KANSAS CITY, MO 64184-0140              KANSAS CITY, MO 64184                   BARSTOW, CA 92311
CLEAR CHANNEL OUTDOOR Case 20-10766-BLS    Doc
                                    CLEARVIEW     6 Filed
                                               REGIONAL     04/07/20
                                                        MEDICAL  CENTER Page CLEARWATER,
                                                                              355 of 1969TEDRA A.
P.O. BOX 847247                     AUXILLARY INC                            THE ESTATE OF: 23927 SUTTLE ROAD
DALLAS, TX 75284-7247               WRMC AUXILLARY - BEE HIVE GIFT SHOP      VENETA, OR 97487
                                    2151 WEST SPRING ST
                                    MONROE, GA 30655



CLEARWAVE COMMUNICATIONS               CLEARWAVE COMMUNICATIONS                CLEARWAVE COMMUNICATIONS
2 N VINE ST                            P.O. BOX 808                            P.O.BOX 808
HARRISBURG, IL 62946                   HARRISBURG, IL 62946-0808               HARRISBURG, IL 62946-0808




CLEARY, THERESA L.                     CLEAVER BROOKS SALES & SERV             CLEAVER, ROSA A.
421 W MESQUITE ST. P O BOX 1623        P.O. BOX 226865                         112 HERITAGE GREEN LANE
DEMING, NM 88030                       DALLAS, TX 75222-6865                   DALTON, OH 44618




CLEAVES, MARCIE                        CLEGG, HEATHER M.                       CLEGG, KAYTLIN
1457 ESTHER AVE                        ADDRESS ON FILE                         125 EAST 1000 NORTH
WOOD RIVER, IL 62095                                                           TOOELE, UT 84074




CLEGG, RACHEL                          CLELAND, NICOLE R.                      CLEM, LINDA C.
ADDRESS ON FILE                        5001 PACIFIC BLVD SW UNIT 28            1221 SANPAT LN APT A
                                       ALBANY, OR 97321                        CARBONDALE, IL 62901




CLEMENS, JESSICA M.                    CLEMENS, PATRICIA J.                    CLEMENS, PATRICIA
167 CEDAR LANE NE                      ADDRESS ON FILE                         ADDRESS ON FILE
NEW PHILADELPHIA, OH 44663




CLEMENS, RICHARD V.                    CLEMENSEN, CLARA                        CLEMENT WITTENAUER C/O RITA HUCH
117 12TH ST NW                         145 HOWLEY LANE                         1507 HILLTOP ROAD
MASSILLON, OH 44647                    CEDAR GROVE, TN 38317                   COLUMBIA, IL 62236




CLEMENTE, MARIA                        CLEMENTE-IRAO, MARIA R.                 CLEMENTS JON D
175 CRESTVIEW DR                       421 QUINTA                              1305 BEESON GAP RD NE
EVANSTON, WY 82930                     WATSONVILLE, CA 95076                   FORT PAYNE, AL 35967




CLEMENTS, BRITTANY L.                  CLEMENTS, CHARLI                        CLEMENTS, LYNETTE
ADDRESS ON FILE                        1100 WANDA COURT                        307 SKYLINE DRIVE
                                       MONROE, GA 30655                        TOOELE, UT 84074




CLEMMONS, CINDY L.                     CLEMMONS, SHERESE                       CLEMO, TIFFANY
34534 AGARITA AVENUE                   4102 A BRIDGE COURT                     ADDRESS ON FILE
BARSTOW, CA 92311                      WINTERVILLE, NC 28590-0000
CLEMONS, ALISA R.      Case 20-10766-BLS   Doc
                                     CLEMONS,    6 M.Filed 04/07/20
                                              CINDY                   Page CLEMONS,
                                                                           356 of 1969
                                                                                    JENNIFER
ADDRESS ON FILE                       1488 PHILLIPS 618 ROAD               ADDRESS ON FILE
                                      MARVELL, AR 72366




CLEMONS, JENNIFER                     CLEMONS, MARY H.                     CLEMONS, REAGAN E.
ADDRESS ON FILE                       ADDRESS ON FILE                      ADDRESS ON FILE




CLEMONS, SHAQUILLA                    CLEMONS, TRACEA                      CLENDENIN, ERNEST
108 WESTHAVEN MEADOWS DR              2297 BIRMINGHAM DR                   820 MINE B ROAD
BELLEVILLE, IL 62220                  BELLEVILLE, IL 62221                 HERRIN, IL 62948




CLENNEY, KAREN J.                     CLENNEY, KELLY                       CLERK OF THE CIRCUIT COURT
ADDRESS ON FILE                       C/O SKOUTERIS WALK PLLC              WILLIAMSON COUNTY COURTHOUSE
                                      431 S MAIN ST, STE 200               200 W JEFFERSON
                                      MEMPHIS, TN 38103                    MARION, IL 62959




CLERK OF THE COURT,NORTHERN           CLEVE E JACKSON                      CLEVELAND CAVALIERS
DISTRICT OF ILLINOIS                  2880 FULLERS RIDGE ROAD              ATTN MARK MAZZAGATTI
219 SOUTH DEARBORN ST, 20TH FLOOR     LOUSIA, KY 41230                     1 CENTER COURT
CHICAGO, IL 60604                                                          CLEVELAND, OH 44115




CLEVELAND CLINIC HEALTH SYSTEMS       CLEVELAND CLINIC LABORATORIES        CLEVELAND MEDICAL DEVICES
P.O. BOX 89472                        P.O. BOX 74222                       4415 EUCLID AVE
CLEVLAND, OH 44101-6472               CLEVELAND, OH 44194-4222             CLEVELAND, OH 44103




CLEVELAND VICON INC                   CLEVELAND, ERIC                      CLEVELAND, JANET
4550 WILLOW PARKWAY                   312 SOUTH MADISON ST                 714 NORTH MAIN STREET
CLEVELAND, OH 44125-1046              TRENTON, IL 62293                    COLUMBIA, IL 62236




CLEVELAND, KELLY                      CLEVENGER, RICHARD                   CLIA LABORATORY PRGRM
ADDRESS ON FILE                       929 ARNOLD ST                        P.O. BOX 530882
                                      GALESBURG, IL 61401                  ATLANTA, GA 30353-0882




CLIA LABORATORY PROGRAM               CLIA LABORATORY PROGRAM              CLIA LABORATORY PROGRAM
CMS CLIA PROGRAM                      P O BOX 3056                         P.O. BOX 3056
P.O. BOX 530882                       PORTLAND, OR 97208-3056              PORTLAND, OR 97208
ATLANTA, GA 30353-0882




CLIA LABORATORY PROGRAM               CLIA LABORATORY PROGRAM              CLIA LABORATORY PROGRAM
P.O. BOX 3056                         P.O. BOX 530882                      P.O. BOX 530882
PORTLAND, OR 97208-3056               ATLANTA, GA 30353                    ATLANTA, GA 30353-0882
CLIA LABORATORY PROGRAM Case 20-10766-BLS     Doc 6 PROGRAM
                                      CLIA LABORATORY   Filed 04/07/20   Page CLIA
                                                                              357LABORATORY
                                                                                   of 1969 PROGRAMS
P.O. BOX 70948                        PO BOX 530882                          P.O. BOX 3056
CHARLOTTE, NC 28272-0948              ATLANTA, GA 30353                      PORTLAND, OR 97208-3056




CLIA LABORATORY USER FEES              CLIA PROGRAM                          CLICK, ANGELA L.
P.O. BOX 105422                        ATTN: JULIE ARAGON                    ADDRESS ON FILE
ATLANTA, GA 30348-5422                 5301 CENTRAL AVE NE, SUITE 400
                                       ALBUQUERQUE, NM 87108




CLICK, CHERYL                          CLICK, TRACI                          CLIFFORD EVANS
10 HIGHLAND HEATHER ST                 617 MOUNT CLAIRE AVE                  1009 MADISON ST
BIG SPRING, TX 79720-0000              EDWARDSVILLE, IL 62025                PARIS, TN 38242




CLIFFORD POWER SYSTEMS INC             CLIFFORD, MAC                         CLIFFORD, VICKIE
DEPT 1754                              1507 LITTON AVE.                      435 TUSCARAWAS AVE NW
TULSA, OK 74182                        NASHVILLE, TN 37216                   BREWSTER, OH 44613-1033




CLIFFORDS MOBILE POWER WASH            CLIFTON HARPER DUNN                   CLIFTON, CONNER
6709 MM ROAD                           2720 CENTRAL AVE SE                   2963 HWY 301 SOUTH
RED BUD, IL 62278                      ALBUQUERQUE, NM 87106-2862            HERNANDO, MS 38632




CLIFTON, JOSHUA                        CLIFTON, LORI                         CLIFTON, MELISSA
ADDRESS ON FILE                        ADDRESS ON FILE                       2101 BRIARWOOD RD
                                                                             FORT PAYNE, AL 35967




CLIFTON, NANCY                         CLIFTON, NAOMI D.                     CLINCIAL INNOVATIONS, LLC
214 W FRONT ST                         ADDRESS ON FILE                       2840 MOMENTUM PLACE
BRADFORD, TN 38316                                                           CHICAGO, IL 60689-5327




CLINE CHARLES K                        CLINE MARIE M                         CLINE, ASHLEY L.
632 NICHOLAS DR                        P.O. BOX 2783                         320 E GEORGE ST
SPRINGFIELD, OR 97477                  BLAIRSVILLE, GA 30512                 EAST ALTON, IL 62024




CLINE, JACK                            CLINE, JONATHAN                       CLINE, KAREN EILEEN
91 WEST MOUNT DRIVE                    8517 STEVEN PL.                       201 CHOUTEAU POINT
LOUISA, KY 41230                       APT.4                                 GRANITE CITY, IL 62040
                                       TINLEY PARK, IL 60477-7583




CLINE, KATHLEEN M.                     CLINE, KAYLA                          CLINE, KIMBERLY A.
7841 W 157TH STREET 208                3300 FORDHAM AVE P.O. BOX 522         ADDRESS ON FILE
ORLAND PARK, IL 60462                  BIG SPRING, TX 79720
CLINE, LINDA MARIE      Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                      CLINE, WANDA                         Page CLINES,
                                                                                358 ofASHLEY
                                                                                        1969
1365 SW CHAD DR                       32 JUSTIN DRIVE                           ADDRESS ON FILE
P.O. BOX 1692                         TOMAHAWK, KY 41262
WALDPORT, OR 97394-0000




CLINES, KAYLA                         CLINGE WILLIAM W                          CLINICAL AND LABORATORY STANDARDS
421 E PINE STREET                     38910 CHICAGO AVE                         INSTITUTE
RED BUD, IL 62278                     WADSWORTH, IL 60083                       950 WEST VALLEY ROAD
                                                                                SUITE 2500
                                                                                WAYNE, PA 19087



CLINICAL AND LABORATORY STANDARDS     CLINICAL CHOICE LLC                       CLINICAL CHOICE, LLC
INSTITUTE                             7300 CESSNA DRIVE SUITE A                 P.O. BOX 890368
CLSI LOCKBOX                          GREENSBORO, NC 27409                      CHARLOTTE, NC 28289
P.O. BOX 645766
PITTSBURGH, PA 15264-5255



CLINICAL CHOICE, LLC                  CLINICAL COLLEAGUES INC.                  CLINICAL COLLEAGUES, INC. 0190 CE47
P.O. BOX 890368                       P.O. BOX 824246                           P.O. BOX 824246
CHARLOTTE, NC 28289-0368              PHILADELPHIA, PA 19182-4246               PHILADELPHIA, PA 19182-4246




CLINICAL COLLEAGUES, INC.             CLINICAL INNOVATIONS LLC                  CLINICAL INNOVATIONS LLC
PO BOX 824246                         2840 MOMENTUM PLACE                       2840 MOMENTUM PLACE
PHILADELPHIA, PA 19182-4246           CHICAGO, IL 60689-5327                    CHICAGO, IL 60689-5328




CLINICAL INNOVATIONS                  CLINICAL LABORATORY STANDARDS INST        CLINICAL MANAGEMENT CONSULTANTS INC
2840 MOMENTUM PLACE                   950 WEST VALLEY ROAD SUITE 25             435 PACIFIC AVE, STE 500
CHICAGO, IL 60689                     WAYNE, PA 19087-1846                      EVANSVILLE, IN 47712




CLINICAL MANAGEMENT CONSULTANTS INC   CLINICAL REFERENCE LABORATORY             CLINICAL TECHNOLOGY INC
435 PACIFIC AVE, STE 500              POST OFFICE BOX 802273                    7005 S EDGERTON ROAD
SAN FRANCISCO, CA 94133               KANSAS CITY, MO 64180-2273                BRECKSVILLE, OH 44141-4203




CLINICAS DEL CAMINO REAL INC.         CLINICIANS IN INFECT DISEASES             CLINK, DORETHA
200 SOUTH WELLS ROAD SUITE 150        128 WERTZ AVE NW                          58 WEST 112TH ST
VENTURA, CA 93004                     SUITE C                                   CHICAGO, IL 60628
                                      CANTON, OH 44708




CLINKSCALE, RUBY                      CLINLAB SERVICE, CO                       CLINTECH
P.O. BOX 100 P.O. BOX 100             457 WEST ALLEN AVE                        100 S. 13TH STREET
MARIANNA, AR 72360                    SUITE 110                                 P.O. BOX 578
                                      SAN DIMAS, CA 91773                       HERRIN, IL 62948




CLINTECH                              CLINTON COUNTY COMMISSIONERS              CLINTON COUNTY GENERAL FUND
100 SOUTH 13TH STREET                 230 E WATER ST                            232 E WATER ST
P.O. BOX 578                          LOCK HAVEN, PA 17745                      LOCK HAVEN, PA 17745
HERRIN, IL 62948
CLINTON ELECTRIC INC    Case 20-10766-BLS
                                      CLINTON Doc 6 CORPORATION
                                              HOSPITAL Filed 04/07/20   Page CLINTON,
                                                                             359 of 1969
                                                                                      MICHELLE
P O BOX 117                             600 N. 2ND STREET                    717 HIGH STREET
ROUTE 37 NORTH                          SUITE 401                            RACINE, WI 53402
INA, IL 62846                           HARRISBURG, PA 17101




CLINTON, PHYLLIS                        CLOES, MICHAEL                       CLONCH, CHERYL
12 COUNTY ROAD 435                      641 VALLEY VIEW DR                   P.O. BOX 1583
CROSSVILLE, AL 35962                    MESQUITE, NV 89027                   OVERTON, NV 89040




CLONINGER, GERALD C.                    CLONINGER, KRISTIN D.                CLOSE LOREN D
ADDRESS ON FILE                         117 STUART STREET                    2503 HUNTERS RIDGE
                                        BETHALTO, IL 62010                   EDWARDSVILLE, IL 62025




CLOSE, JASON A.                         CLOTHES FOR SI KIDS                  CLOTHIER, COURTNEY L.
1726 THORNRIDGE RD NW                   ATTN: KERRY CAMP                     13114 HOLLYBERRY ROAD
MASSILLON, OH 44646                     P.O. BOX 848                         VICTORVILLE, CA 92392
                                        HARRISBURG, IL 62946




CLOUD NINE                              CLOUD, JENNIFER                      CLOUD, KEITH E.
4703 N UNIVERSITY                       8903 E MOSS LAKE RD                  ADDRESS ON FILE
PEORIA, IL 61614                        BIG SPRING, TX 79720-0000




CLOUD, RICKEY                           CLOUSE, CURTIS D.                    CLOUTHIER, PAMELA
25726 AL HWY 71                         ADDRESS ON FILE                      P.O. BOX 73
FLAT ROCK, AL 35966                                                          WAGON MOUND, NM 87752




CLOVER, CARRIE D.                       CLOVER, REBECCA                      CLOVER, RODGER JOHN
403 LICKLITER                           87807 BLEK DR                        3033 GATEWAY ST APT 5
BENTON, IL 62812                        VENETA, OR 97487                     SPRINGFIELD, OR 97477




CLOWARD, DENNIS                         CLOWARD, STEVEN                      CLOWERS, JOANN S.
8897 SO 3020 W                          208 SAGE                             1215 BOULDER DRIVE SE
WEST JORDAN, UT 84088                   EVANSTON, WY 82930-3646              FORT PAYNE, AL 35967




CLOYES, HEATHER                         CLSI                                 CLUB SENTRY, INC.
33 COUNTY ROAD 743                      P.O. BOX 645766                      1720 MARS HILL ROAD
WYNNE, AR 72396                         PITTSBURGH, PA 15264-5255            SUITE 8-264
                                                                             ACWORTH, GA 30101




CLUB STAFFING AN AMN HELATHCARE         CLUBB, RILEY R.                      CLUBBS, JEANENE C.
COMPANY                                 20 OAK STREET                        ADDRESS ON FILE
P.O. BOX 731021                         MORO, IL 62067
DALLAS, TX 75373-1021
CLUNIE, GWENDOLYN         Case 20-10766-BLS    Doc 6TANAH
                                        CLUNIES-ROSS,  Filed
                                                          E. 04/07/20      Page CLUTTS,
                                                                                360 ofMICHAEL
                                                                                        1969 S.
12512 MAPLE ST                           ADDRESS ON FILE                        4051 BRUENE AVE
BLUE ISLAND, IL 60406                                                           PONTOON BEACH, IL 62040




CLUTTS, TAYLOR V.                        CLYDE, SNOW H.                         CLYMORE, GEORGE E.
3121 MOCKINGBIRD LN                      ADDRESS ON FILE                        17427 CANAVILLE ROAD
GRANITE CITY, IL 62040                                                          CREAL SPRINGS, IL 62922




CME                                      CMI HEATING & A/C, INC.                CMI
1206 JEFFERSON BLVD                      660 CHESTER HACK DRIVE                 P O BOX 14731
WARWICK, RI 02886                        PADUCAH, KY 42002-3374                 LEXINGTON, KY 40512-4731




CMR                                      CMS CENTERS FOR MEDICARE & MEDICAID    CMS COMMUNICATIONS INC
CLAIMS DEPT                              SERVICES                               P.O. BOX 790372
P.O. BOX 7121                            MSPRC LIABILITY                        ST LOUIS, MO 63179-0379
LONDON, KY 40742-7121                    P.O. BOX 138832
                                         OKLAHOMA CITY, OK 73113



CMX MEDICAL IMAGING                      CNA CLAIMS PLUS                        CNA SURETY
P.O. BOX 58088                           P O BOX 8317                           DIRECT BILL
SEATTLE, WA 98138                        CHICAGO, IL 60680                      P.O. BOX 957312
                                                                                ST LOUIS, MO 63195-7312




CNA                                      CNA                                    CNEA
8455 COLESVILLE RD                       ATTN:CLAIMS                            3324 SW 172ND STREET
SUITE 1100                               P.O.BOX 8317                           BURIEN, WA 98166
SILVER SPRING, MD 20910                  CHICAGO, IL 60680




CNIC HEALTH SOLUTIONS                    COAEMSP                                COAGULATION CONSULTANTS LAB
P.O. BOX 3559                            8301 LAKEVIEW PKWY STE 111-312         1640 ELK BLVD
ENGLEWOOD, CO 80155-3559                 ROWLETT, TX 75088                      DES PLAINES, IL 60016




COAKLEY RODGER E                         COAKLEY, NYREE                         COAST BIOMEDICAL EQUIPMENT LLC
5245 TRINITY LANE                        912 CLUBHOUSE CIR E APT C              3121 SCOTT STREET
COLLINSVILLE, IL 62234                   DECATUR, GA 30032                      VISTA, CA 92081




COAST TO COAST                           COASTAL FOREST PRODUCTS LLC            COASTAL HEALTH PARNTER
P.O. BOX 2086                            P.O. BOX 38                            65 NIELSON ST
THOUSAND OAKS, CA 91352-2086             CHAPMAN, AL 36015                      WATSONVILLE, CA 95076




COASTAL LIFE SYSTEMS                     COASTAL RADIOLOGY                      COASTCOM INC
7027 FAIRGROUNDS PKWY                    722 NEWMAN ROAD                        151 E OLIVE STREET
SAN ANTONIO, TX 78238                    NEW BERN, NC 28562                     NEWPORT, OR 97365
COATE PATRICE            Case 20-10766-BLS     Doc 6 M. Filed 04/07/20
                                       COATE, PATRICE                     Page COATES,
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                                                                                       1969
ADDRESS ON FILE                          ADDRESS ON FILE                       1572 HAWKS ROAD
                                                                               MARTIN, TN 38237




COATS, CODY                              COATS, KYLA                           COATSSCOTT, ROSIE
ADDRESS ON FILE                          ADDRESS ON FILE                       12635 S LOWE
                                                                               CHICAGO, IL 60628




COBB ALLEN E                             COBB, ANGELA                          COBB, CATHERINE
12250 BERMUDA DRIVE                      ADDRESS ON FILE                       7041 STATE ROUTE 3
MARION, IL 62959                                                               EVANSVILLE, IL 62242




COBB, DESTINIE                           COBB, HOUSTON                         COBB, HUGH
2245 COUNTY ROAD 44 LOT 9                309 SFC 241                           3708 BIG CREEK RD
LEESBURG, AL 35983                       COLT, AR 72326                        ELLIJAY, GA 30536




COBB, JAMES P.                           COBB, JAMES PATRICK                   COBB, JEANNA L.
511 E HARRIET ST                         POB 1675                              1960 MERIDIAN RD
ALPINE, TX 79830                         ALPINE, TX 79831                      GREENFIELD, TN 38230




COBB, JOEL T.                            COBB, LAVERTIC                        COBB, LISA K.
1812 COBB RD                             309 SFC 241                           13322 LAKE OF EGYPT RD
PINE APPLE, AL 36768                     COLT, AR 72326                        MARION, IL 62959




COBB, LISA K.                            COBB, NICHELLE                        COBB, NIKKI
ADDRESS ON FILE                          707 W. COLLEGE STREET 3               1585 HENRY MIZELLE RD
                                         CARBONDALE, IL 62901                  WILLIAMSTON, NC 27892-0000




COBB, ROBERT                             COBB, RONNIE                          COBB, TRISHA
3003 GOODARD PL                          1007 MAIN ST                          1415 NEW HOPE RD
MIDLAND, TX 79705-0000                   HIGHLAND, IL 62249                    BUNCOMBE, IL 62912-0000




COBBLESTONE CLEANING CO                  COBDEN UNIT SCHOOL DISTRICT 17        COBEN, CRAIG
P.O. BOX 516                             413 N. APPLEKNOCKER DRIVE             P.O. BOX 251
ALPINE, TX 79831                         COBDEN, IL 62920                      DOYLESTOWN, OH 44230




COBIN, LYNN A.                           COBINE, PATRICIA                      COBIN-WILLIAMS, ARTANUE
190 FROG ROCK ROAD                       661 LESLIE AVE                        226 WINTHROP DR
ELKVILLE, IL 62932                       WOOD RIVER, IL 62095                  BELLEVILLE, IL 62221
COBLE, PAMELA D.          Case 20-10766-BLS    Doc N.
                                        COBOS, APRIL 6      Filed 04/07/20   Page COBOS,
                                                                                  362 ofCAROLINE
                                                                                         1969
318 WALLACE RD                           ADDRESS ON FILE                          200 COUNTY RD 3
JACKSON, TN 38305                                                                 P.O. BOX 282
                                                                                  RIBERA, NM 87560




COBOS, DIANA M.                          COBOS, SYLVIA L.                         COBURN, JAMES R.
607 EAST 18TH STREET                     ADDRESS ON FILE                          105 QUEENS LANE
BIG SPRING, TX 79720                                                              THORMTON, IL 60476




COBURN, ROBIN                            COBURN, VERNA M.                         COCA COLA BOTTLING CO
3070 HELENA WAY                          ADDRESS ON FILE                          P O BOX 403390
MARINA, CA 93933                                                                  ATLANTA, GA 30384-3390




COCA COLA REFRESHMENTS                   COCA, CARLOS E.                          COCA, GILBERT L.
ALSIP SALES CENTER                       ADDRESS ON FILE                          ADDRESS ON FILE
2335 PAYSPHERE CIRCLE
CHICAGO, IL 60674




COCA, JESSA J.                           COCA, JESSA J.                           COCA, SALLY A.
4126 GREENLEAF CT APT 210                ADDRESS ON FILE                          1802 FLORA CIR
PARK CITY, IL 60085                                                               LAS CRUCES, NM 88001




COCA-COLA BOTTLING COMPANY UNITED        COCA-COLA BOTTLING COMPANY               COCHLEAR AMERICAS
P O BOX 105637                           P.O. BOX 602937                          P.O. BOX 910811
ATLANTA, GA 30348                        CHARLOTTE, NC 28260-2937                 DENVER, CO 80291-0811




COCHLEAR                                 COCHRAN DO, JEFFREY                      COCHRAN JILL
13059 EAST PEAKVIEW AVE                  5625 ROSEFIELD CIR NW                    113 WALNUT RIDGE DR
CENTENNIAL, CO 80111                     MASSILLON, OH 44646                      BETHALTO, IL 62010




COCHRAN, BEVERLY                         COCHRAN, CHRISTINA                       COCHRAN, DAROLD D.
328 MCDANIEL ST                          231 GLEN HOPE CHURCH RD                  1330 76TH ST
MONROE, GA 30655-2062                    BLUE RIDGE, GA 30513                     APT 162
                                                                                  CHICAGO, IL 60620




COCHRAN, DIXIE                           COCHRAN, EDDIE                           COCHRAN, JANET I.
122 WINGATE RD                           273 DIAMOND LURE RD                      ADDRESS ON FILE
ELLIJAY, GA 30540                        ELLIJAY, GA 30536




COCHRAN, KACY                            COCHRAN, KELLEY D.                       COCHRAN, LISA
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE
COCHRAN, LISA R.         Case 20-10766-BLS   Doc
                                       COCHRAN, LISA6R. Filed 04/07/20   Page COCHRAN,
                                                                              363 of 1969
                                                                                       LISA
ADDRESS ON FILE                          BUSINESS OFFICE                      ADDRESS ON FILE
                                         104 BROWN DRIVE
                                         COPPERHILL, TN 37317




COCHRAN, LISA                            COCHRAN, MARILYN                     COCHRAN, NANCY P.
ADDRESS ON FILE                          2825 WISE RD                         ADDRESS ON FILE
                                         NORTH CANTON, OH 44720




COCHRAN, NICHOLAS P.                     COCHRAN, PAMELA S.                   COCHRAN, PERRY
6544 W. HAVEN MAPLE DRIVE                10820 ROBINSON DR                    6806 FEDDER LANE
WEST JORDAN, UT 84081                    BUNKER HILL, IL 62014                COLLINSVILLE, IL 62234




COCHRAN, SAM J.                          COCHRAN, SAMANTHA L.                 COCHRAN, TAMMY
ADDRESS ON FILE                          141 SUNSET ACRES DRIVE               20 COUNTY RD 477
                                         LOUISA, KY 41230                     SECTION, AL 35771




COCHRANE, BRENDA R.                      COCKERHAM, CHRISTOPHER               COCKERHAM, JANIE
ADDRESS ON FILE                          1234 BUTTERCUP LN                    P.O. BOX 2
                                         JENA, LA 71342-0000                  BEATTYVILLE, KY 41311




COCKERHAM, MADGE O.                      COCKRUM, DORRIS                      CODING & BILLING SOLUTIONS LLC
P.O. BOX 367                             4811 E BONNIE RD                     2111 DEVON LN
BEATTYVILLE, KY 41311                    WALTONVILLE, IL 62894                PENNSBURG, PA 18073




CODING INSTITUTE                         CODISPOTI, VICTORIA                  CODONICS, INC
P.O. BOX 933729                          4232 CARTTER RD                      DEPT 781363
ATLANTA, GA 31193-3729                   KELL, IL 62853                       P.O. BOX 78000
                                                                              DETROIT, MI 48278-1363




CODY A KILLAN                            CODY HUBBLE                          CODY MAYBERRY
7311 SAN PEDRO DR                        ADDRESS ON FILE                      355 MAYBERRY LN
IRVING, TX 75039                                                              JONESBORO, IL 62952




CODY REGIONAL HEALTH                     COE, BRENDA M.                       COE, DANIEL B.
707 SHERIDAN AVENUE                      889 OAKDALE AVE 128                  ADDRESS ON FILE
CODY, WY 82414-3493                      SPRINGFIELD, OR 97477




COFER, CHANITA R.                        COFER, DAMON                         COFER, KIM M.
2324 SHADOWOOD DR                        3915 ED GROCERY RD                   542 SYDENHAM DRIVE
AUGUSTA, GA 30906-2936                   WILLIAMSTON, NC 27892-0000           FRANKLIN, TN 37064
                       Case 20-10766-BLS
COFFEE MEDICAL GROUP LLC             COFFEE, Doc   6 Filed 04/07/20
                                             ANTHONY                    Page COFFEY
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                                                                                    1969 C
UNITY MEDICAL CENTER                 39 BUENA VISITA DR APT 2               4706 GREENHILL BLVD
P.O. BOX 1079                        HAYESVILLE, NC 28904                   FORT PAYNE, AL 35967-3435
MANCHESTER, TN 37349




COFFEY, KIMBERLY L.                  COFFEY, KIMBERLY                       COFFEY, RUTH
230 DELONG BRANCH ROAD               ADDRESS ON FILE                        108 E MADISON AVE
LOUISA, KY 41230                                                            COLLINSVILLE, IL 62234




COFFEY, TIMOTHY LEON                 COFFEY, TIMOTHY                        COFFEYVILLE REGIONAL MEDICAL CENTER
2240 COUNTY ROAD 192                 12020 STATE RT 37 N                    1400 WEST FOURTH STREET
CROSSVILLE, AL 35962-3116            GOREVILLE, IL 62939                    COFFEYVILLE, KS 67337-3306




COFFIELD WILLIAM E                   COFFMAN PAINTING, INC                  COFFMAN PEST CONTROL LLC
301 GURGANUS ST                      451 WEST 400 NORTH                     140 MCDONALD RD
WILLIAMSTON, NC 27892                TOOELE, UT 84074                       LEXINGTON, TN 38351




COFFMAN, BRIDGET T.                  COFFMAN, JASON C.                      COFFMAN, STACY
30561 HWY 104S                       4851 POPLAR SPRINGS-BARGERTON RD       614 STATE STREET
REAGAN, TN 38368                     LEXINGTON, TN 38351                    BIG SPRING, TX 79720




COFFY, ANTWON M.                     COFIELD, BLANCHE C.                    COFIELD, CONNIE
1375 S WHITE OAK DR                  105 RAYS RD                            422 COUNTY ROAD 302
WAUKEGAN, IL 60085                   HARRISBURG, IL 62946                   DAWSON, AL 35963




COGAN, DAVID                         COGDILL, JENNIFER                      COGENCY GLOBAL INC
93580 DORSEY LANE                    4155 FOX CHASE DR                      P.O. BOX 3168
JUNCTION CITY, OR 97448              LOGANVILLE, GA 30052                   HICKSVILLE, NY 11802




COGERIS INSURANCE GROUP              COGGIN FIRM LLC, THE                   COGGINS KRYSTAL
366 W FOURTH ST                      AND MICHAEL LEE JIMMERSON              34211 WILLIAM LANE
ST LOUIS, MO 63025                   222 S 8TH ST                           BRIGHTON, IL 62012
                                     GADSDEN, AL 35901




COHEN, AARON                         COHEN, JUSTIN                          COHEN, PATRICIA
ADDRESS ON FILE                      50 N WESTERN                           ADDRESS ON FILE
                                     LAKE FOREST, IL 60045




COHEN, TASIA                         COHOON, COURTNEY                       COHRAN, DEBORAH
13348 SOUTH BURLEY AVE               ADDRESS ON FILE                        3302 GREYSTONE DR
CHICAGO, IL 60633                                                           LOGANVILLE, GA 30052-4523
COIL MERRY J             Case 20-10766-BLS     Doc 6 L. Filed 04/07/20
                                       COILE, DOROTHY                          Page COKER,
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3330 PACIFIC LP                          1080 SWEETWATER CIRCLE                    330 SAND CUT RD
P.O. BOX 1807                            ATHENS, GA 30606                          GREENVILLE, AL 36037-7237
COOS BAY, OR 97420




COKER, RONALD                            COKER, SHAWN                              COKER, SHIRLEY M.
238 ROCKY RD                             1303 E 11TH PL                            1326 GERBER WOODS DR.
GREENVILLE, AL 36037-6535                BIG SPRING, TX 79720-0000                 EDWARDSVILLE, IL 62025




COKER, SHIRLEY M.                        COKER, STEPHANIE                          COKES, MICHAELA
ADDRESS ON FILE                          P.O. BOX 646                              200 BALBOA CT
                                         COLLINSVILLE, AL 35961                    WEST HELENA, AR 72390




COLA INC                                 COLA RESOURCES INC                        COLA RESOURCES INC
9881 BROKEN LAND PKWY STE 200            9881 BROKEN LAND PARKWAY, SUITE 200       9881 BROKEN LAND PARKWAY, SUITE 200
COLUMBIA, MD 21046                       COLUMBIA, MD 21046                        SUITE 200
                                                                                   COLUMBIA, MD 21046




COLANER, ALEXANDER                       COLANGELO, DEBORAH M.                     COLANGELO, KATIE D.
733 PHILLIPS RD NE                       6356 HARBORVIEW AVE NW                    ADDRESS ON FILE
MASSILLON, OH 44646                      CANTON, OH 44718




COLBERT, DEBBIE                          COLBERT, ETHEL                            COLBERT, JAMES W.
3475 GANN RD SW                          ADDRESS ON FILE                           13829 S STEWART AVE
FORT PAYNE, AL 35967-4207                                                          RIVERDALE, IL 60827




COLBERT, JOHN H.                         COLBERT, JUDY                             COLBERT, MALERIE J.
3 PINEWOOD CT                            656 BARKLEY ST                            ADDRESS ON FILE
NORTH AUGUSTA, SC 29841-2018             GRANITE CITY, IL 62040




COLBERT, RICHARD                         COLBORN, TIFFANY                          COLBURN, KAREN
14800 S EDBROOKE                         6265 LAKEVIEW DRIVE                       3019 9TH STREET
DOLTON, IL 60419                         CARTERVILLE, IL 62918                     WINTHROP HARBOR, IL 60096




COLBY, SUSAN M.                          COLDITZ, TERESA                           COLE INDUSTRIES INC
ADDRESS ON FILE                          191 BILL DONALDSON RD                     5924 203RD STREET SW
                                         BLAIRSVILLE, GA 30512                     LYNNWOOD, WA 98036




COLE NICOLETTE M                         COLE PARMER INSTRUMENT COMPANY            COLE, ALESIA
8317 ST PHILLIPS                         13927 COLLECTIONS CENTER DRIVE            913 WEEPING WILLOW DRIVE 4
EAST SAINT LOUIS, IL 62203               CHICAGO, IL 60693                         BEREA, KY 40403
COLE, ASHLEY L.           Case 20-10766-BLS     Doc 6
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                                                                                     BETTY J.
2124 HWY 334                              ADDRESS ON FILE                      4807 COUNTY RD 107
FORREST CITY, AR 72335                                                         FORT PAYNE, AL 35967-6559




COLE, CANDI                               COLE, CAROL                          COLE, DUANE
ADDRESS ON FILE                           415 JANICE DRIVE                     818 FERN DRIVE
                                          WATERLOO, IL 62298                   MORGANTON, GA 30560




COLE, EDWARD D.                           COLE, ETHAN W.                       COLE, GEORGE
1151 HWY 350 (P.O. BOX 1807)              209 E. 5TH STREET                    1113 HILLWOOD DR
BIG SPRING, TX 79720-1807                 INA, IL 62846                        ROUND LAKE, IL 60073




COLE, GRETTA L.                           COLE, HARSHA                         COLE, JEFFREY, MD
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




COLE, JESSIE                              COLE, JOE                            COLE, KORT E.
1820 W 126TH ST                           P.O. BOX 232                         7943 W MILL CREEK ROAD
CALUMET PARK, IL 60827                    EPWORTH, GA 30541                    TROY, IL 62294




COLE, LINDA G.                            COLE, LINDSEY BROOKE                 COLE, MARTINEZ
ADDRESS ON FILE                           1586 COUNTY ROAD 122                 1627 SPRUCE ST
                                          FT PAYNE, AL 35968                   GRANITE CITY, IL 62040




COLE, MICHAEL                             COLE, NATASHA C.                     COLE, NORA LEE
ADDRESS ON FILE                           ADDRESS ON FILE                      P.O. BOX 389
                                                                               JACKSON, KY 41339




COLE, NORMAN E.                           COLE, PHYLLIS M.                     COLE, REGINALD C.
150 CHASE STREET                          348 PINE RIDGE RD                    280 HODGES RD
RUSSELLS POINT, OH 43348                  FARNER, TN 37333                     CHOCOWINITY, NC 27817




COLE, ROBIN                               COLE, TABETHA L.                     COLE, TABETHA L.
2319 MORRIE AVE                           ADDRESS ON FILE                      520 N JACKSON ST P.O. BOX 70
CHEYENNE, WY 82001                                                             MCCRORY, AR 72101




COLE, TABETHA                             COLE, TIFFANY                        COLEBROOK, GEORGENE
ADDRESS ON FILE                           ADDRESS ON FILE                      10508 S. PARNELL AVE
                                                                               CHICAGO, IL 60628
COLEMAN CAROLYN            Case 20-10766-BLS   Doc
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ADDRESS ON FILE                           47386 MCKENZIE HWY                    2108 MONTCLAIR ST NE
                                          VIDA, OR 97488                        WARREN, OH 44483




COLEMAN, ASHLEY                           COLEMAN, BETTY                        COLEMAN, CARLYON
13309 S. KOSTNER AVENUE                   3728 WEST 123RD PL                    ADDRESS ON FILE
ROBBINS, IL 60472                         APT 210
                                          ALSIP, IL 60803




COLEMAN, CAROLYN D.                       COLEMAN, CHRISTINA M.                 COLEMAN, CLARA B.
810 WEST WALNUT DRIVE                     816 WESTWOOD VILLAGE                  P.O. BOX 2086
WEST MEMPHIS, AR 72301                    MARYVILLE, IL 62062                   FORREST CITY, AR 72335




COLEMAN, CLIFFORD R.                      COLEMAN, CODI                         COLEMAN, COREY
3559 N MILO RD                            1509 JOY AVE                          ADDRESS ON FILE
TOMAHAWK, KY 41262                        GRANITE CITY, IL 62040




COLEMAN, DEDRA L                          COLEMAN, EMILY                        COLEMAN, HAZEL M
2041 HERMON AVE                           9891 HIGHWAY 49 B NORTH               517 JEAN ST
ZION, IL 60099                            BROOLAND, AR 72417-8760               HELENA, AR 72342




COLEMAN, JANICE                           COLEMAN, JENNIFER A.                  COLEMAN, KAYLA M.
20828 BROOKWOOD DR                        ADDRESS ON FILE                       106 ELLIS ST APT B
OLYMPIA FIELDS, IL 60461                                                        WYNNE, AR 72396




COLEMAN, KELLY E.                         COLEMAN, KRISTY L.                    COLEMAN, LONNIE
3970 CLAY FARM RD                         120 LUMBER OAKS LANE                  41 COUNTY ROAD 339
ATWOOD, TN 38220                          TALKING ROCK, GA 30175                ELBA, AL 36323-8579




COLEMAN, MARY A                           COLEMAN, MATHEW                       COLEMAN, PRISCILLA L.
1615 JONATHAN PL                          2604 N. PARK AVE                      ADDRESS ON FILE
HEPHZIBAH, GA 30815-6957                  HERRIN, IL 62948




COLEMAN, ROXANNE                          COLEMAN, TAMMIE                       COLEMAN, TAMMIE
ADDRESS ON FILE                           1315 W 90TH AVE, APT 202              ADDRESS ON FILE
                                          MERRILLVILLE, IN 46410




COLEOTE, CRISTINA E.                      COLE-PARMER INSTRUMENT COMPANY        COLE-PARMER
ADDRESS ON FILE                           13927 COLLECTION CENTER DR            13927 COLLECTIONS CENTER DR
                                          CHICAGO, IL 60693                     CHICAGO, IL 60693-0139
COLE-PARMER            Case 20-10766-BLS     Doc 6
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13927 COLLECTIONS CENTER DR          ADDRESS ON FILE                          ADDRESS ON FILE
CHICAGO, TN 60693-0319




COLES, JOY L.                         COLETTA, VIRGINIA                       COLEY, ERIN C.
2410 JUSTIN STREET                    4205 CORAL BERRY PATH                   1026 ROOSEVELT ST NE
AUGUSTA, AR 72006                     APT 101                                 MASSILLON, OH 44646
                                      GURNEE, IL 60031




COLEY, SHANNON                        COLEY, WANDA                            COLEY, WARTEESA T.
151 WHITSELL WAY APT 303              16 HENRY RD                             2917 EASTRIDGE CT B
GRANITE CITY, IL 62040                HOLLYGROVE, AR 72069                    GREENVILLE, NC 27834




COLIN HANKE                           COLLABORATIVE CARE HOLDINGS, LLC        COLLANDRA LUCY M
10 SASSAFRASS CT                      9900 BREN ROAD EAST                     257 CAMPBELL HILL LN
MT. VERNON, IL 62864                  MINNETONKA, MN 55343                    COPPERHILL, TN 37317




COLLAR, BRIANNE W.                    COLLART-LAWRENCE, SARAH M.              COLLATERAL OPPORTUNITIES, LLC
28252 MORGANTON HWY.                  2325 W SCHOOL STREET BASEMENT           1500 K STREET NW
SUCHES, GA 30572                      APARTMENT                               SUITE 1100
                                      CHICAGO, IL 60618                       WASHINGTON, DC 20005




COLLAZO, MARIA                        COLLAZO, SANDRA                         COLLAZO, VERONICA
P.O. BOX 91                           184 SAN JUAN LN                         P.O. BOX 3817
MESQUITE, NV 89024-0091               MESQUITE, NV 89027-1113                 WEST WENDOVER, NV 89883




COLLECTION PROFESSIONALS, INC         COLLECTION PROFESSIONALS, INC           COLLECTIVE GOODS
P.O. BOX 401                          PO BOX 401                              310 INTERLOCKEN PKWY
MACOMB, IL 61455                      MACOMB, IL 61455                        SUITE 120
                                                                              BROOMFIELD, CO 80021




COLLECTIVE GOODS                      COLLECTIVE GOODS                        COLLECTIVE GROUP LLC, THE
ATTN:SCOTT LEHMANN/JESSE PORT         FKA BOOKS ARE FUN                       9433 BEE CAVES RD
310 INTERLOCKEN PKWY, SUITE 120       282 CENTURY PLACE SUITE 2000            BUILDING 3, STE 200
BROOMFIELD, CO 80021                  LOUISVILLE, CO 80027                    AUSTIN, TX 78733




COLLECTIVE SPEAKERS, LLC              COLLEDGE, JACQUELINE                    COLLEDGE, ROBERT H.
1495 CANYON BLVD, SUITE 206           522 TAMARACK DR                         712 UPLAND DRIVE
BOULDER, CO 80302                     TOOELE, UT 84074-0478                   TOOELE, UT 84074




COLLEEN CULBERTSON                    COLLEEN EARLY                           COLLEEN SWEENEY
542 COLUMBUS AVE                      195 COUNTY ROAD 121                     16 SUNSET AVE
GALESBURG, IL 61401                   CEDAR BLUFF, AL 35959-2357              GLEN CARBON, IL 62034
COLLEEN TYMENSKY       Case 20-10766-BLS
                                     COLLEGEDoc     6 PATHOLOGISTS
                                               OF AMER Filed 04/07/20   Page COLLEGE
                                                                             369 of 1969
                                                                                     OF AMER PATHOLOGISTS
565 STANDING STONE HWY               325 WAUKENGAN RD                        325 WAUKENGAN RD
HILHAM, TN 38568                     P.O. BOX 71698                          P.O. BOX 71698
                                     CHICAGO, IL 60694-1698                  CHICAGO, IL 60694-2750




COLLEGE OF AMER PATHOLOGISTS          COLLEGE OF AMER PATHOLOGISTS           COLLEGE OF AMER PATHOLOGISTS
325 WAUKENGAN RD                      325 WAUKENGAN RD                       325 WAUKENGAN RD
P.O. BOX 71698                        P.O. BOX 71698                         P.O. BOX 71698
CHICAGO, IL 60694-9847                CHIGAGO, IL 60694-1698                 NORTHFIELD, IL 60093-2750




COLLEGE OF AMER PATHOLOGY             COLLEGE OF AMERICAN PATHOLOGIS         COLLEN DERRINGTON FOR CHARLEE
PO BOX 71698                          P.O. BOX 71698                         HUSKEY
CHICAGO, IL 60694-9847                CHICAGO, IL 60694-1698                 151 TIMBERGLADE LANE
                                                                             PARSONS, TN 38363




COLLETT KATHY M                       COLLETT, HELEN                         COLLETT, LEIGH A.
P.O. BOX 1394                         33050 MEADOW WOOD ST.                  220 VIRGINIA AVE S
BLUE RIDGE, GA 30513                  TANGENT, OR 97389                      PARSONS, TN 38363




COLLETTE VACATIONS                    COLLEY, ANGELICA                       COLLEY, TOMAIDA
162 MIDDLE ST                         1503 VIEW POINTE                       1110 PREVOST CT
PAWTUCKET, RI 02860                   LOUISVILLE, OH 44641                   SAN JOSE, CA 95125




COLLIE, EUGENE                        COLLIER, BENJAMIN B.                   COLLIER, BLAKE S.
P.O. BOX 513                          ADDRESS ON FILE                        1228 CHANCELLOR DR
EPWORTH, GA 30541                                                            EDWARDSVILLE, IL 62025




COLLIER, CARITA                       COLLIER, DIANE C.                      COLLIER, DORRIS
14 ANGES DRIVE                        428 RIDGE RD                           350 W SOUTH 1ST STREET
CAHOKIA, IL 62206                     NORTHUMBERLAND, PA 17857               RED BUD, IL 62278




COLLIER, KATY                         COLLIER, PAMELA                        COLLIER, RAYMOND
151 DAIRY LN 4                        ADDRESS ON FILE                        1029 WILLOW
MESQUITE, NV 89027                                                           LAS CRUCES, NM 88001




COLLIER, ROBERT ZACH                  COLLIGAN, JAYNE                        COLLIGNON, ANDREW CARROLL
HRMC                                  7320 KINDLEWOOD DR                     STARTING POINT HEALTH FAC PLAN LLC
72342                                 EDWARDSVILLE, IL 62025                 625 BAKERS BRIDGE AVE - STE 105
                                                                             FRANKLIN, TN 37067




COLLING, CARLA N.                     COLLINGS, CHASE                        COLLINS AND COMPANY INC
ADDRESS ON FILE                       ADDRESS ON FILE                        9000 WESSEX PLACE STE 301
                                                                             LOUISVILLE, KY 40222-5071
COLLINS FLAGS             Case 20-10766-BLS
                                        COLLINS Doc 6 B Filed 04/07/20
                                                HERMAN                   Page COLLINS
                                                                              370 of JANICE
                                                                                      1969
1139 S BALDWIN AVE                       4136 W 177TH STREET                  ADDRESS ON FILE
MARION, IN 46952                         COUNTRY CLUB HILLS, IL 60478




COLLINS LAMBERT, BRENDA                  COLLINS LEIGH A                      COLLINS SONIA
TLC DETAILING                            707 COLLINS ROAD                     748 SOUTHWIND DRIVE
517 VINSON DR                            MORGANTON, GA 30560-3635             LAKE VILLA, IL 60046
NASHVILLE, TN 37217




COLLINS TIM A                            COLLINS, ALETHA P.                   COLLINS, AMELIA
P.O. BOX 2803                            ADDRESS ON FILE                      186 DIAL ROAD
BLAIRSVILLE, GA 30514                                                         BLUE RIDGE, GA 30513




COLLINS, ANGELA J.                       COLLINS, ARKEILA L.                  COLLINS, ASIAN M.
ADDRESS ON FILE                          801 JUSTICE CT                       6619 FUTURE ST
                                         GRANITE CITY, IL 62040               CENTREVILLE, IL 62207




COLLINS, CHRISTOPHER T.                  COLLINS, CINDY                       COLLINS, CONNIE S.
8722 CANDLEBERRY STREET                  12883 HIGHWAY 7 N                    ADDRESS ON FILE
MASSILLON, OH 44646                      DEANE, KY 41812




COLLINS, DAVID                           COLLINS, DENNIS E.                   COLLINS, ERIK
1222 JACKSON STREET                      196 RIVOLI LANDING                   1916 CARMEL BLVD
NORTH CHICAGO, IL 60064                  MACON, GA 31210                      ZION, IL 60099




COLLINS, HAROLD                          COLLINS, JANIE                       COLLINS, JENNIFER R.
911 WOODS AVENUE SE                      ADDRESS ON FILE                      76346 RAINBOW ST
ATTALLA, AL 35954                                                             OAKRIDGE, OR 97463




COLLINS, JENNIFER                        COLLINS, JERRY H.                    COLLINS, JESSICA
ADDRESS ON FILE                          2035 N POPLAR ST                     709 E MAIN ST
                                         WAUKEGAN, IL 60087-5014              KNOXVILLE, IL 61448




COLLINS, JOSIE A.                        COLLINS, KERMITT E.                  COLLINS, KETRA S.
ADDRESS ON FILE                          15023 BEACHVIEW TERRACE              ADDRESS ON FILE
                                         DOLTON, IL 60419-2508




COLLINS, KEVIN                           COLLINS, LYNN                        COLLINS, MARGARET B.
P.O. BOX 41                              ADDRESS ON FILE                      5117 RIVERCREST COURT
MORGANTON, GA 30560                                                           CRESTWOOD, IL 60418
COLLINS, MARY G.           Case 20-10766-BLS
                                         COLLINS,Doc 6 D.Filed 04/07/20
                                                 MELANIE                     Page COLLINS,
                                                                                  371 of MINDI
                                                                                           1969
105 W JULIE ST APT C                      ADDRESS ON FILE                         ADDRESS ON FILE
OFALLON, IL 62269-2927




COLLINS, MORGAN J.                        COLLINS, NANCY E.                       COLLINS, NICK
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




COLLINS, NICOLE                           COLLINS, ROSEMARY                       COLLINS, SAMUEL
810 COLLEGE P.O. BOX 455                  P.O. BOX 41                             1313 KINDLE RD
MARVELL, AR 72366                         MORGANTON, GA 30560                     BIG SPRING, TX 79720




COLLINS, SHANNON R.                       COLLINS, SHENIC L.                      COLLINS, TRICIA L.
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




COLLINS, VIRGINIA                         COLLINS, ZANNA C.                       COLLINSVILLE AREA SOCCER
424 NORTH STREET                          ADDRESS ON FILE                         ASSOCIATION
RICHMOND, KY 40475                                                                P.O. BOX 64
                                                                                  COLLINSVILLE, IL 62234




COLLINSVILLE CHAMBER OF COMMER            COLLINSVILLE FOOD PANTRY                COLLINSVILLE HIGH SCHOOL
221 W MAIN ST                             201 E CHURCH ST                         BAND PARENTS ASSOC
COLLINSVILLE, IL 62234                    ATTN MICAELA RODRIGUEZ                  2201 S MORRISON AVE
                                          COLLINSVILLE, IL 62234                  COLLINSVILLE, IL 62234




COLLINSVILLE WATER & SEWER BRD            COLLINSVILLE WATER WORKS & SEWER        COLLIS VICKI N
P.O. BOX 377                              170 MAIN ST                             P.O. BOX 128
COLLINSVILLE, AL 35961                    COLLINSVILLE, AL 35961                  4142 OLD HWY 5
                                                                                  BLUE RIDGE, GA 30513




COLLIS, BRANDI                            COLLIS, JENNIFER                        COLLIS, KAREN R.
673 PAN WILL RD.                          340 LAKE COVE CIRCLE.                   115 N. TOCCOA RIVER RD
MINERAL BLUFF, GA 30559                   MORGANTON, GA 30560                     MINERAL BLUFF, GA 30559




COLLIS, SAMANTHA T.                       COLLOM, DIANAH                          COLLOPY, DOROTHY-MAE I.
P.O. BOX 1876                             2615 CINDY LN                           434 E 22ND ST
BLAIRSVILLE, GA 30514                     BIG SPRING, TX 79720-0000               CHICAGO HEIGHTS, IL 60411




COLLOPY, TARA L.                          COLOMA, ADRIAN                          COLOMA, ADRIAN
ADDRESS ON FILE                           2117 S EMERSON DR                       ADDRESS ON FILE
                                          DEMING, NM 88030
COLOMA, CAMILLE F.        Case 20-10766-BLS   Doc
                                        COLOMBO    6 & ENGINEERING
                                                SALES  Filed 04/07/20
                                                                   INC    Page COLON
                                                                               372 ofMUNOZ,
                                                                                      1969CATHERINE
ADDRESS ON FILE                          17108 S HEMLOCK ROAD                  2250 BENTON ST
                                         OAKLEY, MI 48649                      GRANITE CITY, IL 62040-0000




COLON, COLLEEN P.                        COLON, DOMONIQUE                      COLONDIAZ, MELISSA
1184 WENDY HILL RD                       1400 MARIJO AVE                       3370 NE 14TH DR
BLAIRSVILLE, GA 30512                    BIG SPRING, TX 79720                  UNIT 101
                                                                               HOMESTEAD, FL 33033-6142




COLONIAL FLAG & SPECIALTY CO             COLONIAL LIFE INSURANCE               COLONIAL PENN LIFE INS CO C/O ASSET
9390 SOUT 300 WEST                       210 WASHINGTON STREET                 PROTECTION UNI
SANDY, UT 84070                          FRANKLIN, KY 40601                    RE:OVERPAYMENT
                                                                               P.O. BOX 30969
                                                                               AMARILLO, TX 79120



COLONIAL PENN LIFE INS CO                COLONIAL PENN LIFE INS COMPANY        COLONIAL PENN LIFE
P.O. BOX 1938                            ATTN: REFUNDS                         11825 N PENNSYLVANIA STREET
CARMEL, IN 46082                         P.O. BOX 1935                         CARMEL, IN 46032
                                         CARMEL, IN 46082-1935




COLONIAL PENN LIFE                       COLONIAL PENN LIFE                    COLONIAL PENN LIFE
11825 NORTH PENNSYLVANIA ST              INSURANCE COMPANY                     P.O. BOX 1935
CARMEL, IN 46032                         11825 N PENNSYLVANIA ST               CARMEL, IN 46082
                                         CARMEL, IN 46032




COLONIAL PENN                            COLONIAL PENN                         COLONLOPEZ, MARCELINO
11825 N PENNSYLVANIA                     P.O. BOX 1935                         210 S MARTIN AVE
CARMEL, IN 46032                         CARMEL, IN 46082-1935                 WAUKEGAN, IL 60085




COLON-OCONNOR, GLORIA                    COLOPLAST CORP/UROLOGY                COLOPLAST CORP/UROLOGY
6646 155TH PLACE                         DEPT CH 19024                         DEPT. CH 19024
OAK FOREST, IL 60452                     PALATINE, IL 60055-9024               PALATINE, IL 60055-9024




COLOPLAST CORPORATION                    COLOR ART                             COLORADO DEPARTMENT OF REVENUE
DEPT CH 19024                            INTEGRATED INTERIORS LLC              1375 SHERMAN STREET
PALATINE, IL 60055-9024                  1325 N. WARSON ROAD                   DENVER, CO 80261
                                         ST. LOUIS, MO 63132




COLORADO DEPARTMENT OF TREASURY          COLORADO MEDICAID                     COLORADO MEDICAID
UNCLAIMED PROPERTY DIVISION              1570 GRANT ST                         1570 GRANT ST
1580 LOGAN ST STE 500                    DENVER, CO 80203                      P.O. BOX 30
DENVER, CO 80203                                                               DENVER, CO 80203




COLORADO MEDICAID                        COLORADO SECRETARY OF STATE           COLORADO WEST HEALTHCARE SYSTEM
P.O. BOX 846331                          1700 BROADWAY, STE. 270               D/B/A COMMUNITY HOSPITAL
DALLAS, TX 75284                         DENVER, CO 80290                      2351 G ROAD
                                                                               GRAND JUNCTION, CO 81505
COLORADO, ANGEL             Case 20-10766-BLS   Doc
                                          COLORADO,   6 Filed 04/07/20
                                                    ANGEL                Page COLORID
                                                                              373 of LLC
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7320 STEVE DEGROAT                        900 W ASH                           P.O. BOX 1350
EL PASO, TX 79911                         DEMING, NM 88030                    CORNELIUS, NC 28031




COLORTRIEVE SYSTEMS, INC.                 COLOVICH, JED B.                    COLOWRAP RECEIVABLES
P.O. BOX 81260                            441 TAMARACK DR                     P.O. BOX 1082
WELLESLEY, MA 02481-0008                  TOOELE, UT 84074                    MORRISVILLE, NC 27560




COLP, GEORGIA L.                          COLQUITT, KIMBERLY                  COLSON, JEFFREY C.
P O BOX 697                               761 ROBIN DR SE                     2282 IRONWOOD STREET
MARION, IL 62959                          CONYERS, GA 30094                   EUGENE, OR 97401




COLTMAN, BLAKE                            COLTON, AMY B.                      COLTON, LANNOM
268 N CROOKED LAKE LN                     123 PHELAN CT                       1000 WOODS LANE
LINDENHURST, IL 60046                     SANTA CRUZ, CA 95060                ANNA, IL 62906




COLTRAIN, LYNN D.                         COLTRAIN, PAMELA                    COLUCY, CHRISTOPHER
1031 SCENIC DR                            120 DAVIS RD                        275 5TH ST SW
WILLIAMSTON, NC 27892                     ATLANTIC BEACH, NC 28512            BREWSTER, OH 44613




COLUMBIA CHAMBER OF COMMERCE              COLUMBIA CHAMBER OF COMMERCE        COLUMBIA GAS OF KENTUCKY
P.O. BOX 176                              P.O. BOX 176                        P.O. BOX 4660
COLUMBIA, IL 62236                        COLUMBIA, IL 62236-0000             CAROL STREAM, IL 60197




COLUMBIA GAS OF KENTUCKY                  COLUMBIA PIPE & SUPPLY CO.          COLUMBUS, TINA G.
REVENUE RECOVERY                          23671 NETWORK PLACE                 P.O. BOX 1970
P.O. BOX 117                              CHICAGO, IL 60673-1236              BIG SPRING, TX 79721
COLUMBUS, OH 43216




COLUMBUS, TINA                            COLVARD MARTHA A                    COLVIN RENTAL PROP, LLC
P.O. BOX 1970                             301 RUCKER ST NE                    426 ALVERSON AVENUE
BIG SPRING, TX 79720-1970                 FORT PAYNE, AL 35967-2517           ALBERTVILLE, AL 35950




COLVIN, DESIRA                            COLVIN, TONJUA                      COLVINS COUNTRY CARPET INC
ADDRESS ON FILE                           ADDRESS ON FILE                     4625 N WASHINGTON
                                                                              FORREST CITY, AR 72335




COLVIS, JENNIFER                          COLWELL, ALLEN EUGENE               COLWELL, ALLEN
ADDRESS ON FILE                           168 WOODHAVEN RD                    209 DOGWOOD ROAD
                                          GILMER, GA 30540                    APT 3
                                                                              ELLIJAY, GA 30540-5933
COLWELL, SCOTT         Case 20-10766-BLS    Doc COMPANY
                                     COLYER SIGN 6 Filed 04/07/20   Page COLYER,
                                                                         374 of ANTHONY
                                                                                 1969
302 STOCKDALE LANE                   2261 W 127TH ST                     11823 S HALE AVE
ABINGDON, IL 61410                   BLUE ISLAND, IL 60406               CHICAGO, IL 60643




COMANCHE TRAIL FESTIVAL              COMARCO ST. LOUIS, INC.             COMBINED INS.CO.OF AMERICA
P.O. BOX 2464                        255 NORTHWEST BLVD                  ATT:REFUNDS
BIG SPRING, TX 79721                 FENTON, MO 63026                    P.O.BOX 16380
                                                                         CLEARWATER, FL 33766-6380




COMBS DONNA                          COMBS HENRIETTA                     COMBS JR., CLARENCE H.
ADDRESS ON FILE                      P.O. BOX 1014                       ADDRESS ON FILE
                                     BOONEVILLE, KY 41314-1014




COMBS JR., VIOLET D.                 COMBS REBA                          COMBS SKINNER, MARSHA L
ADDRESS ON FILE                      617 PROCTOR RD                      CHAPTER 13 STANDING TRUSTEE
                                     BEATTYVILLE, KY 41301               P.O. BOX 349
                                                                         NEWMAN, IL 61942




COMBS TERESA                         COMBS, ALEXIS                       COMBS, ASHLEY D.
ADDRESS ON FILE                      ADDRESS ON FILE                     7850 HIGHWAY 80 P.O. BOX 852
                                                                         WOOTON, KY 41776




COMBS, BRITTANY                      COMBS, CRAIG                        COMBS, CYNTHIA J.
5005 HWY 30 WEST                     ADDRESS ON FILE                     1145 KY RT 993
JACKSON, KY 41339                                                        TUTOR KEY, KY 41263




COMBS, CYNTHIA                       COMBS, DENISE                       COMBS, DONNA S.
85 OLLIE J LN                        1840 GREENTREE PL SE                ADDRESS ON FILE
JACKSON, KY 41339                    MASSILLON, OH 44646




COMBS, DOTTIE                        COMBS, FERNANDO                     COMBS, HALLIE
579 MILL BRANCH SCH ROAD             ADDRESS ON FILE                     ADDRESS ON FILE
BEATTYVILLE, KY 41311




COMBS, HEATHER E.                    COMBS, HENRIETTA                    COMBS, JUDITH A.
1299 EVERETT ROAD                    P.O. BOX 1014                       408 HOMINY MILL RD
RAINSVILLE, AL 35986                 BOONEVILLE, KY 41314                HAZARD, KY 41701




COMBS, MALVERY                       COMBS, MARYANN C                    COMBS, MONICA A.
957 LAKESIDE DRIVE                   P.O. BOX 182                        1702 ANNIVERSARY LANE
JACKSON, KY 41339                    WOOLRICH, PA 17779                  EDWARDSVILLE, IL 62025
COMBS, PAMELA K.         Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       COMBS, REBECCA                Page COMBS,
                                                                          375 ofSTANLEY
                                                                                 1969
ADDRESS ON FILE                        ADDRESS ON FILE                    1282 GOODPASTURE IS RD 337
                                                                          EUGENE, OR 97401




COMBS, TIFFANY B.                      COMBS, TREVA                       COMBS, VICEY A.
ADDRESS ON FILE                        ADDRESS ON FILE                    ADDRESS ON FILE




COMBS, WANZETTA                        COMBS-SKINNER, MARSHA L            COMBUSTION AND CONTROL SERVICE, LLC
ADDRESS ON FILE                        CHAPTER 13 STANDING TRUSTEE        P.O. BOX 8623
                                       P.O. BOX 1133                      MIDVALE, UT 84047
                                       MEMPHIS, TN 38101-1133




COMCAST - DENVER 2 849795              COMCAST - DENVER                   COMCAST - SOUTH CHICAGO
P.O. BOX 60533                         P.O. BOX 60533                     P.O. BOX 70219
CITY OF INDUSTRY, CA 91716             CITY OF INDUSTRY, CA 91716         PHILADELPHIA, PA 19176




COMCAST BUSINESS                       COMCAST CABLE                      COMCAST CABLE
P O BOX 60533                          P.O. BOX 3001                      P.O. BOX 34227
CITY OF INDUSTRY, CA 91716-0533        SOUTHEASTERN, PA 19398-3001        SEATTLE, WA 98124-1227




COMCAST CABLE                          COMCAST CORPORATION                COMCAST HOLDINGS CORPORATION
P.O. BOX 60533                         COMCAST CENTER                     COMCAST CABLE COMMUNICATIONS
CITY OF INDUSTRY, CA 91716-0533        1701 JFK BLVD                      P.O. BOX 530098
                                       PHILADELPHIA, PA 19103             ATLANTA, GA 30353-0098




COMCAST                                COMCAST                            COMDATA, INC
P.O. BOX 70219                         PO BOX 70219                       5301 MARYLAND WAY, SUITE 100
PHILADELPHIA, PA 19176-0219            PHILADELPHIA, PA 19176-0219        BRENTWOOD, TN 37027




COMED MEDICAL SPECIALTIES              COMED                              COMED
P.O. BOX 573600                        1900 AUCUTT RD                     P O BOX 6111
SALT LAKE CITY, UT 84157               MONTGOMERY, IL 60538               CAROL STREAM, IL 60197-6111




COMED                                  CO-MEDICAL INC                     COMEGYS, KIM
P.O. BOX 6111                          7100 ROOSEVELT WAY NE              3189 CHESSWOOD LANE
CAROL STREAM, IL 60197-6111            SEATTLE, WA 98115                  WINTERVILLE, NC 28590




COMENDANT, FREDERICK T.                COMER, JUDITH                      COMERICA BANK
34179 NIELSEN RD                       6665 JACKSON SQUARE                ATTN: CYNTHIA M. CHAPMAN
NORTH FORK, CA 93643                   DAPHNE, AL 36526                   3551 HAMLIN ROAD
                                                                          AUBURN HILLS, MI 48326
COMERICA BANK          Case 20-10766-BLS    Doc 6
                                     COMET LOANS      Filed 04/07/20   Page COMFORT
                                                                            376 of 1969
                                                                                    FLOW HEATING
P.O. BOX 75000                       P O BOX 667                            1951 DON ST
MC 2250 PAC SERVICES                 BLANDING, UT 84511                     SPRINGFIELD, OR 97477
DETROIT, MI 48275




COMMEAN JOYCE E                      COMMEAN, JOYCE E.                      COMMERCIAL APPEAL, THE
140 KNOX RD 2000N                    140 KNOX RD 2000N                      495 UNION AVE
GALESBURG, IL 61401                  GALESBURG, IL 61401                    MEMPHIS, TN 38103




COMMERCIAL DOOR & HARDWARE INC       COMMERCIAL ELECTRIC MOTOR              COMMERCIAL FITNESS EQUIPMENT
1117 N 8TH ST                        SERVICE, INC                           4686 ISABELLE UNIT A
P O BOX 1477                         3121 WASHINGTON BLVD                   EUGENE, OR 97402
PADUCAH, KY 42002                    ST LOUIS, MO 63103




COMMERCIAL FLOORING INC              COMMERCIAL KITCHEN, INC                COMMERCIAL METAL PRODUCTS, INC
2819 BRECKENRIDGE INDUSTRIAL CT      808 HANLEY INDUSTRIAL CT               3545 MARCOLA ROAD
ST LOUIS, MO 63144                   ST. LOUIS, MO 63144                    SPRINGFIELD, OR 97477-0000




COMMERCIAL SALES & SERVICE           COMMERCIAL SATELLITE SERVICES          COMMERCIAL STEAM CLEANERS, INC
4387 WESTGROVE DRIVE                 8511 WELLSFORD PLACE STE D             P.O. BOX 12446
ADDISON, TX 75001                    SANTA FE SPRINGS, CA 90670             ST LOUIS, MO 63132




COMMEYNE, LUKE                       COMMODORE, MARIAN ROSE                 COMMON CENTS SOLUTIONS INC
1299 BERTHA HOWE                     713 W SPRUCE PMB66                     6360 I 55 N STE 160
MESQUITE, NV 89027                   DEMING, NM 88030                       JACKSON, MS 39211-2038




COMMON CENTS SOLUTIONS INC           COMMON CENTS SOLUTIONS INC             COMMON SENSE MEDICAL INC
6360 I 55 N STE 160                  6360 I-55 NORTH, SUITE 160             806 MERAMEC STATION ROAD
SUITE 160                            JACKSON, MS 39211                      STE A
JACKSON, MS 39211-2038                                                      TWIN OAKS, MO 63008




COMMONWEALTH EDISON COMPANY          COMMONWEALTH HEALTH CORPORATION        COMMONWEALTH OF KENTUCKY
P.O. BOX 6111                        INC                                    SECRETARY OF STATE
CAROL STREAM, IL 60197               MEDICAL CENTER URGENTCARE              P.O. BOX 1150
                                     P.O. BOX 2697                          ALISON LUDERGAN GRIMES
                                     BOWLING GREEN, KY 42102-7697           FRANKFORT, KY 40602-1150



COMMONWEALTH OF KENTUCKY             COMMONWEALTH OF MASSACHUSETTS          COMMONWEALTH OF MASSACHUSETTS,
DIVISION OF UNEMPLOYMENT INSURANCE   ONE ASHBURTON PLACE 12TH FLOOR         THE
275 EAST MAIN ST - 2EH               ABANDONED PROPERTY DIVISION            COMMONWEALTH OF MASSACHUSETTS
FRANKFORT, KY 40621                  BOSTON, MA 02108-1608                  STATE TREASURY
                                                                            UNCLAIMED PROPERTY DIVISION
                                                                            ONE ASHBURTON PLACE, 12TH FLOOR
                                                                            BOSTON, MA 02108-1608

COMMONWEALTH OF PENNSYLVANIA         COMMONWEALTH OF PENNSYLVANIA           COMMONWEALTH OF PENNSYLVANIA
4TH FL, RIVERFRONT OFFICE CTR        ATTN: FINANCIAL DIVISION               COMMONWEALTH OF PENNSYLVANIA
1101 S FRONT ST                      P.O. BOX 8050                          UNCLAIMED PROPERTY
HARRISBURG, PA 17104-2516            HARRISBURG, PA 17105-8050              P.O. BOX 783473
                                                                            PHILADELPHIA, PA 19178-3473
                       Case 20-10766-BLS
COMMONWEALTH OF PENNSYLVANIA                  Doc 6 OFFiled
                                     COMMONWEALTH           04/07/20 Page COMMONWEALTH
                                                        PENNSYLVANIA       377 of 1969 OF PUERTO RICO
OFC OF MED ASST PROG/PA DHR          UNCLAIMED PROPERTY - LOCKBOX 53473   UNCLAIMED PROPERTY DIVISION
P.O. BOX 2675                        101 N INDEPENDENCE MALL EAST         OFFICE OF THE COMMISSIONER OF
HARRISBURG, PA 17105                 PHILADELPHIA, PA 19106               FINANCIAL INSTITUTIONS
                                                                          P.O. BOX 11855
                                                                          SAN JUAN, PR 00910-3855

COMMONWEALTH TECHNOLOGY              COMMONWEALTH TECHNOLOGY               COMMONWEATH OF VIRGINIA-STATE
P.O. BOX 706326                      P.O. BOX 790448                       CORPORATE COMMISSION
CINCINNATI, OH 45270-6326            ST. LOUIS, MO 63179                   P.O. BOX 7621
                                                                           MERRIFIELD, VA 22116-7621




COMMUNITY ALIGNED ASSOCIATION OF     COMMUNITY BLOOD CENTER                COMMUNITY CARE ALLIANCE OF IL
PHYSICIANS INC                       P.O. BOX 644634                       P.O. BOX 981731
CAAP INC                             PITTSBURGH, PA 15264-4634             EL PASO, TX 79998-1731
1181 LANGFORD DR - BLGD 100-103
WATKINSVILLE, GA 30677



COMMUNITY CARE CENTER                COMMUNITY CARES MCR REPLA             COMMUNITY COFFEE COMPANY LLC
1818 CLEVELAND                       BOX 294 4044 N LINCOLN AV             P.O. BOX 679510
GRANITE CITY, IL 62040               CHICAGO, IL 60618                     DALLAS, TX 75267-9510




COMMUNITY COMPUTER SERVICE INC       COMMUNITY COMPUTER SVC INC            COMMUNITY CONSOLIDATED SCHOOL
MEDENT                               P.O. BOX 980                          DISTRICT 46
P.O. BOX 980                         AUBURN, NY 13021                      565 FREDERICK ROAD
AUBURN, NY 13021                                                           GRAYSLAKE, IL 60030




COMMUNITY CREDIT UNUON               COMMUNITY EDUCATION TRAVEL            COMMUNITY FAMILY CARE IPA
                                     2121 S GOEBBERT RD                    15821 VENTURA BLVD.STE 600
                                     ARLINGTON HEIGHTS, IL 60005           ENCINO, CA 91436




COMMUNITY FND. OF RANDOLPH CO        COMMUNITY HEALTH SYSTEMS              COMMUNITY HEALTH SYSTEMS, INC.
SWIL REGIONAL LDRSHIP & DEV COM      CHSPSC, LLC                           C/O ROBBINS, RUSSELL, ENGLERT,
P.O. BOX 112                         4000 MERIDIAN BOULEVARD               ORSECK, UNTEREINER & SAUBER LLP
EVANSVILLE, IL 62242-0112            FRANKLIN, TN 37067                    ATTN: GARY A. ORSECK
                                                                           2000 K ST, NW, 4TH FL
                                                                           WASHINGTON, DC 20006

COMMUNITY HEALTHCARE FOUNDATIO       COMMUNITY HEALTHCARE TRUST            COMMUNITY INSURANCE GROUP (CIG)
P O BOX 1775                         SERVICES INC                          CHSPSC LEASING INC
DEMING, NM 88031                     P.O. BOX 305172                       P.O. BOX 69, 720 WEST BAY ROAD
                                     DEPT 123                              GRAND CAYMAN KY1-1102
                                     NASHVILLE, TN 37230-5172              CAYMAN ISLAND



COMMUNITY MEMORIAL HOSPITAL          COMMUNITY NEWSPAPER GROUP LLC         COMMUNITY TISSUE SERVICES
400 NORTH CALDWELL STREET            THE DAILY ITEM                        P.O. BOX 644634
STAUNTON, IL 62088                   P.O. BOX 607                          PITTSBURGH, PA 15264-4634
                                     SUNBURY, PA 17801




COMP HEALTH                          COMP HEALTH                           COMPAGNONE, ANGELA J.
LISA PAYNE GRABL, PRESIDENT          P.O. BOX 972625                       1345 EAST CAP CIRCLE
7259 S. BINGHAM JCT. BLVD.           DALLAS, TX 75397-2625                 BOURBONNAIS, IL 60914
MIDVALE, UT 84047
COMPAN, KELLY K.            Case 20-10766-BLS   DocLIFE
                                          COMPANION  6 Filed 04/07/20   Page COMPANY
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                                                                                     GRILL
649 WAGONER ST NW                         P.O. BOX 14009                     P.O. BOX 391
MASSILLON, OH 44647                       CLEARWATER, FL 33466-4009          STOCKTON, UT 84071




COMPASS ELECTRICAL SERVICES               COMPASSUS                          COMPDATA SURVEYS
P.O. BOX 1354                             CREEDKSIDE CROSSING                1713 E 123RD ST
ALPINE, TX 79831                          10 CADILLAC DR ST 400              OATHE, KS 66061
                                          BRENTWOOD, TN 37027




COMPDATA SURVEYS                          COMPDATA SURVEYS                   COMPEAN, TONI K.
1713 E 123RD ST                           1713 E. 123RD ST                   700 SAN ANTONIO ST
OLATHE, KS 66061                          OLATHE, KS 66061                   BIG SPRING, TX 79720




COMPETITIVE PR4                           COMPHEALTH ASSOCIATES INC          COMPHEALTH ASSOCIATES INC
2443 FAIR OAKS BLVD., 322                 6440 SOUTH MILLROCK DRIVE          P.O. BOX 972625
SACRAMENTO, CA 95825                      SUITE 175                          DALLAS, TX 75397
                                          SALT LAKE CITY, UT 84121




COMPHEALTH ASSOCIATES INC                 COMPHEALTH ASSOCIATES INC          COMPHEALTH ASSOCIATES INC
P.O. BOX 972625                           P.O. BOX 972651                    P.O. BOX 972651
DALLAS, TX 75397-2625                     DALLAS, TX 75397-2625              DALLAS, TX 75397-2651




COMPHEALTH ASSOCIATES                     COMPHEALTH ASSOCIATES, INC         COMPHEALTH LOCUMS
P.O. BOX 972625                           P O BOX 972651                     CHG HEALTHCARE SERVICES, INC
DALLAS, TX 75397-2625                     DALLAS, TX 75397-2625              SALT LAKE CITY, UT 84121




COMPHEALTH                                COMPHEALTH                         COMPLETE CLIMATE CONTROL LLC
P.O. BOX 972651                           PO BOX 972625                      8399 NITTANY VALLEY DR
DALLAS, TX 75397-2651                     DALLAS, TX 75397                   MILL HALL, PA 17751




COMPLETE FAMILY MEDICINE                  COMPLETE HOLDINGS GROUP INC        COMPLETE TECHNOLOGY SOLUTIONS (CTS)
ALABAMA SPECIALTY CLINIC                  ENABLECOMP LLC
P.O. BOX 638                              DEPT CH 17027
CULLMAN, AL 35056                         PALATINE, IL 60055-7027




COMPLETE WIRELESS TECHNOLOGIES            COMPLEX PROPERTY ADVISORS          COMPLIANCE PLUS INC
621 C INNOCATION CIRCLE                   CORPORATION                        380 ELLIS WAY B
WINDSOR, CO 80550                         PROPERTY VALUATION SERVICES        GOLDEN, CO 80401
                                          14400 METCALF AVE
                                          OVERLAND PARK, KS 66223



COMPLIANCE TEAM INC, THE                  COMPLIANCELINE LLC                 COMPLIANT HEALTHCARE TECHNOLOGIES
ATTN ACCOUNTS RECEIVABLE                  8615 CLIFF CAMERON DR              LLC
P.O. BOX 160                              STE 290                            7123 PEARL ROAD
SPRING HOUSE, PA 19477                    CHARLOTTE, NC 28269                STE 305
                                                                             MIDDLEBURG HEIGHTS, OH 44130
COMPLYMD LLC            Case 20-10766-BLS   Doc 6 BEHAVIOR,
                                      COMPREHENSIVE Filed 04/07/20
                                                            INC.       Page COMPREHENSIVE
                                                                            379 of 1969 BENEFITS
DBA VINCARI                           P.O. BOX 910366                       P.O. BOX 8955
1500 1ST AVE N 51                     LEXINGTON, KY 40591                   MELVILLE, NY 11747
BIRMINGHAM, AL 35203




COMPREHENSIVE CONNECTIONS             COMPREHENSIVE DIALYSIS, LLC           COMPREHENSIVE HEALTH MGMT
16338 N IL HWY 37                     1997 SOUTH MEDICAL PARK DRIVE         ACCOUNTS PAYABLE
MT VERNON, IL 62864                   GREENVILLE, MS 38703                  P O BOX 31390
                                                                            TAMPA, FL 33631




COMPREHENSIVE PHARMACY SERVICES       COMPRESSAIR INC                       COMPTON, JENNA
6509 QUAIL HOLLOW ROAD                1758 GENESIS DRIVE SUITE A            ADDRESS ON FILE
MEMPHIS, TN 38120                     LAPORTE, IN 46350




COMPTON, RACHEL E.                    COMPTROLLER OF MARYLAND               COMPTROLLER OF MARYLAND, UNCLAIMED
680 HIGHWAY 1185                      301 W PRESTON ST                      PROPERTY
LOUISA, KY 41230                      UNCLAIMED PROPERTY DIVISION           UNCLAIMED PROPERTY UNIT
                                      BALTIMORE, MD 21201                   COMPTROLLER OF MARYLAND, P.O. BOX
                                                                            17161
                                                                            BALTIMORE, MD 21297-1161

COMPTROLLER OF THE STATE OF NEW       COMPUGROUP MEDICAL US                 COMPUTER ASSETS, INC
YORK                                  10715 RED RUN BLVD.                   P.O. BOX 1364
NEW YORK STATE OFFICE OF THE STATE    SUITE 101                             ESPANOLA, NM 87532
COMPTROLLER                           OWINGS MILL, MD 21117
OFFICE OF UNCLAIMED FUNDS
REMITTANCE CONTROL, 2ND FLOOR
110 STATE STREET
ALBANY, NY 12236

COMRADA, NORMA                        COMTE, SHARON                         CON MED CORPORATION
990 VAN BUREN STREET                  2029 N 6TH ST                         CHURCH STREET STATION
EUGENE, OR 97402                      DUPO, IL 62239                        P.O. BOX 6814
                                                                            NEW YORK, NY 10249-6814




CONANT, CATHY M.                      CONANT, MARTA                         CONAWAY KRISTIE N
1477 SUMMER WOOD LANE                 ADDRESS ON FILE                       591 COUNTY ROAD 107
UNIONTOWN, OH 44685                                                         FORT PAYNE, AL 35968




CONAWAY, ANDRE M.                     CONBOY, JAMIE                         CONBOY, JONATHAN
994 VINEYARD                          5316 JAMIESON AVENUE                  5316 JAMIESON AVE.
GURNEE, IL 60031                      ST. LOUIS, MO 63109                   ST. LOUIS, MO 63109-0000




CONCEPCION PADILLA                    CONCEPCION, DELGADO                   CONCEPCION, JOSEFINA
1804 S LIME STREET                    1068 COUNTY RD 81                     3299 STRATFORD CT
DEMING, NM 88030                      FORT PAYNE, AL 35967                  LAKE BLUFF, IL 60044




CONCHO COUNTY HOSPITAL DISTRICT       CONCORD MEDICAL GROUP OF TEXAS PLLC   CONCORD RADIOLOGY PLLC
614 EAKER STREET                      1602 AVENUE Q                         1602 AVENUE Q
ST. EDEN, TX 76837                    LUBBOCK, TX 79401-4732                LUBBOCK, TX 79401-4732
CONCORDANCE HEALTHCARE Case 20-10766-BLS     Doc 6
                                     CONDE, CHERRY       Filed 04/07/20   Page CONDE,
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                                                                                      1969
2675 SOLUTION CENTER                 602 E NATIONS                             794 MESQUITE SPRINGS DR
CHICAGO, IL 60677-2006               ALPINE, TX 79830                          MESQUITE, NV 89027




CONDELL MEDICAL STAFF                  CONDER-CALDWELL, LORI S.                CONDLEY, ANGELA
801 S MILWAUKEE AVE                    ADDRESS ON FILE                         88875 BAY BERRY LANE 21
CONDELL DRIVE                                                                  FLORENCE, OR 97439
LIBERTYVILLE, IL 60046-3199




CONDO, HOLLY                           CONDO, TERRY                            CONDON, EDWARD
P.O. BOX 468                           821 WOODS AVE                           608 GREENWOOD
MALVERN, OH 44644-0468                 LOCK HAVEN, PA 17745                    BENTON, IL 62812




CONDON, NANCY R.                       CONDUENT CARE MANAGEMENT, INC           CONDUENT PAYMENT INTERGRITY
ADDRESS ON FILE                        P.O. BOX 201322                         SOLUTIONS
                                       DALLAS, TX 75320-1322                   P.O. BOX 3009
                                                                               NAPERVILLE, IL 60566-7009




CONDUENT                               CONDUENT                                CONDUENT
HEALTHLINK                             P O BOX 30114                           P.O. BOX 371834
P.O. BOX 3008                          SALT LAKE CITY, UT 84130                PITTSBURGH, PA 15250-7821
NAPERVILLE, IL 60566




CONE INSTRUMENTS INC                   CONE INSTRUMENTS INC                    CONE INSTRUMENTS
DEPT 2465                              P.O. BOX 844360                         3261 MOMENTUM PLACE
P.O. BOX 11407                         BOSTON, MA 02284-4360                   CHICAGO, IL 60689-5332
BIRMINGHAM, AL 35246-2465




CONE INSTRUMENTS, LLC                  CONE INSTRUMENTS, LLC                   CONE, PAMELA
5201 NAIMAN PARKWAY                    DEPT 2465                               P.O. BOX 102
SOLON, OH 44139                        P.O. BOX 11407                          FORT BRIDGER, WY 82933-0102
                                       BIRMINGHAM, AL 35246-2465




CONERLY, KATIE                         CONEY, JOCELYN M.                       CONFEDERATED TRIBES
9647 JOHNSON PLACE                     3205 N US HIGHWAY 12                    P.O. BOX 3190
CROWN POINT, IN 46307                  SPRING GROVE, IL 60081                  COOS BAY, OR 97420




CONFER, BLAIR C .                      CONFER, DONALD                          CONFIRM BIOSCIENCES, INC
2330 MONUMENT ORVISTON RD              29 CARDINAL LN                          5663 BALBOA AVE 464
BEECH CREEK, PA 16822                  MILL HALL, PA 17751                     SAN DIEGO, CA 92111




CONFIRM BIOSCIENCES, INC               CONFORMIS INC                           CONGER, PHYLLIS
P.O. BOX 748827                        28 CROSBY DRIVE                         27 15TH ST NW
LOS ANGELES, CA 90074-8827             BEDFORD, MA 01730                       MASSILLON, OH 44647
CONGER, RICHARD           Case 20-10766-BLS   DocLISA
                                        CONGLETON, 6 Filed 04/07/20   Page CONGLETON-PEREZ,
                                                                           381 of 1969      JULIE
27 15TH ST NW                           2904 NC HWY 903N
MASSILLON, OH 44647                     STOKES, NC 27884-0000




CONGLETON-PEREZ, JULIE                  CONINE, EDITHA E.                  CONKLE, SPENCER
231 TRULL RD                            1165 VIOLET WAY                    401 SCENIC RD E
MARBLE, NC 28905                        GILROY, CA 95020                   FORT PAYNE, AL 35967-7416




CONKLIN, ALEXANDRIA                     CONKLIN, CHARLES R.                CONKLIN, JACKIE
868 W 740 S                             8334 LUTZ AVE NW                   1221 N 600 E
TOOELE, UT 84074                        MASSILLON, OH 44646                TOOELE, UT 84074




CONKLIN, JACQUELINE R.                  CONKLIN, JACQUELINE R.             CONKLIN, JANICE C.
80 RACETRACK RD P.O. BOX 527            ADDRESS ON FILE                    602 HUSTON ST
SILVER CITY, NM 88062                                                      LOCK HAVEN, PA 17745




CONKLIN, JOSEPH CHRISTOP                CONLEY, JOHN E.                    CONLEY, JUDITH A.
2766 DAYNA LANE                         ADDRESS ON FILE                    ADDRESS ON FILE
EUGENE, OR 97408




CONLEY, LEETA S.                        CONLEY, LEETA                      CONLEY, MELIDA E.
2788 TENNIS COURT RD                    2877 TENNIS COURT RD.              1309 PANNELL RD
BLUE RIDGE, GA 30513                    BLUE RIDGE, GA 30513               MONROE, GA 30655




CONLIN CHARLOTTE BARBARA                CONMED / LINVATEC                  CONMED CORP
1159 TYLER ST                           P.O. BOX 301231                    CHURCH STREET STATION
EUGENE, OR 97402                        DALLAS, TX 77216-1498              PO BOX 6814
                                                                           NEW YORK, NY 10249




CONMED CORPORATION                      CONMED LINVATEC CORP               CONMED LINVATEC CORPORATION
CHURCH STREET STATION                   P O BOX 301231                     P.O. BOX 301231
P.O. BOX 6814                           DALLAS, TX 75303-1231              DALLAS, TX 75303-1231
NEW YORK, NY 10249-6814




CONMED LINVATEC                         CONMED LINVATEC, INC,              CONN, BROOKLYN
P.O. BOX 301231                         POB 301231                         ADDRESS ON FILE
DALLAS, TX 75303-1231                   DALLAS, TX 75303-1231




CONNARD, MARIYAH A.                     CONNAWAY, REBECCA A.               CONNECT USA
238 S. VICTORY ST.                      306 COUNTY ROAD 750 N              428 ERIE ST S
WAUKEGAN, IL 60085                      NORRIS CITY, IL 62869              MASSILLON, OH 44646
CONNECT YOUR CARE LLC Case 20-10766-BLS     DocSURGICAL
                                    CONNECTED    6 Filed 04/07/20   Page CONNELL
                                                                         382 of 1969
                                                                                 CHRISTINE M
307 INTERNATIONAL CIRCLE            10151 UNIVERSITY BLVD.               1717 GLENWOOD LANSING RD
SUITE 200                           SUITE 255                            CHICAGO HEIGHTS, IL 60411
HUNT VALLEY, MD 21030               ORLANDO, FL 32817




CONNELL, MARK W.                    CONNELL, MARY                        CONNELL, NICOLE
87100 MUIRLAND DR                   4808 HUNT CLUB DR                    508 E BOSTON AVE
VENETA, OR 97487                    FLOWERY BRANCH, GA 30542             MONMOUTH, IL 61462




CONNELL, REBECCA A.                 CONNELL, TIFFANY                     CONNELLY, CRYSTAL
P.O. BOX 201                        ADDRESS ON FILE                      4238 PANNELL ROAD
WESTBROOK, TX 79565                                                      SOCIAL CIRCLE, GA 30025




CONNELLY, KATHY                     CONNELLY, NANCY                      CONNER & WINTERS LLP
941 HARMONY CHURCH ROAD             ADDRESS ON FILE                      4000 ONE WILLIAMS CENTER
MONROE, GA 30655                                                         TULSA, OK 74172-0148




CONNER & WINTERS LLP                CONNER BRENDA                        CONNER JEROLDS
555 17TH ST, STE 3200               3700 HWY 540                         409 WILLIFORD RD
DENVER, CO 80202                    JACKSON, KY 41339                    JONESBORO, IL 62952-0000




CONNER SARAH                        CONNER, ANNA M.                      CONNER, ASHLEY K
3760 S 8300 W                       ADDRESS ON FILE                      4151 PRISON CAMP RD LOT3
MAGNA, UT 84044                                                          WILLIAMSTON, NC 27892




CONNER, BRENDA A.                   CONNER, CANDI L.                     CONNER, COURTNEY
THE ESTATE OF 108 COLORADO RD       ADDRESS ON FILE                      ADDRESS ON FILE
BIG SPRING, TX 79720




CONNER, COURTNEY                    CONNER, DR. GEORGE                   CONNER, JOHN M.
ADDRESS ON FILE                     902 HOLIDAY DRIVE, SUITE 101         3201 GODARD TOWN RD.
                                    FORREST CITY, AR 72335               WASHINGTON, NC 27889




CONNER, MICHELLE                    CONNER, REBECCA                      CONNER, SARA
ADDRESS ON FILE                     3201 GODARD TOWN ROAD                130 LISK DRIVE
                                    WASHINGTON, NC 27889                 HAINESVILLE, IL 60030




CONNER, SHARON                      CONNER, TERRY JOE                    CONNERS, KRISTA
108 COLORADO RD                     307 N OAK ST                         2435 MOORESVILLE PIKE
BIG SPRING, TX 79720-0000           INA, IL 62846                        CULLEOKA, TN 38451
CONNERS, RYANN            Case 20-10766-BLS
                                        CONNIE ADoc 6
                                                 MOTE         Filed 04/07/20   Page CONNIE
                                                                                    383 ofBERGER
                                                                                           1969
1035 W POLK ST                           P.O. BOX 8014                              633 HAGENS ALY
CHICAGO, IL 60607                        AUGUSTA, GA 30905                          MESQUITE, NV 89027




CONNIE BROWN                             CONNIE DELABAR                             CONNIE DELABAR
446 OAK ST                               108 S OLIVE ST                             108 S OLIVE ST
GALESBURG, IL 61401                      P.O. BOX 481                               PO BOX 481
                                         TOULON, IL 61483                           TOULON, IL 61483




CONNIE DUTY                              CONNIE ECK                                 CONNIE ELLIOTT
285 CHURCH OF GOD RD                     214 W CHURCH ST                            910 W PIERCE 42
VIENNA, IL 62995-0000                    APT 1                                      CARLSBAD, NM 88220
                                         LOCK HAVEN, PA 17745




CONNIE L HAECKER                         CONNIE L HOWTON                            CONNIE PIEL
111 PARADISE PT                          ADDRESS ON FILE                            ADDRESS ON FILE
ONALASKA, TX 77360-5849




CONNIE SULLIVAN                          CONNIE, TRADER                             CONNOLLY, JACLYN
204 BLAINE ST                            352 N OAKWOOD AVE                          4910 BLAGRAVE RD
BIGGSVILLE, IL 61418                     WAUKEGAN, IL 60085                         BIG SPRING, TX 79720-0000




CONNOLLY, TAMMY A.                       CONNOR GRAY                                CONNOR, ELIZABETH A.
7737 W. GOLF DRIVE UNIT 105              130 COATSLAND DR                           ADDRESS ON FILE
PALOS HEIGHTS, IL 60463                  JACKSON, TN 38301




CONNOR, LAKEYIA D                        CONNOR, STEPHANIE                          CONNORS, KIMBERLY D.
107C DOE LANE                            135 SHERWOOD CT                            ADDRESS ON FILE
WINDSOR, NC 27983                        GREENVILLE, AL 36037-3601




CONNOUR, TAMMY L.                        CONOVER, ASHLEE                            CONOVER, DONNA L.
138 LAKEVIEW DR                          130 BRIDGEPORT DRIVE                       ADDRESS ON FILE
WATAGA, IL 61488                         SNEADS FERRY, NC 28460




CONOVER, JESSICA                         CONOVER, MILLIE L.                         CONRAD PRESS LTD
130 BRIDGEPORT DRIVE                     ADDRESS ON FILE                            120 N MAIN ST
SNEADS FERRY, NC 28460                                                              P.O. BOX 407
                                                                                    COLUMBIA, IL 62236




CONRAD, ALLEN                            CONRAD, DELINDA W.                         CONRAD, RACHEL E.
408 W ROBINSON                           1218 VENEER MILL RD                        ADDRESS ON FILE
BOX 278                                  GEORGIANA, AL 36033
WAYNE CITY, IL 62895
CONROY, TIMOTHY W.       Case 20-10766-BLS     Doc 6ARILDIA
                                       CONROYGOOT,      Filed 04/07/20     Page CONRY,
                                                                                384 ofMARIEL
                                                                                       1969K.
170 E FIELDSTONE CIR APT 2             P.O. BOX 30                              1811 ANNE LANE
OAK CREEK, WI 53154                    COBDEN, IL 62920                         MORRIS, IL 60450




CONSERV FS, INC                        CONSERVE                                 CONSERVE
P.O. BOX 775653                        P.O. BOX 97911                           P.O. BOX 979111
CHICAGO, IL 60677-5653                 ST LOUIS, MO 63197-9000                  ST. LOUIS, MO 63197-9000




CONSILIO HOLDINGS INC                  CONSILIUM STAFFING LLC                   CONSOCIATE
1828 L ST NW                           6225 NORTH STATE HWY 161, STE 400        2828 N MONROE STREET
STE 1070                               IRVING, TX 75038                         DECATUR, IL 62526
WASHINGTON, DC 20036




CONSOCIATE-CLAIM ADMIN                 CONSOLIDATE HEALTH PLAN                  CONSOLIDATED ELECTRIC MOT
P.O. BOX 1068                          2077 ROOSEVELT AVE                       CED CREDIT OFFICE
DECATUR, IL 62525                      SPRINGFIELD, MA 01104                    P.O. BOX 2820
                                                                                ISSAQUAH, WA 98027-0129




CONSOLIDATED ELECTRICAL                CONSOLIDATED ELECTRICAL                  CONSOLIDATED ELECTRICAL
DISTRIBUTORS INC                       DISTRIBUTORS, INC (CED)                  DISTRIBUTORS, INC
P O BOX 207072                         P.O. BOX 847106                          DBA: DAHL ELECTRIC SUPPLY
DALLAS, TX 75320-7072                  LOS ANGELES, CA 90084-7106               P.O. BOX 15367
                                                                                SCOTTSDALE, AZ 85267



CONSOLIDATED MED TECHNOLOGIES          CONSOLIDATED PATHOLOGY CONSULT           CONSOLIDATED PLASTICS
2505 ANTHEM VILLAGE DR                 28100 N. ASHLEY CIRCLE                   4700 PROSPER DRIVE
SUITE E157                             SUITE 106                                STOW, OH 44224
HENDERSON, NV 89052                    LIBERTYVILLE, IL 60048




CONSTABLE                              CONSTABLE, SHALYN                        CONSTANCE RILEY
55 CIVIC WAY                           11920 LOCHWOOD ST SW                     1166 N PRAIRIE ST
LAUGHLIN, NV 89029-1563                MASSILLON, OH 44647                      GALESBURG, IL 61401




CONSTANCE SUMMERS                      CONSTANCE WEAVER                         CONSTANCE WILLIAMSON
547 N SOANGETAHA RD                    4621 WEBSTER STREET                      8 MATTERHORN
GALESBURG, IL 61401                    DAYTON, OH 45414                         GLEN CARBON, IL 62034




CONSTANT CONTACT INC                   CONSTANT, JUDITHANN                      CONSTANTINO LAW OFFICE PC
1601 TRAPELE ROAD 3RD FL               11720 S THROOP                           8537 S REDWOOD RD
WALTHAM, MA 02451                      CHICAGO, IL 60643                        STE D
                                                                                WEST JORDAN, UT 84088




CONSTANTINO, RONALD                    CONSTELLATION ENERGY SERVICES INC        CONSTELLATION NEW ENERGY GAS DIVISI
230 B TYSON AVE 391                    1716 LAWRENCE DR                         P.O. BOX 4640
PARIS, TN 38242                        DE PERE, WI 54115                        CAROL STREAM, IL 60197-4640
CONSTELLATION NEW ENERGY Case
                            GAS20-10766-BLS     Doc 6 NEW
                                        CONSTELLATION    Filed 04/07/20
                                                            ENERGY INC    Page CONSTELLATION
                                                                               385 of 1969 NEW ENERGY, LLC
DIVISION                                750 E PRATT ST                         1310 POINT STREET, 12TH FLOOR
P.O. BOX 4640                           BALTIMORE, MD 21202                    ATTN: STRATEGIC CREDIT SOLUTIONS
CAROL STREAM, IL 60197-4640                                                    BALTIMORE, MD 21231




CONSTELLATION NEWENERGY-GAS            CONSTITUTION LIFE CO                    CONSTITUTION LIFE INS CO
DIVISION LLC                           P.O. BOX 130                            P.O. BOX 130
P.O. BOX 5473                          PENSACOLA, FL 32591-0130                PENSACOLA, FL 32591-0130
CAROL STREAM, IL 60197-5473




CONSTITUTION LIFE INS CO               CONSTRUCTION NETWORK INC                CONSTRUCTION SPECIALTIES INC
P.O. BOX 230                           6009 DALTON FARMER DR                   3 WERNER WAY
PENSACOLA, FL 32591-0130               JONESBORO, AR 72403                     LEBANON, NJ 08833




CONSTRUCTION SPECIALTIES INC           CONSTRUCTION SPECIALTIES INC            CONSULATE HEALTHCARE
FILE 41195                             P O BOX 415278                          990 MEDICAL RD
LOS ANGELES, CA 90074-1195             BOSTON, MA 02241-5278                   ATTN: ACCOUNTING
                                                                               MILLERBURG, PA 17061




CONSUMER COLLECTION MNGMNT             CONSUMERINFO.COM INC                    CONTAPAY, TREY H.
COSTA LAW OFFICE, PC                   EXPERIAN HEALTH INC                     ADDRESS ON FILE
2001 BROADWAY                          P.O. BOX 886133
MT. VERNON, IL 62864                   LOS ANGELES, CA 90088-6133




CONTE, NATALIE                         CONTECH-MSI CO                          CONTEMPLATIVE SISTERS OF THE
576 SANTA MARGUARITA DR.               P.O. BOX 1295                           GOOD SHEPHERD
APTOS, CA 95003                        BEDFORD PARK, IL 60499-1295             7660 NATURAL BRIDGE ROAD
                                                                               ST LOUIS, MO 63121




CONTEMPORARY CONCEPTS                  CONTEMPORARY CONCEPTS, INC              CONTEMPORARY LIFE SAVING
P.O. BOX 669084                        P.O. BOX 890457                         TRAINING LLC
CHAROLOTTE N.C.                        CHARLOTTE, NC 28289-0457                1 S CHURCH STREET SUITE 503
CHARLOTTE, NC 28266-9084                                                       BELLEVILLE, IL 62220-2237




CONTENT CREATIVE, LLC                  CONTI, RUTH                             CONTINENTAL BENEFITS
P.O. BOX 1747                          3706 SUTHERLAND RD                      P.O. BOX 3610
BLUE RIDGE, GA 30513                   SHAKER HEIGHTS, OH 44122                BRANDON, FL 33509




CONTINENTAL CASUALTY COMPANY DBA       CONTINENTAL CASUALTY COMPANY            CONTINENTAL LIFE INSURANCE COMPANY
CNA                                    333 SOUTH WABASH AVE                    OF BRENTWOOD TN
P.O. BOX 790094                        CHICAGO, IL 60604                       C/O ASSET PROTECTION UNIT, INC
ST LOUIS, MO 63179-0094                                                        P.O. BOX 30969
                                                                               AMARILLO, TX 79120



CONTINENTAL METAL PRODUCTS CO          CONTINENTAL TIRE THE AMERICAS           CONTINUANT INC
35 OLYMPIA AVENUE                      1830 MACMILLAN PARK DRIVE               5050 20TH STREET EAST
WOBURN, MA 01801                       FORT MILL, SC 29707                     FIFE, WA 98424
CONTINUANT, INC          Case 20-10766-BLS    DocINC.
                                       CONTINUANT, 6 Filed 04/07/20      Page CONTRA
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                                                                                     1969COUNTY
5050 20TH ST EAST                      5050 20TH ST. EAST                    625 COURT STREET
FIFE, WA 98424                         FIFE, WA 98424                        MARTINEZ, CA 84553




CONTRACT DECOR INC.                    CONTRACT ENGINEERING MANAGEMENT       CONTRACT ENGINEERING MANAGEMENT,
72-184 NORTH SHORE ST.                 LLC                                   LLC
THOUSAND PALMS, CA 92276               P.O. BOX 159320                       PO BOX 159320
                                       NASHVILLE, TN 37215                   NASHVILLE, TN 37215




CONTRARIAN CAPITAL MGMT                CONTRERAS, ALBA                       CONTRERAS, BARBARA A.
CONTRARIAN FUNDS LIMITED LIABILITY     ADDRESS ON FILE                       5824 LYNWOOD DR
COMPANY                                                                      OAK LAWN, IL 60453




CONTRERAS, CYNTHIA                     CONTRERAS, DARLA                      CONTRERAS, FELIPE
ADDRESS ON FILE                        996 TROUT GULCH RD                    3210 S COUNTY RD 1210
                                       APTOS, CA 95003                       MIDLAND, TX 79706-0000




CONTRERAS, GABRIELA                    CONTRERAS, ILIANA                     CONTRERAS, MAURA
1527 N EAST END AVE                    17536 WILLIAM STREET                  470 PINI RD.
ROUND LAKE BEACH, IL 60073             LANSING, IL 60438                     ROYAL OAKS, CA 95076




CONTRERAS, ORIANA                      CONTRERAS, ROBERTO                    CONTRERAS, ROSA E.
1900 MARTIN LUTHER KING BLVD APT 215   212 NORTH AVE.                        1208 W SETH ST
BIG SPRING, TX 79720                   APTOS, CA 95003                       ALPINE, TX 79830




CONTROL & EQUIPMENT CO                 CONTROL COMPANY                       CONTROL COMPANY
2001 EAST YANDELL                      12554 OLD GALVESTON RD B 230          12554 OLD GALVESTON RD B 230
EL PASO, TX 79903                      WEBSTER, TX 77590                     WEBSTER, TX 77598




CONTROL COMPANY                        CONTROL COMPANY                       CONTROL CONSULTANTS
P.O. BOX 204348                        P.O. BOX 7400 7377                    & SERVICES, INC
DALLAS, TX 75320-4348                  CHICAGO, IL 60674-7377                P.O. BOX 6705
                                                                             LUBBOCK, TX 79493




CONTROL SOLUTIONS, INC.                CONTROLLED ENVIROMENT CERT            CONTROLLED ENVIRON CERT SERVICES INC
35851 INDUSTRIAL WAY, STE D            SERVICES, INC                         171 CONTAINER PLACE
ST. HELENS, OR 97051                   5960 HEISLEY RD                       CINCINNATI, OH 45246
                                       MENTOR, OH 44060




CONTROLLED ENVIRONMENT                 CONVENTUS INTER-INSURANCE EXCHANGE    CONVENTUS ORTHOPAEDICS, INC.
CERTIFICATON SERVICES, INC.            900 ROUTE 9 NORTH                     10200 73RD AVE. N
P.O. BOX 676548                        SUITE 503                             SUITE 122
DALLAS, TX 75267-6548                  WOODBRIDGE, NJ 07095                  MAPLE GROVE, MN 55369
                     Case 20-10766-BLS
CONVERGENT LASER TECHNOLOGIES              Doc 6 INCFiled 04/07/20
                                   CONVERGEONE,                      Page CONVERGINT
                                                                          387 of 1969TECHNOLOGIES LLC
XINTEC CORPORATION                 NW 5806                                35257 EAGLE WAY
1660 SOUTH LOOP RD                 P.O. BOX 1450                          CHICAGO, IL 60678-1352
ALAMEDA, CA 94502                  MINNEAPOLIS, MN 55485-5806




CONWAY, BRIAN                       CONWAY, CHARRISSME L.                 CONWAY, JEWELL L.
911 LIGHTHOUSE AVE APT 2            156 BRAINARD ST                       P.O. BOX 336
PACIFIC GROVE, CA 93950             MARIANNA, AR 72360                    FT DEPOSIT, AL 36032




CONWAY, ROBERTA S.                  CONZEN, AMANDA                        COOGAN ENTERPRISES LLC
88 MAR MONTE AVENUE                 2039 RICHVILLE DR SE                  SAFETY RESTRAINT CHAIR INC
LA SELVA BEACH, CA 95076            MASSILLON, OH 44646-9430              2511 N 159TH ST
                                                                          OMAHA, NE 68116




COOK ANNAMARIE EMILIA               COOK BILLY C                          COOK BRENTON
13853 CORINTH ROAD                  2908 COUNTY RD 358                    2711 IDAHO AVE
JOHNSTON CITY, IL 62951             PISGAH, AL 35765-7266                 GRANITE CITY, IL 62040




COOK BRITTANY D                     COOK COUNTY MEDICAL                   COOK COUNTY TREASURER
1058 ENCLAVE BLVD                   2121 W HARRISON ST                    118 N CLARK ST, ROOM 112
EDWARDSVILLE, IL 62025              CHICAGO, IL 60612                     CHICAGO, IL 60602




COOK COUNTY TREASURER               COOK COUNTY TREASURERS OFFICE         COOK FOR ROBERT COOK, BRENDA
P.O. BOX 805438                     118 N CLARK ST, ROOM 112              2295 OLD DARDEN CHESTERFIELD RD
CHICAGO, IL 60680-4116              CHICAGO, IL 60602                     LEXINGTON, TN 38351




COOK GROUP INC                      COOK INC                              COOK LAW OFFICE PLLC, THE
COOK MEDICAL LLC                    22988 NETWORK PLACE                   P.O. BOX 286
22988 NETWORK PL                    CHICAGO, IL 60673-1229                GOODLETTSVILLE, TN 37070
CHICAGO, IL 60673-1229




COOK MARILYN H                      COOK MEDICAL INC                      COOK MEDICAL INC.
ADDRESS ON FILE                     22988 NETWORK PL                      22988 NETWORK PLACE
                                    CHICAGO, IL 60673                     CHICAGO, IL 60673-1229




COOK MEDICAL INCORPORATED           COOK NICOLE M                         COOK SEAN M
22988 NETWORK PLACE                 13853 CORINTH RD                      ADDRESS ON FILE
CHICAGO, IL 60673-1229              JOHNSTON CITY, IL 62951




COOK SECURITY GROUP                 COOK SECURITY GROUP                   COOK SYSTEMS INTERNATIONAL INC
9225 NE CASCADES PARKWAY            9225 NE CASCADES PKWY                 6000 POPLAR AVE
PORTLAND, OR 97220                  PORTLAND, OR 97220                    STE 100
                                                                          MEMPHIS, TN 38119
COOK, AARON K.            Case 20-10766-BLS    Doc 6 M.
                                        COOK, ALEXANDRA Filed 04/07/20   Page COOK,
                                                                              388 of  1969
                                                                                    ALLISON
2513 WEST CRIMSON CT                     ADDRESS ON FILE                      ADDRESS ON FILE
TAYLORSVILLE, UT 84129




COOK, AMBER                              COOK, ANDREA                         COOK, BEATRICE M.
1805 NORTH DAWN DR.                      716 SIOUX DRIVE                      33105 SANTIAGO RD SPC 153
MARION, IL 62959                         EVANSTON, WY 82930                   ACTON, CA 93510




COOK, BRENDA S.                          COOK, CHRISTY                        COOK, CLAYTON
ADDRESS ON FILE                          4021 SQUARE DEAL RD                  253 TOMAHAWK DR.
                                         MULKEYTOWN, IL 62865                 EVANSTON, WY 82930




COOK, CRYSTAL                            COOK, DANA R.                        COOK, DENNIS
ADDRESS ON FILE                          ADDRESS ON FILE                      6825 ALICETON
                                                                              ST. LOUIS, MO 63123




COOK, DORA                               COOK, DOROTHY                        COOK, JAMES E.
321 COBBLESTONE                          1205 HOWSE CHURCH ROAD               641 GEORGE WALLACE DR E
TROY, IL 62294                           ATWOOD, TN 38220-6037                RAINSVILLE, AL 35986




COOK, JASON E.                           COOK, JEROME                         COOK, JOELLE
ADDRESS ON FILE                          14238 MARSHIELD                      330 7TH ST
                                         DIXMOOR, IL 60426                    EVANSTON, WY 82930-3508




COOK, JOSEPH A.                          COOK, JOSEPH S.                      COOK, JUNE
1764 BEN FULTON RD NW                    ADDRESS ON FILE                      231 STARR DIAMOND CT
NORTH LAWRENCE, OH 44666                                                      LAS VEGAS, NV 89183




COOK, JUSTIN K.                          COOK, KATHRYN J.                     COOK, KELLY
130 PLANTATION COVE                      238 KEENELAND CT                     ADDRESS ON FILE
MCKENZIE, TN 38201                       COLLINSVILLE, IL 62234




COOK, KENTON W.                          COOK, KRISTY                         COOK, LATITIA
18824 E. FAIRFIELD ROAD                  133 TURTLE CREEK                     P.O. BOX 2117
MT. VERNON, IL 62864                     TROY, IL 62294                       OVERTON, NV 89040




COOK, LESLIE                             COOK, LISA J.                        COOK, LUISA
61 HUNTINGDON ST                         ADDRESS ON FILE                      295 RIVER RIDGE RD
LEXINGTON, TN 38351                                                           BLUE RIDGE, GA 30513
COOK, MARNI C.        Case 20-10766-BLS     Doc 6 L.Filed 04/07/20
                                    COOK, MARSHALL                   Page COOK,
                                                                          389 of  1969J.
                                                                                MAXINE
1416 CORALBERRY COURT               4521 E PEPPER TREE LN                 ADDRESS ON FILE
SPRINGFIELD, IL 62712               PARADISE VALLEY, AZ 85253




COOK, NANCY M.                      COOK, NIGEL                           COOK, PENNY
2125 CARMEL BLVD                    910 SHILOH BLVD                       ADDRESS ON FILE
ZION, IL 60099                      ZION, IL 60099




COOK, ROBERTA L.                    COOK, SARAH E.                        COOK, SHYANN
1929 NARANCA AVE.                   1837 NORTH BERRA BLVD C102            14015 HWY 150 SOUTH
EL CAJON, CA 92019                  TOOELE, UT 84074                      EVANSTON, WY 82930




COOK, STEPHANIE                     COOK, SUSAN M.                        COOK, VALERIE
901 OZORA ROAD                      ADDRESS ON FILE                       110 COUNTY RD
LAWRENCVILLE, GA 30045                                                    EVANSTON, WY 82930




COOKE COMMUNICATIONS NORTH          COOKE, JAMES AND HOBSON INC           COOKE, KIMBERLEY
CAROLINA, LLC                       3810 ACADEMY PKWY S. NE               3051 BURRIS AVENUE
CIRCULATION DEPARTMENT              ALBUQUERQUE, NM 87109                 WAUKEGAN, IL 60087
P.O. BOX 1967
GREENVILLE, NC 27835-1967



COOKE, STEPHANIE A                  COOKE, VICTORIA                       COOKIE JAR, THE
440 PHILLIPS RD 253                 141 COUNTY ROAD 603                   113 S SILVER
LEXA, AR 72355                      WYNNE, AR 72396                       DEMING, NM 88030




COOKS AND COMPANY                   COOKS PEST CONTROL ALBERTVILLE        COOKSEY MEDICAL PRACTICE LLP
367 E TOMPKINS STREET               P.O. BOX 128                          ROBBIE J COOKSEY
GALESBURG, IL 61401                 ALBERTVILLE, AL 35950                 5549 WAGON WHEEL AVE
                                                                          ABILENE, TX 79606




COOL, PATRICIA J.                   COOLEY JOHANNA                        COOLEY JR., ROBERT L.
34348 N WHITE CLOVER CT             110 HENERY HICKS RD                   723 3RD STREET SE
ROUND LAKE, IL 60073                HEROD, IL 62947                       MASSILLON, OH 44646




COOLEY PUBLIC STRATEGIES LLC        COOLEY RANDY                          COOLEY, BREEZY L.
223 ROSA L PARKS AVE                2503 COLONY AVE                       P.O. BOX 1076
STE 402                             LINDENHURST, IL 60046                 MOUNTAIN VIEW, WY 82939
NASHVILLE, TN 37203




COOLEY, ROUMANIA                    COOLEY, SHERI K.                      COOLSHIRT SYSTEMS LLC
3104 173RD ST.                      ADDRESS ON FILE                       170 ANDREW DRIVE
HAZEL CREST, IL 60429                                                     STOOKBRIDGE, GA 30281
COOLSHIRT SYSTEMS LLC Case 20-10766-BLS
                                    COOMBS,Doc   6 Filed 04/07/20
                                             YVONNE                 Page COOMER,
                                                                         390 of 1969
                                                                                 CHRYSTAL M.
170 ANDREW DRIVE                    6980 LAKEVIEW DR.                    ADDRESS ON FILE
STOOKBRIDGE, GA 30281-0000          SALINAS, CA 93907




COOMER, SARAH L.                    COON, KELLI J.                       COON, MARY
540 JETTS DR                        ADDRESS ON FILE                      1608 S PLATINUM
JACKSON, KY 41339                                                        DEMING, NM 88030




COONCE, APRIL                       COONS, LESLIE                        COOP, ELIZABETH
175 CREAL SPRINGS RD                934 E CHURCH ST                      8883 RIDGEVIEW CREST DRIVE
TUNNEL HILL, IL 62972               MONROE, GA 30655-2422                SPARTA, IL 62286




COOPER & LIEFER LAW OFFICE          COOPER GLASS COMPANY                 COOPER JR., ALAN J.
P.O. BOX 99                         2303 N WASHINGTON                    ADDRESS ON FILE
RED BUD, IL 62278                   FORREST CITY, AR 72335




COOPER LORI A                       COOPER SR., SHAUNN L.                COOPER SURGICAL
285 74TH ST                         400 TODD STREET                      P.O. BOX 712280
SPRINGFIELD, OR 97478               PARK FOREST, IL 60466                CINCINNATI, OH 45271-2280




COOPER SURGICAL                     COOPER SURGICAL, INC.                COOPER SURGICAL, INC.
PO BOX 712280                       P.O. BOX 712280                      POB 712280
CINCINNATI, OH 45271-2280           CINCINNATI, OH 45271-2280            CINCINNATI, OH 45271-2280




COOPER, ADRIANA                     COOPER, AMANDA K.                    COOPER, AMY R.
ADDRESS ON FILE                     230 PARK RD                          4951 ROBIN DRIVE
                                    AMSTERDAM, OH 43903                  UNION CITY, TN 38261




COOPER, ANDREA                      COOPER, ANNIE                        COOPER, ASHLEY
1118 SFC 102                        ADDRESS ON FILE                      6288 COUNTY ROAD 57
PALESTINE, AR 72372                                                      DAWSON, AL 35963




COOPER, BAILEY                      COOPER, BEN                          COOPER, CATHERINE M.
2252 COUNTY ROAD 134 LOT 12         307 THOMAS RD                        4378 BIVERTON DRIVE
HENAGAR, AL 35978                   LEXINGTON, TN 38351                  SWANSEA, IL 62226




COOPER, CATHERINE                   COOPER, CATHERINE                    COOPER, CATHY
ADDRESS ON FILE                     ADDRESS ON FILE                      40 MOORELAND DR
                                                                         GRANITE CITY, IL 62040
COOPER, DIANA D.            Case 20-10766-BLS
                                          COOPER,Doc
                                                 DIANE6       Filed 04/07/20   Page COOPER,
                                                                                    391 of 1969
                                                                                            DORIS FAYE WEST
ADDRESS ON FILE                            211 OAK STREET                           361 COUNTY RD 141
                                           WATERLOO, IL 62298                       FLAT ROCK, AL 35966-8829




COOPER, DOROTHY                            COOPER, GILBERT H.                       COOPER, GLADYS
2504 JOSHUA DR                             195 COUNTY RD 462                        433 DENMARK JACKSON RD
UNIT C                                     GERALDINE, AL 35974-0000                 DENMARK, TN 38391
BIG SPRING, TX 79720-0000




COOPER, GRACEY                             COOPER, JAMES E.                         COOPER, JAMIE L.
12813 S LOWE                               3314 RENEE DRIVE                         3017 OASIS RD
CHICAGO, IL 60628                          EVANSVILLE, IN 47711                     BIG SPRING, TX 79720




COOPER, JARED ROSS                         COOPER, JOANNIE                          COOPER, JULIA
2109 RIDGE STREET                          201 PARK AVE                             3500 SHERIDAN RD APT 112-1
ELDORADO, IL 62930-2156                    PLYMOUTH, NC 27962                       ZION, IL 60099




COOPER, JULIE                              COOPER, KELLDAN M.                       COOPER, KIMBERLY
300 AUTUMN RIDGE                           ADDRESS ON FILE                          3219 US HIGHWAY 13N
COLLINSVILLE, IL 62234                                                              AHOSKIE, NC 27910




COOPER, LACEY A.                           COOPER, LATRICE N.                       COOPER, MATTHEW E.
ADDRESS ON FILE                            20 IVANHOE CT                            1085 W 2150 S
                                           BELLEVILLE, IL 62226                     SYRACUSE, UT 84075




COOPER, MATTHEW                            COOPER, MCKENZIE                         COOPER, MEAGAN
496 OAKRIDGE DRIVE                         ADDRESS ON FILE                          7370 HIGHWAY 190
TOOELE, UT 84074                                                                    MCKENZIE, TN 38201




COOPER, PATRICIA A.                        COOPER, PATRICIA K.                      COOPER, RANDY M.
ADDRESS ON FILE                            11705 HENRY PHIPPS DRIVE                 ADDRESS ON FILE
                                           EL PASO, TX 79936




COOPER, SINDY                              COOPER, SUE A.                           COOPER, TARA C.
400 TODD ST                                2520 E STREET                            18905 COUNTY ROAD 89
PARK FOREST, IL 60466                      SPRINGFIELD, OR 97477                    MENTONE, AL 35984




COOPER, TASHA                              COOPER, TERRY H.                         COOPER, TYRONDA
1509 S SILVER AVE                          309 BRADFORD CT                          116 BRENTWOOD BLVD
DEMING, NM 88030                           AUBURN, GA 30011                         MONORE, GA 30655
COOPER, WILMA RUTH        Case 20-10766-BLS   Doc 6
                                        COOPERATIVE     Filed CENTER
                                                    EXTENSION 04/07/20   Page COOPERATIVE
                                                                              392 of 1969OF AMERICAN PHYSICIANS
2017 CLARK AVE                           249 INUDSTRIAL ROAD                  INC
GRANITE CITY, IL 62040                   ATTN: CARYN MCCREARY                 333 S HOPE ST
                                         LOUISA, KY 41230                     8TH FLR
                                                                              LOS ANGELES, CA 90071



COOPER-ATKINS CORPORATION                COOPER-ATKINS CORPORATION            COOPERRAY ANDREW P
29193 NETWORK PLACE                      33 REEDS GAP ROAD                    503 E BROWNING ST APT B
CHICAGO, IL 60673                        MIDDLEFIELD, CT 06455-0450           MARION, IL 62959




COOPERSURGICAL INC                       COOPRIDER RAMONA                     CO-ORDINATED BENEFIT PLANS
P.O. BOX 712280                          3324 COLGATE AVE                     FEDERAL INSURANCE COMPANY
CINCINNATI, OH 45271                     ZION, IL 60099                       P.O. BOX 26222
                                                                              TAMPA, FL 33623




COORDINATED YOUTH & HUMAN SERV           COOTS KAYLA C                        COOTS MOLLY
2016 MADISON AVE                         1636 OLD PARKERS PLACE RD            P.O. BOX 1352
GRANITE CITY, IL 62040                   ELLIJAY, GA 30536                    VIPER, KY 41774




COOTS, MICHAEL                           COOTS, MISTY                         COOTS, REBECCA M.
2880 ROUTE 166                           4762 COUNTY ROAD 43                  45 ROAD 931
CREAL SPRINGS, IL 62922                  FYFFE, AL 35971                      FORT PAYNE, AL 35968




COPE PLASTICS                            COPE, CARLA                          COPE, JOHN
5033 HUMBERT RD                          61 SEMINARY ROAD                     1375 COUNTRY CLUB
ALTON, IL 62002                          BRIGHTON, IL 62012                   GREENVILLE, IL 62246




COPE, RACHEL                             COPELAND, CASSANDRA                  COPELAND, TERRA J.
39 HOLLY HILL DR                         ADDRESS ON FILE                      ADDRESS ON FILE
ALTON, IL 62002




COPELAND, VIVIAN W.                      COPHER, ASHLEY N.                    COPHER, ASHLEY
2575 RACKLEY RD                          504 CANEY AVE                        2027 PINE GROVE RD
ELLIJAY, GA 30536-8903                   SALT LICK, KY 40371                  BEATTYVILLE, KY 41311




COPIAH COUNTY MEDICAL CENTER             COPIANO, BERNADETTE M.               COPIER GUY, THE
27190 HIGHWAY 28                         ADDRESS ON FILE                      P.O. BOX 16351
P.O. BOX 889                                                                  LAS CRUCES, NM 88004
HAZLEHURST, MS 39083




COPLEY HOSPITAL                          COPLEY, AMANDA J.                    COPLEY, CRISTY K.
528 WASHINGTON AVENUE                    406 MILL CREEK ROAD                  ADDRESS ON FILE
MORRISVILLE, VT 05661-9209               FORT GAY, WV 25514
COPLEY, DEBRA K.        Case 20-10766-BLS
                                      COPLEY, Doc 6 K. Filed 04/07/20
                                              DEBRA                     Page COPLEY,
                                                                             393 of JOHN
                                                                                     1969RAY
ADDRESS ON FILE                         ADDRESS ON FILE                      84 RIGHT ROE CREEK ROAD
                                                                             CATLETTSBURG, KY 41129




COPLEY, THOMAS H.                       COPPER BASIN TOUCHDOWN CLUB          COPPER QUEEN COMMUNITY HOSPITAL
ADDRESS ON FILE                         P.O. BOX 162                         101 COLE AVENUE
                                        COPPERHILL, TN 37317                 BISBEE, AZ 85603




COPPERSMITH BROCKELMAN PLC              COPPERSMITH ROBERT R                 COPPERSMITH, KIMBERLY
2800 N CENTRAL AVE                      1509 MCCOY DR                        1509 MCCOY DRIVE
STE 1900                                EDWARDSVILLE, IL 62025               EDWARDSVILLE, IL 62025
PHOENIX, AZ 85004-1009




COPPERSTONE, ALAN                       COPPERSTONE, ALAN                    COPPLE, AMANDA
ADDRESS ON FILE                         ADDRESS ON FILE                      8820 BALDWIN RD
                                                                             BALDWIN, IL 62217-1604




COPPLE, JANICE                          COPPLES LANDSCAPING & MAINT          COPPOTELLI, DEENA
561 PALOS VERDES CR                     10320 N REYNOLDS LANE                1 RIDGEFIELD DRIVE
MESQUITE, NV 89027                      MT. VERNON, IL 62864                 TROY, IL 62294




COPPS, JEAN                             COPS, CHELSE M.                      COPY RITE CORPORATION
11701 S RIDGELAND AVE, TRLR 185         ADDRESS ON FILE                      1146 MOHAWK BLVD
WORTH, IL 60482                                                              SPRINGFIELD, OR 97477




COPY RITE PRINTING                      COPY SOLUTIONS, INC                  CORA EVANS
1146 MOHAWK BLVD                        4091 MALLORY LANE - SUITE 128        C/O HAVEN SKILLED REHAB & NURSING
SPRINGFIELD, OR 97477                   FRANKLIN, TN 37067                   24 CREE DR
                                                                             LOCK HAVEN, PA 17745




CORAL RICH                              CORAM DEO CLASSICAL SCHOOL           CORBARI, GARRETT
2109 BROAD AVE NW                       1600 SALEM ROAD                      ADDRESS ON FILE
CANTON, OH 44708                        MT. VERNON, IL 62864




CORBEN, PATRICIA                        CORBERT, LUTHER                      CORBETT, KELLY L.
211 S SCOTT ST                          3637 FAIRVIEW RD                     23165 SCHULTZ LANE
P.O. BOX 503                            ANDREWS, NC 28901                    STEGER, IL 60475
ALEXIS, IL 61412




CORBETT, LISA                           CORBETT, MARY E.                     CORBETT, MICHAEL S.
1605 W CENTER ST                        4176 S WALLACE                       ADDRESS ON FILE
EVANSTON, WY 82930                      CHICAGO, IL 60609
                       Case
CORBIN AUDIOLOGY & HEARING AID20-10766-BLS
                                       CORBIN, Doc
                                               CHRIS6A.    Filed 04/07/20   Page CORBIN,
                                                                                 394 ofHEATHER
                                                                                         1969
CENTER LLC                             24883 HORN RD                             2964 MOTHERSHED RD
1214 LINE ST                           ELMIRA, OR 97437                          HIGHLAND HOME, AL 36041
STE 4
SUNBURY, PA 17801



CORBIN, VICTORIA                        CORCO ALEXANDER M                        CORCORAN, GREGORY
38282 N HAMILTON CIRCLE                 2404 STAR CREEK RD                       416 ALPINE DR
SPRING GROVE, IL 60081                  MORGANTON, GA 30560                      ROUND LAKE, IL 60073




CORCORAN, SHAWN                         CORDELIA A FENSTERMACHER                 CORDELL, LARRY B.
843 EVERGREEN DR                        479 VALLEY DRIVE RD                      1764 COUNTY RD 162
MONROE, GA 30655                        LYKENS, PA 17048                         HENAGAR, AL 35978-7019




CORDER, CATHY                           CORDER, PATRICK                          CORDERO, DIONISIO
P.O. BOX 114                            948 NORMAN ST                            2515 CROWN AVE
AUBREY, AR 72311                        WEST HELENA, AR 72390                    ODESSA, TX 79761-0000




CORDERO, GLADYS                         CORDLE, ALANY D.                         CORDLE, RONALD
12228 EUGENE RD                         ADDRESS ON FILE                          1321 OLD BEECH ROAD
VICTORVILLE, CA 92392                                                            LOUISA, KY 41230




CORDLE, TAMMY L.                        CORDON, MYNOR                            CORDOVA ISAAC
306 N SNAPP ST                          ADDRESS ON FILE                          P.O. BOX 521
ABINGDON, IL 61410                                                               SPRINGER, NM 87747




CORDOVA, ADALBERTO                      CORDOVA, ANGELICA A.                     CORDOVA, DEAVIAN
705 S GRETTA AVE                        1500 W HICKORY                           263 SUNNYHILLS DR
WAUKEGAN, IL 60085                      DEMING, NM 88030                         WATSONVILLE, CA 95076




CORDOVA, HOPE B.                        CORDOVA, JESSICA                         CORDOVA, LORENZO
ADDRESS ON FILE                         P.O. BOX 21                              23 BLISS TER
                                        BUENA VISTA, NM 87712                    COLLINSVILLE, IL 62234




CORDOVA, MARISSA M.                     CORDOVA, RAMZI                           CORDOVA, SAMANTHA J.
56 COUNTY ROAD C-011 P.O. BOX 41        1608 PALOMA                              104 LEGION DRIVE P.O. BOX 811
BUENA VISTA, NM 87712                   BARSTOW, CA 92311                        LAS VEGAS, NM 87701




CORDOVA, TRACIE                         CORDOVA, TRACIE                          CORDOVA-ARREDONDO, NORMA
26748 LAKEVIEW DRIVE 3541               P.O. BOX 3541 26748 LAKEVIEW DR.         33 MINTO RD 205
HELENDALE, CA 92342                     HELENDALE, CA 92342                      WATSONVILLE, CA 95076
CORE MEDICAL GROUP       Case 20-10766-BLS     Doc 6
                                       CORE, JAMIE         Filed 04/07/20   Page COREBTS,
                                                                                 395 of 1969
                                                                                          INC
ATTN: ACCOUNTS RECEIVABLE              ADDRESS ON FILE                           201 WEST 103RD STREET
3000 GOFFS FALLS RD, SUITE 101                                                   SUITE 240
MANCHESTER, NH 03103                                                             INDIANAPOLIS, IN 46290




COREPATH LABORATORIES, PA              CORESLAB HOLDINGS US INC                  CORESOURCE
2020 BABCOCK RD. STE 30                850 N PARK ROAD                           P.O. BOX 25946
SAN ANTONIO, TX 78229                  WYOMISSING, PA 19610-6011                 OVERLAND PARK, KS 66225




CORESOURCE                             CORESOURCE                                CORESOURCE
P.O. BOX 25946                         P.O. BOX 2920                             P.O. BOX 419104
OVERLAND PARK, KS 66225-5946           CLINTON, IA 52733-2920                    ST. LOUIS, MO 63141




CORESOURCE                             CORESOURCE                                COREY HOLLMANN
P.O. BOX 83301                         PO BOX 2920                               231 PINE ST
LANCASTER, PA 17608                    CLINTON, IA 52733                         MELBOURNE, FL 32904-0000




COREY KEITH                            COREY KIEFER                              COREY, ALYSHA C.
4205 RODEN DRIVE NE                    1055 MIAMI AVE NW                         5470 SANDCUT RD
FORT PAYNE, AL 35967                   MASSILLON, OH 44647-9654                  GEORGIANA, AL 36033




COREY, TERESA S.                       COREY, TERESA                             CORIACI, FRANK
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




CORIN USA LTD                          CORIN USA                                 CORK HOWARD CONSTRUCTION COMPANY
12750 CITRUS PARK LN STE 120           480 PARAMOUNT DRIVE                       2121 NEW MARKET PARKWAY, SUITE 118
TAMPA, FL 33625                        RAYNHAM, MA 02767-0000                    MARIETTA, GA 30067




CORLESS, JANICE M.                     CORLEW, TAMERIA                           CORLEY, SCHELLY
371 RANCH ROAD                         608 MAYWOOD DR                            ADDRESS ON FILE
GRANTSVILLE, UT 84029                  LEXINGTON, TN 38351




CORMIER, KRISTI N.                     CORN, DEANN M.                            CORN, DEANN M.
614 NORTH 640 WEST                     380 MOORE RD                              ADDRESS ON FILE
TOOELE, UT 84074                       ELDORADO, IL 62930




CORNELIOUS, SANGEETA R.                CORNELISON GRADY                          CORNELISON, JUNE
ADDRESS ON FILE                        9087 COUNTY RD 47                         1824 W CENTER ST
                                       HENAGAR, AL 35978                         EVANSTON, WY 82930-3152
CORNELISON, RHONDA K.     Case 20-10766-BLS    DocDESTRY
                                        CORNELIUS,  6 Filed
                                                         W. 04/07/20   Page CORNELIUS,
                                                                            396 of 1969JEFFERY DARRYL
3713 AL HIGHWAY 40                      ADDRESS ON FILE                     877 MAIN STREET WEST
DUTTON, AL 35744-7313                                                       JEFFS LOCK AND KEY
                                                                            RAINSVILLE, AL 35986




CORNELIUS, JONAKA                       CORNELIUS, STEVEN E.                CORNELL, KATHLEEN
178 SETTLE ST                           109 CANEY CREEK                     ADDRESS ON FILE
WINDER, GA 30680                        RAINSVILLE, AL 35986




CORNELL, SHARON E.                      CORNERS, LARRY                      CORNERS, RICK
541 W 200 S                             1037 E. NOLEMAN                     2516 E. CRAVAT ROAD
TOOELE, UT 84074                        CENTRALIA, IL 62801                 CENTRALIA, IL 62801




CORNERSTONE EDUCATION LOAN              CORNERSTONE MARKETING               CORNERSTONE RESEARCH INC
SERVICES                                P.O. BOX 2095                       TWO EMBARCADERO CTR
P.O. BOX 105189                         GADSDEN, AL 35903                   20TH FLR
ATLANTA, GA 30348-5189                                                      SAN FRANCISCO, CA 94111-3922




CORNETT JAMES G                         CORNETT, CARLIE                     CORNETT, CARRIE L.
HC 88 BOX 712                           ADDRESS ON FILE                     4503 SW BARTON ST
BOONEVILLE, KY 41314                                                        BENTONVILLE, AR 72713




CORNETT, PHYLLIS                        CORNETT, TRAVIS                     CORNETT, TRISTAN
P.O. BOX 182                            3975 HWY 30 W                       724N 350W
BOONEVILLE, KY 41314                    JACKSON, KY 41339                   TOOELE, UT 84074




CORNETTE, ADAM                          CORNETTE, GLEN                      CORNIA, BAILEY A.
393 BLEVINS FORK ROAD                   P.O. BOX 945                        ADDRESS ON FILE
LOUISA, KY 41230                        INEZ, KY 41224-0945




CORNMAN, JENNIFER                       CORNMAN, ROSE M.                    CORNS IV, EDWIN M.
181 2ND ST P.O. BOX 192                 ADDRESS ON FILE                     ADDRESS ON FILE
CYPRESS, IL 62923




CORNS, TERI A.                          CORNUTT, MITCH                      CORNWELL MARY
5939 BARCLAY LN                         2500 ALAMESA DR                     11 JUDITH ST
NAPLES, FL 34110                        BIG SPRING, TX 79720                CAHOKIA, IL 62206




CORNWELL, ANDREA                        CORNWELL, JERRY                     CORNWELL, STEVEN P.
853 W. LAS COLINAS                      1130 BIG APPLE FARMS LANE           212 S FLY
ST. GEORGE, UT 84790                    WILLIAMSTON, NC 27892               GOREVILLE, IL 62939
CORNWELL, TERRY          Case 20-10766-BLS   Doc
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                                                                                     BARBARA
2504 PROPES AVE                         ADDRESS ON FILE                      ADDRESS ON FILE
GRANITE CITY, IL 62040




CORONADO, LUZ                           CORONADO, REYNA MARIA                CORONDADO, STEVEN
1713 S GOLD AVE                         P.O. BOX 58                          7701 W CR 116
DEMING, NM 88030                        COLLINSVILLE, AL 35961               SPACE 1
                                                                             MIDLAND, TX 79706-0000




CORONEL, GRISELDA                       CORONEL, MARIA ELIZABETH A.          CORONET
ADDRESS ON FILE                         ADDRESS ON FILE                      7781 FIRST PLACE
                                                                             OAKWOOD VILLAGE, OH 44146




CORP MECHANICAL CONTRACTORS             CORPORATE CAREERS UNLIMITED          CORPORATE IMAGES, INC.
CORPORATE MECHANICAL CON                501 NORTH IH 35 SUIITE 100           911 EAST CHURCH ST
P.O. BOX 571681                         AUSTIN, TX 78702                     SUITE J
MURRAY, UT 84157                                                             LEXINGTON, TN 38351




CORPORATE MECHANICAL CONT               CORPORATION SERVICE COMPANY          CORPORATION SERVICE COMPANY
P.O. BOX 571681                         801 STEVENSON DR                     AS REPRESENTATIVE
MURRAY, UT 84157                        SPRINGFIELD, IL 62703                P.O. BOX 2309
                                                                             SPRINGFIELD, IL 62703




CORPORATION SERVICE COMPANY             CORRAL, MARIA M.                     CORRAL, YOLANDA
AS REPRESENTATIVE                       ADDRESS ON FILE                      ADDRESS ON FILE
P.O. BOX 2576
SPRINGFIELD, IL 62708




CORRALES, AMY                           CORREA, CRISTINA                     CORREA, JIMMY
6946 STATE RTE 163                      ADDRESS ON FILE                      P.O. BOX 846
MILLSTADT, IL 62260                                                          ANTIOCH, IL 60002




CORRECT CARE SOLUTIONS CO               CORRECT CARE SOLUTIONS               CORRECTIONAL TECHNOLOGIES INC
ATTN: RAVONNA POTT                      P.O. BOX 386                         CORTECH USA
1283 MURFREESBORD RD, SUITE 500         REFUND DEPT                          P.O. BOX 775283
NASHVILLE, TN 37217                     HENDERSONVILLE, TN 37077-0368        CHICAGO, IL 60677-5283




CORRELL, JOHN                           CORRERO, CHRISTINA                   CORROSION FLUID PRODUCTS
7509 SEDONA CIRCLE                      125 THIRD STREET P.O. BOX 354        P.O. BOX 712465
BELLEVILLE, IL 62221                    LULA, MS 38644                       CINCINNATI, OH 45271-2465




CORRY, BARBARA J.                       CORSARO, MICHELLE                    CORTADO, MARCELA L.
ADDRESS ON FILE                         1136 E DETROIT AVE                   198 GAFFEY RD
                                        MONMOUTH, IL 61462                   WATSONVILLE, CA 95076
CORTE, JOANI G.        Case 20-10766-BLS
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                                                                                    LLC
601 CAPITOLA AVENUE APARTMENT B      P.O. BOX 101532                       P.O. BOX 532271
CAPITOLA, CA 95010                   ATLANTA, GA 30392-1532                ATLANTA, GA 30353-2271




CORTES, SUSAN                         CORTEZ, ELVIRA J.                    CORTEZ, ERMA
ADDRESS ON FILE                       120 MARIGOLD AVE                     70 FALCONI
                                      FREEDOM, CA 95019                    HOLLISTER, CA 95023




CORTEZ, JESSICA M.                    CORTEZ, MARTIN R.                    CORTEZ, ROBERT M.
ADDRESS ON FILE                       ADDRESS ON FILE                      ADDRESS ON FILE




CORTEZ, STEVE                         CORTNEY, CASPER                      CORTRIGHT, MARGARET
ADDRESS ON FILE                       289 W COMMERCE BLVD UNIT 162         1109 W FORT DAVIS AVE
                                      GAYLORD, MI 49734                    ALPINE, TX 79830




CORVEL CORP                           CORVEL CORPORATION                   CORY LARRY
P.O. BOX 6966                         P O BOX 22369                        916 ANDERSON
PORTLAND, OR 97228                    PORTLAND, OR 97269                   WEST HELENA, AR 72390




CORY PERSONS                          CORY WOMACK                          CORYAT, MARGARET
308 BILLIKEN DRIVE                    5106 WHITE OAK DR                    ADDRESS ON FILE
OFALLON, IL 62269                     SMITHTON, IL 62285




CORZINE, CARRIE                       CORZINE, KALLI M.                    CORZINE, RHONDA S.
ADDRESS ON FILE                       ADDRESS ON FILE                      3432 CHEROKEE DRIVE
                                                                           SPRINGFIELD, OR 97478




CORZINE, SHIRLEY G.                   CORZINE, YOLANDA B.                  COSBY, ROBIN L.
201 PLUM STREET                       ADDRESS ON FILE                      1028 BREWINGTON AVE
ANNA, IL 62906                                                             WATSONVILLE, CA 95076




COSCIA, DEBRA J.                      COSENS, ROSE                         COSGRIFF, CASSIE
P.O. BOX 694                          1008 WELKINS ST                      8355 MESA LINDA AVE
ANGEL FIRE, NM 87710                  MT. VERNON, IL 62864                 OAK HILLS, CA 92344




COSGROVE CONSTRUCTION                 COSIO, DANIEL                        COSMO TS DJ
20654 AMHERST COURT                   3 OVERPASS RD                        1200 W STOCKTON
JOLIET, IL 60433                      WATSONVILLE, CA 95076                MARION, IL 62959
COSMOPOLITAN CLEANING & Case 20-10766-BLS     Doc 6 Filed
                                      COST CONTAINMENT   UNIT 04/07/20     Page COSTA
                                                                                399 ofCATHOLIC
                                                                                        1969 SCHOOL
MAINTENANCE SVC INC                   P.O. BOX 31658                            2726 COSTA DR
11 ETON COURT                         TAMPA, FL 33631-3658                      GALESBURG, IL 61401
SO BARRINGTON, IL 60010




COSTA LAW OFFICE, P.C.                 COSTA LAW OFFICE, PC                     COSTA, THOMAS
2001 BROADWAY                          2001 BROADWAY                            4796 ANDREW RD
MT VERNON, IL 62864                    MY VERNON, IL 62864                      MARION, IL 62959




COSTALES, JOVITA N.                    COSTELLO, ARACELI                        COSTELLO, JOSLYN
4121 THEO ST.                          14747 S. ALBANY                          2333 BELL HILL RD
BIG SPRING, TX 79720                   POSEN, IL 60469                          MURPHY, NC 28906




COSTELLO, SUSAN M.                     COSTELLO, VICTORIA                       COSTEREN, ESMERALDA G.
4058 W 115TH ST APT. 306               5373 LIVE OAK DRIVE                      16575 CHARLES SCHELL LANE
CHICAGO, IL 60655                      SMITHTON, IL 62285                       ROYAL OAKS, CA 95076




COSTILLA, ARIEL                        COSTILLO, SHIRLEY A.                     COSTIN, KENNETH M.
833 TOMAHAWK TRAIL                     ADDRESS ON FILE                          ADDRESS ON FILE
ROUND LAKE, IL 60073




COTE, GREGORY                          COTHRUN, MICHAEL P.                      COTIAUX, GERTRUDE
5075 VICTORIA PARK DR                  ADDRESS ON FILE                          830 AMHERST RD NE
LOGANVILLE, GA 30052-3039                                                       MASSILLON, OH 44646




COTIVITI HEALTHCARE                    COTLER LAW LLC                           COTRONEO, GRACE M.
6800 WEISKOPF AVE                      ONE NORTHBROOK PLACE 5 REVERE DR         1338 ROSSANO CT.
STE 300                                SUITE200                                 SALINAS, CA 93905
MCKINNEY, TX 75070                     NORTHBROOK, IL 60062




COTRONIX                               COTTAGE HEALTH CARE FOUNDATION           COTTAGE REHAB & SPORTS MEDICIN
7387 CO. HWY. 20                       246 E MAIN ST, STE 101                   P.O. BOX 5387
CALEDONIA, MN 55921-9563               GALESBURG, IL 61401                      BLOOMINGTON, IL 61702




COTTAGE REHAB & SPORTS MEDICIN         COTTAGE REHABILITATION AND SPORTS        COTTEN, ADOLPHUS
PO BOX 5387                            MEDICINE, L.L.C.                         P O BOX 127
BLOOMINGTON, IL 61702                  208 SOUTH LASALLE STREET                 213 WALNUT ST
                                       SUITE 814                                OAK CITY, NC 27857
                                       CHICAGO, IL 60604



COTTER, BRIAN                          COTTER, JOHN                             COTTO, SUZETTE M.
10442 S MAPLEWOOD AVE                  209 SUMITT HILL DR                       ADDRESS ON FILE
CHICAGO, IL 60655                      WOOD RIVER, IL 62095
COTTON SARAH A           Case 20-10766-BLS
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                                                                                       CAROLYN
1404 COUNTY RD 43                      P.O. BOX 51                           1619 SFC 815
CEDAR BLUFF, AL 35959-4729             BARTON, AR 72312                      PALESTINE, AR 72372




COTTRELL, TERRY                       COTTRILL, KATHERINE M.                 COTTRILL, LINDA
1530 E MAIN ST                        315 CHERRY RD NE                       3576 ERIE AVE SW
LOUISVILLE, OH 44641                  MASSILLON, OH 44646                    MASSILLON, OH 44646




COUCH CHARLIE J                       COUCH RITA                             COUCH, CHRISTINA
1091 GILLUM ROAD                      18111 MONROE RD                        187 SUNSET DR
JACKSON, KY 41339                     JOHSTON CITY, IL 62951-2309            HUNTINGDON, TN 38344




COUCH, CRYSTAL                        COUDRE FRANCINE ROSE                   COUEY, JOHN A.
150 MCMAHON ROAD                      4397 SEAN ST                           ADDRESS ON FILE
COVINGTON, GA 30014                   EUGENE, OR 97402-0000




COULOMBE, ROSA A.                     COULSTON, LORRIN K.                    COULSTON, LORRIN K.
ADDRESS ON FILE                       4848 TOMS LANE                         ADDRESS ON FILE
                                      ERDA, UT 84074




COULTAS, STACIE D.                    COULTER DONNA K                        COUNCIL FOR AFFORDABLE QUALITY
ADDRESS ON FILE                       6611 W LIBERTY PRAIRIE                 HEALTHCARE INC
                                      EDWARDSVILLE, IL 62025                 P.O. BOX 38041
                                                                             BALTIMORE, MD 21297-8041




COUNCIL, ADRIANA Y.                   COUNCIL, CEDRIC D.                     COUNCIL, JUVON A.
3626 GOLDFINCH DR                     8461 HWY 125                           2346 COLLINS ST
AUGUSTA, GA 30906                     OAK CITY, NC 27857                     BLUE ISLAND, IL 60406




COUNCIL, SHEILA                       COUNSEL FOR THE AGENT UNDER THE DIP    COUNTRY BLACKSMITH TRAILERS
1100 RENO LANE                        FACILITY                               751 FAIRFIELD ROAD
WILLIAMSTON, NC 27892-0000                                                   MT. VERNON, IL 62864




COUNTRY BLOOMERS LAWN CARE            COUNTRY CLUB LAWN & TREE SPEC          COUNTRY CLUB LAWN
9960 S PRAIRIE RD                     410 BROADWAY                           & TREE SPECIALISTS
RED BUD, IL 62278                     SOUTH ROXANA, IL 62087                 410 BROADWAY
                                                                             SOUTH ROXANA, IL 62087




COUNTRY COMPANIES                     COUNTRY FINANCIAL CENTRAL              COUNTRY FINANCIAL LIFE INSURANCE
P.O. BOX 10870                        P.O. BOX 2020                          P.O. BOX 10870
CLEARWARTER, FL 33757                 BLOOMINGTON, IL 61702                  CLEARWATER, GA 33757-8801
COUNTRY FINANCIAL       Case 20-10766-BLS   Doc
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P.O. BOX 10870                        P.O. BOX 10870                        P.O. BOX 2000
CLEARWATER, FL 33757                  CLEARWATER, FL 33757-8801             BLOOMINGTON, IL 61702




COUNTRY FINANCIAL                     COUNTRY FINANCIAL                     COUNTRY FINANCIAL
P.O. BOX 2100                         PO BOX 10870                          REFUND DEPARTMENT
BLOOMINGTON, IL 61702                 CLEARWATER, FL 33757                  P.O. BOX 33757
                                                                            CLEARWATER, FL 33757-8870




COUNTRY INSURANCE                     COUNTRY INSURANCE                     COUNTRY LIFE INSURANCE COMPANY
P.O. BOX 2020                         PO BOX 2020                           ATN: FINANCE/REFUNDS
BLOOMINGTON, IL 61702                 BLOOMINGTON, IL 61702                 P.O. BOX 10870
                                                                            CLEARWATER, FL 33757




COUNTRY LIFE INSURANCE COMPANY        COUNTRY LIFE INSURANCE COMPANY        COUNTRY LIFE INSURANCE COMPANY
ATN: FINANCE/REFUNDS                  MEDICARE SUP CLAIMS                   MEDICARE SUPPLEMENT
P.O. BOX 10870                        P.O. BOX 10870                        P.O. BOX 2000
CLEARWATER, FL 33757-8870             CLEARWATER, FL 33757                  BLOOMINGTON, IL 61702




COUNTRY LIFE INSURANCE COMPANY        COUNTRY LIFE INSURANCE COMPANY        COUNTRY LIFE INSURANCE COMPANY
P.O. BOX 10670                        P.O. BOX 10780                        P.O. BOX 10870
CLEARWATER, FL 33757                  CLEARWATER, FL 33757                  CLEARWATER, FL 33757




COUNTRY LIFE INSURANCE COMPANY        COUNTRY LIFE INSURANCE COMPANY        COUNTRY LIVING
P.O. BOX 10870                        PO BOX 10870                          P.O. BOX 6093
MEDICARE SUPPLEMENT                   CLEARWATER, FL 33757                  HARLAN, IA 51593-1593
CLEARWATER, FL 33757




COUNTRY MUTUAL INSURANCE CO           COUNTRY MUTUAL INSURANCE CO           COUNTRYSIDE CARPETS
P.O. BOX 2020                         P.O. BOX 2100                         & INTERIORS
BLOOMINGTON, IL 61702                 BLOOMINGTON, IL 61702-2100            1305 TOM GINNEVER AVE
                                                                            OFALLON, MO 63388




COUNTY CARE                           COUNTY CARE                           COUNTY CARE
1900 W. POLK STREET                   P.O. BOX 642777                       P.O.BOX 3727
CHICAGO, IL 60612                     CHICAGO, IL 60664                     CORPUS CHRISTI, TX 78463




COUNTY CLERK                          COUNTY COURTHOUSE MAGNET SERVICES     COUNTY COURTHOUSE MAGNET SERVICES
LYNN MARIE GOYA, COUNTY CLERK         INC.                                  INC.
P.O. BOX 551604                       760 CAMPBELL LANE, SUITE 106-141      760 CAMPBELL LN SUITE 106-141
LAS VEGAS, NV 89155-1604              BOWLING GREEN, KY 42104               BOWLING GREEN, KY 42104-0000




COUNTY GARAGE AND TRANSFER STATION    COUNTY JOURNAL                        COUNTY OF MONROE
27 POORHOUSE ROAD                     P.O. BOX 369                          P.O. BOX 457
LOUISA, KY 41230                      1101 EAST PINE                        WHEELING, IL 60090-0457
                                      PERCY, IL 62272
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P.O. BOX 3727                       P O BOX 569                            P.O. BOX 569
CORPUS CHRISTI, TX 78463-3727       MARIANNA, AR 72360                     MARIANNA, AR 72360




COURIER PUBLISHING COMPANY           COURSON, NATHAN M.                    COURTESY CLEANERS
P.O. BOX 187                         1131 N HENDERSON ST UNIT 1            909 S. 10TH ST
WEST LIBERTY, KY 41472               IL, IL 61401                          MT VERNON, IL 62864




COURTESY LOANS                       COURTNEY CORNETT                      COURTNEY DONALD LAWRENCE
609 E LINCOLN                        3975 HWY 30 W                         2173 LAW LANE
LAS VEGAS, NM 87701                  JACKSON, KY 41339                     EUGENE, OR 97401




COURTNEY GILLIAM                     COURTNEY HERNANDEZ                    COURTNEY HUNTER
23 ORANGE LANE                       ADDRESS ON FILE                       ADDRESS ON FILE
LOUISA, KY 41230




COURTNEY M POUBLON                   COURTNEY NOREM                        COURTNEY TOLSON
795 BURTON ST                        280 RIVERSIDE RD                      ADDRESS ON FILE
HARRISBURG, OR 97446                 APT 14-H
                                     MESQUITE, NV 89027




COURTNEY, CHERI                      COURTNEY, CHERRI L.                   COURTNEY, CONSTANCE L.
5756 LAKE BRIAR DR                   112 YORKSHIRE CT                      ADDRESS ON FILE
MILLSTADT, IL 62260                  TROY, IL 62294




COURTNEY, DONALD LAWRENCE            COURTNEY, JASON M.                    COURTNEY, JESSICA L.
2173 LAW LANE                        112 YORKSHIRE CT                      2420 SFC 359
EUGENE, OR 97401-5426                TROY, IL 62294                        FORREST CITY, AR 72335




COURTNEY, WENDELL                    COURTNEY,PATRICIA                     COURTOIS, TIERNEY B.
P.O. BOX 246                         250 HARPER VALLEY RD                  ADDRESS ON FILE
LOUISA, KY 41230                     MINERAL BLUFF, GA 30559




COURTRIGHT, CHRISTOPHER              COURTRIGHT, KARA G.                   COURTYARD MARRIOTT
2519 KNOX RD 1240 EAST               ADDRESS ON FILE                       3443 HUTTON STREET
ONEIDA, IL 61467                                                           SPRINGFIELD, OR 97477




COUSETT, EVERETT                     COUSINS, TREVOR M.                    COVARRUBIA STEWARD, ERICA
597 SPRINGBROOK TRL N                1688 MEADOWLANE DR. SE                5940 SUR RD SE
OSWEGO, IL 60543                     NORTH CANTON, OH 44709                DEMING, NM 88030
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                                                                                        CARE OF KENTUCKY
7600 BROAD ST                            C/O CONNOLLY HEALTHCARE               P.O. BOX 7812
MILLEDGEVILLE, TN 38359                  P.O. BOX 935005                       LONDON, KY 40742
                                         ATLANTA, GA 31193-5005




COVENTRY CARES OF WV                     COVENTRY CARES OF WV                  COVENTRY CONSUMER HEALTH
P.O. BOX 1711                            P.O. BOX 7373                         P.O. BOX 7374
ATTN REFUND DEPT                         ATTN: CLAIMS DEPT                     LONDON, KY 40742
CHARLESTON, WV 25326-1711                LONDON, KY 40742




COVENTRY HEALTH & LIFE INS CO            COVENTRY HEALTH & LIFE INS            COVENTRY HEALTH CARE OF IL
P.O. BOX 894230                          550 MARYVILLE CENTRE DR               P.O. BOX 7141
LOS ANGELES, CA 90189-4230               STE 300                               LONDON, KY 40742-7141
                                         ST LOUIS, MO 63141




COVENTRY HEALTH CARE OF KS               COVENTRY HEALTH CARE                  COVENTRY HEALTH CARE
P.O. BOX 951920                          P.O. BOX 7374                         PO BOX 7141
DALLAS, TX 75395-1920                    LONDON, KY 40742                      LONDON, KY 40742-7141




COVENTRY HEALTH CARE, INC.               COVENTRY HEALTHCARE OF MO             COVENTRY HEALTHCARE
ATTN; ACCOUNTING                         550 MARYVILLE CENTRE DR               ATTN: FINANCE/CLAIMS
550 MARYVILLE CENTRE DR. STE 300         STE 300                               P.O. BOX 7374
ST. LOUIS, MO 63141                      ST LOUIS, MO 63141                    LONDON, KY 40742-7374




COVENTRY HEALTHCARE                      COVENTRY HEALTHCARE                   COVENTRY HEALTHCARE
ATTN: FINANCE/REFUNDS                    EQUIAN LLC                            EQUIAN LLC
P.O. BOX 7374                            P.O. BOX 277                          PO BOX 277
LONDON, KY 40742-7374                    INDIANAPOLIS, IN 46206                INDIANAPOLIS, IN 46206




COVENTRY HEALTHCARE                      COVENTRY HEALTHCARE                   COVENTRY HEALTHCARE
P.O. BOX 930917                          RAWLINGS                              RAWLINGS
ATLANTA, GA 31193                        P.O. BOX 20000                        PO BOX 20000
                                         LA GRANGE, KY 40031                   LA GRANGE, KY 40031




COVENTRY HLTH CARE OF IL                 COVENTRY                              COVENTRY
P.O. BOX 935005                          3535 EAST VALENCIA RD                 P.O. BOX 7121
C/O COTIVITI HEALTH                      TUCSON, AZ 85706                      LONDON, KY 40742
ATLANTA, GA 31193




COVERALL NORTH AMERICA INC               COVERS UNLIMITED                      COVERT, JILL T.
2955 MOMENTUM PLACE                      6328 OAKTON STREETSTE 308             629 WAGONER STREET NW
CHICAGO, IL 60689-5329                   MORTON GROVE, IL 60053                MASSILLON, OH 44647




COVERYS/PREFERRED PROFESSIONAL           COVERYS/PREFERRED PROFESSIONAL        COVEY, JANET H.
INSURANCE CO.                            INSURANCE CO.                         ADDRESS ON FILE
ONE FINANCIAL CENTER                     P.O. BOX 55178
13TH FL                                  BOSTON, MA 02205-5178
BOSTON, MA 02111
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1818 PAULA LN                           PO BOX 120823                              DEPT 00 10318
MARION, IL 62959                        DALLAS, TX 75312                           PALATINE, IL 60055-0318




COVIDIEN / US SURGICAL                  COVIDIEN LP                                COVIDIEN LP
DEPT 00 10318                           COVIDIEN SALES LLC                         COVIDIEN SALES LLC, DBA GIVEN IMAGE
PALATINE, IL 60055-0318                 4642 COLLECTION CENTER DR                  P.O. BOX 932928
                                        CHICAGO, IL 60693-0046                     ATLANTA, GA 31193-2928




COVIDIEN LP                             COVIDIEN LP                                COVIDIEN SALES LLC
DEPT 00 10318                           P.O. BOX 120823                            15 HAMPSHIRE STREET
PALATINE, IL 60055-0318                 DALLAS, TX 75312-0823                      MANSFIELD, MA 02048




COVIDIEN SALES LLC                      COVIDIEN SALES LLC                         COVIDIEN
DBA GIVEN IMAGING                       P.O. BOX 932928                            DEPT 00 10318
P.O. BOX 932928                         ATLANTA, GA 31193-2928                     PALANTINE, IL 60055-0318
ATLANTA, GA 31193-2928




COVIDIEN                                COVIDIEN                                   COVIDIEN
DEPT 00 10318                           DEPT OO 10318                              JAMIE MONTGOMERY
PALATINE, IL 60055-0318                 PALATINE, IL 60055-0318                    NATIONAL ACCOUNT MANAGER
                                                                                   15 HAMPSHIRE STREET
                                                                                   MANSFIELD, MA 02048



COVIDIEN                                COVIDIEN                                   COVIDIEN
P.O. BOX 120823                         P.O. BOX 848086                            TYCO HEALTHCARE GROUP
DALLAS, TX 75312-0823                   DALLAS, TX 75284-8086                      P.O. BOX 120823
                                                                                   DALLAS, TX 75312-0823




COVIDIEN, LP                            COVIDIEN/KENDALL                           COVIN, TEYA M.
P.O. BOX 120823                         P.O. BOX 120823                            520 N GENESEE ST APT 427
DALLAX, TX 75312-0823                   DALLAS, TX 75312-0823                      WAUKEGAN, IL 60085




COVINGTON, ANNABELLE                    COVINGTON, JERI L.                         COVINGTON, JESSICA L.
2915 REA CT                             ADDRESS ON FILE                            ADDRESS ON FILE
AROMAS, CA 95004




COVINGTON, PAUL                         COVINGTON, TYRONE                          COVOLO, DAN J.
150 RADIER RD                           11402 S MAY ST                             P.O. BOX 789
ROCKINGHAM, NC 28379                    CHICAGO, IL 60643-4532                     LYMAN, WY 82937-0789




COVOS, EDITH                            COWAN CLEON                                COWAN KAREN SUE
P.O. BOX 546                            2401 WEST GROVE AVE                        785 ASPEN ST
PRESIDIO, TX 79845                      WAUKEGAN, IL 60085                         TOOELE, UT 84074
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15 FAHEY PL                            1225 NORTH 380 EAST               1720 GOLF RD, APT 121
BELLEVILLE, IL 62220                   TOOELE, UT 84074                  WAUKEGAN, IL 60087




COWAN, TAREN                           COWART, AMANDA J.                 COWART, FRANCES DARLENE
1126 WILLARD STREET                    ADDRESS ON FILE                   153 COUNTY RD 486
GALESBURG, IL 61401                                                      RAINSVILLE, AL 35986-7208




COWART, MICHELLE MARIE                 COWART, STEPHANIE A.              COWART, STEVE D.
894 COUNTY RD 314                      1850 BARNES DRIVE                 6001 OAKHILL RD NE
FYFFE, AL 35971-0515                   WOOSTER, OH 44691                 FORT PAYNE, AL 35967-7732




COWBOY VOLLEYBALL CLUB                 COWBOYS DAYS INC                  COWELL, BRUCE
694 RY LANE                            PO BOX 458                        5205 COWELLS ACRES
TOOELE, UT 84074                       EVANSTON, WY 82931                RED BUD, IL 62278




COWELL, CLEO                           COWELL, DARLA                     COWELL, KURT
ADDRESS ON FILE                        7541 LL RD                        7541 LL ROAD
                                       RED BUD, IL 62278                 RED BUD, IL 62278




COWEN, SAMANTHA                        COWIN, DEBORAH                    COWIN, TRACEY
2509 ALAMESA DR                        ADDRESS ON FILE                   3580 JOE MOBLEY RD
BIG SPRING, TX 79720                                                     WILLIAMSTON, NC 27892




COWLES II, ROBERT E.                   COWLEY, BRADLEY                   COWLEY, DENNIS
ROCO MARKETING                         11301 S SOLDIER CREEK LANE        2448 OAKWAY ST NW
1008 SYLER DR                          SOUTH JORDAN, UT 84095            NORTH CANTON, OH 44720
MT JULIET, TN 37122




COWLEY, RYAN                           COWMAN, CHRISTIN                  COWSERT, ROSE M.
683 PROSPERITY LN                      723 PLEASANT DR                   ADDRESS ON FILE
MESQUITE, NV 89027                     KNOXVILLE, IL 61448




COX PARKER, TIFFANY L.                 COX RHEA C                        COX, AMANDA
722 N CHERRY ST APT. 1                 624 TWIN RIDGE AVE                ADDRESS ON FILE
OFALLON, IL 62269                      EVANSTON, WY 82930-2682




COX, AMANDA                            COX, ARLENE                       COX, ARLISS
846 THOROUGHFARE RD                    22875 US HWY 64                   1660 BRIARWOOD ST
WASHINGTON, NC 27889                   WILLIAMSTON, NC 27892             LOUISVILLE, OH 44641
COX, BILLIE J.           Case 20-10766-BLS    Doc 6
                                       COX, BRANDY       Filed 04/07/20   Page COX,
                                                                               406BRE
                                                                                    of 1969
                                                                                       HNA
207 WEST MAIN STREET                   2323 LOCUST AVE                         2917 W. BLVD APT 5
EWING, IL 62836                        ALTON, IL 62002                         BELLEVILLE, IL 62221




COX, CATHLEEN J.                       COX, DANA                               COX, DEBRA J.
1306 BRIDGE AVE                        660 HILLCREST DR.                       3025 ALBY ST
GALESBURG, IL 61401                    BEN LOMOND, CA 95005                    ALTON, IL 62002




COX, DIANE J.                          COX, DIO V.                             COX, JERRY
ADDRESS ON FILE                        3205 OAK ALY                            3324 PEYTON DRIVE
                                       AUSTIN, TX 78745-0000                   MONROE, GA 30656




COX, JIM                               COX, JOHN D.                            COX, JOYCE G.
7311 TOURNAMENT DRIVE                  ADDRESS ON FILE                         5035 LAKE CATAWBA DR
ST. LOUIS, MO 63129                                                            NORTH AUGUSTA, GA 29841




COX, KAMA H.                           COX, KARI L.                            COX, KATIE
2771 JEPPESEN ACRES RD                 ADDRESS ON FILE                         3324 PEYTON DRIVE
EUGENE, OR 97401                                                               MONROE, GA 30656




COX, KERRY                             COX, KRISTIN                            COX, LAURA A.
1026 W MAIN ST                         102 E 7TH ST                            122 EMERALD WAY EAST
GALESBURG, IL 61401                    HARTFORD, IL 62048                      GRANITE CITY, IL 62040




COX, MADISON                           COX, MADISON                            COX, MADISON
ADDRESS ON FILE                        495 CLEARWATER WAY                      P.O. BOX 1415 115 COX CIRCLE
                                       MONROE, GA 30655                        BLUE RIDGE, GA 30513




COX, MARSHALL                          COX, MEGAN                              COX, MELANIE
ADDRESS ON FILE                        3963 STAUNTON RD                        3792 KRADDLE CREEK DRIVE
                                       EDWARDSVILLE, IL 62025                  COVINGTON, GA 30014




COX, MELISSA                           COX, MICHELLE J.                        COX, MICHELLE
1190 LEFT FORK MORGANS CREEK ROAD      216 S 9TH ST                            505 JACKSON AVE NW
LOUISA, KY 41230                       WOOD RIVER, IL 62095                    MASSILLON, OH 44646




COX, NIKII                             COX, OLIVIA                             COX, PAMELA S.
2094 DOGWOOD DELL DR                   ADDRESS ON FILE                         ADDRESS ON FILE
LOGANVILLE, GA 30052
COX, RALPH              Case 20-10766-BLS    Doc 6
                                      COX, ROSEMARY         Filed 04/07/20   Page COX,
                                                                                  407SHANNON
                                                                                       of 1969K.
1832 CARLENE AVE SW                    ADDRESS ON FILE                            ADDRESS ON FILE
MASSILLON, OH 44647




COX, SHANNON K.                        COX, SHERON S.                             COX, SHERON S.
649 KNOX ROAD 150E                     ADDRESS ON FILE                            ADDRESS ON FILE
ABINGDON, IL 61410




COX, STEPHEN                           COX, TABITHA FOR JAMES RUSSELL             COX, TERRY
2613 PLANVIEW TER                      2665 PINEY CREEK RD                        22 MERRILL CR APT B1
ALTON, IL 62002                        LEXINGTON, TN 38351                        FORREST CITY, AR 72335




COX-HORRELL, KELLY                     COY, EVELYN F.                             COYLE, DEBORAH
405 E. HARRIET                         636 E 192ND ST                             6451 PROMWAY AVE NW
ALPINE, TX 79830                       GLENWOOD, IL 60425                         NORTH CANTON, OH 44720-7621




COYLE, SHANE                           COYNE, ALISSA                              COYNE, CYLEE
ADDRESS ON FILE                        1005 CAPELLA CREEK WAY                     1204 STATE ST
                                       GRAYSON, GA 30017                          COLLINSVILLE, IL 62234




COYNE, JENNIFER                        COZART JESSICA R                           COZART, LINDA S.
ADDRESS ON FILE                        116 B BAYBERRY                             ADDRESS ON FILE
                                       GLEN CARBON, IL 62034




COZEAN, TAMARA                         COZEAN, TAMMY                              COZIAR, JANICE
3305 KEIM RD.                          3305 KEIM RD                               66 UNIVERSITY DRIVE
COLUMBIA, IL 62236                     COLUMBIA, IL 62236                         GRANITE CITY, IL 62040




COZZENS, KEISHARRA                     COZZINI BROTHERS INC                       COZZINI BROTHERS INC
4243 HICKORY HILLS DR                  350 HOWARD AVE                             350 HOWARD AVE
APT 207                                DEPT WP                                    DES PLAINES, IL 60018
WAUKEGAN, IL 60087                     DES PLAINES, IL 60018




CPI                                    CPP HOLDINGS LLC DBA WOUND CARE            CPS PAYMENT SERVICES, LLC
10850 W PARK PLACE STE 600             SPECIALISTS                                12400 N. MERIDIAN STREET
MILWAUKEE, WI 53224                    P O BOX 71849                              STE 185
                                       CHICAGO, IL 60694-1849                     CARMEL, IN 46032




CR BARD PERIPH/VASC                    CR BARD, INC. / BARD ACCESS DIVN           CR BARD, INC.
P.O. BOX 75767                         P.O. BOX 75767                             BARD PERIPHERAL VASCULAR
CHARLOTTE, NC 28275                    CHARLOTTE, NC 28275                        P.O. BOX 75767
                                                                                  CHARLOTTE, NC 28275
CR BARD, INC.               Case 20-10766-BLS   Doc
                                          CRABTREE,   6 Filed 04/07/20
                                                    DALE                 Page CRABTREE,
                                                                              408 of 1969
                                                                                        KATHERINE
P.O. BOX 75767                            ADDRESS ON FILE                     914 W WALNUT ST APT A
CHARLOTTE, NC 28275                                                           MARION, IL 62959




CRABTREE, LARRY                           CRABTREE, LORI                      CRABTREE, MEGAN
245 CASS STREET                           1011 CLOVER DRIVE SE                752 COUNTY RD 138
FORT GAY, WV 25514                        FORT PAYNE, AL 35967                HENAGAR, AL 35978




CRACKEL, MARTIN                           CRACKER BARREL                      CRADDICK, TANYA
325 CAPITOL STREET                        3 CRACKER BARREL DRIVE              496 BARKWOOD LN
SALINAS, CA 93901                         BARBOURSVILLE, WV 25504-1622        GLEN CARBON, IL 62034




CRAFT, DORA                               CRAFT, DORIS C.                     CRAFT, JACQUELINE K.
1511 W. COUNTY ROAD 30                    240 TALONS RIDGE ROAD NW            ADDRESS ON FILE
BIG SPRING, TX 79720-0219                 CLEVELAND, TN 37312




CRAFT, RICHARD                            CRAFT, WILLIAM C.                   CRAFTON, LORNA D
ADDRESS ON FILE                           ADDRESS ON FILE                     CELLTEK LLC
                                                                              27 MONTAGUE COURT
                                                                              ST LOUIS, MO 63123




CRAFTS, BRENDA S.                         CRAIG BEYER, MD                     CRAIG KENNETH R
1050 56TH PLACE                           ADDRESS ON FILE                     13495 N SHORELAND DRIVE
SPRINGFIELD, OR 97478-6813                                                    MARION, IL 62959




CRAIG PECK                                CRAIG VUCCOLA                       CRAIG, AMY R.
ADDRESS ON FILE                           101 E HAVEN PINES RD                308 CENTRAL STREET
                                          MILL HALL, PA 17751                 GADSDEN, TN 38337




CRAIG, CORY B.                            CRAIG, ED                           CRAIG, HENRY
207 PHILLIPS 327 RD                       ADDRESS ON FILE                     204 CHALET DR
WEST HELENA, AR 72390                                                         GREENVILLE, AL 36037-3706




CRAIG, JOHN C.                            CRAIG, JOY                          CRAIG, KRISTINA J.
927 HALE AVE                              2494 HWY 318 S RD                   ADDRESS ON FILE
EDWARDSVILLE, IL 62025                    MARVELL, AR 72366




CRAIG, LATRESE L.                         CRAIG, LEROY                        CRAIG, MARK P
5164 JOHNSON CREEK DR                     151 PHILLIPS 327 RD                 1941 AMHERST RD NE
JACKSONVILLE, FL 32218-9106               WEST HELENA, AR 72390               MASSILLON, OH 44646
CRAIG, MARY L.           Case 20-10766-BLS     Doc 6
                                       CRAIG, MEGAN          Filed 04/07/20   Page CRAIG,
                                                                                   409 of   1969
                                                                                          NICOLE
ADDRESS ON FILE                         778 65TH ST                                201 E HIGH ST
                                        SPRINGFIELD, OR 97478                      ANNA, IL 62906




CRAIG, PATSY                            CRAIG, ROBERT D.                           CRAIG, ROBIN R.
ADDRESS ON FILE                         ADDRESS ON FILE                            ADDRESS ON FILE




CRAIG, TAMARA J.                        CRAIG, TEDDY                               CRAIG, THERESA
ADDRESS ON FILE                         2529 CENTER ST                             255 TANKERSLEY DR.
                                        GRANITE CITY, IL 62040                     FARNER, TN 37333




CRAIG, VELASHIA                         CRAIG, VELASHIA                            CRAIG, VELMA LOUISE
ADDRESS ON FILE                         ADDRESS ON FILE                            1207 VANDALIA
                                                                                   COLLINSVILLE, IL 62234




CRAIG, VICKI S.                         CRAIG, VICTORIA E.                         CRAIGHILL, LILLIAN M.
ADDRESS ON FILE                         ADDRESS ON FILE                            24875 W DEMMING RD
                                                                                   ELMIRA, OR 97437




CRAIN COMMUNICATIONS INC DBA MODERN     CRAIN PRINTING                             CRAIN PRINTING
HEALTHCARE                              412 SOUTH COURT ST                         412 SOUTH COURT STREET
P.O. BOX 433277                         MARION, IL 62959                           MARION, IL 62959
PALM COAST, FL 32143-3277




CRAIN PRINTING                          CRAIN, BLAKE T.                            CRAIN, BRITTANY
605 TOWER SQUARE PLAZA                  ADDRESS ON FILE                            ADDRESS ON FILE
MARION, IL 62959




CRAIN, DAVID                            CRAINE, BRYAN                              CRAINE, COURTNEY A.
1129 JACOB DR                           912 BRINKMAN                               ADDRESS ON FILE
RED BUD, IL 62278                       EDWARDSVILLE, IL 62025




CRAINE, COURTNEY                        CRAM, BREANNA M.                           CRAMER, BRIAN P.
ADDRESS ON FILE                         ADDRESS ON FILE                            2429 34TH ST
                                                                                   SPRINGFIELD, OR 97477




CRAMER, JILLIAN D.                      CRAMER, LARRY                              CRAMER, S. YVONNE
3501 GREEN BAY RD APT 202               1188 EIKER ROAD                            P.O. BOX 46
NORTH CHICAGO, IL 60064                 KNOXVILLE, IL 61448                        KNOXVILLE, IL 61448
CRAMER, SALLY           Case 20-10766-BLS
                                      CRAMES,Doc  6 Filed
                                             ELIZABETH B. 04/07/20       Page CRANDALL,
                                                                              410 of 1969
                                                                                        HALEY K.
609 W JACKSON ST                      P.O. BOX 293                            ADDRESS ON FILE
P.O. BOX 101                          CHERRY LOG, GA 30522
ABINGDON, IL 61410




CRANDALL, KAYANN                      CRANDALL, MADELINE K.                   CRANDALL, SCOTT
66 1ST AVE                            5796 DAILEY ROAD                        144 APACHE DR
EVANSTON, WY 82930                    AKRON, OH 44319                         EVANSTON, WY 82930




CRANDELL, BETTY J.                    CRANE FRANKIE                           CRANE FRANKIE
ADDRESS ON FILE                       2627 COUNTY RD 261                      2627 COUNTY RD 267
                                      FORT PAYNE, AL 35967-7158               FORT PAYNE, AL 35967-7158




CRANE MICHAEL GENE                    CRANE, DENISE M.                        CRANE, ELDEN
583 LYONS RD                          ADDRESS ON FILE                         535 COUNTY ROAD 778
VALLEY HEAD, AL 35989-3829                                                    IDER, AL 35981




CRANE, JENNIFER                       CRANE, KYLE                             CRANE, RANDALL
6528 SOUTH DR                         2845 DARROW LN                          14993 RINTOUL RD
MT PLEASANT, WI 53406                 WAUKEGAN, IL 60085                      GODFREY, IL 62035




CRANE, TIMOTHY                        CRANE, TOSHA                            CRANFORD, ASHLEIGH D.
ADDRESS ON FILE                       162 RD 1901                             3825 HEIMBAUGH LN
                                      DAWSON, AL 35963                        LEXINGTON, KY 40514-4033




CRANK, JENNIFER L.                    CRANK, LUCAS                            CRANNEY, SCOTT
1805 COFFEE AVE                       1330 SAVANNA DR.                        ADDRESS ON FILE
HARRISBURG, IL 62946                  BARSTOW, CA 92311




CRATCH, CRYSTAL                       CRATER LAKE INN LLC                     CRATTY, ELIZABETH G.
79 PARK ESTATES                       108915 S HIGHWAY 97                     ADDRESS ON FILE
SPARTA, IL 62286                      CHEMULT, OR 97731




CRAVATH SWAINE & MOORE LLP            CRAVATH, SWAINE & MOORE LLP             CRAVATH, SWAINE & MOORE LLP
825 EIGHTH AVE                        (COUNSEL FOR CREDIT SUISSE AS FIRST     (COUNSEL FOR CREDIT SUISSE AS FIRST
NEW YORK, NY 10019-7475               LIEN AGENT)                             LIEN AGENT)
                                      ATTN: JASON L. ZHANG WORLDWIDE PLAZA    ATTN: STEPHEN KESSING WORLDWIDE
                                      825 EIGHTH AVENUE                       PLAZA
                                      NEW YORK, NY 10019-7475                 825 EIGHTH AVENUE
                                                                              NEW YORK, NY 10019-7475

CRAVATH, SWAINE & MOORE LLP           CRAVEN, JAMI                            CRAVENS, IVAN
ATTN JANET LEWIS, ESQ                 11150 S FAIRFIELD AVE                   709 W MONROE ST
825 8TH AVE                           CHICAGO, IL 60655                       HERRIN, IL 62948
NEW YORK, NY 10019
CRAVER SERVICES          Case 20-10766-BLS    Doc
                                       CRAVINGS INC 6     Filed 04/07/20   Page CRAW,
                                                                                411 of  1969
                                                                                      KAREN S.
1607 23RD AVE                           P.O. BOX 70392                          515 HAMLET DR
AVON, IL 61415                          EUGENE, OR 97401-0121                   LOGANVILLE, GA 30052




CRAWFORD JORONDA R                      CRAWFORD MEMORIAL HOSPITAL              CRAWFORD, AMY
P O BOX 19410                           1000 NORTH ALLEN STREET                 4951 ROBIN DR
CHICAGO, IL 60619                       ROBINSON, IL 62454-1114                 UNION CITY, TN 38261




CRAWFORD, ANDREW                        CRAWFORD, BLANCA                        CRAWFORD, CARRIE W.
1527 N CHERRY ST                        12604 SUNGLOW LANE                      P.O. BOX 102 8 EVA LONG LANE
GALESBURG, IL 61401                     VICTORVILLE, CA 92392                   BLUE RIDGE, GA 30513




CRAWFORD, CIERA                         CRAWFORD, CINDY                         CRAWFORD, HIRAM
8002 S LAFLIN ST                        193 VILLAGE DR                          P.O. BOX 19410
CHICAGO, IL 60620                       EVANSTON, WY 82930-9528                 CHICAGO, IL 60619




CRAWFORD, JIMMY                         CRAWFORD, KENDRA                        CRAWFORD, KIMBERLY M.
2271 OLD HWY 5                          2004 ELM AVE                            14822 CAMPBELL AVE
BLUE RIDGE, GA 30513                    GRANITE CITY, IL 62040                  HARVEY, IL 60426




CRAWFORD, LEWRY                         CRAWFORD, MARCIA                        CRAWFORD, MARIO
5098 SUPERIOR VALLEY COURT UNIT A       ADDRESS ON FILE                         464 JOYNER DR
FORT IRWIN, CA 92310                                                            WEST HELENA, AR 72390




CRAWFORD, MICHELLE                      CRAWFORD, PATRICIA                      CRAWFORD, QUANESHA
1624 WHITEHIRST MANOR DRIVE             15040 NATCHEZ TRACE RD APT B            1038 YEOMAN ST
SAINT CHARLES, MO 63304                 LEXINGTON, TN 38351                     WAUKEGAN, IL 60085




CRAWFORD, REBECCA                       CRAWFORD, ROSE T.                       CRAWFORD, SHEA P.
2013 KNOX RD 280E                       2935 ROSEBUD ROAD APT 517               702 BROWN SAGE DRIVE
GALESBURG, IL 61401                     LOGANVILLE, GA 30052                    GLENDORA, CA 91741




CRAWFORD, STEPHANIE D.                  CRAWFORD, STEVE                         CRAWFORD, TAMARA
613 WELLINGTON DR                       2602 HUNTER DR                          627 ENCLAVE LN
MONROE, GA 30655-8497                   BIG SPRING, TX 79720-0000               MANTENO, IL 60950




CRAWFORD, THOMAS                        CRAWFORD, TIFFANY                       CRAWFORD, WAYNE EARL
P.O. BOX 1177                           5518 CR 264                             785 SKIPPER AVE
LEXINGTON, TN 38351                     SNYDER, TX 79549                        EUGENE, OR 97404
CRAWL, SHERRY ODUNSI    Case 20-10766-BLS   Doc
                                      CRAWLEY,    6 R.Filed 04/07/20
                                               IMELDA                   Page CRAYS,
                                                                             412 ofCRYSTAL
                                                                                    1969
8532 PHILLIPS AVE                      ADDRESS ON FILE                       231 MCKINLEY ST
CHICAGO, IL 60617                                                            WORDEN, IL 62097-1143




CREAGER, BRANDI N.                     CREAMER, DARIEN                       CREAMER, HEATHER
ADDRESS ON FILE                        104 1ST ST                            62 WHITE PINE DRIVE
                                       P.O. BOX 829                          MURPHY, NC 28906
                                       MOUNTAIN VIEW, WY 82939-0829




CREAMER, JOANNA G.                     CREAMER, MICHAEL                      CREASON, REBECCA
173 CHARLENE LANE                      19 INDIAN TRAIL                       59 BALL MILL DRIVE
GENOA, WV 25517                        BLUE RIDGE, GA 30513-3856             PERRYVILLE, MO 63775




CREATIVE ALLIANCE INC                  CREATIVE ALLIANCE INC                 CREATIVE ALLIANCE INC
SCOPPECHIO HEALTHCARE                  SCOPPECHIO HEALTHCARE                 SCOPPECHIO
400 WEST MARKET ST - STE 1400          400 WEST MARKET ST - STE 1400         400 W MARKET STE 1400
LOUISVILLE, KY 40202-3341              LOUSIVILLE, KY 40202-3341             LOUSIVILLE, KY 40202




CREATIVE ALLIANCE INC                  CREATIVE ALLIANCE, INC                CREATIVE CIRCLE
TONI CLEM, PRESIDENT                   437 WEST JEFFERSON ST                 P.O. BOX 74008799
400 W MARKET ST                        LOUISVILLE, KY 40202                  CHICAGO, IL 60674-8799
SUITE 1400
LOUISVILLE, KY 40202



CREATIVE CLEANING SERVICE LLC          CREATIVE CLEANING SERVICES LLC        CREATIVE CONCEPTS
290 CRYSTAL CT                         290 CRYSTAL CT                        107 SOUTH MAIN STREET
MESQUITE, NV 89027                     MESQUITE, NV 89027                    RED BUD, IL 62278




CREATIVE FORECASTING,INC.              CREATIVE INK IMAGES                   CREATIVE INK IMAGES
P.O. BOX 7789                          P.O. BOX 1515                         P.O. BOX 1515
COLORADO SPRINGS, CO 80933-7789        ATTN: RALPH S HORNE                   EVANSTON, WY 82931-1515
                                       EVANSTON, WY 82931-1515




CREATIVE LETTER & OFFICE SERVICES      CREATIVE WOODWORKS, INC.              CRECELIUS, SHANNON
1600 TODD FARM DRIVE                   12400 KEVIN AVENUE                    545 HAROLD GOWER LN
SUITE B                                ASHLAND, KY 41102                     LOGANVILLE, GA 30052
ELGIN, IL 60123




CREDIT ACCEPTANCE CORP                 CREDIT ACCEPTANCE CORPORATION         CREDIT AGRICOLE CORPORATE AND
C/O SHINDLER & JOYCE                   C/O BURSEY & ASSOCIATES, PC           INVESTMENT BANK
1990 E ALGONQUIN RD, STE180            6740 N ORACLE RD, STE 151             1301 AVE OF THE AMERICAS
SCHAUMBURG, IL 60173                   TUCSON, AZ 85704                      NEW YORK, NY 10019




CREDIT AGRICOLE CORPORATE AND          CREDIT BOS                            CREDIT CONTROL LLC
INVESTMENT BANK                        P.O. BOX 168                          5757 PHANTOM DR
AS ADMINISTRATIVE AGENT                DES PLAINES, IL 60016                 STE 330
1301 AVE OF THE AMERICAS                                                     HAZELWOOD, MO 63042
NEW YORK, NY 10019
CREDIT CONTROL LLC      Case 20-10766-BLS     Doc 6 LLC
                                      CREDIT CONTROL    Filed 04/07/20 Page CREDIT
                                                                            413 ofCONTROL
                                                                                     1969 LLC
LAW OFFICES OF RONALD J HENNINGS PC   LAW OFFICES OF RONALD J HENNINGS PC   P.O. BOX 4106
P O BOX 4106                          P O BOX 4106                          ST CHARLES, IL 60174
ST CHARLES, IL 60174                  ST CHARLES, IL 60174-4106




CREDIT CONTROL, LLC                    CREDIT DENNIS V                        CREDIT SERVICES OF OR INC
111 LOMAS BLVD NW                      3045 LICK SKILLET RD                   P.O. BOX 1208
SUITE 502                              EPWORTH, GA 30541                      ROSEBURG, OR 97470
ALBUQUERQUE, NM 87102




CREDIT SUISSE AG, CAYMAN ISLANDS       CREDIT SUISSE AG, CAYMAN ISLANDS       CREDIT SUISSE USA INC
BRANCH                                 BRANCH                                 CREDIT SUISSE SECURITIES USA LLC
AS COLLATERAL AGENT                    C/O FIRST AMERICAN TITLE INSURANCE     1 MADISON AVE - 4TH FLR
11 MADISON AVE                         COMPANY                                NEW YORK, NY 10010-3629
NEW YORK, NY 10010                     11 MADISON AVE
                                       NEW YORK, NY 10010

CREDIT SUISSE                          CREDIT SUISSE                          CREDITBOX.COM LLC
CREDIT SUISSE AG                       ELEVEN MADISON AVE., 8TH FLOOR         PO BOX 2447
ELEVEN MADISON AVE., 8TH FLOOR         NEW YORK, NY 10010                     DES PLAINES, IL 60017
NEW YORK, NY 10010




CREDITBOX.COM, LLC                     CREDITBOX.COM, LLC                     CREDITBOX.COM, LLC
P.O. BOX 168                           P.O. BOX 184                           P.O. BOX 2447
DES PLAINES, IL 60016                  DES PLAINES, IL 60016                  DES PLAINES, IL 60017




CREECH, VICTORIA                       CREED ROBERT F                         CREEKMORE, HENRY
1857 HWY 52 WEST                       3923 W 116TH PLACE                     ADDRESS ON FILE
BEATTYVILLE, KY 41311                  ALSIP, IL 60803




CREEKMORE, MARIE D.                    CREER, MARILYN C.                      CREER, RODELIO M.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




CREIGHTON, MARK WARREN                 CRELLIN, RICHARD K.                    CREMEENS, JUDITH A.
397 DUBLIN AVE                         ADDRESS ON FILE                        329 RIVERS EDGE
EUGENE, OR 97404                                                              RICHMOND, KY 40475




CRENSHAW, GAYLORD J.                   CRENSHAW, NANCY                        CRENSHAW, SARAH
3811 OLD C.CITY HWY                    4205 OLD COLORADO CITY HWY             ADDRESS ON FILE
BIG SPRING, TX 79720                   BIG SPRING, TX 79720-0000




CRENSHAW, SHAKILA                      CRENSHAW, TOM A.                       CRESCENT HOSPITAL LAUNDRY SERV
ADDRESS ON FILE                        1706 DICKENS FIELD RD                  2422 ROCKINGHAM ROAD
                                       GREENVILLE, AL 36037                   DAVENPORT, IA 52802
CRESCENT MARCHANT        Case 20-10766-BLS   Doc
                                       CRESCENT    6 &Filed
                                                PARTS EQUIP 04/07/20           Page CRESCENZE,
                                                                                    414 of 1969HELEN
454 VALLEY VIEW DR                      P.O. BOX 790379                             1807 CARLENE AVE SW
MESQUITE, NV 89027                      ST LOUIS, MO 63179                          MASSILLON, OH 44647




CRESPO, SANDRA                          CRESS, WILLIAM                              CRESSWELL, VANASSIA D.
88 E MONAVILLE RD                       2266 CASCADE LN                             11727 S PARNELL
LAKE VILLA, IL 60046                    CENTRALIA, IL 62801                         CHICAGO, IL 60628




CREST ELECTRONICS,INC DBA CREAST        CREST ELECTRONICS,INC DBA CREAST            CREST HEALTHCARE SUPPLY
HEALTHCARE SUPPLY                       HEALTHCARE SUPPLY                           P.O. BOX 727
P.O. BOX 727, 195 THIRD STREET SOUTH    P.O. BOX 727, 195 THIRD STREET SOUTH        DASSEL, MN 55325-0727
DASSEL, MN 55325                        DASSEL, NM 55325




CREST HEALTHCARE                        CRESTVIEW SERVICE CENTER, LLC               CREWS, CRYSTAL
195 THIRD STREET                        172 SMYTH LANE                              620 BRENTMOOR DR
DASSEL, MN 55325-0727                   GLEASON, TN 38229                           TROY, IL 62294




CREWS, JEFFREY W.                       CREWS, UNIECE                               CRH MEDICAL CORPORATION
5777 MOBILE RD                          1518 14TH STREET SE                         P O BOX 809178
GREENVILLE, AL 36037                    MASSILLON, OH 44646                         CHICAGO, IL 22174




CRI RURAL HEALTHCARE CONFERENCE         CRIACO, BRIANA L.                           CRIBBS, ANGEL
650 E MONTANA, SUITE J                  ADDRESS ON FILE                             2258 CO RD 307
LAS CRUCES, NM 88001                                                                COLLINSVILLE, AL 35961




CRIBBS, DONNA M.                        CRICHTON CHERYL                             CRICHTON, MICHAEL
135 ARBOR DRIVE                         25019 W DERING LANE                         154 WILDERNESS POINT
EUGENE, OR 97404                        LAKE VILLA, IL 60046                        EVANSTON, WY 82930




CRIDER, HOPE M.                         CRIDER, KRISTY R.                           CRIDER, LOGAN
ADDRESS ON FILE                         475 COUNTY RD 188                           475 COUNTY ROAD 188
                                        FORT PAYNE, AL 35967                        FORT PAYNE, AL 35967




CRIGGER, JASON                          CRIHFIELD, ANGELA                           CRILL, JEANNE M.
46 HOLBROOK LANE                        460 1ST ST SW                               ADDRESS ON FILE
SALYERSVILLE, KY 41465                  LOT 13
                                        BREWSTER, OH 44613-1250




CRIMM, ELIZABETH                        CRIMM, KIMBERLY L.                          CRIPE, SHARON
ADDRESS ON FILE                         5016 S FORK RD P.O. BOX 94                  751 MARTIN MILL RD
                                        RENAULT, IL 62279                           PURYEAR, TN 38251-3946
CRIPPEN, CAROLINE         Case 20-10766-BLS
                                        CRIPPEN,Doc 6 Filed 04/07/20
                                                 CAROLINE                       Page CRIPPEN,
                                                                                     415 of 1969
                                                                                              JOHN D.
ADDRESS ON FILE                         ADDRESS ON FILE                              ADDRESS ON FILE




CRISIS PREVENTION INSTITUTE INC         CRISIS PREVENTION INSTITUTE INC              CRISIS PREVENTION INSTITUTE INC
10850 W PARK PL                         10850 W PARK PLACE SUITE 600                 10850 W PARK PLACE SUITE 600
SUITE 600                               MILKWAUKEE, WI 53224                         MILWAUKEE, WI 53224
MILWAUKEE, WI 53224




CRISIS PREVENTION INSTITUTE             CRISOSTOMO, DOMONIQUE M.                     CRISP, PATRICIA
10850 W PARK PLACE                      ADDRESS ON FILE                              1288 PHILLIPS 473 RD
SUITE 600                                                                            ELAINE, AR 72333
MILWAUKEE, WI 53224




CRISP, RONNI                            CRISPIN, KIMBERLEE                           CRISS, LILLIAN R.
760 PHILLIPS 315 RD                     483 MANCHESTER LANE                          ADDRESS ON FILE
WEST HELENA, AR 72390                   STANSBURY PARK, UT 84074




CRISTINA CORNIER                        CRISTINA HERNANDEZ                           CRISTINA HERNANDEZ
116 E. LINCOLN ST                       3315 HARVARD PLACE                           ADDRESS ON FILE
PEOTONE, IL 60468-9176                  COLLINSVILLE, IL 62234




CRISWELL, MADISON                       CRISWELL, TANA L.                            CRITCHFIELD, KIM
ADDRESS ON FILE                         4451 PIGEON RUN RD                           1834 1ST ST NE APT F
                                        MASSILLON, OH 44647                          MASSILLON, OH 44646




CRITES, ASHTON                          CRITES, PAMELA D.                            CRITES, ROBERT B.
105 S FERNE CLYFFE RD                   996 FOREST AVE                               2720 FILLMORE STREET
GOREVILLE, IL 62939                     MARION, IL 62959                             EUGENE, OR 97405




CRITESER, JENNIFER                      CRITICAL CARE DIAGNOSTICS (C2DX, INC)        CRITTENDEN COUNTY HOSPITAL
1206 CASHES VALLEY ROAD                 555 EAST ELIZA ST SUITE A                    P.O. BOX 386
CHERRY LOG, GA 30522                    SCHOOLCRAFT, MI 49087                        MARION, KY 42064




CRITTENDEN COUNTY TAX COLLECTOR         CRITTENDON, MALLORY B.                       CRIVELLO, DONNA
ATTN: ELLEN STEELE FOOTE                ADDRESS ON FILE                              200 CORTEZ ST.
250 PINE, SUITE 2                                                                    CAPITOLA, CA 95010
MARION, AR 72364




CRNOKRAK, ROBERT K.                     CROCI, ASHLEY A.                             CROCKARELL, CYNTHIA A.
7418 SUNSET ACRES DRIVE                 120 FIRST STREET                             ADDRESS ON FILE
COLLINSVILLE, IL 62234                  SPRECKELS, CA 93962
CROCKARELL, CYNTHIA A. Case 20-10766-BLS
                                     CROCKER,Doc   6 L. Filed 04/07/20
                                                DAVID                    Page CROCKER,
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                                                                                       DAVID
11333 SUGAR PINE DR APT. 1108        P.O. BOX B                               P.O. BOX B
FLORISSANT, MO 63033                 FALL CREEK, OR 97438                     FALL CREEK, OR 97438




CROCKER, JASON                         CROCKER, JILL M.                       CROCKER, VICKIE
7150 HIGHWAY 190                       ADDRESS ON FILE                        280 ADKINS LANE
MCKENZIE, TN 38201                                                            MCKENZIE, TN 38201




CROCKETT, DANNY                        CROCKETT, LOREEN                       CROFFORD, DAN
2517 WERTZ AVE NW                      5930 SAXTOWN ROAD                      2062 BOYDSVILLE RD
CANTON, OH 44708-2414                  MILLSTADT, IL 62260                    DRESDEN, TN 38225




CROFT, MARTY                           CROFUT, EILEEN                         CROMPTON, GEORGE
194 BIRDSONG WAY                       12141 MOFFITT ST SW                    146 COUNTY RD
SECTION, AL 35771                      MASSILLON, OH 44647                    EVANSTON, WY 82930-2500




CROMWELL, WAVA                         CRONAN, ANGELA W.                      CRONE, JUDITH
2860 ALEXANDRIA BLVD SE                9146 GOLFVIEW LANE                     1520 DEXTER RD NE
MASSILLON, OH 44646-9679               COVINGTON, GA 30014                    MASSILLON, OH 44646




CRONEY-BAILEY, JUNNETTE                CRONIN, CATHY                          CROOKS, KEITH B.
970 PIERCE IVY COURT                   ADDRESS ON FILE                        2627 SUMMER LN
LAWRENCEVILLE, GA 30043                                                       EUGENE, OR 97404




CROSBY MARTEENA                        CROSBY STEPHEN                         CROSBY, BILLIE J.
5909 ROBINSON RD                       413 FERN VALLEY RD                     ADDRESS ON FILE
YOUNG HARRIS, GA 30582                 ELLIJAY, GA 30536




CROSBY, BRANDY RICHELLE                CROSBY, CHARITY ANNE                   CROSBY, JIMMY
1324 N 33RD ST                         2644 SUZANNE WAY                       405 CHATSWORTH CT
SPRINGFIELD, OR 97478                  EUGENE, OR 97408                       FRANKLIN, TN 37064-0000




CROSBY, JOHN A.                        CROSBY, MARIAH                         CROSBY, SHERRY
P.O. BOX 270                           1433 E. WALNUT ST. 10C                 ADDRESS ON FILE
MARBLE, NC 28905                       CARBONDALE, IL 62902




CROSKEY, MYRON                         CROSS ANGELA                           CROSS COUNTRY TRAVCORPS INC
2560 KENYON AVE NW                     ADDRESS ON FILE                        CROSS COUNTRY STAFFING IN
MASSILLON, OH 44647                                                           P.O. BOX 404674
                                                                              ATLANTA, GA 30384-4674
                     Case
CROSS COUNTY CHAMBER OF    20-10766-BLS
                        COMMERCE            Doc 6COMMUNICATIONS
                                    CROSS COUNTY     Filed 04/07/20    Page CROSS
                                                                            417 ofCOUNTY
                                                                                   1969 HIGH SCHOOL
P.O. BOX 234                        507 E WASHINGTON                        21 CR 215
WYNNE, AR 72396                     WYNNE, AR 72396                         CHERRY VALLEY, AR 72324




CROSS COUNTY                          CROSS LORETTA A                       CROSS RIDGE COMMUNITY HOSPITAL
ATTN: RONNIE BALDWIN, TAX COLLECTOR   1 ROSEWOOD CT                         P.O. BOX 4060
705 E UNION AVENUE                    STEELEVILLE, IL 62288                 JONESBORO, AR 72403
WYNNE, AR 72396-3039




CROSS STEVEN MICHAEL                  CROSS, ANGELA K.                      CROSS, ANGELA
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




CROSS, DIANE B.                       CROSS, DONNA M.                       CROSS, ERICA
1012 PATTI COURT                      10 KERRY DRIVE                        1025 YALE AVE NE
RED BUD, IL 62278                     COVINGTON, GA 30016                   MASSILLON, OH 44646




CROSS, JOCELYN                        CROSS, SAMUEL R.                      CROSS, TERRI L.
1128 HUNTERS TRAIL                    3310 11TH ST SW                       408 NORTH BUSH AVE P.O. BOX 541
MASCOUTAH, IL 62258                   CANTON, OH 44710-2006                 HURST, IL 62949




CROSS, THERESA F.                     CROSS, VICKI                          CROSSEN, CHRISTINA H.
1930 ELANCO AVENUE                    510 ALABAMA AVE NW                    104 13TH ST SE
EUGENE, OR 97408                      FORT PAYNE, AL 35967                  FORT PAYNE, AL 35967




CROSSFIRE MECHANICAL                  CROSSFIRST BANK                       CROSSFIRST BANK
41400 CAMBRIDGE AVE.                  4707 W 135TH ST                       ATTN DOUGLAS MCKAY
BERMUDA DUNES, CA 92203               LEAWOOD, KS 66224                     4707 W 135TH ST
                                                                            LEAWOOD, KS 66224




CROSSLEY, DANIEL                      CROSSMAN CHELSEA C                    CROSSMAN, CHELSEA
9224 SIENNA VISTA DR                  ADDRESS ON FILE                       ADDRESS ON FILE
LAS VEGAS, NV 89117




CROSSRIDGE COMMUNITY HOSPITAL         CROSSROADS AUXILIARY GIFT SHOP        CROSSROADS COALITION FOUNDATION
P O BOX 590                           8 DOCTORS PARK ROAD                   1790 N FALLS BLVD
WYNNE, AR 72396                       MT. VERNON, IL 62864                  WYNNE, AR 72396




CROSSROADS COMMUNITY HOSPITAL         CROSSROADS COMMUNITY HOSPITAL         CROSSROADS EXTREMITY SYSTEMS
8 DOCTORS PARD ROAD                   8 DOCTORS PARK ROAD                   6055 PRIMACY PKWY
MT VERNON, IL 62864                   MT VERNON, IL 62864                   STE 140
                                                                            MEMPHIS, TN 38119
                       Case 20-10766-BLS
CROSSROADS EXTREMITY SYSTEMS,  LLC           Doc EXTREMITY
                                     CROSSROADS   6 Filed SYSTEMS,
                                                           04/07/20LLC Page CROSSROADS
                                                                            418 of 1969  FUEL SERVICE, INC
6055 PRIMACY PARKWAY SUITE 140       6055 PRIMACY PARKWAY                   P.O. BOX 946
MEMPHIS, TN 38119                    SUITE 140                              PLYMOUTH, NC 27962
                                     MEMPHIS, TN 38119




CROSSROADS PHYSICIAN CORP.             CROSTON, CYNTHIA                       CROTEAU, BONNIE
208 SOUTH LASALLE STREET               5612 UNION AVE NE                      760 SYNACIA DR
SUITE 814                              ALLIANCE, OH 44601                     MINERAL BLUFF, GA 30559
CHICAGO, IL 60604




CROTEAU, STEPHANIE M.                  CROTHALL HEALTHCARE INC                CROTHALL LAUNDRY SERVICES, INC
ADDRESS ON FILE                        13028 COLLECTIONS CENTER DR            13028 COLLECTION CENTER DRIVE
                                       CHICAGO, IL 60693                      CHICAGO, IL 60693




CROTHALL LAUNDRY SERVICES, INC         CROTHALL LAUNDRY SERVICES, INC         CROTHALL LAUNDRY SERVICES, INC
13028 COLLECTIONS CENTER DR            13028 COLLECTIONS CENTER DRIVE         1500 LIBERTY RIDGE DR SUITE 210
CHICAGO, IL 60693                      CHICAGO, IL 60693                      WAYNE, PA 19087




CROTHALL LAUNDRY SERVICES, INC         CROUCH, AMBER                          CROUCH, CORWIN A.
45 W HINTZ RD                          210 GREENWOOD DRIVE                    1623 REDBUD DR APT. I
WHEELING, IL 60090-6073                PARIS, TN 38242                        COLLINSVILLE, IL 62234




CROUCH, RYAN T.                        CROW MEGAN                             CROW, DONNA M.
ADDRESS ON FILE                        2757 SUNSET DR                         ADDRESS ON FILE
                                       GRANITE CITY, IL 62040




CROW, HEATH                            CROW, KIMBERLY N.                      CROW, LOREN
ADDRESS ON FILE                        ADDRESS ON FILE                        1966 KIMBERLY DR
                                                                              EUGENE, OR 97405-4486




CROW, NANCY S.                         CROWDER CINDY S                        CROWDER, CINDY
ADDRESS ON FILE                        90 SUNSHINE VALLEY ROAD                90 SUNSHINE VALLEY RD
                                       BLUE RIDGE, GA 30513                   BLUE RIDGE, GA 30513-4467




CROWDER, CINDY                         CROWDER, DIANE                         CROWDER, KELLY
90 SUNSHINE VALLEY ROAD                11 FOXFIRE RD                          P.O. BOX 2741
BLUE RIDGE, GA 30513-4467              BLAIRSVILLE, GA 30512                  BLUE RIDGE, GA 30513




CROWDER, MICHELLE R.                   CROWDER, VALERIE L.                    CROWE HORWATH LLP
ADDRESS ON FILE                        6266 ERIE AVE                          P.O. BOX 71570
                                       CANAL FULTON, OH 44614                 CHICAGO, IL 60694-1570
CROWE, AUSTIN           Case 20-10766-BLS
                                      CROWE, Doc 6 Filed 04/07/20
                                             FREDDIE                Page CROWE,
                                                                         419 ofJILL
                                                                                1969K.
2019 CHURCH AVE                       2340 OTTIS PAYNE RD                ADDRESS ON FILE
RAINSVILLE, AL 35986                  BETHEL SPRINGS, TN 38315




CROWE, JOHN                           CROWE, LINDA K                     CROWE, MATTHEW A.
ADDRESS ON FILE                       451 S DOGWOOD COVE                 ADDRESS ON FILE
                                      MARION, AR 72364




CROWE, REBECCA J. CAVITT              CROWE, ROBERT W.                   CROWE, SAMUEL
499 COUNTY RD 732                     ADDRESS ON FILE                    ADDRESS ON FILE
HENAGAR, AL 35978




CROWE, STEPHANIE M.                   CROWELL, DONTE                     CROWELL, FERRELL L.
ADDRESS ON FILE                       1221 WHITE PINE LN                 ADDRESS ON FILE
                                      WILLIAMSTON, NC 27892




CROWELL, KAREN L.                     CROWELL, KIARA                     CROWELL, LESLI
500 35TH AVE                          DAN ASHTON-MBWI TRUST              2553 BUENGER BLVD
SANTA CRUZ, CA 95062                  P.O. BOX 440                       GRANITE CITY, IL 62040
                                      MONMOUTH, IL 61462




CROWELL, NICOLE M.                    CROWELL, PENNY                     CROWLEY, DENISE
ADDRESS ON FILE                       161 DANNER SUBDIVISION RD          8601 S HONORE
                                      DREDSDEN, TN 38225                 CHICAGO, IL 60620




CROWLEY, THERESA                      CROWN BUILDING MAINTENANCE         CROWN HEALTH CARE LAUNDRY SERVICES
3973 ELLIS AVE                        801 E LAS CRUCES                   LLC
GURNEE, IL 60031                      LAS CRUCES, NM 88001               1501 N GUILLEMARD ST
                                                                         PENSACOLA, FL 32501




CROWN PHARMACEUTICALS INC             CROWNE HEALTH CARE                 CROWNE MANAGEMENT LLC
201 S ST. CHARLES AVE                 403 13TH STREET NW                 501 WHETSTONE ST
STE 114373                            FORT PAYNE, AL 35967               MONROEVILLE, AL 36460
NEW ORLEANS, LA 70170-0000




CROWNER, KEVIN P.                     CROWNER, LISA                      CROWSON, CHARLES
1 FOREST RIDGE TRAIL                  1 FOREST RIDGE TRAIL               863 TREE FERN WAY SE
SILVER CITY, NM 88061                 SILVER CITY, NM 88061              MABLETON, GA 30126




CROZIER MEDICAL INC.                  CRUDELE, JAMES                     CRUGER, CHRISTINE R.
401 PINEGATE RD                       P.O. BOX 137                       ADDRESS ON FILE
P.O. BOX 2549                         SPRINGFIELD, OR 97477
PEACHTREE CITY, GA 30269
                      Case 20-10766-BLS
CRUM MIDDLE SCHOOL VOLLEYBALL              Doc
                                    CRUM PRE  K-8 6      Filed 04/07/20   Page CRUM,
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P.O. BOX 9                          152 CRUM ROAD                              ADDRESS ON FILE
CRUM, WV 25669                      CRUM, WV 25669




CRUM, DANIELLE B.                    CRUM, DORRIS                              CRUM, GLENNA J.
1201 W SYCAMORE ST                   P.O. BOX 15                               ADDRESS ON FILE
CARBONDALE, IL 62901                 INEZ, KY 41224




CRUM, JESSICA                        CRUM, JUDY                                CRUM, LOIS
P.O. BOX 745                         4998 BIG ELK ROAD                         359 RIGHT FORK BULLCREEK
INEZ, KY 41224                       INEZ, KY 41224                            CRUM, WV 25669




CRUM, MICHELLE W.                    CRUM, MYRA A.                             CRUM, PAMELA D.
ADDRESS ON FILE                      482 APPERSON ST                           1601 SUNNYSIDE RD
                                     FORT GAY, WV 25514                        FORT GAY, WV 25514




CRUM, ROBERT                         CRUM, TAMI                                CRUMBLE, CHE
P.O. BOX 23                          4580 ASTER ST. 11                         410 N 73RD ST
LOUISA, KY 41230                     SPRINGFIELD, OR 97478                     EAST SAINT LOUIS, IL 62203




CRUMBLEY, DONNA                      CRUMBLEY, DOROTHY A.                      CRUMP, AMY J.
1127 IVEY CHASE PLACE                2643 VERMONT STREET                       4685 COUNTY ROAD 141 P.O. BOX 433
DACULA, GA 30019                     BLUE ISLAND, IL 60406                     IDER, AL 35981




CRUMP, JAZMINE                       CRUMP, TRACI C.                           CRUMPLER JILL M
2111 ELMWOOD AVE B4                  332 HWY 238                               1215 CEDAR AVE S
WAUKEGAN, IL 60087                   MORO, AR 72368                            NICEVILLE, FL 32578-3109




CRUMRINE, REBECCA L.                 CRUMRINE, SHARON                          CRUSE, CHRISTINA
ADDRESS ON FILE                      ADDRESS ON FILE                           112 CIRCLE DRIVE
                                                                               BLUE RIDGE, GA 30513




CRUSE, MARIA M.                      CRUSE, NANCY                              CRUSE, PEGGY J.
1934 POPLAR AVE                      346 BETHLEHEM RD.                         120 BRIARCLIFF DR
LAS CRUCES, NM 88001                 COPPERHILL, TN 37317                      GRANITE CITY, IL 62040




CRUTCHER PAULA Y                     CRUTCHER, VALERIE C.                      CRUTCHFIELD SEAN
1052 GLENWOOD AVE                    ADDRESS ON FILE                           38781 N WILTON AVE
WAUKEGAN, IL 60085                                                             LAKE VILLA, IL 60046
CRUTCHFIELD, ARIANNA     Case 20-10766-BLS     Doc
                                       CRUTHIRD,     6 Filed 04/07/20
                                                 SHEILA                 Page CRUZ
                                                                             421 ADAM
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                                                                                       D
2120 CATTAIL RUN APT 303               13025 JOHN DEERE LANE                 10566 W EASTWOOD RD
GURNEE, IL 60031                       HIGHLAND, IL 62249                    BEACH PARK, IL 60087




CRUZ BAUTISTA, JOSE                   CRUZ JR., VICTOR                       CRUZ JUAN M
P O BOX 905                           1617 SOUTH TENNYSSON DR.               888 S HENDERSON ST
COLUMBUS, NM 88029                    DEMING, NM 88030                       GALESBURG, IL 61401




CRUZ MARIO                            CRUZ VICTOR                            CRUZ, ANGELA
923 GRAND AVE                         660 ORIOLE CT APT 1A                   704 TULSA RD
WAUKEGAN, IL 60085                    GRAYSLAKE, IL 60030                    BIG SPRING, TX 79720-0000




CRUZ, CANDY                           CRUZ, CLEMENTINA                       CRUZ, DONNA M.
ADDRESS ON FILE                       2635 PORTOLA DR 10                     ADDRESS ON FILE
                                      SANTA CRUZ, CA 95062




CRUZ, ESTEFANI                        CRUZ, IDALIA                           CRUZ, JULISSA
1821 SAN MIGUEL ST                    9148 LOS NINOS PLACE                   1092 N BROAD ST
DEMING, NM 88030                      CASTROVILLE, CA 95012                  GALESBURG, IL 61401




CRUZ, KIMBERLY A.                     CRUZ, LENI LIEZL D.                    CRUZ, LIZETTE
8053 HARVEST DRIVE                    ADDRESS ON FILE                        1761 J STREET
FRANKFORT, IL 60423                                                          SPRINGFIELD, OR 97477




CRUZ, LUCY                            CRUZ, MARCELLA E.                      CRUZ, MARY
1210 JOHNSON ST                       ADDRESS ON FILE                        1010 GODFREY AVE NE
BIG SPRING, TX 79720-0000                                                    FORT PAYNE, AL 35967




CRUZ, MOLLY A.                        CRUZ, ROSA                             CRUZ, TIFFANY
2015 EUREKA CANYON RD.                730 WALNUT ST APT 1E                   40 WHISTLING STRAITS DR
WATSONVILLE, CA 95076                 WAUKEGAN, IL 60085                     HIGHLAND, IL 62249




CRYE, KIMBERLY K.                     CRYOLIFE INC                           CRYOLIFE INC.
ADDRESS ON FILE                       P.O. BOX 102312                        P.O. BOX 102312
                                      ATLANTA, GA 30368-2312                 ATLANTA, GA 30368-2312




CRYSTAL BROADBAND                     CRYSTAL D CAVINS                       CRYSTAL HARRISON
P.O. BOX 580                          ADDRESS ON FILE                        91 PARKSIDE
CLAY CITY, KY 40312-0580                                                     DAHINDA, IL 61428-0000
CRYSTAL HARRISON         Case 20-10766-BLS
                                       CRYSTALDoc 6 Filed 04/07/20
                                              HOLLON                   Page CRYSTAL
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                                                                                    M.WHITFIELD
ADDRESS ON FILE                        ADDRESS ON FILE                      1590 FIVE CENT RD
                                                                            WILLIAMSTON, NC 27892




CRYSTAL MCCULLOUGH                     CRYSTAL NIX                          CRYSTAL R GONZALES
ADDRESS ON FILE                        7314 S CONSTANCE AVE                 2507 S 8TH ST
                                       CHICAGO, IL 60649-3120               DEMING, NM 88030




CRYSTAL SNELL                          CRYSTAL SPRINGS                      CRYSTAL TAYLOR
29 OAKBROOKE                           P O BOX 660579                       ADDRESS ON FILE
TROY, IL 62294                         DALLAS, TX 75266-0579




CRYSTAL WHITFIELD                      CRYSTAL WILLIAMS                     CRYSTAL, LUZ
1590 FIVE CENT RD                      7805 S SPALDING AVE                  301 COUNTY RD 1027
WILLIAMSTON, NC 27892                  CHICAGO, IL 60652                    VALLEY HEAD, AL 35989




CRYSTAL, LUZ                           CS ENTERPRISE LLC                    CS MEDICAL LLC
ADDRESS ON FILE                        476 ALLARD ROAD                      2179 EAST LYAN STATION ROAD
                                       GROSSE POINTE FARMS, MI 48236        CEEDERMOOR, NC 27522




CS MEDICAL LLC                         C-SCAN TECHNOLOGIES, INC.            CSE-CAPRO
2179 EAST LYON STATION RD              P.O. BOX 87239                       P O BOX 45
CREEDMOOR, NC 27522                    PHOENIX, AZ 85080                    CROSSLAKE, MN 56442




CSEH, MIHALY A.                        CSELLE, STEPHANIE E.                 CSI FINANCIAL SERVICES, LLC D/B/A
2206 WEST 85TH AVENUE                  530 BURLESON RD                      CLEARBALANCE
MERRILLVILLE, IN 46410                 ELLIJAY, GA 30536                    3636 NOBEL DRIVE, SUITE 250
                                                                            SAN DIEGO, CA 92122




CSI LABORATORIES                       CSI LEASING INC                      CSI LIFE INSURANCE CO
2580 WESTSIDE PARKWAY                  9990 OLD OLIVE ST, STE 101           P.O. BOX 10815
ALPHARETTA, GA 30004                   SAINT LOUIS, MO 63141                CLEARWATER, FL 33757-8815




CSI LIFE INSURANCE COMPANY             CSI MEDICARE SUPPLEMENT              CSI/JEWETT
MEDICARE SUPPLEMENT                    P.O. BOX 10815                       6910 W. RIDGE RD
P.O. BOX 10815                         CLEARWATER, FL 33757                 FAIRVIEW, PA 16415
CLEARWATER, FL 33757




CSRA HOLDINGS, LLC                     C-TEC                                CTS TECHNOLOGY SOLUTIONS
1209 ORANGE STREET                     131 KIRKLAND CIRCLE                  154 W BROADWAY
WILMINGTON, DE 19801                   OSWEGO, IL 60543                     P.O. BOX 278
                                                                            SPARTA, IL 62286
CTS                     Case 20-10766-BLS
                                      CUBELO, Doc
                                              MARIA6KATHERINE
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                                                              C.         Page CUCUTA,
                                                                              423 of SHELBY
                                                                                      1969
154 WEST BROADWAY                       ADDRESS ON FILE                       505 N E ST
P.O. BOX 278                                                                  MONMOUTH, IL 61462
SPARTA, IL 62286




CUDD, TONYA L.                          CUDE, AMANDA L.                       CUDWORTH, CRAIG A.
108 LEGACY DRIVE                        ADDRESS ON FILE                       8416 W HARRISON CT
HOSCHTON, GA 30548                                                            FREDERICKSBURG, VA 22407




CUELLAR, YINESKA                        CUEVA, CARLOS CHRISTIAN               CUEVAS, CHRISTINA
2231 LINDEN AVE                         159 KINGDON LANE                      P.O. BOX 2563
WAUKEGAN, IL 60085                      NORTH SALT LAKE, UT 84054-0000        MESQUITE, NV 89024-2563




CUEVAS, JANETTE                         CUEVAS, JUAN C.                       CUEVAS, SAUL
1012 ELIZABETH ST                       ADDRESS ON FILE                       2422 LYDIA AVE
BARSTOW, CA 92311                                                             ZION, IL 60099




CULBERTSON, COLLEEN                     CULBREATH, EDNA                       CULBRETH JUDITH
542 COLUMBUS AVE                        2220 WALL ROAD NW                     13732 GERMAN CHURCH RD
GALESBURG, IL 61401                     MONROE, GA 30656                      WEST FRANKFORT, IL 62896




CULBRETH, CELINA M.                     CULKIN, WENDI                         CULLEN MATTHEW
183 MT MORIAH ROAD                      7350 US HWY 45 NORTH                  39783 N CIRCLE AVE
BALL GROUND, GA 30107                   VIENNA, IL 62995                      ANTIOCH, IL 60002




CULLEN, HOLLY                           CULLEN, JEFFREY P.                    CULLEN, JUDY
ADDRESS ON FILE                         839 STACEY DRIVE                      33 WINDEMERE DRIVE
                                        NEW LENOX, IL 60451                   GLEN CARBON, IL 62034




CULLEN, KATELYN M.                      CULLEN, VICTORIA A.                   CULLEN, VICTORIA A.
ADDRESS ON FILE                         218 THIRD AVE                         ADDRESS ON FILE
                                        EDWARDSVILLE, IL 62025




CULLENS, SHAWN                          CULLEY ANNIE                          CULLIGAN INDUSTRIAL WATER
3539 ASHLAND AVE.                       1010 W VINE ST                        9400 ENTERPRISE DRIVE
STEGER, IL 60475                        TOOELE, UT 84074                      MOKENA, IL 60448-8321




CULLIGAN INDUSTRIAL                     CULLIGAN OF KOKOMO, IN                CULLIGAN OF WHEELING
1555 COMMERCIAL BLVD                    1126 E MONROE ST                      P O BOX 1639
HERCULANEUM, MO 63048-1563              KOKOMO, IN 46901-0000                 BOLINGBROOK, IL 60440-7300
                        Case 20-10766-BLS
CULLIGAN WATER CONDITIONING           CULLIGANDoc  6 CONDITIONING
                                                WATER Filed 04/07/20       Page CULLIGAN/SCHAEFER
                                                                                424 of 1969       WATER CENTER
301 OLD EDWARDSVILLE RD               P.O. BOX 171                              313 SOUTH KINGSHIGHWAY
ROXANA, IL 62084                      BARSTOW, CA 92312                         PERRYVILLE, MO 63775




CULLIMORE, KIRK A. 3640               CULLINA GEORGE A                          CULLIPHER, CALVIN R.
12339 SOUTH 800 EAST                  18106 SIPPEL DRIVE                        1541 ARCHIE MOBLEY RD
SUITE 100                             TINLEY PARK, IL 60487                     WILLIAMSTON, NC 27892
DRAPER, UT 84020




CULLITON-SCHEIDT, MAGNOLIA S.         CULLUM-BONNER, SHELLEY DNP/P REDDY        CULOTTA, MICHAEL J.
ADDRESS ON FILE                       TUKIVAKALA, PA                            ADDRESS ON FILE
                                      810 NEWMAN DRIVE
                                      HELENA, AR 72342




CULP DAVID MILO                       CULP, ELLEN S.                            CULPEPPER, DONNA
1790 PRITCHETT PLACE                  ADDRESS ON FILE                           8551 COUNTY ROAD 38
COTTAGE GROVE, OR 97424-0000                                                    SECTION, AL 35771




CULPEPPER, JOSIE MAREE                CULVER GLASS COMPANY - EUGENE             CULVER, AUDREY A
7845 CLAY FARM ROAD                   2619 NW INDUSTRIAL ST STE B3              2940 CRESENT AVE. 203
ATWOOD, TN 38220                      PORTLAND, OR 97210                        EUGENE, OR 97408




CULVER, AUDREY A.                     CULVER, ROBIN D.                          CUMBIA, ALPHEUS
1452B HWY 5 BOX 2                     ADDRESS ON FILE                           195 OAKWOOD CIRCLE
FLAXVILLE, MT 59222                                                             HUGHES, AR 72348




CUMBIE, JEANETTE                      CUMBIE, MAURICE                           CUMMENS, JOHN
336 S PINE ST                         P.O. BOX 171                              3415 TIMBERLINE DR
GREENVILLE, AL 36037                  CHAPMAN, AL 36015                         EUGENE, OR 97405




CUMMINGS HEATING COOLING WHOLE SALE   CUMMINGS KATIE M                          CUMMINGS RYAN L
P.O. BOX 91                           941 N 65TH ST                             25357 TRINITY ST
4860 N WASHINGTON                     SPRINGFIELD, OR 97478                     VENETA, OR 97487-8743
FORREST CITY, AR 72336




CUMMINGS, CAROLYN S.                  CUMMINGS, CATHERINE I.                    CUMMINGS, CHLOE
ADDRESS ON FILE                       ADDRESS ON FILE                           612 WYMA PL
                                                                                EDWARDSVILLE, IL 62025




CUMMINGS, DANA                        CUMMINGS, HENRY                           CUMMINGS, KACEE
ADDRESS ON FILE                       2648 WHITE CREEK RD                       ADDRESS ON FILE
                                      WALLACE, SC 29596
CUMMINGS, MEGAN          Case 20-10766-BLS
                                       CUMMINSDoc 6 Filed 04/07/20
                                               CROSSPOINT             Page CUMMINS
                                                                           425 of 1969
                                                                                   CROSSPOINT
110 BROOKHOLLOW                        NW7686 P.O. BOX 1450                NW7686 PO BOX 1450
EVANSTON, WY 82930                     MINNEAPOLIS, MN 55485-7686          MINNEAPOLIS, MN 55485-7686




CUMMINS INC                            CUMMINS MID-SOUTH, LLC              CUMMINS, COLLEEN
CUMMINS SALES AND SERVICE              P.O. BOX 842316                     864 N 1300 E
P.O. BOX 912138                        DALLAS, TX 75284-2316               TOOELE, UT 84074
DENVER, CO 80291-2138




CUMMINS, JENNY A.                      CUMULUS BROADCASTING                CUNDARI, ANTONIO
ADDRESS ON FILE                        1200 EXECUTIVE PKWY 440             733 W WINSDOR AVE
                                       EUGENE, OR 97401                    CRETE, IL 60417




CUNDARI, ANTONIO                       CUNDARI, PATRICIA E.                CUNDIFF, ALAINA
733 WEST WINDSOR AVE                   733 W WINDSOR AVE                   509 CARRIAGE DRIVE
CRETE, IL 60417                        CRETE, IL 60417                     BETHLEHEM, GA 30620




CUNDIFF, DUANA E.                      CUNDIFF, MARJORIE                   CUNNANE, STEPHANIE A.
11875 POLEMAN CIR NW                   4281 RIVER RD                       2314 W 114TH ST
CANAL FULTON, OH 44614                 ROYALTON, IL 62983                  CHICAGO, IL 60643




CUNNINGHAM CAMPAIGN                    CUNNINGHAM M.D., MICHELLE A.        CUNNINGHAM, ALISSA
1101 CHESTNUT STREET                   ADDRESS ON FILE                     625 DEWEY ST
WAUKEGAN, IL 60085                                                         TILDEN, IL 62292




CUNNINGHAM, ALLEN JR.                  CUNNINGHAM, AMBER M.                CUNNINGHAM, ANGELA
375 W MAIN ST                          243 MANLEY STREET                   320 EBERHART ROAD SE
GRANTSVILLE, UT 84029-0905             MCKENZIE, TN 38201                  FORT PAYNE, AL 35967




CUNNINGHAM, BETSY                      CUNNINGHAM, CARMEN                  CUNNINGHAM, CINDY G.
916 13TH ST SW                         1438 W SPLIT OAK CIR                375 WEST MAIN
MASSILLON, OH 44647                    ROUND LAKE BEACH, IL 60073          GRANSTVILLE, UT 84029




CUNNINGHAM, DAVID                      CUNNINGHAM, DONELL M.               CUNNINGHAM, ELEANOR A.
ADDRESS ON FILE                        893 STARR RIDGE ST SE               203 S ILLINOIS ST
                                       MASSILLON, OH 44646                 PINCKNEYVILLE, IL 62274




CUNNINGHAM, JAMES B.                   CUNNINGHAM, KIMBERLY R.             CUNNINGHAM, MARK E.
524 CUNNINGHAM DR E                    ADDRESS ON FILE                     ADDRESS ON FILE
FORT PAYNE, AL 35967-7360
CUNNINGHAM, THOMAS      Case 20-10766-BLS    Doc WALT
                                      CUNNINGHAM, 6 Filed 04/07/20   Page CUPIL,
                                                                          426 of   1969
                                                                                 KAREN
114 A ST SW                           2441 PHILLIPS 241 RD                14415 S ATLANTIC AVE
NAVARRE, OH 44662                     LEXA, AR 72355                      RIVERDALE, IL 60827




CUPPLES, DAMON                        CUPPLES, RALEIGH M.                 CURA SCRIPT SD
121 CARRIAGE ST                       P.O. BOX 415                        P.O. BOX 533307
MARION, AR 72364                      HUGHES, AR 72348                    CHARLOTTE, NC 28290




CURARE GROUP INC                      CURARE GROUP INC, THE               CURASCRIPT SD
2990 E COVENANTER DR                  2990 E COVENANTER DR                255 TECHNOLOGY PARK
BLOOMINGTON, IN 47401                 BLOOMINGTON, IN 47401               LAKE MARY, FL 32746-0000




CURASCRIPT SPEC DIST                  CURASCRIPT SPEC DISTRIB             CURASCRIPT
P.O. BOX 978510                       P.O. BOX 978510                     P.O. BOX 978510
DALLAS, TX 75397-8510                 DALLAS, TX 75397-8510               DALLAS, TX 75397-8510




CURBELL ELECTRONICS INC               CURBELL INC                         CURBELL MED PRODUCTS INC
62882 COLLECTION CENTER DR            62882 COLLECTION CTR DR             62882 COLLECTION CENTER DR
CHICAGO, IL 60693                     CHICAGO, IL 60693-0628              CHICAGO, IL 60693-0628




CURBELL MEDICAL PRODUCTS INC          CURBELL MEDICAL PRODUCTS INC        CURBELL PLASTICS
62882 COLLECTION CENTER DR            7 COBHAM DRIVE                      14746 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693-0628                ORCHARD PARK, NY 14127              CHICAGO, IL 60693




CURBELL-ELECTRONICS DIVISION          CURINGTON, LANE A.                  CURLESS, BRAD
62882 COLLECTION CENTER DR            ADDRESS ON FILE                     109 SANDERS DR
CHICAGO, IL 60693-0628                                                    WOODLAWN, IL 62898




CURLEY, GRIFFIN                       CURO HEALTH SERVICES LLC            CURO HEALTH SERVICES LLC
326 S SIXTH                           P.O. BOX 4060                       P.O. BOX 4060
WEST HELENA, AR 72390                 MOORESVILLE, NC 28117               MOORSEVILLE, NC 28117




CURRAN & CONNORS INC                  CURRAN, KELSEY                      CURRENCE, JEANETTE
140 ADAMS AVE                         270 NORTHWIND DR                    1836 HENRY AVE SW
STE 20C                               LAKE VILLA, IL 60046                CANTON, OH 44706-2940
HAUPPAUGE, NY 11788




CURRENT INC                           CURRENT, GABRIELLE                  CURRENT, JACQUELYN P.
5420 WINDMILL RD                      4523 SMITHVIEW AVE NW               4210 SHEPLER CHURCH AVE SW
IMPERIAL, MO 63052                    MASSILLON, OH 44647                 CANTON, OH 44706
CURRIE M.D., ROBERT E.    Case 20-10766-BLS     Doc 6
                                        CURRIE, ROSA W. Filed 04/07/20   Page CURRIER,
                                                                              427 of 1969
                                                                                       WILL P.
ADDRESS ON FILE                          108 67 TH ST NW                       8330 WARM SPRINGS RD SE
                                         FORT PAYNE, AL 35967                  DEMING, NM 88030




CURRY HOVLAND, LINDA K.                  CURRY, BAILEY                         CURRY, CHRISTINA
32106 DEBERRY RD                         ADDRESS ON FILE                       3242 NELSON
CRESWELL, OR 97426                                                             ROBBINS, IL 60472




CURRY, CURTIS                            CURRY, JERRY D.                       CURRY, PATRICK
941 FLORIDA STREET                       485 S 46TH ST                         3100 WABASH AVE
CLARKSDALE, MS 38614                     SPRINGFIELD, OR 97478                 GRANITE CITY, IL 62040




CURRY, RALPH                             CURRY, RUTH                           CURRY, SHERYL L.
610 COUNTY ROAD 153                      849 CENTER CHURCH RD                  7659 VISTA RIO
FORT PAYNE, AL 35967                     VILLA RIDGE, IL 62996-0000            HIGHLAND, CA 92346




CURRY, TAMMY L.                          CURRY, TAMMY                          CURRY, WAYNE
708 CULLOM ST P.O. BOX 152               708 CULLOM ST                         413 RUSSELL AVE
POCAHONTAS, IL 62275                     POCAHONTAS, IL 62275                  WINTHROP HARBOR, IL 60096




CURT SMITH SPORTING GOODS, INC.          CURTEN, CLAY                          CURTIN M.D., PAUL G.
213 E. MAIN STREET                       4294 MODOC RD                         ADDRESS ON FILE
BELLEVILLE, IL 62220                     EVANSVILLE, IL 62242




CURTIS D JACKSON                         CURTIS KENNETH A                      CURTIS LINDSEY N
88 COUNTY ROAD 940                       21920 NORTH 2350TH RD                 6921 N 2200TH RD
MENTONE, AL 35984                        PRAIRIE CITY, IL 61470                SCIOTA, IL 61475




CURTIS MARSHALL                          CURTIS, ASHLEY B.                     CURTIS, BLONDIE J.
857 S CHAMBERS ST                        3479 MOBILE RD                        1630 PARTRIDGE ST
GALESBURG, IL 61401                      MCCAYSVILLE, GA 30555                 WAUKEGAN, IL 60087




CURTIS, CAROLYN                          CURTIS, CHELSIE                       CURTIS, GLEE
618 GRANITE LN                           416 THREE POINT RD                    P.O. BOX 2
LOGANVILLE, GA 30052                     MARTIN, TN 38237                      MINERAL BLUFF, GA 30559




CURTIS, JERROD                           CURTIS, JOSH                          CURTIS, JOSHUA D.
ADDRESS ON FILE                          BRMG                                  641 DAMASCUS CIRCLE
                                                                               BLUE RIDGE, GA 30513
CURTIS, JOSHUA D.        Case 20-10766-BLS     Doc 6 A.Filed 04/07/20
                                       CURTIS, KENNETH                    Page CURTIS,
                                                                               428 ofKIRSTIE
                                                                                       1969
ADDRESS ON FILE                         21920 NORTH 2350TH RD                  ADDRESS ON FILE
                                        PRAIRIE CITY, IL 61470




CURTIS, LINDSEY N.                      CURTIS, MABLE M                        CURTIS, MARSHALL
6921 N 2200TH RD                        3919 GRAPE AVE                         857 S CHAMBERS ST
SCIOTA, IL 61475                        AUGUSTA, GA 30909                      GALESBURG, IL 61401




CURTIS, NANCY ANN                       CURTIS, SHAWN - ITV                    CURTIS, TANIKA
5611 S HARMONY RD                       ADDRESS ON FILE                        9039 S PAULINA ST
ELLIS GROVE, IL 62241                                                          CHICAGO, IL 60620




CURTIS, TIMOTHY                         CURTIS, TONY                           CURTIS, WHITLEY
ADDRESS ON FILE                         255 JOHNSON ST                         ADDRESS ON FILE
                                        TREZEVANT, TN 38258




CURTIS, WHITLEY O.                      CURTRIGHT, NANCY                       CURTS LOCK SERVICE
ADDRESS ON FILE                         732 MIMOSIA                            P.O. BOX 1161
                                        WEST HELENA, AR 72390                  PLYMOUTH, NC 27962




CURVATURE INC                           CURVATURE INC                          CUSHEN, BRANDIE A.
14416 COLLECTIONS CENTER DR             6500 HOLLISTER AVE SUITE 210           4240 COUNTY ROAD 121
CHICAGO, IL 60693                       SANTA BARBARA, CA 93117                FORT PAYNE, AL 35968




CUSIC, JAFEE                            CUSIMANO-IMHOF, ABBEY K.               CUSTODIAL ACCOUNT FOR JANETTE HUNT
6125 HWY 1                              30749 S. CRAWFORD AVENUE               GERAL M HOYT PA
JUNCTION, IL 62954                      BEECHER, IL 60401                      13632 S LECLAIRE AVE
                                                                               CRESTWOOD, IL 60418




CUSTODIAN FOR PETTY CASH,               CUSTOM BUILT CABINETRY, INC            CUSTOM DESIGN BENEFITS
SARAH DRESCH                            2241 MADISON AVE                       5589 CHEVIOT ROAD
2100 MADISON AVE                        GRANITE CITY, IL 62040                 CINCINNATI, OH 45247
GRANITE CITY, IL 62040




CUSTOM FORMS, INC                       CUSTOM INTERVENTIONAL PAIN MNGMT LLC   CUSTOM MEDICAL SPECIALTIES, INC.
1843 MADISON AVE                        12001 NETWORK BLVD                     P.O. BOX 177
GRANITE CITY, IL 62040                  SUITE 208                              330 EAST MAIN STREET
                                        SAN ANTONIO, TX 78249                  PINE LEVEL, NC 27568




CUSTOM MEDICAL SPECIALTIES, INC.        CUSTOM PLATE GLASS, INC                CUSTOM SECURITY ELECTRONICS
PO BOX 177                              2820 W 147TH ST                        1511 INDUSTRIAL DRIVE
330 EAST MAIN STREET                    POSEN, IL 60469                        ITASCA, IL 60143-1849
PINE LEVEL, NC 27568
                         Case 20-10766-BLS
CUSTOM TELEPHONE SVC. INC.                     DocCOMMUNICATIONS
                                       CUSTOMIZED    6 Filed 04/07/20
                                                                 INC    Page CUSTOMIZED
                                                                             429 of 1969COMMUNICATIONS INC
5971 CHALKVILLE MTN. LANE              P.O. BOX 5566                         P.O. BOX 5566
SUITE C                                ARLINGTON, TX 76005                   ARLINGTON, TX 76005-5566
BIRMINGHAM, AL 35235




CUSUMANO & SONS                       CUT-ALL TREE SERVICE                   CUTBOOT LLC
826 HARRISON                          709 COLE                               6025 ASPEN AVE NE
MT VERNON, IL 62864                   BUSHNELL, IL 61422                     ALBUQUERQUE, NM 87110




CUTCHENS, DEBRA                       CUTCHER, JAMES                         CUTE CELL LAFAVOR
ADDRESS ON FILE                       8396 EASTBROOK ST                      3040 GRIGGS CT
                                      MASSILLON, OH 44646                    AUGUSTA, GA 30906




CUTLER, BETTY L.                      CUTLER, SHANNON B.                     CUTLER, SHANNON B.
P.O. BOX 1442                         595 MEADOW CREEK WAY                   ADDRESS ON FILE
BEAVER DAM, AZ 86432                  BLUE RIDGE, GA 30513




CUTSHAW, MARTHA J.                    CUVAR, SHANNON R.                      CUVAR, TOBEIN L
P.O. BOX 666                          1142 SAINT THOMAS RD APT. 1            6473 N IL HWY 37
MARCOLA, OR 97454                     GRANITE CITY, IL 62040                 MT VERNON, IL 62864




CUZZORT, JAJUAN                       CUZZORT, SIERRA                        CUZZORT, TYLER MATTHEW
1228 COUNTY RD 215                    220 LEDBETTER LANE                     2710 GODFREY AVENUE NE
RAINSVILLE, AL 35986-5025             GERALDINE, AL 35974                    FORT PAYNE, AL 35967




CV STAFF SOLUTIONS LLC                CVC HEALTH CARE, LLC                   CVENGROS, TERRY
PEAK PERFUSION                        W7844 HOPE LAKE RD                     1221 E BROADWAY AVE
1603 LBJ FREEWAY                      LAKE MILLS, WI 53551                   WINTHROP HARBOR, IL 60096
DALLAS, TX 75234




CVETAN, JONATHAN A.                   CVS PHARMACY INC                       CW NURSING SOLUTIONS LLC
ADDRESS ON FILE                       CAREMARK LLC                           2532 WEST PIKES PEAK AVE
                                      P.O. BOX 848001                        COLORADO SPRINGS, CO 80904
                                      DALLAS, TX 75284-8001




CWS/CROP WALK                         CXTEC                                  CYBER MESA TELECOM
LAS VEGAS, NM 87701                   P O BOX 5211                           4200 RODEO ROAD
                                      DEPT 116003                            SANTA FE, NM 87507
                                      BINGHAMTON, NY 13902-5211




CYBOR FIRE PROTECTION CO              CYDNEY P SCHERING                      CYGNUS MEDICAL LLC
5123 THATCHER RD                      8349 GRAYSON GREEN ST NW               965 WEST MAIN STREET
DOWNERS GROVE, IL 60515               MASSILLON, OH 44646                    BRANFORD, CT 08405
CYMBAL COMMUNICATIONS Case
                        CORP 20-10766-BLS
                                      CYNOSUREDocINC6 Filed 04/07/20   Page CYNTHIA
                                                                            430 of BAILEY,PETTY
                                                                                    1969        CASH CUSTODIAN
P.O. BOX 8283                         5 CARLISLE RD                         306 MEDICAL CENTER DRIVE
BARTLETT, IL 60103-8283               WESTFORD, MA 01886                    FORT PAYNE, AL 35967




CYNTHIA BENNETT                       CYNTHIA BRITTON                       CYNTHIA CANNON
3600 SOUTH MT ZION RD                 14156 SUMMER ROAD                     74 N ARTHUR AVE
GREENVILLE, AL 36037                  BENTON, IL 62812                      GALESBURG, IL 61401




CYNTHIA CHERRY                        CYNTHIA D. MORRIS                     CYNTHIA EPPLIN
518 SCHOOL RD                         9436 S. INDIANA                       4830 ANTELOPE RD
WINDSOR, NC 27983                     CHICAGO, IL 60619                     PINCKNEYVILLE, IL 62274-0000




CYNTHIA GRIMES                        CYNTHIA HORNBAKER                     CYNTHIA JOHNSON
1256 JAMES WIGGINS RD                 980 N BROAD ST                        ADDRESS ON FILE
WILLIAMSTON, NC 27892                 GALESBURG, IL 61401




CYNTHIA KNUDTSON                      CYNTHIA L ISBERG                      CYNTHIA L MURPHY
1060 G STREET                         P.O. BOX 1015                         224 ROWMONT AVE SW
SPRINGFIELD, OR 97477                 APTOS, CA 95001-1015                  MASSILLON, OH 44646




CYNTHIA MILLER                        CYNTHIA ROBINSON, RN                  CYNTHIA ROSE
1821 ROBERTA                                                                97 ROSE LANE
GRANITE CITY, IL 62040                                                      KERMIT, WV 25674




CYNTHIA SHOPINSKI                     CYNTHIA WITHERS                       CYNTHIA WOODS
29648 MASSACHUSETTS RD                170 N DILLEY ST                       37 MIMOSA
ASHLEY, IL 62808                      ROSEVILLE, IL 61473                   GRANITE CITY, IL 62040-0000




CYNTHIA YANEZ                         CYPERT, JON                           CYPHERT, NORMA
2410 CARLETON DR                      1017 NORTHWOOD DR                     1863 PIONEER PKWY E 126
BIG SPRING, TX 79720-7311             GALESBURG, IL 61401                   SPRINGFIELD, OR 97477




CYPHERT, TONYA C.                     CYRACOM LLC                           CYRACOM, LLC
927 CORNETT ST                        P.O. BOX 74008083                     P.O. BOX 74008083
CORTEZ, CO 81321                      CHICAGO, IL 60674                     CHICAGO, IL 60674-8083




CYRANEK, DEBBIE                       CYRUS, AMBER L.                       CYRUS, BELINDA A.
7228 155TH AVE                        320 PEARL LN                          ADDRESS ON FILE
KENOSHA, WI 53142                     LOUISA, KY 41230
CYSTRUNK, SHIRLEY M.       Case 20-10766-BLS   DocSPECIALISTS
                                         CYTOMETRY 6 Filed INC04/07/20   Page CYTOTHERM
                                                                              431 of 1969
                                                                                        L.P.
ADDRESS ON FILE                           CSI LABORATORIES                    110 SEWELL AVENUE
                                          2580 WESTSIDE PKWY                  TRENTON, NJ 08610
                                          ALPHARAETTA, GA 30004-7426




CZAJKOWSKI, BRIANNA                       CZAJKOWSKI, ROSEMARY D.             CZARNECKI, DANNY
148 E MAPLE ST                            2201 ROCKY LANE ROAD APT 713        1720 GROVE ST
NASHVILLE, IL 62263                       ODESSA, TX 79762                    EUGENE, OR 97404




CZARNOWIESKI, TADEUSZ                     CZECHOWSKI, SUZANNE B.              CZUBA, JESSICA
ADDRESS ON FILE                           ADDRESS ON FILE                     12023 WEST BLACK FOREST COURT
                                                                              HOMER GLEN, IL 60491




D & D MEDICAL, INC                        D & D SERVICE CENTER                D & S WHOLESALE
113 SPACE PARK NORTH                      25675 HWY 22                        19921 HWY 23
GOODLETTSVILLE, TN 37072                  MCKENZIE, TN 38201                  LOUISA, KY 41230




D B JOHNSON CO                            D CHRISTIAN UNIFORMS                D M V CORP.
P.O. BOX 494                              16727 BEAR VALLEY RD                P.O. BOX 878
RICHFIELD, OH 44286                       SUITE 160                           1024 MILITARY RD.
                                          HESPERIA, CA 92345                  ZANESVILLE, OH 43702-0878




D R WALL                                  D&B POWER ASSOCIATES INC            D&G FLOORING
668 RIO VIRGIN DR                         453 DUNHAM ROAD - SUITE 100         1326 COTTONWOOD DR
ST GEORGE, UT 84790-7833                  ST. CHARLES, IL 60174               OCEANSIDE, CA 92056




D&S COMMUNICATIONS                        D.E. HOKANSON, INC.                 D.M.V. RENEWAL
1355 N. MCLEAN BLVD.                      12840 N.E. 21ST PLACE               P.O. BOX 942894
ELGIN, IL 60123                           BELLEVUE,, WA 98005                 SACRAMENTO, CA 94239-0839




D4 LLC                                    DABBS JULIE ANNA                    DABBS, JAMIE
222 ANDREWS ST                            126 MIDWAY ROAD NW                  ADDRESS ON FILE
ROCHESTER, NY 14604                       MARIETTA, GA 30064




DABNEY RICHARD                            DABNEY, DIMETRIS C.                 DABROWSKI, KATHERINE
12259 S PARNELL AVE                       2260 SUMMERSET DR                   773 HORATIO BLVD
CHICAGO, IL 60628                         MONROE, GA 30656                    BUFFALO GROVE, IL 60089




DAC GROUP BROOME MARKETING                DAC GROUP BROOME MARKETING          DAC GROUP
P.O. BOX 842870                           P.O. BOX 842870                     P.O. BOX 842870
BOSTON, MA 02284-2870                     BOSTONO, MA 02284-2870              BOSTON, MA 02284-2870
DAC GROUP/LOUISVILLE INCCase 20-10766-BLS
                                      DACARA,Doc   6 Filed 04/07/20
                                              JEREMIH                 Page DADE
                                                                           432 INNOVATIONS
                                                                                of 1969
P.O. BOX 842870                       536 NORTH AVE APT 12                 120 KIMBALL AVE, SUITE 100
BOSTON, MA 02284-2870                 WAUKEGAN, IL 60085                   SOUTH BURLINGTON, VT 05403




DAGDICK, KATHLEEN                    DAGG, KANDACE                         DAGUL, MILA G.
28545 W VALLEY RD                    619 ENTERPRISE ROAD                   42 ORCHARD DRIVE
INGLESIDE, IL 60041                  IUKA, IL 62849                        HERRIN, IL 62948




DAHL, JONATHAN                       DAHL, JONATHAN                        DAHL, KATHRYN T.
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




DAHLIN, JUDI                         DAHLQUIST, HARLEY                     DAHMM, DEANA J.
403 BAINBRIDGE RD                    90525 HILL RD                         925 N RILE ST
MARION, IL 62959                     SPRINGFIELD, OR 97478-8747            BUSHNELL, IL 61422




DAHNE, BAILEY C.                     DAIBER, MICHAEL S.                    DAIF, ZOUHAIR
ADDRESS ON FILE                      8820 ST. JAMES PLACE                  317 BRENTWOOD DR
                                     HIGHLAND, IN 46322                    WATSONVILLE, CA 95076




DAIGLE, CARRIE                       DAIGLE, SCOTT                         DAIKIN APPLIED AMERICAS INC
ADDRESS ON FILE                      8244 HEATHER LANE                     24827 NETWORK PLACE
                                     WATERLOO, IL 62298                    CHICAGO, IL 60673




DAIL, LORI                           DAILEY DAVID                          DAILEY, ALEXIS N.
115 STEPHANIE DR                     12912 S TRACY                         5882 BAYSHORE DR.
WINDSOR, NC 27983                    RIVERDALE, IL 60827                   STANSBURY PARK, UT 84074




DAILEY, CONNIE S.                    DAILEY, DEBORAH A.                    DAILEY, PATRICK I.
1124 BOULDER CREEK DR APT 201 201    ADDRESS ON FILE                       ADDRESS ON FILE
OFALLON, IL 62269




DAILEY, ROBIN                        DAILEY, ROBIN                         DAILEY, STEPHANIE M.
910 HOGAN DR                         ADDRESS ON FILE                       170 ARLINGTON DR
MARION, IL 62959                                                           GRANITE CITY, IL 62040




DAILEY-GARLOW, PAULA                 DAILY INDEPENDENT, THE                DAILY PRESS CLASSIFIED ADS
5117 41ST STREET                     P.O. BOX 311                          13891 PARK AVE
KENOSHA, WI 53144                    ASHLAND, KY 41105-0311                VICTORVILLE, CA 92392
DAILY WORLD               Case 20-10766-BLS     Doc 6 R. Filed 04/07/20
                                        DAILY, DELORES                    Page DAILY,
                                                                               433 of   1969
                                                                                      EVELYN
P O BOX 340                               2525 CHANUTE                         16781 BRIDGE ST
HELENA, AR 72342                          BIG SPRING, TX 79720                 TAMMS, IL 62988




DAILY, LARRY                              DAILY, TERRY J.                      DAINE, LORI
971 FRANK MCKELVY ROAD                    1020 SIMMONS LANE                    ADDRESS ON FILE
PALMERSVILLE, TN 38241                    FRANKLIN, TN 37069




DAINES, ROBERT                            DAIRYLAND AUTO                       DAISY SPRUILL
813 SAGE ST                               P.O. BOX 8042                        2705A BLUFFVIEW DR
EVANSTON, WY 82930                        STEVENS POINT, WI 54481              GREENVILLE, NC 27834




DAKE, CARA                                DAKE, DAVID A.                       DAKIS, JOYCE E.
ADDRESS ON FILE                           340 N SHIRLEY ST                     257 NIGHT LANE
                                          WORDEN, IL 62097                     EPWORTH, GA 30541




DAKOTA ELLIS                              DAKOTA RIVERA                        DALAL, ANKITA
3530 COUNTY RD 88                         811 S 27TH STREET                    1283 ROSE AVE
PIGSAH, AL 35765                          MT. VERNON, IL 62864                 CAROL STREAM, IL 60188




DALE CLIFTON                              DALE JUDITH A                        DALE KEMP
2415 MILL ROAD                            704 E FRANKLIN                       9630 RIDGE AVE SE
JAMESVILLE, NC 27846-0000                 EDWARDSVILLE, IL 62025               EAST SPARTA, OH 44626




DALE KENDALL                              DALE L EDWARDS                       DALE, BETTY
343 N ELM ST                              713 W SPRUCE ST                      14230 ORRVILLE ST NW
ORRVILLE, OH 44667-1523                   DEMING, NM 88030                     NORTH LAWRENCE, OH 44666-9485




DALE, DARR                                DALE, DEVIN J.                       DALE, PEGGI S.
8707 E 1100 N RD                          173 NAUTICAL DR                      ADDRESS ON FILE
FAIRMOUNT, IL 61841                       STANSBURY PARK, UT 84074




DALE, REMAIDE W.                          DALEBOUT, DALE D.                    DALENCOURT, GREGORY
462 PROSPECT ST                           18400 PATAHA CREEK RD                ADDRESS ON FILE
ELGIN, IL 60120                           UNIT 5
                                          WALTON, OR 97490-0000




DALESSANDRO, PAMELA                       DALESSIO, BRITTANY C.                DALEY, JEROME T
1759 BLACKBERRY LN                        130 EMORY CIR UNIT 3                 2887 AUTUMN ST NW
ORRVILLE, OH 44667                        BLAIRSVILLE, GA 30512                MASSILLON, OH 44647
DALEY, NOVELETTE       Case 20-10766-BLS    Doc
                                     DALHAUS,     6
                                              JULIE       Filed 04/07/20   Page DALIA
                                                                                434 BALTIERREZ
                                                                                      of 1969
140 FERN CREST DRIVE                 ADDRESS ON FILE                            507 NE 6TH
LAWRENCEVILLE, GA 30046-2444                                                    BIG SPRING, TX 79720




DALLAO GROUP LLC                      DALLAS, DANIEL T.                         DALLEFELD, PATRICIA L.
DBA ARCPOINT LABS OF READING PA       ADDRESS ON FILE                           550 E CARL SANDBURG DR, APT 130
2208 QUARRY DR - STE 207                                                        GALESBURG, IL 61401
READING, PA 19609




DALLEGGE, DARRIN L., D.P.M.           DALLEY, JORENE                            DALLY, CHRISTA
ADDRESS ON FILE                       ADDRESS ON FILE                           2197 KAY RD
                                                                                GREENVILLE, NC 27858




DALSANTO, JOHN                        DALSTRA, TAMMY C.                         DALSTRA, TAMMY
337 E 117TH ST                        ADDRESS ON FILE                           ADDRESS ON FILE
CHICAGO, IL 60628




DALTON MATHEWS                        DALTON WHITE                              DALTON, ABIGAIL N.
2030 N COAL ROAD                      511 WILBANKS RD                           P.O. BOX 7046
COLCHESTER, IL 62326                  BIG SPRING, TX 79720                      BUNKERVILLE, NV 89007




DALTON, ANDREA                        DALTON, ASHLY B.                          DALTON, CINDY
298 DEAL ROAD                         ADDRESS ON FILE                           ADDRESS ON FILE
COPPERHILL, TN 37317




DALTON, COURTNEY W.                   DALTON, COURTNEY W.                       DALTON, CRISTY A.
7044 STILL SPRING HOLLOW DRIVE        7044 STILL SPRING HOLLOW DRIVE            414 WILSON PARK LN
BRENTWOOD, TN 37027                   NASHVILLE, TN 37221                       GRANITE CITY, IL 62040




DALTON, DANA L.                       DALTON, DANA L.                           DALTON, HALEY
1 JOSEPH COURT                        ADDRESS ON FILE                           ADDRESS ON FILE
GRANITE CITY, IL 62040




DALTON, PAULA J.                      DALTON, RONNIE                            DALTON, TINA
208 E WILSON P.O. BOX 84              P.O. BOX 1217                             1902 SPILLERTOWN RAOD
GARDEN CITY, TX 79739                 INEZ, KY 41224                            MARION, IL 62959




DALTON, TORI T.                       DALTON, WHITNEY P.                        DALUVOY, RAO V.
160504 AL HWY 227                     137 JACK BLAZE LN                         ADDRESS ON FILE
GERALDINE, AL 35974                   EMMALENA, KY 41740
DALY, AMBER              Case 20-10766-BLS     Doc 6
                                       DALY, ANDREW         Filed 04/07/20   Page DALY,
                                                                                  435 CRISTA
                                                                                        of 1969
                                                                                              D.
199 TANASI DRIVE                        10537 S CAMPBELL                          P.O. BOX 494
COPPERHILL, TN 37317                    CHICAGO, IL 60655                         690 ELM ST
                                                                                  LIVINGSTON, IL 62058




DALY, ELIZABETH                         DALY, PATRICK                             DAMARIS HERNANDEZ
5423 W 129TH PLACE, APT 3E              968 PROGRESS ROAD                         9001 S CICERO AVE
CRESTWOOD, IL 60418                     EAST ELLIJAY, GA 30540                    OAK LAWN, IL 60453




DAME, AMBER D.                          DAMERON, MARY                             DAMERON, SARA
ADDRESS ON FILE                         5310 HIGHWAY 34 S                         1281 CHURCHILL LN
                                        HARRISBURG, IL 62946                      GRAYSLAKE, IL 60030




DAMES, ANN C.                           DAMESWORTH, ANDREA                        DAMEWOOD, AMY
21 EAGLE LAKE DR                        313 DIAMOND DRIVE                         813 N C ST
COLUMBIA, IL 62236                      MCKENZIE, TN 38201                        MONMOUTH, IL 61462




DAMIAN, CARMEN E.                       DAMIS, KENDRAH L.                         DAMM, REGINA
2251 PRAIRIE                            731 7TH ST SW                             5310 STATE ROUTE 3 APT 2
BLUE ISLAND, IL 60406                   MASSILLON, OH 44647                       ELLIS GROVE, IL 62241-1782




DAMMERMAN, CAROL A.                     DAMON, DEBRA J.                           DAMOS, DONN S.
210 EVERGREEN DR                        2104 LORI DRIVE                           246 310TH ST
ANNA, IL 62906                          DEMING, NM 88030                          NORTH HENDERSON, IL 61466




DAMRON, RHONDA                          DAN AUGUSTINE                             DAN BEAL
31A B L EDWARDS RD                      3239 MELISSA LANE                         2007 BROADMOOR DR
HUMBOLDT, TN 38343                      ST LOUIS, MO 63125                        CHAMPAIGN, IL 61821-5849




DAN MCCABE                              DAN ZIKA                                  DANA COREY
209 BLACK OAK COURT                     102 W. APPLE STREET                       403 S.MAIN ST
DAHINDA, IL 61428                       FREEBURG, IL 62243                        ROBERSONVILLE, NC 27871




DANA HERALD                             DANA SAFETY SUPPLY, INC                   DANA WILHITE
ADDRESS ON FILE                         P.O. BOX 117297                           485 MACKINAW DR
                                        ATLANTA, GA 30368-7297                    BETHLEHEM, GA 30620




DANA WORLEY                             DANA, CRYSTAL A.                          DANBERRY, CANDACE M
ADDRESS ON FILE                         ADDRESS ON FILE                           640 E BALD EAGLE ST
                                                                                  BLDG 9 APT 14
                                                                                  LOCK HAVEN, PA 17745
DANDRIDGE, THOMAS       Case 20-10766-BLS   DocCUSTOM
                                      DANDURAND 6 Filed  04/07/20
                                                      WOODWORKS     Page DANDURAND,
                                                                         436 of 1969MARK F.
P.O. BOX 2744                         2606 WALTER ZIMNY DR               ADDRESS ON FILE
ORANGEBURG, SC 29116                  POSEN, IL 60469




DANES, MARGARET                       DANETTE HEINRICH                   DANFORTH, CHESTER
1436 DELROSE AVE                      ADDRESS ON FILE                    1601 RHODODENDRON DRIVE SPACE 574
SPRINGFIELD, OR 97477                                                    FLORENCE, OR 97439




DANFORTH, MARY                        DANGERFIELD, ERNEST M.             DANGERFIELD, MEREDITH
1601 RHODODENDRON DRIVE SPACE 574     2372 CASTLE AVE                    765 E 890 N
FLORENCE, OR 97439                    ROSEBURG, OR 97471                 TOOELE, UT 84074




DANIEL B JONES                        DANIEL B RIVERS                    DANIEL BOLLMANN
BRIDGEWAY                             P.O. BOX 641                       ADDRESS ON FILE
PO BOX 1447                           SANDOVAL, IL 62882
GALESBURG, IL 61401




DANIEL FERRELL                        DANIEL FORREST                     DANIEL HAHN
92 SYCAMORE LN                        63 KNOXVILLE TRAIL                 6280 OAKVIEW RD
MCKENZIE, TN 38201                    ALPHA, IL 61413                    MODOC, IL 62261




DANIEL HIGGINS                        DANIEL J DAMICO                    DANIEL K EAKIN
135 HIGHLAND AVE                      694 TWIN OAKS RD                   1441 ROWLAND AVE NE
GALESBURG, IL 61401                   DEERFIELD, OH 44411-9717           CANTON, OH 44705




DANIEL K LAWSON                       DANIEL L. ADAMS                    DANIEL LINCK, JOE
9235 TINGLE CUT OFF ROAD              3238 DUKE                          2604 INGERSOLL LN
DORA, AL 35062                        BIG SPRING, TX 79720-0000          MARION, IL 62959




DANIEL MCCOY                          DANIEL OBERRY                      DANIEL PAUL
407 MAPLE WAY                         2194 16TH ST                       217 S MAIN STREET
APT R                                 FLORENCE, OR 97439                 AVON, IL 61415
MONROE, GA 30655-1522




DANIEL PAUL                           DANIEL PITTMAN                     DANIEL T YON, ESQUIRE
ADDRESS ON FILE                       505 HARTMANN LANE                  BAILES, CRAIG & YON, PLLC
                                      WATERLOO, IL 62298                 P.O. BOX 1926
                                                                         HUNTINGTON, WV 25720




DANIEL TURPIN                         DANIEL WAYNE E                     DANIEL, ALBERTA
2644 COLUMBIA ST                      P.O. BOX 759                       5072 GREEN HILLS
EUGENE, OR 97403-1819                 COPPERHILL, TN 37317               ROCKY MT, NC 27804
DANIEL, JANE D.         Case 20-10766-BLS     Doc 6
                                      DANIEL, KRISTIE       Filed 04/07/20   Page DANIEL,
                                                                                  437 ofMARGARET
                                                                                          1969
ADDRESS ON FILE                         1037 TADPOLE ROAD                         8400 HILLTOP DRIVE
                                        LOUISA, KY 41230                          TROY, IL 62294




DANIEL, ROBERT                          DANIEL, SYLVIA                            DANIEL, TERESA C.
71 LARA LANE                            516 UNION ST                              ADDRESS ON FILE
LOUISA, KY 41230                        LAS VEGAS, NM 87701




DANIELLE BOGUE                          DANIELLE GRISOLANO                        DANIELLE HUNTER
ADDRESS ON FILE                         ADDRESS ON FILE                           402 E SPRING GROVE AVE
                                                                                  ALEXIS, IL 61412




DANIELLE LAING                          DANIELLE LYNN BREAUD                      DANIELLE MARTIN
894 TRAVIS AVENUE                       943 HAYMON DR                             ADDRESS ON FILE
EUGENE, OR 97404                        WINDER, GA 30680




DANIELLE PRICE                          DANIELLE RAHMAN                           DANIELLE ROBINSON
ADDRESS ON FILE                         ADDRESS ON FILE                           P.O. BOX 254
                                                                                  ULLIN, IL 62992




DANIELLE SCHNOEKER                      DANIELLE TURNER                           DANIELLE YEAGER
ADDRESS ON FILE                         ADDRESS ON FILE                           1219 N VINE ST
                                                                                  ORVILLE, OH 44667




DANIELS LEIGH A                         DANIELS TONY A                            DANIELS, BERNICE
1084 JOHN CALL RD                       230 WILLA STREET                          704 OHIO ST
ELLIJAY, GA 30536                       BLUE RIDGE, GA 30513                      BIG SPRING, TX 79720-0000




DANIELS, CARRIE                         DANIELS, DIANE                            DANIELS, ELLEN S.
P.O. BOX 1604                           P.O. BOX 32                               ADDRESS ON FILE
HAMLET, NC 28345                        WITTENSVILLE, KY 41274




DANIELS, GABRIELLE D.                   DANIELS, HANNA L.                         DANIELS, JEAN HOLLIDAY
ADDRESS ON FILE                         ADDRESS ON FILE                           1290 PULP MILL ROAD
                                                                                  JAMESVILLE, NC 27846




DANIELS, JENNIFER A.                    DANIELS, JOHN R.                          DANIELS, KATHY
908 SOLLEY DRIVE                        ADDRESS ON FILE                           3701 CONNALLY ST
NASHVILLE, TN 37216                                                               BIG SPRING, TX 79720-0000
DANIELS, LESLIE A.         Case 20-10766-BLS
                                         DANIELS,Doc 6 W.Filed 04/07/20
                                                 LESTER                   Page DANIELS,
                                                                               438 of MATHIAS
                                                                                        1969 W.
2020 MAIN ST.                             19617 OAKWOOD AVE                    240 RIO DEL MAR BLVD. APT. D
DUNLAP, TN 37327                          LYNWOOD, IL 60411                    APTOS, CA 95003




DANIELS, ROSA L.                          DANIELS, SARAH                       DANIELS, STEPHANIE M.
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




DANIELS, TIFFANY                          DANIELS, VICKY L.                    DANIELS, WENDY
3791 CALLEE OAKS COURT                    ADDRESS ON FILE                      1701 WEST SAGE ST
LOGANVILLE, GA 30052                                                           EVANSTON, WY 82930-0000




DANIELSSON, KRISSI                        DANITA DAVIS                         DANKBAR, ROBERT J.
ADDRESS ON FILE                           1479 WEST MILL POND RD               ADDRESS ON FILE
                                          ROPER, NC 27970-9229




DANLEE MEDICAL PRODUCTS, INC              DANNEN, LAURA                        DANNER, ASTI K.
BLDG 5                                    ADDRESS ON FILE                      19115 CENTER AVE
6075 EAST MOLLOY RD                                                            HOMEWOOD, IL 60430
SYRACUSE, NY 13211




DANNER, MICHAEL                           DANNER, STEVEN                       DANNIELLE WILSON
7768 OAKDALE ST NW                        601 S. BROADWAY                      ADDRESS ON FILE
MASSILLON, OH 44646-1942                  SESSER, IL 62884




DANNULL, JIL R.                           DANNY CHEEK                          DANNYS TERMITE & PEST CONTROL
ADDRESS ON FILE                           4448 MOBILE RD                       253 LEXINGTON ST.
                                          GREENVILLE, AL 36037                 LANCASTER, KY 40444




DANT, MARY                                DANTZLER, LURIA D.                   DANVIVATPORN, BUSSAGORN P.
12556 AUTUMN LANE                         585 OAKVIEW TRAIL                    23 SPYGLASS CIRCLE
HIGHLAND, IL 62249                        STONE MOUNTAI, GA 30087              PALOS HEIGHTS, IL 60463




DAPAR, JOCELYN-ANN                        DAPHNE BAKER                         DAPKUS, TREVOR M.
1175 WHISPERING PINES DR                  1425 WEST 112TH PL                   18223 WEST WINDS LN
SCOTTS VALLEY, CA 95066                   CHICAGO, IL 60643                    ORLAND PARK, IL 60467




DARA BRENNAN                              DARBY, EDDIE                         DARBY, MARGARET EVA
901 SUNSET DR                             158 CHEROKEE VILLAGE DR              76451 UNION ST SPC 2
SPRINGFIELD, OR 97477                     BALL GROUND, GA 30107-4114           OAKRIDGE, OR 97463-0000
DARBY, RHONDA L.           Case 20-10766-BLS     Doc 6 W.Filed 04/07/20
                                         DARBY, RICHARD                   Page DARBY,
                                                                               439 ofSHIRLEY
                                                                                      1969 H.
2618 HAMPSON CT                           251 ROSSON LN                        409 SHEFFIELD CR
ZION, IL 60099                            PARSONS, TN 38363                    AUGUSTA, GA 30909




DARDEN, SANDRA                            DARGIE, BRUCE                        DARIS D PARSONS
P.O. BOX 513                              P.O. BOX 740                         2473 BORDNER AVE SW
MARION, AR 72364                          FLORENCE, OR 97439                   CANTON, OH 44706-2117




DARIUS PENDLETON                          DARKSIDE WINDOWS                     DARLA LANCEY
24563 MULBERRY LN                         4093 W. 11H AVE                      660 TROY OFALLON ROAD
CRETE, IL 60417                           EUGENE, OR 97402                     TROY, IL 62294




DARLA MEEK                                DARLA RAMIREZ                        DARLA SWINDELL
2849 E PINE ST LOT 41                     ADDRESS ON FILE                      2612 CAROL DR
DEMING, NM 88030                                                               BIG SPRING, TX 79720




DARLENE BROWN                             DARLENE CAFFEY                       DARLENE LUTZ
12444 SOUTH LAFLIN                        P.O. BOX 1469                        38 BETHLEHEM CT NE
CALUMET PARK, IL 60827                    STANTON, TX 79782                    NAVARRE, OH 44662




DARLENE MARSHALL                          DARLENE TELFORD                      DARLING INGREDIENTS, INC
1805 CARMONT AVE NW                       P.O. BOX 5                           P.O. BOX 552210
MASSILLON, OH 44647                       RANDOLPH, UT 84064                   DETROIT, MI 48255-2210




DARLING INGREDIENTS, INC                  DARLING INGREDIENTS, INC             DARLING, MARGARET
P.O. BOX 554885                           P.O. BOX 554885                      1105 MRAIJO AVE
DETRIOT, MI 48255-4885                    DETROIT, MI 48255-4885               BIG SPRING, TX 79720-5124




DARLING, MARVIN L.                        DARLINGTON INGREDIENTS,INC           DARNALL, MARTHA
1534 PAUSCH ROAD                          251 OCONNOR RIDGE BLVD               1228 NORTH 4TH ST
O FALLON, IL 62269                        SUITE 300                            WEST HELENA, AR 72390
                                          IRVING, TX 75038




DARNELL, JENA C.                          DARNELL, JOHN E.                     DARNELL, KIMBERLY A.
255 TIMBERLAKE DR                         608 NORTH RIDGE DR                   ADDRESS ON FILE
MCKENZIE, TN 38201                        WEST HELENA, AR 72390




DARNELL, MICHELLE-ITV                     DARNELL, ROBERT H. JR.               DARON R STARCHER
ADDRESS ON FILE                           201 BOISMENUE AVENUE                 381 19TH ST NW
                                          E CARONDELET, IL 62240               MASSILLON, OH 44647-5347
DARON SHELTON            Case 20-10766-BLS     Doc
                                       DARR, LORI J. 6     Filed 04/07/20   Page DARRELL
                                                                                 440 of BRANHAM
                                                                                         1969
ADDRESS ON FILE                          ADDRESS ON FILE                         108 ELOISE ROAD
                                                                                 LOUISA, KY 41230




DARREN BRYAN                             DARREN JOHANNING                        DARRIN WOOD HEATING & CONDITION
4584 N MT ZION RD                        5411 MAEYSTOWN ROAD                     711 W PROSPECT AVE
HONORAVILLE, AL 36042-5419               WATERLOO, IL 62298                      SPRINGFIELD, IL 62704




DARRIUS WILLIAMS                         DARRON, SAMANTHA J.                     DART, AUTUMN C.
923 CHILDRESS DR                         861 HALE AVE                            106 EAST 2ND STREET P.O. BOX 161
WYNNE, AR 72396-0000                     EDWARDSVILLE, IL 62025                  COLP, IL 62921




DARWIN MCGINNIS                          DARYL A ROLLE                           DARYL FORGIE
1369 DAVELLA ROAD                        3126 EDINBURGH DR                       1063 CARRARA CT
DEBORD, KY 41214                         AUGUSTA, GA 30909-3316                  MESQUITE, NV 89027-2946




DARYL STEIN                              DAS, PRANAB, M.D.                       DASHER, DARRYL R.
6125 SANDY RIDGE RD                      3209 WINDERLY PINE COVE                 621 MARGARET THACKER LANE
NORTH CANTON, OH 44720                   MEMPHIS, TN 38125                       FORT PAYNE, AL 35968-3513




DASHIELL, AMANDA L.                      DASHIELL, AMANDA                        DASHNER, STEVEN G.
26740 RED COACH LANE P.O. BOX 24         P.O. BOX 24                             ADDRESS ON FILE
HELENDALE, CA 92342                      HELENDALE, CA 92342




DATA BLUE LLC                            DATA BLUE                               DATA BLUE, LLC
P.O. BOX 281274                          P.O. BOX 281274                         1117 PERIMETER CENTER, DTE W406
NASHVILLE, TN 37228                      NASHVILLE, TN 37228                     ATLANTA, GA 30338




DATA DISTRIBUTING LLC                    DATA EQUIPMENT, INC.                    DATA INNOVATIONS, INC
P.O. BOX 1443                            945 W MICHIGAN AVE                      120 KIMBALL AVENUE, SUITE 100
ATTN. ACCTS PAY JANET                    SUITE 10-B                              SOUTH BURLINGTON, VT 05403
SANTA CRUZ, CA 95061                     PENSACOLA, FL 32505




DATA INOVATIONS, LLC                     DATA PRO LLC                            DATA SEARCH COLLECTION, INC
P.O. BOX 101978                          2106 A WEST FERRY WAY                   DATASEARCH, INC
ATLANTA, GA 30392-1978                   HUNTSVILLE, AL 35801                    85 NE LOOP 410 - SUITE 575
                                                                                 SAN ANTOINO, TX 78216




DATABANK IMX LLC                         DATALOCK                                DATAPRINT SERVICES LLC
P.O. BOX 829878                          1970 W.EXPRESSWAY 83                    5201 VENIC AVE NE
PHILADELPHIA, PA 19182-9878              MERCEDES, TX 78570                      STE E
                                                                                 ALBUQUERQUE, NM 87113-2337
                       CaseUSA
DATASCOPE CORP DBA GETINGE  20-10766-BLS     Doc 6INC Filed 04/07/20
                                     DATATRONICS,                      Page DATAWATACH
                                                                            441 of 1969CORPORATION
SALES                                7228 HERTER INDUSTRIAL DR              4 CROSBY DRIVE
P O BOX 775436                       GODFREY, IL 62035                      BEDFORD, MA 01730-1402
CHICAGO, IL 60677-5436




DATCARD SYSTEMS, INC                  DATEX OHMEDA                          DATEX-OHMEDA INC
7 GOODYEAR                            P.O. BOX 641936                       GE HEALTHCARE
IRVINE, CA 92618                      PITTSBURGH, PA 15264-1936             P.O. BOX 641936
                                                                            PITTSBURGH, PA 15264-1936




DATEX-OHMEDA                          DATEX-OHMEDA                          DATEX-OHMEDA
P.O. BOX 641936                       P.O. BOX 641936                       P.O. BOX 641936
PITTSBURG, PA 15264                   PITTSBURG, PA 15264-1936              PITTSBURGH, PA 15264-1936




DATEX-OHMEDA                          DATIA                                 DATTA, GAUTAM
PO BOX 641936                         1325 G STREET NW SUITE 5005001        ADDRESS ON FILE
PITTSBURGH, PA 15264                  WASHINGTON, DC 20005




DATUL, ANALIZA                        DAUGHENBAUGH, CHERYL                  DAUGHERTY DOROTHY I
1081 VANESSA AVENUE                   204 PASADERA DR                       3404 HAWTHORNE AVE
WATKINSVILLE, GA 31082                MONTEREY, CA 93940                    EUGENE, OR 97402




DAUGHERTY, LISA G.                    DAUGHERTY, TOMMY E.                   DAUGINTIS, JOHN A.
1275 COUNTY ROAD 26                   ADDRESS ON FILE                       3444 BANYAN ST NW
CENTRE, AL 35960                                                            MASSILLON, OH 44646




DAURIA, SHERI K.                      DAUS, DIANE F.                        DAUT, MARGO L.
ADDRESS ON FILE                       1001 KIMBERLY DR                      322 RIDGEWAY DRIVE
                                      ANTIOCH, IL 60002                     MONROE, GA 30655




DAUWALDER, SPENSER                    DAVA AUSTIN                           DAVA, NEAL
301 S. 1200 E. 33                     705 S BOND ST                         3901 WILLIAMS AVE NE
ST. GEORGE, UT 84790                  SIMS, IL 62886                        APT C111
                                                                            FORT PAYNE, AL 35967




DAVALOS JR., EDGAR B.                 DAVE MULLERKOBOLD                     DAVE NORRIS CONSTRUCTION, LLC
1001 MEMORY LANE                      1232 S SEMINARY                       P.O. BOX 415
DEMING, NM 88030                      GALEBURG, IL 61401                    EVANSTON, WY 82931-0415




DAVE SHEPPARD                         DAVENPORT J B                         DAVENPORT, BERNICE
85 CAMBRIDGE DR                       1338 W 4TH AVE                        55 QUIDA ST
GRANITE CITY, IL 62040                EUGENE, OR 97402                      APT F2
                                                                            BLUE RIDGE, GA 30513
DAVENPORT, CHRISTOPHERCase 20-10766-BLS     DocDARYL
                                    DAVENPORT,   6 Filed
                                                      T. 04/07/20   Page DAVENPORT,
                                                                         442 of 1969DAVID
202 EMERY ST                        5790 NC HWY 32 SOUTH                 1017 BAYBERRY LANE
COLLINSVILLE, IL 62234              PLYMOUTH, NC 27962                   RED BUD, IL 62278




DAVENPORT, DELILA                   DAVENPORT, EMILY B.                  DAVENPORT, EMILY
ADDRESS ON FILE                     ADDRESS ON FILE                      ADDRESS ON FILE




DAVENPORT, JANE F.                  DAVENPORT, KELLIE                    DAVENPORT, KENYANNA
554 ASH LOOP RD                     1080 SNAKE NATION RD                 1005 LINDAUER RD
BLUE RIDGE, GA 30513                BLUE RIDGE, GA 30513-7630            FORREST CITY, AR 72335




DAVENPORT, LYNETTE                  DAVENPORT, MICHELLE                  DAVENPORT, PAUL
ADDRESS ON FILE                     1033 BEULAH LANE                     3655 SFC 735
                                    WILLIAMSTON, NC 27892                FORREST CITY, AR 72335




DAVENPORT, SHYTERRA T.              DAVENPORT, SUZANNE                   DAVENPORT, SUZANNE
ADDRESS ON FILE                     1017 BAYBERRY LANE                   ADDRESS ON FILE
                                    RED BUD, IL 62278




DAVENPORT, TRACEY M.                DAVENPORT, WILLIAM                   DAVENPORT, WILLIAM
ADDRESS ON FILE                     64 GINGER LAKE DR                    ADDRESS ON FILE
                                    ROCK SPRING, GA 30739




DAVES & KELLY, INC.                 DAVES, ERNEST                        DAVID A WEIL
P.O. BOX 91558                      1997 EBENEZER RD                     720 TERN COURT
LOUISVILLE, KY 40291                GEORGIANA, AL 36033                  NASHVILLE, TN 37221




DAVID A YANDELL                     DAVID AMOR                           DAVID B HOWELL ARCHITECTURE & DESIGN
2090 SUGAR RUN RD                   1054 N PRAIRIE ST                    PC
MILL HALL, PA 17751                 GALESBURG, IL 61401                  5148 N CALLE BUJIA
                                                                         TUCSON, AZ 85718-6166




DAVID BARFIELD                      DAVID BLAKE                          DAVID C SMITH
ADDRESS ON FILE                     745 COLUMBUS AVE                     3522 N PIEDRA
                                    GALESBURG, IL 61401                  CI MESA, AZ 85207-1168




DAVID CUNNINGHAM                    DAVID CUNNINGHAM                     DAVID D ELGARICO - CEO
ADDRESS ON FILE                     ADDRESS ON FILE                      ADDRESS ON FILE
DAVID DEASIS              Case 20-10766-BLS     Doc 6 CEO,
                                        DAVID FAULKNER, Filed  04/07/20
                                                            JAMES            Page DAVID
                                                                                  443 of   1969
                                                                                        FRIEND
538 WESTOVER                              MALCOLMSON, MD, KELLY ROMERO, PA        406 W CRAVER ST
APT 157                                                                           ABINGDON, IL 61410
BIG SPRING, TX 79720




DAVID HERZOG                              DAVID I KITCHEN                         DAVID J AXELROD & ASSOCIATES
ADDRESS ON FILE                           10171 SHREVE RD                         1448 OLD SKOKIE RD
                                          SHREVE, OH 44676                        HIGHLAND PARK, IL 60035




DAVID J GANDY                             DAVID J SMITH                           DAVID J WALKER
971 LAKELAND DR STE 950                   2380 E 24TH N                           8603 WHITMER AVE NE
JACKSON, MS 39216-4608                    IDAHO FALLS, ID 83401                   CANTON, OH 44721




DAVID J. LANE, LTD.                       DAVID K SMITH C/F                       DAVID KEEN
ADDRESS ON FILE                           GRACE MILLER SMITH UTMA AL              C/0 JEFF. CO VETERANS PICNIC
                                          7656 WIND SONG DR                       MT. VERNON, IL 62864
                                          TRUSSVILLE, AL 35173-1891




DAVID KOCH, JR                            DAVID L CASTLEBERRY                     DAVID LOGAN
225 E LAUREL ST                           4 LAMPWICK LANE                         402 W MARTIN ST
MILLSTADT, IL 62260                       SAVANNAH, GA 31411-2521                 ABINGDON, IL 61410




DAVID M SCHUMACHER                        DAVID MAY TRUCKING                      DAVID MINTON
4405 JASON CT                             ROCKWELL ROAD                           2141 BUTLER BRIDGE RD
AUGUSTA, GA 30907                         WINCHESTER, KY 40391                    COVINGTON, GA 30016-4940




DAVID MORRIS                              DAVID PERRY                             DAVID PIPER
2610 FRIENDSHIP AVENUE                    ADDRESS ON FILE                         203 PINCKNEYVILLE RD
SAND ROCK, AL 35983                                                               MARISSA, IL 62257




DAVID R RIGGS                             DAVID R WILKINS                         DAVID SCARLETT
8682 SERENITY DR NW                       110 RHODES LN                           P.O. BOX 272
MASSILLON, OH 44646                       P O BOX C                               CROSSVILLE, IL 62827
                                          JONESBORO, IL 62952




DAVID SCOTT CO INC                        DAVID STIDD                             DAVID T PAPAGEORGE & LESLIE
2 MASTER DRIVE                            249 HERITAGE PT                         PAPAGEORGE JT TEN
FRANKLIN, MA 02038                        DALTON, OH 44618-8817                   4685 COUNTRYSIDE DR
                                                                                  FLOWERY BRANCH, GA 30542




DAVID, ALEXANDRIA S.                      DAVID, ANA C.                           DAVID, CATHLEEN
47 LYNNBROOK DR                           46 MCAREE 1                             82 SHORE DRIVE SOUTH WEST
EUGENE, OR 97404                          WAUKEGAN, IL 60085                      EDWARDSVILLE, IL 62025
DAVID, ELIZABETH M.      Case 20-10766-BLS     Doc 6
                                       DAVID, PEDRO        Filed 04/07/20   Page DAVID-PAUL
                                                                                 444 of 1969BUILDERS
ADDRESS ON FILE                         6443 HABITAT CT                          P.O. BOX 1461
                                        GURNEE, IL 60031                         SEARCY, AR 72145




DAVIDSON DANIELLE                       DAVIDSON KEMPNER CAPITAL                 DAVIDSON KEMPNER PARTNERS
41665 N MILL CREEK RD                   520 MADISON AVENUE, 30TH FLOOR           MIDTOWN ACQUISITIONS LP
WADSWORTH, IL 60083                     NEW YORK, NY 10022                       520 MADISON AVENUE, 30TH FLOOR
                                                                                 NEW YORK, NY 10022




DAVIDSON SEAN M                         DAVIDSON, AMANDA S.                      DAVIDSON, BECKY
155 RIDE OUT RD.                        ADDRESS ON FILE                          P.O. BOX 537
HOLLIS, NH 03049                                                                 LYMAN, WY 82937-0000




DAVIDSON, CATHY                         DAVIDSON, INA                            DAVIDSON, JEAN LAMONT
944 NC HIGHWAY 141                      362 EXECUTIVE DR                         2295 RIVERVIEW ST
MURPHY, NC 28906-6878                   APT 90                                   EUGENE, OR 97403-0000
                                        GREENVILLE, AL 36037




DAVIDSON, KAREN                         DAVIDSON, KIRK                           DAVIDSON, RICKEY
140 MILITARY RD                         1512 STADIUM AVE                         P.O. BOX 102
HELENA, AR 72342                        BIG SPRING, TX 79720-0000                BARTON, AR 72312




DAVIDSON, SHAWNA L.                     DAVIDSON, SHAWNA L.                      DAVIDSON, TERRY L.
25 MT PLEASANT RD                       ADDRESS ON FILE                          ADDRESS ON FILE
BEECH BLUFF, TN 38313




DAVIDSON, VENNIE G.                     DAVIE, STEVEN                            DAVIE, TRENA C.
3380 GARVEY LN                          ADDRESS ON FILE                          ADDRESS ON FILE
EDWARDSVILLE, IL 62025




DAVIES MANOR ASSOCIATION                DAVIES PHARMACY                          DAVIES, GAVIN D.
3570 DAVIESHIRE DRIVE                   2915 W TUSCARAWAS                        14962 SAWGRASS LANE
BARTLETT, TN 38133                      CANTON, OH 44708                         HOMER GLEN, IL 60491




DAVIES, JAMES P.                        DAVIES, JESSICA                          DAVIES, MIRIAM
2975 SUMMIT LANE                        ADDRESS ON FILE                          1248 SHELL AVE
MONROE, GA 30655                                                                 PACIFIC GROVE, CA 93950




DAVILA, ALMA                            DAVILA, GRACIELA                         DAVILA, KRISTINA
813 S 9TH ST                            ADDRESS ON FILE                          202 ROBERTS CV
DEMING, NM 88030                                                                 FLOSSMOOR, IL 60422
DAVILA, NANCY          Case 20-10766-BLS     Doc LAW
                                     DAVIS & GALM 6 FIRM
                                                       Filed 04/07/20   Page DAVIS
                                                                             445 of  1969J
                                                                                   ANGELA
100 WEST MURPHY STREET               DAVIS & GALM TRUST ACCOUNT              ADDRESS ON FILE
MURPHY STREET MERCADO                12220 SW FIRST ST
ALPINE, TX 79830                     BEAVERTON, OR 97005




DAVIS CABINET & MILL                  DAVIS DEANNA GAYE                      DAVIS DEBORAH LYNN
DBA WYOMING WOODSHOP                  20308 RANCH LN                         ADDRESS ON FILE
305 WEST STREET                       MARION, IL 62959
EVANSTON, WY 82930




DAVIS DEBRA D                         DAVIS DONNA RESPASS                    DAVIS DRY GOODS
385 DOG WALK ROAD                     1206 FORT BRANCH RD                    40 SOUTH MAIN STREET
ANNA, IL 62906                        OAK CITY, NC 27857                     LEXINGTON, TN 38351




DAVIS ENTERPRISES                     DAVIS JACKIE L                         DAVIS JESSICA
P O BOX 20823                         713 COUGAR COUNTRY                     ADDRESS ON FILE
PHOENIX, AZ 85036                     BUNA, TX 77612




DAVIS JR, CARMEL R.                   DAVIS M.D., MARK E.                    DAVIS M.D., MARK E.
19 GRAY COURT                         97 PARK LANE DRIVE                     ADDRESS ON FILE
PRESTONSBURG, KY 41653                GALESBURG, IL 61401




DAVIS PASTRY                          DAVIS REBECCA D                        DAVIS RUSSELL F
206 SOUTH MAIN ST                     ADDRESS ON FILE                        330 POOLE LANE
ANNA, IL 62906                                                               ANNA, IL 62906




DAVIS SHIRLEY D                       DAVIS TAMMY                            DAVIS WILLIAM S
408 5TH STREET NE                     ADDRESS ON FILE                        ADDRESS ON FILE
FORT PAYNE, AL 35967-2424




DAVIS, ABBI                           DAVIS, ADAM C.                         DAVIS, ALLEN
ADDRESS ON FILE                       3 CR 537                               15539 BARRS ST SW
                                      WYNNE, AR 72396                        DALTON, OH 44618




DAVIS, AMIE L.                        DAVIS, ANGELA J.                       DAVIS, ANGELA M.
109 HEFNER RD.                        ADDRESS ON FILE                        124 TURKEY RUN ROAD
BLAIRSVILLE, GA 30512                                                        LOUISA, KY 41230




DAVIS, ANGELA                         DAVIS, ANGELA                          DAVIS, APRIL DAWN
605 11TH ST NE                        ADDRESS ON FILE                        2832 GRAND AVE
FORT PAYNE, AL 35967                                                         GRANITE CITY, IL 62040
DAVIS, ASHLEY N.           Case 20-10766-BLS     Doc 6
                                         DAVIS, ASHLEY       Filed 04/07/20   Page DAVIS,
                                                                                   446 of   1969N.
                                                                                          AUBREY
143 RAGLAND RD                            2505 SUGAR CREEK RD                      ADDRESS ON FILE
DECATURVILLE, TN 38329                    BLUE RIDGE, GA 30513




DAVIS, BERNARD E.                         DAVIS, BILLY B.                          DAVIS, BLAKE
2167 SANDEEP DR                           ADDRESS ON FILE                          906 TROTWOOD AVENUE
GALESBURG, IL 61401                                                                COLUMBIA, TN 38401




DAVIS, BRADLEY K.                         DAVIS, BRANDY, MD PA                     DAVIS, BREANNA K.
ADDRESS ON FILE                           904 HOLIDAY DR                           1860 ERIE ST. S
                                          SUITE 406                                MASSILLON, OH 44646
                                          FORREST CITY, AR 72335




DAVIS, BRIAN C.                           DAVIS, BRITTANY                          DAVIS, BRYAN R.
ADDRESS ON FILE                           1304 11TH ST NE                          ADDRESS ON FILE
                                          MASSILLON, OH 44646




DAVIS, BRYAN                              DAVIS, BRYCE                             DAVIS, CALVIN
ADDRESS ON FILE                           183 GOLD RUSH DRIVE                      3812 PEAR TREE CT
                                          LOUISA, KY 41230                         COUNTRY CLUB HILLS, IL 60478




DAVIS, CAROL                              DAVIS, CECILIA D.                        DAVIS, CHANDRA T.
110 INDIANA AVE                           18515 MOENART ST                         941 PROVIDENCE CLUB DR
EAST GALESBURG, IL 61430                  DETROIT, MI 48234-2347                   MONROE, GA 30656-6206




DAVIS, CHARLINE                           DAVIS, CHELSEA                           DAVIS, CHRISTINA
ADDRESS ON FILE                           255 SUSAN ST.                            145 ST CLAIR AVE SW
                                          EUGENE, OR 97404                         NEW PHILADELPHIA, OH 44663




DAVIS, CLAYTON B.                         DAVIS, DAWN R.                           DAVIS, DEBBIE
ADDRESS ON FILE                           3252 SW 28TH ST.                         2215 HWY 306E
                                          REDMOND, OR 97756                        COLT, AR 72326




DAVIS, DEBRA SMITH                        DAVIS, DENAESHA                          DAVIS, DERANECQUE
1011 PETTIBONE RD                         6 SOUTHEAST CRESCENT DRIVE               1813 CINDY LANE
GREENVILLE, AL 36037                      MOUNT VERNON, IL 62864                   WYNNE, AR 72396




DAVIS, DEREK H.                           DAVIS, DIANA M.                          DAVIS, DONNA
ADDRESS ON FILE                           3521 OVERHILL DR NW                      2070 MICHEAL COURT
                                          CANTON, OH 44718                         MONROE, GA 30655
DAVIS, DOUGLAS LEE       Case 20-10766-BLS     Doc 6
                                       DAVIS, DUSTY          Filed 04/07/20   Page DAVIS,
                                                                                   447 of   1969
                                                                                          EDWINA
583 COUNTY RD 773                       605 BRIAN RD                               ADDRESS ON FILE
IDER, AL 35981                          BIG SPRING, TX 79720-0000




DAVIS, EMOGENE                          DAVIS, ERICA R.                            DAVIS, FRANKEY E.
1529 VINE AVE                           527 VICKSBURG DR                           1717 NE SHALE CT
ROUND LAKE BEACH, IL 60073              BELLEVILLE, IL 62221                       ROSEBURG, OR 97470




DAVIS, GARY R.                          DAVIS, GLENNIS A.                          DAVIS, GUINEVERE N.
13411 YOUTH ST                          8992 SCOTT HILL DRIVE                      59 JACK HAY DR. APT 33
NORTH LAWRENCE, OH 44666                CATLETTSBURG, KY 41129                     LEXINGTON, TN 38351




DAVIS, GWENDOLYN K.                     DAVIS, HEIDI M.                            DAVIS, INDANESIA
ADDRESS ON FILE                         1811 75TH STREET                           6708 DERBY DR APT I
                                        MONMOUTH, IL 61462                         GURNEE, IL 60031




DAVIS, J T. MD                          DAVIS, JACKIE                              DAVIS, JACQUELYN B.
242 CALVIN RIDGE ROAD                   60 LANSDEN DR                              101 E SPRING ST APT 5
MAKANDA, IL 62958-0000                  ATWOOD, TN 38220                           ANNA, IL 62906




DAVIS, JAMES L.                         DAVIS, JANETTE                             DAVIS, JASMINE
287 SPRING ST                           116 LUCILLE AVE                            805 OLD DOMINION
VENTURA, CA 93001                       ELLIJAY, GA 30540                          WEST HELENA, AR 72390




DAVIS, JC                               DAVIS, JENNIFER M.                         DAVIS, JEREMY
918 S MLK JR AVE                        ADDRESS ON FILE                            61765 STONE HAVEN LN.
WAUKEGAN, IL 60085                                                                 LA GRANDE, OR 97850




DAVIS, JERRY L.                         DAVIS, JESSICA                             DAVIS, JESSICA
ADDRESS ON FILE                         ADDRESS ON FILE                            P.O. BOX 527
                                                                                   FYFFE, AL 35971




DAVIS, JESSIE                           DAVIS, JODY                                DAVIS, JOHN W.
ADDRESS ON FILE                         2505 SUGAR CREEK RD                        4210 QUAIL STREET
                                        BLUE RIDGE, GA 30513                       ZION, IL 60099




DAVIS, JOYCE I.                         DAVIS, JUANITA M.                          DAVIS, JUDSON
606 4TH ST NE                           ADDRESS ON FILE                            1375 TAR LANDING RD
FORT PAYNE, AL 35967                                                               JAMESVILLE, NC 27846
DAVIS, JULIE             Case 20-10766-BLS     Doc 6
                                       DAVIS, JUSTIN         Filed 04/07/20   Page DAVIS,
                                                                                   448 of   1969R.
                                                                                          JUSTINA
6140 AUDREY ST SW                       3100 LONDON DR                             336 COUNTY RD 316
CANTON, OH 44706                        OLYMPIA FIELDS, IL 60461                   DAWSON, AL 35963




DAVIS, KADI J.                          DAVIS, KARA E.                             DAVIS, KAREN K.
893 OLD HIGHWAY 35 E                    2037 E 171ST COURT                         550 MORRIS FORD RD
FORT PAYNE, AL 35968-4765               SOUTH HOLLAND, IL 60473                    COLERAIN, NC 27924




DAVIS, KATARINA J.                      DAVIS, KAYLA L.                            DAVIS, KENDRA S.
1810 MONTICELLO PL                      7545 REYNOLDSBURG RD 17                    ADDRESS ON FILE
EDWARDSVILLE, IL 62025                  SPRINGVILLE, TN 38256




DAVIS, KERSTI L.                        DAVIS, KIMBERLY L.                         DAVIS, KRISTA
ADDRESS ON FILE                         119 E WAYNE ST                             ADDRESS ON FILE
                                        GEFF, IL 62842




DAVIS, KRISTI A.                        DAVIS, KYLIN                               DAVIS, LASONYA
ADDRESS ON FILE                         1837 N BERRA BLVD                          2195 MAGNOLIA
                                        TOOELE, UT 84074                           WEST MEMPHIS, AR 72301




DAVIS, LATERRIA                         DAVIS, LAWRENCE E.                         DAVIS, LEANNE M.
14627 HOYNE AVE                         2618 KINGHORN PL.                          ADDRESS ON FILE
HARVEY, IL 60426                        HENDERSON, NV 89044




DAVIS, LILLIE                           DAVIS, LYNETTE F.                          DAVIS, MABLE
131 HYNDS DAVIS RD                      18515 GOTTSCHALK AVENUE                    166 W PERDUE ST
MARTIN, TN 38237-5648                   HOMEWOOD, IL 60430                         GREENVILLE, AL 36037-3217




DAVIS, MICHELLE N.                      DAVIS, MICHELLE R.                         DAVIS, MICHELLE
ADDRESS ON FILE                         ADDRESS ON FILE                            118 W MAIN ST
                                                                                   SHARON, TN 38255




DAVIS, MICHELLE                         DAVIS, MIKAYLA R.                          DAVIS, MITCHELL
313 OPDYKE AVE                          103 LAKESITE DR                            710 NEWNHAM WALK
MT VERNON, IL 62864                     SYLVANIA, AL 35988                         BETHLEHEM, GA 30620




DAVIS, MOLLY R.                         DAVIS, MONALISA                            DAVIS, MYISHA
147 32ND ST NW                          446 NEPTUNE DR                             1035 PINE LOG ROAD APT 12
CANTON, OH 44709                        ARAB, AL 35016                             CONYERS, GA 30012
DAVIS, NAOMI             Case 20-10766-BLS     Doc 6
                                       DAVIS, NERISSA      Filed 04/07/20   Page DAVIS,
                                                                                 449 of   1969B.
                                                                                        NICOLE
14538 VANBUREN STREET                   36 GRANITE CT                            1540 HOLLY MANOR DR
DOLTON, IL 60419                        DALLAS, GA 30132-9437                    LOGANVILLE, GA 30052




DAVIS, NICOLE L.                        DAVIS, NICOLE R.                         DAVIS, PAM
784 FLORENCE AVE                        1059 RAVEN PLACE, APT 102                88 ARTHUR AVE
GALESBURG, IL 61401                     WADSWORTH, OH 44281                      GALESBURG, IL 61401




DAVIS, PAMELA H                         DAVIS, PAMELA H.                         DAVIS, PAMELA J.
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




DAVIS, PAMELA J.                        DAVIS, PATRICIA A.                       DAVIS, PATRICIA A.
ADDRESS ON FILE                         3007 CROSS CREEK CIRCLE                  ADDRESS ON FILE
                                        MASSILLON, OH 44647




DAVIS, PENNY J.                         DAVIS, PHILLIP J.                        DAVIS, PHILLIP
3635 SFC 735                            220 MAR VISTA DR 79                      467 BEALE ST
FORREST CITY, AR 72335                  APTOS, CA 95003                          MARIANNA, AR 72360




DAVIS, REBECCA D.                       DAVIS, REBECCA                           DAVIS, ROBERT M.
ADDRESS ON FILE                         ADDRESS ON FILE                          17000 WEDGE PKY UNIT 311
                                                                                 RENO, NV 89511-0000




DAVIS, ROBIN L.                         DAVIS, RUSSELL W.                        DAVIS, RYAN
811 N COMMERCIAL ST                     5869 WEST MUIRWOOD DRIVE                 ADDRESS ON FILE
BENTON, IL 62812                        HERRIMAN, UT 84096




DAVIS, SABRINA                          DAVIS, SAMANTHA J.                       DAVIS, SAMANTHA J.
211 DAWSON RD                           484 PARK STREET                          ADDRESS ON FILE
FYFFE, AL 35971                         GERALDINE, AL 35974




DAVIS, SANDRA                           DAVIS, SESSALY                           DAVIS, SHERRY D.
15953 LECLAIRE AVE.                     1510 HARTFORD ROAD                       212 DEER HAVEN DR
OAK FOREST, IL 60452                    HARRISBURG, IL 62946                     MORGANTON, GA 30560




DAVIS, SHERTONIA                        DAVIS, SHIRLEY                           DAVIS, STEVEN T.
ADDRESS ON FILE                         2322 BRENT DR                            70B CHESTNUT RIDGE ROAD
                                        BIG SPRING, TX 79720                     CLARION, PA 16214
DAVIS, SUSAN A.           Case 20-10766-BLS     Doc L.
                                        DAVIS, TAMMY 6     Filed 04/07/20   Page DAVIS,
                                                                                 450 of   1969
                                                                                        TAMMY
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




DAVIS, TASHA                             DAVIS, TAYLOR                           DAVIS, TOMMY R.
134 SALTPETRE RD                         3 COUNTY ROAD 537                       66 INDEPENDENT BLVD
FORT GAY, WV 25514                       WYNNE, AR 72396                         AIKEN, SC 29803-8134




DAVIS, TYISHA                            DAVIS, TYLER                            DAVIS, VICKIE
652 PAXTON AVE                           ADDRESS ON FILE                         P.O BOX 2036
CALUMET CITY, IL 60409                                                           HELENDALE, CA 92342




DAVIS, VIRGINIA R.                       DAVIS, WANDY                            DAVIS, WENDY F.
3830 PURCELL ROAD                        516 W CANEDY                            760 LEWIS ST
SALEM, IL 62881                          SPRINGFIELD, IL 62703                   FORREST CITY, AR 72335




DAVIS, WHITNEY                           DAVIS, WILLIAM                          DAVIS, WILLIAM
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




DAVIS-HAGER, CHARLYN G.                  DAVISON, BRITTANY L.                    DAVISON, DANIELLE M.
ADDRESS ON FILE                          ADDRESS ON FILE                         364 CHEROKEE RIDGE
                                                                                 ATHENS, GA 30606




DAVISON, JACOB                           DAVISON, NANCY J.                       DAVISON, VERONICA L.
14134 CHARLESTON RD                      10855 LEXINGTON STREET                  ADDRESS ON FILE
JOHNSTON CITY, IL 62951                  HUNTINGDON, TN 38344




DAVISSON, KENNETH                        DAVOL INC                               DAVOL INC
15343 HACKETT RD                         CR BARD INC                             P.O. BOX 75767
DALTON, OH 44618                         P.O. BOX 75767                          CHARLOTTE, NC 28275
                                         CHARLOTTE, NC 28275




DAVOL INC.                               DAVULURI MD, SRIKANTH                   DAW, PATRICIA A.
PO BOX 75767                             ADDRESS ON FILE                         1489 MARTINGALE ST
CHARLOTTE, NC 28275                                                              EUGENE, OR 97405-0000




DAWERENCE WELTY                          DAWES, ELIZABETH K.                     DAWES, EMMALEE
243 US HIGHWAY 45                        ADDRESS ON FILE                         838 E 900 N
CISNE, IL 62823-9012                                                             TOOELE, UT 84074
DAWES, PATRICIA E.       Case 20-10766-BLS    Doc
                                       DAWKINS,    6 Filed 04/07/20
                                                DAVONTE               Page DAWLEY,
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105 TURNER AVE                         83 HILLVIEW APTS DR                 306 POWELL ST
ANNA, IL 62906                         MCKENZIE, TN 38201                  PARIS, TN 38242-3623




DAWN CHRISTENBERRY PETTY CASH          DAWN CHRISTENBERRY                  DAWN DAVIS
CUSTODIAN                              139 PINEVIEW DRIVE                  3482 WEAVER CREEK RD
315 MEDICAL CENTER DR SW               RAINSVILLE, AL 35986                BLUE RIDGE, GA 30513
FORT PAYNE, AL 35968




DAWN M MARTIN                          DAWN PORTER                         DAWN SMITH
1307 ASPEN LN                          ADDRESS ON FILE                     240 EGRET CT
WYLIE, TX 75098                                                            BELLEVILLE, IL 62223




DAWN TATRO                             DAWN, TODD                          DAWS, JASON T.
ADDRESS ON FILE                        ADDRESS ON FILE                     305 SCOTT LANE
                                                                           LEXINGTON, TN 38351




DAWS, SHANNON L.                       DAWSON, BRITTNEY G.                 DAWSON, CARRIE
ADDRESS ON FILE                        5626 SILVER FOX DR                  1141 MAPLE CREEK RIDGE
                                       CARTERVILLE, IL 62918               LOGANVILLE, GA 30052




DAWSON, KEITH S                        DAWSON, KIM                         DAWSON, MARTHA
21346 W WILLOW RDCT                    440 WILLIAMSBURG DR APT A           600 N 32ND ST
LAKE ZURICH, IL 60047                  SHILOH, IL 62221                    WEST MEMPHIS, AR 72301




DAWSON, VERA M.                        DAWSON, WAYNE                       DAY MARK FOOD SAFETY SYSTEMS
510 HODGES                             907 HIGHLAND DR                     12830 SOUTH DIXIE HWY
FORREST CITY, AR 72335                 BIG SPRING, TX 79720-0000           BOWLING GREEN, OH 43402




DAY, ALISSA C.                         DAY, AMANDA J.                      DAY, AMARIS S.
ADDRESS ON FILE                        804 W CHESTNUT ST                   463 LOCHAVEN AVE.
                                       MARION, IL 62959                    SPRINGFIELD, OR 97477




DAY, CHELCEE B.                        DAY, CHRISTOPHER R.                 DAY, COREY T.
8200 ANN ST SW                         ADDRESS ON FILE                     3043 CENTURY DR
NAVARRE, OH 44662                                                          GRANITE CITY, IL 62040




DAY, JAN                               DAY, JOHN E.                        DAY, KRISTY M.
P.O. BOX 23                            46851 WINFREY RD                    ADDRESS ON FILE
STOCKTON, UT 84071                     WESTFIR, OR 97492
DAY, LAJUANA              Case 20-10766-BLS     Doc 6
                                        DAY, NICOLE          Filed 04/07/20   Page DAY,
                                                                                   452RHONDA
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                                                                                              S.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




DAY, SHELBY L.                           DAY, SHERRY                               DAY, TOBIE
265 MEADOWBROOK CIR                      1360 VINIES DR SW                         2637 RENNIE CT.
LEXINGTON, TN 38351                      MONROE, GA 30655                          NEW FRANKLIN, OH 44203




DAYAMI FERNANDEZ                         DAYNES JAKE, DO                           DAYNES, JACOB W.
ADDRESS ON FILE                          10747 CAVAL CADE COURT                    ADDRESS ON FILE
                                         INDIANAPOLIS, IN 46234




DAYRIES, BROOKE                          DAYTON WALTERS                            DAYTON, LOUIS H.
ADDRESS ON FILE                          512 GREEN AVE SW                          103 LIEDERKRANZ LANE
                                         MASSILLON, OH 44647                       MILLSTADT, IL 62260




DB SURGICAL, INC.                        D-C ELEVATOR COMPANY, INC.                DC TREASURER
12480 W ATLANTIC BLVD                    709 MILES POINT WAY                       DC OFFICE OF FINANCE AND TREASURY
SUITE 1                                  LEXINGTON, KY 40510-0000                  UNCLAIMED PROPERTY UNIT
CORAL SPRINGS, FL 33071                                                            1101 4TH STREET, SW,
                                                                                   WASHINGTON, DC 20024



DCI DONOR SERVICES INC                   DCT TELECOM GROUP INC                     DE CASTRO, SALLY H.
1600 HAYES STREET SUITE 300              P.O. BOX 74653                            ADDRESS ON FILE
NASHVILLE, TN 37203                      CLEVELAND, OH 44194-4653




DE CHAVEZ, EVANGELINE                    DE GROODT, LUPE N.                        DE GUIA, EMILY E.
ADDRESS ON FILE                          743 NEVADA ST                             ADDRESS ON FILE
                                         WATSONVILLE, CA 95076




DE GUZMAN M.D., MARGRET                  DE LA CRUZ, ASHBEL                        DE LA CRUZ, EVELIA
ADDRESS ON FILE                          2104 S BRYANT                             12524 S JUSTINE ST
                                         DEMING, NM 88030                          CALUMET PARK, IL 60827




DE LA GARZA, ELIZABETH                   DE LA MORA, ESPERANZA                     DE LA PAZ, LYNZEE K.
ADDRESS ON FILE                          9340 S. MOODY AVENUE                      ADDRESS ON FILE
                                         OAK LAWN, IL 60453




DE LA ROSA, DAAYANA                      DE LA ROSA, GLADYS                        DE LAGE LANDEN FINANCIAL SERVICES INC
108 N. MOSS LAKE RD.                     1815 W 5TH STREET                         1111 OLD EAGLE SCHOOL RD
BIG SPRING, TX 79720                     FT STOCKTON, TX 79735                     WAYNE, PA 19087
DE LAGE LANDEN FINANCIALCase  20-10766-BLS
                         SERVICES INC  DE LAGE Doc
                                                LANDEN6 FINANCIAL
                                                          Filed 04/07/20
                                                                  SERVICES INCPage DE
                                                                                    453  of LANDEN
                                                                                      LAGE  1969 FINANCIAL SERVICES,
1111 OLD EAGLE SCHOOL RD               P.O. BOX 41602                              INC.
WAYNE, PA 79087                        PHILADELPHIA, PA 19101-1602                 P.O. BOX 41602
                                                                                   PHILADELPHIA, PA 19101-1602




DE LAGE LANDEN FINANCIAL SRVCS           DE LAGE LANDEN, INC.                     DE LANEY, GRETCHEN
LOCKBOX -41602                           POB 41602                                ADDRESS ON FILE
RTE 38 & EASTGATE DRIVE                  PHILADELPHIA, PA 19101-1602
MOORESTOWN, NJ 08057




DE LARA, ARNEL                           DE LAS MERCEDES SAYAGO, MD, MARIA        DE LEE, RYAN
1019 WRENS GATE                          C/O AVRH                                 85109 CHEZEM ROAD
MUNDELEIN, IL 60060                      104 LEGION DR                            EUGENE, OR 97405
                                         LAS VEGAS, NM 87701




DE LOS REYES, ESTEBAN                    DE LOS SANTOS, JESSICA                   DE LUNA SR., JUAN J.
101 E MULBERRY ST                        4051 VICKY ST.                           63 DEL RIO CT
DEMING, NM 88030                         BIG SPRING, TX 79720                     WATSONVILLE, CA 95076




DE RETANA, NATALIJA                      DE SCHEPPER, LISA M.                     DE TABLAN, ALLESANDRA
2021 S SADDLER ST                        ADDRESS ON FILE                          5525 SCOTTS VALLEY DR
DEMING, NM 88030                                                                  SCOTTS VALLEY, CA 95066




DE YOUNG M.D., MARK B.                   DEA HEADQUARTERS                         DEA HEADQUARTERS
ADDRESS ON FILE                          ATTN: REGISTRATIN SECTION/ODR            ATTN:REGISTRATION SECTION/ODR
                                         P.O. BOX 2639                            P.O. BOX 2639
                                         SPRINGFIELD, VA 22152-2639               SPRINGFIELD, VA 22152




DEACON, JEFFERY                          DEACON, KATHRYN                          DEACON, MARJORIE
ADDRESS ON FILE                          3 LILAC AVE, APT 505                     67 ALEXANDER ST
                                         FOX LAKE, IL 60020                       WINDER, GA 30680-1616




DEACONESS HEALTH SYSTEM                  DEADWOOD                                 DEAF ACCESS, INC.
600 MARY STREET                          2302 EDS GROCERY RD                      P.O. BOX 115
EVANSVILLE, IN 47710                     WILLIAMSTON, NC 27892                    RYLAND, AL 35767




DEAF INTER-LINK INC                      DEAF WAY                                 DEAK, MARY E.
P.O. BOX 510                             5240 OAKLAND AVE                         4611 VINE BLVD
FLORISSANT, MO 63032-0510                ST LOUIS, MO 63110                       GRANITE CITY, IL 62040




DEAK, RUSH DANIEL JR.                    DEAK, STEPHANIE                          DEAL BILLY W
4611 VINE BLVD                           2444 WOODLAWN                            121 PONDEROSA PLACE
GRANITE CITY, IL 62040                   GRANITE CITY, IL 62040                   MCCAYSVILLE, GA 30555
DEAL, ALEXIS             Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                       DEAL, ARIKA                    Page DEAL,
                                                                           454 BILLY
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                                                                                      W.
775 TUMBLING CREEK RD                  75 BROWN                            121 PONDEROSA PLACE
COPPERHILL, TN 37317-4229              LEXINGTON, TN 38351                 MCCAYSVILLE, GA 30555




DEAL, KATRINA L.                     DEAL, REBEKAH E.                      DEAL, STACEY
87835 FERNDALE CT                    1125 KIMSEY DAIRY RD.                 ADDRESS ON FILE
VENETA, OR 97487                     TURTLETOWN, TN 37391




DEAN HEALTH PLAN                     DEAN HOLDING COMPANY                  DEAN HUNTER
1277 DEMING WAY                      GANDYS DAIRIES INC                    810 NORTH E ST
MADISON, WI 53717                    P.O. BOX 201263                       MONMOUTH, IL 61462
                                     DALLAS, TX 75320-1263




DEAN KAREN G                         DEAN PAQUETTE                         DEAN TEAL
1006 MAGNOLIA CIR                    ADDRESS ON FILE                       402 N 2ND ST
SYLACAUGA, AL 35150                                                        DENNISON, OH 44621-1108




DEAN, AMY                            DEAN, BRENDEE                         DEAN, CHRIS
259 TARKHILL ROAD                    173 MORGAN CIR                        1322 MOUNTAIN VIEW DRIVE
FORT GAY, WV 25514                   EVANSTON, WY 82930-4940               FORT PAYNE, AL 35968




DEAN, CODY                           DEAN, EDWARD PAUL                     DEAN, EVONNE J.
ADDRESS ON FILE                      619 SAUNDERS CIRCLE                   415 EAST 4TH STREET UNIT 10
                                     EVANSTON, WY 82930                    DEMING, NM 88030




DEAN, GINA M.                        DEAN, JOYCE A.                        DEAN, KAYLA
943 JOHNSTON ST.                     17318 PEACH GROVE LN                  612 NATS CREEK RD
GALESBURG, IL 61401                  HAZEL CREST, IL 60429                 LOUISA, KY 41230




DEAN, KRISTEN M.                     DEAN, MARY E.                         DEAN, SHELIA S.
ADDRESS ON FILE                      101 SPUR TRAIL                        P.O. BOX 1666
                                     FORT DAVIS, TX 79734                  RAINSVILLE, AL 35986




DEAN, TAMALA L.                      DEAN, ZACKERY T.                      DEANA J DAHMM
ADDRESS ON FILE                      302 SHANKLES CIR                      925 N RILE ST
                                     RAINSVILLE, AL 35986                  BUSHNELL, IL 61422




DEANDA, VERONICA                     DEANGELIS, MATTHEW                    DEANNA BELL
ADDRESS ON FILE                      279 E FORD AVE                        405 EAST STATE ST
                                     BARBERTON, OH 44203-3234              OFALLON, IL 62269
DEANNA C WOOLARD             Case 20-10766-BLS
                                           DEANNA Doc 6
                                                  COWAN        Filed 04/07/20   Page DEANNA
                                                                                     455 ofJ1969
                                                                                            BRUCE
8650 STOTLAR RD                            117 BEECH DR                             2525 WILLOW LN
HERRIN, IL 62948-6510                      DELAWARE, OH 43015                       SOCIAL CIRCLE, GA 30025




DEANNA K SMITH                             DEANS, HILLCAH                           DEAN-SIMON, JULIE M.
542 NEALE AVE SW                           1475 BULB AVE                            ADDRESS ON FILE
MASSILLON, OH 44647                        SANTA CRUZ, CA 95062




DEAR, DOROTHY A.                           DEARBORN, SYBIL Y.                       DEARNELL, SHAWN
2321 W 120TH PL                            176 ASH STREET                           1595 STONECOAL ROAD
BLUE ISLAND, IL 60406-1132                 PARK FOREST, IL 60466                    KERMIT, WV 25674




DEASIS, DAVID L.                           DEASON, MARY A.                          DEASON, PRESTON A.
1429 E 6TH APT 27                          407 SOUTH 3RD STREET                     9149 KNOX ROAD
BIG SPRING, TX 79720                       COULTERVILLE, IL 62237                   WEST FRANKFORT, IL 62896




DEATHERAGE, MARINA                         DEATON, DAKOTA L.                        DEATON, FREIDA
1037 TRUDY LANE                            ADDRESS ON FILE                          2161 TAR RIDGE ROAD
FOX LAKE, IL 60020                                                                  ROGERS, KY 41365




DEATON, HOWARD I.                          DEATON, JIMMY CLIFTON                    DEATON, MELISSA L.
P.O. BOX 1205                              1311 MILLERS BRANCH ROAD                 ADDRESS ON FILE
BLUE RIDGE, GA 30513                       JACKSON, KY 41339




DEATRICK & SPIED, P.S.C.                   DEAVER, JEFFREY                          DEAVER, KIMBERLY
P.O. BOX 4668                              3811 LENWOOD
LOUISVILLE, KY 40204                       AMARILLO, TX 79109




DEAVER, KIMBERLY                           DEAVISER, DANNY                          DEBARDELEBEN, LETA
1185 MOUNTAIN VIEW ROAD                    543 SFC 132                              7464 RENKEN RD
MCCAYSVILLE, GA 30555                      PALESTINE, AR 72372                      WORDEN, IL 62097




DEBBIE BAKER DAVIS CROSS COUNTY            DEBBIE BLAKE                             DEBBIE DAVIS, TAX COLLECTOR
COLLECTOR                                  1930 MT VERNON RD                        705 E UNION AVE STE 10
705 UNION AVE E STE 10                     WADESBORO, NC 28170-7119                 WYNNE, AR 72396-3039
WYNNE, AR 72396




DEBBIE HOLCOMB                             DEBBIE SAUNDERS                          DEBBIES FLOWERS
385 ROXIE REESE RD                         ADDRESS ON FILE                          710 E BROADWAY
PLYMOUTH, NC 27962                                                                  FORREST CITY, AR 72335
DEBELEN, ERLINDA            Case 20-10766-BLS    Doc
                                          DEBELEN,     6 Filed 04/07/20
                                                   ERLINDA                Page DEBERRY,
                                                                               456 of 1969
                                                                                        JUSTINA
2919 N AUGUSTA DRIVE                       ADDRESS ON FILE                     426 REGENCY CT
WADSWORTH, IL 60083                                                            MURFREESBORO, TN 37129




DEBERRY, KATHRYN                           DEBIEN, JESSICA                     DEBNAM, TIERNY
755 STONE CREEK DRIVE                      207 W. ROBINSON RD.                 ADDRESS ON FILE
MAKANDA, IL 62958                          BIG SPRING, TX 79720




DEBOO ODELIA C                             DEBORA A HONAN                      DEBORAH A BETZ
3615 16TH STCK ST APT 214                  17625 IROQUIOS TRACE                270 N 11TH ST
ROLLING HILLS MANOR                        TINLEY PARK, IL 60477               SUNBURY, PA 17801
ZION, IL 60099




DEBORAH A JOHNSON                          DEBORAH CHANCE                      DEBORAH DINGUSS
328 TRADEWINDS WAY                         1560 MASHVILLE RD                   1473 ABBOTT CREEK ROAD
GRIMESLAND, NC 27837                       GREENVILLE, AL 36037                PRESTONSBURG, KY 41653




DEBORAH F CHESSON                          DEBORAH FITCH                       DEBORAH GONOT
P.O. BOX 585                               89 BIGGS BR RD                      ADDRESS ON FILE
ROPER, NC 27970                            LOUISA, KY 41230




DEBORAH HERMAN                             DEBORAH KONYA                       DEBORAH L TRIMBLE - CEO
ADDRESS ON FILE                            ADDRESS ON FILE                     ADDRESS ON FILE




DEBORAH L TRIMBLE                          DEBORAH PHILLIPS                    DEBORAH S GUTHRIE
ADDRESS ON FILE                            17579 CO RD 400 E                   5335 BARLOW PASS
                                           DAHLGREN, IL 62828                  POWDER SPRINGS, GA 30127-8501




DEBORAH SMITH                              DEBORAH SPEARS                      DEBORAH WALLACE
1356 PARK ST                               516 AVALON DR                       ATTN: LAVERN WALLACE
CRETE, IL 60417                            TROY, IL 62294                      3528 RIEHL LANE
                                                                               GODFREY, IL 62035-0000




DEBORAH WILLWERTH                          DEBORAH, ASHLEY                     DEBOURGE DELMER C
1028 SHADOWSTONE DRIVE                     20 MONTICELLO DR                    3165 REED ROAD
LANCASTER, PA 17603-9700                   ELLIJAY, GA 30540                   RED BUD, IL 62278




DEBOURGE, AMY R.                           DEBRA BABB                          DEBRA BOATRIGHT
306 LOUISA AVENUE                          1179 FLORENCE AVE                   208 W MARKET
DUPO, IL 62239                             GALESBURG, IL 61401                 JONESBORO, IL 62952
DEBRA GEMMELL             Case 20-10766-BLS    Doc 6
                                        DEBRA HILL        Filed 04/07/20   Page DEBRA
                                                                                457 of  1969
                                                                                      HUBBARD
182 N CHAMBERS ST                       124 BRADFORD CR                         2708 LINCOLN PARK DR
GALESBURG, IL 61401                     HENDERSONVILLE, TN 37075                GALESBURG, IL 61401




DEBRA JOHNSON                           DEBRA L PERKINS                         DEBRA L WEST
P.O. BOX 556                            4917 N THOMPSONVILLE RD                 ADDRESS ON FILE
WEST MEMPHIS, AR 72303                  THOMPSONVILLE, IL 62890




DEBRA LUDLOW                            DEBRA MCCORMICK                         DEBRA MCCORMICK
BOX 1772                                ADDRESS ON FILE                         PO BOX 358
CRYSTAL RIVER, FL 34423-1772                                                    WATAGA, IL 61488




DEBRA MORRIS                            DEBRA POLLARD                           DEBRA RENEE WYNKOOPGREEN
ADDRESS ON FILE                         19056 NC 125                            794 BOBCAT RUN
                                        WILLIAMSTON, NC 27892                   MESQUITE, NV 89034




DEBRA S KENNEDY                         DEBRA SHAW                              DEBRA STECKEL
601 HILL ST                             321 HAPPY HOLLOW DR                     383 COUNTY ROAD 422
WASHINGTON, GA 30673-5311               FORREST CITY, AR 72335                  HENAGAR, AL 35978




DEBRA TAYLOR                            DEBRA, BENJAMIN                         DEBRA-KUEMPEL INC
ADDRESS ON FILE                         108 E. 16TH ST                          P.O. BOX 701620
                                        CENTRALIA, IL 62801                     CINCINNATI, OH 45270-1620




DEC, KAREN L.                           DEC, KAREN L.                           DECAPRIA, DAVID L.
11600 PURPLE SAGE RD SW                 ADDRESS ON FILE                         15 STONY RIDGE LN
DEMING, NM 88030                                                                MILL HALL, PA 17751




DECARO, GREGORY                         DECATUR COUNTY MEMORIAL HOSPITAL        DECHERT LLP
6107 AIRLINE RD.                        720 N. LINCOLN STREET                   P.O. BOX 7247-6643
YOUNG HARRIS, GA 30582                  GREENSBURG, IN 47420                    PHILADELPHIA, PA 19170-6643




DECHICCHIO-SANCHEZ, KIMBERLY K.         DECHOW, DENISE M.                       DECISION HEALTH
26600 YOSEMITE PL                       ADDRESS ON FILE                         P.O. BOX 5094
VALENCIA, CA 91354                                                              BRENTWOOD, TN 37024




DECK, BRIAN                             DECKER SHARON L                         DECKER, JACK E.
3848 E BRIDGEPORT PKWY                  2525 SHERIDAN AVE                       2903 CARIE HILL CIR NW
GILBERT, AZ 85295                       GRANITE CITY, IL 62040                  MASSILLON, OH 44646
DECKER, JAMES             Case 20-10766-BLS
                                        DECKER,Doc 6
                                               KATHY        Filed 04/07/20   Page DECKER,
                                                                                  458 of KEVIN
                                                                                          1969- CEO
13143 SINCLAIR ST SW                    70 BRYANT STREET P.O. BOX 233             FORREST CITY MEDICAL CENTER
MASSILLON, OH 44647                     TREZEVANT, TN 38258                       1601 NEWCASTLE RD
                                                                                  FORREST CITY, AR 72336




DECKER, MARK                            DECKER, PEGGY                             DECKER, WILLIAM K.
1120 OLIVE ST                           356 BARBER AVE NE                         1200 AARON DRIVE
HIGHLAND, IL 62249                      BREWSTER, OH 44613                        WYNNE, AR 72396




DECONCINI, MICHAEL GENE                 DECOSTA, SCOTT J.                         DEDMAN, CHARLES
6021 CHEROKEE AVE                       ADDRESS ON FILE                           109 CHICKASAW
GLEN CARBON, IL 62034                                                             WYNNE, AR 72396




DEDMON, AMANDA                          DEDRA CAPPS, NP                           DEEDON WATSON, LISA C.
209 MCCLELLAND DR                       ADDRESS ON FILE                           ADDRESS ON FILE
TROY, IL 62294




DEEMER, DANIEL                          DEENA DUKE                                DEEP LAKE DEVELOPMENT PARTNERS, LLC
270 COUNTY ROAD 165                     49 DUKE DR
CEDAR BLUFF, AL 35959-3613              LEXINGTON, TN 38351




DEEP SOUTH SHAVED ICE                   DEERE, MARILYN                            DEERING, SARAH
3050 KADAR LILLEY ROAD                  500 HAYES ST                              201 BLAKERIDGE LANE
WILLIAMSTON, NC 27892                   LEXINGTON, TN 38351                       CORRALITOS, CA 95076




DEERMAN, JENNY - CASH DRAWER            DEERMAN, JENNY                            DEERMAN, MORGAN F.
CUSTODIAN                               ADDRESS ON FILE                           516 DAVID AVE
83 GEORGE WALLACE DR                                                              SCOTTSBORO, AL 35768
RAINSVILLE, AL 35986




DEERMAN, RICKEY, MD.                    DEES, GERTRUDE                            DEESER, SONDRA
ADDRESS ON FILE                         207 W. PERRY STREET                       126 SARATOGA AVE NW
                                        LOUISA, KY 41230                          CANTON, OH 44708-5143




DEETER, CARROLL                         DEETS, THERESA M.                         DEFFENBAUGH, CODI
845 BROKEN ARROW RD                     1053 MEADOW LAKE DR                       7500 STATE ROUTE 156
ROSWELL, NM 88201-7805                  MARYVILLE, IL 62062                       NEW ATHENS, IL 62264




DEFFINBAUGH, MECHELE L.                 DEFFINBAUGH, MICHELLE                     DEFILIPPO, DAVID R.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE
DEFINE, JOSEPH P.         Case 20-10766-BLS
                                        DEFOOR,Doc
                                               ELIZA6       Filed 04/07/20   Page DEFOREST,
                                                                                  459 of 1969
                                                                                            DANIEL
P.O. BOX 962                             ADDRESS ON FILE                          19065 W. BOBTAIL RD
MASSILLON, OH 44646                                                               BENTON, IL 62812




DEFRANZA, LINDA M.                       DEGNER, EDWARD                           DEGONIA, DAWN
3828 W 212 PLACE                         37165 TREE FARM RD                       201 EMERALD WAY W
MATTESON, IL 60443                       SPRINGFIELD, OR 97478                    GRANITE CITY, IL 62040-0000




DEGRAFFENREID, DEBRA                     DEGRAW, JOHN                             DEGROOT, LENNA J.
5009 58TH STREET APT 14                  3671 KRISHER AVE SW                      3 CHERRY DRIVE
KENOSHA, WI 53144                        CANTON, OH 44706                         ROCHESTER, IL 62563




DEGROOT, SCOTT                           DEGUZMAN PERALTA, JOSE FRANCIS           DEGUZMAN, CALLIE
710 PINES WAY                            ADDRESS ON FILE                          9899 BROOKGRASS PL
COLUMBIA, IL 62236                                                                SALINAS, CA 93907




DEGUZMAN, FREDILILY                      DEGUZMAN, JOVITA                         DEHART, ALICE I.
ADDRESS ON FILE                          ADDRESS ON FILE                          3191 SPEARMINT ST
                                                                                  EUGENE, OR 97404




DEHART, ELDON                            DEHNKE, BETH A.                          DEHOFF, BRIDGET
ADDRESS ON FILE                          6282 COLLEGE STREET SW                   14878 WOOSTER ST NW
                                         NAVARRE, OH 44662                        NORTH LAWRENCE, OH 44666




DEICHMAN JAMES                           DEICHMAN, JODI                           DEICHMUELLER, GEORGE J.
4370 FINCH CT APT 5                      ADDRESS ON FILE                          11250 HUSBAND ROAD
GURNEE, IL 60031-2770                                                             MARION, IL 62959




DEIDRE GREGSON                           DEIERLING, DIANE M.                      DEIR, JEAN
ADDRESS ON FILE                          270 TANGLEWOOD DR. S.W.                  303 CHAMBERS BLVD
                                         NORTH CANTON, OH 44720                   SWANSEA, IL 62226




DEISLER, SANDRA L.                       DEITCH, CINDY                            DEITT M GOFORTH IND EXEC
16 FLAGSTONE DRIVE                       7641 FRUIT DOVE ST                       421 E LEBANON ST
LAS VEGAS, NM 87701                      NORTH LAS VEGAS, NV 89084                NASHVILLE, IL 62263




DEIVARAJU, CHENTHURAN                    DEIVARAJU, MD, CHENTHURAN                DEJAYNES, ANGELA A.
501 N ROADRUNNER PKWY APT 2203           ADDRESS ON FILE                          ADDRESS ON FILE
LAS CRUCES, NM 88011
DEJAYNES, TARA R.        Case 20-10766-BLS    Doc
                                       DEKALB AL    6 Filed
                                                 INPATIENT    04/07/20
                                                           SERVICES       Page DEKALB
                                                                               460 ofAMBULANCE
                                                                                      1969     SERVICE
ADDRESS ON FILE                          16343 COLLECTIONS CENTER DRIVE        P.O. BOX 680643
                                         CHICAGO, IL 60693                     FORT PAYNE, AL 35968




DEKALB CHEROKEE COUNTIES GAS D           DEKALB CHEROKEE COUNTIES              DEKALB CHEROKEE COUNTIES
P O BOX 680376                           1405 GAULT AVE                        P.O. BOX 680376
FORT PAYNE, AL 35968                     SOUTH FORT PAYNE, AL 35967            FORT PAYNE, AL 35968-1604




DEKALB CHILDRENS ADVOCACY                DEKALB CLEANING SERVICE               DEKALB CO DISTRICT COURT SM
P.O. BOX 680173                          41 CARISSA ROAD                       TODD GREESON CIRCUIT CLERK
FORT PAYNE, AL 35968-0000                SYLVANIA, AL 35988-0000               P.O. BOX 681149
                                                                               FORT PAYNE, AL 35968-1149




DEKALB CO. FRATERNAL ORDER OF POLICE     DEKALB COUNTY COMMISSION              DEKALB COUNTY HEALTH DEPARTMEN
LODGE37                                  111 GRAND AVE SW,SUITE 200            P.O. BOX 630347
1913 FOREST AVE NW                       FORT PAYNE, AL 35967                  FORT PAYNE, AL 35968
FORT PAYNE, AL 35967




DEKALB COUNTY HOSPITAL ASSOCIATION       DEKALB COUNTY JUDGE OF PROBATE        DEKALB COUNTY PROBATE JUDGE
C/O DEKALB AMBULANCE SERVICE             111 GRAND AVENUE SW, SUITE 200        300 GRAND AVE SW
P O BOX 680643                           FORT PAYNE, AL 35967                  STE 100
FORT PAYNE, AL 35968                                                           FT PAYNE, AL 35967




DEKALB COUNTY REVENUE COMMISSION         DEKALB COUNTY REVENUE DEPARTME        DEKALB COUNTY REVENUE DEPARTMENT
206 GRAND AVE. SW                        SALES TAX COLLECTIONS                 SALES TAX COLLECTIONS
FORT PAYNE, AL 35967                     111 GRAND AVE SW SUITE 112            111 GRAND AVE SW SUITE 112
                                         FORT PAYNE, AL 35967                  FORT PAYNE, AL 35967




DEKALB COUNTY VFW POST 3128              DEKALB COUNTY                         DEKALB EMERGENCY GROUP
P.O. BOX 680776                          ATTN: DEKALB COUNTY REVENUE           P.O. BOX 677979
FORT PAYNE, AL 35968                     COMMISSIONER TYLER WILKS              DALLAS, TX 75269-7979
                                         206 GRAND AVE. SW
                                         FORT PAYNE, AL 35967



DEKALB JACKSON WATER SUPPLY              DEKALB OFFICE                         DEKALB PARTS COMPANY
P.O. BOX 280                             P.O. BOX 116112                       1028 GAULT AVE. SO
FLAT ROCK, AL 35966-0280                 ATLANTA, GA 30368-6112                FORT PAYNE, AL 35967




DEKALB POOLS AND COPIES                  DEKALB RADIOLOGIST GROUP LLC          DEKALB REFRIGERATION INC
501 GREENHILL BLBD. NW, SUITE 160        P O BOX 680949                        406 INDUSTRIAL BLVD
FT PAYNE, AL 35967                       FORT PAYNE, AL 35968                  P.O. BOX 612
                                                                               RAINSVILLE, AL 35986




DEKALB REFRIGERATION                     DEKALB REGIONAL MEDICAL CENTER        DEKALB REGIONAL MEDICAL CENTER
P.O. BOX 612                             200 MEDICAL CENTER DRIVE              P.O. BOX 680778
RAINSVILLE, AL 35986                     FORT PAYNE, AL 35968                  FORT PAYNE, AL 35968
DEKALB, MARY             Case 20-10766-BLS    Doc 6 Filed
                                       DEKALB-CHEROKEE      04/07/20
                                                       COUNTIES GAS    Page DEKALB-JACKSON
                                                                            461 of 1969 WATER SUPPLY DISTRICT
ADDRESS ON FILE                         DISTRICT MAIN OFFICE                21700 ALABAMA HWY 17
                                        1405 GAULT AVE SOUTH                IDER, AL 35981
                                        FORT PAYNE, AL 35967




DEKKER, KATHERINE                       DEKOWSKI, ALLYSON                   DEL CAMPO, MARU
45 LONG VALLEY RD                       4504 LACHELLE AVE SW                ADDRESS ON FILE
CASTROVILLE, CA 95012                   MASSILLON, OH 44646




DEL CASTILLO, SASHA                     DEL GRANDE, GINA M.                 DEL NORTE PHARMACY & HOME
ADDRESS ON FILE                         215 APTOS BEACH DRIVE               MEDICAL OF LAS VEGAS, INC
                                        APTOS, CA 95003-4535                604 UNIVERSITY DRIVE
                                                                            LAS VEGAS, NM 87701




DELA CRUZ DERAMIREZ, TERESA             DELA CRUZ, JOHN EMETTE              DELA VICTORIA, SAMANTHA
3344 BLOSSOM DR                         409A HORSESHOE DR.                  1892 JUAREZ ST
PERRIS, CA 92571-7506                   DEMING, NM 88030                    SEASIDE, CA 93955




DELACRUZ, DIANA                         DELACRUZ, SARAH MAE                 DELAFONT, RICHARD
830 ADDERLY LN                          ADDRESS ON FILE                     657 ORIOLE COURT
GURNEE, IL 60031                                                            GRAYSLAKE, IL 60030




DELAGE LANDEN FINANCIAL                 DELAGRANGE, CHRIS                   DELAMAR, LISA
P.O. BOX 41602                          1255 BLAYLOCK STORE RD              ADDRESS ON FILE
PHILADELPHIA, PA 19101-1602             MCKENZIE, TN 38201




DELAMATER, JOSHUA                       DELANEY, BILLY L.                   DELANEY, BRYAN
4885 ASTER ST APT 186                   ADDRESS ON FILE                     ADDRESS ON FILE
SPRINGFIELD, OR 97478




DELANEY, EVELYN                         DELANEY, MICHAEL                    DELANEY, REBECCA M.
4370 BRIDLE POINT PKWY                  ADDRESS ON FILE                     ADDRESS ON FILE
SNELLVILLE, GA 30039




DELANOY, ALESHIA C.                     DELANOY, ALESHIA                    DELAO, MICHELLE
ADDRESS ON FILE                         ADDRESS ON FILE                     6135 S. NATCHEZ AVE
                                                                            CHICAGO, IL 60638




DELAPENA SUZETTE                        DELAPENA, CHARLES                   DELARA, MARYANN A.
14511 MINERVA AVE                       414 CENTER ST                       ADDRESS ON FILE
DOLTON, IL 60419                        WAUKEGAN, IL 60085
DELARIA, ELIZABETH G.    Case 20-10766-BLS    DocMARITZA
                                       DELASANCHA 6 Filed 04/07/20      Page DELASCO
                                                                             462 of 1969
219 BRECKENRIDGE DR.                   2611 W CORNELIA AVE APT 3            608 13TH AVE.
BELLEVILLE, IL 62221                   WAUKEGAN, IL 60085                   COUNCIL BLUFFS, IA 51501-6401




DELASHMUTT, MICHAEL                    DELAURIER, ELIZABETH                 DELAWARE CHARTER GUARANTEE &
103 VIRGINIA DRIVE                     143 HIGHT DR                         TRUST COMPANY
JONESBORO, IL 62952                    WATKINSVILLE, GA 30677-2436          PRINCIPAL TRUST COMPANY
                                                                            P.O. BOX 823215
                                                                            PHILADELPHIA, PA 19182-3215



DELAWARE DEPARTMENT OF LABOR           DELAWARE DEPARTMENT OF STATE         DELAWARE DEPARTMENT OF STATE
DELAWARE EMPLOYMENT TRAINING FUND      DIVISION OF CORPORATIONS             JOHN G. TOWNSEND BLDG
P.O. BOX 41780                         P.O. BOX 898                         401 FEDERAL ST, STE 4
PHILADELPHIA, PA 19101-1780            DOVER, DE 19903                      DOVER, DE 19901




DELAWARE DIVISION OF CORPORATIONS      DELAWARE SECRETARY OF STATE          DELAWARE SECRETARY OF TREASURY
401 FEDERAL STREET - SUITE 4           DIVISIONS OF CORPORATIONS, TAX       ATTN: OFFICE, MANAGING AGENT OF
DOVER, DE 19901                        DIVISION                             GENERAL AGENT
                                       401 FEDERAL ST, STE 4                820 SILVERLAKE BLVD, SUITE 100
                                       P.O. BOX 898                         DOVER, DE 19904
                                       DOVER, DE 19903

DELAWARE STATE ESCHEATOR               DELAWARE STATE ESCHEATOR             DELBERT SCROGGINS
ATTN: HOLDER REPORTING TEAM            CARVEL STATE OFFICE BLDG             P.O. BOX 1823
DELAWARE DEPARTMENT OF FINANCE         820 N FRENCH ST                      BIG SPRING, TX 79721
OFFICE OF UNCLAIMED PROPERTY           8TH FL
P.O. BOX 8923                          WILMINGTON, DE 19801
WILMINGTON, DE 19899

DELBERT, WHALEY                        DELCHAMPS, CHARLES                   DELCHAMPS, SHANNON
733 PEACHTREE TRAIL                    427 SOUTH BROAD STREET               427 S. BROAD STREET
COLLINSVILLE, IL 62234                 MONROE, GA 30655                     MONROE, GA 30655




DELCOUR, CHRISTINE                     DELEEUW, FARRELL                     DELEGGE, LAURA E.
1780 FRAZIER AVE                       782 BUZIANIS WAY                     ADDRESS ON FILE
CENTRALIA, IL 62801                    TOOELE, UT 84074




DELEON ALFREDO R                       DELEON, ASHLEY                       DELEON, MARIA P
920 VOSE DR UNIT 411                   ADDRESS ON FILE                      539 W SIERRA VISTA CIR
GURNEE, IL 60031                                                            MESQUITE, NV 89027




DELEON, ROGER                          DELEON, SERAFIN                      DELERY, ASHLEY
ADDRESS ON FILE                        1972 N ROYAL BIRKDALE DRIVE          1105 CYPRUS CT
                                       VERNON HILLS, IL 60061               WADSWORTH, OH 44281




DELESDERNIER, MIA A.                   DELEWSKI, RICHARD E.                 DELGADILLO, TANYA
ADDRESS ON FILE                        ADDRESS ON FILE                      12764 IRVING AVE/2C
                                                                            BLUE ISLAND, IL 60406
                       Case 20-10766-BLS
DELGADILLO-GARCIA, BEATRIZ           DELGADODoc  6
                                             PEDRO      Filed 04/07/20   Page DELGADO,
                                                                              463 of 1969
                                                                                       CHRISTINA E.
P.O. BOX 7113                        ADDRESS ON FILE                          39 FRANKS ROAD
BUNKERVILLE, NV 89007                                                         SILVER CITY, NM 88061




DELGADO, DELINA A.                    DELGADO, DEVON ELIZABETH K.             DELGADO, DEVON ELIZABETH K.
624 GAGE AVE                          401 GAGE AVE                            ADDRESS ON FILE
EVANSTON, WY 82930                    EVANSTON, WY 82930




DELGADO, DEVON                        DELGADO, DONNA                          DELGADO, EDDIE
ADDRESS ON FILE                       10375 AVENAL ST                         304 VENTURA ST
                                      OAK HILLS, CA 92344                     LORDSBURG, NM 88045




DELGADO, HEIDY K.                     DELGADO, JAQUELINE                      DELGADO, LOUIS M.
ADDRESS ON FILE                       ADDRESS ON FILE                         512 MORENO ST.
                                                                              LAS VEGAS, NM 87701




DELGADO, MARIA D.                     DELGADO, MICHAEL                        DELGADO, PEDRO F.
1605 BLUEBIRD ST                      3316 ERIC BLVD.                         ADDRESS ON FILE
BIG SPRING, TX 79720                  PARK CITY, IL 60085




DELGADO, RAMONA                       DELGADO, TRISHA A.                      DELGADOAVELAR, ERIK
316 E AVENUE                          ADDRESS ON FILE                         404 BROOKHOLLOW LN
RED BUD, IL 62278                                                             SAGINAW, TX 76131-0000




DELIA CLARK                           DELIA GALLEGOS                          DELICIOUSLY ORDINARY
87 CREEK WOOD EST                     4106 DIXON                              212 ZIMMERMAN
INEZ, KY 41224                        BIG SPRING, TX 79720                    CARTERVILLE, IL 62918




DELILLO, RUTH A.                      DELIMA, CESAR M.                        DELIMON, MARIA
117 AMBROSE N.W.                      3636 BULLOCK BRIDGE RD                  1601 10TH COURT
CANTON, OH 44708                      MONROE, GA 30655                        WAUKEGAN, IL 60085




DELK AIR INC                          DELK CONSULTING LLC                     DELK, BETTY
P.O. BOX 2528                         5366 PARKER BRANCH RD                   4071 LIBERTY ROAD
WEST HELENA, AR 72390                 FRANKLIN, TN 37064                      SCOTTS HILL, TN 38374




DELK, LARRY                           DELL FINANCIAL SERVICES LLC             DELL MARKETING LP
2644 HWY 242 WEST                     MAIL-STOP-PS2DF-23                      P.O. BOX 802816
LEXA, AR 72355                        ONE DELL WAY                            CHICAGO, IL 60680-2816
                                      ROUND ROCK, TX 78682
DELL, W. LINDSEY         Case 20-10766-BLS     Doc 6
                                       DELL, WALTON        Filed 04/07/20   Page DELLA
                                                                                 464 of  1969 MARY
                                                                                       MAGGIORA,
800 W BUCKEYE 17                        P.O. BOX 16                             776 AMESTI ROAD
DEMING, NM 88030                        LEWISTON WOODVILLE, NC 27849            WATSONVILLE, CA 95076




DELLA NAESE                             DELLA SARTIN                            DELLA, ANDERSON
11 CASHE AVE                            P.O. BOX 1085                           549 CANAL DR
BUNCOMBE, IL 62912                      KERMIT, WV 25674                        GULF SHORES, AL 36542




DELLAMARGGIO, KATHLEEN                  DELLAPOSTA LARRY A                      DELLAPOSTA, TERENCIA N.
P.O. BOX 2395                           17536 W BLUFF DR                        ADDRESS ON FILE
BLUE RIDGE, GA 30513                    GRAYSLAKE, IL 60030




DELMA PLACKETT                          DELMAR, FRAZIER                         DELOACH, JOHNNY
1259 N BROAD ST                         14720 S PERRY                           121 BARTON COVE
GALESBURG, IL 61401                     SOUTH HOLLAND, IL 60473                 MARION, AR 72364




DELOACH, ROBERT                         DELOIS MOORE                            DELOITTE & TOUCHE LLP
101 HARE ST                             P.O. BOX 134                            30 ROCKFELLER PLZA
MADISON, IL 62060                       LOVELY, KY 41231                        NEW YORK, NY 10112-0015




DELOITTE & TOUCHE LLP                   DELOITTE CONSULTING LLP                 DELOITTE TAX LLP
P.O. BOX 844708                         P.O. BOX 844717                         P.O. BOX 844736
DALLAS, TX 75284-4708                   DALLAS, TX 75284-4717                   DALLAS, TX 75284-4736




DELONG, BRANDIE S.                      DELONG, EDWARD                          DELONG, MELODY E
413 6TH ST. SW                          2669 MESSER RD. P.O. BOX 268            924 N SHAMOKIN ST
MASSILLON, OH 44647                     YOUNG HARRIS, GA 30582                  SHAMOKIN, PA 17872




DELONG, PATRICIA G.                     DELONG, PATRICIA G.                     DELONG, RAYMOND
ADDRESS ON FILE                         558 DELONG BRANCH ROAD                  ADDRESS ON FILE
                                        LOUISA, KY 41230




DELORES ANDERSON                        DELORES K BOULDIN                       DELORES ROBB
619 E FREMONT ST                        58 CHRISTOPHER DRIVE                    1041 310TH ST
GALESBURG, IL 61401                     RAINSVILLE, AL 35986                    NEW WINDSOR, IL 61465




DELORME LEE EDWARD                      DELOS REYES, BEATRIZ                    DELOSSANTOS, MARTIN
619 18TH STREET                         ADDRESS ON FILE                         4051 VICKY ST
SPRINGFIELD, OR 97477                                                           BIG SPRING, TX 79720
DELOZA, LUZ DEL CARMEN Case 20-10766-BLS    Doc
                                     DELPOZZO,   6 N.Filed 04/07/20
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                                                                           465 of 1969 AARON JOHN
1217 WOODRIDGE DRIVEY                ADDRESS ON FILE                       ADDRESS ON FILE
ROUND LAKE BEACH, IL 60073




DELSIGNE, RICHARD A.                 DELTA BETA SIGMA                      DELTA DENTAL OF TENNESSEE 2800
366 E 770 N                          FORREST CITY, AR 72335                240 VENTURE CIRCLE
TOOELE, UT 84074                                                           FRANKLIN, TN 37228




DELTA DENTAL OF TENNESSEE            DELTA DENTAL OF TENNESSEE             DELTA FIRE SYSTEMS INC
240 VENTURE CIRCLE                   P.O. BOX 305172                       P.O. BOX 74008409
FRANKLIN, TN 37228                   DEPT 35                               CHICAGO, IL 60674-8409
                                     NASHVILLE, TN 37230-5172




DELTA GASES, INC                     DELTA HEALTH EDUCATION CENTER         DELTA HEALTHCARE PROVIDERS
2340 VERNA AVE                       P.O. BOX 729                          P.O. BOX 202940
MARYLAND HEIGHTS, MO 63043           HELENA, AR 72342                      DALLAS, TX 75320-2940




DELTA HEALTHCARE                     DELTA HEALTHCARE                      DELTA HEALTHCARE
5205 MARYLAND WAY                    5205 MARYLAND WAY                     5205 MARYLAND WAY
SUITE 200                            SUITE 202                             SUITE 202
BRENTWOOD, TN 37067                  BRENTWOOD, TN 37027                   BRENTWOOD, TN 37067




DELTA IMAGES                         DELTA LOCUM TENENS, LLC               DELTA MARLINS SWIM TEAM
P.O. BOX 2617                        P.O. BOX 202940                       7 MORNINGSIDE DR
WEST HELENA, AR 72390                DALLAS, TX 75320-2940                 WYNNE, AR 72396




DELTA OFFICE WORKS                   DELTA OFFICE WORKS                    DELTA PHARMA, INC.
703 GARLAND ST                       703 GARLAND ST                        114 W. MULBERRY ST.
FORREST CITY, AR 72335               FORREST CITY, AR 72335-0000           RIPLEY, MS 38663




DELTA ROOTS                          DELTA WASTE DISPOSAL                  DELTGEN, EMMA
P.O. BOX 118                         P.O. BOX 312                          1012 N MAIN ST
319 PHILLIPS ST                      CLARKSDALE, ME 38614                  EDWARDSVILLE, IL 62025
HELENA, AR 72342




DELUCA, NANCY                        DELUCA, RACHEL                        DELVALLE, JAYNE E.
2005 S SHELLY DR                     5628 WINONA AVE                       P O BOX 2761
DEMING, NM 88030                     ST. LOUIS, MO 63109                   DEMING, NM 88031




DELZOLA, KYLE                        DEMANDER, ALEXANDRA                   DEMARCO, H. PAUL
2150 WEST 114TH PL                   612 GAGE AVE                          4113 MARS BAY
CHICAGO, IL 60643                    EVANSTON, WY 82930-5149               ACWORTH, GA 30101
DEMARCO, JESSICA         Case 20-10766-BLS
                                       DEMARE,Doc
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                                                                                       MD, CLAY
1024A JANET DR                          1535 EAGLES NEST LN                   3402 OFFICE PARK DRIVE
RUMA, IL 62278                          GILROY, CA 95020                      MARION, IL 62959




DEMATTEI, JOSEPH D.                     DEMDACO                               DEMDACO
ADDRESS ON FILE                         P.O. BOX 803314                       PO BOX 803314
                                        KANSAS CITY, MO 64180                 KANSAS CITY, MO 64180




DEMENT ALARMS INC                       DEMERS. AMBULANCE MANUFACTURER, INC   DEMICHELE, DONALD R.
P O BOX 2865                            28 RUE RICHELIEU                      10341 N. EGYPT SHORES DRIVE
SILVER CITY, NM 88062                   BELOEIL                               CREAL SPRINGS, IL 62922
                                        CANADA, QC J3G 4N5
                                        CANADA



DEMIEN, DOROTHY                         DEMINE, ROBERT K.                     DEMING ANESTHESIA SERVICES LLC
58 TENNIS VILLA DR                      ADDRESS ON FILE                       P O BOX 1612
DANA POINT, CA 92629                                                          SEDALIA, MO 65301




DEMING CLINIC CORPORATION               DEMING HIGH SCHOOL                    DEMING HOSPITAL CORPORATION
206 S CORONADO AVE                      1100 SOUTH NICKEL                     206 S CORONADO AVE
ESPANOLA, NM 87532                      DEMING, NM 88030                      ESPANOLA, NM 87532




DEMING HOSPITAL CORPORATION             DEMING LUNA COUNTY ECON DEV           DEMING LUNA COUNTY HUMANE SOCIETY
C/O FABER & BRAND LLC                   ATTN: EXECUTIVE DIRECTOR              2135 ONATE AVENUE
P O BOX 10110                           700 S SILVER ROOM D-9                 DEMING, NM 88030
COLUMBIA, MO 65205                      DEMING, NM 88030




DEMING NURSING HOME COMPANY, LLC        DEMING ROTARY CLUB 1300               DEMING, ANDREW M
1209 ORANGE STREET                      P O BOX 1883                          4238 WAYLON DR
WILMINGTON, DE 19801                    DEMING, NM 88031                      MARTINEZ, GA 30907-1346




DEMING/LUNA COUNTY                      DEMITA, DUNN                          DEMMIN, CANDACE
CHAMBER OF COMMERCE                     939 9TH ST NE                         519 DOGWOOD DR
800 E PINE P.O. BOX 8                   MASSILLON, OH 44646                   TROY, IL 62294
DEMING, NM 88031-0008




DEMOREST, DAVID M.                      DEMOREST, NANCY B.                    DEMOSS, CHERYL
3650 STANCE AVE                         3650 STANCE AVE                       1003 54TH ST
SOQUEL, CA 95073                        SOQUEL, CA 95073                      SPRINGFIELD, OR 97478




DEMPSEY, CLARENCE                       DEMPSEY, DELINDA D.                   DEMPSEY, JACQLYN
474 MONTICELLO PL                       2784 COUNTY ROAD 239                  P.O. BOX 180
EDWARDSVILLE, IL 62025                  VALLEY HEAD, AL 35989                 WARFIELD, KY 41267
DEMPSEY, MICHAEL       Case 20-10766-BLS
                                     DEMPSEY, Doc  6 Filed 04/07/20
                                               PHILIP                 Page DEMUESY,
                                                                           467 of 1969
                                                                                    ELIZABETH A.
107 FLOYD BRASHEARS ROAD             825 N 11TH STREET                     4899 RONDALE CR NW
CAMPTON, KY 41301                    COTTAGE GROVE, OR 97424               MASSILLON, OH 44646-1282




DENA HERRON                          DENA PUTNAM-GILCHRIST                 DENA S WILLIAMS
415 MASONIC CEMETERY RD              1460 G STREET                         233 STATE AVE NE
RALEIGH, IL 62977                    SPRINGFIELD, OR 97477                 MASSILLON, OH 44646




DENG, HELEN                          DENIS RALEIGH MD                      DENISE ARGO
400 N. WHITE DEER TRAIL              ADDRESS ON FILE                       ADDRESS ON FILE
VERNON HILLS, IL 60061




DENISE BROWN                         DENISE DIXON                          DENISE E DEAL
10435 S INDIANA                      1008 COLLINS RD                       9818 NAVARRE RD SW
CHICAGO, IL 60628                    WAYNESBORO, GA 30830                  NAVARRE, OH 44662




DENISE FENNER                        DENISE HANSON                         DENISE L SCOTT
111 SANDY LANE RD                    325 5TH ST SW                         249 CR 333
GREENVILLE, AL 36037                 MASSILLON, OH 44647-6515              CHERRY VALLEY, AR 72324




DENISE LEVINGS                       DENISE MAYNARD                        DENISE MCKAY
ADDRESS ON FILE                      ADDRESS ON FILE                       11506 S NEENAH AVE
                                                                           WORTH, IL 60482




DENISE S CLARK                       DENISE S DANIELS                      DENISE SETTLE
832 REPUBLICAN RD                    528 CAMERON DRIVE                     71 JULIE DR
WINDSOR, NC 27983                    RED BUD, IL 62278                     GLEN CARBON, IL 62034




DENISE STONER                        DENLY, SUSAN G.                       DENMAN, CHRISTINA
60 ROLLING ACRES CR E                2705 HICKORY LANE                     1405 CHANCELLOR
MASSILLON, OH 44647                  MARION, IL 62959                      EDWARDSVILLE, IL 62025




DENMARK DAWSON                       DENMARK, CINDY                        DENMARK, DAWSON
11                                   1055 MAIN ST                          11
BLUE RIDGE, GA 30513                 YOUNG HARRIS, GA 30582                BLUE RIDGE, GA 30513




DENMON, LORI A.                      DENNEY, ANNA L.                       DENNICE, RAMSEY
1211 13TH ST SE                      P.O. BOX 714                          513 W PINE ST
MASSILLON, OH 44646                  46 CUNNINGHAM MTN RD ELJY             DEMING, NM 88030
                                     EAST ELLIJAY, GA 30539-0012
DENNIG DIETER, M.D.       Case 20-10766-BLS
                                        DENNIKADoc 6
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                                                                                         1969
2430 W PIERCE ST                        ADDRESS ON FILE                           1848 SPRING AVE
CARLSBAD, NM 88220                                                                GRANITE CITY, IL 62040




DENNIS E. MILLS                         DENNIS HURFORD MD                         DENNIS JOURDAN PHOTO VIDEO
1090 OAKVIEW DR                         ADDRESS ON FILE                           1417 ROSE BLVD
WILLIAMSTON, NC 27892                                                             BUFFALO GROVE, IL 60087




DENNIS L HANGEY DBA HANGEYS             DENNIS, CARRIE L.                         DENNIS, DEANNA
UPHOLSTERING                            ADDRESS ON FILE                           6033 FIKE RD.
750 PRESTON DR 6                                                                  WACO, KY 40385
MESQUITE, NV 89027




DENNIS, HEATHER M.                      DENNIS, JIMMY L.                          DENNIS, MELYNDA C.
ADDRESS ON FILE                         ADDRESS ON FILE                           310 KELLETT CIRCLE NE
                                                                                  FORT PAYNE, AL 35967




DENNIS, SHENELL M.                      DENNIS, VANESSA F.                        DENNISON, ADRIANA B.
3100 TRENDLEY AVE                       1107 HICKORY ST                           3699 MT MORIAH RD
EAST ST LOUIS, IL 62207                 BIG SPRING, TX 79720                      GALATIA, IL 62935




DENNISON, ALYSSA                        DENNISON, CYNTHIA                         DENNISON, MARY B.
207 W MAE LAWRENCE AVE                  8461 NEARWOOD ST NW                       403 S. VICTOR ST.
P.O. BOX 114                            MASSILLON, OH 44646                       CHRISTOPHER, IL 62822
ALTONA, IL 61414




DENNISON, NIKKI                         DENNISON, SAMANTHA                        DENNY, BRUCE MICHAEL
10321 WOOSTER ST NW                     500 BURLINGTON CIRCLE APT 307             1825 CANYONVILLE RIDDLE R
MASSILLON, OH 44647                     WHEELING, IL 60090                        P.O. BOX 51
                                                                                  CANYONVILLE, OR 97417




DENNY, CHERYL                           DENNYS FIRE CONTROL                       DENO, ROCHELLE
425 DENNY LANE                          P.O. BOX 1295                             ADDRESS ON FILE
ANNA, IL 62906                          BEDFORD PARK, IL 60499-1295




DENOGEAN, VICTOR                        DENOVICH, NENAD                           DENSON, OWEL
610 S TIA RITA                          5196 N MONTEREY DR                        106 BOB WHITE DRIVE
DEMING, NM 88030                        NORRIDGE, IL 60706                        STOCKBRIDGE, GA 30281




DENT, FAITH                             DENTAL BOX COMPANY INC, THE               DENT-CAMPBELL, TIAMA
218 LITTLENESS AVE                      P.O. BOX 66940                            2012 COTTAGE AV
MONTEREY, CA 93940                      ST LOUIS, MO 63166-6940                   GRANITE CITY, IL 62040
DENTE, DONALD          Case 20-10766-BLS
                                     DENTON Doc
                                             US LLP6  Filed 04/07/20      Page DENTON,
                                                                               469 of BRIAN
                                                                                       1969K.
6619 N STAR DISCOVERY WAY            DEPT 3078                                 309 HIDDEN ACRES
STANSBURY PARK, UT 84074             CAROL STREAM, IL 60132-3078               MINERAL BLUFF, GA 30559




DENTON, JOAN QUEEN                    DENTON, KIM - FEES/CERTIFICATIONS        DENTON, KIMBERLY R.
640 BARNES CHAPEL RD                  309 HIDDEN ACRES                         309 HIDDEN ACRES
BLUE RIDGE, GA 30513                  MINERAL BLUFF, GA 30559                  MINERAL BLUFF, GA 30559




DENTON, KYLIE                         DENTON, MADISON                          DENTON, SUSAN
405 EL SALTO DR                       309 HIDDEN ACRES                         250 CC CAMP ROAD
CAPITOLA, CA 95010                    MINERAL BLUFF, GA 30559                  COPPERHILL, TN 37317




DENTON, SUSAN                         DENTONS US LLP                           DENUE BENNA M
ADDRESS ON FILE                       1221 AVENUE OF THE AMERICAS              215 COMMERCIAL
                                      NEW YORK, NY 10020-1089                  EDWARDSVILLE, IL 62025




DENVER SOLUTIONS DBA LEITERS          DENVER SOLUTIONS LLC                     DENZMORE, PHILLICIA
P.O. BOX 505537                       LEITERS                                  ADDRESS ON FILE
ST LOUIS, MO 63150-5537               P.O. BOX 505537
                                      ST LOUIS, MO 63150-5537




DEOCHOA, MARIA G.                     DEPALMA, ALYSSA P.                       DEPARTMENT EDUCATION/MOHELA
1108 MASSENA AVE                      476 PINE GROVE AVE                       P.O. BOX 105347
WAUKEGAN, IL 60085                    GURNEE, IL 60031                         ATLANTA, GA 30348-5347




DEPARTMENT OF ADMINISTRATIVE          DEPARTMENT OF COMMUNITY HEALTH           DEPARTMENT OF EDUCATION
SERVICES                              POB 277941                               FED LOAN SERVICING
200 PIEDMONT AVENUE, SE               ATLANTA, GA 30384-7941                   P.O. BOX 530210
SUITE 1208 WEST TOWER                                                          ATLANTA, GA 30353-0210
ATLANTA, GA 30334



DEPARTMENT OF EDUCATION               DEPARTMENT OF EDUCATION                  DEPARTMENT OF EDUCATION
FEDLOAN SERVICING                     FEDLOAN SERVICING                        MOHELA
P.O. BOX 530210                       P.O. BOX 790234                          P.O. BOX 105347
ATLANTA, GA 30353-0210                ST LOUIS, MO 63179-0234                  ATLANTA, GA 30348-5347




DEPARTMENT OF EDUCATION               DEPARTMENT OF EDUCATION                  DEPARTMENT OF EDUCATION
P.O. BOX 2837                         P.O. BOX 4414                            P.O. BOX 4830
PORTLAND, OR 97208-2837               PORTLAND, OR 97208-4414                  PORTLAND, OR 97208-4830




DEPARTMENT OF FINANCIAL &             DEPARTMENT OF HEALTH CARE                DEPARTMENT OF HEALTH
PROFESSIONAL REGULATION               1501 CAPITOL HILL SUITE 71-2048          ARKANSAS DEPARTMENT OF HEALTH
POST OFFICE BOX 7086                  MS 1101 P.O. BOX 997413                  5800 WEST TENTH SUITE 400
SPRINGFIELD, IL 62791-7086            SACRAMENTO, CA 95899-7413                LITTLE ROCK, AR 72204-1704
DEPARTMENT OF HEALTH Case 20-10766-BLS     Doc OF
                                   DEPARTMENT    6 HEALTH
                                                     Filed 04/07/20    Page DEPARTMENT
                                                                            470 of 1969OF HEALTH
ATTN: LYNANN WILLIAMS              C/O DEPARTMENT OF REVENUE                P.O. BOX 144003
288 NORTH 1460 WEST                P.O. BOX 198990                          SALT LAKE CITY, UT 84114-4003
SALT LAKE CITY, UT 84116-3231      NASHVILLE, TN 37219-8990




DEPARTMENT OF HEALTHCARE SERVICES    DEPARTMENT OF HUMAN SERVICES           DEPARTMENT OF PUBLIC HEALTH
MS1101                               2 PEACHTREE ST NW                      LICENSING AND CERTIFICATION PROGRAM
P.O. BOX 997413                      5TH FLR ATTN: REFUNDS                  MS3202 P.O. BOX 997434
SACRAMENTO, CA 95899                 ATLANTA, GA 30303-0000                 SACRAMENTO, CA 95899-7434




DEPARTMENT OF RADIOLOGY-FCPA         DEPARTMENT OF REVENUE SERVICES,        DEPARTMENT OF REVENUE SERVICES,
1600 SW ARCHER ROAD                  STATE OF CONNECTICUT                   STATE OF CONNECTICUT
P.O. BOX 100374                      25 SIGOURNEY ST, SUITE 2               P.O. BOX 2974
GAINESVILLE, FL 32610-0374           HARTFORD, CT 06106-5032                HARTFORD, CT 06104-2974




DEPARTMENT OF STATE LANDS            DEPARTMENT OF THE TREASURY             DEPARTMENT OF TREASURY
DEPARTMENT OF STATE LANDS            FINANCIAL MANAGEMENT SERVICE           324 25TH STREET
UNCLAIMED PROPERTY                   P.O. BOX 51318                         OGDEN, UT 84401
775 SUMMER ST. NE                    PHILADELPHIA, PA 19115-6318
SALEM, OR 97301



DEPARTMENT OF TREASURY               DEPARTMENT OF TREASURY                 DEPARTMENT OF VETERAN AFFAIRS
INTERNAL REVENUE SERVICE CENTER      PHILADELPHIA FINANCIAL CENTER          1000 BAY PINE BLVD.
OGDEN, UT 84201-0027                 P.O. BOX 51320                         BAY PINES, FL 33504
                                     PHILADELPHIA, PA 19115




DEPARTMENT OF VETERAN AFFAIRS        DEPARTMENT OF VETERAN AFFAIRS          DEPARTMENT OF VETERANS AFFAIRS
913 NW GARDEN VALLEY BLVD            P.O. BOX 7926                          1030 JEFFERSON AVENUE
ROSEBURG, OR 97470                   MADISON, WI 53707                      MEMPHIS, TN 38104




DEPARTMENT OF VETERANS AFFAIRS       DEPARTMENT OF VETERANS AFFAIRS         DEPASQUALE, ELIZABETH R.
1227 O STREET, ROOM 403              RAYMOND G MURPHY VAMC                  101 CHESAPEAKE BAY
SACRAMENTO, CA 95814                 1501 SAN PEDRO SE                      WINTHROP HARBOR, IL 60096
                                     ALBUQUERQUE, NM 87108




DEPENDABLE CAB                       DEPENDABLE FIRE EQUIPMENT              DEPENDABLE OXYGEN COMPANY
KATHY GERALDON                       100 LE BARON STREET                    63 E 1280 N
2710 S. ANDERSON                     WAUKEGAN, IL 60085-3025                TOOELE, UT 84074
BIG SPRING, TX 79720




DEPENDABLE STERILIZER REPAIR I       DEPOY AUTO SERVICES                    DEPT FIN & ADMIN-COLLECTIONS
P.O. BOX 80350                       1809 W JACKSON ST T                    P.O. BOX 8090
CITY OF INDUSTRY, CA 91716-8350      MACOMB, IL 61455                       LITTLE ROCK, AR 72203-8090




DEPT OF CONSUMER BUSINESS            DEPT OF ED- MOHELA                     DEPT OF ED- MOHELA
P.O. BOX 14610                       P.O. BOX 105347                        P.O. BOX 790233
SALEM, OR 97309-0449                 ATLANTA, GA 30348-5347                 ST LOUIS, MO 63179-0233
DEPT OF ED               Case 20-10766-BLS
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FED LOAN SERVICING                      FED LOAN SERVICING                      FED LOAN SERVICING
P.O. BOX 530210                         P.O. BOX 53010                          P.O. BOX 790234
ATLANTA, GA 30353-0210                  ATLANTA, GA 30353-0210                  ST LOUIS, MO 63179-0234




DEPT OF EDUCATION                       DEPT OF EDUCATION                       DEPT OF FIN & PROF REGULATIONS
FEDLOAN SERVICING                       P.O. BOX 2837                           P.O. BOX 7086
P.O. BOX 530210                         PORTLAND, OR 97208-2837                 SPRINGFIELD, IL 62791-7086
ATLANTA, GA 30353-0210




DEPT OF FINANCE AND ADMIN OFFICE OF     DEPT OF FINANCE AND ADMN                DEPT OF FINANCIAL & PROF REGULATION
MOTOR VEHICLE                           P.O. BOX 3861                           320 W WASHINGTON ST
P O BOX 3153                            LITTLE ROCK, AR 72203-3861              P.O. BOX 7007
LITTLE ROCK, AR 72203                                                           SPRINGFIELD, IL 62768




DEPT OF FINANCIAL & PROF REGULATION     DEPT OF FINANCIAL & PROFESSIONAL        DEPT OF HEALTH CHILDREN MEDICAL
320 W WASHINGTON ST                     REGULATION                              SERVICES
P.O. BOX 7086                           320 W WASHINGTON 3RD FLOOR              P.O. BOX 25307- XXXXXX7789
SPRINGFIELD, IL 62791                   SPRINGFIELD, IL 62786                   ALBUQUERQUE, NM 87125




DEPT OF HEALTH                          DEPT OF HEALTH                          DEPT OF HEALTHCARE & FAM SVC
HEALTH CARE FINANCING                   SECTION OF EMS & TRAUMA                 P.O. BOX 19101
P.O. BOX 143104                         5800 WEST 10TH ST SUITE 800             SPRINGFIELD, IL 62794-9101
SALT LAKE CITY, UT 84114-3104           LITTLE ROCK, AR 72204-1763




DEPT OF INDUSTRIAL RELATIONS            DEPT OF JUSTICE-CRIME VICTIMS           DEPT OF PROF REGULATION
PAYMENT PROCESSING CENTER               1162 COURT ST NE                        P.O. BOX 7086
P.O. BOX 511232                         SALEM, OR 97310                         SPRINGFIELD, IL 62791
LOS ANGELES, CA 90051-3030




DEPT OF PROF REGULATION                 DEPT OF PROFESSIONAL REGULATION         DEPT OF PUBLIC HEALTH
PO BOX 7086                             DIVISION OF PROF REGULATION             ENVIR. HLTH DIV.
SPRINGFIELD, IL 62791                   P.O. BOX 7007                           385 N. ARROWHEAD 1ST FLOOR
                                        SPRINGFIELD, IL 62791-0000              SAN BERNARDINO, CA 92415-0187




DEPT OF RADIOLOGY                       DEPT OF THE TREASURY                    DEPT OF THE TREASURY
THE UNIV OF CHICAGO MEDICAL CNTR        P.O. BOX 51318                          PO BOX 51318
5841 S MARYLAND AVE, MC 2026            PHILADELPHIA, PA 19115                  PHILADELPHIA, PA 19115
CHICAGO, IL 60637-1470




DEPT OF THE TREASURY/VA HEALTH ADMIN    DEPT OF VA AFFAIRS                      DEPT OF VA
P.O. BOX 51320                          950 15TH ST                             P.O. BOX 460967
PHILADELPHIA, PA 19115                  ACCOUNTING                              RECOVERY AUDIT
                                        AUGUSTA, GA 30904                       GLENDALE, CO 80246-0967




DEPT OF VETERANS AFAIRS                 DEPT OF VETERANS AFFAIRS                DEPT OF VETERANS AFFAIRS
RECOVERY AUDIT                          HEALTH ADM CTR                          P.O. BOX 46096781-K5058F9
P.O. BOX 460967                         P.O. BOX 469062                         GLANDALE, CO 80246
GLENDALE, CO 80246                      DENVER, CO 80246
                       Case
DEPT OF VETERANS/ATTN TEAM 4 20-10766-BLS
                                      DEPT OF Doc  6 AFFAIRS
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                                                                                      INFORMATION SERVICES
1988 ROANOKE BLVD                     POB 469062                             INFO. SERVICES-RADIO DIV.
SALEM, VA 24153                       ATTN: HEALTH ADMIN CTR                 670 EAST GILBERT ST
                                      DENVER, CO 80246-9062                  SAN BERNARDINO, CA 92415-0915




DEPT.OF HUMAN SERVICES/OFFICE OF      DEPUY MITEK / JOHNSON & JOHNSON        DEPUY MITEK PROD / J&J HCS
MED.ASST PROG                         5972 COLLECTIONS CENTER DR             5972 COLLECTIONS CENTER DR
ATTN: DAN MILLER                      CHICAGO, IL 60693                      CHICAGO, IL 60693
P.O. OBX 8050
HARRISBURG, PA 17105-8050



DEPUY MITEK                           DEPUY ORTHOPAEDICS J&J HCS             DEPUY ORTHOPAEDICS
P.O. BOX 406663                       P.O. BOX 406663                        5972 COLLECTIONS CNTR DR
ATLANTA, GA 30384-0000                ATLANTA, GA 30384                      CHICAGO, IL 60693




DEPUY ORTHOPAEDICS, INC.              DEPUY ORTHOPAEDICS, INC.               DEPUY SUNTHES POWER TOOLS
5972 COLLECTIONS CENTER DR            700 ORTHOPAEDIC DRIVE                  4500 RIVERSIDE DR
CHICAGO, IL 60693                     WARSAW, IN 46581                       PALM BEACH GARDENS, FL 33410




DEPUY SYNTHES JOINT RECON INC         DEPUY SYNTHES JOINT RECON, INC         DEPUY SYNTHES JOINT RECON, INC.
5972 COLLECTIONS CENTER DRIVE         5972 COLLECTIONS CENTER DR             DEPUY MITEK, INC
CHICAGO, IL 60693                     CHICAGO, IL 60693                      P.O. BOX 406663
                                                                             ATLANTA, GA 30384-6663




DEPUY SYNTHES JOINT RECONSTRUCTION    DEPUY SYNTHES MITEK SPORTS MEDICINE    DEPUY SYNTHES SALES INC
P.O. BOX 406663                       0143 D810                              5972 COLLECTIONS CENTER DR
ATLANTA, GA 30384-6663                P.O. BOX 406663                        CHICAGO, IL 60693
                                      ATLANTA, GA 30384-0000




DEPUY SYNTHES SALES INC               DEPUY SYNTHES SALES INC                DEPUY SYNTHES SALES INC
DEPUY SYNTHES JOINT RECONSTRUCTION    P.O. BOX 8538-662                      P.O. BOX 8538-662
P.O. BOX 8538-662                     PHILADELPHIA, PA 19171-0662            PHILAPELPHIA, PA 19171-0662
PHILADELPHIA, PA 19171-0662




DEPUY SYNTHES SALES, INC              DEPUY SYNTHES SALES, INC               DEPUY SYNTHES SALES, INC.
P.O. BOX 32639                        P.O. BOX 406663                        5972 COLLECTIONS CENTER DRIVE
PALM BEACH GARDENS, FL 33420-2639     ATLANTA, GA 30384-6663                 CHICAGO, IL 60693-0000




DEPUY SYNTHES SPINE 0133              DEPUY SYNTHES                          DEPUY SYNTHES
P.O. BOX 32639                        5972 COLLECTIONS CENTER DRIVE          P.O. BOX 8538-662
PALM BEACH GARDENS, FL 33420-2639     CHICAGO, IL 60693-0000                 JOHNSON & JOHNSON
                                                                             PHILADELPHIA, PA 19171-0662




DEQUASIE, WILLIAM                     DERAMUS, DENISE                        DEREK CHAPMAN
7924 WOLF RD                          536 INGRAHAM AVE                       6908 ECR 97
BETHALTO, IL 62010                    CALUMET CITY, IL 60409                 MIDLAND, TX 79706
DEREK NIELSON              Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                         DEREK ROBERSON                      Page DEREK
                                                                                  473 of  1969
                                                                                        SPARKMAN
ADDRESS ON FILE                          ADDRESS ON FILE                          76 LONESOME PINE ROAD
                                                                                  HUEYSVILLE, KY 41640




DERHAM, MARK A.                          DERHAM, SHELLY M.                        DERHEIM, DEAN
519 HOLCOMB ST                           782 WALNUT ST                            295 SNOWBIRD TRAIL
KNOXVILLE, IL 61448                      KNOXVILLE, IL 61448                      MARBLE, NC 28905




DERLA, LI                                DERMA, LUZ                               DEROHAN, RUTH N.
4750 NORTH CLARENDON AVE APT 1002        2611 S TANGERINE ST                      912 18TH ST
CHICAGO, IL 60640                        DEMING, NM 88030                         ZION, IL 60099




DEROSA JAMES V                           DEROSIER, JARED                          DEROSSETT LEANNE
1915 UPPER BEAR PAW RD                   2464 KILARNEY DR                         234 N LINE
MURPHY, NC 28906                         GRANITE CITY, IL 62040                   DU QUOIN, IL 62832




DEROSSETT, CRYSTALINA                    DEROSSETT, ERIC                          DEROSSETT, KIMBERLY
ADDRESS ON FILE                          4130 EAST CHINDEN BLVD                   P.O. BOX 218
                                         EAGLE, ID 83616                          ALLEN, KY 41601




DEROSSITT, JAMES P.                      DEROSSITT, SUSAN                         DEROUIN, RENEE S.
ADDRESS ON FILE                          2524 TANNENBAUM RD                       1750 W BROADWAY LOT 3006
                                         DRASCO, AR 72530                         BLUE ISLAND, IL 60406




DEROYAL INDUSTRIES                       DERREBERRY, MILA                         DERRICK ALLIE
MSC 30316                                392 LIBERTY CIRCLE                       9299 PRAIRIE DUNES WAY
P.O. BOX 415000                          MURPHY, NC 28906                         EAGLE MOUNTAIN, UT 84005
NASHVILLE, TN 37241-0316




DERRICK BROWN                            DERRICK, ANTHONY D.                      DERRY, JAMIE J.
1310 SFC 267                             3606 RICHMOND HILL RD                    500 COLUMBUS AVENUE
COLT, AR 72326                           AUGUSTA, GA 30906-4849                   GALESBURG, IL 61401




DERSHAM, JOHN                            DERUS GLASS WORKS, INC.                  DERYKE, SUSAN K.
1041 COUNTY RD 277                       P.O. BOX 767                             ADDRESS ON FILE
FT PAYNE, AL 35967                       EVANSTON, WY 82931-0767




DESAI, ANKITABEN D.                      DESANA, RAYMOND EDWARD                   DESANTIS, SAVANNA
ADDRESS ON FILE                          FAIRWAY HEALTHCARE CONSULTING LLC        ADDRESS ON FILE
                                         426 WESTCHESTER CLUB DR
                                         HIRAM, GA 30141
DESCALZI, AUDRA E.      Case 20-10766-BLS   DocMATTHEW
                                      DESCHAMPS, 6 Filed 04/07/20       Page DESCHEPPER,
                                                                             474 of 1969 RICHARD
85 MOUNT DEVON RD                     1300 SKYLINE DR                        13998 S COUNTY RD
CARMEL, CA 93923                      COBDEN, IL 62920-0000                  ALTONA, IL 61414




DESERET PEAK COMPLEX                  DESERT AMBULANCE SERVICE               DESERT IMAGING SERVICES
2930 W HWY 112                        831 W MAIN STREET                      4855 NORTH MESA 130
TOOELE, UT 84074                      BARSTOW, CA                            EL PASO, TX 79912
                                      BARSTOW, CA 92311




DESERT MANNA MINISTRIES INC           DESERT SANCTUARY OUTREACH              DESERT SIERRA CANCER SURVEILLANCE
201 NORTH FIRST AVE STE B             703 MAIN STREET                        PROGRAM
BARSTOW, CA 92311                     BARSTOW, CA 92311                      LOMA LINDA UNIVERSITY MED CTR
                                                                             P.O. BOX 2000
                                                                             LOMA LINDA, CA 92354



DESHAYES, LAWRENCE V.                 DESHAZER, GARLAND                      DESHIELDS, CHARLES
1509 SMOKE SIGNAL TRL                 ADDRESS ON FILE                        7470 FOREST HOME RD
MESQUITE, NV 89034                                                           FOREST HOME, AL 36030




DESHON, LYNDA J.                      DESHPANDE, NISHA M.                    DESHPANDE, URMILA
31 DOGWOOD TERRACE                    ADDRESS ON FILE                        2550 S ELLSWORTH ROAD
MARYVILLE, IL 62062                                                          UNIT 843
                                                                             MESA, AZ 85209-2479




DESIGNERS CORNER                      DESIGNS FOR VISION INC                 DESIGNS FOR VISION INC
PIGGLY WIGGLY                         4000 VERTERANS MEMORIAL HIGHWAY        ATTN: ACCOUNTS RECEIVABLE
712 WASHINGTON ST                     BOHEMIA, NY 11716                      P.O. BOX 520
WILLIAMSTON, NC 27892                                                        BOHEMIA, NY 11716-0520




DESIMONE, CELIA L.                    DESIREE CONN                           DESIREE MANCE
303 SANDRA ST.                        304 ELM STREET                         7367 RALEIGH ST NW
PARIS, TN 38242                       ELKVIEW, WV 25071                      MASSILLON, OH 44646




DESIREE SHUBIN                        DESJARDINS FINANCIAL                   DESK & DOOR NAMEPLATE CO, INC
ADDRESS ON FILE                       SECURITY LIFE ASSURANCE CO             9310 GULFSTREAM ROAD
                                      1299 BERTHA HOWE AVE                   FRANKFORT, IL 60423
                                      MESQUITE, NV 89027




DESKINS, WILLIAM                      DESLHOMMES, NADIA                      DESLIPPE, CHRISTINA
P.O. BOX 1147                         401 CANTERBURY LANE                    1317 GOLD AVE
KERMIT, WV 25674                      LAWRENCEVILLE, GA 30046                DEMING, NM 88030




DESM HOLDINGS LLC                     DESMOND, JAMES P.                      DESMOND, WILLIAM L .
1020 MILWAUKEE AVE, STE 232           6023 W 64TH PLACE                      81 JAY ST
DEERFIELD, IL 60015                   CHICAGO, IL 60638                      MILL HALL, PA 17751-1413
                         Case 20-10766-BLS
DESOTO PRINTING INCORPORATED           DESOTO Doc    6 INCORPORATED
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                                                                              475 ofPRINTING
                                                                                     1969
311 GAULT AVENUE NORTH                 P.O. BOX 680719                        2718 GAULT AVENUE
P O BOX 680719                         FORT PAYNE, AL 35968                   P O BOX 680719
FORT PAYNE, AL 35968-1608                                                     FORT PAYNE, AL 35968




DESPAIN, SHAUNA L.                     DESROCHES, MARGARET E.                 DESTA, HAIMANOT
220 S GRACE                            1026 W 5TH AVE.                        2757 APPLE ORCHARD TRL
MARISSA, IL 62257                      EUGENE, OR 97402                       SNELLVILLE, GA 30078




DESTEFANO, ANN E.                      DESTEFANO, CATHERINE J.                DESTINATION EVENTS INC
644 SUMMIT LN NO 5224                  8305 OLD DIAL ROAD                     P.O. BOX 1608
ELLIJAY, GA 30540                      BLUE RIDGE, GA 30513                   SPRINGFIELD, OR 97477




DESTRY ADEN                            DETERDING EMILY                        DETERDING, ALBERT
ADDRESS ON FILE                        ADDRESS ON FILE                        610 PRAIRIE DU ROCHER ST
                                                                              PRAIRIE DU ROCHER, IL 62277




DETERDING, ALEX                        DETERDING, BRIAN                       DETERDING, EMILY R.
904 WHITE OAK DR                       6691 SAINT LEOS RD                     ADDRESS ON FILE
RED BUD, IL 62278                      MODOC, IL 62261-1041




DETHROW, NICOLE M.                     DETHROW, NICOLE                        DETKO, ELKE R.
1101 E GRAND AVE APT L4                7550 SHAWNEETOWN TRAIL                 7779 CUTCANE RD
CARBONDALE, IL 62901                   ELLIS GROVE, IL 62241                  MINERAL BLUFF, GA 30559




DETROIT DIESEL                         DETROIT DIESEL                         DETROW, JUSTINE
100 S LODESTONE WAY                    60703 COUNTRY CLUB ROAD                ADDRESS ON FILE
TOOELE, UT 84074                       BYESVILLE, OH 43723




DETTO, SANDRA K.                       DETTWEILER, BONNIE J.                  DETTWEILER, STEPHEN
ADDRESS ON FILE                        302 NEWPORT AVE NW                     7681 BRIGGLE AVE SW
                                       MASSILLON, OH 44646                    EAST SPARTA, OH 44626-9430




DETTWEILER, WAYNE                      DETTY, PAUL                            DETWILER, LEROY
341 27TH ST NW                         37 CRIMSON LANE                        102 MILL CREEK LAWSON RD
MASSILLON, OH 44647                    EPWORTH, GA 30541                      JACKSON, KY 41339




DEUTSCHE BANK                          DEVANE, DONNA H.                       DEVANEY, AMY J.
DEUTSCHE BANK AG NEW YORK BRANCH       312 E 2ND ST P.O. BOX 123              ADDRESS ON FILE
                                       ROBERSONVILLE, NC 27871
DEVANEY, JENNIFER A.     Case 20-10766-BLS   Doc
                                       DEVAUGHN,   6 Filed 04/07/20
                                                 LARRY                  Page DEVAULT,
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                                                                                      ROSEANN M.
ADDRESS ON FILE                        317 ARCH AVE SE                       1336 GOLDEN ROD COURT
                                       MASSILLON, OH 44646                   LAS CRUCES, NM 88007




DEVELOPMENT ASSOC FOR THE AGING        DEVENING, DAWN M.                     DEVENNEY GROUP LTD
C/O AGESMART COMM RESOURCES            ADDRESS ON FILE                       201 W INDIAN SCHOOL RD
801 WEST STATE ST                                                            PHOENIX, AZ 85013
OFALLON, IL 62269




DEVER,. STEVEN W                       DEVEREAUX, MATTHEW C.                 DEVICOR MEDICAL PRODUCTS, INC.
203 N 5TH STREET                       ADDRESS ON FILE                       33075 COLLECTION CENTER DRIVE
BENLD, IL 62009                                                              CHICAGO, IL 60693-0330




DEVICOR MEDICAL PRODUCTS, INC.         DEVICOR MEDICAL PRODUCTS, INC.        DEVIN ALLEN STEPHENS
33075 COLLECTIONS CENTER DR            33075 COLLECTIONS CENTER DR           1041 CROSSING RIDGE
CHICAGO, IL 60693-0330                 CHICAGOATI, IL 60693-0330             BOGART, GA 30622




DEVIN BURMESTER                        DEVIN, JOSEPH M.                      DEVINE, EUTORIA L.
5422 RICHFIELD RD                      ADDRESS ON FILE                       907 S 11TH ST
RED BUD, IL 62278                                                            BELLEVILLE, IL 62226




DEVITO, SUSAN                          DEVLIN, DEVI L.                       DEVLIN, LESLIE
8829 CLEARVIEW DR                      430 S SOANGETAHA RD                   ADDRESS ON FILE
ORLAND PARK, IL 60462                  GALESBURG, IL 61401




DEVON BANK                             DEVON WHEATLEY                        DEVORA, SUNSHINE M.
6445 NORTH WESTERN AVE                 1263 S KASKASKIA ST                   1070 HUTCH HWY
CHICAGO, IL 60645                      APT. 7                                DEMING, NM 88030
                                       NASHVILLE, IL 62263-1564




DEVORE JAMES                           DEVOST, MALASIA                       DEVOUS, KATHY S.
143 JON CRIS ROAD                      3677 WASHINGTON AVE                   2530 COUNTY ROAD 375 E
BYHALIA, MS 38611                      GREAT LAKES, IL 60088                 MILL SHOALS, IL 62862




DEVRIES MARVIN                         DEVRIES, ELIZABETH M.                 DEVYN L GOODWIN
2340 W 113TH PL                        18205 HIGHLAND AVE                    602 N FEARING AVE
SMITH VILLAGE                          HOMEWOOD, IL 60430                    ABINGDON, IL 61410
CHICAGO, IL 60643




DEWALD, WILLIAM                        DEWAR, HEATHER                        DEWAR, LEEANN
1515 MERINO CR NE                      32 OAK STREET                         ADDRESS ON FILE
MASSILLON, OH 44646                    BRINKLEY, AR 72021
DEWBERRY, YANA A.         Case 20-10766-BLS   Doc
                                        DEWEESE,    6 D.Filed 04/07/20
                                                 JUDITH                      Page DEWERDT,
                                                                                  477 of 1969
                                                                                           WILLIAM
7737 PHILLIPS 300 RD                     P.O. BOX 12                              13400 CRESTWOOD CT
HELENA, AR 72342                         MINERAL BLUFF, GA 30559                  CRESTWOOD, IL 60445




DEWEY R PRESCOTT                         DEWITT, CHERYL                           DEWITT, CHRISTINA
1824 E MAIN ST                           647 GUY ST NW                            310 BRADY MILL RD.
GALESBURG, IL 61401                      MASSILLON, OH 44647                      ANNA, IL 62906




DEWITT, DUANE R.                         DEWITT, JOE N.                           DEWITT, MELODY
12 GROUSE DR                             816 RICH ST                              1111 EAST UNION
LOCK HAVEN, PA 17745                     FORREST CITY, AR 72335                   WYNNE, AR 72396




DEWS, MEAGAN                             DEXMEDIA                                 DEY, SONIA M.
10052 BLACK DIAMOND RD                   P.O. BOX 79167                           2366 SCOTT COURT
MARSHALLVILLE, OH 44645                  PHOENIX, AZ 85062-9167                   ROUND LAKE BEACH, IL 60073




DEYOUNG, DOROTHY                         DEYOUNG, JAY P.                          DEYTON CAROLYN M
2044 TIMBERVIEW LANE                     27580 S KEDZIE                           171 STUART MOUNTAIN RD
GALESBURG, IL 61401                      MONEE, IL 60449                          MINERAL BLUFF, GA 30559




DEYTON, AUSTIN                           DEZIGNS BY M                             DHHS ACCOUNTS RECEIVABLE
609 GOOSE ISLAND ROAD                    MARY ANN MCNEIL                          DIV OF HEALTH BENEFITS
CHERRY LOG, GA 30522                     1933 CLARK COURT                         1050 UMSTEAD DRIVE
                                         GALESBURG, IL 61401                      RALEIGH, NC 27603




DHHS CONTROLLERS OFFICE                  DHHS OFFICE OF CONTROLLER                DHHS-DIVISION OF MEDICAL ASSISTANCE
ACCOUNTS RECEIVABLE-OTHER                ACCOUNTS RECEIVABLE HEALTH BENEFITS      2022 MAIL SERVICE CENTER
2025 MAIL SERVICE CENTER                 2022 MAIL SERVICE CENTER                 A/R - OFFICE OF THE CONTROLLER
RALEIGH, NC 27699-2025                   RALEIGH, NC 27699-2022                   RALEIGH, NC 27699-2022




DHOM, JORDAN                             DHS WILDCAT FOOTBALL BOOSTER CLUB        DHSC, LLC
25 W PERRY ST                            1416 S SANTA MONICA ST                   1209 ORANGE STREET
MARYVILLE, IL 62062                      DEMING, NM 88030                         WILMINGTON, DE 19801




DIAGNOSTIC IMAGING CENTER                DIAGNOSTIC LABORATORIES AND              DIAGNOSTIC LEASING LLC
REFUND ACCOUNT                           RADIOLOGY                                P O BOX 480005
1001 SOUTHWEST BLVD, SUITE C             6400 PINECREST DRIVE STE 100             CHARLOTTE, NC 28269
JEFFERSON CITY, MO 65109                 PLANO, TX 75024-2961




DIAGNOSTIC MANAGEMENT GROUP              DIAK RICHARD A                           DIAK, NANCY A.
P.O. BOX 2757                            2256 WATERMAN AVE                        ADDRESS ON FILE
ABILENE, TX 79604                        GRANITE CITY, IL 62040
DIAK, NORMA              Case 20-10766-BLS     Doc
                                       DIAL, DEAN V. 6      Filed 04/07/20   Page DIAL,
                                                                                  478KAMMY
                                                                                        of 1969
2308 WOODLAWN AVE                        37884 M J CHASE RD                       406 W. GRAND
GRANITE CITY, IL 62040                   SPRINGFIELD, OR 97478                    CARTERVILLE, IL 62918




DIALS, BRITTANY D.                       DIALS, DUSTIN                            DIAMOND FOWLER
ADDRESS ON FILE                          3570 COLDWATER RD                        1320 DESERET AVE D
                                         INEZ, KY 41224                           BARSTOW, CA 92311




DIAMOND HEALTHCARE                       DIAMOND LINKS GOLF CLUB                  DIAMOND PRO
701 EAST BYRD STREET                     200 FAIRWAY DRIVE                        P O BOX 3053
15TH FLOOR                               CATTLESBURG, KY 41229                    LAS VEGAS, NM 87701
RICHMOND, VA 23219




DIAMOND PROPERTIES LLC                   DIAMOND RENTAL                           DIAMOND TOURS INC
DESERT RIDGE STORAGE P.O. BOX 1897       4518 S 500 W                             13100 WESTLINKS TERRACE
DEMING, NM 88031                         SALT LAKE CITY, UT 84123                 SUITE 1
                                                                                  FORT MEYERS, FL 33913-8625




DIAMOND, DELPHINE                        DIAMOND, MAGGIE                          DIAMONDS INFINITY ATHLETICS
P O BOX 82283                            102 GRAND ST                             12463 N. SPARROW LANE
CONYERS, GA 30013                        ANNA, IL 62906                           MT. VERNON, IL 62864




DIANA BARKER                             DIANA BURGESS                            DIANA COTTRELL
11236 COUNTY CLUB DR.                    ADDRESS ON FILE                          320 7TH AVE NW
APPLE VALLEY, CA 92308                                                            BEACH CITY, OH 44608-9569




DIANA L CASWELL                          DIANA LONG                               DIANA M. WELLS
153 LEONARD AVE NW                       3605 GODFREY AVENUE NE                   701 E BOULEVARD ST
MASSILLON, OH 44646                      FORT PAYNE, AL 35967                     MARION, IL 62959




DIANA PATTON                             DIANA TYRA                               DIANA, CRYSTAL
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




DIANA, CRYSTAL                           DIANE ALLEN                              DIANE BACKES
153 NORTH THIRD ST                       1021 NC HWY 305                          1221 MAIN ST
TOOELE, UT 84074                         AULANDER, NC 27805                       P.O. BOX 41
                                                                                  MAEYSTOWN, IL 62256




DIANE COX                                DIANE HATTON                             DIANE LUX HOLMEN
ADDRESS ON FILE                          P O BOX 1054                             ADDRESS ON FILE
                                         HUGHES, AR 72348
DIANE MEYER              Case 20-10766-BLS    Doc 6
                                       DIANE MOORE       Filed 04/07/20   Page DIANE
                                                                               479 of  1969
                                                                                     SHANKLES
ADDRESS ON FILE                        P.O.BOX 353                             2830 BROWDER ROAD NW
                                       WINDSOR, NC 27983-0353                  FORT PAYNE, AL 35968




DIANE, KARLAS                          DIANN GUNDERSON                         DIANNA ABRAHAMSON
1705 CLOVERDALE DR                     2762 LINCOLN PARK DR                    926 OLDE FARM RD
EDWARDSVILLE, IL 62025                 GALESBURG, IL 61401                     TROY, IL 62294




DIANNA MCMAHON TAYLOR                  DIANNE J PETERS                         DIANNE KENNEDY
ADDRESS ON FILE                        51 FALLS RD                             40 SFC 405
                                       BEECH CREEK, PA 16822                   FORREST CITY, AR 72335




DIANNE NAOMY GOMEZ                     DIANNE STEWART                          DIANNE TREMBLE
317 30TH STREET 143C                   501 MCCIULLARS DRIVE                    6808 GA HWY 296
SPRINGFIELD, OR 97478                  WEAVER, AL 36277                        STAPLETON, GA 30823-7178




DIATHERIX LABORATORIES, LLC            DIAZ MARIA                              DIAZ TORRES, MARTHA R.
601 GENOME WAY, SUITE 2100             ADDRESS ON FILE                         1225 PEBBLE BEACH DR
HUNTSVILLE, AL 35806-2910                                                      MESQUITE, NV 89027




DIAZ, AGNES BENITA                     DIAZ, ANGELITA                          DIAZ, ANGELITA
ADDRESS ON FILE                        14437 S. RICHMOND AVE                   14437 S. RICHMOND ST
                                       POSEN, IL 60469                         POSEN, IL 60469




DIAZ, CECILIA                          DIAZ, ERICA                             DIAZ, ERIKA
7413 SOUTHEASTERN AVE                  24316 S WILLIAM DRIVE                   ADDRESS ON FILE
HAMMOND, IN 46324                      MANHATTAN, IL 60442




DIAZ, JESUS M.                         DIAZ, JULIE M.                          DIAZ, KATHIA
ADDRESS ON FILE                        352 E 25TH ST                           ADDRESS ON FILE
                                       CHICAGO HEIGHTS, IL 60411




DIAZ, MARCIA N.                        DIAZ, MARIA C.                          DIAZ, MISTY R.
391 NIGHT LN                           ADDRESS ON FILE                         133 MAPLE AVE
EPWORTH, GA 30541                                                              WATSONVILLE, CA 95076




DIAZ, PAULINE T.                       DIAZ, ROSA                              DIAZ, RUTH
2603 CINDY LANE                        2625 COLLINS ST APT 1                   516 SOUTH AVE APT 1
BIG SPRING, TX 79720                   BLUE ISLAND, IL 60406                   WAUKEGAN, IL 60085
DIAZ, STEPHANIE F.        Case 20-10766-BLS
                                        DICARLO,Doc  6 Filed 04/07/20
                                                 GIACOMO                Page DICHIARA,
                                                                             480 of 1969
                                                                                       EDITH
405 LYMAR LN                             1113 TEAL                           P.O. BOX 842
HERRIN, IL 62948                         RED BUD, IL 62278                   JACKSON, SC 29831-0842




DICK, BARBARA J.                         DICK, DAVID A.                      DICKENS, DR. JESSIE
506 S DUNCAN ST                          ADDRESS ON FILE                     4508 ISLAND DR
MARION, IL 62959                                                             MIDLAND, TX 79707




DICKENS, LARISSA L.                      DICKENS, MARK E.                    DICKENS, TARA C.
404 E 17TH ST                            ADDRESS ON FILE                     126 COLQUITT ST
SCOTLAND NECK, NC 27874                                                      MONROE, GA 30655




DICKERMAN, STACY L.                      DICKERSON, ASHLEY                   DICKERSON, CLORA
ADDRESS ON FILE                          ADDRESS ON FILE                     2205 N BUTRICK ST APT 127
                                                                             WAUKEGAN, IL 60078




DICKERSON, JILL                          DICKERSON, KENT                     DICKERSON, KHERESSA
2623 ELMWOOD CT                          1170 HARDISON ROAD                  2607 ARDWICK DR
COLUMBIA, IL 62236                       WILLIAMSTON, NC 27892               HEPHZIBAH, GA 30815




DICKERSON, LORI                          DICKERSON, MARANDA K.               DICKERSON, ROXANNA L.
ADDRESS ON FILE                          ADDRESS ON FILE                     803 ADAMS STREET
                                                                             LOUISA, KY 41230




DICKERSON, TRACEY H.                     DICKERSONS PHOTOGRAPHY              DICKEY, BRENDA A.
ADDRESS ON FILE                          193 W MAIN ST                       ADDRESS ON FILE
                                         GALEESBURG, IL 61401




DICKEY, CHRISTOPHER                      DICKEY, DOROTHY T.                  DICKEY, JENNIFER
1641 CHURCH STREET                       26 JACKS LN                         ADDRESS ON FILE
BARSTOW, CA 92311                        BEECH CREEK, PA 16822-7515




DICKEY, JONAH M.                         DICKINSON ELDON                     DICKINSON WRIGHT PLLC
375 BELLTOWN RD                          837 GOLD DUST CRT                   2600 W BIG BEAVER
COPPERHILL, TN 37317                     GRANTSVILLE, UT 84029               STE 300
                                                                             TROY, MI 48084




DICKINSON WRIGHT PLLC                    DICKINSON, ALEXIS                   DICKINSON, DARIN
350 S MAIN ST, STE 300                   16300 LIVE OAK STREET               P.O. BOX 1521
ANN ARBOR, MI 48104                      HESPERIA, CA 92345                  LYMAN, WY 82937-1521
DICKINSON, EMMA            Case 20-10766-BLS    Doc
                                         DICKINSON,   6 H.Filed 04/07/20
                                                    EVAN                   Page DICKINSON,
                                                                                481 of 1969GALEN D.
301 NORTH ST                               8830 HIGHWAY 436                     388 EAST RD
POLK PERSONAL CARE                         MCKENZIE, TN 38201                   NEW SWEDEN, ME 04762
MILLERSBURG, PA 17061




DICKINSON, MARLA R.                        DICK-IPSEN, KAREN M.                 DICKMANN, BRIAN
35 LOMA AVE                                ADDRESS ON FILE                      6045 N STATE ROUTE 159
LA SELVA BEACH, CA 95076                                                        EDWARDSVILLE, IL 62025




DICKMANN, CHERIE                           DICKNEITE, CASI L.                   DICKS PUB & RESTAURANT
6045 N STATE ROUTE 159                     310 FRONT ST                         707 DOUGLAS AVENUE
EDWARDSVILLE, IL 62025-7605                WATERLOO, IL 62298                   LAS VEGAS, NM 87701




DICKSON, ANNE F.                           DICKSON, DUSTIN M.                   DICKSON, DUSTIN M.
801 CUNNINGHAM DR APT 202                  ADDRESS ON FILE                      128 FOX POINT LOOP ROAD
ANTIOCH, IL 60002                                                               EVANSTON, WY 82930




DICKSON, WILLIAM J.                        DICKSTEIN, ROBERT, MD                DICKTE, SHANNON
ADDRESS ON FILE                            1662 N PEBBLE BEACH WAY              1020 FULTON AVE
                                           VERNON HILLS, IL 60061               WINTHROP HARBOR, IL 60096




DIDAGE SALES COMPANY INC                   DIECKS, CATHERINE D.                 DIEFENBACH, KERI
907 S. 625 E                               ADDRESS ON FILE                      ADDRESS ON FILE
WARSAW, IN 46582




DIEFENDORF JR., ROY C.                     DIEFENDORF, MORGAN M.                DIEFFENBAUGHER-KELLY, NICOLE
ADDRESS ON FILE                            1203 7TH STREET                      1223 BAIER AVE
                                           LAS VEGAS, NM 87701                  LOUISVILLE, OH 44641




DIEGO FLORENTIN, M.D.                      DIEHL, BRET A.                       DIEHL, MICHAEL
CIBOLA FAMILY HEALTH CENTER                209 N 9TH ST                         2091 KINCAID ST
1423 E ROOSEVELT AVE                       SUNBURY, PA 17801                    EUGENE, OR 97405-0000
GRANTS, NM 87020




DIEHL,, MICHAEL A, M.D.                    DIEKEMPER, AMI L.                    DIEKEMPER, KATHRYN L.
ADDRESS ON FILE                            ADDRESS ON FILE                      411 PLUM ST
                                                                                EDWARDSVILLE, IL 62025




DIEKMANN, VALERIE G.                       DIEL, ALEXANDER                      DIEL, JOLO
VN & ASSOCIATES                            971 BELLE VALLEY DR APT C            ADDRESS ON FILE
5552 SW 88TH CT                            BELLEVILLE, IL 62220
GAINESVILLE, FL 32608
DIEMER LAWRENCE P JR      Case 20-10766-BLS
                                        DIEMER, Doc
                                                CHERI6L. Filed 04/07/20   Page DIEMER,
                                                                               482 ofCHERI
                                                                                       1969L.
1313 MAPLE AVE                            102 BEECHWOOD LANE                   ADDRESS ON FILE
GALESBURG, IL 61401                       ANNA, IL 62906




DIEMER, LAWRENCE P. JR.                   DIENETHAL, MARIA N.                  DIERFELD, BENTLEY JACKSON
1313 MAPLE AVE                            8354 47TH CT                         24760 DEMMING RIDGE RD
GALESBURG, IL 61401                       KENOSHA, WI 53142                    ELMIRA, OR 97437




DIERKES, BROOKE                           DIESEL FUEL MAINTENANCE, INC.        DIESEN, KATHY
902 JAMIE ST                              P.O. BOX 759                         11 PRIMROSE LANE
BARTELSO, IL 62218                        LA PORTE, TX 77571                   TRENTON, IL 62293




DIESSER, VALERIE D.                       DIETERLE, DIANNE                     DIETRICH, MARK B.
314 W SOUTH AVE                           4574 JJ ROAD                         ADDRESS ON FILE
NOBLE, IL 62868                           WATERLOO, IL 62298




DIETRICH, MARK                            DIETZ PAMELA J                       DIETZ, CLAY
ADDRESS ON FILE                           40370 JASPER LOWELL RD               151 WESTVIEW PLACE
                                          P.O. BOX 798                         WATERLOO, IL 62298
                                          PLEASANT HILL, OR 97455




DIETZ, ELIZABETH A.                       DIETZ, PATRICIA                      DIFFENDAFFER, JAMES D.
8720 ST HWY 146 E                         140 LINE STREET                      85294 RIDGETOP DR
DONGOLA, IL 62926                         LOGANVILLE, GA 30052                 EUGENE, OR 97405




DIFFER, HEATHER L.                        DIFIGLIO, JOE AND JOANN              DIGESTIVE AND LIVER DISEASES PC
ADDRESS ON FILE                           3301 STAKES LANE                     106 SAN PABLO TOWNE CTR. 220
                                          GRAYSLAKE, IL 60030                  SAN PABLO, CA 94806




DIGGS, JAHIDERLYN                         DIGI INTERNATIONAL INC               DIGI MAC SOLUTIONS INC
306 NORTH BRYAN ST.                       11001 BREN ROAD EAST                 9800-D TOPANGA CANYON BLVD 7
WESTBROOK, TX 79565                       MINNETONKA, MN 55343                 CHATSWOTH, CA 91311




DIGIROLAMO, HENRY                         DIGITAL INNOVATION, INC.             DIGNITY & PRIDE
P.O. BOX 2145                             302 DOVE COURT                       CHARTER & LIMO LLC
SPRING VALLEY, CA 91979                   FOREST HILL, MD 21050                P.O. BOX 61
                                                                               DEMING, NM 88031




DIGNITY STATION                           DIIPLA, JOHN                         DIJI, OLAWALE A.
P.O. BOX 289                              1693 N BROAD STREET                  719 THOMPSON RIDGE DR
BARSTOW, CA 92312                         GALESBURG, IL 61401                  MONROE, GA 30655
DIKES, NICHOLAS B.        Case 20-10766-BLS    DocJANE
                                        DIKKEBOOM,  6 Filed 04/07/20   Page DIKUN,
                                                                            483 of   1969 W.
                                                                                   EDWARD
ADDRESS ON FILE                         14530 S LAMON                       3011 YOUNGSTOWN HUBBARD RD
                                        MIDLOTHIAN, IL 60445                YOUNGSTOWN, OH 44505




DILBECK CORA L                          DILBECK, BEVERLY                    DILBECK, CAROL
1004 SPARKS ROAD                        ADDRESS ON FILE                     ADDRESS ON FILE
MORGANTON, GA 30560




DILBECK, ERVLENE T.                     DILBECK, PATRICIA A.                DILBECK, PATRICIA
P.O. BOX 194                            ADDRESS ON FILE                     ADDRESS ON FILE
DUCKTOWN, TN 37326




DILDAY, RONALD                          DILDAY, VICKI L.                    DILEO, CHRISTINA
574 BYRD RD.                            2105 RICHMOND AVE                   821 CONCORDE CR
GLEASON, TN 38229                       GRANITE CITY, IL 62040              APT 3005
                                                                            LINTHICUM HEIGHTS, MD 21090




DILGERT, ESTHER H.                      DILIGENT CORPORATION                DILKS, ROCKY D.
740 CATHEDRAL DR                        P.O. BOX 419829                     2286 LEE 447
APTOS, CA 95003                         BOSTON, MA 02241-9874               MORO, AR 72368




DILL, JAMESON C.                        DILL, MARY                          DILL, SUZANNE
401 LINCOLN AVE SE                      ADDRESS ON FILE                     5315 HIGHWAY 100
FORT PAYNE, AL 35967-7425                                                   REAGAN, TN 38368




DILLARD DOOR & ENTRANCE CONTROL         DILLARD STEVEN E                    DILLARD, BRITTANY
P.O. BOX 2181                           186 TWIN OAKS DR                    4264 ADA ST
MEMPHIS, TN 38101-2181                  COPPERHILL, TN 37317                BLUE RIDGE, GA 30513




DILLARD, CATHERINE                      DILLARD, DEBORAH                    DILLARD, LATASHA
222 BLUEGRASS WAY                       407 HULL CT                         599 VINCENT DRIVE
GRANTSVILLE, UT 84029                   WAUKEGAN, IL 60085                  ATHENS, GA 30607




DILLARD, THERESA                        DILLARD, VANESSA                    DILLBERG SUSAN M
56 WOLF CK RD                           1141 BLACKSTONE WAY                 1834 PRAIRIE RIDGE CIR
MINERAL BLUFF, GA 30559                 WATKINSVILLE, GA 30677              LINDENHURST, IL 60046




DILLENBECK, MARIE                       DILLENBERGER, DON                   DILLEY, MOLLY
P O BOX 293                             6527 BOEHNE DR                      8911 GENCZO OVERHEAD RD
MENTONE, AL 35984-0293                  WATERLOO, IL 62298                  NEW DOUGLAS, IL 62074
DILLIER, NINA K.           Case 20-10766-BLS     DocKELSEY
                                         DILLINGHAM, 6 Filed 04/07/20   Page DILLINGHAM,
                                                                             484 of 1969 STEVE
ADDRESS ON FILE                          ADDRESS ON FILE                     4777 E. FREEMAN ROAD
                                                                             WALTONVILLE, IL 62894-0000




DILLINGHAM, TINA M.                      DILLMAN, CHRISTIE                   DILLMAN, LAVAUGHN
25 HAMBY DRIVE                           ADDRESS ON FILE                     ADDRESS ON FILE
BLUE RIDGE, GA 30513-4646




DILLMAN, LAVAUGHN                        DILLMAN, TIMOTHY                    DILLON MILLER
ADDRESS ON FILE                          4202 WESTWOOD DR                    ADDRESS ON FILE
                                         APT. 8
                                         MT. VERNON, IL 62864




DILLON, CECIL E.                         DILLON, MARY P.                     DILLON, RUSSELL
235 ASHLAR ST                            ADDRESS ON FILE                     27 FIELDCREST
JONESBORO, IL 62952                                                          COLUMBIA, IL 62236




DILLON, SANDRA                           DILLOW, CATHY                       DILLOW, DOUGLAS J.
14264 ORRVILLE ST NW                     105 EBENEZER CHURCH RD              400 SPRING ST
NORTH LAWRENCE, OH 44666                 JONESBORO, IL 62952                 DONGOLA, IL 62926




DILLOW, GERALD D.                        DILLOW, MICHELE                     DILLOW, ROBERT
285 CASPER CHURCH RD                     4509 STATE ROUTE 3                  107 HOLLY TERRACE
ANNA, IL 62906                           RED BUD, IL 62278                   ANNA, IL 62906




DILLS CHRISTINE C                        DILLS, G. L.                        DILLS, KERRY W.
582 CUTCANE ROAD                         2646 OLD HWY 5                      495 HAYMORE FARM RD
MINERAL BLUFF, GA 30559                  BLUE RIDGE, GA 30513                MINERAL BLUFF, GA 30559




DILON TECHNOLOGIES, INC.                 DILORENZO, CYNTHIA                  DILUZIO CHELSEA
12050 JEFFERSON AVE                      144 BOLTON ST                       62 OLD FAIN RD
NEWPORT NEWS, VA 23606                   MONROE, GA 30655                    MURPHY, NC 28906




DILWORTH, LINDA T.                       DIMA, CHRISTY                       DIMAS, KRYSTAL L.
726 BEECHER AVE                          ADDRESS ON FILE                     ADDRESS ON FILE
GALESBURG, IL 61401




DIMAS, PHELISHA                          DIMATTIO, JENNIFER A.               DIMATULAC, KAREN
313 CUMBRES PATIO                        935 BAYBERRY ST NW                  245 VISTA DEL MAR LANE
LAS VEGAS, NM 87701                      MASSILLON, OH 44646                 WATSONVILLE, CA 95076
DIMAURO, MARTHA A.      Case 20-10766-BLS     Doc
                                      DIMIDJIAN,    6 A.
                                                 CARLOS Filed 04/07/20   Page DIMITRIOS
                                                                              485 of 1969
                                                                                        TOPALIDIS, MD
4430 FOREST GLEN AVE NW               1100 THORPE                              6659 FRANK AVE NW
MASSILLON, OH 44647                   BIG SPRING, TX 79720                     NORTH CANTON, OH 44720




DIMITROFF, THOMAS E.                   DIMITROVA, KRISTINA                     DINAN, ROSETTA S.
11770 SINCLAIR ST SW                   817 BLUEBIRD ST.                        ADDRESS ON FILE
MASSILLON, OH 44647-7256               DEERFIELD, IL 60015




DINEEN, KARRIE A.                      DINESH PATEL                            DINESH-BALARAMAN, VICTORIA
2246 SANDCASTLE DR                     100 WEBB ST                             796 W. ACACIA ST. 4
DYER, IN 46311                         GREENVILLE, AL 36037                    SALINAS, CA 93901




DINGESS, KIMBERLY                      DINGESS, TONYA C.                       DINGUS, DENNIS M.
231 PADDLE CREEK ROAD                  ADDRESS ON FILE                         P.O. BOX 1645
FORT GAY, WV 25514                                                             BIG SPRING, TX 79720




DINGUS, KAYLA                          DINKEL, SUZANNE G.                      DINKINS, JOEANN
1626 HWY 1000                          16821 WAUSAU CT                         12245 FAIRWAY CIR
WEST LIBERTY, KY 41472                 SOUTH HOLLAND, IL 60473                 UNIT B
                                                                               BLUE ISLAND, IL 60406




DINOFF WESLEY VAUGHN                   DINSMORE, JOHN K.                       DINSMORE, JONATHAN C.
481 S 32ND ST                          P.O. BOX 551                            ADDRESS ON FILE
SPRINGFIELD, OR 97478-0000             WELLS, NV 89835




DINSMORE, JOYCE                        DINTAMAN, ZACHARY M.                    DIONIDO, WANDA
1000 GARLANDS LN                       ADDRESS ON FILE                         941 SUMAC CT
BARRINGTON, IL 60010                                                           LINDENHURST, IL 60046




DIORIO, ANNETTE                        DIORIO, CAROLINE                        DIPPEL, ROCHELLE
17401 OCONTO AVE                       18312 WHITE OAK CT                      ADDRESS ON FILE
TINLEY PARK, IL 60477                  TINLEY PARK, IL 60487




DIRECT CARE ADMINISTRATORS             DIRECT DIFFERENCE INC                   DIRECT DIFFERENCE INC
P O BOX 3000                           2799 E TROPICANA AVE STE H411           P.O. BOX 3709
BOUNTIFUL, UT 84011                    LAS VEGAS, NV 89121                     RANCHO SANTA FE, CA 92067




DIRECT ENERGY BUSINESS                 DIRECT ENERGY BUSINESS                  DIRECT ENERGY BUSINESS
1001 LIBERTY AVE                       150 E 52ND ST                           P.O. BOX 32179
12TH FL                                STE 1501                                NEW YORK, NY 10087-2179
PITTSBURG, PA 15222                    NEW YORK, NY 10022
DIRECT ENERGY BUSINESS Case 20-10766-BLS     Doc 6 BUSINESS
                                     DIRECT ENERGY    Filed 04/07/20         Page DIRECT
                                                                                  486 ofENERGY
                                                                                         1969 BUSINESS
P.O. BOX 70220                       PO BOX 32179                                 PO BOX 70220
PHILADELPHIA, PA 19176-0220          NEW YORK, NY 10087-2179                      PHILADELPHIA, PA 19176-0220




DIRECT PRIMARY CARE OF EUGENE         DIRECT SOURCE MEDIA                         DIRECT SUPPLY EQUIPMENT
1430 WILLAMETTE ST 311                11519 KINGSTON PIKE                         BOX 88201
EUGENE, OR 97401                      SUITE 149                                   MILWAUKEE, WI 53288-0201
                                      KNOXVILLE, TN 37934




DIRECT TV                             DIRECT TV                                   DIRECT TV
P.O. BOX 105249                       P.O. BOX 105249                             P.O. BOX 5006
ATLANTA, GA 30348                     ATLANTA, GA 30348-5249                      CAROL STREAM, IL 60197




DIRECT TV                             DIRECTOR OF FINANCE, STATE OF HAWAII        DIRECTOR OF FINANCE, STATE OF HAWAII
P.O. BOX 5006                         NO. 1 CAPITOL DISTRICT BLDG                 STATE OF HAWAII
CAROL STREAM, IL 60197-5006           250 S HOTEL ST, RM 304                      UNCLAIMED PROPERTY PROGRAM
                                      HONOLULU, HI 96813                          P.O. BOX 150
                                                                                  HONOLULU, HI 96810



DIRECTV INC                           DIRECTV                                     DIRHAM, CAROL SUE
P O BOX 5006                          P.O. BOX 5006                               2629 7TH ST NE
CAROL STREAM, IL 60197-5006           CAROL STREAM, IL 60197-5006                 CANTON, OH 44704




DIRKS, ROSE                           DISA GLOBAL SOLUTIONS, INC                  DISABATO, MILDRED A.
200 S STATION RD                      10900 CORPORATE CENTRE DR STE 250           12946 MAPLE AVENUE
APT 9114                              HOUSTON, TX 77041                           BLUE ISLAND, IL 60406
GLEN CARBON, IL 62034




DISABILITY BUREAU                     DISABILITY: UINTA COUNTY                    DISANTO ANNETTE M
P.O. BOX 19251                        236 9TH STREET                              180 LINDSEY LANE
SPRINGFIELD, IL 62794-9251            EVANSTON, WY 82930                          BLUE RIDGE, GA 30513




DISASTER MGMT SYSTEMS, INC            DISCOUNT PRINTING                           DISCOUNT PRINTING
10271-A TRADEMARK STREET              479 LINCOLN ST                              479 LINCOLN STREET
RANCHO CUCAMONGA, CA 91730            GALESBURG, IL 61401                         GALESBURG, IL 61401




DISCOVER STUDENT LOANS                DISCOVERY DEPOT                             DISCOVERY HEALTH PARTNERS
P.O. BOX 6107                         128 CHAMBERS ST                             2 PIERCE PLACE STE 1900
CAROL STREAM, IL 60197-6107           GALESBURG, IL 61401                         ITASCA, IL 60143




DISH NETWORK                          DISH NETWORK                                DISH NETWORK, LLC
DEPT 0063                             P.O. BOX 94063                              P.O. BOX 94063
PALATINE, IL 60055-0063               PALATINE, IL 60094-4063                     PALANTINE, IL 60094-4063
DISH NETWORK, LLC          Case 20-10766-BLS     Doc 6 LLCFiled 04/07/20
                                         DISH NETWORK,                          Page DISH
                                                                                     487NETWORK,
                                                                                          of 1969 LLC
P.O. BOX 94063                             P.O. BOX 94063                            P.O. BOX 94063
PALATINE, IL 60055-0063                    PALATINE, IL 60094                        PALATINE, IL 60094-4063




DISH                                       DISH                                      DISHION, GERALD
P.O. BOX 94063                             P.O. BOX 94063                            56675 DILLARD DR
PALATINE, IL 60094                         PALATINE, IL 60094-4063                   COQUILLE, OR 97423




DISHONA STAMP                              DISMORE, LADONNA S.                       DISMUKE, JENNIFER N.
ADDRESS ON FILE                            75 MOCKINGBIRD LANE P.O. BOX 232          ADDRESS ON FILE
                                           ANNA, IL 62906




DISMUKE, JOHN                              DISPARTI LAW GROUP                        DISPLAY, ALLEN
708 N FIFTH                                200 W MADISON ST                          14301 SOMMERVILLE COURT
WEST HELENA, AR 72390                      SUITE 660                                 MIDLOTHIAN, VA 23113
                                           CHICAGO, IL 60606




DISS, PATRICIA                             DISSETTE, NICOLE R.                       DISTRIBUTION SYSTEMS INTERNATIONAL -
1575 KENYON AVE NW                         ADDRESS ON FILE                           DSI
MASSILLON, OH 44647-9665                                                             23201 ANTONIO PARKWAY
                                                                                     RANCHO SANTA MARGARITA, CA 92688-0000




DISTRICT 1199NM                            DISTRICT 1199NM, NATIONAL UNION OF        DISTRICT NO.9 WELFARE TRUST
NUHHCE AFSCME AFLCIO                       HOSPITAL AND HEALTHCARE EMPLOYEES         12365 ST CHARLES ROCK
P.O. BOX 6732                              130 ALVARADO DR NE                        BRIDETON, MO 63044
SANTA FE, NM 87502                         SUITE 100
                                           ALBUQUERQUE, NM 87108



DITTRICH, NANCY                            DITTY, REBECCA H.                         DIV OF HEALTH SERVICE REGULATION
1802 BREMEN AVE.                           ADDRESS ON FILE                           CONSTRUCTION SEC ATTN:PAULA NICHOLS
GRANITE CITY, IL 62040                                                               2705 MAIL SERVICE CENTER
                                                                                     RALEIGH, NC 27699-2705




DIV OF HLTH CARE FIN & PLCY                DIVERGENT MEDICAL TECHNOLOGIES LLC        DIVERGENT MEDICAL TECHNOLOGIES, LLC
1100 E. WILLIAM ST.                        5 FIR COURT SUITE 1A                      5 FIR COURT
SUITE 101                                  OAKLAND, NJ 07436                         STE 1A
CARSON CITY, NV 89701                                                                OAKLAND, NJ 07436




DIVERSATEK HEALTHCARE                      DIVERSEY INC                              DIVERSEY INC
27270 NETWORK PLACE                        25337 NETWORK PLACE                       25337 NETWORK PLACE
CHICAGO, IL 60673-1272                     CHICAGO, IL 60673-0000                    CHICAGO, IL 60673-1253




DIVERSIFIED ANESTHESIA SERVICE             DIVERSIFIED CLINICAL SERVICES INC         DIVERSIFIED CLINICAL SERVICES INC
P.O. BOX 1405                              28525 NETWORK PLACE                       28525 NETWORK PLACE
BEREA, KY 40403                            CHICAGO, IL 60673                         CHICAGO, IL 60673-1285
DIVERSIFIED CONTRACTORSCase
                        INC 20-10766-BLS     DocDIAGNOSTIC
                                     DIVERSIFIED   6 FiledPRODUCTS
                                                           04/07/20INC Page DIVERSIFIED
                                                                             488 of 1969GOLF CARS INC
15915 HIGHLAND DRIVE                 13114 TALL FOREST DR                   5501 COMMERCE DRIVE
P.O. BOX 640                         CYPRESS, TX 77429                      SUITE 104
MCKENZIE, TN 38201                                                          ORLANDO, FL 32839




DIVERSIFIED MACHINERY INC              DIVERSIFIED MEDICAL ALLIANCE           DIVERSIFIED UNLIMITED SERVICES
11497 LAKEWOOD ST                      2018 POPLAR ST.                        15447 HOOVER LANE
CROWN POINT, IN 46307                  KENOVA, WV 25530                       FONTANA, CA 92336




DIVINA VIRGINIA N                      DIVINEY, BRANDON                       DIVISION 10, INC.
2934 W VERMONT AVE                     182 W HILLSIDE DR                      7846 TRINITY ROAD STE 110
WAUKEGAN, IL 60087                     LOCK HAVEN, PA 17745                   CORDOVA, TN 38018




DIVISION 1181 ATU NEW YORK             DIVISION OF CHILD SUPPORT              DIVISION OF DISABILITY DETERMINATION
WELFARE PLAN:RETIREE MEDICARE BENEF    P.O. BOX 14059                         P.O. BOX 349015
1501 BROADWAY SUIT 1724                LEXINGTON, KY 40512-4059               ATTN: REFUNDS
NEW YORK, NY 10036                                                            COLUMBUS, OH 43234-9015




DIVISION OF HEALTH BENEFITS            DIVISION OF LABORATORY SERVICES        DIVISION OF RADIATION CONTROL
MEDICAID MISC. PAYMENTS                100 SOWER BLVD STE 204                 P.O. BOX 144850
P.O. BOX 602855                        ATTN:NBS BILLING DEPT                  SALT LAKE CITY, UT 84114-4850
CHARLOTTE, NC 28260-2885               FRANKFORT, KY 40601




DIVISION OF TENNCARE/ACCOUNTING        DIVISION OF TENNESSEE CARE             DIVISION OF WM & RADIATION CONTROL
310 GREAT CIRCLE RD, 4E                TENNCARE MEDICAID                      P.O. BOX 144880
NASHVILLE, TN 37243                    310 GREAT CIRCLE RD.                   SALT LAKE CITY, UT 84114-4880
                                       NASHVILLE, TN 37243




DIWA, KRISTINE B.                      DIWA, RESSIE P.                        DIXIE DIESEL & ELECTRIC
1904 EDGEWOOD RD                       7386 LENOX COURT                       3150 MAXSON ROAD
WAUKEGAN, IL 60087                     GURNEE, IL 60031                       EL MONTE, CA 91732




DIXIE ENGINEERING CO, INC.             DIXIE FURNITURE                        DIXIE HARSHBARGER
2816 COMMERCE SQUARE EAST              282 RICHMOND DRIVE                     ADDRESS ON FILE
BIRMINGHAM, AL 35210                   WEST HELENA, AR 72390




DIXIE TECHNICAL COLLEGE                DIXIE TROPHY HOUSE                     DIXIT NINAD MD-NON PRS
610 S TECH RIDGE DR                    421-R WEST CHURCH ST                   ADDRESS ON FILE
ST GEORGE, UT 84770                    LEXINGTON, TN 38351




DIXIT, ADVITEEYA N.                    DIXIT, ADVITEEYA N.                    DIXIT, NINAD N. MD
603 SKYLINE DR APT D                   ADDRESS ON FILE                        ADDRESS ON FILE
MARION, IL 62959
DIXON ERIN                 Case 20-10766-BLS    Doc 6GOODMAN
                                         DIXON HUGHES   Filed LLP
                                                              04/07/20   Page DIXON
                                                                              489 of  1969GOODMAN LLP
                                                                                    HUGHES
1061 S 900 W                              4350 CONGRESS ST, STE 900           P.O. BOX 602828
TOOELE, UT 84074                          CHARLOTTE, NC 28209                 CHARLOTTE, NC 28260-2828




DIXON JACOB                               DIXON MARY                          DIXON, ALICIA
35701 N FROLIC                            819 HOT HOUSE RD                    21610 KIMMEL RD
WAUKEGAN, IL 60085                        HAYESVILLE, NC 28904                THOMPSONVILLE, IL 62890




DIXON, CARVEL                             DIXON, CATHERINE A.                 DIXON, CORA M.
1606 4TH STREET                           452 BRENTWOOD DRIVE                 39732 N PARIS DR
MADISON, IL 62060                         REMLAP, AL 35133                    BEACH PARK, IL 60083




DIXON, ELAINE                             DIXON, ELIZABETH                    DIXON, HELEN L.
12941 PAGE STREET                         532 BUCKEYE DRIVE                   1289 LEGGETT MILL RD
BLUE ISLAND, IL 60406                     TROY, IL 62294                      WILLIAMSTON, NC 27892




DIXON, INITA                              DIXON, JO E.                        DIXON, JUDY
7435 TIFFANY DR. UNIT 1C                  ADDRESS ON FILE                     18384 HWY 64
ORLAND PARK, IL 60462                                                         MCCRORY, AR 72101




DIXON, KEYAIRRA D.                        DIXON, LATRICIA M.                  DIXON, LATRICIA M.
3912 SHIRLEY DR                           4075 BRUENE AVE                     ADDRESS ON FILE
BELLEVILLE, IL 62226                      GRANITE CITY, IL 62040




DIXON, LILLIAN J.                         DIXON, MINDY M.                     DIXON, MISTY L.
ADDRESS ON FILE                           245 SAND ROCK AVE                   255 JACKSON ST. UNIT A
                                          SAND ROCK, AL 35983                 GREENFIELD, TN 38230




DIXON, MYRANDA                            DIXON, REBECCA A.                   DIXON, ROXANNE C.
485 W. SANBORN                            513 HILLSIDE                        ADDRESS ON FILE
GALESBURG, IL 61401                       BIG SPRING, TX 79720




DIXON, SARAH L.                           DIXON, THOMAS V.                    DIXON, TRACI
1150 BLUFFVIEW DR                         ADDRESS ON FILE                     617 MONTCLAIRE AVE
DUPO, IL 62239                                                                EDWARDSVILLE, IL 62025




DIXON-HALE, DERAN                         DIXSON LANCE                        DIZICK HEAVENLY K
12442 S LA SALLE ST                       155 ROSEWOOD LANE                   80236 DELIGHT VALLEY RD
CHICAGO, IL 60628                         RAINSVILLE, AL 35986-0574           COTTAGE GROVE, OR 97424
DIZICK HEAVENLY K       Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                      DIZON, JUDITH                  Page DIZZONNE,
                                                                          490 of 1969
                                                                                    KIMBERLY L.
80236 DELIGHT VALLEY SCHOOL RD        2537 DUNLAY CT                       2401 GALILEE AVE
COTTAGE GROVE, OR 97424               WAUKEGAN, IL 60085                   ZION, IL 60099




DJESSE, JAMI B.                     DJO GLOBAL INC                         DJO LLC
1911 GRAND AVE NW                   DJO LLC                                1430 DECISION ST
FORT PAYNE, AL 35967                P.O. BOX 650777                        VISTA, CA 92081-8553
                                    DALLAS, TX 75265-0777




DJO SURGICAL                        DJO SURGICAL                           DJO SURGICAL
9800 METRIC BOULEVARD STE 100       P.O. BOX 660126                        P.O. BOX 660126
AUSTIN, TX 78758                    DALLAS, TX 75266                       DALLAS, TX 75266-0126




DJO SURGICAL                        DJO, LLC                               DLOM
PO BOX 660126                       P.O. BOX 650777                        444 LEWIS HARGETT COURT
DALLAS, TX 75266                    DALLAS, TX 75265-0777                  SUITE 170
                                                                           LEXINGTON, KY 40503




DLUGOKINSKI, MARK                   DLUGOKINSKI, MARK                      DMA: MISC.MEDICAID PAYMENTS
180 MEADOW LARK LANE                180 MEADOWLARK LANE                    P.O.BOX 602885
BLUE RIDGE, GA 30513                BLUE RIDGE, GA 30513                   CHARLOTTE, NC 28260-2885




DMCO INC                            DMG HEALTH PARTNERS                    DMOCHOWSKY, MARK T.
P O BOX 5118                        1100 W 31ST ST                         1086 ARCADIA DRIVE
SILVER CITY, NM 88062               CLAIM OPS/REFUNDS                      EUGENE, OR 97401
                                    DOWNERS GROVE, IL 60515




DMS HEALTH TECHNOLOGIES, INC.       DMV                                    DNA DIAGNOSTICS CENTER
P.O. BOX 670747                     1905 LANA AVE NE                       24 CREE DR
DALLAS, TX 75267-0747               SALEM, OR 97314-1010                   LOCK HAVEN, PA 17745




DNA DIAGNOSTICS                     DO, PAUL SCHEATZLE                     DO, REBECCA WORKMAN
1 DDC WAY                           3300 BAILEY ST NW                      ADDRESS ON FILE
FAIRFIELD, OH 45014                 STE 104
                                    MASSILLON, OH 44646




DOAK, DARYL A.                      DOAK, SAMANTHA                         DOAK, SUE
440 DOWNING PLACE                   236 BELDEN DRIVE                       236 BELDEN DRIVE
AKRON, OH 44306                     EDWARDSVILLE, IL 62025                 EDWARDSVILLE, IL 62025-3179




DOAN, KRYSTAL                       DOBBINS DUSTIN H                       DOBBINS, DENNIS
106 FULTON ST                       303 8TH ST NW                          2103 OLD CREAL SPRIN
GALESBURG, IL 61401                 FORT PAYNE, AL 35967                   MARION, IL 62959
DOBBINS, RICKY             Case 20-10766-BLS
                                         DOBBINS,Doc 6 M.Filed 04/07/20
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                                                                                           ROBERT
141 SHANKLES CIRCLE                       87 PRUITT CIRCLE                        234 CREEKLAND TRL
RAINSVILLE, AL 35986                      BLAIRSVILLE, GA 30512                   MCCAYSVILLE, GA 30555




DOBBINS, SHERRY                           DOBBS PEGGY                             DOBBS, KAMYRA
4227 COUNTY ROAD 159                      255 DAVIS STREET                        9731 S INGLESIDE
FLAT ROCK, AL 35966-8223                  COLLINSVILLE, AL 35961-0263             CHICAGO, IL 60628




DOBINA, NATALIE                           DOBNIKAR, EUNICE T.                     DOBSON CHRISTI L
4401 RANIER AVE NW                        575 S FULTON AVE                        491 MEADOW CREEK WAY
MASSILLON, OH 44646                       WAUKEGAN, IL 60085                      BLUE RIDGE, GA 30513




DOBSON, CLINTON W.                        DOBSON, VIRGINIA                        DOBY, SENTORIA
3534 COUNTY ROAD 76                       ADDRESS ON FILE                         2585 VILLAGE PARK DR 205
FYFFE, AL 35971-4143                                                              WAUKEGAN, IL 60087




DOBYNS, KENDRA                            DOC & NORM DIRECT                       DOCKERY, ABIGAIL L.
8 COUNTRYVIEW CT                          402 N OLD RT 66                         ADDRESS ON FILE
SPARTA, IL 62286                          HAMEL, IL 62046




DOCKERY, CHRISTY                          DOCKERY, CONNIE                         DOCKERY, OSSIE C.
3590 OWL CREEK RD.                        1775 WRIGHT MILL RD.                    3749 W 86TH PLACE
MURPHY, NC 28906                          MORGANTON, GA 30560-2837                CHICAGO, IL 60652




DOCKERY, VALDORA                          DOCKERY, VALDORA                        DOCKERY, WANDA E.
P.O. BOX 134                              P.O. BOX 134                            ADDRESS ON FILE
BLUE RIDGE, GA 30513-0000                 BLUE RIDGE, GA 30513-0003




DOCKSTADER, DANELLE N.                    DOCTOR DIESEL                           DOCTORS COMPANY, THE
214 ROOSEVELT ST                          41110 SANDALWOOD CIRCLE 121             185 GREENWOOD RD
LEBANON, IL 62254                         MURRIETA, CA 92562                      NAPA, CA 94558




DOCTORS COMPANY, THE                      DOCTORS HOSPITAL PHYSICIAN SERVICES,    DOCTORS OXYGEN SERVICE
P.O. BOX 52780                            LLC                                     10180 S 54TH ST
PHOENIX, AZ 85072-2780                    1209 ORANGE STREET                      FRANKLIN, WI 53132-9184
                                          WILMINGTON, DE 19801




DOCUMENT STORAGE SYSTEMS, INC.            DOCUMENTATION AND DATA LLC              DOCUSIGN INC.
12575 US HIGHWAY ONE                      1380 N UNIVERSITY DR                    221 MAIN STREET SUITE 1000
SUITE 200                                 STE 100                                 SAN FRANCISCO, CA 94150
JUNO BEACH, FL 33408                      PLANTATION, FL 33322
DODD BRADLEY               Case 20-10766-BLS    Doc 6E
                                         DODD BRANDY           Filed 04/07/20   Page DODD,
                                                                                     492 ofAMY
                                                                                             1969
                                                                                               FNP
4050 ST RT 146                            14561 BLACKIE LN                           13034 FOWLER SCHOOL RD
ANNA, IL 62906                            MARION, IL 62959                           MARION, IL 62959




DODD, AMY                                 DODD, ASHLEY N.                            DODD, BESSIE MYRTLE A.
13034 FOWLER SCHOOL RD                    700 E CLEVELAND ST APT 2C                  305 SANDERS AVE SE
MARION, IL 62959                          WEST FRANKFORT, IL 62896                   FORT PAYNE, AL 35967-1831




DODD, BETTY                               DODD, CHRISTINA I.                         DODD, EULA
552 BEAN CREEK RD SPC 44                  ADDRESS ON FILE                            903 SCENIC ROAD E
SCOTTS VALLEY, CA 95066                                                              FORT PAYNE, AL 35967




DODD, JUDY                                DODD, KATHLEEN A.                          DODD, KIMBERLY M.
19 LAKECREST DR                           1484 MORNING GLORY ROAD                    493 WATERFORD DR
COLUMBIA, SC 29206                        CARBONDALE, IL 62902                       LINDENHURST, IL 60046




DODD, KRISTEN L.                          DODD, LINDA S.                             DODD, SHELBI R.
ADDRESS ON FILE                           ADDRESS ON FILE                            409 S FULTON ST
                                                                                     AVON, IL 61415




DODD, TYLER                               DODGE MOVING & STORAGE                     DODILLET, PAULA
410 N MAIN ST                             13390 LAKEFRONT DRIVE                      ADDRESS ON FILE
ANNA, IL 62906-0000                       EARTH CITY, MO 63045




DODSON, BERTHA                            DODSON, CHERYL                             DODSON, DONALD
713 TENNESSEE ST                          1409 S SOCORRO ST                          233 EAST MCCASLAND
GARY, IN 46402                            DEMING, NM 88030                           EAST ALTON, IL 62024




DODSON, FREDRICK                          DODSON, KAITLYN                            DODSON, SUSIE
1733 COUNTY RD 125                        2911 OLD BETHEL RD                         6575 A ST
GAYLESVILLE, AL 35973-3463                IUKA, IL 62849                             SPRINGFIELD, OR 97478




DOEBERL, LINDA                            DOEDING, KIRK                              DOEHRING, SHEREE
1957 COUNTY RD 392                        9219 STATE ROUTE 3                         917 N 2600 EAST RD
CROSSVILLE, AL 35962-0000                 RED BUD, IL 62278-2735                     STRASBURG, IL 62465




DOEHRING, SHEREE                          DOELLMAN, ERICA                            DOERFLEIN, BRANDI
ADDRESS ON FILE                           18 PIONEER TRAIL                           11353 COUNTRY CLUB RD
                                          GLEN CARBON, IL 62034                      MARION, IL 62959
DOERR CHRISTINA M        Case 20-10766-BLS    Doc 6M Filed 04/07/20
                                       DOERR SANDRA                      Page DOERR,
                                                                              493 ofCHANDLER
                                                                                     1969 A.
6904 STATE ROUTE 163                   116 S YOUNG ST                        ADDRESS ON FILE
MILLSTADT, IL 62260                    COLUMBIA, IL 62236




DOERR, EARL                            DOERR, WILLIAM                        DOERSCH, RODNEY
2020 BLACK OAK LANE                    40 HICKORY STREET                     9411 41ST AVE
EAST CARONDELET, IL 62240              NASHVILLE, IL 62263                   PLEASANT PRAIRIE, WI 53158




DOGGETT, SYLVIA J.                     DOHENYS WATER WAREHOUSE               DOHENYS WATER WAREHOUSE
ADDRESS ON FILE                        10411 80TH AVENUE                     6950 51ST STREET
                                       PLEASANT PRAIRIE, WI 53158-0000       KENOSHA, WI 53144




DOHERTY, KATHRYN K.                    DOHL, JENNIFER L.                     DOHM, JILL M.
ADDRESS ON FILE                        105 GREEN VALLEY RD                   1096 TIMBER EDGE DR
                                       FREEDOM, CA 95019                     MORRIS, IL 60450




DOHNAL, KATHY                          DOIEL, CASSANDRA R.                   DOIG, SUSAN
4062 SARA                              ADDRESS ON FILE                       36 LAWMAR LN
APT 85                                                                       BURNT HILLS, NY 12027-9541
GRANITE CITY, IL 62040




DOLAK, DELORES                         DOLAN TECH CORP DBA COMPDATA          DOLAN TECHNOLOGIES CORP
1215 JACKSON AVE SW                    SURVEYS & CONS                        COMPDATA SURVEYS
MASSILLON, OH 44646                    1713 E 123RD ST                       1713 E 123RD STREET
                                       OLATHE, KS 66061                      OLATHE, KS 66061




DOLAN TECHNOLOGIES CORPORATION         DOLAR, MARIE CLAIRE Y.                DOLBY, VANESSA J.
COMPDATA SURVEYS & CONSULTING          ADDRESS ON FILE                       ADDRESS ON FILE
P.O. BOX 25627
OVERLAND PARK, KS 66225




DOLEHIDE, KEVIN J.                     DOLENCEY, JOSEPH                      DOLEZAL, CHARLES
10237 SOUTH HOYNE                      P.O. BOX 245                          4034 FALCON CR NW
CHICAGO, IL 60643                      MOUNTAIN VIEW, WY 82939-0245          MASSILLON, OH 44646-5100




DOLEZAL, RICHARD                       DOLINAR, STANLEY                      DOLITSKY, MD, BRUCE
3809 CR 263                            235 DEL RIO DR                        145 SILO RIDGE
FORT BRIDGER, WY 82933-8810            EVANSTON, WY 82930                    ORLAND PARK, IL 60467




DOLLAR GENERAL CORP                    DOLLAR LISA M                         DOLLAR TODAY
P.O. BOX 1728 RISK MANAGEMENT          4527 BENES AVE                        1325 CAMP JACKSON ROAD
ATTN BECKY JOSLIN                      GLEN CARBON, IL 62034                 CAHOKIA, IL 62206
GOODLETTSVILLE, TN 37070
DOLLAR, BARBARA T.       Case 20-10766-BLS     Doc 6
                                       DOLLIE, ROSE          Filed 04/07/20   Page DOLLINS,
                                                                                   494 of CAROL
                                                                                            1969
ADDRESS ON FILE                         4179 COUNTRY RD                            124 IVY CIRCLE
                                        CRAIG, CO 81625                            HELENA, AR 72342




DOLLINS, CAROL                          DOLLINS, RICK E.                           DOLLY BRAND
ADDRESS ON FILE                         ADDRESS ON FILE                            1018 15TH ST SW
                                                                                   MASSILLON, OH 44647




DOLLYWOOD COMPANY, THE                  DOLORES C MILLER                           DOLORES HOLLAND
2700 DOLLYWOOD PARKS BLVD               1235 DOTTERERS RD                          14534 KILBOURNE AVE
PIGEON FORGE, TN 37863                  MILL HALL, PA 17751-9091                   MIDLOTHIAN, IL 60445




DOLORES PFISTER TRUSTEE OF              DOLORES RUIZ-CHAVEZ                        DOMAIN LISTINGS
THE DOLORES PFISTER REV TRUST DTD       510 RAYNOLDS AVENUE                        P.O. BOX 19607
4/10/2008                               LAS VEGAS, NM 87701                        LAS VEGAS, NV 89132-0607
616 BINNACLE DR
NAPLES, FL 34103



DOMAIN, WILLIAM                         DOMANSKI, NICOLE A.                        DOMANTAY, JULIE ANN
402 BENTON RD                           ADDRESS ON FILE                            ADDRESS ON FILE
LAKE VILLA, IL 60046




DOMAS, ROBERT                           DOMASK, CASSANDRA A.                       DOMBOURIAN, LORETTA J.
41001 N ELME RD                         1840 MILL ST. APT D                        ADDRESS ON FILE
ANTIOCH, IL 60002                       EUGENE, OR 97401




DOMBOURIAN, LORETTA J.                  DOMER, JOSEPH                              DOMINGO CATARINA
ADDRESS ON FILE                         11051 SAGEBRUSH AVE NE                     4501 GODFREY AVE NE
                                        UNIONTOWN, OH 44685-8516                   FORT PAYNE, AL 35967-4654




DOMINGO, ANNALIZA M.                    DOMINGUEZ ALEXA                            DOMINGUEZ, ANDREA A.
1502 REGENCY DRIVE                      P.O. BOX 182                               14555 RANCHERO RD
LOS BANOS, CA 93635                     PRESIDIO, TX 79845                         HESPERIA, CA 92345




DOMINGUEZ, ANDRES                       DOMINGUEZ, ANGELICA C.                     DOMINGUEZ, ASHLEY N.
3356 MENARD LN                          5800 EUBANK BLVD NE APT 2631               ADDRESS ON FILE
EL PASO, TX 79936                       ALBUQUERQUE, NM 87111




DOMINGUEZ, CONRADO                      DOMINGUEZ, GWENDOLYN N.                    DOMINGUEZ, JENNIFER
P.O. BOX 183                            2508 CAROL DR.                             ADDRESS ON FILE
MOAPA, NV 89025                         BIG SPRING, TX 79720
DOMINGUEZ, JESSICA A.      Case 20-10766-BLS   DocJESSICA
                                         DOMINGUEZ, 6 Filed 04/07/20     Page DOMINGUEZ,
                                                                              495 of 1969LORENA A.
ADDRESS ON FILE                          1 A ELSA ST                          48 EL CAMPITO RD
                                         WATSONVILLE, CA 95076                LAS VEGAS, NM 87701




DOMINGUEZ, MARIBEL                       DOMINGUEZ, MARTHA J.                 DOMINGUEZ, MAYELI
2401 N HWY 118 SITE E-14                 ADDRESS ON FILE                      117 PHILIPPA AVE
ALPINE, TX 79830                                                              WAUKEGAN, IL 60085




DOMINGUEZ, NEYSA                         DOMINGUEZ, OSCAR R.                  DOMINGUEZ, SHAWNA L.
10251 HUNTINGTON PARK DRIVE              ADDRESS ON FILE                      2695 LUNA RD SE
STRONGSVILLE, OH 44136                                                        DEMING, NM 88030




DOMINGUEZ, STEPHANIE                     DOMINGUEZ, TIFFANY                   DOMINGUEZ-NEVAREZ, PRISCILLA
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




DOMINIC CROWLEY                          DOMINICALI, WILLIAM                  DOMINION EAST OHIO
108 COUNTY ROAD 702                      848 HOLDERS SIDING RD                P.O. BOX 26785
FLAT ROCK, AL 35966                      JEFFERSON, GA 30549                  RICHMOND, VA 23261




DOMINION ENERGY OHIO                     DOMINION ENERGY SOLUTIONS INC        DOMINION ENERGY
P.O. BOX 26785                           P.O. BOX 6090                        600 CANAL PLACE
RICHMOND, VA 23261-6785                  ATTN: BILLING DEPT                   RICHMOND, VA 23219
                                         GLEN ALLEN, VA 23058-6090




DOMINION ENERGY                          DOMINION ENERGY                      DOMINION ENERGY
FORMERLY QUESTAR GAS                     P.O. BOX 26543                       P.O. BOX 45841
RICHMOND, VA 23261                       RICHMOND, VA 23290                   SALT ALKE CITY, UT 84139-0001




DOMINION NORTH CAROLINA POWER            DOMINION VA&NC POWER                 DOMINOS PIZZA
P.O. BOX 26543                           P.O. BOX 26543                       205 W DEYOUNG ST
RICHMOND, VA 23290                       RICHMOND, VA 23290                   MARION, IL 62959




DOMJAN, HELGA                            DOMRESE, KATHLEEN                    DON MCKNIGHT
625 NEALE AVE SW                         17552 W QUAIL TRAIL                  2012 GABLES WAY NE
MASSILLON, OH 44647                      TINLEY PARK, IL 60487                ATLANTA, GA 30329-3231




DON NELSON COMPANY, THE                  DONA ANA MEDICAL SUPPLY              DONAGHEY, AMY S.
4200 WESTWOOD DR                         2001 E LOHMAN AVE                    2075 AMIRANTE STREET
MT. VERNON, IL 62864                     SUITE 107                            EUGENE, OR 97402
                                         LAS CRUCES, NM 88011
DONAHO, MAUREEN             Case 20-10766-BLS   Doc
                                          DONAHUE,    6 Filed
                                                   MICHAEL C. 04/07/20   Page DONALD
                                                                              496 ofBLACKBURN
                                                                                     1969
130 HILLTOP PLACE                         ADDRESS ON FILE                     P.O. BOX 598
COLLINSVILLE, IL 62234                                                        INEZ, KY 41224




DONALD ELKINS                             DONALD FISK                         DONALD HILLMAN SR
728 RIVER NORTH DR                        324 OHARA DR                        108 S MORRIS ST
NORTH AUGUSTA, SC 29841-5474              PHARR, TX 78577                     KNOXVILLE, IL 61448




DONALD KENNEDY                            DONALD L HOLBROOK                   DONALD ROBERT LLOYD JR
P.O. BOX 171 3RD & GUM ST                 304 HARDING AVE NW                  88 STORNAWAY DR
DAHGREN, IL 62828                         MASSILLON, OH 44646-0000            JACKSON, TN 38305




DONALD TROXTEL                            DONALD WHITTAKER                    DONALD, CAMERON
1365 BUKLEY DRIVE E.                      1917 CRIMSON OAK DR                 16456 ROWLEY LANE
FORT PAYNE, AL 35967                      MARYVILLE, IL 62062                 LOCKPORT, IL 60441




DONALD, JANICE                            DONALD, JASMINE                     DONALDSON NANCY
1005 PIN OAK DR                           306 MIAMI ST                        P.O. BOX 1106
WEST MEMPHIS, TN 72301                    PARK FOREST, IL 60466               FORT DAVIS, TX 79734




DONALDSON PAT M                           DONALDSON, ELIZABETH                DONALDSON, MARVIN
1993 PLEASANT GROVE                       1405 VEGAS VERDES D-118             966 KOENIG DR
BLAIRSVILLE, GA 30512                     SANTA FE, NM 87507                  GODFREY, IL 62035-0000




DONATELLI, WILLIAM                        DONATINI, ELIZABETH                 DONATO DENA
391 CHILDE HAROLDS CIRCLE                 P.O. BOX 1472                       2622 DEERCREEK COURT
BRENTWOOD, TN 37027                       APTOS, CA 95001                     COLUMBIA, IL 62236




DONATO, KATHLEEN R.                       DONAWA, MICHAEL A.                  DONCHESS, DAVID
302 KEYSTONE AVE                          ADDRESS ON FILE                     5695 MONTE VISTA SE
SANTA CRUZ, CA 95062                                                          DEMING, NM 88030




DONEGAN, STACEY                           DONELSON CORP                       DONELSON, CHASSIDY
ADDRESS ON FILE                           1723 SW ADAMS ST                    45 LA HAVRE CIR
                                          PEORIA, IL 61602                    FLORISSANT, MO 63031




DONELSON, CHASSIDY                        DONELSON, MERCEDES                  DONES, LICIA
ADDRESS ON FILE                           44 FAIRWAY EST                      1520 BOUNTIFUL LN
                                          GRANITE CITY, IL 62040              BELLEVILLE, IL 62220
DONEY, THOMAS            Case 20-10766-BLS      Doc 6 Filed 04/07/20
                                       DONIFF, JOHN                      Page DONIGAN,
                                                                              497 of 1969
                                                                                       ELIZABETH A.
11649 ORRVILLE ST NW                   610 ILLINOIS                           2916 CORTE DE DIANA
MASSILLON, OH 44647-9575               COLLINSVILLE, IL 62234                 DEMING, NM 88030




DONIGAN, ELIZABETH A.                      DONJON RVOC LIVING TRUST           DONJON, DAVID
ADDRESS ON FILE                            JESSE DONJON TRUSTEE               301 WEST MILL ST
                                           4130 BLACKJACK RD                  RUMA, IL 62278-0000
                                           RED BUD, IL 62278




DONJON, KELLY                              DONJON, ROBERT                     DONLD H TSAI MD INC
3131 STATE ROUTE 155                       3189 STATE ROUTE 155               801 E MT VIEW ST
PRAIRIE DU ROCHER, IL 62277                PRAIRIE DU ROCHER, IL 62277        BARSTOW, CA 92311




DONLEY, AMBER                              DONLEY, CASANDRA                   DONNA BAILEY
ADDRESS ON FILE                            ADDRESS ON FILE                    ADDRESS ON FILE




DONNA COLVIN                               DONNA FERRELL                      DONNA FIELDS
P.O. BOX 102                               224 E LOCUST STREET                1225 JEFFERSON ST
GEORGIANA, AL 36033                        DRESDEN, TN 38225                  GALESBURG, IL 61401




DONNA HEADRICK                             DONNA HINTON                       DONNA J SNOW
ADDRESS ON FILE                            11 160TH AVENUE                    3344 PEYTON DR
                                           KIRKWOOD, IL 61447                 MONROE, GA 30656




DONNA J TESI, MD                           DONNA KNIGHT                       DONNA LITCHFIELD
C/O DONALD L HYATT II; DONALD L HYATT II   1223 COUNTY ROAD 248               1301 FRANK ST APT 6
APLC                                       FORT PAYNE, AL 35967               GALESBURG, IL 61401
633 VILLAGE LN N, STE 105
MANDEVILLE, LA 70471



DONNA M STOUT                              DONNA M VARNER                     DONNA M VARNER
50 GRATZMAR AVE                            1250 W CARL SANDBURG DR            ADDRESS ON FILE
RENOVO, PA 17764                           ROSEWOOD CARE CENTER
                                           GALESBURG, IL 61401




DONNA MILLER                               DONNA MURRAY                       DONNA R CLEVELAND
ADDRESS ON FILE                            220 TIMBER RIDGE LANE              12629 S PAGE ST
                                           JONESBORO, IL 62952                CALUMET PARK, IL 60827




DONNA REDMON                               DONNA SHEPPARD                     DONNA SLONE
6696 DAHLGREN EAST RD                      880 PINE VIEW DR                   817 BEAVER ST
DAHLGREN, IL 62828-0000                    THOMSON, GA 30824                  ORRVILLE, OH 44667-2120
DONNA SNIVELY           Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                      DONNA SULCER                   Page DONNA
                                                                          498 ofVARELA-MARTINEZ
                                                                                  1969
1374 PEBBLE CHASE CR NE               2794 MAYO BRIDGE RD                 P.O. BOX 3352
MASSILLON, OH 44646                   PARIS, TN 38242                     LAS VEGAS, NM 87701




DONNA WATSON                        DONNA YOUNG                           DONNA, BRIAN
108 W PEARL ST                      103 HARRISON ST                       215 W WEBSTER ST
LEXA, AR 72355                      AVON, IL 61415                        BENTON, IL 62812




DONNALS, EMILY G.                   DONNELLAN, SHEILA                     DONNELLEY FINANCIAL LLC
ADDRESS ON FILE                     1204 PLUM AVE                         35 W WACKER DR
                                    MT. VERNON, IL 62864-2576             CHICAGO, IL 60601




DONNELLEY FINANCIAL LLC             DONNELLY ERIC                         DONNELLY, VICKIE
DONNELLEY FINANCIAL SOLUTIONS       P.O. BOX 201                          222 VICTORIA DRIVE
P.O. BOX 842282                     FOX RIVER GROVE, IL 60021             MILLSTADT, IL 62260
BOSTON, MA 02284-2282




DONNELLY, VICKIE                    DONNIE SPENCER, MD                    DONNIES SEPTIC TANK SERVICE
ADDRESS ON FILE                     ADDRESS ON FILE                       2222 MCCURDY AVE N
                                                                          RAINSVILLE, AL 35986




DONOHO, TAMMY L.                    DONOHO, TRACY D.                      DONOHUE, DAVID
5 ANGUS LANE                        ADDRESS ON FILE                       11401 S TALMAN AVE
ANNA, IL 62906                                                            CHICAGO, IL 60655




DONOVAN, LORI M.                    DONS BODY SHOP INC                    DONSON, GARY A.
ADDRESS ON FILE                     861 WEST CHURCH ST                    3901 SONOMA SPRINGS AVE APT 709
                                    LEXINGTON, TN 38351                   LAS CRUCES, NM 88011




DONUTS, MARY ANN                    DONZE COMMUNICATIONS INC              DOODY, KRIS A.
5032 YUKON ST NW                    122D PERRY PLAZA                      P.O. BOX 1045
CANTON, OH 44708                    PERRYVILLE, MO 63775                  CARIBOU, ME 04736




DOOGAN, MEL                         DOOLEY, KAITLYN L.                    DOOLEY, LACAUSTA
P.O. BOX 844                        1904 COLUMBIA QUARRY RD               4702 KY 847
TINLEY PARK, IL 60477               COLUMBIA, IL 62236                    BOONEVILLE, KY 41314




DOOLEY, PAMELA A.                   DOOLIN, DEMETRIA L.                   DOOLITTLE, DAN , M.D.
1164 HYDE PARK                      ADDRESS ON FILE                       296 SHEILA RAY LANE
CROWN POINT, IN 46307                                                     CARBONDALE, IL 62902
DOOLITTLE, JARRED           Case 20-10766-BLS    Doc
                                          DOOLITTLE,   6 Filed 04/07/20
                                                     OTHNIEL              Page DOOR
                                                                               499 of 1969 SERVICES, INC
                                                                                    CONTROL
329 DEWITT CT                              2250 N ILLINOIS AVE                 DEPT. 251
OFALLON, IL 62269                          CARBONDALE, IL 62901                P.O. BOX 220
                                                                               BETTENDORF, IA 52722




DOOR CONTROL SERVICES, INC                 DOOR DOCTOR OF SO ILLINOIS          DOOR EQUIPMENT CO.
P.O. BOX 675067                            1208 W. WEBSTER STREET              2518 DATA DRIVE
DALLAS, TX 75267                           BENTON, IL 62812                    LOUISVILLE, KY 40299




DOOR SERVICE INC                           DOOR SYSTEMS INC                    DOOR SYSTEMS, INC
11134A LINDBERGH BUS CT                    KONEMATIC                           P.O. BOX 915
ST. LOUIS, MO 63123                        P.O. BOX 775828                     BEDFORD PARK, IL 60499
                                           CHICAGO, IL 60677-5828




DOORS, INC                                 DOPAK, CATHERINE                    DORA TUCKER
110 W. 55TH STREET                         525 EAST LIBERTY STREET             ADDRESS ON FILE
DAVENPORT, IA 52806                        WAUCONDA, IL 60084




DORAN LANDSCAPE, LLC                       DORAN, IMMEL                        DORAN, TAMMY W.
2219 W 135TH PLACE                         P.O. BOX 129                        ADDRESS ON FILE
BLUE ISLAND, IL 60406                      WALNUT HILLS
                                           WALNUT CREEK, OH 44687




DORANS LANDSCAPING LLC                     DORANTES, DARIO                     DOREEN NOLL
2219 W 135TH PLACE                         35538 N SUNNYSIDE AVE               ADDRESS ON FILE
BLUE ISLAND, IL 60406                      INGLESIDE, IL 60041




DORIS A SLOAN                              DORIS HAZEL                         DORKO, JOSEPH M. - ITV
127 W 3RD ST                               188 PAGE ST NW                      9610 BOUCHAINE PASS
SAINT AUGUSTINE, IL 61474                  MASSILLON, OH 44647                 BRENTWOOD, TN 37027




DORMA USA, INC.                            DORMA, USA                          DORMAKABA USA INC
P.O. BOX 896542                            P.O. BOX 896542                     P.O. BOX 896542
CHARLOTTE, NC 28289-6542                   CHARLOTTE, NC 28289-6542            CHARLOTTE, NC 28289-6542




DORMAN CONSTRUCTION INC                    DORMAN, MARY                        DORMAN, RESLEN L.
303 S 5TH STREET, SUITE 135                P.O. BOX 432                        ADDRESS ON FILE
SPRINGFIELD, OR 97477                      IDER, AL 35981-0000




DORMAN, WAYNE                              DORNBUSCH, TERRI D.                 DORNG, THOMAS W.
ADDRESS ON FILE                            6118 GOLFVIEW DR                    2606 W 104TH STREET
                                           GURNEE, IL 60031                    CHICAGO, IL 60655
                       Case
DORNIER MEDTECH AMERICA, INC. 20-10766-BLS
                                       DORNOCH Doc  6 Filed
                                                MEDICAL       04/07/20
                                                         SYSTEMS, INC.      Page DORNOCH
                                                                                 500 of 1969
                                                                                         MEDICAL SYSTEMS, INC.
26828 NETWORK PLACE                    2660 NW PARKWAY                           P.O. BOX 646
CHICAGO, IL 60673-1268                 RIVERSIDE, MO 64150                       MISSION, KS 66021




DORNOCH MEDICAL SYSTEMS, INC.          DORNOCH MEDICAL SYSTEMS, INC.             DOROODCHI, HAMIDREZA
P.O. BOX 646                           P.O. BOX 646                              ADDRESS ON FILE
SHAWNEE MISSION, KS 66021              SHAWNEE MISSION, KS 66201




DOROTHE L RUSSELL                      DOROTHY BRANDENBURG                       DOROTHY M STONEKING
4074 MELROSE DR                        210 S MARKET ST                           711 WEBB AVE SW
MARTINEZ, GA 30907                     C/O CRAIG BRANDENBURG POA                 MASSILLON, OH 44647
                                       KNOXVILLE, IL 61448




DORRIS, JASON                          DORRIS, JOHN                              DORRIS, KAREN S.
15838 NUMBER 9 BLACKTOP                C/O FIRST AMERICAN TITLE INSURANCE        5115 WILLIAMS PLACE
WEST FRANKFORT, IL 62896               COMPANY                                   GODFREY, IL 62035




DORSEY ROGER L                         DORSEY, KELLEY C.                         DORSEY, MELISSA
106 KISLING AVE                        13177 W SHANNON DR                        3456 ROESNER DR
BROWNSVILLE, OR 97327-0000             BEACH PARK, IL 60083                      MARKHAM, IL 60428




DORSEY, NELLIE E.                      DORSEY, SUSAN J.                          DORTCH, DESTINEE
1518 LYONS CT                          ADDRESS ON FILE                           205 WEST JACKSON
WAUKEGAN, IL 60085                                                               ABINGDON, IL 61410




DORTON, TRACIE M.                      DORTON, TRACIE M.                         DORWIN, JOY
31 WALKER HILL DR                      ADDRESS ON FILE                           373 COUNTY RD 822
STAFFORDSVILLE, KY 41256                                                         COLLINSVILLE, AL 35961-3644




DOS ANJOS, PATSY                       DOS COSTAS COMMUNICATIONS                 DOSCHER RORER, ASHLEY
7520 POTRANCO RD 409                   29000 RADIO ROAD                          ADDRESS ON FILE
SAN ANTONIO, TX 78251                  BARSTOW, CA 92311




DOSS, BRANDY A.                        DOSS, DANIELLE N.                         DOSS, DANIELLE
2101 BRIARWOOD AVE SW APT 104          ADDRESS ON FILE                           P.O. BOX 733
FORT PAYNE, AL 35967                                                             FORT GAY, WV 25514




DOSS, DWANA S.                         DOSS, ETHEL                               DOSS, MICHAEL
ADDRESS ON FILE                        7204 S SOUTH DR,APT.2A                    4062 SARA ST APT 102
                                       CHICAGO, IL 60649                         GRANITE CITY, IL 62040
DOSTER, SARAH A.           Case 20-10766-BLS    Doc
                                         DOT WELD INC.6      Filed 04/07/20   Page DOTHAN
                                                                                   501 ofSECURITY
                                                                                          1969 INC
500 CEDAR RIDGE RD                        P.O. BOX 703                            P.O. BOX 7163
MONROE, GA 30656                          JACKSON, KY 41339                       DSI SECURITY SVCS
                                                                                  DOTHAN, AL 36302




DOTSON DESTINY M                          DOTSON SHEPHERD, CYNTHIA L.             DOTSON, ANGELA D.
770 TIPTON ROAD                           ADDRESS ON FILE                         5 CR 820
BLUE RIDGE, GA 30513                                                              SCOTTSBORO, AL 35768




DOTSON, ELIZABETH D.                      DOTSON, JILL M.                         DOTSON, KEVIN D.
10250 CARDALE ST SW P.O.BOX 194           13332 VICTORIA LANE                     ADDRESS ON FILE
BEACH CITY, OH 44608                      BEACH PARK, IL 60083




DOTSON, KRISTINA D.                       DOTSON, LISA K.                         DOTSON, MARY KATHLEEN
ADDRESS ON FILE                           ADDRESS ON FILE                         2032 YOSEMITE CT.
                                                                                  BARSTOW, CA 92311




DOTSON, SHAWN                             DOTSON, TERESA                          DOTSON, TRACY G.
1318 OAK AVE SE                           52 ROCK CREEK CIRCLE                    ADDRESS ON FILE
MASSILLON, OH 44646-6905                  BLUE RIDGE, GA 30513




DOTTIE SNODGRASS                          DOTTIN, JENNEL                          DOTY, TRANEER E.
2326 KEEBLER                              ADDRESS ON FILE                         2509 OAKRIDGE CT
COLLINSVILLE, IL 62234-0000                                                       MONROE, GA 30656




DOTY, ZACHARY                             DOUBET, KEITH M.                        DOUBET, SANDRA K.
7 OHIO AVE NE                             ADDRESS ON FILE                         501 LAWRENCE AVE
MASSILLON, OH 44646                                                               GALESBURG, IL 61401




DOUBLE OVERTIME GRILL                     DOUBLE R WELDING SUPPLY INC             DOUBRAVA, JESSE
222 POTOMAC BLVD.                         P.O. BOX 176                            4393 N SWAN
MT. VERNON, IL 62864                      FORT STOCKTON, TX 79735-0176            SILVER CITY, NM 88061




DOUCETTE, DOROTHY                         DOUDT, RUTH                             DOUFFET, BARBARA
3167 PADGETT RD                           709 CINCO CT                            ADDRESS ON FILE
EAST PALESTINE, OH 44413                  MESQUITE, NV 89027




DOUG BROWN AND ASSOCIATES                 DOUG HANBY                              DOUG PHILLIP
BOX Q                                     26539 HALL RD                           610 S. HADFIELD
HUNTINGTON BEACH, CA 92648                JUNCTION CITY, OR 97448-9562            MARION, IL 62959
DOUGEN, IAN E.           Case 20-10766-BLS   DocELIZABETH
                                       DOUGHERTY 6 Filed 04/07/20   Page DOUGHERTY,
                                                                         502 of 1969AGNES
1305 AZALEA                            95 MEADOWBROOK CC EST             3822 MAEYSTOWN RD
DEKALB, IL 60115                       BALLWIN, MO 63011                 FULTS, IL 62244




DOUGHERTY, JOHANNA M.                  DOUGLAS BROWN DO                  DOUGLAS EVERS
ADDRESS ON FILE                        365 S CROWN HILL RD               1600 RHODODENDRON DRIVE APCE 63
                                       ORRVILLE, OH 44667                FLORENCE, OR 97439




DOUGLAS EVERS                          DOUGLAS JR., PHILLIP B.           DOUGLAS SAMPSON
1600 RHODODENDRON DRIVE SPACE 63       ADDRESS ON FILE                   318 KNOX HWY 23
FLORENCE, OR 97439                                                       ABINGDON, IL 61410




DOUGLAS SCHAFER                        DOUGLAS STUBBS                    DOUGLAS TICE, MD
382 E 900 NORTH RD                     426 COPPER SPRINGS DR             ADDRESS ON FILE
PANA, IL 62557                         MESQUITE, NV 89027




DOUGLAS, CLEASTA                       DOUGLAS, CONNIE                   DOUGLAS, DAVID M.
2116 OHIO AVE                          P.O. BOX 574                      ADDRESS ON FILE
GRANITE CITY, IL 62040                 BEATTYVILLE, KY 41311




DOUGLAS, ELDA M.                       DOUGLAS, MARGARY M.               DOUGLAS, MELANIE
265 SPRECKELS DR APTOS, CA 95003       15524 LINDEN                      4053 STRAY LEAF
APTOS, CA 95003                        OAKFOREST, IL 60452               WILDERSVILLE, TN 38388




DOUGLAS, MELISSA L.                    DOUGLAS, SHANI M.                 DOUGLAS, STEPHANIE A.
1037 JEFFERSON STREET                  2415 BROOKWOOD DR.                15 SUSAN COURT
GALESBURG, IL 61401                    FLOSSMOOR, IL 60422               FAIRVIEW HEIGHTS, IL 62208




DOUGLAS, THERESA R.                    DOUGLAS, VIRGINIA (JENNY)         DOUGLAS, VIRGINIA
604 W JEFFERSON ST                     ADDRESS ON FILE                   ADDRESS ON FILE
OFALLON, IL 62269




DOUGLAS, WILLA                         DOUGS LOCK & KEY SERVICE          DOULD, AMANDA
4017 HIGHWAY 412E                      211A NORTH MARKET STREET          ADDRESS ON FILE
PARSONS, TN 38363                      MARION, IL 62959




DOUSAY, VALERIE                        DOUTHIT, DIAN I.                  DOUTHIT-HERBST, ERICA L.
137 COLLIER AVENUE                     ADDRESS ON FILE                   ADDRESS ON FILE
JACKSON, KY 41339
DOUZUK JR., MICHAEL P.   Case 20-10766-BLS    Doc 6
                                       DOVER, ANGIE L.       Filed 04/07/20   Page DOVER,
                                                                                   503 ofMARLON
                                                                                          1969 R.
1606 KENDALE COURT                       ADDRESS ON FILE                           2527 COUNTY RD 62
BRENTWOOD, TN 37027                                                                COLLINSVILLE, AL 35961




DOVER, WILMA DEAN                        DOW, SUZETTE C.                           DOWD, MEGAN M.
1299 COUNTY ROAD 855                     1231 N. 490 E.                            ADDRESS ON FILE
COLLINSVILLE, AL 35961-0000              TOOELE, UT 84074




DOWD, SEDONA J.                          DOWDEY, ANGELA                            DOWDLE, JULIET
ADDRESS ON FILE                          1796 COUNTY ROAD 328                      467 W MORNING VIEW WAY
                                         DAWSON, AL 35963-0000                     TOOELE, UT 84074




DOWDY AND ASSOCIATES                     DOWDY, BUFFEY                             DOWDY, HAILEY
149 WEST VALLEY AVE                      6 TRAILS END                              630 SADDLE BRIDGE DR
BIRMINGHAM, AL 35209                     CHESTER, IL 62233                         BETHLEHEM, GA 30620




DOWDY, JOHN                              DOWDY, WANDA M.                           DOWELL GILBERT, MARION
39 WATERFORD LANE                        2440 WILAKENZIE RD                        1270 34TH ST
GLEN CARBON, IL 62034                    EUGENE, OR 97401                          SPRINGFIELD, OR 97478




DOWELL, DEBORAH                          DOWERS ROOFING                            DOWERS ROOFING
ADDRESS ON FILE                          P.O. BOX 470                              PO BOX 470
                                         GALESBURG, IL 61401                       GALESBURG, IL 61401




DOWLER, KELLEE                           DOWN & DIRTY CLEANING COMPANY             DOWN EAST ANESTHESIA INC
2521 34TH ST NE                          31 SUNNYSIDE DRIVE                        3158 BARBER ROAD
CANTON, OH 44705                         LEXINGTON, TN 38351                       JAMESVILLE, NC 27846




DOWN EAST ENTERPRISES HOBART             DOWNEN, MELISSA A.                        DOWNER REBECCA S
SERVICES                                 610 S. VIRGINIA                           ADDRESS ON FILE
1311 EAST NEWBERN RD                     BELLEVILLE, IL 62220
KINSTON, NC 28501




DOWNER, KATELYN M.                       DOWNER, REBECCA S.                        DOWNER, REBECCA
93 COUNTY ROAD 261                       ADDRESS ON FILE                           4825 CO. RD. 140
FORT PAYNE, AL 35967                                                               IDER, AL 35981




DOWNER,MICHAEL                           DOWNEY, CHANEL                            DOWNING, AMY
497 COUNTY RD 806                        16558 S. ASHLAND AVE                      ADDRESS ON FILE
FLAT ROCK, AL 35966                      MARKHAM, IL 60428
DOWNING, CYNTHIA         Case 20-10766-BLS   Doc
                                       DOWNING,    6 Filed 04/07/20
                                                ERAINA                     Page DOWNING,
                                                                                504 of 1969
                                                                                         NINA J.
ADDRESS ON FILE                        905 LONGWOOD DR UNIT B                   808 WADE ST
                                       JOLIET, IL 60432                         MCCRORY, AR 72101




DOWNING, PAMELA M.                     DOWNING, PAYTON E.                       DOWNING, SHIRLEY
16430 STAGE COACH RD                   ADDRESS ON FILE                          106 RIDGEWAY DRIVE
JERSEYVILLE, IL 62052                                                           PLYMOUTH, NC 27962




DOWNING-MOORE, EMILY                   DOWNS, MELISSA A.                        DOWNS, SANDRA R.
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE




DOXSIE, CRYSTAL                        DOYLE JANA A                             DOYLE SCOTT CONSTRUCTION
602 NORTH STUYVESANT STREET            100 RIVERWOOD LANE                       262 OLD HWY 35
BENTON, IL 62812                       P.O. BOX 581                             RAINSVILLE, AL 35986
                                       SUTHERLIN, OR 97479




DOYLE SCOTT                            DOYLE, ANGELIQUES FOR AIDEN DOYLE        DOYLE, KALI N.
1021 OLD LATHAM RD                     294 BEASLEY DR                           204 CLEVELAND STREET
DRESDEN, TN 38225-5911                 LEXINGTON, TN 38351                      FORREST CITY, AR 72335




DOYLE, KIMBERLY                        DOYLE, LEIGH T.                          DOYLE, MARY E.
204 CLEVELAND STREET                   ADDRESS ON FILE                          443 CLOUDVIEW DR
FORREST CITY, AR 72335                                                          WATSONVILLE, CA 95076




DOYLE, NICHOLAS P.                     DOYLE, THEODORE L.                       DOZER, BRIAN
139 LYNN STREET                        261 TREEWITT LN                          2085 CHEROKEE DR
LEBANON, IL 62254                      TURTLETOWN, TN 37391                     LONDON, OH 43140




DOZIER LAURA                           DOZIER, MELISSA                          DOZIER, SABRENA
529 TRAILS END                         5001 KENSINGTON WAY                      2406 GOLDEN CAMP RD
GLEN CARBON, IL 62034                  LAS CRUCES, NM 88012                     AUGUSTA, GA 30906




DQE, INC                               DR JO MARQUEZ                            DR RAHUL BANSAL
8730 COMMERCE PLACE                    HRMC                                     ADDRESS ON FILE
SUITE A                                72342
INDIANAPOLIS, IN 46268




DR RICKEY DEERMAN MD                   DR WILLIAM DEAN HUFFSTUTLER              DR. ANTHONY VACCA
ADDRESS ON FILE                        CROSSROADS PHYSICIAN CORP                13249 DARTAGNAN CT.
                                       MOUNT VERNON, IL 62864                   CREVE COEUR, MO 63141-6091
DR. CEZARY KUPRIANOWICZCase 20-10766-BLS
                                     DR. GARYDoc  6 Filed 04/07/20
                                              MELLICK                  Page DR.
                                                                            505   of 1969
                                                                                HICHAM CHURBAJI
P.O. BOX 2650                        315 MEDICAL CENTER DRIVE               2151 WEST SPRING ST
BIG SPRING, TX 79721-2650            FORT PAYNE, AL 35967                   MONROE, GA 30655




DR. MEGAN NEELY                     DR. NIKKI OLIPHANT                      DR. SCOTT BARCLAY
4202 FOX CREEK                      5909 STERLING DR.                       113 BRIAN RD
MT. VERNON, IL 62864                COLLEYVILLE, TX 76034                   BIG SPRING, TX 79720




DR. SIKARIN UPALA                   DR.JOANN DUDLEY, ASBERY & ASSOC.        DRABEK, ANN M.
ADDRESS ON FILE                     8 CUSUMANO PROFESSIONAL PLAZA           5317 PLEASANT LANE
                                    MT. VERNON, IL 62864                    CRESTWOOD, IL 60418




DRABEK, RYAN J.                     DRABING, DANIEL M.                      DRACH, TRACY
5317 PLEASANT LN                    ADDRESS ON FILE                         ADDRESS ON FILE
CRESTWOOD, IL 60418




DRAEGE, SHERYL HAITHCOAT            DRAEGER MEDICAL INC                     DRAEGER MEDICAL INC
671 S. LOCUST STREET                3135 QUARRY RD                          3135 QUARRY RD
RICHVIEW, IL 62877                  TELEFORD, PA 18969                      TELFORD, PA 18969




DRAEGER MEDICAL INC                 DRAEGER MEDICAL INC                     DRAGER MEDICAL, INC
P.O. BOX 133692                     PO BOX 133692                           P.O. BOX 13369
NEWARK, NJ 07101                    NEWARK, NJ 07101                        NEWARK, NJ 07101-3362




DRAGER MEDICAL, INC                 DRAGIN,STEVE                            DRAGT, SAMANTHA J.
P.O. BOX 13389                      40659 N TRINITY LN                      ADDRESS ON FILE
NEWARK, NJ 07101-3382               ANTIOCH, IL 60002




DRAIN, WANDA                        DRAKE CASEY                             DRAKE PERRY
860 COUNTY RD 43                    P.O. BOX 386                            1174 LARKSPUR DR
FYFFE, AL 35971-4105                SYLVANIA, AL 35988                      MASCOUTAH, IL 62258




DRAKE, DIANA L.                     DRAKE, DR. BRADLEY R.                   DRAKE, KILEY A.
2617 CHESTNUT GAP RD                ADDRESS ON FILE                         5115 SEAVIEW CIRCLE NW
BLUE RIDGE, GA 30513                                                        CANTON, OH 44708




DRAKE, LORI E.                      DRAKE, MARY E.                          DRAKE, MARY F.
ADDRESS ON FILE                     3193 ROWMONT AVE SW                     265 PONDEROSA DR
                                    MASSILLON, OH 44646                     ATHENS, GA 30605
DRAKE, MASHEILA           Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                        DRAKE, SAMANTHA                Page DRAKE,
                                                                            506 ofTAMMIE
                                                                                   1969
244 S RIDGELAND AVE                     1525 INGLEWOOD AVE                  732 NC 45 NORTH
OAK PARK, IL 60302                      EUGENE, OR 97401                    MERRY HILL, NC 27957




DRALLE, STEVEN                          DRANSFIELD, WILLIAM                 DRAPER, KARIENA C.
424 ALICE LANE                          P.O. BOX 175                        ADDRESS ON FILE
COTTAGE HILLS, IL 62018                 LOGANDALE, NV 89021




DRAPER, KELLY A.                        DRAPER, LETHA                       DRAPER, MARVA JEAN
ADDRESS ON FILE                         3005 HIGHWAY 11 NW                  222 HOMETOWN CT
                                        MONROE, GA 30656-3631               TOOELE, UT 84074




DRAPER, PAUL D.                         DRAPER, ROBERT                      DRASYE, ELIZABETH D.
199 SAN MARINO WAY                      12274 TURNER DRIVE                  2326 ERMA COURT
MESQUITE, NV 89027                      MT VERNON, IL 62864                 SPRINGFIELD, OR 97477




DRASYE, RICHARD D.                      DRB                                 DRE MEDICAL GROUP INC.
ADDRESS ON FILE                         P.O. BOX 191                        2601 STANLEY GAULT PARKWAY STE101
                                        BRIDGEPORT, CT 06601                LOUISVILLE, KY 40223




DREHER, CHARLOTTE M.                    DREHER, ZACHARY R.                  DREMEL, DAVID A.
3763 ASHWOOD ST NW                      1900 MLK BLVD APT 211               ADDRESS ON FILE
CANTON, OH 44708                        BIG SPRING, TX 79720




DRENNAN, KATHY K.                       DRENNON, MICHELE                    DRENNON, PETRA
ADDRESS ON FILE                         596 PHILLIPS RD 252                 561 CR 367
                                        LEXA, AR 72355                      WYNNE, AR 72396




DRENNON, TAMMY                          DRENNON, TAMMY                      DRESCH, JONATHAN P.
ADDRESS ON FILE                         ADDRESS ON FILE                     2259 LYNCH AVE
                                                                            GRANITE CITY, IL 62040




DRESCH, SARAH R.                        DRESSANDER, DAVID                   DRESSEL, GREGORY T.
2259 LYNCH AVE                          160 LOCUST LN                       ADDRESS ON FILE
GRANITE CITY, IL 62040                  LEXINGTON, TN 38351




DRESSEL, THOMAS P.                      DRESSLER, HALEY J.                  DREW COURTNEY R
ADDRESS ON FILE                         1045 LINCOLN ST                     508 N DENT ST
                                        SAINT LIBORY, IL 62282              CARTERVILLE, IL 62918
DREW ECKL & FARNHAM LLPCase 20-10766-BLS     Doc 6
                                     DREW, AMY          Filed 04/07/20   Page DREW,
                                                                              507 of  1969
                                                                                    KEVIN C.
303 PEACHTREE ST NE, STE 3500        1902 BEALL ST                            ADDRESS ON FILE
ATLANTA, GA 30308                    ALTON, IL 62002




DREW, KEVIN                           DREW, PATRICIA                          DREW, PATRICK
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




DREW, SHARON BURGER                   DREYFUS, ADRIENNE                       DRIESSNACK, HANS C.
203 E. 2ND STREET                     3 PRAIRIEVIEW LANE                      3214 TANGLEWOOD DR
INA, IL 62846                         ALPINE, TX 79830                        SPRINGDALE, AR 72764




DRINEN, LINDA M                       DRINKALL, SHARON L.                     DRINKARD, JAMES C.
4536 WESTMINSTER ROAD                 ADDRESS ON FILE                         2660 BROWNWOOD DR SE
ST. LOUIS, MO 63108                                                           CLEVELAND, TN 37323




DRIPPS, ROY                           DRISCOLL, GLENDA O.                     DRISCOLL, MARY
433 WESTCHESTER                       150 ASPEN GROVE DR                      10330 S BELL AVE
GLEN CARBON, IL 62034                 EVANSTON, WY 82930                      CHICAGO, IL 60643-2404




DRISKILL DELMER                       DRISKILL, XAVIER A.                     DRIVE SYSTEMS TECHNOLOGY INC
925 RANDALL ST                        208 11TH STREET                         9158 ANTIOCH ROAD
EUGENE, OR 97401-0000                 LAS VEGAS, NM 87701                     P.O. BOX 407
                                                                              SALEM, WI 53168-0407




DRIVER, BRENDA                        DRIVER, JOE                             DRIVER, MARGARET F.
101 CHELLY DR                         603 VILLAGE                             ADDRESS ON FILE
PALESTINE, AR 72372                   FORREST CITY, AR 72335




DRIVERS UPHOLSTERY SHOP               DRIVERS UPHOLSTERY SHOP                 DROBNY SHERYL J
107 PHILLIPS 308 ROAD                 107 PHILLIPS 308                        58 WEOKA CT
WEST HELENA, AR 72390                 WEST HELENA, AR 72390                   ELLIJAY, GA 30540




DROBSHOFF, SARAH M.                   DRONGESEN, PETER JOSEPH                 DROST, STACEY A.
100 CLAREMONT TERRACE                 27999 KEN NEILSEN RD                    106 AZALEA CIRCLE
SANTA CRUZ, CA 95060                  EUGENE, OR 97402                        ROMEOVILLE, IL 60446




DROTAR, BRANDON                       DROUBAY SCOTT L                         DRUE, SHAUN S.
3318 STANFIELD DR                     1111 E ERDA WAY                         1221 TABORN RD
CLEVELAND, OH 44134                   ERDA, UT 84074                          CARRIER MILLS, IL 62917
DRUFFEL, JENNIFER M.     Case 20-10766-BLS     Doc 6 Filed
                                       DRUG ENFORCEMENT        04/07/20
                                                           ADMIN.         Page DRUG
                                                                               508 ENFORCEMENT
                                                                                    of 1969    ADMIN.
8504 COOPER ROAD                       ATTN: REGISTRATION SECTION/ODR          ATTN:REGISTRATION SECTION ODR
PLEASANT PRAIRIE, WI 53158             P.O. BOX 2639                           P.O. BOX 2639
                                       SPRINGFIELD, VA 22152-2639              SPRINGFIELD, VA 22152-2639




DRUG ENFORCEMENT                       DRUG ENFORCEMET AGENCY                  DRUG ENFORCEMET AGENCY
ADMINISTRATION/DEA HEADQUARTERS        P.O. BOX 2639                           PO BOX 2639
ATTN: REGISTRATION SECTION/ODR         SPRINGFIELD, VA 22152                   SPRINGFIELD, VA 22152
P.O. BOX 2639
SPRINGFIELD, VA 22152-2639



DRUHE, GLORIA                          DRUMMOND, KASSIDY                       DRURY HOTELS
14 MOORLAND DR                         800 N. 13TH STREET                      1874 W MCEWEN DRIVE
GRANITE CITY, IL 62040                 HERRIN, IL 62948-3277                   FRANKLIN, TN 37067




DRURY, JANICE EVELYN                   DRV TECHNOLOGIES, INC                   DRYDEN, ABIGAIL GREENE
461 N 71ST ST                          P.O. BOX 3429                           15 RICHMOND TRL
SPRINGFIELD, OR 97478                  DULUTH, GA 30096                        OXFORD, GA 30054-2847




DRYDEN, MARIANNE                       DS SERVICES OF AMERICA INC              DS SERVICES OF AMERICA INC
110 DEER TRAIL                         CRYSTAL SPRINGS                         MOUNT OLYMPUS
GOREVILLE, IL 62939                    P.O. BOX 660579                         P.O. BOX 660579
                                       DALLAS, TX 75266-0579                   DALLAS, TX 75266-0579




DS SERVICES OF AMERICA, INC.           DS WATERS OF AMERICA INC                DS WATERS OF AMERICA INC.
P.O. BOX 403628                        DBA SIERRA SPRINGS                      P.O. BOX 660579
ATLANTA, GA 30384-3628                 4751 DURAZNO AVE                        DALLAS, TX 75266
                                       EL PASO, TX 79905




DSHS / PHC                             DSHS CENTRAL LAB MC2004                 DSI SECURITY SERVICES INC
P.O. BOX 149347                        P.O. BOX 149347                         DOTHAN SECURITY INC
1100 WEST 49TH ST                      AUSTIN, TX 78714-9347                   P.O. BOX 7163
AUSTIN, TX 78714-9347                                                          DOTHAN, AL 36302




DSI SECURITY SERVICES                  DSI SECURITY SERVICES                   DSI SECURITY SERVICES
P O BOX 7163                           P.O. BOX 7163                           P.O. BOX 7163
DOTHAN, AL 36302                       600 W ADAMS ST                          DOTHAN, AL 36302
                                       DOTHAN, AL 36302




DSL NORTHWEST, INC                     DSOUZA, CECILIA                         DTC WORLDWIDE
21513 84TH AVE SOUTH                   2244 W 110TH ST                         P.O. BOX 1086
KENT, WA 98032                         CHICAGO, IL 60643                       MINNETONKA, MN 55345-0006




DUANE C. CLARKE                        DUANE CARR                              DUANE L WILSON
ATTORNEY AT LAW                        1730 WEST VALLEY RD                     2220 KINGS WAY
1002 E WESLEY DR STE 100               LOGANTON, PA 17747                      AUGUSTA, GA 30904-4441
OFALLON, IL 62269
DUANE LASWELL             Case 20-10766-BLS
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                                                ARMANDO                Page DUARTE,
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                                                                                    1969       P.
1974 WINDISH DR APT 104                 4416 W HILL AVE                     ADDRESS ON FILE
GALESBURG, IL 61401                     WAUKEGAN, IL 60085




DUARTE, ELIA                            DUARTE-DIAZ, LIZBETH                DUBA, KRISTEN
208 EAST KEITH AVE                      934B FREEDOM BLVD                   ADDRESS ON FILE
WAUKEGAN, IL 60085                      WATSONVILLE, CA 95076




DUBACH, CHERYL                          DUBBS, PATRICK T                    DUBERT, ERNEST
5528 WEST MOUNTAIN MEN DRIVE            647 DUTCH HOLLOW RD                 3015 SUNNYBROOK ST NW
KEARNS, UT 84118                        JERSEY SHORE, PA 17740              MASSILLON, OH 44647-8626




DUBOIS, GERALD                          DUBOIS, JOSEPH W.                   DUBOSE JAYME M
2717 W FREMONT ST                       12100 S ARTESIAN AVENUE             590 COUNTY RD 445
GALESBURG, IL 61401                     BLUE ISLAND, IL 60406               COLLINSVILLE, AL 35961




DUBOSE, AMANIA                          DUBOVA, NADIA                       DUBRASICH, REBECCA A.
2012 WRIGHT AVE                         318 REDWING DR                      ADDRESS ON FILE
NORTH CHICAGO, IL 60064                 DEERFIELD, IL 60015




DUBREE, KAREN                           DUCHARME, TANNER                    DUCHNOWSKI KRISTY
2324 S WOLF CREEK RD                    609 VALLEY VIEW DR                  821 PARK ENTRANCE PLACE
CARBONDALE, IL 62902                    MESQUITE, NV 89027                  APT 1
                                                                            O FALLON, IL 62269




DUCHNOWSKI, JASMINE K.                  DUCK DELIVERY PRODUCE INC           DUCKWORTH, FELICIA
911 BLACKHILLS DR                       8448 NE 33 DR STE 200               927 MCCAY DR
OFALLON, IL 62269                       PORTLAND, OR 97211                  WYNNE, AR 72396




DUCKWORTH, LAURIE                       DUCROQ,RONALD                       DUDA, JOHN J.
ADDRESS ON FILE                         P.O. BOX 8486                       7827 W FORESTHILL LN
                                        WAUKEGAN, IL 60079                  PALOS HEIGHTS, IL 60463-2591




DUDEK, KAYCEE JO                        DUDENHOFER, SETH                    DUDLEY BROWN
80 E 30 TRAILER PARK                    ADDRESS ON FILE                     P.O. BOX 868
GLEN CARBON, IL 62034                                                       LOGANDALE, NV 89021




DUDLEY, BRIANA L.                       DUDLEY, CRETA                       DUDLEY, MATTHEW R.
ADDRESS ON FILE                         1595 E 400 S                        ADDRESS ON FILE
                                        PLEASANT GROVE, UT 84062
DUDLEY, SHAYNA S.       Case 20-10766-BLS
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ADDRESS ON FILE                       ADDRESS ON FILE                     ADDRESS ON FILE




DUDLEY, TERRI                         DUDROW, JAMES                       DUE, SYTWON
P.O. BOX 116                          850 JENSEN DR                       3770 STEFFISBURG DRIVE
LEXINGTON, TN 38351                   MESQUITE, NV 89027                  NASHVILLE, TN 37211




DUELLO, ALICIA                        DUENEZ, IMELDA                      DUENOS, MARIAN L.
ADDRESS ON FILE                       429 WESTOVER                        212 W. BUCKNER ST.
                                      BIG SPRING, TX 79720                BUCKNER, IL 62819




DUER, KENETH R.                       DUERR, CLAIRE B.                    DUFF, CHARLES
640 WALKINGTON RD                     44 WOODSIDE CR                      209 FLAT BOTTOM TRAIL
TUNNEL HILL, IL 62972                 JERSEY SHORE, PA 17740              BALL GROUND, GA 30107




DUFF, EULALIA M.                      DUFF, JAMES                         DUFF, LOVE
203 NEWPORT AVE NW                    ADDRESS ON FILE                     1010 KY 30 EAST
MASSILLON, OH 44646                                                       BOONEVILLE, KY 41314




DUFF, REGINA                          DUFFEY, CLAUDE                      DUFFEY, JEFFERY A.
4491 HIGHWAY 2016                     619 TRACK ROCK ACRES                6975 SALERNO ST NW
BEATTYVILLE, KY 41311                 BLAIRSVILLE, GA 30512               CANTON, OH 44718




DUFFIE ZORENA                         DUFFIE, SANDY                       DUFFIELD, CARLA
1268 PARKVIEW DR                      ADDRESS ON FILE                     4240 ELDRIDGE AVE SW
ANTIOCH, IL 60002                                                         MASSILLON, OH 44646




DUFFIN, DAVID                         DUFFIN, EARL                        DUFFY SANDERS
11254 S. WHIPPLE ST                   12329 S LOOMIS ST                   585 MT. PLEASANT RD
CHICAGO, IL 60655                     CALUMET PARK, IL 60827              BUNCOMBE, IL 62912




DUFFY, AMANDA                         DUFFY, DEENA                        DUFFY, MARTI
37831 WHEELER ROAD                    4780 GRACE ST. APT. B               ADDRESS ON FILE
DEXTER, OR 97431                      CAPITOLA, CA 95060




DUFORAT, AMANDA F.                    DUGAN, AMANDA M.                    DUGAN, CHRISTOPHER H.
3903 DIXON                            ADDRESS ON FILE                     3265 NE DUNCKLEY ST
BIG SPRING, TX 79720                                                      PORTLAND, OR 97212
DUGAN, JUSTIN            Case 20-10766-BLS    Doc 6
                                       DUGAN, NANCY        Filed 04/07/20   Page DUGAN,
                                                                                 511 ofTIFFANY
                                                                                        1969 L.
207 DOCTOR HALL RD                     ADDRESS ON FILE                           ADDRESS ON FILE
GEORGIANA, AL 36033-5928




DUGGAN, JAMES                          DUGGAN, LINDSEY                           DUGGER, DERICK
19949 PLEASANT MEADOW LANE             P.O. BOX 102                              12728 RT 37
PURCELLVILLE, VA 20132                 FIELDON, IL 62031-0000                    MARION, IL 62959




DUGGER, JIM                            DUGGINS, ARTHUR                           DUGGINS, BELINDA M.
1590 BLUFF DR                          3207 MORTON LANE                          ADDRESS ON FILE
FLORISSANT, MO 63031                   GREENVILLE, NC 27834




DUGGINS, JASMINE                       DUGGINS, SUZETTE L.                       DUH, CASEY
3207 MORTON LANE                       3207 MORTON LANE                          9216 S RIDGEWAY AVENUE
GREENVILLE, NC 27834                   GREENVILLE, NC 27834                      EVERGREEN PARK, IL 60805




DUHON, RODNEY P.                       DUITSMAN, BONNIE                          DUITSMAN, MARTHA
403 MITCHELL DR.                       ADDRESS ON FILE                           35691 DIXIE RD
RAINSVILLE, AL 35986                                                             HINKLEY, CA 92347




DUJON, LOUELLA M.S.                    DUJON, LOUELLA                            DUKE BAKERY, INC
ADDRESS ON FILE                        ADDRESS ON FILE                           819 HENRY ST
                                                                                 ALTON, IL 62002




DUKE BENJAMIN P                        DUKE, CAROL L.                            DUKE, CHRISTY
733 PUMA BLVD APT 733204               ADDRESS ON FILE                           362 ELBETHEL RD
EDWARDSVILLE, IL 62025                                                           LUVERNE, AL 36049




DUKE, DONALD E. JR.                    DUKE, JENNIFER L.                         DUKE, JONNY
123 TOWER ST SW                        ADDRESS ON FILE                           661 PALMER ROAD
BEACH CITY, OH 44608                                                             LEXINGTON, TN 38351




DUKE, JUSTIN H.                        DUKE, KELLY S.                            DUKE, PEGGY L
531 MACKINAW AVE                       2909 CORTE DE CONSUELO SE                 39 W TENNESSEE
CALUMET CITY, IL 60409                 DEMING, NM 88030                          MARIANNA, AR 72360




DUKE, PHILLIP                          DUKE, RYAN P.                             DUKE, SHELLEY R.
206 THOMAS ST                          4801 N WINTHROP AVE                       602 FRANKLIN DRIVE
LEXINGTON, TN 38351                    CHICAGO, IL 60640                         PARIS, TN 38242
DUKE, VICKI               Case 20-10766-BLS     Doc 6 Filed 04/07/20
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2895 GRAVEL HILL RD                     2103 KANECK WAY                     ADDRESS ON FILE
GREENVILLE, AL 36037                    HEPHZIBAH, GA 30815




DUKES, RUTH                             DULANEY, JERETTA                    DULANEY, RICHARD
4478 MAIN STREET POWELL                 9204 COUNTY HWY 29                  405 PARADISE PKWY
FYFFE, AL 35971                         HAMILTON, AL 35570                  APT 240
                                                                            MESQUITE, NV 89027-5406




DULANY, EDWARD                          DULINSKAS, ALFRED A.                DUMALSKI, KATHLEEN M.
326 COUNTY RD 9092                      12142 S 69TH COURT                  2757 EAST GILLCREST ROAD
FYFFE, AL 35971                         PALOS HEIGHTS, IL 60463             GILBERT, AZ 85298




DUMALSKI, KATHLEEN                      DUMAS, REITA                        DUMMIT BUCHHOLZ & TRAPP
15905 ANNA DRIVE                        4270 ROCKBRIDGE RD                  11755 WILSHIRE BLVD
WADSWORTH, IL 60083                     STONE MOUNTAIN, GA 30083            15TH FLR
                                                                            LOS ANGELES, CA 90025




DUNAHOO, CHARLES E.                     DUNAVAN, HENRIETTA F.               DUNAWAY, AMBER D.
P.O. BOX 22                             10860 E. REDWOOD RD                 2417 KILARNEY DR
BEATTYVILLE, KY 41311                   MT. VERNON, IL 62864                GRANITE CITY, IL 62040




DUNAWAY, JORDAN R.                      DUNAWAY, SHANE P.                   DUNBAR ARMORED INC.
ADDRESS ON FILE                         45 PINE RIDGE RD                    P.O. BOX 64115
                                        LEXINGTON, TN 38351                 BALTIMORE, MD 21264




DUNBAR CECILIA A                        DUNBAR PHOTOGRAPHY, INC.            DUNBAR, ALEXIS M.
P.O. BOX 8                              329 BRADWAY ST                      425 1ST ST APT 11
6381 TYNER LN                           MT. VERNON, IL 62864                BARSTOW, CA 92311
MARION, IL 62959




DUNBAR, AYDA M.                         DUNBAR, MACKENZIE D.                DUNCAN CHRIS
ADDRESS ON FILE                         310 MORGAN AVE                      521 OLD BURNT MTN ROAD
                                        BIG SPRING, TX 79720                ELLIJAY, GA 30536




DUNCAN REGIONAL HOSPITAL                DUNCAN, AMY E.                      DUNCAN, BEVERLY
1407 WHISENANT DRIVE                    14485 GOSSETT RD.                   135 TOWER RD
DUNCAN, OK 73533                        WEST FRANKFORT, IL 62896            MCKENZIE, TN 38201




DUNCAN, BILLY ROSS                      DUNCAN, CHRISTINE                   DUNCAN, DIANE
710 JAMES AVE                           838 DEER MOUNTAIN RD                562 N NAPLES LN
CHATTANOOGA, TN 37421                   BEAR RIVER, WY 82930                INA, IL 62846
DUNCAN, HEATHER N.       Case 20-10766-BLS
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                                              KELLY6R. Filed 04/07/20   Page DUNCAN,
                                                                             513 of LAUREL
                                                                                     1969 D.
1805 BIBLE GROVE RD                     ADDRESS ON FILE                      10917 S LLOYD DR
LEXINGTON, TN 38351                                                          WORTH, IL 60482




DUNCAN, LORI                            DUNCAN, MISTY A.                     DUNCAN, REBECCA
212 HEREFORD AVE                        ADDRESS ON FILE                      327 E 6TH ST
STEGER, IL 60475                                                             LUVERNE, AL 36049




DUNCAN, RICHARD F. JR.                  DUNCAN, RONALD                       DUNDON, APRIL
5 HANSON DR                             ADDRESS ON FILE                      ADDRESS ON FILE
GRANITE CITY, IL 62040




DUNDORE, CRAIG A.                       DUNFEE, CANDY                        DUNGAN, DYLAN J.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




DUNHAM VERONICA                         DUNHAM, CARLEN                       DUNHAM, JAMIE D.
2494 W MAIN ST 177                      5370 MAPLE AVE                       BRAND WISE
BARSTOW, CA 92311                       ST LOUIS, MO 63112                   2535 8TH AVE S - STE 201
                                                                             NASHVILLE, TN 37204




DUNHAM, JOHN                            DUNIGAN, DAVID                       DUNIGAN, HOLLY R.
410 W SMITH ST                          ADDRESS ON FILE                      ADDRESS ON FILE
WAYNE CITY, IL 62895




DUNIGAN, SHARON                         DUNIGAN,HOLLY                        DUNKEL, SAMANTHA
THE ESTATE OF 185 PHILLIPS 273 RD       ADDRESS ON FILE                      ADDRESS ON FILE
LEXA, AR 72355




DUNKIN, JENNIFER                        DUNKLE, LISA T                       DUNKLIN, KIMBERLY A.
1287 MASHVILLE RD                       37 FERN LN                           1512 E COMMERCE ST
GREENVILLE, AL 36037-6417               MILL HALL, PA 17751                  GREENVILLE, AL 36037-2104




DUNLAP, CANDACE L.                      DUNLAP, DANA R.                      DUNLAP, VERONICA
9426 WEST MAIN STREET                   ADDRESS ON FILE                      12609 S LAFLIN ST
BELLEVILLE, IL 62223                                                         CALUMET PARK, IL 60827




DUNLAP,IMON                             DUNN ANTHONY E                       DUNN LARRY F
23427 WOLF CREEK RD                     301 OAK ST                           694 VOYLESTOWN RD
VENETA, OR 97487                        CARRIER MILLS, IL 62917              MORGANTON, GA 30560
DUNN MARY             Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                    DUNN, BEVERLY                  Page DUNN,
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                                                                              BOBBY
2238 LOWER GILMORE ROAD             2016 CEDARWOOD TRAIL                ADDRESS ON FILE
CAMPTON, KY 41301                   SHILOH, IL 62226




DUNN, CHRIS T.                     DUNN, CYNTHIA                        DUNN, DONNA E.
P O BOX 702                        1405 DOVER POBOX 1772                801 E.FLORIDA ST APT A
BAD ADDRESS                        WEST MEMPHIS, AR 72303               DEMING, NM 88030
VIENNA, IL 62995




DUNN, DONNA                        DUNN, ELLEN                          DUNN, HELEN
3520 46TH STREET                   P.O. BOX 434                         840 S FARNHAM ST
LUBBOCK, TX 79413                  PALESTINE, AR 72372                  GALESBURG, IL 61401




DUNN, JULIE A.                     DUNN, LACIE D.                       DUNN, MARILYN S.
308 SPYGLASS WAY                   1344 COUNTY ROAD 356                 611 MOUNTAIN VIEW LN
APTOS, CA 95003                    GROVE OAK, AL 35975                  MCCAYSVILLE, GA 30555




DUNN, MARY                         DUNN, MICHAEL F.                     DUNN, NADINE
10102 278TH AVE                    ADDRESS ON FILE                      ADDRESS ON FILE
TREVOR, WI 53179




DUNN, NANCY L.                     DUNN, RHONDA L.                      DUNN, SAMUEL J.
3224 ROANOAKE N.W.                 ADDRESS ON FILE                      308 NEW SALEM ST
MASSILLON, OH 44646                                                     PARK FOREST, IL 60466




DUNN, SARA                         DUNN, SUSAN E.                       DUNN, VICTORIA D.
4209 BETHEL CHURCH ROAD            ADDRESS ON FILE                      2569 GRAND AVE
PINCKNEYVILLE, IL 62274                                                 GRANITE CITY, IL 62040




DUNNIGAN, TINA                     DUNNING, KALINDA J.                  DUNNING, TONIA
1387 COUNTY ROAD 1700 E            1010 N. HIGHLAND                     ADDRESS ON FILE
GEFF, IL 62842                     MARION, IL 62959




DUNNIVAN, GLORIA                   DUNSTON DANA M                       DUNTON, SHANNON
2010 LOVERS LN NE                  7 ESTATE VIEW DRIVE                  5063 WILDER DR
CANTON, OH 44721                   FYFFE, AL 35971-0229                 SOQUEL, CA 95073




DUNVILLE, JANET                    DUO GROUP LLC                        DUPLAIN, ANDREW
P.O. BOX 432                       98 WEST CENTER STREET STE A          8428 HIGH MILL AVE NW
JONESBORO, IL 62952                LOGAN, UT 84321                      CANAL FULTON, OH 44614
DUPPER, LARRY           Case 20-10766-BLS   Doc
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8522 SOUTH RIVER ROAD                 ADDRESS ON FILE                     112 CAMERON DR
OLATHE, CO 81425                                                          BELLEVILLE, IL 62223




DUPREE, BARBARA A.                    DUPREE, BRENDA F.                   DUPREE, CHRISTOPHER R.
ADDRESS ON FILE                       ADDRESS ON FILE                     P.O. BOX 92
                                                                          RAINSVILLE, AL 35986-0103




DUPREE, MISTY T.                      DURAN, ALBERT                       DURAN, AUTUMN L.
ADDRESS ON FILE                       ADDRESS ON FILE                     ADDRESS ON FILE




DURAN, BYRON                          DURAN, MARGARET K.                  DURAN, MARY ALICE
2343 LOTUS DRIVE                      ADDRESS ON FILE                     P.O. BOX 91
ROUND LAKE HEIGHTS, IL 60073                                              CHACON, NM 87713




DURAN, PETRA                          DURAN, TAIZ                         DURANT, GERALD
606 S SLATE ST                        3542 W 77TH PLACE                   3001 LIST NW
DEMING, NM 88030                      CHICAGO, IL 60652                   MASSILLON, OH 44646




DURBIN BRITTANY                       DURBIN, BRIAN D.                    DURBIN, LANDON J.
143 FAIRINGTON DR                     2876 COLONY WOODS CR                9642 SCHULINE ROAD
TROY, IL 62294                        CANTON, OH 44706                    SPARTA, IL 62286




DURBIN, PHILLIP                       DURDEN, KELLY                       DURDEN, MELANIE B.
P.O. BOX 42                           1040 BIG HAYNES DRIVE               ADDRESS ON FILE
BEATTYVILLE, KY 41311                 GRAYSON, GA 30017




DURDEN, RHONDA                        DURDEN, RUSSELL T.                  DURDEN, RUSSELL
2865 ETCHISON RD                      238 WILDERNESS WAY                  MS/ICU
LOGANVILLE, GA 30052                  BLAIRSVILLE, GA 30512




DURDEN, RUTH F.                       DURFEE, KERRY                       DURFOLD CORP
150 AMESTI RD.                        418 APPEL ROAD                      P.O. BOX 9613
WATSONVILLE, CA 95076                 STONEFORT, IL 62987                 JACKSON, MS 39286




DURFOLD CORPORATION                   DURFOLD CORPORATION                 DURFOLD CORPORATION
102 UPTON DRIVE                       P.O. BOX 9613                       P.O. BOX 9613
P.O. BOX 9613                         JACKSON, MS 39286                   JACKSON, MS 39286-9613
JACKSON, MS 39286
DURHAM ASHLEY            Case 20-10766-BLS
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                                              SCHOOL Filed 04/07/20       Page DURHAM,
                                                                               516 of 1969
                                                                                       AMBER
19057 AL HIGHWAY 117                   ATTN: M. BRAY                           5 BUENA VISTA DR
HENAGAR, AL 35978-6080                 P.O. BOX 841879                         MURPHYSBORO, IL 62966
                                       DALLAS, TX 75284-1879




DURHAM, JENNIFER                       DURHAM, ROBIN S.                        DURKIN AND HOOD LLP
2565 GREENHILL RD                      5501 KK ROAD                            8840 WILSHIRE BLVD SUITE 207
ELDORADO, IL 62930                     WATERLOO, IL 62298                      BEVERLY HILLS, CA 90211




DURKIN, WILLIAM                        DURNEN, MELENA                          DURRER, LAVERN
2480 URBANA AVE SE                     831 161 ST                              C/O RED BUD REGIONAL CARE
MASSILLON, OH 44646                    CALUMET CITY, IL 60409                  350 W SOUTH 1ST STREET
                                                                               RED BUD, IL 62278




DURSTELER, HELENA M.                   DUSSAULT, RANDALL                       DUSSAULT, ROGER A.
393 FROST LN                           252 LAKEWOOD DR                         918 WILSON CT
STANSBURY PARK, UT 84074               ANTIOCH, IL 60002                       ZION, IL 60099




DUST, FRANCES K.                       DUSTEE JACKSON                          DUSTIN D STANLEY
8641 W 144TH PL                        ADDRESS ON FILE                         716 BROWN ST
ORLAND PARK, IL 60462                                                          VENICE, IL 62090




DUSTIN DIALS                           DUSTIN FOSTER                           DUSTIN JOINER
3570 COLDWATER RD                      1109 DOUGLAS ST                         ADDRESS ON FILE
INEZ, KY 41224-8734                    MT VERNON, IL 62864




DUSTIN MILLER                          DUSTIN TERPENING                        DUSTIN, ANGELA L.
ADDRESS ON FILE                        299 SANTA CLARA AVE                     13129 TIMBER TR 303
                                       EUGENE, OR 97404                        PALOS HEIGHTS, IL 60463




DUSTIN, CURT R.                        DUSTYN MILLER                           DUSTYS OUTDOOR MEDIA, LLC
ADDRESS ON FILE                        348 E 3RD ST                            1207 NETWORK CENTRE BLVD
                                       GALESBURG, IL 61401                     SUITE 3C
                                                                               EFFINGHAM, IL 62401-4632




DUTCH OPHTHALMIC USA INC               DUTCH OPHTHALMIC USA INC                DUTCH OPHTHALMIC USA
10 CONTINENTAL DRIVE BLDG 1            10 CONTINENTAL DRIVE, BUILDING 1        10 CONTINENTAL DRIVE
EXETER, NH 03833                       EXETER, NH 03833                        EXETER, NH 03833




DUTCH OPTHALMIC                        DUTELL, JANICE J.                       DUTKA, CORNELIA
10 CONTINENTAL DR                      160 CIRCLE DRIVE                        1079 ONEIDA TRL
BLDG 1                                 GALESBURG, IL 61401                     HARTVILLE, OH 44632
EXETER, NH 03833
DUTKO, JAMES             Case 20-10766-BLS
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                                                                                  1969 R.
1101 NIEDRINGHAUS                      ADDRESS ON FILE                    ADDRESS ON FILE
GRANITE CITY, IL 62040




DUTTON AMY L                           DUTTON, ANDREA K.                  DUTTON, BRADLEY
449 SOUTH VALLEY AVE                   ADDRESS ON FILE                    661 NATS CREEK ROAD
COLLINSVILLE, AL 35961-6931                                               LOUISA, KY 41230




DUTTON, MICHELLE L.                    DUTTON, SUZANNE C.                 DUTY CHRISTOPHER DAVID
ADDRESS ON FILE                        P.O. BOX 145                       21663 ENYEN HAUSEN
                                       ROSICLARE, IL 62982                CREAL SPRINGS, IL 62922




DUTY, CATHERINE A.                     DUTY, JERRICA B.                   DUTY, SHARA
ADDRESS ON FILE                        ADDRESS ON FILE                    ADDRESS ON FILE




DUTY, TAMMY S.                         DUTY, TIFFANY, RN                  DUTY, TYLER W.
ADDRESS ON FILE                        105 GREENE 601 RD                  ADDRESS ON FILE
                                       PARAGOULD, AR 72450




DUVAL, POLLY                           DUVALL, BETTY R.                   DUVALL, LANA
9915 ASKA RD.                          ADDRESS ON FILE                    3675 HIGHWAY 284
BLUE RIDGE, GA 30513                                                      WYNNE, AR 72396




DUVALL, SAMANTHA P.                    DUWELL II, VERNON J.               DUWELL, JACQUELINE A.
ADDRESS ON FILE                        ADDRESS ON FILE                    ADDRESS ON FILE




DUWELL, VERN                           DVORAK, BRIAN K.                   DVORSHOCK, MARGARET T
1460 G STREET                          5874 REGAY DR                      1544 EAST GRAND AVE
SPRINGFIELD, OR 97477                  NEW FRANKLIN, OH 44319             CARBONDALE, IL 62902




DWIGHT L NOFSINGER                     DWYER, LESLIE A.                   DXC TECHNOLOGY COMPANY
P O BOX 57                             516 SOQUEL AVE 3                   BILL DECKELMAN, EVP
BEACH CITY, OH 44608                   SANTA CRUZ, CA 95062               GENERAL COUNSEL & SECY.
                                                                          1775 TYSONS BLVD
                                                                          TYSONS, VA 22102



DXC TECHNOLOGY COMPANY                 DXC TECHNOLOGY                     DXC TECHNOLOGY
P.O. BOX 740868                        P.O. BOX 2100                      P.O. BOX 30
ATLANTA, GA 30374-0868                 ATTN: JANICE                       DENVER, CO 80201
                                       FRANKFORT, KY 40601
DYAMOND, DANIELS         Case 20-10766-BLS    Doc 6D. Filed 04/07/20
                                       DYDA, RONALD                    Page DYDA,
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                                                                                  RONALD
12632 S WOOD ST                         ADDRESS ON FILE                     ADDRESS ON FILE
RIVERDALE, IL 60827




DYE, ANGELA M.                          DYE, JOHN C.                        DYE, KRYSTIE L.
702 HARRISON AVE SW                     ADDRESS ON FILE                     47 HARDINVILLE RD
CANTON, OH 44706                                                            INEZ, KY 41224




DYE, MICHELE                            DYER AUTO PARTS, INC                DYER, NICOLE
ADDRESS ON FILE                         394 EAST CHURCH ST                  ADDRESS ON FILE
                                        LEXINGTON, TN 38351




DYER, RONNIE                            DYER, TAMMY J.                      DYERS PERSONNEL SERVICES
ADDRESS ON FILE                         ADDRESS ON FILE                     23 NORTH MAIN STREET SUITE C
                                                                            ATTN: GENERAL FUND REFUND
                                                                            LEXINGTON, TN 38351




DYERSBURG REGIONAL MED CNTR             DYKEN, HEIDI                        DYKES, KELLY
400 TICKLE ST                           206 N FRANKLIN ST                   33144 N INDIAN LN
DYERSBURG, TN 38024                     TOULON, IL 61483                    GRAYSLAKE, IL 60030




DYKES, SYBIL G.                         DYKIEL, ALTHEA D.                   DYLAN KUJAWA
153A GRANT STREET P.O. BOX 4            1189 WINDMERE CIR                   ADDRESS ON FILE
CIMARRON, NM 87714                      ANTIOCH, IL 60002




DYLAN LEWIS                             DYLAN PERKINS                       DYMOCK, TERESA K.
653 ASHLAND                             ADDRESS ON FILE                     ADDRESS ON FILE
GRANITE CITY, IL 62040




DYMOCK, TERESA                          DYNA SCAN TECHNICAL SERVICES        DYNA SCAN TECH SERVICES, LLC
ADDRESS ON FILE                         7 HETHERINGTON CT                   7 HETHERINGTON CT
                                        CINCINNATI, OH 45246                CINCINNATI, OH 45246-0000




DYNA SCAN TECHNICAL SERVICES            DYNA SCAN TECHNICAL SERVICES        DYNA SCAN TECHNICAL SVCS INC
7 HETHERINGTON CT                       7 HETHERINGTON CT                   7 HETHERINGTON CT.
CINCINNATI, OH 45246                    CINNCINNATI, OH 45246               CINCINNATI, OH 45246




DYNA SCAN                               DYNAMIC MEDIA                       DYNAMIC TELECOMMUNICATIONS, INC
7 HETHERINGTON CT                       38271 MOUND RD., SUITE 300          205 TECHNOLOGY PARK LANE
CINCINNATI, OH 45246                    STERLING HEIGHTS, MI 48310          FUQUAY VARINA, NC 27526
                        CaseINC
DYNAMIC TELECOMMUNICATIONS,  20-10766-BLS     Doc 6LLCFiled 04/07/20
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205 TECHNOLOGY PARK LANE              3487 WEST 2100 SOUTH, 300               7030 PARK CENTRE DR
FUQUAY-VARINA, NC 27526               SALT LAKE CITY, UT 84119                SALT LAKE CITY, UT 84121




DZIDO, MAGDALENA N.                   DZIEKAN, CAROLYN                        DZIEKAN, JOSEPH C.
5210 WILLOW CT                        3616 SATILLA DR                         15050 W 21ST ST
GURNEE, IL 60031                      MONROE, GA 30656-6452                   WADSWORTH, IL 60083




E ELLIS, JULIE                        E J HAYES ALUMNI ASSOCIATION INC        E PAIGE GINN
924 BONSEL ST NE                      P.O. BOX 1142                           HRMC
NAVARRE, OH 44662                     705 WASHINGTON STREET                   HELENA, AR 72342
                                      WILLIAMSTON, NC 27892




E SCREEN, INC                         E W JAMES & SONS                        E. P. S. INC
P.O. BOX 654094                       1308-14 NAILLING DRIVE                  LOCKBOX 427
DALLAS, TX 75265                      UNION CITY, TN 38261                    JAMISON, PA 18929-0427




E.A. CLARKE MECHANICAL                E.T.P. LABS INC                         E3 DIAGNOSTICS
HEATING & AIR CONDIT                  638 EXECUTIVE DR                        3333 N KENNICOTT AVE
6675 N CHERRYVILLE LANE               WILLOWBROOK, IL 60527                   ARLINGTON HEIGHTS, IL 60004
WALTONVILLE, IL 62894




E3 DIAGNOSTICS                        E3 DIAGNOSTICS, INC                     E3 DIAGNOSTICS, INC
E3 MED-ACOUSTICS                      3333 N KENNICOTT AVENUE                 3333 N. KENNICOTT AVE
1685 E PARK PLACE BLVD                ARLINGTON HEIGHTS, IL 60004             ARLINGTON HEIGHTS, IL 60004
STONE MOUNTAIN, GA 30087




E3 DIAGNOSTICS, INC                   E3 DIAGNOSTICS, INC                     E3 GORDON STOWE
ACCOUNTS PAYABLE                      ATTN:ACCOUNTS RECEIVABLE                74 MARCO LN.
3333 N KENNICOTT AVE                  3333 N. KENNICOTT AVE                   DAYTON, OH 45458-3817
ARLINGTON HEIGHTS, IL 60004           ARLINGTON HEIGHTS, IL 60004




E4H - ENVIRONMENTS FOR HEALTH LLC     EA MEDICAL                              EAB MEDICAL
501 ELM STREET SUITE 500              10541 STATE HWY 81                      13112 CRENSHAW BLVD
DALLAS, TX 75202-0000                 CANTON, MO 63435                        GARDENA, CA 90249




EADS, THOMAS C.                       EAGEN, RYAN                             EAGLE ENDOSCOPIC, INC
124 NORTH SIDE DRIVE                  ADDRESS ON FILE                         388 BRAMBLY VINE DR
COPPERHILL, TN 37317                                                          JACKSONVILLE, FL 32259-8411




EAGLE ENVIRONMENTAL CO.               EAGLE RECOGNITION                       EAGLE SURGICAL PRODUCTS LLC
3653 WOODHEAD DRIVE                   A DIVISION OF CARAS, LLC                P.O. BOX 340248
NORTHBROOK, IL 60062-1816             2706 MOUNTAIN IND.BLVD; STE 300         AUSTIN, TX 78734
                                      TUCKER, GA 30084
EAGLE TELEMED HOLDINGS,Case
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                                                                                   TELEMEDICINE,LLC-NON PRS
280 INTERSTATE NORTH CR SE            280 INTERSTATE NORTH CIRCLE SE         280 INTERSTATE NORTH CIRCLE SE
STE 150                               SUITE 150                              SUITE 150
ATLANTA, GA 30339                     ATLANTA, GA 30339                      ATLANTA, GA 30339




EAGLE, MELISA                         EAGLES NEST CATERING                   EAGLESTAR, DENISE
941 S KELLOGG ST                      TOOELE ARMY DEPOT BLD1005              5400 8TH ST SW
GALESBURG, IL 61401                   TOOELE, UT 84074                       DEMING, NM 88030




EAKIN, ANDREA                         EALEY, JUDITH F.                       EALEY, JUDITH F.
418 PARK ST NW                        16672 N OAK HILL LANE                  ADDRESS ON FILE
NAVARRE, OH 44662-1069                MT. VERNON, IL 62864




EALUM, ANTHONY                        EALUM, LORETTA                         EALUM, SERENA
P.O. BOX 58                           P.O. BOX 58                            5379 W STATE HWY 106
MCKENZIE, AL 36456                    MCKENZIE, AL 36456-0058                GEORGIANA, AL 36033




EAN SERVICES, LLC                     EAPEN, JINCY                           EAR NOSE & THROAT SPECIALIST
P.O. BOX 402383                       ADDRESS ON FILE                        CHEROKEE SINUS CENTER, P.C.
ATLANTA, GA 30384-2383                                                       215 RIVERSTONE DRIVE
                                                                             CANTON, GA 30114




EARL MOLLETT                          EARL SWENSSON ASSOCIATES INC           EARL VAUGHN
605 HWY 2562                          P.O. BOX 5341                          2814 CHOUTEAU AVE
BLAINE, KY 41124                      CAROL STREAM, IL 60197-5341            ODIN, IL 62870-2526




EARL, KAYLA                           EARL, MELANIE                          EARL, MICHEAL
37397 SILVER AVE                      ADDRESS ON FILE                        244 REECE CREEK RD
YERMO, CA 92398                                                              BLAIRSVILLE, GA 30512




EARLE, AUDRA - CEO                    EARLEYHIATT, ROBIN                     EARLINE C WRIGHT
WATSONVILLE COMMUNITY HOSPITAL        147 LAWRENCE MILL RD                   334 IVY HILLS CR
75 NIELSON ST                         MOLENA, GA 30258                       CALERA, AL 35040-5066
WATSONVILLE, CA 95076




EARLY JALISA                          EARNHART, ELLA M.                      EARS AND HEARING PA
310 COUNTY RD 351                     ADDRESS ON FILE                        12319 N MO-PAC EXPWY
LEESBURG, AL 35983-0000                                                      BUILDING C, SUITE 300A
                                                                             AUSTIN, TX 78758-2403




EARTH 20                              EARTHGRAINS BAKING CO                  EASLER CAITLIN E
P.O. BOX 70                           P.O. BOX 842437                        17 LIBERTY ROAD
CULVER, OR 97734                      BOSTON, MA 02284-2437                  HENAGAR, AL 35978-5501
EASLEY & HOUSEAL PLLC     Case 20-10766-BLS    Doc 6 Filed 04/07/20
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                                                                               521 ofKATHERINE
                                                                                       1969
510 E CROSS ST                          109 PIERCE ST                          2380 HWY 318
FORREST CITY, AR 73225                  MARION, KY 42064                       MARVELL, AR 72366




EASLEY, KATHERINE                       EASON, JAMES D.                        EASON, JUANITA
ADDRESS ON FILE                         1642 COUNTY RD 303                     12823 S PAULINA ST
                                        DAWSON, AL 35963-4061                  CALUMET PARK, IL 60827-5932




EASON, STEPHEN                          EAST AR CROSSROADS COALITION           EAST ARKANSAS BROADCASTERS
1340 ARNOLD RD                          1790 N FALLS BLVD                      P O BOX 789
MCKENZIE, TN 38201                      WYNNE, AR 72396                        WYNNE, AR 72396




EAST ARKANSAS COMMUNITY COLLEGE         EAST ARKANSAS VIDEO INC                EAST ARKANSAS VIDEO
1700 NEWSCASTLE ROAD                    DEPT 1228                              P.O. BOX 1079
FORREST CITY, AR 72335                  P.O. BOX 2153                          FORREST CITY, AR 72335
                                        BIRMINGHAM, AL 35287-1228




EAST ARKANSAS VIDEO                     EAST CAROLINA MOTOR SPEEDWAY           EAST CAROLINA UNIVERSITY
P.O. BOX 1079                           P.O. BOX 1607                          THE BRODY SCHOOL OF MEDICINE
FORREST CITY, AR 72336-1079             ELIZABETH CITY, NC 27906               DHS CONTRACTS OFFICE-P.O. BOX 75514
                                                                               CHARLOTTE, NC 28275-0514




EAST CAROLINA UNIVERSITY-BRODY          EAST CARTER HIGH SCHOOL                EAST CARTER SOCCER
SCHOOL OF MEDICINE                      405 HITCHENS ROAD                      405 HITCHINS ROAD
CONTRACT ACCOUNTING                     GRAYSON, KY 41143-0000                 GRAYSON, KY 41143
P.O. BOX 75514
CHARLOTTEE, NC 28275-0514



EAST COAST COFFEE DISTRIBUTORS          EAST COAST SECURITY SYSTEMS,INC        EAST JEFFERSON GENERAL HOSPITAL
3823 LEE ST                             112 S HAUGHTON ST                      4200 HOUMA BOULEVARD
ADEN, NC 28513-1606                     P.O. BOX 746                           METAIRIE, LA 70006
                                        WILLIAMSTON, NC 27892




EAST KY MEDIA, INC.                     EAST WEST MEDICAL                      EASTBAY, INC.
BLUEGRASS SPORTS NATION                 P.O. BOX 50836                         P.O. BOX 1328
P.O. BOX 573                            EUGENE, OR 97405                       WAUSAU, WI 54402-1328
JACKSON, KY 41339




EASTER, BRITTANY                        EASTER, LINDA F.                       EASTERBERG CHAD A
3316 E. MAIN ST, APT. G                 14207 S CLARK                          744 PORTER CIRCLE
JACKSON, MO 63755                       RIVERDALE, IL 60827                    LINDENHURST, IL 60046




EASTERDAY, AMRK                         EASTERLING, WILLIAM                    EASTERLY, CARRIE
3606 AMHERST AVE NW                     1759 POSEY RD                          95 ROAD 1992
MASSILLON, OH 44646                     LAPINE, AL 36046                       GERALDINE, AL 35974
EASTERN AHEC            Case 20-10766-BLS
                                      EASTERNDoc     6 Filed
                                                RIO BLANCO    04/07/20
                                                           COUNTY HEALTH   Page EASTERN
                                                                                522 of 1969
                                                                                        TELEPHONE & TECHNOLOGIES
ATTN: REGISTRATION                    SERVICE                                   INC
P.O. BOX 7224                         D/B/A PIONEERS MEDICAL CENTER             P.O. BOX 2898
GREENVILLE, NC 27835-7224             100 PIONEERS MEDICAL CENTER DRIVE         PIKEVILLE, KY 41502
                                      MEEKER, CO 81641-3237



EASTERWOOD DONNA C                     EASTMAN, ELIZABETH M.                    EASTMAN, MAYDI
495 PIKE RD                            ADDRESS ON FILE                          3330 N. ASPEN WAY
ELLIJAY, GA 30536                                                               WOODRUFF, UT 84086




EASTMAN, NORMA K.                      EASTMAN, RACHAEL R.                      EASTON II, ANDREW
P.O. BOX 39                            226 CHEYENNE DRIVE                       ADDRESS ON FILE
WOODRUFF, UT 84086-0039                EVANSTON, WY 82930




EASTON, BRAD                           EASTON, DANIELLE                         EASTON, TASHA
P.O. BOX 7063                          805 OAKLAND AVE.                         617 W BELMONT ST
BUNKERVILLE, NV 89007-0063             MOUNT VERNON, IL 62864                   SPARTA, IL 62286




EASTONS FLOWERS                        EASTPOINTE LME                           EASTWOOD, DONNA
229 S. 10TH ST.                        450 COUNTRY CLUB RD                      495 PIKE RD.
MT VERNON, IL 62864                    LUMBERTON, NC 28360                      ELLIJAY, GA 30536




EASTWOOD, ROBERT                       EASY OXYGEN                              EASYPERMIT POSTAGE
3445 BRIGADOON CR                      1862 E BELVIDERE ROAD 125                P.O. BOX 371874
DALTON, OH 44618                       GRAYSLAKE, IL 60030                      PITTSBURGH, PA 15250-7874




EATON CORPORATION                      EATON CORPORATION                        EATON JR, RICHARD
29085 NETWORK PL                       P.O. BOX 93531                           215 HOSKINS LN
CHICAGO, IL 60673-1290                 CHICAGO, IL 60673-3531                   GLEASON, TN 38229




EATON TIFFANY DAWN                     EATON, EDWARD P.                         EATON, ELIZABETH
P.O. BOX 785                           ADDRESS ON FILE                          319 HEAD STREET
CENTRE, AL 35960-3745                                                           PARIS, TN 38242




EATON, JULIE A.                        EATON, LESLIE E.                         EATON, LLOYD
49 BLANCA LANE 528                     1185 SAN ANDREAS RD                      13048 S WOOD ST
WATSONVILLE, CA 95076                  WATSONVILLE, CA 95076                    APT 1D
                                                                                BLUE ISLAND, IL 60406




EATON, MELISSA N.                      EATON, PHILIP A.                         EATON, PHILLIP
149 HALLEE DRIVE                       ADDRESS ON FILE                          ADDRESS ON FILE
MINERAL BLUFF, GA 30559
EATON, TIFFANY B.         Case 20-10766-BLS     Doc 6
                                        EAVES, BETTY       Filed 04/07/20   Page EAVES,
                                                                                 523 ofLISA
                                                                                         1969
                                                                                            M.
133 CARISSA RD                           325 LAKEVIEW DR SOUTH                   203 LIME KILN RD
SYLVANIA, AL 35988                       LEXINGTON, TN 38351                     ANNA, IL 62906




EBANIZ, KEANNA                           EBBING JR., WILLIAM                     EBERHART SIGN & LIGHTING CO.
3185 WILLAMETTE STREET 11                1817 E MAIN ST                          104 FIRST AVE
EUGENE, OR 97405                         GALESBURG, IL 61401-5428                EDWARDSVILLE, IL 62025




EBERHART SIGN & LIGHTING CO.             EBERHART, SHEA                          EBERLY, TESSA
108 FIRST AVE                            14613 POOR FARM ROAD                    9846 MANCHESTER AVE SW
EDWARDSVILLE, IL 62025                   JOHNSTON CITY, IL 62951                 BEACH CITY, OH 44608




EBERSOHL, LAURA B.                       EBERT, CHRISTINE                        EBIE, SANDRA R.
3024 WILLOW BRANCH DRIVE                 11651 SARBAUGH ST SW                    8936 MCQUAID RD
HERRIN, IL 62948-3706                    MASSILLON, OH 44647                     ORRVILLE, OH 44667




EBMS                                     EBNER, DAVID                            EBONEY RHODES
P.O. BOX 21367                           7941 MARQUETTE DRIVE NORTH              3155 BOARDWALK LANE
BILLINGS, MT 59104                       TINLEY PARK, IL 60477                   APT 7
                                                                                 GREENVILLE, NC 27834




EBONY POWELL                             EBRIDGE INC                             EBROM, CAROL
55 CREEKVIEW BLVD                        1018 N WARD ST                          2401 TX 118
COVINGTON, GA 30016                      TAMPA, FL 33607                         ALPINE, TX 79830




EBRON, CHARLES                           EBRON, MARIAN T                         EBSCO INDUSTRIES, INC
27110 NC HWY 903                         2551 WILLOW CREEK CR                    P.O. BOX 204661
ROBERSONVILLE, NC 27871                  EVANS, GA 30809                         DALLAS, TX 75320-4661




EBSCO INDUSTRIES, INC                    EBSCO INDUSTRIES,INC                    EBSCO INVEST. SERVICES
P.O. BOX 204661                          P.O. BOX 830705                         BDA EBSCO MAGS SUB. SERVICE
PAYMENT PROCESSING CENTER                BIRMINGHAM, AL 35283                    P.O. BOX 830460
DALLAS, TX 75320-4661                                                            BIRMINGHAM, AL 35283-0000




EBSCO INVEST. SERVICES                   EBSCO MAGS                              EBSCO RECPTION ROOM SUBSCRIPTION
BDA EBSCO MAGS SUB. SERVICE              P.O. BOX 830460                         SERVICES
P.O. BOX 830460                          BIRMINGHAM, AL 35283-0460               P.O. BOX 830460
BIRMINGHAM, AL 35283-0260                                                        BIRMINGHAM, AL 35283-0460




E-BUILDER INC                            EC2 SOFTWARE SOLUTIONS                  ECCLES, STEPHANIE
P.O. BOX 392392                          3035 E PATRICK LN                       ADDRESS ON FILE
PITTSBURGH, PA 15251-9392                SUITE 1
                                         LAS VEGAS, NV 89120
ECENBARGER, GLORIA     Case 20-10766-BLS     Doc
                                     ECG TOPCO     6 Filed
                                                 HOLDINGS  LLC04/07/20   Page ECGP
                                                                              524 MANAGEMENT
                                                                                   of 1969   INC
417 WINSTON AVE NE                   ECG MANAGEMENT CONSULTANTS               26248 PARK VIEW ROAD
NORTH CANTON, OH 44720-2671          P.O. BOX 74008176                        VALENCIA, CA 91355-0000
                                     CHICAGO, IL 60674-8176




ECHAVARRIA, JENNIFER L.                ECHEVARRIA, ELVIN                      ECHIVARIA, BERNADETTE
ADDRESS ON FILE                        3743 CREEKSIDE CT                      320 LOCUST ST APT 4
                                       WINTHROP HARBOR, IL 60096              SANTA CRUZ, CA 95060




ECHOLS, AMBER                          ECHOLS, JUANITA                        ECHOLS, MORGAN
ADDRESS ON FILE                        203 TODD ST                            321 NORTH JUNGLE ROAD
                                       PARK FOREST, IL 60466                  MURPHYSBORO, IL 62966




ECHOSENS NORTH AMERICA INC             ECI HEALTHCARE PARTNERS                ECK, CHRISTOPHER M.
1050 WINTER STREET                     4075 COPPER RIDGE DRIVE                3143 RAUCHTOWN RD
WALTHAM, MA 02451                      P.O. BOX 360                           JERSEY SHORE, PA 17740
                                       TRAVERSE CITY, MI 49684




ECK, JAMES J                           ECK, JAYNE                             ECK, KATHY
700 COMMERCE DR, STE 130               ADDRESS ON FILE                        7207 QUENSHUKENY RD
OAR BROOK, IL 60523                                                           COGAN STATION, PA 17728




ECKARD, BECKY                          ECKART, LINDAY                         ECKENROAD, ALAN S.
2195 BEN FULTON RD                     1110 AUSTIN DRIVE                      13 MAGNOLIA DR
NORTH LAWRENCE, OH 44666               RED BUD, IL 62278                      LOCK HAVEN, PA 17745-1617




ECKENSTAHLER ERIC                      ECKENSTAHLER, RACHEL N.                ECKER, WILLIAM & MARY ELLEN
592 OXFORD LN                          2659 FRANKLIN CT.                      P.O. BOX 1
LINDENHURST, IL 60046                  LINDENHURST, IL 60046                  JONESBORO, IL 62952




ECKERT & ZIEGLER ISOTAPE PRODUCTS,     ECKERT AUSTIN                          ECKERT, CHRISTINE A.
INC                                    11258 S WASHTENAW                      11918 CORMOY LANE
24937 AVENUE TIBBITTS                  CHICAGO, IL 60655                      ORLAND PARK, IL 60467
VALENCIA, CA 91355




ECKERT, RUSSELL                        ECKERTY, GERRY                         ECKHARD, DARLA
111 MARINA AVE                         713 S LONGVIEW RD                      3316 HARVARD PLACE
APTOS, CA 95003                        MONTICELLO, IL 61856                   GRANITE CITY, IL 62040




ECKHARDT, THERESA                      ECKHART, HOLLY K.                      ECKINGER, LAURA
ADDRESS ON FILE                        3333 W DEYOUNG ST                      2410 CRESCENTDALE RD.
                                       MARION, IL 62959                       MAGNOLIA, OH 44643
ECKLES, ARTHUR L.            Case 20-10766-BLS
                                           ECKOLS, Doc
                                                   EMILY6     Filed 04/07/20   Page ECKOLS,
                                                                                    525 of EMILY
                                                                                            1969
593 SUPERIOR AVENUE                         613 COPPER LINE RD                      ADDRESS ON FILE
CALUMET CITY, IL 60409                      MARYVILLE, IL 62062




ECKOLS, MARTHA                              ECKROAD, JILL                           ECLINICALWORKS, LLC
1724 WATER CREST WAY B                      13126 BARRS RD SW                       P.O. BOX 847950
YOUNG HARRIS, GA 30582                      MASSILLON, OH 44647                     BOSTON, MA 02284-7950




ECMC EDUCATION CREDIT MANAGEMENT            ECMC                                    ECMC
CORP                                        LOCAL BOX 7096                          LOCK BOX 7096
LOCK BOX 8682                               P.O. BOX 16478                          P.O. BOX 16478
P.O. BOX 16478                              ST PAUL, MN 55116-0478                  ST PAUL, MN 55116-0478
ST PAUL, MN 55116



ECMC                                        ECOLAB / RABURN                         ECOLAB CENTER
LOCKBOX 7096                                P.O. BOX 100512                         P.O. BOX 70343
P.O. BOX 16478                              PASADENA, CA 91189-0512                 CHICAGO, IL 60673-0343
ST PAUL, MN 55116-0478




ECOLAB CENTER, INC.                         ECOLAB EQUIPMENT CARE                   ECOLAB FOOD SAFETY SPEC INC
P O BOX 32027                               GCS SERVICE, INC                        24198 NETWORK PLACE
NEW YORK, NY 10087-2027                     24673 NETWORK PLACE                     CHICAGO, IL 60673-1241
                                            CHICAGO, IL 60673-1246




ECOLAB FOOD SAFETY SPECIALTIES              ECOLAB FOOD SAFETY                      ECOLAB FOOD SAFETY
FORMERLY DAYDOTS                            26252 NETWORK PLACE                     SPECIALTIES INC
24198 NETWORK PLACE                         CHICAGO, IL 60673                       24198 NETWORK PLACE
CHICAGO, IL 60673-1241                                                              CHICAGO, IL 60673-1241




ECOLAB HEALTHCARE                           ECOLAB INC PEST ELIMINATION             ECOLAB INC
P.O. BOX 70343                              26252 NETWORK PLACE                     P.O. BOX 100512
CHICAGO, IL 60673-0343                      CHICAGO, IL 60673-1262                  PASADENA, CA 91189-0512




ECOLAB INC                                  ECOLAB INC/HEALTHCARE DIV               ECOLAB INC/INSTITUTIONAL DIV
P.O. BOX 70343                              P.O. BOX 100512                         P.O. BOX 100512
CHICAGO, IL 60673-0343                      PASADENA, CA 91189-0512                 PASADENA, CA 91189-0512




ECOLAB MICROTEK MED                         ECOLAB PEST ELIM DIV INC                ECOLAB PEST ELIMINATION DIV
P.O. BOX 70343                              26252 NETWORK PLACE                     26252 NETWORK PLACE
CHICAGO, IL 60673-0343                      CHICAGO, IL 60673-1262                  CHICAGO, IL 60673-1262




ECOLAB                                      ECOLAB                                  ECOLAB
FILE 4033P P.O. BOX 911633                  P.O. BOX 100512                         P.O. BOX 32027
DALLAS, TX 75391                            PASADENA, CA 91189-0512                 NEW YORK, NY 10087-2027
ECOLAB                    Case 20-10766-BLS
                                        ECOLAB Doc 6      Filed 04/07/20   Page ECOLAB
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P.O. BOX 70343                          P.O.BOX 70343                          PO BOX 70343
CHICAGO, IL 60673-0343                  CHICAGO, IL 60673-0343                 CHICAGO, IL 60673




ECOLAB, INC                             ECON-O-JOHNS                           ECU 2018 HEALTH CAREERS FAIR
P O BOX 100512                          5574 SPORTSMAN ROAD                    ECU CAREER CENTER
PASADENA, CA 91189-0512                 WATERLOO, IL 62298                     701 EAST 5TH STREET
                                                                               GREENVILLE, NC 27858




ECU CAREER SERVICES                     ED / GREAT LAKES                       ED WARREN & ASSOCIATES INC
ATTN: MEREDITH PETERS                   P.O. BOX 790321                        304 ABRAM COURT
701 EAST 5TH STREET                     ST LOUIS, MO 63179-0321                FRANKLIN, TN 37064
GREENVILLE, NC 27858




EDAP TECHNOMED, INC.                    EDDIE OLDEN                            EDDIE PARRA
5321 INDUSTRIAL OAKS BLVD               141 WEST JACKSON APT J4                3012 BOGIE CRT SE
110                                     WEST MEMPHIS, AR 72301                 DEMING, NM 88030
AUSTIN, TX 78735




EDDIE PERRY                             EDDINGS, AMANDA                        EDDINGTON, APRIL
307 N MAIN ST                           103 GRAND AVE.                         580 N RILE STREET
ALEXIS, IL 61412                        ANNA, IL 62906                         BUSHNELL, IL 61422




EDDLEMAN, KIMBERLY A.                   EDEL, JANET                            EDELMANN, TRICIA
ADDRESS ON FILE                         7350 MUDBROOK ST NW                    13210 128TH ST.
                                        MASSILLON, OH 44646                    KENOSHA, WI 53142




EDEN VILLAGE RETIREMENT COMM            EDEN, MARY M.                          EDENFIELD, SHAWN
400 S STATION RD                        17130 US HIGHWAY 67                    1191 SOUTH TRACE
GLEN CARBON, IL 62034                   JERSEYVILLE, IL 62052                  RUTLEDGE, GA 30663-2770




EDENS TYLER                             EDENS, MARY FOR LILYANNE EDENS         EDENS, MEGAN
147 WESTERFIELD PLACE                   626 POPLAR SPRINGS BARGER              750 FOUNTAIN VIEW DR E
GRAYSLAKE, IL 60030                     LEXINGTON, TN 38351                    MASCOUTAH, IL 62258




EDGAR, ROBERT                           EDGAR, WHELAN LAURA                    EDGE BIOMEDICAL LLC
604A GRAND AVE NW                       230 W WASHINGTON                       617 BRADLEY CT
FORT PAYNE, AL 35967                    COLUMBIA, IL 62236                     FRANKLIN, TN 37067




EDGE, STEPHEN P.                        EDGE, TOMMIE R.                        EDGELL, MERLE H
181 COUNTY RD 156                       1036 MONTICELLO DRIVE                  545 GRIFFITH AVE SW
CROSSVILLE, AL 35962                    MONROE, GA 30655                       MASSILLON, OH 44647
                       Case
EDGEWATER GLASS COMPANY, INC 20-10766-BLS     Doc OLIVER
                                      EDGEWORTH,   6 Filed 04/07/20      Page EDGIN,
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                                                                                     GLEAN F.
324 S PLAZA WAY                       5931 COUNTY ROAD 155                     1764 LEE 101 RD
CAPE GIRARDEAU, MO 63703              HIGDON, AL 35979                         MARIANNA, AR 72360




EDICT SYSTEMS, INC                   EDITH ELIZABETH BLACKMON                  EDITH MIDDLETON
2434 ESQUIRE DRIVE                   103 MCKINLEY CT                           8930 HIGHWAY 22S
BEAVERCREEK, OH 45431                RAEFORD, NC 28376-7058                    LEXINGTON, TN 38351




EDITH VELASQUEZ                      EDLER, JON                                EDMAR GARCIA, PETTY CASH CUSTODIAN
2117 BROADWAY                        979 GALL RD                               2600 NORTH STATE HWY 118
BLUE ISLAND, IL 60406                WATERLOO, IL 62298                        ALPINE, TX 79830




EDMISON, DIANE L.                    EDMOND R.SIMPSON                          EDMONDS BILLIE S
ADDRESS ON FILE                      1941 HOLLOW POND RD                       184 WHITE STREET
                                     WILLIAMSTON, NC 27892                     RAINSVILLE, AL 35986-6107




EDMONDS CANDICE S                    EDMONDS, BRANDON                          EDMONDS, JODIE L.
881 CLEMENTS ROAD                    3483 CR 358                               ADDRESS ON FILE
RAINSVILLE, AL 35986                 PISGAH, AL 35765




EDMONDS, KELSEY M.                   EDMONDSON, ALLIE W.                       EDMONDSON, HOLLY
888 S MICHIGAN AVE 502               C/O VIVIAN EDMONDSON                      2518 SUNFLOWER DR
CHICAGO, IL 60605                    104 WEST MAIN ST                          EVANS, GA 30809
                                     EVERETTS, NC 27825




EDMONDSON, JODI L.                   EDMONDSON, JODY                           EDMONDSON, MARY
1130 CLYDES DRIVE                    907 COUNTY RD 358                         913 LAKELAND DR
WILLIAMSTON, NC 27892                GROVEOAK, AL 35975                        WEST MEMPHIS, AR 72301




EDMONSON, SADE                       EDMS INC                                  EDMUNDS, LORENA F
ADDRESS ON FILE                      4660 MAIN ST B200                         82 WOODLAWN LN
                                     SPRINGFIELD, OR 97478                     NORTH AUGUSTA, GA 29841




EDNEY, LINDA                         EDSALL, JEAN ANN, M.D.                    EDUCARE PUBLISHING INC
18152 STATE HWY 166                  ADDRESS ON FILE                           8420 DORCHESTER ROAD SUITE 203
FORT DAVIS, TX 79734                                                           NORTH CHARLESTON, SC 29420




EDWARD DON & CO HOLDINGS LLC         EDWARD DON & COMPANY HOLDINGS LLC         EDWARD DON & COMPANY
EDWARED DON & COMPANY LLC            2562 PAYSPHERE CIRCLE                     2562 PAYSPHERE CIRCLE
9801 ADAM DON PRKWY                  CHICAGO, IL 60674-0000                    CHICAGO, IL 60674
WOODRIDGE, IL 60517-0000
EDWARD DON & COMPANY Case 20-10766-BLS
                                   EDWARDDocDON &6COMPANY
                                                    Filed 04/07/20   Page EDWARD
                                                                          528 of DON
                                                                                 1969& COMPANY
2562 PAYSPHERE CIRCLE              2562 PAYSPHERE CIRCLE                  9801 ADAM DON PARKWAY
CHICAGO, IL 60674-0000             CICAGO, IL 60674                       WOODRIDGE, IL 60517




EDWARD G FRIEDL                      EDWARD HEATHER                       EDWARD HEYWOOD
5506 BEXLEY CIR NW                   718 W DIVISION ST                    9336 S BELL
CANTON, OH 44718                     MARINE, IL 62061                     CHICAGO, IL 60643




EDWARD LIFESCIENCES                  EDWARD MCCLELLAND                    EDWARD SCHIRACK DO
ATTN:EDWARD LIFESCIENCES BOX 23146   1601 E JACKSON ST                    3722 DRESSLER RD NW
131 SOUTH DEERBORNE 6TH FL           TRLR 241                             CANTON, OH 44718
CHICAGO, IL 60603-0000               MACOMB, IL 61455




EDWARD STAUBER INC                   EDWARD W GARCIA                      EDWARD, BRANDON PAUL
2105 NORTHWESTERN AVE.               120 LANGFORD DR                      471 COUNTY RD 270
WAUKEGAN, IL 60087                   BRANDON, MS 39047-8317               FORT PAYNE, AL 35967-6867




EDWARD, DENISE D.                    EDWARD, ROBIN M.                     EDWARD, ROBIN
P.O. BOX 494                         ADDRESS ON FILE                      ADDRESS ON FILE
ELAINE, AR 72333




EDWARDIAN INN                        EDWARDS BRIDGETTE                    EDWARDS CAMESHA S
317 S BISCOE                         3871 UPPER SAXTOWN RD                1121 CARRAWAY CT
HELENA, AR 72342                     MILLSTADT, IL 62260                  COLLINSVILLE, IL 62234




EDWARDS CREATIVE SERVICES            EDWARDS CURT L                       EDWARDS DARLENE M
435 1ST ST E                         146 CATALPA DR                       292 THOMPSON DR
MILAN, IL 61264                      GRANITE CITY, IL 62040               MESQUITE, NV 89027




EDWARDS ELECTRONIC SYSTEMS, INC      EDWARDS III, HAROLD P.               EDWARDS LIFE SCIENCES
P.O. BOX 39                          ADDRESS ON FILE                      23146 NETWORK PLACE
CLAYTON, NC 27528                                                         CHICAGO, IL 60673-1231




EDWARDS LIFESCIENCES INC             EDWARDS LIFESCIENCES LLC             EDWARDS LIFESCIENCES LLC
23146 NETWORK PL                     23146 NETWORK PL                     P.O. BOX 978722
CHICAGO, IL 60673-1231               CHICAGO, IL 60673                    DALLAS, TX 75397-8722




EDWARDS LIFESCIENCES                 EDWARDS LIFESCIENCES                 EDWARDS LIFESCIENCES
23146 NETWORD PLACE                  23146 NETWORK PLACE                  23146 NETWORK PLACE
CHICAGO, IL 60673-1231               CHICAGO, IL 60673                    CHICAGO, IL 60673-1231
                       Case 20-10766-BLS
EDWARDS LIFESCIENCES(BAXTER)         EDWARDS,Doc   6 Filed
                                                AMANDA M.     04/07/20   Page EDWARDS,
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                                                                                       AMANDA
23146 NETWORK PLACE                  1459 CITY VIEW STREET 212                819 S. MAIN ST.
CHICAGO, IL 60673-1231               EUGENE, OR 97402                         ORRVILLE, OH 44667




EDWARDS, AMBER D.                      EDWARDS, AMY FOR DAVID EDWARDS         EDWARDS, ANGELA M.
ADDRESS ON FILE                        1201 ROCK MILAM RD                     ADDRESS ON FILE
                                       CEDAR GROVE, TN 38321




EDWARDS, CHARMAINE E.                  EDWARDS, CLARA M.                      EDWARDS, CYNTHIA V.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




EDWARDS, DANIEL LEE JR.                EDWARDS, DELLA-MARIE                   EDWARDS, GINGER
207 9TH ST                             ADDRESS ON FILE                        305 TIBBS BRIDGE RD
P.O. BOX 602                                                                  CHATSWORTH, GA 30705
PARK HILLS, MO 63601




EDWARDS, JENNIFER                      EDWARDS, JESSICA                       EDWARDS, JOY
ADDRESS ON FILE                        409 W RANDOLPH ST                      3 KNIGHTS BRIDGE COURT
                                       PINCKNEYVILLE, IL 62274                EDWARDSVILLE, IL 62025




EDWARDS, JULIE A.                      EDWARDS, KADY                          EDWARDS, KATIE
ADDRESS ON FILE                        14465 STATE HIGHWAY 14                 2725 SHOAL CREEK RD
                                       BENTON, IL 62812                       MONROE, GA 30656




EDWARDS, LAUREN E.                     EDWARDS, LAWRENCE                      EDWARDS, LEIGH T.
60 PURPLETOP DRIVE                     478 SCHOOL 0000000                     ADDRESS ON FILE
GRAYSON, GA 30017                      P.O. BOX 133
                                       LIVINGSTON, IL 62058




EDWARDS, LINDSEY                       EDWARDS, MAEGAN R.                     EDWARDS, MAGAN L.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




EDWARDS, MARIAH                        EDWARDS, MELINDA S.                    EDWARDS, MELISSA M.D.
ADDRESS ON FILE                        11155 PEACOCK LN                       ADDRESS ON FILE
                                       MEDORA, IL 62063




EDWARDS, NANCY E.                      EDWARDS, NICOLE MOSTACCIO              EDWARDS, PATRICIA A.
ADDRESS ON FILE                        ADDRESS ON FILE                        1200 LONG RUN RD
                                                                              MILL HALL, PA 17751
EDWARDS, REBECCA A.     Case 20-10766-BLS   Doc
                                      EDWARDS,   6 Filed 04/07/20
                                               ROBERT               Page EDWARDS,
                                                                         530 of 1969
                                                                                  ROBERT
ADDRESS ON FILE                       ADDRESS ON FILE                    902 MARILYN DR
                                                                         JOHNSTON CITY, IL 62951




EDWARDS, RONALD                       EDWARDS, SHANNON                   EDWARDS, SHERRY
ADDRESS ON FILE                       602 CHESTERFIELD COMMONS D         1571 HOWARD ROAD
                                      MOUNT VERNON, IL 62864             MARION, IL 62959




EDWARDS, TAMMY                        EDWARDS, TERRIAN L.                EDWARDS, TIMOTHY A.
140 LAKELAND DR                       18844 SHERMAN STREET               ADDRESS ON FILE
GALESBURG, IL 61401                   LANSING, IL 60438




EDWARDS, VERNADA                      EDWARDS, VERONICA M.               EDWARDSVILLE AMBULATORY SURGERY
3132 141ST ST                         14932 S MORGAN                     CENTER LLC
BLUE ISLAND, IL 60406                 HARVEY, IL 60426                   12 GINGER CREDK PARKWAY
                                                                         GLEN CARBON, IL 62034




EDWARDSVILLE AMBULATORY SURGERY       EDWARDSVILLE ORANGE SOX            EDWARDSVILLE/GLEN CARBON
CENTER, L.L.C.                        BASEBALL CLUB                      CHAMBER OF COMMERCE
208 SOUTH LASALLE STREET              4225 S. PERADOTTI RD               1 NORTH RESEARCH DR
SUITE 814                             EDWARDSVILLE, IL 62025             EDWARDSVILLE, IL 62025
CHICAGO, IL 60604



EDWIN A LEE                           EDWIN PARRISH                      EDWINA LUCERO
3306 MAYSEL ST                        311 E SIMMONS ST                   ADDRESS ON FILE
HOUSTON, TX 77080                     KENSINGTON ASSISTED LIVIN
                                      GALESBURG, IL 61401




EELYN MAURER                          EFFINGHAM DAILY NEWS               EFFMAN, DAVID
404 TROTTER DRIVE                     P.O. BOX 370                       105 KEMP RD
HAMEL, IL 62046                       EFFINGHAM, IL 62401                CROYDON, NH 03773-6208




EFRAIN RIOS                           EFSTRATIOS, KARAMIHAS              EFTEKHARI LAW OFFICES
285 YOUNGS AVE                        8977 DUBLIN ST                     701 MAIN STREET
LOCK HAVEN, PA 17745                  ORLAND PARK, IL 60462              EVANSTON, IL 60202




EFTPS - CALIFORNIA                    EFTPS                              EGAN JENNIFER
INTERNAL REVENUE SERVICE              90 HENNEPIN AVE                    7701 W ARQUILLA DR
P.O. BOX 37941                        MINNEAPOLIS, MN 55401              PALOS HEIGHTS, IL 60463
HARTFORD, CT 06176-7941




EGAN, LEANN                           EGAN, MAURA J.                     EGAN, TIMOTHY C.
ADDRESS ON FILE                       ADDRESS ON FILE                    413 CHANDELIER
                                                                         HORIZON CITY, TX 79928
EGAN, TIMOTHY            Case 20-10766-BLS     DocW.6
                                       EGAR, JOHN         Filed 04/07/20   Page EGAR,
                                                                                531 of  1969
                                                                                      JOHN
900 W ASH                               211 HARBOR ST APT 28                    4480 WHY 101
DEMING, NM 88030                        FLORENCE, OR 97439                      FLORENCE, OR 97439




EGBERT, ASHLEY                          EGERT, HAI LI                           EGGEBRECHT, THOMAS
103 S GARDEN WAY                        2318 121ST PL                           2800 SCENIC DR.
EUGENE, OR 97401                        BLUE ISLAND, IL 60406                   SUITE 4-14
                                                                                BLUE RIDGE, GA 30513




EGGEMAN, BRENDA                         EGGEMAN, CARROL D.                      EGGEMEYER AMY
988 DALTON FOX LAKE RD                  16128 FOX LAKE RD                       1120 SOUTH 14TH ST
DALTON, OH 44618-9478                   MARSHALLVILLE, OH 44645                 HERRIN, IL 62948




EGGEMEYER, ASHLEY S.                    EGGEMEYER, DAKOTA L.                    EGGEMEYER, KAILE J.
ADDRESS ON FILE                         9890 EXCHANGE RD                        ADDRESS ON FILE
                                        SPARTA, IL 62286




EGGER, TESHA                            EGGERS, BILLY R.                        EGGLESTON, PAULA J.
ADDRESS ON FILE                         1017 MEDICAL CENTER PKWY                1413 ELLINGTON COURT
                                        SELMA, AL 36701                         BETHLEHEM, GA 30620




EGGLESTONE, SEAN P.                     EGHAN, ERICA                            EGS FINANCIAL CARE INC
ADDRESS ON FILE                         4640 N SHERIDAN RD APT 907              P.O. BOX 741026
                                        CHICAGO, IL 60640                       LOS ANGELES, CA 90074-1025




EGYPTIAN EXTERMINATING INC              EHC INDUSTRIES, INC.                    EHLERS RIVERA, TAMARA L.
P O BOX 86                              366 HOLLOW HILL DRIVE                   12245 GREGORY
MARION, IL 62959                        WAUCONDA, IL 60084                      BLUE ISLAND, IL 60406




EHLERS, JUDITH                          EHLERT, JOANNE HELEN                    EHOB INC
12245 GREGORY ST                        35734 EICHER RD SE                      250 N BELMONT AVE
BLUE ISLAND, IL 60406                   ALBANY, OR 97321                        INDIANAPOLIS, IN 46222




EHR HITECH INCENTIVE PAYMENT CENTER     EHR HITECH INCENTIVE                    EHR HITECH
P.O. BOX 809338                         PO BOX 809338                           INCENTIVE PAYMENT CENTER
CHICAGO, IL 60680-9338                  CHICAGO, IL 60680                       P.O. BOX 809338
                                                                                CHICAGO, IL 60680-9338




EHRET PLUMBING & HEATING INC            EHRHEART, CHARLOTTE M.                  EHRLICH, CLAIRE
111 PREMIER DRIVE                       551 WHEATRIDGE RD                       7 PRAIRIE RD
BELLEVILLE, IL 62220                    STANSBURY PARK, UT 84074                MACOMB, IL 61455
EHRSAM, RANDALL         Case 20-10766-BLS    Doc 6 BOOSTERS
                                      EHS BASKETBALL Filed 04/07/20   Page EIBECK,
                                                                           532 ofAMBER
                                                                                   1969C.
409 SHOSHONI TRAIL                     GENNY BARKER                        3309 SUNSET TERRACE
LAKE VILLA, IL 60046                   620 MICHAEL AVE                     MARION, IL 62959
                                       EVANSTON, WY 82930




EIBECK, AMBER C.                       EICHELBERGER, BRANDY D.             EICHENAUER SERVICE
ADDRESS ON FILE                        ADDRESS ON FILE                     2465 N 22ND ST
                                                                           DECATUR, IL 62526




EICHERS, MICHAEL H.                    EICHHORN, TONI-PAT M.               EICHLER, PATRICIA
5955 LANDMARK LANE                     ADDRESS ON FILE                     P O BOX 1369
EUGENE, OR 97402-0000                                                      SUGARLOAF, CA 92386




EICKELMAN, STEPHAN                     EIDE, CAROL                         EIDEN, RAYMOND A.
P.O. BOX 135                           P.O. BOX 528                        3770 JOHNS MANVILLE AVE
309 E CROSS ST                         LOGANDALE, NV 89021-0000            GURNEE, IL 60031
DONGOLA, IL 62926




EIDSON, CRAIG                          EIGHTS, YOLANDA                     EILEEN BICE
432 MOSS TRAIL                         12244 S. ADA                        789 SWEDENBURG RD
GOODLETTSVILLE, TN 37072               CHICAGO, IL 60643                   KNOXVILLE, IL 61448




EILEEN GALLAHER                        EILEEN INNESS                       EILEEN RAYBURN
30 HOLLY LOOP                          19 PARK LANE DR                     52 WENTWOOD DR
ROSWELL, NM 88201                      GALESBURG, IL 61401                 GREENVILLE, AL 36037




EILERING, DIANE D.                     EILERS, CAITLYN                     EILERS, ROBERT W.
ADDRESS ON FILE                        13000 TROXLER AVE                   ADDRESS ON FILE
                                       HIGHLAND, IL 62249




EIPPERT, JAMES B.                      EISELE, DARREL WESTON               EISELSTEIN-CAMPO, JACQUILINE
240 MCJUNKIN RD                        4654 THUNDERBIRD ST                 P.O. BOX 456
TURTLETOWN, TN 37391                   EUGENE, OR 97404-0000               MESQUITE, NV 89024-0456




EISENBERGER, BRYAN                     EISENHAUER, MIRIAM                  EK, CHERYL A.
P.O. BOX 1240                          203 NORTH JOHNSON                   ADDRESS ON FILE
TOOELE, UT 84074-0000                  NEW ATHENS, IL 62264




EKENSTAM, DEVON                        EKINS, ROGER D.                     EKINS, STEPHEN J.
P.O. BOX 1157                          ADDRESS ON FILE                     ADDRESS ON FILE
LOGANDALE, NV 89021
EKLUND, NILS M.           Case 20-10766-BLS
                                        EKORE Doc 6        Filed 04/07/20   Page EKOS
                                                                                 533 CORPORATION
                                                                                      of 1969
2643 KINLINWOOD CT NW                   4020 VASSAR DR NE STE H                  11911 NORTH CREEK PARKWAY SOUTH
APT 5                                   ALBUQUERQUE, NM 87107                    BOTHELL, WA 98011
CANTON, OH 44708




EKTA, ESCOVAR                           EL CENTRO FAMILY HEALTH                  EL PASO DISPOSAL LP
ADDRESS ON FILE                         P.O. BOX 1928                            P O BOX 679859
                                        LAS VEGAS, NM 87701                      DALLAS, TX 75267




ELAINA N ROSSMAN                        ELAINE BASKINS                           ELAINE POLLARD
801 KNOX RD 1025E                       1518 HWY 306 E                           12440 S BENCK DR
GILSON, IL 61436                        COLT, AR 72326                           APT.107
                                                                                 ALSIP, IL 60803




ELAM, DANIELLE M.                       ELAM, JESSICA M.                         ELAM, JOSEPH, JR.
7141 PEYTON LANE                        ADDRESS ON FILE                          3706 CRAWFORDVILLE CT
MARION, IL 62959                                                                 AUGUSTA, GA 30909




ELAM, TIMOTHY                           ELAVSKY, JOYCE A.                        ELDARD, MELISSA K.
P.O. BOX 164                            613 WEBB AVE SW                          2752 RIDGELINE RD P.O. BOX 258
VANCLEVE, KY 41385                      MASSILLON, OH 44647                      STOCKTON, UT 84071




ELDEANA OGLESBY                         ELDEN CRANE                              ELDER CARE AT CHRIST CHURCH
550 GREENHILL WAY                       535 COUNTY ROAD 778                      410 GRAND AVE
LOGANVILLE, GA 30052-5583               IDER, AL 35981                           WAUKEGAN, IL 60085




ELDER, ALISSA                           ELDER, BRETT T.                          ELDER, LUTHER
10318 N. 5TH E. IDAHO FALLS ID 83402    P.O. BOX 550                             4748 RODOVICK DR
IDAHO FALLS, ID 83402                   MESQUITE, NV 89024                       YOUNG HARRIS, GA 30582




ELDER, TEMPIE                           ELDERS, MIRANDA                          ELDERS, NICHOLAS
202 GOLDMINE KNOB TRAIL                 2304 FIRST ST.                           ADDRESS ON FILE
BLAIRSVILLE, GA 30512-6312              ELDORADO, IL 62930




ELDERS, ROBBIE W.                       ELDRED, BRENTON                          ELDRED, SHAWN
P.O. BOX 142                            1213 DOLAN LANE                          70 SUNSET LN
FLAT ROCK, AL 35966                     JERSEYVILLE, IL 62052                    ELLIJAY, GA 30536




ELDREDGE, ELAINE R.                     ELDREDGE, ROBERT A.                      ELDRIDGE ESQ., ANGELA C.
P.O. BOX 310                            177 MAYS AVENUE                          25372 HWY 32
CRAWFORDSVILLE, OR 97336                HUNTINGDON, TN 38344                     MARTHA, KY 41159
ELDRIDGE, BETTY          Case 20-10766-BLS    Doc
                                       ELDRIDGE,    6 T.Filed 04/07/20
                                                 DEENA                    Page ELDRIDGE,
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                                                                                         JOHN
ADDRESS ON FILE                          ADDRESS ON FILE                       4626 W MERCURY WAY
                                                                               CHANDLER, AZ 85226




ELDRIDGE, LISA                           ELEANOR J SANDRY                      ELEANOR J SANDRY
ADDRESS ON FILE                          307 S SAGE ST                         307 S SAGE ST
                                         P.O. BOX 161                          PO BOX 161
                                         ONEIDA, IL 61467                      ONEIDA, IL 61467




ELEANOR KRAFT                            ELECTRA-MED CORP                      ELECTRIC MOTOR REBUILDERS, INC
2614 OAKVIEW ST NW                       5332 HILL-23 DR.                      196 EDWARDS DRIVE
MASSILLON, OH 44646                      FLINT, MI 48507                       JACKSON, TN 38301




ELECTRICAL CONTRACTORS, INC              ELECTRICAL PARTS SUPPLY               ELECTRICAL PRODUCTS CO, EPNM INC
1252 ALLANSON RD                         P O BOX 109                           2024 5TH ST NW
MUNDELEIN, IL 60060                      FORREST CITY, AR 72336-0109           ALBUQUERQUE, NM 87102




ELECTRO CAP INTERNATIONAL INC            ELECTRO-CAP INTERNATIONAL, INC        ELECTROMEK DIAGNOSTIC SYS
1011 WEST LEXINGTON ROAD                 P.O. BOX 87                           412 RTE 40 WEST
P O BOX 87                               EATON, OH 45320                       TROY, IL 62294-0000
EATON, OH 45320




ELECTROMEK DIAGNOSTIC SYSTEMS            ELECTROMEK DIAGNOSTIC SYSTEMS         ELECTROMEK DIAGONOSTIC SYSTEMS
412 ROUTE 40 WEST                        412 ROUTE 40 WEST                     412 ROUTE 40 WEST
TROY, IL 62294                           TROY, IL 62294                        TROY, IL 62294




ELECTROMEK SYSTEMS                       ELECTRON MICROSCOPY SCIENCES          ELECTRONIC DIAGNOSTIC & REPAIR
412 RTE 40 W                             1560 INDUSTRY RD                      7520 W WATERS AVE
TROY, IL 62294                           HATFIELD, PA 19440                    STE 16
                                                                               TAMPA, FL 33615-1599




ELEGANT RESOLUTIONS                      ELEISON, JULE                         ELEKTA, INC.
16474 W KINGSTON CT                      ADDRESS ON FILE                       P.O. BOX 404199
LINCOLNSHIRE, IL 60069                                                         ATLANTA, GA 30384-4199




ELENA CARLISLE                           ELEVATOR SAFETY GROUP                 ELEVATOR SAFETY GROUP
238 LANDMARK LN                          P.O. BOX 244                          PO BOX 244
DECATURVILLE, TN 38329                   HINSDALE, IL 60522                    HINSDALE, IL 60522




ELEVATOR SAFETY INSPECTION SER           ELFRINK, ZACHARY                      ELG, BRAD
415 N MCKINLEY STE 685                   P.O. BOX 45                           641 E. 25TH PLACE
LITTLE ROCK, AR 72205                    LEOPOLD, MO 63760                     YUMA, AZ 85365
ELGARICO, DAVID D.     Case 20-10766-BLS   Doc
                                     ELGOHARI,    6 Filed 04/07/20
                                               JENNIE                         Page ELI
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                                                                                       LAWLER
ADDRESS ON FILE                        8283 64TH CT                                415 W WALL STREET
                                       PLEASANT PRAIRIE, VILLAGE OF, WI 53158      MULBERRY GROVE, IL 62262




ELIA CHAVEZ                            ELIAS ISSA                                  ELIAS, CHRISTINA
7821 MASSASOIT AVE                     ADDRESS ON FILE                             2014 SAN MIGUEL CYN RD
BURBANK, IL 60459                                                                  SALINAS, CA 93907




ELIAS, SYDNEY                          ELIJAH CRAYTON                              ELIJAH, JOSEPH
60 OLD UNION RD                        3506 E POLK AVE                             106 CHALET DR
PARIS, TN 38242                        WEST MEMPHIS, AR 72301                      GREENVILLE, AL 36037




ELIMEY CABRERA CRUZ                    ELISA OLIVAS                                ELISARA, IOLANI
280 RIVERSIDE                          679 MONMOUTH BLVD                           2010 BORREGO DRIVE APT 36
APT 17H                                GALESBURG, IL 61401                         BARSTOW, CA 92311
MESQUITE, NV 89027




ELISARA, VAIGAFA T.                    ELISON, NATALIE E.                          ELITE BIOMEDICAL SOLUTIONS LLC
ADDRESS ON FILE                        16298 CHESTNUT ST                           756 OLD STATE ROUTE 74
                                       SESSER, IL 62884                            SUITE C
                                                                                   CINCINNATI, OH 45245




ELITE ELEVATOR INSPECTIONS LLC         ELITE MEDICAL BILLING AND CONSULTING        ELITE MEDICAL TRANSPORT LLC
P.O. BOX 472                           LLC                                         P O BOX 929
ARNOLD, MO 63010                       21452 WEBBWOOD AVE                          SANTA TERESA, NM 88008-0929
                                       PORT CHARLOTTE, FL 33954




ELITE MEDICAL TRANSPORT OF TEXAS LLC   ELIZA MILLS                                 ELIZABETH BOWLING
P O BOX 12070                          P.O. BOX 861                                ADDRESS ON FILE
EL PASO, TX 79913-0070                 PRESIDIO, TX 79845




ELIZABETH BRADSHAW                     ELIZABETH BROWN-WILSON                      ELIZABETH BURGER
1531 ALBERMARLE BEACH RD               12350 S. YALE AVE                           253 HAMELIN RD
ROPER, NC 27970                        CHICAGO, IL 60628                           AIKEN, SC 29805-7952




ELIZABETH DELARIA                      ELIZABETH DONALDSON                         ELIZABETH DOWELL
219 BRECKENRIDGE                       C/O AVRH                                    680 MAIN ST
BELLEVILLE, IL 62221                   108 LEGION DR                               FAIRVIEW, IL 61432
                                       LAS VEGAS, NM 87701




ELIZABETH HAYNES                       ELIZABETH HESTER                            ELIZABETH J BOHNER
28 BARRON DRIVE                        520 JIM DAWS RD                             429 HEBE BYPASS RD
FYFFE, AL 35971                        MONROE, GA 30656                            HERNDON, PA 17830
ELIZABETH J MYERS        Case 20-10766-BLS     Doc
                                       ELIZABETH     6 Filed 04/07/20
                                                 L JOHNSTON             Page ELIZABETH
                                                                             536 of 1969
                                                                                       MERTES
614 DUCLOS STREET                      4841 PATTON DR                        5917 WENTWORTH LANE
PRAIRIE DU ROCHER, IL 62277            OLIVE BRANCH, MS 38654-7420           CANTON, OH 44706




ELIZABETH MILLER                      ELIZABETH MINCY APRN-C                 ELIZABETH MONTROY
ADDRESS ON FILE                       19478 POWERLINE RD                     ADDRESS ON FILE
                                      GRAFTON, IL 62037




ELIZABETH OLAGUE                      ELIZABETH PIERSON                      ELIZABETH RAULSTON
1609 STADIUM                          ADDRESS ON FILE                        226 TOLLIVER TRAIL
BIG SPRING, TX 79720                                                         TOWNSEND, TN 37882




ELIZABETH REGISTER                    ELIZABETH RITTER                       ELIZABETH TILLEY
GALESBURG, IL 61401                   705 N 12TH                             10560 MULKEYTOWN RD
                                      HERRIN, IL 62948                       MULKEYTOWN, IL 62865




ELIZABETH WIEGMANN                    ELIZABETH WILLS                        ELIZABETH WORKMAN
8058 AUSTIN DR                        1708 ADAMSBURG ROAD                    2801 JACKSON AVE
TROY, IL 62294                        FORT PAYNE, AL 35967                   ASHLAND, KY 41102-0000




ELIZABETHS CUSTOM CATERING            EL-KHATIB, RUNDA MD                    ELKINS BETTY S
1645 W 2200 S                         ADDRESS ON FILE                        2305 KYLE DR
WEST VALLEY CITY, UT 84119                                                   COLUMBIA, MO 65203




ELKINS REBECCA J                      ELKINS SR, CHARLES                     ELKINS, IRENE G.
2451 DOG TROT ROAD                    7115 LARDON RD NW                      525 HARVEY LAKE
FRENCHBURG, KY 40322                  WAYNESBURG, OH 44688-9604              VERNON HILLS, IL 60061




ELKINS, LISA                          ELKINS, MARILYN K.                     ELKINS, SHERYL T.
2214 MARTHA AVE. N.E.                 65 BRADSHAW ROAD                       ADDRESS ON FILE
CANTON, OH 44705                      ANNA, IL 62906




ELKO, KANDI L.                        ELKS, JENNIFER G.                      ELKS, SABRINA C.
9521 THOMAS STREET                    1359 JOHNNY GRIFFIN RD                 ADDRESS ON FILE
MULKEYTOWN, IL 62865                  ROBERSONVILLE, NC 27871




ELLA JOYNER                           ELLA MORRIS                            ELLEN GERBER
P.O. BOX 434                          ADDRESS ON FILE                        4571 WESTON RD
ATWOOD, TN 38220                                                             CASANOVA, VA 20139
ELLEN GOMEZ              Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                       ELLEN HAMILTON                 Page ELLEN
                                                                           537 of   1969
                                                                                 K KELLER
815 KAITLYN DR                         1686 S MT ZION RD                   107 ROBINSON ROAD
LOGANVILLE, GA 30052-6928              GREENVILLE, AL 36037-6215           SALEM, IL 62881




ELLEN LINTNER, PA                    ELLEN MCKNIGHT                        ELLER ALTON Y
3722 DRESSLER RD NW                  ADDRESS ON FILE                       3003 ALABAMA AVENUE SW
CANTON, OH 44718                                                           FORT PAYNE, AL 35967




ELLER, CATHERINE D.                  ELLER, CATHERINE                      ELLERT, MICHELE
ADDRESS ON FILE                      ADDRESS ON FILE                       710 FAIRVIEW CHURCH ROAD
                                                                           HUNTINGDON, TN 38344




ELLET, MADILYN                       ELLEVOLD, BOBBY                       ELLI, ELIZABETH
ADDRESS ON FILE                      19 TACOMA DR                          ADDRESS ON FILE
                                     TOOELE, UT 84074




ELLIJAY TELEPHONE COMPANY            ELLING DAVID B                        ELLINGFORD BROS
POB 2149                             1294 NAPA CREEK DR                    P.O. BOX 727
ELLIJAY, GA 30540                    EUGENE, OR 97404-0000                 EVANSTON, WY 82931-0727




ELLINGTON, CHARLES                   ELLINGTON, PATRICIA R.                ELLINGTON, ROSELYN
914 HARVEST LN                       914 HARVEST LN                        3139 RODGER AVE
MONROE, GA 30655-2073                MONROE, GA 30655-2073                 GRANITE CITY, IL 62040




ELLINGTON, SIERRA                    ELLIOT COBB JR                        ELLIOT DATA SYSTEMS, INC
ADDRESS ON FILE                      913 CLAY ST                           17825 EDISON AVE
                                     FRANKLIN, VA 23851-1306               CHESTERFIELD, MO 63005




ELLIOT NEWCOM                        ELLIOT, RHONDA S.                     ELLIOT, STEFFAN
8718 D ROAD                          459 COVENANT STREET                   5594 PHILLIPS 401 RD
WATERLOO, IL 62298                   BETHLEHEM, GA 30620                   HELENA, AR 72342




ELLIOTT DORIS M                      ELLIOTT DOUGLAS                       ELLIOTT ERIN L
5102 GREENHILL BLVD                  840 200TH AVE                         840 200TH AVE
FORT PAYNE, AL 35968                 MONMOUTH, IL 61462                    MONMOUTH, IL 61462




ELLIOTT, ALICE M.                    ELLIOTT, ALICE                        ELLIOTT, ARLEEN G.
ADDRESS ON FILE                      ADDRESS ON FILE                       142 LOVIN ROAD
                                                                           MURPHY, NC 28906
ELLIOTT, ARLEEN          Case 20-10766-BLS
                                       ELLIOTT, Doc 6
                                                CATHY      Filed 04/07/20   Page ELLIOTT,
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BRMG                                    540 SAND HILL RD                         ADDRESS ON FILE
                                        SCOTTS VALLEY, CA 95066




ELLIOTT, CONNIE D.                      ELLIOTT, DAVID, MD                       ELLIOTT, DOUGLAS
1975 SOUTHERLAND DR.                    105 MILLS AVE, SUITE 300                 840 200TH AVE
FORREST CITY, AR 72335                  LAS VEGAS, NM 87701                      MONMOUTH, IL 61462




ELLIOTT, EVELYN                         ELLIOTT, EVELYN                          ELLIOTT, FRED
1909 KIPLING AVE. NW                    49 HYATT DR.                             P.O. BOX 183
MASSILLON, OH 44646                     MINERAL BLUFF, GA 30559                  55 ELLEN ST
                                                                                 CYPRESS, IL 62923




ELLIOTT, KATHERINE I.                   ELLIOTT, KEITH                           ELLIOTT, KELSEY M.
5437 PORTAGE ST NW                      P.O. BOX 546                             ADDRESS ON FILE
N. CANTON, OH 44720                     MORA, NM 87732




ELLIOTT, KIMBERLY D.                    ELLIOTT, NORIE                           ELLIOTT, PENNI LEIGH
ADDRESS ON FILE                         33 9TH STREET SW                         24878 W DEMMING RD
                                        MASSILLON, OH 44647                      P.O. BOX 299
                                                                                 ELMIRA, OR 97437




ELLIOTT, PHYLLIS                        ELLIOTT, RICHARD K.                      ELLIOTT, SAMANTHA
11172 SOUTH HERMOSA                     6103 SORRENTO AVENUE NW                  61 S PINE ST
CHICAGO, IL 60643                       CANTON, OH 44718                         WAYNE, WV 25570




ELLIOTT, SARAH E.                       ELLIOTT, SHERALYN M.                     ELLIOTT, THOMAS
ADDRESS ON FILE                         ADDRESS ON FILE                          11623 S LEAMINGTON AVE
                                                                                 WORTH, IL 60482




ELLIOTT, VICTORIA                       ELLIOTT, WILLIAM R.                      ELLIQUENCE, LLC
ADDRESS ON FILE                         1782 PULLTIGHT AVE                       2455 GRAND AVENUE
                                        CARTERVILLE, IL 62918                    BALDWIN, NY 11510




ELLIS FENCE CO                          ELLIS KERRI                              ELLIS LIONEL W
28633 US HWY 58                         ADDRESS ON FILE                          ADDRESS ON FILE
BARSTOW, CA 92311




ELLIS MELISSA L                         ELLIS, ADRIAN M.                         ELLIS, ALISHA
1205 EBENEZEER CHURCH RD                ADDRESS ON FILE                          110 TOBACCO STICK RD
JONESBORO, IL 62952                                                              PURYEAR, TN 38251-4719
ELLIS, ANDRE            Case 20-10766-BLS      Doc 6 Filed 04/07/20
                                      ELLIS, CELESTE                  Page ELLIS,
                                                                           539 of   1969 G.
                                                                                  CHARLES
1050 W NEVADA ST                      603 W EPPERSON DR                    ADDRESS ON FILE
GLENWOOD, IL 60425-1027               MCLEANSBORO, IL 62859




ELLIS, DAKOTA F.                     ELLIS, DESHAWN                        ELLIS, FALLON
3530 COUNTY ROAD 88                  ADDRESS ON FILE                       ADDRESS ON FILE
PISGAH, AL 35765




ELLIS, FALLON                        ELLIS, HEAVEN L.                      ELLIS, JANICE P.
6514 NORTH MILL SPRINGS LANE         201 PAMELA DR.                        ADDRESS ON FILE
WALTONVILLE, IL 62894                WYNNE, AR 72396




ELLIS, JENNA M.                      ELLIS, KAREN J.                       ELLIS, KARIN
ADDRESS ON FILE                      ADDRESS ON FILE                       885 OLD 22 LANE
                                                                           HUNTINGDON, TN 38344




ELLIS, KEIRA B.                      ELLIS, KELLY R.                       ELLIS, KELSEY M.
158 SOUTHSIDE LN                     ADDRESS ON FILE                       214 STAMPER LANE
PAINTSVILLE, KY 41240                                                      DUNLOW, WV 25511




ELLIS, KERRI M.                      ELLIS, LIONEL W.                      ELLIS, LISA
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




ELLIS, MEGAN B.                      ELLIS, MORGAN                         ELLIS, RICHARD
ADDRESS ON FILE                      ADDRESS ON FILE                       1301 FRANK ST APT 9
                                                                           GALESBURG, IL 61401




ELLIS, SARAH R.                      ELLIS, STEVEN KENNETH                 ELLIS, TIFFANY L.
ADDRESS ON FILE                      38960 PENGRA RD                       ADDRESS ON FILE
                                     FALL CREEK, OR 97438




ELLIS, TOMMY                         ELLIS-ANWYL, RHEA H.                  ELLISON, AMANDA
2984 BOARDTOWN ROAD                  P.O. BOX 51015                        686 PITTMAN RD
ELLIJAY, GA 30540-1890               EUGENE, OR 97405                      OPP, AL 36467-1349




ELLISON, FERN                        ELLISON, JENNIFER L.                  ELLISON, KAREN A.
ADDRESS ON FILE                      74 KEPHART MOUNTAIN DR                3218 FENN STREET
                                     MURPHY, NC 28906                      BIG SPRING, TX 79720
ELLISON, PATRICIA         Case 20-10766-BLS
                                        ELLISON,Doc 6 Filed 04/07/20
                                                PATRICIA                        Page ELLISON,
                                                                                     540 of ROBERT
                                                                                              1969 L.
2698 PARKWAY COURT                      2698 PARKWAY COURT                           725 OAK HOLLOW CT
GALESBURG, IL 61401                     GALESBURG, IL 61401-1180                     OFALLON, IL 62269




ELLISTON, MARY L.                       ELLKAY LLC                                   ELLNER, JOANNA R.
9812 N. HALL LANE                       200 RIVERFRONT BLVD                          ADDRESS ON FILE
WALTONVILLE, IL 62894                   3RD FLR
                                        ELMWOOD PARK, NJ 07407




ELLSTON LINDA L                         ELLSWORTH JANEL                              ELLSWORTH, JOEL
32433 YOUNGS DR                         103 PLEASANT RIDGE DR                        ADDRESS ON FILE
BARSTOW, CA 92311                       EDWARDSVILLE, IL 62025




ELLSWORTH, MADISON                      ELLSWORTH, SHERRI                            ELMATARI, JOANNA
9903 BROOKVIEW DR                       247 E 200 AVE P.O. BOX 184 PATOKA, IL        14812 MARILYNN LN
URBANDALE, IA 50322                     62875                                        HOMER GLEN, IL 60491
                                        PATOKA, IL 62875




ELMER L FALER JR                        ELMER, JONIE ELYSE                           ELMORE PAULA
297 N SPERRY ST                         ADDRESS ON FILE                              129 NORTHWOODS DR
BUSHNELL, IL 61422                                                                   TROY, IL 62294




ELMORE, ROBERTA H.                      ELOISE SKELTON,MD                            ELOUISE FOUNTAIN
853 ST BENEDICT DRIVE                   ADDRESS ON FILE                              120 WEAVER DR
EAST ST LOUIS, IL 62206-1414                                                         WILLIAMSTON, NC 27892-1533




ELPIS HEALTHCARE INC                    ELROD, BUTCH                                 ELROD, WANDA
ATTN: DR VIVEK MANCHANDA                1004 MALLARD DRIVE NE                        442 CAVIN AVE
9918 GRANDVIEW FOREST CT                FORT PAYNE, AL 35967                         WINTHROP HARBOR, IL 60096
ST LOUIS, MO 63127




ELROY N SCHULER & LIZBETH SCHULER JT    ELSASS, MARY L.                              ELSBERRY, TYLER
TEN                                     2409 EASTWOOD AVE NE                         608 SPRINGBANK TER
1781 TYNE BLVD                          MASSILLON, OH 44646                          BIRMINGHAM, AL 35242
NASHVILLE, TN 37215-4815




ELSEA, AIMEE R.                         ELSEVIER INC                                 ELSEVIER INC-ARGI
ADDRESS ON FILE                         P.O. BOX 9533                                P.O. BOX 9546
                                        NEW YORK, NY 10087-9533                      NEW YORK, NY 10087-4546




ELSEVIER                                ELSEVIER                                     ELSEVIER, INC.
3251 RIVERPORT LANE                     P.O. BOX 7247-6683                           P.O. BOX 848
MARYLAND HEIGHTS, MO 63043              PHILADELPHIA, PA 19170                       CAROL STREAM, IL 60132-0848
ELSEY, KATHERINE        Case 20-10766-BLS    DocMEDHAT
                                      ELSHERBINI, 6 Filed 04/07/20   Page ELSIE
                                                                          541 GIBSON
                                                                                of 1969
1234 S CANDELESTICK WAY               ADDRESS ON FILE                     255 W TOMPKINS ST
WAUKEGAN, IL 60085                                                        APT 204
                                                                          GALESBURG, IL 61401




ELSPERMAN, JONNIE KAY               ELSTON, CAROL                         ELSTON, LAURA A.
137 N PENCE ST                      11918 PERRY ST                        538 CEREZE ST
EAST ALTON, IL 62024                WESTMINSTER, CO 80031                 WATSONVILLE, CA 95076




ELSTON, NICHOLAS                    ELTGROTH, JOHN MICHAEL                ELTON FOWLER
538 CEREZE STREET                   4860 CAMELLIA ST                      P.O. BOX 25
WATSONVILLE, CA 95076               SPRINGFIELD, OR 97478                 TURRELL, AR 72384




ELTON, DOUGLAS C.                   ELUM, THOMAS                          ELVINA ANDERSON
ADDRESS ON FILE                     4240 BRIARHILL ST SW                  551 2ND SOUTH ST
                                    MASSILLON, OH 44646                   MESQUITE, NV 89027




ELVIRA VILLASENOR                   ELVIS, BEVERLY                        ELWELL, LOU ANN
3413 W 124TH ST                     21321 SURREY DR                       203 E ASH ST
ALSIP, IL 60858                     LAURINBURG, NC 28352                  COBDEN, IL 62920




ELY KRISTEN L                       ELY, VESTA E.                         EMBCC
3148 AUBREY AVE                     191 TUMLIN RD                         P.O. BOX 400
GRANITE CITY, IL 62040              RAINSVILLE, AL 35986                  SAN ANTONIO, TX 78292




EMBICK, CARY ANN                    EMBLEM HEALTH                         EMBREY, TODD M.
55 RAES CREEK DR                    P.O. BOX 29101                        16248 CASTLEREA BLVD
GRANITE CITY, IL 62040              REFUNDS                               ELLISVILLE, MO 62234
                                    NEW YORK, NY 10087




EMBRICH, BETHANY                    EMC INSURANCE COMPANIES               EMC RISK SERVICES
5938 SUGAR LOAF RD                  P.O. BOX 712 717 MULBERRY             P.O. BOX 9399
COLLINSVILLE, IL 62234              DES MOINES, IA 50306-0712             DE MOINES, IA 50306




EMC RISK SERVICES                   EMCARE INC                            EMCARE PHYSICIAN SERVICE INC.
PO BOX 9399                         7032 COLLECTION CTR DR                7032 COLLECTION CENTER DR
DE MOINES, IA 50306                 CHICAGO, IL 60693                     CHICAGO, IL 60693




EMCARE PHYSICIAN SERVICES, INC      EMCARE, INC.                          EMCOR SERVICES TEAM MECHANICAL
7032 COLLECTION CTR DRIVE           EMERGENCY MEDICAL SERVICES            431 LEXINGTON DR
CHICAGO, IL 60693                   CORPORATION                           BUFFALO GROVE, IL 60089
                                    1717 MAIN STREET
                                    DALLAS, TX 75201
EMCOR SERVICES, INC /30   Case 20-10766-BLS    Doc 6COMPANY
                                        EMD MILLIPORE Filed 04/07/20        Page EMD
                                                                                 542MILLIPORE
                                                                                     of 1969CORP
AIRCOND                                 25760 NETWORK PLACE                     25760 NETWORK PLACE
POB 945617                              CHICAGO, IL 60673                       CHICAGO, IL 60673
ATLANTA, GA 30394-5617




EMD MILLIPORE CORP                      EMD MILLIPORE CORP                      EMD MILLIPORE CORPORATION
25760 NETWORK PLACE                     400 SUMMIT DRIVE                        25760 NETWORK PLACE
CHICAGO, IL 60673-1257                  BURLINGTON, MA 01803                    CHICAGO, IL 60673-1257




EMEDCO INC                              EMEDCO                                  EMELANDER, KELLY L.
39209 TREASURY CTR                      P.O. BOX 95904                          ADDRESS ON FILE
CHICAGO, IL 60694-9200                  CHICAGO, IL 60694-5904




EMELIA WANG, M.D.                       EMERALD CRUM                            EMERALD KIDSPORTS
1100 CENTRAL AVE SE                     P.O. BOX 19494                          2190 POLK STREET
ALBUQUERQUE, NM 87106                   JONESBORO, AR 72403                     EUGENE, OR 97401




EMERALD RESTAURANT SERVICE              EMERGENCY CARE RESEARCH INSTITUTE       EMERGENCY EQUIPMENT PROFESSIONALS
914 GENEVA ST                           LB 1472                                 P.O. BOX 1739
SHOREWOOD, IL 60404                     P.O. BOX 95000                          SOUTHAVEN, MS 38671
                                        PHILADELPHIA, PA 19195-0001




EMERGENCY EQUIPMENT PROFESSIONALS       EMERGENCY EQUIPMENT PROFESSIONALS,      EMERGENCY MEDICAL PRODUCTS INC
P.O. BOX 1739                           INC                                     25196 NETWORK PLACE
SOUTHHAVEN, MS 38671                    6441 HWY 51 N                           CHICAGO, IL 60673-1251
                                        HORNLAKE, MS 38637




EMERGENCY MEDICAL                       EMERGENCY MEDICINE PHYS OF BLUE         EMERGENCY NURSES ACCOCIATION-
25196 NETWORK PLACE                     ISLAND LLC                              MEMBERSHIP
CHICAGO, IL 60673                       4535 DRESSLER ROAD NW                   P.O. BOX 2898
                                        CANTON, OH 44718                        DES PLAINES, IL 60017-9905




EMERGENCY NURSES ASSOCIATION            EMERGENCY PHYSICIANS INTEGRATED         EMERGENCY PHYSICIANS INTEGRATED
P.O. BOX 83314                          CARE                                    CARE, LLC
CHICAGO, IL 60691-3314                  333 N 300 W                             P.O. BOX 96398
                                        SALT LAKE CITY, UT 84103                OKLAHOMA CITY, OK 73143-6398




EMERGENCY STAFFING SOL INC              EMERGENCY STAFFING                      EMERICK, .TAYLOR L
17304 PRESTON ROAD                      SOLUTIONS, INC                          213 5TH AVE
SUITE 1400                              17304 PRESTON RD STE 1400               EDWARDSVILLE, IL 62025
DALLAS, TX 75252                        DALLAS, TX 75252




EMERICK, MICKI S.                       EMERICK, SCOTT                          EMERY JESSICA M
ADDRESS ON FILE                         ADDRESS ON FILE                         6 WHITECHAPEL CT
                                                                                GLEN CARBON, IL 62034
EMERY, EMILY             Case 20-10766-BLS    Doc 6 F.Filed 04/07/20
                                       EMERY, KATHLEEN                 Page EMERY,
                                                                            543 ofKATHY
                                                                                   1969L.
10149 SARAVILLE RD                      ADDRESS ON FILE                     605 SINCLAIR AVE
MARION, IL 62959                                                            SOUTH ROXANA, IL 62087




EMERY, NATASHA L.                       EMERY, TAMMY                        EMERY, TODD J.
ADDRESS ON FILE                         107 E THIRD ST                      822 E. 580 N.
                                        EAST GALESBURG, IL 61430            TOOELE, UT 84074




EMERY-PRATT CO.                         EMESIBE, ANNE                       EMGE, STEPHANIE
1966 W M 21                             5510 COUNTRY DRIVE 34               543 ADMIRAL WENDT PKWY
OWOSSO, MI 48867-9317                   NASHVILLE, TN 37211                 MILLSTADT, IL 62260




EMI HEALTH                              EMI HEALTH                          EMI HEALTH
5101 S SOMMERCE DR                      5101 SOUTH COMMERCE DRIVE           5101 SOUTH COMMERCE DRIVE
MURRAY, UT 84107                        MURRAY, UT 84017                    MURRAY, UT 84107




EMI HEALTH                              EMI                                 EMIG, HARRIET E.
ATTN: CLAIMS                            RECOVERY SERVICES                   78 VIOLET LANE
852 E. ARROWHEAD LANE                   5101 SOUTH COMMERCE DRIVE           MINERAL BLUFF, GA 30559
MURRAY, UT 84107-5298                   MURRAY, UT 84107




EMILY CALHOUN                           EMILY FERGUSON                      EMILY L ANDREWS
328 BOYSCOUT RD                         11638 S ARTESIAN AVE                1900 SW BARNARD ST
AUGUSTA, GA 30909                       CHICAGO, IL 60655                   GLEN ROSE, TX 76043-0000




EMILY LEAVITT                           EMILY RADTKE                        EMILY STIPE
P.O. BOX 91                             ADDRESS ON FILE                     3321 S BOWMAN RD
MOAPA, NV 89025-0091                                                        LITTLE ROCK, AR 72211




EMKEY, PATTI                            EMLER, KATHERINE                    EMMA KRABILL - CEO
2957 SUNLIGHT RD                        640 RAMSGATE. RD                    SCENIC MOUNTAIN MEDICAL CENTER
ELLIJAY, GA 30540-6547                  EL PASO, TX 79907                   1601 WEST ELEVENTH PLACE
                                                                            BIG SPRINGS, TX 79720




EMMA WALKER                             EMMA, GREGORY                       EMMERT, CAROL S.
ADDRESS ON FILE                         644 EAST COACH LANE                 ADDRESS ON FILE
                                        GRANTSVILLE, UT 84029




EMMETT FAMILY TRUST                     EMMETT LEAH                         EMMETT THOMPSON
P.O. BOX 190                            1460 G STREET                       6882 MILHAVEN AVE NW
POWERS, OR 97466                        SPRINGFIELD, OR 97477               CANAL FULTON, OH 44614
EMMETT, LEAH A.          Case 20-10766-BLS
                                       EMMONSDoc 6
                                             PETER        Filed 04/07/20      Page EMMONS,
                                                                                   544 of 1969
                                                                                           ADAM R.
1631 VERA DRIVE                        1342 N 650 E                                14 PEARL CT
SPRINGFIELD, OR 97477                  TOOELE, UT 84074                            GRANITE CITY, IL 62040




EMMONS, MARCY A.                       EMORY CLINIC INC, THE                       EMORY STUBBS
ADDRESS ON FILE                        550 PEACHTREE ST NE                         1069 TATER CREEK RD
                                       ATLANTA, GA 30308                           LUVERNE, AL 36049




EMORY, SYLVIA A., M.D.                 EMPEY, CYNTHIA                              EMPIRE BCBS
ADDRESS ON FILE                        ADDRESS ON FILE                             165 BROADWAY
                                                                                   NEW YORK, NY 10006




EMPIRE BCBS                            EMPIRE DOCK INC                             EMPIRE HEALTHCHOICE
P.O. BOX 7368                          FUNDS RECOVERY DEPT                         P.O. BOX 7368/GA083E-0014
COLUMBUS, GA 31908                     HEALTH PLAN P.O. BOX 4816                   ATTN ASSURANCE
                                       MASSILLON, OH 44648                         COLUMBUS, GA 31908




EMPLOYERS & OPERATING ENGINEERS        EMPLOYERS ASSUR CO                          EMPLOYERS ATTN DOCUMENT PROCESSING
LOCAL 520                              10375 PROFESSIONAL CIRCLE                   2550 PASEO VERDE PARK
EIGHT EXECUTIVE WOODS COURT            RENO, NV 89521-4802                         SUITE 100
SWANSEA, IL 62226-0000                                                             HENDERSON, NV 89074




EMPLOYERS MUTUAL CASUALTY CO           EMPLOYERS MUTUAL CASUALTY CO                EMPLOYERWARE, LLC
P.O. BOX 712                           PO BOX 712                                  DBA POSTER COMPLIANCE CENTER
717 MULBERRY                           717 MULBERRY                                3687 MT DIABLO BLVD, STE B100
DES MOINES, IA 50306                   DES MOINES, IA 50306                        LAFAYETTE, CA 94549-3744




EMPLOYMENT DEVELOPMENT DEPARTMENT      EMPLOYMENT SECURITY DIVISION                EMPOWER BENEFITS INC
P.O. BOX 989056                        P.O. BOX 2288 BENEFITS INTEGRITY PRO        3606 ENTERPRISE AVE
ATTN: WAGE GARNISHMENTS                GRAM                                        STE 304
WEST SACRAMENTO, CA 95798-9056         CARSON CITY, NV 89702-2288                  NAPLES, FL 34104




EMPOWER IDS                            EMPOWER PHARMACY                            EMPOWHER
1200 HARGER ROAD, STE 408              5980 W SAM HOUSTON PKWY N STE 300           C/O CHAMBER OF COMMERCE
OAK BROOK, IL 60523                    HOUSTON, TX 77041                           221 WEST MAIN ST
                                                                                   COLLINSVILLE, IL 62234




EMPRINT / MORAN PRINTING, INC          EMPRINT DOCUMENT SOLUTIONS                  EMPRINT DOCUMENT SOLUTIONS
P.O. BOX 54023                         5425 FLORIDA BLVD                           5425 FLORIDA BLVD.
NEW ORLEANS, LA 70154-4023             BATON ROUGE, LA 70806                       BATON ROUGE, LA 70806




EMPRINT DOCUMENT SOLUTIONS             EMPRINT DOCUMENT SOLUTIONS                  EMPRINT DOCUMENT SOLUTIONS
P O BOX 54023                          P.O. BOX 54023                              P.O. BOX 54023
NEW ORLEANS, LA 70154-4023             NEW ORLEANS, LA 70154                       NEW ORLEANS, LA 70154-4023
                      Case 20-10766-BLS
EMPRINT DOCUMENT SOLUTIONS          EMPRINTDoc     6 Filed
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                                                        SOLUTIONS     Page EMPRINT
                                                                           545 of MORAN
                                                                                   1969 PRINTING, INC
P.O. BOX 54023                      P.O. BOX 54023                         P.O. BOX 54023
NEW ORLEANT, LA 70154               NEW ORLEANS, LA 70154-4023             NEW ORLEANS, LA 70154-4023




EMPRINT                              EMPRINT/MORAN PRINTING INC            EMPRINT/MORAN PRINTING
P.O. BOX 54023                       P.O. BOX 54023                        P.O. BOX 54023
NEW ORLEANS, LA 70154-4023           NEW ORLEANS, LA 70154-4023            NEW ORLEANS, LA 70154-4023




EMPRINT/MORAN PRINTING, INC          EMPRINT/MORAN PRINTING, INC           EMPRINT/MORAN PRINTING, INC.
5425 FLORIDA BLVD                    P.O. BOX 54023                        P.O. BOX 54023
BATON ROUGE, LA 70806                NEW ORLEANS, LA 70154-4023            NEW ORLEANS, LA 70154-4023




EMS CONSULTANTS LTD                  EMS CONSULTANTS                       EMS LEARNING RESOURCE CENTER
P O BOX 707                          P.O. BOX 2584                         200 HAWKINS DRIVE
WEST POINT, GA 31833                 LAGRANGE, GA 30241                    S608 GH
                                                                           IOWA CITY, IA 52242




EMS SURGICAL                         EMSAR INTERMOUNTAIN                   EMT ASSOCIATES
801 N OLD TRAIL                      2421 W WILLOW HAVEN AVE               2275 ROCKY LANE
SELINSGROVE, PA 17870                LEHI, UT 84043                        EUGENE, OR 97401




EMT ASSOCIATES                       EN SEASON                             ENA COURSEWORK
2275 ROCKY LN                        2900 W MAIN ST                        P.O. BOX 83314
EUGENE, OR 97440-2399                GALESBURG, IL 61401                   CHICAGO, IL 60691-3314




ENABABOR, IZIENGBE ANNETTE           ENABABOR, IZIENGBE ANNETTE            ENARSAO, MYLYNE
ADDRESS ON FILE                      ADDRESS ON FILE                       862 W 660 S
                                                                           TOOELE, UT 84074




ENCARNACION C. KENNEDY               ENCARNACION, CLARA                    ENCARNACION, CLARA
14461 NARCISSE DR.                   ADDRESS ON FILE                       ADDRESS ON FILE
EASTVALE, CA 92280




ENCARNACION, CLARA                   ENCE, DARRYL K.                       ENCHANTED GARDEN, THE
ADDRESS ON FILE                      ADDRESS ON FILE                       114 E DAVIE ST
                                                                           ANNA, IL 62906




ENCINIAS II, DAVID A.                ENCINIAS, ASHLEY                      ENCINIAS, STEPHANIE
304 NM HIGHWAY 65                    ADDRESS ON FILE                       ADDRESS ON FILE
LAS VEGAS, NM 87701
ENCORE MEDICAL LP        Case 20-10766-BLS
                                       ENCORE Doc 6 INC.Filed 04/07/20
                                              REHAB.                     Page END
                                                                              546ZONE
                                                                                  of 1969
                                                                                      ATHLETICS
DBA DJO SURGICAL                         251 JOHNSTON ST                      P.O. BOX 530898
P.O. BOX 660126                          SUITE 200                            GRAND PRAIRIE, TX 75053
DALLAS, TX 75266-0126                    DECATUR, AL 35601




ENDERS, TYRONE                           ENDICOTT EUNICE ALMA                 ENDICOTT, BRENDA
9 HOLLY ST                               658 S 57TH ST SPC 38                 109 ENDICOTT DRIVE
PINE APPLE, AL 36768                     SPRINGFIELD, OR 97478                INEZ, KY 41224




ENDICOTT, TYLER                          ENDICOTT, WAYNE ALVIN                ENDLICH, RANDY
121 EZEKIEL LANE                         38739 FLOWERDALE DR                  561 CARVER ST NW
FORT GAY, WV 25514                       SPRINGFIELD, OR 97478                MASSILLON, OH 44647-5339




ENDO TECHNOLOGIES, INC                   ENDOCHOICE, INC.                     ENDOCHOICE, INC.
6650 NEW NASHVILLE HWY                   11810 WILLS ROAD                     P.O. BOX 200109
SUITE 100                                ALPHARETTA, GA 30009                 PITTSBURG, PA 15251-0109
SMYRNA, TN 37167




ENDOCHOICE, INC.                         ENDOCHOICE,INC                       ENDOCRINE & DIABETES OF SO IL
P.O. BOX 200109                          P.O. BOX 200109                      3020 S PARK AVE
PITTSBURGH, PA 15251-0109                PITTSBURGH, PA 15251-0109            HERRIN, IL 62948




ENDOFILTER INC                           ENDOGASTRIC SOLUTIONS INC.           ENDOGASTRIC SOLUTIONS INC.
P.O. BOX 390066                          DEPT CH 16859                        DEPT CH 16859
EDINA, MN 55439-0066                     PALATINE, IL 60055-6859              PALESTINE, IL 60055-6859




ENDOGASTRIC SOLUTIONS                    ENDOLOGIX, INC                       ENDOSOFT LLC
8210 154TH AVENUE NE                     P.O. BOX 848291                      135 BROADWAY
REDMOND, WA 98052                        DALLAS, TX 75284                     SCHENECTADY, NY 12305




ENDRES, ERIKA M.                         ENDRIZZI, STACIE                     ENDRIZZI, STACIE
75 C.D.E. LANE                           12443 VILLA WAY                      ADDRESS ON FILE
MURPHYSBORO, IL 62966                    JOHNSTON CITY, IL 62951




ENDSLEY, ERIC J.                         ENDTHOFF, GENE                       ENDURACARE ACUTE CARE SERVICES, LLC
1878 HAPPY LN APT 41                     2146 SUDHI AVE                       P.O. BOX 654072
EUGENE, OR 97401                         GALESBURG, IL 61401                  DALLAS, TX 75265-4072




ENDURANCE RISK SOLUTIONS ASSURANCE       ENERGY BALANCE & INTEGRATION         ENERGY MANAGEMENT CORPORATION
CO.                                      8915 ADAMS STREET NE                 501 W 700 S
3780 MANSELL ROAD STE 400                SUITE A                              SALT LAKE CITY, UT 84101
ALPHARETTA, GA 30022                     ALBUQUERQUE, NM 87113
ENESCO, LLC               Case 20-10766-BLS   DocPROTECTIVE
                                        ENFORCERS 6 FiledSERVICES
                                                            04/07/20   Page ENG
                                                                            547SCIENTIFIC,
                                                                                of 1969 INC.
P.O. BOX 26257                          4361 THORNGATE LANE                 PO B0X 1589
26257 NETWORK PLACE                     ACWORTH, GA 30101                   82 INDUSTRIAL EAST
CHICAGO, IL 60673-1262                                                      CLIFTON, NJ 07012




ENG, BRIANSCOTT                         ENGAGE SEARCH LLC                   ENGEBRETSON, SARAH
1118 MELODIE LANE                       P.O. BOX 281                        15800 114TH CT
COLONA, IL 61241                        BRENTWOOD, TN 37024                 ORLAND PARK, IL 60467




ENGELHARDT, DUSTIN J.                   ENGELHARDT, JONATHAN                ENGELHART, PAMELA
ADDRESS ON FILE                         8708 SCOTSBURY GLEN ST NW           1582-1 SKYRIDGE DRIVE
                                        MASSILLON, OH 44646                 CRYSTAL LAKE, IL 60014




ENGELS, SARA E.                         ENGEMANN, CARL                      ENGLAND, ALANA
512 S. HIGH PASTURE WAY                 5020 GRADY SMITH RD                 6249 N CHERRYVILLE LN
GRANTSVILLE, UT 84029                   LOGANVILLE, GA 30052-3673           WALTONVILLE, IL 62894




ENGLAND, ALICIA FOR JAMES ENGLAND       ENGLAND, CHRISTINE                  ENGLAND, DESIREE
P.O. BOX 362                            400 COPPER BEND RD                  ADDRESS ON FILE
DECATURVILLE, TN 38329                  MARYVILLE, IL 62062




ENGLAND, JOHN                           ENGLAND, MAZILE                     ENGLAND, RICHARD L.
7325 E MARCH RD                         507 PIONEER                         ADDRESS ON FILE
WOODLAWN, IL 62898                      TOOELE, UT 84074




ENGLAND, RICHARD                        ENGLAND, SHERRI L.                  ENGLE, STEPHANIE
ADDRESS ON FILE                         ADDRESS ON FILE                     103 WEST LINCOLN ST
                                                                            COLLINSVILLE, IL 62234




ENGLE, TONI M.                          ENGLE, TONI                         ENGLEHARDT, REBECCA O.
222 N 5TH STREET                        61401                               ADDRESS ON FILE
MONMOUTH, IL 61462




ENGLESON, BARBARA                       ENGLISH CATHY                       ENGLISH LUCAS PRIEST & OWSLEY LLP
8320 NW MITCHELL DR                     304 E JUNE ST                       P.O. BOX 770
CORVALLIS, OR 97330                     ALPINE, TX 79830                    BOWLING GREEN, KY 42102-0770




ENGLISH, EDWARD                         ENGLISH, JEANNIE L.                 ENGLISH, LEONARD G.
49 BLANCA LN SPC 97                     203 DEAN GAP ROAD                   49 BLANCA LANE SPACE 97
WATSONVILLE, CA 95076                   BLAIRSVILLE, GA 30512               WATSONVILLE, CA 95076
ENGLISH, MARY T.         Case 20-10766-BLS   Doc
                                       ENGLUND,    6 Filed
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                                                                                    PAMELA
463 CANYON VIEW WAY                    221 WILDFLOWER LANE                 37736 UPPER CAMP CREEK RD
MESQUITE, NV 89027                     ROUND LAKE BEACH, IL 60073          SPRINGFIELD, OR 97478-8753




ENGMAN, BRITTANY                       ENGMAN, BRITTANY                    ENGMAN, CAMREE N.
ADDRESS ON FILE                        ADDRESS ON FILE                     P.O. BOX 91186
                                                                           SALT LAKE CITY, UT 84109




ENKE, ALAN A                           ENLIVEN LLC                         ENLOE, KRISTINE D.
C/O RAY QUINNEY & NEBEKER              4322 HARDING PIKE                   ADDRESS ON FILE
P.O. BOX 45385                         STE 417
SALT LAKE CITY, UT 84145-0385          NASHVILLE, TN 37205




ENNEMOSER, COURTNEY                    ENNIS WILLIAM C                     ENNIS, ASHLEY
10998 MOUNT EATON RD                   248 FAIRINGTON                      ADDRESS ON FILE
MARSHALLVILLE, OH 44645-9742           TROY, IL 62294




ENNIS,. RANDALL F                      ENOCH, LATOYA                       ENOMOTO, HEATHER N.
7 ROSEWOOD CT                          1412 MCFADDEN ST                    6303 175TH ST
STEELEVILLE, IL 62288                  PARIS, TN 38242                     TINLEY PARK, IL 60477




ENRIGHT, KATE                          ENRIQUE ALFARO, MD                  ENRIQUEZ, AMY
16141 DEBRA DRIVE                      1301 BERTHA HOWE AVE                1405 MESA P.O. BOX 2648
OAK FOREST, IL 60452                   STE 1                               BIG SPRING, TX 79720
                                       MESQUITE, NV 89027




ENRIQUEZ, AMY                          ENRIQUEZ, ANGIE M.                  ENRIQUEZ, ARCILIA
RE: PATIENT REFUND                     106 WEST CHURCH ST                  1405 E GALLEGO
P.O. BOX 2648                          WILLIAMSTON, NC 27892               ALPINE, TX 79830
BIG SPRING, TX 79720




ENRIQUEZ, CINTHIA                      ENRIQUEZ, NICOLE                    ENSEMBLE HEALTH RCM LLC
2122 MARSHALL PKWY                     463 PRIMROSE LANE                   13620 REESE BLVD
WAUKEGAN, IL 60085                     MESQUITE, NV 89027                  STE 200
                                                                           HUNTERVILLE, NC 28078




ENSLEN, DONNA                          ENSLEY, GENE                        ENSLEY, ROBERT
ADDRESS ON FILE                        247 COX RD                          5 HOPEWELL RD.
                                       BLUE RIDGE, GA 30513                MURPHY, NC 28906




ENSLEY, RONNIE J.                      ENSLEY, ROY                         ENSLEY, TERRASINA
17 NORTH CHURCH ST                     2958 MOUNTAIN TOPS RD               ADDRESS ON FILE
MCCAYSVILLE, GA 30555                  BLUE RIDGE, GA 30513
ENSLEY, TERRASINA Y.        Case 20-10766-BLS    DocBRIANNA
                                          ENSMINGER, 6 FiledL. 04/07/20         Page ENSO
                                                                                     549 EWING
                                                                                          of 1969
                                                                                               NORTHERN SUPPORT
ADDRESS ON FILE                            11712 SOUTH SACRAMENTO DRIVE              ORGANIZATION
                                           MERRIONETTE PARK, IL 60803                EWING GRADE SCHOOL
                                                                                     51 NORTH MAIN ST
                                                                                     EWING, IL 62836-0000



ENT & SLEEP MEDICINE ASSOC                 ENTEC SERVICES                            ENTEC SERVICES
509 HAMACHER STE 205                       SOY CAPITAL BANK                          SOY CAPITAL BANK
WATERLOO, IL 62298                         P.O. BOX 9459                             PO BOX 9459
                                           PEORIA, IL 61614                          PEORIA, IL 61614




ENTEGRA PROCUREMENT SERVICES               ENTEGRA PROCUREMENT SRVS INC              ENTEGRA PROCUREMENT SRVS INC
P.O. BOX 360170                            SODEXO PERFORMANCE INTERIORS              SODEXO PERFORMANCE INTERIORS
PITTSBURGH, PA 15261-6170                  P.O. BOX 360170                           P.O. BOX 360170
                                           PITTSBURG, PA 15251-6170                  PITTSBURGH, PA 15261-6170




ENTELLUS MEDICAL INC                       ENTELLUS MEDICAL INC                      ENTELLUS MEDICAL, INC
29780 NETWORK PLACE                        FKA SPIROX INC                            29780 NETWORK PLACE
CHICAGO, IL 60673-1297                     3600 HOLLY LN - STE 40                    CHICAGO, IL 60673-1297
                                           PLYMOUTH, MN 55447




ENTELLUS MEDICAL, INC                      ENTERGY ARKANSAS INC                      ENTERGY ARKANSAS
3600 HOLLY LANE N. STE 40                  P.O. BOX 8101                             639 LOYOLA AVE
PLYMOUTH, MN 55447                         BATON ROUGE, LA 70891-8101                NEW ORLEANS, LA 70113




ENTERLINE, WILLIAM                         ENTERPRISE COLLECTION BRANCH              ENTERPRISE COLLECTIONS
2129 CANTON RD NW                          501 HIGH STREET                           DEPARTMENT OF REVENUE
CARROLLTON, OH 44615-8619                  P.O. BOX 491                              P.O. BOX 491
                                           FRANKFORT, KY 40602                       FRANKFORT, KY 40602-0491




ENTERTAINMENT WEEKLY                       ENV SERVICES INC                          ENV SERVICES, INC
PROF SUBSCRIPTION SERV                     C/O MUNICIPAL AUTH OF S HEIDELBERG        P.O. BOX 510862
1271 AVENUE OF AMERICAS                    P.O. BOX 37836                            PHILADELPHIA, PA 19175
NEW, NY 10020                              BALTIMORE, MD 21297-7836




ENV SERVICES, INC. 1145                    ENVIRO ASSESSMENTS EAST INC               ENVIRO CLEAN SERVICES LLC
P.O. BOX 37836                             10705 HWY 55 W                            15091 N LOOP LN
BALTIMORE, MD 21297-7836                   DOVER, NC 28526                           MT VERNON, IL 62864




ENVIRO HEALTH SERVICES LLC                 ENVIROMENTAL CONSULTANTS, LLC             ENVIRONMENTAL CONTROL SOLUTIONS,INC.
2757 CENTERVILLE ROSEBUD RD                6 MEADOW HEIGHTS PROF PK                  201 SPRING STREET
SNELLVILLE, GA 30039                       COLLINSVILLE, IL 62234                    PEORIA, IL 61603




ENVIRONMENTAL CONTROL                      ENVIRONMENTAL CONTROLS CORP               ENVIRONMENTAL SAFETY PROFESSIONALS
9360 SANTA ANITA SUIT 103                  15954 SW 72ND AVE                         INC
RANCHO CUCAMONGA, CA 91730                 TIGARD, OR 97224                          7419 KNIGHTDALE BLVD
                                                                                     STE 115
                                                                                     KNIGHTDALE, NC 27545
                       Case C20-10766-BLS
ENVIRONMENTAL TEST & BALANCE                  DocCHEMICAL
                                      ENVIROTECH  6 Filed   04/07/20
                                                          SERVICES INC        Page ENVISE
                                                                                   550 of 1969
6692 FLETCHER CREEK COVE              500 WINMORE WAY                             680 PILOT RD C
MEMPHIS, TN 38133                     MODESTO, CA 95358                           LAS VEGAS, NV 89119




ENVISE                                 ENVISION ADVANTAGE LLC                     ENVISION COMM DEVELOPMENT
7390 LINCOLN WAY                       4633 TROUSDALE DR                          822 E MAIN ST, STE H
GARDEN GROVE, CA 92841                 NASHVILLE, TN 37204                        GRANTSVILLE, UT 84029




ENVISION HEALTHACRE                    ENVISION PRODUCTIONS, INC                  ENWEMADU, ANGEL
1A BURTON HILLS BLVD                   644 WEST IRIS DR                           4079 BEECH OVERLOOK LANE
NASHVILLE, TN 37215                    NASHVILLE, TN 37204                        BUFORD, GA 30518




EOC1, LLC                              EOFF, CHRISTINA                            EOFF, LLOYD E
1360 UNION HILL RD, 4G                 1000 ROWENA ST S                           65 CR 656
ALPHARETTA, GA 30004                   APT 2                                      WYNNE, AR 72396
                                       WYNNE, AR 72396




EPA - REGION 1                         EPA - REGION 10                            EPA - REGION 2
5 POST OFFICE SQUARE                   1200 SIXTH AVE                             290 BROADWAY
SUITE 100                              SUITE 900                                  NEW YORK, NY 10007-1866
BOSTON, MA 02109-3912                  SEATTLE, WA 98101




EPA - REGION 3                         EPA - REGION 4                             EPA - REGION 5
1650 ARCH ST                           ATLANTA FEDERAL CENTER                     77 W JACKSON BLVD
PHILADELPHIA, PA 19103-2029            61 FORSYTH ST SW                           CHICAGO, IL 60604-3507
                                       ATLANTA, GA 30303-3104




EPA - REGION 6                         EPA - REGION 7                             EPA - REGION 8
FOUNTAIN PLACE 12TH FL, STE 1200       11201 RENNER BLVD                          1595 WYNKOOP ST
1445 ROSS AVE                          LENEXA, KS 66219                           DENVER, CO 80202-1129
DALLAS, TX 75202-2733




EPA - REGION 9                         EPIMED INTERNATIONAL, INC                  EPIPHANY HEALTHCARE DATA
75 HAWTHORNE ST                        141 SAL LANDRIO DR                         MANAGEMENT
SAN FRANCISCO, CA 94105                CROSSROAD BUSINESS PARK                    3000 E BOUNDARY TERRACE
                                       JOHNSTOWN, NY 12095                        SUITE 2
                                                                                  MIDLOTHIAN, VA 23112



EPIX ANESTHESIA OF ALABAMA,LLC ATTN:   EPIX ANESTHESIA OF CENTRAL ILLINOIS,       EPKER, ELEANOR
KYLE SMITH                             LLC                                        3130 WEST MONROE
1080 HOLCOMB BRIDGE RD                 1080 HOLCOMB BRIDGE RD                     APT 308
BLDG 100, SUITE 330                    BLDG 100, STE 330                          WAUKEGAN, IL 60085
ROSWELL, GA 30076                      ROSWELL, GA 30076



EPLUS GROUP INC FOR BENEFIT OF         EPLUS GROUP INC                            EPPERLEY, ROBERT
PNC BANK, ESCROW AGENT                 P.O. BOX 8500-5270                         1302 BROEKING RD
P.O. BOX 392458                        PHILADELPHIA, PA 19178-5270                MARION, IL 62959
CLEVELAND, OH 44193
EPPERSON JOYCE A         Case 20-10766-BLS   Doc
                                       EPPERSON,   6 A.Filed 04/07/20
                                                 JOYCE                  Page EPPERSON,
                                                                             551 of 1969
                                                                                       PATRICIA S.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




EPPERSON, VICKIE L.                     EPPING, ROBERT G.                    EPPLIN, BEVERLY
161 DESERT DRIVE 40                     1620 LINDELL                         3712 WEEPING WILLOW CT
MESQUITE, NV 89027                      GRANITE CITY, IL 62040               WATERLOO, IL 62298




EPPLIN, FREDERICK                       EPPS, LATASHA S.                     EPPS, VALINE
24814 N. CAROLINA RD                    ADDRESS ON FILE                      501 E 14TH ST
ASHLEY, IL 62808                                                             SCOTLAND NECK, NC 27874




EPS INC                                 EPS INC                              EPS INC
CUSTOMER XX-XXXXXXX                     LOCK BOX 427                         P.O. BOX 427
LOCK BOX 427                            JAMISON, PA 18929-0427               JAMISON, PA 18929
JAMISON, PA 18929-0427




EPS, INC                                EPS, INC                             EPS, INC
CUST XX-XXXXXXX                         CUSTOMER 55 - 0004038                CUSTOMER 55 - 0014495
LOCK BOX 427                            LOCKBOX 427                          LOCK BOX 427
JAMISON, PA 18929-0427                  JAMISON, PA 18929-0427               JAMISON, PA 18929-0427




EPS, INC                                EPS, INC                             EQUIAN ATTN REFUNDS
CUSTOMER 55 - 0038164                   LOCK BOX 427                         P.O. BOX 36380
LOCKBOX 427                             JAMISON, PA 18929-0427               LOUISVILLE, KY 40233
JAMISON, PA 18929-0427




EQUIAN LLC                              EQUIAN                               EQUIAN
P.O. BOX 277                            BIN 141989                           P.O. BOX 36460
BIN 141989                              P.O. BOX 277                         ATTN: CLAIMS SUPPORT
INDIANAPOLIS, IN 46206                  INDIANAPOLIS, IN 42606               LOUISVILLE, KY 40233




EQUICLAIM HEALTHCARE                    EQUIHUA GUTIERREZ, TANIA J.          EQUIPMENT PLUS
701 E 22ND ST                           688 E 670 N                          3530 DIAMOND DRIVE
STE 200                                 TOOELE, UT 84074                     GREENVILLE, NC 27834
LOMBARDO, IL 60148




EQUITABLE LIFE & CASUALITY              EQUITABLE LIFE & CASUALTY            EQUITABLE LIFE & CASUALTY
P.O. BOX 1980                           ATTN: PAYMENT RECOVERY               P.O. BOX 2460
SALT LAKE CITY, UT 84110                P.O. BOX 1980                        SALT LAKE CITY, UT 84110
                                        SALT LAKE CITY, UT 84110-1980




EQUITABLE LIFE & CASUALTY               EQUITABLE LIFE AND CASUALTY          EQUITABLE LIFE
P.O. BOX 2460                           P.O.BOX 2460                         P.O. BOX 2460
SALT LAKE CITY, UT 84110-2460           SALT LAKE CITY, UT 84110             SALT LAKE CITY, UT 84110
EQUITABLE                  Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                         ERANDI LIYANAARACHCHI                 Page ERASGA,
                                                                                    552 of MERLE
                                                                                            1969 B.
PO BOX 2460                              1460 G STREET                              1212 CRYSTAL BEND
SALT LAKE CITY, UT 84110                 SPINGFIELD, OR 97477                       MONROE, GA 30655




ERBE USA INC SURGICAL SYSTEMS            ERBE USA INC                               ERBE USA INC
2225 NORTHWEST PARKWAY                   2225 NORTHWEST PKWY                        2225 NORTHWEST PRKWY
MARIETTA, GA 30067-9317                  MARIETTA, GA 30067-9317                    MARIETTA, GA 30067-9317




ERBE USA INCORPORATED                    ERBE USA, INC                              ERBE USA, INC
2225 NORTHWEST PARKWAY                   2225 NORTHWEST PARKWAY                     2225 NORTHWEST PKWY
MARIETTA, GA 30067-9317                  MARIETTA, GA 30067                         MARIETTA, GA 30067




ERBE USA, INC                            ERCIN, HAYRIYE                             ERDAL, DAVID P.
2225 NORTHWEST PKWY                      1740 HICKORY STATION CIR                   ADDRESS ON FILE
MAXIETTA, GA 30067                       SNELLVILLE, GA 30078




ERES, AVICHAI                            ERGOGENESIS WORKPLACE SOLUTIONS            ERGOSCIENCE, INC.
ADDRESS ON FILE                          LLC                                        201 OFFICE PARK DRIVE 150
                                         ONE BODYBILT PLACE                         BIRMINGHAM, AL 35223
                                         NAVASOTA, TX 77868




ERGOTRON                                 ERIC BIBENS, II, GEORGE LAMB, JOHN         ERIC D TREASTER
P.O. BOX 74008013                        BOND, JOSHUA DUFRESNE, RICHARD             1738 LAUREL RUN RD
CHICAGO, IL 60674-8013                   DEXTER, III, ROBERT FLINT, STEPHEN LYON    BEECH CREEK, PA 16822
                                         JACKSON LEWIS PC
                                         ATTN: MARTHA VAN OOT, ESQ.
                                         100 INTERNATIONAL DR, STE 363
                                         PORTSMOUTH, NH 03801

ERIC HOLGUIN                             ERIC K HARRISON                            ERIC NORDSIECK MD
ADDRESS ON FILE                          910 BLUFF RD                               ADDRESS ON FILE
                                         BRENTWOOD, TN 37027-8315




ERIC PALACIOS & ASSOCIATES LTD           ERIC PETERSON                              ERIC SCHULER
C/O KRITINA R WELLER, WELLER LAW         1045 JEFFERSON ST                          2 HANSON DR
10040 W CHEYENNE AVE, STE 170-151        GALESBURG, IL 61401                        GRANITE CITY, IL 62040
LAS VEGAS, NV 89129




ERICA DIAZ                               ERICA LEAR                                 ERICA MAHAN
14310 CLEARVIEW COURT                    ADDRESS ON FILE                            5352 COUNTY ROAD 43
ORLAND PARK, IL 60462                                                               FYFFE, AL 35971




ERICA MILLER                             ERICA N CLARKSON                           ERICKSON CAROL P
ADDRESS ON FILE                          ADDRESS ON FILE                            P.O. BOX 242
                                                                                    LYMAN, WY 82937-0242
ERICKSON JAMES          Case 20-10766-BLS    Doc
                                      ERICKSON    6 Filed
                                               JENNIFER L 04/07/20   Page ERICKSON,
                                                                          553 of 1969
                                                                                    ALYSSA L.
1116 CHESTERFIELD LN                  1371 E DAYTON ST                    514 MONMOUTH BLVD APT3
GRAYSLAKE, IL 60030                   GALESBURG, IL 61401                 GALESBURG, IL 61401




ERICKSON, CRYSTAL                     ERICKSON, JANEL B.                  ERICKSON, KATHY A.
575 CACTUS ROSE DRIVE P.O. BOX 584    ADDRESS ON FILE                     ADDRESS ON FILE
STOCKTON, UT 84071




ERICKSON, MAUREEN                     ERICKSON, MERCEDEZ R.               ERICKSON, ROBERT, M.D.
572 NORTH STATE HIGHWAY               ADDRESS ON FILE                     1101 LINCOLN AVE
GRANTSVILLE, UT 84029                                                     HIGHLAND PARK, IL 60035




ERICKSON, UTAHNA L.                   ERICSON, MITCHELL                   ERICSON, PATRICIA E.
ADDRESS ON FILE                       972 MULBERRY ST                     ADDRESS ON FILE
                                      GALESBURG, IL 61401




ERICSON, VICTORIA                     ERICSSON, JAMES                     ERIE FAMILY HEALTH CENTER-PRS
248 N WESTVIEW DR                     P.O. BOX 1402                       1701 WEST SUPERIOR ST
KNOXVILLE, IL 61448                   LOGANDALE, NV 89021-1402            3RD FLOOR
                                                                          CHICAGO, IL 60622




ERIE FAMILY HEALTH FOUNDATION         ERIE INSURANCE GRP                  ERIK RODRIGUEZ
1701 WEST SUPERIOR STREET             100 ERIE INSURANCE                  2506 CENTRAL DRIVE
3RD FLOOR                             ERIE, PA 16530                      BIG SPRING, TX 79720
CHICAGO, IL 60622




ERIK VANFOSSAN                        ERIKA LUCAS                         ERIKA WINCHESTER
C/O MINDY VANFOSSAN GILBERT           337 LITTLE CREEK ROAD               ADDRESS ON FILE
FUNERAL HOME 209 N EMMA ST            PIKEVILLE, KY 41501
CHRISTOPHOR, IL 62822




ERIKS, LAURA                          ERIN FRIEDMAN                       ERIN HAMBLETON
1004 MOCKINGBIRD LANE                 ADDRESS ON FILE                     ADDRESS ON FILE
CARTERVILLE, IL 62918




ERIN KUEHN                            ERIN MCCLURE                        ERIN SANDER
219 ROSE LANE                         959 WASHINGTON AVE                  ADDRESS ON FILE
RED BUD, IL 62278                     GALESBURG, IL 61401




ERINLE, AYODELE                       ERIVEZ, MELISSA M.                  ERLANDSON DAVID
100 CAMINO VEGA VERDE                 ADDRESS ON FILE                     380 120TH AVE
CORRALES, NM 87048                                                        SMITHSHIRE, IL 61478
ERLANDSON, ANGIE M.      Case 20-10766-BLS
                                       ERLINDA Doc 6 Filed
                                               GONOWON, RN 04/07/20   Page ERLINDO,
                                                                           554 of 1969
                                                                                    JOSE ANDRES
ADDRESS ON FILE                                                            908 CLARK AVENUE NE
                                                                           FORT PAYNE, AL 35967




ERLINGER, JOY J.                       ERMA CARTER                         ERMA SKALLBERG
116 BRENNAN                            P.O. BOX 5392                       421 150TH ST
COLLINSVILLE, IL 62234                 WEST MEMPHIS, AR 72303              UNSWORTH TERI HCPOA
                                                                           SEATON, IL 61476




ERMLER, MICHAEL J.                     ERN ENTERPRISES INC                 ERNEST TANYA C
122 W 29TH ST                          5856 CORPORATE AVE                  1490 COUNTY RD 103
SOUTH CHICAGO HEIGHTS, IL 60411        STE 110                             MENTONE, AL 35984
                                       CYPRESS, CA 90630




ERNIE PETERSON PLUMBING                ERNST & YOUNG-ATLANTA-933514        ERNST & YOUNG-ATLANTA-933514
2421 DELANY ROAD                       155 FRANKLIN RD, STE 310            WELLS FARGO BANK NA
WAUKEGAN, IL 60087                     BRENTWOOD, TN 37027                 P.O. BOX 933514
                                                                           ATLANTA, GA 31193-3514




ERNST, JEANETTE M.                     ERNST, JOSEPH J.                    ERNSTMEYER, TRACY M.
ADDRESS ON FILE                        2046 BRIARBEND COURT                24941 87TH ST UNIT 3
                                       MARYVILLE, IL 62062                 SALEM, WI 53168




ERNSTSEN, BRITTANY                     ERSKINE, REED                       ERTL-NOVICK, KRISTIN
ADDRESS ON FILE                        133 WHITELAWN AVE                   26230 W BAYBERRY CT
                                       WOOD RIVER, IL 62095                CHANNAHON, IL 60410




ERVIN L MORRIS                         ERVIN MILLER, TONYA S.              ERVIN, BRITNEY K.
115 PRAIRIE COURT                      112 DALE AVE NW                     ADDRESS ON FILE
KNOXVILLE, IL 61448                    STRASBURG, OH 44680




ERVIN, DANIEL H.                       ERVIN, ISAAC                        ERVIN, MELANIE
300 S MAIN ST                          411 N 22ND ST                       1650 COUNTY ROAD 153
APT 3                                  ST LOUIS, MO 63103                  FORT PAYNE, AL 35967
EDWARDSVILLE, IL 62025




ERVIN, NANCY                           ERVIN, TERESA                       ERWIN, AUTUMN
850 RALLS LANE                         4061 COUNTY ROAD 88                 ADDRESS ON FILE
DONGOLA, IL 62926-2142                 FORT PAYNE, AL 35968




ERWIN, BRENDA K.                       ERWIN, GLORIA                       ESAREY, BRENDA
1437 ENGLEWOOD LANE                    75 WOODS LANE                       3321 DRYSDALE CT
ODESSA, TX 79761                       MCKENZIE, TN 38201                  EDWARDSVILLE, IL 62025
ESCALANTE, CECILIA         Case 20-10766-BLS     Doc
                                         ESCAMILLA,   6 G.Filed 04/07/20
                                                    MARIA                     Page ESCANUELAS,
                                                                                   555 of 1969 STEVE
18101 66TH CT                            420 PAW PAW LN                            510 N. NE. 10TH STREET
TINLEY PARK, IL 60477-4106               MCKENZIE, TN 38201                        BIG SPRING, TX 79720




E-SCAPE SYSTEMS CORP                    ESCARCEGA, JESUS S.                        ESCARENO, ELVA L.
DBA POWERFLOW SOLUTIONS                 P.O. BOX 193                               303 LAS LOMAS DR
P.O. BOX 771470                         PRESIDIO, TX 79845                         WATSONVILLE, CA 95076
ST LOUIS, MO 63177-9816




ESCARENO, MIGUEL                        ESCARRILLA, MARINA E.                      ESCHBACH, MATTHEW R.
6205 HWY 549 SE                         ADDRESS ON FILE                            2165 BENTON ST APT A
DEMING, NM 88030                                                                   GRANITE CITY, IL 62040




ESCHMAN, PATRICIA A.                    ESCOBAR, DARLENE S.                        ESCOBAR, DARLENE S.
3384 CORNWALL DRIVE NW                  ADDRESS ON FILE                            2620 W FLORIDA AVE
CANTON, OH 44708                                                                   WAUKEGAN, IL 60087




ESCOBAR, DONNA L.                       ESCOBAR, JUANITA M.                        ESCOBARGOMEZ, LUIS C.
6055 ROCKHOUND RD SE                    ADDRESS ON FILE                            943 MAGNOLIA AVE
DEMING, NM 88030                                                                   GURNEE, IL 60031




ESCOBEDO, ABIGAIL R.                    ESCOBEDO, EDWARD                           ESCOBEDO, GLAFIRA
4201 MIDLAND AVE                        937 WESTMORELAND AVE                       P.O. BOX 7475
SNYDER, TX 79549                        WAUKEGAN, IL 60085                         BUNKERVILLE, NV 89007




ESCOBEDO, LENA N.                       ESCOBIA, SYBIL N.                          ESCOTT, LEROY J.
13656 TEAGUE LN APT 7                   ADDRESS ON FILE                            1055 COUNTY ROAD 57
CORPUS CHRISTI, TX 78410                                                           FORT PAYNE, AL 35967-4311




ESCOVAR, EKTA S.                        ESCOVAR, RAPHAEL M.                        ESCREEN INC
ADDRESS ON FILE                         ADDRESS ON FILE                            P.O. BOX 25902
                                                                                   OVERLAND PARK, KS 66225




ESCREEN INC                             ESCREEN, INC                               ESCREEN, INC.
P.O. BOX 25902                          P.O. BOX 734764                            P.O. BOX 654094
OVERLAND PARK, MO 66225                 DALLAS, TX 75373-4764                      DALLAS, TX 75265-4094




ESHAM, FRED                             ESI HEALTHCARE BUSINESS SOLUTIONS          ESI
C/O FRED ESHAM/15100 HWY 1690           LLC                                        275 COMMERCE DRIVE
LOUISA, KY 41230                        4144 N CENTRAL EXPRESSWAY SUITE 210        ROCHESTER, NY 14623
                                        DALLAS, TX 75204-1907
ESIS                    Case 20-10766-BLS
                                      ESIS    Doc 6 Filed 04/07/20   Page ESIS
                                                                          556 of 1969
P O BOX 6561                          P.O. BOX 5134                      P.O. BOX 6569
SCRANTON, PA 18505-6561               SCRANTON, PA 18505                 SCRANTON, PA 18505-6569




ESIS                                ESKELSON, HEIDI                      ESKEW, LAURA L.
PO BOX 5134                         679 MULBERRY ST                      ADDRESS ON FILE
SCRANTON, PA 18505                  STANSBURY PARK, UT 84074




ESLINGER, THOMAS                    ESMERALDA PADILLA                    ESMON VICKIE L
10462 W. ASTER ROAD                 11251 S LAMON AVE                    316 N 4TH ST
ST. JACOB, IL 62281-1830            ALSIP, IL 60803                      DUPO, IL 62239




ESON, JOYCE                         ESPANA RUIZ, ANAI                    ESPARZA, BRAULIO
2710 HUNTERS CROSSING DR            3800 TICKSEED DR                     12740 GREGORY ST APT 1
EDWARDSVILLE, IL 62025              ZION, IL 60099                       BLUE ISLAND, IL 60406




ESPARZA, ELIEL                      ESPARZA, IRAIS D.                    ESPARZA, IRAIS
13315 REXFORD ST                    13361 GREENWOOD AVENUE               13361 GREENWOOD AVE
BLUE ISLAND, IL 60406               BLUE ISLAND, IL 60406-2932           APT 1
                                                                         BLUE ISLAND, IL 60406-5075




ESPARZA, RAFAEL S.                  ESPARZA, YOLANDA                     ESPEJO, GERARDO MANUEL I.
13318 ANN STREET                    8114 WHEELER DR                      1105 N ROSSER STREET APT 6
BLUE ISLAND, IL 60406               ORLAND PARK, IL 60462                FORREST CITY, AR 72335




ESPENSCHIED, BRITTANY L.            ESPERANZA CORREA                     ESPINDOLA JIMENEZ, MARIA D.
103 HASWELL CIRCLE                  1011 SYCAMORE ST                     74 LAWRENCE AVE
STRASBURG, OH 44680                 BIG SPRING, TX 79720-0000            WATSONVILLE, CA 95076




ESPINO, ROBERTA                     ESPINOSA, JAMIE R.                   ESPINOSA, NORITA
ADDRESS ON FILE                     386 SUMMER LANE                      P.O. BOX 2255
                                    GRANTSVILLE, UT 84029                OVERTON, NV 89040-2255




ESPINOZA ARTHUR                     ESPINOZA TOM                         ESPINOZA, AMRI
916 NICHOLAS CRT                    P.O. BOX 307                         1401 N US HWY 87 203
BERNALILLO, NM 87004                MORA, NM 87732-0307                  BIG SPRING, TX 79720




ESPINOZA, CARLA J.                  ESPINOZA, ESPERANZA                  ESPINOZA, GUADALUPE M.
ADDRESS ON FILE                     15 CARLENE CT                        169 CARNATION DR.
                                    FREEDOM, CA 95019                    FREEDOM, CA 95019
ESPINOZA, IRENE R.      Case 20-10766-BLS    Doc
                                      ESPINOZA,    6 Filed 04/07/20
                                                VALERIE                 Page ESPINOZAGARCIA,
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506 CHRISTINE DR.                      3528 PATE ROAD                       2178 LUNA LANE
LAS VEGAS, NM 87701                    SNELLVILLE, GA 30078                 GAINESVILLE, GA 30504




ESPRESSO AND GIFTS FROM THE HEART      ESPY, KAYLA M.                       ESPY, VIOLETTA M.
1460 G ST                              ADDRESS ON FILE                      ADDRESS ON FILE
SPRINGFIELD, OR 97477




ESQUIBEL, BERTHA M.                    ESQUIVEL ROBERTO                     ESQUIVEL, LORENA D.
2209 N GONZALES                        1114 S WHITCOMB AVE                  26728 S WILDGRASS TURN
LAS VEGAS, NM 87701                    INDIANAPOLIS, IN 46241               MONEE, IL 60449




ESQUIVEL, TOMMY A.                     ESS OF MARION LLC                    ESSARY, MISTY
3355 CANTO RD SE                       P.O. BOX 95968                       424 SNAKE HILL RD
DEMING, NM 88030                       OKLAHOMA CITY, OK 73143-5968         DRESDEN, TN 38225




ESSENBURG, KATRINA G.                  ESSENCE HEALTHCARE                   ESSENCE HEALTHCARE
1720 SUNSET ISLE RD                    13900 RIVERPORT DR                   ATTENTION: REFUNDS
FORT PIERCE, FL 34949                  SAINT LOUIS, MO 83043                P.O. BOX 12488
                                                                            ST. LOUIS, MO 63141-5818




ESSENCE HEALTHCARE                     ESSEX, DONNIE                        ESSIG GIANINA D
P.O. BOX 12488                         1741 PALOMA                          1044 WOODBINE CIR E
ST LOUIS, MO 63132                     BARSTOW, CA 92311                    GALESBURG, IL 61401




ESSIG, GIANINA D.                      ESSINGTON, BRENDA                    ESSINGTON, DEBBIE
1044 WOODBINE CIR E                    4105 BOYD RD                         2150 TUMBLING CREEK RD
GALESBURG, IL 61401                    ANNA, IL 62906-0000                  GLEASON, TN 38229




ESSLINGER, BONNIE                      ESSWEIN, PATRICIA A.                 EST. OF MOSKUDAUZ JACQUELINE
409 MERGANSER CT                       811 EAST PARK STREET                 P.O. BOX 151
LINDENHURST, IL 60046                  TAYLORVILLE, IL 62568                EAST CARONDELET, IL 62240




ESTATE OF ALLAN W PENCE                ESTATE OF ALVIN BUCKSBARG, THE       ESTATE OF ANDREA NASH
226 SHERI AVE NE                       457 SUNDALE ST NW                    915 DEERPATH DR
MASSILLON, OH 44646                    MASSILLON, OH 44646                  ANTIOCH, IL 60002




ESTATE OF ARLENE HANRAHAN              ESTATE OF ARVIL A DAILY              ESTATE OF BENNIE SCOTT
1065 E VICTORY DR                      ATTN BETTY J AMBROSE                 81 TEAKWOOD DR
APT 225                                3100 WILLOW AVE                      LEXINGTON, TN 38351
LINDENHURST, IL 60046                  GRANITE CITY, IL 62040
                        CaseTHE
ESTATE OF BEVERLY J. HUBBARD, 20-10766-BLS     Doc
                                       ESTATE OF BILL6LEONARD
                                                         Filed 04/07/20   Page ESTATE
                                                                               558 ofOF1969
                                                                                        BLAIN SHORT
ATTNLESLIE ROBB                        5501 SUNNYVIEW RD                       C/O COREY T. FANNIN, CIRCEO FANNIN, PSC
4674 PEPPERWOOD DR                     CUMBERLAND, TN 37051                    429 NORTH BROADWAY
PENNGROVE, CA 84663                                                            LEXINGTON, KY 40588




ESTATE OF BLANKENSHIP ROBERT D         ESTATE OF BOBBIE MYRICK                 ESTATE OF BONNIE JACOBS
28 BURDICK CREEK RD                    72 COUNTY ROAD 399                      2711 GRAND AVE
COLLINSVILLE, IL 62234                 GROVEOAK, AL 35975                      GRANITE CITY, IL 62040




ESTATE OF CARLA WRIGHT                 ESTATE OF CARY WARSTLER                 ESTATE OF CHAFFIN DOROTHY
4205 MARYVILLE RD                      1157 FAIRLANE AVE SW                    243 F ST APT 16
GRANITE CITY, IL 62040                 CANTON, OH 44710                        SPRINGFIELD, OR 97477-0000




ESTATE OF CHARLES K HICKS              ESTATE OF CHARLES LASH, THE             ESTATE OF CHARLES SHIPP
102 CIRCLE DR UNIT 7A                  OR ELIZABETH LASH                       1612 WOOTEN GAP ROAD NW
RAINSVILLE, AL 35986                   508 SANDY AVE NE                        FORT PAYNE, AL 35968
                                       MASSILLON, OH 44646-2045




ESTATE OF CHRISTOPHER HERRON           ESTATE OF CLAUD BENCE JR                ESTATE OF CLIFFORD GUNTLY
C/O JODI BLACK; MORGAN & MORGAN-       93 COUNTY ROAD 600                      22031 W 6 MILE RD E
MEMPHIS, LLC                           MENTONE, AL 35984                       FRANKSVILLE, WI 53126
40 SOUTH MAIN ST., SUITE 2600
MEMPHIS, TN 38103



ESTATE OF CLYDE HARVEY, THE            ESTATE OF DALE MILBURN                  ESTATE OF DEBORAH M DAURELIO
2615 RIDGE RD NW                       OR KAREN R MILBURN                      2603 HALSO MILL RD
BOLIVAR, OH 44612-8432                 916 MARION AVE NW                       GREENVILLE, AL 36037
                                       MASSILLON, OH 44646-3047




ESTATE OF DIANNE L WHITMORE, THE       ESTATE OF DONA MILLER                   ESTATE OF DORIS THOMPSON
131 2ND AVE SE                         517 PARK ST NW                          C/O SARAH TRUJILLO
BEACH CITY, OH 44608                   NAVARRE, OH 44662                       320 WASHINGTON ST
                                                                               RED BUD, IL 62278




ESTATE OF DOROTHY BAILEY               ESTATE OF DOROTHY CRUTCHFIELD           ESTATE OF DOROTHY FAITH
3917 VILLAGE LANE                      6419 DEERFIELD COURT                    3450 VILLAGE LANE
APT D                                  WATERLOO, IL 62298-0000                 GRANITE CITY, IL 62040
GRANITE CITY, IL 62040




ESTATE OF DOROTHY LINDERS              ESTATE OF DOROTHY MATHON                ESTATE OF DOROTHY S ZALE
10062 DEGEN LANE                       125 TROECKLER LANE                      2308 ALLEN AVE
BALDWIN, IL 62217                      GRANITE CITY, IL 62040                  AUGUSTA, GA 30906-5324




ESTATE OF EILEEN HERBERT               ESTATE OF ELDA SCHRIEBER                ESTATE OF ELLEN KELLY
408 FOHL ST SW                         203 N TAYLOR ST                         HCR 74 BOX 14
CANTON, OH 44706                       REB BUD, IL 62278                       FORT DAVIS, TX 79734
ESTATE OF EZAMAY ROBISONCase 20-10766-BLS     Doc
                                      ESTATE OF    6 Filed
                                                FRANCES     04/07/20
                                                        JONES             Page ESTATE
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                                                                                        FRANCIS SCHMIDT
C/O JAMES H. WOOD; THERESA V. HACSI,  8516 HENRY ST SW                         12424 GARNELL ST NW
LAW OFFICE OF JAMES H. WOOD PC        NAVARRE, OH 44662                        MASSILLON, OH 44647
601 MARBLE AVE. NW
ALBUQUERQUE, NM 87102



ESTATE OF FREDERICK SPIDELL, THE      ESTATE OF GENE MARKMAN                   ESTATE OF GEORGE STACY COOKE
1610 FIRST ST NE                      378 HAZELWOOD TERRACE                    C/O RENDER C. FREEMAN; TYLER DILLARD,
MASSILLON, OH 44646                   BUFFALO GROVE, IL 60089                  ANDERSEN, TATE & CARR, P.C.
                                                                               1960 SATELLITE BLVD.; SUITE 4000
                                                                               DULUTH, GA 30097



ESTATE OF GLADYS CREMEENS, THE        ESTATE OF HELEN HAWKINS                  ESTATE OF HELEN HELBERT
23 MEADOWLARK CT                      900 N MONROE ST                          2885 N AUGUSTA DRIVE
GRANITE CITY, IL 62040                ABINGDON, IL 61410                       WADSWORTH, IL 60083




ESTATE OF ISTVAN MATAY                ESTATE OF JACK POIRRIER                  ESTATE OF JAMES F WESIE, THE
458 CHALET DR                         C/O KENNETH POIRRIER                     4736 ROHRWAY AVE NW
MESQUITE, NV 89024-9999               110 N FILLMORE                           MASSILLON, OH 44647
                                      RED BUD, IL 62278




ESTATE OF JAMES OCONNOR               ESTATE OF JANET WATERS                   ESTATE OF JEAN SCOZZARELLS
1834 COVENTRY RD NE                   112 ST THOMAS LANE                       2700 ORCHARD PARK ST NW
MASSILLON, OH 44646                   E. ST. LOUIS, IL 62206                   CANTON, OH 44718




ESTATE OF JEROME HATHAWAY, THE        ESTATE OF JESSICA GROSS                  ESTATE OF JIMMY ALVERSON
1221 STUART ST NW                     C/O COREY T. FANNIN; WILKES & MCHUGH,    401 LINCOLN AVE SE
MASSILLON, OH 44646                   P.A.                                     FORT PAYNE, AL 35967-1610
                                      429 NORTH BROADWAY
                                      LEXINGTON, KY 40508



ESTATE OF JOAN M WEBER, THE           ESTATE OF JOHN DENNIS                    ESTATE OF JOHN E ANDERSON
703 MEADOWRIDGE AVE NW                8622 CANDLEBERRY ST NW                   121 RUSSELL AVE
CANTON, OH 44708                      MASSILLON, OH 44646                      WINTHROP HARBOR, IL 60096




ESTATE OF JOHNNY BENNETT              ESTATE OF JUANITA KNOTT                  ESTATE OF JUNE DUFRANE
371 HWY 44                            C/O JAMES H. WOOD; THOMAS WOOD, LAW      508 FOXGLOVE ST
HELENA, AR 72342                      OFFICE OF JAMES H. WOOD PC               MESQUITE, NV 89027-4131
                                      601 MARBLE AVE. NW
                                      ALBUQUERQUE, NM 87102



ESTATE OF KARL A PAULIK               ESTATE OF KASH REIS R                    ESTATE OF KELLEY BURT
1551 1ST ST NE                        88108 TIKI LANE                          64 SOLA CIRCLE NE
MASSILLON, OH 44646                   SPRINGFIELD, OR 97478                    FORT PAYNE, AL 35967




ESTATE OF KENNETH WOODS               ESTATE OF LAVERNE PENCE                  ESTATE OF LEBEAU RUSSELL
OR WANDA WOODS                        C/O NANCY WEBER                          2320 HOREB AVE
1026 DUNCAN ST SW                     7114 N. ST. RT. 159                      ZION, IL 60099
MASSILLON, OH 44647                   MORO, IL 62061
ESTATE OF LESLIE GARDNER Case 20-10766-BLS     Doc
                                       ESTATE OF     6 Filed
                                                 LESTER       04/07/20
                                                         ETHERTON         Page ESTATE
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                                                                                        LEWIS L WHEELER
1234 BROWN RD                          650 CHURCH AVENUE                       P.O. BOX 182
JAMESVILLE, NC 27846-9511              RAINSVILLE, AL 35986                    MC ELHATTAN, PA 17748




ESTATE OF LINDA HART                   ESTATE OF LINDA WESTERN                 ESTATE OF LOIS J RICE
P.O. BOX 2425                          585 HAYES RD                            720 BEVERLY ST
OVERTON, NV 89040-2425                 DARDEN, TN 38328                        CANAL FULTON, OH 44614




ESTATE OF LORENZA ARCHULETA            ESTATE OF MARCELLA ROWOLD, THE          ESTATE OF MARGARET OSGOOD
C/O THERESA V. HACSI; JAMES H. WOOD,   6172 RICHFIELD RD                       P.O. BOX 6
LAW OFFICE OF JAMES H. WOOD PC         RED BUD, IL 62278                       LOWELL, OR 97452-0006
423 6TH ST. NW
ALBUQUERQUE, NM 87102



ESTATE OF MARILYN EDIE, THE            ESTATE OF MARY BONES                    ESTATE OF MARY TRUNK, THE
1560 KEUPER BLVD NE                    P.O. BOX 2178                           2530 BUENGER AVE
APT 106                                CHICAGO HEIGHTS, IL 60412               GRANITE CITY, IL 62040
MASSILLON, OH 44646




ESTATE OF MYRTLE SIMS                  ESTATE OF NANCY MILLSAP, THE            ESTATE OF NATALIA BONILLA
10921 S UNION ST                       4141 TINBERLAKE DR                      438 S ELMWOOD AVE
CHICAGO, IL 60628                      GRANITE CITY, IL 62040                  WAUKEGAN, IL 60085




ESTATE OF PASTORA ZUBIA                ESTATE OF PATRICIA BEAUDRY              ESTATE OF PAUL W EGGLER
P.O. BOX 329                           3615 16TH STREET                        235 CIDER PRESS RD
PRESIDIO, TX 79845                     ROLLING HILLS MANOR                     LOCK HAVEN, PA 17745
                                       ZION, IL 60099




ESTATE OF PEGGY SMITH                  ESTATE OF PHILLIP BACA                  ESTATE OF RAYMOND STARR
2446 DEWEY AVE                         C/O JAMES H. WOOD; THOMAS WOOD, LAW     1786 WILBER ROAD
GRANITE CITY, IL 62040                 OFFICE OF JAMES H. WOOD PC              BLAINE, KY 41124-8447
                                       423 6TH ST. NW
                                       ALBUQUERQUE, NM 87102



ESTATE OF RICHARD ALLISON              ESTATE OF RICHARD E DONOVAN, THE        ESTATE OF RICHARD HARTKE
ADDRESS ON FILE                        430 25TH ST NW                          37611 GARNETT
                                       MASSILLON, OH 44647                     BEACH PARK, IL 60087




ESTATE OF RICHARD LEWTON, THE          ESTATE OF RITA M GUSTIN, THE            ESTATE OF ROBERT BRUMMITT
2925 FASNACHT CR NW                    C/O DEBRA S DONOHUE                     1565 GARFIELD AVE
MASSILLON, OH 44646-0101               5831 KILDARE CR NW                      GRANITE CITY, IL 62040
                                       CANTON, OH 44718-1374




ESTATE OF ROBERT MCCONNAUGHEY          ESTATE OF ROGER TREAT                   ESTATE OF ROMA MILLER
261 SUNVALLEY DR                       1697 PHILLIPS 624 RD                    232 C ST SW
APT G5                                 LAMBROOK, AR 72353                      NAVARRE, OH 44662
MESQUITE, NV 89027-5153
                       Case THE
ESTATE OF RONALD ALLEN JONES, 20-10766-BLS     Doc
                                       ESTATE OF     6 Filed
                                                  RONALD DILGER04/07/20   Page ESTATE
                                                                               561 ofOF1969
                                                                                        RONALD E SINGLER
38403 JASPER LOWELL RD                 9910 269TH AVE                          1318 DAMIANSVILLE RD
FALL CREEK, OR 97438                   TREVOR, WI 53179                        NEW BADEN, IL 62265




ESTATE OF RONALD SCHOLEBO              ESTATE OF RUTH DAVIS, THE               ESTATE OF SALLY COPELAND, THE
1624 FRANKO LANE                       OR GARY DAVIS                           5577 GREENFIELD HWY 54
GRANITE CITY, IL 62040                 13411 YOUTH ST                          DRESDEN, TN 38225
                                       NORTH LAWRENCE, OH 44666




ESTATE OF SAMUAL SMITH                 ESTATE OF SANDRA HIGDON                 ESTATE OF SANDRA WINKLER, THE
2625 GRAND AVE                         P.O. BOX 73                             5408 ANGELA DR NW
GRANITE CITY, IL 62040                 HIGDON, AL 35979                        BEACH CITY, OH 44608




ESTATE OF SHARON FELLERS               ESTATE OF SHIRLEY LANCE                 ESTATE OF SMITH HOWARD
2165 SANDEEP DR                        2021 DEWEY ST                           7272 COUNTY ROAD 17
GALESBURG, IL 61401                    GRANITE CITY, IL 62040                  WOODVILLE, AL 35776




ESTATE OF TERRY HOWELL                 ESTATE OF THOMAS M HANNA SR             ESTATE OF TIM DUNN
302 S CHURCH AVE                       27 HEMLOCK DR                           2117 12TH ST
BEACH CITY, OH 44608                   LOCK HAVEN, PA 17745                    WINTHROP HARBOR, IL 60096




ESTATE OF TIMOTHY R BURDGE, THE        ESTATE OF VAUNDRA ROLLAND               ESTATE OF VICTOR MOHR SR
1006 OXFORD AVE NE                     2736 YOLANDA AVE                        227 E MARKET ST
MASSILLON, OH 44646                    SPRINGFIELD, OR 97477                   RED BUD, IL 62278




ESTATE OF VIRGINIA MOORE               ESTATE OF WADE HIGGINBOTHAM             ESTATE OF WANDA APOSTOL
519 MADISON ST                         38955 US HIGHWAY 11                     2262 IOWA
PLYMOUTH, NC 27962                     VALLEY HEAD, AL 35989-4421              GRANITE CITY, IL 62040




ESTATE OF WARRIOR SHIFLETT, THE        ESTATE OF WILLIAM DAVIS                 ESTATE OF WILMA UFFELMANN
35 WHEELER DR                          P.O. BOX 680376                         5041 RICHFIELD ROAD
PISGAH, AL 35765                       FORT PAYNE, AL 35968                    RED BUD, IL 62278




ESTEFANI CRUZ                          ESTEL, MICHAEL L.                       ESTELA, EMILY
1821 SAN MIGUEL ST                     108 ANN STREET                          464 FRONTAGE RD
DEMING, NM 88030                       ANNA, IL 62906                          PARK CITY, IL 60085




ESTEP, KAYLEIGH                        ESTER, TAMIKA D.                        ESTERS, CYNTHIA D.
17 LAKE TERRACE CT                     ADDRESS ON FILE                         ADDRESS ON FILE
TROY, IL 62294
ESTES DIANE M            Case 20-10766-BLS    Doc N6
                                       ESTES JERRY          Filed 04/07/20   Page ESTES,
                                                                                  562 ofBEVERLY
                                                                                          1969 D.
100 OAKVIEW DR                          82 CROSS CREEK RD                         612 LINDA LN
KNOXVILLE, IL 61448                     MINERAL BLUFF, GA 30559-8735              BIG SPRING, TX 79720




ESTES, MARY E.                          ESTES, STACY R.                           ESTHER E PFAHLER
504 NORTH 4TH ST                        105 ALCOTT                                9888 LAFAYETTE DR NW
ALPINE, TX 79830                        PALESTINE, AR 72372                       MASSILLON, OH 44647




ESTHER WITCHER                          ESTRADA ANA L                             ESTRADA GABRIEL A
3043 SFC 359                            436 HARRISON ST                           2104 DES PLAINES
FORREST CITY, AR 72335                  VERNON HILLS, IL 60061                    BLUE ISLAND, IL 60406




ESTRADA, ABRIL                          ESTRADA, ADAM                             ESTRADA, ANTONIO M.
1955 S SHEPARD 214                      1317 TUCSON RD                            103 E. OAK ST. P.O. BOX 967
EL RENO, OK 73036                       BIG SPRING, TX 79720                      SANTA CLARA, NM 88026




ESTRADA, AUDRIEANNA                     ESTRADA, JACQUELINE                       ESTRADA, LETICIA C.
ADDRESS ON FILE                         ADDRESS ON FILE                           22 LA JOLLA ST
                                                                                  WATSONVILLE, CA 95076




ESTRADA, MAITZA                         ESTRADA, PAIGE O.                         ESTRADA, ROSEMARY M.
1405 NORTH AVE                          ADDRESS ON FILE                           3243 W PLACITA ALEGRE
APT 401                                                                           TUCSON, AZ 85746
WAUKEGAN, IL 60085




ESTRADA, SAMANTHA R.                    ESTRADA, STEPHANIE                        ESTRELLA, IDA
ADDRESS ON FILE                         ADDRESS ON FILE                           2233 DAKOTA DR. APT. 1901
                                                                                  LAS CRUCES, NM 88011




ESURANCE                                ESWAY, C NANCY                            ESWAY, PAUL
P.O. BOX 335                            4732 PICCADILLY ST SW                     2619 SUNMONT ST
ADDISON, TX 75001                       CANTON, OH 44706                          MASSILLON, OH 44646-5068




ET SIMONDS CONSTRUCTION CO              ETC                                       ETCETERA FLOWERS & GIFTS
P O BOX 2107                            224 DALTON ST                             1200 N MARKET
CARBONDALE, IL 62902-2107               ELLIJAY, GA 30540                         MARION, IL 62959




ETCHISON, ASHLEY D.                     ETHAN FULLER                              ETHAN OLSON
1141 LABOON ROAD                        ADDRESS ON FILE                           116 SW 4TH ST
MONROE, GA 30655                                                                  GALVA, IL 61434
ETHEK GOLAR TRUST           Case 20-10766-BLS    Doc 6
                                          ETHEL COLBERT         Filed 04/07/20   Page ETHEL
                                                                                      563 of   1969
                                                                                            J TABBS
2002 DORAL CT                              ADDRESS ON FILE                            407 D AVE
PALOS HEIGHTS, IL 60463                                                               FORREST CITY, AR 72335




ETHEL M RAMSEY GARRETT                     ETHELYN BREWSTER                           ETHEREDGE, DONNA E.
2728 ELLINGTON AIRLINE RD                  163 N SEMINARY ST                          P.O. BOX 800
DEARING, GA 30808                          GALESBURG, IL 61401                        JACKSONVILLE, AL 36265




ETHERIDGE, FRED                            ETHERIDGE, KIMBERLY D.                     ETHERIDGE, STEPHANIE
1729 JEFFERSON RD NE                       ADDRESS ON FILE                            2156 GRAY FARM RD
MASSILLON, OH 44646                                                                   JAMESVILLE, NC 27846




ETHERTON, HOPE A.                          ETHERTON, JOHN                             ETHERTON, RILEY T.
P.O. BOX 2361                              P.O. BOX 1                                 1054 N BRIEGEL
RAINSVILLE, AL 35986-3703                  JOHNSTON CITY, IL 62951                    COLUMBIA, IL 62236




ETHICON INC (J&J)                          ETHICON/JOHNSON & JOHNSON                  ETHRIDGE, MELANIE
5972 COLLECTIONS CENTER DRIVE              5972 COLLECTIONS CENTER DR                 5005 JAMIESON 3 NORTH
CHICAGO, IL 60693                          CHICAGOATI, IL 60693                       ST. LOUIS, MO 63109




ETOLEN, JANET                              ETOWAH COUNTY CIRCUIT CLERK                ETRADE/APEX (0158/0385)
ADDRESS ON FILE                            801 FORREST AVE SUITE 202                  C/O BROADRIDGE SECURITIES PROCESSING
                                           GADSDEN, AL 35901                          ATTN: YASMINE CASSEUS
                                                                                      2 GATEWAY CENTER, 283-299 MARKET
                                                                                      STREET - 16TH FLOOR
                                                                                      NEWARK, NJ 07102

ETTAIN GROUP, INC                          ETTER, KIMBERLY                            ETTERS, RHETA G.
P.O. BOX 60070                             200 WILLIFORD RD                           P.O. BOX 503
CHARLOTTE, NC 28260-0070                   JONESBORO, IL 62952                        ROBINSVILLE, NC 28771




EUBANKS, BENJAMIN                          EUBANKS, CATHY                             EUBANKS, FRANCINE M.
129 S PEACH ST                             26 W PARK ST                               10442 SHORT CREEK RD
DU QUOIN, IL 62832                         DU QUOIN, IL 62832                         BENTON, IL 62812




EUBANKS, PAMELA R.                         EUBANKS, PAMELA                            EUBANKS-PETTY CASH, PAM
ADDRESS ON FILE                            ADDRESS ON FILE                            200 WEST CHURCH ST
                                                                                      LEXINGTON, TN 38351




EUDELIA, TARR                              EUDY, GERLEAN                              EUDY, SHELLY D.
P.O. BOX 131                               664 MARGARET AVE                           703 TULANE AVE
LAS VEGAS, NM 87701-0000                   GRANITE CITY, IL 62040                     BIG SPRING, TX 79720
EUGEA, KATRINA           Case 20-10766-BLS
                                       EUGENE Doc
                                              AREA 6  FiledOF04/07/20
                                                   CHAMBER    COMMERCE Page EUGENE
                                                                            564 ofB1969
                                                                                    COLEMAN
2431 DEER RUN RD                        1401 WILLAMETTE ST                  13102 228TH ST
NEW ATHENS, IL 62264                    EUGENE, OR 97440                    LAURELTON, NY 11413-1743




EUGENE CHAMBER COMM                     EUGENE EMERALDS BASEBALL CLUB       EUGENE LOCK & SAFE CO
P.O. BOX 1107                           P.O. BOX 10911                      206 MAIN STREET
EUGENE, OR 97440                        EUGENE, OR 97440-2911               SPRINGFIELD, OR 97477




EUGENE NOLAN                            EUGENE SILKSCREEN, INC              EUGENE WATER & ELECTRIC BOARD
119 W WILLOW ST                         960 WILSON ST                       P.O. BOX 35192
DEMING, NM 88030                        EUGENE, OR 97402                    SEATTLE, WA 98124-5192




EUGSTER, JADE                           EURE, MELINDA                       EUREKA CASINO HOTEL
142 1ST AVE                             105 HARDEN LANE                     275 MESA BLVD
EVANSTON, WY 82930                      WINDSOR, NC 27983                   MESQUITE, NV 89027




EUROTROL INC                            EUROTROL US                         EUROTROL US, B.V.
ONE WALL STREET                         850 N BLACK BRANCH ROAD             850 N BLACK BRANCH ROAD
FLOOR 6                                 ELIZABETHTOWN, KY 42701             ELIZABETHTOWN, KY 42701
BURLINGTON, MA 01803




EUSEBIO, LEO                            EUSEBIO, RAQUEL                     EVA BRELAND
16750 KASSON ROAD                       16750 KASSON RD                     P.O. BOX 414
APPLE VALLEY, CA 92307                  APPLE VALLEY, CA 92307              MCCRORY, AR 72101




EVA GUMM                                EVAL, CATHERINE                     EVALEA TROIN
10619 S COTTAGE GROVE                   P.O. BOX 1764                       7330 ST RT 162
CHICAGO, IL 60628                       OVERTON, NV 89040-1764              TROY, IL 62294




EVANGELISTA, LUZ M.                     EVANOFF, DEBRA                      EVANS JUSTIN R
ADDRESS ON FILE                         2365 SFC 811                        105 S 900 E
                                        FORREST CITY, AR 72335              GRANSTVILLE, UT 84029




EVANS RAQUEL J                          EVANS, ALLISON                      EVANS, AMBER E.
11919 S HAMLIN AVE                      372 S 1370 E                        135 LITTLE CORRAL WAY
ALSIP, IL 60803                         TOOELE, UT 84074                    CORRALITOS, CA 95076




EVANS, AMY E.                           EVANS, ANA JOYNER                   EVANS, AZHIA
ADDRESS ON FILE                         3341B ELLSWORD DRIVE                12354 S HONORE ST
                                        GREENVILLE, NC 27834                CALUMET PARK, IL 60827
EVANS, BENJAMIN          Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                       EVANS, BETHANY                 Page EVANS,
                                                                           565 ofCAITLIN
                                                                                  1969E.
1455 MAURICE BROWN RD                  191 HWY 1 NORTH                     1920 GILHAM RD
JAMESVILLE, NC 27840                   COLT, AR 72326                      EUGENE, OR 97401




EVANS, CAMERON                         EVANS, CHERISH A.                   EVANS, CHRISTOPHER
2750 REASON RD                         ADDRESS ON FILE                     ADDRESS ON FILE
WILLIAMSTON, NC 27892




EVANS, CLAUDIA E.                      EVANS, CRYSTAL G.                   EVANS, DEANNE
ADDRESS ON FILE                        401 FOURTH ST                       ADDRESS ON FILE
                                       EVANSVILLE, IL 62242




EVANS, DENISE                          EVANS, ERIN                         EVANS, GEORGE W.
4550 W 150TH STREET                    413 ROADSTER LANE                   19 W 140TH CT
MIDLOTHIAN, IL 60445                   GRANTSVILLE, UT 84029               RIVERDALE, IL 60827




EVANS, HEATHER                         EVANS, HEIDI                        EVANS, JEFFREY W.
3912 AL 117 P O BOX 30                 1008 21ST ST                        605 RIVERVIEW DR
MENTONE, AL 35984                      ZION, IL 60099                      CAPITOLA, CA 95010




EVANS, JONATHAN DAVID                  EVANS, JORDAN S.                    EVANS, JULIE M.
1812 DEW DROP DRIVE                    ADDRESS ON FILE                     380 JOSHUA ST NW
MARION, IL 62959-4073                                                      MASSILLON, OH 44647




EVANS, JUSTIN                          EVANS, KERRI                        EVANS, KIMBERLY A.
P.O. BOX 1021                          332 E 880 N                         ADDRESS ON FILE
LOGANDALE, NV 89021                    TOOELE, UT 84074




EVANS, LAURA                           EVANS, LINDA                        EVANS, LISA
22 WOODLAND DR                         ADDRESS ON FILE                     567 GARYS DR
COLLINSVILLE, IL 62234                                                     ANTIOCH, IL 60002




EVANS, MARGIE D.                       EVANS, MARY C.                      EVANS, RAQUEL J.
4785 CHATSWORTH HWY                    ADDRESS ON FILE                     1362 GORDON AVE
ELLIJAY, GA 30540                                                          CALUMET CITY, IL 60409




EVANS, ROGER L.                        EVANS, RUSSELL                      EVANS, SARAH
ADDRESS ON FILE                        117 LEE 312 RD                      ADDRESS ON FILE
                                       MARIANNA, AR 72360
EVANS, STEPHANIE        Case 20-10766-BLS     Doc 6
                                      EVANS, TAMAR         Filed 04/07/20   Page EVANS,
                                                                                 566 ofTANISHA
                                                                                        1969 D.
9419 S. PLEASANT AVE                   1204 W 97TH PLACE                         ADDRESS ON FILE
CHICAGO, IL 60643                      CHICAGO, IL 60643




EVANS, TARA L.                         EVANS, TAYLER R.                          EVANS, TERRIE
3135 ROWE SCHOOL ROAD                  2619 MATHEW CT                            6431 HEARDS BRIDGE RD
PURYEAR, TN 38251                      GRANITE CITY, IL 62040                    BARTOW, GA 30413




EVANS, TIFFANY J.                      EVANS, VERA L.                            EVANS, YOLANDA
ADDRESS ON FILE                        4238 BRENTWOOD LANE                       ADDRESS ON FILE
                                       WAUKEGAN, IL 60087




EVANS, YOLANDA                         EVANSHANK, LAURIE A.                      EVANSTON CHAMBER OF COMMERCE
ADDRESS ON FILE                        ADDRESS ON FILE                           P.O. BOX 365
                                                                                 EVANSTON, WY 82930




EVANSTON CLINIC CORP                   EVANSTON COWBOY DAYS                      EVANSTON HOSPITAL CORPORATION
190 ARROWHEAD DRIVE                    BOX 458                                   190 ARROWHEAD DRIVE
EVANSTON, WY 82930                     EVANSTON, WY 82931                        EVANSTON, WY 82930




EVANSTON INSURANCE COMPANY             EVANSTON INTERNAL MEDICINE, INC.          EVANSTON MEDICAL PROPERTIES INC
10 PARKWAY NORTH                                                                 150 ARROWHEAD
DEERFIELD, IL 60015                                                              SUITE 1
                                                                                 EVANSTON, WY 82930




EVANSTON PARKS & RECREATION            EVANSTON REGIONAL HOSPITAL                EVANSTON RODEO SERIES
275 SADDLE RIDGE ROAD                  ENTITY 0159                               2549 ALMY ROAD 107
EVANSTON, WY 82930                     190 ARROWHEAD DR                          EVANSTON, WY 82930
                                       EVANSTON, WY 82930




EVANSTON ROTARY CLUB                   EVANSTON SMALL BUSINESS NETWORK           EVANSTON WATER WORKS
P.O. BOX 400                           442 ROSS                                  P.O. BOX 640
EVANSTON, WY 82930                     EVANSTON, WY 82930                        1136 FRONT ST
                                                                                 EVANSTON, WY 82930




EVANSTON YOUTH ATHLETICS               EVANSTON YOUTH CLUB                       EVANSVILLE ATHLETIC ASSOC
275 SADDLE RIDGE RD                    419 4TH STREET                            HEATHER PRICE
EVANSTON, WY 82930                     EVANSTON, WY 82930                        7021 WALSH RAOD
                                                                                 ELLIS GROVE, IL 62241




EVAPAR INC                             EVARIANT INC                              EVELYN AMSTUTZ
9000 N KENTUCKY AVE                    308 FARMINGTON AVE                        425 ORRVILLA DR
EVANSVILLE, IN 47725                   FARMINGTON, CT 06032                      APT 48
                                                                                 ORRVILLE, OH 44667-2430
EVELYN J MEREDITH          Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                         EVELYN MACKENZIE                Page EVELYN
                                                                              567 ofRENEE
                                                                                     1969SNOW
2286 WINDISH DR                          14 PINE TREE RD                     14769 N COUNTY FARM LN
GALESBURG, IL 61401                      LOCK HAVEN, PA 17745-1023           MT VERNON, IL 62864




EVELYN VANEK                             EVENING TIMES                       EVENSEN, ROGER P.
12117 GREENWOOD AVE                      P.O. BOX 459                        961 N 1250 E
BLUE ISLAND, IL 60406                    WEST MEMPHIS, AR 72303              TOOELE, UT 84074




EVENSON AMANDA R                         EVENTBRITE, INC                     EVENTBRITE, INC
810 N 6TH ST                             P.O. BOX 204845                     PO BOX 204845
VIENNA, IL 62995                         DALLAS, TX 75320-4845               DALLAS, TX 75320-4845




EVERARD, PAMELA                          EVERCARE                            EVERDING, PEARL
37514 ARBOR WOODS DR                     P O BOX 31350                       5643 OHLWINE RD
LIVONIA, MI 48150                        SALT LAKE CITY, UT 84131-0350       RED BUD, IL 62278




EVEREST MEDICARE SUPP                    EVERETT GOODWIN                     EVERETT, CHRISTINE A.
P.O. BOX 10879                           324 LOCUST ST                       2609 CLANTON
CLEARWATER, FL 33757                     GALESBURG, IL 61401                 BIG SPRING, TX 79720




EVERETT, GOLDIE                          EVERETT, JAMES RONALD               EVERETT, LATOSHA
17408 HUPRICK RD                         2921 SAM EVERETT RD                 P.O.BOX 44
NORTH LAWRENCE, OH 44666                 ROBERSONVILLE, NC 27871             HASSELL, NC 27841




EVERETT, LESLEY D                        EVERETT, MARY                       EVERETT, ROBERT T.
5234 THURMAN BACCUS RD                   P.O. BOX 108                        2890 AL HWY 68 E
SOCIAL CIRCLE, GA 30025-4616             ROBERSONVILLE, NC 27871-0108        GAYLESVILLE, AL 35973




EVERETT,ROLANDA R., M.D.                 EVERETTE, JASON E.                  EVERGREEN ENTERPRISES
ADDRESS ON FILE                          94 CHERRY HILL RD                   P.O. BOX 602961
                                         WASHINGTON, NC 27889                CHARLOTTE, NC 28260-2961




EVERGREEN ENTERPRISES                    EVERGREEN LINEN SOLUTIONS           EVERGREEN MEDICAL SERVICES,INC
PO BOX 602961                            P.O. BOX 1448                       21 LOOP ROAD
CHARLOTTE, NC 28260-2961                 ONEONTA, AL 35121                   ARDEN, NC 28704




EVERHART, TARA M.                        EVERLEAN, BROWN                     EVERS SANDRA GAIL
3558 DUPLAIN ST NW                       534 HODGES ST                       6735 WILLOW RD
NORTH CANTON, OH 44720                   FORREST CITY, AR 72335              IDER, AL 35981-0505
EVERS, ANTHONY           Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                       EVERS, DOUGLAS                      Page EVERS,
                                                                                568 ofGERALD
                                                                                       1969 ALAN
ADDRESS ON FILE                        1600 RHODODENDRON DR 63                  88065 7TH ST
                                       FLORENCE, OR 97439                       VENETA, OR 97487-0000




EVERSIGHT                              EVERSIGHT                                EVERSMANN, ERIC L.
3985 RESEARCH PARK DR                  4889 VENTURE DR                          ADDRESS ON FILE
ANN ARBOR, MI 48108                    ANN ARBOR, MI 48108




EVERSOLE, ANTHONY                      EVERSOLE, JUDY                           EVERSOLE, SANDRA
268 COPPERHEAD ROAD                    234 JETT DRIVE                           ADDRESS ON FILE
EMMALENA, KY 41740                     GAYS CREEK, KY 41745-9011




EVETTS, KIMBERLY                       EVEYLN, HUFLER                           EVO ENTERPRISES
ADDRESS ON FILE                        4782 SOUTH BLVD NW                       4 E CLARK BASS BLVD
                                       CANTON, OH 44718                         SUITE 205
                                                                                MCALESTER, OK 74501




EVOLUTION RACING                       EVOQUA WATER TECHNOLOGIES LLC            EVOQUA WATER TECHNOLOGIES LLC
5315 YELLOW CREEK 101                  28563 NETWORK PLACE                      P.O. BOX 360766
EVANSTON, WY 82930                     CHICAGORGH, IL 60673-1285                PITTSBURG, PA 15250-6766




EVOQUA WATER TECHNOLOGIES, LLC         EVOQUA WATER TECHNOLOGIES, LLC           EVRARD, KACI J.
28563 NETWORK DRIVE                    28563 NETWORK PLACE                      1105 SOUTH HAZEL
CHICAGO, IL 60673-1285                 CHICAGO, IL 60673-1285                   HARRISBURG, IL 62946




EVRI CHART                             EWALD SIEG & IRIS VON JOUANNE CO-        EWALD, ANDREW
2129 ELECTRIC RD SUITE 100             TTEES                                    164 MILL CREEK DRIVE
ROANOKE, VA 24018                      EWALD SIEG LIVING TRUST U/A DTD          ASHBY, MA 01431-0000
                                       03/15/2019
                                       26011 292ND AVENUE SE
                                       RAVENSDALE, WA 98051

EWEB                                   EWELL, CLYDE L.                          EWERT HARDWARE
500 E 4TH AVE                          215 W JACKSON ST APT 18                  5801 W 117TH PLACE
EUGENE, OR 97401                       WEST MEMPHIS, TN 72301                   ALSIP, IL 60803




EWERT, BRIAN A.                        EWING CARMA                              EWING RICHARD
4001 CYPRESS GLENN COVE                620 KINGSTON DR                          87296 CHINQUAPIN LOOP
JONESBORO, AR 72405                    TOOELE, UT 84074                         VENETA, OR 97487-0000




EWING, CYNTHIA E.                      EWING, HAILEY                            EWING, JENNIFER L.
10308 S PROSPECT AVE                   720 COUNTRY CLUB DR APT 4                ADDRESS ON FILE
CHICAGO, IL 60643                      RED BUD, IL 62278
EWING, JENNIFER             Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                          EWING, JENNIFER                  Page EWING,
                                                                                569 ofJOELLA
                                                                                       1969
ADDRESS ON FILE                           ADDRESS ON FILE                       2384 WASHINGTON STREET
                                                                                EUGENE, OR 97405




EWING, KATERI                             EWING, KIMBERLY J.                    EWING, TOM W. M.D.
1852 WILLIAMS WAY                         1016 COLONY POND DR                   P.O. BOX 720725
WOOSTER, OH 44691                         EUGENE, OR 97401                      NORMAN, OK 73070




EWING, TOM W.                             EWING, YVONNE D.                      EWINGS, JACQUELINE L.
P.O. BOX 1911                             3278 GARDENIA PLACE                   ADDRESS ON FILE
BIG SPRING, TX 79721                      EUGENE, OR 97404




EWT HOLDINGS III CORP                     EXACTECH US, INC                      EXACTECH
EVOQUA WATER TECHNOLOGIES LLC             P.O. BOX 674141                       PO BOX 674141
28563 NETWORK PL                          DALLAS, TX 75267-4141                 DALLAS, TX 75267-4141
CHICAGO, IL 60673-1285




EXAM WORKS                                EXCEL GRAPHIC SERVICES, INC.          EXELON CORPORATION
199 E. BADGER RD. STE 150                 P.O. BOX 2609                         CONSTELLATION NEWENERGY-GAS DIV LLC
MADISON, WI 53713                         BLUE RIDGE, GA 30513                  P.O. BOX 5473
                                                                                CAROL STREAM, IL 60197-5473




EXERGEN CORPORATION                       EXMAN, MELISSA R.                     EXPAND A BAND
P.O. BOX 845622                           ADDRESS ON FILE                       13112 S CRENSHAW BLVD
BOSTON, MA 02284-5622                                                           GARDENA, CA 90249




EXPERIAN HEALTH LLC                       EXPERIAN HEALTH                       EXPERIAN HEALTH, INC
P.O. BOX 886133                           720 COOL SPRINGS BLVD                 C/O EXPERIAN
LOS ANGELES, CA 90088-6133                STE 200                               P.O. BOX 886133
                                          FRANKLIN, TN 37067                    LOS ANGELES, CA 90088-6133




EXPRESS CARE MOBILITY                     EXPRESS DRY CLEANERS                  EXPRESS PAYCHECK, INC
P.O. BOX 2127                             425 N WASHINGTON                      7510 S HARLEM
JASPER, OR 97438                          FORREST CITY, AR 72335                BRIDGEVIEW, IL 60455




EXPRESS RECOVERY SERVICES, INC            EXPRESS RECOVERY SERVICES, INC        EXPRESS SCRIPTS, INC
2480 SOUTH MAIN                           P.O. BOX 26415                        100 PARSONS POND DRIVE
SUITE 208                                 SALT LAKE CITY, UT 84126-0415         FRANKLIN LAKES, NJ 07417
SALT LAKE CITY, UT 84115




EXPRESS SERVICES INC                      EXPRESS SERVICES, INC                 EXTREME GREEN LLC
P.O. BOX 844277                           P.O. BOX 203901                       8 ZEAMWAY BOX 6
LOS ANGELES, CA 90084-4277                DALLAS, TX 75320-3901                 LAS VEGAS, NM 87701
EXTREMITY MEDICAL, LLC    Case 20-10766-BLS   Doc
                                        EYCHNER,    6 Filed
                                                 ANNETTE M. 04/07/20   Page EYE
                                                                            570HEALTH
                                                                                of 1969
                                                                                      PARTNERS OF ALABAMA INC
300 INTERPACE PARKWAY                   1780 ARIZONA ST                     250 STATE FARM PKWY
SUITE 410                               GREEN RIVER, WY 82935-5932          BIRMINGHAM, AL 35209
PARSIPPANY, NJ 07054




EYE IN THE SKY LLC                      EYE SURGICAL CENTER LTD             EYLER, RANDAL L.
2948 FOSTER CREIGHTON DR                3990 N ILLINOIS                     ADDRESS ON FILE
NASHVILLE, TN 37204                     BELLEVILLE, IL 62226




EYMAN, TRACIE                           E-Z AIR CONDITIONING                EZAKI, NICOLE
304 DOGWOOD CIRCLE NW                   502 SOUTH COTTER                    11225 ½ 10TH AVENUE
FORT PAYNE, AL 35967                    ALPINE, TX 79830                    HESPERIA, CA 92345




EZELL J WEAVER                          EZELL, JESSE N.                     EZELL, LISA
1065 WHEAT ST                           ADDRESS ON FILE                     6165 HWY 140 SOUTH
MADISON, GA 30650                                                           MCKENZIE, TN 38201




EZIAKOR, EDITH N.                       EZIDINMA, UCHENNA                   EZOLA, LINDA S.
993 LEXUS DR                            ADDRESS ON FILE                     ADDRESS ON FILE
LAWRENCEVILLE, GA 30045




EZOLA, LINDA                            EZOLA, LINDA                        EZZELL, WILLIAM B.
ADDRESS ON FILE                         ADDRESS ON FILE                     4951 CENTERHILL CHURCH RD
                                                                            LOGANVILLE, GA 30052




F & F MECHANICAL INC                    F & V REALTY CO LTD                 F F F ENTERPRISES
P O BOX 909                             3445 VINEYARD NE                    P O BOX 840150
MARION, IL 62959                        CANTON, OH 44708                    LOS ANGELES, CA 90084




F SMITH, MARTAVEOUS F                   F&V REALTY                          F.T.S. MANAGEMENT INC.
2757 OAKMONT WAY                        3435 VINEYARD AVE NW                7475 N. CLARE AVE
MONROE, GA 30656-2702                   CANTON, OH 44708                    P.O. BOX 800
                                                                            HARRISON, MI 48625-0800




FABER & BRAND LLC                       FABER & BRAND LLC                   FABER & BRAND LLC
P.O. BOX 10110                          P.O. BOX 10110                      P.O. BOX 10110
COLUMBIA, MO 65205                      COLUMBIA, MO 65205-4000             COLUMBUS, MO 65205




FABER & BRAND                           FABIAN JR., ROBERT                  FABIAN, RANDY
P O BOX 10110                           1404 W AVE F APT 3                  228 S 8TH STREET
COLUMBIA, MO 65205                      ALPINE, TX 79830                    MONMOUTH, IL 61462
FABIANO, BEATRICE          Case 20-10766-BLS     Doc 6
                                         FABRY, EMILY        Filed 04/07/20   Page FABURADA,
                                                                                    571 of 1969
                                                                                             RON BRYAN C.
ADDRESS ON FILE                           2712 NATIONAL AVE                        ADDRESS ON FILE
                                          GRANITE CITY, IL 62040




FACILITY DIAGNOSTICS LLC                  FACILITY MAINTENANCE SVCS LLC            FACIO, MARTIN
105 WAVERLY PL                            3939 N BRIDGEPORT CIR                    ADDRESS ON FILE
ACCOUNTING DEPT                           WICHITA, KS 67219
LEBANON, TN 37087




FACKLER, AUSTIN K.                        FACKRELL, CONNIE                         FACKRELL, CONNIE
ADDRESS ON FILE                           ADDRESS ON FILE                          ADDRESS ON FILE




FACKRELL, JAMES                           FACKRELL, THERESA                        FACUN, EMMANUEL F.
P.O. BOX 817                              2290 VIEWMONT AVE                        ADDRESS ON FILE
MOUNTAIN VIEW, WY 82939                   SPRINGFIELD, OR 97477




FACUNDO JOSE G                            FADDEN, CHARLI                           FADDEN, SONIA
12920 WADSWORTH RD                        136 AUTUMN AVE                           ADDRESS ON FILE
WAUKEGAN, IL 60087                        EVANSTON, WY 82930




FADDEN, SONIA                             FADDIS, CHELSIE                          FAETANINI, SARAH
ADDRESS ON FILE                           164 COUNTRY WAY                          ADDRESS ON FILE
                                          EVANSTON, WY 82930




FAFLIK, KELLY S.                          FAGAN, ANNA                              FAGAN, NICHOLE R.
5497 GOVERNORS AVE. NW                    14 PADDOCK LN                            ADDRESS ON FILE
CANTON, OH 44718                          GLEN CARBON, IL 62034




FAGER, JACLYN B.                          FAGER, LISA R.                           FAGRON COMPOUNDING SERVICES
718 E 38TH ST                             155 FREDERICK LANE                       8710 E 34TH STREET N
SILVER CITY, NM 88061                     MURPHYSBORO, IL 62966                    WICHITA, KS 67226




FAGRON INC                                FAGRON INC                               FAGRON STERILE SERVICES, LLC
2400 PILOT KNOB RD                        8710 E 34TH ST NORTH                     8710 E 34TH ST NORTH
ST PUAL, MN 55120                         WICHITA, KS 67226                        WICHITA, KS 67226




FAGRON, INC                               FAHEY, MD, CHRISTOPHER                   FAHIE, CHANEL
2400 PILOT KNOB ROAD                      500 SOUTH COTTAGE HILL                   3919 ELLEN ST
ST PAUL, MN 55120-1118                    ELMHURST, IL 60126                       HEPHZIBAH, GA 30815
FAHNESTOCK, TERESA         Case 20-10766-BLS   Doc
                                         FAHRNEY,    6
                                                  JOHN      Filed 04/07/20   Page FAHRNI,
                                                                                   572 ofJODY
                                                                                          1969
1337 N BROAD ST                           7413 GOODLAND AVE SE                    27 S MILLBOURNE RD
GALESBURG, IL 61401                       WAYNESBURG, OH 44688                    APPLE CREEK, OH 44606




FAHRNI, RUTH H.                           FAHY, KIMBERLY M.                       FAILOR, CYNTHIA M.
430 CARVER ST NW                          11032 S SPRINGFIELD                     1008 57 ST
MASSILLON, OH 44647-5310                  CHICAGO, IL 60655                       SPRINGFIELD, OR 97478




FAINTER, RICHARD A.                       FAIR, BRITTANY                          FAIR, LYNETTE G.
21723 PIKE 341                            400 E 10TH ST                           ADDRESS ON FILE
BOWLING GREEN, MO 62661                   BIG SPRING, TX 79720




FAIR, MARISSA D                           FAIR, MARISSA                           FAIRBOURN, JUDITH
110 BROOK SUMMIT LN AP A6                 110 BROOK SUMMIT LN                     4364 N PALMER
BLUE RIDGE, GA 30513                      A6                                      ERDA, UT 84074
                                          BLUE RIDGE, GA 30513




FAIRBURN, VIRGINIA C.                     FAIRCHILD, BRITTANY A.                  FAIRCHILD, LAURA L.
1171 COUNTY LINE RD                       ADDRESS ON FILE                         ADDRESS ON FILE
HARLEM, GA 30814




FAIRCLOTH CASSANDRA                       FAIRFAX INC                             FAIRFIELD BY MARRIOTT MT. VERNON
981 KELLY RIDGE RD                        P.O. BOX 361432                         217 POTOMAC BLVD.
BLUE RIDGE, GA 30513                      CLEVELAND, OH 44136                     MT. VERNON, IL 62864




FAIRFIELD COUNTY MUNICIPAL COURT          FAIRFIELD INN & SUITES                  FAIRFIELD INN BY MARRIOTT
P.O. BOX 2390                             3003 FRANKLIN BLVD                      901 W CARL SANDBURG DRIVE
LANCASTER, OH 43130                       EUGENE, OR 97403                        GALESBURG, IL 61401




FAIRFIELD MEMORIAL HOSPITAL               FAIRLESS GARY G                         FAIRLESS, LORRI L.
303 N.W. 11TH STREET                      401 S MORELAND RD                       5700 OAK DR NW
FAIRFIELD, IL 62837                       APT 264                                 CANTON, OH 44718
                                          BETHALTO, IL 62010




FAIRLEY, SUSAN G.                         FAIRMONT PARK, INC                      FAIRRES, RUSSELL
P.O. BOX 181                              9301 COLLINSVILLE RD                    1970 ARROWHEAD DR NE
PARKIN, AR 72373                          COLLINSVILLE, IL 62234                  DEMING, NM 88030




FAIRVIEW HEIGHTS MEDICAL GROUP            FAISON, STACEY                          FAITH COUNTRYSIDE HOMES
331 SALEM PL                              2361 WILLOW SHADE LN                    HEALTH & WELFARE TRUST
100                                       LOGANVILLE, GA 30052-5932               100 FAITH DRIVE
FAIRVIEW HEIGHTS, IL 62208                                                        HIGHLAND, IL 62249-0000
FAITH JOHN                 Case 20-10766-BLS     Doc 6
                                         FAITH PATE          Filed 04/07/20   Page FAITH
                                                                                    573 SHAFFER
                                                                                         of 1969
804 DEWEY STREET                          935 MOUNT LEBANON RD                     7363 N CASABLANCA DR
BELLEVILLE, IL 62220                      DECATURVILLE, TN 38329                   TUCSON, AZ 85704




FAITH, TIMOTHY D.                         FAJARDO GUSTAVO                          FAJARDO SUSANA
1803 LECTON COURT                         2740 W LUCIA AVE                         4217 QUAIL ST
THOMPSONS STATION, TN 37179               WAUKEGAN, IL 60085                       ZION, IL 60099




FAJARDO, ANDREA                           FAJARDO, ROSA E.                         FAKOLADE, FOLAHANMI C.
10757 W EDGEWOOD RD                       ADDRESS ON FILE                          ADDRESS ON FILE
BEACH PARK, IL 60087




FALANGA, SARAH N.                         FALCIS, MARY BELL S.                     FALCON STAR INC
156 ODELLE DRIVE                          ADDRESS ON FILE                          2 HUNTINGTON QUADRANGLE
AKRON, OH 44319                                                                    SUITE 1S20
                                                                                   MELVILLE, NY 11747




FALCON, AIDAN                             FALCONSTOR INC                           FALER, ELMER L., JR.
P.O. BOX 863                              2 HUNTINGTON QUADRANGLE                  297 N SPERRY ST
MT VIEW, WY 82939                         STE 2S01                                 BUSHNELL, IL 61422
                                          MELVILLE, NY 11747




FALK, HELENA M.                           FALK, KENDRA                             FALKNER, MICHAELA J.
12 SHANNON DR.                            2152 LOMOND AVENUE                       4008 N DROUBAY RD
APPLECREEK, OH 44606                      SPRINGFIELD, OR 97477                    ERDA, UT 84074




FALKNOR, DONALD R.                        FALKNOR, DONALD R.                       FALL CREEK HEALTH & SAFETY
201 W FORD ST APT 18                      201 W FORD ST APT 1B                     NATIONWIDE MEDICAL REVIEW
ENERGY, IL 62933                          ENERGY, IL 62933                         7160 GRAHAM RD
                                                                                   INDIANAPOLIS, IN 46250




FALL, BONNIE                              FALLAH, NANCY E.                         FALLAN, DAVID I.
455 TANYA AVE NW                          80 GRAYMOOR LANE                         509 W LAUREL DR
MASSILLON, OH 44646-3534                  OLYMPIA FIELDS, IL 60461                 SALINAS, CA 93906




FALLBROOK CREDIT FINANCE LLC              FALLON ELLIS                             FALLON, ELLIS
26610 AGOURA RD                           ADDRESS ON FILE                          ADDRESS ON FILE
STE 120
CALABASAS, CA 91302




FALLON, JENNIFER M.                       FALLS BRITTNEY                           FALLS, ALDEN
ADDRESS ON FILE                           P.O. BOX 58                              855 PINEY ROAD
                                          DUCKTOWN, TN 37326                       MINERAL BLUFF, GA 30559
FALLS, HALEY                Case 20-10766-BLS     Doc 6P. Filed 04/07/20
                                          FALLS, JOSHUA                        Page FALLUCCA
                                                                                     574 of 1969
                                                                                             TIMOTHY
80 PINE GROVE DRIVE                        859 PINEY RD                             1009 W BAY RD LOT 32
BLUE RIDGE, GA 30513                       MINERAL BLUFF, GA 30559                  MCHENRY, IL 60051




FALLUCCA, CASSANDRA                        FALVO, SANDRA                            FAMILARA, CHERRY M.
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE




FAMILIES FOR THE ADVANCEMENT               FAMILY CONCEPTS LTD                      FAMILY CONCEPTS, LTD
OF CATHOLIC EDUCATION                      4491 POSTERITY COURT                     ATTN: ROBYN MCDANIEL
P.O. BOX 245                               GASTONIA, NC 28055                       P.O. BOX 551236
HERRIN, IL 62948                                                                    GASTONIA, NC 28055-1236




FAMILY CRISIS CENTER OF BB                 FAMILY FINANCIAL EDUCATION               FAMILY FINANCIAL EDUCATORS
P.O. BOX 1214                              FOUNDATION                               FOUNDATION
ALPINE, TX 79831                           P.O. BOX 2125                            P.O. BOX 2125
                                           EVANSTON, WY 82931-2125                  EVANSTON, WY 82931-2125




FAMILY HEALTH NETWORK                      FAMILY HEALTH NETWORK                    FAMILY HEALTH NETWORK
1240 E DIEHL RD STE 100                    1240 E DIEHL RD                          1240 E DIEHL ROAD SUITE 100
NAPERVILLE, IL 60563-4802                  SUITE 100                                NAPIERVILLE, IL 60563
                                           NAPERVILLE, IL 60563




FAMILY HEALTH NETWORK                      FAMILY HEALTH NETWORK                    FAMILY HEALTH NETWORK
322 GREEN ST SE 400                        322 S GREEN ST                           CLAIMS RESOLUTION
CHICAGO, IL 60607                          CHICAGO, IL 60607                        P.O. BOX 292876
                                                                                    NASHVILLE, TN 37229




FAMILY HEALTH NETWORK                      FAMILY HEALTH NETWORK                    FAMILY HEALTH NETWORK
CLAIMS RESOLUTIONS                         CLIAMS RESOLUTION                        P.O. BOX 292876
P.O. BOX 292876                            P.O. BOX 292876                          NASHVILLE, TN 37229
NASHVILLE, TN 37229                        NASHVILLE, TN 37229




FAMILY HEALTH NETWORK                      FAMILY HLTH NETWORK                      FAMILY LIFE INSURANCE
P.O. BOX 981731                            P.O. BOX 981731                          1077 NORTHWEST FREEWAY
EL PASO, TX 79998-1731                     EL PASO, TX 79998                        HOUSTON, TX 77092




FAMILY MEDICAL CENTER                      FAMILY PHYSICIANS OFFICE BULIDING        FAMILY READER SERVICE
2301 S.GREGG ST                            PARTNERSHIP                              P.O. BOX 1469
BIG SPRING, TX 79720                       250 BOSWELL STREET                       ELYRIA, OH 44036
                                           LEXINGTON, TN 38351




FAMILY SUPPORT PAYMENT CTR                 FAMILY SUPPORT REGISTRY                  FAMILY SUPPORT REGISTRY
P.O. BOX 109002                            P.O. BOX 1800                            P.O. BOX 1800
JEFFERSON CITY, MO 63110-0991              CARROLLTON, GA 30112-1800                CARROLTON, GA 30112-1800
FAMILY SUPPORT REGISTRYCase 20-10766-BLS     Doc 6 Filed 04/07/20
                                     FAMILY TRADITIONS                  Page FAMILY
                                                                              575 ofVINE
                                                                                      1969
                                                                                         LLC, THE
P.O. BOX 2171                        P.O. BOX 550968                          1349 RED BALL TRAIL
DENVER, CO 80201-2171                GASTONIA, NC 28055                       GREENVILLE, IL 62246




FANCHER RICHARD A                   FANCHER, ELIZABETH S.                     FANCHIER, EDITH C.
3403 FRANKLIN AVE                   1824 E SHOE FLY RD                        5706 N CYPRESS APT 4101
GRANITE CITY, IL 62040              AVON, IL 61415                            PEORIA, IL 61615




FANN, ELIZABETH                     FANN, FRANCES R.                          FANNIN CHAMBER OF COMMERCE
213 LAKE CHARLES DR                 ADDRESS ON FILE                           152 ORVIN LANCE DRIVE
JASPER, GA 30143                                                              BLUE RIDGE, GA 30513




FANNIN CO CLERK OF SUPERIOR COURT   FANNIN CO MAGISTRATE COURT                FANNIN CO. MAGISTRATE COURT
400 WEST MAIN ST., STE 300          490 WEST MAIN STREET, STE 202             400 WEST MAIN ST
BLUE RIDGE, GA 30513                BLUE RIDGE, GA 30513                      SUITE 202
                                                                              BLUE RIDGE, GA 30513




FANNIN COUNTY BOARD OF              FANNIN COUNTY CLERK OF SUPERIOR           FANNIN COUNTY HEALTH DEPT.
COMMISSIONERS                       COURT                                     P.O.B. 387
400 WEST MAIN STREET                P.O. BOX 1300                             BLUE RIDGE, GA 30513
SUITE 100                           BLUE RIDGE, GA 30513
BLUE RIDGE, GA 30513



FANNIN COUNTY HIGH SCHOOL           FANNIN COUNTY SPORTS HALL OF FAME         FANNIN COUNTY TAX COMMISSIONER
360 REBEL CIRCLE                    P.O. BOX 342                              400 W MAIN ST, STE 103
BLUE RIDGE, GA 30513                MCCAYSVILLE, GA 30555                     BLUE RIDGE, GA 30513




FANNIN COUNTY TAX COMMISSIONER      FANNIN COUNTY TIP-OFF CLUB                FANNIN EMERGENCY GROUP,LLC
400 W MAIN ST, STE 103              P.O. BOX 1580                             ATTN: ACCOUNTS RECEIVABLE
BLUE RIDGE, GA 30513-8593           BLUE RIDGE, GA 30513                      P.O. BOX 677979
                                                                              DALLAS, TX 75267-7979




FANNIN PHYSICIAN SERVICES, LLC      FANNIN REGIONAL HOSP                      FANNIN REGIONAL HOSPITAL
ATTN: ACCOUNTS RECEIVABLE           CASH RECEIPTS
P.O. BOX 677979
DALLAS,, TX 75267-7979




FANNIN REGIONAL HOSPITAL            FANNIN REGIONAL ORTHOPAEDIC CENTER,       FANNIN WRECKER SERVICE, LLC
2855 OLD HWY 5, NORTH               INC.                                      135 JOSH HALL RD.
BLUE RIDGE, GA 30513                289 S. CULVER ST.                         BLUE RIDGE, GA 30513
                                    LAWRENCEVILLE, GA 30046




FANNIN, CHARLES                     FANNIN, CONTESSA D.                       FANNIN, KIMBERLY
427 EVENING SHADE WALK              ADDRESS ON FILE                           ADDRESS ON FILE
MINERAL BLUFF, GA 30559
FANNING, MICHELLE         Case 20-10766-BLS
                                        FANNING,Doc  6 Filed
                                                 REBECCA L.  04/07/20   Page FANTASKI,
                                                                              576 of 1969
                                                                                       ELIZABETH A.
ADDRESS ON FILE                          ADDRESS ON FILE                      244 5TH ST
                                                                              RENOVO, PA 17764




FANY-YU, MA                              FARAG, AMEAR                         FARAR LINDA M
7021 STALLION DR                         8934 TROLLEY ROAD                    8923 S MAIN STREET
EDWARDSVILLE, IL 62025                   COLUMBIA, IL 62236                   HOMETOWN, IL 60456




FAREN, ROCCO                             FARIA, GAIL E.                       FARIA, MILOT F.
4055 SUNSET RIDGE RD S                   ADDRESS ON FILE                      ADDRESS ON FILE
SALEM, OR 97302




FARIAS, LILIA                            FARIAS, MICHELLE A.                  FARIES JESSICA M
9368 POLLOCK LN                          315 SOUTH DIAMOND AVENUE             810 SHERIDAN LANE
SALINAS, CA 93907                        DEMING, NM 88030                     WATERLOO, IL 62298




FARIS AZZOUNI, MD                        FARIS, ANNIKA J.                     FARK, KELSEY
4536 WALNUT CREEK DRIVE                  ADDRESS ON FILE                      1 SCENIC VIEW LANE
LEXINGTON, KY 40509                                                           MURPHYSBORO, IL 62966




FARLEY LINDA D                           FARLEY, ALEIA N.                     FARLEY, ALEIA N.
591 N CHAMBERS ST                        14543 HOYNE AVE                      ADDRESS ON FILE
GALESBURG, IL 61401                      DIXMOOR, IL 60426




FARLEY, EDWARD                           FARLEY, ELIZABETH R.                 FARLEY, JAMIE
4160 LAUREL OAK LANE                     240 COACHMAN DR                      852 BARBARA ST
SMITHTON, IL 62285                       EUGENE, OR 97405                     BARBOURSVILLE, WV 25504




FARLEY, JENNIFER                         FARLEY, JOHN FREDERIC                FARLEY, KAREN L.
724 CHERRY RIDGE COURT                   227 DUBLIN                           ADDRESS ON FILE
GRANTSVILLE, UT 84029                    EUGENE, OR 97404-0000




FARLEY, KENNETH                          FARLOW, CATHERINE                    FARLOW, CATHERINE
88 STONEBROOK DRIVE                      ADDRESS ON FILE                      ADDRESS ON FILE
HIGHLAND, IL 62249




FARLOW, GERALDINE                        FARM BUREAU HEALTH PLAN              FARMER ENVIRONMENTAL SERVICES LLC
12440 BENCK DR                           P.O. BOX 300                         108 EMERALD HILLS DR
APT 207                                  COLUMBIA, TN 38402                   EDWARDSVILLE, IL 62025
ALSIP, IL 60803
FARMER, ANGEL LEA M.      Case 20-10766-BLS
                                        FARMER,Doc  6 Filed
                                               CRISTOPHER L. 04/07/20   Page FARMER,
                                                                              577 of CRISTOPHER
                                                                                     1969       L.
ADDRESS ON FILE                          1009 RUTHERFORD WAY                 ADDRESS ON FILE
                                         HENDERSONVILLE, TN 37075




FARMER, DANNY                            FARMER, KATHY L.                    FARMER, KENDRA
145 WIND RIDGE CT.                       2375 LEMONDS RD                     ADDRESS ON FILE
MINERAL BLUFF, GA 30559                  SOCIAL CIRCLE, GA 30025




FARMER, MADELINE                         FARMER, MARTHA JEAN                 FARMER, MARY
ADDRESS ON FILE                          291 COUNTY RD 807                   ADDRESS ON FILE
                                         FLAT ROCK, AL 35966-0361




FARMER, TAMMY R.                         FARMER, WYNTER                      FARMERS INSURANCE
P.O. BOX 1094                            108 EMERALD HILLS DR                2500 FIFTH AVE
MURPHY, NC 28906                         EDWARDSVILLE, IL 62025              POCATELLO, ID 83204




FARMERS INSURANCE                        FARMERS TELE COOPERATIVE            FARMERS TELECOMMUNICATIONS COO
P.O. BOX 268994                          P.O. BOX 217                        144 MCCURDY AVE
OKLAHOMA CITY, OK 73126                  RAINSVILLE, AL 35986                P.O. BOX 217
                                                                             RAINSVILLE, AL 35986




FARMERS TELECOMMUNICATIONS CORP.         FARMERS                             FARMHOUSE MEMORIES
P.O. BOX 217                             P.O. BOX 268993                     RT 2565
RAINSVILLE, AL 35986                     OKLAHOMA CITY, OK 73126             P.O. BOX 641
                                                                             LOUISA, KY 41230




FARNSWORTH, ALLEN R.                     FARNSWORTH, SCOTT                   FARNWORTH, ANGIE
3 RHINELAND PLACE                        P.O. BOX 1179                       916 DINA AVE
MILLSTADT, IL 62260                      OVERTON, NV 89040-1179              COLLINSVILLE, IL 62234




FAROOQUI, SOHAIL                         FARR, ELIZABETH M.                  FARRAR, WILLIAM
2572 N MALLARD LANE                      1800 POST ROAD APT 1026             924 SANDCUTT RD
ROUND LAKE, IL 60073                     SAN MARCOS, TX 78666                GREENVILLE, AL 36037




FARRELL, KRISTIN E.                      FARRELL, LISA A.                    FARRELL, MARLA
ADDRESS ON FILE                          ADDRESS ON FILE                     2161 SPRATLIN MILL RD
                                                                             HULL, GA 30646




FARRELL, PIPER                           FARRER, SHERRY D.                   FARRIN, JAMES S., PC
38145 N MCCARTHY RD                      P.O. BOX 1779                       IOLTA TRUST ACCT.P-12
WADSWORTH, IL 60083                      BLUE RIDGE, GA 30513                280 S MANGUM ST. SUITE400
                                                                             DURHAM, NC 27701
FARRIS, DEAN             Case 20-10766-BLS     Doc 6R. Filed 04/07/20
                                       FARRIS, JAMES                    Page FARRIS,
                                                                              578 ofROSEANN
                                                                                     1969 C.
P.O. BOX 134                            ADDRESS ON FILE                      P.O. BOX 2171
119 RAILROAD ST                                                              FREEDOM, CA 95019
CUTLER, IL 62238




FARRIS, ROSETTA A.                      FARRIS, SCARLETT L.                  FARROW, L MYRION
1109 N CEDAR STREET                     208 W PARK DR                        1124 GENE BELL RD
GALESBURG, IL 61401                     WYNNE, AR 72396                      MONROE, GA 30655-6114




FARROW, NICHOLAS                        FARRUGGIA, LINDA A.                  FARTHING, JENNIFER N.
ADDRESS ON FILE                         8420 DUNMORE DRIVE                   ADDRESS ON FILE
                                        TINLEY PARK, IL 60487




FARZAIE, JADWIGA                        FAS, SUSANNA                         FASPSYCH, LLC
ADDRESS ON FILE                         433 CARMEL ST                        8687 EVIA DE VENTURA, STE 310
                                        WATSONVILLE, CA 95076                SCOTTSDALE, AZ 85258




FASS, CLARASSA                          FASS, KIMBERLY                       FASSBINDER, CHRISTINE
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




FASSBINDER, MOLLY                       FAST HEALTH CORPORATION              FASTAFF, LLC
18 CATHY ANN DRIVE                      1001 23RD AVENUE                     P.O. BOX 911452
BELLEVILLE, IL 62220                    SUITE C                              DENVER, CO 80291-1452
                                        TUSCALOOSA, AL 35401




FASTENAL COMPANY                        FASTENAL COMPANY                     FASTSIGNS
P.O. BOX 1286                           P.O. BOX 978                         2294-A COUNTY HOME ROAD
WINONA, MN 55987-1286                   WINONA, MN 55987-0978                GREENVILLE, NC 27858




FAUDELL, TOEBE KENNETH                  FAUGHT, CHIANNE                      FAUGHT, MARJORIE
377 SCOTTS GLEN DR                      P.O. BOX 7192                        P.O. BOX 626
SPRINGFIELD, OR 97477                   BUNKERVILLE, NV 89007-0192           MESQUITE, NV 89024




FAUGHT, SAMUEL                          FAULK, AIDENN A.                     FAULKENBERRY, MICHAEL B.
78 DENNISON DR                          1753 ANSON DR.                       ADDRESS ON FILE
LEXINGTON, TN 38351                     TOOELE, UT 84074




FAULKNER, DANYELLE T.                   FAULKNER, DAVID                      FAULKNER, JOYCE
42 POTOMAC DR                           ADDRESS ON FILE                      265 CLIFFORD HICKS ROAD
FAIRVIEW HEIGHTS, IL 62208                                                   CAMDEN, TN 38320
FAULKNER, KAREN          Case 20-10766-BLS    Doc
                                       FAULKNER,   6 Filed
                                                 KATHRYN S. 04/07/20     Page FAULKNER,
                                                                               579 of 1969
                                                                                        STEVE
1701 N AVALON APT 203                   43 WAVERLY LN                         ADDRESS ON FILE
WEST MEMPHIS, AR 72301                  WINDER, GA 30680




FAULKNER, TAMMY                         FAULKNER, TAMMY                       FAULKNER, TAMMY
ADDRESS ON FILE                         325 REEDS LEVEE RD                    ADDRESS ON FILE
                                        MCKENZIE, TN 38201




FAULKNER, WILMA,                        FAULKS, SUGEY M.                      FAULKS, SUGEY M.
7277 E. BANK ROAD                       4220 8TH ST. SW                       ADDRESS ON FILE
SESSER, IL 62884                        DEMING, NM 88030




FAULL, TRESHA A.                        FAULSTICH, CLARIA I.                  FAULTLESS LAUNDRY COMPANY
1441 KNOX HWY 17                        ADDRESS ON FILE                       P.O. BOX 779008
GILSON, IL 61436                                                              CHICAGO, IL 60677-9008




FAULTLESS LAUNDRY COMPANY               FAULTLESS LAUNDRY                     FAULTLESS LINEN RETAIL MEDICAL
P.O. BOX 779022                         P.O. BOX 795145                       P.O. BOX 779022
CHICAGO, IL 60677-9022                  ST LOUIS, MO 63179-0000               CHICAGO, IL 60677-9022




FAULTLESS                               FAUNTLEROY, ANTHONY                   FAUSHER, STEPHANIE
P.O. BOX 779022                         914 GLEN FLORA AVE 308                530 PINEWOOD DR
CHICAGO, IL 60677-9022                  WAUKEGAN, IL 60085                    ELK GROVE VILLAGE, IL 60007




FAUSS, JOYCE                            FAUSTO, MARISA B.                     FAVERTY, DEBRA
ADDRESS ON FILE                         230 GROVE ACRE AVENUE APT. 302        1505 STATE STREET
                                        PACIFIC GROVE, CA 93950               CHESTER, IL 62233




FAVID, NEVEN                            FAVIER, DANNY                         FAVORITE HEALTHCARE STAFFING INC
12909 82ND CT                           2729 WILLOW                           P.O. BOX 26225
PALOS PARK, IL 60464                    GRANITE CITY, IL 62040                OVERLAND PARK, KS 66225




FAVORITE NURSES/FAVORITE TEMPS          FAWSON, GARY L.                       FAWSON, SHARON
P.O. BOX 26225                          187 WATERHOLE WAY                     139 ASPEN WAY
OVERLAND PARK, KS 66225                 GRANTSVILLE, UT 84029                 GRANTSVILLE, UT 84029




FAWVER, KELLY L.                        FAXITRON BIOPTICS, LLC                FAXITRON BIOPTICS, LLC
2212 MAXINE AVE NE                      3440 E BRITANNIA DR STE 150           3440 E. BRITANNIA DRIVE
CANTON, OH 44705                        TUCSON, AZ 85706-5001                 TUCSON, AZ 85706
FAXITRON BIOPTICS, LLC Case 20-10766-BLS     Doc 6
                                     FAXON, TRISTIN     Filed 04/07/20   Page FAY,
                                                                               580BETTE
                                                                                   of 1969
3440 E. BRITANNIA DRIVE, SUITE 150   ADDRESS ON FILE                          ADDRESS ON FILE
TUCSON, AZ 85706-5001




FAY, ELIZABETH J.                     FAY, KEVIN                              FAY, KEVIN
2004 SCARBROUGH RD                    1540 BRISTOL DRIVE NORTH                ADDRESS ON FILE
SPRINGFIELD, IL 62702-2060            MOUNT JULIET, TN 37122




FAYES FLOWERS                         FAYETTE COUNTY HOSPITAL                 FAYN, YEKATERINA
1013 GREGG ST                         ATTN: WILL MOSIER-PETERSON              ADDRESS ON FILE
BIG SPRING, TX 79720                  650 W TAYLOR
                                      VANDALIA, IL 62471




FAZIO, JAMES                          FBM                                     FC MARKETPLACE LLC
408 FORREST DALE AVE                  FOUNDATION BUILDING MATERIALS           747 FRONT ST, FLR 4
ALBERTVILLE, AL 35950                 3950 TAUSSIG AVE                        SAN FRANCISCO, CA 94111
                                      BRIDGETON, MO 63044-1217




FCA                                   FCA                                     FCB BANKS
200 MAIN STREET                       SOUTHERN ILLINOIS FCA                   800 BELT LINE RD
P.O. BOX 9                            P.O. BOX 9 200 MAIN ST                  COLLINSVILLE, IL 62234
WHITTINGTON, IL 62897                 WHITTINGTON, IL 62897




FCE BENEFIT ADMINISTRATION            FCHS ACADEMIC BOOSTER CLUB              FCHS DUGOUT CLUB
4615 WALZEM ROAD                      P.O. BOX 2256                           360 REBEL CIRCLE
SUITE 300                             BLUE RIDGE, GA 30513                    BLUE RIDGE, GA 30513-0000
SAN ANTONIO, TX 78218




FCHS QUARTERBACK CLUB                 FCI OPHTHALMICS                         FCI OPTHALMICS
POB 2234                              30 CORPORATE PARK DR                    30 CORPORATE PARK DRIVE
BLUE RIDGE, GA 30513                  STE 310/20                              SUITE 310/320
                                      PEMBROKE, MA 02359                      PEMBROKE, MA 02359




FCX PERFORMANCE                       FDA MQSA PROGRAM                        FDA
1850 HOWARD ST, UNIT C                P.O. BOX 979109                         ATTN: JANET O’BRIEN
ELK GROVE VILLAGE, IL 60007           ST. LOUIS, MO 63197-9000                10903 NEW HAMPSHIRE AVENUE
                                                                              SILVER SPRING, MD 20993




FDA-MQSA PROGRAM                      FDA-MQSA PROGRAM                        FDA-MQSA PROGRAM
FOOD AND DRUG ADMIN                   P.O. BOX 979109                         POB 979109
P.O. BOX 979109                       ST. LOUIS, MO 63197-9000                ST LOUIS, MO 63197-9000
ST LOUIS, MO 63197-9000




FDA-MQSA                              FDH RESOURCES LLC D/B/A FORMOS          FDR SERVICES CORP
PO BOX 979109                         RESOURCES LLC                           44 NEWMANS COURT
ST LOUIS, MO 63197                    P.O. BOX 1054                           HEMPSTEAD, NY 11550
                                      BRENTWOOD, TN 37024-1054
FDS, INC                   Case 20-10766-BLS    Doc
                                         FE MORAN FIRE6PROTECTION
                                                          Filed 04/07/20          Page FE
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                                                                                          MORAN SECURITY SOULTIONS
P.O. BOX 840432                            3001 RESEARCH RD, STE A                     201 W UNIVERSITY AVE
DALLAS, TX 75284-0432                      CHAMPAIGN, IL 61822                         STE 1
                                                                                       CHAMPAIGN, IL 61820




FEAGIN, JANICE                             FEARING, TAMARA                             FEARING, TAMARA
490 MARTIN ST                              2020 HATCH HWY APT 15                       2020 HATCH HWY. APT. 15
GEORGIANA, AL 36033                        DEMING, NM 88030                            DEMING, NM 88030




FEARN BRAD                                 FEARS, JULIA M.                             FEATHER MD, RENEE B.
P.O. BOX 194                               ADDRESS ON FILE                             ADDRESS ON FILE
EVANSTON, WY 82930-0194




FED EX                                     FED EX                                      FED EX
DEPT CH P.O. BOX 10306                     DEPT CH P.O. BOX 10306                      DEPT CH PO BOX 10306
PALATINE, IL 60055-0000                    PALATINE, IL 60055-0306                     PALATINE, IL 60055-0000




FED EX                                     FEDDERS, MATTHEW                            FEDDERS, SARAH
P.O. BOX 94515                             2117 S SHELLY DR                            2117 S SHELLY DR
PALATINE, IL 60094-4515                    DEMING, NM 88030                            DEMING, NM 88030




FEDDERSEN, DIANNA L.                       FEDERAL AVIATION ADMINISTRATION             FEDERAL COMMUNICATIONS COMMISSION
ADDRESS ON FILE                            ATTN: PHILLIP BRADEN                        445 12TH STREET SW
                                           SOUTHERN DIVISION MEMPHIS AIRPORT           WASHINGTON, DC 20554
                                           DISTRICT OFFICE
                                           2600 THOUSAND OAKS BLVD., SUITE 2250
                                           MEMPHIS, TN 38118

FEDERAL EQUIPMENT CO                       FEDERAL EXPRESS CORP                        FEDERAL EXPRESS CORP
5298 RIVER ROAD                            FEDEX                                       P.O. BOX 371461
CINCINNATI, OH 45233                       P.O. BOX 7221                               PITTSBURGH, PA 15250
                                           PASADENA, CA 91109-7321




FEDERAL EXPRESS CORP                       FEDERAL EXPRESS CORP                        FEDERAL EXPRESS CORP
P.O. BOX 660481                            P.O. BOX 7221                               P.O. BOX 94515
DALLAS, TX 75266-0481                      PASADENA, CA 91109-7321                     PALATINE, IL 60094-4515




FEDERAL EXPRESS CORPORATION                FEDERAL EXPRESS                             FEDERAL EXPRESS
DEPT CH P.O. BOX 10306                     P O BOX 660481                              P.O. BOX 94515
PALATINE, IL 60055-0306                    DALLAS, TX 75266-0481                       PALATINE, IL 60094-4515




FEDERAL LOAN SERVICING                     FEDERAL LOAN SERVICING                      FEDERAL MEDIATION AND CONCILIATION
DEPT. OF EDUCATION                         P.O. BOX 790234                             SERVICE
P.O. BOX 790234                            ST. LOUIS, MO 63179-0234                    250 E STREET SOUTHWEST
ST. LOUIS, MO 63179-0234                                                               WASHINGTON, DC 20427
FEDERAL WAREHOUSE CO Case 20-10766-BLS     DocMUTUAL
                                   FEDERATED    6 Filed   04/07/20
                                                     INSURANCE CO        Page FEDERATED
                                                                               582 of 1969
                                                                                        MUTUTAL INSURANCE CO
P.O. BOX 1329                      P.O. BOX 328                               ATTN: REFUND DEPT
PEORIA, IL 61654-0000              ATTN: CLAIMS DEPARTMENT                    P.O. BOX 486
                                   OWATONNA, MN 55060                         OWATONNA, MN 55060




FEDERATION OF AMERICAN HOSPITALS    FEDERATION OF STATE MEDICAL BOARDS        FEDEX - EXPRESS & GROUND
P.O. BOX 75780                      400 FULLER WISER RD                       P.O. BOX 660481
BALTIMORE, MD 21275-5780            STE 300                                   DALLAS, TX 75266-0481
                                    EULESS, TX 76039




FEDEX CUSTOM CRITICAL INC           FEDEX FREIGHT                             FEDEX FREIGHT
P.O. BOX 645135                     DEPT CH P.O. BOX 10306                    P.O. BOX 10306
PITTSBURGH, PA 15264-5135           PALATINE, IL 60055-0306                   PALATINE, IL 60055-0306




FEDEX FREIGHT                       FEDEX FREIGHT, INC.                       FEDEX
P.O. BOX 94515                      DEPT CH P.O. BOX 10306                    P O BOX 94515
PALATINE, IL 60094-4515             PALATINE, IL 60055-0306                   PALATINE, IL 60094-4515




FEDEX                               FEDEX                                     FEDEX
P.O. BOX 371461                     P.O. BOX 660481                           P.O. BOX 660481
PITTSBURGH, PA 15250-7461           DALLAS, TX 75266                          DALLAS, TX 75266-0481




FEDEX                               FEDEX                                     FEDEX
P.O. BOX 94515                      P.O. BOX 94515                            PO BOX 94515
PALATINE, IL 60094                  PALATINE, IL 60094-4515                   PALATINE, IL 60094




FEDLOAN SERVICING                   FEDLOAN SERVICING                         FEDLOAN SERVICING
DEPARTMENT OF EDUCATION             DEPT OF EDUCATION                         P.O. BOX 530210
P.O. BOX 530210                     P.O. BOX 530210                           ATLANTA, GA 30353-0210
ATLANTA, GA 30353-0210              ATLANTA, GA 30353-0210




FEDLOAN SERVICING                   FEDLOAN SERVICING                         FEDLOAN SERVICING
P.O. BOX 69184                      P.O. BOX 691844                           RE:C.SANDRIDGE 5998154362
HARRISBURG, PA 17106-9184           HARRISBURG, PA 17106-9184                 P.O. BOX 69184
                                                                              HARRISBURG, PA 17106-9184




FEDOR, STEVEN                       FEDOROV, KRISTIN G.                       FEDOROW CHARLES P
167 ROUSE AVE                       ADDRESS ON FILE                           1452 170TH ST
MUNDELEIN, IL 60060                                                           CAMERON, IL 61423




FEDOROW, CHARLES P.                 FEDOROW, DIANE                            FEDOTOWSKY, MARINA A.
1452 170TH ST                       1452 170TH STREET                         3001 CORTE DE CONSUELO
CAMERON, IL 61423                   CAMERON, IL 61423                         DEMING, NM 88030
FEDOTOWSKY, MARINA A.      Case 20-10766-BLS     Doc
                                         FEE, BOBBI B. 6        Filed 04/07/20   Page FEE,
                                                                                       583BOBBI
                                                                                           of 1969
                                                                                                B.
ADDRESS ON FILE                            9615 CHANCELLORSVILLE DR                   ADDRESS ON FILE
                                           ST. LOUIS, MO 63126




FEE, JAMES                                 FEELY, JOSEPH                              FEEMSTER, MAKAYLA
768 OAKCREST LN NE                         747 BATEMAN ST                             696 COUNTY ROAD 391
MASSILLON, OH 44646-4925                   GALESBURG, IL 61401                        GERALDINE, AL 35971




FEENEY, CHRISTINA                          FEERRAR, JARED                             FEGLES, JOLENE A.
ADDRESS ON FILE                            90 CUSTER LN                               ADDRESS ON FILE
                                           LOCK HAVE, PA 17745




FEHR, ELIZABETH                            FEHR, JULIA D.                             FEHR, MATTHEW
8625 HWY 49                                10327 FIRST ROAD                           10327 1ST RD
POPLAR GROVE, AR 72374                     RED BUD, IL 62278                          RED BUD, IL 62278




FEICHTER, VIRGINIA I.                      FEIGH, KRISTI L.                           FEIRICH MAGER GREEN RYAN
1750 KENYON SW                             ADDRESS ON FILE                            P.O. BOX 1570
MASSILLON, OH 44647                                                                   CARBONDALE, IL 62903




FEIRICH/MAGER/GREEN/RYAN                   FELA, CAROLINA                             FELCYN, MEGAN M.
ATTORNEYS P.O. BOX 1570                    2675 GRAYBILL RD                           6750 DEREK CIRCLE SE
2001 WEST MAIN STREET                      UNIONTOWN, OH 44685                        EAST SPARTA, OH 44626
CARBONDALE, IL 62903




FELDER, SHIRLEY                            FELDKER, KIMBERLY A.                       FELDMAN, DORIS M.
ADDRESS ON FILE                            2803 DOGWOOD LN.                           500 E 6TH AVE APT 226
                                           WATERLOO, IL 62298                         JUNCTION CITY, OR 97448




FELDMANN, MICHELLE                         FELECIA WAECHTLER                          FELGENHAUER, KRISTIE
ADDRESS ON FILE                            P.O. BOX 1526                              ADDRESS ON FILE
                                           LYMAN, WY 82937




FELICIA WILEY                              FELICIANO, ALEXANDER A.                    FELISHA BAEZA
106 MARK TRAIL DR                          ADDRESS ON FILE                            P.O. BOX 2012
GLEN CARBON, IL 62034                                                                 MESQUITE, NV 89024




FELISHA BOATWRIGHT                         FELIX STORCH, INC.                         FELIX, FLOWER
P.O. BOX 92                                770 GARRISON AVE                           305 S. JUAREZ ST
WRENS, GA 30833                            BRONX, NY 10474                            DEMING, NM 88030
FELLER, STEPHANIE L.      Case 20-10766-BLS     Doc 6
                                        FELLER, TERRI        Filed 04/07/20   Page FELT,
                                                                                    584 DON
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823 PARK VILLAGE DRIVE                   515 SIOUX DR                              3415 HYACINTH
LOUISVILLE, OH 44641                     EVANSTON, WY 82930                        EUGENE, OR 97404




FELTMEYER MARGARET R                     FELTNER, BERTHA                           FELTON, BAILEY
4801 WARNOCK AVE                         573 BRYN MAWR ST                          10734 S EBERHART
GRANITE CITY, IL 62040                   PARK CITY, IL 60085                       CHICAGO, IL 60628




FELTON, JASON                            FEN, LIN                                  FENDER, KATHLEEN
2331 HWY 1 N                             409 EAST MAIN ST                          34 S IRELAND BLVD
MARIANNA, AR 72360                       PLYMOUTH, NC 27962                        ONTARIO, OH 44906-2221




FENN, TISHIA E                           FENNER, SHARLENA                          FENSKE, DIANE
1613 DEER CREEK LN                       460 SANDHILL ROAD                         224 17TH ST NE
MONROE, GA 30655-6274                    PLYMOUTH NC, NC 27962                     MASSILLON, OH 44646




FENSKE, KATHY                            FENSTERMACHER, CHERYL                     FENSTERMAN, EMILEE
84824 CLOVERDALE RD                      199 TWIN HILL RD                          1714 OLIVE ST
CRESWELL, OR 97426-0000                  SUNBURY, PA 17801                         HIGHLAND, IL 62249




FENSTER-MARTENS HOLDING CO               FENT, EMERY EUGENE                        FENTON & MCGARVEY LAW FIRM, P.S.C.
714 SPIRIT 40 PARK DRIVE                 35486 CAMP CREEK ROAD                     2401 STANLEY GAULT PARKWAY
SUITE 125                                SPRINGFIELD, OR 97478                     LOUISVILLE, KY 40223
CHESTERFIELD, MO 63005




FENTON LAW FIRM, PSC                     FENTON NATHAN                             FENTON, AUBREY A.
2401 STANLEY GANIT PARKWAY               2112 N 130 W                              ADDRESS ON FILE
LOUISVILLE, KY 40223                     TOOELE, UT 84074




FENTON, DONNA F.                         FENTON, JENNIFER                          FENUS, JUSTIN R.
2831 CARIE HILL CIR NW                   ADDRESS ON FILE                           152 HIGHRIDGE PT
MASSILLON, OH 44646                                                                EVANSTON, WY 82930




FENUS, JUSTIN                            FENWAL, INC                               FENWAL, INC
P.O. BOX 1258                            26762 NETWORK PL                          26762 NETWORK PL
LYMAN, WY 82932                          CHICAGO, IL 60673                         CHICAGO, IL 60673-1267




FERCH, PHILLIP                           FERGASON, KAREN A.                        FERGUISON, ANGELA
319 KILLOUGH RD S                        ADDRESS ON FILE                           339 W SLATE DRIVE
WYNNE, AR 72396                                                                    TOOELE, UT 84074
FERGUSON ENTERPRISES INCCase 20-10766-BLS
                                      FERGUSONDoc   6 Filed INC
                                                 ENTERPRISES 04/07/20   Page FERGUSON
                                                                              585 of 1969
                                                                                      ENTERPRISES INC
HVAC/AIR COLD                         P.O. BOX 802817                        P.O. BOX 847411
P.O. BOX 740827                       CHICAGO, IL 60680-2817                 DALLAS, TX 75284-7411
LOS ANGELES, CA 90074-0827




FERGUSON ENTERPRISES LLC 1480         FERGUSON ENTERPRISES, INC              FERGUSON FRANK
P.O. BOX 644054                       P.O. BOX 847411                        84895 HARRY TAYLOR RD
PITTSBURGH, PA 15264-4054             DALLAS, TX 75284-7411                  EUGENE, OR 97405




FERGUSON NORMA J                      FERGUSON, ALAN                         FERGUSON, BRENDA
P.O. BOX 193                          2445 BURNS ROAD                        ADDRESS ON FILE
223 COLLIE LANE                       DONGOLA, IL 62926
MINERAL BLUFF, GA 30559




FERGUSON, CRYSTAL                     FERGUSON, CYNTHIA                      FERGUSON, DONNA J.
357 BOBCAT RIDGE ROAD                 15264 REMINGTON ROAD                   10160 66TH AVE 4D
LOUISA, KY 41230                      MARION, IL 62959                       PLEASANT PRAIRIE, WI 53158




FERGUSON, JOANN                       FERGUSON, KAYLA                        FERGUSON, KIMBERLY A.
P.O.BOX 55                            3004 KEEBLER RD                        ADDRESS ON FILE
RADOM, IL 62876                       COLLINSVILLE, IL 62234




FERGUSON, LILA                        FERGUSON, MARY L.                      FERGUSON, MCKENZIE C.
360 WABASH AVE N                      503 BEULAH DR.                         3601 S ARBOR LAKE DRIVE
BREWSTER, OH 44613                    CAPITOLA, CA 95010                     EDWARDSVILLE, IL 62025




FERGUSON, MICHELLE D.                 FERGUSON, NICOLE                       FERGUSON, ROSEMARY
4231 YUCAN DRIVE A1                   2880 5TH STREET                        410 WEST COLLEGE STREET
SPRINGFIELD, IL 62711                 SPRINGFIELD, OR 97477                  SPARTA, IL 62286




FERGUSON, SHELBY L.                   FERGUSON, SHELLEY E.                   FERGUSON, TARA D.
ADDRESS ON FILE                       1257 BARKS RD. E.                      806 EAST 3RD STREET
                                      MARION, OH 43302                       BUCKNER, IL 62819




FERGUSON, TIFFANY                     FERGUSON, WAYNE A.                     FERMIN, VIVIAN C.
33720 ROYAL OAK LANE 104              ADDRESS ON FILE                        4205 FORT AVE.
GRAYSLAKE, IL 60030                                                          WACO, TX 76710




FERNANDES, CIERRA                     FERNANDEZ BRENDA                       FERNANDEZ, ADRIANA
3750 ARREL DR                         ADDRESS ON FILE                        789 GREEN VALLEY RD 11
COLUMBUS, GA 31909                                                           WATSONVILLE, CA 95076
FERNANDEZ, AIDA A.       Case 20-10766-BLS   DocCARLIE
                                       FERNANDEZ, 6 Filed 04/07/20     Page FERNANDEZ,
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                                                                                       CAROLJANE
ADDRESS ON FILE                        ADDRESS ON FILE                      400 N 10TH ST
                                                                            ALPINE, TX 79830




FERNANDEZ, CHRISTOPHER                 FERNANDEZ, DAYAMI                    FERNANDEZ, ELEANOR R.
2306 MORELAND                          ADDRESS ON FILE                      ADDRESS ON FILE
LAS VEGAS, NM 87701




FERNANDEZ, EMILY                       FERNANDEZ, GEORGE E.                 FERNANDEZ, GREGORIO
ADDRESS ON FILE                        P.O. BOX 146                         16031 WINDCREST DR.
                                       WATSONVILLE, CA 95076                FONTANA, CA 92337




FERNANDEZ, JACQUELINE A.               FERNANDEZ, JENNIFER L.               FERNANDEZ, JUDY D.
P.O. BOX 465                           182 WEEKS DR                         ADDRESS ON FILE
WATSONVILLE, CA 95077                  WATSONVILLE, CA 95076




FERNANDEZ, JUDY D.                     FERNANDEZ, JUSTIN T.                 FERNANDEZ, KATHRYN L.
ADDRESS ON FILE                        ADDRESS ON FILE                      128 AARON DR.
                                                                            BELLEVILLE, IL 62220




FERNANDEZ, LINDA                       FERNANDEZ, MARIA                     FERNANDEZ, MEGAN M.
ADDRESS ON FILE                        12 MIGOTTI WAY                       ADDRESS ON FILE
                                       WATSONVILLE, CA 95076




FERNANDEZ, NADIYAH                     FERNANDEZ, NANCY                     FERNANDEZ, NOMER B.
ADDRESS ON FILE                        17075 WILSON WAY                     400 N. 10TH ST. APT. C
                                       WATSONVILLE, CA 95076                ALPINE, TX 79830




FERNANDEZ, PATRICIA J.                 FERNANDEZ, TIFFANY SAYLES TAC        FERNANDEZ-ROCHA, MARISOL
ADDRESS ON FILE                        HOWARD COUNTY                        155 COMPTON TERRACE
                                       P.O. BOX 1111                        FREEDOM, CA 95019
                                       BIG SPRING, TX 79721-1111




FERNANDO, JOVITA R.                    FERNBERG, KIMBERLY A.                FERNIE, ANDERSON LEWIS
2408 IROQUOIS LANE                     5 N. HIGHLAND PL.                    3214 TINA
ROUND LAKE HEIGHTS, IL 60073           MT. VERNON, IL 62864                 MISSOULA, MT 59802




FERRANTE, KATHY                        FERRARI, KIMBERLY S.                 FERRARI, REBECCA S.
3512 PERRY DR NW                       ADDRESS ON FILE                      3761 BETHEL CHURCH RD
MASSILLON, OH 44646                                                         PINCKNEYVILLE, IL 62274
FERREIRA, ABBY E.          Case 20-10766-BLS    Doc
                                         FERREIRA,    6 Filed
                                                   ARTHUR SR. 04/07/20   Page FERREIRA,
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                                                                                        FERNANDO
9915 S. WASHTENAW AVE                     2107 NIRVANA STREET                 40 PECKHAM RD
CHICAGO, IL 60655                         EUGENE, OR 97401                    WATSONVILLE, CA 95076




FERRELL HOSPITAL COMMUNITY                FERRELL JONATHAN                    FERRELL, BARBARA A.
FOUNDATION                                1670 BURNT OAK WAY                  1350 CORINTH RD
P.O. BOX 7500                             DACULA, GA 30019                    SHARON, TN 38255
CHAMPAIGN, IL 61826




FERRELL, CHANDIS                          FERRELL, CHARLIE                    FERRELL, DONNA M.
9554 JUSTUS AVE SW                        6861 WOODLAND HILL SW               224 E. LOCUST STREET
BEACH CITY, OH 44608-9500                 NAVARRE, OH 44662                   DRESDEN, TN 38225




FERRELL, FAIRIN N.                        FERRER, JACQUELINE                  FERRER, WENDY T.
1000 PINE TREE CIRCLE LOT 16              ADDRESS ON FILE                     ADDRESS ON FILE
MADISON, GA 30650




FERRERI, BARBARA                          FERRIERA, STEVEN ANTHONY            FERRILL, SHANNON N.
714 DAN AVE NW                            87558 PLACID ST                     209 N CHURCH ST APT. 3
CANAL FULTON, OH 44614                    VENETA, OR 97487                    WATERLOO, IL 62298




FERRIS, AMBER                             FERRIS, PAMELA                      FERRO, OLIVE
65 SOUTH HALE STREET                      226 N BEECH ST                      P.O. BOX 748
GRANTSVILLE, UT 84029                     CENTRALIA, IL 62801                 MESQUITE, NV 89024-0748




FERRY, ANN-MARIE                          FERRY, VICKIE L.                    FERTGUS, JANICE
6608 PERNOD AVE.                          ADDRESS ON FILE                     5255 13TH ST SW
SAINT LOUIS, MO 63139                                                         CANTON, OH 44710




FESMIRE, PATRICK                          FESSCO                              FESSLER, ANGIE
572 WEAVER ST                             P.O. BOX 205                        174 YELLOW CREEK RD APT N
LEXINGTON, TN 38351-1640                  CRETE, IL 60417                     EVANSTON, WY 82930




FESSLER, JEFFREY E.                       FESSLER, TODD A.                    FESTIVAL OF THE LAKES
6825 FRANKEN STRASSE DR                   ADDRESS ON FILE                     HENDERSON CO CHAMBER OF COMMERCE
MILLSTADT, IL 62260                                                           149 EASTERN SHORES DRIVE
                                                                              LEXINGTON, TN 38351




FETACESSORIES                             FETSKO, EMILY                       FETSKO, JEREMY
530 S HENDERSON ROAD                      768 MADISON ST                      ADDRESS ON FILE
UNIT D                                    EUGENE, OR 97402
KING OF PRUSSIA, PA 19406
FETTA, JOLENE             Case 20-10766-BLS
                                        FETTRENDoc 6 MICAHEL
                                               BACHER, Filed 04/07/20    Page FETTY,
                                                                               588 ofSALLY
                                                                                       1969
131 SAGE WAY                             8311 W 164TH ST                      1024 PITTSBURG AVE NW
MESQUITE, NV 89027-4164                  TINLEY PARK, IL 60477                NORTH CANTON, OH 44720




FETTY, VIRGINIA M.                       FETZER, WENDY K.                     FEUCHT, EDITH
238 C ST SW                              11909 GLENCOE NW                     1010 DAVIS ST
NAVARRE, OH 44662                        CANAL FULTON, OH 44614               SUN PRAIRIE, WI 53590




FEUCHT, KATHLEEN                         FEUCHT, RONALD W.                    FEY, LAURA
326 EDGEWOOD DR                          7988 ROCKVILLE RD SW                 ADDRESS ON FILE
DALTON, OH 44618-9294                    NAVARRE, OH 44662-9280




FEYER, DESIREE                           FEYNMAN GROUP INC                    FFF ENTERPRISES
SWINGING FOR MIKE AND CAM                1177 PEARL ST                        DEPARTMENT 70150
P.O. BOX 162                             EUGENE, OR 97401                     LOS ANGELES, CA 90084-0150
MERRY HILL, NC 27957-0000




FFF ENTERPRISES                          FFF ENTERPRISES, INC                 FHN APEX
PO BOX 840150                            P.O. BOX 840150                      1240 E DIEHL RD STE 100
LOS ANGELES, CA 90084-0150               LOS ANGELES, CA 90084-0150           NAPERVILLE, IL 60563




FHN CCAI                                 FICHTEL, TREASA                      FICHTER, JOEL C.
P.O. BOX 981731                          2867 CAMBON DR                       3975 RYDER AVE NW
IL PASO, TX 79998-1731                   WEST FRANKFORT, IL 62896             MASSILLON, OH 44647




FICKEL, JEFFERY W.                       FICKES, RUTH A.                      FICOR, WILLIAM
3945 PAM ST                              112 LAWNDALE BLVD                    2955 IOWA
EUGENE, OR 97402                         FRANKFORT, IL 60423                  GRANITE CITY, IL 62040




FIDELIS CARE                             FIDELIS MEDICAL PARTNERS             FIDELIS PARTNERS LLC
95-25 QUEENS BLVD                        27261 LAS RAMBLAS                    27261 LAS RAMBLAS
REGO PARK, NY 11374                      STE 250                              STE 250
                                         MISSION VIEJO, CA 92691              MISSION VIEJO, CA 92691




FIDELIS PARTNERS                         FIDELITY NATIONAL COLLECTIONS        FIDELITY ON CALL
27261 LAS RAMBLAS                        885 S SAWBURG AVE STE 103            9006 INDUSTRIAL RD
SUITE 250                                DIV FIDELITY PROPERTIES INC          PEORIA, IL 61615
MISSION VIEJO, CA 92691                  ALLIANCE, OH 44601




FIDELITY SECURITY LIFE INS CO            FIDELITY SECURITY LIFE INS           FIDLER MARGARET
4551 W. 107 ST 100                       2500 N MILITARY TRL                  390 NORTHGATE RD
OVERLAND PARK, KS 66207                  SUITE 450                            LINDENHURST, IL 60046
                                         BOCA RATON, FL 33431
FIDUCIA, KAREN            Case 20-10766-BLS
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                                                KATHLEEN AGNES04/07/20   Page FIELD
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                                                                                        STREAM
4508 WESTCHASE CIRCLE                    1199 S 58TH ST                       P.O. BOX 6365
GRAPEVINE, TX 76051                      SPRINGFIELD, OR 97478                HARLAN, IA 51593




FIELD, ASHLEY E.                         FIELD, LAEYTN                        FIELD, LARRY M.
ADDRESS ON FILE                          2300 STATE ROUTE 147                 455 LOVERS LANE
                                         VIENNA, IL 62995                     HARRISBURG, IL 62946




FIELDER, ELIZABETH C.                    FIELDER, REX                         FIELDS TANYA M
385 RIVER LANDING DRIVE                  623 BALFOUR                          467 ANDREW LEE DR
MONROE, GA 30656                         WEST MEMPHIS, AR 72301               HENAGAR, AL 35978-5431




FIELDS, AMANDA                           FIELDS, BERNICE J.                   FIELDS, BRENDA L.
2597 THACKERY RD UNIT H                  2805 MARYVILLE RD                    ADDRESS ON FILE
GREENVILLE, NC 27858                     GRANITE CITY, IL 62040




FIELDS, DELORES K.                       FIELDS, DONNA                        FIELDS, ELLEN R.
ADDRESS ON FILE                          1225 JEFFERSON ST                    ADDRESS ON FILE
                                         GALESBURG, IL 61401




FIELDS, GLORIA S.                        FIELDS, JENNIFER K.                  FIELDS, JOHN D.
P.O. BOX 129                             7692 MARTHA BERRY HWY                1463 ADELMAN LP
SALTILLO, TN 38370                       ARMUCHEE, GA 30105                   EUGENE, OR 97402-0000




FIELDS, KIM                              FIELDS, MD, BRIAN                    FIELDS, MICHAEL
437 10TH ST                              625 FUNSTON AVE                      14322 NORMAL AVE
EVANSTON, WY 82930-3427                  ST LUIS OBISPO, CA 93401             HARVEY, IL 60426-1252




FIELDS, SALINA                           FIELDS, STEVEN J.                    FIELDS, TAILOR
14633 BEACHVIEW TERRACE                  322 SKYLINE VIEW DR                  709 CRAIGMONT DR
DOLTON, IL 60419                         COLLINSVILLE, IL 62234               BIG SPRING, TX 79720




FIELDS, WENDY                            FIERRO, MICHELE                      FIERRO, SYLVIA
ADDRESS ON FILE                          3310 DREXEL AVE.                     107 NW. 8TH ST
                                         BIG SPRING, TX 79720                 BIG SPRING, TX 79720




FIERRO, TABITHA                          FIFE, GINGER                         FIFE, HARRY
7003 PINECREST AVE                       7 DIAMOND DRIVE                      1097 NINE IRON DR
ODESSA, TX 79765                         BARBOURSVILLE, WV 25504              APT 1607
                                                                              AKRON, OH 44312
FIFIELD, CHARLES A. JR.   Case 20-10766-BLS     DocBANK
                                        FIFTH THIRD  6 DBA
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                                                           LASALLE              Page FIFTH
                                                                                      590 THIRD
                                                                                           of 1969
                                                                                                BANK
70 CIRCLE DR                             SOLUTIONS                                   AN OHIO BANKING CORPORATION
GALESBURG, IL 61401                      6111 N RIVER ROAD, 5TH FLOOR                6111 NORTH RIVER RD
                                         ROSEMONT, IL 60018                          ROSEMONT, IL 60018




FIFTH THIRD BANK                         FIGGE, PATRICIA M.                          FIGMENT GROUP INC
FIFTH THIRD BANK                         1075 E VICTORY DR STE 139                   416 PERRY STREET
AN OHIO BANKING CORPORATION              LINDENHURST, IL 60046                       LAPORTE, IN 46350
6111 NORTH RIVER RD
ROSEMONT, IL 60018



FIGUEROA, JOSE M.                        FIGUEROA-OIVARES, AGUSTIN L.                FIJU, JOB
1187 E RANDVILLE DR                      ADDRESS ON FILE                             2383 LAKESHORE DRIVE
PALATINE, IL 60074                                                                   COLUMBIA, IL 62236




FILA, CHARLES R.                         FILA, JENNIFER                              FILES, ANGEL R.
1735 RIDGE ROAD                          1735 RIDGE ROAD                             ADDRESS ON FILE
HOMEWOOD, IL 60430                       HOMEWOOD, IL 60430




FILLING STATION AND CATERING SERVICE     FILLINGIM, THOMAS                           FILOMENO, JAVE G.
7309 HWY 64 ALT                          1304 LINDENTHAL                             6902 YELLOW ROSE CT
ROBERSONVILLE, NC 27871                  HIGHLAND, IL 62249                          MIDLAND, TX 79705




FILPI, MARGARET M.                       FILSAIME, DANIELLE                          FINAL DETAILS INC
10907 HICKORY NUT WAY                    2070 GRAYFIELD DRIVE                        C/O MIKE DUNCAN
RICHMOND, IL 60071                       GRAYSON, GA 30017                           585 CONDOR
                                                                                     MESQUITE, NV 89027




FINANCIAL ACCOUNTING FOUNDATION          FINANCIAL MNGMT                             FINANCIAL RECOVERY GROUP, INC
FASB-FINANCIAL ACCTING STANDARDS BD      P.O. BOX 469062                             1351 SAWGRASS CORPORATE PARKWAY
P.O. BOX 418272                          DENVER, CO 80246                            STE
BOSTON, MA 02241-8272                                                                101
                                                                                     SUNRISE, FL 33323



FINAZZO, CYNTHIA J.                      FINCH, DONNA R.                             FINCH, HEATHER
ADDRESS ON FILE                          515 N JULIA ST                              314 WEST MAIN STREET
                                         SMITHTON, IL 62285                          GREENFIELD, TN 38230




FINCH, JOHN D.                           FINCH, KATHRYN                              FINCHAM LADAWN, MICHELLE
1065 E VICTORY LANE                      105 WARSAW STREET                           87165 KELLMORE ST
STE 130                                  GREENFIELD, TN 38230                        EUGENE, OR 97402
LINDENHURST, IL 60046-9007




FINDLEY, ANNA MARIE                      FINE LINE MASONRY & TUCKPOINTING INC        FINE, MARGARET
56 LONG LEAF LN                          9208 S KEDVALE                              927 N SHADOWOOD CT
GREENVILLE, AL 36037                     OAK LAWN, IL 60453                          PORTERVILLE, CA 93257
FINEFROCK, DAVID       Case 20-10766-BLS     DocJAMES
                                     FINEFROCK,   6 Filed
                                                      W.     04/07/20   Page FINELLI,
                                                                              591 ofPETER
                                                                                      1969F.
12380 STOVER FARM DR NW              3260 BROADHAVEN AVE NW                  308 E GAIL DRIVE
CANAL FULTON, OH 44614               MASSILLON, OH 44646-2230                GILBERT, AZ 85296




FINGER AVIATION I, LLC                FINGER, COLETTE K.                     FINIGAN, JERRY ALLEN
C/O WALT BURTON PLLC                  11811 POORMAN ST SW                    1250 IRVINGTON DR
6100 TOWER CIRCLE, SUITE 200          NAVARRE, OH 44662                      EUGENE, OR 97404
FRANKLIN, TN 37067




FINK, GERALD                          FINK, TOM                              FINKBONER, MARIA I.
P.O. BOX 520                          136 53RD ST SE                         ADDRESS ON FILE
BLUE RIDGE, GA 30513-0009             CANTON, OH 44707




FINKE, DOUGLAS                        FINKLE, JAMES L.                       FINKS, KATEE
408 BRENTWOOD DR                      3000 EDGEWOOD AVE                      22811 PAHUTE RD
WEST MEMPHIS, AR 72301                GRANITE CITY, IL 62040                 APPLE VALLEY, CA 92308




FINLAY, MARIANNE                      FINLEY HANNAH L                        FINLEY, CAROLINE
ADDRESS ON FILE                       1671 S CANDLESTICK WAY                 61 PELICAN DRIVE
                                      WAUKEGAN, IL 60085                     WATSONVILLE, CA 95076




FINLEY, MARY R                        FINLEY, NANETTE                        FINLEY, SAMUEL
2901 PHILLIPS 300 RD                  2258 MARJORY DR SW                     504 HAMILTON AVE NE
WEST HELENA, AR 72390                 MASSILLON, OH 44647-7230               MASSILLON, OH 44646




FINLINSON, JEFF                       FINN DAN                               FINN, DIANA
995 E BASELINE RD, APT 2001           13651 LAMON AVE                        248 B RIVER RD
TEMPE, AZ 85283                       CRESTWOOD, IL 60445                    GREENUP, IL 62428




FINN, HAROLD N.                       FINNEN, NANCY M.                       FINNY, MATHEW - CEO
ADDRESS ON FILE                       525 N. LINDBERG AVE.                   CROSSROADS COMMUNITY HOSPITAL
                                      GRIFFITH, IN 46319                     8 DOCTORS PARK RD
                                                                             MT VERNON, IL 62864




FIORE, NICHOLAS                       FIORIELLO, AMANDA                      FIQUETT, TIMOTHY
38334 N NUNN ROAD                     16 POST ST                             347 ROAD 1980
LAKE VILLA, IL 60046                  EAST HAMPTON, NY 11937                 VALLEY HEAD, AL 35989




FIRE DOOR SOLUTIONS LLC               FIRE DOOR SOLUTIONS                    FIRE ENGINEERING COMPANY , INC
P.O. BOX 219081                       7500 W 160TH STREET                    4717 S 500 W
DEPT 5031                             STILWELL, KS 66085                     SALT LAKE CITY, UT 84123
KANSAS CITY, MO 64121
                        Case 20-10766-BLS
FIRE FIGHTER PRODUCTS INC                     Doc 6
                                      FIRE STARTER     Filed 04/07/20
                                                   PUBLISHING           Page FIREBAUGH,
                                                                              592 of 1969
                                                                                        FAITH
P.O. BOX 1014                         350 WEST CEDAR ST. SUITE 300           11616 CREEK RD
WILLIAMSTON, NC 27892                 PENSACOLA, FL 32502                    CARLYLE, IL 62231




FIREFLY CREATIVE                      FIREFLY GRILL                          FIRELINE INC
105 STEWART ST                        1810 AVE. OF MID-AMERICA               BOX 7394
WALTONVILLE, IL 62894                 EFFINGHAM, IL 62401                    115 MCCORRY
                                                                             JACKSON, TN 38302-0394




FIRELINE INC                          FIREMANS PRESS                         FIRESIDE DINNER THEATRE, THE
P.O. BOX 7394                         120 COLLINSVILLE RD                    BUS HWY 26 SOUTH
JACKSON, TN 38302-0394                TROY, IL 62294                         P.O. BOX 7
                                                                             FORT ATKINSON, WI 53538




FIRESTONE, KAITLYN                    FIRETROL PROTECTION SYSTEMS            FIRM REVENUE CYCLE MANAGEMENT
501 SOUTH CHESTNUT STREET             8401 AVENUE F                          SERVICES INC
SPARTA, IL 62286                      LUBBOCK, TX 79404                      5590 S. FORT APACHE RD
                                                                             LAS VEGAS, NV 89148




FIRM SYSTEMS                          FIRST ADVANTAGE OCCUPATIONAL HEALTH    FIRST ADVANTAGE OCCUPATIONAL HEALTH
6 LAWRENCE SQUARE                     SERVICES                               SERVICES
SPRINGFIELD, IL 62704                 P.O. BOX 404064                        P.O.BOX 404064
                                      ATLANTA, GA 30384-4537                 ATLANTA, GA 30384-4537




FIRST ADVANTAGE                       FIRST ADVANTAGE                        FIRST AMERICAN EQUIPMENT
1 CONCOURSE PKWY NE                   P.O. BOX 467789                        FINANCE FILE 1465
STE 200                               ATLANTA, GA 31146                      1801 W OLYMPIC BLVD
ATLANTA, GA 30328                                                            PASADENA, CA 91199




FIRST BANK OF RED BUD                 FIRST BANK                             FIRST BANK
ATTN: TAMMY SALGER                    1001 MAIN STREET                       804 W US HWY 50
1411 SOUTH MAIN STREET                EVANSTON, WY 82930                     OFALLON, IL 62269-1827
RED BUD, IL 62278




FIRST BANK                            FIRST BANKCARD                         FIRST CARE
P.O. BOX 790037                       P.O. BOX 2818                          P.O. BOX 853935
ST LOUIS, MO 63179                    OMAHA, NE 68103                        RICHARDSON, TX 75085-3935




FIRST CAROLINA CARE                   FIRST CHOICE MEDICAL EQUIPMENT         FIRST COMMUNICATIONS LLC
P.O. BOX 3620                         2233 E MAIN STREET                     DEPT 781115
AKRON, NC 44309                       MONTROSE, CO 81401-3831                P.O. BOX 78000
                                                                             DETROIT, MI 48278




FIRST COMMUNICATIONS LLC              FIRST COMMUNITY BANK OF E A            FIRST COMMUNITY BANK OF E A
P.O. BOX 772069                       1103 N MISSOURI                        205 BLOCK ST
DETROIT, MI 48277-0269                WEST MEMPHIS, AR 72301                 MARION, AR 72364
FIRST FINANCIAL CORPORATE Case 20-10766-BLS
                           LEASING LLC          Doc 6 CORPORATE
                                        FIRST FINANCIAL   Filed 04/07/20    Page FIRST
                                                                  LEASING LLC     593 FINANCIAL
                                                                                       of 1969 CORPORATE LEASING LLC
711 KIMBERLY AVE, STE 160               711 KIMBERLY AVE, STE 160                DEPT 2067 P.O. BOX 87618
PLACENTIA, CA 92870                     PLACENTIA, CA 98270                      CHICAGO, IL 60680




FIRST FINANCIAL CORPORATE LEASING, LLC   FIRST FINANCIAL CORPORATE SERVICES,     FIRST FINANCIAL CORPORATE
P.O. BOX 84969                           INC.                                    LEASING, LLC DEPT 2067
CHICAGO, IL 60689-4969                   DEPT 2067                               P.O. BOX 87618
                                         P.O. BOX 87618                          CHICAGO, IL 60680
                                         CHICAGO, IL 60680



FIRST FINANCIAL HEALTHCARE SOLUTIONS     FIRST FINANCIAL HOLDING, LLC            FIRST FINANCIAL HOLDINGS LLC
SCOTT WESTERFIELD                        P.O. BOX 84969                          P.O. BOX 8969
711 KIMBERLY AVENUE, SUITE 160           CHICAGO, IL 60689-4969                  CHICAGO, IL 60689-4969
PLACENTIA, CA 92870




FIRST FINANCIAL LEASING. LLC             FIRST GLASS                             FIRST HEALTHCARE PRODUCTS
DEPT 2067                                46 PUBLIC SQUARE                        6125 LENDELL DRIVE
P.O. BOX 87618                           GALESBURG, IL 61401                     SANBORN, NY 14132-9199
CHICAGO, IL 60680




FIRST HOSPITAL LABORTORIES               FIRST MIDWEST BANK                      FIRST MIDWEST BANK
100 HIGHPOINTE DR                        1 PIERCE PL, STE 1500                   1 PIERCE PL, STE 1500
STE 102                                  ITASCA, IL 60143                        ITASCA, IL 60144
CHALFORT, PA 18914




FIRST MIDWEST BANK                       FIRST MIDWEST BANK                      FIRST MIDWEST BANK
8750 W BRYN MAWR AVE, STE 1300           ATTN: MEGAN MILLER                      ATTN: MEGAN MILLER
CHICAGO, IL 60085                        1201 GOLF RD                            302 E MAIN ST
                                         WAUKEGAN, IL 60087                      GALESBURG, IL 61401




FIRST NATIONAL BANK                      FIRST NEW MEXICO BANK                   FIRST POINT
P.O. BOX 640                             ATTN: MARTHA ORTIZ                      1625 WINNETKA CIRCLE
JACKSON, KY 41339                        300 SOUTH GOLD AVENUE                   ROLLING MEADOWS, IL 60008-1372
                                         DEMING, NM 88030




FIRST PRESBYTERIAN CHURCH                FIRST SECURITY BANK LITTLE ROCK RANCH   FIRST SOUTHERN BANK
227 E ELM STREET                         BANKING CTS                             ATTN: LAURA ELLET
OLNEY, IL 62450                          17810 CANTRELL RD                       409 N COURT ST
                                         LITTLE ROCK, AR 72223                   MARION, IL 62959




FIRST TOUCH DISPOSABLES                  FIRST UNITED METHODIST CHURCH           FIRST UTAH BANK
ATTN:DENISE                              PASTOR                                  3826 S 2300 E
P.O. BOX 10111                           505 MAIN STREET                         SALT LAKE CITY, UT 84109
WILMINGTON, NC 28411                     PAINTSVILLE, KY 41240




FIRST VALLEY MANAGEMENT GROUP            FIRST WYOMING BANK OF KEMMERER NA       FIRSTBANK (BRANCH 07)
MIMBRES MEDICAL OFFICE BLDG              716 PINE AVE                            ATTN: IDA MYRACLE
1155 S TELSHORE BLVD, STE B-1            KEMMERER, WY 83101                      200 N MAIN ST
LAS CRUCES, NM 88011                                                             LEXINGTON, TN 38351
FIRSTCARE HEALTHPLAN Case 20-10766-BLS     Doc
                                   FIRSTCARE     6 Filed 04/07/20
                                              HEALTHPLANS           Page FIRSTLINE
                                                                          594 of 1969
                                                                                   EXECUTIVES
ATTN:RECOVERY UNIT                 RE:CLAIMS DEPT                        2123 OLD SPARTANBURG RD 343
P.O. BOX 853935                    P.O. BOX 200555                       GREER, SC 29650
RICHARDSON, TX 75085-3935          AUSTIN, TX 78720




FIRSTMARK SERVICES                  FIRSTMARK SERVICES                   FIRSTMARK SERVICES
121 S 13TH STREET STE 201           P O BOX 2977                         P.O. BOX 2977
LINCOLN, NE 68508                   OMAHA, NE 68103-2977                 OMAHA, NE 68103-2977




FIR-SURE TROPICAL FOLIAGE CO        FISCHELS, DONNA                      FISCHER CRISTINA
P O BOX 441                         2122 HIGHTS AVE                      2821 N AUGUSTA DR
COBDEN, IL 62920                    SIOUX, IA 51104                      WADSWORTH, IL 60083




FISCHER, ASMA Q                     FISCHER, DONOVAN                     FISCHER, JAMIE
460 N BELAIRE RD                    10489 HWY 149                        ADDRESS ON FILE
EVANS, GA 30809                     MURPHYSBORO, IL 62966




FISCHER, JEFFREY C.                 FISCHER, KENDRA M.                   FISCHER, PATRICIA B.
ADDRESS ON FILE                     ADDRESS ON FILE                      1530 TOBA BOWEN RD
                                                                         WILLIAMSTON, NC 27892




FISCHER, PAUL M.                    FISCHER, RONA R.                     FISCHER, TRUDY U.
764 EAGLETON DR                     ADDRESS ON FILE                      603 CALCARI STREET
MARTINEZ, GA 30907                                                       GILLESPIE, IL 62033




FISCHNICH, ERIC                     FISH WINDOW CLEANING                 FISH, CATHERINE A.
2410 MOUNT EATON RD S               P.O. BOX 1713                        1430 CALLE DEL RANCHEROSW
DALTON, OH 44618                    VICTORVILLE, CA 92393                DEMING, NM 88030




FISH, JIMMY                         FISH, ROBERT H.                      FISHBACK, VALERIE
E9415 BAYHILL COURT                 ADDRESS ON FILE                      17225 FOXGROVE LANE
WISCONSIN DELLS, WI 53965-0000                                           TINLEY PARK, IL 60487




FISHBURN, EMILY                     FISHER & LAMONICA PC                 FISHER & PAYKEL HEALTHCARE INC
5859 DRENTA CR SW                   100 S WACKER DR                      173 TECHNOLOGY DR
NAVARRE, OH 44662-9740              STE 1160                             SUITE 100
                                    CHICAGO, IL 60606-4102               IRVINE, CA 92618




FISHER & PAYKEL HEALTHCARE INC      FISHER & PAYKEL                      FISHER HEALHCARE
DEPT CH 16926                       173 TECHNOLOGY DRIVE                 ACCT 375051-001
PALATINE, IL 60055-6926             SUITE 100                            P.O. BOX 404705
                                    IRVINE, CA 92618                     ATLANTA, GA 30384-4705
FISHER HEALTH CARE      Case 20-10766-BLS     Doc 6CARE
                                      FISHER HEALTH    Filed 04/07/20   Page FISHER
                                                                              595 ofHEALTH
                                                                                     1969CARE
ACCT 290440-001                       ACCT 515770-002                        BONNIE BURKS, HEALTH SYSTEMS
13551 COLLECTIONS CTR DR              P.O. BOX 404705                        EXECUTIVE
CHICAGO, IL 60693                     ATLANTA, GA 30384-4705                 11450 COMPAQ CENTER DRIVE WEST,
                                                                             SUITE 570
                                                                             HOUSTON, TX 77070

FISHER HEALTHCARE                     FISHER HEALTHCARE                      FISHER HEALTHCARE
13551 COLLECTIONS CTR DR              ACCT 722390-001                        ACCT 021621-001
CHICAGO, IL 60693                     13551 COLLECTIONS CTR DR               P.O. BOX 404705
                                      CHICAGO, IL 60693                      ATLANTA, GA 30384-4705




FISHER HEALTHCARE                     FISHER HEALTHCARE                      FISHER HEALTHCARE
ACCT 469455                           ACCT 500475.001                        ACCT 500475-001
FILE 50129                            13551 COLLECTIONS CTR DR               13551 COLLECTIONS CTR DR
LOS ANGELES, CA 90074-0129            CHICAGO, IL 60693                      CHICAGO, IL 60693




FISHER HEALTHCARE                     FISHER HEALTHCARE                      FISHER HEALTHCARE
ACCT 516541-001                       ACCT 517413-001                        ACCT458436-001
P O BOX 404705                        P O BOX 404705                         P.O. BOX 404705
ATLANTA, GA 30384-4705                ATLANTA, GA 30384-4705                 ATLANTA, GA 30384-4705




FISHER HEALTHCARE                     FISHER HEALTHCARE                      FISHER HEALTHCARE
ACCT517099-001                        ACCT855950-001                         FISHER SCIENTIFIC CO LLC
P.O. BOX 404705                       13551 COLLECTIONS CTR DR               FILE 50129
ATLANTA, GA 30384-4705                CHICAGO, IL 60693                      LOS ANGELES, CA 90074-0129




FISHER HEALTHCARE                     FISHER HEALTHCARE, INC./20             FISHER MARGERY K
P.O. BOX 404705                       ACCT 469547-001                        1160 BENNETT CREEK ROAD
ATLANTA, GA 30384-4705                POB 404705                             COTTAGE GROVE, OR 97424
                                      ATLANTA, GA 30384-4705




FISHER SCIENTIFIC COMPAN              FISHER SCIENTIFIC COMPANY              FISHER SCIENTIFIC
ACCT 500475-001                       13551 COLLECTIONS CTR DR               ACCT 021621-001
13551 COLLECTIONS CTR DR              CHICAGO, IL 60693                      P.O. BOX 404705
CHICAGO, IL 60693                                                            ATLANTA, GA 30384-4705




FISHER SCIENTIFIC                     FISHER SCIENTIFIC, INC                 FISHER SURGICAL
P.O. BOX 404705                       ACCT 599580-001                        1012 PALMER LANE
ATLANTA, GA 30384-4705                P.O. BOX 404705                        STE 200
                                      ATLANTA, GA 30384-4705                 IMPERIAL, MO 63052




FISHER WIRELESS SERVICES INC.         FISHER, AMANDA M.                      FISHER, AMY V.
14530 S. COMMERCIAL ST.               ADDRESS ON FILE                        ADDRESS ON FILE
BLYTHE, CA 92225




FISHER, BEVERLY                       FISHER, BRENDA F.                      FISHER, CAMERON
138 MANOR CT                          ADDRESS ON FILE                        2348 RT 689
GREENVILLE, AL 36037                                                         VOLGA, KY 41219
FISHER, CHARLES          Case 20-10766-BLS     Doc 6 R.
                                       FISHER, CHRISTINA Filed 04/07/20   Page FISHER,
                                                                                596 ofJAMI
                                                                                       1969L.
315 S. LINCOLN ST                          1937 SOUTH CR 3101                  6253 HIGHWAY 284
SALEM, IL 62881                            STANTON, TX 79782                   FORREST CITY, AR 72335




FISHER, JANINE                             FISHER, JOHN C.                     FISHER, JORDAN
614 CONCORD ST NW                          ADDRESS ON FILE                     ADDRESS ON FILE
MASSILLON, OH 44646




FISHER, LESA                               FISHER, LISA I.                     FISHER, MELODIE E.
ADDRESS ON FILE                            1274 WARNER AVE                     308 1/2 S CHURCH ST APT. B
                                           MANSFIELD, OH 44905                 WATERLOO, IL 62298




FISHER, ORELL D.                           FISHER, RICHARD A.                  FISHER, ROBIN E.
18054 RAVISLOE TER                         479 RAIDER WAY                      ADDRESS ON FILE
COUNTRY CLUB HILLS, IL 60478               BETHLEHEM, GA 30620




FISHER, SHARON                             FISHER, TREAD W.                    FISHERS WRECKER SERVICE
2400 CYPRUS DR SE                          3274 RIDGE RD                       20400 HWY 412 WEST
MASSILLON, OH 44646                        NORTHUMBERLAND, PA 17857            LEXINGTON, TN 38351




FISHMAN, LINDA                             FISIF OF NEW MEXICO                 FISK, DONALD
1118 W 191ST ST                            P O BOX 14710                       324 OHARA DR
HOMEWOOD, IL 60430                         ALBUQUERQUE, NM 87191-4710          PHARR, TX 78577




FISK, KATHY A.                             FISK, TRACI L.                      FISK, TRACI
5545 PIGEON RUN RD SW                      110 TALL OAKS LANE                  B/O
NAVARRE, OH 44662                          BLUE RIDGE, GA 30513




FISS, LAURA                                FITCH, ANGELA G                     FITCH, ANGELA S.
ADDRESS ON FILE                            4290 DONITHON RD                    ADDRESS ON FILE
                                           LOUISA, KY 41230




FITCH, ANGELA S.                           FITCH, HAYLIE M.                    FITCH, JANET
765 SOUTH MILO RD P.O. BOX 1890 INEZ, KY   175 WEEPING CHERRY LANE             ADDRESS ON FILE
41224                                      INEZ, KY 41224
TOMAHAWK, KY 41262




FITCH, JONATHAN                            FITCH, JUDY                         FITCH, KIMBERLY
ADDRESS ON FILE                            37 PINECREST DRIVE                  ADDRESS ON FILE
                                           LOUISA, KY 41230
FITCH, LINDA              Case 20-10766-BLS     Doc 6
                                        FITCH, TABITHA     Filed 04/07/20   Page FITCH,
                                                                                  597 of  1969
                                                                                        ZACHARY
214 UPPER ALPHA BR                       ADDRESS ON FILE                         ADDRESS ON FILE
INEZ, KY 41224-8542




FITCHETT, MIRANDA D.                     FITE, JACKSON                           FITE, JUDY C.
141 WHITSELL WAY                         2312 HORSETREE PLACE SE                 1816 HIDDEN RIDGE CIRCLE
PONTOON BEACH, IL 62040                  DECATUR, AL 35601                       MOUNT JULIET, TN 37122




FITHIAN, CLIFTON W.                      FITNESS DIAGNOSTIC & REPAIR             FITNESS MECHANICS INC, THE
3711 DOVE LANE                           7545 MISTY LANE                         7471 W 93RD ST., UNIT A
P.O. BOX 24945                           PINSON, AL 35126                        BRIDGEVIEW, IL 60455
EUGENE, OR 97402




FITNESS MEMBER SERV INC                  FITNESS UNLIMITED                       FITT, JOHN K.
9815 S MONROE ST 103                     1985 W MAIN ST                          224 STANSBURY MTN RD
SANDY, UT 84070                          WILLIAMSTON, NC 27892                   COPPERHILL, TN 37317




FITTON, JOAN                             FITZGERALD EDWARD T                     FITZGERALD, EDWARD T.
1430 SADDLE HORN CT                      ADDRESS ON FILE                         ADDRESS ON FILE
MESQUITE, NV 89034




FITZGERALD, KATHLEEN                     FITZGERALD, SHERRY J.                   FITZGERRELL, JOANN
ADDRESS ON FILE                          321 W 22ND ST APT 2                     ADDRESS ON FILE
                                         BIG SPRING, TX 79720




FITZGIBBON, JOSEPH                       FITZHUGH, EMMA                          FITZHUGH, KAEISHA
1430 WILLAMETTE STREET 586               P.O. BOX 334                            178 HELENDALE
EUGENE, OR 97401                         OAKRIDGE, OR 97463-0334                 HELENA, AR 72342




FITZMORRIS, HEATHER M.                   FITZPATRICK, ARIELLE                    FITZPATRICK, BRITTANY
ADDRESS ON FILE                          3619 W DEER PARK DR                     1359 GRAPEVINE TRL
                                         ALSIP, IL 60803                         MONROE, GA 30656




FITZPATRICK, JEWELL                      FITZPATRICK, WILLIAM                    FITZPATRICK, WILLIE
14222 HWY 1690                           4548 HIGHWAY 1690                       12717 S CARPENTER ST
LOUISA, KY 41230-0000                    LOUISA, KY 41230                        CALUMET PARK, IL 60827




FITZSIMMONS HOSPITAL SERVICES            FIVE 9S COMMUNICATIONS INC              FIVE 9S COMMUNICATIONS INC
P O BOX 497                              P.O. BOX 348                            P.O. BOX 348
OAK FOREST, IL 60452                     ROY, UT 84067                           ROY, UT 84067-0348
FIVE 9S                   Case 20-10766-BLS     Doc MANAGERS
                                        FIVE ARROWS 6 Filed LLP
                                                             04/07/20          Page FIVE
                                                                                     598ARROWS
                                                                                         of 1969
                                                                                               MANAGERS LLP
P.O. BOX 348                             OCEAN TRAILS CLO IV                        OCEAN TRAILS CLO VII
ROY, UT 84067-0000




FIVE RIVER CARPENTERS                    FIVE STAR AUTOMATIC FIRE PROTECTION        FIZER, GWENDOLYN
HEALTH/WELFARE FUND                      LLC                                        3638 MADISON ST
1831 16TH AVE SW                         3520 CONFEDERATE                           LANSING, IL 60438
CEDAR RAPIDS, IA 52404                   EL PASO, TX 79936




FLACH, THOMAS D.                         FLACK, COURTNEY                            FLACK, DARREN J.
600 N RUSSELL ST                         42 NORTH TAYLOR ROAD                       ADDRESS ON FILE
MARION, IL 62959                         GRANTSVILLE, UT 84029




FLACKMAN, HERBERT W.                     FLAGG, PAMELA R.                           FLAGG, ROY T.
787 N TERRY STREET                       2070 GARDEN SPRINGS DR 115                 12235 S PERRY AVE
EUGENE, OR 97402                         LEXINGTON, KY 40604                        CHICAGO, IL 60628




FLAGHOUSE, INC                           FLAGSHIP HEALTHCARE PROPERTIES, LLC        FLAGSHIP RIVERSTONE BLUE RIDGE, LLC
P.O. BOX 159                             2701 COLTSGATE ROAD
HASBROUCK HTS, NJ 07604                  SUITE 300
                                         CHARLOTTE, NC 28211




FLAHAN, MEREDITH W.                      FLAHAN, MEREDITH W.                        FLAKE, LAWRANCE
1203 WELLES CT                           ADDRESS ON FILE                            313 PONDEROSA
OFALLON, IL 62269                                                                   EVANSTON, WY 82930




FLAKE, MONICA                            FLAMM, STORMIE A.                          FLAMMINI, DONNA R.
P.O. BOX 865                             410 CUPRITE ST. BOX 584                    1300 WILSON CT
MOUNTIAN VIEW, WY 82939                  TYRONE, NM 88065                           ZION, IL 60099




FLANAGAN BREANNE                         FLANAGAN LAURA                             FLANAGAN, ADRIAN L.
1711 KAYLA LN APT 3A                     25193 W HAWTHORNE AVE                      1004 E 21ST P.O. BOX 45
WAUKEGAN, IL 60087                       ANTIOCH, IL 60002                          BIG SPRING, TX 79720




FLANAGAN, DAWN M.                        FLANAGAN, JOHN TERRY                       FLANAGAN, JOHN
15948 FOREST AVE                         683 SULLIVAN LANE                          10358 S HOYNE ST
OAK FOREST, IL 60452                     UNIVERSITY PARK, IL 60484                  CHICAGO, IL 60643




FLANAGAN, LEWIS                          FLANAGAN, STEPHANIE                        FLANAGAN, STEVE
301 COLLEGE AVE                          49 TYLER RD                                446 TYLER RD
COLLINSVILLE, AL 35961                   LEXINGTON, TN 38351                        LEXINGTON, TN 38351
FLANDERS ELECTRIC MOTOR  Case 20-10766-BLS    Doc
                                       FLANDERS,   6 Filed 04/07/20
                                                 BREEANN              Page FLANDERS-ROUSH,
                                                                            599 of 1969 LAURA
SERVICE OF ILLINOIS, INC               ADDRESS ON FILE                    16420 BONNEY RD
P.O. BOX 74008932                                                         WATSONVILLE, CA 95076
CHICAGO, IL 60674-8932




FLANIGAN, EDWARD                     FLANNERY, JANET                      FLANNIGAN, LAURA D.
582 N 5TH ST                         6620 W LLOYD DRIVE                   4455 CR 117
ASHLEY, IL 62808                     WORTH, IL 60482                      CEDAR BLUFF, AL 35959




FLATT, JORDAN                        FLATT, SHERI                         FLATTICH, NICOLE R.
3929 15TH ST                         121 CHATTANOOGA CT                   ADDRESS ON FILE
MULKEYTOWN, IL 62865                 EDWARDSVILLE, IL 62025




FLAURR, JAYDEN                       FLAVIANO, VERONICA                   FLAVIER, ROWENA M.
4624 OLD STATE ROUTE 22              ADDRESS ON FILE                      10355 S MENARD AVE, UNIT 207
GLEASON, TN 38229                                                         OAK LAWN, IL 60453




FLAVIN, SUSAN                        FLAVOR CATERING LLC                  FLECHTL, MARY ALYCE
9029 SOQUEL AVENUE STE C             1014 HORNSBY DR                      391 N MAIN ST
SANTA CRUZ, CA 95062                 FRANKLIN, TN 37064                   LEXINGTON, TN 38351




FLECK, LEE C.                        FLEEMAN, KAREN                       FLEER-PINCKNEY, SARAH
ADDRESS ON FILE                      1018 HARRIS LORD CEMETERY ROAD       1198 ARCADIA DR
                                     COMMERCE, GA 30530                   GALESBURG, IL 61401




FLEETA, KARRENBAUER                  FLEETCORE TECHNOLOGIES INC           FLEISHER, SANDRA J.
11872 LINCOLN WAY NW                 SUPERFLEET MASTERCARD                ADDRESS ON FILE
MASSILLON, OH 44647                  P.O. BOX 70995
                                     CHARLOTTE, NC 28272-0995




FLEISHER, SHIRLEY R.                 FLEISHMANN, RAYMOND                  FLEMING CHERYL L
862 PINE MOUNTAIN RD                 912 AMBER TR                         25631 LAWRENCE RD
LOCK HAVEN, PA 17745                 MONROE, GA 30655-8481                JUNCTION CITY, OR 97448-0000




FLEMING GEORGINE                     FLEMING MICHAEL CHARLES              FLEMING, AMBER M.
11652 S BISHOP                       595 EVELYN AVE                       ADDRESS ON FILE
CHICAGO, IL 60643                    P.O. BOX 1202
                                     CRESWELL, OR 97426




FLEMING, ANTOINETTE                  FLEMING, CASSEY                      FLEMING, CECILIA
1710 W 60TH PLACE                    803 LANCASHIRE DR                    709 W PERRINE
MERRIVILLE, IN 46410                 EDWARDSVILLE, IL 62025               JOHNSTON CITY, IL 62951
FLEMING, JARE R.          Case 20-10766-BLS
                                        FLEMING,Doc
                                                 MIKE 6
                                                      H. Filed 04/07/20   Page FLEMING,
                                                                                600 of 1969
                                                                                        RENEE M.
ADDRESS ON FILE                           ADDRESS ON FILE                      11021 MASON AVE
                                                                               CHICAGO RIDGE, IL 60415




FLEMMING, VICKIE L.                       FLEMMING, VICKIE L.                  FLENTYE, CHARLIE
290 MCMILAN ST                            290 MCMILAN ST                       ADDRESS ON FILE
GRAYSLAKE, IL 60030                       GRAYSLAKE, IL 60030-2331




FLERES, ARSENIA L.                        FLESHMAN, ROBERT O.                  FLETCHER LINDA D YOUNG
348 BINGHAM CIRCLE                        12153 S LAFLIN                       38163 US HIGHWAY 11
MUNDELEIN, IL 60060                       CHICAGO, IL 60643                    VALLEY HEAD, AL 35989-4432




FLETCHER NANCY J                          FLETCHER, ASHLEY M.                  FLETCHER, ASHLEY
5208 COLD SPRINGS WAY                     59 W SMITH LN                        ADDRESS ON FILE
EUGENE, OR 97405                          FINGER, TN 38334




FLETCHER, CARLA                           FLETCHER, DAVID                      FLETCHER, JANICE
64 RIGHT FORK MACES CREEK RD              10432 S WOOD ST                      23608 EASTERN RD
VIPER, KY 41774                           CHICAGO, IL 60643                    THOMPSONVILLE, IL 62890




FLETCHER, LOIS M                          FLETCHER, MARGUERITE F.              FLETCHER, MELISSA C.
261 SUNVALLEY DR APT D3                   ADDRESS ON FILE                      ADDRESS ON FILE
MESQUITE, NV 89027




FLETCHER, MICHAEL                         FLETCHER, RITA                       FLETCHER, STEPHANIE J.
23608 EASTERN RD                          ADDRESS ON FILE                      9527 STRAUSSER STREET
THOMPSONVILLE, IL 62890                                                        MASSILLON, OH 44646




FLETCHER, TRACY                           FLETCHER, WILLIS J.                  FLETCHERS POWERVAC
3077 JENNIES CREEK RD                     ADDRESS ON FILE                      113 SAPP
KERMIT, WV 25674-8095                                                          PEKIN, IL 61554




FLETES, GENEVIEVE                         FLEURY, DAVID L.                     FLEX ED
P.O. BOX 1534                             37960 RAILROAD LN                    3340 RIVERSIDE DRIVE SUITE H
APTOS, CA 95001                           P.O. BOX 792                         CHINO, CA 91710
                                          MARCOLA, OR 97454




FLEX FINANCIAL, A DIVISION OF STRYKER     FLEXENTIAL CORP FKA PEAK 10          FLICK, ALMA
SALES CORPORATION                         P.O. BOX 536933                      46 COLONY RD
1901 ROMENCE RD PKWY                      ATLANTA, GA 30353-6933               EDGEWATER, NJ 07020-1506
PORTAGE, MI 49002
FLICK, ALMA             Case 20-10766-BLS      DocA.6
                                      FLICK, JINNIE        Filed 04/07/20   Page FLICKINGER,
                                                                                  601 of 1969TIMOTHY
871 WELLMAN AVE SE                      1083 HOWARDTON ROAD                      3664 DOVER RD
MASSILLON, OH 44646                     GRAND TOWER, IL 62942                    WOOSTER, OH 44691




FLIGHT LIGHT INC.                       FLINCHUM, JAMES                          FLINN, MARGARET
2708 47TH AVE.                          289 OLD HIGHWAY 11                       3233 TIBURON LANE
SACRAMENTO, CA 95822-3806               BEATTYVILLE, KY 41311-9033               EUGENE, OR 97405




FLINNER SUE E                           FLINT, JOHN                              FLINT, JULIA M.
410 S UNION                             P.O. BOX 12                              6696 OLD MILL RD
PO BOX 243                              MESQUITE, NV 89024-0012                  STANSBURY PARK, UT 84074
VICTORIA, IL 61485




FLINT, WILLIAM                          FLIPPIN, DEBBY                           FLIPPIN, SUSAN B.
333 TERRANCE DRIVE                      1665 HWY 423                             ADDRESS ON FILE
WAYNE, WV 25570                         MCKENZIE, TN 38201




FLIPPO, DEBRA S.                        FLOICE, WADE                             FLOLO CORPORATION
1315 E HAYLIE LN                        326 WALKER DR                            1400 HARVESTER ROAD
TOOELE, UT 84074                        MONROE, GA 30655                         WEST CHICAGO, IL 60185




FLOOD, AMANDA                           FLOOK, CYNTHIA L.                        FLOORING SERVICES INC
426 GUM SPRINGS RD                      80 HAVEN PINES RD                        9929 S 500 W
PARIS, TN 38242                         MILL HALL, PA 17751                      SANDY, UT 84070




FLORA, JAMES R.                         FLORA, MYGATT                            FLORA, ORTIZ E.
P O BOX 605                             208 DITCHS RUN                           1111 S GOLD AVE
HIAWASSEE, GA 30546                     WATERLOO, IL 62298-0000                  DEMING, NM 88030




FLORA, RENKEN                           FLORA, RIGGLE                            FLORAL CREATIONS
6955 STATE ROUTE 162                    100 8TH ST SW                            P.O. BOX 1694
MARYVILLE, IL 62062                     MASSILLON, OH 44647                      BLUE RIDGE, GA 30513




FLORCZYK, CARL                          FLOREN, DEWAARD                          FLORENCE CHAMBER OF COMMERCE
1136 NORTH 9TH STREET                   2019 WINDFIELD DR                        290 US-101
BREESE, IL 62230-1366                   MONROE, GA 30655-8502                    FLORENCE, OR 97439




FLORENCE J BEAL                         FLORENCE, DEBORAH                        FLORENCE, DUMMEL
321 WESTLAND AVE                        101 MOCCASIN TRAIL                       1615 CLEVELAND RD
SOUTH WILLIAMSPORT, PA 17702            MINERAL BLUFF, GA 30559                  WOOSTER, OH 44691
FLORENCE, HASTY M.       Case 20-10766-BLS    Doc
                                       FLORENCE,   6
                                                 ORR        Filed 04/07/20   Page FLORENCE,
                                                                                   602 of 1969
                                                                                            ROBERTS
3303 SOUTHERN PINES DR                  4847 REVERE AVE NW                        6111 S ELLIS AVE
AUGUSTA, GA 30906-9680                  MASSILLON, OH 44647                       APT 2B
                                                                                  CHICAGO, IL 60637




FLORENCE, SHERRIE                       FLORENOSOS, YVONNE B.                     FLORENOSOS, YVONNE B.
529 E 147TH PL                          39058 N ABERDEEN LN                       ADDRESS ON FILE
HARVEY, IL 60426                        BEACH PARK, IL 60083




FLORES JR., ROSALIO                     FLORES MEDINA, ANA B.                     FLORES MONCADA, LUIS A
ADDRESS ON FILE                         1938 DELCARATION ST                       P O BOX 796
                                        SALINAS, CA 93906                         COLUMBUS, NM 88029




FLORES PRINTERS                         FLORES PRINTERS                           FLORES ROSALIO
541 LINCOLN ST                          541 LINCOLN STREET                        ADDRESS ON FILE
GALESBURG, IL 61401                     GALESBURG, IL 61401




FLORES, ANGELA                          FLORES, APRIL                             FLORES, ARNULFO
ADDRESS ON FILE                         919 CARSON ST                             15229 BOCA RIO DR
                                        BARSTOW, CA 92311                         OAK FOREST, IL 60452




FLORES, BRANDEE M.                      FLORES, BRENDA                            FLORES, CARLOS R.
ADDRESS ON FILE                         1300 TECOLOTE ST.                         ADDRESS ON FILE
                                        LAS VEGAS, NM 87701




FLORES, CARMEN                          FLORES, CESAR E.                          FLORES, CHRISTIAN
403 4TH ST                              1200 S MALLERY ST                         ADDRESS ON FILE
WAUKEGAN, IL 60085                      DEMING, NM 88030




FLORES, DELIA                           FLORES, ERIKA                             FLORES, GLORIA A.
ADDRESS ON FILE                         817 COMMONWEALTH AVE                      1202 SYCAMORE
                                        WAUKEGAN, IL 60085                        BIG SPRING, TX 79720




FLORES, GRACES                          FLORES, HEATHER                           FLORES, IGNACIA
3080 BLUE QUAIL RD SW                   418 SANTA BARBARA RD                      2637 ORCHARD
DEMING, NM 88030                        LAKEMOOR, IL 60051                        BLUE ISLAND, IL 60406




FLORES, IRAIS                           FLORES, IVIS M.                           FLORES, JAMIE L.
ADDRESS ON FILE                         105 PARADISE PARK                         ADDRESS ON FILE
                                        SANTA CRUZ, CA 95060
FLORES, JUAN              Case 20-10766-BLS
                                        FLORES, Doc  6 N.Filed 04/07/20
                                                KRISTEN                     Page FLORES,
                                                                                  603 of MARJORIE
                                                                                         1969
ADDRESS ON FILE                           1601 LINCON AVE                        817 COMMONWEALTH AVE
                                          BIG SPRING, TX 79720                   WAUKEGAN, IL 60085




FLORES, MICHELLE                          FLORES, MIGUEL A.                      FLORES, NICOLE
ADDRESS ON FILE                           ADDRESS ON FILE                        69 WAGNER AVENUE
                                                                                 WATSONVILLE, CA 95076




FLORES, RICARDO                           FLORES, RICK                           FLORES, RICK
542 E 161ST ST                            ADDRESS ON FILE                        2401 32ND ST
SOUTH HOLLAND, IL 60473                                                          LUBBOCK, TX 79411




FLORES, STACY R.                          FLORES, VIVIANA                        FLORES-DIAZ, AYME
608 S. AYLESFORD ST                       ADDRESS ON FILE                        15108 DAISY RD
BIG SPRING, TX 79720                                                             ADELANTO, CA 92301




FLOREY, JULIE A.                          FLORIANO, KRYSTLE L.                   FLORIDA DEPARTMENT OF EDUCATION
241 STATE AVE NE                          839 BELL ORR DR                        P.O. BOX 865432
MASSILLON, OH 44646                       ALBERTVILLE, AL 35951                  ORLANDO, FL 32886-5435




FLORIDA DEPARTMENT OF FINANCIAL           FLORIDA DEPARTMENT OF FINANCIAL        FLORIDA DEPARTMENT OF FINANCIAL
SERVICES                                  SERVICES                               SERVICES
200 E GAINES ST                           ATTN: REPORTING SECTION                REPORTING SECTION-UNCLAIMED PROPERT
TALLAHASSEE, FL 32399                     FLORIDA DEPARTMENT OF FINANCIAL        200 E GAINES ST
                                          SERVICES BUREAU OF UNCLAIMED           TALLAHASSEE, FL 32399-0358
                                          PROPERTY
                                          P.O. BOX 6350
                                          TALLAHASSEE, FL 32314-6350

FLORIDA DEPARTMENT OF REVENUE             FLORIDA DEPARTMENT OF REVENUE          FLORIDA SECRETARY OF STATE
2450 SHUMARD OAK BLVD.                    5050 WEST TENNESSEE ST                 DIVISION OF CORPORATIONS
TALLAHASSEE, FL 32311                     TALLAHASSEE, FL 32399                  P.O. BOX 6327
                                                                                 TALLAHASSEE, FL 32314




FLORIDA SECRETARY OF STATE                FLORIDA STATE DISBURSEMENT UNIT        FLORIDA STATE DISBURSEMENT UNIT
THE CENTRE OF TALLAHASSEE                 P.O. BOX 8500                          P.O. BOX 8500
2415 N MONROE ST                          TALLAHASSEE, FL 32314-8500             TALLAHASSEE, FL 33214-8500
STE 810
TALLAHASSEE, FL 32303



FLORIO, DEBRA A.                          FLORIO, DEBRA A.                       FLORIST, WALTER KNOLL
ADDRESS ON FILE                           2846 LINCOLN PARK DR                   P.O. BOX 78489
                                          GALESBURG, IL 61401                    ST LOUIS, MO 63178-8489




FLORKOWSKI, DOUGLAS C.                    FLOTA, SAMANTHA T.                     FLOURNOY, ALFORD O.
ADDRESS ON FILE                           2000 RICHVIEW RD                       12147 S PARNELL AVE
                                          MOUNT VERNON, IL 62864                 CHICAGO, IL 60628
FLOWER ORTHOPEDICS CORPCase 20-10766-BLS
                                     FLOWERSDoc
                                              ARE 6
                                                  US Filed 04/07/20   Page FLOWERS
                                                                            604 of 1969
                                                                                   BAKING CO OF BATESVILL
100 WITMER RD, STE 280               123 SOUTH 1ST STREET                  P O BOX 847871
HORSHAM, PA 19044                    MONMOUTH, IL 61462-0000               DALLAS, TX 75284




FLOWERS BAKING CO. OF EL PASO        FLOWERS BAKING CO.,NC.                FLOWERS BAKING COMPANY
P.O. BOX 842226                      POB 100817                            OF HENDERSON LLC
DALLAS, TX 75284                     ATLANTA, GA 30384                     P.O. BOX 396074
                                                                           SAN FRANCISCO, CA 94139-6074




FLOWERS BY CATHE                     FLOWERS BY DAVE                       FLOWERS BY LOUIS HODY INC
13022 SOUTH WESTERN AVE              1101 NORTH MAIN STREET                HODYS FLORIST
BLUE ISLAND, IL 60406                BENTON, IL 62812                      3515 WEST HAMILTON AVE
                                                                           NASHVILLE, TN 37218




FLOWERS BY PAT LLC                   FLOWERS JENNA                         FLOWERS, ANTOINETTE
3214-A LINCOLN WAY E                 2236 STEMLER RD                       15515 ELLIS AVE
MASSILLON, OH 44646                  MILLSTADT, IL 62260                   DOLTON, IL 60419




FLOWERS, DEBBY L.                    FLOWERS, DEBORAH D.                   FLOWERS, JAXON
ADDRESS ON FILE                      953 WEST 78TH ST                      100 KY HWY 15 SOUTH
                                     CHICAGO, IL 60620                     SUITE 110
                                                                           JACKSON, KY 41339




FLOWERS, JENNIFER A.                 FLOWERS, JOYS                         FLOWERS, KETHER N.
1027 SFC 267                         P.O. BOX 8201                         1406 TULANE DR 6
COLT, AR 72326                       GADSDEN, AL 35902                     LUFKIN, TX 75901




FLOWERS, LAKIMBRA                    FLOWERS, LEE R.                       FLOWERS, LYNDA E.
3417 GUTHRIE ST                      12329 VERCOE AVE                      ADDRESS ON FILE
EAST CHICAGO, IN 46312               BEACH PARK, IL 60087




FLOWERS, OLIVIA                      FLOWERS, SHEVELL                      FLOWERS, TALLEY A.
57 SFC 210                           7825 W MAIN ST                        ADDRESS ON FILE
FORREST CITY, AR 72335               BELLEVILLE, IL 62223




FLOYD J DOBSON                       FLOYD SMITH                           FLOYD, GREGORY
1043 MOUNTAIN RD                     107 SUGARMILL RD                      2101 WALLACE AVE NE
PAXINOS, PA 17860                    TROY, IL 62294                        FORT PAYNE, AL 35967-7301




FLOYD, HARRLESON                     FLOYD, JESSICA J.                     FLOYD, JUSTIN
2015 MUDLINE RD                      216 RIVER LANDING DRIVE               2602 NE TUSCAN LANE
PROCTOR, AR 72376                    MONROE, GA 30656                      ALBANY, OR 97321
FLOYD, KENNETH             Case 20-10766-BLS     Doc 6
                                         FLOYD, MARTY       Filed 04/07/20   Page FLOYD,
                                                                                   605 ofPAMALA
                                                                                          1969C.
25472 HUNTER ROAD                         ADDRESS ON FILE                         ADDRESS ON FILE
VENETA, OR 97487




FLOYDS RENTAL CENTER                      FLUCHEL, JUNE M.                        FLUID ROUTING SOLUTIONS
P0 BOX 969                                2049 MULLINS CREEK ROAD                 1921 N BROAD ST
LAS VEGAS, NM 87701-0969                  DUPO, IL 62239                          LEXINGTON, TN 38351-6599




FLUID-AIRE DYNAMICS                       FLUKE ELECTRONICS CORPORATION           FLUSS, NANCY A.
530 ALBION AVE                            7272 COLLECTION CENTER DR               113 WINTERS TRAIL
SCHAUMBURG, IL 60193-0000                 CHICAGO, IL 60693                       EDWARDSVILLE, IL 62025




FLUTY, CLIFFORD                           FLUTY, ERIC C.                          FLUTY, PATRICK
74 UPPER FLUTTY ROAD                      ADDRESS ON FILE                         P.O. BOX 13
LOUISA, KY 41230                                                                  CRUM, WV 25669




FLYGARE, MATTHEW D.                       FLYING LOCKSMITHS OF NORTH ALABAMA,     FLYNN HERBERT E II
ADDRESS ON FILE                           THE                                     1405 DAYBREAK BLVD
                                          7734 MADISON BLVD., STE 101             MURPHY, NC 28906
                                          HUNTSVILLE, AL 35806




FLYNN III, JAMES X.                       FLYNN, ARDITH                           FLYNN-HALE, LAURA
875 N. ACADEMY ST.                        175 CAP CT                              ADDRESS ON FILE
GALESBURG, IL 61401                       EUGENE, OR 97402-5424




FM COST CONTAINMENT, LLC                  FM SHEET METAL INC                      FMLASOURCE INC
ATTN: ACCOUNTS RECEIVABLE                 886 SHELLEY ST                          455 N CITYFRONT PLAZA DR
85 OLD EAGLE SCHOOL ROAD, SUITE 104       SPRINGFIELD, OR 97477                   NBC TOWER - 13TH FLR
WAYNE, PA 19087                                                                   CHICAGO, IL 60611-5322




FOCUS HEALTH MANAGEMENT, LLC              FOCUS ON YOGA                           FOCUS SLEEP CENTERS
7420 GUTHRIE DRIVE                        2295 ASHBROOK LANE                      7730 WOLF RIVER BLVD, SUITE 106
SOUTHAVEN, MS 38671                       GRAYSLAKE, IL 60030                     GERMANTOWN, TN 38138




FOCUSED ULTRASOUND ABLATION               FOGLE, BARBARA A.                       FOGLE, JUDY
1123 MCDONALD AVE                         11945 PATROON CR NW                     4922 WISELAND AVE SE
BROOKLYN, NY 11230                        CANAL FULTON, OH 44614                  CANTON, OH 44707




FOGLIO, MARGARET                          FOIANINI, TYSON                         FOJTASEK, JAMES N.
244 LAKE VIEW DR.                         1246 CR 238                             1281 ALDERDALE DRIVE
TURTLETOWN, TN 37391                      LYMAN, WY 82937-9077                    JUNCTION CITY, OR 97448
                       Case 20-10766-BLS
FOKUS ON ARCHITECTURE INC                     Doc 6 Filed 04/07/20
                                     FOLDY, JESSICA                  Page FOLEY
                                                                           606 of 1969
                                                                                & MANSFIELD PLLP ATTORNEYS AT
5788 N MESA ST                       10506 S 83RD AVE                     LAW
EL PASO, TX 79912                    PALOS HILLS, IL 60465                55 WEST MONROE STREET
                                                                          SUITE 3530
                                                                          CHICAGO, IL 66030



FOLEY CHARLES M                     FOLEY, CHRISTINE                      FOLEY, CRYSTAL
714 STATE ST                        3915 TOWLE AVE                        5905 MERIDIAN WOOD
MADISON, IL 62060                   HAMMOND, IN 46327-1152                GLEN CARBON, IL 62034




FOLEY, IAN A.                       FOLEY, KEVIN                          FOLEY, PATRICIA
ADDRESS ON FILE                     157 DESTINY WAY                       ADDRESS ON FILE
                                    ELLIJAY, GA 30540




FOLGERS GAS, L.L.C.                 FOLIO INVESTMENTS INC                 FOLKEMER, JOSEPH
P.O. BOX 2155                       P.O. BOX 10544                        3969 HARTFORD ST
BLUE RIDGE, GA 30513                ATTN: PROXY SVCS DEPT                 SAINT LOUIS, MO 63116
                                    MCLEAN, VA 22102-8544




FOLKERS, MOLLY J.                   FOLKLAND, COURTNEY                    FOLLETT CORP
ADDRESS ON FILE                     686 HOME BLVD APT. 104                801 CHURCH LANE
                                    GALESBURG, IL 61401                   ATTN. FEI SALEM3012
                                                                          EASTON, PA 18044




FOLLETT CORP                        FOLLETT CORPORATION                   FOLLETT CORPORATION
PO BOX 782806                       801 CHURCH LANE                       BOX 2806
PHILADELPHIA, PA 19178              EASTON, PA 18040                      P.O. BOX 8500
                                                                          PHILADELPHIA, PA 19178-2806




FOLLETT CORPORATION                 FOLLETT LLC                           FOLLETT
P.O. BOX 782806                     P.O. BOX 782806                       801 CHURCH LANE
PHILADELPHIA, PA 19178-2806         PHILADELPHIA, PA 19178-2806           EASTON, PA 18040




FOLLETT                             FOLLETT                               FOLLETT
801 CHURCH LANE                     P.O. BOX 782806                       P.O. BOX 782806
P O BOX D                           PHILADELPHIA, PA 19178                PHILDALEPHIA, PA 19178-2806
EASTON, PA 18044




FOLLOWELL, HEATHER L.               FOLSOM, GLORIA J.                     FONACIER, NICOLE
ADDRESS ON FILE                     700 N MILL ST UNIT 73                 ADDRESS ON FILE
                                    CRESWELL, OR 97426




FONDA J DROVER                      FONDA, ELIZABETH                      FONDRIEST, CRIS E.
119 WILLIS DR                       89406 TERRITORIAL HWY                 5189 LYNNCREST SW
MILL HALL, PA 17751                 ELMIRA, OR 97437                      CANTON, OH 44706
FONSECA, JULIO           Case 20-10766-BLS    Doc 6 MD
                                       FONT, GUILLERMO Filed 04/07/20   Page FONTAINE,
                                                                              607 of 1969
                                                                                       NANCY
8115 MONROE AVENUE                      814 PARK AVE                         900 ROWE RD.
MUNSTER, IN 46321                       RIVER FOREST, IL 60305               MONROE, GA 30655




FONTENO, CHEVON                         FONTENOT, JAMILLA                    FONTILLAS, ARTHUR B.
14588 TORREY WAY                        164 CANE AVE.                        187 N MAYFAIR PL
ADELANTO, CA 92301                      SOCIAL CIRCLE, GA 30025              CHICAGO HEIGHTS, IL 60411




FONZIE JURIL                            FONZIE, JURIL                        FONZIE, TOMMEISHA
ADDRESS ON FILE                         ADDRESS ON FILE                      10620 RICHSMITH LANE
                                                                             NORTH LITTLE ROCK, AR 72113




FOOD & DRUG ADMIN-MQSA                  FOOD CITY                            FOOD GIANT
MAMMO QUALITY ASSURANCE                 P.O. BOX 1158                        2307 N WASHINGTON
P.O. BOX 979109                         ABINGDON, VA 24212                   FORREST CITY, AR 72335
ST. LOUIS, MI 63197-9000




FOOD PANTRY ALPINE INC                  FOOD SERVICE RESOURCES               FOOD SERVICE RESOURCES
P.O. BOX 1366                           5350 MCEVER RD SUITE A               5350 MCEVER RD
ALPINE, TX 79831                        FLOWERY BRANCH, GA 30542             SUITE A
                                                                             FLOWERY BRANCH, GA 30542




FOODLAND PLUS DEKALB PLAZA              FOPPE, DIANE                         FOPPE, RAYMOND H.
P.O. BOX 547                            6074 KELL ROAD                       88137 TIKI LN
RAINSVILLE, AL 35986                    TEXICO, IL 62889                     SPRINGFIELD, OR 97478




FORAN, GARY E.                          FORAN, LAUREN                        FORBERG, JOHN
27827 CRESTVIEW                         1234 N RAPP AVE                      3128 WOODRIDGE AVE NW
BARSTOW, CA 92311-6302                  COLUMBIA, IL 62236                   CANTON, OH 44718




FORBES, ANDREW I.                       FORBES, ANDREW                       FORBES, AUTUMN M.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




FORBES, BRIAN                           FORBES, JUDITH                       FORBES, MARK W.
ADDRESS ON FILE                         6357 C ROAD                          ADDRESS ON FILE
                                        WATERLOO, IL 62298




FORBY RACHEL M                          FORBY, SUSAN                         FORCE 3 RADIO NETWORK
590 RTE 37                              P.O. BOX 118                         P O BOX 2870
GOREVILLE, IL 62939                     COBDEN, IL 62920                     WEST HELENA, AR 72390
FORD CREDIT               Case 20-10766-BLS    Doc 6L Filed 04/07/20
                                        FORD DEBORAH                     Page FORD
                                                                               608 FOOD
                                                                                   of 1969
                                                                                        SERVICE EQUIP. CO
P.O. BOX 552679                         83817 SUMMERBELL DR                   2204 N BROADWAY
DETROIT, MI 48255-2679                  FLORENCE, OR 97439                    ST LOUIS, MO 63102




FORD HOTEL SUPPLY COMPANY               FORD HOTEL SUPPLY COMPANY, INC        FORD JR., HERB
2204 NORTH BROADWAY                     2204 NORTH BROADWAY                   ADDRESS ON FILE
ST. LOUIS, MO 63102                     ST. LOUIS, MO 63102-1404




FORD MARILYN E                          FORD OLIVIA                           FORD, ANITA A .
3400 W 124TH PL                         302 PARK ST                           803 SFC 221
ALSIP, IL 60803                         TROY, IL 62294                        FORREST CITY, AR 72335




FORD, BARBARA                           FORD, CHRISTIE L.                     FORD, DARLENE R.
1005 N CHARLYNE                         47 PARK STREET LOT 12                 ADDRESS ON FILE
BRINKLEY, AR 72021                      LOUISA, KY 41230




FORD, DEBRA S.                          FORD, HARRIS                          FORD, JAMES J., DDS, PC
42 GAMLIN DRIVE                         3710 S VAN DYKE RD                    ADDRESS ON FILE
FAIRVIEW HEIGHTS, IL 62208              NEWPORT, AR 72112




FORD, JENNIFER                          FORD, JOHN R., M.D.                   FORD, JUTUAN
1705 MADDOX CT                          ADDRESS ON FILE                       16921 LANGLEY AVE
MONROE, GA 30656                                                              SOUTH HOLLAND, IL 60473




FORD, KEN GARFF                         FORD, LENARD R.                       FORD, LESLIE
597 E 1000 S                            12843 W.WAKEFIELD                     ADDRESS ON FILE
AMERICAN FORK, UT 84003                 BEACH PARK, IL 60083




FORD, LEVI A.                           FORD, MALLORY L.                      FORD, MARIANNE A.
ADDRESS ON FILE                         1915 LEE 225                          12840 GREGORY ST
                                        MARIANNA, AR 72360                    BLUE ISLAND, IL 60406




FORD, MICHAEL                           FORD, MITCHELL                        FORD, PATTI
ADDRESS ON FILE                         2125 KENYON ST                        309 CEDAR BLUFF RD
                                        APT E                                 CENTRE, AL 35960
                                        LOUISVILLE, OH 44641




FORD, RICHARD C.                        FORD, SALLY                           FORD, STEVE MARSH
725 W 12TH AVE                          2840 S ROCKHILL AVE                   12415 S, 1ST STREET
JUNCTION CITY, OR 97448                 ALLIANCE, OH 44601                    MILAN, TN 38358
FORD, TIFFANY             Case 20-10766-BLS     Doc 6
                                        FORD, TIFFANY      Filed 04/07/20    Page FORD,
                                                                                   609 of 1969J.
                                                                                        WILLIAM
42 JANET DR                              835 N 27TH ST                            1297 N PAULOS BLVD
BELLEVILLE, IL 62226                     MT VERNON, IL 62864                      TOOELE, UT 84074




FORD, ZANDRA D.                          FORDEN, ARLEEN J.                        FORDHAM, WILLIAM E.
2260 DESPLAINES AVE APT 2                602 W RIDGELAND AVE                      96 CRAIG ST SUITE 112
NORTH RIVERSIDE, IL 60546                P.O. BOX 1099                            ELLIJAY, GA 30540
                                         WAUKEGAN, IL 60085




FORDHAM, WILLIAM                         FORD-RUSHING, DARRYLIN                   FORDS PLUMBING INC.
96 CRAIG STREET                          14300 S DEARBORN ST                      3647 E. EMERSON CITY ROAD
SUITE 112-419                            RIVERDALE, IL 60827                      SCHELLER, IL 62883
ELLIJAY, GA 30540




FOREMAN, DELINA S.                       FOREMAN, ERMA J.                         FOREMOST 21 CENTURY INS CO
ADDRESS ON FILE                          12238 S CARPENTER ST                     P O BOX 268993
                                         CHICAGO, IL 60643                        OKLAHOMA CITY, OK 73126




FORENSIC MEDICINE ASSOCIATES INC         FORERUNNER HOLDINGS INC                  FORESHEE, PATRICK
2095 HIGHWAY 211 NW                      1150 FIRST AVE                           605 ILLINOIS AVE
STE 2F-274                               STE 910                                  SOUTH ROXANA, IL 62087
BRASELTON, GA 30517                      KING OF PRUSSIA, PA 19406




FORESIGHT IMAGING LLC                    FORESIGHT                                FORESTA, KATHERINE
ONE EXECUTIVE DRIVE 202                  ATTN: REFUND DEPT                        214 BEACHVIEW DRIVE
CHELMSFORD, MA 01824                     1408 N WEST SHORE BLVD SUITE 1010        ROUND LAKE BEACH, IL 60073
                                         TAMPA, FL 33607-8000




FORESTWOOD FARM INC.                     FORETHOUGHT LIFE INS CO                  FORETHOUGHT LIFE INS CO
P.O. BOX 310728                          ATTN:REFUNDS                             ATTN:REFUNDS
BIRMINGHAM, AL 35231-0728                P.O. BOX 16500                           P.O.BOX 16500
                                         CLEARWATER, FL 33766-6500                CLEARWATER, FL 33766-6500




FORETHOUGHT LIFE INS                     FOREVER PHOTO                            FORGY, HELEN
P.O. BOX 16500                           12945 WESTERN AVE                        416 EAGLES WAY
CLEARWATER, FL 33766-6500                BLUE ISLAND, IL 60406                    APT B
                                                                                  TROY, IL 62294




FORGY, TRACY                             FORISTER, F. L.                          FORLEMU, JOYCE N.
243 MAYBERRY RD                          ADDRESS ON FILE                          571 COLLINGSWORTH LN
MCKENZIE, TN 38201                                                                LAWRENCEVILLE, GA 30043




FORMBY, JANET F.                         FORMBY, TIFFANY A.                       FORMENTINI, JOHN
ADDRESS ON FILE                          404 LAKE MURRAY DRIVE                    7319 COLONY LANE
                                         NORTH AUGUSTA, SC 29841                  UNIT 3A
                                                                                  FRANKFORT, IL 60423
FORMOS CONSULTING LLC Case 20-10766-BLS
                                    FORMOS Doc    6 Filed
                                             CONSULTING LLC 04/07/20      Page FORMS
                                                                                610 ofASSOCIATES
                                                                                        1969
155 FRANKLIN RD, STE 310            P.O. BOX 1054                              1340 HOME AVE SUITE D
BRENTWOOD, TN 37027                 BRENTWOOD, TN 37024-1054                   AKRON, OH 44310




FORNENGO, MICHAEL                       FORNERO, REBECCA                       FORNESS, CURTIS D.
181 JULIAN WY                           2016 MAPLELEAF DRIVE                   ADDRESS ON FILE
MESQUITE, NV 89027                      COLLINSVILLE, IL 62234




FORNEY, BIANCA L.                       FOROUZANDEH, BAHRAM, M.D. PSC          FORREST CITY ARKANSAS HOSPITAL
1270 ALBERTON RD                        P.O. BOX 1375                          COMPANY, LLC
LEXINGTON, TN 38351                     PRESTONSBURG, KY 41653                 124 WEST CAPITOL AVENUE
                                                                               SUITE 1900
                                                                               LITTLE ROCK, AR 72201



FORREST CITY BROADCASTING               FORREST CITY BROADCASTING              FORREST CITY CHAMBER OF COMMERCE
P O BOX 707                             P.O. BOX 707                           203 N IZARD
FORREST CITY, AR 72336                  FORREST CITY, AR 72336                 FORREST CITY, AR 72335




FORREST CITY CLINIC COMPANY, LLC        FORREST CITY COUNTRY CLUB              FORREST CITY EMERGENCY PHYSICIANS
124 WEST CAPITOL AVENUE                 P O BOX 957                            PLLC
SUITE 1900                              FORREST CITY, AR 72336                 P.O. BOX 677979
LITTLE ROCK, AR 72201                                                          DALLAS, TX 75267-7979




FORREST CITY HEALTH CLUB                FORREST CITY HOLDINGS, LLC             FORREST CITY HOSPITAL CORPORATION
218 N. ROSSER ST.                       124 WEST CAPITOL AVENUE                124 WEST CAPITOL AVENUE
FORREST CITY, AR 72335                  SUITE 1900                             SUITE 1900
                                        LITTLE ROCK, AR 72201                  LITTLE ROCK, AR 72201




FORREST CITY JR AUXILIARY               FORREST CITY MEDICAL AUXILLIARY        FORREST CITY MEDICAL CENTER
P.O. BOX 1340                           1601 NEWCASTLE                         ENTITY 0196
FORREST CITY, AR 72335                  FORREST CITY, AR 72335                 1601 NEWCASTLE ROAD
                                                                               FORREST CITY, AR 72335




FORREST CITY PHYSICIAN SERVICES, PLLC   FORREST CITY PLUMBING                  FORREST CITY RECREATION DEPT
200 CORPORATE BLVD                      P O BOX 169                            P.O. BOX 1074
LAFAYETTE, LA 70508                     FORREST CITY, AR 72336-0169            FORREST CITY, AR 72335




FORREST CITY SCHOOLS ATHLETIC           FORREST CITY WATER UTILITY             FORREST CITY WATER UTILITY
BOOSTER CLUB                            303 N ROSSER                           P O BOX 816
1022 N WASHINGTON ST                    FORREST CITY, AR 72335                 FORREST CITY, AR 72336-0816
FORREST CITY, AR 72335




FORREST CITY WATER UTILITY              FORREST CITY WATER UTILITY             FORREST DURHAM
P.O. BOX 816                            P.O. BOX 816                           410 JOE HORTON RD
FORREST CITY, AR 72335                  FORREST CITY, AR 72336-0816            LEXINGTON, TN 38351
FORREST SHARON           Case 20-10766-BLS
                                       FORRESTDoc    6 W
                                                 TIMOTHY Filed 04/07/20   Page FORREST,
                                                                                611 of 1969
                                                                                        ALEX B.
10860 39TH AVE                         15252 MILLARD AVE                       535 NORTH 6TH ST
PLEASANT PRAIRIE, WI 53158             MIDLOTHIAN, IL 60445                    BELLEVILLE, IL 62220




FORREST, JENNIFER                      FORREST, MARYLOU                        FORREST, MORGAN
ADDRESS ON FILE                        4635 OPAL CLIFF DR.                     123 ALTA VISTA AVE
                                       SANTA CRUZ, CA 95062                    NORTH AUGUSTA, SC 29841




FORREST, SAM JR                        FORRESTER, BRADY J.                     FORRESTER, DEANA M.
842 FAIRVIEW AVE                       821 GROVE STREET                        803 TERRY ST. NORTH
BELVEDERE, SC 29841-2337               JACKSONVILLE, IL 62650                  WYNNE, AR 72396




FORSBERG, JUSTIN                       FORSGREN, MARIESA J.                    FORSHEE, MORGAN
ADDRESS ON FILE                        91 SOUTH VALLEY DRIVE APT 23            5425 LONGSHORE DR
                                       EVANSTON, WY 82930                      BIG SPRING, TX 79720




FORSLEV, CYNTHIA J.                    FORSLEV, CYNTHIA                        FORSYTHE, PATRICIA L.
ADDRESS ON FILE                        ADDRESS ON FILE                         7567 DAY AVE SW
                                                                               NAVARRE, OH 44662




FORT BEND SERVICES, INC                FORT BEND SERVICES, INC                 FORT DAVIS CHAMBER COMMERCE
P.O. BOX 1688                          P.O. BOX 1688                           P.O. BOX 378
STAFFORD, TX 77497                     STAFFORD, TX 77497-1688                 FORT DAVIS, TX 79734




FORT DAVIS FAMILY PRACTICE             FORT GAY AREA LIONS CLUB                FORT GAY PREK-8
P.O. BOX 792                           P.O. BOX 248                            1 VIKING DRIVE
FORT DAVIS, TX 79734                   FORT GAY, WV 25514                      FORT GAY, WV 25514




FORT JR, DON C.                        FORT MADISON COMMUNITY HOSPITAL         FORT PAYNE CHAMBER OF COMMERCE
1111 55TH ST                           5445 AVENUE O                           300 GAULT AVE N
KENOSHA, WI 53140                      P.O. BOX 174                            FORT PAYNE, AL 35967
                                       FORT MADISON, IA 52627-0174




FORT PAYNE CHAMBER OF COMMERCE         FORT PAYNE CLINIC CORP.                 FORT PAYNE FUTBOL CLUB DBA DC
300 GAULT AVE                          2 NORTH JACKSON STREET                  INFERNO
FORT PAYNE, AL 35967                   SUITE 605                               1403 67TH ST NW
                                       MONTGOMERY, AL 36104                    FORT PAYNE, AL 35967




FORT PAYNE HBP, LLC                    FORT PAYNE HIGH SCHOOL                  FORT PAYNE HOSPITAL CORPORATION
1573 MALLORY LANE, SUITE 100           201 45TH ST NE                          2 NORTH JACKSON STREET
BRENTWOOD, TN 37027                    FORT PAYNE, AL 35967                    SUITE 605
                                                                               MONTGOMERY, AL 36104
FORT PAYNE IMPROVEMENTCase 20-10766-BLS
                      AUTHORI               DocIMPROVEMENT
                                    FORT PAYNE    6 Filed 04/07/20
                                                           AUTHORITY   Page FORT
                                                                             612 PAYNE
                                                                                 of 1969
                                                                                       IMPROVEMENT AUTHORITY
P.O. BOX 680617                     406 THIRD ST SOUTHEAST                  P.O. BOX 680617
FORT PAYNE, AL 35968                FORT PAYNE, AL 35967                    FORT PAYNE, AL 35968-1607




FORT PAYNE RHC CORP.                 FORT PAYNE ROTARY CLUB                 FORT PAYNE WATER WORKS BOARD
2 NORTH JACKSON STREET               P.O. BOX 681244                        153 20TH STREET N E
SUITE 605                            FORT PAYNE, AL 35968                   FORT PAYNE, AL 35967
MONTGOMERY, AL 36104




FORT PAYNE WATER WORKS BOARD         FORT STOCKTON PIONEER                  FORT UNION DRIVE IN
153 20TH STREET NE                   P.O. BOX 1528                          P.O. BOX 311
FORT PAYNE, AL 35967-3523            FORT STOCKTON, TX 79735                SAN CRISTOBAL, NM 87564




FORT, NIKOLAS                        FORT, NIKOLAS                          FORT, VERONICA
ADDRESS ON FILE                      ADDRESS ON FILE                        ADDRESS ON FILE




FORTE HOSPITALIST SERVICES LLC       FORTE, GREYIANA                        FORTEC LITHO-PRS
2250 N ILLINOIS AVE                  1117 MCCORDS CORNER                    6245 HUDSON CROSSING PKWY
CARBONDALE, IL 62901                 CONYERS, GA 30012                      HUDSON, OH 44236




FORTEC MEDICAL INC - NON PRS         FORTEC MEDICAL INC                     FORTEC MEDICAL INC
P.O. BOX 951147                      6245 HUDSON CROSSING PKWY              P O BOX 951147
CLEVELAND, OH 44193                  HUDSON, OH 44236                       CLEVELAND, OH 44193




FORTEC MEDICAL                       FORTENBERRY, BRIANA M.                 FORTMAN, CARL
PO BOX 951147                        ADDRESS ON FILE                        106 MALLARD DR
CLEVELAND, OH 44193                                                         GRANITE CITY, IL 62040




FORTNER SHERRY L                     FORTNER, DONNA L.                      FORTNER, JERRY W.
3002 HARDINGER RD NW                 158 ELMER TALLEY DRIVE                 3002 HARDINGER RD
FORT PAYNE, AL 35968-3100            COPPERHILL, TN 37317                   FORT PAYNE, AL 35968-3100




FORTNEY DONNA                        FORTU, PUENTESOR REY F.                FORTUNA BAKER
1620 HYDE PARK AVE                   6526 167TH STREET                      443 160TH AVE
WAUKEGAN, IL 60085                   TINLEY PARK, IL 60477                  KIRKWOOD, IL 61447




FORTUNE, DOROTHEA M.                 FORTUNE, TEHYA                         FORTUNY, SABRINA
ADDRESS ON FILE                      11824 S CAMPBELL                       175 CURTIS DRIVE
                                     CHICAGO, IL 60655                      ATHENS, GA 30605
FORTY SIX COMPANY INC Case 20-10766-BLS
                                    FORWARD Doc  6 Filed 04/07/20
                                              HEALTH                Page FORWARD
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                                                                                  MOTION
P.O. BOX156                         313 BIETTNER BLVD                    535 NORTH 1300 EAST
LAKETOWN, UT 84038-0156             MADISON, WI 53784                    ST GEORGE, UT 84770




FOSHAY, STEVEN                      FOSHEE, BRYAN                        FOSHEE, CAITLYN M.
538 W TOMPKINS                      1641 BROWNS CHAPEL RD                696 COUNTY RD 391
GALESBURG, IL 61401                 RAINSVILLE, AL 35986-6551            GERALDINE, AL 35962




FOSKETT, JAMES J.                   FOSS ALLAN WATSON                    FOSS, ALISON
ADDRESS ON FILE                     2568 MAIA LOOP                       150 APACHE HILLS DR NE
                                    SPRINGFIELD, OR 97477                DEMING, NM 88030




FOSS, FLOYDETTA M.                  FOSS, JENNIE T.                      FOSSE BICHNHU T
5379 SILVER FOX WAY                 1539 BYRON AVE SW                    P.O. BOX 40
NORTH AUGUSTA, SC 29841-7650        MASSILLON, OH 44647                  105 N CHAMERLAIN DR
                                                                         MARION, IL 62959




FOSSE, AMY E.                       FOSSE, DEBRA                         FOSTER ALTA L
2311 FORREST CT                     302 LINGALE AVE                      13338 OLD HWY 76
MARION, IL 62959                    MARION, IL 62959-0000                MORGANTON, GA 30560




FOSTER COLTON                       FOSTER DOUGLAS ALAN                  FOSTER FAMILY RESOURCE CENTER
1403 HOWARD RD                      2535 I ST                            OF SOUTHERN ILLINOIS
MARION, IL 62959                    SPRINGFIELD, OR 97477                1821 W. MAIN ST.
                                                                         CARBONDALE, IL 62901




FOSTER FRANK L                      FOSTER FUELS INC                     FOSTER PAMELA A
719 SCOTTS GLEN DR                  P.O. BOX 190                         P.O. BOX 976
SPRINGFIELD, OR 97477               BROOKNEAL, VA 24528-0000             MC CAYSVILLE, GA 30555




FOSTER SUE E                        FOSTER TOMMY D                       FOSTER, AMITY L.
100 POLO RUN                        P.O. BOX 1084                        485 SHADY ACRES LN
WATERLOO, IL 62298                  MC CAYSVILLE, GA 30555               LEXINGTON, TN 38351




FOSTER, AMY                         FOSTER, ANJANETTE                    FOSTER, CHRISTINA
ADDRESS ON FILE                     ADDRESS ON FILE                      ADDRESS ON FILE




FOSTER, DEBRA                       FOSTER, DENNIS                       FOSTER, DIANA L.
P.O. BOX 408                        P.O. BOX 1346                        ADDRESS ON FILE
EDINBURG, IL 62531                  FLORENCE, OR 97439-0065
FOSTER, FAY S.        Case 20-10766-BLS
                                    FOSTER, Doc
                                            GARY6L. Filed 04/07/20        Page FOSTER,
                                                                                614 of GEMINILDA
                                                                                       1969 A.
547 JAMES POWERS ROAD               21612 VAUGHN RD                            ADDRESS ON FILE
MONROE, GA 30656                    VENETA, OR 97487-0000




FOSTER, JACQUELINE L.                FOSTER, JAMES                             FOSTER, JASMINE D.
507 GREENWOOD AVE APT 6              2505 COLLINS DR                           118 AUTUMN PINE DR
WAUKEGAN, IL 60087                   LAS VEGAS, NM 87701                       FAIRVIEW HEIGHTS, IL 62208




FOSTER, JENNIFER R.                  FOSTER, KIMBERLY D.                       FOSTER, LINDA L.
ADDRESS ON FILE                      ADDRESS ON FILE                           ADDRESS ON FILE




FOSTER, MELISSA                      FOSTER, MELISSA                           FOSTER, PAMELA J.
ADDRESS ON FILE                      ADDRESS ON FILE                           515 LA PAZ COURT
                                                                               MORGAN HILL, CA 95037




FOSTER, ROSIE                        FOSTER, SETH                              FOSTER, SHERRIE
426 HELEN STREET                     34 WOLF CREEK TRAIL                       ADDRESS ON FILE
WEST HELENA, AR 72390                MINERAL BLUFF, GA 30559




FOSTER, STEPHANI L.                  FOSTER, TAMIKA S.                         FOUASSE, JONATHAN
ADDRESS ON FILE                      ADDRESS ON FILE                           210 ROSEWOOD PL
                                                                               ATHENS, GA 30606-1541




FOUGHT, GLENDA A.                    FOULKS, TREVETTA S.                       FOUNDATION BLDG MATERIALS, LLC
710 N TERRY ST                       120 TANK RANGE ACCESS ROAD                2741 WALNUT AVE
WYNNE, AR 72396                      HUNTINGDON, TN 38344                      STE 200
                                                                               TUSTIN, CA 92780




FOUNDATION BUILDING MATERIALS, LLC   FOUNDATION BUILDING MATERICALS LLC        FOUNDATION MEDICINE
1926 S LYDIA AVENUE                  6872 PAYSPHERE CIR                        P.O. BOX 347790
PEORIA, IL 61605                     CHICAGO, IL 60674-6872                    PITTSBURGH, PA 15251-4790




FOUNDATION RADIOLOGY GROUP           FOUNDERS                                  FOUNDS, JAMES B.
3 GATEWAY CENTER 2OTH FLOOR          P.O. BOX 5100                             370 MARIGOLD AVE
401 LIBERTY AVE                      DES PLAINES, IL 60017                     FREEDOM, CA 95019-3118
PITTSBURGH, PA 15222




FOUNTAIN, DANA                       FOUNTAIN, ELOUISE J.                      FOUNTAIN, VICCI
P.O. BOX 84                          120 WEAVER DR                             2450 TERRACE
CHERRY LOG, GA 30522                 WILIAMSTON, NC 27892                      LYNWOOD, IL 60411
FOUR OAKS MEDICAL, LLC Case 20-10766-BLS     Doc SOFTWARE
                                     FOUR RIVERS   6 FiledSYSTEMS
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                                                                  INC   Page FOUR
                                                                              615 SEASONS
                                                                                  of 1969
195 FAY ROAD                         P.O. BOX 679881                         1281 N HENDERSON ST
POMFRET CENTER, OR 06259             DALLAS, TX 75267-9881                   GALESBURG, IL 61401




FOUR SEVENS OPERATING CO LTD          FOURNELLE, ANGELA M.                   FOUSE, TAMMY
777 TAYLOR ST, STE 1090               ADDRESS ON FILE                        2486 COMMERON CR
FORT WORTH, TX 76102                                                         POCATELLO, ID 83204




FOUST, DAVID                          FOUST, JAMIE                           FOUTCH, DENA A.
515 VIRGINIA ST                       515 VIRGINIA CIRCLE                    385 SANDBURN LANE
FORREST CITY, AR 72335                FORREST CITY, AR 72335                 VIENNA, IL 62995




FOUTS CHRISTIAN CHURCH                FOUTS JR., PHILLIP M.                  FOUTS, AMANDA
1629 E. DIX IRVINGTON ROAD            ADDRESS ON FILE                        ADDRESS ON FILE
CENTRALIA, IL 62801




FOUTS, PHILLIP                        FOUTZ, KAREN                           FOWLER ANNA JEAN
ADDRESS ON FILE                       1610 CARRIAGE HILL ST NW               444 72ND ST
                                      MASSILLON, OH 44646-2702               SPRINGFIELD, OR 97478-0000




FOWLER BELL PLLC                      FOWLER BONAN FOUNDATION                FOWLER HEATING & COOLING INC
300 WEST VINE STREET, STE. 600        CLOTHES FOR SI KIDS                    423 S COURT ST
LEXINGTON, KY 40507-1751              ATTN: KERRY CAMP P.O. BOX 848          P O BOX 909
                                      HARRISBURG, IL 62946                   MARION, IL 62959




FOWLER, CHARLES O.                    FOWLER, CRYSTAL M.                     FOWLER, DEBORAH
ADDRESS ON FILE                       13 W CLEAR WATER DR                    P.O. BOX 601
                                      STANSBURY PARK, UT 84074               WYNNE, AR 72396




FOWLER, DIAMOND M.                    FOWLER, ELLEN E.                       FOWLER, EMILY R.
1320 DESERET AVE APT. D               326 ARTHUR AVE                         3099 COUNTY ROAD 19
BARSTOW, CA 92311                     APTOS, CA 95003                        GROVE OAK, AL 35975




FOWLER, HERBERT                       FOWLER, JOHN                           FOWLER, LAKISHA T.
336 N FLORIDA ST                      ADDRESS ON FILE                        2166 HEBRON AVENUE
MARIANNA, AR 72360                                                           ZION, IL 60099




FOWLER, MATTHEW                       FOWLER, NICHOLAS L.                    FOWLER, REBECCA A.
148 WIMPY RD.                         415 MADISON ST                         ADDRESS ON FILE
ELLIJAY, GA 30540                     BENTON, IL 62812
FOWLER, RICKY G.          Case 20-10766-BLS
                                        FOWLER,Doc 6 Filed 04/07/20
                                               WENDY                  Page FOWLKES,
                                                                            616 of 1969
                                                                                    CAROLYN
3811 PARK LANE                          1229 LORNE LOOP                    14857 RIVERSIDE DR
GRANITE CITY, IL 62040                  SPRINGFIELD, OR 97477-0000         SOUTH HOLLAND, IL 60473-1089




FOX EMILY                               FOX LILLIE M                       FOX MELANIE A
669 PEN BLVD                            337 S TRUMBULL                     319 CAROLYN DRIVE
LINDENHURST, IL 60046                   CHICAGO, IL 60624                  EUGENE, OR 97404-0000




FOX THEATER, THE                        FOX VALLEY FILTER                  FOX VALLEY FIRE & SAFETY
527 N GRAND BLVD                        2019 CORPORATE LN, STE 119         2730 PINNACLE DRIVE
ST. LOUIS, MO 63103                     NAPERVILLE, IL 60563               ELGIN, IL 60124




FOX, ADRIANNE D.                        FOX, ALEXANDER                     FOX, ANGELA M.
ADDRESS ON FILE                         312 SHORT ST                       ADDRESS ON FILE
                                        P.O. BOX 92
                                        NORTH HENDERSON, IL 61466




FOX, CINDY                              FOX, CRISTINA L.                   FOX, DEANA R.
1131 GROTTO TRL                         ADDRESS ON FILE                    205 UNION CHURCH RD
MESQUITE, NV 89034-1203                                                    LEXINGTON, TN 38351




FOX, DESIRE D.                          FOX, DIEDRA FOR FOX, ADAM          FOX, DONNA
ADDRESS ON FILE                         40 GREENWAY RD                     ADDRESS ON FILE
                                        HURON, TN 38345




FOX, ELAINE                             FOX, GOLDEN                        FOX, HOLLY
1923 NORTH STREET                       500 OLD HOPEWELL ROAD SOUTH        12584 SINCLAIR ST SW
SAN ANGELO, TX 76901                    BEATTYVILLE, KY 41311-9024         MASSILLON, OH 44647




FOX, JOHANNA M.                         FOX, KELLY                         FOX, MICHELLE F.
ADDRESS ON FILE                         504 BRUNER ST                      13036 CLEVELAND ST
                                        P.O. BOX 24                        CROWN POINT, IN 46307
                                        NORTH HENDERSON, IL 61466




FOX, PETER D.                           FOX, PETER                         FOX, REGINA K.
ADDRESS ON FILE                         ADDRESS ON FILE                    1320 RACHAEL LN
                                                                           WATERLOO, IL 62298




FOX, RUTH A.                            FOX, SARAH                         FOX, SCOTT R.
13540 REED CEMETERY RD                  ADDRESS ON FILE                    1780 JAMESON DR
MARION, IL 62959                                                           FRANKLIN, TN 37064
FOX, SHARON G.            Case 20-10766-BLS     Doc D6
                                        FOX, STANLEY         Filed 04/07/20   Page FOX,
                                                                                    617TAMMY
                                                                                        of 1969
                                                                                             F.
ADDRESS ON FILE                          19 WATSON FISHER RD                       ADDRESS ON FILE
                                         DEWITT, AR 72042




FOX, TANA                                FOX, TASHIA I.                            FOX, TOMMY
214 MARBLE DRIVE                         6375 BEAUCOUP RD                          ADDRESS ON FILE
EVANSTON, WY 82930                       AVA, IL 62907




FOX, TOMMY                               FOXS CLEANERS                             FOXS CLEANERS
ADDRESS ON FILE                          1102 WEST MAIN ST                         1102 WEST MAIN
                                         MARION, IL 62959                          MARION, IL 62959




FOXX, DARRYL                             FOY, CHERYL L.                            FOY, RYAN
39183 WILLOW LANE                        1003 S SUNSET STREET                      ADDRESS ON FILE
ANTIOCH, IL 60002                        DEMING, NM 88030




FOY, VICTORIA KELM                       FOY, VICTORIA                             FOZZARD, JANUARY D.
161 SEMINOLE DR                          161 SEMINOLE DR                           1100 STEFAN DR
EVANSTON, WY 82930-0000                  EVANSTON, WY 82930-6601                   CARTERVILLE, IL 62918




FPP HOLDINGS LLC                         FPT CO CUST HAS                           FPT CO CUST HSA
1359 OLD WATERWORKS ROAD                 2207 MANLEY AVE                           FBO JOSEPH SUNDERLIK
FORT PAYNE, AL 35968                     GRANITE CITY, IL 62040                    2207 MANLEY AVE
                                                                                   GRANITE CITY, IL 62040




FRAELICH, JEREMY                         FRAGOSO, JULIA SOLEDAD                    FRAIM ERNEST LYON
322 23RD ST NW                           2635 HYDE PARK                            2811 BAILEY LN RM 55
MASSILLON, OH 44647                      WAUKEGAN, IL 60085                        EUGENE, OR 97401




FRAIN, LESLIE L.                         FRAKES, CARA L.                           FRAKES, JAYNE C.
10636 S 86TH AVE                         ADDRESS ON FILE                           1776 N FARNHAM ST.
PALOS HILLS, IL 60465                                                              GALESBURG, IL 61401




FRALEY JOSHUA T                          FRALEY, DALTON L.                         FRALEY, LISA
1316 BRINDLE SPUR LN                     174 OLD FINCASTLE RD                      ADDRESS ON FILE
TROY, IL 62294                           ZOE, KY 41397




FRALEY, RACHEL N.                        FRALEY, SAMANTHA L.                       FRALEY, SONYA G.
ADDRESS ON FILE                          57 FRALEY DRIVE                           ADDRESS ON FILE
                                         INEZ, KY 41224
FRALINGER, JANE          Case 20-10766-BLS    Doc
                                       FRALINGER,   6 Filed 04/07/20
                                                  NANCY                 Page FRALINGER,
                                                                              618 of 1969
                                                                                        NANCY
5849 OLD POAG RD                        1306 RANDLE ST                       P.O. BOX 644
EDWARDSVILLE, IL 62025                  EDWARDSVILLE, IL 62025               EDWARDSVILLE, IL 62025-0644




FRAME, DARYL JAY                        FRAME, STACEY M.                     FRAME, STACEY
879 WEST 880 SOUTH                      ADDRESS ON FILE                      ADDRESS ON FILE
TOOELE, UT 84074




FRAN, MORGAN                            FRANCE II, CHARLIE J.                FRANCES A JOHNSON
1710 DALLAS LANE                        ADDRESS ON FILE                      430 CR 231
MARION, IL 62959                                                             CHERRY VALLEY, AR 72324




FRANCES C JULIANO                       FRANCES CECIL                        FRANCES K FLEMING
1387 BASIN VIEW                         458 KNOX HWY 5                       337 E BRAYDEN WAY
MESQUITE, NV 89034                      ABINGDON, IL 61410                   DRAPER, UT 84026




FRANCES MOLLETTE                        FRANCES MUNKENBECK, MD               FRANCES ORR
P.O. BOX 26                             ADDRESS ON FILE                      4847 REVERE AVE NW
WARFIELD, KY 41267                                                           MASSILLON, OH 44647




FRANCES SCHARFENBERG                    FRANCES SHOEMAKER                    FRANCES THURMAN
305 E DOUGLAS ST                        1082 ARCARO DR                       506 N AUSTIN AVE
KNOXVILLE, IL 61448                     GAHANNA, OH 43230-3855               ABINGDON, IL 61410




FRANCES V STEWART                       FRANCES, ABBADUSKY                   FRANCES, GREY H.
395 BENSLEY AVE                         145 S CHAMBERLAIN ST                 1920 LINCOLNWAY E
CALUMET CITY, IL 60409-2310             ROSEVILLE REHAB & HEALTHCARE         MASSILLON, OH 44646
                                        ROSEVILLE, IL 61473




FRANCES, SCHARFENBERG                   FRANCES, THURMAN                     FRANCESCA, HERNANDEZ M.D
305 E DOUGLAS ST                        506 N AUSTIN AVE                     325 MARCHE CHASE DR 140
KNOXVILLE, IL 61448                     ABINGDON, IL 61410                   EUGENE, OR 97401-0000




FRANCHISE TAX BOARD                     FRANCHISE TAX BOARD                  FRANCHISE TAX BOARD-CA
P.O. BOX 1328                           P.O. BOX 1328                        P.O. BOX 942867
CORDOVA, CA 95741-1328                  RANCHO CORDOVA, CA 95741-1328        SACRAMENTO, CA 94267-0011




FRANCHISE TAX BOARD-CA                  FRANCIS COVERT                       FRANCIS, DUSTIN
P.O. BOX 942867                         311 E ROBINSON RD                    ADDRESS ON FILE
SACRAMENTO, CA 94267-0021               BIG SPRING, TX 79720-0000
                        Case 20-10766-BLS
FRANCIS, ESPERANZA (HOPE)             FRANCIS,Doc  6 D. Filed 04/07/20
                                               HALEY                        Page FRANCIS,
                                                                                  619 of 1969
                                                                                          JOANN
1972 W EAGLE RIDGE DR 104             153 FRED LYKINS RD                         ADDRESS ON FILE
WAUKEGAN, IL 60087                    SALYERSVILLE, KY 41465




FRANCIS, RICARD                        FRANCIS, RUBY                             FRANCIS, SAM
34 HONER LOOP                          14227 WENTWORTH AVE                       P.O. BOX 493
CRESWELL, OR 97426                     RIVERDALE, IL 60827                       BEATTYVILLE, KY 41311-0493




FRANCIS, WILLIAM                       FRANCISCAN HEALTH OLYMPIA FIELDS &        FRANCISCAN MISSIONARIES OF OUR LADY
1295 OAK DR                            CHICAGO HEIGHTS                           HEALTH SYSTEM
EUGENE, OR 97404-2883                  WORKING WELL                              7800 OFFICE PARK BLVD.
                                       35332 EAGLE WAY                           BATON ROUGE, LA 70809
                                       CHICAGO, IL 60678-1353



FRANCISCO ACOSTA                       FRANCISCO, CARLA D.                       FRANCK, DAVID E.
3381 LENORAH LOOP                      1002 GODFREY AVE NE                       P.O. BOX 3034
LENORAH, TX 79749-0000                 FORT PAYNE, AL 35967                      BLAIRSVILLE, GA 30514




FRANCKE, MALLARIE                      FRANCO JOSE J                             FRANCO, CANDI L.
9001 SHERIDAN RD LOT 120               2909 ESHCOL AVE                           1706 AUSTIN ST
KENOSHA, WI 53143                      ZION, IL 60099                            BIG SPRING, TX 79720




FRANCO, DEMETRIO C.                    FRANCO, JENNIFER                          FRANCO, JOEL, MD
1706 AUSTIN                            P.O. BOX 263                              121 S HIGHLAND AVE
BIG SPRING, TX 79720                   ACKERLY, TX 79713                         APT 705
                                                                                 PITTSBURGH, PA 15206




FRANCO, JOSE J.                        FRANCO, KELLY L.                          FRANCO, MICHELLE
311 ELIZABETH ST.                      520 35 TH STREET                          5525 HEREFORD RD SE
CALUMET CITY, IL 60409                 SILVER CITY, NM 88061                     DEMING, NM 88030




FRANCOIS, JEAN K.                      FRANCOIS, MARTINE                         FRANCONA, CYNTHIA
2733 W 85TH PL                         9351 S KINGSTON AVE                       ADDRESS ON FILE
CHICAGO, IL 60652                      CHICAGO, IL 60617




FRANCZYK, DIANE                        FRANGELLAQUINN, ANTONELLA                 FRANK BALTON & CO
ADDRESS ON FILE                        10607 S LAWNDALE AVE                      5385 PLEASANT VIEW RD
                                       CHICAGO, IL 60655                         MEMPHIS, TN 38134




FRANK LABUDA TOD CARYN LABUDA          FRANK LYLES                               FRANK PEPPERS, MD
SUBJECT TO STA TOD RULES               868 GREG DR                               772 SWEDENBURG ROAD
3223 PAMELA COURT                      MONTGOMERY, AL 36109-4724                 KNOXVILLE, IL 61448
JOLIET, IL 60431
FRANK PEPPES, MD         Case 20-10766-BLS
                                       FRANK T Doc  6 - ITV
                                               BEIRNE     Filed 04/07/20    Page FRANK,
                                                                                  620 ofDORRIS
                                                                                         1969
772 SWEDENBURG ROAD                      3525 GARFIELD ST                        1413 7TH ST
KNOXVILLE, IL 61448                      CARLSBAD, CA 92008                      HIGHALND, IL 62249




FRANK, GERALD A. MD                      FRANK, JARVIS                           FRANK, JESSE
15 TOWER CT, SUITE 255                   7934 S JEFFERY                          1826 GRAND AVE 2ND FL
GURNEE, IL 60031                         CHICAGO, IL 60617                       WAUKEGAN, IL 60085




FRANK, MARK                              FRANK, NANCY                            FRANK, PEPPES MD
1625 BAUM SE                             7509 GREEN ACRES DR                     772 SWEDENBURG ROAD
CANTON, OH 44707                         WATERLOO, IL 62298                      KNOXVILLE, IL 61448




FRANK, RANDY                             FRANK, SHIRLEY A.                       FRANK, STURGILL
508 MORGAN ST.                           726 BEVERLY AVE                         109 BAUER LN
ANNA, IL 62906-0000                      CANAL FULTON, OH 44614                  MARYVILLE, IL 62062




FRANK, TANNER                            FRANK, WESLEY                           FRANKE, ASHLEY
3270 MONROE JERSEY RD                    341 BEHM DR.                            305 S FERKEL ST
COVINGTON, GA 30014-0505                 GRAYSLAKE, IL 60030                     COLUMBIA, IL 62236




FRANKEL, RANDY                           FRANKEN CONSTRUCTION COMPANY INC        FRANKEN OIL & DISTRIBUTING
ADDRESS ON FILE                          1025 DOUGLAS AVENUE                     P O BOX 1146
                                         LAS VEGAS, NM 87701                     LAS VEGAS, NM 87701




FRANKER, MARGARET                        FRANKLIN BAKING COMPANY                 FRANKLIN BROOM
5232 W 120TH PL                          P.O. BOX 751207                         200 N MIDWAY AVE
ALSIP, IL 60803-3174                     CHARLOTTE, NC 28275                     MARVELL, AR 72366




FRANKLIN BUSINESS SYSTEMS                FRANKLIN CO FARM BUREAU FOUND.          FRANKLIN COUNTY MUNICIPAL COURT
5076 WINTERS CHAPEL ROAD 200             P.O. BOX 457                            375 HIGH ST
ATLANTA, GA 30360                        BENTON, IL 62812-0000                   3RD FLOOR
                                                                                 COLUMBUS, OH 43215




FRANKLIN FOUNDATION HOSPITAL             FRANKLIN INTERIORS                      FRANKLIN INTERIORS
1097 NORTHWEST BOULEVARD                 P.O BOX 6107                            P.O. BOX 6107
P.O. BOX 577                             HERMITAGE, PA 16148-0923                HERMITAGE, PA 16148-0923
FRANKLIN, LA 70538-3724




FRANKLIN MILLER, MD                      FRANKLIN POLICE DEPARTMENT              FRANKLIN SMITH
ADDRESS ON FILE                          P.O. BOX 421                            2655 BANBURY CT
                                         FRANKLIN, TN 37065-0421                 AUBURN, AL 36832
FRANKLIN, ANNETTE S      Case 20-10766-BLS    Doc
                                       FRANKLIN,    6 A.Filed 04/07/20
                                                 BETTY                   Page FRANKLIN,
                                                                               621 of 1969
                                                                                        DENISE
78 FISHING CREEK RD                      ADDRESS ON FILE                      1118 HWY 49
MILL HALL, PA 17751                                                           WEST HELENA, AR 72390




FRANKLIN, GARY A.                        FRANKLIN, GEORGIA                    FRANKLIN, JALIYAH
360 CHEROKEE TRAIL                       12423 S LOWE                         ADDRESS ON FILE
COPPERHILL, TN 37317                     CHICAGO, IL 60628




FRANKLIN, JEANNETTE M.                   FRANKLIN, JESSICA                    FRANKLIN, KEITH D.
ADDRESS ON FILE                          1681 ROBERTS RIDGE RD.               1449 TOWER AVENUE
                                         ELLIJAY, GA 30540                    EDWARDSVILLE, IL 62025




FRANKLIN, KEYANA                         FRANKLIN, LEAH G.                    FRANKLIN, MICHELLE S.
1 RUSTY WIL DR.                          ADDRESS ON FILE                      5116 E. KAISER ROAD
BELLEVILLE, IL 62221                                                          BRUCEVILLE, IN 47516




FRANKLIN, RONALD W.                      FRANKLIN, SHERISE V.                 FRANKLIN, SHIRLEY
11525 S. RACINE AVE.                     ADDRESS ON FILE                      1921 LOMOND AVE
CHICAGO, IL 60643                                                             SPRINGFIELD, OR 97477




FRANKLIN, TANISHA N                      FRANKLIN, TARASHA                    FRANKS CALVIN R
1404 SOUTH MCAULEY DR                    230 WINDSONG CR                      7711 HIGHWAY 40
WEST MEMPHIS, AR 72301                   SOCIAL CIRCLE, GA 30025              HENAGAR, AL 35978




FRANKS KATRINA                           FRANKS, CALLIE                       FRANKS, DENNIS
7711 HIGHWAY 40                          140 WALLS ST.                        ADDRESS ON FILE
HENAGAR, AL 35978                        CHERRY VALLEY, AR 72324




FRANKS, KIMBERLY K.                      FRANKS, TRACY                        FRANSEN, MITCHELL P.
6441 MILHAVEN AVE NW                     ADDRESS ON FILE                      1213 PECOS ACRES DRIVE
CANAL FULTON, OH 44614                                                        CARLSBAD, NM 88220




FRANTZ, BRANDI N.                        FRANTZ, CRYSTAL L.                   FRANZ FAMILY BAKERIES
ADDRESS ON FILE                          2325 SOUTHWAY ST SW                  P.O. BOX 742654
                                         MASSILLON, OH 44646                  LOS ANGELES, CA 90074-2654




FRANZ TAMARA                             FRANZ, ANDREA K.                     FRANZBLAU, EDWARD
1306 HICKORY                             ADDRESS ON FILE                      2620 PANORAMA DR
WAUKEGAN, IL 60085                                                            SILVER CITY, NM 88061
FRANZEN, DAVID W.           Case 20-10766-BLS
                                          FRASCA, Doc  6 Filed
                                                  EVA AMBER L. 04/07/20   Page FRASER
                                                                                622 ofANITA
                                                                                       1969IRENE
3398 BUCKINGHAM AVE                        5144 SUFFIELD COURT                 4165 BERRYWOOD DR
EUGENE, OR 97401-0000                      SKOKIE, IL 60077                    EUGENE, OR 97404




FRASER, ASHLEY J.                          FRASER, ASHLEY                      FRASER, JACOB M.
1210 HERBERT                               1210 HERBERT ST                     ADDRESS ON FILE
SOUTH ROXANA, IL 62087                     SOUTH ROXANA, IL 62087




FRASER, ROAN                               FRASHER, JOYCE                      FRASIER NORMA
P.O. BOX 180                               1036 MEADOWBROOK LANE               1330 COUNTY RD 328
SNELLVILLE, GA 30078                       LOUISA, KY 41230                    DAWSON, AL 35963-3743




FRASSATO, AUSTYN                           FRATE, AMY                          FRATESI, JOHN
776 LAKECREST DR                           93 N HAMETOWN ROAD                  P.O. BOX 3543
CREAL SPRINGS, IL 62922                    AKRON, OH 44333                     WEST HELENA, AR 72390




FRATTAROLA, ANTHONY                        FRAUSTO, ALMA D.                    FRAVEL, NICOLE
879 BISON TRAIL                            17624 71ST AVE                      P.O. BOX 289
MESQUITE, NV 89034                         TINLEY PARK, IL 60406               BLANCHARD, PA 16826-0289




FRAWLEY, PAIGE G.                          FRAYMAN, ROBERT J.                  FRAYUK, OLEKSANDRA
ADDRESS ON FILE                            14 SUNRIDGE LANE                    ADDRESS ON FILE
                                           BUFFALO GROVE, IL 60089




FRAZEE, KIMBERLY A.                        FRAZIER & DEETER LLC                FRAZIER GUTHRIE CHARLES
ADDRESS ON FILE                            401 COMMERCE ST                     5265 COUNTY ROAD 15
                                           STE 920                             GAYLESVILLE, AL 35973
                                           NASHVILLE, TN 37219




FRAZIER, AMY C.                            FRAZIER, ASHLEY                     FRAZIER, ASHLEY
ADDRESS ON FILE                            ADDRESS ON FILE                     ADDRESS ON FILE




FRAZIER, DONNIE G. JR                      FRAZIER, JESSICA                    FRAZIER, LINDSEY M.
243 BELL STREET                            ADDRESS ON FILE                     ADDRESS ON FILE
RAINSVILLE, AL 35986-3340




FRAZIER, MALLORY                           FRAZIER, MITCHELL                   FRAZIER, PAMELA G.
243 BELL ST                                206 HAYES AVE NE                    ADDRESS ON FILE
RAINSVILLE, AL 35986                       MASSILLON, OH 44646
FRAZIER, SALIMAH A.     Case 20-10766-BLS
                                      FRAZIER,Doc 6 Filed 04/07/20
                                              SYDNEY                 Page FRAZIER,
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                                                                                   1969 M.
2125 34TH STREET NE                   189 GEM LANE                        113 COUNTY ROAD 708
CANTON, OH 44705                      LOUISA, KY 41230                    HENAGAR, AL 35978




FRAZIER, TAKELIA                      FRAZIER, THOMAS H.                  FRAZIER, THOMAS
ADDRESS ON FILE                       ADDRESS ON FILE                     ADDRESS ON FILE




FRAZIER, WENDY D.                     FRED PRYOR SEMINARS                 FRED, SHELLY R.
ADDRESS ON FILE                       P.O. BOX 219468                     ADDRESS ON FILE
                                      KANSAS CITY, MO 64121-9468




FRED, SHELLY R.                       FREDA ROGERS                        FREDA TURNER
160 RODEO DRIVE                       8 DOE MEADOW COVE                   ADDRESS ON FILE
DE SOTO, IL 62924                     JACKSON, TN 38305




FREDAY-HUNT, LISA M.                  FREDERICK EARL SHECKLER             FREDERICK EPPLIN
10265 ULMERTON RD 133                 645 MILLER ST                       24814 N. CAROLINA RD
LARGO, FL 33771                       PO BOX 27                           ASHLEY, IL 62808
                                      BUSHNELL, IL 61422




FREDERICK KORPI                       FREDERICK L COLE                    FREDERICK MCALISTER
1210 AMHERST RD NE                    258 HAWKINSON                       53 N ARTHUR AVE
MASSILLON, OH 44646                   GALESBURG, IL 61401                 GALESBURG, IL 61401




FREDERICK, ALYSON C.                  FREDERICK, CHRISTINE L.             FREDETTE, THERESA
ADDRESS ON FILE                       ADDRESS ON FILE                     5345 WATERBURY WAY
                                                                          CRESTWOOD, IL 60418




FREDRICK, CHERYL L.                   FREE, ROBERT L.                     FREE, ROBYN L.
480 ALEXANDER LOOP, APT. 3319         380 MOUNTAIN GATE DR                ADDRESS ON FILE
EUGENE, OR 97401                      SPRINGFIELD, OR 97478




FREEARK, HARVEY, & MENDILLO, P.C.     FREEBORN, KRYSTAL M.                FREED, AMY L.
115 WEST WASHINGTON                   ADDRESS ON FILE                     2619 WEST 26TH ST
BELLEVILLE, IL 62222                                                      GRANITE CITY, IL 62040




FREED, AMY L.                         FREED, PAUL                         FREEDOM BLUE PFFS HIGHMRK
ADDRESS ON FILE                       1727 SHADOW RIDGE                   P.O. BOX 890170
                                      COLUMBIA, IL 62236                  CAMP HILL, PA 17089
FREEDOM IMAGING INC      Case 20-10766-BLS   Doc
                                       FREEDOM LIFE 6   Filed 04/07/20
                                                    INSURANCE            Page FREEDOM
                                                                               624 of 1969
                                                                                      LIFE
1401 E BALL RD, STE E                    300 BARNETT SUITE 200                300 BURNETT ST
ANAHEIM, CA 92805                        FORT WORTH, TX 76102                 STE 200
                                                                              FT WORTH, TX 76102




FREEDOM LIFE                             FREEDOM SLEEP CENTER                 FREEHOLD SURGICAL, INC.
P.O. BOX 1628                            P O BOX 856                          150 UNION SQUARE DRIVE
ADDISON, TX 75266-0044                   PARAGOULD, AR 72451                  NEW HOPE, PA 18938




FREEL CHARLES                            FREELAND BROADCSTING CO, INC         FREELAND, JOHN P. MD
622 TARHEEL WEST DRIVE                   DBA/WEIO RADIO                       1616 GRAND AVE
MURPHY, NC 28906                         215 BAKER RD                         SUITE A
                                         HUNTINGDON, TN 38344                 WAUKEGAN, IL 60085




FREELAND, JOHN P. MD                     FREEMAN EVANGELINE                   FREEMAN GAS & ELECTRIC
330 GLENDENNING PLACE                    707 N FREDRICK STREET                P.O. BOX 4366
WAUKEGAN, IL 60087                       P O BOX 1165                         SPARTANBURG, SC 29305
                                         ROBERSONVILLE, NC 27871




FREEMAN GUY VANCE                        FREEMAN OREAR, CALEB                 FREEMAN ROBERT B
509 S 32ND ST                            ADDRESS ON FILE                      361 COHUTTA MOUNTAIN ROAD
SPRINGFIELD, OR 97478                                                         BLUE RIDGE, GA 30513




FREEMAN, ALEXANDRA B.                    FREEMAN, AMANDA                      FREEMAN, ASHLEY N.
ADDRESS ON FILE                          318 TURNER RD                        ADDRESS ON FILE
                                         BRINKLEY, AR 72021




FREEMAN, ASHLEY NP                       FREEMAN, BECKY A.                    FREEMAN, BRITTNEY D.
ADDRESS ON FILE                          338 E 910 N                          ADDRESS ON FILE
                                         TOOELE, UT 84074




FREEMAN, CAROL J.                        FREEMAN, DAVE                        FREEMAN, DEMONICA
1984 WHITNEY RD. SE                      11 JOSEPH CT                         200A STERLING DRIVE
MONROE, GA 30655                         GRANITE CITY, IL 62040               PLYMOUTH, NC 27962




FREEMAN, GAIL D.                         FREEMAN, GARY W.                     FREEMAN, GREER
5328 DUKE DRIVE                          708 COUNTY RD 256                    351 LOCKWOOD DR
MATTESON, IL 60443                       FORT PAYNE, AL 35967-7004            RED BUD, IL 62278




FREEMAN, JAMIE L.                        FREEMAN, JENNIFER L.                 FREEMAN, KRISTINA M.
ADDRESS ON FILE                          1699 LACY RD                         ADDRESS ON FILE
                                         HENAGAR, AL 35978
FREEMAN, MARY H.         Case 20-10766-BLS   Doc
                                       FREEMAN,    6
                                                MARY       Filed 04/07/20   Page FREEMAN,
                                                                                  625 of 1969
                                                                                          MARY
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




FREEMAN, NICHOLS                        FREEMAN, ROLLAN                          FREEMAN, RYAN
2494 SFC 359                            461 POPLAR SPRING BRAGERT RD             209 SOLIDA RD
FORREST CITY, AR 72335                  LEXINGTON, TN 38351                      SOUTH POINT, OH 45680




FREEMAN, RYAN                           FREEMAN, RYAN                            FREEMAN, SANDRA
ADDRESS ON FILE                         ADDRESS ON FILE                          4001 WEST 93RD PL
                                                                                 APT 3E
                                                                                 OAK LAWN, IL 60453




FREEMAN, SCOTT                          FREEMAN, WANDA B.                        FREERKSEN, RAYANNE R.
6925 KETTLE LANE                        708 COUNTY ROAD 256                      523N 39TH ST
ZEELAND, MI 49464                       FORT PAYNE, AL 35967                     SPRINGFIELD, OR 97478




FREGOSO, MARIBEL                        FREIDA WINKLEY                           FREIDA, KELLY
330 GEAN ST                             P.O. BOX 334                             27 TIMBER MEADOWS CT
MESQUITE, NV 89027                      BRENTWOOD, TN 37024                      EDWARDSVILLE, IL 62025




FRELIX, GLORIA                          FRENCH GRAY, MICHELE                     FRENCH KATHRYN
301 DOGWOOD TRL                         ADDRESS ON FILE                          11801 STEPHANIE LN
ELIZABETH CITY, NC 27909-3211                                                    MOKENA, IL 60448




FRENCH, BARBARA J.                      FRENCH, BARBARA J.                       FRENCH, ERIC R.
ADDRESS ON FILE                         7393 SHISLER ST NE                       2222 HOLLY SPRING CH RD
                                        NORTH CANTON, OH 44721                   WILLIAMSTON, NC 27892




FRENCH, JEFFREY                         FRENCH, JORDAN                           FRENCH, LAURA
3 PAUL DR                               1724 HICKORY ST                          1701 S. MONTICELLO
GRANITE CITY, IL 62040                  WAUKEGAN, IL 60085                       BIG SPRING, TX 79720




FRENCH, MITCHELL                        FRENCH, ROBYN N.                         FRENCH, WHITNEY
639 MAYWOOD AVE.                        ADDRESS ON FILE                          168 BRIER RD
LEXINGTON, TN 38351                                                              CLAY CITY, IL 62824




FRERICH, CARYLON                        FRERICHS, SARAH L.                       FRERICHS, SARAH L.
P.O. BOX 323                            1543 TROY OFALLON RD                     ADDRESS ON FILE
GARDEN CITY, TX 79739                   TROY, IL 62294
FRESENIUS KABI USA, LCC Case 20-10766-BLS     Doc
                                      FRESENIUS     6 USA,
                                                 KABI   Filed
                                                           LLC 04/07/20   Page FRESENIUS
                                                                                626 of 1969
                                                                                         KABI
25476 NETWORK PLACE                   25476 NETWORK PLACE                      25476 NETWORK PLACE
CHICAGO, IL 60673-1254                CHICAGO, IL 60673-1254                   CHICAGO, IL 60673-1254




FRESENIUS MANAGEMENT SERVICES, INC.    FRESENIUS MEDICAL CARE GALESBURG        FRESENIUS MEDICAL CARE
16343 COLLECTIONS CENTER DR            LLC                                     16343 COLLECTION CENTER DR
CHICAGO, IL 60693                      920 WINTER ST                           CHICAGO, IL 60693
                                       WALTHAM, MA 02451




FRESENIUS MEDICAL CARE                 FRESENIUS MGMT SVCS INC                 FRESENIUS USA MANUFACTURING
OF MISSISSIPPI COUNTY                  16343 COLLECTION CENTER DR              P.O. BOX 3936
P.O. BOX 919214                        CHICAGO, IL 60693                       BOSTON, MA 02241
DALLAS, TX 75391-9214




FRESENIUS USA MARKETING                FRESHWATER, LYNDA                       FRESHWATER, REBECCA L.
P.O. BOX 3936                          17001 AL HIGHWAY 75                     ADDRESS ON FILE
BOSTON, MA 02241-3936                  HENAGAR, AL 35978




FRETWELL, CHARLES W.                   FREUND, WALTER                          FREY, ALYSSA
1844 NO BLUEPEAK DR                    730 BURR OAK DR                         1800 N 8TH ST
TOOELE, UT 84074                       LAKE ZURICH, IL 60047                   ABILENE, TX 79603




FRIBLEY, GREGORY                       FRICK ANGELA C                          FRICK, FERN
5586 NETTLECREEK AVE NW                487 HIDDEN POND DRIVE                   1022 MAPLE
MASSILLON, OH 44646                    ELLIJAY, GA 30536                       MT. VERNON, IL 62864




FRICK, MONIKA R                        FRICKE, CARSON                          FRICKE, JUDY
9888 LAFAYETTE DR NW                   4740 DRDA LANE                          5473 HANCOCK ST SW
CANAL FULTON, OH 44614                 EDWARDSVILLE, IL 62025                  CANTON, OH 44706




FRICKE, LEE A.                         FRICKENSTEIN, HEATHER                   FRICKS, ALICIA R.
ADDRESS ON FILE                        11530 SOUTH NATCHEZ                     1495 DAWSON RD APT 110
                                       WORTH, IL 60482                         FORREST CITY, AR 72335




FRICKS, BRAD                           FRICKS, BYRON P.                        FRICKS, RAEGAN G.
2917 BROWDER ROAD NW                   322 GEORGE WALLACE STREET SE            36 GRABEN DR
FORT PAYNE, AL 35968                   RAINSVILLE, AL 35986                    FYFFE, AL 35971




FRIDAY, TINA                           FRIDDLE, CARL L.                        FRIEDEL, JAMES M.
20 HIGHLAND RD                         2514 BROADWAY ST.                       ADDRESS ON FILE
GRAYSLAKE, IL 60030                    BIG SPRING, TX 79721
FRIEDEN SUSAN K          Case 20-10766-BLS    Doc
                                       FRIEDMAN,    6 L. Filed 04/07/20
                                                 ERIN                      Page FRIEDMAN,
                                                                                 627 of 1969
                                                                                          ERIN L.
1091 215TH AV                            6 WINDSOR LANE                          ADDRESS ON FILE
MONMOUTH, IL 61462                       KIRKWOOD, MO 63122




FRIEDMAN, LISA G.                        FRIEDRICH, GREG                         FRIEDRICHSEN, PHILLIP
1116 TEWES LANE                          42929 STERLING LANE                     7777 ARTHUR AVE NW
BEACH PARK, IL 60099                     WADSWORTH, IL 60083                     CANAL FULTON, OH 44614-9490




FRIEL, JOHN                              FRIEND, CASSAUNDRA L.                   FRIEND, DAVID
ADDRESS ON FILE                          1135 W. NORTH                           406 W CRAVER ST
                                         GALESBURG, IL 61401                     ABINGDON, IL 61410




FRIEND, ELIZABETH A.                     FRIEND, LAURA K.                        FRIEND, LINDA
1721 S SANTA MONICA CT                   3903 BRANCIFORTE DR                     1297 HARRISON ST
DEMING, NM 88030                         SANTA CRUZ, CA 95065                    GALESBURG, IL 61401




FRIENDS OF DAVE SEVERIN                  FRIENDS OF DAVE SEVERIN                 FRIENDS OF DESERT DISCOVRY CENTER
C/O MELISSA ADKINS - HEARTLAND RMC       P.O. BOX 10                             P.O. BOX 117
3333 WEST DEYOUNG                        BENTON, IL 62812                        BARSTOW, CA 92311
MARION, IL 62959




FRIENDS OF LHS/PROJECT GRADUATION        FRIENDS OF SOUTH EUGENE HIGH SCHOOL     FRIENDS OF THE TOOELE COUNTY
DEBORAH ROBERTS, TREASURER               400 E 19TH AVE                          CHILDRENS JUSTICE CENTER
P.O. BOX 1272                            EUGENE, OR 97401                        53 EAST 100 SOUTH
LEXINGTON, TN 38351                                                              TOOELE, UT 84074




FRIENDS OF WFGH INC                      FRIES GALORE                            FRIES, DALE A.
P.O. BOX 410                             13080 LEAWOOD STREET                    901 E VIRGINIA WAY
FORT GAY, WV 25514                       VICTORVILLE, CA 92392                   BARSTOW, CA 92311




FRINGE BENEFIT GROUP, INC.               FRISBEE, JENNY L.                       FRISBIE, MIRANDA L.
ATTN: REFUND DEPT.                       ADDRESS ON FILE                         ADDRESS ON FILE
11910 ANDERSON MILL RD.,STE 200
AUSTIN, TX 78726




FRISCH, APRIL                            FRISCHKNECHT, LINDSAY                   FRISENDAHL, WILLIAM G.
ADDRESS ON FILE                          ADDRESS ON FILE                         76451 UNION ST SPC 13
                                                                                 OAKRIDGE, OR 97463




FRITCH, COLLEN JO                        FRITH JOSEFINA J                        FRITH, JOSEFINA J.
721 BRIDLE PATH LN                       P.O. BOX 970                            P.O. BOX 970
MESQUITE, NV 89034                       BLUE RIDGE, GA 30513                    BLUE RIDGE, GA 30513
FRITSCHLE NICOLLE E      Case 20-10766-BLS    Doc
                                       FRITSCHLE,   6 Filed 04/07/20
                                                  DANETTE              Page FRITSCHLE,
                                                                             628 of 1969
                                                                                       DANETTE
122 BAYFIELD DR                         122 BAYFIELD DR                     52 TRANQUILITY RIDGE
GLEN CARBON, IL 62034                   GLEN CARBON, IL 62034               EDWARDSVILLE, IL 62025




FRITTER, CHERYL L.                      FRITZ, ADAM J.                      FRITZ, ANDREA
1190 DALTON FOX LAKE                    3660 PIGEON RUN RD SW               22 WILTSHIRE CT
DALTON, OH 44618                        MASSILLON, OH 44647-9756            EDWARDSVILLE, IL 62025




FRITZ, ARTHUR III                       FRITZ, ARTHUR                       FRITZ, ARTHUR
218 S PARK AVE                          10707 BARRS RD SW                   218 PARK AVE SW
BOLIVAR, OH 44612-0322                  MASSILLON, OH 44647                 BOLIVAR, OH 44612-9501




FRITZ, MARGARET                         FRIX, CANDICE                       FRIZZELL, PAUL
870 MAZIES CHAPEL RD                    2471 NEWBORN RD                     12831 HONARE ST
LEXINGTON, TN 38351                     RUTLEDGE, GA 30663                  BLUE ISLAND, IL 60406




FRIZZELL, SUSAN                         FRIZZO, MARK E.                     FROEHLICH, JENNIFER J.
2160 OLD HUNTINGDON RD                  16 JULIE DR                         ADDRESS ON FILE
LEXINGTON, TN 38351                     GLEN CARBON, IL 62034




FROEHLING, ALAN, DR.                    FROELICH, KATHLEEN                  FROGGE, ARLEN
302 BROADWAY ST                         ADDRESS ON FILE                     P.O. BOX 398
MT VERNON, IL 62864                                                         HELENDALE, CA 92342




FROGUE, SUSAN R.                        FROHLICH, DANIEL                    FROHN, AMY
ADDRESS ON FILE                         12615 E NAVAJO DR                   P.O. BOX 338
                                        PALOS HEIGHTS, IL 60463             AVISTON, IL 62216




FROM THE HEART FLOWERS & GIFTS          FROMM, DONALD R.                    FRONTIER CASA
202 PUBLIC SQUARE                       163 E. DENTON                       108 NORTH 6TH STREET
P O BOX 154                             SHAWNEETOWN, IL 62984               ALPINE, TX 79830
JONESBORO, IL 62952




FRONTIER COMMUNICAITONS                 FRONTIER COMMUNICATIONS CORP        FRONTIER NORTH INC.
P.O. BOX 5157                           401 MERRITT 7                       PO 740407
TAMPA, FL 33675                         NORWALK, CT 06851                   CINCINNATI, OH 45274-0407




FRONTIER RADIO INC                      FRONTIER                            FROOM, KRESZENTIA D.
212 CARPENTERS UNION WAY                P.O. BOX 740407                     2680 SEWELL RD.
STE 800                                 CINCINNATI, OH 45274-0407           MANSFIELD, GA 30055
LAS VEGAS, NV 89119
FROSCH, MARY                Case 20-10766-BLS   Doc 6
                                          FROSCHAUER,     Filed
                                                      LAURA L.  04/07/20   Page FROST
                                                                                 629 of 1969TODD LLC
                                                                                      BROWN
ADDRESS ON FILE                            ADDRESS ON FILE                      900 VICTORS WAY, STE 330
                                                                                ANN ARBOR, MI 48108




FROST BROWN TODD LLC                       FROST ELECTRIC CO.                   FROST, ELIZABETH
P.O. BOX 70087                             P.O. BOX 66522                       3600 MT CARMEL RD
LOUISVILLE, KY 40270-0087                  ST LOUIS, MO 63166-6522              DECATURVILLE, TN 38329




FROST, MARGARET B                          FROST, STEVE                         FROST-ARNETT COMPANY
2253 OVERTON RD                            820 WASHINGTON AVE                   2105 ELM HILL PIKE
AUGUSTA, GA 30904-3457                     MADISON, IL 62060                    STE 200
                                                                                NASHVILLE, TN 37210




FROSTY MUG BAR & GRILL, THE                FROYLAN, SAUCEDA                     FRUEH, ELAINE
1113 SALEM RD                              P.O. BOX 10033                       8845 MORNING VIEW AVE NW
MT. VERNON, IL 62864                       JACKSON, TN 38308-0100               CLINTON, OH 44216-9510




FRUITS, CASEY D.                           FRUM, JUSTIN T.                      FRY, CHELSIE D.
8087 TANGLEWOOD RD                         ADDRESS ON FILE                      104 CEDAR ST
SPARTA, IL 62286                                                                EVANSTON, WY 82930




FRY, PENNY J.                              FRYDRYCHOWICZ, LENORE                FRYE, GENEVA
ADDRESS ON FILE                            36376 N TRAER TERR                   751 PROCTOR BOTTOM ROAD
                                           GURNEE, IL 60031                     BEATTYVILLE, KY 41311




FRYE, RONALD                               FRYE, ROSTAN                         FRYE, VERYL F.
75 KY 1938                                 3200 BRISCOE DR                      1246 E CARDINAL DR
BOONEVILLE, KY 41314                       KILLEEN, TX 76549-0000               P.O. BOX 768
                                                                                LOCK HAVEN, PA 17745




FRYER, JOHN H., JR.                        FRYER, MARK A.                       FRYER, PAMELA S.
5 W DOE RUN LN                             5151 POETS WAY                       4839 LEE 215
LOCK HAVEN, PA 17745                       LIBERTY TOWNSHIP, OH 45011           MARIANNA, AR 72360




FRYER, PEYTON                              FRYMIRE, CHRISTINA K.                FS INVESTMENT CORPORATION II
ADDRESS ON FILE                            P.O. BOX 721                         DAUPHIN FUNDING LLC
                                           NORRIS CITY, IL 62869




FS/KKR ADVISOR, LLC                        FS/KKR ADVISOR, LLC                  FT PAYNE OPTIMIST CLUB
FS INVESTMENT CORPORATION II               FS INVESTMENT CORPORATION III        P.O. BOX 680423
                                                                                FORT PAYNE, AL 35968
                        Case 20-10766-BLS
FTI CONSULTING INC & SUBSIDIARIES              Doc 6 INC
                                      FTS MANAGEMENT,    Filed 04/07/20   Page FTS
                                                                                630MANAGEMENT,
                                                                                    of 1969 INC
P.O. BOX 418005                       37637 FIVE MILE RD                      37637 FIVE MILE ROAD UNIT 330
BOSTON, MA 02241-8005                 BOX 330                                 LIVONIA, MI 48154-1543
                                      LIVONIA, MI 48154-1543




FUCHS COMPUTER SALES INC               FUCHS COMPUTER SALES INC               FUCHS, BETTY J.
DBA UNILINK                            DBA UNILINK                            1 WILLIAM JOHN CT
P.O. BOX 18148                         P.O. BOX 18148                         APT A
ROCHESTER, NY 14618                    ROCHESTER, NY 14623                    GRANITE CITY, IL 62040




FUDE, THOMAS H.                        FUEHNE, THEODORE A.                    FUEL QUALITY SOLUTIONS,INC
ADDRESS ON FILE                        1128 CHANCLER DR                       POB 1867
                                       EDWARDSVILLE, IL 62025                 CLEVELAND, GA 30528




FUELL, TERRI W.                        FUENTES, CRYSTAL L.                    FUENTES, HEATHER
620 W VINE                             34293 BIRCH LANE                       1606 KENTUCKY WAY
TOOELE, UT 84074                       GURNEE, IL 60031                       BIG SPRING, TX 79720-3619




FUESSEL, BARBARA                       FUESTING, AMBER                        FUGATE DAVID R
803 CORAL DR                           4204 WASHINGTON RD APT 107             922 N JACKSON ST
FAIRVIEW HEIGHTS, IL 62208             KENOSHA, WI 53144                      BUSHNELL, IL 61422




FUGATE, ASHLEY N.                      FUGATE, BRITTANY                       FUGATE, CASSANDRA B.
ADDRESS ON FILE                        ADDRESS ON FILE                        133 NORTH VIRGINIA STREET 917
                                                                              RENO, NV 89501




FUGATE, CHERYL                         FUGATE, DAVID R.                       FUGATE, DEBRA RENEE
ADDRESS ON FILE                        922 N JACKSON ST                       ADDRESS ON FILE
                                       BUSHNELL, IL 61422




FUGATE, ELAINA                         FUGATE, JEREMY S.                      FUGATE, JOYCE A.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




FUGATE, LETHA                          FUGATE, PATRICIA L.                    FUGATE, RAYMOND
3177 HWY 11 NORTH                      ADDRESS ON FILE                        2141 KY 542
BEATTYVILLE, KY 41311                                                         JACKSON, KY 41339




FUGATE, TAMMY                          FUGITT, ADDISON                        FUHRMAN ELIZABETH J
4 DAHILIA COURT DR APT 1               275 NEELY DR                           22 FOX MILL DR
JACKSON, KY 41339                      APT 308                                MARYVILLE, IL 62062
                                       CARBONDALE, IL 62901
FUHRMAN, TAMARA J         Case 20-10766-BLS     Doc
                                        FUIT, GARY G. 6     Filed 04/07/20   Page FUJIFILM
                                                                                   631 of MEDICAL
                                                                                           1969 SYSTEMS
2581 LYNCH                                4419 W 148TH ST                         P.O. BOX 347689
GRANITE CITY, IL 62040                    MIDLOTHIAN, IL 60445                    PITTSBURGH, PA 15251-4689




FUJIFILM SONOSITE INC                     FUJIFILM SONOSITE INC                   FUJIFILM SONOSITE
4332 SOLUTIONS CENTER                     774332                                  21919 30 DRIVE SE
774332                                    4332 SOLUTIONS CENTER                   BOTHELL, WA 98021
CHICAGO, IL 60677-4003                    CHICAGO, IL 60677-4003




FUJIFILM SONOSITE, INC.                   FUJINON INC                             FUJITSU COMPUTER PRODUCTS OF
774332                                    P.O. BOX 347689                         AMERICA, INC.
4332 SOLUTIONS CENTER                     PITTSBURGH, PA 15251-4689               1250 E. ARQUES AVENUE
CHICAGO, IL 60677                                                                 SUNNYVALE, CA 77028-9455




FULCHER, CHRISTOPHER                      FULCHER, LIANNE                         FULCHER, TRACYE L.
25 RIDGEFIELD                             1812 RIVERGLEN WALK                     P.O. BOX 251
TROY, IL 62294                            LOGANVILLE, GA 30052                    MONROE, GA 30655




FULFORD, JESSICA                          FULFORD, SAUNDRA R.                     FULGHAM, TANIKA
5110 TALLULAH ROAD                        9138 S WALLACE                          7307 S EVANS AVE
ROBBINSVILLE, NC 28771                    CHICAGO, IL 60620                       CHICAGO, IL 60619




FULK, JAMIE N.                            FULKERSON, NICHOLE M.                   FULLEN, JOAN
799 N SEMINARY ST                         ADDRESS ON FILE                         2002 WILDLIFE DR SW
GALESBURG, IL 61401                                                               CANTON, OH 44706




FULLER CHERIE                             FULLER LYNDSAY E                        FULLER, ANGELA
3272 CROCKER RD                           2020 E KERR ST                          ADDRESS ON FILE
EUGENE, OR 97404-0000                     APT G208
                                          SPRINGFIELD, MO 65803




FULLER, APRIL                             FULLER, CHRISTOPHER D.                  FULLER, CRYSTAL
P.O. BOX 96                               703 CRAB APPLE LANE                     1273 GRANITE LN
FAIRFIELD, IL 62837                       IDER, AL 35981-4643                     LOGANVILLE, GA 30052




FULLER, DAWN R.                           FULLER, ERIN                            FULLER, ETHAN J.
3690 STATE RTE 146 E                      901 LOCKEWOOD LN                        ADDRESS ON FILE
ANNA, IL 62906                            SCOTTS VALLEY, CA 95066




FULLER, JUDITH                            FULLER, KAREN D.                        FULLER, LARRY
215 BAINBRIDGE RD                         118 MORRIS CIRCLE                       1309 KENYON AVE SW
COBDEN, IL 62920                          EDENTON, NC 27932                       MASSILLON, OH 44647-9694
FULLER, MEGAN A.            Case 20-10766-BLS     Doc 6J. Filed 04/07/20
                                          FULLER, PENNY                    Page FULLER,
                                                                                 632 ofRHONDA
                                                                                        1969
580 CARNAHAN RD                            ADDRESS ON FILE                      2160 MIRACLE
EQUALITY, IL 62934                                                              GRANITE CITY, IL 62040




FULLER, RHONDA                             FULLER, RICHARD L.                   FULLER, RICKY
309 COBBLESTONE                            3209 BRIDGE POINT ROAD               306 W PARK ST
TROY, IL 62294                             GADSDEN, AL 35907-0000               BENTON, IL 62812




FULLER, ROBERT H.                          FULLER, TIFFANY R.                   FULLER-HUNTLEY, KARIE S.
ADDRESS ON FILE                            422 RED OAK COURT                    P.O. BOX 1665
                                           MONROE, GA 30655                     LITTLEFIELD, AZ 86432




FULLMER, LORI A.                           FULLMER, SHEILA                      FULLMER, TIFFINY
ADDRESS ON FILE                            287 DIXIE AVE                        ADDRESS ON FILE
                                           LAYTON, UT 84041




FULLON, KHRISTINE                          FULLWILEY, AFTON L.                  FULMER CHRISTINE M
315 N SALEM AVE APT 201                    ADDRESS ON FILE                      4956 CONE AVE
ARLINGTON HEIGHTS, IL 60005                                                     EUGENE, OR 97402-0000




FULMER, PAMELA                             FULTON RANDY                         FULTON, DONALD
2756 COACHMAN DRIVE                        5620 FARTHING ROAD                   5005 FOHL ST SW
INDEPENDENCE, MO 64055                     ODIN, IL 62870                       CANTON, OH 44706




FULTON, JACOB R.                           FULTON-BEADLE, BARBARA E.            FULTS COLLEEN M
1708 GEORGE SIMS RD                        277 HIDDEN VALLEY RD                 617 FIGHTING TOWNCREEK RD
MARION, IL 62959                           WATSONVILLE, CA 95076                MCCAYSVILLE, GA 30555




FULTZ, BERTIE                              FULTZ, BRIANA L.                     FULTZ, HEIDI
P.O. BOX 455                               ADDRESS ON FILE                      1081 SCHWABEN CREEK RD
CAMPTON, KY 41301                                                               DORNSIFE, PA 17823




FULTZ, KANDALL                             FULVI, JAMES A.                      FULWIDER, RILLA
39 ALTA ST                                 2254 NEW HOPE RD                     313 W 3RD ST
GLEN CARBON, IL 62034                      MORGANTON, GA 30560                  INA, IL 62846




FUN EXPRESS LLC                            FUNK, CARRIE A.                      FUNK, GARY L.
P.O. BOX 14463                             153 S MONROE AVE                     1372 CLEARWATER LANE
DES MOINES, IA 50306-3463                  BRADLEY, IL 60915                    SPRINGFIELD, OR 97478
FUNK, GILMORE          Case 20-10766-BLS     DocR.6 Filed 04/07/20
                                     FUNK, TYLER                     Page FUNKEN,
                                                                           633 of BROOKE
                                                                                  1969 M.
2545 MANCHESTER AVE NW               206 MAGNOLIA AVE                     ADDRESS ON FILE
NORTH LAWRENCE, OH 44666             WATERLOO, IL 62298




FUNKHOUSER, TIMOTHY                 FUNKHOUSER, WILLIAM                   FUQUA, CASIE
7003 SEMINARY RIDGE CT              117 COTTAGE DR                        1316 7TH ST
EDWARDSVILLE, IL 62025              EDWARDSVILLE,, IL 62025               HIGHLAND, IL 62249




FURDGE, VIVIAN                      FURDGE, VIVIAN                        FUREY, DIANA
551 HWY 1 NORTH                     HRMC                                  8050 AVALON RD NW
LEXA, AR 72355                      72342                                 MALVERN, OH 44644




FURFARO, TERESA                     FURGERSON, CHARLOTTE E.               FURGERSON, FREDA J.
6800 MIDDLEGATE LANE                1198 COUNTY ROAD 689                  605 COUNTY RD 594
GLEN CARBON, IL 62034               SYLVANIA, AL 35988-0000               SYLVANIA, AL 35988-2634




FURGERSON, LARRY C.                 FURGERSON, MICHAEL                    FURLOW, LOIS J.
P.O. BOX 37                         1336 COUNTY ROAD 689                  10104 S KING DRIVE
RAINSVILLE, AL 35986-2503           SYLVANIA, AL 35988                    CHICAGO, IL 60628




FURRY FRIENDS RECOVERY              FURTEK, LESLIE A.                     FURTEK, MARK J.
P.O. BOX 951                        1321 IDLEWILD LANE                    1321 IDLEWILD LANE
EDWARDSVILLE, IL 62025              HOMEWOOD, IL 60430                    HOMEWOOD, IL 60430




FURTH LAW FIRM PA, THE              FURY, CHARLES M.                      FUSION CLOUD SERVICES LLC
780 S WALNUT NO 5                   116 AUSTIN CT                         320 INTERSTATE N PKWAY
LAS CRUCES, NM 88001                WATSONVILLE, CA 95076                 SOUTHEAST ATLANTA, GA 30339




FUSION CLOUD SERVICES LLC           FUSION MEDICAL STAFFING, LLC          FUSION MEDICAL STAFFING,INC
P.O. BOX 51341                      P.O. BOX 82674                        11808 GRANT ST
LOS ANGELES, CA 90051-5641          LINCOLN, NE 68501-2674                STE 100
                                                                          OMAHA, NE 68164-3616




FUSSELL, JOSEPH                     FUTRELL, BRADLEY D.                   FUTRELL, CHRISTOPHER T.
224 S CONECHUH ST                   503 E. BLACKBERRY LANE                ADDRESS ON FILE
GREENVILLE, AL 36037                MCLEANSBORO, IL 62859




FUTRELL, TYLER                      FUTRELLS PLUMBING                     FUTURE HEALTH CONCEPTS INC
1020 POPLAR CHAPEL ROAD             2931 NC HWY 32 S                      1211 E. 30TH STREET
JAMESVILLE, NC 27846-9794           PLYMOUTH, NC 27962-0000               SANFORD, FL 32773-9373
FUTUREMED               Case 20-10766-BLS     Doc
                                      FYFFE HIGH    6 Filed 04/07/20
                                                 SCHOOL                 Page FYFFE,
                                                                              634 ofCORRINE
                                                                                      1969 R.
15700 DEVONSHIRE STREET               P.O. BOX 7                             P.O BOX 119
GRANADA HILLS, CA 91344-0000          FYFFE, AL 35971                        FLAT GAP, KY 41219




FYFFE, SHANNON D.                     G & G ANESTHESIA LLC                   G & G ANESTHESIA LLC
ADDRESS ON FILE                       2023 VADALABENE                        7416 CREEK RIDGE LN
                                      SUITE 350                              EDWARDSVILLE, IL 62025
                                      MARYVILLE, IL 62062-0000




G & G COMMUNICATIONS                  G & M DIST                             G COLEMAN, JULIE
354 WILLIAMS BRANCH ROAD              200 N LINWOOD RD                       233 SHERLING LAKE RD
HAZARD, KY 41701                      GALESBURG, IL 61401                    GREENVILLE, AL 36037




G E HEALTHCARE                        G E MEDICAL SYSTEMS INFO TECH          G NEIL COMPANIES
P.O. BOX 96483                        5517 COLLECTIONS CNTR DR               P.O. BOX 669390
CHICAGO, IL 60693                     CHICAGO, IL 60693                      POMPANO BEACH, FL 33066-9390




G NEKTARIOS MARINAKIS                 G P CARTER PSC                         G&G ANESTHESIA LLC
822 WALLACE AVE SE                    LOUISA MEDICAL CLINIC                  2023 VADALABENE DRIVE
MASSILLON, OH 44646-6883              412 N LOCK AVE                         SUITE 350
                                      LOUISA, KY 41230                       MARYVILLE, IL 62062-0000




G&S SERVICES OF ILLINOIS, INC         G. EDWARD BURNETTE, MD                 G. JUAREZ LAWN SERVICE INC
38735 NORTH BAYONNE AVE               ADDRESS ON FILE                        35230 N MOODY ST
BEACH PARK, IL 60087-0000                                                    INGLESIDE, IL 60041




G.P. CARTER, PSC                      G2 MEDICAL PRODUCTS INC                G4S SECURE SOLUTIONS USA INC
D/B/A LOUISA MEDICAL CLINIC           975 CHATEAU MEADOWS DR                 P.O. BOX 277469
412 N. LOCK AVENUE                    EUGENE, OR 97401                       ATLANTA, GA 30384-7469
LOUISA, KY 41230




GA COMPOSITE MEDICAL BOARD            GA HC REIT II OLA NALU MOB, LLC        GA PARTNERSHIP FOR TELEHEALTH INC.
2 PEACHTREE ST NW, 36TH FLOOR         P.O. BOX 209362                        P.O. BOX 1408
ATLANTA, GA 30303-3465                AUSTIN, TX 78720-9362                  WAYCROSS, GA 31502




GA. DEPT. OF NATURAL RESOURCES        GABBARD, BETTY J.                      GABBARD, TAMMY
RADIOACTIVE MATERIAL PROG             7207 KY 847                            ADDRESS ON FILE
P.O. BOX 101161                       BOONEVILLE, KY 41314
ATLANTA, GA 30392




GABBERT, SAMANTHA E.                  GABLE, KIM                             GABORIAULT, GAIL A.
800 WHITEWOOD ST                      137 COUNTY ROAD 49                     897 S 44TH ST
BURLINGTON, IA 52601                  DAWSON, AL 35963                       SPRINGFIELD, OR 97478-0000
GABRAIL CANCER CENTER Case 20-10766-BLS
                                    GABRAIL Doc  6 CENTER
                                            CANCER    Filed 04/07/20   Page GABREIL
                                                                            635 of WIHTOL
                                                                                    1969
4875 HIGBEE AVE N                   4875 HIGHBEE AVE N                      ADDRESS ON FILE
CANTON, OH 44718                    CANTON, OH 44718




GABRIEL HARRISON                      GABRIEL, ALICIA                       GABRIELLE MCMILLAN
12050 E MAY RD                        926 LIVE RD/3C                        404 HENRY STREET
MT VERNON, IL 62864                   HOMEWOOD, IL 60430                    PRAIRIE DU ROCHER, IL 62277




GABROVIC, RACHEL                      GADBERRYS                             GADD, VELDA A.
126 S WASHINGTON ST                   115 N ROSSER                          1445 SCHO0L AVE NE
ADDIEVILLE, IL 62214                  FORREST CITY, AR 72335                APT 1
                                                                            NORTH CANTON, OH 44720-6249




GADDIE, KATRINA                       GADDIS, JUNE                          GADDIS, KEA S.
2325 WILLOWBROOK DRIVE APT. F6        2440 WILLAKENZIE RD                   ADDRESS ON FILE
MURFREESBORO, TN 37130                EUGENE, OR 97401-4804




GADDIS, PAM                           GADDY, VINCENT L.                     GADE, DONNA
202 E DEL RIO ST                      2503 STATFORD LN                      25762 W WOODLAWN AVE
ALPINE, TX 79830                      GRANITE CITY, IL 62040                ANTIOCH, IL 60002




GADSDEN REG PHYS GRP PRAC             GAERTNER, STEVE                       GAFFNEY, FELICIA
300 MEDICAL CENTER DRIVE              8625 FRUIT ROAD                       1230 JANET AVE NW
SUITE 401                             EDWARDSVILLE, IL 62025-0000           NORTH CANTON, OH 44720-1839
GADSDEN, AL 35903




GAGE VAN HORN & ASSOCIATES            GAGE, ANTHONY E.                      GAGE, LEWIS
2601 SOUTH EAST LOOP 289              11643 S BISHOP                        P.O.BOX 42
LUBBOCK, TX 79404                     CHICAGO, IL 60643                     DAHLGREN, IL 62828




GAGE, MARY A.                         GAGEL, WILLIAM                        GAGNE, LUCE
1830 POWER DAM ROAD                   955 RAYMOND RD                        3150 WINKLE AVE
EPWORTH, GA 30541                     SHEPHERDSVILLE, KY 40165              SOQUEL, CA 95065




GAGNON, JOSIE L.                      GAGNON, KAREN                         GAHC3 SO IL MOB PORTFOLIO LLC
ADDRESS ON FILE                       274 VISTA HILLS RD.                   33209 COLLECTION CENTER DR
                                      MURPHY, NC 28906                      CHICAGO, IL 60693




GAHGAN, TRACY S.                      GAHR, HEATHER                         GAIA ANASTAZIA
ADDRESS ON FILE                       117 LOMBARDY LN                       285 S 52ND PL
                                      WYNNE AR, AR 72396                    SPRINGFIELD, OR 97478
GAIL B SMALLEY           Case 20-10766-BLS     Doc 6
                                       GAIL EUBANKS        Filed 04/07/20   Page GAIL
                                                                                 636F of 1969
                                                                                      SCHORR
ADDRESS ON FILE                         335 KNOX ST.                             1787 LITTEN DR
                                        HUNTINGDON, TN 38344                     BOCA RATON, FL 33498-6439




GAIL KENEIPP                            GAIL PEACHEY                             GAIL PEACHEY
323 RUSSELL ROAD                        ADDRESS ON FILE                          1960 180TH STREET
CARBONDALE, IL 62901                                                             GALESBURG, IL 61401




GAILEY, BETHANN                         GAINER, KRYSTAEL N.                      GAINER, PATRICIA
ADDRESS ON FILE                         108 ROBERSON AVENUE P.O. BOX 1225        10854 S DRAKE
                                        WILLIAMSTON, NC 27892                    CHICAGO, IL 60655




GAINER, TAMIKA S.                       GAINERS TAXI                             GAINES CARRIE
P.O. BOX 1611                           1255 WEST PARK RD                        15 PADGET LANE 7010
111 WILLOW ACRES                        WILLIAMSTON, NC 27892                    ELLIJAY, GA 30540
WILLIAMSTON, NC 27892




GAINES OIL COMPANY                      GAINES, CANDACE                          GAINES, CHARLOTTE
P.O. BOX 421                            5813 BRAND WOODS DRIVE                   3130 LINCOLN PARK DR
2348 S MAIN STREET                      WATERLOO, IL 62298                       GALESBURG, IL 61401
GOLDSTON, NC 27252




GAINES, CHRISTINE                       GAINES, CLAUDE                           GAINES, COETTA J.
3124 HARVARD PL                         1067 VICTOR ST                           48 COBBLESTONE LANE
GRANITE CITY, IL 62040                  FORREST CITY, AR 72335                   GLEN CARBON, IL 62034




GAINES, STEVEN R.                       GAINEY, VANESSA G.                       GAITHER, AUTUMN
3243 THURBER LN                         ADDRESS ON FILE                          477 LAKESIDE DR
SANTA CRUZ, CA 95065                                                             LEXINGTON, TN 38351




GAITHER, CHEYENNE                       GAJEWSKI, DEBORAH B.                     GAJEWSKI, JESSICA K.
1244 STATE ST                           ADDRESS ON FILE                          9040 S ROBERTS RD
ALTON, IL 62002                                                                  HICKORY HILLS, IL 60457




GALAN, MARTHA E.                        GALAN, SHANNON R.                        GALASSINI, KATHLEEN J.
13430 RED FOX COURT                     2506 CHEYENNE                            16219 HAMILTON
LEMONT, IL 60439                        BIG SPRING, TX 79720                     TINLEY PARK, IL 60477




GALASZKIEWICZ, JOLANTA                  GALAVIZ, MICHAEL                         GALAVIZ-MORALES, LETICIA
ADDRESS ON FILE                         ADDRESS ON FILE                          871 SANTA THERESA WAY
                                                                                 MESQUITE, NV 89027-1117
GALBAN, SOFIA              Case 20-10766-BLS
                                         GALBAN, Doc
                                                 SOFIA6     Filed 04/07/20   Page GALBRAITH,
                                                                                  637 of 1969DONALD
P.O BOX 1005                              ADDRESS ON FILE                         1128 COUNTY RD 633
COLUMBUS, NM 88029                                                                MENTONE, AL 35984




GALBRAITH, JESSICA E.                     GALBREATH, JOSEPH C.                    GALE FOWLER
178 LOWERY ROAD APT 6                     369 NUNNALLY FARM RD                    3544 HWY 106 EAST
VALLEY HEAD, AL 35989                     MONROE, GA 30655                        GEORGIANA, AL 36033




GALE HARRIS-LOVER AND JUDY CALDWELL       GALE MARIE                              GALE WEYBRIGHT
                                          411 WALNUT ST                           1240 FRANK ST
                                          P.O. BOX 10331                          GALESBURG, IL 61401
                                          GREEN COVE SPRINGS, FL 32043




GALE, RENEE J.                            GALE, STEPHANIE M.                      GALEN R. GRIFFIN, M.D.
241 BROOKSIDE AVENUE                      185 CREEKSIDE TRAIL                     ADDRESS ON FILE
SANTA CRUZ, CA 95060                      COVINGTON, GA 30016




GALER, NANCY                              GALERA, ROSARIO Y.                      GALES AREA CHAMBER/COMMERCE
ADDRESS ON FILE                           17059 W TIGER TAIL CT                   200 EAST MAIN STREET
                                          GURNEE, IL 60031                        SUITE 200
                                                                                  GALESBURG, IL 61401




GALESBURG AMBULANCE SERVICE               GALESBURG AMBULANCE SERVICE             GALESBURG BROADCASTING CO
P.O. BOX 308                              PO BOX 308                              154 E SIMMONS
ORION, IL 61273                           ORION, IL 61273                         GALESBURG, IL 61401




GALESBURG BUILDERS                        GALESBURG BUILDERS                      GALESBURG CASTINGS
P.O. BOX 1488                             PO BOX 1488                             P.O. BOX 390
GALESBURG, IL 61401                       GALESBURG, IL 61401                     GALESBURG, IL 61401




GALESBURG COMMUNITY IMPACT FUND           GALESBURG COTTAGE HOSPITAL              GALESBURG COTTAGE HOSPITAL
C/O HINCHLIFF PEARSON WEST                695 N KELLOGG ST                        ENTITY 0190
1070 W FREMONT ST                         GALESBURG, IL 61401                     695 N. KELLOGG ST.
GALESBURG, IL 61401                                                               GALESBURG, IL 61401




GALESBURG ELECTRIC                        GALESBURG ELECTRIC                      GALESBURG HIGH SCHOOL
P.O. BOX 949                              PO BOX 949                              1135 FREMONT ST
GALESBURG, IL 61401                       GALESBURG, IL 61401                     GALESBURG, IL 61401




GALESBURG HIGH SCHOOL                     GALESBURG HOSPITAL CORPORATION          GALESBURG PROFESSIONAL SERVICES, LLC
1135 FREMONT ST                           1573 MALLORY LANE, SUITE 100            1209 ORANGE STREET
GALESBURG, IL 61401-0000                  BRENTWOOD, TN 37027                     WILMINGTON, DE 19801
                      Case
GALESBURG PUBLIC SCHOOLS    20-10766-BLS
                         FOUND               DocPUBLIC
                                     GALESBURG    6 Filed  04/07/20
                                                       SCHOOLS FOUND     Page GALESBURG
                                                                              638 of 1969
                                                                                        SIGN & LIGHTING
P.O. BOX 687                         PO BOX 687                               1518 S HENDERSON ST
GALESBURG, IL 61401                  GALESBURG, IL 61401                      GALESBURG, IL 61401




GALIL MEDICAL INC                     GALINDO, MEYGAN L.                      GALINSKI, JOHN L.
4364 ROUND LAKE ROAD                  1008 N 11TH ST                          534 LAKEVIEW ACRES DR
ARDEN HILLS, MN 55112                 ALPINE, TX 79830                        COLLINSVILLE, IL 62234




GALL, ADELIA E.                       GALL, CARMEN                            GALL, JOHN
42169 N 6TH AVE                       14413 MILLARD AVE                       2137 COLLINSVILLE AVE
ANTIOCH, IL 60002                     MIDLOTHIAN, IL 60445                    MADISON, IL 62060




GALLA, KYLIE S.                       GALLAGHER BASSET                        GALLAGHER BASSETT SERVICES INC
ADDRESS ON FILE                       ATTN: RCVRY                             4110 N SCOTTSDALE RD
                                      14000 QUAIL SPRINGS PKY STE 3000        SCOTTSDALE, AZ 85251
                                      OKLAHOMA CITY, OK 73134-2618




GALLAGHER BASSETT SERVICES INC        GALLAGHER BASSETT SERVICES INC          GALLAGHER BASSETT SERVICES
P.O. BOX 74007663                     WESTERN LITIGATION                      P.O. BOX 6928
CHICAGO, IL 60674-7663                1900 W LOOP SOUTH - STE 1500            LOUISVILLE, KY 40206
                                      HOUSTON, TX 77027




GALLAGHER BASSETT                     GALLAGHER BASSETT-ST. LOUIS             GALLAGHER BENEFIT SERVICES INC
P.O. BOX 2831                         1630 DES PERES RD                       2850 WEST GOLF RD
CLINTON, IA 52733-2831                STE 140                                 5TH FLR
                                      ST LOUIS, MO 63131                      ROLLING MEADOWS, IL 60008




GALLAGHER BENEFIT SVCS-HRCC           GALLAGHER CHRISTINE M                   GALLAGHER US
PRACTICE                              6843 HAMPSHIRE CT                       2850 GOLF ROAD
LOCKBOX P.O. BOX 71696                MARYVILLE, IL 62062                     ROLLING MEADOWS, IL 60008
INTEGRATED HEALTHCARE STRATEGIES
CHICAGO, IL 60694-1696



GALLAGHER, CODY                       GALLAGHER, JARED                        GALLAGHER, KATHLEEN
605 N MARKET                          301 WEST 3RD STREET                     429 SULCER ST
WATERLOO, IL 62298                    WATERLOO, IL 62298                      PALESTINE, AR 72372




GALLAGHER, MEREDYTH                   GALLAGHER, PATRICIA A.                  GALLAHER & ASSOCIATES, INC.
ADDRESS ON FILE                       2318 W 107TH PL                         3351 REGAL DRIVE
                                      CHICAGO, IL 60643                       ALCOA, TN 37701




GALLAHER, DAWN                        GALLAMORE, BILLY                        GALLARDO, JAVIER
10851 OAK AVE                         15 EDDYVILLE BLACKTOP RD                843 S VICTORY ST
CHICAGO RIDGE, IL 60415               GOLCONDA, IL 62938                      APT 1
                                                                              WAUKEGAN, IL 60085
GALLATIN, JAMES          Case 20-10766-BLS    Doc
                                       GALLEGO,    6 R. Filed 04/07/20
                                                MARK                     Page GALLEGO,
                                                                              639 of 1969
                                                                                       RAFAEL
1538 KASKASKIA RD                      ADDRESS ON FILE                        901 E FM 700 APT 218
PRAIRIE DU ROCHER, IL 62277                                                   BIG SPRING, TX 79720




GALLEGOS ANN MARIE                     GALLEGOS CLEANING SERVICE LLC          GALLEGOS, AMADA
742 TERRACE DR                         908 HIGHLAND AVE                       1521 W BROADVIEW
LAS VEGAS, NM 87701                    WAUKEGAN, IL 60085                     CRETE, IL 60417




GALLEGOS, BETTY JOE L.                 GALLEGOS, CHRISTOPHER L.               GALLEGOS, DAVID SR.
P.O. BOX 3762                          ADDRESS ON FILE                        397 E 500 NO
LAS VEGAS, NM 87701                                                           TOOELE, UT 84074




GALLEGOS, DELIA                        GALLEGOS, HOPE                         GALLEGOS, MARIANO A.
4106 DIXON ST                          412 PEGGY LEE LANE                     ADDRESS ON FILE
BIG SPRING, TX 79720                   LAS VEGAS, NM 87701




GALLEGOS, NICHOLE A.                   GALLEGOS, NICHOLE                      GALLEGOS, NUBIA
ADDRESS ON FILE                        ADDRESS ON FILE                        13015 CHICAGO ST
                                                                              BLUE ISLAND, IL 60406




GALLEGOS, RENE                         GALLEGOS, VANESSA                      GALLEGOSBUCIO ANGEL
2635 COLLINS ST                        ADDRESS ON FILE                        131 C ST NUMBER 13
BLUE ISLAND, IL 60406                                                         SPRINGFIELD, OR 97477




GALLERY COLLECTION, THE                GALLERY, NOAH                          GALLES, DANIEL
PRUDENT PUBLISHING                     38383 N LAKESIDE PL                    1215 SUNSET VISTA CT.
65 CHALLENGER RD                       ANTIOCH, IL 60002                      SPARKS, NV 89441
P.O. BOX 360
RIDGEFIELD PARK, NJ 07660-0360



GALLETTA, KALEENA                      GALLIGAN, JAMES T.                     GALLIGAN, SHANNON M.
348 RIDGEWAY AVENUE                    103 BRYNN DRIVE                        103 BRYNN DR
COTTAGE HILLS, IL 62018                MANHATTAN, IL 60442                    MANHATTAN, IL 60442




GALLIMORE, CLAY                        GALLIMORE, KIERSTEN                    GALLIMORE, KIERSTON
23969 W TOWNLINE ROAD                  ADDRESS ON FILE                        ADDRESS ON FILE
LAKE VILLA, IL 60046-9668




GALLINGER, LUIS                        GALLIVAN, MATTHEW S.                   GALLO TYLER
ADDRESS ON FILE                        2839 POLO CLUB ROAD                    527 BUCKNER ROAD
                                       NASHVILLE, TN 37221                    CREAL SPRINGS, IL 62922
GALLO, AMY L.               Case 20-10766-BLS
                                          GALLOUPDoc 6      Filed 04/07/20   Page GALLOWAY
                                                                                  640 of 1969
                                                                                           CARMON
ADDRESS ON FILE                           P.O. BOX 671121                         P.O. BOX 174
                                          DETROIT, MI 48267-1121                  EPWORTH, GA 30541




GALLOWAY MICHAEL D                        GALLOWAY, ANGELA R.                     GALLOWAY, JASON W.
BOX 398                                   3105 MAURICE STREET NE                  1061 GOSHENTOWN RD
EPWORTH, GA 30541                         FORT PAYNE, AL 35967-7847               HENDERSONVILLE, TN 37075




GALLOWAY, KIM                             GALLOWAY, MILDRED                       GALLOWAY, MINDY
ADDRESS ON FILE                           516 HILLCREST DRIVE                     635 EAST SCHOOL WAY
                                          MCCAYSVILLE, GA 30555                   REDWOOD VALLEY, CA 95470




GALLOWAY, PAMELA M.                       GALLOWAY, ROBIN L.                      GALLOWAY, SANDRA
374 WADE STREET                           ADDRESS ON FILE                         509 WISTERIA LANE
RAINSVILLE, AL 35986                                                              MORGANTON, GA 30560




GALLOWAY, STEVE A.                        GALLS AN ARAMARK COMPANY                GALLS INC
374 WADE ST                               P.O. BOX 71628                          P.O. BOX 71628
RAINSVILLE, AL 35986-6411                 CHICAGO, IL 60694-1628                  CHICAGO, IL 60694-1628




GALLS LLC                                 GALLS/QUARTERMASTER                     GALLUCCI, GINA M.
P.O. BOX 71628                            P.O. BOX 71628                          181 HOLIDAY DR
CHICAGO, IL 60694-1628                    CHICAGO, IL 60694-1628                  LA SELVA BEACH, CA 95076




GALOW STACY L                             GALVAN, EZEQUIEL                        GALVAN, ANDREA C.
2208 CARDINAL AVE                         16030 VINE AVENUE                       100 NE 10TH ST
GRANITE CITY, IL 62040                    HARVEY, IL 60426-3589                   BIG SPRING, TX 79720




GALVAN, DAVID A.                          GALVEZ, RAY                             GALVIN, JOHN P.
2205 MATTHEW PLACE                        MISSION PLACEMENT GROUP                 6231 MISTY PINES DRIVE
ZION, IL 60099                            829 CHANDLER GROVE                      UNIT 4
                                          HERMITAGE, TN 37076                     TINLEY PARK, IL 60477




GAMBER, BILL                              GAMBETTA, STEPHANIE                     GAMBETTA, STEPHENIE I.
111 EVERGREEN DR                          ADDRESS ON FILE                         ADDRESS ON FILE
ANNA, IL 62906




GAMBILL, JANIS W.                         GAMBLE GLENNA                           GAMBLE, AMANDA
1509 HARGIS LANE                          P.O. BOX 1674                           126 OAK CIRCLE APT.19
JACKSON, KY 41339                         VIPER, KY 41774                         IDER, AL 35981
GAMBLE, EUGENE V.         Case 20-10766-BLS
                                        GAMBLE,Doc  6 M. Filed 04/07/20
                                               KAYLIE                     Page GAMBLE,
                                                                               641 of LISA
                                                                                       1969M.
3 SHINGLE OAKS DR                         ADDRESS ON FILE                      ADDRESS ON FILE
GLEN CARBON, IL 62034




GAMBLE, NORA D.                           GAMBLE, SAMANTHA                     GAMBLE, SHARI
P.O. BOX 195                              4158 JONESTOWN CLAREMONT RD          203 TEXAS AVE
COAHOMA, TX 79511                         CLARKSDALE, MS 38614                 MARION, IL 62959




GAMBLE, SKYLER                            GAMBLE, STACEY L.                    GAMBLE, WHITNEY
3900 CHERRY BROOK DR                      ADDRESS ON FILE                      1099 KY ROUTE 581
ARNOLD, MO 63010                                                               PAINTSVILLE, KY 41240




GAMBLE-WEBB, KENDRA                       GAMBOA, AERIANN                      GAMBOA, ALEXIS
2116 ADEL DRIVE                           ADDRESS ON FILE                      305 NE 8TH ST
LOGANVILLE, GA 30052                                                           BIG SPRING, TX 79720




GAME DAY MEDIA                            GAME DAY SPORTSWEAR                  GAMINO, MAYRA A.
16600 SW 72ND AVE                         607 SFC 732                          5114 W 121ST ST
BLDG 10                                   FORREST CITY, AR 72335               ALSIP, IL 60803
PORTLAND, OR 97224-0000




GAMMA QUALITY                             GAMMILL, PATRICIA A.                 GAMMON-COLEMAN, IESHA
P.O. BOX 56356                            515 B MOCKINGBIRD                    237 MARTIN LUTHER KING DR
CHICAGO, IL 60656-0356                    TROY, IL 62294                       LEXA, AR 72355




GAMMONS, RORY DON                         GAMUROT, RONA R.                     GANDARA, JESSICA
806 SAUNDERS                              ADDRESS ON FILE                      ADDRESS ON FILE
COAHOMA, TX 79511




GANDHI MRGENDRA, MD                       GANDHI, MRUGENDRA M.                 GANDHI, SANJAY
108 LEGION DRIVE                          335 FOX RUN RD                       210 N MAYFLOWER
LAS VEGAS, NM 87701                       LIBERTYVILLE, IL 60048               LAKE FOREST, IL 60045




GANDHI, SONAL D.                          GANDY, JENNIFER                      GANDY, MARTHA S
2430 HARRISON STREET                      10789 LIME BRANCH RD                 2335 CAMPBELL DR
GLENVIEW, IL 60025                        ANDALUSIA, AL 36420-7205             FORREST CITY, AR 72335




GANDYS DAIRIES INC                        GANIEANY, SARAH                      GANN GENTRY HUGH
P.O. BOX 201263                           21356 E. MALECKI RD.                 ADDRESS ON FILE
DALLAS, TX 75320-1263                     BLUFORD, IL 62814
GANN, DANNY              Case 20-10766-BLS    Doc 6H. Filed 04/07/20
                                       GANN, GENTRY                    Page GANN,
                                                                            642 of  1969
                                                                                  JAMES L.
98 BAILEY STREET                        ADDRESS ON FILE                     ADDRESS ON FILE
FORT PAYNE, AL 35968




GANN, MARY LINDA                        GANN, WILLA                         GANNETT SATELLITE INFO NETWORK
105 RIDGE RD                            1642 COUNTY ROAD 505                USA TODAY
WALNUT COVE, NC 27052-9322              RAINSVILLE, AL 35986                P.O. BOX 677446
                                                                            DALLAS, TX 75267-7446




GANNETT SATELLITE INFORMATION           GANNETT TNP-TEX NM                  GANNON, LORRIE
NETWORK INC                             THE DEMING HEADLIGHT                ADDRESS ON FILE
THE TENNESSEAN                          P O BOX 677890
P.O. BOX 742619                         DALLAS, TX 75267-7890
CINCINNATI, OH 45274-2619



GANNUCH, DARREN                         GANS, EDITH P.                      GANSAUER, KAYLA
ADDRESS ON FILE                         701 US 45 N                         311 RODDY ROAD
                                        ELDORADO, IL 62930                  SALEM, IL 62881-3836




GANT NANCY A                            GANT, HEATHER                       GANT, KERRY
870 COUNTY RD 732                       3651 COUNTY ROAD 58                 ADDRESS ON FILE
HENAGAR, AL 35978-3328                  PISGAH, AL 35765




GANT, MIRANDA B.                        GANT, PHYLLIS                       GANT, TERRI
ADDRESS ON FILE                         ADDRESS ON FILE                     131 RD 1961
                                                                            RAINSVILLE, AL 35986




GANTT, CAROL E.                         GANTZ, CAROLYN A.                   GANYARD, PATRICIA E.
2658 ADAMS STREET                       6515 PLEASANT LAKE DR SE            710 SADLER ROAD
GRANITE CITY, IL 62040                  EAST SPARTA, OH 44626               POMONA, IL 62975




GANZ USA LLC                            GANZER, ANN A.                      GAOA, BARBARA
P.O. BOX 530                            7450 TUNNEL HILL ROAD               220 HOSTETLER RD
BUFFALO, NY 14240-0530                  GOREVILLE, IL 62939                 ORRVILLE, OH 44667




GAONA, MARCO A.                         GAPEN, JEREMIAH S.                  GARAGE DOORS UNLIMITED
ADDRESS ON FILE                         815 US HWY 45 S                     940 JOY SPARKS RD
                                        BRADFORD, TN 38316                  MCKENZIE, TN 38201




GARATE, GLORIA E.                       GARBRICK, ALYSSA L                  GARCERA, KIRSTI B.
P.O. BOX 2272                           149 N 5TH ST                        ADDRESS ON FILE
WEST HELENA, AR 72390                   LOCK HAVEN, PA 17745
GARCES, JORESA MAE M. Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                    GARCIA ALEXSANDRA                  Page GARCIA
                                                                            643 ofANITA
                                                                                   1969 F
2413 N SAMSON WAY APT 2A            ADDRESS ON FILE                         74 ROAD 9059
WAUKEGAN, IL 60087                                                          VALLEY HEAD, AL 35989-3578




GARCIA CANDIDO                     GARCIA CARMEN                            GARCIA DAISY
1407 WATKIN AVE NE                 3306 ERIC BLVD                           429 N POPLAR ST APT 1
FORT PAYNE, AL 35967-2841          PARK CITY, IL 60085-6071                 WAUKEGAN, IL 60085




GARCIA III, RICHARD C.             GARCIA JESSICA                           GARCIA JIMMY
ADDRESS ON FILE                    64 N 1000 W                              ADDRESS ON FILE
                                   TOOELE, UT 84074




GARCIA LIZETH                      GARCIA RASCON, JACKELINE                 GARCIA VACA, ADALIA
711 GREENBRIAR LANE                2500 S TIN 2                             9558 VIVA LANE
LAKE VILLA, IL 60046               DEMING, NM 88030                         CASTROVILLE, CA 95012




GARCIA ZENAYDA                     GARCIA, ALEJANDRA E.                     GARCIA, ALYSSA R.
745 SUN LAKE RD                    ADDRESS ON FILE                          734 BAYLOR BLVD
LAKE VILLA, IL 60046                                                        BIG SPRING, TX 79720




GARCIA, ANA L.                     GARCIA, ANDREW WAYNE                     GARCIA, ANGELA L.
ADDRESS ON FILE                    2609 WASSON RD APT62                     ADDRESS ON FILE
                                   BIG SPRING, TX 79720




GARCIA, ANGELINA R.                GARCIA, ANNALYSE J.                      GARCIA, ASHLEY
ADDRESS ON FILE                    849 MESQUITE SPRINGS DR. UNIT 202        1101 LAMAR AVE
                                   MESQUITE, NV 89027                       BIG SPRING, TX 79720




GARCIA, BRANDON                    GARCIA, CARRIE A.                        GARCIA, CASSANDRA
759 DORA CELESTE DR                ADDRESS ON FILE                          52 FELDER STREET
LAS VEGAS, NM 87701                                                         BAMBERG, SC 29003




GARCIA, CHARLES S & MONICA M.      GARCIA, CYNTHIA A.                       GARCIA, DANIEL
DBA GARCIAS JANITORIAL             221 COUNTY ROAD 268                      317 HULL CT. APT. 2
765 S SANTA FE ST                  PISGAH, AL 35765                         WAUKEGAN, IL 60085
DEMING, NM 88030




GARCIA, DESIREE A.                 GARCIA, EDMAR J.                         GARCIA, EDUARDO
ADDRESS ON FILE                    101 N CHERRY ST TRLR 5                   ADDRESS ON FILE
                                   ALPINE, TX 79830
GARCIA, ELIZABETH M.      Case 20-10766-BLS     Doc 6L. Filed 04/07/20
                                        GARCIA, EMILIO                   Page GARCIA,
                                                                              644 ofFELIX
                                                                                      1969
210 SEMINOLE STREET                      8610 S ESCANABA AVENUE               P.O. BOX 816
WYNNE, AR 72396                          CHICAGO, IL 60617                    MOAPA, NV 89025-0816




GARCIA, GRAIG                            GARCIA, HOLLIE P.                    GARCIA, JEANNIN
2522 N. 38TH ST.                         118 LIGHTHOUSE DR                    287 E CROGAN ST
FAIRMONT CITY, IL 62201                  WATSONVILLE, CA 95076                APT 1334
                                                                              LAWRENCEVILLE, GA 30046-7328




GARCIA, JESSE                            GARCIA, JIMMY                        GARCIA, JOHNNA
31081 HEMLOCK AVE                        ADDRESS ON FILE                      1126 COULSON AVE
BARSTOW, CA 92311                                                             KEMMERER, WY 83101




GARCIA, JOHNNA                           GARCIA, JOSE R.                      GARCIA, JULIA L.
1126 COUSLON AVE                         734 SCOTT AVE N                      1903 N MONTICELLO
KEMMERER, WY 83101                       RAINSVILLE, AL 35986                 BIG SPRING, TX 79720




GARCIA, KRISTIN M.                       GARCIA, LAURA E.                     GARCIA, LAURENCE D.
ADDRESS ON FILE                          24 MELWOOD CT                        ADDRESS ON FILE
                                         WATSONVILLE, CA 95076




GARCIA, LEONILO V.                       GARCIA, LORA L.                      GARCIA, LORIANN E.
2609 WASSON RD 54                        19155 SENECA ROAD                    2926 NAVAJO ST.
BIG SPRING, TX 79720                     APPLE VALLEY, CA 92307               LAS VEGAS, NM 87701




GARCIA, MAGDALENA                        GARCIA, MAGGIE                       GARCIA, MARGARET E.
34626 J STREET                           7031 S. ARTESIAN                     ADDRESS ON FILE
BARSTOW, CA 92311                        CHICAGO, IL 60629




GARCIA, MARIA G.                         GARCIA, MARIA                        GARCIA, MARIA
2302 122 STREET                          ADDRESS ON FILE                      ADDRESS ON FILE
BLUE ISLAND, IL 60406




GARCIA, MARITZA                          GARCIA, MAYRA                        GARCIA, MICHAEL P.
1811 S. LIME ST                          1518 CATALPA AVE.                    3106 MAGILL ST.
DEMING, NM 88030                         WAUKEGAN, IL 60085                   ODESSA, TX 79764




GARCIA, MIGDALIA                         GARCIA, NANCY K.                     GARCIA, RAYMOND
318 WASHINGTON PARK                      1410 W PEAR ST                       1816 N 14TH
WAUKEGAN, IL 60085                       DEMING, NM 88030                     LAMESA, TX 79331
GARCIA, ROBERTA           Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                        GARCIA, ROGELIO                    Page GARCIA,
                                                                                645 ofROMANA
                                                                                        1969
1518 CATALPA ST                         36941 COLBY AVE                        301 S BUTRICK ST
WAUKEGAN, IL 60085                      BARSTOW, CA 92311                      WAUKEGAN, IL 60085




GARCIA, ROSEMARIE                       GARCIA, SAMANTHA                       GARCIA, SANDRA
327 AIRPORT BLVD                        ADDRESS ON FILE                        ADDRESS ON FILE
FREEDOM, CA 95019




GARCIA, SHANTEL                         GARCIA, TIFFANI                        GARCIA, VANESSA
5105 HIGHTOWER ST                       131 DUFFIELD AVE                       ADDRESS ON FILE
LAS VEGAS, NM 87701                     GALESBURG, IL 61401




GARCIA, VICTOR F.                       GARCIA, YVETTE                         GARCIA, ZELDA D.
3601 FAUDREE RD APT 921                 ADDRESS ON FILE                        4189 EL LLANO ROAD
ODESSA, TX 79765                                                               LAS VEGAS, NM 87701




GARCIA-HARO, CAROLINE                   GARCIA-RAMIREZ, CINDY L.               GARCIA-TAMAYO, BRICEIDA
391 SHERWOOD DR                         1404 NORTH AVE                         3632 EDWARD DR
GILROY, CA 95020                        ROUND LAKE BEACH, IL 60073             CRETE, IL 60417




GARDAWORLD SECURITY SERV                GARDAWORLD SECURITY SERVICES           GARDEN PLACE COLUMBIA
P.O. BOX 843886                         STEPHAN CRETIER, CHIEF FINANCIAL       ATTN: BUSINESS OFFICE
KANSAS CITY, MO 64184-3886              OFFICER                                735 COLUMBIA AVE
                                        1699 S. HANLEY ROAD, SUITE 350         WATERLOO, IL 62298
                                        ST. LOUIS, IL 63144



GARDEN PLACE RED BUD                    GARDEN PLACE WATERLOO                  GARDENS AT THE HAVEN
ATTN: BUSINESS OFFICE                   ATTN: BUSINESS OFFICE                  40101 BOTH KELLY ROAD
735 COLUMBIA AVE                        735 COLUMBIA AVE                       SPRINGFIELD, OR 97478-8548
WATERLOO, IL 62298                      WATERLOO, IL 62298




GARDENS FOR MEMORY CARE AT EASTON,      GARDINER SERVICE COMPANY               GARDINER, CANDICE J.
THE                                     P.O. BOX 76129                         17406 84TH AVE
500 WASHINGTON ST                       CLEVELAND, OH 44101-4755               TINLEY PARK, IL 60477
EASTON, PA 18042




GARDINER, HEATHER M.                    GARDINER, THOMAS                       GARDNER JAMIE
ADDRESS ON FILE                         P.O. BOX 963                           ADDRESS ON FILE
                                        MOUNTAIN VIEW, WY 82939




GARDNER, AMELIA K.                      GARDNER, ANNA                          GARDNER, BRENDA
22 AUTUMN GLEN DR                       ADDRESS ON FILE                        ADDRESS ON FILE
GLEN CARBON, IL 62034
GARDNER, CHERYL           Case 20-10766-BLS   Doc
                                        GARDNER,    6 Filed
                                                 CHRISTINE R. 04/07/20   Page GARDNER,
                                                                              646 of 1969
                                                                                       CONNOR
1611 ELIZABETH ST                        906 LINCOLN WAY NW                   848 CHIANTI WAY
MADISON, IL 62060                        MASSILLON, OH 44647                  MESQUITE, NV 89027




GARDNER, DAVID                           GARDNER, GABRIEL                     GARDNER, JASMINE
1825 GLENN BLVD SW 328                   303 GILDREST STREET                  ADDRESS ON FILE
FORT PAYNE, AL 35968                     CROSSVILLE, AL 35962




GARDNER, JERRY                           GARDNER, JESSICA                     GARDNER, KAREN J.
1767 SOUTH 21ST ST                       511 POPLAR ST                        ADDRESS ON FILE
EL CENTRO, CA 92243                      COULTERVILLE, IL 62237-1203




GARDNER, KATHY M.                        GARDNER, KENNETH                     GARDNER, MICHAEL P.
11925 MAPLE AVENUE                       19 WELLS AVE                         ADDRESS ON FILE
BLUE ISLAND, IL 60406                    HARVEY, IL 60426




GARDNER, REGINA L.                       GARDNER, TANJA H.                    GARDNER, VIVIAN
1507 WAYNE LANTER AVE                    ADDRESS ON FILE                      85 N 325 W
MADISON, IL 62060                                                             GRANTSVILLE, UT 84029




GARDNER, WENDY                           GARDUNO, LAUREN                      GARDUNO, MAXINE
ADDRESS ON FILE                          612 FRIEDMAN AVE                     P O BOX 233
                                         LAS VEGAS, NM 87701                  MONTEZUMA, NM 87731




GARDUNO, MICHELLE A.                     GARDUNO, OFELIA C.                   GARFIAS, LIZA
600 CAMINO MAXIMILIANO                   ADDRESS ON FILE                      400 E 10TH ST
LAS VEGAS, NM 87701                                                           BIG SPRING, TX 79720




GARFINKEL, MICHAEL M.D.                  GARGAC, DANYELLE                     GARGAC, GAIL
ADDRESS ON FILE                          4 JULIE STREET                       432 CARROLL ST
                                         RUMA, IL 62278                       GRNITE CITY, IL 62040




GARGANTOS, FE                            GARIBALDI, SHANA                     GARIBAY, MIRIAM
2321 HERMON AVE                          3331 CROSSGATE CT                    1709 MIDDAY RD
ZION, IL 60099                           LOGANVILLE, GA 30052-2293            ZION, IL 60099




GARIBAY, SALVADOR                        GARLAND COMPANY INC, THE             GARLAND ESMERALDA
1926 IRVING PKWY                         3800 E 91ST ST                       40 INDIGO DR UNIT 5264
WAUKEGAN, IL 60087                       CLEVELAND, OH 44105                  ELLIJAY, GA 30540
GARLAND M.D., LORRAINE A.Case 20-10766-BLS
                                       GARLANDDoc
                                                NOLL6   Filed 04/07/20   Page GARLAND,
                                                                              647 of 1969
                                                                                       BETTY J.
ADDRESS ON FILE                        1914 BUTLER BLVD                       144 BANNER CIRCLE
                                       EDWARDSVILLE, IL 62025                 ELLIJAY, GA 30540




GARLAND, CARLA S.                      GARLAND, JOHN JR.                      GARLAND, LORRAINE
85 SHADY ACRES LANE                    184 HAYDEN BRIDGE WAY                  ADDRESS ON FILE
ELLIJAY, GA 30536                      SPRINGFIELD, OR 97477




GARLANDO, TERESA M.                    GARLICK, SUZANNE                       GARLINGHOUSE, RACHEL
379 ANTHONY AVE SW                     P.O. BOX 998                           1601 GERBER RD
MASSILLON, OH 44647                    LOGANDALE, NV 89021-0998               EDWARDSVILLE, IL 62025




GARMAN, CHARLES                        GARMANY, LISA D.                       GARMANY, LISA D.
1235 SENTINEL RIDGE                    ADDRESS ON FILE                        2134 COUNTY ROAD 261
MESQUITE, NV 89034                                                            FORT PAYNE, AL 35967




GARMON, JACQUELINE                     GARMON, JESSICA                        GARMS, JASON
3914 W 84TH ST                         1133 HWY 11 S                          7021 STALLION DR
CHICAGO, IL 60652                      SOCIAL CIRCLE, GA 30025-5011           EDWARDSVILLE, IL 62025




GARN, DAVID D.                         GARNAFAY M WORKHEISER                  GARNATI, CHARLES R.
587 E SLEIGH RIDE LN                   145 N WHITESBORO ST                    500 CALIFORNIA ST
P.O. BOX 202                           GALESBURG, IL 61401                    CARTERVILLE, IL 62918
GRANTSVILLE, UT 84029




GARNER DON                             GARNER, DAWN L.                        GARNER, DESARAI
15 A CRIMSON COURT                     212 MCVICKER DR 212 MCVICKER DR        211 GROSS RD
HIGHLAND, IL 62974                     ENERGY, IL 62933                       LEXINGTON, TN 38351




GARNER, ERNIE                          GARNER, JADE D.                        GARNER, JANNA
18954 W. ROOSEVELT RD                  ADDRESS ON FILE                        5700 COLUMBUS RD UNIT 5
LAKE VILLA, IL 60046                                                          DEMING, NM 88030




GARNER, JOEL                           GARNER, KELLY N.                       GARNER, LINDA
45 STONEHAVEN CIRCLE                   211 N 14TH ST                          ADDRESS ON FILE
JACKSON, TN 38305                      BELLEVILLE, IL 62220




GARNER, MATTHEW F.                     GARNER, MATY                           GARNER, MATY
ADDRESS ON FILE                        14175 N COUNTRY CLUB LN                ADDRESS ON FILE
                                       MOUNT VERNON, IL 62864
GARNER, OKEMA            Case 20-10766-BLS
                                       GARNER,Doc
                                               PAM 6      Filed 04/07/20   Page GARNER,
                                                                                648 of PAMELA
                                                                                        1969 S.
900 LEGACY PARK DR APT. 238            PETTY CASH                               109 CALARY LANE P.O. BOX 397
LAWRENCEVILLE, GA 30043                72342                                    JUDSONIA, AR 72081




GARNER, PAMELA S.                     GARNER, VIVIAN J.                         GARNISH WITH A SMILE
ADDRESS ON FILE                       ADDRESS ON FILE                           1848 ONYX ALLEY
                                                                                EUGENE, OR 97403




GAROUTTE, LAUREN E.                   GARRARD, PATTI A.                         GARRARD, RYAN K.
37 HICKORY HILL LN                    ADDRESS ON FILE                           2196 COUNTY RD 102
GLEN CARBON, IL 62034                                                           RAINSVILLE, AL 35986-0000




GARRATT CALLAHAN CO                   GARRATT-CALLAHAN CO                       GARRATT-CALLAHAN COMPANY
50 INGOLD ROAD                        100 FISK DRIVE SW                         50 INGOLD ROAD
BURLINGAME, CA 94010                  ATLANTA, GA 30336                         BULINGAME, CA 94010




GARRATT-CALLAHAN COMPANY              GARREN, JEFFREY                           GARRETT CALLAHAN CO
50 INGOLD ROAD                        19806 COUNTY HWY 18                       100 FISK DRIVE SW
BURLINGAME, CA 94010                  CENTRALIA, IL 62801                       ATLANTA, CA 30336




GARRETT CALLAHAN,CORP                 GARRETT CAROLYN S                         GARRETT CONNIE
50 INGOLD ROAD                        434 CHURCH STREET                         250 GUS THOMAS ROAD
BURLINGAME, CA 94010-2206             BLUE RIDGE, GA 30513-0040                 BLAIRSVILLE, GA 30512




GARRETT KEVIN M                       GARRETT PHILLIP P                         GARRETT, ABBEY N.
9551 MURPHY HWY                       98 WINGATE DR                             ADDRESS ON FILE
BLAIRSVILLE, GA 30512                 AVON, IL 61415




GARRETT, BONNIE M.                    GARRETT, CELIA                            GARRETT, DEBRA K.
1683 MESCAL ST.                       9813 S CALUMET AVE                        148 RODGERS ST
SEASIDE, CA 93955                     CHICAGO, IL 60628                         MARIANNA, AR 72360




GARRETT, DONALD                       GARRETT, ERICA                            GARRETT, GLENN E.
4211 BELDEN DR SE                     975 VALLEY VIEW                           24888 KINGPIN LOOP
UHRICHSVILLE, OH 44683-1069           MESQUITE, NV 89024                        VENETA, OR 97487




GARRETT, JESSI                        GARRETT, JUANITA B.                       GARRETT, KASSIE
ADDRESS ON FILE                       P.O. BOX 205                              3160 BARBER RD
                                      DOWELL, IL 62927                          JAMESVILLE, NC 27846
GARRETT, LORENE         Case 20-10766-BLS   Doc
                                      GARRETT,    6 Filed 04/07/20
                                               MYLIEN                Page GARRETT,
                                                                          649 of 1969
                                                                                   NANCY
ADDRESS ON FILE                       316 KENNEDY DR                      ADDRESS ON FILE
                                      ANTIOCH, IL 60002




GARRETT, REBECCA G.                   GARRETT, REGINA A.                  GARRETT, SAMANTHA P.
ADDRESS ON FILE                       1 FAIRWAY DRIVE                     ADDRESS ON FILE
                                      MT. VERNON, IL 62864




GARRETT, WAYNE W.                     GARRIDO CRUZ                        GARRIDO, NEFTALY
909 DRIVER RD NW                      1000 STADIUM AVE                    ADDRESS ON FILE
FORT PAYNE, AL 35967-8351             BIG SPRING, TX 79720-0000




GARRISON GROSS                        GARRISON JR, WILLIAM R.             GARRISON SARAH MARIE
1801 TESTA DRIVE                      9695 N. RAINBOW LANE                2291 E MONTGOMERY RD
MARION, IL 62959                      MT. VERNON, IL 62864                HILLSDALE, AL 49242




GARRISON, JOEL                        GARRISON, PATRICK                   GARSA, AREBI
314 WALTON STREET                     ADDRESS ON FILE                     2071 EMERALD DRIVE
MONROE, GA 30655                                                          LONGMONT, CO 80504




GARSKY, THOMAS                        GARTMAN, ENA                        GARTRELL, ANTONIO B.
961 ETHERTON RD                       3700 HAMILTON ST                    116 WILLOW RUN
MURPHYSBORO, IL 62966                 BIG SPRING, TX 79720-6861           NORTH AUGUSTA, GA 29841-4062




GARTZKE, CHARLOTTE L.                 GARVEY - ITV, PATRICK               GARVEY, JOHN
100 DEER COURT                        ADDRESS ON FILE                     4733 N. WINTHROP
VALMEYER, IL 62295                                                        CHICAGO, IL 60640




GARVEY, PATRICK J.                    GARVEY, TIMOTHY                     GARWOOD, MICHAEL
ADDRESS ON FILE                       546 LONGHI RD                       17729 E SHADOW LAKE
                                      COLLINSVILLE, IL 62234              MT VERNON, IL 62864




GARY D LANE                           GARY D WICKS                        GARY DONSON
3780 THACKER HOLLOW ROAD              599 E BROOKS ST                     1460 G STREET
JUNCTION, IL 62954-2716               GALESBURG, IL 61401                 SPRINGFIELD, OR 97477




GARY E. BRANDT, M.D.                  GARY EDDY, CRNA                     GARY KAYSER
ADDRESS ON FILE                       43 PRIVATE DRIVE 2267               872 IMPALA AVE
                                      SOUTH POINT, OH 45680               EUGENE, OR 97404
GARY KILPATRICK             Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                          GARY L BENNETT                 Page GARY
                                                                              650 MofMUNCEY
                                                                                      1969
109 E JACKSON ST                          2593 SHOREWOOD DR                   205 ROSE BUSH HILL ROAD
ABINGDON, IL 61410                        FLORISSANT, MO 63031                LOUISA, KY 41230




GARY MARTOCCIO; SPIELBERGER LAW           GARY OLSON                          GARY R POQUETTE
GROUP                                     825 E SOUTH ST                      ADDRESS ON FILE
4890 W KENNEDY BLVD, STE 950              GALESBURG, IL 61401
TAMPA, FL 33609




GARY REAGAN, M.D.                         GARY SANCHEZ PHOTOGRAPHY            GARY SIMPSON
ADDRESS ON FILE                           412 LOIS DRIVE                      286 283RD ST
                                          LAS VEGAS, NM 87701                 ALEXIS, IL 61412




GARY W JERVIS                             GARY, JASPER                        GARY, KIMBERLY A.
2324 WITTENBURG ST                        ADDRESS ON FILE                     ADDRESS ON FILE
LOUISVILLE, OH 44641-0000




GARZA, AMY M.                             GARZA, ANNETE                       GARZA, DAVID A.
ADDRESS ON FILE                           HC 31 BOX 45A                       236 WEST DIMAGGIO DRIVE
                                          LAS VEGAS, NM 87701                 TOOELE, UT 84074




GARZA, ELIZABETH                          GARZA, ELIZABETH                    GARZA, JULIA
10110 W TALMADGE AVE                      914 HICKORY ST                      1005 EAST 21ST
BEACH PARK, IL 60099                      WAUKEGAN, IL 60085                  BIG SPRING, TX 79720




GARZA, LUCAS                              GARZA, MARIA E.                     GARZA, SALVADOR
ADDRESS ON FILE                           ADDRESS ON FILE                     1519 N BROAD ST
                                                                              GALESBURG, IL 61401




GARZA, VIRGINIA                           GASBER, LINDA UTES                  GASCA, BRENDA L.
P.O. BOX 2320                             4422 ANDETTE AVE NW                 ADDRESS ON FILE
HELENDALE, CA 92342                       MASSILLON, OH 44647-1272




GASCA, BRENDA L.                          GASCA, ROBERTO                      GASH, NOEL
12788 W WAKEFIELD DR                      P.O. BOX 1743                       ADDRESS ON FILE
BEACH PARK, IL 60083                      MESQUITE, NV 89024




GASKIN, ADAM                              GASKINS, LEAH C.                    GASKINS, SARAH L.
270 WESLEY LN                             ADDRESS ON FILE                     325 TOWER RD
ATTALLA, AL 35954                                                             MCKENZIE, TN 38201
GASMEDIX                 Case 20-10766-BLS   Doc
                                       GASMEDIX, LLC6     Filed 04/07/20   Page GASPAR,
                                                                                651 of CANDELARIA
                                                                                        1969
505 W MAIN ST                           505 W MAIN ST                           ADDRESS ON FILE
NEWBURGH, IN 47630                      NEWBURGH, IN 47630




GASPAR, VERONICA                        GASPERSON, CYNTHIA C.                   GASPERSON, JOANNA
206 POOLE CIR                           ADDRESS ON FILE                         ADDRESS ON FILE
FYFFE, AL 35971




GASS CODY                               GASS, CHRISTOPHER                       GASS, JUDY L.
6541 KONARCIK RD                        1082 COUNTY ROAD 315                    ADDRESS ON FILE
WATERLOO, IL 62298                      BRYANT, AL 35958




GASTELUM, DAISY                         GASTILE, WANDA                          GASTON, GREGORY
ADDRESS ON FILE                         1205 E 164TH ST                         P.O. BOX 116
                                        SOUTH HOLLAND, IL 60473                 WADLEY, GA 30477-0116




GASTON, JASON E.                        GATEHOUSE MEDIA OPERATING LLC           GATEHOUSE MEDIA
27011 THORNWOOD BLVD.                   THE STATE JOURNAL REGISTER              154 E SIMMONS ST
PLAINFIELD, IL 60585                    P.O. BOX 219                            SUITE 2
                                        SPRINGFIELD, IL 62705-0219              GALESBURG, IL 61401




GATELEY, BRIAHNNA                       GATELY, HEATHER L.                      GATES VIRGINIA BOWERS
5070 HWY 104 N                          850 TURTLE COVE                         35451 1ST AVE S APT 7
CEDAR GROVE, TN 38321                   MESQUITE, NV 89027                      FEDERAL WAY, WA 98003-7038




GATES, ASHLEE M.                        GATES, CARROLL                          GATES, DEBORAH L.
ADDRESS ON FILE                         P.O. BOX 1020                           1935 MOSCOW RD
                                        MARFA, TX 79843                         DONGOLA, IL 62926




GATES, DERRICK A.                       GATES, JOY L.                           GATES, KATHY M.
11758 S ELIZABETH                       ADDRESS ON FILE                         ADDRESS ON FILE
CHICAGO, IL 60643




GATES, VIRGINIA B.                      GATEWAY FOUNDATION                      GATEWAY FS, INC.
3536 W 25TH AVE                         25480 W CEDARCREST LN                   P.O. BOX 100
EUGENE, OR 97405                        LAKE VILLA, IL 60046                    RED BUD, IL 62278




GATEWAY GIFT SHOP                       GATEWAY GRIZZLIES                       GATEWAY HEALTH PAYMENTS - REFUNDS
2100 MADISON AVE                        2301 GRIZZLIE BEAR BLVD                 PNC BANK LOCK BOX 645171
GRANITE CITY, IL 62040                  SAUGET, IL 62206                        500 1ST AVE
                                                                                PITTSBURGH, PA 15219
GATEWAY HEALTH PLAN      Case 20-10766-BLS
                                       GATEWAY  Doc    6 Filed 04/07/20
                                                 III LITHOTRIPSY          Page GATEWAY
                                                                               652 of 1969
                                                                                       INDUSTRIAL POWER, INC.
P.O. BOX 830430                        P.O. BOX 166465                         P.O. BOX 843715
BIRMINGHAM, AL 35283-0430              IRVING, TX 75038                        KANSAS CITY, MO 64184-3715




GATEWAY MALPRACTICE ASSISTANCE         GATEWAY MEDICAL CENTER                  GATEWAY MEDICARE HMO
FUND, INC.                             651 DUNLOP LN                           P.O. BOX 830500
208 SOUTH LASALLE STREET               CLARKSVILLE, TN 67040                   BIRMINGHAM, AL 35283
SUITE 814
CHICAGO, IL 60604



GATEWAY MEDICARE                       GATEWAY PHOTOGRAPHY                     GATEWAY REG AUX GIFT SHOP
444 LIBERTY AVENUE                     BOB HAENTZLER                           2100 MADISON AVE
SUITE 2100                             105 KURKEN DR                           GRANITE CITY, IL 62040
PITTSBURGH, PA 15222                   WATERLOO, IL 62298




GATEWAY REG AUX GIFT SHOP              GATEWAY REG MED CTR AUXILIARY           GATEWAY REG MED CTR AUXILIARY
2100 MADISON AVENUE                    2100 MADISON AVE                        2100 MADISON AVE
GRANITE CITY, IL 62040                 GRANITE CITY, IL 62040                  GRANTIE CITY, IL 62040




GATEWAY REG MED CTR AUXILIARY          GATEWAY REG MED CTR                     GATEWAY REG MEDICAL CTR
2100 MADISON AVENUE                    AUXILLARY                               GIFT SHOP
GRANITE CITY, IL 62040                 2100 MADISON AVE                        2100 MADISON AVE
                                       GRANITE CITY, IL 62040-0000             GRANITE CITY, IL 62040




GATEWAY REGIONAL MEDICAL CENTER        GATEWAY REGIONAL MEDICAL CTR            GATEWAY REGIONAL MEDICAL CTR
ENTITY 0172                            AUXILARY                                MEDICAL STAFF OFFICE
2100 MADISON AVE                       2100 MADISON AVE                        2100 MADISON AVE
GRANITE CITY, IL 62040                 GRANITE CITY, IL 62040                  GRANITE CITY, IL 62040




GATEWAY REGIONAL MEDICAL CTR           GATEWAY REGIONAL MEDICAL CTR.           GATEWAY SEWER & DRAIN, INC
MEDICAL STAFF                          MEDICAL STAFF OFFICE                    11070 GRAVOIS INDUSTRIAL CT
2100 MADISON AVE.                      2100 MADISON AVE                        SUNSET HILLS, MO 63128
GRANITE CITY, IL 62040                 GRANITE CITY, IL 62040




GATEWOOD, TASHA J.                     GATHERIGHT, MARKEISHA                   GATINEAU, JEAN A.
ADDRESS ON FILE                        16781 CRANE AVE                         217 MAR MONTE AVE
                                       HAZEL CREST, IL 60429                   LA SELVA BEACH, CA 95076




GATINEAU, YOKO                         GATLIN KATHY M                          GATLIN, RANDALL
217 MAR MONTE AVE                      ADDRESS ON FILE                         5281 STATE RT 157
LA SELVA BEACH, CA 95076                                                       EDWARDSVILLE, IL 62025




GATO, JENNIFER ANTONIETTE A.           GATO, ULYSEUS                           GATOR EVENTS
2609 WASSON ROAD APT.68                2609 WASSON RD APT 68                   2171 GRAND AVE
BIG SPRING, TX 79720                   BIG SPRINGS, TX 79720                   GALESBURG, IL 61401
GATSON, TOYA N.          Case 20-10766-BLS
                                       GATSON,Doc
                                              TOYA6       Filed 04/07/20    Page GATTI,
                                                                                 653 of   1969 G.
                                                                                        ANGELICA
514 JOHNSTON STREET                    1229 E MAIN ST                            920 CARSON ST
GALESBURG, IL 61401                    GALESBURG, IL 61401                       BARSTOW, CA 92311




GATTI-LAND                             GATTIS, NATALIE                           GATTON, BARBARA D.
711 12TH ST.                           ADDRESS ON FILE                           ADDRESS ON FILE
ASHLAND, KY 41101




GATTON, CINDY J.                       GATTON, CINDY J.                          GAUDER, RACHEL
350 WEST LAKE DR                       ADDRESS ON FILE                           5986 BLACK DIAMOND RD
EDWARDSVILLE, IL 62025                                                           NORTH LAWRENCE, OH 44666




GAUDREAULT, KAREN                      GAUEN, KATHLEEN                           GAUGHAN ELIZABETH A
3118 EAGLE CREEK                       3913 ASHFORD LN                           545 BRISTOL LN
BLOOMINGTON, IL 61701                  GRANITE CITY, IL 62040                    GRAYSLAKE, IL 60030




GAUGHAN, MYRA M.                       GAULT, STORMY                             GAULT, VICTORIA K.
ADDRESS ON FILE                        1708 CHURCH ST                            ADDRESS ON FILE
                                       BARSTOW, CA 92311




GAUMARD SCIENTIFIC                     GAUNTT, GLENDA                            GAUSE, ANASTASIA
14700 SW 136 STREET                    1370 CORNISH MTN CH RD SE                 ADDRESS ON FILE
MIAMI, FL 33196                        OXFORD, GA 30054




GAUT, RICK                             GAUTAM MEDICAL AND WELLNESS CLINIC        GAUTAM, RAVINDRA
6500 BLOUGH AVE SW                     930 WEST MAIN ST                          930 WEST MAIN ST.
NAVARRE, OH 44662                      BARSTOW, CA 92311                         BARSTOW, CA 92311




GAUTHIER, JEAN-PAUL J.                 GAUTHIER, MONIKA L.                       GAUTO, SUZANNE
2110 DOLPHIN DR                        2110 DOLPHIN DR                           2105 WINSDOR DRIVE
APTOS, CA 95003                        APTOS, CA 95003                           MARION, IL 62959




GAUZE, GARRY                           GAUZE, WENDY                              GAVILON LLC
1628 TOMAHAWK ROAD                     P.O. BOX 1653                             1331 CAPITOL AVE
INEZ, KY 41224                         INEZ, KY 41224                            OMAHA, NE 68102




GAVILSKY, LAWRENCE                     GAVIN PHILLIPS                            GAVIN, JENNIFER E.
1387 LEE STREET                        135 LAKELAND DRIVE                        384 SWEETWOOD WAY
GRANITE CITY, IL 62040                 GALESBURG, IL 61401                       WATSONVILLE, CA 95076
GAVLICK ERIC J             Case 20-10766-BLS
                                         GAXIOLA,Doc  6 Filed 04/07/20
                                                  CRYSTAL                Page GAY
                                                                              654, BURDETTE
                                                                                   of 1969 L.
183 COOL STONE BEND                      19651 CHUPAROSA RD                   2414 DELAWARE AVE SW
LAKE IN THE HILLS, IL 60156              APPLE VALLEY, CA 92307               CANTON, OH 44706




GAY GRETHEL                            GAY, DEWANA                            GAY, GRETHEL
240 KY HWY 15 LOT 36                   ADDRESS ON FILE                        240 HIGHWAY 15 SOUTH
JACKSON, KY 41339                                                             TRAILER 36
                                                                              JACKSON, KY 41339-8068




GAY, LAWANA                            GAY, TERRI MICHELE                     GAY, WILLIAM J.
402 W IRONWOOD ST P.O. BOX 181         3140 GOOLSBY RD                        ADDRESS ON FILE
DAHLGREN, IL 62828                     UNIT B
                                       BLYTHE, GA 30805




GAY, WILLIAM                           GAYHART, EDWARD                        GAYHART, JOYCE
ADDRESS ON FILE                        2786 CHALFORD CR NW                    1179 N GRAPE ST
                                       NORTH CANTON, OH 44720                 COQUILLE, OR 97423-1089




GAYHEART, PHYLLIS J.                   GAYLE MEJIA                            GAYLE MEJIA
206 26TH ST NW                         700 ARNOLD STREET                      ADDRESS ON FILE
MASSILLON, OH 44647                    GALESBURG, IL 61401-0000




GAYLES, CHANEL                         GAYLORD PEDIGO                         GAZETTE DEMOCRAT
417 CALUMET BLVD                       127 KNOX RD 1000N                      P.O. BOX 529
HARVEY, IL 60426                       GALESBURG, IL 61401                    ANNA, IL 62906




GAZETTE, KEMMERER                      GAZEY, ALAN                            GAZI, HASHIM H.
P.O. BOX 30                            105 PORTSIDE LN                        710 S ILLINOIS AVE APT. 324
KEMMERER, WY 83101-0030                NEW BERN, NC 28562                     CARBONDALE, IL 62901




GAZI, HASHIM H.                        GAZULA, LALITHA                        GBVCC
ADDRESS ON FILE                        2700 SUMMIT DR. APT 304                P.O. BOX 1506
                                       GLENVIEW, IL 60025                     LYMAN, WY 82937




GBWH NASHVILLE LLC                     GC CUISINE & CRYSTAL GARDEN            GCA - QUASIUS INVESTMENT CORP
NEW HORIZONS COMPUTER LEARNING CTR     1230 UNIVERSITY DRIVE                  7650 W COURTNEY CAMPBELL CSWY
P.O. BOX 154                           EDWARDSVILLE, IL 62025                 SUITE 150
MEMPHIS, TN 38101                                                             TAMPA, FL 33607




GCA - QUASIUS INVESTMENT CORP          GCA TECHNOLOGY SERVICES                GCA
7650 W. COURTNEY CAMPBELL CAUSEWAY     P.O. BOX 26074                         7650 W COURTNEY CAMPBELL CAUSEWAY
SUITE 150                              TAMPA, FL 33623                        SUITE 150
TAMPA, FL 33607                                                               TAMPA, FL 33607
GCHS CHEER PARENT ASSOCCase 20-10766-BLS     Doc INC.
                                     GCS SERVICE,  6 Filed 04/07/20     Page GCU
                                                                             655 of 1969
87 CATALPA DR                        24673 NETWORK PLACE                    P.O. BOX 3510
C/O JUDI BLOMME                      CHICAGO, IL 60673-1246                 SALT LAKE CITY, UT 84110
GRANITE CITY, IL 62040




GCX CORPORATION                       GE CAPITAL CORP                       GE CAPTIAL
3875 CYPRESS DR                       P.O. BOX 641419                       20225 WATERTOWER BLVD., STE 300
PETALUMA, CA 94954                    PITTSBURGH, PA 15264-1419             BROOKFIELD, WI 53045




GE COMPANY DATEX-OHMEDA, INC          GE HEALTHCARE (SERVCONT)              GE HEALTHCARE (EQUIP&ACC)
P.O. BOX 641936                       P.O. BOX 96483                        P.O. BOX 641419
PITTSBURGH, PA 15264-0000             CHICAGO, IL 60693                     PITTSBURGH, PA 15264-1419




GE HEALTHCARE (EQUIP&ACC)             GE HEALTHCARE 0198                    GE HEALTHCARE 1706
P.O. BOX 843553                       P O BOX 641419                        P O BOX 641419
DALLAS, TX 75284-3553                 PITTSBURGH, PA 15264-1419             PITTSBURGH, PA 15264-1419




GE HEALTHCARE DBA DATEX OHMEDA, INC   GE HEALTHCARE DIAG IMAG (EQUIP        GE HEALTHCARE EQUIPMENT FINANCE
P.O. BOX 641936                       2984 COLLECTIONS CTR DR               P.O. BOX 645811
PITTSBURG, PA 15264-1936              CHICAGO, IL 60693                     PITTSBURG, PA 15219




GE HEALTHCARE EQUIPMENT FINANCE       GE HEALTHCARE EQUIPMENT FINANCE       GE HEALTHCARE FIN SERV, INC
P.O. BOX 645811                       P.O. BOX 645811                       P.O. BOX 641419
PITTSBURGH, PA 15264                  PITTSBURGH, PA 15264-1419             ACCT 137572269
                                                                            PITTSBURGH, PA 15264-1419




GE HEALTHCARE FIN SERV, INC           GE HEALTHCARE FIN SERV, INC           GE HEALTHCARE FINACIAL SERV
P.O. BOX 641419                       POB 641419                            PO BOX 641419
PITTSBURGH, PA 15264-1419             PITTSBURGH, PA 15264-1419             PITTSBURGH, PA 15264




GE HEALTHCARE FINANCIAL SERVICES      GE HEALTHCARE FINANCIAL SVCS          GE HEALTHCARE GLOBAL HOLDINGS INC
P O BOX 654811                        P.O. BOX 641419                       P.O. BOX 641419
PITTSBURGH, PA 15264-0000             PITTSBURGH, PA 15264                  GE HFS LLC
                                                                            PITTSBURGH, PA 15264-1419




GE HEALTHCARE IITS USA CORP           GE HEALTHCARE IITS USA CORP           GE HEALTHCARE IITS USA CORP
15724 COLLECTIONS CENTER DR           15724 COLLECTIONS CTR. DR.            15724 COLLECTIONS CTR. DR.
CHICAGO, IL 60693                     BANK OF AMERICA                       CHICAGO, IL 60693
                                      CHICAGO, IL 60693




GE HEALTHCARE ITS                     GE HEALTHCARE OEC                     GE HEALTHCARE OEC
15724 COLLECTIONS CENTER DR           2984 COLLECTIONS CENTER DRIVE         75 REMITTANCE DRIVE
CHICAGO, IL 60693                     CHICAGO, IL 60693                     SUITE 1080
                                                                            CHICAGO, IL 60675-1080
GE HEALTHCARE          Case 20-10766-BLS     Doc 6 Filed 04/07/20
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2984 COLLECTIONS CENTER DRIVE        5517 COLLECTIONS CENTER DRIVE            75 REMITTANCE DRIVE
OEC                                  CHICAGO, IL 60693                        CHICAGO, IL 60675-1080
CHICAGO, IL 60693




GE HEALTHCARE                       GE HEALTHCARE                             GE HEALTHCARE
P.O. BOX 640200                     P.O. BOX 843553                           P.O. BOX 96483
PITTSBURGH, PA 15264-0200           DALLAS, TX 75284-3553                     CHICAGO, IL 60693




GE HEALTHCARE                       GE HEALTHCARE, A DIVISION OF THE          GE HFS LLC
PO BOX 96483                        GENERAL ELECTRIC COMPANY 0159             HLTHCR EQUIPMENT FINANCE
CHICAGO, IL 60693                                                             P.O. BOX 645811
                                                                              PITTSBURGH, PA 15219




GE HFS, LLC                         GE HFS, LLC                               GE HFS, LLC
12854 KENAN DR, STE 201             12854 KENAN DR, STE 201                   HEALTHCARE EQUIPMENT FINANCE
JACKSONVILLE, FL 32258              JACKSONVILLE, UT 32258                    P O BOX 645811
                                                                              PITTSBURGH, PA 15264-1419




GE HFS, LLC                         GE HFS, LLC                               GE HFS, LLC
HEALTHCARE EQUIPMENT FINANCE        HEALTHCARE EQUIPMENT FINANCE              HEALTHCARE EQUIPMENT FINANCE
P.O. BOX 641419                     P.O. BOX 645811                           P.O. BOX 645811
PITTSBURGH, PA 15264-1419           PITTSBURGH, PA 15219                      PITTSBURGH, PA 15264-1419




GE HFS, LLC                         GE HLTHCR INC (EQUIP & ACC)               GE MED SYS INFO TECH (ACC&SUPP
P.O. BOX 414, W-490                 P.O. BOX 96483                            P.O. BOX 96483
MILWAUKEE, WI 53201                 CHICAGO, IL 60693-6483                    CHICAGO, IL 60693




GE MED SYS INFO TECH (ACC&SUPP      GE MED SYS INFO TECH (EQUIPMT             GE MED SYSTEMS INFO TECH
P.O. BOX 96483                      5517 COLLECTIONS CTR DR                   5517 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693-6483              CHICAGO, IL 60693                         CHICAGO, IL 60693




GE MED SYSTEMS INFO TECH            GE MED SYSTEMS, ULTRASOUND                GE MEDICAL SYS IT
5517 COLLECTIONS CTR DR             & PRIMARY CARE DIAGNOSTICS LLC            5517 COLLECTIONS CTR DR
CHICAGO, IL 60693                   P.O. BOX 74008831                         CHICAGO, IL 60693
                                    CHICAGO, IL 60674-8831




GE MEDICAL SYSTEM INFORMATION       GE MEDICAL SYSTEMS INFO TECH, INC.        GE MEDICAL SYSTEMS ULTRASOUND
TECHNOLOGIES INC (ACC&SUP)          5517 COLLECTIONS CTR DR                   P.O. BOX 74008831
5517 COLLECTIONS CENTER DR          CHICAGO, IL 60693                         CHICAGO, IL 60674-8831
CHICAGO, IL 60693




GE MEDICAL SYSTEMS                  GE MEDICAL SYSTEMS                        GE MEDICAL SYSTEMS
ACCOUNTS RECEIVABLE                 ATTN: ACCOUNTS RECEIVABLE                 ATTN: ACCOUNTS RECEIVABLE
5517 COLLECTIONS CNTR DR            5517 COLLECTION CTR DR                    5517 COLLECTIONS CNTR DR
CHICAGO, IL 60693                   CHICAGO, IL 60693                         CHICAGO, IL 60693
GE MEDICAL SYSTEMS      Case 20-10766-BLS    DocSYSTEMS
                                      GE MEDICAL  6 Filed 04/07/20    Page GE
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                                                                              MEDICAL SYSTEMS
P O BOX 96483                         P.O. BOX 402076                      ULTRASOUND & PRIMARY CARE
CHICAGO, IL 60693                     ATLANTA, GA 30384-2076               75 REMITTANCE DR. STE1080
                                                                           CHICAGO, IL 60675-1080




GE MEDICAL SYSTEMS                    GE MEDICAL SYSTEMS                   GE MEDICAL SYSTEMS
ULTRASOUND & PRIMARY CARE             ULTRASOUND & PRIMARY CARE            ULTRASOUND PRIMARY CARE DIAGNOSTICS
P.O. BOX 74008831 STE 1080            P.O. BOX 74008831                    P.O. BOX 74008831 STE 1080
CHICAGO, IL 60675-1080                CHICAGO, IL 60674-8831               CHICAGO, IL 60675-1080




GE MEDICAL SYSTEMS                    GE MEDICAL SYSTM INFO TEC INC        GE MEDICAL SYSTM INFO TEC INC
ULTRASOUND PRIMARY CARE DIAGNOSTICS   5517 COLLECTIONS CTR DR              5517 COLLECTIONS CTR DR
P.O. BOX 74008831                     ATTN: ACCOUNTS RECEIVABLE            CHICAGO, IL 60693
CHICAGO, IL 60674-8831                CHICAGO, IL 60693-0000




GE MEDICAL                            GE MEDICAL                           GE OEC MED. SYSTEMS, INC.
5517 COLLECTIONS CENTER D             P.O. BOX 96483                       2984 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693                     CHICAGO, IL 60693                    ATTN. ACCTS RECEIVABLE
                                                                           CHICAGO, IL 60693




GE OEC MEDICAL SYSTEMS INC            GE PRECISION HEALTHCARE LLC          GE WILLIAMS FURNITURE
2984 COLLECTION CENTER DR             P.O. BOX 96483                       564 E CHRUCH STREET
ATTN. ACCTS RECEIVABLE                CHICAGO, IL 60693                    LEXINGTON, TN 38351
CHICAGO, IL 60693




GEAN, RAMEY                           GEANNIA GRAY                         GEARHEART CAROL A
8418 S WABASH AVE                     ADDRESS ON FILE                      362 ELISHA PAYNE CIRCLE
CHICAGO, IL 60619                                                          BLAIRSVILLE, GA 30512




GEBBIA, PHILIP                        GEBHART, AMANDA L.                   GEBRU, CATHY S.
310 RALLS LANE                        ADDRESS ON FILE                      ADDRESS ON FILE
DONGOLA, IL 62926




GE-DATEX-OHMEDA, INC.                 GEDDIS INC.                          GEE, DOLORES J.
P.O. BOX 641936                       2221 PADDOCK CIRCLE                  11723 S ASHLAND AVENUE
PITTSBURGH, PA 15264-1936             DUNEDIN, FL 34698                    CHICAGO, IL 60643-5011




GEE, JAMIE C.                         GEE, KENDRA L.                       GEE, PHYLLIS
ADDRESS ON FILE                       1855 OAK ST APT 1                    1407 E ELM
                                      EUGENE, OR 97401                     WEST FRANKFORT, IL 62896




GEER, ANDREA Y.                       GEER, CHARLES                        GEER, KELLI A.
ADDRESS ON FILE                       2819 MYRTLE AVE                      ADDRESS ON FILE
                                      GRANITE CITY, IL 62040
GEERY, EMMETT              Case 20-10766-BLS
                                         GEHA INCDoc 6      Filed 04/07/20   Page GEHA
                                                                                  658 INC
                                                                                       of 1969
ADDRESS ON FILE                           P.O. BOX 4665                           P.O. BOX 4665
                                          INDEPENDCE, MO 64051-4665               INDEPENDENCE, MO 64051




GEHA INC                                  GEHA THE RAWLINGS CO LLC                GEHA
P.O. BOX 4665                             P.O. BOX 589                            ATTN REFUNDS
INDEPENDENCE, MO 64051-4665               LAGRANGE, KY 40031                      P.O. BOX 981707
                                                                                  EL PASO, TX 79998-1707




GEHA                                      GEHA                                    GEHA
ATTN: FINANCE/REFUNDS                     ATTN: FINANCE/REFUNDS                   C/O PMCS
INDEPENDENCE, MO 64051-4665               P.O. BOX 4665                           16767 N. PERMIMETER DR 130
                                          INDEPENDENCE, MO 64051-4665             SCOTTSDALE, AZ 85260




GEHA                                      GEHA                                    GEHA
P O BOX 410014                            P.O. BOX 21542                          P.O. BOX 21542
KANSAS CITY, MO 64179-9775                EAGAN, MN 55121                         EAGAN, MN 55121-0542




GEHA                                      GEHA                                    GEHA
P.O. BOX 21542                            P.O. BOX 21542                          P.O. BOX 21542
EAGON, MN 55121-0542                      EAGON, MN 55121-9930                    SAINT PAUL, MN 55121-0542




GEHA                                      GEHA                                    GEHA
P.O. BOX 30783                            P.O. BOX 410014                         P.O. BOX 410014
SALT LAKE CITY, UT 84130                  ATTN REFUNDS                            ATTN REFUNDS
                                          KANSAS CITY, MO 64179-9775              KANSAS CITYE, MO 64179-9775




GEHA                                      GEHA                                    GEHA
P.O. BOX 410014                           P.O. BOX 981707                         PO BOX 21542
KANSAS CITY, MO 64179-9775                EL PASO, TX 79998-1707                  EAGAN, MN 55121




GEHA                                      GEHC                                    GEHRES, RANDALL
POB 4665                                  310 NE MULBERRY                         1989 PRIMROSE LN
INDEPENDENCE, MO 64051-4665               LEES SUMMIT, MO 64086                   ORRVILLE, OH 44667-2312




GEHRIG, MEGAN N.                          GEHRING, ROBIN                          GEHRING, SARA MARIE
ADDRESS ON FILE                           5082 HWY 78 N                           ADDRESS ON FILE
                                          WHEATLEY, AR 72392




GEHRLICH, LINDA                           GEIB, GLENN                             GEICO CASUALTY CO
1419 LINCOLN WAY NW                       10262 W CHAPLIN AVE                     ONE GEICO CENTER
MASSILLON, OH 44647                       BEACH PARK, IL 60099                    MACON, GA 31295
GEICO CASUALTY CO        Case 20-10766-BLS    Doc 6 INSURANCE
                                       GEICO GENERAL   Filed 04/07/20
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                                                                                   INSURANCE
P.O. BOX 509119                        ONE GEICO CENTER                      ONE GEICO PLAZA
SAN DIEGO, CA 92150-0000               MACON, GA 31296                       MACON, GA 31208




GEICO                                 GEIGER LISA R                          GEIGER, GILBERT
P.O. BOX 9518                         2095 COSMOLEDO ST                      3630 MARTINDALE RD NE
FREDRICKSBURG, VA 22403-9518          EUGENE, OR 97402                       CANTON, OH 44714




GEIGER, RONALD                        GEIGER, TERRI                          GEIMER, MICHELE L.
1338 16TH ST SE                       4555 BUTTERBRIDGE RD                   17573 IL 177
MASSILLON, OH 44646                   NORTH LAWRENCE, OH 44666               NASHVILLE, IL 62263




GEIPEL, JENELLE M.                    GEIPEL, JENELLE M.                     GEIPEL, JENELLE
47 NAUTICAL DRIVE                     ADDRESS ON FILE                        ADDRESS ON FILE
STANSBURY PARK, UT 84074




GEISER, , MICHAELA                    GEISINGER GOLD                         GEISINGER HEALTH PLAN
537 GASCHE ST                         P.O. BOX 8200                          100 NORTH ACADEMY AVE
WOOSTER, OH 44691-3614                DANVILLE, PA 17821                     DANVILLE, PA 17821




GEISINGER, JEREMIAH                   GEISLER, ANITA A., M.D.                GEISLER, THOMAS
945 LINCOLNWAY NW                     ADDRESS ON FILE                        25575 W WOODLAWN AVE
MASSILLON, OH 44647                                                          ANTIOCH, IL 60002




GEISLER, ZACKARY                      GEISSINGER, RITA K.                    GEISSLER, RACHEL C.
732 12TH ST                           2811 EMILY CR NW                       ADDRESS ON FILE
EVANSTON, WY 82930                    MASSILLON, OH 44647




GEIST, FAYE E.                        GELDMACHER, RAYMOND G.                 GELIG, MARIA T.
1337 NORTH FARMINGDALE RD             500 OLD LINCOLN HWY                    ADDRESS ON FILE
PLEASANT PLAINS, IL 62677             GRANTSVILLE, UT 84029




GELIN, FRITZ G.                       GELLER BRADLEY                         GELLY, MARK
3206 STELLA CT.                       412 LAUREN DR                          3844 PRAIRIE RD
ZION, IL 60099                        WATERLOO, IL 62298                     HIGHLAND, IL 62249




GEMALTO COGNET, INC                   GEMELLI, TINA M.                       GEMINO HC ENDURACARE
P.O. BOX 845552                       ADDRESS ON FILE                        P.O. BOX 654072
DALLAS, TX 75284-5552                                                        DALLAS, TX 75265-4072
GEMINO HEALTHCARE FINANCECaseLLC20-10766-BLS     Doc 6 Filed 04/07/20
                                         GEMM LANDSCAPING               Page GEMMELL,
                                                                             660 of 1969
                                                                                      DEBRA
1 INTERNATIONAL PLAZA, STE 220           13714 COLWOOD ST SW                 182 N CHAMBERS ST
PHILADELPHIA, PA 19113                   BEACH CITY, OH 44608                GALESBURG, IL 61401




GEMMELL, SARAH                        GEMOTO, CLARISSE                       GEN DENTISTRY/SAME DAY DENTURE
ADDRESS ON FILE                       ADDRESS ON FILE                        1201 BRIARWOOD AVE SW
                                                                             FORT PAYNE, AL 35967




GENADYNE BIOTECHNOLOGIES INC          GENDREAU, MAURICE                      GENE BURKE
16 MIDLAND AVE                        11324 11TH AVE                         247 BIG CAT FORK ROAD
HICKSVILLE, NY 11801                  PLEASANT PRAIRIE, WI 53158             LOUISA, KY 41230




GENE ENDTHOFF                         GENE PTACEK & SON FIRE EQUIPMENT CO    GENERAL ANESTHETIC SERVICES
2146 SUDHI AVE                        INC                                    1900 SLEEPY HOLLOW ROAD
GALESBURG, IL 61401                   7310 ASSOCIATE AVE                     SOUTH PARK, PA 15129
                                      BROOKLYN, OH 44144




GENERAL AUTO INSURANC, THE            GENERAL BUILDING SUPPLY                GENERAL CREDIT FORMS INC
P.O. BOX 305054                       618 7TH AVENUE                         3595 RIDER TRAIL SOUTH
NASHVILLE, TN 37230                   HUNTINGTON, WV 25701                   EARTH CITY, MO 63045




GENERAL CREDIT SERVICE                GENERAL DEVICES LLC                    GENERAL ELECTRIC CAPITAL
2724 WEST MAIN STREET                 1000 RIVER ST                          CORPORATION
MEDFORD, OR 97501                     RIDGEFIELD, NJ 07657                   12854 KENAN DR, STE 201
                                                                             JACKSONVILLE, FL 32258




GENERAL ELECTRIC CAPITAL              GENERAL ELECTRIC CAPITAL               GENERAL ELECTRIC REAL ESTATE
CORPORATION                           CORPORATION                            EQUITIES INC
83 WOOSTER HEIGHTS RD                 P.O. BOX 414, W-490                    P.O. BOX 645811
DANBURY, CT 06810                     MILWAUKEE, WI 53201                    GE HFS LLC
                                                                             PITTSBURGH, PA 15264



GENERAL HOSPITAL SUPPLY CORP          GENERAL HOSPITAL SUPPLY,INC            GENERAL PARTS INC
2844 GRAY FOX ROAD                    2844 GRAY FOX ROAD                     MI10
MONROE, NC 28110                      MONROE, NC 28110-0000                  P O BOX 9201
                                                                             MINNEAPOLIS, MN 55480-9201




GENERAL PARTS INC                     GENERAL PARTS, LLC                     GENERAL REVENUE CORPORATION
MI10                                  P.O. BOX 9201                          P.O. BOX 495999
P O BOX 9201                          MINNEAPOLIS, MN 55480-9201             CINCINNATI, OH 45249-5999
MINNEAPOLLIS, MN 55480-9201




GENERAL SESSIONS COURT CLERK          GENERAL SHEET METAL, LLC               GENERAL STAR INDEMNITY COMPANY
KATHY BLOUNT                          416 S RICHLAND                         120 LONG RIDGE ROAD
515 SOUTH LIBERTY STREET, STE 300B    FREEBURG, IL 62243                     STAMFORD, CT 06902
JACKSON, TN 38301
GENERATION SYSTEMS INC.Case 20-10766-BLS
                                     GENESISDoc    6 Filed
                                              ELECTRIC INC 04/07/20   Page GENESIS
                                                                           661 of RESPIRATORY
                                                                                   1969       SERVICES, INC.
P.O. BOX 1254                        P.O. BOX 1377                         4132 GALLIA STREET
TOOELE, UT 84074                     ASHLAND, KY 41105                     NEW BOSTON, OH 45662




GENETTI, ELVIRA                      GENEVA SPEIGHTS                       GENIA R HOLLAND
815 BROADMORE WAY                    140 CHANDLER DRIVE                    287 PEARL ST
TOOELE, UT 84074                     RAINSVILLE, AL 35986                  MARIANNA, AR 72360




GENNARO ALVINO                       GENOVES, ROBERT H.                    GENOVESE, KENNETH C.
1448 DAHLIA ST                       6372 NE CLEVELAND AVE                 871 TEVERTON LN
LAS VEGAS, NM 87701                  PORTLAND, OR 97211-0000               CRYSTAL LAKE, IL 60014




GENS PIERCE GOODMAN DBA BT           GENT, CATHERINE L.                    GENTEMAN, JULIA
ORTHOPEDICS                          92809 GENT RD                         4 EQUESTRIAN CT S
300 VIA CREMONIA WAY                 JUNCTION CITY, OR 97448               GLEN CARBON, IL 62034
EL PASO, TX 79932




GENTHERM MEDICAL                     GENTHERM MEDICAL, LLC                 GENTLE HOARCE
3530 SOLUTIONS CENTER                12011 MOSTELLER ROAD                  926 WALNUT STREET
CHICAGO, IL 60677-3005               CINCINNATI, OH 45241-1528             WAUKEGAN, IL 60085




GENTLE TOUCH                         GENTRY BONITA                         GENTRY FINANCE CORP
1057 ROLLING PINES DR.               643 BOWMAN AVE                        1829 WEST 3500 SOUTH
ORTONVILLE, MI 48462                 EAST ALTON, IL 62024                  STE 6
                                                                           WEST VALLEY CITY, UT 84119




GENTRY, AMY                          GENTRY, JEANINE A.                    GENTRY, JERIMIAH G.
1302 SUSAN LANE                      ADDRESS ON FILE                       ADDRESS ON FILE
CARTERVILLE, IL 62918




GENTRY, KRISTIN J.                   GENTRY, MIKAYLA                       GENTRY, RAMONA E.
484 TURTLE RIDGE ROAD                3304 W HWY 80 APT 48                  911 WEST 72ND. ST.
ELLIJAY, GA 30536                    BIG SPRING, TX 79720                  CHICAGO, IL 60621




GENTZYEL, MICHELLE                   GENX GENERATOR                        GENZYME BIOSURGERY
3936 ASHFORD LANE                    3250 SKOKIE VALLEY RD                 62665 COLLECTIONS CENTER DR
GRANITE CITY, IL 62040               HIGHLAND PARK, IL 60035               CHICAGO, IL 60693-0626




GENZYME BIOSURGERY                   GENZYME CORPORATION                   GENZYME CORPORATION
62665 COLLECTIONS CENTER DRIVE       62665 COLLECTIONS CENTER DR           62665 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693-0626               CHICAGO, IL 60693-0626                CHICAGO, IL 60693-0626
GENZYME CORPORATION Case 20-10766-BLS
                                  GENZYME Doc   6 Filed 04/07/20
                                           CORPORATION             Page GEOFFREY
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                                                                                 EMPEY
62665 COLLECTIONS SENTER DR       62665 COLLECTIONS                     1327 LOWERY ST
CHICAGO, IL 60693                 CENTER DRIVE                          PORTERVILLE, CA 93257
                                  CHICAGO, IL 60693-0626




GEOFFREY J. GILL, MD               GEOFFRION, IRENE                     GEOGHEGAN, JOHN A II.
ADDRESS ON FILE                    P.O. BOX 2522                        2335 DALE AVE
                                   LAS VEGAS, NM 87701                  EUGENE, OR 97408




GEOHAGAN, SARAH                    GEOLAT, JANICE M.                    GEO-LINK
4720 ROCKLEDGE RD                  5620 L ROAD                          P.O. BOX 1764
ORLANDO, FL 32807                  WATERLOO, IL 62298                   RED LODGE, MT 59068




GEORGE ALARM CO. INC               GEORGE ALARM COMPANY INC             GEORGE ALARM COMPANY INC
263 POOR HOUSE ROAD                202 WEST MAIN ST                     917 SOUTH NINTH
LOUISA, KY 41230                   STE B                                SPRINGFIELD, IL 62703
                                   GLEN CARBON, IL 62034




GEORGE ALARM COMPANY, INC          GEORGE EDWARD BURNETTE, MD           GEORGE F MCCOY
917 SOUTH NINTH                    ADDRESS ON FILE                      2705 ST VINCENT AVE
SPRINGFIELD, IL 62703                                                   TRLR 40
                                                                        LASALLE, IL 61301




GEORGE H LONG JR                   GEORGE HALL                          GEORGE JOE
3245 SIERRA AVE SW                 14618 E BEAL RD                      27 AUERBACH PLACE
CANTON, OH 44706                   TEXICO, IL 62889                     MERIDIAN VILLAGE APT 430
                                                                        GLEN CARBON, IL 62034




GEORGE JULIANNE                    GEORGE KING BIO MEDICAL INC          GEORGE KITE
6102 N RIDDLE LANE                 11771 W 112 ST                       9888 E. RICHVIEW ROAD
WALTONVILLE, IL 62894-2610         OVERLAND PARK, KS 66210              MT. VERNON, IL 62864




GEORGE MCCOY                       GEORGE MCCRACKEN                     GEORGE POULOS & ASSOCIATES
277 WALNUT AVE                     746 LAST ROAD                        2533 WEST HIGH STREET
GALESBURG, IL 61401                ABINGDON, IL 61410                   BLUE ISLAND, IL 60406




GEORGE RANDELL K                   GEORGE REEVES                        GEORGE W HUTCHISON
5286 SETTLES BRIDGE RD             7404 WESTCHESTER                     10230 LURENS DR NE
SUWANEE, GA 30024                  BELLEVILLE, IL 62223                 BOLIVAR, OH 44612




GEORGE, AARON                      GEORGE, AMY R.                       GEORGE, BOBBETTE
923 PROMONTORY PINES               9255 TARA DR SW                      900 EAST CARROLL STREET
FREEBURG, IL 62243                 COVINGTON, GA 30014                  HERRIN, IL 62948
GEORGE, BRENDA L.        Case 20-10766-BLS
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                                               DANETTE Filed 04/07/20       Page GEORGE,
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                                                                                         ELIZABETH S.
41719 N CIRCLE DR                       ADDRESS ON FILE                          ADDRESS ON FILE
ANTIOCH, IL 60002




GEORGE, FELICIA                         GEORGE, GIBBENS                          GEORGE, JOHN
48 ASPEN GROVE DRIVE E. P-6             2020 HATCH HWY APT 7                     1100 TURNER AVE SE
EVANSTON, WY 82930                      DEMING, NM 88030                         FORT PAYNE, AL 35967




GEORGE, JULIANNE                        GEORGE, KRYSTINE                         GEORGE, MINDY A.
6102 N. RIDDLE LANE                     2244 EASTWOOD N.E.                       275 GREYSTONE TER
WALTONVILLE, IL 62894                   MASSILLON, OH 44646                      ATHENS, GA 30606




GEORGE, PEGGY A.                        GEORGE, PRINCY                           GEORGE, RECYMOL P.
106 W CHERRY ST                         4041 CAMARON WAY                         ADDRESS ON FILE
HARTFORD, IL 62048                      SNELLVILLE, GA 30039




GEORGE, SOUMINI                         GEORGE, STEVEN                           GEORGE, TAMUNO
3777 SUMMER KITCHEN WAY                 2037 COUNTY ROAD 112                     3609 CALDER BLVD APT. 164
LILBURN, GA 30047                       FORT PAYNE, AL 35968                     MIDLAND, TX 79707




GEORGE, TERESA D.                       GEORGE, ZENIA A.                         GEORGE, ZENIA
ADDRESS ON FILE                         8601 WYMAN DRIVE                         5200 SELMAN CT
                                        TINLEY PARK, IL 60487                    APT A
                                                                                 GURNEE, IL 60031




GEORGEOFF, MARY                         GEORGIA ASSOC OF REHABILITATION          GEORGIA BOARD OF PHARMACY
P.O. BOX 284                            FACILITIES INC                           2 PEACHTREE STREET NORTHWEST, 6TH
CANAL FULTON, OH 44614                  GEORGIA INTERPRETING SERVICES            FLOOR
                                        P.O. BOX 4529                            ATLANTA, GA 30303
                                        LAGRANGE, GA 30241



GEORGIA BRATTON                         GEORGIA DEPARTMENT OF COMMUNITY          GEORGIA DEPARTMENT OF COMMUNITY
1206 ROCK SPRING DRIVE                  HEALTH                                   HEALTH
ALTON, IL 62002                         1249 DONALD LEE HOLLOWELL PKWY NW        2 PEACHTREE ST NW
                                        ATLANTA, GA 30318                        5TH FLR
                                                                                 ATLANTA, GA 30303



GEORGIA DEPARTMENT OF COMMUNITY         GEORGIA DEPARTMENT OF COMMUNITY          GEORGIA DEPARTMENT OF COMMUNITY
HEALTH                                  HEALTH                                   HEALTH
2 PEACHTREE ST NW                       ATTN: BENEFIT RECOVERY SECTION           ATTN: BENEFIT RECOVERY SECTION
5TH FLR                                 P.O. BOX 277941                          P.O. BOX 403502
ATLTANTA, GA 30303                      ATLANTA, GA 30384-7941                   ATLANTA, GA 30384-3502



GEORGIA DEPARTMENT OF COMMUNITY         GEORGIA DEPARTMENT OF COMMUNITY          GEORGIA DEPARTMENT OF COMMUNITY
HEALTH                                  HEALTH                                   HEALTH
ATTN: SHEELA E. PUTHUMANA               BENEFITS RECOVERY SECTION                HEALTHCARE FACILITY REGULATION
HEALTHCARE FACILITY REGULATION          P.O. BOX 403502                          DIVISION
DIVISION DIAGNOSTIC SERVICES UNIT       ATLANTA, GA 30384-3502                   HEALTH CARE SECTION—DIAGNOSTIC
2 PEACHTREE STREET, NW, SUITE 31-447                                             SERVICES X-RAY UNIT
ATLANTA, GA 30303-3142                                                           2 PEACHTREE STREET NW, SUITE 31-447
                                                                                 ATLANTA, GA 30303-3142
                       Case 20-10766-BLS
GEORGIA DEPARTMENT OF COMMUNITY      GEORGIADoc   6 Filed
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                                                                                           DEPARTMENT OF COMMUNITY
HEALTH                               HEALTH                                        HEALTH
HEALTHCARE FACILITY REGULATION       HEALTHCARE FACILITY REGULATION                PROVIDER ENROLLMENT & EDI SERVICES
ACUTE CARE SECTION                   CERTIFICATE OF NEED                           P.O. BOX 105201
2 PEACHTREE STREET NW, SUITE 31-447  2 PEACHTREE STREET NW, 5TH FLOOR              TUCKER, GA 30085
ATLANTA, GA 30303-3142               ATLANTA, GA 30303

GEORGIA DEPARTMENT OF LABOR            GEORGIA DEPARTMENT OF LABOR                 GEORGIA DEPARTMENT OF NATURAL
148 ANDREW YOUNG INTERNATL BLVD NE     P.O. BOX 740234                             RESOURCES
STE 752 SUSSEX PLACE                   ATLANTA, GA 30374-0234                      RADIOACTIVE MATERIALS PROGRAM
ATLANTA, GA 30303-1751                                                             4244 INTERNATIONAL PARKWAY
                                                                                   ATLANTA TRADEPORT, SUITE 114
                                                                                   ATLANTA, GA 30354

GEORGIA DEPARTMENT OF PUBLIC HEALTH    GEORGIA DEPARTMENT OF PUBLIC HEALTH         GEORGIA DEPARTMENT OF REVENUE
1749 CLAIRMONT RD NE                   2 PEACHTREE STREET, NW                      UNCLAIMED PROPERTY PROGRAM
DECATUR, GA 30033-4050                 15TH FLOOR                                  GEORGIA DEPARTMENT OF REVENUE
                                       ATLANTA, GA 30303-3186                      UNCLAIMED PROPERTY PROGRAM,
                                                                                   4125 WELCOME ALL ROAD
                                                                                   ATLANTA, GA 30349

GEORGIA DEPARTMENT OF REVENUE          GEORGIA DEPARTMENT OF REVENUE               GEORGIA DEPARTMENT OF REVENUE
1800 CENTURY CENTER BLVD. N.E, SUITE   P.O. BOX 740239                             UNCLAIMED PROPERTY PROGRAM
15311                                  PROCESSING CENTER                           4125 WELCOME ALL RD - STE 701
ATLANTA, GA 30345-3205                 ATLANTA, GA 30374-0239                      ATLANTA, GA 30349




GEORGIA DEPT OF COMMUINITY HLT         GEORGIA DEPT OF COMMUNITY HEALTH            GEORGIA DEPT OF LABOR
2 PCHTREE ST NW 5TH FLOOR              P.O. BOX 403502                             148 ANDREW YOUNG
ATLANTA, GA 30303-3159                 BENEFITS RECOVERY SECTION                   INTERNATIONAL BLVD
                                       ATLANTA, GA 30384                           SUITE 850
                                                                                   ATLANTA, GA 30303



GEORGIA DEPT OF REVENUE                GEORGIA DEPT OF REVENUE                     GEORGIA DEPT OF REVENUE
1000 TOWNE CENTER BLVD                 1800 CENTURY CENTER BLVD., N.E.             314 EAST MAIN STREET
BUILDING 900, SUITE A                  ATLANTA, GA 30345-3205                      SUITE 150
POOLER, GA 31322                                                                   CARTERSVILLE, GA 30120




GEORGIA DEPT OF REVENUE                GEORGIA DEPT OF REVENUE                     GEORGIA ENVIRONMENTAL PROTECTION
528 BORAD ST SE                        610 RONALD REAGAN DRIVE                     DIV
GAINESVILLE, GA 30501-3728             BUILDING G-1                                GEORGIA DEPT OF NATURAL RESOURCES
                                       EVANS, GA 30809                             2 MARTIN LUTHER KING JR DRIVE
                                                                                   STE 1456, E TOWER
                                                                                   ATLANTA, GA 30334

GEORGIA FARM BUREAU                    GEORGIA GOVERNORS OFFICE OF                 GEORGIA H LONG
ATTN: CLAIM PA158909                   CONSUMER AFFAIRS                            3245 SIERRA AVE SW
P.O. BOX 7777                          2 MARTIN LUTHER KING JR DR SESTE 356        CANTON, OH 44706
MACON, GA 31209                        ATLANTA, GA 30334-9077




GEORGIA HMA PHYSICIAN MANAGEMENT,      GEORGIA HOSPITAL ASSOCIATION                GEORGIA LAMBERT
LLC                                    1675 TERRELL MILL ROAD                      714 E CALUMET STREET
289 S. CULVER ST.                      MARIETTA, GA 30067                          APT. 5
LAWRENCEVILLE, GA 30046                                                            CENTRALIA, IL 62801




GEORGIA MEDICAID                       GEORGIA MEDICAID                            GEORGIA MEDICARE
P.O. BOX 105208                        P.O. BOX 2981                               P.O. BOX 3018
DXC TECHNOLOGY                         DXC TECHNOLOGY                              SAVANNAH, GA 31402-3018
TUCKER, GA 30085-5208                  HARTFORD, CT 06104
                        CaseAND
GEORGIA OCCUPATIONAL SAFETY  20-10766-BLS
                                      GEORGIADoc   6 FiledSAFETY
                                               OCCUPATIONAL  04/07/20
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                                                                                          PARTY & TOOL,INC
HEALTH ADMINISTRATION                 HEALTH ADMINISTRATION                     625 PROGRESS RD, SUITE A
1995 NORTH PARK PLACE S.E.            2296 HENDERSON MILL ROAD, NE, SUITE 200   ELLIJAY, GA 30540
SUITE 525                             ATLANTA, GA 30345
ATLANTA, GA 30339



GEORGIA PUBLIC HEALTH LAB                GEORGIA SECRETARY OF STATE               GEORGIA STATE BOARD OF PHARMACY
LOCK BOX 281648                          214 STATE CAPITOL                        GEORGIA DEPARTMENT OF COMMUNITY
ATLANTA, GA 30384-1648                   ATLANTA, GA 30334                        HEALTH
                                                                                  2 PEACH TREE NW, 6TH FL
                                                                                  ATLANTA, GA 30303



GEORGIA UROLOGY PA                       GEORGIA WOODS                            GEOTECHNOLOGY INC
1930 BRANNAN RD                          543 N WEST ST                            P.O. BOX 775348
MCDONOUGH, GA 30253                      GALESBURG, IL 61401                      CHICAGO, IL 60677-5348




GERACE, ELLEN                            GERADS, HELEN                            GERA-HARRIS, MARLENE S.
ADDRESS ON FILE                          460 SEDONA DR                            38 BOWKER RD
                                         MESQUITE, NV 89027-6771                  FREEDOM, CA 95019




GERALD CHAMPION REGIONAL MEDICAL         GERALD DUBOIS                            GERALD L ROSS
CENTER                                   2717 W FREMONT ST                        8962 ONTARIO ST NW
2669 N. SCENIC DRIVE                     GALESBURG, IL 61401                      MASSILLON, OH 44646
ALAMOGORDO, NM 88310




GERALD L STEVENS                         GERALD PAYNE                             GERALD POYNER
2330 EL PASO RD SW                       14701 N 2400TH RD                        1061 CHAMBERLAIN STREET
ATLANTA, GA 30331-6906                   ROSEVILLE, IL 61473                      GALESBURG, IL 61401




GERALD R PULLEY SR                       GERALDINE HAMLIN                         GERALDINE QUALLS
731 W TOMPKINS ST                        P.O. BOX 236                             1235 SOUTH PRAIRIE
GALESBURG, IL 61401                      VIDA, OR 97488-0236                      APT 1505
                                                                                  CHICAGO, IL 60605




GERARDO VASQUEZ                          GERBER LIFE INSURANCE CO                 GERBER MICHAEL D
1126 SKINNER ST                          P.O. BOX 2271                            17521 PECAN LN
GALESBURG, IL 61401                      OMAHA, NE 68103-2271                     TINLEY PARK, IL 60487




GERBER, ASHLEIGH                         GERBER, CHERYL                           GERBER, ELLEN L.
10888 GLADDIS ST SW                      4140 MOUNT EATON RD S                    3602 ROLLING GREEN DR. APT 912
MASSILLON, OH 44647                      DALTON, OH 44618-9642                    ABILENE, TX 79606




GERBER, JESSICA M.                       GERBER, TIFFANY                          GERBERICH, LEAH M.
108 HERITAGE TRL                         P.O. BOX 434                             1825 W. MARKET ST APT H28
MORO, IL 62067                           DALTON, OH 44618                         ORRVILLE, OH 44667
GERDES, SAWYER D.       Case 20-10766-BLS
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                                                                                  MOELLER, MD
2045 NW OAK AVE                       6163 E IL HIGHWAY 15                ADDRESS ON FILE
REDMOND, OR 97756                     WOODLAWN, IL 62898




GERHARDS, SUZANNE                     GERHARDT-CAMP, RICHARD A.           GERHART, KRISTEN A.
ADDRESS ON FILE                       1421 LINCOLN ST.                    1765 BLACKBERRY LN
                                      HOBART, IN 46342                    ORRVILLE, OH 44667-9440




GERI COOK                             GERI CRIPPS                         GERI SIKORA
57 LEXINGTON LN                       104 S LARK LANE                     7437 160 STREET
HIGHLAND, IL 62249                    CARBONDALE, IL 62901                TINLEY PARK, IL 60477




GERLACH LEANN                         GERLACH, JUDITH L.                  GERLE, PAUL
HRMC                                  ADDRESS ON FILE                     64 SQUIRREL TRAIL
HELENA, AR 72342                                                          BLUE RIDGE, GA 30513




GERLING-HILMES, MARLA                 GERLITS, JEAN                       GERM FREE LABORATORIES INC
370 VALLEY VIEW                       1011 MALLARD DRIVE NE               4 SUNSHINE BLVD
CARLYLE, IL 62231                     FORT PAYNE, AL 35967                ORMOND BEACH, FL 32174




GERMAINE VALDEZ                       GERMAN ARRAS                        GERMAN, EBBA R.
ADDRESS ON FILE                       305 N ST FRANCIS ST                 P.O. BOX 325
                                      STANTON, TX 79782                   MCCAYSVILLE, GA 30555




GERMAN-LEONBERGER, ALISON             GERMANN, CARL                       GERMANY, SHERYL
ADDRESS ON FILE                       10420 LAVERGNE AVE                  111 LUCIA LANE
                                      OAK LAWN, IL 60453-4713             SCOTTS VALLEY, CA 95066




GERMATA, MARGARET                     GERMFREE LABORATORIES INC           GERMFREE LABORATORIES INC
14359 W JODY LANE                     11 AVIATOR WAY                      4 SUNSHINE BLVD
WADSWORTH, IL 60083                   ORMOND BEACH, FL 32174              ORMOND BEACH, FL 32174




GERO, CHERYL A.                       GERONIMO, JAIME                     GERRARD, GORDON
4600 OLD SAN JOSE RD                  2331 NEW YORK ST                    309 MAIN ST
SOQUEL, CA 95073                      WAUKEGAN, IL 60087-4819             EVANSTON, WY 82930-3641




GERRARD, RIKKI L.                     GERRI DRESSEL                       GERRITY, JOHN
100 JOHN ADAMS ST.                    6177 RIDGEWOOD ST SW                83032 TERRITORIAL HWY
EVANSTON, WY 82930                    CANTON, OH 44706-3135               EUGENE, OR 97405
GERSTENECKER, BARBARA Case
                      A.   20-10766-BLS     Doc 6 BRUCE
                                    GERSTENECKER,      Filed 04/07/20   Page GERTES,
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370 NORTHRIDGE RD                   1865 RAINTREE TRAIL                      ADDRESS ON FILE
COLUMBIA, IL 62236                  COLLINSVILLE, IL 62234




GERTSON, LYNDA A.                     GERWECK, RONALD E.                     GERWECK, SUSAN D.
209 NAUTICAL DR                       4273 BRAEBURN DR                       4273 BRAE BURN DRIVE
STANSBURY PARK, UT 84074              EUGENE, OR 97405                       EUGENE, OR 97405




GERWECK, SUSAN D.                     GERWECK, SUSAN                         GESCHWIND, SONIA
ADDRESS ON FILE                       ADDRESS ON FILE                        429 SHAW AVE NE
                                                                             MASSILLON, OH 44646




GESKY KEITH A                         GESS, NICOLE L.                        GESSINGER, MELISSA
1248 VICTORIA AVE APT 2A              6035 CANDEN AVE APT 6                  236 LOCUST ST N
NORTH CHICAGO, IL 60064               PORTAGE, IN 46368                      CANAL FULTON, OH 44614




GET FRESH SALES                       GETCHEL, MARY                          GETINGE CASTLE
GET FRESH SALES INC                   ADDRESS ON FILE                        P.O. BOX 775436
P.O. BOX 96087                                                               CHICAGO, IL 60677-5436
LAS VEGAS, NV 89193-6087




GETINGE USA INC                       GETINGE USA SALES LLC                  GETINGE USA SALES LLC
P.O. BOX 775436                       45 BARBOUR POND DR                     P.O. BOX 775436
CHICAGO, IL 60677-5436                WAYNE, NJ 07470                        CHICAGO, IL 60677-5436




GETINGE                               GETINGE/CASTLE,INC/ALM SURG            GETINGE/CASTLE,INC/ALM SURG
PO BOX 775436                         1265 SOLUTION CENTER                   1265 SOLUTIONS CENTER
CHICAGO, IL 60677-5436                CHICAGO, IL 60677-1002                 CHICAGO, IL 60677-1002




GETINGE/CASTLE,INC/ALM SURG           GETIXHEALTH HOLDING CORP               GET-R-DONE LAWN & TREE SERVICE
1265 SOULTIONS CENTER                 P.O. BOX 2587                          1049 SFC 707
CHICAGO, IL 60677-1002                STAFFORD, TX 77497                     FORREST CITY, AR 72335




GETTEL, MARY ANNE                     GETTY IMAGES, INC. - THINKSTOCK        GETZ
75 NEILSON STREET                     605 5TH AVE S., SUITE 400              P.O. BOX 419
WATSONVILLE, CA 95076                 ST LOUIS, MO 63195                     PEORIA, IL 61651-0419




GETZ                                  GETZ, DAWSON                           GETZ, MARY B.
PO BOX 419                            10949 MILLERSBURG RD SW                221 S BROOKHILL LANE
PEORIA, IL 61651-0419                 MASSILLON, OH 44647-7346               VERNON HILLS, IL 60061
GEYER, MARY J              Case 20-10766-BLS    Doc
                                         GF HEALTH   6 Filed
                                                   PRODUCTS INC 04/07/20   Page GFI
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                                                                                    DIGITAL, INC.
48 YOUNGS ADDITION                         2935 NORTHEAST PARKWAY                P.O. BOX 775010
MILL HALL, PA 17751-8820                   ATLANTA, GA 30360                     ST. LOUIS, MO 63177-5010




GHANDOUR, HASSAN A.                        GHASTERPETERSON, LUCILLE V.           GHEEN, CHAD
ADDRESS ON FILE                            2954 W NEMESIS AVE                    ADDRESS ON FILE
                                           WAUKEGAN, IL 60087




GHI EMBLEM HEALTH                          GHI                                   GHOLAR, STEPHAN
P.O.BOX 2832                               P.O. BOX 2814                         2505 COLLINS DR APT B11
NEWYORK, NY 10116-2832                     NEW YORK, NY 10116                    LAS VEGAS, NM 87701




GHP ENVIRONMENTAL                          GHP/GEISINGER                         GHS BOYS BASKETBALL
217 FIFTH AVENUE NORTH                     P.O. BOX 853910                       MIKE REYNOLDS
NASHVILLE, TN 37219                        RICHARDSON, TX 75085                  943 N CHERRY ST
                                                                                 GALESBURG, IL 61401




GI SUPPLY INC                              GI SUPPLY INC                         GI SUPPLY SPECIALTY ENDOSCOPIC
200 GRANDVIEW AVE                          P.O. BOX 45730                        PRODUCTS
CAMP HILL, PA 17011                        BALTIMORE, MD 21297-5730              5069 RITTER ROAD
                                                                                 SUITE 104
                                                                                 MECHANICSBURG, PA 17050



GI SUPPLY                                  GI SUPPLY                             GIACOMELLI, AMANDA
P.O. BOX 45730                             PO BOX 45730                          2244 FT MARTIN WAY
BALTIMORE, MD 21297-5730                   BALTIMORE, MD 21297-5730              LAWRENCEVILLE, GA 30045-3414




GIACOMELLI, JACQUELINE S.                  GIACONE, ANTHONY                      GIANARES, JODY A.
ADDRESS ON FILE                            2408 GRIFFITH PARK DR                 880 N LAKE SHORE DR. UNIT 19C
                                           PROSPER, TX 75078                     CHICAGO, IL 60611




GIANARIS, JENNIFER                         GIANNINI, BRIAN J.                    GIANNONE, LILY
3416 BLACK OAK LANE                        ADDRESS ON FILE                       P.O. BOX 1541
EDWARDSVILLE, IL 62025                                                           VENETA, OR 97487




GIBAULT CATHOLIC HIGH SCHOOL               GIBB, ERI                             GIBB, JOSHUA
501 COLUMBIA AVE                           6186 EMPRESS WOODS CT                 337 KNOX HIGHWAY 37
WATERLOO, IL 62298                         LAS VEGAS, NV 89148                   WATAGA, IL 61488-9436




GIBBENSGENTRY MELODY A                     GIBBONS, BRENDA J.                    GIBBONS, SAMANTHA
107 DEWMAINE LANE                          10485 RIDGE AVE. S.W.                 ADDRESS ON FILE
CARTERVILLE, IL 62918                      EAST SPARTA, OH 44626
GIBBS ASHLEY             Case 20-10766-BLS     Doc 6
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                                                                                       CAROLE
3301 CHESTNUT GAP RD                    16097 TOMS RD                            305 HODGSON ST
BLUE RIDGE, GA 30513                    BENTON, IL 62812                         PO BOX 115
                                                                                 LA FAYETTE, IL 61449




GIBBS HALENA J                          GIBBS JOANN E                            GIBBS MARY ELIZABETH
P.O. BOX 1675                           8522 20TH AVE                            46971 MYRTLE CREEK RD
ELLIJAY, GA 30540                       KENOSHA, WI 53143                        MYRTLE POINT, OR 97458-0000




GIBBS, BRANDIE                          GIBBS, CAROLE J.                         GIBBS, CAROLYN S.
7921 SHELTY RD P.O. BOX 961             305 HODGSON ST                           40 WILDCAT RUN
BENTON, IL 62812                        P.O. BOX 115                             SUCHES, GA 30572
                                        LA FAYETTE, IL 61449




GIBBS, CASEY                            GIBBS, CYNTHIA                           GIBBS, GENIE K.
1619 BROADWAY                           303 CRAWFORD STREET                      800 WATER AVE
HIGHLAND, IL 62249                      WILLIAMSTON, NC 27892                    JOHNSTON CITY, IL 62951




GIBBS, JAMI                             GIBBS, JEANNA                            GIBBS, JEANNA
1661 KNOX RD 1200 N                     1095 FEAZEL RD                           ADDRESS ON FILE
GILSON, IL 61436                        HARRISBURG, IL 62946




GIBBS, LISA M.                          GIBBS, LUCILLE                           GIBBS, LURA A.
13106 FORESTVIEW LN                     481 OLD BUCK ROAD                        2209 JENNIFER LANE
CRESTWOOD, IL 60445                     JACKSON, KY 41339                        MARION, IL 62959




GIBBS, PAMELA                           GIBBS, PAUL E.                           GIBBS, RENATA
55 BELL RD                              108 KEENE CT                             5338 MAHOGANY CT
MARION, AR 72364                        ST CHARLES, MO 63303                     GURNEE, IL 60031




GIBBS, SHAWNA M.                        GIBEAU, LISA M.                          GIBEAU, RAYMOND B.
305 NORTH DEWEY STREET                  ADDRESS ON FILE                          723 70TH ST
FREEBURG, IL 62243                                                               SPRINGFIELD, OR 97478




GIBLIN, HOLLY                           GIBLIN, MATTHEW                          GIBSON ANITA D
10452 S WOOD ST                         1603 MARION ST                           12900 S PARNELL AVE
CHICAGO, IL 60643                       CARTERVILLE, IL 62918                    CHICAGO, IL 60628




GIBSON LABORATORIES INC                 GIBSON, ANDRIEL S.                       GIBSON, BARBARA
1040 MANCHESTER STREET                  ADDRESS ON FILE                          445 FORREST AVE
LEXINGTON, KY 40508                                                              GAYETTEVILLE, GA 30214-1326
GIBSON, DAVID M.         Case 20-10766-BLS
                                       GIBSON, Doc  6 A. Filed 04/07/20
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                                                                                       1969
30310 VICTORY DR                       ADDRESS ON FILE                         1878 OLD MCKENZIE HWY
JUNCTION CITY, OR 97448-0000                                                   PARIS, TN 38242




GIBSON, HEATHER L.                     GIBSON, JANET A.                        GIBSON, JEANNIE P.
ADDRESS ON FILE                        24401 SCHULTZ RD                        26900 116TH ST
                                       JUNCTION CITY, OR 97448-0000            TREVOR, WI 53179




GIBSON, JENNY AND GIBSON, TAYLOR       GIBSON, KATHERINE B.                    GIBSON, MADALYN A.
499 SHILOH RD                          570 WINN ROAD                           ADDRESS ON FILE
WILDERSVILLE, TN 38388                 SCOTTSBORO, AL 35769




GIBSON, MARSHALL                       GIBSON, MONICA A.                       GIBSON, PAULA D.
6525 OLD SHREVE RD                     1513 ROUND LAKE DR                      ADDRESS ON FILE
SHREVE, OH 44676-9515                  ROUND LAKE BEACH, IL 60073




GIBSON, PAULA D.                       GIBSON, RAINA                           GIBSON, SARA
ADDRESS ON FILE                        1305 GENE WILSON BLVD                   1267 COUNTY ROAD 1800 N P O BOX 45
                                       LOUISA, KY 41230                        DAHLGREN, IL 62828




GIBSON, SARA                           GIBSON, SARAH                           GIBSON, STEPHANIE D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




GIBSON, TODD R.                        GICA, ELMER J.                          GIDDENS, BARBARA
1827 ROCKFORD COURT                    741 ROSEMONT AVE                        2192 CASEY RD
ALLEN, TX 75013                        PACIFIC GROVE, CA 93950                 GEORGIANA, AL 36033




GIDDENS, SHEENA                        GIDDENS, SHERI S.                       GIDDEON, SANDRA K.
9769 EAST DOGWOOD TR                   3471 MT PISGAH RD                       ADDRESS ON FILE
GREENVILLE, AL 36037                   GEORGIANA, AL 36033




GIDDINGS, DAVID                        GIDDINGS, OLIVIA R.                     GIEBE, STEVEN M.
623 1/2 SUSQUEHANNA AVE                104 S SCOTT STREET                      205 REX
SUNBURY, PA 17801                      P.O. BOX 442                            COLLINSVILLE, IL 62234
                                       ALEXIS, IL 61412




GIERNOTH, JEFFREY                      GIES, ALANNA                            GIESE, DAVID E.
289 CEDARWOOD LN                       1011 MARNE DRIVE                        2497 WATERMAN AVE
ANTIOCH, IL 60002                      HOLLISTER, CA 95023                     GRANITE CITY, IL 62040
GIESE, MICHELLE          Case 20-10766-BLS
                                       GIFFORDDoc 6 CENTER
                                              MEDICAL Filed 04/07/20   Page GIFFORD
                                                                            671 of STEPHANIE
                                                                                    1969     L
8840 MAPLE RD                           44 SOUTH MAIN STREET                155 LINCOLN GREEN RD
EDWARDSVILLE, IL 62025                  P.O. BOX 2000                       FYFFE, AL 35971-3960
                                        RANDOLPH, VT 05060




GIFFORD, CHRISTIAN                      GIFFORD, DAVID L.                   GIFFORD, LAUREN
32 LEDFORD LANE                         713 FRANKLIN LN                     1508 GREYSTONE DR
RAINSVILLE, AL 35986                    LINDENHURST, IL 60046               GURNEE, IL 60031




GIFFORD, MEGHAN                         GIFFORD, MELISSA R.                 GIFT ACCOUNT/VOLKER WINKLER KEEP
ADDRESS ON FILE                         1659 HAMLET LANE                    MOVING FO, THE
                                        EUGENE, OR 97402                    P.O. BOX 127
                                                                            MCKENZIE, TN 38201




GIFTCERTIFICATES.COM                    GIGLIO, DIANE                       GIL, BRENDA
11510 BLONDO STREET                     14525 KENTON AVE.                   ADDRESS ON FILE
OMAHA, NE 68164                         MIDLOTHIAN, IL 60445




GIL, CHRISTOPHER                        GILA REGIONAL MEDICAL CENTER        GILBERT ALISON
175 ROBERTA DR                          1313 EAST 32ND STREET               ADDRESS ON FILE
WATSONVILLE, CA 95076                   SILVER CITY, NM 88061




GILBERT BOBBY G                         GILBERT, ALLISON R.                 GILBERT, ASHLEY
1827 COUNTY ROAD 485                    ADDRESS ON FILE                     6825 FORESTVIEW DR/APT 3A
FORT PAYNE, AL 35968-5527                                                   OAK FOREST, IL 60452




GILBERT, BREANNA M.                     GILBERT, DARIN                      GILBERT, ELLIS
1239 DELVERNE AVE SW                    2454 COUNTY ROAD 90                 8466 NIEHAUS RD
CANTON, OH 44710                        RAINSVILLE, AL 35986                NEW DOUGLAS, IL 62074-0000




GILBERT, HEATHER                        GILBERT, IDA G.                     GILBERT, JOSH
5020 HEBRON TRACE DR                    133 WALNUT CIR                      ADDRESS ON FILE
NOLENSVILLE, TN 37135                   MCKENZIE, TN 38201




GILBERT, RAYMOND                        GILBERT, RICHARD B.                 GILBERT, RITA F.
8358 N ELMHURST LN                      1484 N ACADEMY ST                   ADDRESS ON FILE
MT VERNON, IL 62864                     GALESBURG, IL 61401




GILBERT, SHELIA T.                      GILBERT, TIMOTHY                    GILBERTSON JR., JIM W.
1132 GRAND AVE. APT.2                   23 SMOKEY LANE                      ADDRESS ON FILE
WAUKEGAN, IL 60085                      BOONEVILLE, KY 41314-7084
GILBERTSON, LARRY         Case 20-10766-BLS    DocZOIE
                                        GILBERTSON, 6 C.Filed 04/07/20   Page GILBREATH
                                                                              672 of 1969
                                                                                        REBECCA ELAINE
1425 PROMINENCE LN                       ADDRESS ON FILE                      2316 STOUT AVE NE
MESQUITE, NV 89034-1123                                                       FORT PAYNE, AL 35967-7880




GILBREATH, BYRON                         GILBREATH, NOAH T. JR                GILBREATH, RICKEY G.
349 COUNTY RD 649                        P.O. BOX 222                         ADDRESS ON FILE
MENTONE, AL 35984-3114                   VALLEY HEAD, AL 35989-8350




GILBREATH, TANYA M.                      GILBREATH, WILLIAM D.                GILBREATH,DIANNE
1317 BOWIE AVE                           17185 COUNTY RD 89                   17185 COUNTY ROAD 89
SNYDER, TX 79549                         MENTONE, AL 35984-2335               MENTONE, AL 35984




GILBRETH, CARRIE                         GILBRETH, JONATHAN.                  GILBRETH, REBECCA
511 S. MAIN ST                           8227 PRAIRIE LAKE DR                 511 S MAIN ST
COLUMBIA, IL 62236                       WATERLOO, IL 62298                   COLUMBIA, IL 62236




GILES TRINA B                            GILES, AMANDA                        GILES, PAMELA K.
ADDRESS ON FILE                          1181 WOODBINE CR EAST                ADDRESS ON FILE
                                         GALESBURG, IL 61401




GILES, RANDEE                            GILES, RANDEE                        GILES, RYAN T.
ADDRESS ON FILE                          224 EAST CIMMARRON WAY               ADDRESS ON FILE
                                         ERDA, UT 84074




GILES, STANLEY                           GILES, SUSAN R.                      GILES, TRINA B.
1570 OLD ATHENS HWY                      ADDRESS ON FILE                      ADDRESS ON FILE
MONROE, GA 30656




GILESMCKINLEY, CARMELLA                  GILFREDO, ROSADO                     GILG, FELICIA
15548 MAPLE STREET                       1440 JACKSON ST APT 4C               98 MICHIGAN COURT
SOUTH HOLLAND, IL 60473                  NORTH CHICAGO, IL 60064              VERNON HILLS, IL 60061




GILGEN, STEVEN A.                        GILL PODIATRY SUPPLY CO              GILL, ANGELA
ADDRESS ON FILE                          22400 ASCOA CT                       607 N 25TH AVE
                                         STRONGSVILLE, OH 44149               HATTIESBURG, MS 39401




GILL, DWIGHT                             GILL, JANELLE R.                     GILL, KANWARJIT S.
1860 MOUNT ZION RD                       3948 KENYON ST NW                    8207 LAKE STREET
VIENNA, IL 62995                         MASSILLON, OH 44647                  RIVER FOREST, IL 60305
GILL, KARLIE               Case 20-10766-BLS     Doc
                                         GILL, KERI B. 6     Filed 04/07/20   Page GILL,
                                                                                   673KEVIN
                                                                                         of 1969
                                                                                             W.
166 S 35TH ST                              148 NORTH WILD ROSE CIR                 3948 KENYON NW
SPRINGFIELD, OR 97478                      GRANTSVILLE, UT 84029                   MASSILLON, OH 44647




GILL, TANYA                                GILL, YOLONDA                           GILLAM, ALESIA
205 REGATTA LN                             P.O. BOX 1007                           ADDRESS ON FILE
STANSBURY PARK, UT 84074                   SUTHERLIN, OR 97479




GILLAM, TRISTA L.                          GILLAN, BEN                             GILLARD, LAUREN E.
31 COPPERHEAD DRIVE                        1125 58TH STREET, SPACE 16              ADDRESS ON FILE
PRICHARD, WV 25555                         SPRINGFIELD, OR 97478




GILLELAND, GLENDA R.                       GILLENWATER, TERESA A.                  GILLESPIE, BEVERLIE
2133 OAKRIDGE AVENUE                       ADDRESS ON FILE                         P.O. BOX 1826
MONROE, GA 30656                                                                   YORK, SC 29745




GILLESPIE, CHARLOTTE                       GILLESPIE, MARILYNN M.                  GILLESPIE, PATRICIA
1474 WEAVER CREEK RD                       140 OLD DARBY LANE                      152 LONE OAK LN
BLUE RIDGE, GA 30513                       WINTHROP HARBOR, IL 60096               LOT 338
                                                                                   OZARK, AL 36360-5858




GILLESPIE, THEODORE                        GILLESPIE, TIM                          GILLETTE, MAX
440 9TH ST SW                              129 LARA LANE                           1019 W NORTH ST
MASSILLON, OH 44647-6367                   LOUISA, KY 41230-0000                   GALESBURG, IL 61401




GILLEY JAMIE                               GILLEY TIFFANY N                        GILLIAM, LATITA
940 ROBIN HOOD DR NW                       183 COUNTY ROAD 289                     1224 GRIFFIN ST
CLEVELAND, TN 37312                        BRYANT, AL 35958                        ROCKY MOUNT, NC 27803




GILLIAM, NOEL M.                           GILLIAM, SHAN L.                        GILLIANO, PATRICIA
P.O. BOX 134                               968 COUNTY RD 606                       104 HUNTERS LANDING DR
DAVID, KY 41616                            VALLEY HEAD, AL 35989-3037              CASEYVILLE, IL 62232




GILLIANO, PATRICIA                         GILLIANO, PATTI                         GILLIARD, TRAVIS M.
4535 FOREST PARK AVE, APT 116              ADDRESS ON FILE                         ADDRESS ON FILE
ST LOUIS, MO 63108




GILLILAN, DIANE                            GILLILAND, ALISON D.                    GILLILAND, KATHRYN G., M.D.
4599 REAGAN ROAD                           525 PIONEER PARKWAY WEST                ADDRESS ON FILE
ALTOONA, AL 35952                          APT 5
                                           SPRINGFIELD, OR 97477
GILLILAND, TERESA L.     Case 20-10766-BLS      DocE6
                                       GILLIS JOYCE          Filed 04/07/20   Page GILLIS,
                                                                                   674 of    1969
                                                                                           ROBERT
58 COUNTY RD 1004                       106 29TH STREET SW                         510 CHEEK RD
GERALDINE, AL 35974                     FORT PAYNE, AL 35967-4709                  MONROE, GA 30655




GILLISON, LAYVONNE                      GILLKIN, SABRINA                           GILLMORE, JANELL L.
2327 GRANT ROAD                         808 WINGATE DR                             ADDRESS ON FILE
FULTS, IL 62244                         MEMPHIS, TN 72301




GILLSON, ADDIE L.                       GILLUM, JASMINE                            GILMARTIN, AMANDA BIRD H.
1414 CENTRAL AVE                        11826 S JUSTINE ST                         ADDRESS ON FILE
ALTON, IL 62002                         CHICAGO, IL 60643




GILMARTIN, BIRD                         GILMARTIN, RYAN                            GILMER, ANTHONY
ADDRESS ON FILE                         624 MICHAEL AVE                            723 E. CROSS STREET APT 6
                                        EVANSTON, WY 82930                         FORREST CITY, AR 72335




GILMER, CHARLES                         GILMER, GWENDOLYN L.                       GILMORE DAVID L
508 ERCOLE                              723 EAST CROSS STREET APT 6                419 WASHINGTON DR
MARION, AR 72364                        FORREST CITY, AR 72335                     WATERLOO, IL 62298




GILMORE, BRANDI M.                      GILMORE, GERRY                             GILMORE, MELVIN
ADDRESS ON FILE                         2698 MILL CT                               2605 S INDIANA APT 1207
                                        DORAVILLE, GA 30360                        CHICAGO, IL 60616




GILMORE, PAULETTE                       GILMORE, RITARAY L.                        GILMORE, SHARON
909 S CENTER ST                         208 SILVIA ST                              31 EARNHART DRIVE
GENESEO, IL 61254                       CHRISTOPHER, IL 62822                      LOUISA, KY 41230




GILMORE, WILLIE                         GILPIN, ELIZBETH                           GILPIN, M. RUTH
5675 LIVINGSTON CT                      P.O. BOX 1458                              7801 88TH AVE LOT 179
CUMMING, GA 30028-5944                  EVANSTON, WY 82930                         PLEASANT PRAIRIE, WI 53158




GILREATH, JEFFREY II                    GILREATH, PAUL M.                          GILREATH, PAUL
P.O. BOX 885                            ADDRESS ON FILE                            ADDRESS ON FILE
CAMPTON, KY 41301




GIMBY, LORI A.                          GIMBY, LORI                                GIMENEZ, HECTOR T.
ADDRESS ON FILE                         ADDRESS ON FILE                            307 E 1OTH STREET
                                                                                   BIG SPRING, TX 79720
GIMMY, ALAN L.             Case 20-10766-BLS     Doc 6
                                         GIMMY, ALAN         Filed 04/07/20   Page GIN,
                                                                                   675JENNY
                                                                                        of 1969
ADDRESS ON FILE                           ADDRESS ON FILE                          555 MADISON ST APT. 21
                                                                                   MONTEREY, CA 93940




GINA BLUE                                 GINA G MEADOWS                           GINA M JOHNSON
6471 ROBERTS RD                           1410 MONROE DR                           8775 ST RTE 147
MARION, IL 62959                          MONROE, GA 30655                         SIMPSON, IL 62985




GINAKAKIS, MICHAEL                        GINGER CHAPMAN                           GINGER CREEK MEADOWS RD ADDITION
2271 ST MARYS RD                          P.O. BOX 696                             PARKING LOT MAINTENANCE ASSOCIATION
LIBERTYVILLE, IL 60048                    FORSAN, TX 79733                         C/O SURGICAL CARE LTD
                                                                                   12 GINGER CREEK PROFESSIONAL PARK
                                                                                   EDWARDSVILLE, IL 62025



GINGERICH, MARY                           GINGERY, RODNEY                          GINN, CHRISTINE M.
2548 KIDRON RD                            139 CARTHAGE AVE                         ADDRESS ON FILE
ORRVILLE, OH 44667                        EUGENE, OR 97404




GINN, ELIZABETH P.                        GINSBERG, FRED MD                        GINSBERG, FRED MD
ADDRESS ON FILE                           ADDRESS ON FILE                          ADDRESS ON FILE




GINTHER, NADINE R.                        GIPSON, BONITA                           GIPSON, REAELMA
ADDRESS ON FILE                           ADDRESS ON FILE                          6328 POND VIEW DR
                                                                                   MATTESON, IL 60443




GIPSON, TREVOR J.                         GIRACS, JULIE                            GIRARD DOYLE
503 S MCLEANSBORO ST                      ADDRESS ON FILE                          2013 62 ST
BENTON, IL 62812                                                                   MONMOUTH, IL 61462




GIRL SCOUT TROOP 8869                     GIRL SCOUTS OF SOUTHERN IL               GIRL SCOUTS OF SOUTHERN IL
1401 NORTH LOGAN ST                       CORPORATE SERVICE CENTER                 CORPORATE SERVICE CENTER
MARION, IL 62959                          4 GINGER CREEK PARKWAY                   4 GINGER CREEK PARKWAY
                                          CLEN CARBON, IL 62034                    GLEN CARBON, IL 62034




GIRMA, TAFFESSEWORK                       GIRON-SILVA, LUIS A.                     GIRT, LINDA A.
8051 KEATING AVE 2N                       3868 ALBAN ST 21                         6433 LUTZ AVENUE NW
SKOKIE, IL 60076                          EUGENE, OR 97402                         MASSILLON, OH 44646




GIRT, TERRY                               GIRT, TIMOTHY                            GISH, VICKY
6995 WESTWOOD ST SW                       6995 WESTOOD ST SW                       1889 RICH CREEK ROAD
MASSILLON, OH 44646-9444                  MASSILLON, OH 44646-9444                 LOUISA, KY 41230
GISSENDANNER, DAWN           Case 20-10766-BLS     Doc
                                           GI-SUPPLY, INC6    Filed 04/07/20   Page GI-SUPPLY,INC
                                                                                    676 of 1969
126 B INDIAN TRAIL                           P O BOX 45730                          200 GRANDVIEW AVE
PRATTVILLE, AL 36067                         BALTIMORE, MD 21297-5730               CAMP HILL, PA 17011-1706




GITERSONKE, ALAN R                           GITERSONKE, ALAN R.                    GITERSONKE, ALAN R., DPM
ADDRESS ON FILE                              ADDRESS ON FILE                        ADDRESS ON FILE




GITERSONKE, ALAN R., DPM                     GITERSONKE, ALAN R., DPM               GITERSONKE, PEGGY
3809 MEADOW LN                               ADDRESS ON FILE                        9430 SW 96TH COURT
HIGHLAND, IL 62249                                                                  OCALA, FL 34481




GITTEL, HENRY                                GIVEN IMAGING, INC                     GIVEN, JEDONNE E.
217 JEFFERSON ST                             P.O. BOX 932928                        ADDRESS ON FILE
PLYMOUTH, NC 27962                           ATLANTA, GA 31193-2928




GIVENS, JUSTIN W.                            GIZYCKI, ANNA                          GLACKIN, LILIA E.
ADDRESS ON FILE                              7947 SPANISH OAK CIR                   9106 WALNUT LN
                                             GILROY, CA 95020                       TINLEY PARK, IL 60487




GLADNEY, ANNECO                              GLADSON, MARINA DR                     GLADSON, RONNIE
527 NORTH 35TH STRET                         ADDRESS ON FILE                        990 CHURCH WAY
EAST SAINT LOUIS, IL 62205                                                          LOGANVILLE, GA 30052




GLADSTONE TUCKER                             GLADYS BUCHANAN                        GLAESER JUDITH L
ADDRESS ON FILE                              11955 S RIDGEWAY AVE                   102 W VAN BUREN
                                             ALSIP, IL 60803                        MILLSTADT, IL 62260




GLANDER, KIMBERLEE A.                        GLANTON, SAMUEL                        GLANVILLE, CHARLES T.
ADDRESS ON FILE                              1375 HODGES CR                         20 BLACKBERRY WAY
                                             MANSFIELD, GA 30055-2643               SARANAC LAKE, NY 12983




GLASCO CORY                                  GLASCO, AMY J.                         GLASCO, JESSE A.
216 GRAND AVE                                290 KIMMEL CEMETERY ROAD               ADDRESS ON FILE
ANNA, IL 62906                               ANNA, IL 62906




GLASER, BETHANY L.                           GLASGOW, EDWARD                        GLASPER, DEONMONIQUE
ADDRESS ON FILE                              1201 DAVENPORT RD                      220 E COOK APT 218
                                             GREENVILLE, AL 36037                   FORREST CITY, AR 72335
                       Case
GLASS TREE CARE AND SPRAY    20-10766-BLS
                          SERVICE             Doc 6
                                      GLASS, CHRISTY     Filed 04/07/20   Page GLASS,
                                                                               677 ofDAWNELLE
                                                                                      1969
INC                                   ADDRESS ON FILE                          86 E. 1080TH STREET
P.O. BOX 40205                                                                 WOODHULL, IL 61490
EUGENE, OR 97404




GLASS, KATHERINE                      GLASS, KATHLEEN A.                       GLASS, LINDSEY G.
14211 AL HWY 75                       3994 ARBOR CREEK AVE NW                  20 CASEY SPRINGS LANE
HENAGAR, AL 35978                     CANTON, OH 44718-2874                    VIENNA, IL 62995




GLASS, MIKALA E.                      GLASS, SHELIA A.                         GLASSCO, DALLAS L.
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




GLASSCO, JEREMY S.                    GLASSCO, RODNEY J.                       GLASSCOCK, STEPHENIE N.
ADDRESS ON FILE                       ADDRESS ON FILE                          139 COUNTY ROAD 877
                                                                               CRANE HILL, AL 35053




GLASSWORKS                            GLATTHAAR, LYNNE                         GLAUBER, VICKI S.
485 FLORIDA AVE N                     2401 RICHVIEW RD                         ADDRESS ON FILE
PARSONS, TN 38363                     MOUNT VERNON, IL 62864




GLAUKOS CORPORATION                   GLAUKOS CORPORATION                      GLAUKOS CORPORATION
P.O. BOX 741074                       P.O. BOX 741074                          PO BOX 741074
LOS ANGELES, CA 90074-1074            LOS ANGELESA, CA 90074-1074              LOS ANGELES, CA 90074-1074




GLAXOSMITHKLINE PHARMACEUTICAL        GLAXOSMITHKLINE                          GLAZE, AMANDA
P.O. BOX 740415                       P.O. BOX 740415                          1214 CUMBERLAND TR
ATLANTA, GA 30374-0415                ATLANTA, GA 30374-0415                   MONROE, GA 30656-8903




GLAZE, MARY                           GLAZIER, JEANNIE M.                      GLAZIER, LINDA J.
49 HUGHES RD                          9546 LAVARUN CT                          766 COLEEN DRIVE
SCOTTS HILL, TN 38374                 LAS VEGAS, NV 89123                      WINDER, GA 30680




GLAZIER, VELIA L.                     GLEASON, SANDRA L.                       GLEED, LANCE A.
784 JOHNSON FORD ROAD                 P.O. BOX 2092                            ADDRESS ON FILE
EPWORTH, GA 30541                     ROCKWALL, TX 75087




GLEN FLORA COUNTRY CLUB               GLEN MAESTAS                             GLENDA FRANCO
2200 N SHERIDAN RD                    ADDRESS ON FILE                          548 BUTTERRIDGE RD
WAUKEGAN, IL 60087                                                             ULLIN, IL 62992
GLENDA G GILBERT           Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                         GLENDA MEDLEY                 Page GLENDA
                                                                            678 ofSELLERS
                                                                                   1969
1236 MARSHALL ROAD                       9034 WATER RD                      1620 36TH ST NE
RAINSVILLE, AL 35986                     BENTON, IL 62812                   CANTON, OH 44714-1319




GLENDA WELLS                             GLENDA WOOTEN                      GLENLAKE TERRACE NURSING/REHAB
P.O.BOX 601                              ADDRESS ON FILE                    5454 W. FARGO
WILLIAMSTON, NC 27892                                                       SKOKIE, IL 60077




GLENN MAY                                GLENN, CLARICE                     GLENN, DEBORAH A.
3222 CARSON AVE NW                       14312 SHEPARD DRIVE                ADDRESS ON FILE
MASSILLON, OH 44647                      DOLTON, IL 60419




GLENN, ERICA R                           GLENN, JOLLEY AMOS                 GLENN, MICHAEL
1731 BERWICK BLVD                        374 COUNTY RD 754                  87 COUNTY ROAD 867
UNIT C                                   IDER, AL 35981-4126                COLLINSVILLE, AL 35961
WAUKEGAN, IL 60085




GLENN, MONIQUE M.                        GLENNA BRADSHAW                    GLENNA CRUM
ADDRESS ON FILE                          707 TANYA AVE NW                   ADDRESS ON FILE
                                         MASSILLON, OH 44646




GLENNA CRUM                              GLENNA KEARNS                      GLESSNER, CAROL
ADDRESS ON FILE                          P.O. BOX 338                       13519 STONEFORD RD SW
                                         FORT GAY, WV 25514                 BEACH CITY, OH 44608




GLICK, KENNA J.                          GLICK, MASON                       GLICK, NORAH
2377 MEREDITH DR                         30 SPRING BROOK DR                 ADDRESS ON FILE
LOGANVILLE, GA 30052                     GLEN CARBON, IL 62034




GLIEDMAN, JEFFREY B.                     GLIM, SHARON                       GLIMMER, INC
1666 S MOHAWK WAY                        20113 S HAMPSTON CT                ATTN: ACCTS RECEIVABLE
SALT LAKE CITY, UT 84108                 FRANKFORT, IL 60423                P.O. BOX 48
                                                                            NAPERVILLE, IL 60566




GLINIECKI, PATRICIA                      GLISAN, MADYSON K.                 GLISPIE, JENNIFER P.
2038 OAKLEAF CIRCLE                      604 N CHERRY ST.                   ADDRESS ON FILE
LAKE VILLA, IL 60046                     ABINGDON, IL 61410




GLISPIE, KRISTENA J.                     GLIVA, MARY S.                     GLOBAL BUSINESS SYSTEMS
902 S VICKSBURG                          612 COLONY AVE                     1800 N. BRISTOL STE C461
MARION, IL 62959-3801                    LINDENHURST, IL 60046              SANTA ANA, CA 92706
                       Case
GLOBAL EQUIPMENT COMPANY INC 20-10766-BLS      Doc 6 Filed
                                      GLOBAL HEALTHCARE       04/07/20
                                                           EXCHANGE  LLC   Page GLOBAL
                                                                                679 ofHEALTHCARE
                                                                                       1969      EXCHANGE LLC
29833 NETWORK PLACE                   MICHAEL PUCKETT, NATIONAL ACCOUNT         P.O. BOX 912199
CHICAGO, IL 60673-1298                MANAGER                                   DENVER, CO 80291-2199
                                      1315 W. CENTURY DRIVE SUITE 100
                                      LOUISVILLE, KY 80027



GLOBAL HEALTHCARE SERVICES,INC         GLOBAL INDUSTRIAL                        GLOBAL INDUSTRIAL
20033 DETROIT ROAD                     29833 NETWORK PL                         8213 116 STREET
SUITE 300                              CHICAGO, IL 60673-1298                   PLEASANT PRAIRIE, WI 53158
ROCKY RIVER, OH 44116




GLOBAL MEDICAL STAFFING                GLOBAL NUTRITION SERVICES                GLOBAL RADAR ACQUISITIONS LLC
3995 SOUTH 700 EAST                    4425 JUAN TABO NE STE 140                GLOBAL HR RESEARCH
SUITE 100                              ALBUQUERQUE, NM 87111-3962               P.O. BOX 638968
SALT LAKE CITY, UT 84107                                                        CINCINNATI, OH 45263-8968




GLOBAL SYSTEMS RESEARCH LLC            GLOBAL WATER SERVICES                    GLOBALSTAR USA LLC
1734 CLARKSON RD                       115 E 5TH AVE                            300 HOLIDAY SQUARE BLVD
SUITE 320                              LISBON, IA 52253-0000                    COVINGTON, LA 70433
CHESTERFIELD, MO 63017




GLOBALSTAR USA                         GLOBE CORP C/O GLOBE PROPERTY            GLOBUS MEDICAL NORTH AMERICA INC.
P.O. BOX 30519                         MANAGEMENT CO                            P.O. BOX 203329
LOS ANGELES, CA 90030-0519             P.O. BOX 6207                            DALLAS, TX 75320-3329
                                       CAROL STREAM, IL 60197-6207




GLOBUS MEDICAL, INC                    GLODO, MADISON                           GLORIA A JACOBSON
VALLEY FORGE BUSINESS CENTER           ADDRESS ON FILE                          201 N WESTSHORE DR APT 2801
2560 GENERAL ARMISTEAD AVENUE                                                   CHICAGO, IL 60601-7278
AUDUBON, PA 19403




GLORIA DUGGINS                         GLORIA FOWLER                            GLORIA M CAROTHERS
P.O.BOX 223                            RR 3 BOX 14840                           285 INDIANA AVE
HAMILTON, NC 27840                     NAVARRE, OH 44662                        GALESBURG, IL 61401




GLORIA STEELE                          GLORIA WEAVER                            GLORIA Y SMITH
6 BROWN VIEW DR                        163 ROBERT TAYLOR DR                     1810 HEPHZIBAH MCBEAN RD
WARRENVILLE, SC 29851                  MARIANNA, AR 72360                       HEPHZIBAH, GA 30815




GLORIA, CRYSTAL                        GLORIA, MICHELLE                         GLORIA, SOCORRO C.
805 S JACKSON ST                       805 S JACKSON ST                         8739 35TH AVENUE
WAUKEGAN, IL 60085                     WAUKEGAN, IL 60085                       KENOSHA, WI 53142




GLOUDE, CHRISTOPHER M.                 GLOVER ANNIE M                           GLOVER, AMANDA J.
16904 SOUTH SUNSET RIDGE COURT         1610 WILSON COURT                        ADDRESS ON FILE
LOCKPORT, IL 60441                     ZION, IL 60099
GLOVER, BENJAMIN        Case 20-10766-BLS
                                      GLOVER,Doc  6 E.
                                             CAROLYN  Filed 04/07/20   Page GLOVER,
                                                                            680 of JATAIME
                                                                                    1969 S.
4277 NORTH SILVERTON ST               ADDRESS ON FILE                       1400 MISSOURI AVE APT. 35-B
AIKEN, SC 29803                                                             EAST ST LOUIS, IL 62201




GLOVER, JENNY M.                      GLOVER, JOSHUA                        GLOVER, NANCY
504 EAST MARY DRIVE                   504 E MARY DR                         170 JENNIFER LANE
TROY, IL 62294                        TROY, IL 62294                        CALUMET CITY, IL 60409




GLOWA, RAYMOND                        GLUECK, THERESA L.                    GLUTTING, JULIA A.
2118 SANFORD AVE                      216 RIVER LAUREL DR                   4691 SUZETTE AVE NW
NEW LENOX, IL 60451                   BELLEVILLE, IL 62220                  MASSILLON, OH 44647




GLUZINSKI, KATHY                      GMA ARCHITECTS                        GMB PROPERTIES LLC
138 CENTENNIAL DRIVE                  860 W PARK ST STE 300                 255 BUFFALO GROVE RD, 4903
HAINSVILLE, IL 60073-4717             EUGENE, OR 97401-3111                 BUFFALO GROVE, IL 60089




GMEINER ANDREW J                      GMELCH, DESTINY J.                    GMO
651 BURGERTOWN RD                     ADDRESS ON FILE                       GMO CREDIT OPPORTUNITIES FUND L P
COPPERHILL, TN 37317




GMO                                   GMP EMPLOYERS                         GMSS GENERAL MAILING & SHIPPING
GMO IMPLEMENTATION FUND A SERIES OF   RETIREE TRUST                         SYSTEMS INC
GMO TRUST                             5245 BIG PINE WAY ST                  8532 PASEO ALAMEDA NE
                                      FORT MYERS, FL 33907                  ALBUQUERQUE, NM 87113




GNR HEALTH SYSTEMS, INC.              GO PROMOTIONS                         GO, JIM
71 SPIT BROOK RD SUITE 203            P.O. BOX 194                          1401 WINGATE COVE
NASHUA, NH 03060                      HIGHLAND PARK, IL 60035               WEST MEMPHIS, AR 72301




GO0CH, SHERRY L.                      GOAD, CASEY A.                        GOAD, DENISE A.
170 CAROL ROAD                        ADDRESS ON FILE                       530 BANDY AVE
HURON, TN 38345                                                             GALESBURG, IL 61401




GOAD, JUANITA                         GOBBELL HAYS PARTNERS, INC            GOBBELL HAYS PARTNERS, INC
ADDRESS ON FILE                       217 FIFTH AVE NORTH                   2174 FIFTH AVENUE NORTH
                                      NASHVILLE, TN 37219                   NASHVILLE, TN 37219




GOBERDHAN, KHEMWATTIE                 GOBLE NICHOLAS L                      GOBLE, AUTUMN
712 MOHANSIC AVE                      110 WHISPERBROOK LN                   ADDRESS ON FILE
LOGANVILLE, GA 30052                  GUNTERSVILLE, AL 35976
GOBLE, BRITTANY           Case 20-10766-BLS     Doc 6 W. Filed 04/07/20
                                        GOBLE, HERMAN                     Page GOBLE,
                                                                               681 ofJUANITA
                                                                                       1969
357 SILVER FOX DRIVE                      334 OAKLAND CIRCLE                   114 LEVISA DRIVE
LOUISA, KY 41230                          CHATSWORTH, GA 30705                 LOUISA, KY 41230




GOBLE, PHIL                               GOBLE, TRACY L.                      GOCKEL, SUSAN
4692 TURKEY CREEK                         ADDRESS ON FILE                      2 COUNTRY LAKES LN
INEZ, KY 41224                                                                 WATERLOO, IL 62298




GODBEE, SHARON                            GODDARD JERRY                        GODDARD, CAROLYN A.
2876 MILTON BRYAN DR                      ADDRESS ON FILE                      ADDRESS ON FILE
LOGANVILLE, GA 30052




GODDARD, HARVEY G.                        GODDARD, JERRY L.                    GODDARD, JERRY
1175 LAUREL AVE                           ADDRESS ON FILE                      ADDRESS ON FILE
SPRINGFIELD, OR 97478




GODDARD, JIMMIE D.                        GODDARD, JUDY C.                     GODDARD, LISA A.
1052 BAY SPRING RD APT.209                2008 BRYAN AVE                       ADDRESS ON FILE
CENTRE, AL 35960                          GRANITE CITY, IL 62040




GODDETTE-BLOOD, JAN                       GODELL, LISA                         GODFREY, DAYNA M.
15 FITTS COURT                            ADDRESS ON FILE                      ADDRESS ON FILE
BLUE RIDGE, GA 30513




GODFREY, HANNAH                           GODFREY, MELISSA S.                  GODFREY, TEQUILA
P.O. BOX 1                                ADDRESS ON FILE                      601 MANISTEE AVE.
RELIANCE, TN 37369                                                             CALUMET CITY, IL 60409




GODFREY, WILLIAM T.                       GODFREY, WILLIAM T.                  GODFREY, WILLIAM TIMOTHY
6405 TREE RIDGE COVE                      ADDRESS ON FILE                      6405 TREE RIDGE COVE
BRENTWOOD, TN 37027                                                            BRENTWOOD, TN 37027




GODFREY, ZECHARIAH                        GODIER, ANDREA                       GODIER, DEBORAH
81 KNOLL RD                               ADDRESS ON FILE                      ADDRESS ON FILE
MINERAL BLUFF, GA 30559




GODINEAUX, ERICA E.                       GODING, HARRIET                      GODLEY, LEANNE B.
ADDRESS ON FILE                           P.O. BOX 458                         ADDRESS ON FILE
                                          SPRINGER, NM 87747
GODOY, ESMERALDA         Case 20-10766-BLS   Doc
                                       GODSHALL,   6 Filed 04/07/20
                                                 STEPHANIE            Page GODSIL,
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                                                                                   1969
2820 SAN JUAN RD                       P.O. BOX 646                        ADDRESS ON FILE
AROMAS, CA 95004                       COLLINSVILLE, AL 35961




GODWIN, DON                            GODWIN, JADRIANNE B.                GODWIN, JUDY
5293 DICKENS RD                        ADDRESS ON FILE                     217 COUNTY ROAD 536
TARBORO, NC 27886                                                          GROVE OAK, AL 35975




GODWIN, KAPONO                         GODWIN, MELISSA                     GOE, ALICIA L.
88080 HEATHER DR.                      ADDRESS ON FILE                     1208 34TH STREET NE
SPRINGFIELD, OR 97478                                                      CANTON, OH 44714




GOEBEL ERIN M                          GOEBEL, DANIEL R.                   GOEBEL, ERIN M.
ADDRESS ON FILE                        6323 W CAROL LN                     ADDRESS ON FILE
                                       PALOS HEIGHTS, IL 60463




GOECKNER, ROBERTA                      GOEDDEL, TIMOTHY J.                 GOEHL, LORI A.
ADDRESS ON FILE                        8441 LL ROAD                        ADDRESS ON FILE
                                       RED BUD, IL 62278




GOEKEN, ALLISON M.                     GOEPPER, FREDERICA                  GOETTER, ASHLEY
19401 PETER BLUFF ROAD                 3261 BOLD SPRINGS RD                ADDRESS ON FILE
DELAVAN, IL 61734                      MONROE, GA 30656




GOETTING, KATHLEEN                     GOETTING, KATHLEEN                  GOETTING, THOMAS
7328 GRIGGS ROAD                       ADDRESS ON FILE                     7328 GRIGGS RD
RED BUD, IL 62278                                                          RED BUD, IL 62278




GOETTING, VIRGIL                       GOETTSCHE, HALLIE K.                GOFF MICHAEL B
2717 RICHFIELD RD                      137 N 100 W                         12182 STIRITZ RD
RED BUD, IL 62278                      TOOELE, UT 84074                    WEST FRANKFORT, IL 62896




GOFF, AMBER                            GOFF, BEVERLY S.                    GOFF, BRENT
ADDRESS ON FILE                        611 S JEFFERSON ST                  ADDRESS ON FILE
                                       ABINGDON, IL 61410




GOFF, DEBORAH K.                       GOFF, SUZANNE H.                    GOGGANS LANA
ADDRESS ON FILE                        20547 N C HWY 125                   3212 DEAN RD NE
                                       WILLIAMSTON, NC 27892               FORT PAYNE, AL 35967-7671
GOGGANS, JODY            Case 20-10766-BLS
                                       GOGGIN,Doc
                                              SARA 6       Filed 04/07/20   Page GOGGINS,
                                                                                 683 of 1969
                                                                                          SHANNYE
281 COUNTY ROAD 1026                    4860 HERON POINTE DRIVE APT 111          15224 GRANT STREET
VALLEY HEAD, AL 35989                   TAMPA, FL 33616                          DOLTON, IL 60419




GOGOL, LISA                             GOGUE, JERRY                             GOIN, JAMES W.
724 MEDILL AVE NE                       P.O. BOX 851                             1245 CHERRY RD NW
MASSILLON, OH 44646                     407 OAK ST                               MASSILLON, OH 44647
                                        CARRIER MILLS, IL 62917-1260




GOIN, REBEKAH H.                        GOINS, ADRIANA C.                        GOINS, CAREY W.
1245 CHERRY RD NW                       1679 COUNTY ROAD 66                      3452 GREYSTONE DRIVE
MASSILLON, OH 44647                     SECTION, AL 35771                        LOGANVILLE, GA 30052




GOINS, VIVIAN D.                        GOKENBACH, BARBARA L.                    GOLAN, CHEYENNE
P O BOX 680987                          SHOW ME MO TOURS, LLC                    205 WEST GREEN ST
FT PAYNE, AL 35968                      6600 OLEATHA AVE                         ROBERSONVILLE, NC 27871
                                        ST LOUIS, MO 63139-0000




GOLATT, OLLIE                           GOLD ADVANTAGE                           GOLD COAST HEALTH PLAN
P O BOX 3066                            P.O. BOX 8052                            P O BOX 9152
FORREST CITY, AR 72335                  LONDON, KY 40742                         OXNARD, CA 93031




GOLD DEANNA                             GOLD, AMANDA                             GOLD, DEANNA R.
ADDRESS ON FILE                         192 W PREAKNESS WAY                      ADDRESS ON FILE
                                        STANSBURY PARK, UT 84074




GOLDEN EAGLES BASKETBALL                GOLDEN RULE                              GOLDEN STATE WATER CO
P.O. BOX 1131                           P.O. BOX 31374                           630 E FOOTHILL BLVD
CARBONDALE, IL 62903                    SALT LAKE CITY, UT 84131-0374            SAN DIMAS, CA 91773




GOLDEN STATE WATER COMPANY              GOLDEN TEAL                              GOLDEN, AMBER D.
P.O. BOX 9016                           1220 SULPHUR SPRINGS RD                  230 WOODLAND ESTATES
SAN DIMAS, CA 91773-9016                PARSONS, TN 38363                        PAINTSVILLE, KY 41240




GOLDEN, ESTHER M.                       GOLDEN, LILLIAN                          GOLDEN, MICHELLE
2908 LAMBETH CT                         3482 SAGEWOOD CT.                        518 NORTH G ST
SAN JOSE, CA 95132                      SNELLVILLE, GA 30039                     MONMOUTH, IL 61462




GOLDEN, MILDRED E.                      GOLDEN, TERESA                           GOLDEN-ROBERTS, TAMARA L.
ADDRESS ON FILE                         1278 N ST                                3822 MESQUITE LN BOX 1799
                                        SPRINGFIELD, OR 97477                    LITTLEFIELD, AZ 86432
                       Case 20-10766-BLS
GOLDENTREE ASSET MANAGEMENT    LP           Doc ASSET
                                     GOLDENTREE   6 Filed  04/07/20
                                                       MANAGEMENT LP         Page GOLDENTREE
                                                                                  684 of 1969ASSET MANAGEMENT LP
CITY OF NEW YORK GROUP TRUST-1       FS CREDIT INCOME FUND                        FS MULTI ALTERNATIVE CREDIT LLC




GOLDENTREE ASSET MANAGEMENT LP          GOLDENTREE ASSET MANAGEMENT LP            GOLDENTREE ASSET MANAGEMENT LP
GOLDENTREE 2004 TRUST                   GOLDENTREE CREDIT OPPORTUNITIES           GOLDENTREE LOAN MANAGEMENT US CLO
                                        2012-1 FINANCING, LIMITED                 2, LTD.




GOLDENTREE ASSET MANAGEMENT LP          GOLDENTREE ASSET MANAGEMENT LP            GOLDENTREE ASSET MANAGEMENT LP
GOLDENTREE LOAN MANAGEMENT US CLO       GOLDENTREE LOAN OPPORTUNITIES IX,         GOLDENTREE LOAN OPPORTUNITIES XI
3, LTD.                                 LIMITED                                   LIMTIED




GOLDENTREE ASSET MANAGEMENT LP          GOLDENTREE ASSET MANAGEMENT LP            GOLDENTREE ASSET MANAGEMENT LP
GOLDENTREE LOAN OPPORTUNITIES XII,      GT LOAN FINANCING I, LTD                  HEALTH NET OF CALIFORNIA, INC
LIMITED




GOLDENTREE ASSET MANAGEMENT LP          GOLDENTREE ASSET MANAGEMENT LP            GOLDENTREE ASSET MANAGEMENT LP
HEALTHCARE EMPLOYEES PENSION PLAN -     HIGH YIELD AND BANK LOAN SERIES TRUST     LOUISIANA STATE EMPLOYEES
MANITOBA-1                                                                        RETIREMENT SYSTEM-2




GOLDENTREE ASSET MANAGEMENT LP          GOLDFISH LOCUM TENENS                     GOLDFISH LOCUMS LLC
ROCK BLUFF HIGH YIELD PARTNERSHIP, LP   6865 WINDCREST DR STE 300                 6865 WINDCREST DR STE 300
                                        PLANO, TX 75024                           PLANO, TX 75024




GOLDFISH LOCUMS LLC                     GOLDFISH PARTNERS LLC                     GOLDFISH PARTNERS
6865 WINDCREST DRIVE SUITE 300          6865 WINDCREST DR SUITE 300               6865 WINDCREST DRIVE
PLANO, TX 75024                         PLANO, TX 75024                           SUITE 300
                                                                                  PLANO, TX 75024




GOLDIE CLEVENGER                        GOLDIN J P                                GOLDIN, MAXWELL C.
1020 KENYON AVE NW                      1648 CARLYLE RD                           2480 CASHTOWN RD
MASSILLON, OH 44647                     RAINSVILLE, AL 35986-3317                 BREMEN, GA 30110




GOLDING, SAMUEL I.                      GOLDMAN SACHS (0005)                      GOLDMAN SACHS GROUP
220 CHEYENNE DR                         ATTN MEGHAN SULLIVAN OR PROXY DEPT        30 HUDSON STREET
EVANSTON, WY 82930                      30 HUDSON STREET                          JERSEY CITY, NJ 07302
                                        JERSEY CITY, NJ 07302




GOLDMAN SACHS SPECIAL SITUATIONS        GOLDMAN, JOAN                             GOLDMAN, KAYLA
SPECIAL SITUATIONS INVESTING GROUP      23 WILDWOOD                               12159 VINCENNES RD APT 2
                                        MT. VERNON, IL 62864                      BLUE ISLAND, IL 60406
GOLDMAN, RUBY           Case 20-10766-BLS   Doc
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                                               WILLIAM A. 04/07/20   Page GOLDSTEIN,
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15294 N. BLACKBIRD LN                 ADDRESS ON FILE                     489 BRADFORD TOWN PL
BLUFORD, IL 62814                                                         LOGANVILLE, GA 30052-8800




GOLDTOOTH, JAIME                      GOLEANOR, SHERI M.                  GOLEC, BRITTANY N.
P.O. BOX 1515                         625 JAIME LYNN CT                   ADDRESS ON FILE
LITTLEFIELD, AZ 86432                 EDWARDSVILLE, IL 62025




GOLF CLASSICS                         GOLFETTO, GINA N.                   GOLLEHER, VICTORIA G.
P.O. BOX 850                          ADDRESS ON FILE                     4811 RATLIFF RD
MCMINNVILLE, TN 37111                                                     BIG SPRING, TX 79720




GOMBOS, ROSEANN J.                    GOMES, HAYLEY                       GOMEZ DE BERMUDEZ, ANA M.
1717 MCMILLEN AVE                     362 CULROSS CIR                     15850 CASTROVILLE BOULEVARD
DOVER, OH 44622                       STANSBURY PARK, UT 84074            CASTROVILLE, CA 95012




GOMEZ MARY M                          GOMEZ, ALICE                        GOMEZ, ASHLEY D.
909 ARMORY RD BOX 250                 612 1ST STREET                      200 5TH STREET P.O. BOX 352
P.O. BOX 250                          WAUKEGAN, IL 60085                  ODONNELL, TX 79351
BARSTOW, CA 92311




GOMEZ, COLBY                          GOMEZ, COLBY                        GOMEZ, DENISE K.
ADDRESS ON FILE                       ADDRESS ON FILE                     ADDRESS ON FILE




GOMEZ, DENNIKA A.                     GOMEZ, DIANNE N.                    GOMEZ, DORIAN
ADDRESS ON FILE                       ADDRESS ON FILE                     ADDRESS ON FILE




GOMEZ, GRISELDA                       GOMEZ, HERMILO                      GOMEZ, JACOB J.
ADDRESS ON FILE                       1129 N POPLAR                       ADDRESS ON FILE
                                      WAUKEGAN, IL 60085




GOMEZ, JESSICA                        GOMEZ, JONATHAN                     GOMEZ, JULIUS CESAR D.
1778 NORTH RD                         ADDRESS ON FILE                     3202 FENN ST
SNELLVILLE, GA 30078                                                      BIG SPRING, TX 79720




GOMEZ, JUSTIN A.                      GOMEZ, LESLIE                       GOMEZ, MAGALI G.
ADDRESS ON FILE                       ADDRESS ON FILE                     1620 SOUTH COPPER ST.
                                                                          DEMING, NM 88030
GOMEZ, MARGARITA          Case 20-10766-BLS    Doc 6E. Filed 04/07/20
                                        GOMEZ, MARIA                           Page GOMEZ,
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P O BOX 366                              63 WINDING CT                             1806 DONLEY STREET
DEMING, NM 88030                         WATSONVILLE, CA 95076                     BIG SPRING, TX 79720




GOMEZ, PRISCILLA                         GOMEZ, ROXY M.                            GOMEZ, SEMYSETH
2107 MORRISON DRIVE                      708 N BLACK STREET                        635 MASSENA AVE
BIG SPRING, TX 79720                     SILVER CITY, NM 88601                     WAUKEGAN, IL 60085




GOMEZ, SHREE C.                          GOMEZ, SUZANNE                            GOMEZ, TERRI
ADDRESS ON FILE                          534 W 44TH ST                             P.O. BOX 692
                                         CHICAGO, IL 60609-3507                    ENTERPRISE, UT 84725




GOMEZ, VANESSA D.                        GOMEZ, VANESSA D.                         GOMEZBERMUDEZ, LUIS D.
5460 8TH ST SW                           ADDRESS ON FILE                           12163 W WALDO AVE
DEMING, NM 88030                                                                   BEACH PARK, IL 60087




GOMEZ-JIMENEZ, JUAN                      GOMEZ-MAREK, ANA                          GOMEZ-PEREZ, JOEL
868 JOSHUA DR                            15003 MESA OAK WAY                        2647 GRUNEWALD ST
MESQUITE, NV 89027-7000                  PRUNEDALE, CA 93907                       BLUE ISLAND, IL 60406




GOMEZ-TORRES, SAVINA                     GOMEZ-VELAZQUEZ, ROSENDO                  GOMILLION, MATTIE
P.O. BOX 2634                            5100 COLLINSVILLE RD                      22818 MCKENZIE GRADE RD
MESQUITE, NV 89027                       LOT 9                                     MCKENZIE, AL 35456-3215
                                         E. ST. LOUIS, IL 62201




GOMOLL, JEANNIE                          GONAZLES, ERIC                            GONKA, DENNIS
12019 252ND AVENUE                       1409 CRYSTAL BROOK CT                     12039 W 29TH STREET
TREVOR, WI 53179                         MONROE, GA 30655                          BEACH PARK, IL 60099




GONOT, DEBORAH R.                        GONZAGA, ANGEL                            GONZALES CLAUDIA
ADDRESS ON FILE                          947 HIGHLAND RD                           ADDRESS ON FILE
                                         MUNDELEIN, IL 60060




GONZALES ERIN J                          GONZALES HEALTHCARE SYSTEMS               GONZALES, AILEEN
365 BROWNS COVE RD                       MEMORIAL HOSPITAL/GONZALES                465 TURTLEBACK UNIT A
BLUE RIDGE, GA 30513                     1110 NORTH SARA DEWITT DRIVE - P.O.       MESQUITE, NV 89027
                                         BOX 587
                                         GONZALES, TX 78629-0587



GONZALES, ALICIA A.                      GONZALES, ALLEN                           GONZALES, ALYSSA
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE
GONZALES, ARLENE N.      Case 20-10766-BLS   Doc
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ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




GONZALES, CECILIA                      GONZALES, CHRISTINA M.              GONZALES, CLAUDIA
1855 FULTON LANE                       3370 2ND ST NW                      ADDRESS ON FILE
HANOVER PARK, IL 60133                 DEMING, NM 88030




GONZALES, DEXTER                       GONZALES, DIANA J.                  GONZALES, DINA P.
8127 DELAND CT.                        ADDRESS ON FILE                     615 HIGHLAND DR
TINLEY PARK, IL 60477                                                      BIG SPRING, TX 79720




GONZALES, DOROTHY D.                   GONZALES, ELLEN M.                  GONZALES, GLORIA
2014 WAVERLY PL                        121 E. 2ND STREET                   601 ATRI CT
WAUKEGAN, IL 60085                     DEMING, NM 88030                    WATSONVILLE, CA 95076




GONZALES, KATHLEEN R.                  GONZALES, LUCAS                     GONZALES, MICHAEL
613 BISBEE RD                          P.O. BOX 3015                       2609 WASSON RD 08
BISBEE, AZ 85603                       LAS VEGAS, NM 87701                 BIG SPRING, TX 79720




GONZALES, MICHELLE J.                  GONZALES, NATALIE                   GONZALES, NICOLE R.
28 S WATERFORD DRIVE                   ADDRESS ON FILE                     ADDRESS ON FILE
ROUND LAKE, IL 60073




GONZALES, PAMELA R.                    GONZALES, SHARI                     GONZALES, TIARA
713 S 3RD ST                           729 DORA CELESTE                    2631 SYCAMORE DR
RATON, NM 87740                        LAS VEGAS, NM 87701                 WAUKEGAN, IL 60085




GONZALES, VICTOR S.                    GONZALES, ZACHARIAH M.              GONZALES, ZANE
460 PARTRIDGE AVE                      ADDRESS ON FILE                     124 MOUNTAIN VILLAGE DR B
SILVER CITY, NM 88061                                                      EVANSTON, WY 82930-2155




GONZALESASTORGA SOFIA                  GONZALES-COLLAZO, OMAR              GONZALEZ DE CHAVEZ, YALITZA
P.O. BOX 3386                          P.O. BOX 91                         ADDRESS ON FILE
PRESIDIO, TX 79845                     MESQUITE, NV 89024




GONZALEZ LAURA C                       GONZALEZ, ANGELA B.                 GONZALEZ, ANNA M.
12652 W AUDREY AVE                     1095 SOUTH JOHNSON LANE             ADDRESS ON FILE
BEACH PARK, IL 60087                   RUSH VALLEY, UT 84069
GONZALEZ, BECCA M.        Case 20-10766-BLS   Doc
                                        GONZALEZ,   6 Filed
                                                  CHERYL L. 04/07/20        Page GONZALEZ,
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                                                                                           CONCHETTA M.
5910 MT VERNON RD                       ADDRESS ON FILE                          828 NORTH B STREET
SPRINGFIELD, OR 97478                                                            MONMOUTH, IL 61462




GONZALEZ, ELIZABETH                     GONZALEZ, JAZMIN                         GONZALEZ, JEANTIELLE M.
423 N KELLOGG ST APT2                   11608 S. KOLMAR AVE                      ADDRESS ON FILE
GALESBURG, IL 61401                     ALSIP, IL 60803




GONZALEZ, JESSICA                       GONZALEZ, MARITSA                        GONZALEZ, MD, CARLOS
2672 ROSS LN                            134 N CALIFORNIA AVE                     ADDRESS ON FILE
EUGENE, OR 97404                        MUNDELEIN, IL 60060




GONZALEZ, MENIE                         GONZALEZ, MINERVA                        GONZALEZ, NYDIA
677 NEEDLEGRASS PKWY                    ADDRESS ON FILE                          452 NORTH AVENUE
ANTIOCH, IL 60002                                                                WAUKEGAN, IL 60085




GONZALEZ, PAOLA-BIANCA                  GONZALEZ, PERLA                          GONZALEZ, ROCIO
34037 N JENNA LN                        37 CLIFFORD AVE                          451 WINCHESTER DR
GURNEE, IL 60031                        WATSONVILLE, CA 95076                    WATSONVILLE, CA 95076




GONZALEZ, ROSA E.                       GONZALEZ, RUDY                           GONZALEZ, SAMANTHA L.
2088 KINGHALL RD                        2527 NEW ST                              ADDRESS ON FILE
ROYAL OAKS, CA 95076                    BLUE ISLAND, IL 60406




GONZALEZ, TERESA                        GONZALEZ-AVILA ELVA                      GONZALEZ-AVILA, ELVA
ADDRESS ON FILE                         713 CHEYENNE ST                          713 CHEYENNE ST
                                        ROUND LAKE HEIGHTS, IL 60073-1182        ROUND LAKE HEIGHTS, IL 60073-1182




GONZALEZ-KIRBY, NANCY                   GONZALEZ-RIOS, ISELA                     GOOCH, ELIZABETH
2623 123RD ST UNIT GF                   13602 US HIGHWAY 87 N                    19529 STATE HIGHWAY 149
BLUE ISLAND, IL 60406                   STERLING CITY, TX 76951                  WEST FRANKFORT, IL 62896




GOOCH, LINDSAY T.                       GOOCH, SHEILA K.                         GOOCH, THOMAS
21206 HOLMES ROAD                       1471 WOLF CREEK ROAD                     8023 STONEFORT RD
CREAL SPRINGS, IL 62922                 MURPHY, NC 28906                         CREAL SPRINGS, IL 62922




GOOD CLEAN FUN MUSIC INC                GOOD HOUSEKEEPING                        GOOD OLD DAYS
2959 GRANDE TRAIL                       P.O. BOX 6000                            P.O. BOX 9025
YORKVILLE, IL 60560-4707                HARLAN, IA 51593-1500                    BIG SANDY, TX 75755
                        Case 20-10766-BLS
GOOD SAMARITAN - MT. VERNON                  Doc 6 HOSPITAL
                                      GOOD SAMARITAN    Filed 04/07/20   Page GOOD
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                                                                                   SAMARITAN
P.O. BOX 776477                       520 SOUTH SEVENTH STREET               1 GOOD SAMARITAN REGIONAL
CHICAGO, IL 60677-7004                VINCENNES, IN 47591-1038               MT VERNON, IL 62864




GOOD, ALLAN                            GOODALE, CATHERINE M.                 GOODALE, CATHERINE M.
11563 BACK MASSILLON RD                ADDRESS ON FILE                       ADDRESS ON FILE
LOT 19
ORRVILLE, OH 44667-9777




GOODALE, MAGGIE                        GOODALE, MARGARET                     GOODALE, PATRICK K.
2019 N FARWELL AVE                     1129A E. CLARKE ST.                   ADDRESS ON FILE
109                                    MILWUAKEE, WI 53212
MILWAUKEE, WI 53202




GOODALL PRINTING COMPANY               GOODALL, JAMES                        GOODALL, TREVIA
1114 20TH STREET                       6766 W LIBERTY PRAIRIE LN             304 EDGEWOOD CV
HUNTINGTON, WV 25703                   EDWARDSVILLE, IL 62025-7812           MARION, AR 72364




GOODBAR, HARRY                         GOODBAR, MARY                         GOODE, VAN
P.O. BOX 402                           P.O. BOX 402                          85 JIMBO LANE
WEST MEMPHIS, AR 72303                 WEST MEMPHIS, AR 72303                COAHOMA, MS 38617




GOODEN, STACI A.                       GOODFELLOW, HEIDI                     GOODFELLOW, JASON
1812 WEST TYLER STREET                 360 PONDEROSA                         P.O. BOX 979
HERRIN, IL 62948                       EVANSTON, WY 82930                    LOGANDALE, NV 89021-0979




GOODIN, TABITHA S.                     GOODING, DONNA                        GOODISKY, JOHN
ADDRESS ON FILE                        2904 NC HWY 903 N                     24 CARNATION DRIVE
                                       STOKES, NC 27884                      COLLINSVILLE, IL 62234-0000




GOODLOW ESQ., EDWARD                   GOODLOW, JALISA                       GOODLOW, SHIRLEY A.
191A SECOND ST.                        820 BATEMAN ST.                       311 ILLINOIS AVENUE
LEXINGTON, TN 38351                    GALESBURG, IL 61401                   GALESBURG, IL 61401




GOODMAN DISTRIBUTION,INC               GOODMAN, BRADY J.                     GOODMAN, CAROLYN A.
P.O.BOX 660503                         5971 JESSICA LANE                     ADDRESS ON FILE
DALLAS, TX 75266-0503                  SPRINGFIELD, OR 97478




GOODMAN, KATHERINE                     GOODMAN, KOURTNEY                     GOODMAN, MARY JANE
210 EAST RALSTON AVE                   ADDRESS ON FILE                       105 RABBIT HILL RD
AKRON, OH 44301                                                              BELLEFONTE, PA 16823
GOODMAN, MISTY G.         Case 20-10766-BLS   Doc
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                                                                                     WANDA K.
ADDRESS ON FILE                         256 3RD AVE NW                      ADDRESS ON FILE
                                        BEACH CITY, OH 44608




GOODMEN, KENNETH                        GOODNICK, LOGAN                     GOODNIGHT, CAROL A.
4802 KASKASKIA ROAD                     2837 STATE ROUTE 156                8191 FOHL ST SW
WATERLOO, IL 62298                      WATERLOO, IL 62298-6217             NAVARRE, OH 44662




GOODNIGHT, MARK                         GOODRICH, CHAUNCIA M.               GOODRICH, MANDY
1348 SPRINGHAVEN CIR NE                 ADDRESS ON FILE                     321 COLD CREEK PASS
MASSILLON, OH 44646                                                         BLUFFTON, SC 29910




GOODRICH, MELISSA CNM                   GOODRICH, MELISSA                   GOODRICH, TONI
ADDRESS ON FILE                         ADDRESS ON FILE                     705 BRIGHT RD
                                                                            HUNTINGDON, TN 38344




GOODWAY TECHNOLOGIES CORPORATION        GOODWAY TECHNOLOGIES CORPORATION    GOODWAY TECHNOLOGIES CORPORATION
420 WEST AVENUE                         DEPT 106040                         DEPT 106040
STAMFORD, CT 06902                      P.O. BOX 150413                     PO BOX 150413
                                        HARTFORD, CT 06115                  HARTFORD, CT 06115




GOODWILL HOSE COMPANY AMBULANCE         GOODWILL PUBLISHERS, INC            GOODWILL, TREESA
ASSOCIATION                             DBA AMBASSADOR COMPANY              4930 ECHOVALLY NW
P.O. BOX 726                            P.O. BOX 639590                     CANTON, OH 44720
NEW CUMBERLAND, PA 17070-0726           CINCINNATI, OH 45263-9590




GOODWIN RALPH W                         GOODWIN, CHRISTY                    GOODWIN, DANIEL
5577 FORTMAN LN                         5577 FORTMAN LN                     219 S VIRGINIA
WATERLOO, IL 62298                      WATERLOO, IL 62298                  BELLEVILLE, IL 62220




GOODWIN, DEVYN L.                       GOODWIN, EVERETT                    GOODWIN, MATTHEW
602 N FEARING AVE                       324 LOCUST ST                       950 E. STATE ST.
ABINGDON, IL 61410                      GALESBURG, IL 61401                 NEWCOMERSTOWN, OH 43832




GOODWIN, RAELENE                        GOODWIN, ROGER E.                   GOOFY GOLF
ADDRESS ON FILE                         87308 HALDERSON RD                  2200 AUTUMN LANE
                                        EUGENE, OR 97402                    MARION, IL 62959




GOOLSBY, MAGNUS                         GOOSBY NORMA O                      GOOSLIN, TOMMY
141 JORDON DRIVE                        595 COUNTY RD 786                   46465 HWY 69
CENTRE, AL 35960                        FORT PAYNE, AL 35967-6709           SALTILLO, TN 38370
GOOSTREE, STACEY M.      Case 20-10766-BLS    Doc 6
                                       GOOT, MEL          Filed 04/07/20   Page GOPATH
                                                                                691 ofPATHOLOGY
                                                                                       1969     ASSOCIATES SC
865 BRIGHT RD                          1150 FRIENDSHIP LOOP                     1351 BARCLAY BOULEVARD
HUNTINGDON, TN 38344                   GOREVILLE, IL 62939                      BUFFALO GROVE, IL 60089




GORDILLO, EVELYN                       GORDILLO, EVELYN                         GORDON & WONG LAW GROUP PC
ADDRESS ON FILE                        ADDRESS ON FILE                          2490 CAMINO DIABLO
                                                                                STE 200
                                                                                WALNUT CREEK, CA 94597




GORDON ANDERSON, MD                    GORDON FOOD SERVICE                      GORDON FOOD SERVICE
ADDRESS ON FILE                        BRYAN VAUGHN, NATIONAL ACCOUNT           DEPT CH 10490
                                       MANAGER                                  PAYMENT PROCESSING CENTER
                                       1300 GEZON PARKWAY SW                    PALATINE, IL 60055-0490
                                       P.O. BOX 1787
                                       GRAND RAPIDS, MI 49509

GORDON FOOD SERVICE, INC               GORDON FOOD SERVICE, INC                 GORDON FOOD SERVICE, INC
P.O. BOX 2992                          PAYMT PROCESSING CTR                     PAYMT PROCESSING CTR
GRAND RAPIDS, MI 49501                 P.O. BOX 88029                           P.O. BOX 88029
                                       CHICAGO, IL 60680                        CHICAGO, IL 60680-1029




GORDON FOOD SVC                        GORDON N STOWE & ASSOCIATES INC          GORDON N STOWE & ASSOCIATES INC
P.O. BOX 88029                         3333 N KENNICOTT AVENUE                  3333 N. KENNICOTT AVE
CHICAGO, IL 60680-1029                 E3 DIAGNOSTICS                           E3 DIAGNOSTICS
                                       ARLINGTON HEIGHTS, IL 60004              ARLINGTON HEIGHTS, IL 60004




GORDON N. STOWE AND ASSOC              GORDON STOWE AND ASSOCIATES              GORDON, EMILY A.
3333 N. KENNICOTT AVE                  ATTN ACCOUNTS RECEIVABLE                 ADDRESS ON FILE
ARLINGTON HEIGHTS, IL 60004            586 PALWAUKEE DRIVE
                                       WHEELING, IL 60090




GORDON, GABERIELL                      GORDON, GLENDA M.                        GORDON, HELEN R.
4106 GASTON COURT                      443 NORTH 39TH STREET                    3098 CAMDEN WAY
BELLEVILLE, IL 62226                   BELLEVILLE, IL 62226                     GRANITEVILLE, SC 29829-3775




GORDON, JANET E.                       GORDON, JEAN                             GORDON, KELLY
10500 TRUMBULL                         10 SURREY DOWNS COVE                     2025 NORTH AVE
CHICAGO, IL 60655                      JACKSON, TN 38305                        WAUKEGAN, IL 60087




GORDON, LORI                           GORDON, NAKIA                            GORDON, NICOLE
33848 N BERWICK LANE                   15806 PEGGY LN                           6655 S PERRY AVE 3-A
GURNEE, IL 60031                       OAK FOREST, IL 60452                     CHICAGO, IL 60621




GORDON, RACHAEL                        GORDON, ROBIN                            GORDON, RONALD W.
ADDRESS ON FILE                        695 HOOCH HOLLOWER LANE                  2655 EMERALD ST
                                       MORGANTON, GA 30560                      EUGENE, OR 97403
GORDON, TAYANA B.         Case 20-10766-BLS
                                        GORDON,Doc  6 L.Filed 04/07/20
                                                TERESA                   Page GORDON,LISA
                                                                              692 of 1969
206 LEXINGTON DRIVE                      ADDRESS ON FILE                     158 IRIS LN
FORREST CITY, AR 72335                                                       GREENVILLE, AL 36037-5503




GORE BERNITA                             GORE KIMBERLY L                     GORE, CHRISTY
1000 GALEENER ST APT 11                  5666 COUNTY RD 76                   42 HATCHETT RD
VIENNA, IL 62995                         GROVEOAK, AL 35975                  LEXINGTON, TN 38351




GORE, DEBBIE                             GORE, MARTHA                        GORE, SHYVONNE
675 SFC 815                              788 HWY 261 S                       P.O.BOX 9
PALENSTINE, AR 72372                     PALESTINE, AR 72372                 LEWISTON, NC 24849




GORE, STEPHEN G.                         GOREE, MICHAEL A.                   GORGES STEVEN
2808 PARKWAY CT                          ADDRESS ON FILE                     22 STAR CREEK DRIVE
GALESBURG, IL 61401                                                          MORGANTON, GA 30560




GORGES, PATRICIA M.                      GORHAM, JOYCE L.                    GORHAM, NICKEY C.
22 STAR CREEK DR                         1001 N PASADENA ST 157              105 COUNTY ROAD 284
MORGANTON, GA 30560                      MESA, OR 85201                      FORT PAYNE, AL 35967




GORMAN, ARIANA M.                        GOROSPE, GLOWEN JANICA              GOROSTIETA, VIRGINIA
ADDRESS ON FILE                          ADDRESS ON FILE                     20632 DANDRIDGE DR
                                                                             LYNWOOD, IL 60411




GORRELL, LESLIE H.                       GORTNEY, JESSICA K.                 GORVETT, DEBRA
ADDRESS ON FILE                          ADDRESS ON FILE                     2866 EDWARDS ESTATE CR
                                                                             DACULA, GA 30019




GOSHA, DARINE                            GOSS JODI L                         GOSS RICKY
CHICAGO, IL 60620                        24987 W PALMER CT                   6401 KIMSEY MTN ROAD
                                         ANTIOCH, IL 60002                   TURTLETOWN, TN 37391




GOSS, HEATHER A.                         GOSS, KADEE D.                      GOSS, PAUL
ADDRESS ON FILE                          ADDRESS ON FILE                     2691 HIGHLAND OAKS RD
                                                                             EUGENE, OR 97405-5920




GOSS, RACHEL                             GOSS, REBECCA                       GOSS, VERNA R.
ADDRESS ON FILE                          1753 KNOX RD 800 E                  ADDRESS ON FILE
                                         GALESBURG, IL 61401
GOSSETT, PAUL G.         Case 20-10766-BLS   Doc
                                       GOSSETT,     6 Filed 04/07/20
                                                RICHARD                    Page GOSSETT,
                                                                                693 of 1969
                                                                                         RITA M.
15 HIEL DR                              ADDRESS ON FILE                         ADDRESS ON FILE
BUSHNELL, IL 61422




GOSSMAN-PATTERSON, RENEE                GOTT, AMANDA BYASSEE - FOR JUDGE        GOTT, AMANDA
ADDRESS ON FILE                         802 GREGORY AVE                         1505 MATTHEW LANE
                                        MARION, IL 62959                        MARION, IL 62959




GOTTLIEB LLC                            GOTTSCHALK, JOHANNES                    GOTTSHALL, MEGAN
P.O. BOX 58027                          304 S JONES BLVD 300                    355 SHUNK HOLLOW LN
JACKSONVILLE, FL 32241                  LAS VEGAS, NV 89107                     MCKENZIE, TN 38201




GOUIN, ROSITA                           GOULD TRENT P                           GOULD, BETTY ANN
HC 69 BOX 29                            853 E TANGLEWOOD DR                     HC 65 BOX 164
SAPELLO, NM 87745                       TOOELE, UT 84074                        KANARRAVILLE, UT 84742




GOULD, CHRISTINE                        GOULD, CHRISTOPHER A.                   GOULD, DANIEL
P.O. BOX 1622                           4320 WRIGHTSBORO RD                     200 MARY WEBB ST
CENTRALIA, IL 62801                     GROVETOWN, GA 30813                     FRANKLIN, TN 37064




GOULD, MELINDA J.                       GOULD, MELINDA J.                       GOULD, RONALD J. MD
750 LEDFORD ROAD                        ADDRESS ON FILE                         ADDRESS ON FILE
HARRISBURG, IL 62946




GOURLEY, JANIE                          GOVERNMENT EMPLOYEES INS                GOVIND, BHAKTA
39091 MCKENZIE HWY                      ONE GEICO LANDING                       350 BARROW HILL RD
SPRINGFIELD, OR 97478-8603              VIRGINIA BEACH, VA 23454                FORREST CITY, AR 72335




GOWIN, ASHLEY                           GOWING, JENNY V.                        GOZA, JOHN D.
P.O. BOX 22                             2060 19TH STREET                        604 MURDOCK RD. N.E.
OLIVE BRANCH, IL 62969                  FLORENCE, OR 97439                      FORT PAYNE, AL 35967




GOZA, KAYLA                             GOZA, KIP                               GOZA, NATASHA E.
1610 COUNTY ROAD 822                    235 S CROSNO AVE                        ADDRESS ON FILE
COLLINSVILLE, AL 35961                  BONNIE, IL 62816




GOZA, PAULA E.                          GOZON, MA CRISTINA A.                   GPA(GROUP&PENSION ADMINISTRATORS)
ADDRESS ON FILE                         ADDRESS ON FILE                         ATT:REFUNDS
                                                                                P.O.BOX 749075
                                                                                DALLAS, TX 75374-9075
GPM HEALTH INS               Case 20-10766-BLS
                                           GPM LIFEDoc 6       Filed 04/07/20   Page GPY
                                                                                     694CORPORATION
                                                                                         of 1969
P.O. BOX 2679                               P.O. BOX 2679                            P.O. BOX 889
OMAHA, NE 68103-2679                        OMAHA, NE 68103-2679                     LOUISA, KY 41230




GPY DEVELOPMENT, INC                        GRABER, TIMOTHY                          GRABILL, GRANT
P.O. BOX 889                                270 20TH STREET SE                       10235 MANCHESTER AVE SW
LOUISA, KY 41230                            MASSILLON, OH 44646                      BEACH CITY, OH 44608




GRABLE, DONALD                              GRABLE, MARYANN                          GRABOWSKI CHESTER J
4228 MILLPORT AVE SW                        1240 BLACKBERRY MOUNTAIN RD              1421 45TH AVE N
CANTON, OH 44706                            ELLIJAY, GA 30536-7718                   ST PETERSBURG, FL 33703




GRABOWSKI, DANIEL                           GRACE BURNS                              GRACE COMMUNICATIONS INC
16335 84TH AVE                              664 LINCOLN ST APT 2                     715 WEST BROADWAY
TINLEY PARK, IL 60477-1109                  EUGENE, OR 97401                         NORTH LITTLE ROCK, AR 72114




GRACE M KISKO                               GRACE MEDICAL INC                        GRACE MEDICAL INC
137 4TH ST                                  MSC 410931                               P.O. BOX 34877
RENOVO, PA 17764                            P.O. BOX 5178                            MEMPHIS, TN 38184-0877
                                            MEMPHIS, TN 38101




GRACE MEDICAL                               GRACE, EDWARD L.                         GRACE, HANNAH
P.O. BOX 5178                               6418 ROYAL TERN CR                       ADDRESS ON FILE
MEMPHIS, TN 38101                           LAKEWOOD RANCH, FL 34202




GRACE, THOMAS                               GRACEN, JEANA G.                         GRACEY, MARGARET A.
404 OAK ST                                  ADDRESS ON FILE                          ADDRESS ON FILE
P.O. BOX 495
COBDEN, IL 62920




GRACEY, WILLIAM M.                          GRADDY, KATHY J.                         GRADEN, REBECCA
14 WYNSTONE                                 401 S BETHLEHEM RD                       4490 WOODSTONE AVE NW
NASHVILLE, TN 37215                         RUTLEDGE, AL 36071-3520                  MASSILLON, OH 44647-9021




GRADEXCHANGE INC                            GRADUATE PLASTICS INC                    GRADY, ANGELA
CAREERMD.COM                                QUANTUM MEDICAL                          ADDRESS ON FILE
P.O. BOX 706                                15800 NW 15TH AVE
NEW HAVEN, CT 06503                         MIAMI, FL 33169




GRADY, ANGELA                               GRADY, DANIEL A.                         GRADY, LISA M
530 GOODSILL DRIVE                          414 AVALON ST                            53 CR 148
EAST GALESBURG, IL 61430                    SANTA CRUZ, CA 95060                     HICKORY RIDGE, AR 72347
GRADY, TONYA            Case 20-10766-BLS    Doc 6
                                      GRAF, AMANDA       Filed 04/07/20   Page GRAFF
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                                                                                     JASON
326 FARRAGUT ST                       2021 N 220 W                             594 ISGREEN CR
PARK FOREST, IL 60466                 TOOELE, UT 84074                         TOOELE, UT 84074




GRAFF, CHELSI R.                      GRAFF, ELIZABETH                         GRAFF, KAROLYN S.
ADDRESS ON FILE                       106 SIDNEY LANE                          ADDRESS ON FILE
                                      GOREVILLE, IL 62939




GRAFF, MARTHA J.                      GRAFF, RENEE                             GRAFT, MICHAEL J.
2525 OLIVE STREET                     145 RABBIT RIDGE RUN                     6 WATERGATE RD
EUGENE, OR 97405                      MORGANTON, GA 30560-3154                 BARRINGTON, IL 60010




GRAGASIN, ALBERT                      GRAH, DONALD                             GRAHAM CAPITAL MANAGEMENT LP-FM
103 HASTINGS LN                       5633 SULSER ROAD                         GRAHAM CREDIT OPPORTUNITIES LTD.
WATSONVILLE, CA 95076                 ELLIS GROVE, IL 62241




GRAHAM CAPITAL MANAGEMENT LP-FM       GRAHAM DAVID W                           GRAHAM HEALTHCARE GROUP
GRAHAM MACRO STRATEGIC LTD.           112 19TH ST SE                           150 SCHARBERRY LANE
                                      FORT PAYNE, AL 35967-4761                MARS, PA 16046




GRAHAM JR, RALPH C.                   GRAHAM MARIE G                           GRAHAM REGIONAL MEDICAL CENTER
3001 KASSIDY LANE                     7990 BLUE POND BLVD                      1301 MONTGOMERY ROAD
WARRIOR, AL 35180                     SYLVANIA, AL 35988-2106                  GRAHAM, TX 76450




GRAHAM SAMUEL JERED                   GRAHAM, ALEXIS L.                        GRAHAM, AMY
3015 COUNTY ROAD 715                  3307 W. HAWTHORNE CT.                    1605 MTN. VIEW ROAD
HENAGAR, AL 35978                     MARION, IL 62959                         MCCAYSVILLE, GA 30555




GRAHAM, BRITTANY                      GRAHAM, CHARLES R.                       GRAHAM, EDDIE
530 KIRKS TRADING POST RD             7990 BLUE POND BLVD                      412 18TH ST
LOT 15                                SYLVANIA, AL 35988                       EVANSTON, WY 82930
BUCHANAN, TN 38222




GRAHAM, FREDERICK                     GRAHAM, GAIL                             GRAHAM, GINA
92 KAY ST                             P.O. BOX 314                             5452 CAMPTON BAPTIST ROAD
BEECH CREEK, PA 16822                 MADISON, AR 72359-0000                   CAMPTON, KY 41301




GRAHAM, JANET L.                      GRAHAM, JEFFERY                          GRAHAM, JESSICA
ADDRESS ON FILE                       6728 SUSAN DR                            5424 OLYMPIC CIRCLE
                                      CASTALIA, OH 44824                       EUGENE, OR 97402
GRAHAM, KAREN G.           Case 20-10766-BLS
                                         GRAHAM,Doc 6 L.
                                                MAKAYLA Filed 04/07/20   Page GRAHAM,
                                                                              696 of 1969
                                                                                      MARQUETTE
11 BRIARCLIFF DR                          560 LINCOLN STREET                  ADDRESS ON FILE
GRANITE CITY, IL 62040                    AUBURN, AL 36830




GRAHAM, MATTHEW B.                        GRAHAM, NANCY W.                    GRAHAM, PENNY
53 SANDALWOOD LOOP                        ADDRESS ON FILE                     12240 LUCCA RD SW
CRESWELL, OR 97426                                                            DEMING, NM 88030




GRAHAM, RENA J.                           GRAHAM, RUTH ANN                    GRAHAM, SHEILA
1018 WOLF CREEK CT                        468 COLUMBUS AVE                    186 COUNTY RD
STAUNTON, IL 62088                        GALESBURG, IL 61401                 EVANSTON, WY 82930




GRAHAM, TAMORA D.                         GRAHAM-ABATO, VIRGINIA              GRAHOVAC EMMALINE
3601 SAGEBRUSH PL                         3186 LA MANCHA WAY                  1032 RAVINA DR
YUKON, OK 73099                           HENDERSON, NV 89014                 GURNEE, IL 60031




GRAINGER INC                              GRAINGER INC                        GRAINGER INC
DEPT - 841929581                          DEPT 688 809393119                  DEPT 809390479
P.O. BOX 419267                           PALATINE, IL 60038                  PALANTINE, IL 60038-0001
KANSAS CITY, MO 64141




GRAINGER INC                              GRAINGER INC                        GRAINGER INC
DEPT 824520779                            DEPT 825320120                      DEPT. 824520779
PALANTINE, IL 60038-0001                  PALATINE, IL 60038                  PALATINE, IL 60038-0001




GRAINGER INC                              GRAINGER INC                        GRAINGER
DEPY 803829308                            P.O. BOX 419267                     DEPT 819418872
PALITINE, IL 60038-0001                   KANSAS CITY, MO 64141-6267          PALATINE, IL 60038




GRAINGER, INC                             GRAINGER, INC.                      GRAINGER, INC./30
DEPT. 817626575                           DEPT 803829308                      DEPT 800316788
PALATINE, IL 60038-0001                   PALATINE, IL 60038-0001             PALATINE, IL 60038-0001




GRAINGER, W.W.                            GRAINGER, W.W.                      GRALEWSKI LAUREN
DEP.858612187                             DEPT.866073182                      ADDRESS ON FILE
PALATINE, IL 60038-0001                   PALATINE, IL 60038-0001




GRAMER, FRANK E.                          GRAMER, JOHANNA R.                  GRAMLEY, JAMES W.
2117 PINON ST                             2117 PINON ST                       54 RIVERVIEW DR
SILVER CITY, NM 88061                     SILVER CITY, NM 88061               LOCK HAVEN, PA 17745
GRAMMER, JULIE A.       Case 20-10766-BLS    Doc
                                      GRAMMER,      6 Filed
                                               MATTHEW    P. 04/07/20     Page GRAMSE,
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                                                                                       1969
201 W FORD STREET APT 5B              415 DOGWOOD LANE                         ADDRESS ON FILE
ENERGY, IL 62933                      GOREVILLE, IL 62939




GRANADA THEATER, THE                    GRANADA, LIZEL A.                      GRANADE FIRM LLC, THE
108 N. 9TH ST                           ADDRESS ON FILE                        1266 W PACES FERRY RD NW, STE 204
MT. VERNON, IL 62864                                                           ATLANTA, GA 30327




GRANADO, CRUZ I.                        GRANADO, ISABEL                        GRANADOS-ROBLES, ROSELLA
320 S RUBY ST                           ADDRESS ON FILE                        ADDRESS ON FILE
DEMING, NM 88030




GRAND CANYON UNIVERSITY                 GRAND MEDICAL                          GRAND TECHNOLOGY
3300 W CAMELBACK RD                     8206 NW HIGH POINT                     P.O. BOX 87
PHOENIX, AZ 85017                       KANSAS CITY, MO 64152                  MARLBORO, NJ 07746




GRAND TECHNOLOGY                        GRAND, PAULINE                         GRANDCOLAS, RENE L.
PO BOX 87                               ADDRESS ON FILE                        777 GILMORE LAKE ROAD
MARLBORO, NJ 07746                                                             WATERLOO, IL 62298




GRANGER, EARL F.                        GRANHOLM, RUSSELL W.                   GRANILLO, AURORA
504 SOUTH 21ST                          ADDRESS ON FILE                        2266 EL ENSUENO RD SE
WEST MEMPHIS, TN 72301                                                         DEMING, NM 88030




GRANILLO, JENNIFER                      GRANITE CITY ASC INVESTMENT COMPANY,   GRANITE CITY AUTO UPHOLSTERY
116 ILLINOIS AVE                        LLC                                    2200 MADISON AVE
EAST GALESBURG, IL 61430                208 SOUTH LASALLE STREET               GRANITE CITY, IL 62040
                                        SUITE 814
                                        CHICAGO, IL 60604



GRANITE CITY CEO                        GRANITE CITY CLINIC CORP.              GRANITE CITY EMERGENCY MEDICINE
3101 MADISON AVE                        1573 MALLORY LANE, SUITE 100           PROVIDERS LLC 0172 301I
GRANITE CITY, IL 62040                  BRENTWOOD, TN 37027                    MEDICINE
                                                                               2250 NORTH ILLINOIS AVE
                                                                               CARBONDALE, IL 62901-5612



GRANITE CITY EMERGENCY MEDICINE         GRANITE CITY FIREFIGHTERS              GRANITE CITY HBP CORP.
PROVIDERS, LLC                          P.O. BOX 795                           1209 ORANGE STREET
DANIEL DOOLITTLE, CHIEF EXECUTIVE       GRANITE CITY, IL 62040                 WILMINGTON, DE 19801
OFFICER
2250 N ILLINOIS AVE
CARBONDALE, IL 62901

GRANITE CITY HOSPITALIST SERVICES LLC   GRANITE CITY HOSPITALISTS              GRANITE CITY ILLINOIS HOSPITAL
2250 N ILLINOIS AVE                     2250 N. ILLINOIS AVE                   COMPANY, LLC
CARBONDALE, IL 62901-5612               CARBONDALE, IL 62901-5612              1573 MALLORY LANE, SUITE 100
                                                                               BRENTWOOD, TN 37027
GRANITE CITY ORTHOPEDICCase   20-10766-BLS
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                                               CITY PARK        04/07/20
                                                          DISTRICT         Page GRANITE
                                                                                698 of CITY
                                                                                        1969PHYSICIANS CORP.
COMPANY, LLC                           2900 BENTON                              208 SOUTH LASALLE STREET
208 SOUTH LASALLE STREET               GRANITE CITY, IL 62040                   SUITE 814
SUITE 814                                                                       CHICAGO, IL 60604
CHICAGO, IL 60604



GRANNELL, BOYSIE                        GRANT COUNTY COMMUNITY CONCERT          GRANT COUNTY TREASURER
593 GEORGIA CIR                         ASSOC                                   P O BOX 89
LOGANVILLE, GA 30052                    P O BOX 2722                            SILVER CITY, NM 88062
                                        SILVER CITY, NM 88062




GRANT KISER                             GRANT M. RUSIN, M.D.                    GRANT MARTIN
1043 DAISY LANE                         ADDRESS ON FILE                         261 COUNTY ROAD 585
LOUISA, KY 41230                                                                RAINSVILLE, AL 35986




GRANT MEDICAL CENTER                    GRANT MORRIS                            GRANT THORNTON LLP
ATTN JANA BASHAM                        1538 RUSSELL AVE                        33562 TREASURY CENTER
285 E STATE ST STE 670                  GALESBURG, IL 61401                     CHICAGO, IL 60694-3500
COLUMBUS, OH 43215




GRANT W BILLIMACK                       GRANT W GWENDOLYN                       GRANT, BRANDY M.
1300 BLUE CREEK TRAIL                   109 BILLLOU DR                          1101 STANFORD AVE
METAMORA, IL 61548                      COLLINSVILLE, IL 62234                  BIG SPRING, TX 79720




GRANT, DON                              GRANT, ELIZABETH C.                     GRANT, GLADYS M.
2711 BARCLAY ST                         ADDRESS ON FILE                         1380 PAULY DR.103
HEPHZIBAH, GA 30815                                                             GURNEE, IL 60031




GRANT, KAREN                            GRANT, KAYLA D.                         GRANT, MICHAEL MD
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




GRANT, MICHAEL                          GRANT, MICHELLE M.                      GRANT, PEGGY S.
ADDRESS ON FILE                         ADDRESS ON FILE                         109 R CHERRY STREET
                                                                                ANNA, IL 62906




GRANT, ROBERT A.                        GRANT, RUBY L.                          GRANT, SCOTT E.
203 TUBB LOOP RD                        10804 S MORGAN                          226 BMW DRIVE
BIG SPRING, TX 79720                    CHICAGO, IL 60643                       ELLIJAY, GA 30540-2970




GRANT, SHARON K.                        GRANT, VALERIE.                         GRANT, WILLIAM C
108 JONESBORO RD                        36 E 122ND ST                           ADDRESS ON FILE
BIG SPRING, TX 79720                    CHICAGO, IL 60628
GRANT, WILLIS           Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                      GRANT, YOLONDA                    Page GRANTHAM,
                                                                             699 of 1969
                                                                                       ALICE
102 WILSHIRE DRIVE                    11438 S CALUMET                        4496 W. FM 846
EASLEY, SC 29642                      CHICAGO, IL 60628                      KNOTT, TX 79748




GRANTHAM, JEAN A.                     GRANTHAM, JUDITH                       GRANTSVILLE ANYTIME FITNESS LLC
ADDRESS ON FILE                       7901 LAUREL FLATS DR                   P.O. BOX 18972
                                      CASEYVILLE, IL 62232                   SALT LAKE CITY, UT 84118




GRANTSVILLE CITY CORPORATION          GRANTSVILLE CITY CORPORATION           GRANTSVILLE CITY CORPORATION
429 E MAIN ST                         429 EAST MAIN STREET                   429 EAST MAIN
GRANTSVILLE, UT 840029                GRANTSVILLE, UT 84029                  GRANTSVILLE, UT 84029




GRANTSVILLE HIGH SCHOOL               GRANTSVILLE SOCIABLE                   GRAPHIC CONTROLS LLC
155 EAST COWBOY DRIVE                 544 EAST CLARK STREET                  P.O. BOX 1271
GRANTSVILLE, UT 84029                 GRANTSVILLE, UT 84029                  BUFFALO, NY 14240-1271




GRAPHIC DESIGNS                       GRAPHIC ENTERPRISE OFFICE SOLUTIONS    GRAPHIC ENTERPRISES INC
2207-D GAULT AVE N                    L-3592                                 L-3592
FORT PAYNE, AL 35967                  COLUMBUS, OH 43260-3592                COLUMBUS, OH 43260-3592




GRAPHIC IMPRESSIONS                   GRAPHIC MARKING SYSTEMS                GRAPHIC PARTNERS
604 GOLF COURSE                       28457 N BALLARD DR                     4300 IL ROUTE 173
MARION, IL 62959                      SUITE A1                               ZION, IL 60099-4089
                                      LAKE FOREST, IL 60045




GRAPHIC SOLUTIONS,INC                 GRAPHMAN, GWENDOLYN                    GRASMICK, TAMI
1897 BENNETT PLACE                    53 LARRY LANE                          ADDRESS ON FILE
DES PLAINES, IL 60018                 BLAIRSVILLE, GA 30512




GRASMICK, TAMI                        GRASS, DAPHNA I.                       GRASS, LINDA M.
ADDRESS ON FILE                       10415 NAVARRE RD SW                    ADDRESS ON FILE
                                      NAVARRE, OH 44662




GRAUEL, SARA E.                       GRAUMAN KRISTI L                       GRAUMENZ, KARI E.
309 N SPARTA ST                       7950 RENKEN RD                         ADDRESS ON FILE
WATAGA, IL 61488                      WORDEN, IL 62097




GRAVATT, CHAD                         GRAVELLE, DARLA                        GRAVES GENA L
4855 ANDREW ROAD                      1680 PRESCOTT LN                       578 RAPER RD
MARION, IL 62959                      SPRINGFIELD, OR 97477                  FARNER, TN 37333
GRAVES, ANN M.           Case 20-10766-BLS
                                       GRAVES,Doc
                                              BETTY6ELOISE
                                                       Filed 04/07/20   Page GRAVES,
                                                                             700 of BRITTANY
                                                                                     1969 N.
3689 SFC 735                            2614 HWY 334                        ADDRESS ON FILE
FORREST CITY, AR 72335                  FORREST CITY, AR 72335




GRAVES, CARLTON R.                      GRAVES, CATHERINE L.                GRAVES, DORIS A.
934 COUNTY ROAD 87                      13175 CRUSE RD                      ADDRESS ON FILE
COLLINSVILLE, AL 35961-0149             CARTERVILLE, IL 62918




GRAVES, JENIFER R.                      GRAVES, JERRY                       GRAVES, JO-LYNN
13520 PERRY ROAD                        130 FREEDOM AVE NE                  ADDRESS ON FILE
PERCY, IL 62272                         CANTON, OH 44704




GRAVES, KATE                            GRAVES, KELSEY                      GRAVES, LAUREN
ADDRESS ON FILE                         13 VALLEY RD                        1032 MALEVENTUM WAY
                                        CAVE SPRING, GA 30124               SPRING HILL, TN 37174




GRAVES, MILDRED F.                      GRAVES, MONIQUE                     GRAVES, REAGAN
24763 STURTEVANT DRIVE                  ADDRESS ON FILE                     ADDRESS ON FILE
VENETA, OR 97487-9441




GRAVES, TIMOTHY                         GRAVES, WANDA                       GRAVETT, CLIFFORD
20 SHEPARD LANE                         422 S. BLACKSTONE                   120 INDIAN WELLS RD
ANNA, IL 62906                          GLENWOOD, IL 60425                  MESQUITE, NV 89027-6709




GRAVOT, DAVID                           GRAW, MELANIE                       GRAWEY, DAVID B.
5524 HIGHT ST                           16 WARRINGTON RD                    ADDRESS ON FILE
SMITHTON, IL 62285                      VERNON HILLS, IL 60061




GRAWEY, JONATHAN D.                     GRAY DONALD DAVID                   GRAY FREDA D
125 LAKELAND DR.                        89092 SHEFFLER RD                   234 GRAY CREEK DR
GALESBURG, IL 60401                     ELMIRA, OR 97437                    ATTALLA, AL 35954




GRAY STEVE JR                           GRAY, ANITA                         GRAY, CARY
1047 COUNTY RD 647                      438 MONROE ST NW                    210 FLORENCE AVE
MENTONE, AL 35984-3109                  MASSILLON, OH 44647                 CLARKSDALE, MS 38614




GRAY, CHARLES O.                        GRAY, CHRISTIAN                     GRAY, CHRISTY C.
2525 35TH PL                            1802 SWANWICK ST.                   ADDRESS ON FILE
SPRINGFIELD, OR 97477-0000              CHESTER, IL 62233
GRAY, CURTIS             Case 20-10766-BLS    Doc 6A. Filed 04/07/20
                                       GRAY, CYNTHIA                     Page GRAY,
                                                                              701 of  1969
                                                                                    DAMON
620 SOUTH 12TH ST                        ADDRESS ON FILE                      89762 POODLE CREEK RD
WEST MEMPHIS, AR 72301                                                        NOTI, OR 97461-0000




GRAY, DARLENE K.                         GRAY, DONNA                          GRAY, ELISSA L.
ADDRESS ON FILE                          ADDRESS ON FILE                      2912 SOUTH BROAD STREET APARTMENT D3
                                                                              SCOTTSBORO, AL 35769




GRAY, GEANNA                             GRAY, GERALD L.                      GRAY, LEA A.
P.O. BOX 1722 500 N HUDSON ST/P.O. BOX   438 MONROE ST SW                     315 E LINCOLN
1722                                     MASSILLON, OH 44647                  HOLLIS, OK 73550
SILVER CITY, NM 88062




GRAY, LEAH M.                            GRAY, LIZZIE                         GRAY, MARGARET
ADDRESS ON FILE                          649A BIRCH ST                        782 MAPLE LN.
                                         MONROE, GA 30656                     JUSTICE, IL 60458




GRAY, MARLENE                            GRAY, MELANIE A.                     GRAY, MEREDITH N.
628 KINGS RIDGE                          ADDRESS ON FILE                      485 DEER HOLLOW LN
MONROE, GA 30655                                                              OAKLAND, OR 97462




GRAY, NANCY E.                           GRAY, NOREEN                         GRAY, RONNIE
1559 E KNOX ST                           3757 CHEROKEE DRIVE                  2206 PACK ROAD NW
GALESBURG, IL 61401                      SPRINGFIELD, OR 97478                FORT PAYNE, AL 35968-3220




GRAY, SHELLEY                            GRAY, STEPHANIE R.                   GRAY, TEGAN
784 ALPINE ROAD                          ADDRESS ON FILE                      ADDRESS ON FILE
MENTONE, AL 35984




GRAY, WILMER                             GRAYBAR ELECTRIC CO INC              GRAYBAR
1020 HARDISON RD                         FILE 57073                           P.O. BOX 504490
WILLIAMSTON, NC 27892                    LOS ANGELES, CA 90074                ST. LOUIS, MO 63150-4490




GRAYBILL, DIANE                          GRAYBILL, DORRIS L.                  GRAYDON SKEOCH, M.D.
555 KREAMER AVE                          59 LINCOLN WAY E                     820 E MOUNTAIN VIEW ST
KREAMER, PA 17833-0157                   APT 407                              STE ER
                                         MASSILLON, OH 44646-6643             BARSTOW, CA 92311




GRAYDON, CAROLYN M.                      GRAYSON FAMILY COMMUNICATIONS        GRAYSON LITTLE LEAGUE
ADDRESS ON FILE                          1328 GENE WIILSON BLVD               9742 STATE HWY 1496
                                         LOUISA, KY 41230                     GRAYSON, KY 41143-6045
GRAZIANI, JANICE          Case 20-10766-BLS    Doc
                                        GREANIAS    6 A Filed 04/07/20
                                                 CHRIS                       Page GREAT
                                                                                  702 of  1969 FIN SVCS
                                                                                        AMERICA
6712 DERBY DR APT M                      1110 CARMEL BLVD                         P.O. BOX 660831
GURNEE, IL 60031                         ZION, IL 60099                           DALLAS, TX 75266-0831




GREAT AMERICAN ALLIANCE, INS             GREAT AMERICAN DUCK RACE                 GREAT AMERICAN DUCK RACE
P.O. BOX 5789                            202 S DIAMOND                            P O BOX 41
CINCINNATI, OH 45201                     DEMING, NM 88031                         DEMING, NM 88031




GREAT AMERICAN FINANCE COMPANY           GREAT AMERICAN FINANCIAL SERVICES        GREAT BASIN CABINETRY
20 N WACKER DR                           CORP                                     1756 S REDWOOD ROAD
SUITE 2275                               P.O. BOX 660831                          SLC, UT 84104
CHICAGO, IL 60606-3096                   DALLAS, TX 75266-0831




GREAT LAKES DEPT OF EDUCATION            GREAT LAKES DEPT OF EDUCATION            GREAT LAKES DEPT OF EDUCATION
P.O. BOX 3059                            P.O. BOX 530229                          P.O. BOX 530229
MILWAUKEE, WI 53201-3059                 ATLANTA, GA 30353-0229                   RE: BRANDI WEBB 087200807000003
                                                                                  ATLANTA, GA 30353-0229




GREAT LAKES ED.LOAN SRV, INC             GREAT LAKES ED.LOAN SRV, INC             GREAT LAKES ED.LOAN SRV, INC
US DEPT OF EDUCATION - S.NICHOLS         US DEPT OF EDUCATION - S.NICHOLS         US DEPT OF EDUCATION - S.NICHOLS
P.O. BOX 790321                          P.O. BOX 790321                          P.O. BOX 790321
ST LOUIS, MO 63179-0321                  ST. LOUIS, MO 63179                      ST. LOUIS, MO 63179-0321




GREAT LAKES EDUCATIONAL LOAN             GREAT LAKES HIGHER EDUCATION             GREAT LAKES HIGHER
SERVICES, INC.                           GUARANTY CORP                            EDUCATION GUARANTEE CORP
P.O. BOX 790321                          P.O. BOX 83230                           P.O. BOX 205789
ST LOUIS, MO 63179-0321                  CHICAGO, IL 60691-0230                   DALLAS, TX 75320




GREAT LAKES WEST LLC                     GREAT LAKES                              GREAT LAKES
24475 RED ARROW HWY.                     P.O. BOX 3059                            US DEPT OF EDUCATION
MATTAWAN, MI 49071-9762                  MILWAUKEE, WI 53201-3059                 P.O. BOX 790321
                                                                                  ST. LOUIS, MO 63179-0321




GREAT PLAINS SLEEP SPECIALIST INC        GREAT RIVER RADIOLOGY, INC               GREAT SOUTH MEDICAL DEVICE, INC
P.O. BOX 893                             17 JUNCTION DR 282                       2200B HUMMINGBIRD LANE
WAGONER, OK 74477                        GLEN CARBON, IL 62034                    HARRISBURG, PA 17112




GREAT SOUTHERN PUBLISHERS INC            GREAT WEST HEALTH CARE - CIGNA           GREAT WESTERN DINING SERVICE
POB 20568                                8505 EAST ORCHARD ROAD                   P.O. BOX 699
ST SIMONS ISLAND, GA 31522-0168          GREENWOOD VILLAGE, CO 80111              TIPTON, MO 65081-0699




GREATAMERICA FINANCIAL SERVICES          GREATER BIG SPRING ROTARY CLUB           GREATER BRIDGER VALLEY CHAMBER OF
CORPORATION                              P.O. BOX 811                             COMM
P.O. BOX 609                             BIG SPRING, TX 79721                     BOX 1506
ACCOUNTS SERVICES EXCHANGE LLC                                                    100 E SAGE ST
CEDAR RAPIDS, IA 52406-0609                                                       LYMAN, WY 82937
                      CaseCYCLING
GREATER EUGENE AREA RIDERS  20-10766-BLS
                                     GREATERDoc    6 Filed
                                               PORTLAND     04/07/20
                                                        CHAPTER OF AACN   Page GREATER
                                                                               703 of 1969
                                                                                       ST LOUIS AREA COUNCIL
CLUB                                 P.O. BOX 2063                             BSA
P.O. BOX 10244                       BEAVERTON, OR 97075                       803 EAST HERRIN
EUGENE, OR 97440                                                               HERRIN, IL 62948-0340




GREATHOUSE DWIGHT                     GREATHOUSE LARRY                         GREATHOUSE, CECIL
ADDRESS ON FILE                       2108 WINTER AVE                          945 BLACK CHERRY LN
                                      NORTH CHICAGO, IL 60064                  ROUND LAKE HEIGHTS, IL 60073




GREATHOUSE, DELFORD                   GREATHOUSE, DWIGHT L.                    GREATHOUSE, JAMIE M.
6547 WADSWORTH RD                     ADDRESS ON FILE                          ADDRESS ON FILE
ORRVILLE, OH 44667




GREATHOUSE, RAY A.                    GREATTING, ALLEN                         GREATWEST HEALTHCARE - CIGNA
ADDRESS ON FILE                       3661 JUNE RD                             8505 EAST ORCHARD ROAD
                                      FULTS, IL 62244                          GREENWOOD VILLAGE, CO 80111




GREAVES, ABIGAIL                      GREAVES, ABIGAIL                         GRECO, JAMES F.
2331 W MOLLY LANE APT. 5105           2331 W MOLLY LN                          12255 S 44TH PL APT 1-N
DUNLAP, IL 61525                      DUNLAP, IL 61525                         ALSIP, IL 60803




GRECO, MARY T.                        GRECO, THOMAS                            GREELEY COUNTY HEALTH SERVICES
1650 ST THOMAS RD                     2035 TREASURE DR                         506 THIRD STREET
GRANITE CITY, IL 62040                EDWARDSVILLE, IL 62025                   TRIBUNE, KS 67869




GREELEY, LEE                          GREEN DANIEL MD                          GREEN DARCI R
1056 SHERLING LAKE RD                 14367 WALDEN LANE                        440 RAVINE DRIVE
GREENVILLE, AL 36037-8427             WADSWORTH, IL 60083                      WINTHROP HARBOR, IL 60096




GREEN EARTH SUPPLY COMPANY            GREEN EMMA B                             GREEN HILLS COUNTRY CLUB
P.O. BOX 550092                       1006 FOREST AVE NW                       3800 EAST FAIRFIELD ROAD
FT LAUDERDALE, FL 33355               FORT PAYNE, AL 35967-2934                MT VERNON, IL 62864




GREEN III, JIMMY W.                   GREEN JEFFERY                            GREEN JR, JOHN W.
1016 NOLAN                            ADDRESS ON FILE                          204 WALENDA DR NW
BIG SPRING, TX 79720                                                           ROME, GA 30165




GREEN KAREN                           GREEN KRISTIN                            GREEN MEDICAL CORP
2960 KIPLING WAY                      ADDRESS ON FILE                          P.O BOX 628328
EUGENE, OR 97408-0000                                                          ORLANDO, FL 32862-8328
GREEN MICHELLE           Case 20-10766-BLS    Doc 6WEST
                                       GREEN STREET  Filed
                                                        LLC 04/07/20   Page GREEN
                                                                            704 ofTHUMB
                                                                                    1969NURSERY
110 STEVEN DR                           P.O. BOX 959                        862 SOUTH BROAD ST
TROY, IL 62294                          MUNDELEIN, IL 60060                 LEXINGTON, TN 38351




GREEN, AARON M.                         GREEN, ALEXANDRA                    GREEN, AMANDA
ADDRESS ON FILE                         1 OFFENBACH PL                      14216 WABASH
                                        LAKE OSWEGO, OR 97035               RIVERDALE, IL 60827




GREEN, ARIANNA R.                       GREEN, BARABAR                      GREEN, BARCLEY R.
2100 MADISON AVE P.O. BOX 426           647 CEDAR BAY ROAD                  522 MAPLE STREET
GRANITE CITY, IL 62040                  JACKSONVILLE, FL 32218              APTOS, CA 95003




GREEN, BRIDGETTE S.                     GREEN, BROOKE                       GREEN, CAMERON M.
321 N 37TH ST                           15056 SOUTH PASTORAL WAY            ADDRESS ON FILE
BELLEVILLE, IL 62226                    BLUFFDALE, UT 84065




GREEN, CANDISE                          GREEN, CATHERINE S.                 GREEN, CELIA
16905 SUNSET RIDGE DR                   6525 STATE RT. 37                   ADDRESS ON FILE
COUNTRY CLUB HILLS, IL 60478            GOREVILLE, IL 62939




GREEN, CHERYL L.                        GREEN, CHIRITHA                     GREEN, ERICA
ADDRESS ON FILE                         3221 WOODWARD PL                    8930 S. ADA
                                        HAZEL CREST, IL 60429               CHICAGO, IL 60620




GREEN, ERIKA B.                         GREEN, ETHEL M.                     GREEN, HALEY M.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




GREEN, JEFFERY D.                       GREEN, JEFFREY                      GREEN, JENNA
ADDRESS ON FILE                         ADDRESS ON FILE                     22 LEE RD 304
                                                                            MARIANNA, AR 72360




GREEN, JENNIFER A.                      GREEN, JENNIFER                     GREEN, JILL C.
673 WATSON DRIVE                        1128 BROWN AVE                      ADDRESS ON FILE
EUGENE, OR 97404                        GALESBURG, IL 61401




GREEN, KAREN M.                         GREEN, KEVIN L.                     GREEN, KRISTI M.
80 SOUTH AVE                            ADDRESS ON FILE                     ADDRESS ON FILE
EVANSTON, WY 82930
GREEN, KRYSTLE           Case 20-10766-BLS     Doc V.
                                       GREEN, LINDA 6       Filed 04/07/20   Page GREEN,
                                                                                  705 ofMAIGYN
                                                                                         1969 C.
ADDRESS ON FILE                         ADDRESS ON FILE                           13655 S LOWE AVE
                                                                                  RIVERDALE, IL 60827




GREEN, MARLENE                          GREEN, MICHAEL A.                         GREEN, NICHELLE
14632 GRANT ST                          ADDRESS ON FILE                           412 MADISON AVE. A
DOLTON, IL 60419                                                                  MADISON, IL 62060




GREEN, PATSY L.                         GREEN, PAULETTE R.                        GREEN, SHELLY
1680 SKIPPER AVE                        1337 HWY 50 E                             4400 MELROSE DR
EUGENE, OR 97404                        WIDENER, AR 72394                         LOT 15
                                                                                  WOOSTER, OH 44691




GREEN, VINCENT T.                       GREEN, WALTER                             GREEN, WILLIE F.
ADDRESS ON FILE                         11045 S HOMEWOOD AVE                      821 WESTFIELD LANE
                                        APT 2A                                    SCHAUMBURG, IL 60193
                                        CHICAGO, IL 60643




GREEN-BARBOUR, KATHLEEN K.              GREENBAUM DOLL & MCDONALD PLLC            GREENBERG TRAURIG LLP
148 TIE GULCH RD                        700 2 AMERICAN CENTER                     2101 L ST NW
SANTA CRUZ, CA 95065                    3102 W END AVE                            STE 1000
                                        NASHVILLE, TN 37203                       WASHINGTON, DC 20037




GREENBERG TRAURIG LLP                   GREENBERG, RACHAEL                        GREENBLATT, WILLIAM
54 STATE ST, 6TH FL                     225 MELBA LANE                            1862 MT PLEASANT RD
ALBANY, NY 12207                        HIGHLAND PARK, IL 60035                   C/O RUSSELL BOOKER
                                                                                  GREENVILLE, AL 36037-8732




GREEN-BUCKNOR, PEGGYE                   GREENDONER, DONNA                         GREENE ARTHUR NEIL
21835 1/2 RICHTON ROAD                  P.O. BOX 118                              847 LAKEVIEW
MATTESON, IL 60443                      BLANCHARD, PA 16826                       STANSBURY PARK, UT 84074




GREENE HUNT, LOIS                       GREENE MICHAEL T                          GREENE NICOLE
20319 TIMBERLINE TRL                    117 MOSSY HILL COURT                      ADDRESS ON FILE
CYPRESS, TX 77433                       ELLIJAY, GA 30540-0000




GREENE, JESSICA R.                      GREENE, LUCIE A.                          GREENE, MEGAN
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




GREENE, MEGAN                           GREENE, NICOLE M.                         GREENE, PAULINE
912 S. CHAMBERS                         ADDRESS ON FILE                           P.O. BOX 326
GALESBURG, IL 61401                                                               WAYNESBORO, GA 30830
GREENE, PHILLIP J.       Case 20-10766-BLS
                                       GREENE,Doc  6 J. Filed 04/07/20
                                              PHILLIP                    Page GREENE,
                                                                              706 of SHARITA
                                                                                      1969
7038 LASORDA LN                          ADDRESS ON FILE                      ADDRESS ON FILE
EDWARDSVILLE, IL 62025




GREENE, TRENA                            GREENHALGH, DESIRAE                  GREENHILL, JACLYN
200 LAKEVIEW CIRCLE                      1509 W RIM ROCK DR                   2660 PEACHTREE RD NW APT. 19G
GRAYSON, KY 41143-0000                   P.O. BOX 457                         ATLANTA, GA 30305
                                         STOCKTON, UT 84071




GREENHILL, TODD                          GREENLAND KRISTINE                   GREENLAND, HAILEY
428 E 810 N                              670 E EASTON CT                      5517 DERBY LANE
TOOELE, UT 84074                         GRANTSVILLE, UT 84029                STANSBURY PARK, UT 84074




GREENLAWMCCOY, SHARON                    GREENLEAF CENTER EAST LLC            GREENLEAF CENTER WEST LLC
14326 BENSLEY                            15 TOWER COURT                       15 TOWER COURT
BURNHAM, IL 60633                        SUITE 145                            SUITE 145
                                         GURNEE, IL 60031                     GURNEE, IL 60031




GREENLEAF CENTER                         GREENLEAF COMMONS                    GREENLEAF COMMONS
15 TOWER CT SUITE 145                    15 TOWER COURT                       2650 WARRENVILLE ROAD
GURNEE, IL 60031                         SUITE 145                            SUITE 280
                                         GURNEE, IL 60031                     DOWNERS GROVE, IL 60515




GREENLEAF FAMILY CENTER                  GREENLEAF, DAWNTOINETTE A.           GREENLEE, LINDSEY
580 GRANT ST                             87592 OAK HILL DR                    614 MILDRED AVE
AKRON, OH 44311-9910                     EUGENE, OR 97402                     WOOD RIVER, IL 62095




GREENLEE, MARY                           GREENLEE, ROSE                       GREENOUGH, FAITH
3214 DUKE AVE                            421 COUNTY RD 848                    518 N MAIN ST
BIG SPRING, TX 79720                     COLLINSVILLE, AL 35961               ANNA, IL 62906




GREENS BY WHITE INC                      GREENSBORO SERVICE CENTER            GREENSBORO SMALL GROUP
13833 W BOULTON BLVD                     P.O. BOX 740800                      P.O. BOX 740800
LAKE FOREST, IL 60045                    ATLANTA, GA 30374                    ATLANTA, GA 30374-0800




GREENSHIELDS, SAMANTHA R.                GREENVILLE CLINIC CORP               GREENVILLE HOSPITAL CORPORATION
130 STONEBRIDGE MANOR DR                 1573 MALLORY LANE, SUITE 100         2 NORTH JACKSON STREET
MARYVILLE, IL 62062                      BRENTWOOD, TN 37027                  SUITE 605
                                                                              MONTGOMERY, AL 36104




GREENVILLE PATHOLOGY, PA                 GREENWALT BROTHERS                   GREENWALT BROTHERS
2515 BOWMAN GRAY DR                      16450 N. DRIVERS LANE                16450 NORTH DRIVERS LANE
GREENVILLE, NC 27834                     WOODLAWN, IL 62898                   WOODLAWN, IL 62898
GREENWALT PARTNERS        Case 20-10766-BLS   Doc
                                        GREENWAY   6 Filed 04/07/20
                                                 HEALTH                 Page GREENWAY,
                                                                             707 of 1969
                                                                                       DAVID
RR1 BOX 79                              P O BOX 203658                       1530 DEAL ST
5 MITCHELL DRIVE                        DALLAS, TX 75320                     JUNCTION CITY, OR 97448
WAYNE CITY, IL 62895




GREENWAY, EDDIE                         GREENWAY, LISA C.                    GREENWAY, NORA
P.O. BOX 373                            1430 HWY 104 N                       44 HALL ST
MINERAL BLUFF, GA 30559                 CEDAR GROVE, TN 38321                LEXINGTON, TN 38351-4114




GREENWAY, RICK                          GREENWOOD, PATRICIA RATCLIFFE        GREER ALLEN, CHYNNA
ADDRESS ON FILE                         8745 HWY 159                         112 AUTUMN PINE APT 1
                                        DORSEY, IL 62021                     FAIRVIEW HTS, IL 62208




GREER JUSTIN                            GREER MEDICAL INC                    GREER, IYONDA V.
201 S 8TH NUMBER 2                      314 E CARRILLO ST STE 1              147 E 148TH ST
WEATHERFORD, OK 73096                   SANTA BARBARA, CA 93101              HARVEY, IL 60426




GREER, JOY                              GREER, MARKCUS                       GREER, ROBYN
31 156TH ST                             15 GROBMYER CIR APT 290              4470 SANDY CREEK ROAD
CALUMET CITY, IL 60409                  FORREST CITY, AR 72335               MADISON, GA 30650




GREER, THELMA C.                        GREESON, JANET                       GREESON, JULIE A.
5504 MARYVILLE ROAD                     127 4TH ST                           ADDRESS ON FILE
GRANITE CITY, IL 62040                  MONROE, GA 30655-2176




GREG OVERBY                             GREG, WILLIAM                        GREGERSON, CHARLENE
P.O. BOX 128037                         113 NORTH 16TH STREET, APRT 1        ADDRESS ON FILE
NASHVILLE, TN 37212                     SPRINGFIELD, OR 97477




GREGERSON, JEFFERY L                    GREGG AMY L                          GREGOIRE, JACQUELYN M.
11598 S DRY CREEK RD                    1508 SKYLINE AVENUE E                ADDRESS ON FILE
TOOELE, UT 84074                        FORT PAYNE, AL 35967-2539




GREGOIRE, TIFINY G.                     GREGORIN, LINDA M.                   GREGORIN, LINDA
1527 ROLLING VIEW WAY                   650 WHITNEY CT UNIT 208              650 WHITNEY COURT
DACULA, GA 30019-7691                   GURNEE, IL 60031                     COURT 208
                                                                             GURNEE, IL 60031-0000




GREGORY A. SCHIERER                     GREGORY A. SCHIERER                  GREGORY BACKES
85 S SEMINARY APT 4                     ADDRESS ON FILE                      1221 MAIN ST
GALESBURG, IL 61401                                                          P.O. BOX 41
                                                                             MAEYSTOWN, IL 62256
GREGORY BAKER M.D.       Case 20-10766-BLS   Doc
                                       GREGORY    6 FiledMD04/07/20
                                               DALENCOURT             Page GREGORY
                                                                           708 of 1969
                                                                                   JACKSON
404 EUCLID AVENUE                      ADDRESS ON FILE                     216 PINE PARK
PAINTSVILLE, KY 41240                                                      MONMOUTH, IL 61462




GREGORY JENNIFER MICHEL                GREGORY LOCKE                       GREGORY M BARLOW
55 MOSES DR                            1 SKONA LAKE                        1480 HWY 142 E
HENAGAR, AL 35978-5733                 ALPHA, IL 61413                     COVINGTON, GA 30014-8825




GREGORY POOLE EQUIPMENT CO             GREGORY SCHIERER                    GREGORY V KERR
P.O. BOX 60457                         ADDRESS ON FILE                     9341 RIVER OTTER DR
CHARLOTTE, NC 28260                                                        FORT MYERS, FL 33912-8925




GREGORY, AMY                           GREGORY, ASHLEY                     GREGORY, BARTON J.
4532 YORKTOWN ST.                      ADDRESS ON FILE                     2440 RED OAK BEND
FORT IRWIN, CA 92310                                                       OXFORD, GA 30054




GREGORY, DEBORAH K.                    GREGORY, EDDIE R.                   GREGORY, EDDWARD H.
1602 FREDERICK DRIVE                   277 BOLLING RD                      2349 HWY 334
COLLINSVILLE, IL 62234                 GEORGIANA, AL 36033                 FORREST CITY, AR 72335




GREGORY, JACKY                         GREGORY, JEAN                       GREGORY, JESSICA D.
ADDRESS ON FILE                        930 N ELLA ST                       1702 CRESCENT DR
                                       ORRVILLE, OH 44667                  PEKIN, IL 61554




GREGORY, JOY                           GREGORY, JOY                        GREGORY, JUSTIN
150 WOODRUFF 381                       150 WOODRUFF 381                    ADDRESS ON FILE
MCCRORY, AR 72101                      MCCROY, AR 72101




GREGORY, KINYA L.                      GREGORY, LINDA                      GREGORY, LINDA
6305 SARDIS RD                         96 COLUMBIA DR                      P.O. BOX 190
BOAZ, AL 35956                         TOOELE, UT 84074                    MINERAL BLUFF, GA 30559




GREGORY, LORE                          GREGORY, NATALIE A.                 GREGORY, SHANNON M.
283 LABETH RD                          ADDRESS ON FILE                     1222 CONSTANCE ST
PORTSMOUTH, OH 45662                                                       COLLINSVILLE, IL 62234




GREGSON, DEIDRE E.                     GREGSON, JENNIFER M.                GREGSON, SANDRA
ADDRESS ON FILE                        ADDRESS ON FILE                     3375 ELMIRA RD
                                                                           EUGENE, OR 97402-6509
GREIG, DEBRA           Case 20-10766-BLS
                                     GREINER,Doc
                                              RENEA6 Filed 04/07/20 Page GREINER,
                                                                           709 of 1969
                                                                                   RONALD
5071 MANCHESTER AVE NW               TO THE ESTATE OF 1329 JONES CREEK RD 7016 REMINGTON CT
NORTH LAWRENCE, OH 44666-9469        SOUTH                                EDWARDSVILLE, IL 62025
                                     BLAIRSVILLE, GA 30512




GRESH, DONNA                          GRESHAM, BETH & GENE                  GRESHAM, LINDA
510 8TH ST SW                         224 W. WASHINGTON                     P.O. BOX 1477
MASSILLON, OH 44647                   DIX, IL 62830                         GRANITE CITY, IL 62040




GRESHAM, TAMARA T.                    GRESSER JOHN ROBERT                   GRESSER, STACY
322 TALL OAKS DR SE                   421 72ND ST                           ADDRESS ON FILE
CONYERS, GA 30013-1674                SPRINGFIELD, OR 97478




GRESSLER, ELIZABETH                   GRETCHEN FRICKE                       GREY, LAURA D.
1033 SMITH CHAPEL ROAD                4740 DRDA LANE                        ADDRESS ON FILE
BOAZ, AL 35956                        EDWARDSVILLE, IL 62025




GRGICH, TERISA                        GRIBBLE, DAN                          GRIBBLE, DANIELLE E.
ADDRESS ON FILE                       8150 MILMONT ST NW                    612 N WEBSTER ST
                                      MASSILLON, OH 44646                   HARRISBURG, IL 62946




GRICE, ANDREW G.                      GRIDERSTANFILL JULIA L                GRIEB, DOROTHY
ADDRESS ON FILE                       2830 KEEBLER RD                       426 JAMES ST
                                      MARYVILLE, IL 62062                   LOCK HAVEN, PA 17745-3040




GRIEB, PEGGY L                        GRIEBEL SHELBY L                      GRIEF WATCH, INC
1339 LONG RUN RD                      511 PAUL DR                           14511 NE 10TH AVE SUITE E
MILL HALL, PA 17751                   WATERLOO, IL 62298                    VANCOUVER, WA 98685




GRIEGO, CLORINIDA                     GRIEGO, NICOLE                        GRIESBAUM, ROBIN L.
P.O. BOX 303                          27878 CHURCH AVE                      438 ARKANSAS RD
GUADALUPITA, NM 87722                 BARSTOW, CA 92311                     TRENTON, IL 62293




GRIESBAUM, ROBIN L.                   GRIESEL, ASHLEY                       GRIESINGER, CHERYL A.
ADDRESS ON FILE                       850 ANDERSON LANE                     ADDRESS ON FILE
                                      SPRINGFIELD, OR 97477




GRIFFIE, TERESA C.                    GRIFFIN CAPITAL LLC                   GRIFFIN JAMES B
104 STEWART CT                        CARDINAL HEALTH 110 LLC               P.O. BOX 833
HAZARD, KY 41701                      P.O. BOX 402605                       MOREHEAD CITY, NC 28557
                                      ATLANTA, GA 30384-2605
GRIFFIN JR., JOSEPH R.   Case 20-10766-BLS     DocLARRY
                                       GRIFFIN JR., 6 Filed 04/07/20   Page GRIFFIN
                                                                            710 ofMARY
                                                                                    1969
                                                                                       CHARLES
ADDRESS ON FILE                         ADDRESS ON FILE                     5389 FIRE DEPT RD
                                                                            WILLIAMSTON, NC 27892




GRIFFIN ROYCE C                         GRIFFIN, ALMA B.                    GRIFFIN, ASHLEY
P.O. BOX 954                            316 KELLER AVE                      ADDRESS ON FILE
MORGANTON, GA 30560                     WAUKEGAN, IL 60085




GRIFFIN, BACON G.                       GRIFFIN, BELINDA D.                 GRIFFIN, CARA B.
7447 GALENA AVE NW                      P.O. BOX 652                        ADDRESS ON FILE
CANAL FULTON, OH 44614                  YOUNG HARRIS, GA 30582




GRIFFIN, CAROLYN E.                     GRIFFIN, CRYSTAL                    GRIFFIN, DIANE
12833 S BRIAN PLACE                     9560 MCCAN RD SE                    11442 S ARTESIAN AVE
PALOS PARK, IL 60464                    DEMING, NM 88030                    CHICAGO, IL 60655




GRIFFIN, JAMES D.                       GRIFFIN, JEFFREY S.                 GRIFFIN, JEWELL
263 ADAMS LN                            1228 GATEPOST LN                    110 GRIFFIN PLACE
WASHINGTON, NC 27889                    LAWRENCEVILLE, GA 30044             HELENA, AR 72342




GRIFFIN, KEVIN                          GRIFFIN, MAGGIE L                   GRIFFIN, MATTHEW P.
923 DRY BRANCH RD                       213 NORTH PINE ST                   71 W HUBBARD ST 4602
BLUE RIDGE, GA 30513                    GREENVILLE, AL 36037-1517           CHICAGO, IL 60654




GRIFFIN, NEIL                           GRIFFIN, RHONDALYN F.               GRIFFIN, SUSAN
1916 POPLAR CHAPEL RD                   326 S 6TH ST                        1020 NATHAN ROBERSON RD
JAMESVILLE, NC 27846                    WEST HELENA, AR 72390               WILLIAMSTON, NC 27892




GRIFFIN, TANEKA                         GRIFFIN, THERESA                    GRIFFIN, YVONNE
1009 PERRY                              10079 S COTTAGE GROVE               ADDRESS ON FILE
HELENA, AR 72342                        CHICAGO, IL 60628




GRIFFINS FUEL CENTER PLUS INC           GRIFFINS PROPANE INC                GRIFFITH PLUMBING & HEATING CO
P.O.BOX 2737                            P O BOX 1491                        337 BROADWAY STREET
SILVER CITY, NM 88062                   DEMING, NM 88031                    JACKSON, KY
                                                                            JACKSON, KY 41339




GRIFFITH, AMY                           GRIFFITH, AUDREY                    GRIFFITH, CYNTHIA
513 NEWHART DR                          1906 CHESTNUT ST.                   ADDRESS ON FILE
GRANITE CITY, IL 62040                  KENOVA, WV 25530
GRIFFITH, CYNTHIA L.     Case 20-10766-BLS
                                       GRIFFITH,Doc 6 L.Filed 04/07/20
                                                 CYNTHIA                 Page GRIFFITH,
                                                                              711 of 1969
                                                                                        CYNTHIA L.
280 MEADOWS WOODS                        ADDRESS ON FILE                       P.O. BOX 1049
BLUE RIDGE, GA 30513                                                           BLUE RIDGE, GA 30513




GRIFFITH, ELLEN                          GRIFFITH, GEORGE G.                   GRIFFITH, GLENN
869 HEATHER CT                           ADDRESS ON FILE                       8192 KY 1261
ANTIOCH, IL 60002                                                              CAMPTON, KY 41301




GRIFFITH, JACKIE                         GRIFFITH, JANET MARTIN                GRIFFITH, KIMBERLY
ADDRESS ON FILE                          805 COLUMBUS AVE                      330 TWO MILE CREEK ROAD
                                         GALESBURG, IL 61401                   LOUISA, KY 41230




GRIFFITH, PAUL E.                        GRIFFITH, ROBERT JR                   GRIFFITH, ROSETTA
3293 INSPIRATION POINT DR                P.O. BOX 744                          9194 HWY 30 WEST
EUGENE, OR 97405                         MINERALL BLUFF, GA 30559              JACKSON, KY 41339




GRIFFITH, SUMMER D.                      GRIFFITH, TRINA                       GRIFFITH, WALTER P.
400 S. STOCKDALE LANE                    10558 WEIMER DR SE                    ADDRESS ON FILE
ABINGDON, IL 61410                       EAST CANTON, OH 44730




GRIFFITH, YVONNE                         GRIFFITHS, ANNA K.                    GRIFFITHS, HEATHER N.
2518 10TH ST NW                          ADDRESS ON FILE                       1829 LAKE CREEK CIR NW
CANTON, OH 44708                                                               MASSILLON, OH 44647




GRIFFITHS, REX                           GRIFFITTS, DEBORAH K.                 GRIFFS GRAPHICS & PRINIT
ADDRESS ON FILE                          ADDRESS ON FILE                       33 NORTH COUNTY STREET
                                                                               SUITE 520
                                                                               WAUKEGAN, IL 60079




GRIFOLS USA LLC                          GRIGGS ADVERTISING                    GRIGGS BIG STAR
P.O. BOX 741919                          P.O. BOX 236                          128 W CHURCH
ATLANTA, GA 30374-1919                   7207 GRIGGS RD                        LEXINGTON, TN 38351
                                         RED BUD, IL 62278




GRIGGS CHRISTOPHER M                     GRIGGS, AMY C.                        GRIGGS, CHERYL
460 COUNTY ROAD 16                       ADDRESS ON FILE                       4560 LITTLE DR
DUTTON, AL 35744-7756                                                          BESSEMER, AL 35022-7604




GRIGGS, CLINT D.                         GRIGGS, GAYANN                        GRIGGS, HANNAH L.
1711 ELIZABETH ST                        P.O. BOX 353                          1101 COUNTY ROAD 419
MADISON, IL 62060                        CARTERVILLE, IL 62918                 SECTION, AL 35771
GRIGGS, ROBERT             Case 20-10766-BLS
                                         GRIGGS, Doc
                                                 TYLER6      Filed 04/07/20   Page GRIGSBY,
                                                                                   712 of 1969
                                                                                            CINDY P.
3215 GRAPE CREEK ROAD                     411 38TH STREET NE                        74546 LUNDY LANE
MURPHY, NC 28906                          FORT PAYNE, AL 35967                      P.O. BOX 1725
                                                                                    COTTAGE GROVE, OR 97424




GRILLIOT, JORDAN                          GRILLO GLORIA E                           GRIMALDO, JUAN
225 2ND ST NW APT 803                     14042 W MEYER RD                          14136 WOOD ST
CANTON, OH 44702                          GURNEE, IL 60031                          LOT 29
                                                                                    DIXMOOR, IL 60426




GRIMAUD, BRYAN P.                         GRIMAUD, NICOLE                           GRIMEBUSTERS, INC
ADDRESS ON FILE                           709 NORTH WOODS AVE                       11 JONATHON LEE DR
                                          EVANSVILLE, IN 47720                      BELLEVILLE, IL 62223-4514




GRIMES, ANDRE                             GRIMES, ANTONIO L.                        GRIMES, CHRISTINA
1007 NORTH GREGG STREET                   1007 N. GREGG ST                          ADDRESS ON FILE
BIG SPRING, TX 79720                      BIG SPRING, TX 79720




GRIMES, CHRISTOPHER                       GRIMES, LINDSAY                           GRIMES, QUANISHA
520 RACHEL CR NW                          ADDRESS ON FILE                           4277 HOLLOWELL RD
MASSILLON, OH 44646-3520                                                            ROBERSONVILLE, NC 27871




GRIMES, RHONDA                            GRIMES, ROGER E.                          GRIMM, DORLAS J.
ADDRESS ON FILE                           311 PINEY ACRES ROAD                      ADDRESS ON FILE
                                          BLUE RIDGE, GA 30513




GRIMM, JESSICA                            GRIMM, RUTH                               GRIMMER, DEBORAH T.
924 URBAN CT SW                           5461 SPORTSMAN RD                         6627 GLADEL DR
MASSILLON, OH 44647                       WATERLOO, IL 62298                        WATERLOO, IL 62298




GRIMSLEY, ANGELA L.                       GRINDSTAFF PEGGY                          GRINDSTAFF, KAYCE M.
16 CHAPMAN RD                             512 PALMER ROAD                           P.O BOX 328
BIG SPRING, TX 79720                      VALLEY HEAD, AL 35989-5044                BLUE RIDGE, GA 30513




GRINDSTAFF, PEGGY D.                      GRINNELL, CLEDA                           GRINNELL, MARSHA F.
38585 US HWY 11                           729 JEFFREY AVE NW                        590 OAK GROVE RD
VALLEY HEAD, AL 35989                     MASSILLON, OH 44646                       TREZEVANT, TN 38258




GRINO, AGRIPINA D                         GRINO-GARCIA, PERLA S.                    GRIPPI, AMANDA
ADDRESS ON FILE                           929 STONE BRIDGE DRIVE                    1455 LADD AVE
                                          SCHERERVILLE, IN 46375                    EDWARDSVILLE, IL 62025
GRISEZ, ALICE R.         Case 20-10766-BLS    Doc
                                       GRISHAM,    6 Filed 04/07/20
                                                MELANIE               Page GRISOLANO,
                                                                           713 of 1969DANIELLE O.
P.O. BOX 1503                          ADDRESS ON FILE                     ADDRESS ON FILE
FEEDOM, CA 95019




GRISSOM, RICKEY                        GRISSOM, ROBERT A.                  GRISSOM, VICKY
19 CHELSEA RD                          193 JANES MILL RD                   30824 HWY 104 SOUTH
COLLINSVILLE, IL 62234                 GLEASON, TN 38229                   REAGAN, TN 38368-5409




GRIST, BARBARA M.                      GRISWOLD, TERRY                     GRITMACKER, CHELSEA J.
ADDRESS ON FILE                        1565 STATE HWY 164                  864 E AMBER PRAIRIE CT
                                       CAMERON       IL, IL 61423          LAKE VILLA, IL 60046




GRITMAN MEDICAL CENTER                 GRIZZARD, BREYANNA                  GRIZZARD, NOVELYN
700 SOUTH MAIN STREET                  1337 OAK AVE SE                     5201 TEAKWOOD TRCE
MOSCOW, ID 83843-3047                  MASSILLON, OH 44646                 MIDLAND, TX 79707-1535




GRIZZLE, DEVONNE P.                    GRIZZLE, MARCIE                     GRIZZLE, MITCHELL
ADDRESS ON FILE                        185 PENDLAND STREET                 601 GREENHILL BLVD NW APT.A109
                                       ELLIJAY, GA 30540                   FORT PAYNE, AL 35968




GRMC MEDICAL STAFF                     GROBOSKI, ROBERT                    GRODNER, VICKI
2100 MADISON AVENUE                    1911 CEDAR ROAD                     NURSEPRO SEARCH, LLC
GRANITE CITY, IL 62040                 HOMEWOOD, IL 60430                  1819 SE 17TH ST 706
                                                                           FORT LAUDERDALE, FL 33316




GROENNERT, WILLIAM L.                  GROETECKE, MARIAN                   GROETKA, RICKY L AND VALERIE J
887 MEADOW VIEW LANE                   6647 BUCH ROAD
COLUMBIA, IL 62236                     RED BUD, IL 62278




GROGAN, BILLIE S.                      GROGAN, CLAIRE M.                   GROH, KENNETH J.
2643 LAKE SHORE DRIVE                  ADDRESS ON FILE                     ADDRESS ON FILE
COLUMBIA, IL 62236




GROH, TREVOR                           GROHALL, CHRISTINE                  GROHS, JAMES, JR.
ADDRESS ON FILE                        ADDRESS ON FILE                     1461 N BROAD ST
                                                                           GALESBURG, IL 61401




GROLLMAN, ALAN                         GROLLMAN, ALAN                      GROM DEBRA J
ADDRESS ON FILE                        ADDRESS ON FILE                     17492 W CHESTNUT LN
                                                                           GURNEE, IL 60031
GROM, FRANK JR            Case 20-10766-BLS    Doc 6J. Filed 04/07/20
                                        GROM, ROBERT                    Page GROMMET,
                                                                             714 of 1969
                                                                                      LYNN R.
965 TAYLOR DR                            12963 W TYLER AVE                   ADDRESS ON FILE
GURNEE, IL 60031                         WAUKEGAN, IL 60087




GRONCZEWSKI, MARY                        GRONE, MARY A                       GRONERT, SHERYLYN
13842 WILL COOK RD                       261 N LINWOOD DR APT 122            1034 MAIN ST
ORLAND PK, IL 60467                      WOODRIDGE                           ANTIOCH, IL 60002
                                         GALESBURG, IL 61401




GRONOW, KAREN                            GROOMS, ALBERTINE                   GROOT
201 HINES ST SW                          10922 S BEVERLY AVE                 P.O. BOX 535233
NORTH CANTON, OH 44720                   CHICAGO, IL 60643                   PITTSBURGH, PA 15253-5233




GROOTERS, AMY M.                         GROOVER, LEANNA                     GROSCHKE, MATTHEW W.
151 STEPHEN RD. UNIT D                   2676 MANNING RD                     1700 S MAIN ST APT B
APTOS, CA 95003                          JAMESVILLE, NC 27846                JONESBORO, AR 72401




GROSENICK, CORINNE                       GROSKREUTZ, JULIE D.                GROSS JR., MICHAEL
2440 WILLAKENZIE RD                      ADDRESS ON FILE                     4478 HIGHWAY 1812 N
EUGENE, OR 97401-4801                                                        JACKSON, KY 41339




GROSS, ALBERT                            GROSS, ALEX D.                      GROSS, ANGELA N.
704 EASTSIDE DRIVE                       6429 HIGHWAY 541                    ADDRESS ON FILE
EVANSVILLE, IL 62242                     JACKSON, KY 41339




GROSS, CLINTON                           GROSS, JADE                         GROSS, JAIMIE A.
3671 STATE ROUTE 3                       1102 S. 24TH STREET                 ADDRESS ON FILE
CHESTER, IL 62233                        MT. VERNON, IL 62864




GROSS, JENA R.                           GROSS, KENNY                        GROSS, LOIS B.
ADDRESS ON FILE                          6 GROSS CEMETARY ROAD               4478 HWY 1812 N
                                         SEXTONS CREEK, KY 40983-4905        JACKSON, KY 41339




GROSS, SARALEE                           GROSS, SCOTTY R.                    GROSS, TAMRA S.
P.O. BOX 947                             ADDRESS ON FILE                     449 N MCCOMBS ST
MOUNTAIN VIEW, WY 82939                                                      MARTIN, TN 38237




GROSSMAN, MELISSA                        GROSSMAN, PATRICK P.                GROTEFENDT, ALAN
ADDRESS ON FILE                          1502 MARION STREET                  12261 EW BUNNYFARM RD
                                         CARTERVILLE, IL 62918               MT. VERNON, IL 62864
GROTEFENDT, DALE          Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                        GROUP ADMINISTRATORS             Page GROUP
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                                                                                      1969
                                                                                         INSURANCE
P.O. BOX 512                            915 NATIONAL PARKWAY                  2505 COURT ST
MARINE, IL 62061                        STE F                                 PEKIN, IL 61558
                                        SCHAUMBURG, IL 60173




GROUP&PENSION ADMIN.INC/HRA             GROVE, AIMEE                          GROVE, AMANDA B.
EXPLANATION OF BENEFIT                  2121 S. SHELLY DR                     9040 REDMONT AVE SW
12770 MERIT DRIVE/2ND FL                DEMING, NM 88030                      NAVARRE, OH 44662
DALLAS, TX 75251




GROVE, KAREN M.                         GROVE, ROCHELLE R.                    GROVE, SHARON
10981 LAFAYETTE DRIVE NW                5612 J ROAD                           5891 SMITH RD. SW
CANAL FULTON, OH 44614                  WATERLOO, IL 62298                    NAVARRE, OH 44662




GROVER, MD NEERA                        GROVES, ANGEL L.                      GROVES, JULIE
16018 TUSCOLA ROAD, 2                   11117 CR 88                           2220 STONEGATE DR
APPLE VALLEY, CA 92307                  PISGAH, AL 35765                      DUPO, IL 62239




GROVES, SIDNEY                          GROVES, STACIE                        GROVES, SYDNEY N.
ADDRESS ON FILE                         1511 PALOMINO DRIVE                   1530 BOST ORCHARD RD
                                        MCHENRY, IL 60051                     CREAL SPRINGS, IL 62922




GROVES, VENESA R.                       GROVE-SEMINARY                        GROWING UP WITH US, INC.
ADDRESS ON FILE                                                               P.O. BOX 481810
                                                                              CHARLOTTE, NC 28269-5316




GRP MECHANICAL CO. INC.                 GRTN051-GENERAL SESSIONS COURT        GRUBB ELIZABETH
1 MECHANICAL DRIVE                      CLERK                                 5406 2ND AVE
BETHALTO, IL 62010                      P.O. BOX 217                          KENOSHA, WI 53140
                                        CHARLOTTE, TN 37036-0217




GRUBB, CHRISTOPHER T.                   GRUBB, ELIZABETH L.                   GRUBB, FERNANDA
2905 GROVELAND DRIVE                    69 OLD FARM CT                        ADDRESS ON FILE
GREENVILLE, NC 27858                    LINDENHURST, IL 60046




GRUBBS DDS, KELLI                       GRUBBS, DOLORES C.                    GRUBBS, KIM
400 PLAZA AVE                           12749 S UNION AVE                     1460 G STREET
WEST HELENA, AR 72390                   CHICAGO, IL 60628                     SPRINGFIELD, OR 97477




GRUBBS, KIM                             GRUBBS, KIMBERLY S.                   GRUBER, JASON
P.O. BOX 2923                           ADDRESS ON FILE                       111 SPRING STREET
WEST HELENA, AR 72390                                                         RED BUD, IL 62278
GRUCA, ROBERTA           Case 20-10766-BLS    DocCAITLIN
                                       GRUDZINSKI, 6 Filed
                                                         R. 04/07/20   Page GRUEBER,
                                                                            716 of 1969
                                                                                     LINDA
12920 ELM ST                            ADDRESS ON FILE                     5111 MAPLE RD UNIT 3
BLUE ISLAND, IL 60406                                                       RICHMOND, BC Z7E 5ZG
                                                                            CANADA




GRUENENFELDER, KERRI                    GRUGAN, AIMEE                       GRUM, PETER A.
1900 CYPRESS                            719 S HECKMAN GAP RD                ADDRESS ON FILE
HIGHLAND, IL 62249                      MILL HALL, PA 17751-8703




GRUMMAN & BUTKUS ASSOCIATES             GRUMMITT, JAMES E.                  GRUNDIG, CODEE
820 DAVIS ST STE 300                    106 HOOSER RD                       1467 CANTWELL LN UNIT 2
EVANSTON, IL 60201                      BIG SPRING, TX 79720                BELLEVILLE, IL 62226




GRUNER, DEBRA                           GRUNERT, JUDITH                     GRUVER, JEROLD W.
416 HUG ROAD                            990 SANDRA ST                       ADDRESS ON FILE
POCAHONTAS, IL 62275                    DYERSBURG, TN 38024




GRYGLEWSKI, LAURA                       GRZECHOWIAK, NICHOLE                GRZEGORZEWSKI, LAVERNE
ADDRESS ON FILE                         29291 MASSACHUSETTS RD              ADDRESS ON FILE
                                        ASHLEY, IL 62808




GRZYWACZ, ROSEMARY                      GSC SIGNS & AWNINGS                 GSCHWEND, GWENDOLYN
P.O. BOX 282                            25595 HWY 22N                       3325 PHILLIPS 251 RD
COLLINSVILLE, IL 62234                  MCKENZIE, TN 38201                  LEXA, AR 72355




GSW ENVIROMENTAL                        GU LOGIC                            GUADALUPE M SANCHEZ
515 CIVIC PARK DRIVE                    2520 WINDY HILL RD STE 201          13035 BRANDON AVE
OFALLON, MO 63366                       MARIETTA, GA 30067                  CHICAGO, IL 60633




GUADARRAMARAMIREZ, ROSA R.              GUADELOUPE, CARLENE                 GUADIANA, GILBERT D.
542 WASHINGTON ST                       1612 EWING FARM DR                  609 GRANT ST P.O. BOX 415
APT 615                                 LOGANVILLE, GA 30052                BAYARD, NM 88023
WAUKEGAN, IL 60085




GUAITA PROHENS, CLAUDIA A.              GUANCIALE, JEROME M., D.O.          GUANCIALE, JERRY, D.O.
744 GLOSTER CT                          394 CALAIS DR                       394 CALAIS DR
GURNEE, IL 60031                        MESQUITE, NV 89027                  MESQUITE, NV 89027-8804




GUANGORENA, GUADALUPE                   GUANZON, AMY                        GUARANTEED LIMITED
ADDRESS ON FILE                         2810 W GRANDVILLE AVE               111 MARYSAS DRIVE
                                        APT 103                             HUNTSVILLE, AL 35811-0000
                                        WAUKEGAN, IL 60085
GUARDADO, ULISSES           Case 20-10766-BLS    Doc
                                          GUARDIAN    6 FiledSOLUTIONS,
                                                   HEALTHCARE 04/07/20LLC Page GUARDIOLA,
                                                                               717 of 1969JOSEPH
1921 9TH PARKWAY                           4220 CAHABA HEIGHTS COURT            14115 S WESTERN AVE
WAUKEGAN, IL 60085                         SUITE 100                            LOT 432
                                           VESTAVIA HILLS, AL 35243             DIXMOOR, IL 60406




GUCCIARDO, MARY                            GUDGER, JOHN R. SR                   GUEBERT, JENNIFER N.
753 NW WATERLILLY PLACE                    6086 CHATSWORTH HWY                  1118 RAYMOND DRIVE
JENSEN BEACH, FL 34957                     ELLIJAY, GA 30540                    RED BUD, IL 62278




GUEBERT, MELVIN                            GUEBERT, SHARON                      GUEHLSTORF, KRISTIN
8043 SAINT LEOS ROAD                       1134 ROSE OF SHARON ROAD             20 RUSHMORE DR
EVANSVILLE, IL 62242-1519                  COULTERVILLE, IL 62237               GLEN CARBON, IL 62034




GUEL, DAVID R.                             GUEL, JERRY C.                       GUELKER, GERALD
13310 ANN STREET 1                         6525 CORNWALL COURT                  6623 LEONA ST
BLUE ISLAND, IL 60406                      NASHVILLE, TN 37205                  ST. LOUIS, MO 63116




GUELZOW, KATHRYN                           GUENTHER, BARBARA G.                 GUERBET LLC
ADDRESS ON FILE                            22230 W. TERRY DR. N.                DEPT 3917
                                           LAKE VILLA, IL 60046                 CAROL STREAM, IL 60132




GUERIN, MADELINE M.                        GUERRA, DONNA R.                     GUERRA, EUSTOLIO
ADDRESS ON FILE                            310 SAM JOHNSON LN                   1036 MISS BEV
                                           SCOTTS HILL, TN 38374                EL PASO, NM 79932




GUERRA, JUAN                               GUERRERO, MARY E.                    GUERRERO, ORALIA C.
3320 HOOD AVE                              1408 S. SILVER                       11800 SSG RIVERS CT
PARK CITY, IL 60085                        DEMING, NM 88030                     EL PASO, TX 79908-3248




GUERRERO, PATRICIA                         GUERRERO, ROCIO M.                   GUERRERO, STEPHANIE J.
280 RIVERSIDE RD APT 23E                   2378 COUNTY ROAD 116                 ADDRESS ON FILE
MESQUITE, NV 89027                         FORT PAYNE, AL 35967




GUERRERO, SUSANNA                          GUESS, KEITH A.                      GUETHLE, STEPHANIE
3806 167TH PL                              ADDRESS ON FILE                      12 E STATE ST
COUNTRY CLUB HILLS, IL 60478                                                    CHESTER, IL 62233




GUEVAR, JORGE N.                           GUFFEY, JOY L.                       GUFFEY, SCOTTIE
P O BOX 439                                405 PARK                             4719 COUNTY ROAD 429
COLLINSVILLE, AL 35961-0608                SOUTH ROXANA, IL 62087               FYFFE, AL 35971
GUGER, TONY              Case 20-10766-BLS    Doc
                                       GUGLIELMO   6 Filed 04/07/20
                                                 & ASSOCIATES           Page GUGLIELMO,
                                                                             718 of 1969ANTHONY
4588 COUNTY ROAD 155                   P.O. BOX 41688                        3410 WILDERNESS DR
HIGDON, AL 35979                       TUCSON, AZ 85717                      EDWARDSVILLE, IL 62025




GUGLIELMO, JANSEN                      GUGOV, MARGARET                       GUIANG, LIRIO
ADDRESS ON FILE                        741 HEMLOCK ST NW                     7120 LAVERNE LANE 1
                                       MASSILLON, OH 44647-5167              TINLEY PARK, IL 60477




GUIDE ONE                              GUIDETTI, SARA                        GUIDO, VICTOR H.
P.O. BOX 14543                         P. O. BOX 1787                        ADDRESS ON FILE
DES MOINES, IA 50306                   ALPINE, TX 79831




GUIFFRE, DANIEL                        GUILE, DAVID A.                       GUILEY GARY LYNN
1642 N PARK ST                         ADDRESS ON FILE                       4019 OREGON AVE
CANTON, OH 44708                                                             SPRINGFIELD, OR 97478




GUILLEN, ANGELICA                      GUILLEN, SANDRA                       GUILLEN-ZEPEDA, FELIPE J.
1033 LINCOLN                           97 VISTA POINTE DR                    291 CASSERLY RD
WATSONVILLE, CA 95076                  WATSONVILLE, CA 95076                 WATSONVILLE, CA 95076




GUILLIAMS, HEATHER M.                  GUILLIAMS, JOSEPH B.                  GUINANAO, ROMER G.
2526 VALLEYWOOD AVE NE                 2526 VALLEYWOOD AVE NE                4429 LAWRENCE ST APT 1046
MASSILLON, OH 44646                    MASSILLON, OH 44646                   NORTH LAS VEGAS, NV 89081




GUINED, RHONDA D.                      GUINGUING, ARIANNE LUCIENNE R.        GUINN ANGELA G
142 MILLER COVE                        334 SOUTH LITCHFIELD DR.              2055 COUNTY RD 371
ANNA, IL 62906                         ROUND LAKE, IL 60073                  HENAGAR, AL 35978




GUINN, LORI                            GUINN, TERESA                         GUISER, TODD M.
120 COUNTY ROAD 430                    ADDRESS ON FILE                       P.O. BOX 84
FYFFE, AL 35971                                                              MACKEYVILLE, PA 17750




GUISER, TODD                           GULAM, HAJAT A MD.                    GULDENZOPF, KATHY E.
177 MACKEYVILLE RD                     28 DEERPATH TRAIL                     202 N. SCOTT STREET P.O. BOX 381
MACKEYVILLE, PA 17750                  BURR RIDGE, IL 60527                  ALEXIS, IL 61412




GULFCOAST ULTRASOUND INST              GULICK, NICKI                         GULISH, JESSE
111 2ND AVE NE STE 800                 643 285TH AVE                         7521 OLD PARIS MURRAY RD
ST PETE, FL 33701                      ALEXIS, IL 61412                      PURYEAR, TN 38251
GULLEDGE, BARI B.      Case 20-10766-BLS    Doc
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                                               ERICA                Page GULLEDGE,
                                                                         719 of 1969
                                                                                   MICHAEL R.
ADDRESS ON FILE                      110 BEVARD ST P.O. BOX 277          413 COUNTY ROAD 696
                                     CAMBRIA, IL 62915                   DAWSON, AL 35963




GULLEDGE, NANCY F.                   GULLETT BRENDA                      GULLETT, MARTHA A.
900 OAKRIDGE DRIVE                   150 RL SMITH LANE                   ADDRESS ON FILE
MARYVILLE, IL 62062                  VANCLEVE, KY 41385




GULLETT, SARAH                       GULLEY, RONALD                      GULLEY, STEVEN
ADDRESS ON FILE                      3700 BABCOCK LN SPC 124             301 EAST SHILOH DR
                                     EUGENE, OR 97401-8907               RED BUD, IL 62278




GULLIKSEN, DONNA K.                  GULLION SEBRINA                     GUMAER ROBERT
2501 WEAVER RD.                      1604 GRAND AVE NW                   73 TIPS TR
HERRIN, IL 62948                     FORT PAYNE, AL 35967                P.O. BOX 301
                                                                         BLUE RIDGE, GA 30513




GUMAER ROBERT                        GUMAER, ROBERT                      GUMBO SOFTWARE INC
P.O. BOX 301                         P.O. BOX 301                        809 HOWE ST
BLUE RIDGE, GA 30513                 73 TIPS TR                          SEATTLE, WA 98119
                                     BLUE RIDGE, GA 30513




GUMBO SOFTWARE INC                   GUMBO SOFTWARE,INC                  GUMINA, PAMELA R.
809 WEST HOWE STREET                 809 W HOWE STREET                   2001 N. HWY 118 APT 16
SEATTLE, WA 98119                    SEATTLE, WA 98119                   ALPINE, TX 79830




GUMM, CAROL J.                       GUMMERSON BRIDGET A                 GUMMO, TODD C.
1055 HICKORY KNOLL                   1600 BRIDGE AVE                     400 FURNACE RD
GALESBURG, IL 61401                  GALESBURG       IL, IL 61401        MILL HALL, PA 17751




GUMZ, LINDSEY F.                     GUNDERSON, BRYCIE                   GUNDERSON, DIANN
ADDRESS ON FILE                      162 RANCH RD                        2762 LINCOLN PARK DR
                                     GRANTSVILLE, UT 84029               GALESBURG, IL 61401




GUNDERSON, DONALD                    GUNDERSON, PAUL D.                  GUNDERSON, PAUL
10242 WEST 195TH ST                  ADDRESS ON FILE                     ADDRESS ON FILE
MOKENA, IL 60448




GUNDLACH, MARY                       GUNN, JESSE                         GUNN, RHONDA A.
742 KLEIN DRIVE                      723 E CROSS APT 7                   1923 ELIZABETH DR
SMITHTON, IL 62285                   FORREST CITY, AR 72335              AUGUSTA, GA 30906-5131
GUNNERSON, JULIE        Case 20-10766-BLS
                                      GUNTER,Doc 6 J.Filed 04/07/20
                                             BARBARA                   Page GUNTER,
                                                                            720 of CASSANDRA
                                                                                    1969
1257 BIRDIE LANE                       P.O. BOX 616                         ADDRESS ON FILE
KAYSVILLE, UT 84037                    GEORGIANA, AL 36033




GUNTER, DWAYNE                         GUNTER, HERBERT                      GUNTER, JO A.
ADDRESS ON FILE                        222 FISH TRAP TRAIL                  222 FISHTRAP TRAIL
                                       MINERAL BLUFF, GA 30559              MINERAL BLUFF, GA 30559




GUNTER, MICHAEL                        GUNTER, ROBIN M.                     GUNTER, THOMAS
8841 HONORAVILLE RD                    ADDRESS ON FILE                      3280 QUINCY RD SW
HONORAVILLE, AL 36042                                                       DEMING, NM 88030




GUNTHER SALT CO.                       GUNTREN, GREGORY                     GUO CHUAN
P.O. BOX 870823                        117 KINGSBROOKE BLVD                 807 LANCASHIRE
KANSAS CITY, MO 64187-0823             GLEN CARBON, IL 62034                APT 8
                                                                            EDWARDSVILLE, IL 62025




GURASH, JANICE D.                      GURCHAK, CYNTHIA A.                  GURGANUS, ERVIN
104 HOLLY DR                           167 HERITAGE TRAIL                   2835 HOLLIS RD
WATSONVILLE, CA 95076                  HAINESVILLE, IL 60030                PLYMOUTH, NC 27962




GURGANUS, FAITH                        GURGANUS, HENRY                      GURGANUS, JANICE C.
2990 LEGGETT MILL RD                   756 HWY 45 SOUTH                     ADDRESS ON FILE
WILLIAMSTON, NC 27892                  PLYMOUTH, NC 27962




GURGANUS, KELLY                        GURGANUS, KEN                        GURGEL, SHARON L.
1210 OAKVIEW DR                        1245 MEADOWS ROAD                    12815 CLINTON STREET
WILLIAMSTON, NC 27892                  WILLIAMSTON, NC 27892                BLUE ISLAND, IL 60406-1808




GURIEN, ANDREW MD.                     GURKIN, JOHN T.                      GURKIN, KELLEN E.
11275 TRINITY PLACE                    1606 BIG MILL RD                     ADDRESS ON FILE
NAPLES, FL 34114                       WILLIAMSTON, NC 27892




GURLEY, BONNIE                         GURLEY, ERNEST                       GURLEY, JOHN M.
501 MOPAC RD                           9443 ASHBURY LANE                    ADDRESS ON FILE
BRINKLEY, AR 72021                     PLEASANT PRAIRIE, WI 53158




GURLEY, RHONDA                         GURNEE COMMONS MEDICAL PROPERTIES    GURNEE EAST MEDICAL PROPERTIES, INC
2205 POPLAR SPRINGS ROAD               C/O MB REAL ESTATE                   C/O MB REAL ESTATE
HUNTINGDON, TN 38344                   P.O. BOX 257                         P.O. BOX 257
                                       EMERSON, NJ 07630                    EMERSON, NJ 07630
GURNEE MAINTENANCE LLCCase 20-10766-BLS
                                    GURNEE Doc
                                             WEST6   FiledPROPERTIES
                                                  MEDICAL   04/07/20LLCPage GURNEE,
                                                                             721 of BRIAN
                                                                                    1969
15 TOWER COURT                      C/O MB REAL ESTATE                      4422 MARTIN AVENUE NE
SUITE 145                           P.O. BOX 257                            FORT PAYNE, AL 35967
GURNEE, IL 60031                    EMERSON, NJ 07630




GURSKY, DENISE A.                     GURSTEL LAW FIRM P.C.                  GURSTEL LAW FIRM P.C.
216 BROOKPOINT N.W.                   6681 COUNTRY CLUB DRIVE                6681 COUNTRY CLUB DRIVE
NORTH CANTON, OH 44720                GOLDEN VALLEY, MN 55427                GOLDEN VALLEY, MN 55427-0000




GURTLER INDUSTRIES, INC               GURU TINT                              GURUMENDI, LUIS
15475 SOUTH LASALLE STREET            P.O. BOX 681459                        128 N CHANNEL DR
SOUTH HOLLAND, IL 60473               FORT PAYNE, AL 35968                   ROUND LAKE BEACH, IL 60073




GURUNG, PUNAM                         GUSDORF LAW FIRM LLC                   GUSDORF, RANDALL E.
ADDRESS ON FILE                       9666 OLIVE BLVD                        9666 OLIVE BLVD STE 211
                                      STE 211                                ST LOUIS, MO 63132
                                      ST. LOUIS, MO 63132




GUSDORF, RANDALL E.                   GUSE, STACEY J.                        GUSKO, JESSICA
9666 OLIVE BLVD STE 211               111 N GREY ST                          818 JACKSON AVE
ST LOUIS, MO 63232                    STANTON, TX 79782                      NORTH AUGUSTA, SC 29841




GUSSARSON DARYL                       GUSSIE, DIANE                          GUST, ANDREWS
555 LONGVIEW DR                       P.O. BOX 1861                          4034 CARNEGIE AVE NW
ANTIOCH, IL 60002                     MESQUITE, NV 89025                     MASSILLON, OH 44646-1516




GUSTAFSON, BARBARA                    GUSTAFSON, BRANDI J.                   GUSTAFSON, HEATHER
1527 NORTH WOODBINE DRIVE             ADDRESS ON FILE                        177 DUFFIELD AVE
ROUND LAKE BEACH, IL 60073                                                   GALESBURG, IL 61401




GUSTAFSON, MARY                       GUSTAFSON, PATRICIA E.                 GUSTASON, RICHARD L.
3150 EASTEND AVE                      ADDRESS ON FILE                        1075 SOLANA RD SE
WAUKEGAN, IL 60087                                                           DEMING, NM 88030




GUSTAVESON, KRISTYLIN                 GUSTAVO VON DER LANCKEN, MD            GUSTIN, CALLIE
64 N 150 W APT 108                    ADDRESS ON FILE                        ADDRESS ON FILE
TOOELE, UT 84074




GUTHRIE CHARLES F II                  GUTHRIE, HEATHER D.                    GUTHRIE, LISA K.
269 E SPRING ST                       ADDRESS ON FILE                        3485 CAROTHERS PKWY
COFFEE SPGS, AL 36318                                                        FRANKLIN, TN 37064
GUTHRIE, SHANNON D.        Case 20-10766-BLS
                                         GUTHRIE,Doc  6 Filed 04/07/20
                                                  SHERRY                  Page GUTHRIE-SHEDRICK,
                                                                               722 of 1969       BROOKE R.
ADDRESS ON FILE                           833 SQUIRREL HOLLOW RD               ADDRESS ON FILE
                                          MONROE, GA 30655




GUTIERREZ MAGDALENO, JESSICA              GUTIERREZ, BELINDA                   GUTIERREZ, BERTHA
P.O. BOX 1444                             567 W. 162ND STREET                  736 HARDY WAY
FREEDOM, CA 95019                         SOUTH HOLLAND, IL 60473              UNIT C
                                                                               MESQUITE, NV 89027




GUTIERREZ, CRYSTAL M.                     GUTIERREZ, ELISEO                    GUTIERREZ, GUADALUPE
300 E. WEBSTER STREET APT D15             2222 14TH ST                         2832 OSAGE CIR
MADISON, TN 37115                         WAUKEGAN, IL 60085                   WAUKEGAN, IL 60087




GUTIERREZ, GUILLERMO                      GUTIERREZ, LAWRENCE                  GUTIERREZ, MAGALY
722 E 155TH ST                            1779 CARDINAL DR                     12810 CLINTON ST
SOUTH HOLLAND, IL 60473                   GALESBURG, IL 61401                  BLUE ISLAND, IL 60406




GUTIERREZ, MARIO                          GUTIERREZ, MONICA JASMINE            GUTIERREZ, REBEKAH L.
475 FIFER ST                              1227 PARK AVE                        19664 CRAB ORCHARD RD
GALESBURG, IL 61401                       NORTH CHICAGO, IL 60064              MARION, IL 62959




GUTIERREZ, YOLANDA                        GUTIERREZ-FERNANDEZ, NANCY H.        GUTKE, WES
ADDRESS ON FILE                           P.O. BOX 2391                        ADDRESS ON FILE
                                          WATSONVILLE, CA 95077




GUTSCH, NEAL                              GUTSHALL, SANDRA                     GUY A HULL SR
3426 173RD PLACE                          4574 1/2 ERIE AVE NW                 2611 HARSH AVE SE
LANSING, IL 60438                         CANAL FULTON, OH 44614               MASSILLON, OH 44646




GUY BROWN LLC                             GUY BROWN MANAGEMENT LLC             GUY BROWN MANAGEMENT LLC
GUY BROWN PROMO                           P.O. BOX 306156                      PO BOX 306156
P.O. BOX 306250                           NASHVILLE, TN 37230-6156             NASHVILLE, TN 37230-6156
NASHVILLE, TN 37230-6250




GUY BROWN MGMT LLC                        GUY KIDDER                           GUY, ALLISON
GUY BROWN                                 7990 STUHLDREHER ST                  60 LANCEY LANE
P.O. BOX 306156                           APT 35                               CASEYVILLE, IL 62232
NASHVILLE, TN 37230-6156                  MASSILLON, OH 44646




GUY, EXSTAVION                            GUY, SANDRA L.                       GUY, SYLVIA
12736 HOYNE AVE APT 2                     2455 AZALEA DRIVE                    882 NORTH 1250 EAST
BLUE ISLAND, IL 60406                     LOGANVILLE, GA 30052                 TOOELE, UT 84074
GUYE, KRIS R.            Case 20-10766-BLS    Doc 6 N.Filed 04/07/20
                                       GUYER, HEATHER                  Page GUYMON,
                                                                            723 of 1969
                                                                                    RULON
200 LAKE RD                             ADDRESS ON FILE                     1200 QUICK SILVER WAY
DE SOTO, IL 62924                                                           MESQUITE, NV 89027-6723




GUZELDERE, BELKIS                       GUZMAN ASHLEY                       GUZMAN AVALOS, SAYRA G.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




GUZMAN JESUS                            GUZMAN MANUEL                       GUZMAN QUAYE, MARISOL
2704 ADELAIDE AVE                       275 W 700 N                         227 LENKER AVE
BEACH PARK, IL 60087                    TOOELE, UT 84074                    SUNBURY, PA 17801




GUZMAN, ALICE R.                        GUZMAN, ASHLEY A.                   GUZMAN, CLAUDIA
510 DONLEY ST                           ADDRESS ON FILE                     1984 ENCINA DRIVE
BIG SPRING, TX 79720                                                        SANTA CRUZ, CA 95062




GUZMAN, EMANUEL                         GUZMAN, JESSE                       GUZMAN, JESUS
342 PHEASANT DR P.O. BOX 3507           65 WHITE ST.                        1119 N HICKORY ST
MESQUITE, NV 89027                      WATSONVILLE, CA 95076               JOLIET, IL 60435




GUZMAN, JIMIE J.                        GUZMAN, MELISSA                     GUZMAN, VENANCIO
1641 E ARROWHEAD LANE                   2013 YOSEMITE CT                    929 CHESTNUT ST
ERDA, UT 84074                          BARSTOW, CA 92311                   WAUKEGAN, IL 60085




GUZMAN-CORNEJO, MIRIAM E.               GUZMANOROZCO, RUTILIO               GWEN DAVIS/BELL WINSTON CLINIC
ADDRESS ON FILE                         10088 W YORKHOUSE RD                626 POPLAR STREET
                                        BEACH PARK, IL 60087                HELENA, AR 72342




GWEN LITTEKEN                           GWENDOLYN SIZEMORE                  GWENDOLYN STEVENS
RE: EVA LITTEKEN                        12781 N. GREENBRIAR RD              13836 DIVISION ST
8583 NIKE ROAD                          CARTERVILLE, IL 62918-3227          BLUE ISLAND, IL 60406-3221
RED BUD, IL 62278




GWENDOLYN UTLEY                         GWENETTA THEMES                     GWH HEALTHSMART
1116 TURPIN ST                          398 BAKERS SCHOOL RD                P.O. BOX 188061
AUGUSTA, GA 30901-4042                  SCOTLAND NECK, NC 27874             CHATTANOOGA, TN 37422-8061




GWILLIAM, KAYLEE L.                     GWILLIM, DOLLY L.                   GWINNETT COUNTY MAGISTRATE COURT
590 N BROOK AVE                         28381 IRISH BEND RD                 P.O. BOX 568
TOOELE, UT 84074                        MONROE, OR 97456                    LAWRENCEVILLE, GA 30046
                        Case 20-10766-BLS
GWINNETT TECHNICAL COLLEGE                    Doc 6 Filed 04/07/20
                                      GYNEX, INC                     Page GYNZYME
                                                                          724 of 1969
CONTINUING EDUCATION                  P.O. BOX 3189                      ATTN: COPAY ASSISTANCE
5150 SUGARLOAF PKWAY                  REDMOND, WA 98073                  P O BOX 221736
LAWRENCEVILLE, GA 30043                                                  CHARLOTTE, NC 28222-1736




GYRUS, ACMI                         H & C FARMS                          H & M LUMBER CO
DEPT 0166                           P.O. BOX 462                         P O BOX 3318
P.O. BOX 120166                     CAMPTON, KY 41301                    WEST HELENA, AR 72390
DALLAS, TX 75312-0166




H & S MEDICAL                       H MANGEOT CONSULTING LLC             H ROWE, RODNEY
1 NEW HAMPSHIRE AVENUE              212 HATTON PL                        3 HILLCREST DRIVE
SUITE 125                           FRANKLIN, TN 37067-0000              MT. VERNON, IL 62864
PORTMOUTH, NH 03801




H&S VOICE AND DATA                  H. MITCHELL WATSON, JR.              H.C. FIELDS
925 OAK HILL STREET                                                      609 NORA LANE
TRENTON, IL 62293                                                        MT. VERNON, IL 62864




H.C. OSWALD SUPPLY CO               H.O.H. WATER TECHNOLOGY INC.         H.S. MEHTA
P.O. BOX 740607                     P O BOX 487                          2197 CATHERINE ST
725 WHITTIER STREET                 PALATINE, IL 60078-0000              GALESBURG, IL 61401
BRONX, NY 10474




H2ONLY                              H3 GROUP                             HA V NGUYEN
3328 NORTH LINDBERGH BLVD           P.O. BOX 5094                        533 NEW SEARCY RD
ST. LOUIS, MO 63074                 BRENTWOOD, TN 37024                  GREENVILLE, AL 36037




HA, ALYSSA                          HA, JENNIFER                         HAAG, LORI A.
748 DORA CELESTE DR                 ADDRESS ON FILE                      23 ROYAL CT
LAS VEGAS, NM 87701                                                      MILLSTADT, IL 62260




HAAGEN, ALAN D.                     HAAGEN, ALBERT                       HAAKE, KIT
489 SNYDERTOWN RD                   350 SNYDERTOWN RD                    ADDRESS ON FILE
HOWARD, PA 16841                    HOWARD, PA 16841




HAARZ, META E.                      HAAS GRADING & UNDERGROUND           HAAS, CARL
1505 N OAK AVE                      1032 GRAND AVENUE SW                 3241 MELBA DR
ROUND LAKE BEACH, IL 60073          FORT PAYNE, AL 35967                 HEPHZIBAH, GA 30815-5541




HAAS, JUSTIN C.                     HAAS, LAURIE L.                      HAAS, MICHELLE E.
503 GRAPE ST                        ADDRESS ON FILE                      404 E 8TH ST
LOCK HAVEN, PA 17745                                                     WEST FRANKFORT, IL 62896
HAAS, RONNA A.           Case 20-10766-BLS     Doc L.6
                                       HAAS, SHERRI        Filed 04/07/20   Page HAAS,
                                                                                 725 of  1969
                                                                                       ZACHARY
ADDRESS ON FILE                          1431 COUNTY ROAD 835                    860 SUNSET LN
                                         FORT PAYNE, AL 35968                    RED BUD, IL 62278




HAASE, JENNIFER L.                       HABER, MARYELLEN                        HABERER, BARBARA C.
P.O. BOX 82                              87695 SALTAIRE ST                       ADDRESS ON FILE
CHERRY LOG, GA 30522                     FLORENCE, OR 97439-9051




HABERL, CHRIS                            HABIB, ARIF                             HABINAK, JACK
523 PAUL DRIVE                           2120 MADISON AVE STE 404                JACKSON MEDICAL TECHNOLOGIES
WATERLOO, IL 62298                       GRANITE CITY, IL 62040                  4187 BRYCE CR NW
                                                                                 MASSILLON, OH 44646




HABRAT, CONNOR                           HABRAT, JOHN J.                         HABSABEN PANSURIA
38844 PLACE ROAD                         ADDRESS ON FILE                         12650 W BRANDT DR
FALL CREEK, OR 97438                                                             LITTLETON, CO 80127




HACH COMPANY                             HACKER, LACEY                           HACKERT, CERISE
2207 COLLECTIONS CENTER DRIVE            ADDRESS ON FILE                         46 BOXWOOD LN
CHICAGO, IL 60693                                                                CARY, IL 60013




HACKETT,DONALD                           HACKETT-BRIESCHKE MARY                  HACKETT-BRIESCHKE, MARY
5 WEAVER CREEK WAY                       600 COUNTRY CLUB LANE                   600 COUNTRY CLUB LANE
BLUE RIDGE, GA 30513                     CARTERVILLE, IL 62918                   CARTERVILLE, IL 62918




HACKNEY, BETTY                           HACKNEY, CHRISTIE                       HADBAVNY, JOHN
3 PETUNIA AVE                            4 PERIGEN LANE                          1116 MINUTEMAN AVE NW
GRANITE CITY, IL 62040                   GRANITE CITY, IL 62040-0000             MASSILLON, OH 44646




HADDAD, DR. RUDY                         HADDAD, SANDY W.                        HADDEN, JANET
902 MOUNTAIN PARK                        3830 LANCASTER DRIVE                    6633 MAPLEHURST AVE SE
BIG SPRING, TX 79720                     EUGENE, OR 97404                        EAST SPARTA, OH 44626-9562




HADDER, ERICA M.                         HADDIX, BRIANNA                         HADDIX, CRYSTAL L.
734 COOKE STREET                         779 LICKBRANCH ARMORY RD                ADDRESS ON FILE
WEST HELENA, AR 72390                    JACKSON, KY 41339




HADDIX, ERIN E.                          HADDIX, KENDRA N.                       HADDOCK, TOBITHA A.
THE ESTATE OF 3937 VILLAGE LANE APT D    1393 CURT RD                            700 CAPROCK DR
GRANITE CITY, IL 62040                   JACKSON, KY 41339                       BIG SPRING, TX 79720
HADDOX, FRANCES E.       Case 20-10766-BLS     Doc
                                       HADID M.D.,   6 E. Filed 04/07/20
                                                   JABR                    Page HADID,
                                                                                726 of   1969
                                                                                       ANNA
ADDRESS ON FILE                          3890 POSEIDON WAY                      3890 POSEIDON WAY
                                         INDIALANTIC, FL 32903                  INDIALANTIC, FL 32903




HADID, ANNA                              HADLEY, ANGELA                         HADLEY, CHRISTY
6795 MT PLEASANT ST NW                   ADDRESS ON FILE                        ADDRESS ON FILE
NORTH CANTON, OH 44720




HADLEY, GEORGE E.                        HADUCA, MARIA                          HAEMONETICS CORP
ADDRESS ON FILE                          129 CELIA DR                           24849 NETWORK PLACE
                                         WATSONVILLE, CA 95076                  CHICAGO, IL 60673-1248




HAEMONETICS                              HAENNY, JUDITH                         HAFENSTEIN, AMANDA N.
24849 NETWORK PL                         2740 AZALEA CT                         ADDRESS ON FILE
CHICAGO, IL 60673-1248                   HIGHLAND, IL 62249




HAFEY, KIM                               HAFFORD KRISTEN E                      HAFINA EL HASSANI, GULSHAN PARASHER,
57 SUNSET DRIVE                          1606 ROSETTA DRIVE                     M.D., ALMA PORRAS-MONJE
WATSONVILLE, CA 95076                    DURHAM, NC 27701




HAFNER, DARREN                           HAGA DENISE F                          HAGAN III, JOHN M.
P.O. BOX 1686                            115 NE 3RD ST                          748 S. DIVISION STREET
MESQUITE, NV 89024                       GALVA, IL 61434                        CARTERVILLE, IL 62918




HAGAN, JESSICA W.                        HAGAN, TOMI K.                         HAGEDORN, CATHERINE
4215 H.D. ATHA RD                        19272 US HWY 65                        2879 KNOX ROAD 500 E
COVINGTON, GA 30014                      PRINCETON, MO 64673                    RIO, IL 61472




HAGEN SMITH                              HAGEN, ANA M.                          HAGEN, ANTOINETTE G.
2746 CHAVIES ROAD                        ADDRESS ON FILE                        ADDRESS ON FILE
FORT PAYNE, AL 35968




HAGENOW DANIEL M                         HAGENOW DEBRA A                        HAGER, EMILIE
43299 N LAKE AVE                         43299 N LAKE AVE                       17948 GLEN OAK AVENUE
ANTIOCH, IL 60002                        ANTIOCH, IL 60002                      LANSING, IL 60438




HAGER, JOHN M.                           HAGERMAN, SONDRA                       HAGERTY INSURANCE
ADDRESS ON FILE                          210 W RAINBOW DRIVE                    P.O. BOX 87
                                         GLENWOOD, IL 60425                     RECOVERY CLAIMS
                                                                                TRAVERSE CITY, MI 49685
HAGERTY, ELIZABETH A.    Case 20-10766-BLS   Doc
                                       HAGERTY,     6 H.Filed 04/07/20
                                                JANICE                   Page HAGGARD,
                                                                              727 of 1969
                                                                                       KATHY
1220 LILLIAN DR                          33294 N BATTERSHALL RD               1122 COUNTY ROAD 169
BARSTOW, CA 92311                        GRAYSLAKE, IL 60030                  HIGDON, AL 35979




HAGGARD, MICHELLE                        HAGGIN, KARRI A.                     HAGOPIAN JEFFREY C
29334 OLD US HWY 58                      ADDRESS ON FILE                      33 BERMUDA LANE
BARSTOW, CA 92311                                                             GRANITE CITY, IL 62040




HAGOPIAN, KRISTIN                        HAHN BRENDA K                        HAHN WILLIAM L
2553 BOYLE AVE                           3001 PERSHING                        614 E 3RD ST
GRANITE CITY, IL 62040                   GRANITE CITY, IL 62040               MAQUON, IL 61458




HAHN, ANTHONY                            HAHN, BAYLEIGH I.                    HAHN, BRIAN
532 LAKE DR                              28 WASHINGTON BLVD                   1914 W SUNNYVIEW DR
WOODHULL, IL 61490                       CHESTER, IL 62233                    PEORIA, IL 61614




HAHN, DANIEL OR REBECCA                  HAHN, HARRY                          HAHNE, KATHERINE A.
6280 OAKVIEW ROAD                        241 JOHNS RIDGE ROAD                 ADDRESS ON FILE
MODOC, IL 62261                          BLUE RIDGE, GA 30513




HAHNE, THERESA                           HAIDER, MISTY                        HAIER US APPLIANCE SOLUTIONS INC
6061 LL RD                               905 17TH ST. NE                      P.O. BOX 281865
WATERLOO, IL 62298                       MASSILLON, OH 44646                  GE APPLIANCE CONTRACT
                                                                              ATLANTA, GA 30384-1865




HAILE, BRENDAN                           HAILE, LACEY                         HAILEY GORDON
282 COUNTY RD 750 N                      ADDRESS ON FILE                      P.O. BOX 722
KEENES, IL 62851                                                              MOAPA, NV 89025-0722




HAILEY REYNOLDS                          HAINES, ALAN                         HAINES, JAMI
P.O. BOX 611                             119 SCHWAB TOWN RD                   1503 ALMADEN LN
LOGANDALE, NV 89021                      HOWARD, PA 16841-2711                GURNEE, IL 60031




HAINES, PEGGY                            HAINES, TIFFANY                      HAINLINE, PATRICIA C.
34084 I STREET                           ADDRESS ON FILE                      P.O. BOX 85 103 S. 2ND STREET
BARSTOW, CA 92311                                                             LONDON MILLS, IL 61544




HAINWORTH, SARA J.                       HAIOLA, DANIEL                       HAIRE LILY
ADDRESS ON FILE                          P.O. BOX 1075                        1025 TALL PINE RD
                                         LOGANDALE, NV 89021                  MOUNT PLEASANT, SC 29464
HAIRE, NICOLE            Case 20-10766-BLS     Doc 6 ROSS
                                       HAIREL WESLEY   Filed 04/07/20      Page HAIREL,
                                                                                728 ofKATELIN
                                                                                        1969 D.
ADDRESS ON FILE                         602 LOOKOUT TERRACE E                   ADDRESS ON FILE
                                        FORT PAYNE, AL 35967-7425




HAIREL, KAYLA L.                        HAIRSTON, CLAUDIA L.                    HAIRSTON, LIZZET
6432 COUNTY ROAD 52                     4323 REGANS LN                          616 EBERHART ROAD SE
DAWSON, AL 35963                        AUGUSTA, GA 30909-9137                  FORT PAYNE, AL 35967




HAIRSTON, TRACY                         HAISLIP, MEGAN C.                       HAISLIP, NANCY
311 COUNTY ROAD 155                     ADDRESS ON FILE                         2641 PRISON CAMP RD.
FLAT ROCK, AL 35966                                                             WILLIAMSTON, NC 27892




HAITSMA, ISABELLA N.                    HALBERT, CINDY                          HALBLEIB, JENNIFER
ADDRESS ON FILE                         1082 SFC 311                            ADDRESS ON FILE
                                        FORREST CITY, AR 72335




HALBROOK, OLIVIA R.                     HALCOM, NANCY L.                        HALCOMB, JAMES
437 CHINA GROVE RD.                     1505 OAKLEAF DR                         1337 E BOSTON AVE
RUTHERFORD, TN 38369                    JOHNSBURG, IL 60051-6169                MONMOUTH, IL 61462




HALCYON RESTRUCTURING FUND L.P.-FM      HALCYON RESTRUCTURING FUND L.P.-FM      HALCYON RESTRUCTURING FUND L.P.-FM
HALCYON LOAN ADVISORS FUNDING 2012 1    HALCYON LOAN ADVISORS FUNDING 2013 1    HALCYON LOAN ADVISORS FUNDING 2013-2
LTD                                     LTD                                     LTD




HALCYON RESTRUCTURING FUND L.P.-FM      HALCYON RESTRUCTURING FUND L.P.-FM      HALCYON RESTRUCTURING FUND L.P.-FM
HALCYON LOAN ADVISORS FUNDING 2015-1    HALCYON LOAN ADVISORS FUNDING 2015-2    HALCYON LOAN ADVISORS FUNDING 2015-3
LTD.                                    LTD                                     LTD




HALDEMAN, CHRISTINE M.                  HALDEMAN, DEBBIE                        HALDERMAN, CHRISTOPHER
4360 HERMAN ST                          104 CHEROKEE RIDGE LANE                 2431 DELAWARE AVE SW
EUGENE, OR 97404                        JONESBORO, IL 62952                     CANTON, OH 44706




HALE CHARLES H                          HALE, ALYSHA A.                         HALE, ANDREA
703 W BROADWAY PO BOX 681               104 JOAN DR                             ADDRESS ON FILE
MONMOUTH, IL 61462                      HARTFORD, IL 62048




HALE, CALVIN                            HALE, CHARLES H.                        HALE, CHRIS
400 PRINCETON ST                        703 W BROADWAY P.O. BOX 681             112 1ST STREET W
WEST MEMPHIS, AR 72301                  MONMOUTH, IL 61462                      FORT PAYNE, AL 35967
HALE, DYLAN C.           Case 20-10766-BLS     Doc 6
                                       HALE, JAMES           Filed 04/07/20   Page HALE,
                                                                                   729 JASON
                                                                                         of 1969
609 E CHURCH ST                         600 N LOGAN ST                             2880 HIGHWAY 11
BENTON, IL 62812                        MARION, IL 62959                           MANSFIELD, GA 30055




HALE, JONATHAN                          HALE, JONATHAN                             HALE, MARANDA D.
3566 HIGHWAY 581                        ADDRESS ON FILE                            ADDRESS ON FILE
ULYSSES, KY 41264




HALE, MEAGAN G.                         HALE, MELISSA R.                           HALE, REGINA A.
ADDRESS ON FILE                         45 JONESBORO QUARRY RD                     ADDRESS ON FILE
                                        ANNA, IL 62906




HALE, RHONDA A.                         HALE, SAMANTHA                             HALE, STACIE
ADDRESS ON FILE                         ADDRESS ON FILE                            601 SUMMIT ST
                                                                                   EVANSTON, WY 82930




HALE, STEPHANIE J.                      HALE, SUSAN D.                             HALE, TOMEKO E.
ADDRESS ON FILE                         ADDRESS ON FILE                            205 AVERY AVE LOT G
                                                                                   STEVENSON, AL 35772




HALEIGH MARSH                           HALES COMMERCIAL CLEANING                  HALES DONNELL
ADDRESS ON FILE                         3677 KEN-TENN ROAD                         114 REMINGTON DR
                                        UNION CITY, TN 38261                       EVANSTON, WY 82930-9063




HALES, DESIREE                          HALES, KYLIE                               HALES, LARRY R.
1202 N. LACROIX LN 110                  154 SECOND AVE                             112 RIDGEVIEW TRACE
TOOELE, UT 84074                        EVANSTON, WY 82930                         HENDERSONVILLE, TN 37075




HALEY GREEN                             HALEY GRISSOM                              HALEY SHARON F
ADDRESS ON FILE                         525 HUTCHENS ROAD                          6263 WINDMERE LANE
                                        MARTIN, TN 38237                           MARION, IL 62959




HALEY STARR                             HALEY THOMAS                               HALEY, BRITTNEY D.
109 EAST AVENUE                         461 WINSOR DR                              2069 COTTAGE SAN RD 35
ANNA, IL 62906                          ANTIOCH, IL 60002                          SILVER CITY, NM 88061




HALEY, CAROLYN D.                       HALEY, JAKE                                HALEY, MICHELLE
6641 BRINKER ST SW                      46 GLEN AVENUE                             730 N CHAMBERLAIN ST
NAVARRE, OH 44662                       FOX LAKE, IL 60020                         ROSEVILLE, IL 61473
HALFMAN, RUBY            Case 20-10766-BLS
                                       HALFTIMEDoc   6 LLC
                                                 SPORTS  Filed 04/07/20       Page HALI
                                                                                   730YOUNG
                                                                                        of 1969
207 LARGENT AVE                        3816 BUFFALO GAP RD                         ADDRESS ON FILE
BALLINGER, TX 76821-4121               ABILENE, TX 79605




HALIK HEALTHCARE PRODUCTS, INC         HALIM, SANAH                                HALL ,GEORGE H.
2502 PEBBLE BEACH DRIVE                12660 WILDWOOD DRV                          1870 CHATSWORTH HWY
VALPARAISO, IN 46383                   PALOS PARK, IL 60464                        ELLIJAY, GA 30540




HALL BOOTH SMITH PC                    HALL JONATHAN DEWAYNE                       HALL KATRINA DARLENE
191 PEACHTREE ST NE                    1901 SPRING DR NW                           311 HOPE DRIVE NW
STE 2900                               FORT PAYNE, AL 35967                        FORT PAYNE, AL 35967
ATLANTA, GA 30303-1775




HALL LINDA                             HALL MARK                                   HALL MARY
ADDRESS ON FILE                        ADDRESS ON FILE                             ADDRESS ON FILE




HALL PRANGLE & SCHOONVELD LLC          HALL RENDER KILLIAN HEATH & LYMAN PC        HALL, JOSEPH K.
200 SOUTH WACKER DR                    NOVA COMPLIANCE GROUP LLC                   783 COUNTY RD 825
STE 3300                               P.O. BOX 71393                              CROSSVILLE, AL 35962
CHICAGO, IL 60606                      CHICAGO, IL 60694-1393




HALL, AMANDA                           HALL, ANN                                   HALL, ANNE
ADDRESS ON FILE                        2174 BROADNAX MILL ROAD                     405 W PENN ST
                                       LOGANVILLE, GA 30052                        ROSEVILLE, IL 61473




HALL, ASHLEY D.                        HALL, BECKY                                 HALL, BRIANA L.
ADDRESS ON FILE                        115 LEIGH CIRCLE                            ADDRESS ON FILE
                                       HOT SPRINGS, AR 71901




HALL, BRITTNEY Z.                      HALL, CAROLYN J.                            HALL, CARRIE D.
ADDRESS ON FILE                        ADDRESS ON FILE                             214 WOODLAND ESTATES
                                                                                   PAINTSVILLE, KY 41240




HALL, CARRIE                           HALL, CHERYL L.                             HALL, COLBY S.
ADDRESS ON FILE                        ADDRESS ON FILE                             ADDRESS ON FILE




HALL, DENVER                           HALL, DOUGLAS                               HALL, ELLEN A.
716 W FIKE AVE                         ADDRESS ON FILE                             3108 VICKIE LN
ORRVILLE, OH 44667-2139                                                            NORTH CHICAGO, IL 60064
HALL, FLORENCE N.         Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                        HALL, GENEVIEVE                Page HALL,
                                                                            731 GINGER
                                                                                  of 1969
35 N SHORT ST                           6529 E NATURES TRL                  ADDRESS ON FILE
ELKHORN CITY, KY 41522                  TRAVERSE CITY, MI 49684




HALL, GREG                              HALL, GRETCHEN R.                   HALL, JOHN D.
8210 HWY 22 SOUTH                       ADDRESS ON FILE                     ADDRESS ON FILE
LEXINGTON, TN 38351




HALL, KATHERINE M.                      HALL, KATHY L.                      HALL, KELLIE J.
ADDRESS ON FILE                         ADDRESS ON FILE                     159 LAKE POINTE DR
                                                                            JACKSON, KY 41339




HALL, KIMBERLY                          HALL, LAUREN                        HALL, LINDA L.
60 WKTA LANE                            516 PIKE LN                         ADDRESS ON FILE
MCKENZIE, TN 38201                      TROY, IL 62294




HALL, LISA M.                           HALL, LORI V.                       HALL, LORI V.
3820 COOL SPRINGS POINT                 P. O. BOX 1183                      ADDRESS ON FILE
LOGANVILLE, GA 30052                    LEXINGTON, TN 38351




HALL, MARCI                             HALL, MARK W.                       HALL, MARY JANE
556 NO. 640 W.                          ADDRESS ON FILE                     ADDRESS ON FILE
TOOELE, UT 84074




HALL, MARY                              HALL, MELISSA                       HALL, MOLLY K.
ADDRESS ON FILE                         ADDRESS ON FILE                     318 E BROADWAY
                                                                            TOOELE, UT 84074




HALL, O B.                              HALL, PETER J.                      HALL, PRESTON
109 CHRISTY LANE                        ADDRESS ON FILE                     605 BUFFALO GAP RD
FORT PAYNE, AL 35968-6109                                                   COBDEN, IL 62920




HALL, RHONDA                            HALL, RINA                          HALL, RITA
143 MEADOWBROOK CIR                     3932 W 83RD PL                      3680 COLD WATER ROAD
MARION, AR 72364                        CHICAGO, IL 60652                   INEZ, KY 41224




HALL, SANDRA D.                         HALL, SANDRA D.                     HALL, SANDRA
2506 LOGAN STREET                       ADDRESS ON FILE                     ADDRESS ON FILE
MT. VERNON, IL 62864
HALL, SHAYNA              Case 20-10766-BLS     Doc 6
                                        HALL, SHERRY        Filed 04/07/20   Page HALL,
                                                                                  732 STEPHANIE
                                                                                        of 1969 M.
325 W PORTER STREET                      98 EAVES BRANCH RD                       567 FM-57
SALEM, IL 62881                          PRICHARD, WV 25555                       ROBY, TX 79543




HALL, STEPHANIE M.                       HALL, TANYA C.                           HALL, TENYA
ADDRESS ON FILE                          709 MARGARET THACKER LN SW               1711 STEEPLE AVE
                                         FORT PAYNE, AL 35968                     LYMAN, WY 82937-9057




HALL, TERRY                              HALL, TREISHA                            HALL, TWYLA
3015 WARREN AVE                          2174 BLUEBERRY LANE                      P O BOX 3598
GRANITE CITY, IL 62040                   CONYERS, GA 30013                        HELENDALE, CA 92342




HALL, VERNA                              HALL, WILBURN H.                         HALL, WILBURN
332 KELKIM ST                            ADDRESS ON FILE                          ADDRESS ON FILE
MESQUITE, NV 89027-5805




HALLAHAN, CATHY                          HALLAHAN, ROBERT J.                      HALLAS, LINDA
15939 BLACKWATER CT.                     14800 KILPATRICK AVE                     ADDRESS ON FILE
TINLEY PARK, IL 60477                    APT 6E
                                         MIDLOTHIAN, IL 60445-3133




HALLATT, CLAIRE                          HALLBERG, ALAN                           HALLER TINA M
4049 SUTHERLAND DR                       1165 PARKVIEW RD                         4011 MELROSE AVE
PALO ALTO, CA 94303                      GALESBURG, IL 61401                      GRANITE CITY, IL 62040




HALLER, JENNIFER                         HALLERT, BENJAMIN                        HALLFORD, KRISTAN
4300 W. 111TH ST.                        983 KINTZLEY AVE                         13 KENLEY LANE
OAK LAWN, IL 60453                       SPRINGFIELD, OR 97478                    BIG SPRING, TX 79720




HALLGREN COMPANY, THE                    HALL-GROSS, JOLENE                       HALLIBURTON, KELSEY
5909 63RD ST                             ADDRESS ON FILE                          408 W PALM ST
LUBBOCK, TX 79424                                                                 BRINKLEY, AR 72021




HALLIDAY, LINDA                          HALLINGQUEST, KELA S.                    HALL-JACKSON, ARENETTA E.
3320 PARK HILLS DR                       216 BOXELDER DR                          145 WILDHORSE WAY
EUGENE, OR 97405-5515                    AIKEN, SC 29803-7861                     FAYETTEVILLE, GA 30215-4661




HALLMAN, BONNIE                          HALLMAN, GABRIELLE A.                    HALLMAN, MARK A.
407 PHILLIPS ST                          ADDRESS ON FILE                          9591 COVINGTON AVENUE
RED BUD, IL 62278-1045                                                            CLEVELAND, OH 44105
HALLMARK APARTMENTS       Case 20-10766-BLS    Doc
                                        HALLMARK    6 Filed 04/07/20
                                                 FINANCIAL                    Page HALL-PITTMAN,
                                                                                   733 of 1969TINA M.
2001 FORT DAVIS HWY                     TWO LINCOLN CENTRE                         ADDRESS ON FILE
APARTMENT 1                             5420 LYNDON B. JOHNSON FREEWAY,
ALPINE, TX 79830                        SUITE 1100
                                        DALLAS, TX 75240-2345



HALL-PITTMAN, TINA                      HALLS SERVICE COMPANY                      HALLS STEAM CLEANING
ADDRESS ON FILE                         20 UNITED MISSIONARY LANE                  P.O. BOX 12064
                                        BUNCOMBE, IL 62912-3138                    JACKSON, TN 38308




HALM, DALTON                            HALO BRANDED SOLUTIONS INC                 HALO INNOVATIONS INC
ADDRESS ON FILE                         3182 MOMENTUM PLACE                        111 CHESHIRE LANE, SUITE 100
                                        CHICAGO, IL 60689-5331                     MINNETONKA, MN 55305




HALO INNOVATIONS INC                    HALO UNLIMITED                             HALPERT, SCOTT MD
ATTN: ACCTS PAYABLE                     P.O. BOX 77010                             ADDRESS ON FILE
134 N 4TH ST                            CORONA, CA 92877
BROOKLYN, NY 11249-0000




HALPIN, DONALD                          HALPRIN, DAVID                             HALSEY, ELAINE M.
120 WINDOVER POINT                      179 TOWLER SHOALS DR                       258 HALSEY LANE 258 HALSEY LANE
GLEN CARBON, IL 62034                   LOGANVILLE, GA 30052                       PINE RIDGE, KY 41360




HALSEY, STACY J.                        HALSTEAD BRIANNA                           HALSTEAD, COLIN J.
250 US HIGHWAY 58                       9487 NOBLE LN                              1558 BOGART LANE
BARSTOW, CA 92311                       APT 21                                     EUGENE, OR 97401
                                        MARION, IL 62959




HALSTEAD, DAVID                         HALSTEAD, MICHAEL                          HALTER, PATRICIA
ADDRESS ON FILE                         ADDRESS ON FILE                            13780 BARRS RD SW
                                                                                   MASSILLON, OH 44647




HALTERMAN, HOLLY                        HALUSAN, JENNIFER                          HALVACHS & ABERNATHY, LLC
2856 VINTAGE AVE NW                     8411 PRAIRIETOWN DR                        5111 WEST MAIN ST
MASSILLON, OH 44646                     WORDEN, IL 62097-0000                      BELLEVILLE, IL 62226




HALVERSON, CINDY J.                     HALVORSON, ROBERT E.                       HALWACHS, KATHLEEN
ADDRESS ON FILE                         7414 CHEVY CHASE CT                        1401 RANDLE ST
                                        FOX LAKE, IL 60020                         EDWARDSVILLE, IL 62025




HALYARD HEALTH INC                      HALYARD HEALTH, INC                        HALYARD HEALTH, INC
PO BOX 732583                           5405 WINDWARD PKWY, SUITE 100 SOUTH        P.O. BOX 732583
DALLAS, TX 75373                        ALPHARETTA, GA 30004                       DALLAS, TX 75373
HALYARD HEALTH, INC         Case 20-10766-BLS
                                          HALYARDDoc  6 LLCFiled 04/07/20
                                                  SALES,                    Page HAM,
                                                                                 734DEBORAH
                                                                                      of 1969E.
P.O. BOX 732583                             P.O. BOX 732583                      ADDRESS ON FILE
DALLAS, TX 75373-2583                       DALLAS, TX 75373-2583




HAM, JASON A.                               HAM, JON R.                          HAM, KASIE
ADDRESS ON FILE                             4426 MARTIN AVE N                    ADDRESS ON FILE
                                            FORT PAYNE, AL 35967-3948




HAMAKER, HARLAN                             HAMANN, MARY                         HAMBACK, RUTH
3700 BABCOCK LN 5                           508 N 3RD STREET                     310 NOBLE PL NW
EUGENE, OR 97401-7016                       DUPO, IL 62239                       MASSILLON, OH 44647




HAMBERGER, CHRISTOPHER                      HAMBLETON, ERIN                      HAMBLIN, BRYAN
1050 PINE MOUNTAIN RD                       ADDRESS ON FILE                      13 COUNTY ROAD 217
LICK HAVEN, PA 17745                                                             FORT BRIDGER, WY 82933




HAMBLIN, CALVIN                             HAMBLIN, CHARLOTTE A.                HAMBLIN, GARTH M.
7876 TAHITI ST NW                           7876 TAHITI ST NW                    ADDRESS ON FILE
MASSILLON, OH 44646-2354                    MASSILLON, OH 44646




HAMBLIN, JODI                               HAMBLIN, MARY                        HAMBLIN, SANDRA
825 LAKE AVE NE                             13 COUNTY ROAD 217                   ADDRESS ON FILE
MASSILLON, OH 44646                         FORT BRIDGER, WY 82933




HAMBRICK, KRISTI                            HAMBY KRISTA N                       HAMBY, JANELL
857 BURNHAM DR APT F                        345 E 740 N                          1051 SFC 130
UNIVERSITY PARK, IL 60484                   TOOELE, UT 84074                     PALESTINE, AR 72372




HAMBY, KATELYN                              HAMBY, LAURA                         HAMBY, VALERIE L.
311 DAVENPORT DR                            247 MT VERNON RD                     ADDRESS ON FILE
GRANTSVILLE, UT 84029-9015                  MONROE, GA 30655




HAMED, ANITA                                HAMEL, CINDY                         HAMER, VICKI
420 RIPLEY AVENUE                           335 S. EAST 300 AVE                  ADDRESS ON FILE
AKRON, OH 44312                             CARROLLTON, IL 62016-0000




HAMIDREZA DOROODCHI, MD                     HAMIL, JAMES D.                      HAMILL, KATHLEEN A.
ADDRESS ON FILE                             3075 BERRY RD                        629 211TH PLACE
                                            LOGANVILLE, GA 30052-2184            DYER, IN 46311
                       Case 20-10766-BLS
HAMILTON APPLIANCE REPAIR            HAMILTONDoc  6 Filed
                                               CHARLES R  04/07/20   Page HAMILTON
                                                                          735 of 1969
                                                                                   COMPANY
1298 BETHEL DR                       P O BOX 1057                         ACCOUNTS RECEIVABLE
EUGENE, OR 97402                     MURPHY, NC 28906                     P.O. BOX 10030
                                                                          RENO, NV 89520




HAMILTON COUNTY BOYS BASKETBALL     HAMILTON EMILY                        HAMILTON HAILEIGH
DOUG MILLER                         322 W 440 S                           61 TOM HENSON ROAD
706 EAST BRIARWOOD                  TOOELE, UT 84074                      CAMPTON, KY 41301
MCLEANSBORO, IL 62859




HAMILTON MEDICAL INC                HAMILTON ODESSA                       HAMILTON, AMY
P.O. BOX 30008                      2041 HERVEY                           ADDRESS ON FILE
RENO, NV 89520-3008                 NORTH CHICAGO, IL 60064




HAMILTON, BRITTANY                  HAMILTON, DANELLE                     HAMILTON, DEBRA A.
115 MOUNTAIN VIEW                   201 RD 907                            ADDRESS ON FILE
INEZ, KY 41224                      GROVE OAK, AL 35975




HAMILTON, DERRICK, D.O.             HAMILTON, EUGENIA                     HAMILTON, FELIX A.
10 CHESTNUT DRIVE                   6194 ISLAND DR NW                     ADDRESS ON FILE
JACKSON, KY 41339                   CANTON, OH 44718




HAMILTON, GREGORY                   HAMILTON, GREGORY                     HAMILTON, HEIDI S.
141 16TH STREET, APT 5              962 CHICKADEE CT NE                   29380 MEADOWVIEW RD
SPRINGFIELD, OR 97477               SALEM, OR 97301                       JUNCTION CITY, OR 97448




HAMILTON, IRMA                      HAMILTON, JAMALL C.                   HAMILTON, JERRY W.
118 E 119TH ST                      1874 S MT ZION RD                     306 16TH STREET NW
CHICAGO, IL 60628                   GREENVILLE, AL 36037                  FORT PAYNE, AL 35967




HAMILTON, KAREN                     HAMILTON, KELLI                       HAMILTON, LARRY
ADDRESS ON FILE                     226 SOUTH 1200 WEST                   715 27TH PLACE
                                    TOOELE, UT 84074                      GRANITE CITY, IL 62040




HAMILTON, MARGARET                  HAMILTON, MARGIE F.                   HAMILTON, MARY F.
637 LACY BRANCH RD                  412 LEBANON RD SW                     13445 S KARLOV
SCOTTS HILL, TN 38374               FORT PAYNE, AL 35967-8429             ROBBINS, IL 60472




HAMILTON, MICHELLE V.               HAMILTON, ROSARIO                     HAMILTON, SAMUEL P.
ADDRESS ON FILE                     705 205TH PL                          ADDRESS ON FILE
                                    DYER, IN 46311
HAMILTON, TYLER B.      Case 20-10766-BLS    Doc 6 SANDRA
                                      HAMILTON-CLARK, Filed 04/07/20   Page HAMILTON-ROSS,
                                                                            736 of 1969 KIMBERLEY C.
ADDRESS ON FILE                        515 SUMMIT ROAD                      16048 DOBSON AVENUE
                                       WATSONVILLE, CA 95076                SOUTH HOLLAND, IL 60473




HAMLER, PAMELA                         HAMLET H.M.A., LLC                   HAMLET HMA PHYSICIAN MANAGEMENT, LLC
175 LOBLOLLY LANE                      160 MINE LAKE CT                     160 MINE LAKE CT
BLAIRSVILLE, GA 30512                  SUITE 200                            SUITE 200
                                       RALEIGH, NC 27615                    RALEIGH, NC 27615




HAMLET HMA PPM, LLC                    HAMLIN, XAVIER R.                    HAMM, GRACE M.
160 MINE LAKE CT                       ADDRESS ON FILE                      ADDRESS ON FILE
SUITE 200
RALEIGH, NC 27615




HAMM, JOEY                             HAMM, KIMBERLY A.                    HAMMAN, DAN M.
3349 MCCALL RD                         101 WEST SOUTH STREET APT 3          ADDRESS ON FILE
LEXINGTON, TN 38351                    STEELEVILLE, IL 62288




HAMMAN, GREGORY J.                     HAMMEL, JOAN                         HAMMEL, SELENA
2137 42ND ST                           18837 WEST DEERPATH ROAD             8641 S ESSEX AVE
FLORENCE, OR 97439                     GRAYSLAKE, IL 60030                  CHICAGO, IL 60617




HAMMER, GARY                           HAMMER, MARK                         HAMMER, NANCY
ADDRESS ON FILE                        10875 GLADDIS ST SW                  916 HEMLOCK ST NW
                                       MASSILLON, OH 44647                  MASSILLON, OH 44647




HAMMER, TOMMY                          HAMMERS, SHARON                      HAMMERSCHMIDT, WAYNE
218 PINNACLE CT                        6507 SIMPSON STREET                  1086 WOODBINE CIRCLE E
MESQUITE, NV 89027                     MODOC, IL 62261                      GALESBURG, IL 61401




HAMMETT, STEPHEN                       HAMMING, DAVID MD                    HAMMOC, AMOUR
4244 GRANNY LANE                       966 MAPLEWOOD RD                     1303 E 168TH ST
COLUMBIA, IL 62236                     LAKE FOREST, IL 60045-0000           SO.HOLLAND, IL 60473




HAMMOCK, TERRY                         HAMMON, CHARLOTTE L.                 HAMMON, GEORGIA C.
207 CR 700 N                           ADDRESS ON FILE                      ADDRESS ON FILE
BLUFORD, IL 62814




HAMMOND DAVID M                        HAMMOND DENETTE                      HAMMOND, AMY
421 N 50 W                             82155 BUTTE RD                       900 PEINE RD
TOOELE, UT 84074                       CRESWELL, OR 97426-0000              WENTZVILLE, MO 63385
HAMMOND, BOBBY G.       Case 20-10766-BLS   Doc
                                      HAMMOND,   6 Filed 04/07/20
                                               CHANDA               Page HAMMOND,
                                                                         737 of 1969
                                                                                  EVELYN A.
230 BUCKHORN DR                       509 KING ST                        ADDRESS ON FILE
WINDER, GA 30680                      MONROE, GA 30655-1868




HAMMOND, EVELYN                       HAMMOND, FALLEN                    HAMMOND, JANET C.
ADDRESS ON FILE                       ADDRESS ON FILE                    11454 3RD AVENUE
                                                                         PLEASANT PRAIRIE, WI 53158




HAMMOND, MISTY D.                     HAMMOND, MISTY                     HAMMOND, PRESTON T.
710 E ARCH ST                         395 PARK LN.                       4948 HIGHWAY 104 N
JERSEYVILLE, IL 62052                 HERRIN, IL 62948                   CEDAR GROVE, TN 38321




HAMMOND, STUART                       HAMMONDS HEATHER                   HAMMONDS, MYLES
1348 EDGEWOOD LN                      1501 ALABAMA AVE NW                701 COLLEGE RD
WINNETKA, IL 60093                    FORT PAYNE, AL 35967-9802          LEBANON, IL 62254




HAMNER, CARLA J.                      HAMPE, MATTHEW J.                  HAMPSHIRE TAYLOR S
311 W CHURCH ST                       ADDRESS ON FILE                    57 LAKEVIEW DRIVE
WILLIAMSTON, NC 27892                                                    STANSBURY PARK, UT 84074




HAMPSHIRE, JUSTIN                     HAMPSON JOYCE E                    HAMPSTEN, MICHELLE
ADDRESS ON FILE                       2811 BAILEY LANE APT 24            601 E OLD MILL RD
                                      EUGENE, OR 97401                   MESQUITE, NV 89027




HAMPTON INN & SUITES                  HAMPTON INN (W)                    HAMPTON INN
2710 LENWOOD ROAD                     1099 HAMPTON COURT                 5575 SKYHAWK PARKWAY
BARSTOW, CA 92311                     WILLIAMSTON, NC 27892              MARTIN, TN 38237




HAMPTON, ANN                          HAMPTON, BERNICE                   HAMPTON, BROOKLYN S.
ADDRESS ON FILE                       12323 S YALE                       ADDRESS ON FILE
                                      CHICAGO, IL 60628




HAMPTON, CONNIE                       HAMPTON, DANA                      HAMPTON, EMANUEL
223 22ND ST SE                        194 1ST AVENUE                     1319 HWY 203
MASSILLON, OH 44646                   RAINSVILLE, AL 35986               HAZEL GREEN, KY 41332




HAMPTON, LINDA S.                     HAMPTON, STANLEY                   HAMPTON, TIFFNEY A.
862 AL HIGHWAY 35                     223 22ND ST SE                     333 MYRTLE DRIVE
FORT PAYNE, AL 35967-7142             MASSILLON, OH 44646-7003           HUNTINGDON, TN 38344
                      Case 20-10766-BLS
HAMS FORK CONTRUCTION LLC                  Doc 6SARAH
                                    HANABARGER,      Filed 04/07/20   Page HANAFIN,
                                                                           738 of 1969
                                                                                    JOHN
502 MOOSE STREET                    3 ENGLEWOOD DR                         5047 SHAW RD
KEMMERER, WY 83101                  GLEN CARBON, IL 62034                  BUNKER HILL, IL 62014




HANALEI, THERESA                     HANBY, DOUG                           HANCHETT, ANN
527 TAAKE                            26539 HALL RD                         40287 TONGA LANE
TROY, IL 62294                       JUNCTION CITY, OR 97448-9562          SPRINGFIELD, OR 97478




HANCOCK, DACIA L.                    HANCOCK, ELIZABETH R.                 HANCOCK, HELEN C.
ADDRESS ON FILE                      1202 BEVA BECK DRIVE                  1204 PONDEROSA P.O. BOX 253
                                     MARION, IL 62959                      GOREVILLE, IL 62939




HANCOCK, LAUREN J.                   HANCOCK, LUCINDA R.                   HANCOCK, MARLA
ADDRESS ON FILE                      ADDRESS ON FILE                       603 WEST 18TH ST
                                                                           JOHNSTON CITY, IL 62951




HANCOCK, ROBBIE D.                   HANCOCK, SYDNEY R.                    HANCOCKROGEL, CHLOE
12155 ST RTE 37 NORTH                400 PIT 12 RD                         1221 FRACTION BOTTOMS RD
GOREVILLE, IL 62939                  STONEFORT, IL 62987                   BUCKHEAD, GA 30625-2020




HAND BIOMECHANICS LAB, INC.          HAND BIOMETRICS LAB, INC              HAND, CHRISTINA A.
77 SCRIPPS DRIVE                     77 SCRIPPS DRIVE SUITE104             25 PEARCE ST
SUITE 104                            SACRAMENTO, CA 95825                  BUNCOMBE, IL 62912
SACRAMENTO, CA 95825




HAND, HALEY R.                       HAND, JENNIFER N.                     HAND, KAYLA C.
25 PEARCE STREET                     308 S. 11TH STREET                    ADDRESS ON FILE
BUNCOMBE, IL 62912                   OQUAWKA, IL 61469




HAND, TAMARA M.                      HANDI-CLEAN PRODUCTS                  HANDLE WITH CARE BEHAVIOR
ADDRESS ON FILE                      301 SOUTH SWING ROAD                  MANAGEMENT SYSTEM INC.
                                     GREENSBORO, NC 27402-0988             184 MCKINSTRY RD
                                                                           GARDINER, NY 12525




HANDLER, JENNIFER                    HANDLEY, MONTE W.                     HANDLEY, SARA D.
ADDRESS ON FILE                      1026 PACIFIC GROVE LN APT 7           640 PLAZA TRACE
                                     PACIFIC GROVE, CA 93950               MONROE, GA 30655-1784




HANDY, MARCINE                       HANDY, PATRICK M.                     HANDY, PATRICK
575 N. CARTWRIGHT APT 2              ADDRESS ON FILE                       ADDRESS ON FILE
PLEASANT PLAINS, IL 62677
HANEBUTT, NOLA         Case 20-10766-BLS   Doc
                                     HANEGHAN,   6 A. Filed 04/07/20
                                               KARI                     Page HANEVOLD,
                                                                             739 of 1969
                                                                                       GRANT
8954 S PRAIRIE RD                      ADDRESS ON FILE                       P.O. BOX 1027
EVANSVILLE, IL 62242                                                         LOGANDALE, NV 89021-1027




HANEY, CHRISTIAN E.                    HANEY, SONDRA A.                      HANEY, SUMMER M.
1490 LINGLE CREEK RD                   1601 13TH ST                          ADDRESS ON FILE
JONESBORO, IL 62952                    WAUKEGAN, IL 60085




HANGAR 25 AIR MUSEUM                   HANGER CLINIC                         HANGER PROSTHETICS & ORTH
P.O. BOX 2925                          P.O. BOX 650846                       2118 VADALABENE DR
BIG SPRING, TX 79721                   DALLAS, TX 75265-0846                 MARYVILLE, IL 62062-5632




HANGER PROSTHETICS & ORTHOTICS         HANGER PROSTHETICS & ORTHOTICS        HANGER PROSTHETICS&ORTHOTIC WE
17530 SOUTH KEDZIE AVENUE              301 MAIN STREET                       445 HARLOW ROAD SUITE 110
HAZEL CREST, IL 60429                  MT. VERNON, IL 62864-3647             SPRINGFIELD, OR 97477-1346




HANGER SHAE N                          HANGER, DEAN                          HANH NGUYEN
626 SCHEVE COURT                       626 SCHEVE CT                         875 CO ROAD 2095 E
WATERLOO, IL 62298                     RED BUD, IL 62278                     FAIRFIELD, IL 62837-2816




HANI, CHAABO MD                        HANICITS, MARK                        HANIF JAMEEL O
2800 HART ST APT 2                     4715 STONEWALL AVENUE                 13955 LEONARD DRIVE
CHARLESTON, WV 25304                   DOWNERS GROVE, IL 60515               CRESTWOOD, IL 60445




HANIFIN, YVONNE M.                     HANKAMER, VIRGINIA L.                 HANKES, JAMES
146 NE BRYANT ST                       215 ARAPAHO WALK                      2675 W MAIN ST
PORTLAND, OR 97211                     MINERAL BLUFF, GA 30559               GALESBURG, IL 61401




HANKIN, HEATHER                        HANKINS, AMBER N.                     HANKLEY, GABRIELLE J.
224 CHEYENNE DRIVE                     ADDRESS ON FILE                       7335 TRIPLE LAKES RD
EVANSTON, WY 82930                                                           EAST CARONDELET, IL 62240




HANKS NICOLE                           HANKS, CYNTHIA                        HANKS, KURTIS L.
ADDRESS ON FILE                        ADDRESS ON FILE                       2153 DELMAR AVE
                                                                             GRANITE CITY, IL 62040




HANKS, MICHAEL                         HANLEY, DANIEL C.                     HANLEY, JUDITH
ADDRESS ON FILE                        10009 NW CIRCLE DR                    129 PARK ST NW
                                       RICHMOND, IL 60071                    NAVARRE, OH 44662
HANLEY, TRISTIN          Case 20-10766-BLS     Doc 6 E. Filed 04/07/20
                                       HANLIN, CYNTHIA                   Page HANNA
                                                                              740 ofCAMPBELL
                                                                                      1969 & POWELL LLP
1460 BEECHER AVE                         8140 ANN ST SW                       3737 EMBASSY PKWY
GALESBURG, IL 61401                      NAVARRE, OH 44662                    STE 100
                                                                              AKRON, OH 44333




HANNA DANIELS                            HANNA WILLIAM R                      HANNA, JANA B.
ADDRESS ON FILE                          500 COUNTY ROAD 234                  165 BRITTNEY LN
                                         LYMAN, WY 82937-9058                 LEXINGTON, TN 38351




HANNA, KIM                               HANNA, MELANIE                       HANNA, MINDY L.
P.O. BOX 340                             8303 SHILOH STREET                   309 NORTH MARKET
OVERTON, NV 89040-0000                   FORT IRWIN, CA 92310                 WATERLOO, IL 62298




HANNA, MINDY L.                          HANNA, SIDNEY M.                     HANNAH BAGWELL
ADDRESS ON FILE                          119 CRYSTAL LAKE DR                  300 N CHESTNUT
                                         NORTH AUGUSTA, SC 29841              DESOTO, IL 62924




HANNAH BRASHER                           HANNAH GRACE                         HANNAH JACKSON
615 BRASHER RD                           ADDRESS ON FILE                      410 MOCKINGBIRD VALLEY RD
REAGAN, TN 38368                                                              APT 24
                                                                              LOUISVILLE, KY 40204




HANNAH LANE                              HANNAH SIMPKINS                      HANNAH YUNG
1156 MAIN ST, SPT. A                     3821 HWY 581                         ADDRESS ON FILE
MCKENZIE, TN 38201                       ULYSSES, KY 41264




HANNAH, CHRISTOPHER D.                   HANNAH, VALERIE L.                   HANNE, ADAM MATTHEW
ADDRESS ON FILE                          4037 MIDDLEFORK RD.                  719 HILDA ST
                                         HAGERHILL, KY 41222                  EDWARDSVILLE, IL 62025




HANNEMAN, JOY                            HANNER TONI                          HANNEY, LINDA
ADDRESS ON FILE                          814 JACKIES LN                       ADDRESS ON FILE
                                         EUGENE, OR 97404-0000




HANNO, ELIZABETH                         HANNUM, DEBRA K.                     HANOLT, CATHERINE
2500 W 110TH PL                          1819 GREENDALE AVE                   3490 CROWN POINT ST NW
CHICAGO, IL 60655                        MASSILLON, OH 44647                  MASSILLON, OH 44646




HANOVER INSURANCE WC                     HANS DRIESSNACK                      HANSARD, CYNTHIA
P.O. BOX 15144                           1509 CHART HILLS DRIVE               311 WATERS EDGE LN
WORCESTER, MA 01615-0149                 MARION, IL 62959                     MADISON, AL 35758
HANSBROUGH, LATASHA     Case 20-10766-BLS     DocANDREW
                                      HANSELMAN,   6 Filed 04/07/20   Page HANSEN
                                                                           741 ofKAREN
                                                                                  1969A
60 E 163RD ST                         144 ROSIN ST                        12786 W NEMESIS AVE
SOUTH HOLLAND, IL 60473               GLEN CARBON, IL 62034               WAUKEGAN, IL 60087




HANSEN LYNN D                        HANSEN MARIA J                       HANSEN, ALEXANDREA
620 E VINE ST                        14370 W JODY LN                      946 N FOX RUN DR.
TOOELE, UT 84074                     WADSWORTH, IL 60083                  TOOELE, UT 84074




HANSEN, ARTHUR                       HANSEN, AUDREY L.                    HANSEN, CATHY
5208 W 122 ST, APT 2C                22368 LOON DR                        P.O. BOX 663
ALSIP, IL 60803                      ANTIOCH, IL 60002                    EVANSTON, WY 82930




HANSEN, DEREK K.                     HANSEN, ELSE                         HANSEN, ERIC C. MD
34434 SEAVEY LOOP RD                 4932 ZION HILL RD                    ADDRESS ON FILE
EUGENE, OR 97405                     ELLIJAY, GA 30540




HANSEN, ERIC C.                      HANSEN, JAMES H.                     HANSEN, JAN M.
ADDRESS ON FILE                      825 BRONTE AVE                       2297 185TH PLACE
                                     WATSONVILLE, CA 95076                LANSING, IL 60438




HANSEN, JENNIFER A.                  HANSEN, LONE                         HANSEN, MARLA J.
ADDRESS ON FILE                      133 DALLAS LN                        34380 SEAVEY LOOP RD
                                     BLUE RIDGE, GA 30513-5296            EUGENE, OR 97405




HANSEN, MARLA                        HANSEN, MARY D.                      HANSEN, MARY
ADDRESS ON FILE                      14947 MILLARD                        140 S RANCH ROAD
                                     MIDLOTHIAN, IL 60445                 GRANTSVILLE, UT 84029




HANSEN, MAUREEN A.                   HANSEN, NENA                         HANSEN, REINA
5013 ELM CIRCLE DRIVE                2614 CR 279                          58 GALLEY LANE
OAK LAWN, IL 60453                   P.O. BOX 37                          STANSBURY PARK, UT 84074
                                     ROBERTSON, WY 82944-0037




HANSEN, STEPHANIE A.                 HANSEY, WELLS E.                     HANSFORD, TRACY L.
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




HANSHAW, PAMELA                      HANSMANN, LAURA J.                   HANSON ANDREA
103 N BOONE STREET                   3848 KIRKWOOD RUN                    2308 LOCH DR
LOUISA, KY 41230                     KENNESAW, GA 30144                   SPRINGFIELD, OR 97477-0000
HANSON P.T., MIKE        Case 20-10766-BLS
                                       HANSON Doc   6 D Filed 04/07/20
                                               RODNEY                    Page HANSON,
                                                                              742 of CHERYL
                                                                                      1969 J.
14602 N. OLD CENTRALIA RD              1382 N CEDAR ST                        ADDRESS ON FILE
MT. VERNON, IL 62864                   GALESBURG, IL 61401




HANSON, CYNTHIA L.                     HANSON, DIANE H.                       HANSON, DUSTIN J.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




HANSON, JODE G.                        HANSON, KACEY                          HANSON, LINDA A.
111 WILLIAMSTOWN RD                    P.O. BOX 773                           201 AZTEC ST
MINERAL BLUFF, GA 30559                995 SPRINGFIELD HILL RD                BIG SPRING, TX 79720
                                       JONESBORO, IL 62952




HANSON, PRESTINA                       HANSON, RODNEY D.                      HANSON, TAKEYEIA
ADDRESS ON FILE                        1382 N CEDAR ST                        P.O.BOX 542
                                       GALESBURG, IL 61401                    HAMILTON, NC 27840




HANSON, TAMMY M.                       HAPNER, CHARLES W.                     HAPPEL, AMBER L.
2141 CLARKE ST                         4896 W AMAZON DR                       ADDRESS ON FILE
MURPHYSBORO, IL 62966                  EUGENE, OR 97405




HAPPY THE GLASS MAN INC                HARAD, ALAN                            HARAGA, DEBORAH A.
P.O. BOX 55086                         ADDRESS ON FILE                        184A SCHOOL WAY
LEXINGTON, KY 40555                                                           WATSONVILLE, CA 95076




HARALSON, JANICE E.                    HARALSON, ROBERT                       HARBAUGH, BRENDA
1708 FRUIT FARM ROAD                   105 BLANCETT LAKE ROAD                 9598 HARBAUGH LANE
FORT PAYNE, AL 35967                   HARDINSBURG, KY 40143                  SPARTA, IL 62286




HARBAUGH, CORIE L.                     HARBAUGH, EDWARD P.                    HARBERS, BETH A.
1609 MALONE ST                         708 LOCUST ST S                        ADDRESS ON FILE
LOUISVILLE, OH 44641                   CANAL FULTON, OH 44614-1179




HARBERT FUND MANAGER                   HARBIN, DIANNA M.                      HARBIN, JAMES D.
HARBERT STONEVIEW MASTER FUND, LTD.    1482 EAST VALLEY ROAD 608              1141 CEDAR HILL DR
                                       SANTA BARBARA, CA 93108                WILLIAMSTON, NC 27892




HARBISON, ALYSSA A.                    HARBISON, ALYSSA A.                    HARBISON, JANELLA
2477 SMYRNA RD                         ADDRESS ON FILE                        207 LEIFER
DERIDDER, LA 70634                                                            WEST HELENA, AR 72390
HARBISON, RUSSELL         Case 20-10766-BLS
                                        HARBOR Doc  6 Filed 04/07/20
                                               FREIGHT                   Page HARBOR,
                                                                              743 of JOHN
                                                                                      1969M.
6643 BRAND LAKE DR                      1131 N CARBON ST                      ADDRESS ON FILE
WATERLOO, IL 62298                      MARION, IL 62959




HARBOR, MIKE                            HARCROW, DOYS A.                      HARCROW, KRISTON
ADDRESS ON FILE                         ADDRESS ON FILE                       10568 COUNTY ROAD 52
                                                                              DAWSON, AL 35963




HARDAWAY, EMMA                          HARDEN STEVEN D                       HARDEN, ASHLEY K.
915 S COWAN ST                          1734 INDIANA DR                       ADDRESS ON FILE
HUGHES, AR 72348                        GALESBURG, IL 61401




HARDEN, HANNAH D.                       HARDENBERGH INTERIM STAFFING GROUP    HARDESTY, HEATHER
2021 STRINGTOWN RD                      38777 SIX MILE ROAD, SUITE 200        19 PARKS LANE
HELENA, AR 72342                        LIVONIA, MI 48152                     HOLLY GROVE, AR 72069




HARDESTY, HEATHER                       HARDESTY, MARY A.                     HARDESTY, PATTY
HRMC                                    2535 VICEROY DR SW                    475 W SHIRLEY LN
72342                                   MASSILLON, OH 44647                   RICHVIEW, IL 62877




HARDESTY, PATTY                         HARDESTY, PATTY                       HARDESTY, TAMERA
ADDRESS ON FILE                         ADDRESS ON FILE                       P.O. BOX 153
                                                                              ELAINE, AR 72333




HARDGE, SADIE L.                        HARDIN JR, CHARLES E                  HARDIN SANDRA
2070 LEMONDS RD                         ADDRESS ON FILE                       149 CASTLE LANE
SOCIAL CIRCLE, GA 30025                                                       ANDREWS, NC 28901




HARDIN, CHARLES E.                      HARDIN, JENNIFER M.                   HARDIN, NICOLE
ADDRESS ON FILE                         ADDRESS ON FILE                       1415 E 2ND AVE
                                                                              MONMOUTH, IL 61462




HARDIN, RONALD                          HARDIN, SARAH                         HARDIN, STEVEN G.
808 CAMPBELL CR NE                      501 MILDRED AVENUE                    1982 ROBERSONVILLE RD
MASSILLON, OH 44646                     CAHOKIA, IL 62206                     WASHINGTON, NC 27889




HARDIN, TAMMY                           HARDING SHERRY L                      HARDING, AMANDA
P.O. BOX 485                            6902 S CRYSTAL DOWNS 24Q              ADDRESS ON FILE
SALYERSVILLE, KY 41465                  WEST JORDAN, UT 84084
HARDING, AMANDA          Case 20-10766-BLS
                                       HARDING,Doc 6 Filed 04/07/20
                                                ASHLEY                Page HARDING,
                                                                           744 of 1969
                                                                                    JOHN
ADDRESS ON FILE                        10540 S EBERHART AVE                5 WILLIAM JOHN CT
                                       CHICAGO, IL 60628                   GRANITE CITY, IL 62040




HARDING, RHONDA C.                     HARDING, SARAH                      HARDINS SYSCO FOOD-17735
15616 INGLESIDE AVE                    7820 FM 1205                        4359 BF GOODRICH BLVD
DOLTON, IL 60419                       COAHOMA, TX 79511                   MEMPHIS, TN 38118-7306




HARDINS-SYSCO-17736                    HARDISON, LORI                      HARDISON, MICHELLE F.
P.O. BOX 18872                         1285 WATER STREET                   ADDRESS ON FILE
MEMPHIS, TN 38181-0872                 P.O.BOX 51
                                       JAMESVILLE, NC 27846




HARDISON, MICHELLE W.                  HARDISON, PATRICIA L.               HARDISON, REGINA W.
ADDRESS ON FILE                        680 MACKEYS RD                      ADDRESS ON FILE
                                       PLYMOUTH, NC 27962




HARDISON, TAMMY                        HARDISON, THOMAS J.                 HARDISON, WANDA
1875 BROWN RD                          ADDRESS ON FILE                     ADDRESS ON FILE
JAMESVILLE, NC 27846




HARDMAN, JOEL                          HARDMAN, STAFFORD J.                HARDWICK WELL SUPPLY
311 WEST FOURTH ST                     ADDRESS ON FILE                     127 DOC EDGAR DR
EDWARDSVILLE, IL 62025                                                     WHEATLEY, AR 72392




HARDWICK, PHYLLIS                      HARDWICK, TRACY E., M.D.            HARDWICK, WHITNEY
422 17TH ST NW                         ADDRESS ON FILE                     ADDRESS ON FILE
MASSILLON, OH 44647




HARDWICKS, AUDREA J.                   HARDY DIAGNOSTICS                   HARDY LEVI
7204 S BENNETT AVE 2ND FL              429 S. PIONEER RD                   6284 FRANKLIN DOVE
CHICAGO, IL 60649                      SPRINGBORO, OH 45066                EL PASO, TX 79912




HARDY, ABBY L                          HARDY, ALLEN                        HARDY, AUDRIE
408 THUNDERBIRD DR                     309 CLUSTER ST                      1675 W 13TH AVE
WEST HELENA, AR 72390                  FOLEY, AL 36535                     JUNCTION CITY, OR 97448-1193




HARDY, BARBARA A.                      HARDY, BRYCE                        HARDY, BYRON LYNN
3286 BLACKJACK SIMPSON RD              P.O. BOX 1336                       8013 STREAN VIEW DRIVE
GREENVILLE, NC 27858                   LOGANDALE, NV 89021-1336            SANDY, UT 84093
HARDY, BYRON LYNN        Case 20-10766-BLS     Doc
                                       HARDY, JILL A. 6      Filed 04/07/20   Page HARDY,
                                                                                   745 ofRANDALL
                                                                                          1969
CONSULTANT                               4599 MILLHEIM CIR NW                      20 RIVERSTONE LANE
8013 STREAM VIEW DRIVE                   CANTON, OH 44718                          MURPHY, NC 28906
SANDY, UT 84093




HARDY, STANLEY                           HARE, FRANKLIN                            HARE, JENNIFER
P.O. BOX 618                             444 HOLT AVE W                            ADDRESS ON FILE
LOGANDALE, NV 89021                      WYNNE, AR 72396




HARE, MEAGAN                             HARE, SAMATHA                             HARE, SHELBY
197 APPALACHIAN CT                       573 W 400 S                               913 FRANK ST
TALKING ROCK, GA 30175                   TOOELE, UT 84074                          GALESBURG, IL 61401




HARGIS, ALEXANDER R.                     HARGREAVES, GLENN A.                      HARGROVE, ASHLEE
ADDRESS ON FILE                          ADDRESS ON FILE                           2847 W. GLEN FLORA AVE APT 209
                                                                                   WAUKEGAN, IL 60085




HARGROVE, CHERYL A.                      HARHAGER, PAMELA                          HARISH KEMPEGOWDA, MD
2106 LIVINGSTON DR                       223 PERRY DR NW                           ADDRESS ON FILE
CANAL FULTON, OH 44614                   CANTON, OH 44708-5009




HARISH, KEMPEGOWDA MD                    HARKER, TAMMY                             HARKINS REBECCA A
ADDRESS ON FILE                          119 W 13TH ST                             114 LAKEVIEW CIRCLE
                                         KEWANEE, IL 61443                         MORGANTON, GA 30560




HARKINS SUZANNE                          HARKINS, MARY                             HARKINS, MATTHEW R.
17915 MONROE DR                          1671 ZALE AVE                             ADDRESS ON FILE
WEST FRANKFORT, IL 62896                 BLUE GRASS, IA 52726




HARLAN REBECCA F                         HARLAN, KATHY A.                          HARLAN, REBECCA
55 CREST VIEW DR                         ADDRESS ON FILE                           55 CRESTVIEW DR
MORGANTON, GA 30560                                                                MORGANTON, GA 30560




HARLAN, WILLIAM                          HARLESS, CLARENCE B.                      HARLOW, ERNEST
107 SYCAMORE LANE                        12081 HWY 1690                            16915 N. CLEAR LANE
MARION, IL 62959                         LOUISA, KY 41230                          MT. VERNON, IL 62864




HARMAN, JESSICA                          HARMAN, KENNETH L.                        HARMON, ALYSSA
ADDRESS ON FILE                          P O BOX 1214                              2804 SE TRAVERA DR
                                         MEEKER, CO 81641                          PORT ORCHARD, WA 98366
HARMON, BECKY J.         Case 20-10766-BLS
                                       HARMON,Doc  6 Filed 04/07/20
                                               DENISE                 Page HARMON,
                                                                           746 of 1969
                                                                                   GRACE
ADDRESS ON FILE                        ADDRESS ON FILE                     40 HENSLEY BRANCH ROAD
                                                                           PRICHARD, WV 25555




HARMON, LAWRENCE                       HARMON, LINDSAY                     HARMON, SUE
ADDRESS ON FILE                        ADDRESS ON FILE                     607 MAIN ST
                                                                           CARRIER MILLS, IL 62917




HARMON, TIMOTHY A.                     HARMONY HEALTH OF IL                HARMONY HEALTH PLAN INC
2151 SHADYLANE DR N.E.                 P.O. BOX 31372                      29 NORTH WACKER DRIVE
FORT PAYNE, AL 35967                   TAMPA, FL 33631-3372                SUITE 300
                                                                           CHICAGO, IL 60606




HARMONY HEALTH PLAN OF IL              HARMONY HEALTH PLAN OF IL           HARMONY HEALTH PLAN OF ILLINOIS
ATTN: MEDICAL REFUNDS                  P.O. BOX 8500-7296                  P.O. BOX 31370
P.O. BOX 31370                         PHILADELPHIA, PA 19178              TAMPA, FL 33631
TAMPA, FL 33631




HARMONY HEALTH PLAN OF ILLINOIS        HARMONY HEALTH PLAN                 HARMONY HEALTH PLAN
P.O. BOX 31584                         P.O. BOX 31372                      P.O. BOX 31372
TAMPA, FL 33631-3584                   TAMPA, FL 33631-3372                TAMPA, FL 33631-3375




HARMONY HEALTH PLAN                    HARMONY HEALTH PLAN                 HARMONY HEALTH PLAN
P.O. BOX 31584                         P.O. BOX 31584                      P.O. BOX 33631
TAMPA, FL 33631                        TAMPA, FL 33631-3584                TAMPA, FL 33631




HARMONY HEALTH                         HARMONY HEALTHCARE IT               HARMONY HEALTHCARE LLC
P.O. BOX 31584                         P.O. BOX 6595                       2909 W BAY TO BAY BLVD
TAMPA, FL 33631-0000                   SOUTH BEND, IN 46660                STE 500
                                                                           TAMPA, FL 33629




HARMS, CAROL                           HARMS, MARCELLA M.                  HARNED, LULA
6679 GRIGGS ROAD                       1343 QUINALT ST                     416 CHERRYBARK LANE
RED BUD, IL 62278                      SPRINGFIELD, OR 97477               FLORA, IL 62839




HARNESS, KAREN                         HARNISCH, KELLEY                    HARNISH, MARY
5925 MOCKINGBIRD LN                    1330 SWEET POTATO RD                ADDRESS ON FILE
PINSON, AL 35126                       DONGOLA, IL 62926




HAROLD BERRY                           HAROLD CARVER                       HAROLD G WEATHERBEE
462 SPRINGDALE AVE                     P.O. BOX 216                        4642 REDFOX DR NW
SPRINGFIELD, OR 97477                  COAHOMA, TX 79511-0000              MASSILLON, OH 44646
                       Case 20-10766-BLS
HAROLD RAY TRUCK & TRACTOR           HAROLD,Doc   6 MD
                                             ANTWINE   Filed 04/07/20   Page HAROLD,
                                                                             747 of DEAN
                                                                                     1969B.
ATTN: NANCY                          24 PHYSICIANS DRIVE                     212 WOOD RD
P.O. BOX 130                         JACKSON, TN 38305                       COLT, AR 72326
CISNE, IL 62823




HAROLD, DEAN                          HAROON RANDHAWA DDS, PC                HARPEL, PATRICIA A
225 ROCTHWOOD DR                      FRANK SCOTT PKWY FAMILY DENTAL         ADDRESS ON FILE
HUNTINGDON, TN 38344-0000             4933 A BENCHMARK CTR DR
                                      SWANSEA, IL 62226




HARPEL, PATRICIA A.                   HARPER MARGARET                        HARPER RICHARD J
62 WHEATLAND CIRCLE                   306 CHANCEYTOWN RD                     2541 CLEVELAND BLVD
LEBANON, PA 17042                     TURTLETOWN, TN 37391-0000              GRANITE CITY, IL 62040




HARPER SHANNON                        HARPER, BRANDON                        HARPER, CLYDE W.
ADDRESS ON FILE                       269 LAUREL STR                         628 ENGLISH LANE
                                      EAST ELLIJAY, GA 30540                 WINTHROP HARBOR, IL 60096




HARPER, DEE                           HARPER, DOUGLAS                        HARPER, JAVAN
400 EAST PARK AVENUE                  3 CR 628                               4174 S DREXEL BLVD 3A
TARBORO, NC 27886                     WYNNE, AR 72396                        CHICAGO, IL 60653




HARPER, MCKENZIE T.                   HARPER, MICAH                          HARPER, NATALIE A.
ADDRESS ON FILE                       116 AVALON PL                          ADDRESS ON FILE
                                      HELENA, AR 72342-0000




HARPER, PATRICIA A.                   HARPER, REBECCA                        HARPER, RUSSELL
ADDRESS ON FILE                       653 E AVENUE J10                       4145 HIGHWAY 284
                                      LANCASTER, CA 93535                    WYNNE, AR 72396




HARPER, SADIE                         HARPER, SHANNON                        HARPER, TERRI
2404 COUNTY ROAD 66                   ADDRESS ON FILE                        1202 EVERGREEN RD
SECTION, AL 35771                                                            SYLVESTER, GA 31791




HARPER, TIFFANY                       HARPER, TIMMY L.                       HARPER, VERCHELLE
ADDRESS ON FILE                       2614 10 ST SW                          2565 VILLAGEPARK DR
                                      CANTON, OH 44710                       WAUKEGAN, IL 60087




HARPER, WILLIAM H.                    HARPETH SEARCH LLC                     HARPSTER, AUDRA L.
ADDRESS ON FILE                       P.O. BOX 994                           387 REGENCY CIRCLE APT 301
                                      BRENTWOOD, TN 37027                    SALINAS, CA 93906
HARR, ROBERT J.          Case 20-10766-BLS
                                       HARRAH,Doc 6 Filed 04/07/20
                                              CONSTANCE               Page HARRAWOOD,
                                                                           748 of 1969KAILA A.
102 HIGHLAND ST                        3249 REIMER RD.                     1705 S. EASTWOOD DRIVE
BRUCETON, TN 38317                     NORTON, OH 44203                    MCLEANSBORO, IL 62859




HARREL, MARK D.                        HARREL, MARVIN                      HARREL, TIMMONS
1616 EAST AVENUE                       620 WILSON AVE                      1424 245TH AVE
HOLDREGE, NE 68949                     PARK CITY, IL 60085-0000            GALESBURG, IL 61401




HARRELD ADAM                           HARRELL PATTI J                     HARRELL, AMANDA
146 FOX POINT LOOP RD                  2385 W TETON BLVD                   136 DONOHO DRIVE
EVANSTON, WY 82930                     GREEN RIVER, WY 82935-6140          SALEM, IL 62881




HARRELL, CARROLL J.                    HARRELL, CHESTER D.                 HARRELL, DELLA E.
8772 EAST BAKER HWY                    ADDRESS ON FILE                     200 SANTREE DR E 15
NICHOLLS, GA 31554                                                         WILLIAMSTON, NC 27892




HARRELL, EDGAR                         HARRELL, IRIS                       HARRELL, IVEY
2900 SAND ROAD LOT 103                 1164 REDDICK TRAILER PARK RD        81 CAMBRIDGE COVE
EDWARDSVILLE, IL 62025                 WILLIAMSTON, NC 27892               HURON, TN 38345




HARRELL, JOHN                          HARRELL, JOY C.                     HARRELL, KATRINA K.
1111 J STREET APT 80                   ADDRESS ON FILE                     ADDRESS ON FILE
DAVIS, CA 95616




HARRELL, LISA                          HARRELL, TONA C.                    HARRIEL, LAKESHA
ADDRESS ON FILE                        2289 YOUTH MONROE RD                ADDRESS ON FILE
                                       MONROE, GA 30655-5579




HARRIET KATHY EUBANKS                  HARRIETT BRIGGS                     HARRIETT GRIFFIN
7303 ARNOLD ROAD                       P.O. BOX 7                          1808 FORMOSA DR
IUKA, IL 62849                         MASSILLON, OH 44646                 AUGUSTA, GA 30906




HARRIMAN, AMBER L.                     HARRIMAN, AMBER L.                  HARRIMAN, AMBER
ADDRESS ON FILE                        732 BUSS ST P.O. BOX 239            ADDRESS ON FILE
                                       ST. LIBORY, IL 62282




HARRINGTON MATTIE J                    HARRINGTON, ALLISON                 HARRINGTON, CATHERINE
84824 CLOVERDALE RD                    605 N HICKORY                       803 E LOCKHART AVE
CRESWELL, OR 97426                     SMITHTON, IL 62285                  ALPINE, TX 79830
HARRINGTON, DEVERY      Case 20-10766-BLS    Doc RON
                                      HARRINGTON, 6 Filed 04/07/20   Page HARRIS
                                                                          749 ofBETTY,
                                                                                 1969PAMELA
46 W 78TH PLACE                       4190 S COUNTRY CLUB ROAD            1724 HERBERT CIRCLE
CHICAGO, IL 60620                     DEMING, NM 88030                    CANAL FULTON, OH 44614




HARRIS EVELYN ANN                     HARRIS JASMINE                      HARRIS JOHNNA B
P.O. BOX 14                           12518 FAIRVEIW                      402 CRYSTAL LAKE DR NE
MADISON, IL 62060                     BLUE ISLAND, IL 60406               FORT PAYNE, AL 35967-1848




HARRIS JORDAN ALEX                    HARRIS JULIE ANN                    HARRIS KLEIN ASSOCIATES INC
220 SOUTH D ST                        28247 CLEARLAKE ROAD                P.O. BOX 2087
SPRINGFIELD, OR 97477                 EUGENE, OR 97402                    WOODSTOCK, GA 30188




HARRIS KRISTEN                        HARRIS LANDS INC                    HARRIS LESLIE
ADDRESS ON FILE                       3018 GREENHILL BLVD NW              ADDRESS ON FILE
                                      FORT PAYNE, AL 35968




HARRIS, ABBIE M.                      HARRIS, ALEXIS N.                   HARRIS, ALFREDA
ADDRESS ON FILE                       1108 EAST 5TH STREET                514 S RIDGE
                                      BIG SPRING, TX 79720                WEST HELENA, AR 72390




HARRIS, AMANDA                        HARRIS, AMBER                       HARRIS, AMENNA M.
ADDRESS ON FILE                       ADDRESS ON FILE                     P.O. BOX 187 51778 DEXTER ST. 3
                                                                          BLUE RIVER, OR 97413




HARRIS, ANDREW S.                     HARRIS, ATTIEH                      HARRIS, BENJAMIN J.
ADDRESS ON FILE                       1905 BANBURY AVE                    90 TWIN LAKE DRIVE
                                      YORKVILLE, IL 60560                 BLUE RIDGE, GA 30513




HARRIS, BENJAMIN MD                   HARRIS, BRENDA                      HARRIS, BRYAN A.
2855 OLD HWY 5 N                      P.O. BOX 526                        207 HUDSPETH
SUITE 110                             MCCAYSVILLE, GA 30555               PALESTINE, AR 72372
BLUE RIDGE, GA 30513




HARRIS, CAROLYN M.                    HARRIS, CASSIE E.                   HARRIS, CATHY R.
ADDRESS ON FILE                       1405 TAYLOR DRIVE                   125 HORSESHOE LN
                                      WILLIAMSTON, NC 27892               DUQUOIN, IL 62832




HARRIS, CATHY                         HARRIS, CHARLENE P.                 HARRIS, CHELSEA
807 SORRELL CIRCLE                    ADDRESS ON FILE                     272 HORSESHOE BEND
MARION, AR 72364                                                          LYMAN, WY 82937
HARRIS, DANIELLE E.     Case 20-10766-BLS     Doc 6 C.Filed 04/07/20
                                      HARRIS, DEIRDRE                  Page HARRIS,
                                                                            750 ofDORRIS
                                                                                    1969 C.
407 SYCAMORE CIR SE                   3088 RED OAK TRAIL                    448 TRELAKE DR
NEW PHILADELPHIA, OH 44663            DECATUR, GA 30034                     CANAL FULTON, OH 44614-8411




HARRIS, FALON L.                      HARRIS, FRANCINE J.                   HARRIS, GALENA
ADDRESS ON FILE                       16712 BUTTERFIELD DR                  3470 N. WILLOW CT.
                                      COUNTRY CLUB HILL, IL 60478           BETTENDORF, IA 52722




HARRIS, HAROLDEAN                     HARRIS, HELENA R.                     HARRIS, ISABELLA
1566 JONES MARTIN RD                  560 HAMILTON AVE                      120 MARY JO DR
LINCOLNTON, GA 30817-1813             WOOD RIVER, IL 62095                  SWANSEA, IL 62226




HARRIS, JANET                         HARRIS, JANET                         HARRIS, JARED D.
103 N 41ST STREET                     ADDRESS ON FILE                       3130 WOODWORTH PL
BELLEVILLE, IL 62223                                                        HAZEL CREST, IL 60429




HARRIS, JASMINE                       HARRIS, JEAN LOUISE                   HARRIS, JENNIFER P.
548 WEST FIRST ST P O BOX 104         58 LEE RD 202                         4033 SARA ST
COAHOMA, MS 38617                     MARIANNA, AR 72360                    GRANITE CITY, IL 62040




HARRIS, JONATHAN M.                   HARRIS, KARA L.                       HARRIS, KATRINA E.
139 PARKVIEW CTS                      263 FULTON                            ADDRESS ON FILE
LEXINGTON, TN 38351                   GALESBURG, IL 61401




HARRIS, KERI A.                       HARRIS, KESHIA A.                     HARRIS, KEVIN
3116 MOCKINGBIRD LANE                 805 DEWEY ST                          ADDRESS ON FILE
GRANITE CITY, IL 62040                BELLEVILLE, IL 62221




HARRIS, KIERRA                        HARRIS, KIMBERLY D.                   HARRIS, KRISTEL
1331 W 72ND ST                        P.O. BOX 214                          ADDRESS ON FILE
CHICAGO, IL 60636                     VANNDALE, AR 72387




HARRIS, LAURA A.                      HARRIS, LAURA J.                      HARRIS, LESLIE K.
ADDRESS ON FILE                       16410 S 89TH COURT                    ADDRESS ON FILE
                                      ORLAND PARK, IL 60462




HARRIS, LORI                          HARRIS, MAURICE L.                    HARRIS, MCCRAY
721 MATHIAS AVE NE                    ADDRESS ON FILE                       213 HUNTER HEIGHTS CT
MASSILLON, OH 44646-4437                                                    EUREKA, MO 63025
HARRIS, MELISSA A.    Case 20-10766-BLS     Doc 6 D.Filed 04/07/20
                                    HARRIS, MICHAEL                          Page HARRIS,
                                                                                  751 ofMICHAEL
                                                                                          1969
4465 GORDON REYNOLDS RD             34 TRENTON HWY                                8210 S LOOMIS BLVD
COVINGTON, GA 30014                 BRADFORD, TN 38316                            CHICAGO, IL 60620




HARRIS, MORIAH                      HARRIS, NICOLE                                HARRIS, QUIANA
1509 E 31ST ST UNIT 3               ADDRESS ON FILE                               432 WILLIAMSBURGH
LA GRANGE PARK, IL 60526                                                          SHILOH, IL 62221




HARRIS, RICHARD                     HARRIS, ROBERT L.                             HARRIS, ROBERT
10558 S TALMAN AVE                  559 CLYDE AVE APT 13                          P.O. BOX 752
CHICAGO, IL 60655                   CALUMET CITY, IL 60409                        MOUNTAIN VIEW, WY 82939




HARRIS, RUSSELL                     HARRIS, SARA                                  HARRIS, SELMA
502 ABBY DRIVE                      115 PUBLIC WAY                                2005 WILKENING DR
CARTERVILLE, IL 62918               LOUISA, KY 41230                              ALTON, IL 62002




HARRIS, SELMA.                      HARRIS, SHARON                                HARRIS, SHAWN D.
ADDRESS ON FILE                     ADDRESS ON FILE                               422 HILLSIDE DR
                                                                                  BIG SPRING, TX 79720




HARRIS, SHRECCA                     HARRIS, SPENCER M.                            HARRIS, TANISHA
2651 FREEMONT ST                    ADDRESS ON FILE                               947 S SHACKLEVILLE RD
SNELLVILLE, GA 30078                                                              GREENVILLE, AL 36037




HARRIS, TATYANA                     HARRIS, TERRI L.                              HARRIS, TRENNA
ADDRESS ON FILE                     ADDRESS ON FILE                               213 STAR LANE
                                                                                  GLEN CARBON, IL 62034




HARRIS, VALERIE                     HARRIS, VIRGINIA                              HARRIS, WALTER M.
1927 HERVEY AVE                     15 MAPLE LICK SUBDIVISION P.O.BOX 1054        3633 US HWY 17 S
NORTH CHICAGO, IL 60064             BOONEVILLE, KY 41314                          WILLIAMSTON, NC 27892




HARRIS, YASMINE D.                  HARRISBURG MEDICAL CENTER                     HARRISON ANN
ADDRESS ON FILE                     100 DR WARREN TUTTLE DRIVE                    P.O. BOX 851
                                    HARRISBURG, IL 62946                          WILLIAMSTON, NC 27892




HARRISON BERT GLENN                 HARRISON DOUGLAS I                            HARRISON, ANGELINA
4775 TERALEE LANE                   1120 FIVE CENT RD                             3412 COUNTY RD 94
EUGENE, OR 97402                    WILLIAMSTON, NC 27892                         FYFFE, AL 35971
HARRISON, ASHLEA C.      Case 20-10766-BLS    Doc
                                       HARRISON,   6 Filed 04/07/20
                                                 BEVERLY                 Page HARRISON,
                                                                              752 of 1969
                                                                                        CRYSTAL
ADDRESS ON FILE                        1676 JEFFERSON ST                      ADDRESS ON FILE
                                       GALESBURG, IL 61401




HARRISON, DANIEL                       HARRISON, EDITH                        HARRISON, HONEY
ADDRESS ON FILE                        201 LAKESIDE DR                        ADDRESS ON FILE
                                       APT 32
                                       NEW CONCORD, OH 43762




HARRISON, JACKIE M.                    HARRISON, JAMES A.                     HARRISON, JEFF L.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




HARRISON, JIMMY D.                     HARRISON, JOE H.                       HARRISON, JUANITA
64 WHITE OAK ROAD                      15979 CAMBRIA RD                       P.O. BOX 1172
PLYMOUTH, NC 27962                     DE SOTO, IL 62924                      GREEN RIVER, WY 82935-1172




HARRISON, JULIE C.                     HARRISON, LEIA                         HARRISON, MARIAH A.
5070 TURNBERRY PL                      1563 LUISA ST                          2253 DAWN AVE
MONROE, GA 30656                       SANTA FE, NM 87505                     GRANITE CITY, IL 62040




HARRISON, MULLEN                       HARRISON, NANCY L.                     HARRISON, PRATHA L.
2138 STATE                             1333 N FIRST ST                        5226 STEINER STORE RD
GRANITE CITY, IL 62040                 P.O. BOX 834                           HONORAVILLE, AL 36042
                                       OAKRIDGE, OR 97463-0000




HARRISON, PRISCILLA J.                 HARRISON, RICHARD J.                   HARRISON, TRUSTA L.
4280 SOUTH HAMETOWN ROAD               521 PLANTATION CREEK DRIVE             ADDRESS ON FILE
NORTON, OH 44203                       LOGANVILLE, GA 30052




HARRISON, VICTORA G.                   HARRISONVILLE TELEPHONE CO             HARRISONVILLE TELEPHONE CO
ADDRESS ON FILE                        213 S MAIN ST                          213 S MAIN ST
                                       P.O. BOX 149                           P.O. BOX 149
                                       WATERLOO, IL 62298                     WATERLOO, IL 62298-0149




HARRISONVILLE TELEPHONE CO             HARRISONVILLE TELEPHONE COMPANY        HARRISONVILLE TELEPHONE COMPANY
P.O. BOX 149                           213 S MAIN ST                          P.O. BOX 149
WATERLOO, IL 62298                     P.O. BOX 149                           WATERLOO, IL 62298-0149
                                       WATERLOO, IL 62298




HARRIS-ROLICHECK, KELLY J.             HARRISVAUGHN, NICHOLE D.               HARRITY, CARRIE
2200 E MADISON AVE                     1108 ALICE LN                          74 NORTH AVE APT 2B
COTTAGE GROVE, OR 97424                GRANITE CITY, IL 62040                 FOX LAKE, IL 60020
HARROLD, PAUL           Case 20-10766-BLS   Doc
                                      HARROUN,    6 Filed 04/07/20
                                               EMILY                 Page HARROW
                                                                          753 of SR,
                                                                                 1969TERRY W.
328 S BODMER AVE                      305 W ADAMS STREET                  317 LOCUST ST
APT 35                                ABINGDON, IL 61410                  JERSEY SHORE, PA 17740
STRASBURG, OH 44680




HARRSCH, REBECCA L.                   HARRY & DAVID                       HARRY FLACK CONSTRUTION
ADDRESS ON FILE                       P.O. BOX 712                        2612 WINDCREST DRIVE
                                      MEDFORD, OR 97501                   MT VERNON, IL 62864




HARRY HOWELL                          HARRY J TAYLOR JR                   HARRY SYLVESTER
6310 MANCHESTER AVE NW                790 PLUM BRANCH RD                  6242 HOWLAND NE
CANAL FULTON, OH 44614-9703           EDGEFIELD, SC 29824-3423            LOUISVILLE, OH 44641




HARRY, BRENDA                         HARSH CHAWLA MD                     HARSHA COLE
4020 AUTUMN OAK DR                    310 S MCCASKEY ROAD                 ADDRESS ON FILE
SMITHTON, IL 62285                    WILLIAMSTON, NC 27892




HARSHA, HEATHER L.                    HARSHAW TRANE                       HARSHBARGER ANGELA
2910 WESTERN AVE                      12700 PLANTSIDE DRIVE               831 KNOX HWY 8
AMMON, ID 83406                       LOUISVILLE, KY 40299                GILSON, IL 61436




HARSHBARGER, ANGELA                   HARSHBARGER, CANDIS K.              HARSHBARGER, DIXIE J.
831 KNOX HWY 8                        2295 ROSE BLOSSOM DR                ADDRESS ON FILE
GILSON, IL 61436                      SPRINGFIELD, OR 97477




HARSHBARGER, DIXIE J.                 HARSKEY, EVELYN                     HARSY, JERRY
221 ELLIOT DR                         2320 TAYLOR ST                      7307 STATE ROUTE 152
EVANSTON, WY 82930                    JOLIET, IL 60435                    DUQUOIN, IL 62832-4137




HART CLAIRE                           HART SECURITIES LTD                 HART, AMY
87102 KELLMORE ST                     C/O JEFFREY M TRINKLEIN             1730 HARRISON STREET
EUGENE, OR 97402                      GIBSON DUNN & CRUTCHER              GALESBURG, IL 61401
                                      1050 CONNECTICUT AVE NW
                                      WASHINGTON, DC 20036-5303



HART, AVERT                           HART, CHARLES                       HART, CHRISTAL G.
5102 ANDERSON EXT                     20 OAK BLANCHARD                    809 LEE 507
MILIAN, TN 38358                      HEROD, IL 62947                     MARIANNA, AR 72360




HART, DENISE                          HART, EBONI                         HART, GERALD
5070 HUDSON RD                        215 PINEBROOK DR                    540 ROLLING HILLS DR
LOGANVILLE, GA 30052                  FLORENCE, AL 35633                  MESQUITE, NV 89027
HART, HEATHER             Case 20-10766-BLS     Doc 6
                                        HART, JANA         Filed 04/07/20   Page HART,
                                                                                 754 of  1969 A.
                                                                                       JONATHAN
1808 RIVERGLEN WALK                      ADDRESS ON FILE                         220 S NICKEL ST APT 1
LOGANVILLE, GA 30052                                                             DEMING, NM 88030




HART, KITTY                              HART, PAMELA T                          HART, PATTON R.
ADDRESS ON FILE                          181 JEMMA DR                            ADDRESS ON FILE
                                         LEXINGTON, TN 38351




HART, REX                                HART, RICHARD L.                        HART, RICHARD
134 RAILROAD ST                          26513 W GRASS LAKE RD                   362 320TH ST
P.O. BOX 334                             ANTIOCH, IL 60002                       NORTH HENDERSON, IL 61466
STOCKTON, UT 84071




HART, ROBERT L.                          HART, RUBY                              HART, SUSAN
189 BRAEBURN DR                          24555 HIGHWAY 23                        ADDRESS ON FILE
EUGENE, OR 97405                         CATLETTSBURG, KY 41129




HART, TINA L.                            HART, TINA                              HART, TODD
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




HARTENBERGER, DENNIS                     HARTER TERESA EVELYN                    HARTFIELD, BRITTNEY
212 LON DELL DR                          39479 PLACE ROAD                        ADDRESS ON FILE
CHESTER, IL 62233-2110                   P.O. BOX 1098
                                         FALL CREEK, OR 97438




HARTFIELD, SERINA                        HARTFORD CLAIM EXCHANGE                 HARTFORD
282 MADISON AVE                          P.O. BOX 14170                          P.O. BOX 14471
CALUMET CITY, IL 60409                   LEXINGTON, KY 40512                     LEXINGTON, KY 40512




HARTFORD, CHRISTINE M.                   HARTFORD, THE                           HARTFORD, THE
5944 MACLEAOD DR                         P.O. BOX 14170                          P.O. BOX 14261
MEMPHIS, TN 38119                        LEXINGTON, KY 40512                     SOUTHWEST AUTO CTR DIV
                                                                                 LEXINGTON, KY 40512-4261




HARTFORD, THE                            HARTLEY, GERALD                         HARTLEY, HARRY W.
P.O. BOX 14265                           319 N DIVISION ST                       774 EDDYVILLE BLACKTOP
LEXINGTON, KY 40512                      SALISBURY, MD 21801                     EDDYVILLE, IL 62928




HARTLEY, STEPHANIE R.                    HARTLEY, STEPHANIE R.                   HARTLEY, STEPHANIE
118 BROKEN CIRCLE DRIVE                  ADDRESS ON FILE                         137 E. 3RD STREET
EVANSTON, WY 82930                                                               ROXANA, IL 62084
HARTLINE, JEFFERY        Case 20-10766-BLS    Doc
                                       HARTLINE,    6 A. Filed 04/07/20
                                                 JUDY                     Page HARTLINE,
                                                                               755 of 1969
                                                                                         MARY JO
2950 SWEET POTATO RD                     5195 CO RD 41                         ADDRESS ON FILE
DONGOLA, IL 62926                        GAYLESVILLE, AL 35973




HARTLINE, SARAH E.                       HARTLINE, SHANNON                     HARTLINE, WILMA J.
ADDRESS ON FILE                          ADDRESS ON FILE                       ADDRESS ON FILE




HARTMAN, ANDRIA                          HARTMAN, BRIAN R.                     HARTMAN, KATHLEEN R.
ADDRESS ON FILE                          ADDRESS ON FILE                       24029 S PLUM VALLEY DR
                                                                               CRETE, IL 60417




HARTMAN, LYNETTE                         HARTMAN, MARIE                        HARTMAN, MICHAEL C.
345 MYSTIC DR                            6613 MARTIN FRANCE CIRCLE             7759 WEST CATALPA AVE.
MESQUITE, NV 89034                       TINLEY PARK, IL 60477                 CHICAGO, IL 60656




HARTMAN, MICHAEL C.                      HARTMAN, MICHAEL                      HARTMAN, PAULA
ADDRESS ON FILE                          5204 WEST 155TH STREET                208 E WAKEFIELD P.O. BOX 153
                                         OAK FOREST, IL 60452                  SUMMERFIELD, IL 62289




HARTMAN, ROBERTA M.                      HARTMAN, RONALD C.                    HARTMAN, SUSAN T.
ADDRESS ON FILE                          818 CHERRY DR                         1055 THE OLD DRIVE
                                         GENESEO, IL 61254                     PEBBLE BEACH, CA 93953




HARTMAN, TERRI NP                        HARTMANN KAYLA A                      HARTMANN, LACEY
ADDRESS ON FILE                          1232 CHALMERS DRIVE                   408 E BROADWAY
                                         TROY, IL 62294                        STEELEVILLE, IL 62288




HARTMANN, RICHARD                        HARTNETT DIANE J                      HARTNETT, LACEY
2257 AVALON RD NW                        11360 S MILLARD AVE                   10108 COUNTY LINE RD
CARROLLTON, OH 44615                     CHICAGO, IL 60655                     PEOTONE, IL 60468




HARTNETT, LORI A.                        HARTRAMPF, YAN                        HARTS WHOLESALE FLOORING
ADDRESS ON FILE                          7839 W 160TH ST                       P.O. BOX 2638
                                         TINLEY PARK, IL 60477                 WEST HELENA, AR 72390




HARTS, ANTHONY                           HARTSELL, MADISON D.                  HARTSHORN, JEFFREY
22974 FARM TRACE DR                      166 PC 302 ROAD                       11533 MELISSA LN
RICHTON PARK, IL 60471                   WEST HELENA, AR 72390                 MINERVA, OH 44657-9613
HARTSOE JOSEPH A         Case 20-10766-BLS   Doc
                                       HARTSOE,    6 L.Filed 04/07/20
                                                WANDA                        Page HARTWELL
                                                                                  756 of 1969
                                                                                           TIMOTHY S
1601 CALIFORNIA AVE                     ADDRESS ON FILE                           ADDRESS ON FILE
COLLINSVILLE, IL 62234




HARTWELL, DONNA M.                      HARTWICK, CODY                            HARTWIG, AUGUST L.
4037 SMITH ST                           14909 RANDY LN                            P.O. BOX 600
LOT 2                                   MARELVALE, AR 72103                       MESQUITE, NV 89024
BLOOMSBURG, PA 17815




HARTZLER SUPPLY                         HARTZLER, STEPHANIE L.                    HARVEL, CYNTHIA
2133 HWY 80 EAST                        8 STOLL DR.                               108 PARK LN LOT 24
HINDMAN, KY 41822                       MARSHALLVILLE, OH 44645                   JONESBORO, IL 62952-0000




HARVEL, MICHAEL                         HARVEY & PRICE COMPANY                    HARVEY BROTHERS
501 S MAIN ST                           2015 NUGGET WY                            2181 GRAND AVE
ANNA, IL 62906                          EUGENE, OR 97403                          GALESBURG, IL 61401




HARVEY HORWITZ                          HARVEY, CHAREDA G.                        HARVEY, JUDY K.
ROBBINS LLP                             ADDRESS ON FILE                           1156 LOMBARD
ATTN: ASHLEY R.RIFKIN                                                             GALESBURG, IL 61401
5040 SHOREHAM PLACE
SAN DIEGO, CA 92122



HARVEY, KEVIN L.                        HARVEY, MICHELLE A.                       HARVEY, MIRANDA
217 ADAM CIRCLE                         2850 TURKEY CREEK RD P.O. BOX 1168        938 HIGHLAND AVE
RUSTON, LA 71270                        INEZ, KY 41224                            JACKSON, KY 41339




HARVEY, PAULETT                         HARVEY, SYLVONA A.                        HARVEY, TIM
13033 SEELEY AVE APT2W                  5187 ENRIGHT AVE                          3013 FOREST AVE
BLUE ISLAND, IL 60406                   ST LOUIS, MO 63108                        GRANITE CITY, IL 62040




HARVEY, WYATT                           HARVEYS ACE HARDWARE                      HARVICK, LARRY P.
ADDRESS ON FILE                         373 WEST CHESTNUT                         1865 PARLIAMENT ST
                                        MARIANNA, AR 72360                        EUGENE, OR 97405




HARWARD SHARON A                        HARWARD, MICAH                            HARWELL, CHARLES
405 OAK ST                              1175 BLOOMINGTON DR S                     305 W HIGH STREET
COBDEN, IL 62920                        SAINT GEORGE, UT 84790                    ANNA, IL 62906




HARWELL, CHARLES                        HARWOOD SHARON                            HARWOOD, CHRISTINE A.
865 CONTENTMENT RD                      3245 ENOCH AVE                            ADDRESS ON FILE
MAKANDA, IL 62958                       ZION, IL 60099
HARWOOD, NATHAN         Case 20-10766-BLS   Doc
                                      HARWOOD,   6 S.Filed 04/07/20
                                               SHANE                  Page HASBROUCK,
                                                                           757 of 1969VIVIAN
2115 GARFIELD ST                       5159 S 2675 W                       1315 N 650 E
EUGENE, OR 97405                       ROY, UT 84067                       TOOELE, UT 84074




HASE, NAOMASA                          HASELTINE LINDA S                   HASEMEYER, DIANE E.
ADDRESS ON FILE                        610 GRANNY BRANCH RD                3102 EDGEWOOD PARK
                                       BLUE RIDGE, GA 30513                MARION, IL 62959




HASEN, LESLIE A.                       HASHIM, GAZI MD                     HASKE JR., WILLIAM J.
361 SAN ANDREAS ROAD                   ADDRESS ON FILE                     ADDRESS ON FILE
WATSONVILLE, CA 95076




HASKE, JONATHAN S.                     HASKELL DELANO D                    HASKETT, APRIL
ADDRESS ON FILE                        2423 OAK STREET                     407 W ILLINOIS AVE
                                       BLUE ISLAND, IL 60406               CARTERVILLE, IL 62918




HASKETT, MICHAEL W.                    HASLAM, MARI L                      HASLER, TRACY
746 W 770 S                            1519 SMOKE SIGNAL TRAIL             ADDRESS ON FILE
TOOELE, UT 84074                       MESQUITE, NV 89034




HASS RENNA E                           HASSALL,RALPH A.                    HASSAM, DRISS
32807 SAGINAW WEST                     705 5TH AVE SW                      1840 41ST SUITE 102 265
P.O. BOX 479                           P.O. BOX 3153                       CAPITOLA, CA 95010
COTTAGE GROVE, OR 97424                ALBANY, OR 97321




HASSEL, RUSSLYN                        HASSELL, CARRIE J.                  HASSELL, KRISTI B.
358 W 150TH ST                         428 HASSELL AVE                     2111 BARBER ROAD
HARVEY, IL 60426                       WASHINGTON, NC 27889                JAMESVILLE, NC 27846




HASSENAUER, RHONDA L.                  HASSENFLU, ALEXANDRIA M.            HASSLER, HEATHER
700 TALLGRASS LN                       1601 W MURPHY P.O. BOX 975          ADDRESS ON FILE
LAKE VILLA, IL 60046                   ALPINE, TX 79831




HASSLER, SHERRY                        HASSMAN, BRANDALYN                  HASSMAN, ERIC
1620 WHIT DAVIS RD.                    ADDRESS ON FILE                     ADDRESS ON FILE
ATHENS, GA 30605




HASTING, KEN                           HASTINGS, ABBY                      HASTINGS, BRANDON M.
701 CHEROKEE TRAIL                     339 26TH ST NW                      ADDRESS ON FILE
HENEGAR, AL 35978                      MASSILLON, OH 44647
HASTINGS, ERIN           Case 20-10766-BLS    Doc
                                       HASTINGS,    6 Filed
                                                 JOSEPH A., DMD04/07/20        Page HASTINGS,
                                                                                    758 of 1969
                                                                                              KENITH D.
6837 MANCHESTER DRIVE                    ADDRESS ON FILE                             701 CHEROKEE TRAIL
MARYVILLE, IL 62062                                                                  HENAGAR, AL 35978




HASTINGS, OCIE                           HASTINGS, SAMANTHA                          HASTINGS, SHELLIE M.
173 CREEK WOOD ESTATES                   14380 HWY 62                                ADDRESS ON FILE
INEZ, KY 41224                           EAGLE POINT, OR 97524




HASTINGS-PERRY, DEBRA C.                 HASTY, KARA                                 HASTY, SHERRY
ADDRESS ON FILE                          ADDRESS ON FILE                             ADDRESS ON FILE




HATCH ALICIA                             HATCH, BARBARA A.                           HATCH, BRANDI
361 EAST UTAH AVE                        2000 NEW HOPE RD                            4572 N GRANDVIEW RD
TOOELE, UT 84074                         MORGANTON, GA 30560                         SILVER CITY, NM 88061




HATCH, CELESTE                           HATCH, NICOLLE                              HATCHER ASHLEY
112 APACHE                               ADDRESS ON FILE                             353 EAST 55TH PLACE
EVANSTON, WY 82930                                                                   CHICAGO, IL 60637




HATCHER, JULIE R.                        HATCHER, KRISTI                             HATCHER, LOUISE M.
5035 WAGON WHEEL RD SE                   5106 SEILER RD                              ADDRESS ON FILE
DEMING, NM 88030                         DORSEY, IL 62021-0000




HATCHER, TAMATHA B.                      HATCHETT, JESSICA AND HATCHETT, RAY         HATCHETT, KELSEY L.
112 THOMPSON ST                          120 BETHEL RD                               411 SADDLE CLUB LOOP
COLT, AR 72326                           LEXINGTON, TN 38351                         LEXINGTON, TN 38351




HATCHETT, MELODY K.                      HATCHETT, ROBERT L.                         HATCHETT, ROBERT
484 ROACH COVE RD                        ADDRESS ON FILE                             ADDRESS ON FILE
HAYESVILLE, NC 28904




HATFIELD, ASIA L.                        HATFIELD, CHAD                              HATFIELD, CHARLES
ADDRESS ON FILE                          3509 ORCHID MEADOW WAY                      1815 KAREN STREET
                                         BUFORD, GA 30519                            WYNNE, AR 72396




HATFIELD, FREDDY                         HATFIELD, JERMEY J.                         HATFIELD, RAMONA
153 COUNTY RD                            2876 KY RT 2039                             ADDRESS ON FILE
DUTTON, AL 35744                         HAGER HILL, KY 41222
HATHAWAY, JAY          Case 20-10766-BLS
                                     HATHAWAY,Doc  6 D.Filed 04/07/20
                                                 LORA                   Page HATHAWAY,
                                                                             759 of 1969
                                                                                       TOKESHIA L.
3092 HAMPTON ST NW                   378 E 740 N                             1301 FIGHTING BUCK AVE
UNIONTOWN, OH 44685-8010             TOOELE, UT 84074                        ALPINE, TX 79830




HATHAWAY, WOODY                       HATHCOCK, CYNTHIA                      HATHCOCK, LACEY
2635 NEWHAVEN ST. NW                  ADDRESS ON FILE                        ADDRESS ON FILE
CONCORD, NC 28027




HATLEY, ALLEN                         HATTAWAY, TIMOTHY                      HATTEMER, RUTH
1551 OLD STAGE RD                     3962 LUVERNE HWY                       6750 MANCHESTER DR
DECATURVILLE, TN 38329-4445           GREENVILLE, AL 36037-6123              MARYVILLE, IL 62062




HATTERY, THOMAS                       HATTIE M JONES                         HATTIE MENNECKE; ERIK MENNECKE
1710 13TH ST SE                       1916 WYLIE DR                          C/O PATRICIA A. LAW; JONATHAN A.
MASSILLON, OH 44646                   AUGUSTA, GA 30906                      FALCIONI, LAW OFFICES OF PATRICIA A.
                                                                             LAW
                                                                             10837 LAUREL ST., SUITE 101
                                                                             RANCHO CUCAMONGA, CA 91730

HATTON, CARISSA                       HATTON, CONNIE                         HATTON, JOAN S.
371 WOLF CREEK RD                     ADDRESS ON FILE                        815 MISSISSIPPI DR
ROUSSEAU, KY 41366                                                           MARION, IL 62959




HATZELL, JOSEPH                       HAUCK, BEVERLY J.                      HAUETER, JENNIE A.
4650 W 88TH ST                        146 FIELDER DRIVE                      31 JACOB ST NE
APT 2                                 SALEM, IL 62881                        NAVARRE, OH 44662
HOMETOWN, IL 60456




HAUGEN ELIZABETH G                    HAUGHT, KRYSTLE A.                     HAULBROOK, HARRIET
434 SENECA DRIVE                      7352 S FOREST S RD 184 DR              839 JACKSON ST
ELLIJAY, GA 30540                     PAYSON, AZ 85541-2074                  THOMSON, GA 30824-2425




HAUN, CHRISTINE                       HAUPT MICHAEL                          HAUPT TRACY A
638 TOWNSHIP RD 2850                  210 PRAIRIE AVE                        210 PRAIRIE AVE
LOUDONVILLE, OH 44842-9516            WINTHROP HARBOR, IL 60096              WINTHROP HARBOR, IL 60096




HAUPT, MEGAN                          HAUPT, SANDRA L.                       HAUSER, AMY
115 E MCDONALD ST APT B               1191 CRISWELL RD                       ADDRESS ON FILE
MARION, IL 62959                      MONROE, GA 30655




HAUSWIRTH, KATHY                      HAUT, HEATHER                          HAUVER, BRENT
119 LOMBARDY LANE                     P.O. BOX 1744                          P.O. BOX 1037
WYNNE, AR 72396                       OVERTON, NV 89040                      OVERTON, NV 89040-1037
HAVARD, JANET            Case 20-10766-BLS
                                       HAVARD,Doc 6 Filed 04/07/20
                                              ROBERT                 Page HAVEL,
                                                                          760 ofMARY
                                                                                 1969G.
60 MERRILL CIR APT A3                  47 CHEROKEE RD                     1031 WHITE OAK DR
FORREST CITY, AR 72335                 BLAIRSVILLE, GA 30512              RED BUD, IL 62278




HAVELS INC                             HAVELS INC                         HAVELS INC
3726 LONSDALE AVE                      3726 LONSDALE ST                   3726 LONSDALE ST
CINCINNATI, OH 45227                   CINCINNATI, OH 24889               CINCINNATI, OH 45227




HAVELS INC                             HAVELS INC                         HAVEN CLINTON MEDICAL ASSOCIATES, LLC
3726 LONSDALE STREET                   3726 LONSDALE                      1209 ORANGE STREET
CINCINNATI, OH 45227                   CINCINNATI, OH 24889               WILMINGTON, DE 19801




HAVEN TECHNOLOGY                       HAVENER, LARRY                     HAVENS, ERIN J.
4130 FLAT ROCK 170                     88 LEE 334                         ADDRESS ON FILE
RIVERSIDE, CA 92505                    HUGHES, AR 72348




HAVERFIELD, KAREN L.                   HAVET, ISABELLE                    HAWAII RESIDENCY PROGRAMS INC
5140 TECHWOOD NW                       1798 COLUMBIA ST                   1356 LUSITANA STREET
NO CANTON, OH 44720                    EUGENE, OR 97403                   ROOM 619
                                                                          HONOLULU, HI 96813




HAWES, DORA E.                         HAWES, JONATHAN                    HAWES, SHAINAH P.
2644 COUNTY RD 788                     301 N MAIN ST                      ADDRESS ON FILE
IDER, AL 35981                         LEBANON, OR 97355




HAWK, ALISA A.                         HAWK, CAROL                        HAWK, DAVID P.
606 GRANITE LANE                       165 HOWELL PL NW                   2706 IOWA ST
LOGANVILLE, GA 30052                   MASSILLON, OH 44647-6070           GRANITE CITY, IL 62040




HAWK, DEBORAH                          HAWK, DOROTHY C.                   HAWK, MATHEW G.
417 POPLAR AVE NW                      2446 OLD US HWY 51                 9009 WILLOWDALE ST
CANTON, OH 44708                       MAKANDA, IL 62958                  MAGNOLIA, OH 44643




HAWK, STEPHEN                          HAWK, TANYA                        HAWKE, CODEY T.
87860 TERRITORIAL ROAD SPACE 71        981 S ACADEMY ST                   466 E. DURFEE ST.
VENETA, OR 97487                       GALESBURG, IL 61401                GRANTSVILLE, UT 84029




HAWKINS BRAD D                         HAWKINS LAWN SERVICE               HAWKINS ROBERT C
195 HWY 2                              2552 MT PLEASANT RD                5581 HARDSCRABBLE RD
BLUE RIDGE, GA 30513-3557              MURPHY, NC 28906                   MINERAL BLUFF, GA 30559
HAWKINS, AMBER              Case 20-10766-BLS    Doc
                                          HAWKINS, AMY 6
                                                       D. Filed 04/07/20   Page HAWKINS,
                                                                                761 of 1969
                                                                                         AUTUMN
ADDRESS ON FILE                            304 CHESTNUT GAP LANE                632 E COACH LN
                                           BLUE RIDGE, GA 30513-0000            GRANTSVILLE, UT 84029




HAWKINS, BIANCA                            HAWKINS, BRADLEY                     HAWKINS, CHRISTINA M.
14612 DORCHESTER AVE DOLTON IL             315 CLINTON STREET                   ADDRESS ON FILE
CALUMET CITY, IL 60419                     LAFAYETTE, LA 70501




HAWKINS, CODY J.                           HAWKINS, COLETTE                     HAWKINS, CRISTINA M.
OR LISA KRATZ                              220 FIELD CROSSING                   4444 GOODING ST. SW
2280 NEIL AVE                              APT 18                               CANTON, OH 44706
COLUMBUS, OH 43201-1007                    HIGHLAND, IL 62249




HAWKINS, DEMETRIA A.                       HAWKINS, DONNA                       HAWKINS, EARLINE
228 RUSSELL ST                             ADDRESS ON FILE                      ADDRESS ON FILE
CLARKSDALE, MS 38614




HAWKINS, FRANK E.                          HAWKINS, HOLLY A.                    HAWKINS, JENNIFER P.
14110 S KEELER ST                          10238 EXCHANGE RD                    2387 GA HWY 102
CRESTWOOD, IL 60445                        SPARTA, IL 62286                     WARTHEN, GA 31094-3615




HAWKINS, MAYA                              HAWKINS, MICHAL A.                   HAWKINS, SARA A.
1410 W BLVD ST. APT 1410E                  ADDRESS ON FILE                      ADDRESS ON FILE
MARION, IL 62959




HAWKINS, SUSAN L.                          HAWKINS, TERRIE L.                   HAWKINS, THURMAN
ADDRESS ON FILE                            THE ESTATE OF 6004 E STREET          1522 LEE 126 RD
                                           SPRINGFIELD, OR 97478                MARIANNA, AR 72360




HAWKINS, TONYA                             HAWKINS, TRIANA                      HAWKINS, VICKI D.
ADDRESS ON FILE                            10629 S CALUMET AVE                  4596 COUNTY RD 57
                                           CHICAGO, IL 60628                    DAWSON, AL 35963




HAWKINS, ZOE                               HAWKINSON, ALLAN B.                  HAWKINSON, CARRIE
1004 HAPS WAY                              584 AUTO CENTER DR ROOM 112          385 KNOX RD 2000N
MESQUITE, NV 89027                         WATSONVILLE, CA 95076                GALESBURG, IL 61401




HAWKS JANITORIAL LLC                       HAWLEY, CANDICE L.                   HAWN, KENNETH
632 E COACH LANE                           40 EAGLE DRIVE                       1206 BLUE SPRUCE LN
GRANTSVILLE, UT 84029                      SPARTA, IL 62286                     COLUMBIA, IL 62236
HAWS RAY L                Case 20-10766-BLS    Doc 6
                                        HAWS, GLEN         Filed 04/07/20   Page HAWS,
                                                                                 762 of  1969
                                                                                       LORI
525 S DRISTEENA WY                      167 S. 9TH ST                            167 S 9TH ST
GRANTSVILLE, UT 84029                   WOOD RIVER, IL 62095                     WOOD RIVER, IL 62095




HAWS, SHAMUS                            HAWTHORNE LORI M                         HAWTHORNE, LARETTA M.
4100 N 1200 W                           2828 BETH ANN CT                         2125 N ELMWOOD AVE APT 2B
ERDA, UT 84074                          GRANITE CITY, IL 62040                   WAUKEGAN, IL 60087




HAWTHORNE, NICOLE                       HAY, ABIGAIL                             HAY, BEVERLY
1444 WALNUT RIDGE                       1215 7TH STREET                          225 23RD ST NW
ELLIJAY, GA 30536-1997                  HUNTINGTON, WV 25701                     MASSILLON, OH 44647




HAY, MELISSA                            HAY, REBECCA E.                          HAY, RICKY
929 WHIPPOORWILL WAY                    16 WEST SHORE DRIVE                      5115 LAKE BONITA ROAD
EDWARDSVILLE, IL 62025                  TRENTON, TN 38382                        CATLETTSBURG, KY 41129-0000




HAY, TIMOTHY E.                         HAYATO UNSETH, CRISTIANE                 HAYCRAFT, STACI
ADDRESS ON FILE                         440 BROADVIEW AVE                        ADDRESS ON FILE
                                        HIGHLAND PARK, IL 60035




HAYDEN BLANKENSHIP                      HAYDEN KISER                             HAYDEN MEDICAL INC
346 LAW RD                              1047 DAISY LANE                          19425 SOLEDAD CANYON RD 411
JACKSON, TN 38305                       LOUISA, KY 41230                         SANTA CLARITA, CA 91351




HAYDEN ROBERT                           HAYDEN, BRANDY T.                        HAYDEN, BRITTANY A.
20 HOLLY HILL RIDGE                     ADDRESS ON FILE                          1924 LYNN AVE
MURPHY, NC 28906                                                                 GRANITE CITY, IL 62040




HAYDEN, HEATHER M.                      HAYDEN, JEFFREY L.                       HAYDEN, KATRINA
ADDRESS ON FILE                         103 EVERGREEN ST                         ADDRESS ON FILE
                                        ANNA, IL 62906




HAYDEN, PENNY                           HAYDON, TAMARA                           HAYES DANA B
8042 BIENVILLE DR A-108                 ADDRESS ON FILE                          35 RIVER DRIVE
NASHVILLE, TN 37211                                                              MINERAL BLUFF, GA 30559




HAYES ENERGY SERVICES LLC               HAYES ENERGY SERVICES LLC                HAYES ENERGY SERVICES LLC
123 ADDRESS RD                          4055 STEELE STATION RD                   4055 STEELE STATION RD
RAINBOW CITY, AL 12323                  RAINBOW CITY, AL 35906                   RANIBOW CITY, AL 35906
                       Case 20-10766-BLS
HAYES ENERGY SERVICES LLC            HAYES II,Doc
                                              NEAL 6
                                                   H.     Filed 04/07/20   Page HAYES
                                                                                763 of  1969 L
                                                                                      MARISSA
HELENA MUNICIPAL WATER & SEWER       ADDRESS ON FILE                            P.O. BOX 747
702 CHERRY STREET                                                               BLUE RIDGE, GA 30513-0013
HELENA, AR 72342




HAYES PAUL D                          HAYES, APRIL                              HAYES, BOBBY
159 BENEFIELD RD                      104 WHITE PINE DRIVE                      93 MISTY MTN TR
TURTLETOWN, TN 37391                  PLYMOUTH, NC 27962                        MORGANTON, GA 30560




HAYES, BRITTANY                       HAYES, CHRISTINE                          HAYES, CHRISTOPHER
204 WALTON ST                         ADDRESS ON FILE                           11550 S. BISHOP
MONROE, GA 30655                                                                CHICAGO, IL 60643




HAYES, COLLEEN F.                     HAYES, COLLEEN F.                         HAYES, DIANE
4105 STATE RT 156                     ADDRESS ON FILE                           111 LAUREL CROSSING
WATERLOO, IL 62298                                                              BLUE RIDGE, GA 30513




HAYES, HANNAH                         HAYES, JACK W.                            HAYES, JENNIFER A.
141 SCHOOL ST                         2551 PARK FOREST DR                       6928 HWY 1690
GLEN CARBON, IL 62034                 EUGENE, OR 97405-0000                     LOUISA, KY 41230




HAYES, JERI M.                        HAYES, JESSICA                            HAYES, JONI M.
ADDRESS ON FILE                       ADDRESS ON FILE                           ADDRESS ON FILE




HAYES, KATIE                          HAYES, LATASHA                            HAYES, LAWRENCE W.
7916 S MERRILL AVE                    510 HOLCOMB ST                            111 LAUREL CROSSING
CHICAGO, IL 60617                     GRAYSON, KY 41143                         BLUE RIDGE, GA 30513




HAYES, LOCUMS                         HAYES, MEGAN                              HAYES, MONICA
6700 N ANDREWS AVE SUITE 600          3874 KEITH VALLEY RD                      ADDRESS ON FILE
FT LAUDERDALE, FL 33309-0000          COHUTTA, GA 30710




HAYES, PAULA S.                       HAYES, QUINTIN D.                         HAYES, UTLEY & HEDGSPETH
ADDRESS ON FILE                       2731 STONEBRIDGE COURT                    P.O. BOX 991069
                                      MARYVILLE, IL 62062                       LOUISVILLE, KY 40269-1069




HAYGOOD, AMIEE                        HAYGOOD, AMIEE                            HAYGOOD, KARIS
ADDRESS ON FILE                       ADDRESS ON FILE                           1033 NORTH AVE
                                                                                WAUKEGAN, IL 60085
HAYLEE NIERMANN             Case 20-10766-BLS
                                          HAYLES, Doc 6 JANE
                                                  CHERYL  Filed
                                                             M. 04/07/20   Page HAYLEY,
                                                                                764 ofKIM
                                                                                        1969
                                                                                          T.
108 E EGYPTIAN DR                          429 HORSESHOE DRIVE APT B            105 ANGE DRIVE
HERRIN, IL 62948                           DEMING, NM 88030                     PLYMOUTH, NC 27962




HAYMON BRADLEY                             HAYMON, KRISTEN M.                   HAYMORE, JENNIFER L.
801 HUDGENS ST                             ADDRESS ON FILE                      ADDRESS ON FILE
FYFFE, AL 35971-5255




HAYMORE, TERESA                            HAYNAM, ROBERT                       HAYNER CHELSEA
POB 2544                                   2329 17TH ST SE                      1699 N TERRY ST SPC 201
BLUE RIDGE, GA 30513                       EAST CANTON, OH 44730                EUGENE, OR 97402




HAYNES SABRINA G                           HAYNES, BETTY                        HAYNES, BILLY
575 KAIN AVE                               15 HAYNES DRIVE                      725 N AMERICA ROAD
RAINSVILLE, AL 35986-8061                  HINDMAN, KY 41822                    GALATIA, IL 62935




HAYNES, DELLOYD                            HAYNES, ELIANA G.                    HAYNES, HOSEA J.
P O BOX 1216                               3838 KENDRA STREET                   12507 S MARSHFIELD AVE
DEMING, NM 88031                           EUGENE, OR 97404-0000                CALUMET PARK, IL 60827-5940




HAYNES, LOREE                              HAYNES, NORMA                        HAYNES, STEPHANIE L.
ADDRESS ON FILE                            303 WALKER DRIVE                     ADDRESS ON FILE
                                           MONROE, GA 30655-2244




HAYNES, THERASA M.                         HAYNES, TONONA                       HAYNES, WENDELL
208 SPRINGDALE DR                          1145 WILLIAMS GROVE RD               611 W PINE 7
BELLEVILLE, IL 62223                       CAMDEN, TN 38320                     DEMING, NM 88030




HAYS JR., ROBERT W.                        HAYS JR., ROBERT W.                  HAYS LEAH
7248 ALTHORP WAY                           ADDRESS ON FILE                      3550 COUNTY RD 83
NASHVILLE, TN 37211                                                             COLLINSVILLE, AL 35961




HAYS PLUMBING & HEATING, INC               HAYS, AMANDA                         HAYS, BRANDI R.
600 RAILROAD AVE                           5161 LOIS LN                         ADDRESS ON FILE
LAS VEGAS, NM 87701                        KELL, IL 62853




HAYS, GEORGE S.                            HAYS, KATHLEEN M.                    HAYS, KAYLIE
963 LONG CANE RD                           ADDRESS ON FILE                      97 TIMBER RIDGE DR
EDGEFIELD, SC 29824-4157                                                        LEXINGTON, TN 38351
HAYS, OLIVER R.            Case 20-10766-BLS     Doc 6
                                         HAYS, PHILLIP      Filed 04/07/20   Page HAYS,
                                                                                  765 of  1969L.
                                                                                        TABITHA
ADDRESS ON FILE                           113 OLIVER DRIVE                        ADDRESS ON FILE
                                          JACKSON, KY 41339




HAYS, VADA                                HAYWOOD, BEVERLY A.                     HAYWOOD, SHERRY A.
ADDRESS ON FILE                           3085 NEW ZION RD                        38 16TH ST S.E.
                                          MCKENZIE, TN 38201                      MASSILLON, OH 44646




HAZARD FIRE & SAFETY EQUIP                HAZARD PETROLEUM INC.                   HAZARDOUS WASTE HAULERS,INC
P.O. BOX 147                              P.O. BOX A                              21745 MONI DRIVE
BONNYMAN, KY 41719                        985 HIGHWAY 80 WEST                     NEW LENOX, IL 60451
                                          COMBS, KY 41729




HAZEL, LORA J.                            HAZEL, LORA                             HAZEL, SONYA
ADDRESS ON FILE                           ADDRESS ON FILE                         5393 PHILLIPS RD 529
                                                                                  ELAINE, AR 72333




HAZELBAKER, ELIZABETH                     HAZELETT, CLYDE S.                      HAZELLIEF, ANGELA
ADDRESS ON FILE                           ADDRESS ON FILE                         22243 HIGHWAY 176
                                                                                  COLLINSVILLE, AL 35961




HAZELTON, JACLYN                          HAZEN, ERIN E.                          HAZEN-DIEHM, KEITH
325 TIMOTHY ST.                           204 FALLING LEAF WAY                    ADDRESS ON FILE
JUNCTION CITY, OR 97448                   MASCOUTAH, IL 62258




HAZLETT, WANDA                            HAZZARD MOVING & STORAGE CO             HAZZARD, AARON R
ADDRESS ON FILE                           3728 MARKET STREET                      6821 RIPPLE CREEK DRIVE
                                          SUITE 170                               LAFAYETTE, IN 47905-7537
                                          ST LOUIS, MO 63110




HAZZARD, AARON R.                         HBAC SPECILATIES                        HBD LAND INC
6821 RIPPLE CREEK DRIVE                   3223 WINNEBAGO ST.                      644 KINGSRIDGE DR
LAFAYETTE, IN 47905-7537                  RIVERSIDE, CA 92503                     MONROE, GA 30655-2040




HC PRO                                    HCCA                                    HCP FANNIN MEDICAL INVESTORS
P.O. BOX 5094                             6500 BARRIE ROAD                        POB 404485
BRENTWOOD, TN 37024                       STE 250                                 ATLANTA, GA 30384-4485
                                          MINNEAPOLIS, MN 55435




HCP MOB MESQUITE, LLC                     HCP,INC                                 HCPI/UTAH II- EVANSTON MOB
C/O HCP, INC.                             FILE 50144                              FILE 59920
3760 KILROY AIRPORT WAY                   LOS ANGELES, CA 90074-0144              LOS ANGELES, CA 90074-9920
SUITE 300
LONG BEACH, CA 90806
HCPI/UTAH,II LLC        Case 20-10766-BLS     Doc 6 HEALTH
                                      HCPRO DECISION  Filed 04/07/20       Page HCPRO
                                                                                766 ofINC1969
HCP MOB MESQUITE 2037                 P.O. BOX 5094                             P.O. BOX 5094
FILE 748406                           BRENTWOOD, TN 37024-5094                  BRENTWOOD, TN 37024-5094
LOS ANGELES, CA 90074-8406




HCPRO                                 HCPRO                                     HCTEC LLC
100 WINNDER CIRCLE, SUITE 300         P O BOX 5094                              P.O. BOX 306180
BRENTWOOD, TN 37027                   BRENTWOOD, TN 37024                       NASHVILLE, TN 37230-6180




HCTEC PARTNERS LLC                    HCTEC PARTNERS LLC                        HD COURIER
5106 MARYLAND WAY                     P.O. BOX 306180                           P.O. BOX 281
BRENTWOOD, TN 37027                   NASHVILLE, TN 37230-6180                  REDMOND, OR 97756-0000




HD MEDIA                              HD SUPPLY /PEACHTREE                      HEAD, GINGER M.
P O BOX 2017                          P.O. BOX 509058                           ADDRESS ON FILE
HUNTINGTON, WV 25720                  SAN DIEGO, CA 92150-9058




HEAD, MARILYN                         HEAD, MICHAEL                             HEAD, ROBERT L. JR
4137 DEERFIELD AVE S                  376 TOCCOA FARMS RD                       P.O. BOX 2628
DALTON, OH 44618                      MORGANTON, GA 30560                       BLAIRSVILLE, GA 30514




HEAD, STEPHEN                         HEADD, SARAH N.                           HEADLEY, SEAN M.
525 FOREST ST                         527 E EVERETT ST                          2813 BUXTON AVE
MONROE, GA 30655                      MARION, IL 62959                          GRANITE CITY, IL 62040




HEADMAN, NATALEE                      HEADRICK MARTHA A                         HEADRICK, DONNA E.
474 ALFRED DR                         1934 STREAK HILL RD                       ADDRESS ON FILE
TOOELE, UT 84074                      HIAWASSEE, GA 30546




HEADSETS.COM, INC                     HEAGY, CYNTHIA L.                         HEAGY, CYNTHIA
211 AUSTIN ST                         ADDRESS ON FILE                           ADDRESS ON FILE
SAN FRANCISCO, CA 94109




HEALES, TARA                          HEALOGICS SPEC PHYS OF OREGON, LLC        HEALOGICS SPEC PHYS OF OREGON, LLC
ADDRESS ON FILE                       28525 NETWORK PLACE                       28526 NETWORK PLACE
                                      CHICAGO, IL 60673-1285                    CHICAGO, IL 60673-1285




HEALOGICS WOUND CARE & HYPERBARIC     HEALOGICS WOUND CARE & HYPERBARIC         HEALOGICS WOUND CARE & HYPERBARIC
SERVICE                               SVCS INC                                  SVCS INC
28525 NETWORK PLACE                   28525 NETWORK PL                          28525 NETWORK PL
CHICAGO, IL 60673-1285                CHICAGO, IL 60673-1285                    CHICAGO, IL 66073-1285
HEALOGICS WOUND CARE &Case  20-10766-BLS
                       HYPERBARIC            Doc
                                     HEALOGICS     6 Filed
                                                 WOUND CARE &04/07/20
                                                              HYPERBARIC Page HEALOGICS
                                                                               767 of 1969
                                                                                         WOUND CARE
SVCS INC                             SVCS INC                                 & HYPERBARIC SVCS INC
5220 BELFORT ROAD                    P.O. BOX 551187                          28525 NETWORK PL
SUITE 130                            JACKSONVILLE, FL 32255                   CHICAGO, IL 66073-1285
JACKSONVILLE, FL 32256



HEALTH ADMIN CENTER                    HEALTH ADMIN CENTER                     HEALTH ADVOCATE SOLUTIONS
3773 CHERRY CREEK N DR                 P.O. BOX 469064                         P.O. BOX 561509
DENVER, CO 80209-0000                  ATTN: CLAIMS DEPARTMENT                 DENVER, CO 80256-1509
                                       DENVER, CO 82046-9064




HEALTH ALLIANCE - HEALTHLINK           HEALTH ALLIANCE HMO                     HEALTH ALLIANCE MEDICAL PLAN INC
P.O. BOX 6003                          P.O. BOX 6003                           ATTN: CASH SERVICES
ATTN: VOLUNTARY REFUNDS                SCHAUMBURG, IL 60168-4003               P.O. BOX 6003
URBANA, IL 61803-6003                                                          URBANA, IL 61803-6003




HEALTH ALLIANCE MEDICAL PLANS ATTN:    HEALTH ALLIANCE MEDICAL PLANS           HEALTH ALLIANCE MEDICAL
RECOVERY DEPT                          ATTN: RECOVERY DEPARTMENT               RECOVERY DEPT
3310 FIELDS SOUTH DR                   3310 FIELDS SOUTH DRIVE                 301 SOUTH VINE ST
CHAMPAIGN, IL 61822                    CHAMPAIGN, IL 61822                     URBANA, IL 61801




HEALTH ALLIANCE RECOVERT               HEALTH ALLIANCE RECOVERY DEPT           HEALTH ALLIANCE RECOVERY
P.O. BOX 772837                        P.O. BOX 6003                           3310 FIELDS SOUTH DRIVE
CHICAGO, IL 60677-2837                 URBANA, IL 61803-6003                   CHAMPAIGN, IL 61822




HEALTH ALLIANCE RECOVERY               HEALTH ALLIANCE                         HEALTH ALLIANCE
P.O. BOX 772837                        102 E MAIN ST                           301 S VINE ST
CHICAGO, IL 60677-2837                 URBANA, IL 61801                        URBANA, IL 61801




HEALTH ALLIANCE                        HEALTH ALLIANCE                         HEALTH ALLIANCE
301 S VINE                             301 SOUTH VINE                          P O BOX 6003
URBANA, IL 61801                       URBANA, IL 61801                        URBANA, IL 61803




HEALTH ALLIANCE                        HEALTH ALLIANCE                         HEALTH ALLIANCE
P O BOX 6003                           P.O. BOX 30114                          P.O. BOX 6003
URBANA, IL 61803-6003                  SALT LAKE CITY, UT 84130                CLAIMS DEPARTMENT
                                                                               URBANA, IL 61801-6003




HEALTH ALLIANCE                        HEALTH ALLIANCE                         HEALTH ALLIANCE
P.O. BOX 6003                          P.O. BOX 6003                           P.O. BOX 6003
CLAIMS DEPARTMENT                      CLAIMS DEPARTMENT                       URBANA, IL 61803-6003
URBANA, IL 61803                       URBANA, IL 61803-6003




HEALTH ALLIANCE                        HEALTH ALLIANCE                         HEALTH ALLIANCE
P.O. BOX 772837                        PO BOX 6003                             PO BOX 6003
CHICAGO, IL 60677                      CLAIMS DEPARTMENT                       URBANA, IL 61803
                                       URBANA, IL 61801-6003
HEALTH ALLIANCE           Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                        HEALTH ALLIANCE                  Page HEALTH
                                                                              768 ofAMERICA
                                                                                     1969 PA - REFUNDS
PO BOX 772837                           RECOVERY DEPARTMENT                   P.O. BOX 8500-784182
CHICAGO, IL 60677                       3310 FIELDS SOUTH DR                  PHILADELPHIA, PA 19178
                                        CHAMPAIGN, IL 61822




HEALTH AMERICA                          HEALTH AND FAMILY SERVICES            HEALTH BENEFIT FUND LOCAL 17
P.O. BOX 935005                         2200 CHURCHILL ROAD                   ATTN JOY
C/O COTIVITI HEALTHCARE                 A1                                    P.O. BOX 160
ATLANTA, GA 31193-5005                  SPRINGFIELD, IL 62702                 PEWAUKEE, WI 53187-0000




HEALTH CARE AUTHORITY OF CITY OF        HEALTH CARE COMPLIANCE ASSOC          HEALTH CARE INDEMNITY, INC
GREENVILLE, THE                         6500 BARRIE ROAD                      1100 DR MARTIN L KING JR BLVD
DBA LV STABLER MEMORIAL HOSPITAL        SUITE 250                             SUITE 500, ATTN: INS DEPT
29 LV STABLER DR                        MINNEAPOLIS, MN 55435                 NASHVILLE, TN 37203
GREENVILLE, AL 36037



HEALTH CARE INDEMNITY, INC, INSURANCE   HEALTH CARE INSPIRATION               HEALTH CARE LOGISTICS INC
DEPT                                    4237 S. MARKET COURT, STE C           P.O. BOX 400
1100 CHARLOTTE AVE, SUITE 800           SACRAMENTO, CA 95834-1230             CIRCLEVILLE, OH 43113-0400
NASHVILLE, TN 37203




HEALTH CARE LOGISTICS                   HEALTH CARE LOGISTICS, INC.           HEALTH CARE SERVICE CLAIMS
PO BOX 400                              P.O. BOX 25                           OVERPAYMENT
CIRCLEVILLE, OH 43113                   CIRCLEVILLE, OH 43113                 29068 NETWORK PLACE
                                                                              CHICAGO, IL 60673




HEALTH CARE SERVICE CORP                HEALTH CARE SERVICE CORP              HEALTH CARE SERVICE CORP
25552 NETWORK PLACE                     25718 NETWORK PLACE                   25718 NETWORK PLACE
CHICAGO, IL 60673-1255                  REFUND/CASH DISBURSEMENTS             REFUND/CASH DISBURSEMENTS
                                        CHICAGO, IL 60673                     CHICAGO, IL 60673-1255




HEALTH CARE SERVICE CORP                HEALTH CARE SERVICE CORP              HEALTH CARE SERVICE CORP
300 EAST RANDOLPH                       P.O. BOX 952366                       REFUND/CASH DISBURSEMENTS
CHICAGO, IL 60601                       ST LOUIS, MO 63195                    25718 NETWORK PLACE
                                                                              CHICAGO, IL 60673-1257




HEALTH CARE SERVICES CORP               HEALTH CARE SERVICES CORP             HEALTH CARE SYSTEMS INC
25718 NETWORK PLACE                     REFUND/CASH DISBURSEMENTS             5755 CARMICHAEL PARKWAY
REFUND/CASH DISBURSEMENTS               25718 NETWORK PLACE                   MONTGOMERY, AL 36117
CHICAGO, IL 60673-1257                  CHICAGO, IL 60673-1257




HEALTH CAREER CONNECTION                HEALTH CAROUSEL LLC                   HEALTH CAROUSEL LLC
300 FRANK OGAWA PLAZA STE 243           P.O. BOX 714216                       P.O. BOX 714216
OAKLAND, CA 94612                       CINCINNATI, OH 45271-4216             CINNCINNATI, OH 45271-4216




HEALTH CHOICE ENTERPRISES, LLC          HEALTH CHOICE ENTERPRISES, LLC        HEALTH CHOICE UTAH
4350 BROWNSBORO ROAD SUITE 133          4350 BROWNSBORO ROAD, STE 133         410 N 44TH ST SUITE 925
LOUISVILLE, KY 40207                    LOUISVILLE, KY 40207                  PHOENIX, AZ 85008
HEALTH CHOICE            Case 20-10766-BLS    Doc INSIGHTS
                                       HEALTH DATA 6 Filed 04/07/20       Page HEALTH
                                                                               769 ofENGINE,
                                                                                      1969 LLC
410 NORTH 44TH STREET                  9275 W TUSSEL RD STE 100 MS 4-R         ONE EAST UPPER WACKER DRIVE 3910
PHOENIX, AZ 85008                      LAS VEGAS, NV 89148                     CHICAGO, IL 60601




HEALTH ENVIRONMENT ART SERVICES INC    HEALTH EQUITY INC                       HEALTH EQUITY
76 W SEEGERS RD                        15 WEST SCENIC POINT DR. STET400        15 WEST SCENIC PONTE DR
ARLINGTON HEIGHTS, IL 60005            ATTN: MEDICAL REFUNDS                   SUITE 400
                                       DRAPER, UT 84020                        DRAPER, UT 84020




HEALTH EQUITY                          HEALTH FACILITIES PLANNING AND          HEALTH FACILITY SERVICES
ATTN: MEDICAL REFUNDS                  DEVELOPMENT                             ATTN: LIZ DAVIS
15 W SCENIC POINTE DR STE 100          120 - 1ST AVE WEST, SUITE 100           5800 W. 10TH STREET, SUITE 400
DRAPER, UT 84020                       SEATTLE, WA 98119                       LITTLE ROCK, AR 72204




HEALTH GRADES, INC                     HEALTH GRID, LLC                        HEALTH GRID, LLC
8503 SOLUTION CENTER                   4203 VINELAND ROAD                      C/O RYAN A. KURTZ, MILLER & MARTIN PLLC
CHICAGO, IL 60677-8005                 SUITE K6                                1180 WEST PEACHTREE ST. NW, SUITE 2100
                                       ORLANDO, FL 32811                       ATLANTA, GA 30309




HEALTH MONITORING SYSTEMS, INC.        HEALTH NAUTICA                          HEALTH NET FEDERAL SERVICES LLC
700 RIVER AVE STE 100                  1 SOUTH 376 SUMMIT AVE                  P.O. BOX 2890
PITTSBURGH, PA 15212                   OAKBROOK TERRACE, IL 60181              ATTN: REFUND DEPT
                                                                               RANCHO CORDOVA, CA 95741




HEALTH NET FEDERAL SERVICES,LLC        HEALTH NET FEDERAL SERVICES,LLC         HEALTH NET FEDERAL SERVICES,LLC
P.O. BOX 2606                          P.O. BOX 2890                           P.O. BOX 2890
VIRGINIA BEACH, VA 23450               ATTN: REFUND DEPT                       RANCHO CORDOVA, CA 95741
                                       RANCHO CORDOVA, CA 95741




HEALTH NET FEDERAL SERVICES,LLC        HEALTH NET OF OREGON                    HEALTH NET
P.O. BOX 870140                        P.O. BOX 9103                           FILE 056527
SURFSIDE BEACH, SC 29587-0000          VAN NUYS, CA 91409                      LOS ANGELES, CA 90074




HEALTH NET                             HEALTH NET                              HEALTH NET
FILE 56527                             P.O. BOX 419089                         P.O. BOX 419089
LOS ANGELES, CA 90074                  FINANCE DEPT PC3                        FINANCE DEPT PC3
                                       RANCHO CORDOVA, CA 95742-9110           RONCHO CORDOVA, CA 95742-9110




HEALTH NET                             HEALTH NET                              HEALTH OPTIONS OF ILLINOIS
P.O. BOX 9040                          REFUNDS FILE 06527                      P.O. BOX 678
FARMINGTON, MO 63640-9040              LOS ANGELOS, CA 90074                   HINSDALE, IL 60521




HEALTH PARTNERS                        HEALTH PARTNERS                         HEALTH PARTNERS
P.O. BOX 1289                          P.O. BOX 1289                           PO BOX 1289
MINNEAPOLIS, MN 55440                  MINNEAPOLIS, MN 55440-1289              MINNEAPOLIS, MN 55440-1289
                      Case 20-10766-BLS
HEALTH PHYSICS NORTHWEST                   Doc ADMINISTRATORS
                                    HEALTH PLAN 6 Filed 04/07/20
                                                              LLC       Page HEALTH
                                                                             770 ofPLAN
                                                                                    1969OF UPPER OHIO VALLEY, THE
7525 SE LAKE ROAD                   54 WESTCHESTER DR                        P.O. BOX 4816
MILWAUKIE, OR 97267                 STE 20                                   MASSILLON, OH 44648-9908
                                    YOUNGSTOWN, OH 44515




HEALTH PLAN SECURECARE MC, THE      HEALTH PROMOTIONSNOW                     HEALTH SERVICES CONSULTANTS
P.O. BOX 4816                       1270 GLEN AVE                            P.O. BOX 3037
MASSILLON, OH 44648                 MOORESTOWN, NJ 08057                     4102 BELMONT POINT
                                                                             CHAMPAIGN, IL 61826-3037




HEALTH SPECIAL RISK, INC            HEALTH STREAM, INC                       HEALTH STREAM, INC
4100 MEDICAL PARKWAY                209 10TH AVE SOUTH, SUITE 450            SARA STANTON
CARROLLTON, TX 75007                NASHVILLE, TN 37023                      REGIONAL CLIENT ACCOUNT EXECUTIVE
                                                                             500 11TH AVENUE, NORTH, SUITE 1000
                                                                             NASHVILLE, TN 37203



HEALTH TRUST WORKFORCE SOLUTIONS    HEALTH TRUST WORKFORCE SOLUTIONS,        HEALTH TRUST WORKFORCE SOLUTIONS,
JEFFREY GREENLUND                   LLC                                      LLC
VP OF STRATEGIC ACCOUNTS            P.O. BOX 742697                          PO BOX 742697
1000 SAWGRASS PARKWAY               ATLANTA, GA 30374-2697                   ATLANTA, GA 30374-2697
SUNRISE, FL 33323



HEALTHAMERICA PA                    HEALTHAMERICA                            HEALTHCARE & FAMILY SERV OF IL
P.O. BOX 935005                     P.O. BOX 67103                           201 S GRAND AVE EAST
COTIVITI HEALTHCARE                 HARRISBURG, PA 17106-7103                SPRINGFIELD, IL 62763
ATLANTA, GA 31193-5005




HEALTHCARE & FAMILY SERVICES        HEALTHCARE & FAMILY SERVICES             HEALTHCARE & FAMILY SERVICES
2200 CHURCHILL ROAD, A-1            ATTN: RAC COLLECTION UNIT                BUREAU OF FISCAL OPERATIONS
OIG-COLLECTIONS UNIT                2200 CHURCHILL ROAD, BUILDING A-1        P.O. BOX 19491
SRPINGFIELD, IL 62702               SPRINGFIELD, IL 62702-0000               SPRINGFIELD, IL 62794-9491




HEALTHCARE & FAMILY SERVICES        HEALTHCARE & FAMILY SERVICES             HEALTHCARE AND FAMILY SERVICES
OIG-COLLECTIONS UNIT                THIRD PARTY LIABILITY SECTION            100 S GRAND AVE E
2200 CHURCHILL ROAD, A-1            P.O. BOX 19140                           SPRINGFIELD, IL 62762
SPRINGFIELD, IL 62702               SPRINGFIELD, IL 62794-9995




HEALTHCARE AND FAMILY SERVICES      HEALTHCARE AND FAMILY SERVICES           HEALTHCARE AND FAMILY SERVICES
BUREAU OF FISCAL OPERATIONS         OIG-COLLECTIONS UNIT                     P.O. BOX 19140
P.O. BOX 19491                      2200 CHURCHILL ROAD, A-1                 SPRINGFIELD, IL 62794-9995
SPRINGFIELD, IL 62794-9491          SPRINGFIELD, IL 62702




HEALTHCARE AND FAMILY SERVICES      HEALTHCARE APPRAISERS INC                HEALTHCARE APPRAISERS INC
P.O. BOX 19140                      2101 NW CORPORATE BLVD                   75 NW 1ST AVE
THIRD PARTY LIABILITY SECTION       STE 400                                  SUITE 201
SPRINGFIELD, IL 62794-9995          BOCA RATON, FL 33431                     DELRAY BEACH, FL 33444




HEALTHCARE DESIGN & CONSTRUCTION    HEALTHCARE EQUIPMENT FINANCE             HEALTHCARE EQUIPMENT FINANCE
18302 IRVINE BLVD. STE 120          P O BOX 641419                           P.O. BOX 641419
TUSTIN, CA 92780                    PITTSBURGH, PA 15264                     PITTSBURG, PA 15264-1419
                        Case 20-10766-BLS
HEALTHCARE EQUIPMENT FINANCE                  DocEQUIPMENT
                                      HEALTHCARE    6 FiledFINANCE
                                                            04/07/20     Page HEALTHCARE
                                                                              771 of 1969EQUIPMENT FINANCE
P.O. BOX 641419                       P.O. BOX 641419                         P.O. BOX 641419
PITTSBURGH, PA 15261-1419             PITTSBURGH, PA 15264                    PITTSBURGH, PA 15264-1419




HEALTHCARE EQUIPMENT FINANCE          HEALTHCARE EQUIPMENT FINANCE            HEALTHCARE EXTRANETS, LLC
P.O. BOX 645811                       P.O. BOX 645811                         P.O. BOX 92200
PITTSBURGH, PA 15264                  PITTSBURGH, PA 15264-1419               ALBUQUERQUE, NM 87199-2200




HEALTHCARE FACILITY REGULATION        HEALTHCARE FINANCIAL MANAGAMENT         HEALTHCARE FINANCIAL MANAGEMENT
DIVISION                              ASSOC.                                  ASSOCIATION
P.O. BOX 741328                       P.O. BOX 4237                           THREE WESTBROOK CORPORATE CENTER
ATLANTA, GA 30374-1328                CAROL STREAM, IL 60197-4237             STE 600
                                                                              WESTCHESTER, IL 60154-5700



HEALTHCARE FINANCIAL MGMT ASS0        HEALTHCARE INFECTION CONTROL            HEALTHCARE LOGISTICS, INC.
DEPT 77-5195                          SOLUTIONS                               P.O. BOX 400
CHICAGO, IL 60678-5195                325 LEFFINGWELL AVE                     CIRCLEVILLE, OH 43113-0400
                                      ST LOUIS, MO 63122




HEALTHCARE LOGISTICS, INC.            HEALTHCARE MANAGEMENT, LLC              HEALTHCARE PARTNERS OF NV
POB 400                               P.O. BOX 1929                           P.O. BOX 94017
CIRCLEVILLE, OH 43113-0400            GRAND JUNCTION, CO 81502                LAS VEGAS, NV 89193




HEALTHCARE PARTNERS                   HEALTHCARE RECEIVABLE SPECIALISTS INC   HEALTHCARE REIMBURSEMENT SOLUTIONS
P.O. BOX 95638                        100 N INDEPENDENCE MALL W               INC
LAS VEGAS, NV 89193-5638              STE 5NW - FEDERAL RESERVE BANK BLDG     1456 N KENNYMEAD ST
                                      PHILADELPHIA, PA 19106                  ORANGE, CA 92869




HEALTHCARE SERVICE CLIAMS             HEALTHCARE SERVICE CORP                 HEALTHCARE SERVICE CORP
OVERPAYMENT                           25552 NETWORK PLACE                     25553 NETWORK PLACE
29068 NETWORK PLACE                   CHICAGO, IL 60673                       CHICAGO, IL 60673
CHICAGO, IL 60673-1290




HEALTHCARE SERVICE CORP               HEALTHCARE SERVICE CORP                 HEALTHCARE SERVICE CORP
25718 NETWORK PLACE                   25718 NETWORK PLACE                     P O BOX 30870
CHICAGO, IL 60673-0000                REFUND DEPT                             ALBUQUERQUE, NM 87109
                                      CHICAGO, IL 60673




HEALTHCARE SERVICE CORP               HEALTHCARE SERVICE CORP                 HEALTHCARE SERVICE CORPORATION
P.O. BOX 952366                       REFUND DEPT                             300 EAST RANDOLPH
ST LOUIS, MO 63195                    25718 NETWORK PLACE                     CHICAGO, IL 60601-5099
                                      CHICAGO, IL 60673-1257




HEALTHCARE SERVICE CORPORATION        HEALTHCARE TRANSFORMATION, LLC          HEALTHCHOICE INTEGRATED CARE
P O BOX 731431                        70 WEST MADISON                         1300 S YALE ST
DALLAS, TX 75373-1431                 SUITE 1400                              FLAGSTAFF, AZ 86001
                                      CHICAGO, IL 60602
HEALTHCOM MEDIA         Case 20-10766-BLS     Doc 6INSTITUTIONAL
                                      HEALTHDIRECT     Filed 04/07/20   Page HEALTHDIRECT
                                                                             772 of 1969PHARMACY 128
259 VETERANS LANE SUITE 201           PHARMACY SERV INC 128                  7846 AVIATION DR
DOYLESTOWN, PA 18901                  P.O. BOX 988                           MARION, IL 62948
                                      BUFFALO, NY 14240-0988




HEALTHDIRECT PHARMACY 128             HEALTHEQUITY,INC                       HEALTHER GIBSON
7846 AVIATION DRIVE                   15 WEST SCENIC POINT DR STE 400        ADDRESS ON FILE
MARION, IL 62959                      DRAPER, UT 84020




HEALTHGRADES OPERATING COMPANY INC    HEALTHGRADES OPERATING COMPANY INC     HEALTHGRID COORDINATED CARE
8503 SOLUTION CENTER                  ROB DRAUGHON, CHIEF EXECUTIVE          SOLUTIONS INC
CHICAGO, IL 60677-8005                OFFICER                                4203 VINELAND RD
                                      999 18TH STREET SUITE 600              STE K-6
                                      DENVER, CO 80202                       ORLANDO, FL 32811



HEALTHICITY LLC                       HEALTHLINK DIMENSIONS LLC              HEALTHLINK DIMENSIONS
P.O. BOX 639428                       6 CONCOURSE PARKWAY                    6 CONCOURSE PARKWAY
CINCINNATI, OH 45263-9428             SUITE 1000                             SUITE 1000
                                      ATLANTA, GA 30328                      ATLANTA, GA 30328




HEALTHLINK FBO                        HEALTHLINK FBO                         HEALTHLINK HMO INC
STATE OF ILLINOIS HEALTH PLAN         STATE OF ILLINOIS HEALTH PLAN          CONDUENT
1831 CHESTNUT STREET                  1831 CHESTNUT STREET                   P.O.BOX 30114
ST LOUIS, MO 63103                    ST. LOUIS, MO 63103                    SALT LAKE CITY, UT 84130




HEALTHLINK HMO                        HEALTHLINK HMO                         HEALTHLINK HMO
P.O. BOX 411580                       P.O. BOX 411580                        P.O. BOX 6501
SAINT LOUIS, MO 63141-1580            ST LOUIS, MO 63141-1580                CAROL STREAM, IL 60197-6501




HEALTHLINK HMO                        HEALTHLINK INC                         HEALTHLINK OPEN ACCESS
P.O.BOX 419104                        P.O. BOX 6501                          P.O. BOX 411580
ST LOUIS, MO 63141                    CAROL STREAM, IL 60197-6501            ATTN: CLAIMS
                                                                             ST LOUIS, MO 63141-1580




HEALTHLINK ST OF IL HEALTH            HEALTHLINK STATE OF IL                 HEALTHLINK STATE OF ILLINOIS
1831 CHESTNUT ST                      FINANCE DEPT                           ATTN: FINANCE DEPARTMENT
ST LOUIS, MO 63103                    1831 CHESTNUT ST                       1831 CHESTNUT ST
                                      ST LOUIS, MO 63103                     ST. LOUIS, MO 63103




HEALTHLINK STATE                      HEALTHLINK                             HEALTHLINK
P.O. BOX 411580                       1831 CHESTNUT ST                       ATTN: REFUNDS MOM903-3189
ST LOUIS, MO 63141                    ST LOUIS, MO 63103                     1831 CHESTNUT ST
                                                                             ST LOUIS, MO 63103-0000




HEALTHLINK                            HEALTHLINK                             HEALTHLINK
ATTN:FINANCE-VENDOR REFUND            CLAIMS DEPT                            P.O. BOX 3008
1831 CHESTNUT ST                      P.O. BOX 411580                        NAPERVILLE, IL 60566
ST LOUIS, MO 63103                    ST LOUIS, MO 63141
HEALTHLINK               Case 20-10766-BLS    Doc 6
                                       HEALTHLINK          Filed 04/07/20   Page HEALTHLINK
                                                                                 773 of 1969
P.O. BOX 419104                        P.O. BOX 6501                            P.O. BOX 6501
ST LOUIS, MO 63141                     CAROL STREAM, IL 60197                   CAROL STREAM, IL 60197-6501




HEALTHLINK                             HEALTHLINK                               HEALTHLINK
PO BOX 6501                            STATE OF IL HEALTH PLAN REFUNDS          STATE OF IL HEALTH PLAN
CAROL STREAM, IL 60197                 P.O. BOX 8400                            1831 CHESTNUT STREET
                                       LONDON, KY 40742                         ST LOUIS, MO 63103




HEALTHLINK                             HEALTHLINK                               HEALTHLINK
STATE OF ILLINOIS HEALTH PLAN          STATE OF ILLINOIS HEALTH PLAN            STATE OF ILLINOIS HEALTH PLAN
1831 CHESTNUT ST                       1831 CHESTNUT STREET                     1831 CHESTNUT STREET
ST LOUIS, MO 63103                     ST LOUIS, MO 63103                       ST. LOUIS, MO 63103




HEALTHLINK                             HEALTHLINK, INC                          HEALTHLINK, INC.
STATE OF ILLINOIS HEALTH PLAN          P.O. BOX 6501                            P.O. BOX 6501
P.O. BOX 411580                        CAROL STREAM, IL 60197-6501              CAROL STREAM, IL 60197-6501
ST LOUIS, MO 63141




HEALTHLINK, INC.                       HEALTHLINK-STATE OF IL                   HEALTHMARK INDUSTRIES CO INC
P.O.BOX 6501                           ATTN: CLAIMS DEPT                        DEPT 7058
CAROL STREAM, IL 60197-6501            P.O. BOX 411580                          P.O. BOX 30516
                                       ST LOUIS, MO 63141                       LANSING, MI 48909-8016




HEALTHMARK INDUSTRIES INC              HEALTHMARK                               HEALTHNAUTICA
18600 MALYN                            DEPT 7058                                15376 SUMMIT AVE COUT B
FRASER, MI 48026-0000                  PO BOX 30516                             OAKBROOK TERRACE, IL 60181
                                       LANSING, MI 48909




HEALTHNET CA MEDI-CAL                  HEALTHNET FEDERAL SERVICES               HEALTHNET OF OREGON
P O BOX 14598                          PO BOX 2890                              13221 SW 68TH PKWY 200
LEXINGTON, KY 40512                    RANCHO CORDOVA, CA 95741                 TIGARD, OR 97223-8328




HEALTHNET OF OREGON                    HEALTHNET OR REFUNDS                     HEALTHNET PLAN OF OREGON
P.O. BOX 14130                         P O BOX 894290                           P O BOX 748084
LEXINGTON, KY 40512                    LOS ANGELES, CA 90189-4290               LOS ANGELES, CA 90074-8084




HEALTHNET PLAN OF OREGON               HEALTHNET RUBY MEDICARE                  HEALTHNET
P.O. BOX 748084                        P O BOX 9030                             P.O. BOX 14702
LOS ANGELES, CA 90074-8084             FARMINGTON, MO 63640-9030                LEXINGTON, KY 40512




HEALTHPLAN SECURECARE                  HEALTHPLN SECURECARE                     HEALTHPORT TECHNOLOGIES, LLC
1110 MAIN ST                           P.O. BOX 4816                            P.O. BOX 409669
ATTN: FUNDS RECOVERY DEPT              MASSILLON, OH 44648                      ATLANTA, GA 30384
WHEELING, WV 26003
                       Case 20-10766-BLS
HEALTHSCOPE BENEFITS INC                     Doc 6BENEFITS
                                     HEALTHSCOPE      FiledINC
                                                             04/07/20      Page HEALTHSCOPE
                                                                                774 of 1969BENEFITS INC
27 CORPORATE HILL DR                 ATTN: FINANCE/REFUNDS                      ATTN: MEDICAL REFUNDS
LITTLE ROCK, AR 72205                P.O. BOX 99004                             27 CORPORATE HILL DR
                                     LUBBOCK, TX 79490-9004                     LITTLE ROCK, AR 72205




HEALTHSCOPE BENEFITS INC              HEALTHSCOPE BENEFITS INC                  HEALTHSCOPE BENEFITS
ATTN: RECOVERIES DEPT                 P.O. BOX 93660                            27 CORPORATE HILL DR
P.O. BOX 779                          LUBBOCK, TX 79493                         LITTLE ROCK, AR 72205
LITTLE ROCK, AR 72203




HEALTHSCOPE BENEFITS                  HEALTHSCOPE                               HEALTHSCOPE
ATTN: FINANCE/REFUNDS                 27 CORPORATE HILL DR                      P.O.BOX 99005
P.O. BOX 99004                        LITTLE ROCK, AR 72205                     LUBBOCK, TX 79490
LUBBOCK, TX 79490-9004




HEALTHSMART BENEFIT SOLUTIONS         HEALTHSMART BENEFIT SOLUTIONS, INC        HEALTHSMART CASUALTY CLAIMS
ATTN: FINANCE/REFUNDS                 ATTN: OVERPAYMENT RECOVERY                P.O. BOX 3389
P.O. BOX 3262                         P.O. BOX 2451                             CHARLESTON, WV 25333-3389
CHARLESTON, WV 25332                  CHARLESTON, WV 25329-2451




HEALTHSMART                           HEALTHSPRING MCR REPLACEMENT              HEALTHSPRINGS
P.O. BOX 3244                         P. O. BOX 981804                          9701 W HIGGINS ROAD
CHARLESTON, WV 25332                  EL PASO, TX 79998                         STE 360
                                                                                ROSEMONT, IL 60018




HEALTHSPRINGS                         HEALTHSTREAM, INC.                        HEALTHSTREAM, INC.
P.O. BOX 20012                        209 10TH AVE SOUTH                        P.O. BOX 102817
NASHVILLE, TN 37202                   SUITE 450                                 ATLANTA, GA 30368-2817
                                      NASHVILLE, TN 37203




HEALTHTRONICS MOBILE SOLUTIONS        HEALTHTRUST INC                           HEALTHTRUST INC. WORKFORCE
P.O. BOX 95333                        HEALTHTRUST WORKFORCE SOLUTIONS           SOLUTIONS, LLC
GRAPEVINE, TX 76099-9732              LLC                                       P.O. BOX 742697
                                      P.O. BOX 742697                           ATLANTA, GA 30374-2697
                                      ATLANTA, GA 30374-2697



HEALTHTRUST PURCHASING GROUP          HEALTHTRUST WORKFORCE SOLUTIONS           HEALTHTRUST WORKFORCE SOLUTIONS,
1100 CHARLOTTE AVENUE                 2800                                      LLC
SUITE 1100                            P.O. BOX 742697                           1100 DR. MARTIN L. KING JR. BLVD
NASHVILLE, TN 37203                   ATLANTA, GA 30374-2697                    STE 1100
                                                                                NASHVILLE, TN 37203



HEALTHTRUST WORKFORCE SOLUTIONS,      HEALTHY CHILDREN PROJECT INC              HEALTHY U
LLC                                   327 QUAKER MEETING HOUSE RD               P.O. BOX 45180
P.O. BOX 742697                       EAST SANDWICH, MA 02537-0000              SALT LAKE CITY, UT 84145
ATLANTA, GA 30374-2697




HEALTHYWAGE LLC                       HEANEY, ALYSSA D.                         HEANEY, BARBARA
1234 S DIXIE HWY 1071                 ADDRESS ON FILE                           1343 RAINBOW CIR
CORAL GABLES, FL 33146                                                          MANTENO, IL 60950
HEANEY, VINCENT J.        Case 20-10766-BLS     Doc 6
                                        HEAP, DENISE        Filed 04/07/20   Page HEAP,
                                                                                  775 of  1969
                                                                                        SARAH J.
ADDRESS ON FILE                          ADDRESS ON FILE                          618 HERSCHLER AVE
                                                                                  EVANSTON, WY 82930-5125




HEAPE, CARROLL G.                        HEARD, DAONNA S.                         HEARD, LESSIE
2915 HARDING AVE                         ADDRESS ON FILE                          8336 S SCOTTSDALE AVE
GRANITE CITY, IL 62040                                                            CHICAGO, IL 60652




HEARD, SAVANNAH                          HEARN PAPER CO, THE                      HEARNE, KATHERINE F.
ADDRESS ON FILE                          556 N MERIDIAN RD                        10537 SHARON LN
                                         YOUNGSTOWN, OH 44509                     MOKENA, IL 60448




HEARNS, TERRELL                          HEARON, ANGELA L.                        HEART & LUNG
16225 CLIFTON PARK                       17757 PAXTON AVE                         117 SEABOARD LANE
MARKHAM, IL 60428                        LANSING, IL 60438                        SUITE D200
                                                                                  FRANKLIN, TN 37067




HEART CARE CENTERS OF ILLINOIS           HEART CARE IMAGING, INC                  HEART CARE SPECIALISTS, LLC
13011 S. 104 AVE, STE 100                760 NORTH US HIGHWAY ONE                 450 N NEW BALLAS ROAD
PALOS PARK, IL 60464                     TEQUESTA, FL 33469                       SUITE 270W
                                                                                  SAINT LOUIS, MO 63141




HEART OF TEXAS EMS, INC                  HEARTLAND BEHAVIORAL HEALTH              HEARTLAND BUSINESS CREDIT
P.O. BOX 3066                            3000 ERIE SOUTH                          390 UNION BLVD., STE 600
EARLY, TX 76803                          MASSILLON, OH 44646-7976                 LAKEWOOD, CO 80228




HEARTLAND COURIER SERVICE                HEARTLAND NATIONAL INS                   HEARTLAND NATIONAL INSURANCE
KELLEY BULLOCK                           P.O. BOX 10813                           P.O. BOX 2878
1209 ELECTION DRIVE                      CLEARWATER, FL 33757                     SALT LAKE CITY, UT 84110
BENTON, IL 62812




HEARTLAND NATIONAL INSURANCE             HEARTLAND NATIONAL INSURANCE             HEARTLAND PET FEST
P.O. BOX 2878                            PO BOX 2878                              P.O. BOX 342
SALT LAKE CITY, UT 84110-2878            SALT LAKE CITY, UT 84110-2878            MARION, IL 62959




HEARTLAND PROFESSIONAL PARK              HEARTLAND REGIONAL MED CNTR              HEARTLAND REGIONAL MEDICAL CENTER
LOT OWNERS ASSOCIATION                   C/O CHRISSY FRYMIRE                      ENTITY 0143
3401 OFFICE PARK DRIVE                   3333 WEST DEYOUNG                        3333 WEST DEYOUNG STREET
MARION, IL 62959                         MARION, IL 62959                         MARION, IL 52959




HEARTLAND REGIONAL MEDICAL               HEARTLAND RURAL HEALTHCARE, LLC          HEARTLAND SPINE INSTITUTE
P.O. BOX 60545                           208 SOUTH LASALLE STREET                 304 SOUTH MOUNT ASHBURN RD
ST LOUIS, MO 63160                       SUITE 814                                CAPE GIRARDEAU, MO 63703
                                         CHICAGO, IL 60604
                       Case 20-10766-BLS
HEARTLAND WOMENS HEALTHCARE                  Doc 6 Filed 04/07/20
                                     HEARTLAND                      Page HEARTLINK
                                                                         776 of 1969
                                                                                   ALA HOSP ASSO TRAINING CTR
3230 VETERANS MEMORIAL DR            14206 OVERBROOK RD                  500 NORTH EAST BLVD
MOUNT VERNON, IL 62864               LEAWOOD, KS 66224                   MONTGOMERY, AL 36117




HEARTS FOR AUTISM                   HEARTSILL, ELIZABETH                 HEARTSILL, SANDRA P.
P O BOX 2578                        8273 EAGLE POINTE DR                 3535 HONORAVILLE RD
LAS CRUCES, NM 88004                MERIDIAN, MS 39305-9143              GREENVILLE, AL 36037-6457




HEATER, JESSICA                     HEATH EQUITY INC                     HEATH JESSICA H
516 S. VINE ST                      15 W SCENIC POINTE DR                P.O. BOX 680824
ORRVILLE, OH 44667                  SUITE 100                            FORT PAYNE, AL 35968-7460
                                    DRAPER, UT 84020




HEATH RHONDA                        HEATH, BOBBIE                        HEATH, CANDY
ADDRESS ON FILE                     P.O. BOX 144                         ADDRESS ON FILE
                                    AUGUSTA, GA 30903




HEATH, MOLLY D.                     HEATH, RHONDA W.                     HEATH, RHONDA W.
ADDRESS ON FILE                     105 CANTERBURY RD                    ADDRESS ON FILE
                                    WASHINGTON, NC 27889




HEATH, WENDY                        HEATHER A CAIN                       HEATHER BAGENTS
ADDRESS ON FILE                     1601 W COPELAND ST                   6480 GREENVILLE HWY
                                    MARION, IL 62959                     LUVERNE, AL 36049




HEATHER COOK FOR EDITH COZART       HEATHER DIFFER                       HEATHER FORESMEN
17340 HWY 22 N                      ADDRESS ON FILE                      362 JOHNSON FORD RD
WILDERSVILLE, TN 38388                                                   EPWORTH, GA 30541




HEATHER GARDINER                    HEATHER JONES                        HEATHER JORDAN
ADDRESS ON FILE                     4895 OVERHILL DR NW                  1917 MEADOW DR
                                    DEMING, NM 88030                     WOOSTER, OH 44691




HEATHER M GARNES                    HEATHER M JONES                      HEATHER M RICHMOND MUNYON
654 S WELLS ST                      818-B FOSTER AVE                     1811 PACKARD CT
SHREVE, OH 44676                    CAMBRIDGE, OH 43725                  SPRING HILL, TN 37174




HEATHER MORRISON-BEAN               HEATHER SANDERS                      HEATHER SPAUGH
ADDRESS ON FILE                     1460 G STREET                        P.O. BOX 2
                                    SPRINGFIELD, OR 97477                GOOD HOPE, GA 30641-0002
HEATHER SPRUILL          Case 20-10766-BLS
                                       HEATHERDoc  6 Filed 04/07/20
                                               WILKERSON              Page HEATHER
                                                                           777 of 1969
                                                                                   WOOTEN
1485 DAN PEELE RD                      ADDRESS ON FILE                     ADDRESS ON FILE
WILLIAMSTON, NC 27892




HEATHER YOUNG                          HEATHER, DONALD                     HEATHERLY, NEAL R.
ADDRESS ON FILE                        3180 MEADOWCREST ST NW              1625 HENDERSON AVE SPC D2
                                       MASSILLON, OH 44647-8633            EUGENE, OR 97403-0000




HEATHERLY, RHONDA R.                   HEATHLINK, INC.                     HEATLEY, MARK N.
ADDRESS ON FILE                        P.O. BOX 6501                       2503 LARRY DR
                                       CAROL STREAM, IL 60197-6501         BIGSPRING, TX 79720




HEATON FREDERICK C JR                  HEATON, BETTY L.                    HEATON, GARY L.
430 OAK TREE LANE                      ADDRESS ON FILE                     ADDRESS ON FILE
P.O. BOX 10
NEW BURNSIDE, IL 62967




HEATON, HILLARY                        HEAVEN ON EARTH                     HEAVEN SCENT CLEANING INC
ADDRESS ON FILE                        1001 SW WASHINGTON STREET           233 HEATHERSTONE DR
                                       PEORIA, IL 61602-0000               CHATHAM, IL 62629




HEAVENER, BRITTNEY L.                  HEB GROCERY COMPANY                 HEBBELER, LESLIE
ADDRESS ON FILE                        2000 S. GREGG ST                    ADDRESS ON FILE
                                       BIG SPRING, TX 79720




HEBBELER, LESLIE                       HEBERER, ERIC                       HEBERT, SHAD
ADDRESS ON FILE                        5881 RENKEN RD                      ADDRESS ON FILE
                                       DORSEY, IL 62021




HECHLER, MATTHEW J.                    HECHT, CHAD                         HECK, EUGENE F.
963 BROOKFIELD CIRCLE                  112 ALLAN ST                        4917 PONTIAC LN
HENAGAR, AL 35978                      CHESTER, IL 62233-2226              EVANSVILLE, IL 62242




HECK, RITA                             HECK, ROBERT                        HECK, WILLIAM G.
20900 B N PAPERTOWN LN                 217 S EAST 1ST STREET               1060 ROOSEVELT ST NE
BLUFORD, IL 62814                      GALVA, IL 61434                     MASSILLON, OH 44646




HECKES, JUDITH                         HECKLI, JAMES W.                    HECTOR, DELAROSA
P.O. BOX 78                            30 COLUMBIA DR                      14802 TROY AVE
WOLF LAKE, IL 62998                    TOOELE, UT 84074                    POSEN, IL 60469
HEDDEN, DAWN                Case 20-10766-BLS
                                          HEDDEN,Doc 6
                                                 ROY D.       Filed 04/07/20   Page HEDDLESTEN,
                                                                                    778 of 1969 BECKY
132 TANGLEWOOD RDG                         203 DUSTY DIXIE FARM RD                  914 S 10TH ST
MURPHY, NC 28906                           ELILJAY, GA 30540                        DEMING, NM 88030




HEDGE, KENNETH D.                          HEDGES, INDIANA DAVID                    HEDIN, ABIGAIL
222 HOLIDAY MH PK                          2362 SANDERLING CT.                      ADDRESS ON FILE
GRANITE CITY, IL 62040                     SODDY DAISY, TN 37379-5854




HEDLIND, CHRISTI M.                        HEDRICK, ANNA M.                         HEDRICK, CINDY S.
ADDRESS ON FILE                            ADDRESS ON FILE                          2691 COUNTY ROAD 1580 N
                                                                                    MT. ERIE, IL 62446




HEDRICK, LARRY A.                          HEDRICK, REBECCA                         HEDRICK-HAMILTON, TRACEY
2107 BERWIN LN                             53 EBERHART DR                           ADDRESS ON FILE
EUGENE, OR 97404-0000                      CASEYVILLE, IL 62232




HEELEIN VAL N                              HEEPKE FARMS INC                         HEER, BRENDA
619 SUMMERLYN DR                           3776 ROCK HILL RD                        11217 LUETTINGER RD
ANTIOCH, IL 60002                          EDWARDSVILLE, IL 62025-5916              TRENTON, IL 62293




HEERES, ANTONINA                           HEERES, ANTONINA                         HEERN, CASSIE L.
                                           P.O. BOX 265                             ADDRESS ON FILE
                                           BLUE RIDGE, GA 30513




HEFF MED                                   HEFFERNAN, JAMES                         HEFFINGTON, JAMES M.
1211 MIDDLE RD                             2804 W 111TH STREET                      1108 S GRANGER STREET
GLENSHAW, PA 15116                         CHICAGO, IL 60655                        HARRISBURG, IL 62946




HEFFNER, JAN L.                            HEFLEBOWER, JOEL                         HEFLING, DOROTHY R.
2001 STATE HWY 118 APT. 7                  ADDRESS ON FILE                          6878 ALLIANCE RD NW
ALPINE, TX 79830                                                                    P.O. BOX 338
                                                                                    MALVERN, OH 44644




HEFLING, FANNIE                            HEFNER, AMBER                            HEFNER, RANDY M.
10133 S LOWE AVE                           ADDRESS ON FILE                          ADDRESS ON FILE
CHICAGO, IL 60628




HEFTY, KATHRYN L.                          HEGEMANN, KATIE                          HEGGER, JOHN K.
ADDRESS ON FILE                            ADDRESS ON FILE                          ADDRESS ON FILE
HEGWOOD, AMY M.         Case 20-10766-BLS
                                      HEGYESI,Doc  6 Filed
                                               REBECCA A.  04/07/20   Page HEIBNER,
                                                                           779 of 1969
                                                                                    KIMBERLY R.
ADDRESS ON FILE                        ADDRESS ON FILE                     2311 WEST CHERRY ST
                                                                           HERRIN, IL 62948




HEIDE, ROBIN                           HEIDERMAN, ZACHARY M.               HEIDI DAVIS
ADDRESS ON FILE                        167 N CRANBERRY LAKE DR             P.O. BOX 2373
                                       HAINESVILLE, IL 60073               MESQUITE, NV 89027-2945




HEIDI HAAS                             HEIDI TOPE                          HEIDRUN, MEISER
P O BOX 392                            365 CROWN HILL RD                   2405 CARLETON DR
MIMBRES, NM 88049                      ORRVILLE, OH 44667                  BIG SPRING, TX 79720-0000




HEIDTKE, ARICA A.                      HEIER KIMBERLY A                    HEIGL TECHNOLOGIES
1190 SOUTH A STREET APT19              812 AUTUMN RISE LANE                7014 PRESIDENTIAL LANE
SPRINGFIELD, OR 97477                  COLUMBIA, IL 62236                  KNOXVILLE, TN 37931




HEIGL TECHNOLOGIES                     HEIM, BENJAMIN A.                   HEIMAN, JOYCE
7667 CAHILL ROAD                       37 INVADER LN                       2525 PINE ST
SUITE 100                              WINFIELD, PA 17889-8940             GRANITE CITY, IL 62040
EDINA, MN 55439




HEIMANN, LINDA M                       HEIN CONSTRUCTION                   HEIN, BARBARA
813 CHERRY RD NW                       56 N CEDAR                          705 KAY LYNN DR
MASSILLON, OH 44647                    GALESBURG, IL 61401                 LAS VEGAS, NM 87701




HEINE, KEVIN T.                        HEINE, SARAH E.                     HEINECKE, WAYNE
ADDRESS ON FILE                        ADDRESS ON FILE                     813 S EAST STREET
                                                                           NEW ATHENS, IL 62264




HEINEMEYER, ALICIA A.                  HEINEN, HEINEN                      HEINKEL ART
ADDRESS ON FILE                        1015 CARTER ST                      1800 ORCHARD STREET
                                       RED BUD, IL 62278                   EUGENE, OR 97403-0000




HEINRICH KEVIN ANDREW                  HEINRICH, ALICIA                    HEINRICH, DANETTE
707 DRIFTWOOD DR                       ADDRESS ON FILE                     ADDRESS ON FILE
EUGENE, OR 97402-0000




HEINS, LAURA                           HEINTZ, KAREN R.                    HEINTZ, MICHAEL
P O BOX 401760                         20318 GRACELAND LANE                ADDRESS ON FILE
HESPERIA, CA 92340                     FRANKFORT, IL 60423
                       Case 20-10766-BLS
HEINZ DIPSENSING COMPANY                      DocF.6
                                     HEINZ, JAYNE       Filed 04/07/20   Page HEINZ,
                                                                              780 of   1969
                                                                                     MARILEE
2293 SWEENEY DR                      ADDRESS ON FILE                          5035 INDIAN HILLS DR
CLINTON, PA 15026                                                             EDWARDSVILLE, IL 62025




HEISE, CARISSA                        HEISE, CARISSA                          HEISINGER, ROXANNE
4521 FOUNTAIN BROOK DR                ADDRESS ON FILE                         110 GRANADA DR
WATERLOO, IL 62298                                                            APTOS, CA 95003




HEISKELL, KRISHA N.                   HEISLER, NORMAN                         HEISLER, TERRI
2640 LCR 252                          327 NE 2ND ST SW                        ADDRESS ON FILE
COLORADO CITY, TX 79512               BREWSTER, OH 44613




HEISNER, RICHARD                      HEISTER, SUSAN D.                       HEITGER III, ROBERT
3130 W MONROE ST APT 112              6623 LEONA ST                           12421 LINCOLN ST NW
WAUKEGAN, IL 60085                    ST LOUIS, MO 63116                      MASSILLON, OH 44646




HELD, TYLER                           HELEN G PEPPER                          HELEN HANCOCK
3185 WINSLOW WAY                      3365 MANCHESER AVE SW                   P.O. BOX 253
ARNOLD, MO 63010                      MASSILLON, OH 44647                     GOREVILLE, IL 62939




HELENA ADJUSTMENT CO                  HELENA DISTRICT COURT                   HELENA HEALTH FOUNDATION
P O BOX 529                           P.O. BOX 248                            HELENA HEALTH FOUNDATION
HELENA, AR 72342                      HELENA, AR 72342                        HELENA, AR 72342




HELENA LABORATORIES CORP              HELENA M HARACH                         HELENA MUN WATER & SEWER
MSC 475                               432 LONGMEADOW RD                       702 CHERRY
P.O. BOX 4497                         LANCASTER, PA 17601-3546                HELENA, AR 72342
HOUSTON, TX 77210-4497




HELENA MUNICIPAL                      HELENA NATIONAL BANK                    HELENA REG MED CTR AUX
WATER & SWR                           ATTN: ABBY HARDY                        HELENA REG MED CTR AUX
702 CHERRY STREET                     302 CHERRY ST                           HELENA, AR 72342
HELENA, AR 72342                      HELENA, AR 72342




HELENA REGIONAL MEDICAL CENTER        HELENA TOURISM COMMISSION               HELENA WORLD CHRONICLE
ENTITY 0176                           P.O. BOX 256                            228 RIGHTOR ST
1810 MARTIN LUTHER KING JR. DR.       HELENA, AR 72342-0256                   HELENA, AR 72342
HELENA, AR 72342




HELENA-WEST HELENA KIWANIS CLUB       HELENA-WEST HELENA                      HELENE A FITCH
405 CHERRY ST                         WATER & SWR                             113 LOGANBERRY CT
HELENA, AR 72342                      702 CHERRY STREET                       AIKEN, SC 29803
                                      HELENA, AR 72342
HELF, CAROL              Case 20-10766-BLS    Doc
                                       HELFRICH,    6 Filed
                                                 MATTHEW S. 04/07/20      Page HELGEN,
                                                                               781 of ZACHARY
                                                                                       1969
1436 MARTIN DRIVE                       ADDRESS ON FILE                        ADDRESS ON FILE
TROY, IL 62294




HELGESON, KENDAL N.                     HELGET GAS PRODUCTS                    HELLEN, ROY F.
22 TYLER AVE                            P.O. BOX 24246                         4473 MONTEREY RD
COTTAGE GROVE, OR 97424                 OMAHA, NE 68124                        FOREST HOME, AL 36030




HELLER, BRENDEN S.                      HELLER, GARY J.                        HELLER, STARTINA
ADDRESS ON FILE                         2653 COUNTRY SQUIRE STREET NW          ADDRESS ON FILE
                                        UNIONTOWN, OH 44685




HELLINE, SUSAN                          HELLRUNG, ERIC T.                      HELM, LINDA L
5648 VANTAGE HILL AVE NW                ADDRESS ON FILE                        860 SENECA ST NE
MASSILLON, OH 44647                                                            MASSILLON, OH 44646




HELM, ROBIN                             HELM, SADIE JANE                       HELM, SHARA
9861 AGATE ST NW                        P.O. BOX 31272                         1274 KEY WEST
CANAL FULTON, OH 44614                  COLORADO SPRINGS, CO 89031-0000        EDWARDSVILLE, IL 62025




HELMER INC                              HELMER LABS INC.                       HELMER SCIENTIFIC
28689 NETWORK PLACE                     PO BOX 1937                            ATTN: ACCOUNTS RECEIVABLE
CHICAGO, IL 60673-1286                  DEPT 30                                28689 NETWORK PLACE
                                        INDIANAPOLIS, IN 46206                 CHICAGO, IL 60673-1286




HELMER SCIENTIFIC                       HELMER, INC                            HELMER, INC
ATTN: ACCOUNTS RECEIVABLE               14400 BERGAN BOULEVARD                 14400 BERGEN BLVD.
P.O. BOX 1937 - DEPT 30                 NOBLESVILLE, IN 46060                  NOBLESVILLE, IN 46060
INDIANAPOLIS, IN 46206




HELMER, INC                             HELMER, INC.                           HELMER, INC.
ATTN: ACCTS RECEIVABLE                  ATTN: ACCOUNTS PAYABLE                 ATTN: ACCOUNTS RECEIVABLE
28689 NETWORK PLACE                     28689 NETWORK PLACE                    28689 NETWORK PLACE
CHICAGO, IL 60673-1286                  CHICAGO, IL 60073-1286                 CHICAGO, IL 60673-1286




HELMES, AMY H.                          HELMHOLT, JENNIFER                     HELMI, YVETTE
ADDRESS ON FILE                         1216 SIMEON DRIVE                      254 SONATA COURT
                                        BELLEVILLE, IL 62221                   VOLO, IL 60073




HELMKAMP CONSTRUCTION COMPANY INC       HELMS KAREN DENISE                     HELMS MOTOR COMPANY
707 BERSHIRE BLVD                       247 N 37TH ST                          694 EAST CHURCH STREET
EAST ALTON, IL 62024                    SPRINGFIELD, OR 97478                  LEXINGTON, TN 38351
HELMS PATRICIA        Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                    HELMS, APRIL                       Page HELMS,
                                                                            782 ofBETTY
                                                                                   1969J.
505 CANDY MEADOW FARM RD            1031 SMITH CHAPEL RD                    1902 HARBOR DRIVE
LEXINGTON, TN 38351                 BOAZ, AL 35956                          SPRINGFIELD, OR 97477




HELMS, BETTY                       HELMS, ERMA L.                           HELMS, JOHN JR
P.O. BOX 1032                      92466 POWERLINE ROAD                     923 GRAND AVE NW
INEZ, KY 41224-1032                P.O. BOX 40352                           FORT PAYNE, AL 35967-2840
                                   EUGENE, OR 97404




HELMS, JOSEPH D.                   HELMS, KATHY S.                          HELMS, KRISTY
ADDRESS ON FILE                    709 COUNTY ROAD 119                      1244 COUNTY RD 18
                                   FORT PAYNE, AL 35968                     FYFFE, AL 35971-4002




HELMS, NEKENA C.                   HELMS, PAMELA                            HELP/SYSTEMS, LLC
2353 HASKELL DRIVE                 15501 HWY 412E                           NW 5955
ANTIOCH, TN 37013                  LEXINGTON, TN 38351                      P.O. BOX 1450
                                                                            MINNEAPOLIS, MN 55485-5955




HELP/SYSTEMS-IL LLC                HELPING HANDS CHRISTIAN RESOURCES        HELSTROM, VIRGINIA L.
NW 5955                            P.O. BOX 1226                            ADDRESS ON FILE
P.O. BOX 1450                      JACKSON, KY 41339
MINNEAPOLIS, MN 55485-5955




HELTON CHRISTINE S                 HELTON, BETH                             HELTON, COREY J.
P.O. BOX 24                        P.O. BOX 322                             9104 LOST CREEK ROAD
CHERRY LOG, GA 30522               CAMPTON, KY 41301                        WEST LIBERTY, KY 41472




HELTON, GLENDA                     HELTON, JAKE T.                          HELTON, JOYCE
2453 MISSOURI AVE                  311 PEBBLE LANE                          74 LEE AVE
GRANITE CITY, IL 62040             SYLVANIA, AL 35988-7010                  RAINSVILLE, AL 35986-6439




HELTON, KRISTA B.                  HELTON, MEGAN                            HELTON, REBECCA K.
3217 KY 15 SOUTH P.O. BOX 322      ADDRESS ON FILE                          ADDRESS ON FILE
CAMPTON, KY 41301




HELTON, TERRY                      HEMANN, JENNIFER L.                      HEMANN, RYAN
1850 46TH AVENUE                   ADDRESS ON FILE                          8540 NORTH FRANKLIN
KENOSHA, WI 53144                                                           STAUNTON, IL 62088




HEMATOGENIX LABORATORY SERVICES,   HEMBREE, DONALD                          HEMBY, CRYSTAL
LLC                                906 JENSEN DR                            832 APRICOT AVE
8150 W 185TH ST, STE A             MESQUITE, NV 89027                       MT VERNON, IL 62864
TINLEY PARK, IL 60487
HEMINGWAY, SARA          Case 20-10766-BLS
                                       HEMKEN,Doc 6 A.Filed 04/07/20
                                              CHRISTY                  Page HEMMANN
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                                                                                    BRETT M
29 MELROSE AVENUE                       14223 NORTH 4TH AVE                 803 LANCASHIRE DR APT 4
WATSONVILLE, CA 95076                   DONNELLSON, IL 62019                EDWARDSVILLE, IL 62025




HEMMER GARY D                           HEMMER, KAILEY                      HEMMING ANONA J
ADDRESS ON FILE                         ADDRESS ON FILE                     P.O. BOX 516
                                                                            2708 HWY 68
                                                                            DUCKTOWN, GA 37326




HEMMING ANONA J                         HEMMING, ANONA                      HEMMING, KAYLA
P.O. BOX 516                            P.O. BOX 516                        2683 HWY 68
2708 HWY 68                             DUCKTOWN, GA 37326                  TURTLETOWN, TN 37391
DUCKTOWN, TN 37326




HEMMING, RICHARD                        HEMMINGSON, BRIAN                   HEMOSTASIS, LLC
364 WOODSIDE DR SW                      P.O. BOX 2600                       5000 TOWNSHIP PARKWAY
CARROLLTON, OH 44615-8414               FLORENCE, OR 97439-0170             SAINT PAUL, MN 55110




HEMOSTATIX MEDICAL TECH                 HEMPEL, ISAAC                       HEMPEN, MARC
8400 WOLF LAKE DRIVE, SUITE 109         5801 BEATTYVILLE ROAD               ADDRESS ON FILE
BARTLETT, TN 38133                      JACKSON, KY 41339




HEMPEN, SHAKA                           HEMPHILL, ADAM                      HEMPHILL, JEFFERY A.
ADDRESS ON FILE                         528 COUNTY RD 514                   ADDRESS ON FILE
                                        RAINSVILLE, AL 35986




HENAGE, CHRISTINA K.                    HENBY, ELIZABETH                    HENCKE, KENNETH
ADDRESS ON FILE                         2904 SHADY LANE                     5185 STAUNTON RD
                                        TWIN LAKES, WI 53181                EDWARDSVILLE, IL 62025-6529




HENCYE, TROY                            HENDERICKS, LARRY                   HENDERSHOT CHRISTINE
2081 SWEET HOME RD                      118 SOUTH FAIRVIEW CIRCLE           ADDRESS ON FILE
WILLIAMSTON, NC 27892                   TARBORO, NC 27886




HENDERSHOT, CHRISTINE M.                HENDERSON BILLIE J                  HENDERSON CO FAIR ASSOCIATION
1923 YASGUR DR                          1265 ANNA NURSERY LN                106 FIRST ST
WOODSTOCK, IL 60098                     COBDEN, IL 62920                    LEXINGTON, TN 38351




HENDERSON CO. GENERAL SESSIONS          HENDERSON COUNTY CHAMBER            HENDERSON COUNTY CIRCUIT COURT
170 JUSTICE CENTER DR SUITE B           OF COMMERCE                         CLERK
LEXINGTON, TN 38351                     149 EASTERN SHORES DRIVE            170 JUSTICE CENTER SUITE D
                                        LEXINGTON, TN 38351                 LEXINGTON, TN 38351
HENDERSON COUNTY CLERK Case  20-10766-BLS
                         CAROLYN              DocCOUNTY
                                      HENDERSON    6 Filed   04/07/20
                                                          COMMUNITY      Page HENDERSON
                                                                              784 of 1969
                                                                                        COUNTY COMMUNITY
HOLMES                                HOSPITAL                                HOSPITAL
17 MONROE AVENUE SUITE 2              ENTITY 0181                             P.O. BOX 501053
LEXINGTON, TN 38351                   200 W CHURCH ST                         ST LOUIS, MO 63150-1053
                                      LEXINGTON, TN 38351



HENDERSON COUNTY COURT CLERK          HENDERSON COUNTY EMS                    HENDERSON COUNTY FREE FAIR
17 MONROE AVENUE SUITE 2              4600 TOWSON AVE SUITE 136               P.O. BOX 555
LEXINGTON, TN 38351                   FORT SMITH, AR 72901                    LEXINGTON, TN 38351




HENDERSON COUNTY JAIL                 HENDERSON COUNTY TRUSTEE                HENDERSON COUNTY TRUSTEE
170 JUSTICE CENTER SUITE D            17 MONROE ST                            ATTN: DAVID FRIZZELL
LEXINGTON, TN 38351                   LEXINGTON, TN 38351                     P.O. BOX 9
                                                                              LEXINGTON, TN 38351




HENDERSON COUNTY TRUSTEE              HENDERSON COUNTY TRUSTEES OFFICE        HENDERSON DONNA S
TRUSTEES OFFICE                       ATTN: DAVID FRIZZELL                    17740 SAYRE AVE
P.O. BOX 9                            17 MONROE ST                            TINLEY PARK, IL 60477
LEXINGTON, TN 38351                   LEXINGTON, TN 38351




HENDERSON ERIC R                      HENDERSON, AMBER M.                     HENDERSON, BRITTANY I.
2543 W 117TH PL                       ADDRESS ON FILE                         ADDRESS ON FILE
CHICAGO, IL 60655




HENDERSON, CAREY                      HENDERSON, CHRISTOPHER                  HENDERSON, COLLEEN R.
903 HIDDEN VALLEY DRIVE               901 W SMITH AVE                         200 CAMELFORD DR.
MORGANTON, GA 30560                   BLUFORD, IL 62814                       TROY, IL 62294-0000




HENDERSON, COLTON                     HENDERSON, DALINA                       HENDERSON, DEBORAH R.
1623 CR 725 N                         P.O. BOX 2308 601 SIOUX ST              5586 COUNTY ROAD 106
SULLIVAN, IL 61951                    WEST HELENA, AR 72390                   MENTONE, AL 35984




HENDERSON, FREDA T.                   HENDERSON, JILL                         HENDERSON, JIMMY M.
4240 CAMILLA STREET                   ADDRESS ON FILE                         ADDRESS ON FILE
SPRINGFIELD, OR 97478




HENDERSON, JUSTIN T.                  HENDERSON, JUSTIN T.                    HENDERSON, KELLI
475 CR 188                            ADDRESS ON FILE                         393 CO RD 369
FORT PAYNE, AL 35967                                                          CROSSVILLE, AL 35962




HENDERSON, KIMBERLY                   HENDERSON, MARSHALL                     HENDERSON, MELANIE R.
198 DENNIS DR                         303 7TH STREET NW                       ADDRESS ON FILE
HELENA, AR 72390                      FORT PAYNE, AL 35967
HENDERSON, MICHELLE L.     Case 20-10766-BLS   DocNATALIE
                                         HENDERSON, 6 Filed
                                                          M. 04/07/20     Page HENDERSON,
                                                                               785 of 1969NICOLE R.
ADDRESS ON FILE                          4548 BONITA VISTA DRIVE               800 SNEED RD
                                         PLACERVILLE, CA 95667                 CARBONDALE, IL 62902




HENDERSON, NICOLE R.                     HENDERSON, RANDY                      HENDERSON, REGGIE A.
ADDRESS ON FILE                          16750 N IL HWY 37                     ADDRESS ON FILE
                                         MT VERNON, IL 62864




HENDERSON, RION                          HENDERSON, ROBERTA L.                 HENDERSON, SANDRA I.
186 CHERRY LOG ST                        15961 WABASH AVE                      11375 COUNTY ROAD 52
CHRRY LOG, GA 30522-0000                 SOUTH HOLLAND, IL 60473               DAWSON, AL 35963-0000




HENDERSON, SHARONDA R.                   HENDON, IDA J.                        HENDON, JAMES R.
P.O. BOX 1912 605 WHITEOAK DR.           1429 HARBOUR DR P.O. BOX 2624         P.O. BOX 259
FORREST CITY, AR 72336                   MESQUITE, NV 89027                    MENTONE, AL 35984-0259




HENDRICKS, AMANDA                        HENDRICKS, ASHLEY                     HENDRICKS, GEORGE
209 WEST JACKSON ST                      2 MAPLEBROOKE CT                      3001 LEONARD AVE SW
ABINGDON, IL 61410                       TROY, IL 62294                        CANTON, OH 44706




HENDRICKS, LAURA E.                      HENDRICKS, RUTH                       HENDRICKSON, ALICE
ADDRESS ON FILE                          10685 POORMAN ST SW                   824 EAST MILL STREET
                                         NAVARRE, OH 44662                     STAUNTON, IL 62088




HENDRICKSON, AMBER D.                    HENDRICKSON, KYLE                     HENDRICKSON, NICOLE
ADDRESS ON FILE                          ADDRESS ON FILE                       6703 BROADWAY STREET
                                                                               RICHMOND, IL 60071




HENDRIX, BONNIE L.                       HENDRIX, BRADLEY C.                   HENDRIX, REBECCA N.
580 WALKER HILL RD                       281 WISTERIA DRIVE                    526 HALF SECTION LINE RD
HUNTINGDON, TN 38344                     FRANKLIN, TN 37064                    ALBERTVILLE, AL 35950




HENDRUS, RICHARD                         HENDRY REGIONAL MEDICAL CENTER        HENDRY, HAYLEE
6749 AMSEL AVE NE                        524 WEST SAGAMORE AVENUE              ADDRESS ON FILE
CANTON, OH 44721                         CLEWISTON, FL 33440-3514




HENER ROBERT                             HENIGIN, BETTY                        HENINGER ENTERPRISES, LLC
3766 ATLANTIC AVE                        2727 HWY 32                           2561 SOUTH 1560 WEST
GURNEE, IL 60031                         LOUISA, KY 41230                      SUITE B
                                                                               WOODS CROSS, UT 84087
HENK, HEATHER A.          Case 20-10766-BLS     Doc 6L. Filed 04/07/20
                                        HENK, TIFFANY                    Page HENKE
                                                                              786 of  1969KAREN E.
                                                                                    ZOTTA,
ADDRESS ON FILE                          ADDRESS ON FILE                      4220 2ND STREET N.W.
                                                                              CANTON, OH 44708




HENKE, DAWN                              HENKE, SHARON                        HENKLE, JEANA
1516 CLOVER RDG                          ADDRESS ON FILE                      18 HARDY WATER DR
COLUMBIA, IL 62236-3361                                                       LAWRENCEVILLE, GA 30045




HENLEY RUSSELL B                         HENLEY, AMY                          HENLEY, CINDY
290 FAIR ACRES DR                        1380 CHAPPERAL DR                    125 SUNSET LANE
GALESBURG, IL 61401                      MESQUITE, NV 89027                   GOREVILLE, IL 62939




HENLEY, JUNE B.                          HENN, CARYN                          HENN, CARYN
P.O. BOX 669                             808 FAIRFIELD ROAD                   ADDRESS ON FILE
BLUE RIDGE, GA 30513                     MT VERNON, IL 62864




HENNAWY, JAN                             HENNEFEN, WILLLIAM T                 HENNEMAN, CAROLINE
ADDRESS ON FILE                          1218 KNOX HWY 12                     ADDRESS ON FILE
                                         GILSON, IL 61436




HENNESSEY, LAUREN                        HENNEY, SCOTT                        HENNIGAN, CECELIA
2890 HORSESHOE RD                        104 CEDAR PT                         1741 S ST
LOGANVILLE, GA 30052-4128                FLORENCE, MS 39073                   SPRINGFIELD, OR 97477-2574




HENNING, MARK                            HENNING, MISTY M.                    HENNING, STEPHEN T.
ADDRESS ON FILE                          ADDRESS ON FILE                      22162 W ORCHARD LN
                                                                              ANTIOCH, IL 60002




HENNRICH, DARREL                         HENRICHS, GERVASE                    HENRICHSEN, JOHN
10610 MILL CREEK ROAD                    8105 GOODINGS FORD RD                2300 20TH STREET, APT 7
CHESTER, IL 62233                        BREESE, IL 62230                     ZION, IL 60099




HENRICKSEN, ERIN M.                      HENRICKSEN, RON R.                   HENRIE, LEAH C.
2966 GREEN RIDGE RD                      111 TOLEDO DR                        ADDRESS ON FILE
NORTON, OH 44203                         APTOS, CA 95003




HENRIETTA WITTMAN                        HENRIKSEN, REBECCA M.                HENRIQUES, LAURA L.
3431 CLEARVIEW DRIVE                     214 W UTAH AVE A                     2334 MOUNT PLEASANT ST NE
GODFREY, IL 62035                        TOOELE, UT 84074                     CANTON, OH 44721
HENRY B CARLYON            Case 20-10766-BLS    Doc 6FAIRFiled
                                         HENRY COUNTY          04/07/20
                                                          ASSOCIATION       Page HENRY
                                                                                 787 ofCOUNTY
                                                                                         1969 GENERAL SESSIONS
1179 CANTEBURY RD                         P.O. BOX 1431                          COURT
HONORAVILLE, AL 36042                     PARIS, TN 38242                        P.O. BOX 429
                                                                                 PARIS, TN 38242




HENRY COUNTY HEALTH CENTER                HENRY COUNTY MEDICAL CENTER            HENRY FERNANDEZ
407 S WHITE ST.                           P.O. BOX 1030                          605 N 1ST STREET
MT. PLEASANT, IA 52641                    PARIS, TN 38242                        RATON, NM 87740




HENRY FORD HOSPITAL                       HENRY MONA MAE                         HENRY SCHEIN CO
2799 W GRAND BLVD                         610 CENTENNIAL BLVD                    P.O. BOX 7156
DETROIT, MI 48202                         SPRINGFIELD, OR 97477                  PASADENA, CA 91109-7156




HENRY SCHEIN INC                          HENRY SCHEIN INC                       HENRY SCHEIN INC
135 DURYEA RD                             DEPT CH 10241                          DEPT CH 10241
MELVILLE, NY 11747                        PALATINE, IL 60055                     PALATINE, IL 60055-0241




HENRY SCHEIN INC                          HENRY SCHEIN INC                       HENRY SCHEIN MED GROUP
P.O. BOX 7156                             WALTER SIEGEL, SVP & GENERAL COUNSEL   CALIGOR DIVISION
PASADENA, CA 91109-7156                   135 DURYEA RD                          DEPT CH 10241
                                          MELVILLE, NY 11747                     PALATINE, IL 60055-0241




HENRY SCHEIN                              HENRY SCHEIN                           HENRY SCHEIN
BOX 371952                                BOX 371952                             DEPT CH 10241
PITTSBURG, PA 15250-7952                  PITTSBURGH, PA 15250-7952              PALATINE, IL 60055




HENRY SCHEIN                              HENRY SCHEIN                           HENRY SCHEIN
DEPT CH 10241                             DEPT CH 10241                          P.O. BOX 371952
PALATINE, IL 60055-0241                   PALATINE, IN 60055-0241                PITTSBURGH, PA 15250-7952




HENRY SCHEIN, INC                         HENRY SCHEIN, INC                      HENRY SCHEIN, INC
135 DURYEA RD                             135 DURYEA RD                          BOX 371952
MELLVILLE, NY 11747                       MELVILLE, NY 11747                     PITTSBURGH, PA 15250-7952




HENRY SCHEIN, INC                         HENRY SCHEIN, INC                      HENRY SCHEIN, INC
CALIGOR DIVISION                          CALIGOR DIVISION                       DEPT CH 10241
DEPT CH 10241                             DEPT CH 10241                          PALATINE, IL 60055-0241
PALANTINE, IL 60055-0241                  PALATINE, IL 60055-0241




HENRY SCHEIN, INC                         HENRY SCHEIN/METRX MEDICAL             HENRY T LOCKLEAR
P.O. BOX 7156                             DEPT CH 10241                          67 COUNTY ROAD 640
PASADENA, CA 91109-7156                   PALATINE, IL 60055-0241                VALLEY HEAD, AL 35989
HENRY, ABBY L.              Case 20-10766-BLS     Doc 6N. Filed 04/07/20
                                          HENRY, ALEXIS                    Page HENRY,
                                                                                788 ofANGELA
                                                                                       1969
281 HIGHWAY 2033                           ADDRESS ON FILE                      5649 COUNTY RD 78
LOUISA, KY 41230                                                                FORT PAYNE, AL 35967-0000




HENRY, ARCHIE                              HENRY, BRANDA D.                     HENRY, CHRISTINA
30 MORNINGSIDE DR                          ADDRESS ON FILE                      1561 BROWN AVE
LEXINGTON, TN 38351                                                             GALESBURG, IL 61401




HENRY, DAL A.                              HENRY, JACKLYN L.                    HENRY, JEANETTE
110 SPRUCE STREET                          ADDRESS ON FILE                      P.O. BOX 274
MCKENZIE, TN 38201                                                              ELAINE, AR 72333




HENRY, JENNIFER                            HENRY, MAXINE                        HENRY, MELODY T.
8230 KELLYDALE ST NW                       729 ELIZABETH AVE                    130 HILL STREET
MASSILLON, OH 44646                        EAST CARONDELET, IL 62240            MURPHY, NC 28906




HENRY, MILDRED                             HENRY, NATHAN                        HENRY, PATRICK A.
160 BETHEL FISHING CENTER                  ADDRESS ON FILE                      8800 TRAPHAGEN NW
HERTFORD, NC 27944                                                              MASSILLON, OH 44646




HENRY, RHONDA F.                           HENRY, ROBERSON                      HENRY, SHAWNA M.
5149 OLD ALTON RD                          151 BROKEN BRANCH RD                 ADDRESS ON FILE
GRANITE CITY, IL 62040                     NORTH AUGUSTA, SC 29841




HENRY, SHELBY                              HENRY, STEVEN L.                     HENRY, TAMMIE L.
1900 MARTIN LUTHER KING BLVD APT 413       6412 BANKS DR NW                     302 EASTERLING AVE.
BIG SPRING, TX 79720                       FORT PAYNE, AL 35967                 COAHOMA, TX 79511




HENRY, TAMMIE                              HENRY, TANNER                        HENSCHEL, VALERIE
P.O. BOX 127                               703 TULANE AVE                       3718 W 149TH ST
COAHOMA, TX 79511                          BIG SPRING, TX 79720                 MIDLOTHIAN, IL 60445




HENSHAW III, NIGH WILLIAM                  HENSHAW, AUSTIN                      HENSHAW, TAMMY
89138 BRIDGE STREET                        ADDRESS ON FILE                      108 S BELLEVILLE
SPRINGFIELD, OR 97478                                                           FREEBURG, IL 62243




HENSIEK, SOOK-HEE                          HENSLER, MARK                        HENSLEY, AMY L.
425 AVALON DR                              762 RICE STREET                      ADDRESS ON FILE
TROY, IL 62294                             WOOD RIVER, IL 62095
HENSLEY, ASHLEY L.        Case 20-10766-BLS    Doc
                                        HENSLEY,    6 Filed 04/07/20
                                                 CHRISTOPHER           Page HENSLEY,
                                                                            789 of 1969
                                                                                     DANNA R.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




HENSLEY, HEATHER L.                     HENSLEY, PENNY R.                   HENSLEY, TOM
3950 COBURG RD SPACE 34                 ADDRESS ON FILE                     1063 JOHNSTON STREET
EUGENE, OR 97408                                                            GALESBURG, IL 61401-0000




HENSON CAROL                            HENSON KIMBERLY                     HENSON, BETSY
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




HENSON, BRIGITTE                        HENSON, CYNTHIA                     HENSON, DAISY
44 BRIGITTE DRIVE                       1579 CROSSROADS CHURCH ROAD         ADDRESS ON FILE
JACKSON, KY 41339                       ELLIJAY, GA 30540




HENSON, DERIAN                          HENSON, DIAN                        HENSON, KALENDA
812 RENAISSANCE AVE                     1438 110TH ST                       2761 HWY 382 WEST
MURFREESBORO, TN 37129                  MONMOUTH, IL 61462                  ELLIJAY, GA 30540




HENSON, KIMBERLY M.                     HENSON, LARRY                       HENSON, MARY/EXECUTOR FOR NANCY
ADDRESS ON FILE                         P.O. BOX 73                         PERRY
                                        MAEYSTOWN, IL 62256-0000            473 BARKLEY DR
                                                                            LEXINGTON, KY 40503




HENSON, MELISSA N.                      HENSON, MYRA E.                     HENSON, PORTIA L.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




HENSON, THOMAS                          HENSON, TINA                        HENSON, VICTORIA
412 ELMWOOD CT                          185 CARL BETHLEHEM RD               ADDRESS ON FILE
PERU, IL 61354                          BETHLEHEM, GA 30620




HENTIS, ASHLEY N.                       HENTIS, NICHOLAS J.                 HENTON, BRYANT
ADDRESS ON FILE                         620 LAKEVIEW DR                     ADDRESS ON FILE
                                        RED BUD, IL 62278




HENTSCHER, JULIE K.                     HENWOOD, JAMES                      HEPA GRAFF PROFESSIONAL CLEANING LLC
ADDRESS ON FILE                         283 E CLARK STREET                  541 WILLAMETTE ST STE 106
                                        GRANTSVILLE, UT 84029               EUGENE, OR 97401
                       Case
HEPLER BROOM LLC AND JAMES W 20-10766-BLS
                                      HEPNER,Doc    6 Filed 04/07/20
                                               JO ELLEN                Page HEPP,
                                                                            790 of  1969N.
                                                                                  ASHLEE
TARASUIK JR                           1304 E 2ND AVE                        807 E MAIN ST
130 N MAIN ST                         MONMOUTH, IL 61462                    STEELEVILLE, IL 62288
EDWARDSVILLE, IL 62025




HEPP, TAYLOR L.                       HEPPLER, LORI                         HEPWORTH, MICHAEL
1002 EAST BROADWAY                    17 JASON DR                           ADDRESS ON FILE
STEELEVILLE, IL 62288                 GLEN CARBON, IL 62034




HERAEUS INCORPORATED                  HERAEUS MEDICAL LLC                   HERAEUS MEDICAL LLC
770 TOWNSHIP LINE ROAD                P.O. BOX 21486                        P.O. BOX 21486
YARDLEY, PA 19067                     NEW YORK, NY 10087-1486               NEW YROK, NY 10087-1486




HERAEUS MEDICAL LLC                   HERALD DYANNA                         HERALD, BRITTNEY
PO BOX 21486                          P.O. BOX 1384                         ADDRESS ON FILE
NEW YORK, NY 10087-1486               BOONEVILLE, KY 41314




HERALD, DANA D.                       HERALD, JENNIFER H.                   HERALD, JENNIFER H.
ADDRESS ON FILE                       2598 HWY 1933                         ADDRESS ON FILE
                                      JACKSON, KY 41339




HERALD, JOE                           HERALD, JOE                           HERALD, JUDITH
6947 HWY 315                          P.O. BOX 248                          1380 SHORT FK RD
BOONEVILLE, KY 41314                  BOONEVILLE, KY 41314-0248             BOONEVILLE, KY 41314




HERALD, PATRICIA                      HERALD, RONALD                        HERALD, THERESA L.
424 KINGS RIDGE ROAD                  P.O. BOX 435                          ADDRESS ON FILE
JACKSON, KY 41339                     LENORE, WV 25676




HERAMIS, HAZEL ANNE V.                HERARD, JAMILA A.                     HERATY CINDY L
ADDRESS ON FILE                       6848 S MICHIGAN AVE                   1627 NIGHTENGALE CIR
                                      CHICAGO, IL 60637                     LINDENHURST, IL 60046




HERATY INDUSTRIES INC                 HERAVER, SANDRA                       HERBECK, BRIAN
P.O. BOX 566                          917 SHILOH BLVD                       8784 SOUTH SHORE
LAKE FOREST, IL 60045                 ZION, IL 60099                        WORDEN, IL 62097




HERBERT CURTIS                        HERBERT, CURTIS                       HERBERT, JULIE A.
273 LOMBARD ST                        273 LOMBARD ST                        325 S 52ND ST
GALESBURG, IL 61401                   GALESBURG, IL 61401                   BELLEVILLE, IL 62226
HERBERT, LAWRENCE W.      Case 20-10766-BLS   Doc
                                        HERBERT,    6 Filed 04/07/20
                                                 SUSAN                    Page HERBISON
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                                                                                        JANNA M
2317 ROLLING RIDGE LN                   1452 GOSHEN AVE                        2536 STRATFORD
LINDENHURST, IL 60046                   CLOVIS, CA 93611                       GRANITE CITY, IL 62040




HERBRAND, KEITH                         HERCHENBACH, NANCY K.                  HERCULES INDUSTRIES INC
30 BOGIE LANE                           19377 W PETERSON ROAD                  P O BOX 17923
PALM HARBOR, FL 34683                   LIBERTYVILLE, IL 60048                 DENVER, CO 80217-0923




HERENDON AMANDA L                       HERISON, BETH                          HERITAGE FOOD SERVICE EQUIP.
P.O. BOX 1535                           2649 OLD HWY 5                         P. O. BOX 8710
BLUE RIDGE, GA 30513                    BLUE RIDGE, GA 30513                   FORT WAYNE, IN 46898-8710




HERITAGE FOOD SERVICE GROUP INC         HERITAGE FOOD SERVICE GROUP INC        HERITAGE VICTOR VALLEY MEDICAL GROUP
P.O. BOX 71595                          P.O. BOX 71595                         P.O. BOX 1957
CHICAGO, IL 60694                       CHICAGO, IL 60694-1595                 VICTORVILLE, CA 92393




HERLACHE, MEREDITH                      HERMAN E MAGNUS                        HERMAN KAREN
657 W LIBERTY ST UNIT C                 6131 OLD PLANK BLVD                    247 NORMANDY LN
WAUCONDA, IL 60084                      MATTESON, IL 60443                     GRAYSLAKE, IL 60030




HERMAN SCHOEBER                         HERMAN, ARTHUR                         HERMAN, BETH R.
2522 WESTMORELAND DR                    1013 WERTZ AVE SW                      209 E PENNSYLVANIA
GRANITE CITY, IL 62040                  CANTON, OH 44710                       STAUNTON, IL 62088




HERMAN, DEBORAH S.                      HERMAN, DELORES                        HERMAN, ELIZABETH J.
ADDRESS ON FILE                         1818 CEMETARY ST                       571 STANDISH ST NW
                                        JERSEY SHORE, PA 17740                 MASSILLON, OH 44647




HERMAN, JACK O.                         HERMAN, KELLEY                         HERMAN, RACHEL E.
247 NORMANDY LANE                       160 S A GRAHAM BLVD                    209 E PENNSYLVANIA ST
GRAYSLAKE, IL 60030                     BRUNDIDGE, AL 36010                    STAUNTON, IL 62088




HERMAN, SHELLY                          HERMANN, GARY                          HERMANN, VICTORIA
13400 KIMMENS RD SW                     4812 MULTIFLORA DR                     4812 MULTIFLORA DRIVE
MASSILLON, OH 44647                     WATERLOO, IL 62298                     WATERLOO, IL 62298




HERMANSEN, MANDY                        HERMES, JESSICA                        HERMOSILLO, CELINE
315 E 4TH ST                            18255 OREGON LN                        11235 MORAINE DRIVE 3N
LOWELL, OR 97452                        ORLAND PARK, IL 60467                  PALOS HILLS, IL 60465
HERMOSILLO, TIAYANI     Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                      HERN, ABRIALL                  Page HERNANDEZ
                                                                          792 of 1969
                                                                                    ANTONIO
400 EAST WILLIAMS APARTMENT A         2612 7TH ST. APT 3H                 ADDRESS ON FILE
BARSTOW, CA 92311                     LAS VEGAS, NM 87701




HERNANDEZ DEBORAH A                 HERNANDEZ III, PONCIANO               HERNANDEZ M.D., FRANCESCA M.
ADDRESS ON FILE                     921 LAKE VILLAGE DR                   ADDRESS ON FILE
                                    WATSONVILLE, CA 95076




HERNANDEZ M.D., JOSE                HERNANDEZ MARIA D                     HERNANDEZ MARIA E
220 PECAN NE                        431 S LEWIS AVE                       30 S BUTRICK ST
DEMING, NM 88030                    WAUKEGAN, IL 60085                    WAUKEGAN, IL 60085




HERNANDEZ MARISOL                   HERNANDEZ NICOLE                      HERNANDEZ OLIVAS, ELIER
2551 DELMAR AVE                     2008 EDGEWOOD                         619 1/2 W ASH ST
GRANITE CITY, IL 62040              WAUKEGAN, IL 60087                    DEMING, NM 88030




HERNANDEZ VALENTIN                  HERNANDEZ, ALBERT                     HERNANDEZ, ALDO A.
1511 LUCIA AVE                      13313 S. COMMERCIAL AVENUE            ADDRESS ON FILE
WAUKEGAN, IL 60085                  CHICAGO, IL 60633




HERNANDEZ, ALICE M.                 HERNANDEZ, ALLEGRA                    HERNANDEZ, AMELIA
ADDRESS ON FILE                     605 S ZINC ST                         3709 PIPER RD
                                    DEMING, NM 88030                      BIG SPRING, TX 79720




HERNANDEZ, ANA                      HERNANDEZ, ANNETTE C.                 HERNANDEZ, ANNETTE
9839 MAPLE AVE                      ADDRESS ON FILE                       ADDRESS ON FILE
HESPERIA, CA 92345




HERNANDEZ, ANTONIO V.               HERNANDEZ, CHRISTIAN                  HERNANDEZ, CHRISTINA
ADDRESS ON FILE                     ADDRESS ON FILE                       1804 RUNNELS
                                                                          BIG SPRING, TX 79720




HERNANDEZ, COURTNEY                 HERNANDEZ, CRISTINA                   HERNANDEZ, CRYSTAL
ADDRESS ON FILE                     ADDRESS ON FILE                       2065 BARCELONA
                                                                          BARSTOW, CA 92311




HERNANDEZ, DAMARIS A.               HERNANDEZ, DEBORAH                    HERNANDEZ, DEJANIRA
8655 MENARD AVE                     ADDRESS ON FILE                       1055 FREEDOM BLVD
BURBANK, IL 60459                                                         WATSONVILLE, CA 95076
HERNANDEZ, ELENA          Case 20-10766-BLS   DocERICA
                                        HERNANDEZ, 6 Filed
                                                       K.  04/07/20   Page HERNANDEZ,
                                                                           793 of 1969EUSTOLIA
748 25TH ST                             ADDRESS ON FILE                    38285 N SHERIDAN RD
SPRINGFIELD, OR 97477                                                      LOT 38
                                                                           WAUKEGAN, IL 60087




HERNANDEZ, FRANCISCO H.                 HERNANDEZ, FREDDY B.               HERNANDEZ, HEATHER
ADDRESS ON FILE                         ADDRESS ON FILE                    ADDRESS ON FILE




HERNANDEZ, JASMIN                       HERNANDEZ, JAZMIN M.               HERNANDEZ, JESUS
ADDRESS ON FILE                         11327 W CARNAHAN AVE               7749 MAJOR AVENUE
                                        BEACH PARK, IL 60099               BURBANK, IL 60459




HERNANDEZ, JORGE L.                     HERNANDEZ, JOSE                    HERNANDEZ, JOSE
ADDRESS ON FILE                         ADDRESS ON FILE                    70 CEDAR STREET
                                                                           ALTO PASS, IL 62905




HERNANDEZ, KRISTINE MAE C.              HERNANDEZ, LEO                     HERNANDEZ, LEONARDO D.
ADDRESS ON FILE                         2975 CHARNELTON                    9171 BERRY PATCH
                                        EUGENE, OR 97405-3228              LAS CRUCES, NM 88011




HERNANDEZ, LESLIE                       HERNANDEZ, LILY                    HERNANDEZ, LISA
25880 RANCHO ST                         ADDRESS ON FILE                    4834 W WARNER AVE
APPLE VALLEY, CA 92308                                                     CHICAGO, IL 60641




HERNANDEZ, LUCIA                        HERNANDEZ, MARBELLA                HERNANDEZ, MARIA E.
115 N BUTRICK ST APT 1                  21550 JEFFREY AVE                  2832 S TRIPP AVE APT 1
WAUKEGAN, IL 60085                      SAUK VILLAGE, IL 60411             CHICAGO, IL 60623




HERNANDEZ, MARIA L.                     HERNANDEZ, MARIAM G.               HERNANDEZ, MARIBEL
ADDRESS ON FILE                         ADDRESS ON FILE                    ADDRESS ON FILE




HERNANDEZ, MARISELA                     HERNANDEZ, MARISOL                 HERNANDEZ, MAYRA
740 E 8TH ST                            9029 S MELVINA AVENUE              2905 CANTO RD SE
COLORADO CITY, TX 79512                 OAK LAWN, IL 60453                 DEMING, NM 88030




HERNANDEZ, MERCEDES                     HERNANDEZ, MICHELLE                HERNANDEZ, NICOLE
36 LA HACIENDA ST                       3514 MICHAEL AVE                   2008 EDGEWOOD RD
WATSONVILLE, CA 95076                   PARK CITY, IL 60085                WAUKEGAN, IL 60087
                      Case 20-10766-BLS
HERNANDEZ, NOHEMI ALEGRIA                 DocPASTORA
                                    HERNANDEZ,  6 Filed
                                                     B. 04/07/20     Page HERNANDEZ,
                                                                          794 of 1969PETRA
4499 GRADY SMITH RD                 ADDRESS ON FILE                       501 NE 9TH STREET
LOGANVILLE, GA 30052                                                      BIG SPRING, TX 79720




HERNANDEZ, REGINA                  HERNANDEZ, ROMMEL E.                   HERNANDEZ, ROSELLE S.
7530 MANZANITA CR                  300 TALL OAKS DRIVE                    ADDRESS ON FILE
SALINAS, CA 93907                  MONROE, GA 30655




HERNANDEZ, ROSELLE                 HERNANDEZ, SANDRA                      HERNANDEZ, VERONICA
ADDRESS ON FILE                    ADDRESS ON FILE                        ADDRESS ON FILE




HERNANDEZ, VICTORIA A.             HERNANDEZ, VILLASANA LUISA             HERNANDEZ, YAZMINE
1100 WEST BUENA VISTA              300 SEQUOYAH DR NE LOT 169             ADDRESS ON FILE
BARSTOW, CA 92311                  FORT PAYNE, AL 35967




HERNANDEZ-BURKE, MICHELLE M.       HERNANDEZ-GONZALEZ, KIMBERLI P.        HERNANDEZLARA MARIA L
ADDRESS ON FILE                    ADDRESS ON FILE                        ADDRESS ON FILE




HERNANDEZ-LOPEZ, MAYRA             HERNDON, NANCY M.                      HERR PETROLEUM
P.O.BOX 481                        P.O. BOX 1254                          1693 STATE HWY 164
FREEDOM, CA 95019                  458 E SECOND STREET                    GALESBURG, IL 61401
                                   BLUE RIDGE, GA 30513




HERR, ALTA J.                      HERR, DIANE                            HERR, PETROLEUM
811 ROYALDEL LN                    9935 E WAITE ROAD                      1693 STATE HWY 164
SPRINGFIELD, OR 97477-0000         CLINTON, WI 53525                      GALESBURG, IL 61401




HERREJON, ADELA                    HERRELL, JAMES                         HERRELL, JEFFREY
2118 YORK ST                       303 W BROADWAY                         1550 CEMETERY RD
BLUE ISLAND, IL 60406              JOHNSTON CITY, IL 62951                ROCKWOOD, IL 62280-1148




HERREN, KEVIN M.                   HERRERA, AMY E.                        HERRERA, CINDI
0737 ACCESS ROAD                   ADDRESS ON FILE                        1301 E. 11TH PLACE
CYPRESS, IL 62923                                                         BIG SPRING, TX 79720




HERRERA, DANIEL A.                 HERRERA, ELISE                         HERRERA, IVETTE
12239 ANN STREET                   128 SKYLINE DRIVE                      539 CHERRY VALLEY ROAD
BLUE ISLAND, IL 60406              EVANSTON, WY 82930                     VERNON HILLS, IL 60061-2706
HERRERA, JANIS L.        Case 20-10766-BLS   Doc
                                       HERRERA,     6 Filed 04/07/20
                                                LETICIA                Page HERRERA,
                                                                            795 of 1969
                                                                                     MARK M.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




HERRERA, OLGA A.                        HERRERA, ORALIA                     HERRERA, QUESIA
17 CHAPMAN ROAD                         21 LILAC DRIVE                      ADDRESS ON FILE
BIG SPRING, TX 79720                    DYER, IN 46311




HERRERA, SANDRA L.                      HERRERA, SYLVIA M.                  HERRERA, TADEO
P.O. BOX 346 301 HILL AVENUE            1107 DOUGLAS ST.                    14800 S KENTON AVE
WATSONVILLE, CA 95077                   BIG SPRING, TX 79720                MIDLOTHIAN, IL 60445




HERRERA, TARA                           HERRERA, TARA                       HERRERA-ORNELAS, SILVIA
ADDRESS ON FILE                         ADDRESS ON FILE                     2824 139TH PL
                                                                            BLUE ISLAND, IL 60406




HERRICK, JACKIE                         HERRICK, STEVEN E.                  HERRIN CHAMBER OF COMMERCE
1960 KNOX RD 1700E                      1960 KNOX RD 1700E                  3 SOUTH PARK AVENUE STE A
VICTORIA, IL 61485                      VICTORIA, IL 61485                  HERRIN, IL 62948




HERRIN JR HIGH SCHOOL                   HERRIN WATER DEPARTMENT             HERRIN WATER DEPARTMENT
ATTN RYAN LOWE                          300 N PARK AVE C                    300 NORTH PARK AVE
700 SOUTH 14TH ST                       HERRIN, IL 62948                    HERRIN, IL 62948
HERRIN, IL 62948




HERRING ENTERPRISE                      HERRING, ALAN                       HERRING, ANGELA G.
P.O. BOX 2006                           2937 FORTUNE DR                     P.O. BOX 333
SHALLOWATER, TX 79363                   GRANITE CITY, IL 62040              COPPERHILL, TN




HERRING, ANGELA G.                      HERRING, PAULA                      HERRING, RONDA J.
P.O. BOX 333                            221 JEFFERSON P O BOX 89            ADDRESS ON FILE
COPPERHILL, TN 37317                    CLAYTON, NM 88415




HERRING, THERESA                        HERRING, TOMMY                      HERRINGTON, MADELINE K.
1908 KAHALA SUNSET DR UNIT D            117 HILLCREST DR                    ADDRESS ON FILE
SPICEWOOD, TX 78669                     GREENVILLE, AL 36037




HERRMANN SIGNS & SERVICE                HERRON, CHAD                        HERRON, HOLLY A.
12436 EAST LAKEWOOD DRIVE               401 LINCOLN AVE                     128 AUSTIN AVE NW
MT VERNON, IL 62864                     E. ALTON, IL 62024                  MASSILLON, OH 44646
HERRON, JUDY            Case 20-10766-BLS
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                                                                                        1969
106 FALCON DRIVE                      7649 W 63 PL                              1011 E. FRONT ST.
LOUISA, KY 41230                      SUMMIT ARGO, IL 60501                     DOVER, OH 44622




HERSHBERGER, DEBORAH                  HERSHBERGER, NANCY                        HERSHNER, JULIE
1453 FAIRLAND AVE SW                  805 COURT RD                              P.O. BOX 168
CANTON, OH 44710                      WILMOT, OH 44689                          ALVADORE, OR 97409-0168




HERSLOW, PHYLISS                      HERTISEEN, BRADLEY                        HERTZ, GRETCHEN
1348 E KNOX ST                        14437 S MICHIGAN AVE                      812 CHANCELLOR DR
GALESBURG, IL 61401                   RIVERDALE, IL 60827                       EDWARDSVILLE, IL 62025




HERTZKE, SHAYLA                       HERVEY, MISTY D.                          HERVOL, SABINA M.
2405 N. SALEM LN                      ADDRESS ON FILE                           ADDRESS ON FILE
ROUND LAKE BEACH, IL 60073




HERZBERG, KATHERYN E.                 HERZOG, DAVID M.                          HERZOG, FALLAN
803 FRUIT FARM ROAD E                 ADDRESS ON FILE                           916 W 95TH ST
FORT PAYNE, AL 35967-7455                                                       CHICAGO, IL 60643




HERZOG, MONICA                        HERZOG, STACY                             HESCH, MORGAN
ADDRESS ON FILE                       11465 MILLER AVE                          ADDRESS ON FILE
                                      HARTVILLE, OH 44632




HESKETH, JOYCE                        HESS JAMES L                              HESS REBECCA
13 PINEWOOD DRIVE                     612 S ELM                                 144 CYPRESS ESTATES LANE
CARBONDALE, IL 62901                  P.O. BOX 354                              HENDERSONVILLE, NC 28792
                                      CAMBRIA, IL 62915




HESS, ALBERT                          HESS, ALEXANDRIA N.                       HESS, AMY F.
2210 MORNINGSIDE                      630 CR 521                                ADDRESS ON FILE
WYNNE, AR 72396                       WYNNE, AR 72396




HESS, ERICA                           HESS, JANET                               HESS, JENNIFER L.
25 BLACKBERRY LANE                    859 FRANKLIN RD NE                        ADDRESS ON FILE
HERRIN, IL 62948                      MASSILLON, OH 44646




HESS, KEENAN A.                       HESS, SUSAN                               HESTER GAIL D
25 BLACKBERRY LANE                    1324 RITCHEY DR                           802 GAWAIN DR
HERRIN, IL 62948                      MARION, IL 62959                          TROY, IL 62294
HESTER, ANDREW B.            Case 20-10766-BLS
                                           HESTER, Doc
                                                   CJ  6      Filed 04/07/20   Page HESTER,
                                                                                    797 of JOHN
                                                                                            1969R.
ADDRESS ON FILE                             13696 ALABAMA HWY 117                   12719 LINCOLN
                                            HENAGAR, AL 35978                       BLUE ISLAND, IL 60406




HESTER, KENDRA N.                           HESTER, KENNETH K.                      HESTER, KYLE
ADDRESS ON FILE                             255 ELBERT STREET                       255 ELBERT ST.
                                            GADSDEN, AL 35901                       GADSDEN, AL 35901




HESTER, LINDA G.                            HESTER, RACHEL                          HESTER, TAMMIE H.
3515 WINDFIELD TERRACE                      3156 MELBOURNE ST                       174 POSEY ROAD
MONROE, GA 30655                            SALT LAKE CITY, UT 84106                FT. PAYNE, AL 35968




HESTON, CATHERINE                           HESTON, ELIZABETH                       HETRICK, ANCA N.
ADDRESS ON FILE                             107 N LADY WASHINGTON ST                5771 CHAMBER DRIVE
                                            LOUISA, KY 41230                        KEARNS, UT 84118




HETRICK, ROBERT G.                          HETZEL, TARA L.                         HEUBNER, SHARON
ADDRESS ON FILE                             5749 MT VERNON RD                       119 SUNNYVIEW PLACE
                                            SPRINGFIELD, OR 97478                   DAHINDA, IL 61428




HEUSER, CURTIS N.                           HEUSTESS, FRANKIE J.                    HEVERLY, RICHARD E.
859 SANCTUARY DR APT 306B                   2290 S WASHINGTON ST                    P.O. BOX 84
LAKE VILLA, IL 60046                        FORREST CITY, AR 72335                  BLANCHARD, PA 16826-0084




HEWATT, GINGER                              HEWITT, JULIE                           HEWLETT, DONALD
9945 OLD HWY 76                             1010 WHITESTONE RD                      10595 HWY 1
MORGANTON, GA 30560                         XENIA, OH 45385                         WEBBVILLE, KY 41180




HEY, JORDYN                                 HEYL ROYSTER VOELKER & ALLEN PC         HEYREND, DANIELLE J.
3029 MAX CT                                 P.O. BOX 6199                           ADDRESS ON FILE
ISLAND LAKE, IL 60042-9009                  PEORIA, IL 61601-6199




HEYWOOD, VALERIE J.                         HFMA                                    HFR, INC.
ADDRESS ON FILE                             P.O. BOX 4237                           ACCOUNTING DEPT
                                            CAROL STREAM, IL 60197-4237             P.O. BOX 1974
                                                                                    BRENTWOOD, TN 37024-1974




HFS BUREAU OF COLLECTIONS                   HFS MEDICAID OF ILLINOIS                HFS
THIRD PARTY LIABILITY SECTION               ATTN: ADJUSTMENT UNIT                   ADMINISTRATIVE SERVICES UNIT
P.O. BOX 19120                              P.O. BOX 19101                          2200 CHURCHILL RD, A-1
SPRINGFIELD, IL 62794-9120                  SPRINGFIELD, IL 62794                   SPRINGFIELD, IL 62702
HFS                      Case 20-10766-BLS    DocOF6 FISCAL
                                       HFS/BUREAU       Filed 04/07/20
                                                            OPERATION      Page HHS
                                                                                798CULINARY
                                                                                    of 1969AND NUTRITION
P.O. BOX 19101                           P.O. BOX 19491                         SOLUTIONS, LLC
SPRINGFIELD, IL 62794                    SPRINGFIELD, IL 62794-9491             P.O. BOX 734364
                                                                                DALLAS, TX 75373-4364




HHS CULINARY AND NUTRITION               HHS ENVIORNMENTAL SERVICES, INC        HHS ENVIROMENTAL SERVICES LLC
SOLUTIONS, LLC                           P.O. BOX 734367                        P.O. BOX 734367
P.O. BOX 734364                          DALLAS, TX 75373-4367                  DALLAS, TX 75373-4367
DALLAS, TX 75373-7364




HHS ENVIRONMENTAL SERVICES LLC           HHS, LLC                               HHS, LLC
P.O. BOX 734367                          P.O. BOX 2267                          P.O. BOX 826
DALLAS, TX 75373-4367                    SAN ANTONIO, TX 78298                  SAN ANTONIO, TX 78293-0826




HI DESERT ALARM                          HI TECH COMMERCIAL SVC                 HIATT, RICHARD W.
16637 MOJAVE DR.                         DBA OF INTIAM INC                      1889 10TH STREET UNIT C
VICTORVILLE, CA 92395                    1840 STELLA LAKE ST                    SPRINGFIELD, OR 97477
                                         LAS VEGAS, NV 89106




HIBBARD, CHERYL                          HIBBARD, STANLEY C.                    HIBBETS, LARRY
203 WEST KELL                            203 WEST KELL ST                       2209 HUNTER POINTE DR
WORDEN, IL 62097                         WORDEN, IL 62097                       GRANITE CITY, IL 62040




HIBBS, CODY T.                           HICE, EWELL                            HICKEN, GREGORY
1085 HOLIDAY DRIVE APT 1212              P.O. BOX 12                            ADDRESS ON FILE
FORREST CITY, AR 72335                   CHERRYLOG, GA 30522




HICKENBOTTOM, STEPHANIE A.               HICKERSON, BARBIE                      HICKERSON, JESSICA N.
4106 MAIN STREET                         10050 MIDDLEBURG RD                    1011 SOUTH HIGH STREET
NEW PHILADELPHIA, OH 44663               LEXINGTON, TN 38351                    TRENTON, TN 38382




HICKERSON, RACHEL N.                     HICKEY, CLEM                           HICKEY, JULIE
ADDRESS ON FILE                          93 WESTWOOD                            HC 67 BOX 2
                                         HUMBOLDT, TN 38343                     LONETREE, WY 82936




HICKEY, MARY J.                          HICKEY, SHAWN                          HICKEY, SHAWN
1968 COUNTY ROAD 27                      1035 WOODBINE CIRCLE E                 2012 CORNELIA CT
FORT PAYNE, AL 35968                     GALESBURG, IL 61401                    GALESBURG, IL 61401




HICKLING, ANDREA J.                      HICKMAN WILLIAM JR                     HICKMAN, CYNTHIA J.
409 SUSANNA DRIVE                        1178 CONASAUGA RD                      18548 W JUDY DR
KERNERSVILLE, NC 27284                   ELLIJAY, GA 30540                      GURNEE, IL 60031
HICKMAN, DARIN          Case 20-10766-BLS
                                      HICKMAN,Doc
                                               JULIA6  Filed 04/07/20   Page HICKMAN,
                                                                             799 of 1969
                                                                                      KEELY G.
517 E CHAIN OF ROCKS RD               143 MANOR CT                           222 NORTH 1ST ST
GRANITE CITY, IL 62040                GREENVILLE, AL 36037                   TOOELE, UT 84074




HICKMAN, MINNIE                       HICKMAN, SHANE                         HICKMAN, TAMMY R.
2617 CLEVELAND                        P.O. BOX 132                           517 E. CHAIN OF ROCKS ROAD
E. ST. LOUIS, IL 62205                LOGANDALE, NV 89021-0132               MITCHELL, IL 62040




HICKORY HILL PHARMACY                 HICKS DANNY J                          HICKS, AMANDA
109 HICKORY HILL DR                   7444 COUNTY ROAD 58                    316 S MAIN STREET
HELENA, AR 72342                      PISGAH, AL 35765-6635                  WATERLOO, IL 62298




HICKS, ANITA K.                       HICKS, AVON                            HICKS, DAKOTA W.
1402 33RD STREET SW                   2450 LOVERS LN NE                      ADDRESS ON FILE
CANTON, OH 44706                      CANTON, OH 44721-1429




HICKS, DARCEY L.                      HICKS, DWAINE                          HICKS, ELEANOR
ADDRESS ON FILE                       16640 SCHOOL ST                        28974 BAILEY LANE
                                      SOUTH HOLLAND, IL 60473-2974           JUNCTION CITY, OR 97448




HICKS, FLOYDEAN                       HICKS, GARY                            HICKS, GWENDOLYN G.
10 WILLOW ROAD                        2135 ROWLAND MILL ROAD                 948 W 116TH ST
ANIMAS, NM 88020                      BUENA VISTA, TN 38318                  CHICAGO, IL 60643




HICKS, HEATHER                        HICKS, JEFFREY                         HICKS, JIMMIE
900 WEST ROAD                         3709 CYPRESS DR                        339 SAND MOUNTAIN DRIVE
VALMEYER, IL 62295                    SPRING GROVE, IL 60081                 RAINSVILLE, AL 35986




HICKS, JOYCE                          HICKS, KANOSHA Q.                      HICKS, KANOSHA Q.
THE ESTATE OF 208 BOBBIE DR.          ADDRESS ON FILE                        1015 PRINCETON STREET APARTMENT 14
SWANSEA, IL 62226                                                            FORREST CITY, AR 72335




HICKS, KAYLA                          HICKS, LORETTA L.                      HICKS, MATTHEW H.
ADDRESS ON FILE                       9985 E. STRAWBRIDGE RD                 ADDRESS ON FILE
                                      MT VERNON, IL 62864




HICKS, MELANIE                        HICKS, PHILLIP                         HICKS, PHILLIS
14 B STREET                           403 E RED BUD ST                       5765 HWY 145S
LOUISA, KY 41230                      RED BUD, IL 62278                      HARRISBURG, IL 62946
HICKS, SHARON K.            Case 20-10766-BLS     Doc 6
                                          HICKS, SHARON      Filed 04/07/20     Page HICKS,
                                                                                     800 of   1969
                                                                                            STACEY
ADDRESS ON FILE                            ADDRESS ON FILE                           2429 BUSINESS HIGHWAY 13
                                                                                     MURPHYSBORO, IL 62966




HICKS, TAMMAS                              HICKS, TIMMY                              HICKS, TONI
ADDRESS ON FILE                            6647 E CASPER RD                          1919 RICHVIEW RD
                                           WALTONVILLE, IL 62894                     MT. VERNON, IL 62864




HICKS, VIRGIL B.                           HICKS, WILLIAM B.                         HICKSON, STEPHANIE
8344 CITY LAKE ROAD                        2101 BRIARWOOD AVE.SW APT306              7035 B ST
DU QUOIN, IL 62832                         FORT PAYNE, AL 35967-0000                 SPRINGFIELD, OR 97478




HICKSON, TRACY                             HIDALGO, ARMIDA                           HIDALGO, ARMIDA
ADDRESS ON FILE                            1508 MERGANSER BLVD                       ADDRESS ON FILE
                                           SWANSEA, IL 62226




HIDALGO, CLIFFORD O                        HIDALGO, VICTOR                           HIDDEN LAKE WINERY
ADDRESS ON FILE                            ADDRESS ON FILE                           10580 WELLEN ROAD
                                                                                     AVISTON, IL 62216




HIDDEN VALLEY MEDICAL CENTER               HIDDEN VALLEY MEDICAL CENTER, INC.        HIDDEN VALLEY MEDICAL
101 RIVERSTONE VISTA                       289 S. CULVER ST.                         1940 OLD HWY 5
SUITE 111                                  LAWRENCEVILLE, GA 30046                   BLUE RIDGE, GA 30513
BLUE RIDGE, GA 30513




HIDEN, SAMUEL                              HIDROGO JOSE                              HIDROGO, MARIO
709 ROCKFORD DRIVE                         1511 ROUND LAKE DR                        ADDRESS ON FILE
BIRMINGHAM, AL 35209-0000                  ROUND LAKE, IL 60073




HIEL. TISHA                                HIELD, TERESE A.                          HIETT, AUBRIE
P.O. BOX 92                                13530 S LOCKWOOD                          42 IVY LANE
PRAIRIE CITY, IL 61470                     CRESTWOOD, IL 60418                       RAINSVILLE, AL 35986




HIETT, CAROL O.                            HIETT, CHARLOTTE ANN B.                   HIETT, JIMMY S.
566 COUNTY ROAD 824                        3449 COUNTY RD 131                        42 IVY LANE
RAINSVILLE, AL 35986-0000                  HENAGAR, AL 35978                         RAINSVILLE, AL 35986-0000




HIETT, KIMBERLY                            HIGDON EMILY                              HIGDON, ANDREW JR
ADDRESS ON FILE                            448 CASCADE LANE                          3522 HIGHWAY 140S
                                           BLUE RIDGE, GA 30513                      MCKENZIE, TN 38201-5115
HIGDON, JAYSON B.          Case 20-10766-BLS
                                         HIGDON, Doc 6 Filed 04/07/20
                                                 MAURICE                 Page HIGDON,
                                                                              801 of MEAGAN
                                                                                      1969 C.
P.O. BOX 1324                            48 ASPEN GROVE DR E                  ADDRESS ON FILE
RAINSVILLE, AL 35986                     APT Q8
                                         EVANSTON, WY 82930




HIGGERSON, JEANNIE                       HIGGINBOTHAM WADE M                  HIGGINBOTHAM, CRYSTAL G.
ADDRESS ON FILE                          38955 US HIGHWAY 11                  7803 PATS ROAD
                                         VALLEY HEAD, AL 35989-4421           BIG SPRING, TX 79720




HIGGINBOTHAM, DAVID E.                   HIGGINBOTHAM, VICKI                  HIGGINBOTHAM-BARTLETT CO
7803 PATS RD                             1679 AL HWY 73                       P.O. BOX 392
BIG SPRING, TX 79720                     BRYANT, AL 35958-0000                COMANCHE, TX 76442




HIGGINBOTHOM, CAROLINE                   HIGGINBOTHOM, GLORIA N               HIGGINS SUSAN M
302 HILLCREST STREET                     16175 HWY 49                         209 E MAIN ST
MARIANNA, AR 72360                       MARVELL, AR 72366                    PO BOX 18
                                                                              BIGGSVILLE, IL 61418




HIGGINS VICKI M                          HIGGINS, ANITA                       HIGGINS, BRITTANY
135 COUNTY ROAD 644                      882 BEACON RD
HENAGAR, AL 35978-6614                   PARSONS, TN 38363




HIGGINS, BRITTANY                        HIGGINS, BRITTANY R.                 HIGGINS, DANIEL
ADDRESS ON FILE                          2231 LEBANON ROAD                    135 HIGHLAND AVE
                                         EPWORTH, GA 30541                    GALESBURG, IL 61401




HIGGINS, GARRY D.                        HIGGINS, JOE E.                      HIGGINS, MICHELLE
ADDRESS ON FILE                          2320 MERRILL DR APT A3               ADDRESS ON FILE
                                         FORREST CITY, AR 72335




HIGGS SR., PRIGETT                       HIGGS, JASON                         HIGGS, PRIGETT
2044 OLD RIVER RD                        ADDRESS ON FILE                      ADDRESS ON FILE
GREENVILLE, NC 27834




HIGGS, REDA                              HIGH DESERT LASER GRAPHICS           HIGH DESERT PATHOLOGY MEDICAL GROUP
1810 CARRIAGE HILL ST NW                 12284 INDUSTRIAL BLVD STE B1         5675 SKYLINE CIRCLE
MASSILLON, OH 44646                      VICTORVILLE, CA 92395                LA VERNE, CA 91750




HIGH DESERT PHOENIX FOUNDATION           HIGH DESERT REFRIG. & HEATING        HIGH DESERT SIGNS
P.O. BOX 803                             P.O. BOX 910                         1305 W.MAIN ST
APPLE VALLEY, CA 92307                   BARSTOW, CA 92312                    BARSTOW, CA 92311
HIGH SIERRA ELEVATOR       Case 20-10766-BLS
                                         HIGHAM, Doc 6
                                                 DEBRA        Filed 04/07/20   Page HIGHBRIDGE
                                                                                    802 of 1969CAPITAL MANAGEMENT, LLC
INSPECTIONS INC                           665 OLD PARIS RD                          INSTITUTIONAL CREDIT FUND SUBSIDIARY,
P.O. BOX 50776                            MCKENZIE, TN 38201                        L.P.
SPARKS, NV 89435-0776




HIGHBRIDGE CAPITAL MANAGEMENT, LLC        HIGHBRIDGE CAPITAL MANAGEMENT, LLC        HIGHER EDUCATION LOAN AUTHORITY OF
ZALICO VL SERIES ACCOUNT 2               ZURICH AMERICAN INSURANCE COMPANY-1       THE ST OF MO
                                                                                    P.O. BOX 1022
                                                                                    CHESTERFIELD, MO 63006




HIGHER EDUCATION LOAN AUTHORITY OF        HIGHFIELD JAKE E                          HIGHFIELD, JAMES F.
THE STATE OF                              1130 COUNTY RD 107                        ADDRESS ON FILE
633 SPIRIT DRIVE                          GAYLESVILLE, AL 35973-0000
CHESTERFIELD, MO 63005




HIGHFIELD, RONALD B.                      HIGHLAND CAPITAL CORP.                    HIGHLAND CAPITAL CORP.
6310 MITCHELL RD NE                       5 CENTER AVE                              5 CENTER AVE
FORT PAYNE, AL 35967-8037                 P.O. BOX 1224                             PO BOX 1224
                                          LITTLE FALLS, NJ 07424-8224               LITTLE FALLS, NJ 07424-8224




HIGHLAND CAPITAL CORPORATION              HIGHLAND CHAMBER OF COMMERCE              HIGHLAND CONSTRUCTION LLC
5 CENTER AVE                              907 MAIN ST                               2306 COLLINS DRIVE
LITTLE FALLS, NJ 07424                    HIGHLAND, IL 62249                        LAS VEGAS, NM 87701




HIGHLAND CORPORATION                      HIGHLAND COUNCIL FOR THE DEAF             HIGHLAND DRUG
P.O. BOX 190                              P.O. BOX 1935                             P.O. BOX 538
108 MILL AVENUE                           BIG SPRING, TX 79721-1935                 ALPINE, TX 79830
HOHENWALD, TN 38462




HIGHLAND REAL ESTATE                      HIGHLAND RECYCLING SHREDDING              HIGHLANDS REGIONAL MED CENTER
2306 COLLINS DRIVE                        329 MADISON ST.                           5000 KY RT 321
LAS VEGAS, NM 87701-4827                  HIGHLAND, IL 62249                        CPR TRAINING CENTER
                                                                                    PRESTONSBURG, KY 41653




HIGHLANDS WRECKER SERVICE                 HIGHLER, WILLIE                           HIGHMARK BCBS PA
3219 NORTH 7TH STREET                     16413 S PAULINA                           ATTN: REFUND DEPT
LAS VEGAS, NM 87701                       MARKHAM, IL 60428                         P.O. BOX 890062
                                                                                    CAMP HILL, PA 17089-0062




HIGHMARK BCBS WV                          HIGHMARK BCBS                             HIGHMARK BCBS
P.O. BOX 1948                             P.O. BOX 1991                             P.O. BOX 890035
PARKERSBURG, WV 26102-1948                WILMINGTON, DE 19893                      ATTN: REFUNDS
                                                                                    CAMP HILL, PA 17089-0035




HIGHMARK BCBS                             HIGHMARK BCBS                             HIGHMARK BCBS
P.O. BOX 898820                           P.O. BOX 898820                           P.O. BOX 898820
CAMP HILL, PA 17089                       CAMP HILL, PA 17089-0150                  CAMP HILL, PA 17089-8820
HIGHMARK BCBS             Case 20-10766-BLS    Doc
                                        HIGHMARK    6 SHIELD
                                                 BLUE   Filed 04/07/20   Page HIGHMARK
                                                                              803 of 1969
                                                                                       BLUE SHIELD
P.O. BOX 931655                          1800 CENTER ST                       P.O. BOX 890089
CAMP HILL, PA 17089                      CAMP HILL, PA 17011                  CAMP HILL, PA 17089




HIGHMARK BLUE SHIELD                     HIGHMARK FREEDOM BLUE                HIGHMARK HEALTH CARE ACCOUNT
PO BOX 898820                            P O BOX 1068                         1000 CENTER ST
CAMP HILL, PA 17089                      PITTSBURCH, PA 15230-1068            CAMP HILL, PA 17089-0089




HIGHMARK INC                             HIGHMARK UNSOLICITED REFUNDS         HIGHMARK
P.O. BOX 382229                          ATTN: CASHIER                        P.O. BOX 890150
PITTSBURGH, PA 15250-8229                P.O. BOX 890062                      CASHIER
                                         CAMP HILL, PA 17089-0150             CAMP HILL, PA 17011




HIGHMARK                                 HIGHT, LUCILLE                       HIGHTOWER ANN G
P.O. BOX 890179                          12320 S BISHOP ST                    1320 BULLEN GAP ROAD
ATTN: OVERPAYMENTS/REFUNDS               APT 14                               BLUE RIDGE, GA 30513
CAMP HILL, PA 17089-0179                 CALUMET PARK, IL 60827




HIGHTOWER, BRANDON                       HIGHTOWER, JESSAMINE                 HIGHTOWER, SARA
509 ALCOVY LAKES DR                      11 N GENESEE 300                     735 OLD STATE ROUTE 22
MONROE, GA 30655                         WAUKEGAN, IL 60085                   MCKENZIE, TN 38201-3707




HIGLEY, TERRY L.                         HIGLEY, TERRY                        HIGNITE, JEFFREY
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




HIGUCHI, ASHLEY                          HILAND, CANDACE M.                   HILARIO III, JACINTO C.
2451 N KIMBALL AVE                       632 COUNTY ROAD 671                  1501 RUNNELS ST.
UNIT 1                                   HENAGAR, AL 35978                    BIG SPRING, TX 79720
CHICAGO, IL 60647




HILARIO, GERMA B.                        HILDEBRAND, CAROL                    HILDRETH, CASSY LYNN
1159 TRIVOLI WAY                         7 KELLY DRIVE                        ADDRESS ON FILE
SALINAS, CA 93905                        GRANITE CITY, IL 62040




HILEMAN, ALEISHA                         HILEMAN, ANTHONY                     HILEMAN, ANTHONY
ADDRESS ON FILE                          432 HOWER ST NE                      432 HOWER ST. N.E.
                                         NORTH CANTON, OH 44720               NORTH CANTON, OH 44720




HILEMAN, RUSSELL L.                      HILEMAN, SHERRY A.                   HILEMANS BOBCAT SERVICE
1250 KIMMEL CEMETERY RD                  432 HOWER ST NE                      775 NEELY ROAD
ANNA, IL 62906                           NORTH CANTON, OH 44720               ANNA, IL 62906
HILES, MARIAH           Case 20-10766-BLS     Doc RANDY
                                      HILGENBERG,   6 Filed 04/07/20   Page HILL
                                                                            804CYNTHIA
                                                                                 of 1969
                                                                                       D
450 E MARYWOOD LN                     402 MADISON ST                        12448 S FAIRVIEW
ROUND LAKE BEACH, IL 60073            KNOXVILLE, IL 61448                   APT 2W
                                                                            BLUE ISLAND, IL 60406




HILL JR, MERRILL L                    HILL LABORATORIES CO INC              HILL LESLIE B
14909 RENOVO RD                       P.O. BOX 2028                         109 DELANOR DR
RENOVO, PA 17764                      FRAZER, PA 19355                      CARRIER MILLS, IL 62917




HILL M.D., JEFFREY                    HILL MECHANICAL SERVICES INC          HILL ROBERT J
ADDRESS ON FILE                       11045 GAGE AVE                        278 KNIGHTS WAY
                                      FRANKLIN PARK, IL 60131               BLAIRSVILLE, GA 30512




HILL ROM COMPANY INC                  HILL ROM MEDIQ                        HILL ROM SOLUTIONS
P.O. BOX 643592                       P.O. BOX 643592                       P.O. BOX 271128
PITTSBURSH, PA 15264-3592             PITTSBURGH, PA 15264-3592             SALT LAKE CITY, UT 84127-0000




HILL ROM                              HILL SHANNON MICHELLE                 HILL, ABBIGAIL P.
P.O. BOX 643592                       306 N PARKHILL ST                     ADDRESS ON FILE
PITTSBURGH, PA 15264-3592             WEST FRANKFORT, IL 62896-0000




HILL, ABIGAIL R.                      HILL, ALICE                           HILL, ANNA
709 S WALL ST APT 103                 4203 BRECKENRIDGE LN                  5778 WEST BALLERINA WAY
CARBONDALE, IL 62901                  GRANITE CITY, IL 62040                HERRIMAN, UT 84096




HILL, ARNOLD E.                       HILL, ASHLEY                          HILL, BETHANY J.
258 COUNTY RD 811                     616 RICH SMITH WAY                    ADDRESS ON FILE
HIGDON, AL 35979-9322                 JACKSON, TN 38301




HILL, BONNIE L.                       HILL, BRANDI L.                       HILL, BRANT
ADDRESS ON FILE                       ADDRESS ON FILE                       1456 1ST ST NE
                                                                            MASSILLON, OH 44646




HILL, CALVIN S.                       HILL, CARLA M.                        HILL, CHAD
890 EAST 22ND AVE                     1404 WALKER DRIVE                     302 S SIMS ST
EUGENE, OR 97405                      GADSDEN, AL 35905                     ROYALTON, IL 62983




HILL, CHELSEA                         HILL, CLEO M.                         HILL, DALAINE
134 W. CROSS ST.                      P O BOX 305                           12452 S WABASH AVE
DONGOLA, IL 62926                     CRESWELL, NC 27928                    CHICAGO, IL 60628
HILL, DANIEL                Case 20-10766-BLS     DocR.6
                                          HILL, DARCIE          Filed 04/07/20   Page HILL,
                                                                                      805DEBRA
                                                                                            of 1969
                                                                                                 L.
341 47 TH ST. NW                           280 N ADAMS ST                             124 BRADFORD CIRCLE
CANTON, OH 44709                           EUGENE, OR 97402                           HENDERSONVILLE, TN 37075




HILL, DEBRA                                HILL, DIANNA L.                            HILL, DOREEN
ADDRESS ON FILE                            54 SFC 366                                 ADDRESS ON FILE
                                           FORREST CITY, AR 72335




HILL, DOUGLAS                              HILL, EARL N.                              HILL, EARL NED JR - CEO
18106 N. STRATFORD LN                      534 PINEVIEW DRIVE                         MESA VIEW REGIONAL HOSPITAL
MT. VERNON, IL 62864-8984                  MOUNT AIRY, NC 27030                       1299 BERTHA HOWE AVE
                                                                                      MESQUITE, NV 89027




HILL, EARL NED                             HILL, EMILY E.                             HILL, GLENN F.
ADDRESS ON FILE                            ADDRESS ON FILE                            6625 EDGEMOORE DRIVE
                                                                                      COLLEGE GROVE, TN 37046




HILL, HOWARD N.                            HILL, JACQUELINE                           HILL, JANIC
2798 PECAN RD                              ADDRESS ON FILE                            137 ROSS AVE
DU QUOIN, IL 62832                                                                    WEST MEMPHIS, AR 72301




HILL, JASMIN L.                            HILL, JASON E.                             HILL, JEFFREY, MD
2164 GREEN SLOPE DR                        ADDRESS ON FILE                            ADDRESS ON FILE
SAINT LOUIS, MO 63136




HILL, JESSICA L.                           HILL, JIMMIE                               HILL, JUANITA J.
1608 MEADOWBROOK DRIVE                     118 N LINDEN ST                            108 OSAGE ROAD
CARTERVILLE, IL 62918                      DU QUOIN, IL 62832                         COLLINSVILLE, IL 62234




HILL, KAREN E.                             HILL, KAREN                                HILL, KARVON
ADDRESS ON FILE                            ADDRESS ON FILE                            6A CARLIN DR
                                                                                      FAIRVIEW HEIGHTS, IL 62208




HILL, KENITH                               HILL, KEVIN                                HILL, KIMBERLY H.
123 BAYBURY DRIVE UNIT B                   206 W BOULEVARD                            ADDRESS ON FILE
ELWOOD, IL 60421                           MARION, IL 62959




HILL, KURT J.                              HILL, LEIGH A.                             HILL, LYNN F.
ADDRESS ON FILE                            ADDRESS ON FILE                            36 EA DUTCH AVE
                                                                                      STOCKTON, UT 84074
HILL, MACKENNA           Case 20-10766-BLS     DocS. 6
                                       HILL, NANCY           Filed 04/07/20   Page HILL,
                                                                                   806OLIVIA
                                                                                         of 1969
3250 MIDLANE DR                          150 N WILSGON HGTS                        23211 SYLVANIA AVE N
WADSWORTH, IL 60083                      COLLINSVILLE, IL 62234                    SYLVANIA, AL 35988




HILL, PATSY K.                           HILL, RHONDA K.                           HILL, RICKY
388 KIRK ROAD                            5383 COUNTY ROAD 675                      204 QUEENS AVE.
RAINSVILLE, AL 35986                     BIRCH TREE, MO 65438                      BLUE RIDGE, GA 30513




HILL, SAMUEL                             HILL, SEAN T.                             HILL, SHANNON M.
550 US HWY 13N                           ADDRESS ON FILE                           ADDRESS ON FILE
WINDSOR, NC 27983-8024




HILL, SHAUNTA                            HILL, SKYLER N.                           HILL, TAMIAH
144 MOBLEY DR                            ADDRESS ON FILE                           1610 GODFREY AVE NE
ALORTON, IL 62207                                                                  FORT PAYNE, AL 35967




HILL, TANYA                              HILL, TERESA                              HILL, TYSON
808 MADISON ST                           ADDRESS ON FILE                           15342 CORINTH RD
GILLESPIE, IL 62033                                                                JOHNSTON CITY, IL 62951




HILLARY JONES                            HILLER, BRIANA L.                         HILLER, LISA
1499 DAVID ROGERSON RD                   ADDRESS ON FILE                           28 E CLARK
WILLIAMSTON, NC 27892                                                              GRANTSVILLE, UT 84029




HILLEY, SHANNON                          HILLEY, SHANNON                           HILLEY, TRACY J.
1350 COUNTY ROAD 66                      ADDRESS ON FILE                           ADDRESS ON FILE
SECTION, AL 35771




HILLHOUSE, MATTHEW                       HILLIARD, AMY                             HILLIARD, JENNIFER L.
1902 CLARK                               9692 HWY 69A                              5181 HILLIARD RD
GALESBURG, IL 61401                      BIG SANDY, TN 38221                       MCKENZIE, TN 38201




HILLIARD, STEVEN G.                      HILLIARD, TAMLYN                          HILLIER, PRUDENCE G.
592 S. COLUMBINE AVE.                    9945 S LAFAYETTE AVE                      ADDRESS ON FILE
LOMBARD, IL 60148                        CHICAGO, IL 60628




HILLIS, SHERYL                           HILLMAN SR, DONALD                        HILLMAN, CARL K.
ADDRESS ON FILE                          108 S MORRIS ST                           107 SIDNEY LANE
                                         KNOXVILLE, IL 61448                       GOREVILLE, IL 62939
HILLMAN, ELIZABETH L.    Case 20-10766-BLS
                                       HILLMAN,Doc 6 D.Filed 04/07/20
                                               JOSEPH                   Page HILLMAN,
                                                                             807 of KALEE
                                                                                      1969
18 ERNST DRIVE                          ADDRESS ON FILE                      6022 BIG HURRICANE CREEK RD
GLEN CARBON, IL 62034                                                        FORT GAY, WV 25514




HILLMER, LISA A.                        HILLMER, SCOTT                       HILLMERMCGEE, ALEXANDER
ADDRESS ON FILE                         27 GLEN ECHO DR                      2808 IOWA
                                        EDWARDSVILLE, IL 62025               GRANITE CITY, IL 62040




HILLORD, JOANNE                         HILL-ROM (RENTALS)                   HILL-ROM AIR SHIELDS
401 GREENGATE CR                        P.O. BOX 643592                      P.O. BOX 643592
APT F                                   PITTSBURGH, PA 15264                 PITTSBURGH, PA 15264-3592
AIKEN, SC 29803




HILL-ROM CO INC - PARTS                 HILL-ROM CO INC - RENTALS            HILL-ROM COMPANY, INC
P.O. BOX 643592                         P.O. BOX 643592                      P.O. BOX 643592
PITTSBURGH, PA 15264-3592               PITTSBURGH, PA 15264-3592            PITTSBURG, PA 15264-3592




HILL-ROM COMPANY, INC                   HILL-ROM SOLUTIONS                   HILL-ROM
P.O. BOX 643592                         P.O. BOX 35145 (LB 271128)           P.O. BOX 643592
PITTSBURGH, PA 15264-3592               SEATTLE, WA 98124-5145               PITTSBURG, PA 15264-3592




HILL-ROM                                HILL-ROM                             HILL-ROM
P.O. BOX 643592                         PO BOX 643592                        PO BOX 643592
PITTSBURGH, PA 15264-3592               PITTSBURG, PA 15264-3592             PITTSBURGH, PA 15264




HILL-ROM, INC.                          HILLSMAN, KATIRIA                    HILLSTROM, JANEL
POB 643592                              ADDRESS ON FILE                      10372 SANTA CRESTA AVE
PITTSBURGH, PA 15264-3592                                                    LAS VEGAS, NV 89129




HILLYARD                                HILLYER, TERRY                       HILMES, MACY
P.O. BOX 801862                         ADDRESS ON FILE                      ADDRESS ON FILE
KANSAS CITY, MO 64180-1862




HILMES, VALERIE                         HILSCHER CLARKE ELECT CO             HILT, ALYSSA L.
12900 KOCH LANE                         519 4TH STREET NW                    28851 WOODSIDE DRIVE
BREESE, IL 62230                        CANTON, OH 44703                     SANTA CLARITA, CA 91390




HILTI                                   HILTON DEANNA                        HILTON HERBERT LLOYD
P.O. BOX 70299                          957 EMERALD OAKS CT                  76368 RIVER RD
PHILADELPHIA, PA 19176-0299             EUREKA, MO 63025                     P.O. BOX 479
                                                                             OAKRIDGE, OR 97463
HILTON PUBLISHING INC     Case 20-10766-BLS     Doc 6 Filed
                                        HILTON PUBLISHING, INC. 04/07/20   Page HILTON,
                                                                                808 ofDAVID
                                                                                        1969H.
1630 45TH AVE                             5261-A FOUNTAIN DRIVE                 130 BROADVIEW DR APT 312
STE B101                                  CROWN POINT, IN 46307                 BLUE RIDGE, GA 30513
MUNSTER, IN 46321




HILTON, HERBERT L.                        HILTON, KATHY                         HILTON, SUSAN
76368 RIVER RD                            5045 MARTIN DR SE                     502 S SPILLMAN
P.O. BOX 479                              EAST SPARTA, OH 44626                 MARION, IL 62959
OAKRIDGE, OR 97463




HILTZ ERIC                                HILTZ JULIE                           HILYER COLBY L
108 AUSTIN MTN RD                         108 AUSTIN MTN ROAD                   5319 ANDERSON DRIVE NE
COPPERHILL, TN 37317                      COPPERHILL, TN 37317                  FORT PAYNE, AL 35967-7034




HILYER DONNY                              HILYER, MICAH M.                      HILYER, RYAN
5726 COUNTY RD 78                         ADDRESS ON FILE                       2011 SPRING DR. NW
FORT PAYNE, AL 35967-7035                                                       FORT PAYNE, AL 35968




HIM CONNECTIONS, LLC                      HIMAGINE SOLUTIONS, INC.              HIMBER JODY E
2748 ALTON ROAD SUITE 108                 P.O. BOX 743505                       ADDRESS ON FILE
BIRMINGHAM, AL 35210                      ATLANTA, GA 30374-3505




HIMES, JACOB D.                           HINA, GHANI                           HINCKLEY SPRING
ADDRESS ON FILE                           1373 VINEYARD DR                      P.O. BOX 660579
                                          GURNEE, IL 60031                      DALLAS, TX 75266-0579




HINCKLEY SPRING                           HINCKLEY SPRINGS                      HINCKLEY, ALLEN & SNYDER LLP
PO BOX 660579                             P O BOX 660579                        ATTN SARAH LOMBARD
DALLAS, TX 75266                          DALLAS, TX 75266                      20 CHURCH ST, FL 18
                                                                                HARFORD, CT 06103




HINDIA, DR. JIGGAR                        HINDLEY, SALLY                        HINDMAN, JASON W.
111 FORTRESS DRIVE                        9671 NAVARRE RD SW                    ADDRESS ON FILE
OFALLON, IL 62269                         NAVARRE, OH 44662-9457




HINDS, LATANYA                            HINDS, SHELIA                         HINECKER, AMANDA M.
5130 S KING DR UNIT 202                   1406 DEAN ROAD NE                     ADDRESS ON FILE
CHICAGO, IL 60615                         FORT PAYNE, AL 35967




HINECKER, AMANDA                          HINER, MICHAEL                        HINES, DIANNA
ADDRESS ON FILE                           1704 JEFFERSON AVAE                   514 WEST MORO RD.
                                          MT VERNON, IL 62864                   MORO, IL 62067
HINES, EVERETT            Case 20-10766-BLS     Doc 6
                                        HINES, JACOB         Filed 04/07/20   Page HINES,
                                                                                   809 of   1969
                                                                                          JOSEPH
861 SNAKE RD                             3857 N HUFF ST                            3193 FOOTHILL DR SE
DORSEY, IL 62021                         SILVER CITY, NM 88061                     NEW PHILADELPHIA, OH 44663-7749




HING, BOB                                HINKELMAN, JANELL M.                      HINKL, DAVID E.
79876 TERRITORIAL ROAD                   10 ENGLEWOOD DRIVE                        7309 KENDELEWOOD DRIVE
LORANE, OR 97451                         SWANSEA, IL 62226                         EDWARDSVILLE, IL 62025




HINKLE BLACKTOP, LLC                     HINKLE, CASEY                             HINKLE, CLAUDIA
56 KENNEY DRIVE                          ADDRESS ON FILE                           9365 FOREST TRAIL AVE NW
TOMAHAWK, KY 41262-9060                                                            MASSILLON, OH 44647




HINKLE, DEBORAH                          HINKLE, ETHEL                             HINKLE, JOYCE
733 TURKEY CREEK                         1107 POLK AVE                             ADDRESS ON FILE
INEZ, KY 41224-0000                      COTTAGE GROVE, OR 97424




HINKLE, MATILDA                          HINKLEY, BOBBY W.                         HINKS, KIMBERLY L.
1331 E MAIN STREET                       5837 DEVON DR.                            ADDRESS ON FILE
INEZ, KY 41224                           ROCKLIN, CA 95765




HINOJOSA, SIERRA N.                      HINSON, BETTY                             HINTERSER, JACOB
2506 ALAMESA                             3260 LOWER LICK CREEK RD                  13120 BUCKEYE ROAD
BIG SPRING, TX 79720                     LINDEN, TN 37096                          HIGHLAND, IL 62249




HINTON, AMY                              HINTON, CYNTHIA                           HINTON, DONNA
ADDRESS ON FILE                          12252 SOUTH GREEN ST                      11 160TH AVENUE
                                         CHICAGO, IL 60643                         KIRKWOOD, IL 61447




HINTON, GAYLE                            HINTON, ROBERT                            HINTON, SHANA
3345 BRIGADOON CR                        7733 CRONIN AVE                           621 SEE STREET
DALTON, OH 44618-9541                    JUSTICE, IL 60458                         KEWANEE, IL 61443




HINTON, TAMMARA                          HINTON, THOMAS                            HINTON-CHINN, NICOLA R.
247 S 17TH AVE                           121 STONEBRIDGE CROSSING                  ADDRESS ON FILE
MAYWOOD, IL 60153                        MARYVILLE, IL 62062




HINZE, SCOTT S.                          HIPOLITO, BONNIE                          HIPOLITO, MAIRANI Y.
31 KNOLLWOOD DR                          ADDRESS ON FILE                           15 LASSEN WAY APT J
CHESTER, IL 62233                                                                  WATSONVILLE, CA 95076
HIPP, CORINNA               Case 20-10766-BLS
                                          HIPSHER,Doc
                                                   ABBY6L. Filed 04/07/20   Page HIPSKIND,
                                                                                 810 of 1969
                                                                                           SHARON
408 S CHURCH ST                             4249 MARIGOLD DR                     ADDRESS ON FILE
WATERLOO, IL 62298                          PONTOON BEACH, IL 62040




HIRE NEXUS INC                              HIRSCH KEVIN C                       HIRSCH-NEY, SUZANNE
472 N MCLEAN BLVD                           3229 MAEYSTOWN ROAD                  40290 N REGINA RD
ELGIN, IL 60123                             FULTS, IL 62244                      ANTIOCH, IL 60002




HIRTHLER, MICHELLE                          HIRTZ, PATRICK                       HIS ADVERTISING INC
205 HARKLEROAD AVE                          895 N BROAD ST                       SPRINGSDALE, AR
SANTA CRUZ, CA 95062                        LEXINGTON, TN 38351




HISCALL INC                                 HISCALL INC                          HISCOX, LINDA
1001 GENTRY CIR                             1001 GENTRY CR                       11340 HILLSBORO RD
DICKSON, TN 37055                           DICKSON, TN 37055-3024               NEW DOUGLAS, IL 62074




HISE, GARY                                  HISE, PATRICK                        HISS, KENNEN
P.O. BOX 788                                301 S MARKET ST                      265 VALLEY VIEW DR
BIG SPRING, TX 79721-0788                   KNOXVILLE, IL 61448                  TOOELE, UT 84074




HISTOLOGICS, LLC                            HISTORIC SERF THEATRE HALL           HITACHI HEALTHCARE AMERICAS CORP
4095 E. LA PALMA AVE., STE N                707 DOUGLAS AVENUE                   DEPT. 781378
ANAHEIM, CA 92807                           LAS VEGAS, NM 87701                  P.O. BOX 78000
                                                                                 DETROIT, MI 48278-1378




HITACHI HEALTHCARE AMERICAS                 HITACHI HEALTHCARE AMERICAS          HITCH, JANE
CORPORATION                                 DEPT 781378                          1699 ARBALA RD 126
1959 SUMMIT COMMERCE PARK                   P.O. BOX 78000                       SULPHER SPRINGS, TX 75482
TWINSBURG, OH 44087                         DETROIT, MI 48278-1378




HITCHCOCK, AMANDA S.                        HITCHCOCK, PEGGY L.                  HITCHCOCK, TERRI B.
ADDRESS ON FILE                             6186 FRENCH HILL ROAD                ADDRESS ON FILE
                                            DOVER, OH 44622




HITCHN POST RESTAURANT                      HITE, ELIZABETH                      HITE, MEGHAN M.
P.O. BOX 88                                 8033 BLOUGH ROAD                     ADDRESS ON FILE
WILLIAMSTON, NC 27892                       STERLING, OH 44276




HITT, JAMIE                                 HITT, MARCY                          HITTER, JACQUELYN
2506 FAIRWAY DRIVE                          505 N THIRD STREET                   P.O. BOX 1682
ENERGY, IL 62933                            SAINT JOSEPH, IL 61873-0000          LOGANDALE, NV 89021
HIX, CHRISTINA            Case 20-10766-BLS     Doc C.6
                                        HIXON, KAYLA          Filed 04/07/20   Page HK
                                                                                    811  of 1969
                                                                                       SURGICAL INC.
1602 PRATT RD                             279 HORSESHOE LN                          1271 PUERTA DEL SOL
COVINGTON, GA 30014                       MURRAY, KY 42071                          SAN CLEMENTE, CA 92673




HKM EMPLOYMENT ATTORNEYS LLP              HLADIK, JAMES                             HLCC/XTC
600 STEWART ST, STE 901                   2613 W 104TH ST                           10 CENTURY HILL DRIVE
SEATTLE, WA 98101                         CHICAGO, IL 60655                         1
                                                                                    LATHAM, NY 12110




HLEBECHUK, BLAINE A.                      HLS WHEELING                              HLT CHECK EXCHANGE
ADDRESS ON FILE                           45 W HINTZ RD                             100 HWY 15 S.
                                          WHEELING, IL 60096                        SUITE 106
                                                                                    JACKSON, KY 41339-0000




HMA HEALTHCARE MGT ADMIN                  HME WIRELESS INC                          HMS-IL RECOVERY SERVICES
P.O. BOX 85008                            1400 NORTHBROOK PARKWAY                   9275 WEST RUSSELL ROAD
BELLEVUE, WA 98015                        SUITE 320                                 SUITE 100-IL
                                          SUWANEE, GA 30024                         LAS VEGAS, NV 89148




HOAK, WILLIAM                             HOANG, NGHIEM                             HOARE, STEPHANIE R.
4230 OVERHILL DRIVE NW                    ADDRESS ON FILE                           1700 HILLCREST PARK VENUE
DEMING, NM 88030                                                                    EVANSTON, WY 82930




HOBACK, EMILY                             HOBART CORP.                              HOBART CORPORATION
ADDRESS ON FILE                           4400 MENDENHALL ROAD                      711 GOOD HOPE
                                          SUITE 1                                   CAPE GIRADEAU, MO 63703-0000
                                          MEMPHIS, TN 38141-6722




HOBART SALES & SERVICE                    HOBART SALES & SERVICE                    HOBART SERVICE
101 ROXALANA BUS PRK II                   1381 W SECOND AVE                         ITW FOOD EQUIPMENT GROUP LLC
DUNBAR, WV 25064                          EUGENE, OR 97477                          P.O. BOX 2517
                                                                                    CAROL STREAM, IL 60132-2517




HOBART SERVICE                            HOBART SERVICE                            HOBBS, CHRISTINA
ITW FOOD EQUIPMENT GROUP LLC              P.O. BOX 2517                             ADDRESS ON FILE
PO BOX 2517                               CAROL STREAM, IL 60132-2517
CAROL STREAM, IL 60132-2517




HOBBS, DANIEL V.                          HOBBS, GEANETTA                           HOBBS, KELLY
ADDRESS ON FILE                           62 PAGE HOLLOW ROAD                       432 EAST DIVISION ST
                                          CAMPTON, KY 41301                         MARINE, IL 62061




HOBBS, KIM L.                             HOBBS, MARILYN                            HOBBS, SHELLY
P O BOX 662                               205 ARON DR                               2365 TULIP DR NE
HENNESSEY, OK 73742                       BELLEVILLE, IL 62220                      DEMING, NM 88030
HOBDY, HANNAH N.           Case 20-10766-BLS
                                         HOBSON,Doc 6 M.Filed 04/07/20
                                                CHERYL                   Page HOBSON,
                                                                              812 of 1969
                                                                                      SCOTT
2509 ALAMESA DRIVE                        ADDRESS ON FILE                     3374 SUGAR CREEK RD
BIG SPRING, TX 79720                                                          BLUE RIDGE, GA 30513




HOCHHAUS, HOLLIE M.                       HOCHHAUS, SHERRI                    HOCHKINS, SUSAN
918 W 1140 S                              ADDRESS ON FILE                     203 RIDGEMONT DR
TOOELE, UT 84074                                                              ELLIJAY, GA 30536




HOCHMUTH JR., LARRY C.                    HOCHSTETLER, MARGARET L.            HOCHSTRASSER, ANNALYCE
ADDRESS ON FILE                           5145 EAGLE DRIVE                    ADDRESS ON FILE
                                          MILLERSBURG, OH 44654




HOCKMAN, SHEENA A.                        HOCKNEY, DENNIS                     HODGE, JOYCE
ADDRESS ON FILE                           542 GARYS DR                        1567 EDGEBROOK DR
                                          ANTIOCH, IL 60002                   GALESBURG, IL 61401




HODGE, MELISSA                            HODGE, SAVANNAH L.                  HODGES LEOLA J
1730 BLEMPTON RD NW                       674 PLUM CREEK ROAD                 1003 APACHE DR
MASSILLON, OH 44646-2806                  SPARTA, TN 38583                    COLLINSVILLE, IL 62234




HODGES, ANGELA                            HODGES, BOYD                        HODGES, ISAIAH
2000 N AVALON ST APT 102                  36 MILL CREEK ACRES                 1065 SMITH LANCE
WEST MEMPHIS, AR 72301                    BLUE RIDGE, GA 30513                WILLIAMSTON, NC 27892




HODGES, JOSHUA A.                         HODGES, RICHARD C.                  HODGIN, JAMIE
ADDRESS ON FILE                           1400 COUNTY RD 508                  151 DIXIE ST
                                          FORT PAYNE, AL 35968-4915           LEXINGTON, TN 38351




HODGKISS, DANIELLE                        HODGSON RUSS LLP                    HODGSON, BRIANA K.
2443 STATE ST                             140 PEARL ST                        60 NORTHSIDE DRIVE APT43A
GRANITE CITY, IL 62040                    STE 100                             RAINSVILLE, AL 35986-4126
                                          BUFFALO, NY 14202




HODGSON, VERONIKA                         HODNETT, ASHLEY                     HODNIK, SUSAN M.
ADDRESS ON FILE                           2507 JOAN DR UNIT C                 ADDRESS ON FILE
                                          BIG SPRING, TX 79720




HODZIC, SCOTT                             HOEBEKE, SAMANTHA                   HOEDEBECK, JULIE
25040 W JERSEY AVE                        22837 SMITH NW RD                   2325 MIRACLE AVE
ANTIOCH, IL 60002                         ALLIANCE, OH 44601                  GRANITE CITY, IL 62040
HOEFER, DANA           Case 20-10766-BLS
                                     HOEFFT, Doc
                                             TARI 6   Filed 04/07/20   Page HOEGER,
                                                                            813 of 1969
                                                                                    TERENCE W.
705 MAIN ST                          8718 D ROAD                            847 S 56TH ST
NORTH HENDERSON, IL 61466            WATERLOO, IL 62298                     SPRINGFIELD, OR 97478




HOEHLEIN, ASHLEY                      HOEKEMA, TIMOTHY                      HOELSCHER, MICHELLE
8095 MONTE VISTA RD SE                8870 MORNINGLORY PL                   2013 GRANDVIEW
DEMING, NM 88030                      ST JOHN, IN 46373                     SAINT JACOB, IL 62281




HOELTON, LINDA                        HOENIG, SHANDA M.                     HOENIG, TAMMY L.
975 LAKE RD                           620 RUSSELL AVE                       ADDRESS ON FILE
DONGOLA, IL 62926                     WINTHROP HARBOR, IL 60096




HOFACRE, ANGIE                        HOFER, ASHLEY C.                      HOFER, ASHLEY
3005 21ST STREET NW                   ADDRESS ON FILE                       ADDRESS ON FILE
CANTON, OH 44708




HOFER, RICHARD                        HOFF BETH A                           HOFF KAREN L
ADDRESS ON FILE                       1801 PRIMROSE AVE                     131 BRIDGEWOOD DR
                                      GRANITE CITY, IL 62040                ANTIOCH, IL 60002




HOFF, BRITTANIE M.                    HOFFMAN MARTIN C.F.                   HOFFMAN, ANN
532 LAKE ST APT A                     306 JAMESTOWN COURT                   604 ROCKHAMPTON DR
ANTIOCH, IL 60002                     COLLINSVILLE, IL 62234                COLUMBIA, IL 62236




HOFFMAN, BARBARA E.                   HOFFMAN, CHERYL                       HOFFMAN, DELILAH
105 WHITE TAIL DR                     ADDRESS ON FILE                       711 4TH ST NE
FORT DAVIS, TX 79734                                                        MASSILLON, OH 44646




HOFFMAN, JEROME F.                    HOFFMAN, LADD C.                      HOFFMAN, MARGARET A
6874 VALLE PACIFICO RD                5916 OAK CREEK DRIVE                  121 N 8TH ST
SALINAS, CA 93907                     MIDLAND, TX 79707                     SUNBURY, PA 17801




HOFFMAN, SARA                         HOFFMAN, SHEILA                       HOFFMAN, SHERRY
1354 MEADE DR                         38726 N HILLTOP AVE                   288 E RANNEY AVE
LINDENHURST, IL 60046                 ANTIOCH, IL 60002                     VERNON HILLS, IL 60061




HOFFMANN, BRIANNA                     HOFFMANN, NATHAN D.                   HOFFMANN, ROBERT
407 BROADWAY                          603 SUNSET LANE                       4234 S GUNDERSON AVE
EAST ALTON, IL 62024                  APT 9                                 STICKNEY, IL 60402
                                      WATERLOO, IL 62298
HOFFMANN, SHAUNA K.      Case 20-10766-BLS   Doc B110149
                                       HOFFMASTER 6 Filed 04/07/20   Page HOFFMASTER
                                                                          814 of 1969
ADDRESS ON FILE                        P.O. BOX 88149                    P.O. BOX 88149
                                       MILWAUKEE, WI 53288-8149          MILWAUKEE, WI 53288-8149




HOFFMEISTER, AARON C.                  HOFFNER, CHRISTINE                HOFFNER, DEBRA
1630 SHADOW RIDGE                      2522 CONNECTICUT AVE SE           1304 MAIN AVE W
COLUMBIA, IL 62236                     MASSILLON, OH 44646               MASSILLON, OH 44647




HOFFNER, PETER                         HOFF-NYGARD, DANYELLE             HOFLUND, SELINA
8736 EASY ST NW                        828 HENRY ST                      6423 BOOT HILL RD
MASSILLON, OH 44646                    COLLINSVILLE, IL 62234            CASPER, WY 82604




HOFMANN MEDICAL                        HOFSTETTER, WILLIAM H.            HOGAN, ARNOLD
223 VICKI LYNN CIRCLE                  ADDRESS ON FILE                   317 EAST FIELD
SCOTT CITY, MO 63780                                                     RED BUD, IL 62278




HOGAN, ASHLEY                          HOGAN, JOSEPH F.                  HOGAN, KARINNA
ADDRESS ON FILE                        641 DOWNING ST                    349 KINGSMILL DR
                                       NEW LENOX, IL 60451               CHESTERTON, IN 46304




HOGE, JACQUELINE N.                    HOGE, MARY H.                     HOGE, STEVEN C.
17053 ODELL                            5114 GREENHILL BLVD NW            5114 GREENHILL BLVD NW
TINLEY PARK, IL 60477                  FORT PAYNE, AL 35968              FORT PAYNE, AL 35968




HOGELAND, ANGELA                       HOGG, KELLY C.                    HOGG, LEE A.
4185 COUNTY HIGHWAY 42                 ADDRESS ON FILE                   ADDRESS ON FILE
ONEONTA, AL 35121




HOGG, MARGARET L.                      HOGG, PAUL M.                     HOGG, PAUL M.
86 WOLVERINE ROAD                      10668 AVERY ROAD                  ADDRESS ON FILE
JACKSON, KY 41339                      WEST FRANKFORT, IL 62896




HOGGARD, APRIL V.                      HOGGARD, JANICE L.                HOGGARDPERRY, LOTTIE
340 HURT ST                            1283 NC HWY 45 SOUTH              407 S GRANVILLE ST
TREZEVANT, TN 38258                    PLYMOUTH, NC 27962                WINDSOR, NC 27983




HOGGETT, BARBARA                       HOGUE, KRISTEN                    HOHENBERY, ANTONITTE L.
P O BOX 218                            15609 N FM 2230                   ADDRESS ON FILE
LORDSBURG, NM 88045                    ACKERLY, TX 79713
HOI VENDING              Case 20-10766-BLS    Doc 6
                                       HOI VENDING         Filed 04/07/20   Page HOILAND,
                                                                                 815 of 1969
                                                                                          KENDRA M.
P.O. BOX 10                            PO BOX 10                                 28755 JAGER LANE
LACON, IL 61540                        LACON, IL 61540                           JUNCTION CITY, OR 97448




HOJEK, ANNETTE                         HOK, SEREIMOROKOTH                        HOLBACH, MARTHA O.
8660 E 75 N                            ADDRESS ON FILE                           235 MURPHY SCHOOL RD
KNOX, IN 46534                                                                   ANNA, IL 62906




HOLBROOK, AMANDA                       HOLBROOK, GAIL                            HOLBROOK, MEGAN S.
ADDRESS ON FILE                        304 HARDING AVE NW                        ADDRESS ON FILE
                                       MASSILLON, OH 44646




HOLBROOK, ROBIN                        HOLBROOK, TONYA L.                        HOLBROOKS, TEDDIE F.
296 HOLBROOK TOWN P.O. BOX 972         ADDRESS ON FILE                           5879 BYERS CREEK ROAD
WHITESBURG, KY 41858                                                             P.O. BOX 21
                                                                                 YOUNG HARRIS, GA 30582




HOLBROOK-WATKINS, REBECCA M.           HOLCOMB, ASHLEY                           HOLCOMB, CHARLES
ADDRESS ON FILE                        ADDRESS ON FILE                           P.O. BOX 1565 982 SCENIC DRIVE
                                                                                 BLUE RIDGE, GA 30513




HOLCOMB, DEBBIE                        HOLCOMB, DEBORAH                          HOLCOMB, DEBORAH
1205 LAKESIDE DRIVE                    ADDRESS ON FILE                           1205 LAKESIDE DRIVE
JACKSON, KY 41339                                                                JACKSON, KY 41339




HOLCOMB, DONZELL                       HOLCOMB, JARROD S.                        HOLCOMB, JENNIFER E.
12758 S CARPENTER ST                   86 BOARDWALK                              435 E CHURCH ST
CALUMET PARK, IL 60827                 SCOTTSBORO, AL 35769                      SPARTA, IL 62286




HOLCOMB, JENNIFER E.                   HOLCOMB, KIRSTEN M.                       HOLCOMB, RENEA H.
ADDRESS ON FILE                        2531 CHURCH AVE                           ADDRESS ON FILE
                                       RAINSVILLE, AL 35986




HOLCOMB, TAYLOR R.                     HOLCOMBE APRIL                            HOLD, ASHLEY
103 N 37TH                             120 CORA TRAIL                            20 MEADOW LARK LANE
HERRIN, IL 62948                       ELLIJAY, GA 30536                         BLUE RIDGE, GA 30513




HOLDEN, JASON                          HOLDEN, KIM                               HOLDEN, PATRICIA L.
ADDRESS ON FILE                        3801 PERMIAN CT                           1418 CHAPARRAL DR
                                       MIDLAND, TX 79703                         MESQUITE, NV 89027
HOLDEN, SONYA           Case 20-10766-BLS   Doc
                                      HOLDENER,   6 Filed 04/07/20
                                                STEPHANIE            Page HOLDER
                                                                          816 ofTHEODORE
                                                                                 1969 ARTHUR
12949 PAGE ST                         204 COUNTRY CLUB ACRES             77846 MOSBY CREEK RD
BLUE ISLAND, IL 60406                 BELLEVILLE, IL 62223               COTTAGE GROVE, OR 97424




HOLDER, AMY L.                        HOLDER, BOBBIE                     HOLDER, MARILYN
ADDRESS ON FILE                       485 PADGETT LANE                   1672 RIGBY ST
                                      TURTLETOWN, TN 37391               MONTGOMERY, AL 36110-2338




HOLDERBAUM SEWER & DRAIN              HOLDERBAUM, LEAH                   HOLDERFIELD, CASEY LYNN
1615 TREMONT AVE SE                   ADDRESS ON FILE                    402 W SCRANTON AVE
MASSILLON, OH 44646                                                      MARION, IL 62974




HOLDERFIELD, KELLY M.                 HOLDERFIELD, SHAWN M.              HOLDERNESS, KAYLIE
ADDRESS ON FILE                       ADDRESS ON FILE                    ADDRESS ON FILE




HOLDERS OF THE SENIOR NOTES,          HOLDREN, DAVID                     HOLDTIME NET
THROUGH THEIR NOMINEES                11 SILVER POND DR                  P O BOX 910751
                                      APPLE CREEK, OH 44606-9509         LEXINGTON, KY 40591




HOLEM, CHRISTI                        HOLEYFIELD, CHERYL                 HOLGUIN ROSALIA
1401 CARDINAL DR                      3156 W 84TH STREET                 1006 E BIRCH ST
MARION, IL 62959                      CHICAGO, IL 60652                  DEMING, NM 88030




HOLGUIN, DEEANDRA M.                  HOLGUIN, ERIC                      HOLGUIN, ERIC
411 S. GRAND AVE                      805 DONA ANA RD SE                 ADDRESS ON FILE
DEMING, NM 88030                      DEMING, NM 88030




HOLGUIN, JULIAN                       HOLGUIN, MARTHA                    HOLGUIN, NORBERTA B.
13620 BACHIMBA DR C2                  3904 HAMILTON                      ADDRESS ON FILE
EL PASO, TX 79928                     BIG SPRING, TX 79720




HOLGUIN, PAULA                        HOLGUIN, SARA M.                   HOLGUIN, SARA M.
12 NORVAL RD                          805 DONA ANA RD SE                 ADDRESS ON FILE
SAN LORENZO, NM 88041                 DEMING, NM 88030




HOLIDAY INN - CANTON                  HOLIDAY INN EXPRESS & SUITES       HOLIDAY INN EXPRESS
4520 EVERHARD RD                      2700 LENWOOD ROAD                  EUGENE/SPRINGFIELD
CANTON, OH 44718                      BARSTOW, CA 92311                  3480 HUTTON STREET
                                                                         SPRINGFIELD, OR 97477
                        Case 20-10766-BLS
HOLIDAY INN EXPRESS WILLIAMSTON       HOLIDAYDoc   6 Filed 04/07/20
                                              INN EXPRESS               Page HOLIDAY
                                                                             817 of INN
                                                                                     1969
1071 CANTLE COURT                     816 SOUTH GRAND AVENUE                 919 KRUSE WAY
WILLIAMSTON, NC 27892                 LAS VEGAS, NM 87701                    SPRINGFIELD, OR 97477




HOLIDAY INN                          HOLIDAY MOTOR COACH. LLC                HOLIK, JASON
GURNEE CONVENTION CENTER             P.O. BOX 50400                          3048 MOCKINGBIRD LANE
6161 WEST GRAND AVE                  IDAHO FALLS, ID 83405                   GRANITE CITY, IL 62040
GURNEE, IL 60031




HOLLAND & HART LLP                   HOLLAND & HART LLP                      HOLLAND HOTEL
P.O. BOX 17283                       THE HORSE BARN AT MARYLAND FARMS        209 WEST HOLLAND AVENUE
DENVER, CO 80217-0283                219 WARD CIRCLE                         ALPINE, TX 79830
                                     BRENTWOOD, TN 37027




HOLLAND, CHRISTY M.                  HOLLAND, CHRISTY                        HOLLAND, GENIMAR C.
4787 VANDYKE RD                      284 INDUSTRIAL DR.                      3617 GENTRY STATION DRIVE
PARIS, TN 38242                      HUNTINGDON, TN 38344                    SIGNAL MOUNTAIN, TN 37377




HOLLAND, HANSEL AUD SUSAN            HOLLAND, KENNETH                        HOLLAND, LINDSAY K.
473 N HOWARD AVE                     1033 S 42ND ST                          ADDRESS ON FILE
ELMHURST, IL 60126                   HERITAGE WOODS
                                     MT VERNON, IL 62864




HOLLAND, MARGIE M.                   HOLLAND, SANDRA                         HOLLAND, SHARLENE L
33267 NIEBLOCK LANE                  4440 HENDERSON RD                       2545 LOOKOUT STREET
CRESWELL, OR 97426-0000              SARDIS, TN 38371                        LEESBURG, AL 35983




HOLLAND, THOMAS                      HOLLANDSWORTH, WANDA                    HOLLANSWORTH, REBEKAH M.
ADDRESS ON FILE                      ADDRESS ON FILE                         5157 LIVE OAK DR
                                                                             SMITHTON, IL 62285




HOLLATZ, KELLI K.                    HOLLENDONNER, JANICE M.                 HOLLEY, CAROLYN S.
ADDRESS ON FILE                      6727 W 87TH                             6510 HWY 32
                                     OAK LAWN, IL 60453                      ADAMS, KY 41201




HOLLEY, GARRY                        HOLLEY, LEO                             HOLLEY, SHERRY
145 J MCCOLLUM LN                    119 DEER LICK BRANCH ROAD               2075 S 3425 W
LEXINGTON, TN 38351-0000             LOUISA, KY 41230                        OGDEN, UT 84401-8485




HOLLEY, YOLANDA                      HOLLIDAY JR JAMES E                     HOLLIDAY, ALLAN
4452 REYNOLDS ST                     2581 GREY FARM RD                       405 DRIFTWIND DRIVE
HEPHZIBAH, GA 30815-4931             JAMESVILLE, NC 27846                    SAN ANTONIO, TX 78239
HOLLIDAY, BRIAN E.        Case 20-10766-BLS    Doc
                                        HOLLIDAY,    6 L. Filed 04/07/20
                                                  CARL                     Page HOLLIDAY,
                                                                                818 of 1969
                                                                                          CHERYL
ADDRESS ON FILE                           229 BEALE COURT DRIVE                 1135 HOLLIDAY ACRES
                                          BLAIRSVILLE, GA 30512                 JAMESVILLE, NC 27846




HOLLIDAY, GEORGE                          HOLLIDAY, GLYNN S.                    HOLLIDAY, JOANNE
2156 JERDEN THICKET RD                    1064 N GRIMESLAND BRIDGE RD           732 THELMA DRIVE
JAMESVILLE, NC 27846-9681                 WASHINGTON, NC 27889                  WADSWORTH, OH 44281




HOLLIDAY, KAYLEE                          HOLLIDAY, REGINA                      HOLLIDAY, TOBY R.
3231 MARYVILLE RD APT A                   4913 W. MARGARET STREET               1135 HOLLIDAY ACRES
GRANITE CITY, IL 62040                    MONEE, IL 60449                       JAMESVILLE, NC 27846




HOLLIE BOYDSTUN                           HOLLIFIELD, JOSEPH                    HOLLINGER, BARBARA
ADDRESS ON FILE                           2466 FOXY DR                          1435 LAWN AVE SW
                                          BETHLEHEM, GA 30620-7660              MASSILLON, OH 44647




HOLLINGSWORTH STANLEY D                   HOLLINGSWORTH, BRITTANY N.            HOLLINGSWORTH, LOUIS
6410 MEADOWBROOK LANE NW                  38 MALIA WAY                          1313 21ST ST PTA/RRT
FORT PAYNE, AL 35967                      ALEXANDRIA, AL 36250                  GRANITE CITY, IL 62040




HOLLINGSWORTH, MONICA                     HOLLIS RICHARD                        HOLLIS, CHRISTINE N.
37 DEVAULT LANE                           1856 ST FRANCIS                       P.O. BOX 2743
HOLLOW ROCK, TN 38342                     COLUMBIA, IL 62236                    HELENDALE, CA 92342




HOLLIS, LARA                              HOLLIS, MALISA                        HOLLIS, MULLENS
1336 FIVE CENT RD                         ADDRESS ON FILE                       2216 CHAVIS DRIVE
WILLIAMSTON, NC 27892                                                           APT A
                                                                                GREENVILLE, NC 27858




HOLLIS, MULLENS                           HOLLISTER INC                         HOLLON, CHASTITY
5402 DURRELL ROAD                         72035 EAGLE WAY                       468 KY-715
COLUMBUS, OH 43229                        CHICAGO, IL 60678-7250                PINE RIDGE, KY 41360




HOLLON, CRYSTAL L.                        HOLLON, JESSICA J.                    HOLLON, SHARON F.
ADDRESS ON FILE                           419 FLAT ROAD                         ADDRESS ON FILE
                                          CAMPTON, KY 41301




HOLLOWAY, KATHLEEN                        HOLLOWAY, KELVENNA M.                 HOLLOWAY, LOUIS W.
1884 BUTTERNUT LN                         ADDRESS ON FILE                       1366 APPALACHIAN HWY
NORTHBROOK, IL 60062                                                            BLUE RIDGE, GA 30513
HOLLOWAY, MIKE          Case 20-10766-BLS   Doc
                                      HOLLOWAY,   6 Filed 04/07/20
                                                STACEY               Page HOLLOWELL,
                                                                          819 of 1969DANIEL G.
428 WADE CROSS RD.                    ADDRESS ON FILE                     228 JOY DRIVE
MINERAL BLUFF, GA 30559                                                   MCKENZIE, TN 38201




HOLLOWELL, KOLBY                    HOLLY BUCKEM                          HOLLY BURNINE
408 W 1ST STREET                    1460 G STREET                         875 BEN SMITH RD
BRINKLEY, AR 72021                  SPRINGFIELD, OR 97477                 HENRY, TN 38231




HOLLY DUNNIGAN                      HOLLY WALTER                          HOLLYFIELD, ASHLEY
ADDRESS ON FILE                     ADDRESS ON FILE                       1689 PETTIBONE RD
                                                                          GREENVILLE, AL 36037




HOLLYFIELD, BARRY                   HOLLYHOCKS EMBROIDERED DESIGNS        HOLM JANE
811 FT DALE RD                      85 STATE ST.                          253 MULLER LANE UNIT 9113
GREENVILLE, AL 36037-3510           HAZEL GREEN, KY 41332                 ELLIJAY, GA 30540




HOLM, ALICE J.                      HOLM, JENNIFER M.                     HOLM, SHARON
5521 3RD AVE                        321 LOYOLA DR                         2815 WOLF CREEK RD
KENOSHA, WI 53140                   APTOS, CA 95003                       CARBONDALE, IL 62901




HOLMAN JACQUELINE                   HOLMAN, AMANDA J.                     HOLMAN, LETTY
103 W FIRST                         ADDRESS ON FILE                       P.O. BOX 953
EWING, IL 62836                                                           ALPINE, TX 79831




HOLMAN, MICHAEL S                   HOLMAN, REGINA                        HOLMBERG STAR
3724 PEBBLE BEACH DR                63318 ISTHMUS HEIGHTS RD              937 D ST
MARTINEZ, GA 30907                  COOS BAY, OR 97420-8286               SPRINGFIELD, OR 97477




HOLMBERG, DENISE                    HOLMES MARILEE C                      HOLMES TELLIE LYVIN
106 BOOGERS HILL RD                 81 E GROVE ST                         2773 AMBROSE ROAD
OXFORD, GA 30054                    GALESBURG, IL 61401                   CRESWELL, NC 27928




HOLMES, AMY                         HOLMES, BRITTANY Y.                   HOLMES, BROOKE
415 TRUMAN ST                       ADDRESS ON FILE                       1991 SUNNYVIEW LN
MORO, IL 62067                                                            ORRVILLE, OH 44667-1921




HOLMES, BRUCE                       HOLMES, CELESTE L.                    HOLMES, CHRISTY M.
20 BLUEBIRD TRAIL                   607 SERING AVENUE                     ADDRESS ON FILE
LAS VEGAS, NM 87701                 ALTON, IL 62002
HOLMES, CORYN            Case 20-10766-BLS
                                       HOLMES,Doc 6 Filed 04/07/20
                                              HARSHA                      Page HOLMES,
                                                                               820 of KATHERINE
                                                                                       1969
ADDRESS ON FILE                        2155 GREYSTEM CIRCLE, APT 102           455 LINDSEY CT
                                       GURNEE, IL 60031                        COMMERCE, GA 30529




HOLMES, LUCILLE                        HOLMES, MARILEE C.                      HOLMES, MENTA
2216 MELROSE DR                        81 E GROVE ST                           95 ROCKWOOD CT
APT 1                                  GALESBURG, IL 61401                     COVINGTON, GA 30016
WOOSTER, OH 44691




HOLMES, MONIKA                         HOLMES, RODNEY                          HOLMES, WILLIAM E.
124 VALLEY DRIVE                       ADDRESS ON FILE                         ADDRESS ON FILE
HELENA, AR 72342




HOLMES, WILMA M.                       HOLMON, TILDA                           HOLMQUIST, ANN
864 LEE ROAD 406                       P.O. BOX 212                            2282 MCLEAN BLVD
MARIANNA, AR 72360                     HUGHES, AR 72348                        EUGENE, OR 97405




HOLOGIC INC                            HOLOGIC INC                             HOLOGIC INC
24506 NETWORK PL                       24506 NETWORK PLACE                     24506 NETWORK PLACE
CHICAGO, IL 60673-1245                 CHICAGO, IL 60673                       CHICAGO, IL 60673-1245




HOLOGIC LIMITED PARTNERSHIP            HOLOGIC                                 HOLOGIC, INC
24506 NETWORK PLACE                    MICHAEL DALTON, NATIONAL ACCOUNT        24506 NETWORK PLACE
CHICAGO, IL 60673-1245                 MANAGER                                 CHICAGO, IL 60673
                                       250 CAMPUS DRIVE
                                       MARLBOROUGH, MA 01752



HOLOGIC, INC                           HOLOGIC, INC.                           HOLOGIC, INC.
24506 NETWORK PLACE                    24506 NEWORK PLACE                      35 CROSBY DRIVE
CHICAGO, IL 60673-1245                 CHICAGO, IL 60673-1245                  BEDFORD, MA 01730




HOLSAPPLE, LORI M.                     HOLSHOUSER, ALYX                        HOLSHOUSER, ROSELEE
ADDRESS ON FILE                        1221 OLIVE ST                           245 KENTUCKY ST.
                                       COLLINSVILLE, IL 62234                  TAMMS, IL 62988




HOLSONBACK BETTY E                     HOLSTON GASES                           HOLSTROM, TERESA M.
P.O. BOX 327                           808 AIRPORT ROAD                        4088 SOUTH E STREET
EPWORTH, GA 30541                      FORT PAYNE, AL 35968                    SPRINGFIELD, OR 97478




HOLT EUGENE P                          HOLT SUPPLY COMPANY                     HOLT, BERNEICE
2762 KNOX HWY 6                        P.O. BOX 1365                           578 ANGLIN LANE
ONEIDA, IL 61467                       BLOOMINGTON, IL 61701-1365              JACKSON, TN 38301
HOLT, CASSANDRA          Case 20-10766-BLS     Doc 6P. Filed 04/07/20
                                       HOLT, EUGENE                     Page HOLT,
                                                                             821 JERI
                                                                                   of 1969
                                                                                       LYNN
510 BRIDDICK ST                         2762 KNOX HWY 6                      1892 WOODLAWN RD
ELDORADO, IL 62930                      ONEIDA, IL 61467                     COVINGTON, GA 30014-8871




HOLT, JULIE                             HOLT, LORI                           HOLT, MICHAEL C.
3024 NAMEOKI ROAD                       3114 MULBERRY AVENUE                 4800 GREYSTONE DRIVE
GRANITE CITY, IL 62040                  MT. VERNON, IL 62864                 NORTH CANTON, OH 44720




HOLT, MORGAN W.                         HOLT, REBECCA A.                     HOLT, REBEKAH A.
5219 PRAIRIE SKY DRIVE                  2372 N SUNRISE DR                    3114 MULBERRY AVENUE
LAKELAND, TN 38002                      ROUND LAKE BEACH, IL 60073           MOUNT VERNON, IL 62864




HOLT, VALERIE L.                        HOLTCO INC                           HOLTE, IVAN
ADDRESS ON FILE                         SOUTHEAST LINK                       P.O. BOX 549
                                        4665 FREDERICK DR SW                 WALTERVILLE, OR 97489
                                        ATLANTA, GA 30336




HOLTE, JACOB                            HOLTHAUS, GAIL                       HOLTON, JEREMY
244 S 71ST ST                           705 ZSCHOKKE ST                      4925 JENSEN ST
SPRINGFIELD, OR 97478                   HIGHLAND, IL 62249                   LAS VEGAS, NV 89149




HOLTON, SALLY                           HOLTZ, JAMIE                         HOLTZCLAW, DOLORES E.
485 A CANAL ROAD                        10021 S CAMPBELL                     ADDRESS ON FILE
PANTEGO, NC 27860-9542                  CHICAGO, IL 60655




HOLVERSON KENNETH                       HOLVERSON, KELLY A.                  HOLWERDA, KARYN
14096 W MEYER RD                        ADDRESS ON FILE                      871 EASTWIND DRIVE
GURNEE, IL 60031                                                             NEW LENOX, IL 60451




HOLY CROSS-PHYSICIANS HOSPITAL          HOLZER CLINIC LLC                    HOLZHAUSEN, MICHAEL
ORGANIZATION, INC.,                     P.O. BOX 22880                       1111 S. JEFFERSON
1397 WEIMER ROAD                        BELFAST, ME 04915-4479               SALEM, IL 62881
TAOS, NM 87571




HOM, DENNIS M.                          HOMAN, JAMES                         HOMAN, REAGAN
13503 CRONESE ROAD                      P.O. BOX 831                         9556 DRESDEN SQUARE
APPLE VALLEY, CA 92308                  BERRYVILLE, VA 22611                 BRENTWOOD, TN 37027




HOME APPLIANCE                          HOME CITY ICE                        HOME CUT DONUTS
406 ERIE ST N                           P.O. BOX 111116                      815 W JEFFERSON ST
MASSILLON, OH 44646                     CINCINNATI, OH 45211                 JOLIET, IL 60435
                        Case 20-10766-BLS
HOME DEPOT CREDIT SERVICES                    DocCREDIT
                                      HOME DEPOT    6 Filed   04/07/20
                                                          SERVICES        Page HOME
                                                                               822 of 1969
                                                                                    DEPOT INC
DEPT 32-2505219588                    P O BOX 78047                            3200 BANTERRA DR
P.O. BOX 183176                       DEPT 32-2505057418                       MARION, IL 62959
COLUMBUS, OH 43218-3176               PHOENIX, AZ 85062-8047




HOME DEPOT PRO, THE                    HOME DEPOT PRO, THE                     HOME DEPOT, THE
13924 COLLECTION CENTER DR             P.O. BOX 404284                         222 E 2400 N
CHICAGO, IL 60693                      ATLANTA, GA 30384-4284                  TOOELE, UT 84074




HOME MEDICAL PRODUCTS INC              HOME NURSERY INC                        HOME STATE HEALTH PLAN
P.O. BOX 878                           9040 HWY DD                             16090 SWINGLEY RIDGE RD
JACKSON, TN 38302                      OFALLON, MO 63368                       SUITE 500
                                                                               CHESTERFIELD, MO 63017




HOME STYLES OF MT VERNON               HOMEPRO VACUUM                          HOMER FANNIN
815 VETERANS MEMORIAL DR               1346 W 7800 S                           12856 N HWY 3
MT VERNON, IL 62864                    WEST JORDAN, UT 84088                   LOUISA, KY 41230




HOMER M OGLE                           HOMER MEMORIAL HOSPITAL                 HOMETOWN PLUMBING & HEATING
2113 BALFOUR DR                        D/B/A CLAIBORNE MEMORIAL MEDICAL        P.O. BOX 4525
AUGUSTA, GA 30906-4805                 CENTER                                  DAVENPORT, IA 52808
                                       620 EAST COLLEGE STREET
                                       HOMER, LA 71040-3202



HOMETOWN PLUMBING & HEATING            HOMETOWN PLUMBING                       HOMETOWN SUBURBAN VENDING
PO BOX 4525                            372 MEADOWS DRIVE                       12358 SOUTH LATROBE
DAVENPORT, IA 52808                    TOOELE, UT 84074                        ALSIP, IL 60803




HOMEWOOD, TONY C.                      HOMEWOOD, TONY                          HOMOLY, JUNE
41 COUNTY ROAD 7415                    41 CR 7415                              6341 CHILTERN RD NW
WYNNE, AR 72396                        WYNNE, AR 72396                         CANAL FULTON, OH 44614




HOMRIGHAUSEN, DAVID                    HOMYER, BETTY                           HON, HAILEY
4860 POWELL DR                         2734 A. CENTER ST                       1863 DUNKEITH DRIVE NW
RED BUD, IL 62278                      GRANITE CITY, IL 62040                  CANTON, OH 44708




HON, KATHLEEN M.                       HONAN, DEBORA A.                        HONAN-WAGNER, MARY M.
1110 COBBLEFIELD N.E.                  9113 MANSFIELD DRIVE                    6810 CROWN LANE
NORTH CANTON, OH 44721                 TINLEY PARK, IL 60487                   TINLEY PARK, IL 60477




HONEA, JESSICA R.                      HONIE, LOUISE                           HONOR WREATHS FOR VETERANS
ADDRESS ON FILE                        ADDRESS ON FILE                         412 W. 3RD STREET
                                                                               BLUFORD, IL 62814
HONSVICK, PAUL R.        Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                       HOOCK, LEO                     Page HOOD
                                                                           823 of  1969PA
                                                                                & STACY
261 SUN VALLEY DR APT G-22             806 MAIN ST                         P.O. BOX 271
MESQUITE, NV 89027                     PRAIRIE DU ROCHER, IL 62277         BENTONVILLE, AR 72712




HOOD LINDA L                         HOOD, ANNA N.                         HOOD, CHARLES
13360 LAKEVIEW DR                    142 COUNTY ROAD 1021                  819 RESTON RD
CREAL SPRINGS, IL 62922              DAWSON, AL 35963                      WEST MEMPHIS, AR 72301




HOOD, GEORGIA                        HOOD, JENNIFER                        HOOD, JOSHUA S.
7431 170TH ST                        ADDRESS ON FILE                       4012 CLOVERCROFT ROAD
TINLEY PARK, IL 60477                                                      FRANKLIN, TN 37067




HOOD, MATTIE                         HOOD, ROBYN                           HOOD, SAMUEL
2857 W 83RD ST                       416 CHAPEL DRIVE                      ADDRESS ON FILE
CHICAGO, IL 60652                    COLLINSVILLE, IL 62234




HOOD, THOMAS R.                      HOODENPYLE, HUGH                      HOOGENDOORN, RUTH
367 HWY. 550 NW                      812 PEAR TREE LANE                    160 CHEROKEE TRAIL
BROOKHAVEN, MI 39601                 HIAWASSEE, GA 30546                   COPPERHILL, TN 37317




HOOK, BRIANNA M.                     HOOKER, LISA                          HOOKEY, LESLIE A.
ADDRESS ON FILE                      4826 RED OAK DR                       944 8TH ST NE
                                     WATERLOO, IL 62298                    MASSILLON, OH 44646




HOOKLAND, DEBRA                      HOOLEY, EVELYN                        HOOPER, ADA
370 KILDARE ST                       510 TURTLEBACK RD                     17688 HORSESHOE LANE
EUGENE, OR 97404                     UNIT B                                GURNEE, IL 60031
                                     MESQUITE, NV 89027




HOOPER, AMANDA R.                    HOOPER, RALPH                         HOOPES, JAMES D.
4226 COUNTY RD 822                   1023 MCDANIEL ST                      P.O. BOX 623
FORT PAYNE, AL 35967                 MONROE, GA 30655-2068                 LYMAN, WY 82937-0623




HOOPES, STACEY                       HOOPINGARNER, SHARON                  HOOSE, DONNA J.
P.O. BOX 1362                        6724 WALES CROSSING ST NW             ADDRESS ON FILE
LYMAN, WY 82937                      APT D
                                     NORTH CANTON, OH 44720-5391




HOOTEN DARREL                        HOOTEN, MARCIA                        HOOTMAN, AMANDA O.
ADDRESS ON FILE                      801 SAHARA ST APT G1                  2798 WEST FREMONT ST
                                     HARRISBURG, IL 62946                  GALESBURG, IL 61401
HOOVER CROMBIE, MARTHACase 20-10766-BLS
                                    HOOVER Doc
                                            GARY 6    Filed 04/07/20   Page HOOVER,
                                                                            824 of 1969
                                                                                    ALVIN C.
THE CROMBIE GROUP                   9780 W MARGUERITE LN                    391 HWY 550 NW
510 COLUMBIA AVE 187                BEACH PARK, IL 60099                    BROOKHAVEN, MI 39601
FRANKLIN, TN 37064




HOOVER, ANDREA G.                     HOOVER, CAROLYN                       HOOVER, CORY J.
ADDRESS ON FILE                       948 8TH ST NE                         23628 GEORGETOWN RD.
                                      MASSILLON, OH 44646                   HOMEWORTH, OH 44634




HOOVER, JENNIFER                      HOP ADMINISTRATION UNIT               HOP ADMINISTRATION
5697 STONE VILLA DR                   P.O. BOX 1764                         P.O. BOX 2920
SMITHTON, IL 62285                    LANCASTER, PA 17608-1764              CLINTON, IA 52733




HOPE CHRISTY                          HOPE PHARMACEUTICALS                  HOPE SPIVEY
116 CANYON HOLLOW                     16416 N 92ND STREET                   1772 BATEMAN ST
EVANSTON, WY 82930-4767               SCOTTSDALE, AZ 85260                  GALESBURG, IL 61401




HOPE TRUST                            HOPE WARREN                           HOPE, DENNIS
P.O. BOX 25946                        ADDRESS ON FILE                       1760 NORTH CLEMENS WAY
OVERLAND PARK, KS 66225                                                     TOOELE, UT 84074




HOPE, ALLISON M.                      HOPE, AUDREY G.                       HOPE, REBECCA A.
611 EAST NEW MEXICO                   526 COUNTY ROAD 458                   ADDRESS ON FILE
SWEETWATER, TX 79556                  FORT PAYNE, AL 35968




HOPKINS BILLY DONALD                  HOPKINS DOROTHEA A                    HOPKINS MATTHEW
48095 COMMERCIAL ST                   675 KNOX HWY COUNTY 8                 13575 SW HITEON CT
P.O. BOX 1272                         GILSON, IL 61436                      BEAVERTON, OR 97008-9312
OAKRIDGE, OR 97463




HOPKINS WILLIAM T                     HOPKINS, ASIA R.                      HOPKINS, BRADLEY D.
3302 W HAWTHORN CT                    10889 MIDWAY RD.                      1166 LILAC DR
MARION, IL 62959                      RAYMOND, MS 39154                     BELLEVILLE, IL 62220




HOPKINS, BRADLEY D.                   HOPKINS, CHARLES A.                   HOPKINS, CHARLES
ADDRESS ON FILE                       1118 4TH ST NE                        108 W CHURCH ST
                                      MASSILLON, OH 44646                   WILLIAMSTON, NC 27892




HOPKINS, ELISSA D.                    HOPKINS, EUGENE                       HOPKINS, GEORGE
2549 CUSHING AV.                      P.O. BOX 462                          12216 NC HWY 94 N
MURFREESBORO, TN 37130                PARIS, TN 38242                       CRESWELL, NC 27928-8827
HOPKINS, LANORA         Case 20-10766-BLS
                                      HOPKINS,Doc  6L.
                                               LAURI      Filed 04/07/20   Page HOPKINS,
                                                                                825 of 1969
                                                                                         LORETTA L.
2561 HWY 1                            ADDRESS ON FILE                           ADDRESS ON FILE
CHERRY VALLEY, AR 72324




HOPKINS, NATHAN                        HOPKINS, SHARON                          HOPKINS, TRACEY N.
116 W ZUPIN ST                         1214 CEDAR LAKE ROAD                     106 WORSLEY LN
APT 12                                 LAKE VILLA, IL 60046                     PRINCEVILLE, NC 27886
MARYVILLE, IL 62062




HOPKINS, WALTER                        HOPP, LAURA                              HOPPE, CLYDE E.
817 NORTH 14TH ST                      2809 CABIN CREEK CT                      1211 IOWA STREET
WEST MEMPHIS, AR 72301                 EDWARDSVILLE, IL 62025                   MADISON, IL 62060




HOPPER, BERNARD                        HOPPER, KIMBERLY M.                      HOPPER, LAURIE
1201 S. TENNYSON DR. 66                ADDRESS ON FILE                          1052 RICHLAND PARK DRIVE
DEMING, NM 88030                                                                O FALLON, IL 62269




HOPPER, LAURIE                         HOPPER, MERCEDES                         HOPPER, STEPHANIE L.
ADDRESS ON FILE                        770 PRESLEY RD                           4550 LAKE LORRAINE
                                       LEXINGTON, TN 38351                      HILLSBORO, MO 63050




HOPSON EMILY                           HOPSON ROBINSON, SABRINA                 HOPSON, BIANCA S.
524 S VALTER ST                        ADDRESS ON FILE                          242 JENNA LEE CIRCLE
RIDGWAY, IL 62979                                                               MADISON, TN 37115




HOPSON, NELLIE M.                      HORACE BISHOP                            HORACE, BISHOP
ADDRESS ON FILE                        2245 N SEMINARY ST                       2245 N SEMINARY ST
                                       HAWTHORNE INN                            HAWTHORNE INN
                                       GALESBURG, IL 61401                      GALESBURG, IL 61401




HORCHER, DENNIS                        HORD, ROBERT                             HORIZON SOFTWARE INTNL
829 LAKESIDE DR                        3117 CARMELO CIR                         P.O. BOX 934248
BLAIRSVILLE, GA 30512                  MARINA, CA 93933                         ATLANTA, GA 31193-4248




HORIZON VALLEY MEDICAL GROUP           HORIZON VALLEY MEDICAL GROUP             HORLACHER, BRENT
18564 HIGHWAY 18 STE 105               P.O. BOX 2659                            3618 DUTCHMANS VINE CT
APPLE VALLEY, CA 92307                 APPLE VALLEY, CA 92307                   NORTH LAS VEGAS, NV 89081




HORMANN, PATRICIA                      HORN II, GARY R.                         HORN, AMANDA D.
115 S 7TH ST                           925 N. VAUGHN                            ADDRESS ON FILE
P.O. BOX 632                           SULPHUR ROCK, AR 72579
COULTERVILLE, IL 62237
HORN, BRIANA G.         Case 20-10766-BLS    Doc 6
                                      HORN, CANDACE       Filed 04/07/20   Page HORN,
                                                                                826 of  1969A.
                                                                                      CARLEY
ADDRESS ON FILE                        1017 KENNEDY STREET                      ADDRESS ON FILE
                                       LOUISA, KY 41230




HORN, GLENNA                           HORN, HAROLD G.                          HORN, JANET L.
851 OLD HIGHWAY 11                     ADDRESS ON FILE                          19208 WALKER LN
BEATTYVILLE, KY 41311                                                           RUSH, KY 41168




HORN, JOSHUA                           HORN, KIM                                HORN, KIMBERLY D.
196 DAMP M LOOP                        321 SPRING MEADOWS DRIVE                 ADDRESS ON FILE
MCKEE, KY 40447                        LOUISA, KY 41230




HORN, TAMMIE A.                        HORN, TORY L.                            HORNBAKER, CYNTHIA
835 CHAPEL ROAD                        901 S SAN MIGUEL ST                      980 N BROAD ST
LOUISA, KY 41230                       DEMING, NM 88030                         GALESBURG, IL 61401




HORNBUCKLE, BRANDY                     HORNBUCKLE, DELANE K.                    HORNBURG, WILLIAM T.
1767 CHISENHALL ROAD W.                1767 CHISENHALL RD WEST                  P.O. BOX 575
FORT PAYNE, AL 35968-1605              FORT PAYNE, AL 35968                     MESQUITE, NV 89024




HORNE, JACK                            HORNE, REBECCA N.                        HORNE,ROSA J.
P.O. BOX 1875                          6149 HIGHWAY 412 WEST                    4215 H D ATHA RD
BLAIRSVILLE, GA 30512                  LEXINGTON, TN 38351                      COVINGTON, GA 30014-0722




HORNER SCOTT                           HORNER, KENNETH                          HORNSEY, AMRK
30 LAKE CT                             65 LAURELWOOD LN                         84 BRIARVIEW
COLUMBIA, IL 62236                     MCKENZIE, TN 38201                       GRANITE CITY, IL 62040




HORRELL, NATALIE M.                    HORRIM, TAMMY                            HORRISBERGER, GARY L.
ADDRESS ON FILE                        ADDRESS ON FILE                          4421 BELDEN AVE SE
                                                                                CANTON, OH 44707




HORROCKS, KURTIS                       HORROCKS, LAURA                          HORROM, PRESTON
620 SAUNDERS CIR                       478 W 600 S                              13528 104TH ST
EVANSTON, WY 82930                     TOOELE, UT 84074                         PLEASANT PRAIRIE, IL 53158-6104




HORROM, TAMMY L.                       HORROM, TAMMY L.                         HORST, HELEN
36655 53RD PLACE                       ADDRESS ON FILE                          1375 SCHRADER RD
BURLINGTON, WI 53105                                                            NORTH LAWRENCE, OH 44666
HORTON, ESTHER            Case 20-10766-BLS
                                        HORTON,Doc 6 Filed 04/07/20
                                               GERTRUDE                      Page HORTON,
                                                                                  827 of KRISTINE
                                                                                          1969 A.
6597 WILLOW ROAD                        205 E ROCKWOOD WAY                       P.O. BOX 567
IDER, AL 35981                          STANSBURY PARK, UT 84074                 MORGANTON, GA 30560




HORTON, LESLI N.                        HORTON, LISA J                           HORTON, LOIS
621 E 160TH PLACE                       817 OLD DOMINION                         1906 ALABAMA AVE NW
SOUTH HOLLAND, IL 60473                 WEST HELENA, AR 72390                    FORT PAYNE, AL 35967-3432




HORTON, MARTHA                          HORVATH, BETH                            HORVATH, LAWERENCE
P.O. BOX 123                            1809 DIMMETT COURT                       1809 DIMMITT CT
AVON, IL 61415                          BLOOMINGTON, IL 61704                    BLOOMINGTON, IL 61704




HORVATH, MATHEW                         HOSCH ASHLEY E                           HOSFELDT, CODY
2319 LINCOLN AVE                        6706 STANLEY LANE NW                     109 LINCOLN ST
GRANITE CITY, IL 62040                  FORT PAYNE, AL 35967                     VIENNA, IL 62995




HOSICK, BAILEY N.                       HOSICK, BETH A.                          HOSICK, STACY R.
221 COUNTY ROAD 1000 NORTH              ADDRESS ON FILE                          526 GILLHAM ST APT. 1
NORRIS CITY, IL 62869                                                            TROY, IL 62294




HOSIER, LOVELYMAE                       HOSKINS ELBERT                           HOSKINS, CLIFFORD G.
2536 E 24TH ST                          76 COURTNEY ROAD                         ADDRESS ON FILE
GRANITE CITY, IL 62040                  HAZARD, KY 41701




HOSKINS, H                              HOSKINS, LEAH B.                         HOSPICE OF BLUEGRASS
1750 BATEMAN ST.                        1506 RIDGEWAY PLACE NW                   2312 ALEXANDRIA DR
GALESBURG, IL 61401                     CANTON, OH 44709                         LEXINGTON, KY 40504




HOSPICE OF SO. IL                       HOSPICE OF SOUTHERN ILLINOIS             HOSPICE OF SOUTHERN ILLINOIS
305 S. ILLINOIS ST                      204 HALFWAY RD                           305 SOUTH ILLINOIS ST.
BELLEVILLE, IL 62220                    MARION, IL 62959                         BELLEVILLE, IL 62220




HOSPIRA WORLDWIDE INC                   HOSPIRA WORLDWIDE INC                    HOSPIRA WORLDWIDE INC
75 REMITTANCE DR                        75 REMITTANCE DR6136                     75 REMITTANCE DRIVE SUITE 6136
STE 6136                                CHICAGO, IL 60675-6136                   CHICAGO, IL 60675-6136
CHICAGO, IL 60675




HOSPIRA WORLDWIDE, INC                  HOSPITAL ASSOCIATION OF                  HOSPITAL AUTHORITY OF FANNIN COUNTY
75 REMITTAMCE DRIVE                     SOUTHERN CALIFORNIA CLIENT ID 8348       1200 S HALL ST
SUITE 6136                              FILE 1361                                ENNIS, TX 75119-6318
CHICAGO, IL 60675-6136                  PASADENA, CA 91199-1361
                         Case
HOSPITAL CARE CONSULTANTS,     20-10766-BLS
                            INC.        HOSPITALDoc  6CONSULTANTS,
                                                  CARE   Filed 04/07/20
                                                                   INC.   Page HOSPITAL
                                                                               828 of 1969
                                                                                        CORPORATION OF AMERICA
17304 PRESTON RD, STE 1400              17304 PRESTON ROAD                     ONE PARK PLAZA
DALLAS, TX 75252                        SUITE 1400                             NASHVILLE, TN 37203
                                        DALLAS, TX 75252




HOSPITAL FACILITIES MANAGEMENT LLC     HOSPITAL HOUSEKEEPING SYS LTD           HOSPITAL HOUSEKEEPING SYSTEM, LLC
P.O. BOX 1996                          P.O. BOX 734367                         P.O. BOX 826
SAN ANTONIO, TX 78297                  DALLAS, TX 75373-4367                   SAN ANTONIO, TX 78293-0826




HOSPITAL MANAGEMENT SERVICES           HOSPITAL OF BARSTOW INC                 HOSPITAL OF BARSTOW, INC.
2655 FIRST STREET SUITE 190            20 E MOUNTAIN VIEW ST                   818 WEST 7TH STREET
SIMI VALLEY, CA 93065                  BARSTOW, CA 92311                       LOS ANGELES, CA 90017




HOSPITAL OF BARSTOW, INC., DBA         HOSPITAL OF LOUISA, INC.                HOSPITAL PHYSICIAN PARTNERS, INC.
BARSTOW COMMUNITY HOSPITAL             306 W. MAIN STREET                      6400 ATLANTIC BOULEVARD
820 E MOUNTAIN VIEW ST                 SUITE 512                               JACKSONVILLE, FL 32211
BARSTOW, CA 92311                      FRANKFORT, KY 40601




HOSPITAL SERVICES CORPORATION          HOSPITAL SISTERS HEALTH SYS IL          HOSPITAL SOLUTIONS, INC
DBA HEALTHCARE EXTRANETS LLC           PATIENT FINANCIAL SERV                  10700 NORTH FREEWAY
P O BOX 92200                          P.O. BOX 13427                          SUITE 475
ALBUQUERQUE, NM 87199-2200             SPRINGFIELD, IL 62791                   HOUSTON, TX 77037




HOST, BARBARA                          HOST, HELEN                             HOST, MELISSA J.
238 AMSTERDAM RD SE                    17139 INGLESIDE AVE                     76 ARROW ROAD NW
SCIO, OH 43968                         SOUTH HOLLAND, IL 60473                 CARROLLTON, OH 44615




HOSTENG, KIRK                          HOSTETLER, ANN                          HOSTETLER, GERALD
232 ILLINI DR                          174 ROWFORD AVE SW                      725 HOMESTEAD POINTE DR
GALESBURG, IL 61401                    MASSILLON, OH 44646-3821                ORRVILLE, OH 44667




HOSTETLER, KENNETH                     HOSTETLER, ROBERT                       HOSTETLER, SARA
9511 ELTON ST SE                       175 LAKE AVE NE                         7611 APPLE CREEK RD
NAVARRE, OH 44662                      MASSILLON, OH 44646                     STERLING, OH 44276




HOSTETLER, TAMMY E.                    HOSTO, NICOLE                           HOSTO, SANDRA
ADDRESS ON FILE                        210 E HENRY ST                          117 TIMBERMILL LANE
                                       STAUNTON, IL 62088                      EDWARDSVILLE, IL 62025




HOSTO, SASHA                           HOSTO, SASHA                            HOSTUTLER, JENNIFER J.
ADDRESS ON FILE                        559 ALICE AVE                           291 STAR LINE DR
                                       GREENVILLE, IL 62246                    TALLMADGE, OH 44278
HOSTUTLER, KATHRYN      Case 20-10766-BLS    Doc
                                      HOT SHOTS   6 Filed
                                                NUCLEAR     04/07/20
                                                        MEDICINE       Page HOT
                                                                            829SHOTS
                                                                                of 1969
                                                                                     NUCLEAR MEDICINE
1120 8TH ST NW                         P.O. BOX 787442                      PO BOX 787442
CANTON, OH 44703                       PHILADELPHIA, PA 19178-7442          PHILADELPHIA, PA 19178




HOTCHKISS, CHELSEA                     HOTEL & RESTAURANT SUPPLY            HOUART, KHALI
20 PIONEER RD                          3750 WINCHESTER RD                   231 SFC 418
SILVER CITY, NM 88061                  MEMPHIS, TN 38118                    FORREST CITY, AR 72335




HOUBA, LESA                            HOUCHEN, KEVIN                       HOUCK, TRACY
125 LAKEVIEW DRIVE                     5045 VIA GATOS                       203 HECK DR
BELLEVILLE, IL 62223                   SOQUEL, CA 95073                     WATERLOO, IL 62298




HOUCK, WILLIAM                         HOUDYSHEL, ANDREW                    HOUGH, MARISA
721 EARL RD NW                         346 TUSCANY CIRCLE                   6922 THORNWOOD ST NW
MASSILLON, OH 44647                    MESQUITE, NV 89027                   CANTON, OH 44718




HOUGHTON, CYNTHIA                      HOUGHTON, JERRY M.                   HOUGHTON, TIFFANY
11525 PARAMOUNT RD.                    608 E COACH LN                       115 MILL ST S
PHELAN, CA 92371                       GRANTSVILLE, UT 84029                DALTON, OH 44618




HOUNSHELL, KESHIA                      HOUSE OF DOORS INC                   HOUSE, AMANDA L.
9005 HIGHWAY 581                       P.O. BOX 147                         ADDRESS ON FILE
RIVER, KY 41254                        BROOKFIELD, IL 60513-0147




HOUSE, CHARLIE M.                      HOUSE, LISA D.                       HOUSE, MARTHA L.
ADDRESS ON FILE                        306 N PARKHILL                       ADDRESS ON FILE
                                       WEST FRANKFORT, IL 62896




HOUSE, MINDY                           HOUSE, MORGAN B.                     HOUSER, SHAUNA
ADDRESS ON FILE                        ADDRESS ON FILE                      74 ROYAL FLUSH CT
                                                                            MESQUITE, NV 89027




HOUSIE, LINDA                          HOUSLEY, CYRIL S.                    HOUSMAN, JON
3072 EVERETTS RD                       P.O. BOX 72                          P.O. BOX 333
WILLIAMSTON, NC 27892                  LA BARGE, WY 83123-0072              114 ASHLAR ST.
                                                                            JONESBORO, IL 62952




HOUSMAN, KEITH                         HOUSON, MARK                         HOUSTON, AMY
121 S BLANCHE ST                       32656 SKYHAWK WAY                    1137 N CARLYLE RD
MOUNDS, IL 62964-0000                  EUGENE, OR 97405                     VANDALIA, IL 62471-4035
HOUSTON, ANDREA G.       Case 20-10766-BLS   Doc
                                       HOUSTON,    6 Filed 04/07/20
                                                BRITTANY                Page HOUSTON,
                                                                             830 of 1969
                                                                                      DARBI L.
ADDRESS ON FILE                        104 GREENFIELD DR                     5599 KY RT 40 WEST P.O. BOX 654
                                       COLLINSVILLE, IL 62234                STAFFORDSVILLE, KY 41256




HOUSTON, LAURA M.                      HOUSTON, REGINA R.                    HOUTZ, DEANNA
12968 HALSO MILL RD                    864 N FRANCISCO                       4243 SECREST RD
GREENVILLE, AL 36037                   CHICAGO, IL 60622                     WOOSTER, OH 44691-8918




HOUY, SIDNEY C.                        HOUZE, ZACHARY                        HOVANEC, CHRIS
P.O. BOX 375                           8558 MAPLEFORD ST SW                  ADDRESS ON FILE
FORT DAVIS, TX 79734                   NAVARRE, OH 44662




HOVIS, RICHARD                         HOVSEPIAN, LESLIE                     HOW, KRISTEL
534 SUNRIDGE LN                        ADDRESS ON FILE                       ADDRESS ON FILE
LOWELL, OR 97452




HOWA, KIMBERLY D.                      HOWARD & HOWARD ATTORNEYS PLLC        HOWARD & HOWARD ATTORNEYS PLLC
ADDRESS ON FILE                        6100 UPTOWN BLVD NE, STE 400          ONE TECHNOLOGY PLAZA
                                       ALBUQUERQUE, NM 87110                 211 FULTON ST 600
                                                                             PEORIA, IL 61602-1350




HOWARD , PAUL                          HOWARD BIGGERSTAFF                    HOWARD CARLITA
ADDRESS ON FILE                        16338 N. IL HWY 37                    1901 CANAL STREET
                                       MT. VERNON, IL 62864                  APT 3A
                                                                             BLUE ISLAND, IL 60406




HOWARD COLLEGE                         HOWARD COUNTY CLERK OF COURT          HOWARD COUNTY CLERK
1001 BIRDWELL LANE                     300 S MAIN ST 104                     P.O. BOX 1468
BIG SPRING, TX 79720                   BIG SPRING, TX 79721                  BIG SPRING, TX 79721




HOWARD COUNTY INDIGENT                 HOWARD COUNTY TAX COLLECTOR           HOWARD COUNTY TAX OFFICE
ATTN:IRENE DOMINGUEZ                   315 MAIN ST, STE D                    315 MAIN ST, STE D
P.O. BOX 2205                          BIG SPRING, TX 79721                  BIG SPRING, TX 79721
BIG SPRING, TX 79721




HOWARD COUNTY TAX OFFICE               HOWARD COWAN                          HOWARD E ROEMER
P.O. BOX 1111                          532 CASCASDE DR                       5076 COLONY CT
315 SOUTH MAIN,                        SPRINGFIELD, OR 97478                 THOMSON, IL 61285
BIG SPRING, TX 79721-1111




HOWARD HARNER                          HOWARD, AMBER J.                      HOWARD, ANGELA
240 MOSCOW ROAD                        3902 SW BOULDER 27 APT 27             324 GRAPE CREEK
DONGOLA, IL 62926-0000                 BENTONVILLE, AR 72712                 SALYERSVILLE, KY 41465
HOWARD, ANGELA           Case 20-10766-BLS
                                       HOWARD,Doc  6 J. Filed 04/07/20
                                               ANNIE                     Page HOWARD,
                                                                              831 of 1969
                                                                                      BIGHAM
618 JAMIE LYNN COURT                     113 N BOONE ST A                     2116 TUSCOLA AVE
EDWARDSVILLE, IL 62025                   LOUISA, KY 41230                     SNYDER, TX 79549-0000




HOWARD, BLOGNA                           HOWARD, BONNIE D.                    HOWARD, BOYD JR.
1667 BRAMBLEBUSH ST NW                   ADDRESS ON FILE                      354 BLACK ROCK CHURCH RD
MASSILLON, OH 44646                                                           HONORAVILLE, AL 36042




HOWARD, CARLITA M.                       HOWARD, CONNIE F.                    HOWARD, CORY M.
1901 CANAL ST                            ADDRESS ON FILE                      ADDRESS ON FILE
BLUE ISLAND, IL 60406




HOWARD, DEANNA R.                        HOWARD, DONNAH L.                    HOWARD, EMILY
ADDRESS ON FILE                          7 CAUDILL HOLLOW RD                  ADDRESS ON FILE
                                         SALYERSVILLE, KY 41465




HOWARD, FELICHIA                         HOWARD, GEORGETTA M.                 HOWARD, JESSICA L.
459 PEG LEG LN                           ADDRESS ON FILE                      261 DAVIS ST
PROCTOR, AR 72376                                                             LEXINGTON, TN 38351




HOWARD, JESSICA                          HOWARD, JOSHUA E.                    HOWARD, KAREN
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




HOWARD, KELTON                           HOWARD, MANUEL K.                    HOWARD, MAYLE
14119 KENTUCKY ROUTE 825                 ADDRESS ON FILE                      1413 OHIO AVE NE
OIL SPRINGS, KY 41238                                                         CANTON, OH 44705-1842




HOWARD, MICHAEL C.                       HOWARD, MICHELLE K.                  HOWARD, MONA E.
ADDRESS ON FILE                          555 N BROAD STREET                   ADDRESS ON FILE
                                         GALESBURG, IL 61401




HOWARD, MOYERS                           HOWARD, NICKI                        HOWARD, NICOLE
3977 RAMBLEWOOD DR                       2047 DIAMOND ST NE                   ADDRESS ON FILE
RICHFIELD, OH 44286                      CANTON, OH 44721




HOWARD, PAUL E.                          HOWARD, PENNY                        HOWARD, PRESTON
1107 HICKORY STREET                      1259 HARGIS LANE                     1717 MCCLURE BR RD
BIG SPRING, TX 79720                     WILLIAMSTON, NC 27892                LOUISA, KY 41230
HOWARD, ROEMER E.        Case 20-10766-BLS
                                       HOWARD,Doc 6 Filed 04/07/20
                                               RUDDER                Page HOWARD,
                                                                          832 of 1969
                                                                                  SCOTT C.
5076 COLONY CT                         604 LAKEFIELD DR                   ADDRESS ON FILE
THOMSON, IL 61285                      COLUMBIA, IL 62236-2701




HOWARD, SHELBY L.                      HOWARD, SHELLY M.                  HOWARD, STEPHANIE L.
556 CRANES NEST RD                     ADDRESS ON FILE                    ADDRESS ON FILE
SALYERSVILLE, KY 41465




HOWARD, SUMMER                         HOWARD, TAYLOR P.                  HOWARD, TIMOTHY R.
1046 LINGERFELT RD                     ADDRESS ON FILE                    ADDRESS ON FILE
RAINSVILLE, AL 35986




HOWARD, TONA                           HOWARD, TREVOR S.                  HOWARD, VANESSA
233 PERTH AVE                          813 BOARDTREE ROAD                 2125 CAMELOT LANE
BARSTOW, CA 92311                      SALYERSVILLE, KY 41465             LYNWOOD, IL 60411




HOWARDS JEWELRY                        HOWARDS, AMY M.                    HOWARTER, LINDA
8140 MALLORY COURT                     2908 SARATOGA ST                   415 W HENDERSON ST
CHANHASSEN, MN 55317                   GRANITE CITY, IL 62040             P.O. BOX 352
                                                                          WATAGA, IL 61488




HOWARTH, MARILYN                       HOWATT, LYNETTE S.                 HOWE, DEBORAH A.
451 ANTELOPE AVE                       ADDRESS ON FILE                    7971 MARQUETTE DR N
TOOELE, UT 84074                                                          TINLEY PARK, IL 60477




HOWE, NATHANAEL P.                     HOWE, SHARON                       HOWELL BRYAN K
1082 BETHESDA ST                       1405 CARUTH LN                     ADDRESS ON FILE
EUGENE, OR 97402                       CELINA, TX 75009-0000




HOWELL KATHRYN R                       HOWELL MELANINE F                  HOWELL, AMY J.
2730 SUNSET DR                         ADDRESS ON FILE                    ADDRESS ON FILE
GRANITE CITY, IL 62040




HOWELL, BRYAN                          HOWELL, BRYAN                      HOWELL, CARRIE
ADDRESS ON FILE                        1578 DAWSON DR.                    16330 CABRILLO DRIVE
                                       TOOELE, UT 84074                   VICTORVILLE, CA 92395




HOWELL, CASSIDY R.                     HOWELL, CASSIDY R.                 HOWELL, CELINA A.
1006 E BOND ST APT B                   ADDRESS ON FILE                    P.O. BOX 348 523 N BUSH AVE
BENTON, IL 62812                                                          HURST, IL 62949
HOWELL, CELINA A.        Case 20-10766-BLS
                                       HOWELL,Doc 6 Filed 04/07/20
                                              CHRISTINE                Page HOWELL,
                                                                            833 of CONNIE
                                                                                    1969 L.
ADDRESS ON FILE                        3567 PIPERGLEN AVE NW                ADDRESS ON FILE
                                       MASSILLON, OH 44646




HOWELL, DAVID L.                       HOWELL, DONALD E.                    HOWELL, HAZEL
ADDRESS ON FILE                        ADDRESS ON FILE                      P.O. BOX 68
                                                                            HAZEL GREEN, KY 41332




HOWELL, JESSICA                        HOWELL, KASHLIE K.                   HOWELL, KENNETH
15475 MERRILL AVE                      P.O. BOX 422 15 COUNTRY WAY          3701 NEW RT 3
SO.HOLLAND, IL 60473                   EVANSTON, WY 82931                   INEZ, KY 41224




HOWELL, MELANINE F.                    HOWELL, MIKAYLA T.                   HOWELL, NATALIE
ADDRESS ON FILE                        140 AMSTERDAM RD SE                  7530 GRIGGS RD
                                       SCIO, OH 43988                       RED BUD, IL 62278




HOWELL, PHENORISE                      HOWELL, SHEENA                       HOWELL, SHELBY L.
21450 NC HWY 125                       510 JEFFERY RD                       ADDRESS ON FILE
WILLIAMSTON, NC 27892                  BIG SPRING, TX 79720




HOWELL, TANIKA                         HOWELLS RECYCLING                    HOWERTON LESLIE
ADDRESS ON FILE                        3701 NEW RT 3                        1150 DARLENE LN APT 228
                                       INEZ, KY 41224                       EUGENE, OR 97401-0000




HOWIESON, DOUGLAS                      HOWINGTON HEATH                      HOWINGTON, CAROLYN P.
115 ALICIAS WAY                        1722 NW TROOST ST                    185 KATYDID RD
EVANSTON, WY 82930                     ROSEBURG, OR 97471                   MORGANTON, GA 30560




HOWK, JAMIE L.                         HOWLAND, AMY                         HOWLAND, DELOIS K.
121 TROY ROAD                          325 W LEATHERWOOD ROAD LOT 21        P.O. BOX 2396 410 TUBB LOOP
COLLINSVILLE, IL 62234                 BIG SPRING, TX 79720                 BIG SPRING, TX 79721




HOWLAND, WILLIAM                       HOWMEDICA OSTEONICS CORP             HOWMEDICA OSTEONICS CORP-93213
2540 2 22ND AVE                        ACCT 18378                           STRYKER PERFORMANCE SOLUTIONS
EUGENE, OR 97405-1402                  21343 NETWORK PLACE                  BOX 93213
                                       CHICAGO, IL 60673-3213               CHICAGO, IL 60673-3213




HOWSDEN, DAWN                          HOWSDEN, JESSICA                     HOWTON, EARNEST T.
ADDRESS ON FILE                        442 COUNTRY CLUB                     1878 SFC 867
                                       STANSBURY PARK, UT 84074             PALESTINE, AR 72372
HOWTON, GEORGE & LINDA Case 20-10766-BLS    Doc 6 A. Filed 04/07/20
                                     HOWZE, ESTHER                         Page HOY,
                                                                                834DENISE
                                                                                     of 1969
262 CHERRY AVE                       ADDRESS ON FILE                            P.O. BOX 992
MCKENZIE, TN 38201                                                              LOGANDALE, NV 89021




HOY, DUANE                            HOYER LESLIE                              HOYLE, SHEILA
P.O. BOX 381                          983 BRADLEY RD                            309 HOFFNER COURT
LOGANDALE, NV 89021-0000              BLAIRSVILLE, GA 30512                     DONGOLA, IL 62926




HOYLE, SUSAN                          HOYT, BRIAN T.                            HOYT, KATHLEEN N.
106 BELCHER RD                        40901 DEERHORN RD                         ADDRESS ON FILE
ANNA, IL 62906                        SPRINGFIELD, OR 97478




HOYT, MARY T.                         HOYT, MAUREEN L.                          HOYT, RENNO E
ADDRESS ON FILE                       36 COUNTY ROAD 1917                       3535 LAKESTONE CT
                                      FORT PAYNE, AL 35967                      AUGUSTA, GA 30907




HOYTE, MABEL                          HP ENTERPRISE SERV ATTN: BREASTCARE       HP ENTERPRISE SERVICES
4111 LAKEVIEW DR NW                   P.O. BOX 709                              PROVIDER ENROLLMENT
HUNTSVILLE, AL 35801                  LITTLE ROCK, AR 72203                     P.O. BOX 30042
                                                                                RENO, NV 89520-3042




HP INC                                HPN SR DIMENSIONS                         HPS INVESTMENT PARTNERS, LLC
P.O. BOX 742881                       P.O. BOX 15645                            ARCH INVESTMENT HOLDINGS IV LTD
LOS ANGELES, CA 90074-2881            LAS VEGAS, NV 89114-5645




HPS INVESTMENT PARTNERS, LLC          HPS INVESTMENT PARTNERS, LLC              HPS INVESTMENT PARTNERS, LLC
CARDINAL FUND, L.P.                   CREDIT VALUE MASTER FUND 2016             CREDIT VALUE MASTER FUND V
                                      SUBSIDIARY, LTD.                          SUBSIDIARY LTD




HPS INVESTMENT PARTNERS, LLC          HPS INVESTMENT PARTNERS, LLC              HPS INVESTMENT PARTNERS, LLC
CREDIT VALUE ONTARIO FUND V           FLORIDA POWER & LIGHT COMPANY             HPS MAUNA KEA FUND, L.P
SUBSIDIARY LP                         QUALIFIED DECOMMISSIONING TRUSTS
                                      FOR TURKEY POINT AND ST. LUCIE
                                      NUCLEAR PLANTS



HPS INVESTMENT PARTNERS, LLC          HPS INVESTMENT PARTNERS, LLC              HPS INVESTMENT PARTNERS, LLC
STRATA CLO I, LTD.                    WATFORD ASSET TRUST I                     WATFORD RE LTD. DBA WATFORD RE/ARCH
                                                                                INSURANCE TRUST




HPS INVESTMENT PARTNERS, LLC          HPS INVESTMENT PARTNERS, LLC              HPSRX ENTERPRISES INC
WATFORD RE LTD. DBA WATFORD RE/ARCH   WATFORD RE LTD. DBA WATFORD RE/ARL        1640 ROANOKE BLVD
RE CO TRUST                           ARE JOINT TRUST                           SALEM, VA 24153
HR DIRECT              Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                     HR DIRECT                           Page HRDLICKA,
                                                                              835 of 1969
                                                                                        DONALD
P.O. BOX 667318                      P.O. BOX 669390                          1323 SEMINOLE TRAIL
POMPANO BEACH, FL 33069              POMPANO BEACH, FL 33066                  GEORGETOWN, KY 40324




HRITZO, MARY                        HRMC AUXILIARY                            HROZIENCIK, RANDALL
2024 CHANEY CR                      3333 WEST DEYOUNG ST                      816 MONROE ST
YOUNGSTOWN, OH 44509                MARION, IL 62959                          GALESBURG, IL 61401




HRYNEWYCZ, STANLEY                  HRYNIEWICKI, MONIKA                       HRYSZKO, JONATHAN
ADDRESS ON FILE                     ADDRESS ON FILE                           562 SEAGULL DR
                                                                              TOOELE, UT 84074




HSA BANK                            HSAT                                      HSG MECHANICAL CONTRACTORS
P.O. BOX 939                        SHAWNEE ALLIANCE                          7689 GUNNERS LANE
SHEBOYGAN, WI 53082                 6355 BRANDHORST DRIVE                     CARTERVILLE, IL 62918
                                    CARTERVILLE, IL 62918




HSHS HOLY FAMILY HOSPITAL           HSHS MEDICAL GROUP                        HSHS ST ELIZABETH HOSP-IL CVO
1001 HIGHLANDS PLAZA DR WEST        ATTN: ACCOUNTING                          180 SOUTH THIRD ST
STE 150                             3051 HOLLIS DR                            STE 400
ST. LOUIS, MO 63110                 SPRINGFIELD, IL 62704                     BELLEVILLE, IL 62220




HSHS ST ELIZABETH HOSP-IL CVO       HSHS ST. ELIZABETHS HOSPITAL              HSHS ST. JOSEPHS HOSPITAL
ATTN HSHS CNTRL VERF OFFICE         ATTN HSHS CNTRL VERF OFFICE               ATTN HSHS CVO-IL/MSO
180 SOUTH 3RD ST, STE 400           180 SOUTH 3RD ST, STE 400                 12866 TROXLER AVE
BELLEVILLE, IL 62220                BELLEVILLE, IL 62220                      HIGHLAND, IL 62249




HSHS ST. JOSEPHS HOSPITAL           HU, JUN QING W.                           HUANG, STEPHEN
MEDICAL STAFF OFFICE                ADDRESS ON FILE                           3340 MUSCATEL AVENUE
12866 TROXLER AVE                                                             ROSEMEAD, CA 91770
HIGHLAND, IL 62249




HUB MARION IL, THE                  HUBBARD JEANNIE S                         HUBBARD, ALMA J.
917 W MAIN ST                       ADDRESS ON FILE                           191 E AUTUMN RIDGE RD
MARION, IL 62959                                                              CARBONDALE, IL 62901




HUBBARD, CRYSTAL R.                 HUBBARD, MELISSA                          HUBBARD, STEPHANIE S.
ADDRESS ON FILE                     ADDRESS ON FILE                           ADDRESS ON FILE




HUBBARD, TINA L.                    HUBBARD,ZICKGRAF, & BROADBENT, LTD        HUBBLE, BROOKE M.
2075 WARREN AVE                     5322 DAVIS ST                             ADDRESS ON FILE
AKRON, OH 44320                     SKOKIE, IL 60077
HUBBLE, CODY              Case 20-10766-BLS     Doc 6
                                        HUBBS, RON          Filed 04/07/20   Page HUBER
                                                                                  836 of& ASSOCIATES
                                                                                          1969       INC
ADDRESS ON FILE                          404 WEST SPRINT ST.                      1400 EDGEWOOD DR
                                         ANNA, IL 62906-0000                      JEFFERSON CITY, MO 65109




HUBER MELISSA                            HUBER ZACH                               HUBER, SOFIA
847 WHITE PINE DR                        1210 KENTUCKY ST                         574 BLUE RIDGE CROSSING
TOOELE, UT 84074                         GREEN RIVER, WY 82935-6162               EVANS, GA 30809




HUBERD, RICKY K.                         HUBERT CO., LLC                          HUBERT COMPANY INC
ADDRESS ON FILE                          25401 NETWORK PLACE                      25401 NETWORK PL
                                         CHICAGO, IL 60673-1254                   CHICAGO, IL 60673-1254




HUBERT COMPANY INC                       HUBERT COMPANY INC                       HUBERT, AMBER N.
25401 NETWORK PLACE                      25401 NETWORK PLACE                      ADDRESS ON FILE
CHIACGO, IL 60673-1254                   CHICAGO, IL 60673-1254




HUBERT, KYM                              HUBLER HEATHER                           HUBS HOME OXYGEN & MEDICAL SUPPLIES
12897 EGYPT SHORES ROAD                  435 CHARLOTTE AVE                        INC
CREAL SPRINGS, IL 62922                  COLUMBIA, IL 62236                       1500 SYCAMORE RD
                                                                                  MONTOURSVILLE, PA 17754




HUCKABA, BRITTANY                        HUCKE, RUTH C.                           HUCKEBY, HALI
1638 STARLINGTON RD                      ADDRESS ON FILE                          ADDRESS ON FILE
GEORGIANA, AL 36033




HUCKINS, JOANNE K.                       HUCKLEBY, MELISSA                        HUCKS
658 W FAIRVIEW DR                        18000 HIGHLAND AVE                       201 MAIN STREET
SPRINGFIELD, OR 97477                    TINLEY PARK, IL 60477                    MT. VERNON, IL 62864




HUCKS                                    HUDAK, ANTHONY J.                        HUDAK, STACEY
P.O. BOX 70887                           ADDRESS ON FILE                          7024 REED COURT
CHARLOTTE, NC 28272-0887                                                          BRENTWOOD, TN 37027




HUDDLESTON, BENJAMIN C.                  HUDDLESTON, CYNTHIA                      HUDDLESTON, TIMOTHY J.
2005 STONEHURST DRIVE                    103 BETZ BLVD                            1499 FM 1609
NASHVILLE, TN 37215                      BELLEVILLE, IL 62226                     SNYDER, TX 79549




HUDDLESTON, TINA                         HUDGEL, KELLY E.                         HUDGENS BILLIE ROBERT
15012 TERRACE LN                         ADDRESS ON FILE                          DBA SOUTHWEST PHOTOGRAPHY
MIDLOTHIAN, IL 60445                                                              312 S ZINC ST
                                                                                  DEMING, NM 88030
HUDGENS, ANA L.           Case 20-10766-BLS   Doc
                                        HUDGENS,    6 Filed 04/07/20
                                                 VALERIE               Page HUDGINS,
                                                                            837 of 1969
                                                                                     ANN
933 POWER PLANT RD                      505 DOGWOOD LANE                    ADDRESS ON FILE
MARION, IL 62959                        MARION, IL 62959




HUDGINS, ANN                            HUDGINS, CAROLYN I.                 HUDGINS, ELDON R.
ADDRESS ON FILE                         P.O. BOX 1352                       2836 WAYSIDE LANE
                                        ROBERSONVILLE, NC 27871             SPRINGFIELD, OR 97477-0000




HUDGINS, JOHN                           HUDGINS, PAULA M.                   HUDNALL, LASHEA N.
1458 OLD LARKINSVILLE ROAD              739 COUNTY RD 88                    257 SERIELDA LANE
SCOTTSBORO, AL 35768                    FORT PAYNE, AL 35968                LOUISA, KY 41230




HUDNALL, RONA K.                        HUDSON AQUATIC SYSTEMS, INC.        HUDSON MONTGOMERY KALIVODA &
ADDRESS ON FILE                         1100 WOHLERT STREET                 CONNELLY
                                        ANGOLA, IN 46703                    IOLTA ACCT
                                                                            P.O. BOX 8068
                                                                            ATHENS, GA 30603-8068



HUDSON RCI                              HUDSON, ALEAN                       HUDSON, CARMEN E.
200 SENDERO HORSE THIEF ROAD            13828 S ATLANTIC AVE                1307 ANGELA RD.
ALPINE, TX 79830                        RIVERDALE, IL 60827-1905            BIG SPRING, TX 79720




HUDSON, DJAVON                          HUDSON, JOAN                        HUDSON, JULIANN
2711 GALLILEE AVE APT E                 5872 BOSFORD ST SW                  ADDRESS ON FILE
ZION, IL 60099                          NAVARRE, OH 44662




HUDSON, KIMBERLY A.                     HUDSON, LETA M.                     HUDSON, MICHAEL J.
3085 FORREST LAKE RD                    2729 WILLOW AVE                     356 CONIFER LANE
FORREST CITY, AR 72335                  GRANITE CITY, IL 62040              SANTA CRUZ, CA 95060




HUDSON, PAMELA R.                       HUDSON, ROGER L.                    HUDSON, ROMAS
741 FRANKLIN MILL TRACE                 1063 PILGRIM LANE                   1360 PANBOWL ROAD
LOGANVILLE, GA 30052                    MONTEVALLO, AL 35115                JACKSON, KY 41339




HUDSON, RUBY                            HUDSON, SHIRLEY                     HUDSON, YLONDIA
12440 BENCK DR                          2758 BEN FULTON RD                  3646 W 137TH STREET
APT 205                                 NORTH LAWRENCE, OH 44666            BAD ADDRESS
ALSIP, IL 60803                                                             ROBBINS, IL 60472




HUDSPETH, CECILIA A.                    HUDSPETH, STEVEN                    HUDY, KRISTINA M.
2964 MILL STREET                        988 SW CORAL ST                     9041 E SOUTHVIEW ST
EUGENE, OR 97405-0000                   JUNCTION CITY, OR 97448             MINERVA, OH 44657
HUDZIK, STANLEY G.       Case 20-10766-BLS   Doc
                                       HUEBERT,    6 D. Filed 04/07/20
                                                KORY                     Page HUEBNER,
                                                                              838 of 1969
                                                                                       ERIKA L.
829 GREENWOOD                            ADDRESS ON FILE                      482 SNAZZY CIRCLE SW
MADISON, IL 62060                                                             NEW PHILADELPHIA, OH 44663




HUEBNER, JENNIFER                        HUEFTLE, STEPHANIE D.                HUEGEN, KARA A.
517 MICAHS WAY                           534 7TH ST                           208 WILSHIRE DR
COLUMBIA, IL 62236                       SPRINGFIELD, OR 97477                BARTELSO, IL 62218




HUELS, KOHN.                             HUELSMAN, JANET                      HUERTA, ALMA
11364 S. MALLARD AVE                     5581 G ROAD                          P.O. BOX 909
CHICAGO, IL 60655                        WATERLOO, IL 62298                   LOGANDALE, NV 89021-0909




HUERTA, ARELIA                           HUERTA, EUGENIO                      HUERTA, JESUS VERA
2075 CRANBROOK ROAD                      2216 EDWARDS ST                      915 E FLORIDA ST
LIBERTYVILLE, IL 60048                   GRANITE CITY, IL 62040               DEMING, NM 88030




HUERTA, LETICIA                          HUETH, SHON P.                       HUETHER, ROBERT
16825 WAUSAU CT.                         6796 IVY STREET                      700 JACKSON ST
SO. HOLLAND, IL 60473                    SPRINGFIELD, OR 97478                EVANSVILLE, IL 62242




HUEY, MARK                               HUEY, STEPHEN                        HUFF TREVA
ADDRESS ON FILE                          ADDRESS ON FILE                      866 SHACKS BRANCH
                                                                              JACKSON, KY 41339




HUFF, BRIAN E.                           HUFF, BRYAN                          HUFF, GAY L.
2555 ROYAL COUNTY DOWN UNIT D            5809 WALTER RD                       ADDRESS ON FILE
UNIONTOWN, OH 44685                      BIG SPRING, TX 79720




HUFF, JAMES                              HUFF, JERRY                          HUFF, KAREN M.
556 HIGHLAND CIRCLE                      1644 INDIANA DR                      51 MORNINGSIDE DR
BLUE RIDGE, GA 30513                     GALESBURG, IL 61401                  GLEN CARBON, IL 62034




HUFF, LAUREN A.                          HUFF, PEGGY                          HUFF, SUSANNE M.
ADDRESS ON FILE                          324 RIDGEMONT DR                     729 14TH ST SW
                                         ELLIJAY, GA 30536                    MASSILLON, OH 44647




HUFFINE, SHARON L.                       HUFFMAN CAROL                        HUFFMAN VANESSA L
ADDRESS ON FILE                          4260 ASHWOOD LN                      261 BREEZE WAY
                                         BELLEVILLE, IL 62226                 BLUE RIDGE, GA 30513
HUFFMAN, JOLENE A.        Case 20-10766-BLS   Doc
                                        HUFFMAN,     6 Filed 04/07/20
                                                 JULIEANN               Page HUFFMAN,
                                                                             839 of 1969
                                                                                      KINDELL
ADDRESS ON FILE                          ADDRESS ON FILE                     12 BANK ST
                                                                             APPLE CREEK, OH 44606




HUFFMAN, MEGAN                           HUFFMAN, NATALIE R.                 HUFFMAN, STELLA M.
438 N 200 W                              4843 MARS HILL ROAD                 607 SOUTH SIEMAN ST
TOOELE, UT 84074-0000                    BOGART, GA 30622                    SORENTO, IL 62086




HUFFMASTER HEALTHCARE STAFFING INC       HUFFORD, EMILY                      HUFFSTUTLER, ABRIANNA
1055 W MAPLE RD                          1401 OAK ST                         2549 SONAR ST
CLAWSON, MI 48017                        HIGHLAND, IL 62249                  NASHVILLE, TN 37214




HUFFSTUTLER, DEBORAH R.                  HUFFSTUTLER, KATE L.                HUFFSTUTLER, WILLIAM D.
ADDRESS ON FILE                          ADDRESS ON FILE                     15801 E LYNCHBURG
                                                                             MT. VERNON, IL 62864




HUFFSTUTLER, WILLIAM D.                  HUGELEN, LLOYD A.                   HUGGETT, BRENDAN
ADDRESS ON FILE                          772 N MAIN NUM 271                  110 WOODS END
                                         TOOELE, UT 84074                    COLLINSVILLE, IL 62234




HUGGINS, ERIC                            HUGH BROWN                          HUGHART, LAURA K.
934 LAVERNE COURT                        ADDRESS ON FILE                     ADDRESS ON FILE
RED BUD, IL 62278




HUGHART, LINNETTA L.                     HUGHELL, HILLARY                    HUGHES CONSTRUCTION
ADDRESS ON FILE                          1114 WHEATON CIRCLE NE              1744 RAILROAD AVENUE
                                         MASSILLON, OH 44646                 ALBERTVILLE, AL 35951




HUGHES JULIE S                           HUGHES OIL CO                       HUGHES TELEPHONE INC
902 VALLEY RIVER AVE                     CHARDON CORPORATION                 2407 40TH AVE
MURPHY, NC 28906                         P.O. BOX 359                        MOLINE, IL 61265
                                         MESQUITE, NV 89024-0359




HUGHES, AMY M.                           HUGHES, ATASHA                      HUGHES, BRANDI
ADDRESS ON FILE                          1778 FULLERS RIDGE ROAD             607 N MAIN ST
                                         LOUISA, KY 41230                    ABINGDON, IL 61410




HUGHES, BRENDA J.                        HUGHES, CARLA                       HUGHES, CHASE
74 RAINBOW LANE                          2560 SNOW PARTRIDGE DR              ADDRESS ON FILE
LOUISA, KY 41230                         RENO, NV 89523
HUGHES, CINDY A.         Case 20-10766-BLS
                                       HUGHES,Doc 6 D.
                                              CLAYTON Filed 04/07/20   Page HUGHES,
                                                                            840 of DELORIS
                                                                                    1969 J.
1602 RUNNELS                            ADDRESS ON FILE                     ADDRESS ON FILE
BIG SPRING, TX 79720




HUGHES, GAIL                            HUGHES, GLYNN                       HUGHES, HAYLEY L.
704 OAKWOOD AVE                         2277 OLD HUNTINGDON RD              6724 LAKE SHORE DR APT 5
EAST ALTON, IL 62024                    LEXINGTON, TN 38351                 WESTMONT, IL 60559




HUGHES, JENEICE                         HUGHES, JUNIOR L.                   HUGHES, KIMBERLY CLARK
3451 SHERIDAN RD                        P.O. BOX 134                        2480 WESTMINSTER DRIVE·
ZION, IL 60099                          TURTLETOWN, TN 37391                WINTERVILLE, NC 28590




HUGHES, KRISTIN                         HUGHES, LANNY B.                    HUGHES, LAYMON G.
876 KNOX HWY 39                         5247 SAND RIDGE RD                  970 MALLARD DR NE
LONDON MILLS, IL 61544                  HURON, TN 38345-9481                FORT PAYNE, AL 35967-8020




HUGHES, LINDSAY                         HUGHES, MACI B.                     HUGHES, MANDI
ADDRESS ON FILE                         10155 AL HWY.35                     ADDRESS ON FILE
                                        GAYLESVILLE, AL 35973




HUGHES, MANDY L.                        HUGHES, MEGAN R.                    HUGHES, MICHELLE T.
ADDRESS ON FILE                         3606 DIXON                          3300 OLD HIGHWAY 5
                                        BIG SPRING, TX 79720                BLUE RIDGE, GA 30513




HUGHES, OLIVIA E.                       HUGHES, OLIVIA                      HUGHES, PAMELA J.
ADDRESS ON FILE                         ADDRESS ON FILE                     1721 CEDAR STREET
                                                                            LOUISVILLE, OH 44641




HUGHES, PAMELA J.                       HUGHES, PEGGY A.                    HUGHES, SHANE
930 E GORGAS ST                         15050 SANDUSKY DRIVE                1303 COUNTY ROAD 296
LOUISVILLE, OH 44641                    DUNDEE, OH 44624                    COLLINSVILLE, AL 35961




HUGHES, SUZANNE                         HUGHES, TERRI                       HUGHEY AND PHILLIPS
117 CREST ST.                           18266 E. LIBERTY RD                 240 W TWAIN AVENUE
COPPERHILL, TN 37317                    OPDYKE, IL 62872-2130               URBANA, OH 43078




HUGHEY, KOURTNEY L.                     HUGHEY, ROBERT                      HUGHEY, TIMOTHY A.
P.O. BOX 402                            61 W CHESTNUT ST                    61 W CHESTNUT
ASHLEY, IL 62808                        MARIANNA, AR 72360                  MARIANNA, AR 72360
HUGHSON, JOHN            Case 20-10766-BLS    Doc 6
                                       HUGO CARRILLO        Filed 04/07/20   Page HUGO,
                                                                                  841 of  1969J.
                                                                                        CHELSA
P.O. BOX 1892                           4518 W. 125TH ST                          912 FAIRWAY PL
GONZALES, TX 78629                      ALSIP, IL 60803                           SPRINGFIELD, OR 97477




HUH, MIJUNG                             HUITT, AMY L.                             HUITT, LUCIA
ADDRESS ON FILE                         114 BRIAN RD.                             305 SW BROADWAY ST.
                                        BIG SPRING, TX 79720                      COAHOMA, TX 79511




HUIZENGA, THOMAS                        HULA BS LLC                               HULBURT, THOMAS J.
300 SEQUOYAH DR NE LOT219               603 E 13TH AVE                            3516 LAFAYETTE ST SE
FORT PAYNE, AL 35967                    EUGENE, OR 97401                          ALBANY, OR 97322-0000




HULEN, CYNTHIA                          HULETT, VALERIE A.                        HULGAN SHANNON
3620 11TH STREET                        1128 CLARENDON AVE NW 1                   P.O. BOX 201
WINTHROP HARBOR, IL 60096               CANTON, OH 44708                          VALLEY HEAD, AL 35989-0201




HULGAN, ASHLEY N.                       HULGAN, AUTUMN                            HULGAN, JOSHUA K.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




HULL ANESTHESIA INC                     HULL ANESTHESIA, INC.                     HULL BARRETT PC
7521 TALBERT AVE                        7392 VINCENT CIRCLE                       801 BROAD ST, 7TH FL
HUNTINGTON BEACH, CA 92648              HUNTINGTON BEACH, CA 92648                AUGUSTA, GA 30901




HULL BARRETT PC                         HULL, BRITTANY                            HULL, EMILY
P.O. BOX 1564                           2309 WILSON AVE                           P.O. BOX 5463
AUGUSTA, GA 30903-1564                  GRANITE CITY, IL 62040                    EUGENE, OR 97405




HULL, GUY SR                            HULL, MORGAN A.                           HULL, TARA
318 EDWARDS RD                          24 DWIGHT ST                              112 S POPLAR ST ATP 2
MOORESVILLE, NC 28115                   WATERLOO, IL 62298                        CARBONDALE, IL 62901




HULL-CRADER, NIKKI R.                   HULLETT, ANN                              HULSE, CRYSTAL
ADDRESS ON FILE                         9137 ORCHARD LN                           803 E WAR MEMORIAL DR
                                        BRIDGEVIEW, IL 60455-2213                 PEORIA HEIGHTS, IL 61616




HULSEY, ELMO S.                         HULSEY, SHARON L.                         HULSEY, TINA A.
20221 AL HIGHWAY 117                    ADDRESS ON FILE                           P.O. BOX 54
IDER, AL 35981-4610                                                               465 SUMMIT ST
                                                                                  BLUE RIDGE, GA 30513
HULSLANDER CRISTIN L       Case 20-10766-BLS    Doc
                                         HULTQUIST,   6 Filed
                                                    SUZETTE E. 04/07/20   Page HULVEY,
                                                                               842 of GLENARD
                                                                                       1969
1761 E 25TH ST                            15601 S 118TH AVENUE                 3708 ST ROUTE 161
EUGENE, OR 97403-0000                     ORLAND PARK, IL 60467                CENTRALIA, IL 62801-9622




HUMAIRA KHAN, MD                          HUMAN ART CONSULTING                 HUMAN SERVICE CENTER
805 S. HARVEY                             3040 S 1055 W                        10257 STATE ROUTE 3
OAK PARK, IL 60304                        SYRACUSE, UT 84075                   RED BUD, IL 62278




HUMAN SERVICES DEPARTMENT                 HUMANA - CHOICE                      HUMANA ATTN: FINANCIAL RECOVERY
NM CBA LTC PROGRAM                        P.O. BOX 14601                       DEPT.
P O BOX 25784                             ATTN: VOLUNTARY REFUNDS              P.O. BOX 931655
ALBUQUERQUE, NM 87125                     LEXINGTON, KY 40512-4601             ATLANTA, GA 31193-1655




HUMANA CARE PLUS HEALTH PLANS             HUMANA CARESOURCE KY                 HUMANA CARESOURCE
P.O. BOX 14697                            P.O. BOX 824                         P.O. BOX 706358
ATTN: CLAIMS DEPT                         DAYTON, OH 45401-0824                ATTN: FINANCE
LEXINGTON, KY 40512-4697                                                       CINCINNATI, OH 45270-6358




HUMANA CLAIMS OFFICE                      HUMANA CLAIMS OFFICE                 HUMANA GOLD CHOICE
P.O. BOX 14601                            POB 14601                            P O BOX 14601
LEXINGTON, KY 40512-4601                  LEXINGTON, KY 40512-4601             LEXINGTON, KY 40512-4601




HUMANA GOLD CHOICE                        HUMANA GOLD CHOICE                   HUMANA HEALTH CARE PLAN
P.O. BOX 14601                            P.O. BOX 202047                      P.O. BOX 931655
LEXINGTON, KY 40512-4601                  FLORENCE, SC 29502                   ATLANTA, GA 31193




HUMANA HEALTH CARE PLAN                   HUMANA HEALTH CARE PLANS             HUMANA HEALTH CARE PLANS
P.O. BOX 931655                           P.O. BOX 931655                      P.O. BOX 931655
ATTN REFUNDS                              ATLANTA, GA 31193-1655               ATTN REFUNDS
ATLANTA, GA 31193-1655                                                         ATLANTA, GA 31193-1655




HUMANA HEALTH CARE PLANS                  HUMANA HEALTH CARE                   HUMANA HEALTH PLANS
VASCULAR ULTRASOUND CLAIMS                P.O. BOX 14601                       POB 931655
P.O. BOX 931655                           LEXINGTON, KY 40512-4601             ATLANTA, GA 31193-1655
ATLANTA, GA 31193-1655




HUMANA INC                                HUMANA INS CO                        HUMANA MCR HMO
ATTN:REFUNDS                              P.O. BOX 14601                       P.O. BOX 14601
P.O.BOX 14601                             LEXINGTON, KY 40512-4601             LEXINGTON, KY 40512-4601
LEXINGTON, KY 40512-4601




HUMANA MCR PPO                            HUMANA MEDICARE CHOICE PPO           HUMANA MEDICARE PFFS GOLD
P.O. BOX 14601                            P.O. BOX 14601                       P.O. BOX 14601
LEXINGTON, KY 40512-4601                  LEXINGTON, KY 40512-4601             LEXINGTON, KY 40512-4601
                         Case 20-10766-BLS
HUMANA MEDICARE REPLACEMENT   PPO      HUMANA Doc     6 Filed 04/07/20
                                                MEDICARE                 Page HUMANA
                                                                              843 of MILITARY
                                                                                     1969 TRICARE EAST REFUNDS
P.O. BOX 14601                         P.O. BOX 40512                         P.O. BOX 7937
LEXINGTON, KY 40512-4601               LEXINGTON, KY 40512-4601               MADISON, WI 53707




HUMANA MILITARY TRICARE/PGBA, LLC      HUMANA MILITARY                        HUMANA MILITARY
PGBA, LLC                              TRICARE EAST REFUNDS                   TRICARE EAST/REFUNDS
TRICARE NORTH REGION CLAIMS            P.O. BOX 7937                          P.O.BOX 8967
SURFSIDE BEACH, SC 29587               MADISON, WI 53707                      MADISON, WI 53708




HUMANA MILITIARY TRICARE / PGBA LLC    HUMANA MMAI                            HUMANA RECOVERY
PGBA, LLC                              P.O. BOX 14601                         P.O. BOX 931655
TRICARE SOUTH REGION CLAIMS            LEXINGTON, KY 40512-4601               ATLANTA, GA 31193
CAMDEN, SC 29021




HUMANA                                 HUMANA                                 HUMANA
500 W MAIN ST                          9275 WEST RUSSELL ROAD                 P O BOX 14601
LOUISVILLE, KY 40202                   SUITE 100                              LEXINGTON, KY 40512
                                       LAS VEGAS, NV 89148




HUMANA                                 HUMANA                                 HUMANA
P O BOX 14601                          P O BOX 931655                         P.O. BOX 14279
LEXINGTON, KY 40512-4601               ATLANTA, GA 31193-1655                 LEXINGTON, KY 40512-4279




HUMANA                                 HUMANA                                 HUMANA
P.O. BOX 14601                         P.O. BOX 14603                         P.O. BOX 14609
LEXINGTON, KY 40512-4601               LEXINGTON, KY 40512-4603               LEXINGTON, KY 40512




HUMANA                                 HUMANA                                 HUMANA
P.O. BOX 931655                        P.O.BOX 14601                          PO BOX 14601
ATLANTA, GA 31193-1655                 LEXINGTON, KY 40512-4601               LEXINGTON, KY 40512




HUMANA                                 HUMANA/CHOICE CARE                     HUMANA-MEDICARE REPLACEMENT
PO BOX 931655                          P.O. BOX 14601                         P.O. BOX 14601
ATLANTA, GA 31193                      LEXINGTON, KY 40512-4601               LEXINGTON, KY 40512




HUMANITY, INC.                         HUMBER, CYNTHIA                        HUMBERT, JACKIE
50 OSGOOD PLACE SUITE 330              451 LOUISE AVE                         ADDRESS ON FILE
SAN FRANCISCO, CA 94133                ROCKINGHAM, NC 28379-3155




HUMBRECHT, JAMES A.                    HUMES, ANESSA M.                       HUMES, RONALD D.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE
HUMMEL, DEAN           Case 20-10766-BLS
                                     HUMMEL,Doc
                                            JOHN6R. Filed 04/07/20     Page HUMMEL,
                                                                            844 of VINCENT
                                                                                    1969 H.
ADDRESS ON FILE                       945 OVERLOOD AVE SW                   ADDRESS ON FILE
                                      MASSILLON, OH 44647




HUMPHERY, MERLINDA                    HUMPHREY LUCILLE M                    HUMPHREY, ASHLEY S.
146 COBB RD                           8651 THURSTON RD SPC 10               ADDRESS ON FILE
COVINGTON, GA 30014                   SPRINGFIELD, OR 97478




HUMPHREY, ELEANOR                     HUMPHREY, JEFFREY                     HUMPHREY, JESSICA E.
4519 HWY 92 EAST                      11559 SOUTH MAIN STREET APT.21        22702 ALABAMA HIGHWAY 176
BATH, NC 27808                        TRENTON, GA 30752                     COLLINSVILLE, AL 35961




HUMPHREY, TOMMY L .                   HUMPHREYS, DANELLE                    HUMPHREYS, TIFFANY
P.O. BOX 564                          1349 FUNK ROAD                        123 OAKVIEW DR
HAYNES, AR 72341                      ELKVILLE, IL 62932                    KNOXVILLE, IL 61448




HUMPHRIES, CHARLES                    HUMPHRIES, ROBERT (KELLY)             HUMPHRIES, ROBERT K.
302 WASHINGTON ST                     ADDRESS ON FILE                       ADDRESS ON FILE
PLYMOUTH, NC 27962




HUMPHRIES, ROBIN                      HUNDLEY CHRISTOPHER                   HUNGATE, ASHLEE R.
716 S VIRGINIA AVE                    7401 SUNSET ACRES DR                  8770 STUYVESANT STREET
MARION, IL 62959                      COLLINSVILLE, IL 62234                BENTON, IL 62812




HUNGATE, ELVA M.                      HUNGER, IRMA                          HUNGERFORD SCOTT C
13615 NEW HOPE CHURCH RD              1075 VICTORY DR APT 129               9525 NE 140TH ST
BENTON, IL 62812                      LINDENHURST, IL 60046                 KIRKLAND, WA 98034-0000




HUNNICUTT, DIANA K.                   HUNSADER, MIRISA                      HUNT GABRIELLE
ADDRESS ON FILE                       2175 GREYSTEM CIR 103                 105 HATHAWAY AVENUE
                                      GURNEE, IL 60031                      EVANSTON, WY 82930-0000




HUNT JACKIE L                         HUNT KAREN                            HUNT KELLY D
4980 PATRICIA RIDGE                   4370 BELL OAK RD                      P.O. BOX 395
FLORISSANT, MO 63033                  WILLIAMSTON, MI 48895                 STRAFFORD, MO 65757




HUNT KELSEA F                         HUNT SHAREN                           HUNT, AMBER
20 MILLPOND                           119 BESSIE LANE                       ADDRESS ON FILE
STANSBURY PARK, UT 84074              WINDSOR, NC 27983
HUNT, ARNOLD              Case 20-10766-BLS     Doc 6W. Filed 04/07/20
                                        HUNT, ARTHUR                     Page HUNT,
                                                                              845 of  1969
                                                                                    BETTY
405 NW 2ND AVE                           1335 33RD ST                         P.O. BOX 2982
ALEDO, IL 61231                          SPRINGFIELD, OR 97478                WEST HELENA, AR 72390




HUNT, BRIDGET V.                         HUNT, CHRISTOPHER R.                 HUNT, JAMES D.
ADDRESS ON FILE                          ADDRESS ON FILE                      P. O. BOX 342
                                                                              MENTONE, AL 35984




HUNT, JEFFREY                            HUNT, JENNIFER                       HUNT, JUDY S.
135 S RANCH RD                           1713 S. 500 E.                       2015 LYDA LANE
GRANTSVILLE, UT 84029                    SALT LAKE CITY, UT 84105             LOGANVILLE, GA 30052




HUNT, KATHRYN T.                         HUNT, KATHY L.                       HUNT, KAYLER
ADDRESS ON FILE                          ADDRESS ON FILE                      210 N 3RD STREET
                                                                              VIENNA, IL 62995




HUNT, KELSEA                             HUNT, KENT D.                        HUNT, LANCE T.
160 54TH ST APT. 31                      ADDRESS ON FILE                      ADDRESS ON FILE
SPRINGFIELD, OR 97478




HUNT, STANLEY E.                         HUNT, STANLEY E.                     HUNT, TAYLOR
1828 BRONWYN COURT                       ADDRESS ON FILE                      ADDRESS ON FILE
BRENTWOOD, TN 37027




HUNT, TYLER L.                           HUNT, TYLER L.                       HUNT, VICKIE S
105 HATHAWAY AVE                         ADDRESS ON FILE                      ADDRESS ON FILE
EVANSTON, WY 82930




HUNT,TYLER                               HUNTER JEREMY                        HUNTER JR., ROBERT
105 HATHAWAY AVE                         4824 BAILEY DR                       ADDRESS ON FILE
EVANSTON, WY 82930-5054                  GRANITE CITY, IL 62040




HUNTER SERENA M                          HUNTER SHAWNEE                       HUNTER STANLEY E
707 BOULEVARD DE CANNES                  3420 W 124TH PL                      ADDRESS ON FILE
EDWARDSVILLE, IL 62025                   ALSIP, IL 60803




HUNTER, BEATTIE                          HUNTER, BECKY                        HUNTER, BRITTANY N.
705 CAMPBELL DR                          ADDRESS ON FILE                      1808 JENNINGS RD SE
SPARTA, IL 62286                                                              FORT PAYNE, AL 35967
HUNTER, CARSON           Case 20-10766-BLS
                                       HUNTER,Doc 6
                                              CHEVY       Filed 04/07/20   Page HUNTER,
                                                                                846 of COURTNEY
                                                                                        1969    R.
2703 HICKORY LANE                      16 CR 631                                ADDRESS ON FILE
MARION, IL 62959-8483                  DUTTON, AL 35744




HUNTER, CROCKER                        HUNTER, DANIELLE                         HUNTER, DEAN
2335 STAGE RD                          ADDRESS ON FILE                          810 NORTH E ST
SCOTTS HILL, TN 38374                                                           MONMOUTH, IL 61462




HUNTER, DELORES                        HUNTER, DIANE                            HUNTER, EUGENE R.
1900 ROBINSON HILL RD                  93050 TOLIVER LN                         10 HUNTER LN
MAKANDA, IL 62958                      CHESHIRE, OR 97419-0000                  LOCK HAVEN, PA 17745




HUNTER, HERMAN B.                      HUNTER, JESSE L.                         HUNTER, JESSICA
250 PHILLIPS 350 ROAD                  511 HICKEY APT 112                       ADDRESS ON FILE
POPLAR GROVE, AR 72374                 MARIANNA, AR 72360




HUNTER, JON F.                         HUNTER, JOSEPH                           HUNTER, KRISTIE L.
62 OLD COVERED BRIDGE LN               P.O. BOX 2129                            ADDRESS ON FILE
CHERRY LOG, GA 30522                   SOUTHHAVEN, MS 38671




HUNTER, NATHAN                         HUNTER, NORMA                            HUNTER, REGINA M.
1219 S CHAPEL ST                       11426 S HALE AVE                         ADDRESS ON FILE
LOUISVILLE, OH 44641                   CHICAGO, IL 60643-4291




HUNTER, SHAWANNA S.                    HUNTER, ZACHARY                          HUNTING, LIAM
P O BOX 1072                           312 EAST EUCLID AVE                      935 N 1480 E
ANTIOCH, TN 37011                      MONMOUTH, IL 61462                       TOOELE, UT 84074




HUNTINGTON DANCE THEATRE               HUNTINGTON HARDWARE CO. INC.             HUNTINGTON TECHNOLOGY FINANCE INC
P.O. BOX 2211                          340 W. HOLT AVENUE                       2285 FRANKLIN RD, STE 100
HUNTINGTON, WV 25722                   SECOND FLOOR                             BLOOMFIELD HILLS, MI 48302
                                       POMONA, CA 91768




HUNTINGTON TECHNOLOGY FINANCE INC      HUNTINGTON, JOHANN A.                    HUNTLEY BRIAN
L-3708                                 1890 M STREET UNIT 6                     26611 W LINDEN RD
COLUMBUS, OH 43260-3708                SPRINGFIELD, OR 97477                    ANTIOCH, IL 60002




HUNTON OFFICE SUPPLY                   HUNTSINGER, WAYNE                        HUNTSMAN, AUBREY
P.O. BOX 1576                          177 MOUNTAIN VIEW DR                     ADDRESS ON FILE
FORREST CITY, AR 72336-1576            CHERRY LOG, GA 30522
HUNTSMAN, CYRSTAL        Case 20-10766-BLS   Doc
                                       HUNTSMAN,   6 Filed 04/07/20
                                                 IRENE                 Page HUNTSMAN,
                                                                            847 of 1969
                                                                                      SHERENA
306 N 200 W                            ADDRESS ON FILE                      1773 N 170 W
TOOELE, UT 84074                                                            TOOELE, UT 84074




HUNZEKER, RILEY J.                     HUNZIKER & HECK, LLC                 HUNZIKER, ALEXIS J.
ADDRESS ON FILE                        3332 W. WILLOW KNOLLS DRIVE          1306 JEFFERSON AVE
                                       SUITE A                              JOHNSTON CITY, IL 62951
                                       PEORIA, IL 61614




HUNZIKER, TED                          HUPPERT, JOEL                        HURBUTT, JOHN
1305 S. CARBON ST                      517 OAK AVE SE                       18 W PARK ST
MARION, IL 62959                       MASSILLON, OH 44646                  AVIS, PA 17721




HURD CONSTRUCTION                      HURDLE, RANDI                        HURFORD, DENNIS M.
924 SFC 221                            405 WOODLAWN DR                      ADDRESS ON FILE
FORREST CITY, AR 72335                 WILLIAMSTON, NC 27892




HURLBUTT, JOHN R.                      HURLEY TERESA LYNN                   HURLEY, DANYELLE
P.O. BOX 544                           411 PERRY ST                         178 WHITE CR
AVIS, PA 17721-0544                    SPRINGFIELD, OR 97477-0000           WINTERVILLE, GA 30683




HURLEY, DENISE A.                      HURLEY, TERRI L.                     HURN, TROY
1099 PLEASANT VLY RD                   ADDRESS ON FILE                      ADDRESS ON FILE
APTOS, CA 95003




HURON CONSULTING GROUP INC             HURON REGIONAL MEDICAL CENTER        HURST, EVE I.
3005 MOMENTUM PLACE                    172 FOURTH STREET S.E.               ADDRESS ON FILE
DBA HURON CONSULTING SERVICES LLC      HURON, SD 57350-2590
CHICAGO, IL 60689-5330




HURST, EZRA T.                         HURST, GERALDINE S.                  HURST, JENNA
806 NORTH DAYBREAK DR.                 ADDRESS ON FILE                      1113 CEDAR LANE
ST. GEORGE, UT 84770                                                        MARION, IL 62959




HURT AMY                               HURT, ANITA M.                       HURT, JACQUELINE K.
P.O. BOX 467                           611 TYLER RD                         ADDRESS ON FILE
BONNYMAN, KY 41719                     LEXINGTON, TN 38351




HURT, KATELYN                          HURT, KIYANA                         HURT, RUDY A.
404 WEDGEWOOD DRIVE                    14538 VAN BUREN                      ADDRESS ON FILE
WATERLOO, IL 62298                     DOLTON, IL 60419
HURTADO, ASHLEY           Case 20-10766-BLS   Doc
                                        HURTADO,    6 Filed 04/07/20
                                                 ASHLEY                   Page HURTADO-ESTRADA,
                                                                               848 of 1969      CARLOS
14622 SAINT LOUIS AVE                   2244 122ND ST                          ADDRESS ON FILE
MIDLOTHIAN, IL 60445                    BLUE ISLAND, IL 60406




HURTT, KATHERINE L.                     HURTT, KATHERINE L.                    HUSBAND, KRISTIN
16809 ALABAMA HWY 176                   ADDRESS ON FILE                        402 APPLETREE ST
FORT PAYNE, AL 35967                                                           SCOTTSBORO, AL 35768




HUSCH BLACKWELL LLP                     HUSELTON, WHITNEY                      HUSHKA, RENEE C.
P.O. BOX 790379                         6079 MICA STREET                       14544 KILDARE AVENUE
ST LOUIS, MO 63179                      SPRINGFIELD, OR 97478                  MIDLOTHIAN, IL 60445




HUSKAMP, ALICE                          HUSKEY, KAREN                          HUSKEY, TANYA
4303 CHILDS ST                          ADDRESS ON FILE                        ADDRESS ON FILE
E. ST. LOUIS, IL 62201




HUSSAINI, SYED F.                       HUSSAINI, SYED FAISAL                  HUSSER, JANNET K.
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




HUSSEY, LEE F.                          HUSSEY, WILLIAM S.                     HUST, KAREN
661 PAINT HORSE COVE                    6904 STONE RUN DR                      2500 BROACH SPUR
ERDA, UT 84074                          NASHVILLE, TN 37211                    MONROE, GA 30656




HUSTEDDE, MELISSA N.                    HUSTEDT, SHERYLE L.                    HUSTER, LAURA
4343 LAKE DR                            115 CATALPA DRIVE                      153 JERSEY COURT 7056
PONTOON BEACH, IL 62040                 GRANITE CITY, IL 62040                 ELLIJAY, GA 30540




HUSTON MARCIA L                         HUTCH AUTOMOTIVE                       HUTCHENS CO. INC., THE
428 S SYCAMORE ST                       615 HWY 15N                            P.O. BOX 148
MONTICELLO, IA 52310                    JACKSON, KY 41339                      HUNTSVILLE, AL 35804




HUTCHERSON RUBY                         HUTCHERSON, BRETT                      HUTCHERSON, BRETT
11623 S THROOP ST                       ADDRESS ON FILE                        905 THORNRIDGE COURT
CHICAGO, IL 60643                                                              CASEYVILLE, IL 62232




HUTCHERSON, JAMES R.                    HUTCHERSON, JAMES RUSSELL, CRNP        HUTCHERSON, JASMINE
ADDRESS ON FILE                         ADDRESS ON FILE                        1016 BLOUIN DR
                                                                               DOLTON, IL 60419
HUTCHESON, AMANDA          Case 20-10766-BLS   DocAMANDA
                                         HUTCHESON, 6 Filed 04/07/20    Page HUTCHESON,
                                                                             849 of 1969BRANDI M.
ADDRESS ON FILE                          ADDRESS ON FILE                     1247 COUNTY ROAD 22
                                                                             PISGAH, AL 35765




HUTCHESON, LISA                          HUTCHESON, LISA                     HUTCHESON, LISA
33374 N LAKE SHORE DRIVE                 ADDRESS ON FILE                     ADDRESS ON FILE
WILDWOOD, IL 60030




HUTCHESON, TROY                          HUTCHINGS, CINDY                    HUTCHINGS, CONNIE
1612 COUNTY ROAD 505                     134 BARRETT AVE                     706 GILBERT ST
RAINSVILLE, AL 35986                     EVANSTON, WY 82930                  KEWANEE, IL 61443




HUTCHINGS, DOUGLAS                       HUTCHINS, BARRING                   HUTCHINS, PAULA K.
3230 PRINCETON DR                        260 CHURCH ST                       1103 MARION STREET
GRANITE CITY, IL 62040                   MARIANNA, AR 72360                  CARTERVILLE, IL 62918




HUTCHINS-HURST, JENNIFER                 HUTCHINSON AND BLOODGOOD LLP        HUTCHINSON CHAD D
927 4TH ST.                              550 NORTH BRAND BLVD.               119 SILVER BEACH BLVD
LAS VEGAS, NM 87701                      14TH FLOOR                          POMONA PARK, FL 32181
                                         GLENDALE, CA 91203




HUTCHINSON, CHARLES                      HUTCHINSON, MELISSA W.              HUTCHINSON, RANDALL
ADDRESS ON FILE                          ADDRESS ON FILE                     1210 YEOMAN ST
                                                                             WAUKEGAN, IL 60085




HUTCHINSON, REBECCA                      HUTCHINSON, ROBERT H.               HUTCHINSON, TERRENCE
14845 GAYHEAD RD                         250 W 17TH ST                       517 N 3RD ST
APPLE VALLEY, CA 92307                   COQUILLE, OR 97423                  DUPO, IL 62239




HUTCHISON BARBARA                        HUTCHISON, CAROL M.                 HUTCHISON, CAROL M.
ADDRESS ON FILE                          102 SOUTH LIEBENGOOD ROAD           ADDRESS ON FILE
                                         MT. VERNON, IL 62864




HUTCHISON, HILLIARY                      HUTCHISON, JANET R.                 HUTCHISON, MARY M.
395 CHURCH                               2220 OLD HWY 99S                    900 S MAIN ST
EPWORTH, GA 30541                        ROSEBURG, OR 97471                  CROWN POINT, IN 46307




HUTCHISON, SANDRA                        HUTCHISON, SARAH M.                 HUTCHISON, TAMMY
P.O. BOX 6653                            2670 SAWGRASS CT SE                 2335 LEMONDS RD
EDMOND, OK 73083                         MASSILLON, OH 44646-7437            SOCIAL CIRCLE, GA 30025-3113
HUTMACHER, CATHERINE      Case 20-10766-BLS
                                        HUTSELL,Doc  6 W.Filed 04/07/20
                                                 JOSEPH                   Page HUTSELL,
                                                                               850 of 1969
                                                                                        NIKI
573 SHORELINE DR                          116 E DOGWOOD LN                     116 EAST DOGWOOD LANE
GRAYSLAKE, IL 60030                       BLUE RIDGE, GA 30513                 BLUE RIDGE, GA 30513




HUTTEN, EDWARD                            HUTTON, JAMES N.                     HUTTON, MARCINE L.
2100 W MONROE ST                          3231 KINNEY LP                       ADDRESS ON FILE
WAUKEGAN, IL 60085                        EUGENE, OR 97408




HUTTON, NINA                              HUTTON, ROBERT                       HUWIG, SUSAN J.
10850 SO. PRAIRIE APT.3                   P.O. BOX 817                         408 SIXTH ST N E
CHICAGO, IL 60628                         FLORENCE, OR 97439                   MASSILLON, OH 44646




HUX, KASI                                 HUY, TIMOTHY                         HUYNH, BRANDY M.
601 LOVERS LN                             9237 CEDARBERRY CT                   159 ALLEN AVE
ALAMOGORDO, NM 88310                      ST LOUIS, MO 63123                   SPRINGFIELD, OR 97477




HVAC CONTROLS INC                         HVASS, ALEXANDRA J.                  HWANG, STANLEY
372 RANKIN RD                             ADDRESS ON FILE                      P.O.BOX 491
BRANDON, MS 39042                                                              PEBBLE BEACH, CA 93953




HYATT HEIDI M                             HYATT PLACE EUGENE/OAKWAY            HYATT, AMIEE
159 DEAL RD                               333 OAKWAY ROAD                      1303 S VAN BUREN ST
COPPERHILL, TN 37317-4264                 EUGENE, OR 97401                     LITCHFIELD, IL 62056




HYATT, CAITLYN                            HYATT, JESSE                         HYATT, STEPHANIE P.
222 DEAL RD                               685 LAUREL SPRINGS RD                4056 WINDRIDGE CIRCLE
COPPERHILL, TN 37317                      MINERAL BLUFF, GA 30559              LAS CRUCES, NM 88012




HYDE CHARLES O                            HYDE, BRUCE                          HYDE, CHARLES
1055 CHATSWORTH HWY                       2621 RALPH TAYLOR RD                 52 ORCHARD LANE
ELLIJAY, GA 30540                         WILLIAMSTON, NC 27892                TALKING ROCK, GA 30175




HYDE, CHRISTINA L.                        HYDE, GLENDA J.                      HYDE, HELGA
32971 TATE RD                             ADDRESS ON FILE                      ADDRESS ON FILE
CRESWELL, OR 97426




HYDE, TRACY                               HYDRICK, DENNIS                      HYECHU, CHRISTIAN
P.O. BOX 609                              708 W MAIN ST                        633 A COYOTE COVE
MCCAYSVILLE, GA 30555                     CARMI, IL 62821                      DUGWAY, UT 84022
HYER RUTH                  Case 20-10766-BLS     Doc 6E. Filed 04/07/20
                                         HYER, RICHARD                    Page HYGIA
                                                                               851 of  1969SERVICES, INC.
                                                                                     HEALTH
P.O. BOX 625                              73 TIMBER BEND                       434 INDUSTRIAL LANE
RATON, NM 87740                           BLAIRSVILLE, GA 30512                BIRMINGHAM, AL 35211




HYGIENA, LLC                              HYGISTICS, LLC                       HYLAND LLC
1801 W OLYMPIC BLVD, FILE 2007            POB 72                               18103 WEST 106TH STREET SUITE 200
PASADENA, CA 91199-2007                   GOOCHLAND, VA 23063                  OLATHA, KS 66061




HYLAND LLC                                HYLAND SOFTWARE INC                  HYLAND, LLC
PO BOX 846261                             28500 CLEMENS RD                     28500 CLEMENS RD
DALLAS, TX 75284-6261                     WESTLAKE, OH 44145                   WESTLAKE, OH 44145




HYLAND, LLC                               HYLLE, JESSICA L.                    HYLTON, ASHLEY D.
P.O. BOX 846261                           ADDRESS ON FILE                      3570 CANOE RD
DALLAS, TX 75284-6261                                                          JACKSON, KY 41339




HYMAN LEON W                              HYMAN, BERYL A.                      HYMAN, KATHLEEN D.
628 WOODARD ROAD                          2616 MCCASKEY RD                     ADDRESS ON FILE
WINDSOR, NC 27983                         WILLIAMSTON, NC 27892




HYMAS, CHELSEY F.                         HYMER, KATHRYN                       HYMES, SANDRA
ADDRESS ON FILE                           ADDRESS ON FILE                      1832 HEMLOCK STREET
                                                                               EUGENE, OR 97404-2127




HYNDMAN, RONALD                           HYNES, JOHN                          HYNES, TIMOTHY F.
1230 TAFT ST.                             158 LITTLE HIAWATHA TRAIL            10214 S ARTESIAN
SHERRODSVILLE, OH 44675                   BLUE RIDGE, GA 30513                 CHICAGO, IL 60655




HYSLIP, MYRLE                             HY-VEE                               HY-VEE
2331 HIGHWAY 185                          1975 NATIONAL BLVD                   2030 E MAIN
MARIANNA, AR 72360                        GALESBURG, IL 61401                  GALESBURG, IL 61401-8290




I B M CORPORATION                         IBM                                  I-105 SECURE STORAGE LLC
P O BOX 643600                            P. O. BOX 61000                      851 52ND STREET
PITTSBURG, PA 15264-3600                  DEPT 1896                            SPRINGFIELD, OR 97478
                                          SAN FRANCISCO, CA 94161




I3 SCREEN LLC                             I3SCREEN LLC                         I3SCREEN
9501 NORTHFIELD BLVD                      9501 NORTHFIELD BLVD                 9501 NORTHFIELD BLVD.
DENVER, CO 80238                          DENVER, CO 80238                     ATTN: AR
                                                                               DENVER, CO 80238
I3SCREEN, LLC            Case 20-10766-BLS
                                       I-5 GLASSDoc 6     Filed 04/07/20   Page IA852 of 1969 LLC
                                                                                   MANUFACTURING
9501 NORTHFIELD BLVD                    3492 MARCOLA RD                         18W140 BUTTERFIELD RD, STE 1100
DENVER, CO 80238                        SPRINGFIELD, OR 97477                   OAKBROOKE TERRACE, IL 60181




IAC MEDICARE SUPP PLAN G                IAC                                     IAC(INDIVIDUAL INS.CO.)
P.O. BOX 3270                           ATTN: REFUNDS                           P.O. BOX 30685
SALT LAKE CITY, UT 84110-3270           P.O. BOX 14533                          EDMOND, OK 73003-0012
                                        OKLAHOMA CITY, OK 73113




IAMSS                                   IAN FOLEY                               IAN L LIAO, MD
1480 COOPER RD                          ADDRESS ON FILE                         ADDRESS ON FILE
HOFFMAN, IL 60169




IAN WHITE, MD                           IANNACE, VINCENT A.                     IANTECH, INC
2120 SOUTH HIGHLAND DR APT 510          ADDRESS ON FILE                         8748 TECHNOLOGY WAY
SALT LAKE, UT 84106                                                             SUITE 205
                                                                                RENO, NV 89521




IANTECH, INC                            IASCA-MEMBERSHIP DEPT                   IASIS HEALTHCARE CORPORATION
8748 TECHNOLOGY WAY, SUITE 205          TWO WOODFIELD LAKE                      STEWARD TEXAS HOSPITAL HOLDINGS LLC
RENO, NV 89521                          1100 E WOODFIELD RD, STE 350            1900 N PEARL ST - STE 2400
                                        SCHAUMBURG, IL 60173                    DALLAS, TX 75201




IAVELLI, MICHELLE L.                    IBANEZ, HERENIA M.                      IBANEZ, HERENIA M.
ADDRESS ON FILE                         301 N. ROYAL OAKS BLVD. APT 3502        ADDRESS ON FILE
                                        FRANKLIN, TN 37067




IBANEZ, JULIA                           IBARIAS MICHELE D                       IBARRA, CHRISTINA
ADDRESS ON FILE                         1610 ALABAMA AVE SW                     3079 YELLOW CREEK ROAD
                                        FORT PAYNE, AL 35968-5338               SPC 1720
                                                                                EVANSTON, WY 82930-9212




IBARRA, DIANA                           IBARRA, LUZ M.                          IBARRA, PEDRO
6505 8TH ST SW                          530 LAS PALMAS DR                       729 DORA CELESTE
DEMING, NM 88030                        HOLLISTER, CA 95023                     LAS VEGAS, NM 87701




IBARRA, ZARARITA A.                     IBBOTSON, SUSAN L.                      IBELE, BETTY
3408 ELAINE AVE                         ADDRESS ON FILE                         6020 LAKEMONT TR
PARK CITY, IL 60085                                                             MONROE, GA 30656-3366




IBERG, CURTIS                           IBEW FRINGEBENEFIT FUNDS                IBEW LOCAL 150 FRINGE
811 PINE STREET                         6525 CENTURIAN DR                       BENEFIT FUNDS
HIGHLAND, IL 62249                      LANSING, MI 48917-9275                  6525 CENTURION DR
                                                                                LANSING, MI 48917-9275
IBEW LOCAL 150 WELFARE Case 20-10766-BLS     DocNO61 Filed 04/07/20
                                     IBEW LOCAL                       Page IBEW/WESTERN
                                                                            853 of 1969UTILITIES HE
6526 CENTURIAN                       P.O. BOX 6088                         P.O. BOX 215
LANSING, MI 48917                    ST LOUIS, MO 63139                    SAN RAMON, CA 94583




IBITOYE, REMILEKUN                   IBM CORP                              IBM CORPORATION
2230 VILLAGE TRAIL COURT             P.O. BOX 841593                       P.O. BOX 643600
DACULA, GA 30019                     DALLAS, TX 75284-1593                 PITTSBURG, PA 15264-3600




IBM CORPORATION                      IBM CORPORATION                       IBM HOURLY SERVICE, INC
P.O. BOX 643600                      P.O. BOX 643600                       POB 643600
PITTSBURGH, PA 15264                 PITTSBURGH, PA 15264-3600             PITTSBURGH, PA 15264-3600




IBM                                  IBM                                   IBORRA, JUDITH F.
6300 DIAGONAL HWY                    PO BOX 643600                         115 DILBECK RD
BOULDER, CO 80301                    PITTSBURGH, PA 15264                  COPPERHILL, TN 37317




IBP                                  IBRAHIM, MOHAMED R.                   IBT WEST LLC DBA MAGNUM INDUSTRIAL
411 WASHINGTON AVE                   ADDRESS ON FILE                       DISTRIBUTORS
HADDONFIELD, NJ 08033-0000                                                 4203 W ADAMS ST
                                                                           PHOENIX, AZ 85009




IBT, INC.                            IC THOMASSON ASSOCIATES INC           ICAD
P.O.BOX 873065                       2950 KRAFT DR                         98 SPIT BROOK ROAD, SUITE 100
KANSAS CITY, MO 64187-3065           STE 500                               NASHUA, NH 03062
                                     NASHVILLE, TN 37204




ICAHN-PROFESSIONAL EDUCATION SERV.   ICCBBA INC                            ICE MOUNTAIN DIRECT
1945 VANS WAY                        P.O. BOX 11309                        P.O. BOX 856680
PRINCETON, IL 61356                  SAN BERNARDINO, CA 92423-1309         LOUISVILLE, KY 40285-6680




ICE SYSTEMS INC                      ICE, LAURA                            ICE, RACHAEL
PROXYTRUST                           152 OVERMONT AVE SW                   5248 CLARK RD
P.O. BOX 11126                       MASSILLON, OH 44646                   SALEM, IL 62881
HAUPPAUGE, NY 11788-1126




ICEMAKERS OF HUNTSVILLE              ICEMAKERS OF HUNTSVILLE               ICEMAN, RITA A.
4411-G EVANGEL CIRCLE                P.O. BOX 5038                         700 STUART ST NW
HUNTSVILLE, AL 35816                 HUNTSVILLE, AL 35814                  MASSILLON, OH 44646-2061




ICKLER WOLFE, SHANNON M.             ICON MEDICAL NETWORK LLC              ICONIK STUDIO
ADDRESS ON FILE                      8100 SW NYBERG ST SUITE 400           1001 WEST MAIN STREET
                                     TUALATIN, OR 97062                    FAIRFIELD, IL 62837
ICONTRACTS, INC.           Case 20-10766-BLS
                                         ICOT C/ODoc
                                                 MATT 6
                                                      GALTFiled 04/07/20   Page ICP
                                                                                 854  of 1969
                                                                                    MEDICAL
1011 US ROUTE 22 W                         3000 KELLY LANE                      10486 BAUR BLVD
STE 104                                    SPRINGFIELD, IL 62711                SAINT LOUIS, MS 63132
BRIDGEWATER, NJ 08807




ICP MEDICAL, LLC                           ICR LLC                              ICS PARENTS & FRIENDS
13720 RIDER TRAIL NORTH                    WESTWICKE AN ICR COMPANY             DINNER AUCTION COMMITTEE
ST LOUIS, MO 63045                         761 MAIN AVE                         411 PALMER RD
                                           NORWALK, CT 06851                    COLUMBIA, IL 62236-0000




ICS PARENTS AND FRIENDS                    ICU MEDICAL SALES INC                ICU MEDICAL SALES, INC
321 S METTER AVE                           AKA HOSPIRA WORLDWIDE LLC            951 CALLE AMANECER
COLUMBIA, IL 62236                         75 REMITTANCE DR - STE 6136          SAN CLEMENTE, CA 92673-0000
                                           CHICAGO, IL 60675-6136




ICU MEDICAL, INC.                          ID ENHANCMENTS INC                   ID STORE, THE
P.O. BOX 848908                            P.O. BOX 1557                        2116 GRAND AVE
LOS ANGELES, CA 90084-8908                 HARTSVILLE, SC 29551-1557            WAUKEGAN, IL 60085




ID THEFT ASSIST                            IDA SORELL                           IDAHO DEPT OF HEALTH AND WELFARE
P.O. BOX 57160                             10420 S WOOD                         MOLINA MEDICAID SOLUTIONS
WASHINGTON, DC 20037                       CHICAGO, IL 60643                    P.O. BOX 70087
                                                                                BOISE, ID 83707




IDAHO STATE TAX COMMISSION                 IDAHO UNCLAIMED PROPERTY             IDDINGS, JENNIFER
11321 W CHINDEN BLVD                       IDAHO UNCLAIMED PROPERTY             1020 SCOTT BLVD
BOISE, ID 83714                            P.O. BOX 83720                       APT E2
                                           BOISE, ID 83720                      DECATUR, GA 30030




IDEAL DISTRIBUTING COMPANY INC             IDEAL LANDSCAPE GROUP                IDEAL LANDSCAPE MNGMT, INC
2059 WILMA RUDOLPH BLVD                    6264 LEMAY FERRY RD.                 6252 OLSEN RD
CLARKSVILLE, TN 37040                      ST. LOUIS, MO 63129                  ST. LOUIS, MO 63129




IDEAL PROMOTIONS                           IDELL HENDLER                        IDENTICARD SYSTEM,LLC
784 MEADOWLARK LANE                        4127 TANNYBROOKE LN NW               39597 TREASURY CENTER
LOUISVILLE, CO 80027                       APT D                                CHICAGO, IL 60694-9500
                                           CANTON, OH 44718




IDENTICARD SYSTEMS INCORP.                 IDENTICARD SYSTEMS WORLDWIDE         IDENTICARD SYSTEMS
39597 TREASURY CENTER                      39597 TREASURY CTR                   39597 TREASURY CENTER
CHICAGOER, IL 60694-9500                   CHICAGO, IL 60694-9500               CHICAGO, IL 60694-9500




IDENTICARD SYSTEMS, INC.                   IDENTISEAL/KELLY DAWN SYSTEMS        IDENTISYS
39597 TREASURY CENTER                      906 WEST BURNING TREE DRI            P.O. BOX 1086
CHICAGO, IL 60694-9000                     KANSAS CITY, MO 64145                MINNETONKA, MN 55345-0086
IDENTISYS/DTC WORLDWIDECase 20-10766-BLS     Doc 6WORLDWIDE
                                     IDENTISYS/DTC   Filed 04/07/20   Page IDEXX
                                                                            855 of  1969
                                                                                 DISTRIBUTION INC.
P.O. BOX 1086                        P.O. BOX 1086                          P.O. BOX 101327
MINNETONKA, MN 55345-0006            MINNETONKA, MN 55345-0086              ATLANTA, GA 30392-1327




IDLEWILD COUNTRY CLUB                IDOCTOR, THE                           IDOL, DAVID
P.O. BOX 285                         209 W COMMERCIAL DR                    111 WEST GUNDLACH STREET
FLOSSMOOR, IL 60422                  STE E                                  APT B
                                     CARTERVILLE, IL 62918                  COLUMBIA, IL 62236




IDOWU, DEBORAH                       IDPH LTC-QA (LICENSURE)                IDPH
39370 CASTLEFORD LANE                525 W. JEFFERSON, FIFTH FLOOR          525 W JEFFERSON
WARDSWORTH, IL 60083                 SPRINGFIELD, IL 62761                  SPRINGFIELD, IL 62761




IDSTEIN, MARY E.                     IDVILLE                                IEHP AUDIT RECOVERY DEPARTMENT
1075 E VICTORY DR STE 215            5376 52ND ST SE                        P.O. BOX 1800
LINDENHURST, IL 60046                GRAND RAPIDS, MI 49512                 RANCHO CUCAMONGA, CA 91729




IEISHA, LACEY                        IEMA                                   IEMA
1219 N IZARD ST                      1035 OUTER PARK DR                     1035 OUTER PARK DRIVE
FORREST CITY, AR 72335               SPRINGFIELD, IL 62704                  SPRINGFIELD,, IL 62704




IEMA                                 IFFERT, HEATHER                        IG IGLOO HOLDINGS INC
2200 SOUTH DIRKSEN PKWY              15309 DIAMOND SPRINGS RD               INSIGHT GLOBAL LLC
SPRINGFIELD, IL 62703-0000           SANDOVAL, IL 62882                     P.O. BOX 198226
                                                                            ATLANTA, GA 30384-8226




IGA                                  IGI RESOURCES, INC.                    IGI RESOURCES, INC.
1550 HWY 15 SOUTH                    701 MORRISON-KNUDSEN DR                P.O. BOX 6488
JACKSON, KY 41339                    STE 300                                BOISE, ID 83707
                                     BOISE, ID 83712




IGLESIAS, ROLANDO                    IGNACIO, AERON                         IGNATIUS, REIKA Y.
2319 ALTA VISTA DR                   ADDRESS ON FILE                        ADDRESS ON FILE
WAUKEGAN, IL 60087




IHA HUMAN CAPITAL SERVICES INC       IHA                                    IHC HEALTH SERVICES INC
1151 EAST WARRENVILLE ROAD           37092 EAGLE WAY                        36 S STATE ST, STE 2100
NAPERVILLE, IL 60563                 CHICAGO, IL 60678-1370                 SALT LAKE CITY, UT 84111




IHC                                  IHRIG, CAITIE                          IKRAMI, LIBBY
P.O. BOX 30184                       1307 STATE HIGHWAY 518                 1793 MONROE ST
SALT LAKE CITY, UT 84130             SAPELLO, NM 87745                      GALESBURG, IL 61401
IL AMERICAN WATER        Case 20-10766-BLS     Doc
                                       IL CENTRAL    6 Filed 04/07/20
                                                  COLLEGE                Page IL856 of 1969
                                                                                 COLLEGE OF EMER PHYSICIANS
P.O. BOX 3027                          1 COLLEGE DRIVE                        3000 WOOD CREEK DRIVE
MILWAUKEE, WI 53201-3027               EAST PEORIA, IL 61611                  SUITE 200
                                                                              DOWNERS GROVE, IL 60515




IL CRITICAL ACCESS HOSP NETWRK        IL DEPT HEALTHCARE & FAMILY SERV        IL DEPT OF EMPLOYMENT SECURITY
1945 VANS WAY                         P.O. BOX 19101                          P.O. BOX 19299
PRINCETON, IL 61356                   SPRINGFIELD, IL 62793                   SPRINGFIELD, IL 62794-9300




IL DEPT OF FIN & PROF REGN            IL DEPT OF HEALTH                       IL DEPT OF HEALTHCARE & FAMILY
DIV OF PROFESSIONAL REGULATION        IL HLTH FAC & SVCS REVEIW BRD           SERVICES
320 WEST WASHINGTON ST 4TH FLOOR      525 W. JEFFERSON ST, 2ND FLR            HFS-01G COLLECTIONS UNIT
SPRINGFIELD, IL 62786                 SPRINGFIELD, IL 62761                   2200 CHURCHHILL RD A-1
                                                                              SPRINGFIELD, IL 62702



IL DEPT OF HEALTHCARE & FAMILY        IL DEPT OF HEALTHCARE SERVICES          IL DEPT OF HEALTHCARE SERVICES
SERVICES                              BUREAU OF COLLECTIONS TPL               BUREAU OF COLLECTIONS TPL
HFS-01G COLLECTIONS UNIT              P.O. BOX 19140                          P.O. BOX 19140
2200 CHURCHHILL RD A-1                SPRINGFIELD, IL 62794                   SPRINGFIELD, IL 62794-9140
SPRINGIELD, IL 62702



IL DEPT OF HFS                        IL DEPT OF HFS                          IL DEPT OF HFS
BUREAU OF COLLECTIONS                 TECH RECOVERY                           TECHNICAL RECOVERY
P.O. BOX 19120                        P.O. BOX 19174                          P.O. BOX 19174
SPRINGFIELD, IL 62794                 SPRINGFIELD, IL 62794                   SPRINGFIELD, IL 62794-9174




IL DEPT OF PUBLIC HEALTH              IL DEPT OF PUBLIC HEALTH                IL DEPT OF PUBLIC HEALTH
535 WEST JEFFERSON STREET             925 E RIDGELY AVE                       ATTN: VALIDATION UNIT
SPRINGFIELD, IL 62761                 SPRINGFIELD, IL 62702-2737              535 W JEFFERSON ST, 4TH FLR
                                                                              SPRINGFIELD, IL 62761




IL DEPT OF PUBLIC HEALTH              IL DEPT OF PUBLIC HEALTH                IL DEPT OF PUBLIC HEALTH
ATTN:VALIDATION CATEGORY 24           COOS-ATTN KAREN SENGER                  DIR OF ACCTNG: VALIDATION UNIT
P.O. BOX 4263                         525 W JEFFERSON ST, 4TH FLOOR           P.O. BOX 4268
SPRINGFIELD, IL 62708-4263            SPRINGFIELD, IL 62761                   SPRINGFIELD, IL 62708




IL DEPT OF PUBLIC HEALTH              IL DEPT OF PUBLIC HEALTH                IL DEPT OF PUBLIC HEALTH
DIVISION OF FOOD DRUG AND DAIRIES     P.O. BOX 4263                           PO BOX 4263
525 WEST JEFFERSON STREET             SPRINGFIELD, IL 62761                   SPRINGFIELD, IL 62761
SPRINGFIELD, IL 62761




IL DEPT OF PUBLIC HLTH                IL DEPT OF REVENUE                      IL DEPT OF REVENUE
CENTRAL OFFICE OPERATIONS             P.O. BOX 19035                          RETAILERS OCCUPATION TAX
525 W JEFFERSON 4TH FL                SPRINGFIELD, IL 62794-9035              SPRINGFIELD, IL 62776
SPRINGFIELD, IL 62761-0001




IL EMERGENCY MANAGEMENT AGENCY        IL EMERGENCY MANAGEMENT AGENCY          IL ENVIRONMENTAL PROTECTION
DIV NUCLEAR SAFETY                    DIV NUCLEAR SAFETY                      FISCAL SERVICES 2
1035 OUTER PARK DR                    1035 OUTER PARK DR                      P O BOX 19276
SPRINGFIELD, IL 62704                 SPRINGFIELD, IL 62704-4462              SPRINGFIELD, IL 62794-9276
                       Case 20-10766-BLS
IL ENVIRONMENTAL PROTECTION                  Doc
                                     IL HEALTH CARE6 ASSOCIATION
                                                       Filed 04/07/20       Page IL857 of 1969
                                                                                    HEALTH CARE ASSOCIATION
PO BOX 19276                         1029 SOUTH FOURTH STREET                    P.O. BOX 6248
SPRINGFIELD, IL 62794                SPRINGFIELD, IL 62703                       DECATUR, IL 62524-6248




IL HOSPITAL & HEALTHSYSTEMS           IL MEDICAID                                IL NOTARY DISCOUNT BONDING CO.
37092 EAGLE WAY                       ATTN:ADJUSTMENT UNIT                       NOTARY DIVISION
CHICAGO, IL 60678-1370                P.O. BOX 19101                             P.O. BOX 5853
                                      SPRINGFIELD, IL 62793                      PEORIA, IL 61601-9943




IL OFF OF STATE FIRE MARSHALL         IL OFFICE STATE FIRE MARSHALL              IL OFFICE STATE FIRE MARSHALL
CASHIER BOILERS                       CASHIER BOILERS                            PO BOX 3331
P.O. BOX 3331                         P.O. BOX 3331                              SPRINGFIELD, IL 62708-3331
SPRINGFIELD, IL 62708-3331            SPRINGFIELD, IL 62708-3331




IL RURAL HEALTH ASSOCIATION           IL STATE MEDICAL SOCIETY                   IL VETERANS HOME
9211 WATERFALL GLEN BLVD              20 N. MICHIGAN AVE                         792 N MAIN ST
DARIEN, IL 60561                      STE 700                                    ANNA, IL 62906
                                      CHICAGO, IL 60602




IL. ENVIRONMENTAL PROTECTION AGENCY   ILARDI, JAMES C.                           ILASENE, PETERS
1021 N GRAND AVE E                    510 S RUBY ST                              12049 W 33RD ST
P.O. BOX 19276                        DEMING, NM 88030                           ZION, IL 60099
SPRINGFIELD, IL 62794-9276




ILER STACY LYNN                       ILER, MORGAN                               ILIANA DE LOS REYES
70 DANIEL DR                          7339 SEYMOUR ST                            101 E MULBERRY ST
EUGENE, OR 97404-0000                 MASSILLON, OH 44646                        DEMING, NM 88030




ILIFF, SUSAN L.                       ILKANIC, PAIGE                             ILL DEPT OF PUBLIC HLTH
7000 SOUTH SERVICE RD I-20            4944 CLEARWATER DR                         P.O. BOX 4263
BIG SPRING, TX 79720                  NORTH CANTON, OH 44720-1010                ATTN VALIDATION CAT 24
                                                                                 SPRINGFIELD, IL 62708-4263




ILL DEPT PUBLIC HEALTH                ILL EMERGENCY MGMT AGENCY                  ILL ENV PROTECTION AGENCY
525 WEST JEFFERSON                    1035 OUTER PARK DRIVE                      P.O. BOX 19276
SPRINGFIELD, IL 62761                 SPRINGFIELD, IL 62704-4462                 SPRINGFIELD, IL 62794-9276




ILL PUBLIC RISK FUND                  ILL. DEP’T OF FINANCIAL AND                ILL. DEP’T OF FINANCIAL AND
ATTN PAUL BOECKER                     PROFESSIONAL REGULATION                    PROFESSIONAL REGULATION
3333 WARRENVILLCE ROAD, STE 550       DIVISION OF PROFESSIONAL REGULATION        DIVISION OF PROFESSIONAL REGULATION
LISLE, IL 60532-4552                  P.O. BOX 7007                              P.O. BOX 7086
                                      SPRINGFIELD, IL 62791                      SPRINGFIELD, IL 62791



ILLINICARE H P                        ILLINICARE HEALTH PLAN                     ILLINICARE HEALTH PLAN
P O BOX 4020                          ATTN MEDICAL REFUNDS                       ATTN MEDICAL REFUNDS
FARMINGTON, MO 63640-4402             999 OAKMONT PLAZA DR                       999 OAKMONT PLAZA
                                      WESTMONT, IL 60559                         WESTMONT, IL 60559
ILLINICARE HEALTH PLAN Case 20-10766-BLS     Doc
                                     ILLINICARE    6 PLAN
                                                HEALTH Filed 04/07/20        Page ILLINICARE
                                                                                   858 of 1969
                                                                                             HEALTH
P.O. BOX 4020                        P.O. BOX 4020                                75 REMITTANCE DR
FARMINGTON, MO 63640-0000            FARMINGTON, MO 63640-4402                    DEPT 6903
                                                                                  CHICAGO, IL 60675




ILLINICARE                             ILLINICARE                                 ILLINICARE
12515-8 RESEARCH                       999 OAKMONT PLAZA DR                       P.O. BOX 4020
SUITE 400                              WESTMONT, IL 60559                         FARMINGTON, MO 63640
AUTIN, TX 78759




ILLINIOS COMPTROLLER/VETERAN AFFAIRS   ILLINOIS AMERICAN WATER                    ILLINOIS AMERICAN WATER
1401 W DUGDALE RD                      1 WATER ST                                 P.O. BOX 6029
WAUKEGAN, IL 60085                     CAMDEN, NJ 08102                           CAROL STREAM, IL 60197




ILLINOIS BONE & JOINT LLC              ILLINOIS CENTRAL SCHOOL BUS                ILLINOIS CERTIFIED, LLC
350 S GREENLEAF, STE 405               78 N CHICAGO ST 2ND FLOOR                  3901 YUCAN DRIVE
GURNEE, IL 60031                       JOLIET, IL 60432                           SPRINGFIELD, IL 62711-0000




ILLINOIS COLLEGE OF EMERGENCY          ILLINOIS COMMUNICATION SALES               ILLINOIS COMPTROLLER
PHYSICIANS-ATT SUE MCDOUNOUGH          300 N OGDEN AVE                            325 W ADAMS
3000 WOODCREEK DR, STE 200             CHICAGO, IL 60607-1142                     SPRINGFIELD, IL 62704-1871
DOWNERS GROVE, IL 60515




ILLINOIS COMPTROLLER                   ILLINOIS COMPTROLLER                       ILLINOIS DEP’T OF HEALTHCARE AND
ATTN MEDICAL REFUNDS                   ATTN MEDICAL REFUNDS                       FAMILY SERVICES
325 W ADAMS                            325 W. ADAMS ST.                           PROVIDER PARTICIPATION UNIT
SPRINGFIELD, IL 62704-1871             SPRINGFIELD, IL 62704-1871                 P.O. BOX 19114
                                                                                  SPRINGFIELD, IL 62794



ILLINOIS DEPARTMENT OF FINANCIAL AND   ILLINOIS DEPARTMENT OF HEALTHCARE &        ILLINOIS DEPARTMENT OF HUMAN
PROFESSIONAL REGULATION, DIVISION OF   FAMILY SERVICES                            SERVICES
PROFESSIONAL REGULATION – STATE        ATTN: THERESA A. EAGLESON, DIRECTOR        100 S GRAND AVE EAST - 2ND FLR
BOARD OF PHARMACY                      2200 CHURCHILL ROAD                        OVERPAYMENT DEPARTMENT
320 W WASHINGTON, 3RD FL               SPRINGFIELD, IL 62702                      SPRINGFIELD, IL 62762-0002
SPRINGFIELD, IL 62786

ILLINOIS DEPARTMENT OF PUBLIC AID      ILLINOIS DEPARTMENT OF PUBLIC HEALTH       ILLINOIS DEPARTMENT OF PUBLIC HEALTH
P.O.BOX 19128                          525 W JEFFERSON ST                         525 WEST JEFFERSON ST
SPRINGFIELD, IL 62793-9128             4TH FLOOR                                  FOURTH FLOOR
                                       SPRINGFIELD, IL 62761-0001                 SPRINGFIELD, IL 62761-0000




ILLINOIS DEPARTMENT OF PUBLIC HEALTH   ILLINOIS DEPARTMENT OF PUBLIC HEALTH       ILLINOIS DEPARTMENT OF PUBLIC HEALTH
525-535 WEST JEFFERSON STREET          69 W. WASHINGTON STREET                    ATTN: KAREN SENGER
SPRINGFIELD, IL 62761                  35TH FLOOR                                 525 W JEFFERSON STREET, 4TH FLOOR
                                       CHICAGO, IL 60602                          SPRINGFIELD, IL 62761-0001




ILLINOIS DEPARTMENT OF PUBLIC HEALTH   ILLINOIS DEPARTMENT OF PUBLIC HEALTH       ILLINOIS DEPARTMENT OF PUBLIC HEALTH
CLIA CERTIFICATION PROGRAM             DIV OF FINANCIAL SERVICES                  P.O. BOX 4263 - CATEGORY 31
525 W. JEFFERSON ST., 4TH FLOOR        535 W JEFFERSON ST 4TH FLOOR               ATTN: LEAD SCREENING PAYMENTS
SPRINGFIELD, IL 62761                  SPRINGFIELD, IL 62761-0001                 SPRINGFIELD, IL 62708-4263
                          Case 20-10766-BLS
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                                                                                          1969     OF REVENUE
AUDIT-SPI-A                             P.O. BOX 19006                           P.O. BOX 19016
P.O. BOX 19475                          SPRINGFIELD, IL 62794-9006               SPRINGFIELD, IL 62794-9016
SPRINGFIELD, IL 62794-9475




ILLINOIS DEPARTMENT OF REVENUE          ILLINOIS DEPT OF HEALTHCARE & FAM        ILLINOIS DEPT OF HEALTHCARE AND
P.O. BOX 19447                          SVCS                                     FAMILY SERVICES
SPRINGFIELD, IL 62794-9447              P.O. BOX 19101                           STATE DISBURSEMENT UNIT
                                        SPRINGFIELD, IL 62793-9101               P.O. BOX 5400
                                                                                 CAROL STREAM, IL 60197-5400



ILLINOIS DEPT OF LABOR                  ILLINOIS DEPT OF LABOR                   ILLINOIS DEPT OF NATURAL RESOURCES
900 SOUTH SPRING STREET                 MICHAEL A. BILANDIC BLDG                 ONE NATURAL RESEOURCES WAY
SPRINGFIELD, IL 62704                   160 N. LA SALLE STREET                   SPRINGFIELD, IL 62702-1271
                                        C-1300
                                        CHICAGO, IL 60601



ILLINOIS DEPT OF PUBLIC AID             ILLINOIS DEPT OF PUBLIC HEALTH           ILLINOIS DEPT OF PUBLIC HEALTH
P.O. BOX 19105                          525-535 WEST JEFFERSON STREET            ATTN JONATHAN GUNN, JD, MICT
SPRINGFIELD, IL 62794                   SPRINGFIELD, IL 62761-0001               122 S MICHIGAN AVE
                                                                                 CHICAGO, IL 60603




ILLINOIS DEPT OF PUBLIC HEALTH          ILLINOIS DEPT OF REVENUE                 ILLINOIS DEPT OF REVENUE
ATTN: VALIDATION-CATEGORY 24            15 EXECUTIVE DR STE 2                    200 S WYMAN ST
P.O. BOX 4263                           FAIRVIEW HEIGHTS, IL 62208-1331          ROCKFORD, IL 61101
SPRINGFIELD, IL 62708-4263




ILLINOIS DEPT OF REVENUE                ILLINOIS DEPT OF REVENUE                 ILLINOIS DEPT OF REVENUE
2309 W MAIN ST STE 114                  JAMES R. THOMPSON CTR - CONCOURSE        MAINE N REGIONAL BLDG
MARION, IL 62959-1196                   LVL                                      9511 HARRISON AVE
                                        100 W RANDOLPH ST                        DES PLAINES, IL 60016-1563
                                        CHICAGO, IL 60601-3274



ILLINOIS DEPT OF REVENUE                ILLINOIS DEPT OF REVENUE                 ILLINOIS DEPT OF REVENUE
P.O. BOX 19035                          P.O. BOX 19035                           WILLARD ICE BLDG
SPRINGFIELD, IL 62794-9035              SPRINGFIELD, IL 62974-9035               101 W JEFFERSON ST.
                                                                                 SPRINGFIELD, IL 62702




ILLINOIS DEPT REVENUE                   ILLINOIS DEPT REVENUE/RETAILER           ILLINOIS DEPT. OF REVENUE
P.O. BOX 19035                          RETAILERS OCCUPATION TAX                 101 W. JEFFERSON STREET
SPRINGFIELD, IL 62794                   SPRINGFIELD, IL 62796-0001               SPRINGFIELD, IL 62702




ILLINOIS DEPTARMENT OF REVENUE          ILLINOIS DEPTARMENT OF REVENUE           ILLINOIS ELECTRIC WORKS, INC
ATTN: PATTIE WELLS AUDIT-SPI-A          ATTN: PATTIE WELLS AUDIT-SPI-A           2161 ADAMS
P.O. BOX 19475                          PO BOX 19475                             GRANITE CITY, IL 62040
SPRINGFIELD, IL 62794                   SPRINGFIELD, IL 62794




ILLINOIS EMERGENCY MANAGEMENT           ILLINOIS EMERGENCY MANAGEMENT            ILLINOIS EMERGENCY MGMT AGENCY
1035 OUTER PARK DRIVE                   DIV OF NUCLEAR SAFETY                    1035 OUTER PARK DR
SPRINGFIELD, IL 62704-4491              1035 OUTER PARK DRIVE                    SPRINGFIELD, IL 62704
                                        SPRINGFIELD, IL 62704-4491
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ILLINOIS ENT ASSOCIATES PC                      Doc 6 Filed PROTECTION
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                                                                                             1969        PROTECTION
9 GLEN ED PROFESSIONAL PK              P.O. BOX 19276                               P.O. BOX 19276
GLEN CARBON, IL 62034                  FISCAL SERVICES 2                            FISCAL SERVICES 2
                                       SPRINGFIELD, IL 62794-9276                   SPRINGFIRLD, IL 62794-9276




ILLINOIS FARMERS INS CO                ILLINOIS GUARDIANSHIP &                      ILLINOIS HARMONY
P O BOX 268993                         ADVOCACY COMMISSION                          ATTN: CLAIM REFUNDS
OKLAHOMA CITY, OK 73126                521 STRATTON BLDG                            P.O. BOX 8500-7296
                                       SPRINGFIELD, IL 62706                        PHILADELPHIA, PA 19178-7296




ILLINOIS HEALTH & HOSPITAL ASSOC       ILLINOIS HEALTH & HOSPITAL ASSOC.            ILLINOIS HEALTH AND FAMILY SERVICES
1151 E WARRENVILLE RD                  37092 EAGLE WAY                              P.O. BOX 19101
NAPERVILLE, IL 60563                   CHICAGO, IL 60678-1370                       SPRINGFIELD, IL 62794




ILLINOIS HEALTH FACILITIES PLANNING    ILLINOIS LENDING CORP                        ILLINOIS LIFE & HEALTH INS
BOARD                                  C/O COLLECTIONS DEPT                         GUARANTY ASSOCIATION
ATTN: MIKE CONSTANTINO                 724 W. WASHINGTON BLVD, 1ST FLR              1520 KENSINGTON RD SUITE 112
ILLINOIS DEPT OF PUBLIC HEALTH         CHICAGO, IL 60661                            OAK BROOK, IL 60523
525 WEST JEFFERSON ST, 2ND FLOOR
SPRINGFIELD, IL 62761-0001

ILLINOIS MATERIAL HANDLING             ILLINOIS MEDI CAR INC                        ILLINOIS MEDICAID
2588 SOLUTIONS CENTER                  P O BOX 1407                                 ADJUSTMENT UNIT
CHICAGO, IL 60677-2005                 ELMHURST, IL 60126                           P.O. BOX 19101
                                                                                    SPRINGFIELD, IL 62794




ILLINOIS MEDICAID                      ILLINOIS MEDICAID                            ILLINOIS MEDICAID
ATTN: ADJUSTMENT UNIT                  ATTN; ADJUSTMENT UNIT                        BUREAU OF COLLECTIONS TPL
P.O. BOX 19101                         P.O. BOX 19101                               P.O. BOX 19140
SPRINGFIELD, IL 62794                  SPRINGFIELD, IL 62794                        SPRINGFIELD, IL 62794-9140




ILLINOIS MEDICAID                      ILLINOIS MEDICAL SERVICES CORP               ILLINOIS MEDICARE
P.O. BOX 19132                         330 W CAMPUS DR                              P.O. BOX 8500-7296
SPRINGFIELD, IL 62794                  ARLINGTON HEIGHTS, IL 60004                  PHILADELPHIA, PA 19178




ILLINOIS OCCUPATIONAL SAFETY AND       ILLINOIS OFFICE OF STATE FIRE MARSHAL        ILLINOIS OFFICE OF STATE FIRE MARSHAL
HEALTH ADMINISTRATION                  P.O. BOX 3332                                PO BOX 3332
160 N. LASALLE ST., SUITE C-1300       CASHIER, ELEVATORS                           CASHIER, ELEVATORS
CHICAGO, IL 60601                      SPRINGFIELD, IL 62708-3332                   SPRINGFIELD, IL 62708-3332




ILLINOIS OFFICE OF THE ATTORNEY        ILLINOIS OFFICE OF THE ATTORNEY              ILLINOIS OFFICE OF THE ATTORNEY
GENERAL                                GENERAL                                      GENERAL
CARBONDALE                             CHICAGO                                      SPRINGFIELD
CONSUMER FRAUD BUREAU                  CONSUMER FRAUD BUREAU                        CONSUMER FRAUD BUREAU
601 S UNIVERSITY AVE                   100 W RANDOLPH ST                            500 S 2ND ST
CARBONDALE, IL 62901                   CHICAGO, IL 60601                            SPRINGFIELD, IL 62701

ILLINOIS OFFICE OF THE STATE FIRE      ILLINOIS OIL MARKETING EQUIPME               ILLINOIS PUBLIC RISK FUND
MARSHAL                                850 BRENKMAN DRIVE                           3333 WARRENVILLE RD STE 550
CASHIER,BOILERS                        PEKIN, IL 61554                              C/O CCMSI
P.O. BOX 3331                                                                       LISLE, IL 60532
SPRINGFIELD, IL 62708-3331
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ILLINOIS RENAL SERVICES LLC                     Doc 6 Filed
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2020 N BROAD ST                        3701 WINCHESTER ROAD                     501 S. SECOND STREET, ROOM 350
GALESBURG, IL 61401                    SPRINGFIELD, IL 62707-9700               SPRINGFIELD, IL 62756-5510




ILLINOIS SOCIETY OF HEALTHCARE RISK     ILLINOIS STATE MEDICAL SOCIETY          ILLINOIS STATE MEDICAL SOCIETY
11 OLT AVE                              EDUCATION/ACCREDITATION/L               SUITE 700
ISHMPR                                  20 N MICHIGAN AVE 700                   20 N MICHIGAN AVE
PEKIN, IL 61544                         CHICAGO, IL 60602                       CHICAGO, IL 60602-9957




ILLINOIS STATE MEDICAL SOCIETY          ILLINOIS STATE POLICE                   ILLINOIS STATE POLICE
SUITE 700, 20 N MICHIGAN AVE            260 NORTH CHICAGO STREET                3700 EAST LAKE SHORE DRIVE
CHICAGO, IL 60602-9957                  JOLIET, IL 60432                        INFO & TECH COMMAND
                                                                                SPRINGFIELD, IL 62712-8639




ILLINOIS STATE TREASURER                ILLINOIS STATE TREASURER                ILLINOIS STATE TREASURERS OFFICE
1 W. OLD STATE CAPITOL PLAZA            ILLINOIS STATE TREASURERS OFFICE        UNCLAIMED PROPERTY DIVISION
STE 400                                 UNCLAIMED PROPERTY DIVISION             1 WEST OLD STATE CAPITOL PLZ 400
SPRINGFIELD, IL 62701                   P.O. BOX 19496                          SPRINGFIELD, IL 62701
                                        SPRINGFIELD, IL 62794-9496



ILLINOIS STUDENT ASSISTANCE             ILLINOIS SW ORTHO LAND TRUST            ILLINOIS VFW PROGRAM
COMMISSION                              4802 S. STATE ROUTE 159                 PUBLICATION OFFICE
C/O TRANSWORLD SYSTEMS INC              GLEN CARBON, IL 62034                   3309 ROBBINS ROAD PMB 137
P.O. BOX 15109                                                                  SPRINGFIELD, IL 62704
WILMINGTON, DE 19850-5109



ILLINOIS-AMERICAN WATER                 ILLOVSKY, MICHAEL A                     ILLU, SETH
P.O. BOX 94551                          ADVANCED CARDIAC DIAGNOSTICS LLC        4572 S. EARLY DUKE ST.
PALATINE, IL 60094-4551                 P.O. BOX 814                            WEST VALLEY CITY, UT 84120
                                        ORANGE PARK, FL 32067-0814




IMAGE 360                               IMAGE CONNECTION LLC                    IMAGE FIRST N CHICAGO
1379 ST PAUL AVE                        7117 CROSSROADS BLVD                    P.O. BOX 61323
GURNEE, IL 60031                        BRENTWOOD, TN 37027                     KING OF PRUSSIA, PA 19406




IMAGE KING SIGNS                        IMAGES GIFT SHOP                        IMAGINATION BRANDING
4051 W. 1ST AVENUE                      P O BOX 201646                          230 GREAT CIRCLE ROAD
EUGENE, OR 97402                        CHICAGO, IL 60620                       SUITE 248
                                                                                NASHVILLE, TN 37228




IMAGINATION BRANDING                    IMAGINATION BRANDING                    IMAGINATION SPECIALTIES INC
623 OLD HICKORY BLVD                    623 OLD HICKORY BLVD.                   623 OLD HICKORY BLVD
OLD HICKORY, TN 37138                   OLD HICKORY, TN 37138                   OLD HICKORY, TN 37138




IMAGINATION SPECIALTIES, INC            IMAGING ONE LLC                         IMBLER, JENNIFER L.
DBA IMAGINATION BRANDING                856 TWIN HARBOR DRIVE                   89514 KNIGHT RD ELMIRA
230 GREAT CIRCLE RD, STE 248            ARNOLD, MD 21012                        P.O. BOX 355
NASHVILLE, TN 37228                                                             VENETA, OR 97487
IMEDCO AMERICA LTD           Case 20-10766-BLS
                                           IMEDICALDoc
                                                    INC 6       Filed 04/07/20   Page IMES,
                                                                                       862 JULIE
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1730 E PLEASANT ST                          1153 SE CENTURY DR                        508 E KEYS ST.
NOBLESVILLE, IN 46060                       LEES SUMMIT, MO 64081                     MARISSA, IL 62257




IMIG, STEVE                                 IML SECURITY SUPPLY INC                   IML SECURITY SUPPLY
11111 S KEEN AVE, UNIT 102                  P.O. BOX 65158                            P.O. BOX 65158
PALOS HILLS, IL 60465                       SALT LAKE CITY, UT 84165-5158             SALT LAKE CITY, UT 84165




IMLAY, SAMANTHA                             IMMACULATE CONCEPTION SCHOOL              IMMEL, TROY
ADDRESS ON FILE                             321 SOUTH METTER                          4820 MILLERSBURG RD C
                                            COLUMBIA, IL 62236                        WOOSTER, OH 44691




IMMETHUN, JOSEPH A.                         IMMIGRATION HEALTH SERV                   IMMING, SHANNON M.
318 W 3RD                                   P.O. BOX 149345                           ADDRESS ON FILE
WATERLOO, IL 62298                          AUSTIN, TX 79714-9345




IMMORMINO, BRENDA                           IMMUCOR INC                               IMMUCOR INC
16489 OLALEE RD                             P.O. BOX 102118                           P.O. BOX 102118
APPLE VALLEY, CA 92307                      ATLANTA, GA 30368                         ATLANTA, GA 30368-2118




IMMUCOR                                     IMMUCOR, INC                              IMMUCOR, INC
PO BOX 102118                               GAMMA BIOLOGICALS INC                     P O BOX 102118
ATLANTA, GA 30368                           P.O. BOX 102118                           ATLANTA, GA 30368-2118
                                            ATLANTA, GA 30368-2118




IMMUCOR, INC.                               IMMUNIZATION ACTION COALITION             IMPACT APPLICATIONS INC
3130 GATEWAY DRIVE                          2550 UNIVERSITY AVENUE WEST               P.O. BOX 83228
NORCROSS, GA 30071                          SUITE 415N                                CHICAGO, IL 60691
                                            ST PAUL, MN 55114-0000




IMPACT BASKETBALL                           IMPACT NETWORKING LLC                     IMPLANT RESOURCE DBA MEDICAL
300 PIGEON ROOST ROAD                       75 REMITTANCE DR SUITE 1076               PRODUCTS RESOURCE
PILGRIM, KY 41250                           CHICAGO, IL 60675-1076                    917 LONE OAK ROAD, SUITE 1000
                                                                                      EAGAN, MN 55121




IMPLANT RESOURCE, INC                       IMPLEMENTATION MANAGEMENT                 IMPRIMIS RX
917 LONE OAK ROAD                           ASSISTANCE INC                            1705 ROUTE 46, SUITE 6A
SUITE 1000                                  REVINT SOLUTIONS LLC                      LEDGEWOOD, NJ 07852
EAGANVILLE, MN 55121                        P.O. BOX 208272
                                            DALLAS, TX 75320-8272



IN 2 BONES USA LLC                          IN 2 BONES USA LLC                        IN ST COUNCIL OF ROOFERS
6000 POPLAR AVE SUITE 115                   6060 POPULAR AVE                          P.O. BOX 5789
MEMPHIS, TN 38119                           SUITE 380                                 ATTN HEALTH & WELFARE
                                            MEMPHIS, TN 38119                         LAFYETTE, IN 47903
IN10SITY INTERACTIVE, LLC Case 20-10766-BLS     Doc 6 Filed 04/07/20
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                                                                               863 STEWART
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14488 OLD STAGE ROAD                    P.O. BOX 637                          2190 SKYLAR LEIGH DRIVE
LENOIR CITY, TN 37772-5494              BLANDING, UT 84511                    BUFORD, GA 30518




INCHCLIFF TRACY L                     INCISIVE SURGICAL , INC.                INCISIVE SURGICAL INC
307 S CHERRY ST                       14405 21ST AVE N STE 130                VB BOX 164
WEST FRANKFORT, IL 62896              PLYMOUTH, MN 55447                      P.O. BOX 9202
                                                                              MINNEAPOLIS, MN 55478-9202




INCISIVE SURGICAL INC                 INCONTACT INC                           INCSTORES, LLC
VB BOX 164                            75 W TOWNE RIDGE PKWY, TWR 1            2045 S VINEYARD STE 118
P.O. BOX 9202                         SANDY, UT 84070                         MESA, AZ 85210
MINNEAPOLIS, MN 55480-9202




IND CO CABLE TV INC                   INDEED, INC                             INDEED, INC
P.O. BOX 3799                         MAIL CODE 5160                          P.O. BOX 660367
BATESVILLE, AR 72501                  P.O. BOX 660367                         MAIL CODE 5160
                                      DALLAS, TX 75266-0367                   DALLAS, TX 75266-0367




INDEMNITY INS CO OF NORTH             INDEPENDENCE AMERICAN INS CO            INDEPENDENCE ANESTHESIA SERVICES
P.O. BOX 2934                         ADMINISTERED BY THE LOOMIS CO           3722 ATLANTA HIGHWAY
CLINTON, IA 52733                     P.O. BOX 13668                          SUITE 1
                                      READING, PA 19612-3668                  ATHENS, GA 30606




INDEPENDENCE BLUE CROSS CLAIMS        INDEPENDENT CARE FAMILY CARE            INDEPENDENT IMAGING LLC
OVERPAYMENT                           PARTNERSHIP                             122 PINETREE DR
1901 MARKET ST                        P.O. BOX 660346                         MOOREVILLE, MS 38857
39TH FLR                              DALLAS, TX 75266-0346
PHILADELPHIA, PA 19103-1480



INDEPENDENT MEDICAL ASSOCIATES        INDEPENDENT RADIOLOGY ASSOCIATES        INDIA ASSOCIATION OF
7301-124TH AVE                        PLC                                     SOUTHERN ILLINOIS
LARGO, FL 33773                       305 WEST COURT                          1130 DEER RIDGE PLACE
                                      DYERSBURG, TN 38024                     CARBONDALE, IL 62901-0000




INDIANA DEPARTMENT OF REVENUE         INDIANA DEPARTMENT OF REVENUE           INDIANA PATHOLOGY IMAGES LLC
100 N SENATE AVE                      UNCLAIMED PROPERTY DIVISION             2106 BECHTEL RD
INDIANAPOLIS, IN 46204                35 SOUTH PARK BLVD                      INDIANAPOLIS, IN 46260
                                      GREENWOOD, IN 46143




INDIANA REGIONAL MEDICAL CENTER       INDIANA STATE COUNCIL OF ROOFERS H&W    INDIVIDUAL ASSURANCE CO
835 HOSPITAL ROAD                     P.O. BOX 5769                           P.O. BOX 3270
INDIANA, PA 15701                     LAFAYETTE, IN 47903-5769                SALT LAKE CITY, UT 84110-3270




INDIVIDUAL ASSURANCE CO               INDIVIDUAL ASSURANCE COMP               INDIVIDUAL ASSURANCE COMPANY
P.O. BOX 3270                         P.O. BOX 30685                          ATTN: REFUND DEPARTMENT
SLC, UT 84110-3270                    EDMOND, OK 73003                        P.O. BOX 30685
                                                                              EDMOND, OK 73003
                       Case 20-10766-BLS
INDIVIDUAL ASSURANCE COMPANY                 Doc
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                                                          COMPANY         Page INDIVIDUAL
                                                                                864 of 1969
                                                                                          ASSURANCE
ATTN: REFUND DEPARTMENT              P.O. BOX 14533                            P.O. BOX 30685
P.O. BOX 30685                       OKLAHOMA CITY, OK 73113                   EDMOND, OK 73003-0012
EDMOND, OK 73003-0012




INDOFF OFFICE INTERIORS               INDOFF, INC                              INDOFF, INC
P.O. BOX 842808                       11816 LACKLAND RD.                       P.O. BOX 842808
KANSAS CITY, MO 64184-2808            ST. LOUIS, MO 63146                      KANSAS CITY, MO 64084-2808




INDOFF, INC                           INDOFF, INC                              INDOFF, INC
P.O. BOX 842808                       P.O. BOX 842808                          PO BOX 842808
KANSAS CITY, MO 64184-2808            KANSAS, MO 64184-2808                    KANSAS CITY, MO 64184-2808




INDOFF, INC                           INDOFF, INC.(BP DIV.)                    INDOOR AIR QUALITY SERVICE
POB 842808                            P O BOX 842808                           305 DALE DR
KANSAS CITY, MO 64184-2808            KANSAS CITY, MO 64184-2808               JACKSONVILLE, NC 28540




INDORF, JOHN M.                       INDRAWATTIE, DANRAJ                      INDUSTRIAL FIRE & SAFETY
316 23RD ST NW                        986 YANCEY CT                            P.O. BOX 23521
MASSILLON, OH 44647-0000              LOGANVILLE, GA 30052                     EUGENE, OR 97402




INDUSTRIAL SOLUTIONS OF ARK           INEX SURGICAL INC                        INEZ MOORE
P.O. BOX 242627                       5731 W HOWARD ST                         1311 WEST 123RD ST
LITTLE ROCK, AR 72223                 NILES, IL 60714                          CALUMET PARK, IL 60827




INFANTE, STEPHANIE O.                 INFINITE SOFTWARE SOLUTIONS, INC.        INFINITE SOFTWARE SOLUTIONS, INC.
14947 MOORINGS LANE                   MD-REPORTS                               MD-REPORTS
OAK FOREST, IL 60452                  1110 S AVENUE STE 303                    1110 S AVENUE STE 303
                                      STATEN ISLAND, NY 10314                  STATEN ISLAND, NY 10314-0000




INFINITY PHYSICIAN RESOURCES LLC      INFINITY PHYSICIAN RESOURCES             INFLATABLE FUN
751 HEBRON PKWY                       751 HEBRON PKWY STE 200                  P O BOX 211
STE 200                               LEWISVILLE, TX 75057                     HERRIN, IL 62948
LEWISVILLE, TX 75057




INFLATABLE FUN                        INFLUENCE HEALTH INC                     INFOARMOR INC
P.O.BOX 211                           75 REMITTANCE DR                         DEPT 3189
HERRIN, IL 62948                      DEPT 6551                                P.O. BOX 123189
                                      CHICAGO, IL 60675-6551                   DALLAS, TX 75312-3189




INFORAD, INC.                         INFORMATION NETWORK OF ARKANSAS          INFRONT MEDICAL, LLC
635 EAST 185TH STREET                 P O BOX 504695                           1033 ROUTE 46 EAST, SUITE A202
CLEVELAND, OH 44119                   ST LOUIS, MO 63150-4695                  CLIFTON, NJ 07013
INFUSION KNOWLEDGE INC Case 20-10766-BLS
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                                              SOLUTIONS       04/07/20
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                                                                                 865 of 1969
                                                                                           INC
P.O. BOX 8649                        200 MALL ROAD                              P.O. BOX 206547
CLEARWATER, FL 33758                 ASHLAND, KY 41101-7377                     DALLAS, TX 75320-6547




ING, MICHELLE                          INGALLS & SNYDER, LLC (0124)             INGALLS MEMORIAL HOSPITAL
9413 BAXTER RD                         ATTN JOSEPH DI BUONO OR PROXY MGR        ONE INGALLS DRIVE
BENTON, IL 62812-6144                  1325 AVENUE OF THE AMERICAS              HARVEY, IL 60426
                                       18TH FLOOR
                                       NEW YORK, NY 10019



INGEBRETSON-WOLOWICZ, MELINDA          INGENIX PUBLISHING                       INGLE LISA B
ADDRESS ON FILE                        P.O. BOX 88050                           1311 COLLIER CIRCLE
                                       CHICAGO, IL 60680-1050                   RAINSVILLE, AL 35986-6828




INGLE, JERRAL                          INGLE, LISA R.                           INGLE, LISA R.
2320 PACK ROAD                         1027 PHILLIPS 256 RD                     ADDRESS ON FILE
FORT PAYNE, AL 35968                   LEXA, AR 72355




INGLE, TONYA N.                        INGLES, ALTHEA                           INGLIS DREW, TAMMY L.
19235 TONKAWAN RD                      789 CUMNOCK ROAD                         1859 RAMBLING DRIVE
APPLE VALLEY, CA 92307                 OLYMPIA FIELDS, IL 60461                 SPRINGFIELD, OR 97477




INGRAHAM, CHRISTOPHER J.               INGRAM MARILYN J                         INGRAM MICRO FLEX PYMT SOL
35 CIRCLE DRIVE NE                     110 OSTERHAGE DRIVE                      3351 MICHELSON DR, STE 100
FORT PAYNE, AL 35967-7867              WATERLOO, IL 62298                       IRVINE, CA 92612




INGRAM MICRO FLEX PYMT SOL             INGRAM, CEDRICK                          INGRAM, EILEEN
P.O. BOX 609                           ADDRESS ON FILE                          549 KINGS RIDGE ROAD
CEDAR RIPIDS, IA 52406                                                          JACKSON, KY 41339




INGRAM, KELLY J.                       INGRAM, KENDRA A.                        INGRAM, LACEY
ADDRESS ON FILE                        526 WEST MAPLE ST                        107 COUNTY ROAD 63
                                       ONEIDA, IL 61467                         MINTER, AL 36761




INGRAM, PATRICIA A.                    INGRAM, SUZETTE                          INGRAM, TARA
255 CO RD 218                          1405 14TH STREET                         1693 RIVEREDGE WALK
RAINSVILLE, AL 35986                   NORTH CHICAGO, IL 60064                  LOGANVILLE, GA 30052




INGRAM, THELMA                         INHEALTH TECHNOLOGIES                    INHEALTH TECHNOLOGIES
10729 S HALE AVE                       1110 MARK AVENUE                         1110 MARK AVENUE
CHICAGO, IL 60643                      CARPINTERIA, CA 93013                    CARPINTERIA, CA 93013-2918
INHEALTH TECHNOLOGIES Case 20-10766-BLS
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                                                                             866 of MEDICAL
                                                                                    1969 EQUIPMENT SUPPLIES
FREUDENBERG MEDICAL, LLC            730 39TH ST SW                          AND SERVICES, INC.
23686 NETWORK PLACE                 CANTON, OH 44706-4819                   208 SOUTH LASALLE STREET
CHICAGO, IL 60673-1236                                                      SUITE 814
                                                                            CHICAGO, IL 60604



INION, INC.                         INJOY PRODUCTIONS                       INJURY MANAGEMENT ORGANIZATION, INC.
2800 GLADAS CIRCLE SUITE 138        7107 LA VISTA PLACE                     P.O. BOX 260287
WESTON, FL 33327                    LONGMONT, CO 80503                      PLANO, TX 75026




INK SPOT INC, THE                   INKN TEES INC                           INKS, JUDY
3433 HAMPTON AVE                    2901 NORTH DELANY AVE                   1453 KRACKER ST NW
ST. LOUIS, MO 63139                 UNIT 105                                MASSILLON, OH 44646
                                    WAUKEGAN, IL 60087




INLAND COUNTIES EMERGENCY MEDICAL   INLAND DESERT SECURITY AND              INLAND FACULTY MEDICAL GROUP
AGENCY                              COMMUNICATIONS                          1860 COLORADO BLVD STE200
1425 SOUTH D. STREET                P.O. BOX 830                            LOS ANGELES, CA 90041
SAN BERNARDINO, CA 92415            RIALTO, CA 92377




INLINE GROUP LLC, THE               INLINE REFERRAL NETWORK                 INMAN JAN D
530 E CORPORATE DR STE 100          511 EAST JOHN CARPENTER FWY             925 BLUEBERRY HILL ROAD
LEWISVILLE, TX 75057                SUITE 500                               COBDEN, IL 62920
                                    IRVING, TX 75062




INMAN, EARL P.                      INMAN, HENRIETTA                        INMAN, KELLY
204 S BREIDECKER STREET             57 TAHOE DRIVE                          412 RABBIT RUN
COLUMBIA, IL 62236                  NEWNAN, GA 30263                        GOOD HOPE, GA 30641




INMAN, KENDAL D.                    INMAN, KIMBERLY                         INMAN, TIMOTHY
132 CRISFIELD DR                    90 LOCUST GROVE LANE                    54 BRANDYS WAY
GRAYSLAKE, IL 60030                 ANNA, IL 62906                          MURPHY, NC 28906




INMON, RENA                         INN0VATUS IMAGING CORP                  INNER BANKS FAMILY MEDICINE PLLC
4845-B WASHINGTON ST W              575 EPSILON DRIVE                       543 US HWY 64 W
CHARLESTON, WV 25313                PITTSBURG, PA 15238                     PLYMOUTH, NC 27962




INNER BANKS LEASING LLC             INNERFACE ARCHITECTURAL SIGNAGE, INC    INNERFACE ARCHITECTURAL SIGNAGE, INC.
71 BREEZY BANKS ROAD                5849 PEACHTREE RD STE 100               5849 PEACHTREE ROAD
ROPER, NC 27970                     ATLANTA, GA 30341                       ATLANTA, GA 30341




INNESS, EILEEN                      INNESS, MARY E.                         INNIS, TIMOTHY M.
19 PARK LANE DR                     ADDRESS ON FILE                         4009 BRIGADOON DR
GALESBURG, IL 61401                                                         ZION, IL 60099
INNOMED INC                Case 20-10766-BLS
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                                                 INC 6     Filed 04/07/20      Page INNOMED,
                                                                                     867 of 1969
                                                                                             INC
103 ESTUS DRIVE                           P.O. BOX 116888                           PO BOX 116888
SAVANNAH, GA 31404                        ATLANTA, GA 30368-6888                    ATLANTA, GA 30368-6888




INNOVASIS INC                             INNOVATIVE EMPLOYEE SOLUTIONS, INC        INNOVATIVE FUNDING PARTNERS, LLC
614 E 3900S                               9665 GRANITE RIDGE DR. 420                113 BLUFFS CIRCLE
SALT LAKE CITY, UT 84107                  SAN DIEGO, CA 92123                       WILLAMSBURG, VA 23185




INNOVATIVE MED PROD INC                   INNOVATIVE MEDICAL DEVICES INC            INNOVATIVE MEDICAL PRODUCTS
87 SPRING LANE                            P.O. BOX 686305                           P.O. BOX 8028
PLAINVILLE, CT 06062                      CHICAGO, IL 60695-6305                    PLAINVILLE, CT 06062




INNOVATIVE ONCOLOGY SOLUTIONS, INC        INNOVATIVE PHUSICIAN ASSOC                INNOVATIVE PHYSICIAN ASSOC
2156 JOHNSON ROAD                         4415 W HARRISON STREET                    P.O. BOX 7850
GREMANTOWN, TN 38139                      HILLSIDE, IL 60162                        WESTCHESTER, IL 60154-7850




INNS, JEFFREY                             INO THERAPEUTICS LLC                      INPRO CORP
184 GRANT RD                              P.O. BOX 3790                             P.O. BOX 406
ELYSBURG, PA 17824                        CAROL STREAM, IL 60132-3790               MUSKAGO, WI 53150




INPRO CORP                                INPRO CORP                                INPRO CORP
P.O. BOX 406                              P.O. BOX 720                              P.O. BOX 720
MUSKEGO, WI 53150                         MUSKEGO, WI 53150                         MUSKEGOEE, WI 53150




INPRO CORPORATION                         INQUICKER, LLC                            INRAD, INC.
PO BOX 720                                631 SECOND AVENUE, SOUTH 100              4375 DONKER COURT SE
MUSKEGO, WI 53150                         P.O. BOX 40347                            KENTWOOD, MI 49512
                                          NASHVILLE, TN 37204




INS, ERIE                                 INSIDE ECHO, LLC                          INSIDE THE JOINT COMMISSION
P.O. BOX 13002                            809 COLBY DRIVE                           P.O. BOX 9405
ERIE, PA 16514                            MANSFIELD, TX 76063                       GAITHERSBURG, MD 20897-9824




INSIGHT DIRECT USA INC                    INSIGHT DIRECT USA INC                    INSIGHT DIRECT USA, INC
GLOBAL HEADQUARTERS                       P.O. BOX 731069                           P.O. BOX 731069
6820 SOUTH HARL AVE                       DALLAS, TX 75373-1069                     DALLAS, TX 75373-1069
TEMPE, AZ 85283




INSIGHT DIRECT USA, INC                   INSIGHT DIRECT USA, INC.                  INSIGHT INSTRUMENTS INC
PO BOX 731069                             KEN LAGLYNIS BRYANMNECK                   562 NW MERCANTILE PLACE SUITE 104
DALLAS, TX 75373                          CHIEF FINANCIAL OFFICER                   PORT SAINT LUCIE, FL 34986
                                          6820 S. HARL AVE
                                          TEMPE, AZ 85283
INSIGHT MGMT SYSTEMS INCCase 20-10766-BLS
                                      INSIGHT Doc 6     Filed 04/07/20   Page INSPIRATIONS
                                                                               868 of 1969 FLOWERS & GIFTS
17337 VENTURA BLVD STE 307            5539 PAYSPHERE CIRCLE                   1410 SCURRY ST
ENCINO, CA 91316                      CHICAGO, IL 60674                       BIG SPRING, TX 79720




INSTALLERS PLUS, INC.                  INSTAMED                               INSTOCK FLOORING
251 PRICE ROAD                         1880 JOHN F KENNEDY BLVD               2759 S HIGHWAY 89
BUILDING U                             12TH FLR    ATTN: REFUNDS              WELLSVILLE, UT 84339
LEXINGTON, KY 40511                    PHILADELPHIA, PA 19103-0000




INSTRUMENT SPECIALISTS, INC            INSTRUMENTATION LABORATORY CO          INSURANCE COMPANY, THE
32390 IH 10 W                          WERFEN USA LLC                         10451 GULF BOULEVARD
BOERNE, TX 78006                       P.O. BOX 347934                        TREASURE ISLAND, FL 33706
                                       PITTSBURGH, PA 15251-4934




INSURANCE PROGRAM MGRS GRP             INT. NEURO MEDICAL                     INTEGRA LIFE SCIENCES CORP
C/O EE BENEFITS SRVC                   P.O. BOX 171963                        P.O. BOX 404129
225 SMITH RD                           ARLINGTON, TX 76016                    ATLANTA, GA 30384
ST CHARLES, IL 60174




INTEGRA LIFE SCIENCES CORP             INTEGRA LIFE SCIENCES SALES LLC        INTEGRA LIFESCIENCES CORP
P.O. BOX 404129                        P.O. BOX 404129                        311 ENTERPRISE DR
ATLANTA, GA 30384-4129                 ATLANTA, GA 30384-4129                 PLAINSBORO, NJ 08536




INTEGRA LIFESCIENCES CORP              INTEGRA LIFESCIENCES SALES LLC         INTEGRA
POB 404129                             INTEGRA LIFESCIENCE                    PO BOX 404129
ATLANTA,                               P.O. BOX 404129                        ATLANTA, GA 30384
ATLANTA, GA 30384-4129                 ATLANTA, GA 30384-4129




INTEGRATED BEHAVIORAL HEALTH           INTEGRATED COMMERCIALIZATION           INTEGRATED HEALTH OF SO IL
600 SUN TEMPLE DRIVE                   SOLUTIONS LLC                          303 SOUTH-COMMERCIAL ST
MADISON, AL 35758                      DBA PARAGARD DIRECT                    SUITE 10
                                       12601 COLLECTIONS CTR DR               HARRISBURG, IL 62946
                                       CHICAGO, IL 60693



INTEGRATED LLC                         INTEGRATED MEDICAL SYSTEMS INC         INTEGRATED MEDICAL SYSTEMS INC
335 BELLVUE ST                         P O BOX 2725                           P.O. BOX 2725
JACKSON, TN 38301                      COLUMBUS, GA 31902-2725                COLUMBUS, GA 31902-2725




INTEGRATED MEDICAL SYSTEMS, INC        INTEGRATIVE SPINE CARE LLC             INTEGRITAS EMERGENCY PHYSICIAN
3316 2ND AVENUE NORTH                  364 LAKE INDIAN HILLS CIRCLE           SERVICES LLC 0133 1360
BIRMINGHAM, AL 35222                   CARBONDALE, IL 62902                   2250 N. ILLINOIS AVE
                                                                              CARBONDALE, IL 62901




INTEGRITAS EMERGENCY PHYSICIAN         INTEGRITY FITNESS SERV LLC             INTEGRITY FITNESS
SERVICES LLC                           P.O. BOX 1268                          16704 ADVANTAGE AVE
2250 N. ILLINOIS AVE                   OFALLON, MO 63366                      CREST HILL, IL 60403
CARBONDALE, IL 62901
                       Case 20-10766-BLS
INTEGRITY MECHANICAL SOLUTIONS LLC           Doc
                                     INTEGRITY    6 Filed 04/07/20
                                               RECRUITERS                  Page INTEGRITY
                                                                                 869 of 1969
                                                                                          REHAB MANGMT,LLC/N15
6694 FLETCHER CREEK COVE             5348 VEGAS DR 1073                         233 HAMILTON SQUARE
MEMPHIS, TN 38133                    LAS VEGAS, NV 89108-2347                   HAMILTON, GA 31811




INTEGRITY STRUCTURES                 INTEGRIUS LLC                              INTELLIGENT BUSINESS SOLUTIONS, INC
P.O. BOX 487                         P.O. BOX 6890                              301 SOUTH LIBERTY STREET
ASHDOWN, AR 71822                    EVANSVILLE, IN 47712                       WINSTON-SALEM, NY 27101




INTELLIGENT PLACEMENT SOL            INTELLIGENT POWER SOLUTIONS                INTERACTIVATION HEALTH NETWORKS,LLC
2311A LUMINA AVENUE NORTH            741 N. MAIN ST                             P.O. BOX 530019
WRIGHTSVILLE BEACH, NC 28480         ORANGE, CA 92868-0000                      ATLANTA, GA 30353-0019




INTERACTIVE BROKERS (0534)           INTERACTIVE BUILDING SOLUTIONS, LLC        INTERCOMM HEALTH PLAN OHP
ATTN KARIN MCCARTHY OR PROXY DEPT.   P.O. BOX 186                               P.O. BOX 887
2 PICKWICK PLAZA, 2ND FLOOR          NEW LENOX, IL 60451                        CORVALLIS, OR 97339
GREENWICH, CT 06830




INTERFACE PEOPLE LP                  INTERFACE SECURITY SYSTEMS                 INTERIM PHYSICIANS LLC
2274 ROCKBROOK DRIVE                 CUST IDC037968                             P.O. BOX 679139
LEWISVILLE, TX 75067-3894            8339 SOLUTIONS CENTER                      DALLAS, TX 75267
                                     CHICAGO, IL 60677-8003




INTERIOR DESIGN SERVICES, INC        INTERIOR INVESTMENTS, LLC                  INTERLIGHT
P.O. BOX 116112                      550 BOND ST                                7939 NEW JERSEY AVE
ATLANTA, GA 30368-3112               LINCOLNSHIRE, IL 60069                     HAMMOND, IN 46323




INTERLIGHT                           INTERLINE BRANDS INC                       INTERMED RESOURCES TN IMR
7939 NEW JERSEY AVE                  SUPPLYWORKS                                DEPT CH 19528
HAMMOND, IN 46323-3040               P.O. BOX 742440                            PALATINE, IL 60055-9528
                                     LOS ANGELES, CA 90074-2440




INTERMEDIX CORPORATION               INTERMOUNTAIN HEALTH CARE INC              INTERMOUNTAIN HEALTHCARE
6451 N. FEDERAL HIGHWAY              36 S STATE ST, STE 2100                    MISC AR
SUITE 100                            SALT LAKE CITY, UT 84111                   P.O. BOX 57703
FORT LAUDERDALE, FL 33308                                                       MURRAY, UT 84157-0703




INTERMOUNTAIN PUBLISHING CO          INTERMOUNTAIN SERVICE SOL                  INTERMTN LOCK & SECURITY
P.O. BOX 999                         P.O. BOX 65393                             P.O. BOX 65158
JACKSON, KY 41339                    SALT LAKE CITY, UT 84165                   SALT LAKE CITY, UT 84165-0158




INTERNAL REVENUE SERVICE LOCAL       INTERNAL REVENUE SERVICE LOCAL             INTERNAL REVENUE SERVICE LOCAL
OFFICE                               OFFICE                                     OFFICE
21309 BERLIN RD UNIT 13              600 ARCH STREET                            611 S. DUPONT HWY
GEORGETOWN, DE 19947                 PHILADELPHIA, PA 19106                     DOVER, DE 19904
                       Case
INTERNAL REVENUE SERVICE     20-10766-BLS
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                                      INTERNAL     6 Filed
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                                                        SERVICE  MO       Page INTERNAL
                                                                                870 of 1969
                                                                                        REVENUE SERVICE MO
OFFICE                                DEPARTMENT OF THE TREASURY               P.O. BOX 219690
844 KING ST                           KANSAS CITY, MO 64999-0006               KANSAS CITY, MO 64121-9690
WILMINGTON, DE 19801




INTERNAL REVENUE SERVICE OH            INTERNAL REVENUE SERVICE OH             INTERNAL REVENUE SERVICE OH
DEPARTMENT OF TREASURY                 DEPARTMENT OF TREASURY                  DEPARTMENT OF TREASURY
CINCINNATI, OH 40999-0005              CINCINNATI, OH 45999-0039               CINCINNATI, OH 45999-0046




INTERNAL REVENUE SERVICE OH            INTERNAL REVENUE SERVICE UT             INTERNAL REVENUE SERVICE UT
P.O. BOX 804521                        DEPARTMENT OF TREASURY                  DEPARTMENT OF TREASURY
CINCINNATI, OH 45280                   OGDEN, UT 84201-0039                    OGDEN, UT 84201-0102




INTERNAL REVENUE SERVICE               INTERNAL REVENUE SERVICE                INTERNAL REVENUE SERVICE
2945 RODEO PARK DR E                   ATTN: PR DEDUCTION AGMT                 AUSTIN, TX 73301-0102
SANTA FE, NM 87505-6312                P O BOX 24017
                                       FRESNO, CA 93779




INTERNAL REVENUE SERVICE               INTERNATIONAL BUSINESS MACHINES         INTERNATIONAL BUSINESS MACHINES
CENTRALIZED INSOLVENCY OPERATION       CORPORATION                             CORPORATION
P.O. BOX 7346                          P.O. BOX 534151                         P.O. BOX 676673
PHILADELPHIA, PA 19101-7346            ATLANTA, GA 30353-4151                  DALLAS, TX 75267-6673




INTERNATIONAL MEDICAL PLACEMNT         INTERNATIONAL MICRO DESIGN INC          INTERNATIONAL TECHNIDYNE
100 SYLVAN PARKWAY STE 300             HEALTH FINANCIAL SYSTEMS                P.O. BOX 674441
AMHERST, NY 14228                      8109 LAGUNA BLVD                        CORPORATION
                                       ELK GROVE, CA 95758                     DETROIT, MI 48267-4441




INTERNATIONAL TEST & BALANCE INC       INTERNATIONAL                           INTERNET CENTRICS
2100 SANDERS RD SUITE 300              BOX P                                   P.O. BOX 8122
NORTHBROOK, IL 60062                   MARFA, TX 79843                         LA VERNE, CA 91750




INTERNET NETWORK                       INTERREL CONSULTING PARTNERS LTD        INTERSECT ENT
P.O. BOX 957149                        1000 BALLPARK WAY                       1555 ADMAS DRIVE
DULUTH, GA 30095-7269                  STE 304                                 MENLO PARK, CA 94025
                                       ARLINGTON, TX 76011-5169




INTERSECT ENT                          INTERSECT ENT                           INTERSECT ENT
1555 ADAMS DRIVE                       1555 ADAMS DRIVE                        1555 ADANS DRIVE
MENIO PARK, CA 94025                   MENLO PARK, CA 94025                    MENLO PARK, CA 94025




INTERSECT ENT                          INTERSOCIETAL ACCREDITATION             INTERSOCIETAL ACCREDITATION
1555 ADANS DRIVE                       COMMISSION                              COMMISSION
MENLO PARK, CA 94025-0000              6021 UNIVERSITY BLVD                    ATTN: ERIN RIGGLEMAN
                                       SUITE 500                               6021 UNIVERSITY BOULEVARD, SUITE 500
                                       ELLICOTT CITY, MO 21043                 ELLICOTT CITY, MD 21043
                        Case 20-10766-BLS
INTERSOCIETAL ACCREDITATION                   DocALL
                                      INTERSTATE    6 BATTERY
                                                        Filed CENTER
                                                              04/07/20   Page INTERSTATE
                                                                               871 of 1969
                                                                                         BATTERIES
COMMISSION                            RETAIL ACQUISITION/DEVELOPMNT           510 WEST JAYCEE AVE
ATTN: ERIN RIGGLEMAN                  4301 121ST ST                           EFFINGHAM, IL 62401
6021 UNIVERSITY BOULEVARD, SUITE 500  URBANDALE, IA 50323
ELLICOTT CITY, MO 21043



INTERSTATE BATTERY SYSTEM OF           INTERSTATE BATTERY SYSTEMS             INTERSTATE ELECTRONICS COMPANY
CENTRAL OREGON                         4530 N BRANDYWINE DR                   600 JOLIET ROAD
P.O. BOX 2483                          PEORIA, IL 61614                       WILLOWBROOK, IL 60527
EUGENE, OR 97402




INTERSTATE ENVIRONMENTAL SERVICES      INTERSTATE FIRE & SEC SY               INTERSTATE IMAGING
INC                                    3271 BRUENING CIR SW                   P.O. BOX 144
P.O. BOX 1915                          CANTON, OH 44706                       810 NORTH FARES AVENUE
GLASGOW, KY 42142                                                             EVANSVILLE, IN 47701




INTERSTATE WELDING                     INTERSTATE WELDING, INC/30             INTERTEK PSI
POB 1112                               POB 1112                               8669 OLIVE BLVD
MURPHY, NC 28906                       MURPHY, NC 28906                       ST LOUIS, MO 63132




INTERVENTIONAL SPINE & PAIN            INTERWEST INTERPRETING                 INTL BUSINESS MACHINES CORP
MANAGEMENTS                            779 NORTH 1180 EAST                    P.O. BOX 643600
5801 S FASHION BLVD                    OREM, UT 84097                         PITTSBURGH, PA 15264-3600
SUITE 180
MURRAY, UT 84107



INTOUCH HEALTH                         INTOXIMETERS, INC.                     INTRADO CORP
7402 HOLLISTER AVENUE                  P.O. BOX 870836                        11808 MIRACLE HILLS DR
GOLETA, CA 93117                       KANSAS CITY, MO 64187-0836             OMAHA, NE 68154




INTRADO DIGITAL MEDIA LLC              INTRANERVE, LLC                        INTRAVAIA, MIKE
P.O. BOX 74007143                      24 S. WEBER STREET                     625 TATUM LANE
CHICAGO, IL 60674-7143                 SUITE 200                              HERRIN, IL 62948
                                       COLORADO SPRINGS, CO 80903




INTRINSIQ SOFTWARE                     INTUITIVE SURGICAL INC                 INTUITIVE SURGICAL INC
33081 COLLECTION CENTER DR             1020 KIFER RD                          DEPT 33629 P.O. BOX 39000
CHICAGO, IL 60693                      SUNNYVALE, CA 94086                    ATTN. A/R
                                                                              SAN FRANCISCO, CA 94139




INTUITIVE SURGICAL INC.                INTUITIVE SURGICAL, INC                INVESTMENT REALTY ADVISORS
RYAN CAROLSON                          DEPT 33629                             869 EAST 4500 SOUTH PMB224
NATIONAL KEY CUSTOMER DIRECTOR         P.O. BOX 39000                         SALT LAKE CITY, UT 84107-3049
1020 KIFER ROAD                        SAN FRANCISCO, CA 94139
SUNNYVALE, CA 94086



INVIVO CORPORATION                     INVOCATIS, INC                         INVOCATIS, LLC
P.O. BOX 100355                        P O BOX 11143                          P.O. BOX 11143
ATLANTA, GA 30384-0355                 JACKSON, TN 38308                      JACKSON, TN 38308
INVUITY, INC              Case 20-10766-BLS
                                        INVULTY,Doc
                                                INC 6        Filed 04/07/20   Page INZINGA,
                                                                                    872 of MARIA
                                                                                            1969
DEPT CH 19705                            444 DE HARO ST                            2830 W 100TH ST
PALATINE, IL 60055-9705                  SAN FRANCISCO, CA 94107                   EVERGREEN PARK, IL 60805




IOCCO, SABATINO                          IOLTA ISSA LAW FIRM                       IONGI, AIONA
7558 CASHEW DR                           66 LENOX POINTE NE                        1101 S 900 W
ORLAND PARK, IL 60462                    ATLANTA, GA 30324                         TOOELE, UT 84074




IONSON, HILLARY                          IORIO, LAURIE A.                          IORIO, LAURIE A.
ADDRESS ON FILE                          ADDRESS ON FILE                           111 W 4TH ST
                                                                                   WATERLOO, IL 62298




IOWA DEPT. OF REVENUE                    IOWA MEDICAID ENTERPRISES                 IOWA SECRETARY OF STATE
1305 E. WALNUT STREET, 4TH FLOOR         P.O. BOX 310202                           FIRST FLOOR, LUCAS BUILDING
DES MOINES, IA 50319                     DES MOINES, IA 50331                      321 E. 12TH STREET
                                                                                   DES MOINES, IA 50319




IOZZO, DANIEL M.                         IP TO OBS CIGNA                           IPA ONE
17840 COLUMBUS CT.                       P.O. BOX 952366                           10712 S 1300 E
ORLAND PARK, IL 60467                    ST LOUIS, MO 63195                        SANDY, UT 84094




IPMG EMPLOYEE BNFT SERVICES-BSS          IPMG                                      IPMG
225 SMITH ROAD                           225 SMITH RD                              225 SMITH RD
ST CHARLES, IL 60174                     ST CHARLES, IL 60174                      ST. CHARLES, MO 60174




IPMG                                     IPMG                                      IPPOLITO, JENNIFER E.
225 SMITH ROAD                           REFUND DEPT                               3435 HARTFORD ST
ST CHARLES, IL 60174                     225 SMITH RD                              ST LOUIS, MO 63118
                                         ST. CHARLES, MO 60174-0000




IPROMO AND MEMORY SUPPLIERS              IPROMOTEU                                 IPS
1035 W LAKE ST 2ND FLOOR                 321 COMMONWEATLH RD                       3025 44TH AVE N
CHICAGO, IL 60607                        STE 101                                   ST. PETERSBURG, FL 33714
                                         WAYLAND, MA 01778




IPSENAULT                                IPSER, SHANNON L.                         IRA E. CLARK DECTECTIVE AGENCY, INC.
3791 RIVER RD N F                        ADDRESS ON FILE                           P.O. BOX 38
KEIZER, OR 97303                                                                   EVANSVILLE, IN 47701-0038




IRAD INC                                 IRADIMED                                  IRELAND, ALYSSA
THOMAS C JOHNSON                         P.O. BOX 102590                           ADDRESS ON FILE
200 PALM BLVD                            ATLANTA, GA 30368-2590
ISLE OF PALM, SC 29451
IRENE NAVARRO             Case 20-10766-BLS    Doc
                                        IRIBHOGBE,   6 D. Filed 04/07/20
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                                                                                     873GRANATELLI
                                                                                         of 1969
P.O. BOX 7356                             509 DELMAR STREET APT 1103                1525 FARMINGTON WAY
BUNKERVILLE, NV 89007                     MIDLAND, TX 79703                         APT 703
                                                                                    WINDER, GA 30680-5348




IRIS INTERNATIONAL                        IRIS L SEWELL                             IRIS LTD., INC.
DEPT CH 10164                             P.O. BOX 1282                             901 PARK ROAD
PALATINE, IL 60055-0164                   THOMSON, GA 30824-1282                    FLEETWOOD, PA 19522




IRISH CREEK CUSTOM WOODS                  IRMA CLARK                                IRMA D CHAPARRO
566 RIGHT FORK IRISH CREEK ROAD           10633 PEORIA ST                           P O BOX 303
WEBBVILLE, KY 41180                       CHICAGO, IL 60643                         COLUMBUS, NM 88029




IRON BRAND MARKETING                      IRON MOUNTAIN CORP                        IRON MOUNTAIN INC - CA
7927 19TH AVE                             P.O. BOX 915004                           P.O. BOX 601002
KENOSHA, WI 53143                         DALLAS, TX 75391-5004                     PASADENA, CA 91189-1002




IRON MOUNTAIN INC                         IRON MOUNTAIN INC                         IRON MOUNTAIN INC
IRON MOUNTAIN INFORMATION MGMT LLC        IRON MOUNTAIN INFORMATION MGMT LLC        IRON MOUNTAIN INFORMATION MGMT LLC
P O BOX 27128                             P O BOX 27128                             P O BOX 27128
NEW YORK, NY 10087                        NEW YORK, NY 10087-7128                   NEW YORK, NY 10087-7129




IRON MOUNTAIN INFO MGMT/REC MG            IRON MOUNTAIN INFO MGMT/REC MG            IRON MOUNTAIN OF ST LOUIS
P.O. BOX 27128                            P.O. BOX 915004                           P.O. BOX 915004
NEW YORK, NY 10087                        DALLAS, TX 75391-5004                     DALLAS, TX 75391-5004




IRON MOUNTAIN RECORD MNGMNT               IRON MOUNTAIN RECORDS MANAGEMENT,         IRON MOUNTAIN RECORDS
P.O. BOX 601002                           INC                                       P.O. BOX 601002
PASADENA, CA 91189                        P O BOX 915004                            PASADENA, CA 91189-1002
                                          DALLAS, TX 75391-5004




IRON MOUNTAIN RECORDS                     IRON MOUNTAIN                             IRON MOUNTAIN
P.O. BOX 915004                           P O BOX 27128                             P.O. BOX 27128
DALLAS, TX 75391-5004                     NEW YORK, NY 10087-7128                   NEW YORK, NY 10087-7128




IRON MOUNTAIN                             IRON MOUNTAIN                             IRON MOUNTAIN
P.O. BOX 27129                            P.O. BOX 27129                            P.O. BOX 601002
NEW YORK, NY 10087                        NEW YORK, NY 10087-7129                   PASADENA, CA 91189-1002




IRON MOUNTAIN                             IRON MOUNTAIN                             IRON MOUNTAIN
P.O. BOX 915004                           P.O. BOX 915004                           PO BOX 27128
DALLAS, TX 75391                          DALLAS, TX 75391-5004                     NEW YORK, NY 10087-7128
IRON MOUNTAIN           Case 20-10766-BLS     Doc 6 CORP
                                      IRON MOUNTAIN,    Filed 04/07/20   Page IRON
                                                                               874MOUNTAIN,
                                                                                   of 1969 INC
POBOX 27129                           POB 915004                              ACCT 07415.OCHSRM
NEW YORK, NY 10087-7129               DALLAS, TX 75391-5004                   P.O. BOX 915004
                                                                              DALLAS, TX 75391-5004




IRON MOUNTAIN, INC                     IRON MTN INC - TX                      IRON MTN INC
ACCT 143089                            P.O. BOX 915004                        P.O. BOX 601002
P.O. BOX 915026                        DALLAS, TX 75391-5004                  PASADENA, CA 91189-1002
DALLAS, TX 75391-5026




IRON WORKERS ST LOUIS H&W FUND         IRONHORSE, INC                         IRONS GAIL BOWERS
ATTN: FINANCE/REFUNDS                  P.O. BOX 152                           440 BROOK AVE
P.O. BOX 1096                          BALDWIN, IL 62217                      TOOELE, UT 84074-0000
MARYLAND HEIGHTS, MO 63043-0096




IRONS, LAKISHA                         IRONSHORE ENVIRONMENTAL CLAIMS CSO     IRONSHORE SPECIALTY INSURANCE
11645 FOX HALL LANE                    28 LIBERTY STREET                      COMPANY
FLORISSANT, MO 63033                   5TH FLOOR                              SIX CONCOURSE PARKWAY
                                       NEW YORK, NY 10005                     SUITE 1575
                                                                              ATLANTA, GA 30328



IROSE, LAURIE                          IRVIN, DORRIS                          IRVIN, KAYLYN
10460 COUNTY FARM ROAD                 9340 E. BONNIE RD                      208 GRANT STREET
CHESTER, IL 62233                      BONNIE, IL 62816-3300                  MT. VERNON, IL 62864




IRVIN, TONI                            IRWIN, TERRI                           ISAAC ADETOLA
380 MOOSE RUN RD                       380 VENTURA AVE                        ADDRESS ON FILE
BELLEFONTE, PA 16823                   EUGENE, OR 97405




ISAAC JR., JAMES E.                    ISAAC, DOLPHIE C.                      ISAAC, KIMBERLY M.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




ISAAC, LUCY                            ISAACS CHAFFEN M                       ISAACS, DIANNA
11956 E VIOLET RD                      2279 S THOMPSONVILLE RD                ADDRESS ON FILE
MT VERNON, IL 62864                    THOMPSONVILLE, IL 62890




ISAACSON, PATRICIA                     ISABEL MEJILLAS                        ISADORE, MARY
1237 S PEARL ST                        MONTEZUMA RT BOX 215A                  5499 BUCK LANE RD
GALESBURG, IL 61401                    LAS VEGAS, NM 87701                    FLORENCE, OR 97439-8620




ISBELL MEDICAL GROUP, PC               ISBELL, FELICIA G.                     ISBELL, STEVEN A. MD
550 MEDICAL CENTER DR SW               100 N GRAPEVINE RD                     606 GRAND AVE SOUTH
FORT PAYNE, AL 35968                   MESQUITE, NV 89027                     FORT PAYNE, AL 35967
ISBERG, CYNTHIA L.        Case 20-10766-BLS     DocADMINSTRATOR
                                        ISDA CLAIMS 6 Filed 04/07/20     Page ISENBERG
                                                                               875 of 1969
                                                                                       TARA M
P.O. BOX 1015                           155 NORTH WACKER SUITE 3700           4153 STATE RTE 4
APTOS, CA 95001                         CHICAGO, IL 60606                     MARINE, IL 62061




ISHIHARA, MAYA                          ISHIMA, BYRON                         ISHOLA, MA CRISTINA L.
91 WEST ARLINGTON DRIVE                 ADDRESS ON FILE                       4100 LAKEVIEW DRIVE
ROUND LAKE, IL 60073                                                          COUNTRY CLUB HILLS, IL 60478




ISIDRO, BARRIENTOS                      ISIDRO, VALENICA                      ISKANDER, DR. HENEIN
11023 COUNTY ROAD 51                    1535 CAMPBELL STREET                  P.O. BOX 749
COLLINSVILLE, AL 35961                  FYFFE, AL 35971                       FORREST CITY, AR 72336




ISLAS, CECILI                           ISLAS, GERMAN                         ISLE OF CAPRI
2702 REBECCA DR                         1320 NORTH AVE                        P.O. BOX 447
BIG SPRING, TX 79720                    ROUND LAKE BEACH, IL 60073            LULA, MS 38644




ISM                                     ISMIE MUTUAL INSURANCE COMPANY        ISMIE MUTUAL INSURANCE COMPANY
N532 WILLIAM ROADRKWAY                  20 N. MICHIGAN AVE, STE 700           P.O. BOX 71298
GENOA CITY, WI 53128                    CHICAGO, IL 60602                     CHICAGO, IL 60694-1298




ISOLATED POWER SPECIALIST               ISOM, BRIDGET L.                      ISOM, DEBBIE
3332 TALLWOOD CT.                       ADDRESS ON FILE                       515 HILL ST
ERLANGER, KY 41018                                                            MONROE, GA 30656-1507




ISOM, DONNA J.                          ISOM, KYLE                            ISO-MED INC.
595 17TH ST NW                          ADDRESS ON FILE                       P.O.BOX 79214
MASSILLON, OH 44647                                                           CORONA, CA 92877




ISRAEL, AVIGAIL C.                      ISRAEL, KIMBERLY M.                   ISRAEL, NAARA
P.O. BOX 641                            P O BOX 201014                        12139 VINCENNES RD
HELENDALE, CA 92342                     CHICAGO, IL 60620                     BLUE ISLAND, IL 60406




ISS CORPORATE SOLUTIONS INC             ISSA, NIZAR                           ISUANI, BERNARDO H.
702 KING FARM BLVD                      ADDRESS ON FILE                       31290 SPENCER GLENN DR
STE 400                                                                       EUGENE, OR 97405
ROCKVILLE, MD 20850




IT DATA CONSULTANTS INC                 ITAL, KATHERINE                       ITAMAR MEDICAL INC
132 SOUTH SECOND ST                     ADDRESS ON FILE                       3290 CUMBERLAND CLUB DR
SUNBURY, PA 17801                                                             STE 100
                                                                              ATLANTA, GA 30339
ITJEN, GLORIA A.       Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                     ITOYO, ODA                     Page ITXM
                                                                          876CLINICAL
                                                                              of 1969 SERVICES
150 ORANGE BLOSSOM RD.               1380 PAULY DRIVE APT 213            29668 NETWORK PLACE
MILFORD, PA 18337                    GURNEE, IL 60031                    CHICAGO, IL 60673-1296




IVAN SANCHEZ                        IVAN WARE AND SON, INC               IVANIC, CHRISTINE M.
13132 S HOUSTON AVE                 4005 PRODUCE RD                      439 5TH ST SW
CHICAGO, IL 60633                   LOUISVILLE, KY 40218                 MASSILLON, OH 44647




IVANOWSKI, BENJAMIN P.              IVANS UPHOLSTERY                     IVERSON, ALFRED N.
ADDRESS ON FILE                     901 PRAIRIE AVENUE                   2386 BEAVER STREET
                                    MT. VERNON, IL 62864                 EUGENE, OR 97404




IVES, CAROL                         IVES-GREENE, KIMBERLY D.             IVEY, BROOKE
518 S 8TH ST                        ADDRESS ON FILE                      ADDRESS ON FILE
MONMOUTH, IL 61462




IVEY, CAITLIN                       IVEY, JACOB A.                       IVEY, KELLEY
919 DEER RDG                        ADDRESS ON FILE                      207 E WILLOW ST.
SAINT JACOB, IL 62281                                                    SORENTO, IL 62086




IVEY, LINNITTA                      IVEY, NANCY                          IVEY, PATRICIA
ADDRESS ON FILE                     9 VISTA VIEW COVE                    1215 COUNTY ROAD 318
                                    JACKSON, TN 38305                    DAWSON, AL 35963




IVISON, KELLIE N.                   IVORY, JOE H.                        IVY GARDEN FLORIST
ADDRESS ON FILE                     P.O. BOX 2751                        105 W. WATER ST
                                    WEST HELENA, AR 72390                PLYMOUTH, NC 27962




IVY HANKINS                         IVY MCKINNEY                         IVY, CHANDRA D.
641 TURKEY CREEK RUN                7764 E. RICHVIEW RD                  736 E 164TH ST
TULLAHOMA, TN 37388                 MT. VERNON, IL 62864                 SOUTH HOLLAND, IL 60473




IVY, DONNA J.                       IVY, SHANIKA                         IVY, TIFFANY
ADDRESS ON FILE                     99 W WASHINGTON                      408 7TH STREET APT M
                                    ROUND LAKE, IL 60073                 PAINTSVILLE, KY 41240




IYONA SMALLWOOD                     IZAGUIRRE, SOCORRO L.                IZELL, LINDSAY
513 LEE ST                          12653 VINCENNES RD                   12503 AL HIGHWAY 9 N
WINDSOR, NC 27983                   BLUE ISLAND, IL 60406                CEDAR BLUFF, AL 35959
IZI MEDICAL PRODUCTS, LLCCase 20-10766-BLS
                                       IZOTECO,Doc
                                                ALMA6L.   Filed 04/07/20   Page J877   of 1969 VENTURE, INC
                                                                                  & B FRANCHISE
5 EASTER COURT, SUITE J                ADDRESS ON FILE                          JAN-PRO CLEANING SYSM OF STL
OWNINGS MILLS, MD 21117                                                         233 MILLWELL DR
                                                                                MARYLAND HEIGHTS, MO 63043




J & J ENTERPRISES                       J & J ETHICON ENDO-SURG INC             J & J HEALTH CARE SYS.INC
80 RIVERBEND                            4545 CREEK ROAD                         5972 COLLECTIONS CTR. DR.
ATTN: SALLY DAVIS                       CICINNATI, OH 45242-2839                CHICAGO, IL 60693
EVANSTON, WY 82930




J & J HEALTH CARE SYS.INC               J & J HEALTH CARE SYSTEMS INC           J & J HEALTH CARE SYSTEMS INC
5972 COLLECTIONS CTR. DR.               5972 COLLECTIONS CENTER                 5972 COLLECTIONS CTR DR
CHICAGO, IL 60693-0059                  CHICAGO, IL 60693                       CHICAGO, IL 60693




J & J HEALTH CARE SYSTEMS INC           J & J HEALTH CARE SYSTEMS               J & J HEALTH CARE SYSTEMS
P.O. BOX 406663                         5972 COLLECTIONS CENTER DRIVE           5972 COLLECTIONS CNTR DR
ATLANTA, GA 30384-6663                  CHICAGO, IL 60693                       CHICAGO, IL 60693




J & J PRINTING, INC                     J & J SIGNS INC                         J & N CLEANING SVC
1319 W ELM                              2 SHASTA                                11621 PEACH GLEN AVE NW
DEMING, NM 88030                        SILVER CITY, NM 88061                   UNIONTOWN, OH 44685




J & S PROFESSIONAL SERVICES, LLC        J & S PROFESSIONAL SERVICES, LLC        J A OBRIEN COMPANIES
P O BOX 702                             P.O. BOX 702                            DYNA SCAN TECH SERVICES
PARIS, TN 38242                         PARIS, TN 38242                         7 HETHERINGTON CT
                                                                                CINCINNATI, OH 45246




J C RESTORATION INC                     J CHARLES MOWRER III                    J CRAIG FOGLE
3200 SQUIBB AVENUE                      P.O. BOX 101                            118 CADES COVE LANE
ROLLING MEADOWS, IL 60008-0000          WATERVILLE, PA 17776                    MOORESVILLE, NC 28117-9061




J FIORI, SANDRA                         J FRANK ASSOCIATES LLC                  J LAX, ROBERTA
MT. VERNON HEALTH CARE                  JOELE FRANK WILKINSON BRIMMER KATCH     1938 VIKING AVE
MT. VERNON, IL 62864                    622 THIRD AVE - 36TH FLR                ORRVILLE, OH 44667-2354
                                        NEW YORK, NY 10017




J S EXCVATING & HAULING, LLC            J SHUTT, NORMA                          J&B SERVICES DBA CLASSIC CLEANERS
6401 LEBANON RD                         870 W MAIN ST                           637 BROADWAY STREET
COLLINSVILLE, IL 62234                  SUGARCREEK, OH 44681                    PAINTSVILLE, KY 41240




J&J HEALTH CARE SYSTEMS INC             J&J HEALTHCARE SYSTEM,INC               J&J SEPTIC & SEWER CLEANING LLC
5972 COLLECTIONS CENTER                 P.O. BOX 406663                         5574 SPORTSMAN RD
CHICAGO, IL 60693                       ACCT6060                                WATERLOO, IL 62298
                                        ATLANTA, GA 30384
J&J SEPTIC & SEWER        Case 20-10766-BLS    Doc 6
                                        J&M WELDING       Filed 04/07/20     Page J.878 of 1969
                                                                                     BUCHHEIT FARM
5574 SPORTSMAN RD                       1903 JAMES ROAD                           75 S. LICK CREEK RD
WATERLOO, IL 62298-0000                 ROBERSONVILLE, NC 27871                   BUNCOMBE, IL 62912




J. MATTHEW PARNELL, PARNELL &           J.D.HOLT MAINTENANCE SERVICES, LLC        J.J. JORDAN GERIATRIC CENTER
PARNELL, P.A.                           1139 ENGLISH COLONY PLACE                 270 EAST CLAYTON LANE
P.O. BOX 2189                           WASHINGTON, NC 27889                      LOUISA, KY 41230
MONTGOMERY, AL 36102-2189




J.J. KELLER & ASSOC. INC.               J.M. SPECIALTY PARTS, INC                 J.P. MORGAN/CLEARING (0352, 2424)
P.O. BOX 6609                           11525 SORRENTO VALLEY RD                  ATTN CORPORATE ACTIONS TEAM
CAROL STREAM, IL 60197-6609             SUITE B                                   500 STANTON CHRISTIANA RD. NCC5 FL3
                                        SAN DIEGO, CA 92121                       NEWARK, DE 19713




J.T. POSEY COMPANY                      JA MITSUI LEASING FFCSI INC               JA SEXAUER, INC.
P.O. BOX 51017                          P O BOX 84969                             P.O. BOX 404284
LOS ANGELES, CA 90051-5317              CHICAGO, IL 60689-4969                    ATLANTA, GA 30384-4284




JABALEY TAXI SERVICE                    JABCZYNSKI, JENNIFER                      JABLONSKI, GENOWEFA
HOWARD JABALEY                          201 BAGGOTT ST                            23816 W BAYVIEW DR
2121 OLD HWY 5 NORTH                    ZEIGLER, IL 62999                         ANTIOCH, IL 60002
BLUE RIDGE, GA 30513




JABO SUPPLY CORP                        JABR HADID MD                             JACHIM, BARBARA
P O BOX 238                             6795 MOUNT PLEASANT ST NW                 8325 SOUTHWOOD DR NW
HUNTINGTON, WV 25707                    NORTH CANTON, OH 44720                    NORTH CANTON, OH 44720




JACINTO, ISABEL                         JACK W GOODING TRUSTEE                    JACK WOLFE
226 BARBARA WAY                         4030 MOMENTUM PL                          416 GRANDVIEW AVE
WATSONVILLE, CA 95076                   CHICAGO, IL 60689-5340                    BARBERTON, OH 44203




JACK, DENNIS                            JACKANICZ, BECKY L.                       JACKEWICZ, KEITH
620 TENNIE STREET                       ADDRESS ON FILE                           2017 BRYN MAWR CT
WHARTON, TX 77488                                                                 JOHNSBURG, IL 60051




JACKIE CAMPBELL                         JACKIE GILLAM                             JACKIE JOHNSON
19404 E. 3RD STREET                     2387 TAR LANDING RD                       7804 CO RD 800 N
OPDYKE, IL 62872                        WILLIAMSTON, NC 27892-8163                MCLEANSBORO, IL 62859




JACKIE M MCGIBONEY                      JACKLYN HENRY                             JACKS, GLENDIA
10148 WASHINGTON ST SW                  ADDRESS ON FILE                           ADDRESS ON FILE
COVINGTON, GA 30014
JACKSON & COKER          Case 20-10766-BLS
                                       JACKSONDoc  6 COFiled
                                               & GRAY   INC 04/07/20      Page JACKSON
                                                                                879 of 1969
                                                                                       ACE HARDWARE
P.O. BOX 277638                         P O BOX 668                            726 HWY. 15 NORTH
ATLANTA, GA 30384-7638                  MARION, IL 62959                       JACKSON, KY 41339




JACKSON ACE HARDWARE                    JACKSON ANNIE V                        JACKSON APOTHECARY
726 HWY. 15 NORTH                       P.O. BOX 204                           842 HWY 15 N
NORTH JACKSON PLAZA                     PULASKI, IL 62976                      JACKSON, KY 41339
JACKSON, KY 41339-9635




JACKSON BROS. AUTO SERVICE              JACKSON CITY HIGH SCHOOL BOYS          JACKSON CITY SCHOOL SOCCER TEAM
903 PUBLIC WAY                          BASKETBALL                             940 HIGHLAND AVE.
LOUISA, KY 41230                        940 HIGHLAND AVE.                      JACKSON, KY 41339
                                        JACKSON, KY 41339




JACKSON CO. CIRCUIT CLERK               JACKSON CO.CIRCUIT CLERK               JACKSON COUNTRY CLUB
DISTRICT COURT OF JACKSON COUNTY        102 E. LAUREL STREET                   31 JACKSON COUNTRY CLUB LN
102 E. LAUREL STREET, SUITE 307         SUITE 307                              JACKSON, TN 38305
SCOTTSBORO, AL 35768                    SCOTTSBORO, AL 35768




JACKSON COUNTY AMBULANCE                JACKSON COUNTY HOSPITAL                JACKSON DALE A
P.O. BOX 328                            CORPORATION                            1714 SCENIC RD E
CARBONDALE, IL 62903                    4250 HOSPITAL DRIVE                    FORT PAYNE, AL 35967-7411
                                        P.O. BOX 1608
                                        MARIANNA, FL 32447-1608



JACKSON DIANNA                          JACKSON ELECTRIC & PLUMBING            JACKSON ELIZABETH
ADDRESS ON FILE                         1273 MAIN STREET                       ADDRESS ON FILE
                                        JACKSON, KY 41339-9559




JACKSON GARY                            JACKSON HOSPITAL AND CLINIC INC        JACKSON HOSPITAL CORPORATION
ADDRESS ON FILE                         1725 PINE ST                           306 W. MAIN STREET
                                        MONTGOMERY, AL 36106                   SUITE 512
                                                                               FRANKFORT, KY 40601




JACKSON II, CLEVE E.                    JACKSON JENNIFER L                     JACKSON JESSIE K
ADDRESS ON FILE                         117 BAY RIDGE CT                       3615 16TH ST
                                        GLEN CARBON, IL 62034                  ROLLING HILLS
                                                                               ZION, IL 60099




JACKSON JEWELER                         JACKSON JOHNNY                         JACKSON KATHLEEN
3002 BROADWAY                           1429 N MCAREE RD                       5919 E ST
MT VERNON, IL 62864                     WAUKEGAN, IL 60085                     SPRINGFIELD, OR 97478




JACKSON KATHLEEN                        JACKSON LINDA K                        JACKSON MUNICIPAL WATERWORKS
ADDRESS ON FILE                         12334 S SANGAMON                       333 BROADWAY
                                        CALUMET PARK, IL 60827                 JACKSON, KY 41339
JACKSON PARISH HOSPITALCase 20-10766-BLS
                                     JACKSONDoc    6 Filed
                                               PHYSICIAN CORP.04/07/20   Page JACKSON
                                                                               880 of 1969
                                                                                      POLICE DEPARTMENT SHOP
165 BEECH SPRINGS ROAD               306 W. MAIN STREET                       WITH A COP
JONESBORO, LA 71251                  SUITE 512                                ATTN: MIKE TAULBEE
                                     FRANKFORT, KY 40601                      333 BROADWAY
                                                                              JACKSON, KY 41339



JACKSON RESTURANT SUPPLY               JACKSON SR., THOMAS E.                 JACKSON TAMMY L
1119 HIGHWAY 45 BYPASS                 ADDRESS ON FILE                        P.O. BOX 636
JACKSON, TN 38301                                                             COBDEN, IL 62920




JACKSON THERAPY PARTNERS, LLC          JACKSON WALKER LLP                     JACKSON WHOLESALE COMPANY
12124 HIGH TECH AVENUE, SUITE 300      P.O. BOX 130989                        P.O. BOX 634
ORLANDO, FL 32817                      DALLAS, TX 75313-0989                  JACKSON, KY 41339




JACKSON WINDOW & SIDING SUPPLY         JACKSON WOMANS CLUB                    JACKSON, ADDIE
587 ARMORY DRIVE                       C/O CHARLOTTE DITTY                    106 NASHUA ST.
JACKSON, KY 41339                      111 STATE DRIVE                        PARK FOREST, IL 60466
                                       JACKSON, KY 41339




JACKSON, AMBER                         JACKSON, ANGELA                        JACKSON, ARLISSA A.
206 IVORY RD                           457 BEAR CUB PATH                      15638 EAST END AVE
LOUISA, KY 41230                       SOCIAL CIRCLE, GA 30025                DOLTON, IL 60419




JACKSON, ARTESIAN                      JACKSON, ARTRIC                        JACKSON, ASHLEY N.
613 ADAMS STREET                       P.O. BOX 14                            2398 HIGHWAY 11 NW
HELENA, AR 72342                       ONEIDA, AR 72369                       MONROE, GA 30656




JACKSON, BERT J.                       JACKSON, BRITTANY                      JACKSON, BROOKE B.
1069 FLORA LAKE COURT                  5762 HIGHWAY 1 NORTH                   4 ACADEMY PLACE APT 521
SHILOH, IL 62221                       MARIANNA, AR 72360                     NASHVILLE, TN 37210




JACKSON, CHARLES                       JACKSON, CHRISTOPHER                   JACKSON, CLAUDIA
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




JACKSON, CORTNIE                       JACKSON, COURTNEY G.                   JACKSON, DAVAUGHN Y.
1115 ROSLYN AVE NE                     1801 ALABAMA ST                        7 SPRINGER WOODS
MASSILLON, OH 44646                    BIG SPRING, TX 79720                   EDWARDSVILLE, IL 62025




JACKSON, DAVID A.                      JACKSON, DAVID                         JACKSON, DEANNA
4078 SCOTTDALE ST                      ADDRESS ON FILE                        ADDRESS ON FILE
EUGENE, OR 97404
JACKSON, DEBRA           Case 20-10766-BLS    Doc
                                       JACKSON,    6 Filed 04/07/20
                                                DELORES               Page JACKSON,
                                                                            881 of 1969
                                                                                    DIANNE
2955 TANNERVILLE RD                    14307 SOUTH WALLACE AVE             118 MILITARY RD P.O. BOX 678
ORRVILLE, OH 44667                     RIVERDALE, IL 60827                 HELENA, AR 72342




JACKSON, DORRIS                        JACKSON, DUSTEE M.                  JACKSON, ELEANOR
3527 E CUMBERLAND LN                   ADDRESS ON FILE                     2207 EAST JACKSON
CRETE, IL 60417                                                            WEST MEMPHIS, AR 72301




JACKSON, ELIZABETH                     JACKSON, ELIZABETH                  JACKSON, FRANK A.
ADDRESS ON FILE                        520 PUBLIC ST                       18820 CARSON DRIVE
                                       GOOSE LAKE, IA 52750                HOMEWOOD, IL 60430




JACKSON, GARY                          JACKSON, GEORGIA L                  JACKSON, GEORGIA
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




JACKSON, GLENDA L.                     JACKSON, GREGORY                    JACKSON, GRETCHEN
788 SUNSET AVE APT 7                   216 PINE PARK                       17 DEL RIO AVE
SUISUN CITY, CA 94585-2090             MONMOUTH, IL 61462                  GRANITE CITY, IL 62040




JACKSON, HARLEY                        JACKSON, HARRY E.                   JACKSON, JANET
ADDRESS ON FILE                        P.O. BOX 304                        ADDRESS ON FILE
                                       207 N CHAMNESS ST
                                       CREAL SPRINGS, IL 62922-2118




JACKSON, JASON                         JACKSON, JENNIFER A.                JACKSON, JENNIFER A.
5280 TRINITY LANE                      318 WHITE AVE                       ADDRESS ON FILE
COLLINSVILLE, IL 62234                 GREENVILLE, IL 62246




JACKSON, JENNIFER L.                   JACKSON, JENNIFER M.                JACKSON, JENNIFER
109 FOREST RIDGE DR                    380 DURHAM AVE                      1460 G STREET
EATONTON, GA 31024                     EUGENE, OR 97404                    SPRINGFIELD, OR 97477




JACKSON, JENNIFER                      JACKSON, JOHN M.                    JACKSON, JOHNNIE
ADDRESS ON FILE                        1807 11TH AVENUE                    ADDRESS ON FILE
                                       HUNTINGTON, WV 25701




JACKSON, JUANITA L.                    JACKSON, KAREN L.                   JACKSON, KASSIDI
621 WEST GARLAND                       ADDRESS ON FILE                     ADDRESS ON FILE
WEST HELENA, AR 72390
JACKSON, KATHLEEN R.     Case 20-10766-BLS    Doc
                                       JACKSON,    6 Filed 04/07/20
                                                KATHLEEN              Page JACKSON,
                                                                            882 of 1969
                                                                                    KATIE
ADDRESS ON FILE                        921 GREEN AVE SW                    6511 RATLIFF RD
                                       MASSILLON, OH 44647                 BIG SPRING, TX 79720-7033




JACKSON, KESHIA L.                     JACKSON, KILEY                      JACKSON, KIMBERLI L.
2630 EDISON AVE                        207 E HARRISONVILLE DR              7608 CHAMPAIGN AVE NW
GRANITE CITY, IL 62040                 VALMEYER, IL 62295                  CANAL FULTON, OH 44614




JACKSON, KRISTEN J.                    JACKSON, KYESHA D.                  JACKSON, KYLE S.
735 HURFF DR                           320 SOUTH SIXTH                     ADDRESS ON FILE
ELMWOOD, IL 61529                      WEST HELENA, AR 72390




JACKSON, LAUREN                        JACKSON, LEZKIRCHEN                 JACKSON, LINDA BLAND
ADDRESS ON FILE                        609 S. 8TH STREET                   4165 WYNNE RD
                                       WEST MEMPHIS, AR 72301              ROBERSONVILLE, NC 27871




JACKSON, MELANIE                       JACKSON, MITCHELL A., MD PRS        JACKSON, NICHOLAS
411 EAST 1480 NORTH                    300 N MILWAUKEE AVE                 705 VANDYKE GROVE RD
TOOELE, UT 84074                       SUITE L                             PARIS, TN 38242
                                       LAKE VILLA, IL 60046




JACKSON, RAMARGIE M.                   JACKSON, RAVEN                      JACKSON, RETUNDA
2265 JONES ROAD                        ADDRESS ON FILE                     ADDRESS ON FILE
WILLIAMSTON, NC 27892




JACKSON, RICKEY H.                     JACKSON, RONALD                     JACKSON, SALLIE A.
1609 STATE                             1352 TOWNSHIP RD 2715 N             430 E 31ST AVE
BIG SPRING, TX 79720                   OQUAWKA, IL 61469                   EUGENE, OR 97405




JACKSON, SAMANTHA C.                   JACKSON, SARA T.                    JACKSON, SARAH
ADDRESS ON FILE                        ADDRESS ON FILE                     408 BOLIVAR AVE
                                                                           CLARKSDALE, MS 38614




JACKSON, SHADELL                       JACKSON, SHEVAWN                    JACKSON, SHONNA
13961 JOCKEY LANE                      1400 N DAISY DRIVE                  ADDRESS ON FILE
VICTORVILLE, CA 92394                  MARION, IL 62959




JACKSON, SOPHIA                        JACKSON, STACIE                     JACKSON, SUSAN F.
ADDRESS ON FILE                        1F SOUTHRIDGE CIRCLE                3217 FENN
                                       WYNNE, AR 72396                     BIG SPRING, TX 79720
JACKSON, TAMELA        Case 20-10766-BLS
                                     JACKSON,Doc  6 L.Filed 04/07/20
                                               TAMMY                   Page JACKSON,
                                                                             883 of 1969
                                                                                     TAWANA
219 LONG HOLLOW CIRCLE               1374 SFC 361                           HRMC
FORT PAYNE, AL 35967                 FORREST CITY, AR 72335                 72342




JACKSON, TAWANNA L.                   JACKSON, TIFFANY N.                   JACKSON, TIMMIE
1714 PHILLIPS 352 ROAD                1601                                  174 HAY BRANCH ROAD
LEXA, AR 72355                        FORREST CITY, AR 72335                LOUISA, KY 41230




JACKSON, TINA A.                      JACKSON, TOMMY W.                     JACKSON, TRACI ASHBURN
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




JACKSON, TRACI L.                     JACKSON, TRACI                        JACKSON, VERNETHA
1700 MCDANIEL HOLLOW RD               ADDRESS ON FILE                       1119 OHIO STREET
LEWISBURG, TN 37091                                                         HELENA, AR 72390




JACKSON, VIKKI V.                     JACKSON, WALTER                       JACKSON-MADISON COUNTY GENERAL
ADDRESS ON FILE                       ADDRESS ON FILE                       HOSPITAL
                                                                            WEST TENNESSEE HEALTHCARE
                                                                            620 SKYLINE DR
                                                                            JACKSON, TN 38301-3923



JACKSTADT, KAIDE                      JACKY GREGORY                         JACLYN BREITENSTEIN
121 S. MAIN ST                        ADDRESS ON FILE                       ADDRESS ON FILE
GLEN CARBON, IL 62034




JACOB ALEXANDER IVEY                  JACOB BLAKEMAN                        JACOB D.SCHULTZ
11795 SONGBIRD RD                     ADDRESS ON FILE                       207 N.EDGEWOOD AVE
MARION, IL 62959                                                            WILLIAMSTON, NC 27892




JACOB HINES                           JACOB J NOLL JR                       JACOB JANNISE
900 W ASH                             TJ CUSTOM MATS & FRAMES               P.O. BOX 1141
DEMING, NM 88030                      P.O. BOX 3007                         PLYMOUTH, NC 27962
                                      MESQUITE, NV 89024




JACOB PARMETIER                       JACOB PULLEY                          JACOB SAUNDERS
77 ROTTINGHAM CT                      3330 SHADY HILL RD                    10706 S. DREW
EDWARDSVILLE, IL 62025                LEXINGTON, TN 38351                   CHICAGO, IL 60643




JACOB, ALISHA                         JACOB, JOANNA                         JACOB, JOSE
ADDRESS ON FILE                       2480 DOWNING CIRCLE                   ADDRESS ON FILE
                                      GURNEE, IL 60031
JACOB, PRIYA             Case 20-10766-BLS     Doc 6J.
                                       JACOB, SARAH        Filed 04/07/20   Page JACOB,
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                                                                                         1969
948 FAIRDALE COURT                       ADDRESS ON FILE                         ADDRESS ON FILE
NASHVILLE, TN 37221




JACOB, VALSAMMA                          JACOB-CRUZ, EVANGELINE A.               JACOBO, JEANNETTE
ADDRESS ON FILE                          ADDRESS ON FILE                         146 HOLLY DR
                                                                                 WATSONVILLE, CA 95076




JACOBS II, KENNETH W.                    JACOBS JR., NATHANIEL                   JACOBS, BETH A.
5309 MIMOSA CIRCLE                       ADDRESS ON FILE                         ADDRESS ON FILE
LAKE PARK, GA 31636




JACOBS, CATHY                            JACOBS, FRANCINE N.                     JACOBS, FRANCINE N.
1297 PHILLIPS 241 RD                     1617 S TENNYSON DR                      ADDRESS ON FILE
LEXA, AR 72355                           DEMING, NM 88030




JACOBS, JOSHUA                           JACOBS, LAUREN                          JACOBS, LORI
1212 FRANKO LANE                         9697 CALUMET STREET                     2364 CULBERSON RD
GRANITE CITY, IL 62040                   DYER, IN 46311                          MURPHY, NC 28906




JACOBS, NATHANIEL                        JACOBS, SHARON M.                       JACOBS, SHIRLEY
ADDRESS ON FILE                          ADDRESS ON FILE                         101 LIZARDVILLE RD
                                                                                 MILL HALL, PA 17751




JACOBS, STEVEN                           JACOBS, TANEKA T.                       JACOBS, ZYLEN
1212 FRANKO LANE                         1617 S TENNYSON DRIVE                   819 PANAMA ROAD
GRANITE CITY, IL 62040                   DEMING, NM 88030                        WEST HELENA, AR 72390




JACOBSEN, CAROLYN J.                     JACOBSEN, DIANA                         JACOBSEN, HEIDI M.
2216 J STREET                            16694 N OAK HILL LN                     ADDRESS ON FILE
SPRINGFIELD, OR 97477                    MT VERNON, IL 62864




JACOBSEN, MICHELLE A.                    JACOBSON, BARBARA L.                    JACOBSON, DOROTHY M.
16624 S WINDSOR LANE                     ADDRESS ON FILE                         2231 HUNTINGTON RD
LOCKPORT, IL 60441                                                               AUGUSTA, GA 30904




JACOBSON, JOHN H.                        JACOBSON, JOHN HOWARD - ICEO            JACOBSON, ROGER
ADDRESS ON FILE                          MARTIN GENERAL HOSPITAL                 650 HARLOW RD 137
                                         310 S MCCASKEY RD                       SPRINGFIELD, OR 97477
                                         WILLIAMSTON, NC 27892
JACOBY, JESSICA C.      Case 20-10766-BLS    DocWILLIAMS
                                      JACQUELEEN 6 Filed 04/07/20        Page JACQUELINE
                                                                               885 of 1969
                                                                                         CAMPBELL
4828 PIGEON RUN RD                    ADDRESS ON FILE                         ADDRESS ON FILE
NAVARRE, OH 44662




JACQUELINE E MCGEE                    JACQUELINE HUYNH MD                     JACQUELINE INDORF
109 TWIN LAKES ROAD                   16040 S 9TH PL                          1116 20TH ST SW
CARTERVILLE, IL 62918                 PHOENIX, AZ 85048                       MASSILLON, OH 44647




JACQUELINE LILLY                      JACQUELINE M WOLTER                     JACQUELINE MANTLE
15523 VIVIAN ST                       8170 STATE RT 3                         1201 HARMAN LN APT 215
SESSER, IL 62884-2253                 EVANSVILLE, IL 62242                    SHILOH, IL 62221




JACQUELINE ONSTAD                     JACQUELYN LINDSEY                       JACQUES, JOSE
2329 DEVON AVE                        P.O. BOX 283                            ADDRESS ON FILE
EUGENE, OR 97408                      CREAL SPRINGS, IL 62922




JACQUEZ, FRANSICO                     JACQUITTE, MORASHA                      JADA GRIFFIN
10 ELDER LANE                         309 CLAIBORNE WAY                       3583 MOBILE RD
LEMITAR, NM 87823                     MONROE, GA 30655                        GREENVILLE, AL 36037-8213




JADE LARKIN                           JAE JUNG JA                             JAENICKE, KURT F.
811 W JACKSON ST                      477 WOODLAWN AVE                        ADDRESS ON FILE
ABINGDON, IL 61410                    GLENCOE, IL 60022-2175




JAFRI, SYED H.                        JAGEARS, CRYSTAL N.                     JAGUAR FUELING SERVICES LLC
ADDRESS ON FILE                       11003 MORAN RD                          8515 E. NORTH BELT
                                      MONTEREY, CA 93940                      HUMBLE, TX 77396




JAIDA MAJORS                          JAIME SALINAS                           JAIME SMITH
ADDRESS ON FILE                       P.O. BOX 1096                           ADDRESS ON FILE
                                      MOUNTAIN VIEW, WY 82939-0000




JAIMES, DOROTHY K.                    JAIMES, JOSE R.                         JAJEH, FAHD, MD
ADDRESS ON FILE                       TO THE ESTATE OF 721 STEPHENS DR        1870 W WINCHESTER RD SUITE 241
                                      EUGENE, OR 97404                        LIBERTYVILLE, IL 60048




JAKAITIS, DONNA J.                    JAKE BEASLEY                            JAKE BURTON
39340 WINCHESTER RD                   14722 MONTGOMERY HWY                    1379 HWY 190E
WADSWORTH, IL 60083                   HIGHLAND HOME, AL 36041                 HAMMOND, LA 70402
JAKEN MEDICAL INC           Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                          JAKICH, CATHERINE              Page JAKUBIAK,
                                                                               886 of 1969
                                                                                        ROMAN
14729 FERN AVE                            2441 MORRISON                       229 BURNETT AVE
CHINO, CA 91710                           GRANIT CITY, IL 62040               LAKE VILLA, IL 60046




JALA WILSON                               JALC FOUNDATION                     JAMAR A WRAY
P.O. BOX 237                              700 LOGAN COLLEGE ROAD              2446 77TH AVE
ULLIN, IL 62992                           CARTERVILLE, IL 62918               PHILDADELPHIA, PA 19150




JAMAR HEALTH PRODUCTS INC                 JAMBOOR MEDICAL CORPORATION         JAMELL TERESA
7217 HYACINTH COURT                       12675 HESPERIA RD                   3740 KENSINGOTN DR
GREENDALE, WI 53129                       VICTORVILLE, CA 92395               MARIETTA, GA 30006




JAMES A BAKER                             JAMES A NEITZ SR                    JAMES ABERLE - ITV
2027 RIDGE RD NW                          738 NEITZ RD                        ADDRESS ON FILE
BOLIVAR, OH 44612                         NORTHUMBERLAND, PA 17857




JAMES ARCHER II                           JAMES BLEDSOE                       JAMES BRACKEN
2204 CECILIA ST                           411 S TAYLOR ST                     ADDRESS ON FILE
BIG SPRING, TX 79720-0000                 WATAGA, IL 61488




JAMES BRAUER                              JAMES BRYCE                         JAMES CAHILL
ADDRESS ON FILE                           13596 KIMMENS RD SW                 1242 WEST MAIN ST
                                          MASSILLON, OH 44647                 GALESBURG, IL 61401




JAMES CLARK                               JAMES CLARK                         JAMES COBURN
195 MILL CREEK ROAD                       ADDRESS ON FILE                     105 QUEENS LANE
FORT GAY, WV 25514-8593                                                       THORNTON, IL 60476




JAMES CRISWELL                            JAMES CULBERT                       JAMES CUMMINGS TREE SERVICE
169 26TH ST NW                            P.O. BOX 133                        P.O. BOX 1521
MASSILLON, OH 44647                       SYLVANIA, AL 35988                  EUGENE, OR 97440




JAMES DUNAWAY                             JAMES DYER RANCH COMPANY            JAMES FERRER
P.O. BOX 575                              P.O. BOX 1009                       520 S HIGLEY RD
GNADENHUTTEN, OH 44629                    FORT DAVIS, TX 79734                UNIT 122
                                                                              MESA, AZ 85206-2274




JAMES FOSKETT, MD                         JAMES GAVIN                         JAMES GROHS JR
ADDRESS ON FILE                           2103 BENTON ST                      1461 N BROAD ST
                                          GRANITE CITY, IL 62040              GALESBURG, IL 61401
JAMES H HISE              Case 20-10766-BLS
                                        JAMES H Doc
                                                NEAL 6      Filed 04/07/20   Page JAMES
                                                                                   887 of 1969
                                                                                        HALCOMB
1252 QUICKSILVER WAY                     689 RANCHO CIR                           1337 E BOSTON AVE
MESQUITE, NV 89027                       MESQUITE, NV 89027                       MONMOUTH, IL 61462




JAMES HANKES                             JAMES HELLENY FAMILY TRUST               JAMES HENRY JACKSON III
2675 W MAIN ST                           P.O. BOX 547                             1124 BASS RD
GALESBURG, IL 61401                      MARION, IL 62959                         GARWOOD, TX 77442




JAMES HUDSON & MARY K HUDSON JT TEN      JAMES ISAAC JR.                          JAMES J EVANOCK JR
524 CARLEY AVE                           ADDRESS ON FILE                          450 E MAIN ST
SHARON, PA 16146-3724                                                             APT 10
                                                                                  LOCK HAVEN, PA 17745




JAMES JEFFERSON                          JAMES K DWYER                            JAMES KINLEY JR
239 FULMER RD                            1415 E WILLOW DRIVE                      512 MASDEN HOLLOW RD
AIKEN, SC 29805                          MARION, IL 62959                         BEECH CREEK, PA 16822




JAMES KIRBY                              JAMES KNUTH                              JAMES L DUNLAP
9130 S PAXTON AVE                        1239 WILLARD ST                          5101 STERLING RD
CHICAGO, IL 60617-3857                   GALESBURG, IL 61401                      BIG SPRING, TX 79720




JAMES L VUGTEVEEN                        JAMES LAKE                               JAMES LISA C
246 N 10TH ST                            2948 US HWY 150N                         1312 PARKER ST
MONMOUTH, IL 61462                       RIO, IL 61472                            SPRINGFIELD, OR 97477




JAMES LOVETTE                            JAMES M POWELL                           JAMES MATTHEW HAYES
604 BIG PLUM RUN RD                      163 SFC 356                              5166 COLLETON WAY
LOCK HAVEN, PA 17745-9226                FORREST CITY, AR 72335                   BRENTWOOD, TN 37027




JAMES MATTHEW HAYES                      JAMES MATTHEW SEE                        JAMES MCKENNA
ADDRESS ON FILE                          3945 HIGHLAND HEIGHTS                    3765 TIMBERLAKE WILDERSVILLE RD
                                         LOUISA, KY 41230                         LEXINGTON, TN 38351




JAMES NEIKES                             JAMES O BEVARD                           JAMES P JEANSONNE
1300 E PARHAM                            683 N CHERRY ST APT 302                  106 ARROWHEAD DR
MARION, IL 62959                         GALESBURG, IL 61401                      NATCHEZ, MS 39120-5002




JAMES P. DEROSSITT M.D.                  JAMES PETERSON                           JAMES R BATTEN III
ADDRESS ON FILE                          126 S TAYLOR                             1945 US HWY 150N
                                         P.O. BOX 166                             GALESBURG, IL 61401
                                         WATAGA, IL 61488
JAMES R FARRIS - CEO     Case 20-10766-BLS
                                       JAMES R Doc  6 Filed 04/07/20
                                               FICHTER                         Page JAMES
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                                                                                          R. 1969
                                                                                             HUTCHERSON, CRNP
ADDRESS ON FILE                         1158 DEERMONT AVE NW                        ADDRESS ON FILE
                                        MASSILLON, OH 44647




JAMES REINHOLD                          JAMES RICKEY                                JAMES S. ELY, III
205 BLUFFVIEW DRIVE                     14214 SPRINGFIELD AVE
PRAIRIE DU ROCHER, IL 62277             CRESTWOOD, IL 60418




JAMES SMITH                             JAMES STUBB                                 JAMES SUTHERLAND
1544 W 71ST ST                          3588 HWY 38N                                121 W SIMMONS ST
CHICAGO, IL 60636                       BENNETTSVILLE, SC 29512                     APT 502
                                                                                    GALESBURG, IL 61401




JAMES T HALL                            JAMES T. BREEDLOVE                          JAMES THETFORD
P.O. BOX 61                             NELSON, MULLINS, RILEY &                    1117 S WASHINGTON ST
EL PASO, IL 61738-0061                  SCARBOROUGH, LLP                            FORREST CITY, AR 72335
                                        ATTN: JAMES AUMAN HALTOM
                                        ONE NASHVILLE PLACE; 150 FOURTH AVE,
                                        NORTH, STE 1100
                                        NASHVILLE, TN 37219

JAMES TIERNEY                           JAMES TILLER E                              JAMES W DOUCETTE
1240 HUMMINGBIRD RD                     952 WILLIAM DR                              5625 SOUTH HILLVIEW DR
BUNCOMBE, IL 62912                      KNOXVILLE, IL 61448                         BRENTWOOD, TN 37027




JAMES WALKER                            JAMES WESTON                                JAMES WILLIAMS
ADDRESS ON FILE                         221 PERSIMMON DR                            ADDRESS ON FILE
                                        SWANSEA, IL 62226




JAMES X FLYNN - CEO                     JAMES, BARRY D.                             JAMES, CARLA A.
GALESBURG COTTAGE HOSPITAL              18336 PIERCE AVE                            1821 FERGUSON AVE
695 N KELLOGG ST                        HOMEWOOD, IL 60430                          GRANITE CITY, IL 62040
GALESBURG, IL 61401




JAMES, CONSTANCE J.                     JAMES, CRYSTAL                              JAMES, DENNIS
3103 EAST TIMBERLAKE BLVD               1733 N 40 E                                 1546 REDBUD LN
ROBERSONVILLE, NC 27871                 TOOELE, UT 84074                            GALESBURG, IL 61401




JAMES, DEON B.                          JAMES, GILLIAN                              JAMES, JAMES A.
ADDRESS ON FILE                         4206 ROSE SPRINGS RD                        4478 GA HWY 220 E
                                        ERDA, UT 84074                              LINCOLNGON, GA 30817




JAMES, JANINE R.                        JAMES, JANINE                               JAMES, JASON O.
ADDRESS ON FILE                         ADDRESS ON FILE                             11359 S LOTHAIR AVE
                                                                                    CHICAGO, IL 60643
JAMES, JODI               Case 20-10766-BLS     Doc 6
                                        JAMES, KELLY         Filed 04/07/20   Page JAMES,
                                                                                    889 ofKRISTEN
                                                                                           1969 N.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




JAMES, KRISTEN                           JAMES, LORETA                             JAMES, LYLE R.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




JAMES, LYNDA                             JAMES, MELISSA A.                         JAMES, MINNIE
2201 S MAIN ST                           ADDRESS ON FILE                           P.O. BOX 208815
BIG SPRING, TX 79720                                                               CHICAGO, IL 60620




JAMES, MISSY                             JAMES, PAULA L                            JAMES, PAULA L.
2434 STATE ST                            903 S. WELLS ST                           903 SOUTH WELLS STREET
CHESTER, IL 62233-0000                   DUQUOIN, IL 62832                         DUQUION, IL 62832




JAMES, REENU                             JAMES, REGINA K.                          JAMES, SHENITA
4919 LOUISE ST APT 2E                    8514 SEDGE DR. APT 2B                     2804 STANTONSBURG RD APT2D
SKOKIE, IL 60077                         MERRILLVILLE, IN 46410                    GREENVILLE, NC 27834-7291




JAMES, TVETTE L.                         JAMES, VALARIE                            JAMES, YOLANDA
15439 ELM ST                             9993 S WINSTON AVE                        411 BEASLEY DR APT. L11
SOUTH HOLLAND, IL 60473                  CHICAGO, IL 60643                         GREENVILLE, NC 27834




JAMESON, KIMBERLY D.                     JAMESON, SUSAN A.                         JAMIA RASMUSSEN
920 MULLANPHY RD                         523 CR 132                                ADDRESS ON FILE
FLORISSANT, MO 63031                     HICKORY RIDGE, AR 72347




JAMIE BROCKMEYER                         JAMIE FLORES                              JAMIE FREDERICK
ADDRESS ON FILE                          ADDRESS ON FILE                           5 CR 7290
                                                                                   WYNNE, AR 72396




JAMIE FREEMAN                            JAMIE FREEMAN                             JAMIE HARE
2004 VANDALIA                            ADDRESS ON FILE                           210 DERBY ST
COLLINSVILLE, IL 62234                                                             SALEM, MA 01970




JAMIE HIGGINBOTHAM                       JAMIE KUNZ                                JAMIE PRATER
1000 CRYSTAL BROOK WAY                   101 LAKEVIEW DR                           1910 OLD HIGHWAY 51 N
MONROE, GA 30655                         BELLEVILLE, IL 62223                      ANNA, IL 62906
JAMIE SAWYER              Case 20-10766-BLS
                                        JAMIE W Doc  6 Filed 04/07/20
                                                GUIN JR                 Page JAMIE
                                                                              890 of 1969
                                                                                   WOLLRAB
5 ASHBROOKE                              P.O. BOX 442                        1098 LEANNE DRIVE
TROY, IL 62294                           FAYETTEVILLE, TN 37334-0442         KNOXVILLE, IL 61448




JAMIE WOODS                              JAMIE WOOLARD CHANGE FUND           JAMIE WOOLARD
162 ROAD 989                             CUSTODIAN                           ADDRESS ON FILE
FYFFE, AL 35971                          310 SOUTH MCCASKEY ROAD
                                         WILLIAMSTON, NC 27892




JAMIE ZAMMIT                             JAMIE ZAVALA                        JAMIELOU, TRAJANO
2342 CUMBERLAND                          11605 S PRAIRIE 2                   3501 GREENBAY RD
TROY, MI 48085                           CHICAGO, IL 60643                   APT 106
                                                                             NORTH CHICAGO, IL 60064




JAMIESON, ELIZABETH                      JAMIESON, ELIZABETH A.              JAMILA GRIFFIN
ADDRESS ON FILE                          ADDRESS ON FILE                     2436 CASTLEWOOD DR
                                                                             AUGUSTA, GA 30904




JAMISON, AMANDA                          JAMISON, CHRISTIAN                  JAMISON, DIANA S.
1619 S. CAMPGROUND RD                    14803 KILPATRICK 2W                 9754 LAFAYETTE DR NW
CENTRALIA, IL 62801                      MIDLOTHIAN, IL 60445                MASSILLON, OH 44647




JAMISON, SHARON L.                       JAMISON, STEPHANIE C.               JAMMIE JOINER
1011 UNION AVENUE                        6573 W. FM 1606                     6592 NORTH HIGHLAND BLVD
CHICAGO HEIGHTS, IL 60411                IRA, TX 79527                       GRIFTON, NC 28530




JAMROZ, KATHERINE                        JAN ASHCRAFT                        JAN H BRYAN
67 VINTAGE PATH PLACE                    1023 ALCO DR                        5 INVERNESS ST W
SPRINGS, TX 77381                        COLLINSVILLE, IL 62234              AIKEN, SC 29803




JAN HUELSMAN                             JAN K GERRY                         JAN LEWIS
PETTY CASH CUSTODIAN                     1322 SERENITY RIDGE CT              980 OLIVE BRANCH RD
509 HAMACHER, SUITE 103                  MESQUITE, NV 89034                  MOUNDS, IL 62964
WATERLOO, IL 62298




JAN MONTRY                               JANA GRAVES                         JANA HART
ADDRESS ON FILE                          P.O. BOX 75                         ADDRESS ON FILE
                                         HELENA, AR 72342




JANAS, SUSANNE                           JANAYA RUFFIN                       JANCILAN, CECILIA
6319 S KOLIN AVENUE                      1610 LILY VALLEY DR                 ADDRESS ON FILE
CHICAGO, IL 60629                        LAWRENCEBURG, GA 30045
JANDURA, VERONICA R.     Case 20-10766-BLS     Doc 6 Filed
                                       JANE FALKENBERRY, MARY04/07/20   Page JANE
                                                                              891KRIEGER
                                                                                  of 1969
766 HILLSIDE AVE                        169 HALSO MILL RD                    3304 PLEASANT LAKE DR
ANTIOCH, IL 60002                       GREENVILLE, AL 36037-5524            TAMPA, FL 33618




JANE MCKINLEY                           JANE NOLT                            JANE SCHAFER
505 INDEPENDENT ST                      7275 BRETZ ST NW                     310 CEDAR ST N
GREENVILLE, AL 36037-1740               MASSILLON, OH 44646-0000             EAST CANTON, OH 44730




JANE TEAL                               JANE WOLFE                           JANE, YONTZ
8760 XWAY RD                            P.O.BOX 220                          225 THOMAS TERRACE
GIBSON, NC 28343                        JAMESVILLE, NC 27846-0220            EDWARDSVILLE, IL 62025




JANECZKO, EDWARD                        JANEL VOSS                           JANELL TRIPP
13436 E CIRCLE DRIVE                    ADDRESS ON FILE                      265 SWIFT LANE
UNIT 412                                                                     LOUISA, KY 41230
CRESTWOOD, IL 60418




JANELLE TRIPP, MARTHA                   JANET K BEAL                         JANET L ROBBINS
ADDRESS ON FILE                         210 SUMMERFIELD CR                   2624 GLEN FORA WAY
                                        GROVETOWN, GA 30813-2203             FORT SMITH, AR 72908




JANET L VANFLEET                        JANET LAZAR                          JANET M REESE
954 MULBERRY ST                         8031 DAYTONA ST NW                   ADDRESS ON FILE
GALESBURG, IL 61401                     MASSILLON, OH 44646




JANET MORRIS                            JANET P THOMAS                       JANET SEAGRAVES
1460 G STREET                           409 W DAY ST                         ADDRESS ON FILE
SPRINGFIELD, OR 97477                   FORREST CITY, AR 72335




JANET WILLIAMS                          JANET WRIGHT                         JANEY REES
54 BERMUDA LN                           ADDRESS ON FILE                      P.O. BOX 338
GRANITE CITY, IL 62040                                                       FORT BRIDGER, WY 82933




JANICE E SMITH                          JANICE GLASPELL                      JANICE GRIFFITH
528 TALL OAKS W                         3031 FEDERAL AVE                     817 CARTIER DR
MONROE, GA 30655                        ALLIANCE, OH 44601-4551              CANAL FULTON, OH 44614




JANICE HAGAN                            JANICE LOVEALL                       JANICE MEAD
1971 HWY 903 SOUTH                      89 SUGAR LANE                        27562 BAKE PINE RD
SNOW HILL, NC 28580                     BUENA VISTA, TN 38318                LOGAN, OH 43138
JANICE MEEKS             Case 20-10766-BLS     Doc 6
                                       JANICE MOODY         Filed 04/07/20   Page JANICE
                                                                                   892 ofOSMAN
                                                                                          1969
ADDRESS ON FILE                         110 MOODY LANE                            626 SADLER RD
                                        REAGAN, TN 38368                          ANNA, IL 62906




JANICE ROLLYSON                         JANICE SALYER                             JANICE SWANSON
1398 KNOX RD 1600 E                     36 STRAWBERRY COURT                       520 HACKBERRY RD
DAHINDA, IL 61428                       CATLETTSBURG, KY 41129                    GALESBURG, IL 61401




JANIE L. LABAUME                        JANIE MONTGOMERY                          JANINE TODD
ADDRESS ON FILE                         217 SUPERIOR AVE                          1854 STATE HWY 164
                                        DOVER, OH 44622                           KIRKWOOD, IL 61447




JANINE, JAMES                           JANITRON MAINTENANCE                      JANITRON
ADDRESS ON FILE                         12947 GRAVOIS SUITE B                     12947 GRAVOIS
                                        SUNSET HILLS, MO 63127                    SUITE B
                                                                                  SUNSET HILLS, MO 63127




JANKOVIC, CHRISTINA                     JANNA HATFIELD                            JANNETTI PUBLICATIONS INC
15807 ASPEN CT APT 301                  85 LANSDEN DR                             EAST HOLLY AVE BOX 56
OAK FOREST, IL 60452                    ATWOOD, TN 38220-2631                     PITMAN, NJ 08071-0056




JANNUSCH, CARL S.                       JANOSI, BETTY J.                          JANOW, BRITNEY M.
302 ANGELA CT                           1803 ELMWOOD DR                           ADDRESS ON FILE
VERNON HILLS, IL 60061                  LINDENHURST, IL 60046




JANS HOUSE OF FLOWERS                   JANS PHOTOGRAPHY                          JANSEN, GUGLIELMO G.
215 WEST VIENNA ST.                     P.O. BOX 71                               1950 VILLA NAPOLI LOOP W
ANNA, IL 62906                          VANCLEVE, KY 41385                        LAS CRUCES, NM 88011




JANSEN, GUGLIELMO G.                    JANSEN, STACEY J.                         JANSKY, JULIE A.
ADDRESS ON FILE                         ADDRESS ON FILE                           722 LISSON GROVE
                                                                                  NEW LENOX, IL 60451




JANSON, MICHAEL                         JANSSON, GINA L.                          JANUARY FRANK
6216 FAIRACRES ST SW                    2300 NORKENZIE RD APT 8                   1117 BATTLEY DAIRY RD
CANTON, OH 44706                        EUGENE, OR 97401                          ROCKINGHAM, NC 28379




JANUARY, MORGAN                         JANY, HEATHER                             JANY, MELVIN
ADDRESS ON FILE                         141 NORTH ORCHARD                         11235 SUBSTATION ROAD
                                        P.O. BOX 114                              STEELEVILLE, IL 62288
                                        HECKER, IL 62248
JANZ, DAVID R.           Case 20-10766-BLS
                                       JAPCZYK,Doc    6 Filed
                                                GENALINE    L. 04/07/20      Page JAPSAY
                                                                                   893 ofKATHLEEN
                                                                                          1969
3840 107TH ST                          348 CEDAR RIDGE DR                         ADDRESS ON FILE
PLEASANT PRAIRIE, WI 53158             LAKE VILLA, IL 60046




JAPSAY, KATHLEEN GRACE D.              JAQUEZ-MADRID, JORGE A                     JARA, EDWIN
ADDRESS ON FILE                        P O BOX 2102                               916 E VIRGINIA WAY
                                       DEMING, NM 88031                           BARSTOW, CA 92311




JARAMILLO, AMANDA                      JARAMILLO, ARIANA                          JARAMILLO, JENNIFER A.
189 CHERBOURG LN                       12827 HONORE                               ADDRESS ON FILE
STANSBURY, UT 84074                    BLUE ISLAND, IL 60406




JARAMILLO, JENNIFER                    JARAMILLO, JOSEPH D.                       JARAMILLO, KIMBERLY A.
ADDRESS ON FILE                        ADDRESS ON FILE                            831 LAS AMIGAS DRIVE
                                                                                  BARSTOW, CA 92311




JARAMILLO, LUCERO                      JARAMILLO, NASH A.                         JARAMILLO, SONYA
515 W. SPRUCE                          313 SANTA FE STREET                        ADDRESS ON FILE
DEMING, NM 88030                       LAS VEGAS, NM 87701




JARED, TREVIN                          JARIT SURGICAL INSTRUMENTS                 JARMAN, JENNIFER L.
8503 S IVY GABLE DRIVE                 9 SKYLINE DRIVE                            ADDRESS ON FILE
WEST JORDAN, UT 84081                  HAWTHORNE, NY 10532




JARMAN, TRACY                          JARMON, NAOMI                              JARNAGIN, MICHELE R.
9 MATTERHORN DR                        2205 N BUTRICK 202                         ADDRESS ON FILE
GLEN CARBON, IL 62034                  WAUKEGAN, IL 60087




JARON BUCKMAN                          JAROSLAV, KYNCL                            JARQUIN, RENE
422 MAIN ST                            800 GREENBAY RD                            1035 COLEMA RD APT 7207
MAQUON, IL 61458                       LAKE BLUFF, IL 60044                       SAN JOSE, CA 95123




JARRARD PHILLIPS CATE & HANCOCK INC    JARRARD PHILLIPS CATE & HANCOCK INC        JARRELL MECHANICAL CONTRACTORS
219 WARD CR                            7777 BONHOMME AVE, 1499                    4208 RIDER TRAIL NORTH
BRENTWOOD, TN 37027                    ST LOUIS, MO 63105                         EARTH CITY, MO 63045




JARRELL MECHANICAL                     JARRELL, AMBER                             JARRELL, ARTIE
4208 RIDER TRAIL NORTH                 ADDRESS ON FILE                            303 CEDAR HEIGHTS ROAD
EARTH CITY, MO 63045                                                              FORT GAY, WV 25514
JARRELL, BARBARA J.     Case 20-10766-BLS
                                      JARRELL,Doc  6 A.
                                               CRYSTAL  Filed 04/07/20   Page JARRELL,
                                                                               894 of 1969
                                                                                       DONALD K.
3070 CASTLE WEST CIR NW               1200 W OHIO                             ADDRESS ON FILE
MASSILLON, OH 44647                   MIDLAND, TX 79701




JARRELL, LANESSIA                      JARRELL, LOUIS                         JARRELL, MALLORY M.
ADDRESS ON FILE                        7433 RIVER BEND CIRCLE                 20 HOWELL RD
                                       NASHVILLE, TN 37221                    WARFIELD, KY 41267




JARRELL, NICOLE L.                     JARRELL, NORMA                         JARRETT, ANN
1510 MILLRACE ST. NW                   67 PRESTON GAP ROAD                    2337 WEST 120TH PL
MASSILLON, OH 44647                    TOMAHAWK, KY 41262                     BLUE ISLAND, IL 60406




JARRETT, BILLY R.                      JARRETT, CAROL                         JARRETT, CHRISTINA
1456 HIGHWAY 42                        1 PARKSIDE COURT UNIT 18               P O BOX 91
HICKORY RIDGE, AR 72347                VERNON HILLS, IL 60061                 HICKORY RIDGE, AR 72347




JARRETT, WILLIAM M.                    JARSAK, JULIE                          JARVIS WELDING
ADDRESS ON FILE                        3030 RED ROOSTER LANE SW               124 E PINE STREET
                                       DEMING, NM 88030                       CANTON, IL 61520




JARVIS, MARY K.                        JARVIS, MICHELLE M.                    JARVIS, WILLIAM
ADDRESS ON FILE                        ADDRESS ON FILE                        129 FLAT FRK
                                                                              OLIVE HILL, KY 41164




JASE PORTIZ                            JASMINE DONALD                         JASON A STUDLEY
ADDRESS ON FILE                        82 ASH STREET                          3137 WEST LAKE FOREST DR
                                       PARK FOREST, IL 60466                  AUGUSTA, GA 30909




JASON BARDELL                          JASON C. SMITH                         JASON DORRIS
326 W KNOX ST                          ADDRESS ON FILE                        15838 9 BLACKTOP
GALESBURG, IL 61401                                                           WEST FRANKFORT, IL 62896




JASON GODWIN                           JASON HAM, MD                          JASON JACKSON
1369 E DOGWOOD TR                      ADDRESS ON FILE                        5280 TRINITY LANE
GREENVILLE, AL 36037                                                          COLLINSVILLE, IL 62234




JASON KITCHEN                          JASON MCCOY                            JASON MCMULLAN
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE
JASON PLATZER              Case 20-10766-BLS
                                         JASON R Doc
                                                 ROE 6       Filed 04/07/20   Page JASON
                                                                                    895 of 1969
                                                                                         S ELLIS
1366 COUNTY RD 17                         526 N 1ST ST                             338 QUAIL RUN
GUNNISON, CO 81230                        MONMOUTH, IL 61462                       MESQUITE, NV 89027




JASON TAYLOR                              JASON WILKINS                            JASPER JACKSON
948 STATE HWY 116                         436 DEER RUN                             11736 S VINCENNES AVE
ROSEVILLE, IL 61473                       MOOR, IL 62067                           CHICAGO, IL 60643-4913




JASPER MEMORIAL HOSPITAL                  JASPER-WAYMIRE, DAWN                     JASSO, VICENTE S.
898 COLLEGE STREET                        2 DEER TRAIL DR.                         324 GREENVIEW DR
MONTICELLO, GA 31064-1258                 COLLINSVILLE, IL 62234                   PARK CITY, IL 60085




JATTA BINN MINIRATOU MD                   JAUNETTE STAHL                           JAUREGUI, EDWINA M.
2710 CRYSTAL WAY                          ADDRESS ON FILE                          ADDRESS ON FILE
CRYSTAL LAKE, IL 60012




JAUREGUI, MICHELLE C.                     JAVID-STAHL, IRINA V.                    JAVIER RUIZ
52 LA HACIENDA ST.                        ADDRESS ON FILE                          ADDRESS ON FILE
WATSONVILLE, CA 95076




JAVONER BROWN                             JAWED, REBECCA                           JAWOROWSKI, LAURA
ADDRESS ON FILE                           1237 DARTMOUTH ROAD                      20134 W WESTPORT DR
                                          FLOSSMOOR, IL 60422                      FRANKFORT, IL 60423




JAY A. BURKE, JR.                         JAY PICKETT, MD                          JAYARA, EMILY L.
27584 RIVER REACH DRIVE                   6 SHADY OAK LANE                         ADDRESS ON FILE
BONITA SPRINGS, FL 34134                  WATERLOO, IL 62298




JAYDRA WOODS                              JAYLYNN NUNN                             JAYMIE LANG
470 R0SS CAMPGROUND RD                    12100 HIDDEN VALLEY                      27 VALVERDE RD
CHURCH HILL, TN 37642                     DEMING, NM 88030                         BIG SPRING, TX 79720




JAYNA COWSERT, PA-C                       JB GRAPHICS AND SIGN CO.                 JB GRAPHICS AND SIGN CO.
52 STACEY RD                              JAMIE BOUDREAU                           JAMIE BOUDREAU
ELIZABETHTOWN, IL 62931                   204 S MAIN ST                            2105 GRACE ST
                                          BIG SPRING, TX 79720                     BIG SPRING, TX 79720




JC JETS                                   JC STAYTON                               JC STUDIOS VIDEO PRODUCTION
MT. VERNON, IL 62864                      431 DEVILLA                              155 BANDY AVE
                                          HELENA, AR 72390                         GALESBURG, IL 61401
JCB LABORATORIES, LLC     Case 20-10766-BLS     Doc
                                        JCIL DEAF     6 Filed 04/07/20
                                                  & HARD-OF-HEARING SERVICES Page JCS
                                                                                   896JOURNALISM
                                                                                        of 1969 CLASS
8710 E 34TH ST NORTH                      23 FEDERAL DRIVE                       ATTN: JESSICA BOWLING
WICHITA, KS 67226                         JACKSON, TN 38301                      940 HIGHLAND AVE.
                                                                                 JACKSON, KY 41339-0000




JD BULLINGTON GOVT RELATIONS LLC          JD STREETT & COMPANY, INC              JDR CONSULTING LLC
P.O. BOX 9534                             144 WELDON PARKWAY                     3175 TROON DR
SANTA FE, NM 87504-9534                   MARYLAND HEIGHTS, MO 63043             CENTER VALLEY, PA 18034




JEAN A JOHNSON                            JEAN E THORNTON                        JEAN RILEY
575 VIVENNE DR                            530 TRELKE DR                          220 N PLEASANT AVE
WATSONVILLE, CA 95076                     CANAL FULTON, OH 44614                 GALESBURG, IL 60401




JEAN YOUNG                                JEANETTE REESE                         JEANNA GIBBS
2676 EAGLE WAY                            11773 SINCLAIR ST SW                   ADDRESS ON FILE
APT 7                                     MASSILLON, OH 44647
HIGHLAND, IL 62249




JEANNA MORRISON                           JEANNE CAMPAGNA                        JEANNE HESS BAYER
841 PINE TREE RD                          910 CAYUGA ST                          2427 CROWN ST EXT NW
ABINGDON, IL 61410                        SANTA CRUZ, CA 95062                   DOVER, OH 44622




JEANNETTE JOHNSON TRUST                   JEANNETTE TURNER                       JEANNIE A JACKSON
C/O JACQUELINE AYCOCK                     1361 NEW HOPE CHURCH RD                1059 TAYLOR ESTATES RD
1334 NORTH GLENWOOD DR                    DAVISBORO, GA 31018                    WILLIAMSTON, NC 27892
COLUMBIA, IL 62236-1112




JEANNIE CHEATHAM                          JEANNIE STAMPER                        JEDLICKA, JAMES
79 WEST 156TH ST                          P.O. BOX 507                           3525 INNSBRUCK LN
HARVEY, IL 60426                          BULAN, KY 41722                        CRETE, IL 60417




JEDMED INSTRUMENT CO                      JEDMED INSTRUMENT CO                   JEFF CAGLE
5416 JEDMED COURT                         5416 JEDMED COURT                      468 N BROAD ST
ST LOUIS, MO 63129-2221                   ST. LOUIS, MO 63129-2221               LEXINGTON, TN 38351-1678




JEFF CO CHAMBER OF COMMERCE               JEFF COUNTY FIRE PROTECTION DISTRICT   JEFF COUNTY SHERIFFS OFFICE
200 POTOMAC BLVD.                         1600 S. 10TH STREET                    911 CASEY AVENUE
MT VERNON, IL 62864                       MT. VERNON, IL 62864                   MT. VERNON, IL 62864




JEFF DAVIS COUNTY MOUNTAIN DIS            JEFF NOBLE                             JEFF ZUNKER SPECIALTY PRODUCTS INC
ATTN: ACCOUNTS RECEIVABLE                 65 BLACKBERRY DRIVE                    ASTEX ENVIRONMENTAL SERVICES
P.O. BOX 1097                             JACKSON, KY 41339                      139 BRANIFF DR
FORT DAVIS, TX 79734                                                             SAN ANTONIO, TX 78216
JEFFCOTT, MACKENZIE        Case 20-10766-BLS     Doc
                                         JEFFERIES    6 Filed
                                                   FINANCE        04/07/20
                                                           LLC - FUND MANAGERPage JEFFERIES
                                                                                   897 of 1969
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ADDRESS ON FILE                             JEFFERIES LEVERAGED CREDIT PRODUCTS    1034 PINELOG CHURCH RD
                                                                                   BRASSTOWN, NC 28902




JEFFERIES, GLADYS                           JEFFERS, CARROLL L.                    JEFFERS, JACOB
3725 W 123RD PL                             5021 14TH ST SW                        9796 MICHAEL RD
ALSIP, IL 60803                             CANTON, OH 44710                       COULTERVILLE, IL 62237-1800




JEFFERS, MARY                               JEFFERSON CO CHAMBER OF COMMERCE       JEFFERSON CO DAILY NEWS
124 CR 133                                  200 POTOMAC BLVD.                      P.O. BOX 728
HICKORY RIDGE, AR 72347                     SUITE 4                                MT. VERNON, IL 62864
                                            MT. VERNON, IL 62864




JEFFERSON CO DEVELOPMENT CORP               JEFFERSON CO HISTORICAL SOCIETY        JEFFERSON CO.SPORTS AUTHORITY
200 POTOMAC BLVD                            1411 NORTH 27TH STREET                 P.O. BOX 2184
SUITE 3                                     MT. VERNON, IL 62864                   MT VERNON, IL 62864
MT. VERNON, IL 62864




JEFFERSON COUNTY CASA                       JEFFERSON COUNTY CEO                   JEFFERSON COUNTY COLLECTOR
612 N. 12TH STREET                          468 NORTH KEN GRAY PARKWAY             100 SOUTH 10TH STREET
MT. VERNON, IL 62864                        INA, IL 62846-0000                     ROOM 100
                                                                                   MT. VERNON, IL 62864




JEFFERSON COUNTY CORONER                    JEFFERSON COUNTY HEALTH DEPARTMENT     JEFFERSON COUNTY TRESURER
15170 E GIBSON RD                           1 DOCTORS PARK RD
MT VERNON, IL 62864                         SUITE F
                                            MT VERNON, IL 62864




JEFFERSON FIRE PROTECTION DISTRICT          JEFFERSON, LATISHA                     JEFFERSON, MURRIEL E.
1600 W 10TH ST                              ADDRESS ON FILE                        19115 GARDEN VALLEY WAY
MT VERNON, IL 62864-0000                                                           SALINAS, CA 93908




JEFFERY BAKER                               JEFFERY JAMES                          JEFFERY OLSON
P.O. BOX 127                                ADDRESS ON FILE                        360 S FARNHAM ST
MILLEDGEVILLE, TN 38359                                                            GALESBURG, IL 61401




JEFFERY S. DEACON, D.P.M                    JEFFERY, JASMIN I.                     JEFFERY, SEPHANIE
ADDRESS ON FILE                             ADDRESS ON FILE                        2181 GARNET AVE
                                                                                   BARSTOW RD., CA 92311




JEFFREY A HEIM                              JEFFREY ADAMS                          JEFFREY ARENDELL
387 BUCHS HOLLOW RD                         ADDRESS ON FILE                        6713 STONERIDGE ESTATES
SUNBURY, PA 17801-7513                                                             COLUMBIA, IL 62236-0000
JEFFREY C HARRIS         Case 20-10766-BLS
                                       JEFFREYDoc 6 Filed 04/07/20
                                              CONWAY                 Page JEFFREY
                                                                           898 of D1969
                                                                                    WRIGHT
400 GOLDEN ROD ST                      97 CLOVER HILL DR                  412 BELGRADE RD
MESQUITE, NV 89027                     GREENVILLE, AL 36037-4237          GROVETOWN, GA 30813-3312




JEFFREY KELLER                         JEFFREY MICHAEL PAULSEN            JEFFREY MORELAND
484 REED AVE                           ADDRESS ON FILE                    135 VICTORY DR
AKRON, OH 44301                                                           MONROE, GA 30655




JEFFREY MUELLER                        JEFFREY P. CULLEN                  JEFFREY SWANN
2345 KIEM RD                           839 STACEY DR                      4789 HALSO MILL RD
NEW ATHENS, IL 62264                   LENOX, IL 60451                    GREENVILLE, AL 36037




JEFFREY TAD GOSS                       JEFFREY WEAVER                     JEFFREY ZINSER
3195 EAGLE WATCH DRIVE                 ADDRESS ON FILE                    206 TOWLER DR
WOODSTOCK, GA 30189-6851                                                  LOGANVILLE, GA 30052




JEFFREY, AMERETTE M.                   JEFFREYS PLUMBING & HEATING        JEFFRIES, JAYNE M.
2125 MARGARITA DR SE                   P O BOX 568                        7320 KINDLEWOOD DR
RIO RANCHO, NM 87124                   LAS VEGAS, NM 87701                EDWARDSVILLE, IL 62025




JEFFRIES, MARGARET                     JEFFRIES, SHERMIKA                 JEFFRIES, SUSAN
P.O. BOX 48                            1100 APACHE DRIVE APT 1            1420 APPLEGROVE ST NE
EDMONDSON, AR 72332                    COLLINSVILLE, IL 62234             CANTON, OH 44721




JEFFS LOCK AND KEY                     JELKS EMILIA AGUILOS               JELKS, ANGELA
877 MAIN STREET WEST                   1732 ELIZABETH AVE                 303 SOUTH 7TH ST B
RAINSVILLE, AL 35986                   NORTH CHICAGO, IL 60064            GADSDEN, AL 35903




JELKS, RONNIE                          JELLEN, PAMELA S.                  JELOVICH, BRITTANY
314 COUNTY ROAD 276                    2083 RT. 166                       104 AUTUMN CT
COLLINSVILLE, AL 35961                 CREAL SPRINGS, IL 62922            ROCKY MOUNT, NC 27804




JEMISON BESSIE M                       JENA MORGAN                        JENCOURT ENVIRONMENTAL SERVICES LLC
11363 S LAFLIN                         1205 MCCLUSKIE ST                  ROTO-ROOTER EUGENE BEND OREGON
CHICAGO, IL 60643                      MARION, IL 62959                   P.O. BOX 42237
                                                                          EUGENE, OR 97404




JENDRASZAK, KATI L.                    JENIFER CALL                       JENKINS JR, ROBERT DAVID
4277 N 630 W                           1520 W HIGHLAND AVE                900 COLUMBIA AVE
LA PORTE, IN 46350                     WOOSTER, OH 44691                  FRANKLIN POLICE DEPARTMENT
                                                                          FRANKLIN, TN 37064
JENKINS SANITATION        Case 20-10766-BLS
                                        JENKINS,Doc 6 JRFiled 04/07/20
                                                ALFRED                        Page JENKINS,
                                                                                    899 of ANGELIENA
                                                                                            1969     D.
P.O. BOX 922                             1525 14 ST SE                             1709 CANYON RD
CAMPTON, KY 41301                        MASSILLON, AL 44646                       LAKE POINT, UT 84074




JENKINS, BOTAKOZ                         JENKINS, CATHY T.                         JENKINS, DARINDA S.
ADDRESS ON FILE                          P.O. BOX 1796                             6486 LYNLEIGH CIR NW
                                         PRINEVILLE, OR 97754                      CANTON, OH 44708




JENKINS, DONALD S.                       JENKINS, DUSTIN M.                        JENKINS, ESTHER
ADDRESS ON FILE                          ADDRESS ON FILE                           175 HOSPITAL DRIVE
                                                                                   MCKENZIE, TN 38201




JENKINS, IVY                             JENKINS, JASON                            JENKINS, JAYDEN
P.O. BOX 133                             5 HILLCREST CIRCLE                        127 LAKEVIEW
FALCON, KY 41426                         PARIS, TN 38242                           STANSBURY PARK, UT 84074




JENKINS, LORI A.                         JENKINS, NEOMIA                           JENKINS, NICOLE M.
1821 BRAMBLEBUSH ST NW                   ADDRESS ON FILE                           ADDRESS ON FILE
MASSILLON, OH 44646




JENKINS, NICOLE                          JENKINS, ROBERT E.                        JENKINS, SHAKIRA P.
ADDRESS ON FILE                          6486 LYNLEIGH CIRCLE NW                   2624 GABRIEL AVE
                                         CANTON, OH 44708                          ZION, IL 60099




JENKINS, SHAUNA D.                       JENKINS, SHERRY L.                        JENKINS, SUZANNE R.
2609 WASSON ROAD APT.59                  1121 HAAS ROAD                            4717 W ZIG ZAG RD
BIG SPRING, TX 79720                     TRENTON, IL 62293                         SOUTH JORDAN, UT 84009




JENNA SISSOM CHITWOOD                    JENNESS, ARLENE G.                        JENNIE DUNCAN
3908 LYNDALE DRIVE                       22 TRISHS WAY                             93 KANDALA CV
FORT PAYNE, AL 35968                     BLAIRSVILLE, GA 30512                     LEXINGTON, TN 38351




JENNIE STUART MEDICAL CENTER             JENNIE STUART MEDICAL CENTER, INC.        JENNIFER A WITZEL
P.O. BOX 2400                            D/B/A JENNIE STUART MEDICAL CENTER        16245 N MCCAULEY LN
320 W. 18TH STREET                       320 W. 18TH STREET                        MT VERNON, IL 62864
HOPKINSVILLE, KY 42241-2400              HOPKINSVILLE, KY 42240




JENNIFER ATKINSON                        JENNIFER BABB                             JENNIFER BAKER
ADDRESS ON FILE                          ADDRESS ON FILE                           P.O. BOX 256
                                                                                   LOST CREEK, KY 41348
JENNIFER BUETTNER         Case 20-10766-BLS
                                        JENNIFERDoc 6 Filed 04/07/20
                                                 COLEMAN               Page JENNIFER
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                                                                                     COLLINS
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




JENNIFER D. CARTER                      JENNIFER DICK                       JENNIFER DOMINGUEZ
305 SOUTH ORANGE STREET                 ADDRESS ON FILE                     ADDRESS ON FILE
JONESBORO, IL 62952




JENNIFER FARROW                         JENNIFER FREEMAN                    JENNIFER FROEHLICH
2105 SOUTHLAKE PKWY                     429 CHALET DR                       ADDRESS ON FILE
AUGUSTA, GA 30906-9149                  MESQUITE, NV 89027




JENNIFER GREGSON                        JENNIFER HUNTER                     JENNIFER JARMAN
ADDRESS ON FILE                         102 GEORGE STREET                   ADDRESS ON FILE
                                        ANNA, IL 62906




JENNIFER L LEISHMAN                     JENNIFER LA BOMBARD                 JENNIFER LAIR
P.O. BOX 1480                           1005 PEACH TREE CIRCLE              402 W HUNT AVE
MESQUITE, NV 89024-1480                 ALPINE, TX 79830                    ALEXIS, IL 61412




JENNIFER MARTIN                         JENNIFER MCCULLEY                   JENNIFER N BLADES
ADDRESS ON FILE                         23780 HWY 441 SOUTH                 5391 KERLEY RD
                                        MILLEDGEVILLE, GA 31061             WEST FRANKFORT, IL 62896




JENNIFER NAPPIER                        JENNIFER PETESON                    JENNIFER RICHARDSON
ADDRESS ON FILE                         4816 N 450 AVE                      126 STABLE DRIVE
                                        ALPHA, IL 61413                     CARTERVILLE, IL 62918




JENNIFER ROACH                          JENNIFER ROMERO                     JENNIFER SCHNEIDER
ADDRESS ON FILE                         C/O AVRH                            ADDRESS ON FILE
                                        104 LEGION DR
                                        LAS VEGAS, NM 87701




JENNIFER SCHREIBER                      JENNIFER SKEENS                     JENNIFER SMITH
117 S DOUGLAS                           ADDRESS ON FILE                     ADDRESS ON FILE
ST JACOB, IL 62281




JENNIFER SPIVEY                         JENNIFER TIDWELL                    JENNIFER VARNADORE
419 MOUNT OLIVE RD                      ADDRESS ON FILE                     10050 WINDING RIDGE DR
WINDSOR, NC 27983                                                           SHREVEPORT, LA 71106
JENNIFER VELTMAN           Case 20-10766-BLS
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                                                  WIERSCHKE                  Page JENNIFER
                                                                                   901 of 1969
                                                                                           WOODBURY
ADDRESS ON FILE                           ADDRESS ON FILE                         24 LOCUST ST APT 2A
                                                                                  MADISON, ME 04950-1405




JENNINGS ANNIE M                          JENNINGS, ALANNA M.                     JENNINGS, BARBARA J.
2485 COUNTY RD 921                        ADDRESS ON FILE                         9416 BYRNE DR.
GAYLESVILLE, AL 35973-2449                                                        FOX RIVER GROVE, IL 60021




JENNINGS, CHAD                            JENNINGS, CIERRA                        JENNINGS, CIERRA
101 S. OLIN STREET                        1228 COUNTY ROAD 89                     ADDRESS ON FILE
ALTONA, IL 61414                          FORT PAYNE, AL 35967




JENNINGS, COREY S.                        JENNINGS, DONAVEN                       JENNINGS, OLIVIA ELIZABET
1632 CENTRAL AVE                          35603 N POPLAR AVE                      1079 COUNTY RD 474
EAST ST. LOUIS, IL 62207                  INGLESIDE, IL 60041                     FORT PAYNE, AL 35967




JENNINGS, PERRY                           JENNINGS, TIFFENY A.                    JENNINGS, TIFFENY
14438 SANGAMON                            ADDRESS ON FILE                         ADDRESS ON FILE
HARVEY, IL 60426




JENNINGS, VICKY                           JENNY DEERMAN                           JENNY L SHEPHERD
4414 S LAKE RD                            ADDRESS ON FILE                         1045 BERMUDA DR
PINCKNEYVILLE, IL 62274                                                           LOUISVILLE, GA 30434-5231




JENRETTE, RACHEL E.                       JENSEN & SULLIVAN, LLC                  JENSEN, BAILEY B.
ADDRESS ON FILE                           BONNEVILLE BILLING & COLLECTIONS        ADDRESS ON FILE
                                          P.O. BOX 150612
                                          OGDEN, UT 84415




JENSEN, COY K.                            JENSEN, DAN                             JENSEN, DANE
686 N PARKWAY AVE                         2248 20TH ST                            ADDRESS ON FILE
TOOELE, UT 84074                          SPRINGFIELD, OR 97477-1701




JENSEN, DAVID J.                          JENSEN, DELILAH                         JENSEN, JACQUELINE M.
ADDRESS ON FILE                           ADDRESS ON FILE                         39633 LYNSEL CT
                                                                                  BEACH PARK, IL 60083




JENSEN, JAMES D.                          JENSEN, JESSICA                         JENSEN, MARCIA J.
808 19TH ST                               1778 SANTA VICTORIA AVE                 449 WHEAT DR.
SPRINGFIELD, OR 97477-0000                WATSONVILLE, CA 95076                   STANSBURY PARK, UT 84074
JENSEN, PHILLIP          Case 20-10766-BLS
                                       JENSEN, Doc  6 Filed 04/07/20
                                               RICHARD                 Page JENSEN,
                                                                             902 ofRICHARD
                                                                                    1969
8612 CORNELL AVE                        1070 BELLE PLAINE ST                40334 N GOLDENROD
ODESSA, TX 79765                        GURNEE, IL 60031                    WADSWORTH, IL 60083




JENSEN, SUSAN L.                        JENSEN, TAMARA                      JENSEN, TRISHA L.
724 POINT TRAIL                         1608 HOSMER LANE                    ADDRESS ON FILE
BLAIRSVILLE, GA 30512                   CREST HILL, IL 60403




JENSON, KATELYNN A.                     JEPPESEN SANDERSON INC              JEPPESEN, CORNELIA
ADDRESS ON FILE                         P.O. BOX 840864                     P.O. BOX 541
                                        DALLAS, TX 75284-0864               POWERS, OR 97466-0541




JEPPESEN, DANNI                         JERALDS, BRETT                      JERALDS, TOMMY L.
ADDRESS ON FILE                         19664 CRAB ORCHARD RD               16810 S 90TH AVE
                                        MARION, IL 62959                    ORLAND HILLS, IL 60487




JERAMIE ROSALES                         JEREB, SUSAN                        JEREMIAH DOBYNES
3213 ORCHARD MANOR CIRCLE               ADDRESS ON FILE                     1528 E 146TH ST
LOUISVILLE, KY 40220                                                        DOLTON, IL 60419




JEREMY BLADES                           JEREMY CARRIER, MD                  JEREMY JOHNSON
5391 KERLEY RD                          702 MEYER CT                        ADDRESS ON FILE
WEST FRANKFORT, IL 62896                KNOXVILLE, IL 61448




JEREMY KIRK                             JEREMY KLEIN                        JEREMY LANGLEY
2408 NASHFORK ROAD                      1192 NORTH HWY 3                    ADDRESS ON FILE
LANGLEY, KY 41645-0000                  LOUISA, KY 41230




JEREMY P DAVIS - CEO                    JEREOS, LUCILLE A.                  JERI CANDOR CONSULTING LLC
EVANSTON REGIONAL HOSPITAL              ADDRESS ON FILE                     1685 140TH ST
190 ARROWHEAD DR                                                            CAMERON, IL 61423
EVANSTON, WY 82930




JERNEGAN, CHARLENE M.                   JERNIGAN, SANDRA W.                 JEROME VIGIL
18735 SPRINGFIELD AVE                   341 WILDFLOWER TRAIL                815 UNION GROVE RD
FLOSSMOOR, IL 60422                     SUCHES, GA 30572                    HARRISBURG, IL 62946




JEROME, MIROMYLIN M.                    JEROMOS, ELIZABETH                  JERONIMO G, JUAREZ
ADDRESS ON FILE                         1343 EASTOVER CR                    P.O. BOX 2223
                                        CANAL FULTON, OH 44614-8215         PRESIDIO, TX 79845
JEROUSEK, LAURA           Case 20-10766-BLS
                                        JEROZAL,Doc 6 Filed
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                                                                             903 ofSAMMONS
                                                                                    1969
1525 27TH ST APT 210                    ADDRESS ON FILE                     387 KINGS CANYON RD
ZION, IL 60099                                                              GALESBURG, IL 61401




JERRY A MCKINNEY                        JERRY DAY                           JERRY HENLEY
7216 MAGNOLIA HILL                      730 EDGEWOOD AVE SW                 65 PALMER LN
NASHVILLE, TN 37221                     MASSILLON, OH 44646                 LEXINGTON, TN 38351




JERRY HUFF                              JERRY P YOUNT                       JERRY PAINTER
1644 INDIANA DR                         110 BRIARCLIFF ST                   215 N 10TH ST
GALESBURG, IL 61401                     AIKEN, SC 29803-7698                MONMOUTH, IL 61462




JERRYS FLOWER SHOPPE                    JERRYS HOME IMPROVEMENT             JERVIS, LARRY M.
216 W FREEMAN ST                        P.O. BOX 2611                       ADDRESS ON FILE
CARBONDALE, IL 62901                    EUGENE, OR 97402-0000




JESIEL, KENNETH                         JESS PATRICKS FLOORS & MORE         JESSE BAKER
1068 TIMBER LN                          553 1/2 W N ST                      ADDRESS ON FILE
MESQUITE, NV 89034-1115                 SPRINGFIELD, OR 97477




JESSE E TADLOCK                         JESSE OLIVER                        JESSE OLIVER
4780 BUTLER MILL RD                     805 EAST MTN. VIEW ST               ADDRESS ON FILE
MONTGOMERY, AL 36105                    BARSTOW, CA 92311




JESSE S JOHNSTON                        JESSE WAITE                         JESSE, DONNA
1106 SPANGLER RD NE                     ADDRESS ON FILE                     2015 RAVEN WOOD DR
CANTON, OH 44714-1647                                                       COLLINSVILLE, IL 62234




JESSE, JAMES J.                         JESSICA BARTOLONE                   JESSICA BURGESS
6982 ALSTON CT                          ADDRESS ON FILE                     329 BERNOWER AVE SW
EDWARDSVILLE, IL 62025                                                      MASSILLON, OH 44646-3949




JESSICA CANNON                          JESSICA COLLINS                     JESSICA HOWARD
ADDRESS ON FILE                         709 E MAIN ST                       181 DRY MEADOW DRIVE
                                        KNOXVILLE, IL 61448                 ADAMS, KY 41201




JESSICA HOWARD                          JESSICA J KUKUK                     JESSICA L BATTISTA
ADDRESS ON FILE                         7917 STUHLDREHER ST NW              751 MICHELLE CT
                                        MASSILLON, OH 44646-1967            GROVETOWN, GA 30813
JESSICA L FITTS        Case 20-10766-BLS
                                     JESSICA Doc  6 Filed 04/07/20
                                             M CISSELL               Page JESSICA
                                                                           904 ofMERCHANT
                                                                                  1969
108 S 4TH ST                          2165 SFC 340                        275 OLD BLOOMFIELD RD
MORO, AR 72368                        FORREST CITY, AR 72335              VIENNA, IL 62995




JESSICA MERRICK                       JESSICA MULL                        JESSICA NICHOLAS
246 CARROLL LAKE RD                   13799 FREY ACRES                    901 MT PLEASANT RD
MCKENZIE, TN 38201                    HIGHLAND, IL 62249                  GEORGIANA, AL 36033




JESSICA PETTUS                        JESSICA POSEY                       JESSICA RODRIGUEZ VARGAS
ADDRESS ON FILE                       388 TAYLOR STREET EASTE             ADDRESS ON FILE
                                      FYFFE, AL 35971




JESSICA SCOTT                         JESSICA SOMMERS                     JESSICA TAYLOR
ADDRESS ON FILE                       1460 G STREET                       ADDRESS ON FILE
                                      SPRINGFIELD, OR 97477




JESSICA WATSON                        JESSICA WEGESCHEIDE                 JESSICA WHITMAN
1360 JOHNNY GRIFFIN RD                ADDRESS ON FILE                     316 E FRANKLIN AVE
ROBERSONVILLE, NC 27871-8985                                              MONMOUTH, IL 61462




JESSICA YOUNGQUIST                    JESSICA, RICHARD                    JESSIE LEBLANC
1535 165TH AVE                        179 RIDGEVIEW TRAIL                 121 E 5TH ST
CAMERON, IL 61423                     ELLIJAY, GA 30536                   MONROE, GA 30655




JESSIE WILSON                         JEST MURDER MYSTERY CO              JESUS M MARTINEZ
772 US 150 E                          200 WEST 3RD ST SUITE 401           ADDRESS ON FILE
GALESBURG, IL 61401                   ALTON, IL 62002




JET SPRAYFOAM INSULATION              JETER, MARY A.                      JETRIGHT AEROSPACE FINANCE LLC
JOHN TUCKER                           ADDRESS ON FILE                     801 HANGER LN
P.O. BOX 1305                                                             HANGAR 9
LOUISA, KY 41230                                                          NASHVILLE, TN 37217




JETRIGHT AIR MANAGEMENT LLC           JETT DONNIE                         JETT, CARLESS A.
P.O. BOX 17305                        7538 BEATTYVILLE RD                 7538 BEATTYVILLE ROAD
NASHVILLE, TN 37217                   JACKSON, KY 41339                   JACKSON, KY 41339




JETT, HEIDI                           JETT, ROBERT                        JETT, STEPHANIE
7165 OAKRIDGE RD                      155 DOVER CHAPEL TER                ADDRESS ON FILE
APTOS, CA 95003                       ELLIJAY, GA 30540
JETTA F PEEL              Case 20-10766-BLS
                                        JETTON, Doc
                                                MARK 6      Filed 04/07/20   Page JEUNE
                                                                                   905 of 1969 NICOLA
                                                                                        TERRELL,
513 OLIVE ST                             157678 E BLACKWARD                       402 HIRSCH AVE
GALESBURG, IL 61401                      MT VERNON, IL 62864                      CALUMET CITY, IL 60409




JEVNE, JESSICA                           JEWEL/OSCO                               JEWELL, JESSICA
ADDRESS ON FILE                          922 N. GREENBAY RD                       209 FRANK ST
                                         WAUKEGAN, IL 60085                       PAINTSVILLE, KY 41240




JEWLIE LABADIE                           JIANG, SONG MD                           JIAO, GERARDO P.
900 W ASH                                115 N 2ND                                4144 CREST ROAD
DEMING, NM 88030                         APT 204                                  PEBBLE BEACH, CA 93953
                                         MINNEAPOLIS, MN 55401-0000




JIL CARRIE HOWARD                        JILES PAMELA M                           JILL ADAMSON
232 PINCH GUT ROAD                       310 PITNEY LN UNIT 45                    ADDRESS ON FILE
CAMDEN, NC 27921                         JUNCTION CITY, OR 97448




JILL C OTWELL                            JILL M JOHANNING                         JILL UJCICH
513 SADDLE RIDGE DR                      1867 VERMONT AVE SE                      1141 BRAMBLE RD SW
BETHELEM, GA 30620                       MASSILLON, OH 44646                      CARROLLTON, OH 44615




JILL VALLEROY                            JILLIAN CANTRELL                         JILLIAN HENDERSON
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




JIM BISHOP - ITV                         JIM BRIDGERS                             JIM CARTER TIRE SERVICE
210 AMANDA DR                            1544 BRILEY ROAD                         508 EAST VIENNA
BELL BUCKLE, TN 37020                    ROBERSONVILLE, NC 27871                  ANNA, IL 62906




JIM COLEMAN, LTD                         JIM GILBERTSON                           JIMCO ELECTRICAL CONTRACTING, INC
267 EAST HELEN ROAD                      175 WESTVIEW DR                          1100 AIRWAY ROAD
PALATINE, IL 60067-6954                  KNOXVILLE, IL 61448                      LEBANON, OR 97355




JIMENEZ FARRAH BELLE                     JIMENEZ, ANABEL                          JIMENEZ, CECELIA
11119 WHITTNEY CHASE DR                  838 JACKRABBIT ST                        4395 CREOSOTE RD SE
RIVERVIEW, FL 33579                      MESQUITE, NV 89027                       DEMING, NM 88030




JIMENEZ, HOLLY                           JIMENEZ, IRMA A.                         JIMENEZ, JENNIFER A.
ADDRESS ON FILE                          943 ACORN WAY                            ADDRESS ON FILE
                                         WATSONVILLE, CA 95076
JIMENEZ, JOANN           Case 20-10766-BLS
                                       JIMENEZ,Doc
                                                 LIDIA 6
                                                       Y. Filed 04/07/20   Page JIMENEZ,
                                                                                 906 of ROXANA
                                                                                         1969
1961 MAIN STREET PMB 363               46 VILLA ST                              ADDRESS ON FILE
WATSONVILLE, CA 95076                  WATSONVILLE, CA 95076




JIMENEZ, VALERIA                        JIMENEZ, XAVIER                         JIMERSON, BRENDA
18280 MONTE VISTA RD                    ADDRESS ON FILE                         325 W 109TH ST
DEMING, NM 88030                                                                CHICAGO, IL 60628




JIMMA L DARNELL                         JIMMY FISH                              JIMMY SMILEY
619 VIRGINIA CR                         E9415 BAYHILL COURT                     3006 AGEWOOD PARK
FORREST CITY, AR 72335                  WISCONSIN DELLS, WI 53965-0000          MARION, IL 62959




JIMS TANK SERVICE, LLC                  JINKERSON, JOANN                        JJ & SON EXCAVATION
P.O. BOX 281431                         102 LINCOLN DRIVE                       ATTN: MARK DOMINGUEZ
MEMPHIS, TN 38168                       WATERLOO, IL 62298                      P.O. BOX 570
                                                                                LAS VEGAS, NM 87701




JKG ELECTRICAL                          JLL, LLC                                JLW INSTRUMENTS, INC
2157 DON STREET                         MARTINI JOES                            14 N PEORIA ST
SPRINGFIELD, OR 97477                   102 E MAIN ST                           STE B-101
                                        MARION, IL 62959                        CHICAGO, IL 60607-2755




JM FIBER SALES                          JM SPECIALTY PARTS, INC                 JMAC SUPPLY CORP
405 BRONCO DR                           11689 SORRENTO VALLEY ROAD STE Q        188 ATLANTIC AVE
BLOOMINGTON, IL 61704                   SAN DEIGO, CA 92121                     GARDEN CITY PARK, NY 27081-9445




JMK ELECTRIC CO. LLC                    JMK ELECTRONICS                         JMO MOBILE MODULAR LLC
P.O. BOX 554                            P.O.BOX 554                             P.O. BOX 547
GRAYSON, KY 41143                       GRAYSON, KY 41143                       MARION, IL 62959




JO A RAULERSON                          JO MILER                                JO, ALEX
P.O. BOX 362                            375 SHADY HILL REAGAN RD                7710 DEMPSTER ST UNIT 309
CALDWELL, AR 72322                      REAGAN, TN 38368                        MORTON GROVE, IL 60053




JOACHIM-GEORGES, PATRICIA               JOACHIN, EVA R.                         JOAN JONES
229 BELLA VISTA TERRACE                 1065 CLEMENTINA AVE.                    4291 PERDY RD
MCDONOUGH, GA 30253                     SEASIDE, CA 93955                       CHESTER, IL 62233




JOAN MCADAMS                            JOAN WHITE-WAGONER                      JOAN ZICKUS
645 MCADAMS RD                          ADDRESS ON FILE                         ADDRESS ON FILE
HURON, TN 38345
JOANIE JEANNETTE         Case 20-10766-BLS      Doc 6 Filed 04/07/20
                                       JOANN DANCZAK                   Page JOANN
                                                                             907 of 1969
                                                                                  HARGIS
8207 POPLAR CREEK RD                   12512 S. KEELER AVE                  103 ROGERS AVE
NASHVILLE, TN 37221-3203               ALSIP, IL 60803-1905                 WATSONVILLE, CA 95076




JOANN LUNDEEN                         JOANN M IACABONI                      JOANN STOTZ
550 E CARL SANDBURG DR                33 POLO DR                            GRACES CLOSET
APT 131                               JACKSON, MS 39211-2442                808 E MARKET STREET
GALESBURG, IL 61401                                                         RED BUD, IL 62278




JOANNE BLAIR                          JOANNE LYNCH                          JOANNE MASSON
3304 ROCKHOUSE ROAD                   1814 S SILVER                         385 E KATIE STREET
TOMAHAWK, KY 41262                    DEMING, NM 88030                      HERNANDO, FL 34442




JOANNE YOUNG                          JOANNE, NATHANS                       JOB, CHRISTINA M.
ADDRESS ON FILE                       713 W PACIFIC AVE                     15 PARKWOOD DR
                                      WAUKEGAN, IL 60085                    WATSONVILLE, CA 95076




JOBE, TERESA J.                       JOCELYN BUNKER                        JOCELYN CROSS
ADDRESS ON FILE                       ADDRESS ON FILE                       1128 HUNTER TRAIL
                                                                            MASCOUTAH, IL 62258




JOCELYN JUAREZ                        JODI GRAVES                           JODI GREENWALT
554 CONDOS ST                         POB 696                               676 COUNTY RD 105 E
MESQUITE, NV 89027                    EPWORTH, GA 30541                     BLUFORD, IL 62814-3612




JODI KEELING                          JODI L FRITZ                          JODI SHIFF CLEANING CLIENTELE
15 CR 748                             834 WRANGLERS RDG                     17113 EAST DONASUE LANE 9
WYNNE, AR 72396                       MESQUITE, NV 89034                    OPDYKE, IL 62872




JODIE BRASUELL                        JODIE L CARPENTER                     JODUN, AMY
2369 SONY LOOP                        13190 ORRVILLE ST NW                  1198 N HILLVIEW ST
EUGENE, OR 97404                      LAWRENCEVILLE, OH 44666               LOCK HAVEN, PA 17745-2614




JODUN, DEANNA E.                      JODUN, MARGARET                       JODY JAMES
228 HEROLD RD                         1198 N HILLVIEW ST                    1555 FIELDCREST DR
JERSEY SHORE, PA 17740                LOCK HAVEN, PA 17745-2614             SPARTA, IL 62286




JODY W REILLY                         JODY WARREN                           JOE BARTHOLOMEW
ADDRESS ON FILE                       ADDRESS ON FILE                       77 TEAKWOOD DR
                                                                            LEXINGTON, TN 38351
JOE FREDERICK            Case 20-10766-BLS     Doc 6
                                       JOE VIDAL            Filed 04/07/20   Page JOE
                                                                                   908WALCH
                                                                                       of 1969
5419 RICHFIELD RD                       2600 HWY 118 N                            1460 G STREET
RED BUD, IL 62278                       ALPINE, TX 79830                          SPRINGFIELD, OR 97477




JOE, SIDNE                              JOE, TERRY                                JOEL ACOSTA
ADDRESS ON FILE                         9336 S WOODLAWN                           ADDRESS ON FILE
                                        CHICAGO, IL 60619




JOEL CONTRERAS                          JOEL MARTIN                               JOERNS HEALTHCARE LLC
P.O. BOX 1655                           ADDRESS ON FILE                           P.O. BOX 933733
PRESIDIO, TX 79845                                                                ATLANTA, GA 31193-3733




JOES PIZZA                              JOEY TAYLOR                               JOFRE, MARY JO
819 JORDAN STREET                       1590 OLD DRESDEN RD                       228 DAWSON WAY
MT. VERNON, IL 62864                    PARIS, TN 38242                           BLUE RIDGE, GA 30513




JOHANNESSEN, BRUCE                      JOHANNS, REGIS A.                         JOHANNSEN, JOHN E.
277 N GRAND ST                          ADDRESS ON FILE                           2910 BRANSFORD RD
EUGENE, OR 97402                                                                  AUGUSTA, GA 30909




JOHANSEN LANDSCAPE                      JOHANSEN, JANEEN                          JOHANSEN, KRISTEN L.
700 JOHANSEN ROAD                       907 ROADRUNNER TRAIL                      296 HARDY AVE
BIG SPRING, TX 79720                    MESQUITE, NV 89034                        EUGENE, OR 97404




JOHANSEN, PATRICIA                      JOHANSEN, VALERIE                         JOHN A MILAZZO III
2016 E 180 SOUTH CIR                    ADDRESS ON FILE                           203 PEBBLE BEACH DRIVE
ST GEORGE, UT 84790                                                               VICKSBURG, MS 39183-6921




JOHN A. CLERICO                         JOHN A. FRY                               JOHN ALLISON
                                                                                  1384 N KELLOGG ST
                                                                                  GALESBURG, IL 61401




JOHN AND SONS PAINTING                  JOHN BAKER IV                             JOHN BEESON, M.D.
22335 MIRAMOT RD.                       2051 BRIARBEND CT                         455 SAINT MICHAELS DR
APPLE VALLEY, CA 92308                  MARYVILLE, IL 62062                       SANTA FE, NM 87505




JOHN BOYDSTUN                           JOHN BRUNETTI DMD LTD                     JOHN BUTLER
1014 150TH ST                           DEERPATH PROFESSIONAL BLDG                1293 54TH AVE
BERWICK, IL 61417                       1 EAST PHILIP ROAD STE 101                AVON, IL 61415
                                        VERNON HILLS, IL 60061
JOHN CAIN                  Case 20-10766-BLS    Doc 6
                                         JOHN CAMUS        Filed 04/07/20   Page JOHN
                                                                                  909 CHANEY
                                                                                      of 1969
ADDRESS ON FILE                          ADDRESS ON FILE                         126 7TH ST
                                                                                 UHRICHSVILLE, OH 44683




JOHN CHRIST                              JOHN COFFMAN                            JOHN D BAIRD - CEO
11005 WIDICUS RD                         413 E MAIN ST                           METROSOUTH MEDICAL CENTER
LEBANON, IL 62254                        CLARKSBURG, WV 26301-3117               12935 S GREGORY ST
                                                                                 BLUE ISLAND, IL 60406




JOHN D DYER                              JOHN DEERE FINANCIAL                    JOHN DIIPLA
PRODATA SYSTEMS                          P.O. BOX 650215                         1693 N BROAD STREET
2057 CHEROKEE RD                         DALLAS, TX 75265-0215                   GALESBURG, IL 61401
PELL CITY, AL 35128




JOHN E MORTON                            JOHN FABICK TRACTOR CO                  JOHN FABICK TRACTOR COMPANY
3588 PINEHURST AVE NW                    P.O. BOX 952121                         P.O. BOX 952121
MASSILLON, OH 44646-0000                 ST LOUIS, MO 63195                      ST. LOUIS, MO 63195-2121




JOHN GURLEY                              JOHN H BELL ATTORNEY AT LAW             JOHN HALWACHS
ADDRESS ON FILE                          P.O. BOX 200                            1605 SYCAMORE
                                         SEARCY, AR 72143                        GRNAITE CITY, IL 62040




JOHN HARDING                             JOHN HAUVER                             JOHN HOPKINS HEALTHCARE
5 WILLIAM JOHN CT                        ADDRESS ON FILE                         P.O. BOX 21575
GRANITE CITY, IL 62040                                                           PIKESVILLE, MD 21282




JOHN I ERICKSON JR                       JOHN JACKSON                            JOHN JAMES
11191 LONGSHORE WAY                      8619 S AVALON AVE                       67 PRESTON GAP ROAD
WEST NAPLES, FL 34119                    CHICAGO, IL 60619-6409                  TOMAHAWK, KY 41262




JOHN K SHERLING                          JOHN KELSO                              JOHN LATINA
P.O. BOX 344                             785 S BROAD ST                          1832 KETTERING TRACE
GREENVILLE, AL 36037                     KNOXVILLE, IL 61448                     BRENTWOOD, TN 37027




JOHN M GREEN INSURANCE INC               JOHN M HAGAN                            JOHN MELVIN
118 4TH AVE N                            ADDRESS ON FILE                         200 E HARLEM AVE APT 903
FRANKLIN, TN 37064                                                               MONMOUTH, IL 61462




JOHN MILLS                               JOHN P KANE                             JOHN P MLADINEO
488 TUG RIVER ROAD                       15555 MAIN ST                           P.O. BOX 4513
INEZ, KY 41224                           D4-241                                  JACKSON, MS 39296-4513
                                         HESPERIA, CA 92345
                        Case 20-10766-BLS
JOHN R.AND ELEANOR R.MITCHELL                 Doc 6 Filed 04/07/20
                                      JOHN REMSEY                    Page JOHN
                                                                           910 RHOADS
                                                                               of 1969
FOUNDATION                            745 CEDAR BLUFF LANE                109 W KING
P.O.BOX 923                           COBDEN, IL 62920-0000               AVON, IL 61415-0204
MT VERNON, IL 62864




JOHN SALYER                         JOHN SKIPPER                          JOHN STEWART
ADDRESS ON FILE                     1796 HALSO MILL RD                    11572 BINNEY RD
                                    GREENVILLE, AL 36037                  NEW DOUGLAS, IL 62074




JOHN STREET                         JOHN SURRA                            JOHN TERHES, MD
2223 MARGILEE DR SW                 9585 LA BAJADA RD SW                  360 S GARDEN WAY STE 290
MASSILLON, OH 44647                 DEMING, NM 88030                      EUGENE, OR 97401




JOHN THORPE                         JOHN TSAI MD                          JOHN W ALLMAN
218 LOCKE AVE SW                    830 AMHERST RD NE STE 205             220 HWY 334
MASSILLON, OH 44646-3438            MASSILLON, OH 44646                   HUGHES, AR 72348




JOHN W TAYLOR                       JOHN WILDES                           JOHN, JINU
118 PINTAIL DR                      811 35TH ST NW                        ADDRESS ON FILE
WINDSOR, NC 27983                   CANTON, OH 44709




JOHN, LACEY                         JOHN, MERCY S.                        JOHN, RONDA L.
1087 WEST LOSEY                     13148 W YORKSHIRE LN                  ADDRESS ON FILE
GALESBURG, IL 61401                 BEACH PARK, IL 60083




JOHNATHEN REDSTONE                  JOHNETTA CRUMBLY                      JOHNIE MCKEE
2307 WOODLAWN AVE                   1823 SFC 414                          17404 EMERSON AVE
GRANITE CITY, IL 62040              WIDENER, AR 72394                     HAZEL CREST, IL 60429




JOHNNY COATS                        JOHNNY NEVE                           JOHNNY OWENBY
2910 E MOORE AVE 47                 ADDRESS ON FILE                       13200 SHIRE LN
SEARCY, AR 72143                                                          FORT MYERS, FL 33912-0868




JOHNS, AMANDA M.                    JOHNS, GREGORY L.                     JOHNS, JIMMY
703 REDWOOD ST SW                   18456 WESTERN AVENUE                  3941 FOUNTAIN SQUARE
BEACH CITY, OH 44608                HOMEWOOD, IL 60430                    WAUKEGAN, IL 60085




JOHNS, MICHAEL S.                   JOHNS, ROBERT                         JOHNS, VERLON
140 SEQUOYAH LANE                   191 FOURTH ST SW                      1519 COUNTRY CT
NASHVILLE, TN 37221                 SYLVANIA, AL 35988                    AUBURN, GA 30011
                       Case
JOHNSON & JOHNSON FINANCE   20-10766-BLS
                          CORP       JOHNSONDoc    6 Filed
                                              & JOHNSON     04/07/20
                                                        HEALTH CARE      Page JOHNSON
                                                                               911 of 1969
                                                                                      & JOHNSON HEALTH CARE
501 GEORGE ST                        SYSTEM, INC                              SYSTEMS INC.
NEW BRUNSWICK, NJ 08901              A/R LOCK BOX 12                          MIKE SEVERANCE, NATIONAL ACCOUNT
                                     5972 COLLECTION CENTER DRIVE             MANAGER
                                     CHICAGO, IL 60693                        425 HOES LANE
                                                                              PISCATAWAY, NJ 08854

JOHNSON & JOHNSON                     JOHNSON & JOHNSON                       JOHNSON & JOHNSON
HEALTH CARE SYSTEM INC                HEALTH CARE SYSTEM INC                  P.O. BOX 409770
5972 COLLECTION CENTER DR             P.O. BOX 406663                         ATLANTA, GA 30384-9770
CHICAGO, IL 60693                     ATLANTA, GA 30384-6663




JOHNSON & JOHNSON; JANSSEN BIOTECH,   JOHNSON & JOHNSON; JANSSEN BIOTECH,     JOHNSON & JOHNSON; JANSSEN BIOTECH,
INC.                                  INC.                                    INC.
C/O STEPHANIE TEPLIN, PATTERSON       C/O THOMAS O BARNETT, ASHLEY E BASS;    C/O WILLIAM F CAVANAUGH, ADEEL A
BELKNAP WEBB & TYLER LLP              COVINGTON & BURLING LLP                 MANGI, JONATHAN H HATCH, JAMISON
1133 AVENUE OF THE AMERICAS           850 10TH ST NW                          DAVIES; PATTERSON BELKNAP WEBB &
NEW YORK, NY 10036                    WASHINGTON, DC 20001-4956               TYLER LLP
                                                                              1133 AVENUE OF THE AMERICAS
                                                                              NEW YORK, NY 10036-6710

JOHNSON & ROUNDTREE PREMIUM           JOHNSON & ROUNDTREE                     JOHNSON & ROUNTREE
P.O. BOX 301599                       P.O. BOX 2625                           P.O. BOX 4829
DALLAS, TX 75303-1599                 DEL MAR, CA 92014                       LOCKBOX 1007
                                                                              HOUSTON, TX 77210




JOHNSON ALISHA                        JOHNSON ANGELA                          JOHNSON APN, MARILOU A.
721 S LINCOLN AVE                     ADDRESS ON FILE                         133 KNOX HWY 31
WAUKEGAN, IL 60085                                                            GALESBURG, IL 61401




JOHNSON BERNARD                       JOHNSON CONTROLS FIRE PROTECTION LP     JOHNSON CONTROLS FIRE PROTECTION LP
11329 S KING DR APT 2S                DEPT. CH 10320                          P.O. BOX 730068
CHICAGO, IL 60628                     PALATINE, IL 60055-0320                 DEPT. CH 10320
                                                                              PALATINE, IL 60055-0320




JOHNSON CONTROLS FIRE PROTECTION      JOHNSON CONTROLS FIRE                   JOHNSON CONTROLS INC
TYCO SIMPLEX GRINNELL                 PROTECTION LP, DEPT CH 10320            P.O. BOX 730068
DEPT. CH 10320                        PALANTINE, IL 60055-0320                DALLAS, TX 75373
PALATINE, IL 60055-0320




JOHNSON CONTROLS INC                  JOHNSON CONTROLS INC                    JOHNSON CONTROLS SECURITY
P.O. BOX 93107                        PO BOX 730068                           SOLUTIONS
CHICAGO, IL 60673-3107                DALLAS, TX 75373                        P.O. BOX 371967
                                                                              PITTSBURGH, PA 15250-7967




JOHNSON CONTROLS                      JOHNSON CONTROLS                        JOHNSON COUNTY FISCAL COURT
DEPT CH 10320                         P O BOX 730068                          C/O OCCUPATIONAL TAX
PALATINE, IL 60055                    DALLAS, TX 75373                        P.O. BOX 868
                                                                              PAINTSVILLE, KY 41240




JOHNSON COUNTY HEALTHCARE CENTER      JOHNSON COUNTY SHERIFF                  JOHNSON COUNTY SHERIFF
497 WEST LOTT STREET                  339 MAIN STREET                         JOHNSON COUNTY SHERIFF, 339 MAIN
BUFFALO, WY 82834                     PAINTSVILLE, KY 41240                   STREET
                                                                              PAINTSVILLE, KY 41240
                      Case 20-10766-BLS
JOHNSON COUNTY YOUTH LEAGUE         JOHNSONDoc   6 D Filed 04/07/20
                                             DONNA                    Page JOHNSON
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                                                                                   GINA
P.O. BOX 869                        219 STANSBURY CIR                      8775 ST RTE 147
VIENNA, IL 62995                    TOOELE, UT 84074                       SIMPSON, IL 62985




JOHNSON HELEN R                      JOHNSON JAMES                         JOHNSON JC
1250 W 115TH ST                      ADDRESS ON FILE                       1321 N 66TH ST
CHICAGO, IL 60643                                                          SPRINGFIELD, OR 97478




JOHNSON JENNIFER                     JOHNSON JO L                          JOHNSON JR, MICHAEL GARY
ADDRESS ON FILE                      154 CHEROKEE TRAIL                    2121 MEADOWOOD COVE
                                     MC CAYSVILLE, GA 30555                MONROE, GA 30655




JOHNSON JR, MICHAEL GARY             JOHNSON KAREN                         JOHNSON KERRY L
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




JOHNSON NICHOLAS                     JOHNSON PEREZ, JOLEEN M.              JOHNSON PERRY L
534 S 380 W                          ADDRESS ON FILE                       ADDRESS ON FILE
TOOELE, UT 84074




JOHNSON PHYLLIS S                    JOHNSON PRECISION, LLC                JOHNSON REBECCA J
26227 COMMUNITY BLVD                 1706 20TH AVE SE                      ADDRESS ON FILE
BARSTOW, CA 92311                    DECATUR, AL 35601




JOHNSON ROBERT H                     JOHNSON SANDRA J                      JOHNSON SHELLIE
31 ROAD 9006                         ADDRESS ON FILE                       491 N BROADWAY NUM B
MENTONE, AL 35984                                                          TOOELE, UT 84074




JOHNSON SHERROD, CHELSEY             JOHNSON TAMARA M                      JOHNSON TERRY
306 S 9TH ST                         40 E CEDAR ST APT 6A                  ADDRESS ON FILE
WOOD RIVER, IL 62095                 CHICAGO, IL 60611




JOHNSON TREE SERVICE                 JOHNSON&JOHNSON HEALTH CARE SY        JOHNSON&JOHNSON HEALTH CARE
169 KNOX RD 370 N                    5972 COLLECTIONS CENTER DRIVE         5972 COLLECTIONS CTR DR
ABINGDON, IL 61410                   CHICAGO, IL 60693                     CHICAGO, IL 60693




JOHNSON, , SCOTT H. M.D.             JOHNSON, AARON DO.                    JOHNSON, AARON
ADDRESS ON FILE                      ADDRESS ON FILE                       P.O. BOX 111
                                                                           RADOM, IL 62876
JOHNSON, ABIGAIL          Case 20-10766-BLS   Doc
                                        JOHNSON,    6C. Filed 04/07/20
                                                 ALAN                    Page JOHNSON,
                                                                               913 of 1969
                                                                                       ALEXANDRIA
760 CHESTNUT DR                          ADDRESS ON FILE                      10152 SETTLERS GROVE RD
EUGENE, OR 97404                                                              COVINGTON, GA 30014




JOHNSON, ALICE A.                        JOHNSON, ALICE                       JOHNSON, ALICHIA M.
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




JOHNSON, ALICIA M.                       JOHNSON, ALLEN S.                    JOHNSON, ALLISON B.
ADDRESS ON FILE                          610 FLOWERS ST                       105 DEPOT RD
                                         GREENVILLE, AL 36037                 PAINTSVILLE, KY 41240




JOHNSON, ALLISON H.                      JOHNSON, ALLISON                     JOHNSON, AMANDA H.
ADDRESS ON FILE                          ADDRESS ON FILE                      1316 ELDORADO DRIVE
                                                                              PENSACOLA, FL 32506




JOHNSON, AMIYA                           JOHNSON, AMY                         JOHNSON, ANDREA L.
ADDRESS ON FILE                          ADDRESS ON FILE                      3336 VILLAGE LN
                                                                              GRANITE CITY, IL 62040




JOHNSON, ANGELA G.                       JOHNSON, ANGELA G.                   JOHNSON, ANGELA
158 JIM BOB SCRUGGS RD.                  ADDRESS ON FILE                      ADDRESS ON FILE
HUMBOLDT, TN 38343




JOHNSON, ANNETTE                         JOHNSON, ANNIE L.                    JOHNSON, ARNITRA N.
2570 HIGHGATE CIRCLE N. W.               18845 AVERS                          309 PLANTATION POINTE RD
NORTH CANTON, OH 44720                   FLOSSMOOR, IL 60422                  SCOTTSBORO, AL 35768




JOHNSON, ASHLEY B.                       JOHNSON, ASHLEY                      JOHNSON, BALLARD
ADDRESS ON FILE                          ADDRESS ON FILE                      28269 CARDINAL LANE
                                                                              CATLETTSBURG, KY 41129




JOHNSON, BERNARD                         JOHNSON, BETTY A.                    JOHNSON, BETTY G.
11329 S KING DR 2S                       6 CEDAR FIELD ROAD                   1671 ANDERSON ROAD
CHICAGO, IL 60628                        MAGNOLIA, DE 19962                   GREENVILLE, NC 27834




JOHNSON, BIANCA R.                       JOHNSON, BIANCA R.                   JOHNSON, BLAKE A.
413 PC 546 P.O. BOX 28                   ADDRESS ON FILE                      ADDRESS ON FILE
MELLWOOD, AR 72367
JOHNSON, BRANDON L.     Case 20-10766-BLS   Doc
                                      JOHNSON,    6 Filed 04/07/20
                                               BREANNA                 Page JOHNSON,
                                                                             914 of 1969
                                                                                     BREANNA
ADDRESS ON FILE                       ADDRESS ON FILE                       1855 MOUNT SHELTER RD.
                                                                            VIENNA, IL 62995




JOHNSON, BREANNE E.                   JOHNSON, BRENDA K.                    JOHNSON, BRITTANEY
ADDRESS ON FILE                       2255 WOODLAWN                         5200 BRIARWOOD AVE APT 3314
                                      GRANITE CITY, IL 62040                MIDLAND, TX 79707




JOHNSON, BRITTANY L.                  JOHNSON, CAITLIN                      JOHNSON, CAROL
P.O. BOX 314                          3503 BIG HURRICANE CRK RD             ADDRESS ON FILE
BLUE RIDGE, GA 30513                  FORT GAY, WV 25514




JOHNSON, CASSANDRA K.                 JOHNSON, CHARLES                      JOHNSON, CHARLES
148 KNOX RD. 350 N                    ADDRESS ON FILE                       ADDRESS ON FILE
ABINGDON, IL 61410




JOHNSON, CHELSEA M.                   JOHNSON, CHERYL F.                    JOHNSON, CHRISTINA
ADDRESS ON FILE                       42 JETT DRIVE                         12 NORTHLAND DR
                                      JACKSON, KY 41339                     COLLINSVILLE, IL 62234




JOHNSON, CLORISSIA                    JOHNSON, COLLEEN S.                   JOHNSON, CORTEZ
ADDRESS ON FILE                       16 E 400 N                            12617 SOUTH WOOD ST.
                                      TOOELE, UT 84074                      CALUMET PARK, IL 60827




JOHNSON, CRYSTAL J.                   JOHNSON, CYNTHIA A.                   JOHNSON, DANIEL W.
ADDRESS ON FILE                       6225 PEBBLE LN                        ADDRESS ON FILE
                                      SEBRING, FL 33876




JOHNSON, DARLA C.                     JOHNSON, DAVID M.                     JOHNSON, DEAN
2402 ECHELON CIRCLE                   1619 E 86TH PLACE                     2206 WEST 20TH ST
MATTESON, IL 60443                    CHICAGO, IL 60617                     GRANITE CITY, IL 62040




JOHNSON, DEBRA                        JOHNSON, DEREK SCOTT JR. - ITV        JOHNSON, DEREK SCOTT JR. - ITV
3516 COUNTY ROAD 76                   24107 WEST CORN RD                    ADDRESS ON FILE
FYFFE, AL 35971                       MACEDONIA, IL 62860




JOHNSON, DIANE                        JOHNSON, DONALD                       JOHNSON, DONNA
ADDRESS ON FILE                       1236 W LOSEY ST                       2195 SODHI AVE
                                      GALESBURG, IL 61401                   GALESBURG, IL 61401
JOHNSON, DORIS C.           Case 20-10766-BLS   Doc
                                          JOHNSON,    6 Filed
                                                   DOROTHY      04/07/20
                                                           SEVIER          Page JOHNSON,
                                                                                 915 of 1969
                                                                                         ELIZABETH
ADDRESS ON FILE                            12805 S WALLACE ST                   2390 44TH ST
                                           CHICAGO, IL 60628                    LITTLE YORK, IL 61453




JOHNSON, ERIC R.                           JOHNSON, ERICA K.                    JOHNSON, ERICA L.
607 41ST AVE                               13255 EMERSON RD                     2445 EDISON AVE
SANTA CRUZ, CA 95062                       DALTON, OH 44618                     GRANITE CITY, IL 62040




JOHNSON, EUNICE, L., M.D.                  JOHNSON, EVA A.                      JOHNSON, FELICITY A.
ADDRESS ON FILE                            14821 TURLINGTON                     25059 PERKINS RD
                                           HARVEY, IL 60426                     VENETA, OR 97487




JOHNSON, GEORGIA L.                        JOHNSON, GERA L.                     JOHNSON, GLADYS
ADDRESS ON FILE                            5370 SAN PEDRO RD SE                 ADDRESS ON FILE
                                           DEMING, NM 88030




JOHNSON, GLEN E.                           JOHNSON, GRIFFIN                     JOHNSON, GROVER
2215 WITCHWOOD LN                          537 LINCOLN AVENUE                   211 ZACHERY LANE
LINDENHURST, IL 60046                      GRAYSLAKE, IL 60030                  BLAIRSVILLE, GA 30512




JOHNSON, HANNAH E.                         JOHNSON, HANS                        JOHNSON, HARRY
325 E CHURCH ST                            POX 456                              3724 GEORGIA ST NW
LOCK HAVEN, PA 17745                       COTTAGE GROVE, OR 97424-0018         MASSILLON, OH 44646




JOHNSON, IANTHA N.                         JOHNSON, JACKIE                      JOHNSON, JAMES D.
635 HOLLAND RD                             7804 COUNTY RD 800 N                 ADDRESS ON FILE
GREENVILLE, NC 27834                       MCLEANSBORO, IL 62859




JOHNSON, JAMES                             JOHNSON, JAMIE L.                    JOHNSON, JANET LINDSEY
ADDRESS ON FILE                            3831 RAMBLING WOODS DR.              12843 GREGORY ST
                                           LOGANVILLE, GA 30052                 APT 2D
                                                                                BLUE ISLAND, IL 60406




JOHNSON, JARED E.                          JOHNSON, JAZMEN                      JOHNSON, JENNA A.
1108 W. MURPHY ST                          ADDRESS ON FILE                      175 N ARTHUR AVE
ALPINE, TX 79830                                                                GALESBURG, IL 61401




JOHNSON, JENNIFER A.                       JOHNSON, JENNIFER M.                 JOHNSON, JENNIFER R.
ADDRESS ON FILE                            ADDRESS ON FILE                      ADDRESS ON FILE
JOHNSON, JEREMY C.      Case 20-10766-BLS   Doc
                                      JOHNSON,     6 Filed 04/07/20
                                               JILLANE                Page JOHNSON,
                                                                            916 of 1969
                                                                                    JLYNN
ADDRESS ON FILE                        1513 KNOX RD 2900N                  301 W MARKET ST
                                       ALTONA, IL 61414                    MC LEANSBORO, IL 62859




JOHNSON, JO LYNN                       JOHNSON, JOHNNY                     JOHNSON, JUDITH
154 CHEROKEE TRAIL                     10112 S VAN VLISSINGEN RD           979 WASHINGTON AVE
MCCAYSVILLE, GA 30555                  CHICAGO, IL 60617                   GALESBURG, IL 61401




JOHNSON, JULIA DAWN                    JOHNSON, KABRIA M.                  JOHNSON, KAITLYN
2633 WARREN ST                         ADDRESS ON FILE                     ADDRESS ON FILE
SANTA CRUZ, CA 95062




JOHNSON, KAREN J.                      JOHNSON, KASH                       JOHNSON, KATE L.
ADDRESS ON FILE                        P.O. BOX 597                        6054 S.R. 93 N.W.
                                       BOONEVILLE, KY 41314                DUNDEE, OH 44624




JOHNSON, KELSEY E.                     JOHNSON, KENDALL                    JOHNSON, KENNETH D.
2516 W. FLOURNOY STREET UNIT 2         ADDRESS ON FILE                     13202 DOOR KEY RD
CHICAGO, IL 60612                                                          SAN ANGELO, TX 76904




JOHNSON, KIANA A.                      JOHNSON, KIMBER W.                  JOHNSON, KIMBERLE M.
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




JOHNSON, KIMBERLY N.                   JOHNSON, KIMBERLY                   JOHNSON, KIMBERLY
ADDRESS ON FILE                        ADDRESS ON FILE                     11601 S ASHLAND AVE
                                                                           CHICAGO, IL 60643




JOHNSON, KRISTA                        JOHNSON, KRISTIE                    JOHNSON, LANCE
ADDRESS ON FILE                        128 LANDRUM DR                      2585 LAKESHORE DR
                                       MARTIN, TN 38237                    COLUMBIA, IL 62236




JOHNSON, LATOYA                        JOHNSON, LAUREN                     JOHNSON, LAVETA
2400 29TH ST APT 408                   ADDRESS ON FILE                     156 PHILLIPS 325 RD
ZION, IL 60099                                                             WEST HELENA, AR 72390




JOHNSON, LES                           JOHNSON, LESLEY J.                  JOHNSON, LINDA J.
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE
JOHNSON, LINDA        Case 20-10766-BLS   Doc
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                                             LIZZIEL                Page JOHNSON,
                                                                          917 of 1969
                                                                                  LOIS
ADDRESS ON FILE                      614 W CHURCH ST                     ADDRESS ON FILE
                                     WILLIAMSTON, NC 27892




JOHNSON, LOUAN                       JOHNSON, LUANN G.                   JOHNSON, LUCINDA D.
3349 ROANOKE AVE                     ADDRESS ON FILE                     334 19TH ST NW
EUGENE, OR 97408                                                         CANTON, OH 44709




JOHNSON, MARGARET                    JOHNSON, MARIAH                     JOHNSON, MARY E.
ADDRESS ON FILE                      12018 S BISHOP ST                   1900 CANEL UNIT 3 D
                                     CHICAGO, IL 60643                   BLUE ISLAND, IL 60406




JOHNSON, MARY                        JOHNSON, MAUREEN                    JOHNSON, MAXINE
ADDRESS ON FILE                      1436 LADD AVE                       P.O. BOX 250
                                     EDWARDSVILLE, IL 62025              OWSLEY COUNTY NURSING HOME
                                                                         BOONEVILLE, KY 41314




JOHNSON, MEGAN M.                    JOHNSON, MEGAN                      JOHNSON, MEGAN
ADDRESS ON FILE                      ADDRESS ON FILE                     ADDRESS ON FILE




JOHNSON, MELISSA S.                  JOHNSON, MEREDITH L.                JOHNSON, MICHAEL O.
521 S MAIN ST                        100 MICHELLE DR                     5617 STRICKLAND CANYON RD
ABINGDON, IL 61410                   GLEN CARBON, IL 62034               TENMILE, OR 97481




JOHNSON, MIRANDA                     JOHNSON, MORGAN L.                  JOHNSON, NATHANIEL
302 JACKSON STREET                   1250 GREEN ST                       505 PAR DRIVE APT 3
CENTRE, AL 35960                     WILLIAMSTON, NC 27892               MARION, AR 72364




JOHNSON, NELLIE R.                   JOHNSON, NICOLE                     JOHNSON, PAIGE K.
P.O. BOX 142                         ADDRESS ON FILE                     ADDRESS ON FILE
TOOELE, UT 84074




JOHNSON, PAIGE                       JOHNSON, PAIGE                      JOHNSON, PHIL A.
ADDRESS ON FILE                      P.O. BOX 256                        ADDRESS ON FILE
                                     FORSAN, TX 79733




JOHNSON, PHIL                        JOHNSON, PHIL                       JOHNSON, PORTIA
ADDRESS ON FILE                      ADDRESS ON FILE                     ADDRESS ON FILE
JOHNSON, RAY                Case 20-10766-BLS   Doc
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                                                   REBECCA A. 04/07/20       Page JOHNSON,
                                                                                   918 of 1969
                                                                                           REBECCA L.
3121 MAY STREET                           2357 AMBERWOOD CIRCLE NE                ADDRESS ON FILE
HOOD RIVER, OR 97031                      MASSILLON, OH 44646




JOHNSON, REBECCA L.                       JOHNSON, REBECCA S.                     JOHNSON, REBECCA
209 N DUDLEY P.O. BOX 160                 72 SALT BOX LANE                        ADDRESS ON FILE
PITTSBURG, IL 62974                       LOST CREEK, KY 41348




JOHNSON, REBECCA                          JOHNSON, REGINA D.                      JOHNSON, RENA K.
ADDRESS ON FILE                           2662 LINCOLN AVE                        155 COUNTY ROAD 307 P.O. BOX 74
                                          GRANITE CITY, IL 62040                  CENTRE, AL 35960




JOHNSON, ROGER, SR.                       JOHNSON, RYAN T.                        JOHNSON, SANANDA H.
P.O. BOX 397                              ADDRESS ON FILE                         3851 VILLAGE MAIN STREET
LULA, MS 38644                                                                    LOGANVILLE, GA 30052




JOHNSON, SANDRA J.                        JOHNSON, SANDRA                         JOHNSON, SANDRA
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




JOHNSON, SARA J.                          JOHNSON, SARA                           JOHNSON, SHA L.
7479 HILLS AND DALES RD NW                2345 HENRY RD                           1160 KIRK ROAD
MASSILLON, OH 44646                       JACKSON, MI 49201                       RAINSVILLE, AL 35986




JOHNSON, SHANNON M.                       JOHNSON, SHARON D.                      JOHNSON, SHEILA
ADDRESS ON FILE                           P O BOX 2395 408 MCCLESKY STREET        1590 TOWER ROAD
                                          FORREST CITY, AR 72335                  MACOMB, IL 61455




JOHNSON, SHEMIKA                          JOHNSON, SHERRIE A.                     JOHNSON, SHERYLYNN C.
213 GRAHAM AVENUE.                        ADDRESS ON FILE                         2122 ALPINE WAY
FORREST CITY, AR 72335                                                            PLAINFIELD, IL 60586




JOHNSON, SHITALBEN                        JOHNSON, SHUNDA L.                      JOHNSON, SNOWE
421 A S VALLEY AVE                        ADDRESS ON FILE                         1217 LOMA ALTA PL
COLLINSVILLE, AL 35961                                                            CLEBURNE, TX 76033




JOHNSON, STACY WARREN                     JOHNSON, STEPHANIE D.                   JOHNSON, STEPHEN
34091 DEL MONTE AVE                       ADDRESS ON FILE                         1416 RIVERWOOD DR
EUGENE, OR 97405                                                                  NASHVILLE, TN 37216
JOHNSON, STEVEN RAY     Case 20-10766-BLS   Doc
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                                                                                     TALMAGE
3714 N. TEXAS AVE                      105 TONTO DRIVE                      1593 BOYLES RUN RD
ODESSA, TX 79762                       ELLIJAY, GA 30540                    SUNBURY, PA 17801




JOHNSON, TEQUILA S.                    JOHNSON, TERESA A.                   JOHNSON, TERESA A.
ADDRESS ON FILE                        13 CHASE PARK DR                     ADDRESS ON FILE
                                       BELLEVILLE, IL 62226




JOHNSON, TERESA M.                     JOHNSON, TERRI                       JOHNSON, TERRY L.
ADDRESS ON FILE                        9551 S MAPLEWOOD AVENUE              ADDRESS ON FILE
                                       EVERGREEN PARK, IL 60805




JOHNSON, THERESA                       JOHNSON, TIMOTHY                     JOHNSON, TONIA I.
ADDRESS ON FILE                        409 NORTH 13TH STREET                ADDRESS ON FILE
                                       HERRIN, IL 62948




JOHNSON, TORI                          JOHNSON, TYLER                       JOHNSON, VERNON N.
ADDRESS ON FILE                        1424 HENDERSON RIDGE LN              P.O BOX 30
                                       LOGANVILLE, GA 30052-3356            BIG SPRING, TX 79721




JOHNSON, VERONICA L.                   JOHNSON, VERONICA                    JOHNSON, VIRGINIA L.
105 CHARLES TAYLOR RD                  ADDRESS ON FILE                      P.O. BOX 413
AULANDER, NC 27805                                                          FORT GAY, WV 25514




JOHNSON, WILLIE MAUDE                  JOHNSON-BAILEY, MARQUITA P.          JOHNSON-DAVIS, SHANON S.
4105 WEST 136TH ST                     325 MICHAEL ROAD                     ADDRESS ON FILE
ROBBINS, IL 60472                      SYLVANIA, AL 35988




JOHNSON-HANS, REBECCA                  JOHNSONIUS, OLIVIA                   JOHNSONS MEDICAL, INC.
155 DEERCREST LANE                     415 OAK MANOR RD                     865 W STATE ST., BLDG 2
LEXINGTON, TN 38351                    MCKENZIE, TN 38201                   P.O. BOX 36
                                                                            LEHI, UT 84043




JOHNSTON CITY INDIANS ATHLETICS        JOHNSTON JAMES EDWARD                JOHNSTON KATHERINE M
1500 JEFFERSON AVENUE                  951 S 37TH PL                        P.O. BOX 884
JOHNSTON CITY, IL 62951                SPRINGFIELD, OR 97478-0000           BLAIRSVILLE, GA 30514




JOHNSTON PAMELA                        JOHNSTON, CHELSEA                    JOHNSTON, CHRISTOPHER A.
ADDRESS ON FILE                        ADDRESS ON FILE                      461 MONTEREY DR
                                                                            APTOS, CA 95003
JOHNSTON, DAVID          Case 20-10766-BLS    Doc
                                       JOHNSTON,   6
                                                 KAY      Filed 04/07/20   Page JOHNSTON,
                                                                                 920 of 1969
                                                                                          KIRSTEN
307 COUNTY ROAD 434                     P.O. BOX 403                            2 WESTCHASE DRIVE
FYFFE, AL 35971                         JONESBORO, IL 62952                     LITTLE ROCK, AR 72223




JOHNSTON, LINDA J                       JOHNSTON, NICHOL                        JOHNSTON, PAMELA J.
ADDRESS ON FILE                         1284 BRIGADE DRIVE                      ADDRESS ON FILE
                                        CLARKSVILLE, TN 37043




JOHNSTON, PATRICE M.                    JOHNSTON, RENEE B.                      JOHNSTON, SHANE A.
297 MINERAL SPRINGS RD                  ADDRESS ON FILE                         150 MILL ST S APT B
APT 108                                                                         DALTON, OH 44618
BLUE RIDGE, GA 30513




JOHNSTON, SUSAN                         JOHNSTON, SUZANNE                       JOHNSTONBAUGH, JOSEPH
570 ETNA STREET                         2680 WHITNEY RD SE                      217 PENNSYLVANIA AVE
RUSSELL, KY 41169                       MONROE, GA 30655-7540                   MILL HALL, PA 17751




JOHNSTONE SUPPLY CO                     JOHNSTONE SUPPLY OF LAS VEGAS           JOHNSTONE SUPPLY
P O BOX 757                             4144 W SUNSET RD                        2050 WEST AMADOR
HIGHWAY 13 WEST                         LAS VEGAS, NV 89118                     LAS CRUCES, NM 88005
CARBONDALE, IL 62903




JOHNSTONE SUPPLY                        JOHNSTONE SUPPLY                        JOHNSTONE SUPPLY
3425 BRIDGELAND DR                      3895 GROVE AVENUE                       6153 MULFORD CT
BRIDGETON, MO 63044                     GURNEE, IL 60031                        NILES, IL 60714




JOHNSTONE SUPPLY                        JOHNSTONE, HALINA E.                    JOINER SHEET METAL & ROOFING
P.O. BOX 1668                           ADDRESS ON FILE                         817 E HARRIS AVE
TUALATIN, OR 97062                                                              GREENVILLE, IL 62246




JOINER, CONNIE                          JOINER, DUSTIN L.                       JOINER, DUSTIN L.
162 HILLSIDE TERRACE                    410 72ND PL                             ADDRESS ON FILE
ANNA, IL 62906                          SPRINGFIELD, OR 97478




JOINER, JUSTIN                          JOINT COMMISION                         JOINT COMMISSION (JCAHO)
ADDRESS ON FILE                         PO BOX 734505                           ONE RENAISSANCE BOULEVARD
                                        CHICAGO, IL 60673-4505                  OAKBROOK TERRACE, IL 60181




JOINT COMMISSION RESOURCES INC          JOINT COMMISSION RESOURCES              JOINT COMMISSION RESOURCES, INC
16353 COLLECTIONS CENTER DR             16353 COLLECTION CENTER DR              16353 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693                       CHICAGO, IL 60693                       CHICAGO, IL 60693-0000
JOINT COMMISSION       Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                     JOINT COMMISSION               Page JOINT
                                                                          921 COMMISSION,
                                                                               of 1969 THE (JCAHO)
ACCREDITATION OF HLTHCARE            ACCREDITATION OF HLTHCARE           P.O. BOX 92775
P.O. BOX 734505                      P.O. BOX 92775                      CHICAGO, IL 60675-2775
CHICAGO, IL 60673-4505               CHICAGO, IL 60675




JOINT COMMISSION, THE               JOINT COMMISSION, THE                JOINT RESTORATION FNDN
ONE RENAISSANCE BOULEVARD           RECEIVABLES                          P.O. BOX 843549
OAKBROOK TERRACE, IL 60181          P.O. BOX 734505                      KANSAS CITY, MO 64184-3549
                                    CHICAGO, IL 60673-4505




JOINT RESTORATION FOUNDATION        JOINT RESTORATION FOUNDATION         JOINT RESTRORATION FOUNDATION
6278 S TROY CIRCLE                  P.O. BOX 843549                      PO BOX 843549
CENTENNIAL, CO 80111                KANSAS CITY, MO 64184-3549           KANSAS CITY, MO 64184




JOLENE A FOWLER                     JOLES, STEPHANIE                     JOLIE KELLER
3285 HWY 34 S                       ADDRESS ON FILE                      ADDRESS ON FILE
HARRISBURG, IL 62946




JOLLEY TAMMY                        JOLLEY, JOLENE                       JOLLEY, JUDY
954 W 810 S                         444 E. PREMIER LANE                  157 GLOVER STORE RD
TOOELE, UT 84074                    GRANTSVILLE, UT 84029                PALMERSVILLE, TN 38241




JOLLEY, REGINA                      JOLLY KITTY JOYCE                    JOLLY, CAROL A.
ADDRESS ON FILE                     38365 DEXTER RD                      ADDRESS ON FILE
                                    DEXTER, OR 97431




JOLLY, SHEILA                       JOLYN WINKLER                        JON BARRY & ASSOCIATES INC
29730 WALNUT HILL RD                P.O. BOX 928                         PARAGON REVENUE GROUP
CENTRALIA, IL 62801                 LITTLEFIELD, AZ 86432                P.O. BOX 1158
                                                                         CONCORD, NC 28026




JON BUFORD                          JON BUFORD                           JON LEDFORD
8339 KUHN STATION RD                8339 KUHN STATION ROAD               ADDRESS ON FILE
EDWARDSVILLE, IL 62025              EDWARDSVILLE, IL 62025




JON M SOPHER                        JON OCKANDER                         JONAS FITNESS INC
960 KNOX HIGHWAY 8                  ADDRESS ON FILE                      330 SOUTH WARMINISTER ROAD
GILSON, IL 61436                                                         SUITE 360
                                                                         HATBORO, PA 19040




JONAS, TORI                         JONASSON, KATELYN                    JONATHAN DANIEL SCHAFER
106 PARKVIEW CT                     ADDRESS ON FILE                      1501 CRYSTAL DR
TROY, IL 62294                                                           APT 228
                                                                         ARLINGTON, VA 22202
JONATHAN HART             Case 20-10766-BLS    Doc
                                        JONATHAN    6 Filed 04/07/20
                                                 LEHMAN                     Page JONATHAN
                                                                                  922 of 1969
                                                                                          M MCELHANNON
220 S NICKLE ST 3                       ADDRESS ON FILE                          222 3RD AVE
DEMING, NM 88030                                                                 WINDER, GA 30680-1800




JONATHAN MATZENBACHER                   JONATHAN MAY                             JONATHAN MCMAHAN
6853 MATZENBACHER LANE                  ADDRESS ON FILE                          1460 G STREET
RED BUD, IL 62278                                                                SPRINGFIELD, OR 97477




JONATHAN SHAFFER                        JONATHAN W.DAIL                          JONEIKIS, JUDITH L.
10151 S. PARNELL                        1074 SPRING GREEN RD                     ADDRESS ON FILE
CHICAGO, IL 60628                       ROBERSONVILLE, NC 27871




JONES - ICEO, JASON                     JONES & BARTLETT LEARNING, LLC           JONES ANNE M
FANNIN REGIONAL HOSPITAL                P.O. BOX 417289                          7420 LEYTON DR SE
2855 OLD HIGHWAY 5 NORTH                BOSTON, MA 02241-7289                    ADA, MI 49301
BLUE RIDGE, GA 30513




JONES ANNIE R                           JONES AUTOMOTIVE                         JONES BRADLEY K
3317 HEATHER DR                         402 S MAIN ST                            8658 ST LEOS ROAD
MARKHAM, IL 60428                       MONMOUTH, IL 61462                       RED BUD, IL 62278




JONES BRENDA M                          JONES BRIAN L                            JONES DALTON R
ADDRESS ON FILE                         316 COUNTY RD 756                        40 DEVON CT
                                        VALLEY HEAD, AL 35989-8377               APT 9
                                                                                 EDWARDSVILLE, IL 62025




JONES DAVID                             JONES DAY                                JONES DAY
ADDRESS ON FILE                         555 CALIFORNIA ST                        NORTH POINT, 901 LAKESIDE AVE
                                        26TH FLR                                 CLEVELAND, OH 44114-1190
                                        SAN FRANCISCO, CA 94104




JONES ELAINE M                          JONES ELECTRIC MECHANICAL COMPANY        JONES HEATHER T
1124 VALMEYER RD                        3038 COUNTY ROAD 28                      2230 FISCHER RD NE
COLUMBIA, IL 62236                      CROSSVILLE, AL 35962                     FORT PAYNE, AL 35967-7687




JONES II, BILLY W.                      JONES II, WILLIAM K.                     JONES JOHN JR
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




JONES LAMAR A                           JONES LENA                               JONES LILLIE
15742 LARAMIE AVE APT K                 921 E 100TH PLACE                        12709 S MORGAN
OAK FOREST, IL 60452                    CHICAGO, IL 60628                        CHICAGO, IL 60628
JONES LYNN M            Case 20-10766-BLS    Doc 6INCORPORATED
                                      JONES MCLEOD   Filed 04/07/20   Page JONES
                                                                            923 of 1969A
                                                                                 SHARON
123 CHICKADEE RD                       P.O. BOX 101329                     ADDRESS ON FILE
MORGANTON, GA 30560                    BIRMINGHAM, AL 35210




JONES, ALEX                            JONES, AMY K.                       JONES, ANDREA
327 REEDY CIRCLE                       1340 LENNINGTON CIR NE              87 ADELE RD
BOAZ, AL 35957                         KANKAKEE, IL 60901                  HAZEL GREEN, KY 41332




JONES, ANGELA C.                       JONES, ANGELA L.                    JONES, ANNA
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




JONES, ANNIE                           JONES, APASRA M.                    JONES, ASHLEY M.
3130 BELLEMEADE DR                     2380 RICHWOOD DR                    ADDRESS ON FILE
AUGUSTA, GA 30906                      AUGUSTA, GA 30906-8915




JONES, ASHLEY MEGAN                    JONES, ASHLEY MEGAN                 JONES, ASHLEY S.
ADDRESS ON FILE                        PT                                  ADDRESS ON FILE




JONES, ASHLEY                          JONES, BARBARA MOSES                JONES, BECKY
2019 E 1ST ST                          3007A GODFREY AVE SE                270 PC 277 RD
GALESBURG, IL 61401                    FORT PAYNE, AL 35967                WEST HELENA, AR 72390




JONES, BERNARD                         JONES, BETHANY                      JONES, BEVERLY
2018 AUTUMN RIDGE WAY                  ADDRESS ON FILE                     300 HICKORY RIDGE APT 10
SPRING HILL, TN 37174                                                      CENTRALIA, IL 62801




JONES, BILL JR                         JONES, BOBBIE A.                    JONES, BOBBY
5047 LUM RD                            15925 LECLAIRE AVENUE APT 3A        ADDRESS ON FILE
LETOHATCHEE, AL 36047                  OAK FOREST, IL 60452




JONES, BRANDI L.                       JONES, BRANDI                       JONES, BRANDY S.
112 JONESBORO ROAD                     211 LINCOLN STREET                  604 E MARABLE ST
BIG SPRING, TX 79720                   ANNA, IL 62906                      MONROE, GA 30656




JONES, BRENDA                          JONES, BRIDGET                      JONES, CAITLIN P.
ADDRESS ON FILE                        2019 MORELAND ST                    ADDRESS ON FILE
                                       LAS VEGAS, NM 87701
JONES, CANDIS S.        Case 20-10766-BLS     Doc 6
                                      JONES, CASEY        Filed 04/07/20   Page JONES,
                                                                                 924 ofCASSANDRA
                                                                                        1969 D.
3417 EMMA LN                           ADDRESS ON FILE                         214 WOODLAND DR
GODFREY, IL 62035                                                              SALEM, IL 62881




JONES, CHARLES S.                      JONES, CHENOA E.                        JONES, CHRISTIE D.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JONES, CHRISTINE                       JONES, CORY                             JONES, DANA
ADDRESS ON FILE                        28 WHEATRIDGE                           155 SCHOOL HOUSE HILL
                                       COLLINSVILLE, IL 62234                  COPPERHILL, TN 37317




JONES, DANI                            JONES, DANIEL B.                        JONES, DANIELLE Z.
ADDRESS ON FILE                        BRIDGEWAY                               298 GRIFFITH ST.
                                       P.O. BOX 1447                           TOOELE, UT 84074
                                       GALESBURG, IL 61401




JONES, DANIELLE                        JONES, DARLA                            JONES, DATREAIL
820 S 20TH                             P.O. BOX 680496                         345 RUSS ST.
HERRIN, IL 62948                       FORT PAYNE, AL 35968                    WEST HELENA, AR 72390




JONES, DAVID G.                        JONES, DAVID R.                         JONES, DAVID
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




JONES, DEBORAH K.                      JONES, DIANNE                           JONES, EBONY C.
732 ALMOND DRIVE                       1577 WATCHMANS POINT                    ADDRESS ON FILE
WATSONVILLE, CA 95076                  MESQUITE, NV 89034




JONES, ELAINE                          JONES, ELIZABETH                        JONES, ERIN
1312 CREEK VIEW DRIVE                  14511 E RTE 72                          ADDRESS ON FILE
MONROE, GA 30655                       DAVIS JUNCTION, IL 61020




JONES, ESTHER                          JONES, EUGENE C.                        JONES, FREDDIE H.
112 GOLF RD                            502 W JEFFERSON ST.                     641 E 83RD PL
PLYMOUTH, NC 27962                     MARION, IL 62959                        CHICAGO, IL 60619-5805




JONES, GENEVA                          JONES, GENEVA                           JONES, GERRI
80 MADISON STREET                      P.O. BOX 314                            9837 S FOREST
MARIANNA, AR 72360                     JACKSON, KY 41339                       APT H
                                                                               CHICAGO, IL 60628
JONES, GERTRUDE R.      Case 20-10766-BLS     DocL.6
                                      JONES, GINA          Filed 04/07/20   Page JONES,
                                                                                  925 ofGIQUILLA
                                                                                          1969
ADDRESS ON FILE                        150 FOUNTAINS BLVD.                       1525 CROWELL ST
                                       BRANDON, MS 39047                         MT PLEASANT, NC 28124




JONES, HEATHER M.                      JONES, HEATHER                            JONES, HENRIETTA
818B FOSTER AVE                        2230 FISCHER RD NE                        108 E SCOTT
CAMBRIDGE, OH 43725                    FORT PAYNE, AL 35967                      FORREST CITY, AR 72335




JONES, HERDIS C.                       JONES, HOLLI                              JONES, HONORA L.
601 DOSTER BRANCH RD                   ADDRESS ON FILE                           8022 S KENWOOD
EPWORTH, GA 30541                                                                CHICAGO, IL 60619




JONES, IESHA C.                        JONES, JANET M.                           JONES, JANISE D.
ADDRESS ON FILE                        390 WINE BRANCH RD                        2327 SHERMAN AVE
                                       MURPHY, NC 28906                          NORTH CHICAGO, IL 60064




JONES, JASON L.                        JONES, JASON                              JONES, JEANNEY
ADDRESS ON FILE                        ADDRESS ON FILE                           120 BOWMAN DRIVE
                                                                                 LEESBURG, AL 35983




JONES, JENNIFER T.                     JONES, JERMAINE                           JONES, JESSE S.
12940 US HWY 64                        1570 DIABLO DR APT A                      ADDRESS ON FILE
WILLIAMSTON, NC 27892                  HOLLISTER, CA 95023




JONES, JESSICA A.                      JONES, JESSICA K.                         JONES, JESSICA R.
1214 FLINT ST                          ADDRESS ON FILE                           17 ORANGE BLOSSOM WAY
RED BUD, IL 62279                                                                WATSONVILLE, CA 95076




JONES, JESSICA                         JONES, JOANNA                             JONES, JOHN
14905 S. CICERO AVE                    232 CEDAR LANDING RD                      ADDRESS ON FILE
OAK FOREST, IL 60452                   WINDSOR, NC 27983




JONES, JOHN                            JONES, JOHN, MD                           JONES, JOHN, MD
P.O. BOX 603                           ADDRESS ON FILE                           ADDRESS ON FILE
RICHTON, MS 39476




JONES, JOHNATHON                       JONES, JOHNNIE B                          JONES, JUDITH
7010 BOARDTOWN ROAD                    1880 LEE 332 RD                           ADDRESS ON FILE
ELLIJAY, GA 30540                      MARIANNA, AR 72360
JONES, KANDI M.          Case 20-10766-BLS     Doc 6A. Filed 04/07/20
                                       JONES, KAREN                     Page JONES,
                                                                              926 ofKARON
                                                                                     1969
1405 PARK CIRCLE DRIVE                  718 3RD ST NE                        308 S BLAYNEY
CLARKSDALE, MS 38614                    MASSILLON, OH 44646                  ALEXIS, IL 61412




JONES, KATIE M.                         JONES, KATTIE                        JONES, KAYLA
1361 JONES STREET                       740 DOGWOOD COVE                     ADDRESS ON FILE
FORREST CITY, AR 72335                  WEST MEMPHIS, AR 72301




JONES, KELSEY N.                        JONES, KORY D.                       JONES, KRISTI
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




JONES, LESTER                           JONES, LIBBIE                        JONES, LILLIAN D.
P.O. BOX 166                            16427 S MARSHFIELD                   ADDRESS ON FILE
WABASH, AR 72389                        MARKHAM, IL 60428




JONES, LINDSEY R.                       JONES, LIZZIE                        JONES, LONDON
ADDRESS ON FILE                         217 E TAYLOR ST 047                  ADDRESS ON FILE
                                        AUGUSTA, GA 30901




JONES, LORNA                            JONES, LYDIA N.                      JONES, LYNN
1394 MCKINSEY RIDGE                     400 N 10TH ST                        308 HONAKER RD
LOGANVILLE, GA 30052                    ALPINE, TX 79830                     BLAIRSVILLE, GA 30512




JONES, M.D., BRIAN G.                   JONES, MARGARET L.                   JONES, MARILYN M.
ADDRESS ON FILE                         1111 7TH STREET                      1026 WINDSOR DRIVE
                                        LAS VEGAS, NM 87701                  MONROE, GA 30656




JONES, MARQUISHA T.                     JONES, MARY                          JONES, MARY
ADDRESS ON FILE                         534 FORTNER RD                       P.O. BOX 2275
                                        RAINSVILLE, AL 35986                 WEST HELENA, AR 72390




JONES, MATTHEW                          JONES, MEGAN                         JONES, MELISSA
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




JONES, MICHAEL P MD                     JONES, MICHAEL                       JONES, MICHELLE
ADDRESS ON FILE                         2538 AUGUSTA CT                      P.O. BOX 423
                                        WADSWORTH, IL 60083                  LOGANDALE, NV 89021
JONES, OLENE              Case 20-10766-BLS     Doc 6 C. Filed 04/07/20
                                        JONES, PATRICK                    Page JONES,
                                                                                927 ofPAULA
                                                                                       1969Y.
P.O. BOX 254                              4432 16TH ST NW                      ADDRESS ON FILE
MCKENZIE, AL 36456                        CANTON, OH 44708




JONES, RACHEL S.                          JONES, RANDALL KEVIN                 JONES, REGINA
450 ECHO VALLEY ROAD                      94 WINCHESTER DRIVE                  7135 168TH ST
SALINAS, CA 93907                         WASHINGTON, NC 27889                 TINLEY PARK, IL 60477




JONES, RILEY O.                           JONES, ROBBI                         JONES, ROGER
ADDRESS ON FILE                           7949 S VERNON AVE                    6849 PARADISE RD
                                          CHICAGO, IL 60619                    SALINAS, CA 93907




JONES, SABRINA FOUNTAIN                   JONES, SABRINA K.                    JONES, SAMUEL N.
107 W BRAYTON                             ADDRESS ON FILE                      ADDRESS ON FILE
CHICAGO, IL 60628




JONES, SANDRA R.                          JONES, SARA                          JONES, SAVANNAH
ADDRESS ON FILE                           317 S LOCUST ST                      9425 S LOOMIS ST
                                          JONESBORO, IL 62952                  CHICAGO, IL 60620




JONES, SHANNAN                            JONES, SHARNEL                       JONES, SHARON
2938 MILLERSBURG RD                       936 W BERRIEN ST                     ADDRESS ON FILE
WOOSTER, OH 44691-9461                    GALESBURG, IL 61401




JONES, SHARON                             JONES, SHERYL A.                     JONES, STEPHANIE L.
ADDRESS ON FILE                           378 HOLTON                           1739 N ROCKWELL ST UNIT G
                                          GALESBURG, IL 61401                  CHICAGO, IL 60647




JONES, TABATHA L.                         JONES, TANISHIA L.                   JONES, TARA
2083 PHILLIPS 251 ROAD                    4115 W. 127TH STREET APT 1           1508 CEDAR KNOLL DR
LEXA, AR 72355                            ALSIP, IL 60803                      ASHLAND, KY 41102




JONES, TERESA A.                          JONES, THOMAS W.                     JONES, THONDA LEE
550 TIMBERLAKE ROAD                       1422 ST THOMAS RD                    527 PENNYSTONE DR
LEXINGTON, TN 38351                       GRANITE CITY, IL 62040               FRANKLIN, TN 37067




JONES, TIARA D.                           JONES, TIFFANY M.                    JONES, TRACIE
333 MLK DR                                431 KIRKLAND RD APT4232              8658 ST LEOS RD
FORREST CITY, AR 72335                    COVINGTON, GA 30016                  RUMA, IL 62278
JONES, TRISTA               Case 20-10766-BLS     Doc 6 JR.Filed 04/07/20
                                          JONES, TYRONE,                    Page JONES,
                                                                                  928 ofWANDA
                                                                                         1969K.
1090 OLD PARIS RD                           10608 S NORMAL                       ADDRESS ON FILE
MCKENZIE, TN 38201                          CHICAGO, IL 60628




JONES, WENDY                                JONES, WILLIAM                       JONES, YVETTE B.
ADDRESS ON FILE                             ADDRESS ON FILE                      7573 COUNTY ROAD 229
                                                                                 CLYDE, TX 79510




JONES, YVETTE                               JONES, ZACHARY A.                    JONES-HOELZLE, PATTY
400 N 10TH ST APT D                         115 BERTHA ST                        705 MARYLAND SW
ALPINE, TX 79830                            MCKENZIE, TN 38201                   CANTON, OH 44710




JONES-JACKSON, CHARITA                      JONES-MCKEE, BROOKE A.               JONI REED
504 JEFF WHITE RD                           ADDRESS ON FILE                      236 GARRETT STREET
MERRY HILL, NC 27957                                                             RAINSVILLE, AL 35986




JONI STOVALL                                JONNASSEN, SHANNON                   JONNI MCCLURE
938 MCKENZIE CREST DR                       ADDRESS ON FILE                      ADDRESS ON FILE
SPRINGFIELD, OR 97477-1575




JORDAN BARRON                               JORDAN DIANE                         JORDAN GRILLIOT
704 HILLSIDE                                ADDRESS ON FILE                      225 2ND ST NW
BIG SPRING, TX 79720-0000                                                        CANTON, OH 44702-1513




JORDAN MELISSA J                            JORDAN WENIA                         JORDAN, ALEJANDRO
7720 FRUIT ROAD                             170 NEW SADDLE DRIVE                 ADDRESS ON FILE
EDWARDSVILLE, IL 62025                      P.O. BOX 210
                                            STOCKTON, UT 84071




JORDAN, ANTHONY T.                          JORDAN, ANTHONY T.                   JORDAN, BENJAMIN
7152 BROOMFIELD WAY                         ADDRESS ON FILE                      24 ASH WAY NE
RALEIGH, NC 27615                                                                WHITE, GA 30184




JORDAN, DEANNE                              JORDAN, DONNA                        JORDAN, EMMETT LANIER
ADDRESS ON FILE                             6343 TAYLOR RD                       4693 CLEAR CREEK RD
                                            CLINTON, OH 44216                    NEWTON, GA 39870




JORDAN, JEFFERY                             JORDAN, JESSICA                      JORDAN, JOHN
3950 BUNCOMBE RD                            ADDRESS ON FILE                      P.O. BOX 73
VIENNA, IL 62995                                                                 BLUFORD, IL 62814
JORDAN, JOSEPH          Case 20-10766-BLS
                                      JORDAN,Doc 6
                                             KAREN       Filed 04/07/20   Page JORDAN,
                                                                                929 of MACEY
                                                                                       1969
6058 BANBRIDGE DR                     1110 JOHN DEER RD                        P.O. BOX 120
ROSCOE, IL 61073                      MONROE, GA 30656                         PAINTSVILLE, KY 41240




JORDAN, PHYLLIS                       JORDAN, ROBIN                            JORDAN, ROSELLA D.
ADDRESS ON FILE                       ADDRESS ON FILE                          ADDRESS ON FILE




JORDAN, SARAH E.                      JORDAN, TANIA                            JORDEN, NANCY A.
935 BAXTER ST APT 6                   ADDRESS ON FILE                          THE WOODEN SPOON CATERING
ATHENS, GA 30606                                                               11267 STIRITZ RD
                                                                               WEST FRANKFORT, IL 62896




JORDYN PLATT                          JORGENSEN, BETTY H.                      JORGENSEN, NANCY
2810 FLETCHER ROAD                    338 COLLEEN CT E                         520 W PHEASANT CT
MARFA, TX 79834                       MESQUITE, NV 89027                       ROUND LAKE BEACH, IL 60073




JORGENSEN, REBECCA                    JORGENSON, MATTHEW LEE                   JORSON & CARLSON CO
321 CANDELLARIA DR                    3823 WINSLOW AVE                         1501 PRATT BLVD
TOOELE, UT 84074                      SPRINGFIELD, OR 97477                    ELK GROVE VILLAGE, IL 60007




JOSE AGUILAR                          JOSE DE LA CRUZ                          JOSE JACOB MD
ADDRESS ON FILE                       2104 S BRYANT DR                         ADDRESS ON FILE
                                      DEMING, NM 88030




JOSE ROCHA                            JOSE, ACHAMMA                            JOSE, JUAN EULALIA
505 15TH STREET NE                    ADDRESS ON FILE                          1106 WILLIAMS AVE NE
FORT PAYNE, AL 35967                                                           FORT PAYNE, AL 35967-4548




JOSELYN WILLIAMS                      JOSEPH A. HASTINGS                       JOSEPH BOWEN
201 MARTIN LUTHER KING ST             ADDRESS ON FILE                          P.O. BOX 488
COLP, IL 62921                                                                 FORT GAY, WV 25514




JOSEPH CHAVEZ, MD                     JOSEPH DAWES                             JOSEPH DEMATTEI
ADDRESS ON FILE                       2510 BROADWAY ST                         ADDRESS ON FILE
                                      BIG SPRING, TX 79720-0000




JOSEPH E MARINO                       JOSEPH E WENGERD                         JOSEPH ERNST MD
ADDRESS ON FILE                       3313 US ROUTE 62                         ADDRESS ON FILE
                                      MILLERSBURG, OH 44654
JOSEPH F FERNANDEZ     Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                     JOSEPH HACKER                  Page JOSEPH
                                                                          930 ofJ 1969
                                                                                  HENDEL
2194 BEECHMOOR DR NW                 1034 MAIN ST                        207 S MAIN ST
NORTH CANTON, OH 44720               PORTERDALE, GA 30014-3439           P.O. BOX 323
                                                                         AVON, IL 61415




JOSEPH J HENDEL                     JOSEPH JOHNSON, M.D.                 JOSEPH LADD
207 S MAIN ST                       ADDRESS ON FILE                      110 HUMBLE DR
PO BOX 323                                                               LAVERGNE, TN 37086-2507
AVON, IL 61415




JOSEPH P ARMSTRONG                  JOSEPH PLASSE                        JOSEPH SECK
425 HORSESHOE DR A                  37 DOREN CT.                         136 GALLO RD NW
DEMING, NM 88030                    CHULA VISTA, CA 91910                CARROLLTON, OH 44615




JOSEPH SO, MD                       JOSEPH SURMITIS MD                   JOSEPH SYLVIA R
4 KENTFIELD                         4455 DRESSLER RD NW                  301 DAMON ST
MATTOON, IL 61938                   CANTON, OH 44718                     P.O. BOX 386
                                                                         LOWELL, OR 97452-0000




JOSEPH THOMAS LANZI, JR DBA LANZI   JOSEPH W SINGER                      JOSEPH WYLIE
ORTHO                               1124 KENYON AVE SE                   1900 RIDGE AVE
4024 ROADSIDE CT                    MASSILLON, OH 44647                  GREENVILLE, IL 62246
EL PASO, TX 79922




JOSEPH ZIPPRICH                     JOSEPH, ANDREW                       JOSEPH, ASHLEY
101 S WILSON HEIGHT                 401 W 700 SO                         2013 W EAGLE RIDGE DR APT 309
COLLINSVILLE, IL 62234              TOOELE, UT 84074                     WAUKEGAN, IL 60087




JOSEPH, BEENA                       JOSEPH, BRITTANY ANN                 JOSEPH, JEAN
1590 SOUTH LANCASTER LANE           154 SHADE TREE LN UNIT A             3110 HAYNES CLUB CR
LIBERTYVILLE, IL 60048              MESQUITE, NV 89027-0000              GRAYSON, GA 30017




JOSEPH, JOANN M.                    JOSEPH, SEEMA                        JOSEPH, SHARON R.
ADDRESS ON FILE                     2410 BROCKTON COURT                  2101 BRIARWOOD AVE SW APT410
                                    ARLINGTON HEIGHTS, IL 60004          FORT PAYNE, AL 35967




JOSEPH, SIBU                        JOSEPH, VICKY                        JOSEPHINE ENCINIAS
4035 WASHINGTON ST                  11788 E. OAK LN                      321 COMMERCE ST SPACE 2
DOWNERS GROVE, IL 60515             MT. VERNON, IL 62864-1915            LAS VEGAS, NM 87701




JOSEPHINE LOYD                      JOSEPHINE ROBERTSON                  JOSH LAUGHLIN
ADDRESS ON FILE                     4251 MAPLETON ST SE                  ADDRESS ON FILE
                                    CANTON, OH 44707
JOSHUA A STYLES        Case 20-10766-BLS     Doc 6 Filed
                                     JOSHUA ALBREKTSON,  M.D.04/07/20   Page JOSHUA
                                                                              931 ofGIBB
                                                                                     1969
125 COUNTRY LINE AUBURN RD           1770 IOWA AVE                           337 KNOX HIGHWAY 37
AUBURN, GA 30011-3090                RIVERSIDE, CA 92507                     WATAGA, IL 61488-9436




JOSHUA HOWARD                         JOSHUA ROPER                           JOSHUA VANCE
ADDRESS ON FILE                       7152 HONORAVILLE RD                    822 COTTON HILL ROAD
                                      HONORAVILLE, AL 36042                  FORT GAY, WV 25514




JOSIAH EBERT                          JOSIE COLLINS                          JOSIE KING FOUNDATION, THE
316 E 3RD ST                          ADDRESS ON FILE                        P.O. BOX 16337
OFALLON, IL 62269                                                            BALTIMORE, MD 21210




JOST, ALICE                           JOST, EMILY M.                         JOST, KATHRYN
ADDRESS ON FILE                       ADDRESS ON FILE                        202 E MASTERS TRAIL
                                                                             VERNON HILLS, IL 60061




JOST, MAUREEN H.                      JOTOJOT, MENCHU A.                     JOUETT, DANIELLE M.
1103 1/2 PALMER PL                    11808 E COUNTY ROAD 24                 ADDRESS ON FILE
WAUKEGAN, IL 60085                    COAHOMA, TX 79511




JOUETT, NICHOLAS                      JOUETT, VALERIE M.                     JOULE, KATHLEEN M.
ADDRESS ON FILE                       ADDRESS ON FILE                        566 BUTLER CREEK
                                                                             CHERRYLOG, GA 30522




JOURAVLEVA NATALIA                    JOURDAN, LEAMON J.                     JOURDAN, THOMAS
6001 WESTMINSTER LN                   61 WOODSTOCK DRIVE                     194 CLAUDE NEAL LANE
GURNEE, IL 60031                      BLUE RIDGE, GA 30513                   BLUE RIDGE, GA 30513




JOVEN DECLARO, MARIA CECILIA B.       JOVINGO, LINDA                         JOWERS, BETHANY FOR BOBBY JOWERS
ADDRESS ON FILE                       4990 HIGH MILL AVE NW                  628 FANNIE CRAWFORD RD
                                      MASSILLON, OH 44647-9306               DARDEN, TN 38328




JOWERS, BETTY                         JOWERS, CHERI B.                       JOY & YOUNG LLP
5720 POPLAR SPRINGS BARG RD           ADDRESS ON FILE                        2499 S CAPITAL OF TEXAS HWY
LEXINGTON, TN 38351                                                          STE A-101
                                                                             AUSTIN, TX 78746-7757




JOY E KLINE                           JOY, PATRICIA                          JOYA, JONATHAN
13510 N 900TH RD                      4524 MEESE RD                          1428 SEDWICK RD
MACOMB, IL 61455                      LOUISVILLE, OH 44641                   DURHAM, NC 27713
JOYCE A THOMAS          Case 20-10766-BLS    Doc M.D.
                                      JOYCE ALASE 6      Filed 04/07/20   Page JOYCE
                                                                                932 of 1969
                                                                                     BRANCATO
510 ILLINOIS AVE                      ADDRESS ON FILE                          18951 SE 72ND AVENUE
WEST FRANFORT, IL 62896                                                        INGLIS, FL 34449-3991




JOYCE DOTTAVIO                        JOYCE HINKLE                             JOYCE HODGE
2606 LINCOLN WAY NW                   ADDRESS ON FILE                          1567 EDGEBROOK DR
LOT 7                                                                          GALESBURG, IL 61401
MASSILLON, OH 44647




JOYCE HUFFMAN                         JOYCE L BAYLES                           JOYCE L WIMAN
2844 NEIMANS AVE SE                   303 N FRYE ST                            105 SILVER DR
EAST CANTON, OH 44730-9762            PITTSBURG, IL 62974                      MONROE, LA 71203-2104




JOYCE MCCOY                           JOYCE MILES                              JOYCE N MCFARLAND
7821 S CREGIER AVE                    15213 SOUTH DANTE                        501 MARKET ST NE
CHICAGO, IL 60649                     DOLTON, IL 60419                         NAVARRE, OH 44662




JOYCE ROSSON                          JOYCE SAUNDERS                           JOYCE V STEELE
121 EVERGREEN DRIVE                   2457 38TH ST NE                          777 PRESERVE PARK DR
ANNA, IL 62906                        CANTON, OH 44705                         LOGANVILLE, GA 30052-8300




JOYCE, KRISTIN                        JOYCHE BEHRENS                           JOYNER ARIAL
ADDRESS ON FILE                       1095 MACOMB RD                           355 HIGH COUNTRY CIRCLE
                                      GALESBURG      IL, IL 61401              MORGANTON, GA 30560




JOYNER LAWRENCE D                     JOYNER, APRIL S.                         JOYNER, BEVERLY
355 HIGH COUNTRY CIRCLE               4006 US HWY 17                           1903 WESTFIELD COURT
MORGANTON, GA 30560                   WILLIAMSTON, NC 27892                    GRIFFITH, IN 46319




JOYNER, CHASTITY                      JOYNER, JESSICA                          JOYNER, JORDAN M.
705 RIVERVIEW DR                      ADDRESS ON FILE                          5875 WINTERSET DR
GREEN RIVER, WY 82935                                                          CARTERVILLE, IL 62918




JOYNER, KAREN                         JP MORGAN CHASE BANK NA                  JP MORGAN CHASE BANK NA
1005 CYPRESS DR                       270 PARK AVE                             416 WEST JEFFERSON STREET
DANBURY, CT 06811                     NEW YORK, NY 10017-2014                  LOUISVILLE, KY 40202




JP MORGAN CHASE BANK NA               JP MORGAN CHASE BANK NA                  JP MORGAN CHASE BANK NA
AS ADMINISTRATIVE AGENT               AS ADMINISTRATIVE AGENT                  AS ADMINISTRATIVE AGENT
P.O. BOX 2558                         P.O. BOX 2558                            P.O. BOX 33035
HOUSTON, TX 77252                     HOUSTON, TX 77252-2558                   LOUISVILLE, KY 40232
JP MORGAN CHASE BANK NACase 20-10766-BLS     Doc
                                     JP MORGAN     6 BANK
                                                 CHASE FiledNA04/07/20      Page JP
                                                                                  933 of 1969
                                                                                    MORGAN CHASE BANK NA
AS ADMINISTRATIVE AGENT              P.O. BOX 2558                               P.O. BOX 2559
P.O. BOX 33035                       HOUSTON, TX 77252-2558                      HOUSTON, TX 77252-2559
LOUISVILLE, KY 40232-3035




JP MORGAN CHASE BANK NA                JP MORGAN CHASE                           JPG TECHNOLOGIES INC
P.O. BOX 33035                         JP MORGAN CHASE BANK NATIONAL             MEDIMOBILE
LOUISVILLE, KY 40232-3035              ASSOCIATION                               1918 LEANDER RD
                                       AS ADMINISTRATIVE AGENT                   GEORGETOWN, TX 78628
                                       P.O. BOX 2558
                                       HOUSTON, TX 77252

JPMORGAN CHASE (0902, 1970, 3622)      JPMORGAN CHASE BANK NA                    JRC BUILDING SERVICES INC.
ATTN JEFF LAZARUS OR REORG MGR NY1-    C/O FIRST AMERICAN TITLE INSURANCE        4195 GROVE AVE
C094                                   COMPANY                                   GURNEE, IL 60031
4 METROTECH CENTER - 3RD FLOOR         P.O. BOX 6026
BROOKLYN, NY 11245                     CHICAGO, IL 60680-6026



JRF ORTHO                              JRP ELECTRIC                              JSF, INC
P.O. BOX 843549                        P.O. BOX 382                              570 HARDING AVE.
KANSAS CITY, MO 64184-3549             ALPINE, TX 79831                          GLEN ELLYN, IL 60137




JT POSEY CO                            JTECH                                     JTW HOLDINGS LLC
P.O. BOX 51017                         1400 NORTHBROOK PARKWAY STE320            228 E DELGADA LANE
LOS ANGELES, CA 90051-5317             SUWANEE, GA 30024                         STANSBURY PARK, UT 84074




JU, CATHY E.                           JUAN FLORES-GARCIA                        JUANA D ALVAREZ
5305 ARBOR LN                          ADDRESS ON FILE                           748 WINDING RIVER LN
CRESTWOOD, IL 60418                                                              WINDER, GA 30680-3875




JUANITA WISEMAN                        JUANITA, TOM                              JUANS CLEANING
2481 PILLOWVILLE GLEASON RD            HC 61 BOX 6048                            1140 MIRAGE DR.
GLEASON, TN 38229-6707                 IBAPAH, UT 84034                          BARSTOW, CA 92311




JUANTIA SCOTT                          JUAREZ PATRICIA J                         JUAREZ ROSALES, MARIA
212 HAWKINSON AVE                      ADDRESS ON FILE                           ADDRESS ON FILE
GALESBURG, IL 61401




JUAREZ, ADAM A.                        JUAREZ, ALEJANDRINA                       JUAREZ, ANEL
505 S. BELL P.O. BOX 2832              49 BLANCA LN                              ADDRESS ON FILE
BIG SPRING, TX 79720                   WATSONVILLE, CA 95076




JUAREZ, JOHANNA                        JUAREZ, KESHIA                            JUAREZ, LETICIA
ADDRESS ON FILE                        ADDRESS ON FILE                           2001 WESTWIND DR
                                                                                 MIDLAND, TX 79707
JUAREZ, PATRICIA A        Case 20-10766-BLS
                                        JUAREZ, Doc  6 J.Filed 04/07/20
                                                PATRICIA                  Page JUAREZ,
                                                                                934 ofPATRICIA
                                                                                       1969
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE




JUAREZ, SUSANA                            JUAREZ, VANESSA C.                   JUAREZ-LUGO, KANNIKA
ADDRESS ON FILE                           ADDRESS ON FILE                      1139 IRONWOOD AVE
                                                                               PALMDALE, CA 93551




JUAREZPORCAYO, OFELIA                     JUBANE, VALENTIN C.                  JUBILANT HOLLISTERSTIER LLC
1112 JUDGE AVE                            5722 GATEWAY LN NE                   14110 COLLECTIONS CTR DR
WAUKEGAN, IL 60085                        BREMERTON, WA 98311                  CHICAGO, IL 60693-0141




JUBY, JACKLYN A.                          JUCKETT, MARY K.                     JUCO, ANTONIO P.
21154 S 80TH AVENUE                       ADDRESS ON FILE                      5803 OXFORD CIRCLE
FRANKFORT, IL 60423                                                            GURNEE, IL 60031




JUCO, ARLENE D.                           JUDA CORDLE                          JUDD, JULIE A.
ADDRESS ON FILE                           P.O. BOX 145                         1853 43RD AVE
                                          DECATURVILLE, TN 38329               CAPITOLA, CA 95010




JUDD, LARRY                               JUDE, AMANDA J.                      JUDE, AUTHUR
P.O. BOX 133302                           ADDRESS ON FILE                      100 STONE COAL ROAD
BIG BEAR LAKE, CA 92315                                                        KERMIT, WV 25674




JUDE, BRYAN                               JUDE, JACQUELINE V.                  JUDE, JENNIFER L.
P.O. BOX 1656                             309 8TH STREET APT C                 ADDRESS ON FILE
INEZ, KY 41224                            LAS VEGAS, NM 87701




JUDE, MARINA                              JUDE, SHAWN L.                       JUDE, TAMMY
RT.65 P.O. BOX 328                        ADDRESS ON FILE                      33997 RT 52
LENORE, WV 25676                                                               FORT GAY, WV 25514




JUDGE OF PROBATE                          JUDGE SURGICAL SYSTEMS               JUDGE, DANIEL
SUITE 100                                 5817 SUTHERLAND                      6813 SE BUNKER HILL DR
300 GRAND AVENUE SW                       ST. LOUIS, MO 63109                  HOBE SOUND, FL 33455-7317
FORT PAYNE, AL 35967




JUDITH A PARKER                           JUDITH BROWN                         JUDITH C LAFAUCI
30 NASSAU ST                              502 E WOODS ST                       813 ROYALETTE AVE
GRANITE CITY, IL 62040                    AVON, IL 61415                       NORTH AUGUSTA, GA 29841-4281
JUDITH EALEY          Case 20-10766-BLS     Doc 6
                                    JUDITH HARDIN        Filed 04/07/20   Page JUDITH
                                                                                935 ofJOHNSON
                                                                                        1969
ADDRESS ON FILE                      502 W WASHINGTON ST                       979 WASHINGTON AVE
                                     MACOMB, IL 61455                          GALESBURG, IL 61401




JUDITH MACHAN                        JUDITH RUTLEDGE                           JUDITH SKELLEY
2849 FASNACHT CR NW                  811 SWEDENBURG RD                         500 NORTH RIDGE HEIGHTS DR
MASSILLON, OH 44646                  KNOXVILLE, IL 61448                       HOWARD, OH 43028




JUDKINS, DAVID                       JUDSON, BESSIE B.                         JUDY BREDSKAR
324 RIVER WIND DR                    110 RITA AVE                              ADDRESS ON FILE
MARION, AR 72364                     COLLINSVILLE, IL 62234




JUDY BUCHHOLZ                        JUDY LEWIS                                JUDY LITTLE
910 VALLEY VIEW                      ADDRESS ON FILE                           B/O
CENTRALIA, IL 62801




JUDY MARTIN                          JUDY ROEVER                               JUDY SHARKEY
P.O. BOX 674                         P.O. BOX 1247                             203 SOUTH FERKEL
LYMAN, WY 82937                      BIG SPRING, TX 79720                      COLUMBIA, IL 62236




JUDY W BLACK                         JUDY WOLFE                                JUELFS, GOLDIE
P.O. BOX 128                         8815 FAIRPARK NW                          3104 AMES RD
GEORGIANA, AL 36033                  CANAL FULTON, OH 44614                    RED BUD, IL 62278




JUELFS, RHONDA K.                    JUELFS, SUSAN                             JUGO, CARLY
1 COLE COURT                         1021 ROSE BERRY DRIVE                     2100 WALNUT CIRCLE
RED BUD, IL 62278                    WATERLOO, IL 62298                        NORTHBROOK, IL 60062




JUGOVIC MARIAN                       JUGOVIC, MARIAN                           JULI MARRUFO
20601 N IL HWY 78                    20601 N IL HWY 78                         ADDRESS ON FILE
CANTON, IL 61520                     CANTON, IL 61520




JULIA B. NORTH                       JULIA CABRERA                             JULIA IBANEZ
                                     14552 KILDARE AVE                         ADDRESS ON FILE
                                     MIDLOTHIAN, IL 60445




JULIA K SCHOTT                       JULIA L BERNDT                            JULIA SCHIERHOFF
824 COMMONWEALTH AVE NE              4126 MALAER DR                            ADDRESS ON FILE
MASSILLON, OH 44646                  SHARONVILLE, OH 45241
JULIA WHEELER            Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                       JULIAN DANIELLY                Page JULIAN,
                                                                            936 ofKIMBERLY
                                                                                    1969 S.
406 HWY 32                             5555 KENT ROCK RD                   ADDRESS ON FILE
LOUISA, KY 41230                       LOGANVILLE, GA 30052




JULIAN, ROWENA                         JULIANTI THIO PITTS                 JULIE BOSNICK
926 S PACIFIC ST                       ADDRESS ON FILE                     ADDRESS ON FILE
LAS VEGAS, NM 87701




JULIE BRANSKY                          JULIE EDWARDS                       JULIE HUDSON
915 NORDICA DRIVE                      ADDRESS ON FILE                     ADDRESS ON FILE
LOS ANGELES, CA 90065




JULIE LAMPLEY-DOUGLASS                 JULIE REESE                         JULIE SHIRAH
16631 N. MCCAULEY LANE                 109 JOSEPH ST                       ADDRESS ON FILE
MT. VERNON, IL 62864                   COBDEN, IL 62920




JULIE SMITH                            JULIE VANFLEET                      JULIE WIEGERS
ADDRESS ON FILE                        1555 BATEMAN ST                     101 FORESTVIEW DR
                                       GALESBURG, IL 61401                 BELLEVILLE, IL 62220-2710




JULIE WILLIS                           JULIET ALI                          JULIO NAJERA-GARCIA
1084 BELL STORE RD                     5050 SOUTH EAST END AVE             3304 W HWY 80 APT 28
GLEASON, TN 38229-6418                 APT 1-F                             BIG SPRING, TX 79720
                                       CHICAGO, IL 60615




JUN BEOM KWON, MD                      JUN, SOOJIN L.                      JUNE LASLEY
1460 G STREET                          ADDRESS ON FILE                     1245 ROCK ISLAND AVE
SPRINGFIELD, OR 97477                                                      GALESBURG, IL 61401




JUNE TAULBEE                           JUNE, YORK CONNIE                   JUNG, CAROL JO
P.O. BOX 646                           2740 HWY 64 WEST                    81805 LOST VALLEY LN
SALYERSVILLE, KY 41465                 HAYESVILLE, NC 28904                DEXTER, OR 97431-0000




JUNG, JAEHYUN                          JUNIOR ACHIEVEMENT                  JUNIPER HEALTH
ADDRESS ON FILE                        17339 N. OUTER 40 ROAD              P.O. BOX 690
                                       CHESTERFIELD, MO 63005              BEATTYVILLE, KY 41311




JUNK, RANDY J.                         JUNKIN, BARBARA                     JURADO, YOLANDA R.
ADDRESS ON FILE                        611 SOLOMON ST                      ADDRESS ON FILE
                                       CHESTER, IL 62233-1234
JURATICH, RICHARD         Case 20-10766-BLS    Doc 6 Filed
                                        JURGAN DEVELOPMENT    04/07/20
                                                           & MFG INC     Page JURGAN
                                                                               937 ofDEVELOPMENT
                                                                                      1969       & MFG
5610 158TH ST                            6018 S HIGHLANDS AVE                 6018 S. HIGHLANDS AVE
APT 2                                    MADISON, WI 53705                    MADISON, WI 53705
OAK FOREST, IL 60452




JURGAN DEVELOPMENT                       JURKUS, JANIS                        JURYNEC, JEANNETTE M.
6018 S HIGHLAND AVE                      ADDRESS ON FILE                      11440 W 139TH ST
MADISON, WI 53705                                                             ORLAND PARK, IL 60467




JUST IN TIME CLEANING SERVICES           JUSTE, SAPHIRA                       JUSTENE PELPHREY
63 LAWNWOOD DRIVE                        3725 MANCHESTER DRIVE                954 BROADWAY
JACKSON, TN 38305-9409                   LAWRENCEVILLE, GA 30044              PAINTSVILLE, KY 41240




JUSTESEN HILARY                          JUSTICE GLASS SUPPLY                 JUSTICE, CHEYANNE
791 CLIFFORD DR                          2445 3RD AVENUE                      57 1ST AVE
TOOELE, UT 84074                         HUNTINGTON, WV 25703                 EVANSTON, WY 82930




JUSTICE, CIARRA D.                       JUSTICE, CINDY G.                    JUSTICE, COURTNEY B.
2103 MANLEY AVE                          318 9TH AVENUE WEST                  1204 WINN RD
GRANITE CITY, IL 62040                   HUNTINGTON, WV 25701                 SCOTTSBORO, AL 35769




JUSTICE, KATIE                           JUSTICE, KINDRA S.                   JUSTICE, NATASHA N.
5439 BEULAH HWY                          ADDRESS ON FILE                      ADDRESS ON FILE
MILLEDGEVILLE, GA 31061




JUSTICE, PATRICIA L.                     JUSTICE, PEGGY                       JUSTICE, PRESSLEY C.
ADDRESS ON FILE                          2769 S HIGHWAY 201                   307 BARRY ST SW
                                         BLAINE, KY 41124                     FORT PAYNE, AL 35968-3503




JUSTICE, RETUS AND DEBRA                 JUSTICE, SHANTELL                    JUSTIN GOMEZ
P.O. BOX 455                             ADDRESS ON FILE                      ADDRESS ON FILE
CRUM, WV 25669




JUSTIN LYM                               JUSTIN W BILDERBACK                  JUSTIN WHIPPLE
3164 COUNTY ROAD 263                     7628 LITTLE WOLF ROAD                P.O. BOX 7423
FORT BRIDGER, WY 82933                   CARBONDALE, IL 62902                 BUNKERVILLE, NV 89007-0423




JUSTINA DAVIS                            JUSTINE LEWIS                        JUSTUS, EFFIE G.
336 COUNTY RD 316                        P.O.BOX 133                          ADDRESS ON FILE
DAWSON, AL 35963                         VALIER, IL 62891
JW TERRIL BENEFIT ADMIN Case 20-10766-BLS     Doc 6 Filed
                                      JZR COMMUNICATIONS     04/07/20
                                                          CO LLC        Page K938   of 1969
                                                                               & B FOODS LLC
ATTN: FINANCE/REFUNDS                 MOAPA VALLEY PROGRESS                  3153 GATEWAY
825 MARYVILLE CENTRE DRIVE            P.O. BOX 430                           SPRINGFIELD, OR 97477
CHESTERFIELD, MO 63017                OVERTON, NV 89040-0430




K AND L MEDICAL, LLC                  K&K CHEMICAL SUPPLY, LLC               K&N SCREENPRINTING
4462 SYCAMORE RD                      3670 SCARLET OAK BLVD                  25 COUNTY ROAD 647
CARTERVILLE, IL 62918                 ST LOUIS, MO 63122-0000                CEDAR BLUFF, AL 35959




K2 CAPITAL GROUP LLC                  K2M, INC                               KA RECRUITING INC
DBA NEUWAVE CAPITAL                   DEPT AT 952184                         10 POST OFFICE SQUARE
6500 CITY WEST PKWAY, STE 401         ATLANTA, GA 31192-2184                 8TH FLOOR SOUTH
EDEN PRAIRIE, MN 55344                                                       BOSTON, MA 02109




KAAZ, RAYMOND                         KABALKIN ANGELINA                      KABAN SHETLER
515 E SOUTH SECOND ST                 100 FOX PAW LEAF COURT                 564 PALOMINO DR
RED BUD, IL 62278                     ELLIJAY, GA 30536                      BEAR RIVER, WY 82930-0000




KABBES, BRIAN                         KACHUBA, CYNTHIA                       KACHUBA, DESIREE K.
2112 TUSCANY CT                       412 DUDLEYVILLE RD                     ADDRESS ON FILE
MARYVILLE, IL 62062                   GREENVILLE, IL 62246




KACI DAVIS                            KACZMAREK RICHARD D                    KACZMARSKI, DARLA K.
70 PINOAK ROAD                        28 EMILY LN                            1111 W 15TH ST. UNIT 223
TRENTON, GA 30752                     LEMONT, IL 60439                       CHICAGO, IL 60608




KADAN, NANCY                          KADELL, AMY                            KADLEC, JASON
5025 139TH PL                         26207 MEDLAND LANE                     907 CIRCLE DRIVE
UNIT 505                              DOW, IL 62022                          RED BUD, IL 62278
CRESTWOOD, IL 60418




KADLETO, CHARLES                      KADRMAS, GORDON                        KADRMAS, RICHARD
815 BREEZE DRIVE                      4282 AVALON ST                         82270 N PACIFIC HWY
LAKE VILLA, IL 60046                  EUGENE, OR 97402                       CRESWELL, OR 97426




KAEFER, ERIC                          KAEMMERLEN PARTS & SERVICE INC         KAEMPER, RUTH
621 SMITH AVE                         1539 S KINGSHIGHWAY                    C/O MARY NEFF
LAKE BLUFF, IL 60044                  ST LOUIS, MO 63110                     3054 FLORAVILLE RD
                                                                             SMITHTON, IL 62285-3704




KAEMPFE, MARK C                       KAFOREY, GERALD                        KAGEMA, EUNICE M.
7 ANDY RUN                            619 5TH ST NW                          4011 GARVEY WAY
WATERLOO, IL 62298                    NORTH CANTON, OH 44720                 RIVERSIDE, CA 92501
KAGIE, SAMANTHA         Case 20-10766-BLS     DocD.6
                                      KAHL, TRAVIS          Filed 04/07/20   Page KAHL,
                                                                                  939 TRAVIS
                                                                                        of 1969
ADDRESS ON FILE                        ADDRESS ON FILE                            ADDRESS ON FILE




KAHLE, ALETHA                          KAHLE, ANNE M.                             KAHN,DEES,DONOVAN,&KAHN,LLP
1402 N STATE ST APT B                  ADDRESS ON FILE                            P.O. BOX 3646
MARION, IL 62959                                                                  EVANSVILLE, IN 47735




KAHNTACT MEDICAL                       KAHNTACT USA INC                           KAHNTACT USA
2547 SUTHERLAND AVE                    37 N HILLSIDE AVE                          P.O. BOX 10954
KNOXVILLE, TN 37919                    HILLSIDE, IL 60162                         KNOXVILLE, TN 37939




KAHTZ, GIGI F.                         KAI, MARIE A.                              KAISER CLAIMS RECOVERY, NCAL
ADDRESS ON FILE                        608 N RED DEER RD                          P.O. BOX 742120
                                       ROUND LAKE, IL 60073                       LOS ANGELES, CA 90074-2120




KAISER FOUNDATION HEALTH PLAN INC      KAISER FOUNDATION HEALTH PLAN              KAISER FOUNDATION HEALTH PLAN
P.O. BOX 60000                         500 NE MULTNOMAH ST 100                    P.O. BOX 403032
FILE 30580                             PORTLAND, OR 97232-2099                    ATTN: REGIONAL CLAIMS RECOVERY
SAN FRANCISCO, CA 94160                                                           ATLANTA, GA 30384-3032




KAISER FOUNDATION HEALTH PLAN,INC      KAISER FOUNDATION HP COLORADO              KAISER FOUNDATION
P.O. BOX 740812                        P.O. BOX 740812                            P.O. BOX 740814
LOS ANGELES, CA 90074-0812             LOS ANGELES, CA 90074                      ATTN: REGIONAL CLAIMS
                                                                                  LOS ANGELES, CA 90074




KAISER PERMANANTE                      KAISER PERMANENTE                          KAISER PERMANENTE/SOUTH
P.O. BOX 370010                        P.O. BOX 34581                             FILE 50187
ATTN: REFUNDS                          SEATTLE, WA 98124-9651                     LOS ANGELES, CA 90074
DENVER, CO 80237-9998




KAISER, CHERYL                         KAITLYN CASPER                             KAJA BLACKWELL
275 EUTAW SPRINGS TRAIL                119 W MONROE ST                            ADDRESS ON FILE
NORTH AUGUSTA, SC 29860                ANNA, IL 62906




KAKOOZA, RECHELLE F.                   KALAHER, MELISSA L.                        KALANTZIS LAW FIRM LLC
ADDRESS ON FILE                        ADDRESS ON FILE                            1861 HICKS ROAD SUITE B
                                                                                  ROLLING MEADOWS, IL 60008




KALB, MELANIE T.                       KALB, RACHEL                               KALB, RACHEL
1413 HOLLY ST                          219 PLAZA ST                               ADDRESS ON FILE
CENTRALIA, IL 62801                    WEST HELENA, AR 72390
KALB, RACHEL            Case 20-10766-BLS    Doc
                                      KALBFELL,    6 Filed 04/07/20
                                                REGINA                Page KALCICH,
                                                                           940 of 1969
                                                                                    JOEL A.
24 HOLIDAY HILLS                       130 N RAILROAD ST                    122 W HAAS MANOR RD
HELENA, AR 72342                       APT B                                SUNBURY, PA 17801
                                       MYERSTOWN, PA 17067




KALE, SHARON                           KALE, SHARON                         KALEEL, ALY
ADDRESS ON FILE                        ADDRESS ON FILE                      1005 CONRAD LN
                                                                            SHOREWOOD, IL 60404




KALI TAYLOR                            KALIE MONTGOMERY                     KALINOWSKI, DEAN
150 BRANDON COVE                       305 W FIFTH ST                       36 W WIEUCA RD NE
MARION, AR 72335                       BENTON, IL 62812                     ATLANTA, GA 30342




KALISPELL REGIONAL HEALTHCARE          KALL, JANET R.                       KALLAS AUTOMOTIVE SUPPLY, INC.
SYSTEM                                 119 SAN JUAN RD                      744 FRONT ST
310 SUNNYVIEW LANE                     WATSONVILLE, CA 95076                EVANSTON, WY 82930
KALISPELL, MT 59901




KALLAS, KARINNE A.                     KALLEMEYN, SCOTT                     KALLINEN, LAURALIE
150 CONSTITUTION AVENUE APT. 3         9 BIRCHWOOD DR                       1215 ALFARETTA DRIVE
EVANSTON, WY 82930                     PALOS PARK, IL 60464                 EUGENE, OR 97401




KALLUNKI, RICHARD J.                   KALMER, KELLY J.                     KALMOWITZ, WILLIAM
3815 VINE MAPLE ST                     ADDRESS ON FILE                      451 EDWARD ST
EUGENE, OR 97405                                                            BELHAVEN, NC 27810-1535




KALOGHIROU, PANICOS                    KALTMAYER, PAMELA                    KALUF, CYNTHIA L.
12613 S KEELER                         10 GOLDENROD LANE                    32 WOODHOLLOW DRIVE
ALSIP, IL 60803                        EDWARDSVILLE, IL 62025               SCHERERVILLE, IN 46375




KALYANI M.D., BHARATI S.               KALYANI, BHARATI S.                  KAMAN INDUSTRIAL TECHNOLOGIES
3011 PUTTING GREEN RD SE               ADDRESS ON FILE                      P.O. BOX 74566
DEMING, NM 88030                                                            CHICAGO, IL 60690




KAMARAJ, KRISTA K.                     KAMBAN, JESSICA K.                   KAMBIZ SOLEYMANI
894 20TH AVE                           1124 GORLEY STREET                   ADDRESS ON FILE
ROSEVILLE, IL 61473                    UHRICHSVILLE, OH 44683




KAMEL, RHONDA                          KAMINSKAS BRIAN                      KAMINSKI, KELLI A.
937 COTTONWOOD DRIVE                   15026 W 163RD ST                     203 N. HUNTINGTON DRIVE
BARSTOW, CA 92311                      HOMER GLEN, IL 60491                 MCHENRY, IL 60050
KAMMER, CHRISTINE M.     Case 20-10766-BLS     DocWATER
                                       KAMMS SOFT    6 Filed 04/07/20   Page KAMP,
                                                                             941 of  1969
                                                                                   SUSAN
1523 SAN ANDREAS RD                    P.O. BOX 64                           ADDRESS ON FILE
LA SELVA BEACH, CA 95076               619 S MAIN
                                       TROY, IL 62294




KAMPWERTH, DENNIS A.                  KAMRAN, SHAZIA                         KANASKIE, MICHELLE
49 MEMORIAL COURT                     ADDRESS ON FILE                        ADDRESS ON FILE
HIGHLAND, IL 62249




KAND MEDICAL INC.                     KANDALAFT, NICOLE                      KANDEL, WAYNE
1341 DISTRIBUTION WAY                 42 EAST RIDGE DR                       7080 STATE ROUTE 516 NW
17                                    AMELIA, OH 45102                       DUNDEE, OH 44624
VISTA, CA 92081




KANDI CAMPBELL                        KANE BROTHERS INC                      KANE, AUDREY N.
P.O. BOX 589                          12137 W. 159TH STREET                  310 COUNTRY VILLAGE ROAD
BIG SPRING, TX 79721-0000             HOMER GLENN, IL 60491                  LAMAR, CO 81052




KANE, GERALD                          KANE, MEGAN                            KANE, PATRICIA
12995 WOODLAWN LN                     2204 HAMPTON COURT                     979 N PRAIRIE
WOODLAWN, IL 62898                    GALESBURG, IL 61401                    GALESBURG, IL 61401




KANE, RHONDA J.                       KANE, TRACY M.                         KANE, TRACY
800 AVIATION AVE                      ADDRESS ON FILE                        ADDRESS ON FILE
SCHERTZ, TX 78154




KANEKO, NOOK                          KANG, DAVID                            KANNALL, THOMAS A.
ADDRESS ON FILE                       ADDRESS ON FILE                        465 NORTH 11TH ST
                                                                             BREESE, IL 62230




KANNANKERIL, JAYA J.                  KANNEWURF, AMY                         KANNEY, JOHN
8006 STONEGATE DRIVE                  210 N BRIEGEL ST                       903 OXFORD AVE NE
TINLEY PARK, IL 60487                 COLUMBIA, IL 62236-1614                MASSILLON, OH 44646




KANOUFF, STEVEN R.                    KANSAS CITY STEAK CO                   KANSAS STATE TREASURER
54 PARK AVE                           LOCKBOX DEPOSITORY                     KANSAS UNCLAIMED PROPERTY DEPT.
NORTH BEND, PA 17760                  P.O. BOX 871619                        HOLDER SERVICES
                                      KANSAS CITY, MO 64187-1619             900 SW JACKSON ST, STE. 201
                                                                             TOPEKA, KS 66612-1235



KANUBHAI PATEL MD & PRASANNA          KANWISCHER, TESSA                      KANYIKE, FRED
KUMAR MD TRUST                        ADDRESS ON FILE                        ADDRESS ON FILE
3165 MYRTLE AVE, 1
GRANITE CITY, IL 62040
KANYUCK, ELIZABETH       Case 20-10766-BLS   Doc
                                       KANYUCK,    6
                                                TERRI      Filed 04/07/20   Page KAPADIA,
                                                                                 942 of 1969
                                                                                          NARENDRA A.
6025 KONARCIK                           1413 INDIAN PIPE LN                      1270 KATHRYN LANE
WATERLOO, IL 62298                      GLENCOE, MO 63038                        LAKE FOREST, IL 60045




KAPILLA, MARK                           KAPLAN, JULIUS A.                        KAPOLKA-HELSON, ERIC E.
6306 FAIRFIELD ROAD                     JAY KAPLAN MD                            15129 CATALINA DR
EDWARDSVILLE, IL 62025                  512 ARABELLA ST                          ORLAND PARK, IL 60462
                                        NEW ORLEANS, LA 70115-2031




KAPP, ANNETTE                           KAPPA, KATHLEEN M.                       KAPPLER, JENNIFER
1654 FORESTVIEW WAY                     1006 GRAND AVE                           141 HILLSIDE AVENUE
ANTIOCH, IL 60002                       JOHNSTON CITY, IL 62951                  GRAYSLAKE, IL 60030




KAPTUR, TIMOTHY                         KARA JOHNSTON                            KARA JOYCE
13339 CRESTWOOD DR                      404 KNOX HWY 37                          2536 W 101ST STREET
CRESTWOOD, IL 60418-1321                WATAGA, IL 61488                         CHICAGO, IL 60655




KARA SMITH                              KARA WAGNER                              KARAS, PATRICIA A.
ADDRESS ON FILE                         447 WILLOW RUN DRIVE                     5341 138TH PL
                                        RED BUD, IL 62278                        CRESTWOOD, IL 60418




KARBAN, TRISHA L.                       KARCHER GROUP                            KARCHMAR, MARK
ADDRESS ON FILE                         5590 LAUBY RD STE 8                      211 W WACKER DRIVE
                                        NORTH CANTON, OH 44720                   SUITE 550
                                                                                 CHICAGO, IL 60606




KARCHNER, MICHAEL                       KAREN A GILGORE                          KAREN ANDERSON
1039 LAKE AVE NE                        11424 ORRVILLE ST NW                     ADDRESS ON FILE
MASSILLON, OH 44646                     MASSILLON, OH 44647




KAREN ANDERSON                          KAREN BLOCKER                            KAREN BLOMBERG-BAYLIS
3418 MANASSAS DR                        231 ELIZABETH DR                         6579 GESELL RD
EDWARDSVILLE, IL 62025                  MONROE, GA 30656-4730                    KINMUNDY, IL 62854




KAREN CAPRON                            KAREN CLARK                              KAREN GILBERT
6330 W EDAN RD                          818 HADLEY ST                            165 BANKSTON RD
CYPRESS, IL 62923                       COLLINSVILLE, IL 62234                   MARIETTA, GA 30062




KAREN HAMILTON                          KAREN HILL                               KAREN HOGUE
ADDRESS ON FILE                         ADDRESS ON FILE                          2366 BEAUMONT AVE NW
                                                                                 MASSILLON, OH 44647
KAREN K DABBS             Case 20-10766-BLS
                                        KAREN L Doc
                                                DEC 6      Filed 04/07/20   Page KAREN
                                                                                 943 of  1969
                                                                                       L MASON
2904 COUNTY ROAD 445                     ADDRESS ON FILE                         995 LINDAUER RD
FORT PAYNE, AL 35968                                                             FORREST CITY, AR 72335




KAREN MESSER                             KAREN MOORE                             KAREN R FRANTZ
28881 ROUTE 52                           ADDRESS ON FILE                         501 CRIST ST
FORT GAY, WV 25514                                                               LOT 9
                                                                                 JERSEY SHORE, PA 17740




KAREN SALSMAN                            KAREN TUCKER                            KAREN VANZANDT
1177 FAMILY CT                           108 S 10TH ST                           ADDRESS ON FILE
GALESBURG, IL 61401                      OQUAWKA, IL 61469




KAREN WEINER, M.D.                       KARENNTTHIA SYKES                       KAREY SHULTZ
ADDRESS ON FILE                          ADDRESS ON FILE                         11103 E SHULTZ ROAD
                                                                                 LONDON MILLS, IL 61544




KARG, LORA L.                            KARI ANDERSON                           KARI LUCAS
3604 WESTVIEW AVE NW                     925 VALLEY VIEW DR                      537 CREEK WILLOW DRIVE
CANTON, OH 44709                         MESQUITE, NV 89027-3106                 MIDLOTHIAN, VA 23113-0000




KARIKA MARGARET                          KARIMU, RAYMOND M.                      KARINA PAREDES
755 KLEIN DR                             1025 BALDWIN AVE APT 102                1601 S GRANITE ST
SMITHTON, IL 62285                       WAUKEGAN, IL 60085                      DEMING, NM 88030




KARKI, RANJAN                            KARL D BENNETT DBA KARLS EMBROIDERY     KARL STORZ CAPITAL
205 N PECOS ST                           420 E SPRUCE                            1111 OLD EAGLE SCHOOL RD
FORT STOCKTON, TX 79735                  DEMING, NM 88030                        WAYNE, PA 19087




KARL STORZ CAPITAL                       KARL STORZ CAPITAL                      KARL STORZ ENDOSCOPY INC
1111 OLD SCHOOL RD                       P.O. BOX 824018                         FILE 53514
WAYNE, PA 19087                          PHILADELPHIA, PA 19182-4018             LOS ANGELES, CA 90074-3514




KARL STORZ ENDOSCOPY                     KARL STORZ ENDOSCOPY-AMERICA            KARL STORZ ENDOSCOPY-AMERICA, INC.
2151 E GRAND AVE STE 100                 FILE 53514                              FILE NO. 53514
EL SEGUNDO, CA 90245-2838                LOS ANGELES, CA 90074-3514              LOS ANGELES, CA 90074-3514




KARL STORZ OFFICE AND SURGICAL           KARLA CAMERON                           KARLA DAILY
INSTRUMENTS                              P.O. BOX 722                            219 CROW
                                         LOGANDALE, NV 89021-0722                COAHOMA, TX 79511
KARLA MACIK               Case 20-10766-BLS    Doc 6
                                        KARLA PEREZ        Filed 04/07/20   Page KARLESKY,
                                                                                 944 of 1969
                                                                                           MARY
RE:PATIENT REFUNDS                      P.O. BOX 212                             690 LEMMON LANE UNIT 7122
P.O. BOX 712                            WATAGA, IL 61488                         ELLIJAY, GA 30540
COAHOMA, TX 79511




KARLINE THOMAS                          KARLOVITZ, VIRGINIA E.                   KARMALITA D SINGH
ADDRESS ON FILE                         39391 N LAKE CT                          2258 BLOSSOMWOOD DR
                                        ANTIOCH, IL 60002                        OVIEDO, FL 32765-6150




KARMARK                                 KARNES, KATHEE R.                        KARNEY LAW FIRM PA, THE
1150 W CARL SANDBURG DR                 ADDRESS ON FILE                          125 NEW BERN ST
GALESBURG, IL 61401                                                              TRUST ACCOUNT
                                                                                 CHARLOTTE, NC 28203




KARNIK, SONALI                          KARNS, LINDA                             KARNUTH, FRANCES
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




KARON JONES                             KARPIERZ, ELWIRA                         KARPIERZ, EMILY
308 S BLAYNEY                           ADDRESS ON FILE                          ADDRESS ON FILE
ALEXIS, IL 61412




KARR, BRITTANY ANN                      KARR, JULIANNA C.                        KARREN, NATALIE
4614 HARDSCRABBLE RD                    220 HAWTHORN AVE NE                      ADDRESS ON FILE
MINERAL BLUFF, GA 30559                 MASSILLON, OH 44646




KARRY, MATHEW                           KARSHE, AWES                             KARSTEN, JEWELDEAN
ADDRESS ON FILE                         ADDRESS ON FILE                          605 LAKE HARBOR DR
                                                                                 MARION, IL 62959




KARTCHNER, KRISTIN                      KARTH, STACY                             KARWEDSKY, MEGAN
1224 SUMMIT ST                          ADDRESS ON FILE                          1311 COLBY AVE
EVANSTON, WY 82930-3344                                                          BIG SPRING, TX 79720




KAS RENTAL                              KASAVANA, BRIAN T.                       KASE, SANDRA
15179 N. IL HWY 37                      1188 E HARRISON AVE.                     307 LINCOLN ST
MT VERNON, IL 62864                     SALT LAKE CITY, UT 84105                 NORTHUMBERLAND, PA 17857




KASER POWER EQUIP                       KASER POWER EQUIP                        KASER, BETTY
480 HENDERSON RD                        480 HENDERSON RD                         909 22ND ST SW
P.O. BOX 216                            PO BOX 216                               MASSILLON, OH 44647-7421
KNOXVILLE, IL 61448                     KNOXVILLE, IL 61448
KASEY PETERSON          Case 20-10766-BLS    Doc 6
                                      KASEY RAMIREZ         Filed 04/07/20   Page KASEY,
                                                                                  945 ofLISETTE
                                                                                          1969 M.
ADDRESS ON FILE                        2100 JOHNSON                               28897 W WESTLANE AVE
                                       BIG SPRING, TX 79720                       SPRING GROVE, IL 60081




KASH, KRISTY L.                        KASH, TAMMI L.                             KASH, TAMMI L.
11191 E. FIG RD                        9265 E. PEANUT RD.                         ADDRESS ON FILE
BONNIE, IL 62816                       BONNIE, IL 62816




KASHALLA, MARTINA                      KASHIEA MCDANIEL                           KASHKEESH, EMAD I.
332 DATE AVE                           ADDRESS ON FILE                            13745 TALLGRASS TRL
BARSTOW, CA 92311                                                                 ORLAND PARK, IL 60462




KASINGER LADONNA C                     KASKESKI, SCOTT                            KASOTA MEDICAL BUILDING
1015 COUNTY RD 57                      173 EMERALD WEST WAY                       DR. HARBANS SINGH
FORT PAYNE, AL 35967-4311              GRANITE CITY, IL 62040                     16041 KAMANA RD. STE A
                                                                                  APPLE VALLEY, CA 92307




KASSAL, RICHARD                        KASSEBAUM ROBERT J                         KASSIM, ABIODUN M.
225 HIAWATHA TRAIL                     3561 STATE ROUTE 156                       2045 W ARTHUR AVE APT 2W APT 2W
BLUE RIDGE, GA 30513                   WATERLOO, IL 62298                         CHICAGO, IL 60645




KASSING, LARRY                         KASSIR, MOHAMAD                            KASSUBE, JAMES M., M.D.
3947 LOWER SAXTOWN RD                  6870 CHILLINGSWORTH CIR NW                 ADDRESS ON FILE
WATERLOO, IL 62298                     CANTON, OH 44718




KASTEN, LAUREN                         KASTEN, WILLIAM F.                         KASTNER, LAUREN
N8352 620TH ST                         1602 3RD ST                                ADDRESS ON FILE
RIVER FALLS, WI 54022                  WINTHROP HARBOR, IL 60096




KASTNER, LAUREN, MD                    KASUNICK, PAULA                            KAT JEWELRY BOUTIQUE & GIFTS
ADDRESS ON FILE                        3181 PIGEON RUN RD SW                      223 N MAIN ST
                                       MASSILLON, OH 44647-9754                   COLUMBIA, IL 62236




KATALYST SURGICAL                      KATCHEN M.D., MARC S.                      KATCHMAR, BARBARA
754 GODDARD AVE                        ADDRESS ON FILE                            8504 CEDAR STREET
CHESTERFIELD, MO 63005-0000                                                       FOX LAKE, IL 60020




KATE HUFFSTUTLER                       KATE MARTIN                                KATELEY, TRACY R.
ADDRESS ON FILE                        207 ASPEN POINT                            ADDRESS ON FILE
                                       GLEN CARBON, IL 62034
KATELEY, TRACY              Case 20-10766-BLS    Doc
                                          KATELYNN    6 Filed 04/07/20
                                                   JENSON                Page KATENA
                                                                              946 ofPRODUCTS
                                                                                     1969 INC
ADDRESS ON FILE                           ADDRESS ON FILE                    4 STEWART CT
                                                                             DENVILLE, NJ 07834




KATENA PRODUCTS INC                       KATENA                             KATHERINE BUFORD
6 CAMPUS DRIVE                            6 CAMPUS DRIVE                     8339 KUHN STATION RD
SUITE 310                                 SUITE 31                           EDWARDSVILLE, IL 62025
PARSIPPANY, NJ 07054                      PARSIPPANY, NJ 07054




KATHERINE ENGLISH                         KATHERINE GIBSON                   KATHERINE HALL
3009 BOBBEN CT                            570 WINN ROAD                      ADDRESS ON FILE
AUGUSTA, GA 30906                         SCOTTSBORO, AL 35769




KATHERINE LYNNE HURTT, MD                 KATHERINE MORRIS                   KATHERINE R PARKER
ADDRESS ON FILE                           ADDRESS ON FILE                    904 S BUCHANAN APT B
                                                                             MARION, IL 62959




KATHERINE ROHRER                          KATHERINES FRAMING                 KATHERYN E HERZBERG
ADDRESS ON FILE                           100 GAULT AVENUE NORTH             803 FRUIT FARM ROAD E
                                          FORT PAYNE, AL 35967               FORT PAYNE, AL 35967




KATHLEEN BIANCO                           KATHLEEN DODD, PA-C                KATHLEEN GARDNER
4422 STARBOARD ST                         1484 MORNINGGLORY ROAD             5092 ASHFORD GLEN CR NW
SOQUEL, CA 95073                          CARBONDALE, IL 62901               CANTON, OH 44718




KATHLEEN GOETTING                         KATHLEEN GONZALES                  KATHLEEN LADD
ADDRESS ON FILE                           905 S 8TH STREET                   ADDRESS ON FILE
                                          DEMING, NM 88030




KATHLEEN LEONI                            KATHLEEN M. FITZGERALD, M.D.       KATHLEEN M. WCISLO
ADDRESS ON FILE                           ADDRESS ON FILE                    ADDRESS ON FILE




KATHLEEN MEADE                            KATHLEEN R JOHN                    KATHLEEN WCISLO
155 KING DRIVE                            182 SHORELINE WAY                  ADDRESS ON FILE
HAROLD, KY 41635                          HAMPTON, GA 30228




KATHLEEN, SHELLEY                         KATHMANN, KRISTOFER                KATHRYN EMERY
1406 N CEDAR LAKE RD                      111 STONEBRIDGE MANOR DR           3212 JOSHUA CT
LAKE VILLA, IL 60046-6403                 MARYVILLE, IL 62062                HIGHLAND, IL 62249
KATHRYN G WISEMAN        Case 20-10766-BLS
                                       KATHRYNDoc  6 Filed 04/07/20
                                               HARTER                 Page KATHRYN
                                                                           947 of 1969
                                                                                   KOCA POLITE
433 DALLAS ST                          P.O. BOX 1002                       823 N PRAIRIE ST
BIG SPRING, TX 79720                   LOVELOCK, NV 89419                  GALESBURG, IL 61401




KATHRYN L LINDSEY                      KATHRYN RHODES                      KATHRYN ROBERTS
1403 W HENDRICKSON                     898 GLASS RD                        ADDRESS ON FILE
MARION, IL 62959                       HORNBEAK, TN 38232-3822




KATHRYN WESTENBERGER                   KATHY BROWN                         KATHY DECKER
350 SCOTT LN                           ADDRESS ON FILE                     P.O. BOX 233
LEXINGTON, TN 38351                                                        107 BRYANT STREET
                                                                           TREZEVANT, TN 38258




KATHY DRYDEN                           KATHY E ROGERS                      KATHY GRIFFITH
313 NORTH CEDAR STREET                 928 OAKHILL DR NE                   1029 PARK DR
OFALLON, IL 62269                      MASSILLON, OH 44646                 WEST MEMPHIS, TN 72301




KATHY JO KNIGHT                        KATHY L CLARK                       KATHY LEATH- PETTY CASH CUSTODIAN
1440 OAKMONT RIDGE ST                  2311 E BROADWAY                     ADDRESS ON FILE
MESQUITE, NV 89027                     FORREST CITY, AR 72335




KATHY LORENZEN                         KATHY MADISON                       KATHY NOVACH
463 BULLDOG DR                         ADDRESS ON FILE                     119 E NORTH
MESQUITE, NV 89027                                                         STAUNTON, IL 62088-0000




KATHY S MILLS                          KATICH, KIMBERLY N.                 KATIE BRENNER
1401 GLENN AVE                         ADDRESS ON FILE                     3806 E SMITHVILLE WESTERN RD
AUGUSTA, GA 30904                                                          WOOSTER, OH 44691




KATIE L POOLE                          KATIE N JOHNSON                     KATIE NIEDBALSKI
377 E WORLD ST                         P.O. BOX 514                        ADDRESS ON FILE
GREENVILLE, AL 36037                   WEST MEMPHIS, AR 72303




KATIE RAY MD                           KATIE THOMAS                        KATLYN MCCOY
603 W UVALDE                           227 NEW SEARCY RD                   ADDRESS ON FILE
ALPINE, TX 79830                       GREENVILLE, AL 36037




KATLYN SMITH                           KATO, TROY A.                       KATRINA CORNELL
4445 JAYHAWK CT                        ADDRESS ON FILE                     1812 COLUMBUS ROAD
SCOTT AIR FORCE BASE, IL 62225                                             DEMING, NM 88030
KATRINA L WILLIAMS         Case 20-10766-BLS     Doc ALEXANDRA
                                         KATRIS HORN, 6 Filed 04/07/20
                                                               C.        Page KATS,
                                                                              948 LINDSAY
                                                                                    of 1969S.
3370 LEE ROAD                             746 SUN LAKE RD                     29900 S. ELEVATOR RD
WILLIAMSTON, NC 27892                     LAKE VILLA, IL 60046                MANHATTAN, IL 60442




KATSUM LLC                                KATZ LORELLE                        KATZ, ARNOLD I.
P.O. BOX 797001                           16412 BIRCH ST                      220 MADISON AVENUE
ST. LOUIS, MO 63179-7000                  STILWELL, KS 66085                  NEW YORK, NY 10016




KATZ, HELENA E.                           KATZ, JUDY K.                       KAUCNIK, RENEE
610 W 31ST AVE                            ADDRESS ON FILE                     12968 W BAIRSTOW AVE
EUGENE, OR 97405                                                              BEACH PARK, IL 60087




KAUFFMAN, BONITA LOUISE                   KAUFFMAN, DANIELLE                  KAUFFMAN, DUANE E.
1769 CARRIAGE PL                          316 NORTH SECOND ST                 ADDRESS ON FILE
SPRINGFIELD, OR 97477                     DENNISON, OH 44621




KAUFMAN, ALYSIA                           KAUFMAN, JESSIE B                   KAUFMAN, SANDRA A.
1265 TEXAS EASTERN RD                     3054 HIGHWAY 88                     89840 ARMITAGE RD
BUNCOMBE, IL 62912                        HEPHZIBAH, GA 30815                 EUGENE, OR 97408




KAUFMAN, SANDRA                           KAUFMAN, SUSAN                      KAULBACK, ANITA L.
8177 S CLEVELAND MASS RD                  P.O. BOX 365                        2525 CAL YOUNG RD APT 310
LOT 43                                    DONGOLA, IL 62926                   EUGENE, OR 97401
CLINTON, OH 44216




KAUR, DALJIT                              KAUR, KANWALPREET                   KAUR, KIRANDEEP
45 PRESERVE CT                            ADDRESS ON FILE                     1173 MOCKINGBIRD CT
LINDENHURST, IL 60046                                                         GRAYSLAKE, IL 60030




KAUTEN, JOSEPH                            KAVADAS, PETE G.                    KAVANAUGH, CAROL
412 ROME MEADOWS                          P.O. BOX 713                        ADDRESS ON FILE
DIX, IL 62830                             MIDLOTHIAN, IL 60445




KAVANAUGH, CAROL                          KAVANAUGH, SADIE M.                 KAVOURIS, KATE
ADDRESS ON FILE                           ADDRESS ON FILE                     11660 S MERRION AVE
                                                                              MERRIONETTE PARK, IL 60803




KAWA, RUNGTHIP                            KAWULA, MARY G.                     KAY MOORE
ADDRESS ON FILE                           3450 VILLAGE LANE                   ADDRESS ON FILE
                                          APT 114
                                          GRANITE CITY, IL 62040
KAY MOORE                   Case 20-10766-BLS    Doc
                                          KAY NANCY E 6      Filed 04/07/20   Page KAY,
                                                                                   949BRIAN
                                                                                        of 1969
                                                                                            H.
ADDRESS ON FILE                            2811 MTN TOPS RD                        3844 FALCON CHASE ST NW
                                           BLUE RIDGE, GA 30513                    UNIONTOWN, OH 44685-6609




KAY, ERIC W.                               KAY, MISTY D.                           KAY, VICKI W.
ADDRESS ON FILE                            ADDRESS ON FILE                         ADDRESS ON FILE




KAYE BASSMAN INTERNATIONAL CORP            KAYE KUHRE, JIMMIE                      KAYE/KBASSMAN INTERNATIONAL CORP
5851 LEGACY CIRCLE SUITE 500               300 NEIL RD                             6860 DALLAS PARKWAY
PLANO, TX 75024                            HELENA, AR 72342                        SUITE 300
                                                                                   PLANO, TX 45024




KAYLA CLINE                                KAYLA KRODER                            KAYLA M NEWELL
P.O. BOX 522                               6415 TOWNE WOODS DR                     313 W 5TH ST
BIG SPRING, TX 79721-0000                  ST. LOUIS, MO 63129                     LORDSBURG, NM 88045




KAYLA SIMPKINS                             KAYLEY HURT                             KAYLYN HOWELL
209 S. KIMBERLIN APT 2                     609 GRAND AVENUE NW                     208 GRANT STREET
TROY, IL 62294                             FORT PAYNE, AL 35967                    MT. VERNON, IL 62864




KAYLYN WILLIAMS                            KAYSER MEDICAL SPECIALTIES INC          KAYSER-POOR, HILLARY G.
8765 HWY 707                               P.O. BOX 313                            2 GUNDLACH PL
CATLETTSBURG, KY 41129                     WILLOW SPRINGS, IL 60480                SWANSEA, IL 62226




KAZEE, CECILIA                             KAZLAUSKY, FRANK                        KB ENTERPRISES
1123 CAMP BRANCH ROAD                      25947 W LANEVILLE DR                    13218 E. NOLAN ROAD
INEZ, KY 41224                             INGLESIDE, IL 60041                     MT. VERNON, IL 62864




KBBF OPERATIONS                            KBEST MEDIA, LLC                        KBH SPV 3 LLC
P.O. BOX 118                               608 JOHNSON ST.                         150 N FIELD DR, STE 193
HELENA, AR 72342                           BIG SPRING, TX 79720                    LAKE FOREST, IL 60045




KBYG/KXCS RADIO                            KCI USA INC                             KCI
WEEK BROADCASTING, INC                     P.O. BOX 301557                         PO BOX 301557
2801 WASSON RD                             DALLAS, TX 75303-1557                   DALLAS, TX 75303
BIG SPRING, TX 79720




KCKC MEDICAL GROUP LLC                     KCU GIRLS BASKETBALL                    KEAGY, TRICIA R.
3417 S COUNTRY CLUB ROAD                   100 ACADEMIC PARKWAY                    723 CRESTVIEW DR
WOODSTOCK, IL 60098                        ATTN: ANTHONY GORDON                    WOODRIVER, IL 62095
                                           GRAYSON, KY 41143
KEAMBER, JOHNSON            Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                          KEANE, ANTHONY                 Page KEAR,
                                                                              950 of  1969W.
                                                                                    RUSSELL
1919 VASSAR DR                            2861 JOELA DR                       339 KORMAN AVE NE
EDWARDSVILLE, IL 62025                    NEW LENOX, IL 60451                 MASSILLON, OH 44646




KEARIN, JORDAN                            KEARNEY, KIM M.                     KEARNEY, MARVIN
ADDRESS ON FILE                           446 NORTH 2ND AVE                   77 SHARON CHURCH RD
                                          LEBANON, PA 17046                   CEADAR GROVE, TN 38321




KEARNEY, TRUSTEE, BOB G.                  KEARNS, BETTY                       KEARNS, GAYLA
P.O. BOX 2199                             302 LAKE COURSE DR                  9 BROOKWOOD DR
MEMPHIS, TN 38101-2199                    AUGUSTA, GA 30904-3422              COLLINSVILLE, IL 62234




KEASKOWSKI, ANDREW                        KEASLER, MONICA G.                  KEATHER, LAUTNER
ADDRESS ON FILE                           179 CLONTS RD                       1433 EBERHART AVE
                                          MURPHY, NC 28906                    EDWARDSVILLE, IL 62025




KEATON MEDICAL LLC                        KEATON, ANDREA                      KEATON, CINDY
4157 MOUNTAIN ROAD 223                    735 MURPHY FORK ROAD                ADDRESS ON FILE
PASADENA, MD 21122                        HAZEL GREEN, KY 41332




KEATON, JOSHUA M.                         KEATON, STEPHEN R.                  KECK II, PAUL W.
247 EBBS LANE                             ADDRESS ON FILE                     99 COTTONWOOD ST
KEATON, KY 41226                                                              LYMAN, WY 82937




KECK, JILL, 32847                         KEDRION BIOPHARMA INC               KEDZIE, MARILYN
525 VINE STREET SUITE 800                 P.O. BOX 759304                     781 HIGHVIEW CT
CINCINNATI, OH 45202                      BALTIMORE, MD 21275-9304            ANTIOCH, IL 60002




KEE, LYNN                                 KEEBLE, KELLIE D.                   KEEF TAYLOR N
158 LAKEVIEW DR                           ADDRESS ON FILE                     709 ALABAMA AVE N
HUGHES, AR 72348                                                              FORT PAYNE, AL 35967-7124




KEEF, CARL M.                             KEEF, SHANIELLE                     KEEF, SHANIELLE
ADDRESS ON FILE                           1920 COUNTY ROAD 485                ADDRESS ON FILE
                                          FORT PAYNE, AL 35968




KEEFER, ALICE                             KEEFER, ELSA H.                     KEEL DENNIS L
8125 S KILDARE AVE                        P.O. BOX 602                        880 S COLEMAN
CHICAGO, IL 60652                         DALTON, OH 44618                    TOOELE, UT 84074
KEEL, ANGELA HUTCHINSONCase 20-10766-BLS     Doc 6 J. Filed 04/07/20
                                     KEEL, BEVERELY                    Page KEEL,
                                                                            951 CORA
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1320 NATHAN ROBERSON RD              ADDRESS ON FILE                        3240 CL KEEL RD
WILLIAMSTON, NC 27892                                                       ROBERSONVILLE, NC 27871




KEEL, GARY                            KEEL, JEANETTE S.                     KEEL, JESSICA A.
1300 FISH HOOK PLACE                  ADDRESS ON FILE                       ADDRESS ON FILE
BLUE RIDGE, GA 30513




KEEL, KIMBERLY E.                     KEEL, MARVIN                          KEEL, STEPHANIE R.
ADDRESS ON FILE                       4531 HYW 17 S.                        ADDRESS ON FILE
                                      WILLIAMSTON, NC 27892




KEELE, CONNIE                         KEELE, JERRY                          KEELER DAVIS
15397 E CANTON RD                     14780 N CAMPGROUND                    P.O. BOX 163
TEXICO, IL 62889                      MT VERNON, IL 62864                   OVERTON, NV 89040




KEELER, AMANDA                        KEELER, DAVIS                         KEELEY, PATRICK J.
2955 SOLANA RD SE                     P.O. BOX 163                          518 LEGACY DR
DEMING, NM 88030                      OVERTON, NV 89040                     APT 4
                                                                            WATERLOO, IL 62298




KEELING, BRANDON C.                   KEELING, KNICHOLE L.                  KEELY, LUCAS
1208 AARON DRIVE                      ADDRESS ON FILE                       P.O. BOX 96074
WYNNE, AR 72396                                                             OKLAHOMA CITY, OK 73143




KEELY, LUCAS                          KEEN MD, BRENT                        KEEN, ANN
ADDRESS ON FILE                       191 CLINTON RD BLDG A APT 5           210 EBENEZER RD
                                      NEW HARTFORD, NY 13413                REAGAN, TN 38368




KEEN, BOBBY                           KEEN, JULIE                           KEEN, RANDAL
1750 ALBERTON RD                      ADDRESS ON FILE                       756 PINE LAKE RD
LEXINGTON, TN 38351                                                         LEXINGTON, TN 38351




KEEN,HELEN                            KEENAN & ASSOCIATES                   KEENAN Y WATSON
P.O. BOX 176                          P.O. BOX 2707                         34 RED CLOUD RD
MASSILLON, OH 44648                   TORRANCE, CA 90509                    FT RUCKER, AL 36362-2327




KEENAN, PATTY                         KEENER, CINDA K.                      KEENER, ELAINE M.
657 KNOX ROAD 450 E                   4225 SPRINGVALE AVE SW                1324 MILES AVE SE
ABINGDON, IL 61410                    CANTON, OH 44706                      CANTON, OH 44710
KEENEY, DAVID            Case 20-10766-BLS
                                       KEENEY, Doc
                                               JANNA6D. Filed 04/07/20   Page KEENEY,
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                                                                                      1969
5748 STARLINGTON RD                      ADDRESS ON FILE                      ADDRESS ON FILE
GEORGIANA, AL 36033




KEENS, JODY                              KEENUM, KAREN                        KEEP BIG SPRING BEAUTIFUL
2382 HOLLYBUSH RD                        226 SFC 768                          215 W 3RD ST
PIPPA PASSES, KY 41844                   FORREST CITY, AR 72335               BIG SPRING, TX 79720-2426




KEEPSAKES CUSTOM FRAMING                 KEETON, DONNIE T.                    KEETON, KIM
2882 CO RD 505                           ADDRESS ON FILE                      515 COLLEGE STREET
FORT PAYNE, AL 35968                                                          PAINTSVILLE, KY 41240




KEEVEN, EMILY                            KEEVEN, JULIE A.                     KEEZER, ANGELA
1225 POPLAR DR                           ADDRESS ON FILE                      ADDRESS ON FILE
HIGHLAND, IL 62249




KEFFER, BARBARA                          KEGEBEIN, ANGELA L.                  KEGEBEIN, ANGELA
2533 TREMONT ST                          935 W GLEN PARK AVE APT 302          56 ARROWHEAD DR
DOVER, OH 44622                          GRIFFITH, IN 46319                   THORNTON, IL 60476




KEGEL, WILLIAM JOHN                      KEGG, FRANK T.                       KEGLEY, CATHY
9918 S HWY 121                           1081 POINSETTIA RD SE                6373 NAVARRE RD SW
TRENTON, TX 75490                        SCIO, OH 43988                       NAVARRE, OH 44662




KEGLEY, GEORGE                           KEGLEY, WILLIAM H.                   KEGO FMI DIAGNOSTIC SOLUTIONS
115 HIGHLAND HTS                         7339 PIGEON RUN RD SW                1191 BROCK MCVEY DR
LOUISA, KY 41230                         NAVARRE, OH 44662                    UNIT D
                                                                              LEXINGTON, KY 40509




KEGO FMIO                                KEHER, DARCE                         KEHOLM, ANN
9850 VON ALLMEN COURT SUITE 201          500 VOSS LANE                        155 ROBINCREST LN
LOUISVILLE, KY 40241                     HUNTINGDON, TN 38344                 LINDENHURST, IL 60046




KEHRER, SIERRA                           KEIFE, BILLY J.                      KEIL, ANGELA K.
ADDRESS ON FILE                          17764 EUCALYPTUS ST                  75 VOYAGER CIRCLE
                                         HESPERIA, CA 92345                   STANSBURY, UT 84074




KEILS DRUG STORE                         KEIM, CAROLYN                        KEIM, KIMBERLY
1375 SOUTH MAIN STREET                   533 CATHERINE DR                     4400 TUNNEL HILL ROAD
RED BUD, IL 62278                        RED BUD, IL 62278                    OZARK, IL 62972
KEIM, LEVI                 Case 20-10766-BLS    Doc
                                         KEIRSTEAD,   6 Filed 04/07/20
                                                    JOSHUA               Page KEISE
                                                                              953 of  1969
                                                                                    LOGER
11765 DOLWAY AVE SW                       15920 DESCANSA CT                   617 FROSTY CT
BEACH CITY, OH 44608                      MORGAN HILL, CA 95037               LYMAN, WY 82937




KEISHA C YOUNG                            KEISHA JOHNSON                      KEISTER, CYNTHIA I.
205 AHOSKIE COFEILD RD                    P.O. BOX 524                        10789 W TALMADGE
AHOSKIE, NC 27910                         1201 E MAIN STREET                  BEACH PARK, IL 60099
                                          PLYMOUTH, NC 27962




KEITH A LONG LLC                          KEITH A. OGLESBY                    KEITH COOPER
680 CRAIG ROAD SUITE 400                  P.O. BOX 592                        P.O. BOX 1363
CREVE COEUR, MO 63141                     LOGANDALE, NV 89021                 OVERTON, NV 89040




KEITH JAMES RODNEY                        KEITH PEACHEY, MD                   KEITH TAYLOR
514 PEACHTREET AVE E                      ADDRESS ON FILE                     2205 TERMINAL AVE
FORT PAYNE, AL 35967                                                          GRANITE CITY, IL 62040-0000




KEITH, CARRIE                             KEITH, CARRIE                       KEITH, CLARA A.
1041 KINGS CROSS DR                       436 SUMMIT ST                       177 CASSERLY ROAD
WADSWORTH, OH 44281                       WADSWORTH, OH 44281                 WATSONVILLE, CA 95076




KEITH, DEBORAH J.                         KEITH, GREGORY N.                   KEITH, TAMMY B.
542 WASHINGTON ST APT 1109                310 CNTY RD 674                     ADDRESS ON FILE
WAUKEGAN, IL 60085                        VALLEY HEAD, AL 35989-3253




KEITH, TINA A.                            KEITH, TINA A.                      KELAHAN, NANCY E.
ADDRESS ON FILE                           2472 CR 239                         2430 EDISON AVE.
                                          VALLEY HEAD, AL 35989               GRANITE CITY, IL 62040




KELCH, TRAVIS L.                          KELCHNER SANDRA L                   KELEKIAN, COURTNEY
9304 N THOUSAND DOLLAR RD                 14400 S KOSTNER                     18109 W BANBURY DR
BRIMFIELD, IL 61517                       MIDLOTHIAN, IL 60445                GURNEE, IL 60031




KELETA, SHEWIT                            KELLEBREW, BEN                      KELLEHER, SARA J.
2050 YALE 8                               429 N. EDWARDSVILLE ST              9226 SOUTH HOMAN
ST. LOUIS, MO 63143                       STAUNTON, IL 62088                  EVERGREEN PARK, IL 60805




KELLER PAULA                              KELLER, AMANDA A.                   KELLER, ANN TERESA
13628 N 109 AVENUE                        2218 REAGAN AVE APT 201             ADDRESS ON FILE
SUN CITY, AZ 85351                        ROCK SPRINGS, WY 82901
KELLER, DONNIE           Case 20-10766-BLS     DocJACK
                                       KELLER, DR.  6 D.,Filed
                                                          PC 04/07/20   Page KELLER,
                                                                             954 ofJ1969
                                                                                     J.
230 RIDGE ST                            ADDRESS ON FILE                     P.O. BOX 6609
CARLYLE, IL 62231                                                           CAROL STREAM, IL 60197




KELLER, JACK D.                         KELLER, JOLIE J.                    KELLER, KASSANDRA R.
ADDRESS ON FILE                         ADDRESS ON FILE                     87551 MUSE DRIVE
                                                                            VENETA, OR 97487




KELLER, LOUELLA                         KELLER, ROBERT W.                   KELLER, RONALD
9091 BEATTY ST NW                       ADDRESS ON FILE                     452 MONTROSE AVE NW
MASSILLON, OH 44646                                                         MASSILLON, OH 44646




KELLER, SHIRLEY M.                      KELLER, SHIRLEY M.                  KELLER, TERESA
833 S MOORE ST                          ADDRESS ON FILE                     6395 KY 30EAST
NASHVILLE, IL 62263                                                         BOONEVILLE, KY 41314




KELLERMAN STEPHANIE F                   KELLERMAN-STINES, NICOLE M.         KELLETT, DENISE
308 MONTICELLO PLACE                    ADDRESS ON FILE                     5047 PADDINGTON DOWN RD NW
EDWARDSVILLE, IL 62025                                                      CANTON, OH 44718




KELLEY BURT                             KELLEY DIANA C                      KELLEY ELLEN CLEON
64 SOLA CIRCLE NE                       1590 ST RT 127 N                    77958 S 6TH STREET
FORT PAYNE, AL 35967                    JONESBORO, IL 62952                 COTTAGE GROVE, OR 97424




KELLEY, AMANDA R.                       KELLEY, ANDREA                      KELLEY, CHERYL L.
ADDRESS ON FILE                         ADDRESS ON FILE                     221 HAMEL AVENUE DUPLEX B P.O. BOX 6
                                                                            HAMEL, IL 62046




KELLEY, JENNIFER                        KELLEY, JULIE                       KELLEY, KRISTA
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




KELLEY, MARY E.                         KELLEY, PAMELA K.                   KELLEY, ROBERT M.
14 RIVER RIDGE LANE                     285 CRESTVIEW DR                    ADDRESS ON FILE
BLUE RIDGE, GA 30513                    TOOELE, UT 84074




KELLEY, SUSAN E.                        KELLEY, TONYA R.                    KELLI COON
3417 CLERMONT ST NW                     ADDRESS ON FILE                     180 ARNOLD ST
NORTH LAWRENCE, OH 44666                                                    GALESBURG, IL 61401
KELLI HENDERSON         Case 20-10766-BLS      Doc 6 Filed 04/07/20
                                      KELLI R GRAVATT                 Page KELLIE
                                                                           955 of   1969
                                                                                  KEEBLE
393 COUNTY RD 369                      1303 GOLF COURSE RD                 ADDRESS ON FILE
CROSSVILLE, AL 35962                   MARION, IL 62959




KELLIE SHIELDS                         KELLIE TROXEL                       KELLIE VAN SANT
212 VAN BUREN                          ADDRESS ON FILE                     ADDRESS ON FILE
RED BUD, IL 62278




KELLIS GIFT SHOP SUPPLIERS             KELLIS                              KELLOGG, DOUGLAS
P.O. BOX 660850                        3311 BOYTINGTON DR                  1584 HOWENSTEIN DR SE
DALLAS, TX 75266-0850                  STE 400                             EAST SPARTA, OH 44626
                                       CARROLLTON, TX 75006




KELLOGG, SHARI                         KELLOUGH, GARY                      KELLUM LAW FIRM
16281 N HAWTHORNE LN                   527 FONVILLE ST                     1620 US 17 BUSINESS
MT VERNON, IL 62864                    MARTIN, TN 38237                    WILLIAMSTON, NC 27892




KELLY BROTHERS FURNITURE INC           KELLY BROTHERS FURNITURE            KELLY CLEVELAND
P.O. BOX 1101                          P.O. BOX 1101                       ADDRESS ON FILE
206N, MAIN CROSS ST                    LOUISA, KY 41230
LOUISA, KY 41230




KELLY DENNIS L                         KELLY DUKE - CEO                    KELLY FOX
290 LEFT TURN                          MIMBRES MEMORIAL HOSPITAL           504 BRUNER ST
BLUE RIDGE, GA 30513                   900 W ASH ST                        PO BOX 24
                                       DEMING, NM 88030                    NORTH HENDERSON, IL 61466




KELLY G KILCOYNE DBA K2 ORTHOPEDICS    KELLY GAYHEART                      KELLY JENNY
PLLC                                   412 11TH ST NE                      1005 RYAN LANE SW
1101 EAGLE RIDGE DR                    MASSILLON, OH 44646                 FORT PAYNE, AL 35967
EL PASO, TX 79912




KELLY KECK                             KELLY LAIRD                         KELLY SCHMIDT
99 COTTONWOOD ST                       732 N ACADEMY ST                    6736 MIDDLEGATE LN
LYMAN, WY 82937                        GALESBURG, IL 61401                 GLEN CARBON, IL 62034




KELLY SMITH                            KELLY, AMBER R.                     KELLY, ANITA K.
ADDRESS ON FILE                        6258 KENNARD RD                     ADDRESS ON FILE
                                       MEDINA, OH 44256




KELLY, ARADO                           KELLY, CHARLENE H.                  KELLY, CHERYL A.
37346 N FAIRVIEW LN                    ADDRESS ON FILE                     12730 S FARMHILL LANE
LAKE VILLA, IL 60046                                                       PALOS PARK, IL 60464
KELLY, CHRISTOPHER M.     Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                        KELLY, DOROTHY                 Page KELLY,
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                                                                                   ELLEN M.
ADDRESS ON FILE                         234 WILDFLOWER DRIVE                 ADDRESS ON FILE
                                        SOCIAL CIRCLE, GA 30025




KELLY, ERIC WAYNE                       KELLY, JERRI L.                      KELLY, JIMMIE
P.O. BOX 261                            ADDRESS ON FILE                      1359 W 112ST PL, APT.1
MARION, IL 62890                                                             CHICAGO, IL 60643




KELLY, LISA L.                          KELLY, MARSHA                        KELLY, MARTHA C.
2853 QUINBERY DRIVE                     2236 BEAUMONT AVE NW                 P.O. BOX 536
SNELLVILLE, GA 30039                    MASSILLON, OH 44646                  TRES PINOS, CA 95075




KELLY, NATALIE                          KELLY, NATHAN                        KELLY, REBECCA A.
P.O. BOX 7230                           ADDRESS ON FILE                      ADDRESS ON FILE
BUNKERVILLE, NV 89007




KELLY, RENE                             KELLY, SCOTT                         KELLY, SHARILEY D.
109B TANGLEWOOD APT                     311 E. CHESTER ST                    8625 S. LOOMIS BLVD.
MONROE, GA 30655                        PINCKNEYVILLE, IL 62274-1712         CHICAGO, IL 60620




KELLY, SONITA                           KELLY, TRACIE                        KELLY, VIVIAN M.
1575 ROSCOE DAVIS RD NW                 26 GREENVIEW CHURCH RD               459 MADISON STREET
MONROE, GA 30656                        CENTRALIA, IL 62801                  EUGENE, OR 97402




KELLYS FOR THE OCCASION                 KELMAX, PLLC                         KELSEY JONES
123 SOUTH LOCUST                        1153 EAST 250 NORTH                  ADDRESS ON FILE
CENTRALIA, IL 62801                     OREM, UT 84097




KELSEY LAMB                             KELSEY RALLS                         KELSEY SCHUSTER
ADDRESS ON FILE                         ADDRESS ON FILE                      299 NATCHEZ CR
                                                                             WINDER, GA 30680-8548




KELSEY STEGALL                          KELSEY VAN DUSEN                     KELSEY WILSON
5 NIGHTENGALE CT                        P.O. BOX 764                         4099 LEE RD 410
GRANITE CITY, IL 62040                  MT VIEW, WY 82939                    MARIANNA, AR 72360




KELSEYS ON MAIN                         KELSO, LAUREN                        KEMBEL, REBECCA D.
1124 MAIN ST.                           502 S. FIRST ST.                     134 HIGGINS STREET
JACKSON, KY 41339                       COAHOMA, TX 79511                    GERALDINE, AL 35974
KEMEN, JEFFREY A.        Case 20-10766-BLS
                                       KEMI    Doc 6       Filed 04/07/20   Page KEMP
                                                                                 957 DESIGN
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ADDRESS ON FILE                        250 WEST MAIN ST                          209 WEST 5TH AVE
                                       SUITE 900                                 EUGENE, OR 97401
                                       LEXINGTON, KY 40507




KEMP SMITH LLP                         KEMP, KAHNEETA                            KEMP, PAMELA L.
P.O. BOX 2800                          ADDRESS ON FILE                           9923 HERITAGE DR APT. D
EL PASO, TX 79999-2800                                                           SAINT LOUIS, MO 63123




KEMP, RACHEAL                          KEMPEGOWDA, HARISH                        KEMPER
ADDRESS ON FILE                        ADDRESS ON FILE                           PO BOX 2843
                                                                                 CLINTON, IA 52733




KEMPER                                 KEMPF, ALVIN, JR.                         KEMPF, AMANDA M.
TRINITY UNIVERSAL                      11013 W 191ST ST                          ADDRESS ON FILE
P.O. BOX 2843                          MOKENA, IL 60448
CLINTON, IA 52733




KEMPFER, MARY                          KEMPLAND, SAMUEL                          KEMPPAINEN, STACY M.
297 HARDING ST                         5440 QUERCUS GROVE RD                     575 ELKINS LANE
COLLINSVILLE, IL 62234                 EDWARDSVILLE, IL 62025-6408               PURYEAR, TN 38251




KEMPTON, SHANE                         KEN COURTNEY                              KENAN, DIANA L.
310 LEGRAND DRIVE                      34012 N STREET                            1430 NORTH BROAD STREET
GRANTSVILLE, UT 84029                  BARSTOW, CA 92311                         GALESBURG, IL 61401




KENDALL APPLIANCE                      KENDALL HEALTHCARE PRODUCTS CO            KENDALL HUNT PUBLISHING CO
2740 MADISON AVE                       P.O. BOX 120823                           P O BOX 1840
GRANITE CITY, IL 62040                 DALLAS, TX 75312-0823                     DUBUQUE, IA 52004-1840




KENDALL HUNT PUBLISHING COMPANY        KENDALL TYWANA K                          KENDALL, JAMES E.
4050 WESTMARK DRIVE                    53 WHITE OAK LANE                         1848 OLD FORT ROAD
DUBUQUE, IA 52002                      BLAIRSVILLE, GA 30512                     GREENVILLE, NC 27834




KENDALL, LAUREN M.                     KENDALL, MEGAN                            KENDEL, PAUL
ADDRESS ON FILE                        426 KESTREL ST                            5586 ROUND TOP CR NW
                                       KEIZER, OR 97303                          MASSILLON, OH 44646




KENDLE, DEBI K.                        KENDRA STANLEY                            KENDRICK, IAN
525 BRITTON FORD RD                    1156 S CEDAR ST                           ADDRESS ON FILE
SPRINGVILLE, TN 38256                  GALESBURG, IL 61401
KENDRICK, JESSICA M.      Case 20-10766-BLS    Doc
                                        KENDRICK,    6 Filed
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                                                                              958 of 1969
                                                                                        NANCY
ADDRESS ON FILE                          305 E. CLAY ST                       ADDRESS ON FILE
                                         TROY, IL 62294




KENDRICK, PHILLIP B.                     KENISON, CYNTHIA                     KENLEY, DORIS L.
72 BLACK BEAR LANE                       125 ABRRETT AVE                      1301 E DEYOUNG ST
MINERAL BLUFF, GA 30559-0000             EVANSTON, WY 82930                   MARION, IL 62959




KENNAMER, EMORI                          KENNAMER, LUKE                       KENNARD, KATHLEEN M.
ADDRESS ON FILE                          ADDRESS ON FILE                      426 E 6TH ST
                                                                              MT CARMEL, PA 17851




KENNEALLY, SCOTT                         KENNEDY RACHEL J                     KENNEDY, AMY S.
174 TANGLEWOOD CIRCLE                    308 S TIMBER ST                      204 EAST BROADWAY STREET
BLAIRSVILLE, GA 30512                    KNOXVILLE, IL 61448                  MCLEANSBORO, IL 62859




KENNEDY, AMY                             KENNEDY, ANNE                        KENNEDY, CARL N.
1070 WILLARD STREET                      9807 S KARLOV AVE                    1825 APPLE RIDGE CIRCLE
GALESBURG, IL 61401                      OAK LAWN, IL 60453                   NASHVILLE, TN 37211




KENNEDY, CHARITY                         KENNEDY, CYNTHIA                     KENNEDY, DAWN M.
71 QUEEN DRIVE                           330 HIGHWAY 64 B                     ADDRESS ON FILE
MINERAL BLUFF, GA 30559                  WYNNE, AR 72396




KENNEDY, ENCARNACION C.                  KENNEDY, JEANNE M.                   KENNEDY, KIMBERLY D.
14461 NARCISSE DR.                       ADDRESS ON FILE                      736 18TH ST.
EASTVALE, CA 92880                                                            EVANSTON, WY 82930




KENNEDY, LINDA D.                        KENNEDY, LOUIS J.                    KENNEDY, LYLE
ADDRESS ON FILE                          ADDRESS ON FILE                      125 COUNTY ROAD 418
                                                                              JONESBORO, AR 72404




KENNEDY, MARCUS                          KENNEDY, MARGIE P                    KENNEDY, MEGAN
ADDRESS ON FILE                          154 COUNTY RAOD 594                  ADDRESS ON FILE
                                         SYLVANIA, AL 35988




KENNEDY, MELINDA L.                      KENNEDY, NICOLE                      KENNEDY, PATTY J.
1700 JOHNSON                             ADDRESS ON FILE                      11653 S MAY ST
BIG SPRING, TX 79720                                                          CHICAGO, IL 60643
KENNEDY, PAULA             Case 20-10766-BLS   Doc
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                                                  SAMUEL                Page KENNEDY,
                                                                             959 of 1969
                                                                                      SHELBY
ADDRESS ON FILE                          ADDRESS ON FILE                     45560 N STATE HWY 118 P.O. BOX 1932
                                                                             ALPINE, TX 79830




KENNEDY, THOMAS JOSEPH                   KENNEDY-MD, NICOLE                  KENNEDY-SLEEPER, TABITHA
71 QUEEN AVE.                            ADDRESS ON FILE                     49 ASHBROOKE
MINERAL BLUFF, GA 30559                                                      TROY, IL 62294




KENNEKE HARRIS, LAINE M.                 KENNELLY, KATHY A.                  KENNELWOOD PET RESORTS
ADDRESS ON FILE                          ADDRESS ON FILE                     ATTN DONNA SULLIVAN
                                                                             1875 LACKLAND HILL PKWY
                                                                             ST LOUIS, MO 63146




KENNER, ANGELA A.                        KENNETH BALLENGER                   KENNETH BEHRMAN
111 W CHESTNUT ST                        ADDRESS ON FILE                     1321 S CLINTON RD
COULTERVILLE, IL 62237                                                       CASEYVILLE, IL 62232




KENNETH C HOSTETLER                      KENNETH CASS                        KENNETH CHRISTIANSON
9511 ELTON ST SW                         24811 WOLF CREEK RD                 200 WEST MULLER RD
NAVARRE, OH 44662                        VENETA, OR 97487-9478               EAST PEORIA, IL 61611




KENNETH E ATKINS                         KENNETH GOWINS                      KENNETH L KILLIAN
113 W 6TH AVENUE                         1414 11TH ST NE                     15028 OLD LINCOLNWAY
WILLIAMSON, WV 25661                     THE INN AT UNIVERSITY               DALTON, OH 44618
                                         MASSILLON, OH 44646-4452




KENNETH LICK                             KENNETH M AVERY                     KENNETH M KOOPMAN
590 PASEO VERDE CT                       357 AVON RD                         7201 FALCON
MESQUITE, NV 89027                       MONTGOMERY, AL 36109-3307           CREST CT
                                                                             FORT MYERS, FL 33908-5524




KENNETH MICHAEL & ASSOCIATES LLC         KENNETH P KICKS ATTY AT LAW         KENNETH REESE
500 N WESTSHORE BLVD                     742 4TH AVENUE                      P.O. BOX 23
STE 450                                  HUNTINGTON, WV 25701                LOCK HAVEN, PA 17745
TAMPA, FL 33609




KENNETH ROGERS                           KENNETH WILSON                      KENNEY, AMY
111 BROAD AVE                            503 S BROAD ST                      2509 W. 110TH STREET
KNOXVILLE, IL 61448                      KNOXVILLE, IL 61448                 CHICAGO, IL 60655




KENNEY, ELIZABETH                        KENNON, LYNN                        KENNY, DANIEL S.
508 JACKSON ST                           16915 GRAND TRIASSIC LANE           6507 N SUFFOLK DRIVE
PARIS, TN 38242                          VICTORVILLE, CA 92394               PEORIA, IL 61615
KENSINGTON GURNEE LLC Case 20-10766-BLS      DocJ6 Filed 04/07/20
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                                                                               960 PATTERSON
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700 COMMERCE DR, STE 130            263 RDG HAVEN TRL UNIT 2                   6421 ASH DRIVE
OAR BROOK, IL 60523                 ELLIJAY, GA 30536                          MORO, IL 62067




KENT STATE UNIVERSITY                  KENT, CAROLYN                           KENT, DEBORAH J.
800 E. SUMMIT STREET                   103 SOUTH MAIN ST.                      1800 S BRENTWOOD BLVD APT. 1222
P.O. BOX 5190                          WORDEN, IL 62097                        SAINT LOUIS, MO 63144
KENT, OH 44242




KENT, HEATHER                          KENT, MICHELLE L.                       KENT, RONNIE
550 LAWRENCE AVE                       ADDRESS ON FILE                         980 WILLIAMSON RD
GALESBURG, IL 61401                                                            LUVERNE, AL 36049




KENT, SAVANNAH                         KENTEC MEDICAL INC                      KENTEK CORPORATION
2181 COUNTY ROAD 101                   17871 FITCH                             32 BROADWAY STREET
CEDAR BLUFF, AL 35959                  IRVINE, CA 92614-6071                   PITTSFIELD, NH 03263




KENTUCKY BLOOD CENTER, INC             KENTUCKY BOARD OF NURSING               KENTUCKY BOARD OF PHARMACY
3121 BEAUMONT CENTRE CIRCLE            312 WHITTINGTON PARKWAY                 229 WEST MAIN STREET, SUITE 400
LEXINGTON, KY 40513                    SUITE 300                               FRANKFORT, KY 40601
                                       LOUISVILLE, KY 40222-5172




KENTUCKY BOARD OF PHARMACY             KENTUCKY CABINET FOR HEALTH & FAMILY    KENTUCKY CABINET FOR HEALTH & FAMILY
STATE OFFICE BUILDING ANNEX            SVC                                     SVC
125 HOLME ST, STE 300                  ATTN: ANGELA (ANGIE) WILBERS            ATTN: DAVE HOPKINS
FRANKFORT, KY 40601                    RADIATION HEALTH BRANCH                 DRUG ENFORCEMENT & PROFESSIONALS
                                       275 E. MAIN STREET MAILSTOP HS1C-A      BRANCH
                                       FRANKFORT, KY 40621                     275 E. MAIN STREET 5E-D
                                                                               FRANKFORT, KY 40621

KENTUCKY CABINET FOR HEALTH & FAMILY   KENTUCKY CABINET FOR HEALTH & FAMILY    KENTUCKY CRYSTAL WATER, INC.
SVC                                    SVC                                     P.O. BOX 160
ATTN: NYCOLE TAYLOR                    DIVISION OF CERTIFICATE OF NEED         ASHCAMP, KY 41512-0160
OFFICE OF INSPTR GEN, DIV OF           OFFICE OF HEALTH POLICY
HEALTHCARE                             275 E. MAIN STREET, 4W-E
275 E. MAIN STREET, 5E-A               FRANKFORT, KY 40621
FRANKFORT, KY 40621-0001

KENTUCKY DEPARTMENT OF REVENUE         KENTUCKY DEPARTMENT OF REVENUE          KENTUCKY DEPARTMENT OF REVENUE
501 HIGH ST                            501 HIGH STREET                         P.O. BOX 181 - STATION 57
FRANKFORT, KY 40601-2103               FRANKFORT, KY 40601                     WITHHOLDING TAX
                                                                               FRANKFORT, KY 40602-0181




KENTUCKY DEPARTMENT OF REVENUE         KENTUCKY DEPT OF                        KENTUCKY FARM BUREAU
P.O. BOX 856910                        ENVIRONMENTAL PROTECTION                P.O. BOX 20600
LOUISVILLE, KY 40285-6910              300 SOWER BLVD                          LOUISVILLE, KY 40250-0600
                                       FRANKFORT, KY 40601




KENTUCKY FARM BUREAU                   KENTUCKY FRONTIER GAS LLC               KENTUCKY FRONTIER GAS LLC
P.O. BOX 20700                         2963 KY RT321                           P.O. BOX 408
LOUISVILLE, KY 40250-0700              NORTH PRESTONSBURG, KY 41653            PRESTONBURG, KY 41653
                         Case 20-10766-BLS
KENTUCKY HIGHER EDU ASSISTANCE         KENTUCKYDoc   6 Filed
                                                  HOSPITAL       04/07/20
                                                           ASSOCIATION         Page KENTUCKY
                                                                                    961 of 1969
                                                                                             LABOR CABINET
AUTHORITY                              2501 NELSON MILLER PKWAY                     1047 US HWY 127 S STE 4
P O BOX 4869                           P.O. BOX 436629                              FRANKFORT, KY 40601
FRANKFURT, KY 40604-4869               LOUISVILLE, KY 40253-6629




KENTUCKY LABOR CABINET                  KENTUCKY MEDICAID SERVICES                  KENTUCKY OCCUPATIONAL SAFETY AND
657 CHAMBERLIN AVENUE                   DEPARTMENT                                  HEALTH ADMINISTRATION
FRANKFORT, KY 40601                     275 E. MAIN STREET                          MAYO-UNDERWOOD BUILDING
                                        FRANKFURT, KY 40601                         500 MERO STREET, 3RD FLOOR
                                                                                    FRANKFORT, KY 40601



KENTUCKY OFFICE OF THE ATTORNEY         KENTUCKY OFFICE OF THE ATTORNEY             KENTUCKY OFFICE OF THE ATTORNEY
GENERAL                                 GENERAL                                     GENERAL
CONSUMER PROTECTION DIVISION            LOUISVILLE                                  PRESTONSBURG
1024 CAPITAL CTR DRSTE 200              CONSUMER PROTECTION DIVISION                361 N LAKE DR
FRANKFORT, KY 40601                     310 WHITTINGTON PKWY STE 101                PRESTONSBURG, KY 41653
                                        LOUISVILLE, KY 40222

KENTUCKY RIVER HBP, LLC                 KENTUCKY RIVER MEDICAL CENTER               KENTUCKY RIVER PHYSICIAN
1209 ORANGE STREET                      ENTITY 0140                                 CORPORATION
WILMINGTON, DE 19801                    540 JETT DR.                                306 W. MAIN STREET
                                        JACKSON, KY 41339                           SUITE 512
                                                                                    FRANKFORT, KY 40601



KENTUCKY SECRETARY OF STATE             KENTUCKY SIGNWORKS INC                      KENTUCKY STATE TREASURER
700 CAPITAL AVENUE, SUITE 152           113 WEST MADISON SUITE 1                    C/O ENTERPRISE COLLECTIONS/DEPT REV
FRANKFORT, KY 40601                     LOUISA, KY 41230                            501 HIGH STREET P.O. BOX 491
                                                                                    FRANKFORT, KY 40602-0491




KENTUCKY STATE TREASURER                KENTUCKY STATE TREASURER                    KENTUCKY STATE TREASURER
DEPART OF HOUSING ELEVATOR INSPECT      DEPARTMENT FOR MEDICAID SERVICES            DEPARTMENT OF HOUSING
101 SEA HERO ROAD, SUITE 100            275 EAST MAIN STREET, 6C-B                  101 SEA HERO RD STE 100
FRANKFORT, KY 40601-5405                FRANKFORT, KY 40621                         FRANKFORT, KY 40601-5405




KENTUCKY STATE TREASURER                KENTUCKY STATE TREASURER                    KENTUCKY STATE TREASURER
DEPT 1996 OPTUM PUBLIC SECTOR SOLUT     DIVISION OF COLLECTIONS                     DIVISION OF WASTE MGMT HAZARDOUS
P.O. BOX 11407                          P.O. BOX 491                                300 SOWER BLVD 2ND FLOOR
BIRMINGHAM, AL 35246-1996               FRANKFORT, KY 40602                         FRANKFORT, KY 40601




KENTUCKY STATE TREASURER                KENTUCKY STATE TREASURER                    KENTUCKY STATE TREASURER
DXC TECHNOLOGY                          OFFICE OF HOUSING/BOILER                    OFFICE OF INSPECTOR GENERAL
P.O. BOX 2108                           101 SEA HERO RD, STE 100                    275 EAST MAIN STREET, 5E-A
FRANKFORT, KY 40602-2108                FRANKFORT, KY 40601-5405                    FRANKFORT, KY 40621




KENTUCKY STATE TREASURER                KENTUCKY STATE TREASURER                    KENTUCKY STATE TREASURER
OFFICE OF THE INSPECTOR GENERAL         P.O. BOX 718                                RADIATION HEALTH BRANCE
275 EAST MAIN ST 5E-A                   FRANKFORT, KY 40602-0718                    275 E MAIN ST MAILSTOP HSIC-A
FRANKFORT, KY 40621-0001                                                            FRANKFORT, KY 40621




KENTUCKY STATE TREASURER                KENTUCKY STATE TREASURER                    KENWORTHY, TRENT K.
REVENUE CABINET                         UNCLAIMED PROPERTY DIVISION                 1096 S. RAVEN STONE DRIVE
FRANKFORT, KY 40619                     1050 US HIGHWAY 127 SOUTH, SUITE 100        WASHINGTON, UT 84780
                                        FRANKFORT, KY 40601
KENYA SHAVERS          Case 20-10766-BLS
                                     KENYON,Doc  6 W.
                                            GORDON   Filed 04/07/20   Page KENZIE
                                                                           962 ofA SCHEIDT
                                                                                   1969
10 VAN BUREN AVE SOUTH               ADDRESS ON FILE                       ADDRESS ON FILE
HOPKINS, MN 55343




KENZIE SCHEIDT                       KEOVILAY, MANIPETH                    KEPHART, JOYCE
ADDRESS ON FILE                      ADDRESS ON FILE                       1036 PLEASANT VALLEY RD
                                                                           MURPHY, NC 28906-0000




KEPLINGER, MICHELLE S.               KEPLINGERMYERS, TRACEY                KEPNER, ELIZABETH
1617 LOCH TAY BLVD.                  1042 ORCHARD HILL CR                  105 CLUB PLACE
RAWLINS, WY 82301                    MASSILLON, OH 44646                   MADISON, MS 39110




KEPPLE, EILEEN M.                    KEPPLE, RICHARD                       KERBERICK, JANIS L.
4836 GRANDVIEW AVE NE                1010 VILLAGIO CR                      ADDRESS ON FILE
CANTON, OH 44705                     UNIT 102
                                     SARASOTA, FL 34237




KERBY MORELION, KORINA J.            KERBY, LESLEY                         KERBY, ROBERT G.
2602 LYNN DRIVE                      P.O. BOX 60                           5367 COUNTY RD 239
BIG SPRING, TX 79720                 MENTONE, AL 35984                     VALLEY HEAD, AL 35989




KERKORIAN, PATTI J.                  KERLEY, AUSTIN T.                     KERLEY, MICHAEL S.
5061 WEST COUNTRY PLACE              501 E WASHINGTON ST                   677 CAVE ROAD
WAUKEGAN, IL 60087                   CHRISTOPHER, IL 62822                 THOMPSONVILLE, IL 62890




KERLEY, SHAWNA N.                    KERLIN, KATHLEEN M.                   KERMA MEDICAL PRODUCTS INC
790 MAPLE ST                         9436 S MILLARD AVE                    215 SUBURBAN DR
NEW BURNSIDE, IL 62967               EVERGREEN PARK, IL 60805              SUFFOLK, VA 23434




KERMA MEDICAL PRODUCTS INC           KERMA MEDICAL PRODUCTS                KERMA MEDICAL PRODUCTS, INC
ATTN: ACCOUNTS RECEIVABLE            215 SUBURBAN DRIVE                    215 SUBURBAN DRIVE
215 SUBURBAN DR                      ATTN: ACCOUNTS RECEIVABLE             SUFFOLK, VA 23434
SUFFOLK, VA 23434                    SUFFOLK, VA 23434




KERMA MEDICAL PRODUCTS, INC.         KERMA MEDICAL PRODUCTS, INC.          KERMAN, PEGGY
215 SURBURBAN DRIVE                  ATTN: ACCOUNTS RECEIVABLE             P.O. BOX 2042
SUFFOLK, VA 23434                    215 SUBURBAN DR                       OVERTON, NV 89040-2042
                                     SUFFOLK, VA 23434




KERMANI, JAFFAR                      KERN CARRIE E                         KERN MEDICAL
25811 KNOTTY PINE RD                 11221 S KEAN AVE UNIT A               1700 MOUNT VERNON AVENUE
LAGUNA HILLS, CA 92653               PALOS HILLS, IL 60465                 BAKERSFIELD, CA 93306
KERN, ANGELA              Case 20-10766-BLS     Doc 6
                                        KERN, JAY           Filed 04/07/20   Page KERN,
                                                                                  963 of  1969
                                                                                        KELLY
7061 LL RD                               1110 CARR ROAD                           8441 GILMORE LAKE RD
RED BUD, IL 62278                        PRAIRIE DU ROCHER, IL 62277              COLUMBIA, IL 62236




KERN, KYLE                               KERN, ROSALIE                            KERNEBECK, DANNY J.
3780 FRIENDSHIP CHURCH ROAD              8453 GILMORE LAKE RD                     ADDRESS ON FILE
DONGOLA, IL 62926-0000                   COLUMBIA, IL 62236




KERNODLE, CAMELIA                        KERNS, CHERYL A.                         KERNUTT, LORI A.
2201 MORNINGSIDE                         ADDRESS ON FILE                          465 D ST P.O. BOX 250
WYNNE, AR 72396                                                                   LOWELL, OR 97452




KERPAN, RICHARD                          KERPERIEN, MATTHEW                       KERPERIENGARY, KERPERIEN
1046 FOX VALLEY DRIVE                    309 W CHESTNUT STREET                    309 W CHESTNUT ST
AURORA, IL 60504                         BALDWIN, IL 62217                        BALDWIN, IL 62217-1001




KERR, JOHN GORDON                        KERR, KEITH                              KERR, LINDA M.
1052 N 12TH ST                           75 N 8TH ST                              161 MIDDLE RD
SPRINGFIELD, OR 97477                    CRESWELL, OR 97426                       BEN LOMOND, CA 95005




KERR, LISA A.                            KERR, SCOTT                              KERRI RATLIFF
500 NETHERWOOD AVE NW                    1590 ROSCOE DAVIS RD                     P.O. BOX 232
CANTON, OH 44708                         MONROE, GA 30656-7907                    MEALLY, KY 41234-0000




KERRI SETZER                             KERRIGAN, MICHAEL J.                     KERRY COX
5063 ROCK RD                             ADDRESS ON FILE                          1026 W MAIN ST
WATERLOO, IL 62298-3617                                                           GALESBURG, IL 61401




KERRY JACKSON                            KERRY, LAURA L.                          KERRY, TOMAS
P.O. BOX 197                             4563 EVANGEL ST NW                       1045 KIMSEY DAIRY RD
HETH, AR 72346                           MASSILLON, OH 44647                      TURTLETOWN, TN 37391




KERSHAW ELECTRIC INC                     KERSHAW, MICHAEL                         KERSHIA OCONNOR
P O BOX 2546                             1544 WEBER DR.                           1460 G STREET
LAS CRUCES, NM 88004                     EDWARDSVILLE, IL 62025                   SPRINGFIELD, OR 97477




KERSNICK, DEBORAH                        KERSTEN, ELIZABETH                       KESEL, CHRISTOPHER
103 SHELBY DR                            1261 HARDING ST. POBOX 46                8387 LEBANON RD
SCOTTSBORO, AL 35769                     GILSON, IL 61436                         NASHVILLE, IL 62263
KESEY, TINA               Case 20-10766-BLS     Doc 6
                                        KESL, AMY            Filed 04/07/20   Page KESLER
                                                                                   964 ofCLARA
                                                                                          1969L
ADDRESS ON FILE                          P.O. BOX 1841                             708 SOUTH MT PISGAH
                                         OVERTON, NV 89040-1841                    DONGOLA, IL 62926




KESLER, DIANE                            KESLER, KASSIE                            KESSELL, WENDI L.
203 BEAGLE LANE                          883 SANTA THERESA WAY                     ADDRESS ON FILE
COPPERHILL, TN 37317                     MESQUITE, NV 89027-1117




KESSINGER, FRANK                         KESSINGER, STEFANIE K.                    KESSINGER, STEFANIE K.
6819 WHITE OAK                           11136 POCAHONTAS ROAD                     ADDRESS ON FILE
EDWARDSVILLE, IL 62025                   MARINE, IL 62061




KESSLER, ANGELA G.                       KESSLER, EMILY                            KESSLER, JILL C.
338 S MARKET ST                          424 S LIBRARY ST                          ADDRESS ON FILE
SELINSGROVE, PA 17870                    WATERLOO, IL 62298




KESSLER, KATHRYN L.                      KESSLER, PATRICK                          KESSLER, RACHEL
14 AVONDALE MEADOWS CT                   761 HAVENWOOD DR                          ADDRESS ON FILE
WENTZVILLE, MO 63385                     NEW FRANKLIN, OH 44319




KESSLER, SHARON                          KESTEL, JAMES                             KESTER, KAMRYN E.
703 CHERRY STREET                        1305 GROVE ST NE                          2838 NORTH AVENUE.
EVANSVILLE, IL 62242                     CANTON, OH 44721-3118                     METROPOLIS, IL 62960




KESTERSON, PATRICIA                      KETCHERSIDE, SHARON                       KETLER, KEVIN
398 NEW LIBERTY RD                       3032 SUTTERVILLE RD                       6447 SONGBIRD CR NE
MINERAL BLUFF, GA 30559                  FULTS, IL 62244                           NORTH CANTON, OH 44721-3576




KETNER, RONALD                           KETTERER, KYLE W.                         KETTERLING, VICTORIA R.
704 S ILLINOIS ST                        ADDRESS ON FILE                           ADDRESS ON FILE
GOOD SAMARITAN SOCIETY
GENESEO, IL 61254-1782




KEVIN BROWN                              KEVIN COOKE                               KEVIN G BRODGEN
ADDRESS ON FILE                          1550 W 95TH ST                            ADDRESS ON FILE
                                         CHICAGO, IL 60643




KEVIN HARVEY                             KEVIN L SURNEAR                           KEVIN LYNCH
239 ROLLING HILLS LANE                   11760 NAVARRE RD SW                       1485 N KELLOGG ST
MCKENZIE, TN 38201                       NAVARRE, OH 44662-0000                    GALESBURG, IL 61401
KEVIN S BARRETT          Case 20-10766-BLS     Doc 6
                                       KEVIN SHOUP         Filed 04/07/20   Page KEVIN
                                                                                 965 of  1969MD
                                                                                       STROUP,
771 COUNTY ROAD 130                     ADDRESS ON FILE                          ADDRESS ON FILE
FLAT ROCK, AL 35966




KEVIN, JOYCE                            KEY BENEFIT ADMINISTRATORS               KEY BENEFIT ADMINISTRATORS
109 CEDAR AVE                           ATTN: REFUNDS                            P.O. BOX 3252
LAKE VILLA, IL 60046                    P.O. BOX 3252                            MILWAUKEE, WI 53201
                                        MILWAUKEE, WI 53201




KEY BENEFITS ADMINISTRATORS             KEY FUNCTIONAL ASSESSMENTS               KEY SURGICAL INC
P.O. BOX 2050                           300 CARLSBAD VILLAGE DR.                 8101 WALLACE RD
FORT MILL, SC 29716                     SUITE 108-A 99                           EDEN PRAIRIE, MN 55344
                                        CARLSBAD, CA 92008




KEY SURGICAL INC.                       KEY SURGICAL LLC                         KEY SURGICAL
ATTN: ACCOUNTS RECEIVABLE               P.O. BOX 74809                           ATTN: ACCOUNTS RECEIVABLE
P.O. BOX 74809                          CHICAGO, IL 60694-4809                   P O BOX 860524
CHICAGO, IL 60694-4809                                                           MINNEAPOLIS, MN 55486-0524




KEY SURGICAL, INC                       KEY SURGICAL,INC                         KEY WEST FAMILY MEDICAL CENTER
8101 WALLACE ROAD                       P.O. BOX 74809                           1446 KENNEDY DR
EDEN PRAIRIE, MN 55344                  CHICAGO, IL 60694-4809                   KEY WEST, FL 33040




KEY, BRIAN S                            KEY, DEBBIE L.                           KEY, DONNETTE
2610 HWY 121 S                          2808 MOTT STREET                         18135 VERSAILLES LN APT 101
MARIANNA, AR 72360                      PLANO, TX 75025                          HAZEL CREST, IL 60429




KEY, MICKENZIE                          KEY, RICHARD                             KEYBANC CAPITAL MARKETS INC
476 COUNTRY CLUB                        165 WEAVER CREEK LN                      CAIN BROTHERS A DIV OF KEYBANC
STANSBURY PARK, UT 84074                BLUE RIDGE, GA 30513                     ONE CALIFORNIA ST - STE 2400
                                                                                 SAN FRANCISCO, CA 94111




KEYES, BERTHA                           KEYES, LAKEVIS J.                        KEYES, LAKEVIS J.
103 G ST SW                             109 ALDERBROOK CIRCLE APT200             ADDRESS ON FILE
NAVARRE, OH 44662                       WASHINGTON, NC 27889




KEYHOLE LOCKSMITH                       KEYMON, KENNETH                          KEYS, LAURA J.
1775 W 11TH AVE                         119 BROWNING RD                          ADDRESS ON FILE
EUGENE, OR 97402                        MILAN, TN 38358




KEYS, PETE                              KEYSTONE CENTRAL TAX OFFICE              KEZI-TV
401 E 21ST ST                           86 ADMINISTRATION DR                     P.O. BOX 7009
SILVER CITY, NM 88061                   STE 2                                    SPRINGFIELD, OR 97475
                                        MILL HALL, PA 17751
KFFA RADIO                Case 20-10766-BLS   Doc 6
                                        KFM-WKAY           Filed 04/07/20   Page KGMO
                                                                                 966 of 1969
1360 RADIO DR                           154 EAST SIMMONS STREET                 P.O. BOX 558
HELENA, AR 72342                        GALESBURG, IL 61401                     CAPE GIRARDEAU, MO 63702-0558




KHA                                     KHALIA SMITH                            KHALIL, KHALIL
2501 NELSON MILLER PKYWAY               2536 CHARLES TAYLOR RD                  1901 S CALUMET AVE UNIT 1011
P.O. BOX 436629                         AULANDER, NC 27805                      CHICAGO, IL 60616
LOUISVILLE, KY 40253-6629




KHALIMENDIK, ANGELINA                   KHAN ANGELINA                           KHAN, HUMAIRA
2712 SPRINGER RD APT. 7                 370 S 320 W                             518 N EAST AVENUE
GALESBURG, IL 61401                     TOOELE, UT 84074                        OAK PARK, IL 60302




KHAN, RAZA                              KHAN, RHODORA C.                        KHAN, SAIRA
60 BATH AND TENNIS CLUB RD              6434 87TH AVE                           70 BROOKWOOD CT APT 29
LAKE BLUFF, IL 60044                    KENOSHA, WI 53142                       BLUE RIDGE, GA 30513




KHANGURA, PAMALJIT K.                   KHANNA MD, RAHUL                        KHANNA, JAYALAKSHMI
1632 ASHBURY LN                         7530 BROMPTON ST, APT 852               220 KIMBERLY LANE
ROMEOVILLE, IL 60446                    HOUSTON, TX 77025-2244                  WATSONVILLE, CA 95076




KHATTAB, YASSIN                         KHAYO, VICKIE S.                        KHEAA
ADDRESS ON FILE                         5895 PALA MESA DRIVE.                   P.O. BOX 4869
                                        SAN JOSE, CA 95123                      FRANKFORT, KY 40604-4869




KHIDSUKHUM, KATHLEEN                    KHILFEH, HAMDI                          KHOKHAR, JENNIFER HEIDI
7448 E WINCHESTER DR                    10749 CHERRYWOOD DR                     3838 STERLING WOODS DR
ANTIOCH, TN 37013                       PALOS PARK, IL 60464-3701               EUGENE, OR 97408-1630




KHOLBERG KRAVIS ROBERTS                 KHOSROWPANAH, SHARAREH                  KHOUREY, STEVEN H.
9 WEST 57TH STREET                      544 CLUBHOUSE DRIVE                     4532 LINDFORD AVE NE
SUITE 4200                              APTOS, CA 95003                         CANTON, OH 44705-0000
NEW YORK, NY 10019




KHOURIE, JASON                          KHOURY PHARMACY - COLUMBIA              KHREF
398 VALLEY RD                           101 N MAIN                              P.O. BOX 436629
MOUNDS, IL 62964                        COLUMBIA, IL 62236                      LOUISVILLE, KY 40253-6629




KHUNKHUN, JASVIR K.                     KHURANA MD, ANIL                        KIARA ROBINSON
49 KINGFISHER DR                        791 S RIDGE ROAD                        ADDRESS ON FILE
WATSONVILLE, CA 95076                   LAKE FOREST, IL 60045
KIARA RUTLEDGE          Case 20-10766-BLS
                                      KIBBLER,Doc   6
                                               TERESA      Filed 04/07/20   Page KIBLER
                                                                                 967 ofJESSIE
                                                                                         1969L
758 BELLEFONTE AVE                    410 GUTHRIE DR                             1505 CHEYENNE DRIVE
2ND FLR REAR                          PARIS, TN 38242                            MARION, IL 62959
LOCK HAVEN, PA 17745-2443




KIBLER, MYRA L.                        KIBLER, WILLIAM                           KICKING CANCERS CAN
658 DOVER FALLS TRL                    400 N HARRSION ST                         1365 BERRA BLVD
ELLIJAY, GA 30536                      ALPINE, TX 79830                          TOOELE, UT 84074




KIDD, CHRISTOPHER                      KIDD, MARQUITTA                           KIDD, SHARRON T.
P.O. BOX 7                             6748 DERBY DR APT H                       ADDRESS ON FILE
AUXIER, KY 41602-0007                  GURNEE, IL 60031




KIDD, STEVE                            KIDD, THOMAS J.                           KIDDER, CARRIE E.
121 SMOTHERS DR                        ADDRESS ON FILE                           1918 EDGEWOOD RD
GREENVILLE, AL 36037                                                             WAUKEGAN, IL 60087




KIDDER, CHASIDY L.                     KIDDER, JAYNE D.                          KIDS FOR SPORTS
1229 DALE DR.                          1307 PORTAGE ST NW                        403 PARADISE PKWY
MONROE, GA 30656                       NORTH CANTON, OH 44720                    MESQUITE, NV 89027




KIDS PARK                              KIDWELL, PATRICK                          KIEFER, DANA
1835 ARRON DR                          207 S TIMBER                              1055 MIAMI AVE NW
TOOELE, UT 84074                       KNOXVILLE, IL 61448                       MASSILLON, OH 44647




KIEFER, KERI E.                        KIEFER, KERI                              KIELB, ALEXIS ELIZABETH
ADDRESS ON FILE                        ADDRESS ON FILE                           1180 W 11TH AVE
                                                                                 EUGENE, OR 97402




KIELTYKA, KEN                          KIER, LAWRENCE C.                         KIERA HARRIS
3658 W BENCK DR                        ADDRESS ON FILE                           255 W 107H ST
ALSIP, IL 60803                                                                  CHICAGO, IL 60628




KIESEL, ROBERT J.                      KIESLING, CAROL                           KIESLING, CLARA
145 LIVINGSTON AVE                     494 VEGAS DR                              10617 S CLAREMONT AVE
MISSOULA, MT 59801                     LAS VEGAS, NM 87701                       CHICAGO, IL 60643




KIESOW, CINDY L.                       KIESSEL, MICHELLE T.                      KIFER, GLENDA N.
6218 E YALE RD                         4220 HILLTOP LN                           ADDRESS ON FILE
WOODLAWN, IL 62898                     JOHNSBURG, IL 60051
KIGEN, CELESTINE         Case 20-10766-BLS     Doc 6M. Filed 04/07/20
                                       KIGER, KRISTEN                   Page KIGHT,
                                                                             968 of   1969
                                                                                    SALLY D.
4264 GREENLEAF CT                       6534 WOODLAND HILL RD SW              3805 PHILLIP DR
APT 303                                 NAVARRE, OH 44662                     ZION, IL 60099
WAUKEGAN, IL 60085




KIJAK, AMANDA                           KILAYCO, MARITES M.                   KILBOURNE & KILBOURNE
10602 MICHIGAN DRIVE                    ADDRESS ON FILE                       83 PRINCETON AVE
SPRING GROVE, IL 60081                                                        SUITE 2A
                                                                              HOPEWELL, NJ 08525




KILBOURNE&KILBOURNE                     KILBURN SUSAN M                       KILBURN, SARA A.
83 PRINCETON AVE 2A                     3592 OWLTOWN RD                       ADDRESS ON FILE
HOPEWELL, NJ 08525                      ELLIJAY, GA 30536




KILE, SHERA L.                          KILEY DRAKE                           KILEY TAFOYA
6140 STONEYBROOK ST SW                  705 MOHAWK AVE NW                     1131 LOTEBUSH LANE
CANTON, OH 44706                        CANTON, OH 44708                      BARSTOW, CA 92311




KILEY, NADIA                            KILGORE, BARBARA RUNIA                KILGORE, ERIN
512 NE 11TH STREET                      5939 COUNTY RD 52                     1106 N SEMINARY
BIG SPRING, TX 79720                    DAWSON, AL 35963-3563                 GALESBURG, IL 61401




KILGORE, JAMES M.                       KILGORE, KATHLEEN J.                  KILIK SUSAN M
1714 AL 117 APT. 3                      168 CEDAR AVE                         16556 W APPLE LANE
MENTONE, AL 35984                       GALESBURG, IL 61401                   GURNEE, IL 60031




KILLEN, JENNIFER M.                     KILLIAN, BRINA L.                     KILLIAN, BRITTANY L.
ADDRESS ON FILE                         3977 COUNTY ROAD 88                   ADDRESS ON FILE
                                        FORT PAYNE, AL 35968




KILLIAN, CAROL                          KILLIAN, JOANNA                       KILLIAN, KARISSA
481 N HOWARD AVE                        ADDRESS ON FILE                       140 WILEY LANE
ELMHURST, IL 60126                                                            MAKANDA, IL 62958




KILLIAN, KARISSA                        KILLIAN, LACEY C.                     KILLINGSWORTH, GEORGE
ADDRESS ON FILE                         P.O. BOX 17                           287 S STEWART ST
                                        ANDREWS, NC 28901                     NORTH LIBERTY, IA 52317




KILLINGSWORTH, JUSTYIN                  KILLION, BRITTANY A.                  KILLION, LAURA L.
922 LAKESHORE DRIVE                     4007 FRENCH OAK LN                    ADDRESS ON FILE
FORREST CITY, AR 72335                  SAINT CHARLES, MO 63304
KILLOUGH, ANNIE          Case 20-10766-BLS    Doc
                                       KILLOUGH,    6 Filed
                                                 ARTHUR L.  04/07/20   Page KILMER,
                                                                            969 ofDAVID
                                                                                    1969A.
3089 LUVERNE HWY                        264 FORD LN                         4063 BRUENE AVE
GREENVILLE, AL 36037                    ALBERTVILLE, AL 35951               GRANITE CITY, IL 62040




KILPATRICK GARY P                       KILPATRICK JOHN T                   KILPATRICK, DANNY
156 WALKER ROAD                         P.O. BOX 10                         650 COUNTY RD 57
MURPHY, NC 28906                        EPWORTH, GA 30541                   FORT PAYNE, AL 35967-4301




KILPATRICK, GARY                        KILPATRICK, JESSE                   KILPATRICK, REBECCA
109 E JACKSON ST                        P.O. BOX 141                        115 COUNTY ROAD 31
ABINGDON, IL 61410                      MCKENZIE, AL 36456                  BOAZ, AL 35957




KIM A DOMINGUEZ                         KIM GABLE                           KIM KEARNEY
618 S SILVER AVE                        137 COUNTY ROAD 49                  446 N 2ND AVE
DEMING, NM 88030                        DAWSON, AL 35963                    LEBANON, PA 17046-3961




KIM R OWENS                             KIM S GOHLINGHORST                  KIM SIMBURGER
P.O. BOX 508                            1419 PROMINENCE LN                  1729 BREMEN
MOAPA, NV 89025-0508                    MESQUITE, NV 89034                  GRANITE CITY, IL 62040




KIM SIMS                                KIM, JAMES                          KIM, JENNIE J.
1645 WARRENTON HWY                      ADDRESS ON FILE                     4008 STONEY ISLAND AVE
THOMSON, GA 30824-8019                                                      GURNEE, IL 60031




KIM, JOHOO                              KIM, RON, MD                        KIM, SOON MD
640 CAMELOT DR                          1306 RIDGELEE RD                    28 REGENCY SQ
GREENVILLE, AL 36037                    HIGHLAND PARK, IL 60035             HOBBS, NM 88242




KIM, SUN H.                             KIM, SUN                            KIMANI, ANGELA S.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




KIMBALL LEGAL PLLC                      KIMBALL, JULEE                      KIMBALL, KIMBERLY
2940 W MAPLE LOOP DR                    ADDRESS ON FILE                     ADDRESS ON FILE
STE 304
LEHI, UT 84043




KIMBER, KYRA M.                         KIMBERLIN, JOHANNA                  KIMBERLY A WALLEN
10435 LONGWOOD LANE APT 8               7014 D RD                           ADDRESS ON FILE
OAK LAWN, IL 60453                      WATERLOO, IL 62298-5104
KIMBERLY ANANIA SEWELL Case 20-10766-BLS    Doc
                                     KIMBERLY    6 Filed 04/07/20
                                              ANDERSON              Page KIMBERLY
                                                                         970 of 1969
                                                                                  B CRAWFORD
1725 MAIN AVE W                      ADDRESS ON FILE                     355 S LOUISVILLE ST
MASSILLON, OH 44647-7326                                                 HARLEM, GA 30814




KIMBERLY BURCHETT                   KIMBERLY C EVANS                     KIMBERLY CALLIS
315 SUGARPLUM RD                    ADDRESS ON FILE                      HC 74 BOX 223B
LOWMANSVILLE, KY 41232                                                   PECOS, NM 87552




KIMBERLY D REDD                     KIMBERLY D ROGERS                    KIMBERLY D.MCLAWHORN
588 MADELYN DR                      545 NORTH CONECUH ST                 1412 DEVON DR
GRANITEVILLE, SC 29829              GREENVILLE, AL 36037                 GRIMESLAND, NC 27837




KIMBERLY GROVES                     KIMBERLY HARRIS                      KIMBERLY HILL
8213 WORLEYS MILL RD                2460 IOWA ST                         ADDRESS ON FILE
MARION, IL 62959                    GRANITE CITY, IL 62040




KIMBERLY INMAN                      KIMBERLY J REYNOLDS                  KIMBERLY JOHNSON
90 LOUST GROVE LANE                 3749 N SHEFFIELD AVE                 ADDRESS ON FILE
ANNA, IL 62906                      CHICAGO, IL 60613




KIMBERLY L CHIPMAN                  KIMBERLY MCCARTHY                    KIMBERLY MCCORMICK
2118 CRYSTAL SPRING LN              705 SOUTH MARKET                     401 DOGWOOD LANE
HERMITAGE, TN 37076-4109            WATERLOO, IL 62298                   BELLE RIVE, IL 62810




KIMBERLY R JAMES                    KIMBERLY RUEGG                       KIMBERLY S WASHINGTON
P.O. BOX 173                        10841 POORMAN ST SW                  1522 PINE RIDGE DR E
PLYMOUTH, NC 27962                  NAVARRE, OH 44662-9681               HEPHZIBAH, GA 30815-4560




KIMBERLY SMITH                      KIMBERLY STRATTON                    KIMBERLY TUCKER
698 COUNTY ROAD 32                  ADDRESS ON FILE                      12 GLEN HOLLOW RD
FORT PAYNE, AL 35967                                                     GLEN CARBON, IL 62034




KIMBERLY VINSON                     KIMBERLY WILLIAMS                    KIMBERLY, PATRICK
2136 FLAGSTONE CT. APT16            ADDRESS ON FILE                      935 RUSH FORK RD
GREENVILLE, NC 27834-8824                                                CAMPTON, KY 41301




KIMBLE, BARBARA                     KIMBLE, DARIN WALTER                 KIMBLE, SHIRLEY H.
17 CHURCH ST NW                     2660 CLEVELAND BLVD                  412 LINCOLN AVE
NAVARRE, OH 44662-1125              GRANITE CITY, IL 62040               DOVER, OH 44622
KIMBLE, SUSAN T.          Case 20-10766-BLS     Doc 6
                                        KIMBLE, VERA         Filed 04/07/20   Page KIMBLER,
                                                                                   971 of 1969
                                                                                            JOHN B.
724 DANNER ST NE                         3417 W 135TH ST                            ADDRESS ON FILE
MASSILLON, OH 44646                      ROBBINS, IL 60472




KIMBRELL, BRANDI                         KIMBRELL, JENNIFER M.                      KIMBRO, CHRISTY
712 MCCULLOUGH CHAPEL RD.                ADDRESS ON FILE                            264 BASELINE RD
DYERSBURG, TN 38024                                                                 KENTON, TN 38233




KIMBRO, SARAH M.                         KIMBROUGH, AMBER                           KIMBROUGH, CHARLIE
5 BERMUDA LN                             886 W 2ND ST                               11706 VINCENNES AVE
GRANITE CITY, IL 62040                   GALESBURG, IL 61401                        CHICAGO, IL 60643-4913




KIMBROUGH, LUCIA M                       KIMBROUGH, WHITNEY                         KIMBROUGH-VAZQUEZ, CARRISSA R.
133 NORTH WHITEHEAD ST                   ADDRESS ON FILE                            18401 SCHOOL STREET
WARRENTON, GA 30828                                                                 LANSING, IL 60438




KIMIE RICHARDSON                         KIMME, EDWARD                              KIMMEL, BRANDY
1751 FOUNTAINBLEU DRIVE                  7456 LL ROAD                               3095 LOCUST ST
WORDEN, IL 62097                         RED BUD, IL 62278                          JONESBORO, IL 62952




KIMMELL, JEFFREY J. - CONTRACTOR         KIMMEY, MARY E.                            KIMP, DEBBIE
ADDRESS ON FILE                          11887 HEINECKE DRIVE                       510 W 136TH ST
                                         MOKENA, IL 60448                           RIVERDALE, IL 60827




KINAHAN, DIAN                            KINAHAN, KATHLEEN P.                       KINCAID GORDON L
10909 S KNOX AVE                         2364 ASHBROOK LANE                         68 ADVENTURE LN
OAK LAWN, IL 60453                       GRAYSLAKE, IL 60030                        MORGANTON, GA 30560




KINCAID IV, THOMAS F.                    KINCAID, AARON                             KINCAID, CARLENE
15710 W DOYLE RD                         153 LEFT FORK BRANCH ROAD                  173 DELTA DRIVE
MANHATTAN, IL 60442                      FORT GAY, WV 25514                         WASHINGTON, NC 27889




KINCAID, KATHLEEN                        KINCAID, LINDA S.                          KINCAID, NANCY L.
BOX 406                                  ADDRESS ON FILE                            ADDRESS ON FILE
BEATTYVILLE, KY 41311




KINCAID, NATHAN W.                       KINCAID, STACY N.                          KINCO CONSTRUCTORS
ADDRESS ON FILE                          207 W 154TH PLACE                          12600 LAWSON ROAD
                                         HARVEY, IL 60426                           LITTLE ROCK, AR 72210
KINDEN DENISE H         Case 20-10766-BLS     Doc 6
                                      KINDER ANN         Filed 04/07/20   Page KINDER
                                                                               972 ofCHARLES
                                                                                      1969
307 APPALACHIAN TRACE                  246 SUMMERS TRACE                       8330 LITTLE INDIAN CREEK
MORGANTON, GA 30560                    BELLEVILLE, IL 62220                    LONEDELL, MO 63060




KINDER, CARISSA                        KINDER, DEBORAH                         KINDER, MARY KATHRYN
ADDRESS ON FILE                        ADDRESS ON FILE                         32954 IRISH LANE
                                                                               BRIGHTON, IL 62012




KINDRED, LUCILLE                       KINDRED, SHALON                         KINDRICK, DORIS ANN
10234 S VERNON                         411 15TH STREET SW                      1416 N STREET
CHICAGO, IL 60628                      FORT PAYNE, AL 35967-2712               SPRINGFIELD, OR 97477-0000




KINETEC USA INC                        KING & SPALDING LLP                     KING & SPALDING LLP
W225N16708 CEDAR PARK COURT            1180 PEACHTREE ST NE, STE 1600          P.O. BOX 116133
JACKSON, WI 53037                      ATLANTA, GA 30309                       ATLANTA, GA 30368-6133




KING ALEEM                             KING AMANDA J                           KING CITY BEAGLE CLUB
4720 B THOMAS JEFFESON CI              ADDRESS ON FILE                         C/O DUSTIN MOULTON
SCOTT AFB, IL 62225                                                            MARION, IL 62959




KING CITY CHRYSLER CENTER, INC         KING CITY FUNXIONAL FITNESS             KING CITY PHYSICIAN COMPANY, LLC
1603 BROADWAY                          721 E. IL HWY 15                        1209 ORANGE STREET
P.O. BOX 729                           MT. VERNON, IL 62864                    WILMINGTON, DE 19801
MT VERNON, IL 62864




KING CITY PROPERTY BROKERS             KING DIANNE JULIA                       KING ENTERPRISES, INC.
ATTN: CORY CAPPS                       29316 MEADOW VIEW ROAD                  P.O.BOX 2204
112 S. 9TH STREET                      JUNCTION CITY, OR 97448                 MT VERNON, IL 62864
MT. VERNON, IL 62864




KING GUIDE PUBLICATIONS INC            KING GUIDE PUBLICATIONS INC             KING HEALTH SERVICES LP
P.O. BOX 10317                         P.O. BOX 10317                          1388 STATE ROUTE 487
NAPA, CA 94581                         NAPA, CA 94581-9914                     ATTN: ACCOUNTING
                                                                               BLOOMSBURG, PA 17815




KING JAYNE                             KING THOMAS M                           KING, ANITA
226 TEXAS AVE                          631 PLEASANT GAP DR                     1441 COUNTY ROAD 180
CARTERVILLE, IL 62918                  MORGANTON, GA 30560                     RAINSVILLE, AL 35986




KING, ANNIE ELIZABETH                  KING, ASHLEY N.                         KING, ASZURE
2585 21ST STREET                       6939 WEST 85TH COURT                    ADDRESS ON FILE
SPRINGFIELD, OR 97477-0000             CROWN POINT, IN 46307
KING, ASZURE              Case 20-10766-BLS     Doc 6D. Filed 04/07/20
                                        KING, CAROLYN                    Page KING,
                                                                              973 CHARLES
                                                                                    of 1969H.
ADDRESS ON FILE                          ADDRESS ON FILE                      1661 LA FRANCE ST NE
                                                                              ATLANTA, GA 30307-2183




KING, CHASTITY A.                        KING, CHEYENNE                       KING, CHINITA M.
ADDRESS ON FILE                          ADDRESS ON FILE                      713 HINKLE CT
                                                                              GRANITE CITY, IL 62040




KING, CRYSTAL N.                         KING, DANNY DEAN                     KING, DAVID
1264 COUNTY ROAD 732                     76383 RIVER ROAD                     ADDRESS ON FILE
HENAGAR, AL 35978                        P.O. BOX 212
                                         OAKRIDGE, OR 97463-0000




KING, DAWNIELLE                          KING, DELIA R.                       KING, HANNAH
646 HOPE CT                              48 COLLINS NURSERY LANE              ADDRESS ON FILE
EAST ST LOUIS, IL 62203                  BLAIRSVILLE, GA 30512




KING, JACKIE                             KING, JAMIE                          KING, JAMIE
6991 FLENNER ST SW                       17009 ROUTE 37                       ADDRESS ON FILE
NAVARRE, OH 44662                        JOHNSTON CITY, IL 62951




KING, JEFFREY                            KING, JENNIFER J.                    KING, JENNIFER
5939 WILLOWDALE AVE SE                   ADDRESS ON FILE                      1022 HARTLINE RD
WAYNESBURG, OH 44688-9723                                                     TRENTON, GA 30752




KING, JEREMY                             KING, JOCK                           KING, JOSEPH W.
56 PHILLIPS 321 RD                       10150 COUNTY RD 31                   ADDRESS ON FILE
WEST HELENA, AR 72390                    CENTRE, AL 35960-5017




KING, KATIE L.                           KING, KENNETH F.                     KING, KENNETH F.
3532 SALEM CHURCH ROAD                   9712 ONYX LANE                       ADDRESS ON FILE
JASPER, GA 30143                         BRENTWOOD, TN 37027




KING, LESLIE A.                          KING, MEGAN                          KING, MELANIE
ADDRESS ON FILE                          2062 BOYDSVILLE RD                   ADDRESS ON FILE
                                         DRESDEN, TN 38225




KING, MELINDA                            KING, PAULA                          KING, PENNY T.
8681 KY RT 825                           ADDRESS ON FILE                      ADDRESS ON FILE
SWAMP BRANCH, KY 41240
KING, PERRY WAYNE      Case 20-10766-BLS      Doc 6 Filed 04/07/20
                                     KING, REBECCA                    Page KING,
                                                                           974 RENEE
                                                                                 of 1969
78773 DOWENS ROAD                    1033 S D ST                           154 BOOKER STREET
COTTAGE GROVE, OR 97424              MONMOUTH, IL 61462                    MCKENZIE, TN 38201




KING, RICHARD I.                     KING, ROYCE                           KING, RUTHELMA
1083 TAYLOR LANE                     1275 HIGHLANDS BLVD                   ADDRESS ON FILE
WILLIAMSTON, NC 27892                MONROE, GA 30656




KING, SANDRA L.                      KING, SANDRA L.                       KING, SARAH
952 HARMONY WAY                      ADDRESS ON FILE                       ADDRESS ON FILE
COLUMBIA, TN 38401




KING, SHAWANDA G.                    KING, SHEENA M.                       KING, STARLA M.
4064 W. 115TH STREET APT. 402        ADDRESS ON FILE                       121 N CENTER ST P.O. BOX 151
CHICAGO, IL 60655                                                          ONEIDA, IL 61467




KING, STEPHANIE M.                   KING, TAMYRA D.                       KING, TRICIA L.
ADDRESS ON FILE                      803 N FAIR                            102 CIRCLE DRIVE UNIT C6
                                     MARION, IL 62959                      RAINSVILLE, AL 35986




KING, VANESSA A.                     KING, WALTER J.                       KINGERY, JOAN
3717 NEVADA CT APT D                 4576 W 5100 SO                        107 JEFFERSON ST
GREAT LAKES, IL 60088                KEARNS, UT 84118-6503                 ST. JACOB, IL 62281




KINGERY, MICHELLE E.                 KING-GROSS, AUSTIN                    KINGJOHNSON, MELVIN E.
ADDRESS ON FILE                      1173 E KNOX                           834 1/2 B ST
                                     GALESBURG, IL 61401                   SPRINGFIELD, OR 97477-0000




KINGS DAUGHTERS MED CTR/BROOKHAVEN   KINGS DAUGHTERS MEDICAL CENTER        KINGS DAUGHTERS MEDICAL CTR
427 HWY 51 N                         2201 LEXINGTON AVE                    ATTN: DAVID MEADE
BROOKHAVEN, MS 39601-0948            ATTN: TRACEY CRAWFORD                 2201 LEXINGTON AVENUE
                                     ASHLAND, KY 41101-0000                ASHLAND, KY 41101




KINGSBRIDGE HOLDINGS LLC             KINGSBURY, NIKI                       KINGSBURY, TIA E.
150 N FIELD DR, STE 193              7795 VICTOR AVE                       ADDRESS ON FILE
LAKE FOREST, IL 60045                HESPERIA, CA 92345




KINGSLEY, GINA OR JON                KINGSLEY, SHIRLEY I.                  KINGSMORE, AUDRA L.
204 BLUFFVIEW DR                     2604 GUTH                             ADDRESS ON FILE
PRAIRIE DU ROCHER, IL 62277-2226     GRANITE CITY, IL 62040
KINGSTON, ROSE W.       Case 20-10766-BLS    Doc 6MERRILY
                                      KINGTURNBULL, FiledL.04/07/20   Page KINKADE,
                                                                           975 of 1969
                                                                                    CAMILLE A.
ADDRESS ON FILE                        2845 TRAIL CREST LANE                520 SNAZZY CIRCLE SW
                                       LINDENHURST, IL 60046                NEW PHILADELPHIA, OH 44663




KINKADE, RONALD E.                     KINKEL, DOUGLAS                      KINLEY, JAMES L.
411 N HARSHAW ST                       900 W ASH                            317 S FAIRVIEW ST
CUTLER, IL 62238                       DEMING, NM 88030                     LOCK HAVEN, PA 17745




KINLEY, M NATHAN                       KINNAIRD, ALAN                       KINNAIRD, ELIZABETH S.
211 EAST WATER ST                      1718 JACKSON AVE NW                  1718 JACKSON AVE NW
LOCK HAVEN, PA 17745                   MASSILLON, OH 44646                  MASSILLON, OH 44646-2720




KINNAMON, TERRANCE                     KINNARD, DMITRIY                     KINNE, TACI J.
38690 DEXTER RD                        115 BAYBERRY CT APT B                ADDRESS ON FILE
DEXTER, OR 97431                       GLEN CARBON, IL 62034




KINNEE SARA K                          KINNEY, ANGELA                       KINNICK PH.D., TYSON R.
6944 JESSICA DR                        19 SHIRLWIN DR.                      11018 N NORTHTRAIL DR
SPRINGFIELD, OR 97478                  GRANITE CITY, IL 62040               DUNLAP, IL 61525




KINNIE, LOUIS C.                       KINNISON, GEORGE N.                  KINSEY, RUSSELL
71 E 102ND STREET                      18240 S AIDA CT                      ADDRESS ON FILE
CHICAGO, IL 60628                      HOMEWOOD, IL 60430




KINSLEY, ELLA Y.                       KINSMAN STACY L                      KINTIGH, MARILYN C.
ADDRESS ON FILE                        33550 E STATE HWY LOT 3              22 ERNST DR
                                       PUEBLO, CO 81001                     GLEN CARBON, IL 62034




KINTZ, KATIE                           KIPP, ANNA N.                        KIPP, ANNA N.
905 PITTSBURG AVE NW                   2501 BRIARWOOD AVE SW B13            ADDRESS ON FILE
NORTH CANTON, OH 44720-1814            FORT PAYNE, AL 35967




KIPP, ANNA                             KIPP, MARGARET A                     KIPPER, TONY R S.
ADDRESS ON FILE                        687 LONGWOOD PLACE                   P.O. BOX 201
                                       GARDENDALE, AL 35071-0000            CHAPMAN, AL 36015




KIPPHUT, PAMELA                        KIPPING, CAROL                       KIRAKOS, STEPHEN J.
12 SETTERS CT                          546 CATHERINE DR                     1846 CROMER RD
NORTH AUGUSTA, SC 29841                RED BUD, IL 62278-1458               ELBERTON, GA 30635
KIRAN KUMAR              Case 20-10766-BLS     Doc 6MD Filed 04/07/20
                                       KIRAN SARAFF,                    Page KIRBY
                                                                             976 of  1969
                                                                                   PATTERSON
44426 NATIONAL TRAILS HIGHWAY          1217 SEBRING LANE                     70 CHRISTIAN CHAPEL RD
NEWBERRY SPRINGS, CA 92365             LEXINGTON, KY 40513-1818              ANNA, IL 62906




KIRBY RISK CORPORATION                KIRBY, ALLISON                         KIRBY, AUDRA L.
27561 NETWORK PLACE                   ADDRESS ON FILE                        901 E FM 700 APT 123
CHICAGO, IL 60673-1275                                                       BIG SPRING, TX 79720




KIRBY, CHRISTOPHER                    KIRBY, CONSTANCE A.                    KIRBY, JANE
ADDRESS ON FILE                       40 FORREST COVE DRIVE                  2573 CANTERBURY ST.
                                      MORGANTON, GA 30560                    EUGENE, OR 97404




KIRBY, JOSHUA                         KIRBY, OPAL G.                         KIRCH, E P, MD
712 AIRPORT RD                        151 DENNY DRIVE NO 114                 602 GREENWAY DRIVE
MT VERNON, IL 62864                   ANNA, IL 62906                         LAKE FOREST, IL 60045-4801




KIRGAN, CHERYL                        KIRGAN, MELINDA                        KIRGAN, REBECCA K.
481 MESA BOULEVARD 201                ADDRESS ON FILE                        304 GALESBURG RD
MESQUITE, NV 89027                                                           KNOXVILLE, IL 61448




KIRK WALTERS                          KIRK, ALVIN                            KIRK, AMANDA J.
61401                                 120 MILO SUBDIVISION ROAD              ADDRESS ON FILE
                                      TOMAHAWK, KY 41262




KIRK, JACQUELIN K.                    KIRK, JESSICA N.                       KIRK, JOSHUA
926 E. WEBSTER                        ADDRESS ON FILE                        3578 MOUNT CARMEL RD
BENTON, IL 62812                                                             DECATURVILLE, TN 38329




KIRK, KENNETH                         KIRK, MAKAYLA E.                       KIRK, MARINDA L.
105 SFC 332                           ADDRESS ON FILE                        115 LAFFERTY LANE
FORREST CITY, AR 72335                                                       INEZ, KY 41224




KIRK, MICHAEL N.                      KIRK, MICHAEL N.                       KIRK, ROBERT - ITV
5542 WILDWOOD DR.                     ADDRESS ON FILE                        10424 OAK POND CR
WATERLOO, IL 62298                                                           CHARLOTTE, NC 28277




KIRK, SAMUEL A.                       KIRK, WILLIE E.                        KIRKBRIDE, DIANNA
ADDRESS ON FILE                       8133 S CLYDE AVENUE                    1024 MARYLAND AVE SW
                                      CHICAGO, IL 60617                      CANTON, OH 44710
KIRKLAND & ELLIS LLP   Case 20-10766-BLS
                                     KIRKLAND Doc   6 Filed 04/07/20
                                                SILAS                  Page KIRKLAND,
                                                                            977 of 1969
                                                                                      ARGENTA
(COUNSEL FOR THE CONSENTING          744 N 100 E APT 216                    111 E DAY ST
NOTEHOLDERS)                         TOOELE, UT 84074                       FORREST CITY, AR 72335-4105
ATTN: NICOLE GREENBLATT, P.C
601 LEXINGTON AVENUE
NEW YORK, NY 10022

KIRKLAND, KIYA                        KIRKLAND, LARRY                       KIRKLAND, SHANISE
1035 DAWSON RD APT 15                 109 PIONEER COURT                     225 PULASKI RD
FORREST CITY, AR 72335                WAXAHACHIE, TX 75167                  CALUMET CITY, IL 60409




KIRKLAND, SHELLY                      KIRKOVER, AMY                         KIRKPATRICK, KERI LIN
2802 ANN DRIVE                        2225 BERN                             1493 THREE SPRINGS COVE
BIG SPRING, TX 79720                  GRANITE CITY, IL 62040                MESQUITE, NV 89027




KIRKPATRICK, LEOLA                    KIRKSEY, LORI L.                      KIRNER, SCOTT T.
311 MIDDLE STREET                     ADDRESS ON FILE                       45 AMANDA CT
RED BUD, IL 62278                                                           CRETE, IL 60417




KIRTON MCCONKIE                       KIRTZ, MARY E.                        KISAKSMITH, ANNA MARIE
ATTN, THOMAS CHECKETTES, ATTORNEY     4353 BIRCH DR                         2442 NW BROADWAY ST
AT LAW                                GURNEE, IL 60031                      ALBANY, OR 97321
50 E S TEMPLE, STE 400
SALT LAKE CITY, UT 84111



KISCO INFORMATION SYSTEMS             KISE, LISA A.                         KISER, DARLENE
89 CHURCH STREET                      ADDRESS ON FILE                       99 RAINBOW LANE
SARANAC LAKE, NY 12983                                                      LOUISA, KY 41230




KISER, GREG - CEO                     KISER, GREGORY A.                     KISER, JAMES
THREE RIVERS MEDICAL CENTER           ADDRESS ON FILE                       ADDRESS ON FILE
P.O. BOX 769
LOUISA, KY 41230




KISER, LORI                           KISERS FLOOR FASHIONS                 KISGEN, DEBRA L.
ADDRESS ON FILE                       3050 WALNUT GROVE                     ADDRESS ON FILE
                                      MEMPHIS, TN 38111




KISHA LUMPKINS                        KISHMAN, MARTHA                       KISOR, SHARON
17856 GLEN OAK AVE                    5399 JOSEPHINE ST NW                  ADDRESS ON FILE
LANSING, IL 60438                     NORTH CANTON, OH 44720-6878




KISRO, STEPHANIE                      KISS, DANIELLE                        KISSEE, MARISSA
1405 BROAD STREET                     ADDRESS ON FILE                       2611 63RD ST
EVANSVILLE, IL 62242                                                        KENOSHA, WI 53143
KISSELMAN, JOHN S.       Case 20-10766-BLS
                                       KISSIAR, Doc
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                                                                                  978 of RHONDA
                                                                                           1969
ADDRESS ON FILE                          166 SIX MILE CREEK RD                    451 COLUMBUS AVE
                                         DU QUOIN, IL 62832                       GALESBURG, IL 61401




KIT CARSON COUNTY HEALTH SERVICE         KITCH, CAROL                             KITCH, PATRICIA A.
DISTRICT                                 645 NASSEU ST                            25924 N SEVEN HILLS RD
KIT CARSON COUNTY MEMORIAL HOSPITAL      P.O. BOX 195                             AVON, IL 61415
286 16TH STREET                          PRAIRIE CITY, IL 61470
BURLINGTON, CO 80807



KITCH, SHERRY L.                         KITCHECK                                 KITCHEN, JASON
428 KNOX HIGHWAY 37                      P.O. BOX 122096                          ADDRESS ON FILE
WATAGA, IL 61488                         DALLAS, TX 75312




KITCHEN, JASON                           KITCHEN, LARA                            KITCHEN, PATRICIA
11 FOREST HILL LANE                      294 MISTY VALLEY LANE                    400 E 33RD ST
EDWARDSVILLE, IL 62025                   MILTON, WV 25541                         APT 603
                                                                                  CHICAGO, IL 60616




KITCHENS, JAMES R                        KITCHENS, JENNIFER M.                    KITCHENS, JOAN
3432 HWY 1 SOUTH                         5420 FLETCHER DR SW                      P.O. BOX 26
MARIANNA, AR 72360                       OXFORD, GA 30054                         MINERAL BLUFF, GA 30559




KITCHENS, LIBBY M.                       KITCHENS, TARA                           KITCHING, BRIA
129 JOY DRIVE P.O BOX 1294               1330 LENNINGTON CIR NE                   500 PARK AVE/APT 229
MCCAYSVILLE, GA 30555                    KANKAKEE, IL 60901                       CALUMET CITY, IL 60409




KITCHINGS, JOHN                          KITTLE, BRANDON                          KITTLE, CHASSIDY
ADDRESS ON FILE                          804 SKEETER RIDGE LANE                   804 SKEETER RIDGE LANE
                                         CARTERVILLE, IL 62918                    CARTERVILLE, IL 62918




KITTLEMAN, LESLIE A.                     KITTLER, JOSHUA                          KITTLER, JOSHUA
ADDRESS ON FILE                          ADDRESS ON FILE                          P.O. BOX 2412
                                                                                  WEST HELENA, AR 72390




KITTLER, TERESA                          KITTS, MICHAEL                           KITTS, NATASHA
2030 W HWY 49 POB 2412                   496 HWY 201N                             ADDRESS ON FILE
WEST HELENA, AR 72390                    BLAINE, KY 41124




KITTS, NORMAN                            KITZROW, GARY ALLEN                      KIVES, WENDY
2472 BROMLEY RIDGE                       1082 APPLEGATE PL                        47 ARBOR LANE
FORT GAY, WV 25514                       P.O. BOX 96                              BLAIRSVILLE, GA 30512
                                         HARRISBURG, OR 97446
KIWANIS CLUB OF ALPINE   Case 20-10766-BLS
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                                               CLUB 6   Filed
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                                                            RIDGE           Page KIWANIS
                                                                                 979 of CLUB
                                                                                         1969OF COPPERHILL
P.O. BOX 968                             P.O. BOX 7                              P.O. BOX 443
ALPINE, TX 79831                         BLUE RIDGE, GA 30513                    COPPERHILL, TN 37317




KIWANIS CLUB OF LAS VEGAS                KIWANIS CLUB OF MARION                  KIWANIS CLUB OF SILVER CITY
P.O. BOX 446                             P.O. BOX 1672                           P O BOX 2173
LAS VEGAS, NM 87701                      MARION, IL 62959                        SILVER CITY, NM 88062




KIWANIS CLUB                             KIWANIS CLUB                            KIWANIS CLUB
P. O. BOX 1122                           P.O. BOX 1743                           PO BOX 1743
TOOELE, UT 84074                         GALESBURG, IL 61401                     GALESBURG, IL 61401




KIWANIS                                  KIYABU, COREY                           KIZER LAW FIRM
P.O. BOX 941                             504 CLAIRMONT DR                        P.O. BOX 21060
FORREST CITY, AR 72336                   EUGENE, OR 97404                        WHITE HALL, AR 71612




KIZER SHERRIE K                          KIZIAH, SUSAN                           KJAER, STEPHANIE
386 N BROAD ST                           14667 ARCADIA ST NW                     330 PETERY LANE
LEXINGTON      TN, TN 38351-1678         CANAL FULTON, OH 44614                  APTOS, CA 95003




KJELLMAN, JENNIFER S.                    KJIW-FM RADIO 94.5                      KJM INDUSTRIES
234 ST. AUGUSTINE BLVD                   204 MOORE STREET                        26252 SANDCASTLE CT.
JACKSONVILLE, FL 32250                   HELENA, AR 72342                        SAN JUAN CAPISTRANO, CA 92675




KKR CREDIT ADVISORS (US) LLC- FM         KKR CREDIT ADVISORS (US) LLC- FM        KKR CREDIT ADVISORS (US) LLC- FM
CHUBB BERMUDA INSURANCE LTD-2            CHUBB TEMPEST REINSURANCE LTD.          CHUBB TEMPEST REINSURANCE LTD.-5




KKR CREDIT ADVISORS (US) LLC- FM         KKR CREDIT ADVISORS (US) LLC- FM        KKR CREDIT ADVISORS (US) LLC- FM
CORPORATE CAPITAL TRUST II               FS KKR CAPITAL CORP.                    KKR BESPOKE GLOBAL CREDIT
                                                                                 OPPORTUNITIES (IR) FUND DAC




KKR CREDIT ADVISORS (US) LLC- FM         KKR CREDIT ADVISORS (US) LLC- FM        KKR CREDIT ADVISORS (US) LLC- FM
KKR CLO 10 LTD.                          KKR CLO 11, LTD                         KKR CLO 12 LTD




KKR CREDIT ADVISORS (US) LLC- FM         KKR CREDIT ADVISORS (US) LLC- FM        KKR CREDIT ADVISORS (US) LLC- FM
KKR CLO 13 LTD                           KKR CLO 14 LTD.                         KKR CLO 15 LTD.
KKR CREDIT ADVISORS (US)Case
                        LLC- FM20-10766-BLS    DocADVISORS
                                        KKR CREDIT   6 Filed
                                                           (US)04/07/20
                                                                LLC- FM     Page KKR
                                                                                 980CREDIT
                                                                                     of 1969
                                                                                           ADVISORS (US) LLC- FM
KKR CLO 16 LTD.                         KKR CLO 17 LTD.                          KKR CLO 18 LTD.




KKR CREDIT ADVISORS (US) LLC- FM       KKR CREDIT ADVISORS (US) LLC- FM          KKR CREDIT ADVISORS (US) LLC- FM
KKR CLO 19 LTD                         KKR CLO 20 LTD                            KKR CLO 21 LTD.




KKR CREDIT ADVISORS (US) LLC- FM       KKR CREDIT ADVISORS (US) LLC- FM          KKR CREDIT ADVISORS (US) LLC- FM
KKR CLO 22 LTD                         KKR CLO 23 LTD.                           KKR CLO 24 LTD.




KKR CREDIT ADVISORS (US) LLC- FM       KKR CREDIT ADVISORS (US) LLC- FM          KKR CREDIT ADVISORS (US) LLC- FM
KKR CLO 25 LTD.                        KKR CLO 26 LTD                            KKR CLO 27 LTD.




KKR CREDIT ADVISORS (US) LLC- FM       KKR CREDIT ADVISORS (US) LLC- FM          KKR CREDIT ADVISORS (US) LLC- FM
KKR CLO 9, LTD                         KKR CREDIT OPPORTUNITIES PORTFOLIO        KKR DAF GLOBAL OPPORTUNISTIC CREDIT
                                                                                 FUND DAC




KKR CREDIT ADVISORS (US) LLC- FM       KKR CREDIT ADVISORS (US) LLC- FM          KKR CREDIT ADVISORS (US) LLC- FM
KKR DAF SYNDICATED LOAN AND HIGH       KKR FINANCIAL CLO 2013-1, LTD             KKR GLOBAL CREDIT OPPORTUNITIES
YIELD FUND DAC                                                                   MASTER FUND L.P.




KKR CREDIT ADVISORS (US) LLC- FM       KKR CREDIT ADVISORS (US) LLC- FM          KKR CREDIT ADVISORS (US) LLC- FM
KKR INCOME OPPORTUNITIES FD            KKR JP LOAN FUND B 2018 A SERIES TRUST    KKR SENIOR FLOATING RATE INCOME FUND
                                       OF MULTI MANAGER GLOBAL INVESTMENT
                                       TRUST




KKR CREDIT ADVISORS (US) LLC- FM       KKR CREDIT ADVISORS (US) LLC- FM          KKR CREDIT ADVISORS (US) LLC- FM
KKR-CARDINAL CREDIT OPPORTUNITIES      OREGON PUBLIC EMPLOYEES RETIREMENT        TACTICAL VALUE SPN-GLOBAL CREDIT
FUND L.P.                              FUND-1                                    OPPORTUNITIES L.P.




KLAAS, NORMAN                          KLAHR, TERRY L.                           KLAMER, KRISTI
707 GLEN CROSSING RD                   ADDRESS ON FILE                           P.O. BOX 813
GLEN CARBON, IL 62034                                                            ENERGY, IL 62933




KLAMUT, MARY E.                        KLAPP, SUSAN J.                           KLARMANN, KAREN
256 STANLEY AVE                        ADDRESS ON FILE                           ADDRESS ON FILE
WAUKEGAN, IL 60085
KLAS ENTERPRISES LLC     Case 20-10766-BLS
                                       KLASSIC Doc  6 Filed 04/07/20
                                               KLEANERS                Page KLATCH,
                                                                            981 ofSAMUEL
                                                                                    1969
630 E TECHNOLOGY AVE                    P.O. BOX 2198                      134 WILLING WAY
OREM, UT 84097                          BIG SPRING, TX 79721               TROY, IL 62294




KLAUS, L.                               KLAUS, SARAH                       KLAUSING, CASSANDRA M.
918 HIGHLAND ST                         15194 MESQUITE CIRCLE              809 ILLINOIS AVE APT B
EDWARDSVILLE, IL 62025                  VICTORVILLE, CA 92394              WATERLOO, IL 62298




KLEBER, MARION E.                       KLEBER, MARION                     KLEEN AIR SERVICE CORPORATION
800 W. BUCKEYE ST. APT. 11              1012 MALLERY ST                    5354 N NORTHWEST HWY
DEMING, NM 88030                        DEMING, NM 88030                   CHICAGO, IL 60630




KLEIMEIER, RACHEL M.                    KLEIN, BEVERLY A.                  KLEIN, CHARLES J.
ADDRESS ON FILE                         315 RIPSON BRIDGE AVE              4604 QUIRIN ROAD
                                        SORENTO, IL 62086                  SMITHTON, IL 62285




KLEIN, CONNIE                           KLEIN, GERALD                      KLEIN, JACK
1549 MANCHESTER AVE SW                  P.O. BOX 023                       6169 TERRACE HILLS DR
NORTH LAWRENCE, OH 44666                NOTRE DAME, IN 46556               NEW FRANKLIN, OH 44216




KLEIN, JENNIFER LYNN                    KLEIN, ROGER MD                    KLEIN, SHERRY L.
3065 KENTWOOD DR                        120 COUNTRY CLUB DR                1723 STONER AVE NE
EUGENE, OR 97401                        ASHLAND, KY 41101                  MASSILLON, OH 44646




KLEIN, WAYNE                            KLEINER, HARRY                     KLEINIK, HANNAH
500 BLUFF STREET                        2880 ALTA VISTA COURT              ADDRESS ON FILE
PRAIRIE DU ROCHER, IL 62277             EUGENE, OR 97403




KLEINLESSENTIEN, KELLY                  KLEINSCHMIDT KATHLEEN A            KLEMZ, DONNA M.
13949 DORAL LANE                        3482 VICKSBURG DR                  16111 S FOREST AVE
HOMER GLEN, IL 60491                    EDWARDSVILLE, IL 62025             OAK FOREST, IL 60452




KLENJA, LEONORA                         KLENKE, HILBERT                    KLEVER, IRENE
2708 HARVEY PL APT 19                   200 S STATION RD                   235 14TH ST NW
GRANITE CITY, IL 62040                  APT 9203                           MASSILLON, OH 44647
                                        GLEN CARBON, IL 62034




KLH MARKETING INC                       KLIETHERMES, BRANDY                KLIMOVICH, ERNEST
2120 E WINSTON RD                       ADDRESS ON FILE                    385 HAVENWOOD DR
ANAHEIM, CA 92806                                                          ROUND LAKE, IL 60073
KLINE, BURKE              Case 20-10766-BLS      Doc 6
                                        KLINE, TERRY       Filed 04/07/20     Page KLINE,
                                                                                   982 of   1969 C.
                                                                                          WENDELL
ADDRESS ON FILE                          ADDRESS ON FILE                           1703 MOUNTAIN RD
                                                                                   RICHFIELD, PA 17086




KLING, RONALD E                          KLINGELE, LAUREN                          KLINGELSMITH, BRENDA
211 FREDERICK ST                         429 HIGH POINT DRIVE                      1118 WERTZ AVE SW
LOCK HAVEN, PA 17745                     EDWARDSVILLE, IL 62025                    CANTON, OH 44710




KLINGENSMITH, NICHOLAS                   KLINGENSMITH, VICTORIA                    KLOCKE, CAROL JEAN
ADDRESS ON FILE                          7341 N SEELEY AVE 3S                      50 RUBY AVE UNIT 229
                                         CHICAGO, IL 60645                         EUGENE, OR 97404




KLOCKGETHER, ARON                        KLOEHN, GREGORY                           KLOEPPER, DORRIS
2019 S LEAD                              4835 NOBLES POND RD                       1014 CIRCLE DRIVE
DEMING, NM 88030                         CANTON, OH 44718                          RED BUD, IL 62278




KLOEPPER, TAMMY L.                       KLOET, PATSY J.                           KLOKER, KARI
ADDRESS ON FILE                          3300 SHARON PL                            1567 KESSEL ROAD
                                         ZION, IL 60099                            AVA, IL 62907




KLOPPER, ROBERT                          KLOSTERMAN BAKING COMPANY                 KLS MARTIN LP
6627 WHITE OAKS CLUB RD                  P.O. BOX 712572                           P.O. BOX 204322
FREEBURG, IL 62243-2219                  CINCINNATI, OH 45271-2572                 DALLAS, TX 75320-4322




KLS PHYSICS GROUP                        KLS-MARTIN L.P.                           KLUCK, MARJORIE L.
124 KILLGORE ROAD                        11201 ST. JOHNS INDUSTRIAL PKWY.S.        3010 DEER TRAIL DRIVE
RUSTON, LA 71270                         JACKSONVILLE, FL 32246                    SPRING HILL, TN 37174




KLUCKER, ALLISON                         KLUMP, NICOLETTE J.                       KMBS BUSINESS SOLUTIONS USA INC
509 STONEFIELD DR                        319 E. WALNUT ST.
SMITHTON, IL 62285                       DEMING, NM 88030




KMBS BUSINESS SOLUTIONS USA INC          KMBS                                      KNACKSTEDT, JAMES J.
10201 CENTURION PKWY N, STE 100          10201 CENTURION PKWY N, STE 100           995 WILLAGILLESPIE RD., STE 300-C
JACKSONVILLE, FL 32256                   JACKSONVILLE, FL 32256                    EUGENE, OR 97401




KNAPHUS, BARTON T.                       KNAPP CHARLES P                           KNAPP MARILYN
481 FAIRWAYS DRIVE                       307 GALESBURG RD                          307 GALESBURG RD
MESQUITE, NV 89027                       KNOXVILLE, IL 61448                       KNOXVILLE, IL 61448
KNAPP, AMY               Case 20-10766-BLS     Doc 6
                                       KNAPP, AMY          Filed 04/07/20   Page KNAPP,
                                                                                 983 ofCHAD
                                                                                        1969
1805 OBERLIN AVE SW                     218 RICHMOND HILL RD                    218 RICHMOND HILL RD
MASSILLON, OH 44647                     MONROE, GA 30655                        MONROE, GA 30655




KNAPP, CHARLES P.                       KNAPP, CHRISTOPHER J.                   KNAPP, DANNY
307 GALESBURG RD                        ADDRESS ON FILE                         606 TAFFEE ST
KNOXVILLE, IL 61448                                                             PINCHNEYVILLE, IL 62274




KNAPP, LESLIE                           KNAPP, LOURDES ROCIO                    KNAPP, SHAWNA M.
300 SHORT RD                            130 BUENA VISTA DR                      ADDRESS ON FILE
COBDEN, IL 62920-0000                   FREEDOM, CA 95019




KNAPP, THELMA R.                        KNAPP, TODD L. M.D.                     KNAPP, WANDA
2521 RONEY DR                           ADDRESS ON FILE                         3213 ENDROW AVE NE
GRANITE CITY, IL 62040                                                          CANTON, OH 44705




KNARR, CHERYL                           KNAUR, MARY ASHLYN                      KNEBEL, DEBRA A.
186 W HILLSIDE DR                       ADDRESS ON FILE                         6112 IBERG RD.
LOCK HAVEN, PA 17745                                                            HIGHLAND, IL 62249




KNEBEL, DEBRA A.                        KNECHT, LARRY                           KNEEDLER, KRISTIN
ADDRESS ON FILE                         33 DOGWOOD TERRACE                      1309 DEERFIELD LANE
                                        MARYVILLE, IL 62062                     COLLINSVILLE, IL 62234




KNEFFLER, CHERYL L.                     KNES LINDSEY                            KNETZER, JOSEPH
6250 BOSFORD ST SW                      213 W 1ST SOUTH ST                      1800 BLOSSER RD
NAVARRE, OH 44662                       MOUNT OLIVE, IL 62069                   DALTON, OH 44618




KNETZER, KRISTINE                       KNEZEVICH, JACOB                        KNIGHT CONNIE LOUISE
18800 BLOSSER RD                        ADDRESS ON FILE                         4036 S REDWOOD DR
DALTON, OH 44618-9448                                                           SPRINGFIELD, OR 97478




KNIGHT CONSTRUCTION                     KNIGHT JULIE                            KNIGHT, ADRIAN
1155 CO RD 248                          ADDRESS ON FILE                         3132 NEWPORT LN
FORT PAYNE, AL 35967                                                            WADSWORTH, IL 60083




KNIGHT, ALLEN                           KNIGHT, AMY M.                          KNIGHT, ANNIE
P.O. BOX 1925                           11230 S OAKLEY AVENUE                   8317 S HERMITAGE
ROCK SPRINGS, WY 82902-1925             CHICAGO, IL 60643                       CHICAGO, IL 60620
KNIGHT, CHAD LEE         Case 20-10766-BLS     Doc 6
                                       KNIGHT, DANA         Filed 04/07/20   Page KNIGHT,
                                                                                  984 ofDONNA
                                                                                          1969G.
1808 SPRING AVE                         250 TABOR FOREST DRIVE                    1155 COUNTY ROAD 248
GRANITE CITY, IL 62040                  OXFORD, GA 30054                          FORT PAYNE, AL 35967




KNIGHT, JASON R.                        KNIGHT, JORDAN R.                         KNIGHT, JULIA L.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




KNIGHT, KALESHIA                        KNIGHT, KATHY J.                          KNIGHT, KENDAL
106 WILLOW DRIVE                        P.O. BOX 93                               226 WILLOW DRIVE
WILLIAMSTON, NC 27892                   CURTIS, MI 49820                          WILLIAMSTON, NC 27892




KNIGHT, LEIGH                           KNIGHT, MITZI L.                          KNIGHT, MITZI L.
6460 OLD MILL LANE                      2316 OASIS                                ADDRESS ON FILE
MONROE, GA 30655                        BIG SPRING, TX 79720




KNIGHT, MONICA L.                       KNIGHT, NYREE D.                          KNIGHT, SHANA J.
538 E ROCKY MOUTH LN                    799 OLD SULLIVAN RD                       ADDRESS ON FILE
DRAPER, UT 84020                        BLAIRSVILLE, GA 30512




KNIGHT, SHANA M.                        KNIGHT, TOSHA NICOLE                      KNIGHT, TYLER M.
ADDRESS ON FILE                         779 COUNTY RD 445                         ADDRESS ON FILE
                                        COLLINSVILLE, AL 35961




KNIGHTEN YOUNG, KAY M.                  KNIGHTHEAD CAPITAL MANAGEMENT, LLC -      KNIGHTHEAD CAPITAL MANAGEMENT, LLC -
ADDRESS ON FILE                         FM                                        FM
                                        KNIGHTHEAD (NY) FUND, LP                  KNIGHTHEAD ANNUITY & LIFE ASSURANCE
                                                                                  COMPANY




KNIGHTHEAD CAPITAL MANAGEMENT, LLC -    KNIKER, HEATHER                           KNIPPLE, MICHAEL
FM                                      1764 BLUEBIRD DR                          ADDRESS ON FILE
KNIGHTHEAD MASTER FUND LP               GALESBURG, IL 61401




KNISS, DANIEL                           KNITTEL, ANDREA G.                        KNOBELOCH, DEIRDRE, D.O.
SVL BOX 8221                            ADDRESS ON FILE                           16100 LINDEN AVENUE
VICTORVILLE, CA 92395                                                             APT. 107
                                                                                  SHORELINE, WA 98133




KNOBELOCH, KENDALL B.                   KNOBLAUCH, PATRICIA                       KNOEBEL, NICHOLAS
2300 WOODLAWN                           594 HARVARD CT                            1204 COVINGTON MANOR LN
GRANITE CITY, IL 62040                  LINDENHURST, IL 60046                     APT 3
                                                                                  ST LOUIS, MO 63125-4744
KNOEBEL, RICHARD          Case 20-10766-BLS    Doc 6 L Filed 04/07/20
                                        KNOELL ANDREW                   Page KNOLHOFF,
                                                                             985 of 1969
                                                                                       JOSHUA, MD
6560 BRAND LAKE                          12904 GREENWOOD AVE                 26967 HIGHLINE RD
WATERLOO, IL 62298                       BLUE ISLAND, IL 60406               ASHLEY, IL 62808




KNOLHOFF, KERBY S.                       KNOLL, REBECCA                      KNOOP, SHERRON
ADDRESS ON FILE                          506 LAURELWOOD DR                   2201 DONA ANA RD SE
                                         CLEVES, OH 45002                    DEMING, NM 88030




KNOP, JENNIFER L.                        KNOPE, JAMES                        KNOPF, KARRIE
129 OTTS DRIVE                           912 W. STOTLAR ST                   ADDRESS ON FILE
CHESTER, IL 62233                        HERRIN, IL 62948




KNOPP, RANDAL A.                         KNOPPS, KEISHA                      KNORR, PHILIP A.
15826 TERRENCE DR                        1634 BELL STREET                    804 APTOS RIDGE CIRCLE
OAK FOREST, IL 60452                     FYFFE, AL 35971                     WATSONVILLE, CA 95076




KNOTE, EARL                              KNOTTS INC                          KNOUFF, RITA
1891 BARNARD RD                          ARTIST TOUCH                        222 PARKVIEW ST NE
WOOSTER, OH 44691                        750 GATO RD                         MASSILLON, OH 44646
                                         EL PASO, TX 79932




KNOWLEDGE CONNEX                         KNOWLES TAMMY N                     KNOWLES, CECILY L.
601 NORTH BELAIR SQUARE                  703 COUNTY RD 138                   302 RIDGEVIEW RD
SUITE 28                                 HENAGAR, AL 35978                   HENAGER, AL 35978
EVANS, GA 30809




KNOWLES, KAYLA D.                        KNOWLES, TAMMY                      KNOWLTON AUTOMOTIVE, INC
ADDRESS ON FILE                          321 BERKSHIRE DR                    204 DONLEY ST
                                         CRYSTAL LAKE, IL 60014              BIG SPRING, TX 79720




KNOWLTON, JULIA                          KNOX CARE ALLIANCE                  KNOX CLINIC CORP.
P.O. BOX 131                             695 N KELLOGG ST                    1573 MALLORY LANE, SUITE 100
BARTON, AR 72312                         ROOM 2434                           BRENTWOOD, TN 37027
                                         GALESBURG, IL 61401




KNOX COMMUNITY HOSPITAL                  KNOX COMMUNITY HOSPITAL             KNOX COUNTY CLERK
1330 COSHOCTON ROAD                      MID-OHIO CORPORATE CARE             200 S CHERRY ST
MOUNT VERNON, OH 43050-1495              P.O. BOX 1188                       GALESBURG, IL 61401
                                         MT VERNON, OH 43050-8188




KNOX COUNTY COLLECTOR                    KNOX COUNTY COLLECTOR               KNOX COUNTY CORONER
KNOX COUNTY TREASURER                    KNOX COUNTY TREASURER               1849 N SEMINARY STREET
200 S CHERRY ST                          200 S. CHERRY                       GALESBURG, IL 61401
GALESBURG, IL 61401                      GALESBURG, IL 61401
                          Case 20-10766-BLS
KNOX COUNTY MEDICAL SOCIETY                    Doc 6TREASURER
                                        KNOX COUNTY     Filed 04/07/20      Page KNOX
                                                                                 986 COUNTY
                                                                                      of 1969YMCA
ISMS MEMBERSHIP DEPT                                                             CARL SANDBURG DR
20 N. MICHIGAN AVE STE700                                                        GALESBURG, IL 61401
CHICAGO, IL 60602-9957




KNOX COUNTY                            KNOX CTY AREA PARTNERSHIP ECON DEV        KNOX, BARBARA
200 S. CHERRY ST                       200 E MAIN STREET                         627 HANNAH LANE
GALESBURG, IL 61401                    SUITE 200                                 MONROE, GA 30655
                                       GALESBURG, IL 61401




KNOX, DUSTIN                           KNOX, PENNY                               KNOX, SCOTT D.
302 W MAIN ST                          522 TALL OAKS E                           ADDRESS ON FILE
P.O. BOX 72                            MONROE, GA 30655-2679
LONDON MILLS, IL 61544




KNOX, STEVE M.                         KNOX, STEVEN C.                           KNOX/GALESBURG SYMPHONY
1813 CLEARVIEW ST SE                   5034 GIBSON ST                            KNOX COLLEGE
EAST SPARTA, OH 44626                  MATTESON, IL 60443                        P.O. BOX K195
                                                                                 GALESBURG, IL 61401




KNOX/GALESBURG SYMPHONY                KNOXVILLE ATHLETIC BOOSTERS               KNOXVILLE ATHLETIC BOOSTERS
KNOX COLLEGE                           P.O. BOX 176                              PO BOX 176
PO BOX K195                            KNOXVILLE, IL 61448                       KNOXVILLE, IL 61448
GALESBURG, IL 61401




KNUCKLES, JANICE                       KNUDTSON, CYNTHIA K.                      KNUTH, JAMES
1208 NORTH 4TH ST.                     864 NORTHPOINT LOOP                       1239 WILLARD ST
WEST HELENA, AR 72390                  BROWNSVILLE, OR 97327                     GALESBURG, IL 61401




KNUTSON MARIE B                        KNUTSON, BARBARA A.                       KNUTSON, ROGER
172 E 400 N                            248 SOUTH COOLEY ST                       69 W. PEACH ST.
TOOELE, UT 84074                       GRANTSVILLE, UT 84029                     GRANTSVILLE, UT 84029-0000




KNUTSON, SEAN                          KOBLER, JANE                              KOBS, DEBRA
172 E 400 N                            614 27TH ST                               12758 S WESTERN AVE
TOOELE, UT 84074                       CAIRO, IL 62914                           BLUE ISLAND, IL 60406




KOBYLARCZYK, TIMOTHY                   KOCH AIR                                  KOCH FILTER CORP
14924 S KILBOURN AVE                   P.O. BOX 636092                           P.O. BOX 732692
MIDLOTHIAN, IL 60445                   CINCINNATI, OH 45263-6092                 DALLAS, TX 75373-2692




KOCH FILTER CORP                       KOCH FILTER CORPORATION                   KOCH JR., DAVID L.
PO BOX 732692                          JPM CHASE KOCH FILTER CORP.               225 E LAUREL ST
DALLAS, TX 75373-2692                  P.O.BOX 732692                            MILLSTADT, IL 62260
                                       DALLAS, TX 75373-2692
KOCH, DONNA                Case 20-10766-BLS    Doc
                                         KOCH, ERIC B. 6       Filed 04/07/20   Page KOCH,
                                                                                     987 of  1969
                                                                                           JAMES
10180 PINE CREST ROAD                      205 DOE COURT                             2338 SUGAR RUN RD
RED BUD, IL 62278                          ALPINE, TX 79830                          MILL HALL, PA 17751




KOCH, WILLIAM                              KOCHENY, JASON J.                         KOCHINSKY, CANDACE J.
6595 MILHAVEN AVE NW                       6900 WEST 112TH PLACE                     ADDRESS ON FILE
CANAL FULTON, OH 44614                     WORTH, IL 60482




KOCISKO, CHERYL                            KOCOVSKA, VIKTORIJA                       KODAK ALARIS INC
5370 HIGHWAY 22A                           6971 WALTHAM ST NW                        P.O. BOX 645094
LEXINGTON, TN 38351-6924                   CANTON, OH 44708                          PITTSBURGH, PA 15264-5094




KODJAVAKIAN, KATIE                         KODJAVAKIAN, RAFI                         KOEHLER SCALE INC
352 N CROOKED LAKE LN                      352 N CROOKED LAKE LN                     3475 NEMESIS AVE
LINDENHURST, IL 60046                      LINDENHURST, IL 60046                     WAUKEGAN, IL 60087




KOEHLER, MATTHEW                           KOEHLER-CHURCH, KIM                       KOEHN, ANALIESA
3016 WILLAKENZIE RD                        212 CALIFORNIA ST                         1097 STATE HIGHWAY518
EUGENE, OR 97401-6951                      CARTERVILLE, IL 62918                     SAPELLO, NM 87745




KOELKER, MICHAEL J.                        KOELLER, DOROTHY                          KOENIG CAPRILE & BERK PC
417 LINCOLN                                13138 BIRMINGHAM CT                       1451 RIVER PARK DR
VENICE, IL 62090                           BEACH PARK, IL 60083                      STE 195
                                                                                     SACRAMENTO, CA 95815




KOENIGSTEI,N LISA                          KOENTZ, NATHAN J.                         KOEPKE, CHRISTY
8508 NAUMANN DR                            ADDRESS ON FILE                           22243 AL HIGHWAY 176, 31
WATERLOO, IL 62298                                                                   COLLINSVILLE, AL 35961




KOERBER, KELLY D.                          KOERPER BERTHA M                          KOESTER, CHRIS & LISA
1148 JACOB DRIVE                           2313 HODGES AVE                           6972 WHITE SWAN LANE
RED BUD, IL 62278                          GRANITE CITY, IL 62040                    RED BUD, IL 62278




KOESTER, KATHERINE A.                      KOESTER, STEVEN MD                        KOESTERER, THOMAS J.
7994 WEST SPRINGVIEW                       ADDRESS ON FILE                           ADDRESS ON FILE
BALDWIN, IL 62217




KOHENSKEY, ROBERT                          KOHL, WALTER                              KOHLENBERGER, TERESA K.
4261 EAST LAKE DR                          482 WATERWHEEL LANE                       210 OLIVER STREET
GRANITE CITY, IL 62040                     STANSBURY PARK, UT 84074                  PRAIRIE DU ROCHER, IL 62277
KOHLER, SANDRA K.        Case 20-10766-BLS
                                       KOHLER,Doc  6 A.Filed 04/07/20
                                              SHIRLEY                   Page KOHN
                                                                             988 LAW
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                                                                                      FIRM SC
1160 LINGLE CREEK ROAD                  6708 C RD                            735 NORHT WATER STREET
JONESBORO, IL 62952                     WATERLOO, IL 62298                   SUITE 1300
                                                                             MILWAUKEE, WI 53202-4106




KOHNEN, SANDRA                          KOHOUT, FLORENCE                     KOHUT, CONNIE A.
980 DUNBERRY DR                         65 W 30TH AVE APT 3510               4230 WOODGLEN LANE
OFALLON, IL 62269                       EUGENE, OR 97405-0000                MT. VERNON, IL 62864




KOKAJI, TADDAKI                         KOKE, BRITTANY                       KOKERNOT 06 RANCH
1299 BERTHA HOWE AVE                    ADDRESS ON FILE                      ARENA ACCOUNT
MESQUITE, NV 89027                                                           P.O. BOX 918
                                                                             FORT DAVIS, TX 79734




KOKINSKI, SHAWN                         KOKOCZKA, MICHAEL JOSEPH             KOKOPELLI GOLF CLUB
131 5TH ST SW                           346 2ND SOUTH ST                     1527 CHAMPIONS DRIVE
NEW PHILADELPHIA, OH 44663              MESQUITE, NV 89027                   MARION, IL 62959




KOL BIO MEDICAL INST                    KOLB, TIMOTHY                        KOLBECK, JULIE
P.O. BOX 220630                         4723 BOHLEYSVILLE ROAD               1008 S MADISON ST
CHANTILLY, VA 20153                     WATERLOO, IL 62298                   MARION, IL 62959




KOLBER, SYDNEY                          KOLEK, RUSSELL                       KOLENDA, JACKIE
101 ADAIR COURT                         500 23RD ST NW                       2350 EMERT AVE
VERNON HILLS, IL 60061                  MASSILLON, OH 44647                  GRANITE CITY, IL 62040




KOLESA, DEBORAH                         KOLESAR & LEATHAM CHTD               KOLESAR, PATRICIA
121 LOU ROSA                            400 S RAMPART BLVD                   5318 SEILER RD
COLLINSVILLE, IL 62234                  STE 400                              DORSEY, IL 62021-1700
                                        LAS VEGAS, NV 89145




KOLICH, MARK                            KOLLAR, DOROTHY M.                   KOLLER, SUSAN
339 BELLFLOWER AVE NW                   8936 ONTARIO ST NW                   ADDRESS ON FILE
CANTON, OH 44708                        MASSILLON, OH 44646




KOLLMORGEN, MICHAEL                     KOLM, VOHN M.                        KOLMAN, MARLENE S.
2925 26TH ST                            1728 WINDSOR RD NE                   5 MONUMENT AVE
CANTON, OH 44707                        MASSILLON, OH 44646                  FREEDOM, CA 95019




KOLMER, DOUGLAS                         KOLMER, SANDRA                       KOLWYCK, SHARON M.
731 N BURTSCHI ST                       105 FAIRWAY DR                       ADDRESS ON FILE
VANDALIA, IL 62471                      WATERLOO, IL 62298
KOMAR, JOHN P.           Case 20-10766-BLS   Doc
                                       KOMATSU    6 Filed
                                               FORKLIFT       04/07/20
                                                        USA, LLC             Page KOMATSU,
                                                                                  989 of 1969
                                                                                           SAYAKA
ADDRESS ON FILE                          11800 S AUSTIN AVENUE                    ADDRESS ON FILE
                                         ALSIP, IL 60803




KOMIN, MICHAEL                           KOMSKIS, ROBERT                          KOMYATTE & CASBON PC
13021 S MARQUETTE                        2207 NE 16TH CT                          9650 GORDON DR
CHICAGO, IL 60633                        FORT LAUDERDALE, FL 33305                HIGHLAND, IN 46322




KONDRICH, TISHA R.                       KONE INC                                 KONE INC.
ADDRESS ON FILE                          P.O. BOX 3491                            4156 P.O. BOX 894156
                                         CARL STREAM, IL 60132-3491               LOS ANGELES, CA 90189-4156




KONG, MATTHEW                            KONG, MIHYUN M.                          KONICA MINOLTA - LEASE
8960 AZARA ST                            ADDRESS ON FILE                          P.O. BOX 100706
GILROY, CA 95020                                                                  PASADENA, CA 91189-0706




KONICA MINOLTA BUS SOL                   KONICA MINOLTA BUS SOLUTIONS             KONICA MINOLTA BUS SOLUTIONS
USA INC                                  DEPT CH 19188                            USA INC, DEPT CH 19188
P.O. BOX 952823                          PALATINE, IL 60055-9188                  PALATINE, IL 60055
ATLANTA, GA 31192-2823




KONICA MINOLTA BUS. SOLUTIONS            KONICA MINOLTA BUSINESS SOL              KONICA MINOLTA BUSINESS SOLUTIONS
USA INC                                  USA INC                                  USA INC
DEPT CH 19188                            DEPT CH 19188                            P.O. BOX 100706
PALATINE, IL 60055                       PALATINE, IL 60055-9188                  PASADENA, CA 91189-0706




KONICA MINOLTA BUSINESS SOLUTIONS        KONICA MINOLTA BUSINESS SOLUTIONS        KONICA MINOLTA BUSINESS SOLUTIONS
USA, INC                                 USA, INC                                 DEPT AT 952823
DEPT 22988                               DEPT CH 19188                            ATLANTA, GA 31192-2823
PASADENA, CA 91185                       PALATINE, IL 60055-9188




KONICA MINOLTA BUSINESS SOLUTIONS        KONICA MINOLTA BUSINESS SOLUTIONS        KONICA MINOLTA BUSINESS SOLUTIONS
DEPT CH 19188                            USA INC                                  USA INC
PALATINE, IL 60055-9188                  21146 NETWORK PLACE                      DEPT 22988
                                         CHICAGO, IL 60673-1211                   PASADENA, CA 91189-0706




KONICA MINOLTA BUSINESS SOLUTIONS        KONICA MINOLTA BUSINESS SOLUTIONS        KONICA MINOLTA BUSINESS SOLUTIONS
USA INC                                  USA INC                                  USA INC
DEPT AT 952823                           P.O. BOX 100706                          P.O. BOX 405874
ATLANTA, GA 31192-2823                   PASADENA, CA 91189-0706                  ATLANTA, GA 30384-5874




KONICA MINOLTA BUSINESS SOLUTIONS        KONICA MINOLTA BUSINESS SOLUTIONS        KONICA MINOLTA BUSINESS
USA, INC                                 USA, INC                                 P.O. BOX 41602
DEPT 2366                                DEPT. CH 19188                           PHILADELPHIA, PA 19101-1602
P.O. BOX 122366                          PALATINE, IL 60055-9188
DALLAS, TX 75312-2366
KONICA MINOLTA BUSINESSCase 20-10766-BLS    Doc 6 BUSINESS
                                     KONICA MINOLTA     Filed 04/07/20   Page KONICA
                                                                              990 ofMINOLTA
                                                                                     1969 LEASE
SOLUTIONS USA INC USAGE              SOLUTIONS USA INC                        P.O. BOX 100706
DEPT LA 22988                        DEPT CH 19188                            PASADENA, CA 91189-0706
PASADENA, CA 91185-2988              PALATINE, IL 60055-9188




KONICA MINOLTA MEDICAL IMAGING         KONICA MINOLTA PREMIER FINANCE         KONICA MINOLTA PREMIER FINANCE
P.O. BOX 100706                        100 WILLIAMS DR                        10201 CENTURION PKWY N, STE 100
PASADENA, CA 91189-0706                RAMSEY, NJ 07446                       JACKSONVILLE, FL 32256




KONICA MINOLTA PREMIER FINANCE         KONICA MINOLTA PREMIER FINANCE         KONICA MINOLTA PREMIER FINANCE
10201 CENTURION PKWY N, STE 100        1111 OLD EAGLE SCHOOL RD               P.O. BOX 070241
SOUTH JACKSONVILLE, FL 32256           WAYNE, PA 19087                        PHILADELPHIA, PA 19176-0241




KONICA MINOLTA PREMIER FINANCE         KONICA MINOLTA PREMIER FINANCE         KONICA MINOLTA PREMIER FINANCE
P.O. BOX 105710                        P.O. BOX 105743                        P.O. BOX 35701
ATLANTA, GA 30348-5710                 ATLANTA, GA 30348-5743                 BILLINGS, MT 59107




KONICA MINOLTA PREMIER FINANCE         KONICA MINOLTA PREMIER FINANCE         KONICA MINOLTA PREMIER FINANCE
P.O. BOX 35701                         P.O. BOX 41602                         P.O. BOX 790448
BILLINGS, MT 59107-5701                PHILADELPHIA, PA 19101-1602            ST LOUIS, MO 63179-0448




KONICA MINOLTA PREMIER FINANCE         KONICA MINOLTA                         KONICA MINOLTA
PO BOX 105710                          21146 NETWORK PL                       21146 NETWORK PLACE
ATLANTA, GA 30348-5710                 CHICAGO, IL 60673-1211                 CHICAGO, IL 60673




KONICA MINOLTA                         KONICA MINOLTA                         KONICA MINOLTA
21146 NETWORK PLACE                    DEPT 2366                              DEPT CH 19188
CHICAGO, IL 60673-1211                 P.O. BOX 122366                        PALATINE, IL 60055-9188
                                       DALLAS, TX 75312-2366




KONICA MINOLTA                         KONICA MINOLTA                         KONICA MINOLTA
P O BOX 105710                         P.O. BOX 100706                        P.O. BOX 51043
ATLANTA, GA 30348-5710                 PASADENA, CA 91189-0706                LOS ANGELES, CA 90051-5343




KONICA MINOLTA                         KONICA MINOLTA                         KONO, LARA S.
P.O. BOX 790448                        USA INC                                19261 PIONEER PLACE
ST LOUIS, MO 63179                     DEPT. CH 19188                         AROMAS, CA 95004
                                       PALATINE, IL 60055-9188




KONOP, CHERYL J.                       KONRADI, MELANIE                       KONRADI, MELANIE, M.D.
ADDRESS ON FILE                        2658 AUGUSTA ST                        ADDRESS ON FILE
                                       EUGENE, OR 97403
KONRADT, DAVID J.         Case 20-10766-BLS   Doc
                                        KONRADT,    6 Filed 04/07/20
                                                 THOMAS                Page KONRATH
                                                                            991 of 1969
                                                                                    KATHLEEN M
ADDRESS ON FILE                         ADDRESS ON FILE                     5312 W 109TH STREET
                                                                            OAKLAWN, IL 60453




KONSYL PHARMACETICALS                   KONTRA, ROBERT J.                   KONVALINKA, JULIE A.
P.O. BOX 1907                           ADDRESS ON FILE                     ADDRESS ON FILE
EDISON, NJ 08818-1907




KONYA, DEBORAH A.                       KOOKEN, GARY                        KOOMEN, BRANDON
ADDRESS ON FILE                         5442 WILLOW WIND CT                 ADDRESS ON FILE
                                        SOCIAL CIRCLE, GA 30025-4619




KOON, PATTIE MAY                        KOONCE, HERBERT                     KOONS, LAWRENCE
93653 RIVER ROAD                        316 MCAFEE STREET                   4691 ALABAMA AVE NW
JUNCTION CITY, OR 97448                 COLLINSVILLE, IL 62234-0000         NORTH LAWRENCE, OH 44666




KOONTZ, RACHEL                          KOONTZJAHR, DEBRA                   KOOPMAN, BEN
365 26TH STREET NORTHWEST               112 GILMORE LAKE ROAD               110 S TAYLOR ST
MASSILLON, OH 44647                     COLUMBIA, IL 62236                  RED BUD, IL 62278




KOOPMAN, REBECCA                        KOOPMAN, RICHARD                    KOOSH, SUSAN M.
ADDRESS ON FILE                         4145 TERMUNDE                       3272 HUNTCLIFFE RD NE
                                        ALSIP, IL 60803                     CANTON, OH 44721




KOPCZENSKI, ROBERT H.                   KOPEC, JULIE                        KOPP, JANE
ADDRESS ON FILE                         1210 N MCLEANSBORO ST               7097 CANTON RD NW
                                        BENTON, IL 62812                    MALVERN, OH 44644-9717




KOPP, LINDSAY                           KOPP, ONDREA                        KOPPA, SUSAN
3723 WESTVIEW AVE NW                    ADDRESS ON FILE                     40712 N PRAIRIE AVE
CANTON, OH 44709                                                            ANTIOCH, IL 60002




KOPRIVA, , RON POA                      KOPYSCIANSKI, CHESSIE               KORANDO REBECCA
2208 FIELD LANE                         4150 BEAVER RD                      517 BIRCH
MANSFIELD, TX 76063                     LOGANVILLE, GA 30052                MARYVILLE, IL 62062




KORANDO, DEANA N.                       KORDA, NATALIE A.                   KORDAS, EMILY A.
4151 BODES LANE                         10608 S HAMILTON AVE                2067 BRISTOL PARK RD
CHESTER, IL 62233                       CHICAGO, IL 60643                   NEW LENOX, IL 60451
KORECEK, LADDIE           Case 20-10766-BLS    Doc 6 G. Filed 04/07/20
                                        KOREN, ROBERT                     Page KORIN
                                                                               992 of  1969
                                                                                     MARSH
40335 N FOX RUN LN                       ADDRESS ON FILE                       6405 KELLER DR SW
ANTIOCH, IL 60002                                                              CANTON, OH 44706




KORINEK, ANNA CHRISTINA                  KORMAN, KATHLEEN J.                   KORN, NICOLE M.
1417 W 25TH AVE                          1254 PARK DRIVE                       8030 JUSTUS AVE SW
EUGENE, OR 97405                         MUNSTER, IN 46321                     NAVARRE, OH 44662




KORN, RUSSELL                            KORNISH, DWAYNE                       KOROM, LOUIS
970 N AUBURN WOODS DR                    6845 MAPLEHILL AVE SW                 3315 SHERWOOD FOREST DR
PALATINE, IL 60067                       NAVARRE, OH 44662                     SPRING GROVE, IL 60081




KOROS USA INC                            KOROSEAL INTERIOR PRODUCTS LLC        KOROSI, NANCY
610 FLINN AVE                            75 REMITTANCE DRIVE                   2075 PRIMROSE LN
MOOREPARK, CA 93021                      DEPT 6911                             LOGANVILLE, GA 30052
                                         CHICAGON, IL 60675-6911




KORPI, FREDERICK P.                      KORSEN, JON D.                        KORSMO, REBECCA
4650 AURORA ST. NW                       ADDRESS ON FILE                       ADDRESS ON FILE
CANTON, OH 44708




KORSTAD, DANIEL                          KORTNEY TOBLER                        KORY HUEBERT
39 INDIAN RIDGE                          P.O. BOX 7034                         ADDRESS ON FILE
BELLEVILLE, IL 62221                     BUNKERVILLE, NV 89007




KORYCKI, DEE A.                          KORZAAN, DUSTIN S.                    KORZUN, KATHERINE J.
17025 JUDY CT                            2949 THOMPSON RD                      ADDRESS ON FILE
OAK FOREST, IL 60452                     MURFREESBORO, TN 37128




KOSCO, MEGAN                             KOSHY SAHAJA                          KOSHY, SOJI
3010 CASTLEWEST CIR NW                   2917 FLORENCE AVE                     224 VISTA DEL MAR DR
MASSILLON, OH 44647                      WAUKEGAN, IL 60085                    WATSONVILLE, CA 95076




KOSMAN, JOSEPH W.                        KOSMATKA, DELORA JEAN                 KOSOWSKI, CARYN J.
11334 S ROCKWELL                         411 CARDINAL DRIVE                    1460 N. SANDBURG TERRACE 2406
CHICAGO, IL 60655                        MT. VERNON, IL 62864                  CHICAGO, IL 60610




KOSSINA, DAVID                           KOSTADIN, CIARA J.                    KOSTANDINA AIDONIS
506 WEST PARKVIEW DRIVE                  1398 BRITANY CT                       13006 CRESCENT CT
MILLSTADT, IL 62260                      EDWARDSVILLE, IL 62025                CRESTWOOD, IL 60445-1211
KOSTANDINA, AIDONIS     Case 20-10766-BLS
                                      KOSTER,Doc
                                               JANE 6  Filed 04/07/20   Page KOSTIUK,
                                                                             993 of 1969
                                                                                      SYLVIA
13006 CRESCENT CT                     P.O. BOX 343                           161 BEAU CHEMIN AVE
CRESTWOOD, IL 60445-1211              BLUE RIDGE, GA 30513                   LOUISVILLE, OH 44641-2551




KOSTRBA, BRIAN                        KOSZELA, MONIKA                        KOSZELA, SEBASTIAN
ADDRESS ON FILE                       632 KEY LARGO DR                       ADDRESS ON FILE
                                      FOX LAKE, IL 60020




KOTELES, LORI                         KOTH, DR. KEVIN                        KOTHARI, KOMAL
608 E 9TH ST                          100 WARREN TUTTLE DR                   ADDRESS ON FILE
WEST FRANKFORT, IL 62896              HARRISBURG, IL 62946




KOTTER, JOSEPH C.                     KOTUSKY, JEANNE                        KOUIMELIS, GEORGIA
550 OLD ROUTE 146 LOOP                ADDRESS ON FILE                        11003 RALEIGH ST
VIENNA, IL 62995                                                             WESTCHESTER, IL 60154




KOUNS, BELINDA                        KOUPAL-SMITH, NANETTE C.               KOURTNEY GOODMAN
87 SYCAMORE ESTATES                   3604 WALLABY PL                        ADDRESS ON FILE
INEZ, KY 41224                        MT JULIET, TN 37122




KOURY, SHAHEED I                      KOUSKY, BARBARA                        KOUTH, JOHN
ADDRESS ON FILE                       90885 ALVADORE RD                      503 7TH ST NE
                                      JUNCTION CITY, OR 97448                MASSILLON, OH 44646-5707




KOVACH, ANGIE L.                      KOVACH, ANGIE                          KOVACH, CAROLYN M.
ADDRESS ON FILE                       ADDRESS ON FILE                        9041 HELEN LANE
                                                                             ORLAND PARK, IL 60462




KOVACH, EDWARD                        KOVACICH, ARDEITH                      KOVALY, KAYLA
4 W HUNTINGTON DR                     P.O. BOX 156                           633 HIBBARD
MARYVILLE, IL 62062-6720              MOUNTAIN VIEW, WY 82939-0156           STAUNTON, IL 62088




KOVARIK, CHERYL                       KOVEN TECHNOLOGY, INC                  KOVEN TECHNOLOGY, INC.
729 RANDLE ST                         12125 WOODCREST DRIVE STE 320          477 N.LINDBERGH BLVD
EDWARDSVILLE, IL 62025                ST. LOUIS, MO 63141                    STE 220
                                                                             ST LOUIS, MO 63141-5010




KOVICK, MICHAEL                       KOWALCZYK, CASIMIR J.                  KOWALIK, ANDRZEJ
2831 BLAIR PL SW                      8644 W 143RD PL                        17 CEDAR CT APT 9
CANTON, OH 44710                      ORLAND PARK, IL 60462                  VERNON HILLS, IL 60061
KOWALKOWSKI, MARTHA      Case 20-10766-BLS   Doc
                                       KOWALSKI,   6 Filed 04/07/20
                                                 RONALD               Page KOWALZYK,
                                                                           994 of 1969
                                                                                     NANCY
1040 SMITH RD                          8095 DEL SOL ROAD SE                8145 PIUTE TRAIL
WATSONVILLE, CA 95076                  DEMING, NM 88030                    TINLEY PARK, IL 60477




KOWELL, MILDRED                        KOZANECKI DANIEL W                  KOZANECKI, LISA
5745 LAUREL LANE ST NW                 517 DEERPATH DR                     517 DEERPATH DR
CANTON, OH 44708                       LINDENHURST, IL 60046               LINDENHURST, IL 60046




KOZHEVNIKOVA, GALINA                   KOZIAR, ANGELINA A.                 KOZIKUSKI, COURTNEY E.
ADDRESS ON FILE                        8607 S 84TH CT                      623 OTOE
                                       HICKORY HILLS, IL 60457             PERRY, OK 73077




KOZLOWSKI, JANETTE                     KOZUSZEK, SUSAN                     KR WOLFE INC
1125 E BROADWAY AVE                    P.O. BOX 1352                       10015 MAINE AVE
WINTHROP HARBOR, IL 60096              MT VERNON, IL 62864                 LAKESIDE, CA 92040




KRAATZ, TERRY ELDOR                    KRABILL, EMMA M.                    KRACH, EILEEN M.
660 RILEY WAY                          1219 SOUTH MOSS LAKE RD             12 E 2900 NORTH RD
HARRISBURG, OR 97446                   BIG SPRING, TX 79720                CLIFTON, IL 60927




KRAFT & HUNTER LLP                     KRAFT, CALEB                        KRAFT, DONALD
P.O. BOX 850                           598 WABASH AVE N                    517 PARK ST NW
ROSWELL, NM 88202-0850                 BREWSTER, OH 44613                  NAVARRE, OH 44662




KRAFT, NICOLE                          KRAFT, SAMANTHA                     KRAFT, SAMANTHA
12800 W. PLAYFIELD DR                  1632 N MAIN ST                      ADDRESS ON FILE
CRESTWOOD, IL 60445                    BENTON, IL 62812




KRAFT, THERESA                         KRAFT, THERESA                      KRAGER, ELIZABETH T.
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




KRAGNES, O RODGER                      KRAKOW, SHERRI                      KRALIK, ASHLEY A.
P.O. BOX 566                           5712 W 129TH ST                     2131 SHERWOOD LAKE DRIVE
MARCOLA, OR 97454                      APT 7                               SCHERERVILLE, IN 46375
                                       CRESTWOOD, IL 60418




KRAME, A DIV OF STAY WELL              KRAMER AND FRANK,PC                 KRAMER RAY E
P.O. BOX 90477                         9300 DIELMAN INDUSTRIAL             10686 W LIBERTY AVE
CHICAGO, IL 90477                      STE 100                             ZION, IL 60099
                                       ST. LOUIS, MO 63132-2205
KRAMER, ALIECIA          Case 20-10766-BLS
                                       KRAMER,Doc
                                              CLAIR6W. Filed 04/07/20   Page KRAMER,
                                                                             995 of JENNIFER
                                                                                     1969 N.
13012 MOHAWK RD APT B                   28 BEAGLE RD                        14001 OSPREY LINKS RD.
APPLE VALLEY, CA 92308                  MILL HALL, PA 17751-9317            ORLANDO, FL 32837




KRAMER, KASEY                           KRAMER-CRAWFORD, TAMMY              KRAMES STAYWELL, LLC
ADDRESS ON FILE                         ADDRESS ON FILE                     P.O. BOX 90477
                                                                            CHICAGO, IL 60696-0477




KRAMES                                  KRAMES                              KRAMES, A DIVISION OF STAYWELL
P.O. BOX 90477                          P.O. BOX 90477                      P.O. BOX 90477
CHICAGO, IL 60696-0477                  CHICAGO,, IL 60696-0477             CHICAGO,, IL 60696-0477




KRANKEL, KAYLYN                         KRANTZ, GREGORY C.                  KRANZ ANITA
319 HARRIETT ST.                        6314 CANTERBURY ST NW               3202 W HUNTER PATH
ALTON, IL 62002                         CANTON, OH 44708-5925               MCHENRY, IL 60050-8214




KRANZ, LINDSAY                          KRANZ, MARK B.                      KRATOHVIL, ASHLEY E.
ADDRESS ON FILE                         17220 71ST COURT                    5103 AUNT NANNIES PL
                                        APT E6                              NOLENSVILLE, TN 37135
                                        TINLEY PARK, IL 60487




KRATZ, DIANNE                           KRAUS, ANDREW J SR                  KRAUS, KRISTIN
204 S. ORANGE ST                        444 HICKORY DR                      3719 WEEPING WILLOW CT
JONESBORO, IL 62952                     NORTH AUGUSTA, SC 29860             WATERLOO, IL 62298




KRAUS, LORRAINE                         KRAUS, MARGARET                     KRAUSE CONSTRUCTION SERVICES INC
424 COLUMBIANA ST NE                    1848 N SHERIDAN RD                  3330 EDISON AVE
NAVARRE, OH 44662                       WAUKEGAN, IL 60087                  BLUE ISLAND, IL 60406




KRAUSE ELECTRICAL CONTRACTORS           KRAUSE, KIMBERLY B.                 KRAUSE, MARISSA A.
13921 W. RT 173                         1204 PARK AVE                       21310 BROWN DRIVE
ZION, IL 60099                          WINTHROP HARBOR, IL 60096           FRANKFORT, IL 60423




KRAUSE, NANCY                           KRAWIEC, DOUGLAS I.                 KRAWIEC, NATASHA
7538 BROOKFIELD LN                      122 GRAY ROCK DR NW                 ADDRESS ON FILE
NORTHFIELD, OH 44067                    ROME, GA 30165




KRAYNIK, MARTIN P.                      KRC SOFTWARE LLC                    KRE8IVE FINE ARTS ACADEMY
5535 ISLAND DR NW                       P.O. BOX 575                        P.O. BOX 238
CANTON, OH 44718                        MARATHON, WI 54448                  ENERGY, IL 62933
KREBEL, MOLLY D.          Case 20-10766-BLS    Doc 6 A Filed 04/07/20
                                        KREBS RICHARD                   Page KREBS,
                                                                             996 ofRACHEL
                                                                                    1969 A.
711 MORRISON AVE                         711 MEDFORD CTR NO 272              ADDRESS ON FILE
WATERLOO, IL 62298                       MEDFORD, OR 97504




KREBS, RACHEL                            KREHER, RUBEN                       KREIE, JEANETTE
ADDRESS ON FILE                          3629 TROUT CAMP RD                  29334 US HIGHWAY 58
                                         WATERLOO, IL 62298-4915             BARSTOW, CA 92311




KREIG, RAYMOND R.                        KREKE, GAIL                         KREKEL, JAMIE
425 VINE STREET                          ADDRESS ON FILE                     113 BLUFFSIDE DR
MORRIS, IL 60450                                                             VALMEYER, IL 62295




KRELL, NORMAN                            KREMMEL, JENNIFER L.                KREMPIN, JUDITH A.
ADDRESS ON FILE                          903 N RAPP AVE                      1855 BEACON STREET
                                         COLUMBIA, IL 62236                  BROOKLINE, MA 02445




KRENDL, RADHA                            KREPPS, SARAH J.                    KRESOVICH, JOANNE
250 RIVER ST APT 423                     7663 N ROGERS AVE APT 1             2856 CARIE HILL CR NW
SANTA CRUZ, CA 95060                     CHICAGO, IL 60626                   MASSILLON, OH 44646




KRESS, SHERRY A.                         KRETZER, KATHLEEN J.                KREWSON, MICHAEL
ADDRESS ON FILE                          ADDRESS ON FILE                     60 BOXWOOD CT
                                                                             EDWARDSVILLE, IL 62025




KRICK, MARTHA                            KRICK, TERRY                        KRIEGER, ERIN
405 WASHINGTON                           11 SOUTH POLK                       3340 DRYSDALE CT
RED BUD, IL 62278                        MILLSTADT, IL 62260                 EDWARDSVILLE, IL 62025




KRIEGER, JANE                            KRIEGER, MICHAEL L                  KRIESHOK, PETER G.
3304 PLEASANT LAKE DRIVE ACM             42 KELLY DR                         71 JANINE CT
TAMPA, FL 33618                          GRANITE CITY, IL 62040              GRANITE CITY, IL 62040




KRISER, MATTHEW                          KRISH, SHANNON                      KRISHER, SHANNON
1048 BRITTANY RD                         578 N 100 W                         649 S ACADEMY ST
HIGHLAND PARK, IL 60035                  TOOELE, UT 84074                    GALESBURG, IL 61401




KRISHNAN, DIVYA                          KRISHONNA SMITH                     KRISMANICH, MARY
1074 LAKEHURST DR APT 302                205 N BLAYNEY STREET                ROSEWOOD CARE CENTER
WAUKEGAN, IL 60085                       PO BOX 322                          2509 LINCOLN AVE
                                         ALEXIS, IL 61412                    GRANITE CITY, IL 62040
KRISPY KREME DOUGHNUTSCase 20-10766-BLS     Doc 6 Filed 04/07/20
                                    KRISS, TOM                     Page KRISSI
                                                                        997 of   1969 MD
                                                                               DANIELSSON
1307 HALFWAY ROAD                   632 SHEFFIELD LANE                  ADDRESS ON FILE
MARION, IL 62959                    BOLINGBROOK, IL 60440




KRISTEL STILLEY                    KRISTEN DODD                         KRISTEN JAMES
ADDRESS ON FILE                    ADDRESS ON FILE                      ADDRESS ON FILE




KRISTEN LAWLER                     KRISTEN MCCULLOUGH                   KRISTEN ROBERTS
464 TIMBER RIDGE DR                ADDRESS ON FILE                      2505 INDIA ROAD
LEXINGTON, TN 38351-5323                                                PARIS, TN 38242




KRISTEN SCHAD                      KRISTEN TAYLOR                       KRISTEN WATSON
3512 E PASADENA AVENUE             ADDRESS ON FILE                      ADDRESS ON FILE
PHOENIX, AZ 85018-1519




KRISTENSEN, DEBBIE A.              KRISTI BELL                          KRISTI WELLS
ADDRESS ON FILE                    5550 EXECUTIVE DR                    423 38TH STREET NW
                                   LOGANVILLE, GA 30052                 FORT PAYNE, AL 35967




KRISTIN ATCHISON                   KRISTIN GARCIA                       KRISTIN LEE
ADDRESS ON FILE                    ADDRESS ON FILE                      ADDRESS ON FILE




KRISTIN SULLIVAN                   KRISTIN THORNSBERRY                  KRISTINA FREEMAN
311 PLEASANT AVE                   ADDRESS ON FILE                      ADDRESS ON FILE
KNOXVILLE, IL 61448




KRISTINA KELTNER                   KRISTINA LEHMAN                      KRISTINE BARBEE
186 W CARL SANDBURG DR             ADDRESS ON FILE                      605 COVINGTON DR
GALESBURG, IL 61401                                                     WATERLOO, IL 62298




KRISTINE BRYANT                    KRISTINE ENLOE                       KRISTINE ENLOE
6750 E MAIN                        1709 W NORTH STREET                  ADDRESS ON FILE
MARYVILLE, IL 62062                GALESBURG, IL 61401




KRISTINE SCHULTZ                   KRISTINE SHIELDS                     KRISTLE BLACK
9377 E 600TH ST                    1823                                 ADDRESS ON FILE
LYNN CENTER, IL 61462              MAPLE ROAD
                                   HOMEWOOD, IL 60430
                       Case 20-10766-BLS
KRISTOFFER VINCENT DIASNES                  DocLANDIS
                                     KRISTOPHER  6 Filed 04/07/20   Page KRISTY
                                                                         998 ofBARBER
                                                                                1969
P.O. BOX 2121                        ADDRESS ON FILE                     ADDRESS ON FILE
WARREN, MI 48090




KRISTY HOHL                         KRISTY JOHNSON                       KRITCH MICHELLE A
35 GLORY DR                         143 ELM GROVE RD                     1401 EASTWOOD LN
HIGHLAND, IL 62249                  COLERAIN, NC 27924                   MCHENRY, IL 60051




KRITEMAN, SUE                       KRIVANKO, KEITH                      KRIZ, MYRLENE A.
4407 N NEWMAN GLOVER RD             6795 ST RT 37 N                      3424 COLGATE PL
UNION CITY, TN 38261                GOREVILLE, IL 62939                  GRANITE CITY, IL 62040




KRMC VOLUNTEERS                     KROENIG, KELSIE                      KROFF, DENISE
540 JETTS DRIVE                     ADDRESS ON FILE                      536 OAKRIDGE DR
JACKSON, KY 41339                                                        TOOELE, UT 84074




KROGER COMPANY, THE                 KROGER FOOD STORES                   KROGER LIMITED PARTNERSHIP I
2700 EAST 4TH ST                    1704 W DEYOUNG ST                    P.O. BOX 645127
ACCOUNTING SVCS-PHARMACY DEPT       MARION, IL 62959                     NASHVILLE CUSTOMER CHARGES
HUTCHISON, KS 67501                                                      PITTSBURGH, PA 15264-5127




KROGER                              KROGER                               KROGH, MARIA RAFAELA
415 S. 42ND STREET                  MID-SOUTH CUSTOMER CHARGES           ADDRESS ON FILE
MT. VERNON, IL 62864                P.O. BOX 644470
                                    PITTSBURGH, PA 15264-4470




KROHN, KEITH                        KROL, BARBARA                        KROMMINGA, PATRICIA GORKA
10397 W BAIRSTOW                    2190 N BROAD ST                      18 AMELIA LANE
BEACH PARK, IL 60087                GALESBURG, IL 61401                  SANTA ROSA BCH, FL 32459




KROMMINGA, PATRICIA                 KROMWALL, DENNIS                     KRONBERGER, ALISA R.
P.O. BOX 2339                       77043 WESTRIDGE AVE                  85870 EDENVALE RD.
SANTA ROSA BEACH, FL 32459-0000     WESTFIR, OR 97492-9723               PLEASANT HILL, OR 97455




KRONMILLER, TRACI                   KRONOS INC.                          KROPF, JOHN
5024 PIGEON RUN RD SW               P.O. BOX 743208                      1870 CRESTVIEW DR
NAVARRE, OH 44662                   ATLANTA, GA 30374-3208               ORRVILLE, OH 44667




KROWL, SARAH                        KRUEGER, BETH A.                     KRUEP, LEROY D.
1609 DONA ANA RD SE                 30 DEL RIO                           929 WHEATRIDGE
DEMING, NM 88030                    GRANITE CITY, IL 62040               TROY, IL 62294
KRUGLER, CATHERINE M. Case 20-10766-BLS   Doc
                                    KRUGLOVA,   6
                                              OLGA       Filed 04/07/20   Page KRUISMAN,
                                                                               999 of 1969
                                                                                         AUBREY A.
4104 13TH STREET                    ADDRESS ON FILE                            954 N 620 E
WINTHROP HARBOR, IL 60096                                                      TOOELE, UT 84074




KRUIT, ERIN L.                       KRUPINSKI, GARY L.                        KRUSE, DAVID
1969 ADELMAN LOOP                    32946 N THORNAPPLE LN                     412 COUNTY RD 35
EUGENE, OR 97402                     GRAYSLAKE, IL 60030                       WAGON MOUND, NM 87752




KRUSE, MARGARET E.                   KRYGSHELD, CLARA M.                       KRYGSHELD, LUKE H.
12900 S 71ST AVENUE                  18050 ESCANABA                            9015 BUNKER HILL DRIVE
PALOS HEIGHTS, IL 60463              LANSING, IL 60438                         MUNSTER, IN 46321




KRYSIAK, TOM                         KRYSNOSKI, ALICE                          KRYSTAL MARQUEZ
26130 W PARKVIEW DR                  8465 NIKE ROAD                            C/O AVRH
ANTIOCH, IL 60002                    RED BUD, IL 62278                         104 LEGION DRIVE
                                                                               LAS VEGAS, NM 87701




KRYSTLE L DYKE                       KRYSTYNA MARSTON                          KRZEMINSKA, EWA
1313 W 4TH ST                        ADDRESS ON FILE                           2413 11TH STREET
LOCK HAVEN, PA 17745                                                           WINTHROP HARBOR, IL 60096




KRZYZAK JACQUELINE                   KRZYZAK, JACQUELINE A.                    KS COMMERCIAL
ADDRESS ON FILE                      ADDRESS ON FILE                           LAUNDRY SPECIALTIES INC
                                                                               2631 E YANDELL
                                                                               EL PASO, TX 79903




KS MANAGEMENT SERVICES LLC           KSIONSKA, MARIANNE                        KUBALA JOLANTA
P.O. BOX 841209                      635 OREGON TRAIL                          38605 NORTH MAGNOLIA
PEARLAND, TX 77584                   MESQUITE, NV 89027-7116                   WADSWORTH, IL 60083




KUBERSKI, AMANDA B.                  KUBERSKI, AMANDA                          KUBERSKI, MATTHEW J.
14919 NORTH COUNTY FARM LANE         41919 N. COUNTY FARM LN                   2158 HAMILTON DRIVE
MT. VERNON, IL 62864                 MT. VERNON, IL 62864                      GRANITE CITY, IL 62040




KUBICEK, CYNTHIA                     KUBIK, DAKOTA D.                          KUBITZ, JULIE
ADDRESS ON FILE                      ADDRESS ON FILE                           2515 COLLEGE ST
                                                                               MT. VERNON, IL 62864-3075




KUCHARSKI, MEGAN P.                  KUCHARSKI, STEPHEN P.                     KUCHTA, CARRIE E.
ADDRESS ON FILE                      614 15TH PL APT. 4                        527 N. KANSAS
                                     KENOSHA, WI 53140                         EDWARDSVILLE, IL 62025
KUDELKA, JOHN J.          Case 20-10766-BLS
                                        KUDIKA,Doc 6 Filed 04/07/20
                                               STEPHEN                Page 1000
                                                                           KUDILIL,of 1969
                                                                                    SEENA
P.O. BOX 1084                            6170 RONALD ST NE                  4318 WEBB MEADOWS DRIVE
GRANITE CITY, IL 62040                   CANTON, OH 44718                   LOGANVILLE, GA 30052




KUDRECKI, DIEN                           KUDSK, MICHAEL J.                  KUEHN BEASLEY & YOUNG PC
1529 COUNTRY LANE                        3721 N NORMANDY                    AND SHAMIKA CALDWELL SIMMONS
ERDA, UT 84074                           CHICAGO, IL 60634                  23 SOUTH FIRST ST
                                                                            BELLEVILLE, IL 62220




KUEHNEL, ERIN N.                         KUEHNL, BRIAN                      KUEKER, CAROLYN
2336 CARDINAL AVE                        ADDRESS ON FILE                    910 CARTER STREET
GRANITE CITY, IL 62040                                                      RED BUD, IL 62278




KUEKER, MICHAEL                          KUEKER-WILLEFORD, LISA C.          KUENKLER, ERIC
6826 ST LEOS ROAD                        3990 MODOC RD                      2832 GRAND AVE
RUMA, IL 62278                           MODOC, IL 62261                    GRANITE CITY, IL 62040




KUENSTLER, HELEN R.                      KUESTER, SIAN                      KUGLER, LEETTE
2812 YALE DR                             600 W. SCHWARTZ ST                 P.O. BOX 286
GRANITE CITY, IL 62040                   SALEM, IL 62881                    LAS VEGAS, NM 87701




KUGLER, LORI A.                          KUGLER, LORI A.                    KUGLER, PETER PHILLIP
512 ASPEN ST                             ADDRESS ON FILE                    512 ASPEN ST
SPRINGFIELD, OR 97477                                                       SPRINGFIELD, OR 97477




KUHAR, BRANDI L.                         KUHLMAN, BRENDA                    KUHLMAN, DEBRA
ADDRESS ON FILE                          123 DESERT WILLOW LANE A           2237 TRAMORE
                                         MESQUITE, NV 89027                 TROY, IL 62294




KUHN, DEBORAH                            KUHN, DENNIS                       KUHN, KODEY
311 N. DOUGLAS ST APT 2                  1680 GRAGG STREET                  104 OAK PARK DRIVE EAST
ST. JACOB, IL 62281                      CENTRALIA, IL 62801                CENTRALIA, IL 62801




KUHN, LINDA                              KUHNER, JESSICA A.                 KUHNKE JEAN MARIE
3265 SFC 735                             ADDRESS ON FILE                    1945 MCCANEY MILL RD
FORREST CITY, AR 72335                                                      HURON, TN 38345




KUHNLE, JEANNE M.                        KUHRE, JIMMIE K.                   KUHRE, JIMMIE K.
ADDRESS ON FILE                          ADDRESS ON FILE                    300 NEILL ROAD
                                                                            HELENA, AR 72342
KUIPERS, CHRISTINE C.   Case 20-10766-BLS
                                      KUJAWA,Doc 6 Filed 04/07/20
                                              BRANDON               Page 1001 ofDYLAN
                                                                         KUJAWA, 1969C.
ADDRESS ON FILE                        7928 TEXAS ROAD                   ADDRESS ON FILE
                                       ASHLEY, IL 62808




KUJAWA, KYLIE N.                       KUJAWA, KYLIE N.                  KUK, JENNY J.
308 NORTH 9TH STREET APT 2             ADDRESS ON FILE                   1652 BLACKBURN DR
MOUNT VERNON, IL 62864                                                   MUNDELEIN, IL 60060




KUKAHIKO, MITZI B.                     KUKLA, PATRICIA                   KUKRAL, LAURA
ADDRESS ON FILE                        ADDRESS ON FILE                   3041 PONDSFORD DRIVE
                                                                         MEDINA, OH 44256




KUKUK, JESSICA                         KULCZYK, DONNA L.                 KULICH, JOHN
7917 STUHLDREHER ST N                  ADDRESS ON FILE                   4639 W 84TH PL
MASSILLON, OH 44646                                                      CHICAGO, IL 60652




KULIDGE, JAMES                         KULISH, KATHY                     KULKARNI, ANANT
40387 N LAMBERT DR                     912 ACORN WY                      608 CARTER
ANTIOCH, IL 60002                      WATSONVILLE, CA 95076             LIBERTYVILLE, IL 60048




KULL, CHARLES HUBERT                   KULMA, LINDSEY                    KULMALA, RAY A.
395 NORTH 32ND STREET                  2204 120TH ST                     1015 GLENWOOD AVE
SPRINGFIELD, OR 97478                  BLUE ISLAND, IL 60406             WAUKEGAN, IL 60085




KULOVITZ, NICOLE                       KUMAR, DR. JYOTHSNA               KUMAR, SUDHIR MD
13714 WILROSE COURT                    3638 REDBUD DRIVE                 1801 LINDAUER ROAD
ORLAND PARK, IL 60467                  FORREST CITY, AR 72335            FORREST CITY, AR 72335




KUMBHANI, HARSHIDA                     KUMBHANI, HARSHIDA                KUMBHANI, TRUSHA
708 HWY 64E                            ADDRESS ON FILE                   ADDRESS ON FILE
WYNNE, AR 72396




KUNCE                                  KUNDERT, TERESA                   KUNDERT, TERESA
2409 BROADWAY                          ADDRESS ON FILE                   ADDRESS ON FILE
UNIT B
MT. VERNON, IL 62864




KUNIGISKY, ERIN E.                     KUNIN, ELENA                      KUNKEL TORSTEN
4762 ROCKY ROAD                        ADDRESS ON FILE                   11530 SANDY CREEK DR
SPRINGFIELD, OR 97478                                                    SANDY, UT 84094-5541
KUNKEL, JUDITH A.        Case 20-10766-BLS
                                       KUNKEL,Doc  6 Filed 04/07/20
                                               LORRAINE                   Page 1002 of 1969
                                                                               KUNKELMANN, DIANA M.
2274 HEDDEN RD                          ADDRESS ON FILE                         907 E SOUTH STREET
MURPHY, NC 28906                                                                NEW ATHENS, IL 62264




KUNST, JOSEPH                           KUNTZ, MICHAEL                          KUNTZELMAN, JENNIFER
890 IRONWOOD DRIVE                      1890 OAK ST APT 5                       6774 W 113TH ST
FRANKFORT, IL 60423                     EUGENE, OR 97401                        WORTH, IL 60482




KUNZ, CATHLEEN A.                       KUNZ, GABRIEL                           KUNZ, SONIA M.
503 GOODFELLOW AVE                      RR1 BOX 161                             1038 DIXIE HWY
ALTON, IL 62002                         BATCHTOWN, IL 62006                     FLOSSMOOR, IL 60422




KUPINSKI, JAMES                         KUPRIANOWICZ, CEZARY                    KUPSKY, JUDY
106 CREEKSIDE DRIVE                     1400 LAKE COUNTY ROAD 248               214 BANNER ST
COLLINSVILLE, IL 62234                  COLORADO CITY, TX 79512                 EDWARDSVILLE, IL 62025




KURANT, JOHN                            KURESHI, ELLEN                          KURHAL, MICHAEL
628 TILLOSTON                           180 BROOKTREE RANCH RD                  196 38TH STREET
COLLINVILLE, IL 62234                   APTOS, CA 95003                         SPRINGFIELD, OR 97478




KURIAN, THOMAS MD                       KURIGER, REX                            KURNICK, CHARLES IVAN
42 W 420 CAMPTON HILLS RD               1065 PAINTED LAKE CT                    47792 WEST 2ND ST
ELBURN, IL 60119                        LAKE VILLA, IL 60046                    P.O. BOX 1404
                                                                                OAKRIDGE, OR 97463




KUROSKI J KATHERINE                     KUROWSKI, MICHAEL J.                    KURT COLTER SAWYER, NP
1809 E GRAND AVE                        ADDRESS ON FILE                         457 PARVIEW DR
LINDENHURST, IL 60046                                                           MESQUITE, NV 89027




KURT RICHTER                            KURT SKREDE                             KURT, CHRISTOPHER
ADDRESS ON FILE                         2644 29TH STREET N                      596 CONNOR LN
                                        SAINT PETERSBURG, FL 33713-3846         LEXINGTON, TN 38351




KURT, CHRISTOPHER                       KURTH, MICHAEL J.                       KURTH, PAULA A.
ADDRESS ON FILE                         105 ILLINI LANE                         24918 W NICKLAUS WAY
                                        WOOD RIVER, IL 62095                    ANTIOCH, IL 60002




KURTZ, PAUL                             KURTZ, SHARLET E.                       KURTZ, WILMA
P.O. BOX 197                            3752 RICHIE DR.                         3307 RENAISSANCE DR
NEW WILMINGTON, PA 16142                KINGMAN, AZ 86401                       DALLAS, TX 75287
KURUVILLA, ELIZABETH    Case 20-10766-BLS   Doc 6INC Filed 04/07/20
                                      KURZ MEDICAL                    Page 1003 ofJAMES
                                                                           KURZEN, 1969L.
ADDRESS ON FILE                        5126 S ROYAL ATLANTA DR             2240 UNIVERSITY DR SE
                                       TUCKER, GA 30084-3052               MASSILLON, OH 44646




KUSCHEL, ERICA A.                      KUSKIE, GLENDA                      KUSKUNOVIC, ROBERT
1501 FOREST ROAD                       6839 A ST                           8695 HWY 104 N
LA GRANGE PARK, IL 60526               SPRINGFIELD, OR 97478-7390          CEDAR GROVE, TN 38321




KUSKUNOVIC, TAMMY FOR BRADLEY          KUSTER, BARBARA M.                  KUSTOM VINYL GRAPHICS
KUSKUNOVIC                             633 ROSLYN S.W.                     592 EAST CHURCH ST
8695 HIGHWAY 104N                      CANTON, OH 44710                    LEXINGTON, TN 38351
CEADAR GROVE, TN 38321




KUSTOM VINYL GRAPHICS                  KUTA, MARY ANN                      KUTZLER, MARGARET A.
P.O. BOX 504                           1393 CHAPARRAL DR.                  ADDRESS ON FILE
LEXINGTON, TN 38351-0504               MESQUITE, NV 89027




KUYKENDALL, DAVID                      KUYKENDALL, MARGARET LORIN          KUYKENDALL, SAMANTHA
134 BECKY ROAD                         42003 DEERHORN RD                   2502 N ANDERSON RD
BLAIRSVILLE, GA 30512                  SPRINGFIELD, OR 97478               BIG SPRING, TX 79720




KUYORO, AMANDA                         KUZMA, CAITLIN                      KUZMICKI, JOSEPH E.
26034 SOUTH RUBY ST                    1111 N LAKESHORE BLVD               15431 SULKY DRIVE
MONEE, IL 60449                        LAKE WALES, FL 33853                HOMER GLEN, IL 60491




KUZMIK, GRACE                          KUZNIESKI, JAMES R.                 KUZNIESKI, LYUDMILA
8466 MILMONT ST NW                     14211 KILPATRICK AVE                8544 MEADOWS EDGE TRAIL
MASSILLON, OH 44646                    CRESTWOOD, IL 60418                 TINLEY PARK, IL 60487




KWAK, HAILEY                           KWAK, HAILEY                        KWASIGROCH, PATRICIA
717 BAXTER CT                          908 ABINGDON CT                     10001 SANDBURG CT
LAKE VILLA, IL 60046                   GURNEE, IL 60031                    PALOS PARK, IL 60464




KWIATKOWSKI, THOMAS                    KWIDD, NANCY J.                     KWIECIEN, MAJA
178 N 3RD ST                           1796 116TH STREET                   602 EASTVIEW CT UNIT Z2
RADOM, IL 62876                        PLEASANT PRAIRIE, WI 53158          SCHAUMBURG, IL 60194




KWIKBOOST                              KWITKIN MD, BRIAN                   KWON, JUN-BEOM
4819 WOODALL ST                        9590 EGRETS LANDING DRIVE           18842 175TH PLACE SE
DALLAS, TX 75247                       JACKSONVILLE, FL 32257-5474         RENTON, WA 98058
                       Case 20-10766-BLS
KY ALL-STARS/MAD ACADEMY                    Doc
                                     KY CHILD     6 Filed
                                              SUPPORT       04/07/20
                                                      ENFORCEMENT      Page 1004
                                                                            KY INSTof 1969
                                                                                    FOR EYE HEALTH AND SURGERY,
128 CIVIC CENTER DRIVE               P O BOX 14059                           PSC
CORBIN, KY 40701                     LEXINGTON, KY 40512-4059                601 PERIMETER DRIVE
                                                                             SUITE 200
                                                                             LEXINGTON, KY 40517-0000



KY LABORERS DCH & WF                  KY PAINTSVILLE MAYO LLC                KY STATE TREASURER
1996 BY PASS SOUTH                    ATTN: ACCOUNTS PAYABLE                 STATE OFFICE BLDG ANNX,
CLAIMS PROCESSOR                      550 SOUTH MAIN STREET                  STE 300, 125 HOLMES ST
LAWRENCEBURG, KY 40342                SUITE 300                              FRANKFORT, KY 40601
                                      GREENVILLE, SC 29601



KYLE D MCDANIEL                       KYLE D. MICHAEL                        KYLE REIMAN
3088 CROSS CREEK CR SW                WELTMAN WEINBERG REIS CO LPA           2119 LAKEVIEW DR
MASSILLON, OH 44647                   525 VINE STREET, SUITE 800             HIGHLAND, IL 62249
                                      CINCINNATI, OH 45202




KYLE STRANGE                          KYLE, LOIS V                           KYLE, MARY F.
923 WASHINGTON BLVD                   P.O. BOX 51                            1280 HOGBACK DR
BUSHNELL, IL 61422                    MACKEYVILLE, PA 17750                  BLUE RIDGE, GA 30513




KYLIE KUJAWA                          KYNASTON, MOLLY E.                     KYNDALL FOWLER
ADDRESS ON FILE                       221 REDDINGTON LN 301                  538 ROSCOE DAVIS RD
                                      TOOELE, UT 84074                       MONROE, GA 30655




KYRO, ARLENE                          KYSER, MADISON J.                      KYUKA WATER, INC.
1526 BRYANT AVE                       3902 E 390 ST                          P.O. BOX 11786
EDWARDSVILLE, IL 62025                ALPHA, IL 61413                        BIRMINGHAM, AL 35202-1786




L & B SERVICE COMPANY LLC             L & K FIRE PROTECTION INC              L & L TRANSPORTATION SERVICES
54 COOSA COUNTY ROAD 329              P.O. BOX 187                           2817 E WISCONSIN AVE
ALEXANDER CITY, AL 35010              MARION, IL 62959                       APPLETON, WI 54911




L & P CARPET INC.                     L & P CARPET MART                      L & W SUPPLY CORP
4155 E VIENNA                         4155 E VIENNA ST                       BUILDING SPECIALTIES
ANNA, IL 62906                        ANNA, IL 62906                         P.O. BOX 202753
                                                                             DALLAS, TX 75320-2753




L DOUGLAS RICHARDSON                  L STULL, RONALD                        L V PEARSON
806 WOODLAND PNE                      704 VALLEY ST                          507 PINTO AVE
FLOWOOD, MS 39232-8996                MINERVA, OH 44657                      BRINKLEY, AR 72021




L ZEHNDER, JUDY                       L&M ACCOUNTS                           L.A.W. PUBLICATIONS
494 BARBER AVE NE                     2200 52ND                              15000 EAST BELTWOOD PARKWAY
BREWSTER, OH 44613                    MOLINE, IL 61265                       ADDISON, TX 75001
L.D. SUPPLY              Case 20-10766-BLS     Doc 6
                                       L.L. BEAN            Filed 04/07/20   Page 1005    of 1969
                                                                                  L.M.S. CHEERLEADERS
11342 ARCADIA LAKE RD                   P.O BOX 1847                               405 VAUGHN ROAD
MARION, IL 62959                        ALBANY, NY 12201-1847                      ATTN: JENNIFER PANNELL
                                                                                   LOUISA, KY 41230




L.V. STABLER MEMORIAL HOSPITAL DBA      LA BARRINGTON INC                          LA BARRINGTON
REGIONAL MEDICAL CTR OF CENTRAL         220 NORTH RIVER STREET                     220 NORTH RIVER ST
ALABAMA                                 EAST DUNDEE, IL 60118                      EAST DUNDEE, IL 60118
ENTITY 0122
29 L V STABLER DRIVE
GREENVILLE, AL 36037

LA BARRINGTON                           LA CARE HEALTH PLAN                        LA CARE
220 NORTH RIVER STREET                  P.O. BOX 740918                            P.O. BOX 811580
EAST DUNDEE, IL 60018                   LOS ANGELES, CA 90074                      LOS ANGELES, CA 90081




LA FEBRE, DINA M.                       LA FIESTA                                  LA GRANGE, BRENDA
507 PARADISE ROAD                       1000 N CARBON ST                           19 SYCAMORE ST
SALINAS, CA 93907                       MARION, IL 62959                           WATSONVILLE, CA 95076




LA PLAZA LITTLE LEAGUE                  LA SALLE MEDICAL ASSOCIATES                LA SALLE SOLUTIONS
501 DON GALLEGOS                        1680 S. GARFIELD AVE. STE 205              DAVID MURRAY
LAS VEGAS, NM 87701                     ALHAMBRA, CA 91801                         9550 WEST HIGGINS ROAD, STE 600
                                                                                   ROSEMONT, IL 60018




LAB CORP OF AMERICA HOLDINGS            LAB CORP OF AMERICA HOLDINGS               LAB CORPORATION OF AMERICA
P.O. BOX 12140                          P.O. BOX 12140                             PO BOX 12140
BURLINGTON, NC 27216                    BURLINGTON, NC 27216-2140                  BURLINGTON, NC 27216




LAB LEASING ASSOCIATES OF               LAB SAFETY CORP./VALITEQ                   LAB SAFETY CORPORATION
BARRINGTON INC                          1725 INDUSTRIAL AVE                        VALITEQ
220 N RIVER STREET                      CUMBERLAND, WI 54829                       P.O. BOX 245
EAST DUNEE, IL 60118-1379                                                          CUMBERLAND, WI 54829




LAB, DONALD                             LABADIE, JEWLIE                            LABADORF, STEPHEN
4847 WOODSTONE AVE NW                   900 W ASH                                  2800 SCENIC DR.
MASSILLON, OH 44647-9025                DEMING, NM 88030                           SUITE 429
                                                                                   BLUE RIDGE, GA 30513




LABANCA, ANNAMARIE L.                   LABARBA, SABRINA M.                        LABARDA, NORIMEL ANDREA A.
1054 HAWTHORN LANE                      5285 DOLORES S.W.                          ADDRESS ON FILE
BEECHER, IL 60401                       CANTON, OH 44706




LABARGE, ROBERT J.                      LABAUME, JANIE L.                          LABBE, PHYLLIS
1313 S LAKEVIEW ST                      ADDRESS ON FILE                            703 CRAIGMONT
STURGIS, MI 49091                                                                  BIG SPRING, TX 79720
LABCONCO CORPORATION Case 20-10766-BLS
                                   LABCORPDoc   6 Filed
                                            OF AMERICA    04/07/20
                                                       HOLDING,INC       Page 1006 of 1969
                                                                              LABCORP
P O BOX 801133                     POB 12140                                  P. O. BOX 8108
KANSAS CITY, MO 64180              BURLINGTON                                 BURLINGTON, NC 27215
                                   BURLINGTON, NC 27216-2140




LABEL TAPE SYSTEMS                   LABELLE, JAMES C.                        LABELLE, JEWEL P.
5563 MARQUESAS CIRCLE                3013 ELIZABETH AVE                       3177 WOODLAND DR
SARASOTA, FL 34233                   ZION, IL 60099                           ZION, IL 60099




LABOR COMMISSION                     LABOR LAW CENTER INC                     LABOR LAW CENTER INC
SAFETY DIVISION                      12534 VALLEY VIEW ST 134                 3501 WEST GARRY AVE
P.O. BOX 146620                      GARDEN GROVE, IL 92845                   SANTA ANA, CA 92704
SALT LAKE CITY, UT 84114-6620




LABOR LAW CENTER                     LABOR SOLOUTIONS                         LABORATORY ENVIRONMENT SUPPORT
3501 WEST GERRY AVENUE               729 PINECREST DRIVE                      SERV
SANTA ANA, CA 92704                  PROSPECT HEIGHTS, IL 60070               7755 EAST EVANS
                                                                              SCOTTSDALE, AZ 85260




LABORATORY ENVIRONMENT SUPPORT       LABORATORY ENVIRONMENT                   LABORATORY MEDICINE
SYSTEMS                              SUPPORT SYSTEMS, INC                     CONSULTANTS LTD
7755 EAST EVANS                      7755 EAST EVANS RD                       FILE 749203
SCOTTSDALE, AZ 85260                 SCOTTSDALE, AZ 85260                     LOS ANGELES, CA 90074-9203




LABORERS WELFARE FUND                LABORIE MEDICAL TECHNOLOGIES CORP        LABORIE MEDICAL TECHNOLOGIES CORP
1465 CERMAK ROAD                     400 AVE D UNIT 10                        400 AVENUE D
WESTCHESTER, IL 60154                WILLISTON, VT 05495                      SUITE 10
                                                                              WILLISTON, VT 05495




LABORIE MEDICAL TECHNOLOGIES         LABOTTE, RICKY L.                        LABOUNTY, ALEX
P.O. BOX 734615                      522 NORTH DIVISION ST                    ADDRESS ON FILE
CHICAGO, IL 60673-4615               CARTERVILLE, IL 62918




LABOUNTY, LASHELL                    LABOY, ANGEL                             LABRIER, LORI R.
3407 HARTFORD ST                     300 DESOTO ST                            ADDRESS ON FILE
ST LOUIS, MO 63118                   WEST HELENA, AR 72390




LABRIOLA, ROSANNA                    LABSAN, EVELYN A.                        LABSCO, INC
2003 WALNUT STREET                   1814 GOLDEN MAPPLE                       1951 BISHOP LANE
BLUE ISLAND, IL 60406                SAN ANTONIO, TX 78245                    STE 300
                                                                              LOUISVILLE, KY 40218




LAB-TRONICS                          LABUS, MARY A.                           LACAYO, CYNTHIA
511 34TH STREET                      ADDRESS ON FILE                          1665 N 2500 W
CATLETTSBURG, KY 41129                                                        ST GEORGE, UT 84770
LACEANN, MARTIN           Case 20-10766-BLS    DocDESTINY
                                        LACEFIELD, 6 FiledD. 04/07/20    Page 1007  of 1969
                                                                              LACEFIELD, TIMOTHY E.
914 S D ST                               ADDRESS ON FILE                       ADDRESS ON FILE
MONMOUTH, IL 61462




LACEFIELD, TIMOTHY EUGENE                LACEY, APRIL D.                       LACEY, ERIN
ADDRESS ON FILE                          ADDRESS ON FILE                       3021 W 112TH ST
                                                                               CHICAGO, IL 60655




LACEY, ORA LEE                           LACEY, SONYA N.                       LACHANCE, DALE
446 N TENTH ST                           3609 TINGLE                           10957 MOGADORE AVE NW
WEST HELENA, AR 72390                    BIG SPRING, TX 79720                  UNIONTOWN, OH 44685




LACHANCE, HEATHER J.                     LACHANCE, NORM                        LACHANCE, NORMAN
3173 WILLY GULLY LN                      ADDRESS ON FILE                       ADDRESS ON FILE
CHESTER, IL 62233




LACHANCE, TRACY A.                       LACHANCE, TRACY                       LACIE FRICKS
ADDRESS ON FILE                          ADDRESS ON FILE                       463 THOMPSON AVE
                                                                               RAINSVILLE, AL 35986




LACK, EDNA D.                            LACKEY, APRIL D.                      LACKEY, CHRISTIAN
685 VINE ST                              401 17TH ST SW                        401 17TH ST SW
JUNCTION CITY, OR 97448                  FORT PAYNE, AL 35967                  FORT PAYNE, AL 35967




LACKEY, CLAUDE                           LACKEY, GRACE                         LACKEY, JANET M.
2446 LINCOLN WAY NW                      1319 WRIGHT ST                        ADDRESS ON FILE
MASSILLON, OH 44647                      BIG SPRING, TX 79720




LACON, KISESHA E.                        LACTATION EDUCATION RESOURCES         LACY CHARLES A
ADDRESS ON FILE                          6329 GENOA ROAD                       2084 TESKE RD
                                         TRACYS LANDING, MD 20779              MARION, IL 62959




LACY CRYSTAL                             LACY MAY                              LACY, BROCK
P.O. BOX 144                             390 FAIR ACRES DR                     2379 NORTH 450 WEST
ELLIJAY, GA 30540                        GALESBURG, IL 61401                   OGDEN, UT 84414




LACY, LAUREN                             LACY, MALORIE E.                      LACY, MICHAEL
12918 HIGHWAY 191                        ADDRESS ON FILE                       P.O. BOX 2047
HAZEL GREEN, KY 41332                                                          OVERTON, NV 89040-2047
LACY, TINIYA             Case 20-10766-BLS   Doc 6 M.D.
                                       LADD HOFFMAN, Filed 04/07/20   Page 1008   of 1969
                                                                           LADD, JAIME L.
11797 FOREST PARK LN                    ADDRESS ON FILE                    ADDRESS ON FILE
VICTORVILLE, CA 92392




LADD, KATHLEEN                          LADD, KIMBERLY S.                  LADD, VIRGINIA ANN
ADDRESS ON FILE                         315 FRIENDSHIP ROAD                639 THORNGATE RD
                                        BUCHANAN, TN 38222                 GRANITE CITY, IL 62040




LADER, ROBERTA                          LADING, AMANDA N.                  LADISLAV, POSPISIL
6884 BURGESS DR                         ADDRESS ON FILE                    42 HAWLEY ST APT 308
STANSBURY PARK, UT 84074                                                   GRAYSLAKE, IL 60030




LADONNA ARMS                            LADONNA BYRD                       LADWIG, DANIELLE L.
P.O. BOX 564                            1753 OLD STAGE RD                  ADDRESS ON FILE
PAINTSVILLE, KY 41240                   GREENVILLE, AL 36037




LADY DAWGS SOFTBALL                     LAERDAL MEDICAL CORP               LAERDAL MEDICAL CORP
100 BULLDOG LANE                        167 MYERS CORNERS RD               LOCKBOX 4987
LOUISA, KY 41230                        WAPPINGERS FALLS, NY 12590         P.O. BOX 8500
                                                                           PHILADELPHIA, PA 19178




LAERDAL MEDICAL CORP                    LAERDAL MEDICAL CORP               LAERDAL MEDICAL CORP
LOCKBOX 784987                          LOCKBOX 4987                       LOCKBOX 784987
PHILADELPHIA, PA 19178                  P.O. BOX 8500                      PHILADELPHIA, PA 19178-4987
                                        PHILADELPHIA, PA 19178




LAETICIA ILUNGA                         LAFARY, STACEY                     LAFFERTY, DWAYNE A.
2905 TROTTERS POINTE DR                 504 W GALE ST                      21566 NOWAKE AVE
SNELLVILLE, GA 30039-6280               WILLIAMSFIELD, IL 61489            WILMINGTON, IL 60481




LAFFOON, VALERIE R.                     LAFLER, ADA M.                     LAFLER, DANNY
ADDRESS ON FILE                         602 W 17TH                         602 W 17TH
                                        BIG SPRING, TX 79720               BIG SPRING, TX 79720




LAFLEUR BRIANA                          LAFOLLETTE, KATIE                  LAFON, DR. GEORGE
1311 ANDERTON RD                        868 E. GROVE STREET                ADDRESS ON FILE
BELL BUCKLE, TN 37020                   GALESBURG, IL 61401




LAFON, GEORGE, DR.                      LAFON, GEORGE, DR.                 LAFORE, MARIAH A.
10520 LA BAJADA RD SW                   ADDRESS ON FILE                    5845 SOUTH FORK RD
DEMING, NM 88030                                                           PRAIRIE DU ROCHER, IL 62277
LAFRESNAYE, LAVON       Case 20-10766-BLS   Doc
                                      LAGARDE,    6 Filed 04/07/20
                                               ARIANA                Page 1009
                                                                          LAGER,of 1969J
                                                                                ARTHUR
895 BOBCAT RUN                        1 THORNWOOD MALL 507                MONUMENT COMPANY
MESQUITE, NV 89034-1085               UNIVERSITY PARK, IL 60484           220 N 4TH ST
                                                                          BREESE, IL 62230




LAGLE, BRYANT                        LAGONIA, MARY                        LAGOON CORPORATION
1050 ENCLAVE BLVD APT. 201           834 ETOWAH DRIVE                     P.O. BOX 696
EDWARDSVILLE, IL 62025               ELLIJAY, GA 30540                    FARMINGTON, UT 84025-0696




LAGOSNUNEZ, RAUL                     LAGRONE, JAMES JASON                 LAGUNAS, JANET J.
3285 ROGERS AVE                      5312 MAIN ST APT 11                  2207 LYDIA AVE
PARK CITY, IL 60085                  SPRINGFIELD, OR 97478                ZION, IL 60099




LAGUNAS, RAFAEL                      LAHARCA INC                          LAHERA, ANA
12028 VANBEBEREN                     P O BOX 2689                         1715 LONGVIEW ROAD
ALSIP, IL 60803                      DEMING, NM 88031                     WAUKEGAN, IL 60087




LAHM, KEVIN J.                       LAIDLAW, LYDEEA S.                   LAIR, JENNIFER
817 SENECA ST NE                     ADDRESS ON FILE                      402 W HUNT AVE
MASSILLON, OH 44646                                                       ALEXIS, IL 61412




LAIRD, ADRIENNE D.                   LAIRD, KELLY                         LAIRD, LEIGH A.
ADDRESS ON FILE                      732 N ACADEMY ST                     ADDRESS ON FILE
                                     GALESBURG, IL 61401




LAIRD, LISA A.                       LAIRD, LISA A.                       LAIRD, PHILLIP
1303 N LOGAN ST                      ADDRESS ON FILE                      1022 EUSTIS DR
MARION, IL 62959-2906                                                     AUGUSTA, GA 30904-3123




LAIRD, SANDRA                        LAIST MARK F                         LAKE CO HEAD & NECK SPECIALISTS
292 BAYFERRY RD                      749 A NEWCASTLE                      222 S. GREENLEAF ST.
EARLE, AR 72331                      SCHERERVILLE, IN 46375               SUITE 106
                                                                          GURNEE, IL 60031




LAKE COUNTY COLLECTOR                LAKE COUNTY COLLECTOR                LAKE COUNTY COLLECTOR
18 N COUNTY ST                       18 N. COUNTY ST.                     P.O. BOX 1030
RM 102                               SUITE 102                            BEDFORD PARK, IL 60499-1030
WAUKEGAN, IL 60085                   WAUKEGAN, IL 60085




LAKE COUNTY MEDICAL SOCIETY          LAKE COUNTY PHYSICIANS ASSOC         LAKE COUNTY PHYSICIANS ASSOCIATION
20 NORTH MICHIGAN AVE SUITE 700      4189 GROVE AVE                       ATT: REFUNDS
CHICAGO, IL 60602                    GURNEE, IL 60031                     630 EAST JEFFERSON STREET
                                                                          ROCKFORD, IL 61107
                        Case 20-10766-BLS
LAKE COUNTY PHYSICIANS-BCBS-IL                Doc 6SURGEONS.
                                      LAKE COUNTY      Filed 04/07/20
                                                              P.C.       Page 1010  of 1969
                                                                              LAKE COUNTY TREASURER
630 E JEFFERSON ST                    1 S. GREENLEAF, SUITE A
ROCKFORD, IL 61107-4026               GURNEE, IL 60031




LAKE COUNTY                           LAKE COUNTYS LAKESHORE CHAMBER OF       LAKE EGYPT WATER DISTRICT
IPMG CLAIMS                           COMMERCE                                11484 LAKE EGYPT ROAD
225 SMITH ROAD                        1300 SHILOH BLVD.                       MARION, IL 62959
ST CHARLES, IL 60174                  ZION, IL 60099




LAKE LISA A                           LAKE POINT COMMUNITY ASSOCIATION        LAKE SHORE PATHOLOGISTS SC
ADDRESS ON FILE                       1337 E CANYON ROAD                      ATTN:DR DALIA
                                      LAKE POINT, UT 84074                    920 MOUNT VERNON AVENUE
                                                                              LAKE FOREST, IL 60045




LAKE VIEW VENTILATION, LLC            LAKE, AMY                               LAKE, JANET I.
2503 TAYLOR AVE                       409 SOUTH BUSH AVE P.O. BOX 318         ADDRESS ON FILE
OGDEN, UT 84401                       HURST, IL 62949




LAKE, JEFF                            LAKE, LISA A.                           LAKE, MATTHEW
156 OVERLOOK COURT                    ADDRESS ON FILE                         5588 OAKCLIFF ST SW
MORGANTON, GA 30560                                                           CANTON, OH 44706




LAKE, YOLANDA                         LAKELAND LARSEN ELE CORP                LAKES, JOYCE
4233 176 TH PLACE                     731 MCALISTER ST                        133 NORTHBY CT
COUNTRY CLUB HILLS, IL 60478          WAUKEGAN, IL 60085                      GLEN CARBON, IL 62034




LAKESIDE ROOFING CO, INC              LAKEWOOD BIOCHEMICAL CO                 LAKEY, NICOLE C.
2205 VANDALIA                         P.O. BOX 140933                         605 CENTENNIAL STREET
COLLINSVILLE, IL 62234                DALLAS, TX 75214                        SANTA CRUZ, CA 95060




LAKIN, JOHN D.                        LALAK, ANGELA C.                        LALONDE, BETHANY
47 CHESHIRE DR                        ADDRESS ON FILE                         1460 G STREET
MARYVILLE, IL 62062                                                           SPRNGFIELD, OR 97477




LALWANI, ASHOK S.                     LAM, ALEX                               LAM, LORI L
103 CHRISTINA AVE                     ADDRESS ON FILE                         256 WHITE DEER RUN
WILLIAMSTON, NC 27892                                                         MAKANDA, IL 62958




LAM, MICHAEL MD                       LAMA, JANGMU                            LAMACCHIA, DENNIS
1414 PARKSHORE DRIVE                  6721 CAMINO ROJO                        1529 CLARK AVE
CHARLESTON, SC 29407                  SANTA FE, NM 87507                      GRANITE CITY, IL 62040
LAMANCE, STEPHANIE        Case 20-10766-BLS   Doc 6 Filed
                                        LAMAR ADVERTISING    04/07/20
                                                          SOUTHWEST INC Page 1011
                                                                             LAMAR of 1969
                                                                                   COMPANIES
17 ABLES LANE                             5321 CORPORATE BLVD                P.O. BOX 96030
LEXINGTON, TN 38351                       BATON ROUGE, LA 70896              BATON ROUGE, LA 72130-9005




LAMAR SANDY                               LAMAR, TALLEY JEFFERY              LAMARCHE, WENDY
2330 S CENTER ST                          95 COUNTY ROAD 47                  480 TRANQUIL COVE RD
MARYVILLE, IL 62062                       FYFFE, AL 35971-4501               MURPHY, NC 28906




LAMARRE, KATHLEEN M.                      LAMB JACK                          LAMB SHANNON E
1043 KNOLLWOOD ROAD                       P.O. BOX 247                       2075 MISSION RD
MINERAL BLUFF, GA 30559                   MOUNTAIN VIEW, WY 82939-0247       MURPHY, NC 28906




LAMB, AMY REGINA                          LAMB, ANDREA                       LAMB, JUSTIN
1232 10TH ST N.                           720 HICO RD                        322 CE BRAWNER RD
ST PETERSBURG, FL 33705                   PURYEAR, TN 38251                  WYNNE, AR 72396




LAMB, KELSEY                              LAMB, KIMBERLY                     LAMB, RYAN
ADDRESS ON FILE                           ADDRESS ON FILE                    4490 HENRY MIDWAY RD
                                                                             HENRY, TN 38231-3450




LAMBASIO DRAIN SERVICE                    LAMBERT AMY                        LAMBERT KATHY D
401 E BERRIEN ST                          1403 CARDINAL DRIVE                631 N METTER AVE
GALESBURG, IL 61401                       MARION, IL 62959                   COLUMBIA, IL 62236




LAMBERT, CAROL A.                         LAMBERT, CHRISTINA E.              LAMBERT, CYNDI M.
551 GEIGER AVE SW                         ADDRESS ON FILE                    2901 LAWRENCE ST
MASSILLON, OH 44647                                                          BIG SPRING, TX 79720




LAMBERT, DENISE Y.                        LAMBERT, GEORGIA A.                LAMBERT, JOHN R.
3518 W. OAKHILL DR.                       714 E.CALUMET ST 5                 9818 COUNTY ROAD 51
CRETE, IL 60417                           CENTRALIA, IL 62801                COLLINSVILLE, AL 35961




LAMBERT, KAREN H.                         LAMBERT, LACEY D.                  LAMBERT, PRESTINA
9818 COUNTY ROAD 51                       3354 MITCHNER RD                   16670 DROIT CITY RD
COLLINSVILLE, AL 35961                    DEARING, GA 30808-3557             THOMPSONVILLE, IL 62890




LAMBERT, SANDRA                           LAMBERT, SARAH                     LAMBERT, WILLIE
355 SCROUGETOWN RD                        508 SUMMIT ST                      1600 LEE RD 407
ELLIJAY, GA 30536                         EVANSTON, WY 82930                 MARIANNA, AR 72360
LAMBERTS CAFE           Case 20-10766-BLS   DocMARK
                                      LAMBIOTTE, 6 Filed 04/07/20   Page 1012  of CHARLTON
                                                                         LAMBIRD, 1969 A.
2305 EAST MALONE                       108 POPLAR COURT                  5073 PATTERSON RD
SIKESTON, MO 63801                     EDWARDSVILLE, IL 62025            SAINT LOUIS, MO 63129




LAMBIRD, TINA                          LAMBORN, TERRI A.                 LAMBRIGHT, LAUREN A.
102 AVALON                             145 S 200 E P.O. BOX 74           951 JOHNSMANVILLE PLACE
TROY, IL 62294                         LAKETOWN, UT 84038                WAUKEGAN, IL 60085




LAMBUTH, KERRI L.                      LAMESA PRESS REPORTER             LAMEY, JAMES W.
535 HILLCOURT CIRCLE                   523 N 1ST                         471 E VALLEY RD
HUNTINGDON, TN 38344                   LAMESA, TX 79331                  LOGANTON, PA 17747




LAMIELLE, JEAN E.                      LAMIFLOW TECHNOLOGIES             LAMINEX BADGING SOLUTIONS
17901 W ELSBURY ST                     6844 CHERRY LAUREL DRIVE          P O BOX 49457
GURNEE, IL 60031-4564                  LIBERTY TOWNSHIP, OH 45044        GREENWOOD, SC 29649




LAMINEX, INC                           LAMINEX, INC.                     LAMIS PHOENIX
ID SHOP, INC                           P.O. BOX 49457                    201 N. MAPLE STREET
4209 PLEASANT RD                       GREENWOOD, SC 29649               CENTRALIA, IL 62801
FORT MILL, SC 29708




LAMM, NATHANIEL                        LAMMERS, EMILY R.                 LAMMERT, LORI
10394 CHAPLIN AVE.                     195 W MAPLE ST                    1204 UNIVERSITY DR
BEACH PARK, IL 60099                   COAL CITY, IL 60416               EDWARDSVILLE, IL 62025




LAMMICO                                LAMMY, BRANDI M.                  LAMONICAS
MEDICAL INTERACTIVE COMMUNITY LLC      ADDRESS ON FILE                   6211 SOUTH 380 WEST
ONE GALLERIA BLVD - STE 700                                              MURRAY, UT 84107
METAIRIE, LA 70001-7510




LAMONT HANLEY & ASSOCIATES             LAMONT MILLIE P                   LAMONT, HANLEY & ASSOCIATES
P.O. BOX 179                           159 64TH PL                       1138 ELM STREET
MANCHESTER, NH 03105                   SPRINGFIELD, OR 97478             MANCHESTER, NH 03105




LAMORELLA, VINCENT M.                  LAMORN, TERRI                     LAMOTTE COMPANY
2901 GLENDA DRIVE                      145 S 200 E                       P.O. BOX 329
NEW CASTLE, PA 16101                   LAKETOWN, UT 84038                CHESTERTOWN, MO 21620




LAMP, DEBORAH J.                       LAMPE, ASHLEY                     LAMPKIN, CEDRIC R.
109 26TH ST NW                         101 LEO STREET                    ADDRESS ON FILE
MASSILLON, OH 44647                    GERMANTOWN, IL 62245
LAMPLEY DANA           Case 20-10766-BLS   Doc
                                     LAMPLEY,    6 M.
                                              ANGELA Filed 04/07/20     Page 1013  of CHARLES
                                                                             LAMPLEY, 1969
106 DELMAR AVE                         313 S. POPE                            2100 E KATELLA AVE 414
BELLEVILLE, IL 62220                   BENTON, IL 62812                       ANAHEIM, CA 92806




LAMPLEY, DEANNA                        LAMPLEY, ERNESTINE                     LAMPLEY, JULIE A.
ADDRESS ON FILE                        59 WILLOW ST                           16631 N. MCCAULEY LANE
                                       MARION, AR 72364                       MOUNT VERNON, IL 62864




LAMPLEY, STEVEN C.                     LAMSEN, BENJAMIN L.                    LAMSON, STEPHANIE N.
10519 CHAYLA ROAD                      34 PARAISO CT                          ADDRESS ON FILE
MARION, IL 62959                       WATSONVILLE, CA 95076




LAMSZUS, ROBERT J.                     LAMUSGA, BRENNA L.                     LAMUSGA, KAREN T.
ADDRESS ON FILE                        605 CARLYLE CT.                        ADDRESS ON FILE
                                       LAKE VILLA, IL 60046




LAMZ, NOEMY C.                         LANA MEDINA                            LANA STOTTLEMYER
ADDRESS ON FILE                        LANAS JANITORIAL                       1065 SHADOW LANE
                                       5031 N STRATFORD DRIVE                 WILLIAMSTON, NC 27892
                                       STANSBURY PARK, UT 84074




LANA WALKER                            LANA WALKER                            LANAHAN, JOSH
ADDRESS ON FILE                        ADDRESS ON FILE                        1121 QUATTO HILL
                                                                              COLLINSVILLE, IL 62234




LANCASTER BINGO COMPANY                LANCASTER GENERAL HEALTH               LANCASTER, ABBY J.
P.O. BOX 668                           P.O. BOX 3555                          3520 STEFFISBURG DRIVE
200 QUARRY ROAD                        ATTN: PATIENT FINANCIAL SVCS           NASHVILLE, TN 37211
LANCASTER, OH 43130                    LANCASTER, PA 17604-3555




LANCASTER, LINSEY                      LANCASTER, MARY J.                     LANCE ZORGER
249 ELM STREET                         ADDRESS ON FILE                        1156 PANAMA RD SE
EVANSTON, WY 82930                                                            CARROLLTON, OH 44615




LANCE, LAVERN                          LANCER LACROSSE ASSOCIATION            LANCEY, DARLA
262 CHARLES STREET                     ATTN GINA WADSWORTH                    660 TROY OFALLON RD
RED BUD, IL 62278                      1328 MANZANA STREET                    TROY, IL 62294
                                       EUGENE, OR 97404




LANCEY, JOSEPH                         LAND AND WHEELS INSTANT SUPPLY         LAND OF LINCOLN HEALTH
660 TROY OFALLON RD                    7811 N 86TH ST                         P.O. BOX 8701
TROY, IL 62294-2600                    MILWAUKEE, WI 53224                    PORTLAND, ME 04104
LAND, ADAM             Case 20-10766-BLS    Doc R.
                                     LAND, CATLIN 6 Filed 04/07/20   Page 1014   of 1969
                                                                          LAND, JESSE
203 LAUREL CREEK RD SE               ADDRESS ON FILE                      596 TINCHER HILL RD
CALHOUN, GA 30701                                                         BEATTYVILLE, KY 41311




LAND, RICKEY G.                      LAND, WILLIAM                        LANDAHL, VIRGINIA E.
ADDRESS ON FILE                      2911 JOE MOBLEY RD                   2256 W 112TH ST
                                     WILLIAMSTON, NC 27892                CHICAGO, IL 60643




LANDAU MARCIA                        LANDAUER INC                         LANDAUER INC
715 WALDROP RD                       P.O. BOX 809051                      P.O. BOX 809051
HIAWASSEE, GA 30546                  CHICAGO, IL 60680                    CHICAGO, IL 60680-9051




LANDAUER MEDICAL PHYSICS             LANDAUER                             LANDAUER
P.O. BOX 809153                      2 SCIENCE ROAD                       P.O. BOX 809051
CHICAGO, IL 60680-9153               GLENWOOD, IL 60425                   CHICAGO, IL 60680-9051




LANDAUER, INC.                       LANDEN, MICHELLE                     LANDERO, NICOLASA
PO BOX 809051                        ADDRESS ON FILE                      20 WASHINGTON TERRACE
CHICAGO, IL 60680                                                         WAUKEGAN, IL 60085




LANDERS AUTOMOTIVE CORP              LANDERS, BETH A.                     LANDGREBE, MARIA L.
2 MILLS CART ROAD                    ADDRESS ON FILE                      102 LT COL MERRITT
SALEM, IL 62881                                                           FORT DAVIS, TX 79734




LANDIS, AMY L.                       LANDIS, BRANDI LYNN                  LANDIS, JEFFREY
ADDRESS ON FILE                      1245 G ST                            ADDRESS ON FILE
                                     SPRINGFIELD, OR 97477




LANDIS, KRISTOPHER M.                LANDIS, MARIANNE                     LANDKAMMER, VALERIE
ADDRESS ON FILE                      12321 S RIDGELAND AVE                9504 ELMBROOKE BLVD
                                     PALOS HEIGHTS, IL 60463              BRENTWOOD, TN 37027




LANDKAMMER, VALERIE                  LANDMARK CAFE                        LANDMARK RISK MANAGEMENT &
ADDRESS ON FILE                      62 S. SEMINARY ST                    INSURANCE
                                     GALESBURG, IL 61401                  107 S 1470 E 302
                                                                          ST. GEORGE, UT 84790




LANDMARK                             LANDON, BRENDA                       LANDON, LINDA
P.O. BOX 730                         1201 KRAMER ROAD                     28 PARADISE ROAD
EVANSTON, WY 82931-0730              AVON, IL 61415                       BETHEL, ME 04217
LANDRIGAN, JOANNE C.      Case 20-10766-BLS   Doc
                                        LANDRUM    6 Filed 04/07/20
                                                KATHIE                     Page 1015 of 1969
                                                                                LANDRUM, DARIAN
ADDRESS ON FILE                          245 VFW LANE                            ADDRESS ON FILE
                                         ANNA, IL 62906




LANDRUM, DARIAN                          LANDRUM, SCOTT                          LANDRY, MELISSA
ADDRESS ON FILE                          1912 FOREST GLEN LANE                   12 STEWART COURT CIR SE
                                         WEATHERFORD, TX 76087                   FORT PAYNE, AL 35967




LANDS END CORPORATE SALES                LANDS WHITNEY A                         LANDSMAN, RACHELLE P.
P.O. BOX 217                             903 COUNTY RD 505                       ADDRESS ON FILE
DODGEVILLE, WI 53533-0217                RAINSVILLE, AL 35986-4026




LANE COMMUNITY COLLEGE                   LANE COUNTY ENVIRN HEALTH DEPT          LANE COUNTY HOT SHOTS
4000 E 30TH AVE                          151 W 7TH AVE SUITE 430                 1062 SOUTH 54TH ST
EUGENE, OR 97401-0025                    EUGENE, OR 97401                        SPRINGFIELD, OR 97478




LANE COUNTY MED SOC FDN                  LANE COUNTY MEDICAL MGMT SERV           LANE COUNTY MEDICAL MGMT SERVICES
P.O. BOX 7192                            P.O. BOX 7192                           990 W 7TH AVE
SPRINGFIELD, OR 97475                    SPRINGFIELD, OR 97475                   EUGENE, OR 97402




LANE COUNTY MEDICAL SOCIETY              LANE COUNTY NURSE PRACTITIONER          LANE COUNTY SCHOOL DISTRICT NO. 4J
990 W 7 AVE                              ASSOCIATION INC                         2200 BAILEY HILL ROAD
EUGENE, OR 97401-0000                    P.O. BOX 41522                          EUGENE, OR 97402
                                         EUGENE, OR 97404




LANE COUNTY TAX COLLECTOR                LANE COUNTY TAX COLLECTOR               LANE COUNTY TAX COLLECTOR
125 E 8TH AVE                            125 E 8TH AVE                           125 EAST 8TH AVENUE
EUGENE, OR 97401                         EUGENE, OR 97402                        EUGENE, OR 97402




LANE COUNTY TAX COLLECTOR                LANE COUNTY TAX COLLECTOR               LANE CRUSE
128 E 8TH AVE                            P.O. BOX 3014                           200 PECAN ST.
EUGENE, OR 97401                         PORTLAND, OR 97208-3014                 ANNA, IL 62906-0000




LANE EVENTS CENTER                       LANE MEDIA PRODUCTIONS LLC              LANE REGIONAL MEDICAL CENTER
796 WEST 13TH                            700 NORTH LARRABEE ST, STE 1211         6300 MAIN STREET
EUGENE, OR 97402                         CHICAGO, IL 60654                       ZACHARY, LA 70791-4099




LANE ROGER L                             LANE, AMANDA                            LANE, AMY L.
RR 1 BOX 163                             ADDRESS ON FILE                         316 WESTGLEN DRIVE
ELIZABETHTOWN, IL 62931                                                          GLEN CARBON, IL 62034
LANE, AMY L.               Case 20-10766-BLS    Doc 6J.
                                         LANE, BOBBIE          Filed 04/07/20   Page 1016   of 1969
                                                                                     LANE, BRIAN
ADDRESS ON FILE                            ADDRESS ON FILE                           311 HIGH CHAPARRAL DR
                                                                                     AUGUSTA, GA 30907




LANE, CHARLEDA B.                          LANE, CHASITY                             LANE, CHRISTINE N.
16815 S WOOD ST                            ADDRESS ON FILE                           ADDRESS ON FILE
HAZEL CREST, IL 60429




LANE, CRYSTAL                              LANE, DAVID J.                            LANE, HANNAH
3531 KINGS RD                              ADDRESS ON FILE                           1156 MAIN STREET NORTH APT. A
STEGER, IL 60475                                                                     MCKENZIE, TN 38201




LANE, JAMIE C.                             LANE, JENNIFER M.                         LANE, KEVIN
6110 E BUCKEYE CHURCH RD                   ADDRESS ON FILE                           14042 KILPATRICK AVE
SMITHFIELD, IL 61477                                                                 CRESTWOOD, IL 60445




LANE, MICHAEL                              LANE, NIKKI                               LANE, PENNY
8955 HWY 377 NE                            6252 COUNTY ROAD 72                       901 S MECHANIC ST
DEMING, NM 88030                           FYFFE, AL 35971                           APT A
                                                                                     MARION, IL 62959




LANE, RODNEY                               LANE, SUSAN                               LANES LAWN CARE
1201 E 10TH ST                             P.O. BOX 281                              7061 CLAY SCHOOL RD
COLORADO CITY, TX 79512                    LITTLEFIELD, AZ 86432                     COLLINSVILLE, IL 62234




LANEY DORIS                                LANEY, AMANDA K.                          LANEY, CAROL W.
3113 COUNTY RD 60                          ADDRESS ON FILE                           1726 CHAVIES RD
PISGAH, AL 35765-6246                                                                FORT PAYNE, AL 35968-4722




LANEY, FAYE                                LANEY, FRED                               LANEY, KATRINA
3040 CRAB TREE LANE                        973 OLD RANGER RD.                        2298 COUNTY ROAD 664
HENAGAR, AL 35978                          MURPHY, NC 28906                          HENAGAR, AL 35978




LANEY, KELLY                               LANEY, SHELLY L.                          LANEY, SHELLY L.
ADDRESS ON FILE                            43 ROGERS STREET                          ADDRESS ON FILE
                                           RAINSVILLE, AL 35986




LANEY-FISHER, CYNTHIA L.                   LANG ZAYLIE A                             LANG, CHERYL L.
ADDRESS ON FILE                            230 EBERHART RD SE                        4916 JACKSON TRAIL ROAD
                                           FORT PAYNE, AL 35967-4030                 HOSCHTON, GA 30548
LANG, DONNA K.           Case 20-10766-BLS    Doc 6L.
                                       LANG, JAYMIE       Filed 04/07/20   Page 1017   of 1969
                                                                                LANG, LYNN
2 COBBLESTONE CT                         27 VAL VERDE                           ADDRESS ON FILE
GRANITE CITY, IL 62040                   BIG SPRING, TX 79720




LANG, PAT                                LANG, ROSS B.                          LANGA, STEVEN
18 NORTH 15TH STREET                     1630 W HIGHWAY 199                     274 N MAIN ST
BELLEVILLE, IL 62220                     P.O. BOX 56                            MORO, IL 62067
                                         DUGWAY, UT 84022




LANGAN, PAUL                             LANGDON, ALLISON J.                    LANGE, CHRISTOPER
207 WESTERNAIRE ST                       7885 MOORES RIDGE ROAD SE              707 N MILL ST APT 1A
MARION, IL 62959                         UHRICHSVILLE, OH 44683                 MCHENRY, IL 60050




LANGE, KATHERINE                         LANGE, RHONDA                          LANGE, SUZANNE N.
6040 N STATE HWY 159                     3 JASON DR                             14739 KILPATRICK AVE
EDWARDSVILLE, IL 62025                   GLEN CARBON, IL 62034                  MIDLOTHIAN, IL 60445




LANGE, TAMARA                            LANGE, VICTORIA                        LANGELIERS, CODI
6040 N STATE HWY 159                     2001 SALERNO DR.                       ADDRESS ON FILE
EDWARDSVILLE, IL 62025                   FORT IRWIN, CA 92310




LANGELLA, DALE P.                        LANGENSTEIN, LISA                      LANGFORD MICHAEL
3908 S BROAD ST                          92 LOCUST RIDGE                        110 S WINDMILL
SCOTTSBORO, AL 35769                     COLLINSVILLE, IL 62234                 P.O. BOX 65
                                                                                MARINE, IL 62061




LANGFORD, ANGELINA                       LANGFORD, HALEY L.                     LANGFORD, JULIA R.
1725 W SAGE ST                           ADDRESS ON FILE                        ADDRESS ON FILE
EVANSTON, WY 82930




LANGFORD, MELANIE                        LANGHANS, PETER                        LANGI, KIM
333 EAST HEBER LANE                      3324 BELCHERRY LOOP                    181 WALLACE WAY
GRANTSVILLE, UT 84032                    THE VILLAGES, FL 32163-2417            TOOELE, UT 84074




LANGLAIS SR., PEYTON                     LANGLEY, ALAN                          LANGLEY, BETTY N.
10735 W EDGEWOOD RD                      P.O. BOX 159                           ADDRESS ON FILE
BEACH PARK, IL 60087                     FT DEPOSIT, AL 36032




LANGLEY, CASEY A.                        LANGLEY, CLARA KATHLEEN                LANGLEY, JEREMY L.
ADDRESS ON FILE                          87642 CINNABAR LN                      ADDRESS ON FILE
                                         VENETA, OR 97487-0000
LANGLEY, JOHANNAH L.    Case 20-10766-BLS   Doc
                                      LANGLEY,    6 Filed 04/07/20
                                               RONDA                  Page 1018  of STACY
                                                                           LANGLEY, 1969 L.
818 BROWN ST                           ADDRESS ON FILE                      750 FLOATING MILL ROAD
FYFFE, AL 35971                                                             SILVER POINT, TN 38582




LANGLEY, STEPHANIE                     LANGLOIS, SAMANTHA D.                LANGREHR, KYLE
ADDRESS ON FILE                        ADDRESS ON FILE                      9598 ELMSHADE RD
                                                                            RED BUD, IL 62278




LANGREHR, NANCY                        LANGREHR, ROGER                      LANGSTON VERNON R
ADDRESS ON FILE                        7431 GRIGGS RD                       406 VALHALLA ROAD SE
                                       RED BUD, IL 62278                    FORT PAYNE, AL 35961-7069




LANGSTON, ANGELA D.                    LANGSTON, DOROTHY                    LANGSTON, JOYCE I.
303 E ARIZONA AVE                      1067 MARTIN ROAD                     8743 S DORCHESTER AVE
SANDOVAL, IL 62882                     CLINTON, KY 42031                    CHICAGO, IL 60619-7007




LANGSTON, SAMARA J.                    LANGUAGE LINE SERVICES INC           LANGUAGE LINE SERVICES, INC
2508 BIRDSALL ST                       P.O. BOX 202564                      ONE LOWER RAGSDALE DRIVE
BLUE ISLAND, IL 60406                  DALLAS, TX 75320-2564                BLDG 1
                                                                            MONTEREY, CA 93940




LANGUEIN, SARAH M.                     LANGUSCH, AILEEN D.                  LANHAM, BRIEANNE M.
688 S COLEMAN ST                       ADDRESS ON FILE                      ADDRESS ON FILE
TOOELE, UT 84074




LANHAM, CHRISTINA N.                   LANHAM, LAWRENCE O.                  LANIER TAYLOR ANN
35 KELLYS POINT                        610 CLEARWATER PL                    1124 CARLYLE RD
GOREVILLE, IL 62939                    LAWRENCEVILLE, GA 30044-6834         RAINSVILLE, AL 35986-3313




LANIER, DONALD                         LANIER, PAMELA K.                    LANKFORD, BETTY M.
305 ROANOKE AVE                        815 BAYBERRY NW                      P.O. BOX 680516
PLYMOUTH, NC 27962                     MASSILLON, OH 44646                  FORT PAYNE, AL 35968




LANNEY, LAURIE J.                      LANNING, WILLIAM                     LANNON, JOSEPHINE
ADDRESS ON FILE                        2 MICHAEL CR NW                      3 MAUDSLEY VIEW LANE
                                       MASSILLON, OH 44647                  AMESBURY, MA 01913




LANOUE DAVID                           LANOUE, DAVID P.                     LANOUE, DAVID P.
ADDRESS ON FILE                        114 GOLF COURSE RD                   ADDRESS ON FILE
                                       DEMING, NM 88030
LANPHERES ELECTRIC      Case 20-10766-BLS   Doc
                                      LANSDALE,   6 Filed 04/07/20
                                                JASON                Page 1019 of 1969
                                                                          LANSDALE, KELLY A.
414 DIEGO                              2161 LEE ROAD 925                   ADDRESS ON FILE
LAS VEGAS, NM 87701                    MORO, AR 72368




LANSDALE, MICHAEL                      LANSDON, CLIFFORD                   LANSDON, JARRED
199 LEE ROAD 222                       8483 DUNCAN ISLAND RD               P.O. BOX 413
MARIANNA, AR 72360                     MAPLETON, OR 97453                  GREENVILLE, AL 36037




LANSFORD, CARA L.                      LANSING, JACQUELYN                  LANTERMAN, SCHARMAYNE
1321 OSAGE ST                          33190 BLOOMBERG RD                  429 N 3RD STREET
WYNNE, AR 72396                        EUGENE, OR 97405                    DUPO, IL 62239




LANTHEUS MEDICAL IMAGING INC           LANTHEUS MEDICAL IMAGING            LANTHIER, ELAINE C.
P.O. BOX 101236                        PO BOX 101236                       P.O. BOX 1205
ATLANTA, GA 30392-1236                 ATLANTA, GA 30392                   MESQUITE, NV 89024




LANZAR, OMAR                           LAOYAN, LILIA T.                    LAPE, LAURALI
ADDRESS ON FILE                        655 PRINCE ST                       ADDRESS ON FILE
                                       NORTHUMBERLAND, PA 17857




LAPEARL CLARK                          LAPLANTE, ANGELA                    LAPORTE, JANICE J.
350 170TH PLACE                        ADDRESS ON FILE                     ADDRESS ON FILE
LANSING, IL 60438




LAPRAIRIE, LEVI                        LAPRIOLA, MARGARET A                LAPTOP BATTERY EXPRESS
2099 PLEASANT GAP CIRCLE               21 WOODWARD MEADOWS                 BOX 103
ELLIJAY, GA 30540                      LOCK HAVEN, PA 17745                GRAFTON, OH 44044




LAPUMA, CARMEN                         LARA, DAISY                         LARA, JUANITA
3645 W 115TH ST                        ADDRESS ON FILE                     903 E AVE J
ALSIP, IL 60803                                                            ALPINE, TX 79830




LARA, MARGARET D.                      LARAMORE, DAVID                     LARAMORE, LADONNA R.
855 FREEDOM BOULEVARD                  9460 LL ROAD                        ADDRESS ON FILE
WATSONVILLE, CA 95076                  RED BUD, IL 62278




LARAMORE, MICHAEL J.                   LARD, DONALD JR                     LARDI, PATRICIA A.
ADDRESS ON FILE                        2742 APOLLO DR                      1617 N KELLOGG ST
                                       BARSTOW, CA 92311                   GALESBURG, IL 61401
LARIOS, GABRIELA         Case 20-10766-BLS
                                       LARISSADoc 6 Filed 04/07/20
                                              WITTEN                 Page 1020   of 1969
                                                                          LARK, JEAN
3854 W 61ST ST                          255 CARTER LANE                   2940 FANNIE THOMPSON RD
CHICAGO, IL 60629                       PAINTSVILLE, KY 41240-1145        MONROE, GA 30656-3446




LARKIN, JENNIFER                        LARKIN, KELLY L.                  LARKIN, RACHEL C.
ADDRESS ON FILE                         ADDRESS ON FILE                   ADDRESS ON FILE




LARKIN, WILLIAM E.                      LARMAR LODGING CORPORATION        LAROCCO, AUTUMN C.
933 WEST MAIN ST                        18199 HIGHWAY 23                  207 VISTA RIDGE
GALESBURG, IL 61401                     LOUISA, KY 41230                  EVANSTON, WY 82930




LAROCCO, AUTUMN C.                      LAROCQUE, PAUL                    LAROCQUE, RETA J.
ADDRESS ON FILE                         6 PARKWOOD DR                     P.O. BOX 3659
                                        LOCK HAVEN, PA 17745              BIG SPRING, TX 79721




LAROSA, THOMAS                          LAROSE, JOHN H.                   LAROSE, PHILLIP
90 HALO AVE                             3623 COUDERSPORT PIKE             1637 SYCAMORE ST
SEWELL, NJ 08080                        LOCK HAVEN, PA 17745              GRANITE CITY, IL 62040




LAROSE, THERESA R.                      LARREW,TRUDY                      LARRY BRIDGES
723 SYCAMORE ST APT. A                  36 NORSPURE                       303 S ALEXANDER ST
HIGHLAND, IL 62249                      GLEN CARBON, IL 62034-0000        ALEXIS, IL 61412




LARRY CRAMER                            LARRY DECKER                      LARRY DELK & ASSOCIATES
1188 EIKER ROAD                         6334 LL RD                        P.O. BOX 2528
KNOXVILLE, IL 61448                     WATERLOO, IL 62298-0000           WEST HELENA, AR 72390




LARRY G JENKINS                         LARRY G WATERFIELD                LARRY HALLER
1822 WICLIFF AVE NE                     9619 E IL HWY 116                 9862 COVENTRY LANE
MASSILLON, OH 44646-4981                LONDON MILLS, IL 61544            AFFTON, MO 63123-4314




LARRY J LIGON                           LARRY LITTLE                      LARRY MANN
541 S WASHINGTON ST                     TRADITIONAL COUNTRY               304 GARAN JU MANOR
GETT, IL 62842                          11438 CEDAR GROVE RD              COLLINSVILLE, IL 62234
                                        MARION, IL 62959




LARRY ORTON SR                          LARRY TERRY                       LARRY VALENTINE
1250 200TH AVE                          ADDRESS ON FILE                   550 23RD ST NW
MONMOUTH, IL 61462                                                        MASSILLON, OH 44647
LARRY W CLARKE           Case 20-10766-BLS   Doc 6 Filed 04/07/20
                                       LARRY WHITTINGTON            Page 1021
                                                                         LARRYSof 1969OF CAKES
                                                                                HOUSE
8635 N. TRITON LN                      77 COURT ST                        905 S COURT ST
MT. VERNON, IL 62864                   LUVERNE, AL 36049                  MARION, IL 62959




LARRYS HOUSE OF CAKES                  LARRYS SAFE AND LOCK               LARSEN FLORIST INC
905 S. COURT ST.                       308 S 5TH ST                       1342 GLEN FLORA AVENUE
MARION, IL 62959                       MT VERNON, IL 62864                WAUKEGAN, IL 60085




LARSEN LARS                            LARSEN M.D., ROBB N.               LARSEN MICHAEL
1470 BALCOM ROAD                       ADDRESS ON FILE                    ADDRESS ON FILE
ANNA, IL 62906




LARSEN, CLARISSA                       LARSEN, DONALD                     LARSEN, ELISHA M.
260 SAN MARCOS WAY                     1393 CARLE RD                      ADDRESS ON FILE
MESQUITE, NV 89027                     AKRON, OH 44333-1049




LARSEN, MARY H.                        LARSEN, ORA                        LARSEN, RACHEL
1909 HOLLOWAY                          826 MESQUITE SPRINGS DR            ADDRESS ON FILE
MIDLAND, TX 79701                      UNIT 101
                                       MESQUITE, NV 89027-2318




LARSEN, STACIE                         LARSENS FINE CANDIES               LARSON KATELYN E
1425 MAIN STREET                       570 ANTELOPE WY                    530 W MARRAY BLVD
EVANSTON, WY 82930                     EUGENE, OR 97401                   MURRAY, UT 84123




LARSON MD, AMY                         LARSON, AMY M.D.                   LARSON, CAMILLA A.
ADDRESS ON FILE                        ADDRESS ON FILE                    ADDRESS ON FILE




LARSON, CASIE E.                       LARSON, DAVID A.                   LARSON, GORDON R., JR.
2618 CRESTLINE RD.                     91716 MARCOLA ROAD                 3837 PATRICIA ST
BIG SPRING, TX 79720                   SPRINGFIELD, OR 97478              EUGENE, OR 97404




LARSON, JENNIFER                       LARSON, JONATHAN E.                LARSON, KRISTOFER
2998 COUNTY RD 217                     ADDRESS ON FILE                    436 DESERET AVE
FORT BRIDGER, WY 82933                                                    TOOELE, UT 84074




LARSON, MARTY K.                       LARSON, NATHAN                     LARSON, WILLARD THOMAS
2720 CHESSINGTON DR                    ADDRESS ON FILE                    1753 OLD GARDEN VALLEY RD
NEW LENOX, IL 60451                                                       ROSEBURG, OR 97471-9549
LARUE, AUTUMN M.        Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      LARUE, JEFFREY                           Page 1022  of 1969
                                                                                    LAS CRUCES LOCKSMITH
ADDRESS ON FILE                          728 BROCKWOOD RD                            545 E LOHMAN AVE
                                         NEW LENOX, IL 60451                         LAS CRUCES, NM 88001




LAS CRUCES PHYSICIAN SERVICES            LAS CRUCES TRANSPORTATION                   LAS VEGAS DAILY OPTIC
4311 EAST LOHMAN AVENUE                  P.O. BOX 3172                               P O BOX 2670
LAS CRUCES, NM 88011                     LAS CRUCES, NM 88003-3172                   LAS VEGAS, NM 87701-2670




LAS VEGAS FIRST INDEPENDENT BUSINESS     LAS VEGAS LITTLE LEAGUE                     LAS VEGAS PUBLIC SCHOOLS
ALLIANCE                                 LAS VEGAS, NM 87701                         901 DOUGLAS AVE
P.O. BOX 2004                                                                        LAS VEGAS, NM 87701
LAS VEGAS, NM 87701




LAS VEGAS ROTARY CLUB                    LAS VEGAS RV & STORAGE LLC                  LAS VEGAS/SAN MIGUEL CHAMBER
P.O. BOX 3524                            504 HARRIS ROAD                             OF COMMERCE
LAS VEGAS, NM 87701                      LAS VEGAS, NM 87701                         P O BOX 128
                                                                                     LAS VEGAS, NM 87701




LAS VEGAS-SAN MIGUEL ECONOMIC DEV        LASAINE, DORIAN                             LASALLE SOLUTIONS
CORP.                                    456 FULTON ST, STE 210                      A DIVISION OF FIFTH THIRD BANK
P.O. BOX 526                             PEORIA, IL 61602                            6111 N RIVER RD
LAS VEGAS, NM 87701                                                                  ROSEMONT, IL 60018




LASALLE SOLUTIONS                        LASALLE SOLUTIONS, A DIVISION OF MB         LASALLE SYSTEMS LEASING INC
A DIVISION OF MB EQUIPMENT FINANCE LLC   EQUIPMENT FINANCE LLC                       9550 W HIGGINS RD, STE 600
9550 W HIGGINS RD, STE 600               9550 W HIGGINS RD, STE 600                  ROSEMONT, IL 60018
ROSEMONT, IL 60018                       ROSEMONT, IL 60018




LASALLE, LORI                            LASATER, ANDREW                             LASER INNOVATIONS
ADDRESS ON FILE                          2610 ANN DR                                 2276 N GRAND AVE E
                                         BIG SPRING, TX 79720                        SPRINGFIELD, IL 62702




LASER INSTITUTE OF AMERICA               LASER SURGICAL INC                          LASERNA, MA THERESA D.
13501 INGENUITY DRIVE                    P.O. BOX 1397                               2126 SCOTSGLEN DRIVE
SUITE 128                                ROSWELL, GA 30077                           NEW LENOX, IL 60451
ORLANDO, FL 32826




LASH, BYRON                              LASH, CHRISTOPHER                           LASH, CRAIG A., M.D.
3251 ALABAMA AVE SW                      RX COFFEE & TEA                             ADDRESS ON FILE
DALTON, OH 44618                         2100 AMHERST RD NW
                                         MASSILLON, OH 44646




LASH, TAMI L.                            LASH, THOMAS M.                             LASH, WOODROW T.
431 MCBROOM AVE.                         444 FENOAK DR.                              16 MILLPOND
BARSTOW, CA 92311                        BARSTOW, CA 92311                           STANSBURY PARK, UT 84074
LASHAWAY, SHERRI          Case 20-10766-BLS   Doc BARB
                                        LASHBROOK, 6 Filed 04/07/20   Page 1023  of RONALD
                                                                           LASHEFF, 1969
5085 QUINCY ST NW                        509 FLORAL AVE                     34051 N BLUESTEM RD
CANTON, OH 44708                         KEWANEE, IL 61443                  ROUND LAKE, IL 60073




LASHLEE, EUGENE                          LASKOWSKI LISA M                   LASKOWSKI, LISA
1026 SNOWDEN DR                          8625 BLACKJACK HOLLOWS LN          8625 BLACKJACK HOLLOW LN
WEST MEMPHIS, AR 72301                   TROY, IL 62294                     TROY, IL 62294




LASKY, DENISE ALICE                      LASLEY, DAVID                      LASLEY, JUNE
P.O. BOX 3572                            174 LENTZ STREET                   1245 ROCK ISLAND AVE
LAKE ARROWHEAD, CA 92352-3572            CYPRESS, IL 62923                  GALESBURG, IL 61401




LASLEY, MATTHEW                          LASLEY, TONI                       LASLEY, TONI
3450 LICK CREEK RD                       97 CACHE CHAPEL RD                 97 CASHE CHAPEL RD
ANNA, IL 62906                           OLMSTED, IL 62970                  OLMSTEAD, IL 62970




LASSITER, ERICA T.                       LASSITER, MELESA G.                LASSITER, STEPHANIE M.
305 WARES CHAPEL LN                      549 MORAN RD                       ADDRESS ON FILE
WASHINGTON, NC 27889                     DRESDEN, TN 38225




LASTER, MELINDA A.                       LASURE, RANDALL                    LASWELL PHILLIP E JR
88 ESTATE DR                             27 WEST RIDGE ROAD                 6476 GREEN ACRES
PROCTOR, AR 72376                        BEATTYVILLE, KY 41311              GLEN CARBON, IL 62034




LASWELL, DUANE                           LATASHA MANNING                    LATELY, CORINNA N.
1974 WINDISH DR APT 104                  121 PINEDALE ST                    ADDRESS ON FILE
GALESBURG, IL 61401                      GREENVILLE, AL 36037




LATHAM, KENDRA K.                        LATHAM, MEGAN                      LATHAM, WILLIAM D.
1530 SHORT SPRINGS RD.                   115 COUNTY ROAD 403                106 COUNTY ROAD 502
TULLAHOMA, TN 37388                      GROVEOAK, AL 35975                 FORT PAYNE, AL 35968




LATHAN, JUDI                             LATHON, KRYSTAL L.                 LATHROP, PAM K.
107 PINEVIEW AVE                         910 RUE LE MAISON DR.              ADDRESS ON FILE
NORTH AUGUSTA, SC 29841-2536             MARION, AR 72364




LATIANO, RAYMOND                         LATIFAH KARIM                      LATIMER JR., CHARLES W.
9338 BROADLAND ST NW                     2373 EAST 70TH PLACE               690 OLD MCKENZIE ROAD
MASSILLON, OH 44646                      CHICAGO, IL 60649                  MCKENZIE, TN 38201
LATIMER, CASSANDRA L.      Case 20-10766-BLS    Doc
                                         LATIMER,    6 M. Filed 04/07/20
                                                  ROSE                     Page 1024
                                                                                LATINA of
                                                                                       JR.,1969
                                                                                            JOHN J.
590 COLLEEN DR                             ADDRESS ON FILE                        ADDRESS ON FILE
LYNWWOD, IL 60411




LATOYA LEE                                 LATRICE CLAY                           LATTIE, SAMANTHA D.
610 WHITE ST                               147 ANGLING ROAD                       ADDRESS ON FILE
WILLIAMSTON, NC 27892                      GALESBURG, IL 61401




LATTIMORE, SEAN D.                         LATTINA, KASSANDRA                     LATTY, CAITLIN
305 WOOD DUCK CT                           6546 ATHENA DR                         94 LEE AVE
WATERLOO, IL 62298                         GLEN CARBON, IL 62034                  RAINSVILLE, AL 35986




LAU, SAMUEL S.                             LAU, TRICIA L.                         LAUB, NICOLE
46094 NW HILLSIDE RD                       14241 STANWOOD ST SW                   1503 BIRCH CT
FOREST GROVE, OR 97116-7608                NAVARRE, OH 44662                      EDWARDSVILLE, IL 62025




LAUBER, GLORIA                             LAUBSCH, STACY                         LAUER, JEANETTE
328 NORTH 1100 WEST                        4028 CONCORD ST                        2848 IOWA ST
SALT LAKE CITY, UT 84116                   EUGENE, OR 97402                       GRANITE CITY, IL 62040




LAUFENBURG, DIANE                          LAUGAVITZ, CRYSTLE K.                  LAUGHING RATZ
3521 16TH ST                               ADDRESS ON FILE                        ANESTHESIA & PAIN MANAGEMENT
ZION, IL 60099                                                                    HC 69 BOX 46
                                                                                  SAPELLO, NM 87745




LAUGHLIN MILLEA HILLMAN ARCHITECTURE,      LAUGHLIN, AMY S.                       LAUMBATTUS, ERIKA R.
LLC                                        ADDRESS ON FILE                        402 S ELIZABETH ST
819 W. MAIN ST. SUITE 400                                                         NEW ATHENS, IL 62264
LOUISVILLE, KY 40202




LAURA A HISTAND                            LAURA AERNE                            LAURA BAILEY
75 YOUNGS ADDITION                         1914 BUTLER BLVD                       13880 N DARTMOUTH LN
MILL HALL, PA 17751                        EDWARDSVILLE, IL 62025                 MT VERNON, IL 62864




LAURA BROUSSARD                            LAURA HARRIS                           LAURA L BAYER
2384 SHAW MILL RD                          ADDRESS ON FILE                        16745 E. BREEZEWAY RD
ST PAULS, NC 28384                                                                TEXICO, IL 62889




LAURA MORRIS                               LAURA MYERS                            LAURA NORTHWAY
206 E WART ST                              ADDRESS ON FILE                        ADDRESS ON FILE
PO BOX 118
ALTONA, IL 61414
LAURA PEDRO              Case 20-10766-BLS
                                       LAURA RDoc 6 Filed 04/07/20
                                               ROBERTSON             Page 1025  of 1969
                                                                          LAURA SIMS
10113 S ABERDEEN ST                     1519 WHITNEY ST                   2537 LOS ALMOS PASS
CHICAGO, IL 60643                       AUGUSTA, GA 30904-6217            ROUND ROCK, TX 78665




LAURA STOWE-EMERY                       LAURA SWATZELL                    LAURA WILSON
34730 MCKENZIE VIEW DR                  2603 E. 25TH ST                   7525 HIGH MILL AVE NW
SPRINGFIELD, OR 97478-7727              BIG SPRING, TX 79720              CANAL FULTON, OH 44614




LAUREL KILLIAN                          LAURELS OF MASSILLON, THE         LAURELS OF MASSILLON, THE
55 HARRIS PL SE                         2000 SHERMAN CR NE                8181 WORTHINGTON RD
MASSILLON, OH 44646                     MASSILLON, OH 44646               WESTERVILL, OH 43082




LAUREN B DURDEN                         LAUREN BOLT                       LAUREN C BENNETT
124 CONNECTOR RD                        4277 BRECKENRIDGE LANE            45 CONDO LN
GRANITEVILLE, SC 29829                  GRANITE CITY, IL 62040            MILL HALL, PA 17751




LAUREN GIDDENS                          LAUREN KASTNER, MD                LAUREN KENDALL
39321 MANNINGHAM RD                     ADDRESS ON FILE                   ADDRESS ON FILE
GREENVILLE, AL 36037




LAUREN PARRIS                           LAUREN STAPP                      LAURENCE COX
3931 STAUNTON RD                        ADDRESS ON FILE                   2632 LAKESHORE DR
EDWARDSVILLE, IL 62025                                                    COLUMBIA, IL 62236




LAURENCE DUNCAN                         LAURENT RAYMOND A JR              LAURENT, MEGAN R.
629 MARY NEAL LN                        10210 JEFFLEIGH DRIVE             ADDRESS ON FILE
CRESWELL, OR 97426-9556                 SAINT LOUIS, MO 63123




LAURENT, RENEE                          LAURENT, TAMMY                    LAURENZANA, GREGORY
3130 BRANDT ROAD                        1008 RANDOLPH ST                  3958 W. 99TH STREET
FULTS, IL 62244                         RUMA, IL 62278                    EVERGREEN PARK, IL 60805




LAURENZANO, MATTHEW P.                  LAURIE HOPPER                     LAURIE M DAVIS
ADDRESS ON FILE                         ADDRESS ON FILE                   25186 US HWY64
                                                                          JAMESVILLE, NC 27846




LAURIE M TIDWELL                        LAURIE R PHILIZAIRE               LAURIE, GUY
ADDRESS ON FILE                         1437 BERG DR.,APT 1W              35377 N DONALD CT
                                        DOLTON, IL 60419                  INGELSIDE, IL 60041
LAURIE, NINA              Case 20-10766-BLS    Doc
                                        LAURITSEN   6 Filed 04/07/20
                                                  NICK                      Page 1026
                                                                                 LAURK, of
                                                                                        JILL1969
ADDRESS ON FILE                          31 S FULTON ST                           4337 SCHIRMER ST
                                         WAUKEGAN, IL 60085                       ST LOUIS, MO 63116




LAUTENSCHLAEGER, CECILIA                 LAUTERBACH, NICHOLE                      LAUXMAN, SANDRA
390 WILLOW OAK DRIVE                     261 SUNVALLEY DR APT F14                 P.O. BOX 834
RED BUD, IL 62278                        MESQUITE, NV 89027-0000                  ROCIADA, NM 87742




LAVAGNINO, GINA T.                       LAVALLEY, HAZEL                          LAVASSAUR, JENNIFER
840 TALBOT DR.                           85 CHESTNUT ST W                         ADDRESS ON FILE
HOLLISTER, CA 95023                      BRATTLEBORO, VT 05301




LAVEDER, MICHAEL J.                      LAVEN STEFFANIE                          LAVERNE NELSON
ADDRESS ON FILE                          P.O. BOX 449                             301 KAYE DRIVE
                                         BLUE RIDGE, GA 30513                     PO BOX 223
                                                                                  NEW WINDSOR, IL 61465




LAVERNE SCHLUETER TRUST                  LAVI, VICTORIA E.                        LAVI, VICTORIA
8850 PRESTON ROAD                        ADDRESS ON FILE                          ADDRESS ON FILE
EVANSVILLE, IL 62242




LAVIGNELOPEZ, LAVERRA A.                 LAVIN, JENNIFER J.                       LAVOIE WENDY
2619 122ND PL                            ADDRESS ON FILE                          5057 BERKELEY DR
BLUE ISLAND, IL 60406                                                             NAPLES, FL 34112




LAVOIE, KAILA                            LAVORRKKAETTI, MELISSA                   LAW DAVID ROBERT
620 HAMACHER ST                          1010 CASEYVILLE RD                       2130 COUNTY RD 425
WATERLOO, IL 62298-1594                  CASEYVILLE, IL 62232                     PISGAH, AL 35765




LAW ENFORCEMENT MAGNETS                  LAW OFFICE OF JOHN EDWARDS               LAW OFFICE OF LECHIEN &
760 CAMPBELL LANE                        P.O. BOX 1501                            WALTRIP PC
SUITE 106-141                            HIGHLAND, IN 46322                       120 W MAINT ST, STE 110
BOWLING GREEN, KY 42104                                                           BELLEVILLE, IL 62220-0000




LAW OFFICE OF LLOYD M CUETO              LAW OFFICES OF BRIAN S. KATZ             LAW OFFICES OF DENNIS M MOSKAL LLC.,
7110 EAST MAIN ST                        P.O. BOX 2903                            THE
BELLEVILLE, IL 62223                     PADUCAH, KY 42002-2903                   AND ALBERT SWORTWOOD
                                                                                  500 GRANT ST - STE 2900
                                                                                  PITTSBURGH, PA 15219



LAW OFFICES OF ROBERT L SAUNDERS PC      LAW OFFICES OF SHERMAN & SHERMAN         LAW PUBLICATIONS
ITS ATTORNEY & RAMSBOTTOM CTR LLC        210 S SILVER AVE                         15000 EAST BELTWOOD PKWY
13 MAIN ST                               DEMING, NM 88030                         ADDISON, TX 75001
BRADFORD, PA 16701
LAW, ASHLEY N.         Case 20-10766-BLS    Doc 6
                                     LAW, CARLY        Filed 04/07/20   Page 1027 ofGAY
                                                                             LAWANA  1969
2872 CONKLE DR NE                     1042 BAY SPRINGS ROAD APT124           P.O. BOX 181
DOVER, OH 44622                       CENTRE, AL 35960                       DAHLGREN, IL 62828




LAWHON, CLAUDIA                       LAWHORN, ELIZABETH                     LAWING, STEPHANIE R.
ADDRESS ON FILE                       209 OAK DRIVE                          107 NORWAY LANE
                                      RAINSVILLE, AL 35986                   OAK RIDGE, TN 37830




LAWLER & LAWLER                       LAWLER, ELIZABETH                      LAWLER, HEATHER C.
ATTORNEYS AT LAW                      415 W WALL STREET                      590 PINE CONE DRIVE
1129 N CARBON                         MULBERRY GROVE, IL 62262               LEXINGTON, TN 38351
MARION, IL 62959




LAWLER, RAYMOND                       LAWLEY, SANDRA J.                      LAWRENCE CO DIAMOND CLUB
P.O. BOX 1733                         2421 12TH STREET SW                    100 BULLDOG LANE
3003 OAK COURT                        CANTON, OH 44710                       ATTEN: TRAVIS FELTNER
MARION, IL 62959                                                             LOUISA, KY 41230




LAWRENCE CO FIVCO                     LAWRENCE CO HIGH SCHOOL ARMY JROTC     LAWRENCE CO HIGH SCHOOL
1080 MEADOW BROOKE LANE               100 BULLDOG LANE                       SCARLACK
LOUISA, KY 41230                      LOUISA, KY 41230-0000                  100 BULL DOG LANE
                                                                             LOUISA, KY 41230-0000




LAWRENCE CO MIDDLE SCHOOL             LAWRENCE CO QUARTERBACK CLUB           LAWRENCE CO SAND & STONE
GIRLS SOCCER                          BULLDOG LANE                           P.O. BOX 163
9 BULLDOG LANE                        LOUISA, KY 41230                       LOUISA, KY 41230
LOUISA, KY 41230




LAWRENCE CO YOUTH SOCCER ASSOC        LAWRENCE CO. HEALTH DEPT.              LAWRENCE CO. HIGH SCHOOL VOLLEYBALL
277 GRANDDADDY RD                     RT 2, 1080 MEADOWBROOK L.              1 BULLDOG LANE
LOUISA, KY 41230                      LOUISA, KY 41230                       LOUISA, KY 41230-0000




LAWRENCE CO. SEPTEMBERFEST            LAWRENCE COUNTY BASEBALL               LAWRENCE COUNTY CLERK-CHRIS JOBE
P.O. BOX 808                          100 BULLDOG LANE                       122 S MAIN CROSS STREET
LOUISA, KY 41230                      LOUISA, KY 41230                       LOUISA, KY 41230




LAWRENCE COUNTY FISCAL COURT          LAWRENCE COUNTY HUMANE SOCIETY         LAWRENCE COUNTY MEMORIAL HOSPITAL
P.O. BOX 566                          P.O. BOX 1331                          2200 WEST STATE STREET
LOUISA, KY 41230                      LOUISA, KY 41230                       LAWRENCEVILLE, IL 62439-1852




LAWRENCE COUNTY PARK                  LAWRENCE COUNTY SHERIFF                LAWRENCE COUNTY SHERIFF
77 WILDERNESS ROAD                    122 S. MAIN CROSS STREET               310 E. MAIN STREET
LOUISA, KY 41230                      LOUISA, KY 41230                       LOUISA, KY 41230
                      Case
LAWRENCE COUNTY TIP OFF CLUB 20-10766-BLS    DocCOUNTY
                                      LAWRENCE     6 Filed 04/07/20
                                                       YOUTH FOOTBALL    Page 1028 of 1969
                                                                              LAWRENCE ENGELHARDT
P.O. BOX 304                          BULLDOG LANE                            1311 OAK AVE SE
LOUISA, KY 41230                      LOUISA, KY 41230                        MASSILLON, OH 44646




LAWRENCE GUTIERREZ                    LAWRENCE HARMON MD                      LAWRENCE HATCHETT MD
1779 CARDINAL DR                      ADDRESS ON FILE                         ADDRESS ON FILE
GALESBURG, IL 61401




LAWRENCE KOSOWSKI                     LAWRENCE KRAUT PC ATTORNEYS AT LAW      LAWRENCE MEMORIAL HOSPITAL
20005 US HIGHWAY 27                   351 W HUBBARD STREET                    325 MAINE STREET
APT 424                               SUITE 800                               LAWRENCE, KS 66044-1393
CLERMONT, FL 34715                    CHICAGO, IL 60654




LAWRENCE QUINTANA                     LAWRENCE RECRUITING SPECIALISTS, INC    LAWRENCE SANCHEZ
ADDRESS ON FILE                       14748 W. CENTER RD, SUITE 300           ADDRESS ON FILE
                                      OMAHA, NE 68144




LAWRENCE VINSON                       LAWRENCE, ANTOINETTE                    LAWRENCE, CARLOS
277 GRANDADDY HOLLOW                  12260 DOWNEY CROSSING ROAD              2258 W 111TH ST
LOUISA, KY 41230                      CAMBRIA, IL 62915                       CALUMET PARK, IL 60643




LAWRENCE, DANIEL S.                   LAWRENCE, DEBRA K.                      LAWRENCE, EILEEN
251 COACH ST                          ADDRESS ON FILE                         4126 CLERMONT AVE NW
GREENVILLE, AL 36037                                                          NORTH LAWRENCE, OH 44666




LAWRENCE, LENEAVEA                    LAWRENCE, LISA                          LAWRENCE, MARIBETH N.
ADDRESS ON FILE                       ADDRESS ON FILE                         4 DAVIS STREET
                                                                              CHESTER, IL 62233




LAWRENCE, NOVERO                      LAWRENCE, SARAH                         LAWRENCE, TALIANA
1159 SANDRIDGE DR                     ADDRESS ON FILE                         1409 LANTZ CT
COLLINSVILLE, IL 62234                                                        EDWARDSVILLE, IL 62025




LAWRENCE, VICKIE S.                   LAWRENCES                               LAWS, DANIEL H.
31 7TH ST SW                          810 18TH ST                             790 HIGHWAY 22 NORTH
MASSILLON, OH 44647                   SUITE 3                                 YUMA, TN 38390
                                      EVANSTON, WY 82930




LAWS, HARRIETT                        LAWS, REBECCA                           LAWS, STARLINE
812 E CROSS ST                        329 CALVERT                             2229 HWY 149
FORREST CITY, AR 72335                FORREST CITY, AR 72335                  HETH, AR 72346
LAWSON, ANN M.           Case 20-10766-BLS  Doc
                                       LAWSON,    6 R. Filed 04/07/20
                                               APRIL                        Page 1029 of BRITTANY
                                                                                 LAWSON,  1969
ADDRESS ON FILE                          797 E VALLEY VIEW DR                     ADDRESS ON FILE
                                         TOOELE, UT 84074




LAWSON, DALLAS A.                        LAWSON, DONA J.                          LAWSON, DWAYNE RAY
ADDRESS ON FILE                          200 HEATHER TER                          635 PARKER AVE
                                         APTOS, CA 95003                          RAINSVILLE, AL 35986




LAWSON, FRANCES S.                       LAWSON, FRANK                            LAWSON, KEITH F.
381 COUNTY RD 182                        225 THISTLE ST                           633 8TH ST
DAWSON, AL 35963-3247                    MESQUITE, NV 89027-6266                  SPRINGFIELD, OR 97477




LAWSON, MARY L.                          LAWSON, MARY                             LAWSON, PATRICE A.
622 SUNSET DR                            962 JAMES HUFF RD                        ADDRESS ON FILE
CAPITOLA, CA 95010                       MONROE, GA 30656




LAWSON, RUBY                             LAWSON, SHIRLEY L.                       LAWSON, VICKI L.
983 LEXUS DRIVE                          ADDRESS ON FILE                          1302 N 9TH
LAWRENCEVILLE, GA 30045                                                           MOUNT VERNON, IL 62864




LAWVER, BETH M.                          LAXSON, STACI E.                         LAY, CHELSEA JANE
824 MIRACLE RD                           ADDRESS ON FILE                          968 KAYLEE AVE
DECATURVILLE, TN 38329                                                            JUNCTION CITY, OR 97448




LAY, MARGARET A.                         LAYNE ARTHER A                           LAYNE, STEPHANIE
3711 LAKESHORE DRIVE                     2811 WHIPPOORWILL RD                     ADDRESS ON FILE
BEAN STATION, TN 37708                   FORT PAYNE, AL 35968-3233




LAYTON CONSTRUCTION COMPANY, LLC         LAYTON CONSTRUCTION COMPANY, LLC         LAYTON, ALAN M.
ATTN: ROBERT HUEY                        ATTN: ROBERT HUEY                        ADDRESS ON FILE
9090 S SANDY PKWY                        9090 SOUTH SANDY PARKWAY
SANDY, UT 84070                          SANDY, UT 84070




LAYTON, ALAN                             LAYUG, MADELEINE                         LAYWELL, NOEL
ADDRESS ON FILE                          2329 YEOMAN ST                           ADDRESS ON FILE
                                         WAUKEGAN, IL 60087




LAZAR, BETTY E.                          LAZAR, MICHAEL                           LAZAR, STEPHANIE L.
736 YORK CT                              ADDRESS ON FILE                          ADDRESS ON FILE
NORTHBROOK, IL 60062
LAZARO LANDEROS            Case 20-10766-BLS
                                         LAZARO,Doc
                                                 JUAN6     Filed 04/07/20     Page 1030  ofTONYA
                                                                                   LAZARO,  1969
P.O. BOX 1358                             3235 MARYVILLE ROAD                      99 ARAPAHOE CIRCLE
MESQUITE, NV 89024                        APT B                                    EVANSTON, WY 82930
                                          GRANITE CITY, IL 62040




LAZAROFF, BRYAN                           LAZCANO, LETICIA                         LAZERE, KENNETH W.
17510 S RIDGELAND AVENUE                  3065 ARTHUR CT APT A7                    1677 BULLEN GAP RD
TINLEY PARK, IL 60477                     WAUKEGAN, IL 60085                       BLUE RIDGE, GA 30513




LAZERNICK, SAMARA D.                      LAZORCHAK, DIANE R.                      LAZZAROTTO, ANGELA
ADDRESS ON FILE                           3870 HOMESTEAD RD                        20597 W SIENA DR
                                          MARION, IL 62959                         LAKE VILLA, IL 60046




LBMC PC                                   LBMC STAFFING SOLUTIONS LLC              LBMC STAFFING SOLUTIONS LLC
201 FRANKLIN RD                           P.O. BOX 1869                            P.O. BOX 1869
BRENTWOOD, TN 37027                       BRENTWOOD, TN 37024                      BRENTWOOD, TN 37024-1869




LBMC STAFFING SOLUTIONS LLC               LC ELITE CHEER                           LCCR SOFTBALL ALL-STARS
P.O. BOX 1869                             1069 FULLERS RIDGE ROAD                  280 SCHOOLHOUSE ROAD
BRENTWOOD, TN 37027                       ATTN: LISA WEBB                          ATTN: MATT SEE
                                          LOUISA, KY 41230                         LOUISA, KY 41230




LCHS BASS FISHING TEAM                    LCHS BOYS BASKETBALL TIP OFF CLUB        LCHS BOYS SOCCER CLUB
100 BULLDOG LANE                          BULLDOG WAY                              1507 HWY 2565
LOUISA, KY 41230                          LOUISA, KY 41230                         LOUISA, KY 41230




LCHS GOLF TEAM                            LCHS JROTC                               LCHS POM POM CLUB
100 BULLDOG LANE                          100 BULLDOG LANE                         100 BULLDOG LANE
LOUISA, KY 41230                          LOUISA, KY 41230                         LOUISA, KY 41230




LCHS TENNIS BOOSTERS                      LCNPA                                    LCPL J KYLE PRICE MEMORIAL FOUNDATION
100 BULLDOG LANE                          C\O MEE WAI LAM                          10753 N. HALL LANE
LOUISA, KY 41230                          P.O. BOX 41522                           WOODLAWN, IL 62898
                                          EUGENE, OR 97404




LDERA GUEST                               LDR SPINE USA                            LDR SPINE USA, INC
935 SFC 311                               P.O. BOX 671716                          13785 RESEARCH BLVD STE 200
FORREST CITY, AR 72335                    DALLAS, TX 75267-1716                    AUSTIN, TX 78750




LE BUS                                    LE CLERE, KELLY M.                       LE KIM LEE, DO
542 SOUTH 2350 WEST                       254 BANDY AVE                            1167 HWY 163
SALT LAKE CITY, UT 84104                  GALESBURG, IL 61401                      WYNNE, AR 72396
LE MOSS, LORI M.        Case 20-10766-BLS
                                      LE ROY, Doc 6 Filed 04/07/20
                                              REBECCA                Page 1031  of 1969
                                                                          LEA GRAY
29 KINGFISHER DRIVE                    ADDRESS ON FILE                    315 E LINCOLN ST
WATSONVILLE, CA 95076                                                     HOLLIS, OK 73550




LEA LACY                               LEA, PENNY E.                      LEA, STEVE RONNIE
3049 MARY ALICE TRL                    ADDRESS ON FILE                    696 COUNTY RD 667
LOGANVILLE, GA 30052                                                      HENAGAR, AL 35978-4508




LEACH, JENNIFER L.                     LEACH, KYLEE                       LEACH, VERLA
ADDRESS ON FILE                        ADDRESS ON FILE                    2816 SARATOGA ST
                                                                          GRANITE CITY, IL 62040




LEACOCK, WENDY N.                      LEADER STAT LTD                    LEADERSHIP BIG BEND
P.O. BOX 83062                         1322 B MANNING PKWY                P.O. BOX 242
CONYERS, GA 30013                      POWELL, OH 43065                   ALPINE, TX 79831




LEADERSHIP DEKALB                      LEADING, LAURA                     LEADY JR, WILLIAM
P O BOX 680073                         3784 TREY BURN AVE NW              11397 E COAL CHURCH RD
FORT PAYNE, AL 35968                   MASSILLON, OH 44646                LONDON MILLS, IL 61544




LEAH OSBAHR - CEO                      LEAH STONICHER                     LEAH VANHAM
HELENA REGIONAL MEDICAL CENTER         11262 HERSCHEL LOOP                ADDRESS ON FILE
1801 MARTIN LUTHER KING DR             DAPHNE, AL 36526-6655
HELENA, AR 72342




LEAH WEIS                              LEAH, GREGORY                      LEAHY, JENNIFER G.
ADDRESS ON FILE                        P.O. BOX 663                       306 CHEYENNE DR
                                       ROCIADA, NM 87742                  EVANSTON, WY 82930




LEAHY, SAMANTHA A.                     LEAL, ISAIAH A.                    LEAL, JEANETTE L.
10905 S CENTRAL PARK AVE               P.O. BOX 2234                      ADDRESS ON FILE
CHICAGO, IL 60655                      ALPINE, TX 79831




LEAL, JUAN                             LEANIN TREE                        LEANNE BEASLEY LUTER
P.O. BOX 914                           BOX 9500                           139 ARSENAL DR
BLUE RIDGE, GA 30513                   BOULDER, CO 80301                  FRANKLIN, TN 37064




LEANOS, NORMA Y.                       LEANOS, NORMA                      LEANY, JESSICA J.
ADDRESS ON FILE                        ADDRESS ON FILE                    ADDRESS ON FILE
LEAPARD, CASSANDRA       Case 20-10766-BLS    Doc 6
                                       LEAR, CHELSEA     Filed 04/07/20       Page 1032   of 1969
                                                                                   LEAR, ERICA M.
ADDRESS ON FILE                         761 E BROOKS ST                            ADDRESS ON FILE
                                        GALESBURG, IL 61401




LEAR, JESSICA                           LEAR, SASHA R.                             LEAR, SHAWNEE M.
1147 BALD EAGLE COURT                   128 WILSON PARK LN                         ADDRESS ON FILE
ROCK SPRINGS, WY 82902                  GRANITE CITY, IL 62040




LEARFIELD COMMUNICATIONS LLC            LEARY PLANT FARM                           LEARY, CODY COLLIN
P.O. BOX 843038                         COUNTRY MARKET                             601 COUNTRY CLUB RD
KANSAS CITY, MO 64184-3038              US HGY 17 SOUTH                            APT 407
                                        WILLIAMSTON, NC 27892                      EUGENE, OR 97401




LEARY, TERRI                            LEASEQUERY LLC                             LEASING ASSOC OF BARRINGTON
570 200TH AVE                           DEPT 3992                                  220 N RIVER STS RD, SUITE 1030
MONMOUTH, IL 61462                      P.O. BOX 123992                            EAST DUNDEE, IL 60118-1379
                                        DALLAS, TX 75312-3992




LEASING ASSOC OF BARRINGTON             LEASING ASSOC OF BARRINGTON                LEASING ASSOC.OF BARRINGTON
220 NORTH RIVER ST                      220 NORTH RIVER ST                         ATTN: WILL MCCOY
EAST DUNDEE, IL 60118                   EAST DUNDEEN, IL 60118                     220 N RIVER STREET
                                                                                   EAST DUNDEE, IL 60118




LEASING ASSOCIATES OF BARRINGT          LEASING ASSOCIATES OF BARRINGTON INC       LEASING ASSOCIATES OF BARRINGTON INC
220 N RIVER ST                          220 N RIVER ST                             220 N RIVER ST
EAST DUNDEE, IL 60118                   DUNDEE, IL 60118                           EAST DUNDEE, IL 60118




LEASING ASSOCIATES OF BARRINGTON INC    LEASING ASSOCIATES OF BARRINGTON,          LEASURE, RAYMOND
33 W HIGGINS RD, STE 1030               INC.                                       61 AUTUMN VIEW
SOUTH BARRINGTON, IL 60010              LA BARRINGTON                              BLAIRSVILLE, GA 30512
                                        220 NORTH RIVER STREET
                                        EAST DUNDEE, IL 60118



LEATH REX                               LEATH, KATHY - PETTY CASH CUSTODIAN        LEATH, KATHY
42 SOUTH GRAND AVE                      ADDRESS ON FILE                            ADDRESS ON FILE
COLLINSVILLE, AL 35961




LEATH, KIERSTEN                         LEATH, MICHAEL D.                          LEATH, MICHAEL D.
214 W B ST                              P.O. BOX 680113                            P.O. BOX 680113
ALPHA, IL 61413                         FORT PAYNE, AL 35968                       FORT PAYNE, AL 35968-1602




LEATHAM, DELMAR                         LEAVELLE SIERRA D                          LEAVER, AMY J.
P.O. BOX 734                            142 SWEETHEART LANE                        300 E JUNE STREET
LOGANDALE, NV 89021                     BLAIRSVILLE, GA 30512                      ALPINE, TX 79830
LEAVITT, BROCK V.           Case 20-10766-BLS
                                          LEAVITT,Doc 6 ROLAN
                                                   DANNIE Filed 04/07/20   Page 1033  ofPAULA
                                                                                LEAVITT, 1969J
1299 BERTHA HOWE AVE                        P.O. BOX 7073                       1141 PLEASANT HILL RD
MESQUITE, NV 89027                          BUNKERVILLE, NV 89007               BOGART, GA 30622-4534




LEAVITT, TERRAN                             LEAVITT, TRENT                      LEAZER, RONALD W.
315 S FIRST WEST ST P.O. BOX 7164           P.O. BOX 443                        721 CLAYTON CORNERS DRIVE
BUNKERVILLE, NV 89007                       OVERTON, NV 89040                   BALLWIN, MO 63011




LEBEDEVA, ELENA                             LEBER, EUGENE                       LEBLANC, KEARA A.
211 BLUEBERRY RD                            14138 SESSER LAKE RD                1821 JETHRO AVE UNIT B
LIBERTYVILLE, IL 60048                      SESSER, IL 62884                    ZION, IL 60099




LEBRON, KAYLEE                              LECCESI, MARY E.                    LECHEVALIER, JENNIFER A.
603 WINCHESTER LN                           ADDRESS ON FILE                     ADDRESS ON FILE
LAKE VILLA, IL 60046-5756




LECHUGA, LUS A.                             LECIA, LANCE                        LECKNER, BRITTNEY D.
ADDRESS ON FILE                             8205 SOUTHWOOD DR NW                618 PINE ST
                                            NORTH CANTON, OH 44720              ADAMSVILLE, TN 38310




LECLERE KELLY M                             LECRONE, LAURA E.                   LECROY, PATRICIA
254 BANDY AVE                               1715 STANLEY AVE                    ADDRESS ON FILE
GALESBURG, IL 61401                         MT. VERNON, IL 62864




LECROY, PATRICIA                            LECROY, PATRICIA                    LEDBETTER, CARRIE B.
ADDRESS ON FILE                             ADDRESS ON FILE                     ADDRESS ON FILE




LEDBETTER, COURTNEY                         LEDBETTER, LEANNE                   LEDBETTER, TIMOTHY STEVEN
ADDRESS ON FILE                             9534 BAXTER RD                      1715 RAINBOW DRIVE
                                            BENTON, IL 62812                    SPRINGFIELD, OR 97477-0000




LEDERMAN, MIKE                              LEDESMA, TIFFANNY A.                LEDEZMA, HERIBERTO
2979 HWY 49                                 ADDRESS ON FILE                     213 WHITTIER DR
WEST HELENA, AR 72390                                                           DEMING, NM 88030




LEDFORD ERICA A                             LEDFORD LYNN B                      LEDFORD, AMY Q.
10409 OLD HWY 76                            1190 WEST GUM LOG RD                104 MILLSAPS CIRCLE
MORGANTON, GA 30560                         WARNE, NC 28909                     EPWORTH, GA 30541
LEDFORD, CAMILLE Y.     Case 20-10766-BLS   Doc
                                      LEDFORD,   6 Filed 04/07/20
                                               CAMILLE                     Page 1034 of 1969
                                                                                LEDFORD, CHERI J.
ADDRESS ON FILE                        ADDRESS ON FILE                           7255 HILLS/DALES RD NW APT. 5
                                                                                 MASSILLON, OH 44646




LEDFORD, DYLAN                         LEDFORD, GERALD F                         LEDFORD, JODIANN
937 FRUIT FARM ROAD E                  926 LUCIOUS ROAD                          P O BOX 52
FORT PAYNE, AL 35967                   CHERRY LOG, GA 30522                      CALAIS, ME 04619




LEDFORD, JON A.                        LEDFORD, JON A.                           LEDFORD, KEITH J.
64 COUNTY ROAD 894                     ADDRESS ON FILE                           702 W MARCY DRIVE
VALLEY HEAD, AL 35989                                                            BIG SPRING, TX 79720




LEDFORD, MAURICE                       LEDFORD, TERRY S                          LEDNICK, TARA
2202 GAULT AVENUE SOUTH                P.O. BOX 2424                             320 MEADOW CHASE DR
FORT PAYNE, AL 35967                   BLUE RIDGE, GA 30513                      FESTUS, MO 63028




LEDOUX KATHERINE J                     LEDOUX, BERNICE                           LEE ACADEMY
155 DOVER CHAPEL TERR                  739 TERRACE DR                            973 HWY 243
ELLIJAY, GA 30540                      LAS VEGAS, NM 87701                       MARIANNA, AR 72360




LEE ALLARD                             LEE BARRON                                LEE BETTINA S
P.O. BOX 3480                          1294 CAMPBELL COURT                       181 MOUNTAIN PEEKS RD
LAS VEGAS, NM 87701                    GARDNERVILLE, NV 89410                    BLUE RIDGE, GA 30513




LEE COMPANY                            LEE COMPANY                               LEE COUNTY CHAMBER OF COMMERCE
331 MALLORY STATION ROAD               P.O. BOX 306053                           DONALD BEGLEY
FRANKLIN, TN 37067                     NASHVILLE, TN 37230-6053                  P.O. BOX 978
                                                                                 BEATTYVILLE, KY 41311




LEE COUNTY DENTAL                      LEE COUNTY FAMILY RESOURCE CENTER         LEE COUNTY WOOLY WORM FESTIVAL
P.O. BOX 690                           C/O SHERRY LANHAM                         P.O. BOX 1033
BEATTYVILLE, KY 41311                  1665 HWY 11 SOUTH                         BEATTYVILLE, KY 41311
                                       BEATTYVILLE, KY 41311




LEE FLECK                              LEE FOR JOHNNY LEE, CAROLYN               LEE M.D., RICHARD H.
ADDRESS ON FILE                        91 LEE LANE                               ADDRESS ON FILE
                                       WILDERSVILLE, TN 38388




LEE PRICE, WILLIAM                     LEE SRADER                                LEE SUSAN
1460 G STREET                          11105 N. OPDYKE LN                        ADDRESS ON FILE
SPRINGFIELD, OR 97477                  OPDYKE, IL 62872-2221
LEE WILEY                Case 20-10766-BLS    Doc 6S. Filed 04/07/20
                                       LEE, ABBEGAIL                   Page 1035   of 1969
                                                                            LEE, ALEXZANDRA
404 MARY ST                             P.O. BOX 3                           441 JENNIFER SPRINGS DR
MADISON, IL 62060                       FORT PAYNE, AL 35984                 MONROE, GA 30656




LEE, AMANDA M.                          LEE, AMANDA M.                       LEE, AMANDA
213 BRIARWOOD DR                        ADDRESS ON FILE                      ADDRESS ON FILE
WATERLOO, IL 62298




LEE, ANDREW WEAVER                      LEE, BERNARD                         LEE, CAITLIN T.
2140 CONNIE ALLEN RD                    8405 59TH AVE                        4050 COUNTY ROAD 27
MCKENZIE, TN 38201                      VERO BEACH, FL 32967                 FORT PAYNE, AL 35968




LEE, CANDICE H                          LEE, DARRELL WAYNE                   LEE, DAVID K.
1044 W FOX BERRY DR                     34399 GAROUTTE RD                    565 CAMBRIDGE DRIVE
GRANTSVILLE, UT 84029                   COTTAGE GROVE, OR 97424              GRAYSLAKE, IL 60030




LEE, DIANE J.                           LEE, DONALD E                        LEE, EDDIE M.
ADDRESS ON FILE                         54926 LEEP RD                        1600 OBERLIN AVE SW
                                        COQUILLE, OR 97423                   MASSILLON, OH 44647




LEE, ERIC A.                            LEE, FRANCES Y.                      LEE, GALE G.
ADDRESS ON FILE                         ADDRESS ON FILE                      441 BIRDIE DRIVE, APT 1
                                                                             MARION, AR 72364




LEE, GREEN                              LEE, HORNBERGER                      LEE, JACQUELINE P
2608 STATE ST. APT 3                    6730 MISSION RIDGE                   515 HILLTOP RD
GRANITE CITY, IL 62040                  TRAVERSE CITY, MI 49686-6131         MURPHY, NC 28906




LEE, JAMES                              LEE, JOHN JOHNSON                    LEE, KAIDER
500 KITTLE RD                           1584 STATE LINE RD                   907 CLEMENT RD
FORREST CITY, AR 72335                  CALUMET CITY, IL 60409               WEST MEMPHIS, AR 72301




LEE, KENNETH A.                         LEE, KRISTEN                         LEE, KRISTI M.
ADDRESS ON FILE                         ADDRESS ON FILE                      1149 CHEYENNE DR
                                                                             SOUTHSIDE, AL 35907




LEE, LAVALLEE RICHARD                   LEE, MAURINE B                       LEE, MICHELLE
2385 WRIGHT ROAD                        345 S HALE ST                        604 BOYKIN RD
FORT PAYNE, AL 35968                    GRANTSVILLE, UT 84029                BIG SPRING, TX 79720
LEE, MYUNG H.            Case 20-10766-BLS     Doc 6
                                       LEE, PHILLIPS      Filed 04/07/20     Page 1036   of 1969
                                                                                  LEE, PTASNIK
303 ALBANY LANE                         240 N HAMPTON ST                          12 EDGEWOOD DR
VERNON HILLS, IL 60061                  LOCK HAVEN, PA 17745                      KEWANEE, IL 61443




LEE, RONALD J.                          LEE, SABYL                                LEE, SANDRA F.
ADDRESS ON FILE                         315 GLEN CANNON DRIVE                     1009 WALKER ST
                                        JACKSONVILLE, NC 28546                    HELENA, AR 72342




LEE, SARAH F.                           LEE, SARAH F.                             LEE, SCHAUFLER
8618 EAST RICHVIEW RD                   ADDRESS ON FILE                           10736 NORTON LANE
MOUNT VERNON, IL 62864                                                            SPARTA, IL 62286-0000




LEE, SEOW (DANNY)                       LEE, SHELBY N.                            LEE, SPIER NANCY
ADDRESS ON FILE                         479 MARK I DR                             309 KROEGER AVE
                                        HENRY, TN 38231                           DUPO, IL 62239-1305




LEE, SUN                                LEE, VANDREA                              LEE, VERONICA
1421 JAMES CT                           ADDRESS ON FILE                           956 LOWER DEVIL CREEK
LIBERTYVILLE, IL 60048                                                            ROGERS, KY 41365




LEE, VERSIE                             LEE, WING-YAN                             LEE, YOUNG MD
P.O. BOX 463                            8616 MONAGHAN DR                          ADDRESS ON FILE
MARIANNA, AR 72360                      TINLEY PARK, IL 60487




LEE, YOUNG N.                           LEECH TISHMAN FUSCALDO & LAMPL LLC        LEECH, LISA
1270 SAINT JAMES PLACE                  525 WILLIAM PENN PL                       8099 BROOKE HOLLOW ST NW
LIBERTYVILLE, IL 60048                  28TH FLR                                  MASSILLON, OH 44646-9022
                                        PITTSBURGH, PA 15219




LEEDY-HOWARD, SUSAN M.                  LEE-HALL, REBECCA                         LEEK, JIMMY
ADDRESS ON FILE                         ADDRESS ON FILE                           1655 FALLS SOUTH
                                                                                  WYNNE, AR 72396




LEEPER, ROSE L.                         LEES, SUSAN                               LEESON, MAUREEN
7244 S BELOIT AVE                       ADDRESS ON FILE                           84 SILVER ST
BRIDGEVIEW, IL 60455                                                              GALESBURG, IL 61401




LEESON, STACEY                          LEFFORGE, LORI L.                         LEFLER, JUSTIN
ADDRESS ON FILE                         465 S COUNTY HIGHWAY 15                   P.O. BOX 1754
                                        BONNIE, IL 62816                          LOGANDALE, NV 89021
LEFRONIA, EAST         Case 20-10766-BLS      DocLASHAWN
                                     LEFTRIDGE,    6 Filed 04/07/20   Page 1037  of 1969
                                                                           LEFTWICH, KARA
811 S 12TH ST                        12247 S SPENCER                       ADDRESS ON FILE
WEST MEMPHIS, AR 72301               ALSIP, IL 60803




LEFTWICH, MELISSA                    LEGACY HEALTH                         LEGACY LABORATORY SERVICES LLC
P.O. BOX 963                         1919 NW LOVEJOY ST                    P.O. BOX 5337
ROCIADA, NM 87742                    PORTLAND, OR 97209                    PORTLAND, OR 97228




LEGACY MEDICAL SOLUTIONS LLC         LEGACY PUBLISHING                     LEGAL AID AT WORK
P.O. BOX 777398                      75 GREEN ST                           180 MONTGOMERY ST
HENDERSON, NV 89077                  CLINTON, MA 01510                     STE 600
                                                                           SAN FRANCISCO, CA 94104-4244




LEGALBILL.COM                        LEGALVISION INC                       LEGARE, SAMANTHA
QUOVANT                              100 PINE ST                           253 WEST 400 NORTH
696 MELROSE AVE                      STE 1250                              TOOLE, UT 84074
NASHVILLE, TN 37211                  SAN FRANCISCO, CA 94111




LEGAT ARCHITECTS INC                 LEGATE, JUDITH                        LEGATE, KATHERINE E
1125 TRI-STATE PKWY                  2000 ELM AVE                          2996 MARIGOLD RD
STE 730                              GRANITE CITY, IL 62040                MARISSA, IL 62257
GURNEE, IL 60031-0000




LEGENDARY BLUES FESTIVAL             LEGER, PAULINE                        LEGG, MARY E.
HELENA, AR 72342                     HC 68 BOX 7A                          190 THIRD STREET P.O. BOX 275
                                     SAPELLO, NM 87745                     MASON, WV 25260




LEGGE, EDEN                          LEGGE, VICTORIA                       LEGGETT, COTY D.
476 WEST 670 NORTH                   815 OAK ST                            329 NORTH 4TH STREET
TOOELE, UT 84074                     GALESBURG, IL 61401                   BELLEVILLE, IL 62220




LEGGETT, HERBERT GRIFFIN             LEGGETT, MELINDA                      LEGGETT, MITCHELL C
1758 NC HIGHWAY 111                  952 CAMP BRANCH RD                    3054 RACE TRACK RD
OAK CITY, NC 27857                   ELIJAY, GA 30540                      ROBERSONVILLE, NC 27871




LEGGETT, PHYLLIS W                   LEGGITT, RACHEL A.                    LEGILITY LLC
830 US HWY 13/17 SOUTH               4842 CAMELLIA ST                      112 WESTWOOD PLACE
WINDSOR, NC 27983-0000               SPRINGFIELD, OR 97478                 STE 350
                                                                           BRENTWOOD, TN 37027-0000




LEGILITY LLC                         LEGRAND, BARBARA                      LEGUIZAMO, CATALINA I
216 CENTERVIEW DR, STE 250           1579 TRIAD RD                         412 LAWN CT
BRENTWOOD, TN 37027                  ST. JACOB, IL 62281                   WAUKEGAN, IL 60085
LEHAN, CYNTHIA           Case 20-10766-BLS
                                       LEHEW, Doc
                                              ELVA 6      Filed 04/07/20   Page 1038 ofANGELA
                                                                                LEHMAN, 1969 M.
4927 CARL ST                            4084 AMHERST WAY                        P O BOX 253
GRANITE CITY, IL 62040                  MARTINEZ, GA 30907                      CYPRESS, IL 62923




LEHMAN, CATHERINE L.                    LEHMAN, JONATHAN                        LEHMAN, KRISTINA C.
P O BOX 524                             ADDRESS ON FILE                         ADDRESS ON FILE
DALTON, OH 44618




LEHMAN, MARJORIE                        LEHMAN, MARSHA                          LEHMAN, MELANIE L.
853 SOUTH VINE                          2513 PORTAGE GROVE CT                   ADDRESS ON FILE
MASSILLON, OH 44647                     WOOSTER, OH 44691




LEHNERR-JOHNSON, LORI                   LEHR, ALMA                              LEHR, TRACY JOAN
709 E NORTH ST                          3033 LICKENBROCK ROAD                   141 E WALNUT ST
KNOXVILLE, IL 61448                     LENZBURG, IL 62255                      CARRIER MILLS, IL 62917




LEHR, WINSTON D.                        LEIBERMAN, CARRIE                       LEIBOLD, PAT
3240 EDGEWOOD AVE                       1402 STONEBROOKE DR                     4025 BRADEN
GRANITE CITY, IL 62040                  EDWARDSVILLE, IL 62025                  GRANITE CITY, IL 62040




LEICA BIOSYSTEMS RICHMOND, INC          LEICA BIOSYSTEMS                        LEICA MICROSYSTEMS
14008 COLLECTIONS CENTER DR             14008 COLLECTIONS CENTER DR             1700 LEIDER LANE
FKA/ SURGIPATH MEDICAL INDUSTRIES       CHICAGO, IL 60693                       BUFFALO GROVE, IL 60089
CHICAGO, IL 60693




LEICA MICROSYSTEMS, INC.                LEIDIG, DEBORAH A.                      LEIDIG, NICK H
14008 COLLECTIONS CENTER DR             ADDRESS ON FILE                         ADDRESS ON FILE
CHICAGO, IL 60693




LEIDIG, NICK H.                         LEIGEBER, CRYSTAL N.                    LEIGH A SCHISLER
ADDRESS ON FILE                         441 MARSH ROAD                          677 US HWY 150E
                                        GUNTERSVILLE, AL 35976                  GALESBURG, IL 61401




LEIGH ANN LAIRD                         LEIGH BEDOKIS PHOTOGRAPHY               LEIGH, A SCHISLER
ADDRESS ON FILE                         P.O. BOX 516                            677 US HWY 150E
                                        CARTERVILLE, IL 62918                   GALESBURG, IL 61401




LEIGH, ANN RUDD                         LEIGH, JORDAN                           LEIGH, MULLINS
2899 E 5TH ST APT10                     795 CR 534                              1822 FULLERS RIDGE ROAD
GREENVILLE, NC 27858                    WYNNE, AR 72396                         LOUISA, KY 41230
LEIGHA, CLARK           Case 20-10766-BLS    Doc
                                      LEIGHANN,    6 Filed 04/07/20
                                                GIRIUNAS              Page 1039  of 1969
                                                                           LEIGHANNA, GALE
15296 N. COUNTY FARM LN               2815 VANDEMARK ROAD                   1917 GRAND AVE
MT. VERNON, IL 62864                  LITCHFIRLD, OH 44253                  GALESBURG, IL 61401




LEIGHANNE WELLS                      LEILANIE, RAE BACA                     LEININGER, NELLIE
P.O. BOX 1315                        1240 SAVANNA DR.                       475 CARVER AVE NW
INEZ, KY 41224                       BARSTOW, CA 92311                      MASSILLON, OH 44647




LEIS, JOAN A                         LEITE SHARON B                         LEITHLITER, STACEY A. PA-C
151 CREEK ROAD                       265 OLIVERS TRAIL                      ADDRESS ON FILE
FYFFE, AL 35971                      CHERRYLOG, GA 30522




LEITNER, CHARLES                     LEJEUNE, TANYA                         LEKATHRYN GIPSON
2412 RIGGIN RD                       509 BARHAMS RIDGE DR                   868 PISGAH BOTTOM RD
TROY, IL 62294                       MCDONOUGH, GA 30252-5800               CANTON, MS 39046-8917




LELAND HALSEY                        LELAND, BRITTON                        LELAND, BRITTON
5345 GRANDVALE AVE NE                13986 WOOSTER ST NW                    13986 WORCESTER ST NW
EAST CANTON, OH 44730                NORTH LAWRENCE, OH 44666               NORTH LAWRENCE, OH 44666




LELAND, CHRISTOPHER R.               LELAND, ROSA M.                        LELAND-LYM, SUZANNE
ADDRESS ON FILE                      1411 LAKEVIEW CT                       ADDRESS ON FILE
                                     SHERRARD, IL 61281




LELANIE SERRANO                      LELEIMENE, NOELANI M.                  LELENIEWSKI LINDA M
10824 PERSHING ST.                   ADDRESS ON FILE                        2429 WOODLAWN AVE
ADELANTO, CA 92301                                                          GRANITE CITY, IL 62040




LELENIEWSKI, TERRY                   LELLYETT & ROGERS COMPANY              LELLYETT & ROGERS COMPANY
1527 6TH STREET                      1717 LEBANON ROAD                      1717 LEBANON ROAD
MADISON, IL 62060                    NASHVILLE, TN 37210                    NASHVILLE, TN 37210-0000




LELLYETT & ROGERS COMPANY            LELO, ALLEN L                          LEMAITRE VASCULAR INC
1717 LEBANON ROAD                    417 4TH STREET                         P.O. BOX 533177
NASHVILLE, TN 37210-3206             WAUKEGAN, IL 60085                     CHARLOTTE, NC 28290




LEMAITRE VASCULAR INC                LEMAITRE VASCULAR INC                  LEMAITRE VASCULAR
P.O. BOX 978979                      PO BOX 533177                          63 SECOND AVE
DALLAS, TX 75397-8979                CHARLOTTE, NC 28290                    BURLINGTON, MA 01803
LEMAITRE VASCULAR, INC. Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      LEMAN, BRETT                  Page 1040 of 1969
                                                                         LEMASTER, JEREMY
P.O. BOX 978979                       350 SUNFLOWER                      869 GRASSY FORK MILLCREEK RD
DALLAS, TX 75397-8979                 HIGHLAND, IL 62249                 GENOA, WV 25517




LEMASTER, STEVEN                    LEMASTER, THATCHER                   LEMASTER, VICTORIA L.
209 PADDLE CREEK RD                 412 BURNS ST                         ADDRESS ON FILE
FORT GAY, WV 25514                  LOUISA, KY 41230




LEMAY, DIANA                        LEMAY, ROBIN                         LEMAY, SETH E.
6125 MCCAN RD SE                    4316 ALDER PLACE                     ADDRESS ON FILE
DEMING, NM 88030                    BELLEVILLE, IL 62226




LEMBRICK, HEATHER                   LEMEN, DALE                          LEMIN, DOUGLAS E.
ADDRESS ON FILE                     126 CENTER STREET                    716 9TH ST SW
                                    GLEN CARBON, IL 62034                MASSILLON, OH 44647-7763




LEMIRE BARBARA                      LEMMON, PAIGE                        LEMMONS, JEAN
16 JANELLE DR                       8805 WENDELL CREEK DR                226 LINDEN ST
WESTFIELD, MA 01085                 ST. JACOB, IL 62281                  MCKENZIE, TN 38201




LEMONDS, SUSAN C.                   LEMONS LANA M                        LEMONS, ASHLEY N.
603 LAKEWOOD DR                     42860 N JANETTE ST                   ADDRESS ON FILE
SOCIAL CIRCLE, GA 30025             ANTIOCH, IL 60002




LEMONS, DANIELLE M.                 LEMONS, JAMES B.                     LEMONS, JAMES BRENT, CRNA
ADDRESS ON FILE                     ADDRESS ON FILE                      4098 WHITES CREEK ROAD
                                                                         PRICHARD, WV 25555




LEMONS, JOYCE L.                    LEMONS, WILLIAM                      LEMPA DOMINIC
ADDRESS ON FILE                     10870 E. HARRISON ROAD               14851 CLIFTON PARK
                                    MT. VERNON, IL 62864                 MIDLOTHIAN, IL 60445




LEMPA, RACHEL                       LEMPA, VIRGINIA N.                   LEMUS, CLAUDIA M.
38026 N ACADEMY DR                  10723 S ST LOUIS                     2510 BERRY CT
LAKE VILLA, IL 60046                CHICAGO, IL 60655                    WAUKEGAN, IL 60085




LEMUS, LAURA P.                     LENA DAVENPORT                       LENA, JOHNS
3531 KEITH AVE                      338 WEST HAVE DRIVE                  9609 SOMMERVILLE ST
GURNEE, IL 60031                    PLYMOUTH, NC 27962                   LOUISVILLE, OH 44641-8400
LENAE PEAVEY-ONSTAD Case 20-10766-BLS
                                  LENARDDoc  6 MARY
                                        ZIEGLER,  FiledR.04/07/20   Page 1041  of 1969 & THINGS
                                                                         LENAS FLOWERS
1605 W LOVELY RD                  ADDRESS ON FILE                         640 FAIRFIELD RD
SALT LAKE CITY, UT 84123                                                  MT VERNON, IL 62864




LENCE, TAMMY R.                     LEND NATION 3372                      LEND NATION 478
ADDRESS ON FILE                     1205 EAST SIBLEY BLVD                 NOVA PLAZA 1238
                                    DOLTON, IL 60409                      CAMP JACKSON RD
                                                                          CAHOKIA, IL 62206




LEND NATION                         LENDAL, ECKERT                        LENDER, ROBIN A.
12601 S WESTERN AVE                 2005 FOX VALLEY DR                    319 HARDING AVE SW
BLUE ISLAND, IL 60406               ST. JACOB, IL 62281-1051              MASSILLON, OH 44646




LENDI, GARY L.                      LENDNATION 481                        LENHARDT, KIMBERLY A.
1118 HARRISON AVE APT. 7B           515 LINCOLN HWY STATE 7               3 SYCAMORE DRIVE
DYER, IN 46311                      FAIRVEIW HEIGHTS, IL 62208            BETHALTO, IL 62010




LENIGAN, MINDY                      LENOIR-REED, EMMA                     LENON, ASHLEY
623 TANYA AVE NW                    12341 MEADOW LN/U3                    P.O. BOX 246 407 OTRICH ST
MASSILLON, OH 44646                 BLUE ISLAND, IL 60406                 CREAL SPRINGS, IL 62922




LENORGANT, LISA                     LENOVO (U.S) INC                      LENOX, DENISE R.
ADDRESS ON FILE                     P.O. BOX 643068                       ADDRESS ON FILE
                                    PITTSBURGH, PA 15264-3068




LENS MASTER                         LENSING BUILDING SPECIALTIES          LENSTEC, INC.
11309 MIDLAND BLVD                  600 NORTH SIXTH AVENUE                1765 COMMERCE AVENUE N.
ST LOUIS, MO 63114                  P.O. BOX 965                          ST. PETERSBURG, FL 33716
                                    EVANSVILLE, IN 47706




LENTZ, WENDY L.                     LENZ, ELIZABETH                       LENZ, ELYSE
ADDRESS ON FILE                     ADDRESS ON FILE                       ADDRESS ON FILE




LENZA, LUIS                         LENZ-CASS, DONALD                     LENZI, EDWARD F
325 HUMMINGBIRD                     ADDRESS ON FILE                       3237 AUBREY AVE
GREENVILLE, AL 36037                                                      GRANITE CITY, IL 62040




LENZY, REGINA                       LEOLA SEAWRIGHT                       LEOLA, CASKEY
919 PERRY DRIVE. N.W.               197 RIVERS DR                         24111 HWY 32
CANTON, OH 44708                    GREENVILLE, AL 36037-4093             MARTHA, KY 41159
LEOMBRUNI, JENNIFER     Case 20-10766-BLS   Doc 6 LLC
                                      LEON COSGROVE Filed 04/07/20   Page 1042  of 1969
                                                                          LEON EYER
4474 W TUCKER LN                       255 ALHAMBRA CR                    3761 NITTANY VALLEY DR
WAUKEGAN, IL 60085                     STE 800                            HOWARD, PA 16841
                                       CORAL GABLES, FL 33134




LEON, ALEJANDRA D.                     LEONA CHARLES                      LEONA TITUS
ADDRESS ON FILE                        12 SPARKLES DR                     1343 66TH STREET
                                       KERMIT, WV 25674-7242              SPRINGFIELD, OR 97478-7178




LEON-AGUAYO, ZENAIDA                   LEONARD ALIU                       LEONARD C BINKLEY JR CPA
1960 18TH                              303 S SCOTT                        107 S GOVERNORS COVE
SPRINGFIELD, OR 97477                  ALEXIS, IL 61412                   HENDERSONVILLE, TN 37075




LEONARD C BINKLEY, JR CPA              LEONARD DINGESS                    LEONARD MARIA E
107 SOUTH GOVERNORS COVE               P.O. BOX 28                        19900 128TH ST
HENDERSONVILLE, TN 37075               KERMIT, WV 25674                   LOT 42
                                                                          BRISTOL, WI 53104




LEONARD SALAZAR                        LEONARD STRAND                     LEONARD, BEVERLY
HC 68 BOX 15CC                         408 NEWMAN ST                      14611 LASALLE ST
SAPELLO, NM 87745                      KNOXVILLE, IL 61448                DOLTON, IL 60419




LEONARD, CELINE J.                     LEONARD, CLARK                     LEONARD, JAMES
15620 PINE RD                          12216 S SANGAMON ST                960 S. BUHRMAN
OAK FOREST, IL 60452                   CHICAGO, IL 60643-5514             NASHVILLE, IL 62263




LEONARD, KAREN A.                      LEONARD, LESLIE                    LEONARD, SHARELL B.
ADDRESS ON FILE                        43 GRATHLER LANE                   18 SCARLET DR
                                       STONEFORT, IL 62987                BELLEVILLE, IL 62220




LEONARD, VICTORIA W.                   LEONARD, WILLIAM C.                LEONARDS RX PHARMACY
6130 NC HIGHWAY 33 E                   19581 NORTHWINDS DR                P.O. BOX 671
TARBORO, NC 27886                      LYNWOOD, IL 60411                  BIG SPRING, TX 79721




LEONE, ERNEST J                        LEONEL ,SOTELO                     LEONEL SOTELO
7 FAWN VIEW LANE                       12225 S 44TH PL                    12225 44TH PL
FLORENCE, OR 97439                     ALSIP, IL 60803                    ALSIP, IL 60803




LEONEL, SOTELO                         LEONELLI, TAELOR                   LEONETTI, CYNTHIA
12225 S 44TH PL                        ADDRESS ON FILE                    4468 KETTERING DR
ALSIP, IL 60803                                                           LONG GROVE, IL 60047
LEONHARD CHRISTIAN I     Case 20-10766-BLS   Doc RACHEL
                                       LEONHARDY, 6 Filed
                                                        E. 04/07/20   Page 1043   of 1969V.
                                                                           LEONI, ANNETTE
1307 CHESTNUT DRIVE                     ADDRESS ON FILE                     4505 W 163RD PL
GREENVILLE, IL 62246                                                        LOWELL, IN 46356




LEONI, KATHLEEN                         LEONILO GARCIA                      LEON-MORALES, JOSE JESUS
ADDRESS ON FILE                         2609 WASSON RD                      ADDRESS ON FILE
                                        APT. 54
                                        BIG SPRING, TX 79720




LEOTA, BECK                             LEPERE, SARA B.                     LEPP, PAUL H.
2213 APPLEGROVE ST NW                   509 STILL HOLLOW RUN                6484 AMBLEWOOD ST NW
NORTH CANTON, OH 44720                  OFALLON, IL 62269                   CANTON, OH 44718




LEPPELLERE, CAITLIN S.                  LERCH, DEBRA J.                     LERDAHL, JAMES CARL
1913 186TH PLACE                        309 RED ROW                         772 COUNTRY CLUB DR
HOMEWOOD, IL 60430                      MARION, IL 62959                    STANSBURY PARK, UT 84074




LERNER, PATRICIA F                      LEROY, BOULTON                      LEROY, CHAVOUS JR
19430 BEECHNUT DRV                      18845 CHURCH RD                     630 DRAGSTRIP RD
MOKENA, IL 60448                        DALTON, OH 44618                    AIKEN, SC 29803-8983




LEROY, H LACY                           LEROY, MICHAEL RHEINECKER           LEROY, MICHAEL SCOTT
1386 HIGHWAY 9                          1014 RAYMOND DRIVE                  164 S 17TH PL
ANIMAS, NM 88020                        RED BUD, IL 62278                   SPRINGFIELD, OR 97477-5235




LEROY, MUSKOPF                          LEROY, SCHIE                        LES SCHWAB
400 OLD FLORAVILLE ROAD                 133 ROSANNA AVE                     1162 NORTH MAIN
WATERLOO, IL 62298                      STRASBURG, OH 44680                 TOOELE, UT 84074




LESA SMITH                              LESA, DAMRON                        LESAULNIER PAUL A
2037 COUNTY ROAD 664                    1143 GENOA HILL ROAD                11 CAROL DR
HENAGAR, AL 35978                       GENOA, WV 25517                     WATERLOO, IL 62298




LESEMANN & ASSOCIATES LLC               LESH, WILLIAM                       LESIKAR, SUE
418 KING ST, STE 301                    325 FRONT ST NO 234                 1315 HIGHWAY 412 E
CHARLESTON, SC 29403                    EVANSTON, WY 82930-3633             JACKSON, TN 38305




LESJAK, JONALEE T.                      LESKO, BRIAN                        LESKO, NORMA
1910 E. HIGH AVE                        524 FEDERAL AVE E                   152 CENTRAL AVE
NEW PHILADELPHIA, OH 44663              APT 302                             GRANITE CITY, IL 62040
                                        SEATTLE, WA 98102-0000
LESLEY KERBY             Case 20-10766-BLS
                                       LESLEY Doc 6 Filed 04/07/20
                                              STAMPER                    Page 1044
                                                                              LESLIE of 1969
                                                                                     GIBBONS
P.O. BOX 60                             130 ROBINSON RD.                      32771 HAWK AVE
MENTONE, AL 35984                       JACKSON, KY 41339                     ELKPORT, IA 52044




LESLIE GORRELL                          LESLIE HEBBELER                       LESLIE MIKAELIAN
ADDRESS ON FILE                         ADDRESS ON FILE                       117 DUNWOODY DR
                                                                              GLEN CARBON, IL 62034




LESLIE R RIPPER                         LESLIE RODRIGUEZ                      LESLIE ROGERS
ADDRESS ON FILE                         1519 E 17TH ST                        5704 MASON RD
                                        BIG SPRING, TX 79720                  HARLEM, GA 30814




LESLIE STROBEL                          LESLIE, CHRIS M.                      LESLIE, EDITH
2 RICKHAVEN DR                          ADDRESS ON FILE                       251 KIMBERLY AVE
COLLINSVILLE, IL 62234                                                        EVANSTON, WY 82930-2206




LESLIE, KRYSTAL                         LESLYE NORTON                         LESLYE, ADA NORTON
123 MALLARD DR                          ADDRESS ON FILE                       ADDRESS ON FILE
PONTOON BEACH, IL 62040




LESSARD, NICOLE                         LESSAU, CRYSTAL                       LESSENBERRY, JERRY
1206 44TH ST. NW                        P.O. BOX 1437                         2050 SCARCE CREEK RD
CANTON, OH 44709                        DEMING, NM 88031                      LEXINGTON, TN 38351




LESTER HAMPTON                          LESTER LAURA J                        LESTER, BARBARA
123 MOCKINGBIRD LN                      1933 BAIRD AVE                        2918 COUNTY ROAD 151
MARTIN, TN 38237                        GALESBURG      IL, IL 61401           HENAGAR, AL 35978




LESTER, BARBIE                          LESTER, EVA M.                        LESTER, HERKEISHA D.
P.O. BOX 305                            ADDRESS ON FILE                       ADDRESS ON FILE
GILBERT, WV 25621




LESTER, JEFFREY, SR.                    LESZAK, KARA K.                       LETHAM, SHAREN
103 7TH ST SW                           ADDRESS ON FILE                       833 LAURI JO LN SW
BEACH CITY, OH 44608                                                          MASSILLON, OH 44647




LETICIA AGUALLO                         LETICIA BENITEZ                       LETITIA HILL-BRANDON
12743 WINCHESTER AVE                    16473 GREEN TREE BLVD SPACE 15        12716 S. ADA ST
BLUE ISLAND, IL 60406                   VICTORVILLE, CA 92395                 CALUMET PARK, IL 60827-6408
LETT, KEVIN J.           Case 20-10766-BLS    DocL6
                                       LETT, MAMIE          Filed 04/07/20   Page 1045   of 1969
                                                                                  LETT, TISHER
947 S SHACKLEVILLE RD                   447 E PARMER ST                           853 W 129TH PL
GREENVILLE, AL 36037                    GREENVILLE, AL 36037                      CHICAGO, IL 60643




LETTO, PAUL                             LETTSOME, RITA A.                         LETZ, ALICIA
ADDRESS ON FILE                         ADDRESS ON FILE                           2317 MASCOUTEN DR
                                                                                  SPRINGFIELD, IL 62702




LEU, CAROLYN                            LEUBSCHER, PAUL A.                        LEUCK, LAWRENCE
2454 N ORCHARD LN                       8907 S MAIN ST                            76 KENDALL DR
ROUND LAKE BEACH, IL 60073              HOMETOWN, IL 60456                        WOOD RIVER, IL 62095




LEVAN, CHERYL                           LEVASSEUR, SHAYLA                         LEVEK, RENEE
ADDRESS ON FILE                         2721 CINDY LN                             6083 TRA LANE
                                        BIG SPRING, TX 79720-6708                 COLLINSVILLE, IL 62234




LEVENSAILOR, JOSH                       LEVERETT, SHIRLEY T.                      LEVERING, BLANCHE L.
1251 BRANDY LN                          311 APOLLO DR                             ADDRESS ON FILE
TOOELE, UT 84074                        THOMSON, GA 30824-1610




LEVERING, PENNY L.                      LEVERING, PENNY                           LEVESQUE, MARLENA
717 W. HAFEN LANE UNIT 13 B             717 HAFEN LANE 13B                        1201 E BOYTON ST 2B
MESQUITE, NV 89027                      MESQUITE, NV 89027                        MARION, IL 62959




LEVESQUE, MICHELINE                     LEVI BACHLER                              LEVI FORD
325 E 740 N                             797 W 175 S.                              ADDRESS ON FILE
TOOELE, UT 84074                        SPRINGVILLE, UT 84663




LEVI J. NOBLE                           LEVINE MICHELA                            LEVINE, ALAN G
65 BLACKBERRY DRIVE                     391 STUART MTN ROAD                       37143 HILLS CREEK ROAD
JACKSON, KY 41339                       MINERAL BLUFF, GA 30559                   SPRINGFIELD, OR 97477




LEVINE, LUKE J.                         LEVINGS, DENISE B.                        LEVINSKAS, JOSEPH J
ADDRESS ON FILE                         ADDRESS ON FILE                           2401 CARMEN CT
                                                                                  LINDENHURST, IL 60046




LEVITT, AMANDA                          LEVY, EDWARD                              LEWALLEN, ANNA
4954 N CLAREMONT AVE                    2007 SKEEN ST                             1455 PERU MILL RD
CHICAGO, IL 60625-1912                  MADISON, IL 62060                         DEMING, NM 88030
LEWALLEN, GLORIA       Case 20-10766-BLS   DocSAMANTHA
                                     LEWALLEN,  6 Filed 04/07/20            Page 1046 ofASHLEY
                                                                                 LEWAND, 1969 C.
ADDRESS ON FILE                       614 COLGATE AVE                            12119 43RD AVE
                                      BIG SPRING, TX 79720                       PLEASANT PRAIRIE, WI 53158




LEWELLYN NANCY K                      LEWIS BRISBOIS BISGAARD & SMITH LLP        LEWIS BROTHERS BAKERIES INC OF TN
1110 SUGAR CREEK RD                   633 W FIFTH ST                             500 N FULTON AVE
BLUE RIDGE, GA 30513                  STE 4000                                   EVANSVILLE, IN 47710
                                      LOS ANGELES, CA 90071




LEWIS CAROL A                         LEWIS CONTRACTING                          LEWIS FLORENCETTA
ADDRESS ON FILE                       432 GRADY HUNT ROAD                        P.O. BOX 1839
                                      MORGANTON, GA 30560                        CORBIN, KY 40702-1839




LEWIS FRESH MARKET                    LEWIS JOHN R                               LEWIS JUDY E
2727 W GRAND AVE                      321 MARVISTA LN                            ADDRESS ON FILE
WORKERS COMP CLAIMS                   TOOELE, UT 84074
WAUKEGAN, IL 60085




LEWIS SARAH                           LEWIS SYSTEMS & SERVICE CO., INC           LEWIS TREE/PENN-DEL
P.O. BOX 656                          140 N BUSINESS COURT                       300 LUCIUS GORDON DR
BOONEVILLE, KY 41314                  ROCKY MOUNT, NC 27804                      WEST HENRIETTA, NY 14586




LEWIS, AMELIA                         LEWIS, ANGELA K.                           LEWIS, ARLIE L.
25 SPRING VALLEY CROSSING             800 NORTH FOURTH STREET                    P.O. BOX 401
COVINGTON, GA 30016                   WEST HELENA, AR 72390                      OVERTON, NV 89040




LEWIS, ASHELY                         LEWIS, BRENNA D.                           LEWIS, BRENT W.
6588 S. 630 W.                        ADDRESS ON FILE                            P.O. BOX 1808
MURRAY, UT 84123                                                                 OVERTON, NV 89040




LEWIS, BRITTANI J.                    LEWIS, CAROL                               LEWIS, CLARENCE
2393 MAPLEGROVE AVE                   ADDRESS ON FILE                            6836 HIGHWAY 261
LOUISVILLE, OH 44641                                                             MARIANNA, AR 72360




LEWIS, DARIAN                         LEWIS, DARRELL                             LEWIS, DEBORAH ANNETTE
ADDRESS ON FILE                       3811A GODFREY AVENUE NE                    7779 BLUE POND BLVD E
                                      FORT PAYNE, AL 35967                       SYLVANIA, AL 35988-2108




LEWIS, FANCHON                        LEWIS, GENEVA                              LEWIS, JAMES, SR.
14801 WOOD ST                         6743 BRIDGESTONE CR NE                     9 NORTH HIGHLAND E
HARVEY, IL 60426                      CANTON, OH 44721                           MT VERNON, IL 62864
LEWIS, JANIE            Case 20-10766-BLS     Doc 6 JR.Filed 04/07/20
                                      LEWIS, JEFFREY,                   Page 1047
                                                                             LEWIS, of 1969
                                                                                    JOHN A.
38 PLYMOUTH COVE                        14295 MCRAVEN LN                     ADDRESS ON FILE
JACKSON, TN 38305                       MOUNT VERNON, IL 62864




LEWIS, JORDAN T.                        LEWIS, JORDAN                        LEWIS, JUDY A.
1335 S COLLEGE ST                       790 WHITHAM WAY                      ADDRESS ON FILE
SALEM, IL 62881                         HARRISBURG, OR 97446




LEWIS, KATHY                            LEWIS, KATRINA R.                    LEWIS, LEONARD W.
102 BROOKHOLLOW DR                      2262 UNION STREET                    35295 HOGAN DRIVE
EVANSTON, WY 82930                      BLUE ISLAND, IL 60406                BEAUMONT, CA 92223




LEWIS, LORA                             LEWIS, MARILYN D.                    LEWIS, MARY E.
190 E THOMAS RD.                        ADDRESS ON FILE                      1740 NORTH AVE 8
BLUE RIDGE, GA 30513                                                         WAUKEGAN, IL 60085




LEWIS, NATALIE R.                       LEWIS, NICKOLAS                      LEWIS, PAIGE
ADDRESS ON FILE                         878 DEER FLAT RD                     739 E 152ND ST
                                        TOOELE, UT 84074                     PHOENIX, IL 60426




LEWIS, PAPER                            LEWIS, PHYLLIS H                     LEWIS, PHYLLIS H
18608 SOUTH 81ST AVENUE                 10539 COUNTY ROAD 137                P.O. BOX 311
TINLEY PARK, IL 60487                   VALLEY HEAD, AL 35989-0311           VALLEY HEAD, AL 35989-0311




LEWIS, RICHARD R.                       LEWIS, ROCHELLE                      LEWIS, SAMANTHA
9210 HUNTERBORO DRIVE                   2359 MALONE AVE SE                   260 MALLARD DR P.O. BOX 912
BRENTWOOD, TN 37027                     MASSILLON, OH 44646                  WOOTON, KY 41776




LEWIS, SARAH M.                         LEWIS, SHERYTA L.                    LEWIS, SHIN M.
337 BRIARWOOD DR                        4362 ELLIOTT RD                      ADDRESS ON FILE
WINDER, GA 30680                        GRANITE CITY, IL 62040




LEWIS, TERESA P.                        LEWIS, THERESA P.                    LEWIS, THERESA
1151 LAKESIDE DRIVE·                    ADDRESS ON FILE                      ADDRESS ON FILE
WILLIAMSTON, NC 27892




LEWIS, TIFFANY                          LEWIS, TIFFANY                       LEWIS, TREVOR
13655 DEL CERRO ST                      820 E MOUNTAIN VIEW ST               ADDRESS ON FILE
VICTORVILLE, CA 92392                   BARSTOW, CA 92311
LEWIS, VIRGINIA B       Case 20-10766-BLS    Doc 6 R. Filed 04/07/20
                                      LEWIS, WILLIAM                       Page 1048
                                                                                LEWIS, of 1969
                                                                                       ZANE A.
CREVE COEUR, MO                         205 SUNRIDGE RD                         ADDRESS ON FILE
                                        APT C
                                        AIKEN, SC 29803-7390




LEWTON, MARY                            LEX. BIG RED QUARTERBACK CLUB           LEXICON RELOCATION LLC
130 BELLE AVE NW                        C/O 84 WHITE STREET                     815 S MAIN ST
MASSILLON, OH 44646                     LEXINGTON, TN 38351                     JACKSONVILLE, FL 32207




LEXINGTON ASPHALT CO, INC               LEXINGTON BEARING                       LEXINGTON BETA BOOSTER CLUB
15550 NATCHEZ TRACE RD                  792 WEST CHURCH ST                      284 WHITE ST
LEXINGTON, TN 38351                     LEXINGTON, TN 38351                     LEXINGTON, TN 38351




LEXINGTON CLINIC CORP                   LEXINGTON COCA-COLA BOTTLING            LEXINGTON DISCOUNT DRUG
1573 MALLORY LANE, SUITE 100            P.O. BOX 239                            148 W CHURCH ST
BRENTWOOD, TN 37027                     CORINTH, MS 38835-0239                  LEXINGTON, TN 38351




LEXINGTON ELECTRIC SYSTEM               LEXINGTON ELECTRIC SYSTEM               LEXINGTON FAMILY PHYSICIANS, LLC
92 S MAIN ST                            P.O. BOX 219                            1209 ORANGE STREET
LEXINGTON, TN 38351                     LEXINGTON, TN 38351                     WILMINGTON, DE 19801




LEXINGTON FLORIST                       LEXINGTON HERALD LEADER                 LEXINGTON HIGH SCHOOL
308 W CHURCH ST                         P.O. BOX 510118                         284 WHITE STREET
LEXINGTON, TN 38351                     LIVONIA, MI 48151                       LEXINGTON, TN 38351




LEXINGTON HOSPITAL CORPORATION          LEXINGTON MEDICAL INC.                  LEXINGTON PROGRESS
200 W. CHURCH STREET                    11 EXECUTIVE PARK DR.                   508 SOUTH BROAD ST
LEXINGTON, TN 38351                     BILLERICA, MA 01862                     LEXINGTON, TN 38351




LEXINGTON UTILITIES                     LEXION MEDICAL LLC                      LEXION MEDICAL
54 MONROE AVE                           545 ATWATER CIR                         545 ATWATER CIRCLE
LEXINGTON, TN 38351-2198                ST PAUL, MN 55103                       ST PAUL, MN 55103




LEXION MEDICAL, LLC                     LEXMARK ENTERPRISE SOFTWARE USA,        LEXOW, CHRISTY E
545 ATWATER CIRCLE                      INC.                                    6837 HAMPSHIRE CT
ST. PAUL, MN 55103                      P.O. BOX 846261                         MARYVILLE, IL 62062
                                        DALLAS, TX 75284-6261




LEY, ROBERT E                           LEYBA SELINA                            LEYBA, LINDA M.
403 LINDLEY LANE                        C/O AVRH                                ADDRESS ON FILE
EUGENE, OR 97401-0000                   104 LEGION DR
                                        LAS VEGAS, NM 87701
LEYBA, PETRA           Case 20-10766-BLS    Doc 6
                                     LEYBA, POLLY        Filed 04/07/20   Page 1049
                                                                               LEYBA, of 1969
                                                                                      SELINA
5615 ARCHBRIDGE CT                    P.O. BOX 401                             HC 33 189
ARLINGTON, TX 76017                   CLEVELAND, NM 87715                      MONTEZUMA, NM 87731




LEYVA NAOMI                           LEYVA, GERALDINE                         LGS HOLDING, LLC
403 N 17                              3457 SHERIDAN RD. APT. 112               P.O. BOX 346
ALPINE, TX 79830                      ZION, IL 60099                           BEATTYVILLE, KY 41311




LHASA OMS, INC                        LI, EDWARD L.                            LIABRAATEN, LARRY D
230 LIBBEY INDUSTRIAL PARKWAY         ADDRESS ON FILE                          3255 GATEWAY ST APT 14
WEYMOUTH, MA 02189                                                             SPRINGFIELD, OR 97477-1037




LIAO, IAN L.                          LIBBA K PEEK                             LIBERTY GRAPHICS AND SIGNS LLC
ADDRESS ON FILE                       7072 COUNTY ROAD 223                     P.O. BOX 696
                                      COLLINSVILLE, AL 35961                   600 N MARKET ST
                                                                               MARION, IL 62959




LIBERTY MUTUAL                        LIBERTY MUTUAL                           LIBERTY NATIONAL LIFE
P.O. BOX 7203                         P.O. BOX 7205                            P.O.BOX 8080
LONDON, KY 40742                      LONDON, KY 40742                         MCKINNEY, TX 75070-8080




LIBERTY NORTHWEST                     LIBIA, ILLIS                             LIBRIX LLC
P O BOX 7205                          1336 MARIPOSA WAY                        222 SOUTH CENTRAL AVE
LONDON, KY 40742                      MESQUITE, NV 89027                       STE 802
                                                                               CLAYTON, MO 63105




LICHON, THERESA                       LICHT-TALLENT, KRISTIN E.                LICKENBROCK, ROBERT V.
ADDRESS ON FILE                       1020 N HOWARD                            ADDRESS ON FILE
                                      CARLSBAD, NM 88220




LICKING VALLEY RURAL ELEC COOP        LICKING VALLEY RURAL ELEC COOP           LICY JACOB
271 MAIN ST                           P.O. BOX 605                             6316 TIERRA VISTA CIRCLE
WEST LIBERTY, KY 41472                WEST LIBERTY, KY 41472-0605              LAKELAND, FL 33813-4847




LIDDELL GRIEGO, CANDACE A.            LIDDIARD, ASHLYN                         LIEB, CYNTHIA
1201 LACROIX LN APT 118               ADDRESS ON FILE                          918 MOORFIELD PARK DR
TOOELE, UT 84074                                                               OFALLON, IL 62269




LIEBEL-FLARSHEIM CO, LLC              LIEBERMAN, JUSTIN                        LIEBERMAN, LISA D.
P.O. BOX 3571                         1402 STONEBROOK DR                       336 ALAMO AVE
CAROL STREAM, IL 60132-3571           EDWARDSVILLE, IL 62025                   SANTA CRUZ, CA 95060
LIEBERMANN, ANTHONY      Case 20-10766-BLS
                                       LIEBERT,Doc 6 M.Filed 04/07/20
                                                DEANNE                     Page 1050  ofDEANNE
                                                                                LIEBERT, 1969 M.
2416 AMHERST AVE                         ADDRESS ON FILE                        ADDRESS ON FILE
MASSILLON, OH 44646




LIEBERT, JUDITH F                        LIEBETRAU, NORA E.                     LIEBETRAU, THOMAS
345 LAKEWOOD DR                          ADDRESS ON FILE                        230 HACKBERRY DR
ANTIOCH, IL 60002                                                               GALESBURG, IL 61401




LIEBIG, MICHELLE                         LIEBLONG, SHEILA                       LIECHTY MCGINNIS BERRYMAN & BOWEN
205 SHRIVER AVE SE                       P O BOX 405                            LLP
MASSILLON, OH 44646                      FORREST CITY, AR 72336                 11910 GREENVILLE AVE, STE 400
                                                                                DALLAS, TX 75243




LIEFER, GARY                             LIEFER, HENRY                          LIEFER, KORY
9767 BALDWIN RD                          351 LOCKWOOD DRIVE                     5631 WINDING PATH LANE
BALDWIN, IL 62217                        RED BUD, IL 62278                      WATERLOO, IL 62298




LIEFER, LOUANN                           LIEFER, PAMELA                         LIEFER, PAMELA
2817 AMES RD                             11 HENRY CT                            ADDRESS ON FILE
RED BUD, IL 62278-4009                   RUMA, IL 62278




LIEFER, SUSAN R.                         LIEFER, TYLER                          LIENEKE, CHERI
ADDRESS ON FILE                          100 N JACKSON ST                       931 UNIVERSITY DR
                                         NEW ATHENS, IL 62264-1210              EDWARDSVILLE, IL 62025




LIENHARDT, JAMES                         LIEPITZ AMAMDA S                       LIEPITZ, AMAMDA S
720 HILLSIDE AVE                         722 EIKER DR                           722 EIKER DR
ANTIOCH, IL 60002                        KNOXVILLE, IL 61448                    KNOXVILLE, IL 61448




LIESEGANG, CONARD RAY                    LIESEGANG, NAOMI                       LIESEN, DANIEL
304 LIESEGANG ROAD                       410 LIESEGANG ROAD                     655 WILLIAMSBURG AVE
BEATTYVILLE, KY 41311                    BEATTYVILLE, KY 41311                  GURNEE, IL 60031




LIFE INSTRUMENT CORPORATION              LIFE NET HEALTH                        LIFE NET HEALTH
91 FRENCH AVENUE                         P.O. BOX 79636                         PO BOX 79636
BRAINTREE, MA 02184                      BALTIMORE, MD 21279-0636               BALTIMORE, MD 21279-0636




LIFE SAFETY SERVICES                     LIFE SAFETY SERVICES, LLC              LIFE SAFETY SERVICES, LLC
908 S 8TH STREET                         908 SOUTH 8TH STREET, SUITE 500        908 SOUTH 8TH STREET, SUITE 500
SUITE 500                                LOUISEVILLE, KY 40203                  LOUISVILLE, KY 40203
LOUISVILLE, KY 40203
LIFE SERVICES        Case 20-10766-BLS    Doc 6INTERNATIONL
                                   LIFE SYSTEMS    Filed 04/07/20         Page 1051   of 1969
                                                                               LIFE, SUE
NETWORK TRUST C/O CLAIMS ONE       2102 CAMBRIDGE BELTWAY DR                   144 WINDALE DRIVE
225 SMITH RD                       STE A                                       JACKSON, TN 38305
ST CHARLES, IL 60174               CHARLOTTE, NC 28273




LIFEBOAT ALLIANCE                   LIFECARE TECHNOLOGY INC                    LIFECELL CORP
P.O.BOX 76                          113 PRODUCTION DRIVE 2                     P.O. BOX 301582
MT. VERNON, IL 62864                SLIDELL, LA 70460-4647                     DALLAS, TX 75303-1582




LIFEGAS                             LIFEGUARD STORE, THE                       LIFELINE BLOOD SERVICES
                                    903 MORRISSEY DR                           P.O. BOX 1000, DEPT 958
                                    BLOOMINGTON, IL 61701                      MEMPHIS, TN 38148-0958




LIFELOC TECHNOLOGIES                LIFENET CORP                               LIFENET HEALTH INC
12441 WEST 49TH AVE                 P.O. BOX 79636                             P.O. BOX 79636
SUITE 4                             BALTIMORE, MD 21279-0636                   BALTIMORE, MD 21279
WHEAT RIDGE, CO 80033




LIFENET HEALTH INC                  LIFENET HEALTH INC                         LIFENET HEALTH
P.O. BOX 79636                      P.O. BOX 79636                             P.O. BOX 79636
BALTIMORE, MD 21279-0636            VALTIMORE, MD 21279-0636                   BALTIMORE, MD 21279-0636




LIFES WORTH LIVING FOUNDATION       LIFESIZE, INC.                             LIFESOURCE BLOOD SERVICES
P.O. BOX 1147                       1601 S. MOPAC EXPRESSWAY, SUITE 100        29668 NETWORK PLACE
TOOELE, UT 84074                    AUSTIN, TX 78746                           CHICAGO, IL 60673-1296




LIFESTREAM                          LIFESTYLE HEALTH PLANS                     LIFSEY, KAREN
P.O. BOX 1429                       345 N RIVERVIEW                            19975 STATE ROUTE 114
SAN BERNARDINO, CA 92402-1429       SUITE 600                                  HOLLOW ROCK, TN 38342
                                    WICHITA, KS 67203




LIGENZA-GRAY, HOPE                  LIGHT TECH INC                             LIGHT, CONNIE
ADDRESS ON FILE                     8900 W JOSEPHINE RD                        215 LONG ST SOUTH
                                    SEBRING, FL 33875                          WYNNE, AR 72396




LIGHT, JIMMY                        LIGHT, PHYLLIS                             LIGHTEN ENTERPRISE
3907 W OAK WAY SW                   75 MILL CREEK LAWSON RD                    P.O. BOX 547
HUNTSVILLE, AL 35801                JACKSON, KY 41339                          MEALLY, KY 41234




LIGHTEN ENTERPRISE                  LIGHTFOOT, DEBBRA                          LIGHTFOOT, MARIA
P.O. BOX 547                        133 GENOA AVE SW                           ADDRESS ON FILE
MEALY, KY 41234                     MASSILLON, OH 44646
                       Case 20-10766-BLS
LIGHTHOUSE SECURITY & ALARM                  Doc SHELTER,
                                     LIGHTHOUSE   6 Filed   04/07/20
                                                          THE          Page 1052  of 1969
                                                                            LIGHTSEY, REBECCA
704 HWY 64 EAST                      P.O. BOX 732                            ADDRESS ON FILE
WYNNE, AR 72396                      1101 N MADISON
                                     MARION, IL 62959




LIGNOUL, GUSTAVE                      LIGON, CHERYL                          LIJEWSKI, LESTER L.
2901 FORTUNE DR                       3450 US HWY 51 S                       ADDRESS ON FILE
GRANITE CITY, IL 62040                ANNA, IL 62906




LIKE, RENEA M.                        LIKENS, ELIZABETH A.                   LIKES, JAMMI L.
77 CR 747                             ADDRESS ON FILE                        8362 SASSAFRAS RD
COLT, AR 72326                                                               DU QUOIN, IL 62832




LIKES, JAMMI L.                       LIKUA, KALAE                           LILE INTL COMPANIES
ADDRESS ON FILE                       341 EMMARENE ST                        8060 SW PFAFFLE STREET, SUITE 200
                                      MESQUITE, NV 89027                     TIGARD, OR 97223




LILIA ALMAZAN                         LILIANA C SAMANIEGO                    LILJA, KIP A
3216 FM 2401                          295 GRAYCE DR                          7725 BELMONT
GARDEN CITY, TX 79739                 MESQUITE, NV 89027                     HAMMOND, IN 46324




LILJA, TIMOTHY J.                     LILLEGREN, LARRY HILDING               LILLEY IDALIA
ADDRESS ON FILE                       40983 MCKENZIE HIGHWAY                 2835 FIRE DEPT RD
                                      SPRINGFIELD, OR 97478-0000             WILLIAMSTON, NC 27892




LILLEY, DONNA                         LILLEY, HANNAH                         LILLEY, LAURENCE E JR
2022 CHARLES TAYLORD RD               ADDRESS ON FILE                        300 COUNTRY DR
AULANDER, NC 27805-9775                                                      WILLIAMSTON, NC 27892




LILLEY, LAURENCE                      LILLEY, PAUL                           LILLEY, SHELBY MIZELLE
300 COUNTRY DRIVE                     4200 SANDY BRANCH RD                   201 FAIRVIEW STREET
WILLIAMSTON, NC 27892-2900            ALMA, IL 62807-1120                    WILLIAMSTON, NC 27892




LILLEY, WENDY L.                      LILLIAM, ARCHIE                        LILLIAN CARSON
4901 US HIGHWAY 17                    454 HOXIE AVE                          7359 HIGHWAY 124
WILLIAMSTON, NC 27892                 CALUMET CITY, IL 60409                 MCKENZIE, TN 38201




LILLIAN RITCHEY                       LILLIAN WILLIAMS                       LILLIAN, BROGAN
1598 1ST ST NE                        ADDRESS ON FILE                        423 DOVE LN
APT P                                                                        SOCIAL CIRCLE, GA 30025-3065
MASSILLON, OH 44646
LILLIAN, FAY DROGE       Case 20-10766-BLS
                                       LILLIAN, Doc  6 Filed 04/07/20
                                                FAY DROGE               Page 1053    of 1969H JR
                                                                             LILLIE, EDWARD
104 HOLLY TERRACE                        12150 LAGUNA DRIVE                   5660 DAISY ST SPC 82
ANNA, IL 62906                           MARION, IL 62959                     SPRINGFIELD, OR 97478




LILLIE, KRISTINA J.                      LILLIE, LONDON                       LILLY RICHARD R
ADDRESS ON FILE                          14635 GREENWOOD RD                   369 TAYLOR ROAD
                                         DOLTON, IL 60419                     TURTLETOWN, TN 37391




LILLY, FRANCIS                           LILLY, GLORIA J.                     LILLY, RICHARD R
14227 WENTWORTH AVE                      19341 OAK AVE                        369 TAYLOR ROAD
RIVERDALE, IL 60827                      COUNTRY CLUB HILLS, IL 60478         TURTLETOWN, TN 37391




LILYANNA, REINIER                        LIM, GEORGE                          LIMA USA INC
5219 SUNDROP COURT                       417 BUENA FORTUNA CIR.               2001 NE GREEN OAKS BLVD STE 100
GODFREY, IL 62035                        ATASCADERO, CA 93422                 ARLINGTON, TX 76006




LIMB, SIERRA                             LIMBAUGH, ROBERT L                   LIMING, JAMIE J.
1613 WEST SAGE STREET                    4842 INDIAN HILLS DR                 ADDRESS ON FILE
EVANSTON, WY 82930                       EDWARDSVILLE, IL 62025




LIMON IRMA                               LIMON JOHANNESSEN, LAURA             LIMON, GUADALUPE I.
2401 HERMON AVE                          201 SPRING CREEK DR                  ADDRESS ON FILE
ZION, IL 60099                           EUGENE, OR 97404-0000




LIMPER, SARAH                            LIN JAMES                            LIN, JAMES
2661 CEDAR GROVE DR                      495 ALEXANDER LOOP                   4260 NORTHRISE DR APT 1222
BELLEVILLE, IL 62221                     EUGENE, OR 97401                     LAS CRUCES, NM 88011




LINA, JONES                              LINANE, JOHN P.                      LINCARE
P.O.BOX 132                              11259 S. CENTRAL PARK                P.O. BOX 2908
WILLIAMSTON, NC 27892-0000               CHICAGO, IL 60655                    SPOKANE, WA 99220




LINCARE, INC                             LINCARE, INC.                        LINCOLN COUNTY HEALTH SYSTEM
P.O. BOX 3187                            ATTN: ACCOUNTS PAYABLE               106 MEDICAL CENTER BOULEVARD
SPOKANE, WA 99220-3187                   2514 REGENCY ROAD, SUITE 101         P.O. BOX 637
                                         LEXINGTON, KY 40503                  FAYETTEVILLE, TN 37334-0637




LINCOLN PARK LLC                         LINCOLN PTO                          LINCOLN SELF RELIANCE INC
501 7TH STREET                           LINCOLN ELEMENTARY                   100 BEAR RIVER DRIVE
LAS VEGAS, NM 87701                      400 MORNINGSIDE DRIVE                EVANSTON, WY 82930
                                         MARION, IL 62959
                       Case 20-10766-BLS
LINCON COUNTY SCHOOL DISTRICT 1      LINCOR,Doc
                                             INC. 6  Filed 04/07/20   Page 1054   of E.
                                                                           LIND, AMY 1969
P.O. BOX 335                         100 WINNERS CIRCLE                    ADDRESS ON FILE
DIAMONDVILLE, WY 83116-0000          SUITE 200
                                     BRENTWOOD, TN 37027




LIND, AMY E.                         LINDA A ALBIETZ                       LINDA B JERNIGAN
13571 SHAKERAG RD                    1470 W LOSEY ST                       P.O. BOX 235
JOHNSTON CITY, IL 62951              GALESBURG, IL 61401                   GREENVILLE, AL 36037




LINDA BELL                           LINDA BOGGS                           LINDA CHARLES
ADDRESS ON FILE                      404 GREENBRIER ROAD                   1515 S SANTA CATALINA ST
                                     LOUISA, KY 41230                      DEMING, NM 88030




LINDA DEWITT                         LINDA DUCKWORTH                       LINDA E MEANS
4529 VICTON ST NW                    100 PHEASANT RUN                      246 TOOLE CR
CANTON, OH 44718                     WOODLAWN, IL 62898                    BEECH ISLAND, SC 29842




LINDA E RAMSEY                       LINDA ELDER                           LINDA EVANS
ADDRESS ON FILE                      90 NORVILLE RD                        ADDRESS ON FILE
                                     SIMPSON, IL 62985




LINDA F YODER                        LINDA FITCH                           LINDA FRIEND
800 EVERHARD RD SW                   214 UPPER ALPHA BRANCH                1297 HARRISON ST
APT 701                              INEZ, KY 41224                        GALESBURG, IL 61401
NORTH CANTON, OH 44709




LINDA GARNER                         LINDA HESTER                          LINDA HOWARTER
ADDRESS ON FILE                      507 ORCHARD ST                        415 W HENDERSON ST
                                     EDWARDSVILLE, IL 62025                PO BOX 352
                                                                           WATAGA, IL 61488




LINDA J PIERCE                       LINDA KAY CURRY HOVLAND               LINDA KIRK
7824 ROCKVILLE RD SW                 32106 DEBERRY ROAD                    9100 MCQUAID RD
NAVARRE, OH 44662-9249               CRESWELL, OR 97426                    ORRVILLE, OH 44667




LINDA L VINSON                       LINDA L WALLACE                       LINDA LANHAM
5270 SOUTH HWY 3                     12 THATCH PALM ST E                   6624 PRESS ROAD
LOUISA, KY 41230                     LARGO, FL 33770                       FREEBURG, IL 62243




LINDA LOWE                           LINDA M ADAMS                         LINDA M HEIMANN
464 CIRCLE DRIVE                     5120 FT DALE RD                       813 CHERRY RD NW
HUNTINGDON, TN 38344                 GREENVILLE, AL 36037                  MASSILLON, OH 44647-4221
LINDA MALONE             Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       LINDA MARCHMAN                    Page 1055   of 1969
                                                                              LINDA MCKINNEY
1762 MONROE ST                          255 CHANDLER WALK                     1168 S COLLEGE ST
GALESBURG, IL 61401                     LOGANVILLE, GA 30052                  SALEM, IL 62881-2430




LINDA PULLINS                           LINDA SCHUTT                          LINDA SHERLIN
110 JOHNSON-PYLE DR                     6403 NORTH BROOK DR                   1642 CLARENDON AVE SW
PO BOX 184                              WATERLOO, IL 62298                    CANTON, OH 44706
ALTONA, IL 61414




LINDA SILVEY                            LINDA SUTTON                          LINDA VISTA PHOTOGRAPHY
63 F ST SW                              206 QUAIL DR.                         1614 SEVENTH STREET
NAVARRE, OH 44662                       PLYMOUTH, NC 27962                    LAS VEGAS, NM 87701




LINDAHL MICHAEL                         LINDAMOOD, JOHN                       LINDAS UPHOLSTERY
1609 BARNHART CT                        88175 TIKI LANE                       401 W PERRINE ST
ZION, IL 60099                          SPRINGFIELD, OR 97478                 JOHNSTON CITY, IL 62951




LINDBALD, TERRY                         LINDBERG, ARNE                        LINDBERG, LATOYA P
2932 COUNTY ROAD 19                     4725 OPAL CLIFF DRIVE                 12155 S STEWART AVENUE
GROVEOAK, AL 35975                      SANTA CRUZ, CA 95062                  CHICAGO, IL 60628




LINDBERG, RYAN                          LINDBOM, JORDAN                       LINDE DELAWARE INVESTMENTS INC
6918 W HUNTER OAK                       1320 DESERET AVE APT D.               LINDE GAS NORTH AMERICA LLC
WEST VALLEY, UT 84128                   BARSTOW, CA 92311                     24963 NETWORK PL
                                                                              CHICAGO, IL 60673-1249




LINDE GAS LLC                           LINDE GAS LLC                         LINDE GAS NORTH AMERICA LLC
24963 NETWORK PL                        88222 EXPEDITE WAY                    24963 NETWORK PL
CHICAGO, IL 60673-1249                  CHICAGO, IL 60695                     CHICAGO, IL 60673-1249




LINDE GAS NORTH AMERICA LLC             LINDE GROUP, THE                      LINDELOF, MELISSA L.
88222 EXPEDITE WAY                      88222 EXPEDITE WAY                    ADDRESS ON FILE
CHICAGO, IL 60695-1700                  CHICAGO, IL 60695-1700




LINDENBERG, DONALD                      LINDENFEST, INC                       LINDENHURST ILLINOIS HOSPITAL
11475 RABE LANE                         2301 E SAND LAKE RD                   COMPANY, LLC
STEELEVILLE, IL 62288-2641              LINDENHURST, IL 60046-8974            208 SOUTH LASALLE STREET
                                                                              SUITE 814
                                                                              CHICAGO, IL 60604



LINDENHURST SURGERY CENTER, LLC         LINDENHURST/LAKE VILLA CHAMBER        LINDER JAMIE L
1209 ORANGE STREET                      P O BOX 6075                          91 LAKEVIEW
WILMINGTON, DE 19801                    LINDENHURST, IL 60046                 STANSBURY PARK, UT 84074
LINDER, EMILY K.           Case 20-10766-BLS
                                         LINDER, Doc 6
                                                 RONDA       Filed 04/07/20   Page 1056  of 1969
                                                                                   LINDERMAN, EUGENE
704 GOSHEN TRAIL ROAD                     P.O. BOX 166                             221 ST FRANCIS HTS
ELDORADO, IL 62930                        SEATON, IL 61476                         FORREST CITY, AR 72335




LINDERMAN, JANET                          LINDH, CYNTHIA                           LINDHORST, NINA A
195 POSTELLE RD.                          417 FAIRFAX DR                           1207 CASTLE GREEN
COPPERHILL, TN 37317                      LAKE VILLA, IL 60046                     WATERLOO, IL 62298




LINDLEY, KRISTIAN                         LINDON, JEREMY S.                        LINDOW, KELLY
1450 N MARKET ST APT 303                  ADDRESS ON FILE                          10366 WEST ASTER
PARIS, TN 38242                                                                    ST JACOB, IL 62281




LINDOW, TODD                              LINDSAY EDWARDS                          LINDSAY HOSE
10366 WEST ASTER                          ADDRESS ON FILE                          864 16TH ST NE
ST JACOB, IL 62281                                                                 MASSILLON, OH 44646




LINDSAY LONG                              LINDSAY, BRITTANY                        LINDSAY, FELICIA A.
646 150TH AVE                             3260 COUNTY ROAD 124                     3025 PEA RIDGE RD
MONMOUTH, IL 61462                        DUTTON, AL 35744                         CROSSVILLE, AL 35962




LINDSAY, KAREY ELLEN                      LINDSAY, LISA J.                         LINDSAY, ROBERT
ADDRESS ON FILE                           4632 ESPY STREET                         438 PRES VANNES DR
                                          SESSER, IL 62884                         DALTON, OH 44618




LINDSAY, STEFAN                           LINDSAY, SUSAN G.                        LINDSAY, TIFFANY N.
ADDRESS ON FILE                           113 OAKLAWN DR                           6100 JASON COURT
                                          GLEN CARBON, IL 62034                    APTOS, CA 95003




LINDSEY A CASELLA                         LINDSEY DAVID W                          LINDSEY DETERS
1148 HIGHMOOR LN                          751 KNOX RD 2400N                        4629 HOTZE ROAD
EVANS, GA 30809                           ONEIDA, IL 61467                         SALEM, IL 62881




LINDSEY III, ROBERT L.                    LINDSEY KULMA                            LINDSEY ROBERT J
ADDRESS ON FILE                           2204 120TH ST                            ADDRESS ON FILE
                                          BLUE ISALAND, IL 60406




LINDSEY ROBERTA J                         LINDSEY STONE                            LINDSEY, ANNIE K
ADDRESS ON FILE                           8717 DELMORE TERRACE                     P.O. BOX 2049
                                          CASEYVILLE, IL 62232                     207 LARRY ST
                                                                                   WEST HELENA, AR 72390
LINDSEY, BILLY G.      Case 20-10766-BLS    Doc
                                     LINDSEY,     6 W Filed 04/07/20
                                              DAVID                    Page 1057  ofELIZABETH
                                                                            LINDSEY, 1969 S.
ADDRESS ON FILE                        751 KNOX RD 2400N                    562 COPPERHEAD ROAD
                                       ONEIDA, IL 61467                     BLAIRSVILLE, GA 30512




LINDSEY, GINA M.                       LINDSEY, HUNTER                      LINDSEY, JANNETTE
ADDRESS ON FILE                        2022 DELL ST                         1508 W 127TH ST
                                       FORREST CITY, AR 72335               CALUMET PARK, IL 60827-6008




LINDSEY, KATHRYN                       LINDSEY, LEIGH A.                    LINDSEY, MARK E
1043 W HENDRICKSON                     1630 BARREN SPRINGS CHURCH RD        737 LIBERTY ST
MARION, IL 62959                       HOLLOW ROCK, TN 38342                HELENA, AR 72342




LINDSEY, MELISSA S.                    LINDSEY, STEVE                       LINDSEY, YOUNG
ADDRESS ON FILE                        719 SUN LAKE RD                      1084 WILLOW WOOD DRIVE
                                       LAKE VILLA, IL 60046                 CATLETTSBURG, KY 41129




LINDSEYS CARPET                        LINDSTROM, ALLISON F                 LINDSTROM, AUDREY D.
686 E CHURCH                           64 MILLSAPS CIRCLE                   ADDRESS ON FILE
LEXINGTON, TN 38351                    EPWORTH, GA 30541




LINDSTROM, AUDREY                      LINDSTROMS                           LINDZEY K CHESTER
ADDRESS ON FILE                        400 E MAIN                           508 MAPLE ST
                                       GALESBURG, IL 61401                  LOCK HAVEN, PA 17745




LINEBAUGH, NANCY                       LINECO                               LINEHAN, MICHELLE
33955 M STREET                         821 PARKVIEW BLVD                    ADDRESS ON FILE
BARSTOW, CA 92311                      LOMBARD, IL 60148




LINENFELSER, TIMOTHY                   LINET AMERICAS, INC                  LINET AMERICAS, INC
ADDRESS ON FILE                        10420 R HARRIS OAKS BLVD             10420-4 HARRIS OAKS BLVD
                                       CHARLOTTE, NC 28269                  CHARLOTTE, NC 28269




LINFIELD COLLEGE                       LINFORD, BRIAN                       LINFORD, COERT
2255 NW NORTHRUP                       P.O. BOX 1214                        ADDRESS ON FILE
PORTLAND, OR 97210                     LOGANDALE, NV 89021-1214




LINGAIAH CHANDRASHEKAR, MD             LINGERFELT, HEATH S.                 LINGLE DALE C
2228 SHANNON DRIVE                     ADDRESS ON FILE                      22 ORR STREET
MURFREESBORO, TN 37129                                                      ELLIJAY, GA 30540
LINGLE, JASON            Case 20-10766-BLS
                                       LINGLE, Doc  6 G.Filed 04/07/20
                                               LUCILLE                   Page 1058  of 1969
                                                                              LINGUAVA INTERPRETERS
3570 BURNS RD                            ADDRESS ON FILE                       12106 NE MARX ST
DONGOLA, IL 62926                                                              PORTLAND, OR 97220-9035




LINGUAVA INTERPRETORS, INC               LINH NGUYEN                           LINIFORM
12106 NE MARX ST                         1407 COLUMBUS ROAD                    1050 NORTHVIEW AVE
PORTLAND, OR 97220-9035                  DEMING, NM 88030                      BARBERTON, OH 44203




LINK, ARRA                               LINK, BARBARA                         LINKBIO CORP
5807 WATERCOLOR DR.                      311 BROOK RD                          101ROUNDHILL DRIVE
LITHIA, FL 33547                         ABINGDON, IL 61410                    ROCKAWAY, NJ 07866




LINKE, STEPHEN E.                        LINKEDIN CORPORATION                  LINKER KATHY
ADDRESS ON FILE                          62228 COLLECTIONS CENTER DR           6623 DEER HILL ROAD
                                         CHICAGO, IL 60693-0622                WATERLOO, IL 62298




LINKLATER, TODD BRIAN                    LINKOUS, GWEN                         LINKS FOUNDATION INC, THE
3955 MILL STREET                         ADDRESS ON FILE                       P.O. BOX 8541
EUGENE, OR 97405                                                               WAUKEGAN, IL 60079




LINN CHRISTINE                           LINNARZ, LESA A.                      LINNEA MEADOWS
12 BROOKSIDE CT                          ADDRESS ON FILE                       ADDRESS ON FILE
EDWARDSVILLE, IL 62025




LINNEA MEADOWS                           LINNEMEYER, CHARLES                   LINNERUD, LORRAINE
PO BOX 22                                209 VALLEY VIEW DR                    2201 W 116TH PL
1538 BREWICK RD                          EDWARDSVILLE, IL 62025                CHICAGO, IL 60643
ABINGDON, IL 61410




LINT, DONALD                             LINT, ETHEL                           LINT, RAYMOND
9188 NAVARRE RD SW                       134 C ST SW                           134 C ST SW
NAVARRE, OH 44662                        NAVARRE, OH 44662                     NAVARRE, OH 44662




LINTNER, ELLEN D.                        LINTON, DIANE L.                      LINTON, TONJALA
2230 VIXEN ST NW                         ADDRESS ON FILE                       P.O. BOX 903
NORTH CANTON, OH 44720                                                         MARIANNA, AR 72360




LINZY, LEON                              LIONAKIS                              LIPA OHP PLUS
3354 PINE CITY RD                        1919 - 19TH STREET                    P.O. BOX 11740
HOLLY GROVE, AR 72069                    SACRAMENTO, CA 95811                  EUGENE, OR 97440
LIPE, AMBER               Case 20-10766-BLS     Doc 6
                                        LIPE, AMBER         Filed 04/07/20   Page 1059    of 1969
                                                                                  LIPE, JACOB
1041 GREENTURF ROAD                      841 STARDUST DR                           2410 SHAKE RAG RD
SPRING HILL, FL 34608                    HERRIN, IL 62948                          DONGOLA, IL 62926-0000




LIPE, JENNIFER                           LIPFORD, DEBRA                            LIPHAM, THOMAS
31 STONEBROOKE                           556 HEIMBAUGH RD                          3092 COUNTY RD 27
TROY, IL 62294                           MOGADORE, OH 44260                        FORT PAYNE, AL 35968




LIPPOLDT, AARON                          LIQUIDAGENTS HEALTHCARE, LLC              LIQUI-GREEN
9104 CHURCH RD                           C/O WELLS FARGO BUSINESS CREDIT           P.O. BOX 1813
WORDEN, IL 62097                         P.O. BOX 202056                           GALESBURG, IL 61401
                                         DALLAS, TX 75320-2056




LIQUI-GREEN                              LIRA, JOEL                                LIS, EDWARD J.
PO BOX 1813                              1300 WOODRIDGE DR                         1644 N 74TH CT
GALESBURG, IL 61401                      ROUND LAKE, IL 60073                      ELMWOOD PARK, IL 60707




LISA AGUIRRE                             LISA C DEAL                               LISA CARRIE MARGUILES
1209 MADISON                             11785 108TH AVE N                         671 HARPETH TRACE DRIVE
BIG SPRING, TX 79720                     SEMINOLE, FL 33778-3659                   NASHVILLE, TN 37221-3146




LISA CLARK                               LISA COBB                                 LISA CROWNER
287 BEAR BRANCH                          ADDRESS ON FILE                           1 FORREST RIDGE TRAIL
CRUM, WV 25669-8070                                                                SILVER CITY, NM 88061




LISA ELLIS                               LISA FREDAY HUNT                          LISA G BEDENBAUGH
ADDRESS ON FILE                          10265 ULMERTON RD                         3787 JACKS CREEK RD NW
                                         LOT 133                                   MONROE, GA 30655-5352
                                         LARGO, FL 33771




LISA GARMANY                             LISA HALL                                 LISA KISE
ADDRESS ON FILE                          122 S CENTER ST                           ADDRESS ON FILE
                                         ONEIDA, IL 61467




LISA LEIGH                               LISA LINDSAY                              LISA MCGEE
531 WALTON DR                            C/O GARY MARTOCCIO; SPIELBERGER LAW       760 COUNTY ROAD 41
SOCIAL CIRCLE, GA 30025                  GROUP                                     FYFFE, AL 35971
                                         4890 W KENNEDY BLVD, STE 950
                                         TAMPA, FL 33609



LISA MCSWAIN,CLERK DISTRICT COURT OF     LISA MILLER                               LISA MORGAN
CULLMAN CO.                              ADDRESS ON FILE                           1408 SOUTH MAIN
500 2ND AVE SW.                                                                    LORDSBURG, NM 88045
ROOM 303
CULLMAN, AL 35055
LISA SCOTT             Case 20-10766-BLS    DocRN6
                                     LISA SMITH,        Filed 04/07/20   Page 1060   of 1969
                                                                              LISA STRAUGHN
ADDRESS ON FILE                                                               ADDRESS ON FILE




LISA WERSTLER                         LISA WEST                               LISA WILLIAMS
6595 AVALON ST NW                     2224 W 5TH AVE APT 305                  ADDRESS ON FILE
CANTON, OH 44708                      GARY, IN 46404




LISA WILSON                           LISA ZESCHKE                            LISH, JADE
P.O. BOX 645                          1290 LAKE ROAD                          1610 OLD HIGHWAY 51 N
LEXINGTON, TN 38351                   DONGOLA, IL 62926                       ANNA, IL 62906




LISK, MELISSA                         LISSON, RANDALL                         LISZEWSKI, ADAM
323 COLLINSVILLE RD                   7 NIGHTINGALE                           769 MEADOW DR
TROY, IL 62294-0000                   GRANITE CITY, IL 62040                  DES PLAINES, IL 60016




LITCHFIELD, DONNA                     LITERSKI MARIAH A                       LITHOTRIPSY ASSOCIATES, LLC
1301 FRANK ST APT 6                   311 TROY AVE                            P.O. BOX 702
GALESBURG, IL 61401                   TROY, IL 62294                          LAYTON, UT 84041




LITTEKEN, LINDA                       LITTEKEN, SUSAN                         LITTLE EGYPT GOLF CARS, LTD.
9368 LITTEKEN LANE                    2772 STAUNTON RD                        340 W WELLS ST
COLUMBIA, IL 62236                    TROY, IL 62294                          SALEM, IL 62881




LITTLE EGYPT GOLF CARTS               LITTLE SHANA                            LITTLE, AMANDA R.
1228 S BROADWAY                       95 E THOMPSON                           ADDRESS ON FILE
SALEM, IL 62881                       JACKSON, KY 41339




LITTLE, ANDREW                        LITTLE, ANDREW                          LITTLE, CAROL D.
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




LITTLE, CECIL E                       LITTLE, DYLAYNA M.                      LITTLE, ELIZABETH A.
107 SCOTT RD                          ADDRESS ON FILE                         ADDRESS ON FILE
GREENVILLE, AL 36037




LITTLE, ELIZABETH                     LITTLE, ELIZABETH                       LITTLE, JENNIFER K.
ADDRESS ON FILE                       2127 BEAR PEN RD                        1218 WOLF CREEK RD
                                      CAMPTON, KY 41301                       ROUSSEAU, KY 41366
LITTLE, JUDY L.         Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                      LITTLE, KATHLEEN               Page 1061
                                                                          LITTLE, of 1969
                                                                                  KENT
11 JOHNS PASS                         P.O. BOX 688                         1926 ADAMS ROAD
MINERAL BLUFF, GA 30559               JACKSON, KY 41339                    KELL, IL 62853




LITTLE, LANCE D.                     LITTLE, LARRY E.                      LITTLE, LINDA
ADDRESS ON FILE                      6021 HWY 1110                         12509 SE OATFIELD RD
                                     JACKSON, KY 41339                     MILWAUKIE, OR 97222




LITTLE, MARY                         LITTLE, MELISSA                       LITTLE, PAMELA K.
81 MLK DR. POBOX 423                 114 E 6TH STREET                      1458 NEW LIBERTY WAY
MARIANNA, AR 72360                   HENDERSON, TN 38340                   BRASELTON, GA 30517




LITTLE, REBECCA                      LITTLE, ROBERT W                      LITTLE, ROSIE
196 FARMSTEAD RD                     5 OLD STONE ROAD                      P.O. BOX 950
GREENVILLE, AL 36037                 COLUMBIA, IL 62236                    PARKIN, AR 72373




LITTLE, SHANEQUA                     LITTLE, TARA M.                       LITTLE, TARA
4110 CONTINENTAL DR. APT. 17         ADDRESS ON FILE                       ADDRESS ON FILE
WAUKEGAN, IL 60087




LITTLE-ESQUEDA, ELAINE               LITTLEFIELD, JENNINE                  LITTLEFILED, LEONARD S.
P.O. BOX 1895                        ADDRESS ON FILE                       121 E MASSEY ST
ALPINE, TX 79831                                                           PALESTINE, AR 72372




LITTLEJOHN, KARA M.                  LITTLEJOHN, KASEY                     LITTLEJOHN, KIEONNA M.
3404 CASTLE PINES CT                 2444 EDISON AVE APT. D                3801 LAKE DR LOT 320
SWANSEA, IL 62226                    GRANITE CITY, IL 62040                PONTOON BEACH, IL 62040




LITTLES, CHERYL D                    LITTLETON REGIONAL HEALTHCARE         LITTLETON, KARNELL
2508 W BIRDSALL                      600 ST. JOHNSBURY ROAD                ADDRESS ON FILE
BLUE ISLAND, IL 60406                LITTLETON, NH 03561




LITTON AMBULANCE SERVICE             LITTON, SHEILA                        LITURGICAL PUBLICATIONS
BOX 18                               ADDRESS ON FILE                       P.O. BOX 510817
MT VERNON, IL 62864                                                        NEW BERLIN, WI 53151-0817




LITVAK, NADIA                        LITVAK, NADIA                         LIVANOVA USA INC
ADDRESS ON FILE                      ADDRESS ON FILE                       P.O. BOX 419261
                                                                           BOSTON, MA 02241-9261
LIVANOVA USA, INC       Case 20-10766-BLS     Doc 6 D.
                                      LIVELY, KATHLEEN Filed 04/07/20   Page 1062
                                                                             LIVELY,of 1969CRAIG
                                                                                    STEVEN
100 CYBERONICS BLVD                     P.O. BOX 30 433 W 2ND NORTH           38450 UPPER CAMP CREEK RD
HOUSTON, TX 77058                       TAMAROA, IL 62888                     SPRINGFIELD, OR 97478-0000




LIVELY, TIMOTHY                         LIVELY, VICTORIA B.                   LIVENGOOD, DAWN
4641 CULP LN                            3605 STONEY BROOK CIR                 650 E WESTIN CT
BETHALTO, IL 62010                      LOGANVILLE, GA 30052                  ROUND LAKE, IL 60073




LIVENGOOD, TONI                         LIVERING, HAILEY                      LIVERMAN, LYKESHA
303 E CHESTNUT ST                       ADDRESS ON FILE                       202 HEXLENA RD
ANNA, IL 62906                                                                AHOSKIE, NC 27910




LIVESAY, HAROLD L                       LIVESAY, JACOB                        LIVESAY, ZACHARY
600 OLD WILLARD FERRY RD                115 TURNER AVE                        848 BRISTOL LANE
JONESBORO, IL 62952                     ANNA, IL 62906                        NEW LENOX, IL 60451




LIVINGSTON, BRANDI L.                   LIVINGSTON, CANDY                     LIVINGSTON, CRYSTAL
208 7TH STREET                          1609 CRAWFORD AVE                     ADDRESS ON FILE
ILLIOPOLIS, IL 62539                    NORTHERN CAMBRIA, PA 15714




LIVINGSTON, DENNIS                      LIVINGSTON, MICHAEL                   LIVONI, ANALISIA
403 SETTLEMENT RD 11A                   135 N SIMMONS ST                      ADDRESS ON FILE
EPWORTH, GA 30541                       WATAGA, IL 61488




LIVONI, FALICITY V.                     LIYANAARACHCHI, ERANDI W.             LLANES, ERNESTO
ADDRESS ON FILE                         12781 NW FOREST SPRING LANE           423 SONJA LN
                                        PORTLAND, OR 97229                    LOGANVILLE, GA 30052




LLANEZ, PILAR H                         LLOYD & MCDANIEL PLC                  LLOYD & MCDANIEL, PLC
204 S DURRELL ST                        P.O. BOX 23306                        P.O. BOX 23200
ALPINE, TX 79830                        LOUISVILLE, KY 40223-0200             LOUISVILLE, KY 40223




LLOYD & MCDANIEL, PLC                   LLOYD ASHLEE                          LLOYD J DETWILER
P.O. BOX 23200                          265 W 970 N                           941 BEMAN ST
LOUISVILLE, KY 40223-0200               TOOELE, UT 84074                      AUGUSTA, GA 30904-3857




LLOYD MILLER                            LLOYD, CASSANDRA                      LLOYD, COURTNEY A.
OR CAROL A MILLER                       ADDRESS ON FILE                       4211 SWAN LANE
703 NETHERWOOD AVE NW                                                         ZION, IL 60099
CANTON, OH 44708
LLOYD, ELIZABETH N.      Case 20-10766-BLS    Doc 6
                                       LLOYD, JAMIE        Filed 04/07/20   Page 1063
                                                                                 LLOYD, of 1969S.
                                                                                        JESSICA
306 E VIENNA ST                         405 CARROLL                               ADDRESS ON FILE
ANNA, IL 62906                          GRANITE CITY, IL 62040




LLOYD, JOHN                             LLOYD, KIMBERLY D.                        LLOYD, MELISSA M.
585 LINCOLN AVE                         ADDRESS ON FILE                           301 WILLARD
BARBERTON, OH 44203                                                               BIG SPRING, TX 79720




LLOYD, PATRICIA J.                      LMA NORTH AMERICA / TELEFLEX              LMH ARCHITECTURE LLC
2645 KINLINWOOD CT. NW APT 5            9360 TOWNE CENTRE DR                      12808 TOWNEPARK WAY
CANTON, OH 44708                        SAN DIEGO, CA 92121                       STE 200
                                                                                  LOUISVILLE, KY 40243




LMS BOOSTER CLUB                        LMS CHEERLEADING                          LOA CASTO
P.O. BOX 1722                           405 VAUGHN ROAD                           4829 CLARDELL AVE SW
LEXINGTON, TN 38351                     ATTN: JENNIFER PANNELL                    CANTON, OH 44706-4457
                                        LOUISA, KY 41230




LOADER, FRANCINE                        LOAN DUONG, DO                            LOBATO, MARISELA
ADDRESS ON FILE                         2830 CRESCENT AVE.                        205 ROCK HOUND SW
                                        EUGENE, OR 97408                          DEMING, NM 88030




LOBBY, SAMIRA                           LOBELLO, TAMMY                            LOCAL 25
2300 NORAKENZIE ROAD 34                 ADDRESS ON FILE                           S.E.I.U WELFARE FUND
EUGENE, OR 97401                                                                  111 E WACKER DRIVE STE 2500
                                                                                  CHICAGO, IL 60601-4205




LOCAL 309 ELECTRICAL                    LOCAL 309 HEALTH &WELFARE                 LOCAL PAGES, THE
HEALTH & WELFARE FUND                   2000 A MALL STREET STE A                  4910 W AMELIA EARHART DR
2000A MALL ST STE A                     COLLINSVILLE, IL 62234-9999               SALT LAKE CITY, UT 84116
COLLINSVILLE, IL 62234




LOCEY, JERALD                           LOCEY, SHERRY C.                          LOCH, GEORGIA
401 NORTH MAIN                          ADDRESS ON FILE                           11970 SINCLAIR ST SW
WAYNE CITY, IL 62895                                                              MASSILLON, OH 44647




LOCHMANN, KIMBERLY                      LOCK & KEY SHOP                           LOCK & KEY SHOP
8316 BURLINGTON DR                      1008 N HENDERSON ST                       1008 N HENDERSON
TROY, IL 62294                          GALESBURG, IL 61401                       GALESBURG, IL 61401




LOCK HAVEN CLINIC COMPANY, LLC          LOCK MD, WALLACE                          LOCK, MARGARET
1209 ORANGE STREET                      1264 ISLAND HARBOR DRIVE                  1300 SAINT JULIAN ST
WILMINGTON, DE 19801                    MEMPHIS, TN 38103                         PEKIN, IL 61554
LOCKARD, DEANNA        Case 20-10766-BLS
                                     LOCKDOWNDocSURGICAL
                                                  6 Filed INC04/07/20   Page 1064
                                                                             LOCKE of 1969
                                                                                   CHARLES
829 COLONIAL AVE                     18888 LAKE DRIVE EAST                   177 PATTERSON RD
CANAL FULTON, OH 44614               CHANHASSEN, MN 55317                    COPPERHILL, TN 37317




LOCKE, DEVON                          LOCKE, JEANNE L.                       LOCKE, JULIE A.
1164 UNITY DR.                        3244 LANDER ROAD NW                    110 DRY CREEK
JUNCTION CITY, OR 97448               MALVERN, OH 44644                      HOLLISTER, CA 95023




LOCKE, RONALD N.                      LOCKE, VIVIAN POWELL                   LOCKE, WENDELL R
ADDRESS ON FILE                       1070 MICHAEL ST                        56 AMBER LANE
                                      WILLIAMSTON, NC 27892                  MCCAYSVILLE, GA 30555




LOCKE, WILLIAM T                      LOCKETT JEANETTE D                     LOCKETT, GABRIELLE
1070 MICHAEL STREET                   12858 S CARPENTER                      2158 SCHEEL ST 3
WILLIAMSTON, NC 27892                 CALUMET PARK, IL 60827                 BELLEVILLE, IL 62221




LOCKHART, DARRON R.                   LOCKHART, MADISON                      LOCKHART, WILLIE MAE
6006 TOPPING LANE DR                  137 SCENIC CIR                         756 OXFORD RD
GLEN ALLEN, VA 23060                  LEXINGTON, TN 38351                    AUGUSTA, GA 30909-3248




LOCKLEAR HANNAH MARIE                 LOCKLEAR, FELICIA J.                   LOCKMAN, THERESA
570 DRIVER RD                         168 MAYO CIR                           575 VIRGINIA
FORT PAYNE, AL 35967-8238             DECATURVILLE, TN 38329                 LYNWOOD, IL 60411




LOCKRIDGE, JENNIFER M.                LOCOCO, PENNY S.                       LOCUM TENENS PARTNERS, LLC
1805 ASHTON WALK                      ADDRESS ON FILE                        145 TECHNOLOGY PARKWAY NW SUITE 200
LOGANVILLE, GA 30052                                                         NORCROSS, GA 30092




LOCUM TENENS                          LOCUM TENENS.COM                       LOCUMS UNLIMITED, LLC
2655 NORTHWINDS PARKWAY               P.O. BOX 405547                        4141 JUTLAND DR. STE 305
ALPHARETTA, GA 30009                  ATLANTA, GA 30384-5547                 SAN DIEGO, CA 92117




LOCUMSMART LLC                        LOCUMTENENS                            LOCUMTENENS
45 TECHNOLOGY PKWY SOUTH              P.O. BOX 405547                        P.O. BOX 405547
STE 235                               ATLANTA, GA 30384                      ATLANTA, GA 30384-5547
NORCROSS, GA 30092




LOCUMTENENS.COM, LLC                  LOCUMTENENS.COM,LLC                    LODER, JEANNETTE M.
2655 NORTHWINDS PARKWAY               2655 NORTHWINDS PARKWAY                ADDRESS ON FILE
ALPHARETTA, GA 30009                  ALPHARETTA, GA 30009-2280
LOEFER, JEAN             Case 20-10766-BLS    Doc 6
                                       LOERA, JOSE        Filed 04/07/20   Page 1065
                                                                                LOERKEof 1969S
                                                                                       JAMES
403 TEXAS OAK DR                        P.O. BOX 183                            33705 RIVER DR
ALPINE, TX 79830                        IRVINGTON, IL 62848-0183                P.O. BOX 398
                                                                                CRESWELL, OR 97426-0000




LOESCHEN, KAREN L.                      LOETSCHER PAMELA M                      LOEW, CHRISTELL
1474 BLUE STEM LANE                     142 CASEY LANE                          225 WILLIAMS AVE
MINOOKA, IL 60447                       MINERAL BLUFF, GA 30559                 DALTON, OH 44618




LOEZA, MARIA B.                         LOFTIN, NATASHA M.                      LOFTON, DOROTHY J
1002 GREEN VALLEY RD.                   ADDRESS ON FILE                         12006 S LAFAYETTE
WATSONVILLE, CA 95076                                                           CHICAGO, IL 60628




LOG CABIN TRADING POST                  LOGA, SHARON L.                         LOGAN CIRIMOTICH
5028 HWY 15 N.                          ADDRESS ON FILE                         1335 SW 66TH AVE 304
JACKSON, KY 41339                                                               PORTLAND, OR 97225




LOGAN PEMBERTON                         LOGAN, AMY                              LOGAN, ANTONIO
9930 KY ROUTE 581                       P.O. BOX 363                            608 TULANE DR
RIVER, KY 41254-9037                    STRONGHURST, IL 61480                   WEST MEMPHIS, AR 72301




LOGAN, ASHLEY                           LOGAN, DAVID                            LOGAN, LARRY
ADDRESS ON FILE                         402 W MARTIN ST                         8900 HIGHWAY 436
                                        ABINGDON, IL 61410                      MCKENZIE, TN 38201-7712




LOGAN, LINDA M.                         LOGAN, SHANNON N.                       LOGANVILLE MOB LP
215 RIDGEWOOD CT                        1265 COUNTY HIGHWAY 6                   5910 N CENTRAL EXP, STE 1000
DAHINDA, IL 61428                       GLADSTONE, IL 61437                     DALLAS, TX 75206




LOGER, KELSIE J.                        LOGER, KELSIE                           LOGGINS NATHAN
ADDRESS ON FILE                         ADDRESS ON FILE                         1810 STANELY CREEK RD
                                                                                CHERRYLOG, GA 30522




LOGGINS, JIM T.                         LOGIQUIP LLC                            LOGIUDICE, NICOLE B.
ADDRESS ON FILE                         1456 S. 35TH STREET                     ADDRESS ON FILE
                                        P.O. BOX 278
                                        GALESBURG, MI 49053-0278




LOGMEIN USA, INC                        LOGO WORKS LLC, THE                     LOGSDON, DAVINA
P.O. BOX 50264                          6817 PATRICK LN                         701 MONROE ST P.O. BOX 208
LOS ANGELES, CA 90074-0264              PLANO, TX 75024                         KEITHSBURG, IL 61442
LOGSDON, LARI E.        Case 20-10766-BLS   Doc
                                      LOGSDON,    6 Filed
                                               RICHARD A. 04/07/20    Page 1066 of 1969
                                                                           LOGSDON, RICHARD A.
2255 33RD ST                           5014 S. LAKE CAMELOT DR.             ADDRESS ON FILE
SPRINGFIELD, OR 97477                  MAPLETON, IL 61547




LOHAN, SUSAN E.                        LOHFINK, JOHN                        LOHFINK, KATHLENE
6609 W 157TH ST                        33022 N JOHN MOGG RD                 33022 N JOHN MOGG DR
OAK FOREST, IL 60452                   GRAYSLAKE, IL 60030                  WILDWOOD, IL 60030




LOHMAN, DARLENE                        LOHMAN, KRISTY L.                    LOHR, ALEXANDRA R.
210 CAMPUS DRIVE                       214 MUELLER LN                       ADDRESS ON FILE
RED BUD, IL 62278                      WATERLOO, IL 62298




LOHSE, SUSAN                           LOI ENVIRONMENTAL DEMOLITION         LOIS RUNYONS
4967 CROSSWOOD DRIVE                   SERVICES                             268 HONEYBEE DRIVE
ST LOUIS, MO 63129                     5930 JEAN ROAD                       LOUISA, KY 41230
                                       LAKE OSWEGO, OR 97035




LOIS WOLLIN                            LOKER, LORRI                         LOKER, NICHOLE L.
736 N PRAIRIE ST                       3563 MAEYSTOWN RD                    ADDRESS ON FILE
GALESBURG, IL 61401                    FULTS, IL 62244




LOMASNEY, KAREN E.                     LOMAX, ERICA D.                      LOMAX, LOREN
18421 PINE CONE DR, UNIT 1             870 TUBBS SPRING BRANCH              400 HEARTLAND DR
TINLEY PARK, IL 60477                  DARDEN, TN 38328                     RUSSELVILLE, AR 72802-0000




LOMAX, STEPHEN W.                      LOMAX, ZACHARY W.                    LOMBARDI, GAIL
2057 MOSSY OAK CIRCLE                  5124 158TH ST                        135 SHORELINE AVE NW
CLARKSVILLE, TN 37043                  OAK FOREST, IL 60452                 CANTON, OH 44708




LOMBARDINO, KIMBERLY                   LOMBARDO, KAREN J.                   LOMBART BROTHERS INC
ADDRESS ON FILE                        22485 ASTER DRIVE                    5358 ROBIN HOOD RD
                                       FRANKFORT, IL 60423                  NORFOLK, VA 23513




LOMELI, LYDIA J.                       LOMELI, ROBERTO                      LONCZAK, JOHN
635 W 890 N                            568 N DANEBO AVE APT 9               809 SHEFFIELD AVE NE
TOOELE, UT 84074                       EUGENE, OR 97402                     MASSILLON, OH 44646




LONDO, EMMETT D.                       LONDON JOHN                          LONE STAR MEDICAL PRODUCTS INC
ADDRESS ON FILE                        9019 178TH STREET                    11951 HILLTOP RD
                                       TINELY PARK, IL 60487                BLDG 6 STE 18
                                                                            ARGYLE, TX 76226
                      Case
LONE STAR SIGNS OF WEST TX 20-10766-BLS
                                    LONESS,Doc    6 A.Filed 04/07/20
                                             DENISE                    Page 1067  of 1969
                                                                            LONG CHEN
P.O. BOX 3793                       P.O. BOX 1482                           407 TUSC AVE NW
MIDLAND, TX 79702                   GRANITE CITY, IL 62040                  NEW PHILADELPHIA, OH 44663




LONG DAVID                            LONG DAVID                            LONG JERRY E
909 ASTER LANE                        ADDRESS ON FILE                       ADDRESS ON FILE
MORGANTON, GA 30560-0000




LONG KRISTY L                         LONG LAURA J                          LONG RANGE SYSTEMS, LLC
1803 N FAIR ST                        ADDRESS ON FILE                       P.O. BOX 671111
MARION, IL 62959                                                            DALLAS, TX 75267-1111




LONG SAMANTHA BROOKE                  LONG STEPHANIE                        LONG VICTORIA M
104 WHEELER ROAD                      ADDRESS ON FILE                       1922 PIERRA DR
LAFAYETTE, GA 30728                                                         MARION, IL 62959




LONG, ALICIA C.                       LONG, ANN M.                          LONG, BRIAN M.
725 WOODLAND DRIVE                    ADDRESS ON FILE                       ADDRESS ON FILE
NEW JOHNSONVILLE, TN 37134




LONG, CARL W                          LONG, CHRISTY A.                      LONG, COURTNEY A.
541 MATHESON COVE RD                  1402 MATTHEW LANE                     ADDRESS ON FILE
HAYESVILLE, NC 28904                  MARION, IL 62959




LONG, DAVID BRETT                     LONG, DAVID D                         LONG, DAVID M.
ADDRESS ON FILE                                                             7689 NC HWY 33 NW
                                                                            TARBORO, NC 27886




LONG, DIANA                           LONG, GEORGE H. JR                    LONG, KRISTIN E.
8448 PLEASANTWOOD AVE NW              3245 SIERRA AVE SW                    ADDRESS ON FILE
NORTH CANTON, OH 44720                CANTON, OH 44706




LONG, KYLE                            LONG, KYLE                            LONG, LINDA L
3444 STATE RT 156                     3444 STATE RT 156                     454 HILLCREST AVE NW
WATERLOO, IL 62298                    WATERLOO, IL 62298-0000               NORTH CANTON, OH 44720




LONG, LORI                            LONG, MATTHEW J.                      LONG, NICKIE D.
14 ELEVENTH ST.                       ADDRESS ON FILE                       579 SIERRA VISTA
UNIT 9691                                                                   MESQUITE, NV 89027
ELLIJAY, GA 30540
LONG, REBECCA K.         Case 20-10766-BLS    Doc 6
                                       LONG, REENE R. Filed 04/07/20   Page 1068  of 1969
                                                                            LONG, RUBEN
ADDRESS ON FILE                         ADDRESS ON FILE                     13241 E MIDNIGHT RD
                                                                            INA, IL 62846




LONG, RUSSELL                           LONG, SANDRA M.                     LONG, SARAH J.
1500 MAIN ST 11                         6220 RIDGEWOOD ST. S.W.             ADDRESS ON FILE
SPRINGFIELD, OR 97477                   CANTON, OH 44706




LONG, STEPHANIE                         LONG, STEPHANIE                     LONG, STEVEN L.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




LONG, STEVEN                            LONG, TAMMY H.                      LONG, THOMAS
5755 DAVE DR.                           ADDRESS ON FILE                     ADDRESS ON FILE
CLINTON, OH 44216




LONG, VICKIE E.                         LONG, VICKIE E.                     LONG, VICTORIA CHRISTINE
631 ORCHARD                             ADDRESS ON FILE                     28282 STRAWICK LANE
EDWARDSVILLE, IL 62025                                                      JUNCTION CITY, OR 97448




LONG, WESTON T                          LONGFELLOW, JOHN                    LONGINO, REGINA
811 LANCASHIRE DR                       2380 W COMET RD                     14510 LEAVITT AVE
APT 10                                  CLINTON, OH 44216                   DIXMOOR, IL 60426
EDWARDSVILLE, IL 62025




LONGMIRE, JOSEPH                        LONGSHORE, HERBERT                  LONGTIN, AMBER
486 N CONECUH ST                        1834 PARIS AVE                      ADDRESS ON FILE
GREENVILLE, AL 36037-1643               NORTH AUGUSTA, SC 29841




LONNES CABINET SHOP, INC                LONNETTE, LINDSEY                   LONNIE GILBERT
2750 OLYMPIC STREET                     700 E. 9TH STREET                   3202 PINEY CREEK DR
SPRINGFIELD, OR 97477                   JOHNSTON CITY, IL 62951             FORT WAYNE, IN 46818




LONNY M GOODWIN CO                      LONNY MEFFERD                       LOOMIS BROS. EQUIPMENT CO
625 HIGHWAY 32 WEST                     P.O. BOX 237                        409 BILTMORE DR
SARATOGA, AR 71859                      OVERTON, NV 89040                   FENTON, MO 63026




LOOMIS BROS.                            LOOMIS BROTHERS EQUIPMENT CO        LOOMIS CIGNA
409 BILTMORE DR                         409 BILTMORE DR                     P.O.BOX 7011
FENTON, MO 63026                        FENTON, MO 63026-4613               WYOMISSING, PA 19610-6011
LOONEY, MICHELLE L.        Case 20-10766-BLS
                                         LOONEY,Doc  6 Filed
                                                 MICHELLE L. 04/07/20   Page 1069 ofMICHELLE
                                                                             LOONEY, 1969
93 SUGAR MILL ROAD                        ADDRESS ON FILE                    ADDRESS ON FILE
TROY, IL 62294




LOOPER, MARISOL                           LOOYER, BRUCE W.                   LOPER, NICOLE M.
4054 DAISY MINE CT APT B                  ADDRESS ON FILE                    ADDRESS ON FILE
FT IRWIN, CA 90310




LOPEZ ANNISSA                             LOPEZ BETH A                       LOPEZ CHARLES J
620 MOHAWK DR                             ADDRESS ON FILE                    14450 S TRIPP AVE
ROUND LAKE HEIGHTS, IL 60073                                                 MIDLOTHIAN, IL 60445




LOPEZ ELVIRA FLORES                       LOPEZ ERMINIO                      LOPEZ GREGORIO
301 SEQUOYAH DR NE LOT 87                 1520 BLUE MARLIN DRIVE             1803 W GLEN FLORA AVE
FORT PAYNE, AL 35967                      BILLINGS, MT 59106                 WAUKEGAN, IL 60085




LOPEZ JENNIFER R                          LOPEZ JR., DOMINGO                 LOPEZ MARY L
87 BEECH AVENUE                           ADDRESS ON FILE                    1257 W MAIN ST
WAUKEGAN, IL 60087                                                           GALESBURG, IL 61401




LOPEZ, ALYSON                             LOPEZ, AMANDA                      LOPEZ, ANTONIO Z.
1361 NORFOLK STREET                       703 CAPRI CT                       ADDRESS ON FILE
DOWNERS GROVE, IL 60516                   BIG SPRING, TX 79720




LOPEZ, ANTONIO                            LOPEZ, DANA M.                     LOPEZ, DARLA J.
ADDRESS ON FILE                           226 E LIBERTY ST                   ADDRESS ON FILE
                                          BARRINGTON, IL 60010




LOPEZ, ELIZABETH A.                       LOPEZ, FEDERICO                    LOPEZ, GEORGE
ADDRESS ON FILE                           2213 WEST 123RD PL                 12515 E DIX TEXICO
                                          BLUE ISLAND, IL 60406              TEXICO, IL 62889




LOPEZ, GLORIA J.                          LOPEZ, GUILLERMINA                 LOPEZ, JAIME L.
ADDRESS ON FILE                           ADDRESS ON FILE                    ADDRESS ON FILE




LOPEZ, JANEL                              LOPEZ, JANICE                      LOPEZ, JEWEL M.
1769 INDEPENDENCE BLVD 202                ADDRESS ON FILE                    52055 READ LOOP
SALINAS, CA 93906                                                            LA PINE, OR 97739
LOPEZ, JODI L.        Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                    LOPEZ, JULIO                  Page 1070
                                                                       LOPEZ, of 1969
                                                                              KARINA
611 QUARTER HORSE DRIVE             ADDRESS ON FILE                    ADDRESS ON FILE
BEAR RIVER, WY 82930




LOPEZ, KATRINA                       LOPEZ, KEENON                     LOPEZ, LUCAS L.
355 JENNINGS MILL PKWY 334           13 ELM ST                         2903 CACTUS DRIVE
ATHENS, GA 30606                     MCKENZIE, TN 38201                BIG SPRING, TX 79720




LOPEZ, MAIRE K.                      LOPEZ, MALENA K.                  LOPEZ, MARIA E.
872 B CASTLEVIEW DRIVE P.O BOX 464   213 MAPLE AVE                     1210 JULIAN CT
LAS VEGAS, NM 87701                  GALESBURG, IL 61401               HOLLISTER, CA 95023




LOPEZ, MARIA                         LOPEZ, NICOLE M.                  LOPEZ, PAMELA L.
615 BLACKBURN ST APT106              7234 SHERIDAN ROAD                321 IOWA CT
WATSONVILLE, CA 95076                KENOSHA, WI 53143                 FRANKFORT, IL 60423




LOPEZ, SASHA                         LOPEZ, STEPHANIE                  LOPEZ, SYLVIA O.
337 E 26TH ST                        10678 W FAIRBANKS AVE             1221 E17 ST
CHICAGO HEIGHTS, IL 60411            BEACH PARK, IL 60099              BIG SPRING, TX 79720




LOPEZ, THERESA M.                    LOPEZ, THERESA M.                 LOPEZ, TITA
12045 MILL RACE                      ADDRESS ON FILE                   12720 S MUSKEGON AVE
CANAL FULTON, OH 44614                                                 CHICAGO, IL 60633




LOPEZ, VIANESSE                      LOPEZ, VIOLETA L.                 LOPEZ, YOLONDA L.
ADDRESS ON FILE                      3317 DIXIE                        103 E CLOVERDALE DR
                                     PARK CITY, IL 60085               BRINKLEY, AR 72021




LOPEZ-CAMARGO, JENIFER               LOPEZ-MORALES, JOCELYN Y.         LOPSHIRE, CHELSEA
626 N. LEWIS AVE                     ADDRESS ON FILE                   603 YOUTH JERSEY RD
WAUKEGAN, IL 60085                                                     COVINGTON, GA 30014-8533




LORAD, A HOLOGIC COMPANY             LORAN E. SCHULTE                  LORD, ISAAC
24506 NETWORK PLACE                  ADDRESS ON FILE                   ADDRESS ON FILE
CHICAGO, IL 60673-1245




LORD, ISAAC                          LOREDO, ZITLALHI                  LORENA HOWARD
ADDRESS ON FILE                      183 S THISTLE CT                  1905 N WASHINGTON ST APT 31
                                     ROUND LAKE, IL 60073              FORREST CITY, AR 72335
LORENA TROYER        Case 20-10766-BLS
                                   LORENC,Doc  6 A.Filed 04/07/20
                                           PATRICK                  Page 1071 ofTHOMAS
                                                                         LORENC, 1969 J.
18273 HUPRICK RD                   538 MEADOWS RD SOUTH                  6040 MILL BRIDGE LANE
NORTH LAWRENCE, OH 44666-9513      BOURBONNAIS, IL 60914                 LISLE, IL 60532




LORENTE, MARIVIC                    LORENZ EDWARD                        LORENZ, BRUCE
43 LA HACIENDA STREET               P.O. BOX 6005                        6425 WERSTLER AVE SW
WATSONVILLE, CA 95076               EVANSTON, WY 82931-6005              APT 5
                                                                         NAVARRE, OH 44662




LORENZ, DOUGLAS, MD                 LORENZEN, SCOTT                      LORETTA CAMPBELL
2061 PINION SPRINGS DR              ADDRESS ON FILE                      ADDRESS ON FILE
HENDERSON, NV 89074




LORETTA HALFORD                     LORETTA PAGE                         LORETZ, KIRA A.
508 SANDERSON ST                    315 DOZIER CIRCLE                    420 W 700 S
KENTON, TN 38233-1046               MARION, AR 72364                     TOOELE, UT 84074




LORETZ, KIRA                        LORI A VAUGHN PHINNEY                LORI B DUFF
TOOELE                              ADDRESS ON FILE                      2633 JOHNSON RD
UT 84074-0000                                                            LOGANVILLE, GA 30052




LORI CAMP                           LORI D WOODARD                       LORI DEE
ADDRESS ON FILE                     8018 MOBILE RD                       4280 WILLOW SPRINGS DR
                                    GREENVILLE, AL 36037                 LOGANVILLE, GA 30052




LORI DICKERSON                      LORI FULLER                          LORI HOUSTON
ADDRESS ON FILE                     ADDRESS ON FILE                      P.O. BOX 685
                                                                         OVERTON, NV 89040-0000




LORI KERNUTT                        LORI L ARNER                         LORI LEE BAGGERLY
P.O. BOX 250                        3229 BEAUMONT AVE NW                 808 N 11TH STREET
LOWELL, OR 97452                    MASSILLON, OH 44647-9402             ALPINE, TX 79830




LORI TITE                           LORI VANCIL                          LORI, GREGG
P.O. BOX 282                        530 PINE ST                          1195 NATALIE CT
ULLIN, IL 62992                     KEWANEE, IL 61443                    ANTIOCH, IL 60002




LORIANN ALONZO                      LORIE RAMSEY                         LORIS HOSPITAL GIFT SHOPS
600 E. RIMROCK RD 47                112 DOMINION PKWY                    2125 CHENAULT DRIVE
BARSTOW, CA 92311                   BRANDON, MS 39042                    SUITE 100
                                                                         CARROLLTON, TX 75006
LORIS, ADAM J.           Case 20-10766-BLS     Doc 6
                                       LORIS, ADAM        Filed 04/07/20   Page 1072
                                                                                LORNA of 1969
                                                                                      RAINEY
ADDRESS ON FILE                         ADDRESS ON FILE                         550 E CARL SANDBURG DR
                                                                                SEMINARY ESTATES ROOM 208
                                                                                GALESBURG, IL 61401




LORNA REDSTONE                          LORQUE, ALEYDE                          LORRI BUCK
2307 WOODLAWN AVE                       ADDRESS ON FILE                         ADDRESS ON FILE
GRANITE CITY, IL 62040




LORRINE MOORE                           LOS ANGELES COUNTY SHERIFF CENTRAL      LOS ANGELES COUNTY SHERIFFS
PO BOX 502                              BRANCH                                  DEPARTMENT
WOODHULL, IL 61490                      110 N GRAND AVE RM 525                  P.O. BOX 843580
                                        LOS ANGELES, CA 90012                   LOS ANGELES, CA 90084-3580




LOS DOMINGOS RESTAURANT                 LOS NINOS ELEMENTARY PTA                LOSS, LUKE
1520 EAST MAIN STREET                   474 LEGION DR                           21808 E. WEBB DR
BARSTOW, CA 92311                       LAS VEGAS, NM 87701                     BLUFORD, IL 62814




LOSS, MCKENNA D.                        LOTANE & ASSOCIATES PA                  LOTT, ALDEN C., JR
2149 CR 1095 N                          1980 MICHIGAN AVE                       18 W PLUM ST
FAIRFIELD, IL 62837                     COCOA, FL 32922                         GRANTSVILLE, UT 84029




LOTT, BILBO ROBERT                      LOTT, DOROTHY                           LOU, BROOKE A.
12212 S EGGLESTON AVE                   12212 S EGGLESTON AVE                   ADDRESS ON FILE
CHICAGO, IL 60628                       CHICAGO, IL 60628




LOUCKS, KELLI R.                        LOUDENBARGER, LOBELIA M.                LOUDERMILK, APRIL
200 CEDAR STREET APT 4                  70 AMY LANE 5254                        135 COUNTY ROAD 430
CENTRALIA, IL 62801                     ELLIJAY, GA 30540                       SECTION, AL 35771




LOUDERMILK, LISA M.                     LOUGHEAD, JEAN A.                       LOUIE MOYA
P.O. BOX 954                            ADDRESS ON FILE                         P.O. BOX 124
BLUE RIDGE, GA 30513                                                            ALCALDE, NM 87511




LOUIS AND COMPANY                       LOUIS DELGADO                           LOUIS PUTTER
P.O. BOX 2253                           2515 RIDGE RUNNER RD                    10 CR 600
BREA, CA 92822-2253                     LAS VEGAS, NM 87701                     WYNNE, AR 72396




LOUIS, JESSE PATRICK BELL II DO         LOUISA BUCK                             LOUISA EAST ELEMENTARY
626 POPLAR                              1086 N SEMINARY ST                      235 POWHATTAN STREET
HELENA, AR 72342                        GALESBURG, IL 61401                     LOUISA, KY 41230
                        Case 20-10766-BLS
LOUISA FIRST BAPTIST CHURCH                   Doc GAY
                                      LOUISA FORT  6 MINISTERIAL
                                                       Filed 04/07/20    Page 1073
                                                                              LOUISAof 1969
                                                                                    HARDWARE
301 W PIKE STREET                     ASSOCIATION                             P.O. BOX 330
LOUISA, KY 41230                      105 S CLAY STREET                       311 PUBLIC WAY
                                      C/0 SCOTT HOEKSEMA                      LOUISA, KY 41230
                                      LOUISA, KY 41230



LOUISA MIDDLE SCHOOL                  LOUISA ROTARY AUCTION                   LOUISA ROTARY CLUB
9 BULLDOG LANE                        301 W PIKE STREET                       307 W. MADISON STREET
LOUISA, KY 41230                      LOUISA, KY 41230                        LOUISA, KY 41230




LOUISA SPORTING GOODS LLC             LOUISA UNITED METHODIST CHRUCH          LOUISA WATER CO
826 S. HIGHWAY 3                      P.O. BOX 26                             213 N MAIN CROSS ST
LOUISA, KY 41230                      LOUISA, KY 41230                        LOUISA, KY 41230




LOUISA WATER CO                       LOUISA YOUNGER WOMENS CLUB              LOUISE HARMON
P.O. BOX 608                          P.O. BOX 12                             P.O. BOX 98
LOUISA, KY 41230                      LOUISA, KY 41230                        PINE APPLE, AL 36768




LOUISIANA DEPARTMENT OF HEALTH        LOUISIANA DEPARTMENT OF REVENUE         LOUISIANA DEPARTMENT OF THE
P.O. BOX 3797                         617 N 3RD ST                            TREASURY
BATON ROUGE, LA 70821-3797            BATON ROUGE, LA 70802                   LOUISIANA DEPARTMENT OF THE
                                                                              TREASURY
                                                                              UNCLAIMED PROPERTY DIVISION
                                                                              P.O. BOX 91010
                                                                              BATON ROUGE, LA 70821-9010

LOUISIANA DEPARTMENT OF THE           LOUISIANA DEPARTMENT OF TREASURY        LOUNSBURY, JUDITH M.
TREASURY                              1051 N 3RD ST - RM 150                  1699 N TERRY 330
STATE CAPITOL BLDG ANNEX              UNCLAIMED PROPERTY DIVISION             EUGENE, OR 97402
1051 N 3RD ST                         BATON ROUGE, LA 70802
RM 150
BATON ROUGE, LA 70802

LOUTENSOCK, KENT                      LOUVRING ROBERT WAYNE                   LOUVRING, AMBER M.
6158 W TAPESTRY LANE                  4009 VICTORIA LN                        1318 IRVINGTON DRIVE
HERRIMAN, UT 84096                    EUGENE, OR 97404                        EUGENE, OR 97404




LOVE & TRUE CHURCH                    LOVE ABBY INC                           LOVE BEAL AND NIXON PC
1201 MARION STREET                    P.O. BOX 82                             P.O. BOX 32738
CARTERVILLE, IL 62918                 RED BUD, IL 62278                       OKLAHOMA CITY, OK 73123-0000




LOVE JONATHAN M                       LOVE, ASHLEY K.                         LOVE, BRIANA C.
741 WAVERLY ST                        442 LARKIN VALLEY RD                    ADDRESS ON FILE
EUGENE, OR 97401                      WATSONVILLE, CA 95076




LOVE, DANIELLE M.                     LOVE, DAVID J.                          LOVE, DEBRA J.
ADDRESS ON FILE                       500 WALDEBERG ROAD                      75 CORN PATCH LANE
                                      BEN LOMOND, CA 95005                    GAINESVILLE, MO 65655
LOVE, L MYRTLE            Case 20-10766-BLS    Doc 6
                                        LOVE, LAURA         Filed 04/07/20     Page 1074   of 1969
                                                                                    LOVE, LINDA
293 LOVE ROAD                            610 SFC 215                                1550 SFC 409
FORT PAYNE, AL 35968                     FORREST CITY, AR 72335                     FORREST CITY, AR 72335




LOVE, SAMMIE                             LOVE, SHAY D.                              LOVEALL, JANICE S.
501 SOUTH 14TH ST                        ADDRESS ON FILE                            89 SEGAR LN
WEST MEMPHIS, AR 72301                                                              BUENA VISTA, TN 38318




LOVELACE JR., DONALD G.                  LOVELACE MEDICAL CENTER-EDUCATION          LOVELACE MEDICARE PLAN
11236 CHIMAY COURT                       DEPT                                       P.O. BOX 11968
FRANKFORT, IL 60423                      ATTN: DEBRA PADILLA                        ALBUQUERQUE, NM 87192
                                         601 DR MARTIN LUTHER KING JR AVE NE
                                         ALBURQUERQUE, NM 87102



LOVELADY, EMILY                          LOVELESS, CRAIG R.                         LOVELESS, RENEE S.
8091 PINTAIL ROAD                        ADDRESS ON FILE                            ADDRESS ON FILE
TAMAROA, IL 62888-3127




LOVELESS, TAYLOR J.                      LOVELL CEAIRA J                            LOVELL COMMUNICATIONS INC
ADDRESS ON FILE                          326 S SEVENTH                              3212 WEST END AVE
                                         MONMOUTH, IL 61462                         STE 500
                                                                                    NASHVILLE, TN 37203




LOVELL, CEAIRA J                         LOVELL, JAYNE                              LOVELL, LOVEN
326 S SEVENTH                            65 W 30TH AVE APT 3724                     229 LEE RD 230
MONMOUTH, IL 61462                       EUGENE, OR 97405                           MARIANNA, AR 72360




LOVELL, WILLIAM J JR                     LOVELY EARL                                LOVELY, JILLIAN A.
P O BOX 208                              P.O. BOX 427                               ADDRESS ON FILE
BLUE RIDGE, GA 30513                     JACKSON, KY 41339-0427




LOVELY, SHELIA                           LOVELY, TERRI S.                           LOVETT SUSANNA
ADDRESS ON FILE                          P.O. BOX 841 1090 LAKEVILLE RD             4121 W 135TH ST
                                         SALYERSVILLE, KY 41465                     ROBBINS, IL 60472




LOVETT, TISHONDA M.                      LOVING, LADONNA                            LOVINGOOD KENDRA
615 LIBERTY LN                           3681 WASHINGTON AVE APT A                  162 SETH DRIVE
ANNISTON, AL 36207                       GREAT LAKES, IL 60088                      BLAIRSVILLE, GA 30512




LOVINS, JACK                             LOVINS, PHYLLIS                            LOVISA MEDICAL TRANSPORTS INC.
112 JIM EVANS BRANCE                     112 JIM EVANS BR                           P.O. BOX 69
KERMIT, WV 25674                         KERMIT, WV 25674                           ENERGY, IL 62933
LOVITA BURNETT          Case 20-10766-BLS    Doc 6F. Filed 04/07/20
                                      LOW, GLENDA                     Page 1075  of 1969
                                                                           LOWD, TAMAR
409 E MAIN ST 6                        4612 ASPEN                          496 LARKINS CREEK LN
GALATIA, IL 62935                      BIG SPRING, TX 79720                TUNNEL HILL, IL 62972




LOWE, ABIAS J                          LOWE, DARONCIA                      LOWE, DARREN
419 MEADOW DR                          7953 S BISHOP ST UNIT 2R            1746 POPLAR ST
APT 2                                  CHICAGO, IL 60620                   GRANITE CITY, IL 62040
TROY, IL 62294




LOWE, EMMA                             LOWE, GREGORY                       LOWE, HANNAH L.
2309 DAVELLA ROAD                      1128 DRIFTWOOD LANE                 ADDRESS ON FILE
DEBORD, KY 41214                       WATERLOO, IL 62298




LOWE, HEATHER D.                       LOWE, JOHNNIE                       LOWE, JUDITH
ADDRESS ON FILE                        607 BLANCHARD RD                    1504 E WILLOW DR
                                       EVANS, GA 30809                     MARION, IL 62959




LOWE, MAUREEN                          LOWENSTEIN HEATHER                  LOWERY RODNEY L
3201 MARINERS ISLAND DR NW             1858 BRIGANTINE CIRCLE              1079 GRASSY CREEK RD
APT C                                  WORDEN, IL 62097                    COPPERHILL, TN 37317
CANTON, OH 44708




LOWERY, BARBARA                        LOWERY, BARBARA                     LOWERY, BARBARA
2023 N WILLIS                          ADDRESS ON FILE                     ADDRESS ON FILE
ABILENE, TX 79603




LOWERY, CYNTHIA                        LOWERY, DEBERRA A.                  LOWERY, HOLLY B.
15 SPRING CREEK TRAIL                  ADDRESS ON FILE                     ADDRESS ON FILE
ELLIJAY, GA 30540




LOWERY, HOLLY E.                       LOWERY, HOLLY                       LOWERY, HOLLY
1610 CUEVAS CIRCLE                     SLEEP LAB                           ADDRESS ON FILE
SALINAS, CA 93906




LOWERY, JACKIE                         LOWERY, JARED                       LOWERY, TIFFANY
424 OGLESBY ST                         17619 MARLOW RD                     ADDRESS ON FILE
GREENVILLE, AL 36037-2916              MT VERNON, IL 62864




LOWES CENTER                           LOWES COMPANIES INC                 LOWES HOME CENTER
ATTN: DARLENE HAMMERMEISTER            1000 LOWES BLVD                     P.O. BOX 530954
111 DAVIDSON AVENUE                    MOORESVILLE, NC 28117               ATLANTA, GA 30353
MT. VERNON, IL 62864
LOWES HOME CENTER        Case 20-10766-BLS   Doc 6SAVE
                                       LOWES SUPER   Filed 04/07/20   Page 1076
                                                                           LOWESof 1969
PO BOX 530954                           P.O. BOX 1430                      81 COMMERCE DRIVE
ATLANTA, GA 30353                       LITTLEFIELD, TX 79339              HAZARD, KY 41701




LOWES                                   LOWES                              LOWE-WHITSELL, LAURA
P.O. BOX 530954                         STORE786 (WASHINGTON)              ADDRESS ON FILE
ATLANTA, GA 30353-0954                  P.O. BOX 530954
                                        ATLANTA, GA 30353-0954




LOWHAM MACKENZIE                        LOWHAM, TYRELL                     LOWHAM, WHITNEY
6075 STATE HWY 150                      ADDRESS ON FILE                    ADDRESS ON FILE
EVANSTON, WY 82930




LOWMAN MARY G                           LOWMAN, DEREK                      LOWMAN, MARY G
957 N SEMINARY ST                       ADDRESS ON FILE                    957 N SEMINARY ST
GALESBURG, IL 61401                                                        GALESBURG, IL 61401




LOWMILLER, KENNETH J.                   LOWNEY, MATTHEW T.                 LOWRANCE, DEIDRE
4855 ECHOVALLEY ST NW                   ADDRESS ON FILE                    70 PLANTATION DR
NORTH CANTON, OH 44720                                                     LEXINGTON, TN 38351




LOWRANCE, KRYSTLE                       LOWRY, JUDY                        LOWRY, SHERYL
ADDRESS ON FILE                         64 SHERWOOD DR                     1012 MONROE STREET
                                        CENTRALIA, IL 62801                RED BUD, IL 62278




LOWTHER, DAVID R                        LOY, APRIL                         LOY, TRUDY
22518 HARRIS RD                         ADDRESS ON FILE                    407 WEST AVE
PHILOMATH, OR 97370-0000                                                   PIEDMONT, AL 36272-1933




LOYA, LETICIA E.                        LOYAL AMERICA LIFE INS.            LOYAL AMERICAN INS
1109 N PLATINUM AVE                     ATTN: REFUNDS                      P.O. BOX 30010
DEMING, NM 88030                        P.O.BOX 30010                      AUSTIN, TX 78755
                                        AUSTIN, TX 78755-0000




LOYAL AMERICAN LIFE INS CO              LOYAL AMERICAN                     LOYAL AMERICAN
P.O.BOX 30010                           P.O. BOX 26580                     PO BOX 30010
AUSTIN, TX 78755                        AUSTIN, TN 78755                   AUSTIN, TX 78755




LOYD RUSSELL                            LOYD, AMY J.                       LOYD, DOUG
6230 WADSWORTH RD                       ADDRESS ON FILE                    5 BRIARCLIFF
ORRVILLE, OH 44667                                                         COLLINSVILLE, IL 62234
LOYD, JACOB L.           Case 20-10766-BLS    Doc 6
                                       LOYD, JERRY         Filed 04/07/20   Page 1077   of 1969 R.
                                                                                 LOYD, JOSEPHINE
2128 LINDELL                            7975 DAVIS PRARIE RD                      1006 COUNTRY CLUB DR
GRANITE CITY, IL 62040                  MARION, IL 62959                          RED BUD, IL 62278




LOYD, JOSEPHINE R.                      LOYD, LIANE                               LOYET, CLIFFORD
ADDRESS ON FILE                         17356 N BLUE JAY LN                       403 BISSELL AVE
                                        BLUFORD, IL 62814                         COLLINSVILLE, IL 62234




LOYET, JANET                            LOZADA, JESSICA                           LOZANO, MELISSA R.
1204 CEDAR RIDGE COURT                  2626 OAKLAND AVE                          5960 COUNTY ROAD 221
COLLINSVILLE, IL 62234                  AUGUSTA, GA 30904                         COLLINSVILLE, AL 35961




LOZIER, TERESA                          LOZIER, TRICIA                            LPH ENTERPRISES LLC
775 225TH AVE                           101 LAKEVIEW DR                           P.O. BOX 2626
MONMOUTH, IL 61462                      EAST GALESBURG, IL 61430                  WEST HELENA, AR 72390




LPI                                     LPL HOLDINGS INC/SHERIDAN ROAD            LRGHEALTHCARE AND SUBSIDIARY
P.O. BOX 510817                         707 SKOKIE BLVD                           80 HIGHLAND STREET
NEW BERLIN, WI 53151-0817               STE 400                                   LACONIA, NH 03246
                                        NORTHBROOK, IL 60062




LRS HEALTHCARE                          LSI CONSULTING                            LSI SOLUTIONS INC
14748 W. CENTER ROAD SUITE 300          303 WYMAN ST, STE300                      P.O. BOX 205099
OMAHA, NE 68144                         WALTHAM, MA 02451                         DALLAS, TX 75320-5099




LSL HEALTHCARE INC                      LSL INDUSTRIES, INC.                      LSVT GLOBAL, INC
P.O. BOX 825                            P.O. BOX 825                              4720 N ORACLE RD STE 100
NORTHBROOK, IL 60065-0352               NORTHBROOK, IL 60065                      TUSCON, AR 85705-0000




LTC DON ROSEWOOD CARE CENTER            LTC THERAPY SOLUTIONS                     LTD FINANCIAL
ATTN SHERRY OETTLE                      P O BOX 3667                              3200 WILCREST DRIVE
3490 HUMBERT RD                         TUPELO, MS 38803                          SUITE 600
ALTON, IL 62002                                                                   HOUSTON, TX 77042




LTL MEDICAL, LLC.                       LUANN, EVERETT                            LUANN, KERR
P.O. BOX 940808                         5234 THURMAN BACCUS RD                    1688 NORRIS DR NE
SIMI VALLEY, CA 93065                   SOCIAL CIRCLE, GA 30025                   BOLIVAR, OH 44612




LUANN, WETZEL                           LUBRICH, JOHN F.                          LUCAS BUILDING MAINTENANCE LLC
428 N MAIN ST                           ADDRESS ON FILE                           323 MASTIN AVENUE
HERNDON, PA 17830                                                                 IRONTON, OH 45638
LUCAS DISTRIBUTION, LLC Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      LUCAS LEONARD                 Page 1078  of 1969
                                                                         LUCAS NANNEY
P.O. BOX 1754                         4734 WENDOVER ST                   633 WHITE OAK DR
LOGANVILLE, GA 30052-1754             EUGENE, OR 97404                   CHESTER, IL 62233




LUCAS, DEBORAH A.                   LUCAS, DELORIS                       LUCAS, KEELY
ADDRESS ON FILE                     11020 S WALLACE ST                   ADDRESS ON FILE
                                    CHICAGO, IL 60628




LUCAS, LINDSAY                      LUCAS, LLOYD W.                      LUCAS, TARA
1107 E 13 ST                        520 COVEY LANE                       2472 150TH AVENUE
BIG SPRING, TX 79720                EUGENE, OR 97401                     ALEDO, IL 61231




LUCAS, TERESA                       LUCE, COREY                          LUCE, PAMELA A.
19 AUDREY LANE                      508 LAKEHURST RD                     ADDRESS ON FILE
JACKSON, KY 41339                   APT 2R
                                    WAUKEGAN, IL 60085




LUCERNE, ELIZABETH                  LUCERO, ALBERTA                      LUCERO, ANTHONY
9339 PRAIRIE RIDGE RD               MONTEZUMA HC 80 BOX 10               ADDRESS ON FILE
WALSH, IL 62297                     LAS VEGAS, NM 87701




LUCERO, CURTIS                      LUCERO, DEBBIE                       LUCERO, EDWINA L.
347 NM 94                           ADDRESS ON FILE                      ADDRESS ON FILE
SAPELLO, NM 87745




LUCERO, ELIVIRA                     LUCERO, FRANK S.                     LUCERO, FRANK S.
HC 31 BOX 18G                       ADDRESS ON FILE                      ADDRESS ON FILE
LAS VEGAS, NM 87701




LUCERO, JEANETTE S.                 LUCERO, JESSICA S.                   LUCERO, JOLENE
1236 FIRST STREET                   ADDRESS ON FILE                      P.O. BOX 3951
LAS VEGAS, NM 87701                                                      LAS VEGAS, NM 87701




LUCERO, MAGGIE J.                   LUCERO, MARIA E.                     LUCERO, MICHAEL A.
ADDRESS ON FILE                     ADDRESS ON FILE                      ADDRESS ON FILE




LUCERO, MOISES                      LUCERO, TAMMY                        LUCERO-ROWIN, ELAINE C.
ADDRESS ON FILE                     ADDRESS ON FILE                      ADDRESS ON FILE
LUCIA MCKEAG             Case 20-10766-BLS    Doc 6 PACKARD
                                       LUCILE SALTER  Filed CHILDRENS
                                                            04/07/20    Page 1079  ofA1969
                                                                             LUCINDA  RAMOS
509 MAIN ST                              HOSPITAL AT STANFORD                2550 W ASH
LORDSBURG, NM 88045                      300 PASTEUR DRIVE                   DEMING, NM 88030
                                         MAIL CODE 5572
                                         STANFORD, CA 94305



LUCINDA D LASH                           LUCINDA RANDALL                     LUCINDA RANDALL
2100 AMHERST AVE NW                      P.O. BOX 122                        PO BOX 122
MASSILLON, OH 44646                      18 W CHURCH ST                      18 W CHURCH ST
                                         SAINT AUGUSTINE, IL 61474           SAINT AUGUSTINE, IL 61474




LUCK, CRYSTAL                            LUCK, NICOLE S.                     LUCKER, VIRGINA
3313 GARVEY LANE                         1552 W 1400 N                       238 ST FRANCIS HEIGHTS
EDWARDSVILLE, IL 62025                   ST GEORGE, UT 84770                 FORREST CITY, AR 72335




LUCKETT, MARY A.                         LUCKIE, CURTIS                      LUCKSHIS, MARCELLA L
2000 ILLINOIS AVE                        21 SHERMAN BLANKENSHIP RD           2612 MEADOWLANE DR
ELDORADO, IL 62930                       BEECH BLUFF, TN 38313               GRANITE CITY, IL 62040




LUCKSHIS, WILLIAM                        LUCRECE CARTER, PETTY CASH          LUCRETIA, REED
1265 LOUISVILLE HWY                      CUSTODIAN                           2849 E PINE STREET
GOODLESTTSVILLE, TN 37072                ADDRESS ON FILE                     DEMING, NM 88030




LUCYS APPLIANCES INC                     LUDI, CHRISTOPHER V.                LUDI, JOHNL
3460 SHERIDAN ROAD                       ADDRESS ON FILE                     2428 CALLE CONTENTA
ZION, IL 60099                                                               LAS VEGAS, NM 87701




LUDLOW, BONNIE                           LUDLOW, WILLIAM T.                  LUDLUM MEASUREMENTS, INC.
ADDRESS ON FILE                          403 W HAMILTON                      P.O. BOX 972965
                                         ENERGY, IL 62933                    DALLAS, TX 75397-2965




LUDVIGSON, AMANDA                        LUDY, MELVIN                        LUE KELLY-LOTT
149 SEALE ROAD                           6220 ST PETERS CHURCH RD NW         12218 EGGLESTON AVE
EVANSTON, WY 82930                       DOVER, OH 44622                     CHICAGO, IL 60628




LUEBKE, JAN L.                           LUECK, WANNA ONETA                  LUECKERATH, TERRY
ADDRESS ON FILE                          564 S 53RD STREET                   2623 WASHINGTON AVE
                                         SPRINGFIELD, OR 97478               GRANITE CITY, IL 62040




LUEDTKE MARTA                            LUEDTKE, MEGAN                      LUEKER, MANDY M.
38956 N IL ROUTE 59                      1109 W 38TH PLACE                   ADDRESS ON FILE
LAKE VILLA, IL 60046                     HOBART, IN 46342
LUERA, MARIBEL         Case 20-10766-BLS
                                     LUESSE Doc
                                            SARAH6 B Filed 04/07/20   Page 1080
                                                                           LUETH, of 1969
                                                                                  VIRGINIA
500 SOUTH LANCASTER ST               116 BEHRENS DRIVE                      6680 EDEN ROAD
BIG SPRING, TX 79720                 EDWARDSVILLE, IL 62025                 STEELEVILLE, IL 62288




LUGO, ALYSSA T.                      LUGO, CLAUDIA Y.                       LUGO, CLAUDIA Y.
3650 OLD HIGHWAY 9 P.O. BOX 1003     ADDRESS ON FILE                        P.O. BOX 1761
CEDAR BLUFF, AL 35959                                                       COLUMBUS, NM 88029




LUGO, COLLEEN M.                     LUGO, SHANNON J.                       LUGUE, ROBERTO
ADDRESS ON FILE                      ADDRESS ON FILE                        2110 WOODLAKE BLVD
                                                                            MONROE, GA 30655




LUHR BROTHERS                        LUI, CONNIE                            LUIS A. MARQUEZ
825 MARYVILLE CENTRE DR              140 ATHERTON LOOP                      10576 ARLINGTON STREET
CHESTERFIELD, MO 63017               APTOS, CA 95003                        ADELANTO, CA 92301




LUIS SONDRA G                        LUIS ZAPATA                            LUISE, KELSON
5631 EDNA WAY                        10031 S LONGWOOD DR                    2998 S PERENNIAL CT
EUGENE, OR 97402                     CHICAGO, IL 60643                      MAGNA, UT 84044




LUJAN CHRISTOPHER D                  LUJAN, ALICE                           LUJAN, CHRISTINE M.
149 SILVER SPUR RD BOX 4             782 DORA CELESTE                       ADDRESS ON FILE
LAS VEGAS, NM 87701-0000             LAS VEGAS, NM 87701




LUJAN, CRYSTAL A.                    LUJAN, CRYSTAL M.                      LUJAN, DIANA A.
ADDRESS ON FILE                      ADDRESS ON FILE                        ADDRESS ON FILE




LUJAN, NATASHA                       LUJAN, SHAWNTEL                        LUJAN, SONYA R.
P.O. BOX 907                         ADDRESS ON FILE                        ADDRESS ON FILE
ESPANOLA, NM 87532




LUKAS MICROSCOPE SERVICE INC         LUKAS MICROSCOPE SERVICE INC           LUKENS, TERESA
25715 N HILLVIEW CT                  25715 N HILLVIEW CT                    130 MID MTN RD
MUNDELEIN, IL 60060                  MUNDELEIN, IN 60060                    MINERAL BLUFF, GA 30559




LUKER, MICHAEL                       LUKOWSKY, THOMAS                       LULA M STACY
604 LEE ST                           1551 CLASSEN DR                        P.O. BOX 214
FT DEPOSIT, AL 36032                 BELLEVILLE, IL 62220                   MADISON, AR 72359
LULL, JUSTIN             Case 20-10766-BLS   Doc
                                       LUMADUE,   6 W.Filed 04/07/20
                                                JOHN                         Page 1081
                                                                                  LUMAN,of 1969
                                                                                        LAURIE
79 DANCING SKY TRAILS                   38 BEVERLY DR                             P.O. BOX 166
MESQUITE, NV 89027                      BREECH CREEK, PA 16822                    LOUISA, KY 41230




LUMBER YARD, THE                        LUMBERJACK TREE SERVICE                   LUMEDX
400 FRONT ST                            P.O. BOX 74                               FILE 1305
EVANSON, WY 82930                       LEXA, AR 72355                            1801 W. OLYMPIC BLVD
                                                                                  PASADENA, CA 91199-1305




LUMENIS INC                             LUMENIS INC                               LUMOS, TIFFANNIE
2033 GATEWAY PLACE                      DEPT CH19528                              ADDRESS ON FILE
SUITE 200                               PALATINE, IL 60055-9528
SANTA CLARA, CA 95110




LUMPKIN, SHANNA                         LUMPKINS, OPHELIA M.                      LUMSDAINE, ALFRED
41832 MADRONE ST                        ADDRESS ON FILE                           ADDRESS ON FILE
SPRINGFIELD, OR 97478




LUNA COMMUNITY COLLEGE                  LUNA COUNTY HISTORICAL SOCIETY INC        LUNA COUNTY TREASURER
P O BOX 1510                            301 SOUTH SILVER                          700 S SILVER AVE 5
LAS VEGAS, NM 87701-1510                DEMING, NM 88030                          DEMING, NM 88030




LUNA COUNTY TREASURER                   LUNA COUNTY TREASURER                     LUNA COUNTY
P O DRAWER 1758                         PO DRAWER 1758                            P O BOX 551
DEMING, NM 88031                        DEMING, NM 88031                          DEMING, NM 88031




LUNA HEALTH COUNCIL                     LUNA, LEO A                               LUNA, MELISSA C.
P O BOX 551                             36326 MOUNTAIN VIEW RD                    70 ELK RIDGE DRIVE
DEMING, NM 88031                        HINKLEY, CA 92347                         SOCIAL CIRCLE, GA 30025




LUNA, RENEE E.                          LUNA, STEPHEN                             LUNAAS, CONNIE M.
ADDRESS ON FILE                         1721 GILEAD AVE                           1505 THOMPSON ST
                                        ZION, IL 60099                            BRIDGEPORT, TX 76426-2424




LUND, ABIGAIL                           LUND, MELIA K.                            LUNDAHL, MARGARET A
ADDRESS ON FILE                         ADDRESS ON FILE                           10128 S AVE J
                                                                                  CHICAGO, IL 60617




LUNDEEN, JOANN                          LUNDEEN, THERESA A.                       LUNDEEN, THERESA
550 E CARL SANDBURG DR                  523 N PRAIRIE ST APT 1                    523 N PRAIRIE ST
APT 131                                 GALESBURG, IL 61401                       GALESBURG, IL 61401
GALESBURG, IL 61401
LUNDENBERGER, SHELBY Case 20-10766-BLS    DocJAKE
                                   LUNDQUIST,   6 P.Filed 04/07/20   Page 1082
                                                                          LUNDY,of 1969
                                                                                JANET
308 WATER ST.                      191 CAYCE ST                           301 E 134TH STREET 301 E 134TH STREET
BOLIVAR, OH 44612                  MCCAYSVILLE, GA 30555                  CHICAGO, IL 60827




LUNDY, JOHN                          LUNDY, JONATHAN RAY                  LUNGEVITY FOUNDATION
220 E HEMLOCK                        104 HILLY CIRCLE                     P.O. BOX 1128
DEMING, NM 88030                     PLYMOUTH, NC 27962                   CHICAGO, IL 60690




LUNITA ALLEN                         LUNITA, ALLEN                        LUNKERHEIMER, LINDA
1020 COLLEGE ST                      1020 COLLEGE ST                      7922 PARKFORD ST NW
MADISON, IL 62060                    MADISON, IL 62060                    MASSILLON, OH 44646




LUNN TARA                            LUNN, TARA                           LUNNEMANN EVA
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




LUNNEMANN, EVA L.                    LUNSFORD, DAN                        LUNSFORD, DEBORAH A.
ADDRESS ON FILE                      10348 HWY 150                        ADDRESS ON FILE
                                     EVANSTON, WY 82930




LUNSFORD, WENDY B.                   LUO-GARDNER, JILL S.                 LUPER, NEIDENTHAL & LOGAN
14003 N HIGHVIEW DR                  3139 CLUBSIDE VIEW CT.               1160 DUBLIN ROAD
DALTON, OH 44618-9201                SNELLVILLE, GA 30039                 STE 400
                                                                          COLUMBUS, OH 43215




LUPO, DOMENIC                        LUSCH ,MATTHEW                       LUSK, ALISON
10418 S KEATING                      726 MAIN ST APT 1S                   ADDRESS ON FILE
OAK LAWN, IL 60453                   ANTIOCH, IL 60002




LUSK, BARBARA                        LUSK, MARY                           LUSK, TAMMY
P.O. BOX 869                         1440 TANNERY HEIGHTS ST              ADDRESS ON FILE
LOGANDALE, NV 89021                  MESQUITE, NV 89034-1137




LUSSON, NICHOLAS P                   LUSTER, CHRISTOPHER                  LUSTER, KIM L.
3138 W 114TH PL                      4165 CONTINENTAL DR                  ADDRESS ON FILE
MERRIONETTE PARK, IL 60803           WAUKEGAN, IL 60087




LUSTY, KENDRA                        LUTES, KAYLA                         LUTHER CORBERT
1267 BRYAN RD                        103 S HALE STREET                    3637 FAIRVIEW RD
ERDA, UT 84074                       GRANTSVILLE, UT 84029-0000           ANDREWS, NC 28901
LUTHER SINGLETON        Case 20-10766-BLS
                                      LUTHER,Doc   6 Filed
                                              KIMBERLY L.   04/07/20    Page 1083  of 1969
                                                                             LUTHERAN GENERAL HOSPITAL PHARMACY
3603 FRIENDSHIP RIDGE LN              4318 JASPER RD                          1775 DEMPSTER ST
POWDER SPRINGS, GA 30127-4465         SPRINGFIELD, OR 97478                   PRK RIDGE, IL 60068




LUTHERAN HOSPITAL                     LUTHY, DIANE                            LUTMAN MARGARET L
7950 W. JEFFERSON BLVD                8396 RANDOLPH CO LINE RD                3855 KASKASKIA ROAD
FORT WAYNE, IN 46804                  MARISSA, IL 62257                       FULTS, IL 62244




LUTMAN, CARRIE                        LUTONSKY, DIANNA L.                     LUTSCH, TRISTIAN
4800 RILEY LAKE ROAD                  320 S GRANITE                           1767 LYNN DR
ELLIS GROVE, IL 62241                 DEMING, NM 88030                        ORRVILLE, OH 44667




LUTTMAN PLUMBING                      LUTTMAN, SUSAN R.                       LUTTMAN, WENDY
915 MONROE STREET                     1051 WHITE OAK DR                       915 MONROE STREET
RED BUD, IL 62278                     RED BUD, IL 62278                       RED BUD, IL 62278




LUTZ, ANNA K.                         LUVERT, WARDELL                         LUX CAB COMPANY, LLC
51 PINE TREE AVE                      16 SYCAMORE CT                          9982 ANDERSON AVE, UNIT F
AROMAS, CA 95004                      CALUMET CITY, IL 60409                  CHICAGO RIDGE, IL 60415




LUX, VICTORIA                         LUXAR CARE                              LUZ CONDE
3827 W 121ST PLACE                    16932 WOODINVILLE - REDMOND RD.         2527 OAK ST
ALSIP, IL 60803                       NE SUITE A109                           BLUE ISLAND, IL 60406
                                      WOODINVILLE, WA 98072




LUZ CRYSTAL MD PC                     LUZ MARTINEZ-JIMENEZ                    LUZENTALES, JENNIFER R.
ADDRESS ON FILE                       371 EMMARENE ST                         2018 ADAMS CT
                                      MESQUITE, NV 89027                      GURNEE, IL 60031




LUZENTALES, JENNIFER R.               LUZENTALES, JENNIFER                    LYBARGER, SKYLER B
ADDRESS ON FILE                       ADDRESS ON FILE                         5412 EBONY CT
                                                                              GURNEE, IL 60031




LYCANS, MICHELLE                      LYCOM COMMUNICATIONS INC.               LYDAY, CONNIE D.
192 LEVISA DRIVE                      P.O. BOX 1114                           5951 CHARLESTON RD
LOUISA, KY 41230                      LOUISA, KY 41230                        SALEM, IL 62881




LYDDANE, STEPHEN                      LYDIA BOWEN                             LYDIA F WILLIG
ADDRESS ON FILE                       1201 NORTH WALL ST                      4 THERESA DR
                                      CARBONDALE, IL 62901                    CONESTOGA, PA 17516-9792
LYDIC, REBECCA           Case 20-10766-BLS
                                       LYERLA,Doc 6 R. Filed 04/07/20
                                              CARRIE                    Page 1084
                                                                             LYERLA,ofJUDITH
                                                                                        1969
ADDRESS ON FILE                          400 PHEASANT COURT                   P.O. BOX 349
                                         WORDEN, IL 62097                     JONESBORO, IL 62952




LYERLA, KIP                              LYFT INC                             LYKE, FLORANCE
1020 LYERLA LANE                         P O BOX 734714                       284 ARROWOOD PTE
ALTO PASS, IL 62905                      CHICAGO, IL 60673-4714               BLAIRSVILLE, GA 30512




LYKES, JAMES                             LYKINS ENERGY SOLUTIONS              LYKINS, ANGELA S.
P.O. BOX 326                             P.O. BOX 643875                      62 ROSE STREET
COLLINSVILLE, AL 35961                   CINCINNATI, OH 45264-3875            PAINTSVILLE, KY 41240




LYKINS, CARY                             LYLE CLAGUE                          LYLE SCHUBAUER
ADDRESS ON FILE                          1352 N CEDAR ST                      2350 MADISON AVE
                                         GALESBURG, IL 61401                  UNIT 103
                                                                              GRANITE CITY, IL 62040-0809




LYLE, ALYSSA K.                          LYLE, FREDRICKSON E.                 LYLE, LISA
ADDRESS ON FILE                          414 W HERITAGE WAY                   ADDRESS ON FILE
                                         ERDA, UT 84074




LYLE, MELISA M.                          LYLES, QUENTELLA                     LYM, ANTONELA
37871 SHENANDOAH LOOP                    2431 IOWA STREET                     203 BODIINE DRIVE
SPRINGFIELD, OR 97478                    GRANITE CITY, IL 62040               EVANSTAN, WY 82930




LYM, ANTONELA                            LYMAN CHRISTINE MAE                  LYMAN HIGH SCHOOL
203 BODINE AVE                           419 72ND PL                          TOWN OF LYMAN PD
EVANSTON, WY 82930                       SPRINGFIELD, OR 97478                P.O. BOX 300
                                                                              LYMAN, WY 82937-1090




LYMAN, MARY E.                           LYMAN, MORRIS                        LYMAN, SADIE
ADDRESS ON FILE                          2312 SPRING LN                       249 S 320 W
                                         MARION, IL 62959                     TOOELE, UT 84074




LYMAN, VONNE                             LYMAN, VONNE                         LYMOL MEDICAL CORPORATION
28792 HWY 21 N                           P.O. BOX 24                          4 PLYMPTON STREET
PINE APPLE, AL 36768                     PINE APPLE, AL 36768                 WOBURN, MA 01801-2996




LYMOL MEDICAL                            LYMOSA LLC                           LYMPHEDEMA PRODUCTS,LLC
4 PLYMPTON ST                            412 N LOCK AVENUE                    1095 CRANBURY SOUTH RIVER RD,STE 24
WOLBURN, MA 01801                        LOUISA, KY 41230                     JAMESBURG, NJ 08831
LYNA, T BENSON          Case 20-10766-BLS    DocA 6
                                      LYNCH ERIC         Filed 04/07/20   Page 1085
                                                                               LYNCH,of 1969
                                                                                     AMELIA
405 W. BEACON CT                       568 MADISON LN                          ADDRESS ON FILE
MT. VERNON, IL 62864                   LINDENHURST, IL 60046




LYNCH, ASHLEY                          LYNCH, BRITTNEY N.                      LYNCH, CINDY A.
106 BOO LN                             ADDRESS ON FILE                         609 SOUTHGATE ROAD
HAMLET, NC 28345                                                               NEW LENOX, IL 60451




LYNCH, DEANNA                          LYNCH, DIANA                            LYNCH, DOMONIQUE L.
9588 N PRAIRIE                         427 OLD ROCK ROAD                       4549 W HILL AVE
SHIPMAN, IL 62685                      GRANITE CITY, IL 62040-0000             WAUKEGAN, IL 60085




LYNCH, ERIN                            LYNCH, GENE                             LYNCH, JAMES M.
1506 LORANE HWY                        512 3RD ST NE                           ADDRESS ON FILE
EUGENE, OR 97405-1907                  MASSILLON, OH 44646




LYNCH, LINDA F.                        LYNCH, LISA R.                          LYNCH, MARY E.
ADDRESS ON FILE                        3562 PIN HOOK RD APT 1003               ADDRESS ON FILE
                                       ANTIOCH, TN 37013




LYNCH, PEGGIE W                        LYNCH, REBECCA A.                       LYNCH, RHONDA F.
1115 JAMES ROAD                        2160 L FORK LITTLE BLAINE               14232 S CLARK ST
ROBERSONVILLE, NC 27871                LOUISA, KY 41230                        RIVERDALE, IL 60827




LYNCH, ROBIN                           LYNCH, SHEILA                           LYNCH, TRACI
101                                    ADDRESS ON FILE                         VERTEX STAFFING LLC
BLUE RIDGE, GA 30513                                                           62 PORTSMOUTH AVE
                                                                               STRATHAM, NH 03885




LYNDA ALLEN                            LYNDA K HOUDESHELL                      LYNDA MURREN
827 EAST 101ST ST                      164 PRIMROSE LN                         1270 GRAPEVINE TR
CHICAGO, IL 60628                      HOWARD, PA 16841                        MONROE, GA 30656-4512




LYNDA, JORDAN                          LYNDSAY, DYCUS                          LYNELL WRIGHT
9055 S CARPENTER ST                    P.O. BOX 548                            1823 MAPLE RD
CHICAGO, IL 60620                      HAMEL, IL 62046                         HOMEWOOD, IL 60430-1325




LYNETTE HOWATT                         LYNETTE WILLIAMS                        LYNN PEAVEY COMPANY
ADDRESS ON FILE                        2909 OAKMONT CR                         ATTN: ORDER DEPARTMENT
                                       MONROE, GA 30656-2703                   10749 W 84TH TERRACE
                                                                               LENEXA, KS 66214
LYNN PEAVEY COMPANY     Case 20-10766-BLS    Doc 6
                                      LYNN R NEISS        Filed 04/07/20   Page 1086  of 1969
                                                                                LYNN STUCKERT
P. O. BOX 14100                        4680 ALABAMA AVE SW                      4428 SW 15TH PL
LENEXA, KS 66215                       NAVARRE, OH 44662                        CAPE CORAL, FL 33914-6311




LYNN, ABERLE TAMMIE                    LYNN, CAROLYN                            LYNN, DEBORA
84226 LORANE HIGHWAY                   20529 COUNTY ROAD 925 E                  ADDRESS ON FILE
EUGENE, OR 97405                       DAHLGREN, IL 62828




LYNN, MARIAN L                         LYNN, MIRACLE R.                         LYNNAE TOUCHETTE
38731 N GISH AVE                       ADDRESS ON FILE                          2014 62ND ST
BEACH PARK, IL 60099                                                            MONMOUTH, IL 61462




LYNSEY OVERMAN                         LYON JAMES                               LYON, CALITTA
ADDRESS ON FILE                        2713 GILEAD AVE                          2581 RALPH TAYLOR RD
                                       ZION, IL 60099                           WILLIAMSTON, NC 27892-8228




LYON, GWENDOLYN                        LYON, JANE M.                            LYON, JULENE
2522 GATE PARK DRIVE                   ADDRESS ON FILE                          753 E FIDDLERS CANYON RD
BETHLEHEM, GA 30620                                                             CEDAR CITY, UT 84721




LYON, KELLEY D.                        LYON, ROSE W.                            LYONS TECH CONSULTING
14820 AL HIGHWAY 68                    1302 BULL WHIP PT                        4912 RED OAK DR
CROSSVILLE, AL 35962                   MESQUITE, NV 89034                       WATERLOO, IL 62298




LYONS TODD A                           LYONS, ELIZABETH M.                      LYONS, KRISTE
179 COOK DRIVE                         ADDRESS ON FILE                          ADDRESS ON FILE
ELLIJAY, GA 30540




LYONS, MEGAN L.                        LYONS, RAUCHEL                           LYONS, ROBERT
ADDRESS ON FILE                        ADDRESS ON FILE                          1200 LEFT FORK CANINESS CREEK
                                                                                INEZ, KY 41224




LYONS, TIMOTHY                         LYTLE, NICHOLE                           LYTLE, SYNDEE J.
4101 MCDONALD ST.                      ADDRESS ON FILE                          42916 LEABURG DRIVE
ST. LOUIS, MO 63116                                                             LEABURG, OR 97489-8502




LYTSELL, LORI A                        LYTTLE, EDWARD                           LYTTLE, JOYCE
1712 STARK AVE SW                      P.O. BOX 929                             P.O. BOX 929
CANTON, OH 44706-2949                  OVERTON, NV 89040                        OVERTON, NV 89040
LYVONNE, FRANKLIN      Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                     M & M STORAGE                   Page 1087   of 1969
                                                                          M & O ENVIRONMENTAL COMPANY
1600 FRUIT FARM ROAD EAST            2705 N HIGHWAY 118                    P.O. BOX 759
FORT PAYNE, AL 35967                 ALPINE, TX 79830                      HOMEWOOD, IL 60430-8759




M & O ENVIRONMENTAL COMPANY         M & W ELECTRIC                         M AND H FIRE EQUIPMENT CO
PO BOX 759                          125 SEARS LANE                         518 WEST WILLOW STREET
HOMEWOOD, IL 60430-8759             HELENA, AR 72342                       SCOTTSBORO, AL 35768




M E S INCORPORATED                  M GROUP, THE INC., THE                 M KEIBLER, JULIA
1968 E US HWY 90                    257 CONFEDERATE AVE.                   P.O. BOX 216
SEGUIN, TX 78155                    JASPER, GA 30143                       BLANCHARD, PA 16826-0216




M MODAL SERVICES, LTD.              M PATRICK TRAMMELL - CEO               M RICE, RONALD
P.O. BOX 538504                     DEKALB REGIONAL MEDICAL CENTER         705 16TH ST NE
ATLANTA, GA 30353-8504              200 MEDICAL CENTER DR                  MASSILLON, OH 44646
                                    FT PAYNE, AL 35968




M&H FIRE & SAFETY EQUIPMENT, INC.   M&M EDWARDSVILLE, LLC                  M&R PARTY RENTAL
518 WEST WILLOW STREET              DBA SUGOS SPAGHETTERIA                 2021 VINEYARD ST
SCOTTSBORO, AL 35768                243 HARVARD DR                         BARSTOW, CA 92311
                                    EDWARDSVILLE, IL 62025




M. CHRISTINA SHAAK                  M. ROSADINI CONSULTANTS, LLC           M.C. TOWNSEND ASSOCIATES, LLC
136 W TERRY ST                      76 SURREY LN                           289 PARK ENTRANCE DRIVE
MARYVILLE, IL 62062                 GLASTONBURY, CT 06033                  PITTSBURG, PA 15228-1824




M.C.DEAN, INC                       M2S, INC                               M3 TECHNOLOGY GROUP
1765 GREENSBORO STATION PLACE,      12 COMMERCE AVE                        925 AIRPARK CENTER DR
STE 100, TOWER 1                    WEST LEBANON, NH 03784-0000            NASHVILLE, TN 37217
MCLEAN, VA 22102




MA CRISTINA L ISHOLA                MAACK-SOSNOWSKI, REBECCA L.            MAAG, GREGORY
4100 LAKEVIEW DRIVE                 ADDRESS ON FILE                        1417 WASHINGTON AVE
COUNRTY CLUB HILLS, IL 60478                                               SUITE 2
                                                                           ALTON, IL 62002




MAAS LINDSEY                        MAAS, DARLA M.                         MAASSEN, NICHOLAS
1421 7TH ST                         ADDRESS ON FILE                        1009 E 3RD ST APT. F
HIGHLAND, IL 62249                                                         OFALLON, IL 62269




MABB, BETHANY X.                    MABEN, MARY                            MABERRY, SYBIL MAE
1480 LADD AVE.                      600 RICE ST                            631 66TH ST
WOOD RIVER, IL 62095                WEST MEMPHIS, AR 72301                 SPRINGFIELD, OR 97478-0000
MABES, BYRON             Case 20-10766-BLS   Doc 6 Filed
                                       MABLANCAESTELA,     04/07/20
                                                       MONTOYA        Page 1088 of TANEKI
                                                                           MABORN,  1969
ADDRESS ON FILE                         2908 29TH ST                       321 N MCKINLEY ST
                                        ZION, IL 60099                     MOUNDS, IL 62964




MABRY, MARK                             MABRY, RON                         MAC CALLUM, SPENCER H.
10306 MABRY ST                          P.O. BOX 12                        713 W SPRUCE 8
W FRANKFORT, IL 62896                   VALIER, IL 62891                   DEMING, NM 88030




MAC DONALD, KAYLYN                      MAC INDUSTRIES INC                 MAC MEDICAL SUPPLY CO, INC
6901 W 112TH PL                         2380 W 7TH AVE                     525 WEST MONROE ST
WORTH, IL 60482                         EUGENE, OR 97402                   SUITE 2360
                                                                           CHICAGO, IL 60661-3720




MACALINTAL, VILMA L.                    MACBETH, SHELLEY S.                MACCINE MOORE, BELL
ADDRESS ON FILE                         ADDRESS ON FILE                    14618 S BLACKSTONE
                                                                           DOLTON, IL 60419




MACDONALD, LUCIA M.                     MACDOUGAL FLOYD A                  MACE, BRIANNE
22 SHERWOOD DRIVE                       460 EAGLE MOUNTAIN DR W            141 W 200 N
LINCOLNSHIRE, IL 60069                  ELLIJAY, GA 30540                  NEPHI, UT 84648




MACEACHERN, KAREN F.                    MACEY TURNER                       MACEY, PATRICIA
11295 N. TRITON LN                      1626 N MONROE ST                   2377 SQUIRREL HUNTING RD
MT. VERNON, IL 62864                    GALESBURG, IL 61401                MORGANTON, GA 30560




MACGREGOR, JANA L.                      MACH, TERESA M.                    MACHAEL BRADLEY
ADDRESS ON FILE                         ADDRESS ON FILE                    17788 HWY 70 E
                                                                           HETH, AR 72346




MACHAK, JUDITH A.                       MACHINISTS DISTRICT 9              MACHTEMES-SPAGNOLI, ALLISON
609 SANDWEDGE PLACE                     ATTN: WELFARE                      4754 W 101ST ST.
GURNEE, IL 60031                        12365 ST CHARLES ROCK ROAD         OAK LAWN, IL 60453-4039
                                        BRIDGETON, MO 63044




MACIAS, ALICIA R.                       MACIAS, ANA M.                     MACIAS, CAROLYN
ADDRESS ON FILE                         3157 KINSROW AVE APT. 167          878 HEATHER DR
                                        EUGENE, OR 97401                   BOURBONNAIS, IL 60914




MACIAS, JENNIFER L.                     MACIAS, LAWRENCE                   MACIAS, LAWRENCE
5798 MICA ST                            621 SAN CARLOS                     ADDRESS ON FILE
SPRINGFIELD, OR 97478                   DEMING, NM 88030
MACIEJEWSKI, CAROL L.    Case 20-10766-BLS
                                       MACIEL,Doc 6
                                              BETSY       Filed 04/07/20   Page 1089
                                                                                MACIEL,of 1969
                                                                                        MARY
14009 JAMES DR 619                      ADDRESS ON FILE                         P.O. BOX 2160
CRESTWOOD, IL 60445                                                             FREEDOM, CA 95019




MACIK, KARLA S.                         MACIOS, DAVID                           MACK MORTUARY TRANSPORT LLC
P O BOX 712                             1400 BLUFF RD                           P.O. BOX 1157
COAHOMA, TX 79511                       COLLINSVILLE, IL 62234                  ARAB, AL 35015-0000




MACK PUMP & EQUIPMENT                   MACK, AMY                               MACK, DERRIL
12005 SPAULDING SCHOOL DRIVE            90969 ANGELS FLIGHT RD                  6118 106TH AVE
PLAINFIELD, IL 60585                    LEABURG, OR 97489                       KENOSHA, WI 53142




MACK, DR. KENNETH                       MACK, KAREN B.                          MACK, NAOMI
MEMORIAL SCHOLARSHIP FUND               704 SHORT ST                            22857 MILLARD AVE
1016 E VIRGINIA WAY                     BETHALTO, IL 62010                      RICHTON PARK, IL 60471
BARSTOW, CA 92311




MACK, NIGEL                             MACK, RICK B.                           MACK, SHELIA
13305 S. CALUMET AVE                    ADDRESS ON FILE                         P.O. BOX 9
CHICAGO, IL 60827                                                               PULASKI, IL 62976




MACKAY, LAMAR                           MACKEL, ROBERT L.                       MACKELL, YVONNE
421 ROYAL AVE                           ADDRESS ON FILE                         8946 S UNION AVE
EUGENE, OR 97402-1750                                                           CHICAGO, IL 60620




MACKENZIE, GERRY                        MACKEY, ASHLEY A.                       MACKEY, JANET L.
2718 CENTER ST                          549 SPRING CREEK RD                     ADDRESS ON FILE
APT B                                   EVANSTON, WY 82930
GRANITE CITY, IL 62040




MACKEY, MARGARET                        MACKEY, MARK A                          MACKEY, PAUL
71 RENO RD                              1484 COUNTY ROAD 32                     575 DARTMOUTH ST SE
PLYMOUTH, NC 27892                      COLLINSVILLE, AL 35961                  BREWSTER, OH 44613




MACKLIN LEOLA E                         MACKLIN, YOLANDA                        MACKS, AMBER
13236 S VERNON AVE                      538 SFC 611                             6189 HANK WILLIAMS RD
CHICAGO, IL 60827-1357                  HUGHES, AR 72348                        MCKENZIE, AL 36456




MACLEOD, SUSAN A.                       MACMILLAN, ASHLEY L.                    MACOMB GLASS, INC
6717 MITRA DRIVE                        ADDRESS ON FILE                         200 S COLLINS AVE
AUSTIN, TX 78739                                                                MACOMB, IL 61455
MACON AND COMPANY INC Case 20-10766-BLS    Doc 6 GENERAL
                                    MACON COUNTY     Filed 04/07/20
                                                             HOSPITAL   Page 1090
                                                                             MACONof 1969
                                                                                  JIMMIE L
4887 NORTH GREEN BAY AVE            204 MEDICAL DRIVE                        6533 MADENA DR
MILWAUKEE, WI 53209                 P.O. BOX 378                             GLEN CARBON, IL 62034
                                    LAFAYETTE, TN 37083-0378




MACON, JUDY                           MACON, ROBBIE N.                       MACPRACTICE, INC.
380 SFC 700                           ADDRESS ON FILE                        233 N 8TH, SUITE 300
FORREST CITY, AR 72335                                                       LINCOLN, NE 68508




MACWITHEY, FREDERICK L.               MADANI, CLAUDIA M.                     MADCO PRINTING & ADVERTISING
529 OAK AVE SE                        ADDRESS ON FILE                        1715 SOUTH 11TH ST
MASSILLON, OH 44646                                                          ST LOUIS, MO 63104




MADD, ILLINOIS                        MADDALA, SILPA                         MADDALENO, MEGAN
2070 WEST MONROE B                    ADDRESS ON FILE                        1965 BANYAN TREE RD
SPRINGFIELD, IL 62704                                                        COLLINSVILLE, IL 62234




MADDEN, REBECCA                       MADDIE, SHAROSHALYN                    MADDOX, DAPHNE E.
6331 VV ROAD                          9355 S. ST. LAWRENCE AVE.              1501 JESSICA LN
PRAIRIE DU ROCHER, IL 62277           CHICAGO, IL 60619                      HERRIN, IL 62948




MADDOX, DENISE P.                     MADDOX, DENISE P.                      MADDOX, JENNIFER L.
4049 OXFORD GLEN DRIVE                ADDRESS ON FILE                        ADDRESS ON FILE
FRANKLIN, TN 37067




MADDOX, JEROME                        MADDOX, SYLVIA A.                      MADEJ, KALYN M.
142 PERRY ST                          13129 CLAREMONT AVE.                   1402 LONDON ROAD
APT A                                 VICTORVILLE, CA 92392                  NEW LENOX, IL 60451
MONROE, GA 30655




MADELIA COMMUNITY HOSPITAL            MADELYN HARDING                        MADEMOISELLE INC
121 DREW AVENUE S.E.                  311 27TH ST NW                         4200 W SCHUBERT
MADELIA, MN 56062                     MASSILLON, OH 44647                    CHICAGO, IL 61639




MADERA JR., CARLOS R.                 MADEWELL ERICA                         MADEWELL, BOBBY
12011 GREENWOOD AVE                   555 CALIFORNIA AVE                     2309 DELMAR AVE
BLUE ISLAND, IL 60406                 EAST ALTON, IL 62024                   GRANITE CITY, IL 62040




MADEWELL, ERICA                       MADINGER, KRISTINA                     MADINGER, NANCY S.
2309 DELMAR AVE                       ADDRESS ON FILE                        ADDRESS ON FILE
GRANITE CITY, IL 62040
MADISON CO SHERIFFS DEPTCase 20-10766-BLS
                                      MADISONDoc   6 GENERAL
                                              COUNTY  Filed 04/07/20
                                                                SESSIONS   Page 1091  of COUNTY
                                                                                MADISON   1969 GENERAL SESSIONS
405 RANDLE STREET                     COURT                                      COURT
ATTN CAPT WILLIAM DIMITROFF           515 SOUTH LIBERTY ST SUITE 300B            515 SOUTH LIBERTY ST
EDWARDSVILLE, IL 62025                JACKSON, TN 38301                          SUITE 3008
                                                                                 JACKSON, TN 38301



MADISON COUNTY GOVERNMENT               MADISON COUNTY TREASURER                 MADISON COUNTY TREASURER
157 NORTH MAIN SUITE 382                                                         P.O. BOX 849
EDWARDSVILLE, IL 62025                                                           EDWARDSVILLE, IL 62025




MADISON COUNTY TREASURER                MADISON VALLEY MEDICAL CENTER            MADISON, JILLIAN
P.O. BOX 849                            305 NORTH MAIN STREET                    17107 TASSAJARA CIR
EDWARDSVILLE, IL 62025-0849             ENNIS, MT 59729                          MORGAN HILL, CA 95037




MADISON, JO                             MADISON, KATHERYN J.                     MADISON, LINDEN-SWAFFORD
3056 CRC 3301                           ADDRESS ON FILE                          3441 VICKSBURG DR
STANTON, TX 79782                                                                EDWARDSVILLE, IL 62025




MADLANGBAYAN, STEPHEN                   MADRID HENRIQUEZ, SYLVIA                 MADRID HENRIQUEZ, SYLVIA
332 W. WINDING TRAIL CIR                1404 S 8TH ST                            ADDRESS ON FILE
ROUNDLAKE, IL 60073                     DEMING, NM 88030




MADRID STEFANIE                         MADRID, ASHLEY                           MADRID, MARTINA
1900 DILL RD APT 121                    ADDRESS ON FILE                          1406 E MAPLE ST
BARSTOW, CA 92311                                                                DEMING, NM 88030




MADRID, PHIL                            MADRID, SHANON                           MADRID, TANYA S.
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




MADRIGAL, DAVID R.                      MADRIGAL, ELISE R.                       MADRIGAL, MARY
130 ROACHE RD                           12730 S. LACROSSE AVENUE APT 102         840 MADISON ST
FREEDOM, CA 95019                       ALSIP, IL 60803                          WATSONVILLE, CA 95076




MADRIGAL, MELANIE R.                    MADRIGAL, RICARDO                        MADRY, MARZENA E.
2120 W 120TH PLACE                      840 MADISON ST                           ADDRESS ON FILE
BLUE ISLAND, IL 60406                   WATSONVILLE, CA 95076




MADSEN, BRANDON                         MADSION COUNTY TREASURER                 MADURA, HEIDI
1235 CR 229                             P.O. BOX 849                             2305 CLIFTON ST
LYMAN, WY 82937                         EDWARDSVILLE, IL 62025-0849              COLLINSVILLE, IL 62234
MADVIG, SANDRA            Case 20-10766-BLS
                                        MADZIA,Doc 6 S. Filed 04/07/20
                                               CARLA                       Page 1092 ofSTEPHANIE
                                                                                MAEDER, 1969 M.
1186 LOMBARD ST                           11709 AMDALE ST SW                    ADDRESS ON FILE
GALESBURG, IL 61401                       NAVARRE, OH 44662




MAEDGE, WALTER                            MAEGAN MARTIN                         MAES, JENINE
1355 FRANKLIN AVE                         P.O. BOX 226                          512 MORENAO STREET
EDWARDSVILLE, IL 62025                    FYFFE, AL 35971                       LAS VEGAS, NM 87701




MAESE, ELIAS                              MAESTAS, ANGELA                       MAESTAS, BARBARA C.
P.O. BOX 1474                             661 NANCY ST                          ADDRESS ON FILE
LAS VEGAS, NM 87701-1474                  BARSTOW, CA 92311




MAESTAS, DANIELLE                         MAESTAS, FRANK                        MAESTAS, GLEN
500 MOUNTAIN VIEW DR 57                   P.O. BOX 3362                         ADDRESS ON FILE
LAS VEGAS, NM 87701                       LAS VEGAS, NM 87701




MAESTAS, IDA M                            MAESTAS, PATRICIA                     MAESTAS, SUSAN D.
770 S COLEMAN                             P.O. BOX 54 1052 STATE HWY 386        ADDRESS ON FILE
TOOELE, UT 84074                          ANTON CHICO, NM 87711




MAG INSURANCE COMPANY                     MAG MUTUAL INS CO                     MAG MUTUAL INSURANCE CO
P.O. BOX 52979                            P.O. BOX 52979                        P.O. BOX 52979
ATLANTA, GA 30355-0979                    ATLANTA, GA 30355                     ATALNTA, GA 30355-0979




MAG MUTUAL INSURANCE CO                   MAG MUTUAL INSURANCE CO               MAG MUTUAL INSURANCE COMPANY
P.O. BOX 52979                            P.O. BOX 52979                        P O BOX 52979
ATLANTA, GA 30355-0979                    ATTN: ACCOUNTS RECEIVABLE             ATLANTA, GA 30355-0979
                                          ATLANTA, GA 30355-0979




MAGANA, ALEJANDRA S.                      MAGANA, ALEJANDRA                     MAGANA, BILLIE
ADDRESS ON FILE                           ADDRESS ON FILE                       87 2ND AVE
                                                                                EVANSTON, WY 82930




MAGANA, ESMERALDA                         MAGANA, RUBY S.                       MAGAT, NOEL N.
13215 HERITAGE CIR                        ADDRESS ON FILE                       ADDRESS ON FILE
WATSONVILLE, CA 95076




MAGDALENA CROMER                          MAGEE, AUBREY                         MAGELLAN
158 AIRPORT ROAD W                        186 WILLOW LN                         P.O. BOX 785346
FORT PAYNE, AL 35968                      KNOXVILLE, IL 61448                   RECOVERIES LOCKBOX
                                                                                PHILADELPHIA, PA 19178-5346
MAGER APRIL D           Case 20-10766-BLS
                                      MAGER, Doc 6 J.Filed 04/07/20
                                             ANDREW                    Page 1093
                                                                            MAGER,of 1969
                                                                                   KAYLE L.
4217 MARTIN AVE NE                     1742 WOODLAWN AVE                     1316 REDWOOD DRIVE
FORT PAYNE, AL 35967                   CANTON, OH 44708                      SAINT CLAIR, MO 63077




MAGGART, TASHA C.                      MAGGIE DELASHMUTT                     MAGIC VALLEY PUBLISHING CO INC
ADDRESS ON FILE                        103 VIRGINIA DR                       P.O. BOX 899
                                       JONESBORO, IL 62952-0000              CAMDEN, TN 38320




MAGID, EMILY F.                        MAGILL, JO L.                         MAGILL, KENNETH
220 CARRERA CIR                        1305 JOHNS RD                         14 CHARLES DR
APTOS, CA 95003                        AUGUSTA, GA 30904                     CASEYVILLE, IL 62232-2013




MAGINEL, DAVID                         MAGINEL, PAIGE                        MAGISTRATE COURT OF GWINNETT
20598 MAGGIE LANE                      250 HOPPER LANE                       COUNTY
TAMMS, IL 62988                        DONGOLA, IL 62926                     P.O. BOX 246
                                                                             LAWRENCEVILLE, GA 30046




MAGLASANG, JUNE C                      MAGLE, SANDRA                         MAGLIONE, TRISTAN
400 S 14TH ST 1218                     21716 W HIGHLAND DR                   2350 CUBIT ST APT. 132
SAINT LOUIS, MO 63103                  LAKE ZURICH, IL 60047                 EUGENE, OR 97402




MAGMUTUAL                              MAGNACOUSTICS, INC.                   MAGNATAG VISIBLE SYSTEM
3535 PIEDMONT RD NE                    1995 PARK STREET                      2031 ONEILL RD
BLDG 14-1000                           ATLANTIC BEACH, NY 11509-1027         MACEDON, NY 14502
ATLANTA, GA 30305




MAGNESS, PAMELA P.                     MAGNETIC CONCEPTS CORP                MAGNOLIA REGIONAL HEALTH CENTER
4429 GRADY SMITH RD                    611 3RD AVE SW                        611 ALCORN DRIVE
LOGANVILLE, GA 30052-3600              CARMEL, IN 46032                      CORINTH, MS 38834




MAGNOLIA REGIONAL MEDICAL CENTER       MAGNUM STEEL WORKS INC.               MAGNUSON, LAWRENCE S
101 HOSPITAL DRIVE                     200 SHILOH DRIVE                      1626 NIGHTENGALE CIRCLE
MAGNOLIA, AR 71753                     MT. VERNON, IL 62864                  LINDENHURST, IL 60046




MAGNUSSON, NATASHA L.                  MAGO JR., NESTOR S.                   MAGPANTAY, RAISSA M.
208 BURGESS AVE                        7438 KORBEL DR                        1198 BLACKBURN DR
RAINSVILLE, AL 35986                   GURNEE, IL 60031                      GRAYSLAKE, IL 60030




MAGPAYO, JAY ANNE A.                   MAGRUDER, DENETTA R.                  MAGSBY, DESELPHIA
15228 OAK RD.                          607 EAST 5TH STREET                   905 SASSE STREET APT 91
OAK FOREST, IL 60452                   WEST FRANKFORT, IL 62896              CLARKSDALE, MS 38614
MAGUIRE, JAMES, JR.       Case 20-10766-BLS   Doc 6
                                        MAGVIEW            Filed 04/07/20   Page 1094
                                                                                 MAHAN,of 1969
                                                                                        DONALD
25 MCHENRY LN                           3915 NATIONAL DRIVE, STE 200             12800 BRIAR FOREST
LOCK HAVEN, PA 17745                    BURTSONVILLE, MD 20866                   HOUSTON, TX 77077




MAHAY, RAJINDER K.                      MAHER, EVAN M.                           MAHER, HAMDI
ADDRESS ON FILE                         ADDRESS ON FILE                          17834 S 66TH AVE
                                                                                 TINLEY PARK, IL 60477




MAHER, JOHN F.                          MAHER, ROBERT                            MAHEUX, DIANE
1714 NAUDAIN STREET                     ADDRESS ON FILE                          146 GARFIELD STREET
PHILADELPHIA, PA 19146                                                           CALAIS, ME 04619




MAHLER, LOREN D                         MAHLKE, AMY                              MAHLON R STEINER
11725 S RIDGELAND UNIT 39               2 E PAWNEE CT                            4432 FOREST GLEN AVE NW
WORTH, IL 60482                         COLUMBIA, IL 62236                       MASSILLON, OH 44647




MAHLON, TAYLOR G                        MAHMOUD MOHAMED                          MAHNESMITH, MELONIE M.
1532 BALD EAGLE MT RD                   ADDRESS ON FILE                          ADDRESS ON FILE
MILL HALL, PA 17751




MAHON, GLADYS                           MAHONEY, ASHLEY                          MAHONEY, BRYAN K.
17051 KENWOOD AVE                       17539 VIERRA CANYON RD A102              11239 EAST AVE
SOUTH HOLLAND, IL 60473                 PRUNEDALE, CA 93907                      SANDYVILLE, OH 44671




MAHRT, DAWNIE                           MAIB, JEFFREY S.                         MAICO DIAGNOSTICS
786 WALSH AVE                           ADDRESS ON FILE                          10393 WEST 70TH ST
GALESBURG, IL 61401                                                              EDEN PRAIRIE, MN 55344-0000




MAIDEZ CENTER, THE                      MAIER, ANNETTE                           MAIER, SANDRA
107 E MILL ST                           984 FLORENCE AVE                         11165 GLADDIS ST SW
WATERLOO, IL 62298                      GALESBURG, IL 61401                      MASSILLON, OH 44647




MAIERS TIDY BOWL                        MAIERS TIDY BOWL, INC.                   MAIERS TIDY BOWL, INC.
P.O. BOX 9                              12515 US HWY 51 SOUTH                    P.O. BOX 9
12515 US HWY 45 S                       P.O. BOX 9                               STONEFORT, IL 62987
STONEFORT, IL 62987                     STONEFORT, IL 62987




MAIL FINANCE (NEOPOST)                  MAIL HANDLERS BENEFIT PLAN               MAIL HANDLERS BENEFIT PLAN
P.O. BOX 123682                         ATTN REFUND DEPT                         P.O. BOX 8402
DEPT 3682                               P.O. BOX 8402                            ATTN: REFUNDS DEPT
DALLAX, TX 75312-3682                   LONDON, KY 40742                         LONDON, KY 40742
MAIL HANDLERS BENEFIT     Case 20-10766-BLS    Doc 6
                                        MAIL HANDLERS        Filed 04/07/20   Page 1095   of 1969
                                                                                   MAILE PARKER
P O BOX 8402                             P.O. BOX 981106                           ADDRESS ON FILE
LONDON, KY 40742                         EL PASO, TX 79998




MAILE, PARKER                            MAILFINANCE INC                           MAILHANDLERS BEBEFIT PLN
ADDRESS ON FILE                          DEPT 3682                                 C/O COTIVITI P.O. BOX 935005
                                         P O BOX 123682                            ATLANTA, GA 31193-5005
                                         DALLAS, TX 75312-3682




MAILHANDLERS BENEFIT PLAN                MAILHANDLERS BENEFIT PLAN                 MAILHANDLERS BENEFITS
P.O. BOX 8402                            P.O. BOX 8402                             P.O. BOX 981106
LONDON, KY 40742                         LONDON, KY 40742-8402                     CLAIMS DEPT
                                                                                   EL PASO, TX 79998-1106




MAILHANDLERS                             MAILING AND SHIPPING SYSTEMS              MAILLOUX, MONET
15400 CALHOUN DR                         P.O. BOX 3262                             918 CORCORAN AVE
STE 300 - TREASURY SVCS                  EL PASO, TX 79923-3262                    SANTA CRUZ, CA 95062
ROCKVILLE, MD 20855




MAIN STREET COMM CTR                     MAIN STREET CONNECTIONS LLC               MAIN STREET LAS VEGAS
1003 NORTH MAIN ST                       P.O. BOX 11867                            500 RAILROAD AVE
EDWARDSVILLE, IL 62025                   JACKSON, TN 38308                         LAS VEGAS, NM 87701




MAIN STREET MEDIA                        MAIN, VANESSA E.                          MAINE MOLECULAR QUALITY CONTROLS
906 E ILLINOIS ST                        210 S WEST ST                             INC.
MARION, IL 62959                         KNOXVILLE, IL 61448                       23 MILL BROOK ROAD
                                                                                   SACO, ME 04072




MAINE STANDARDS COMPANY, LLC             MAINE STANDARDS COMPANY, LLC              MAINE STANDARDS COMPANY, LLC
221 US ROUTE 1                           DBA LGC MAINE STANDARDS                   DBA LGC MAINE STANDARDS
CUMBERLAND FORESIDE, ME 04110            221 US ROUTE 1                            221 US ROUTE 1
                                         CUMB FORESIDE, ME 04110-1345              CUMBERLAND FORESIDE, ME 04110




MAINE STANDARDS COMPANY, LLC             MAINE STANDARDS COMPANY, LLC              MAINES, STEPHANIE
DBA LGC MAINE STANDARDS                  DBA LGC MAINE STANDARDS                   ADDRESS ON FILE
221 US ROUTE 1                           221 US ROUTE 1
CUMBERLAND FORESIDE, ME 04110-1345       CUMBERLAND FORESIDE, ME 04410




MAINLINE MEDICAL INC                     MAINLINE MEDICAL                          MAINOR GREGORY D
P.O. BOX 639844                          3250-J PEACHTREE CNR CIR                  4915 MARTIN AVE NE APT.B5
CINCINNATI, OH 45263-9844                NORCROSS, GA 30092                        FORT PAYNE, AL 35967-3451




MAINPRO                                  MAINTENANCE FIRST                         MAIR, MELVIN D
355E ROSE DRIVE                          1907 BARDSTOWN ROAD                       1006 SOUTHWEST DR
ALEXANDRIA, KY 41001                     LOUISVILLE, KY 40205                      P.O. BOX 905
                                                                                   TOOELE, UT 84074
MAISEL, COURTNEY        Case 20-10766-BLS   Doc 6MARSHA
                                      MAISENBACH,   Filed 04/07/20   Page 1096
                                                                          MAISEYof
                                                                                 III, 1969
                                                                                      DANIEL G.
806 COUNTRY CLUB DR                    211 CIVIL BEND                       ADDRESS ON FILE
RED BUD, IL 62278                      P.O. BOX 233
                                       DILLARD, OR 97432




MAITERT, MEGAN                         MAITHRI WEERASINGHE MD INC           MAITLEN, ALEXANDRA C.
1225 LOST TREE DR. NW                  P.O. BOX 487                         ADDRESS ON FILE
CANTON, OH 44708                       BARSTOW, CA 92312




MAITOZA-NADOLSKI, MICHELLE             MAJOR APPLIANCESERVICE, INC          MAJOR CLEONE, LUCILLE
444 GREEN VALEY ROAD                   4330 PRESCOTT AVE                    600 WATERFORD WAY APT 327
WATSONVILLE, CA 95076                  LYONS, IL 60534                      EUGENE, OR 97401




MAJOR MEDICAL PRODUCTS                 MAJOR, MARIAH E.                     MAJOR, PATRICIA K.
28 WATER STREET                        ADDRESS ON FILE                      ADDRESS ON FILE
BATAVIA, IL 60510




MAJORIE PREECE                         MAJORS, JAIDA A.                     MAK, ERNEST M.
16 STATE AVE NE                        ADDRESS ON FILE                      130 STONEBROOK DRIVE
MASSILLON, OH 44646                                                         HELENA, AR 72342




MAK, ERNEST                            MAKAYLA WYNN                         MAKEPEACE, REBECCA
ADDRESS ON FILE                        154 BARRET AVE                       1011 PONDEROSAN WAY
                                       EVANSTON, WY 82930                   APT D
                                                                            ROCK SPRINGS, WY 82901-0000




MAKO SURGICAL CORP                     MAKOBE, NICOLE                       MAKOKHA, VERONICA
2555 DAVIE ROAD                        1092 WALKER CT                       16919 MURPHY AVE
FT. LAUNDERDALE, FL 33317              ANTIOCH, IL 60002                    HAZEL CREST, IL 60429




MALACINA, ELIZABETH                    MALAE, PETER                         MALAICHUK, NADINE K.
6113 W 80TH PL                         78405 MEADOW PARK DRIVE              9404 CALEDONIA DR
BURBANK, IL 60459                      COTTAGE GROVE, OR 97424              TINLEY PARK, IL 60477




MALALAI, HUSSEINI                      MALALIS, DAN L.                      MALALIS, EMELYN
604 STONECREST DR                      ADDRESS ON FILE                      ADDRESS ON FILE
LOGANVILLE, GA 30052




MALARCIK, EWELINA A.                   MALATESTA LAW OFFICES LLC            MALAVITE, ERIN L.
ADDRESS ON FILE                        5310 N HARLEM AVENUE                 7398 BRIGGLE AVE SW
                                       SUITE 203                            EAST SPARTA, OH 44626
                                       CHICAGO, IL 60656
                    Case 20-10766-BLS
MALAYTHONG, BOUNTHONG                    Doc
                                  MALBURG,     6 Filed 04/07/20
                                           JAMES                  Page 1097 of 1969
                                                                       MALCOLM, ROBERTS
ADDRESS ON FILE                   610 N COUNTRY LANE                   15038 S MINERVA AVE
                                  ABINGDON, IL 61410                   DOLTON, IL 60419




MALCOM SMITH, TANQUERAY            MALCOM, JENNIFER D.                 MALCOM, MARSHA
610 DOVE COVE                      519 SHERWOOD DRIVE                  3434 PANNELL RD
SOCIAL CIRCLE, GA 30025            MONROE, GA 30655                    SOCIAL CIRCLE, GA 30025




MALCOM, SHEREE                     MALDONADO ALANIS, ANGELA L.         MALDONADO CHELSEA
P.O. BOX 1281                      ADDRESS ON FILE                     2256 PRAIRIE TRL
SOCIAL CIRCLE, GA 30025                                                ROUND LAKE HEIGHTS, IL 60073




MALDONADO FRANCISCO                MALDONADO JESUS                     MALDONADO, DAVID A.
2014 10TH ST SW                    50 DONNER AVE                       416 VEGA ROAD
LEHIGH ACRES, FL 33976             EVANSTON, WY 82930-4736             ROYAL OAKS, CA 95076




MALDONADO, JAIME                   MALDONADO, JAZMYN L.                MALDONADO, JESUS M.
ADDRESS ON FILE                    ADDRESS ON FILE                     224 4TH ST
                                                                       SOLEDAD, CA 93960




MALDONADO, MAYTE                   MALECKI, SANDRA                     MALESSA SANDERS
588 E 1030 N                       ADDRESS ON FILE                     214 E HOLMES ST
TOOELE, UT 84074                                                       BOX 205
                                                                       ONEIDA, IL 61467




MALESSA SANDERS                    MALGORZATA, RAMA                    MALICKI, DORY L
ADDRESS ON FILE                    21668 W BRENTWOOD LN                26048 W FOREST AVE
                                   LAKE VILLA, IL 60046                ANTIOCH, IL 60002




MALIK, LAURA M.                    MALIN, ASHLI AND CODY               MALINSKI, STEPHANIE R.
504 1/2 E AVE B                    120 EAST BRIGGS                     ADDRESS ON FILE
ALPINE, TX 79830                   ROODHOUSE, IL 62082




MALISSA SANDERS                    MALLANEY, MARGARET A.               MALLARD, BRENDA D
ADDRESS ON FILE                    8951 DUBLIN ST                      778 PHILLIPS COUNTY 201
                                   ORLAND PARK, IL 60462               LEXA, AR 72355




MALLARD, KAYLA                     MALLARD, ROBIN                      MALLER LATISHA MARIE
ADDRESS ON FILE                    P.O. BOX 182                        406 MONROE AVE
                                   LEXA, AR 72355                      JOHNSTON CITY, IL 62951
MALLERY, BREEANN K.    Case 20-10766-BLS   Doc
                                     MALLETT,     6 Filed 04/07/20
                                              BRITTANY               Page 1098  of TAMMY
                                                                          MALLETT, 1969 L.
317 S. EAST ST.                       123 JOHN ELLIOTT DR APT. B           1405 BAKER RD
KEWANEE, IL 61443                     HENAGAR, AL 35978                    HUNTINGDON, TN 38344




MALLETTE RIVERA, MAGGIE J.            MALLEY LAURA                         MALLIAN, MICHAEL
ADDRESS ON FILE                       549 NORTH FIRST STREET               119 MADISON DR APT A
                                      WOOD RIVER, IL 62095                 WATERLOO, IL 62298




MALLINCKRODT INC                      MALLINCKRODT MED.NUC.DIV.            MALLMANN, DARROW
P.O. BOX 223782                       P.O. BOX 17647                       115 EDGEMONT LANE
PITTSBURGH, PA 15251-0000             PALATINE, IL 60055-7647              LOCUST GROVE, VA 22508




MALLORY, CONRAD WELDON                MALLORY, JEFFREY                     MALLY, NIKHIL
916 LAWSON BAR RD                     6098 DORCHESTER COURT CR NW          8224 TRAPHAGEN STREET NW APT A
MYRTLE CREEK, OR 97457                MASSILLON, OH 44646                  MASSILON, OH 44646




MALON, JACKSON                        MALONE PEARING PROPERTIES            MALONE, BRANDIE J.
3441 MARCE CAMP RD                    15075 VISTA RD P.O. BOX 2349         170 CALICHE RD.
LOGANVILLE, GA 30052                  HELENDALE, CA 92342                  ANIMAS, NM 88020




MALONE, CHRISTOPHER                   MALONE, DONALD M.                    MALONE, KAREN D.
6621 GROTON ST. N.W.                  2855 KY ROUTE 1107                   70 COUNTY ROAD 655
CANTON, OH 44708                      PAINTSVILLE, KY 41240                VALLEY HEAD, AL 35989




MALONE, LINDA S.                      MALONE, MARK                         MALONE, MISTY
ADDRESS ON FILE                       70 COUNTY ROAD 655                   ADDRESS ON FILE
                                      VALLEY HEAD, AL 35989




MALONE, SHELLEY                       MALONE, TIFFANY D.                   MALONEY, BARBARA
1002 E REEVES                         ADDRESS ON FILE                      408 SEASONS PKWY
MARION, IL 62959                                                           YAKIMA, WA 98901-1481




MALONEY, BARBARA                      MALONEY, GREGORY                     MALONEY, RONNIE
623 W HURST ST                        808 STANDISH AVE. NW                 3725 HWY 136
BUSHNELL, IL 61422                    MASSILLON, OH 44647                  MANILLA, AR 72442




MALONEY-FROST LLP                     MALONEYM, LORI                       MALOSH, STEFANI S.
601 GOVERNMENT ST                     8708 STANDISH NW                     ADDRESS ON FILE
MOBILE, AL 36602                      MASSILLON, OH 44647
MALOTT, TERA R.          Case 20-10766-BLS   Doc
                                       MALOTTKI,   6 Filed
                                                 JENNIFER L. 04/07/20    Page 1099 of 1969
                                                                              MALOTTKI, RUTH
207 WATERBURY CIRCLE                     326 SYCAMORE STREET                  3450 VILLAGE LANE
LAKE VILLA, IL 60046                     COLLINSVILLE, IL 62234               APT 509
                                                                              GRANITE CITY, IL 62040




MALPASS, SUSANN M.                       MALPASS, SUSANN                      MALTBIE, AMBER S.
93170 COBURG RD                          1460 G STREET                        929 OBRIG AVENUE
HARRISBURG, OR 97446                     SPRINGFIELD, OR 97477                GUNTERSVILLE, AL 35976




MALTBIE, VICTORIA W.                     MALTMAN, JESSICA                     MALZAHN, TARA
441 DOGWOOD LN                           304 W KELL ST                        12769 BARRS RD SW
JACKSONVILLE, AL 36265                   CENTRALIA, IL 62801                  MASSILLON, OH 44647-9202




MAMMEN, PHILIP K.                        MAMMIE, COLE L                       MAMMOGRAPHY ACCREDITATION PROGRAM
4204 NORTH COUNTY ROAD 1130 UNIT A       P.O. BOX 5093                        AMERICAN COLLEGE OF RADIOLOGY
MIDLAND, TX 79705                        WEST MEMPHIS, AR 72301               1891 PRESTON WHITE DR
                                                                              RESTON, VA 20191




MAMMOGRAPHY EDUCATORS                    MANABE, JANICE                       MANACK, ANNELIESE
4121 RANDOLPH STREET                     301 MCCORMICK AVE                    1026 3RD ST NW
SAN DIEGO, CA 92103                      CAPITOLA, CA 95010                   CANTON, OH 44703-2765




MANACK, BRUCE                            MANACK, GARY                         MANAGED CARE CONSULTING
322 HARDIN AVE NW                        4397 BRINKER ST SW                   LINDA KRAUSZ
MASSILLON, OH 44646                      NAVARRE, OH 44662                    99 VINTAGE CT
                                                                              BELLEVILLE, IL 62221-0000




MANAGEMENT RECRUITERS OF GREATER         MANAGEMENT RECRUITERS OF SPOKANE,    MANAGEMENT/MARKETING SERVICES, INC
CHGO, INC                                INC.                                 AS AGENT FOR SILVER OAKS SHOPPING
P.O. BOX 772                             1131 E. WESTVIEW COURT SUITE 110     CENTER
WOODSTOCK, IL 60098                      SPOKANE, WA 99218




MANALO, SOLIMAN                          MANARICO INC.                        MANCHA, BATINA
ADDRESS ON FILE                          P.O. BOX 111                         ADDRESS ON FILE
                                         MANSFIELD, OHIO
                                         MANSFIELD, OH 44901




MANCHA, PSYCHE P.                        MANCHENO, MARIA                      MANCHESTER SURGERY CENTER
2806 CORONADO AVE                        495 W AIRBORN LANE                   1050 OLD DES PERES ROAD
BIG SPRING, TX 79720                     ROUND LAKE, IL 60073                 STE 150 ATTN SHONNA TAYLOR
                                                                              DES PERES, MO 63131




MANCILLA, CONSTANCE                      MANCINELLI, BRUNO                    MANDARICH LAW GROUP LLP
2009 BLACK CR                            7285 SVL BOX                         420 N WABASH AVE, SUITE 400
WARRENVILLE, SC 29851-3018               VICTORVILLE, CA 92392                CHICAGO, IL 60611
                     Case 20-10766-BLS
MANDARICH LAW GROUP LLP                    DocSONIA
                                   MANDARINO,   6 Filed
                                                     I.  04/07/20   Page 1100 of 1969
                                                                         MANDEVILLE, RHONDA
P.O. BOX 109032                    15525 S 117TH CT                       906 20TH ST
CHICAGO, IL 60610                  ORLAND PARK, IL 60467                  ZION, IL 60099




MANDRELL, BRANDON                   MANDY MUIR                            MANELY, THOMAS R.
1323 ROUTE 14 W                     417 W. CHESTNUT ST                    10939 GRABER ST SW
BENTON, IL 62812-1587               GILLESPIE, IL 62033-1510              MASSILLON, OH 44647-9706




MANESS UPHOLSTERY                   MANESS, ANGELA C.                     MANESS, ANNETTE A.
3756 ALBERTON ROAD                  ADDRESS ON FILE                       ADDRESS ON FILE
LEXINGTON, TN 38351




MANESS, DONNA M.                    MANESS, JACKY                         MANESS, JENNIFER A.
P O BOX 25                          4185 BIBLE GROVE RD                   ADDRESS ON FILE
LEXINGTON, TN 38351                 LEXINGTON, TN 38351




MANESS, KIMBERLY                    MANESS, PHILLIP                       MANESS, REGINA C.
5378 COUNTY ROAD 843                1932 SMITH CAPEL                      ADDRESS ON FILE
DAWSON, AL 35963                    DECATURVILLE, TN 38329




MANESS, TIMOTHY A.                  MANESS, TONIE                         MANESS, TONY R.
ADDRESS ON FILE                     ADDRESS ON FILE                       ADDRESS ON FILE




MANEVAL, SHERRI S.                  MANEY, DANIELLE                       MANEY, LAURIE D.
486 2ND ST                          RADIOLOGY                             ADDRESS ON FILE
NORTHUMBERLAND, PA 17857




MANFUCCI, SANDRA                    MANGALINDAN, ROSA U.                  MANGAOIL, MARLON J.
691 14TH STREET                     2516 MCAREE ROAD                      ADDRESS ON FILE
CARLYLE, IL 62231-1319              WAUKEGAN, IL 60087




MANGASAR, MINNIE                    MANGEOT, HEATHER                      MANGIERI ELECTRIC INC
767 MOSS DR UNIT 4                  212 HATTON PL
MESQUITE, NV 89027-1200             FRANKLIN, TN 37067




MANGNALL DFAMILY REVOCABLE TRUST    MANGUBAT, BRIAN C.                    MANGUERA, THELMA
625 205TH PL                        ADDRESS ON FILE                       6118 106TH AVENUE
DYER, IN 46311                                                            KENOSHA, WI 53142
MANHATTAN LIFE INS CO   Case 20-10766-BLS   DocLIFE
                                      MANHATTAN 6 INS
                                                    Filed
                                                      CO 04/07/20      Page 1101 of 1969
                                                                            MANHATTAN LIFE INS CO
P.O. BOX 925568                        P.O. BOX 925568                       P.O. BOX 925688
HOUSTON, TX 77292                      HOUSTON, TX 77292-5568                HOUSTON, TX 77292




MANHATTAN LIFE INS CO                  MANHATTAN LIFE INS                    MANHATTAN LIFE INS
P.O. BOX 925888                        10777 NW FREEWAY                      P.O. BOX 925568
HOUSTON, TX 77292                      HOUSTON, TX 77292                     HOUSTON, TX 77292-5568




MANHATTAN LIFE INSURANCE COMPANY       MANHATTAN LIFE INSURANCE              MANHATTAN LIFE INSURANCE
10777 NORTHWEST FREEWAY                P.O. BOX 925568                       P.O. BOX 958688
HOUSTON, TX 77092                      HOUSTON, TX 77292-5568                HOUSTON, TX 77292-5688




MANHATTAN TELECOMMUNICATIONS           MANHATTEN LIFE INSURANCE              MANHEIM, JOSEPH
CORPORATION                            PO BOX 925888                         ADDRESS ON FILE
METROPOLITAN TELECOMM; METTEL          HOUSTON, TX 77292
P.O. BOX 9660
MANCHESTER, NH 03108-9660



MANHEIN, PATTY                         MANIFEST MEDEX                        MANILAY, CHERRY AMOR D.
125 MERIDIAN DR                        6001 SHELLMOUND ST. SUITE 500         1370 S. WHITE OAK DR. APT 121
JACKSON, TN 38301                      EMERYVILLE, CA 94608                  WAUKEGAN, IL 60085




MANIPON JR., ENRITO                    MANISCALCO, FRANK                     MANLEYS BOILER INC.
600 TUTTLE AVE                         P.O. BOX 701                          7931 WHITAKER STREET
WATSONVILLE, CA 95076                  EUGENE, OR 97440-0701                 BUENA PARK, CA 90621-2932




MANN, DAVID                            MANN, ETHEL                           MANN, JENNY
612 SETTLERS RIDGE RD                  P.O. BOX 1545                         20629 AL HWY 117
ELLIJAY, GA 30540                      BEATTYVILLE, KY 41311                 IDER, AL 35981




MANN, LAWRENCE VERNON                  MANN, LINDA CATHERINE                 MANN, ROBERT K.
14 N ALDER ST                          84536 PHEASANT LANE                   ADDRESS ON FILE
LOWELL, OR 97452                       PLEASANT HILL, OR 97455-0000




MANN, TERRY                            MANNA-HASTINGS, MICHELE               MANNE, JANE
452 E BRICK                            P.O.BOX 91                            534 SHAKESPEARE DR
MARION, AR 72364                       APTOS, CA 95001                       GRAYSLAKE, IL 60030




MANNELLINO, PAUL                       MANNHAMDAN, JUDITH                    MANNING RICHARD J
ADDRESS ON FILE                        5659 S MELVINA AVE                    2143 COUNTY RD 608
                                       CHICAGO, IL 60638                     VALLEY HEAD, AL 35989
MANNING, ADA L          Case 20-10766-BLS    Doc
                                      MANNING,    6 DIANNE
                                               ADELIA  Filed 04/07/20   Page 1102  of APRIL
                                                                             MANNING, 1969L.
1861 HOLLY SPRINGS CHURCH RD          1679 COUNTY RD 66                       ADDRESS ON FILE
WILLIAMSTON, NC 27892-8156            SECTION, AL 35771-8027




MANNING, APRIL L.                     MANNING, APRIL                          MANNING, CARI
4968 WOODSTONE AVE NW                 4968 WOODSTONE AVE NW                   200 POWELL RD
MASSILLON, OH 44647-9026              MASSILLON, OH 44647                     RED BUD, IL 62278




MANNING, CARI                         MANNING, DANIEL P.                      MANNING, HILLARY
ADDRESS ON FILE                       ADDRESS ON FILE                         1630 YARRELL CREEK ROAD
                                                                              WILLIAMSTON, NC 27892




MANNING, JOSHUA                       MANNING, KEVIN                          MANNING, PAMELA J.
10 WEST BROOKHAVEN DRIVE              179 CAMP LANE                           ADDRESS ON FILE
CASEYVILLE, IL 62232                  FYFFE, AL 35971




MANNING, STEPHEN NILE                 MANNING, SUSAN J.                       MANNING-MOORE, ALLISON
378 ROAD 1971                         ADDRESS ON FILE                         2604 JEFFERSON DR.
VALLEY HEAD, AL 35989-2554                                                    GREENVILLE, NC 27858




MANNINO, JOSEPH                       MANNIX, JOHN                            MANNOLINI LAWRENCE P
ADDRESS ON FILE                       402 CONRAD CT                           164 DOUBLELINE RD
                                      WATERLOO, IL 62298                      ELLIJAY, GA 30540




MANNON, ALICE                         MANNS, AMBER J.                         MANNS, NICHOLE
3212 POPLAR SPGS BARG RD              ADDRESS ON FILE                         695 COPE FORK ROAD
LEXINGTON, TN 38351                                                           JACKSON, KY 41339




MANNYS YARD LANDSCAPING               MANORCARE                               MANOS, THOMAS
1810 E BIRCH                          P.O. BOX 7186                           6222 NAVARRE RD SW
DEMING, NM 88030                      BOISE, ID 83707                         CANTON, OH 44706-3126




MANSE, LISA M.                        MANSEL, DARLENE                         MANSER, ERIN
227 HARTER AVE NW                     806 WOODDALE                            209 S ONSTOTT
CANTON, OH 44708                      FORREST CITY, AR 72335                  DUQUOIN, IL 62832




MANSFIELD, TIMOTHY M.                 MANTELLATE SISTERS SERVANTS OF MARY     MANTER, ROBERT
ADDRESS ON FILE                       13811 SOUTH WESTERN AVE                 211 SEE CHAPEL ROAD
                                      BLUE ISLAND, IL 60406                   LOUISA, KY 41230
MANTZ JIMMY G          Case 20-10766-BLS    Doc 6 L Filed 04/07/20
                                     MANTZ KENNETH                        Page 1103
                                                                               MANTZ,of 1969
                                                                                     RICHARD
204 SOUTH 7TH STREET                 320 MAIN ST                               200 S. KIMBERLIN
EAST CARONDELET, IL 62240            CAHOKIA, IL 62206                         TROY, IL 62294




MANUEL SENCION                       MANUEL, CHRISTOPHER M.                    MANUEL, PATSY
1929 E PEAR ST                       257 S. 50TH PL.                           ADDRESS ON FILE
DEMING, NM 88030                     SPRINGFIELD, OR 97478




MANULIFE ASSET MANAGEMENT (U.S.),    MANULIFE ASSET MANAGEMENT (U.S.),         MANULIFE ASSET MANAGEMENT (U.S.),
LLC - FD MGR                         LLC - FD MGR                              LLC - FD MGR
MANULIFE FLOATING RATE INCOME FUND   MANULIFE FLOATING RATE SENIOR LOAN        MANULIFE INVESTMENTS TRUST-FLOATING
                                     FUND                                      RATE INCOME FUND




MANUS, GABRIELLE                     MANUS, TERRY                              MANZANARES, MICHELLE
ADDRESS ON FILE                      209 EVERGREEN DRIVE                       2028 MARK DRIVE
                                     ANNA, IL 62906                            LAS VEGAS, NM 87701




MANZANO, AIMEE                       MANZANO, ERIC                             MANZANO, LISA U.
502 SW 19TH                          ADDRESS ON FILE                           ADDRESS ON FILE
SEMINOLE, TX 79360




MANZAY, ANDRE D.                     MANZIONE RODNEY                           MANZIONE, RODNEY R.
529. FRONT ST.                       ADDRESS ON FILE                           ADDRESS ON FILE
COLORADO CITY, TX 79512




MANZIONE, SHARLEEN K.                MAPLES, JESSLIA                           MAPS FOR HOSPITALS
ADDRESS ON FILE                      P.O. BOX 281                              P.O. BOX 399
                                     MARVELL, AR 72366                         WALLAND, TN 37886




MAPSTONE, ANNA                       MAQUET CARDIOVASCULAR US SALES, LLC       MAQUET MEDICAL SYSTEMS, USA
143 CARDINAL DR                      3615 SOLUTION CENTER                      3615 SOLUTIONS CENTER
LOCK HAVEN, PA 17745                 CHICAGO, IL 60677-3006                    CHICAGO, IL 60677-3006




MAR ARLEEN LANEVE                    MAR COR PURIFICATION, INC                 MARABLE GARY L
34175 DEL MONTE AVE                  16233 COLLECTIONS CTR DR                  P.O. BOX 571
EUGENE, OR 97405                     CHICAGO, IL 60693                         MORGANTON, GA 30560




MARABLE, TIANA                       MARACICH, DAVID                           MARAL, ISSA A.
ADDRESS ON FILE                      15632 SOMERGLEN CT                        121 JOHNSTON FARM LANE
                                     ORLAND PARK, IL 60467                     WOODSTOCK, GA 30188
MARAL, ISSA A.            Case 20-10766-BLS   DocGRANITE
                                        MARANATHA 6 Filed    04/07/20
                                                         S. CORP        Page 1104 of DICKERSON
                                                                             MARANDA 1969
ADDRESS ON FILE                          140 COMMERCE COURT                  ADDRESS ON FILE
                                         PELHAM, AL 35124




MARBLE POINT                             MARBLE POINT                        MARBLE POINT
MARBLE POINT CLO X LTD.                  MARBLE POINT CLO XI LTD.            MARBLE POINT CLO XII LTD.




MARBLE POINT                             MARBLE POINT                        MARBLE POINT
MP CLO III, LTD.                         MP CLO IV, LTD.                     MP CLO VII, LTD.




MARBLE POINT                             MARC HEMPEN                         MARC S BRADSHAW
MP CLO VIII, LTD.                        ADDRESS ON FILE                     1037 RIM ROCK RIDGE
                                                                             MESQUITE, NV 89034




MARC WORKMAN                             MARC WORKMAN, M.D.                  MARCA, ABERNATHY
ADDRESS ON FILE                          ADDRESS ON FILE                     14551 OLD PASCAGOULA
                                                                             GRAND BAY, AL 36541




MARCELLIS, SUSAN E                       MARCERIC, DEBORAH L.                MARCERIC, ELIZABETH A.
232 PORT SIDE                            829 LINCOLN WAY NW                  706 17TH ST SW
LAKEMOOR, IL 60051                       MASSILLON, OH 44647                 MASSILLON, OH 44647




MARCEY PATTERSON                         MARCHA, FERRELL                     MARCHAND, RAYMOND
3200 PALOMINO CR                         444 SFC 215                         1207 STUART ST NW
HERRIN, IL 62948                         FORREST CITY, AR 72335              MASSILLON, OH 44646




MARCHANT PHYS THRPY&WELLNESS INC         MARCHANT, SUSAN M.                  MARCHESE, ADAM
FIT PHYSICAL THERAPY                     9414 SHERIDAN RD                    4803 STALNAKER DRIVE
P.O. BOX 69                              PLEASANT PRAIRIE, WI 53158          NORTH CANTON, OH 44720
MESQUITE, NV 89024-0069




MARCHESE, CYNTHIA                        MARCHESE, MARTIN J.                 MARCHIONE ELECTRIC
4725 SOQUEL CREEK RD                     1540 TROUT GULCH                    3242 WIRETON RD
SOQUEL, CA 95073                         APTOS, CA 95003                     BLUE ISLAND, IL 60406




MARCHIONI, RYLAND C.                     MARCHLEVSKI, KAITLYN R.             MARCHMAN, GEORGE R
18223 RED BUD LN                         1047 GAS LAMP ST                    97 TAMINSI TRAIL
GURNEE, IL 60031                         EUGENE, OR 97402                    BLUE RIDGE, GA 30513
MARCIA ALDEN          Case 20-10766-BLS
                                    MARCIA Doc   6 Filed 04/07/20
                                            L BROWN                 Page 1105  of ANN
                                                                         MARCIEL, 1969L.
8115 WINDWARD TRACE NW              P.O. BOX 163                          27 ROSEWOOD DR
MASSILLON, OH 44646                 RUTLEDGE, AL 36071-0163               WATSONVILLE, CA 95076




MARCINE HANDY                       MARCINIK, CHRISTOPHER L.              MARCO TECHNOLOGIES LLC
8 EISENHOWER DR                     582 MIAMI AVE                         NW 7128
APT B                               BARBERTON, OH 44203                   P.O. BOX 1450
JACKSONVILLE, IL 62650                                                    MINNEAPOLIS, MN 55485




MARCONI, MICHAEL                    MARCOOT JERSEY CREAMERY LLC           MARCOS SANTOS
352 E MAIN ST                       526 DUDLEYVILLE RD                    544 NIEDRINGHAUS AVE
1ST FLR                             GREENVILLE, IL 62246                  GRANITE CITY, IL 62040
LOCK HAVEN, PA 17745




MARCOS TAFOYA                       MARCUM SANITATION                     MARCUM, AMBER L.
501 LUGAR DEL PARAISO               P.O. BOX 195                          180 RIGHT FORK DUNLOW BYPASS R
LAS VEGAS, NM 87701                 MARTHA, KY 41159                      DUNLOW, WV 25511




MARCUM, EUGENE                      MARCUM, GLENDON                       MARCUM, JUNE
P.O. BOX 147                        200 N MARCUM                          10982 HWY 1
CRUM, WV 25669                      WYNNE, AR 72396                       WEBBVILLE, KY 41180




MARCUM, LINDA G.                    MARCUM, LYDIA M.                      MARCUM, TYLER
ADDRESS ON FILE                     932 GREENBRIAR RD                     2850 TOMS CRK RD P.O. BOX 646
                                    LOUISA, KY 41230                      WAYNE, WV 25570




MARCUS THEATRES                     MARCUS THORPE                         MARCUS TUBBS
100 EAST WISCONSIN AVE              ADDRESS ON FILE                       602 W. 15TH ST
SUITE 200                                                                 BIG SPRING, TX 79720
MILWAUKEE, WI 53202-4122




MARCUS, ROBERT P                    MARCUS, STEVEN                        MARCUSON, ANN MARIE
106 LAKEWOOD DR                     26203 MAPLEVIEW DR                    ADDRESS ON FILE
GLEN CARBON, IL 62034               PLAINFIELD, IL 60585




MARCUSON, ANNMARIE                  MARDEN, JONATHAN                      MARDIROSIAN, PAMELA
1308 FIELDSTONE DR                  800 NATCHEZ TRACE DR                  644 GIFFHORN STREET
WATERLOO, IL 62298                  APT 28                                COLUMBIA, IL 62236
                                    LEXINGTON, TN 38351




MAREBOINA, MARGARITA                MAREK, DIANNE M.                      MARENCIK, AREN
ADDRESS ON FILE                     5405 ABBE COURT                       4691 ROHRWAY AVE. NW
                                    OAK FOREST, IL 60452                  MASSILLON, OH 44647
MARES, DEBBIE E.           Case 20-10766-BLS
                                         MARES, Doc  6 Filed 04/07/20
                                                KIMBERLY                Page 1106
                                                                             MARFA of 1969 TRAILER PARK
                                                                                   OVERNIGHT
ADDRESS ON FILE                           ADDRESS ON FILE                    P.O. BOX 728
                                                                             MARFA, TX 79843




MARGARET AMARU                            MARGARET BERN                      MARGARET CLAIRE ODELL CUST
14485 SENECA RD. APT 177                  1600 W MAIN                        ADAM TROY ODELL
VICTORVILLE, CA 92392                     GALESBURG, IL 61401                UNIF TRAN MIN ACT
                                                                             27030 FLOSSMOORE DR
                                                                             BONITA SPRINGS, FL 34135-4411



MARGARET CROWELL                          MARGARET HAYES                     MARGARET KRUSE
387 S CHURCH DR                           225 EAST DRIVE                     KRUSE CONSULTING
RIVES, TN 38253                           SARDIS, TN 38371                   10528 DICKHAUT ROAD
                                                                             MASCOUTAH, IL 62258




MARGARET MUSGRAVE                         MARGARET PARSLEY                   MARGARET VENTURA
104 THOMAS DRIVE                          P.O. BOX 1224                      ADDRESS ON FILE
COBDEN, IL 62920                          KERMIT, WV 25674




MARGARET WEYBRIGHT                        MARGARET WOODRUFF                  MARGARITA GRANILLO
1240 FRANK ST                             339 JOHNSON DR                     200 E PINE
GALESBURG, IL 61401                       BRASELTON, GA 30517-2782           DEMING, NM 88030




MARGHERIO, DIANE J.                       MARGIE L BREWER                    MARGIE M TERRELL
149 EMERALD WAY WEST                      155 HWY 259 S                      21 CHRISTOPHER PLACE APT 19
GRANITE CITY, IL 62040                    PALESTINE, AR 72372                PALESTINE, AR 72372




MARGIE OSMER                              MARGOLIN, RICHARD D.O.             MARGOLIN, RICHARD D.O.
ADDRESS ON FILE                           77 LAKEWOOD PLACE                  ADDRESS ON FILE
                                          HIGHLAND PARK, IL 60035




MARGRET SAUNDERS                          MARGUERITE FLETCHER                MARIA BERTONE
ADDRESS ON FILE                           ADDRESS ON FILE                    962 E 24TH AVE
                                                                             EUGENE, OR 97405-3022




MARIA CARRILLO QUIJANO                    MARIA DE LA TORRE                  MARIA DE LAS MERCEDES SAYAGO, MD
1849 ESIC DRIVE                           1884 182ND ST                      C/O AVRH
EDWARDSVILLE, IL 62025                    LANSING, IL 60438-1737             104 LEGION DR
                                                                             LAS VEGAS, NM 87701




MARIA GRACE L MORABE                      MARIA I GARCIA                     MARIA JUAREZ ROSALES
1621 PLUTE ST                             517 S SILVER AVE                   ADDRESS ON FILE
BARSTOW, CA 92311                         DEMING, NM 88030
MARIA M DURAN            Case 20-10766-BLS
                                       MARIA MDoc  6
                                               SALAS        Filed 04/07/20   Page 1107  of 1969
                                                                                  MARIA MORTON
5744 CIRCLE DR. APT 2W                  ADDRESS ON FILE                           488 ALEXANDER LOOP APT 4219
OAK LAWN, IL 60453                                                                EUGENE, OR 97401-6735




MARIA NAVARRO                           MARIA NUTILE PC                           MARIA PEREZ
ADDRESS ON FILE                         NUTILE LAW                                P.O. BOX 7342
                                        7395 S PECOS RD - STE 103                 BUNKERVILLE, NV 89007-0000
                                        LAS VEGAS, NV 89120




MARIA PINEDO                            MARIA PINEDO                              MARIA SALAS
ADDRESS ON FILE                         P.O. BOX 2084                             ADDRESS ON FILE
                                        MESQUITE, NV 89024




MARIA TUDINI                            MARIAN KNOP                               MARIAN SHOEMAKER
13195 ELTON ST SW                       903 LEHMAN                                250 THIRD AVE
NAVARRE, OH 44662                       CHESTER, IL 62233                         APT 10
                                                                                  LOCK HAVEN, PA 17745




MARIANNA WATER & SEWER DEPT             MARIANNA WATER & SEWER DEPT               MARIANNA-LEE COUNTY
12 COURT ST                             P.O. BOX 737                              CHAMBER OF COMMERCE
MARIANA, AR 72360                       MARIANNA, AR 72360                        P O BOX 584
                                                                                  MARIANNA, AR 72360




MARIANSKA, URSZULA                      MARIANSKA, URSZULA                        MARIBEL ALAYON-HOWARD
ADDRESS ON FILE                         ADDRESS ON FILE                           1771 MAPLE ST
                                                                                  LANSING, IL 60438




MARICELA ZARAZUA                        MARICIC, DENIS                            MARIE GILBERT-MORRIS
ADDRESS ON FILE                         20 STYONS RD                              12346 S BENCK DR
                                        PLYMOUTH, NC 27962                        APT 211
                                                                                  ALSIP, IL 60803




MARIE GORSKI, M.D.                      MARIE HERNANDEZ                           MARIE PHILLIPS
ADDRESS ON FILE                         4007 DIXON                                1085 HOLIDAY DR APT 1122
                                        BIG SPRING, TX 79720                      FORREST CITY, AR 72335




MARIE SIMMS                             MARIES ITALIAN GRILL                      MARILYN BELL
135 WOODLAND ST                         110 S SILVER AVE                          2051 CARRINGTON ST
DETROIT, MI 48202                       DEMING, NM 88030                          GALESBURG, IL 61401




MARILYN BOYDSTUN                        MARILYN ELKINS                            MARILYN GABBARD
290 STATE ROUTE 41                      65 BRADSHAW RD                            693 REDWOOD DR
SAINT AUGUSTINE, IL 61474               ANNA, IL 62906-0000                       CANAL FULTON, OH 44614
MARILYN L MELHOUSE     Case 20-10766-BLS
                                     MARILYNDoc
                                             LAND6         Filed 04/07/20   Page 1108  ofNICKOLS
                                                                                 MARILYN  1969
23917 E PARK RD                       1175 SPRINGFIELD HILL RD                    1140 E DETROIT AVE
FARMINGTON, IL 61531                  JONESBORO, IL 62952                         MONMOUTH, IL 61462




MARILYN RICE                          MARIN, JAVIER                               MARIN, RAYMOND J.
593 E 1180 ST                         12610 ANN ST                                ADDRESS ON FILE
WOODHULL, IL 61490                    BLUE ISLAND, IL 60406




MARIN, SANTA                          MARIN, VERONICA S.                          MARINA MEDICAL INSTRUMENTS INC
512 NORTH COUNTY STREET               ADDRESS ON FILE                             8190 W STATE ROAD 84
WAUKEGAN, IL 60085                                                                DAVIE, FL 33324-4611




MARINA RODRIGUEZ                      MARINELLI, LORI M.                          MARINI, SHELLEY
ADDRESS ON FILE                       ADDRESS ON FILE                             4878 OIL CITY ROAD
                                                                                  WOOSTER, OH 44691




MARINKOVIC, SERGE                     MARINKOVICH, JELENA                         MARINO JANET
ADDRESS ON FILE                       4445 ARTHUR AVE                             310 N MILWAUKEE AVE APT 602
                                      BROOKFIELD, IL 60513                        LAKE VILLA, IL 60046




MARINO, JOSEPH E.                     MARINO, JOSEPH E.                           MARINO, TIM
ADDRESS ON FILE                       ADDRESS ON FILE                             190 ARROWHEAD DRIVE
                                                                                  EVANSTON, WY 82930




MARINO, TIMOTHY                       MARIO GUTIERREZ                             MARIO RICCHIO
119 MANULELE ST                       475 FIFER ST                                732 WELLINGTON PKWY
HILO, HI 96720                        GALESBURG, IL 61401                         NEW LENOX, IL 60451




MARIO VENTURA                         MARIOL, JAY                                 MARIOL, LOIS
4205 TREADWELL BRIDGE RD NW           1034 HIGHLANDER SW                          1034 HIGHLANDER ST SW
MONROE, GA 30656-7038                 MASSILLON, OH 44647                         MASSILLON, OH 44647




MARION CARNEGIE LIBRARY               MARION CHAMBER OF COMMERCE                  MARION CHAMBER OF COMMERCE
206 S. MARKET ST                      P O BOX 652                                 P.O. BOX 307
MARION, IL 62959                      MARION, AR 72364                            2305 WEST MAIN ST
                                                                                  MARION, IL 62959




MARION CHAMBER OF COMMERCE            MARION COMMUNITY UNIT 2                     MARION CULTURAL & CIVIC CENTER
P.O. BOX 307                          1700 WEST CHERRY ST                         P.O. BOX 51
MARION, IL 62959                      MARION, IL 62959                            800 TOWER SQUARE PLAZA
                                                                                  MARION, IL 62959
                      Case 20-10766-BLS
MARION DENTURES & DENTAL            MARIONDoc     6 Filed 04/07/20
                                            EYE CENTER                Page 1109
                                                                           MARIONof 1969
                                                                                  EYE CENTER
210 E DEYOUNG ST                    P.O. BOX 1178                          P.O.BOX 1178
MARION, IL 62959                    MARION, IL 62959                       MARION, IL 62959




MARION FIRE DEPARTMENT               MARION FORD LINCOLN HYUNDAI           MARION GENERAL HOSPITAL INC
204 NORTH COURT ST                   1910 W COOLIDGE AVE                   MARION OCCUPATIONAL HEALTH
MARION, IL 62959-2421                MARION, IL 62959                      DEPT L-3754
                                                                           COLUMBUS, OH 43260-3754




MARION GIRLS SOCCER HS               MARION GLASS AND MIRROR, INC          MARION GLASS AND MIRROR, INC
C/O JAMIE VERBECK                    P.O. BOX 881                          P.O. BOX 881
P.O. BOX 2774                        903 HALFWAY ROAD                      903 HALFWAY ROAD
CARBONDALE, IL 62902                 MARION, IL 62959                      MARION, IL 62959-0000




MARION HEALTHCARE LLC                MARION HIGH SCHOOL BASEBALL           MARION HIGH SCHOOL
3003 CIVIC CIRCLE BLVD               1501 SOUTH CARBON ST                  1700 WILDCAT RD
MARION, IL 62959                     MARION, IL 62959                      MARION, IL 62959




MARION HOSPITAL CORPORATION          MARION JR HIGH SCHOOL CHOIR           MARION LIONS CLUB
1573 MALLORY LANE, SUITE 100         1609 W MAIN ST                        P.O. BOX 505
BRENTWOOD, TN 37027                  MARION, IL 62959                      MARION, IL 62959




MARION MAIN STREET INC               MARION MARLINS                        MARION MEDICAL MISSION
P.O. BOX 535                         C/O TATIA STRANG                      1412 SHAWNEE DRIVE
MARION, IL 62959                     P.O. BOX 1110                         MARION, IL 62959
                                     MARION, IL 62959




MARION MOB PARTNERS                  MARION MOB PARTNERS, LP               MARION PARK DISTRICT
3399 PGA BLVD, STE 240               HCP C/O HOLLADAY PROPERTIES           519 PARISH AVENUE
PALM BEACH GARDENS, FL 33410         P.O. BOX 404485                       MARION, IL 62959
                                     ATLANTA, GA 30384




MARION POLICE DEPARTMENT             MARION PROFESSIONAL                   MARION TROPICAL SNO
1001 W DEYOUNG ST                    FIREFIGHTERS LOCAL 2977               4000 SOUTH MARKET STREET
MARION, IL 62959                     204 N COURT ST                        MARION, IL 62959
                                     MARION, IL 62959




MARION UNIT 2 BASEBALL &             MARION UNIT 2 FOUNDATION 501C3        MARION VA FEE SERVICE 04C
SOFTBALL PARENTS ASSOCIATION         C/O TOM VAN HORN, CPA                 2401 WEST MAIN ST
P O BOX 312                          114 S VICKSBURG                       MARION, IL 62959
MARION, IL 62959                     MARION, IL 62959-1509




MARION YOUTH BASEBALL ASSOC          MARION, CORY                          MARION, JOANN
12929 KYLE COURT                     ADDRESS ON FILE                       P.O. BOX 101
ATTN: JASON VARNER                                                         LOUISVILLE, GA 30434-0101
MARION, IL 62959
MARISA MARSHALL          Case 20-10766-BLS
                                       MARISA Doc 6 Filed 04/07/20
                                              MURRAY                      Page 1110  of 1969
                                                                               MARISCAL, SARA
1000 N HUDSON                           1702 KAREN COURT                       ADDRESS ON FILE
SILVER CITY, NM 88061                   GODFREY, IL 62035




MARISOL SANDOVAL                        MARISSA A BRITT                        MARISSA ST. PETERS
ADDRESS ON FILE                         3100 PARTAIN RD NW                     124 W. 3RD ST
                                        MONROE, GA 30656-8806                  ROXANA, IL 62084




MARIST CATHOLIC HIGH SCHOOL             MARITA G CALDWELL - ITV                MARJAMA, ERIC D.
4200 W 115TH ST                         ADDRESS ON FILE                        ADDRESS ON FILE
CHICAGO, IL 60655




MARJORIE SLOAN                          MARK A BROOKS                          MARK A DICKEY
206 W WOODS ST                          134 WESTVIEW PLACE                     201 FREDERICK ST
AVON, IL 61415                          WATERLOO, IL 62298                     LOCK HAVEN, PA 17745




MARK A STEWART                          MARK A. HUDSON                         MARK CASTLE
12531 LEDGEVIEW ST NW                   200 SENDERO HORSE THIEF RD             ADDRESS ON FILE
CANAL FULTON, OH 44614                  ALPINE, TX 79830




MARK CHESSONS AND SONS INC.             MARK DAVIS, MD                         MARK DEYOUNG MD
101 CHESSON DR                          834 N SEMINARY ST                      2044 TIMBERVIEW
WILLIAMSTON, NC 27892                   GALESBURG, IL 61401                    GALESBURG, IL 61401




MARK DYKE                               MARK EDWARD CUNNINGHAM - CEO           MARK FORBES
3312 WOODHAVEN CT                       GATEWAY REGIONAL MEDICAL CENTER        ADDRESS ON FILE
AUGUSTA, GA 30909                       2100 MADISON AVE
                                        GRANITE CITY, IL 62040




MARK HENKE                              MARK HENRY                             MARK HERRERA
2025 STONEBROOKE ST                     5324 OAK LN                            ADDRESS ON FILE
SPRINGDALE, AR 72762                    WATERLOO, IL 62298-3400




MARK L. JEWELL FAMILY TRUST             MARK MESSMORE                          MARK MTC LLC
ADDRESS ON FILE                         733 COLUMBUS AVE                       DBA MEDICAL TECHNOLOGIES
                                        GALESBURG, IL 61401                    740 SPIRIT 40 PARK DR
                                                                               CHESTERFIELD, MO 63005-0000




MARK PEARSON                            MARK SLAUGHTER                         MARK T MCCARTY TRUSTEE
451 E 980TH ST                          130 HILLCREST DR                       3554 MOMENTUM PLACE
WOODHULL, IL 61490                      LEXINGTON, TN 38351                    CHICAGO, IL 60689-5335
MARK VASQUEZ              Case 20-10766-BLS   Doc 6 Filed
                                        MARK VERONNEAU       04/07/20
                                                       PLASTICS & ENT, PLLCPage 1111  of 1969
                                                                                MARK ZIEGENHAGEL
ADDRESS ON FILE                           5322 KY RTE. 321, SUITE 2             2711 SAVOY PL
                                          PRESTONSBURG, KY 41653                MIDLAND, TX 79705-2304




MARK, KELLIE A.                           MARKADONIS, GEORGE A                  MARKEL BERMUDA LIMITED
ADDRESS ON FILE                           99 S BUTRICK ST APT 204               4521 HIGHWOODS PARKWAY
                                          WAUKEGAN, IL 60085-5363               GLEN ALLEN, VA 23060




MARKELL, JACQUELINE                       MARKET ALLEY WINES                    MARKET LAB
ADDRESS ON FILE                           59 PUBLIC SQUARE                      6850 SOUTHBELT DR
                                          MONMOUTH, IL 61462                    CALEDONIA, MI 49316




MARKET OF CHOICE                          MARKET SQUARE HOSPITALITY, LLC        MARKETLAB INC
P.O. BOX 45018                                                                  DEPT 2506
FRESNO, CA 93718                                                                P.O. BOX 11407
                                                                                BIRMINGHAM, AL 35246-2506




MARKETLAB INC                             MARKETLAB, INC                        MARKHAM, CODY A.
DEPT 2506                                 P.O. BOX 11407                        ADDRESS ON FILE
POBOX 11407                               DEPT 2506
BIRMINGHAM, AL 35246-2506                 BIRMINGHAM, AL 35246-2506




MARKHAM, JOHN C., III                     MARKHAM, MARILYN L.                   MARKLEY ELIZABETH A
2609 HENRY ST                             2110 20TH STREET P. O. BOX 1083       7062 MARKLEY LN
UNIT A6                                   NORTH CHICAGO, IL 60064               MARION, IL 62959
AUGUSTA, GA 30904




MARKLEY, RICHARD                          MARKOFF LAW, LLC                      MARKOTAY, MEGHAN R.
619 E PARADISE ST                         29 N WACKER DR STE 1010               ADDRESS ON FILE
ORRVILLE, OH 44667-2233                   CHICAGO, IL 60606-3203




MARKOTAY, MEGHAN                          MARKOVIC VELINKA                      MARKOWITZ, MERIDAN
ADDRESS ON FILE                           203 COURT STREET                      933 W. HIGH ST
                                          ANNA, IL 62906                        EDWARDSVILLE, IL 62025




MARKS INJURY INC                          MARKS PLUMBING PARTS                  MARKS, KEELIE S.
495 N RIVERSIDE DR                        P.O. BOX 121554                       652 64TH STREET
SUITE 213                                 FORT WORTH, TX 76121-1554             SPRINGFIELD, OR 97478
GURNEE, IL 60031




MARKS, NICOLE                             MARKS, REBECCA                        MARKS, STEPHEN R.
4296 EVANS RD                             ADDRESS ON FILE                       ADDRESS ON FILE
FREDERICKSBURG, OH 44627
MARKUS, TAMMY          Case 20-10766-BLS
                                     MARLA RDoc  6 Filed 04/07/20
                                             DICKINSON                  Page 1112 of DONNA
                                                                             MARLATT, 1969
7067 LEE RD                           35 LOMA AVE                            1739 VIKING AVE
BREESE, IL 62230                      LA SELVA BEACH, CA 95076-1618          ORRVILLE, OH 44667-2374




MARLATT, NATALIE                      MARLENE GRAY                           MARLER DENISE M
236 6TH DR NW                         628 KINGS RIDGE DR                     122 WILSON CT
NEW PHILADELPHIA, PA 44663            MONROE, GA 30655                       GRANITE CITY, IL 62040




MARLER, JANE                          MARLIN MFG. CO.                        MARLOW, ADAM
6572 EDGEWOOD ROAD                    P O BOX 140795                         ADDRESS ON FILE
RED BUD, IL 62278                     ORLANDO, FL 32814-0795




MARLOW, BRITTANI G.                   MARLOW, DANA                           MARLOW, TRACY
3606 CALVIN                           12785 DAVIDSON ROAD                    14003 N HARMONY LN
BIG SPRING, TX 79720                  MARION, IL 62959                       OPDYKE, IL 62872




MARLOWE, DAVID                        MARLOW-LINKS, CONNIE                   MAR-MED CO
STRATEGIC MARKETING CONCEPTS          4649 K LYNN DR                         P.O. BOX 6486
9210 SPRING VALLEY RD                 POCAHONTAS, IL 62275                   GRAND RAPIDS, MI 49503
ELLICOTT CITY, MD 21043




MAR-MED INC                           MARMET, MADDISON                       MARNA STEACH
P O BOX 361201                        9931 WARMINGTON ST SW                  507 WEST WOOD ST
CLEVELAND, OH 44136                   NAVARRE, OH 44662                      AVON, IL 61415




MARONA, RACHEL                        MARONEY, DAVID                         MARONEY, MARY ANNE
1245 COUNTY ROAD 465                  2305 W 110TH PLACE                     ADDRESS ON FILE
SECTION, AL 35771                     CHICAGO, IL 60643




MARONEY, MARY ANNE                    MAROTTA, JAMIE M.                      MAROTTI, ISABELLA M.
2305 W 110TH PLACE                    8565 SCHEER DR                         ADDRESS ON FILE
CHICAGO, IL 60643                     TINLEY PARK, IL 60487




MARPAC INC                            MARQUARDT, DAVID                       MARQUARDT, KATHY K.
8430 WASHINGTON PLACE NE              403 DUCLOS ST                          ADDRESS ON FILE
ALBUQUERQUE, NM 87113                 PRAIRIE DU ROCHER, IL 62277




MARQUARDT, PHILLIP                    MARQUETTE EQUIPMENT FINANCE LLC        MARQUEZ JR., ANTHONY P.
46788 SUNSET AVE                      6975 UNION PART CENTER, 2ND FL         ADDRESS ON FILE
WESTFIR, OR 97492                     MIDVALE, UT 84047
MARQUEZ JR., MARTIN     Case 20-10766-BLS  Doc
                                      MARQUEZ    6 Filed
                                              TORRES, LUIS A.04/07/20   Page 1113 of 1969
                                                                             MARQUEZ, BERTILIA
ADDRESS ON FILE                         12336 DANDELION WAY                   12745 FAIR WAY
                                        VICTORVILLE, CA 92392                 ROYAL OAKS, CA 95076




MARQUEZ, CARMEN L.                      MARQUEZ, ELENA                        MARQUEZ, JEAN R.
2521 CALLE CONTENTA                     1212 E 17TH ST.                       ADDRESS ON FILE
LAS VEGAS, NM 87701                     COLORADO CITY, TX 79512




MARQUEZ, JOFRANCES                      MARQUEZ, JOSE                         MARQUEZ, KRYSTAL
1602 MASON DRIVE                        ADDRESS ON FILE                       1019 ROMERO ST
HERNANDO, MS 38632                                                            LAS VEGAS, NM 87701




MARQUEZ, MARICRUZ                       MARQUEZ, MICHAEL P.                   MARQUEZ, TANYA
254 REBER DR                            ADDRESS ON FILE                       1803 DUQUOIN PL
MESQUITE, NV 89027                                                            BIG SPRING, TX 79720




MARQUINA, VANESSA                       MARQUIS, ELLIS                        MARQUIS, REBECCA
2245 WINNEBAGO RD                       201 BOYD ST                           1005 PACE AVENUE
WAUKEGAN, IL 60087                      CLARKSDALE, MS 38614                  MT. VERNON, IL 62864




MARQUISHA ARMSTRONG                     MARQUITA JOHNSON-BAILEY               MARR, TIMOTHY W.
200 SLADE ST APT-30                     705 DRIVER ROAD NW                    1405 FIELD SCHOOL RD
WILLIAMSTON, NC 27892                   FORT PAYNE, AL 35967                  MCKENZIE, TN 38201




MARRINER, SANDRA                        MARRIOTT LINCOLNSHIRE RESORT          MARROW, BILLIE JO H.
P.O. BOX 397                            TEN MARRIOTT DRIVE                    ADDRESS ON FILE
ROPER, NC 27970                         LINCOLNSHIRE, IL 60069




MARROW, LAURYN                          MARROW, SUSIE                         MARRS, JEREMY
106 COUNTRY LANE                        P.O. BOX 387                          ADDRESS ON FILE
PLYMOUTH, NC 27962                      WINDSOR, NC 27983




MARRUFO, JULI                           MARS, REBECCA                         MARSDEN, SHERI
ADDRESS ON FILE                         2378 WRIGHT ROAD                      1955 N TREVINO TERR
                                        FORT PAYNE, AL 35968-2025             VERNON HILLS, IL 60061




MARSEEN, DOUGLAS ECCLESTON              MARSH AFFINITY GP SVCS                MARSH, COREEN L.
2825 W GRANDVILLE AVE                   P O BOX 10340                         ADDRESS ON FILE
APT 209                                 DES MOINES, IA 50306
WAUKEGAN, IL 60085
MARSH, GLENN              Case 20-10766-BLS
                                        MARSH, Doc  6 Filed 04/07/20
                                               HALEIGH                    Page 1114
                                                                               MARSH,of 1969
                                                                                      JAN BOWMAN
OR CONNIE MARSH                          ADDRESS ON FILE                       12531 NORTH SHORELAND
9000 TRAPHAGEN ST NW                                                           MARION, IL 62959
MASSILLON, OH 44646




MARSHA L COMBS-SKINNER                   MARSHALL A SNIDER, INC                MARSHALL BROWNING HOSPITAL
CHAPTER 13 STANDING TRUSTEE              660 YORK STREET                       900 N. WASHINGTON STREET
PO BOX 1133                              DENVER, CO 80206                      P.O. BOX 192
MEMPHIS, TN 38101-1133                                                         DUQUOIN, IL 62832




MARSHALL CONSTRUCTION                    MARSHALL COUNTY DISTRICT COURT        MARSHALL DARBY
9862 HWY 52 EAST                         424 BLOUNT AVE                        1410 68TH STREET NW
BEATTYVILLE, KY 41311                    SUITE 201                             FORT PAYNE, AL 35967-8301
                                         GUNTERSVILLE, AL 35976




MARSHALL DEBORAH L                       MARSHALL INDUSTIRES, INC              MARSHALL KRISTA
130 FIREFLY RD                           3800 WEST 2100 SOUTH                  4 HOMER LANE
BLUE RIDGE, GA 30513                     SALT LAKE CITY, UT 84120              BLUE RIDGE, GA 30513




MARSHALL WATERMAN                        MARSHALL, ANGELA                      MARSHALL, BERNICE
4488 GLACIER STREET                      ADDRESS ON FILE                       258 CO RD 791
SPRINGFIELD, OR 97478                                                          FLAT ROCK, AL 35966




MARSHALL, BRITTANY F.                    MARSHALL, CAROL ESTHER                MARSHALL, DELILAH
8818 EASY ST. NW                         3220 CRESENT AVE SP 99                6018 S STONY ISLAND AVE
MASSILLON, OH 44646                      EUGENE, OR 97408-0000                 CHICAGO, IL 60637




MARSHALL, DIANE                          MARSHALL, DOROTHY                     MARSHALL, EZRA J.
116 MADISON DRIVE                        ADDRESS ON FILE                       ADDRESS ON FILE
WATERLOO, IL 62298-0000




MARSHALL, KARA                           MARSHALL, LAWRENCE                    MARSHALL, MARISA L.
1528 76TH ST                             608Z WEST AVE                         120 ARENAS VALLEY ROAD P.O. BOX 781
KENOSHA, WI 53143                        ROBERSONVILLE, NC 27871               ARENAS VALLEY, NM 88022




MARSHALL, MARY HELEN                     MARSHALL, MARY                        MARSHALL, PATRICK J.
691 LAUREL CIR                           856 E GROVE ST                        3900 W 109TH ST
BLUE RIDGE, GA 30513-4325                ONEIDA, IL 61467                      CHICAGO, IL 60655




MARSHALL, SHERRI                         MARSHALL, THOMAS                      MARSHALL, TIFFANY M.
ADDRESS ON FILE                          412 OAKLEIGH HILL                     509 W NORTH ST
                                         NASHVILE, TN 37215                    ABINGDON, IL 61410
                     Case 20-10766-BLS
MARSHALL-GOSHAY, ANNETTE                 Doc
                                   MARSTON,   6 Filed 04/07/20
                                            KRYSTYNA             Page 1115 ofKATHLEEN
                                                                      MARTEL, 1969
15721 HOYNE AVE                    ADDRESS ON FILE                    409 E SOUTH 3RD
HARVEY, IL 60426                                                      RED BUD, IL 62278




MARTEL, MARY ANN                   MARTELL, HEATHER K                 MARTELL, JOHN
240 BEACH PINES DR                 4475 DAISY ST SP 108               111 E ASH
APTOS, CA 95003                    SPRINGFIELD, OR 97478-0000         COBDEN, IL 62920




MARTELL, LAUREN                    MARTHA BRIGHT                      MARTHA BROCK
314 W MAIN ST                      107 BROOKS DRIVE                   1027 S A ST
DALTON, OH 44618                   BETHALTO, IL 62010                 MONMOUTH, IL 61462




MARTHA BUSBY                       MARTHA EDWARDS                     MARTHA J BUSBY
P O BOX 122                        172 PEGLEG LN                      903 FORREST AVE E
COLT, AR 72326                     PROCTOR, AR 72376                  WYNNE, AR 72396




MARTHA L FREEMAN                   MARTHA MCCALLUM                    MARTHA NEWTON
5810 COUNTY ROAD 121               2501 MEADOWWIND LN NE              120 NEWTON RD
FORT PAYNE, AL 35968               MASSILLON, OH 44646                GREENVILLE, AL 36037-7518




MARTHA RASCOE                      MARTHANN, HERMAN                   MARTHEY, CHANCE C.
1943 INDIAN WOODS RD               1752 PLUM CREEK RD                 17114 BURTON CITY RD
WINDSOR, NC 27983                  SUNBURY, PA 17801                  ORRVILLE, OH 44667




MARTHEY, JAMES M.                  MARTHEY, JILL                      MARTI DUFFY
2475 RUBLE DR                      1476 N MILLBORNE RD                ADDRESS ON FILE
WOOSTER, OH 44691                  ORRVILLE, OH 44667




MARTI NATISHA                      MARTI, CONCEPCION                  MARTI, NATISHA N.
ADDRESS ON FILE                    ADDRESS ON FILE                    ADDRESS ON FILE




MARTIN ANNABELLE                   MARTIN BARBARA M                   MARTIN BERNADINE
48506 ROARING RAPIDS WAY           ADDRESS ON FILE                    1490 RIVER LOOP 1
P.O. BOX 4                                                            EUGENE, OR 97404
OAKRIDGE, OR 97463




MARTIN BETTY JO                    MARTIN CHIROPRACTIC                MARTIN CO 4-H JUNIOR SWINE, LAMB &
598 NEW STANSBURY RD               225 E BUENA VISTA STREET           GOAT SHOW
TURTLETOWN, TN 37391               BARSTOW, CA 92311                  ATTN: BRENDA GARDNER
                                                                      104 KEHUKEE PARK ROAD
                                                                      WILLIAMSTON, NC 27892
                      Case 20-10766-BLS
MARTIN CO CHAMBER OF COMMERCE       MARTIN Doc  6 Filed
                                           CO YOUTH       04/07/20
                                                     FOOTBALL          Page 1116
                                                                            MARTINof 1969 PLAYERS
                                                                                   COMMUNITY
P.O. BOX 311                        4519 HODE ROAD                          300 NORTH WATTS STREET
WILLIAMSTON, NC 27892               WARFIELD, KY 41267                      WILLIAMSTON, NC 27892




MARTIN COUNTY ARTS COUNCIL            MARTIN COUNTY COMMITTEE OF 100        MARTIN COUNTY HOSPITAL D/B/A MARTIN
P.O. BOX 1134                         P.O. BOX 584                          GENERAL HOSPITAL
WILLIAMSTON, NC 27892                 WILLIAMSTON, NC 27892




MARTIN COUNTY REGISTER OF DEEDS       MARTIN COUNTY SANITATION              MARTIN COUNTY SANITATION
305 E MAIN ST                         387 EAST MAIN STREET STE 140          387 EAST MAIN STREET STE 140
WILLIAMSTON, NC 27892                 INEZ, KY 41224-0373                   INEZ, KY 41224-0373




MARTIN COUNTY SANITATION              MARTIN COUNTY SHERIFF                 MARTIN COUNTY SHERIFF
ROY F COLLIER COMMUNITY CENTER BLDG   32 MAIN ST                            P.O. BOX 407
387 MAIN ST, STE 140                  INEZ, KY 41224                        INEZ, KY 41224
INEZ, KY 41224




MARTIN COUNTY TAX COLLECTOR           MARTIN COUNTY TAX COLLECTOR           MARTIN COUNTY TAX OFFICE
305 E MAIN ST                         P.O. BOX 664                          P.O. BOX 664
WILLIAMSTON, NC 27892                 WILLIAMSTON, NC 27892-0664            305 WEST MAIN STREET
                                                                            WILLIAMSTON, NC 27892




MARTIN COUNTY WATER DISTRICT          MARTIN COUNTY WATER DISTRICT          MARTIN COUNTY
387 EAST MAIN STREET STE 140          ROY F COLLIER COMMUNITY CENTER BLDG   P.O. BOX 668
INEZ, KY 41224                        387 MAIN ST, STE 140                  305 EAST MAIN
                                      INEZ, KY 41224                        WILLIAMSTON, NC 27892




MARTIN COUNTY, SOUTH CAROLINA         MARTIN D SMITH                        MARTIN GENERAL EMERGENCY
                                      ADDRESS ON FILE                       PHYSICIANS LLC
                                                                            5925 KIRBY DRIVE
                                                                            C/O FROST BANK,KRISTINA SUTTERFIELD
                                                                            HOUSTON, TX 77005



MARTIN GENERAL HOSPITAL               MARTIN JILL E                         MARTIN KARL
ENTITY 0154                           207 ASPEN POINT                       8650 HIGHWAY 13
310 S. MCCASKEY ROAD                  GLEN CARBON, IL 62034                 CARRIER MILLS, IL 62917
WILLIAMSTON, NC 27892




MARTIN KRISTIN S                      MARTIN L MITCHELL                     MARTIN MANOR OPERATIONS LLC
6829 MANCHESTER DR                    14311 UNVERSITY AVE                   300 PROVIDER COURT SUITE 100
MARYVILLE, IL 62062                   DOLTON, IL 60419                      RICHMOND, KY 40475




MARTIN OLIVER                         MARTIN PETERSEN COMPANY INC           MARTIN S JONES
902 EVANSVILLE AVE                    9800 55TH STREET                      ADDRESS ON FILE
WATERLOO, IL 62298-0000               KENOSHA, WI 53144
MARTIN SULLIVAN         Case 20-10766-BLS
                                      MARTIN Doc  6 Filed 04/07/20
                                             SUPPLY                  Page 1117
                                                                          MARTINof 1969R
                                                                                 THOMAS
1910 KNOX RD 560 E                    118 WASHINGTON ST                   17330 OKETO
GALESBURG, IL 61401-0000              WILLIAMSTON, NC 27892               TINLEY PARK, IL 60477




MARTIN WILLIAM K                     MARTIN, ALEXIS                       MARTIN, ALISHA
49339 EAGLE ROCK PLACE               1609 W 1ST ST                        408 49 TH AVE
VIDA, OR 97488                       BIG SPRING, TX 79720                 BELLWOOD, IL 60104




MARTIN, AMANDA                       MARTIN, AMANDA                       MARTIN, ANASTASIA
35 CR 726                            ADDRESS ON FILE                      283 SILVERFISH COURT
WYNNE, AR 72396                                                           APTOS, CA 95003




MARTIN, BOB, SENATOR                 MARTIN, BROOKE D.                    MARTIN, CAMERON
EASTERN AGRICULTURAL CTR             3258 ROSEMONT RD                     70 DEVILS RIDGE LN
2900 HWY 125 SOUTH                   APPLING, GA 30802-3312               TRYON, NC 28782
WILLIAMSTON, NC 27892




MARTIN, CHARLOTTE                    MARTIN, CHRISSIE J.                  MARTIN, CHRISTINE A.
2176 HIGHWAY 69 S                    309 ECHOLS DRIVE                     ADDRESS ON FILE
BATH SPRINGS, TN 38311               COAHOMA, TX 79511




MARTIN, CORI M.                      MARTIN, DANIEL L.                    MARTIN, DANIELLE
4885 ELDERBERRY LOOP                 ADDRESS ON FILE                      ADDRESS ON FILE
SPRINGFIELD, OR 97478




MARTIN, DEBORAH L.                   MARTIN, DELORIES S.                  MARTIN, DIANE
ADDRESS ON FILE                      1411 SEA PINES                       ADDRESS ON FILE
                                     MESQUITE, NV 89027




MARTIN, FRANCES A.                   MARTIN, FRANKIE N.                   MARTIN, GAIL
2550 DEWEY HOGAN ROAD                9631 S EUCLID                        6594 HIGHWAY 81
MONROE, GA 30656                     CHICAGO, IL 60617                    LOGANVILLE, GA 30052-9001




MARTIN, GLADYS M.                    MARTIN, HEATHER S.                   MARTIN, HEATHER
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




MARTIN, JACK D                       MARTIN, JAMES V                      MARTIN, JAY
980 N 21ST STREET                    220 SO SECOND ST                     691 ALPINE ROAD
SPRINGFIELD, OR 97477                P O BOX 712                          MENTONE, AL 35984
                                     YERMO, CA 92398
MARTIN, JENEANE G        Case 20-10766-BLS
                                       MARTIN,Doc 6 Filed 04/07/20
                                              JENNIFER                    Page 1118
                                                                               MARTIN,of 1969
                                                                                       JENNIFER
806 DOGWOOD LN                          48 KALADAR DR                           ADDRESS ON FILE
MARION, IL 62959                        STAFFORDSVILLE, KY 41256




MARTIN, JERI L.                         MARTIN, JESSICA E.                      MARTIN, JOEL S.
920 PALOMINO DRIVE                      3950 GOODPASTURE LOOP D223 D223         ADDRESS ON FILE
BEAR RIVER, WY 82930                    EUGENE, OR 97401




MARTIN, JUDY A.                         MARTIN, KALLIE                          MARTIN, KAYLA R.
3448 MANCHESTER SW                      803 7TH ST                              ADDRESS ON FILE
MASSILLON, OH 44647                     EVANSTON, WY 82930




MARTIN, KIMBERLY N.                     MARTIN, KIMBERLY R.                     MARTIN, LESLIE R.
726 N IZARD ST APT 2                    ADDRESS ON FILE                         ADDRESS ON FILE
FORREST CITY, AR 72335




MARTIN, LETICIA                         MARTIN, LINDIE                          MARTIN, LUANN L.
1601 WEST 11TH PLACE                    922 CR 101                              139 ONYX DR
BIG SPRING, TX 79720                    EVANSTON, WY 82930-9065                 WATSONVILLE, CA 95076




MARTIN, MEGAN                           MARTIN, MELISSA D.                      MARTIN, MONICA
ADDRESS ON FILE                         1054 W 4625 SOUTH CIR                   ADDRESS ON FILE
                                        WASHINGTON, UT 84780




MARTIN, OLGA L.                         MARTIN, PAMELA S.                       MARTIN, RAHKEL
401 E PLUM ST                           ADDRESS ON FILE                         6050 OLD COLLINSVILLE RD APT 6
DEMING, NM 88030                                                                FAIRVIEW HEIGHTS, IL 62208




MARTIN, REYNA                           MARTIN, RHONDA                          MARTIN, ROBIN
534 SECOYA ST                           202 WESTWOOD AVE                        ADDRESS ON FILE
WATSONVILLE, CA 95076                   ORRVILLE, OH 44667




MARTIN, ROGER A                         MARTIN, RYLEE                           MARTIN, SAMANTHA F.
196 COUNTY RD 209                       ADDRESS ON FILE                         ADDRESS ON FILE
COLLINSVILLE, AL 35961-4407




MARTIN, STEVEN                          MARTIN, STEVEN                          MARTIN, TERESA L.
501 ADA ST.                             900 EAST REEVES ST.                     909 CHADERIC COURT
BLUE RIDGE, GA 30513                    MARION, IL 62959                        EDWARDSVILLE, IL 62025
MARTIN, TERESA L.        Case 20-10766-BLS
                                       MARTIN,Doc 6 M.Filed 04/07/20
                                              TERESA                   Page 1119
                                                                            MARTIN,of 1969
                                                                                    TERESA
ADDRESS ON FILE                         212 BROOKWOOD TERRACE               ADDRESS ON FILE
                                        FORT PAYNE, AL 35968




MARTIN, TIFFANY N.                      MARTIN, TYLER E.                    MARTIN, VICTORIA V.
13443 MOZART ST                         ADDRESS ON FILE                     ADDRESS ON FILE
BLUE ISLAND, IL 60406




MARTIN, VIRGINIA C                      MARTIN, WILLIAM C.                  MARTIN, WILLIAM H
2617 ADAMS ST                           6815 B ST.                          201 ASH LOOP RD
GRANITE CITY, IL 62040                  SPRINGFIELD, OR 97478               BLUE RIDGE, GA 30513




MARTINCIGH, BRIANA                      MARTINDALE, CHARLES H.              MARTINDALE, EILEEN
2012 S KIPLING DR                       5677 US HWY 31                      523 W. HIGH ST
DEMING, NM 88030                        LETOHATCHEE, AL 36047               EDWARDSVILLE, IL 62025




MARTINDALE, RONALD                      MARTINEAU, SCOTT D.                 MARTINELLI, TAYLOR E.
130 SUNFLOWER                           ADDRESS ON FILE                     1287 CEDAR SHOALS DR APT 1105
HIGHLAND, IL 62249                                                          ATHENS, GA 30605




MARTINEZ ALBA                           MARTINEZ BETSY                      MARTINEZ JESSICA
420 ALPINE DR                           P.O. BOX 116                        252 FENWICK LANE NUM 139
ROUND LAKE, IL 60073                    MORA, NM 87732                      TOOELE, UT 84074




MARTINEZ JR., LEOPOLDO                  MARTINEZ KEITH ALAN                 MARTINEZ MARIA FLORA
ADDRESS ON FILE                         5165 TALISMAN ST                    HC 69 BOX 11
                                        EUGENE, OR 97405                    ROCIADA, NM 87742




MARTINEZ MARIA G                        MARTINEZ MARIA                      MARTINEZ MARY M
ADDRESS ON FILE                         ADDRESS ON FILE                     571 BRIAR AVE
                                                                            GURNEE, IL 60031




MARTINEZ ROSA MAC                       MARTINEZ VARGAS, GERARDO A.         MARTINEZ, ADA
ADDRESS ON FILE                         3140A CUNNISON LN                   2420 S TIN ST
                                        SOQUEL, CA 95073                    DEMING, NM 88030




MARTINEZ, AGAPITO                       MARTINEZ, AMANDA                    MARTINEZ, AMANDA
1115 CRESCENT CT                        ADDRESS ON FILE                     ADDRESS ON FILE
ROUND LAKE BEACH, IL 60073
MARTINEZ, AMELIA        Case 20-10766-BLS   Doc
                                      MARTINEZ,   6 Filed
                                                ANGELA C. 04/07/20   Page 1120  of 1969
                                                                          MARTINEZ, ANGELICA M.
1390 SADDLE BRONC                      517 WEST PEACH                      39 BEVERLY DR.
DEMING, NM 88030                       DEMING, NM 88030                    WATSONVILLE, CA 95076




MARTINEZ, ARLENE                       MARTINEZ, BALTASAR                  MARTINEZ, BIANCA M.
3312 SEABROOK                          3838 UNIVERSITY AVE                 2220 E 52ND ST APT 09F
EL PASO, TX 79936                      GURNEE, IL 60031                    ODESSA, TX 79762




MARTINEZ, BREANNA                      MARTINEZ, BRIAN                     MARTINEZ, CARMEN A.
2608 ALBROOK DR                        47 SHERWOOD DR                      53 HOLLY DR
BIG SPRING, TX 79720                   CENTRALIA, IL 62801                 WATSONVILLE, CA 95076




MARTINEZ, CHERYL A.                    MARTINEZ, CYNTHIA                   MARTINEZ, DARLEEN M.
ADDRESS ON FILE                        145 MONTEBELLO DRIVE                24 A TECOLOTE RD.
                                       WATSONVILLE, CA 95076               LAS VEGAS, NM 87701




MARTINEZ, DARLEEN M.                   MARTINEZ, DELYN                     MARTINEZ, ELVIRA
ADDRESS ON FILE                        812 4TH STREET                      10 MONUMENT
                                       LAS VEGAS, NM 87701                 FREEDOM, CA 95019




MARTINEZ, EMILIA                       MARTINEZ, ERIKA                     MARTINEZ, ERIN R.
104 GALESBURG RD.                      803 N. SCURRY ST.                   110 WESTMORELAND
KNOXVILLE, IL 61448                    BIG SPRING, TX 79720                COLLINSVILLE, IL 62234




MARTINEZ, GRISELDA                     MARTINEZ, ISAAC T.                  MARTINEZ, JASMINE M.
23 ALLSTON WAY                         ADDRESS ON FILE                     1108 2ND ST
WATSONVILLE, CA 95076                                                      LAS VEGAS, NM 87701




MARTINEZ, JESSICA J.                   MARTINEZ, JESSICA R.                MARTINEZ, JESUS M.
215 24TH ST                            27 MONDRAGON LN P.O. BOX 2          ADDRESS ON FILE
SNYDER, TX 79549                       CLEVELAND, NM 87715




MARTINEZ, JILL                         MARTINEZ, JOLENE                    MARTINEZ, JOSEPHE
783 SOUTH 690 WEST                     P.O. BOX 562                        120 SOUTH GRAND AVENUE
TOOELE, UT 84074                       LAS VEGAS, NM 87701                 LAS VEGAS, NM 87701




MARTINEZ, KIMBERLY A.                  MARTINEZ, KODIE                     MARTINEZ, LAURA L.
ADDRESS ON FILE                        421 S 22ND ST                       214 THISTLE ST
                                       MT VERNON, IL 62864                 MESQUITE, NV 89027
MARTINEZ, LISDE           Case 20-10766-BLS   Doc
                                        MARTINEZ,   6 A.Filed 04/07/20
                                                  LOUIS                  Page 1121  of 1969
                                                                              MARTINEZ, MARIA D.
2510 S. GRANITE ST.                       ADDRESS ON FILE                      12055 ANN ST
DEMING, NM 88030                                                               BLUE ISLAND, IL 60406




MARTINEZ, MARIA M.                        MARTINEZ, MARIA R.                   MARTINEZ, MARKANTHONY G.
5921 S TRIPP AVE                          1092 S WEST AVE                      202 ROSEMARY DR
CHICAGO, IL 60629                         WAUKEGAN, IL 60085                   COLLINSVILLE, IL 62234




MARTINEZ, MARLA A.                        MARTINEZ, MARY L.                    MARTINEZ, MATILDE
24 A TECOLOTE RD.                         ADDRESS ON FILE                      ADDRESS ON FILE
LAS VEGAS, NM 87701




MARTINEZ, MEGAN M.                        MARTINEZ, MELISSA                    MARTINEZ, MILAGROS M.
2615 LYNN                                 3711 WILLOW CREST DR                 2 SILO RIDGE ROAD SOUTH
BIG SPRING, TX 79720                      ZION, IL 60099                       ORLAND PARK, IL 60467




MARTINEZ, MONICA A.                       MARTINEZ, MONTSERRAT                 MARTINEZ, NORA
P.O. BOX 174                              ADDRESS ON FILE                      1317 TUCSON RD
WAGON MOUND, NM 87752                                                          BIG SPRING, TX 79720




MARTINEZ, NOREEN                          MARTINEZ, NORMAN                     MARTINEZ, RANDYE
10400 PARKSIDE AVE APT A1                 P.O. BOX 322                         2312 ROBERTS DR
OAK LAWN, IL 60453                        MORA, NM 87732                       BIG SPRING, TX 79720




MARTINEZ, RICHARD M.                      MARTINEZ, ROSA P.                    MARTINEZ, ROSALBA
ADDRESS ON FILE                           7625 MONTANA AVE                     1231 BRANDY LN
                                          HAMMOND, IN 46323                    TOOELE, UT 84074




MARTINEZ, ROSALIMA                        MARTINEZ, SARA M.                    MARTINEZ, SARAI
1040 JACKSON ST                           6615 IRMA HARVEY LANE                1800 WEDGEWOOD DR
NORTH CHICAGO, IL 60064                   PLAINFIELD, IL 60586                 GURNEE, IL 60031




MARTINEZ, SHERRY                          MARTINEZ, STACY                      MARTINEZ, TABRI A.
5312 WASSON RD                            3200 RONDA LECHUSAS NW               103 JONESBORO
BIG SPRING, TX 79720-0000                 ALBUQUERQUE, NM 87120                BIG SPRING, TX 79720




MARTINEZ, TAMARA                          MARTINEZ, TANIA G.                   MARTINEZ, TASHA
2424 ANZIO                                ADDRESS ON FILE                      P.O. BOX 2163
FORT IRIWIN, TX 92310                                                          LAS VEGAS, NM 87701
MARTINEZ, THERESA       Case 20-10766-BLS   Doc
                                      MARTINEZ,   6 Filed
                                                YARITZIA A. 04/07/20     Page 1122  of 1969
                                                                              MARTINEZ-GONZALEZ, TERESA
P.O. BOX 1581                           ADDRESS ON FILE                        136 E 168TH ST
LAS VEGAS, NM 87701                                                            SOUTH HOLLAND, IL 60473




MARTINEZ-HUMPHREY, GABRIELA             MARTINEZSANCHEZ, DUNIA                 MARTINO, ANTONIO
550 AGNES DR                            706 LENOX AVE                          12640 ARTESIAN
BARSTOW, CA 92311                       WAUKEGAN, IL 60085                     BLUE ISLAND, IL 60406




MARTINO, TIMOTHY M                      MARTINOSKY, LARRY                      MARTINOVICH, JOHN
ADDRESS ON FILE                         191 HOLLAND DR                         2204 WARF DR/2307
                                        EVANSTON, WY 82930                     WOODRIDGE, IL 60517




MARTIN-PITT PARTNERSHIP FOR CHILDREN    MARTIN-RAY LAUNDRY SYSTEMS,INC         MARTINSSON, TOBIAS
415 EAST BOULEVARD                      2050 W 9TH AVE                         77 E ANDREWS DR 3206
SUITE 200                               DENVER, CO 80204-3846                  ATLANTA, GA 30305
WILLIAMSTON, NC 27892




MARTORANO, DION                         MARTY COBB                             MARTY THOMAS
7924 DADA DR                            64 FRIARTUCK WAY                       488 SOUTH CONECH ST
GURNEE, IL 60031-5179                   FYFFE, AL 35971                        APT B2
                                                                               GREENVILLE, AL 36037




MARTY, JODY                             MARTY, JOSEPH, III                     MARTY, PHYLLIS A.
100 W 3RD ST                            DBA MARTYS MICROSCOPE SVC              ADDRESS ON FILE
HARTFORD, IL 62048                      5199 E SILVER OAK RD
                                        SALT LAKE CITY, UT 84108




MARTYNENKO, KATERYNA                    MARVA BRISSETT                         MARVEL, DOUGLAS
2287 N SALEM LANE                       BOX 691                                716 S BROAD
ROUND LAKE BEACH, IL 60073              LAKE HAMILTON, FL 33851-0691           KNOXVILLE, TN 61448




MARVEL, SARAH                           MARVELL ACADEMY BOOSTER CLUB           MARVELL CIVIC CLUB
716 S BROAD ST                          208 HWY 1 SOUTH                        905 CARRUTH AVE
KNOXVILLE, IL 61448                     MARVELL, AR 72366                      MARVELL, AR 72366




MARVIN COUNCIL                          MARVIN MENG                            MARVIN MIJANGOS, ARDMS
1924 CLARK RD                           1603 COLES COURT                       3512 WEST COLUMBUS AVE
ROBERSONVILLE, NC 27871                 EDWARDSVILLE, IL 62025                 CHICAGO, IL 60652




MARVIN TYLER C                          MARY A GRONE                           MARY ALICE ORTIZ
1207 SOUTH WALL ST                      261 N LINWOOD DR APT 122               1918 NEW MEXICO AVE
CARBONDALE, IL 62901                    WOODRIDGE                              LAS VEGAS, NM 87701
                                        GALESBURG, IL 61401
MARY ANNE MCCARTHY       Case 20-10766-BLS   DocDUNN
                                       MARY BESS 6 Filed 04/07/20    Page 1123
                                                                          MARY Cof 1969
                                                                                 PULS
60 W FOURTH ST                         1607 BURTON AVE                    3773 COMET LINEAR
GALESBURG, IL 61401                    NASHVILLE, TN 37215-3017           SPARKS, NV 89436




MARY CECIL                             MARY CLAY                          MARY DEKALB
ADDRESS ON FILE                        1224 LANCASTER                     ADDRESS ON FILE
                                       WEST MEMPHIS, AR 72301




MARY DOTSON                            MARY DURAN                         MARY E DICK
609 MARABLE ST                         ADDRESS ON FILE                    1627 LONG RUN RD
MONROE, GA 30656                                                          MILL HALL, PA 17751




MARY E HAVLOVIC                        MARY E KLEIN                       MARY FARMER
14760 SESSER LAKE RD                   12230 ROSEBOROUGH RD               ADDRESS ON FILE
SESSER, IL 62884                       SPARTA, IL 62286




MARY FLAVIN                            MARY FRAN AMENDOLA                 MARY GREENLEE
3624 WEST 117TH ST                     9125 MANCHESTER SW                 16356 N. 164TH LN
CHICAGO, IL 60655                      BEACH CITY, OH 44608               SURPRISE, AZ 85388




MARY H MCPHERSON                       MARY HARKINS                       MARY HARTMANN
79 MITCHELL DRIVE                      1671 ZALE AVE                      6828 WINSTON DR
RAINSVILLE, AL 35986                   BLUE GRASS, IA 52726               TINLEY PARK, IL 60477




MARY J BOWMAN                          MARY J DUDLEY                      MARY JANE CAREY
1406 SPRINGVIEW DR                     2727 LINCOLNWAY W                  1361 POPLAR SPRINGS BARGERTON RD
AUGUSTA, GA 30909-2809                 MASSILLON, OH 44647                LEXINGTON, TN 38351




MARY JANE TREXLER                      MARY JOHNSON                       MARY K WEINSINGER
ADDRESS ON FILE                        ADDRESS ON FILE                    705 N 20TH ST
                                                                          VAN BUREN, AR 72956-3707




MARY KELLEY                            MARY L JACKSON                     MARY L TATE
P.O. BOX 267                           408 CLEARVIEW DR                   283 PINE ST
HECKER, IL 62248                       MARTINSVILLE, VA 24112-1706        MARIANNA, AR 72360




MARY L. PRUETT                         MARY LANNING HEALTHCARE            MARY LARGENT
P.O. BOX 2712                          715 N ST. JOSEPH AVENUE            845 HOLYOAKE RD
BLUE RIDGE, GA 30513                   HASTINGS, NE 68901                 EDWARDSVILLE, IL 62025
MARY LEGG                Case 20-10766-BLS   Doc
                                       MARY LOU   6 Filed 04/07/20
                                                CAZARES                     Page 1124  of 1969
                                                                                 MARY LOU CRAIG
P.O. BOX 275                            P.O. BOX 97                              709 S PARK DRIVE
MASON, WV 25260                         STANTON, TX 79782                        GOREVILLE, IL 62939




MARY LYMAN                              MARY M SHINN                             MARY MARGARET REED
ADDRESS ON FILE                         232 4TH ST                               82 1ST STREET
                                        RENOVO, PA 17764                         LOUISA, KY 41230




MARY MCCAMMON                           MARY MCFADDIN                            MARY MORLAN
436 N PLEASANT AVE                      185 RIVERDALE DRIVE                      1159 ARCADIA DR
GALEBURG, IL 61401                      THELMA, KY 41260-8622                    GALESBURG, IL 61401




MARY N KING                             MARY NASH-SWINK                          MARY NELL MCELMURRAY
1074 MONTICELLO DR                      ADDRESS ON FILE                          3108 RAMSGATE RD
MONROE, GA 30655                                                                 AUGUSTA, GA 30909




MARY NICHOLSON                          MARY ROBBINS                             MARY ROSS
1143 N SEMINARY ST                      3170 OLD REAGAN RD                       ADDRESS ON FILE
GALESBURG, IL 61401                     SARDIS, TN 38371




MARY SCHOFIELD                          MARY SEVERNS                             MARY SKINNER
288 SOUTH SHACKLEVILLE                  PO BOX 54                                ADDRESS ON FILE
GREENVILLE, AL 36037                    C/O PEGGY FOWLER POA
                                        AVON, IL 61415




MARY STOLTE                             MARY TOBLER                              MARY VOLPE ANGEL FOUNDATION
ADDRESS ON FILE                         1005 JUSTIN CT                           5285 DOLORES SW
                                        SOCIAL CIRCLE, GA 30025                  CANTON, OH 44706




MARY WILLIAMS                           MARY WUNDERLICH                          MARY WYATT
ADDRESS ON FILE                         ADDRESS ON FILE                          315 BISHOP ST
                                                                                 DYERSBURG, TN 38024




MARYETTE, ROY                           MARYLAND GENERAL HOSPITAL INC            MARYLAND STATE DEPARTMENT OF
1000 RANDOLPH ST                        UNIVERSITY OF MARYLAND MED CENTER        ASSESSMENTS & TAXATIO
RUMA, IL 62278                          827 LINDEN AVENUE,ARMORY STE B           P.O. BOX 17052
                                        BALTIMORE, MD 21201                      CHARTER DIVISION
                                                                                 BALTIMORE, MD 21297-1052



MARYLYN S STEARNS                       MARYS PLAQUES & THINGS                   MARYS RESTAURANT INC
17853 CAPLINGER POND RD                 130 KITTLE ROAD                          509 S PARK AVENUE
MARION, IL 62959                        FORREST CITY, AR 72335                   HERRIN, IL 62948
MARYVILLE UNIVERSITY   Case 20-10766-BLS    Doc
                                     MARZELLA     6 Filed 04/07/20
                                                HOLLANDSWORTH        Page 1125 of KAREN
                                                                          MARZLUF, 1969 S
650 MARYVILLE UNIVERSITY DR          P.O. BOX 494                         5 ROSE LANE
ATTN ANNETTE MILLA                   CEREDO, WV 25507                     GRANITE CITY, IL 62040
ST. LOUIS, MO 63141




MARZULLO, SANDRA                     MASADA BAKERY LLC                    MASALKO, KATHY
497 MAPLEWOOD DR                     P.O. BOX 2465                        228 PAGE ST NW
ANTIOCH, IL 60002                    NORCROSS, GA 30091-2465              MASSILLON, OH 44647-6075




MASCARENAS, CLARA E.                 MASCARENAZ, GIANCARLO                MASCARENHAS, SOPHIA
ADDRESS ON FILE                      1768 W 1300 S                        ADDRESS ON FILE
                                     SPRING GLEN, UT 84526




MASCARI, SAMANTHA C.                 MASCOT MEDIA                         MASCOT MEDIA, LLC
160 E ILLINOIS 1407                  3340 N COLLEGE AVE                   P.O. BOX 8730
CHICAGO, IL 60611                    FAYETTEVILLE, AR 72703-0000          FAYETTEVILLE, AR 72703




MASE, KERIN                          MASH, DOROTHY                        MASHAK SUSAN M
P.O. BOX 173                         356 MOORE RD                         2823 N 20TH ST
NIPOMO, CA 93444                     AKRON, OH 44319                      SPRINGFIELD, OR 97477-0000




MASHBURN ANASTASIA L                 MASHBURN PAUL E                      MASHBURN, ANN S.
1137 BORREGO DR                      15320 JOE BROWN HWY                  6001 GOLF ROAD NW
BARSTOW, CA 92311                    MURPHY, NC 28906                     FORT PAYNE, AL 35967




MASHBURN, KELLI                      MASHEK, PAUL                         MASIMO AMERICAS INC
1001 TYLER AVE SE                    440 ASHLEY DRIVE                     28932 NETWORK PLACE
FORT PAYNE, AL 35967                 NEW LENOX, IL 60451                  CHICAGO, IL 60673-1289




MASIMO AMERICAS INC                  MASIMO AMERICAS, INC                 MASIMO CORPORATION
28932 NEWORK PLACE                   28932 NETWORK PLACE                  28932 NETWORK PLACE
CHICAGO, IL 60673-1289               CHICAGO, IL 60673-1289               CHICAGO, IL 60673-1289




MASIMO                               MASINELLI, COURTNEY                  MASKE, SYLVIA
40 PARKER                            10285 FAULKEN CREST COURT            375 SHAWNEE MDWS
IRVINE, CA 92618                     STAUNTON, IL 62088                   ANNA, IL 62906




MASLAR, JAIME                        MASON IV, JOHN T.                    MASON JOYCE M
ADDRESS ON FILE                      ADDRESS ON FILE                      165 RON MORSE DRIVE
                                                                          APT 7
                                                                          HARRISBURG, IL 62946
MASON JR THOMAS G       Case 20-10766-BLS   Doc 6 N Filed 04/07/20
                                      MASON SABRINA                  Page 1126
                                                                          MASONof 1969 & MASON
                                                                               SCHILLING
P.O. BOX 489                           153 WALDON RD                      J. BLACK THOMAS
MORGANTON, GA 30560                    COPPERHILL, TN 37317               5181 NATORP BLDV, STE. 202
                                                                          CINCINNATI, OH 45249




MASON, ANNETTE                         MASON, ANTWAN A.                   MASON, CHAD
740 CHANDLER RD.                       16518 EMERALD AVE                  60 RIDGE ROAD
MCKENZIE, TN 38201                     HARVEY, IL 60426                   BLUE RIDGE, GA 30513




MASON, DAVID J.                        MASON, EMILY L.                    MASON, GERTRUDE
ADDRESS ON FILE                        ADDRESS ON FILE                    3547 W 84TH PL
                                                                          CHICAGO, IL 60652




MASON, HANNAH                          MASON, JASMINE                     MASON, JOHN
1931 KIMBARK DRIVE                     ADDRESS ON FILE                    ADDRESS ON FILE
NASHVILLE, TN 37215




MASON, JUNG                            MASON, KATHRYN                     MASON, KEONA T.
6486 WESBECHER RD                      5314 DUNFRED CR SE                 C/O PATRICIA BELL
ELLIS GROVE, IL 62241                  CANTON, OH 44707-1048              201 E SECOND ST
                                                                          ROBERSONVILLE, NC 27871




MASON, LISA                            MASON, MARY B.                     MASON, MATTHEW C
ADDRESS ON FILE                        ADDRESS ON FILE                    1235 CASTLE GREEN DR
                                                                          WATERLOO, IL 62298




MASON, NINA                            MASON, PAMELA P.                   MASON, WILLA
ADDRESS ON FILE                        1901 WALLACE AVENUE NE             11606 S. VINCENNES AVE
                                       FORT PAYNE, AL 35967               CHICAGO, IL 60643




MASONRY WELFARE TRUST                  MASORTI, KEITH E.                  MASQUERADE FUNDRAISING TEAM96
9848 E BURNSIDE ST                     5 QUIGGLE AVE                      56800 EAST HIGHWAY 96
PORTLAND, OR 97216                     LOCK HAVEN, PA 17745               BOONE, CO 81025




MASS, PHILLIP A.                       MASSA, GERALDINE B                 MASSA, MICHAEL
715 WIDE SITE ST.                      300 13 PINE LAKE RD                15 PINNACLE VALLEY VIEW
EUGENE, OR 97402                       COLLINSVILLE, IL 62234             LITTLE ROCK, AR 72223




MASSACHUSETTS STATE DEPARTMENT OF      MASSARO, ANTHONY C.                MASSENGALE, JESSE A.
REVENUE                                5128 W 82ND COURT APT A            404 33RD ST. SE
100 CAMBRIDGE ST                       CROWN POINT, IN 46307              CANTON, OH 44707
BOSTON, MA 02114
MASSENGALE, TRINA        Case 20-10766-BLS   Doc 6VICKIFiled
                                       MASSENGALE,      L.   04/07/20        Page 1127 of 1969
                                                                                  MASSENGILL, COLLEEN LOFTUS
3617 COUNTY RD 611                       921 TAMWOOD DRIVE                         ADDRESS ON FILE
VALLEY HEAD, AL 35989                    CANAL FULTON, OH 44614




MASSER, GLENNE.                          MASSEY, BETTY                             MASSEY, BRANDON
299 BOYER RD                             374 BOWDEN RD                             60 MAIN ST
DORNSIFE, PA 17823                       HONROAVILLE, AL 36042                     SECTION, AL 35771




MASSEY, CURTIS                           MASSEY, ERIC                              MASSEY, JENNIFER
6516 DESOTO PKWY NE                      455SPRINGFIELD AVE                        1034 E 101ST ST
FORT PAYNE, AL 35967-7923                ANNA, IL 62906                            CHICAGO, IL 60628




MASSEY, JEWEL                            MASSEY, LATANYA                           MASSEY, MELANIE K.
ADDRESS ON FILE                          4223 7TH ST. NW                           207 HUDSPETH ST
                                         CANTON, OH 44708                          PALESTINE, AR 72372




MASSEY, RANDY R.                         MASSEY, TERESA                            MASSIE, APRIL G.
189 ANNA AVE NW                          680 REBMAN LANE                           31 NORTHBROOK CIRCLE 12
CANTON, OH 44708                         GOREVILLE, IL 62939                       FAIRVIEW HEIGHTS, IL 62208




MASSILLON CABLE TV INC                   MASSILLON CABLE TV INC                    MASSILLON COMMUNITY HEALTH SYSTEM
P.O. BOX 1000                            P.O. BOX 1000                             LLC
MASSILLON, OH 44648                      MASSILLON, OH 44648-1000                  1209 ORANGE STREET
                                                                                   WILMINGTON, DE 19801




MASSILLON HEALTH SYSTEM LLC              MASSILLON HOLDINGS, LLC                   MASSILLON MUNICIPAL COUR
1209 ORANGE STREET                       1209 ORANGE STREET                        P.O. BOX 1040
WILMINGTON, DE 19801                     WILMINGTON, DE 19801                      MASSILLON, OH 44648




MASSILLON PARKS & REC DEPT               MASSILLON PHYSICIAN SERVICES, LLC         MAST BIOSURGERY INC
ANGELA GILL                              1209 ORANGE STREET                        6749 TOP GUN STREET SUITE 108
505 ERIE ST N                            WILMINGTON, DE 19801                      SAN DIEGO, CA 92121-4151
MASSILLON, OH 44646




MAST PHARMACY                            MAST, DONNA                               MAST, KENT
307 W BLVD                               P.O. BOX 51238                            2343 N APPLECREEK RD
WILLIAMSTON, NC 27892                    EUGENE, OR 97405                          WOOSTER, OH 44691




MASTER BLASTER                           MASTER DONUTS                             MASTER MEDICAL EQUIPMENT, LLC
POB 5881                                 1159 MOHAWK BLVD                          P O BOX 11476
CLEVELAND, TN 37320-5881                 SPIRNGFIELD, OR 97477                     JACKSON, TN 38308
                      Case
MASTER MEDICAL EQUIPMENT, LLC20-10766-BLS
                                      MASTERDoc    6 EQUIPMENT,
                                              MEDICAL Filed 04/07/20
                                                                LLC    Page 1128 of 1969
                                                                            MASTERS, CHRISTINA S.
P.O. BOX 11476                        P.O. BOX 11476                         ADDRESS ON FILE
56 N. CONALCO DR.                     JACKSON, TN 38308
JACKSON, TN 38308




MASTERS, CHRISTOPHER M.               MASTERS, KAREN                         MASTERS, TAMMY
920 E 1ST STREET                      7398 BRIGGLE AVE SW                    850 HWY 772
MINERVA, OH 44657                     EAST SPARTA, OH 44626                  EZEL, KY 41425




MASTERSON, CHRIS                      MASTERSON, JOHN                        MASTERSON, MICHAEL D. M.D.
ADDRESS ON FILE                       722 DRAKE SCHOOL AVE                   ADDRESS ON FILE
                                      POCAHONTAS, IL 62275-3716




MASTERTECH SEC SVCS INC               MASTON, AMANDA                         MASTRELLA, FRANK M.
CENTRAL STATION MONITORING            16 LORRAINE DR                         ADDRESS ON FILE
P.O. BOX 1005                         GALESBURG, IL 61401
ESTACADA, OR 97023-1005




MASTRELLA, GENIFER M.                 MATA FERNANDO                          MATA, FRANCISCO
ADDRESS ON FILE                       1102 N 9TH ST TR 62                    2800 141 STREET
                                      ALPINE, TX 79830                       BLUE ISLAND, IL 60406




MATA, GUADALUPE S.                    MATA, JENNIFER                         MATA, NICHOLAS
ADDRESS ON FILE                       1020 PALMETTO DRIVE                    31400 SAN CARVANTE CT
                                      BARSTOW, CA 92311                      UNION CITY, CA 94587




MATA, NICOLAS                         MATA, RAUL A.                          MATAGONZALEZ, PATRICIA
619 BRADLEY STREET                    33 PELICAN DRIVE                       53 WETZEL CT
JONESBORO, AR 72401                   WATSONVILLE, CA 95076                  WAUKEGAN, IL 60085




MATAGORDA COUNTY HOSPITAL DISTRICT    MATARIEH, JODI L.                      MATCHETT, JENNIFER
MATAGORDA REGIONAL MEDICAL CENTER     ADDRESS ON FILE                        110 RIDGE PARK DRIVE
104 SEVENTH STREET                                                           ELLIJAY, GA 30536
BAY CITY, TX 77414




MATE BRIAN J                          MATEER, RYAN J.                        MATEJA, GAYLE E
420 BLUE RIDGE TRAILS                 ADDRESS ON FILE                        648 A ANITA AVE
MORGANTON, GA 30560                                                          ANTIOCH, IL 60002




MATEO, ANDRES MARIA                   MATEO, LACY                            MATERN, BONNIE J.
1004 WILLIAMS AVE NE                  340 LEGACY LANE                        ADDRESS ON FILE
FORT PAYNE, AL 35967                  GRANTSVILLE, UT 84029
MATEYCAK, JUDITH        Case 20-10766-BLS
                                      MATHAI,Doc 6 M.Filed 04/07/20
                                             SRUTHY                   Page 1129 of 1969
                                                                           MATHENIA, JAIMIE
20460 STETE HIGHWAY 34                ADDRESS ON FILE                       403 PARKSIDE
THOMPSONVILLE, IL 62890-2432                                                TROY, IL 62294




MATHENY, RICHARD L.                  MATHENY, TERRY M.                      MATHER, PATRICIA K.
1307 PEBBLE CHASE CR NE              ADDRESS ON FILE                        368 BLOHM AVE UNIT 1042
MASSILLON, OH 44646                                                         AROMAS, CA 95004




MATHES, JESSICA M.                   MATHES, RUBY                           MATHESON EDUCATION &
301 SFC 704                          1610 1ST ST NE                         TRAINING SOLUTIONS
FORREST CITY, AR 72335               MASSILLON, OH 44646                    166 S RIVER ROAD, STE 240
                                                                            BEDFORD, NH 03110-0000




MATHESON TRI GAS INC                 MATHESON TRI-GAS INC                   MATHESON TRI-GAS INC
P.O. BOX 347297                      DEPT 3028                              DEPT LA 23793
PITTSBURGH, PA 15251-4297            P.O. BOX 123028                        PASADENA, CA 91185-3793
                                     DALLAS, TX 75312




MATHESON TRI-GAS INC                 MATHESON TRI-GAS                       MATHESON TRI-GAS
P.O. BOX 347297                      P.O. BOX 842724                        PO BOX 842724
PITTSBURGH, PA 15251-4297            DALLAS, TX 75284                       DALLAS, TX 75284




MATHESON TRI-GAS, INC                MATHEW SKAGGS                          MATHEW WILLIAMS
DEPT LA 23793                        7726 NEWGATE AVE NW                    95 OLD HOUSE RD
PASADENA, CA 91185-3793              NORTH CANTON, OH 44720-7818            HURON, TN 38345




MATHEW, ANOOP                        MATHEW, SUJI V.                        MATHEWS CYNTHIA J
555 WAIKIKI DR                       2915 LOCH LOMOND DRIVE                 16363 E FREEMONT AVE APT 631
DES PLAINES, IL 60016                CONYERS, GA 30094                      AURURA, CO 80016-0000




MATHEWS LORI M                       MATHEWS NATHAN                         MATHEWS, AMBER C.
89 GREEN VALLEY CIRCLE NE            613 BRIAR LAKE PLACE                   398 57TH ST
FORT PAYNE, AL 35967-8256            COLUMBIA, IL 62236                     SPRINGFIELD, OR 97478




MATHEWS, AMBER                       MATHEWS, ASHLEY L.                     MATHEWS, ASHLEY
1460 G ST                            ADDRESS ON FILE                        ADDRESS ON FILE
SPRINGFIELD, OR 97477




MATHEWS, GAIL                        MATHEWS, HELEN                         MATHEWS, JOAN B.
18 WILD HORSE CT                     1504 SCENIC ROAD E                     718 WESTMINSTER DRIVE
TROY, IL 62294                       FORT PAYNE, AL 35967                   RAINBOW CITY, AL 35906
MATHEWS, NANCY L.        Case 20-10766-BLS   Doc
                                       MATHEWS,   6 Filed 04/07/20
                                                NATASHA              Page 1130 of 1969
                                                                          MATHEWS, ORVEL
ADDRESS ON FILE                         304 ANITA DRIVE                   312 S MAIN STREET
                                        FAIRVIEW HEIGHTS, IL 62208        WATERLOO, IL 62298




MATHEWS, REBEKAH                        MATHEWS, SHARON A.                MATHEWS, VALERIE G.
914 STRATFORD RD                        ADDRESS ON FILE                   ADDRESS ON FILE
EDENTON, NC 27932




MATHIE, RUSSELL                         MATHIEU PECHHOLT                  MATHIS BATTERY SERVICE
7281 W LEBANON RD SW                    501 N BILLY BRYAN STREET          P.O. BOX 106
NAVARRE, OH 44662-9442                  CARBONDALE, IL 62902              DRESDEN, TN 38225




MATHIS JOSEPH C                         MATHIS, ALICE                     MATHIS, CHRISTIE L.
51 RITCHIE CK RD                        P.O. BOX 322                      1210 WHISPERING LAKES TRAIL
BLUE RIDGE, GA 30513                    KARNAK, IL 62956                  MADISON, GA 30650




MATHIS, CRYSTAL A.                      MATHIS, DWAYNE L.                 MATHIS, JOSEPH
816 BEECHER AVE                         955 HILL RD                       22887 GALATIA POST ROAD
GALESBURG, IL 61401                     PARIS, TN 38242                   PITTSBURG, IL 62974-1829




MATHIS, KAY L.                          MATHIS, SUMMER W                  MATHIS, VIOLA K.
ADDRESS ON FILE                         P.O. BOX 2457                     ADDRESS ON FILE
                                        BLUE RIDGE, GA 30513




MATHIS, WENDY                           MATHON, DOROTHY                   MATHSON, HALEY J.
111 PARKVIEW PLACE                      125 TROECKLER LN                  ADDRESS ON FILE
YANKTON, SD 57078                       GRANITE CITY, IL 62040




MATHSON, HALEY J.                       MATHYS, RUSSEL                    MATIAS CIRILO, RODRIGO
ADDRESS ON FILE                         10455 STEINER RD                  ADDRESS ON FILE
                                        RITTMAN, OH 44270




MATIAZ-CORTEZ, BIANCA                   MATILLANO, KENNETH D.             MATLEY, VERONICA
245 PACIFICA BLVD UNIT 201              ADDRESS ON FILE                   2690 CALLE DE SALUD
WATSONVILLE, CA 95076                                                     LAS CRUCES, NM 88011




MATLOCK, JERRY                          MATNEY, MIRANDA K.                MATOESIAN, JULIE
560 TRAYWICK RD                         720 RASPBERRY RD                  4 CHERI CT
MCKENZIE, TN 38201                      BIG SANDY, TN 38221               EDWARDSVILLE, IL 62025
MATOS, LUCIA            Case 20-10766-BLS
                                      MATOS, Doc
                                             MARCOS6 Filed 04/07/20   Page 1131
                                                                           MATOS,of 1969
                                                                                  PAM
3560 LOCHMILL DR                      4433 BOS CIRCLE                      ADDRESS ON FILE
LOGANVILLE, GA 30052-4961             LOGANVILLE, GA 30052




MATRIX SPECIAL SYSTEMS               MATRIX TOOLS                          MATRIX, THERA
3634 WOOSTER LANE                    P.O. BOX 481                          P.O. BOX 321036
EL PASO, TX 79936                    MARION, IL 62959                      DETROIT, MI 48232




MATSIL, ROBYN                        MATSON, WOODENA J                     MATT JONES
ADDRESS ON FILE                      175 S GARDEN WAY APT 320              848 GRAND PRAIRIE DRIVE
                                     EUGENE, OR 97401                      WATERLOO, IL 62298




MATT SLONE                           MATT, TAMMY L.                        MATTA, OLIVIA
1598 DEER LICK BRANCH ROAD           327 SOUTH ILLINIOS ST 28              13651 SILVERSAND ST
LOUISA, KY 41230                     JONESBORO, IL 62952                   VICTORVILLE, CA 92394




MATTAN, STACIA                       MATTEA, JUSTIN                        MATTERN, MARTHA L.
709 N 11TH STREET                    1302 RUTLEDGE DR                      4643 RAINER AVE NW
MONMOUTH, IL 61462                   TROY, IL 62294                        MASSILLON, OH 44646




MATTES, KRISTI                       MATTESON, MELISSA                     MATTHEW ANSON
ADDRESS ON FILE                      929 COTTONWOOD DR                     P.O. BOX 1533
                                     BARSTOW, CA 92311                     LYMAN, WY 82937




MATTHEW BAUGUS                       MATTHEW BENDER & CO., INC             MATTHEW BLEVINS - CEO
ADDRESS ON FILE                      P.O. BOX 733106                       BARSTOW COMMUNITY HOSPITAL
                                     DALLAS, TX 75373-3106                 820 EAST MOUNTAIN VIEW ST
                                                                           BARSTOW, CA 92311




MATTHEW DROST                        MATTHEW E PIERCE                      MATTHEW F TORMEY
414 NORTH DONK                       1808 GOLDEN GATE COURT                3 TOWER HILL DRIVE PORT
MARYVILLE, IL 62062                  FRANKLIN, TN 37064                    CHESTER, NY 10573




MATTHEW GARNER                       MATTHEW HOSKINS                       MATTHEW LAURENZANO
ADDRESS ON FILE                      3077 STATE HWY C                      ADDRESS ON FILE
                                     STEELE, MO 63877




MATTHEW MILLER                       MATTHEW QUINTANA                      MATTHEW SHAW MD / ICCO LLC
ADDRESS ON FILE                      2710 COLLINS DR APT 134               P.O. BOX 824
                                     LAS VEGAS, NM 87701-7430              SPRINGFIELD, OR 97477
MATTHEW STOBERT         Case 20-10766-BLS   Doc
                                      MATTHEW    6 LOWNEY
                                              TODD    Filed 04/07/20   Page 1132 of 1969
                                                                            MATTHEW WAYT
1134 J STREET                         ADDRESS ON FILE                       365 SOUTH CROWNHILL RD
SPRINGFIELD, OR 97477-0000                                                  ORRVILLE, OH 44667




MATTHEW YON                           MATTHEWS ANNE                         MATTHEWS DONALD G
ADDRESS ON FILE                       114 FRANKLIN AVE                      P.O. BOX 487
                                      EDWARDSVILLE, IL 62025                505 N FRONT ST
                                                                            HAMILTON, NC 27840




MATTHEWS MEDICAL BOOKS                MATTHEWS, BARBARA A.                  MATTHEWS, DALTON
P.O. BOX 790379                       21182 PAHUTE RD                       ADDRESS ON FILE
ST LOUIS, MO 63179-0379               APPLE VALLEY, CA 92308




MATTHEWS, DANITA G.                   MATTHEWS, DOUGLAS                     MATTHEWS, FLORIDA
1032 ROBERSONVILLE PRO RD             35 GLENWOOD DRIVE                     1026 ROBINSON ST
ROBERSONVILLE, NC 27871               GLEN CARBON, IL 62034                 FORREST CITY, AR 72335




MATTHEWS, GERALD                      MATTHEWS, JOHN A.                     MATTHEWS, JORDAN B.
P.O. BOX 136                          P.O.BOX 147                           ADDRESS ON FILE
MADISON, AR 72359                     312 W 2ND ST
                                      ROBERSONVILLE, NC 27871




MATTHEWS, KRISTEN                     MATTHEWS, LINDSEY RENEE               MATTHEWS, MALLORY
2926 MAUS RD                          P.O. BOX 545                          499 S QUIRK ST
FULTS, IL 62244                       FLORENCE, OR 97439-0000               GRANTSVILLE, UT 84029




MATTHEWS, MELVA                       MATTHEWS, SIERRA                      MATTIE L RANDOLPH
324 ARBOR ROAD                        2301 20TH ST 1D                       P.O. BOX 387
MONROE, GA 30656                      ZION, IL 60099                        305 WEST MAIN STREET
                                                                            HAMILTON, NC 27840




MATTIE STUBBLEFIELD                   MATTINGLY LUMBER & MILLWORK           MATTINGLY, ANN C.
841 GRANTTOWN RD                      410 E STREET                          ADDRESS ON FILE
MUNFORD, AL 36268                     GRANITE CITY, IL 62040




MATTINGLY, ERA L.                     MATTINGLY, NORMA                      MATTISON, KAY
11522 WHITE PINE AVE                  10251 CARDALE ST SW                   857 FAIRWAY VIEW DRIVE
MARION, IL 62959                      BEACH CITY, OH 44608                  EUGENE, OR 97401




MATTLEY, SHAWNDA                      MATTOX, KARLA K.                      MATTOX, PAMELA M.
P.O. BOX 252                          P.O. BOX 601 91923 HONEYBEE LN        ADDRESS ON FILE
MESQUITE, NV 89024-2652               MARCOLA, OR 97454
MATTOX, PAMELA            Case 20-10766-BLS   Doc
                                        MATTSON    6 PFiled 04/07/20
                                                NANCY                  Page 1133 of 1969
                                                                            MATULEVICUS, JUDY
ADDRESS ON FILE                          1139 ARBOR CIR                      2729 ABRAHAM AVE NW
                                         LINDENHURST, IL 60046               MASSILLON, OH 44647




MATULEWICZ, JULIE                        MATUSZEWICH, JAMES                  MATY GARNER
2109 HALSEY DR                           102 TURNER LANE                     ADDRESS ON FILE
DES PLAINES, IL 60018                    ANNA, IL 62906




MATZENBACHER, NICHOLE E.                 MAUBAN, MINERVA A.                  MAUCH, DONNA
ADDRESS ON FILE                          2255 W 123RD ST                     42416 NORTH WOODBINE AVE
                                         BLUE ISLAND, IL 60406               ANTIOCH, IL 60002




MAUCK, ROY E                             MAUDINE, TANNER                     MAUDUDI, SYED M.
316 BRIAR GATE DR                        5360 S 4420 W                       1336 40TH CT
GRAYSLAKE, IL 60030                      KEARNS, UT 84118-5656               KENOSHA, WI 53144




MAUE, MARY L                             MAUE, TRACI A.                      MAUER, SARA
608 E CHAIN OF ROCKS RD                  ADDRESS ON FILE                     204 E MAGNOLIA ST 513
GRANITE CITY, IL 62040                                                       MARINE, IL 62061




MAUGHAN JOLENE Y                         MAUGHON, DONNA M.                   MAUK, MICHAEL
855 E 750 N APTB                         1343 CORNISH MTN CH RD SE           212 WILD RD LANE UNIT C
TOOELE, UT 84074                         OXFORD, GA 30054                    MARION, IL 62959




MAUL TRACY                               MAULDIN MEAGAN KENDAL               MAULDIN MEAGAN KENDAL
4 OLD STONE RD                           48 OLIVE BRANCH DRIVE               48 OLIVE BRANCH DRIVE
COLUMBIA, IL 62236                       RAINSVILLE, AL 35986                RAINSVILLE, AL 35986-0102




MAUPIN, MATTHEW M                        MAUREEN E WEATHERFORD               MAUREEN KAY MCFEE
1206 WILLIAMS AVE NE APT73               ADDRESS ON FILE                     412 WHITETAIL TRL NE
FORT PAYNE, AL 35967-3212                                                    CANTON, OH 44704-2490




MAUREEN LEESON                           MAUREEN YODER                       MAURER, ABBY G.
84 SILVER ST                             1430 SPANGLER RD NE                 2066 LAKE ISLE DR.
GALESBURG, IL 61401                      CANTON, OH 44714                    EUGENE, OR 97401




MAURER, BERNITA R.                       MAURER, LUCINDA                     MAURER, LYDIA
5282 J ROAD                              7535 JAMES RD                       3141 WOODLAND AVE NW
WATERLOO, IL 62298                       WOOSTER, OH 44691                   CANTON, OH 44709-2917
MAURER, MARY L            Case 20-10766-BLS    Doc 6
                                        MAURI MAGDA          Filed 04/07/20   Page 1134
                                                                                   MAURI, of 1969
                                                                                          MAGDA
722 12TH ST SW                           ADDRESS ON FILE                           ADDRESS ON FILE
MASSILLON, OH 44647




MAURICE, NORMAN                          MAURIN BURD, VANESSA                      MAURO, IGNELZI
2916 143RD ST                            409 E 33RD AVE                            2946 SOUTHWEST BOXWOOD
BLUE ISLAND, IL 60406-3321               EUGENE, OR 97405                          PORT SAINT LUCIE, FL 34953




MAURO, LOUIS                             MAURY REGIONAL HOSPITAL                   MAVEN MEDICAL MFG INC
16324 TERRACE CT                         MARSHALL MEDICAL CENTER                   P.O. BOX 909
ORLANDO HILLS, IL 60487                  P.O. BOX 1609                             INDIAN ROCKS BEACH, FL 33785-0909
                                         LEWISBURG, TN 37091-1609




MAVERICK HARDWARE                        MAVERICK INC                              MAVERICK MULTIMEDIA, INC
2610 ROOSEVELT BLVD                      CARD SERVICES                             120 WEST DAYTON, STE A-7
EUGENE, OR 97402                         880 W CENTER STREET                       EDMONDS, WA 98020
                                         NORTH SALT LAKE, UT 84054




MAVIS LITTLE                             MAVKEMA, WINSTON                          MAVRAK, GEOFFREY A.
P.O. BOX 845                             3429 W 124TH STREET                       216 BRIAR LN.
ELLERBE, NC 28338-0845                   ALSIP, IL 60803                           MUNSTER, IN 46321




MAX ANDERSON                             MAX GILLETTE                              MAXEY, MARJORIE D
C/O RICK ANDERSON HCPOA                  1019 W NORTH ST                           804 OAKLAND AVE
650 US HWY 34                            GALESBURG, IL 61401                       MT. VERNON, IL 62864
MONMOUTH, IL 61462




MAXFIELD, JED R.                         MAXFIELD, JENNIFER                        MAXHIMER, VIVIAN
ADDRESS ON FILE                          3405 PRINCETON DRIVE                      1448 TYLERS MILL LN NE
                                         GRANITE CITY, IL 62040                    MASSILLON, OH 44646




MAXIE G KIZER                            MAXIE, GEORGINA L.                        MAXIMOS, TALAAT F.
P.O. BOX 21060                           ADDRESS ON FILE                           P.O. BOX 2126
WHITE HALL, AR 71612                                                               BARSTOW, CA 92312




MAXIMOVICH, BARBARA                      MAXINE HOLMES                             MAXINE J LEONARD
5849 LINDER CIRCLE N.                    12481 SANDUSKY DR SW                      1250 W CARL SANDBURG DR
CANTON, OH 44721                         BEACH CITY, OH 44608-9785                 ROSEWOOD CARE CENTER
                                                                                   GALESBURG, IL 61401




MAXINE PRINCE                            MAXINE WATKINS                            MAXON, KATHY A.
807 BURGERTOWN RD                        12442 S YALE AVE                          1528 AMHERST RD NE
COPPERHILL, TN 37317                     CHICAGO, IL 60628                         MASSILLON, OH 44646
MAXWELL, ELLAN          Case 20-10766-BLS   Doc
                                      MAXWELL,    6 J. Filed 04/07/20
                                               ERIC                     Page 1135 of 1969
                                                                             MAXWELL, KATHY
1800 STEVENS DR APT 115               ADDRESS ON FILE                        227 LOFTY HEIGHTS
FORREST CITY, AR 72335                                                       MINERAL BLUFF, GA 30559




MAXWELL, LAURA                        MAXWELL, SHIRLEY T                     MAY AND LEE MANAGEMENT, LLC
1460 WATERFALL LN                     P.O. BOX 28
MESQUITE, NV 89034-1129               1120 PHILLIPS 434 RD
                                      WABASH, AR 72389




MAY ANNE DEASON                       MAY CLEMENT J                          MAY CONTRACTING & CORNERSTONE
407 S 3RD ST                          1290 PRESIDENT ST                      INTERIORS
COULTERVILLE, IL 62237                EUGENE, OR 97401-0000                  12354 VIRGINIA BLVD
                                                                             ASHLAND, KY 41102-0000




MAY CONTRACTING & DEBRA-KUEMPEL       MAY CONTRACTING & JMK ELECTRIC         MAY CONTRACTING, INC
12354 VIRGINIA BLVD                   12354 VIRGINIA BLVD                    12354 VIRGINIA BLVD
ASHLAND, KY 41102-0000                ASHLAND, KY 41102-0000                 ASHLAND, KY 41102




MAY JR., DAVID A.                     MAY JULIE M                            MAY, AMANDA F.
719 W. BIRCH                          3079 EVERETT ROAD                      44 NORTH AVE
DEMING, NM 88030                      RAINSVILLE, AL 35986-4640              ELLIJAY, GA 30540




MAY, AMY                              MAY, ASHLEY D                          MAY, ASHLEY D.
P.O. BOX 1197                         357 HICKORY ST                         357 HICKORY STREET
LOGANDALE, NV 89021-1197              CHICAGO HEIGHTS, IL 60411              CHICAGO HEIGHTS, IL 60411




MAY, BONNIE                           MAY, CHRISTOPHER J.                    MAY, CONNIE L.
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




MAY, DARYL W                          MAY, DONALD W.                         MAY, GREGORY A
5 COUNTRY LANE CT                     1125 NORTH AVE NE                      506 PAUL DR
GRANITE CITY, IL 62040                MASSILLON, OH 44646                    WATERLOO, IL 62298




MAY, HEIDI                            MAY, JANET                             MAY, JANETT L.
ADDRESS ON FILE                       5609 KONARCIK RD                       794 KAITLYN DR
                                      WATERLOO, IL 62298                     LOGANVILLE, GA 30052




MAY, JANICE C.                        MAY, JONATHAN R.                       MAY, KATHLEEN
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE
MAY, KEVIN               Case 20-10766-BLS    Doc
                                       MAY, LEAH N. 6       Filed 04/07/20   Page 1136  of 1969
                                                                                  MAY, ROBERT W
P.O. BOX 56                              P.O. BOX 937                             2578 MOLLY CT
MOAPA, NV 89025                          INEZ, KY 41224                           NEW LENOX, IL 60451




MAY, ROSALIE F.                          MAY, ROSE                                MAY, SHIRLEY ANN
1820 SHELLY DR                           900 W ASH                                396 49TH STREET
DEMING, NM 88030                         DEMING, NM 88030                         SPRINGFIELD, OR 97478-0000




MAY, STELLA                              MAYA HAWKINS                             MAYA, JODY S.
1101 EAST COUNTY ROAD 128                P.O. BOX 900                             25004 CAMINO DEL NORTE
MIDLAND, TX 79706                        500 EAST COLLEGE ST                      BARSTOW, CA 92311
                                         ENERGY, IL 62933




MAYABB, EARLENE                          MAYBERRY, BILLIE A.                      MAYBERRY, JOSEPH
ADDRESS ON FILE                          ADDRESS ON FILE                          312 N. FERNE CLYFFE RD
                                                                                  GOREVILLE, IL 62939




MAYBERRY, KATHLEEN M.                    MAYBERRY, LOLA D.                        MAYBERRY, SARAH D.
ADDRESS ON FILE                          2540 DOGWALK ROAD                        ADDRESS ON FILE
                                         ANNA, IL 62906




MAYE, ALEXIS N.                          MAYER ELECTRIC SUPPLY CO, INC.           MAYER, JESSICA D.
835 LOW AVE APT 4                        DEPT 1440                                20 NELMS AVENUE
WAUKEGAN, IL 60085                       P.O. BOX 2153                            CENTRALIA, IL 62801
                                         BIRMINGHAM, AL 35287-1440




MAYER, JESSICA D.                        MAYER, JOHN G.                           MAYER, JOSEPH H.
ADDRESS ON FILE                          309 8TH ST APT C                         6361 PONTIAC DR
                                         LAS VEGAS, NM 87701                      INDIAN HEAD PARK, IL 60525




MAYER, LAURA                             MAYER, PEGGY A.                          MAYER, RONALD
2004 W CHERRY                            212 ELINOR ST                            10242 HILL PRAIRIE
HERRIN, IL 62948                         CAPITOLA, CA 95010                       SPARTA, IL 62286




MAYER, SARAH L.                          MAYES, DENA                              MAYES, LISA M.
ADDRESS ON FILE                          ADDRESS ON FILE                          4521 13TH STREET NW
                                                                                  CANTON, OH 44708




MAYES, MICHELE L.                        MAYES, RUSSELL M.                        MAYES, SAMANTHA
2709 WALKALOOSA WAY                      1001 KEENELAND DRIVE                     6419 GROTON ST NW APT H7
FORT COLLINS, CO 80525                   SPRING HILL, TN 37174                    CANTON, OH 44708
MAYFAIR KATT G           Case 20-10766-BLS   Doc
                                       MAYFIELD    6 FARMS
                                                DAIRY FiledINC
                                                             04/07/20   Page 1137  of DAIRY
                                                                             MAYFIELD 1969FARMS INC
2302 N 8TH ST                            P O BOX 933321                      P.O. BOX 933321
PHOENIX, AZ 85006-1610                   ATLANTA, GA 31193-3321              ATLANTA, GA 31193-3321




MAYFIELD DAIRY, INC.                     MAYFIELD HEALTH SEMINARS            MAYFIELD MEDICAL SERVICES, INC
P.O. BOX 933321                          22 EISENHOWER DR                    200 W CENTRAL ST
ATLANTA, GA 31193-3321                   JACKSONVILLE, IL 62650              BETHALTO, IL 62010




MAYFIELD MEDICAL SERVICES, INC           MAYFIELD, BRIGET K.                 MAYFIELD, RICHARD L
200 W. CENTRAL STREET                    ADDRESS ON FILE                     98 RIDGE VIEW NO 4075
BETHALTO, IL 62010                                                           ELLIJAY, GA 30536




MAYFIELD, SHIRLEY                        MAYFLOWER TOURS                     MAYFLOWER TRANSIT, LLC
1135 TROY OFALLON RD                     650 WARRENVILLE ROAD                22262 NETWORK PLACE
TROY, IL 62294-2403                      SUITE500                            CHICAGO, IL 60673
                                         LISLE, IL 60532




MAYHEW JULIE                             MAYHEW SUMMER L                     MAYHEW, JAMES T.
1132 COUNTY RD 639                       22181 LOCUST GROVE                  609 HAMILTON AVE E
MENTONE, AL 35984                        THOMPSONVILLE, IL 62890             WYNNE, AR 72396




MAYHEW, SUMMER                           MAYLE, GAROLD                       MAYLE, JAMIE
1603 KYLE LANE                           2418 MIDWAY AVE NE                  5090 N ST NE
CARTERVILLE, IL 62918                    CANTON, OH 44705                    MAGNOLIA, OH 44643-8471




MAYLE, SYDNEY                            MAYMON, DELORES                     MAYNARD PATRICK H
554 TANYA AVE NW                         3727 W 123RD ST/APT.205             145 CREEPING CEDAR LANE
MASSILLON, OH 44646                      CHICAGO, IL 60620                   BLAIRSVILLE, GA 30512




MAYNARD, AMANDA                          MAYNARD, ASHER                      MAYNARD, ASHLEY
ADDRESS ON FILE                          P.O. BOX 1741                       ADDRESS ON FILE
                                         INEZ, KY 41224




MAYNARD, ASHLEY                          MAYNARD, CAROL                      MAYNARD, COURTNEY
ADDRESS ON FILE                          186 LOGAN DR                        6431 COUNTY ROAD 47
                                         LOWMANSVILLE, KY 41232              RAINSVILLE, AL 35986




MAYNARD, DEATRA D.                       MAYNARD, DEBORAH P.                 MAYNARD, DEBRA K.
892 HWY 644                              ADDRESS ON FILE                     82 CEDAR LANE
LOUISA, KY 41230                                                             LOUISA, KY 41230
MAYNARD, DENISE         Case 20-10766-BLS   Doc
                                      MAYNARD,   6 Filed 04/07/20
                                               DEWEY                Page 1138 of 1969
                                                                         MAYNARD, HEIDI S.
ADDRESS ON FILE                        6892 TWELVEPOLE CREEK ROAD         ADDRESS ON FILE
                                       DUNLOW, WV 25511




MAYNARD, JAMES K.                      MAYNARD, JOSHUA D.                 MAYNARD, KATHY
539 NEWCOMBE HOLLOW                    ADDRESS ON FILE                    ADDRESS ON FILE
LOUISA, KY 41230




MAYNARD, MARIE                         MAYNARD, MARIE                     MAYNARD, MARLENE
105 W PERRY STREET                     533 N HWY 3                        ADDRESS ON FILE
LOUISA, KY 41230-0000                  LOUISA, KY 41230




MAYNARD, MONA                          MAYNARD, RALPH                     MAYNARD, REBECCA
P.O. BOX 868                           4509 WOLFCREEK ROAD                ADDRESS ON FILE
INEZ, KY 41224                         BOX 3
                                       LOVELY, KY 41231




MAYNARD, REGINA M.                     MAYNARD, SARAH D.                  MAYNARD, SUEANN
ADDRESS ON FILE                        305 N CLEVELAND ST                 ADDRESS ON FILE
                                       SPARTA, IL 62286




MAYNOR, JOSHUA                         MAYNOR, KINSLEY M.                 MAYO CLINIC
ADDRESS ON FILE                        ADDRESS ON FILE                    CARDIOVASCULAR EDUCATION
                                                                          200 FIRST ST SW GONDA 6-472
                                                                          ROCHESTER, MN 55905-0000




MAYO COLLABORATIVE SERVICES INC        MAYO MEDICAL LABORATORY            MAYO MEDICAL LABORATORY
DBA MAYO MEDICAL LABORATORIES          MAYO MEDICAL LABS                  MAYO MEDICAL LABS
P.O. BOX 9146                          P.O. BOX 9146                      PO BOX 9146
MINNEAPOLIS, MN 55480-9146             MINNEAPOLIS, MN 55480-9146         MINNEAPOLIS, MN 55480-9146




MAYO, DAMON N.                         MAYO, JIMMIE                       MAYO, KATHLEEN
10378 N NAGEL LN                       1308 MERIDIAN                      P.O. BOX 581
OPDYKE, IL 62872                       GRANITE CITY, IL 62040             OVERTON, NV 89040-0581




MAYO, LISA                             MAYO, ODANIEL                      MAYO, WANDA H.
999 ROSS RD                            P.O. BOX 484                       ADDRESS ON FILE
JASPER, GA 31085-3255                  GLEASON, TN 38229-0484




MAYORGA, ERIBERTA A                    MAYORGA, SERGIO                    MAYORGA, WILLIETA B.
3639 ROSE MANOR TERR                   12815 GREGORY ST                   ADDRESS ON FILE
MARKHAM, IL 60428                      BLUE ISLAND, IL 60406
MAYOU, MARIE B.          Case 20-10766-BLS   Doc 6
                                       MAYRA FERREL        Filed 04/07/20   Page 1139  of 1969
                                                                                 MAYS, ALMA J.
513 E BEACH ST                          211 E KENSINGTON AVE                     13750 CHURCH ST. P.O. BOX 262
WATSONVILLE, CA 95076                   CHICAGO, IL 60628                        ATWOOD, TN 38220




MAYS, CINDY                             MAYS, CYNTHIA A.                         MAYS, DANNY L.
2031 VINEYARD CT                        ADDRESS ON FILE                          1300 CHARLES ST
BARSTOW, CA 92311                                                                STATE COLLEGE, PA 16801




MAYS, MICHELLE R.                       MAYS, RAINEY                             MAYS, ROLLAND D.
ADDRESS ON FILE                         ADDRESS ON FILE                          719 SOUTH 15TH STREET
                                                                                 MT. VERNON, IL 62864




MAYSON, SYLVIA                          MAZE, KENNETH S.                         MAZE, SARA J.
3205 MONTPELIER DR                      ADDRESS ON FILE                          ADDRESS ON FILE
AUGUSTA, GA 30909




MAZEL, WILLIAMS                         MAZIKAS, SUSAN                           MAZOLA, WATTS
219 INDEPENDENT ST                      3007 HILLCREST DRIVE                     P.O. BOX 101
GREENVILLE, AL 36037                    ELDORADO, IL 62930                       BEATRICE, AL 36425




MAZON, LUCY                             MAZONE, NOEL                             MAZUR, MARY
2324 RHODE ISLAND AVE SE                ADDRESS ON FILE                          2505 29TH ST
MASSILLON, OH 44646                                                              ZION, IL 60099




MAZURE, ANN                             MAZURIER, EVELYN                         MAZZAFERRI, JANICE
212 S JEFFERSON STREET                  402 JEFFERSON RD                         515 WABASH AVE N
MARSHALL, MI 49068                      EDWADSVILLE, IL 62025                    BREWSTER, OH 44613




MAZZETTA, AMY                           MAZZOLENI, LOIS                          MB FINANCIAL BANK NA
2795 PEACHTREE RD, NE                   1164 A SCHENIDERS CROSSING               6111 N RIVER RD
UNIT 305                                DOVER, OH 44622                          ROSEMONT, IL 60018
ATLANTA, GA 30305




MB FINANCIAL BANK NA                    MB FINANCIAL BANK NA                     MB FINANCIAL BANK, NA
6111 N RIVER ST                         6611 N RIVER RD                          P.O. BOX 8969
ROSEMONT, IL 60118                      ROSEMONT, IL 60018-5158                  CHICAGO, IL 60689-4969




MBA MEDICAL, INC.                       MBABAZI, MIREILLE                        MBAPEH, ANKE
1509 KUEBEL STREET                      2404 CHEYENNE DRIVE                      2100 BROWNING BEND CT
HARAHAN, LA 70123                       BIG SPRING, TX 79720                     DACULA, GA 30019
MBI WORLDWIDE BACKGROUNDCase 20-10766-BLS
                                      MBMC Doc 6       Filed 04/07/20   Page 1140  of 1969
                                                                             MBS INDENTIFICATION
CHECKS PRIATEK TOWER                  ATTN: MEDICAL STAFF OFFICE              P O BOX 642
200 CENTRAL AVE SUITE 820             3015 N BALLAS RD                        PARK RIDGE, IL 60068
ST PETERSBURG, FL 33701               ST LOUIS, MO 63131




MC CAMMON, MARY A.                    MC CORMICK, HELEN M.                    MC ELECTRIC INC
ADDRESS ON FILE                       ADDRESS ON FILE                         7648 LL ROAD
                                                                              RED BUD, IL 62278




MC GEE, MARY JANE M.                  MC KIRDY, KATIE                         MC SPORT AND MORE
2882 MONTAGUE DRIVE                   ADDRESS ON FILE                         201 S MAIN ST
GALESBURG, IL 61401                                                           MONMOUTH, IL 61462




MCA ADMINISTRATORS INC                MCA ADMINISTRATORS, INC.                MCA ADMINISTRATORS, INC.
1910 COCHRAN RD                       1910 COCHRAN RD                         1910 COCHRAN RD
605                                   STE 605                                 SUITE 605
PITTSBURG, PA 15220                   PITTSBURG, PA 15220                     PITTSBURGH, PA 15220




MCADAMS, KELLI A.                     MCADOO, JANEY                           MCAFEE JENNIFER
2804 CRESTLINE                        ADDRESS ON FILE                         84 MEADOW VIEW LANE
BIG SPRING, TX 79720                                                          BLAIRSVILLE, GA 30512




MCAFEE, DOUGLAS                       MCAFEE, KIMBERLY                        MCAFEE, SCOTT
5955 CHIMNEY ROCK DR                  P.O. BOX 1426                           P.O. BOX 82
HOSCHTON, GA 30548                    GRANITE CITY, IL 62040                  SANDYVILLE, OH 44671




MCALEXANDER, LINDA                    MCALISTER, FREDERICK                    MCALLISTER CARMELA V
ADDRESS ON FILE                       53 N ARTHUR AVE                         558 COLLEGE ROAD
                                      GALESBURG, IL 61401                     FYFFE, AL 35971-5109




MCALLISTER JAMISON C                  MCALLISTER, CAROLYN                     MCALLISTER, CHRISTOPHER
558 COLLEGE RD                        P.O. BOX 1484                           P.O. BOX 980
FYFFE, AL 35971                       BLUE RIDGE, GA 30513                    LOGANDALE, NV 89021




MCALLISTER, JAMIE                     MCALLISTER, NATALIE                     MCANELLY, JOAN
P.O. BOX 680764                       387 SEARCHLIGHT DRIVE                   ADDRESS ON FILE
FORT PAYNE, AL 35968                  WINDER, GA 30680




MCANINCH, MARCIA                      MCARDLE, JAMES M.                       MCARTHUR, PHILLIP
ADDRESS ON FILE                       ADDRESS ON FILE                         109 CEDAR ST
                                                                              GREENVILLE, AL 36037
MCARTHUR, SHELLEY G.     Case 20-10766-BLS
                                       MCATEE,Doc  6 A.Filed 04/07/20
                                               JUDITH                        Page 1141 ofLISA
                                                                                  MCATEE, 1969
P.O. BOX 28                              84989 RIDGEWAY ROAD                      7900 WEST MAIN ST
HOLLOW ROCK, TN 38342                    PLEASANT HILL, OR 97455                  BELLEVILLE, IL 62223




MCATEER, DENISE L.                       MCAVOY, ELIJAH                           MCBRADY, JAMES S
3 EASTGATE DRIVE                         8350 IVYLOG GAP ROAD                     1075 E VICTORY DR
GRANITE CITY, IL 62040                   YOUNG HARRIS, GA 30582                   SUITE 033
                                                                                  LINDENHURST, IL 60046




MCBRAYER, BRENDA J.                      MCBRIDE SEWER AND DRAIN CLEANING,        MCBRIDE, AUSTIN C.
ADDRESS ON FILE                          LLC                                      830 S 725 W
                                         753 WEST 700 NORTH                       OREM, UT 84058
                                         APT B
                                         SALT LAKE CITY, UT 84116



MCBRIDE, CRYSTAL C.                      MCBRIDE, DIANNE                          MCBRIDE, DONALD
805 N 310 E                              ADDRESS ON FILE                          371 MACKINAW AVE
TOOELE, UT 84074                                                                  CALUMET CITY, IL 60409




MCBRIDE, JORDAN                          MCBRIDE, KATHLEEN K.                     MCBRIDE, KATHLEEN R
7671 DUSTMAN ROAD                        ADDRESS ON FILE                          ADDRESS ON FILE
WORDEN, IL 62097




MCBRIDE, LOWRY                           MCBRIDE, MISTIE L.                       MCBRIDE, SANDRA
124 TIMBERMILL LANE                      ADDRESS ON FILE                          8267 RISDON SCHOOL RD
EDWARDSVILLE, IL 62025                                                            NEW ATHENS, IL 62264




MCC FOUNDATION, INC                      MCCAA, BEATRICE M                        MCCABE, DAN
ATTN: ROBERT A. BONNER                   12741 ABERDEEN                           209 BLACK OAK COURT
1161 KEHEUKEE PARK ROAD                  CALUMET PARK, IL 60827                   DAHINDA, IL 61428
WILLIAMSTON, NC 27892




MCCABE, DON MICHAEL                      MCCABE, LAURA A.                         MCCABE, MICHELLE
5769 E ST                                552 BEAN CREEK RD 122                    2508 E. ST LOUIS ST
SPRINGFIELD, OR 97478-0000               SCOTT VALLEY, CA 95066                   WEST FRANKFORT, IL 62896




MCCABE, RUTH P.                          MCCABE, SCOTT                            MCCAFFREY, WILLIAM
ADDRESS ON FILE                          1395 BENSON ST                           907 N SHERIDAN RD
                                         MASSILLON, OH 44647                      WAUKEGAN, IL 60085




MCCAGG, JILLIAN M.                       MCCAGUE, KIMBERLY S.                     MCCAIN, AGNES J.
ADDRESS ON FILE                          15184 RUE BELLE LN                       ADDRESS ON FILE
                                         JOHNSTON CITY, IL 62951
MCCAIN, CARMEN B.         Case 20-10766-BLS
                                        MCCAIN,Doc 6 Filed
                                               COURTNEY J. 04/07/20        Page 1142  ofJERRY
                                                                                MCCAIN,  1969W
25312 HWY 70 E                           ADDRESS ON FILE                        118 COOPER BRANCH LANE
HUNTINGDON, TN 38344                                                            DECATURVILLE, TN 38329




MCCAIN, JUDITH                           MCCAIN, MADISON J.                     MCCAIN, MARSHA
109 MCCAIN BLVD APT B                    714 CARDINAL RD                        21946 MOUND STREET
WEST MEMPHIS, AR 72301                   CARBONDALE, IL 62901                   OLIVE BRANCH, IL 62969




MCCAIN, TAYLOR                           MCCALEB, JAYLYN                        MCCALIP, EDWARD
137 VIA HATCH CANYON                     415 W SOUTH 4TH ST P.O. BOX 342        509 FRANKLIN AVENUE
ALPINE, TX 79830                         RED BUD, IL 62278                      TROY, IL 62294




MCCALL, ALICE J.                         MCCALL, ANETTE                         MCCALL, NANCY
15625 PRINCE DR                          2253 RAMAH CHURCH RD                   P.O. BOX 761
SOUTH HOLLAND, IL 60473                  LETOHATCHEE, AL 36047-5702             OVERTON, NV 89040-0761




MCCALLA MICHELE L                        MCCALLA, RAEONA J.                     MCCALLIE, ANH L.
1729 WILLIAMSON AVE                      ADDRESS ON FILE                        ADDRESS ON FILE
STAUNTON, IL 62088




MCCALLIN, BARBARA C.                     MCCALLISTER, SHELLY                    MCCALLUM, CRYSTA L.
680 DARTMOUTH SE                         2417 DELMAR AVE                        ADDRESS ON FILE
BREWSTER, OH 44613                       GRANITE CITY, IL 62040




MCCALLY TERRY E                          MCCAMMON, MARY                         MCCANDLESS, ANNETTE D.
33 HARBOR POINTE CT                      ADDRESS ON FILE                        3017 SCRIVER STREET
CRYSTAL CITY, MO 63019                                                          SANTA CRUZ, CA 95062




MCCANN, CATHERINE                        MCCANN, DERRICK                        MCCANN, LUKE
1200 W GOODALL ST                        P.O. BOX 1088                          265 CHESTNUT ST
MARION, IL 62959                         LAKE VILLA, IL 60046                   ALTO PASS, IL 62905




MCCARD JR., RAY H.                       MCCARREY, ASHLEY N.                    MCCART, KYLE
ADDRESS ON FILE                          409 HAWAII ST                          5590 EXECUTIVE DR
                                         RED BUD, IL 62278                      LOGANVILLE, GA 30052




MCCARTHY GENEVIEVE                       MCCARTHY, AMY P., M.D.                 MCCARTHY, CHRISTA L.
7911 MARQUETTE DRV                       ADDRESS ON FILE                        2125 DICKINSON RD APT 104
TINLEY PARK, IL 60477                                                           CHESTERTON, IN 46304
MCCARTHY, EMMA K.        Case 20-10766-BLS   DocKENISHA
                                       MCCARTHY, 6 FiledR. 04/07/20    Page 1143 of 1969
                                                                            MCCARTHY, MARY ANNE
1052 WHITE OAK DRIVE                    ADDRESS ON FILE                     60 W FOURTH ST
RED BUD, IL 62278                                                           GALESBURG, IL 61401




MCCARTHY, STEVEN                        MCCARTNEY PRODUCE                   MCCARTNEY PRODUCE
361 KING ST                             211 FENTRESS STREET                 P.O. BOX 219
WHITE HALL, IL 62092                    P.O. BOX 219                        PARIS, TN 38242-0219
                                        PARIS, TN 38242




MCCARTNEY, JEFFERY R                    MCCARTNEY, KENTON                   MCCARTNEY, MOTSINGER
2611 COLUMBIA LAKES DRIVE               1324 5TH DR. NW                     105 N GRANGER ST
APT 2B                                  NEW PHILADELPHIA, OH 44663          HARRISBURG, IL 62946-1402
COLUMBIA, IL 62236




MCCARTY, KARA L.                        MCCARTY, LASHAE                     MCCARTY, NOLA
2864 S HWY 201                          1872 CR 795                         307 WEST FIRST ST
BLAINE, KY 41124                        FLAT ROCK, AL 35966                 P.O. BOX 1
                                                                            ELLIS GROVE, IL 62241




MCCARTY, SANDRA                         MCCARTY, SHERLOTTA                  MCCASH, KEELEY E.
ADDRESS ON FILE                         1106 OLD FALLSBURG RD               2519 19TH AVE
                                        LOUISA, KY 41230                    MOLINE, IL 61265




MCCAULEY, ELEANORE HELEN                MCCAULEY, ERIKA N.                  MCCAULEY, LAUREN E.
168 CHAPEL DR                           ADDRESS ON FILE                     ADDRESS ON FILE
EUGENE, OR 97404-0000




MCCAYSVILLE WATER & SEWER SVC           MCCAYSVILLE WATER & SEWER           MCCAYSVILLE WATER & SEWER
223 BLUE RIDGE DR                       P.O. BOX 6                          P.O. BOX 6
MCCAYSVILLE, GA 30555                   MCCAYSVILLE, GA 30555               MCCAYSVILLE, GA 30555-0006




MCCCF                                   MCCELLAN, AMANDA                    MCCELLAND, WINFRED
P.O. BOX 367                            649 CALIFORNIA AVE                  340 HOLDRIDGE AVE
MARION, IL 62959-0367                   COTTAGE HILLS, IL 62018-1118        WINTHROP HARBOR, IL 60096




MCCHRISTIAN, CONSTANCE                  MCCLAIN, BLONDELL                   MCCLAIN, DAVID E.
14422 SOUTH INDIANA                     13214 AL HWY 227                    1730 SIBLEY RD
APT 310                                 GERALDINE, AL 35974                 APT 6A
RIVERDALE, IL 60827                                                         AUGUSTA, GA 30909-0447




MCCLAIN, DORENE N.                      MCCLAIN, PAMELA K.                  MCCLAIN, PAMELA
466 MACKINAW AVE                        ADDRESS ON FILE                     ADDRESS ON FILE
CALUMET CITY, IL 60409
MCCLANEY, JACQUELYN     Case 20-10766-BLS   Doc
                                      MCCLARY,   6 K.
                                               KANDIS Filed 04/07/20   Page 1144 of 1969
                                                                            MCCLARY, KANDIS
313 FARRAGUT ST                         ADDRESS ON FILE                      ADDRESS ON FILE
PARK FOREST, IL 60466




MCCLASKEY, MONICA                       MCCLAUGHERTY & SILVER PC             MCCLEAN, TANA
ADDRESS ON FILE                         P.O. BOX 8680                        12330 NEVADA RD P.O. BOX 294194
                                        SANTA FE, NM 87504                   PHELAN, CA 92329




MCCLEARY, MALCOLM                       MCCLEERY, MICHAEL W.                 MCCLELLAN, CAROLYN
801 18TH ST                             2701 SYDNEY AVE                      131 MYSTIC LN
ZION, IL 60099                          ROSWELL, NM 88201                    BLUE RIDGE, GA 30513




MCCLELLAN, SHERRI                       MCCLELLAND, MILDREEN                 MCCLEMENTENGLER, MELISSA
758 S. SAN MIGUEL                       12834 LINCOLN ST                     1416 OLD MARION RD
DEMING, NM 88030                        BLUE ISLAND, IL 60406-2697           WEST FRANKFORT, IL 62896




MCCLENDON, CAROLYN                      MCCLENDON, CASSIE                    MCCLENDON, MARISELA
123 LEE RD 316 CRESTPARK                270 CR 365                           ADDRESS ON FILE
MARIANNA, AR 72360                      PISGAH, AL 35765




MCCLENDON, TERRY                        MCCLESKEY, DONALD                    MCCLESKEY, JOANN L
102 SEVENTH STREET NORTH                433 7TH ST NE                        41 CHURCH RD
SYLVANIA, AL 35988                      MASSILLON, OH 44646                  ERDA, UT 84074




MCCLINTOCK, CHRISTINA L.                MCCLINTOCK, ROBIN                    MCCLINTON, LATHONYA D.
2529 EDISON AVE.                        ADDRESS ON FILE                      3660 W 119TH ST APT 202
GRANITE CITY, IL 62040                                                       ALSIP, IL 60803




MCCLISH, KAREN                          MCCLOUD-DAVIS, DONNA                 MCCLUCKIE, VIRGINIA L
18 AGAVE LANE                           2335 EVERGREEN LANE                  12897 WILLOW POND LN
SILVER CITY, NM 88061                   LAWRENCEVILLE, GA 30043              ENERGY, IL 62933




MCCLUNG BRENT ALLEN                     MCCLURE DENNIS E                     MCCLURE PROFESSIONAL SERVICES
169 COUNTY ROAD 300                     20 GREEN APPLE LN                    2817 S 65TH ST
FORT PAYNE, AL 35967-7677               MURPHY, NC 28906                     FT SMITH, AR 72903




MCCLURE, COURTNEY B.                    MCCLURE, JENNIFER                    MCCLURE, JONNI A.
508 BYRD RD                             285 EAST GOSSETT                     800 E SPRUCE
GLEASON, TN 38229                       ROSEVILLE, IL 61473                  DEMING, NM 88030
MCCLURE, JUDY A.        Case 20-10766-BLS   Doc
                                      MCCLURE,   6 Filed 04/07/20
                                               LAURIE                    Page 1145 of 1969
                                                                              MCCLURE, MARY JO
211 GEORGE ST                          1282 BLAKEWOOD STREET                   726 MCKINNEY RD
ANNA, IL 62906                         BETHLEHEM, GA 30620                     BLUE RIDGE, GA 30513




MCCLURE, MATTHEW                       MCCLURE, MICAH E.                       MCCLURE, SHEENA L
6925 CHURCH ST                         ADDRESS ON FILE                         4813 COUNTY RD 92
COTTAGE GROVE, TN 38224                                                        FYFFE, AL 35971




MCCLURKIN, ANGLEA                      MCCLUSKIE, SANDRA                       MCCOLLUM KIMBERLY L
11051 FAWN CREEK LANE                  1637 W STOTLAR RD                       P.O. BOX 493
ORLAND PARK, IL 60467                  HERRIN, IL 62948                        CROSSVILLE, AL 35962-0102




MCCOLLUM, ANDREA                       MCCOLLUM, GUY                           MCCOLLUM, JESSIE
ADDRESS ON FILE                        300 LUNA ST                             31 BROWN ST
                                       DECATURVILLE, TN 38329                  LEXINGTON, TN 38351




MCCOLLUM, KENNETH                      MCCOMBS, VERDA J.                       MCCOMMONS, ERIN C.
P.O. BOX 827                           200 COUNTRY DRIVE                       63 N NAPLES LN
HUGHES, AR 72348                       WILLIAMSTON, NC 27892                   INA, IL 62846




MCCOMMONS, KEITH D                     MCCONACHIE, KIMBERLY R.                 MCCONKIE, KIRTON
995 HOUND DOG RIDGE ROAD               ADDRESS ON FILE                         P.O. BOX 45120
VIENNA, IL 62995                                                               SALT LAKE CITY, UT 84145-0120




MCCONNAUGHY, TRISTI                    MCCONNELL ORTHOPEDIC MFG., INC.         MCCONNELL, CAYCE R.
709 EAST 550 NORTH                     P O BOX 8306                            917 WAUKEGAN RD
OGDEN, UT 84404                        GREENVILLE, TX 75404                    DEERFIELD, IL 60015




MCCONNELL, DAVID A.                    MCCONNELL, KEVIN                        MCCONNELL, MERRILL D
2160 COLONIAL PKWY NE                  15895 OLD CREAL SPRINGS                 152 N GRAND ST
MASSILLON, OH 44646                    MARION, IL 62959                        EUGENE, OR 97402




MCCONNELL, NIKI M.                     MCCONNELL, PATRICK G.                   MCCONNELL, SABRINA
1725 HIGH STREET                       2205 BERDAHL AVENUE                     P.O. BOX 118
CHESTER, IL 62233                      CODY, WY 82414                          CAMPTON, KY 41301




MCCOOK SALES INC.                      MCCOOL, OLIVIA                          MCCORD, JOYCE Y.
4973 OLD RANCH ROAD                    1024 TOLLE RD                           ADDRESS ON FILE
LA VERNE, CA 91750                     MT VERNON, IL 62864
MCCORD, KAREN           Case 20-10766-BLS  Doc
                                      MCCORD,    6 Filed 04/07/20
                                              SARAH                  Page 1146 of 1969
                                                                          MCCORKLE, CHRISTINA M.
1344 WHITE OAK ST SE                   341 SFC 529                         3633 SADDLE BROOK DRIVE
CONYERS, GA 30013                      HETH, AR 72346                      LOGANVILLE, GA 30052




MCCORMACK, ABBIE                       MCCORMACK, DEBRA A.                 MCCORMICK, BOBBY
ADDRESS ON FILE                        ADDRESS ON FILE                     620 N MECHANIC ST
                                                                           MACOMB, IL 61455




MCCORMICK, BRENDAN P                   MCCORMICK, CAROLYN                  MCCORMICK, ERICK M.
4446 W 117TH ST                        1871 COUNTY RD NW 1080              ADDRESS ON FILE
ALSIP, IL 60803                        SULPHUR BLUFF, TX 75481




MCCORMICK, JAMES T                     MCCORMICK, KIMBERLY D.              MCCORMICK, MARIE L.
1561 HWY 1 SOUTH                       668 COOK STREET                     ADDRESS ON FILE
MARVELL, AR 72366                      LEXINGTON, TN 38351




MCCORMICK, PATRICIA F                  MCCORMICK, SUZANNE R.               MCCORMICK, TESSA M.
7201 S HARDING AVE                     2965 TEAL PLACE                     7326 BARING PKWY
CHICAGO, IL 60629                      EUGENE, OR 97404                    HAMMOND, IN 46324




MCCORMICKS LAWN                        MCCORMOICK ANNIE                    MCCOSKEY, KAYLA
265 DUFFIELD AVE                       34 EAGLE MOUNTAIN TRL               470 PINEBROOK RD
GALESBURG, IL 61401                    ADAIRSVILLE, GA 30103               HAZARD, KY 41701




MCCOWEN, BRYAN                         MCCOWEN, SHELLY R.                  MCCOWN, MELISSA
4855 N. BROWN LANE                     ADDRESS ON FILE                     6433 TARPIN RIDGE RD
WALTONVILLE, IL 62894                                                      CATLETTSBURG, KY 41129




MCCOWN, TRACI E.                       MCCOY, ALANA M.                     MCCOY, CASEY A.
ADDRESS ON FILE                        900 LEGACY PARK DR APT 1617         ADDRESS ON FILE
                                       LAWRENCEVILLE, GA 30043




MCCOY, CYNTHIA D.                      MCCOY, DANILLE                      MCCOY, DORIS J.
102 MOORE RD                           1671 BLEVINS FORK RD                ADDRESS ON FILE
GREENVILLE, NC 27834                   LOUISA, KY 41230




MCCOY, GAVIN L.                        MCCOY, GEORGE F.                    MCCOY, GEORGE
3506 CHESTNUT DR                       2705 ST VINCENT AVE                 277 WALNUT AVE
HAZEL CREST, IL 60429                  TRLR 40                             GALESBURG, IL 61401
                                       LASALLE, IL 61301
MCCOY, HAVEN            Case 20-10766-BLS
                                      MCCOY,Doc  6 R.
                                            JENNIFER Filed 04/07/20   Page 1147
                                                                           MCCOY,of 1969
                                                                                  KAITLYN
3601 HWY 259                           ADDRESS ON FILE                     ADDRESS ON FILE
PALESTINE, AR 72372




MCCOY, KEITH                           MCCOY, MATTHEW R.                   MCCOY, NATASSJA
223 JOMAR                              619 S. BORDERS AVE.                 516 ONTARIO ST
SMITHTON, IL 62285                     MARISSA, IL 62257                   TOOELE, UT 84074




MCCOY, PATRICK OBRIEN K                MCCOY, TIFFANY N.                   MCCOY, TIFFANY
1530 SCANDIA ST                        ADDRESS ON FILE                     ADDRESS ON FILE
EUGENE, OR 97402




MCCOY, TRAVIS R.                       MCCOYS                              MCCRACKEN, BARBARA
ADDRESS ON FILE                        2700 E HIGHWAY 90                   6986 GUSHING SPRINGS DR
                                       ALPINE, TX 79831                    EDWARDSVILLE, IL 62025




MCCRACKEN, GEORGE                      MCCRACKEN, SAVANNAH                 MCCRACKEN, SEAN
746 LAST ROAD                          P.O. BOX 1122                       2015 WALNUT STREET
ABINGDON, IL 61410                     MOUNTAIN VIEW, WY 82939             MURPHYSBORO, IL 62966-1911




MCCRANEY, ANITA                        MCCRANEY, ANITA                     MCCREA, JOANNA
ADDRESS ON FILE                        2045 WALNUT DRIVE                   5091 OLD CARPENTER RD
                                       FORREST CITY, AR 72335              EDWARDSVILLE, IL 62025




MCCREA, ROBERT J                       MCCREARY, DO, CHAD                  MCCREATH, DALTON
2728 SORREL WAY                        412 N LOCK AVENUE                   ADDRESS ON FILE
EUGENE, OR 97401-0000                  LOUISA, KY 41230




MCCREERY LYNN M                        MCCRORY, AMY K                      MCCROSKY, BETINA
P.O. BOX 97                            153 N MILWAUKEE AVE                 ADDRESS ON FILE
OZARK, IL 62972                        APT 224
                                       LAKE VILLA, IL 60046




MCCRYSTAL, CAROL                       MCCULLEN, ERRICKA                   MCCULLEY, AMY
2803 SPENCER DR                        910 ATHENS HWY                      16282 NORTH CLEAR LANE
STERLING, IL 61081                     STE K332                            MT VERNON, IL 62864
                                       LOGANVILLE, GA 30052




MCCULLEY, MARY                         MCCULLOUGH, CRYSTAL                 MCCULLOUGH, KALLEY D.
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE
MCCULLOUGH, KIRSTEN      Case 20-10766-BLS   Doc 6TRACY
                                       MCCULLOUGH,   Filed
                                                        L. 04/07/20   Page 1148 of 1969
                                                                           MCCULLY, CINDA
ADDRESS ON FILE                         764 OAKWOOD DRIVE                  1686 N 150 EAST
                                        WESTMONT, IL 60559                 TOOELE, UT 84074




MCCUNE KRISTINA                         MCCUNE, MINDY                      MCCUNE, SARAH
702 N WALNUT ST                         ADDRESS ON FILE                    727 NEALE AVE SW
BETHALTO, IL 62010                                                         MASSILLON, OH 44647




MCCUNE, TERESA L.                       MCCUNN, JARED M                    MCCURDY, GLENDA S
14887 RAINBOW LAKE RD SW                2209 ELISA CIRCLE                  508 AIRPORT ROAD W
NEWCOMERSTOWN, OH 43832                 EUREKA, IL 61530                   FORT PAYNE, AL 35968-3300




MCCURDY, SHARON A.                      MCCURRIE, KORTNEY                  MCCURRY, LINDA
ADDRESS ON FILE                         17245 LONG BOW DR.                 619 35TH ST NW
                                        LOCKPORT, IL 60441                 CANTON, OH 44709




MCCUTCHEN, KIMBERLY L.                  MCCUTCHEN, SHARRON                 MCDADE, JOE
1012 COUNTY ROAD 194                    ADDRESS ON FILE                    1350 BIG BUCK RD
HENAGAR, AL 35978                                                          TREZEVANT, TN 38258-4006




MCDANIEL ACORD & LYTLE PLLC             MCDANIEL LINDA LORENE              MCDANIEL, ALLISON B.
9343 E 95TH CT                          603 PARK AVE                       903 E CHURCH ST APT A
TULSA, OK 74133                         EUGENE, OR 97404                   MONROE, GA 30655




MCDANIEL, ARTHUR                        MCDANIEL, CAMERON                  MCDANIEL, CARMEN M.
3270 HURON RD                           5083 OLD REAGAN RD                 252 SUMMERS ST
HURON, TN 38345                         SCOTTS HILL, TN 38374              LEXINGTON, TN 38351




MCDANIEL, DONALD                        MCDANIEL, HALEY D.                 MCDANIEL, JAMIE L.
823 SLIPPERY ROCK DR                    483 LEE 917                        ADDRESS ON FILE
EDWARDSVILLE, IL 62025-2658             MORO, AR 72368




MCDANIEL, JANA                          MCDANIEL, JERRY & MARGARET         MCDANIEL, KASHIEA A.
2112 WALNUT STREET                      90 PARDY ROAD                      ADDRESS ON FILE
MURPHYSBORO, IL 62966                   HUNTINGDON, TN 38344




MCDANIEL, KATHLEEN T.                   MCDANIEL, LEEANN                   MCDANIEL, MICHELLE P.
ADDRESS ON FILE                         ADDRESS ON FILE                    209 MILES LANE
                                                                           WATSONVILLE, CA 95076
MCDANIEL, MIRANDA        Case 20-10766-BLS   Doc
                                       MCDANIEL,   6 Filed 04/07/20
                                                 MIRANDA              Page 1149 of 1969
                                                                           MCDANIEL, SHANNON N.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




MCDANIEL, SHERRY                        MCDANIEL, TAYHLOR                   MCDANIEL, TIFFANY
3230 RED ROOSTER LN SW                  12840 HWY 104 N                     208 W CHESTNUT ST
DEMING, NM 88030                        LEXINGTON, TN 38351                 ODIN, IL 62870




MCDANIELS, JUDY                         MCDARIS, VIRGINIA                   MCDERMOTT, AMY
24 12TH ST SW                           ADDRESS ON FILE                     ADDRESS ON FILE
MASSILLON, OH 44647




MCDERMOTT, JENNIFER L.                  MCDONALD DASH                       MCDONALD JUSTIN A
7940 W 139TH ST                         P O BOX 752506                      10124 W CRISSY AVE
ORLAND PARK, IL 60462                   MEMPHIS, TN 38175-2506              BEACH PARK, IL 60099-3977




MCDONALD LOCKSMITH SUPPLY               MCDONALD TAMERA E                   MCDONALD, BRIAN L
P.O. BOX 752506                         1396 WEST HIGHWAY 199               662 BARNETT RD
MEMPHIS, TN 38175-2506                  RUSH VALLEY, UT 84069               MURPHY, NC 28906




MCDONALD, CAROL GLENNA                  MCDONALD, ERICKA                    MCDONALD, FRITZI
7020 BUNCOMBE RD                        1730 KAYLA LN APT 3D                814 BEL AIR WAY
BUNCOMBE, IL 62912                      WAUKEGAN, IL 60087                  SALINAS, CA 93901




MCDONALD, JAMI L.                       MCDONALD, JASON                     MCDONALD, KEYWANA
ADDRESS ON FILE                         9699 EASTON ST                      32 POTOMAC DR
                                        LOUISVILLE, OH 44641                FAIRVIEW HEIGHTS, IL 62208




MCDONALD, LINDA                         MCDONALD, MARIO                     MCDONALD, MARTHA
127 S SIDE SQ                           ADDRESS ON FILE                     2602 GIBBS AVE NE
MACOMB, IL 61455                                                            CANTON, OH 44714




MCDONALD, MARTHA                        MCDONALD, SARAH                     MCDONALD, SOCHEA
P.O. BOX 57018                          1280 CHERRY RD NW                   18994 CRAB ORCHARD RD
OKLAHOMA CITY, OK 73157                 APT 307                             MARION, IL 62959
                                        MASSILLON, OH 44647




MCDONALD, STANLEY H.                    MCDONALD, THERESA E.                MCDONALD, TRAVIS A.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE
MCDONALDS OPERATIONS Case   20-10766-BLS
                     RISK MGMT              Doc 6 JESSICA
                                     MCDONNOUGH,       Filed 04/07/20   Page 1150 of 1969
                                                                             MCDONOUGH COUNTY VOICE
3333 WARRENVILLE RD                  5120 PR RD 72                           26 WEST SIDE SQURAE
SUITE 550                            PINCKNEYVILLE, IL 62274-0000            MACOMB, IL 61455
LISLE, IL 60532




MCDONOUGH DISTRIC HOSPITAL            MCDONOUGH, JOANNA                      MCDONOUGH, KEITH
525 E GRANT STREET                    10843 S. FAIRFIELD AVE.                7990 BETHALTO RD
C/O PAULA DUNCAN                      CHICAGO, IL 60655                      BETHALTO, IL 62010
MACOMB, IL 61455




MCDONOUGH, MAIRE                      MCDONOUGH, MYRON                       MCDONOUGH, TREVA M.
3051 W RUIZ DR                        7990 BETHALTO RD                       ADDRESS ON FILE
STOCKTON, UT 84071                    BETHALTO, IL 62010




MCDORMAN, HOLLY                       MCDOUGAL, CINDY                        MCDOUGAL, CINDY D.
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




MCDOUGAL, TERESA                      MCDOWELL CASANDRA A                    MCDOWELL, CINDY
8663 STATE ROUTE 143                  512 S DILGER AVE                       P.O. BOX 3485
EDWARDSVILLE, IL 62025                WAUKEGAN, IL 60085                     FREEDOM, CA 95019




MCDOWELL, DANIEL M.                   MCDOWELL, KAREN S.                     MCDOWELL, NORMA
2543 CLEVELAND BLVD                   ADDRESS ON FILE                        354 FARMERS ROAD
GRANITE CITY, IL 62040                                                       FYFFE, AL 35971




MCDOWELL, PAMELA S.                   MCDOWELL, SARA L.                      MCDOWELL, SUZAN J.
207 HONEYSUCKLE LN                    ADDRESS ON FILE                        630 HERSCHLER AVE
STAFFORDSVILLE, KY 41256                                                     EVANSTON, WY 82930




MCDUFF, ROBERT E                      MCELDOWNEY ELDON, FRANK                MCELDOWNEY, JOYCE
801 N ORANGE ST APT 14                196 S 4TH ST                           26 LAKEWOOD DR
ALPINE, TX 79830                      P.O. BOX 83                            GLEN CARBON, IL 62034
                                      HARRISBURG, OR 97446-0000




MCELHANEY, KRISTIN M.                 MCELHANEY, MIKE                        MCELLIGOTT, TRACY L.
1000 VINE ST                          1312 MEADOW DRIVE SW                   ADDRESS ON FILE
JUNCTION CITY, OR 97448               FORT PAYNE, AL 35967




MCELRATH, TYERRA M.                   MCELROY ANGELA K                       MCELROY, CAVIN V.
ADDRESS ON FILE                       12446 BLUEPOND BLVD W                  3417 RICHMOND HILL RD
                                      SYLVANIA, AL 35988-2507                AUGUSTA, GA 30906
MCELROY, PATRICIA        Case 20-10766-BLS   DocCHARLES
                                       MCELVAINE, 6 Filed 04/07/20     Page 1151 of 1969
                                                                            MCEVERS, RANDI J.
735 27TH PLACE                          825 E HATCH RD                       ADDRESS ON FILE
GRANITE CITY, IL 62040                  AVON, IL 61415




MCEWEN, NANCY G.                        MCFADDEN, GERALDINE                  MCFADDEN, GINGER
1737 CLEARBROOK NW                      801 KATHERINE ST                     5238 PROVIDENCE CR
MASSILLON, OH 44646                     AUGUSTA, GA 30904                    JONESBORO, AR 72404




MCFADDEN, STEPHANIE A.                  MCFADDEN, SUSAN E.                   MCFADDEN-DAVIS, TERESA
ADDRESS ON FILE                         1215 CORAL ST                        P.O. BOX 3197
                                        RED BUD, IL 62278                    FORREST CITY, AR 72335




MCFADDENGUSLALSON, MOLLY                MCFADDIN, MELISSA                    MCFAIN, PATRICIA
36794 N HICKORY CT                      25 BAYVIEW RD                        309 8TH ST
INGLESIDE, IL 60041                     CASTROVILLE, CA 95012                CARROLLTON, IL 62016




MCFALL, VICKY L.                        MCFARLAND, BRIAN                     MCFARLAND, CASAUNDRA S.
7599 COUNTY HOUSE ROAD                  1031 HIGHLANDS PLAZA DR WEST         1481 MODOC STREET
TOMPKINSVILLE, KY 42167                 APT 206                              SPRINGFIELD, OR 97477
                                        ST LOUIS, MO 63110




MCFARLAND, CONNIE                       MCFARLAND, DIANE                     MCFARLAND, KIMBERLY
204 DEER HUNTER RD                      3727 W 123RD ST                      2020 GRANDVIEW DR
30513RIDGE, GA 30513                    ALSIP, IL 60803                      ST. JACOB, IL 62281




MCFARLAND, RONALD                       MCFARLAND, SHARON                    MCFARLAND, TAYLOR N.
381 W 2030 N                            694 HANCOCK ROAD                     ADDRESS ON FILE
TOOELE, UT 84074                        BLUE RIDGE, GA 30513




MCFARLAND, TAYLOR R.                    MCFARLANE DOUGLASS & CO              MCFEE, DARLA VALENTINE
ADDRESS ON FILE                         143 TOWER DRIVE                      125 DAVID CANARY DR SW
                                        BURR RIDGE, IL 60527                 UNIT 210
                                                                             MASSILLON, OH 44647-6549




MCFEELY, TARYN                          MCG HEALTH LLC                       MCGAFFEE, CRYSTAL G.
471 MACKINAW CIRCLE                     P O BOX 742350                       ADDRESS ON FILE
FAIRLAWN, OH 44333                      ATLANTA, GA 30374-2350




MCGAGHIE, EMILY                         MCGAHA, KEITH E                      MCGAHEE, ROY T.
1927 EGGERT DR.                         728 MT PLEASANT CHURCH RD            5050 HWY 88 W
SCHERERVILLE, IN 46375                  BLAIRSVILLE, GA 30512                STAPLETON, GA 30823
MCGALLIARD, ANNICA          Case 20-10766-BLS  Doc
                                          MCGANN,    6 Filed 04/07/20
                                                  BRANDI                Page 1152 of 1969
                                                                             MCGARRY, BRIAN
6128 ST CHARLES CT                         1771 EDMONDS AVE                  432 E COAL ST
LITHONIA, GA 30058                         NEW LENOX, IL 60451               WATAGA, IL 61488




MCGARTH, PATRICK                           MCGATHA, KELLEY                   MCGAULEY, SHERRI L.
2135 W 109TH ST                            76 COUNTY RD 68                   ADDRESS ON FILE
CHICAGO, IL 60643-3201                     SECTION, AL 35771-7549




MCGEE TORI                                 MCGEE WILLIAM B                   MCGEE, ABBY JOYCE
252 CROFT AVE                              578 HILLSIDE AVE                  883 COUNTY RD 368
RAINSVILLE, AL 35986-4437                  ANTIOCH, IL 60002                 DUTTON, AL 35744




MCGEE, CONLETH M                           MCGEE, ELISHIA N.                 MCGEE, JOHN DAVID
2920 DALE AVENUE                           6990 EDISON AVE                   719 FISHER CREEK RD
GRANITE CITY, IL 62040                     SAINT LOUIS, MO 63121             SYLVA, NC 28779




MCGEE, JOYCE A                             MCGEE, KAREN                      MCGEE, MEGAN
121 SHERWOOD BLVD                          730 AMHERST PL                    848 CHIANTI WAY
FYFFE, AL 35971-3506                       EDWARDSVILLE, IL 62025            MESQUITE, NV 89027




MCGEE, OWEN                                MCGEE, SCOTT E.                   MCGEE, STEPHANIE K.
2241 FISHER ROAD                           ADDRESS ON FILE                   ADDRESS ON FILE
FORT PAYNE, AL 35967




MCGEE,KASEY                                MCGILL LARRY L                    MCGILL, CHARLOTTE S
1099 EAST HANSEN CIRCLE                    1897 WEEKS CREEK RD               213 BLUFFVIEW DR
EAGLE MTN, UT 84005                        BLUE RIDGE, GA 30513              FORT PAYNE, AL 35968-5407




MCGILL, CINDY LEA                          MCGILL, COREY                     MCGILL, MARSHA E
3215 OLD METROPOLIS ROAD                   ADDRESS ON FILE                   1897 WEEKS CREEK RD
VIENNA, IL 62995                                                             BLUE RIDGE, GA 30513




MCGILL, STACY L.                           MCGINN, EILEEN                    MCGINN, KIP
4815 NORTH ERIE AVENUE                     1500 LINDENTHAL AVE               372 OAK HILL TRL
CANAL FULTON, OH 44614                     HIGHLAND, IL 62249                MINERAL BLUFF, GA 30559




MCGINN, MAURA D.                           MCGINN, STEPHANIE                 MCGINNESS, JACK
898 CALABASAS ROAD                         2347 TREEHAVEN DRIVE              800 N 5TH ST
CORRALITOS, CA 95076                       SNELLVILLE, GA 30078              SUNBURY, PA 17801
MCGINNIS, JENNIFER       Case 20-10766-BLS   Doc
                                       MCGINNIS,   6 A. Filed 04/07/20
                                                 JODY                     Page 1153 of 1969
                                                                               MCGINNIS, TAMMY C.
ADDRESS ON FILE                          ADDRESS ON FILE                        1048 IRIS LANE
                                                                                LOUISA, KY 41230




MCGINNIS, TAMMY C.                       MCGINNIS, TAMMY                        MCGINNIS, TARA N.
ADDRESS ON FILE                          P.O. BOX 8                             ADDRESS ON FILE
                                         TOMAHAWK, KY 41262




MCGINNIS, TERA L.                        MCGINNIS, THERESA L.                   MCGINNIS, THERESA
ADDRESS ON FILE                          1426 S CHAMBERS ST                     1426 S CHAMBERS
                                         GALESBURG, IL 61401                    GALESBURG, IL 61401




MCGINTY JR, THOMAS                       MCGINTY, CASSIE                        MCGLADDERY, THOMAS M.
1782 MASCVILLE RD                        451 MONTEREY DRIVE                     1603 MORNING DEW CT
GREENVILLE, AL 36037                     APTOS, CA 95003                        CARTERVILLE, IL 62918




MCGLOSON, TAKEISHA                       MCGONIGLE, MARGARET M.                 MCGOUGH, BENJAMIN
ADDRESS ON FILE                          ADDRESS ON FILE                        1143 DANIELVILLE RD
                                                                                HONORAVILLE, AL 36042-3945




MCGOVERN, JAMES                          MCGOWAN ENTERPRISES INC                MCGOWAN ENTERPRISES,INC
2594 VINEYARD LN                         DBA ACUTE CARE PHARMACEUTICALS         DBA ACUTE CARE PHARMACEUTICALS
ROUND LAKE BEACH, IL 60073               12225 WORLD TRADE DR STE A             12225 WORLD TRADE DR; STE F
                                         SAN DIEGO, CA 92128                    SAN DIEGO, CA 92128




MCGOWAN, ANNETTE D                       MCGOWAN, DEANN C.                      MCGRATH NORTH MULLIN & KRATZ PC LLO
745 TRAFTON RD                           ADDRESS ON FILE                        FIRST NATIONAL TOWER
MOSS LANDING, CA 95039                                                          1601 DODGE ST - STE 3700
                                                                                OMAHA, NE 68102




MCGRATH, PHOEBE                          MCGRATH, WYATT                         MCGRAW DENISE
512 S FRANKLIN ST                        192 RIVER OAK DRIVE                    737 TROY RD
BUNKER HILL, IL 62014                    DAWSONVILLE, GA 30534                  COLLINSVILLE, IL 62234




MCGRAW HILL FINANCIAL INC                MCGRAW, JEFFERY                        MCGREAL, PAMELA N.
STANDARD & POORS                         ADDRESS ON FILE                        4918 9TH ST NW
2542 COLLECTION CENTER DR                                                       CANTON, OH 44708
CHICAGO, IL 60693




MCGREGOR SEPTIC SERVICE                  MCGREGOR, KATIE                        MCGREW ALICE GERALDINE
695 W MAIN ST                            12608 S LAFLIN                         47780 PORTAL DR
ATWOOD, TN 38220                         CALUMET PARK, IL 60827                 OAKRIDGE, OR 97463-0000
MCGREW, ANNE           Case 20-10766-BLS
                                     MCGREW, Doc  6 Filed 04/07/20
                                              CECIL                  Page 1154 of HAILEY
                                                                          MCGREW, 1969
202 N ANTHONY ST                     907 E TWYMAN ST                      5703 DESOTO PARK WAY
NEW ORLEANS, LA 70119-4303           BUSHNELL, IL 61422                   FORT PAYNE, AL 35967




MCGREW, LAGUNA                       MCGREW, LAGUNA                       MCGREW, PEGGY
8631 SOUTH DAMEN AVE                 ADDRESS ON FILE                      23960 E 1800TH ST
CHICAGO, IL 60620                                                         PRAIRIE CITY, IL 61470




MCGRUDER, HOSEY JR                   MCGUIRE FRED                         MCGUIRE PAUL W
210 MERRIWEATHER LN                  2350 MAYNOR DR                       62 BROOKWOOD DR
FAIRVIEW HEIGHTS, IL 62208           CAHOKIA, IL 62206                    BLUE RIDGE, GA 30513




MCGUIRE PAUL                         MCGUIRE, ANDREA J.                   MCGUIRE, BUDDY J.
7100 ULMERTON RD 264                 ADDRESS ON FILE                      ADDRESS ON FILE
LARGO, FL 33771




MCGUIRE, CASSIE                      MCGUIRE, GALE N.                     MCGUIRE, GALE N.
P.O. BOX 560                         116 BARRETT AVENUE                   ADDRESS ON FILE
STOCKTON, UT 84071                   EVANSTON, WY 82930




MCGUIRE, JOHN                        MCGUIRE, KELLY N.                    MCGUIRE, MOLLY L.
325 E. CLARK STREET                  ADDRESS ON FILE                      111 EAST ILLINOIS AVEUNE
SALEM, IL 62881-2804                                                      BENTON, IL 62812




MCGUIRE, TRACY D.                    MCGUIRK ANITA I                      MCGULLAM, ARTHUR
101 E PINE APT 5                     1078 MADOLA RD                       2410 ELIM AVE
RED BUD, IL 62278                    EPWORTH, GA 30540                    ZION, IL 60099




MCGURN, SHANNON                      MCGURN, SHANNON                      MCHAFFIE TONYA
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




MCHAFFIE, TONYA F.                   MCHAN, JACK                          MCHARGUE, LISA A.
ADDRESS ON FILE                      POB 163                              821 EAST TAYLOR
                                     BLUE RIDGE, GA 30513                 HERRIN, IL 62948




MCHC - CHICAGO HOSPITAL CORP         MCHC SERVICE CORP                    MCHC-CHICAGO HOSPITAL COUNCIL
29581 NETWORK PLACE                  29581 NETWORK PLACE                  29581 NETWORK PLACE
CHICAGO, IL 60673-1293               CHICAGO, IL 60673-1293               CHICAGO, IL 60673-1293
MCHEIL, MIKYLA             Case 20-10766-BLS  Doc
                                         MCHENRY,   6 Filed
                                                  PAMELA L. 04/07/20    Page 1155 of 1969
                                                                             MCHENRY, RICKY
120 COTTAGE HILL DR                       ADDRESS ON FILE                    138 AVIS AVE NW
OFALLON, IL 62269                                                            MASSILLON, OH 44646




MC-HMO-CIP                                MCHUGH, MARGARET A.                MCHUGH, MICHAELA A.
P.O. BOX 488                              620 S 67TH ST                      ADDRESS ON FILE
LINTHICUM, MD 72109-0488                  SPRINGFIELD, OR 97478




MCHUGHES, CAROL                           MCI COMM SERVICE                   MCI COMMUNICATIONS SERVICES INC
ADDRESS ON FILE                           P.O. BOX 15043                     1480 N BEAUREGARD ST
                                          ALBANY, NY 12212-5043              ALEXANDRIA, VA 22311




MCI COMMUNICATIONS SVCS INC               MCI COMMUNICATIONS SVCS INC        MCI COMMUNICATIONS SVCS INC
MCI                                       P.O. BOX 15043                     P.O. BOX 15043
P.O. BOX 15043                            ALBANY, NY 12212-5043              ALBANYN, NY 12212-5043
ALBANY, NY 12212-5043




MCI                                       MCINNES, JOSEPHINE A.              MCINTIRE, AMBER
P.O. BOX 15043                            216 REDWOOD ST SE                  713 ALABAMA AVENUE NW
ALBANY, NY 12212                          BEACH CITY, OH 44608               FORT PAYNE, AL 35967




MCINTOSH CARL                             MCINTOSH, ALICE J.                 MCINTOSH, CHARLENE N.
1186 HIGHLAND ROAD                        ADDRESS ON FILE                    ADDRESS ON FILE
JACKSON, KY 41339




MCINTOSH, JOHN C.                         MCINTOSH, KELLY W.                 MCINTOSH, LEAH L.
145 PARK RD LOT 18 P.O. BOX 538           ADDRESS ON FILE                    412 ESTES ROAD
JACKSON, KY 41339                                                            BEATTYVILLE, KY 41311




MCINTOSH, NOLALEE                         MCINTOSH, RITA A.                  MCINTOSH-YOUNG, ALEXANDRIA
3375 FISHCREEK LOOP                       ADDRESS ON FILE                    ADDRESS ON FILE
BOONEVILLE, KY 41314




MCINTYRE FRANCES                          MCINTYRE, ANITA                    MCINTYRE, DAN
58 CLUB HOUSE DR                          216 HIGH RIDGE VALLEY CT           77 PINEHILL DRIVE
STANSBURY PARK, UT 84074                  FOLEY, MO 63347                    JACKSON, KY 41339




MCINTYRE, LINDA                           MCINTYRE, MELONIE                  MCIVOR, ANDREW C.
1731 FIELDCREST DRIVE                     1527 SPRING HILL RD                ADDRESS ON FILE
SPARTA, IL 62286                          GREENVILLE, AL 36037-7554
MCIVOR, ANDREW           Case 20-10766-BLS
                                       MCKAMYDoc  6
                                              SMITH        Filed 04/07/20   Page 1156 of 1969
                                                                                 MCKAVITT, NICOLE
ADDRESS ON FILE                         5350 RIVER THAMES RD                      1217 N. CRAMER RD.
                                        JACKSON, MS 39211-4631                    ELMWOOD, IL 61529




MCKAY DEE HOSPITAL                      MCKAY LORI                                MCKAY, ANNETTE L.
ATTN: EDUCATION DEPT SHARON PERKINS     ADDRESS ON FILE                           41 WEST TUSCALOOSA AVE
4401 HARRISON BLVD                                                                GADSDEN, AL 35904
OGDEN, UT 84403




MCKAY, DEBRA                            MCKAY, JOHN                               MCKAY, LORI M.
814 FRANKLIN ST                         4109 OLD HICKORY LANE                     ADDRESS ON FILE
WAUKEGAN, IL 60085                      MILLSTADT, IL 62260-2225




MCKEAGUE, ELIZABETH A                   MCKEAL, SHANE A                           MCKEE MD, R. CRAIG
11735 LEAMINGTON                        15 PERIGEN LANE                           ADDRESS ON FILE
ALSIP, IL 60803                         PONTOON BEACH, IL 62040




MCKEE, EULA                             MCKEEGAN, NELLIE G.                       MCKEEHAN, ALLISON T
656 BARKLEY ST                          1265 FT DALE RD                           1251 COUNTY ROAD 606
GRANITE CITY, IL 62040                  GREENVILLE, AL 36037                      VALLEY HEAD, AL 35989-8260




MCKEEHAN, PATRICK                       MCKEEL, TONYA B.                          MCKEEVER, HANNAH M.
1012 SAINT LOUIS ST                     ADDRESS ON FILE                           4642 ARMANDALE AVE NW
EDWARDSVILLE, IL 62025-1304                                                       CANTON, OH 44718




MCKEEVER, KATHLEEN                      MCKELVY, KELLY                            MCKEMIE, THOMAS
1411 LIBERTY ST                         ADDRESS ON FILE                           474 KNOX HWY 26
ALTON, IL 62002                                                                   GALESBURG, IL 61401




MCKENDREE, CHRISTOPHER S.               MCKENDRICK LADONALEE                      MCKENDRICK, ALICE C
ADDRESS ON FILE                         ADDRESS ON FILE                           660 TERRITORIAL ST
                                                                                  HARRISBURG, OR 97446-0000




MCKENDRICK, LADONALEE                   MCKENNA, CHARLENE C.                      MCKENNA, JESSICA
ADDRESS ON FILE                         1236 HAMMONDS ROAD                        23 CHERRY TREE LANE
                                        FYFFE, AL 35971                           GLEN CARBON, IL 62034




MCKENNA, SUSAN                          MCKENNA, TAMMY                            MCKENNEY, EVELYN
7078 HWY 89 N                           19 CHARLES DR                             500 THOMAS ST
EVANSTON, WY 82930-9709                 CASEYVILLE, IL 62232                      EDWARDSVILLE, IL 62025
MCKENZ, WILL M C AUX    Case 20-10766-BLS   Doc
                                      MCKENZIE   6 PARTS
                                               AUTO  Filed 04/07/20     Page 1157 of 1969
                                                                             MCKENZIE CITY CLERK
1460 G STREET                          15385 HIGHLAND DR                      P.O. BOX 160
ATTN GIFT SHOP                         MCKENZIE, TN 38201                     MCKENZIE, TN 38201
SPRINGFIELD, OR 97477




MCKENZIE CLINIC CORP.                  MCKENZIE HEALTH & REHAB                MCKENZIE HEALTHCARE &
1573 MALLORY LANE, SUITE 100           175 HOSPITAL DRIVE                     REHABILITAITION CENTER, INC
BRENTWOOD, TN 37027                    MCKENZIE, TN 38201                     P.O. BOX 10
                                                                              PARSONS, TN 35363




MCKENZIE MEDICAL CENTER AND/OR         MCKENZIE MEDICAL LLC                   MCKENZIE MEDICAL STAFF
DORWIN MOORE, MD                       541 WILLAMETTE ST STE 106              1460 G STREET
205 HOSPITAL DRIVE                     EUGENE, OR 97401                       SPRINGFIELD, OR 97477
MCKENZIE, TN 38201




MCKENZIE PHYSICIAN SERVICES, LLC       MCKENZIE ROOFING                       MCKENZIE SURGERY CENTER
1209 ORANGE STREET                     1500 SOUTH A STREET                    940 COUNTRY CLUB RD
WILMINGTON, DE 19801                   SPRINGFIELD, OR 97477                  EUGENE, OR 97401




MCKENZIE SURGERY CENTER, L.P.          MCKENZIE TENNESSEE HOSPITAL            MCKENZIE WILLAMETTE HOSPITAL
1573 MALLORY LANE, SUITE 100           COMPANY, LLC                           ATTN: AUXILIARY
BRENTWOOD, TN 37027                    1209 ORANGE STREET                     1460 G STREET
                                       WILMINGTON, DE 19801                   SPRINGFIELD, OR 97477




MCKENZIE WILLAMETTE HOSPITAL           MCKENZIE WILLAMETTE MED CTR            MCKENZIE WILLAMETTE MED CTR
C/O LAURENCE E THORP, ATTORNEY AT      1460 G ST                              P.O. BOX 582
LAW                                    SPRINGFIELD, OR 97477-0000             WOODINVILLE, WA 95072
1011 HARLOW RD, STE 300
SPRINGFIELD, OR 97477



MCKENZIE WILLAMETTE MEDICAL CENTER     MCKENZIE WILLAMETTE MEDICAL CENTER     MCKENZIE, ANGELA D.
1460 G ST                              ATTN: AUXILIARY                        ADDRESS ON FILE
SPRINGFIELD, OR 97477                  1460 G STREET
                                       SPRINGFIELD, OR 97477




MCKENZIE, BREANNA                      MCKENZIE, CYNTHIA R.                   MCKENZIE, DONNA
ADDRESS ON FILE                        P.O BOX 183                            ADDRESS ON FILE
                                       STAFFORDSVILLE, KY 41256




MCKENZIE, LOWELL M JR                  MCKENZIE, MELINDA S.                   MCKENZIE, RHONDA L.
445 PALMER RD                          714 SLOAT CIRCLE                       P.O. BOX 524
VALLEY HEAD, AL 35989-4462             SALINAS, CA 93907                      WITTENSVILLE, KY 41274




MCKENZIE, SABRINA J.                   MCKENZIE, SARAH A.                     MCKENZIE-WILLAMETTE MEDICAL CENTER
P.O. BOX 1915                          ADDRESS ON FILE                        ENTITY 1706
INEZ, KY 41224                                                                1460 G STREET
                                                                              SPRINGFIELD, OR 97477
                      Case 20-10766-BLS
MCKENZIE-WILLAMETTE REGIONAL               Doc 6 FiledREGIONAL
                                    MCKENZIE-WILLAMETTE  04/07/20           Page 1158 of 1969
                                                                                 MCKESSON CORPORATION
MEDICAL CENTER ASSOCIATES, LLC      MEDICAL CENTER ASSOCIATES, LLC               P.O. BOX 409521
1209 ORANGE STREET                  1573 MALLORY LANE                            ATLANTA, GA 30384-9521
WILMINGTON, DE 19801                BRENTWOOD, TN 37027




MCKESSON CORPORATION                   MCKESSON HEALTH SOLUTIONS                 MCKESSON HEALTH SOLUTIONS
RELAYHEALTH                            22423 NETWORK PLACE                       P.O. BOX 634404
P.O. BOX 98347 - BANK OF AMERICA       CHICAGO, IL 60673-1224                    CINCINNATI, OH 45263-4404
CHICAGO, IL 60693-8347




MCKESSON INFORMATION SOLUTIONS         MCKESSON MEDICAL SURGICAL                 MCKESSON MEDICAL SURGICAL
P.O. BOX 98347                         9954 MAYLAND DR                           P.O. BOX 51020
CHICAGO, IL 60693-8347                 SUITE 400                                 LOS ANGELES, CA 90051-5320
                                       RICHMOND, VA 23233




MCKESSON MEDICAL SURGICAL              MCKESSON MEDICAL SURGICAL                 MCKESSON MEDICAL SURGICAL
P.O. BOX 634404                        P.O. BOX 634404                           P.O. BOX 660266
CINCINNATI, OH 45263                   CINCINNATI, OH 45263-4404                 DALLAS, TX 75266-0266




MCKESSON MEDICAL SURGICAL              MCKESSON MEDICAL-SURGICAL                 MCKESSON MEDICAL-SURGICAL, INC
P.O. BOX 933027                        MINNESOTA SUPPLY                          PO BOX 634404
ATLANTA, GA 31193-3027                 12755 HIGHWAY 55 R200                     CINCINNATI, OH 45263-4404
                                       PLYMOUTH, MN 55441




MCKESSON PHARMACY SYSTEMS LLC          MCKESSON PHYSICIAN SALES & SERVICE        MCKESSON SPECIALTY CARE
P.O. BOX 100884                        MCKESSON MEDICAL SURGICAL                 DISTRIBUTION JOINT VENTURE LP
ATLANTA, GA 30384-0884                 P.O. BOX 660266                           401 MASON RD
                                       DALLAS, TX 75266-0266                     LA VERGNE, TN 37086




MCKESSON SPECIALTY CARE DISTRIBUTION   MCKESSON TECHNOLOGIES                     MCKESSON/HBOC
15212 COLLECTIONS CENTER DRIVE         P.O. BOX 98347                            5995 WINDWARD PARKWAY
CHICAGO, IL 60693                      CHICAGO, IL 60693-8347                    ALPHARETTA, GA 30005




MCKETTRICK, CAROL                      MCKINLEY, MELISSA S.                      MCKINLEY, RONALD H
540 BRANDYWINE DR                      927 4TH STREET                            1614 CENTER DR
EVANS, GA 30809                        LAS VEGAS, NM 87701                       LYMAN, WY 82937-9023




MCKINNEY DEXTER                        MCKINNEY JR, ZEYLAND                      MCKINNEY, BENJAMIN
P.O. BOX 141                           23 VALLEY RIVER AVENUE                    ADDRESS ON FILE
DAWSON, AL 35963-0001                  MURPHY, NC 28906




MCKINNEY, CARRON                       MCKINNEY, CHELSEY J.                      MCKINNEY, DEBRA L.
4410 GODFREY AVE NE                    1209 PINE AVE                             P.O. BOX 215
FORT PAYNE, AL 35967                   JOHNSTON CITY, IL 62951                   LOUISVILLE, OH 44641
MCKINNEY, DORENE           Case 20-10766-BLS   Doc
                                         MCKINNEY,   6 Filed 04/07/20
                                                   DOUGLAS                Page 1159  of 1969
                                                                               MCKINNEY, ERICA G.
2005 MARCOLA RD 97                        ADDRESS ON FILE                       ADDRESS ON FILE
SPRINGFIELD, OR 97477




MCKINNEY, HAULING                         MCKINNEY, JERRY A.                    MCKINNEY, JORDAN
P O BOX 383                               7216 MAGNOLIA HILLS DRIVE             ADDRESS ON FILE
LOUISA, KY 41230                          NASHVILLE, TN 37221




MCKINNEY, KIMBERLY D.                     MCKINNEY, MELISSA J.                  MCKINNEY, RHONDA D.
ADDRESS ON FILE                           9337 STANLEY LANE P.O. BOX 11         1615 OLD APPLING HARLEM HWY
                                          MARION, IL 62959                      HARLEM, GA 30814




MCKINNEY, ROBERT D.                       MCKINNEY, SONYA L.                    MCKINNEY, TAMMY
P.O. BOX 215                              ADDRESS ON FILE                       108 PARK LANE 21
LOUISVILLE, OH 44641                                                            JONESBORO, IL 62952




MCKINNEY, TED                             MCKINNIS, LINDA                       MCKINNON DOUGLAS STEPHEN
7911 PIN OAK RD                           10841 EMERALD                         ADDRESS ON FILE
EDWARDSVILLE, IL 62025                    CHICAGO, IL 60628




MCKINSEY, DANIELLE                        MCKINSTER, VERNESSA A.                MCKINZIE PARLIER
727 1ST ST NE UPSTAIRS B                  303 SPENCER BRANCH RD                 125 W GOSSETT
MASSILLON, OH 44646                       LOUISA, KY 41230                      ROSEVILLE, IL 61473




MCKINZIE PARLIER                          MCKIVISON, THELMA M .                 MCKNABB, ELIZABETH
ADDRESS ON FILE                           481 W 4TH ST                          4440 185TH PLACE
                                          APT 104                               COUNTRY CLUB HILLS, IL 60478
                                          LOCK HAVEN, PA 17745




MCKNIGHT SALES COMPANY                    MCKNIGHT SALES COMPANY                MCKNIGHT, CANDACE
P.O. BOX 4138                             PO BOX 4138                           P.O. BOX 385
PITTSBURGH, PA 15202                      PITTSBURGH, PA 15202                  MARVELL, AR 72366




MCKNIGHT, COURTNEY L.                     MCKNIGHT, DAWN L.                     MCKNIGHT, ELLEN
ADDRESS ON FILE                           ADDRESS ON FILE                       ADDRESS ON FILE




MCKNIGHT, JOSEPHINE                       MCKNIGHT, LEAH A                      MCKNIGHT, MEGAN
1310 NORTH AVE APT 2                      2412 MARK AVE                         30 CR 395
WAUKEGAN, IL 60085-1946                   ZION, IL 60099                        WYNNE, AR 72396
MCKNIGHT, NANCY           Case 20-10766-BLS   Doc
                                        MCKNIGHT,   6 Filed 04/07/20
                                                  TAMMIE               Page 1160  of 1969
                                                                            MCKNIGHT, THAXTER
2744 E 3800 S                            951 HICKEY STREET                   2628 HYDE PARK AVE
ST GEORGE, UT 84790                      FORREST CITY, AR 72335              WAUKEGAN, IL 60085




MCK-WILL MEDICAL STAFF, INC              MCLACHLAN, MARY                     MCLAIN, DEEDRA G.
1460 G STREET                            ADDRESS ON FILE                     ADDRESS ON FILE
SPRINGFIELD, OR 97477




MCLAIN, MEREDITH                         MCLAIN, MICHELLE D.                 MCLAIN, SARAH
107 JONESBORO RD                         ADDRESS ON FILE                     260 MARINA CIRCLE
BIG SPRING, TX 79720                                                         CREAL SPRINGS, IL 62922




MCLAREN, DAKOTA                          MCLAUGHLIN JR, CARL                 MCLAUGHLIN M.D., ROANE H.
105 WALTON LN APT 4                      2146 US HWY 67                      ADDRESS ON FILE
ANNA, IL 62906                           MONMOUTH, IL 61462




MCLAUGHLIN, CURT                         MCLAUGHLIN, DEETTE D.               MCLAUGHLIN, DONALD
103 NORTH 60TH ST                        749 SUMMIT STREET                   55 REYNOLDS RD
BELLEVILLE, IL 62223                     EVANSTON, WY 82930                  TAMAQUA, PA 18252-0000




MCLAUGHLIN, KAYLA                        MCLAUGHLIN, ROY                     MCLAUGHLIN, SHERRY
137 COUNTY ROAD 49                       1102 DOUGLAS ST                     ADDRESS ON FILE
CEDAR BLUFF, AL 35959                    MT VERNON, IL 62864




MCLAWS, PATSI G.                         MCLEAN LEORA I                      MCLEAN, CHRISTIAN
2312 N 35TH                              31814 LAWRENCE ST                   1085 HOLIDAY DRIVE 121
SPRINGFIELD, OR 97477                    LEBANON, OR 97355                   FORREST CITY, AR 72335




MCLEAN, DAWN                             MCLEAN, JUDEE                       MCLEAN, STACEY R
3705 MAC LN                              1504 RIVA RIDGE DR                  308 ALEXANDER DR
WATERLOO, IL 62298-4655                  LIBERTYVILLE, IL 60048              EDWARDSVILLE, IL 62025




MCLEESE, SAMANTHA                        MCLEMORE, MELINDA E                 MCLENDON JAN
520 N MAGNOLIA ST                        2680 COUNTY RD 102                  260 LAKE COVE CIRCLE
ELMWOOD, IL 61529                        CEDAR BLUFF, AL 35959-3042          MORGANTON, GA 30560




MCLENDON, JACQULINE M.                   MCLEOD, GEOFFREY                    MCLEOD, JAN
612 BRITTANY COURT                       ADDRESS ON FILE                     805 S. WALNUT STREET
MONROE, GA 30655                                                             SESSER, IL 62884
MCMACKIN, WILMA         Case 20-10766-BLS    Doc
                                      MCMAHAN,     6 Filed 04/07/20
                                                ABBEY                 Page 1161 of 1969
                                                                           MCMAHAN, JONATHAN P.
2719 OLD LICK CREEK                   518 FRONT ST                          5910 RHINESTONE COURT SE
SALYERSVILLE, KY 41465-0000           GRAND TOWER, IL 62942                 SALEM, OR 97306




MCMAHANS NURSERY                     MCMAHON DEBRA                          MCMAHON TAYLOR, DIANNA L.
P.O. BOX 453                         33266 N GREENTREE                      ADDRESS ON FILE
15694 N. ANGLING LANE                GRAYSLAKE, IL 60030
MT. VERNON, IL 62864-0453




MCMAHON, AMANDA                      MCMAHON, DYLAN A.                      MCMAHON, JESSICA A.
1407 T STREET                        396 POPLAR DRIVE                       90 ASHWOOD LN
SPRINGFIELD, OR 97477                IDER, AL 35981                         VIENNA, IL 62995




MCMAHON, JULIETTE                    MCMAHON, MICHELE L.                    MCMANUS, CRYSTAL D
2315 BRENT DRIVE                     ADDRESS ON FILE                        1514 W TAYLOR ST
BIG SPRING, TX 79720                                                        CARBONDALE, IL 62901




MCMANUS, JERVIS                      MCMANUS, WAYNE                         MCMASTER CARR SUPPLY CO
P.O. BOX 1294                        36849 N EASTMOOR AVE                   P.O. BOX 7690
HAMLET, NC 28345                     LAKE VILLA, IL 60046                   CHICAGO, IL 60680




MCMASTER CARR SUPPLY CO              MCMASTER CARR SUPPLY                   MCMASTER, MAKENA
P.O. BOX 7690                        600 COUNTY LINE RD                     26 BATES CANYON RD
CHICAGO, IL 60680-7690               ELMHURST, IL 60126                     TOOELE, UT 84074-9533




MCMASTERS, TASHA L.                  MCMATH, COLYNN M.                      MCMEANS, CLAYTON
232 COUNTRY CLUB VIEW DR             ADDRESS ON FILE                        161 W PARMER ST
EDWARDSVILLE, IL 62025                                                      GREENVILLE, AL 36037-2924




MCMEANS, LARECO                      MCMEANS, NORLESHIA                     MCMICHEN, ALICE D.
21 GOLSON RD                         154 BLUEBIRD DR                        ADDRESS ON FILE
FT DEPOSIT, AL 36032                 GREENVILLE, AL 36037-6200




MCMICHEN, APRIL                      MCMICHEN, DIANE                        MCMICHEN, EASTON R
ADDRESS ON FILE                      P.O. BOX 680778                        13122 AL HIGHWAY 176
                                     FORT PAYNE, AL 35968                   FORT PAYNE, AL 35967-6782




MCMILLAN, DOUGLAS A.                 MCMILLAN, FRANK                        MCMILLAN, MARTIN
ADDRESS ON FILE                      P.O. BOX 41629                         1017 SADDLER
                                     AUSTIN, TX 78704-0028                  DEMING, NM 88030
MCMILLIAN, ARNOLD GAVENCase 20-10766-BLS    Doc
                                     MCMILLIN,    6 Filed 04/07/20
                                               LONNELLE              Page 1162 ofDANNY
                                                                          MCMINN, 1969FOR JAMES MCCREADY
455 COUNTY RD 535                    196 BROWN                            215 BEASLEY DR
GAYLESVILLE, AL 35973-4754           HUNTINGDON, TN 38344                 LEXINGTON, TN 38351




MCMINN, STEVEN FOR KALONI MCMINN     MCMULLAN, JASON                      MCMULLEN, ABIGAIL
143 PARKVIEWS CTS                    ADDRESS ON FILE                      ADDRESS ON FILE
LEXINGTON, TN 38351




MCMULLIN, TERESA L.                  MCMURRAY, AUTHER                     MCMURRAY, RYAN K.
ADDRESS ON FILE                      595 HOLLOWAY STREET                  ADDRESS ON FILE
                                     LEESBURG, AL 35983




MCMURRAY, RYAN                       MCMURRAY, VICTORIA A                 MCMURTRY, CECILE A.
ADDRESS ON FILE                      75 WALTON LANE APT D                 ADDRESS ON FILE
                                     ANNA, IL 62906




MCNABB, CHRISTINA B.                 MCNABB, MARY ANN                     MCNAIR, BOBBY
ADDRESS ON FILE                      174 UPPER BEAR PAW ROAD              734 SFC 413
                                     MURPHY, NC 28906-1701                WIDENER, AR 72394




MCNAIR, SHIRLEY D                    MCNALLY, JENNIFER R.                 MCNALLY, MARY FRANCES F.
65 W 30TH APT 3213                   2614 ANN DR.                         2548 DEWES LN
EUGENE, OR 97405-0000                BIG SPRING, TX 79720                 NAPERVILLE, IL 60564




MCNALLY, RYNE                        MCNAMARA CAB CO.                     MCNAMARA MARYANN
109 S. FLY AVE                       P.O. BOX 399                         19559 S MAYFIELD PLACE
GOREVILLE, IL 62939                  PALOS HEIGHTS, IL 60463              TINLEY PARK, IL 60487




MCNARY, KATHY                        MCNASH, CHARLES                      MCNEAL, BRIDGETTE K.
287 BROWNS VLY RD                    433 CHESTNUT RIDGE                   811 W PALM DR
CORRALITOS, CA 95076                 BLUE RIDGE, GA 30513-5607            GLENWOOD, IL 60425




MCNEAL, KIMBERLY                     MCNEALY, MEAGAN M.                   MCNEAR, DINAH L.
817 W 129TH PL                       ADDRESS ON FILE                      2906 GILBERT LN
CHICAGO, IL 60643-6601                                                    ALTON, IL 62002




MCNEELEY, GARY                       MCNEELY WILLIAM H                    MCNEELY, PEGGY S.
100 N GRAPEVINE RD                   307 S MAIN ST                        500 STOCKDALE LN
APT 8R                               AVON, IL 61415                       ABINGDON, IL 61410
MESQUITE, NV 89027-5113
MCNEELY, WILLIAM H       Case 20-10766-BLS
                                       MCNEIL,Doc  6 Filed
                                              BRITTANY N.  04/07/20   Page 1163
                                                                           MCNEIL,of 1969
                                                                                   DANYELLE
307 S MAIN ST                           ADDRESS ON FILE                     109 COTTAGE DR
AVON, IL 61415                                                              COLLINSVILLE, IL 62234




MCNEIL, SIEDAH D.                       MCNEILL, CHAD                       MCNEILL, TAFFEE R.
8353 S RHODES APT 1                     4883 FRIENDSHIP EATON RD            4883 FRIENDSHIP- EATON RD.
CHICAGO, IL 60619                       FRIENDSHIP, TN 38034                FRIENDSHIP, TN 38034




MCNEISH, DORIS                          MCNELLY, DEREK                      MCNELLY, KATE M.
209 WARSON LANE                         116 YOUNG AVE                       ADDRESS ON FILE
GRANITE CITY, IL 62040                  ANNA, IL 62906




MCNICHOLS, MARY J.                      MCNICHOLS, MARY                     MCNIECE BRIAN
ADDRESS ON FILE                         ADDRESS ON FILE                     2120 W PACIFIC AVE
                                                                            WAUKEGAN, IL 60085




MCNIECE, KENNETH B.                     MCNIECE, MARY                       MCNIEL, BETTYLOU
4035 HARPER AVE                         ADDRESS ON FILE                     2160 STATE ROUTE 156
GURNEE, IL 60031                                                            WATERLOO, IL 62298




MCNIEL, LORI A.                         MCNULTY, BRIDGET M.                 MCNUTT, HEATHER
17609 RIVER RUN ROAD                    1229 CLINTON AVE SE                 409 BAYBERRY LAKES BLVD
SALINAS, CA 93908                       NORTH CANTON, OH 44720-3713         DAYTONA BEACH, FL 32124




MCPEAK, CECILE                          MCPEAK, JAMA J.                     MCPEAKE, AMANDA
924 WHEATRIDGE DR                       ADDRESS ON FILE                     ADDRESS ON FILE
TROY, IL 62294




MCPHAIL, RACHEL                         MCPHEETERS, MONICA R.               MCPHERSON, ASHLEY B.
1939 DEASON ROAD                        ADDRESS ON FILE                     ADDRESS ON FILE
WEST FRANKFORT, IL 62896




MCPHERSON, BRITTANNI                    MCPHERSON, GERALDINE                MCPHERSON, JACY L
8600 PEGASUS DR                         1271 COUNTY RD 79                   2791 COUNTY RD 89
LEHIGH ACRES, FL 33971                  FT DEPOSIT, AL 36032                FORT PAYNE, AL 35967-6147




MCPHERSON, MICHAEL                      MCPHIE, GWEN                        MCPHIE, LESLIE
P.O. BOX 982                            294 S BROADWAY                      233 N 690 E
COLLINSVILLE, AL 35961-0982             TOOELE, UT 84074                    TOOELE, UT 84074
MCPHIE, ROBERT A       Case 20-10766-BLS    Doc
                                     MCPIPKIN,   6 Filed 04/07/20
                                               ARRYANE                     Page 1164 of 1969
                                                                                MCQUADE CYNTHIA M
184 SOUTH 2ND EAST                    1536 MADDOX LN                            1033 ANDRA DRIVE
TOOELE, UT 84074                      MONROE, GA 30656-2715                     MARYVILLE, IL 62062




MCQUEEN, KAITLYN J.                   MCQUIGGAN, JANETTE                        MCQUILLER, VERNELLE
101 BUCKHAVEN WAY                     71 LAKE DRIVE                             12417 S BISHOP
LEXINGTON, SC 29072                   TROY, IL 62294-1736                       CALUMET PARK, IL 60827




MCQUISTON, STEVEN                     MCQUISTON, STEVEN                         MCR HMO AETNA
409 WINCHESTER DR.                    ADDRESS ON FILE                           P.O. BOX 981106
FRANKLIN, TN 37069                                                              EL PASO, TX 79998-1106




MCR HMO HUMANA                        MCR HMO UNITED HC                         MCR MUTUAL OF OMAHA
P.O. BOX 14601                        P.O. BOX 30995                            P.O. BOX 1602
LEXINGTON, KY 40512-4601              SALT LAKE CITY, UT 84130-0995             OMAHA, NE 61875




MCR TECHNOLOGIES, INC                 MCRAE, PATTI J.                           MCRAVEN ELENA J
285 NEWBURYPORT TURNPIKE              ADDRESS ON FILE                           320 NORTH B ST
ROWLEY, MA 01969                                                                MONMOUTH, IL 61462




MCREYNOLDS, BEVERLY M.                MCROBERTS SECURITY TECH INC               MCROBERTS SECURITY TECHNOLOGIES
2961 SINKING CREEK HWY                409 JOYCE KILMER AVENUE, SUITE 307        409 JOYCE KILMER AVE
DUNGANNON, VA 24245                   NEW BRUNSWICK, NJ 08901-3363              SUITE 307
                                                                                NEW BRUNSWICK, NJ 08901




MCROBERTS SECURITY TECHNOLOGIES       MCROBERTS SECURITY TECHNOLOGIES           MCROY, BRIANNA
409 JOYCE KILMER AVE                  46 THROCHMORTON ST                        ADDRESS ON FILE
SUITE 307                             FREEHOLD, NJ 07728
NEW BRUNSWICK, NJ 08901-3363




MCS2 LLC                              MCSHAN, LAKOYIA                           MCSHANE, DENOTRA
DBA BLUE ORANGE COMPLIANCE            921 REDWOOD DR                            ADDRESS ON FILE
2500 FARMERS DRIVE, SUITE 200         FORREST CITY, AR 72335
COLUMBUS, OH 43235




MCSHERRY, SHARON P.                   MCSPADDEN, HALEY B.                       MCSURDY, MICHAEL J.
ADDRESS ON FILE                       ADDRESS ON FILE                           1704 SPRUCEDALE DRIVE
                                                                                ANTIOCH, TN 37013




MCTV                                  MCVAY DARLA M                             MCVAY, BRYAN M.
814 CABLE CT NW                       ADDRESS ON FILE                           ADDRESS ON FILE
MASSILLON, OH 44647
MCVEY SEMINARS          Case 20-10766-BLS    Doc 6 ROBERT
                                      MCVEY WESLEY,  Filed 04/07/20   Page 1165
                                                                           MCVEY,of 1969
                                                                                  CECILIA
1333 BERRYDALE DRIVE                  192 HWY KK                           1715 N KELLOGG
PETALUMA, CA 94954-0000               TROY, MO 63379                       GALESBURG, IL 61401




MCVEY, STACEY L.                     MCW ELECTRIC                          MCWATTERS, JILL
ADDRESS ON FILE                      2115 PINE LAKE RD                     862 JNAICA GAP
                                     HIAWASSEE, GA 30546                   MORGANTON, GA 30560




MCWETHY, MEGAN W.                    MCWILLIAMS, FIE B.                    MCWILLIAMS, GILES J.
1030 6TH ST                          ADDRESS ON FILE                       6605 HIAWATHA DRIVE
LAS VEGAS, NM 87701                                                        FORT PAYNE, AL 35967-8342




MCWILLIAMS, KIMBERLY L.              MCWILLIAMS, SHARON L.                 MCWILLIAMS, VIKKI L.
3060 BAYER CIRCLE NW                 ADDRESS ON FILE                       1061 ROOSEVELT ST NE
MASSILLON, OH 44646                                                        MASSILLON, OH 44646




MD ENDOSCOPY INC.                    MD GUPTA, NAREN                       MD HASAN
810 FENTRESS CT STE 110              4 FISHER AVENUE                       4005 SMITH LN
DAYTONA BEACH, FL 32117              BROOKLINE, MA 02445                   PINE BLUFF, AR 71603




MD ORTHOTIC AND PROSTHETIC LAB       MD PATEL, M NANDLAL                   MD SAVE
8400 BROOKFIELD AVE 1ST FLOOR        INTERNAL MEDICINE CLINIC              100 WINNERS CIRCLE N STE 202
BROOKFIELD, IL 60513                 1510 SCURRY ST - STE D                STE 202
                                     BIG SPRING, TX 79720                  BRENTWOOD, TN 37027




MD SAVE                              MD SAVE                               MD SAVE
100 WINNERS CIRCLE N                 100 WINNERS CIRCLE N                  100 WINNERS CIRCLE N, STE 202
STE 202                              SUITE 202                             STE 202
BRENTWOOD, TN 37027                  BRENTWOOD, TN 37027                   BRENTWOOD, TN 37027




MD TAH, NEAL                         MDREFERRALPRO LLC                     MD-REPORTS
227 HAWKS NEST WAY                   P.O. BOX 201                          1110 SOUTH AVE, SUITE 303
FORT COLLINS, CO 80524-0000          DAPHNE, AL 36526                      STATEN ISLAND, NY 10314




MDSAVE                               MDSAVE                                MDSAVE, INC.
100 WINNERS CIRCLE N: STE 202        100 WINNERS CIRCLE N: STE 202         100 WINNERS CIR N
BRENTWOOD, TN 37027                  STE 202                               BRENTWOOD, TN 37027
                                     BRENTWOOD, TN 37027




MDSAVE, INC.                         MEAD JOHNSON & COMPANY                MEAD JOHNSON NUTRITION
100 WINNERS CIR N                    15919 COLLECTION CENTER DRIVE         15919 COLLECTION CENTER DRIVE
STE 202                              CHICAGO, IL 60693                     CHICAGO, IL 60693
BRENTWOOD, TN 37027
MEAD, ANGELA M.         Case 20-10766-BLS    Doc 6
                                      MEAD, JANICE        Filed 04/07/20   Page 1166  of 1969
                                                                                MEAD, MELVIN F
1324 N SHERIDAN RD                     27562 BIG PINE RD                        2525 31ST ST
WAUKEGAN, IL 60085                     LOGAN, OH 43138-8324                     SPRINGFIELD, OR 97477-7915




MEAD, MISTY M.                         MEAD, NICOLE K.                          MEAD, SARAH
ADDRESS ON FILE                        ADDRESS ON FILE                          2295 BODY BARN ROAD
                                                                                ANNA, IL 62906-4200




MEADE P HORN & PATRICIA HORN JT TEN    MEADE, APRIL                             MEADE, CASEY
611 TEMPLE AVE                         4804 JENNIES CREEK ROAD                  613 BIG BRANCH RD
EMPORIA, VA 23847-2254                 KERMIT, WV 25674                         LOVELY, KY 41231




MEADE, GARY M.                         MEADE, RACHEL A.                         MEADERS, ZACHARY A.
ADDRESS ON FILE                        260 BLACKBERRY HOLLOW ROAD               ADDRESS ON FILE
                                       LOUISA, KY 41230




MEADOR, ANDREW G.                      MEADOR, ANDREW J.                        MEADOR, COLTEN
337 WOODLAND DR                        1611 GRAND AVE SW                        16882 E KNOX RD
SALEM, IL 62881                        FORT PAYNE, AL 35967                     MOUNT VERNON, IL 62864




MEADORS, TYRA J.                       MEADOW GOLD DAIRY                        MEADOWS DANIEL T
1910 SETTLERS BND S                    P.O. BOX 710959                          3966 COUNTY RD 140
LAS CRUCES, NM 88012                   DENVER, CO 80271-0959                    IDER, AL 35981




MEADOWS, ABBIE                         MEADOWS, CARRIE                          MEADOWS, DELLA D.
104 RACHEL RD                          ADDRESS ON FILE                          ADDRESS ON FILE
PALATKA, FL 32177




MEADOWS, LAUREN                        MEADOWS, LINNEA L.                       MEADOWS, MARY E.
2214 PAPAS PLACE                       ADDRESS ON FILE                          704 LOOKOUT TERRACE E
GREENVILLE, NC 27834                                                            FORT PAYNE, AL 35967




MEADOWS, RUBY N.                       MEAGAN, KEFFER                           MEAGHER KRISTINE E
450 OAK DR NE                          279 PHILLIPS RD 623                      P.O. BOX 625
SOCIAL CIRCLE, GA 30025-6904           MARVELL, AR 72366                        MORGANTON, GA 30560




MEANEY, BRIDGET E.                     MEANS, BRENDA F.                         MEANS, ROY
312 BUCKINGHAM DR.                     ADDRESS ON FILE                          P.O. BOX 215
GRAYSLAKE, IL 60030                                                             BELMONT, MS 38827
MEANS, SUSAN M.         Case 20-10766-BLS
                                      MEARS, Doc
                                             ELENA6        Filed 04/07/20   Page 1167
                                                                                 MEARS,of 1969
                                                                                        LANA
ADDRESS ON FILE                        3580 WASHINGTON BLVD                      ADDRESS ON FILE
                                       UNIVERSITY HEIGHTS, OH 44118




MEATTE, SHERRI L.                      MEATTE, SHERRI L.                         MEBANE, ANGELA MD, ANGELA
ADDRESS ON FILE                        353 BARRY ST E                            ADDRESS ON FILE
                                       WYNNE, AR 72396




MEBANE, ANGELA B.                      MEBANE, ZOE                               MECHAIK, FATMEH
718 WHITE HORSE DRIVE                  110 SPRUCE ST N                           3513 JOHNSON RDD
GREENVILLE, NC 27834                   BRUCETON, TN 38317                        GRANITE CITY, IL 62040




MECHAM, BARD R.                        MECHAM, CHAD L.                           MECHAM, FAITH K.
ADDRESS ON FILE                        ADDRESS ON FILE                           1505 COUNTY RD. 217
                                                                                 FORT BRIDGER, WY 82933




MECHAM, GRACIE O.                      MECHANICAL SERVICE & SYSTEMS              MECHANICAL SERVICE COMPANY
ADDRESS ON FILE                        1055 SO 700 WEST                          5440 NORTHSHORE DRIVE
                                       SALT LAKE CITY, UT 84104                  NORTH LITTLE ROCK, AR 72118




MECHANICAL SERVICES                    MECHANICAL, INC.                          MECHANICAL, INC.
1144 MONMOUTH BLVD                     P.O. BOX 690                              PO BOX 690
GALESBURG, IL 61402                    2279 YELLOW CREEK ROAD                    2279 YELLOW CREEK ROAD
                                       FREEPORT, IL 61032                        FREEPORT, IL 61032




MECHANTEK CORPORATION                  MECHELE DEFFINBAUGH-BIEHL                 MECHELLE, ALLEN BERNICE
2445 GATEWAY DR. SUITE 140             ADDRESS ON FILE                           10045 COUNTY RD 121
IRVING, TX 75063                                                                 VALLEY HEAD, AL 35989-3321




MECSTAT LABORATORIES                   MECUM, DAVID R                            MECUM, JEANETTE
1700 SOUTH MOUNT PROSPECT ROAD         ADDRESS ON FILE                           ADDRESS ON FILE
DES PLAINES, IL 60018




MECURY INS                             MED ALLIANCE GROUP INC                    MED ALLIANCE GROUP
1104 N JEFFERSON ST                    2175 OAKLAND DR                           2175 OAKLAND DR
DUBLIN, GA 31021                       SYCAMORE, IL 60178-3167                   SYCAMORE, IL 60178




MED ALLIANCE SOLUTIONS, LLC            MED CENTER DISPLAY LLC                    MED IMAGE EQUIPMENT SOLUTIONS
2175 OAKLAND DRIVE                     11408 OTTER CREEK SOUTH RD                354 W MAPLE ST
SYCAMORE, IL 60178-3167                MABELVALE, AR 72103                       1041
                                                                                 NEW LENOX, IL 60451
                      Case 20-10766-BLS
MED LAB INSTRUMENT SERVICE          MED ONE Doc   6 FUNDING
                                              CAPITAL Filed 04/07/20
                                                             - ALABAMA LPPage 1168
                                                                              MED ONEofCAPITAL
                                                                                        1969 FUNDING - ILLINOIS LP
706 HILLCREST ROAD                  10712 S 1300 E                            10712 S 1300 E
MILAN, IL 61264                     SANDY, UT 84094                           SANDY, UT 84094




MED ONE CAPITAL FUNDING - TEXAS LP      MED ONE CAPITAL FUNDING LLC             MED ONE CAPITAL FUNDING LLC
10712 S 1300 E                          10712 S 1300 E                          LB 271128
SANDY, UT 84094                         SANDY, UT 84094                         P.O. BOX 35145
                                                                                SEATTLE, WA 98124-5145




MED ONE CAPITAL FUNDING LLC             MED PARTNERS HIM, LLC                   MED PAT INC
P.O. BOX 271128                         P.O. BOX 744869                         31 RIORDAN PLACE
SALT LAKE CITY, UT 84127-0000           ATLANTA, GA 30374-0490                  SHREWSBURY, NJ 07702




MED PLAN RECRUITING INC                 MED RESOURCES INC                       MED TECH BIOMEDICAL
P.O. BOX 530216                         14805 N OUTER 40 RD                     384 LAKEVIEW CREST DR
BIRMINGHAM, AL 35253-0216               SUITE 100                               PELL CITY, AL 35128-0000
                                        CHESTERFIELD, MO 63017




MED TECH BIOMEDICAL                     MEDACTA USA INC                         MEDADVANTAGE BC MEDICARE
575 TENBURY LN                          6640 CAROTHERS PARKWAY                  P.O. BOX 30805
CROPWELL, AL 35054                      SUITE 420                               SALT LAKE CITY, UT 84130-0805
                                        FRANKLIN, TN 37067




MEDADVANTAGE BX MC REPL                 MEDARTIS, INC                           MEDARTIS, INC
P.O. BOX 1106                           224 VALLEY CREEK BLVD, SUITE 100        224 VALLEY CREEK BOULEVARD STE 100
LEWISTON, ID 83501                      EXTON, PA 19341                         EXTON, PA 19341




MEDASSETS                               MEDBEN                                  MED-CAL INSTRMT SERVICES LLC
P.O. BOX 742081                         1975 TAMARACK RD                        PRECISE PIPETTE CALIBRATIONS
ATLANTA, GA 30374-2081                  NEWARK, OH 43055                        16024 MANCHESTER RD, STE 200
                                                                                ELLISVILLE, MO 63021




MEDCIAL PHYSICS GROUP, THE LTD, THE     MEDCO MANUFACTURING LLC                 MEDCOM GROUP, THE LTD, THE
P.O. BOX 410493                         8319 THORA A1                           UNIT Q
ST. LOUIS, MO 63141                     SPRING, TX 77379                        541 E GARDEN DR
                                                                                WINDSOR, CO 80550




MEDCOMP                                 MED-DATA INCORPORATED                   MEDDINGS, MARVIN
1499 DELP DRIVE                         P.O. BOX 639190                         5085 RIGHT FORK MILL CREEK RD
HARLEYSVILLE, PA 19438                  CINCINNATI, OH 45263-9190               GENOA, WV 25517




MED-DYNE, INC                           MEDELA INC                              MEDELA LLC
2775 SOUTH FLOYD STREET                 38789 EAGLE WAY                         38789 EAGLE WAY
LOUISVILLE, KY 40209                    CHICAGO, IL 60678-1387                  CHICAGO, IL 60678
MEDEMA, ROBERT T.        Case 20-10766-BLS  Doc
                                       MEDEMA,    6 T.Filed 04/07/20
                                               ROBERT                      Page 1169 of 1969
                                                                                MEDENT
ADDRESS ON FILE                         ADDRESS ON FILE                         P.O. BOX 980
                                                                                AUBURN, NY 13021




MEDEROS, TEDOLO                         MEDEX WASTE INC                         MEDGRADE LLC
1895 SLADE FARM RD                      P.O. BOX 968                            P.O. BOX 24139
WILLIAMSTON, NC 27892                   OSCEOLA, AR 72370                       MINNEAPOLIS, MN 55424




MEDHAT ELSHERBINI, MD                   MEDHOST DIRECT INC                      MEDHOST OF TENNESSEE INC
ADDRESS ON FILE                         2739 MOMENTUM PL                        2739 MOMENTUM PL
                                        CHICAGO, IL 60689-5327                  CHICAGO, IL 60689-5327




MEDHOST OF TENNESSEE INC                MEDHURST, RHONDA                        MEDI BADGE
PRESIDENT & CFO                         ADDRESS ON FILE                         P O BOX 12307
6550 CAROTHERS PARKWAY                                                          OMAHA, NE 68112-0307
SUITE 100
FRANKLIN, TN 37067



MEDI BADGE                              MEDI CAL                                MEDI DOSE INC
P.O. BOX 12456                          P.O. BOX 15600                          CUSTOMER 11 - 0014034
OMAHA, NE 68112-0307                    SACRAMENTO, CA 95851-1600               LOCK BOX 238
                                                                                JAMISON, PA 18929-0238




MEDI/NUCLEAR, INC                       MEDIACOM                                MEDIANO I, SANDRA
4610 LITTLEJOHN ST                      90 MAIN STREET                          ADDRESS ON FILE
BALDWIN PARK, CA 91706                  BENTON, KY 42025-1132




MEDIANT COMMUNICATIONS INC              MEDIATION OFFICES OF LISA KRAKOW INC    MEDIBADGE INC
P.O. BOX 29976                          609 N LAUREL AVE                        P.O. BOX 12456
NEW YORK, NY 10087-9976                 LOS ANGELES, CA 90048                   OMAHA, NE 68112




MEDIBADGE INC/KIDS LOVE STICKE          MEDIBADGE INC/KIDS LOVE STICKE          MEDIBADGE, INC
P.O. BOX 12307                          P.O. BOX 12307                          3779 DAYTON XENIA RD
OMAHA, NE 68112                         OMAHA, NE 68112-0307                    BEAVERCREEK, OH 45432




MEDIBADGE, INC                          MEDIBAG COMPANY, INC.                   MEDICA
P.O. BOX 12307                          P.O. BOX 1031                           ATTN: RECOVERY SERVICES
OMAHA, NE 68112-0307                    WRIGHTSVILLE BEACH, NC 28480            P.O. BOX 101760
                                                                                ATLANTA, GA 30392




MEDICA                                  MEDICAID - IL                           MEDICAID ADJUSTMENT UNIT
P.O. BOX 101760                         P.O. BOX 19105                          P.O. BOX 19101
ATLANTA, GA 30392                       SPRINGFIELD, IL 62794-9105              SPRINGFIELD, IL 62794
MEDICAID ADJUSTMENT UNIT Case 20-10766-BLS    Doc
                                       MEDICAID     6 Filed 04/07/20
                                                 ALABAMA                Page 1170  of BUCKEYE
                                                                             MEDICAID 1969
P.O. BOX 19101                         P.O. BOX 244032                       P.O. BOX 6200
SPRINGFIELD, IL 62794-9105             MONTGOMERY, AL 36124-4032             FARMINGTON, MO 63640




MEDICAID CARESOURCE                   MEDICAID CONSULTEC                     MEDICAID GA / DCH
P.O. BOX 8730                         P.O. BOX 26500                         P.O. BOX 105201
DAYTON, OH 45401                      ALBUQUERQUE, NM 87125-6500             TUCKER, GA 30085




MEDICAID GEORGIA DEPT OF COMMUNITY    MEDICAID IL                            MEDICAID MC
HEALTH                                REFUNDS ADJUSTMENT UNIT                P.O. BOX 300010
PROGRAM INTEGRITY UNIT - OIG          P.O. BOX 19101                         RALEIGH, NC 27622
2 PEACHTREE ST NW - 5TH FLR           SPRINGFIELD, IL 62794
ATLANTA, GA 30303



MEDICAID NEVADA FIRST HLT             MEDICAID NEVADA                        MEDICAID NEVADA
P.O. BOX 30042                        P.O. BOX 30042                         P.O. BOX 30042
ATTN FINANCE                          RENO, NV 89520                         RENO, NV 89520-3042
RENO, NV 89520-3042




MEDICAID NEW MEXICO                   MEDICAID NEW MEXICO/XEROX STATE        MEDICAID OF ILLINOIS
ATTN: FINANCE DEPARTMENT              HEALTHCARE                             P.O. BOX 19101
P O BOX 26500                         P O BOX 27561                          SPRINGFIELD, IL 62794-9101
ALBUQUERQUE, NM 87125-6500            ALBUQUERQUE, NM 87125




MEDICAID OF NEVADA                    MEDICAID OF OHIO                       MEDICAID OF OHIO
P.O. BOX 847743                       P.O. BOX 145482                        P.O. BOX 2645
DALLAS, TX 75284-4444                 CINCINNATI, OH 45250                   COLUMBUS, OH 43216




MEDICAID OF TENNESSEE                 MEDICAID OF TENNESSEE                  MEDICAID OF TN
P.O. BOX 470                          POB 460                                POB 460
NASHVILLE, TN 37202-0460              NASHVILLE, TN 37202-0460               NASHVILLE, TN 37202




MEDICAID OF WYOMING                   MEDICAID OF WYOMING                    MEDICAID OF WYOMING
P.O. BOX 547                          P.O. BOX 667                           P.O. BOX 667
CHEYENNE, WY 82003-0547               CHEYENNE, WY 82003                     CHEYENNE, WY 82003-0547




MEDICAID OREGON                       MEDICAID OREGON                        MEDICAID OUT OF STATE
P O BOX 14955                         P O BOX 14956                          P O BOX 43230
SALEM, OR 97309                       SALEM, OR 97309                        PHOENIX, AZ 85080-3230




MEDICAID QMB                          MEDICAID SANDHILLS                     MEDICAID SC
P.O. BOX 14956                        1120 SEVEN LAKES DR                    P.O. BOX 1458
SALEM, OR 97309                       WEST END, NC 27376                     COLUMBIA, SC 29202
                       Case
MEDICAID TN BUREAU OF TN CARE 20-10766-BLS    Doc
                                       MEDICAID  TN 6   Filed 04/07/20    Page 1171  of TRADITIONAL
                                                                               MEDICAID 1969
POB 480                                P.O. BOX 460                             RE:OVERPAYMENTS
NASHVILLE, TN 37202                    NASHVILLE, TN 37202                      P.O. BOX 200555
                                                                                AUSTIN, TX 78720




MEDICAID WASHINGTON                    MEDICAID WISCONSIN                       MEDICAID
P.O. BOX 45535                         313 BLETTNER BOULEVA                     515 E 100 S
OLYPMIA, WA 98504                      MADISON, WI 53784                        P.O. BOX 45025
                                                                                SALT LAKE CITY, UT 84145-0025




MEDICAID                               MEDICAID                                 MEDICAID
P.O. BOX 143106                        P.O. BOX 200645                          P.O. BOX 667
SALT LAKE CITY, UT 84114               AUSTIN, TX 78720-0645                    CHEYENNE, WY 32003




MEDICAID                               MEDICAID                                 MEDICAID/EDS
P.O. BOX 7601                          REFUND DEPARTMENT                        P O BOX 8034
MONTGOMERY, AL 36107-7601              P.O. BOX 31426                           LITTLE ROCK, AR 72203
                                       TAMPA, FL 33631-3426




MEDICAID-AL HEWLETT PACKARD            MEDICAID-HFS                             MEDICAL ARTS PRESS CORP
P.O. BOX 241684                        HFS ADJUSTMENT UNIT                      P.O. BOX 37647
MONTGOMERY, AL 36124                   P.O. BOX 19101                           PHILADELPHIA, PA 19101-0647
                                       SPRINGFIELD, IL 62794




MEDICAL ASSISTANCE DIVISION            MEDICAL ASSOC STATE OF ALABAMA           MEDICAL BILLING ASSOCIATES INC
ATTN JOLENE MONDRAGON                  DEPARTMENT 3256                          P.O. BOX 1612
1 PLAZA LA PRENZA                      P.O. BOX 2153                            SEDALIA, MO 65302-1612
SANTA FE, NM 87507                     BIRMINGHAM, AL 35282




MEDICAL BOARD OF CALIFORNIA            MEDICAL BUSINESS OFFICE, INC.            MEDICAL BUSINESS OFFICE, INC.
2005 EVERGREEN STREET, SUITE 1200      1001 C SOUTHWEST BLVD                    1001 C. SOUTHWEST BLVD.
SACRAMENTO, CA 95815-3831              JEFFERSON CITY, MO 65109                 JEFFERSON CITY, MO 65109




MEDICAL CENTER LABORATORY              MEDICAL CHEMICAL CORP                    MEDICAL DATA SYSTEMS INC
P.O. BOX 3099                          P.O. BOX 6217                            2001 9TH AVE
JACKSON, TN 38303-3099                 TORRANCE, CA 90504                       STE 312
                                                                                VERO BEACH, FL 32960




MEDICAL DELIVERY SERVICE               MEDICAL DISTRIBUTION GROUP, INC          MEDICAL DIVISION
P.O. BOX 1274                          6771 WHITFIELD INDUSTRIAL AVENUE         P.O. BOX 75767
GADSDEN, AL 35902                      SUITE A                                  CHARLOTTE, NC 28275
                                       SARASOTA, FL 34243




MEDICAL DOCTOR ASSOCIATES              MEDICAL DYNAMICS INC                     MEDICAL EQUIPMENT SERVICES INC
P.O. BOX 277185                        5720 LONETREE BLVD                       1203 HOLLY HILL DR
ATLANTA, GA 30384-7185                 CITY ROCLIN, CA 95765                    FRANKLIN, TN 37064
MEDICAL GAS MONITORINGCase 20-10766-BLS
                                    MEDICALDoc
                                            GAS 6    Filed 04/07/20
                                                SPECIALISTS INC           Page 1172  ofGAS
                                                                               MEDICAL  1969
                                                                                           TESTING SERVICES
17960 HIGHLAND AVE                  482 MARTINIQUE TRACE                        279 FLORENCEWOOD DR
HOMEWOOD, IL 60430                  CANTON, GA 30015                            COLLIERVILLE, TN 38017




MEDICAL GRAPHICS CORP                MEDICAL GRAPHICS CORP                      MEDICAL GRAPHICS CORPORATION
MGC DIAGNOSTICS.COM                  MGC DIAGNOSTICS.COM                        BIN 11
BIN 11 P.O. BOX 9201                 BIN 11 P.O. BOX 9201                       P.O. BOX 9201
MINNEAPOLIS, MN 55480-9201           MINNEAPOLIS, MN 55480-9231                 MINNEAPOLIS, MN 55480-9201




MEDICAL GRAPHICS CORPORATION         MEDICAL IMAGING CONSULTANTS INC            MEDICAL IMAGING SOLUTION USA LLC
BIN11                                1037 US HWY 46, STE G 2                    229 ARNOLD MILL RD STE 100
P.O. BOX 9201                        ATTN: ACCOUNTS PAYABLE                     WOODSTOCK, GA 30188
MINNEAPOLIS, MN 55480-9021           CLIFTON, NJ 07013




MEDICAL IMAGING SYSTEMS, INC         MEDICAL LETTER                             MEDICAL LICENSURE COMMISSION
2900 6TH AVENUE SOUTH                145 HUGUENOT STREET                        P O BOX 887
BIRMINGHAM, AL 35233                 STE 312                                    MONTGOMERY, AL 36101-0887
                                     NEW ROCHELLE, NY 10801




MEDICAL MONOFILAMENT MANUF, LLC      MEDICAL MUTUAL OF OHIO                     MEDICAL MUTUAL
116 LONG POND ROAD                   P.O. BOX 6018                              2060 E 9TH ST
PLYMOUTH, MA 02360                   CLEVELAND, OH 44101                        CLEVELAND, OH 44101




MEDICAL MUTUAL                       MEDICAL MUTUAL                             MEDICAL MUTUAL
P.O. BOX 94917                       P.O. BOX 951244                            P.O. BOX 951244
REFUND DEPT                          ATTN: DIANE                                CLEVELAND, OH 44193
CLEVELAND, OH 44101-4917             CLEVELAND, OH 44193




MEDICAL NUTRITION USA INC            MEDICAL OUTSOURCING SOLUTIONS              MEDICAL PACKAGING INC
9900 BELWARD CAMPUS DR               1735 DEKALB AVE                            8 KINGS COURT
SUITE 100                            SYCAMORE, IL 60178                         FLEMINGTON, NJ 08822
ROCKVILLE, MD 20850




MEDICAL PHYSICS CONSULTANTS, INC     MEDICAL PHYSICS CONSULTING SERVICE         MEDICAL PHYSICS SVC
214 EAST HURON ST                    503 WESTMINSTER DR                         5942 EASY PACE CIR N
ANN ARBOR, MI 48104                  RAINBOW CITY, AL 35906                     CANTON, OH 44718




MEDICAL POSITIONING, INC             MEDICAL PROTECTIVE COMPANY, THE            MEDICAL PROTECTIVE COMPANY, THE
P.O. BOX 790051                      ATTN FINANCE - DEDUCTIBLE BILLING          MEDPRO GROUP FINANCE DEDUCT BILLING
ST LOUIS, MO 63179-0051              23289 NETWORK PL                           5814 REED RD
                                     CHICAGO, IL 60673-1232                     FT WAYNE, IN 46835




MEDICAL PROTECTIVE FINANCE CORP      MEDICAL PROTECTIVE                         MEDICAL REIMBURSEMENTS OF AMERICA
23289 NETWORK PLACE                  23289 NETWORK PLACE                        INC
CHICAGO, IL 60673-1232               CHICAGO, IL 60673-1232                     6840 CAROTHERS PKWY
                                                                                STE 150
                                                                                FRANKLIN, TN 37067
                         Case 20-10766-BLS
MEDICAL REPORTING SOFTWARE             MEDICALDoc   6 Filed
                                                REPORTING       04/07/20
                                                           SYSTEM          Page 1173  ofSERVICES
                                                                                MEDICAL  1969
19000 33RD AVE. W, STE 130             19000 33RD AVE. W, STE 130                P.O. BOX 22266
LYNWOOD, WA 98036                      LYNNWOOD, WA 98036-4753                   CHATTANOOGA, TN 37422




MEDICAL SOLUTIONS                       MEDICAL SOLUTIONS, LLC                   MEDICAL SOLUTIONS, LLC
1010 N 102ND ST                         1010 N 102ND ST                          1010 NORTH 102ND STREET, STE 300
SUITE 300                               SUITE 300                                OMAHA, NE 68114
OMAHA, NE 68114                         OMAHA, NE 68114




MEDICAL STAFFING RESOURCES              MEDICAL SUPPLIES & EQUIP CO              MEDICAL SYSTEMS
14750 NW 77 CT 302                      21830 KINGSLAND BLVD                     459 JAMES ROAD
MIAMI LAKES, FL 33016                   SUITE 101A                               OWENS CROSS ROADS, AL 35763
                                        KATY, TX 77450




MEDICAL TECHNOLOGIES CO                 MEDICAL TECHNOLOGIES CO                  MEDICAL TECHNOLOGIES CO
6 GRANDVIEW PARK DRIVE                  C/O HMS HEALTH LLC                       C/O HMS HEALTH LLC
ARNOLD, MO 63010                        740 SPIRIT 40 CIRLCE DR                  740 SPIRIT 40 PARK DRIVE
                                        CHESTERFIELD, MO 63005                   CHESTERFIELD, MO 63005




MEDICAL TECHNOLOGIES INT                MEDICAL TECHNOLOGY ASSOCIATES, INC       MEDICAL TECHNOLOGY MANAGEMENT
112 223RD STREET SE                     6651 102ND ANE N.                        INSTITUTE
BOTHELL, WA 98021                       PINELLAS PARK, FL 33782                  2550 N LOOP W300
                                                                                 HOUSTON, TX 77092




MEDICAL TECHNOLOGY                      MEDICAL TECHNOLOGY, FC                   MEDICAL UNDERWRITERS OF CALIFORNIA
P O BOX 106                             101 N ROSSER                             6250 CLAREMONT AVE
FORREST CITY, AR 72335                  FORREST CITY, AR 72335                   OAKLAND, CA 94618




MEDICAL WASTE SERVICES                  MEDI-CAL                                 MEDICALGPS
P.O BOX 2558                            P.O. BOX 997413                          1616 WESTGATE CIRCLE
ASHLAND, KY 41105                       SACRAMENTO, CA 95899-7413                BRENTWOOD, TN 37027-8019




MEDICALRECRUITING.COM INC               MEDICARE - IL                            MEDICARE A AND B
5380 OLD BULLARD STE 600-237            P.O. BOX 6475                            P.O. BOX 462
TYLER, TX 75703                         INDIANAPOLIS, IN 46206-6475              MCDADE, TX 78650




MEDICARE ANTHEM ADVANTAGE PPO           MEDICARE AUDIT & REIMB -S7 ATTN:         MEDICARE B IL
P.O. BOX 5747                           CARMELITA FITCH                          P.O. BOX 809194
DENVER, CO 80217-5747                   WISCONSIN PHYSICIAN SERVICES             CHICAGO, IL 60680
                                        3333 FARNAM STREET SUTIE 700
                                        OMAHA, NE 68131-0000



MEDICARE B PALMETTO GBA                 MEDICARE B-IL                            MEDICARE B-RAILROAD MEDICARE
P.O. BOX 10066                          WPS P.O. BOX 8190                        PALMETTO GBA RAILROAD MEDICARE
AUGUSTA, GA 30999-0001                  MADISON, WI 53708                        P.O. BOX 10066
                                                                                 AUGUSTA, GA 30999
                      Case
MEDICARE CIGNA MVP HEALTH   20-10766-BLS
                          CARE              Doc
                                     MEDICARE     6 Filed
                                                HUMANA PPO 04/07/20         Page 1174  of 1969
                                                                                 MEDICARE HUMANA
P.O. BOX 2207                        P.O. BOX 14604                              P.O. BOX 94017
SCHENECTADY, NY 12301                LEXINGTON, KY 40512-4601                    LAS VEGAS, NV 89193




MEDICARE HUMANA                       MEDICARE KAISER PERMANENTE                 MEDICARE MUTUAL OF OMAHA
P.O. BOX 95638                        P.O. BOX 7004                              P O BOX 1602
LAS VEGAS, NV 89139                   DOWNEY, CA 90242                           OMAHA, NE 68175




MEDICARE PART B                       MEDICARE PART B                            MEDICARE PART B
P.O. BOX 809194                       P.O. BOX 809194                            P.O. BOX 809194
US BANK LOCKBOX SERVICES JB B IL MN   US BANK LOCKBOX SERVICES JB B IL WI        US BANK LOCKBOX SERVICES, JB B IL,
CHICAGO, IL 60680-9194                CHICAGO, IL 60680-9194                     CHICAGO, IL 60680-9194




MEDICARE PART B                       MEDICARE PART B                            MEDICARE PART B
P.O. BOX 809194                       P.O. BOX 809194                            P.O. BOX 809194
US BANK LOCKBOX SERVICES,JB B IL,WI   US BANK LOCKBOX SVCS., JB B                US BANK LOCKSERVICES, JB B IL,MN,WI
CHICAGO, IL 60680-9194                CHICAGO, IL 60680-9194                     CHICAGO, IL 60680-9194




MEDICARE PART B                       MEDICARE PART B/CAHABA GBA                 MEDICARE PARTNERS NV HMO
P.O. BOX 8860                         P.O. BOX 6169                              P.O. BOX 95638
MARION, IL 62959-0906                 INDIANAPOLIS, IN 46206                     LAS VEGAS, NV 89193-5638




MEDICARE SENIOR DIMENSIONS            MEDICARE UHC ADVANTAGE PPO                 MEDICARE
P.O. BOX 15645                        P.O. BOX 31362                             ATTN: REFUNDS DEPARTMENT
LAS VEGAS, NV 89117-5645              SALT LAKE CITY, UT 84131-0362              P.O. BOX 6475
                                                                                 INDIANAPOLIS, IN 46206-6475




MEDICARE                              MEDICARE                                   MEDICARE-NM
P.O. BOX 20211                        P.O.BOX 3018                               P O BOX 3107
NASHVILLE, TN 37202                   SAVANNAH, GA 31402                         MECHANICSBURG, PA 17055-1823




MEDICARE-WPS                          MEDICATE DME, INC                          MEDICI TECHNOLOGIES LLC
REFUND DEPARTMENT                     ATTN JAMIE SMITH                           1300 POST OAK BLVD
P.O. BOX 8550                         911 WATER ST                               STE 725
MADISON, WI 53708-8550                CAHOKIA, IL 62206                          HOUSTON, TX 77056




MEDICINE SHOPPE                       MEDICINE SHOPPE, THE                       MEDICO CORP LIFE INS.CO
134 S MAIN ST                         2339 BRDWAY                                P.O.BOX 310503
COLUMBIA, IL 62236-0000               MT. VERNON, IL 62864                       DES MOINES, IA 50331-0503




MEDICO INSURANCE COMPANY              MEDICOM DIGITAL INC                        MEDICO-MART INC
P.O.BOX 10386                         MEDICOM HEALTH INTERACTIVE                 2323 CORPORATE DRIVE
DES MOINES, IA 50306                  P.O. BOX 505473                            WAUKESHA, WI 53189
                                      ST LOUIS, MO 63150-5473
MEDICOMP INC             Case 20-10766-BLS   Doc
                                       MEDICOMP INC6      Filed 04/07/20   Page 1175  of 1969
                                                                                MEDICONE MEDICAL RESPONSE
P.O. BOX 117110                         P.O. BOX 117110                         P.O. BOX 733506
ATLANTA, GA 30368-7710                  DIRECT PAYMENTS                         DALLAS, TX 75373
                                        ATLANTA, GA 30368-7710




MEDICUS HEALTH                          MEDICUS HOSPITALISTS WEST LLC           MEDIDIAN FINANCE DEPT
P.O. BOX 888611                         22 ROULSTON ROAD                        1 CAMPUS MARTIUS
KENWOOD, MI 49588                       WINDHAM, NH 03087                       SUITE 700
                                                                                DETROIT, IL 48226




MEDI-DOSE INC                           MEDI-DOSE INC                           MEDI-DOSE INC
CUSTOMER 11 - 0004051                   CUSTOMER 11 - 0038014                   CUSTOMER XX-XXXXXXX
LOCK BOX 238                            LOCK BOX 238                            LOCK BOX 238
JAMISON, PA 18929-0238                  JAMISON, PA 18929-0238                  JAMISON, PA 18929-0238




MEDI-DOSE INC                           MEDI-DOSE                               MEDI-DOSE
LOCK BOX 238                            LOCK BOX 238                            LOCKBOX 238
JAMISON, PA 18929                       JAMISON, PA 18929                       JAMISON, PA 18929




MEDI-DOSE, INC                          MEDI-DOSE, INC                          MEDI-DOSE, INC
CUST XX-XXXXXXX                         CUSTOMER 11 - 0004051                   CUSTOMER 11 - 0004051
LOCKBOX 238                             LOCK BOX 238                            LOCKBOX 239
JAMISON, PA 18929-0238                  JAMISON, PA 18929-0238                  JAMISON, PA 18929-0238




MEDI-DOSE, INC                          MEDI-DOSE, INC                          MEDI-DOSE, INC
CUSTOMER 11 0018047                     CUSTOMER 11 0052008                     CUSTOMER XX-XXXXXXX
LOCKBOX 238                             LOCK BOX 238                            LOCK BOX 238
JAMISON, PA 18929-0238                  JAMISON, PA 18929-0238                  JAMISON, PA 18929-0238




MEDI-DOSE, INC                          MEDI-DOSE, INC                          MEDIMOBILE
CUSTOMER XX-XXXXXXX                     CUSTOMER XX-XXXXXXX                     1918 LEANDER RD
LOCKBOX 238                             LOCKBOX 238                             GEORGETOWN, TX 78628
JAMISON, PA 18929-0238                  JAMISON, PA 18929-0238




MEDINA ANTHONY                          MEDINA DAYSE                            MEDINA DESIREE
11105 S AVE L                           2818 FOREST LN                          104 1/2 E WASHINGTON ST
CHICAGO, IL 60617                       WAUKEGAN, IL 60087                      LAS VEGAS, NM 87701




MEDINA, ARMANDO                         MEDINA, DONNA                           MEDINA, JASON
A&L CARPET CARE                         ADDRESS ON FILE                         ADDRESS ON FILE
348 E WARLEY WAY
STANSBURY PARK, UT 84074




MEDINA, LETICIA                         MEDINA, LORENA                          MEDINA, LYDIA I.
9858 BROOKGRASS PLACE                   57 JOHNSON RD                           ADDRESS ON FILE
SALINAS, CA 93907                       WATSONVILLE, CA 95076
MEDINA, LYDIA               Case 20-10766-BLS
                                          MEDINA,Doc 6 Filed 04/07/20
                                                 MARCELA                     Page 1176  ofMARTIN
                                                                                  MEDINA,  1969A.
ADDRESS ON FILE                            12764 IRVING AVE                       ADDRESS ON FILE
                                           BLUE ISLAND, IL 60406




MEDINA, MICHELLE A.                        MEDINA, PEARL                          MEDINA, THOMAS
ADDRESS ON FILE                            2940 HOT SPRINGS BLVD                  ADDRESS ON FILE
                                           LAS VEGAS, NM 87701




MEDINA-GUTIERREZ, EUFEMIA B.               MEDI-NUCLEAR CORP. INC.                MEDI-PAK ADVANTAGE
HCR 72 BOX 105                             P.O. BOX 11407, DEPT 2482              P.O. BOX 2099
RIBERA, NM 87560                           BIRMINGHAM, AL 35246-2482              LITTLE ROCK, AR 72203




MEDISERVE INSURANCE SERVICES, INC          MEDISPEC LTD.                          MEDISYS LLC
9667 SOUTH 20TH STREET                     203 PERRY PKWY STE 6                   P.O. BOX 637
OAK CREEK, WI 53154                        GAITHERSBURG, MD 20877                 INSTITUTE, WV 25112




MEDIVATORS INC                             MEDIVATORS INC                         MEDIVATORS
N.W. 9841                                  NW 9841                                NW9841
P.O. BOX 1450                              P.O. BOX 1450                          PO BOX 1450
MINNEAPOLIS, MN 55485                      MINNEAPOLIS, MN 55485                  MINNEAPOLIS, MN 55485




MEDIVATORS                                 MEDIVISTA MEDIA LLC                    MEDKAMP, LLC
P.O. BOX 1450                              1100 SPRING STREET NW                  2131 WILDWOOD MEADOW
MINNEAPOLIS, MN 55485                      SUITE 750                              GROUND FLOOR
                                           ATLANTA, GA 30309                      CHESTERFIELD, MO 63005-0000




MEDLEARN MEDIA INC                         MEDLEY, LISA J.                        MEDLIN STEPHANIE A
445 MINNESOTA STREET                       ADDRESS ON FILE                        2559 WESTMORELAND
SUITE 514                                                                         GRANITE CITY, IL 62040
ST PAUL, MN 55101




MEDLINE INDUSTRIES INC                     MEDLINE INDUSTRIES INC                 MEDLINE INDUSTRIES INC
BOX 382075                                 DEPARTMENT CH 14400                    DEPARTMENT CH 14400
PITTSBURG, PA 15251-8075                   PALATINE, IL 60055                     PALATINE, IL 60055-4400




MEDLINE INDUSTRIES INC                     MEDLINE INDUSTRIES INC                 MEDLINE INDUSTRIES INC
DEPT 1080 P.O. BOX 121080                  DEPT 1080                              DEPT. CH 14400
DALLAS, TX 75312-1080                      P.O. BOX 121080                        PALATINE, IL 60055-4400
                                           DALLAS, TX 75312-1080




MEDLINE INDUSTRIES INC                     MEDLINE INDUSTRIES INC                 MEDLINE INDUSTRIES INC.
DEPT. LA 21558                             JEFF FAIR, VP NATIONAL ACCOUNTS        DEPT CH 14400
PASADENA, CA 91185-1558                    ONE MEDLINE PLACE                      PALATINE, IL 60055-4400
                                           MUNDELEIN, IL 60060
MEDLINE INDUSTRIES       Case 20-10766-BLS
                                       MEDLINEDoc  6 Filed
                                               INDUSTRIES, INC 04/07/20      Page 1177  ofINDUSTRIES,
                                                                                  MEDLINE  1969       INC.
DEPT CH 14400                             DEPT CH 14400                            DEP CH 14400
PALATINE, IL 60055                        PALATINE, IL 60055-4400                  ACCT-0001005577
                                                                                   PALATINE, IL 60055-4400




MEDNEWS PLUS LLC                          MEDPARTNERS ADMIN SERVICES               MEDPARTNERS ADMIN SERVICES
1776 MENTOR AVE                           P.O. BOX 2602                            PO BOX 2602
STE 210                                   FORT WAYNE, IN 46801                     FORT WAYNE, IN 46801
CINCINNATI, OH 45212




MEDPARTNERS ADMINISTRATION                MEDPARTNERS ADMINISTRATIV                MEDPARTNERS ADMINISTRATIV
SERVICES LLC                              P.O. BOX 10210                           PO BOX 10210
P.O. BOX 2602                             FORT WAYNE, IN 46801                     FORT WAYNE, IN 46801
FT WAYNE, IN 46802




MEDPARTNERS HIM LLC                       MEDPARTNERS HIM LLC                      MEDPARTNERS HIM LLC
P.O. BOX 740490                           P.O. BOX 740490                          P.O. BOX 744869
ATLANTA, GA 30374-0478                    ATLANTA, GA 30374-0490                   ATLANTA, GA 30374-4869




MEDPARTNERS HIM, LLC                      MEDPARTNERS LOCUM TENENS LLC             MEDPARTNERS
PO BOX 744869                             P.O. BOX 740478                          P.O. BOX 10210
ATLANTA, GA 30374-4869                    ATLANTA, GA 30374-0478                   FORT WAYNE, IN 46851




MED-PASS INC                              MED-PAT INC                              MED-PAT INC
L-3495                                    31 RIODAN PLACE                          31 RIORDAN PLACE
COLUMBUS, OH 43260-0001                   SHREWSBURY, NJ 07702                     SHREWSBURY, NJ 07702




MED-PAT INC                               MEDPRO GROUP                             MEDRAD INC
31 RIORDAN PLACE                          5814 REED RD                             P.O. BOX 360172
SHREWSBURY, NY 07702                      FORT WAYNE, IN 46835                     PITTSBURGH, PA 15251-6172




MEDRANO, OLGA                             MEDSHAPE INC                             MEDSKER, JILL
P.O. BOX 1907                             1575 NORTHSIDE DRIVE NW. STE 440         10233 N 1950TH ST
BIG SPRING, TX 79721-0000                 ATLANTA, GA 30318                        MARSHALL, IL 62441




MEDSOURCE LLC                             MED-SOUTH INC.                           MED-SOUTH MEDICAL, LLC
P.O. BOX 1248                             406 MEDICAL CENTER DRIVE                 5916 EAST LAKE PARKWAY 244
BLOOMINGTON, IL 61702-1248                JASPER, AL 35501                         MCDONOUGH, GA 30253




MEDSTAFF NATIONAL MEDICAL STAFFING        MEDSTAR AMBULANCE INC                    MEDSTREAM
15200 WESTON PARKWAY, STE 104             705 BRADBURY LN                          82 PATTON AVE
CARY, NC 27513                            P.O. BOX 296                             SUITE 510
                                          SPARTA, IL 62286-0296                    ASHEVILLE, NC 28801
MEDTEC MEDICAL INC      Case 20-10766-BLS
                                      MEDTECDoc   6 Filed 04/07/20
                                              MEDICAL                Page 1178 of 1969
                                                                          MEDTEK
1602 BARCLAY BLVD                     1602 BARCLAY BLVD                   21600 OXNARD STREET
BUFFALO GROVE, IL 60089               BUFFALO GROVE, IL 60089             SUITE 1750
                                                                          WOODLAND HILLS, CA 91367




MEDTELLIGENCE LLC                    MEDTOX DIAGNOSTICS INC               MEDTOX DIAGNOSTICS INC
P.O. BOX 11407                       P O BOX 60575                        P.O. BOX 60575
BIRMINGHAM, AL 35246-2469            CHARLOTTE, NC 28260                  CHARLOTTE, NC 28260




MEDTOX DIAGNOSTICS                   MEDTOX LABORATORIES INC              MEDTOX LABORATORIES INC
PO BOX 60575                         NW 8939                              P O BOX 8107
CHARLOTTE, NC 28260                  P O BOX 8107                         BURLINGTON, NC 27216
                                     BURLINGTON, NC 27216




MEDTOX LABORATORIES INC              MEDTOX LABORATORIES INC              MEDTOX LABORATORIES INC
P O BOX 8107                         P.O. BOX 8107                        P.O. BOX 8107
BURLINGTON, NC 27216-8107            BURLINGTON, NC 27216                 BURLINGTON, NC 27216-8107




MEDTOX LABS                          MEDTOX                               MEDTRITION/NATL NUTRITION
PO BOX 8107                          P.O.BOX 8107                         P.O. BOX 5387
BURLINGTON, NC 27216                 BURLINGTON, NC 27216-8107            LANCASTER, PA 17606




MEDTRONIC (SPINE)                    MEDTRONIC CARDIAC SURGERY            MEDTRONIC CARDIO VASCULAR
4642 COLLECTION CENTER DRIVE         P.O. BOX 409201                      P.O. BOX 409201
CHICAGO, IL 60693                    MEDTRONIC BIO MEDICUS INC            ATLANTA, GA 30384
                                     ATLANTA, GA 30384-9201




MEDTRONIC INC.                       MEDTRONIC NEUROLOGICAL               MEDTRONIC PHYSIO CONTROL
DEBRA JONES, NATIONAL ACCOUNT        4642 COLLECTIONS CENTER DR           4642 COLLECTIONS CENTER DR
MANAGER                              CHICAGO, IL 60693                    CHICAGO, IL 60693
6743 SOUTHPOINT DR. N
JACKSONVILLE, FL 32216



MEDTRONIC SD USA INC                 MEDTRONIC SOFAMOR DANEK USA          MEDTRONIC SOFAMOR DANEK USA
4642 COLLECTION CENTER DRIVE         4642 COLLECTION CTR DR               4642 COLLECTION CTR DR
CHICAGO, IL 60693-0046               CHICAGO, IL 60693                    CHICAGO, IL 60693-0046




MEDTRONIC TRANSFORMATIVE SOLUTIONS   MEDTRONIC USA INC                    MEDTRONIC USA INC
P.O. BOX 409201                      4642 COLLECTION CENTER DR            4642 COLLECTION CENTER DRIVE
ATLANTA, GA 30384-9201               CHICAGO, IL 60693                    (MEDTRONIC SOFAMOR DANEK USA, INC.)
                                                                          CHICAGO, IL 60693




MEDTRONIC USA INC                    MEDTRONIC USA INC                    MEDTRONIC USA INC
P O BOX 848086                       P.O. BOX 409201                      P.O. BOX 409201
DALLAS, TX 75284-8086                ATLANTA, GA 30384                    ATLANTA, GA 30384-9201
MEDTRONIC USA INC      Case 20-10766-BLS    DocUSA
                                     MEDTRONIC    6 INC
                                                      Filed 04/07/20       Page 1179 of 1969
                                                                                MEDTRONIC USA INC
P.O. BOX 409201                      P.O. BOX 848086                             SURGICAL TECHNOLOGIES
POWERED SURGICAL SOLUTIONS           DALLAS, TX 75284-8086                       4642 COLLECTION CTR DR
ATLANTA, GA 30384-9201                                                           CHICAGO, IL 60693-0046




MEDTRONIC USA                         MEDTRONIC USA                              MEDTRONIC USA
4642 COLLECTION CENTER DR             4642 COLLECTION CENTER DRIVE               4642 COLLECTIONS CTR DR
CHICAGO, IL 60693-0046                CHICAGO, IL 60693-0046                     CHICAGO, IL 60693




MEDTRONIC USA                         MEDTRONIC USA, INC                         MEDTRONIC USA/CARDIAC RHYTHM M
P.O. BOX 848086                       POB 409201                                 4642 COLLECTION CENTER DRIVE
DALLAS, TX 75284                      ATLANTA, GA 30384-9201                     CHICAGO, IL 60693-0046




MEDTRONIC USA/CARDIAC SURGERY         MEDTRONIC USA/CARDIAC SURGERY              MEDTRONIC USA/CARDIAC SURGERY
4642 COLLECTION CENTER DR             4642 COLLECTION CENTER DRIVE               4642 COLLECTIONS CTR DR
CHICAGO, IL 60693                     CHICAGO, IL 60693-0046                     CHICAGO, IL 60693




MEDTRONIC USA/INTERVENT VASCUL        MEDTRONIC USA/INTERVENT VASCUL             MEDTRONIC USA/NEUROLOGICAL
4642 COLLECTION CENTER DRIVE          4642 COLLECTIONS CTR DR                    4642 COLLECTION CENTER DRIVE
CHICAGO, IL 60693-0046                CHICAGO, IL 60693                          CHICAGO, IL 60693-0046




MEDTRONIC USA/NEUROLOGICAL            MEDTRONIC USA/NEUROLOGICAL                 MEDTRONIC XOMED INC
4642 COLLECTION CTR DR                4642 COLLECTIONS CTR DR                    4642 COLLECTION CENTER DR
CHICAGO, IL 60693                     CHICAGO, IL 60693                          CHICAGO, IL 60693




MEDTRONIC XOMED, INC.                 MEDTRONIC                                  MEDTRONIC
P.O. BOX 409201                       4642 COLLECTION CENTER DR                  4642 COLLECTION CTR DR
ATLANTA, GA 30384-9201                CHICAGO, IL 60693-0046                     CHICAGO, IL 60693




MEDTRONIC                             MEDTRONIC                                  MEDTRONIC
COVIDIEN SALES, LLC                   MEDTRONIC USA,INC                          P.O. BOX 848086
P.O. BOX 409201                       P.O. BOX 409201                            DALLAS, TX 75284-8086
ATLANTA, GA 30384-9201                ATLANTA, GA 30384-9201




MED-TURN, INC                         MEDUIT                                     MEDURE, NANCY
P.O. BOX 752176                       4135 SOUTH STREAM BOULEVARD, SUITE         149 KEEFERVIEW ST NW
CHARLOTTE, NC 28275-2176              400                                        NAVARRE, OH 44662
                                      CHARLOTTE, NC 28217-4636




MEDVANTAGE                            MED-X PRODUCTS INC                         MEDYSSEY USA INC
230 WEST PASSAIC STREET               721 ENTERPRISE RD                          1550 E HIGGINS RD STE 123
MAYWOOD, NJ 07607                     LITTLETON, NC 27850                        ELK GROVE VILLAGE, IL 60007
MEECE, LYNETTE            Case 20-10766-BLS
                                        MEECE, Doc  6
                                               MARIAH        Filed 04/07/20   Page 1180  of 1969
                                                                                   MEEK, DARLA
1455 SPRING PARK WALK                    512 E SAINT LOUIS ST                      622 JOHN STREET
CINCINNATI, OH 45215                     WEST FRANKFORT, IL 62896                  COSHOCTON, OH 43812




MEEK, DEBRA J.                           MEEK, GEORGE                              MEEK, KIMBERLY S.
ADDRESS ON FILE                          205 ALCOTT RD                             ADDRESS ON FILE
                                         PALESTINE, AR 72372




MEEK, MARY A.                            MEEK, RICHARD D.                          MEEKER, CHARLES
ADDRESS ON FILE                          ADDRESS ON FILE                           P.O. BOX 42257
                                                                                   EUGENE, OR 97404




MEEKINS III, GORDON W.                   MEEKINS, MONA L.                          MEEKS, BETHANY
ADDRESS ON FILE                          ADDRESS ON FILE                           3876 N MILO ROAD
                                                                                   TOMAHAWK, KY 41262




MEEKS, JANICE S.                         MEEKS, JANICE                             MEEKS, JANICE
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




MEEKS, KAYLEE                            MEEKS, PATRICIA M.                        MEEKS, RUFUS E
117 WEST DESERT VIEW DR.                 1403 BACK MASSILLON RD                    12243 LAFAYETTE AVE
BARSTOW, CA 92311                        ORRVILLE, OH 44667                        CHICAGO, IL 60623




MEEKS, VELTRI MEREDITH                   MEEKS, VIRGINIA                           MEENA MIRDAMADI, M.D.
2383 HILLIARD PARK BLVD                  10110 S PEORIA                            1080 BRICKELL AVE, APT 3007
HILLIARD, OH 43026                       CHICAGO, IL 60643                         MIAMI, FL 33131




MEERSON, INNA                            MEESE, HOLLY L.                           MEESEY, ERIN
429.5 CUSTER AVE, APT. 3D                1701 RIDGE ROAD NE                        783 THRONE DRIVE APT. 396
EVANSTON, IL 60202                       NEW PHILADELPHIA, OH 44663                EUGENE, OR 97402




MEETZE, KELLY B.                         MEFFORD, AMY L.                           MEGADYNE MEDICAL PRODUCTS , INC
ADDRESS ON FILE                          1901 KNOX ROAD 800E                       11506 S STATE ST
                                         WATAGA, IL 61488                          DRAPER, UT 84020




MEGADYNE MEDICAL PRODUCTS , INC          MEGADYNE MEDICAL PRODUCTS                 MEGADYNE
P.O. BOX 1332                            P.O. BOX 1332                             P.O.BOX 1332
SANDY, UT 84091                          SANDY, UT 84091                           SANDY, UT 84091
MEGAN ALLEN              Case 20-10766-BLS   Doc 6 Filed 04/07/20
                                       MEGAN BENAVIDEZ              Page 1181
                                                                         MEGANof 1969
                                                                              BURLEY
2526 STATE ST                          3700 BLUE QUAIL RD SW             ADDRESS ON FILE
GRANITE CITY, IL 62040                 DEMING, NM 88030




MEGAN E SUES                           MEGAN KANE                        MEGAN LUTHER
5825 GARTH CR NW                       563 CLOVER DRIVE                  125 WESTBROOKE
CANTON, OH 44718                       EDWARDSVILLE, IL 62025            TROY, IL 62294




MEGAN MOODY                            MEGAN SHUTTS KARJOLA              MEGAN SIMS
ADDRESS ON FILE                        ADDRESS ON FILE                   1222 SAHDYSIDE AVE SW
                                                                         CANTON, OH 44710




MEGAN WOOD                             MEGAN WOOD, M.D.                  MEGHAN MASSIE
ADDRESS ON FILE                        11 WEST FORK DRIVE                615 W MADISON ST
                                       HUMBOLDT, IA 50548                MILLSTADT, IL 62260-1353




MEHELIC, BARBARA JEAN                  MEHNERT, MICHAEL C                MEHRAN LANGROUDI, MD
1512 CLARK                             11569 DOLWAY AVE                  ADDRESS ON FILE
GRANITE CITY, IL 62040                 BEACH CITY, OH 44608




MEHRAN LANGROUDI, MD                   MEHRAN LANGROUDI, MD              MEHRHOF, FAYE IRWIN
10509 TALL PINE DR                     10509 TALL PINE DRIVE             513 SCOTTS WAY
SEAFORD, DE 19973                      SEAFORD, DE 19973                 AUGUSTA, GA 30909




MEHRING, MARY S.                       MEHRMANN, RENEE                   MEHTA MD, YASHBIR
10105 BRICKEY RD                       604 W HARRISON ST                 4 BROADLEYS COURT
RED BUD, IL 62278                      MILLSTADT, IL 62260-1720          BANNOCKBURN, IL 60015




MEHTA, HARSHA S.                       MEHTA, NILESH D                   MEHTA, NILESH D
2197 CATHERINE ST                      300 BELLE FOREST DRIVE            ADDRESS ON FILE
GALESBURG, IL 61401                    LAKE BLUFF, IL 60044




MEHTA, NILESH D. MD                    MEHTA, RAJ S.                     MEHTA, SHRIKANT A.
ADDRESS ON FILE                        5708 SHETLAND CT                  2197 CATHERINE ST
                                       NASHVILLE, TN 37211               GALESBURG, IL 61401




MEHTALA, MARJORIE                      MEHUL, DAULAT                     MEIDL, TRACI A.
38421 N CREEK COURT                    2213 BROTHERS ROAD STE 700        224 CAMELLIA COURT
BEACH PARK, IL 60087                   SANTA FE, NM 87505-0000           WATSONVILLE, CA 95076
MEIER, GLORIA           Case 20-10766-BLS    Doc LOUISE
                                      MEIER, MARY 6 Filed 04/07/20           Page 1182
                                                                                  MEIER, of 1969
                                                                                         MEGAN
ADDRESS ON FILE                        4055 ROYAL AVE SPC 110                     117 ECHO VALLEY DR
                                       EUGENE, OR 97402                           COLLINSVILLE, IL 62234




MEIER, RHONDA M.                       MEIERS, JOANNE R.                          MEIERS, RENEA
322 BROADWAY                           TO THE ESTATE OF 73 PHILLIPS 308 RD        HRMC
SPRINGFIELD, OR 97477                  WEST HELENA, AR 72390                      72342




MEILER, LISA M.                        MEILINGER, DOROTHY M.                      MEINCKE, DOROTHY
ADDRESS ON FILE                        612 GUY ST NW                              2204 DEVONSHIRE
                                       MASSILLON, OH 44647                        WAUKEGAN, IL 60087




MEIRINK, BARBARA                       MEISER, KELLY                              MEISTER, DAWN M.
2172 LAKESHORE ROAD                    3876 RAMSEY DR                             3425 W 107TH STREET
CENTRALIA, IL 62801                    UNIONTOWN, OH 44685                        CHICAGO, IL 60655




MEJIA, ANA C.                          MEJIA, BRENDA                              MEJIA, BRIANNA
352 LISA LN                            105 WEST LONG ST                           105 WEST LONG ST
MESQUITE, NV 89027                     HAMILTON, NC 27840                         HAMILTON, NC 27840




MEJIA, DIANE R.                        MEJIA, GAYLE                               MEJIA, LUCIA
15028 SPRUCE ST.                       ADDRESS ON FILE                            ADDRESS ON FILE
HESPERIA, CA 92345




MEJIA, MIGUEL                          MEJIA, MIRNA L.                            MEJIA, TOMAS
425 SOLANA RD SE                       1050 OLYMPIC LANE                          609 FOREST AVE NW
DEMING, NM 88030                       SEASIDE, CA 93955                          FORT PAYNE, AL 35967




MEJIA, WANDA                           MEJIARIVERA HECTOR J                       MEJILLAS, ISABEL M.
500 WOODBRIDGE CIRCLE                  4151 BRENTWOOD LN                          2307 ANDERSON DRIVE
RAINSVILLE, AL 35986                   WAUKEGAN, IL 60087                         LAS VEGAS, NM 87701




MEJOS JOHN PAUL                        MEJOS, JOHN PAUL                           MEKDELAWIT ASCHENAKI MD
10819 62ND ST                          3108 MARKET LANE APARTMENT: 805            121277 QUICKSLIVER WAY
KENOSHA, WI 53142                      KENOSHA, WI 53144                          MESQUITE, NV 89027




MEL WACKER SIGNS                       MELAND, HEATHER A.                         MELANIE GRAY
13076 BARRS RD SW                      ADDRESS ON FILE                            ADDRESS ON FILE
MASSILLON, OH 44647
MELANIE KING             Case 20-10766-BLS
                                       MELANIEDoc 6 Filed 04/07/20
                                               NOVERO                     Page 1183  ofREAD
                                                                               MELANIE  1969
ADDRESS ON FILE                         601 LOWER MARINE RD                    P.O. BOX 1956
                                        APT 1A                                 MESQUITE, NV 89024
                                        TROY, IL 62294




MELANIE SHINE                           MELANIE SNYDER                         MELANIE WILLIAMS
7071 NAVE RD SW                         ADDRESS ON FILE                        1313 W MAIN ST
MASSILLON, OH 44646-8820                                                       BUSHNELL, IL 61422




MELANIE, BRUCE- CASH DRAWER             MELBA, LIEFER                          MELCHING, SHELLY
ADDRESS ON FILE                         351 LOCKWOOD DRIVE                     1421 OPDYKE ST
                                        RED BUD, IL 62278                      CHESTER, IL 62233




MELCHOR, GRICELDA                       MELDER, MONIQUE                        MELENDEZ, SABINO
7959 BROOKSIDE GLEN DR                  ADDRESS ON FILE                        1002 W 6TH ST
TINLEY PARK, IL 60487                                                          BIG SPRING, TX 79720-0000




MELETH THOMMY, JOSEPH, MD               MELETH, ROSALIE JOSEPH                 MELHORN DAVID
P.O. BOX 1240                           P.O. BOX 1240                          ADDRESS ON FILE
MARION, IL 62959                        MARION, IL 62959




MELHORN, DAVID                          MELHOUSE, MARILYN L                    MELHUS, MARCUS
ADDRESS ON FILE                         23917 E PARK RD                        ADDRESS ON FILE
                                        FARMINGTON, IL 61531




MELICAN, JENNIFER                       MELINDA GODWIN                         MELINDA L MULLEE
ADDRESS ON FILE                         ADDRESS ON FILE                        10011 CR 1273
                                                                               FLINT, TX 75762




MELINDA MINOTT                          MELINDA PATTERSON                      MELINDA READ
ADDRESS ON FILE                         3413 WEBSTER RD                        8820 MANCHESTER AVE SW
                                        AUGUSTA, GA 30906                      NAVARRE, OH 44662




MELISA ADKINS - CEO                     MELISSA A MEEK                         MELISSA ALLEN
HEARTLAND REGIONAL MEDICAL CENTER       8006 JUSTUS AVE SW                     428 WILLOW RUN DRIVE
3333 WEST DEYOUNG ST                    NAVARRE, OH 44662-9492                 RED BUD, IL 62278
MARION, IL 62959




MELISSA ANDREWS                         MELISSA BADERTSCHER PHOTOGRAPHY        MELISSA BADERTSCHER PHOTOGRAPHY
3957 GRAHAM RD                          ADDRESS ON FILE                        ADDRESS ON FILE
FARRANDSVILLE, PA 17745
MELISSA DOUGLAS          Case 20-10766-BLS
                                       MELISSADoc 6 Filed 04/07/20
                                               ENDRES                Page 1184  ofGOODRICH
                                                                          MELISSA  1969
1037 JEFFERSON ST                       580 S MAIN ST                     ADDRESS ON FILE
GALESBURG, IL 61401                     ROSEVILLE, IL 61473




MELISSA GROSSMAN                        MELISSA HALE                      MELISSA HALL
ADDRESS ON FILE                         413 WEST HIGH ST                  ADDRESS ON FILE
                                        ANNA, IL 62906




MELISSA HARLEY HUGHES                   MELISSA HENSON                    MELISSA HUSTEDDE
ADDRESS ON FILE                         901 LOCUST ST                     4343 LAKE DR
                                        GALESBURG, IL 61401               GRANITE CITY, IL 62040




MELISSA JOHNSON                         MELISSA JONES                     MELISSA LEE DUNN
2379 AL HWY 117                         ADDRESS ON FILE                   4105 PEPPERWOOD DR
FLAT ROCK, AL 35966                                                       ANTIOCH, TN 37013-1646




MELISSA LOZANO                          MELISSA MARIE DUNN                MELISSA MUNRO
5960 CO RD 221                          1708 GLENRIDGE DR                 4162 BRECKENRIDGE LN
COLLINSVILLE, AL 35961                  NASHVILLE, TN 37221-5326          GRANITE CITY, IL 62040




MELISSA ONEAL, MD                       MELISSA OROZCO                    MELISSA PARRISH SMITH
ADDRESS ON FILE                         706 S NICKEL
                                        DEMING, NM 88030




MELISSA R WILLIAMS                      MELISSA RANDOLPH                  MELISSA RUSSELL
167 FOX HAVEN DR                        ADDRESS ON FILE                   5302 PARAKEET ROAD
AIKEN, SC 29803-2847                                                      TAMAROA, IL 62888




MELISSA SIRPILLA                        MELISSA STEPP                     MELISSA STEWART
8111 SHADY STONE ST NW                  ADDRESS ON FILE                   814 SE 1ST ST
MASSILLON, OH 44646                                                       GALVA, IL 61434




MELISSA TILLER                          MELISSA VARHOLAK                  MELISSA WORSHAM, RN
815 E WILSON                            211 MELODY LN
GILLESPIE, IL 62033                     LOCK HAVEN, PA 17745




MELISSA YOUNG                           MELISSA, REMY                     MELL, JENNIFER
1751 CREEK LANE NW                      2590 LAKEVIEW DR UNIT 2           2437 EDISON AVE
FORT PAYNE, AL 35968-0000               EUGENE, OR 97408                  GRANITE CITY, IL 62040
MELLEN ,DANA             Case 20-10766-BLS    Doc
                                       MELLICK,    6 A. Filed 04/07/20
                                                GARY                     Page 1185  of 1969
                                                                              MELLIERE, CASSIDY J.
38890 N SHERIDAN ROAD                    118 ARBOR LANE                        ADDRESS ON FILE
BEACH PARK, IL 60099                     RAINESVILLE, AL 35986




MELLIERE, FRANCIS                        MELLO, NANETTE                        MELLOR, ALYSE
7142 MAPLE HOLLOW                        8341 PIONEER FIELD                    402 LAKEVIEW AVE
PRAIRIE DU ROCHER, IL 62277              SAN ANTONIO, TX 78253                 TOOELE, UT 84074-0000




MELLOTT, LAUREEN A.                      MELODIE PENROD                        MELODIE SHINPAUGH
ADDRESS ON FILE                          825 COTTONWOOD LANE
                                         CARTERVILLE, IL 62918




MELODY DUPREE                            MELODY SHRYACK                        MELODY TRIMBLE
2718 WEST 20TH ST                        8368 E AIRPORT RD                     2780 TIBURON BLVD EAST UNIT 202
GRANITE CITY, IL 62040                   IPAVA, IL 61441                       NAPLES, FL 34109-3715




MELODY TUCKER                            MELODY, CLAYTON                       MELONIE BAILEY
ADDRESS ON FILE                          8894 W HELEN DR                       ADDRESS ON FILE
                                         MAGNA, UT 84044




MELROSE INTERNATIONAL                    MELROSE INTERNATIONAL                 MELSON, STANLEY
P.O. BOX 3441                            PO BOX 3441                           1172 SFC 442
QUINCY, IL 62305                         QUINCY, IL 62305                      FORREST CITY, AR 72335




MELTON JEWELERS, LLC                     MELTON, AMANDA K.                     MELTON, APRIL N.
250 E MAIN STREET                        313 SOUTH HENDERSON ST.               ADDRESS ON FILE
GALESBURG, IL 61401                      TOULON, IL 61483




MELTON, CHELSEA                          MELTON, CHRIS A.                      MELTON, GABRIELLE
200 MOORE AVE. APT 10D                   ADDRESS ON FILE                       14808 KEYSTONE AVE
SENATOBIA, MS 38668                                                            MIDLOTHIAN, IL 60445




MELTON, JENNIFER L.                      MELTON, JUNE Z.                       MELTON, STEPHANIE J.
ADDRESS ON FILE                          ADDRESS ON FILE                       885 N IL HWY 37
                                                                               INA, IL 62846




MELTON, STEVE                            MELTON, TIFFANY                       MELTONS AUTO SERVICE
2846 MIDLAND ROAD                        ADDRESS ON FILE                       1500 HIGHLAND DRIVE
SHELBYVILLE, TN 37160                                                          MCKENZIE, TN 38201
MELTZ, LISA              Case 20-10766-BLS    Doc
                                       MELVILLE,    6 FFiled 04/07/20
                                                 LAMAR                    Page 1186
                                                                               MELVINof 1969
                                                                                     OLIVER
1552 MIDDLETON DRIVE                     P.O. BOX 1391                         1641 33RD ST NE
MONROE, GA 30655                         WENDOVER, UT 84083                    CANTON, OH 44714




MELVIN RHONDA L                          MELVIN, JOHN                          MELVINA, CASE
35617 DEXTER RD                          200 E HARLEM AVE APT 903              2664 JENNINGS CREEK
TAMMS, IL 62988                          MONMOUTH, IL 61462                    KERMIT, WV 25674




MELYNDA, BREEZE                          MEM HOSP OF CARBONDALE                MEMORIAL HEALTHCARE OWOSSO
16267 HAWTHORNE DR                       PHARM DEPT 10370                      826 WEST KING STREET
MT VERNON, IL 62864                      405 WEST JACKSON ST                   OWOSSO, MI 48867
                                         CARBONDALE, IL 62901




MEMORIAL HOSP MEDICAL STAFF              MEMORIAL HOSPITAL OF CARBON COUNTY    MEMORIAL HOSPITAL OF UNION COUNTY
ATTN ELIZABETH HUNGATE                   2221 WEST ELM STREET                  500 LONDON AVENUE
4500 MEMORIAL DRIVE                      RAWLINS, WY 82301                     MARYSVILLE, OH 43040-1594
BELLEVILLE, IL 62226-5399




MEMORIAL HOSPITAL                        MEMORIAL HOSPITAL/CRAIG               MEMORIAL HOSPITAL-BELLEVILLE
1900 STATE STREET                        750 HOSPITAL LOOP                     4500 MEMORIAL DRIVE
CHESTER, IL 62233-0609                   CRAIG, CO 81625-2097                  BELLEVILLE, IL 62226-5399




MEMORIAL MANAGEMENT INC                  MEMORIAL MANAGEMENT, INC.             MEMORIES UNLIMITED, INC
3333 WEST DE YOUNG ST                    208 SOUTH LASALLE STREET              9511 JOHNSON POINTLOOP NE
MARION, IL 62959                         SUITE 814                             OLYMPIA, WA 98516
                                         CHICAGO, IL 60604




MEN IN WHITE PAINTING                    MENA REGIONAL HEALTH SYSTEM           MENARD LUNT DENISE
15537 N IL HWY 37                        311 NORTH MORROW STREET               P.O. BOX 4283
MT VERNON, IL 62864                      MENA, AR 71953-2598                   MINERAL BLUFF, GA 30559




MENARD, DANIEL                           MENARD, LINDA                         MENARD, MICHAEL
2756 W 102ND ST.                         36223 NASHVILLE RD                    2756 W 102ND ST
CHICAGO, IL 60655                        NEWBERRY SPRINGS, CA 92365            CHICAGO, IL 60655




MENARDS                                  MENARDS                               MENCHACA, CHRISTINA
2500 BLUE HERON DR                       2791 VETERANS DRIVE                   1308 TUCSON RD
MARION, IL 62959                         GALESBURG, IL 61401                   BIG SPRING, TX 79720




MENCHAK, WILLIAM D                       MENCY, LAO                            MENDELL, HEATHER
928 LONGBRANCH RD                        916 HORIZON CT                        3781 AMHERST AVENUE NW
TROY, IL 62294                           MONROE, GA 30655                      MASSILLON, OH 44646
MENDELSON FIRM PLLC        Case 20-10766-BLS   Doc 6
                                         MENDENHALL    Filed 04/07/20
                                                    CAMERON             Page 1187 of 1969
                                                                             MENDENHALL EQUIP. CO.
P.O. BOX 17235                            34820 N 10000 E                     880 W 100 N
MEMPHIS, TN 38187-0235                    FAIRVIEW, UT 84629                  NORTH SALT LAKE, UT 84054




MENDENHALL, AMBER                         MENDENHALL, AMY                     MENDENHALL, CORINA M.
ADDRESS ON FILE                           3008 CEDARBROOK DRIVE               520 COVEY LANE
                                          BELLEVILLE, IL 62221                EUGENE, OR 97401




MENDENHALL, JERETT                        MENDEZ CODY                         MENDEZ ESPINOZA, CATARINA
2455 CANTO RD SE                          610 BARRON BLVD                     375 CLIFFORD AVENUE APT 122
DEMING, NM 88030                          APT B                               WATSONVILLE, CA 95076
                                          GRAYSLAKE, IL 60030-0000




MENDEZ GUTIERREZ, CARLOS E.               MENDEZ SILVA, ROSARIO               MENDEZ, AMANDA
ADDRESS ON FILE                           ADDRESS ON FILE                     270 W RAILROAD RD
                                                                              P.O. BOX 322
                                                                              ROSEVILLE, IL 61473




MENDEZ, BARBARA                           MENDEZ, DANIELA                     MENDEZ, JESSICA M.
442 PARKVIEW ST NE                        2233 MARKET STREET                  3339 COUNTY ROAD 90
MASSILLON, OH 44646                       BLUE ISLAND, IL 60406               RAINSVILLE, AL 35986




MENDEZ, JULIANA                           MENDEZ, KARINA                      MENDEZ, LETICIA
2255 BROADWAY STREET                      812 N JACKSON ST                    19 NONA AVE
BLUE ISLAND, IL 60406                     WAUKEGAN, IL 60085                  FREEDOM, CA 95019




MENDEZ, MARTIN                            MENDEZ, MOSES                       MENDEZ, REYNA
14211 S EMERALD AVE                       2428 30TH ST                        1028 FLOSSMOOR AVE
RIVERDALE, IL 60827-2302                  LUBBOCK, TX 79401                   WAUKEGAN, IL 60085




MENDEZ, ROXANA                            MENDEZ, SALLY                       MENDEZ, TRIKENA M.
14211 S EMERALD AVE                       1109 DOUGLAS                        514 MITCHELL DRIVE
RIVERDALE, IL 60827                       BIG SPRING, TX 79720                RAINSVILLE, AL 35986




MENDEZGOMEZ, MARIA D                      MENDIBLES, MICHAEL                  MENDIOLA, CAROL M.
1040 LEITH AVE                            ADDRESS ON FILE                     10400 MANCHESTER AVE SW
WAUKEGAN, IL 60085                                                            BEACH CITY, OH 44608




MENDIOLA, SOLEDAD C.                      MENDIT MEDICAL                      MENDIT MEDICAL
ADDRESS ON FILE                           10808 SOUTH RIVER FRONT             10808 SOUTH RIVER FRONT
                                          PARKWAY 326                         PARKWAY 326
                                          SUITE 326                           SUITE 326
                                          SOUTH JORDAN, UT 84095              SOUTH JORDON, UT 84095
MENDOZA ARACELI         Case 20-10766-BLS
                                      MENDOZADoc  6 Filed
                                               DE PENA, MARIA04/07/20   Page 1188 of EMILIA
                                                                             MENDOZA 1969
1115 PARK AVE                         3670 PUENTES DRIVE SE                  1117 SANTA CRUZ
NORTH CHICAGO, IL 60064-1330          DEMING, NM 88030                       DEMING, NM 88030




MENDOZA FLORES, DANIELA               MENDOZA MERCIE                         MENDOZA ROMUALDO
108 LYNBROOK CT.                      67 RAES CREEK DR                       412 BELVIDERE RD
WATSONVILLE, CA 95076                 GRANITE CITY, IL 62040                 WAUKEGAN, IL 60085




MENDOZA URIAS, GERONIMO               MENDOZA WILMA                          MENDOZA, ADRIANA
1920 LORI DR                          ADDRESS ON FILE                        19015 MORO RD
DEMING, NM 88030                                                             SALINAS, CA 93907




MENDOZA, AMANDA                       MENDOZA, BRYAN                         MENDOZA, CORNELIO E
5160 HIGHWAY 34 S                     ADDRESS ON FILE                        2838 COUNTY RD 494 LOT 16
HARRISBURG, IL 62946                                                         FT PAYNE, AL 35968




MENDOZA, IRENE G.                     MENDOZA, JUSTO T.                      MENDOZA, KAELI
ADDRESS ON FILE                       ADDRESS ON FILE                        1804 ALABAMA
                                                                             BIG SPRING, TX 79720




MENDOZA, LOVELY S.                    MENDOZA, LUPE                          MENDOZA, MADISON
ADDRESS ON FILE                       138 CHERRY BLOSSOM DRIVE               29548 PALERMO STREET
                                      FREEDOM, CA 95019                      BARSTOW, CA 92311




MENDOZA, MELANIE L.                   MENDOZA, RACQUEL W.                    MENDOZA, ROCIO
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




MENDOZA, TIAHNNA                      MENDOZA, WILMA                         MENDOZA-MALDONADO, ESMERALDA
ADDRESS ON FILE                       ADDRESS ON FILE                        362 VERLLONIA ST
                                                                             MESQUITE, NV 89027




MENDOZAS GARDENING                    MENDOZAVILLARREAL, ELIZABE             MENEESE, ROGER L
11970 PUYE RD.                        801 FRANKLIN ST                        705 N 26TH STREET
APPLE VALLEY, CA 92308                WAUKEGAN, IL 60085                     HERRIN, IL 62948




MENENDEZ, JAKE                        MENGES JR, RAY                         MENGES, DAVID
4221 SHARPSBURG DRIVE                 4209 W HWY 80                          341 FAIR AVE NW
BIRMINGHAM, AL 35213                  BIG SPRING, TX 79720-0000              NEW PHILADELPHIA, OH 44663-1907
MENICK, LISA A.          Case 20-10766-BLS   Doc
                                       MENJIVAR,   6 Filed 04/07/20
                                                 MARITZA                 Page 1189  of 1969
                                                                              MENJIVAR, VICTOR M.
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




MENNER, DIANNA                          MENNER, EARL J                         MENNERICH, CAITLIN
4575 J RD                               522 E CENTERVILLE                      ADDRESS ON FILE
RED BUD, IL 62278                       COLUMBIA, IL 62236




MENOSSI, NATALIE D.                     MENSHOUSE, JESSICA D.                  MENSIES, FRANCES
ADDRESS ON FILE                         ADDRESS ON FILE                        495 WINGO CIRCLE
                                                                               TREZEVANT, TN 38258




MENTOR CORPORATION                      MENTOR H/S INC.                        MENTOR WORLDWIDE, LLC
15600 COLLECTIONS CENTER DRIVE          15600 COLLECTIONS CENTER DRIVE         15600 COLLECTIONS CENTER DRIVE
CHICAGO, IL 60693                       CHICAGO, IL 60693-0000                 CHICAGO, IL 60693




MENZIES, FRANCES                        MERACLE, MICHELLE                      MERANDIA GIFFORD
495 WINGO CIRCLE                        ADDRESS ON FILE                        807 N MAIN ST
TREZEVANT, TN 38258                                                            ANNA, IL 62906




MERCADO EDUARDO                         MERCADO, DELIALAH C.                   MERCADO, EDWIN V.
2433 GRUNEWALD APT 2                    ADDRESS ON FILE                        8101 HIGHFIELD COURT
APT 2                                                                          TINLEY PARK, IL 60487
BLUE ISLAND, IL 60406




MERCADO, LISA                           MERCADO, PAOLO P.                      MERCEDES MEDICAL INC
1901 S KIPLING DRIVE                    ADDRESS ON FILE                        P.O. BOX 850001
DEMING, NM 88030                                                               BOX 0123
                                                                               ORLANDO, FL 32885-0123




MERCEDES MEDICAL                        MERCEDES SCIENTIFIC                    MERCEDES SCIENTIFIC
7590 COMMERCE CT                        P.O. BOX 850001                        P.O. BOX 850001
SARASOTA, FL 34243                      BOX 0123                               BOX 0123
                                        ORLANDO, FL 32885-0123                 ORLANDOA, FL 32885-0123




MERCEDES SCIENTIFIC                     MERCER (US) INC                        MERCER CONSUMER
P.O. BOX 850001                         P.O. BOX 13793                         P O BOX 10439
ORLANDO, FL 32885-0123                  NEWARK, NJ 07188-0793                  DES MOINES, IA 50306-0439




MERCER US INC                           MERCER, CHERRY                         MERCER, DEBRA L.
P.O. BOX 730182                         155 MEADOWOOD DR                       605 W BROADWAY BLVD
MERCER HR CONSULTING INC                SPRINGVILLE, TN 38256                  JOHNSTON CITY, IL 62951
DALLAS, TX 75373-0182
MERCER, JESSICA L.      Case 20-10766-BLS
                                      MERCER,Doc
                                               JOAN6  Filed 04/07/20   Page 1190 ofMEGAN
                                                                            MERCER, 1969 M.
980 WALTHER BLVD APT. 818             2725 JACQUELYN LN                     405 PAINT CREEK LANE
LAWRENCEVILLE, GA 30043               WAUKEGAN, IL 60087                    CARMI, IL 62821




MERCHANTS CREDIT ASSOCIATION          MERCHEL, ELIZABETH A.                 MERCHEL, ELIZABETH A.
2245 152ND AVENUE                     713 AIRPORT RD                        ADDRESS ON FILE
REDMOND, WA 98052                     MT VERNON, IL 62864




MERCIER ORCHARDS                      MERCK & CO INC                        MERCK SHARP & DOHME CORP
P O BOX 425                           P.O. BOX 5254                         P.O. BOX 5254
BLUE RIDGE, GA 30513                  CAROL STREAM, IL 60197-5254           CAROL STREAM, IL 60197




MERCK SHARP & DOHME CORP              MERCK SHARP & DOHME CORP              MERCK SHARP & DOHME CORP.
P.O. BOX 5254                         P.O. BOX 5254                         P.O. BOX 5254
CAROL STREAM, IL 60197-5254           CAROL STREAN, IL 60197-5254           CAROL STREAN, IL 60197-5254




MERCURY IRON AND STEEL CO             MERCURY MEDICAL                       MERCY CLINIC OCCUPATIONAL MEDICINE
MISCO REFRACTOMETER                   P.O. BOX 17009                        P.O. BOX 180517
6275 COCHRAN RD                       CLEARWATER, FL 33762-0009             FORT SMITH, AR 72918
SOLON, OH 44139-3316




MERCY CLINIC OCCUPATIONAL MEDICINE    MERCY HEALTH PARTNERS - TOLEDO        MERCY HLTH SYSTEM PPOC-T
P.O. BOX 776075                       1100 NEAL ZICK ROAD                   14528 S OUTER 40 RD
CHICAGO, IL 60677-6075                WILLARD, OH 44890                     SUITE 100
                                                                            CHESTERFIELD, MO 63017




MERCY MEDICAL CENTER INC              MERCY MEDICAL CENTER INC              MERCY MEDICAL CENTER INC
1320 TIMKEN MERCY DR NW               2700 STEWART PARKWAY                  P.O. BOX 951082
CANTON, OH 44708                      ROSEBURG, OR 97471                    CLEVELAND, OH 44193




MERCY MEDICAL CENTER INC              MERCY OCCUPATIONAL HEALTH HOWLAND     MERCY OCCUPATIONAL MEDICINE FORT
P.O. BOX 951087                       ATTN KATHY WALTERS                    SMITH
GENERAL ACCOUNTING                    P.O. BOX 639173                       ACCOUNTS PAYABLE
CLEVELAND, OH 44193                   CINCINNATI, OH 45263-9173             P.O. BOX 776075
                                                                            CHICAGO, IL 60677-6075



MERCY SALAZAR                         MEREDITH FLAHAN                       MEREDITH JOHNSON
P.O. BOX 2721                         ADDRESS ON FILE                       3235 75TH AVE
LAS VEGAS, NM 87701                                                         NEW WINDSOR, IL 61465




MEREDITH NELSON - ITV                 MEREDITH, ALEXA - PETTY CASH          MEREDITH, ALEXA
ADDRESS ON FILE                       ADDRESS ON FILE                       1321 OSAGE ST
                                                                            WYNNE, AR 72396
MEREDITH, ALEXA          Case 20-10766-BLS   Doc
                                       MEREDITH,   6 Filed
                                                 MISCHEL L. 04/07/20         Page 1191 of 1969
                                                                                  MEREDITH, RICKY
ADDRESS ON FILE                         863 W SKYVIEW CROSSING                     504 RIDGEWOOD DRIVE
                                        HERNANDO, FL 34442                         BLUE RIDGE, GA 30513




MEREDITH, RITA A.                       MEREDITH, ROBERT                           MEREDITH, STEPHEN M.
P.O. BOX 35                             2286 WINDISH DR APT 4                      5821 ECHODELL AVE NW
WIDENER, AR 72394                       GALESBURG, IL 61401                        NORTH CANTON, OH 44720




MERENDINO, MEAGAN                       MERETE TECHNOLOGIES INC                    MERGE HEALTHCARE SOLUTIONS INC.
2745 RELDA CIRCLE SW                    ONE LINCOLN CNETER                         P.O. BOX 205824
MASSILLON, OH 44647                     18W140 BUTTERFIELD ROAD 15TH FLOOR         DALLAS, TX 75320-5824
                                        OAK BROOK TERRACE, IL 60181




MERGE HEALTHCARE SOLUTIONS INC.         MERGELKAMP, JANICE                         MERGENS, REBECCA
PO BOX 205824                           9910 STRINGTOWN ROAD                       1244 N LACROIX LN APT 158
DALLAS, TX 75320-5824                   BALDWIN, IL 62217                          TOOELE, UT 84074




MERIDIAN BIOSCIENCE CORP                MERIDIAN CAID                              MERIDIAN CAID
3471 RIVER HILLS DRIVE                  1 CAMPUS MARTIUS SUITE 720                 1 CAMPUS MARTIUS
P.O. BOX 630224                         DETROIT, MI 48226-5012                     SUITE 720
CINCINNATI, OH 45263-0224                                                          DETROIT, MI 48226-5012




MERIDIAN HEALTH PLAN OF IL              MERIDIAN HEALTH PLAN OF IL                 MERIDIAN HEALTH PLAN OF IL
1 CAMPUS MARTIUS SUITE 720              1 CAMPUS MARTIUS SUITE 720                 1 CAMPUS MARTIUS
DETROIT, MI 48226                       DETROIT, MI 48226-5012                     STE 700
                                                                                   DETROIT, MI 48226-5012




MERIDIAN HEALTH PLAN OF IL              MERIDIAN HEALTH PLAN OF IL                 MERIDIAN HEALTH PLAN
1 CAMPUS MARTIUS                        1 CAMPUS MARTIUS                           1 CAMPUS MARITUS
SUITE 720                               SUITE 720                                  STE 720
DETROIT, MI 48226                       DETROIT, MI 48226-5012                     DETROIT, MI 48226




MERIDIAN HEALTH PLAN                    MERIDIAN HEALTH PLAN                       MERIDIAN HEALTH PLAN
1 CAMPUS MARITUS                        1 CAMPUS MARITUS                           1 CAMPUS MARITUS
STE 720                                 SUITE 270                                  SUITE 720 REFUND DEPARTMENT
DETROIT, MI 48226-5012                  DETROIT, MI 48226-5012                     DETROIT, MI 48226-5012




MERIDIAN HEALTH PLAN                    MERIDIAN HEALTH PLAN                       MERIDIAN HEALTH PLAN
1 CAMPUS MARTIUS                        1 CAMPUS MARTIUS                           1001 WOODWARD AVE
SUITE 700                               SUITE 720                                  SUITE 520
DETROIT, MI 48226-5012                  DETRIOT, MI 48226-5012                     DETROIT, MI 48226




MERIDIAN HEALTH PLAN                    MERIDIAN HEALTH PLAN                       MERIDIAN HEALTH PLAN
1001 WOODWARD AVE                       ATTN ACCTS REC                             ATTN CLAIMS DEPARTMENT
SUITE 520                               1 CAMPUS MARTIUS                           1001 WOODWARD AVE
DETROIT, MI 48226-5012                  SUITE 270                                  SUITE 520
                                        DETROIT, MI 48226-5012                     DETROIT, MI 48226-5012
MERIDIAN HEALTH PLAN Case 20-10766-BLS    Doc
                                   MERIDIAN     6 PLAN
                                             HEALTH Filed 04/07/20   Page 1192  of HEALTH
                                                                          MERIDIAN 1969
ATTN: REFUNDS                      ATTN: REFUNDS                           1 CAMPUS MARITUS
1 CAMPUS MARTIUS STE 720           1 CAMPUS MARTIUS                        SUITE 720 REFUND DEPARTMENT
DETROIT, MI 48226                  SUITE 720                               DETROIT, MI 48226
                                   DETROIT, MI 48226-5012



MERIDIAN INSTITUTE OF SURGICAL       MERIDIAN ONE HOLDINGS, LLC            MERIDIAN ONE PARTNERS, LLC
ASSISTING                            2220 IL RT 157                        2246 ILLINOIS ROUTE 157
1507 COUNTY HOSPITAL RD              GLEN CARBON, IL 62034                 SUITE 350
NASHVILLE, TN 37218-2501                                                   GLEN CARBON, IL 62034




MERIDIAN                             MERIDIAN                              MERINO, ELAINE
1 CAMPUS MARTIUS                     P. O. BOX 630224                      ADDRESS ON FILE
SUITE 700 ACCTS REC                  CINCINNATI, OH 45263-0224
DETROIT, MI 48226




MERINO, FRANCISCO J.                 MERION, KRISTY                        MERIT HEALTHCARE INTL INC
31620 BARLOW RD                      ADDRESS ON FILE                       MERIT PHARMACEUTICAL
PHILOMATH, OR 97370                                                        2611 N SAN FERNANDO RD
                                                                           LOS ANGELES, CA 90065




MERIT MEDICAL SYSTEMS INC            MERIT MEDICAL SYSTEMS INC             MERIT MEDICAL SYSTEMS INC
1600 W. MERIT PARKWAY                P.O. BOX 204842                       P.O. BOX 204842
SOUTH JORDAN, UT 84095               DALLAS, TX 75320                      DALLAS, TX 75320-4842




MERIT MEDICAL SYSTEMS INC            MERITAIN HEALTH RECOVERY DEPT         MERITAIN HEALTH RECOVERY DEPT
PO BOX 204842                        P.O. BOX 1260                         P.O. BOX 853921
DALLAS, TX 75320-4842                AMHERST, NY 14226                     RICHARDSON, TX 75085




MERITAIN HEALTH                      MERITAIN HEALTH                       MERITAIN HEALTH
1405 XENIUM LANE NORTH               1405 XENIUM LN N                      ATTN: FINANCE/REFUNDS
SUITE 140                            STE 140                               P.O. BOX 853921
P.O. BOX 41790                       MINNEAPOLIS, MN 55441                 RICHARDSON, TX 75085-3921
MINNEAPOLIS, MN 55441



MERITAIN HEALTH                      MERITAIN HEALTH                       MERITAIN HEALTH
ATTN: REFUND DEPT                    ATTN:REFUNDS                          ATTN:REFUNDS
1405 XENIUM LANE NORTH STE 140       P.O. BOX 853921                       P.O.BOX 853921
MINNEAPOLIS, MN 55441                RICHARDSON, TX 75085-3921             RICHARDSON, TX 75085-3921




MERITAIN HEALTH                      MERITAIN HEALTH                       MERITAIN HEALTH
P O BOX 853921                       P.O. BOX 1260                         P.O. BOX 2726
RICHARDSON, TX 75085                 RECOVERY DEPT                         MINNEAPOLIS, MN 55427-0267
                                     AMHERST, NY 14226




MERITAIN HEALTH                      MERITAIN HEALTH                       MERITAIN HEALTH
P.O. BOX 27267                       P.O. BOX 853921                       P.O. BOX 853921
MINNEAPOLIS, MN 55427-0267           REFUND DEPARTMENT                     RICHARDSON, TX 75085
                                     RICHARDSON, TX 75085-3921
MERITAIN HEALTH        Case 20-10766-BLS    Doc
                                     MERITAIN      6 Filed 04/07/20
                                               HEALTH                 Page 1193  of HEALTH
                                                                           MERITAIN 1969
P.O. BOX 853921                      RECOVERY DEPT                          REFUND DEPARTMENT
RICHARDSON, TX 75085-3921            P.O. BOX 1260                          P.O. BOX 853921
                                     AMHERST, NY 14226                      RICHARDSON, TX 75085-3921




MERITAIN                              MERKEL BERMUDA LIMITED                MERKEL NORTHEAST REGION
1405 XENIUM LANE N SUITE 140          MERKEL HOUSE                          A DVISION OF MARKEL SERVICE, INC.
MINNEAPOLIS, MN 55441                 2 FRONT STREET                        310 HIGHWAY 35 SOUTH
                                      HAMILTON HM11                         RED BANK, NJ 07701-5921
                                      BERMUDA



MERKEL, KEVIN                         MERKELBACH, ANN T.                    MERKHOFER, LANCE G.
3430 MANASAS DR                       12020 VAN BEVEREN                     2259 MURIEL DR
EDWARDSVILLE, IL 62025                ALSIP, IL 60803                       SANTA CRUZ, CA 95062




MERLE, ARNOLD                         MERLENBACH, BRANDI                    MERLENBACH, SONNI
109 BROADWAY AVE                      109 SOUTH LINE STREET                 ADDRESS ON FILE
ALMA, IL 62807                        DU QUOIN, IL 62832




MERLO, JAMES S.                       MERRELL FISHER, CONNIE                MERRELL, DORRIS
3703 W 153RD PLACE                    175 S GARDEN WAY APT 227              1834 HWY 193
MIDLOTHIAN, IL 60445                  EUGENE, OR 97401                      WYNNE, AR 72396




MERRELL, KEVIN A                      MERRELL, MICHELE M.                   MERRIAM, MARY ELIZABETH
1120 ASHER STREET                     ADDRESS ON FILE                       1611 S ALLPORT ST
JASPER, TN 37347                                                            CHICAGO, IL 60608




MERRICK LAW FIRM LLC                  MERRICK MD, BRYAN                     MERRICK, JANET
150 N MICHIGAN AVE                    700 CARROLL LAKE RD                   420 LOST PEAR WAY
STE 800                               MCKENZIE, TN 38201                    SANTA CRUZ, CA 95065
CHICAGO, IL 60601




MERRIE HARGREAVES                     MERRIER, CAROL A.                     MERRIFIELD, BAYLEE
840 PAMETTO DR                        2312 SUNLIGHT RD                      ADDRESS ON FILE
CHARLOTTE, FL 33952                   ELLIJAY, GA 30540




MERRIFIELD, DONNA                     MERRIFIELD, RACHEL                    MERRILL HILL
5109 BOLD SPRING ROAD                 ADDRESS ON FILE                       4602 ASHLEY LANE
DACULA, GA 30019                                                            FULTS, IL 62244




MERRILL LYNCH PIERCE FENNER & SMITH   MERRILL, JORDON M.                    MERRILL, LINDA
C/O DEPOSITORY TRUST CO               ADDRESS ON FILE                       ADDRESS ON FILE
570 WASHINGTON BLVD
CUSTODY REORG
JERSEY CITY, NJ 07310
MERRILL, MATTHEW        Case 20-10766-BLS   DocGWENDILYN
                                      MERRIMAN, 6 Filed 04/07/20         Page 1194  of 1969
                                                                              MERRIMAN, HAILEY
106 SIERRA VISTA DR                   8503 AZURE CT                            ADDRESS ON FILE
APTOS, CA 95003                       TAMPA, FL 33634




MERRITT, DANA J.                      MERRITT, DWIGHT D.                       MERRITT, HAWKINS & ASSOCIATES
245 DEARING WOODS WAY                 114 COLLINS DRIVE                        8840 CYPRESS WATERS BLVD, STE 300
COVINGTON, GA 30014                   MARTIN, TN 38237                         COPPELL, TX 75019




MERRITT, THURMAN A.                   MERRITT, WILLIAM                         MERRIWEATHER, LANESSA P.
2121 MAYFLY ST                        377 RIVER LANDING DR                     3513 GARDENBROOK DR
LEBANON, OR 97355                     MONROE, GA 30656                         AUGUSTA, GA 30906




MERRY DEREK                           MERRY X-RAY CHEMICAL CORP                MERRY X-RAY CHEMICAL CORP
39532 MILL CREEK RD                   4909 MURPHY CANYON RD                    MERRY X-RAY
WADSWORTH, IL 60083                   STE 120                                  4909 MURPHY CANYON RD STE 120
                                      SAN DIEGO, CA 92123-4300                 SAN DIEGO, CA 92123




MERRY X-RAY CORPORATION               MERRY X-RAY CORPORATION                  MERRY X-RAY CORPORATION
4909 MURPHY CANYON RD ST 120          4909 MURPHY CANYON RD STE 120            4909 MURPHY CANYON RD
SAN DIEGO, CA 92123                   SAN DIEGO, CA 92123                      STE 120
                                                                               SAN DIEGO, CA 92123




MERRY X-RAY CORPORATION               MERRY XRAY CORPORATION                   MERRY X-RAY
4909 MURPHY CANYON RD                 4909 MURPHY CANYON RD                    4444 VIEWRIDGE AVE
STE 120                               STE 120                                  STE A
SAN DIEGO, CA 92123-4300              SAN DIEGO, CA 92123-4300                 SAN DIEGO, CA 92123-4300




MERRY X-RAY                           MERRY X-RAY                              MERRY X-RAY, INC
4444 VIEWRIDGE AVE                    4444 VIEWRIDGE AVE                       4444 VIEWRIDGE AVE
STE A                                 SUITE A                                  STE A
SAN DIEGO, OH 92123-4300              SAN DIEGO, CA 92123                      SAN DIEGO, CA 92123




MERRY X-RAY/SOURCE ONE                MERRY XRAY/SOURCEONE HEALTHCARE          MERRY XRAY/SOURCEONE HEALTHCARE
4909 MURPHEY CANYON ROAD              4444 VIEW RIDGE AVE STE A                4444 VIEWRIDGE AVE
STE 120                               SAN DIEGO, CA 92123                      STE A
SAN DIEGO, CA 92123-0000                                                       SAN DEIGO, CA 92123




MERRY XRAY/SOURCEONE HEALTHCARE       MERRY XRAY/SOURCEONE HEALTHCARE          MERRY XRAY/SOURCEONE HEALTHCARE
4909 MURPHY CANYON RD                 4909 MURPHY CANYON RD                    4909 MURPHY CANYON RD
STE 120                               STE 120                                  STE 120
SAN DEIGO, CA 92123                   SAN DIEGO, CA 92123                      SAN DIEGO, CA 92123-0000




MERRY XRAY/SOURCEONE HEALTHCARE       MERRY X-RAY/SOURCEONE HEALTHCARE         MERRYMAN, JANICE
4909 MURPHY CANYON RD                 P.O. BOX 8004                            117 VICTORIA STREET
SUITE 120                             MENTOR, OH 44061-8004                    MARTIN, TN 38237
SAN DIEGO, CA 92123
MERRYMAN, JASON          Case 20-10766-BLS  Doc 6 LLC
                                       MERRYMAN-FARR Filed 04/07/20         Page 1195  of 1969
                                                                                 MERSINGER, KAREN A
ADDRESS ON FILE                          305 HILL AVE                             8136 W KIRSCH ROAD
                                         NASHVILLE, TN 37210                      TROY, IL 62294




MERSINO, ALEXANDRIA M.                   MERSON, BERNARD                          MERTAIN HEALTH
ADDRESS ON FILE                          520 N GENESEE ST APT 323                 1405 XENIUM LANE NORTH
                                         WAUKEGAN, IL 60085                       STE 140
                                                                                  MINNEAPOLIS, MN 40742




MERTEL                                   MERTES CHRISTIN                          MERTZ, DON L
55 WATER ST, 32ND FL                     445 DARBY CREEK ROAD                     425 TRAVER TINE CIRCLE
NEW YORK, NY 10041                       APARTMENT A                              MILLSTADT, IL 62260
                                         LEXINGTON, KY 40509-1299




MERTZ, HAYLEY                            MERWIN, STEVEN R                         MERZ NORTH AMERICA, INC
ADDRESS ON FILE                          85882 MCBETH RD                          P.O. BOX 10973
                                         EUGENE, OR 97405                         PALATINE, IL 60055-0973




MESA ENERGY SYSTEMS INC                  MESA LABORATORIES, INC.                  MESA VIEW MED STAFF FUND
EMCOR SERVICES NEVADA                    12100 WEST SIXTH AVENUE                  ATTN: HEATHER GATELY
2 CROMWELL                               LAKEWOOD, CO 80228                       1299 BERTHA HOWE AVE
IRVINE, CA 92618                                                                  MESQUITE, NV 89027




MESA VIEW PHYSICAL REHABILITATION, LLC   MESA VIEW PHYSICAL REHABILITATION, LLC   MESA VIEW REGIONAL HOSPITAL
701 S. CARSON STREET                     M V/MESQUITE PHYS THERAPY                ENTITY 1531
SUITE 200                                P.O. BOX 757                             1299 BERTHA HOWE AVENUE
CARSON CITY, NV 89701                    MESQUITE, NV 89024-0757                  MESQUITE, NV 89027




MESA, KIMBERLY A.                        MESECHER, LORETTA R.                     MESEKE, DAVID
ADDRESS ON FILE                          ADDRESS ON FILE                          27 SEQUOIA
                                                                                  TROY, IL 62294




MESENBRINK, JASON                        MESHEKOW, ALAN DO                        MESHEKOW, ALAN L.
328 CLIFTON DR                           3802 TELFORD DR SW                       3802 TELFORD DR NW
ROUND LAKE PARK, IL 60073                CANTON, OH 44718                         CANTON, OH 44718




MESILLA VALLEY ANESTHESIOLOGY PC         MESKER, ELIZABETH H.                     MESKIMEN, NANCY A.
C/O RICE & RICE, CPAS                    ADDRESS ON FILE                          10739 S AVERS
1065 S MAIN STREET SUITE E                                                        CHICAGO, IL 60655
LAS CRUCES, NM 88030




MESNARICH, GINA L.                       MESQUITE ANESTHESIA SVCS LLC             MESQUITE AZ LLC
ADDRESS ON FILE                          P.O. BOX 1612                            4511 W CHEYENNE AVE 601
                                         SEDALIA, MO 65302-1612                   NORTH LAS VEGAS, NV 89032
                     Case 20-10766-BLS
MESQUITE CHAMBER OF COMMERCE              Doc
                                   MESQUITE    6 MANAGEMENT
                                            CLINIC Filed 04/07/20   Page 1196 of 1969
                                                                         MESQUITE COMMUNITY
11 W PIONEER BLVD                  COMPANY, LLC                          EDUCATION FOUNDATION
STE C                              1209 ORANGE STREET                    P.O. BOX 2784
MESQUITE, NV 89027                 WILMINGTON, DE 19801                  MESQUITE, NV 89024




MESQUITE ELECTRIC LLC               MESQUITE FIRE RESCUE                 MESQUITE POLICE DEPT
P.O. BOX 2355                       10 EAST MESQUITE BLVD                695 MAYAN CIRCLE
MESQUITE, NV 89024-2355             ATTN MESA VIEW PARAMED               MESQUITE, NV 89027
                                    MESQUITE, NV 89027




MESQUITE ROTARY CLUB FOUNDATION     MESQUITE TILE & FLOORING INC         MESSAMORE, CAROL A.
P.O. BOX 2528                       521 W MESQUITE BLVD                  1840 BALCOM RD
MESQUITE, NV 89024                  STE A                                ANNA, IL 62906
                                    MESQUITE, NV 89027




MESSAMORE, CAROL A.                 MESSAMORE, KELLY                     MESSER ERIN K
ADDRESS ON FILE                     ADDRESS ON FILE                      9465 POSSUM HILL RD
                                                                         WORDEN, IL 62097




MESSER LLC                          MESSER, CHRISTY M.                   MESSER, FLEM
88718 EXPEDITE WAY                  ADDRESS ON FILE                      90 ROBERTSON SUB DIVISION
CHICAGO, IL 60695-1700                                                   PRICHARD, WV 25555




MESSER, KAREN                       MESSER, LLC                          MESSER, MINERVA J.
28881 ROUTE 52                      88718 EXPEDITE WAY                   ADDRESS ON FILE
FORT GAY, WV 25514                  CHICAGO, IL 60695-1700




MESSER, RICHARD C                   MESSER, TYLER                        MESSERE MAXINE M
545 ADA STREET                      3045 GREEN PARK ST NW                23720 DAYFIELD CT
BLUE RIDGE, GA 30513                MASSILLON, OH 44646                  PLAINFIELD, IL 60586




MESSERLE ELIZABETH ANNE             MESSERLY, SANDRA                     MESSICK, JUSTINE M.
1954 ROSEBURG RD                    OR DAVID MESSERLY                    ADDRESS ON FILE
MYRTLE POINT, OR 97458              12734 BARBARA ST SW
                                    MASSILLON, OH 44647-9641




MESSMORE, MARK W.                   MESSNER REEVES LLP                   MESZAROS, MICHELLE L.
ADDRESS ON FILE                     1430 WYNKOOP ST                      327 VILLAGE CREEK RD
                                    STE 300                              APTOS, CA 95003
                                    DENVER, CO 80202




MET LIFE AUTO & HOME                META ANALYTICS                       METAL MARKET INC
P.O. BOX 2204                       1009 WEST 28TH AVE                   1402 WALLACE AVE NE
CHARLOTTE, NC 28241                 EUGENE, OR 97405                     FT PAYNE, AL 35967
METAL-FORM MFG CO        Case 20-10766-BLS   DocLAB
                                       METAMARK   6      Filed 04/07/20    Page 1197 of MEGHANN
                                                                                METCALF, 1969 N.
5960 W WASHINGTON ST                    985 BROAD ST                            P O BOX 1363
PHOENIX, AZ 85043                       STE A                                   BIG SPRING, TX 79721
                                        AUGUSTA, GA 30901




METCALF, TERRILISHA                     METHODIST HEALTCHARE-LEXINGTON          METHODIST HEALTH, INC.
1034 VINCENT STREET                     HOSPITAL                                1305 NORTH ELM STREET
CLARKSDALE, MS 38614                                                            HENDERSON, KY 42420




METHODIST REFERENCE LAB                 METLIFE                                 METLIFE
221 NE GLEN OAK AVE                     P.O. BOX 6040                           P.O. BOX 6040
PEORIA, IL 61636                        ATTN: CLAIMS                            SCRANTON, PA 18505
                                        SCRANTON, PA 18505




METRO CABS 1 LLC                        METRO COMPUTER SOLUTIONS                METRO EAST IL-SHRM
3351 W ADDISON                          2355 PONTOON ROAD                       P.O. BOX 3
CHICAGO, IL 60618                       GRANITE CITY, IL 62040                  COLLINSVILLE, IL 62234




METRO HARDWOODS                         METRO INFECTIOUS DISEASE CONSULT        METRO MEDICAL
90 W LAKE DRIVE                         901 MC CLINTOCK DRIVE STE 202           200 CUMBERLAND BEND
GLENDALE HEIGHTS, IL 60139              BURR RIDGE, IL 60527                    NASHVILLE, TN 37228-0000




METRO OFFICE SOLUTIONS                  METROPOLITAN LIFE INS COMPANY           METROPOLITAN MEDICAL SERVICES OF NC,
P.O. BOX 306003                         P.O. BOX 13863                          INC
NASHVILLE, TN 37230-6003                PHILADELPHIA, PA 19101-3863             15 WESTSIDE DRIVE
                                                                                ASHEVILLE, NC 28806




METROPOLITAN TRUSTEE                    METROPOLITAN WATER RECL DIST            METROPOLITAN WATER RECL DIST
PERSONAL PROPERTY TAX DEPT              100 E ERIE ST                           OF GREATER CHICAGO
P.O. BOX 305012                         CHICAGO, IL 60611                       CHICAGO, IL 60694
NASHVILLE, TN 37230-5012




METROPOLITAN WATER RECLAMATION          METROPOLITAN WATER RECLAMATION          METROSOUTH HOME HEALTH
DISTRICT OF GREATER CHICAGO             DISTRICT OF GREATER CHICAGO             11600 S. KEDZIE
LOCKBOX 98429                           LOCKBOX 98429                           SUITE J
CHICAGO, IL 60693                       CHICAGO, IL 60694                       MERRIONETTE PARK, IL 60803




METROSOUTH MEDICAL CENTER               METTER, ABBEY                           METTER, ABBEY
ENTITY 1565                             948 N METTER AVE                        948 NORTH METTER
12935 SOUTH GREGORY STREET              COLUMBIA, IL 62236                      COLUMBIA, IL 62236
BLUE ISLAND, IL 60406




METTER, JESSIE                          METTLER - TOLEDO, RAININ LLC            METTLER, KIMBERLY
1565 LEWIS RD                           P.O. BOX 13505                          805 S 10TH ST
EDWARDSVILLE, IL 62025                  NEWARK, NJ 07188-0505                   MONMOUTH, IL 61462
                     Case
METZ CULINARY MANAGEMENT,   20-10766-BLS
                          INC.              Doc
                                     METZGER,     6 Filed
                                               DEBORAH   L  04/07/20   Page 1198 of 1969
                                                                            METZGER, DIANE
2 WOODLAND DRIVE                     7939 WHITE TAIL CIRCLE                 1515 E DEYOUNG APT 123
DALLAS, PA 18612                     WATERLOO, IL 62298                     MARION, IL 62959-5098




METZGER, EUGENE RICHARD               METZGER, KOURTNEY                     METZGER, MARY
6620 B ST                             463 PRIMEROSE LN                      GRANITE NURSING REHAB
SPRINGFIELD, OR 97478                 MESQUITE, NV 89027                    3500 CENTURY DRIVE
                                                                            GRANITE CITY, IL 62040




MEURER, LINDA                         MEXICAN HONORARY COMMISION            MEYER & NJUS, P.A.
417 HIGH POINT DRIVE                  ATTN JOE VALENCIA                     200 SOUTH SIXTH ST
EDWARDSVILLE, IL 62025                2535 E 27TH ST                        MINNEAPOLIS, MN 55402
                                      GRANITE CITY, IL 62040




MEYER ALBERT                          MEYER BEVERLY                         MEYER KYLE L
2148 BENTON ST                        2848 GRAND AVE                        5752 BRIARS LANDING
GRANITE CITY, IL 62040                GRANITE CITY, IL 62040                MILLSTADT, IL 62260




MEYER NJUS TANICK                     MEYER PT                              MEYER ROOFING, INC
PA ATTORNEY FOR PLANTIFF              P.O. BOX 638256                       3950 N. DIRKSEN PARKWAY
33 N DEARBORN ST, STE 1301            CINCINNATI, OH 45263-8256             SPRINGFIELD, IL 62707-0000
CHICAGO, IL 60602




MEYER TRUCK EQUIPMENT                 MEYER, BRANDI                         MEYER, BRANDI
196 W.STATE ROAD                      ADDRESS ON FILE                       ADDRESS ON FILE
JASPER, IN 47546-0000




MEYER, CECILIA A.                     MEYER, CHARLES                        MEYER, DIANE L.
524 S. MARKET ST                      210 W PLUM                            ADDRESS ON FILE
MARION, IL 62959                      KIRKWOOD, IL 61447




MEYER, JONI                           MEYER, KAILEE                         MEYER, LAURIE
5280 TRINITY LN                       8120 ESCONDIDO AVE                    P.O. BOX 323
COLLINSVILLE, IL 62234                OAK HILLS, CA 92344                   ALPHA, IL 61413




MEYER, LISA A.                        MEYER, LOUIS                          MEYER, SHARI L.
525 MAYO DRIVE                        1975 BANYAN TREE ROAD                 208 POWELL ST
TOOELE, UT 84074                      COLLINSVILLE, IL 62234                TROY, IL 62294




MEYER, SHIRLEY M.                     MEYER, TRISHA                         MEYERHOFF, KERRY J.
1124 RAYMOND DRIVE                    1380 OLD ROUTE 146 LOOP               3300 GENTRY ROAD
RED BUD, IL 62278                     VIENNA, IL 62995                      MAKANDA, IL 62958
MEYERS, JOE DONALD      Case 20-10766-BLS   Doc
                                      MEYERS,    6 M. Filed 04/07/20
                                              LAURA                    Page 1199 ofSHELBA
                                                                            MEYERS, 1969
850 N 67TH PL                           1628 N. WEST ST.                    P.O. BOX 4823
SPRINGFIELD, OR 97478                   GALESBURG, IL 61401                 PARKSVILLE, SC 29844




MEYERS, SHELLEY                         MEYERS, TREVOR                      MEYLAN LOWE-WATLER
15 RUSHTON DR                           15 RUSHTON DR                       P.O. BOX 2563
MT VERNON, IL 62864                     MT VERNON, IL 62864                 KEY WEST, FL 33045-2563




MEZA ROSALINDA                          MEZA, LORENA                        MEZA, MARIA R.
14445 SAN FRANCISCO                     24 B LEWIS RD                       1468 MODOC AVE.
POSEN, IL 60469                         ROYAL OAKS, CA 95076                SALINAS, CA 93906




MEZO KIMBERLY                           MEZO, JESSICA                       MF ATHLETIC CO INC
575 DIVISION ST                         4260 US HWY 45 S                    1600 DIVISION RD
VERGENENES, IL 62994                    HARRISBURG, IL 62946                WEST WARWICK, RI 02893




MFA OIL COMPANY                         MGMA-ACMPE                          MHAPSEKAR, SHAILEN
P.O. BOX 843784                         MEDICAL GROUP MANAGEMENT            2425 PLAYTHRU AVE DR SE
KANSAS CITY, KS 64184-3784              ASSOCIATIO                          DEMING, NM 88030
                                        P.O. BOX 17603
                                        DENVER, CO 80217-0603



MHBP AETNA                              MHBP                                MHBP
ATTN: REFUNDS                           ATTN: FINANCE/REFUNDS               P.O. BOX 981106
P.O. BOX 981106                         P.O. BOX 8402                       EL PASO, TX 79998-1106
EL PASO, TX 79998                       LONDON, KY 40742




MHMC ENTERPRISES LLC DBA FLOORS         MHNET CLAIMS DEPARTMENT             MHNET
8411 LOCKHEED                           ATTN: REFUNDS DEPARTMENT            P.O. BOX 731233
SUITE 14                                P.O. BOX 7802                       DALLAS, TX 75373
EL PASO, TX 79925                       LONDON, KY 40752




MHS ATHLETIC OFFICE                     MHS FOOTBALL PARENTS ASSOC          MIA BUTTELMAN
1700 WILDCAT DRIVE                      P.O. BOX 1795                       29 PINE DR
MARION, IL 62959                        MARION, IL 62959                    HOMOSASSA, FL 34446-4621




MIA GERLI                               MIANNIA, LESTER                     MIARS, PATTY DELORIS
116 NORTH MEYER AVE                     4323 HEWLETT ROAD                   1284 S 58TH ST
VALMEYER, IL 62295                      FORT GAY, WV 25514                  SPRINGFIELD, OR 97478




MICAH RENFROE                           MICCI, GINA M.                      MICHAEL A OUTLAW
5824 HIGHWAY 104 N                      ADDRESS ON FILE                     ADDRESS ON FILE
CEDAR GROVE, TN 38321
MICHAEL BEECHAM           Case 20-10766-BLS
                                        MICHAELDoc  6 Filed 04/07/20
                                                BIERMAN                Page 1200  ofCARPENTER
                                                                            MICHAEL  1969
4420 HENDERSON RD                        ADDRESS ON FILE                    310 MARGARET THACKER LANE SW
SARDIS, TN 38371                                                            FORT PAYNE, AL 35968




MICHAEL CASH                             MICHAEL COPE                       MICHAEL COTTON
1006 W 4TH ST                            P.O. BOX 1151                      126 RIVER RUN TRAIL
FULTON, KY 42041                         LOGANDALE, NV 89021                GADSDEN, AL 35901-8607




MICHAEL D CLARK                          MICHAEL DELANEY MD                 MICHAEL FITZGIBBON
PO BOX 2219                              ADDRESS ON FILE                    16713 S SUNSET RIDGE CT
MEMPHIS, TN 38101-2219                                                      LOCKPORT, IL 60441




MICHAEL G MORECK                         MICHAEL GRIST                      MICHAEL HALSTEAD, SCOTT TOWLE,
2982 SHORON DR SE                        13 W SOUTHCREST CIRCLE             WAYNE SCHOLZ, WILLIAM HOLMES
NEW PHILADELPHIA, OH 44663               EDWARDSVILLE, IL 62025             THERIAULT & JOSLIN, PC
                                                                            ATTN: PETER B. JOSLIN, ESQ.
                                                                            141 MAIN ST, STE 4
                                                                            MONTPELIER, VT 05602

MICHAEL HOLT                             MICHAEL HOWARD                     MICHAEL J DEPREZ & BERNADETTE
1437 STONEY POINTE DRIVE                 ADDRESS ON FILE                    DEPREZ TEN COM
NORTH CANTON, OH 44720                                                      9613 POST OAK DR
                                                                            OOLTEWAH, TN 37363-8023




MICHAEL J SEDON                          MICHAEL J SESSIONS                 MICHAEL J. CULOTTA
1541 48TH ST NW                          19166 HWY 10 E                     ADDRESS ON FILE
CANTON, OH 44709                         PINE APPLE, AL 36768




MICHAEL J. CULOTTA                       MICHAEL JONES                      MICHAEL KIRK
ADDRESS ON FILE                          5327 N STATE ROUTE 159             ADDRESS ON FILE
                                         EDWARDSVILLE, IL 62025-0000




MICHAEL NORDSTROM                        MICHAEL P DOUZUK JR                MICHAEL PARRELLA
9 COBBLESTONE CT                         ADDRESS ON FILE                    ADDRESS ON FILE
GRANITE CITY, IL 62040




MICHAEL PATRICK P                        MICHAEL R KACIE MATTHEW            MICHAEL SALGER
2900 20TH PL                             504 ELM STREET                     ADDRESS ON FILE
NORTH CHICAGO, IL 60064                  BUNKER HILL, IL 62014




MICHAEL SAMBLANET                        MICHAEL SCHNEIDER                  MICHAEL SHELTON
6902 THICKET ST NW                       ADDRESS ON FILE                    ADDRESS ON FILE
CANTON, OH 44708
MICHAEL STEBBINS         Case 20-10766-BLS
                                       MICHAELDoc  6 Filed 04/07/20
                                               VICKERS                Page 1201  ofVICKERS
                                                                           MICHAEL  1969
431 JACKSON ST                          P.O. BOX 202                        PO BOX 202
MASCOUTAH, IL 62258                     GLADSTONE, IL 61437                 GLADSTONE, IL 61437




MICHAEL W BAILEY                        MICHAEL W MCCLEERY                  MICHAEL WARNER
3411 JULIA AVE                          2701 SYDNEY ST                      1890 DOUBLE SPRINGS CHURCH RD SW
AUGUSTA, GA 30906                       ROSWELL, NM 88201                   MONROE, GA 30656-4628




MICHAEL WOLOWINA                        MICHAEL, BRUCE                      MICHAEL, MCKELVY L
16338 OXFORD DR                         36830 US HIGHWAY 11                 103 N 10TH ST
TINLEY PARK, IL 60477-1740              VALLEY HEAD, AL 35989-3707          WEST HELENA, AR 72390




MICHAEL, NIQUETTE                       MICHAELA MORRISON                   MICHAELIS, MARY CUSTODIAN
4122 SR 6                               5024A WOODMONT BLVD                 ADDRESS ON FILE
LEE, FL 32059                           NASHVILLE, TN 37205




MICHAELIS, MARY                         MICHAELIS, NENA L.                  MICHAEL-RAY, JEFFREY GONZALES
ADDRESS ON FILE                         ADDRESS ON FILE                     550 VEGAS DRIVE
                                                                            LAS VEGAS, NM 87701




MICHAELS, KELLY                         MICHAELS, RACHEL L.                 MICHAELS, SUZETTE
11820 DORENA CIRCLE                     ADDRESS ON FILE                     507 RACHEL CR NW
UNIONTOWN, OH 44685                                                         MASSILLON, OH 44646-3520




MICHAL WHITE                            MICHAL, MATRAS                      MICHALCZEWSKI, THERESE E.
633 9TH STREET                          2009 GOLF COURSE VIEW               8242 WHEELER DR
EVANSTON, WY 82930                      EDWARDSVILLE, IL 62025              ORLAND PARK, IL 60462




MICHALE, SCRONCE                        MICHALEC, KRISTIN M.                MICHEAL, BUCHEN
P.O. BOX 762                            16778 HILLTOP AVE                   28400 N BUCHEN RD
LOGANDALE, NV 89021                     ORLAND HILLS, IL 60487              AVON, IL 61415




MICHEAL, HAFERKAMP                      MICHEAL, JONES                      MICHEAL, NOAH
3275 CROCKER RD                         ADDRESS ON FILE                     2098 BROADVIEW ST
EUGENE, OR 97404-1695                                                       EUGENE, OR 97405-5536




MICHEL, ANDREA                          MICHELE BRILEY                      MICHELE RAINES
2602 GIDEON AVE                         1700 ONTARIO DRIVE                  5328 RABBIT FARM RD
ZION, IL 60099                          WATERLOO, IL 62298                  LOGANVILLE, GA 30052-4243
MICHELE ROPER            Case 20-10766-BLS
                                       MICHELEDoc 6 Filed 04/07/20
                                               STURM                 Page 1202  ofSULLIVAN
                                                                          MICHELE  1969
P.O. BOX 1024                           ADDRESS ON FILE                    509 WEST ROYALE
HELENDALE, CA 92342                                                        GOREVILLE, IL 62939




MICHELE TALLA                           MICHELE WATKINS                    MICHELLE BARBER
ADDRESS ON FILE                         442 KNOX RD 600 N                  ADDRESS ON FILE
                                        ABINGDON, IL 61410




MICHELLE BORN                           MICHELLE BOWEN                     MICHELLE BROWN
ADDRESS ON FILE                         ADDRESS ON FILE                    ADDRESS ON FILE




MICHELLE BURWELL, PA-C                  MICHELLE CANTERBURY                MICHELLE CUNNINGHAM
15882 EAST KNOX ROAD                    2021 FERN DRIVE                    665 WEAVER LANE
MT. VERNON, IL 62864                    LOUISA, KY 41230                   BUNCOMBE, IL 62912




MICHELLE DARNELL                        MICHELLE DUTTON                    MICHELLE F HARDISON
ADDRESS ON FILE                         1139 E BROADWAY                    ADDRESS ON FILE
                                        MONMOUTH, IL 61462




MICHELLE HUNSAKER                       MICHELLE KENT                      MICHELLE KINGERY
614 N 5TH ST                            ADDRESS ON FILE                    ADDRESS ON FILE
VIENNA, IL 62995




MICHELLE L HENRY                        MICHELLE MORENO                    MICHELLE R LONGWEDEL
8800 TRAPHAGEN ST NW                    P.O. BOX 2385                      506 CHALET DR
MASSILLON, OH 44646-0000                OVERTON, NV 89040                  MESQUITE, NV 89027




MICHELLE R VOEGELE                      MICHELLE RICHARDSON                MICHELLE SCHNEIDER
938 N CHERRY ST                         25617 S LINDEN AVE                 6 KENSINGTON
GALESBURG, IL 61401                     MONEE, IL 60449-8524               COLLINSVILLE, IL 62234




MICHELLE SHEETS                         MICHELLE STOVER                    MICHELLE TANNER
306 MARKET ST NE                        231 STOVER RD                      1315 HICKORY CR
NAVARRE, OH 44662                       EARLE, AR 72331                    AUBURN, GA 30011




MICHELLE TUCKER                         MICHELLE WHEAT                     MICHELS, LAURIE A.
2044 BYNUM RD                           ADDRESS ON FILE                    31 BLACKHAWK
DRESDENE, TN 38225                                                         THORNTON, IL 60476
MICHELSON, HEATHER       Case 20-10766-BLS   DocKIMBERLY
                                       MICHELSON, 6 Filed 04/07/20           Page 1203  of STATE
                                                                                  MICHIGAN 1969 DISBURSEMENT UNIT
ADDRESS ON FILE                         20 INNSBROOK DR                            P O BOX 30350
                                        WRIGHT CITY, MO 63390                      LANSING, MI 48909-7850




MICHUDA, CASEY                          MICK RICH CONTRACTORS INC                  MICK, MARCELLA
1048 W 32ND APT 1F                      P.O. BOX 90727                             1802 N HOLMES DRIVE
CHICAGO, IL 60608                       ALBUQUERQUE, NM 87199                      MARION, IL 62959




MICKELSON, CONSTANCE                    MICKELSON, VALISA R.                       MICKEY, WALTER B.
ADDRESS ON FILE                         717 HAFEN LN 3D                            5251 DUKE DRIVE
                                        MESQUITE, NV 89027                         FAIRVIEW HEIGHTS, IL 62208




MICKIE OSBORN                           MICRO FORMAT INC                           MICRO TECH ENDOSCOPY USA INC
201 N SUNNY LANE                        830-3 SETON COURT                          2855 BOARDWALK DRIVE
MONMOUTH, IL 61462                      WHEELING, IL 60090                         ANN ARBOR, MI 48104




MICROAIRE SURGICAL INSTRUMENTS INC      MICROAIRE SURGICAL INSTRUMENTS INC         MICROAIRE SURGICAL INSTRUMENTS INC
LOCK BOX 96565                          LOCK BOX 96565                             LOCK BOX 96565
CHICAGO, IL 60693                       CHICAGO, IL 60693                          CHICAGO,, IL 60693




MICROAIRE SURGICAL INSTRUMENTS LLC      MICROAIRE                                  MICROBIOLOGICS, INC
LOCK BOX 96565                          3590 GRAND FORKS BOULEVARD                 200 COOPER AVENUE NORTH
CHICAGO, IL 60693                       CHARLOTTESVILLE, VA 22911                  ST CLOUD, MN 56303




MICROBIOME HEALTH RESEARCH              MICROBIOME HEALTH RESEARCH                 MICROCODE INC
INSTITUTE INC                           INSTITUTE INC                              P.O. BOX 110576
2067 MASSACHUSETTS AVE 3RD FLOOR        OPEN BIOME                                 LAKEWOOD RANCH, FL 34211-0576
CAMBRIDGE, MA 02140                     2067 MASSACHUSETTS AVE 3RD FLOOR
                                        CAMBRIDGE, MA 02140



MICROFORMAT INC                         MICROLINE SURGICAL INC                     MICROLINE SURGICAL INC
830 SETON COURT, SUITE 3                P.O. BOX 392205                            P.O. BOX 392205
WHEELING, IL 60090                      PITTSBURGH, PA 15251                       PITTSBURGH, PA 15251-0000




MICROLINE SURGICAL INC                  MICROMED LLC                               MICRONET - ICASP
P.O. BOX 392205                         8730 COMMERCE PARK PLACE, STE E            1250 S GROVE AVE STE 200
PITTSBURGH, PA 15251-9205               INDIANAPOLIS, IN 46268                     BARRINGTON, IL 60010




MICROPORT CRM USA, INC                  MICROPORT ORTHOPEDICS INC                  MICROPORT ORTHOPEDICS INC
5377 AIRLINE ROAD                       P.O. BOX 842005                            P.O. BOX 842005
ARLINGTON, TN 38002                     (WRIGHT MEDICAL ORTHORECON)                DALLAS, TX 75284
                                        DALLAS, TX 75284-2005
MICROPORT ORTHOPEDICSCase
                      INC 20-10766-BLS    DocORTHOPEDICS
                                   MICROPORT    6 Filed 04/07/20      Page 1204 of 1969
                                                                           MICROSCOPE SERVICE & REPAIR, INC
P.O. BOX 842005                    PO BOX 842005                            314 CALKOUN AVE
DALLAS, TX 75284-2005              DALLAS, TX 75284                         GREENWOOD, SC 29649




MICROSOFT CORPORATION 2800          MICROSOFT CORPORATION                   MICROSOFT CORPORATION
C/O BANK OF AMERICA - LB 842467     C/O BANK OF AMERICA - LB 842467         C/O BANK OF AMERICA - LB 842467
1950 N STEMMONS FWY - STE 5010      1950 N STEMMONS FWY - STE 5010          1950 N STEMMONS FWY - STE 5010
DALLAS, TX 75207                    P.O. BOX 847833                         P.O. BOX 847833
                                    DALLAS, TX 75207                        DALLAS, TX 75284



MICROSOFT LICENSING, GP             MICROSURGICAL TECHNOLOGY                MICROSURGICAL TECHNOLOGY
C/O BANK OF AMERICA - LB 842467     8415 154TH AVE NE                       P.O. BOX 2679
1950 N STEMMONS FWY STE 5010        REDMOND, WA 98052                       REDMOND, WA 98073
P.O. BOX 847833
DALLAS, TX 75207-0000



MICROSURGICAL TECHNOLOGY            MICROSURGICAL TECHNOLOGY                MICROTEK MEDICAL INC (DIVISION OF
P.O. BOX 74007048                   PO BOX 74007048                         ECOLAB)
CHICAGO, IL 60674-7048              CHICAGO, IL 60674                       FILE 4033P
                                                                            P.O. BOX 911633
                                                                            DALLAS, TX 75391-1633



MICROTEK MEDICAL INC                MICROTEK MEDICAL INC                    MICROTEK MEDICAL INC
DIVISION OF ECOLAB                  FILE 4033P P.O. BOX 911633              FILE 4033P
FILE 4033P, P.O. BOX 911633         DALLAS, TX 75391-1633                   P.O. BOX 911633
DALLAS, TX 75391-1633                                                       DALLAS, TX 75391




MICROTEK MEDICAL INC                MICROTEK MEDICAL                        MID AMERICA PSYCHIATRIC CONSULTANTS
FILE 4033P                          FILE 4033P, PO BOX 911633               2120 MADISON AVE
P.O. BOX 911633                     DALLAS, TX 75391-1633                   STE 404
DALLAS, TX 75391-1633                                                       GRANITE CITY, IL 62040




MID AMERICA TRANSIT, INC            MID CENTRAL OPERATING ENG               MID DELTA RADIOLOGY ASSOCIATES, LLC
P.O. BOX 4565                       P O BOX 9605                            130 RIVERCLUB CIRCLE
FAIRVIEW HEIGHTS, IL 62208          TERRE HAUTE, IN 47808                   CLARKSDALE, MS 38614-0000




MID VALLEY AMBULANCE                MID-AMERICA TRANSPLANT SERV             MIDAMERICAN ENERGY SERVICES LLC
609 NW COAST STREET                 1110 HIGHLANDS PLAZA DR EAST            P.O. BOX 8019
NEWPORT, OR 97365-3409              STE 100                                 DAVENPORT, IA 52808-8019
                                    ST. LOUIS, MO 63110




MIDAMERICAN ENERGY SVCS LLC         MIDCAP, VALERIE                         MIDCENTRAL OPERATING ENGINE
320 LECLAIRE                        8175 HIGH MILL AVE                      P.O. BOX 9605
P.O. BOX 4290                       CANAL FULTON, OH 44614                  TERRA HAUTE, IN 47808
DEVENPORT, IA 52808-4290




MIDCENTRAL OPERATING ENGINE         MIDDELTON, BRANDON                      MIDDLE KY COMMUNITY ACTION
PO BOX 9605                         614 SUPERIOR ST                         PARTNERSHIP, INC.
TERRA HAUTE, IN 47808               IRVINGTON, IL 62848                     WOLFE COUNTY HEAD START
                                                                            228 COMMUNITY PARK ROAD
                                                                            CAMPTON, KY 41301
                      Case 20-10766-BLS
MIDDLE TENNESSEE ELECTRIC                  Doc 6 LISAFiled 04/07/20
                                    MIDDLEBROOK,                        Page 1205  of 1969KOURTNE L.
                                                                             MIDDLEBROOKS,
MEMBERSHIP CORP, THE                6312 HWY 1N                              P.O.BOX 82
P.O. BOX 330008                     COLT, AR 72326                           ROBERSONVILLE, NC 27871
MURFREESBORO, TN 37133-0008




MIDDLEBROOKS, MICHAEL B               MIDDLETON, AMANDA E.                   MIDDLETON, CANDACE
4407 FLINT DRIVE                      2338 PRIMROSE ST                       ADDRESS ON FILE
FORT PAYNE, AL 35967-3209             EUGENE, OR 97402




MIDDLETON, ELIZABETH D.               MIDDLETON, JENNIFER                    MIDDLETON, JERRY
616 OLD MILITARY RD                   538 WESTOVER RD 231                    1740 COUNTY RD 3
COLT, AR 72326-0000                   BIG SPRING, TX 79720                   GEORGIANA, AL 36033-6463




MIDDLETON, VICKI L.                   MIDGETT, REGINA                        MIDGLEY-HUBER INC
ADDRESS ON FILE                       11720 S ELIZABETH ST                   P.O. BOX 26187
                                      CHICAGO, IL 60643-5120                 SALT LAKE CITY, UT 84126




MIDJIT MARKET INC                     MIDLAND COLLEGE                        MIDLAND FUNDING LLC
GREEN VALLEY GROCERY                  ATTN: CASHIER                          LLOYD & MCDANIEL, PLC
1580 S JONES BLVD                     3600 NORTH GARFIELD                    P.O. BOX 23200
LAS VEGAS, NV 89146                   MIDLAND, TX 79705                      LOUISVILLE, KY 40223-0200




MIDLAND FUNDING LLC                   MIDLAND FUNDING LLC                    MIDLAND REPORTER TELEGRAM
P.O. BOX 2121                         P.O. BOX 70069                         HEARST NEWSPAPER II, LLC
WARREN, MI 48090                      LOUISVILLE, KY 40223-0200              P.O. BOX 80074
                                                                             PRESCOTT, AZ 86304-8074




MIDLAND, TEXAS ORTHOPEDIC GROUP       MIDLOTHIAN AREA CHAMBER OF             MIDOCEAN PARTNERS- FM
P.O. BOX 5556                         COMMERCE                               ABBOTT - ABBVIE MULTIPLE EMPLOYER
MIDLAND, TX 79704                     P.O. BOX 909                           PENSION PLAN TRUST
                                      MIDLOTHIAN, IL 60445




MIDOCEAN PARTNERS- FM                 MIDOCEAN PARTNERS- FM                  MIDOCEAN PARTNERS- FM
ABBOTT LABORATORIES ANNUITY           MIDOCEAN CREDIT FOCUS FUND I LP        MIDOCEAN CREDIT OPPORTUNITY IDF I LP
RETIREMENT TRUST




MIDOCEAN PARTNERS- FM                 MID-SOUTH ADJUSTMENT CO                MIDSOUTH PICCS, LLC
NPB MANAGER FUND, SPC. - SEGREGATED   200 EAST 11TH STE K                    1322 W. MARKED ST.
PORTFOLIO 104                         PINE BLUFF, AR 71601                   BOLIVAR, TN 38008




MID-SOUTH TELECOM LLC                 MIDWEST ALARM SERVICES                 MIDWEST ALARM SERVICES
P.O. BOX 2044                         P.O. BOX 4511                          PO BOX 4511
DEPT 4100                             DAVENPORT, IA 52808                    DAVENPORT, IA 52808
MEMPHIS, TN 38101-2044
                        Case 20-10766-BLS
MIDWEST ANESTHESIA PARTNERS, LTD      MIDWESTDoc  6 RECOVERY
                                               BLOOD   Filed 04/07/20      Page 1206
                                                                 SYSTEMS, INC   MIDWESTof CALIBRATION
                                                                                          1969        LABORATORY, INC.
LCA DIVISION                          15132 SUMMIT AVE, STE 203B                42 TRIANGLE DR
387 SHUMAN BLVD, SUITE 240W           OAKBROOK TERRACE, IL 60181                P.O. BOX 183
NAPERVILLE, IL 60563                                                            SAINT GENEVIEVE, MO 63670




MIDWEST CALIBRATION LABORATORY, INC.     MIDWEST CALIBRATION LABORATORY, INC.     MIDWEST CALIBRATION LABORATORY, INC.
42 TRIANGLE DR                           42 TRIANGLE DR                           P.O. BOX 183
P.O. BOX 183                             P.O. BOX 183                             STE. GENEVIEVE, MO 63670
STE GENEVIEVE, MO 63670                  STE. GENEVIEVE, MO 63670




MIDWEST CANVAS CORPORATION               MIDWEST CARPET CLEANING INC              MIDWEST CRYO LLC
4635 WEST LAKE STREET                    212 W LOCUST                             2664 HIGHWAY 109
CHICAGO, IL 60644                        COLUMBIA, IL 62236                       WILDWOOD, MO 63040




MIDWEST DNA & DRUG TESTING INC           MIDWEST FRONTIER SERVICES LTD            MIDWEST GROUP BENEFIT
3710 BROADWAY ST 101                     P.O. BOX 3302                            2316 SWEET PARKWAY RD
ATTN: A/R                                LISLE, IL 60532                          P.O. BOX 408
QUINCY, IL 62305                                                                  DECORAH, IA 52101




MIDWEST HEALTH CARE INC                  MIDWEST HEALTH CARE, INC.                MIDWEST IMAGING CORP
326 S MT AUBURN RD                       ATTN: TAMARA NIEDBALSKI                  920 HEMSATH ROAD
STE 201                                  326 S MOUNT AUBURN RD, STE 201           STE 102
CAPE GIRARDEAU, MO 63703                 CAPE GIRARDEAU, MO 63703                 ST. CHARLES, MO 63303




MIDWEST INTEGRATED SOLUTIONS             MIDWEST INTERSTATE ELECTRICAL            MIDWEST MECHANICAL & LIFE SAFETY
185 E NORTH STREET                       1801 W 103RD STREET                      SERVICES
BRADLEY, IL 60915                        CHICAGO, IL 60643                        P.O. BOX 95
                                                                                  WATERLOO, IL 62298




MIDWEST MECHANICAL INSULATION INC        MIDWEST MEDICAL EQUIPMENT, INC           MIDWEST MEDICAL EQUIPMENT, INC
233C WEST SPRINGFIELD RD                 655 CONGRESS PARK DRIVE                  9117 W BELDEN AVE
P.O. BOX 864                             DAYTON, OH 45459                         FRANKLIN PARK, IL 60131
SULLIVAN, MO 63080




MIDWEST MEDICAL RECORD ASSOCIATES        MIDWEST MEDICAL SUPPLY COMPANY LLC       MIDWEST MEDICAL SYSTEMS, LLC
P.O. BOX 59498                           2675 SOLUTION CENTER                     655 CONGRESS PARK DRIVE
SUITE 690                                CHICAGO, IL 60677-2006                   DAYTON, OH 45459
SCHAUMBURG, IL 60159




MIDWEST MOWING INC                       MIDWEST MOWING INC                       MIDWEST MOWING, INC
DBA PUGSLEY SERVICES                     GENERAL COUNSEL                          DBA PUGSLEY SERVICES
2450 OWENS LN                            2450 OWENS LN                            P.O. BOX 22
P.O. BOX 22                              BRIGHTON, IL 62012                       BRIGHTON, IL 62012
BRIGHTON, IL 62012



MIDWEST MUSIC SUPPLY                     MIDWEST NEOPED ASSOCIATES, LTD           MIDWEST NURSING & VASCULAR SERV LLC
12003 BLUE SKY DRIVE                     900 JORIE BLVD STE 186                   222 W MAIN ST STE A
MARION, IL 62959                         OAK BROOK, IL 60523                      SUITE A
                                                                                  SALEM, IL 62881
                     Case 20-10766-BLS
MIDWEST NURSING MANAGEMENT, LLC    MIDWEST Doc  6 EQUIPMENT
                                             OFFICE Filed 04/07/20    Page 1207 of OPERATING
                                                                           MIDWEST 1969      ENGINEERS
222 W MAIN ST STE A                302 WEST US 40                           6130 JOLIET ROAD
SUITE A                            TROY, IL 62294                           P.O. BOX 2107
SALEM, IL 62881                                                             COUNTRYSIDE, IL 60525




MIDWEST OPERATING ENGINEERS          MIDWEST OPERATING ENGINEERS            MIDWEST OPERATING ENGINEERS
6150 JOLIET RD                       6150 JOLIET RD                         6150 JOLIET RD
P.O. BOX 2107                        P.O. BOX 2107                          P.O. BOX 2107
COUNTRYSIDE, IL 60525                COUNTRYSIDE, IL 60525-3994             LA GRANGE, IL 60525-8207




MIDWEST OPERATING ENGINEERS          MIDWEST OPERATING ENGR FRINGE          MIDWEST PHYSICIANS ALLIANCE
P.O. BOX 2107                        6150 JOLIET RD                         13011 S 104TH AVE
LA GRANGE, IL 60525-8207             P.O. BOX 2107                          STE 100
                                     COUNTRYSIDE, IL 60525-3994             PALOS PARK, IL 60464




MIDWEST RADIATION SAFETY             MIDWEST RADIATION SAFETY               MIDWEST RADIOLOGICAL ASSOCIATES
CONSULTANTS                          CONSULTANTS                            55 WEST PORT PLAZA DRIVE
1047 WELLINGTON CT                   1047 WELLINGTON CT                     SUITE 300
SYCAMORE, IL 60178                   SYCAMORE, IL 60178-0000                ST. LOUIS, MO 63146




MIDWEST RADIOLOGICAL                 MIDWEST SERVICE GROUP                  MIDWEST STONE INSTITUTE
ASSOC, PC ATTN: NANCY CABO           560 TURNER BLVD                        MIDWEST THERAPY, LLC
11133 DUNN ROAD                      ST PETERS, MO 63376                    12166 OLD BIG BEND, STE 110
ST LOUIS, MO 63136                                                          KIRKWOOD, MO 63122




MIDWEST SURGICAL TECHNOLOGIES, LLC   MIDWEST SYSTEMS & SERVICES INC         MIDWEST THERAPHY LLC
12166 OLD BIG BEND                   P.O. BOX 15033                         12166 OLD BIG BEN STE 110
SUITE 110                            EVANSVILLE, IN 47716                   KIRKWOOD, MO 63122
KIRKWOOD, MO 63122




MIDWEST UNIFORM SUPPLEY              MIDWEST UNIFORM SUPPLY                 MIDWEST VASCULAR & GEN SURG
627 N SEMINARY ST                    627 N SEMINARY ST                      3009 NORTH BALLAS ROAD
GALESBURG, IL 61401                  GALESBURG, IL 61401                    SUITE 251-C
                                                                            ST LOUIS, MO 63131




MIDWESTERN REGIONAL MEDICAL CE       MIEC GROUP                             MIELE, MISTI L.
2520 ELISHA                          6250 CLAREMONT AVE                     2251 DEWEY DRIVE
ZION, IL 60099                       OAKLAND, CA 94618-1324                 SPRINGHILL, TN 37174




MIELKE DARLA                         MIER III, EFRAIN                       MIESSNER, PETER J.
85 VILLAGE CT                        550 DITTO RD                           ADDRESS ON FILE
GLEN CARBON, IL 62034                BIG SPRING, TX 79720




MIEURE, TAYLOR G                     MIFFLIN, JUNEVE                        MIGDAL LAW GROUP
1014 MASSENA AVENUE                  2815 ELISHA AVE                        P.O. BOX 64600
WAUKEGAN, IL 60085                   APT 202                                CHICAGO, IL 60664
                                     ZION, IL 60099
MIGET PIANO SERVICE      Case 20-10766-BLS    Doc 6 M.Filed 04/07/20
                                       MIGET, TIMOTHY                  Page 1208  of JANICE
                                                                            MIGHELL,  1969 K.
245 NEWSTEAD STREET                     121 N 4TH ST                         ADDRESS ON FILE
PERRYVILLE, MO 63775                    DUPO, IL 62239




MIGLIONICO, MEGAN C.                    MIGUEL A CASTRO                      MIHEVC, KAREN L.
5755 DAVE DR.                           P O BOX 1236                         8505 ALPINE VALLEY
CLINTON, OH 44216                       COLUMBUS, NM 88029                   SPRING GROVE, IL 60081




MIKE BAKER                              MIKE DEAN MEMORIAL PARK FUND         MIKE LESLIE CONSTRUCTION
ADDRESS ON FILE                         ATTN JIMMY DEAN                      5959 SFC 107
                                        300 W PERRINE ST                     PALESTINE, AR 72372-0000
                                        JOHNSTON CITY, IL 62951




MIKELS, LEE ANN                         MIKKELSEN, ROGER L.                  MIKOLS, JEFF R.
13047 EGYPT SHORES ROAD                 132 COTTONWOOD DRD                   7608 W JUNIPER CT
CREAL SPRINGS, IL 62922                 MESQUITE, NV 89027                   FRANKFORT, IL 60423




MIKOTA, MARGARET                        MIKULEC, ERIN E.                     MIKULEZA, ALICE
5528 S FRANCISCO AVE                    274 SPRING VALLEY WAY                2504 LINCOLN AVE
CHICAGO, IL 60629                       ROUND LAKE, IL 60073                 GRANITE CITY, IL 62040




MIKULEZA, KRYSTAL M.                    MILAKOVIC, JAMES                     MILAM, BOBBY C.
ADDRESS ON FILE                         36073 OAKWOOD DRIVE                  P.O. BOX 576
                                        GURNEE, IL 60031                     BLUE RIDGE, GA 30513-0010




MILAM, BOBBY                            MILAM, VIVIAN C.                     MILBANK LLP
P.O. BOX 576                            ADDRESS ON FILE                      (COUNSEL FOR THE FIRST LIEN LENDERS)
BLUE RIDGE, GA 30513-0000                                                    ATTN: TYSON LOMAZOW
                                                                             55 HUDSON YARDS
                                                                             NEW YORK, NY 10001-2163



MILBRODT, STEPHANIE A.                  MILBURN, JOHNNA                      MILBURN, KAREN R.
8581 LASSEN CIR NW                      6654 SUPERIOR RD SE                  227 7TH ST SE
MASSILLON, OH 44646                     UHRICHSVILLE, OH 44683               BREWSTER, OH 44613




MILDRED ROWLEY, MD                      MILDREN, MARK                        MILES & STOCKBRIDGE PC
ADDRESS ON FILE                         2115 SPARROW COURT                   100 LIGHT ST
                                        EUGENE, OR 97401                     BALTIMORE, MD 21202-0000




MILES FUELS, LLC                        MILES REAL ESTATE                    MILES, AMY S.
P.O. BOX 235                            309 MIXON AVENUE                     ADDRESS ON FILE
BRUMLEY, MO 65017                       MARIANNA, AR 72360
MILES, DEREK             Case 20-10766-BLS     Doc
                                       MILES, DR    6 Filed 04/07/20
                                                 DEREK                 Page 1209   of 1969
                                                                            MILES, JANICE S.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




MILES, KRISTINA M.                      MILES, VONCELL P .                   MILESTONE HEALTHCARE, INC.
P.O. BOX 1381                           148 PRATHER ST                       2435 N. CENTRAL EXPRESSWAY
BENTON, IL 62812                        DEARING, GA 30808                    SUITE 1420
                                                                             RICHARDSON, TX 75080




MILEUR, ADAM                            MILHON, RAYMOND                      MILK, DEBRA L
204 W ILLINOIS AVE                      10845 MERINO                         6681 E PARK ST
CARTERVILLE, IL 62918                   APPLE VALLEY, CA 92308               BENTON, IL 62812




MILKENT, MICHAEL                        MILLAN, KELLY                        MILLAN, TERESA
218 BEGONIA DRV                         986 W 740 S                          ADDRESS ON FILE
MATTESON, IL 60443                      TOOELE, UT 84074




MILLANG, VALERIE                        MILLAR, BRIDGET A.                   MILLARD ANGE
81 LISA LANE                            943 BARTLETT TERRACE                 2030 ANGE TOWN RD
SMITHTON, IL 62285                      LIBERTYVILLE, IL 60048               JAMESVILLE, NC 27846




MILLARD, CHAFFINS                       MILLAS, NICHOLAS                     MILLBURG, SARAH M.
1033 ROSE LANE                          2690 IOWA ST                         811 ROCK HILL DR
LOUSIA, KY 41230                        GRANITE CITY, IL 62040               RED BUD, IL 62278




MILLENNIUM SURGICAL CORP                MILLER & STEENO PC                   MILLER & STEENO, P.C.
P.O. BOX 775385                         11970 BORMAN DR                      11970 BORMAN DR
CHICAGO, IL 60677-5385                  SUITE 250                            STE 250
                                        ST LOUIS, MO 63146                   ST LOUIS, MO 63146




MILLER ANGELA DARLENE                   MILLER BETTY J                       MILLER CAITLYN
233 COUNTY RD 643                       ADDRESS ON FILE                      1758 SFC 359
MENTONE, AL 35984-2904                                                       FORREST CITY, AR 72335




MILLER DAN JAE                          MILLER DARIUS                        MILLER DIANNA L
49645 HUCKLEBERRY LP                    3218 HOLDEN CIR                      508 BIG STONE ROAD
P.O. BOX 112                            MATTESON, IL 60443                   GRAND CHAIN, IL 62941
OAKRIDGE, OR 97463




MILLER FRITZ D                          MILLER GEORGE G                      MILLER JENNIFER R
P.O. BOX 696                            ADDRESS ON FILE                      ADDRESS ON FILE
BLUE ISLAND, IL 60406
MILLER KIM M             Case 20-10766-BLS    Doc 6
                                       MILLER LINDA       Filed 04/07/20   Page 1210
                                                                                MILLER of 1969 MARIE
                                                                                       MICHELLE
672 WEAVER RD                           ADDRESS ON FILE                          134 WALNUT ST
HENAGAR, AL 35978                                                                JUNCTION CITY, OR 97448




MILLER ROWENA M                         MILLER SHELLY ANN                        MILLER SPORTS & TROPHIES
38750 FLOWERDALE DR                     1950 2ND ST F203                         P.O. BOX 501
SPRINGFIELD, OR 97478-0000              SPRINGFIELD, OR 97477-0000               WILLIAMSTON, NC 27892




MILLER STEVE E                          MILLER STEVEN                            MILLER THOMAS
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




MILLER VINCENT D                        MILLER ZOE MARILYN                       MILLER, SHADI I. M.D.
9976 COUNTY RD 121                      3448 HAWTHORNE AVE                       ADDRESS ON FILE
VALLEY HEAD, AL 35989-3318              EUGENE, OR 97402




MILLER, ALBERT L. JR                    MILLER, ALICIA                           MILLER, ALLISON E.
143 DAVIS LN                            24219 W EGYPT RD                         1021 S HALLMARK ST NE
LOCK HAVEN, PA 17745-8769               MINERVA, OH 44657                        BOLIVAR, OH 44612




MILLER, ALLISON                         MILLER, AMANDA                           MILLER, AMY M
484 S 100 W                             155 GILGEN AVE NE                        ADDRESS ON FILE
TOOELE, UT 84074                        NEW PHILADELPHIA, OH 44663




MILLER, AMY                             MILLER, ASHLEIGH J                       MILLER, ASHLEIGH
ADDRESS ON FILE                         4850 ELDERBERRY LOOP                     P.O. BOX 227
                                        SPRINGFIELD, OR 97478                    LOST CREEK, KY 41348




MILLER, BARBARA                         MILLER, BETSY L.                         MILLER, BETTY J.
910 PROVIDENCE LN                       3119 MARTA S.W.                          ADDRESS ON FILE
MONROE, GA 30656                        MASSILLON, OH 44646




MILLER, BRETT                           MILLER, BRITTANY L.                      MILLER, BRITTANY
809 ORAN ST                             ADDRESS ON FILE                          407 E. 11TH ST.
COLLINSVILLE, IL 62234-5229                                                      DOVER, OH 44622




MILLER, CALISTA                         MILLER, CAREDA C.                        MILLER, CARI A.
4329 TOWNSHIP ROAD 420                  1519 EAST 61ST STREET APT. 2M            ADDRESS ON FILE
SUGARCREEK, OH 44681                    CHICAGO, IL 60637
MILLER, CARLIE           Case 20-10766-BLS
                                       MILLER, Doc 6 M. Filed 04/07/20
                                               CARRIE                    Page 1211
                                                                              MILLER,of 1969 K.
                                                                                      CHARLES
5805 MANCHESTER ROAD                     6068 AUTUMN COVE                      13927 IL-1 APT B31
AKRON, OH 44319                          BRANDON, MS 39042                     RIVERDALE, IL 60827




MILLER, CHRISTIAN D.                     MILLER, CHRISTIE M.                   MILLER, CHRISTINA K.
ADDRESS ON FILE                          655 ROWAN AVENUE                      1070 CR 555 E
                                         SPRINGFIELD, OR 97477                 WAYNE CITY, IL 62895




MILLER, COLTON                           MILLER, CORAZON A.                    MILLER, CRYSTAL G.
1505 N. FAIRFIELD AVE UNIT 1N            6207 SLEEPYHOLLOW LN                  ADDRESS ON FILE
CHICAGO, IL 60622                        GURNEE, IL 60031




MILLER, CYNTHIA                          MILLER, DANIELLE M.                   MILLER, DANIELLE
850 SHAKE RAG RD                         ADDRESS ON FILE                       ADDRESS ON FILE
DONGOLA, IL 62926




MILLER, DARLA S.                         MILLER, DAWNA                         MILLER, DEANNE L.
1879 M STREET 20                         113 HOLLY TERRACE                     ADDRESS ON FILE
SPRINGFIELD, OR 97477                    ANNA, IL 62906




MILLER, DEANNE                           MILLER, DELMA M.                      MILLER, DELORIS A.
ADDRESS ON FILE                          P.O. BOX 105                          ADDRESS ON FILE
                                         BEACH CITY, OH 44608




MILLER, DELVY                            MILLER, DENNIS                        MILLER, DEXFORD D
4249 WEST LAKE AVE                       405 MADISON ST                        233 COUNTY RD 643
WEST VALLEY CITY, UT 84120-6165          LA FAYETTE, IL 61449                  MENTONE, AL 35984




MILLER, DILLON D.                        MILLER, DINA M.                       MILLER, DINA M.
ADDRESS ON FILE                          15134 COBALT RD                       4241 PENROSE ST APT 2W
                                         VICTORVILLE, CA 92394                 ST LOUIS, MO 63115




MILLER, DONNA - ITV                      MILLER, DONNA                         MILLER, DOUGLAS C.
ADDRESS ON FILE                          ADDRESS ON FILE                       1204 SAVANNAH LANE
                                                                               MONROE, GA 30655




MILLER, DOUGLAS W.                       MILLER, DUSTIN                        MILLER, DUSTYN
3179 CARIE HILL CIR NW                   ADDRESS ON FILE                       ADDRESS ON FILE
MASSILLON, OH 44646
MILLER, DWIGHT             Case 20-10766-BLS
                                         MILLER, Doc  6 Filed 04/07/20
                                                 ELIZABETH               Page 1212
                                                                              MILLER,of 1969
                                                                                      EMILY
7921 DOLPHIN ST                           ADDRESS ON FILE                     144 COUNTY ROAD 282
BOLIVAR, OH 44612-9632                                                        FORT PAYNE, AL 35967




MILLER, ERICA L.                          MILLER, ERICA                       MILLER, ETHEL
400 JOSHUA ST. NW                         ADDRESS ON FILE                     401 NORTHGATE DR
MASSILLON, OH 44647                                                           WASHINGTON, NC 27889




MILLER, FRANKLIN L                        MILLER, FRANKLIN                    MILLER, GEORGE T
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE




MILLER, GEORGE                            MILLER, GIDEON                      MILLER, HOLLY N.
ADDRESS ON FILE                           ADDRESS ON FILE                     3538 CROWNPOINT ST N.W.
                                                                              MASSILLON, OH 44646




MILLER, JACINTA                           MILLER, JANET                       MILLER, JEFFERY
2251 W 127TH ST APT C 11                  880 JOSHUA DR                       1499 KARL DR.·
BLUE ISLAND, IL 60406                     MESQUITE, NV 89027-0000             COPLEY, OH 44321




MILLER, JESSICA A.                        MILLER, JESSICA L.                  MILLER, JESSICA N.
ADDRESS ON FILE                           3239 DUKE                           324 DOVER RD NE
                                          BIG SPRING, TX 79720                SUGARCREEK, OH 44681




MILLER, JESSICA                           MILLER, JEVON                       MILLER, JOAN F.
105 MATTISON LN                           6495 TOWNSHIP ROAD 603              2616 CHIPPEWA ROAD
APTOS, CA 95003                           MILLERSBURG, OH 44654               ORRVILLE, OH 44667




MILLER, JOHN M.                           MILLER, JOHN V                      MILLER, JOYCE E.
ADDRESS ON FILE                           37050 N PIPER LN                    ADDRESS ON FILE
                                          LAKE VILLA, IL 60046




MILLER, JOYCE E.                          MILLER, KATELYN                     MILLER, KEVIN E.
5851 LOUISVILLE ST NE                     3414 OAK RIDGE RD NW                ADDRESS ON FILE
LOUISVILLE, OH 44641                      SUGARCREEK, OH 44681




MILLER, KIMBERLY D.                       MILLER, KIMBERLY                    MILLER, LADONNA A.
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE
MILLER, LARONDA O.       Case 20-10766-BLS
                                       MILLER, Doc  6
                                               LENNIE       Filed 04/07/20   Page 1213
                                                                                  MILLER,of 1969
                                                                                          LINDA L.
ADDRESS ON FILE                          1824 HWY 306 WEST                         306 S SCOTT ST P.O. BOX 173---(MAILING
                                         COLT, AR 72326                            ADDRESS)
                                                                                   ALEXIS, IL 61412




MILLER, LINDA M.                         MILLER, LINDA                             MILLER, LISA C.
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE




MILLER, LUE V                            MILLER, MABEL                             MILLER, MACHEAL M.
10233 S FOREST AVE                       P.O. BOX 144                              3 SILVER OAKS LN APT. 11
CHICAGO, IL 60628-2107                   WILMOT, OH 44689-0144                     EDWARDSVILLE, IL 62025




MILLER, MALYNNE                          MILLER, MARGARET                          MILLER, MARLENE K.
90 ASHLEY DRIVE                          676 E. ACTON AVE.                         7337 TWP RD 319
9867                                     WOOD RIVER, IL 62095                      MILLERSBURG, OH 44654
ELLIJAY, GA 30540-9486




MILLER, MARY JO                          MILLER, MARY P.                           MILLER, MATTHEW J.
1500 US HWY 51 SOUTH                     ADDRESS ON FILE                           ADDRESS ON FILE
ANNA, IL 62906




MILLER, MELANIE                          MILLER, MELINDA L.                        MILLER, MELISSA L.
525 19TH STREET NW                       ADDRESS ON FILE                           375 BRYAN CIRCLE NE
FORT PAYNE, AL 35967                                                               NEW PHILADELPHIA, OH 44663




MILLER, MICHAEL                          MILLER, MOWING                            MILLER, MYRNA
ADDRESS ON FILE                          1011 DAISY LANE                           ADDRESS ON FILE
                                         LOUISA, KY 41230




MILLER, NORTON                           MILLER, PAULETTE D.                       MILLER, PRECIOUS
203 CASCADE DR                           2512 CARLYLE ST NW                        ADDRESS ON FILE
GLEN CARBON, IL 62034                    MASSILLON, OH 44646




MILLER, RAVEN                            MILLER, RAYFORD                           MILLER, REBECCA J.
ADDRESS ON FILE                          4410 FLINT DRIVE                          1303 W. MCGUIRE ROAD
                                         FORT PAYNE, AL 35967                      MAKANDA, IL 62958




MILLER, REBECCA J.                       MILLER, REBECCA JO                        MILLER, REBECCA
ADDRESS ON FILE                          ADDRESS ON FILE                           ADDRESS ON FILE
MILLER, REBECCA          Case 20-10766-BLS
                                       MILLER, Doc 6 E Filed 04/07/20
                                               ROBERT                   Page 1214
                                                                             MILLER,of 1969L.
                                                                                     ROBERT
ADDRESS ON FILE                          ADDRESS ON FILE                      24 DOE RUN
                                                                              CARBONDALE, IL 62901




MILLER, ROBERT                           MILLER, RON                          MILLER, ROY E
ADDRESS ON FILE                          210 WILLIAMS ST                      284 WESTWOOD DR
                                         ANNA, IL 62906                       LEXINGTON, TN 38351




MILLER, SAMANTHA M                       MILLER, SARA J.                      MILLER, SARAH
424 WINCHESTER PL                        1110 SKYLINE DR                      1825 GREENTREE PLACE SE
FAIRVIEW HEIGHTS, IL 62208               COBDEN, IL 62920                     MASSILLON, OH 44646




MILLER, SCHEQUISE                        MILLER, SHARON J.                    MILLER, SHIRLEY
247 LONGBELL                             226 N FOURTH STREET 343              236 25TH ST SW
WEST HELENA, AR 72390                    TOOELE, UT 84074                     BIRMINGHAM, AL 35211




MILLER, SHIRLEY                          MILLER, SHONTA R.                    MILLER, STACIE R
ADDRESS ON FILE                          ADDRESS ON FILE                      505 NEWHART DRIVE
                                                                              GRANITE CITY, IL 62040




MILLER, STACY                            MILLER, STEPHEN                      MILLER, STEVEN K.
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




MILLER, STEVEN M.                        MILLER, TAYLOR N.                    MILLER, TAYNA
42821 MCKENZIE HIGHWAY                   511 SMITH AVENUE                     P O BOX 948
LEABURG, OR 97489                        DALTON, OH 44618                     SANTA CLARA, NM 88026




MILLER, THOMAS D.                        MILLER, THOMAS D.                    MILLER, THOMAS D.
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




MILLER, THOMAS                           MILLER, TIFFANY N.                   MILLER, TIFFANY S.
ADDRESS ON FILE                          514 W MATTHEWS AVE APT C             ADDRESS ON FILE
                                         JONESBORO, AR 72401




MILLER, TIMOTHY A.                       MILLER, TONYA A.                     MILLER, TWILA T.
463 CR 2575                              ADDRESS ON FILE                      ADDRESS ON FILE
LOUDONVILLE, OH 44842
MILLER, VALERIE D.        Case 20-10766-BLS
                                        MILLER, Doc 6 E.Filed 04/07/20
                                                VALERIE                  Page 1215
                                                                              MILLER,of 1969 E.
                                                                                      VALERIE
ADDRESS ON FILE                           937 EAST NOLEMAN STREET              ADDRESS ON FILE
                                          CENTRALIA, IL 62801




MILLER, VERLIN                            MILLER, VICKI L.                     MILLER,HUDSON
218 N RILEY RD                            1210 EAST BOULEVARD STREET           595 WADSWORTH RD
MUNCIE, IN 47304                          MARION, IL 62959                     ORRVILLE, OH 44667




MILLER-DERTZ, TAMARA D.                   MILLERS AMISH BAKERY                 MILLERS LOCK & KEY
3218 HOLDEN CIRCLE                        P.O. BOX 69                          1629 ASHLAND RD SUITE 9
MATTESON, IL 60443                        LOST CREEK, KY 41348                 GREENUP, KY 41144




MILLERS MEAT MARKET                       MILLER-SEGER, ANGELIQUE              MILLHOLLAND, WILLIAM J.
1524 SOUTH MAIN STREET                    1104 CORAL ST                        ADDRESS ON FILE
RED BUD, IL 62278                         RED BUD, IL 62278




MILLHOUSE, PAULA W.                       MILLHOUSE, PAULA                     MILLIANS, SYDNEY
ADDRESS ON FILE                           ADDRESS ON FILE                      1405 TIPPERARY COURT
                                                                               MONROE, GA 30656




MILLIE H STRAND                           MILLIGAN, CHARLES                    MILLIGAN, DANIELLE
372 BEDI AVE                              1816 PARADISE RD                     ADDRESS ON FILE
GALESBURG, IL 61401                       ORRVILLE, OH 44667




MILLIGAN, LOLA A                          MILLIKEN, KIMBERLEY C.               MILLIKEN, KIMBERLEY C.
823 R ST                                  3414 HAYNES COVE                     ADDRESS ON FILE
SPRINGFIELD, OR 97477-0000                SPRING HILL, TN 37174




MILLIMAN INC                              MILLIN, KELLY J.                     MILLINGTON, SCOTT
71 S WACKER DR                            33 E WOOSTER ST                      P.O. BOX 803
31ST FLOOR                                NAVARRE, OH 44662                    LOGANDALE, NV 89021
CHICAGO, IL 60606




MILLIPORE CORPORATION                     MILLIPORE CORPORATION                MILLNER FOR TAYLOR MILNER, CHRISTINA
25760 NETWORK PL                          25760 NETWORK PLACE                  4460 HENDERSON RD
CHICAGO, IL 60673                         CHICAGO, IL 60673                    SARDIS, TN 38371




MILLS CONSTRUCTION                        MILLS JR., LEONARD E.                MILLS MYRNA A
18265 NC 903                              4708 RIC DRIVE                       ADDRESS ON FILE
ROBERSONVILLE, NC 27871                   MIDLAND, TX 79703
MILLS, AMY                Case 20-10766-BLS     Doc 6
                                        MILLS, ASHLEY       Filed 04/07/20   Page 1216   of 1969
                                                                                  MILLS, BRIAN C
RADIOLOGY                                2211 TURKEY CRK                          8049 WEBSTER RD
                                         INEZ, KY 41224                           FREELAND, MI 48623




MILLS, BRITTNEY N.                       MILLS, CLYDE                             MILLS, CYNTHIA L.
68 S HELMS ST                            1047 MCKENZIE GRADE RD                   ADDRESS ON FILE
LEXINGTON, TN 38351                      GREENVILLE, AL 36037-5533




MILLS, DC                                MILLS, DENNIS E.                         MILLS, EDDY
87007 BROWN RD                           1090 OAKVIEW RD                          P.O. BOX 114
DEXTER, OR 97431                         WILLIAMSTON, NC 27892                    INEZ, KY 41224




MILLS, ELIZA M.                          MILLS, ERICA BROOKE                      MILLS, GAIL
P.O. BOX 861 207 W. ALPINE ST.           42 KELLY DR                              ADDRESS ON FILE
PRESIDIO, TX 79845                       GRANITE CITY, IL 62040




MILLS, JEREMY                            MILLS, JIM ORIN                          MILLS, JUDY L.
ADDRESS ON FILE                          523 LAKSONEN LOOP                        ADDRESS ON FILE
                                         SPRINGFIELD, OR 97478




MILLS, KYLE C.                           MILLS, LATOYA E.                         MILLS, LORI
ADDRESS ON FILE                          ADDRESS ON FILE                          1660 PACK CREEK RD
                                                                                  BLUE RIDGE, GA 30513




MILLS, MARISSA T.                        MILLS, MIRANDA L.                        MILLS, NELLIE
ADDRESS ON FILE                          269 VIRGINIA AVE                         6675 WESTWOOD ST SW
                                         APPOMATTOX, VA 24522                     MASSILLON, OH 44646




MILLS, NICHOLAS                          MILLS, NUCRECIA                          MILLS, POLLY
395 ROCKHOUSE MILLS ROAD                 237 WHISPERING WIND CIRCLE               5479 HODE ROAD
ROMAHAWK, KY 41262                       MARION, AR 72364                         INEZ, KY 41224




MILLS, SUSAN R.                          MILLSAP MICHAEL                          MILLSAP NANCY J
ADDRESS ON FILE                          ADDRESS ON FILE                          4141 TIMBERLAKE
                                                                                  APT 103 P.O. BOX 1527
                                                                                  GRANITE CITY, IL 62040




MILLSAPS RITA                            MILLSAPS, DORIS                          MILLSAPS, RITA
P.O. BOX 1314                            995 NEW HOPE ROAD                        P.O. BOX 1314
BLUE RIDGE, GA 30513                     ELLIJAY, GA 30540                        BLUE RIDGE, GA 30513
MILLWORKS, HARRIS          Case 20-10766-BLS    Doc L.
                                         MILO, DENISE 6      Filed 04/07/20   Page 1217
                                                                                   MILON, of 1969
                                                                                          CATHY D.
818 COUNTY ROAD 384                        ADDRESS ON FILE                          ADDRESS ON FILE
DUTTON, AL 35744




MILOSAVLJEVIC, STEVAN                      MILOT FARIA M.D. AND GAIL FARIA          MILROY, SUSANNE
ADDRESS ON FILE                                                                     ADDRESS ON FILE




MILSTEAD PATHOLOGY PC                      MILSTEIN, MICHAEL JM.D.                  MILTON BAKER
3248 AVALON BLVD                           ADDRESS ON FILE                          5885 PRISON CAMP RD
CONYERS, GA 30013                                                                   WILLIAMSTON, NC 27892




MILTON, COURTNEY                           MILTON, ERIC                             MIMBRES INTERNAL MEDICINE
1085 HOLIDAY DR APT 1521                   ADDRESS ON FILE                          AL-HOMSI, BASSAM
FORREST CITY, AR 72335                                                              122 S GOLD, STE 3
                                                                                    DEMING, NM 88030




MIMBRES MEMORIAL NURSING HOME              MIMBRES MEMORIAL NURSING HOME            MIMEDX GROUP INC
ENTITY 0142                                ENTITY 0142                              1775 W OAK COMMONS CT NE
900 W. ASH ST.                             900 W. ASH ST.                           MARIETTA, GA 30062
DEMIN, NM 88030                            DEMING, NM 88030




MIMEDX GROUP, INC                          MIMEDX GROUP, INC                        MIMEDX GROUP, INC
1775 WEST OAK COMMONS CT, NE               1775 WEST OAK COMMONS CT, NE             PO BX 744853
P.O. BOX 744853                            P.O. BOX 744853                          ATLANTA, GA 30374-4853
ATLANTA, GA 30062                          MARIETTA, GA 30062




MIMMS, LAKEESHA M.                         MIMS, ANGELIA                            MIMS, JODI
2609 FLOSSMOOR ROAD APT. 1                 805 STOKES STREET                        1518 32ND ST
FLOSSMOOR, IL 60422                        AHOSKIE, NC 27910                        ROCK ISLAND, IL 61201




MIMS, MARY L.                              MIMS, NICOLA L.                          MINARI, CRAIG
ADDRESS ON FILE                            464 PARKS RD                             1825 BASSETT LANE
                                           GLEASON, TN 38229                        YOUNG HARRIS, GA 30582




MINCE, DANIEL M.                           MINCEY, TIFFANY A.                       MINCY, ELIZABETH P.
ADDRESS ON FILE                            209 JENNIFER SPRINGS WAY                 ADDRESS ON FILE
                                           MONROE, GA 30656




MINCY, MICHELLE L.                         MINDI JO RAGON                           MINDI JO RAGON
613 BURKE ST                               4378 EVERGREEN DR                        ADDRESS ON FILE
JERSEYVILLE, IL 62052                      GALESBURG, IL 61401
MINDI RITCHIE            Case 20-10766-BLS   Doc
                                       MINDRAY     6 INC
                                               DS USA  Filed 04/07/20     Page 1218  ofDS
                                                                               MINDRAY  1969
                                                                                          USA INC
1259 BRIDGE AVE                          24312 NETWORK PL                       24312 NETWORK PL
GALESBURG, IL 61401                      CHICAGO, IL 60673                      CHICAGO, IL 60673-1243




MINDRAY DS USA INC                       MINDRAY DS USA INC                     MINDRAY DS USA INC
24312 NETWORK PLACE                      24312 NETWORK PLACE                    24312 NETWORK PLACE
CHICAGO, IL 60673                        CHICAGO, IL 60673-1243                 DATASCOPE PATIENT MONITORING
                                                                                CHICAGO, IL 60673-1243




MINDRAY DS USA INC                       MINDRAY DS USA, INC                    MINDRAY DS USA, INC.
24313 NETWORK PLACE                      24312 NETWORK PL                       24312 NETWORK PLACE
CHICAGO, IL 60673-1243                   CHICAGO, IL 60673                      DATASCOPE PATIENT MONITORING
                                                                                CHICAGO, IL 60673-1243




MINDRAY NORTH AMERICA                    MINDY CHILDERS                         MINDY GAYLORD
24312 NETWORK PLACE                      ADDRESS ON FILE                        532 BRIARWOOD DR
CHICAGO, IL 60673-1243                                                          TROY, IL 62294




MINDY HANNA                              MINDY SCOTT                            MINELLI, RACHEL
ADDRESS ON FILE                          190 WALKER DRIVE                       ADDRESS ON FILE
                                         VIENNA, IL 62995




MINER, DAPHNE I                          MINER, DAVID                           MINER, HEATHER
774 VILLA DR                             ADDRESS ON FILE                        518 HILLSBORO AVE
ELLIJAY, GA 30540                                                               APT 2
                                                                                EDWARDSVILLE, IL 62025




MINER, MICHAEL GERALD                    MINERVA SURGICAL, INC                  MINETTE VIRAMONTES
34681 DEVONSHIRE DR                      101 SAGINAW DR                         ADDRESS ON FILE
EUGENE, OR 97477-0000                    REDWOOD CITY, CA 94063




MINGES BOTTLING GROUP (PEPSI)            MINGLE, JACKIE L.                      MINGO JACKSON, BARBARA J.
P.O. BOX 520                             116 NORTH CEDAR ST                     11356 S BELL AVE
128 PEPSI WAY                            GLEASON, TN 38229                      CHICAGO, IL 60643
AYDEN, NC 28513-0000




MINGS, DANIEL                            MINISTERIAL ALLIANCE OF ALPINE         MINITAB, INC
11990 STOTLAR RD                         P.O. BOX 356                           1829 PINE HALL ROAD
MARION, IL 62959                         ALPINE, TX 79831-0000                  STATE COLLEGE, PA 16801




MINIX, DANIELLE N.                       MINIX, JERRICA C.                      MINK, JULIE A.
ADDRESS ON FILE                          ADDRESS ON FILE                        ADDRESS ON FILE
MINK, MARY N.         Case 20-10766-BLS
                                    MINKEL,Doc 6 Filed 04/07/20
                                           RHONDA                 Page 1219
                                                                       MINKS, of 1969
                                                                              RUTH
ADDRESS ON FILE                      7905 NEAL ROAD                    12063 MILL RACE ST NW
                                     CATLETTSBURG, KY 41129            CANAL FULTON, OH 44614




MINNEAPOLIS FOUNDATION               MINNESOTA BANK & TRUST            MINNESOTA DEPARTMENT OF COMMERCE
800 IDS CENTER                       ATTN ERIC GUNDERSEN               UNCLAIMED PROPERTY PROGRAM
80 SOUTH EIGHTH STREET               7701 FRANCE AVE S, STE 110        85 7TH PLACE EAST
MINNEAPOLIS, MN 55402                EDNA, MN 55402                    STE 500
                                                                       SAINT PAUL, MN 55101-2198



MINNESOTA DEPARTMENT OF REVENUE      MINNICK, ANGELA                   MINNICK, ANGELA
600 ROBERT ST N                      11248 S ALBANY AVE                11248 S ALBANY AVE
ST PAUL, MN 55101                    CHCAGO, IL 60655-2326             CHICAGO, IL 60655-2326




MINNICK, CRISTA A.                   MINNICK, KENDRA N.                MINNICK, MICHAEL L.
ADDRESS ON FILE                      ADDRESS ON FILE                   713 SAVANNAH AVE
                                                                       HERRIN, IL 62948




MINNICK, MICHAEL L.                  MINNIE MCCUNE                     MINOR DDS., ARNOLD J.
ADDRESS ON FILE                      ADDRESS ON FILE                   69 N. CHAMBERS ST
                                                                       GALESBURG, IL 61401




MINOR FELICIA                        MINOR, DIANA K.                   MINOR, JAMES
262 W 104TH PL                       ADDRESS ON FILE                   4825 ALBERTON RD
CHICAGO, IL 60628                                                      LEXINGTON, TN 38351




MINOR, JANET A.                      MINOR, KYLE                       MINOR, MELINDA A.
4825 ALBERTON RD                     14518 N. MEADOWS DRIVE            766 MOUNT EATON RD
LEXINGTON, TN 38351                  MT. VERNON, IL 62864              WADSWORTH, OH 44281




MINOR, RICHARD JR                    MINOR, THANIKA                    MINORITY OUTREACH
3978 GLADWYN CT                      11312 S CALUMET AVE               P.O. BOX 93428
DULUTH, GA 30096                     CHICAGO, IL 60628                 INDUSTRY, CA 91715-3428




MINOR-JOHNSON, EVIA                  MINOTT, MELINDA                   MINTER, MISCHELLE E.
21110 S VIVIENNE DR                  ADDRESS ON FILE                   ADDRESS ON FILE
MATTESON, IL 60443




MINTON BEACH                         MINTON, BRANDY J.                 MINTON, DAVID A.
P O BOX 250                          10407 MABRY ST.                   114 REMINGTON DR.
1130 HASSELL RD                      WEST FRANKFORT, IL 62896          EVANSTON, WY 82930
OAK CITY, NC 27857
MINTON, DELMA           Case 20-10766-BLS
                                      MINTON,Doc
                                               JUNE6S   Filed 04/07/20       Page 1220  ofPATSY
                                                                                  MINTON,  1969
735 COLUMBIA AVE APT 14               3202 B ZELLER AVE                           1053 WALD RD
GARDEN PLACE                          MARION, IL 62959                            GREENVILLE, AL 36037
WATERLOO, IL 62298-0000




MINUTI, CHARLES D.                     MINUTI, NANCY M.                           MINYARD, NICOLE R.
303 BUTTON STREET                      303 BUTTON ST                              ADDRESS ON FILE
SANTA CRUZ, CA 95060                   SANTA CRUZ, CA 95060




MINYARD, NICOLE                        MINYARD, TERRY B.                          MIOCKLOS, MICHALE
ADDRESS ON FILE                        2123 HERITAGE COVE                         1503 N 1239TH RD
                                       HERNANDO, MS 38632                         STREATOR, IL 61364




MIRABILE, KATHY L.                     MIRABILE, KATHY                            MIRAGAS, KARLA L.
ADDRESS ON FILE                        ADDRESS ON FILE                            ADDRESS ON FILE




MIRALDA, WENDY J.                      MIRAMED REVENUE GROUP LLC                  MIRAMONTES, AMY D.
1207 YEOMAN                            DEPT 77268                                 13 RIVA RIDGE
WAUKEGAN, IL 60085                     P.O. BOX 77000                             BIG SPRING, TX 79720
                                       DETROIT, MI 48277-0268




MIRAMONTES, AMY                        MIRAMONTES, CINTHIA                        MIRAMONTES, MARIA
13 RIVA RIDGE                          4914 155TH ST                              234 HACIENDA WAY
BIG SPRING, TX 79720-4237              OAK FOREST, IL 60452                       MESQUITE, NV 89027




MIRAMONTES, SHELBY L.                  MIRANDA AKERS                              MIRANDA COOPER
2902 CACTUS DRIVE                      ADDRESS ON FILE                            7 ELM CIRCLE
BIG SPRING, TX 79720                                                              MT VERNON, IL 62864




MIRANDA GILDARDO                       MIRANDA L LEAVITT                          MIRANDA LYNN CLAYTON
2703 ELIZABETH                         MVP SCREEN PRINT & DESIGN                  34 COUNTY ROAD 219
ZION, IL 60099                         P.O. BOX 1731                              SCOTTSBORO, AL 35768
                                       LOGANDALE, NV 89021




MIRANDA MILLS                          MIRANDA, OLIVIA A.                         MIRANDA, PAIGE
205 N 16TH ST APT 7                    9225 E. TANQUE VERDE RD UNIT 39-101        4350 STATE RT 146 W
HERRIN, IL 62948                       TUCSON, AZ 85749                           VIENNA, IL 62995




MIRAVISTA DIAGNOSTICS LLC              MIRDAMADI, MEENA                           MIRELES, ADRIENNE N.
4705 DECATUR BLVD                      1080 BRICKELL AVE                          ADDRESS ON FILE
INDIANAPOLIS, IN 46241                 APT. 3007
                                       MIAMI, FL 38131
MIRIAM BEX              Case 20-10766-BLS    Doc 6 - CORNEJO
                                      MIRIAM GUZMAN   Filed 04/07/20       Page 1221
                                                                                MIRION of 1969
                                                                                       TECHNOLOGIES GDS INC
827 NORTH CHEROKEE RD                 ADDRESS ON FILE                            P.O. BOX 101301
SOCIAL CIRCLE, GA 30025                                                          PASADENA, CA 91189




MIRION TECHNOLOGIES GDS INC           MIRION TECHNOLOGIES (GDS) INC              MIRION TECHNOLOGIES INC.
P.O. BOX 101301                       P.O. BOX 101301                            P.O. BOX 101301
PASADENA, CA 91189-0005               PASADENA, CA 91189-0005                    PASADENA, CA 91189-0005




MIRION TECHNOLOGIES                   MIRION TECHNOLOGIES,INC.                   MIRO, FERDINAND
P.O. BOX 101301                       P.O. BOX 101301                            668 SIERRA PL
PASADENA, CA 91189                    PASADENA, CA 91189-0005                    GURNEE, IL 60031




MIRON, TAYLOR R.                      MIRZA, WAJAHAT MD                          MISCENIC, CATHERINE M
19732 WESTMINSTER DR                  1170 E BELVIDERE ROAD                      43172 N KENOSHA RD
MOKENA, IL 60448                      SUITE 212                                  ZION, IL 60099
                                      GRAYSLAKE, IL 60030




MISCO                                 MISKELL LORRAINE J                         MISKELLEY, TAMMMY
6275 COCHRAN RD.                      307 DITCHES RUN                            15072 W ELLIS RD
SOLON, OH 44139                       WATERLOO, IL 62298                         MARION, IL 62959




MISKIMEN, RUTH                        MISKLE, BARBARA                            MISNER, COURTNEY E.
136 BOLTON ST                         208 EAST AVENUE                            ADDRESS ON FILE
MONROE, GA 30655                      RED BUD, IL 62278




MISONIX INC                           MISS BARSTOW PAGEANT                       MISS ILLINOIS SCHOLARSHIP
1938 NEW HIGHWAY                      P.O. BOX 1631                              ORGANIZATION, INC
FARMINGDALE, NY 11735                 BARSTOW, CA 92311                          P.O. BOX 320
                                                                                 ANNA, IL 62906




MISS ILLINOIS SCHOLARSHIP             MISS LEXINGTON & MISS HENDERSON CO         MISS TENNESSEE SCHOLARSHIP PAGEANT
1401 N LOGAN                          SCHOLARSHIP                                8895 PRESTANCIA COVE SOUTH
ATTN: ELIZABETH SHORE                 99 CIRCLE DR                               MEMPHIS, TN 38125
MARION, IL 62959                      LEXINGTON, TN 38351-0000




MISSION CARE OF IL                    MISSIPI DEPARTMENT OF REVENUE              MISSISSIPPI COUNTY HOSPITAL BOARD
P.O. BOX 847199                       500 CLINTON CENTER DR                      1520 N DIVISION ST
DALLAS, TX 75284-7199                 CLINTON, MS 39056                          BLYTHEVILLE, AR 72315




MISSISSIPPI COUNTY HOSPITAL SYSTEM    MISSISSIPPI COUNTY HOSPITAL SYSTEM         MISSISSIPPI COUNTY PRIMARY CARE
D/B/A SOUTH MISSISSIPPI COUNTY        P.O. BOX 108                               PHYSICIANS
REGIONAL MEDICAL CENTER;              BLYTHEVILLE, AR 72315                      602 W UNION AVE
1520 N DIVISION ST                                                               OSCEOLA, AR 72370
BLYTHEVILLE, AR 72315
                       Case
MISSISSIPPI DEPARTMENT OF    20-10766-BLS
                          HUMAN              DocHOSPITAL
                                      MISSISSIPPI   6 Filed  04/07/20
                                                          ASSOCIATION      Page 1222  of 1969
                                                                                MISSISSIPPI MEDICAID
SERVICES                              P.O. BOX 1909                              P.O. BOX 23076
STATE DISBURSEMENT UNIT               MADISON, MS 39130-1909                     JACKSON, MS 39225-3076
P.O. BOX 230904
JACKSON, MS 39225



MISSISSIPPI STATE TREASURER,          MISSISSIPPI STATE TREASURER,               MISSOURI BOARD FOR THE
UNCLAIMED PROPERTY DIVISION           UNCLAIMED PROPERTY DIVISION                HEALING ARTS
500 NORTH WEST ST                     STATE TREASURER OF MISSISSIPPI             P.O. BOX 4
WOOLFOLK BLDG STE 1101                UNCLAIMED PROPERTY DIVISION                JEFFERSON CITY, MO 65102-0004
JACKSON, MS 39201                     P. O. BOX 138
                                      JACKSON, MS 39205-0138

MISSOURI CARE                         MISSOURI MEDICAID AUDIT COMPLAINCE         MISSOURI MEDICAID
P.O. BOX 31370                        P.O. BOX 1116                              ATTN GTE DATA SERVICES
TAMPA, FL 33631                       JEFFERSON CITY, MO 65102                   P.O. BOX 5200
                                                                                 JEFFERSON CITY, MO 65102




MISSOURI MEDICAID                     MISSOURI SATE BOARD OF HEALING             MISSOURI STATE BOARD
P.O. BOX 5100                         ARTS                                       OF REGISTRATION
JEFFERSON CITY, MO 65102              P.O. BOX 7001                              P.O. BOX 7001
                                      JEFFERSON CITY, MO 65102                   JEFFERSON CITY, MO 65109




MISSOURI STATE TREASURER CLINT        MISSOURI STATE TREASURER                   MISSOURI STATE TREASURER
ZWEIFEL                               301 W HIGH ST 157                          UNCLAIMED PROPERTY
301 WEST HIGH ST - RM 157             JEFFERSON CITY, MO 65101                   P.O. BOX 1272
UNCLAIMED PROPERTY DIVISION                                                      JEFFERSON CITY, MO 65102-1272
JEFFERSON CITY, MO 65101



MISSOURICARE/WELLCARE                 MISTI BOWEN                                MISTURAKNASH VENUS
P O BOX 31370                         ADDRESS ON FILE                            1485 US HW 82
TAMPA, FL 33631-3372                                                             MIDWAY, AL 36053




MISTY AVALOS                          MISTY GATES                                MISTY HERVEY
ADDRESS ON FILE                       1308 LAYMAN DR                             ADDRESS ON FILE
                                      JONESBORO, AR 72404




MISTY NELSON                          MITALOVICH, RACHEL                         MITCH WINKHART
P.O. BOX 46                           204 W DIVISION ST                          10080 KAYLOR RD
ABINGDON, IL 61410                    MARINE, IL 62061                           BEACH CITY, OH 44608-0204




MITCH, JAMES                          MITCHELL & LINDSEY LLC                     MITCHELL ALBERTA
ADDRESS ON FILE                       P.O. BOX 747                               14027 CLAIRE BLVD
                                      PROSPECT, KY 40059                         ROBBINS, IL 60472




MITCHELL COLLIER                      MITCHELL DAYSHA                            MITCHELL DUANE T
818 MARSTEVAN DR NE                   ADDRESS ON FILE                            P.O. BOX 55
ATLANTA, GA 30306-3227                                                           BRADLEY, CA 93426
MITCHELL ERICSON          Case 20-10766-BLS   Doc
                                        MITCHELL     6 RODRIGUEZ
                                                 J SOTO Filed 04/07/20   Page 1223  of JAMES
                                                                              MITCHELL 1969 THOMAS
972 MULBERRY ST                           2246 COLLINS ST                     90714 HOLLYWOOD LN
GALESBURG, IL 61401                       BLUE ISLAND, IL 60406               COOS BAY, OR 97420




MITCHELL JAMIE L                          MITCHELL JEFFREY J                  MITCHELL LANDSCAPING & LAWNCARE
624 WILDWOOD LANE                         3115 POTTER STREET                  24926 W ISLAND DRIVE
O FALLON, IL 62269                        EUGENE, OR 97405-0000               ANTIOCH, IL 60002




MITCHELL LANDSCAPING AND SNOW             MITCHELL LLOYD ALAN                 MITCHELL PAUL S
REMOVAL                                   P.O. BOX 70                         3564 UNION SCHOOL RD
24926 W ISLAND DRIVE                      LORANE, OR 97451                    CHESTER, IL 62233
ANTIOCH, IL 60002




MITCHELL SAMUEL P                         MITCHELL SIGNS                      MITCHELL TAMMY L
12145 N BONNIE BROOK LN                   3200 HWY 45 NORTH                   18856 COUNTY HWY 18
BEACH PARK, IL 60087                      MERIDIAN, MS 39301                  CENTRALIA, IL 62801




MITCHELL, ALEXIS D.                       MITCHELL, ALLISON E.                MITCHELL, ANNA T.
ADDRESS ON FILE                           ADDRESS ON FILE                     34 COUNTY ROAD 7425
                                                                              WYNNE, AR 72396




MITCHELL, BILLY G                         MITCHELL, BRIDGET                   MITCHELL, CHERYL A.
305 NEILL ROAD                            529 DOVE WAY                        ADDRESS ON FILE
HELENA, AR 72342                          SOCIAL CIRCLE, GA 30025




MITCHELL, DANETTA J.                      MITCHELL, DAYSHA R.                 MITCHELL, DEANNA
2001 RUSH STREET APT . 2404               ADDRESS ON FILE                     602 MAIN ST N
FRANKLIN, TN 37067                                                            NAVARRE, OH 44662




MITCHELL, DEBORAH                         MITCHELL, DOLORES                   MITCHELL, DONALD K.
P.O. BOX 949 1268 GRADY LEMONDS RD        6000 CHESTNUT TRAIL                 ADDRESS ON FILE
SOCIAL CIRCLE, GA 30025                   MONROE, GA 30655




MITCHELL, EDWARD W.                       MITCHELL, EVERTT                    MITCHELL, HAROLD
ADDRESS ON FILE                           CONCRETE WORKS & CONTRACT           3000 FIRE DEPT RD
                                          115 ARLINGTON DRIVE                 WILLIAMSTON, NC 27892
                                          HELENA, AR 72342




MITCHELL, HEATHER                         MITCHELL, HEIDI L.                  MITCHELL, JEARLDINE
ADDRESS ON FILE                           736 NACIONAL CT                     518 AUBURN
                                          SALINAS, CA 93901                   WEST MEMPHIS, AR 72301
MITCHELL, JEFFREY K.    Case 20-10766-BLS   Doc
                                      MITCHELL,    6 L. Filed 04/07/20
                                                JULIE                       Page 1224  of 1969
                                                                                 MITCHELL, JULIE L.
437 RYAN ROAD                            ADDRESS ON FILE                          242 REED AVENUE
HOLLYWOOD, AL 35752                                                               COLLINSVILLE, IL 62234




MITCHELL, KENT                           MITCHELL, KIMBERLY A.                    MITCHELL, LARRY BARTON, MD
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




MITCHELL, LARRY                          MITCHELL, LARRY                          MITCHELL, MARGIE
1550 COUNTY ROAD 487                     ADDRESS ON FILE                          5021 BOLD SPRINGS RD
CENTRE, AL 35960                                                                  MONROE, GA 30656




MITCHELL, MARJORIE A.                    MITCHELL, MARY                           MITCHELL, MATTHEW D.
ADDRESS ON FILE                          P.O. BOX 243                             ADDRESS ON FILE
                                         HELENA, AR 72342




MITCHELL, MCNUTT & SAMS                  MITCHELL, NAOMI                          MITCHELL, NICOLE
C/O MAGNOLIA REGIONAL HEALTH CENTER      ADDRESS ON FILE                          5218 RACHEL AVE
P.O. BOX 7120                                                                     PORTAGE, IN 46368
TUPELO, MS 38802




MITCHELL, RANDI                          MITCHELL, RHETTA                         MITCHELL, SUSAN
ADDRESS ON FILE                          754 RUBY LAKE DRIVE                      629 S PARKSIDE DR
                                         HIAWASSEE, GA 30546                      ROUND LAKE, IL 60073




MITCHELL, TAMMY K                        MITCHELL, TAMMY                          MITCHELL, TANYA
ADDRESS ON FILE                          908 W MAIN STREET                        222 W HARRISONVILLE DR
                                         WILLIAMSTON, NC 27892                    VALMEYER, IL 62295




MITCHELL, THOMAS M.                      MITCHELL, TIFFANI L.                     MITCHELL-BROWN, JANET
9234 CLOISTER CT                         136 SUBDIVISION RD UNITS D AND C         751 N MARKET ST
FRANKFORT, IL 60423                      DRESDEN, TN 38225                        WATERLOO, IL 62298




MITCHELLS FLOWERS & GIFTS                MITCHELLS FURNITURE                      MITCHELY, RAYMOND
100 W. RANDOLPH ST.                      509 EAST HOLLAND AVENUE                  P.O. BOX 1846
MCLEANSBORO, IL 62859-0000               ALPINE, TX 79830                         BLAIRSVILLE, GA 30514




MITCHEM, MELBA MAXINE                    MITCHENER, MELANIE K.                    MITCHERSON, JESSICA
P.O. BOX 141                             136 PHILLIPS ST                          2421 CLEVELAND BLVD
MONROE, OR 97456-0141                    CALESBURG, IL 61401                      GRANITE CITY, IL 62040
MITCHUM, CONNIE S.    Case 20-10766-BLS    Doc 6JAMES
                                    MITCHUSSON,     Filed
                                                       A. 04/07/20    Page 1225  of ORRIN
                                                                           MITSVEN, 1969D
443 PINE BUTTE LN                   1255 HWY 50 E                          37125 N ANTONIO AVE
NORTH AUGUSTA, SC 29841             WIDENER, AR 72394-9530                 LAKE VILLA, IL 60046




MITTCHELL, MATHEW                    MITZEL, KIMBERLY K.                   MITZI, BENDER
361 PONDEROSA ST                     237 S. LINCOLN AVE                    1273 HIDDEN CREST CT
EVASNTON, WY 82930                   ALLIANCE, OH 44601                    MESQUITE, NV 89034




MITZIE W DANIELS                     MIXON, BEVERLY J.                     MIXON, CAROL A.
1320 MALLERY ST                      3417 JULIA AVE                        209 INDEPENDENT CR
DEMING, NM 88030                     AUGUSTA, GA 30906                     GREENVILLE, AL 36037




MIXON, MICHELLE H.                   MIYOSHI, CHRISTINE E.                 MIZE SARAH
ADDRESS ON FILE                      296 BARKENTINE CT.                    2417 EDISON AVE APT B
                                     APTOS, CA 95003                       GRANITE CITY, IL 62040




MIZE, CARA                           MIZE, DEBRA                           MIZE, RILEY E.
1271 HAMILTON ST.                    25 N 98TH STREET                      ADDRESS ON FILE
GILSON, IL 61436                     BELLEVILLE, IL 62223




MIZELLE, PERCY                       MIZELLE, PHYLLIS A.                   MIZER, CASSANDRA
9041 PRISON CAMP RD                  ADDRESS ON FILE                       P.O. BOX 614
ROBERSONVILLE, NC 27871                                                    TUSCARAWAS, OH 44682




MIZERES, JAMES                       MIZER-ULLOM, JACQUELINE               MIZEUR, MASON
2599 MANCHESTER AVE NW               3321 SHREVE EASTERN RD                1109 N 611 E RD
NORTH LAWRENCE, OH 44666-9447        SHREVE, OH 44676                      PANA, IL 62557




MIZUHO ORTHOPEDIC SYSTEMS INC        MIZUHO ORTHOPEDIC SYSTEMS INC         MIZUHO ORTHOPEDIC SYSTEMS INC
MIZUHO OSI LOCKBOX                   MIZUHO OSI LOCKBOX                    PO BOX 1468
DEPT CH 16977                        UNION CITY, CA 94587-1468             UNION CITY, CA 94587-1468
PALATINE, IL 60055-6977




MIZUHO ORTHOPEDIC SYSTEMS, INC       MIZUHO ORTHOPEDIC SYSTEMS, INC        MIZUHO, OSI
DEPT CH 16977                        MIZUHO OSI LOCKBOX                    AR DEPT
PALATINE, IL 60055-6977              DEPT CH 16977                         P.O. BOX 1468
                                     PALATINE, IL 60055-6977               UNION CITY, CA 94587-1468




MIZUHO, OSI                          MJ PRODUCTIONS INC.                   MJELDE, GERTRUDE A
DEPT CH 16977                        6012 HIGHLAND LANE                    408 DOUGLAS AVE
PALATINE, IL 60055-6977              LAKEWOOD, IL 60014                    WAUKEGAN, IL 60085
MJS PHOTOGRAPHY            Case 20-10766-BLS    Doc
                                         MJX ASSET   6 Filed 04/07/20
                                                   MANAGEMENT, LLC - FD MGR Page 1226  of CORP
                                                                                 MK PLAZA 1969
4788 JESSEN DR                             VENTURE XII CLO LIMITED              611 DEERLAKE DR
EUGENE, OR 97402                                                                CARBONDALE, IL 62901




MMC OF NEVADA, LLC                         MMIC ALTA VISTA MOB, LLC             MMODAL SERVICES LTD
1209 ORANGE STREET                         7785 BAYMEADOWS WAY                  P O BOX 538504
WILMINGTON, DE 19801                       SUITE 200                            ATLANTA, GA 30353-8504
                                           JACKSONVILLE, FL 32256




MMODAL SERVICES LTD                        MMODAL SERVICES LTD                  MMODAL SERVICES, LTD
P.O. BOX 538504                            P.O. BOX 538504                      P.O. BOX 538504
ATLANTA, GA 30353                          ATLANTA, GA 30353-8504               ATLANTA, GA 30353-8504




MMODAL                                     MMS -A MEDICAL SUPPLY COMPANY        MNET
PO BOX 538504                              2675 SOLUTION CTR                    95 ARGONAUT SUITE 200
ATLANTA, GA 30353-8504                     CHICAGO, IL 60677-2006               ALISO VIEJO, CA 92656




MOAD, CHRISTIE                             MOAD, DIANN                          MOAD, JUELL R
2509 JULIE CROSSING                        37 PAT DRIVE                         2323 E 23RD ST
GRANITE CITY, IL 62040                     COLLINSVILLE, IL 62234               GRANITE CITY, IL 62040




MOAK, DENNIS                               MOBILE BEATZ                         MOBILE COUNTY DISTRICT COURT
19475 CORINTH ROAD                         C/O MARK BROOKS                      205 GOVERNMENT STREET
PITTSBURG, IL 62974-1441                   134 WESTVIEW PLACE                   MOBILE, AL 36644
                                           WATERLOO, IL 62298-0000




MOBILE ECHOCARDIOGRAPHY, INC               MOBILE EXAMINERS INC                 MOBILE INSTRUMENT SERV INC
4914 S STONE CREST DR                      DATAPOOL                             333 WATER AVENUE
P.O. BOX 571421                            P.O. BOX 73297                       BELLEFONTAIN, OH 43311-1777
MURRAY, UT 84107                           RICHMOND, VA 23235




MOBILE INSTRUMENT SERV INC                 MOBILE INSTRUMENT                    MOBILE MINI, INC
333 WATER AVENUE                           333 WATER AVENUE                     P.O. BOX 7144
BELLEFONTAINE, OH 43311-1777               BELLEFONTAINE, OH 43311              PASADENA, CA 91109-7144




MOBILE MINI, INC.                          MOBILE VASCULAR ACCESS NURSES        MOBLEY AUDREY EDWARDS
ATTN CASH DEPARTMENT                       P.O. BOX 324                         1205 BEAR TRAP ROAD
P.O. BOX 650882                            EDWARDSVILLE, IL 62025               WILLIAMSTON, NC 27892
DALLAS, TX 75265-0882




MOBLEY JONATHAN DANIEL                     MOBLEY, ALAN P.                      MOBLEY, HEATHER
13 HIGHLAND PARK LN                        1763 WILLIAMSON RD                   664 JAMES POWERS RD
ATLANTA, GA 30306                          LUVERNE, AL 36049-6304               MONROE, GA 30656-4095
MOBLEY, LINDA S       Case 20-10766-BLS
                                    MOBLEY,Doc
                                            RUTH6   Filed 04/07/20   Page 1227 ofSALLY
                                                                          MOBLEY, 1969
460 MULBERRY CREEK DR               169 MCELMURRAY RD                     3434 PANNELL RD
GOOD HOPE, GA 30641                 BEECH ISLAND, SC 29842                SOCIAL CIRCLE, GA 30025-3402




MOBOR, LLC                           MOCABY, BETHANY L.                   MOCABY, JACKIE C
P.O. BOX 939                         207 SANDERS AVENUE                   18195 NEW OHIO COAL RD
1602 W KIMMEL ST                     MARION, IL 62959                     PITTSBURG, IL 62974
MARION, IL 62959




MOCH, CHRISTY JEAN                   MOCK, JUSTIN                         MODA HEALTH PLAN
83343 WATERSHIP WAY                  ADDRESS ON FILE                      ATTN: ACCOUNTING
PLEASANT HILL, OR 97455                                                   601 SW 2ND AVE
                                                                          PORTLAND, OR 97204-9747




MODA STATE EMPLOYEES                 MODDE, JOHN                          MODEL TEES
P.O. BOX 40384                       18455 STREAMWOOD CT                  100 EAST MAIN ST
PORTLAND, OR 97240                   GURNEE, IL 60031                     CENTRE, AL 35960




MODER, SHIRLEY                       MODERN CLEANERS                      MODERN CLEANERS
5462 ANGELA DR NW                    2222 CEDAR ST                        624 CHEYENNE DR
BEACH CITY, OH 44608                 MCKENZIE, TN 38201                   EVANSTON, WY 82930




MODERN HEALTHCARE                    MODERN LEAP, INC                     MODERN TELEPHONE SYSTEMS
P.O. BOX 433277                      3207 LIGHTNING CT                    1032 GREYSTONE SQUARE
PALM COAST, FL 32143-9678            NEW LENOX, IL 60451                  JACKSON, TN 38303




MODERN TELEPHONE SYSTEMS             MODESTA MOLINA                       MODESTO, ALESANDRIA F.
234 GILL ST                          284 GARNETT LN                       ADDRESS ON FILE
JACKSON, TN 38301                    MESQUITE, NV 89027-6008




MODGLIN, JOHN JR                     MODI M.D., PURNIMA                   MODI, BIPIN N.
1015 OKLAHOMA HILL ROAD              ADDRESS ON FILE                      636 CONESTOGA RD
COLUMBIA, IL 62236                                                        NAPERVILLE, IL 60563




MODLIN JACKIE S JR                   MODLIN, CATHERINE M.                 MODLIN, CHRISTINE B.
2047 MILL ROAD                       ADDRESS ON FILE                      1075 DOGWOOD LANE
JAMESVILLE, NC 27846                                                      JAMESVILLE, NC 27846




MODLIN, JASON A.                     MODLIN, JENNIFER S.                  MODLIN, JESSICA
ADDRESS ON FILE                      1014 BARBER CUTOFF ROAD              106 PARK DRIVE
                                     JAMESVILLE, NC 27846                 WILLIAMSTON, NC 27892
MODLIN, KASSIE S.      Case 20-10766-BLS
                                     MODLIN,Doc 6 Filed 04/07/20
                                            MICHELLE               Page 1228 of SPERLING
                                                                        MODRALL 1969 ROEHL HARRIS & SISK
2515 MANNING RD                       733 WEST MILL POND RD             PA
JAMESVILLE, NC 27846                  ROPER, NC 27970                   P.O. BOX 2168
                                                                        ALBUQUERQUE, NM 87103-2168




MODUFORM INC                          MODULAR SERVICE COMPANY           MODULAR SPACE CORPORATION
172 INDUSTRIAL RD                     500 EAST BRITTON ROAD             12603 COLLECTIONS CENTER DRIVE
FITCHBURG, MA 01420                   OKLAHOMA CITY, OK 73114           CHICAGO, IL 60693-0126




MODULAR SPACE CORPORATION             MODULLA LAKSHMISIV P              MOE, CHERYL
540 JETTS DR                          3630 CANOPY CHASE RD              3266 KILARNEY DR
JACKSON, KY 41339                     CUMMINGS, GA 30041                GRANITE CITY, IL 62040




MOE, DENNIS LOWELL                    MOE, RAELEIGH                     MOEAI, JANNELLA
4949 CONE AVE                         6707 23RD AVE                     P.O. BOX 2153
EUGENE, OR 97402                      KENOSHA, WI 53143                 MESQUITE, NV 89024




MOEDE, ALLAN JOSEPH                   MOELLER, ALVIN                    MOELLER, GERHARD
MCKENZIE MEDICAL CENTER               C/O FAYE SCHWARTZKOPF POA         ADDRESS ON FILE
205 HOSPITAL DR                       5575 MM ROAD
MCKENZIE, TN 38201                    RED BUD, IL 62278




MOELLER, LARRY                        MOELLER, REBECCA S.               MOENS, BRANDON
953 FRAZIER AVE                       4001 AMES ROAD                    729 SUN LAKE RD
CENTRALIA, IL 62801                   RED BUD, IL 62278                 LAKE VILLA, IL 60046




MOERI, NATHANIEL                      MOESLEIN, SCOTT A                 MOFFITT, CHRISTOPHER J.
111 EVE LANE                          3 OWL NEST LANE                   929 N LA GRANGE RD APT 1
CONWAY, AR 72034                      COLUMBIA, IL 62236                LA GRANGE PARK, IL 60526




MOFIELD, KRYSTAL                      MOFOR, NICOLINE                   MOGIANESI, MARISA
406 BAINBRIDGE RD                     1815 PAULA LN                     3150 WINKLE AVE
MARION, IL 62959                      MARION, MD 62959                  SANTA CRUZ, CA 95065




MOHAMAD, ABUL-KHOUDOUD, MD            MOHAMED ALHAMEEDI                 MOHAMED RUZAIK IBRAHIM, MD
2724 CRESTVIEW DRIVE                  360 PLAZA DR                      ADDRESS ON FILE
CATLETTSBURG, KY 41129                MONROE, GA 30655-3129




MOHAMED, AHMED, MD                    MOHAMED, MAHMOUD                  MOHAMMAD KANAKRIYEH M.D.
ADDRESS ON FILE                       ADDRESS ON FILE                   350 E VANDERBILT WAY
                                                                        SAN BERNARDINO, CA 92408
MOHAN MALLAM, M.D.       Case 20-10766-BLS
                                       MOHAN,Doc 6 Filed 04/07/20
                                             ANUMOL                   Page 1229
                                                                           MOHAR,of 1969
                                                                                  DENNIS
303 E. BUENA VISTA                     1200 EAST GRAND AVENUE 18-2B        2448 SAN PEDRO DRIVE
BARSTOW CA                             CARBONDALE, IL 62901                SANTA ROSA, CA 95401
BARSTOW, CA 92311




MOHELA BR                              MOHELA - DRB SERVICING -SW          MOHELA - RC
P.O. BOX 1022                          P.O. BOX 1022                       P.O. BOX 1022
CHESTERFIELD, MO 63006-1022            CHESTERFIELD, MO 63006-1022         CHESTERFIELD, MO 63006-1022




MOHELA - WS                            MOHELA SOFI LENDING CORP            MOHELA
P.O. BOX 1022                          P.O. BOX 1022                       P.O. BOX 1022
CHESTERFIELD, MO 63006-1022            CHESTERFIELD, MO 63006-1022         CHESERFIELD, MO 63006




MOHELA                                 MOHELA                              MOHELA
P.O. BOX 1022                          P.O. BOX 1022                       RE: NEKESHA OLIPHANT 22 2840 2704
CHESERFIELD, MO 63006-1022             CHESTERFIELD, MO 63006-1022         P.O. BOX 1022
                                                                           CHESTERFIELD, MO 63006-1022




MOHELA                                 MOHELA-SOFI                         MOHELA-SOLI SERVICING
SOFI SERVICING                         P.O. BOX 1022                       P.O. BOX 1022
P.O. BOX 1022                          CHESTERFIELD, MO 63006-1022         CHESTERFIELD, MO 63006-1022
CHESTERFIELD, MO 63006-1002




MOHLER, JOYCE L.                       MOHLER, MICHAEL                     MOHR, ELIZABETH
1640 S MAIN ST APT 102                 250 HARMON AVE NE                   3577 LAWRENCE ST
NORTH CANTON, OH 44709                 BREWSTER, OH 44613                  EUGENE, OR 97405




MOHR, PATRICIA S.                      MOHRFELD, SUSAN C.                  MOISE, LULA M
ADDRESS ON FILE                        ADDRESS ON FILE                     738 W 116TH PL
                                                                           CHICAGO, IL 60628




MOJAVE COPY & PRINTING, INC.           MOJAVE DESERT/AIR QUALITY           MOJICA, ANGELA
12402 INDUSTRIAL BLVD                  MANAGEMENT DISTRICT                 12235 S LAWNDALE AVE
E-10                                   14306 PARK AVENUE                   ALSIP, IL 60803-1046
VICTORVILLE, CA 92935                  VICTORVILLE, CA 92392-2310




MOJSIEJUK, JOZEFA                      MOL, MARILOU                        MOLANO, JACQUELINE
971 MACKENZIE DR                       2067 W KNOX RD                      39182 N CALDER LN
ANTIOCH, IL 60002                      ALEXIS, IL 61412                    BEACH PARK, IL 60083




MOLEDOR, DAVID                         MOLIDOR, LISA                       MOLINA ADVANTAGE PLAN
8532 PINE HURST CR                     ADDRESS ON FILE                     P.O. BOX 22658
HOLLINS, VA 24019                                                          LONG BEACH, CA 90801
MOLINA CENTENNIAL       Case 20-10766-BLS
                                      MOLINA Doc 6 JANETH
                                             GARCIA, Filed 04/07/20    Page 1230
                                                                            MOLINAof 1969
                                                                                   HEALTHCARE IL FHP
P.O. BOX 22801                         34841 N ROBIN RD                      1520 KENSINGTON RD
LONGBEACH, CA 90801                    INGLESIDE, IL 60041                   OAK BROOK, IL 60523




MOLINA HEALTHCARE OF IL                MOLINA HEALTHCARE OF IL               MOLINA HEALTHCARE OF IL
1520 KENSIGNTON ROAD                   1520 KENSINGTON RD                    ATTN PROVIDER PAYMENTS
OAKBROOK, IL 60523                     212                                   200 OCEAN GATE, STE 200
                                       OAK BROOK, IL 60523-2140              LONG BEACH, CA 90802




MOLINA HEALTHCARE OF IL                MOLINA HEALTHCARE OF IL               MOLINA HEALTHCARE OF IL
ATTN: MEDICAL REFUNDS                  ATTN: REFUNDS                         ATTN: REFUNDS
200 OCEANGATE 6TH FLOOR                BIN 88826                             P.O. BOX 540
LONG BEACH, CA 90802                   MILWAUKEE, WI 53288-0826              LONG BEACH, CA 90801-5633




MOLINA HEALTHCARE OF ILLINOIS          MOLINA HEALTHCARE OF ILLINOIS         MOLINA HEALTHCARE OF NM
ATTN: MEDICAL REFUNDS                  ATTN: REFUNDS                         8801 HORIZONS BLVD NE
200 OCEANGATE 6TH FLOOR                P.O. BOX 540                          ALBUQUERQUE, NM 87125
LONG BEACH, CA 90802                   LONG BEACH, CA 90801




MOLINA HEALTHCARE OF NM                MOLINA HEALTHCARE OF NM               MOLINA HEALTHCARE OF NM
P O BOX 22801                          P.O. BOX 22801                        P.O. BOX 27561
LONG BEACH, CA 90801                   LONG BEACH, CA 90801-5633             ALBUQUERQUE, NM 87125




MOLINA HEALTHCARE OF NM                MOLINA HEALTHCARE OF SC               MOLINA HEALTHCARE OF UTAH
P.O. BOX 3887                          200 OCEANGATE STE                     7050 S UNION PARK AVE STE 200
ALBUQUERQUE, NM 87190                  LONG BEACH, CA 90802                  MIDVALE, UT 84047




MOLINA HEALTHCARE OF UTAH              MOLINA HEALTHCARE OF UTAH             MOLINA HEALTHCARE OF UTAH
DEPARTMENT 1390                        DEPT 1390                             P.O. BOX 22633
DENVER, CO 80256                       P.O. BOX 91067                        LONG BEACH, CA 90801-5633
                                       DENVER, CO 80256




MOLINA HEALTHCARE                      MOLINA HEALTHCARE                     MOLINA HEALTHCARE
ATTN: REFUNDS                          ATTN: REFUNDS                         PO BOX 540
P.O. BOX 540                           P.O. BOX 540                          LONG BEACH, CA 90801
LONG BEACH, CA 90801-5633              LONG BEACH, CA 90806




MOLINA MEDICAID LA                     MOLINA MEDICAID SOLUTIONS             MOLINA MEDICAID
P.O. BOX 91020                         REVERSAL/REPLACEMENT                  P.O. BOX 22664
BATON ROUGE, LA 70821                  P.O. BOX 3767                         LONG BEACH, CA 90801-5633
                                       CHARLESTON, WV 25337-3767




MOLINA MEDICAID                        MOLINA PALACIOS, JACQUELINE           MOLINA, PATRICIA
P.O. BOX 40309                         2501 S SILVER AVE                     P.O. BOX 364
CHARLESTON, SC 29423                   DEMING, NM 88030                      CLEVELAND, NM 87715
MOLINA, YVONNE           Case 20-10766-BLS   Doc
                                       MOLINAR,    6 L. Filed 04/07/20
                                                JAMIE                    Page 1231
                                                                              MOLINE,of 1969P.
                                                                                      FATIMA
2222 S LIME ST                           259 MEADOWLARK LANE                   1280 SANDY DRIVE
DEMING, NM 88030                         APTOS, CA 95003                       ANTIOCH, IL 60002




MOLINEAUX, SANDRA                        MOLITOR SARAH M                       MOLL ROSEMARIEA
ADDRESS ON FILE                          5073 PATTERSON RD                     14 E DAHLIA LANE
                                         ST LOUIS, MO 63129                    ROUND LAKE BEACH, IL 60073




MOLL, CHERYL                             MOLL, KIMBERLY                        MOLL, SARAH
2110 BARBARA STREET                      4538 HORSE CREEK RD                   305 N. FILLMORE ST.
COLLINSVILLE, IL 62234                   RED BUD, IL 62278-0000                RED BUD, IL 62278




MOLLET, LEIGH                            MOLLET, RUTH                          MOLLETT, LEATRICE
ADDRESS ON FILE                          ADDRESS ON FILE                       ADDRESS ON FILE




MOLLETT, MARDY                           MOLLETT, RANDALL A.                   MOLLETT, TINA N.
182 TRACE FORK ROAD                      ADDRESS ON FILE                       7670 KY ROUTE 40 E
TOMAHAWK, KY 41262                                                             WILLIAMSPORT, KY 41271




MOLLETT, TRACI                           MOLLETTE, AMANDA                      MOLLETTE, JULIE
887 SHADY GROVE RD                       ADDRESS ON FILE                       1508 CHAUCER DR
LOUISA, KY 41230                                                               MURRAY, KY 42071




MOLLY CROSS                              MOLLY HEATH                           MOLLY J FOLKERS
2118 NAMEOKI RD                          ADDRESS ON FILE                       ADDRESS ON FILE
GRANITE CITY, IL 62040




MOLLY WELLS                              MO-MAN CONTRACTING, INC.              MOMAR INC
1104 RALPH TAYLOR RD                     P.O. BOX 6                            P.O. BOX 19569
WILLIAMSTON, NC 27892                    LOUISA, KY 41230                      ATLANTA, GA 30325-0569




MOMBELA, ANA L.                          MONAGO, FRANK A.                      MONARCH CARPET SERVICE
ADDRESS ON FILE                          7412 KLINGSTON ST NW                  P.O. BOX 781
                                         MASSILLON, OH 44646                   RAINSVILLE, AL 35986




MONARCH CARPET                           MONARQUE, DANELLE                     MONCE ALAN ROY
P O BOX 781                              406 MORENO ST                         3166 W ST
RAINSVILLE, AL 35986                     LAS VEGAS, NM 87701                   SPRINGFIELD, OR 97477
MONCE, ALAN ROY            Case 20-10766-BLS
                                         MONCE,Doc
                                               ALAN 6      Filed 04/07/20   Page 1232 of 1969
                                                                                 MONDANE, JUSTINA L.
3166 W ST                                 3166 W ST                               19 CHURN RD
SPRINGFIELD, OR 97477                     SPRINGFIELD, OR 97477                   MATTESON, IL 60443




MONDIA, MICHELLE                          MONDOY, RENEE ANGELA M.                 MONDRAGON VALENCIA, MIRIAM
ADDRESS ON FILE                           ADDRESS ON FILE                         711 KELLER AVE
                                                                                  WAUKEGAN, IL 60085




MONET MEDICAL INC                         MONEYMAKER, LILLIAN A.                  MONEYMAKER, MARIA
255 W CENTRAL AVE                         ADDRESS ON FILE                         ADDRESS ON FILE
SALT LAKE CITY, UT 84107




MONEYSWORTH LINEN SERVICES INC            MONGKEYA, CORDELIA                      MONIA, ADRIENNE E.
102 CORPORATE DRIVE                       ADDRESS ON FILE                         ADDRESS ON FILE
ELIAZBETH CITY, NC 27909




MONICA BARBA                              MONICA L GARDNER                        MONICA MCCLASKEY
ADDRESS ON FILE                           214 N 11TH ST                           695 N KELLOGG ST
                                          SUNBURY, PA 17801-2434                  GALESBURG, IL 61401




MONICA TOR                                MONICA WESTMORELAND                     MONICO JR., DONALD A.
ADDRESS ON FILE                           2764 COUNTY ROAD 255                    ADDRESS ON FILE
                                          FORT PAYNE, AL 35967




MONICO, DONALD                            MONICO, STEPHANIE L.                    MONICO, STEPHANIE
ADDRESS ON FILE                           ADDRESS ON FILE                         ADDRESS ON FILE




MONIGAN, KAREN L.                         MONIQUE BLAND                           MONIQUE BURTON
ADDRESS ON FILE                           15909 NC 125                            ADDRESS ON FILE
                                          OAK CITY, NC 27857-0000




MONIQUE LEONARD                           MONIQUE, SHERRILL MD                    MONITOR PRODUCTIONS, INC.
5 COUNTRY HILL LANE                       1202 GAULT AVE NORTH                    P.O. BOX 351
BELLEVILLE, IL 62221                      FORT PAYNE, AL 35967                    WYANET, IL 61379-0000




MONIZ, KELLY D.                           MONIZADAMS KAYLA NICOLE                 MONK, DARILYN
ADDRESS ON FILE                           564 LINDALE DR APT 22                   1913 GIDEON AVE
                                          SPRINGFIELD, OR 97477                   ZION, IL 60099
MONK, PATRICIA        Case 20-10766-BLS
                                    MONKEN,Doc
                                            ROBIN6 R. Filed 04/07/20     Page 1233 of 1969
                                                                              MONMOUTH CHAMBER OF COMMERCE
60 W MAIN ST                        8727 MONKEN RD                            89 PUBLIC SQUARE
LOGANTOWN, PA 17747-8962            CENTRALIA, IL 62801                       MONMOUTH, IL 61462




MONOSSO, TERESA                       MONROE CLEANERS                         MONROE CO ELECTRIC COOP
386 VALLEY VIEW DR                    405 WEST MAIN STREET                    P.O. BOX 128
TOOELE, UT 84074                      MARION, IL 62959                        WATERLOO, IL 62298




MONROE COUNTY COLLECTOR               MONROE COUNTY FAIR ASSOCIATION          MONROE COUNTY HOSPITAL
MONROE CO COURTHOUSE                  P.O. BOX 189                            2016 SOUTH ALABAMA AVENUE
100 S MAIN ST                         WATERLOO, IL 62298                      MONROEVILLE, AL 36460
WATERLOO, IL 62298




MONROE COUNTY INDEPENDENT             MONROE COUNTY JAIL                      MONROE COUNTY JAIL
C/O CONRAD PRESS LTD                  225 EAST 3RD STREET                     225 EAST 3RD STREET
P.O. BOX 407                          ATTN: REFUNDS                           WATERLOO, IL 62298
COLUMBIA, IL 62236                    WATERLOO, IL 62298




MONROE COUNTY JAIL                    MONROE COUNTY JAIL                      MONROE COUNTY MEDICAL CENTER
ATTN: LARITA                          ATTN: REFUNDS                           529 CAPP HARLAN ROAD
225 EAST 3RD STREET                   225 EAST 3RD STREET                     TOMPKINSVILLE, KY 42167-1840
WATERLOO, IL 62298                    WATERLOO, IL 62298




MONROE COUNTY SURGICAL CENTER, LLC    MONROE DIAGNOSTIC TESTING CENTERS,      MONROE DONNA J
208 SOUTH LASALLE STREET              LLC                                     2252 COUNTY RD 134
SUITE 814                             289 S. CULVER ST.                       HENAGAR, AL 35978-0362
CHICAGO, IL 60604                     LAWRENCEVILLE, GA 30046




MONROE HMA PHYSICIAN MANAGEMENT INC   MONROE HMA PHYSICIAN MANAGEMENT,        MONROE HMA, LLC
705 BREEDLOVE DR, STE 200             LLC                                     289 S. CULVER ST.
MONROE, GA 30655                      289 S. CULVER ST.                       LAWRENCEVILLE, GA 30046
                                      LAWRENCEVILLE, GA 30046




MONROE I, KENNETH S.                  MONROE JOSEPH H                         MONROE RANDOLPH TRANSIT DIST
ADDRESS ON FILE                       265 HENDRIX RD                          820 W SECOND STREET
                                      SYLVANIA, AL 35988-0122                 SPARTA, IL 62286




MONROE, ANGENETTE                     MONROE, CATHERINE A.                    MONROE, KASEY
3147B ARIZONA AVE                     ADDRESS ON FILE                         205 N WALNUT ST
GREAT LAKES, IL 60088                                                         FREEBURG, IL 62243




MONROE, RANDI S.                      MONROE, REBEKAH                         MONROE, SARAH F
P.O. BOX 1073                         248 COUNTY ROAD 657                     1463 HILLTOP ROAD
STANTON, TX 79782                     RAINSVILLE, AL 35986                    HENAGAR, AL 35978
MONROE, SHANNON         Case 20-10766-BLS
                                      MONROYDoc 6 C Filed 04/07/20
                                             MARIA                     Page 1234 of VICTORIA
                                                                            MONROY, 1969
ADDRESS ON FILE                        13925 W WADSWORTH RD                  P.O. BOX 762
                                       WADSWORTH, IL 60083                   AROMAS, CA 95004




MONSALUD II, JOSEPHUS P.               MONSEN, JESSICA                       MONSON, ASHLEY A.
ADDRESS ON FILE                        7609 MOUNTAIN VIEW ROAD               17085 JOSHUA RD
                                       LAKE POINT, UT 84074                  APPLE VALLEY, CA 92307




MONSON, CHRIS                          MONSRUD, MICHELE L.                   MONSTER WORLDWIDE INC
P.O. BOX 2968                          2711 OLD SNAPPING SHOALS              P.O. BOX 740889
MESQUITE, NV 89027                     MCDONOUGH, GA 30252                   LOS ANGELES, CA 90074-0889




MONTABONE, JEREMIE D.                  MONTALVO, ANNA M.                     MONTALVO, NAZARENE
6650 WOODBRIDGE CIR NW                 8 WESLEY CT.                          ADDRESS ON FILE
MASSILLON, OH 44646                    WATSONVILLE, CA 95076




MONTANA CSED                           MONTANA DEPARTMENT OF REVENUE         MONTANA DEPARTMENT OF REVENUE
P.O. BOX 8001                          MONTANA DEPARTMENT OF REVENUE         P.O. BOX 5805
HELENA, MT 59604-8001                  P.O. BOX 5805                         HELENA, MT 59604-5805
                                       HELENA, MT 59604-5805




MONTANA DEPARTMENT OF REVENUE          MONTANA DEPARTMENT OF REVENUE         MONTANA PORCH
P.O. BOX 8021                          UNCLAIMED PROPERTY DIVISION           212 W MAIN
HELENA, MT 59604-8021                  340 N LAST CHANCE GULCH               DAMIANSVILLE, IL 62215
                                       HELENA, MT 59601




MONTANEZ, ANCA                         MONTANEZ, JORGE                       MONTANEZ, MICKI
4703 WALNUT HILL DR                    P.O. BOX 2610                         450 HILLSIDE DR
EVANS, GA 30809                        WATSONVILLE, CA 95076                 BLDG A 260
                                                                             MESQUITE, NV 89027




MONTANO, BETSY L.                      MONTANO, BONNIE J.                    MONTANO, CARLI-RAE I.
ADDRESS ON FILE                        ADDRESS ON FILE                       ADDRESS ON FILE




MONTANO, JOSEPH J. DBA: JJS            MONTANO, KAYLEE A.                    MONTANO, VANESSA
FIRE EQUIPMENT SERVICES                2701 7TH ST SP 117                    35003 BIRCH RD
920 3RD STREET                         LAS VEGAS, NM 87701                   BARSTOW, CA 92311
LAS VEGAS, NM 87701




MONTANO, YESENIA                       MONTEALEGRE, CASSANDRA                MONTEALEGRE, KENNY
846 EAST 930 NORTH                     ADDRESS ON FILE                       ADDRESS ON FILE
TOOELE, UT 84074
MONTECINOS, ERIKA       Case 20-10766-BLS
                                      MONTEI,Doc 6 Filed 04/07/20
                                             RICHARD                  Page 1235 of 1969
                                                                           MONTEITH JULIA E
136 MONTEBELLO DR                      1503 SEELY RUN RD                    263 COLE TOWN CIRCLE
WATSONVILLE, CA 95076                  JERSEY SHORE, PA 17740               COPPERHILL, TN 37317




MONTEJANO, LUZ                         MONTEJANO, SANDRA A                  MONTELIUS, GLEVA J
10950 S AVENUE M                       13122 W 27TH PL                      2532 W MAIN ST
CHICAGO, IL 60617                      ZION, IL 60099                       P.O. BOX 2008
                                                                            BARSTOW, CA 92312




MONTELONGO, ROSALBA E .                MONTEREY PROFESSIONAL CENTER         MONTES DE OCA, ANNETTE M.
911 S SILVER AVE                       77 W WASHINGTON STE 405              P.O. BOX 236 OR 410 PLATT
DEMING, NM 88030                       CHICAGO, IL 60602                    GENOA CITY, WI 53128




MONTES JESUS                           MONTES, CHRISTINE                    MONTES, JESSICA
505 PAISANO PLACE APT 6                15 BALDWIN AVE                       11223 AXTELL ST
BIG BEND NATIONAL, TX 79834            WAUKEGAN, IL 60085                   CASTROVILLE, CA 95012




MONTES, KIMBERLY                       MONTES, VALERIE C.                   MONTESA, THERESA
ADDRESS ON FILE                        12 PIMA ST                           ADDRESS ON FILE
                                       WATSONVILLE, CA 95076




MONTES-GARCIA, NANCY                   MONTGOMERY & ANDREWS PA              MONTGOMERY CHRISTINA
ADDRESS ON FILE                        P.O. BOX 2307                        1701 GOLF RD APT 226
                                       SANTA FE, NM 87504-2307              WAUKEGAN, IL 60087




MONTGOMERY DRESSLER CO LLC             MONTGOMERY, AUSTIN                   MONTGOMERY, CHASE K.
6610 CHATSWORTH ST NW                  ADDRESS ON FILE                      ADDRESS ON FILE
CANTON, OH 44718




MONTGOMERY, DEBRA                      MONTGOMERY, HALEY                    MONTGOMERY, JODI
ADDRESS ON FILE                        234B NORTH 4TH ST                    3495 OLD METROPOLIS ROAD
                                       WEST HELENA, AR 72390                VIENNA, IL 62995




MONTGOMERY, JULIE A.                   MONTGOMERY, KALIE                    MONTGOMERY, LINDSEY D.
210 FM 1809                            305 WEST FIFTH STREET                1084 WILLOW WOOD DR
SWEETWATER, TX 79556                   BENTON, IL 62812                     CATLETTSBURG, KY 41129




MONTGOMERY, PATRICK ROBERT             MONTGOMERY, PAULA                    MONTGOMERY, RICKY FOR ANNA
3768 GREENWOOD STREET                  1135 OLD DIXVILLE ROAD               MONTGOMERY
EUGENE, OR 97404                       HARRODSBURG, KY 40330                2205 OLD HUNTINGTON RD
                                                                            LEXINGTON, TN 38351
MONTGOMERY, SHANICE S.Case 20-10766-BLS     Doc 6TESSA
                                    MONTGOMERY,      Filed
                                                         C. 04/07/20   Page 1236  of 1969 INC
                                                                            MONTI CONSULTING
ADDRESS ON FILE                     901 E FM-700                            AR SOLUTIONS GROUP
                                    BIG SPRING, TX 79720                    306 E CHURCH ST
                                                                            DELAND, FL 32724




MONTIEL SEASON L                         MONTIEL, AMETHYST M.               MONTIERTH, BRYCE
932 CATCUS CT                            ADDRESS ON FILE                    P.O. BOX 203
BARSTOW, CA 92311-3117                                                      LOGANDALE, NV 89021-0203




MONTILLA, LORRAINE C.                    MONTINI, CINDY M.                  MONTLICK & ASSOCIATES PC
2609 WASSON ROAD APT 60                  8779 GLENARDEN CIR                 17 EXECUTIVE PARK DR
BIG SPRING, TX 79720                     MASSILLON, OH 44646                STE 300
                                                                            ATLANTA, GA 30329




MONTOYA JESSICA                          MONTOYA ROBERT                     MONTOYA, ALISA M.
3248 EZRA AVE                            ADDRESS ON FILE                    1600 ADKINS ST 26
ZION, IL 60099                                                              EUGENE, OR 97401




MONTOYA, ANALY                           MONTOYA, ANALY                     MONTOYA, ANTHONY
ADDRESS ON FILE                          P.O.BOX 843                        98 ARAPAHOE CIR
                                         COLUMBUS, NM 88029                 EVANSTON, WY 82930




MONTOYA, CARL P.                         MONTOYA, CARMELA                   MONTOYA, ERNEST
ADDRESS ON FILE                          3197 LLANO VISTA LOOP              18A COUNTY ROAD 56A
                                         RIO RANCHO, NM 87124               CHAMITA, NM 87566-0000




MONTOYA, JOAN                            MONTOYA, LEO T.                    MONTOYA, LIONEL J.
1250 HWY 434 GUADALUPITA HC 34 BOX 207   DBA LEOS GLASS & GLAZING           ADDRESS ON FILE
HOLMAN, NM 87723                         P O BOX 114
                                         LAS VEGAS, NM 87701-0114




MONTOYA, MARIANA                         MONTOYA, MARIANA                   MONTOYA, MICHELLE D.
ADDRESS ON FILE                          ADDRESS ON FILE                    P.O. BOX 3692
                                                                            LAS VEGAS, NM 87701




MONTOYA, ROBERT E.                       MONTOYA, RONELL A.                 MONTROSE MEMORIAL HOSPITAL, INC
ADDRESS ON FILE                          ADDRESS ON FILE                    800 SOUTH THIRD STREET
                                                                            MONTROSE, CO 81401-4291




MONTROY, ELIZABETH K.                    MONTRY, JAN T.                     MONTY, SULLIVAN
ADDRESS ON FILE                          ADDRESS ON FILE                    2301 BOST ORCHARD RD
                                                                            CREAL SPRINGS, IL 62922
MOOD MEDIA             Case 20-10766-BLS
                                     MOODY Doc    6 Filed 04/07/20
                                             HEALTHMART              Page 1237
                                                                          MOODY,of 1969 L.
                                                                                 BRITTANY
P.O. BOX 71070                       109 E BROADWAY                       81 WATT BOONE RD
CHARLOTTE, NC 28272-1070             SPARTA, IL 62286                     MEDINA, TN 38355




MOODY, JENNA                         MOODY, JOHN, JR.                     MOODY, KATHLEEN H.
1711 MASERATI DR                     496 SFC 327                          3237 DARK WOODS DR.
JOLIET, IL 60435                     FORREST CITY, AR 72335               FRANKLIN, TN 37064




MOODY, MEGAN W.                      MOODY, SHANE P.                      MOODY, SHARON K.
ADDRESS ON FILE                      212 TAYLOR AVENUE                    ADDRESS ON FILE
                                     DENNISON, OH 44621




MOODYS INVESTORS SERVICE INC         MOOG INC SALT LAKE                   MOOMAW, MARY
P.O. BOX 102597                      75 REMITTANCE DRIVE DEPT 3184        1001 W HIGH ST
ATLANTA, GA 30368-0597               CHICAGO, IL 60675-3184               ORRVILLE, OH 44667-1435




MOON GLOW                            MOON JR., ROBERT A.                  MOON, CORI B.
P.O. BOX 67                          2622 SQUIRE DRIVE                    304 WILLIAMSBURG DR. APT. 2
LOWMANSVILLE, KY 41232               DYER, IN 46311                       DESOTO, IL 62924




MOON, DAVID                          MOON, LACIE                          MOON, LYNDA
435 MAPLE AVE                        P.O. BOX 898                         4870 H D ATHA RD
GALESBURG, IL 61401                  MOUNTAIN VIEW, WY 82939              COVINGTON, GA 30014




MOON, ROLLIN                         MOON, ZAKARY                         MOON-ERRABIE, CARA M.
54 REMINGTON CIR                     57 BRIDGE CIR                        1322 NEW MEXICO HIGHWAY 65
EVANSTON, WY 82930                   TOOELE, UT 84074                     MONTEZUMA, NM 87731




MOONEY & CO INC                      MOONEY & CO INC                      MOONEY & CO,INC
415 WILLIAMSON WAY 9                 415 WILLIAMSON WAY                   415 WILLIAMSON WY, SUITE 9
ASHLAND, OR 97520                    SUITE 9                              ASHLAND, OR 97520
                                     ASHLAND, OR 97520




MOONEY & CO., INC                    MOONEY, ALLISON M.                   MOONEY, CAROL
415 WILLIAMSON WAY SUITE 9           17970 HIGHWAY 22 NORTH A             1000 MAXWELL RD
ASHLAND, OR 97477                    WILDERSVILLE, TN 38388               SCOTTS HILL, TN 38374




MOONEY, GEORGE                       MOONEY, KAYLI                        MOONEY, LYNN FOR MICKELA MOONEY
P.O. BOX 411                         1395 JEFFERSON STREET UNIT 3         1690 BIBLE GROVE RD
TOOELE, UT 84074                     EUGENE, OR 97402                     LEXINGTON, TN 38351
MOOR, BRIAN             Case 20-10766-BLS
                                      MOORE Doc 6 INC
                                            ASPHALT Filed 04/07/20        Page 1238
                                                                               MOOREof 1969MARIE
                                                                                    CAMILLE
870 OPAL AVE                           1 COMMERCIAL STREET                     167 SHERWOOD DR
BARSTOW, CA 92311                      MILLSTADT, IL 62260                     SUTHERLIN, OR 97479




MOORE DEWEY J                          MOORE JOSEPH D                          MOORE KAREN D
2409 MELROSE LOOP                      12729 S RACINE                          ADDRESS ON FILE
EUGENE, OR 97402                       CALUMET PARK, IL 60827




MOORE LINDSAY M                        MOORE MEDICAL CORP                      MOORE MEDICAL CORP
8043 LAKEWOOD DRIVE                    P.O. BOX 99718                          P.O. BOX 99718
WATERLOO, IL 62298                     CHICAGO, IL 60690                       CHICAGO, IL 60696




MOORE NATHANIEL G                      MOORE PHARMACEUTICAL SOLUTIONS          MOORE, ALISSA M.
17 E AARON DR                          1657 BARNES CHAPEL ROAD                 ADDRESS ON FILE
TOOELE, UT 84074                       BLUE RIDGE, GA 30513-6517




MOORE, ANDRE                           MOORE, BARBIE R.                        MOORE, BECCA
2712 PIPER HILL DR                     ADDRESS ON FILE                         32633 EAGLE WOOD DRIVE
BELLEVILLE, IL 62221                                                           COTTAGE GROVE, OR 97424




MOORE, BECCA                           MOORE, BONNIE                           MOORE, BREON J.
ADDRESS ON FILE                        5605 PLUM TREE DRIVE                    7050 183RD STREET UNIT 408
                                       SOUTHAVEN, MS 38671                     TINLEY PARK, IL 60477




MOORE, BRITTANY                        MOORE, CAMDEN                           MOORE, CECILLIA E.
13570 HWY 1690                         175 CR 376                              1377 HWY 64 WEST
LOUISA, KY 41230                       WYNNE, AR 72396                         WYNNE, AR 72396




MOORE, CHARLENE                        MOORE, CHARLES T.                       MOORE, CODY T.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




MOORE, CURTIS                          MOORE, DANIEL K.                        MOORE, DELORES
P.O. BOX 573                           33811 VIA CAPRI                         7533 HWY 127
JONESBORO, IL 62952-0000               DANA POINT, CA 92629-4518               MURPHYSBORO, IL 62966




MOORE, DIANE C.                        MOORE, DIANE CHRIS - ICEO               MOORE, DONNA D.
204 ROYALE DR                          BIG BEND REGIONAL MEDICAL CENTER        ADDRESS ON FILE
PORT LAVACA, TX 77979                  2600 HIGHWAY 118 NORTH
                                       ALPINE, TX 79830
MOORE, DONNA             Case 20-10766-BLS
                                       MOORE,Doc 6 GLYNN
                                             ELBERT Filed 04/07/20   Page 1239
                                                                          MOORE,of 1969 M.
                                                                                 ELIZABETH
ADDRESS ON FILE                         4624 STILETTO CT                  ADDRESS ON FILE
                                        MARTINEZ, GA 30907




MOORE, GINA                             MOORE, GREGORY D.                 MOORE, HAILEY R.
5575 DANA DRIVE                         ADDRESS ON FILE                   400 W BOUNDARY RD
ASHLAND, KY 41102                                                         CREAL SPRINGS, IL 62922




MOORE, HARLAND                          MOORE, HEATHER                    MOORE, HEDY
ADDRESS ON FILE                         2938 THREE EAGLE ST               P.O. BOX 975
                                        NORMAL, IL 61761                  WINDSOR, NC 27983




MOORE, HELEN A.                         MOORE, JAMES M.                   MOORE, JEAN
ADDRESS ON FILE                         1631 JOE MOBLEY RD                4355 HWY 1760
                                        WILLIAMSTON, NC 27892             LOUISA, KY 41230




MOORE, JENNIFER M.                      MOORE, JOSEPH D.                  MOORE, JOSEPH
ADDRESS ON FILE                         ADDRESS ON FILE                   ADDRESS ON FILE




MOORE, KANDI                            MOORE, KANDRA S.                  MOORE, KAREN
ADDRESS ON FILE                         119 LAKE DR                       ADDRESS ON FILE
                                        LENZBURG, IL 62255




MOORE, KATRINA S.                       MOORE, KAY L.                     MOORE, KAYLA
151 CO RD 38                            ADDRESS ON FILE                   1946 W EAGLE RIDGE DR
SECTION, AL 35771                                                         WAUKEGAN, IL 60087




MOORE, KEENER O.                        MOORE, KYLIE L.                   MOORE, LACEY J.
553 DANIELVILLE RD                      220 FUSSELL                       P.O. BOX 1603
HORNORAVILLE, AL 36042                  FORREST CITY, AR 72335            ALPINE, TX 79831




MOORE, LINDSAY                          MOORE, LISA                       MOORE, LORALIE
9106 ALLEY BRANCH                       9335 SOUTH JUNCTION ROAD          1106 32ND ST NW
CATLETTSBURG, KY 41129                  JUNCTION, IL 62954                MASSILLON, OH 44647




MOORE, LORRINE                          MOORE, MABLE                      MOORE, MARILYN H.
P.O. BOX 502                            12441 S MORGAN ST                 ADDRESS ON FILE
WOODHULL, IL 61490                      CALUMET PARK, IL 60827
MOORE, MARINEUS        Case 20-10766-BLS
                                     MOORE,Doc    6 L.Filed 04/07/20
                                             MARTHA                    Page 1240
                                                                            MOORE,of 1969
                                                                                   MERRY
296 DAYMOND DR                       1200 HICKORY                           ADDRESS ON FILE
WHICK      KY, KY 41390              BIG SPRING, TX 79720




MOORE, MONA                           MOORE, MYRL G                         MOORE, NICHOLE L.
310 ROCCO RD                          24706 SERTIC RD                       ADDRESS ON FILE
BIG SPRING, TX 79720-0636             VENETA, OR 97487




MOORE, NICOLE E.                      MOORE, NIKKI L.                       MOORE, NIVIA N.
ADDRESS ON FILE                       1102 GRIFFITH AVENUE                  204 SOUTH DURRELL
                                      GRAYSON, KY 41143                     ALPINE, TX 79830




MOORE, NONA                           MOORE, PAMELA D.                      MOORE, PAMELA
2977 TAMMS RD                         ADDRESS ON FILE                       719 EVANSVILLE AVENUE
ULLIN, IL 62992-0000                                                        WATERLOO, IL 62298




MOORE, PANZELLA                       MOORE, PAT                            MOORE, PAULA D.
116 WILTS AVE                         20 PHILLIPS 216                       2128 W 72ND ST
PLYMOUTH, NC 27962                    LEXA, AR 72355                        CHICAGO, IL 60636




MOORE, RHONDA A.                      MOORE, ROBERT - CEO                   MOORE, ROBERT J.
ADDRESS ON FILE                       GALESBURG COTTAGE HOSPITAL            ADDRESS ON FILE
                                      695 N KELLOGG ST
                                      GALESBURG, IL 61401




MOORE, ROWDY A                        MOORE, SAMANTHA                       MOORE, SANDRA
467 GODWIN RD                         ADDRESS ON FILE                       1109 W. WHITE
POMONA, IL 62975                                                            MARION, IL 62959




MOORE, SARAH J.                       MOORE, SHANA R.                       MOORE, SHEILA E.
ADDRESS ON FILE                       7879 RIDGEDALE DRIVE                  19529 STATE HIGHWAY 149
                                      OLIVE BRANCH, MS 38654                WEST FRANKFORT, IL 62896




MOORE, SHELIA                         MOORE, SHIRLEY H.                     MOORE, STACEY
312 MOORETOWN ROAD                    428 FURNACE RD                        ADDRESS ON FILE
BEATTYVILLE, KY 41311                 MILL HALL, PA 17751




MOORE, STEPHANIE B.                   MOORE, STEPHANIE                      MOORE, STEPHEN
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE
MOORE, TAMMY             Case 20-10766-BLS
                                       MOORE,Doc 6
                                             TAMMY       Filed 04/07/20   Page 1241
                                                                               MOORE,of 1969
                                                                                      TAMMY
17498 N HAILS LN                       4501 HWY 15 S                           ADDRESS ON FILE
MT. VERNON, IL 62864                   JACKSON, KY 41339




MOORE, TERI L.                         MOORE, TERRENCE                         MOORE, TIARA B.
5811 W ESTER PLACE                     ADDRESS ON FILE                         P.O BOX 517
BROWN DEER, WI 53223                                                           SOCIAL CIRCLE, GA 30025




MOORE, TIMOTHY                         MOORE, WENDY C.                         MOORE, WIETSKE
ADDRESS ON FILE                        203 HILLINGDALE DR                      ADDRESS ON FILE
                                       WASHINGTON, NC 27889




MOORE, WILLIAM H.                      MOORE-PACK, BRENDA G.                   MOORE-PARKER, KIMMERLY
ADDRESS ON FILE                        ADDRESS ON FILE                         616 WESTWOOD DRIVE
                                                                               RICHARDSON, TX 75080




MOOSBRUGGER, KURT H                    MOOTZ, TIMOTHY M.                       MORA DAVID L
2411 OTTO ST                           P.O. BOX 522                            314 W 2200 N
SPRINGFIELD, OR 97477                  CAPITOLA, CA 95010                      TOOELE, UT 84074




MORA LITTLE LEAGUE                     MORA LITTLE LEAGUE                      MORA, JUAN C.
112 LAMBERT STREET                     P.O. BOX 187                            6 LOS RANCHOS ESTATES
ELAINE, AR 72333                       MORA, NM 87732                          ALPINE, TX 79830




MORA, LUZMARIA                         MORABE, MARIA GRACE L.                  MORADI GHEISVANDI, VAHID
215 TWIN DR                            ADDRESS ON FILE                         10760 MERIDIAN MILLS RD
CASEYVILLE, IL 62232                                                           HENDERSON, NV 89052




MORAINE VALLEY COMM COLLEGE            MORALES VILLALTA, FATIMA G.             MORALES VILLALTA, JENNIFER
9000 W COLLEGE PKWY                    ADDRESS ON FILE                         3502 SARAH DR
PALOS HILLS, IL 60465-0937                                                     ZION, IL 60099




MORALES, AMANDA M.                     MORALES, AMANDA M.                      MORALES, ARIEL J.
3890 MUSTANG TRAIL SW                  ADDRESS ON FILE                         ADDRESS ON FILE
DEMING, NM 88030




MORALES, CHRISTINA                     MORALES, EMILY                          MORALES, GUSTAVO
11334 N STONE CREEK DR                 ADDRESS ON FILE                         350 ROCKHOUND RD SW
DUNLAP, IL 61525                                                               DEMING, NM 88030
MORALES, JAUSALINE      Case 20-10766-BLS   Doc
                                      MORALES,   6 Filed
                                               JONATHAN R. 04/07/20       Page 1242 of 1969
                                                                               MORALES, LISA M.
108 CAL AVE SPC 40                     2308 LYNN DRIVE                          ADDRESS ON FILE
BARSTOW, CA 92311                      BIG SPRING, TX 79720




MORALES, MICHAEL                       MORALES, MIRIAM                          MORALES, NANCY
632 PARKWAY AVE                        543 CUMMINGS                             2725 CHAUNCEY ST NW
ANTIOCH, IL 60002                      WAUKEGAN, IL 60087                       MASSILLON, OH 44647-6009




MORALES, REBEKAH                       MORALEZ, ROSE M.                         MORAN MICHELLE
ADDRESS ON FILE                        2600 BARKSDALE DR                        576 E MAIN ST STE 1
                                       BIG SPRING, TX 79720                     BLUE RIDGE, GA 30513




MORAN PRINTING INC                     MORAN, JENNIFER E.                       MORAN, JESSICA L.
EMPRINT/MORAN PRINTING INC             ADDRESS ON FILE                          ADDRESS ON FILE
P.O. BOX 54023
NEW ORLEANS, LA 70154-4023




MORAN, JOSEPH                          MORAN, LOIS E                            MORAN, MELANIE B.
8196 SETTLERS WAY                      12 AMELIA DR                             800 N. TUBB RD
NASHVILLE, TN 37221                    EAST SAINT LOUIS, IL 62206               BIG SPRING, TX 79720




MORAN, SHELLEY                         MORAN, TAMMY L.                          MORAN, WENDY L.
ADDRESS ON FILE                        ADDRESS ON FILE                          357 HARTER AVE NW
                                                                                CANTON, OH 44708




MORANI-KEMP, GINA A.                   MORATH, EVAN                             MORAVEC, RICHARD A.
568 RICHARD BROWN BLVD                 ADDRESS ON FILE                          ADDRESS ON FILE
VOLO, IL 60073




MORAZ, ABDALLAH                        MORCARE, LLC                             MORCKEL, JAMIE
37181 N DEERPATH DR                    BETH BRAND, VICE PRESIDENT               2590 BARNSTONE AVE SW
LAKE VILLA, IL 60046                   PRODUCT MANAGEMENT AND CUSTOMER          CANTON, OH 44706-2276
                                       EXPERIENCE
                                       222 S RIVERSIDE PLAZA
                                       CHICAGO, IL 60606

MORCON IND NV INC                      MORCON INDUSTRIAL SPECIALTY              MOREDOCK, BOBBIE
658 HARDY WAY 2                        P.O. BOX 1670                            154 THOMAS RD
MESQUITE, NV 89027                     EVANSTON, WY 82930                       CRAWFORDSVILLE, AR 72327




MOREE, SAMANTHIA                       MOREHEAD STATE BASS FISHING CLUB         MOREHEAD, CATHERINE
7821 BLUE POND BLVD E                  1051 BRATTON BR APT 9                    3650 SW 24TH AVE RD
SYLVANIA, AL 35988                     MOREHEAD, KY 40351                       OCALA, FL 34471
                     Case 20-10766-BLS
MOREHOUSE, CHRISTOPHER                    Doc 6 Filed 04/07/20
                                   MOREL INK                     Page 1243
                                                                      MOREL of
                                                                            INK1969
4505 PICKET CT                     4824 NE 42 AVE                     4824 NE 42ND AVE
MASON, OH 45040                    PORTLAND, OR 97218                 PORTLAND, OR 97218




MORELAND, BRENDA S.                MORELAND, LISA                     MORELAND, PATRICIA A.
ADDRESS ON FILE                    ADDRESS ON FILE                    ADDRESS ON FILE




MORELLO, HERBERT                   MORELOCK, JESSE D.                 MORENO ESPERANZA
3512 MOONLIGHT BAY DR NW           4802 E SENECA ST                   927 WALNUT ST
CANTON, OH 44708-3084              TUCSON, AZ 85712                   WAUKEGAN, IL 60085




MORENO MARIA E                     MORENO NUNEZ, ENEREIDA             MORENO, ADRIANA M.
1606 13TH ST                       1925 46TH AVE UNIT 60              ADDRESS ON FILE
WAUKEGAN, IL 60085                 CAPITOLA, CA 95010




MORENO, ADRIANA                    MORENO, GRACE R.                   MORENO, GUADALUPE
ADDRESS ON FILE                    342 VEGA RD                        521 N MCAREE RD
                                   WATSONVILLE, CA 95076              WAUKEGAN, IL 60085




MORENO, HOLLY                      MORENO, IVETH                      MORENO, JENNIFER L.
461 E 600 N                        229 S VICTORY ST                   ADDRESS ON FILE
TOOELE, UT 84074-0000              WAUKEGAN, IL 60085




MORENO, JOSEFA                     MORENO, KATHERINE J.               MORENO, MONICA E.
P.O. BOX 1424                      255 JONQUIL LANE                   2301 SEMINOLE RD
PRESIDIO, TX 79845                 HOLLISTER, CA 95023                LAMESA, TX 79331




MORETTI, JESSICA                   MOREY, DAVID A.                    MOREY, STEPHANIE
P.O. BOX 979                       ADDRESS ON FILE                    177 CRYSTAL BAY DRIVE
MOUNTAIN VIEW, WY 82939-0979                                          STANSBURY PARK, UT 84074




MORGAN & THORNBURG, INC            MORGAN CRANE                       MORGAN DEVEN
4076 HATCHER CIRCLE                940 COUNTY ROAD 36                 171 S 100 E
MEMPHIS, TN 38118                  COLLINSVILLE, AL 35961             TOOELE, UT 84074




MORGAN GOSS, DO                    MORGAN HESCH                       MORGAN LENS MORTAN INC, THE
52 BRYAN DRIVE                     ADDRESS ON FILE                    P O DRAWER 8719
FYFFE, AL 35971                                                       MISSOULA, MT 59807-8719
MORGAN MARY ANN           Case 20-10766-BLS
                                        MORGANDoc 6 Filed 04/07/20
                                               MCEVERS               Page 1244 ofMEDICAL
                                                                          MORGAN  1969 CENTER
37665 CAMP CREEK RD                     1247 TIMERLINE RD                 1740 LIONS CLUB ROAD
SPRINGFIELD, OR 97478                   SORENTO, IL 62086                 MADISON, GA 30650




MORGAN MORGAN B                         MORGAN NELSON                     MORGAN SCIENTIFIC, INC
535 WHISPERING PINES DR                 13 BLUE SPRUCE CT                 151 ESSES ST
TRENTON, GA 30752                       GRANITE CITY, IL 62040            HAVERHILL, MA 01832




MORGAN SERVICES                         MORGAN SHAW                       MORGAN STANLEY SMITH BARNEY LLC
4301 S MORGAN ST                        ADDRESS ON FILE                   (0015)
CHICAGO, IL 60609                                                         ATTN MS PROXY DEPARTMENT
                                                                          1300 THAMES STREET WHARF
                                                                          BALTIMORE, MD 21231



MORGAN STANLEY                          MORGAN WHITNEY HOLT               MORGAN, PAUL
1585 BROADWAY                           200 W CHURCH ST                   279 VIA CONTATA
NEW YORK,, NY 10036                     LEXINGTON, TN 38351               HENDERSON, NV 89074




MORGAN, ARIKA                           MORGAN, BOBBY W.                  MORGAN, BRENDA L.
256 GREEN MEADOW DR APT C               12016 KILDARE APT 2E              ADDRESS ON FILE
WATSONVILLE, CA 95076                   ALSIP, IL 60803




MORGAN, CRYSTAL                         MORGAN, DARTNELL                  MORGAN, DONNIE JOE
ADDRESS ON FILE                         410 MOUNTAIN LAKE RD              1510 CLARK AVE
                                        GREAT MEADOWS, NJ 07838           COTTAGE GROVE, OR 97424




MORGAN, DOUGLAS A.                      MORGAN, ELAINE S.                 MORGAN, ELIZABETH M.
3719 EDGEHILL CR NW                     ADDRESS ON FILE                   6201 BAYSIDE ST NW
CANTON, OH 44709                                                          CANTON, OH 44718




MORGAN, HANNAH C.                       MORGAN, JACKIE L.                 MORGAN, JANICE
19674 CR 4104                           ADDRESS ON FILE                   5 PHYLLIS DRIVE
LINDALE, TX 75771                                                         CENTRALIA, IL 62801




MORGAN, JENNIFER F.                     MORGAN, JESSICA                   MORGAN, JILIAN
ADDRESS ON FILE                         160 COUNTY ROAD 434               584 STERLING RD
                                        CEDAR BLUFF, AL 35959             CAMDEN, TN 38320




MORGAN, JOANNE C.                       MORGAN, JOHN ELLIOTT              MORGAN, JUSTIN J.
ADDRESS ON FILE                         P O BOX 558                       ADDRESS ON FILE
                                        COLLINSVILLE, AL 35961
MORGAN, KATHRYN A.       Case 20-10766-BLS  Doc
                                       MORGAN,    6 Filed 04/07/20
                                               KELLIE                Page 1245 of KIM
                                                                          MORGAN, 1969R.
ADDRESS ON FILE                         ADDRESS ON FILE                   ADDRESS ON FILE




MORGAN, KRISTENA M.                     MORGAN, LAURI S.                  MORGAN, LAURI S.
ADDRESS ON FILE                         ADDRESS ON FILE                   ADDRESS ON FILE




MORGAN, LAURI                           MORGAN, LORI                      MORGAN, LOUIS ROOSEVELT
ADDRESS ON FILE                         19908 BROAD STREET                304 W SECOND STREET
                                        HENAGAR, AL 35978                 ROBERSONVILLE, NC 27871




MORGAN, MARGARET                        MORGAN, NICOLE                    MORGAN, RJ
ADDRESS ON FILE                         403 17TH ST. NW                   9103 D RD
                                        MASSILLON, OH 44647               COLUMBIA, IL 62236




MORGAN, ROBERT                          MORGAN, RODGERS                   MORGAN, SARGENT
604 E MILL ST                           24 HILLSBOROUGH AVE               133 N WHITEHEAD ST
KNOXVILLE, IL 61448                     GLEN CARBON, IL 62034             WARRENTON, GA 30828




MORGAN, SHANNON S.                      MORGAN, SHANNON S.                MORGAN, SHANNON
6603 GREENHILL BLVD NW                  ADDRESS ON FILE                   105 WESTMORELAND ST
FORT PAYNE, AL 35967                                                      COLLINSVILLE, IL 62234




MORGAN, TOMMY                           MORGAN, VALERI                    MORGAN-HENRY, ROSEMARIE
1200 E. SEVILLE ROAD                    P.O. BOX 424                      2343 SHADY MAPLE LN
ASHLEY, IL 62808                        MESQUITE, NV 89024                LOGANVILLE, GA 30052




MORGEL, RAYMOND JOSEPH                  MORHOLDINGS INC                   MORHUN, CAMILLE
1021 MAPLE ST                           MORCARE LLC                       2 EAST SOUTH ST KBOX 1132
JUNCTION CITY, OR 97448-0000            P.O. BOX 74008556                 GALESBURG, IL 61401
                                        CHICAGO, IL 60674-8556




MORI, DONALD JOHN                       MORIARTY, KATHLEEN M.             MORIARTY, MARK
122 SUNNY VALLEY LOOP                   2248 W 120TH ST                   334 MUIRFIELD WAY
WOLF CREEK, OR 97497                    BLUE ISLAND, IL 60406             MESQUITE, NV 89027-1811




MORIGEAU, KAYLA                         MORIN, LYNNE E.                   MORIN, ROBERT J.
2869 NORTH AUGUSTA DRIVE                ADDRESS ON FILE                   4084 WESTRIDGE DRIVE
WADSWORTH, IL 60083                                                       MASON, OH 45040
MORIOKA, SANDRA J.       Case 20-10766-BLS   Doc
                                       MORLAN,    6
                                               MARY         Filed 04/07/20   Page 1246 ofRONALD
                                                                                  MORLEN  1969 R
765 VIA DEL LOMAS                       1159 ARCADIA DR                           2818 E 25TH ST
AROMAS, CA 95004                        GALESBURG, IL 61401                       GRANITE CITY, IL 62040




MORLEN, LISA                            MORLEY RICHARD                            MORLEY, TOMMY
2818 E 25TH ST                          69 TOMLIN CIRCLE                          3910 GREYSTONE DR
GRANITE CITY, IL 62040                  BURR RIDGE, IL 60527                      CORPUS CHRISTI, TX 78414




MORNING, JOHN                           MOROCCO, ANA                              MORQUECHO, TIFFANY
6767 LESLI MARI CT                      2058 NEW STREET                           823 BRIACLIFF
FLORISSANT, MO 63033                    BLUE ISLAND, IL 60406                     WEST MEMPHIS, AR 72301




MORRELL, BRILEY R.                      MORRICAL, MICHAEL - CEO                   MORRICAL, MICHAEL G.
189 E 600 N                             MCKENZIE REGIONAL HOSPITAL                271 CHESAPEAKE DRIVE
TOOELE, UT 84074                        161 HOSPITAL DR                           MCKENZIE, TN 38201
                                        MCKENZIE, TN 38201




MORRILL & FIEDLER LLC                   MORRIN, KEVIN                             MORRIS CAROL
433 W EDWARDS ST                        13319 S BUFFALO                           309 PADIN ST
SPRINGFIELD, IL 62704                   CHICAGO, IL 60633                         TROY, IL 62294




MORRIS CORNETT                          MORRIS DANA R                             MORRIS KENT A
P.O. BOX 216                            ADDRESS ON FILE                           14607 FOLLOWELL DR
HINDMAN, KY 41822                                                                 MARION, IL 62959




MORRIS MALCOLM L                        MORRIS MICHAEL                            MORRIS MOUNTS
5606 HICKORY RIDGE RD                   5704 KATCH LANE                           117 DORRIS DR
POMONA, IL 62975                        STANSBURY PARK, UT 84074                  FAIRFIELD, IL 62837




MORRIS NICHOLS ARSHT & TUNNELL LLP      MORRIS PEST CONTROL                       MORRIS SHARON
P.O. BOX 1347                           P.O. BOX 1189                             ADDRESS ON FILE
WILMINGTON, DE 19899-1347               RAINSVILLE, AL 35989-1180




MORRIS VIOLET MAY                       MORRIS, AMANDA J.                         MORRIS, AMBER
4865 MAIN ST APT 221                    ADDRESS ON FILE                           ADDRESS ON FILE
SPRINGFIELD, OR 97478




MORRIS, AMBER                           MORRIS, ANNA N.                           MORRIS, ASHLEY J.
501 MARY ST                             ADDRESS ON FILE                           ADDRESS ON FILE
CENTRE, AL 35960
MORRIS, BEATRICE A.     Case 20-10766-BLS
                                      MORRIS,Doc  6 Filed
                                              BRANDON N.  04/07/20    Page 1247 ofCASSANDRA
                                                                           MORRIS, 1969     K.
307 ARTHUR RD                          212 S 3RD                           ADDRESS ON FILE
WATSONVILLE, CA 95076                  DAHLGREN, IL 62828




MORRIS, CATHERINE H.                   MORRIS, CORDALE                     MORRIS, CYNTHIA D.
ADDRESS ON FILE                        159 RIDGE LANE                      9436 S INDIANA
                                       EVANSTON, WY 82930-2454             CHICAGO, IL 60619




MORRIS, DAHALIA                        MORRIS, DANA                        MORRIS, DAPHNE
COTTAGE GROVE, OR 97424                ADDRESS ON FILE                     6505 N STAR DISCOVERY WAY
                                                                           STANSBURY PARK, UT 84074-0000




MORRIS, DAVID M.                       MORRIS, DAWN M.                     MORRIS, DEBRA L.
404 SOUTH ODLE STREET                  179 YORK HOLLOW RD                  ADDRESS ON FILE
WEST FRANKFORT, IL 62896               LOUISA, KY 41230




MORRIS, DEBRA L.                       MORRIS, ELIZABETH A.                MORRIS, ELLA J.
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




MORRIS, ERVIN L.                       MORRIS, FLOYD A.                    MORRIS, GRANT W.
115 PRAIRIE COURT                      230 HOMESTEAD WAY COVINGTON,        ADDRESS ON FILE
KNOXVILLE, IL 61448                    GEORGIA
                                       COVINGTON, GA 30014




MORRIS, IAN                            MORRIS, JACK                        MORRIS, JANET
5351 S JEFFERSON RD                    2240 N. HIGHLAND ST.                38442 UPPER CAMP CK RD
SHREVE, OH 44676                       JACKSON, TN 38305                   SPRINGFIELD, OR 97478




MORRIS, JARIE W.                       MORRIS, JEANETTE                    MORRIS, JESSICA
14937 S. CLEVELAND AVE APT.1           311 CHAUDRON ST                     3133 ASH AVE
POSEN, IL 60469                        GREENVILLE, AL 36037-3105           GRANITE CITY, IL 62040




MORRIS, JULIE                          MORRIS, KATHERINE A.                MORRIS, KATHERINE
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




MORRIS, KELLY AND BREEDEN, ASHLEY      MORRIS, KENDRA                      MORRIS, KRIS
470 MORRIS RD                          505 CLARK ST.                       ADDRESS ON FILE
HURON, TN 38345                        HELENA, AR 72342
MORRIS, KRISTIE       Case 20-10766-BLS
                                    MORRIS,Doc   6
                                             LAURA     Filed 04/07/20   Page 1248 ofLOREN
                                                                             MORRIS, 1969J.
296A BROWNS VALLEY RD               206 E WART ST                            1036 NORTH 54TH ST
CORRALITOS, CA 95076                P.O. BOX 118                             SPRINGFIELD, OR 97478
                                    ALTONA, IL 61414




MORRIS, MARGARET DIANE                MORRIS, MICKAYLN R.                    MORRIS, MORGAN
1403 COUNTY ROAD 127                  ADDRESS ON FILE                        288 BETHANY ROAD
PISGAH, AL 35765-6011                                                        CAMPTON, KY 41301




MORRIS, RUFUS W                       MORRIS, SARAH                          MORRIS, SHANNON
12351 S UNION                         5 HISTORIC COURT                       3910 FM 2836
CHICAGO, IL 60628                     COLUMBIA, IL 62236                     COLORADO CITY, TX 79512




MORRIS, SHARON M.                     MORRIS, TESS                           MORRIS, WALKER
ADDRESS ON FILE                       344 S COOLEY                           793 FOLLY RD
                                      GRANTSVILLE, UT 84029-9766             PLYMOUTH, NC 24962-9699




MORRIS, WINFRED G                     MORRIS-LOPEZ, JACQUELINE               MORRISON DIANN L
2060 MADOLA RD                        P.O. BOX 519                           1878 HAPPY LN APT 40
EPWORTH, GA 30541                     SAN JUAN BAUTISTA, CA 95045            EUGENE, OR 97401




MORRISON MANAGEMENT SPECIALIST        MORRISON MANAGEMENT SPECIALISTS INC    MORRISON MANAGEMENT SPECIALISTS
P.O. BOX 102289                       MORRISON HEALTHCARE                    P.O. BOX 102289
ATLANTA, GA 30368-2289                P.O. BOX 102289                        ATLANTA, GA 30368
                                      ATLANTA, GA 30368-2289




MORRISON MANAGEMENT SPECIALISTS       MORRISON MGMT SPECIALISTS INC          MORRISON MGT SPECIALISTS, INC
PO BOX 102289                         P.O. BOX 102289                        2100 MADISON AVE
ATLANTA, GA 30368                     ATLANTA, GA 30368-2289                 GRANITE CITY, IL 62040




MORRISON PHILIP                       MORRISON SUPPLY COMPANY                MORRISON TRUE VALUE, INC
1400 JACKSON ST                       P.O. BOX 309                           ATTN: ACCOUNTS RECEIVABLE
ELDORADO, IL 62930                    FORT WORTH, TX 76101-0309              301 NORTH 5TH STREET
                                                                             ALPINE, TX 79830




MORRISON, DAVID BLAIR                 MORRISON, HELEN J                      MORRISON, JENNIFER
140 HUNTINGTON WAY                    210 N MAZE                             117 NORTH 1ST STREET
BLUE RIDGE, GA 30513                  GOREVILLE, IL 62939                    DENNISON, OH 44621




MORRISON, MICHAELA J.                 MORRISON, SANDY K.                     MORRISON, SHAWNA L.
4024 WOODMONT BLVD                    1062 HUBER AVE                         ADDRESS ON FILE
NASHVILLE, TN 37205                   GALESBURG, IL 61401
MORRISON-BEAN, HEATHERCase 20-10766-BLS   Doc
                                    MORRISS,    6 D.Filed 04/07/20
                                             KORTNI                  Page 1249 of 1969
                                                                          MORRISSEY, ESTHER
ADDRESS ON FILE                     ADDRESS ON FILE                       200 S STATION RD
                                                                          APT 9214
                                                                          GLEN CARBON, IL 62034




MORRONE, PATRICIA A.                 MORROW ERIK                          MORROW MARY J
2314 OLIVE ST                        ADDRESS ON FILE                      300 PINE RIDGE RD
BLUE ISLAND, IL 60406                                                     FARNER, TN 37333




MORROW WALTER H                      MORROW, CAL L.                       MORROW, DEBORAH J.
345 LAVISTA DR                       ADDRESS ON FILE                      2500 BELLEVUE AVE SW
BLUE RIDGE, GA 30513                                                      MASSILLON, OH 44647




MORROW, DWAYNE S.                    MORROW, ERIK L.                      MORROW, GABRIELA
23014 FARM TRACE DR                  ADDRESS ON FILE                      514 OHIO ST. P.O. BOX 1154
RICHTON PARK, IL 60471                                                    COLUMBUS, NM 88029




MORROW, GLENDA J.                    MORROW, HEATHER                      MORROW, KELSI J.
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




MORROW, KELSI                        MORROW, KIMBERLY A.                  MORROW, LEZLIE
ADDRESS ON FILE                      517 E HARRIET STREET                 P.O. BOX 149
                                     ALPINE, TX 79830                     EASTPORT, MI 49627




MORROW, MALLORY                      MORSE CLELUS SUE                     MORSE, CHLOREESE
111 HAYNES ST.                       1008 E PATTON                        1204 QUICKSILVER WAY
PALESTINE, AR 72372                  MARION, IL 62959                     MESQUITE, NV 89027




MORSE, DANA L.                       MORSE, KRISTINE A.                   MORSE, STEVEN E
710 E NORTH ST                       1640 SOUTH 60TH STREET               322 S COOLEY ST
KNOXVILLE, IL 61448                  SPRINGFIELD, OR 97478                GRANTSVILLE, UT 84029




MORSE, TARA                          MORTAN INC                           MORTAN INC
517 S 19TH ST                        329 E PINE STREET                    P O BOX 8719
MT. VERNON, IL 62864                 MISSOULA, MT 59802                   MISSOULA, MT 59807




MORTAN INC                           MORTAN, INC                          MORTAN, INC.
P.O. BOX 8719                        P.O. BOX 8719                        P.O. BOX 8719
MISSOULA, MT 59807                   MISSOULA, MT 59807                   329 E PINE STREET
                                                                          MISSOULA, MT 59807
MORTARA INSTRUMENT INCCase 20-10766-BLS
                                    MORTARADoc  6 FiledINC.
                                             INSTRUMENT, 04/07/20   Page 1250 of INSTRUMENTS
                                                                         MORTARA 1969        INC
7865 N 86TH ST                      7865 NORTH 86 STREET                  7865 NORTH 86TH STREET
MILWAUKEE, WI 53224                 MILWAUKEE, WI 53224                   MILWAUKEE, WI 53224




MORTEL, ROMMEL M.                   MORTEL, ROMMEL                        MORTIER, BRIANNA
ADDRESS ON FILE                     ADDRESS ON FILE                       ADDRESS ON FILE




MORTON GLENDA J                     MORTON, JESSICA L.                    MORTON, KIMBERLY R.
225 S 4TH ST                        ADDRESS ON FILE                       ADDRESS ON FILE
TOOELE, UT 84074




MORTON, LORI                        MORTON, SHARON A.                     MORVANT, MARIA A.
1470 N WEST ST                      10651 AVENUE M                        ADDRESS ON FILE
GALESBURG, IL 61401                 CHICAGO, IL 60617




MORZENTI, JENNIFER OLSON            MORZUCH, JACQUELINE                   MOSAIC PREGNANCY & HEALTH CTR
88957 BLUE VIEW DRIVE               609 LIVINGSTON DRIVE                  2019 JOHNSON RD
VENETA, OR 97487                    NEW LENOX, IL 60451                   GRANITE CITY, IL 62040




MOSBY JR., AMOS C.                  MOSBY, TERNEE C.                      MOSELEY, BILL
ADDRESS ON FILE                     ADDRESS ON FILE                       540 NEW HART DRIVE
                                                                          GRANITE CITY, IL 62040




MOSELEY, LAUREN L.                  MOSER, JAMES                          MOSER, LANCE T.
11907 GREGORY STREET APT 3          419 MONOR AVE NW                      ADDRESS ON FILE
BLUE ISLAND, IL 60406               CANTON, OH 44708




MOSER, MANDY                        MOSER, MARGARET B.                    MOSER, RUTH E.
1719 FLORIAN DR NW                  4516 NAVARRE ROAD S.W. LOT 59         1001 17TH ST SW
CANTON, OH 44709                    CANTON, OH 44706                      MASSILLON, OH 44647




MOSER, STEPHANIE H.                 MOSES BAZEMORE                        MOSES ELIZABETH A
14051 ORRVILLE ST NW                113 HILL LANE                         ADDRESS ON FILE
NORTH LAWRENCE, OH 44666            WINDSOR, NC 27983




MOSES, BENJAMIN                     MOSES, BILLY                          MOSES, JERRY A
1420 COLOMBO DRIVE P.O. BOX 416     1085 NORTH MOODY CROSSROADS           543 HEATON LANE
HERRIN, IL 62948                    LUVERNE, AL 36049                     RAINSVILLE, AL 35986-4622
MOSES, JOSHUA C         Case 20-10766-BLS
                                      MOSES, Doc
                                             TIM 6     Filed 04/07/20   Page 1251
                                                                             MOSES,of 1969 M.
                                                                                    VALARIE
506 TRAM ROAD                         2097 COUNTY RD 58                       ADDRESS ON FILE
FORT PAYNE, AL 35968-3508             ALBERTVILLE, AL 35951




MOSES, WILLARD C                      MOSHER AMANDA G                         MOSHER, KARA
401 MARTIN ST                         244 LICKSKILLET RD                      5244 B BIGHORN LN
WILLIAMSTON, NC 27892                 P.O. BOX 1567 BLUE RIDGE                FORT IRWIN, CA 92310
                                      EPWORTH, GA 30541




MOSHER, ROBERT                        MOSKODAUZ, TERRY                        MOSLANDER, THOMAS II
424 ST. CLAIR DRIVE                   P O BOX 151                             2636 DELMAR
CONYERS, GA 30094                     EAST CARONDELET, IL 62240               GRANITE CITY, IL 62040




MOSLEY DANA                           MOSLEY, ANGELA D.                       MOSLEY, CHANIQUA
8155 STATE RTE 127 N                  44 BELLEVUE DR APT 4                    522 S CHESTNUT
ALTO PASS, IL 62905-0000              COLLINSVILLE, IL 62234                  COLLINSVILLE, IL 62234




MOSLEY, EVELYN                        MOSLEY, GEORGE                          MOSLEY, LARRY
415 ROCK HILL RD                      P.O. BOX 127                            392 MOSLEY BRANCH ROAD
HONORAVILLE, AL 36042                 ASHER, KY 40803-0127                    BLAINE, KY 41124




MOSLEY, LEE E.                        MOSLEY, LORA S.                         MOSLEY, TATIANA
823 9TH ST                            ADDRESS ON FILE                         748 N 100 E
LA SALLE, IL 61301                                                            235
                                                                              TOOELE, UT 84074




MOSLEY, TIFFANY                       MOSQUEDA ARNULFO                        MOSQUEDA, ALMA
12813 S UNION AVE                     ADDRESS ON FILE                         ADDRESS ON FILE
CHICAGO, IL 60628




MOSQUEDA, ARNULFO                     MOSQUEDA, BIANCA                        MOSS REGINA
ADDRESS ON FILE                       ADDRESS ON FILE                         125 FAWN DR
                                                                              GOREVILLE, IL 62939




MOSS TUBES, INC                       MOSS, ALMA                              MOSS, HANNAH J.
P.O. BOX 378                          4109 AMBER CT                           ADDRESS ON FILE
WEST SAND LAKE, NY 12196              APT A
                                      BELLEVILLE, IL 62226




MOSS, HILLARY                         MOSS, JAMES MATTHEW                     MOSS, MARIA T.
4505 BEUNA VISTA RD                   5087 COUNTY ROAD 78                     ADDRESS ON FILE
HUNTINGDON, TN 38344                  FORT PAYNE, AL 35968-1622
MOSS, PATTI              Case 20-10766-BLS    Doc 6 EFiled 04/07/20
                                       MOSS, RAYMOND                     Page 1252  of 1969
                                                                              MOSS, RAYMOND
1722 MEADOW LANE                        491 CUB TRAIL                          451 CUB TRAIL
EDWARDSVILLE, IL 62025                  CHERRY LOG, GA 30522-2218              CHERRY LOG, GA 30522




MOSS, RUSSELL                           MOSS, STEPHANIE Y.                     MOSS, VICKI
2457 BENTON ST                          1600 N 2ND ST APT. C                   2825 FOREST AVE
GRANITE CITY, IL 62040                  ST CHARLES, MO 63301                   GRANITE CITY, IL 62040




MOSSAD, MINA                            MOSSER, ALICE                          MOSSOR, MARIA M.
2304 EDGE O LAKE DRIVE                  P.O. BOX 194                           301 ROHR AVE
ANTIOCH, TN 37013                       LOCK HAVEN, PA 17745                   MASSILLON, OH 44646




MOSTAFAVIFAR, SUZANNE                   MOTA, EVELYN D.                        MOTA, GUADALUPE
1309 GERBER WOODS DRIVE                 1613 ELM AVE                           767 YALE DR
EDWARDSVILLE, IL 62025                  ROUND LAKE BEACH, IL 60073             BARSTOW, CA 92311




MOTHERSHED, ROBERT                      MOTIL, CATHERINE                       MOTIL, JOSEPHINE
2234 HALSO MILL RD                      33 FOXMOOR DR                          6960 STATE ROUTE 162
GREENVILLE, AL 36037-7512               MARYVILLE, IL 62062                    RM 301
                                                                               MARYVILLE, IL 62062




MOTIL, MICHAEL                          MOTION INDUSTRIES INC                  MOTION INDUSTRIES INC
203 BRAMBLEWOOD CT                      4250 LEE AVENUE                        P O BOX 504606
GLEN CARBON, IL 62034                   GURNEE, IL 60031                       ST LOUIS, MO 63150




MOTION MEDICAL INC                      MOTION PICTURE LICENSING CORPORATION   MOTLEY, QUENTIN
2148 PELHAM PKY BLDG 600                P.O. BOX 80144                         1417 BROOKSTONE RD
PELHAM, AL 35124                        CITY OF INDUSTRY, CA 91716-8144        HEPHZIBAH, GA 30815




MOTON, MELVIN                           MOTOR CONTROL SPECIALISTS              MOTOR VEHICLE DIVISON
2075 LEE RD 407                         11775 DUNLAP INDUSTRIAL DR             REGISTRATION RENEWAL SECT
MARIANNA, AR 72360                      MARYLAND HTS, MO 63043                 P.O. BOX 25129
                                                                               SANTA FE, NM 87504-5129




MOTOR, PUMP & SERVICES LLC              MOTOROLA SOLUTIONS, INC                MOTOWSKI, KELLIE D.
126 JACKSON ST                          13108 COLLECTIONS CENTER DR            ADDRESS ON FILE
RED BUD, IL 62278                       CHICAGO, IL 60693




MOTT BRIAN SCOTT                        MOTT, ADRIANNE L.                      MOTTER, ELIZABETH JOAN
24406 BUTLER RD                         1110 S WASHINGTON ST                   2730 COMMONS DR NW
P.O. BOX 475                            HARRISBURG, IL 62946                   MASSILLON, OH 44646-2990
ELMIRA, OR 97437
MOTTL, BRIAN J.          Case 20-10766-BLS   Doc
                                       MOTTLEY,    6 Filed 04/07/20
                                                KIMIATA                   Page 1253 of 1969
                                                                               MOTWANI, BHAWNA
4644 W 89TH PLACE                       4705 W RACE                            1053 E DEL MAR BLVD
HOMETOWN, IL 60456                      CHICAGO, IL 60644                      PASADENA, CA 91106




MOTZ, LYNDEA R.                         MOUA MAI L                             MOUDY CLIFFORD
870 E BROOKS                            809 S 690 W                            ADDRESS ON FILE
GALESBURG, IL 61401                     TOOELE, UT 84074-1997




MOUDY II, CLIFFORD L.                   MOUGEOTTE, CHRISTINE L.                MOUGHON, EDWARD B.
ADDRESS ON FILE                         1699 27TH STREET 7 P.O. BOX 807        1607 THORPE ST
                                        FLORENCE, OR 97439                     BIG SPRING, TX 79720




MOULDER, BRENDA                         MOULOS, SHIRLEY                        MOULTON ERIC L
647 KINGS RIDGE                         1521 TREMONT AVE SW                    1452 S ELLSWORTH RD
MONROE, GA 30655                        MASSILLON, OH 44647                    MESA, AZ 85209-0000




MOULTON, ANDREW J.                      MOULTON, LYDIA P.                      MOULTON, RANDLE D
4318 CYPRESS GROVE PLACE                ADDRESS ON FILE                        460 SPRUCE
MARION, IL 62959                                                               TOOELE, UT 84074




MOULTRY JR, CLAUDE                      MOUNGEY, JASON D                       MOUNT CARMEL SCHOOL
12514 S LA SALLE ST                     1832 CLIFFORD STREET                   HELLEN MBABAZI
CHICAGO, IL 60628-7319                  SANTA CLARA, CA 95050                  75 MILL CREEK LAWSON ROAD
                                                                               JACKSON, KY 41339-7672




MOUNT DESERT ISLAND HOSPITAL            MOUNT NITTANY MEDICAL CENTER HEALTH    MOUNT OLYMPUS WATERS, INC
10 WAYMAN LANE                          SERVICES                               P.O. BOX 660579
P.O. BOX 8                              1800 E PARK AVE                        DALLAS, TX 75266-0579
BAR HARBOR, ME 04609                    STATE COLLEGE, PA 16803




MOUNT SAN RAFAEL HOSPITAL               MOUNT, CHARLES                         MOUNTAIN CITIZEN
410 BENEDICTA AVENUE                    124 IVY CREEK RD                       P O BOX 1029
TRINIDAD, CO 81082-2093                 RUTLEDGE, AL 36071                     INEZ, KY 41224




MOUNTAIN HERITAGE DAY COMMITTEE         MOUNTAIN HOUSING (SENIOR GAMES)        MOUNTAIN LAND COLLECTIONS
214 ENTERPRISE ROAD                     110 RESOURCE COURT                     C/O QUINN M KOFFORD
FORT GAY, WV 25514                      PRESTONSBURG, KY 41653                 P.O. BOX 1425
                                                                               AMERICAN FORK, UT 84003




MOUNTAIN LAND REHABILITATION            MOUNTAIN RURAL TELEPHONE               MOUNTAIN RURAL TELEPHONE
1952 E 7000 S STE 100                   425 MAIN ST                            P.O. BOX 399
SALT LAKE CITY, UT 84121                P.O. BOX 399                           WEST LIBERTY, KY 41472-1013
                                        WEST LIBERTY, KY 41472
MOUNTAIN STATE WASTE     Case 20-10766-BLS   Doc
                                       MOUNTAIN   6 WASTE
                                                STATE Filed 04/07/20     Page 1254 of 1969
                                                                              MOUNTAIN TAMMIE SUE
702 MAIN AVE                            P.O. BOX 7839                          927 COUNTY RD 342
WESTON, WV 26452                        CHARLESTON, WV 25356                   FYFFE, AL 35971-4033




MOUNTAIN THUNDER VOLLEYBALL             MOUNTAIN VALLEY NEWS                   MOUNTAIN VALLEY OF SOUTHERN IL
263 UPPER BRANCH ROAD                   P.O. BOX 765                           1212 CASEY AVENUE
FORT GAY, WV 25514                      RAINSVILLE, AL 35986                   P.O. BOX 1531
                                                                               MT. VERNON, IL 62864




MOUNTAIN VALLEY OF SOUTHERN IL          MOUNTAIN VALLEY WATER                  MOUNTAIN VALLEY WATER
P.O. BOX 1531                           1212 CASEY AVENUE                      P.O. BOX 1531
1212 CASEY AVENUE                       P.O. BOX 1531                          1212 CASEY AVENUE
MT. VERNON, IL 62864                    MT. VERNON, IL 62864                   MT. VERNON, IL 62864




MOUNTAIN VIEW HOSPITAL                  MOUNTAIN VIEW REGIONAL MEDICAL         MOUNTAIN WEST BUSINESS SOLUTIONS
1000 E 100 N                            CENTER                                 P.O. BOX 702
PAYSON, UT 84651                        4311 E LOHMAN AVE                      EVANSTON, WY 82930
                                        LAS CRUCES, NM 88011




MOUNTAIN WEST BUSINESS SOLUTIONS        MOUNTAIN WEST MEDICAL CENTER           MOUNTAIN WEST WINDOW CLEANING
P.O. BOX 702                            ENTITY 0165                            P.O. BOX 70127
EVANSTON, WY 82931-0702                 2055 N. MAIN                           SALT LAKE CITY, UT 84170
                                        TOOELE, UT 84074




MOUNTAINEER MEDICAL, LLC                MOUNTAINSIDE MEDICAL EQUIPMENT         MOUNTIAN VIEW LIONS CLUB
11063 D. S. MEMORIAL DRIVE              P.O. BOX 247                           P.O. BOX 826
SUITE 437                               MARCY, NY 13403                        MOUNTINA VIEW, WY 82939
TULSA, OK 74133




MOUNTS, KELLYE                          MOUNTWEST COMMUNITY COLLEGE            MOURER, ROYCE
226 S TAYLOR ST                         AND KAITLYN MCGRAW                     P.O. BOX 362
RED BUD, IL 62278                       370 SALTPETRE ROAD                     ELMIRA, OR 97437-0362
                                        FORT GAY, WV 25514




MOURY, SHERRI                           MOUSER ROBYN                           MOUTONPALM, PATSY A
434 E WICKLIFFE AVE                     34988 BETTS RD                         25584 W IL ROUTE 173
COLLINSVILLE, IL 62234                  TAMMS, IL 62988                        ANTIOCH, IL 60002




MOUTRY, SHEVONNE                        MOUYAGA, GUY                           MOVASSAGHI, KIYA, MD
1466 LINCOLN PL                         ADDRESS ON FILE                        ADDRESS ON FILE
CALUMET CITY, IL 60409




MOVIDO, LUZVIMINDA                      MOWAT JANICE M                         MOWELL LISA
ADDRESS ON FILE                         15143 ROB ROY                          ADDRESS ON FILE
                                        OAK FOREST, IL 60452
MOWER, DIANE L.         Case 20-10766-BLS
                                      MOWER,Doc  6 G.Filed 04/07/20
                                             GERALD                    Page 1255 of CHANDLER
                                                                            MOWERY, 1969
ADDRESS ON FILE                        ADDRESS ON FILE                      111 LAUREN LN
                                                                            ATHENS, GA 30605




MOWERY, TODD                           MOWRER, ERNEST O. III                MOWRER, KELLI M.
308 BERRYVILLE RD                      P.O. BOX 184                         1021 LAKE SHORE DRIVE
JONESBORO, IL 62952                    ORRVILLE, OH 44667                   MT. VERNON, IL 62864




MOWRY, ANTHONY                         MOY, OWEN                            MOYA, MARIAH J.
31734 NORTH BORRE DRIVE                ADDRESS ON FILE                      ADDRESS ON FILE
LAKEMOOR, IL 60051




MOYA, SARAH                            MOYER JAMES W                        MOYER, CAITLYN E.
ADDRESS ON FILE                        28149 BRIGGS HILL RD                 1115 DAVENPORT BLVD APT 206
                                       EUGENE, OR 97405                     FRANKLIN, TN 37069




MOYER, RYAN A.                         MOYERS, MICHAEL                      MOYLAN, JONATHAN F.
P.O. BOX 348                           P.O. BOX 43/207 W JOHNSON            1965 PATTERSON ST
MAGNOLIA, OH 44643                     VALIER, IL 62891                     EUGENE, OR 97405




MOZINGO, PATRICIA                      MP2 ENERGY TEXAS                     MP2 ENERGY TEXAS
621 WAGONER ST NW                      21 WATERWAY AVE, STE 450             P.O. BOX 733560
MASSILLON, OH 44647                    THE WOODLANDS, TX 77380              DALLAS, TX 75373-3560




MPENDO, PAUL                           MPGTANDEM                            MPRINTS PROMOTIONAL PRODUCTS
ADDRESS ON FILE                        1584 FENPARK DRIVE                   3200 HWY 45 NORTH
                                       FENTON, MO 63026                     MERIDIAN, MS 39301




MPT OF BIG SPRING-STEWARD LLC          MPT OF BIG SPRING-STEWARD LLC        MPT OF WATSONVILLE LLC
1000 URBAN CENTER DR, STE 501          1000 URBAN CENTER DR, STE 501        ATTN LEGAL DEPARTMENT
BIRMINGHAM, AK 35242                   BIRMINGHAM, AL 35242                 1000 URBAN CENTER DR, STE 501
                                                                            BIRMINGHAM, AL 35242




MPX SALES AND SERVICE LLC              MRES NET, INC                        MRI CONTRACT STAFFING INC.
20653 GOLF RIDGE CIRCLE                3830 HWY 365                         1735 MARKET STREET, SUITE 200
LIVONIA, MI 48152                      PORT ARTHUR, TX 77642                PHILADELPHIA, PA 19103




MRI EQUIP.COM, LLC                     MRI EQUIP.COM, LLC                   MRI MED INC
6248 BITTERSWEET LANE                  6428 BITTERSWEET LANE                P.O. BOX 751561
NISSWA, MN 56468                       NISSWA, MN 56401                     PETALIMA, CA 94975-1561
MRIEQUIP.COM LLC           Case 20-10766-BLS   Doc 6
                                         MRIEQUIP.COM       Filed 04/07/20   Page 1256
                                                                                  MRIMEDof 1969
6248 BITTERSWEET LANE                     6248 BITTERSWEET LANE                   1320 STUB ROAD
NISSWA, MN 56468                          NISSWA, MN 56468                        PETALUMA, CA 94954




MRM-MILLENNIUM RISK MANAGERS              MRS MAMMOGRAPHY                         MRS SYSTEMS INC
P.O. BOX 43769                            19000 33RD AVENUE                       19000 33RD AVE W
BIRMINGHAM, AL 35243                      SUITE 130                               SUITE 130
                                          LYNNWOOD, WA 98036-4753                 LYNNWOOD, WA 98036-4753




MRS SYSTEMS INC                           MRS SYSTEMS INC.                        MRS SYSTEMS, INC
19000 33RD AVE W                          19000 33RD AVE W                        19000 33RD AVE W
SUITE 130                                 SUITE 130                               SUITE 130
LYNWOOD, WA 98036-4753                    LYNNWOOD, WA 98036                      LYNNWOOD, WA 98036-4753




MRS SYSTEMS, INC.                         MRS SYSTEMS, INC.                       MRS SYSTEMS, INC.
19000 - 33RD AVE WEST                     19000 33RD AVE W SUITE 130              19000 33RD AVE W
SUITE 130                                 LYNNWOOD, WA 98036-4753                 SUITE 130
LYNNWOOD, WA 98036                                                                LYNNWOOD, WA 98036-4753




MS ASHLEY ACCESSORIES                     MS VALLEY REG. BLOOD CENTER             MSC 410834
9900 PFLUMM 13                            P.O. BOX 3655                           P.O. BOX 415000
LENEXA, KS 66215                          DAVENPORT, IA 52808                     NASHVILLE, TN 37241




MSC 410836                                MSCP V CC PARENT, LLC                   MSDSONLINE, INC
P.O. BOX 415000                           CREATIVE CIRCLE,LLC                     DBA VELOCITYEHS
NASHVILLE, TN 37241-0836                  28027 NETWORK PLACE                     27185 NETWORK PLACE
                                          CHICAGO, IL 60673-1280                  CHICAGO, IL 60673-1271




MSK HOLDINGS, LLC                         MSMC REALTY LLC                         MSO OF PUERTO RICO
P.O. BOX 1151                                                                     P.O. BOX 71114
LAURINBURG, NC 28353                                                              SAN JUAN, PR 00936




MSR WEST INCORPORATED                     MSR WEST INCORPORATED                   MSR WEST
ACCOUNTS RECEIVABLE                       E3 DIAGNOSTICS                          E3 DIAGNOSTICS
3333 N KENNICOTT AVE                      3333 N KENNICOTT AVE                    6730 E. MCDOWELL RD, STE 102
ARLINGTON HEIGHTS, IL 60004               ARLINGTON HEIGHTS, IL 60004             SCOTTSDALE, AZ 85257




MST ACCUTOME, INC                         MT VALLEY WATER OF CARBONDALE           MT VERNON CITY SCHOOLS FOUNDATION
P.O. BOX 74007048                         633 EAST MAIN STREET                    P.O. BOX 194
CHICAGO, IL 60674-7048                    CARBONDALE, IL 62901                    MT VERNON, IL 62864




MT VERNON COMMUNICATIONS                  MT VERNON REGISTER NEWS                 MT VERNON WINNELSON CO
1322 GEORGE STREET                        P.O. BOX 489                            P.O. BOX 972
MT VERNON, IL 62864                       911 BROADWAY                            MT VERNON, IL 62864
                                          MT VERNON, IL 62864
MT VIEW PROPERTY LLC   Case 20-10766-BLS    DocAIRPORT
                                     MT. VERNON 6 Filed 04/07/20         Page 1257  of 1969
                                                                              MT. VERNON COMMUNICATIONS
P.O. BOX 842                          ATTN: SHEILA SCRIVNER                    DIV OF ROY WALKER COMMUNICATIONS
DANA POINT, CA 92629                  100 AVIATION DRIVE                       1322 GEORGE STREET
                                      MT. VERNON, IL 62864                     MT. VERNON, IL 62864




MT. VERNON ELKS 819                   MT. VERNON FESTIVALS, INC.               MT. VERNON PRAYER BREAKFAST
1107 JORDAN                           200 POTOMAC BLVD.                        P.O. BOX 1465
MT. VERNON, IL 62864                  P.O. BOX 1708                            MT. VERNON, IL 62864
                                      MT. VERNON, IL 62864




MT. VERNON ROTARY CLUB                MT. VERNON TOWNSHIP HIGH SCHOOL          MT. VERNON TV & APPLIANCE
P.O. BOX 2456                         ROBORAMS TEAM 4187                       3006 BROADWAY
MT. VERNON, IL 62864                  11101 N. WELLS BYPASS                    MT VERNON, IL 62864
                                      MT. VERNON, IL 62864




MT.VERNON BAPTIST TEMPLE              MT.VERNON HIGH SCHOOL FOUNDATION         MT.VERNON RAMS GRIDIRON CLUB
817 WOODLAWN DRIVE                    11101 NORTH WELLS BYPASS                 P.O. BOX 1052
MT. VERNON, IL 62864                  MT.VERNON, IL 62864                      MT. VERNON, IL 62864




MT.VERNON TWNSHP HIGH SCHOOL          MTC                                      MTF
P.O. BOX 350                          6 GRANDVIEW PARK DR                      125 MAY STREET
LITTLE ROCK, AR 72203                 ARNOLD, MO 63010                         EDISON, NJ 08837




MTF                                   MTI INC                                  MTMI
P.O. BOX 415911                       MARSTON TECHNICAL SERVICES               W140 N8917 LILLY ROAD
BOSTON, MA 02241                      11576 GOLDCOAST DR                       MENOMONEE FALLS, WI 53051
                                      CINCINNATI, OH 45249




MTMI                                  MUBARAK, JENNIFER                        MUCHARRAZ, KARINA
W140N8917 LILY ROAD                   23 W 141ST                               1205 W DELRIO ST
MENOMONEE, WI 53051                   HARVEY, IL 60426                         ALPINE, TX 79830




MUCHLER, SUSAN L.                     MUCK KENNETH A                           MUCK, KENNETH A
ADDRESS ON FILE                       9 LINCOLN CT                             9 LINCOLN CT
                                      MONMOUTH, IL 61462                       MONMOUTH, IL 61462




MUCURA, JIMMY                         MUDCAT CONSTRUCTION, INC.                MUDD, ANNA MARIE
3721 WILLOW CREST AVE APT 210         P.O. BOX 842                             C/O KATHLEEN SHOEMAKER
ZION, IL 60099                        BEATTYVILLE, KY 41311                    32A SOUTH RUBY LN
                                                                               FAIRVIEW HEIGHTS, IL 62208




MUDD, CANDACE M.                      MUDD, CHARLES R                          MUDD, KENIA
ADDRESS ON FILE                       3013 SUNBURY AVE                         7560 ROSCOW HOLLOW ROAD
                                      GRANITE CITY, IL 62040                   PRAIRIE DU ROCHER, IL 62277
MUDD, MICHAEL EXECUTORCase 20-10766-BLS    Doc 6 Filed 04/07/20
                                    MUDD, NEIL                    Page 1258  of 1969
                                                                       MUDD, SUSAN
3013 SUNBURY AVE                    4510 MEADOW LANE                   3503 HH ROAD
GRANITE CITY, IL 62040              RUMA, IL 62278                     WATERLOO, IL 62298




MUDDASANI MD, NARSIMHA R           MUDRAK, GABRIELLE M.                MUDRICK CAPITAL
2120 MADISON AVE                   ADDRESS ON FILE                     527 MADISON AVENUE, 6TH FLOOR
STE 406                                                                NEW YORK,, NY 10022
GRANITE CITY, IL 62040




MUECKENHEIM, CIARA                 MUELLER EMMA I                      MUELLER, ANTHONY W.
ADDRESS ON FILE                    12038 S ARTESIAN                    ADDRESS ON FILE
                                   BLUE ISLAND, IL 60406




MUELLER, CAILEE J.                 MUELLER, DENISE M.                  MUELLER, ELIZABETH K.
412 RIVERVIEW BLVD                 11209 MARILYN WAY                   2345 KEIM RD
CHESTER, IL 62233                  MOKENA, IL 60448                    NEW ATHENS, IL 62264




MUELLER, JEREMY F.                 MUELLER, JOSEPH A                   MUELLER, MATTHEW
8264 SALVAGE STREET                13489 HWY 37                        2018 STEPPIG RD
CHRISTOPHER, IL 62822              BENTON, IL 62812                    COLUMBIA, IL 62236




MUELLER, RACHELLE M.               MUELLER, SUSAN                      MUELLER, TROY
8264 SALVAGE STREET                8780 COUNTRY LANE                   236 LINGERFELT RD
CHRISTOPHER, IL 62822              TROY, IL 62294                      RAINSVILLE, AL 35986




MUELLERMIST SERVICE CORP           MUENCH, BARBARA                     MUENCH, DIANE
P.O. BOX 6400                      6784 LL ROAD                        5350 STATE RTE 154
BROADVIEW, IL 60155                RED BUD, IL 62278                   RED BUD, IL 62278




MUENCH, JANICE                     MUENCH, TRICIA M                    MUETH PROPERTIES LLC
212 CHARLES STREET                 P.O. BOX 1511                       6707 STATE ROUTE 154
RED BUD, IL 62278                  ALPINE, TX 79831                    RED BUD, IL 62278




MUETH, MORGAN                      MUFFIN ENTERPRISES INC              MUGGE, DONNA J
438 WILLOW RUN DRIVE               1135 HARRISBURG PIKE                425 SHERRY RD
RED BUD, IL 62278                  CARLISLE, PA 17013                  MARION, IL 62959




MUGLESTON, MELISSA B.              MUHAMMAD NURDEEN                    MUHAMMAD, SHANONDA
ADDRESS ON FILE                    1416 W 112TH PL                     P.O. BOX 372054
                                   CHICAGO, IL 60643                   SAINT LOUIS, MO 63137
MUHAMMAD, SHARON L.       Case 20-10766-BLS   Doc BENJAMIN
                                        MUHLESTEIN, 6 Filed 04/07/20   Page 1259
                                                                            MUICH, of 1969 A
                                                                                   PATRICIA
14637 CLARK ST                           P.O. BOX 1987                       6861 WHITE PINE LANE
DOLTON, IL 60419                         OVERTON, NV 89040                   REDBUD, IL 62278




MUICH, ROBERT                            MUIR COPPER CANYON FARMS            MUIR ENTERPRISES, INC.
511 SHAMROCK DRIVE                       P.O. BOX 26775                      P.O. BOX 26775
WATERLOO, IL 62298                       SLC, UT 84126                       SALT LAKE CITY, UT 84126




MUIR I, ANEE B.                          MUIR, DAVID                         MUIR, HOLLY
5946 N SPRING ST                         12631 GREENWOOD AVE                 ADDRESS ON FILE
STANSBURY PARK, UT 84074                 BLUE ISLAND, IL 60406




MUIR, JUSTIN                             MULANIX, VERNON                     MULCH, LYNNE
1405 DEVONSHIRE ST                       435 EL PARAISO RD NW                16942 E. BEAL RD
BOWLING GREEN, OH 43402                  LOS RANCHOS, NM 87107-5822          MT. VERNON, IL 62864




MULCOCK, RYAN                            MULHEIM, JANE L.                    MULHERIN, TAYLOR
P.O. BOX 371                             4670 ALABAMA AVE NW                 1328 CODY DR
LOGANDALE, NV 89021-0371                 NORTH LAWRENCE, OH 44666            APT A
                                                                             WATERLOO, IL 62298




MULHOLLAND, DANIEL                       MULHOLLAND, VANESSA L.              MULKEY, GARY
P.O. BOX 280                             24 PRONGHORN CROSSING               293 LUCY CASTLE HOLW
FORT BRIDGER, WY 82933-0280              ALPINE, TX 79830                    RIVER, KY 41254




MULKINS, SHAWN M                         MULL, EDWARD                        MULL, MICHAEL
2210 LEWIS AVE                           423 REAGAN ST                       322 CYPRESS LANE
APT 304                                  SUNBURY, PA 17801                   BLUE RIDGE, GA 30513
ZION, IL 60099




MULL, MICHAEL                            MULL, SAMANTHA                      MULLANE, JANET L.
P O BOX 6                                791 COTTONWOOD DR                   707 SOUTH CANAL ST.
DUCKTOWN, TN 37326                       NORTH AURORA, IL 60542              CANAL FULTON, OH 44614




MULLEJANS, JOAN M                        MULLEN, DEBORAH H.                  MULLEN, TERRY
2337 ALTA VISTA DR                       ADDRESS ON FILE                     102 N LEAR
WAUKEGAN, IL 60087                                                           MARION, IL 62959




MULLENS, DUAN H.                         MULLER, NATHAN A.                   MULLER, STEVEN E.
2216 CHAVIS DRIVE APT A                  104 MOHAWK CT                       ADDRESS ON FILE
GREENVILLE, NC 27858                     EVANSTON, WY 82930
MULLERKOBOLD, DAVE      Case 20-10766-BLS   Doc
                                      MULLETT,     6
                                               LINDA      Filed 04/07/20   Page 1260  of 1969
                                                                                MULLIFORD, JAMES
1232 S SEMINARY                         1210 HIGHWAY 1496                        71 CHICASAW DRIVE
GALEBURG, IL 61401                      LOUISA, KY 41230-0000                    ELLIJAY, GA 30540




MULLINS BUILDING PRODUCTS INC           MULLINS SHARON K                         MULLINS, AGNIESZKA
5631-C CLIFFORD CIRCLE                  211 SANBORN DR                           P.O. BOX 1114
BIRMINGHAM, AL 35210                    ANNA, IL 62906                           LOGANDALE, NV 89021




MULLINS, ANTHONY                        MULLINS, BRIANA                          MULLINS, CRYSTAL L.
338 KY HWY 28                           ADDRESS ON FILE                          9400 CR 19
HAZARD, KY 41701                                                                 CENTRE, AL 35960




MULLINS, DEBORAH K.                     MULLINS, EDDIE                           MULLINS, JESSICA T.
ADDRESS ON FILE                         3200 ABNER FLAT ROAD                     ADDRESS ON FILE
                                        BEATTYVILLE, KY 41311




MULLINS, KRYSTLE L.                     MULLINS, LOVETA                          MULLINS, MARTHA
ADDRESS ON FILE                         P.O. BOX 191                             130 BROADVIEW DR.
                                        105 LENTZ ST                             APT 111
                                        CYPRESS, IL 62923-0000                   BLUE RIDGE, GA 30513




MULLINS, MELISSA K.                     MULLINS, MYRA                            MULLINS, TRACY
5024 STATE ROUTE 140                    1 NORTH SHORE DR                         5765 HWY 541
BETHALTO, IL 62010                      EDWARDSVILLE, IL 62025                   JACKSON, KY 41339




MULNIX, ROGER                           MULROY, MARK                             MULTICRAFT PLASTICS INC
4003 MOBILE RD                          1685 GLENMAR OVAL SE                     4697 ISABELLE STREET
GREENVILLE, AL 36037                    CANTON, OH 44709                         EUGENE, OR 97402-9741




MULTISTATE TAX SERVICES GROUP LLC       MULVANEY, LORI A.                        MULVIHILL, KAREN
500 WILSON PIKE CIRCLE                  ADDRESS ON FILE                          5160 OLD CARPENTER RD
BRENTWOOD, TN 37027                                                              EDWARDSVILLE, IL 62025




MUMBOWER, AMY M.                        MUMFORD, DIANE                           MUMMA, HARRY A. JR
1130 W WEBSTER STREET                   ADDRESS ON FILE                          4479 PINE MOUNTAIN RD
BENTON, IL 62812                                                                 JERSEY SHORE, PA 17740




MUMME, BETHANY R.                       MUNCILL, ANTHONY J.                      MUNCY, ADAM
1116 11TH ST NE                         2519 WILLAKENZIE RD APT. 4               179 PINEVIEW
MASSILLON, OH 44646                     EUGENE, OR 97401                         INEZ, KY 41224
MUNCY, DEANNA L.         Case 20-10766-BLS
                                       MUNCY, Doc
                                              IVA 6       Filed 04/07/20   Page 1261 of 1969
                                                                                MUNDELL, MICHELLE
ADDRESS ON FILE                         P.O. BOX 157                             14947 COALINGA RD
                                        INEZ, KY 41224                           VICTORVILLE, CA 92392




MUNDY, JAMES                            MUNDY, RICHARD E                         MUNDY, ROBERTA
3047 KEEBLER ROAD                       445 MICHAELS RD                          14120 US 64W
COLLINSVILLE, IL 62234                  TRENTON, GA 30752                        MURPHY, NC 28906




MUNGEE, SUNIL                           MUNGER, DARYL                            MUNGO, JO ANN
2204 CROWN POINT DRIVE                  7 TERRACE LANE                           1737 CLEARBROOK RD NW
CAPE GIRARDEAU, MO 63701                GRANITE CITY, IL 62040-0000              MASSILLON, OH 44646




MUNGUIA RAMIREZ                         MUNICIPAL HEALTH BENEFIT FUND            MUNIZ VALDEZ, ANA
P.O. BOX 193                            P O BOX 188                              907 S SANTA BARBARA
MOAPA, NV 89025                         NORTH LITTLE ROCK, AR 72115              DEMING, NM 88030-0000




MUNIZ, JOSEPH M                         MUNIZ, THOMAS                            MUNKENBECK, FRANCES C.
2601 LIBERTY DRIVE                      P.O. BOX 244                             ADDRESS ON FILE
MARYVILLE, IL 62062                     WAGON MOUND, NM 87752




MUNN, GAVIN                             MUNN, MARDI L.                           MUNN, MARDI L.
610A MUSTANG RUN                        ADDRESS ON FILE                          ADDRESS ON FILE
DUGWAY, UT 84022




MUNNEKE, SUSAN                          MUNOZ SANTOS                             MUNOZ, JOEL
12 OLD ORCHARD LN                       255 BURGESS AVE                          ADDRESS ON FILE
GLEN CARBON, IL 62034                   RAINSVILLE, AL 35986




MUNOZ, MIGUEL                           MUNOZ, MONICA                            MUNOZ, RANDY
P.O. BOX 1094                           175 VOIGHT PL.                           ADDRESS ON FILE
LOGANDALE, NV 89021                     GRANITE CITY, IL 62040




MUNRO, SAMANTHA                         MUNSAMI, YAGANATHEN                      MUNSELL, SHAWNA
712 GAWAIN DR                           6501 ESCENA BLVD                         101 LAKESIDE COURT
TROY, IL 62294                          IRVING, TX 75039                         WATERLOO, IL 62298




MUNSONS WATER CONDITIONING              MUNYAPARA, NIESHANTA                     MURCHISON, ANTHONY
850 E MAIN STREET                       113 HILLWOOD COURT                       343 MURCHISON RD
GALESBURG, IL 61401                     BELLEVILLE, IL 62223                     PINE APPLE, AL 36768-2036
MURDALE ACE HARDWARE Case 20-10766-BLS
                                   MURDERDoc   6 Filed
                                           MYSTERY       04/07/20
                                                    COMPANY LLC, THE   Page 1262 of 1969
                                                                            MURDOCK, ANGELA K.
1915 W MAIN                        4550 AIRWEST DR SE                        678 KNOX RD 2350N
CARBONDALE, IL 62901               KENTWOOD, MI 49512                        WATAGA, IL 61488




MURDOCK, PATRICIA JANE               MURDOCK, TOPSEY E                       MURELL, AUDREY
605 KELLY RD E                       16146 COUNTY RD 50                      1721 BERKELEY RD
FORT PAYNE, AL 35967-7328            GROVEOAK, AL 35975-4300                 AUGUSTA, GA 30904




MURFIN, MD, MARK A                   MURIEL, MCKENZIE                        MURILLO, JACQUELYN D.
1063 MARTIN LUTHER KING DR           20 WEST 103RD PL                        ADDRESS ON FILE
CENTRALIA, IL 62801                  CHICAGO, IL 60628




MURILLO, MARIA                       MURLEY, JOSEPH                          MURON, DAVID J., MD
129 VINEYARD COURT                   3176 WOODLAND DR                        ADDRESS ON FILE
APTOS, CA 95003                      ZION, IL 60099




MURPHEY, NIKKI                       MURPHREE DANIEL, KAREN M.               MURPHREE DIANNE
915 DEER MTN ROAD                    ADDRESS ON FILE                         84 DOGWOOD DR
EVANSTON, WY 82930                                                           JACKSON, KY 41339




MURPHREE JAMES K                     MURPHY ASHLEY                           MURPHY CARRIE L
4542 COUNTY RD 83                    1703 N SMITH AVE                        8429 SW 8TH PLACE
COLLINSVILLE, AL 35961-3708          MARION, IL 62959                        GAINESVILLE, FL 32607




MURPHY COMPANY                       MURPHY FLORIST                          MURPHY JENNISE
P.O. BOX 790379                      P.O. BOX 198                            735 N 41 ST
ST LOUIS, MO 63179                   MARTIN, TN 38237                        EAST ST LOUIS, IL 62205




MURPHY JR, WILLIE                    MURPHY M.D., PATRICIA A.                MURPHY MD, PATRICIA
23 GREEN TREE LN                     40 PARSON DR                            ADDRESS ON FILE
GREENVILLE, AL 36037                 JACKSON, KY 41339




MURPHY TIMOTHY J                     MURPHY, CAROL L.                        MURPHY, DAVID
104A ROOSEVELT DR                    843 30TH ST NW                          115 SPIVEY RIDGE RD
WATERLOO, IL 62298                   MASSILLON, OH 44647                     BLAIRSVILLE, GA 30512




MURPHY, DAVID                        MURPHY, DONALD II                       MURPHY, GREGORY O.
2913 WAYNE AVE                       2858 WASHINGTON AVE                     ADDRESS ON FILE
GRANITE CITY, IL 62040               GRANITE CITY, IL 62040
MURPHY, JAMIE L.          Case 20-10766-BLS   Doc
                                        MURPHY, JANE6K. Filed 04/07/20   Page 1263 ofJASON
                                                                              MURPHY, 1969
ADDRESS ON FILE                           P.O. BOX 1882                       397 WALKER WAY
                                          BOULDER CREEK, CA 95006             PELHAM, AL 35124




MURPHY, JENNA                             MURPHY, JENNIFER L.                 MURPHY, JOANN
717 HOLLY HILL RD                         300 SOUTH 18TH STREET               720 S 11TH ST
GREENVILLE, AL 36037                      HERRIN, IL 62948                    HERRIN, IL 62948




MURPHY, JOY L.                            MURPHY, LAURA A.                    MURPHY, LYDIA
ADDRESS ON FILE                           6060 N LUCERNE                      5454 STATE ROUTE 250 NW
                                          CHICAGO, IL 60646                   BEACH CITY, OH 44608




MURPHY, MARIA                             MURPHY, MICHAEL                     MURPHY, MICHAEL
12242 69TH CT                             3887 STONEY BROOK CIR               ADDRESS ON FILE
PALOS HEIGHTS, IL 60463                   LAS CRUCES, NM 88005




MURPHY, MICHAEL                           MURPHY, NAOMI                       MURPHY, NICOLE V.
ADDRESS ON FILE                           1845 QUAIL HOLLOW RD.               ADDRESS ON FILE
                                          BEN LOMOND, CA 95005




MURPHY, PATRICIA E.                       MURPHY, REGINA                      MURPHY, SIERRA
167 COONHUNTERS ROAD                      18023 MARLIN LN                     ADDRESS ON FILE
GOLCONDA, IL 62938                        HOMEWOOD, IL 60430




MURPHY,PATRICK M                          MURRAY CHARLES                      MURRAY CLORESTINE
ADDRESS ON FILE                           357 COUNTY RD 335                   12601 S WINCHESTER AVE
                                          FLAT ROCK, AL 35966-5041            APT 102
                                                                              CALUMET PARK, IL 60827




MURRAY, AARON                             MURRAY, BECKY L.                    MURRAY, BRITTANY
103 N SCOTT ST                            301 WILKINS                         ADDRESS ON FILE
P.O. BOX 276                              MCKENZIE, TN 38201
ALEXIS, IL 61412




MURRAY, BRITTNEY P.                       MURRAY, CARRIE                      MURRAY, CASSANDRA
ADDRESS ON FILE                           38717 N NATIONAL TR                 2359 GREENSBURG ROAD APT A
                                          ANTHEM, AZ 85086                    N. CANTON, OH 44720




MURRAY, CHARLES                           MURRAY, CHELSEY D.                  MURRAY, CLIFTON
357 COUNTY ROAD 335                       ADDRESS ON FILE                     10585 HWY A10
FLAT ROCK, AL 35966                                                           P.O. BOX 65
                                                                              ROBERTSON, WY 82944-0065
MURRAY, COURTNEY         Case 20-10766-BLS   Doc
                                       MURRAY,     6 J. Filed 04/07/20
                                               ELISE                     Page 1264 ofERIN
                                                                              MURRAY, 1969A.
8656 MYSTRAS CIR                         ADDRESS ON FILE                      ADDRESS ON FILE
ELK GROVE, CA 95624




MURRAY, GLADYS                           MURRAY, GLASS                        MURRAY, JACOB
16420 NC HWY 32 N                        573 WEST 4800 SOUTH                  324 PARK AVE SW
ROPER, NC 27970                          MURRAY, UT 84123                     BOLIVAR, OH 44612




MURRAY, JENNIFER                         MURRAY, JULIA                        MURRAY, KATHRYN B.
ADDRESS ON FILE                          837 SUMMIT STREET                    5029 GUM SWAMP RD
                                         EVANSTON, WY 82930-3413              AYDEN, NC 28513




MURRAY, KELLY R                          MURRAY, KELLY R.                     MURRAY, LESLIE
3043 STIPES LN                           3043 STIPES LN                       ADDRESS ON FILE
EDWARDSVILLE, IL 62025                   EDWARDSVILLE, IL 62025




MURRAY, LORI D.                          MURRAY, MALIA                        MURRAY, MERCINDA
291 SYCAMORE LANE                        328 COLDBROOK LN                     1688 N 80 E
MCKENZIE, TN 38201                       SOQUEL, CA 95073                     TOOELE, UT 84074




MURRAY, REBECCA J.                       MURRAY, SHELDA                       MURREL, SUMMER
P. O. BOX 737                            810 N 22ND ST                        401 SOUTH UNION AVE
GRANTSVILLE, UT 84029                    SPRINGFIELD, OR 97477                BRINKLEY, AR 72021




MURRELL, TAMMY                           MURREN, ERIKA                        MURRIE, JENNIFER L.
508 PENN ST                              1061 KEENELAND COURT                 ADDRESS ON FILE
EDGEFIELD, SC 29824                      BOGART, GA 30622




MURRIE, JENNIFER L.                      MURRY, ALTHEA J.                     MURRY, REBECCA C.
ADDRESS ON FILE                          14227 LINCOLN AVE.                   710 WESTBROOK CT.
                                         DOLTON, IL 60419                     OFALLON, IL 62269




MURRY, RICKEY                            MURRY, ROBERT                        MURRY, WHITNEY
344 STONEHAM RD                          122 VALLEY DR                        1230 N TERRY ST
MEMPHIS, TN 38109                        HELENA, AR 72342                     WYNNE, AR 72396




MURTAGH, THOMAS                          MURTUZA BAHRAINWALA                  MUSA, ISHA
14229 PALMER AVE                         ADDRESS ON FILE                      415 E 4TH ST 30
POSEN, IL 60469                                                               DEMING, NM 88030
MUSCHONG, NICHKOLAUS Case 20-10766-BLS
                                   MUSCLEDoc    6 Filed 04/07/20
                                           RELOCATION              Page 1265 of 1969
                                                                        MUSCULAR DYSTROPHY ASSOCIATION INC
1844 N BISSELL ST                  2904 W MAIN ST                        4800 SW MACADAM AVE 205
CHICAGO, IL 60614-5013             MARION, IL 62959                      PORTLAND, OR 97239




MUSCULOSKELETAL TRANSPLANT          MUSCULOSKELETAL TRANSPLANT           MUSCULOSKELETAL TRANSPLT FOUND
FOUNDATION                          FOUNDATION                           POB 415911
P.O. BOX 415911                     P.O. BOX 415911                      BOSTON, MA 02241
BOSTON, MA 02241                    BOSTON, MA 02241-0000




MUSEUM OF THE BIG BEND              MUSGROVE, JASON                      MUSGROVE, SABRA A.
BOX C-101                           7 WAUNDA DRIVE                       ADDRESS ON FILE
ALPINE, TX 79832                    SHAWNEE, OK 74801




MUSGROVE, THERESA                   MUSHILL, ERICA L.                    MUSIC BOOSTERS, THE
1842 PENTHLEY AVENUE                133 W POPLAR ST                      11101 WELLS BYPASS
AKRON, OH 44312                     MASCOUTAH, IL 62258                  MT. VERNON, IL 62864




MUSIC CITY SOUND, THE               MUSIC IN MOTION                      MUSIC MAKERS
428 SCOTTS CREEK TRAIL              13415 ROUTE 37 NORTH                 346 E MAIN ST
HERMITAGE, TN 37076                 MARION, IL 62959                     GALESBURG, IL 61401




MUSIC, JEANETTE                     MUSIC, LARRY                         MUSIC, LEE C.
ADDRESS ON FILE                     ADDRESS ON FILE                      411 N.BUCKINGHAM AVE.
                                                                         WEST VAN LEAR, KY 41268




MUSIC, VALERIE L.                   MUSICH TRISHA                        MUSICH, JUDY
ADDRESS ON FILE                     7200 VISCAYA DRIVE                   13170 W SHANNON DR
                                    SPRING GROVE, IL 60081               BEACH PARK, IL 60083-3047




MUSICH, TRISHA E.                   MUSICIANS FRIEND INC                 MUSINSKI, JOHN
7200 VISCAYA DR                     P.O. BOX 7479                        P.O. BOX 954
SPRING GROVE, IL 60081              WESTLAKE VILLAGE, CA 91359           LAKE VILLA, IL 60046




MUSOLINO, NICHOLE E.                MUSSER, FRANCES                      MUSSO, JODY S.
8585 MIDLAND ROAD                   1138 COMO ST                         7606 HAWKSFIELD AVE NW
MIDLAND, GA 31820                   MCKENZIE, TN 38201                   CANAL FULTON, OH 44614




MUSSO, MICHAEL F.                   MUSU, RUTH                           MUTEJ, SERGE
7606 HAWKSFIELD AVENUE NW           830 STADIUM DR                       1072 OLIVE ST
CANAL FULTON, OH 44614              APT 103                              APT B2
                                    PLEASANTON, TX 78064-2435            GALESBURG, IL 61401
MUTUAL MEDICAL PLANS Case 20-10766-BLS
                                   MUTUALDoc    6 PLANS
                                           MEDICAL  Filed 04/07/20   Page 1266
                                                                          MUTUALof 1969
                                                                                 MEDICAL
COMMERCE BANK BLDG SUITE 1025      COMMERCE BANK BLDG SUITE 1025          PO BOX 689
P.O. BOX 689                       PO BOX 689                             PEORIA, IL 61652
PEORIA, IL 61652-1652              PEORIA, IL 61602




MUTUAL OF OMAHA CLAIMS DEPT          MUTUAL OF OMAHA COMPANIES            MUTUAL OF OMAHA COMPANIES
3301 MUTUAL OF OMAHA PLAZA           3300 MUTUAL OF OMAHA PLAZA           3301 MUTUAL OF OMAHA PLAZA
OMAHA,, NE 68175-0001                CLAIMS DEPARTMENT                    CLAIMS DEPARTMENT
                                     OMAHA, NE 68175-1004                 OMAHA, NE 68175-1004




MUTUAL OF OMAHA INS CO               MUTUAL OF OMAHA INSURANCE            MUTUAL OF OMAHA INSURANCE
P.O. BOX 33061                       3300 MUTUAL OF OMAHA PLAZA           3300 MUTUAL OF OMAHA PLAZA
ASSET PROTECT UNIT                   OMAHA, NE 68175                      OMAHA, NE 68175-0001
AMARILLO, TX 79120




MUTUAL OF OMAHA MEDICARE             MUTUAL OF OMAHA PROV PREF            MUTUAL OF OMAHA
3300 MUTUAL OF OMAHA PLAZA           3300 MUTUAL OF OMAHA PLAZA           3300 MUTUAL OF OMAHA PLAZA
MEDICARE AUDIT LL2                   OMAHA, NE 68175-0001                 OMAHA, NE 68175
OMAHA, NE 68175-0001




MUTUAL OF OMAHA                      MUTUAL OF OMAHA                      MUTUAL OF OMAHA
3300 MUTUAL OF OMAHA PLAZA           3301 MUTUAL OF OMAHA PLAZA           3301 MUTUAL OF OMAHA PLAZA
OMAHA, NE 68175-1004                 CLAIMS DEPARTMENT                    CLAIMS DEPT
                                     OMAHA, NE 68175-0001                 OMAHA, NE 68175-0001




MUTUAL OF OMAHA                      MUTUAL OF OMAHA                      MUTUAL OF OMAHA
3301 MUTUAL OF OMAHA PLAZA           3301 MUTUAL OF OMAHA PLAZA           3301 MUTUAL OF OMAHA PLAZA
OMAHA, NE 68175                      OMAHA, NE 68175-0001                 OMAHA, NE 68175-1004




MUTUAL OF OMAHA                      MUTUAL OF OMAHA                      MUTUAL OF OMAHA
8 MEDICARE SUPPL                     ATTN: FINANCE/REFUNDS                ATTN: FINANCE/REFUNDS
3301 MUTUAL OF OMAHA PLAZA           3300 MUTUAL OF OMAHA PLAZA           3301 MUTUAL OF OMAHA PLAZA
OMAHA, NE 68175-0001                 OMAHA, NE 68175-1004                 OMAHA, NE 68175-1004




MUTUAL OF OMAHA                      MUTUAL OF OMAHA                      MUTUAL OF OMAHA
ATTN: REFUND DEPT                    ATTN: REFUND DEPT                    ATTN: REFUNDS
3301 MUTUAL OF OMAHA PLAZA           MUTUAL OF OMAHA PLAZA                3300 MUTUAL OF OMHAHA PLAZA
OMAHA, NE 68175                      OMAHA, NE 68175                      OMAHA, NE 68175




MUTUAL OF OMAHA                      MUTUAL OF OMAHA                      MUTUAL OF OMAHA
ATTN: REFUNDS                        ATTN: REFUNDS                        ATTN: REFUNDS
3300 MUTUL OF OMAHA PLAZA            3301 MUTUAL OF OMAHA PLAZA           3301 MUTUAL OF OMAHA PLAZA
OMAHA, NE 68175-1004                 OMAHA, NE 68175                      OMAHA, NE 68175-1004




MUTUAL OF OMAHA                      MUTUAL OF OMAHA                      MUTUAL OF OMAHA
DODGE AT 33RD ST                     MUTUAL OF OMAHA PLAZ                 P.O. BOX 1602
OMAHA, NE 68131                      OMAHA, NE 68175                      OMAHA, NE 68175-0001
MUTUAL OF OMAHA          Case 20-10766-BLS
                                       MUTUALDoc 6 Filed 04/07/20
                                             OF OMAHA                 Page 1267
                                                                           MUTUALof
                                                                                  OF1969
                                                                                     OMAHA
P.O. BOX 33061                         PO BOX 33061                        REFUNDS DEPT
AMARILLO, TX 79120                     AMARILLO, TX 79120                  3301 MUTUAL OF OMAHA PLAZA
                                                                           OMAHA, NE 68175-0001




MUTUAL OF OMAHA-MEDICARE               MUYANJA, ABDU N.                    MUZUR, MARY
ATTN: FINANCE DEPARTMENT               6331 BARLETTA CT                    2505 29TH STREET
P.O. BOX 1602                          PALMDALE, CA 93552                  ZION, IL 60099
OMAHA, NE 68101




MUZZY, JUSTIN                          MV MEDICAL MANAGERMENT-IFMG         MVAP MEDICAL SUPPLIES INC
881 E 860 N                            1860 COLORADO BLVD SUITE 200        1415 LAWRENCE DR
TOOELE, UT 84074                       LOS ANGELES, CA 90041               STE A
                                                                           NEWBURY PARK, CA 91320




MVAP MEDICAL SUPPLIES INC              MVP PERFORMANCE CENTER              MVT
2001 CORPORATE CENTER DR               1854 TEAL PLACE                     1120 N MOAPA VALLEY BLVD
SUITE 250                              EUGENE, OR 97404                    OVERTON, NV 89040
THOUSAND OAKS, CA 91320




MVTHS FOUNDATION                       MVTHS                               MVTHS
C/O TONY WIELT                         ATTN:LIFE SAVERS                    C/O TAYLOR EVANS
4121 S. WATERTOWER PL                  11101 NORTH WELLS BYPASS            11101 NORTH WELLS BYPASS
MT. VERNON, IL 62864                   MT. VERNON, IL 62864                MT. VERNON, IL 62864




MW IMAGING                             MWANSA, VICTOR                      MWMC HOLDINGS, LLC
920 HEMSATH ROAD, SUITE 102            ADDRESS ON FILE                     1209 ORANGE STREET
ST. CHARLES, MO 63303                                                      WILMINGTON, DE 19801




MY CONNECTION LLC                      MY EDUCATIONAL RESOURCES            MY HEARING CENTERS
2543 OAK HILL LANE                     P.O. BOX 130                        P.O. BOX 1170
ASHLAND, KY 41102-0000                 KERSEY, CO 80644                    RIVERTON, UT 84065




MY SUPPLY                              MYA WILLIS                          MYCARE DUAL CARESOURCE
218 GODFREY AVE N                      5020 PAJARITO RD SE                 P.O. BOX 8730
FORT PAYNE, AL 35967                   DEMING, NM 88030                    DAYTON, OH 45401




MYCARE DUAL UHC                        MYCARE UHC ONLY                     MYCHEALE ANDREWS
P.O. BOX 8207                          P.O. BOX 8207                       104 E MAPLE STREET
KINGSTON, NY 12402                     KINGSTON, NY 12402                  LOUISA, KY 41230




MYCLE, MARYKUTTY                       MYCO INSTRUMENTATION INC            MYCO INSTRUMENTATION INC
ADDRESS ON FILE                        21507 SR 410 E                      3009 219TH AVE E
                                       SUITE B                             LAKE TAPPS, WA 98391
                                       BONNEY LAKE, WA 98391
MY-COMM., INC            Case 20-10766-BLS    Doc 6 L.Filed 04/07/20
                                       MYER, SAMANTHA                  Page 1268  of 1969 LEE
                                                                            MYER, SAMANTHA
1860 42ND STREET                        ADDRESS ON FILE                     ADDRESS ON FILE
SPRINGFIELD, OR 97477




MYERS BRENDA S                          MYERS CHANTELL L                    MYERS JERRID D
3100 TURNER RD SE SPC 612               37519 N BIRCH AVE                   2823 27TH ST
SALEM, OR 97302                         BEACH PARK, IL 60087                ZION, IL 60099




MYERS JR., JONATHAN                     MYERS LLC                           MYERS, BRENDA
1425 NORTH AVE APT 202                  P.O. BOX 481810                     P O BOX 413
WAUKEGAN, IL 60085                      CHARLOTTE, NC 28269-0000            308 CLINTON
                                                                            AVON, IL 61415-0000




MYERS, CYNTHIA A.                       MYERS, DELILAH                      MYERS, DOROTHY
540 HIGHPOINT DRIVE                     ADDRESS ON FILE                     7473 B ST
SMYRNA, TN 37167                                                            SPRINGFIELD, OR 97478




MYERS, EVONNE M.                        MYERS, GARY                         MYERS, HALEY F.
1155 LISA LANE                          308 CLINTON ST                      206 DURHAM DR
SANTA CRUZ, CA 95062                    P.O. BOX 413                        HOSCHTON, GA 30548
                                        AVON, IL 61415




MYERS, HAROLD                           MYERS, HUNTER B.                    MYERS, JARVIS
16924 RT 149                            5500 DROUBAY RD                     12615 S WINCHESTER APT. 1
P.O. BOX 412                            ERDA, UT 84074                      CALUMET PARK, IL 60827
HURST, IL 62949




MYERS, JEFFREY C.                       MYERS, JEFFREY C.                   MYERS, JENNIFER L.
5475 BUTLER HILL RD                     ADDRESS ON FILE                     ADDRESS ON FILE
ST LOUIS, MO 63128




MYERS, KASEY L.                         MYERS, KORIE L.                     MYERS, LAURA L.
4006A DESOTO PARKWAY                    11312 271ST AVE                     ADDRESS ON FILE
FORT PAYNE, AL 35967                    TREVOR, WI 53179




MYERS, LAUREN                           MYERS, LORI                         MYERS, MARY
ADDRESS ON FILE                         801 27TH ST NE                      270 N MILL ST
                                        MASSILLON, OH 44646                 APT E
                                                                            DALTON, OH 44618




MYERS, SHERRY                           MYERS, SHIRLEY A.                   MYERS, STEPHANIE
204 DOUGLAS ST                          2293 IL HIGHWAY 15                  ADDRESS ON FILE
AVON, IL 61415                          FAIRFIELD, IL 62837
MYERS, STEPHENIE        Case 20-10766-BLS
                                      MYERS, Doc 6 Filed 04/07/20
                                             STEPHENIE                    Page 1269
                                                                               MYERS,of 1969
                                                                                      STEPHENIE
ADDRESS ON FILE                        4004 COUNTY ROAD 157                     ADDRESS ON FILE
                                       EVANSTON, WY 82930




MYLA SELPH                             MYLA, WALWORTH                           MYLER, JASON D.
582 S DORCHESTER RD                    306 4TH STREET NW                        2609 COLUMBIA LAKES DRIVE
BUNKER HILL, IL 62014                  FORT PAYNE, AL 35967                     APT 2 C
                                                                                COLUMBIA, IL 62236




MYLKO, ANDREW                          MYOSCIENCE INC                           MYRA, KENYON
4420 CATALINA ST                       46400 FREMONT BLVD                       1586 COUNTY ROAD 247
EUGENE, OR 97402                       FREMONT, CA 94538                        FORT PAYNE, AL 35967




MYRA, LEVINGSTON                       MYRA, STICKLE                            MYRACLE, MENDE FOR CARSON MYRACLE
1604 CROWN RD                          P.O. BOX 335                             3229 STRAYLEAF RD
APT 36                                 ONEIDA, IL 61467                         WILDERSVILLE, TN 38388
GREENVILLE, IL 62246-2572




MYRANT, LAVAUGHN                       MYRICK, LINDA                            MYRICK, ROBERT
3902 MAMMOTH TRL                       4194 PINE APPLE HWY                      8237 D RD
MADISON, WI 53719                      GREENVILLE, AL 36037                     WATERLOO, IL 62298




MYRICK, SHELIA K.                      MYRMINGOS, ROSCOE                        MYRNA SCHILLING TRUST
ADDRESS ON FILE                        1403 MOHER BLVD                          4919 WACHTEL ROAD
                                       FRANKLIN, TN 37069                       SMITHTON, IL 62285




MYRNA, DENNIS                          MYRON CORP                               MYRON STACHNIW MD
20 WEST 103RD PL                       P.O. BOX 660888                          ADDRESS ON FILE
CHICAGO, IL 60628                      DALLAS, TX 75266-0888




MYRTIS, LOUISE CROY                    MYSLIWIEC CHARLES                        MYSLIWIEC, CHARLES
213 E 5TH AVE                          801 KNEEDLER AVE                         801 KNEEDLER ST
WINDER, GA 30680-1810                  COLLINSVILLE, IL 62234                   COLLINSVILLE, IL 62234




MYSLIWIEC, MEAGAN                      MYVETT LONGSWORTH, SHERILEE D.           N & B FUEL MART INC
119 NAVAJO CIRCLE                      8244 S. SAGINAW AVE                      10229 STATE ROUTE 3
EVANSTON, WY 82930                     CHICAGO, IL 60617                        RED BUD, IL 62278




N AM PREMIER BASKETBALL LEAGUE         N DARLENE WALKER & ASSOCIATES LP         N DARLENE WALKER & ASSOCIATES LP
NEVADA DESERT DOGS                     1425 BLALOCK RD                          1425 BLALOCK RD
4958 W IRVING PARK RD                  STE 200                                  SUITE 200
CHICAGO, IL 60641                      HOUSTON, TX 77055                        HOUSTON, TX 77055-4471
N M DEPT OF HEALTH      Case 20-10766-BLS    Doc
                                      N.C. DEPT    6 Filed 04/07/20
                                                OF ENVIRONMENTAL QUALITY Page 1270   of OF
                                                                              N.C. DEPT 1969
                                                                                           ENVIRONMENTAL QUALITY
1190 ST FRANCIS DRIVE                 1601 MAIL SERVICE CTR                   2090 US 70 HWY
P O BOX 26110                         RALEIGH, NC 27699-1601                  SWANNANOA, NC 28778-8211
SANTA FE, NM 87502-6110




N.C. DIVISION OF HEALTH BENEFITS       N.O. KRONFOL, MD, PA                    N451A LLC
DHHS OFFICE OF CONTROLLER- ACCT REC    1997 SOUTH MEDICAL PARK                 801 HANGAR LN
2022 MAIL SERVICE CENTER               GREENVILLE, MS 38703                    HANGER 9
RALEIGH, NC 27699-2022                                                         NASHVILLE, TN 37217




N451A, LLC                             NAA                                     NAACP
1573 MALLORY LANE, SUITE 100           P.O. BOX 1984                           P.O. BOX 2473
BRENTWOOD, TN 37027                    NASHVILLE, TN 37202                     MT VERNON, IL 62864




NABALINDWA, ALLEN W.                   NABORS, KARANDA                         NACC FOUNDATION
ADDRESS ON FILE                        927 COUNTY RD 144                       P.O. BOX 159
                                       GAYLESVILLE, AL 35973                   RAINSVILLE, AL 35986




NACE, CATHY ANN                        NACHE, LUCY                             NADANAMOORTHI, SARAH E.
139 E HAAS MANOR RD                    419 LAWRENCE AVE                        2934 RIDGELINE DRIVE APT 723
SUNBURY, PA 17801                      GALESBURG, IL 61401                     FORT WORTH, TX 76135




NADEAU, JANET LEE                      NADELIN, THOMAS                         NADIA FIELDS
5764 MINERAL WAY                       801 SOUTH SKINKER BLVD                  613 THAMES ST
SPRINGFIELD, OR 97478-0000             APT 4C                                  GREENVILLE, AL 36037
                                       ST. LOUIS, MO 63105




NADINE DUNN                            NADINE MILLS                            NADINE REYES
ADDRESS ON FILE                        P.O. BOX 591                            3600 DIXON
                                       INEZ, KY 41224                          BIG SPRING, TX 79720




NADINE WOODS                           NADINE, TUKIYA                          NADJA, BRADFORD
13945 NATCHEZ TRACE RD                 219 S 1ST STREET                        P.O. BOX 576
LEXINGTON, TN 38351                    APT 2                                   LOGANDALE, NV 89021-0576
                                       MONMOUTH, IL 61462-2294




NAEF, JENNIFER                         NAESE, TIFFANY                          NAESS WOOD, ELISABETH H.
P.O. BOX 1327                          444 SANDBURG DRIVE                      2025 HUNTINGTON DR.
THAYNE, WY 83127                       MANTENO, IL 60950                       APTOS, CA 95003




NAGEL JULIANE                          NAGEL, JULIANE                          NAGEL, KRISTINE
ADDRESS ON FILE                        ADDRESS ON FILE                         8453 LL RD
                                                                               RED BUD, IL 62278
NAGEL, PAMELA             Case 20-10766-BLS   Doc 6 NANCY
                                        NAGGYJACKSON, FiledW.
                                                            04/07/20      Page 1271
                                                                               NAGLE,of 1969
                                                                                     ROBIN
7734 STATE ROUTE 156                     ADDRESS ON FILE                       ADDRESS ON FILE
WATERLOO, IL 62298




NAGLICH, NICOLE                          NAGORI, MOHAMMEDUMER MD               NAGRODSKY, JILL
1542 CLEVELAND AVE                       6486 STATE RD APT C17                 88 PHEASANT DR
LAGRANGE PARK, IL 60526                  PARMA, OH 44134                       HURRICANE, UT 84737




NAHAL, BOROUMAND                         NAHLAWI, MAHER MD                     NAI GEIS REALTY GROUP INC
7923 KNIGHT RD                           1870 W WINCHESTER RD SUITE 241        996 OLD EAGLE SCHOOL RD
HOUSTON, TX 77054                        LIBERTYVILLE, IL 60048                STE 1117
                                                                               WAYNE, PA 19087




NAILAH, CYRUS                            NAIL-FINCK, TERRI                     NAINANI, STEPHANIE
517 CRESENT ST                           340 RATZ DRIVE                        5809 ARMIDE ST
APT 6                                    PONTOON BEACH, IL 62040               LAS VEGAS, NV 89081
WAYCROSS, GA 31501




NAIRN, KIMBERLY J.                       NAJARRO, CYNTHIA J.                   NAJARRO, CYNTHIA J.
411 ECHOLS DR                            ADDRESS ON FILE                       1124 LORRAINE AVE
COAHOMA, TX 79511                                                              WAUKEGAN, IL 60085




NAJBAR, BEATA                            NAJERA-GARCIA, JULIO                  NAKASONE, DENISE
27 W RUSTIC LN                           P.O. BOX 1868                         1201 BAYSIDE DR
ROUND LAKE BEACH, IL 60073               BIG SPRING, TX 79721                  UNIT D
                                                                               SAN FRANCISCO, CA 94130




NAKATANI, DOUGLAS M.                     NAKHLEH, JENNIFER                     NALC BENEFIT PLAN
146 CRISSARA DR                          ADDRESS ON FILE                       20547 WAVERLY COURT
WATSONVILLE, CA 95076                                                          ASHBURN, VA 20149




NALC HEALTH BENEFIT PLAN                 NALC HEALTH BENEFIT PLAN              NALC HEALTH BENEFIT PLAN
20547 WAVERLY COURT                      20547 WAVERLY COURT                   ATTN: ACCOUNTING
ASHBUERN, VA 20149                       ASHBURN, VA 20149                     20547 WAVERLY COURT
                                                                               ASHBURN, VA 20149




NALC HEALTH BENEFIT PLAN                 NALC HEALTH BENEFIT PLAN              NALC
ATTN: REFUND DEPT                        ATTN: REFUND DEPT                     20547 WAVERLY COURT
20547 WAVERLY COURT                      20547 WAVERLY CT                      ASHBURN, VA 20149
ASHBURN, VA 20149                        ASHBURN, VA 20149-0000




NALC                                     NALCO CROSSBOW WATER, LLC             NALCO CROSSBOW WATER, LLC
ATTN: ACCOUNTING                         NETWORK PLACE 24658                   NETWORK PLACE 24658
20547 WAVERLY COURT                      CHICAGO, IL 60673                     DBA CROSSBOW WATER
ASHBURN, VA 20149                                                              CHICAGO, IL 60673
NALL, SHAUN              Case 20-10766-BLS
                                       NALLEY,Doc 6 M.
                                              CRYSTAL Filed 04/07/20   Page 1272  of 1969
                                                                            NALLS JACQUELINE
725 COPPER LINE RD                      908 S LANCASTER                      809 LOCUST LANE
MARYVILLE, IL 62062                     BIG SPRING, TX 79720                 APT 109
                                                                             VERNON HILLS, IL 60061




NALLS, JACQUELINE D.                    NALLY LAUREN E                       NAMDRC
135-56 223RD STREET                     5495 PEONY RD                        8618 WESTWOOD CENMTER DRIVE SUITE
LAURELTON, NY 11413                     COULTERVILLE, IL 62237               SUITE 210
                                                                             VIENNA, VA 22182




NAMETH, DOROTHY                         NAMI SOUTHWESTERN IL COUNTY          NAMSS
840 BITTERSWEET DR NE                   2100 MADISON                         8658 SOLUTION CENTER
MASSILLON, OH 44646                     4TH FLOOR                            CHICAGO, IL 60677-8006
                                        GRANITE CITY, IL 62040




NAMSS                                   NANCE, HEIDI                         NANCE, KAYLEEN
8658 SOLUTION CTR                       ADDRESS ON FILE                      ADDRESS ON FILE
CHICAGO, IL 60677




NANCE, MAKENZIE A.                      NANCE, PATRICE I.                    NANCESMITH MARILYN E
2336 CLARK AVE                          ADDRESS ON FILE                      4208 W 135TH STREET
GRANITE CITY, IL 62040                                                       ROBBINS, IL 60472




NANCHY, TINA M.                         NANCY ALFORD                         NANCY C ESWAY
ADDRESS ON FILE                         ADDRESS ON FILE                      4732 PICADILLY SW
                                                                             CANTON, OH 44706




NANCY CHRYSSOS                          NANCY CORBIN                         NANCY H GREENE
5828 FRAZER AVE NW                      3609 BERKELEY                        210 KERR AVE
NORTH CANTON, OH 44720                  ALTON, IL 62002                      JERSEY SHORE, PA 17740




NANCY J WHALEY STANDING CHAPTER 13      NANCY JEAN                           NANCY PARKER
TRUSTEE                                 714 S 25TH ST                        ADDRESS ON FILE
303 PEACHTREE CENTER AVE NI             MT VERNON, IL 62864
STE 120 SUNTRUST PLAZA GARDER
ATLANTA, GA 30303



NANCY RODGERS FOR ROBERT RODGERS        NANCY ROGERSON                       NANCY S REINHART
517 LAKESHORE DR                        116 WATTS ST                         8465 NOBLE LOON ST NW
LEXINGTON, TN 38351                     WILLIAMSTON, NC 27892                MASSILLON, OH 44646-7953




NANCY SUNDERLAND                        NANCY WRIGHT                         NANCY, JEFFREY BING
73 DODD ST                              ADDRESS ON FILE                      7878 HIGHWAY 137
LEXINGTON, TN 38351                                                          VALLEY HEAD, AL 35989
NANCYS LUNCHBOX          Case 20-10766-BLS   Doc
                                       NANETTE    6 Filed
                                               NUESSLE, MD 04/07/20   Page 1273 ofASHLEE
                                                                           NANNEY, 1969 C.
211 MAPLE AVENUE                        ADDRESS ON FILE                    633 WHITE OAK DRIVE
RAINSVILLE, AL 35986                                                       CHESTER, IL 62233




NANNEY, ASHLEE C.                       NANNEY, ASHLEE                     NANNEY, LUCAS
ADDRESS ON FILE                         ADDRESS ON FILE                    633 WHITE OAK DR
                                                                           CHESTER, IL 62233




NANNEY, SHIRLEY                         NANOSONICS INC                     NANTZ, GWENDOLYN L.
707 PARIS STREET                        DEPT CH 10899                      207 KINGTOWN ST
MCKENZIE, TN 38201                      PALATINE, IL 60055-0899            MCCAYESVILLE, GA 30555




NANWATTIE, NARAIN                       NAOHP                              NAOMASA HASE
1255 VASCO ADCODE RD                    8389 DOUBLETREE DRIVE NORTH        ADDRESS ON FILE
MONROE, GA 30655                        CROWN POINT, IN 46307




NAOMI MITCHELL                          NAPA AUTO PARTS CENTER             NAPA AUTO PARTS OF WAUKEGAN
ADDRESS ON FILE                         5959 COLLECTIONS CENTER            3119 GRAND AVE
                                        CHICAGO, IL 60693                  WAUKEGAN, IL 60085




NAPA AUTO PARTS                         NAPHCARE ATTN REFUNDS              NAPHCARE
604 WASHINGTON ST                       2090 COLUMBIANA RD                 2090 COLUMBIANA RD
WILLIAMSTON, NC 27892                   BIRMINGHAM, AL 35216               STE 4000
                                                                           BIRMINGHAM, AL 35216




NAPHCARE                                NAPIER CASSIE D                    NAPIER FALLON
2090 COLUMBIANA RD                      1041 BARWICK RD                    900 N FRANKLIN ST
STE 4000                                JACKSON, KY 41339                  STAUNTON, IL 62088
BIRMINGHAM, AL 35216-0000




NAPIER NICHOLAS                         NAPIER, CHARLOTTE                  NAPIER, KIMBERLY D.
1997 CURT ROAD                          ADDRESS ON FILE                    ADDRESS ON FILE
JACKSON, KY 41339-6529




NAPIER, LINDA KAYE                      NAPIER, MIRANDA                    NAPIER, TABITHA
2081 CURT ROAD                          P.O. BOX 406                       ADDRESS ON FILE
JACKSON, KY 41339                       FORT GAY, WV 25514




NAPIWOCKI, CHARLIE                      NAPOVANICE, STEVEN                 NAPPER, JACQUELLYNN R.
8045 HARVEST DR                         14030 JEN DRIVE                    ADDRESS ON FILE
FRANKFORT, IL 60423                     AVISTON, IL 62216
NAPPER, MICHAEL R.       Case 20-10766-BLS     Doc 6E. Filed 04/07/20
                                       NAPPI, SCOTT                        Page 1274  ofKAYLEE
                                                                                NAPPIER  1969 E
ADDRESS ON FILE                          5323 FRANCESCA ST NE                   590 COUNTY RD 445
                                         LOUISVILLE, OH 44641                   COLLINSVILLE, AL 35961




NAPPIER, JENNIFER M.                     NAPPIER, KAYLEE E                      NAPPIER, LAMAR
ADDRESS ON FILE                          797 COUNTY RD 445                      P.O. BOX 681616
                                         COLLINSVILLE, AL 35961                 FORT PAYNE, AL 35968




NARAINSAMMY, LALETA                      NARANJO, MARIA E.                      NARANJO, MELISSA
371 PLANTATION RIDGE CT                  7817 W 92ND CT                         ADDRESS ON FILE
LOGANVILLE, GA 30052-3689                CROWN POINT, IN 46307




NARANJO, TAMARA J.                       NARAYAN, PRIYADHARSHINI R.             NAREZ-ORTIZ, MARIA
ADDRESS ON FILE                          6672 LIST ST NW                        435 HERMAN AVE
                                         CANTON, OH 44708                       WATSONVILLE, CA 95076




NARHC                                    NARIKKATU, ALEYAMMA                    NASATO, JESEE
2 EAST MAIN STREET                       38880 NORTHWOODS DR                    14485 SENECA RD APT 186
FREMONT, MI 49412-0000                   WADSWORTH, IL 60083                    VICTORVILLE, CA 92392




NASDAQ INC                               NASH UNC HEALTH CARE, EDUCATION        NASH WOMENS CENTER
NASDAQ CORPORATE SOLUTIONS LLC           ATTN: VAN HOLT                         ATTN: JENNIFER KENDRICK
LBX 11700 - P.O. BOX 780700              2460 CURTIS ELLIS DR                   2460 CURTIS ELLIS DRIVE
PHILADELPHIA, PA 19178-0700              ROCKY MOUNT, NC 27804                  ROCKY MOUNT, NC 27804




NASH, BETH A.                            NASH, DEBRA                            NASH, GLENN
ADDRESS ON FILE                          1519 9TH WEST AVE                      137 WOODLAND TRAIL
                                         KEMMERER, WY 83101                     PROCTOR, AR 72376




NASH, GRANT                              NASH, JENNIFER                         NASH, JESSICA
113 SIMPSON AVE                          12639 S KOSTNER AVENUE 3C              ADDRESS ON FILE
EVANSTON, WY 82930                       ALSIP, IL 60803




NASH, MONICA                             NASH, RAYMOND F                        NASH, SYLVIA
17529 W HUNTINGTON C                     22 DEVON HILL LANE                     620 RITTER RD
GRAYSLAKE, IL 60030                      GRANITE CITY, IL 62040                 MORRIS CHAPEL, TN 38361




NASHAWI, MHD TAREK                       NASHAWI, TAREK                         NASH-SWINK, MARY E.
1796 PROVINCIAL WAY                      1796 PROVINCIAL WY                     2425 SWAN POND RD
EUGENE, OR 97401                         EUGENE, OR 97401                       P.O. BOX 502
                                                                                DONGOLA, IL 62926
NASH-SWINK, MARY E.       Case 20-10766-BLS   Doc
                                        NASHVILLE   6 CHAMBER
                                                  AREA Filed 04/07/20   Page 1275
                                                              OF COMMERCE          of 1969
                                                                             NASHVILLE DENTAL, INC.
ADDRESS ON FILE                           NASHVILLE HEALTH CARE COUNCIL         P.O. BOX 1449
                                          211 COMMERCE ST - STE 100             MADISON, TN 37116-1449
                                          NASHVILLE, TN 37201




NASHVILLE SURGICAL INSTRUMENTS            NASHVILLE TECHNOLOGY COUNCIL          NASLUND, ROBERT
2005 KUMAR LANE                           500 INTERSTATE BLVD S                 660 OAK TER
SPRINGFIELD, TN 37172                     STE 400                               SWEET HOME, OR 97386
                                          NASHVILLE, TN 37210




NASON, STEVEN                             NASONI, ROSEMARY ANN                  NASSER, ERIC
529 SOUTH CHURCH STREET                   11864 COUNTY ROAD 137                 120 LAKEWOOD DR
WATERLOO, IL 62298                        VALLEY HEAD, AL 35989                 LEXINGTON, TN 38351




NASVADI KENDRA                            NAT. GOVNT SVCS, JURS.6               NATALIE ANN MCALLISTER, RN
1728 LINCOLN WAY NW                       ATTN: REFUNDS
MASILLON, OH 44647-6134                   P.O. BOX 809194
                                          CHICAGO, IL 60680-9194




NATALIE GONZALES                          NATALIE MICHAELIS                     NATALIE SHOEMAKER
ADDRESS ON FILE                           131 HWY 259 SO                        ADDRESS ON FILE
                                          PALESTINE, AR 72372




NATALIE STEINBERG                         NATASHA BANKSTON                      NATASHA GOZA
301 MEADOW DRIVE                          20 SOUTH GRAND AVENUE                 ADDRESS ON FILE
BETHALTO, IL 62010-0000                   COLLINSVILLE, AL 35961




NATASHA KITE                              NATASHA LOFTIN                        NATASHA THOMAS
ADDRESS ON FILE                           ADDRESS ON FILE                       1980 KENEER RD
                                                                                GEORGIANA, AL 36033




NATERA, IMELDA R.                         NATERA, ISRAEL Y.                     NATHAN A RITTER
ADDRESS ON FILE                           ADDRESS ON FILE                       119 WALNUT ST
                                                                                APT 113
                                                                                MIFFLINBURG, PA 17844




NATHAN CARTER                             NATHAN CONRAD                         NATHAN JOHNSON
1644 RILEY LANE                           336 WRIGHT ST                         1436 LADD AVE
EUGENE, OR 97402                          LASALLE, IL 61301                     EDWARDSVILLE, IL 62025




NATHAN M WARNER                           NATHAN MAUE                           NATHAN WILLIS
1439 HUNTINGTON HEIGHTS                   201 LON DEL DR                        124 DOGWOOD LN
MESQUITE, NV 89027                        CHESTER, IL 62233-2111                SYLVA, NC 28779-9828
NATHANIEL BOOKHOUT      Case 20-10766-BLS     Doc COLLEEN
                                      NATHANSON,  6 Filed 04/07/20       Page 1276
                                                                              NATHE,of 1969 A
                                                                                    HOWARD
912 S. GLENVIEW DR.                   1144 RIDGEWOOD DR                       44819 RIDGE PARK CT
CARBONDALE, IL 62901-2439             HIGHLAND PARK, IL 60035                 GREY EAGLE, MN 56336




NATION, DEBORAH                      NATION, DONNA C.                         NATION, KRISTI
76 SHIRLWIN DR                       ADDRESS ON FILE                          ADDRESS ON FILE
GRANITE CITY, IL 62040




NATIONAL ACCESS, INC.                NATIONAL ACCOUNTS DEDICATED SERVICE      NATIONAL ADVANCED ENDOSCOPY
P.O. BOX 968                         P.O. BOX 14114                           DEVICES, INC.
LA HABRA, CA 90633                   LEXINGTON, KY 40512-4114                 22134 SHERMAN WAY
                                                                              CANOGA PARK, CA 91303




NATIONAL ASSOC OF LETTER CARRIERS    NATIONAL ASSOCIATION OF CORPORATE        NATIONAL AUTOMATIC SPRINK
20547 WAVERLY CT                     DIRECTORS                                8000 CORPORATE DRIVE
ASHBURN, VA 20149                    NACD MEMBER SERVICES                     LANDOVER, MD 20785-2239
                                     1515 N COURTHOUSE RD - STE 1200
                                     ARLINGTON, VA 22201



NATIONAL BAND & TAG CO               NATIONAL BINGO ONLINE                    NATIONAL BUSINESS SOLUTIONS
721 YORK ST                          726 N. STILES STREET                     3619 FRANKLIN BLVD
P.O. BOX 72430                       LINDEN, NJ 07036                         EUGENE, OR 97403
NEWPORT, KY 41072-0430




NATIONAL CARPET ONE                  NATIONAL CENTRAL PHARMACY                NATIONAL CHILD SAFETY COUNCIL
P O BOX 488                          P.O. BOX 730614                          GALESBURG POLICE DEPT
FORREST CITY, AR 72336-0488          DALLAS, TX 75373                         150 S BROAD ST
                                                                              GALESBURG, IL 61401




NATIONAL CNTR ON SHAKEN BABY         NATIONAL DME                             NATIONAL DME
1433 N 1075 W STE 110                310 E 4500 S                             7757 S ALLEN STREET
FARMINGTON, UT 84025                 SUITE 280                                MIDVALE, UT 84047
                                     SALT LAKE CITY, UT 84107




NATIONAL ECONOMIC RESEARCH           NATIONAL ELEVATOR INSPECTION             NATIONAL ELEVATOR INSPECTION
ASSOCIATES INC                       SERVICES, INC                            PO BOX 503067
P.O. BOX 7247-6754                   P.O. BOX 503067                          ST LOUIS, MO 63150
PHILADELPHIA, PA 19170-6754          ST LOUIS, MO 63150-3067




NATIONAL ENERGY CONTROL CORP         NATIONAL FINANCIAL SVCS. (0226)          NATIONAL FIRE & MARINE INSURANCE
312 DARBY RD                         ATTN SEAN COLE OR PROXY DEPT.            COMPANY
ATTN. ACCTS RECEIVABLE               NEWPORT OFFICE CENTER III                1314 DOUGLAS STREET
HAVERTOWN, PA 19083-4679             499 WASHINGTON BOULEVARD                 STE 1400
                                     JERSEY CITY, NJ 07310                    OMAHA, NE 68102



NATIONAL FIRE & MARINE INSURANCE     NATIONAL FIRE PROTECTION                 NATIONAL FIRE SAFETY COUNCIL
COMPANY                              P.O. BOX 9689                            212 PARK AVE
C/O MEDPRO GROUP COMPANY             MANCHESTER, NH 03108-9806                SANFORD, NC 27330-4029
5814 REED ROAD
FT. WAYNE, IN 46835
                       Case 20-10766-BLS
NATIONAL FIRE SAFETY COUNCIL                Doc
                                     NATIONAL  FIRE6SUPPRESSION
                                                      Filed 04/07/20      Page 1277  of GENERAL
                                                                               NATIONAL 1969 INS CO
P O BOX 378                          P.O. BOX 412007                           P.O. BOX 3199
MICHIGAN CENTER, MI 49254            BOSTON, MA 02241-2007                     WINSTON SALEM, NC 27102




NATIONAL GOVERNMENT SERVICE           NATIONAL GOVERNMENT SERVICES INC         NATIONAL GOVERNMENT SERVICES INC
JURISDICTION 6 (IL,MN,WI)             ATT J6 PART A MAC                        P.O. BOX 809194
P.O. BOX 809194                       P.O. BOX 809199                          CHICAGO, IL 60680-9194
CHICAGO, IL 60680                     CHICAGO, IL 60680-9194




NATIONAL GOVERNMENT SERVICES INC      NATIONAL GOVERNMENT SERVICES             NATIONAL GOVERNMENT SERVICES
P.O. BOX 809199                       J6 PART A MAC                            J6 PART B MAC
CHICAGO, IL 60680-9194                P.O. BOX 809199                          P.O. BOX 809194
                                      CHICAGO, IL 60680-9194                   CHICAGO, IL 60680-9194




NATIONAL GOVERNMENT SERVICES          NATIONAL GOVERNMENT SERVICES             NATIONAL GOVERNMENT SERVICES
JURISDICTION 6 (IL,MN,WI)             P.O. BOX 6475                            P.O. BOX 809194
P.O. BOX 809194                       INDIANAPOLIS, IN 46206-6475              CHICAGO, IL 60680
CHICAGO, IL 60680-9194




NATIONAL GYM SUPPLY                   NATIONAL GYPSUM COMPANY                  NATIONAL HEALTH INVESTORS INC
P.O. BOX 748735                       2001 REXFORD ROAD                        100 VINE ST
LOS ANGELES, CA 90074-8735            ATT:REFUNDS                              MURFREESBORO, TN 37130
                                      CHAROLETT, NC 28211




NATIONAL HEALTH INVESTORS INC.        NATIONAL HEALTH INVESTORS INC.           NATIONAL HEALTH INVESTORS INC.
ATTN: SHERRY FRASE                    D. ERIC MENDELSOHN                       D. ERIC MENDELSOHN, PRESIDENT/CEO
P.O. BOX 306041                       PRESIDENT/CEO                            222 ROBERT ROSE DR
NASHVILLE, TN 37230-6041              222 ROBERT ROSE DR                       MUFREESBORO, TN 37129
                                      MUFREESBORO, TN 37129



NATIONAL HEALTHCARE OF MT. VERNON,    NATIONAL IMAGING OF CARTERVILLE, LLC     NATIONAL IMAGING OF MOUNT VERNON,
INC.                                  1209 ORANGE STREET                       LLC
1209 ORANGE STREET                    WILMINGTON, DE 19801                     1209 ORANGE STREET
WILMINGTON, DE 19801                                                           WILMINGTON, DE 19801




NATIONAL INSTITUTE FOR HEALTHCARE     NATIONAL INSTITUTE OF FIRST ASSISTING    NATIONAL LABOR RELATIONS BOARD -
EDUCATION                             12354 E. CALEY AVE UNIT 108              REGION 13
1498 E MAIN ST 103-202                CENTENNIAL, CO 80111                     ATTN PAUL HITTERMAN
COTTAGE GROVE, OR 97424                                                        DIRKSEN FEDERAL BUILDING
                                                                               219 SOUTH HEARBORN STREET, SUITE 808
                                                                               CHICAGO, IL 60604-5208

NATIONAL LABOR RELATIONS BOARD -      NATIONAL LABOR RELATIONS BOARD -         NATIONAL LABOR RELATIONS BOARD -
REGION 31                             REGION 31                                REGION 31
ATTN AMANDA WREN LAUFER               ATTN JUAN CARLOS GONZALEZ                ATTN STEVEN DOUGLAS WYLLIE
11150 WEST OLYMPIC BOULEVARD, SUITE   11150 WEST OLYMPIC BOULEVARD, SUITE      11150 WEST OLYMPIC BOULEVARD, SUITE
600                                   700                                      600
LOS ANGELES, CA 90064                 LOS ANGELES, CA 90064                    LOS ANGELES, CA 90064

NATIONAL LABOR RELATIONS BOARD -      NATIONAL LABOR RELATIONS BOARD -         NATIONAL LABOR RELATIONS BOARD
REGION 8                              REGION 8                                 1015 HALF STREET SE
ATTN AARON B SUKERT                   ATTN STEPHEN M PINCUS                    WASHINGTON, DC 20570
1240 EAST 9TH STREET, ROOM 1695       1240 EAST 9TH STREET, ROOM 1695
CLEVELAND, OH 44199-2086              CLEVELAND, OH 44199-2086
                      Case
NATIONAL LABOR RELATIONS    20-10766-BLS
                         BOARD              Doc
                                     NATIONAL     6 RELATIONS
                                               LABOR  Filed 04/07/20
                                                                BOARD   Page 1278  of LABOR
                                                                             NATIONAL 1969 RELATIONS BOARD
ATTN BARBARA ANN SHEEHY              ATTN BARBARA ANN SHEEHY                  ATTN BRENDAN WHITE
1015 HALF STREET SE                  1015 HALF STREET SE, SUITE 8100          155 GRAND AVENUE
WASHINGTON, DC 20570                 WASHINGTON, DC 20570                     OAKLAND, CA 94612




NATIONAL LABOR RELATIONS BOARD        NATIONAL LABOR RELATIONS BOARD          NATIONAL LABOR RELATIONS BOARD
ATTN CAROL IGOE                       ATTN DAVID S HABENSTREIT                ATTN ELIZABETH HEANEY
155 GRAND AVENUE                      1015 HALF STREET SE, SUITE 8100         1015 HALF STREET SE, SUITE 8100
OAKLAND, CA 94612                     WASHINGTON, DC 20570                    WASHINGTON, DC 20570




NATIONAL LABOR RELATIONS BOARD        NATIONAL LABOR RELATIONS BOARD          NATIONAL LABOR RELATIONS BOARD
ATTN JILL A GRIFFIN                   ATTN JOHN H FERGUSON                    ATTN LINDA DREEBEN, DEPUTY ASSOCIATE
1015 HALF STREET SE                   1015 HALF STREET SE                     GENERAL COUNSEL
WASHINGTON, DC 20570                  WASHINGTON, DC 20570                    1015 HALF STREET SE
                                                                              WASHINGTON, DC 20570



NATIONAL LABOR RELATIONS BOARD        NATIONAL LABOR RELATIONS BOARD          NATIONAL LABOR RELATIONS BOARD
REGIONAL DIRECTOR OF REGION 13        REGIONAL DIRECTOR OF REGION 19          REGIONAL DIRECTOR OF REGION 31
ATTN PETER SUNG OHR, REGIONAL         ATTN RONALD K HOOKS, REGIONAL           ATTN MORI RUBIN, REGIONAL MANAGER
DIRECTOR                              DIRECTOR                                11150 WEST OLYMPIC BOULEVARD, SUITE
DIRKSEN FEDERAL BUILDING              915 2ND AVENUE, ROOM 2948               700
CHICAGO, IL 60604-5208                SEATTLE, WA 98174-1078                  LOS ANGELES, CA 90064

NATIONAL LABOR RELATIONS BOARD        NATIONAL LABOR RELATIONS BOARD          NATIONAL LOCK & SECURITY
REGIONAL DIRECTOR OF REGION 32        REGIONAL DIRECTOR OF REGION 8           1005 CHESTNUT STREET
ATTN VALERIE HARDY-MAHONEY,           ATTN MORA MCGINLEY, ACTING REGIONAL     KENOVA, WV 25530
REGIONAL DIRECTOR                     DIRECTOR
OAKLAND FEDERAL BUILDING              1240 EAST 9TH STREET, ROOM 1695
OAKLAND, CA 94612-5211                CLEVELAND, OH 44199-2086

NATIONAL MEDICAL BILLING SERV         NATIONAL MEDICAL SERVICES               NATIONAL MEDICARE SERVICES
7 ARNAGE RD                           17177 PRESTON RD 100                    J6 PART B MAC-VOLUNTARY REFUND
CHESTERFIELD, MO 63005                DALLAS, TX 75248                        P.O. BOX 809194
                                                                              CHICAGO, IL 60680-9194




NATIONAL NETWORK COMMUNICATIONS,      NATIONAL NOTARY ASSOCIATIONQ            NATIONAL OCCUPATIONAL HEALTH
INC                                   P.O. BOX 541032                         SERVICES LLC
P.O. BOX 59                           PROCESSING CENTER                       6732 E 41ST ST
PRINCETON, NC 27569                   LOS ANGELES, CA 90054-9868              TULSA, OK 74145




NATIONAL RADIOLOGY GROUP              NATIONAL RECALL ALERT CENTER            NATIONAL RECALL ALERT CENTER
2305 A SOUTH BLACKMAN RD STE 300      300 N GREENTREE RD STE 208              ACCOUNTING AND CIRCULATION
SPRINGFIELD, MO 65809                 MARLTON, NJ 08053                       123 E MAIN ST, 609
                                                                              MARLTON, NJ 08053




NATIONAL RECALL ALERT CNTR            NATIONAL RECALL ALLERT CENTER           NATIONAL SINUS INSTITUTE
ACCOUNTING AND CIRCULATION            POP BOX 609                             1620 N MAIN STREET
123 E MAIN ST, 609                    123 E MAIN ST, 609                      SPANISH FORK, UT 84660
MARLTON, NJ 08053                     MARLTON, NJ 08053




NATIONAL SINUS INSTITUTE              NATIONAL TELECOM DEPLOYMENTS            NATIONAL UNION FIRE INS CO OF
212 SOUTH 1100 EAST                   DBA DYNAMIC MEDIA                       PITTSBURGH
AMERICAN FORK, UT 84003               38283 MOUND ROAD                        175 WATER ST
                                      STERLING HEIGHTS, MI 48310              18TH FL
                                                                              NEW YORK, NY 10038
                        Case
NATIONAL UNION FIRE INS CO OF 20-10766-BLS    Doc
                                       NATIONAL     6 FIRE
                                                UNION   Filed
                                                           INS 04/07/20
                                                               CO OF      Page 1279  of UNION
                                                                               NATIONAL 1969 OF HOSPITAL AND
PITTSBURGH                             PITTSBURGH                               HEALTHCARE EMPLOYEES
P.O. BOX 25565                         PO BOX 25565                             1319 LOCUST ST
SHAWNEE MISSION, KS 66225              SHAWNEE MISSION, KS 66225                PHILADELPHIA, PA 19107




NATIONAL UNION OF HOSPITAL AND          NATIONAL UNION OF HOSPITAL AND          NATIONAL UNION OF HOSPITAL AND
HEALTHCARE EMPLOYEES                    HEALTHCARE EMPLOYEES                    HEALTHCARE EMPLOYEES
1319 LOCUST STREET                      HOUSE STAFF ASSOCIATION OF COOK         NEW MEXICO HOSPITAL WORKERS UNION
PHILADELPHIA, PA 19107                  COUNTY                                  130 ALVARADO STE 100
                                        1969 OGDEN AVE                          ALBUQUERQUE, NM 87108
                                        CHICAGO, IL 60612

NATIONAL UNION OF HOSPITAL AND          NATIONAL UNION OF HOSPITAL AND          NATIONWIDE AFFINITY INS CO OF AMERICA
HEALTHCARE EMPLOYEES                    HEALTHCARE EMPLOYEES                    1100 LOCUST ST
UNAC/UHCP                               UNAC/UHCP                               DEPT 2019
5030 CAMINO DE LA SIESTA                955 OVERLAND CT                         DES MOINES, IA 50391
STE 306                                 STE 150
SAN DIEGO, CA 92108                     SAN DIMAS, CA 91773

NATIONWIDE AGRIBUSINESS                 NATIONWIDE INSURANCE COMPANY            NATIONWIDE INSURANCE
1100 LOCUST                             P.O. BOX 182712                         1100 LOCUST ST
DEPT 3010                               COLUMBUS, OH 43218                      DEPT 2019
DES MOINES, IA 50391                                                            DES MOINES, IA 50391




NATIONWIDE INSURANCE                    NATIONWIDE INSURANCE                    NATIONWIDE INSURANCE
P.O. BOX 10479                          P.O. BOX 182166                         P.O. BOX 182166
DES MOINES, IA 50306-0479               COLUMBUS, OH 43218                      COLUMBUS, OH 43218-2166




NATIONWIDE TESTING ASSO.,INC            NATIONWIDE                              NATIVE ENERGY SOLUTIONS.LLC
P.O.508                                 1100 LOCUST                             3225 CANDELARIA RD NE, SUITE A
772 N.BROAD ST                          DES MOINES, IA 50391                    ALBUQUERQUE, NM 87107
MOORESVILLE, NC 28115




NATIVIDAD DAVID                         NATL AUTO SPRINKLER                     NATL GOVERNMENT SERVICES INC
805 E ELLIS                             8000 CORPORATE DRIVE                    JURISDICTION 6
MENARD, TX 76859                        LANDOVER, MD 20785                      P.O. BOX 809194
                                                                                CHICAGO, IL 60680-9194




NATL PEACE OFFICERS PRESS               NATL RECALL ALERT CENTER                NATURAL BRIDGE UNDERWRITING
FIREMANS PRESS                          P O BOX 609                             AGENCY LIMITED
120 COLLINSVILLE RD                     MARLTON, NJ 08053                       P.O. BOX 1519
TROY, IL 62294-0000                                                             PEARLAND, TX 77588




NATUS DEPT 33768                        NATUS MEDICAL INC                       NATUS MEDICAL INC
P.O. BOX 3604                           P.O. BOX 3604                           P.O. BOX 3604
CAROL STREAM, IL 60132-3604             CAROL STREAM, IL 60132-3604             CAROL STREAMO, IL 60132-3604




NATUS NEUROLOGY INC                     NATUS NEUROLOGY                         NATUS
P.O. BOX 3604                           88253 EXPEDITE WAY                      PO BOX 3604
CAROL STREAM, IL 60132-3604             CAREFUSION/VIASYS HEALTHCARE            CAROL STREAM, IL 60132
                                        CHICAGO, IL 60635-0001
NATUS, INC.             Case 20-10766-BLS   Doc
                                      NAUGHER,   6 Filed 04/07/20
                                               STEPHANIE                Page 1280 of 1969
                                                                             NAUGHTON, MARY J
P.O. BOX 3604                         ADDRESS ON FILE                         1661 SE 31ST ST
CAROL STREAM, IL 60132-3604                                                   OCALA, FL 34471




NAUMANN, JOHN                       NAVAL, JOYCE                              NAVALES, JOLANY J.
703 WATERLOO DRIVE                  10900 S. KILPATRICK UNIT 2D               ADDRESS ON FILE
WATERLOO, IL 62298                  OAK LAWN, IL 60453




NAVAR, NATALY                       NAVARRETE, ARMIDA                         NAVARRETE, DIANA
17945 ESCANABA AVE                  602 N ORANGE ST P.O BOX 1335              3645 W 120TH PL
LANSING, IL 60438                   ALPINE, TX 79830                          ALSIP, IL 60803




NAVARRETE, IVETTE                   NAVARRETE, LILLIAN S.                     NAVARRETTE, EDWARDO M.
851 CHOLLA DR                       9625 S KOLMAR AVENUE                      ADDRESS ON FILE
BARSTOW, CA 92311                   OAK LAWN, IL 60453




NAVARRO, BRENDA B.                  NAVARRO, MARIA ANGELIE                    NAVARRO, MICHAEL
P.O. BX 575                         ADDRESS ON FILE                           3404 FRANKLIN AVE
COLLINSVILLE, AL 35961                                                        GRANITE CITY, IL 62040-3946




NAVARRO, PROSPERO                   NAVARRO, STEVEN                           NAVED, MUHAMMAD
4357 W 78TH ST                      4215 CARDINAL LN                          ADDRESS ON FILE
CHICAGO, IL 60652                   SILVER CITY, NM 88061




NAVEJAS, OSCAR                      NAVIANT                                   NAVID, SAGHAR
1404 SYCAMORE ST                    201 PRAIRIE HEIGHTS DRIVE                 1415 ARBLAY PLACE
BIG SPRING, TX 79720                VERONA, WI 53593                          LOGANVILLE, GA 30052




NAVIENT CS                          NAVIENT - DEPARTMENT OF EDUCATION         NAVIENT / DEPARTMENT OF EDUCATION
P.O. BOX 9533                       LOAN SERVICING                            P.O. BOX 740351
WILKES-BARRE, PA 18773-9533         P.O. BOX 740351                           ATLANTA, GA 30374-0000
                                    ATLANTA, GA 30374-0351




NAVIENT DOE                         NAVIENT SOLUTIONS, INC                    NAVIENT
P.O. BOX 4450                       P.O. BOX 740351                           DEPT OF ED LOAN SERVICING
PORTLAND, OR 98208-4450             ATLANTA, GA 30374-0351                    P.O. BOX 4450
                                                                              PORTLAND, OR 97208-4450




NAVIENT                             NAVIENT                                   NAVIENT
DEPT OF EDUCATION LOAN SERV         DEPT OF EDUCATION LOAN SERV               DEPT OF EDUCATION LOAN SERVICE
P.O. BOX 4450                       P.O. BOX 740351                           P.O. BOX 740351
PORTLAND, OR 97208-4450             ATLANTA, GA 30374-0351                    ATLANTA, GA 30374
NAVIENT                 Case 20-10766-BLS
                                      NAVIENTDoc 6    Filed 04/07/20     Page 1281  of 1969
                                                                              NAVIENT
DEPT OF EDUCATION LOAN SERVICING      P.O. BOX 740351                         P.O. BOX 9000
P.O. BOX 4450                         ATLANTA, GA 30374-0351                  WILKES-BARRE, PA 18773-9000
PORTLAND, OR 97208-4450




NAVIENT                               NAVIENT                                 NAVIENT
P.O. BOX 9500                         P.O. BOX 9500                           P.O. BOX 9532
WILKES BARRE, PA 18773-9500           WILKES-BARRE, PA 18773-9500             WILKES BARRE,, PA 18773-9533




NAVIENT                               NAVIENT                                 NAVIENT
P.O. BOX 9533                         P.O. BOX 9533                           P.O. BOX 9533
WILES-BARRE, PA 18773-9533            WILKES BARRE, PA 18773-9533             WILKESBARRE, PA 18773




NAVIENT                               NAVIENT                                 NAVIENT-DEPATMENT OF EDUCATION LOAN
P.O. BOX 9533                         P.O. BOX 9533                           SERVICING
WILKES-BARRE, PA 18773                WILKES-BARRE, PA 18773-9533             P.O. BOX 4450
                                                                              PORTLAND, OR 97208-4450




NAVIENT-U.S. DEPARTMENT OF            NAVIGATE WELLNESS                       NAWAZ, HAMDI
EDUCATION LOAN SERVICING              DBA LIVE HEALTHY AMERICA                2647 SW BEAR PAR TRI
P.O. BOX 740351                       1300 WALNUT - SUITE 200                 PALM CITY, FL 34990
ATLANTA, GA 30374-0351                DES MOINES, IA 50309




NAWROCKI JOHN J                       NAYADLEY, ELIZABETH                     NAYLOR JULIE C
485 NEWPORT DRIVE                     ADDRESS ON FILE                         4675 GOODPASTURE LP
ELLIJAY, GA 30540                                                             APT 51
                                                                              EUGENE, OR 97401




NAYLOR, JOSEPH                        NAYYAR, TALAT                           NAZEER, UMAIR K. MD
1721 LORETTA AVE                      2610 HAMPSON CT                         1939 W ERIE ST
EAST ST LOUIS, IL 62206               ZION, IL 60099                          CHICAGO, IL 60622




NAZZARO, LORRAINE                     NC - DHSR                               NC CHILD SUPPORT
481 CAMBRIDGE WAY                     ACUTE/HOME CARE LICENSURE & CERT        CENTRALIZED COLLECTIONS
AUGUSTA, GA 30907                     2712 MAIL SERVICE CENTER                P.O. BOX 900012
                                      RALEIGH, NC 27699-2712                  RALEIGH, NC 27675-9012




NC DEPARTMENT OF LABOR                NC DEPARTMENT OF REVENUE                NC DEPT OF REVENUE (LIC)
BUDGET AND MANAGEMENT DIVISION        ATTN: PAYMENT PROCESSING UNIT           WAGE GARNISHMENT UNIT
1101 MAIL SERVICE CENTER              P.O. BOX 27431                          P.O. BOX 25000
RALEIGH, NC 27699-1101                RALEIGH, NC 27611-7431                  RALEIGH, NC 27640-0150




NC DEPT OF REVENUE                    NC DEPT OF REVENUE                      NC DHHS
P.O. BOX 25000                        SALES AND USE TAX                       DRUG CONTROL UNIT
RALEIGH, NC 27640-0150                P.O. BOX 25000                          3008 MAIL CENTER SERVICE CENTER
                                      RALEIGH, NC 27640-0700                  RALEIGH, NC 27699-3008
NC FARM BUREAU MUTUAL Case
                       INS.CO 20-10766-BLS    Doc 6 Filed 04/07/20
                                       NC MEDICAID                      Page 1282  of 1969
                                                                             NC RADIATION PROTECTION SECT
P.O.BOX 27427                          NC TRACKS OPERATIONS                   1645 MAIL SERVICE CENTER
RALEIGH, NC 27611-7427                 P.O. BOX 602885                        RALEIGH, NC 27699-1645
                                       CHARLOTTE, NC 28260-2885




NC TELECENTER                        NCAMSS                                   NCCDP
415 EAST BLVD                        ATTN: JUNE THOMAS, MED STAFF OFF         55 MAIN STREET
WILLIAMSTON, NC 27892                P.O. BOX 278                             SUITE 102
                                     KENANSVILLE, NC 28349                    SPARTA, NJ 07871




NCCPA                                NCCPA                                    NCDHHS-DHB
12000 FINDLEY ROAD                   SUITE 100                                P.O. BOX 300009
SUITE 100                            12000 FINDLEY ROAD                       RALEIGH, NC 27622
JOHNS CREEK, GA 30097                JOHNS CREEK, GA 30097




NCDHHS-FEE PROGRAM                   NCE                                      NCH CORP
1632 MAIL SERVICE CENTER             12120 12TH AVENUE SOUTH                  CHEMSEARCH FE
RALEIGH, NC 27699-1632               BURNSVILLE, MN 55337                     23261 NETWORK PL
                                                                              CHICAGO, IL 60673-1232




NCH CORP                             NCHA,INC                                 NCHAP
DBA PARTSMASTER                      ATTN: ANNE HARE                          ATTN:KATHY CREECH VIDANT DUPLIN
P.O. BOX 971342                      P.O. BOX 4449                            P.O. BOX 278
DALLAS, TX 75397-1342                CARY, NC 27519-4449                      KENANSVILLE, NC 28349




NCO FINANCIAL SYSTEMS                NCPDP                                    NCPHP
P.O. BOX 17095                       ATTN: LAUREN BRUST                       200 HORIZON DRIVE
WILMINGTON, DE 19850-7095            9240 EAST RAINTREE DRIVE                 SUITE 218
                                     SCOTTSDALE, AZ 85260                     RALEIGH, NC 27615




NCS PEARSON, INC                     NCS PEARSON, INC.                        NCS PEARSON, INC.
13036 COLLECTION CENTER DRIVE        13036 COLLECTION CENTER DR               13036 COLLECTION CENTER DRIVE
CHICAGO, IL 60693-0000               CHICAGO,, IL 60693                       CHICAGO,, IL 60693




ND DEPARTMENT OF TRUST LANDS         NDERITU, NANCY                           NEACE SOUTHWOOD, HEATHER L.
NORTH DAKOTA DEPARTMENT OF TRUST     5402 DURRELL ROAD                        ADDRESS ON FILE
LANDS                                COLUMBUS, OH 43229
UNCLAIMED PROPERTY DIVISION
1707 NORTH 9TH STREET
BISMARCK, ND 58506-5523

NEACE, ANGILA                        NEACE, CAITLYN                           NEACE, CARRIE A.
1163 HIGHWAY 476                     151 WESLEE WAY APT 6                     ADDRESS ON FILE
LOST CREEK, KY 41348                 HAZARD, KY 41701




NEACE, GLENN E                       NEACE, JUDY F                            NEACE, KENNETH J.
131 FALLOW CIRCLE                    86 CHILDERS LANE                         ADDRESS ON FILE
GEORGETOWN, KY 40324                 JACKSON, KY 41339
NEACE, LURANIE         Case 20-10766-BLS
                                     NEACE, Doc  6 D.Filed 04/07/20
                                            WHITNEY                      Page 1283 ofANNE
                                                                              NEAGLE, 1969L.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




NEAL & SONS FLOORING LLC               NEAL MONTGOMERY FOR EMAL               NEAL, ALEXANDRA H.
129 W MARKET ST                        MONTGOMERY                             17248 N IDLEWOOD LN
RED BUD, IL 62278                      125 TJ EVANS RD                        MOUNT VERNON, IL 62864
                                       WILDERSVILLE, TN 38388




NEAL, CARSON C.                        NEAL, ETTA M.                          NEAL, KACEE L.
50 CAMEO LN                            502 BEELAND ST                         ADDRESS ON FILE
MURPHY, NC 28906                       GREENVILLE, AL 36037




NEAL, KERRI M.                         NEAL, KYLE W.                          NEAL, KYLE W.
ADDRESS ON FILE                        16345 LOG CABIN RD                     ADDRESS ON FILE
                                       EWING, IL 62836




NEAL, KYLE                             NEALEY, INGRID                         NEAR LLC
ADDRESS ON FILE                        15161 DESERT ST                        4371 E LOHMAN AVENUE
                                       ADELANTO, CA 92301                     LAS CRUCES, NM 88011




NEARY, MEGHAN                          NEBRASKA PROVIDER ALLIANCE, LLC        NECA-IBEW LOCAL 150
6699 THICKET ST NW                     D/B/A RURALMED MANAGEMENT              6525 CENTURIAN DR
CANTON, OH 44708                       RESOURCES                              LANSING, MI 48917-9275
                                       1215 TIBBALS STREET
                                       HOLDREGE, NE 68949-1255



NEDAL ALQALQILI                        NEDROW, ROBERT J.                      NEE, MARGARET
ADDRESS ON FILE                        511 E MARY DR                          19 2ND RD
                                       TROY, IL 62294                         MARSHFIELD, MA 02050




NEEDHAM, DAWN                          NEEDHAM, JOY                           NEEDHAM, KIMBERLY M.
ADDRESS ON FILE                        1604 GLEN COVE CT                      ADDRESS ON FILE
                                       MONROE, GA 30655




NEEDHAM, TIFFANY                       NEEDLING, MAT                          NEEL, EMILY
ADDRESS ON FILE                        6395 ST RT 146W                        1109 W HILLSIDE AVE
                                       JONESBORO, IL 62952                    ROUND LAKE, IL 60073




NEELAM, RAKHSHANDA                     NEELEY, LAWANDA                        NEELY COBLE CO
1207 WHITEBRIDGE HILL RD               524 WOODMOOR DR                        P.O. BOX 2208
WINNETKA, IL 60093                     ROUND LAKE BEACH, IL 60073             DECATUR, AL 35609-2208
NEELY, FANNIE            Case 20-10766-BLS    Doc 6
                                       NEELY, LYNDA        Filed 04/07/20   Page 1284
                                                                                 NEELY, of 1969
                                                                                        MEGAN J.
10011 HWY 79 WEST                       409 E 8TH STREET                          4202 FOX CREEK RD
MORO, AR 72368                          JOHNSTON CITY, IL 62951                   MT VERNON, IL 62864




NEELY, MICHAEL D                        NEELY, STEFAN C.                          NEENAH FOUNDRY COMPANY
93179 ZUMWALT LN                        ADDRESS ON FILE                           P.O. BOX 729
JUNCTION CITY, OR 97448-0000                                                      NEENAH, WI 54957-0729




NEESMITH, PAM                           NEFF, DEANNA                              NEFF, ELLEN M.
47 MATRIX CIRCLE                        602 STANDISH ST NW                        4681 KIRBY ROAD
UNIT 5401                               MASSILLON, OH 44647                       IUKA, IL 62849
ELLIJAY, GA 30540-6099




NEFF, NICOLE                            NEFF, STEPHEN                             NEFF, SUE
4230 STONEBRIDGE DRIVE                  124 PINE HOLLOW LN                        P.O. BOX 653
HOLLY, MI 48442                         COLLINSVILLE, IL 62234                    BIG SPRING, TX 79721




NEGRON, MANUEL                          NEGWER DOOR SYSTEMS                       NEGWER MATERIALS, INC
3306 DUKE AVENUE                        P.O. BOX 870844                           49 AIRPORT ROAD
BIG SPRING, TX 79720                    KANSAS CITY, MO 64187-0844                ST. LOUIS, MO 63135




NEHRENZ, PHILLIP M.                     NEIBEL, DON                               NEIGHBORHOOD CO-OP GROCERY
ADDRESS ON FILE                         21 KINGSRIDGE DR                          1815 W MAIN ST
                                        MT VERNON, IL 62864                       CARBONDALE, IL 62901




NEIKES, CLAIRESSE                       NEIL SCHISLER                             NEILL, LORIN
1121 N. POPLAR                          219 W MAIN ST                             18 COUNTRY CLUB VIEW DR
CENTRALIA, IL 62801                     KNOXVILLE, IL 61448                       EDWARDSVILLE, IL 62025




NEILSON, MICHELLE                       NEISEL, KARLA                             NEISS, JOHN
176 YELLOW CREEK ROAD                   6184 FRENCH HILL ROAD                     6308 MASSILLON RD SW
APT J                                   DOVER, OH 44622                           NAVARRE, OH 44662
EVANSTON, WY 82930




NEIWERT, TIFFANY MARIE                  NEKETTA A POLLARD                         NEKOOSA COATED PRODUCTS, LLC
32895 E MCKENZIE ST                     1421 DUCK RUN ROAD                        3368 MOMENTUM PLACE
COBURG, OR 97408-9435                   LUCASVILLE, OH 45648                      CHICAGO, IL 60689-5333




NELDA MICHAEL                           NELL L JERNIGAN                           NELL, LISA
59 STONE LEDGE DR                       413 N COLLEGE ST                          239 SIERRA VISTA CT
MAUMELLE, AR 72113                      GREENVILLE, AL 36037                      APTOS, CA 95003
NELL, SERGIO            Case 20-10766-BLS    Doc 6JAMES
                                      NELLIPOWITZ,   Filed
                                                        A. 04/07/20     Page 1285
                                                                             NELNETofD1969
239 SIERRA VISTA CT                    ADDRESS ON FILE                       P.O. BOX 2970
APTOS, CA 95003                                                              OMAHA, NE 68103




NELNET J                               NELNET (H)                            NELNET
P.O. BOX 2877                          P.O. BOX 2877                         DEPT OF EDUCATION
OMAHA, NE 68103                        OMAHA, NE 68103-2877                  P.O. BOX 2837
                                                                             PORTLAND, OR 97208-2837




NELNET                                 NELNET, INC                           NELNET, INC
P.O. BOX 2970                          P.O. BOX 2877                         P.O. BOX 2970
OMAHA, NE 68103-2970                   OMAHA, NE 68103-2877                  OMAHA, NE 68103-2970




NELNET, INC.                           NELNET-DEPARTMENT OF EDUCATION        NELSON ARCHITECTS INC
P.O. BOX 2970                          P.O. BOX 740283                       P.O. BOX 1244
OMAHA, NE 68103-2970                   ATLANTA, GA 30374-0283                RIVERTON, WY 82501




NELSON DVM, CHARLES                    NELSON GENE R                         NELSON KELLEY, ANGELA M.
1007 CLIFF DR                          36610 INDIAN WELLS RD                 ADDRESS ON FILE
SANTA PAULA, CA 93060                  HINKLEY, CA 92347




NELSON MARITZA G                       NELSON MULLINS RILEY & SCARBOROUGH    NELSON SARAI
1217 E KNOX ST                         LLP                                   5760 ST HWY 37
GALESBURG, IL 61401                    PO DRAWER 11009                       VILLA RIDGE, IL 62996
                                       COLUMBIA, SC 29211




NELSON TERESA M                        NELSON, ANNE M.                       NELSON, ARLENE
ADDRESS ON FILE                        P.O. BOX 265                          1215 E 900 N
                                       FREEDOM, CA 95019                     TOOELE, UT 84074




NELSON, BETTY                          NELSON, CELESTE                       NELSON, COLETTE R.
4237 ORCHARD                           3120 BRADLEY CIRCLE                   ADDRESS ON FILE
GALESBURG, IL 61401                    MARINA, CA 93933




NELSON, COURTNEY                       NELSON, DENIELLE                      NELSON, DR. BRIAN
ADDRESS ON FILE                        11034 LINCOLN STREET SE               618 COLGATE AVE
                                       EAST CANTON, OH 44730                 BIG SPRING, TX 79720




NELSON, ELLINOR                        NELSON, EMILY J.                      NELSON, EVELYN M.
303 COUNTRY CLUB DR                    1091 KY ROUTE 194                     ADDRESS ON FILE
GREENVILLE, AL 36037                   PRESTONSBURG, KY 41653
NELSON, HARMONY R.       Case 20-10766-BLS
                                       NELSON,Doc  6 Filed 04/07/20
                                               JASMINE                Page 1286 ofJEDD
                                                                           NELSON, 1969L.
4885 ASTER ST 181                       1608 ARMAND DR                     ADDRESS ON FILE
SPRINGFIELD, OR 97478                   CAHOKIA, IL 62206




NELSON, JO D.                           NELSON, JOANN O.                   NELSON, JUANITA
ADDRESS ON FILE                         668 PROSPERITY LANE                5782 TWELVEPOLE CREEK ROAD
                                        MESQUITE, NV 89027                 DUNLOW, WV 25511




NELSON, KAYDEE                          NELSON, LAVERNE                    NELSON, LISA
ADDRESS ON FILE                         301 KAYE DRIVE                     10 CHAD RD.
                                        P.O. BOX 223                       MAKANDA, IL 62958
                                        NEW WINDSOR, IL 61465




NELSON, MARANDA A.                      NELSON, MARLA                      NELSON, MEREDITH
ADDRESS ON FILE                         ADDRESS ON FILE                    ADDRESS ON FILE




NELSON, MYKENZIE K.                     NELSON, PAMELA J.                  NELSON, PATRICK RYAN
ADDRESS ON FILE                         ADDRESS ON FILE                    2075 W 25TH AVE
                                                                           EUGENE, OR 97405




NELSON, RAE A.                          NELSON, ROBIN L.                   NELSON, SAMANTHA D.
ADDRESS ON FILE                         1205 LOUISA MARIE AVE NW           ADDRESS ON FILE
                                        MASSILLON, OH 44646




NELSON, SARAH L.                        NELSON, SHERRI A.                  NELSON, SUSAN N.
243 HIGHLAND AVE                        818 CEDARWOOD RD                   204 VALENTINE FARM RD
GALESBURG, IL 61401                     TOOELE, UT 84074                   COLERAIN, NC 27924




NELSON, TERESA A.                       NELSON, THOMAS E. ESQ.             NELSON, TROMPOWER
1184 CR 6                               A PROFESSIONAL CORPORATION         1515 BRUCE ST
COLLINSVILLE, AL 35961                  10 EXCHANGE PLACE, STE 507         CANAL FULTON, OH 44614-9311
                                        SALT LAKE CITY, UT 84111




NELSON, WILLIAM F                       NELSON, ZACHARY G.                 NELSON,CURTIS
ADDRESS ON FILE                         5454 HEATHER WAY                   P.O. BOX 176
                                        STANSBURY PARK, UT 84074           ONEIDA, IL 61467




NEMETH PATTI A                          NEMETH, GERALD J.                  NEMETI, HARRIET
873 HOGAN DR                            1846 E CARRIAGE LANE               1455 LAURENBROOK LN NE
MARION, IL 62959                        CRETE, IL 60417                    MASSILLON, OH 44646
NENNINGER JR, JOHN J.  Case 20-10766-BLS
                                     NENNO, Doc    6 Filed 04/07/20
                                             VICTORIA                    Page 1287 of 1969
                                                                              NEOCHILD CRITICARE
3945 ASHFORD LN                      P.O. BOX 2031                             P.O. BOX 21272
PONTOON BEACH, IL 62040              OVERTON, NV 89040-2031                    OKLAHOMA, OK 73156




NEOGENOMICS LABORATIORIES, INC.      NEOGENOMICS LABORATIORIES, INC.           NEOGI, DEVAMITA
P.O. BOX 864403                      P.O. BOX 864403                           587 LAKE HURST RD
ORLADNO, FL 32886-4403               ORLANDO, FL 32886-4403                    WAUKEGAN, IL 60085




NEON CITY                            NEOPOST USA INC                           NEOSHO MEMORIAL REGIONAL MEDICAL
P.O. BOX 38039                       DEPT 3689                                 CENTER
ST LOUIS, MO 63138                   P.O. BOX 123689                           629 SOUTH PLUMMER
                                     DALLAS, TX 75312-3689                     P.O. BOX 426
                                                                               CHANUTE, KS 66720-0426



NEOTECH PRODUCTS INC                 NEOTECH PRODUCTS INC                      NEOTECH PRODUCTS INC.
27822 FREMONT COURT                  28430 WITHERSPOON PKWY                    27822 FREMONT COURT
VALENCIA, CA 91355-4167              VALENCIA, CA 91355-4167                   VALENCIA, CA 91355




NEOTECH PRODUCTS, LLC                NEOTRACT INC                              NEOTRACT INC
28430 WITHERSPOON PARKWAY            P.O. BOX 207380                           P.O. BOX 671171
VALENCIA, CA 91355                   DALLAS, TX 75320-7380                     DALLAS, TX 75267-1171




NEPHROLOGY ASSOC OF NORTHERN ILL,    NEPHRON 503B OUTSOURCING FACILITY         NEPHRON 503B OUTSOURCING FACILITY
LTD                                  4500 12TH STREER EXTENSION                4500 12TH STREET EXTENSION
120 WEST 22ND ST                     WEST COLUMBIA, SC 29172                   COLUMBIA, SC 29172
OAK BROOK, IL 60523




NEPHRON 503B OUTSOURCING FACILITY    NEPHRON 503B OUTSOURCING FACILITY         NEPHRON 503B OUTSOURCING FACILITY
4500 12TH STREET EXTENSION           4500 12TH STREET EXTENTION                NEPHRON STERILE COMPOUNDING CNTR
WEST COLUMBIA, SC 29172              WEST COLUMBIA, SC 29172                   4500 12TH STREET EXTENTION
                                                                               WEST COLUMBIA, SC 29172




NEPHRON 503B OUTSOURCING FACILITY    NEPHRON 503B                              NEPHRON STERILE COMPOUNDING CENTER
P.O. BOX 746455                      OUTSOURCING FACILITY                      LLC
ATLANTA, GA 30374-6455               4500 12TH STREET EXTENTION                4500 12TH STREET EXTENSION
                                     WEST COLUMBIA, SC 29172                   WEST COLUMBIA, SC 29172




NEPHRON STERILE COMPOUNDING CENTER   NEPHRON STERILE COMPOUNDING CENTER        NEPHROPATHOLOGY ASSOCIATES
LLC                                  LLC                                       P.O. BOX 34113
NEPHRON 503B OUTSOURCING FACILITY    NEPHRON 503B OUTSOURCING                  LITTLE ROCK, AR 72203
P.O. BOX 746455                      P.O. BOX 746455
ATLANTA, GA 30374-6455               ATLANTA, GA 30374-6455



NEPHROPATHOLOGY ASSOCIATES           NERI, MARIA                               NERO, SUSAN M.
PO BOX 34113                         1877 OLD LOGANVILLE RD                    1002 27TH ST NE
LITTLE ROCK, AR 72203                LOGANVILLE, GA 30052                      CANTON, OH 44714
NERWAL, NAVTEJ S.        Case 20-10766-BLS   Doc 6
                                       NES HEALTH       Filed 04/07/20    Page 1288  of 1969INC
                                                                               NES MICHIGAN,
145 N SPRING DR                        WHITAKER NATIONAL CORPORATION            P.O. BOX 936451
JACKSON, TN 38305                      P.O. BOX 936451                          ATLANTA, GA 31193-6451
                                       ATLANTA, GA 31193




NES MICHIGAN, INC                      NESBIT BARBARA J                         NESBIT, GARY
PO BOX 936451                          8805 STOWERS                             126 JEFFERSON DRIVE
ATLANTA, GA 31193-6451                 COLLINSVILLE, IL 62234                   WATERLOO, IL 62298




NESBIT, KEVIN A.                       NESBIT, PATRICK J.                       NESLER, KELLY
710 WEST HOLMES                        ADDRESS ON FILE                          1501 DOGWOOD RD.
CHESTER, IL 62233                                                               CARBONDALE, IL 62902




NESTLE CARNATION                       NESTLE USA                               NESTLE USA, INC
P.O. BOX 277817                        P.O. BOX 277817                          P.O. BOX 841933
ATLANTA, GA 30384-7817                 ATLANTA, GA 30384-7817                   DALLAS, TX 75284-1933




NESTOR, ROSEMARY TOBEN                 NET CARE AMBULANCE SERVICE               NET HEALTH SYSTEMS
1375 OLIVE ST APT 605                  P.O. BOX 1736                            P.O. BOX 72046
EUGENE, OR 97401                       RT 40, BLACKLOG ROAD                     CLEVELAND, OH 44192
                                       INEZ, KY 41224




NET HEALTH SYSTEMS, INC                NET MEDICAL XPRESS SOLUTIONS INC         NETCOM SYSTEMS GROUP LLC
40 24TH STREET - 5TH FLOOR             5021 INDIAN SCHOOL RD NE                 PO BOX 3623
PITTSBURGH, PA 15222                   SUITE 100                                SEATTLE, WA 98124-3623
                                       ALBUQUERQUE, NM 87110-0000




NETCOM SYSTEMS INC                     NETHEALTH SYSTEMS                        NETMEDICAL XPRESS SERVICES INC
P.O. BOX 4846                          P.O. BOX 72046                           5021 INDIAN SCHOOL RD STE 100
WINTER PARK, FL 32793-4846             CLEVELAND, OH 44192                      ALBUQUERQUE, NM 87110-0000




NETTLETON, REBECCA                     NETWORK HEALTH INS CORP                  NETWORK SERVICES (WAXIE)
4055 SEQUOIA DR                        P.O. BOX 3687                            P.O. BOX 748802
EDWARDSVILLE, IL 62025                 SCRANTON, PA 18505                       LOS ANGELES, CA 90074-8802




NETWORK SERVICES COMPANY               NETWORK SERVICES COMPANY                 NEUHAUSER, NADINE
29060 NETWORK PLACE                    P.O. BOX 748802                          4645 DEMPSTER STREET
CHICAGO, IL 60673-1290                 LOS ANGELES, CA 90074-8802               SKOKIE, IL 60076




NEUMANN, SAMANTHA J.                   NEUMANN, TAMARA                          NEUMAYER
135 N PARK ST                          ADDRESS ON FILE                          P.O. BOX 419161
MANHATTAN, IL 60442                                                             ST. LOUIS, MO 63141
NEUMEYER, NATHAN J.     Case 20-10766-BLS   DocCENTER
                                      NEUROCARE 6 Filed
                                                      INC 04/07/20           Page 1289 of 1969ASSOC
                                                                                  NEUROLOGICAL
ADDRESS ON FILE                        4105 HOLIDAY ST NW                         212 SOUTH 1100 EAST
                                       CANTON, OH 44718                           AMERICAN FORK, UT 84003




NEUROLOGICIOM, LLC                     NEUROVISION MEDICAL PRODUCTS               NEUWAVE CAPITAL
10940 S PARKER RD 503                  353 SANJON RD                              6500 CITY WEST PARKWAY, SUITE 401
PARKER, CO 80134                       VENTURA, CA 93001                          EDEN PRAIRIE, MN 55344




NEUWAVE MEDICAL                        NEVADA BOARD OF PHARMACY                   NEVADA CONSUMER AFFAIRS
3529 ANDERSON STREET                   431 WEST PLUMB LANE                        DEPARTMENT OF BUSINESS & INDUSTRY
MADISON, WI 53704                      RENO, NV 89509                             1830 E COLLEGE PKWY STE 100
                                                                                  CARSON CITY, NV 89706




NEVADA CONSUMER AFFAIRS                NEVADA DEPARTMENT OF HEALTH AND            NEVADA DEPARTMENT OF TAXATION
DEPARTMENT OF BUSINESS & INDUSTRY      HUMAN SERVICES                             1550 COLLEGE PKWY
3300 W SAHARA AVE STE 425              NEVADA MEDICAID PROGRAM                    STE 115
LAS VEGAS, NV 89102                    1100 EAST WILLIAM STREET, SUITE 101        CARSON CITY, NV 89706
                                       CARSON CITY, NV 89701



NEVADA DEPARTMENT OF TAXATION          NEVADA DEPARTMENT OF TAXATION              NEVADA DEPARTMENT OF TAXATION
2550 PASEO VERDE                       4600 KIETZKE LANE                          555 E. WASHINGTON AVENUE, SUITE 1300
STE 180                                BLDG L                                     LAS VEGAS, NV 89101
HENDERSON, NV 89074                    STE 235
                                       RENO, NV 89502



NEVADA DEPARTMENT OF TAXATION          NEVADA DEPARTMENT OF TAXATION              NEVADA DEPT OF TAXATION
COMMERCE TAX REMITTANCE                GRANT SAWYER OFFICE BLDG                   1550 COLLEGE PKWY NO 115
P.O. BOX 51180                         555 E WASHINGTON AVE                       CARSON CITY, NV 89706
LOS ANGELES, CA 90051-5480             STE 1300
                                       LAS VEGAS, NV 89101



NEVADA DEPT OF TAXATION                NEVADA DIVISION OF ENVIRONMENTAL           NEVADA DIVISION OF PUBLIC AND
P.O. BOX 7165                          PROTECTION                                 BEHAVIORAL HEALTH
SAN FRANCISCO, CA 94120-7165           901 S STEWART ST                           4150 TECHNOLOGY WAY
                                       STE 4001                                   CARSON CITY, NV 89706
                                       CARSON CITY, NV 89701-5249



NEVADA EXMPLOYMENT SECURITY DIVISION   NEVADA HOSPITAL ASSN                       NEVADA LP-GAS BOARD
500 E THIRD ST                         5190 NEIL RD STE 400                       P.O. BOX 338
CONTRIBUTIONS SECTION - BOND UNIT      RENO, NV 89502                             CARSON CITY, NV 89702
CARSON CITY, NV 89713-0030




NEVADA OCCUPATIONAL SAFETY AND         NEVADA OFFICE OF ATTORNEY GENERAL          NEVADA OFFICE OF ATTORNEY GENERAL
HEALTH ADMINISTRATION                  CONSUMER PROTECTION DIVISION               CONSUMER PROTECTION DIVISION
4600 KIETZKE LANE, SUITE F-153         100 N CARSON ST                            5420 KIETKE LANE STE 202
RENO, NV 89502                         CARSON CITY, NV 89701                      RENO, NV 89511




NEVADA OFFICE OF ATTORNEY GENERAL      NEVADA OFFICE OF THE LABOR                 NEVADA OFFICE OF THE LABOR
CONSUMER PROTECTION DIVISION           COMMISSIONER                               COMMISSIONER
GRANT SAWYER BLDG                      OFFICE OF THE LABOR COMMISSIONER           OFFICE OF THE LABOR COMMISSIONER
555 E WASHINGTON AVE STE 3900          1818 COLLEGE PARKWAY STE 102               3300 W SAHARA AVE STE 225
LAS VEGAS, NV 89101                    LAS VEGAS, NV 89706                        LAS VEGAS, NV 89102
                        Case 20-10766-BLS
NEVADA OFFICE OF VITAL RECORDS        NEVADADoc
                                              RURAL6 HOSPITAL
                                                       Filed 04/07/20
                                                              FND         Page 1290
                                                                               NEVADAofSECRETARY
                                                                                        1969 OF STATE
STATE OF NV - DPBH                    4600 KIETZKE LANE I-209                  202 NORTH CARSON STREET
4150 TECHNOLOGY WAY, STE 104          ATTN ROBIN KEITH                         CARSON CITY, NV 89701-4201
CARSON CITY, NV 89706                 RENO, NV 89502




NEVADA STATE BOARD OF PHARMACY        NEVADA STATE DEP’T OF HEALTH AND         NEVADA STATE DEP’T OF HEALTH AND
985 DAMONTE RANCH PKWY, STE 206       HUMAN SERVICES NEVADA DIVISION OF        HUMAN SERVICES
RENO, NV 89521                        PUBLIC AND BEHAVIORAL HEALTH             ATTN: JOHN FOLLETTE, SUPERVISOR
                                      RADIATION CONTROL PROGRAM                NEVADA DIVISION OF PUBLIC AND
                                      X-RAY MACHINE REGISTRATION               BEHAVIORAL HEALTH RADIATION CONTROL
                                      727 FAIRVIEW DRIVE, SUITE E              PROGRAM
                                      CARSON CITY, NV 89701                    675 FAIRVIEW DRIVE, SUITE 218
                                                                               CARSON CITY, NV 89701

NEVADA STATE DEP’T OF HEALTH AND      NEVADA STATE DEP’T OF HEALTH AND         NEVADA STATE DEP’T OF HEALTH AND
HUMAN SERVICES                        HUMAN SERVICES                           HUMAN SERVICES
ATTN: LAURA HALE, MANAGER             ATTN: MICHELLE SMOTHERS                  DIVISION OF PUBLIC AND BEHAVIORAL
DIVISION OF PUBLIC AND BEHAVIORAL     DIVISION OF PUBLIC AND BEHAVIORAL        HEALTH
HEALTH PRIMARY CARE OFFICE            HEALTH                                   4150 TECHNOLOGY WAY
4150 TECHNOLOGY WAY                   727 FAIRVIEW DRIVE, SUITE E              CARSON CITY, NV 89706-2009
CARSON CITY, NV 89706-2009            CARSON CITY, NV 89701

NEVADA STATE DEP’T OF HEALTH AND      NEVADA STATE HEALTH DIVISION             NEVADA STATE OCCUPATIONAL SAFETY
HUMAN SERVICES                        102 E HASKELL ST                         AND HEALTH ADMINISTRATION
NEVADA DIVISION OF PUBLIC AND         WINNEMUCCA, NV 89445                     3360 W SAHARA AVE 200
BEHAVIORAL HEALTH                                                              LAS VEGAS, NV 89102
MEDICAL LABORATORY SERVICES
727 FAIRVIEW DRIVE, SUITE E
CARSON CITY, NV 89705

NEVADA STATE TREASURER                NEVADA STATE TREASURER                   NEVADA STATE TREASURER
727 FAIRVIEW DRIVE                    DPBH - MED LABORATORY SVCS               P.O. BOX 844500
STE E                                 727 FAIRVIEW DR, STE E                   LOS ANGELES, CA 90084-4500
CARSON CITY, NV 89701                 CARSON CITY, NV 89701




NEVADA UNCLAIMED PROPERTY             NEVAREZ REYES                            NEVAREZ, HEIDIE L.
OFFICE OF THE STATE TREASURER         616 BLUFF ST                             7302 13TH AVE
555 E WASHINGTON AVE STE 4200         WAUKEGAN, IL 60085                       KENOSHA, WI 53143
LAS VEGAS, NV 89101-1070




NEVAREZ, MAYRA L.                     NEVE, JOHNNY                             NEVELL, MARY M.
4960 RED MOUNTAIN WAY SW              ADDRESS ON FILE                          930 SCHULTZ
DEMING, NM 88030                                                               LEMONT, IL 60439




NEVELS, RICHARD                       NEVEN, LANCE                             NEVIN CONLEY
12525 S. LAFLIN ST.                   9267 BERRINGTON PL                       12035 KY RT 825
CALUMET PARK, IL 60827-6003           MONTGOMERY, AL 36117-8417                OIL SPRINGS, KY 41238




NEVIN, AMY                            NEVRO GROUP                              NEW AGE CRYO
ADDRESS ON FILE                       P.O. BOX 845694                          7706 INDUSTRIAL CT UNIT F
                                      DALLAS, TX 75284-5694                    SPRING GROVE, IL 60081




NEW AGE MEDICAL LLC                   NEW ENGLAND JOURNAL OF MEDICINE          NEW ENGLAND JOURNAL OF MEDICINE
645 SPIRIT VALLEY CENTRAL DR          P.O. BOX 650413                          P.O. BOX 9150
CHESTERFIELD, MO 63005                DALLAS, TX 75265-0413                    WALTHAM, MA 02454-9150
NEW ERA LIFE INS CO   Case 20-10766-BLS   Doc 6 Filed
                                    NEW GENERATION       04/07/20 Page 1291
                                                   YARD MAINTENANCE         of 1969 DEPARTMENT OF
                                                                       NEW HAMPSHIRE
P.O. BOX 4884                         1120 WEST FAIRVIEW DR SPC38         REVENUE ADMINISTRATION
HOUSTON, TX 77210                     SPRINGFIELD, OR 97477               109 PLEASANT ST
                                                                          CONCORD, NH 03301




NEW HAMPSHIRE DEPARTMENT OF           NEW HAMPSHIRE DEPARTMENT OF STATE   NEW HOPE VILLAGE & NEW HOPE TOO
REVENUE ADMINISTRATION                107 NORTH MAIN ST                   100 WEST FREDRICKS
P.O. BOX 637                          CORPORATE DIVISION                  BARSTOW, CA 92311
CONCORD, NH 03302-0637                CONCORD, NH 03301-4989




NEW JERSEY DIVISION OF TAXATION       NEW JERSEY DIVISION OF TAXATION     NEW JERSEY STATE TREASURER
50 BARRACK ST                         P.O. BOX 644                        50 WEST STATE ST - 6TH FLR
TRENTON, NJ 08608                     TRENTON, NJ 08646-0644              UNCLAIMED PROPERTY DIVISION
                                                                          TRENTON, NJ 08608-1213




NEW LIFE FELLOWSHIP                   NEW MEXICO AUTO WHOLESALE           NEW MEXICO AUTO WHOLESALE
134 W. MAIN ST.                       1929 7TH STREET                     1929 SEVENTH STREET
BARSTOW, CA 92311                     LAS VEGAS, NM 87701                 LAS VEGAS, NM 87701




NEW MEXICO BOARD OF PHARMACY          NEW MEXICO CPM, INC.                NEW MEXICO DEPARTMENT OF HEALTH
5500 SAN ANTONIO DR NE                1524 EUBANK NE                      ATTN: LAURA SANCHEZ; ANN WASHBURN
SUITE C                               SUITE 1                             (NM OFFICE OF GC)
ALBUQUERQUE, NM 87109                 ALBUQUERQUE, NM 87112               THE QUALITY ASSURANCE SUPERVISOR
                                                                          SURVEY PROCESSING SECTION HEALTH
                                                                          FACILITY LICENSING AND CERTIFICATION
                                                                          2040 S. PACHECO ST., SECOND FLOOR,
                                                                          ROOM 202
                                                                          SANTA FE, NM 87505

NEW MEXICO DEPARTMENT OF HEALTH       NEW MEXICO DEPT OF LABOR            NEW MEXICO DEPT OF LABOR
HAROLD RUNNELS BUILDING               401 BROADWAY NE                     401 BROADWAY NE
1190 S. ST. FRANCIS DRIVE             P.O. BOX 1928                       P.O. BOX 1928
P.O. BOX 26110                        ALBUQUERQUE, NM 87102               ALBUQUERQUE, NM 87103
SANTA FE, NM 87505



NEW MEXICO DEPT. TAXATION & REVENUE   NEW MEXICO ENVIROMENT DEPT/FOD      NEW MEXICO ENVIRONMENT DEPARTMENT
1220 S. ST. FRANCIS DR.               DEMING FIELD OFFICE                 RADIATION CONTROL BUREAU
SANTA FE, MN 87505                    P O BOX 2867                        ATTN: VICTOR DIAZ (RAM); SANTIAGO
                                      DEMING, NM 88031                    RODRIGUEZ (RAM); WALTER MEDINA (X-RAY)
                                                                          1100 SAINT FRANCIS DRIVE SUITE 2022
                                                                          P.O. BOX 5469
                                                                          SANTA FE, NM 87502-5469

NEW MEXICO ENVIRONMENT DEPT           NEW MEXICO ENVIRONMENT DEPT         NEW MEXICO ENVIRONMENT DEPT
HAROLD RUNNELS BLDG                   LAS VEGAS FIELD OFFICE              P.O. BOX 5469
1190 ST FRANCIS DRIVE                 2538 RIDGE RUNNER RD                SANTA FE, NM 87502-5469
STE N4050                             LAS VEGAS, NM 87701
SANTA FE, NM 87505



NEW MEXICO HEALTH CONNECTIONS         NEW MEXICO HEALTH RESOURCES, INC    NEW MEXICO HOSPITAL ASSOCIATION
P.O. BOX 3828                         300 SAN MATEO BLVD NE, SUITE 905    7471 PAN AMERICAN FREEWAY NE
CORPUS CHRISTI, TX 78463              ALBUQUERQUE, NM 87108               ALBUQUERQUE, NM 87109




NEW MEXICO HUMAN SERVICES             NEW MEXICO HUMAN SERVICES           NEW MEXICO MEDICAID PROJECT
DEPARTMENT                            MEDICAL ASSISTANCE DIVISION         C/O CONDUENT, INC
NM MEDICAID PROGRAM                   2025 PACHECO STREET, SUITE B-100    P.O. BOX 27460
P.O. BOX 2348                         SANTA FE, NM 87505                  ALBUQUERQUE, NM 87125-7460
SANTA FE, NM 87504-2348
NEW MEXICO MEDICAID   Case 20-10766-BLS    Doc MEDICAID
                                    NEW MEXICO   6 Filed 04/07/20        Page 1292 of 1969
                                                                              NEW MEXICO OCCUPATIONAL SAFETY AND
P O BOX 27460                       P.O. BOX 27460                             HEALTH ADMINISTRATION
ALBUQUERQUE, NM 87125-7460          ALBUQUERQUE, NM 87125                      525 CAMINO DE LOS MARQUEZ, SUITE 3
                                                                               SANTA FE, NM 87502




NEW MEXICO OFFICE FURNITURE, INC DBA   NEW MEXICO OFFICE OF ATTORNEY           NEW MEXICO OFFICE OF ATTORNEY
BUSINESS ENV                           GENERRAL                                GENERRAL
5351 WILSHIRE AVE NE                   CONSUMER PROTECTION DIVISION            CONSUMER PROTECTION DIVISION
ALBUQUERQUE, NM 87113                  201 3RD ST NE STE 300                   201 N CHURCH ST STE 315
                                       ALBUQUERQUE, NM 87102                   LAS CRUCES, NM 88001



NEW MEXICO OFFICE OF ATTORNEY          NEW MEXICO OFFICE OF THE SECRETARY      NEW MEXICO SECRETARY OF STATE
GENERRAL                               OF STATE                                NEW MEXICO CAPITOL ANNEX NORTH
CONSUMER PROTECTION DIVISION           325 DON GASPAR, SUITE 301               325 DON GASPAR, SUITE 300
PO DRAWER 1508                         SANTA FE, NM 87503                      SANTA FE, NM 87501
SANTA FE, NM 87504-1508



NEW MEXICO STUDENT LOAN                NEW MEXICO TAXATION AND REVENUE         NEW MEXICO TAXATION AND REVENUE
P.O. BOX 27845                         DEPARTMENT                              DEPARTMENT
ALBUQUERQUE, NM 87125-7845             1220 S STREET FRANCIS DR                P.O. BOX 25127
                                       SANTA FE, NM 87505                      SANTA FE, NM 87504-5127




NEW MEXICO TAXATION AND REVENUE        NEW MEXICO TAXATION AND REVENUE         NEW MEXICO TAXATION AND REVENUE
DEPARTMENT                             DEPARTMENT                              DEPARTMENT
P.O. BOX 2527                          P.O. BOX 8485                           UNCLAIMED PROPERTY OFFICE
SANTA FE, NM 87504-2527                ATTN: CALL CENTER BUREAU                1200 S STREET FRANCIS DRIVE - M LUJAN
                                       ALBUQUERQUE, NM 87198                   BLDG
                                                                               SANTA FE, NM 87504

NEW MEXICO TAXATION AND REVENUE        NEW MEXICO TAXATION AND REVENUE         NEW MEXICO TAXATION AND REVENUE
DEPARTMENT                             DEPARTMENT                              1100 S STREET FRANCIS DRIVE
UNCLAIMED PROPERTY                     UNCLAIMED PROPERTY                      P.O. BOX 630
1100 S ST. FRANCIS DR                  P.O. BOX 25123                          SANTA FE, NM 87504-0630
SANTA FE, NM 87504                     SANTA FE, NM 87504-5123



NEW MILLENNIUM HEALTHCARE, INC         NEW REYNOLDS ELECTRIC INC               NEW RIVER MULCH
555 MOUNT CARMEL ROAD                  1084 POSTAL WAY                         3750 STERLING POINTE DRIVE
MOSHEIM, TN 37818                      SPRINGFIELD, OR 97477                   WINTERVILLE, NC 28590




NEW WORLD MEDICAL, INC                 NEW YORK INCOME TAX                     NEW YORK LIFE INS. COMPANY
10763 EDISON COURT                     P.O. BOX 4111                           P.O. BOX 500
RANCHO CUCAMONGO, CA 91730             PROCESSING UNIT                         MINNEAPOLIS, MN 55440-0500
                                       BIRMINGTON, NY 13902-4111




NEW YORK MEDICAID                      NEW YORK STATE CHILD SUPPORT            NEW YORK STATE COMPTROLLER
P.O. BOX 806                           PROCESSING CENTER                       OFFICE OF UNCLAIMED FUNDS REMIT CTL
AMHERST, NY 14226-0806                 P.O. BOX 15363                          110 STATE STREERT, 2ND FLR
                                       ALBANY, NY 12212-5363                   ALBANY, NY 12236




NEW YORK STATE CORPORATION TAX         NEW YORK STATE CORPORATION TAX          NEW YORK UNIVERSITY
ATTN: OFFICE OF COUNSEL                P.O. BOX 4136                           NICHE PROGRAM
BLDG 9, W.A. HARRIMAN CAMPUS           BINGHAMTON, NY 13902-4136               380 SECOND AVE, SUITE 306
ALBANY, NY 12227                                                               NEW YORK, NY 10010
NEW, COURTNEY            Case 20-10766-BLS    Doc 6
                                       NEW, KACIE         Filed 04/07/20   Page 1293 ofCORP
                                                                                NEWARK  1969
159 RICH ROAD                           1506 E. 5TH STREET                      NEWARK ELEMENT14
MCKENZIE, TN 38201                      BIG SPRING, TX 79720                    33190 COLLECTION CENTER DRIVE
                                                                                CHICAGO, IL 60693-0331




NEWARK ELEMENT14                        NEWBERN, HUNTER                         NEWBERRY COUNTY MEMORIAL HOSPITAL
33190 COLLECTION CENTER DRIVE           875 ALBERTON ROAD                       2669 KINARD STREET
CHICAGO, IL 60693-0331                  LEXINGTON, TN 38351                     P.O. BOX 497
                                                                                NEWBERRY, SC 29108-0497




NEWBERRY JR., BOBBY D.                  NEWBERRY, AMBER                         NEWBERRY, AMY
ADDRESS ON FILE                         402 W. MISSISSIPPI STREET               105 GROVE AVE
                                        JONESBORO, IL 62952                     ANNA, IL 62906-0000




NEWBERRY, BOBBY                         NEWBERRY, BOBBY                         NEWBERRY, HAYDEN
ADDRESS ON FILE                         ADDRESS ON FILE                         700 E. HEACOCK STREET
                                                                                JONESBORO, IL 62952




NEWBERRY, LINDA GAIL                    NEWBERRY, NELLIE                        NEWBERRY, PAULA
528 FLEMING STREET                      1250 ELKAY DRIVE                        105 HUMBOLT
GRANITE CITY, IL 62040                  EUGENE, OR 97404                        MARINE, IL 62061




NEWBORN METABOLIC SCREENING             NEWBURY, CAREN L.                       NEWBURY, MALORI
DEPT OF HEALTH                          1069 MOONLIGHT TERACE RUN               14568 PANSY LANE
6101 YELLOWSTONE ROAD,SUITE 420         MESQUITE, NV 89034                      SESSER, IL 62884
CHEYENNE, WY 82002




NEWBURY, RODNEY                         NEWBY, MICHELE J.                       NEWCOM, ELLIOT
513 MARY DRIVE                          547 HAMPTON DRIVE                       8718 D ROAD
WATERLOO, IL 62298                      LAKE VILLA, IL 60046                    WATERLOO, IL 62298




NEWCOMB, LINDA C.                       NEWCOMB, MARTY ANTHONY                  NEWCOMB, ROBYN
ADDRESS ON FILE                         1131 VICTORIA DRIVE                     1061 STATE RT 97
                                        MURFREESBORO, TN 37129                  GILSON, IL 61436




NEWCOMBE, ANGELA E.                     NEWCOMER SUPPLY INC                     NEWCOMER SUPPLY
448 DANUBE DRIVE                        2505 PARVIEW ROAD                       2505 PARVIEW ROAD
APTOS, CA 95003                         MIDLDLETON, WI 53562                    MIDDLETON, WI 53562




NEWCOMER SUPPLY                         NEWELL, ASHDEN                          NEWELL, ASHLEY M.
2505 PARVIEW ROAD                       ADDRESS ON FILE                         6335 STATE ROUTE 146 W
MIDDLETON, WI 53562-2579                                                        JONESBORO, IL 62952
NEWELL, BRIANNAE        Case 20-10766-BLS
                                      NEWELL,Doc 6 H. Filed 04/07/20
                                              CANDY                         Page 1294 ofJHONATHAN
                                                                                 NEWELL, 1969     R.
ADDRESS ON FILE                         749 GREEN VALLEY ROAD                    1324 N. SHERIDAN ROAD
                                        WATSONVILLE, CA 95076                    WAUKEGAN, IL 60085




NEWELL, MEGAN S.                        NEWHOUSE, MILLIE                         NEWKIRK, MELINDA H.
ADDRESS ON FILE                         701 PALMERSVILLE HIGHWAY 89              246 DANIEL DRIVE
                                        DRESDEN, TN 38225                        TOOELE, UT 84074




NEWLAND, ALICE                          NEWLAND, DEBRA                           NEWLIN, AMANDA
100 HARTMANN STREET                     ADDRESS ON FILE                          ADDRESS ON FILE
WATERLOO, IL 62298




NEWLIN, MICHAEL                         NEWMAN JR., WILLIAM J.                   NEWMAN, BRETT
1401 S FOSSEE ROAD                      15002 WINDWARD DRIVE, 307                1412 OSPREY DRIVE
MARION, IL 62959-1455                   CORPUS CHRISTI, TX 78418                 ROCK SPRINGS, WY 82901-3486




NEWMAN, CHARISSA G.                     NEWMAN, CINDY A.                         NEWMAN, DERICK
ADDRESS ON FILE                         ADDRESS ON FILE                          906 13TH ST SE
                                                                                 MASSILLON, OH 44646




NEWMAN, JACQUELINE L.                   NEWMAN, KAITLIN A.                       NEWMAN, KYLE L.
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




NEWMAN, LENARD C.                       NEWMAN, MELANIE                          NEWMATIC MEDICAL
261 NEWMAN ROAD B                       ADDRESS ON FILE                          DEPT 2493
FARNER, TN 37333                                                                 P.O. BOX 11407
                                                                                 BIRMINGHAM, AL 35246-2493




NEWPORT CREDENTIALING SOLUTIONS, LLC    NEWPORT GLOBAL ADVISORS                  NEWSOM, MORGAN
DEPT 5882                               CHICAGO TITLE INSURANCE COMPANY-1        187 PHILLIPS 302
P.O. BOX 11407                                                                   WEST HELENA, AR 72390
BIRMINGHAM, AL 35246-5882




NEWSOM, VENSON G.                       NEWSOME SR, JOSEPH L.                    NEWSOME, DELORIS
1819 PAULA LANE                         528 FOLKSTOBE CR                         P.O. BOX 94
MARION, IL 62959                        AUGUSTA, GA 30907                        LENORE, WV 25676




NEWSOME, JASMINE                        NEWSOME, PATRICIA R.                     NEWSOME, SANYA K.
1614 4TH STREET                         54 JANDAY LANE                           ADDRESS ON FILE
MADISON, IL 62060                       GRANITE CITY, IL 62040
NEWSOME, SHERONDA A. Case 20-10766-BLS    Doc
                                   NEWSOME,    6 Filed 04/07/20
                                             TEEHIA                     Page 1295 of 1969
                                                                             NEWSPAPER AGENCY COMPANY, LLC
1009 E 150TH PL APT 1 E            ROUTE 1 JENNIES CREEK P.O. BOX 605        UTAH MEDIA GROUP
DOLTON, IL 60419                   KERMIT, WV 25674                          4770 SOUTH 5600 WEST
                                                                             WEST VALLEY CITY, UT 84118




NEWSTETTER, TERESA                    NEWTON, ANN                            NEWTON, ANN
11044 GLADDIS STREET SW               ADDRESS ON FILE                        ADDRESS ON FILE
MASSILLON, OH 44647




NEWTON, CERISSA                       NEWTON, CINDY                          NEWTON, DIANA K.
710 COLGATE AVE                       221 GRUENINGER STREET                  14240 N. MEMORY LANE
BIG SPRING, TX 79720                  COLUMBIA, IL 62236                     MT. VERNON, IL 62864




NEWTON, DIANA K.                      NEWTON, OLIVIA                         NEWTON, RICK
ADDRESS ON FILE                       311 GILBERT ROAD                       270 NEWTON LANE
                                      BIG SPRING, TX 79720                   GOREVILLE, IL 62939




NEWTON, TODD                          NEWTON, TORI                           NEWWAVE COMMUNICATIONS
6175 GRAVEL HILL ROAD                 300 E 94TH ST                          C/O CABLE ONE
GREENVILLE, AL 36037                  ODESSA, TX 79765                       1314 N 3RD ST
                                                                             PHOENIX, AZ 85004




NEWWAVE COMMUNICATIONS                NEXAIR LLC (21263)                     NEXSTAR BROADCASTING INC. DBA:KMID-
P.O. BOX 9001009                      P.O. BOX 125                           TV AND IKMID
LOUISVILLE, KY 40290                  MEMPHIS, TN 38101-0125                 P.O. BOX 840185
                                                                             DALLAS, TX 75284




NEXT LEVEL HEALTH                     NEXTALK                                NEXTALK
P.O. BOX 5050                         448 E WINCHESTER STREET                448 E WINCHESTER STREET, SUITE 100
FARMINGTON, MO 63640-5050             SUITE 100                              MURRAY, UT 84107
                                      MURRAY, UT 84107




NEXTLEVEL HEALTH PLAN                 NEXTLEVEL HEALTH                       NEXTREMITY SOLUTIONS, INC
P.O. BOX 830700                       3019 W. HARRISON                       210 N. BUFFALO STREET
BIRMINGHAM, AL 35283                  CHICAGO, IL 60612                      WARSAW, IN 46580




NFPA                                  NFPA                                   NFS LEASING INC
P.O. BOX 9689                         P.O. BOX 9689                          900 CUMMINGS CENTER, STE 226-U
MANCHESTER, NH 03108-9689             MANCHESTER, NH 03108-9806              BEVERLY, MA 01915




NGIAM, REGINALD                       NGMC BARROW LLC; NORTHEST GEORGIA      NGS CORESOURCE
9827 VICTOR AVE                       HEALTH SYSTEM INC                      P.O. BOX 2310
HESPERIA, CA 92345                    C/O CARA R MITCHELL; WHELCHEL DUNLAP   ATTN: REFUNDS
                                      JARRARD & WALKER LLP                   MT CLEMENS, MI 48046-0000
                                      405 WASHINGTON ST NE
                                      P.O. BOX ONE
                                      GAINESVILLE, GA 30503
NGUYEN, AIDEN H.        Case 20-10766-BLS   Doc
                                      NGUYEN,    6 Filed 04/07/20
                                              BRANDON               Page 1296 ofMADISON
                                                                         NGUYEN, 1969 C.
559 CONDOR ST                          320 DEWEY AVE                     ADDRESS ON FILE
MESQUITE, NV 89027                     BEQ 6301
                                       GREAT LAKES, IL 60088




NGUYEN, MAI                            NGUYEN, NHU K.                    NGUYEN, NINA T.
ADDRESS ON FILE                        100 3RD STREET SE                 711 S MACAREE ROAD
                                       FORT PAYNE, AL 35967-1802         WAUKEGAN, IL 60085




NGUYEN, PHAN                           NGUYEN, QUAN A.                   NGUYEN, TRANG T.
1407 COLUMBUS RD                       233 B MORTIMER LANE               ADDRESS ON FILE
DEMING, NM 88030                       MARINA, CA 93933




NGUYEN, TRANG                          NGUYEN, VIET M.                   NH PM INC
ADDRESS ON FILE                        2607 CLEARVIEW AVE.               28525 NETWORK PLACE
                                       WAUKEGAN, IL 60085                CHICAGO, IL 60673




NHD, INC.                              NHI BILLING SERVICES              NHO REAL ESTATE HOLDING, LLC
P.O. BOX 264                           P.O. BOX 43230                    707 W. RAILROAD AVE
MENTOR, OH 44061-0264                  PHOENIX, AZ 85080-3230            ROUND LAKE, IL 60073




NHO, JAI JUNG                          NHO, JAI JUNG                     NHRMA MUTUAL INSURANCE
ADDRESS ON FILE                        ADDRESS ON FILE                   P.O. BOX 7110
                                                                         CHAMPAIGN, IL 61826




NI SATELLITE, INC                      NIBLETT ADAM                      NICARD, MARYELLEN G.
P.O. BOX 732541                        3221 MCCURDY AVE N                ADDRESS ON FILE
DALLAS, TX 75373-2541                  RAINSVILLE, AL 35986




NICELY, KADIE                          NICHE NEW YORK UNIVERSITY         NICHELLE COBB
11220 195TH STREET                     380 SECOND AVE, SUITE 306         707 W COLLEGE STREET, 3
MOKENA, IL 60448                       NEW YORK, NY 10010                CARBONDALE, IL 62901




NICHOLAS BULLARD                       NICHOLAS ELIZABETH M              NICHOLAS LUTZ
30 SEQUOIA                             838 TRACKSIDE LANE                87570 RHODOWOOD DR
TROY, IL 62294                         BLUE RIDGE, GA 30513              FLORENCE, OR 97439-9025




NICHOLAS MCCAHON                       NICHOLAS ROGERS                   NICHOLAS SHOCKLEY, FNP
1817 RICHVIEW RD                       693 LUANNE WAY                    P.O. BOX 545
MT VERNON, IL 62864                    MONROE, GA 30655                  ROSICLARE, IL 62982
NICHOLAS, CLARK S.    Case 20-10766-BLS     Doc
                                    NICHOLAS,    6 Filed 04/07/20
                                              REBECCA               Page 1297  of 1969
                                                                         NICHOLAS, ROGER
STALEY CUSTOM CABINETS INC          255 N SPERRY                         2744 STEINER STORE RD
781 SADDLE HORN ROAD                BUSHNELL, IL 61422                   GREENVILLE, AL 36037
GRANTSVILLE, UT 84029




NICHOLAS, TORIE                     NICHOLAS, TRACY L.                   NICHOLE HUCH
7250 W. 157TH ST. UNIT 203          446 SOUTH SOANGETAHA ROAD            114 OSTERHAGE UNIT 2
ORLANDPARK, IL 60462                GALESBURG, IL 61401                  WATERLOO, IL 62298




NICHOLS, ALICE                      NICHOLS, AMBER                       NICHOLS, BILLY T.
861 E 38TH AVENUE                   1411 JEFFERY RD                      174 SFC 349
EUGENE, OR 97405-4529               BIG SPRING, TX 79720                 COLT, AR 72326




NICHOLS, BRIANNA                    NICHOLS, CATELYN J.                  NICHOLS, ELISABETH
ADDRESS ON FILE                     28 HILLSIDE DR                       ADDRESS ON FILE
                                    LEXINGTON, TN 38351




NICHOLS, GARA A.                    NICHOLS, HOLLIS R.                   NICHOLS, JACK
542 FLEISHER ROAD                   3093 CARRICK DRIVE                   840 MT PLEASANT ROAD
GALESBURG, IL 61401                 GERMANTOWN, TN 38138                 GEORGIANA, AL 36033




NICHOLS, JAYNA S.                   NICHOLS, JESSICA                     NICHOLS, KATHLEEN
989 TYLER ROAD                      109 CRESTVIEW DRIVE                  P.O. BOX 64
LEXINGTON, TN 38351                 GREENFIELD, TN 38230                 MANSFIELD, GA 30055-2943




NICHOLS, LISA                       NICHOLS, LYNNE A.                    NICHOLS, MARION
3121 CYNTH CREEK RD.                1180 BERNTZEN                        104 ALAMO
HIAWASSEE, GA 30546                 EUGENE, OR 97402                     COLLINSVILLE, IL 62234




NICHOLS, MELODY A.                  NICHOLS, PAMELA                      NICHOLS, ROSE E.
ADDRESS ON FILE                     502 1ST STREET                       P.O. BOX 1197
                                    ACKERLY, TX 79713                    CAPITOLA, CA 95010




NICHOLS, SHERI J.                   NICHOLS, STANLEY                     NICHOLS, TANISHA
2403 EAST 25TH                      929 WASHINGTON AVE                   142 BRAY STREET
BIG SPRING, TX 79720                WINTHROP HARBOR, IL 60096            FORREST CITY, AR 72335




NICHOLS, TASHA N.                   NICHOLS, WILLARD                     NICHOLSON, AMANDA
ADDRESS ON FILE                     P.O. BOX 186                         318 DEAL ROAD
                                    GRANGER, WY 82934-0186               COPPERHILL, TN 37317
NICHOLSON, BETTY         Case 20-10766-BLS   DocCINDY
                                       NICHOLSON, 6 Filed
                                                      W.  04/07/20   Page 1298  of 1969
                                                                          NICHOLSON, DEBRA K.
288 N COLEMAN STREET                    1160 WYNN LANE                     1345 COLLINS DRIVE
TOOELE, UT 84074                        WILLIAMSTON, NC 27892              WILLIAMSTON, NC 27892




NICHOLSON, GARRY C.                     NICHOLSON, JEANNE                  NICHOLSON, JEFFREY N.
15 WARWICK PARK LANEN                   15316 LAKEPOINT DRIVE              ADDRESS ON FILE
EDWARDSVILLE, IL 62025                  BENTON, IL 62812




NICHOLSON, KIMBERLY                     NICHOLSON, LAKESHIA                NICHOLSON, LORI
1679 SEVEN PINES ROAD, APT C            ADDRESS ON FILE                    23 TIMBER TRAIL
SPRINGFIELD, IL 62704                                                      MURPHY, NC 28906




NICHOLSON, MALLORY                      NICHOLSON, MARY                    NICHOLSON, MELINDA L.
262 WEST MAIN STREET, UNIT B            1143 N. SEMINARY STREET            ADDRESS ON FILE
GLEN CARBON, IL 62034                   GALESBURG, IL 61401




NICHOLSON, PEGGY A.                     NICHOLSON, ROBERT                  NICHOLSON, SARAH J.
203 PEBBLE LANE                         P.O. BOX 83                        ADDRESS ON FILE
BLUE RIDGE, GA 30513                    AROMAS, CA 95004




NICHOLSON, SHERRY K.                    NICHOLSON, SUSAN M.                NICHOLSON, VINCENT T.
ADDRESS ON FILE                         ADDRESS ON FILE                    25 SASSAFRAS LANE
                                                                           MURPHY, NC 28906




NICHOLSON-BEHNKEN, VERNON J.            NICHOLS-SHULL, CARRIE A.           NICKAS, SUSAN
ADDRESS ON FILE                         ADDRESS ON FILE                    139 HALLUM STREER SW
                                                                           NORTH CANTON, OH 44720




NICKEL, BETTY L.                        NICKELL, JANELLE M.                NICKI L WILL-MOWERY
479 SUNCREST WAY                        1369 KY HIGHWAY 715                1481 SUGARLOAF BLVD
WATSONVILLE, CA 95076                   ROGERS, KY 41365                   SUGARLOAF KEY, FL 33042-3648




NICKLES, BAILEY A.                      NICKLES, MARY C.                   NICKOLAS, SIMPSON
ADDRESS ON FILE                         12153 S GRACIE VIEW PLACE          9527 STATE ROUTE 381
                                        DRAPER, UT 84020                   SEDALIA, KY 42079-9445




NICKOLS, MARILYN                        NICODEMO, FRANK                    NICODEMO, RACHEL
1140 E DETROIT AVE                      7823 CRICKET CR NW                 7823 CRICKET CR NW
MONMOUTH, IL 61462                      MASSILLON, OH 44646                MASSILLON, OH 44646-2431
                     CaseSERVICE
NICOLAS GONZALEZ GARDENING 20-10766-BLS
                                    NICOLASDoc  6 Filed 04/07/20
                                             POUELE                Page 1299  of RON
                                                                        NICOLAS, 1969
P.O. BOX 1777                       678 S ACADEMY ST APT B2             13018 W BLANCHARD ROADD
BARSTOW, CA 92312                   GALESBURG, IL 61401                 WAUKEGAN, IL 60087




NICOLE BROWN                        NICOLE CHANSLER                     NICOLE KUPCHIK CONSULTING, INC
ADDRESS ON FILE                     25 CHESTNUT ST                      P.O. BOX 28053
                                    GALESBURG, IL 61401                 SEATTLE, WA 98118




NICOLE, AMOS                        NICOR GAS                           NICOR GAS
ADDRESS ON FILE                     1844 FERRY RD                       P.O. BOX 5407
                                    NAPERVILLE, IL 60563                CAROL STREAM, IL 60197-5407




NICOSIA, MAURICIO                   NIE, MARY C.                        NIECE, JACK
431 NAVAJO STREET                   7050 FREEDOM BLVD                   95 SMITH ROAD
PARK FOREST, IL 60466-2520          APTOS, CA 95003-9621                JACKSON, KY 41339




NIEDBALSKI, KATIE                   NIEDERER, JOHN D.                   NIEDERHAUSER AMY
ADDRESS ON FILE                     ADDRESS ON FILE                     185 COUNTRY CLUB
                                                                        STANSBURY PARK, UT 84074




NIEDERHOFER, KAYLA                  NIEKRENZ NURSERY                    NIELSEN, AMY
18591 N. STRATFORD LANE             9435 E. IL HWY 15                   3924 S. ORCHARD DRIVE
MT VERNON, IL 62864                 MT VERNON, IL 62864                 NO SALT LAKE, UT 84054




NIELSEN, CHRISTY                    NIELSEN, JESSIE                     NIELSEN, JESSIE
3305 US HWY 45 SOUTH                ADDRESS ON FILE                     305 N. 5TH STREET
VIENNA, IL 62995                                                        TOOELE, UT 84074




NIELSEN, JESSIE                     NIELSEN, RACHEL                     NIELSEN, STEVEN
ADDRESS ON FILE                     2841 MELQUA ROAD                    503 W. 500 SOUTH
                                    ROSEBURG, OR 97471                  TOOELE, UT 84074




NIELSEN, THOMAS D.                  NIELSIANIK, DIANE                   NIELSON, BRENT E.
4009 HUNTERS LANE                   ADDRESS ON FILE                     507 E. 100 NORTH
BIRMINGHAM, AL 35243                                                    SMITHFIELD, UT 84335




NIELSON, CONSTANCE                  NIELSON, CORRIE A.                  NIELSON, DEREK S.
ADDRESS ON FILE                     ADDRESS ON FILE                     ADDRESS ON FILE
NIELSON, ELLEN M.         Case 20-10766-BLS   Doc
                                        NIELSON,    6 Filed 04/07/20
                                                 JEANETTE              Page 1300  of JEANETTE
                                                                            NIELSON,  1969
85334 ARMSTRONG WAY                      129 SANDSTONE DRIVE                 129 SANDSTONE
FLORENCE, OR 97439                       EVANSTON, WY 82930                  EVANSTON, WY 82930




NIELSON, MICHELLE S.                     NIELSON, YVONNE                     NIEMEYER, LISA
858 E. 900 NORTH                         ADDRESS ON FILE                     ADDRESS ON FILE
TOOELE, UT 84074




NIEMI, CHELSEA L.                        NIENDORF, CURT B.                   NIERMAN, ALLEN
ADDRESS ON FILE                          8 WEST 4725 NORTH                   712 3RD ST
                                         ENOCH, UT 84721                     HIGHLAND, IL 62249




NIERMANN, HAYLEE A.                      NIESCIUR, WILLIAM W.                NIESLANIK, DIANE M.
108 EAST EGYPTIAN DRIVE                  1784 COMMODORE WALK                 ADDRESS ON FILE
HERRIN, IL 62948                         WORDEN, IL 62097




NIEVES, ALEXIS M.                        NIEVES, IBIS                        NIEVES, MARQUEZ
1280 BLACKBURN STREET, 103               2319 EMERT AVE                      P.O. BOX 3447
GURNEE, IL 60031                         GRANITE CITY, IL 62040              MESQUITE, NV 89024-3447




NIEVES, VICENTA P.                       NIEVES-MARTIN, MARITZA              NIEWEGLOWSKI, MELANIE J.
1605 OWENS                               14395 HILLCREST DRIVE               ADDRESS ON FILE
BIG SPRING, TX 79720                     FONTANA, CA 92337




NIGHSWANDER, SARA P.                     NIGHTENGALE, RANDALL J.             NIGHTINGALE NURSES, LLC
785 LAKE SHORE DRIVE NORTH               17 TROTTER ROAD                     DRAWER 1256
GOREVILLE, IL 62939                      CODY, WY 82414                      P.O. BOX 5935
                                                                             TROY, MI 48007-5935




NIGHTINGALE, JULIUS C.                   NIGHTMARE IN THE SQUARE             NIGN, DANIEL
1407 LOS TOMASES                         910 LONG BRANCH ROAD                P.O. BOX 51
ALBUQUERQUE, NM 87110                    LOUISA, KY 41230                    CARROLTON, OH 44615-0051




NIGUINN, SREYMOM                         NIHELLS, FREDERICK L.               NIHON KOHDEN AMERICA, INC
3384 CORALY AVE                          703 FALL                            6017 SOLUTION CENTER
EUGENE, OR 97402                         CAHOKIA, IL 62206                   LOCKBOX 776017
                                                                             CHICAGO, IL 60677-6000




NIHON KOHDEN AMERICA, INC                NIHON KOHDEN AMERICA, INC           NIHON KOHDEN AMERICA, INC
6017 SOLUTIONS CENTER                    6017 SOLUTIONS CENTER               6017 SOLUTIONS CENTER
LOCKBOX 776017                           LOCKBOX 776017                      LOCKBOX 776017
CHICAGO, IL 60677-6000                   CHICAGO, IL 60677                   CHICAGO, IL 60677-6000
NIKAS, DEBORA A.      Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                    NIKAS, SHARON                  Page 1301   of 1969
                                                                        NIKHIL MALLY
3320 SHULERS CREEK ROAD             28193 OAKVIEW AVE                   8224 TAPHAGEN ST NW APT A
MURPHY, NC 28906                    EUGENE, OR 97402-8232               MASSILLON, OH 44646




NIKNEZHAD, LINDSEY                  NIKNEZHAD, LINDSEY                  NIKOLIC, JESSICA
ADDRESS ON FILE                     ADDRESS ON FILE                     ADDRESS ON FILE




NIKON INSTRUMENTS, INC              NIKON INSTRUMENTS, INC              NILES JR., CHARLES S.
1300 WALT WHITMAN ROAD              P.O. BOX 26927                      6029 SUNRISE CIRCLE
MELVILLE, NY 11747-3064             NEW YORK, NY 10087-6927             FRANKLIN, TN 37067




NILES, RHONDA                       NILHAUS, RICKY                      NIM HENSON GERIATRIC CENTER
ADDRESS ON FILE                     1800 CENTER STREET                  420 JETTS DRIVE
                                    CATTLETSBURG, KY 41129              JACKSON, KY 41339




NIMMONS, BETH                       NINNESS, GAIL                       NI-Q, LLC
260 ALEXANDER DRIVE                 12420 MARKS LANE                    1710 WILLOW CREEK CIRCLE
EDWARDSVILLE, IL 62025              MARION, IL 62959                    EUGENE, OR 97402




NISC UBP LLC                        NISKALA ASHLEY M                    NISNISAN, IVONNE
CAPTURIS                            2664 MEADOWWOOD DR                  ADDRESS ON FILE
P.O. BOX 713                        TOLEDO, OH 43606
MANDAN, ND 58554




NISSEN, BETH                        NISSEN, ELIZABETH A.                NIVA INSTITUTE OF NEUROSCIENCES, INC.
786 LOMBARD STREET                  ADDRESS ON FILE                     15963 QUANTICO ROAD, SUITE C
GALESBURG, IL 61401                                                     APPLE VALLEY, CA 92307




NIX, AMANDA                         NIX, BILLY C.                       NIX, FAITH R.
1149 ELKINS DRIVE                   19 COUNTY ROAD 226                  1610 MANOR PLACE
AUBURN, AL 36830-6144               FORT PAYNE, AL 35967-6449           MONROE, GA 30656




NIX, JACE                           NIX, KATHERINE                      NIX, KATRINA M.
168 CIRCLE 229                      477 KANDALA COVE                    102 LAVERNE DRIVE
P.O. BOX 686                        LEXINGTON, TN 38351                 RAINSVILLE, AL 35986
MOUNTAIN VIEW, WY 82939-0686




NIX, PEARL L.                       NIX, ZEBBIE B.                      NIXON POWER SERVICES COMPANY
7 PRAIRIE VIEW COURT, APT702B       106 W MONGESANO DRIVE               P.O. BOX 934345
NORTH CHICAGO, IL 60064             EVERGREEN, AL 36401                 ATLANTA, GA 31193-4345
NIXON, TIMOTHY        Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                    NIXON, VANESSA                          Page 1302   of 1969
                                                                                 NIZAR ISSA MD
450 RIVER NORTH DRIVE               ADDRESS ON FILE                              ADDRESS ON FILE
NORTH AUGUSTA, GA 29841




NJARATHADATHIL, TOMY G.               NJEMANZE MD, EBUBE                         NJEMANZE, EBUBE MD
6041 WESTMINSTER LANE                 6017 MADISON STREET, APT 3F                6017 MADISON STREET APT 3F
GURNEE, IL 60031                      RIDGEWOOD, NY 11385                        RIDGEWOOD, NY 11385




NKEBENGESHE, MKANGELI                 NLFH MEDICAL STAFF                         NLFH MEDICAL STAFF
ADDRESS ON FILE                       1000 N WESTMORELAND RD                     1000 N WESTMORELAND ROAD
                                      LAKE FOREST, IL 60045                      LAKE FOREST, IL 60045




NM BEHAVIORAL HEALTH LVMC             NM BOARD OF PHARMACY                       NM DEPARTMENT OF HEALTH
3695 HOTSPRINGS BLVD                  5500 SAN ANTONIO DRIVE NE, SUITE C         P.O. BOX 25886
LAS VEGAS, NM 87701                   ALBUQUERQUE, NM 87109                      ALBUQUERQUE, NM 87125-0000




NM DEPT OF HEALTH - DIV OF HEALTH     NM DEPT OF HEALTH - PHD                    NM DEPT OF PUBLIC SAFETY/RECORDS
IMPROVEMENT                           P.O. BOX 25307                             ATTN: SOPHIA C. PADILLA
JEANETTE VASQUEZ - ASB BUREAU CHIEF   ALBUQUERQUE, NM 87125                      P.O. BOX 1628
2040 S PACHECO, RM 202                                                           SANTA FE, NM 87504-1628
SANTA FE, NM 87505



NM HUMAN SERVICES DEPT-MEDICAL        NM MEDICAID                                NM PLUMBING SOLUTIONS LLC
ASSISTANCE DIVISION                   P.O. BOX 26500                             2206 S SILVER
ARK PLAZA ATTN:SARA CORDOVA           ALBUQUERQUE, NM 87125                      DEMING, NM 88030
P.O. BOX 2348
SANTA FE, NM 87504-2348



NM TAXATION & REVENUE DEPT            NMHCA                                      NMHU
P.O. BOX 8485                         4600A MONTGOMERY BLVD NE, SUITE 205        P.O BOX 9000
ALBUQUERQUE, NM 87198                 ALBUQUERQUE, NM 87109                      LAS VEGAS, NM 87701




NOA MEDICAL INDUSTRIES INC            NOA MEDICAL INDUSTRIES INC                 NOARBE, HAZEL E.
801 TERRY LANE                        801 TERRY LANE                             21 CHAPPEL LOOP
WASHINGTON, MO 63090                  WASHINGTON, MO 63090-3543                  FREEDOM, CA 95019




NOARBE, ZORA E.                       NOBBE, NICOLAS                             NOBLE MEDICAL, INC
54 QUINTA VISTA STREET                800 BLAZING STAR DRIVE                     19525 JANACEK COURT
WATSONVILLE, CA 95076                 WATERLOO, IL 62298                         BROOKFIELD, WI 53045




NOBLE, ADRIANNA                       NOBLE, ANGELIA M.                          NOBLE, BRITTANY P.
ADDRESS ON FILE                       ADDRESS ON FILE                            P.O. BOX 1544
                                                                                 BOONEVILLE, KY 41314
NOBLE, CHRIS            Case 20-10766-BLS    Doc 6J. Filed 04/07/20
                                      NOBLE, CINDY                    Page 1303
                                                                           NOBLE,of 1969
                                                                                 DIANA L.
5906 MONTCLAIRE LANE                  2328 LOWER TWIN ROAD                 320 FLAT BRANCH
SPRINGFIELD, OR 97478-8570            JACKSON, KY 41339                    JACKSON, KY 41339




NOBLE, DIANA                         NOBLE, DIXIE                          NOBLE, EMMA
320 FLAT BRANCH ROAD                 2210 HWY 476                          3534 MELODY DRIVE
JACKSON, KY 41339                    LOST CREEK, KY 41348                  AUGUSTA, GA 30906




NOBLE, FARRAH                        NOBLE, JEFF                           NOBLE, JENNIFER
ADDRESS ON FILE                      65 BLACKBERRY DRIVE                   2257 RILEY BRANCH ROAD
                                     JACKSON, KY 41339                     CLAYHOLE, KY 41317




NOBLE, JESSICA C.                    NOBLE, JO                             NOBLE, JOYCE A.
88 LOWER RIVER CANEY ROAD            103 ORCHARD DRIVE                     ADDRESS ON FILE
LOST CREEK, KY 41348                 ANNA, IL 62906




NOBLE, LEVI J.                       NOBLE, LISA                           NOBLE, LORI A.
65 BLACKBERRY DRIVE                  125553 LAFLIN                         ADDRESS ON FILE
JACKSON, KY 41339                    CALUMET PARK, IL 60827




NOBLE, MICHAEL T.                    NOBLE, MILLIE R.                      NOBLE, PAMELA J.
32 LLOYD DEAN LANE                   15 BROADWAY SPUR                      2168 HWY 476
LOST CREEK, KY 41348                 JACKSON, KY 41339                     LOST CREEK, KY 41348




NOBLE, ROBERT P.                     NOBLE, SALLY                          NOBLE, SHANNON
85454 TEAGUE LOOP                    392 LICK BRANCH ROAD                  ADDRESS ON FILE
EUGENE, OR 97405                     TALBERT, KY 41339




NOBLE, SHAYLA                        NOBLE, SONDRA                         NOBLE, WENDY J.
1885 BOWLING CREEK ROAD              580 MARIE ROBERTS ROAD                ADDRESS ON FILE
JACKSON, KY 41339                    LOST CREEK, KY 41348




NOBLETT, KATHRYN                     NOCHTA, SHARON                        NOE MD, GARY
318 SUNRISE COURT                    523 WILLIAMSBURG DRIVE, APT C         ADDRESS ON FILE
BLUE RIDGE, GA 30513                 BELLEVILLE, IL 62221




NOE, ANGEL L.                        NOE, ANGEL                            NOE, BRAD A.
ADDRESS ON FILE                      ADDRESS ON FILE                       2775 COREY LANE
                                                                           FULTS, IL 62244
NOE, CHERIE              Case 20-10766-BLS    Doc
                                       NOE, GARY MD6      Filed 04/07/20   Page 1304  of 1969
                                                                                NOE, GARY MD
P.O. BOX 1116                           ADDRESS ON FILE                         P.O. BOX 1116
LYMAN, WY 82937-1116                                                            LYMAN, WY 82937-1116




NOE, GARY                               NOE, JAMES                              NOEL, JOSHUA T.
ADDRESS ON FILE                         6022 BIG HURRICAN CREEK                 835 OLD MILL GROVE ROAD
                                        FORT GAY, WV 25514                      LAKE ZURICH, IL 60047




NOEL, KAITLYN                           NOELLE BUTLER                           NOFSINGER, DWIGHT L.
ADDRESS ON FILE                         1950 N BROAD ST                         P.O. BOX 57
                                        GALESBURG, IL 61401                     BEACH CITY, OH 44608




NOFTSINGER, RICHARD                     NOGELMEIER, RONALD G.                   NOGUERA, GLADYS
155 E. STREET SW                        1735 ADKINS STREET                      1604 MAPLEWOOD COURT
NAVARRE, OH 44662-9212                  EUGENE, OR 97401                        EDWARDSVILLE, IL 62025




NOH, SUNGMIN                            NOHR, CODIE J.                          NOKES, KATHRYN
4988 HWY 31                             553 NYGREEN STREET                      723 SO 1050 WEST
EVERGREEN, AL 36401                     GRANTSVILLE, UT 84029                   TOOELE, UT 84074




NOKES, KATHRYN                          NOLAN, APRILL                           NOLAN, KATHRYN
ADDRESS ON FILE                         ADDRESS ON FILE                         307 MYSTIC MOUNTAIN DRIVE
                                                                                MURPHY, NC 28906




NOLAN, KENNETH                          NOLAND, HARRY                           NOLEN, JOHN
ADDRESS ON FILE                         360 WABASH AVE N                        38 DANIEL ROAD
                                        BREWSTER, OH 44613-1042                 JACKSON, TN 38305




NOLES, HEATHER                          NOLES, RACHEL                           NOLES, RUSSELL
238 ROAD 9042                           600 TAYLOR CEMETERY ROAD                600 TAYLOR CEMETERY ROAD
FORT PAYNE, AL 35968                    BUENA VISTA, TN 38318                   BUENA VISTA, TN 38318




NOLES, SHERRY L.                        NOLIWHITE GROUP LLC                     NOLL, DOREEN
ADDRESS ON FILE                         144 SOUTHEAST PKWY, STE 200             ADDRESS ON FILE
                                        FRANKLIN, TN 37064




NOLL, MARY                              NOLL, RICKY                             NOLLE, STACIE L.
C/O JACK NOLL                           10762 BRANDT ROAD                       ADDRESS ON FILE
151 CARDINAL DRIVE                      ALHAMBRA, IL 62001
LOCK HAVEN, PA 17745
NOLLEY, DANKEAMICA     Case 20-10766-BLS
                                     NOM NOMDoc  6 Filed
                                              POPCORN       04/07/20
                                                        COMPANY           Page 1305  of 1969- ITV
                                                                               NONIE KENNEDY
195 DOUBLE DRIVE                     9834 EMERALD HILL ST NW                    14461 NARCISSE DRIVE
COVINGTON, GA 30016-1739             CANAL FULTON, OH 44614                     EASTVALE, CA 92880




NONO SLEEVE, LLC                      NOOJIN, CHRISTY M.                        NOOJIN, LILLIAN E.
P.O. BOX 742                          ADDRESS ON FILE                           2401 ALABAMA AVENUE NW
RIDERWOOD, MD 21193                                                             FORT PAYNE, AL 35967




NOONAN, MARYELLEN                     NOOR, RAZI                                NOORDA, KAREE A.
9806 S. SEELEY AVE                    29 DAIRY LANE                             ADDRESS ON FILE
CHICAGO, IL 60643-1746                MESQUITE, NV 89027




NORA M STEVERSON                      NORA MARTINEZ                             NORBERG, HELEN
213 POPLAR AVE                        1317 TUSCON                               166 COUNTY ROAD 853
FORREST CITY, AR 72335                BIG SPRING, TX 79720                      FORT PAYNE, AL 35967




NORBERG, PATRICIA L.                  NORBERT SCHACTNER                         NORBERTA HOLGUIN
ADDRESS ON FILE                       246 DAYTON ST                             ADDRESS ON FILE
                                      GALESBURG, IL 61401




NORCAL MUTUAL INSURANCE COMPANY       NORCAL MUTUAL INSURANCE COMPANY           NORCAL MUTUAL INSURANCE COMPANY
1700 BENT CREEK BLVD                  6034 WEST COURTYARD DR, SUITE 310         P.O. BOX 2080
MECHANICSBURG, PA 17050               AUSTIN, TX 78730                          MECHANICSBURG, PA 17055




NORCAL MUTUAL INSURANCE COMPANY       NORCAL MUTUAL INSURANCE COMPANY           NORCAL MUTUAL
P.O. BOX 398054                       P.O. BOX 398054                           6034 WEST COURTYARD DR, SUITE 310
SAN FANCISCO, CA 94139-8054           SAN FRANCISCO, CA 94139-8054              AUSTIN, TX 78730




NORCO, INC                            NORDICK, MARY                             NORDIKE, VAL
302 SHELLEY STREET                    2623 SUNMONT STREET NW                    113 N. RIEBELING
SPRINGFIELD, OR 97477-1963            MASSILLON, OH 44646                       P.O. BOX 416
                                                                                COLUMBIA, IL 62236




NORDSIECK, ERIC J.                    NORDSTROM, JERRY G.                       NORDSTROM, MICHAEL
ADDRESS ON FILE                       12249 W. 29TH STREET                      9 COBBLESTONE COURT
                                      BEACH PARK, IL 60099                      GRANITE CITY, IL 62040




NOREAST CAPITAL CORPORATION           NORED, GARY                               NOREM, COURTNEY
P.O. BOX 4128                         HC 70 P.O. BOX 375                        280 RIVERSIDE ROAD, APT 14-H
ANNAPOLIS, MD 21403                   TERLINGUA, TX 78745                       MESQUITE, NV 89027
NORICK, LORA L.           Case 20-10766-BLS   Doc
                                        NORIEGA,    6 Filed 04/07/20
                                                 JORGE                 Page 1306  of 1969
                                                                            NORIX GROUP, INC
12350 IROQUIOS ROAD                      427 CORY AVE                        1800 W HAWTHORNE LANE
APPLE VALLEY, CA 92308                   WAUKEGAN, IL 60085                  SUITE N
                                                                             WEST CHICAGO, IL 60185




NORIX GROUP, INC                         NORMA BANKS                         NORMA PHILLIPS ESTATE
1800 W HAWTHORNE LANE, SUITE N           13 W 125TH PL                       911 6TH STREET
WEST CHICAGO, IL 60185                   CHICAGO, IL 60628                   COLONA, IL 61241




NORMAN, BILLY                            NORMAN, COLLEEN                     NORMAN, DANAE A.
957 MCNAIR ROAD                          1008 W WHITE STREET, APT C          ADDRESS ON FILE
PLYMOUTH, NC 27962-9048                  MARION, IL 62959




NORMAN, DAVID                            NORMAN, DOUGLAS                     NORMAN, DR. STEVE E.
ADDRESS ON FILE                          4800 WOODSTONE AVE NW               124 LACY LANE
                                         MASSILLON, OH 44647-9024            JOHNSON CITY, TN 37615




NORMAN, JANICE M.                        NORMAN, LAKEISHA                    NORMAN, LINDA
710 TANNERS BRIDGE CIRCLE                1309 WILLARD AVE                    407 S CARTER AVE
BETHLEHEM, GA 30620                      ALTON, IL 62002                     BRINKLEY, AR 72021




NORMAN, MARSHA A.                        NORMAN, MICHAEL D.                  NORMAN, ROBERT J.
1347 STONEFIELD DRIVE                    162 COUNTY ROAD 738                 6433 SHENANDOAH AVENUE NW
WATERLOO, IL 62298                       VALLEY HEAD, AL 35989               CANTON, OH 44718




NORMAN, VICTORIA N.                      NORMANN, BRYAN J.                   NORMARK, INC
2367 RABBIT HILL CIRCLE                  510 WARRINGTON AVE                  286 MONTROSE AVE
DACULA, GA 30019                         EUGENE, OR 97404                    ELMHURST, IL 60126




NORREGAARD, LUCIANNA                     NORRIS KATHIE A                     NORRIS TRUCKING, INC
57 EMORY CIRCLE                          ADDRESS ON FILE                     5280 E. DUBOIS ROAD
BLAIRSVILLE, GA 30512                                                        WALTONVILLE, IL 62894




NORRIS, ANNETTE                          NORRIS, BRANDY                      NORRIS, CLAY
534 SAINT ANDREWS                        ADDRESS ON FILE                     4004 WINDBROOK COURT
FORREST CITY, AR 72335                                                       LOUISVILLE, KY 40220




NORRIS, DEVIN R.                         NORRIS, IRMA                        NORRIS, JENNIFER
ADDRESS ON FILE                          11342 SOUTH GREEN STREET            ADDRESS ON FILE
                                         CHICAGO, IL 60643
NORRIS, KIMBERLY R.    Case 20-10766-BLS
                                     NORRIS,Doc
                                            LOIS 6        Filed 04/07/20      Page 1307  ofMAGGIE
                                                                                   NORRIS,  1969 R.
534 BUCKEYE DRIVE                      11381 POPE STREET                            1346 WILLARD STREET
TROY, IL 62294                         MARION, IL 62959                             GALESBURG, IL 61401




NORRIS, MAX E.                         NORRIS, PAIGE L.                             NORRIS, SABRINA
6939 SCOTTS VALLEY ROAD                ADDRESS ON FILE                              6895 LAKE DR SW
YONCALLA, OR 97499                                                                  NAVARRE, OH 44662




NORRIS, SCOTT S.                       NORRIS, SHERRA D.                            NORRIS, TERRY L.
7605 BUNCHES CHAPEL ROAD               ADDRESS ON FILE                              ADDRESS ON FILE
PARSONS, TN 38363




NORTH AMERICA RESCUE, LLC              NORTH AMERICAN CORP OF ILLINOIS              NORTH AMERICAN HEALTHCARE
35 TEDWALL COURT                       2101 CLAIRE COURT                            MANAGEMENT SERVICES
GREER, SC 29650                        GLENVIEW, IL 60025                           9245 WATSON INDUSTRIAL PARK
                                                                                    ST LOUIS, MO 63126




NORTH AMERICAN HEALTHCARE MGMT SVC     NORTH AMERICAN INS CO                        NORTH AMERICAN MOTOR OFFICERS
9245 WATSON INDUSTRIAL PARK            P.O. BOX 44160                               ASSOCIATION
CRESTWOOD, MO 63126                    MADISON, WI 53744                            P.O. BOX 871
                                                                                    CLINTON, WA 98236




NORTH AMERICAN RESCUE LLC              NORTH AMERICAN RESCUE, LLC                   NORTH AMERICAN RESCUE, LLC
P.O. BOX 360320                        35 TEDWALL COURT                             P.O. BOX 360320
PITTSBURGH, PA 15251-6320              GREER, SC 29650                              PITTSBURGH, PA 15251-6320




NORTH AMERICAN RESOURCE, INC.          NORTH AMERICAN VAN LINES, INC 774768         NORTH ARKANSAS COLLEGE
35 TEDWALL COURT                       4768 SOLUTIONS CENTER                        1515 PIONEER DRIVE
GREER, SC 29650                        CHICAGO, IL 60677-4007                       HARRISON, AR 72601




NORTH CAROLINA BOARD OF PHARMACY       NORTH CAROLINA BOARD OF PHARMACY             NORTH CAROLINA DEP’T OF HEALTH AND
6015 FARRINGTON RD, STE 201            6015 FARRINGTON ROAD                         HUMAN SERVICES
CHAPEL HILL, NC 27517                  CHAPEL HILL, NC 27517                        ATTN: CECELIA BOONE
                                                                                    ACUTE AND HOME CARE LIC. AND CERT.
                                                                                    SECTION
                                                                                    2712 MAIL SERVICE CENTER
                                                                                    RALEIGH, NC 27699-2712

NORTH CAROLINA DEP’T OF HEALTH AND     NORTH CAROLINA DEP’T OF HEALTH AND           NORTH CAROLINA DEP’T OF HEALTH AND
HUMAN SERVICES                         HUMAN SERVICES                               HUMAN SERVICES
ATTN: JENNY ROLLINS; DIANE SINGLETON   ATTN: JOY BAKER                              ATTN: LINDA JOHNSON
RADIATION PROTECTION SECTION           DIVISION OF MENTAL HEALTH/DD/SA              ACUTE AND HOME CARE LICENSURE
1645 MAIL SERVICE CENTER               SERVICES DRUG CONTROL UNIT                   CERTIFICATION SECTION
RALEIGH, NC 27699-1645                 3008 MAIL SERVICE CENTER                     2712 MAIL SERVICE CENTER
                                       RALEIGH, NC 27699-3008                       RALEIGH, NC 27699-2712

NORTH CAROLINA DEP’T OF HEALTH AND     NORTH CAROLINA DEP’T OF HEALTH AND           NORTH CAROLINA DEP’T OF HEALTH AND
HUMAN SERVICES                         HUMAN SERVICES                               HUMAN SERVICES
ATTN: RANDY CROW                       CON SECTION                                  DIV. OF HEALTH SERVICE
RADIATION PROTECTION SECTION           809 RUGGLES DRIVE                            REGULATION/CLIA CERTIFICATION
RADIOACTIVE MATERIALS BRANCH           RALEIGH, NC 27603                            2713 MAIL SERVICE CENTER
1645 MAIL SERVICE CENTER                                                            RALEIGH, NC 27699-2713
RALEIGH, NC 27699-1645
NORTH CAROLINA DEP’T OFCase   20-10766-BLS
                         HEALTH AND           Doc 6 DEPARTMENT
                                       NORTH CAROLINA   Filed 04/07/20
                                                                   OF    Page 1308
                                                                              NORTH of  1969 DEPARTMENT OF
                                                                                     CAROLINA
HUMAN SERVICES                         HEALTH AND HUMAN SERVICES              HEALTH AND HUMAN SERVICES
DIVISION OF MEDICAL ASSISTANCE         ATTN: DAVE RICHARD, DEPUTY SECRETARY   ATTN: LISA CORBETT, GENERAL COUNSEL
CSC                                    2501 MAIL SERVICE CENTER               2001 MAIL SERVICE CENTER
P.O. BOX 300009                        RALEIGH, NC 27699-2501                 RALEIGH, NC 27699-2000
RALEIGH, NC 27622-8009

NORTH CAROLINA DEPARTMENT OF           NORTH CAROLINA DEPARTMENT OF            NORTH CAROLINA DEPARTMENT OF
REVENUE                                REVENUE                                 REVENUE
501 N WILMINGTON ST                    P.O. BOX 25000                          P.O. BOX 25000
RALEIGH, NC 27604                      RALEIGH, N.C. 27640-0650                RALEIGH, NC 27640-0615




NORTH CAROLINA DEPARTMENT OF STATE     NORTH CAROLINA DEPT OF LABOR            NORTH CAROLINA DEPT OF LABOR
TREASURER                              1101 MAIL SERVICE CTR                   4 W EDENTON STREET
NC DEPARTMENT OF STATE TREASURER       RALEIGH, NC 27699-1101                  RALEIGH, NC 27603
UNCLAIMED PROPERTY PROGRAM
3200 ATLANTIC AVENUE
RALEIGH, NC 27604-1668

NORTH CAROLINA DEPT OF STATE           NORTH CAROLINA OCCUPATIONAL SAFETY      NORTH CAROLINA OFFICE OF THE
TREASURER                              AND                                     ATTORNEY
UNCLAIMED PROPERTY PROGRAM             HEALTH ADMINISTRATION                   GENERAL
3200 ATLANTIC AVE                      111 HILLSBOROUGH STREET                 CONSUMER PROTECTION DIVISION
RALEIGH, NC 27604-1668                 RALEIGH, NC 27601-1092                  9001 MAIL SERVICE CTR
                                                                               RALEIGH, NC 27699-9001

NORTH CAROLINA STATE TREASURER         NORTH CHICAGO VA MEDICAL CENTER         NORTH COAST FIRE PROTECTION INC
NC DEPT OF HEALTH & HUMAN SVCS         3001 GREENBAY ROAD                      1260 NORTH PARK AVE
2501 MAIL SERVICE CENTER               NORTH CHICAGO, IL 60064-3048            WARREN, OH 44483
RALEIGH, NC 27699-2501




NORTH COAST MEDICAL INC                NORTH COAST MEDICAL, INC                NORTH COAST MEDICAL, INC
8100 CAMINO ARROYO                     780 JARVIS DRIVE, SUITE 100             ATTN: ACCOUNTS REC.
GILROY, CA 95020                       MORGAN HILLS, CA 95037                  8100 CAMINO ARROYO
                                                                               GILROY, CA 95020




NORTH COUNTRY HEALTHCARE, INC.         NORTH COUNTY NEWS INC                   NORTH DAKOTA DEPARTMENT OF TRUST
8 CLOVER LANE                          124 SOUTH MAIN STREET                   LANDS
WHITEFIELD, NH 03598                   RED BUD, IL 62278                       1707 NORTH 9TH STREET
                                                                               UNCLAIMED PROPERTY DIVISION
                                                                               BISMARCK, ND 58501



NORTH DAKOTA OFFICE OF STATE TAX       NORTH DAKOTA SECRETARY OF STATE         NORTH FIELD INSTRUMENTS
COMMISSIONER                           600 E. BOULEVARD AVENUE, DEPT 108       P.O. BOX 671123
600 E. BOULEVARD AVE., DEPT. 127       BISMARCK, ND 58505-0500                 DALLAS, TX 75267-1123
BISMARCK, ND 58505




NORTH GA AUTISM FOUNDATION, INC.       NORTH GEORGIA RESPI-CARE                NORTH HIGHLAND COMPANY LLC, THE
11 OVERVIEW DR.                        101 RIVERSTONE VISTA, STE 103           3333 PIEDMONT RD NE, STE 1000
SUITE 203                              BLUE RIDGE, GA 30513                    ATLANTA, GA 30305
BLUE RIDGE, GA 30513




NORTH HIGHLAND COMPANY LLC, THE        NORTH JACKSON PLAZA                     NORTH JR., STEVEN C.
P.O. BOX 744426                        ATTN: JEFFREY HOWELL                    ADDRESS ON FILE
ATLANTA, GA 30374-4426                 P.O. BOX 892
                                       JACKSON, KY 41339
NORTH LAKE CARDIOVASCULARCaseCENTER
                               20-10766-BLS
                                    PC         Doc 6 Filed
                                        NORTH MISSISSIPPI     04/07/20
                                                          TWO-WAY           Page 1309
                                                                                 NORTH of 1969SURGERY CENTER, LLP
                                                                                       PLATTE
310 S GREENLEAF, STE 212                COMMUNICATIONS, INC.                      621 WEST FRANCIS
GURNEE, IL 60031                        1170 GWYNN ROAD                           NORTH PLATTE, NE 69101
                                        NESBIT, MS 38651




NORTH SHORE GAS                        NORTH SHORE GAS                            NORTH SHORE UNIVERSITY HEALTH
ATTN CUSTOMER SERVICE                  P.O. BOX 2968                              SYSTEM
200 E RANDOLPH ST                      MILWAUKEE, WI 53201-2968                   2650 RIDGE AVE
CHICAGO, IL 60601-6302                                                            EVANSTON, IL 60201-0000




NORTH SHORE WATER RECLAMATION          NORTH SHORE WATER RECLAMATION              NORTH STATE MEDICAL TRANSPORT
14770 W KOEPSEL DR                     P.O. BOX 2140                              P.O. BOX 1280
GURNEE, IL 60031                       BEDFORD PARK, IL 60499-2140                KNIGHTDALE, NC 27545-1280




NORTHCUTT, RANDY                       NORTHEAST GEORGIA MEDICAL CENTER,          NORTHEAST MED CONSULTING
ADDRESS ON FILE                        INC                                        57 W LIBERTY STREET
                                       743 SPRING STREET                          HUBBARD, OH 44425
                                       GAINESVILLE, GA 30501




NORTHEAST MEDICAL CONSULTING, INC      NORTHEAST MIDLAND COUNTY VOLUNTEER         NORTHEAST MONITORING, INC
2777 OAK MANOR DRIVE                   P.O. BOX 10005                             141 PARKER ST
ATTN: A/R                              MIDLAND, TX 79702                          SUITE 111
MOUNT PLEASANT, SC 29466                                                          MAYNARD, MA 01754




NORTHEAST SCIENTIFIC, INC              NORTHEASTERN ORTHOPEDICS, LLC              NORTHERN HOSPITAL OF SURRY COUNTY
2142 THOMASTON AVE                     602 S ACADEMY STREET                       830 ROCKFORD STREET
WATERBURY, CT 06704                    AHOSKIE, NC 27910                          P.O. BOX 1101
                                                                                  MOUNT AIRY, NC 27030-1101




NORTHERN ILL FUNERAL SERVICE, INC      NORTHERN ILLINOIS AIRSHOW                  NORTHERN NM CHILDRENS FOOTBALL
31632 N ELLIS UNIT 209                 2601 W PLANE REST DRIVE                    LEAGUE
VOLO, IL 60073                         WAUKEGAN, IL 60087                         C/O JANET ULIBARRI
                                                                                  6770 JAGUAR DRIVE
                                                                                  SANTA FE, NM 87507



NORTHERN OH EMERGENCY PHYSICIANS       NORTHERN PRINT NETWORK                     NORTHERN PRINT NETWORK
P.O. BOX 677979                        2801 LAKESIDE DR                           2801 LAKESIDE DRIVE, SUITE 110
DALLAS, TX 75267-7979                  SUITE 110                                  BANOCKBURN, IL 60015
                                       BANNOCKBURN, IL 60015




NORTHERN ROCKIES MEDICAL CENTER        NORTHERN TRUST COMPANY, THE (2669,         NORTHERN WYOMING SURGICAL CENTER,
802 SECOND STREET S.E.                 2778)                                      LLC
CUT BANK, MT 59427-3331                ATTN ANDREW LUSSEN OR PROXY MGR            732 LINDSAY LANE
                                       801 S. CANAL STREET                        CODY, WY 82414
                                       ATTN: CAPITAL STRUCTURES-C1N
                                       CHICAGO, IL 60607

NORTHFIELD INSTRUMENT SERVICES         NORTHFIELD MEDICAL INC                     NORTHFIELD MEDICAL INC
4121 COX ROAD, SUITE 108               P.O. BOX 671123                            PO BOX 6125
GLEN ALLEN, VA 23060                   DALLAS, TX 75267-1123                      CAROL STREAM, IL 60197
NORTHFIELD MEDICAL, INC Case 20-10766-BLS    DocMEDICAL,
                                      NORTHFIELD   6 Filed  INC04/07/20    Page 1310 of 1969
                                                                                NORTHSHORE PHYSICIAN ASSOCIATIES
P.O. BOX 6125                         P.O. BOX 671123                            P.O. BOX 211382
CAROL STREAM, IL 60197                DALLAS, TX 75267-1123                      SAINT PAUL, MN 55121-3832




NORTHSIDE HOSPITAL, INC. DBA NORTH      NORTHSIDE MOVEMENT                       NORTHSTAR ANESTHESIA OF ILLINOIS LLC
GEORGIA OB/GYN SPECIALISTS              707 N. GREGG STREET                      6225 N STATE HIGHWAY 161, SUITE 200
ATTN: DEMETRI BROWE                     BIG SPRING, TX 79720                     IRVING, TX 75038
2855 OLD HIGHWAY 5 NORTH
BLUE RIDGE, GA 30513



NORTHSTAR ANESTHESIA OF ILLINOIS LLC    NORTHSTAR ANESTHESIA OF OHIO LLC         NORTHUMBERLAND COUNTY TAX CLAIMS
ROBERT S BURTKER; BRENNAN BURTKER       6225 N. STATE HWY 161 STE 200            399 STADIUM DRIVE
LLC                                     IRVING, TX 75038                         SUNBURY, PA 17801
20 N CLARK ST, SUITE 1800
CHICAGO, IL 60602



NORTHWAY, LAURA                         NORTHWEST ANESTHESIA PHYSICIAN           NORTHWEST CHRISTIAN UNIVERSITY
ADDRESS ON FILE                         P.O. BOX 7247                            828 EAST 11TH AVE
                                        SPRINGFIELD, OR 97475-0011               EUGENE, OR 97401




NORTHWEST COMMUNITY HOSPITAL            NORTHWEST EUGENE FAMILY DENTAL           NORTHWEST FIRE SUPPRESSION INC
EMS DEPARTMENT                          51 SANTA CLARA AVENUE                    1800 NW 169TH PL C600
800 W. CENTRAL ROAD                     EUGENE, OR 97404                         BEAVERTON, OR 97006-4848
ARLINGTON HEIGHTS, IL 60005




NORTHWEST HAZMAT                        NORTHWEST HAZMAT                         NORTHWEST MEDICAL CENTER
36 W Q STREET                           36 W. Q STREET                           609 W. MAPLE AVE
SPRINGFIELD, OR 97477-2142              SPRINGFIELD, OR 97477-2142               SPRINGDALE,, AK 72764-5394




NORTHWEST MOTHERS MILK BANK             NORTHWEST NEURO NERVE MONITORING         NORTHWEST PATHOLOGY SVCS
417 SW 117TH AVE SUITE 105              LLC                                      P.O. BOX 72059
PORTLAND, OR 97225                      P.O. BOX 280113                          SPRINGFIELD, OR 97475-0285
                                        LAKEWOOD, CO 80228-0113




NORTHWEST PODIATRIC LABORATORY, INC.    NORTHWEST SURGICAL ARTS, LLC             NORTHWEST SURROGACY CENTER
1091 FIR AVE                            911 COUNTRY CLUB RD.,SUITE 100           2722 NE 33RD AVE
BLAINE, WA 98230                        EUGENE, OR 97401                         PORTLAND, OR 97212




NORTHWESTERN LAKE FOREST HOSPITAL-      NORTHWESTERN LAKE FOREST HOSPITAL-       NORTHWESTERN MEDICAL CENTER
MED STAFF DEPT                          MED STAFF DEPT                           133 FAIRFIELD STREET
1000 N WESTMORELAND RD                  1000 N WESTMORELAND ROAD                 SAINT ALBANS, VT 05478-1726
ATTN: MEDICAL STAFF                     ATTN: MEDICAL STAFF
LAKE FOREST, IL 60045                   LAKE FOREST, IL 60045



NORTHWESTERN MEDICAL GROUP              NORTHWESTERN MEDICINE MCHENRY            NORTHWESTERN MEDICINE
28269 NETWORK PLACE                     HOSPITAL                                 P.O. BOX 4090
CHICAGO, IL 60673-1282                  4201 MEDICAL CENTER DRIVE                CAROL STREAM, IL 60197-4090
                                        MCHENRY, IL 60050
                        Case 20-10766-BLS
NORTON COMMUNITY PHYSICIANS  GROUP    NORTON,Doc
                                              BILL 6   Filed 04/07/20   Page 1311 ofDONNIE
                                                                             NORTON, 1969 M.
OCCUMED HEALTH CENTER                 510 SUMMIT STREET                      P.O. BOX 1622
P.O. BOX 3556                         BLUE RIDGE, GA 30513                   BLUE RIDGE, GA 30513
JOHNSON CITY, TN 37602-3556




NORTON, JENNIFER A.                   NORTON, KEVIN                          NORTON, KIMBERLY
34 INDIAN RIDGE ROAD                  7407 CEDAR DT                          350 GROVELAND DRIVE
EPWORTH, GA 30541                     GODFREY, IL 62035                      WINDER, GA 30680-8414




NORTON, KRISTINA L.                   NORTON, LESLYE A.                      NORTON, PHYLLIS J.
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




NORWOOD, LEAH (TORI) V.               NORWOOD, ROBERT D.                     NOSCHKA, GRACE R.
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




NOSKY, SARAH R.                       NOSLER, WALLIS C.                      NOTARY PUBLIC ASSOCIATION
8563 NOBLEMAN CIRCLE NW               2332 VAN NESS ST                       P.O. BOX 1101
MASSILLON, OH 44646                   EUGENE, OR 97403                       CRYSTAL LAKE, IL 60039-1101




NOTARY PUBLIC ASSOCIATION             NOTARY PUBLIC UNDERWRITERS             NOTCH, BERNICE
PO BOX 1101                           P.O. BOX 140106                        418 5TH ST SW
CRYSTAL LAKE, IL 60039-1101           AUSTIN, TX 78714                       MASSILLON, OH 44647




NOTHNAGEL, KRIS                       NOTTER, PHYLLIS                        NOTTMEIER, STACY L.
37 JENNIFER DRIVE                     304 E SHILOH DRIVE                     ADDRESS ON FILE
GLEN CARBON, IL 62034                 RED BUD, IL 62278




NOUD, ADAM                            NOVA BIOMEDICAL                        NOVA MED INC
428 BLOOMFIELD COURT                  P.O. BOX 983115                        8136 N LAWNDALE AVE
LEBANON, IL 62254                     BOSTON, MA 02298-3115                  SKOKIE, IL 60076




NOVA MEDSYSTEMS, INC                  NOVA, ABEL                             NOVACK, KATHERINE A.
P.O. BOX 220699                       1927 YORK STREET                       ADDRESS ON FILE
KIRKWOOD, MO 63122                    BLUE ISLAND, IL 60406




NOVACK, KATHERINE A.                  NOVACOM INCORPORATED                   NOVACOM INCORPORATED
ADDRESS ON FILE                       100 S 13TH STREET                      100 S 13TH STREET
                                      HERRIN, IL 62948                       P.O. BOX 578
                                                                             HERRIN, IL 62948
NOVACOM INCORPORATEDCase 20-10766-BLS
                                  NOVADAQDoc 6 Filed 04/07/20             Page 1312
                                                                               NOVAK of 1969 R
                                                                                     CHARLES
100 S. 13TH ST                    C/O T60103U                                  9111 OLD STATE RT 14
P O BOX 578                       P.O. BOX 66512                               DU QUOIN, IL 62832
HERRIN, IL 62948                  CHICAGO, IL 60666-0512




NOVAK, CARL J.                           NOVALES, LINDA M.                     NOVAMED INCORPORATED
ADDRESS ON FILE                          ADDRESS ON FILE                       8136 NORTH LAWNDALE AVE
                                                                               SKOKIE, IL 60076-3413




NOVAMED, INC                             NOVARAD CORPORATION                   NOVATECH
8136 NORTH LAWNDALE AVE                  752 EAST 1180 SOUTH, SUITE 200        P.O. BOX 372
SKOKIE, IL 60076                         AMERICAN FORK, UT 84003               MEMPHIS, TN 38101




NOVEEN CONSULTING, LLC                   NOVERO, MELANIE                       NOVITAS SOLUTIONS
9100 MARKSFIELD ROAD, SUITE 100          601 LOWER MARINE ROA, APT 1A          P O BOX 3103
LOUISVILLE, KY 40222                     TROY, IL 62294                        MECHANICSBURG, PA 17055-1819




NOVITAS SOLUTIONS                        NOVITAS                               NOVO SURGICAL INC
P.O. BOX 3105                            P.O. BOX 3105                         700 COMMERCE DR
MECHANICSBURG, PA 17055-1819             MECHANICSBURG, PA 17055-1821          OAK BROOK, IL 60523




NOVOPRINT USA, INC                       NOVOSEL, EMILY M.                     NOVOTNY, BEVERLY L.
740 N. PLANKINTON AVE, SUITE 500         ADDRESS ON FILE                       4917 W PAXTON ROAD
MILWAUKEE, WI 53203                                                            OAK LAWN, IL 60453




NOWDEN, KAMARI C.                        NOWELL, CHRISTOPHER                   NOWELS, LORRAINE
8502 S. MORGAN CHICAGO                   2380 BIBLE GROVE ROAD                 11521 S LOOMIS
CHICAGO, IL 60620                        LEXINGTON, TN 38351                   CHICAGO, IL 60643




NOWLAND, DALE                            NOX MEDICAL, LLC                      NOX MEDICAL, LLC
7737 N. BROWN LANE                       5000 RESEARCH COURT, SUITE 500        5000 RESEARCH CT., SUITE 500
WALTONVILLE, IL 62894                    SUWANEE, GA 30024                     SUWANEE, GA 30024




NOX MEDICAL, LLC                         NP NOW LLC                            NP NOW, LLC
6485 SHILOH ROAD, BUILDING B, UNIT 500   P.O. BOX 30172                        P.O. BOX 30172
ALPHARETTA, GA 30005-0000                CHARLESTON, SC 29417                  CHARLESTON, SC 29417




NRC REGION IV OFFICE                     NSK AMERICA CORPORATION               NTCA BENEFITS
ATTN: MICHELLE R. SIMMONS, SENIOR        P.O. BOX 2675                         EDI 39026, UHSS
HEALTH PHYSICIST; KARLA FUELL,           CAROL STREAM, IL 60132-2675           P.O. BOX 30783
COUNSEL                                                                        SALT LAKE CITY, UT 84130-0783
1600 E. LAMAR BLVD.
ARLINGTON, TX 76011
NTHRIVE, INC             Case 20-10766-BLS    Doc
                                       NTNL ASC    6 CRRS
                                                OF LTR FiledHLTH
                                                              04/07/20
                                                                 PLN     Page 1313  of 1969
                                                                              NTS COMMUNICATIONS INC
P.O. BOX 733492                          20547 WAVERLY COURT                   1220 BROADWAY
DALLAS, TX 75373-3492                    ASHBURN, VA 20149-0001                LUBBOCK, TX 79401




NTS COMMUNICATIONS, INC                  NTT DATA INC                          NUANCE COMMUNICATIONS, INC
P.O. BOX 10730                           P.O. BOX 677956                       P.O. BOX 2561
LUBBOCK, TX 79408-3730                   DALLAS, TX 75267-7956                 CAROL STREAM, IL 60132-3576




NUANCE COMMUNICATIONS, INC               NUCKOLLS, KELLIE                      NUEAR
WORLDWIDE HEADQUARTERS                   614 SUNRISE RD.                       1103 W MAIN STREET
1 WAYSIDE ROAD                           BLUE RIDGE, GA 30513                  MARION, IL 62959
BURLINGTON, MA 01803




NUESSLE, NANETTE                         NUEVA LUZ COUNSELING SERVICES         NUGENT, KENNETH S.
ADDRESS ON FILE                          903 E BROWN APT 108                   ONE 10TH STREET, SUITE 550
                                         ALPINE, TX 79830                      AUGUSTA, GA 30901




NUGENT, LUELLA                           NUGENT, PATRICK                       NUKALA MD, ASWIN
130 MCDERMOTT ROAD                       17235 71ST COURT                      847 CHICAGO AVE, APT 503
HARRISBURG, IL 62946                     TINLEY PARK, IL 60477                 EVANSTON, IL 60202




NULL, MEESHA N.                          NULL, MELINDA                         NULSEN, DAVID J.
ADDRESS ON FILE                          2515 LIBERTY DRIVE                    ADDRESS ON FILE
                                         MARYVILLE, IL 62062




NUMBER ONE NAILS INC                     NUMED, INC                            NUNES, ELAINE G.
258 HOGAN BLVD                           P.O. BOX 1098                         390 FAIRWAY WALK DRIVE
MILL HALL, PA 17751                      DENTON, TX 76202                      LAWRENCEVILLE, GA 30043




NUNES, KELLY R.                          NUNES, TERI S.                        NUNEZ HERRERA, BRENDA
816 LAKEVIEW                             ADDRESS ON FILE                       ADDRESS ON FILE
STANSBURY, UT 84074




NUNEZ, ADRIANA A.                        NUNEZ, CARLOS                         NUNEZ, LUIS P.
1207 LAURELHURST DRIVE                   ADDRESS ON FILE                       4018 GREGORY DR
EUGENE, OR 97402                                                               ZION, IL 60099




NUNEZ, SAMANTHA S.                       NUNEZ, VIMARIS                        NUNEZ-HARTSOCK, JULIANNA
408 N 4TH AVE                            435 ALPINE DRIVE                      1430 JOSE AVE, APT 205
BARSTOW, CA 92311                        ROUND LAKE, IL 60073                  SANTA CRUZ, CA 95062
NUNGESTER, MICHELLE L. Case 20-10766-BLS
                                     NUNLEY,Doc   6 Filed 04/07/20
                                              GERRI                      Page 1314 ofMARILYN
                                                                              NUNLEY, 1969 M.
12895 UVAS ROAD, LOT 303             808 IVY RIDGE DRIVE                      ADDRESS ON FILE
MORGAN HILL, CA 95037                LOGANVILLE, GA 30052




NUNLEY, OLIVIA L.                    NUNLEY, ROSE                             NUNN, CYNTHIA D.
ADDRESS ON FILE                      35 ROAD 932                              2 MARS DRIVE
                                     FORT PAYNE, AL 35968                     BELLEVILLE, IL 62226




NUNN, JAYLYNN K.                     NUNNALLY, AMOS                           NUNO, ALMA J.
12100 HIDDEN VALLEY RD NW            2190 CHANTICLEER AVE, APT16              14505 S. MCKINLEY AVE
DEMING, NM 88030                     SANTA CRUZ, CA 95062                     POSEN, IL 60469




NURNBERGER, SUE H.                   NURSES CHOICE CORP                       NURSS-ULLINSKEY, JENNIFER
ADDRESS ON FILE                      6611 AMSTERDAM WAY                       504 DODGE STREET
                                     WILMINGTON, NC 28405                     KEWANEE, IL 61443




NUSSBAUM, PEARL                      NUSSBAUM, WANDA A.                       NUSSDORFER, NANCY E.
15511 HACKETT ROAD                   3241 RUSTY AVE SW                        1196 MANCHESTER AVE NW
DALTON, OH 44618                     CANTON, OH 44706-3330                    MASSILLON, OH 44647




NUSTEP LLC                           NUSTEPP,INC.                             NUTECH MEDICAL INCORPORATED
5111 VENTURE DRIVE, SUITE 1          5111 VENTURE DRIVE STE 1                 P.O. BOX 36639
ANN ARBOR, MI 48108                  ANN ARBOR                                BIRMINGHAM, AL 35236
                                     ANN ARBOR, MI 48108




NUTECH SPINE, INC.                   NUTRACE                                  NUTRITION PLUS
600 LUCKIE DRIVE, SUITE 315          3800 LAKEVIEW DRIVE                      P.O. BOX 383
BIRMINGHAM, AL 35223                 PFAFFTOWN, NC 27040                      GREENVILLE, NC 27835




NUTTER, SHERRY                       NUTTER, SUMMER JONES                     NUTTING, EMILY
ADDRESS ON FILE                      2951 CHIPPENDALE STREET NW               6535 HENRY MIDWAY RD
                                     MASSILLON, OH 44646                      HENRY, TN 38231-3450




NUTTING, JAMES                       NUVASIVE CLINICAL SERV, INC.             NUVASIVE INC
701 WALNUT AVE W                     10275 LITTLE PATUXENT PWAY, SUITE 300    P O BOX 741902
MCKENZIE, TN 38201-1941              COLUMBIZ, MD 21044                       ATLANTA, GA 30384-1902




NUVASIVE, INC                        NUVASIVE, INC                            NUVASIVE, INC
7475 LUSK BLVD                       FILE 50678                               FILE 50678
SAN DIEGO, CA 92106                  LOS ANGELES, CA 90074-0678               LOS ANGELES, CA 90074-0678
NUVASIVE, INC           Case 20-10766-BLS    Doc
                                      NUVASIVE,  INC6 Filed 04/07/20   Page 1315  ofOF1969
                                                                            NV DEPT    TAXATION
P.O. BOX 50678                        P.O. BOX 741902                        STATE OF NV - SALES/USE
LOS ANGELES, CA 90074-0678            ATLANTA, GA 30384-1902                 P.O. BOX 7165
                                                                             SAN FRANCISCO, CA 94120-7165




NV STATE FIRE MARSHAL                 NV STATE PUBLIC HLTH LABORATORY        NVISION BIOMEDICAL TECHNOLOGIES
107 JACOBSEN WAY                      UNR-NV NEW BORN SCREENING PROGRAM      P.O. BOX 591512
CARSON CITY, NV 89711                 1660 N VIRGINIA ST                     SAN ANTONIO, TX 78259
                                      RENO, NV 89503-0703




NW NATURAL                            NW NATURAL                             NW THERAPY SYSTEMS, INC
220 NW 2ND AVE                        P.O. BOX 6017                          9805 NE 116TH ST.
PORTLAND, OG 97209                    PORTLAND, OR 97228-6017                KIRKLAND, WA 98034




NWA RETIREES WELFARE TRUST            NWACHUKU, VICTOR                       NWORGU, CHIMEREMEZE
2323 EASTLAKE AVE E                   36 MOUNT OLYMPUS ROAD                  2417 FLEETWOOD DRIVE
SEATTLE, WA 98102-3305                SILVER CITY, NM 88061                  JOLIET, IL 60432




NXSTAGE MEDICAL, INC                  NYBURG ZENDRA THAE                     NYDIA SANTOS-MARTINEZ
DEPT CH 17659                         1137 S STREET                          3702 SOUTHPORT
PALATINE, IL 60055-7659               SPRINGFIELD, OR 97477                  SAN ANTONIO, TX 78223




NYLEN, ASHLEY                         NYLIN, ANTHONY J.                      NYMAN, AARON
602 MIRAMAR DRIVE                     ADDRESS ON FILE                        8734 CARDINAL CREEK DRIVE
SANTA CRUZ, CA 95060                                                         ST. JACOB, IL 62281




NYMAN, AMBER D.                       NYMAN, DOUGLAS                         NYMON, LINDA
323 VINE STREET                       486 LONG RUN ROAD                      1302 RAINBOW RDG
P.O. BOX 34                           MILL HALL, PA 17751-8711               MESQUITE, NV 89034-1157
CAMERON, IL 61423




NYSE MARKET DE, INC                   O C TANNER RECOGNITION COMPANY         O C TANNER RECOGNITION COMPANY
P.O. BOX 734514                       1930 SOUTH STATE STREET                P.O. BOX 410023
CHICAGO, IL 60673-4514                SALT LAKE CITY, UT 84115               SALT LAKE CITY, UT 84141-0023




O FINCH, PATRICK                      O’ROURKE, DO, LUKE                     OAHHS
DBA GILA VALLEY ELECTRIC              ADDRESS ON FILE                        4000 KRUSE WAY PL 2-100
11587 HWY 180 E                                                              LAKE OSWEGO, OR 97035
SILVER CITY, NM 88061




OAHHS                                 OAK FOREST CHAMBER OF COMMERCE         OAK HILL ADVISORS LP
4000 KRUSE WAY PLACE , APT 2-100      15440 S. CENTRAL AVE                   FUTURE FUND BOARD OF GUARDIANS
LAKE OSWEGO, OR 97035                 OAK FOREST, IL 60452                   ATTN CHRISTY BRINKMAN
                                                                             623 HAMACHER
                                                                             WATERLOO, IL 62298
OAK HILL ADVISORS LP    Case 20-10766-BLS    Doc
                                      OAK HILL     6 Filed
                                               ADVISORS LP   04/07/20 Page 1316  ofADVISORS
                                                                           OAK HILL 1969 LP
ILLINOIS STATE BOARD OF INVESTMENT-4  INDIANA PUBLIC RETIREMENT SYSTEM-2   LERNER ENTERPRISES LLC
ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN                ATTN CHRISTY BRINKMAN
623 HAMACHER                          623 HAMACHER                         623 HAMACHER
WATERLOO, IL 62298                    WATERLOO, IL 62298                   WATERLOO, IL 62298



OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP
MASTER SIF SICAV-SIF-2                OCA OHA CREDIT FUND LLC               OHA BCSS SSD II, L.P.
ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN
623 HAMACHER                          623 HAMACHER                          623 HAMACHER
WATERLOO, IL 62298                    WATERLOO, IL 62298                    WATERLOO, IL 62298



OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP
OHA CENTRE STREET PARTNERSHIP LP      OHA CREDIT FUNDING 1, LTD.            OHA CREDIT FUNDING 2, LTD.
ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN
623 HAMACHER                          623 HAMACHER                          623 HAMACHER
WATERLOO, IL 62298                    WATERLOO, IL 62298                    WATERLOO, IL 62298



OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP
OHA CREDIT PARTNERS IX, LTD           OHA CREDIT PARTNERS VII LTD           OHA CREDIT PARTNERS XI, LTD
ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN
623 HAMACHER                          623 HAMACHER                          623 HAMACHER
WATERLOO, IL 62298                    WATERLOO, IL 62298                    WATERLOO, IL 62298



OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP
OHA CREDIT PARTNERS XII, LTD          OHA CREDIT PARTNERS XIII, LTD         OHA CREDIT PARTNERS XIV, LTD.
ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN
623 HAMACHER                          623 HAMACHER                          623 HAMACHER
WATERLOO, IL 62298                    WATERLOO, IL 62298                    WATERLOO, IL 62298



OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP
OHA CREDIT PARTNERS X-R, LTD.         OHA CREDIT PARTNERS XV, LTD.          OHA DELAWARE CUSTOMIZED CREDIT
ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN                 FUND HOLDINGS, L.P.
623 HAMACHER                          623 HAMACHER                          ATTN CHRISTY BRINKMAN
WATERLOO, IL 62298                    WATERLOO, IL 62298                    623 HAMACHER
                                                                            WATERLOO, IL 62298

OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP
OHA ENHANCED CREDIT STRATEGIES        OHA FINLANDIA CREDIT FUND, LP         OHA LOAN FUNDING 2013-1, LTD.
MASTER FUND, L.P.                     ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN
ATTN CHRISTY BRINKMAN                 623 HAMACHER                          623 HAMACHER
623 HAMACHER                          WATERLOO, IL 62298                    WATERLOO, IL 62298
WATERLOO, IL 62298

OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP
OHA LOAN FUNDING 2013-2, LTD.         OHA LOAN FUNDING 2015-1, LTD          OHA LOAN FUNDING 2016-1, LTD.
ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN                 ATTN CHRISTY BRINKMAN
623 HAMACHER                          623 HAMACHER                          623 HAMACHER
WATERLOO, IL 62298                    WATERLOO, IL 62298                    WATERLOO, IL 62298



OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP                  OAK HILL ADVISORS LP
OHA MPS SSD II, L.P.                  OHA STRUCTURED PRODUCTS MASTER        OHAT CREDIT FUND, L.P.
ATTN CHRISTY BRINKMAN                 FUND D, L.P.                          ATTN CHRISTY BRINKMAN
623 HAMACHER                          ATTN CHRISTY BRINKMAN                 623 HAMACHER
WATERLOO, IL 62298                    623 HAMACHER                          WATERLOO, IL 62298
                                      WATERLOO, IL 62298

OAK HILL ADVISORS LP                  OAK HILL SCHOOL                       OAK HILL
THE COCA COLA COMPANY MASTER          86397 ELDON SCHAFER DRIVE             ATTN CHRISTY BRINKMAN
RETIREMENT TRUST-2                    EUGENE, OR 97405                      623 HAMACHER
ATTN CHRISTY BRINKMAN                                                       WATERLOO, IL 62298
623 HAMACHER
WATERLOO, IL 62298
OAKERMAN, EMILY           Case 20-10766-BLS
                                        OAKES, Doc  6 A.Filed 04/07/20
                                               MARILYN                    Page 1317 ofGAIL
                                                                               OAKLEY, 1969
ADDRESS ON FILE                           515 DEMING DEL SOL DRIVE             401 4TH STREET
                                          DEMING, NM 88030                     EVANSVILLE, IL 62242




OAKLEY, KENNETH                           OAKLEY, LAURA M.                     OAKLEY, MELISE A.
209 SIXTEENTH FAIRWAY                     P.O. BOX 2672                        928 W MAIN
MCKENZIE, TN 38201                        BLUE RIDGE, GA 30513                 MARION, IL 62959




OAKMAN, DEBRA                             OAKS, BRITTNY L.                     OAKSTONE
567 E 4TH STREET                          ADDRESS ON FILE                      P.O. BOX 645
GALESBURG, IL 61401                                                            CHELSEA, AL 35043




OAKTREE PRODUCTS, INC                     OAKWAY CATERING                      OASIS MEDICAL, INC
610 SPIRIT VALLEY EAST                    P.O. BOX 51055                       514 S VERMONT AVE
CHESTERFIELD, MO 63005                    EUGENE, OR 97405                     GLENDORA, CA 91741




OBAID, KIMBERLY                           OBANNON, CATHERINE A.                OBANNON, CATHERINE A.
2178 N HEARTLAND PATH                     5563 COUNTY ROAD 141                 ADDRESS ON FILE
LAKE VILLA, IL 60046                      IDER, AL 35981




OBEAR, DALE A.                            OBENAUF, KAREN A.                    OBENAUF, ROBERT
334 W MAIN STREET                         ADDRESS ON FILE                      ADDRESS ON FILE
SPARTA, IL 62286




OBER KALER GRIMES & SHRIVER PC            OBERG, HARRY                         OBERHAUSEN, JENNIFER D.
100 LIGHT STREET                          ADDRESS ON FILE                      ADDRESS ON FILE
BALTIMORE, MD 21202




OBERRY, DANIEL                            OBHG ILLINOIS SC                     OBP MEDICAL, INC
2194 16TH STREET                          777 LOWNDES HILL ROAD, BLDG 1        360 MERRIMACK STREET, BUILDING 9
FLORENCE, OR 97439-9610                   GREENVILLE, SC 29607-2131            LAWRENCE, MA 01843




OBRIAN JR, CHARLIE                        OBRIAN, PATRICIA                     OBRIEN CORPORATION
RT. 1 BOX 293                             1569 SPRUCE CREEK ROAD               3620 SWENSON AVE
FORT GAY, WV 25514                        FORT GAY, WV 25514                   ST. CHARLES, IL 60174




OBRIEN, ADRIENNE M.                       OBRIEN, ADRIENNE                     OBRIEN, ANGELA R.
ADDRESS ON FILE                           ADDRESS ON FILE                      16630 HENRY LANE
                                                                               TINLEY PARK, IL 60477
OBRIEN, CASSIDY R.      Case 20-10766-BLS
                                      OBRIEN,Doc  6 L.Filed 04/07/20
                                             JESSICA                           Page 1318
                                                                                    OBRIEN,ofKEVY
                                                                                              1969
ADDRESS ON FILE                          10832 ANACONDA AVENUE                      412 S FIRST STREET
                                         OAK HILLS, CA 92344                        COAHOMA, TX 79720




OBRIEN, LAURA                            OBRIEN, SEAN                               OBRIEN, SHANNON
600 CYPRESS STREET                       710 NORTHWEST FIRST ST                     210 EDWARDS STREET
HIGHLAND, IL 62249                       GALVA, IL 61434                            GLEN CARBON, IL 62034




OBRYAN, LORI                             OBRYANT, JONELL B.                         OBSERVER, THE
13 PEACHTREE LN                          3815 BARNETT CROSSING                      P.O. BOX 989
GLEN CARBON, IL 62034-4309               AUGUSTA, GA 30909                          BLUE RIDGE, GA 30513




OCAMPO, ANDREA                           OCAMPO, JUVENTINO                          OCAMPO, LAURA A.
ADDRESS ON FILE                          105 S ORCHARD AVE                          ADDRESS ON FILE
                                         WAUKEGAN, IL 60085




OCAMPO, MARIA                            OCAMPO, VICTOR                             OCANA, SEPTEMBER M.
ADDRESS ON FILE                          1144 W ERDA WAY                            ADDRESS ON FILE
                                         ERDA, UT 84074




OCCUPATIONAL HEALTH CENTERS OF           OCCUPATIONAL HEALTH CENTERS OF             OCCUPATIONAL MARKETING, INC
ILLINOIS PC                              WASHINGTON PS                              19424 PARK ROW SUITE 110
P.O. BOX 488                             P.O. BOX 4300                              HOUSTON, TX 77084
CONCENTRA MEDICAL CENTERS                CONCENTRA MEDICAL CENTERS
LOMBARD, IL 60148-0488                   RANCHO CUCAMONGA, CA 91729-4300



OCCUPATIONAL SAFETY & HEALTH             OCCUPATIONAL SAFETY & HEALTH               OCCUPATIONAL SAFETY & HEALTH
ADMINISTRATION                           ADMINISTRATION                             ADMINISTRATION
1000 SOUTH PINE ISLAND ROAD, SUITE 100   1995 NORTH PARK PLACE SE, SUITE 525        2296 HENDERSON MILL ROAD NE, SUITE 200
FT. LAUDERDALE, FL 33324                 ATLANTA, GA 30339                          ATLANTA, GA 30345




OCCUPATIONAL SAFETY & HEALTH             OCCUPATIONAL SAFETY & HEALTH               OCCUPATIONAL SAFETY & HEALTH
ADMINISTRATION                           ADMINISTRATION                             ADMINISTRATION
450 MALL BOULEVARD, SUITE J              5807 BRECKENRIDGE PARKWAY, SUITE A         RIBAULT BUILDING, SUITE 227
SAVANNAH, GA 31406                       TAMPA, FL 33610-4249                       1851 EXECUTIVE CENTER DRIVE
                                                                                    JACKSONVILLE, FL 32207



OCCUPATIONAL THERAPY PLUS,INC            OCELO, INC                                 OCENAS, MICHAL
139 WEST 3RD STREET                      1111 INDUSTRIAL PARK RD SW                 1466 SANDY PASS
WASHINGTON, NC 27889                     BRAINERD, MN 56401                         LAKE ZURICH, IL 60047




OCHARLEYS VETERANS                       OCHINERO, PATRICIA                         OCHOA, TINA M.
HONOR FLIGHT 5 K                         1622 W. CENTER                             P.O. BOX 488
2808 WEST DEYOUNG STREET                 EVANSTON, WY 82930                         DEMING, NM 88031
MARION, IL 62959
OCHOA-URENDA, JANETH     Case 20-10766-BLS    Doc 6
                                       OCHS, STEVEN       Filed 04/07/20   Page 1319  of 1969
                                                                                OCIE HASTINGS
134 EMILY WAY                           13992 CONGRESS LAKE AVE NE              173 CREEK WOOD ESTATES
MESQUITE, NV 89027                      HARTVILLE, OH 44632-8839                INEZ, KY 41224




OCKANDER, JONATHAN                      OCONNELL, JENNIFER R.                   OCONNELL, PATRICIA A.
ADDRESS ON FILE                         ADDRESS ON FILE                         2600 W 110TH ST
                                                                                CHICAGO, IL 60655




OCONNER, ROY                            OCONNOR, HARRIETTA J.                   OCONNOR, JUDITH
409 E CHURCH STREET                     17406 9 BLACKTOP                        2969 PARKWAY CT
JASPER, GA 30143                        WEST FRANKFORT, IL 62896                GALESBURG, IL 61401




OCONNOR, KATHLEEN                       OCONNOR, KATHRYN                        OCONNOR, KERSHIA M.
6821 W WELLSLEY CT                      1075 E VICTORY DRIVE, SUITE 216         85292 RIDGETOP DRIVE
GURNEE, IL 60031                        LINDENHURST, IL 60046                   EUGENE, OR 97405




OCONNOR, KEVIN                          OCONNOR, MARY C.                        OCONNOR, MARY
ADDRESS ON FILE                         479 DONIN                               479 DONIN DRIVE
                                        ANTIOCH, IL 60002                       ANTIOCH, IL 60002




OCONNOR, MISSY                          OCONNOR, NICHOLAS J.                    OCONNOR, NINA HOWARD
9514 COUNTY ROAD 121                    27671 TARYN DRIVE                       9512 COUNTY RD 121
VALLEY HEAD, AL 35989-0000              SANTA CLARITA, CA 91350                 VALLEY HEAD, AL 35989




OCONNOR, SUSAN R.                       OCONNOR, THOMAS                         OCOP, JOHN D.
218 CO. RD. 244                         283 KNOX RD 800E                        12694 SHOREWOOD LANE
FORT PAYNE, AL 35968                    WATAGA, IL 61488                        CALIFORNIA, CA 92392




OCP                                     OCSE CLEARINGHOUSE SDU                  OCSE CLEARINGHOUSE SDU
P.O. BOX 35147 3368                     P O BOX 8125                            P.O. BOX 8125
SEATTLE, WA 98124-5147                  LITTLE ROCK, AR 72203                   LITTLE ROCK, AR 72203




OCULAR THERAPEUTIX, INC                 OCULAR THERAPEUTIX, INC                 ODANIEL, SHEENA
15 CROSBY DRIVE                         36 CROSBY DRIVE, SUITE 105              145 CARPENTER JONES ROAD
BEDFORD, MA 01730                       BEDFORD, MA 01730-0000                  PARIS, TN 38242-6124




ODANIEL, STACEY J.                      ODANIEL, STACEY                         ODEGAARD, HAROLD D.
5509 SNYDER FIELD ROAD                  ADDRESS ON FILE                         ADDRESS ON FILE
P.O. BOX 467
COAHOMA, TX 79511
ODELL, BRITTNEY        Case 20-10766-BLS    Doc 6 D.Filed 04/07/20
                                     ODELL, CHARLES                  Page 1320
                                                                          ODELL, of 1969
                                                                                 DAVID
1941 MEADOW LANE                      6105 WILLOW ROAD                    206 PARADISE SHADES ROAD
ORRVILLE, OH 44667                    IDER, AL 35981                      CRESCENT CITY, FL 32112




ODELL, ELIZABETH M.                   ODELL, ERICA                        ODELL, HEATHER
4301 GODFREY AVE NE                   507 CENTER STREET                   ADDRESS ON FILE
FORT PAYNE, AL 35967-4030             WATSONVILLE, CA 95076




ODELL, JENNIFER D.                    ODELL, LAWRENCE                     ODELL, LISA
378 SFC 351                           108 PIERCE BLVD                     59 COUNTY RD 127
COLT, AR 72326                        O FALLON, IL 62269                  PISGAH, AL 35765




ODELL, MARY K.                        ODEM, SAMANTHA M.                   ODEN, MATTHEW
836 CO RD 140                         555 GEORGE WALLACE DR W             1150 COUNTY ROAD 403
FORT PAYNE, AL 35967-4030             RAINSVILLE, AL 35986-4700           GROVEOAK, AL 35937




ODENS, TYLER                          ODESSA COLLEGE                      ODLE LAUREN E
ADDRESS ON FILE                       201 W UNIVERSITY AVE                18269 9 BLACKTOP ROAD
                                      ODESSA, TX 79764                    THOMPSONVILLE, IL 62890




ODOM, ALESIA                          ODOM, ARTIE                         ODOM, CAROL P.
268 LAKEVIEW DR                       268 LAKEVIEW DRIVE                  18 BOLTON LANE
HUGHES, AR 72348                      HUGHES, AR 72348                    RAYVILLE, LA 71269




ODOM, CASSIDY                         ODOM, SANDRA L.                     ODOM, SHERI
122 PLUM TREE LANE                    ADDRESS ON FILE                     17106 AKIN BLACKTOP
HAMLET, NC 28345                                                          BENTON, IL 62812




ODOM, STEPHANIE A.                    ODONNELL BATTERIES                  ODONNELL, ALETA L.
510 NORTH ST                          71 SE SUNRISE DRIVE                 703 S MAIN STREET
MT VERNON, IL 62864                   SHELTON, WA 98584                   ABINGDON       IL, IL 61410




ODONNELL, GRACE                       ODS HEALTH PLANS                    ODS HEALTH PLANS
C/O DONNA YOXHEIMER                   P.O BOX 4800, UNIT 25               UNIT 25/P.O. BOX 4800
13 PINEVIEW DRIVE                     PORTLAND, OR 97240-0384             PORTLAND, OR 97240-0384
LOCK HAVEN, PA 17745




ODS                                   ODUM, DOW L.                        ODUM, KELLY
601 SW 2ND AVE                        20 BRIER HILLS DRIVE                55 MASTERS DRIVE
PORTLAND, OR 97240                    COLLIERVILLE, TN 38017              LEXINGTON, TN 38351
ODUM, KIM M.              Case 20-10766-BLS    Doc 6
                                        ODUM, LEONA      Filed 04/07/20   Page 1321  of 1969
                                                                               ODUM, LORI
900 FOSTER LANE                          3826 W 116TH STREET                   247 LEGION ROAD
MARION, IL 62959                         ALSIP, IL 60803                       WARRENVILLE, SC 29851




ODUM, SHARON                             ODUM, STACY                           OEC MEDICAL SYSTEMS, INC
5230 COTTONWOOD LANE                     207 E WASHINGTON STREET               2984 COLLECTIONS CENTER DRIVE
RAYMOND, IL 62560                        CARRIER MILLS, IL 62917               CHICAGO, IL 60693




OEG INC                                  OEHLER SR, GERALD                     OEHLER, DEBRA
3200 NW YEON AVE                         P.O. BOX 278                          2600 ANGELA DRIVE
PORTLAND, OR 97210                       MOUNTAIN VIEW, WY 82939-0278          GRANITE CITY, IL 62040




OEHLER, HYDEE L.                         OEHLER-FITZGERALD, MORGYN A.          OEHLERKING, JAMES A.
ADDRESS ON FILE                          7795 SOUTH A STREET                   ADDRESS ON FILE
                                         SPRINGFIELD, OR 97478




OEM HEALTH INFORMATION, INC              OETJEN, MARIAH D.                     OETTLE, SUSAN K.
8 WEST STREET                            ADDRESS ON FILE                       ADDRESS ON FILE
BEVERLY FARMS, MA 01915-2226




OETTLE, VICTORIA                         OFF BROADWAY DRY CLEANER              OFF THE SQUARE COFFEE BAR
3748 COMMON SCHOOL LN                    105 N 27TH STREET                     122 E MARKET STREET, SUITE B
PRAIRIE DU ROCHER, IL 62277              MT VERNON, IL 62864                   RED BUD, IL 62278




OFFENBERGER, MICHELLE R.                 OFFENBERGER, REBECCA                  OFFET, RONALD D.
6455 RIDGEVIEW DR SE                     3063 ROWFORD AVE. S.W.                1855 BREWER AVE
WAYNESBURG, OH 44688                     MASSILLON, OH 44646                   EUGENE, OR 97401




OFFICE BAR & GRILL, THE                  OFFICE ESSENTIALS, INC                OFFICE OF COMMISSIONER OF INSURANCE
123 SOUTH MAIN ST                        1834 WALTON ROAD                      SAFETY ENGINEERING
RED BUD, IL 62278                        ST. LOUIS, MO 63114                   P.O. BOX 935467
                                                                               ATLANTA, GA 31193-5467




OFFICE OF INSPECTOR GENERAL              OFFICE OF RADIOLOGICAL PHYSICS        OFFICE OF RADIOLOGICAL PHYSICS
275 EAST MAIN STREET, 5EA                342 N FIORE PKWAY                     342 N. FIORE PKWAY
FRANKFORT, KY 40621                      VERNON HILLS, IL 60061                VERNON HILLS, IL 60061




OFFICE OF RECOVERY SERVICES              OFFICE OF RECOVERY SERVICES           OFFICE OF RECOVERY SERVICES
MEDICAID SECTION TEAM 85                 P. O. BOX 45025                       P.O. BOX 45025
P.O. BOX 45025                           SALT LAKE CITY, UT 84145-5025         SALT LAKE CITY, UT 84145
SALT LAKE CITY, UT 84145
                        Case
OFFICE OF SEC. OF STATE OF     20-10766-BLS
                           ALABAMA              Doc
                                        OFFICE OF    6 OFFiled
                                                  SEC.    STATE 04/07/20
                                                                OF ARKANSAS Page 1322
                                                                                 OFFICEofOF1969
                                                                                            SEC. OF STATE OF CALIFORNIA
HON. JOHN H. MERRILL                    HON. MARK MARTIN                         HON. ALEX PADILLA
P.O. BOX 5616                           STATE CAPITOL, STE 256                   1500 11TH ST
MONTGOMERY, AL 36130                    500 WOODLANE ST                          SACRAMENTO, CA 95814
                                        LITTLE ROCK, AR 72201



OFFICE OF SEC. OF STATE OF GEORGIA       OFFICE OF SEC. OF STATE OF ILLINOIS       OFFICE OF SEC. OF STATE OF KENTUCKY
HON. BRIAN P. KEMP                       HON. JESSE WHITE                          HON. ALISON LUNDERGAN GRIMES
214 STATE CAPITOL                        213 STATE CAPITOL                         700 CAPITAL AVE, SUITE 152
ATLANTA, GA 30334                        SPRINGFIELD, IL 62756                     FRANKFORT, KY 40601




OFFICE OF SEC. OF STATE OF N.C.          OFFICE OF SEC. OF STATE OF NEVADA         OFFICE OF SEC. OF STATE OF NEW MEXICO
HON. ELAINE F. MARSHALL                  HON. BARBARA K. CEGAVSKE                  HON. MAGGIE TOULOUSE OLIVER
P.O. BOX 29622                           NEVADA STATE CAPITOL BLDG                 NEW MEXICO CAPITOL ANNEX N
RALEIGH, NC 27626                        101 N CARSON ST, SUITE 3                  325 DON GASPAR, SUITE 300
                                         CARSON CITY, NV 89701                     SANTA FE, NM 87501



OFFICE OF SEC. OF STATE OF OREGON        OFFICE OF SEC. OF STATE OF TENNESSEE      OFFICE OF SEC. OF STATE OF TEXAS
HON. DENNIS RICHARDSON                   HON. TRE HARGETT                          HON. ROLANDO B. PABLOS
900 COURT ST NE                          FIRST FL, STATE CAPITOL                   1100 CONGRESS
CAPITOL ROOM 136                         NASHVILLE, TN 37243                       CAPITOL BLDG, ROOM 1E.8
SALEM, OR 97310-0722                                                               AUSTIN, TX 78701



OFFICE OF SEC. OF STATE OF UTAH          OFFICE OF SEC. OF STATE OF WYOMING        OFFICE OF STATE FIRE MARSHALL
HON. SPENCER J. COX LT GOVERNOR -E       HON. ED MURRAY                            P.O. BOX 3331
UTAH STATE CAPITOL COMPLEX, STE 220      2020 CAREY AVE, SUITE 600 & 700           SPRINGFIELD, IL 62708-3331
P.O. BOX 142325                          CHEYENNE, WY 82002
SALT LAKE CITY, UT 84114-2325



OFFICE OF STATE FIRE MARSHALL            OFFICE OF STATE TREASURER                 OFFICE OF STATE TREASURER
P.O. BOX 3332                            OFFICE OF STATE TREASURER                 RSA UNION BLDG
SPRINGFIELD, IL 62708-3332               UNCLAIMED PROPERTY DIVISION/BUSINESS      100 N UNION ST, STE 636
                                         REPORTING                                 MONTGOMERY, AL 36104
                                         P.O. BOX 302520
                                         MONTGOMERY, AL 36130-2520

OFFICE OF STATEWIDE HEALTH               OFFICE OF THE CHAPTER 13 TRUSTEE          OFFICE OF THE REGISTRAR
PLANNING AND DEVLOPEMENT                 MARILYN MARSHALL                          RICE UNIVERSITY
2020 WEST EL CAMINO AVE SUITE 217        P.O. BOX 2031                             6100 MAIN ST, MS 57
SACRAMENTO, CA 95833                     MEMPHIS, TN 38101-2031                    HOUSTON, TX 77005




OFFICE OF THE STANDING TRUSTEE           OFFICE OF THE STATE FIRE MARSHAL          OFFICE OF THE UNITED STATES TRUSTEE
1770 MOMENTUM PLACE                      PO BOX 3332                               ATTN: BENJAMIN HACKMAN
CHICAGO, IL 60689-5317                   SPRINGFIELD, IL 62708-3332                J CALEB BOGGS FEDERAL BUILDING
                                                                                   844 KING STREET, SUITE 2207 LOCK BOX 35
                                                                                   WILMINGTON, DE 19801



OFFICE RESOURCES INC                     OFFICE RESOURCES, INC                     OFFICE RESOURCES, INC
P.O. BOX 43339                           12600 PLANTSIDE DRIVE                     P.O. BOX 43339
LOUISVILLE, KY 40299                     LOUISVILLE, KY 40253                      LOUISVILLE, KY 40253




OFFICE RESOURCES, INC                    OFFICE SPECIALISTS LLC                    OFFICE SPECIALISTS LLC
P.O. BOX 43339                           143 E FERRIS ST                           143 E FERRIS STREET
LOUISVILLE, KY 40299                     GALESBURG, IL 61401                       GALESBURG, IL 61401
OFFICE SPECIALISTS          Case 20-10766-BLS    Doc 6INC Filed 04/07/20
                                          OFFICE TEAM,                      Page 1323
                                                                                 OFFICEof 1969
                                                                                       TEAM, INC
143 E FERRIS ST                             P.O. BOX 743295                       P.O. BOX 743295
GALESBURG, IL 61401                         LOS ANGELAS, CA 90074-3295            LOS ANGELES, CA 90074-3295




OFFINEER, JESSICA                           OFFIONG, OBO B.                       OFFORD, SAMUEL
9455 BEATTY STREET NW                       ADDRESS ON FILE                       1907 BEAUMONT AVE NW
MASSILLON, OH 44647                                                               MASSILLON, OH 44647




OFFSITE CARE, INC.                          OFRANCIA, MARIETTA V.                 OFS BRANDS
6800 PALM DRIVE, SUITE K                    216 RANKIN ST                         ATTN: WEBTPA
SEBASTOPOL, CA 95472                        SANTA CRUZ, CA 95060                  P.O. BOX 1808
                                                                                  GRAPEVINE, TX 76099




OFS MANAGEMENT                              OGARA-BENSCHOTER, MARGARET K.         OGAS, ROSA L.
LGA INCOMEPLUS FUND, LP                     2261 FREEDOM BLVD                     1210 GLORIA DRIVE
                                            WATSONVILLE, CA 95076                 HOLLISTER, CA 95023




OGBEIDE, OGHONWEN E.                        OGDEN, JOY                            OGDEN, LAUREN
8305 LILAC LANE                             16040 W GAGES LAKE ROAD               17155 HUNTINGTON CIRCLE
TINLEY PARK, IL 60477                       LIBERTYVILLE, IL 60048                GRAYSLAKE, IL 60030




OGILVY, ROBERT                              OGINDO, BENEDETTE                     OGLE, BRENDA B.
2921 ABILENE STREET                         ADDRESS ON FILE                       2912 WALLACE AVE NE
SAN ANGELO, TX 76901                                                              FT. PAYNE, AL 35967




OGLE, GLEN E.                               OGLE, GLENDA M.                       OGLE, HUNTER A.
2250 YEOMAN STREET                          ADDRESS ON FILE                       810 CAMPGROUND ROAD
WAUKEGAN, IL 60087                                                                AVA, IL 62907




OGLE, JAMES E.                              OGLE, LOIS                            OGLE, MILDRED M.
158 MARTIN LANE                             110 29TH STREET SW                    ADDRESS ON FILE
RAINSVILLE, AL 35986-7041                   FORT PAYNE, AL 35967-8479




OGLE, NICHOLAS J.                           OGLE, RICHARD L.                      OGLE, STACI C.
2308 ADAMS STREET                           860 CANYON TRAIL                      5170 COUNTY ROAD 326
GRANITE CITY, IL 62040                      JACKSON, MO 63755                     FLAT ROCK, AL 35966




OGLESBY, AMANDA                             OGLESBY, BETTYE L.                    OGLESBY, KEITH A.
ADDRESS ON FILE                             755 COUNTY ROAD 139                   P.O. BOX 592
                                            BRYANT, AL 35958                      LOGANDALE, NV 89021
OGLESBY, SHIRLEY W.      Case 20-10766-BLS  Doc
                                       OGORMAN,   6 Filed 04/07/20
                                                KATHLEEN                    Page 1324 of 1969
                                                                                 OGUNGBEMI, ADEBAYO
9226 NC HWY 903                         431 ESCALONA DRIVE                       12625 S THROOP STREET
OAK CITY, NC 27857                      SANTA CRUZ, CA 95060                     CALUMET PARK, IL 60827




OGUNGBEMI, ADEBAYO                      OHANI, LLC                               OHARA, ALLA
12625 S. TROOP ST                       1209 ORANGE STREET                       759 WOODLAND DR
CALUMET PARK, IL 60827                  WILMINGTON, DE 19801                     ANTIOCH, IL 60002




OHARA, AMANDA R.                        OHARA, JAMES, III                        OHARA, SHARON A.
4695 HARVEST LANE                       6230 SORRENTO AVE NW                     10481 W. CHAPLIN AVE
RUMA, IL 62278                          CANTON, OH 44718                         BEACH PARK, IL 60099




OHCA-FINANCE                            OHIO ANESTHESIA GROUP                    OHIO BELL TELEPHONE COMPANY, THE
P.O. BOX 18299                          4665 DOUGLAS CIRCLE NW, SUITE 100        AT&T OHIO - 5011
OKLAHOMA CITY, OK 73154                 CANTON, OH 44718                         P.O. BOX 5011
                                                                                 CAROL STREAM, IL 60197-5011




OHIO BELL TELEPHONE COMPANY, THE        OHIO BUREAU OF WORKERS                   OHIO BUREAU OF WORKERS
AT&T OHIO - 5080                        COMPENSATION                             COMPENSATION
P.O. BOX 5080                           ATTN: SELF-INSURED DEPT                  P.O. BOX 89492
CAROL STREAM, IL 60197-5080             30 WEST SPRING STREET                    CLEVELAND, OH 44101-6492
                                        COLUMBUS, OH 43215-2256



OHIO CAT                                OHIO COUNTY HOSPITAL                     OHIO CSPC
P.O. BOX 774439                         1211 OLD MAIN STREET                     P.O. BOX 182394
CHICAGO, IL 60677-4004                  HARTFORD, KY 42347-0126                  COLUMBUS, OH 43218




OHIO DEPARTMENT OF COMMERCE             OHIO DEPARTMENT OF COMMERCE              OHIO DEPARTMENT OF HEALTH
77 SOUTH HIGH ST 20TH FLOOR             OHIO DIVISION OF UNCLAIMED FUNDS         TREASURER STATE OF OHIO
DIVISION OF UNCLAIMED FUNDS             77 S. HIGH STREET, 20TH FLOOR            ATTN: A/R UNIT
COLUMBUS, OH 43215-6108                 COLUMBUS, OH 43215-6108                  P.O. BOX 15278
                                                                                 COLUMBUS, OH 43215-0278



OHIO DEPARTMENT OF MEDICAID             OHIO DEPARTMENT OF MEDICAID              OHIO DEPARTMENT OF TAXATION
P.O. BOX 182367                         P.O. BOX 309                             P.O. BOX 1090
COLUMBUS, OH 43218-2367                 COLUMBUS, OH 73218-2709                  COLUMBUS, OH 43216




OHIO DEPARTMENT OF TAXATION             OHIO DEPT. OF TAXATION                   OHIO EDISON
P.O. BOX 182388                         30 E. BROAD STREET, APT22                P.O. BOX 3637
COLUMBUS, OH 43218-2388                 COLUMBUS, OH 43215                       AKRON, OH 44309




OHIO EDISON                             OHIO EDISON                              OHIO ENVIRONMENTAL PROTECTION
P.O. BOX 3687                           P.O. BOX 3687                            AGENCY
AKRON, OH 44309                         AKRON, OH 44309-3687                     P.O. BOX 77005
                                                                                 CLEVELAND, OH 44194-7005
OHIO MEDICAID          Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                     OHIO MEDICAID                 Page 1325  of 1969
                                                                        OHIO MEDICAL CORPORATION
P.O. BOX 182709                      P.O. BOX 7965                       1111 LAKESIDE DRIVE
COLUMBUS, OH 43218-2709              AKRON, OH 44306-0965                GURNEE, IL 60031




OHIO MEDICAL CORPORATION            OHIO MEDICAL                         OHIO MEDICAL
6690 EAGLE WAY                      1111 LAKESIDE DRIVE                  6690 EAGLE WAY
CHICAGO, IL 60678                   GURNEE, IL 60031                     CHICAGO, IL 60678




OHIO MEDICAL                        OHIO MEDICAL, INC                    OHIO MUSICUE CORP
6690 EAGLE WAY                      6690 EAGLE WAY                       3420 GEORGETOWN RD NE
CHICAGO, IL 60678-1066              CHICAGO, IL 60678-1066               CANTON, OH 44704




OHIO OSTEOPATHIC ASSOC              OHIO PRINT                           OHIO SECRETARY OF STATE
DEPT 781229                         P.O. BOX 227                         22 NORTH FOURTH STREET
P.O. BOX 78000                      MIDDLEBRANCH, OH 44652-0227          COLUMBUS, OH 43215
DETROIT, MI 48278-1229




OHIO STATE SOCIETY OF ACOFP         OHIO TREASURER OF STATE              OHIO UNIV COLLEGE OF OSTEO MED
P.O. BOX 8130                       OHIO DEPT OF TAXATION                OFFICE OF THE BURSAR
COLUMBUS, OH 43201-0130             P.O. BOX 182667                      P.O. BOX 960
                                    COLUMBUS, OH 43218-2667              ATHENS, OH 45701




OHIOS CARPENTERS HEALTH PLAN        OHLEY MEDICAL SUPPLY, LLC            OHLHAUSER, RONALD C.
P.O. BOX 1257                       4704 BROADWAY STREET                 1688 FAIRMOUNT BLVD
TROY, MI 48099                      MT. VERNON, IL 62864-6724            EUGENE, OR 97403




OHMAN, BONITA                       OHMS, ALICE L.                       OHMS, DEBBIE L.
112 LOVING MEADOWS LANE             907 SPRING ST                        ADDRESS ON FILE
MORGANTON, GA 30560                 EVANSVILLE, IL 62242




OHNEMUS ERIC                        OHNEMUS, ERIC                        OHNEMUS, ERIC
588 MT HIGHLANDS COURT              588 MOUNTIAN HIGHLANDS COURT         588 MOUNTIAN HIGHLANDS COURT
BLUE RIDGE, GA 30513                BLUE RIDGE, GA 30513                 BLUE RIDGE, GA 30513-3833




OHNEMUS, ERIC                       OHO SR , WILLIAM Y.                  OHRLUND, TERRY A.
588 MOUNTIAN HIGHLANDS CT           852 NORTH SMYSER ROAD                ADDRESS ON FILE
BLUE RIDGE, GA 30513-3833           WOOSTER, OH 44691




OHSU PATIENT BUSINESS SERVICES      OHSU                                 OJEDA, LESLIE
P.O. BOX 3595                       MAIL CODE UHN-86                     3500 HATCH HWY NE
PORTLAND, OR 97207                  3181 SW SAM JACKSON PARK RD          DEMING, NM 88030
                                    PORTLAND, OR 97239-3098
OKA, KYOKO               Case 20-10766-BLS  Doc 6 Filed
                                       OKANOGAN-DOUGLAS    04/07/20
                                                        DISTRICT HOSPITALPage 1326
                                                                              OKI, OBIof 1969
2785 GOLF CIRCLE                          THREE RIVERS HOSPITAL                184 GARFIELD AVENUE
WATSONVILLE, CA 95076                     P.O. BOX 577                         GALESBURG, IL 61401
                                          BREWSTER, WA 98812




OKINDO, KEPHA N.                          OKI-ODUNTAN, TEMISAN                 OKLAHOMA DEPT OF HUMAN SERVICES
200 DAMSEN DRIVE                          ADDRESS ON FILE                      CENTRALIZED SUPPORT REGISTRY
SAN JOSE, CA 95116                                                             P.O. BOX 268849
                                                                               OKLAHOMA CITY, OK 73126-8849




OKLAHOMA STATE TREASURER                  OKLAHOMA STATE TREASURER             OKLAHOMA TAX COMISSION
UNCLAIMED PROPERTY DIVISION               UNCLAIMED PROPERTY DIVISION          3700 N CLASSEN BLVD, APT 200
2300 N LINCOLN BLVD, RM 217               2300 N. LINCOLN BLVD                 OKLAHOMA CITY, OK 73118
OKLAHOMA CITY, OK 73105-4895              OKLAHOMA CITY, OK 73105-4895




OKLAHOMA TAX COMMISSION                   OKLAND, MCKINLEY G.                  OKOLI, UZOMA C.
P.O. BOX 26920                            81 LAKEVIEW DRIVE                    2266 NORTH SARAZEN DRIVE
OKLAHOMA CITY, OK 73126-0920              STANSBURY PARK, UT 84074             VERNON HILLS, IL 60061




OKPALA, PAT                               OLAFSON, SHARLYNDA L.                OLAGUE, ELIZABETH N.
1020 MT MCKINLEY DRIVE                    835 CASCADE DRIVE                    1609 STADIUM AVE
GRAYSON, GA 30017                         LEBANON, OR 97355                    BIG SPRING, TX 79720




OLAGUE-SWATZELL, LAURA M.                 OLAITAN, YETUNDE                     OLALY, CHARLES L.
2603 E. 25TH                              208 MINUET CIRCLE                    ADDRESS ON FILE
BIG SPRING, TX 79720                      VOLO, IL 60073




OLAN, DANIEL J.                           OLAN, KIMBERLY                       OLANDER, STEPHANY
ADDRESS ON FILE                           364 NANCY LANE                       ADDRESS ON FILE
                                          WHEELING, IL 60090




OLARTE, EZER JAMES A.                     OLATUNBOSUN, KAMAL                   OLATUNJI ALABA
7180 PENNSBURY LANE                       ADDRESS ON FILE                      ADDRESS ON FILE
GURNEE, IL 60031




OLATUNJI, ALABA J.                        OLATUNJI, ALABA J.                   OLAVERE, ZENAIDA S.
ADDRESS ON FILE                           ADDRESS ON FILE                      2735 LYDIA STREET
                                                                               WAUKEGAN, IL 60085




OLAYO, MARIA                              OLBACKGRANT, YVONNE M.               OLD MILL CABINETS & MILLWORK
1330 WALNUT STREET                        P.O. BOX 2545                        303 S 5TH ST STE 135
WAUKEGAN, IL 60085                        SUMTER, SC 29151                     EUGENE, OR 97477
OLDEN, EDDIE           Case 20-10766-BLS    Doc 6 Filed DIANE
                                     OLDENBURGERHANNING, 04/07/20   Page 1327
                                                                         OLDER of 1969HEALTH COUNCIL
                                                                               ADULTS
141 WEST JACKSON, APT J4             1714 BRIARWOOD DR                    C/O KRISTA BROWN
WEST MEMPHIS, AR 72301               JOHNSBURG, IL 60051                  P.O. BOX 654
                                                                          ALTON, IL 62002




OLE TYME PRODUCE, INC               OLEARY, SOPHIA                        OLEH, GODSON J.
3840 MILLSTONE PKWY                 1411 OPUS PLACE, SUITE 100            4535B SPLIT ROCK DRIVE
ST CHARLES, MO 63301                DOWNERS GROVE, IL 60515               SCOTT AIR FORCE BASE, IL 62225




OLEJNIK, RICHARD                    OLEXA, KIMBERLY                       OLGA ARTEAGA
897 HEATHER COURT                   2884 VICKSBURG AVE NW                 814 S 8TH ST
ANTIOCH, IL 60002                   CANTON, OH 44708                      MONMOUTH, IL 61462




OLGUIN, JENNIFER                    OLIEA, STACEY                         OLIETTI, CAROLE
ADDRESS ON FILE                     2242 CHATHAM CT                       1473 YOLANDA AVE
                                    MARYVILLE, IL 62062                   SPRINGFIELD, OR 97477




OLINGER, ALISON R.                  OLINGER, JAMIE                        OLINGER, JAMIE
ADDRESS ON FILE                     ADDRESS ON FILE                       16 EDDIEVILLE DRIVE
                                                                          JACKSON, KY 41339




OLIPHANT, BRIDGET                   OLIPHANT, NEKESHA                     OLIVA, FRANCISCO J.
ADDRESS ON FILE                     5909 STERLING DRIVE                   8710 N DOUBLE TREE DR
                                    COLLEYVILLE, TX 76034                 CROWN POINT, IN 46307




OLIVA, JAY                          OLIVAREZ, LUZ G.                      OLIVAS, DORA M.
13141 W NEWCASTLE LN                111 KEARNEY STREET                    4604 ASPEN DRIVE
BEACH PARK, IL 60083                WATSONVILLE, CA 95076                 MIDLAND, TX 79707




OLIVAS, JESUS                       OLIVER EDGEWORTH                      OLIVER MD, ROBERT J.
985 NIELSON WAY NW                  5931 COUNTY ROAD 155                  11630 RUBY COURT
DEMING, NM 88030                    HIGDON, AL 35979                      FRANKFORT, IL 60423-9035




OLIVER, APRIL                       OLIVER, BRIAN K.                      OLIVER, DANIEL G.
1950 FRANKLIN BLVD, APT6            ADDRESS ON FILE                       1573 ELKINS ROAD
EUGENE, OR 97403                                                          CAMPTON, KY 41301




OLIVER, DENICE                      OLIVER, ELVIRA P.                     OLIVER, GABRIELE C.
279 20TH STREET SE                  700 N BIRD STREET, APT320             8134 SHADOWOOD CT
MASSILLON, OH 44646                 ALPINE, TX 79830                      GRANITE BAY, CA 95746
OLIVER, HEATHER L.     Case 20-10766-BLS
                                     OLIVER, Doc 6 Filed 04/07/20
                                             JANETTE                Page 1328
                                                                         OLIVER,of 1969 K.
                                                                                 JEANNIE
ADDRESS ON FILE                       1095 PINR LAKE RD                   P.O. BOX 91
                                      LEXINGTON, TN 38351                 LOST CREEK, KY 41348




OLIVER, JENNIFER L.                   OLIVER, JESSE L.                    OLIVER, JESSE
ADDRESS ON FILE                       ADDRESS ON FILE                     14485 SENECA RD. APT. 197
                                                                          VICTORVILLE, CA 92392




OLIVER, LAURA                         OLIVER, SARAH                       OLIVER, SAVANNAH L.
194 OAKMONT ST                        1033 HATCHERY ROAD                  ADDRESS ON FILE
PLYMOUTH, NC 27962                    SANTA ROSA, NM 88435




OLIVER, SHALECIA L.                   OLIVER, SHARON B.                   OLIVER, WENDY
721 IOWA STREET                       6792 NC HWY 32 SOUTH                1345 SANDY RIDGE
MADISON, IL 62060                     PLYMOUTH, NC 27962                  CAMPTON, KY 41301-9118




OLIVET NAZARENE UNIVERSITY            OLIVIA R GIDDINGS                   OLLER, DARRELL
ONE UNIVERSITY AVE                    104 S SCOTT ST                      145 STONEBRIDGE BLUFF DRIVE
BOURBONNAIS, IL 60914-2345            PO BOX 442                          MARYVILLE, IL 62062
                                      ALEXIS, IL 61412




OLLER, TIMOTHY                        OLLIGES, KEVIN                      OLLIS, AMBERLEA
17 LAKE TERRACE CT                    22 CREEKWOODS TRL                   2210 DARREN DRIVE
TROY, IL 62294                        HIGHLAND, IL 62249-2826             MARION, IL 62959




OLLIS, CHRISTINA                      OLLIS, JEREMY                       OLLIS, VICKEY S.
102 IREDELL DRIVE                     ADDRESS ON FILE                     1642 COUNTY RD 505
EDENTON, NC 27932                                                         RAINSVILLE, AL 35986-4012




OLLIVANT, NANCY L.                    OLMEDO, SANDRA                      OLMEDO, SANDRA
ADDRESS ON FILE                       3120 N 60TH ST                      ADDRESS ON FILE
                                      FAIRMONT CITY, IL 62201




OLMSCHENK, DEBORAH                    OLMSTEAD, STANLEY                   OLONA, PAUL V.
ADDRESS ON FILE                       13258 BARRS ROAD SW                 1520 SAN LORENZO NW
                                      MASSILLON, OH 44647                 ALBUQUERQUE, NM 87107




OLSCHEWSKI, DARYL B.                  OLSEN LAW OFFICE                    OLSEN STEPHANIE RENE
ADDRESS ON FILE                       P.O. BOX 3898                       48345 HIGHWAY 58
                                      SALT LAKE CITY, UT 84110            OAKRIDGE, OR 97463
OLSEN, BRET A.             Case 20-10766-BLS    Doc 6 Filed
                                         OLSEN, CHRISTINE S. 04/07/20   Page 1329
                                                                             OLSEN,of 1969J.
                                                                                   DONALD
4715 CHARLANE CIR NW                      ADDRESS ON FILE                     1132 HICKORY ROAD
CANTON, OH 44718                                                              HOMEWOOD, IL 60430




OLSEN, LAURA                              OLSEN, REBECCA                      OLSEN, SAMANTHA
5311 RICHVIEW ROAD                        1328 SPRINGDALE LANE                128 N SHORE DRIVE
MOUNT VERNON, IL 62864                    MESQUITE, NV 89034                  LAKE VILLA, IL 60046




OLSEN, SHARON                             OLSEN, STEPHEN R,                   OLSHAWSKY, BRITTNI
557 VIA VENTANA DRIVE                     38674 N PINE AVE                    173 26TH ST NW
MESQUITE, NV 89027                        BEACH PARK, IL 60099                MASSILLON, OH 44647




OLSON MELVA ELAINE                        OLSON SERVICE CO                    OLSON, AMANDA
26340 PETZOLD RD                          P.O. BOX 68                         161 COUNTY ROAD 563
EUGENE, OR 97402                          FOX LAKE, IL 60020-0068             FORT PAYNE, AL 35968




OLSON, GARY                               OLSON, JESSICA M.                   OLSON, JOSEPH J.
825 E SOUTH ST                            ADDRESS ON FILE                     ADDRESS ON FILE
GALESBURG, IL 61401




OLSON, KEVIN                              OLSON, LINDA L.                     OLSON, LOREE
1887 SUNRISE DRIVE                        906 VOSE DRIVE                      ADDRESS ON FILE
GALESBURG, IL 61401                       GURNEE, IL 60031




OLSON, MARILYN H.                         OLSON, MICHELLE                     OLSON, PETER
ADDRESS ON FILE                           ADDRESS ON FILE                     106 VALLEY LAKE TRAIL
                                                                              MINERAL BLUFF, GA 30559




OLSON, ROGER A.                           OLSON, ROSECHELLE                   OLSON, SARAH
P.O. BOX 1534                             20 HAZEL CIRCLE                     1125 RAVINIA DRIVE
MESQUITE, NV 89024-1534                   MCKENZIE, TN 38201                  GURNEE, IL 60031




OLSON, SHANER                             OLSONS ACE HARDWARE                 OLSSON, JEANA
P.O. BOX 3898                             10135 W GRAND AVE                   11809 W SUNNYSIDE DRIVE
SALT LAKE CITY, UT 84110                  FRANKLIN PARK, IL 60131             EL MIRAGE, AZ 85335-5030




OLTMAN, DAVID E.                          OLUFEMI, ALADESAIYE                 OLVERA, RAQUEL
1224 NE NEWTON CREEK ROAD                 1651 W 99TH STREET                  1209 GODFREY AVE NE
ROSEBURG, OR 97470                        CHICAGO, IL 60643                   FORT PAYNE, AL 35967
OLV-MHS FORENSICS       Case 20-10766-BLS
                                      OLYMPIADoc  6 FiledINC
                                              MAINTENANCE  04/07/20      Page 1330  ofSIGNS,INC
                                                                              OLYMPIK  1969
1700 WILDCAT ROAD                      3025 SOFFEL                             1130 N GARFIELD ST
MARION, IL 62959                       MELROSE PARK, IL 60406                  LOMBARD, IL 60148




OLYMPUS / GYRUS ACMI                   OLYMPUS AMERICA INC                     OLYMPUS AMERICA INC
P.O. BOX 120600                        3500 CORPORATE PKWY                     BOX 200194
DEPT. 0600                             CENTER VALLEY, PA 18034                 PITTSBURGH, PA 15251-0194
DALLAS, TX 75312-0600




OLYMPUS AMERICA INC                    OLYMPUS AMERICA INC                     OLYMPUS AMERICA INC
DEPT 0600                              DEPT. 0600                              OLYMPUS FINANCIAL SVCS
P.O. BOX 120600                        P.O. BOX 120600                         P.O. BOX 200183
DALLAS, TX 75312-0600                  DALLAS, TX 75312-0600                   PITTSBURGH, PA 15251-0183




OLYMPUS AMERICA INC                    OLYMPUS AMERICA INC                     OLYMPUS AMERICA INC
P.O BOX 200194                         P.O. BOX 120600                         P.O. BOX 120600
PITTSBURGH, PA 15251-0194              DALLAS, TX 75312-0600                   DEPT 0600
                                                                               DALLAS, TX 75312-0600




OLYMPUS AMERICA INC                    OLYMPUS AMERICA INC                     OLYMPUS AMERICA INC.
P.O. BOX 200194                        P.O. BOX 200194                         DEPT 0600
PITTSBURGH, PA 15251                   PITTSBURGH, PA 15251-0194               P.O. BOX 120600
                                                                               DALLAS, TX 75312-0600




OLYMPUS AMERICA INC.                   OLYMPUS AMERICA INC.                    OLYMPUS AMERICA INC.
P.O. BOX 200194                        P.O.BOX 200194                          P.O.BOX 200194
PITTSBURGH, PA 15251-0194              PITTSBURG, PA 15251-0194                PITTSBURGH, PA 15251-0194




OLYMPUS AMERICA, INC                   OLYMPUS AMERICA, INC. FINANCIAL         OLYMPUS AMERICA, INC.
FINANCIAL SERVICES                     SERVICES                                P.O. BOX 200194
P.O. BOX 200183                        3500 CORPORATE PARKWAY                  PITTSBURG, PA 15251-0194
PITTSBURGH, PA 15251-0183              2ND FLOOR
                                       CENTER VALLEY, PA 18034



OLYMPUS FINANCIAL SERVICES             OLYMPUS FINANCIAL SERVICES              OLYMPUS FINANCIAL SERVICES
DEPT 0600                              DEPT. 0600                              P.O. BOX 120600
P.O. BOX 120600                        P.O. BOX 120600                         DALLAS, TX 75312-0600
DALLAS, TX 75312-0600                  DALLAS, TX 75312-0600




OLYMPUS FINANCIAL SERVICES             OLYMPUS FINANCIAL SERVICES              OLYMPUS FINANCIAL SERVICES
P.O. BOX 200183                        P.O. BOX 200183                         P.O.BOX 200194
PITTSBURGH, PA 15251                   PITTSBURGH, PA 15251-0183               PITTSBURGH, PA 15251-0194




OLYMPUS FINANCIALS                     OMAHA INS CO                            OMAHA INSURANCE COMPANY
PO BOX 200183                          8 MEDICARE SUPPLEMENTAL CLAIMS DEPT     3316 FARNAM ST
PITTSBURGH, PA 15251                   3316 FARNAM ST                          OMAHA, NE 68175
                                       OMAHA, NE 68175
                     Case 20-10766-BLS
OMAHA INSURANCE COMPANY                   Doc
                                   OMALLEY,    6 Filed 04/07/20
                                            JUDITH                         Page 1331 of MICHAEL
                                                                                OMALLEY, 1969
3316 FARNAM STREET                 910 COUNTY ROAD 835                          223 BUZZARD FORK
OMAHA, NE 68175                    FORT PAYNE, AL 35968                         JACKSON, KY 41339




OMANDAM, FAITH O.                      OMAR GONZALES-COLLAZO                    OMARA, NORMA
211 GRIMES ST                          P.O. BOX 91                              152 SOUTH 2ND, APT 330
FORT BRAGG, NC 28307                   MESQUITE, NV 89024                       JEFFERSON, OR 97352




OMC INVESTORS, LLC                     OMEARA, DONALD                           OMEGA LABORATORIES INC
OHIO MEDICAL LLC                       10928 S NORMANDY                         400 N CLEVELAND AVE
6690 EAGLE WAY                         WORTH, IL 60482                          MOGADORE, OH 44260
CHICAGO, IL 60678-1066




OMEGA SUGG                             OMER D STEFFEN                           OMER, HUDA
605 RIDGEVIEW DRIVE                    1610 1ST ST NE                           811 SHERMAN CT
MESQUITE, NV 89027                     MASSILLON, OH 44646                      MARINA, CA 93933




OMNI HEALTH SERVICES OF ILLINOIS INC   OMNI LIFE SCIENCE, INC                   OMNI MEDICAL MEDICAL SUPPLY
8 DOCTORS PARK                         DBA CORIN USA LTD, LOCKBOX 654106        4153 PIONEER DRIVE
MT VERNON, IL 62864                    2701 E GRAUWYLER RD BLDG 1               WALLED LAKE, MI 48390
                                       IRVING, TX 75061-0000




OMNICLAIM INC                          OMOHUNDRO, JASON                         OMOTAYO, PRECIOUS
P.O. BOX 845675                        1033 LAFAYETTE                           9550 GONDOLIER STREET
REFUNDS                                COLLINSVILLE, IL 62234                   LAS VEGAS, NV 89178
BOSTON, MA 02284




ON CALL SURGICAL                       ON CALL SURGICAL                         ON HOLD COMPANY
15621 W 87TH ST PARKWAY 356            15621 W 87TH STREET PARKWAY, UNIT 356    4033 TAMPA RD SUITE 103
LENEXA, KS 66219                       LENEXA, KS 66219                         OLDSMAR, FL 34677




ON HOLD COMPANY                        ON HOLD COMPANY                          ON HOLD MARKETING SERV, INC
6840 WEST 70TH STREET                  C/O SPECTRIO, LLC                        6840 WEST 70TH ST
SHREVEPORT, LA 71129                   P.O. BOX 890271                          SHREVEPORT, LA 71129
                                       CHARLOTTE, NC 28289-0271




ON HOLD MARKETING SERV, INC            ON THE SPOT AUTO GLASS                   ON THE SPOT SIGNS
6840 WEST 70TH STREET                  1085 HWY 49                              1445 CENTRAL PKWY
SHREVEPORT, LA 71129                   WEST HELENA, AR 72390                    FLORISSANT, MO 63031




ON TIME MALL, INC                      ONA DUES                                 ONA DUES
1513 W WHISPERING WIND                 18765 SW BOONES FERRY RD STE 200         18765 SW BOONES FERRY ROAD, SUITE 200
PHOENIX, AZ 85085-0000                 TUALATIN, OR 97062                       TUALATIN, OR 97062
ONAN, MACKENZIE J.      Case 20-10766-BLS   DocNURSING
                                      ONCOLOGY  6 Filed   04/07/20
                                                       SOCIETY       Page 1332
                                                                          ONDES,of 1969
                                                                                 MAURINE
ADDRESS ON FILE                        125 ENTERPRISE DRIVE               P.O. BOX 207
                                       PITTSBURGH, PA 15275-1214          LIVINGSTON, IL 62058




ONDO, BENJIMAN R.                      ONDREA, BOONE                      ONE CALL CARE DIAGNOSTICS
3006 ENOCH AVE                         503 E SIMMONS AVE                  OVERPAYMENT RECOVERY
ZION, IL 60099                         WILLIAMSTON, NC 27892              841 PRUDENTIAL DRIVE, SUITE 900
                                                                          JACKSONVILLE, FL 32207




ONE DIVERSIFIED, LLC                   ONE DIVERSIFIED, LLC               ONE DIVRESIFIED, LLC
2975 NORTHWOODS PARKWAY                2975 NORTHWOODS PKWY               2975 NORTHWOODS PARKWAY
NORCROSS, GA 30071                     NORCROSS, GA 30071                 NORCROSS, GA 30071




ONE EYE SHUTTER PHOTOGRAPHER           ONE MEDICAL PASSPORT, INC.         ONE PLUS CORP
517 E HARRIET                          DEPT. 3575                         3182 MACARTHUR BLVD
ALPINE, TX 79830                       P.O. BOX 123575                    NORTHBROOK, IL 60062
                                       DALLAS, TX 75312-3575




ONE STOP FLOORING AMERICA INC          ONE STOP INDUSTRIES                ONEAL PHYLLIS JEAN
318 S 10TH ST                          502 LOCUST STREET                  2951 COBURG RD APT 226
MT. VERNON, IL 62864                   GADSDEN, AL 35901                  EUGENE, OR 97408-0000




ONEAL, ALICE F.                        ONEAL, BECKY J.                    ONEAL, BRITTANY R.
12126 S THROOP STREET                  ADDRESS ON FILE                    2855 OLD HIGHWAY 5
CHICAGO, IL 60643                                                         BLUE RIDGE, GA 30513




ONEAL, CARLY                           ONEAL, DEBRA E.                    ONEAL, KEVIN
34124 M ST.                            1541 SAN ANDREAS ROAD              3527 BONO ROAD
BARSTOW, CA 92311                      WATSONVILLE, CA 95076              STAUNTON, IL 62088




ONEAL, KIMBERLY K.                     ONEAL, KIMBERLY K.                 ONEAL, LINNEA M.
ADDRESS ON FILE                        ADDRESS ON FILE                    ADDRESS ON FILE




ONEAL, LOJUANNA                        ONEAL, MARY                        ONEAL, MELISSA G.
302 WILKS DRIVE EAST                   P.O. BOX 1681                      ADDRESS ON FILE
FORT PAYNE, AL 35967                   ELLIJAY, GA 30540




ONEAL, PHYLLIS JEAN                    ONEAL, RICHARD                     ONEAL, ROBERT
2951 COBURG ROAD, APT 226              1603 MARCELLA DR                   140 MIMOSA CR
EUGENE, OR 97408-0000                  MARION, IL 62959                   MARIANNA, AR 72360
ONEAL, SHANNON D.        Case 20-10766-BLS    Doc 6D. Filed 04/07/20
                                       ONEAL, TRISTA                     Page 1333
                                                                              ONEAL,of 1969
                                                                                    WANDA
12230 S LAFAYETTE                       135 POND STREET                       563 PATTERSON ROAD
CHICAGO, IL 60628                       MINERAL BLUFF, GA 30559               COPPERHILL, TN 37317




ONEIL, DENNIS                           ONEIL, JAMES J.                       ONEIL, KAREN H.
265 CONFEDERATE CIRCLE                  8548 W 145TH PLACE                    688 LITTLE BUSHY HEAD RD
MURPHY, NC 28906                        ORLAND PARK, IL 60462                 BLUE RIDGE, GA 30513




ONEIL, TAMMY J.                         ONEILL, BRANDEN                       ONEILL, THERESA A.
136 HAYES RD                            19617 S OLD COACH TRAIL               ADDRESS ON FILE
MARBLE, NC 28905                        FRANKFORT, IL 60423




ONESOURCE INDUSTRIES                    ONHOLD COMPANY                        ONKOS SURGICAL, INC
200 PINE AVE NORTH, STE A               6840 WEST 70TH STREET                 77 E. HALSEY RD
OLDSMAR, FL 34677                       SHREVEPORT, LA 71129                  PARSIPPANY, NJ 07054




ONLEY, KAREN                            ONSITE CALIBRATION SERVICE INC        ON-SITE TESTING SPECIALISTS INC
106 NORTON DR                           308 NEW VENTURE DRIVE                 5308 PARK AVENUE
WRENS, GA 30833                         LOUISVILLE, KY 40214                  BETHEL PARK, PA 15102




ONSTAD, DIANNE LOUISE                   ONTARGETJOBS INC                      ONTARIO REFRIGERATION
1347 ROUND UP DR                        HEALTHECAREERS NETWORK                SERVICE-NEVADA INC
EUGENE, OR 97401                        33292 COLLECTION CENTER DR            635 S MOUNTAIN AVE
                                        CHICAGO, IL 60693-0332                ONTARIO, CA 91762




ONTIVEROS, GABRIELA                     ONTIVEROS, GUADALUPE                  ONTKO, JAMES
4218 DIXON                              1807 MITTEL                           789 W HIDDEN VALLEY LAKES
BIG SPRING, TX 79720                    BIG SPRING, TX 79720                  MCCAYSVILLE, GA 30555




ONTRAC                                  ONUL, GEORGE                          ON-X LIFE TECHNOLOGIES INC
2280 TERMINAL ROAD                      5238 MIDDLEBRANCH NE                  P.O. BOX 102312
ROSEVILLE, MN 55113                     CANTON, OH 44705                      ATLANTA, GA 30368-2312




ONYX HEALTHCARE, INC                    ONYX HEALTHCARE, INC                  ONYX HEALTHCARE, INC
DRAWER 1725                             P.O. BOX 29494                        P.O. BOX 29494
P.O. BOX 5935                           PHOENIX, AR 85038-9494                PHOENIX, AZ 85038-9494
TROY, MI 48007-5935




ONYX M.D.                               OOTEN, JORDAN B.                      OOYEVAAR, GERARDUS
1355 S COLORADO BLVD, SUITE 700         ONE BAPTIST LANE                      1655 LORANE HWY
DENVER, CO 80222                        DINGESS, WV 25671                     EUGENE, OR 97405-0000
OPAL BUTCHER             Case 20-10766-BLS
                                       OPARA, Doc  6 Filed
                                              CHIDIEBERE M. 04/07/20      Page 1334 ofALAN
                                                                               OPDYKE, 1969
P.O. BOX 14                             ADDRESS ON FILE                        1261 WHITE COLUMNS DR
MEALLY, KY 41234-0014                                                          MONROE, GA 30656




OPDYKE, LYNN W.                         OPELL, EDDY                            OPELOUSAS GENERAL HEALTH SYSTEM
1261 WHITE COLUMNS DR.                  167 PEARL LANE                         539 PRUDHOMME STREET
MONROE, GA 30656                        LOUISA, KY 41230                       OPELOUSAS, LA 70570-6454




OPEN BIOME                              OPEN BROKERAGE GLOBAL SPECIALTY        OPERA HOUSE BISTRO
2067 MASSACHUSETTS AVE                  LINES                                  102 S MAIN
3RD FLOOR                               C N A INSURANCE COMPANY                RED BUD, IL 62278
CAMBRIDGE, MA 02140                     125 BROAD STREET, 8TH FLOOR
                                        NEW YORK, NY 10004



OPERATING ENGINEERS LOCAL 520           OPERATING ENGINEERS                    OPLAWSKI, GERTRUDE M.
EIGHT EXECUTIVE COURT                   ATTN CLAIMS DEPT                       ADDRESS ON FILE
SWANSEA, IL 62226                       6150 JOLIET ROAD
                                        COUNTRYSIDE, IL 60525




OPLINGER, SANDRA                        OPPORTUNITY FINANCIAL LLC              OPTI MEDICAL SYSTEMS
227 SHERI AVE NE                        75 REMITTANCE DRIVE DEPT 6231          P.O. BOX 932005
MASSILLON, OH 44646                     CHICAGO, IL 60675-6231                 ATLANTA, GA 31193-2005




OPTICAL SERVICES COMPANY                OPTIMED HEALTH PLANS                   OPTIMED HEALTH PLANS
5305 SOUTHFORT SW                       4 TERRY DRIVE                          4 TERRY DRIVE, SUITE 1
ALBUQUERQUE, NM 87105                   SUITE 1                                NEWTOWN, PA 18940
                                        NEWTOWN, PA 18940




OPTIMIST CLUB OF FORT PAYNE             OPTIMUM HEALTH CARE                    OPTIMUM HEALTHCARE IT LLC
P.O. BOX 681345                         P.O. BOX 151258                        LSQ FUNDING GROUP LLC
FORT PAYNE, AL 35968                    TAMPA, FL 33684                        ATLANTA, GA 30374-1383




OPTIMUS HOSPITALISTS & PEDIATRIC        OPTUM 360 LLC                          OPTUM CARE IMPROVEMENT PLUS
SUBSPECIALISTSLTD                       P.O. BOX 88050                         P.O. BOX 30760
900 JORIE BLVD, SUITE 186               CHICAGO, IL 60680-1050                 SALT LAKE CITY, UT 84130
OAK BROOK, IL 60523




OPTUM HEALTH                            OPTUM RX                               OPTUM RX
P.O. BOX 88050                          CLAIMS DEPT                            P.O. BOX 88050
CHICAGO, IL 60680-1050                  P.O. BOX 29044                         CHICAGO, IL 60680-1050
                                        HOT SPRINGS, AR 71903




OPTUM                                   OPTUM                                  OPTUM
MSC 410833                              P.O. BOX 415000                        P.O. BOX 415000
PO BOX 415000                           CHICAGO, IL 60680                      CHICAGO, IL 60680-1050
NASHVILLE, TN 37241
OPTUM                    Case 20-10766-BLS
                                       OPTUM Doc 6      Filed 04/07/20   Page 1335
                                                                              OPTUM of 1969
P.O. BOX 415000                        P.O. BOX 415000                        P.O. BOX 415000
NASHVILLE, TN 37241                    NASHVILLE, TN 37241-0833               NASHVILLE, TX 37241




OPTUM                                  OPTUM                                  OPTUM
P.O. BOX 88050                         P.O. BOX 88050                         PO BOX 415000
CHICAGO, IL 60680                      CHICAGO, IL 60680-1050                 MSC 410833
                                                                              NASHVILLE, TN 37241




OPTUM                                  OPTUM                                  OPTUM, INC
PO BOX 88050                           POB 88050                              11000 OPTUM CIRCLE
CHICAGO, IL 60680-1050                 CHICAGO, IL 60680-1050                 EDEN PRAIRIE, MN 55344




OPTUM360 LLC                           OPTUM360                               OPTUMCARE
P.O. BOX 88050                         P.O. BOX 88050                         P.O. BOX 30539
CHICAGO, IL 60680-1050                 CHICAGO, IL 60680-1050                 SALT LAKE CITY, UT 84130-0192




OPTUMHEALTH HOLDINGS, LLC              OPTUMINSIGHT INC                       OPTUMINSIGHT INC
9900 BREN ROAD EAST                    P O BOX 88050                          P.O. BOX 88050
MINNETONKA, MN 55343                   CHICAGO, IL 60680-1050                 CHICAGO, IL 60680-1050




OPTUMRX INC                            OPTUMRX                                OPTUS INC
9900 BREN RD E                         ATTN: REFUNDS/CLAIMS DEPT              3423 ONE PLACE
MINNETONKA, MN 55343-0000              P.O. BOX 29044                         JONESBORO, AR 72404
                                       HOT SPRINGS, AR 71903




OPTUS INC                              OPTUS INC                              OPTUS INC
3423 ONE PLACE                         3423 ONE PLACE                         P O BOX 2503
P.O.BOX 2503                           P.O.BOX 2503                           JONESBORO, AR 72402
JONESBORO, AR 72402                    JONESBORO, AR 72404




OQUIRRH RADIOLOGY ASSOC, LLC           OR COMPANY, THE                        OR DEPT OF AGRICULTURE
P.O. BOX 639                           SURGICAL PRINCIPALS, INC               P.O. BOX 4395, UNIT 17
TOOELE, UT 84074                       1625 SOUTH TACOMA WAY                  PORTLAND, OR 97208-4395
                                       TACOMA, WA 98409




OR DEPT OF HUMAN SERVICE               OR SUPPLY - DRE MEDICAL                ORACLE AMERICA INC
AR & RECEIPTING UNITS                  1800 WILLIAMSON COURT                  500 ORACLE PKWY
P.O. BOX 4325                          LOUISVILLE, KY 40223                   REDWOOD SHORES, CA 94065
PORTLAND, OR 97208-9992




ORANGE COUNTY COURIER & LOGISTICS      ORANGE HEALTH SOLUTIONS, INC           ORANGE, ANGELA D.
17731 IRVINE BLVD 110                  DEPT 3860                              ADDRESS ON FILE
TUSTIN, CA 92780                       P.O. BOX 123860
                                       DALLAS, TX 75312-3860
ORANGE, BETTY L         Case 20-10766-BLS   Doc
                                      ORANGE,    6 Filed 04/07/20
                                              BETTY                        Page 1336 ofGENE
                                                                                ORANTE, 1969A.
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE




ORASURE TECHNOLOGIES INC               ORASURE TECHNOLOGIES, INC                ORAWIEC, TRACY L.
P.O. BOX 780518                        220 EAST FIRST ST                        ADDRESS ON FILE
PHILADELPHIA, PA 19178-0518            BETHLEHEM, PA 18015-1360




ORBIZO, RYAN S.                        ORCHARD FIRST SOURCE CAPITAL INC.        ORCHARD FIRST SOURCE CAPITAL INC.
230 MISTY GLADE LN. APARTMENT E        OFSI FUND VI, LTD.                       OFSI FUND VII, LTD.
WATSONVILLE, CA 95076




ORCHID PARTNERS LLC                    ORCUTT, CALLIE M.                        ORDELL CONSTRUCTION LLC
C/O J H KAPLAN                         ADDRESS ON FILE                          29771 E ENID ROAD
4031 GULF SHORE BLVD N - STE PH-3B                                              EUGENE, OR 97402
NAPLES, FL 34103-0000




ORDELL CONSTRUCTION LLC                ORDESTA, JOAN J.                         ORDONEZ ,RAMIREZ, J.
29771 E ENID ROAD                      ADDRESS ON FILE                          ADDRESS ON FILE
EUGENE, OR 97402-9632




ORDONEZ, EDDIE                         ORDONEZHUITZ, VIRIDIANA                  ORDOVAS, SULAY
ADDRESS ON FILE                        1840 N DELANY RD, APT 222                ADDRESS ON FILE
                                       GURNEE, IL 60031




ORE DEPT OF REVENUE- GARN              OREBAUGH, TERRI                          OREGON ANESTHESIOLOGY GROUP IN
P.O. BOX 14725                         209 WILLOW                               707 SW WASHINGTON ST, SUITE 700
SALEM, OR 97309-5018                   COLLINSVILLE, IL 62234                   PORTLAND, OR 97205-3536




OREGON ANESTHESIOLOGY GROUP PC         OREGON BOARD OF PHARMACY                 OREGON BUREAU OF LABOR AND
1706 O146                              800 NE OREGON STREET, SUITE 150          INDUSTRIES
707 SW WASHINGTON ST, SUITE 700        PORTLAND, OR 97232                       800 NE OREGON STREET, SUITE 1045
PORTLAND, OR 97205-3536                                                         PORTLAND, OR 97232




OREGON BUREAU OF LABOR AND             OREGON BUREAU OF LABOR AND               OREGON CANCER FOUNDATION
INDUSTRIES                             INDUSTRIES, CVIL RIGHTS DIVISION         P.O. BOX 11004
800 NE OREGON STREET, SUITE 150        CIVIL RIGHTS DIVISION                    EUGENE, OR 97440
PORTLAND, OR 97232                     800 NE OREGON ST., SUITE 1045
                                       PORTLAND, OR 97232



OREGON CORRECTIONS ENTERPRISES         OREGON CREDIT & COLLECTIONS BUREAU       OREGON DEPARTMENT OF JUSTICE
P.O. BOX 12849                         P.O. BOX 826                             FINANCIAL FRAUD
SALEM, OR 97309                        ALBANY, OR 97321                         CONSUMER PROTECTION SECTION
                                                                                1162 COURT ST NE
                                                                                SALEM, OR 97301-4096
OREGON DEPARTMENT OF Case 20-10766-BLS
                     REVENUE       OREGONDoc    6 Filed
                                            DEPARTMENT  OF04/07/20
                                                          REVENUE          Page 1337 ofDEPARTMENT
                                                                                OREGON  1969      OF REVENUE
955 CENTER ST NE                   P.O. BOX 14260                               P.O. BOX 14720
SALEM, OR 97301                    SALEM, OR 97309-5060                         SALEM, OR 97309




OREGON DEPARTMENT OF REVENUE          OREGON DEPARTMENT OF REVENUE              OREGON DEPARTMENT OF STATE LANDS
P.O. BOX 14800                        P.O. BOX 14950                            775 SUMMER ST NE STE 100
SALEM, OR 97309-0920                  SALEM, OR 97309-0950                      UNCLAIMED PROPERTY SECTION UNIT 18
                                                                                SALEM, OR 97301-1279




OREGON DEPT OF ENVIRONMENTAL          OREGON DEPT OF FISH AND WILDLIFE          OREGON DIALYSIS SERVS-HOSPT CAMPUS
QUALITY                               4034 FAIRVIEW INDUSTRIAL DRIVE, SE        16343 COLLECTIONS CENTER DR
700 NE MULTNOMAH ST, STE 600          SALEM, OR 97302                           CHICAGO, IL 60693
PORTLAND, OR 97232-4100




OREGON HEALTH AUTHORITY               OREGON HEALTH AUTHORITY                   OREGON HEALTH AUTHORITY
500 SUMMER ST NE, E44                 500 SUMMER ST. NE E-08                    ATTN: JANA FUSSELL
SALEM, OR 97301                       SALEM, OR 97301                           PUBLIC HEALTH DIVISION
                                                                                800 NE OREGON STREET
                                                                                PORTLAND, OR 97232



OREGON HEALTH AUTHORITY               OREGON HEALTH AUTHORITY                   OREGON HEALTH AUTHORITY
ATTN:RECEIPTING (PROVIDER TAX PYMT)   DHS/OHA RECEIPTING UNIT                   DIVISION OF MEDICAL ASSISTANCE
500 SUMMER ST NE E-08                 MMIS-DMAP/AMH P.O. BOX 14955              PROGRAMS
SALEM, OR 97301                       SALEM, OR 97309                           PROVIDER ENROLLMENT
                                                                                500 SUMMER STREET NE
                                                                                SALEM, OR 97301-1079

OREGON HEALTH AUTHORITY               OREGON HEALTH AUTHORITY                   OREGON HEALTH AUTHORITY
HEALTH CARE REG & QUALITY IMP         HEALTH CARE REG. AND QUAL. IMPROV.        MEDICAID STATE PLAN
P.O. BOX 14260                        PROG. (HCRQI)                             500 SUMMER STREET
PORTLAND, OR 97293-0260               800 NE OREGON STREET, SUITE 305           NE, E-20
                                      PORTLAND, OR 97232                        SALEM, OR 97301-1097



OREGON HEALTH AUTHORITY               OREGON HEALTH AUTHORITY                   OREGON HEALTH DECISIONS
PUBLIC HEALTH DIVISION                RADIATION PROTECTION SERVICES             7451 SW COHO COURT 101
LABORATORY COMPLIANCE SECTION         800 NE OREGON ST, STE 640                 TUALATIN, OR 97062
3150 NW 229TH AVE. STE 100            PORTLAND, OR 97232
HILLSBORO, OR 97124-7251



OREGON HEALTH LEADERSHIP COUNCIL      OREGON HEALTHCARE RESOURCES LLC           OREGON HEALTHCARE RESOURCES, INC
11740 SW 68 PKWY SUITE 100            OREGON MEDICAL GROUP                      1580 VALLEY RIVER DRIVE, SUITE 200
PORTLAND, OR 97223                    1580 VALLEY RIVER DR - STE 210            EUGENE, OR 97401
                                      EUGENE, OR 97401




OREGON HEALTHCARE RESOURCES, LLC      OREGON HOOD CLEANING, LLC                 OREGON LUNG SPECIALISTS LLC
1580 VALLEY RIVER DRIVE SUITE 200     P.O. BOX 12851                            3355 RIVERBEND DR 240
EUGENE, OR 97401                      SALEM, OR 97309                           SPRINGFIELD, OR 97477-8800




OREGON MEDICAL GROUP 1706 O158        OREGON MEDICAL GROUP                      OREGON MEDICAL GROUP
PETRA KUHFAHL MD                      JAMES MCGHAN                              LAURA E. LABONTE, MD
P.O. BOX 1648                         1580 VALLEY RIVER DR SUITE 200            1580 VALLEY RIVER DR., SUITE 200
EUGENE, OR 97440                      EUGENE, OR 97401                          EUGENE, OR 97401
OREGON MEDICAL GROUP Case 20-10766-BLS
                                   OREGONDoc     6 GROUP
                                            MEDICAL Filed 04/07/20      Page 1338 ofMEDICAL
                                                                             OREGON  1969 GROUP
NANCY MALONEY,MD.                  P.O. BOX 1648                             PETRA KUHFAHL MD
1580 VALLEY RIVER DR.,SUITE 200    EUGENE, OR 97440                          P.O. BOX 1648
EUGENE, OR 97401                                                             EUGENE, OR 97440




OREGON MEDICAL GROUP                 OREGON MEDICAL GROUP                    OREGON MEDICAL GROUP
RONALD KWONG                         SHUGI ZHENG, MD                         WILLIAM E WILKINS JR MD
1580 VALLEY RIVER DR, SUITE 200      1580 VALLEY RIVER DR., SUITE 200        P.O. BOX 1648
EUGENE, OR 97401                     EUGENE, OR 97401                        EUGENE, OR 97440




OREGON NURSES ASSOCIATION            OREGON NURSES ASSOCIATION               OREGON NURSES ASSOCIATION
1460 G STREET                        18675 SW BOONES FERRY ROAD              18765 SW BOONES FERRY RD
SPRINGFIELD, OR 97477                SUITE 200                               SUITE 200
                                     TUALATIN, OR 97062                      TUALATIN, OR 97062




OREGON OCCUPATIONAL SAFETY AND       OREGON PATIENT SAFETY COMMISSI          OREGON PERFUSION SERVICES LLC
HEALTH ADMINISTRATION                P.O. BOX 285                            9155 SW BARNES ROAD 240
350 WINTER STREET, NE, ROOM 430      PORTLAND, OR 97204                      PORTLAND, OR 97225
SALEM, OR 97301-3882




OREGON RESTAURANT & LODGING          OREGON RIDERS SOCIETY                   OREGON STATE BOARD OF PHARMACY
ASSOCIATION                          5629 D STREET                           800 NE OREGON ST, STE 150
8565 SW SALISH LN 120                SPRINGFIELD, OR 97478-0000              PORTLAND, OR 97232
WILSONVILLE, OR 97070




OREGON STATE BOARD OF PHARMACY       OREGON STATE COUNCIL OF                 OREGON STATE DEPARTMENT OF HEALTH
800 NE OREGON STREET 150             PERIOPERATIVE NURSES                    ATTN: ANGELA ALLBEE, LEGISLATIVE
PORTLAND, OR 97205-2554              1190 STATE STREET                       COORDINATOR
                                     NORTH BEND, OR 97459                    PUBLIC HEALTH DIVISION
                                                                             800 NE OREGON STREET
                                                                             PORTLAND, OR 97232

OREGON STATE PUBLIC HEALTH           OREGON SUPPORTED LIVING PROGRAM         OREGON TAXI
DEPT OF HUMAN SERVICES               412 PEARL STREET                        92 CENTENNIAL LOOP
P.O. BOX 14260                       EUGENE, OR 97401                        EUGENE, OR 97401-0000
PORTLAND, OR 97293-0260




OREGON UROLOGY INSTITUTE, PC         OREILLY AUTOMOTIVE STORES INC           OREILLY, CHRISTY E.
2400 HARTMAN LANE, STE 100           P.O. BOX 9464                           229 BARBER STREET
SPRINGFIELD, OR 97477                SPRINGFIELD, MO 65801-9464              ATHENS, GA 30601




OREJEL, MARTIN                       ORELLA, PETER                           OREM, SHARON
ADDRESS ON FILE                      8641 SCHULINE ROAD                      85139 RIDGETOP DR
                                     WALSH, IL 62297                         EUGENE, OR 97405




ORENGO, OLGA D.                      ORGANOGENESIS INC                       ORGANOGENESIS INC
2050 YORK STREET                     150 DAN ROAD                            75 REMITTANCE DRIVE, SUITE 6694
BLUE ISLAND, IL 60406                CANTON, MA 02021                        CHICAGO, IL 60675-6694
ORGANOGENESIS INC       Case 20-10766-BLS  Doc 6 INC
                                      ORGANOGENESIS Filed 04/07/20       Page 1339 of 1969 INC
                                                                              ORGANOGENESIS,
DEPT 2542                              P.O. BOX 122542                        DEPT 2542
P.O. BOX 122542                        DALLAS, TX 75312-2542                  PO BOX 122542
DALLAS, TX 75312-2542                                                         DALLAS, TX 75312-2542




ORGILL, JUDY                           ORI ACQUISITION INC                    ORIENTAL TRADING COMPANY
335 E MAIN                             OFFICE RESOURCES INC                   P O BOX 14502
GRANTSVILLE, UT 84029                  P.O. BOX 43339                         DES MOINES, IA 50306
                                       LOUSIVILLE, KY 40253




ORIGEL, MARY A.                        ORION PROFESSIONAL STAFFING            ORITZ, JANET
13164 GREENWOOD AVENUE                 2250 N. ILLINIOS AVE, SUITE 106        11801 S RIDGEWAY
BLUE ISLAND, IL 60406                  CARBONDALE, IL 62901                   ALSIP, IL 60803




ORKIN EXTERMINATING CO INC             ORKIN INC                              ORKIN PEST CONTROL
3200 TURNAGE RDR ROAD                  1701 A HOWARD STREET                   8031 HAYPORT ROAD
WILSON, NC 27893                       ELK GROVE, IL 60007                    WHEELERSBURG, OH 45694-1673




ORKIS, MARIAN                          ORLAN, BETHUNE                         ORLAND, HAUN
1411 CHADFORD GATE SE                  P.O. BOX 81                            815 LAKESHORE DR S
CANTON, OH 44709-4818                  SYLVANIA, AL 35988                     GOREVILLE, IL 62939




ORLANDINI, LORNA E.                    ORLANDO DARIO J                        ORLANDO, DARIO J.
711 VAUX STREET                        ADDRESS ON FILE                        ADDRESS ON FILE
ZEIGLER, IL 62999




ORLANDO, KASEY                         ORLANDO, TAMRA L.                      ORLANDO, TAMRA
270 20TH ST SE                         ADDRESS ON FILE                        ADDRESS ON FILE
MASSILLON, OH 44646




ORLANDO, TAMRA                         ORNDORF, JACK                          ORNELA, KIMBERLY
ADDRESS ON FILE                        179 PRIMROSE LN, LOT 64                121 N PINEHURST AVE
                                       HOWARD, PA 16841                       TOOELE, UT 84074




ORNELAS, DARCY K.                      ORNELAS, LETICIA M.                    ORNELAS, NICK
ADDRESS ON FILE                        1228 SAN GABRIEL CT                    511 NW 7TH ST
                                       WATSONVILLE, CA 95076                  BIG SPRING, TX 79720




OROQUITA, RALPH RICHARD                ORORA VISUAL LLC                       OROSCO, VIRGIE A.
10310 W YORKHOUSE RD                   P.O. BOX 733489                        ADDRESS ON FILE
WAUKEGAN, IL 60087                     DALLAS, TX 75373-3489
OROURKE, AIDEN M.        Case 20-10766-BLS   Doc
                                       OROZCO,    6 Filed
                                               CHRISTINA R. 04/07/20        Page 1340 of EDDIE
                                                                                 OROZCO,  1969
ADDRESS ON FILE                         15767 TUSCOLA RD APT 9                   P.O. BOX 55 1601 SAIZ RD
                                        APPLE VALLEY, CA 92307                   SANTA ROSA, NM 88435




OROZCO, ESLY J.                         OROZCO, YESICA                           ORPHEUM THEATRE
2121 S IRON ST                          ADDRESS ON FILE                          57 S KELLOGG
DEMING, NM 88030                                                                 GALESBURG, IL 61401




ORPILLA, LIGAYA T.                      ORR ANDREA J                             ORR, GARY
P.O. BOX 166                            108 SPRING ST                            519 S WASHINGTON STREET
WATSONVILLE, CA 95077                   COLLINSVILLE, AL 35961                   CAMPTON, KY 41301-9503




ORR, JAMES R.                           ORR, JENNIFER                            ORR, JOHN C.
4847 REVERE NW ST RT 236                9302 RIDGE ROAD                          ADDRESS ON FILE
MASSILLON, OH 44647                     SPARTA, IL 62286




ORR, KENNETH                            ORR, LUCILLE                             ORR, STACEY E.
2514 W 127TH ST                         819 CHERRY RD NW                         ADDRESS ON FILE
BLUE ISLAND, IL 60406                   MASSILLON, OH 44647




ORR, ZACHARY W.                         ORRICK HERRINGTON & SUTCLIFFE LLP        ORRICK HERRINGTON & SUTCLIFFE LLP
1622 S 18TH ST                          4619 SOLUTIONS CENTER                    51 W 52ND ST
ST LOUIS, MO 63104                      LOCKBOX 774619                           NEW YORK, NY 10019-6142
                                        CHICAGO, IL 60677-4006




ORSECH, TIMOTHY S.                      ORSI, SHANEL                             ORT, AMBER
306 MELVIN DRIVE                        ADDRESS ON FILE                          ADDRESS ON FILE
EAST SAINT LOUIS, IL 62206




ORT, AMBER                              ORTEGA SATURNINA                         ORTEGA, AMBERLY M.
ADDRESS ON FILE                         218 ART ST                               702 CATALINA CT
                                        COLLINSVILLE, IL 62234                   LAS VEGAS, NM 87701




ORTEGA, AMBERLY                         ORTEGA, ASHLEY D.                        ORTEGA, CARLA
C/O AVRH                                ADDRESS ON FILE                          413 PEGGY LN
104 LEGION DR                                                                    LAS VEGAS, NM 87701
LAS VEGAS, NM 87701




ORTEGA, ELVIA                           ORTEGA, HESTER A.                        ORTEGA, OSCAR
32 THARP AVE                            ADDRESS ON FILE                          10025 S. ESCANABA AVE
WATSONVILLE, CA 95076                                                            CHICAGO, IL 60617
ORTEGA, RICARDO         Case 20-10766-BLS
                                      ORTEN, Doc
                                             ALEX 6      Filed 04/07/20   Page 1341
                                                                               ORTEN,of 1969M.
                                                                                     ANGELA
ADDRESS ON FILE                        163 WASHINGTON ST                       ADDRESS ON FILE
                                       ST AUGUSTINE, IL 61474




ORTHO CLINICAL DIAGNOSTICS INC         ORTHO CLINICAL DIAGNOSTICS              ORTHO CLINICAL DIAGNOSTICS
P.O. BOX 3655                          P.O. BOX 3655                           P.O. BOX 3655
CAROL STREAM, IL 60132-3655            CAROL STREAM, IL 60132                  CAROL STREAM, IL 60132-3655




ORTHO CLINICAL DIAGNOSTICS             ORTHO TECH SPORTS MEDICAL               ORTHOALIGN INC
PO BOX 3655                            EQUIPTMENT                              120 COLUMBIA, SUITE 500
CAROL STREAM, IL 60132                 P.O. BOX 430                            ALISO VIEJO, CA 92656
                                       HERRIN, IL 62948




ORTHO-CLINICAL DIAGNOSTICS INC         ORTHO-CLINICAL DIAGNOSTICS INC          ORTHO-CLINICAL DIAGNOSTICS J&J
P O BOX 3655                           P.O. BOX 3655                           P.O. BOX 3655
CAROL STREAM, IL 60132-3655            CAROL STREAM, IL 60132-3655             CAROL STREAM, IL 60132-3655




ORTHOFIX INC                           ORTHOFIX                                ORTHOFIX, INC.
P.O. BOX 849806                        P.O. BOX 849806                         POB 849806
DALLAS, TX 75284-9806                  DALLAS, TX 75284-9806                   DALLAS, TX 75284-9806




ORTHOMED INC.                          ORTHOPAEDIC INSTITUTE OF SO IL &        ORTHOPAEDIC SOLUTIONS, INC
14875 SW 72ND AVE                      SWASTIK KUMAR SINHA, MD                 1200 EAST BROADWAY
TIGARD, OR 97224                       510 LINCOLN DRIVE                       ALTON, IL 62002
                                       HERRIN, IL 62948




ORTHOPEDIATRICS US DISTRIBUTION        ORTHOPEDIC INSTITUTE PF PENNSYLVANIA    ORTHOREBIRTH USA, CORPORATION
2850 FRONTIER DRIVE                    3399 TRINDLE RD                         102 W MORROW ST, SUITE 204
WARSAW, IN 46582                       CAMP HILL, PA 17011                     GEORGETOWN, TX 78626




ORTHOSCAN, INC                         ORTIS, ORVILLE                          ORTIZ II, GREGORY B.
8212 E EVANS RD                        946 S 9TH STREET                        2412 CLEVELAND BLVD
SCOTTSDALE, AZ 85260                   HARRISBURG, OR 97446                    GRANITE CITY, IL 62040




ORTIZ IV, ARCADIO C.                   ORTIZ JUDITH                            ORTIZ MARY JEAN
ADDRESS ON FILE                        ADDRESS ON FILE                         1839 8TH ST
                                                                               LAS VEGAS, NM 87701-0000




ORTIZ OLIMPIA                          ORTIZ RIOS, ROWENNE M.                  ORTIZ ROBERTA
2206 HAWTHORN LANE                     ADDRESS ON FILE                         ADDRESS ON FILE
WAUKEGAN, IL 60087
ORTIZ VANESSA             Case 20-10766-BLS     Doc 6T. Filed 04/07/20
                                        ORTIZ, ALEXIS                    Page 1342   of 1969
                                                                              ORTIZ, ANGELA
710 N ASH ST                              ADDRESS ON FILE                     33295 N. SUNSET AVE.
WAUKEGAN, IL 60085                                                            GRAYSLAKE, IL 60030




ORTIZ, ANNAROSE                           ORTIZ, CHARLOTTE K.                 ORTIZ, DAISY
2725 14TH ST                              460 37TH STREET                     60 OAK RD.
WINTHROP HARBOR, IL 60096                 SPRINGFIELD, OR 97478               WATSONVILLE, CA 95076




ORTIZ, DAISY                              ORTIZ, DENNIS                       ORTIZ, ENRIQUE
809 COMMONWEALTH AVE                      1044 5TH STREET                     1826 KELLOGG AVE
WAUKEGAN, IL 60085                        LAS VEGAS, NM 87701                 WAUKEGAN, IL 60087




ORTIZ, JOSHUA                             ORTIZ, JUDITH                       ORTIZ, JULIO A.
817 RAILROAD AVE                          ADDRESS ON FILE                     50 MILLER RD
LAS VEGAS, NM 87701                                                           WATSONVILLE, CA 95076




ORTIZ, KARLY M.                           ORTIZ, LYDIA                        ORTIZ, MARCOS D.
ADDRESS ON FILE                           5148 W MONTROSE AVE                 ADDRESS ON FILE
                                          CHICAGO, IL 60641




ORTIZ, MAXINE G.                          ORTIZ, OLIVIA R.                    ORTIZ, RAYMOND F.
ADDRESS ON FILE                           313 PEREZ STREET                    ADDRESS ON FILE
                                          LAS VEGAS, NM 87701




ORTIZ, ROBERTA                            ORTIZ, ROBERTA                      ORTIZ, SABRINA
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE




ORTIZ, SHELBI                             ORTIZ, UBALDO                       ORTIZ, VALERIE A.
579 NELSON AVE                            3041 NORTH 61 ST                    P.O. BOX 32
TOOELE, UT 84074                          E ST LOUIS, IL 62201                SANTA CLARA, NM 88026




ORTIZ, YURI                               ORTIZ-GARCIA, BRENDA L.             ORTON SR, LARRY
789 GREEN VALLEY RD SP116                 ADDRESS ON FILE                     1250 200TH AVE
WATSONVILLE, CA 95076                                                         MONMOUTH, IL 61462




ORTON, ROBERT W.                          ORTON, ROYDEN                       ORVAL, RECTOR
P.O. BOX 455                              157 HARVEST LN                      718 E. UNION STREET
MINERAL BLUFF, GA 30559                   GRANTSVILLE, UT 84029               MARION, IL 62959-3474
ORVIS, SHERI             Case 20-10766-BLS   Doc 6 J Filed 04/07/20
                                       ORWIG PAMELA                    Page 1343
                                                                            ORWIG,of 1969J.
                                                                                   PAMELA
102 MARSHALL AVE                        1384 W LOSEY ST                      1384 W LOSEY ST
WILLIAMSTON, NC 27892                   GALESBURG       IL, IL 61401         GALESBURG       IL, IL 61401




ORWIN, ALYSSA                           ORZECHOWSKI, DANIELLE                OSBAHR, LEAH
1472 N 490 EAST                         ADDRESS ON FILE                      329 RIVERSIDE DRIVE
TOOELE, UT 84074                                                             SLIPPIN, AR 72634




OSBORN MEDICAL CORPORATION              OSBORN, MICKIE                       OSBORN, RONNIE
P.O. BOX 1499                           201 N SUNNY LANE                     ADDRESS ON FILE
DENVER, CO 80201                        MONMOUTH, IL 61462




OSBORN, THELDA P.                       OSBORNE, CLYDE E.                    OSBORNE, DANNY
151 E 200 S                             1433 COUNTY RD 22                    1033 S 42ND ST, APT 12
TOOELE, UT 84074                        PISGAH, AL 35765-8425                MT. VERNON, IL 62864




OSBORNE, DANNY                          OSBORNE, DENICE                      OSBORNE, DORRIS
620 S 20TH ST                           7475 BYRON AVE NE                    275 E CARL SANDBURG DR
MT VERNON, IL 62864                     CANTON, OH 44721-1908                GALESBURG, IL 61401




OSBORNE, JACOB                          OSBORNE, JACQULYN                    OSBORNE, JAMES H.
584 MILL BRANCH ROAD                    125 S JEFFERSON ST                   2775 BIG CAT FORK ROAD
CATLETTSBURG, KY 41129                  LOUISA, KY 41230                     LOUISA, KY 41230




OSBORNE, JESSICA M.                     OSBORNE, JIMMY                       OSBORNE, KALEENA D.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




OSBORNE, LORNA I.                       OSBORNE, PAMELA K.                   OSBORNE, RACHELLE L.
ADDRESS ON FILE                         ADDRESS ON FILE                      313 BROWN ST
                                                                             PAINTSVILLE, KY 41240




OSBY, ALANA                             OSCHWALD, MADISON                    OSCOR, INC
39749 AL 75                             160 SOUTH OAK                        3816 DESOTO BLVD
FYFFE, AL 35971                         COTTAGE HILLS, IL 62018              PALM HARBOR, FL 34683-0000




OSEI, GLORIA                            OSF HEALTHCARE CREDENTIALING         OSF HEALTHCARE SYSTEMS
403 LAKESHORE DR.                       7707 NORTH KNOXVILLE                 800 NE GLEN OAK AVE
MONROE, GA 30655                        STE 200                              PEORIA, IL 61603
                                        PEORIA, IL 61614
OSF HEALTHCARE             Case 20-10766-BLS   Doc 6 Filed 04/07/20
                                         OSF HEALTHCARE                  Page 1344  of 1969
                                                                              OSF HEALTHCARE
7915 N HALE AVENUE                       P.O. BOX 1712                        PO BOX 1712
PEORIA, IL 61615                         PEORIA, IL 61656                     PEORIA, IL 61656




OSF SAINT FRANCIS MEDICAL CENT           OSF ST FRANCIS MEDICAL CETNER        OSGOOD, JASON C.
530 NE GLEN OAK                          530 N.E. GLEN OAK                    ADDRESS ON FILE
PEORIA, IL 61603-3133                    PEORIA, IL 61637




OSGOOD, JULIE A.                         OSHANIC, COLLEEN B.                  OSHAUGHNESSY, ALLAN
ADDRESS ON FILE                          1070 PHILLIPS RD NW                  890 KITTY HAWK DR
                                         MONROE, GA 30656-3523                UNIT 2011
                                                                              MESQUITE, NV 89027-3238




OSHE, STEPHEN A.                         OSHEA, KAREN P.                      OSHEA, SHARLYNN M.
2158 45TH STREET APT 427                 12565 S NASHVILLE                    9253 S UTICA
HIGHLAND, IN 46322                       PALOS HEIGHTS, IL 60463              EVERGREEN PARK, IL 60805




OSHIELDS, NORMA H.                       OSI BATTERIES/OHLIN SALE             OSI ORTHOPEDIC SYSTEMS INC.
ADDRESS ON FILE                          LOCKBOX 12-1976                      PO BO 1468
                                         P.O. BOX 86                          30031 AHERN AVENUE
                                         MINNEAPOLIS, MN 55486-1976           UNION CITY, CA 94587




OSIER, CHRISTOPHER A.                    OSIRIS THERAPEUTICS INC              OSIRIS THERAPEUTICS INC
9119 LINCOLN CT APT 305                  7015 ALBERT EINSTEIN DRIVE           7015 ALBERT EINSTEN DR.
ORLAND PARK, IL 60462                    COLUMBIA, MD 21046-1707              COLUMBIA, MD 20146-1707




OSIRIS THERAPEUTICS, INC                 OSIRIS THERAPEUTICS, INC             OSIRIS THERAPEUTICS, INC.
7015 ALBERT EINSTEIN DRIVE               P.O. BOX 37553                       7015 ALBERT EINSTEIN DRIVE
COLUMBIA, MD 21046-1707                  BALTIMORE, MD 21297-3553             COLUMBIA, MD 21046




OSMAN, MARGARET                          OSMER, MARGIE                        OSMOND, ROBERT
404 S SPILLMAN F                         ADDRESS ON FILE                      710 N. 1ST STREET
MARION, IL 62959                                                              FAIRFIELD, IL 62837-2448




OSNARD, PIERRE                           OSORNIO, SILVINO                     OSSUR AMERICAS, INC.
3115 WRENWOOD CT                         508 N PINE ST                        P.O. BOX 83190
LOGANVILLE, GA 30052                     WAUKEGAN, IL 60085                   WOBURN, MA 01813-3190




OST, CATHY A.                            OSTBY, NATHAN LEE                    OSTEOMED CORPORATION
4539 LOUISE DR NW                        2289 BIRCHWOOD AVE                   2241 COLLECTION CENTER DR
CANTON, OH 44718                         EUGENE, OR 97401                     CHICAGO, IL 60693
OSTEOMED CORPORATIONCase 20-10766-BLS    DocLLC
                                  OSTEOMED     6 Filed 04/07/20   Page 1345 of 1969
                                                                       OSTEOMED LLC
2241 COLLECTION CENTER DRIVE      2241 COLLECTION CENTER DR            2241 COLLECTION CENTER DRIVE
CHICAGO, IL 60693                 CHICAGO, IL 60693                    CHICAGO, IL 60693




OSTEOMED LLC                         OSTEOMED LLC                      OSTEOMED
3885 ARAPAHO RD                      3885 ARAPAHO ROAD                 2241 COLLECTION CEN DR
ADDISON, TX 75001                    ADDISON, TX 75001-0000            CHICAGO, IL 60693




OSTEOREMEDIES LLC                    OSTEOREMEDIES LLC                 OSTER, BRENT
MAIL CODE 7941                       P.O. BOX 930536                   2801 CACTUS
P.O. BOX 7247                        ATLANTA, GA 31193-0536            BIG SPRING, TX 79720
PHILADELPHIA, PA 19170-7941




OSTERBERG, LAURA CATHERINE           OSTERGARD, ALEXI                  OSTERMAN, SERENA
460 LINDALE DR APT 101               4124 S. E ST                      144 SILVER SAGE DR B
SPRINGFIELD, OR 97477                SPRINGFIELD, OR 97478             EVANSTON, WY 82930




OSTERMAN, SERENA                     OSTERMAN, WILLIAM J.              OSTLER, CHRISTOPHER C.
144 SILVERSAGE DR APT B              7482 JUSTUS AVE SW                292 N 100 W
EVANSTON, WY 82930                   NAVARRE, OH 44662                 TOOELE, UT 84074




OSTLING, JAN                         OSTRANDER WINDOW CLEANING         OSTRANDER, JASON
2257 WEST 120TH ST                   P.O. BOX 215                      P.O. BOX 74
BLUE ISLAND, IL 60406                ABINGDON, IL 61410                ONEIDA, IL 61467




OSTRANDER, SHANNA D.                 OSTRESH, TINA                     OSTROM, ANJANETTE T.
3398 COUNTY ROAD 173 P.O. BOX 1309   10 JOSEPH CT                      33022 VAN DUYN RD 29
COLORADO CITY, TX 79512              GRANITE CITY, IL 62040            COBURG, OR 97408




OSTROM, ANJANETTE T.                 OSUCH, ALAN                       OSWALD, DONALD
P.O. BOX 51375                       5024 WILLIAMS AVENUE              1772 BRENTCO RD
EUGENE, OR 97405                     RUN FOR A GOAL 5K                 CANTONMENT, FL 32533
                                     ASHLAND, KY 41101




OSWALD, JAMES C.                     OSWALD, SUSAN                     OSWALT JR, WILLIAM
509 FOREST DR                        16731 BAUMANN ROAD                229 SFC 434
GREENVILLE, AL 36037                 POCAHONTAS, IL 62275              FORREST CITY, AR 72335




OSWALT, WILLIAM                      OTABOR, YINKA                     OTC BRANDS INC
229 SFC 434                          3309 OAK ST                       ORIENTAL TRADING
FORREST CITY, AR 72335               HAZEL CREST, IL 60429             DES MOINES, IA 50306
OTC BRANDS, INC          Case 20-10766-BLS   Doc 6
                                       OTC BRANDS, INC. Filed 04/07/20   Page 1346
                                                                              OTERO,of 1969
                                                                                     ELEAZANDRA
P.O. BOX 14502                           4206 S 108TH ST                      600 N. SLOCUM ST P.O. BOX 983
DES MOINES, IA 50306                     OMAHA, NE 68137-1215                 COLUMBUS, NM 88029




OTEY, DENISE                             OTICON INC                           OTICON MEDICAL LLC
333 RUSS ST.                             P O BOX 347996                       580 HOWARD AVENUE
WEST HELENA, AR 72390                    PITTSBURGH, PA 15251-4996            SOMERSET, NJ 08873




OTIS ELEVATOR COMPANY                    OTIS ELEVATOR                        OTIS LINDA D
P.O. BOX 73579                           BOX 73579                            2344 DENDY ROAD
CHICAGO, IL 60673-7579                   CHICAGO, IL 60673                    FORT PAYNE, AL 35968




OTOUPALIK, HOLLY M.                      OTRADOVEC, BRIAN                     OTT MEDICAL GAS SYSTEMS INC
ADDRESS ON FILE                          150 BOSKYDELLS DR                    4052 COUNTY ROAD 94
                                         COLLINSVILLE, IL 62234               LAFAYETTE, AL 36862




OTT, ALICIA B.                           OTT, BRANDON                         OTT, CAROLINE
783 COUNTY ROAD 202                      P.O. BOX 58                          1240 AL HWY 117
RAINSVILLE, AL 35986                     OVERTON, NV 89040                    MENTONE, AL 35984




OTT, GLENDON                             OTT, HAISKELL L.                     OTT, LYNETTE
783 COUNTY RD 202                        135 COUNTY RD 237                    13042 NAVARRE RD SW
RAINSVILLE, AL 35986                     FLAT ROCK, AL 35966-8016             BEACH CITY, OH 44608




OTT, MARLANA N.                          OTTEM, KARI I.                       OTTO, MARGARET
407 SOUTH SALEM                          ADDRESS ON FILE                      9685 COUNTY RD 72 LOT 5
BIG SPRING, TX 79720-0979                                                     FYFFE, AL 35971




OTTO, MONICA                             OTTO, SARAH E.                       OTTO, STEPHANIE N.
6950 WESTWOOD ST SW                      1300 CLARK AVE NE                    1300 CLARK AVE NE
MASSILLON, OH 44646-8855                 FORT PAYNE, AL 35967                 FORT PAYNE, AL 35967




OTTOSON, MARK S.                         OTTOSON, WINNETTA K.                 OTUGUOR, AKPOMUDIARE MD
413 MOCKINGBIRD LANE                     1021 W FALLEN LAKE DR                232 GREEN ST
WATERLOO, IL 62298                       WATERLOO, IL 62298                   WILLIAMSTON, NC 27892




OTUGUOR, AKPOMUDIARE S.                  OTUONYE, KELECHUKWU                  OTWELL, DENISE
503 N SMITHWICK STREET SW                2411 PHILLIP DR                      ADDRESS ON FILE
WILLIAMSTON, NC 27892                    ZION, IL 60099
OTZ, JESSICA M.         Case 20-10766-BLS   Doc
                                      OUACHITA   6 Filed
                                               COUNTY      04/07/20
                                                      MEDICAL CENTER      Page 1347  of 1969
                                                                               OUELLETTE, RICHARD G.
ADDRESS ON FILE                         638 CALIFORNIA AVENUE SOUTHWEST         29121 DIVINE RD
                                        P.O. BOX 797                            VENETA, OR 97487-0000
                                        CAMDEN, AR 71701-0797




OUR HEALTH CIRCLE                       OUR HEALTHCARE CONSULTANTS & PR         OUR HEALTHY CIRCLE
3333 W DEYOUNG ST                       P.O. BOX 1519                           2 NORTH JACKSON STREET
MARION, IL 62959                        BARSTOW, CA 92312                       SUITE 605
                                                                                MONTGOMERY, AL 36104




OUR LADY OF MT CARMEL                   OUSLEY, ELIZA                           OUTCOME SCIENCES
NEW SCHOOL                              14631 ARCADIA ST. NW                    P.O. BOX 601070
400 WEST MONROE                         CANAL FULTON, OH 44614                  CHARLOTTE, NC 28260-1070
HERRIN, IL 62948




OUTCOME SERVICES OF ILLINOIS            OUTCOME                                 OUTCOME
630 NORTH 3RD STREET                    P.O. BOX 601070                         PO BOX 601070
BREESE, IL 62230                        CHARLOTTE, NC 28260                     CHARLOTTE, NC 28260




OUTDOOR LIFE                            OUTFITTER SATELLITE INC                 OUTLAND, WILLIAM B.
P.O. BOX 6364                           2727 OLD ELM HILL PIKE                  ADDRESS ON FILE
HARLANOAST, IA 51593-1865               NASHVILLE, TN 37214




OUTLAW, ALISHA                          OUTLAW, MICHAEL A.                      OUTLAW, MONICA
P.O. BOX 412                            ADDRESS ON FILE                         1606 US HWY 17N
HAMILTON, NC 27840                                                              WINDSOR, NC 27983




OUTSIDE THE BOX                         OVALLE, BRITTANY                        OVALLE, JENNIFER
P O BOX 1299                            1505 LINCOLN AVE APT A                  711 N. KEEBLER
ANGIER, NC 27501                        BIG SPRING, TX 79720                    COLLINSVILLE, IL 62234




OVARD, HYDEE                            OVATION MEDICAL                         OVER PAYMENT RECOVERY
ADDRESS ON FILE                         5155 CLARETON DRIVE, SUITE 200          P.O. BOX 92420
                                        AGOURA HILLS, CA 91301                  CLEVELAND, OH 44193




OVER THE ROAD CLEANING CO.              OVERBY, GREGORY D.                      OVERHEAD DOOR CO OF EUG-SPFD
P.O. BOX 311                            ADDRESS ON FILE                         2090 W 7TH PLACE
BONNYMAN, KY 41719                                                              EUGENE, OR 97402




OVERHEAD DOOR CO OF ST LOUIS            OVERHEAD DOOR CO.EAST KY.               OVERHEAD DOOR CO/ADOR CO
1901 E 119TH ST                         P.O. BOX 159                            128 E MAIN ST
OLATHE, KS 66061                        HAROLD, KY 41635                        ROUND LAKE PARK, IL 60073
                    Case
OVERHEAD DOOR COMPANY OF 20-10766-BLS    Doc
                                  OVERHEAD     6 COMPANY
                                            DOOR  Filed 04/07/20
                                                          OF       Page 1348 of 1969
                                                                        OVERHOLT, DEBBIE
ALBUQUERQUE                       LEXINGTON, INC.                        1460 G STREET
1901 E 119TH ST                   181 TRADE STREET                       SPRINGFIELD, OR 97477
OLATHE, KS 66061                  LEXINGTON, KY 40511




OVERHOLT, DEBORAH V.                OVERLAND, ROBERTA                    OVERLY, RICHARD
ADDRESS ON FILE                     3325 GILHAM ROAD                     3844 11TH ST SW, APT 224
                                    EUGENE, OR 97408                     CANTON, OH 44710




OVERMAN, DAVID                      OVERMAN, KEVIN                       OVERMAN, LYNSIE
1840 MANESS RD                      7790 HWY 200                         ADDRESS ON FILE
HURON, TN 38345                     LEXINGTON, TN 38351




OVERMAN, MAX                        OVERSTAKE, ROSLYN J.                 OVERSTREET-CARTER, CASSANDRA
2315 LASSITER RD                    ADDRESS ON FILE                      16419 EVANS AVE
HURON, TN 38345                                                          SOUTH HOLLAND, IL 60473




OVERTON POWER DISTRICT 5            OVERTON POWER DISTRICT 5             OVERTON, LAUREN E.
615 N MOAPA VALLEY BLVD             P.O. BOX 395                         ADDRESS ON FILE
OVERTON, NV 89040                   OVERTON, NV 89040




OVERTON, TONYA                      OVERTURF, SHEILA A.                  OVERY, RONALD S.
1538 PROCTOR RD                     4693 STATE ROUTE 14                  ADDRESS ON FILE
PROCTOR, AR 72376                   MCLEANSBORO, IL 62859




OVESCO ENDOSCOPY USA INC            OVIEDO, ANA                          OVIEDO, STEPHANY
120 QUADE DR                        38455 N SHERIDAN RD                  656 BLAIR CT
CARY, NC 27513                      LOT 865                              BETHLEHEM, GA 30620
                                    BEACH PARK, IL 60087




OWCZARZAK, JAMES                    OWEN JONES                           OWEN, ERIN E.
ADDRESS ON FILE                     203 BERNARD ST                       3916 S 6360 W
                                    ABINGDON, IL 61410                   WEST VALLEY CITY, UT 84128




OWEN, GARRY                         OWEN, GAYLA                          OWEN, JONES
775 OLD SPRINGVILLE RD              905 N. 11TH STREET                   203 BERNARD ST
SPRINGVILLE, TN 38256               ALPINE, TX 79830                     ABINGDON, IL 61410




OWEN, NAOMI                         OWEN, PAULA J.                       OWENS & MINOR CARE POINT
249 HEMLOCK LANE                    ADDRESS ON FILE                      12199 COLLECTIONS CENTER
SUCHES, GA 30572                                                         BANK OF AMERICA
                                                                         CHICAGO, IL 60693
                        Case
OWENS & MINOR DISTRIBUTION INC20-10766-BLS
                                       OWENS Doc    6 DISTRIBUTION
                                               & MINOR  Filed 04/07/20
                                                                   INC   Page 1349
                                                                              OWENSof 1969DISTRIBUTION INC
                                                                                    & MINOR
OWENS & MINOR                          P.O. BOX 100281                         P.O. BOX 53523
P.O. BOX 53523                         ATLANTA, GA 30384-0281                  LOS ANGELES, CA 90074-3523
LOS ANGELES, CA 90074-3523




OWENS & MINOR INC.                     OWENS & MINOR INC-LOS ANGELES           OWENS & MINOR
12199 COLLECTIONS CENTER DR            FILE 53523                              12199 COLLECTIONS CENTER DRIVE
BANK OF AMERICA                        LOS ANGELES, CA 90074-3523              CHICAGO, IL 60693
CHICAGO, IL 60693




OWENS & MINOR                          OWENS & MINOR                           OWENS & MINOR
BANK OF AMERICA 12199                  BANK OF AMERICA 12199                   LOCKBOX 841420
12199 COLLECTION CENTER DR             12199 COLLECTIONS CENTER                1950 STEMMONS FWY, SUITE 5010
CHICAGO, IL 60693                      CHICAGO, IL 60693                       DALLAS, TX 75207




OWENS & MINOR                          OWENS & MINOR                           OWENS & MINOR
MICHAEL BUTLER, VICE PRESIDENT         P.O. BOX 53523                          P.O. BOX 601157
CLIENT ENTERPRISE OWENS & MINOR        LOS ANGELES, CA 90074-3523              CHARLOTTE, NC 28260-1157
3551 WORKMAN ROAD
KNOXVILLE, TN 37921



OWENS & MINOR                          OWENS & MINOR                           OWENS & MINOR, INC.
P.O. BOX 644783                        P.O. BOX 841420                         P O BOX 841420
PITTSBURGH, PA 15264-4783              DALLAS, TX 75284-1420                   DALLAS, TX 75284-1420




OWENS & MINOR, INC.                    OWENS AND MINOR                         OWENS AND MINOR
POB 100281                             BANK OF AMERICA                         P.O. BOX 100281
ATLANTA, GA 30384-0281                 12199 COLLECTIONS CEN DE                ATLANTA, GA 30384
                                       CHICAGO, IL 60693




OWENS&MINOR DISTRIBUTION INC           OWENS, ANTHONY                          OWENS, BRIANNA J.
P.O. BOX 644783                        605 N. STUDELL AVE                      ADDRESS ON FILE
PITTSBURG, PA 15264-4783               BENTON, IL 62812




OWENS, BYRON                           OWENS, DAMON                            OWENS, DAVID
ADDRESS ON FILE                        725 POORHOUSE ROAD                      2111 SOUTH BERTELSEN ROAD
                                       LEXINGTON, TN 38351                     EUGENE, OR 97405




OWENS, DAVID                           OWENS, DAWN                             OWENS, DONNA L.
ADDRESS ON FILE                        ADDRESS ON FILE                         6086 COUNTY ROAD 122
                                                                               PISGAH, AL 35765




OWENS, ELIZABETH A.                    OWENS, HEATHER                          OWENS, HOLLY A.
ADDRESS ON FILE                        P.O. BOX 142                            295 S 72ND ST
                                       TILDEN, IL 62292                        SPRINGFIELD, OR 97478-0000
OWENS, JUDITH           Case 20-10766-BLS
                                      OWENS,Doc   6 W. Filed 04/07/20
                                              LARRY                     Page 1350
                                                                             OWENS,of 1969
                                                                                    LOIS R.
4454 HAWKINS ACADEMY RD               35 BARNWELL DRIVE                      11612 S ABERDEEN ST
SOCIAL CIRCLE, GA 30025               CABOT, AR 72023                        CHICAGO, IL 60643-5149




OWENS, MARTIN                         OWENS, MARY C                          OWENS, MELVIN
1676 NEW STANSBURY RD.                4108 CHASTAIN DR                       3575 PIGEON CREEK RD
TURTLETOWN, TN 37391                  GROVETOWN, GA 30813                    GREENVILLE, AL 36037




OWENS, MICHELLE A.                    OWENS, MONICA                          OWENS, NICHOLE
2636 W 89TH PL                        3957 W 97TH ST                         ADDRESS ON FILE
EVERGREEN PARK, IL 60805              EVERGREEN PARK, IL 60805




OWENS, PATRICIA                       OWENS, PATTY J.                        OWENS, RIGYN
3205 MARYVILLE RD APT. 5              ADDRESS ON FILE                        95 1ST AVE
GRANITE CITY, IL 62040                                                       EVANSTON, WY 82930-2501




OWENS, RITA P.                        OWENS, ROBERT D.                       OWENS, ROY SR
ADDRESS ON FILE                       ADDRESS ON FILE                        302 COUNTRY CLUB DR
                                                                             GREENVILLE, AL 36037




OWENS, SARA J.                        OWENS, SHANNON R.                      OWENS, SHAWN CASTLEYBERRY
315 RIDGEWAY AVE                      ADDRESS ON FILE                        4748 SYLVAN LN
COTTAGE HILLS, IL 62018                                                      KNOXVILLE, TN 37919




OWENS, SUE E.                         OWENS, TIFFANY M.                      OWENS, TONI
ADDRESS ON FILE                       6753 N. TRENTON LANE                   1137 WILSON ST
                                      SCHELLER, IL 62883                     WEST FRANKFORT, IL 62896




OWEN-SIEKMANN, SHERRY A.              OWNBEY, SHAWNA M.                      OWOEYE, ADEBAYO
40059 TRILLIUM CT                     ADDRESS ON FILE                        ADDRESS ON FILE
WADSWORTH, IL 60083




OWOEYE, ADEBAYO                       OWSIAK, ROBERT MICHAEL                 OWSLEY COUNTY HEALTH CARE CTR
ADDRESS ON FILE                       3843 KEVINGTON AVE                     P.O. BOX 250
                                      EUGENE, OR 97405                       BOONEVILLE, KY 41314




OWSLEY COUNTY HIGH SCHOOL ATHLETICS   OXCYON INC                             OXFORD HEALTH PLANS
ATTN:LINCOLN SPENCE                   17520 ENGLE LAKE DR                    P.O. BOX 101760
177 SHEPHERD ROAD                     STE 1                                  ATLANTA, GA 30392-1760
BOONEVILLE, KY 41314                  MIDDLEBURG HEIGHTS, OH 44130
                       Case 20-10766-BLS
OXFORD LIFE INSURANCE COMPANY        OXFORDDoc 6      Filed 04/07/20   Page 1351 of 1969
                                                                            OXFORD
P.O. BOX 44990                       P.O. BOX 46518                         PO BOX 46518
MADISON, WI 53744                    MADISON, WI 53744                      MADISON, WI 53744




OXYGEN FUNDING, INC                   OYER, STEVEN                          OYLER, ERIN
P.O BOX 80350                         481 NORTH DREAM CATCHER D             ADDRESS ON FILE
CITY OF INDUSTRY, CA 91716            BLUE RIDGE, GA 30513




OYSTON, DONNA J.                      OZ-ARC GAS EQUIP SUPPLY               OZARK BIOMEDICAL,LLC
14487 N TWO MILE CREEK LN             P.O. BOX 697                          1001 COMMERCE PL
MT. VERNON, IL 62864                  CAPE GIRARDEAU, MO 63701-0697         BEEBE, AR 72012




OZBUN, NICKOLAS A.                    OZEE JR, MARVIN A.                    OZEE, MARVIN
ADDRESS ON FILE                       4237 MARIGOLD DRIVE                   4237 MARIGOLD DR
                                      GRANITE CITY, IL 62040                GRANITE CITY, IL 62040




OZMUN, KAMIE L.                       PBCC                                  P POOL & ROY, PLLC
24 S 2ND ST                           RESERVE ACCOUNT                       220 N MAIN STREET
TOOELE, UT 84074                      P O BOX 223648                        MADISONVILLE, KY 42431
                                      PITTSBURGH, PA 15250-2648




P REDDY TUKIVAKLA MD PA               P S GREEN BIRCHETT                    P& H SERVICES
ADDRESS ON FILE                       408A ARROWHEAD DR                     P.O. BOX 1022
                                      TROY, IL 62294-1913                   201 E BLVD
                                                                            WILLIAMSTON, NC 27892




P.C. MCKENZIE COMPANY                 P.C. MCKENZIE COMPANY                 P.O. BOX 636525
P.O. BOX 112638                       PO BOX 112638                         P.O. BOX 636525
1365 MCLAUGHLIN RUN ROAD              1365 MCLAUGHLIN RUN ROAD              CINCINNATI, OH 45263
PITTSBURGH, PA 15241                  PITTSBURGH, PA 15241




PAAPE, SHARON                         PABEN, MARLENE K.                     PAC CONSULTING INC
22136 SCHAAF CT                       P.O. BOX 867                          320 SHADOW CREEK DR
RICHTON PARK, IL 60471                WALDPORT, OR 97394-0000               BRENTWOOD, TN 37027




PAC SRC MEDICARE                      PACCINI, KELSEY J.                    PACE CARPET & UPHOLSTERY CLEANING
P.O. BOX 7068                         ADDRESS ON FILE                       P.O. BOX 101
SPRINGFIELD, OR 97475-0068                                                  EVANSTON, WY 82930-0000




PACE HARDWARE CO.                     PACE, BERNESTINE                      PACE, BRITNEY L.
3365 FEHLING ROAD                     10737 S UNION ST                      ADDRESS ON FILE
GRANITE CITY, IL 62040                CHICAGO, IL 60628
PACE, BRITTNEY           Case 20-10766-BLS    Doc 6
                                       PACE, DEJUAN         Filed 04/07/20   Page 1352  of 1969
                                                                                  PACE, HARRISON
ADDRESS ON FILE                         139 W 27TH ST. APT.16                     P.O. BOX 1071
                                        CHICAGO HTS, IL 60411                     BLUE RIDGE, GA 30513




PACE, HEATHER L.                        PACE, MOUDESSIE                           PACE, PAUL J.
ADDRESS ON FILE                         7632 S HOYNE AVE                          ADDRESS ON FILE
                                        CHICAGO, IL 60620




PACE, PAUL                              PACE, VIRGINIA D.                         PACHECO BLANCA
ADDRESS ON FILE                         ADDRESS ON FILE                           2721 WESTWOOD DR APT 2D
                                                                                  WAUKEGAN, IL 60085




PACHECO, ALFRED                         PACHECO, ANNETTE C.                       PACHECO, CYNTHIA
ADDRESS ON FILE                         1550 STAT HWY 94 MM 16 SPCE 12 P.O. BOX   ADDRESS ON FILE
                                        363
                                        MORA, NM 87732




PACHECO, DEBRA                          PACHECO, JENNIFER D.                      PACHECO, KALEIGH
5535 HAMPTON WAY                        ADDRESS ON FILE                           ADDRESS ON FILE
STANSBURY PARK, UT 84074




PACHECO, MARIA L.                       PACHECO, REUBEN A.                        PACHECO, VANESSA
149 GRANT ST                            566 N ERICKSON DR                         1480 LA PAZ RD SW
WATSONVILLE, CA 95076                   P.O. BOX 564                              DEMING, NM 88030
                                        TOOELE, UT 84074




PACHECO-ARAGON, CARMEL C.               PACHIS, JEANINE L.                        PACHMAYER, VALERIE B.
P.O. BOX 843                            524 WEST SCHULTZ ST.                      1064 DANIELLE AVE
LAS VEGAS, NM 87701                     DALTON, OH 44618                          LOUISVILLE, OH 44641




PACIFIC BUILDING SUPPLY, INC.           PACIFIC COAST CREDIT                      PACIFIC COMPANIES, INC.
P.O. BOX 926                            P.O. BOX 40580                            65 ENTERPRISE SUITE 250
JACKSON, KY 41339                       EUGENE, OR 97404                          ALISO VIEJO, CA 92656




PACIFIC EXCAVATION INC                  PACIFIC INTERPRETERS                      PACIFIC MEDICAL GROUP INC
79 N DANEBO AVE                         P.O. BOX 204313                           212 AVENIDA FABRICANTE
EUGENE, OR 97402                        DALLAS, TX 75320-4313                     SAN CLEMENTE, CA 92672




PACIFIC MEDICAL LLC                     PACIFIC MEDICAL LLC                       PACIFIC MICROSYSTEMS LLC
212 AVENIDA FABRICANTE                  ATTN: ACCOUNTS RECEIVABLE                 2602 S 38 ST PMB 106
SAN CLEMENTE, CA 92672                  32981 CALLE PERFECTO                      TACOMA, WA 98409
                                        SAN JUAN CAPISTRANO, CA 92675
PACIFIC RUBBER & SUPPLYCase
                       CORP 20-10766-BLS
                                     PACIFIC Doc  6 GROUP
                                             SEAFOOD Filed 04/07/20   Page 1353
                                                                           PACIFICof 1969
                                                                                   SOURCE
690 CONGER ST                        P.O. BOX 842757                       110 INTERNATIONAL WAY
EUGENE, OR 97405                     BOSTON, MA 02284-2757                 SPRINGFIELD, OR 97477




PACIFIC WATER, INC.                  PACIFICARE LIFE & HEALTH              PACIFICARE
200 WEST HAVEN AVE                   P.O. BOX 12466                        P.O. BOX 6090
SALT LAKE CITY, UT 84115             PENSACOLA, FL 32591-2466              CYPRESS, CA 90630-9761




PACIFICSOURCE                        PACILLI, JENNIFER                     PACIRA CRYOTECH INC
P.O. BOX 7068                        2335 AMBER HILLS WAY                  P.O. BOX 22037
EUGENE, OR 46242                     MONROE, GA 30655-5811                 NEW YORK, NY 10087-2203




PACK, CAROL J.                       PACK, CYNTHIA C.                      PACK, HELEN IRENE
ADDRESS ON FILE                      P.O. BOX 5                            145 WOLF DRIVE
                                     BLUE RIDGE, GA 30513                  FARNER, TN 37333




PACK, JAMES A.                       PACK, JANET L.                        PACK, JANET
P.O. BOX 121                         ADDRESS ON FILE                       ADDRESS ON FILE
EPWORTH, GA 30541




PACK, JANET                          PACK, JENNIFER                        PACK, SONJA M.
ADDRESS ON FILE                      55 RED OAK COURT                      ADDRESS ON FILE
                                     BLUE RIDGE, GA 30513




PACK, TAMMY J.                       PACK, TAMMY L.                        PACK, TODD
ADDRESS ON FILE                      ADDRESS ON FILE                       315 COUNTY ROAD 635
                                                                           PISGAH, AL 35765-8504




PACKER, ANGELA                       PACOUREK, SCOTT                       PACWEST CREDIT LLC
24479 WARTHEN RD.                    396 POPLAR AVE APT 2W                 P.O. BOX 2610
ELMIRA, OR 97437                     ANTIOCH, IL 60002                     EUGENE, OR 97402




PACYGA, RITA                         PADDEN, BARBARA A.                    PADGETT, BENITA J.
12724 MOZART ST                      1447 KEUPER BLVD NE                   308 DOCKERY LANE
BLUE ISLAND, IL 60406                MASSILLON, OH 44646-4368              MINERAL BLUFF, GA 30559




PADILLA LEE                          PADILLA, ALICIA A.                    PADILLA, ERICA P.
P.O. BOX 144                         ADDRESS ON FILE                       238 SHASTA ST
BUENA VISTA, NM 87712                                                      WATSONVILLE, CA 95076
PADILLA, ESTELLA E.      Case 20-10766-BLS
                                       PADILLA,Doc  6 L. Filed 04/07/20
                                                HOLLY                     Page 1354  ofJERRY
                                                                               PADILLA, 1969A.
3503 SEEDMAN ROAD                         15113 TONIKAN RD                      3503 SEEDMAN DRIVE
LAS VEGAS, NM 87701                       APPLE VALLEY, CA 92307                LAS VEGAS, NM 87701




PADILLA, KARLENE D.                       PADILLA, MIRANDA                      PADILLA, RACHEL
1008 GALLINAS ST                          1403 E 18TH STREET                    P O BOX 1505
LAS VEGAS, NM 87701                       BIG SPRING, TX 79720                  DEMING, NM 88030




PADILLA, THERESA                          PADILLA, ZEFERINA                     PADILLA-ABONCE, CELIA
2180 AMETHYST AVE                         4850 BLUE RIDGE DR.                   121 A HALL RD
BARSTOW, CA 92311                         LOT 3                                 WATSONVILLE, CA 95076
                                          BLUE RIDGE, GA 30513




PADY, JOHN E.                             PAESANO, JENNIFER                     PAEZ, KAREN
14124 S CEDAR ROAD                        ADDRESS ON FILE                       ADDRESS ON FILE
HOMERGLENN, IL 60491




PAFFORD AMBULANCE SERVICE INC             PAGAN, BRITNY                         PAGAN, SHAWN M.
P.O. BOX 1120                             ADDRESS ON FILE                       2029 DUNHAM CT
HOPE, AR 71802                                                                  AUGUSTA, GA 30906




PAGE KELLY                                PAGE LAW                              PAGE, BOBI
ADDRESS ON FILE                           9930 WATSON ROAD STE 100              P.O. BOX 404
                                          ATTN ANDREW DRAZEN                    MOUNTAIN VIEW, WY 82939-0000
                                          SAINT LOUIS, MO 63126




PAGE, DARLENEL & MCDAN, SHAKAJ A.         PAGE, DONNA                           PAGE, KELLY L.
829 BOLIVER                               425 JAY DR                            1540 WHITLOCK RD UNIT B
CLARKSDALE, MS 38614                      MT VERNON, IL 62864                   PARIS, TN 38242




PAGE, KELLY                               PAGE, LAURA                           PAGE, LISA
ADDRESS ON FILE                           ADDRESS ON FILE                       78 PLANTATION CV
                                                                                MCKENZIE, TN 38201




PAGE, NANCY J.                            PAGE, PATRICIA                        PAGE, PAUL S.
72 MALLARD LN.                            P.O. BOX 63                           ADDRESS ON FILE
MORGANTON, GA 30560                       DAHLGREN, IL 62828-0063




PAGE, STALEY                              PAGENKOPF, DUANE                      PAGET, MARGIE R.
335 SFC 750                               333 BIMILER ST SW                     325 S 1330 E
FORREST CITY, AR 72335                    BREWSTER, OH 44613-1409               TOOELE, UT 84074
                      Case 20-10766-BLS
PAGNANI PHYSICAL THERAPY                   DocRUBY
                                    PAGUILIGAN, 6 Filed
                                                     A.  04/07/20   Page 1355  ofRANDI
                                                                         PAHLAU,  1969C.
P.O. BOX 657                        15606 SAYRE AVE                       938 OAKHILL DR NE
TOOELE, UT 84074                    OAK FOREST, IL 60452                  MASSILLON, OH 44646




PAIGE, AMBER                        PAIGE, DEBORHA                        PAIK EUN SUN MD
200 FAIRVIEW ST                     1711 W CARL SANDBURG DR               8340 CALLIE AVE E112
WILLIAMSTON, NC 27892               GALESBURG, IL 61401                   MORTON GROVE, IL 60053




PAIK, EUN S.                        PAIN MANAGEMENT GROUP, LLC            PAINDX INC
8340 CALLIE AVE. 112                123 E. CRAWFORD AVE.                  2514 TEMPLE HILL DRIVE
MORTON GROVE, IL 60053              FINDLAY, OH 45840                     LAGUNA BEACH, CA 92651




PAINT & SAFETY STORE                PAINTER JAMIE M                       PAINTER, AMANDA
201 SOUTH BENTON                    146 N WHITESBORO ST                   300 E SPRING GROVE AVE
BIG SPRING, TX 79720                GALESBURG, IL 61401                   ALEXIS, IL 61412




PAINTER, BENEDICT F.                PAINTER, BENEDICT MD                  PAINTER, CINDA L.
ADDRESS ON FILE                     ADDRESS ON FILE                       11071 ELTON ST SW
                                                                          NAVARRE, OH 44662




PAINTER, CRISTY L.                  PAINTER, JAMIE M.                     PAINTER, JERRY
ADDRESS ON FILE                     ADDRESS ON FILE                       215 N 10TH ST
                                                                          MONMOUTH, IL 61462




PAINTER, TERRY                      PAINTERS DISTRICT COUNCIL2            PAINTSVILLE HMA PHYSICIAN
P.O. BOX 101                        P.O. BOX 1186                         MANAGEMENT, LLC
STRONGHURST, IL 61480               MARYLAND HEIGHTS, MO 63043            306 W. MAIN STREET
                                                                          SUITE 512
                                                                          FRANKFORT, KY 40601



PAINTSVILLE HOSPITAL COMPANY, LLC   PAINTSVILLE LADY TIGERS               PAINTSVILLE UTILITIES
1573 MALLORY LANE, SUITE 100        ATTN: LYNN BALDWIN                    137 MAIN ST
BRENTWOOD, TN 37027                 305 SECOND STREET                     P.O. BOX 630
                                    PAINTSVILLE, KY 41240                 PAINTSVILLE, KY 41240




PAINTSVILLE UTILITIES               PAIR, ROBIN E.                        PAIT, LILY K.
P.O. BOX 630                        117 HALL LANE                         101 N RIEBELING ST
PAINTSVILLE, KY 41240-0630          RAINSVILLE, AL 35986-2216             COLUMBIA, IL 62236




PAJARILLO, CORAZON                  PAJUNK MEDICAL SYSTEM, LP             PAJUNK MEDICAL SYSTEMS LP
ADDRESS ON FILE                     6611 BAY CIRCLE SUITE 140             6611 BAY CIR STE 140
                                    NORCROSS, GA 30071                    NORCROSS, GA 30071
PAKOVICH, LISA MYNETTE Case 20-10766-BLS    Doc
                                     PAKOVICH,    6 Filed 04/07/20
                                               LISA                    Page 1356  ofSTEPHANIE
                                                                            PAKULA,  1969 M.
680 N 400 EAST RD                    600 NORTH 400 EAST RD                  ADDRESS ON FILE
MORRISONVILLE, IL 62546              MORRISONVILLE, IL 62546




PAL, DEANNA                          PALAC, RUBYAHN                         PALAZZOLO, RENEE
ADDRESS ON FILE                      1481 MUSTANG CT                        ADDRESS ON FILE
                                     SALINAS, CA 93905




PALERMO, PAMELA                      PALESTINE-WHEATLEY BOOSTER CLUB        PALIGO, TERRY J.
15712 ORLAN BROOK DRIVE UNIT 1 49    P.O. BOX 790                           P.O. BOX 487 318 E. POPLAR STREET
ORLAND PARK, IL 60462                PALESTINE, AR 72372                    COBDEN, IL 62920




PALL CORPORATION                     PALLAREZ, EDDIE F.                     PALLIN, RONALD L.
P.O. BOX 419501                      104 E 3RD ST                           92311 BOOTH STREET
BOSTON, MA 02241-9501                MARFA, TX 79843                        JUNCTION CITY, OR 97448




PALMA, BIENVENIDO P.                 PALMAN, CYNTHIA LYNN                   PALMER, AMBERLY N.
ADDRESS ON FILE                      2610 LAWRENCE                          ADDRESS ON FILE
                                     EUGENE, OR 97405




PALMER, CATHERINE                    PALMER, DAVID L.                       PALMER, DONNA
2642 MEADOW TRACE DRIVE              4205 RODEN DRIVE NE                    3870 COUNTY ROAD 48
GRAYSON, GA 30017                    FORT PAYNE, AL 35967-2502              CEDAR BLUFF, AL 35959




PALMER, DOROTHY                      PALMER, HAL M.                         PALMER, J WOODCOCK
47 EMERALD PT                        86443 LORANE HWY                       500 CATAWISSA AVE
ROCHESTER, NY 14624                  P.O. BOX 2156                          SUNBURY, PA 17801-1532
                                     EUGENE, OR 97402




PALMER, JUDITH A.                    PALMER, KAROLYN                        PALMER, KIMBERLY M.
8436 COMET STREET                    308 SEMINOLE ST                        ADDRESS ON FILE
EL PASO, TX 79904                    PARK FOREST, IL 60466




PALMER, MARY S.                      PALMER, MARY                           PALMER, MICHAEL
920 PLANTERS PLACE                   ADDRESS ON FILE                        P.O. BOX 1843
LOGANVILLE, GA 30052                                                        OVERTON, NV 89040




PALMER, MIRANDA                      PALMER, QUANESHA                       PALMER, QUANESHA
3530 COBBLESTONE WAY                 106 NOVEMBER                           8495 HIGHWAY 85
LOGANVILLE, GA 30052                 HELENA, AR 72342                       LEXA, AR 72355
PALMER, RAYMUS          Case 20-10766-BLS
                                      PALMER,Doc    6 Filed 04/07/20
                                               ROBERT                      Page 1357 ofROBINET
                                                                                PALMER, 1969 LESLIE
313 S 2ND STREET P.O. BOX 273         1107 BRISTOW ST                           87130 MUIRLAND DR
MADISON, AR 72359                     BELLEVILLE, IL 62221                      VENETA, OR 97487




PALMER, RORIE J.                      PALMER, RORIE J.                          PALMER, RORIE
15215 NORTH LOYOLA LANE               ADDRESS ON FILE                           ADDRESS ON FILE
MT. VERNON, IL 62864




PALMER, SHIRLEY                       PALMER, TIFFANY                           PALMER, TRACY E.
1584 1ST ST NE, APT F                 12424 S MICHIGAN AVENUE                   ADDRESS ON FILE
MASSILLON, OH 44646                   CHICAGO, IL 60628




PALMER, TROY                          PALMERI, CHRISTINA M.                     PALMERI, NORMAN A.
2505 KILMARY DR                       ADDRESS ON FILE                           ADDRESS ON FILE
RAWLINS, WY 82301




PALMERI, NORMAN                       PALMETTO AIR & WATER BALANCE              PALMETTO GBA - MEDICARE PART A
ADDRESS ON FILE                       P.O. BOX 5782                             P.O. BOX 100312
                                      GREENVILLE, SC 29606                      COLUMBIA, SC 29202-3312




PALMETTO GBA - RAILROAD MC            PALMETTO GBA - RAILROAD MCR PART B        PALMETTO GBA LLC
P.O. BOX 367                          FINANCE & ACCOUNTING                      P.O. BOX 100277
MC PART B - FINANCE & ACCTG           P.O. BOX 367                              MEDICARE FINANCE (AG-361)
AUGUSTA, GA 30999-0001                AUGUSTA, GA 30999-0001                    COLUMBIA, SC 29202-0277




PALMETTO GBA LLC                      PALMETTO GBA                              PALMETTO GBA
P.O. BOX 100313                       P.O. BOX 100246                           P.O. BOX 100305
FINANCE & ACCTG                       ATTN MC SECONDARY PAYER-PART B            COLUMBIA, SC 29202
COLUMBIA, SC 29202                    COLUMBIA, SC 29202




PALMETTO GBA                          PALMETTO GBA, LLC J11 MAC                 PALMETTO GBA, LLC
P.O. BOX 100306                       P.O. BOX 100246                           FINANCE & ACCOUNTING
COLUMBIA, SC 29203-3306               COLUMBIA, SC 29202                        P.O. BOX 100313
                                                                                COLUMBIA, SC 29202




PALMETTO GBA/MEDICRE                  PALMETTO GBA/RAILROAD MEDICARE            PALMETTO GBA-MEDICARE-RAILROAD
MEDICARE PART B FINANCE               P.O. BOX 10066                            P.O. BOX 10066
P.O. BOX 367                          AUGUSTA, GA 30999-0001                    AGUSTA, GA 30999-0001
AUGUSTA, GA 30999-0001




PALMETTO HEALTH TUOMEY (FKA TUOMEY    PALMGREN, JULIE J.                        PALMISANO, MADISEN E.
HEALTHCARE SYSTEM)                    548 MARMAC DR                             15 PAUL DR
129 NORTH WASHINGTON STREET           GALESBURG, IL 61401                       GRANITE CITY, IL 62040
SUMTER, SC 29150-4983
PALO, BARBARA            Case 20-10766-BLS    Doc 6
                                       PALO, JANET         Filed 04/07/20   Page 1358   of 1969
                                                                                 PALO, KATHY
2795 VIEWMONT AVE                       ADDRESS ON FILE                          280 E ORCHARD CIRCLE
SPRINGFIELD, OR 97477                                                            GRANTSVILLE, UT 84029




PALOMINO, JESSICA                       PALOS BANK AND TRUST COMPANY             PALOS SPORTS
706 CALLE DE LEON                       12600 S HARLEM AVE                       11711 S AUSTIN AVE
LAS VEGAS, NM 87701                     PALOS HEIGHTS, IL 60463                  ALSIP, IL 60803




PALSTRING, LESLIE                       PALU-AY MD, PEDRO                        PALU-AY MD, PEDRO
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




PALU-AY, PEDRO                          PAM BEASTON - PETTY CASH                 PAM DAVIS
ADDRESS ON FILE                         ADDRESS ON FILE                          88 ARTHUR AVE
                                                                                 GALESBURG, IL 61401




PAM DAVIS                               PAMELA HERRING                           PAMELA HUFFMAN
97 PARK LANE DR                         302 N. BENTLEY                           348 GREATOAKS TR
GALESBURG, IL 61401                     MARION, IL 62959                         WADSWORTH, OH 44281




PAMELA J JENKINS                        PAMELA L GROSSJUNG                       PAMELA MARTIN CONSULTING LLC
2712 IDAHO                              P.O. BOX 9860                            P.O. BOX 3041
GRANITE CITY, IL 62040                  CORAL SPRINGS, FL 33075-0860             BRENTWOOD, TN 37024




PAMELA MARTIN                           PAMELA MCVEY                             PAMELA OSHELL
ADDRESS ON FILE                         3354 WOODBURN ROAD                       261 SUNVALLEY DR B3
                                        ANNANDALE, VA 22003-1206                 MESQUITE, NV 89027




PAMELA P MASON                          PAMELA RUDISILL                          PAMELA VOSSELLER
1901 WALLACE AVENUE NE                  17225 ROYAL COURT DRIVE                  1460 G STREET
FORT PAYNE, AL 35967                    DAVIDSON, NC 28036-7843                  SPRINGFIELD, OR 97477




PAMELA WEBBER                           PAMS FLOWERS                             PANAGIOTOPOULOS, ILIAS P.
977 BREEZY BLUFF DRIVE                  219 PLAZA                                2412 SUNSET AVE
GALESBURG, IL 61401                     LAS VEGAS, NM 87701                      WAUKEGAN, IL 60087




PANAGUITON, VIRGIE                      PANCHER, JEFFREY                         PANCHOT-GOEDDEL, MARY
2410 N BONNIE BROOK LANE                1603 W INDEPENDENCE ST                   2723 BUXTON AVE
WAUKEGAN, IL 60087                      CORAL TOWNSHIP, PA 17866                 GRANITE CITY, IL 62040
PANDOO, JUSTIN          Case 20-10766-BLS    Doc 6 L.Filed 04/07/20
                                      PANEK, JENNIFER                 Page 1359
                                                                           PANEK,of 1969
                                                                                 MICHELE
2 TYLER FALL APT E                     103 QUAIL RUN                       7112 WICKER AVE
BALTIMORE, MD 21209                    LAKE IN THE HILLS, IL 60156         HAMMOND, IN 46323




PANGEA NETWORKS, LLC                   PANICO, JAMES V.                    PANKEY, ROBERT
9664 MARION RIDGE DR                   7030 RICHMOND DR                    412 E BOND ST
KANSAS CITY, MO 64137                  GLEN CARBON, IL 62034               BENTON, IL 62812




PANKIEWICZ, DENNIS & KAY               PANNELL SR., DEMARKO A.             PANNELL, AMANDA
2007 WALNUT ST                         ADDRESS ON FILE                     3168 HD ATHA RD
WAUKEGAN, IL 60087                                                         COVINGTON, GA 30014




PANNELL, PATRICIA A.                   PANNELL, TONYA                      PANORAMIC CORPORATION
ADDRESS ON FILE                        502 E MAIN ST                       4321 GOSHEN RD
                                       ALBERTVILLE, AL 35950               FORT WAYNE, IN 46818




PANSINO ENTERPRISES INC                PANSY, CANNON                       PANSZCZYK, EDWARD S.
510 W MORSE AVE                        1198 CANNON RD                      389 NORTHGATE RD
BARTLETT, IL 60103                     HODGOOD, NC 27843                   LINDENHURST, IL 60046




PANTEGO OVERHEAD DOORS, LLC            PANTELAKIS, JONATHAN                PANTER, JOYCE L.
964 MAIN STERN RD                      832 SANTA THERESA WAY               P.O. BOX 175
PANTEGO, NC 27860                      MESQUITE, NV 89027                  BLUE RIDGE, GA 30513




PANTER, KELSEY                         PANTLE, DOTTY ANN                   PANTOJA, DENISE
ADDRESS ON FILE                        720 S 42ND ST                       86 ALPINE COURT
                                       SPRINGFIELD, OR 97478               ELLIJAY, GA 30540




PANZICH, VALERIE N.                    PANZIER, HEATHER                    PAOLANO, MARK
P.O. BOX 1360                          11529 WEST CYPRESS DR, APT 1        18311 BRENTWOOD DR
APTOS, CA 95001                        CARBONDALE, IL 62901                DOYLESTOWN, OH 44230-9710




PAOLUCCI, MICHAEL                      PAPA JOHNS                          PAPADAKIS, LILIBETH A.
31 LARKMOOR DR                         4329 HIGHWAY 2565                   5384 CONIFER LANE
GLEN CARBON, IL 62034                  LOUISA, KY 41230                    GURNEE, IL 60031




PAPAZIAN, JACQUES                      PAPE, BARBARA A.                    PAPE, JAMES W.
ADDRESS ON FILE                        25148 S TUSCANY DR E                13338 TIMBERLINE RD
                                       MONEE, IL 60449                     MARION, IL 62959
PAPE, JANIE H.           Case 20-10766-BLS   Doc JAMI
                                       PAPENBERG, 6 CHRISTINE
                                                      Filed 04/07/20   Page 1360 of 1969
                                                                            PAPENDICK, VICTOR E.
ADDRESS ON FILE                         4982 FANTASY LANE                    39096 N DELANY RD
                                        RED BUD, IL 62278                    WADSWORTH, IL 60083




PAPER DIRECT INC                        PAPIERNIAK, KATHLEEN M.              PAPPAJOHN, ALYX
P.O. BOX 1151                           640 DOWNING ROAD                     8 GLENWICK COVE
MINNEAPOLIS, MN 55440-1151              LIBERTYVILLE, IL 60048               BIG SPRING, TX 79720




PAPPAS, MICHELLE L.                     PAQUELET, JOSEPH C.                  PAQUETTE, DEAN
ADDRESS ON FILE                         740 BITTERSWEET DR NE                ADDRESS ON FILE
                                        MASSILLON, OH 44646




PAQUETTE, PATRICIA A.                   PAR80 INC                            PARADA, PAWEL W.
ADDRESS ON FILE                         170 MILK ST, SUITE 2                 ADDRESS ON FILE
                                        BOSTON, MA 02109




PARADIGM SPINE LLC                      PARADIGM SPINE LLC                   PARADIGM SPINE, LLC
P.O. BOX 734520                         P.O.BOX 734031                       505 PARK AVENUE, 14TH FL
CHICAGO, IL 60673-4520                  CHICAGO, IL 60673-4031               NEW YORK, NY 10022




PARADISE FLOWERS & GIFTS                PARADISE, ROSALYN                    PARAGARD DIRECT
730 N. BROADWAY                         9350 S LAFLIN ST                     12601 COLLECTION CENTER DRIVE
SALEM, IL 62881                         CHICAGO, IL 60620                    CHICAGO, IL 60693-0126




PARAGARD DIRECT                         PARAGARD DIRECT                      PARAGARD DIRECT, INC
12601 COLLECTION CENTER DRIVE           12601 COLLECTION CTR DR              12601 COLLECTION CENTER DR
CHICAGO,, IL 60693-0126                 CHICAGO, IL 60693-0126               CHICAGO, IL 60693




PARAGON 28 INC                          PARAGON 28,INC                       PARAGON CONTRACTING SERVICES LLC
P.O. BOX 17180                          DEPT V1532                           P.O. BOX 634850
DEPT V1532                              P.O. BOX 17180                       CINCINNATI, OH 45263-4850
DENVER, CO 80217-0180                   DENVER, CO 80217-0180




PARAGON DEVELOPMENT SYSTEMS INC         PARAGRAPHICS                         PARAMEDIC DESIGN, INC
P.O. BOX 775677                         2011 29TH ST NW                      3075 WILLOW GROVE BLVD
CHICAGO, IL 60677-5677                  CANTON, OH 44709                     2302
                                                                             MCKINNEY, TX 75070




PARAMEDIC DESIGN, INC                   PARAMETRICS MEDICAL                  PARAMETRICS MEDICAL, LLC
3075 WILLOW GROVE BLVD, APT 2302        ATTN: BETH ELLISTON                  5777 SWALLOW AVE
MCKINNEY, TX 75070                      5777 SWALLOW AVENUE                  KALAMAZOO, MI 49009-0000
                                        KALAMAZOO, MI 49009
PARAMO, THERESA A.      Case 20-10766-BLS   DocADVANTAGE
                                      PARAMOUNT 6 Filed 04/07/20   Page 1361 of 1969
                                                                        PARAMOUNT HEALTH CARE
1223 WEST FRED ST                     P.O. BOX 497                      P.O. BOX 497
WHITING, IN 46394                     TOLEDO, OH 43697-0497             TOLEDO, OH 43697-0497




PARAMOUNT PLUMBING & ELECTRIC         PARAMOUNT SERVICES INC            PARCEL, RANDI L.
109 E CHURCH                          P.O. BOX 3987                     ADDRESS ON FILE
LEXINGTON, TN 38351                   BIRMINGHAM, AL 35208




PARCESEPE, SANDRA L.                  PARCHIA, IAN                      PARCHMAN, LADAISHA
38263 N NORTH SHORE AVE               167 SOUTHERN PINES                522 S. IZARD ST.
BEACH PARK, IL 60087                  ELLIJAY, GA 30540                 FORREST CITY, AR 72335




PARCUS MEDICAL LLC                    PARCUS MEDICAL, LLC               PARDUE, STEPHANIE
6423 PARKLAND DRIVE                   6455 PARKLAND DRIVE               5 FOWLER CIRCLE
SARASOTA, FL 34243                    SARASOTA, FL 34243-0000           HOLLOW ROCK, TN 38342-0000




PARDUSKI, JAMI                        PAREDES, CRYSTAL                  PAREDES, CRYSTAL
165 ROCK POINT RD                     78 WEST VINE                      84074
MARIETTA, PA 17547                    GRANTSVILLE, UT 84029




PAREDES, KATHLEEN                     PAREDEZ, VALERIE                  PARELLO, CORY
6604 99TH AVE                         706 EDWARDS BLVD                  427 SUMMER AVENUE
KENOSHA, WI 53142                     BIG SPRING, TX 79720-0000         APTOS, CA 95003




PARELLO, JILL P.                      PARENTE, RON                      PARENTING NOW
427 SUMMERS AVENUE                    2904 WASHINGTON AVE               86 CENTENNIAL LOOP
APTOS, CA 95003                       GRANITE CITY, IL 62040            EUGENE, OR 97401




PARGA, FRANCISCA                      PARGO, LATYERRA                   PARHAM, ROSHONDA L.
2016 UNION STREET                     2138 W 71ST PL                    3555 E LAKE MEAD BLVD APT 148
BLUE ISLAND, IL 60406                 CHICAGO, IL 60636                 LAS VEGAS, NV 89115




PARHAM, TANNICA                       PARHAM, TONIA                     PARIKH MD, AMIT
ADDRESS ON FILE                       1825 CANAL ST. APT 3D             1204 VIRGINIA AVE
                                      BLUE ISLAND, IL 60406             LIBERTYVILLE, IL 60048




PARIS SIGNS                           PARISH, CATRICE                   PARISH, CHERI M.
P.O. BOX 444                          2910 144TH ST                     ADDRESS ON FILE
LAVALETTE, WV 25701                   BLUE ISLAND, IL 60406
PARISH, DEANNA M.         Case 20-10766-BLS
                                        PARISH,Doc
                                               ELLIS 6
                                                     H. Filed 04/07/20   Page 1362
                                                                              PARISH,of 1969
                                                                                      JAMIE
225 S. SHERIDAN ST. 198                   3531 HARRIS AVE. N.W.               533 HACKBERRY RD
STOCKTON, UT 84071                        CANTON, OH 44708                    GALESBURG, IL 61401




PARISH, LEOLA L.                          PARIZO, SARAH K.                    PARK NATIONAL BANK
ADDRESS ON FILE                           ADDRESS ON FILE                     28 W MADISON
                                                                              OAK PARK, IL 60302




PARK PLACE TECHNOLOGIES LLC               PARK, CAMDEN                        PARK, DANIEL
5910 LANDERBROOK DRIVE, SUITE 300         P.O. BOX 1778                       561 WHITE OAK WAY
MAYFIELD HEIGHTS, OH 44124                HUNTINGTON, WV 25718                GREENVILLE, AL 36037




PARK, HARRY H. MD                         PARK, MELANIE                       PARK, PENELOPE L.
ADDRESS ON FILE                           106 ZUNI COURT                      ADDRESS ON FILE
                                          EVANSTON, WY 82930




PARK, PIL C.                              PARK, ROLAND B.                     PARKER AMBER LYNN
497 W DALTON DR                           ADDRESS ON FILE                     603 MIMS STREET NE
ROUND LAKE, IL 60073                                                          FORT PAYNE, AL 35967




PARKER DEVELOPMENT                        PARKER, A                           PARKER, ALANA
533 WEST CHARLEY WAY                      208 RIVER WOOD DRIVE                1004 STRAWBERRY DRIVE
ERDA, UT 84074                            BLUE RIDGE, GA 30513                WEST FRANKFORT, IL 62896




PARKER, ALICE                             PARKER, ALMA L. MD PC               PARKER, ALMA MD.
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE




PARKER, BRITTANY N.                       PARKER, CONARD                      PARKER, DARYL
2236 FISCHER ROAD                         1110 N POPLAR ST                    94 BIG OAK DRIVE
FORT PAYNE, AL 35967                      WAUKEGAN, IL 60085                  RAINSVILLE, AL 35986




PARKER, DEBORAH K.                        PARKER, DOROTHY                     PARKER, FALLON
1321 MEADOWBROOK SW                       1510 AUSTIN RD                      213 ALCOTT ROAD
MASSILLON, OH 44647                       SARDIS, TN 38371                    PALESTINE, AR 72372




PARKER, GAIL                              PARKER, GULLAGE                     PARKER, JENNIFER
16524 W APACHE DRV                        3530 RODEN DRIVE                    1410 SANDERS AVE NE
LOCKPORT, IL 60441                        FORT PAYNE, AL 35967                FORT PAYNE, AL 35967
PARKER, KELEE           Case 20-10766-BLS
                                      PARKER,Doc  6 J Filed 04/07/20
                                              KEVIN                      Page 1363 ofKRISTIN
                                                                              PARKER, 1969
4030 PINEAPPLE WAY                      61 EASTMOOR DRIVE                     4913 RED OAK DR
GREENVILLE, AL 36037                    GRANTSVILLE, UT 84029-0000            WATERLOO, IL 62298




PARKER, LISA J.                         PARKER, LORI B.                       PARKER, MAILE
ADDRESS ON FILE                         ADDRESS ON FILE                       ADDRESS ON FILE




PARKER, MARY M.                         PARKER, MELISSA A.                    PARKER, NANCY A.
2420 PHEASANT BLVD APT 1                414 PINE GROVE AVE                    ADDRESS ON FILE
SPRINGFIELD, OR 97477                   GURNEE, IL 60031




PARKER, PAUL                            PARKER, REBECCA K.                    PARKER, REVONDA J.
19515 SCENIC HWY                        ADDRESS ON FILE                       P O BOX 1882
P.O. BOX 125                                                                  BARSTOW, CA 92312
MENTONE, AL 35984




PARKER, SHAKENA                         PARKER, TAMMY R.                      PARKER, TIFFANY
13543 LAMON AVENUE                      865 OAK MANOR RD                      8004 SPIRIT CT
CRESTWOOD, IL 60418                     MCKENZIE, TN 38201                    SPRING HILL, TN 37174




PARKER, TRACIE R.                       PARKER, TRACY L.                      PARKER, WENDY L.
ADDRESS ON FILE                         ADDRESS ON FILE                       16900 OVERHILL
                                                                              TINLEY PARK, IL 60477




PARKERS CLOTHING LLC                    PARKERS CLOTHING, LLC                 PARKHURST, DAVID G.
122 TANGLEWOOD DRIVE                    122 TANGLEWOOD DRIVE                  ADDRESS ON FILE
BLUE RIDGE, GA 30513-4785               BLUE RIDGE, GA 30513




PARKIN, JEFFREY S.                      PARKIN, ROY A.                        PARKLAND HEALTHFIRST
ADDRESS ON FILE                         873 BATEMAN ST                        REFUND DEPT.
                                        GALESBURG, IL 61401                   P.O. BOX 569005
                                                                              DALLAS, TX 75356-9005




PARKMED, INC                            PARKS FRANKLIN                        PARKS MED ELECT SALES,INC (NV)
P.O. BOX 270029                         1816 PARK AVE                         6000 S EASTERN AVE, SUITE 10B
TAMPA, FL 33688-0029                    CHICAGO, IL 60064                     LAS VEGAS, NV 89119




PARKS MED ELECT SALES,INC (NV)          PARKS MEDICAL ELECTRONIC SALES        PARKS MEDICAL ELECTRONICS INC
6000 S EASTERN AVE, SUITE 10B           6000 S EASTERN AVE                    P.O. BOX 5669
LAS VEGAS, NV 89119-3156                SUITE 10B                             ALOHA, OR 97006
                                        LAS VEGAS, NV 89119
                        Case
PARKS MEDICAL ELECTRONICS    20-10766-BLS
                           SALES             Doc 6 Filed 04/07/20
                                      PARKS, CASEY                   Page 1364
                                                                          PARKS,of 1969
                                                                                COREY L.
6000 S EASTERN AVE STE 108            3094 CHRISTOPHER CT A               287 CLAY CIRCLE
LAS VEGAS, NV 89119                   SOQUEL, CA 95073                    MORGANTOWN, GA 30560




PARKS, CRYSTAL                      PARKS, EURA                           PARKS, JEWEL
455 NORTH HANKINS RD                14480 MUSTANG RD                      754 N 37TH ST
HARRISBURG, IL 62946                MARION, IL 62959-6821                 EAST SAINT LOUIS, IL 62205-2104




PARKS, KEELIE                       PARKS, KIM                            PARKS, LISA A.
1007 EAST 12TH ST.                  ADDRESS ON FILE                       3228 CORNELL AVE
BIG SPRING, TX 79720                                                      BIG SPRING, TX 79720




PARKS, NATALIE                      PARKS, ROLANDA                        PARKS, STACEY
P.O BOX 3551                        1350 COVENTRY GLEN DR, APT 306        16420 LOG CABIN RD
BIG SPRING, TX 79720                ROUND LAKE, IL 60073                  JOHNSTON CITY, IL 62951




PARKS, STEPHANIE                    PARKS-PARTON, TONI L.                 PARLANCE
ADDRESS ON FILE                     ADDRESS ON FILE                       400 W. CUMMINGS PARK, SUITE 200
                                                                          WOBURN, MA 01801




PARLIER, MCKINZIE L.                PARMENTIER, JACOB                     PARMER, ANITA L.
ADDRESS ON FILE                     141 STONEBRIDGE BLUFF DR.             ADDRESS ON FILE
                                    MARYVILLE, IL 62062




PARMER, MALEAH A.                   PARMLEY JR, JAMES R.                  PARMLEY, VERNON J.
ADDRESS ON FILE                     2500 DELMAR AVE                       2238 TESKE RD
                                    GRANITE CITY, IL 62040                MARION, IL 62959




PARNELL & PARNELL                   PARNELL, HUNTER                       PARNELL, PATRICIA
24344 NETWORK PLACE                 P.O. BOX 174                          7830 S BENNETT AVE, UNIT 2
CHICAGO, IL 60673                   FORREST CITY, AR 72336                CHICAGO, IL 60649-4622




PARNELL, TAYLOR                     PARNELL, TORI L.                      PAROBEK, GEORGE
ADDRESS ON FILE                     ADDRESS ON FILE                       14525 MCKINLEY
                                                                          POSEN, IL 60469




PARR, ANDREW                        PARR, BROWN GEE & LOVELESS            PARR, SHERRI K.
630 JACKSON TRL                     P.O. BOX 11019                        ADDRESS ON FILE
JEFFERSON, GA 30549                 SALT LAKE CITY, UT 84147
PARR, SHERRI K.           Case 20-10766-BLS    Doc 6
                                        PARRA JUDITH       Filed 04/07/20   Page 1365
                                                                                 PARRA,of 1969
                                                                                       AGUSTIN
2665 S LICK CREEK RD                     ADDRESS ON FILE                         P.O. BOX 61
BUNCOMBE, IL 62912                                                               WENDOVER, UT 84083




PARRA, BEATRIZ                           PARRA, JUDITH                           PARRA, SAMUEL
317 LORRAINE AVE                         ADDRESS ON FILE                         ADDRESS ON FILE
WAUKEGAN, IL 60085




PARREL, KRIZIA                           PARREL, NICHOLO R.                      PARRELL MICHAEL A
1317 S GOLD AVE                          1317 S GOLD AVE                         ADDRESS ON FILE
DEMING, NM 88030                         DEMING, NM 88030




PARRELLA, MICHAEL T.                     PARRELLA, MICHAEL T.                    PARREY, ALEXANDER M.
1670 WIMBLEDON DRIVE APARTMENT 207       ADDRESS ON FILE                         75 SOLITUDE LANE
GREENVILLE, NC 27858                                                             YOUNG HARRIS, GA 30582




PARRILLI, JAMES                          PARRIOTT, FRANCES W.                    PARRIS, HOLLI
10348 S HOYNE AVE                        2418 CAMELOT DR                         729 FOX RUN DR
CHICAGO, IL 60643-2417                   AUGUSTA, GA 30904-3327                  TOOELE, UT 84074




PARRIS, KATHY                            PARRISH, BOBBIE B.                      PARRISH, CHASTITY D.
313 EAST 880 NORTH                       605 POPLAR RD                           521 SOUTH PARK AVE P.O. BOX 73
TOOELE, UT 84074                         GREENVILLE, AL 36037                    GOREVILLE, IL 62939




PARRISH, CHRISTY L.                      PARRISH, DANA OLEARY                    PARRISH, EDWIN
1305 BARHAM                              84614 PARKWAY RD                        311 E SIMMONS ST
JOHNSTON CITY, IL 62951                  PLEASENT HILL, OR 97455                 KENSINGTON ASSISTED LIVIN
                                                                                 GALESBURG, IL 61401




PARRISH, SARAH E.                        PARRISH, SUSAN                          PARRISON HAROLD JUAN, JR.
ADDRESS ON FILE                          24 ADELAIDE LN                          C/O LEE R. HUNT; STEPHEN R. MARSHALL,
                                         BLUE RIDGE, GA 30513                    HUNT & MARSHALL, LLC
                                                                                 518 OLD SANTA FE TRAIL, 501
                                                                                 SANTA FE, NM 87505



PARROTT, STACEY                          PARRY, EDWIN                            PARRY, TODD R. MD P.C.
318 E HUGHES                             P.O. BOX 25727                          3013 S SLATE RIDGE CIR
COLLINSVILLE, TX 76233                   SALT LAKE CITY, UT 84125-0727           ST GEORGE, UT 84790




PARSLEY, KIMBERLY D.                     PARSLEY, LARRY                          PARSON, ANTHONY
2962 JENNIES CREEK ROAD                  6430 DEERFIELD CT.                      202 PEA VINE RD
KERMIT, WV 25674                         WATERLOO, IL 62298                      LOUISA, KY 41230
PARSON, HALEY N.         Case 20-10766-BLS   Doc
                                       PARSON,    6 C. Filed 04/07/20
                                               JACOB                      Page 1366 ofJESSICA
                                                                               PARSON, 1969 A.
ADDRESS ON FILE                          201 ANTHONY DRIVE APARTMENT D         982 BAYTOWN RD
                                         MARYVILLE, IL 62062                   HOLLY GROVE, AR 72069




PARSONS BEHLE & LATIMER                  PARSONS, BARRY                        PARSONS, DAWN D.
P.O. BOX 45898                           1133 HIGHWAY 11 S                     ADDRESS ON FILE
ATTN:A/R                                 SOCIAL CIRCLE, GA 30025-5011
SALT LAKE CITY, UT 84145-0898




PARSONS, ELIZABETH                       PARSONS, ROBERT                       PART WORKS INC
238 DEEPHOLE BRANCH ROAD                 543 S HALE                            P.O. BOX 3605
LOUISA, KY 41230                         GRANTSVILLE, UT 84029                 SEATTLE, WA 98124




PARTAIN, DONNA                           PARTEE, CHARVESTA                     PARTHASARATHI, CHITRA
ADDRESS ON FILE                          1840 ESPY DR APT12A                   815 EAST FLORIDA STREET APARTMENT 2
                                         CLARKSDALE, MS 38614                  DEMING, NM 88030




PARTHASARATHY SRINIVASAN, MD             PARTIES TO GO                         PARTLOW, JAMIE
2020 N PRAIRIE                           2645 SUZANNE WAY 1D                   246 SURREY CT
GALESBURG, IL 61401                      EUGENE, OR 97408-7300                 MARTINSBURG, WV 25401




PARTLOW, LEAH                            PARTNERS PERSONNEL SERVICES           PARTON, MARY D.
ADDRESS ON FILE                          PROG SERV GRP; C/O LINDELL BNK        ADDRESS ON FILE
                                         15500 OLIVE BLVD
                                         CHESTERFIELD, MO 63017-1721




PARTRIDGE, DONNA L.                      PARTS SOURCE INC                      PARTS SOURCE INC.
P.O. BOX 402                             P.O. BOX 645186                       P.O. BOX 645186
DEXTER, OR 97431-9737                    CINCINNATI, OH 45264-5186             CINCINNATI, OH 45264-5186




PARTS SOURCE LLC                         PARTS SOURCE, LLC                     PARTS SOURCE, LLC
P.O. BOX 645186                          P O BOX 645186                        P.O. BOX 645186
CINCINNATI, OH 45226-5186                CINCINNATI, OH 45264-5186             CINCINNATI, OH 45264-5186




PARTS TOWN, LLC                          PARTSMASTER                           PARTSOURCE, LLC
27787 NETWORK PLACE                      P.O. BOX 971342                       P.O. BOX 645186
CHICAGO, IL 60673-1277                   DALLAS, TX 75397-1342                 CINCINNATI, OH 45264-5186




PARTSOURCE, LLC                          PARTSSOURCE E PARTS                   PARTSSOURCE INC
PO BOX 645186                            P.O. BOX 645186                       777 LENA DR
CINCINNATI, OH 45264-5186                CINCINNATI, OH 45264-5186             ATTN: RUVENIA MEANS
                                                                               AURORA, OH 44202
PARTSSOURCE INC          Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       PARTSSOURCE                   Page 1367 of 1969INC.
                                                                          PARTSSOURCE,
P.O. BOX 645186                        P.O. BOX 645186                    P O BOX 645186
CINCINNATI, OH 45264-5186              CINCINNATI, OH 45264-5186          CINCINNATI, OH 45264-5186




PARTSSOURCE, LLC                     PARTSSOURCE, LLC                     PASAG JR., ADOLFO
777 LENA DRIVE                       P.O. BOX 645186                      600 TUTTLE AVE
AURORA, OH 44202                     CINCINNATI, OH 45264-5186            WATSONVILLE, CA 95076




PASCHAL, SERENA                      PASCHEN, LAURA M.                    PASCO, MARIE K.
19407 NC HWY 125                     ADDRESS ON FILE                      ADDRESS ON FILE
WILLIAMSTON, NC 27892




PASCO, MARK                          PASCUAL, SAMUEL M.                   PASEMAN, BARBARA G.
ADDRESS ON FILE                      4121 THEO STREET                     ADDRESS ON FILE
                                     BIG SPRING, TX 79720




PASENELLI, STEPHANIE                 PASHEA, ANDREW                       PASHEA, JOHN
1913 COUNTRY DRIVE, APT 303          2805 MARSHALL AVE                    4372 ZIKA LANE
GRAYSLAKE, IL 60030                  GRANITE CITY, IL 62040               EDWARDSVILLE, IL 62025




PASKETT, JILENA R.                   PASKVAN, THOMAS M.                   PASLEY, LOLETTA
ADDRESS ON FILE                      ADDRESS ON FILE                      4139 RICHVIEW RD
                                                                          MT VERNON, IL 62864




PASQUINELLI, CHRISTOPHER             PASQUINO, ERIC                       PASS, AMY C.
ADDRESS ON FILE                      6456 STATE ROUTE 154                 986 COX ROAD
                                     TAMAROA, IL 62888                    BLUE RIDGE, GA 30513




PASS, CONNIE C.                      PASSALACQUA, JOYCE                   PASSAS, RYAN A.
525 RIVERSIDE DRIVE                  2017 LINCOLN WAY E                   P.O. BOX 803
EAST ELLIJAY, GA 30540               MASSILLON, OH 44646-7031             GEORGETOWN, CO 80444




PASSMORE, CALVIN                     PASSMORE, MELINDA                    PASSPORT DOOR
1944 PIERCE WAY                      56 MOUNTAIN SIDE DR.                 45 FISH DRIVE
BUFORD, GA 30519                     BLUE RIDGE, GA 30513                 ANGIER, NC 27501-0000




PASSPORT HEALTH MEDICAID             PASSPORT HEALTH PLAN                 PASSPORT HEALTH PLAN
5100 COMMERCE CROSSINGS DRIVE        5100 COMMERCE CROSSING DRIVE         5100 COMMERCE CROSSING
LOUISVILLE, KY 40229                 LOUISVILLE, KY 40229                 LOUISVILLE, KY 40229
PASSY MUIR INC           Case 20-10766-BLS   DocINC
                                       PASSY MUIR 6 Filed 04/07/20     Page 1368 of 1969
                                                                            PASTORIZA, JENNIFER
4521 CAMPUS DR                          4521 CAMPUS DRIVE, SUITE 273         2 COUNTRY LANE CT
PMB 273                                 IRVINE, CA 92612                     GRANITE CITY, IL 62040
IRVINE, CA 92612




PASYK, ROSEMARY                         PASZT, DANIEL L.                     PATADIA, DHIRAJLAL C.
2900 MANCHESTER LN                      ADDRESS ON FILE                      4197 BRADLEY ROAD
SCHERERVILLE, IN 46375                                                       WESTLAKE, OH 44145




PATAGONIA HEALTH INC                    PATCHETT, HAMPSON, GARRISON          PATE, ALECIA I.
202 MIDENHALL WAY                       BATESON, ATTORNEYS AT LAW            2300 FOREST AVE NW
CARY, NC 27513                          P.O. BOX 1110                        FORT PAYNE, AL 35967
                                        MARION, IL 62959




PATEL KEVISHABEN                        PATEL MD, KUNAL                      PATEL MD, SUTCHIN
1412 GLENN BLVD SW                      ADDRESS ON FILE                      1225 FAIRWAY DR.
FORT PAYNE, AL 35968                                                         LAKE FOREST, IL 60045




PATEL, AMI                              PATEL, AMI                           PATEL, ANKIT
1513 FRAN LIN PKWY MUNSTER              1513 FRAN LIN PKWY                   71 DEERHEAD COVE RD
MUNSTER, IN 46321                       MUNSTER, IN 46321                    RISING FAWN, GA 30738




PATEL, BHAVESH K.                       PATEL, CHARITA                       PATEL, DAHYABHAI
ADDRESS ON FILE                         2608 WEST MAIN ST                    415 MONTGOMERY HWY
                                        MARION, IL 62959                     GREENVILLE, AL 36037




PATEL, GEENA                            PATEL, GULABBEN                      PATEL, HETAL
810 BUENA RD                            732 W CHURCH ST SUITE 105            ADDRESS ON FILE
LAKE FOREST, IL 60045                   LEXINGTON, TN 38351




PATEL, HINABEN M.                       PATEL, JAYMIN                        PATEL, KANUBHAI, MD & PRASANNA
ADDRESS ON FILE                         148 PRIMROSE LN                      KUMAR MD TRUST
                                        BARTLETT, IL 60103                   3165 MYRTLE AVE, APT1
                                                                             GRANITE CITY, IL 62040




PATEL, KUNAL, MD                        PATEL, KUNAL, MD                     PATEL, MANSIBEN
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




PATEL, MAULIBEN N.                      PATEL, MONA                          PATEL, NIPABEN
640 ROBERT YORK AVE, UNIT 302           953 BENNETT DRIVE                    147 W VIENNA ST
DEERFIELD, IL 60015                     NORTH AURORA, IL 60542               ANNA, IL 62906
PATEL, NISHA H.       Case 20-10766-BLS    Doc 6 H.
                                    PATEL, PARULBEN Filed 04/07/20      Page 1369
                                                                             PATEL, of 1969
                                                                                    PRIYA S.
959 REGENCY DRIVE                   9809 GRIZZLY ST                           ADDRESS ON FILE
LAWRENCEVILLE, GA 30044             BAKERSFIELD, CA 93311




PATEL, SAMIR                         PATEL, TEJAS                             PATEL, VAITALI P.
ADDRESS ON FILE                      5363 SEQUOIA CT                          109 SUMERSET DR
                                     GURNEE, IL 60031                         GLEN CARBON, IL 62034




PATELS JANITORIAL SERVICES, LLC      PATES-MIXON, ARLETTA                     PATHAK, VISHIVINDER
18554 KAMANA RD                      14229 S KENWOOD                          1040 BOYCE STREET
APPLE VALLEY, CA 92307               DOLTON, IL 60419                         WILLIAMSTON, NC 27892




PATHGROUP LABS, LLC.                 PATHOLOGY ASSC OF ALBUQUERQUE            PATHOLOGY CONSULTANTS OF NEW
P.O. BOX 639259                      ANDREW HORVATH, M.D.                     MEXICO
CINCINNATI, OH 45263-9259            1100 CENTRAL AVE, S E                    600 NORTH RICHARDSON
                                     ALBUQUERQUE, NM 87106                    ROSWELL, NM 88201




PATHOLOGY CONSULTANTS OF             PATHOLOGY CONSULTANTS                    PATHSUPPLY, INC
NEW MEXICO                           P.O. BOX 72059                           2764 PLEASAND ROOD
P O BOX 2208                         SPRINGFIELD, OR 97475-0285               SUITE 11707 ATTN ACCTG
ROSWELL, NM 88202                                                             FORT MILL, SC 29708




PATHWAYS, INC                        PATIENT POINT HOSPITAL SOLUTIONS, LLC    PATIENT POINT HOSPITAL SOLUTIONS, LLC
P O BOX 790                          11408 OTTER CREEK SOUTH ROAD             11408 OTTER CREEK SOUTH
ASHLAND, KY 41105-0790               MABELVALE, AR 72103                      MABELVALE, AR 72103




PATIENT TELEPHONE SUPPLY             PATIENTFOCUS                             PATIENTPOINT HOSPITAL SOLUTIONS INC
P.O. BOX 84372                       PATIENT CREDIT, INC                      11408 OTTER CREEK SOUTH ROAD
BATON ROUGE, LA 70884                814 CHURCH STREET                        MABELVALE, AR 72103
                                     NASHVILLE, TN 37203




PATIENTPOINT                         PATRICE, LAWSON                          PATRICH, CHERYL A.
11408 OTTER CREEK SOUTH ROAD         ADDRESS ON FILE                          ADDRESS ON FILE
MABELVALE, AR 72103




PATRICIA A KITCH                     PATRICIA A LARDI                         PATRICIA BASTABLE
25924 N SEVEN HILLS RD               1617 N KELLOGG ST                        102 REBECCA STREET
AVON, IL 61415                       GALESBURG, IL 61401                      COLLINSIVLLE, IL 62234




PATRICIA ELLISON                     PATRICIA G HORNE                         PATRICIA ISAACSON
2698 PARKWAY COURT                   611 TEMPLE AVE                           1237 S PEARL ST
GALESBURG, IL 61401                  EMPORIA, VA 23847-2254                   GALESBURG, IL 61401
PATRICIA L ADAIR         Case 20-10766-BLS    Doc
                                       PATRICIA     6 Filed 04/07/20
                                                L DALLEFELD            Page 1370  ofPIERCE
                                                                            PATRICIA 1969
303 E MAIN ST                           550 E CARL SANDBURG DR              255 W TOMPKINS ST APT 201
LITTLE YORK, IL 61453                   APT 130                             GALESBURG, IL 61401
                                        GALESBURG, IL 61401




PATRICIA WYATT ESTATE                   PATRICK BERGIN, MD                  PATRICK GREEN MD PLLC
26338 OAK LEAF LANE                     ADDRESS ON FILE                     BONNEVILLE FP AND BENJAMIN ROBERTS
CANTON, IL 61520                                                            134 W 1180 N, SUITE 5
                                                                            TOOELE, UT 84074-0000




PATRICK HISE                            PATRICK KIDWELL                     PATRICK ZAKRE
301 S MARKET ST                         207 S TIMBER                        20 LARSEN RD
KNOXVILLE, IL 61448                     KNOXVILLE, IL 61448                 SOMERSET, NJ 08873-2205




PATRICK, AMY                            PATRICK, ANNA                       PATRICK, EDDIE
188 WALL ST                             ADDRESS ON FILE                     4469 DONITHAN ROAD
EVANSTON, WY 82930                                                          LOUISA, KY 41230




PATRICK, HILDA                          PATRICK, JILL M.                    PATRICK, JOANNA M.
P.O. BOX 1101                           ADDRESS ON FILE                     70 COUNTY ROAD 681
PAINTSVILLE, KY 41240                                                       FLAT ROCK, AL 35966




PATRICK, NORMA                          PATRICK, SARAH A.                   PATRICK, TRICIA L.
440 23RD ST NE, APT 42                  ADDRESS ON FILE                     ADDRESS ON FILE
MASSILLON, OH 44646




PATRIOT EMERGENCY MEDICAL SERVICE       PATSY PULL, THE                     PATTERSON BARBARA L
INC                                     339 ADAMS RD                        1094 270TH AVE
121 COMMERCE PARK DR STE A              COLLINSVILLE, AL 35961              GERLAW, IL 61435
WESTERVILLE, OH 43082-8349




PATTERSON DENTAL SUPPLY INC             PATTERSON DENTAL SUPPLY             PATTERSON DENTAL
P.O. BOX 732865                         28244 NETWORK PLACE                 28244 NETWORK PLACE
DALLAS, TX 75397-8508                   CHICAGO, IL 60673-1282              CHICAGO, IL 60673-1282




PATTERSON LETHA KIM                     PATTERSON MEDICAL                   PATTERSON MEDICAL
532 COUNTY ROAD 152                     28100 TORCH PKWY                    BOX 93040
SECTION, AL 35771-8904                  WARRENVILLE, IL 60555               CHICAGO, IL 60673




PATTERSON MEDICAL                       PATTERSON MEDICAL                   PATTERSON MEDICAL
P O BOX 93040                           P O BOX 93040                       P O BOX 93040
CHICAGO, IL 60673                       CHICAGO, IL 60673-3040              CHICAGO, IL 60673-9304
PATTERSON MEDICAL        Case 20-10766-BLS   DocMITCHEL
                                       PATTERSON 6 FiledL 04/07/20   Page 1371  of 1969
                                                                          PATTERSON, ALICE P.
P.O. BOX 93040                          274 OLD HIGDON RD                  2067 TENNIS COURT RD
CHICAGO, IL 60673-3040                  EPWORTH, GA 30541                  BLUE RIDGE, GA 30513




PATTERSON, ANTONY                       PATTERSON, APRIL                   PATTERSON, AUDRIANNA C.
918 COUNTY ROAD 258                     ADDRESS ON FILE                    2515 E 25TH ST
FORT PAYNE, AL 35967                                                       GRANITE CITY, IL 62040




PATTERSON, CAITLIN                      PATTERSON, CONNIE                  PATTERSON, DEBRA S.
244 MEADOWOOD LANE                      218 CORNELIA AVE NE                328 11TH ST SE
BLUE RIDGE, GA 30513                    CANTON, OH 44704-2352              MASSILLON, OH 44646




PATTERSON, GLADYS                       PATTERSON, HAILEY                  PATTERSON, HOWARD W.
578 BELL STORE ROAD                     686 SFC 328                        344 GLENDALE RD SW
MCKENZIE, TN 38201                      FORREST CITY, AR 72335             DELLROY, OH 44620




PATTERSON, JAMES W.                     PATTERSON, JANIE L.                PATTERSON, JANIE
P.O. BOX 1034                           ADDRESS ON FILE                    ADDRESS ON FILE
BLUE RIDGE, GA 30513




PATTERSON, JODI R.                      PATTERSON, JOSEPH                  PATTERSON, KAYLA
224 SANDY AVE NE                        509 PUEBLO DR                      2455 MISSOURI AVE
MASSILLON, OH 44646                     NEW LENOX, IL 60451                GRANITE CITY, IL 62040




PATTERSON, LAKEVIA                      PATTERSON, LETHA K.                PATTERSON, LILLIE MAE
206 CARDINAL DR                         532 COUNTY ROAD 152                6122 BLUE RIDGE DR
FORREST CITY, AR 72335                  SECTION, AL 35771                  BLUE RIDGE, GA 30513




PATTERSON, LOLA M.                      PATTERSON, MARCEY L.               PATTERSON, MARLA
301 COLWELL RD                          3200 PALOMINO CT                   1402 GOLDENROD DR
BLUE RIDGE, GA 30513-0025               HERRIN, IL 62948                   MARION, IL 62959




PATTERSON, MARTIN                       PATTERSON, MICHAEL S.              PATTERSON, MICHAEL
70 ROSELAWN ST                          ADDRESS ON FILE                    ADDRESS ON FILE
LEXINGTON, TN 38351




PATTERSON, MICHAEL                      PATTERSON, MILTON                  PATTERSON, MITCHEL L.
ER                                      158 E VINE ST                      274 OLD HIGDON RD
30513                                   TOOELE, UT 84074                   EPWORTH, GA 30541
PATTERSON, NANCY S.       Case 20-10766-BLS   DocORVETTA
                                        PATTERSON, 6 Filed
                                                         A. 04/07/20   Page 1372  of 1969
                                                                            PATTERSON, PAULA R.
P.O. BOX 1546                            ADDRESS ON FILE                     7625 S EMERALD
BLUE RIDGE, GA 30513                                                         CHICAGO, IL 60620




PATTERSON, RHODA                         PATTERSON, RHONDA                   PATTERSON, ROBERTA E.
ADDRESS ON FILE                          ADDRESS ON FILE                     15923 LOWE
                                                                             HARVEY, IL 60426




PATTERSON, SUE A.                        PATTERSON, TERESA J.                PATTERSON, TERESA
ADDRESS ON FILE                          6133 GARFIELD AVENUE                6133 GARFIELD AVE
                                         HAMMOND, IN 46324                   HAMMON, IN 46324




PATTERSON, THOMAS                        PATTERSON, VERLON                   PATTI J BROWNING
653 KNOX ROAD 1925 N                     P.O. BOX 56                         121 W SIMMONS ST APT 115
WATAGA, IL 61488                         VALLEY HEAD, AL 35989-6647          GALESBURG, IL 61401




PATTI PIERSON                            PATTON, AMANDA J.                   PATTON, DEBRA C.
64 REBECCA DR                            ADDRESS ON FILE                     ADDRESS ON FILE
GRANITE CITY, IL 62040




PATTON, DIANA                            PATTON, DIANA                       PATTON, DIANA
1928 CASEY AVENUE P.O. BOX 446           ADDRESS ON FILE                     ADDRESS ON FILE
MT. VERNON, IL 62864




PATTON, GLADYS                           PATTON, HART R.                     PATTON, MELBA
303 BECKY PATTON ROAD                    ADDRESS ON FILE                     R 1 BOX 157
CAMPTON, KY 41301                                                            CAVE IN ROCK, IL 62919




PATTON, PATRICIA                         PATTON, SHERRY L.                   PATTON, TARA
THE ESTATE OF: 2258 ADAMS ST             ADDRESS ON FILE                     2931 HIGHWAY 3193
GRANITE CITY, IL 62040                                                       JACKSON, KY 41339-9355




PATTON, TIMOTHY J.                       PATTON-PERKINS, PATRICIA            PATTONS INC
420 NOBLE PL NW                          2203 W EL CAMPO GRANDE AVE          P.O. BOX 63128
MASSILLON, OH 44647                      NORTH LAS VEGAS, NV 89031           CHARLOTTE, NC 28263-3128




PATTYS PONIES & PETS                     PAUKNER, RICHARD W.                 PAUL B. HALL REGIONAL MEDICAL CENTER
9923 CERRA VISTA STREET                  ADDRESS ON FILE                     625 JAMES S. TRIMBLE BLVD
APPLE VALLEY, CA 92308                                                       PAINTSVILLE, KY 41240
PAUL G GOSSETT          Case 20-10766-BLS   Doc 6 Filed 04/07/20
                                      PAUL GUNDERSON               Page 1373  of 1969
                                                                        PAUL PARKER
15 HIEL DR                            ADDRESS ON FILE                   19515 SCENIC HWY/ P.O. BOX 125
BUSHNELL, IL 61422                                                      MENTONE, AL 35984




PAUL PETERSON                         PAUL, BARBARA R.                  PAUL, BRUCE
783 80TH AVE                          ADDRESS ON FILE                   590 CARROLL STREET
ROSEVILLE, IL 61473                                                     MCKENZIE, TN 38201




PAUL, CHARLES                         PAUL, DANIEL W.                   PAUL, NARCEDALIA A.
3269 LOWER RD                         ADDRESS ON FILE                   ADDRESS ON FILE
SHAMOKIN, PA 17872




PAUL, TERI                            PAUL, UDAY K.                     PAULA JONES
23679 OAKLEIGH DR                     ADDRESS ON FILE                   ADDRESS ON FILE
LOXLEY, AL 36551




PAULA SHUMAKER                        PAULHUS, EMILY                    PAULIK, LAVELLE
5108 COLIN CT                         2485 AMBER HILLS DRIVE            3269 CARSON AVE NW
SELLERBURG, IN 47172                  MONROE, GA 30655                  MASSILLON, OH 44647-5221




PAULIN, JERRY                         PAULINE, JESSA                    PAULINE, MERRILL
1230 HOSTETLER RD                     909 RIDGE RD                      11804 S LAFLIN
ORRVILLE, OH 44667                    WATERLOO, IL 62298-3187           CHICAGO, IL 60643




PAULIUS, KATHLEEN G.                  PAULK, DEBRA E.                   PAULMAN, BILLY
8224 RED OAK LANE                     ADDRESS ON FILE                   21 CHRISTOPHER PLACE, APT19
ORLAND PARK, IL 60462                                                   PALESTINE, AR 72372




PAULS CARPET & FLOORING, INC.         PAULS, DANA S.                    PAULSEN, APRIL
111 PUBLIC WAY                        ADDRESS ON FILE                   7930 COBBLEROCK RD
LOUISA, KY 41230                                                        TOOELE, UT 84074




PAULSEN, JEFFREY M.                   PAULSON, DANIEL                   PAULSON, RHONDA
ADDRESS ON FILE                       2659 GARFIELD ST                  ADDRESS ON FILE
                                      EUGENE, OR 97405




PAULY, LIZZAMMA                       PAUR, LISA                        PAUTLER, LISA K.
ADDRESS ON FILE                       6938 DAUDERMAN RD                 ADDRESS ON FILE
                                      ALHAMBRA, IL 62001
PAVEMENT MARKINGS INC Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                    PAVEY ANDREW                          Page 1374   of THE
                                                                               PAVILION, 1969
P.O. BOX 236                        725 SUNDANCE DR                            P.O. BOX 842
7207 GRIGGS RD                      GREEN RIVER, WY 82935-5553                 1602 SIOUX DR
RED BUD, IL 62278                                                              MARION, IL 62959




PAVILONIS, MOTHER                    PAVLACKA, KENNETH E.                      PAVLAK, SHERYL
26130 W PARKVIEW DR                  ADDRESS ON FILE                           ADDRESS ON FILE
ANTIOCH, IL 60002




PAVLOVIC, KATIE A.                   PAWLIK, COLLEEN                           PAWS ANIMAL SHELTER
842 OLIVE ST                         12718 TIPPERARY LANE                      139 E VIENNA ST
GALESBURG, IL 61401                  PLAINFIELD, IL 60585                      ANNA, IL 62906




PAXTON, DONALD                       PAXTON, JAMES                             PAXTON, JEFFREY
525 TANYARD RD                       216 LIME ST                               175 N 4TH EAST ST
SALTILLO, TN 38370                   DUPO, IL 62239                            GREEN RIVER, WY 82935-4338




PAXTON, MARGARET J.                  PAXTON, SHIELDNICA                        PAYABLE TO THE ESTATE OF ALEXANDER
525 TANYARD RD                       912 WILSON STREET                         VILLANUEVA
SALTILLO, TN 38370                   PLYMOUTH, NC 27962                        104 BURTON STREET
                                                                               WAUKEHAN, IL 60085




PAYLESS PEST CONTROL SERVICES, LLC   PAYLESS PEST CONTROL SERVICES, LLC        PAYMENT PROCESSING SERVICES LLC
8417 OTTER CREEK DRIVE               8417 OTTER CREEK DRIVE                    237 HANBURY RD EAST, SUITE 17-357
WEST JORDAN, UT 84081                WEST JORDAN, UT 84081-0000                CHESAPEAKE, VA 23322-6621




PAYMENT RESOLUTION SERVICES          PAYMENT RESOLUTION SERVICES               PAYMENT RESOLUTION SERVICES
1021 WINDCROSS CT                    ATTN MSC 410836                           ATTN MSC 410837
FRANKLIN, TN 37067                   P.O. BOX 415000                           P.O. BOX 415000
                                     NASHVILLE, TN 37241-0836                  NASHVILLE, TN 37241-0837




PAYMENT RESOLUTION SERVICES          PAYMENT RESOLUTION SERVICES               PAYMENT RESOLUTION SERVICES
P.O. BOX 415000                      P.O. BOX 415000                           P.O. BOX 415000
FRANKLIN, TN 37067                   NASHVILLE, TN 37241                       NASHVILLE, TN 37241-0834




PAYMENT RESOLUTION SERVICES          PAYMENT RESOLUTION SERVICES               PAYMENT RESOLUTION SVCS
P.O. BOX 415000                      P.O. BOX 415000                           ATTN: MSC 410836 P.O. BOX 415000
NASHVILLE, TN 37241-0836             NASHVILLE, TN 37241-0837                  NASHVILLE, TN 37241-0836




PAYNE, AUBREY D.                     PAYNE, BEAUNA                             PAYNE, BETTY J.
458 CLARK STREET                     560 LEE BYRD RD                           ADDRESS ON FILE
GALESBURG, IL 61401                  LOGANVILLE, GA 30052-2311
PAYNE, CATHERINE D.       Case 20-10766-BLS    Doc 6D. Filed 04/07/20
                                        PAYNE, DEBBIE                   Page 1375
                                                                             PAYNE,of 1969
                                                                                   DENISE
ADDRESS ON FILE                          5821 LYNMAR DR                      65 TEAGUE RD
                                         BURLINGTON, IA 52601                GREENVILLE, AL 36037




PAYNE, DEVIN H.                          PAYNE, ELIZABETH                    PAYNE, GABRIELLE A.
2114 LAFAYETTE AVE                       733 LEMOS AVE                       ADDRESS ON FILE
SAINT LOUIS, MO 63104                    SALINAS, CA 93901




PAYNE, GERALD                            PAYNE, GERTRUDE                     PAYNE, JASON
14701 N 2400TH RD                        235 FAILS RD                        603 W 17TH ST
ROSEVILLE, IL 61473                      GREENVILLE, AL 36037                BIG SPRING, TX 79720




PAYNE, JUDITH                            PAYNE, JULIE D.                     PAYNE, KIERA D.
85309 JASPER PARK RD                     9200 MURPHY HIGHWAY                 801 MYRTLE STREET
PLEASENT HILL, OR 97455                  BLAIRSVILLE, GA 30512               MARKS, MS 38646




PAYNE, KIMBERLY C.                       PAYNE, KIMBERLY P.                  PAYNE, LINDA E.
4116 PARKWAY                             764 COUNTY ROAD 749                 644 COUNTY ROAD 688
BIG SPRING, TX 79720                     VALLEY HEAD, AL 35989               FORT PAYNE, AL 35967




PAYNE, MELODY A.                         PAYNE, MELVIN                       PAYNE, PATRICIA A.
1441 WABASH AVE                          817 WIMBERLY ST                     1615 OLD EPWORTH RD
BELLEVILLE, IL 62220                     GREENVILLE, AL 36037                EPWORTH, GA 30541




PAYNE, RACHEL                            PAYNE, RAY                          PAYNE, RHONDA
511 HAMILTON AVENUE NORTHEAST            2685 GALLOWAY RD                    ADDRESS ON FILE
MASSILLON, OH 44646                      BLUE RIDGE, GA 30513




PAYNE, ROBERT S.                         PAYNE, ROCHELLE D.                  PAYNE, RORY
715 CROSSROADS CHURCH RD                 ADDRESS ON FILE                     1203 MARKET
ELLIJAY, GA 30540                                                            JOHNSTON CITY, IL 62951




PAYNE, STACEY L.                         PAYNE, SUSAN L.                     PAYNE, WILLIAM
ADDRESS ON FILE                          516 ANSLEY FOREST DRIVE             1602 CRESTWAY DR.
                                         MONROE, GA 30655                    GARDEN CITY, KS 67846




PAYNTER, APRIL                           PAYSON, ALISSA                      PAYSTRUP, TED
1970 WARING ST                           ADDRESS ON FILE                     787 BUZIANIS WAY
SEASIDE, CA 93955                                                            TOOELE, UT 84074
PAYTON BROWN             Case 20-10766-BLS
                                       PAYTON,Doc  6 Filed 04/07/20
                                               CHRISTINA                    Page 1376 ofSAMMIE
                                                                                 PAYTON, 1969
P.O. BOX 54                             5172 WHITSELL WAY                        ADDRESS ON FILE
LYMAN, WY 82937                         GRANITE CITY, IL 62040




PAZDRAL, HOWARD L.                      PB PURCHASE POWER                        PBA
15636 STEINHAUER RD                     P.O. BOX 371874                          P.O. BOX 4687
DEADWOOD, OR 97430                      PITTSBURGH, PA 15250-7874                OAK BROOK, IL 60522




PBA                                     PBS ENGINEERING AND ENVIRONMENTAL        PC AUTOMATED CONTROLS, INC
PO BOX 4687                             INC                                      10279 DYER ST
OAK BROOK, IL 60522                     4412 SW CORBETT AVE                      EL PASO, TX 79924
                                        PORTLAND, OR 97239




PC CLEANING SOLUTIONS                   PC MARKET OF CHOICE                      PCA OF COLUMBIA, INC DCA PCA
P.O. BOX 1122                           1060 GREEN ACRES ROAD                    SOUTHEAST
MARION, IL 62959                        EUGENE, OR 97408                         P.O. BOX 1423
                                                                                 COLUMBIA, TN 38402




PCS MANAGED SERVICES LLC                PDF PROPERTIES LLC                       PDG INC
7895 PLAYERS FOREST DR                  P O BOX 191                              141 N ROADRUNNER PKWY, SUITE 137
MEMPHIS, TN 38119                       DEMING, NM 88031                         LAS CRUCES, NM 88011




PDQ CHECK EXCHANGE                      PDR CHAMBER OF COMMERCE                  PEACE HEALTH MEDICAL GROUP
DBA-MONEY 4 U/ MR MONEY                 P.O. BOX 342                             P.O. BOX 24410
1858 W 5150 S, APT503                   PRAIRIE DU ROCHER, IL 62277              EUGENE, OR 97402
ROY, UT 84067




PEACE MEDICAL, INC                      PEACH STATE HEALTH PLAN                  PEACH STATE HEALTHCARE
50 SOUTH CENTER ST, BLDG 11             P.O. BOX 3030                            P.O. BOX 936142
ORANGE, NJ 07050                        ATTN REFUND DEPT                         REFUNDS
                                        FARMINGTON, MO 63640-3812                ATLANTA, GA 31193




PEACH, LAURA J.                         PEACHEY, GAIL E.                         PEACHEY, KEITH E.
2024 14TH STREET                        ADDRESS ON FILE                          ADDRESS ON FILE
GRANITE CITY, IL 62040




PEACHFORD BHS OF ATLANTA                PEACHSTATE HEALTH PLAN                   PEACOCK PRINTING
2151 PEACHFORD RD                       ATTN:REFUNDS                             1112 JORDAN ST
DUNWOODY, GA 30338                      P.O. BOX 936142                          MT VERNON, IL 62864
                                        ATLANTA, GA 31193-6142




PEACOCK PRINTING                        PEACOCK PRINTING, INC.                   PEACOCK, CECIL M.
1112 JORDAN STREET                      1112 JORDAN STREET                       114 EARLY ST
MT. VERNON, IL 62864                    MT. VERNON, IL 62864                     FORREST CITY, AR 72335
PEACOCK, MABLE         Case 20-10766-BLS   Doc
                                     PEACOCK,   6 Filed 04/07/20
                                              PAMELA                   Page 1377 ofSTACEY
                                                                            PEADEN, 1969
ADDRESS ON FILE                       2975 AZTEC RD                         ADDRESS ON FILE
                                      GREENVILLE, AL 36037




PEAGLER, BETTYE                       PEAK ALARM CO., INC                   PEAK HEALTH SOLUTIONS INC
536 STEEL CR                          P.O. BOX 27127                        75 REMITTANCE DR, SUITE 1155
GREENVILLE, AL 36037                  SALT LAKE CITY, UT 84127-0127         CHICAGO, IL 60675-1155




PEAK JR., JESSE T.                    PEAK MOBILE COMMUNICATION, LLC        PEAK WIRELESS SERVICES
804 BELLE RIVE DR.                    4910 S WAREHOUSE RD                   P.O. BOX 1151
MARION, AR 72364                      KEARNS, UT 84118                      SANDY, UT 84091-1151




PEAK, DANA A.                         PEAKS, BARBARA J.                     PEAKS, JOAN
153 GODFREY ROAD P.O. BOX 226         3050 KADER LILLEY RD                  2714 PRISON CAMP RD
COPPERHILL, TN 37317                  WILLIAMSTON, NC 27892                 WILLIAMSTON, NC 27892




PEAKS, PAIGE                          PEARCE DOLORES                        PEARCE KELLY
1150 GREEN ST                         900 N PEACH ST NO 3                   2103 RAVINE DR
BEAR GRASS, NC 27982-8442             ALPINE, TX 79830                      ZION, IL 60099




PEARCE, ANGELICA                      PEARCE, JOSEPH B.                     PEARCH, KATHERINE L.
2600 HIGHWAY 118 NORTH P.O. BOX 126   1513 N STATE ST                       211 W 3RD STREET
ALPINE, TX 79830                      MARION, IL 62959                      UHRICHSVILLE, OH 44683




PEARL, MARY D.                        PEARMAN, DANIEL                       PEARMAN, DOLORES
ADDRESS ON FILE                       144 BIG FOUR PLACE                    2125 WOODLAWN AVE
                                      GRANITE CITY, IL 62040                GRANITE CITY, IL 62040




PEARMAN, KATRINA L.                   PEARMAN, LISA                         PEARSE, EMMA L.
ADDRESS ON FILE                       ADDRESS ON FILE                       79 ALTA VISTA DR
                                                                            SANTA CRUZ, CA 95060




PEARSON CLINICAL ASSESSMENT           PEARSON LAW GROUP LLC                 PEARSON MEDICAL TECHNOLOGIES, LLC
13036 COLLECTION CENTER DRIVE         P.O. BOX 3692                         2804 N. BOLTON AVENUE
CHICAGO, IL 60693                     ALPHARETTA, GA 30023                  ALEXANDRIA, LA 71303




PEARSON, ANN                          PEARSON, BETTY FOR PATRICK PEARSON    PEARSON, CYNTHIA R.
1104 SUMMERFIELD RD                   365 PARKER CIRCLE                     155 DORIS LANE
P.O. BOX 316                          WILDERSVILLE, TN 38388                CHICAGO HTS, IL 60411
ST. JACOB, IL 62281
PEARSON, DREW, D.P.M.   Case 20-10766-BLS   Doc
                                      PEARSON,    6 S.Filed 04/07/20
                                               ERICH                   Page 1378 of 1969
                                                                            PEARSON, ERICH
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




PEARSON, EULA                           PEARSON, HARVEY L .                 PEARSON, JEREMY M.
4103 LEE STREET                         4045 FAWN VALLEY DR                 228 E VANTANA CT
AYDEN, NC 28513                         LOGANVILLE, GA 30052-3878           BAD ADDRESS
                                                                            MIDVALE, UT 84047




PEARSON, JOHN                           PEARSON, JULEE J.                   PEARSON, KEVIN L.
3027 N LEWIS AVE                        ADDRESS ON FILE                     ADDRESS ON FILE
WAUKEGAN, IL 60087




PEARSON, LORENE                         PEARSON, MADELINE A.                PEARSON, MARK
1929 COLONIAL PKWY NE                   ADDRESS ON FILE                     451 E 980TH ST
MASSILLON, OH 44646                                                         WOODHULL, IL 61490




PEARSON, PHYLLIS G.                     PEARSON, TERRI L.                   PEARSON, TRACY
3471 SMITHWICK CREEK CH R               405 E. 11TH ST                      950OLD WIGHWAY 51 NORTH
WILLIAMSTON, NC 27892                   BIG SPRING, TX 79720                ANNA, IL 62906




PEART, KELSEY L.                        PEASNALL, SCOTT                     PEASNALL, SCOTT
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




PEATE-ANDREWS, PATRICIA A.              PEAVEY, LENAE                       PEAVY, JORDON
120812 WINCHESTER                       1605 WEST LOVELY ROAD               1072 STARLINGTON RD
BLUE ISLAND, IL 60406                   SALT LAKE CITY, UT 84123            GEORGIANA, AL 36033-6331




PEAY, RICHARD                           PECHHOLT, MATHIEU D.                PECK SIGNS
P.O. BOX 582                            501 N BILLY BRYAN                   1558 TEXAS STREET
NORTH SPRINGFIELD, VT 05150-0000        CARBONDALE, IL 62901                MEMPHIS, TN 38106




PECK, AMY C.                            PECK, CRAIG A.                      PECK, GAIL
ADDRESS ON FILE                         ADDRESS ON FILE                     1126 TREMONT AVE
                                                                            MASSILLON, OH 44647




PECK, JOY S.                            PECORD TAYLOR BROOKE                PECORD, MELANIE
P.O. BOX 2856                           6734 CRA MEL DR                     6734 CRAMEL DRIVE
WEST HELENA, AR 72390                   MARION, IL 62959                    MARION, IL 62959
PECOS ENTERPRISE        Case 20-10766-BLS
                                      PEDDLE,Doc  6 J.Filed 04/07/20
                                              MICHAEL                  Page 1379 of 1969
                                                                            PEDERSON, MICHELLE M.
324 SOUTH CEDAR                         418 GLENDENNING PL                   ADDRESS ON FILE
PECOS, TX 79771                         WAUKEGAN, IL 60087




PEDIATRIC CARDIOLOGY CTR                PEDIATRIC GROUP LLC                  PEDIATRIX NEWBORN HEARING SCREEN,
P.O. BOX 821350                         C/O DR REDDY                         LLC
VANCOUVER, WA 98682                     3412 OFFICE PARK DR                  P.O. BOX 281034
                                        MARION, IL 62959                     ATLANTA, GA 30384-1034




PEDIGO PRODUCTS, INC                    PEDIGO, DIANE C.                     PEDIGO, JACOB A.
UNIT 03                                 ADDRESS ON FILE                      ADDRESS ON FILE
P.O. BOX 4280
PORTLAND, OR 97208




PEDIGO, REBECCA                         PEDRO JULISSA                        PEDRO, JULISSA
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




PEDROS OS INC                           PEEBLES, NORMA R.                    PEED, MORGAN
290 AXMINISTER DR                       1334 GRACEVIEW CT                    ADDRESS ON FILE
FENTON, MO 63026                        LONGWOOD, FL 32750




PEEK, JONNY W.                          PEEK, LIBBIA K                       PEEK, MELONY
384 WATTS ROAD                          7072 COUNTY ROAD 223                 4701 COUNTY ROAD 44
CROSSVILLE, AL 35962                    COLLINSVILLE, AL 35961               FORT PAYNE, AL 35967




PEEL, JETTA F.                          PEELE GRAPHICS INC                   PEELE, RICHARD A.
513 OLIVE ST                            8131 HWY 17 SOUTH                    11200 S ST LOUIS
GALESBURG, IL 61401                     WILLIAMSTON, NC 27892                CHICAGO, IL 60655




PEELE, TONYA W.                         PEELE-MANNING, TAMMY L.              PEELER, DEBORAH
1465 GREEN ACRES RD                     ADDRESS ON FILE                      1222 LAMBETH WAY SE
WILLIAMSTON, NC 27892                                                        CONYERS, GA 30013




PEERMAN, JENNIFER L.                    PEET, ANNETTE                        PEET, JUSTIN A.
411 WILLIAM DRIVE                       ADDRESS ON FILE                      1092 GETHESUM GETHSEMANE RD
CARMI, IL 62821                                                              ALBERTVILLE, AL 35950




PEET, SUSAN                             PEETE, JON M.                        PEETE, JON
ADDRESS ON FILE                         1000 W UNION ST APT. A               ADDRESS ON FILE
                                        MARION, IL 62959
PEETE, JON                 Case 20-10766-BLS    DocP. 6
                                         PEEV, KIRIL          Filed 04/07/20   Page 1380  ofCORBIN
                                                                                    PEFANIS, 1969 J.
ADDRESS ON FILE                            5637 S WASHINGTON STREET                  ADDRESS ON FILE
                                           HINDSALE, IL 60521




PEFFER DANA R                              PEFFLEY, JOHN                             PEGASUS EXPRESS DELIVERY LLC
1709 W MONROE ST                           931 US RT 40                              P.O. BOX 355
HERRIN, IL 62948                           GREENVILLE, IL 62246                      ARNOLD, MO 63010




PEGG, BRITNEY M.                           PEGGY CORYAT                              PEGGY HOFFPOPE
5726 STATE ROUTE 3                         C/O AVRH                                  355 W MESQUITE BLVD D30218
WATERLOO, IL 62278                         104 LEGION DR                             MESQUITE, NV 89027
                                           LAS VEGAS, NM 87701




PEGGY HUMES                                PEGGY MCGREW                              PEGGY ROGERSON PHOTOGRAPHY
2959 175TH ST                              23960 E 1800TH ST                         301 CAROLINA AVENUS
NORTH HENDERSON, IL 61466                  PRAIRIE CITY, IL 61470                    WILLIAMSTON, NC 27892




PEGGY S MCNEELY                            PEHAR, SARAH                              PEHP
500 STOCKDALE LN                           411 WYNONA ST                             560 E 200 S
ABINGDON, IL 61410                         EDWARDSVILLE, IL 62025                    SALT LAKCITY, UT 84102-2004




PEHP                                       PEKARIK, MICHAEL                          PEKIN INSURANCE
560 EAST 200 SOUTH                         2813 WOODFIELD                            2505 COURT ST
SALT LAKE CITY, UT 84102                   MARYVILLE, IL 62062                       PEKIN, IL 61558




PEKIN LIFE INSURANCE                       PEKOC, SAMUEL P.                          PELCZYNSKI, JANE
P.O. BOX 59838                             ADDRESS ON FILE                           26611 SUGAR CREEK ROAD
SCHAUMBURG, IL 60159                                                                 ASHLEY, IL 62808




PELFREY, ABBEY                             PELFREY, BRANDON                          PELFREY, CALLIE
452 EMILY CIRCLE                           334 TRACE FORK RD.                        ADDRESS ON FILE
EPWORTH, GA 30541                          JACKSON, KY 41339




PELFREY, HAZEL J.                          PELFREY, JAN                              PELFREY, JASON O.
ADDRESS ON FILE                            ADDRESS ON FILE                           42 N MAIN ST
                                                                                     MARSHALLVILLE, OH 44645




PELFREY, JOYCE VELDA                       PELFREY, MELISSA F.                       PELFREY, RUSSELL T.
2739 MOBILE ROAD                           ADDRESS ON FILE                           ADDRESS ON FILE
MCCAYSVILLE, GA 30555
PELFREY, SHELIA        Case 20-10766-BLS   Doc
                                     PELFREY,   6 R.Filed 04/07/20
                                              WANDA                  Page 1381
                                                                          PELI0N of 1969
                                                                                 SURGICAL
ADDRESS ON FILE                       ADDRESS ON FILE                      116 VIVION DRIVE
                                                                           AIKEN, SC 29803




PELIKAN, ROBERT A.                    PELKEY, SALLY                        PELL, MELANIE M.
28068 CRESTVIEW RD                    1045 HECKART LN                      6502 MEADOWBROOK LN
BARSTOW, CA 92311                     HARRISBURG, OR 97446-0000            FORT PAYNE, AL 35967-8252




PELLAM, CHRISTOPHER                   PELLAND, COREY                       PELLIGRINO, DONNA L.
4064 PLAINS AVE. SW                   664 FRAMINGHAM CT                    874 MESQUITE SPRINGS 202
FORT PAYNE, AL 35967                  GURNEE, IL 60031-3496                MESQUITE, NV 89027




PELPHREY, HELEN R.                    PELPHREY, SUSAN                      PELPHREY-HITCHCOCK, LAUREN R.
ADDRESS ON FILE                       ADDRESS ON FILE                      ADDRESS ON FILE




PELVIC BINDER                         PELZL, MICHELE K                     PEMBERTON SR, CHARLES
3419 WESTMINSTER SUITE 276            131 GRAYCE DR                        206 PINE BLUFF DR
DALLAS, TX 75205                      MESQUITE, NV 89027                   SHERIDAN, AR 72150




PEMBERTON, AMY N.                     PEMBERTON, PATRICK                   PENA, ANDREA R.
ADDRESS ON FILE                       10520 SOUTH KOLMAR AVE               507 E 13TH ST
                                      OAK LAWN, IL 60453                   BIG SPRING, TX 79720




PENA, ANDREA                          PENA, AUNDREA                        PENA, CECE
507 E 13TH                            ADDRESS ON FILE                      2907AVE T
BIG SPRING, TX 79720                                                       SNYDER, TX 79549




PENA, EMILIA                          PENA, HOLLIE M.                      PENA, MARIA A.
8 QUINN AVE                           4646 BRINKER ST SW                   4216 BOSTON LANE
FREEDOM, CA 95019                     NAVARRE, OH 44662                    EUGENE, OR 97402




PENA, MELISSA                         PENA, RAQUEL                         PENA, STORMIE D.
1606 AVION                            337 BRENTWOOD DRIVE                  390 NORTH CEDAR HILL LN
BIG SPRING, TX 79720                  WATSONVILLE, CA 95076                COALVILLE, UT 84017




PENA, STORMIE                         PENA, TIMOTEO                        PENA, VERONICA
390 CEDAR HILL LANE                   1716 DODGE AVENUE                    1961MAIN ST 352
COALVILLE, UT 84017                   WAUKEGAN, IL 60085                   WATSONVILLE, CA 95076
PENACHO, STEPHANIE G.    Case 20-10766-BLS   DocLAURA
                                       PENBERTHY, 6 Filed 04/07/20    Page 1382
                                                                           PENCO of 1969
                                                                                 PRODUCTS,INC
1632 CAMBRIDGE AVE                      50 WHISTLE STRAITS DR              1820 STONEHENGE DRIVE
FLOSSMOOR, IL 60422                     HIGHLAND, IL 62249                 GREENVILLE, NC 27858




PENDER, JERRI L.                        PENDER, JERRI L.                   PENDER, SHANNA
ADDRESS ON FILE                         15740 THOMPSONVILLE RD             2285 LINGLE CREEK RD
                                        THOMPSONVILLE, IL 62890            JONESBORO, IL 62952




PENDERGAST, DANIEL J.                   PENDERGAST, DEBRA L.               PENDERGAST, GARY K.
ADDRESS ON FILE                         ADDRESS ON FILE                    1600 RHODODENDRON DR
                                                                           SPC 299
                                                                           FLORENCE, OR 97439




PENDERGAST, KARRI J.                    PENDERGRASS, HELEN B.              PENDERGRASS, JESSICA S.
1048 SWEETBRIAR PLACE                   1000 GARMANY ROAD                  ADDRESS ON FILE
GALESBURG, IL 61401                     FYFFE, AL 35971




PENDERGRASS, KIM D.                     PENDERGRASS, TOBY N.               PENDLETON, JOSEPH
4602 GREENHILL BLVD NW                  2289 COUNTY RD 458                 100 LINCOLD AVE 500
FORT PAYNE, AL 35968-3012               FORT PAYNE, AL 35968               PALESTINE, AR 72372




PENDLETON, LAQUINTA L.                  PENDLEY, BRIAN L.                  PENIX, GLENN
ADDRESS ON FILE                         ADDRESS ON FILE                    44 ESTIL PENIX DRIVE
                                                                           TOMAHAWK, KY 41262-9032




PENIX, VICTORIA                         PENLAND, BENITA                    PENLAND, SARAH
296 NM HWY 281                          3872 WEISS LAKE BLVD, LOT 3        5709 OLD ALTON RD
LAS VEGAS, NM 87701                     LEESBURG, AL 35983                 GRANITE CITY, IL 62040




PENLON AMERICA                          PENN, APRIL                        PENN, BRENDA J.
11515 K-TEL DR                          1619 - 170TH ST                    18629 AMLIN CIRCLE
MINNETONKA, MN 55343                    CAMERON, IL 61423                  COUNTRY CLUB HI, IL 60478




PENN, TIMOTHY MD                        PENN, TIMOTHY MD                   PENN-EASON VEVA
ADDRESS ON FILE                         514 POKEY RD                       P.O. BOX 687
                                        POCAHONTAS, IL 62275               400 W ACADEMY ST
                                                                           ROBERSONVILLE, NC 27871




PENNELL, KRISTY                         PENNELL, LILY A.                   PENNINGER ASPHALT PAVING, INC.
1017 MORNING LN                         1706 MULBERRY DRIVE                2220 AIRPORT ROAD
TOOELE, UT 84074                        LAKE VILLA, IL 60046               JONESBORO, IL 62952
PENNINGTON LAWSON LLP Case 20-10766-BLS     Doc 6ANN Filed 04/07/20
                                    PENNINGTON,                        Page 1383  of 1969
                                                                            PENNINGTON, BETTY S.
44 MONTGOMERY ST SUITE 2400         236 E DAYTON ST                          2125 KY RT. 3214
SAN FRANCISCO, CA 94104             GALESBURG, IL 61401                      FLAT GAP, KY 41219




PENNINGTON, BETTY                    PENNINGTON, JANICE                      PENNINGTON, JOHN
P.O. BOX 1140 140 ROARK RIDGE RD.    4120 SAMAR ST NW                        927 PENNINGTON CT
JACKSON, KY 41339                    COVINGTON, GA 30014                     EUGENE, OR 97404




PENNINGTON, SARA B.                  PENNINGTON, SHAWNA D.                   PENNINGTON, TERRI L.
ADDRESS ON FILE                      ADDRESS ON FILE                         ADDRESS ON FILE




PENNINGTON, TOBI                     PENN-JERSEY X-RAY                       PENNOCK, BILL
118 N. FRANKLIN ST                   P.O. BOX 286                            203 NORTH CEDAR BLUFF DR
CENTRALIA, IL 62801                  MORRISVILLE, PA 19067                   VALMEYER, IL 62295




PENNSYLVANIA DEPARTMENT OF HUMAN     PENNSYLVANIA DEPARTMENT OF REVENUE      PENNSYLVANIA DEPT OF HUMAN SERVICES
RESOURCES                            P.O. BOX 280901                         OFC OF ADMIN
P.O. BOX 2675                        HARRISBURG, PA 17128                    P.O. BOX 2675
COMMONWEALTH OF PENNSYLVANIA                                                 DIRECTOR BUREAU OF PROG INTEGRITY
HARRISBURG, PA 17105                                                         HARRISBURG, PA 17105-2675



PENNSYLVANIA DEPT. OF REVENUE        PENNSYLVANIA SECRETARY OF STATE         PENNY BARRAGAN- PETTY CASH
1846 BROOKWOOD STREET                401 NORTH STREET                        CUSTODIAN
HARRISBURG, PA 17104                 206 NORTH OFFICE BUILDING               ADDRESS ON FILE
                                     HARRISBURG, PA 17120




PENNY, SHANEICE                      PENRAD TECHNOLOGIES                     PENRO, BETTY J.
ADDRESS ON FILE                      114 COMMERCE CIR                        6154 S CAMPBELL
                                     BUFFALO, MN 55313-1942                  CHICAGO, IL 60629




PENROD, HOLLY J.                     PENROSE, ROSA M.                        PENSION BENEFIT GUARANTY CORP
11506 WHITE PINE AVE                 5985 YACHTSMAN LN                       DIR. CORP. FINANCE & NEGOTIATION DEPT.
MARION, IL 62959                     STANSBURY PARK, UT 84074                1200 K STREET NW
                                                                             WASHINGTON, DC 20005




PENSION BENEFIT GUARANTY CORP        PENTAX MEDICAL COMPANY, INC.            PENTON, PATRICK D.
GENERAL COUNSEL                      POB 820146                              P.O. BOX 130805
1200 K STREET NW                     PHILADELPHIA, PA 19182-0146             DALLAS, TX 75313
WASHINGTON, DC 20005




PENUMBRA, INC                        PENUMBRA, INC                           PEOPLE 2.0 GLOBAL INC
ONE PENUMBRA PLACE                   P.O. BOX 101836                         P O BOX 536853
ALAMEDA, CA 94502                    PASADENA, CA 91189-1836                 ATLANTA, GA 30353-6853
PEOPLE MAGAZINE          Case 20-10766-BLS
                                       PEOPLEDoc 6 Filed 04/07/20
                                             MAGAZINE               Page 1384
                                                                         PEOPLEof 1969
P.O. BOX 60001                         P.O. BOX 62120                    P.O. BOX 62120
TAMPA, FL 33660                        TAMPA, FL 33662-2120              TAMPA, FL 33662-2120




PEOPLES GAS                            PEOPLES GAS                       PEOPLES MATERIAL
ATTN CUSTOMER SERVICE                  P.O. BOX 2968                     468 E BERRIEN
200 E RANDOLPH ST                      MILWAUKEE, WI 53201-2968          GALESBURG, IL 61401
CHICAGO, IL 60197-6050




PEOPLES UNITED BANK                    PEOPLES, ANTHONY                  PEOPLES, BRIAN A.
ONE POST OFFICE SQUARE, SUITE 3710     6715 S JASEINE ST                 9454 SILVERDALE CT.
BOSTON, MA 02109                       CHICAGO, IL 60636                 BRENTWOOD, TN 37027




PEOPLES, CYNTHIA                       PEOPLES, JUDY                     PEORIA JOURNAL STAR
295 LAUREL BROOK DR                    504 PEACHTREE AVENUE E            1 NEWS PLAZA
MURPHY, NC 28906                       FORT PAYNE, AL 35967              PEORIA, IL 61643




PEORIA TAZEWELL PATHOLOGY              PEPMILLER, KARIE L.               PEPPER MEDICAL
1200 HARGER ROAD                       ADDRESS ON FILE                   600 W STRASBURG RD
SUITE 408                                                                WEST CHESTER, PA 19382
OAK BROOK, IL 60523




PEPPERDINE, PAMELA                     PEPPERKORN SANDRA ANNETTE         PEPPERS M.D., FRANK J.
703 N CHERRY STREET                    5269 CYNTHIA CT                   ADDRESS ON FILE
ALPINE, TX 79830                       SPRINGFIELD, OR 97478




PEPPERS SUPERMARKET                    PEPPERS, BARBARA                  PEPPERS, CRYSTAL
872 E FLORIDA                          2911 COUNTY ROAD 62               718 PEAR ST
P.O. BOX 191                           COLLINSVILLE, AL 35961            CARTERVILLE, IL 62918
DEMING, NM 88031-0191




PEPPI, ALLISON R.                      PEPPLE, NICOLE R.                 PEPPLE, SHEILA
1162 OLD ABBOTT MOUNTAIN RD            ADDRESS ON FILE                   ADDRESS ON FILE
PRESTONSBURG, KY 41653




PEPSI AMERICAS                         PEPSI BEVERAGES CO                PEPSI COLA COMPANY
75 REMITTANCE DRIVE, SUITE 1884        PEPSI-COLA                        P O BOX 75960
P.O. BOX 75948                         P.O. BOX 75948                    CHICAGO, IL 60675-5960
CHICAGO, IL 60675-1884                 CHICAGO, IL 60675-5948




PEPSI MIDAMERICA                       PEPSI MIDAMERICA                  PEPSI MIDAMERICA
2605 W MAIN ST                         P.O. BOX 18241F                   P.O. BOX 50-18241
MARION, IL 62959                       ST. LOUIS, MO 63150               ST LOUIS, MO 63150-8241
PEPSI                     Case 20-10766-BLS
                                        PEPSI Doc 6         Filed 04/07/20   Page 1385  ofINC
                                                                                  PEPSICO  1969
P.O. BOX 7425                           PO BOX 7425                               75 REMITTANCE DRIVE, SUITE 1884
MADISON, WI 53707                       MADISON, WI 53707                         P.O. BOX 75948
                                                                                  CHICAGO, IL 60656-1471




PEPSICO INC                             PEPSICO INC                               PEPSICO INC
75 REMITTANCE DRIVE, SUITE 1884         75 REMITTANCE DRIVE, SUITE 1884           75 REMITTANCE DRIVE, SUITE 1884
P.O. BOX 75948                          P.O. BOX 75948                            P.O. BOX 75948
CHICAGO, IL 60675-1884                  CHICAGO, IL 60675-5948                    DALLAS, TX 75284-1828




PEPSI-COLA                              PER MAR SECURITY SERVICES                 PER MAR SECURITY SERVICES
75 REMITTANCE DR.                       P.O. BOX 1101                             PO BOX 1101
SUITE 1884                              DAVENPORT, IA 52805                       DAVENPORT, IA 52805
CHICAGO, IL 60675-1884




PERADOTTA, TAMMY                        PERAL CHIN                                PERAL, CHIN
305 SOUTH WALNUT ST                     1728 GRAND AVE                            1728 GRAND AVE
PINCKNEYVILLE, IL 62274                 GALESBURG, IL 61401                       GALESBURG, IL 61401




PERALES, KATHERINE M.                   PERALTA, CONCEPCION A.                    PERALTA, PATRICK
ADDRESS ON FILE                         2618 ORCHARD ST.                          224 MANOR AVE NW
                                        BLUE ISLAND, IL 60406                     CANTON, OH 44708




PERCEPTION HEALTH LLC                   PERDELWITZ, ERIC M.                       PERDUE, AMY
301 PLUS PARK BLVD 215                  480 DALE RD                               1291 QUINCE DR
NASHVILLE, TN 37217                     HENRY, TN 38231                           JUNCTION CITY, OR 97448




PERDUE, JESSE                           PERDUE, LINDA                             PERDUE, VALERIE
59 LINCOLN WAY E, APT 602               410 SMOTHERS DR                           514 CLAYTHORNE DR
MASSILLON, OH 44646-6644                GREENVILLE, AL 36037                      GREENVILLE, AL 36037-3524




PEREA, BRIANA C.                        PEREA, LUZ E.                             PEREA, SANDY
ADDRESS ON FILE                         1303 E FLORIDA ST                         ADDRESS ON FILE
                                        DEMING, NM 88030




PEREGO, TERESA G.                       PERENICH, KELLY T.                        PERENICH, KELLY
85 HIDDEN SPRINGS LOOP, APT 27          ADDRESS ON FILE                           ADDRESS ON FILE
VALLEY HEAD, AL 35989




PERENICH, LESLIE                        PERES-LOPEZ, SONYA                        PEREZ, AIXA MD
1000 N. OLD ASKA ROAD                   ADDRESS ON FILE                           ADDRESS ON FILE
BLUE RIDGE, GA 30513
PEREZ, ALICIA           Case 20-10766-BLS    Doc 6G. Filed 04/07/20
                                      PEREZ, ALISON                   Page 1386
                                                                           PEREZ,of 1969N.
                                                                                 ALLISON
595 EL BORDO RD SW                     2030 PAJARO LANE 3110               740 FIELDSTONE LANE
DEMING, NM 88030                       FREEDOM, CA 95019                   ELIZABETHTOWN, PA 17022




PEREZ, ALLISON N.                      PEREZ, ANA M.                       PEREZ, ANA M.
ADDRESS ON FILE                        ADDRESS ON FILE                     22045 W CEDAR DR.
                                                                           ANTIOCH, IL 60002




PEREZ, ANTHONY C.                      PEREZ, ARACELIA                     PEREZ, CAROLINA
14011 JAMES DR APT.602                 2711 MAR VISTA DR 37                1007 FITZGERALD STREET
CRESTWOOD, IL 60418-4112               APTOS, CA 95003                     SALINAS, CA 93906




PEREZ, CLEA                            PEREZ, CRYSTAL R.                   PEREZ, ERICA
451 THORNHILL LANE A2                  ADDRESS ON FILE                     2824 BIRCH AVE
WHEELING, IL 60090                                                         GRANITE, IL 62040




PEREZ, HEATHER                         PEREZ, HIPOLITO                     PEREZ, J G.
ADDRESS ON FILE                        2016 INDIAN RD                      1723 PARK AVE
                                       WAUKEGAN, IL 60087                  NORTH CHICAGO, IL 60064




PEREZ, JACKELIN M.                     PEREZ, JACKELINE                    PEREZ, JACOB
3805 BRIGHTON CT                       3410 DIXIE AVE                      ADDRESS ON FILE
ZION, IL 60099                         PARK CITY, IL 60085




PEREZ, JENNIFER Y.                     PEREZ, JOCELYN                      PEREZ, JOLENE
1602 LARK ST.                          ADDRESS ON FILE                     1608 S EMERSON DR
BIG SPRING, TX 79720                                                       DEMING, NM 88030




PEREZ, JOVANNI                         PEREZ, JUAN C.                      PEREZ, JULISA I.
ADDRESS ON FILE                        15 CASSERLY ROAD                    20 BAFP DR
                                       WATSONVILLE, CA 95076               WATSONVILLE, CA 95076




PEREZ, LETICIA                         PEREZ, LORENA                       PEREZ, LORI
126 MARIPOSA AVE                       2502 N 41ST STREET                  498 CRYSTAL PL
WAUKEGAN, IL 60087                     FAIRMONT CITY, IL 62201             GURNEE, IL 60031




PEREZ, MARGARET T.                     PEREZ, MARIA                        PEREZ, MARICELA M.
ADDRESS ON FILE                        207 WILLIAMS ST                     ADDRESS ON FILE
                                       WILLIAMSTON, NC 27892
PEREZ, MAYRA C.          Case 20-10766-BLS    Doc 6
                                       PEREZ, NORMA         Filed 04/07/20   Page 1387
                                                                                  PEREZ,of 1969
                                                                                        OLIVIA
1031 N BUTRICK ST                       8506 NIELSEN DR                           3602 SUNSET CT
WAUKEGAN, IL 60085                      TINLEY PARK, IL 60487                     SAN ANGELO, TX 76904




PEREZ, PAULA                            PEREZ, SERGIO                             PEREZ, SHELLY N.
P.O. BOX 7014                           2908 LA UNION CT                          ADDRESS ON FILE
BUNKERVILLE, NV 89007                   LAS CRUCES, NM 88007




PEREZ, SILVIA E.                        PEREZ, WALTER                             PEREZ, YOLANDA G.
205 BRONSON                             212 E 136TH PLACE                         224 S 50TH PL
WATSONVILLE, CA 95076                   CHICAGO, IL 60827                         SPRINGFIELD, OR 97478




PEREZ, YOLANDA                          PEREZ-COWLISHAW, DOLORES M.               PEREZCRUZ, LORENZO A.
33 MINTO RD 1101                        11823 MINO RIO AVE                        2542 SANTA ANA ST
WATSONVILLE, CA 95076                   LAS VEGAS, NV 89138                       HUNTINGTON PARK, CA 90255




PEREZ-RODRIGUEZ, AIXA                   PERFECT MOMENT STAGING INC.               PERFECT POTTY
1090 TALL TIMBERS W                     2014 CO RD 815 N                          9219 CORSAIR ROAD, UNIT D
WILLIAMSTON, NC 27892                   FAIRFIELD, IL 62837                       FRANKFORT, IL 60423




PERFECTO, DAISY                         PERFORMANCE ABATEMENT SERVICES, INC       PERFORMANCE BUSINESS FORMS
5215 FRIAR RODRIGUEZ RD SE              16400 COLLEGE BLVD                        200 BLANTON AVE
DEMING, NM 88030                        LENEXA, KS 66219                          NASHVILLE, TN 37210




PERFORMANCE HEALTH SUPPLY INC           PERFORMANCE HEALTH SUPPLY INC             PERFORMANCE HEALTH SUPPLY INC
P.O. BOX 93040                          P.O. BOX 93040                            P.O. BOX 93040
28100 TORCH PARKWAY, SUITE 700          28100 TORCH PARKWAY, SUITE 700            28100 TORCH PARKWAY, SUITE 700
CHICAGO, IL 60673                       CHICAGO, IL 60673-3040                    WARRENVILLE, IL 60555




PERFORMANCE HEALTH SUPPLY INC           PERFORMANCE HEALTH SUPPLY INC             PERFORMANCE HEALTH SUPPLY INC
P.O. BOX 93040                          P.O. BOX 93040                            P.O. BOX 93040
28100 TORCH PARKWAY, SUITE 700          CHICAGO, IL 60673                         CHICAGO, IL 60673-3040
WARRENVILLE, IL 60555-3938




PERFORMANCE HEALTH                      PERFORMANCE SYSTEMS INTEGRATION           PERFORMANCE TESTING & BALANCING CO.,
P.O. BOX 93040                          CORPORATION                               INC
CHICAGO, IL 60673-3040                  7324 SW DURHAM ROAD                       2021 FIVE POINTS ROAD
                                        PORTLAND, OR 97224                        P.O. BOX 538
                                                                                  CLEVELAND, AL 35049



PERFORMANT RECOVERY INC                 PERFORMANT RECOVERY, INC C/O ECMC         PERFUSION PROFESSIONALS INC
P.O. BOX 205789                         P O BOX 9063                              101 BRADFORD RD STE 200
DALLAS, TX 75320-5789                   PLEASANTON, TX 94566-9063                 WEXFORD, PA 15090
                     Case
PERFUSION TECHNOLOGISTS OF 20-10766-BLS    Doc 6 INC
                                    PERFUSION.COM     Filed 04/07/20   Page 1388
                                                                            PERIDA,of 1969
                                                                                    DAVIDSON
P.O. BOX 713                        17080 SAFETY ST., SUITE 109              1821 RIVER RUN RD
GREATER CHICAGO INC                 FORT MYERS, FL 33908                     MONROE, GA 30656-7205
OAK FOREST, IL 60452




PERIGO, HEATHER                       PERIMED INC                            PERKERSON, SUSAN E.
40 VILLA DRIVE                        44 W LANCASTER AVE, SUITE 220          108 WEST WOODLAWN AVE
GRANITE CITY, IL 62040                ARDMORE, PA 19003                      NORTH AUGUSTA, SC 29841-3455




PERKES, MARGARET                      PERKINS CATHERINE                      PERKINS CHARLES M
409 SAGE ST.                          11959 N GROVE SCHOOL RD                P O BOX 1942
EVANSTON, WY 82930                    TRENTON, IL 62293                      BARSTOW, CA 92312




PERKINS CONSTRUCTION LLC              PERKINS SMITH & ASSOCIATES LLC         PERKINS, ALEXA
144 2ND AVE N, SUITE 300              471 WEST MAIN ST, SUITE 300            5484 PONDEROSA LN
NASHVILLE, TN 37201                   LOUISVILLE, KY 40202                   STANSBURY PARK, UT 84074




PERKINS, BARBARA P.                   PERKINS, BIANCA                        PERKINS, DARREN
2120 MANLEY                           400 W 13TH ST                          ADDRESS ON FILE
GRANITE CITY, IL 62040                GREENVILLE, NC 27834




PERKINS, DYLAN A.                     PERKINS, DYLAN A.                      PERKINS, EMILY
27 OAKLAWN DR.                        ADDRESS ON FILE                        27 OAKLAWN DR
GRANITE CITY, IL 62040                                                       GRANITE CITY, IL 62040




PERKINS, FLINT L.                     PERKINS, JAMES D.                      PERKINS, JEAN
ADDRESS ON FILE                       41043 N ELIME RD                       119 SAVANNAH CT
                                      ANTIOCH, IL 60002                      GLEN CARBON, IL 62034




PERKINS, KASSIE                       PERKINS, KELSEY                        PERKINS, KIMBERLY
60 COUNTY ROAD 798                    2540 PARKVIEW DR APT 9                 704 DEVON RD
VALLEY HEAD, AL 35989                 GRANITE CITY, IL 62040                 GOVETOWN, GA 30813




PERKINS, LESLIE A.                    PERKINS, PAULA J.                      PERKINS, SHEQUETTA
ADDRESS ON FILE                       35 SW CRESCENT DR                      ADDRESS ON FILE
                                      MT VERNON, IL 62864




PERKINS, STEFFANY                     PERKINS, TROY                          PERKSON, ROBERT
ADDRESS ON FILE                       85 N STATE ST                          449 17TH ST NE
                                      WESTERVILLE, OH 43081                  MASSILLON, OH 44646
                        Case 20-10766-BLS
PERMIAN BASIN CLINICAL SERVICING      PERMIAN Doc   6 HISPANIC
                                                BASIN    Filed MEDICAL
                                                               04/07/20   Page 1389  ofDIGESTIVE
                                                                               PERMIAN  1969 DISEASE CENTER
PARTNERSHIP                           SOCIETY                                  2012 WEST OHIO AVE
2950 50TH ST                          710 E 6TH                                MIDLAND, TX 79701
LUBBOCK, TX 79413                     ODESSA, TX 79761




PERMIAN PREMIER HEALTH SERVICES INC     PEROTTA, JOSEPH R.                     PERRI, JESSICA
C/O STEWARD HEALTH CARE SYSTEM INC      229 W CASCADE DRIVE                    3550 SOQUEL AVE.
1900 N PEARL, STE 24000                 COLUMBIA, IL 62236                     SANTA CRUZ, CA 95062
DALLAS, TX 75201




PERRIGAN, MIRANDA C.                    PERRIGO, GRACE A.                      PERRINFROMHOLD BONNIE ROS
ADDRESS ON FILE                         5620 BURNETT AVE                       2175 FAIRWAY LOOP
                                        EUGENE, OR 97402                       EUGENE, OR 97401




PERRIS, DEBRA D.                        PERROTT, JOSEPH                        PERROTT, MICHELLE E.
ADDRESS ON FILE                         90401 COBURG RD                        63 ACACIA LANE
                                        EUGENE, OR 97408                       CARBONDALE, IL 62903




PERRY JR., JAMES                        PERRY, AMY                             PERRY, ASHLEY R.
80 WALNUT TRACE DR                      ADDRESS ON FILE                        106 WINBORNE LN
JACKSON, TN 38305                                                              EDENTON, NC 27932




PERRY, BILLY G.                         PERRY, CAITLIN                         PERRY, CAITLIN
1023 N 56TH STREET                      405 W HOLLY STREET                     ADDRESS ON FILE
P.O. BOX 1288                           DEMING, NM 88030
SPRINGFIELD, OR 97477




PERRY, CAROLYN                          PERRY, CAROLYN                         PERRY, CAROLYN
713 OSBORN DR                           ADDRESS ON FILE                        ADDRESS ON FILE
COLLINSVILLE, IL 62234




PERRY, CINDI P.                         PERRY, CYNTHIA R.                      PERRY, DANIELLE B.
ADDRESS ON FILE                         2106 ELM ST.                           264 2ND ST. SE
                                        MURPHYSBORO, IL 62966                  BREWSTER, OH 44613




PERRY, DANIELLE W.                      PERRY, DAVID E.                        PERRY, DWUANE
217 WILDCAT RD                          ADDRESS ON FILE                        1379 CARTER CT
WILLIAMSTON, NC 27892                                                          WAUKEGAN, IL 60085




PERRY, EDDIE                            PERRY, ELIZABETH                       PERRY, ILIANA
307 N MAIN ST                           ADDRESS ON FILE                        2414 S BONNIE BROOK LN
ALEXIS, IL 61412                                                               WAUKEGAN, IL 60087
PERRY, ISON             Case 20-10766-BLS
                                      PERRY, Doc  6
                                             JADE M.    Filed 04/07/20   Page 1390
                                                                              PERRY,of 1969B.
                                                                                    JASMINE
1309 12TH ST NW                         3290 SPRING ST                        547 RIVER DR
CANTON, OH 44703                        CEDAR BLUFF, AL 35959                 MUNSTER, IN 46321




PERRY, JENNIFER C.                      PERRY, JENNIFER                       PERRY, JENNIFER
7540 FOOTHILL DRIVE                     1118 POSSUM TRACK RD                  2522 ALBROOK DR.
LAKE POINT, UT 84074                    CHOCOWINITY, NC 27817                 BIG SPRING, TX 79720




PERRY, JOSHUA L.                        PERRY, JUDY C.                        PERRY, KEARRA
ADDRESS ON FILE                         200 MEDICAL CENTER DR SW              99 OAK LEAF LN
                                        FORT PAYNE, AL 35968                  VERNON HILLS, IL 60061




PERRY, MARCI                            PERRY, MATTHEW                        PERRY, MELINDA
919 MASTERS DRIVE                       1152 YELLOW CREEK ROAD                ADDRESS ON FILE
MONROE, GA 30655                        LOUISA, KY 41230




PERRY, MICHAEL                          PERRY, RYAN C.                        PERRY, SAMANTHA L.
1125 WINTER LAKE DR                     P.O. BOX 189                          ADDRESS ON FILE
FENTON, MO 63026                        OAKMAN, GA 30732




PERRY, SANDRA M.                        PERRY, STEVEN E.                      PERRY, TAMMY W.
ADDRESS ON FILE                         19426 AL HWY 68                       ADDRESS ON FILE
                                        CROSSVILLE, AL 35962




PERRY, TERRY                            PERRYDORE, SAMANTHA J.                PERRYMAN, ARTHUR
ADDRESS ON FILE                         ADDRESS ON FILE                       P.O. BOX 1437
                                                                              BLUE RIDGE, GA 30513-0025




PERRYMAN, DEREK T.                      PERRYMAN, ELLIEANA M.                 PERRYMAN, PAISLEY
1125 MAGNOLIA DRIVE B-22                P.O. BOX 70035                        2514 LANGLEY DRIVE
FRANKLIN, TN 37064                      WEST VALLEY CITY, UT 84120            BIG SPRING, TX 79720




PERRYMAN, PATRICIA P.                   PERRYMAN, PATRICIA                    PERSAK-IVERSEN, TRACEY M.
904 STILES                              HRMC                                  4637 N. LEAMINGTON AVE
CLARKSDALE, MS 38614                    72342                                 CHICAGO, IL 60630




PERSHING (0443)                         PERSHING, CHAD                        PERSIP, BILLIE J.
ATTN JOSEPH LAVARA OR PROXY DEPT.       487 HEMLOCK LN                        P.O. BOX 3015
1 PERSHING PLAZA                        ELYSBURG, PA 17824                    LAS VEGAS, NM 87701
JERSEY CITY, NJ 07399
PERSLIN, NICHOLAS       Case 20-10766-BLS   Doc
                                      PERSON,     6 Filed 04/07/20
                                              DIANNE                  Page 1391 ofHENRY
                                                                           PERSON, 1969
393 SHEPHERDS WALK                     501 COOPER                          15131 PAULINA
MORGANTON, GA 30560                    WEST MEMPHIS, AR 72301              HARVEY, IL 60426




PERSON, ROGER                          PERSONAL FINANCE COMPANY            PERSONAL MEDICAL EQUIPMENT
1290 US HWY 412E                       P.O. BOX 470                        517 E VIENNA ST SUITE D
JACKSON, TN 38305                      PINCKNEYVILLE, IL 62274-0470        P O BOX 89
                                                                           ANNA, IL 62906




PERSONAL SAFETY CORP                   PERSONNEL CONCEPTS                  PERSONNEL PLACEMENTS
P.O. BOX 128                           P.O. BOX 5750                       67 W CHURCH ST
HIAWATHA, IA 52233                     CAROL STREAM, IL 60197-5750         LEXINGTON, TN 38351




PERSONNEL SOURCE                       PERSONNEL STAFFING GROUP INC        PERTCHI, PATRICIA K.
555 LINCOLN STREET                     P.O. BOX 389                        11511 ABBEY RD
EUGENE, OR 97401                       DUBUQUE, IA 52004                   MOKENA, IL 60448




PERTEET KRISTEN M                      PESERIK, PETER                      PESI HEALTHCARE
10719 S LONGWOOD DR                    761 SIOUX DR                        P O BOX 1000
CHICAGO, IL 60643                      EVANSTON, WY 82930-4551             EAU CLAIRE, WI 54702




PESI HEALTHCARE                        PESI HEALTHCARE                     PESI HEALTHCARE
P.O. BOX 1000                          P.O. BOX 1000                       PO BOX 1000
EAU CLAIRE, WI 54702                   EAU CLAIRE, WI 54702-1000           EAU CLAIRE, WI 54702




PESI LLC                               PEST CONTROL SERVICES               PEST CONTROL SERVICES
P.O. BOX 1000                          13340 COUNTY HWY 11                 13340 COUNTY HWY. 11
EAU CLAIRE, WI 54702-1000              HOYLETON, IL 62803                  HOYLETON, IL 62803




PESZ, SHELLY                           PET DAIRY                           PETAGREW, ROBYN A.
ADDRESS ON FILE                        BOX 60498                           1911 GRAYSON HWY 8-378
                                       CHARLOTTE, NC 28260-0498            GRAYSON, GA 30017




PETALCORIN, MELFRANCE B.               PETE WELDON                         PETEETE, CHRISTOPHER P.
4141 YUCAN DR. APT. A2                 389 ILLINOIS AVE                    ADDRESS ON FILE
SPRINGFIELD, IL 62711                  GALESBURG, IL 61401




PETER BRASSELER HOLDINGS INC           PETER, KENNEY                       PETERS PATRICIA M
ONE BRASSELER BLVD                     279 KINWOOD TRAIL                   362 CHICORY DRIVE EAST
SAVANNAH, GA 31419                     MURPHY, NC 28906                    BLAIRSVILLE, GA 30512
PETERS, BARBARA         Case 20-10766-BLS
                                      PETERS,Doc  6 W.Filed 04/07/20
                                              BOBBIE                        Page 1392 ofCONSTANTINE
                                                                                 PETERS, 1969       G
1111 RAWLINGS DRIVE                     2400 IKE STONE RD NW                     13634 LOST BOY LN
RUTLEDGE, GA 30663                      MONROE, GA 30656-3900                    HOMER GLEN, IL 60491




PETERS, GLENDA                          PETERS, GRACE                            PETERS, KRISTEN
ADDRESS ON FILE                         564 PETERS BRANCH ROAD                   P.O. BOX 2406
                                        BOONEVILLE, KY 41314                     OVERTON, NV 89040




PETERS, NERISSA                         PETERS, PATRICIA M.                      PETERS, ROBERT
7704 DAYTONA ST NW                      362 CHICORY DRIVE EAST                   1267 BULL WHIP POINT
MASSILLON, OH 44646                     BLAIRSVILLE, GA 30512                    MESQUITE, NV 85745




PETERS, ROBYN                           PETERS, SARAH                            PETERS, TED
110 SOURWOOD DR                         ADDRESS ON FILE                          53300 US HWY 385 S
BLUE RIDGE, GA 30513                                                             ALPINE, TX 79830




PETERS, TINA T.                         PETERS, TINA T.                          PETERSEN COMPANIES
268 HIDDEN VALLEY RD                    ADDRESS ON FILE                          830 WEST TRAILCREEK DR
PAINTSVILLE, KY 41240                                                            PEORIA, IL 61614




PETERSEN, HAROLD LARS                   PETERSEN, JANICA                         PETERSEN, MARY J.
2048 DAKOTA ST                          1142 N 690 E                             P.O. BOX 590
EUGENE, OR 97402                        TOOELE, UT 84074                         MOUNTAIN VIEW, WY 82939-0000




PETERSEN, ROBYN A.                      PETERSEN, WAYNE B.                       PETERSON MACHINERY CO
220 N 2ND ST                            824 LAKEVIEW                             P.O. BOX 2218
TOOELE, UT 84074                        STANSBURY PARK, UT 84074                 SAN LEANDRO, CA 94577-0343




PETERSON WINDOW CLEANING                PETERSON, AMANDA E.                      PETERSON, APRIL
4253 SYCAMORE BEND                      400 NW NORTHERN SKY DRIVE, APT 22        ADDRESS ON FILE
GALESBURG, IL 61401                     TOPEKA, KS 66617




PETERSON, BRENT                         PETERSON, CARLA M.                       PETERSON, CAROLEE
ADDRESS ON FILE                         ADDRESS ON FILE                          ADDRESS ON FILE




PETERSON, CURTIS A.                     PETERSON, DORRIS                         PETERSON, DUSTIN
1914 5TH ST APT 19                      1750 W BROADWAY                          3869 DOCK RD
SPRINGFIELD, OR 97477                   BLUE ISLAND, IL 60406                    HONORAVILLE, AL 36042
PETERSON, ERIC          Case 20-10766-BLS   DocERICA
                                      PETERSON, 6 Filed 04/07/20   Page 1393 of 1969
                                                                        PETERSON, JAMES A.
1045 JEFFERSON ST                     288 CECELIA DR                     712 MONROE STREET
GALESBURG, IL 61401                   GALESBURG, IL 61401                SALMON, ID 83467




PETERSON, JAMES                       PETERSON, JEFF L.                  PETERSON, JENNIFER M.
ADDRESS ON FILE                       10117 PINE CREST RD                ADDRESS ON FILE
                                      RED BUD, IL 62278




PETERSON, JENNIFER                    PETERSON, KAMRI                    PETERSON, KASEY
ADDRESS ON FILE                       ADDRESS ON FILE                    ADDRESS ON FILE




PETERSON, KATHLEEN                    PETERSON, KATHRYN M.               PETERSON, KATHY D.
10409 MAYFIELD AVE APT 2B             ADDRESS ON FILE                    ADDRESS ON FILE
OAK LAWN, IL 60453-4323




PETERSON, KIRT L.                     PETERSON, LORY A.                  PETERSON, MENTORA
11021 PRESCOTT DRIVE                  530 KYLEE AVE                      12432 MORGAN
FRISCO, TX 75033                      MESQUITE, NV 89027                 CALUMET PARK, IL 60827




PETERSON, MICHAEL J                   PETERSON, MIKA                     PETERSON, PAUL
7117 SE EVERGREEN HWY                 408 N FM 1584                      783 80TH AVE
VANCOUVER, WA 98664                   BIG SPRING, TX 79720-0749          ROSEVILLE, IL 61473




PETERSON, SANDRA M.                   PETERSON, SARAH                    PETERSON, SHERLEY
4730 COUNTY RD 88                     1234 E 850 N                       4730 BROOKWOOD ST
FORT PAYNE, AL 35968-3924             TOOELE, UT 84074                   EUGENE, OR 97405




PETERSON, SUZANNE L.                  PETERSON, VANESSA A.               PETESON, JENNIFER
198 W FOX HOLLOW DR.                  ADDRESS ON FILE                    ADDRESS ON FILE
SARATOGA SPRINGS, UT 84045




PETHTEL, KEVIN C.                     PETKO, SUSAN                       PETRALIA, ALEXANDER V.
6466 BLOUGH AVE SW                    30 5TH ST                          ADDRESS ON FILE
NAVARRE, OH 44662                     BIG SANDY, TN 38221-3699




PETRAS, LAWERNCE M.                   PETRAY, KELLY J.                   PETREA, SHARI L.
1801 N DAMN DR                        ADDRESS ON FILE                    ADDRESS ON FILE
MARION, IL 62959
PETREE, KATHRYN L.         Case 20-10766-BLS
                                         PETREY,Doc  6 Filed 04/07/20
                                                 WILLIAM                Page 1394   of 1969
                                                                             PETRI, CARLY L.
32900 120TH ST.                           1334 BROAD STREET S.                ADDRESS ON FILE
TWIN LAKES, WI 53181                      FYFFE, AL 35971-4233




PETRICEVIC, KIMBERLY D.                   PETRILLI, JOSEPH                    PETRIZ, KEVIN E.
15656 REVERE DRIVE                        3935 GLENOAK DR NE                  P.O. BOX 1830
NEW FREEDOM, PA 17349                     LOUISVILLE, OH 44641                OVERTON, NV 89040-1830




PETRO CLASSROOM                           PETRO, DEBRA                        PETRO, MONA
P.O. BOX 9400                             3910 CARRIAGE LN SW                 525 APACHE TRL
SIOUX CITY, IA 51101                      CONYERS, GA 30094                   LAKE VILLA, IL 60046




PETROFF, DENNIS AND PAMELA                PETROFF, MICHAEL                    PETROS INVESTMENT CO LLC
                                          172 D ST SW                         5060 NAVARRE RD SW UNIT B
                                          NAVARRE, OH 44662-9227              CANTON, OH 44706




PETROS, MEAGAN                            PETROSHUS, APRIL D.                 PETROVIC, ALEKSANDRA
75 NEILSON ST.                            13628 ELTON ST SW                   2828 APPLE AVE
WATSONVILLE, CA 95076                     NAVARRE, OH 44662                   WAUKEGAN, IL 60085




PETROWICH, KATHRYN C.                     PETROWSKE, AARON                    PETRY, TIMOTHY
5885 FOREST VIEW RD. 309                  617 LIVE OAK DR                     11 GREER ST
LISLE, IL 60532                           CHESTER, IL 62233                   EAST ALTON, IL 62024




PETRYSZAK, CYNTHIA                        PETSKA, DANIEL R.                   PETTER BUSINESS SYSTEMS
8982 FRAZE RD                             8904 ORIOLE TRAIL                   P O BOX 1120
MARSHALVILLE, OH 44645-9715               WONDER LAKE, IL 60097               PADUCAH, KY 42002




PETTETT, DAVE M.                          PETTIGREW, ALONZO                   PETTIS, CYNTHIA
ADDRESS ON FILE                           312 VINE STREET                     920 W STRIESS LN
                                          LEXINGTON, TN 38351                 GLENWOOD, IL 60425




PETTIS, KURT                              PETTIS, SUSAN L.                    PETTRY, ROSALIE
447 CAMPBELL COVE RD                      ADDRESS ON FILE                     710 GREENWOOD DR
TURTLETOWN, TN 37391                                                          CANAL FULTON, OH 44614-9135




PETTUS, AMY                               PETTUS, AMY                         PETTUS, JESSICA L.
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE
PETTUS, REGINA M.        Case 20-10766-BLS    DocCUSTODIAN
                                       PETTY CASH 6 Filed 04/07/20     Page 1395  of 1969
                                                                            PETTY CASH CUSTODIAN
535 COUNTY RD 158                       ALISON LUSK                          ATTN ALISON LUSK
FYFFE, AL 35971                         4273 S. STATE RT 159 2ND FLR         4273 S. STATE RT 159, 2ND FLR
                                        GLEN CARBON, IL 62034                GLEN CARBON, IL 62034




PETTY CASH CUSTODIAN                    PETTY CASH CUSTODIAN                 PETTY CASH CUSTODIAN
ATTN BETH HARBERS                       ATTN NORMA LEANOS                    ATTN VERONICA OLVERA
2100 MADISON AVE                        DEMING CLINIC CORPORATION            MIMBRES MEMORIAL HOSPITAL
GRANITE CITY, IL 62040-0000             DEMING, NM 88030                     DEMING, NM 88030




PETTY CASH CUSTODIAN                    PETTY CASH CUSTODIAN                 PETTY CASH CUSTODIAN-REGINA MANESS
BETH HARBERS                            NORMA LEANOS                         ADDRESS ON FILE
2100 MADISON AVE                        DEMING CLINIC CORPORATION
GRANITE CITY, IL 62040-0000             DEMING, NM 88030




PETTY CASH ED CUSTODIAN - STEPHANIE     PETTY CASH                           PETTY CASH-JANICE GURGANUS
FOSTER                                  HRMC                                 ADDRESS ON FILE
ADDRESS ON FILE                         3333 W DEYOUNG
                                        MARION, IL 62959




PETTY LANCE                             PETTY, BEVERLY S.                    PETTY, BRITTANY R.
127 W MAPLE AVE                         48 GRANNY BRANCH DR                  ADDRESS ON FILE
WAUCONDA, IL 60084                      BLUE RIDGE, GA 30513




PETTY, CASSIE                           PETTY, CATHERINE M.                  PETTY, JIM
161 OLD HOLLOW RD                       ADDRESS ON FILE                      P O BOX 1503
BLUE RIDGE, GA 30513                                                         SEARCY, AR 72145-1503




PETTY, JIM                              PETTY, JUANITA                       PETTY, KAREN K.
P.O. BOX 1503                           961 CURTIS SWITCH ROAD               315 ROCK HILL ROAD
SEARCY, AR 72145-1503                   MINERAL BLUFF, GA 30559              SHARON, TN 38255




PETTY, WILLIAM R.                       PETZOLD, BARRY                       PEWITT, LISA D.
806 MEADOWBROOK DR                      201 S WEST ST                        5651 DALHOUSIE DR.
SCOTTSBORO, AL 35768                    KNOXVILLE, IL 61448                  CAPE GIRARDEAU, MO 63701




PEZEL, MARY A.                          PF2 EIS LLC (“ALLSCRIPTS”)           PFAFF ANN LOUISE
7922 PARKFORD ST NW                     222 MERCHANDISE MART PLAZA           4169 W 18TH AVE APT 146
MASSILLON, OH 44646                     STE 2024                             EUGENE, OR 97402
                                        CHICAGO, IL 60654




PFAFF, HOLLY M.                         PFAFF, TAMMY                         PFANNER, MEGAN E.
ADDRESS ON FILE                         6936 IVY STREET                      ADDRESS ON FILE
                                        SPRINGFIELD, OR 97478
PFC IMPORTS              Case 20-10766-BLS   Doc
                                       PFEFFER, ERIC6      Filed 04/07/20   Page 1396  of 1969
                                                                                 PFEIFFER, ADRIANE
3415 MISSOURI AVE                        908 WOODLAND DR                          3192 WILLOW ROAD
GRANITE CITY, IL 62040                   MARYVILLE, IL 62062                      DU QUOIN, IL 62832




PFEIFFER, THOMAS                         PFERSHY, ASHLEY B.                       PFERSHY, ASHLEY
2301 N SHERIDAN RD                       ADDRESS ON FILE                          ADDRESS ON FILE
WAUKEGAN, IL 60087




PFETZER, JULIA                           PFISTER, CECIL                           PFISTER, STEVEN M.
ADDRESS ON FILE                          1272 DAIBER ROAD                         498 N CRESTWOOD AVE
                                         HIGHLAND, IL 62249                       MCHENRY, IL 60051




PFIZER INC                               PFIZER INC                               PFIZER INC
P.O. BOX 100539                          P.O. BOX 100539                          P.O. BOX 417510
ATLANTA, GA 30384                        ATLANTA, GA 30384-0539                   BOSTON, MA 02241




PFIZER INC                               PFIZER INC.                              PFLASTERER, ALICE
P.O. BOX 417510                          P.O. BOX 100539                          134 N MINNIE AVE P.O. BOX 452
BOSTON, MA 02241-7510                    ATLANTA, GA 30384-0539                   TILDEN, IL 62292




PFLASTERER, CHRISTINE B.                 PFLUEGER, DARLENE                        PFT DIAGNOSTICS
205 S EAST ST                            515 HIGH STREET                          P O BOX 455
NEW ATHENS, IL 62264                     RED BUD, IL 62278                        ELLSINORE, MO 63937




PG&E - CA                                PGBA LLC-TRICARE REFUNDS                 PGBA, LLC - TRICARE REFUNDS
ATTN BRIAN M WONG, VP, DEPUTY            ATTENTION TRICARE NORTH REGION           ATTN: TRICARE SOUTH REGION
GENERAL COUNSEL, & CORP SECRETARY        P.O. BOX 870153                          P.O. BOX 100279
77 BEALE ST, 24TH FL                     SURFSIDE BEACH, SC 29587-9753            COLUMBIA, SC 29202-3279
MAIL CODE B24W
SAN FRANCISCO, CA 94105

PGBA, LLC TRICARE REFUNDS                PH TECH                                  PHAGAN, TAMMY
P.O. BOX 100268                          P.O. BOX 5308                            386 EAST SPRING WOOD CT
ATTN: TRICARE WEST REGION                SALEM, OR 97304                          ROUND LAKE BEACH, IL 60073-4875
COLUMBIA, SC 29202




PHAGAN, TAMMY                            PHAGEINBLUE COLORTRAST INC               PHAM, NHAN
386 EAST SPRING WOOD CT                  7096 US ROUTE 4                          ADDRESS ON FILE
ROUND LAKE, IL 60073                     BRIDGEWATER, VT 05034




PHARIS CHARLES EDWARD II                 PHARMACY AUTOMATION SUPPLIES             PHARMACY PARTNERS, LLC
4580 ASTER ST APT 2                      146 S PINNACLE DRIVE                     P.O. BOX 410
SPRINGFIELD, OR 97478-6679               ROMEOVILLE, IL 60446                     FYFFE, AL 35971
PHARMACY SYSTEMS INC       Case 20-10766-BLS   DocSYSTEMS
                                         PHARMACY   6 Filed
                                                          INC 04/07/20   Page 1397 of 1969
                                                                              PHARMALOGIC WV
5050 BRADENTON AVE                        5050 BRADENTON AVE.                 9 W BENEDUM
DUBLIN, OH 43017-0000                     DUBLIN, OH 43017                    INDUSTRIAL PARK DRIVE
                                                                              BRIDGEPORT, WV 26330




PHARMCO PRODUCTS                          PHARMCO PRODUCTS                    PHARMED GROUP
DEPT 267501                               DEPT 267501                         3075 NW 107TH AVENUE
P.O. BOX 67000                            PO BOX 67000                        MIAMI, FL 33172-2134
DETROIT, MI 48267-2675                    DETROIT, MI 48267-2675




PHARMEDIUM HLTHCR CORP                    PHARMEDIUM SERVICES INC             PHARMEDIUM SERVICES LLC
PHARMEDIUM SERVICES LLC                   29104 NETWORK PLACE                 29104 NETWORK PL
29104 NETWORK PL                          CHICAGO, IL 60673-1291              CHICAGO, IL 60673-1291
CHICAGO, IL 60673-1291




PHARMEDIUM SERVICES LLC                   PHARMEDIUM SERVICES LLC             PHARMEDIUM SERVICES LLC
29104 NETWORK PLACE                       29104 NETWORK PLACE                 39797 TREASURY CENTER
CHICAGO, IL 60673                         CHICAGO, IL 60673-1291              CHICAGO, IL 60694-3900




PHARMERICA CORPORATION                    PHC-FORT MOHAVE INC                 PHEAA
P O BOX 409251                            VALLEY VIEW MEDICAL CENTER          CASE6718248762-R.GARCIA
ATLANTA, GA 30384-9251                    5330 SOUTH HIGHWAY 95               P.O. BOX 5117
                                          FORT MOHAVE, AZ 86426               BUFFALO, NY 14240-5117




PHEAA                                     PHEAA                               PHEBE, GUTIERREZ
P.O. BOX 1463                             P.O. BOX 5117                       HC 69 BOX 7A
HARRISBURG, PA 17105-1463                 BUFFALO, NY 14240-5117              SAPELLO, NM 87745




PHELAN, SHARON                            PHELISHA DIMAS                      PHELPS MEMORIAL HEALTH CENTER
13429 DESERT HILLS PL NE                  313 CUMBRES PATIO                   1215 TIBBALS STREET
ALBUQUERQUE, NM 87111                     LAS VEGAS, NM 87701                 HOLDREGE, NE 68949-1255




PHELPS, BILLY R.                          PHELPS, CASSIE E.                   PHELPS, CHELSEA D.
21827 NC HWY 125                          ADDRESS ON FILE                     1206 N JOHNSON ST
WILLIAMSTON, NC 27892                                                         MARION, IL 62959




PHELPS, COURTNEY                          PHELPS, JAMES D.                    PHELPS, JILL
105 KIRK AVE                              1637 SOC CIRCLE FAIRPLAY            265 BIRMINGHAM LANE N
PLYMOUTH, NC 27962                        SOCIAL CIRCLE, GA 30025             MCKENZIE, TN 38201




PHELPS, MAGGEE S.                         PHELPS, NICKI S.                    PHELPS, PAMELA L.
306 SPRUCE STREET                         1455 230TH AVE                      310 EDNA LANE
COULTERVILLE, IL 62237                    CAMERON, IL 61423                   SPARTA, IL 62286
PHELPS, PRESLEY R.        Case 20-10766-BLS   Doc 6LINZEE
                                        PHERNETTON,    Filed
                                                          J. 04/07/20      Page 1398
                                                                                PHIFER,of 1969
                                                                                        ROGER
ADDRESS ON FILE                          2407 NORTH ANDERSON                    175 HINSON DR
                                         BIG SPRING, TX 79720                   LEXINGTON, TN 38351




PHILADELPHIA AMERICAN LIFE INS CO        PHILADELPHIA AMERICAN LIFE             PHILADELPHIA AMERICAN
P.O. BOX 4884                            PO BOX 4884                            P.O. BOX 4884
HOUSTON, TX 72210-4884                   HOUSTON, TX 77210                      HOUSTON, TX 77210




PHILADELPHIA LIFE                        PHILEN, JANIS                          PHILEN, MICHAEL
P O BOX 4884                             P.O. BOX 1113                          1193 DEER RUN RD
REFUNDS                                  GREENVILLE, AL 36037                   GREENVILLE, AL 36037
HOUSTON, TX 77210




PHILIP, JINSU                            PHILIPPE, CAROLYN                      PHILIPS ELECTRONICS N A CORP
310 N STRATTON LN                        P.O. BOX 94                            PHILIPS HEALTHCARE
MT. PROSPECT, IL 60056                   LIVINGSTON, IL 62058                   P.O. BOX 100355
                                                                                ATLANTA, GA 30384-0355




PHILIPS HEALTHCARE 0115                  PHILIPS HEALTHCARE 0140                PHILIPS HEALTHCARE 0142
P.O. BOX 100355                          P.O. BOX 100355                        P.O. BOX 100355
ATLANTA, GA 30384-0355                   ATLANTA, GA 30384-0355                 ATLANTA, GA 30384-0355




PHILIPS HEALTHCARE 0159                  PHILIPS HEALTHCARE 1706                PHILIPS HEALTHCARE 2800
P.O. BOX 100355                          P.O. BOX 100355                        P.O. BOX 100355
ATLANTA, GA 30384-0355                   ATLANTA, GA 30384-0355                 ATLANTA, GA 30384-0355




PHILIPS HEALTHCARE INFORMATICS           PHILIPS HEALTHCARE INFORMATICS         PHILIPS HEALTHCARE
P O BOX 403831                           P.O. BOX 403831                        ALEX DONOFRIO, NATIONAL ACCOUNT
ATLANTA, GA 30384-3831                   ATLANTA, GA 30384-3831                 MANAGER
                                                                                222 JACOBS ST. 3
                                                                                CAMBRIDGE, MA 02141



PHILIPS HEALTHCARE                       PHILIPS HEALTHCARE                     PHILIPS HEALTHCARE, A DIVISION OF
P.O. BOX 100355                          PO BOX 100355                          PHILIPS ELECTRONICS NORTH AMERICA
ATLANTA, GA 30384-0355                   ATLANTA, GA 30384                      CORPORATION 0143
                                                                                PHILIPS HEALTHCARE
                                                                                P.O. BOX 100355
                                                                                ATLANTA, GA 30384-0355

PHILIPS HEALTHCARE, A DIVISION OF        PHILIPS MEDICAL CAPITAL CORPORATION    PHILIPS MEDICAL CAPITAL LLC
PHILIPS ELECTRONICS NORTH AMERICA        1111 OLD EAGLE SCHOOL RD               1111 OLD EAGLE SCHOOL RD
CORPORATION 0172                         WAYNE, PA 19087                        WAYNE, PA 19087
PHILIPS HEALTHCARE
P.O. BOX 100355
ATLANTA, GA 30384-0355

PHILIPS MEDICAL CAPITAL LLC              PHILIPS MEDICAL CAPITAL LLC            PHILIPS MEDICAL CAPITAL
P.O. BOX 92449                           P.O. BOX 92449                         P O BOX 92449
CLEVELAND, OH 44193                      CLEVELAND, OH 44193-0003               CLEVELAND, OH 44193-0003
PHILIPS MEDICAL CAPITAL Case 20-10766-BLS
                                      PHILIPS Doc  6 CAPITAL
                                              MEDICAL Filed 04/07/20        Page 1399
                                                                                 PHILIPSof 1969 CAPITAL
                                                                                         MEDICAL
P.O. BOX 92449                        P.O. BOX 92449                              P.O. BOX 92449
CLEAVLAND, OH 44193-0003              CLEVELAND, OH 44193                         CLEVELAND, OH 44193-0003




PHILIPS MEDICAL SYSTEMS NORTH         PHILIPS MEDICAL SYSTEMS                     PHILIPS MEDICAL SYSTEMS
AMERICA                               P O BOX 100355                              P O BOX 100355
22100 BOTHELL EVERETT HWY             ATLANTA, GA 30384                           ATLANTA, GA 30384-0355
BOTHELL, WA 98021




PHILIPS MEDICAL SYSTEMS               PHILIPS MEDICAL SYSTEMS                     PHILIPS MEDICAL SYSTEMS
P O BOX 100355                        P.O. BOX 100355                             P.O. BOX 100355
ATLANTA, GA 30384-6538                ATLANTA, GA 30384                           ATLANTA, GA 30384-0355




PHILIPS MEDICAL SYSTEMS               PHILIPS MEDICAL SYSTEMS                     PHILLIP, ASHLEY M SR
P.O. BOX 100355                       PO BXO 100355                               ADDRESS ON FILE
WITT BIOMEDICAL CORP                  ATLANTA, GA 30384-0355
ATLANTA, GA 30384-0355




PHILLIP, ASHLEY                       PHILLIPENAS, SHANNON                        PHILLIPS CHAMBER OF COMM
ADDRESS ON FILE                       P.O. BOX 93                                 P O BOX 447
                                      LOGANDALE, NV 89021                         HELENA, AR 72342




PHILLIPS COUNTY TAX COLLECTOR         PHILLIPS COUNTY TAX COLLECTOR               PHILLIPS CTY TAX COLLECTOR
620 CHERRY ST 100                     ATTN: NEIL BYRD, COLLECTOR                  P O BOX 450
HELENA, AR 72342                      P.O. BOX 450                                HELENA, AR 72342
                                      HELENA, AR 72342




PHILLIPS HEALTHCARE                   PHILLIPS HOSPITAL COMPANY, LLC              PHILLIPS KATHERINE
P.O. BOX 100355                       124 WEST CAPITOL AVENUE, SUITE 1900         2253 COUNTY RD 121
ATLANTA, GA 30384-0355                LITTLE ROCK, AR 72201                       FORT PAYNE, AL 35968-5469




PHILLIPS LAW LLC                      PHILLIPS MEDICAL CAPITAL                    PHILLIPS MEDICAL SYST N A, INC
P.O. BOX 770                          P.O.BOX 92449                               POB 100355
EVANSTON, WY 82931-0770               CLEVELAND, OH 44193-0003                    ATLANTA, GA 30384-0355




PHILLIPS PARKER ORBERSON & ARNETT     PHILLIPS PARKER ORBERSON & ARNETT           PHILLIPS ULTRASOUND
PLC                                   PLC                                         P.O. BOX 100355
306 PUBLIC SQUARE                     716 WEST MAIN ST, SUITE 300                 ATLANTA, GA 30384-0355
FRANKLIN, TN 37064-2503               LOUISVILLE, KY 40202




PHILLIPS WILMA J.                     PHILLIPS, ADAM P.                           PHILLIPS, ALLIYAH
1528 AMY AVE                          ADDRESS ON FILE                             814 W 129TH PL
WHITING, IN 46394                                                                 CHICAGO, IL 60643
PHILLIPS, ASHLEY L.     Case 20-10766-BLS    Doc
                                      PHILLIPS,    6 Filed 04/07/20
                                                ASHLEY                Page 1400   of BENJAMIN
                                                                           PHILLIPS,  1969 J.
255 E VINE ST                          ADDRESS ON FILE                      87947 APPLEGATE CT
CANTON, IL 61520                                                            VENETA, OR 97487-9789




PHILLIPS, BETTY                        PHILLIPS, CANDRICE L.                PHILLIPS, CHASITY
1995 SMITHOAK ST                       242 COBB RD                          ADDRESS ON FILE
EUGENE, OR 97404-2172                  OHATCHEE, AL 36271




PHILLIPS, CHASITY                      PHILLIPS, COLENE P.                  PHILLIPS, CYNTHIA D.
ADDRESS ON FILE                        328 COUNTY RD 477                    301 MARCH ROAD
                                       SECTION, AL 35771                    WALNUT HILL, IL 62893




PHILLIPS, CYNTHIA D.                   PHILLIPS, CYNTHIA                    PHILLIPS, DEBORAH L.
ADDRESS ON FILE                        ADDRESS ON FILE                      2170 PINEY GROVE ROAD SW
                                                                            LOGANVILLE, GA 30052




PHILLIPS, DELORES J.                   PHILLIPS, EILEEN J.                  PHILLIPS, EMMA V.
ADDRESS ON FILE                        289C SAN BENANCIO RD                 2448 N 20TH ST
                                       CORRAL DE TIERRA, CA 93908           SPRINGFIELD, OR 97477




PHILLIPS, GAVIN                        PHILLIPS, GLENN L.                   PHILLIPS, HALEY D.
135 LAKELAND DRIVE                     285 STANFORD LANE                    849 KELLY BLVD
GALESBURG, IL 61401                    GOREVILLE, IL 62939                  SPRINGFIELD, OR 97477




PHILLIPS, JAMES E.                     PHILLIPS, JAMIE                      PHILLIPS, JAYDIN J.
213 DAVIS RD                           638 SCOTT AVE N                      601 GLENWAY AVE
BIG SPRING, TX 79720                   RAINSVILLE, AL 35986                 KNOXVILLE, IL 61448




PHILLIPS, JILL A.                      PHILLIPS, JULIE                      PHILLIPS, KATHERINE
ADDRESS ON FILE                        428 JUSTICE STREET S                 3900 VILLAGE LANE
                                       CROSSVILLE, AL 35962                 GRANITE CITY, IL 62040




PHILLIPS, KATIE E.                     PHILLIPS, KENDALL                    PHILLIPS, KENDRA S.
26 SOCIAL CIRCLE FAIRPLAY RD.          ADDRESS ON FILE                      408 SOUTH BENTON
SOCIAL CIRCLE, GA 30025                                                     NEW ATHENS, IL 62264




PHILLIPS, KYLIE                        PHILLIPS, LARRY C.                   PHILLIPS, LAUREN E.
372 A ST.                              ADDRESS ON FILE                      4030 LIBERTON WAY
CRESWELL, OR 97426                                                          NOLENSVILLE, TN 37135
PHILLIPS, MARIE A.      Case 20-10766-BLS    Doc
                                      PHILLIPS,    6 Filed
                                                MELODIE A. 04/07/20   Page 1401   of MICHELE
                                                                           PHILLIPS, 1969 L.
1085 HOLIDAY DRIVE APT 1122           ADDRESS ON FILE                       ADDRESS ON FILE
FORREST CITY, AR 72335




PHILLIPS, MICHELLE A.                PHILLIPS, MORENE S.                    PHILLIPS, MORGAN
30 VILLAGE WAY                       2875 ROLLING HILLS RD                  ADDRESS ON FILE
HENDERSON, TN 38340                  IDER, AL 35981-4347




PHILLIPS, NEAL                       PHILLIPS, PAUL                         PHILLIPS, PAUL
611 STARLINGTON RD                   2400 35TH ST                           P.O. BOX 573
GEORGIANA, AL 36033-6335             SPRINGFIELD, OR 97477                  INEZ, KY 41224




PHILLIPS, REBECCA V.                 PHILLIPS, ROGER A.                     PHILLIPS, ROWENA
ADDRESS ON FILE                      503 OLD PIONEER RD                     200 TODDS ROAD
                                     SUTHERLIN, OR 97479                    BEATTYVILLE, KY 41311




PHILLIPS, SAMANTHA L.                PHILLIPS, SAMUEL B.                    PHILLIPS, SARAH
ADDRESS ON FILE                      13268 MESQUITE ROAD                    152 E JENNINGS AVE
                                     APPLE VALLEY, CA 92308                 WOOD RIVER, IL 62095




PHILLIPS, SHAWNNA                    PHILLIPS, SHENOA                       PHILLIPS, STACIE
ADDRESS ON FILE                      139 RED FERN CV                        7806 TAHITI ST NW
                                     LEXINGTON, TN 38351                    MASSILLON, OH 44646




PHILLIPS, STACY L.                   PHILLIPS, TERESA A.                    PHILLIPS, WAYNE D.
135 LAKELAND DR                      ADDRESS ON FILE                        2875 ROLLING HILLS ROAD
GALESBURG, IL 61401                                                         IDER, AL 35981-8448




PHILLIPS-FOSTER, TREVA               PHILPOT, RODNEY                        PHILS GLASS, INC
14237 HARRISON                       ADDRESS ON FILE                        635 NORTH MAIN
POSEN, IL 60469                                                             TOOELE, UT 84074




PHIPPS PHARMACY                      PHIPPS, ANTONIA                        PHIPPS, CORY
205 HOSPITAL DRIVE                   1575 CAMBRIDGE DR SE                   7127 ROBERT LN
MCKENZIE, TN 38201                   SALEM, OR 97302                        WATERLOO, IL 62298




PHIPPS, DONALD                       PHIPPS, LILLIAN R.                     PHIPPS, SHAWANDA
P.O. BOX 2                           11129A LAKE HAMILTON LANE              4932 TUDOR AVENUE
CROSSVILLE, IL 62827-0002            MARION, IL 62959                       EAST SAINT LOUIS, IL 62207
PHIPPS, TAMARA D.          Case 20-10766-BLS    Doc 6
                                         PHM, LLC          Filed 04/07/20    Page 1402 ofCOMPANY
                                                                                  PHOENIX 1969 LLC, THE
ADDRESS ON FILE                           HEINZ PETER                             P.O. BOX 940
                                          1 JONES WAY                             MCCAYSVILLE, GA 30555
                                          WOOD RIVER, IL 62095




PHOENIX CRISIS CENTER                     PHOENIX FINANCIAL SERVICES              PHOENIX FINANCIAL SERVICES
P.O. BOX 345LAND BLVD                     P.O. BOX 361450                         P.O. BOX 361450
GRANITE CITY, IL 62040                    INDIANAPOLIS, IN 45236-1450             INDIANAPOLIS, IN 46236




PHOENIX TECH                              PHOENIX TECHNICAL SERVICES              PHOENIX TECHNOLOGY CORPORATION
1039 COMMERCIAL PARK DR, SUITE 2          P.O. BOX 98163                          1194 BUCKHEAD CROSSING, SUITE D
PEARL, MS 39208                           JACKSON, MS 39298                       WOODSTOCK, GA 30189




PHOENIX TEXTILE CORP                      PHOENIX TEXTILE CORPORATION             PHOENIX TEXTILE CORPORATION
P.O. BOX 856275                           P O BOX 1328                            P.O. BOX 1398
MINNEAPOLIS, MN 55485-6275                ST PETERS, MO 63376-0023                ST PETERS, MO 63376-0023




PHOENIX, JOSEPH                           PHOENIX, THE                            PHOENIX, WANDA J.
201 N. MAPLE STREET                       6614 CLAYTON RD 403                     1337 MASDEN HOLLOW RD
CENTRALIA, IL 62801-3268                  ST. LOUIS, MO 63117                     BEECH CREEK, PA 16822




PHONE MACS OF SOUTHERN ILLINOIS LLC       PHONE MACS OF SOUTHERN ILLINOIS, LLC    PHOTHAKANAPONG, KITTIKA
21272 GALATIA POST RD                     21272 GALATIA POST RD                   33950 1/2 AVE L
PITTSBURG, IL 62974                       PITTSBURG, IL 62974                     BARSTOW, CA 92311




PHP CENTENNIAL                            PHP MC ADVANTAGE                        PHU, CHARLIE
P.O. BOX 27489                            P.O. BOX 27489                          15907 ASH WAY C22
ALBUQUERQUE, NM 87125                     ALBUQUERQUE, NM 87125                   LYNNWOOD, WA 98087




PHYLLIS A BARNHART                        PHYLLIS T BURKE                         PHYLLIS WINDSOR
420 JAMES ST                              6322 CORAL LAKE DRIVE                   107 MILLER ST
LOCK HAVEN, PA 17745                      MARGATE, FL 33063-5858                  EAST GALESBURG, IL 61430




PHYLLIS YOKEM                             PHYLLIS, JEANINE CRAIN                  PHYSICIAN PRACTICE CENTERS INC
195 W MAPLE                               13615 PROSPERITY RD                     DELTA HEALTH CARE
ROSEVILLE, IL 61473                       JOHNSTON CITY, IL 62951                 5205 MARYLAND WAY, SUITE 202
                                                                                  BRENTWOOD, TN 37027




PHYSICIANS MUTUAL INS CO                  PHYSICIANS MUTUAL                       PHYSICIANS MUTUAL
CLAIMS SERVICES                           P.O. BOX 2018                           P.O. BOX 2018
P.O. BOX 2018                             MADISON, NE 68103-2018                  OMAHA, NE 68103-2018
OMAHA, NE 68103
PHYSICIANS MUTUAL       Case 20-10766-BLS    DocMUTUAL
                                      PHYSICIANS 6 Filed 04/07/20   Page 1403  of 1969
                                                                         PHYSICIANS RECORD CO
P.O. BOX 3313                          PO BOX 2018                        3000 S RIDGELAND AVE
OMAHA, NE 68103-0313                   OMAHA, NE 68103-2018               BERWYN, IL 60402




PHYSICIANS RECORD CO                   PHYSICIANS RECORD CO               PHYSICIANS RECORD CO.
3000 S RIDGELAND AVE                   3000 SO RIDGELAND AVE              3000 S. RIDGELAND AVE.
BERWYN, IL 60402-0724                  BERWYN, IL 60402                   BERWYN, IL 60402




PHYSICIANS RECORD COMPANY              PHYSICIANS RECORD COMPANY          PHYSICIANS RECORD COMPANY
3000 SOUTH RIDGELAND AVE               3000 SOUTH RIDGELAND AVE           3000 SOUTH RIDGELAND AVEN
BERWYN, IL 60402-0724                  BERWYN, IL 60402-2700              BERWYN, IL 60402




PHYSIO CONTROL                         PHYSIO-CONTROL CORP                PHYSIO-CONTROL INC
12100 COLLECTIONS CTR DR               12100 COLLECTIONS CTR DR           11811 WILLOWS RD NE
CHICAGO, IL 60693                      CHICAGO, IL 60693                  REDMOND, WA 98052




PHYSIO-CONTROL INC                     PHYSIO-CONTROL, INC                PHYSIO-CONTROL, INC
12100 COLLECTIONS CTR DR               11811 WILOWS ROAD NE               12100 COLLECTIONS CENTER DR
CHICAGO, IL 60693                      REDMOND, WA 98052                  CHICAGO, IL 60693




PHYSIO-CONTROL, INC                    PHYSIO-CONTROL, INC.               PHYSIOTOOLS
12100 COLLECTIONS CTR DR               12100 COLLECTIONS CENTER           P.O. BOX 51515
CHICAGO, IL 60693                      CHICAGO, IL 60693                  2140A QUEEN ST. EAST
                                                                          TORONTO, ON M4E 1E0
                                                                          CANADA



PHYSYNERGY LLC                         PIACENZA, LAURA P.                 PIAZZA, MARK
1080 HOLCOMB BRIDGE RD, BLDG 100,      10 HILLCREST DR                    3561 SEILER RD
SUITE 330                              MT VERNON, IL 62864                BETHALTO, IL 62010
ROSWELL, GA 30076




PIBOLIS, LEAH                          PICHEE, TYLER D.                   PICHET, SANTILUKKA
21370 W MAURINE                        1705 PRIMROSE AVE                  610 ROCK HILL
LAKE VILLA, IL 60046                   GRANITE CITY, IL 62040             RED BUD, IL 62278




PICKARD, REBECCA I.                    PICKARD, SARA R.                   PICKELSIMER, ALLEN L.
198 DIVISION ST                        160 54TH STREET                    60 BLACKBERRY RIDGE
DYER, TN 38330                         SPRINGFIELD, OR 97478              MINERAL BLUFF, GA 30559




PICKENS, COY L.                        PICKENS, CURTIS                    PICKENS, JEFFREY L.
1516 ARUBA HEIGHTS                     6710 GROTON ST NW                  608 E. UNION ST
MESQUITE, NV 89027                     CANTON, OH 44708                   MARION, IL 62959-3433
PICKENS, JIMMIE N.       Case 20-10766-BLS   Doc
                                       PICKENS,     6 M.
                                                SHIRLEY Filed 04/07/20   Page 1404  of TANYA
                                                                              PICKENS,  1969M.
ADDRESS ON FILE                          ADDRESS ON FILE                       ADDRESS ON FILE




PICKER, BLANCHE                          PICKERING, JAE                        PICKERING, MARJORIE
2148 ORVILLE AVE                         460 CALIFORNIA AVE                    248 SAGE WAY
GRANITE CITY, IL 62040                   EAST ALTON, IL 62024                  MESQUITE, NV 89027




PICKETT DANIELLE                         PICKETT, DERRICK                      PICKETT, JOHN
12055 S STATE, APT 106                   11649 S. HALE AVE                     109 JESSICA DR
CHICAGO, IL 60628                        CHICAGO, IL 60643-4821                ST JACOB, IL 62281




PICKETT, LISA                            PICKETT, PIZZARRO                     PICKLE, GAGE S.
P. O. BOX 55                             3604 W MARENGO DR .APT2E              2001 COTTAGE AVE
FORREST CITY, AR 72335                   WEST PEORIA, IL 61604                 GRANITE CITY, IL 62040




PICKLE, MICHAEL                          PICKLER, ASHLEY A.                    PICKLES, PATRICIA
P.O.BOX 328                              2080 BARREN SPRINGS RD                2085 OLD PARKER PLACE RD
HAMILTON, NC 27840                       HOLLOW ROCK, TN 38342                 ELLIJAY, GA 30536




PICKLESIMER, BENJAMIN                    PICKNEY, BARBARA J.                   PICKNEY, DONALD R.
P.O. BOX 633                             215 FELIX RD                          215 FELIX RD
MCCAYSVILLE, GA 30555-0633               MURPHY, NC 28906                      MURPHY, NC 28906




PICO, KAREN D.                           PIDGEON, BRITTNEY                     PIECUCH, PATRICIA A.
ADDRESS ON FILE                          149 TROTWOOD DR.                      205 APRIL AVENUE
                                         CANONSBURG, PA 15317                  VERNON HILLS, IL 60061




PIEDMONT ATHENS REGIONAL MEDICAL         PIEDMONT DOOR SOLUTIONS               PIEDMONT HEALTHCARE
CENTER INC                               580 GRIFFITH ROAD                     1968 PEACHTREE RD NW
REGIONAL LAB OUTREACH                    CHARLOTTE, NC 28210                   ATLANTA, GA 30309
P.O. BOX 2445
COLUMBUS, GA 31902



PIEDMONT MEDICAL INC.                    PIEDMONT MEDICAL                      PIEDMONT NATURAL GAS COMPANY
POB 1278                                 P.O. BOX 1278                         10101 CLAUDE FREEMAN DRIVE
500 W. KAPP ST                           DOBSON, NC 27017                      SUITE 225-N
DOBSON, NC 27017                                                               CHARLOTTE, NC 28262




PIEDMONT ROCKDALE HOSPITAL INC           PIEDMONT SERVICE GROUP                PIEDRA, ESTHER A.
1412 MILSTEAD AVE                        29691 NETWORK PLACE                   12581 W EASTWOOD RD
CONYERS, GA 30012                        CHICAGO, IL 60673-1296                BEACH PARK, IL 60087
PIEHL, JULIE ANN      Case 20-10766-BLS     Doc 6 D. Filed 04/07/20
                                    PIEHL, SHERRIL                    Page 1405   of 1969
                                                                           PIEL, AMBER
78233 SNAUER LANE                   1601 W 11TH PL                         615 MCCARTHY STREET
COTTAGE GROVE, OR 97424             BIG SPRING, TX 79720                   RED BUD, IL 62278




PIEL, BRENT                          PIEL, CONNIE R.                       PIEPER, BLAINE R.
5970 RICHFIELD                       ADDRESS ON FILE                       ADDRESS ON FILE
RED BUD, IL 62278




PIEPER, PAMELA                       PIERCE LAWN CARE                      PIERCE TESSA ELIZABETH
1008 E. CARTER STREET                P.O. BOX 548                          4075 AERIAL WAY APT 181
MARION, IL 62959                     1085 PIERCE LANE                      EUGENE, OR 97402
                                     JAMESVILLE, NC 27846




PIERCE, AMY L.                       PIERCE, ASHTYN                        PIERCE, CANDACE A.
ADDRESS ON FILE                      909 REBEKAH LANE                      241 EVELYN AVE E
                                     HERRIN, IL 62948                      WYNNE, AR 72396




PIERCE, DANIELLE J.                  PIERCE, DIANA R.                      PIERCE, JAMES A.
13346 E GAME FARM RD                 1629 GIBBS AVE NE                     ADDRESS ON FILE
MOUNT VERNON, IL 62864               CANTON, OH 44705




PIERCE, JANICE                       PIERCE, KAREN                         PIERCE, KELLI
P.O. BOX 172                         110 WITT RD                           ADDRESS ON FILE
WYNNE, AR 72396                      BELMONT, MS 38827




PIERCE, LAVAUGHN                     PIERCE, LILLY                         PIERCE, MARY J.
14610 N. MAYSVILLE LN                10435 SARDIS SCOTTS HILLS             835 LANDON AVE
MT. VERNON, IL 62864                 RD                                    WINTHROP HARBOR, IL 60096
                                     SCOTTS HILL, TN 38374




PIERCE, MATTHEW                      PIERCE, NELIE C.                      PIERCE, PANDORA
ADDRESS ON FILE                      2730 W BONNIE BROOK LN                1071 GARYS LANE
                                     WAUKEGAN, IL 60087                    WILLIAMSTON, NC 27892-9352




PIERCE, PATRICIA                     PIERCE, PIERRETTE A.                  PIERCE, SHANNON D.
255 W TOMPKINS ST APT 201            ADDRESS ON FILE                       ADDRESS ON FILE
GALESBURG, IL 61401




PIERCE, SHANNON                      PIERCE, STEPHANIE A.                  PIERCE, YOLANDA
ADDRESS ON FILE                      102 E 5TH ST                          842 WASHINGTON PARK
                                     INA, IL 62846                         WAUKEGAN, IL 60085
PIERONI, ALEXANDER        Case 20-10766-BLS
                                        PIERRE Doc
                                               LOUIS,6VENEL
                                                         Filed 04/07/20        Page 1406  ofBLAIN
                                                                                    PIERSEE, 1969L.
3080 MINI DR                              1648 BENHAM DRIVE                          ADDRESS ON FILE
WADSWORTH, IL 60083                       SNELLVILLE, GA 30078




PIERSOL, MAUREEN A.                       PIERSON, DAVID                             PIERSON, ELIZABETH M.
3140 GREENPARK ST. NW                     ADDRESS ON FILE                            ADDRESS ON FILE
MASSILLON, OH 44646




PIERSON, MICHAEL D.                       PIERSON, PATTI                             PIETRA SWOPE
ADDRESS ON FILE                           64 REBECCA DR                              2609 DENVER
                                          GRANITE CITY, IL 62040                     GRANITE CITY, IL 62040




PIGG, CHRISTINE                           PIGG, JODY L.                              PIGGOT, JENNIFER M.
1112 PORTSMOUTH CIRCLE                    ADDRESS ON FILE                            575 JASMINE HILL RD
GURNEE, IL 60031                                                                     GREENVILLE, AL 36037




PIGGOTT, MARVIN R.                        PIGMAN, MICHELLE L.                        PIGMON, ALLEY D.
31 E 170TH PL                             ADDRESS ON FILE                            ADDRESS ON FILE
SOUTH HOLLAND, IL 60473




PIGMON, SHERRY                            PIGOTT, RAYMOND                            PIHL, JOANN
ADDRESS ON FILE                           130 BENCH LEG RD                           P.O. BOX 909
                                          MINERAL BLUFF, GA 30559                    MOUNTAIN VIEW, WY 82939




PIKE, DAVID R.                            PIKE, JAMES S.                             PIKE, TAMMY M.
345 NAVAHO TRAIL                          222 COUNTY RD 778                          ADDRESS ON FILE
JASPER, GA 30143                          IDER, AL 35981-3508




PIKE, TAMMY                               PIKEVILLE MEDICAL CENTER                   PIKUL, DANUTA
ADDRESS ON FILE                           ATTN: ANITA ROBERTS, INPT PHARMACY         613 E WATERSEDGE
                                          911 BYPASS RD.                             BELLEVILLE, IL 62221
                                          PIKEVILLE, KY 41501-0000




PILAND, BELINDA                           PILCH, ALBERT                              PILCH, CARRIE
502 HOLLYHOCK WAY                         1800 MORSE LEE                             107 MESA DR
FRANKLIN, TN 37064                        EVANSTON, WY 82930-3226                    EVANSTON, WY 82930-2164




PILE, JENNA D.                            PILGRIM DUST CONTROL INC                   PILLAI, AJIT
ADDRESS ON FILE                           PILGRIM MAT SERVICES                       ADDRESS ON FILE
                                          P.O. BOX 1943
                                          TUCKER, GA 30085
PILLAI, KARTHIKA        Case 20-10766-BLS
                                      PILLOW Doc 6 DIV
                                             FACTORY Filed 04/07/20
                                                        ENCOMPASS     Page 1407
                                                                  GROUP    PILLOW,of 1969
                                                                                   BRYAN
ADDRESS ON FILE                         LLC                                 1299 SFC 340
                                        DEPT 40254                          FORREST CITY, AR 72335
                                        P O BOX 740209
                                        ATLANTA, GA 30374-0209



PILLOW, EDWARD                          PILLOW, JAMES H.                    PILLOW, JENNIFER A.
15 PARKER LANDING                       3202 HWY 242 WEST                   ADDRESS ON FILE
DUNDEE, MS 38626                        LEXA, AR 72355




PILLOW-THOMPSON HOUSE                   PIMENTEL, JOSE L.                   PIMENTEL, RAFAEL
318 PERRY ST                            2600 GILBOA AVE                     2318 OLIVE ST
P.O. BOX 785                            ZION, IL 60099                      BLUE ISLAND, IL 60406
HELENA, AR 72342




PINA, ANDREA                            PINCHBACK JR, WARNER L.             PINCHOTTI, RUTHANNE
1846 WOOD VALLEY ROAD                   128 WASH HBR                        17155 PURPLE SAGE RD SW
MACON, GA 31211                         WASHINGTON, NC 27889                DEMING, NM 88030




PINCKNEY, CHAD                          PINCKNEY, WALTER                    PINCKNEYVILLE COMM HOSPITAL
1198 ARCADIA DR                         326 E MAIN ST LOT 17                5383 STATE ROUTE 154
GALESBURG, IL 61401                     GRANTSVILLE, UT 84029               P.O. BOX 437
                                                                            PINCKNEYVILLE, IL 62274




PINCKNEYVILLE COMM HOSPITAL             PIND, BERNICE                       PIND, BRITTANY
5383 STATE RTE. 154                     ADDRESS ON FILE                     102 SYCAMORE ST
P.O. BOX 437                                                                ANNA, IL 62906
PINCKNEYVILLE, IL 62274




PIND, CALVIN                            PINEDA, ARACELI                     PINEDA, MARI
6725 US HWY 51 S                        2627 SYCAMORE DR                    14415 S CAMPBELL AVE
DONGOLA, IL 62926                       WAUKEGAN, IL 60085                  POSEN, IL 60469




PINEDA, MARIA C.                        PINEDA-CERMENO, MARYLOU             PINESTAR TECHNOLOGY INC
ADDRESS ON FILE                         1155 EAGLEHILL RD.                  P.O. BOX 824
                                        ROYAL OAKS, CA 95076                GREENVILLE, PA 16125




PINESTAR TECHNOLOGY INC                 PINGSTERHAUS, JILL A.               PINK SQUIRREL LLC
P.O. BOX 824                            5115 WESCLIN ROAD                   308 S. MAIN
GREENVILLE, PA 16125-0000               GERMANTOWN, IL 62245                ANNA, IL 62906




PINKARD, EDWARD                         PINKAS, MEGHAN                      PINKERTON BETTY A.
27 HOLLY                                6 HUNTINGTON PLACE DR               12524 ARBOR DR
FOX LAKE, IL 60020                      GLEN CARBON, IL 62034               ALSIP, IL 60803
PINKLEY, AMANDA K.       Case 20-10766-BLS    Doc
                                       PINKLEY,    6 K.
                                                AMANDA Filed 04/07/20   Page 1408  ofAMANDA
                                                                             PINKLEY, 1969
2306 BRENT DRIVE                         ADDRESS ON FILE                     RE:PATIENT REFUND
BIG SPRING, TX 79720                                                         2306 BRENT
                                                                             BIG SPRING, TX 79720




PINKNEY, DOUGLAS                         PINKNEY, ERNESTINE                  PINKSTON, JASON
13918 S ATLANTIC AVE                     1496 PATTERSON MILL DR              P.O. BOX 492
RIVERDALE, IL 60827                      MARTIN, SC 29836-1903               348 N BUSH AVE
                                                                             HURST, IL 62949-1005




PINKSTON, PAMELA M.                      PINNACLE BANK                       PINNACLE HEALTH LLC ATTN TAMMY YOUNG
ADDRESS ON FILE                          150 3RD AVE S, STE 900              5100 POPLAR AVE, STUIE 2700
                                         NASHVILLE, TN 37201                 MEMPHIS, TN 38137




PINNACLE HEALTH                          PINNACLE LOCUM TENENS               PINNACLE PROMOTIONS INC.
P.O. BOX 771522                          P.O. BOX 467902                     4855 PEACHTREE IND BLVD, SUITE 235
MEMPHIS, TN 38177-1522                   ATLANTA, GA 31146-7902              NORCROSS, GA 30092




PINNELL, JAMES                           PINNELL, JAMES                      PINNER, WANDA D.
1525 PARKS WELL RD                       1525 PARKS WELL RD                  ADDRESS ON FILE
GLEASON, TN 38229                        GLEASON, TN 38229-6649




PINNOCK, JOYCE                           PINO, ASHLEY S.                     PINSCHER, NICOLE
P.O. BOX 176                             1330 PRAIRIE DR                     ADDRESS ON FILE
FLORENCE, OR 97439                       BARSTOW, CA 92311




PINSON & TANG                            PINSON AND TANG, LLC                PINSON AND TANG, LLC
160 LOCKHAVEN DRIVE                      P.O. BOX 88317                      P.O. BOX 88317
HOUSTON, TX 77073-0000                   HOUSTON, TX 77288                   HOUSTON, TX 77288-0000




PINSON, DORTHA                           PINSON, IVOGENE                     PINSON, JESSIE
841 GAZLAY CT                            790 NORTHWOOD DR                    695 HOOCH HOLLER LN
MESQUITE, NV 89027                       HUNTINGDON, TN 38344                MORGANTON, GA 30560




PINSON, LOIS                             PINSON, SHERRYL M.                  PIONEER CREDIT RECOVERY INC
1830 THREE BRIDGE RD                     4905 W 143RD PL                     P.O. BOX 979113
MANSFIELD, TN 38236                      MIDLOTHIAN, IL 60445                ST LOUIS, MO 63197-9000




PIONEER CREDIT RECOVERY                  PIONEER CREDIT RECOVERY             PIONEER CREDIT RECOVERY
P.O. BOX 366                             PO BOX 366                          POB 158
ARCADE, NY 14009                         ARCADE, NY 14009                    ARCADE, NY 14009
                      Case
PIONEER CREDIT RECOVERY, INC 20-10766-BLS
                                      PIONEERDoc   6 RECOVERY,
                                               CREDIT  Filed 04/07/20
                                                               INC       Page 1409  ofCREDIT
                                                                              PIONEER  1969 RECOVERY, INC
P.O. BOX 158                          P.O. BOX 366                             P.O. BOX 979113
ARCADE, NY 14009                      ARCADE, NY 14009                         ST LOUIS, MO 63197-9000




PIONEER DOOR AND SERVICE, INC          PIONEER INVESTMENT MANAGEMENT, INC.-    PIONEER INVESTMENT MANAGEMENT, INC.-
14520 MANDAN RD                        FM                                      FM
APPLE VALLEY, CA 92307-0000            PIONEER FLOATING RATE FUND              PIONEER FLOATING RATE TRUST




PIONEER INVESTMENT MANAGEMENT, INC.-   PIONEER MEDICAL GROUP                   PIONEER RESEARCH CORPORATION
FM                                     1901 N. SOLAR DR. STE 215               3110 NORTH 19TH AVE
PIONEER INVESTMENTS DIVERSIFIED        OXNARD, CA 93036                        PHOENIX, AZ 85015
LOANS FUND




PIONTEK, AMY J.                        PIORKOWSKI, STEPHANIE                   PIORO, LAWRENCE
110 WILD CHERRY LN                     20830 W VERONA AVE UNIT 7               907 ROYAL DR APT B2
FREEBURG, IL 62243                     LAKE VILLA, IL 60046                    MCHENRY, IL 60050




PIPAS, NANCY                           PIPECO ELECTRIC, INC                    PIPELINE HEALTH HOLDINGS LLC
26766 N COUNTRYSIDE LK DR              610 29TH STREET                         600 CALIFORNIA ST, SUITE 520
MUNDELEIN, IL 60060                    BETTENDORF, IA 52722                    CHICAGO, IL 60675-6529




PIPELINE HEALTH HOLDINGS LLC           PIPELINE HEALTH HOLDINGS LLC            PIPELINE HLTH HOLDINGS LLC
600 CALIFORNIA ST, SUITE 520           600 CALIFORNIA ST, SUITE 520            PIPELINERX
SAN FRANCISCO, CA 94108                SAN FRANCISCO, CA 94108-6529            600 CALIFORNIA ST STE 520
                                                                               SAN FRANCISCO, CA 94108




PIPER, DANIEL K.                       PIPER, JENNIFER H.                      PIPER, ROGER
261 PARK LANE DRIVE                    ADDRESS ON FILE                         1150 S 58TH STREET
GALESBURG, IL 61401                                                            SPRINGFIELD, OR 97478




PIPES, JOYCE                           PIPETTE.COM                             PIPPENGER, DEBORAH
816 BELLARBOR AVE NW                   10360 SORRENTO VALLEY RD                129 E CHESTNUT ST
CANTON, OH 44708-3312                  SAN DIEGO, CA 92121                     MARIANNA, AR 72360




PIPPENGER, DEBORAH                     PIRAMAL CRITICAL CARE, INC              PIRAMAL CRITICAL CARE, INC
363 MIXON AVE                          3950 SCHELDEN CIRCLE                    DEPT CH 19721
MARIANNA, AR 72360                     BETHLEHAM, PA 18017                     ABA 021001088 ACCT 048402419
                                                                               PALATINE, IL 60055-9721




PIRAMAL CRITICAL CARE, INC             PIRKLE JR, ALBERT Q.                    PIRKLE, RICKY
DEPT CH 19721                          3580 HH ROAD                            4261 GRADY SMITH RD
PALATINE, IL 60055-9721                WATERLOO, IL 62298                      LOGANVILLE, GA 30052-3677
PIRRUNG, JAMES            Case 20-10766-BLS    Doc M.
                                        PISH, MEGAN 6      Filed 04/07/20   Page 1410  of RACING
                                                                                 PIT ROAD 1969
11635 SARBAUGH ST SW                     ADDRESS ON FILE                          500 TOWER SQUARE
MASSILLON, OH 44647                                                               MARION, IL 62959




PITCHER FRANK D                          PITCHER, BRANDY                          PITCHER, FRANK D.
24031 OLD RIVER RD                       50 BRIDGE CIRCLE                         24031 OLD RIVER RD
JUNCTION CITY, OR 97448                  STANSBURY PARK, UT 84074                 JUNCTION CITY, OR 97448




PITCHFORTH, THANH N.                     PITMAN, ANNETTE                          PITMAN, SHANNON
251 LIGHTHOUSE AVENUE UNIT 2             144 BANDY AVE                            ADDRESS ON FILE
PACIFIC GROVE, CA 93950                  GALESBURG, IL 61401




PITMAN, SHANNON                          PITNEY BOWES CREDIT CORP                 PITNEY BOWES GLOBAL FIN SERV
ADDRESS ON FILE                          P.O. BOX 371874                          P.O. BOX 371887
                                         PITTSBURGH, PA 15250-7874                PITTSBURGH, PA 15250-7887




PITNEY BOWES GLOBAL FIN SVCS LLC         PITNEY BOWES GLOBAL FINANCIAL            PITNEY BOWES GLOBAL FINANCIAL
PURCHASE POWER                           P.O. BOX 371887                          P.O. BOX 371887
P.O. BOX 371874                          PITTSBURGH, PA 15250                     PITTSBURGH, PA 15250-7887
PITTSBURGH, PA 15250-7874




PITNEY BOWES GLOBAL                      PITNEY BOWES GLOBAL                      PITNEY BOWES GLOBAL
FINANCIAL SERV LLC                       FINANCIAL SERV                           FINANCIAL SERVICES LLC
P.O. BOX 371887                          P.O. BOX 371887                          P.O. BOX 371887
PITTSBURGH, PA 15250-7887                PITTSBURGH, PA 15250-7887                PITTSBURGH, PA 15250-7874




PITNEY BOWES GLOBAL                      PITNEY BOWES GLOBAL                      PITNEY BOWES GLOBAL
FINANCIAL SERVICES LLC                   FINANCIAL SVCS LLC                       P.O. BOX 371887
P.O. BOX 371887                          P.O. BOX 371887                          PITTSBURGH, PA 15250-7896
PITTSBURGH, PA 15250-7887                PITTSBURGH, PA 15250-7887




PITNEY BOWES INC                         PITNEY BOWES INC                         PITNEY BOWES INC.
P.O. BOX 371896                          P.O. BOX 371896                          P.O. BOX 371874
PITTSBURG, PA 15250-7896                 PITTSBURGH, PA 15250-7896                PITTSBURGH, PA 15250




PITNEY BOWES INC.                        PITNEY BOWES INC.                        PITNEY BOWES INC.
P.O. BOX 371874                          P.O. BOX 371887                          P.O. BOX 371887
PITTSBURGH, PA 15250-7874                PITTSBURG, PA 15250                      PITTSBURG, PA 15250-7887




PITNEY BOWES INC.                        PITNEY BOWES INC.                        PITNEY BOWES INC.
P.O. BOX 371887                          P.O. BOX 371887                          P.O. BOX 371887
PITTSBURGH, PA 15250                     PITTSBURGH, PA 15250-7874                PITTSBURGH, PA 15250-7887
PITNEY BOWES INC.       Case 20-10766-BLS    Doc 6 INC.Filed 04/07/20
                                      PITNEY BOWES                         Page 1411
                                                                                PITNEY of 1969INC.
                                                                                       BOWES
P.O. BOX 371887                       P.O. BOX 371896                            P.O. BOX 856390
PITTSBURGH, PA 15250-7896             PITTSBURGH, PA 15250                       LOUISVILLE, KY 40285-6390




PITNEY BOWES LEASE                    PITNEY BOWES POSTAGE BY PHONE              PITNEY BOWES PURCHASE POWER
P.O. BOX 371887                       P.O. BOX 371874                            P.O. BOX 371874
PITTSBURGH, PA 15250-7887             PITTSBURGH, PA 15250-7896                  PITTBURG, PA 15250




PITNEY BOWES PURCHASE POWER           PITNEY BOWES PURCHASE POWER                PITNEY BOWES
P.O. BOX 371874                       P.O. BOX 371874                            PO BOX 371887
PITTSBURGH, PA 15250-7874             PITTSBURGH, PA 15250-7896                  PITTSBURGH, PA 15250




PITNEY BOWES                          PITNEY BOWES, INC.                         PITNEY BOWSE PURCHASE POWER
PURCHASE POWER                        PURCHASE POWER                             P.O. BOX 371874
P.O. BOX 371874                       P.O. BOX 371874                            PITTSBURGH, PA 15250-7874
PITTSBURGH, PA 15250-7874             PITTSBURGH, PA 15250-7874




PITSOR, MARTI M.                      PITSTICK, JOHN                             PITT ELECTRIC, INC
ADDRESS ON FILE                       900 BEVERLY BLVD                           1028 BROMPTON LANE
                                      MURPHY, NC 28906                           GREENVILLE, NC 27834-0000




PITT, ELLA                            PITT, ZEOPHIA C.                           PITTENGER, JULIENNE
4103 PINNACLE PINES CT                ADDRESS ON FILE                            215 MARCHE CHASE DRIVE, APT 9
HEPHZIBAH, GA 30815                                                              EUGENE, OR 97401




PITTENGER, SABRINA L.                 PITTMAN, ASHLEY                            PITTMAN, CARLA J.
511 E. MAIN ST                        4243 GREENLEAF CT APT 307                  1421 MONROE AVE
KNOXVILLE, IL 61448                   PARK CITY, IL 60085                        WINTHROP HARBOR, IL 60096




PITTMAN, CHRISTOPHER                  PITTMAN, DEVIN N.                          PITTMAN, ELIZABETH
26 MAIN ST S                          2400 STATE ROUTE 1826                      6948 VENETIAN WAY
NAVARRE, OH 44662-1142                CLINTON, KY 42031                          MURFREESBORO, TN 37129




PITTMAN, JENNIFER                     PITTMAN, NOEL K.                           PITTMAN, RHONDA
1802 HEARN                            5221 COUNTY RD 43                          8205 FLATWOODS RD
BIG SPRING, TX 79720                  FYFFE, AL 35971-4639                       CAMDEN, TN 38320-0000




PITTMAN, ROBERT E.                    PITTMANS FLORIST & GIFT SHOP, INC.         PITTS FIRE EXTINGUISHER
ADDRESS ON FILE                       P.O.BOX 478                                P.O. BOX 364
                                      MCCAYSVILLE, GA 30555                      MASSILLON, OH 44648
PITTS, BURNESTEIN S.   Case 20-10766-BLS     Doc 6
                                     PITTS, CATHY          Filed 04/07/20   Page 1412   of 1969
                                                                                 PITTS, GWENDOLYN
ADDRESS ON FILE                       ADDRESS ON FILE                            14904 S CICERO AVE, UNIT 500
                                                                                 OAK FORES, IL 60452




PITTS, JEFFREY W.                     PITTS, JULIANTI T.                         PITTS, KATHLEEN M.
5904 DUNN RD NE                       ADDRESS ON FILE                            ADDRESS ON FILE
FORT PAYNE, AL 35967




PITTS, KATHLEEN                       PITTS, KRISTEN                             PITTS, MURIEL
ADDRESS ON FILE                       305 SAINT SABRE DR                         412 W WALKER ST
                                      BELLEVILLE, IL 62226                       WRENS, GA 30833




PITTS, NANCY J.                       PITTS, RYAN                                PITZ, MARILYN E.
690 BELL HILL RD                      ADDRESS ON FILE                            3844 WARDS MILL ROAD
COBDEN, IL 62920                                                                 MARION, IL 62959




PIZANO, ESTHEFANY                     PIZARRO, JOSEFINA                          PLAATJE, LEON K.
607 N GENESEE ST                      ADDRESS ON FILE                            ADDRESS ON FILE
WAUKEGAN, IL 60085




PLAATJE, LEON K.                      PLACE, SHIRLEY J.                          PLACKETT, DELMA
1205 SAN MIGUEL                       149 DITTMER LN, APT 1A                     1259 N BROAD ST
DEMING, NM 88030                      LINDENHURST, IL 60046                      GALESBURG, IL 61401




PLAIT, CHERYL                         PLAK SMACKER                               PLAMP, CARMEN
232 HERMOSA WAY                       25782 NETWORK PLACE                        4601 PASADENA DR
MESQUITE, NV 89027                    CHICAGO, IL 60673-1257                     MIDLAND, TX 79703




PLANCARTE, CARMEN                     PLANCK, CRYSTAL S.                         PLANNED ADMINISTRATORS
1299 BERTHA HOWE AVE                  ADDRESS ON FILE                            P.O.BOX 6702
MESQUITE, NV 89027                                                               COLUMBIA, SC 29260




PLANNED ADMINISTRATORS, INC.          PLANT MANAGER, THE                         PLANTS, CARL
8906 TWO NOTCH ROAD, SUITE 200        GLORIA FARRAR                              442 CHESTNIT ST
COLUMBIA, SC 29223                    RT 6 BOX 328A                              NEWCOMERSTOWN, OH 43832
                                      MT. VERNON, IL 62864




PLANTZ, JORDANA M.                    PLASCENCIA, DAWNNESE C.                    PLASCENCIA, OLGA M.
ADDRESS ON FILE                       300 PONDEROSA AVE                          493 WINCHESTER DR
                                      WATSONVILLE, CA 95076                      WATSONVILLE, CA 95076
PLASSE, JOSEPH S.       Case 20-10766-BLS   Doc 6JAMES
                                      PLASSMEYER,   Filed
                                                       K. 04/07/20     Page 1413  ofBAG
                                                                            PLASTIC  1969
                                                                                        PARTNERS
37 DORAN CT.                           615 NORTH MARKET STREET               3 FROST DRIVE
CHULA VISTA, CA 91910                  WATERLOO, IL 62298                    BAYVILLE, NJ 08721




PLASTICCARDID                          PLATEAU WIRELESS                      PLATT ELECTRIC
2100 W ORANGEWOOD AVE, SUITE 170       P.O. BOX 9000                         P.O. BOX 418759
ORANGE, CA 92868                       CLOVIS, NM 88102-9090                 BOSTON, MA 02241-8759




PLATT RIVER INSURANCE COMPANY          PLATT RIVER INSURANCE COMPANY         PLATT RIVER INSURANCE COMPANY
1600 ASPEN COMMONS                     P.O. BOX 5900                         P.O. BOX 5900
MIDDLETON, WI 53562                    MADISON, WI 53705-0900                P.O. BOX 5900
                                                                             MADISON, WI 53705-0900




PLATT RIVER INSURANCE COMPANY          PLATT, C.J.                           PLATT, CAROLYN J.
P.O. BOX 5900                          ADDRESS ON FILE                       1331 OASIS DRIVE
P.O. BOX 5900                                                                BARSTOW, CA 92311-5237
MIDDLETON, WI 53562




PLATT, JUDGE                           PLATTI PURA                           PLATTI, PURA
6738 NORTHPORT DRIVE                   261 N LINWOOD RD 139                  261 N LINWOOD RD 139
DALLAS, TX 75230                       WOODRIDGE                             GALESBURG, IL 61401
                                       GALESBURG, IL 61401




PLATTS, JENNIFER                       PLATZER, JASON                        PLAY SHARITY FOUNDATION
P.O. BOX 691                           1366 COUNTY RD 17                     700 S IRON STREET
LYMAN, WY 82937-0691                   GUNNISON, CO 81230                    DEMING, NM 88030




PLAZA TIRE SERVICE INC                 PLAZA, ALEXANDRA                      PLAZA-THOMPSON, EVELYN
P.O.BOX 2048                           ADDRESS ON FILE                       22 GINGER RIDGE LANE
CAPE GIRARDEAU, MO 63702-2048                                                GLEN CARBON, IL 62034-3404




PLEASANT HILL SCHOOL DISTRICT          PLECHATY, ALISHA J.                   PLEDGE HEALTH
PLEASANT HILL HIGH SCHOOL              ADDRESS ON FILE                       4339 VIA ENTRADA
PLEASANT HILL, OR 97455                                                      NEWBERRY PARK, CA 91320




PLEDGER, ROSE M.                       PLEMING, SANDRA                       PLEMMONS, KRISTAL
ADDRESS ON FILE                        1218 PETERS CEMETARY RD.              201 TOWNHOUSE DR
                                       MONROE, GA 30655                      CARTERVILLE, IL 62918




PLEMONS, BRITTANY                      PLESICA, CHRISTEN                     PLETCHER, MIRIAM M.
ADDRESS ON FILE                        1911 S LAKE STOREY RD                 P.O. BOX 205
                                       GALESBURG, IL 61401                   MC ELHATTAN, PA 17748-0205
PLICET, MELISSA G.       Case 20-10766-BLS   Doc
                                       PLOCHER,   6 Filed 04/07/20
                                                COURTNEY                     Page 1414 of 1969
                                                                                  PLOCHER, ROBERT
1184 LUDGATE DR                         ADDRESS ON FILE                           6555 DAUDERMAN ROAD
EUGENE, OR 97402                                                                  ALHAMBRA, IL 62001




PLOESSL, JAY A.                         PLOOG, DIANE D.                           PLOTNER, TRISHA M.
917 BOSE DR 206                         14617 CLYDESDALE LN                       11529 41ST AVENUE
GURNEE, IL 60031                        HOMER GLEN, IL 60491                      PLEASANT PRAIRIE, WI 53158




PLOTT, CARTER                           PLOTT, JASALYNE M.                        PLOWS COUNCIL ON AGING
1174 DOCK JONES RD                      ADDRESS ON FILE                           7808 WEST COLLEGE DRIVE, STE 5E
BLAIRSVILLE, GA 30512                                                             PALOS HEIGHTS, IL 60463




PLP BATTERY SUPPLY                      PLS FINANCIAL SOLUTIONS OF ILLINOIS INC   PLUCKER, KATHLEEN L.
1362 NORTH 7TH ST                       800 JORIE BLVD                            ADDRESS ON FILE
MURPHYSBORO, IL 62966                   OAK BROOK, IL 60523




PLUM GEORGE                             PLUMBERS & PIPEFITTERS 551                PLUMBERS & PIPEFITTERS LOCAL NO 94 H
2338 CROWTHER DRIVE                     C/O JW TERRILL                            & W PLAN
EUGENE, OR 97404-0000                   825 MARYVILLE CTR DR                      33 FITCH BLVD
                                        CHESTERFIELD, MO 63017                    AUSTINTOWN, OH 44515




PLUMBERS & PIPEFITTERS WELFARE          PLUMBERS SUPPLY COMPANY                   PLUMBERS WELFARE FUND
ATTN: REFUNDS                           12012 MANCHESTER RD                       1340 WASHINGTON BLVD
3640 CORPORATE TRAIL DR                 ST LOUIS, MO 63131                        CHICAGI, IL 60607-1980
EARTH CITY, MO 63045




PLUMBMASTER INC                         PLUMLEE, DAVID T.                         PLUMLEY, DEREK B.
P.O. BOX 117187                         4273 INDEPENDENCE LOOP                    P.O. BOX 143
ATLANTA, GA 30368-7187                  LEXINGTON, TN 38351                       CHERRY LOG, GA 30522-0000




PLUMMER, AMANDA                         PLUMMER, DEBRA                            PLUNK, SHARON L.
ADDRESS ON FILE                         ADDRESS ON FILE                           ADDRESS ON FILE




PLUNKETT CATHERINE                      PLUNKETT, JEFFREY                         PLUSH, JOANNE
8021 151ST STREET                       2800 SCENIC DR                            957 CHESTNUT GAP ROAD
ORLAND PARK, IL 60462                   BLUE RIDGE, GA 30513-4453                 BLUE RIDGE, GA 30513




PLYMALE & MADDOX PLLC                   PLYMALE, PATRICIA                         PMA
4334 PIEDMONT ROAD                      204 RED BIRD                              P O BOX 60369
ESCROW ACCOUNT                          TROY, IL 62294-0000                       IRVINE, CA 92602
HUNTINGTON, WV 25704
PMA                      Case 20-10766-BLS
                                       PMB    Doc 6     Filed 04/07/20   Page 1415  of 1969
                                                                              PMT CORPORATION
P.O. BOX 60369                         ATTN JAMIE T / REFUNDS                 P.O. BOX 610
IRVINE, CA 92602                       7619 WEST JEFFERSON BLVD               CHANHASSEN, MN 55317
                                       FORT WAYNE, IN 46804




PNC BANK NA                            PNC BANK NATIONAL ASSOCIATION          PNC BANK NATIONAL ASSOCIATION
P.O. BOX 828702                        249 5TH AVE, MS P1-POPP-BL-7           SOLEBURY COMMUNICATIONS GROUP LLC
GIANT EAGLE ACCT                       PITTSBURG, PA 15222                    1010 WASHINGTON BLVD, SUITE 1050
PHILADELPHIA, PA 19182-8702                                                   STAMFORD, CT 06901




PNC EQUIPMENT FINANCE LLC              PNC EQUIPMENT FINANCE LLC              PNC
995 DALTON AVE                         P.O. BOX 931034                        C/O GATEWAY HEALTH PLAN
CINCINNATI, OH 45203                   CLEVELAND, OH 44193-0004               LOCKBOX 645171 500 1ST AVENUE
                                                                              PITTSBURGH, PA 15219




PNEUMATIC TUBE PRODUCTS CO             PNM                                    PNM
P.O. BOX 56865                         414 SILVER AVE SW                      P O BOX 27900
HAYWARD, CA 94545-6865                 ALBUQUERQUE, NM 87102                  ALBUQUERQUE, NM 87125




PNM                                    PNM                                    POA, JOHN SHEELEY
P.O. BOX 27900                         P.O. BOX 27900                         41077 TURNBERRY LANE
ALBUQUERQUE, NM 871257900              ALBUQUERQUE, NM 87125-7900             CLINTON TOWNSHIP, MI 48038




POAT, ERICA                            POBEGA, CATHY                          POCKET PROS
3680 FRIENDSHIP CHURCH RD              8164 CAROLINE ST NW                    P.O. BOX 1788
DONGOLA, IL 62926                      MASSILLON, OH 44646                    NAMPA, ID 83653-1788




PODERAC, EMIL                          PODESTA, GLORIA J.                     PODIATRY INSURANCE COMPANY OF
1324 MEADOWBROOK LN NE                 ADDRESS ON FILE                        AMERICA
CARROLLTON, OH 44615                                                          PICA
                                                                              P.O. BOX 1783
                                                                              MEMPHIS, TN 38101-1783



PODS SEAL COATING, INC                 PODSEN, JOHN                           PODSTAWA, PATRICK
14610 SHERMAN AVE                      P.O. BOX 217                           3918 SHALE DR
POSEN, IL 60469                        EPWORTH, GA 30541                      EDWARDSVILLE, IL 62025




PODWOJSKI, ANNIE                       POE MASON LEE                          POE, AMANDA L.
121 S TIMBERVIEW DR                    6990 CTY RD 88                         ADDRESS ON FILE
STAUNTON, IL 62088                     PISGAH, AL 35765-0066




POE, STACEY D.                         POEHLING, MARSHA                       POEPPER, STACY L.
2255 ANTIOCH ROAD                      1242 BAHAMAS DRIVE                     5437 KONARCIK RD
WEST FRANKFORT, IL 62896               EDWARDSVILLE, IL 62025                 WATERLOO, IL 62298
POETAIN, HANNAH         Case 20-10766-BLS   DocBENJAMIN
                                      POETTGEN, 6 Filed 04/07/20        Page 1416   of 1969
                                                                             POFF, CARL A.
327 GLEN CARBON RD                    1842 ESIC                              P.O. BOX 207
GLEN CARBON, IL 62034                 EDWARDSVILLE, IL 62025                 LOCK HAVEN, PA 17745




POFF, DONNA M.                        POGODINA, CORINA                       POHRIB, SILVIA
725 CHESTNUT ST, APT 1101             ADDRESS ON FILE                        404 MAGNOLIA CT
SUNBURY, PA 17801                                                            LOGANVILLE, GA 30052




POINSETTE, SIMONE                     POINTCLICKCARE TECHNOLOGIES INC        POINTER, RONALD
90 HEMLOCK ST                         P.O. BOX 674802                        2114 LYNCH
PARK FOREST, IL 60466                 DETROIT, MI 48267-4802                 GRANITE CITY, IL 62040




POINTER, VICTORIA D.                  POINTON, TAMMY A.                      POIRIER, GERMAINE
ADDRESS ON FILE                       1208 EAST 17TH                         2037 VERMONT AVE SE, APT3
                                      BIG SPRING, TX 79720                   MASSILLON, OH 44646




POIRRIER, JACK                        POITER, JANE L.                        POITER, JENNIFER
1050 HARTMAN DRIVE                    1 BRIMLEY COURT                        6280 CUDGETOWN ROAD
RED BUD, IL 62278                     GLEN CARBON, IL 62034                  DU QUOIN, IL 62832




POKIN, JOYCE                          POKORNY, MARY                          POLACEK, STEPHEN
2258 W 109TH ST                       604 N BUCHANAN ST                      218 N CHURCH
CHICAGO, IL 60643                     EDWARDSVILLE, IL 62025                 WATERLOO, IL 62298




POLACEK, TERESA                       POLANCO, LAURA R.                      POLAND, BRANNON
ADDRESS ON FILE                       ADDRESS ON FILE                        360 JOINER ROAD
                                                                             BATESVILLE, MS 38606




POLAND, DESIREE L.                    POLAND, SHANNON M.                     POLAR PRODUCTS, INC.
ADDRESS ON FILE                       ADDRESS ON FILE                        3380 CAVALIER TRAIL
                                                                             STOW, OH 44224




POLARIS HEALTH CARE SOLUTIONS LLC     POLCHERT, SUSAN E.                     POLELLE, ELLEN G.
26 E 6TH ST, SUITE 501                3143 RIVERPLACE DR                     ADDRESS ON FILE
CINCINNATI, OH 45202                  EUGENE, OR 97401-0000




POLEN, JANE                           POLEN, PAULETTE                        POLETTI, JASON
510 MANSFIELD ST                      7109 HIGH MILL AVE NW                  184 FLYING QUAIL RD
SPRINGFIELD, OR 97477-1520            CANAL FULTON, OH 44614-9344            HURON, TN 38345
POLETTI, SANDRA A.      Case 20-10766-BLS   Doc
                                      POLETTO,    6 M.
                                               NICOLE Filed 04/07/20     Page 1417 of 1969
                                                                              POLHEBER, JENNIFER S.
ADDRESS ON FILE                         101 MARIA STREET                       ADDRESS ON FILE
                                        THORNTON, IL 60476




POLICE&SHERIFFS PRESS,INC.              POLICYSTAT, LLC                        POLILLO, CHERYL
POB 1489                                500 CONGRASSIONAL BLVD STE 100         1791 E MAIN ST
LYONS, GA 30436                         CARMEL, IN 46032                       GALESBURG, IL 61401




POLISKNOWSKI, EDWARD J.                 POLITE, KATHRYN K.                     POLIZZI, JOHN
8229 MALLOW MIRROR LN                   823 N PRAIRIE ST                       18 DWIGHT ST
LAND O LAKES, FL 34637-0000             GALESBURG, IL 61401                    WATERLOO, IL 62298




POLK, CATHERINE                         POLK, ROBERT E.                        POLLACK, BONITA C.
827 TALBOT DRIVE                        14322 S BENSLEY AVE                    ADDRESS ON FILE
MORGAN HILL, CA 95037                   BURNHAM, IL 60633




POLLAN, MELANIE                         POLLARD, BARBARA                       POLLARD, ELLYN M.
1548 HEBRON CHURCH                      494 E. HANRAHAN RD                     ADDRESS ON FILE
STATHAM, GA 30666                       P.O. BOX 1175
                                        GRIFTON, NC 28530




POLLARD, GERALD                         POLLARD, MARIE R.                      POLLARD, SHAQUANNA M.
411 HIGH ST                             ADDRESS ON FILE                        ADDRESS ON FILE
RED BUD, IL 62278




POLLEY, MARY KAY                        POLLEY, TERECIA K.                     POLLIARD, SANDRA
2536 W 102ND PL                         ADDRESS ON FILE                        ADDRESS ON FILE
CHICAGO, IL 60655




POLLOCK, CRYSTAL                        POLLOCK, CRYSTAL                       POLLOCK, MANDA L.
22 COUNTY ROAD B28A P.O BOX 11          ADDRESS ON FILE                        1310 MONMOUTH AVE
SERAFINA, NM 87569                                                             BIG SPRING, TX 79720




POLLOCK, SHELBY                         POLONSKY, VADIM                        POLONSKY, VADIM
578 NORTH 150 EAST                      ADDRESS ON FILE                        ADDRESS ON FILE
PANGUITCH, UT 84759




POLSON, TARA D.                         POLUM, LIA E.                          POLUMBO, KATHY A.
1028 ORCHARD CIRCLE                     ADDRESS ON FILE                        ADDRESS ON FILE
MONROE, GA 30656
                       Case 20-10766-BLS
POLY SCIENTIFIC R&D CORP                    Doc 6 Filed 04/07/20
                                     POLY SCIENTIFIC               Page 1418 of 1969
                                                                        POLYMEDCO, INC.
70 CLEVELAND AVE                     RESEARCH & DEVELOPMENT CO           P.O. BOX 95816
BAY SHORE, NY 11706                  70 CLEVELAND AVE                    CHICAGO, IL 60694-5816
                                     BAY SHORE, NY 11706




POLYSCIENCES, INC.                  POLZ, JAQUELINE                      POMERENKE, KAYLA L.
400 VALLEY ROAD                     530 CURRYTOWN RD                     ADDRESS ON FILE
WARRINGTON, PA 18976                NORTH AUGUSTA, SC 29860-9618




POMERENKE, KAYLA L.                 POMEROY, BRUCE M.                    POMIKALA, ROBIN
ADDRESS ON FILE                     316 WEST ELM ST                      1318 E BRANDY LANE
                                    P.O. BOX 66                          TOOELE, UT 84074
                                    OKAWVILLE, IL 62271




POMPHREY, RENE T.                   PONCE, ALBINA                        PONCE, ALEJANDRO
1014 BELL STORE RD                  225 BOCKIUS STREET                   ADDRESS ON FILE
GLEASON, TN 38229                   WATSONVILLE, CA 95076




PONCE, ALEJANDRO                    PONCE, KELLI                         PONCE, MARTHA Z.
ADDRESS ON FILE                     504 CREEKSIDE DR                     ADDRESS ON FILE
                                    TROY, IL 62294




PONCE, ZABDIEL                      PONCESANCHEZ, HOMERO                 PONDER & CO
2334 WALNUT ST                      14604 PEORIA ST                      8498 SOLUTION CTR
BLUE ISLAND, IL 60406               HARVEY, IL 60426                     CHICAGO, IL 60677-8004




PONETA-HAHN, DONNA                  PONG, WOON M.                        PONO, LORENZO
495 GLEN CROSSING RD                6112 VICTORIA DR                     ADDRESS ON FILE
GLEN CARBON, IL 62034               OAK FOREST, IL 60452




PONTIFF, KATHLEEN                   PONTIUS, STAN                        POOJA, SAREEN
240 COWAN RD                        3925 WIESE                           709 JONATHON LANE
COVINGTON, GA 30016                 EDWARDSVILLE, IL 62025               CARTERVILLE, IL 62918




POOJA, SAREEN                       POOL ADMINISTRATORS INC              POOL, ANNABELLA
ADDRESS ON FILE                     628 HEBRON AVE, SUITE 502            110 WEST STREET
                                    GLASTONBURY, CT 06033                WOODLAWN, IL 62898




POOLE, CHELSI                       POOLE, DIANE                         POOLE, GERI
1005 WAGON WHEEL RD                 3311 GALILEE                         4795 STATE ROUTE 146 E
WOLF LAKE, IL 62998                 ZION, IL 60099                       VIENNA, IL 62995
POOLE, HALEY D.        Case 20-10766-BLS
                                     POOLE, Doc  6 E.Filed 04/07/20
                                            HEATHER                   Page 1419
                                                                           POOLE,of 1969
                                                                                 KATLYN
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




POOLE, LESLIE                          POOLE, MARIE A.                     POOLE, MICHAEL S.
15567 BOBTAIL ROAD                     20 LAKE VIEW CIRCLE                 1200 E WALNUT STREET
EWING, IL 62836                        BLAIRSVILLE, GA 30512               PARK HILLS, MO 63601




POOLE, NIKOLE K.                       POONAWALA, ANUM                     POORE, JERRY
325 PARK AVE                           ADDRESS ON FILE                     1804 GALLOWAY RD
BOLIVAR, OH 44612                                                          BLUE RIDGE, GA 30513




POORE, KALEIGH A.                      POPE JR , JACK                      POPE, ANGELA
265 HIGH ST                            512 N 28TH ST                       206 BIRDSONG WAY
HUNTINGDON, TN 38344                   WEST MEMPHIS, AR 72301              SECTION, AL 35771




POPE, CARRYE D.                        POPE, EURIAH E.                     POPE, KIERRA
ADDRESS ON FILE                        820 92ND PLACE                      9807 S GREEN ST
                                       PLEASANT PRAIRIE, WI 53158          CHICAGO, IL 60643




POPE, MALINDA S.                       POPE, NATHAN W.                     POPE, SABRINA L.
3700 ECR 34                            206 BIRDSONG WAY                    ADDRESS ON FILE
BIG SPRING, TX 79720                   SECTION, AL 35771




POPEN ANDRE                            POPEN, ANDRE                        POPIK, JAMES
ADDRESS ON FILE                        ADDRESS ON FILE                     6500 BRECKENRIDGE DR.
                                                                           PLAINFIELD, IL 60586




POPIVKER, TANYA                        POPLAR HEALTHCARE PLLC              POQUETTE, GARY - CEO
ADDRESS ON FILE                        3495 HACKS CROSS RD                 MIMBRES MEMORIAL HOSPITAL
                                       MEMPHIS, TN 38125-8803              900 W ASH ST
                                                                           DEMING, NM 88030




POQUETTE, GARY R.                      POQUETTE, GARY R.                   PORBENI, ELLAYE
ADDRESS ON FILE                        P.O.BOX 85                          2770 OAK MEADOW DRIVE
                                       LINCOLN, ME 04457                   SNELLVILLE, GA 30078




PORCHIA, STACY                         PORRINI, LAVONNE                    PORRITT, ROBIN
38675 GREEN DR                         2722 ABRAHAM AVE NW                 322 WEST STREET
LEBANON, OR 97355                      MASSILLON, OH 44647                 THREE RIVERS, MI 49093
PORRO, DIANA            Case 20-10766-BLS    Doc 6 Filed
                                      PORTA WESTFALICA  FEST 04/07/20
                                                             PARADE     Page 1420 of COUNTY
                                                                             PORTAGE 1969 MUNICIPAL COURT
820 NEW SALEM RD                      C/O JARED NOBBE                        P O BOX 958
CREAL SPRINGS, IL 62922               307 SYCAMORE DR                        RAVENNA, OH 44266
                                      WATERLOO, IL 62298




PORTE, KAREN                          PORTEGYS, AUSTIN                       PORTELL, SHANNON
17782 E. FAIRFIELD RD                 714 SAFFORD AVENUE                     1107 TROY RD
MT. VERNON, IL 62864                  LAKE BLUFF, IL 60044                   EDWARDSVILLE, IL 62025




PORTER COUNTY CLERK                   PORTER DAVIS, URSULA R.                PORTER HOSPITAL
16 LINCOLNWAY, SUITE 200              ADDRESS ON FILE                        814 LAPORTE AVE
VALPARAISO, IN 46383                                                         VALPARAISO, IN 46383




PORTER JAMES WILLIAM                  PORTER JENNIFER L                      PORTER JOINT VENTURE GROUP LLC
88059 5TH ST, APT 9                   307 BREEZE DR                          PORTER ELECTRONICS
VENETA, OR 97487                      CARTERVILLE, IL 62918                  700 N NEELY ST, SUITE19
                                                                             GILBERT, AZ 85233




PORTER KENYATTA M                     PORTER KRISTEN                         PORTER SUSAN M
14621 GREENWOOD RD, UNIT 204          1293 N 690 E                           705 FOREST AVE N
DOLTON, IL 60419                      TOOELE, UT 84074                       FORT PAYNE, AL 35967




PORTER, ALISHA                        PORTER, BONNIE K.                      PORTER, BRADLEY J.
ADDRESS ON FILE                       P.O. BOX 966                           155 MYOAK DR
                                      LYMAN, WY 82937-0966                   EUGENE, OR 97404




PORTER, CANDY                         PORTER, CAROL                          PORTER, CHARLES
636 N HICKORY                         11226 LAKE ROAD                        4833 DANIELLE CT
CENTRALIA, IL 62801                   HIGHLAND, IL 62249                     GRANITE CITY, IL 62040




PORTER, DAWN                          PORTER, DAWN                           PORTER, FRANK
ADDRESS ON FILE                       116 SPRING ST                          775 MASDEN HOLLOW RD
                                      RED BUD, IL 62278                      BEECH CREEK, PA 16822




PORTER, GLENDA                        PORTER, JASMINE                        PORTER, JILL A.
1263 PETER CAVE BRANCH                3009 EDGEWOOD PARK                     5932 SHAKERTOWN DRIVE NW, APT J8
INEZ, KY 41224                        MARION, IL 62959                       CANTON, OH 44718




PORTER, KATHY A.                      PORTER, KATHY A.                       PORTER, KENNETH M.
1679 COUNTY ROAD 147                  1679 COUNTY ROAD 147                   2400 29TH ST, APT 205
HENAGAR, AL 35978                     HENAGAR, AL 35978-3323                 ZION, IL 60099
PORTER, KENNETH SIDNEYCase 20-10766-BLS
                                    PORTER,Doc  6 Filed 04/07/20
                                            KIMBERLY               Page 1421 ofLEIGH
                                                                        PORTER, 1969A.
1889 HEITZMAN WAY                   ADDRESS ON FILE                     666 FRUIT DR
EUGENE, OR 97402                                                        AKRON, OH 44319




PORTER, MELINDA A.                  PORTER, MELISSA K.                  PORTER, MICHELLE L.
ADDRESS ON FILE                     ADDRESS ON FILE                     1263 PETERCAVE BRANCH
                                                                        INEZ, KY 41224




PORTER, SARAH K.                    PORTER, SHAWN D.                    PORTER, TYLER L.
3782 CRANWOOD ST NW                 ADDRESS ON FILE                     ADDRESS ON FILE
NORTH CANTON, OH 44720




PORTER, WAYNE T.                    PORTER, YARITZA                     PORTERFIELD, JANET
P.O. BOX 555                        1813 S TIN STREET                   1395 DORIE DALTON HALLOW
ALPINE, TX 79831                    DEMING, NM 88030                    KIAHSVILLE, WV 25534




PORTERFIELD, TINA M.                PORTERS THRIFTWAY EAST              PORTERS THRIFTWAY-ALPINE
ADDRESS ON FILE                     104 N 2ND STREET                    101 EAST SUL ROSS AVE
                                    APLINE, TX 79830                    ALPINE, TX 79831




PORTERS                             PORTIZ, JASE C.                     PORTIZ, MARY S.
JTP, LLC                            ADDRESS ON FILE                     ADDRESS ON FILE
501 BIRDWELL LN, SUITE 1
BIG SPRING, TX 79720




PORTWOOD, MORGAN J.                 POSEY, BRAD                         POSEY, DANNY W.
ADDRESS ON FILE                     ADDRESS ON FILE                     428 COUNTY RD 332
                                                                        PISGAH, AL 35765-7126




POSEY, DELORES                      POSEY, DIANA                        POSEY, JESSICA K.
434 WEST 107TH ST                   692 COUNTY ROAD 771                 P.O. BOX 654 10094 COUNTY ROAD 50
CHICAGO, IL 60628                   IDER, AL 35981                      FYFFE, AL 35971




POSEY, SHANNON L.                   POSITIVE PROMOTIONS INC             POSITIVE PROMOTIONS INC
7284 HWY 1 N                        15 GILPIN AVE                       P.O. BOX 11537
COLT, AR 72326                      HAUPPAUGE, NY 11788                 NEWARK, NJ 07101-4537




POSITIVE PROMOTIONS INC             POSITIVE PROMOTIONS INC             POSITIVE PROMOTIONS INC
P.O. BOX 11537                      P.O. BOX 11537                      P.O. BOX 11537
P.O. BOX 18021                      P.O. BOX 18021                      P.O. BOX 18021
15 GILPIN AVE                       15 GILPIN AVE                       15 GILPIN AVE
HAUPPAUGE, NY 11788                 NEWARK, NJ 07101                    NEWARK, NJ 07101-4537
POSITIVE PROMOTIONS INCCase 20-10766-BLS    Doc
                                     POSITIVE     6 Filed
                                              PROMOTIONS   04/07/20
                                                         INC          Page 1422   ofPROMOTIONS
                                                                           POSITIVE  1969      INC
P.O. BOX 11537                       P.O. BOX 11537                         P.O. BOX 11537
P.O. BOX 18021                       P.O. BOX 18021                         P.O. BOX 18021
15 GILPIN AVE                        HAUPPAUGE, NY 11788                    HAUPPAUGE, NY 11788-8821
NEWARKUGE, NJ 07101-4537



POSITIVE PROMOTIONS INC              POSITIVELY AWARDING                    POST, CARYL J.
P.O. BOX 18021                       P.O. BOX 484                           4175 QUEST DR, APT214
P.O. BOX 18021                       115 BRIGHTON PARK BLVD.                EUGENE, OR 97402
15 GILPIN AVE                        FRANKFORT, KY 40602
HAUPPAUGE, NY 11788



POSTAL PARTNERS                      POSTELL, DANIEL L.                     POSTELL, DANIEL L.
289 SCHUYLER AVE, SUITE B            ADDRESS ON FILE                        ADDRESS ON FILE
BRADLEY, IL 60915-2441




POSTELL, GLENDA                      POSTELL, KELLIE E.                     POSTELL, MELISSA D.
1834 RED MARBLE RD                   ADDRESS ON FILE                        290 E HIDDEN VALLEY LAKES DR
ANDREWS, NC 28901                                                           MCCAYSVILLE, GA 30555




POSTER COMPLIANCE CENTER             POSTER COMPLIANCE CENTER               POSTIGO-ALARCON, RICARDO
3687 MT DIABLO BLVD, SUITE 100       3687 MT DIABLO BLVD, SUITE 100         ADDRESS ON FILE
LAFAYETTE, CA 94549                  LAFAYETTE, CA 94549-3744




POSTIN CHRISTAL M                    POSTIN, CHRISTAL M.                    POSTMASTER GRANITE CITY
200 W WOOD ST                        200 W WOOD ST                          2350 MADISON AVENUE
AVON, IL 61415                       AVON, IL 61415                         GRANITE CITY, IL 62040




POSTMASTER                           POSTMASTER                             POSTMASTER
326 N GENESEE ST                     617 WALNUT, SUITE 103                  FORT PAYNE, AL 35967
WAUKEGAN, IL 60085                   HELENA, AR 72342




POSTMASTER                           POSTMASTER                             POSTMASTER
MAIN ST                              P.O. BOX FEE PAYMENT                   USPS BRENTWOOD-P.O. BOX FEE
WILLIAMSTON, NC 27892                BEATTYVILLE, KY 41311                  8011 BROOKS CHAPEL RD
                                                                            BRENTWOOD, TN 37027-9998




POSTMASTER/GURNEE                    POSTON, LOIS                           POTATO SPECIALTY COMPANY,INC
GURNEE, IL 60031                     15432 N. DOPPLER                       P.O. BOX 3925
                                     ASHLEY, IL 62808                       LUBBOCK, TX 79452-3925




POTEET, CHRISTINIA M.                POTEET, CHRISTOPHER L.                 POTEET, GABRIELE
715 DEAL ST                          38810 N ACKERMAN RD                    57 LOWES DR
JUNCTION CITY, OR 97448              ANTIOCH, IL 60002                      ELLIJAY, GA 30540
POTENZINI, NICHOLAS   Case 20-10766-BLS
                                    POTITO,Doc  6 Filed 04/07/20
                                           LOU ANN                 Page 1423
                                                                        POTLA, of 1969
                                                                               PRASHANTHI
2031 ROLLING MEADOWS LANE           376 ROSS RD                          ADDRESS ON FILE
AKRON, OH 44312                     MINERAL BLUFF, GA 30559




POTOCKI, DIANE M.                   POTTER ASSOCIATES LLC                POTTER ASSOCIATES LLC
12803 ELM                           1262 KETTNER BLVD SUITE 605          888 W E ST
BLUE ISLAND, IL 60406               SAN DIEGO, CA 92101                  SUITE 309
                                                                         SAN DIEGO, CA 92101




POTTER ASSOCIATES LLC               POTTER ASSOCIATES LLC                POTTER ASSOCIATES LLC
888 WEST E STREET                   888 WEST E STREET, SUITE 309         HOSPITAL RECRUITERS LLC
SUITE 309                           SAN DIEGO, CA 92101                  1262 KETTNER BLVD, SUITE 605
SAN DIEGO, CA 92101                                                      SAN DIEGO, CA 92101




POTTER, ALICE M.                    POTTER, BRENNON                      POTTER, CURTIS
286 QUIRK ST                        803 E 580 N                          120 LOBLOLLY DRIVE
GRANTSVILLE, UT 84029               TOOELE, UT 84074                     PLYMOUTH, NC 27962




POTTER, DORIS KAY                   POTTER, JUDY                         POTTER, KIMBERLY
3017 COUNTY RD 43                   P.O. BOX 1169                        ADDRESS ON FILE
FYFFE, AL 35971-9801                MCCAYSVILLE, GA 30555




POTTER, MCKENZIE                    POTTER, NEAL                         POTTER, PEGGY A.
675 FIFE COURT                      13119 E PLAYFIELD DR                 ADDRESS ON FILE
EVANSTON, WY 82930                  CRESTWOOD, IL 60418




POTTER, RAEDEAN D.                  POTTER, SARAH L.                     POTTER, SONJI
ADDRESS ON FILE                     2985 COUNTY RD 43                    2920 FLINTROCK WAY
                                    FYFFE, AL 35971                      SNELLVILLE, GA 30078




POTTER-BROWN, KIMBERLY L.           POTTS, APRIL                         POTTS, JENNIFER
ADDRESS ON FILE                     ADDRESS ON FILE                      81 WEST JENNINGS
                                                                         WOOD RIVER, IL 62095




POTTS, MARYANN                      POTTS, WILLIAM                       POUELE, NICOLAS
507 25TH ST NW                      459 APACHE BEND                      678 S ACADEMY ST, APT B2
MASSILLON, OH 44647                 BLAIRSVILLE, GA 30512                GALESBURG, IL 61401




POULSEN, KAREN                      POULSON, CAROL                       POULSON, JEANETTE
38703 SHERIDAN RD, LOT 180          P.O. BOX 120                         1223 E LOSEY ST
BEACH PARK, IL 60099                BOLIVAR, OH 44612                    GALESBURG, IL 61401
POUNCEY, DARLENE H.      Case 20-10766-BLS
                                       POUND 4Doc 6 INC
                                               POUND  Filed 04/07/20   Page 1424 of 1969
                                                                            POURROY, ASHLEY M.
1878 MT PLEASANT RD                     725 STATION CROSSING                 480 RUDIN DR
GREENVILLE, AL 36037                    WATERLOO, IL 62298                   CLIFTON, IL 60927




POURYAVARI, MONIR S.                    POVALITIS, AMANDA J.                 POWDOS PARTNERSHIP
100 PULSIPHER LN, SUITE 2202            ADDRESS ON FILE                      CLOEY WALL
MESQUITE, NV 89027                                                           808 MAIN ST
                                                                             EVANSTON, WY 82930




POWELL LANDSCAPING                      POWELL, AMY M.                       POWELL, ANDREA
4624 NORTH TOMS LANE                    172 VIOLET LANE                      936 CENTRAL PARK AVE
ERDA, UT 84074                          MINERAL BLUFF, GA 30559              FLOSSMOOR, IL 60422




POWELL, BELINDA                         POWELL, BRANDON                      POWELL, CINDY D.
605 FOREST AVE NW                       877 LODGE RD                         29 SHORELINE DR
FORT PAYNE, AL 35967                    ARDMORE, OK 73401                    FLORENCE, OR 97439-0000




POWELL, DENISE                          POWELL, EARNESTINE                   POWELL, EDITH
ADDRESS ON FILE                         220 CHERRYWOOD LN                    900 MISSISSIPPI DR
                                        GREENVILLE, AL 36037-7922            APT B
                                                                             MARION, IL 62959




POWELL, FANESHA D.                      POWELL, FAY                          POWELL, FRANCES
212 TERRY ST                            ADDRESS ON FILE                      1306 NORTH IZARD
MADISON, IL 62060                                                            FORREST CITY, AR 72335




POWELL, FREDDIE MAYO                    POWELL, GINA L.                      POWELL, GREGORY R.
2155 SPRING GREEN ROAD                  8007 60TH ST                         2790 ALYNDALE DR
WILLIAMSTON, NC 27892                   KENOSHA, WI 53144                    EUGENE, OR 97404-0000




POWELL, HAROLD WARREN                   POWELL, JOHN B.                      POWELL, JOURDAN
39086 JASPER LOWELL RD                  3941 VILLAGE LANE APT B              409 EAST 9TH STREET
FALL CREEK, OR 97438                    GRANITE CITY, IL 62040               JOHNSTON CITY, IL 62951




POWELL, KEVONYA                         POWELL, KIM E.                       POWELL, LINDSAY
4635 S CALUMET AVE APT 1-N              ADDRESS ON FILE                      ADDRESS ON FILE
CHICAGO, IL 60653




POWELL, LUANNA P.                       POWELL, MICHAEL S.                   POWELL, MICHELLE
164 SFC 835                             912 WOODLAND DR                      331 HENDRIX STREET
PALESTINE, AR 72372                     MARYVILLE, IL 62062                  COPPERHILL, TN 37317
POWELL, NEWMAN E.       Case 20-10766-BLS
                                      POWELL,Doc 6 Filed 04/07/20
                                              NORMA                      Page 1425 ofPETER
                                                                              POWELL, 1969J.
380 N 23RD ST                          134 BREEZEWOOD DR.                     24700 NORRIS RD
P.O. BOX 7953                          WESTMINSTER, SC 29693-3243             JUNCTION CITY, OR 97448-0000
SPRINGFIELD, OR 97475




POWELL, REBECCA D.                     POWELL, SHELIAH R.                     POWELSON, DONNA BESS
700 COUNTY RD 451                      ADDRESS ON FILE                        26089 MARINA RD
DUTTON, AL 35744                                                              VENETA, OR 97487




POWER ENGINEERING CO., INC             POWER EQUIPMENT CO                     POWER EQUIPMENT CO.
P. O. BOX 1777                         P.O. BOX 22007                         3050 BROAD AVE.
SALT LAKE CITY, UT 84110               MEMPHIS, TN 38122                      P.O. BOX 22007
                                                                              MEMPHIS, TN 38122




POWER HOUSE ELECTRIC INC               POWER SUPPLY                           POWER, DANIEL
120 N WEST ST                          2106 CEDAR STREET                      6824 W 63RD PL
P.O. BOX 1052                          MCKENZIE, TN 38201                     CHICAGO, IL 60638
FORREST CITY, AR 72336-1052




POWERFUL SIGNAL LLC                    POWERHAUS SPORTS                       POWERHOUSE ELECTRIC INC
5259 WHEELER WAY                       POWERHAUS FURY SOFTBALL CLUB           P.O. BOX 1052
HURRICANE, UT 84737                    8719 HANOVER IND DR                    FORREST CITY, AR 72336
                                       COLUMBIA, IL 62236




POWERHOUSE ELECTRIC, INC               POWERNET                               POWERS MECHANICAL SERVICE COMP
P O BOX 1052                           8805 GOVERNORS HILL DR, STE 250        5440 NORTH SHORE DR
FORREST CITY, AR 72336                 CINCINNATI, OH 45249                   NORTH LITTLE ROCK, AR 72118




POWERS STELLA                          POWERS, DENISE M.                      POWERS, DIANE
405 POPLAR AVE                         1708 S LOCUST ST                       461 MESA BLVD
DE SOTO, IL 62924                      CANAL FULTON, OH 44614                 UNIT 201
                                                                              MESQUITE, NV 89027




POWERS, DOLORES D.                     POWERS, GREYLIN                        POWERS, MARY J.
ADDRESS ON FILE                        2473 ST. CLAIR AVE                     ADDRESS ON FILE
                                       GRANITE CITY, IL 62040




POWERS, MIRANDA J.                     POWERS, PAMELA P.                      POWERS, PATRICIA E.
ADDRESS ON FILE                        310 COUNTY ROAD 1913                   ADDRESS ON FILE
                                       CEDAR BLUFF, AL 35959




POWERS, RONALD FOR JAMES POWERS        POWERS, ROYALE                         POWERS, SYLVIA
78 TEAKWOOD DR                         1607 B TREETOP TRL                     ADDRESS ON FILE
LEXINGTON, TN 38351                    AKRON, OH 44313
POWERS, WILLIAM F.        Case 20-10766-BLS  Doc 6INC Filed 04/07/20
                                        POWERSERVE                       Page 1426 of 1969
                                                                              POWERSERVE INC
2 OGLE RIDGEWAY                          P.O. BOX 87392                       P.O. BOX 87392
COLUMBIA, IL 62236                       CAROL STREAM, IL 60188               CAROL STREAM, IL 60188-7392




POWLES EMILY R                           POWLES, NANCY                        POWLESS, SUSAN E.
77 HOMBERG RD                            ADDRESS ON FILE                      415 REICHERT
GOLCONDA, IL 62938                                                            MARION, IL 62959




POYNER, GERALD                           POZNANOVICH, MICHAEL                 PPOOL & ROY PLLC
1061 CHAMBERLAIN STREET                  ADDRESS ON FILE                      200 NORTH MAIN STREET
GALESBURG, IL 61401                                                           MADISONVILLE, KY 42431




PRACTICE MANAGEMENT INFORMATION          PRACTICE MATCH                       PRACTICEMATCH CORPORATION
CORP                                     P.O. BOX 783755                      P.O. BOX 783755
4727 WILSHIRE BLVD                       PHILADELPHIA, PA 19178-3755          PHILADELPHIA, PA 19178
LOS ANGELES, CA 90010




PRADA-REID, DONNA                        PRADER, TOBIE                        PRADHAN, HEMANT
15 KAITLIN LN                            6461 WALSH RD                        840 MORNINGSIDE DR
MURPHY, NC 28906-8318                    ELLIS GROVE, IL 62241                SCHAUMBURG, IL 60173-2077




PRADO, FERNANDO                          PRAIRIE FARMS DAIRY INC              PRAIRIE FARMS DAIRY
345 SYCAMORE DR                          P.O. BOX 128                         1100 N BROADWAY
LEXINGTON, TN 38351                      OLNEY, IL 62450                      CARLINVILLE, IL 62626




PRAIRIE FARMS DAIRY                      PRAIRIE FARMS DAIRY                  PRAIRIE LAKES HOSPITAL
P.O. BOX 1020                            P.O. BOX 128                         401 9TH AVENUE NW
SOMERSET, KY 42502-0000                  OLNEY, IL 62450-0128                 WATERTOWN, SD 57201




PRAIRIE PLAYERS CIVIC THEATRE            PRAIRIE PLAYERS CIVIC THEATRE        PRAKASH, JAYWANT
P.O. BOX 831                             PO BOX 831                           ADDRESS ON FILE
GALESBURG, IL 61401-0000                 GALESBURG, IL 61401-0000




PRANGE, AMY B.                           PRANGE, GABRIEL                      PRANGE, JEANNE
ADDRESS ON FILE                          217 LAS OLAS                         342 EAST E. AVENUE P.O. BOX 21
                                         BELLEVILLE, IL 62221                 RADOM, IL 62876




PRANGE, SHERYL                           PRARIE FARMS                         PRASSER, ROSA
P.O. BOX 3                               1100 BROADWAY                        P.O. BOX 934
240 CHURCH STREET                        CARLINVILLE, IL 62626                LOGANDALE, NV 89021-0934
FULTS, IL 62244
PRATAPJI T. THAKOR, M.D. Case 20-10766-BLS
                                       PRATERDoc   6 D Filed 04/07/20
                                              AMELIA                    Page 1427 ofBOBBIE
                                                                             PRATER, 1969
602 W UNION AVE                        230 ROSE BEND ROAD                    281 AUGUST CIRCLE
STE B                                  CAMPTON, KY 41301                     LOWMANSVILLE, KY 41232
OSCEOLA, AR 72370




PRATER, CANDICE                       PRATER, CATHERINE G.                   PRATER, GENJI
171 SALYERS BRANCH                    404 VINE STREET EAST                   675 VOSS LANE
HUEYSVILLE, KY 41640                  FORT PAYNE, AL 35967                   HUNTINGDON, TN 38344




PRATER, GLEN                          PRATER, JAMIE F.                       PRATER, KELLY
1910 OLD HWY 51N                      105 W MAPLE ST P.O. BOX 534            4648 KANE HILL RD
ANNA, IL 62906                        COBDEN, IL 62920                       ELLIS GROVE, IL 62241




PRATER, KEVIN MILES                   PRATER, LOIS A.                        PRATER, MATTHEW
460 COUNTY ROAD 43                    225 RHYMER ROAD                        ADDRESS ON FILE
CEDAR BLUFF, AL 35959-4723            MCCLURE, IL 62957




PRATER, NOAH                          PRATER, SAMMY                          PRATER, SHEILA L.
1660 DOG WALK RD                      P.O. BOX 646                           ADDRESS ON FILE
ANNA, IL 62906                        ALLEN, KY 41601




PRATER, TERRI L.                      PRATHER, GENNA R.                      PRATHER, LUCAS
2802 CLANTON ST.                      1124 W WALKUP AVE                      ADDRESS ON FILE
BIG SPRING, TX 79720                  CARBONDALE, IL 62901




PRATHER, MELODY                       PRATSCHER, JENNIFER R.                 PRATT, ANDREA L.
ADDRESS ON FILE                       5113 W 167TH STREET                    ADDRESS ON FILE
                                      OAK FOREST, IL 60452




PRATT, ANDREA/665 CASH TRUSTEE        PRATT, BRIDGET A.                      PRATT, CAROL
ADDRESS ON FILE                       2810 MARTINIQUE AVENUE                 1430 WILLAMETTE ST PMB 278
                                      EUGENE, OR 97408                       EUGENE, OR 97401




PRATT, CHASSEDY K.                    PRATT, JOAN L.                         PRATT, JOY
23687 JENNY LANE                      844 8TH ST NE                          14691 HWY 22N
JERSEYVILLE, IL 62052                 MASSILLON, OH 44646                    LEXINGTON, TN 38351




PRATT, JOY                            PRATT, NIKI S.                         PRATT, RADONNA J.
2250 PALMER RD                        3881 CLINTON                           2020 HIGHWAY 121
LEXINGTON, TN 38351                   ABILENE, TX 79603                      HINESTON, LA 71438
PRATT, RALPH             Case 20-10766-BLS    DocL.6
                                       PRATT, ROY        Filed 04/07/20   Page 1428
                                                                               PRATT, of 1969
                                                                                      TERRY L.
1400 SEMINOLE RD.                       11115 MIDDLEBURG DECATURV               P.O. BOX 34
APPLE VALLEY, CA 92307                  ILLE RD                                 WESTLAKE, OR 97493
                                        SCOTTS HILL, TN 38374




PRAXAIR DISTRIBUTION INC                PRAXAIR DISTRIBUTION, INC               PRAXAIR DISTRIBUTION, INC.
DEPT CH 10660                           DEPT CH 10660                           7000 HIGH GROVE BOULEVARD
PALATINE, IL 60055                      PALATINE, IL 60055-0660                 BURR RIDGE, IL 60527




PRAY, WILLIAM                           PRAZMA, JOHN A.                         PRE PAK PRODUCTS, INC
120 CR 726                              26 OAKLAWN DR                           4055 OCEANSIDE BLVD STE L
BRYANT, AL 35958                        GRANITE CITY, IL 62040                  OCEANSIDE, CA 92056




PRECIADO, MELINDA J.                    PRECISE ELECTRICAL & FACILITIES         PRECISE SPECIALTIES CORPORATION
152 S 53RD ST 4                         SERVICES                                P.O. BOX 572
SPRINGFIELD, OR 97478                   202 PROSPECT ST                         HILLSBORO, IL 62049
                                        LOCK HAVEN, PA 17745




PRECISION BIOMEDICAL SERVICES, INC      PRECISION BUILDING SYSTEMS              PRECISION DRILLING COMPANY LP
P.O. BOX 930                            475 W 53RD PLACE                        10350 RICHMOND AVE
JENKS, OK 74037                         DENVER, CO 80216                        STE 700
                                                                                HOUSTON, TX 77042




PRECISION DYNAMICS CORP                 PRECISION DYNAMICS CORP                 PRECISION DYNAMICS CORP
4193 SOLUTIONS CENTER                   4193 SOLUTIONS CTR                      P.O. BOX 71549
CHICAGO, IL 60677-4001                  LOCKBOX 774193                          CHICAGO, IL 40694-1995
                                        CHICAGO, IL 60677-4001




PRECISION DYNAMICS CORP                 PRECISION DYNAMICS CORP                 PRECISION DYNAMICS CORP
P.O. BOX 71549                          P.O. BOX 71549                          PO BOX 71549
CHICAGO, IL 60694                       CHICAGO, IL 60694-1995                  CHICAGO, IL 60694




PRECISION LASER SPECIALIST INC          PRECISION MEDICAL, INC                  PRECISION PIPETTE, INC
DEPARTMENT 4924                         300 HELD DR                             2400 LAKE PARK DRIVE
CAROL STREAM, IL 60122-4924             NORTHAMPTON, PA 18067                   SUITE 105
                                                                                SMYRNA, GA 30080-8979




PRECISION SHOCKWAVE LITHO, PLLC         PRECKSHOT PROF. PHARMACY                PREDER, DEBRA C.
2428 W 2400 S                           5832 N. KNOXVILLE AVE.                  7010 57TH AVE 102
WEST HAVEN, UT 84401                    PEORIA, IL 61614                        KENOSHA, WI 53142




PREDICTIVE INDEX, THE                   PREECE, ALICE                           PREECE, DORRIS
ATTN ACCOUNTING                         99 QUAIL HOLLOW APT 115                 4276 BLACKLOG ROAD
101 STATION DR                          INEZ, KY 41224                          INEZ, KY 41224
WESTWOOD, MA 02090
PREECE, EVELYN          Case 20-10766-BLS
                                      PREECE,Doc
                                              GENE6      Filed 04/07/20   Page 1429 ofJUSTIN
                                                                               PREECE, 1969
P.O. BOX 1813                          99 QUAIL HOLLOW APT 115                 217 REDBUD SUBDIVISION
INEZ, KY 41224                         INEZ, KY 41224                          LOUISA, KY 41230




PREECE, KENT W.                        PREECE, MARIAH                          PREECE, RUTH
ADDRESS ON FILE                        ADDRESS ON FILE                         P.O. BOX 131
                                                                               PILGRIM, KY 41250




PREECE, SHARON R.                      PREECE, TAMARA A.                       PREECLAMPSIA FOUNDATION, INC
ADDRESS ON FILE                        ADDRESS ON FILE                         6905 N WICKHAM RD
                                                                               SUITE 302
                                                                               MELBOURNE, FL 32940




PREFERRED MEDICAL MARKETING CORP       PREFERRED MEDICAL PROD (D               PREFERRED MEDICAL SYSTEMS LLC
(PMMC)                                 P.O. BOX 100                            1921 APPLING ROAD
15720 BRIXHAM HILL AVE                 DUCKTOWN, TN 37326                      CORDOVA, TN 38016
STE 460
CHARLOTTE, NC 28277



PREFERRED MEDICAL SYSTEMS              PREFERRED PROFESSIONAL INSURANCE        PREFERRED PROFESSIONAL INSURANCE
SAMSUNG FINANCIAL SOLUTIONS            CO                                      COMPANY
P.O. BOX 911608                        11605 MIRACLE HILLS DR                  11605 MIRACLE HILLS DR.
DENVER, CO 80291-1608                  STE 200                                 STE 200
                                       OMAHA, NE 68154-4467                    OMAHA, NE 68154



PREGENZER BAYSINGER WIDEMAN AND        PREGNANCY MATTERS                       PREHN, MARGARET
SALE PC                                P.O. BOX 4001                           280 ADNES DR
2424 LOUISIANA BLVD NE                 CARBONDALE, IL 62902                    GLEN CARBON, IL 62034
STE 200
ALBUQUERQUE, NC 87110



PREMIER ANESTHESIA, LLC                PREMIER COMPANIES, THE                  PREMIER FIRE & SECURITY, INC.
2655 NORTHWINDS PARKWAY                102 N EVANSTON                          P.O. BOX 1037
ALPHARETTA, GA 30009                   ARLINGTON HEIGHTS, IL 60004             PADUCAH, KY 42002-1037




PREMIER GLOBAL SERVICES, INC.          PREMIER GLOBAL SERVICES, INC.           PREMIER HEALTHCARE SOLUTIONS INC
P.O. BOX 404351                        POB 404351                              5882 COLLECTIONS CENTER DR
ATLANTA, GA 30384-4351                 ATLANTA,                                CHICAGO, IL 60693
                                       ATLANTA, GA 30384-4351




PREMIER IMAGING, INC.                  PREMIER IMAGING/MEDICAL, INC            PREMIER MEDICAL INC
P.O. BOX 188                           POB 188                                 106 MISSIONS COURT
ROME, GA 30162                         ROME, GA 30162                          SUITE 401
                                                                               FRANKLIN, TN 37067




PREMIER MOBILE LITHOTRIPSY, LLC        PREMIER ORTHOPEDICS                     PREMIER PATHOLOGY SERVICES
P.O. BOX 102086                        380 WOODS COVE ROAD                     4313 ALDER PLACE
ATLANTA, GA 30368-2086                 SCOTTSBORO, AL 35768                    BELLEVILLE, IL 62226
PREMIER PHARMACY LABS Case
                      INC  20-10766-BLS
                                    PREMIERDoc  6 Filed
                                             PRODUCE ONE 04/07/20        Page 1430  ofSECURITY
                                                                              PREMIER  1969 LLC
P.O. BOX 6510                       4500 WILLOW PARKWAY                       1535 BRANDY PARKWAY
SPRING HILL, FL 34611               CLEVELAND, OH 44125                       STREAMWOOD, IL 60107




PREMIER SECURITY, INC                  PREMIER SPEAKERS BUREAU                PREMIERE CREDIT OF N.A. LLC
C/O CITIZENS BANK                      109 INTERNATIONAL DR                   P.O. BOX 19309
P.O. BOX 699                           STE 300                                INDIANAPOLIS, IN 46219
SPRINGFIELD, OR 97477                  FRANKLIN, TN 37061




PREMIERE CREDIT OF NORTH AMERICA LLC   PREMIERE CREDIT OF NORTH AMERICA LLC   PREMIERE CREDIT OF NORTH AMERICA LLC
2002 WELLESLEY BLVD                    P.O. BOX 19309                         P.O. BOX 24850
INDIANAPOLIS, IN 46219                 INDIANAPOLIS, IN 46219                 NASHVILLE, TN 37202




PREMIERE GLOBAL SERVICES               PREMIERE GLOBAL SERVICES               PREMIERE SPEAKERS BUREAU
P.O. BOX 404351                        P.O. BOX 404351                        109 INTERNATIONAL DR
ATLANTA, GA 30384-3521                 ATLANTA, GA 30384-4351                 STE 300
                                                                              FRANKLIN, TN 37067




PREMIUM MECHANICAL & AUTOMATION        PREMIUM MECHANICAL                     PREMIUM PAINTING
3185 N. HIGH ST                        & AUTOMATION, INC.                     STEVE HESTER
JACKSON, MO 63755                      3185 NORTH HIGH                        1135 CREEK DRIVE
                                       JACKSON, MO 63755                      WILLIAMSTON, NC 27892




PREMIUM RX NATIONAL, LLC               PRENDERGAST, CATHERINE                 PRENGEL, PENNY L.
15809 CRABBS BRANCH WAY                ADDRESS ON FILE                        ADDRESS ON FILE
ROCKVILLE, MD 20855




PRENTICE, MARK B.                      PREPAK PRODUCTS INC                    PREPURA, MICHAEL R.
801 AZALEA SPGS CT                     4055 OCEANSIDE BLVD STE L              7736 W 163RD ST
WOODSTOCK, GA 30189                    OCEANSIDE, CA 92056-5821               TINLEY PARK, IL 60477




PREPURA, SHARON A.                     PRESBYTERIAN HEALTH PLAN               PRESBYTERIAN HEALTH PLAN
7736 W 163RD STREET                    ATTN: FINANCIAL RECOVERY               P.O. BOX 27489
TINLEY PARK, IL 60477                  P O BOX 27561                          ALBUQUERQUE, NM 87125
                                       ALBUQUERQUE, NM 87125




PRESBYTERIAN HEALTH PLANS              PRESBYTERIAN HEALTH                    PRESBYTERIAN HEALTHCARE SERVICES
P.O. BOX 27489                         ATTN: SUBROGATION DEPT                 1100 CENTRAL AVE. SE
ALBUQUERQUE, NM 87125-7489             P.O. BOX 27489                         ALBUQUERQUE, NM 87106
                                       ALBUQUERQUE, NM 87125




PRESCHER, AMANDA J.                    PRESCOTT, DEWEY R.                     PRESCOTTS INC
ADDRESS ON FILE                        1824 E MAIN ST                         18940 MICROSCOPE WAY
                                       GALESBURG, IL 61401                    MONUMENT, CO 80132
                       Case 20-10766-BLS
PRESCRIPTION SERVICES, INC           PRESLEYDoc  6 A Filed 04/07/20
                                              NANCY                    Page 1431  of LATRINA
                                                                            PRESLEY, 1969
1002 S. MAIN                         4805 KASKASKIA RD                       1610 LINCOLN STREET
BIG SPRING, TX 79720                 WATERLOO, IL 62298                      NORTH CHICAGO, IL 60064




PRESS GANEY ASSOCIATES INC           PRESS GANEY ASSOCIATES INC              PRESSACCO, GAIL
BOX 88335                            P O BOX 88335                           1241 BORDEN AVE
MILWAUKEE, WI 53288-0335             MILWAUKEE, WI 53288-0335                MASSILLON, OH 44647




PRESSLEY JOHN A                      PRESSLEY, JIMMY D.                      PRESTAGE, GREGORY
3025 LICK CREEK RD                   1269 WELLS RD                           ADDRESS ON FILE
BUNCOMBE, IL 62912                   MARBLE, NC 28905




PRESTIGE BUSINESS EQUIPMENT          PRESTON EVA N                           PRESTON HOLLOW CAPITAL, LLC
7220 NORH LINDBERGH                  123 LANDING CIRCLE                      1717 MAIN STREET
STE 12                               HAZEL GREEN, AL 35750                   SUITE 3900
HAZELWOOD, MO 63042                                                          DALLAS, TX 75201




PRESTON MEMORIAL HOSPITAL            PRESTON, BRANDY C.                      PRESTON, DERDEN
150 MEMORIAL DRIVE                   ADDRESS ON FILE                         P O BOX 2521
KINGWOOD, WV 26537                                                           DEMING, NM 88031




PRESTON, JESSICA D.                  PRESTON, MELINDA                        PRESTON, RAY
202 EAST FRANKLIN STREET             ADDRESS ON FILE                         14841 TRUMBULL AVE
LOUISA, KY 41230                                                             MIDLOTHIAN, IL 60445




PRESTON, SANDY I.                    PRESTON, TIMOTHY                        PRESTON, TONYA L.
1605 WILSON COURT                    P.O. BOX 103                            619 CAYUGA STREET
ZION, IL 60099                       FORT GAY, WV 25514-0103                 SANTA CRUZ, CA 95062




PRESTONS MEDICAL WASTE DISPOSAL      PRESTONS MEDICAL WASTE DISPOSAL         PRESTOX
546 N HIGHWAY 18                     P.O. BOX 911354                         P.O. BOX 13848
VEHO, UT 84782                       ST GEORGE, UT 84791                     READING, PA 19612-3848




PRESTWOOD, CHARLES                   PRESTWOOD, LINDA S.                     PRESTWOOD, MEGAN N.
147 HILLVIEW APPARTMENT DRIVE        63 LAKESITE DRIVE APT 29                35 GARDEN DR
MCKENZIE, TN 38201                   SYLVANIA, AL 35988                      SYLVANIA, AL 35988




PRETZER, RICHARD                     PREVEDEL, MICHELLE                      PREWITT, ANGELA
ADDRESS ON FILE                      8 WARDELL CT                            961 PURDY RD
                                     ROCK SPRINGS, WY 82901-7248             SELMER, TN 38375-1844
PREWITT, JOSEPHINE M.   Case 20-10766-BLS
                                      PREZIO Doc  6 INCFiled 04/07/20
                                             HEALTH                     Page 1432
                                                                             PREZIOof 1969INC
                                                                                   HEALTH,
2200 N. 13TH STREET                     P.O. BOX 674414                      25175 DEQUINDRE ROAD
HERRIN, IL 62948-3022                   DETROIT, MI 48267-4414               MADISON HEIGHTS, MI 48071-4240




PRIBANIC, ROBERT                        PRIBICH, MOLLY                       PRICE PHILLIP L
2988 FALCON RIDGE CR                    4854 RONDALE                         2678 LINCOLN PARK DR
CANTON, OH 44708                        MASSILLON, OH 44646                  GALESBURG, IL 61401




PRICE SHANNON                           PRICE, BOBBIE                        PRICE, CASEY B.
229 LITTLE STRUGEON CREEK               ADDRESS ON FILE                      ADDRESS ON FILE
BOONEVILLE, KY 41314




PRICE, CASSIE                           PRICE, CHARITY L.                    PRICE, CHELSEA N.
ADDRESS ON FILE                         67 ROAD 955                          P.O. BOX 2374
                                        VALLEY HEAD, AL 35989                BIG SPRING, TX 79721




PRICE, DANIELLE                         PRICE, EADIE D.                      PRICE, ELIZABETH A.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




PRICE, GEORGIA                          PRICE, JESSICA                       PRICE, JUANITA
4465 FOREST GLEN AVE NW                 1282 SANDY RIDGE RD                  P.O. BOX 433
MASSILLON, OH 44647                     ROBERSONVILLE, NC 27871              DUCKTOWN, TN 37326




PRICE, LAURA M.                         PRICE, LAURIE                        PRICE, MANDY N.
ADDRESS ON FILE                         3005 ASH AVE                         13058 S WOOD ST
                                        GRANITE CITY, IL 62040               BLUEISLAND, IL 60406




PRICE, PAULA                            PRICE, RENEA S.                      PRICE, RENEA S.
ADDRESS ON FILE                         58 COUNTRY LANE                      ADDRESS ON FILE
                                        PLYMOUTH, NC 27962




PRICE, SCOTT W.                         PRICE, SHARON L.                     PRICE, SHELBY K.
ADDRESS ON FILE                         3538 BANYAN STREET NW                ADDRESS ON FILE
                                        MASSILLON, OH 44646




PRICE, SUMNER S.                        PRICE, TAMARA D.                     PRICE, VIVIAN FAYE
P.O. BOX 911                            ADDRESS ON FILE                      540 KOURT DR
LAS VEGAS, NM 87701                                                          EUGENE, OR 97404
PRICE, WILLIAM L.       Case 20-10766-BLS     DocNANCY
                                      PRICEHORN,   6 Filed 04/07/20   Page 1433  of 1969
                                                                           PRICHARD LAWNCARE INC
THE ESTATE OF 32351 PICKNELL ST       122 E 2ND ST                          P.O. BOX 5234
COTTAGE GROVE, OR 97424               REAR                                  ASHLAND, KY 41102
                                      DOVER, OH 44622-2920




PRICKETT, RAYMOND                    PRIDDY, ALLISON R.                     PRIDDY, MARTHA
34331 N WHITE CLOVER CT              ADDRESS ON FILE                        100 PINEWOOD DR
ROUND LAKE, IL 60073                                                        JACKSON, TN 38305-9168




PRIDMORE, RYAN                       PRIESS, TIMMOTHY                       PRIEST, JOEY
2730 WALLACE AVENUE NE               7179 VIEWPOINT RD                      280 ROCK RIDGE ROAD
FORT PAYNE, AL 35967                 APTOS, CA 95003                        VALLEY HEAD, AL 35989




PRIETO, ARIEL                        PRILLAMAN, JOAN E.                     PRIMARY CARE MEDICAL CTR
ADDRESS ON FILE                      ADDRESS ON FILE                        P O BOX 1984
                                                                            NASHVILLE, TN 37202




PRIMARY HEALTH CARE                  PRIMARY SYSTEMS, INC                   PRIMARY SYSTEMS,INC
P.O. BOX 478                         4000 GREEN PARK RD                     4000 GREEN PARK ROAD
MARFA, TX 79843-0478                 ST LOUIS, MO 63125                     ST LOUIS, MO 63125




PRIME OPTIX, LLC                     PRIME POWER SRVICES, INC.              PRIME POWER SRVICES, INC.
24000 ALICIA PARKWAY 17 SUITE 263    8225 TROON CIRCLE                      8225 TROON CR
MISSION VIEJO, CA 92691              AUSTELL, GA 30168                      AUSTELL, GA 30168




PRIMECARE MEDICAL GROUP OF DESERT    PRIMER, ALFONZO                        PRIMETIME HEALTH PLAN
VALLEY                               1909 FAIRFIELD RD                      P O BOX 6905
DESERT VALLEY MEDICAL GROUP          LINDENHURST, IL 60046                  ATTN: CLAIMS DEPT
16850 BEAR VALLEY RD                                                        CANTON, OH 44706-0905
VICTORVILLE, CA 92395



PRIMETIME HEALTH PLAN                PRIMUS ORTHOPEDICS, S.C.               PRINCE AMY
P.O. BOX 6905                        18660 GRAPHICS DR., STE 100            1898 FOUNTAINBLEU DRIVE
ATTN: CLAIMS DEPT                    TINLEY PARK, IL 60477                  WORDEN, IL 62097
CANTON, OH 44706-0905




PRINCE, ALMA J.                      PRINCE, ANGEL M.                       PRINCE, ANGEL
P.O. BOX 568                         1105 S. MECHANIC ST. APT A             1105 S MECHANIC APT A
ALAMO, NV 89001                      MARION, IL 62959                       MARION, IL 62959




PRINCE, BONNIE                       PRINCE, CARRIE J.                      PRINCE, JOANNE
1915 80TH STREET                     1013 KENNEDY STREET                    1213 ANTHONY RD
LUBBOCK, TX 79423                    LOUISA, KY 41230                       AUGUSTA, GA 30904
PRINCE, TINA              Case 20-10766-BLS    Doc
                                        PRINCIPAL    6 Filed
                                                  FINANCIAL    04/07/20
                                                            GROUP            Page 1434  of 1969
                                                                                  PRINCIPAL LIFE INS CO
2611 JACQUELYN LN                         P.O. BOX 9394                            P.O. BOX 10826
WAUKEGAN, IL 60087                        DES MOINES, IA 50306-9394                CLEARWATER, FL 33757-8826




PRINCIPAL LIFE INS CO                     PRINCIPAL LIFE INSURANCE CO              PRINCIPAL MUTUAL INS
PRINCIPAL FINANCIAL GROUP                 P.O. BOX 603516                          P.O. BOX 10826
P.O. BOX 9394                             CHARLOTTE, NC 28260-3516                 CLEARWATER, FL 33757-8826
DES MOINES, IA 50306-9394




PRINCIPAL MUTUAL INS                      PRINCIPE, JULIE                          PRINDIVILLE, BARBARA A.
PO BOX 10826                              618 COUNTRY CLUB                         14525 WALDEN CT
CLEARWATER, FL 33757-8826                 STANSBURY PARK, UT 84074                 G3
                                                                                   OAK FOREST, IL 60452




PRING, KRYSTAL A.                         PRINT & PLAY                             PRINT CRAZEE
2201 DIAMOND AVE                          801 E WILLIAMS ST                        P.O. BOX 128
BARSTOW, CA 92311                         BARSTOW, CA                              NASHVILLE, IL 62263
                                          BARSTOW, CA 92311




PRINT SHOP, THE                           PRINTCO                                  PRINTCO
PIECES OF LEARNING, INC                   108 S 5TH STREET                         2609 EAST END DRIVE
1112 N CARBON ST, STE A                   ALPINE, TX 79830                         HUMBOLDT, TN 38343
MARION, IL 62959




PRINTING SOLUTIONS                        PRIODE, DARRELL                          PRIOR, REGINA
108 E. WILLIAMS                           1931 HWY 1185                            1809 MEADOW LANE
BARSTOW, CA 92311                         LOUISA, KY 41230                         EDWARDSVILLE, IL 62025




PRIORITY GLASS                            PRIORITY HEALTHCARE DIST DBA             PRIORITY HEALTHCARE DIST INC
P O BOX 1316                              CURASCRIPT SD                            DBA CURASCRIPT SD
WYNNE, AR 72396                           P.O. BOX 978510                          P.O. BOX 978510
                                          DALLAS, TX 75397-8510                    DALLAS, TX 75397-8510




PRIORITY HEALTHCARE DISTRIBUTION INC      PRIORITY HEALTHCARE DISTRIBUTION, INC    PRIORTY HEALTH MANAGED BENEFITS
P O BOX 978510                            DBA: CURASCRIPT SPECIALITY DIST          1705 RELIABLE PKWY
DALLAS, TX 75397-8510                     P.O. BOX 978510                          ATTN: OVERPAYMENT REFUNDS
                                          DALLAS, TX 75397-8510                    CHICAGO, IL 60686




PRISCILLA STEELMAN                        PRISE DESIGN GROUP                       PRISMA GRANADOS
1074 WAGON TRAIL                          132 EAST BROADWAY SUITE 423              1101 N 8TH ST 87
MESQUITE, NV 89034                        EUGENE, OR 97401                         DEMING, NM 88030




PRISTINE MICROSCOPE SERVICE               PRITCHARD LAWN CARE                      PRITCHARD, ALAN J.
6767 GREVILLEA LN                         2485 RUE HAMMER RD                       400 E 5TH ST
WEST JORDAN, UT 84081                     CEDAR GROVE, TN 38321                    SANDOVAL, IL 62882
PRITCHARD, CHRISTINE M. Case 20-10766-BLS   DocLAVERSHA
                                      PRITCHARD, 6 FiledR. 04/07/20      Page 1435  of 1969
                                                                              PRITCHARD, SHAWN M.
1512 OLD FARMINGTON RD                ADDRESS ON FILE                          1539 E LOSEY ST
WATKINSVILLE, GA 30677                                                         GALESBURG, IL 61401




PRITCHETT & HULL ASSOC               PRITCHETT WENDI K                         PRITCHETT, BRIAN
3440 OAKCLIFF RD. NE                 12091 NORMAN RD                           100 HILLCREST CT
SUITE 126                            MARION, IL 62959                          GOREVILLE, IL 62939
ATLANTA, GA 30340-3079




PRITCHETT, JO ANN                    PRITCHETT, JULIE                          PRITCHETT, SYDNEY C.
7013 STALLION DR                     3614 CAROLINA ST NW                       8160 STUHLDREHER ST. NW
EDWARDSVILLE, IL 62025               MASSILLON, OH 44646                       MASSILLON, OH 44646




PRITZKAU, TIFFANY R.                 PRIVATE HENRY OSENDORD POST 1300,         PRM OF CRENSHAW LLC
5229 OSWEGO ROAD N                   VETERANS OF FOREIGN WAS OF THE US         CRENSHAW COMMUNITY HOSPITAL
TOOELE, UT 84074                                                               101 HOSPITAL CR
                                                                               LUVERNE, AL 36049




PRNNINGTON, MAY                      PRO GLASS & PAINT INC                     PRO PUMP INC
647 GREEN BRANCH                     211 W 1ST SOUTH STE B                     3750 ROOSEVELT ST
WEBBVILLE, KY 41180                  MESQUITE, NV 89027                        GARY, IN 46408




PRO, CARL                            PROASSURANCE CASUALTY CO                  PROASSURANCE INDEMNITY COMPANY INC
P.O. BOX 2523                        P.O. BOX 952295                           P.O. BOX 952315
OVERTON, NV 89040                    DALLAS, TX 75395-2295                     DALLAS, TX 75395-2315




PROASSURANCE                         PROBO MEDICAL INC                         PROBST, RODNEY
100 BROOKWOOD PL                     PROBO MEDICAL LLC                         P.O. BOX 1973
BIRMINGHAM, AL 35209                 75 REMITTANCE DR DEPT 6169                OVERTON, NV 89040
                                     CHICAGO, IL 60675-6169




PROCEDURE PRODUCTS                   PROCESSA, VONZELL                         PROCHAZKA, KELSEY
1801 WEST FOURTH PLAIN BLVD          12745 W WAKEFIELD DR                      ADDRESS ON FILE
VANCOUVER, WA 98660                  BEACH PARK, IL 60083




PROCHNOW, BRYAN L.                   PROCISION BORING INC                      PROCKNO, LAWRENCE
ADDRESS ON FILE                      40 NOLL ST                                844 KENMORE BLVD
                                     UNIT B                                    AKRON, OH 44314
                                     WAUKEGAN, IL 60085




PROCTOR, CHRIS                       PROCTOR, CHRISTOPHER T.                   PROCTOR, EMELIA
11118A LAKE HAMILTON LN              ADDRESS ON FILE                           447 SPENCER ST
MARION, IL 62959                                                               BETHALTO, IL 62010
PROCTOR, JUDY           Case 20-10766-BLS   Doc
                                      PROCTOR,   6 Filed 04/07/20
                                               LAVENNA                      Page 1436 of 1969
                                                                                 PROCTOR, RICHARD
294 CRESTVIEW                          349 COUNTY RD 661                         150 CR 357
TOOELE, UT 84074                       WYNNE, AR 72396                           WYNNE, AR 72396




PROCTOR, ROBERT                        PRODIGY HEALTH SUPPLIER CORPORATION       PRO-ED, INC
2354 21ST ST NE                        P.O. BOX 679826                           P.O. BOX 679029
CANTON, OH 44705                       DALLAS, TX 75267-9826                     DALLAS, TX 75267-9029




PROEFKE, RICK                          PROFESSIONAL ACCOUNT SERVICES INC         PROFESSIONAL BENEFIT ADMI
2952 SHANNON CIR                       P.O. BOX 188                              PO BOX 4687
PALM HARBOR, FL 34684                  BRENTWOOD, TN 37024-0188                  OAK BROOK, IL 60522-4687




PROFESSIONAL BENEFIT ADMIN             PROFESSIONAL BENEFIT ADMINISTRATORS       PROFESSIONAL CREDIT MANAGEMENT INC
P.O. BOX 4687                          900 JORIE BLVD                            P.O. BOX 4037
OAK BROOK, IL 60522-4687               SUITE 250                                 JONESBORO, AR 72403
                                       OAK BROOK, IL 60523




PROFESSIONAL CREDIT SERVICE            PROFESSIONAL EDUCATION CENTER             PROFESSIONAL FINANCE COMPANY, INC.
P.O. BOX 7637                          P.O. BOX 7447                             5754 WEST 11TH STREET
SPRINGFIELD, OR 97475                  CHICO, CA 95927-7447                      SUITE 100
                                                                                 GREELEY, CO 80634




PROFESSIONAL MEDIA RESOURCES           PROFESSIONAL MEDIA RESOURCES              PROFESSIONAL MEDICAL BILLING
P.O. BOX 460380                        P.O. BOX 460380                           P.O. BOX 13324
ST LOUIS, MO 63146-7380                ST LOUIS, MO 63146-7380                   FORT WAYNE, IN 46868-3324




PROFESSIONAL OFFICE SERVICES           PROFESSIONAL OFFICE SERVICES              PROFESSIONAL PRODUCTS INC (FL)
P.O. BOX 450                           P.O. BOX 450                              P.O. BOX 589
WATERLOO, IA 50704                     WATERLOO, IA 50704-0450                   DEFUNIAK SPRING, FL 32433




PROFESSIONAL RADIOLOGICAL IMAGING,     PROFESSIONAL SALES AND SERVICES LC        PROFESSIONAL SECURITY INSURANCE
LTD                                    1720 WEST INDIANA AVE                     COMPANY
17 JUNCTION DR 248                     SUITE C                                   806 NORTH SCOTTSDALE RD
GLEN CARBON, IL 62034                  SALT LAKE CITY, UT 84104                  STE 300
                                                                                 SCOTTSDALE, AZ 85257



PROFESSIONAL SECURITY INSURANCE        PROFESSIONAL SERVICE INDUSTRIES INC       PROFESSIONAL TRANSCRIPTION CO.
COMPANY                                P.O. BOX 74008418                         511 EDGEGROVE
P.O. BOX 52979                         CHICAGO, IL 60674-8418                    STATEN ISLAND, NY 10312-2858
ATLANTA, GA 30355-0979




PROFITT, WALTER                        PROFORMA ALBRECHT & CO.                   PROGRASS, INC
10 PROFITT PLACE HWY 203               P.O. BOX 640814                           29895 SW KINSMAN RD
HAZEL GREEN, KY 41332                  CINCINNATI, OH 45264-0814                 WILSONVILLE, OR 97070
                      Case 20-10766-BLS
PROGRESSIVE BUSINESS PUBLICATION           Doc 6BUSINESS
                                    PROGRESSIVE     Filed PUBLICATIONS
                                                          04/07/20 Page 1437   of 1969
                                                                        PROGRESSIVE   BUSINESS
300 MAIN ST                         370 TECHNOLOGY DRIVE                P.O. BOX 3014
P.O. BOX 992                        P.O.BOX 3019                        MALVERN, PA 19355-9790
VESTAL, NY 13851                    MALVERN, PA 19355




PROGRESSIVE HEALTH SYSTEMS           PROGRESSIVE INSURANCE                PROGRESSIVE INSURANCE
PEKIN HOSPITAL                       316 NORTH BROAD ST                   725 BROADWAY
600 SOUTH 13TH STREET                WINDER, GA 30680                     ATTN: REFUNDS
PEKIN, IL 61554-5098                                                      ALBANY, NY 12207




PROGRESSIVE INSURANCE                PROGRESSIVE MEDICAL INC              PROGRESSIVE MEDICAL INC
ATTN:JOSE, 4080 BOULDER HWY          P.O. BOX 771410                      P.O. BOX 771410
LAS VEGAS, NV 89121                  ST LOUIS, MO 63177-2410              ST. LOUIS, MO 63177-2410




PROGRESSIVE MEDICAL INC              PROGRESSIVE MEDICAL INSTRUMENT       PROGRESSIVE MEDICAL, INC.
PO BOX 771410                        2205 WATTERSON TRAIL                 997 HORAN DRIVE
ST LOUIS, MO 63177-2410              LOUISVILLE, KY 40299                 FENTON, MO 63026




PROGRESSIVE SPECIALTY INSURANCE      PROGRESSIVE                          PROGRESSIVE
COMPANY                              P.O. BOX 512926                      P.O. BOX 512926
C/O J. MATTHEW PARNELL, PARNELL &    LOS ANGELES, CA 90051                LOS ANGLES, CA 90051
PARNELL, P.A.
P.O. BOX 2189
MONTGOMERY, AL 36102-2189

PROGRESSIVE                          PROIETTY, CYNTHIA                    PROJECT GRADUATION-ALPINE
PO BOX 512926                        37875 ALABAMA HWY 75                 C/O LORI CROSS
LOS ANGELES, CA 90051                FYFFE, AL 35971-3639                 P.O. BOX 447
                                                                          ALPINE, TX 79831




PRO-LAB DIAGNOSTICS                  PROLINE SOLUTIONS INC                PROM, KELSEY S.
21 CYPRESS BLVDD                     18 SARGENT PL                        2129 SILVERSTONE DRIVE
SUITE 1070                           MT VERNON, NY 10550                  CARPENTERSVILLE, IL 60110
ROUND ROCK, TX 78665-1034




PROMBO, ROBIN                        PROMETHEUS GROUP INC., THE           PROMETHEUS LABORATORIES INC
ADDRESS ON FILE                      ONE WASHINGTON ST                    P.O. BOX 894115
                                     STE 3171                             LOS ANGELES, CA 90189-4115
                                     DOVER, NH 03820




PROMETHEUS LABORATORIES, INC         PROMETHEUS                           PROMISSON, RONALD E.
P.O. BOX 894115                      PO BOX 894115                        280 E HURST ST
LOS ANGELES, CA 90189-4115           LOS ANGELES, CA 90189                BUSHNELL, IL 61422




PRONGER SMITH MEDICAL CARE, LLP      PRONGER, OLIVER M.                   PROPAC IMAGES
2320 HIGH STREET                     2221 W 123RD ST                      P.O. BOX 1969
BLUE ISLAND, IL 60406-2426           BLUE ISLAND, IL 60406                ALBERTVILLE, AL 35950-6969
PROPER, TONI G.           Case 20-10766-BLS   Doc DISTRIBUTION,
                                        PROPHARMA 6 Filed 04/07/20
                                                                LLC.         Page 1438 of 1969
                                                                                  PROPHYSICS INNOVATIONS,INC.
4808 A HARVARD AVE                       11005 DOVER STREET                        P.O. BOX 809153
MIDLAND, TX 79703                        SUITE 1000                                CHICAGO, IL 60680-9153
                                         WESTMINSTER, CO 80021




PROSEC PROTECTION SYSTEMS                PROSIDYAN INC                             PROSISE, LISA K.
409 JYCE KILMER AVE STE 307              41 SPRING ST SUITE 107                    ADDRESS ON FILE
NEW BRUNSWICK, NJ 08901                  NEW PROVIDENCE, NJ 07974




PROSISE, LOIS                            PROSPECTIVE PAYMENT SPECIALISTS, INC      PROSPEROSO, VELMA
ADDRESS ON FILE                          1600 ROSECRANS AVENUE                     2848 ROSEBUD RD
                                         BLDG 7, 4TH FLOOR                         LOGANVILLE, GA 30052-2216
                                         MANHATTAN BEACH, CA 90266-3708




PROTECH SECURITY INC                     PROTECT OUR LOCAL HOSPITALS AND           PROTECTION ONE
P.O. BOX 74260                           HEALTH CARE                               P.O. BOX 219044
CLEVELAND, OH 44194-4260                 455 CAPITOL MALL - STE 600                KANSAS CITY, MO 64121-9044
                                         ATTN: THOMAS W HILTACHK-TREASURER
                                         SACAMENTO, CA 95814



PROTEK SECURITY & FIRE SYSTEMS           PROTHEROE, DOMENICA                       PROTO, MONICA
P.O. BOX 308                             1268 HIDDEN CREST CT                      99 BENCHVIEW DR
STANTON, KY 40380                        MESQUITE, NV 89034                        TOOELE, UT 84074




PRO-TOUCH NURSES INC                     PROVATION MEDICAL INC.                    PROVENZANO, ANTHONY R.
1701 LEGACY DR                           P.O. BOX 857981                           1144 BROADWAY AVE
SUITE 1100                               MINNEAPOLIS, MN 55485-7981                BARSTOW, CA 92311
FRISCO, TX 75034




PROVIDENCE BANK & TRUST                  PROVIDENCE HEALTH PLAN                    PROVIDENCE HEALTH PLAN
7801 S STATE ST                          3601 SW MURRAY BLVD                       ATTN: REFUND DEPT
CHICAGO, IL 60619                        BEAVERTON, OR 97005                       P.O. BOX 3125
                                                                                   PORTLAND, OR 97208-3125




PROVIDENCE HEALTH PLAN                   PROVIDENCE HEALTH PLANS                   PROVIDENCE HEALTHCARE GR
P.O. BOX 3125                            P.O. BOX 6456                             P.O. BOX 3125
PORTLAND, OR 97208-3125                  PORTLAND, OR 97208-5000                   ATTN. OREGON DIVISION
                                                                                   PORTLAND, OR 97228-6456




PROVIDENCE MEDICAL TECHNOLOGY INC        PROVIDENCE MEDICARE EXTRA                 PROVIDENCE PPO
P.O. BOX 74008771                        P.O. BOX 3125                             P.O. BOX 3236
CHICAGO, IL 60674-7400                   PORTLAND, OR 97208-3125                   PORTLAND, OR 97208




PROVIDENCE PREFERRED                     PROVIDENCE ST VINCENT MED CTR             PROVIDENT AMERICAN LIFE
UNIT 90 P.O. BOX 5000                    9205 SW BARNES RD                         P.O. BOX 26580
PORTLAND, OR 97208-5000                  PORTLAND, OR 97225                        AUSTIN, TX 78755
PROVIDENT AMERICAN LIFECase 20-10766-BLS    DocAMERICAN
                                     PROVIDENT    6 Filed  04/07/20
                                                        LIFE          Page 1439  of 1969
                                                                           PROVIDENT AMERICAN LIFE
P.O. BOX 30010                       PO BOX 26580                           PO BOX 30010
AUSTIN, TX 78755                     AUSTIN, TX 78755                       AUSTIN, TX 78755




PROVIDENT LIFE & ACCIDENT            PROVIDER PLUS INC                      PROVIDERTRUST INC
VOLUNTARY WORKPLACE BEN              P.O. BOX 771260                        P.O. BOX 306121
P.O. BOX 403748                      ST LOUIS, MO 63177-2260                NASHVILLE, TN 37230-6121
ATLANTA, GA 30384-3748




PROVIDIAN LAW GROUP LLC              PROVISIONS GROUP LLC                   PROVOST, DEBRA
4890 W KENNEDY BLVD, STE 950         604 W MAIN ST                          404 CATAWBA RD
TAMPA, FL 33609                      STE 108                                NORTH AUGUSTA, SC 29841
                                     FRANKLIN, TN 37064




PROVOW, RONNIE                       PROWERS MEDICAL CENTER                 PROWS, CAMILLE
765 BOULEVARD DE CANNES              401 KENDALL DRIVE                      ADDRESS ON FILE
EDWARDSVILLE, IL 62025               LAMAR, CO 81052-3993




PROXMIRE, BETTY J.                   PRS- ATTN: MSC 410834                  PRS ATTN: MSC410836
2611 PAMELITA DR NE                  P.O. BOX 415000                        P.O. BOX 410836
DEMING, NM 88030                     NASHVILLE, TN 37241-0834               NASHVILLE, TN 37241




PRS OBO UMR                          PRS                                    PRS
P.O. BOX 415000                      ATTN MSC 410836                        ATTN: MSC 410836
NASHVILLE, TN 37241-0836             P.O. BOX41500                          P.O. BOX 415000
                                     NASHVILLE, TN 37241-0836               NASHVILLE, TN 37241-0836




PRS                                  PRS                                    PRS
ATTN: MSC 410837                     MSC 410836                             P.O. BOX 41500
P.O. BOX 415000                      P.O. BOX 415000                        ATTN MSC 410836
NASHVILLE, TN 37241-0837             NASHVILLE, TN 37241                    NASHVILLE, TN 37241-0836




PRS                                  PRS                                    PRS
P.O. BOX 41500                       P.O. BOX 415000                        P.O. BOX 415000
NASHVILLE, TN 37241-0834             MSC 410834                             NASHVILLE, TN 37241-0836
                                     NASHVILLE, TN 37241




PRUDEN, SHARRI                       PRUDEN, TERRY                          PRUDENT PUBLISHING COMPANY, INC.
829 NORTH GLENEAGLE COURT            2005 LEBANON LOOP                      PO BO 360
TOOELE, UT 84074                     SARDIS, TN 38371                       RIDGEFIELD PARK, NJ 07660-0360




PRUETT, KIRK MICHAEL                 PRUETT, RICHARD                        PRUETT, SONJA L.
4770 SCENIC DR                       270 WOODY DR                           100 NORTH GRAPEVINE RD APT 3R
EUGENE, OR 97404-0000                ATHENS, GA 30606-3232                  MESQUITE, NV 89027
PRUITT, EDITH              Case 20-10766-BLS
                                         PRUITT, Doc  6 W. Filed 04/07/20
                                                 NETTIE                         Page 1440
                                                                                     PRUITT,of 1969L.
                                                                                             TAMMY
8680 HUNTINGTON RD                          14457 LINCOLN AVE                         2730 CHAYES COURT
MONTGOMERY, AL 36117                        DOLTON, IL 60419                          HOMEWOOD, IL 60430




PRUITT, WESLEY                              PRUNEAU, MICHAEL                          PRUNEDA, HEATHER
406 MANOR LN                                402 POPLAR ST APT A                       4048 EAGLE VIEW DR
BIG SPRING, TX 79720                        POPLAR BLUFF, MO 63901                    EUGENE, OR 97405-6288




PRUNTY, LORI                                PRYOR JAMI L                              PRYOR JANICE
418 CEDAR STREET                            801 N MADISON APT 6                       ADDRESS ON FILE
CENTRALIA, IL 62801-4018                    LITCHFIELD, IL 62056




PRYOR, CATHY                                PRYOR, JAMIE                              PRYOR, JANICE D.
545 PHILLIPS 251 RD                         HRMC                                      ADDRESS ON FILE
LEXA, AR 72355                              HELENA, AR 72342




PRZYBYLSKI, TOMASZ                          PRZYBYSZ, MEGAN A.                        PS INDUSTRIES INCORPORATED
424 RED CEDAR ROAD                          ADDRESS ON FILE                           1150 SOUTH 48TH ST
LAKE VILLA, IL 60046                                                                  GRAND FORKS, ND 58201




PSG PROFESSIONAL SERVICES , INC             PSYCHE SYSTEMS CORP                       PSYCHEMEDICS CORPORATION
P.O. BOX 663                                25 BIRCH STREET BLDG B                    P.O. BOX 4163
FARMINGTON, UT 84025                        SUITE 200                                 WOBURN, MA 01888-4163
                                            MILFORD, MA 01757




PSYCHIATRIC MEDICAL CARE, LLC               PSYCHIATRIC MEDICAL CARE, LLC             PTASZNIK, MAREK J.
P.O. BOX 734606                             P.O. BOX 734606                           ADDRESS ON FILE
DALLAS, TX 75373                            DALLAS, TX 75373-4606




PUBLIC COMPANY ACCOUNTING                   PUBLIC HEALTH DIVISION, FISCAL SERVICES   PUBLISHING CONCEPTS INC
OVERSIGHT BOARD                             P.O. BOX 14260                            P O BOX 17427
P.O. BOX 418631                             PORTLAND, OR 97293-0260                   LITTLE ROCK, AR 72222
BOSTON, MA 02241-8631




PUCEL, LEE                                  PUCKETT, CHERYL R.                        PUCKETT, EMILEE C.
5810 N WOODLAND DR                          5340 CHURCH RD                            8221 LENOX CREEKSIDE DRIVE UNIT 8
MCHENRY, IL 60051                           SALEM, IL 62881                           CANE RIDGE, TN 37013




PUCKETT, INGE                               PUCKETT, KEVIN                            PUCKETT, LISA M.
ADDRESS ON FILE                             380 COUNTY ROAD 191                       789 SUGAR CAMP RD
                                            CROSSVILLE, AL 35962                      SALYERSVILLE, KY 41465
PUCKETT, WILLIAM J.       Case 20-10766-BLS
                                        PUELLO,Doc 6T. Filed 04/07/20
                                               KELLY                        Page 1441  of 1969
                                                                                 PUGH, CYNTHIA
410 ALLEN TOWN                           ADDRESS ON FILE                         793 RANGE CEMETERY RD
HARRISBURG, IL 62946                                                             REPTON, AL 36475-8601




PUGH, WILLIE L.                          PUGMIRE, BRIANNA                        PUIG, LUIS
100 S. HAINES STREET                     ADDRESS ON FILE                         117 LONG LEAF LN
WILLIAMSTON, NC 27892                                                            GREENVILLE, AL 36037




PUIG, ROBERTO                            PULA LEGAL INTERPRETING NTWK            PULIDO, SATZY C.
1503 W ESTES AVE                         17701 SO. AVALON BLVD. SPACE 411        9140 CLEVELAND AVENUE
CHICAGO, IL 60626                        CARSON, CA 90746                        RIVERSIDE, CA 92503




PULLAM, WANDA                            PULLEN, FRANCIS V.                      PULLEN, LINDA L.
1023 CANNON DR SE                        1055 OSAGE CROSSLAND RD                 ADDRESS ON FILE
SOCIAL CIRCLE, GA 30025                  PURYEAR, TN 38251




PULLEY, AMY D.                           PULLEY, BARBARA J.                      PULLEY, SHURN S.
171 5TH ST SW                            419 E REICHERT DRIVE                    ADDRESS ON FILE
BREWSTER, OH 44613                       MARION, IL 62959




PULLIAM, RIKKA                           PULLINS, JOHN PAUL                      PULLINS, LINDA
303 W COOPER ST                          93295 TERRITORIAL HWY                   110 JOHNSON-PYLE DR
WEST MEMPHIS, AR 72301                   SPC 5                                   P.O. BOX 184
                                         JUNCTION CITY, OR 97448                 ALTONA, IL 61414




PULLINS, MICAH D.                        PULLINS, MICAH                          PULMONAIRE SERCICE,INC
ADDRESS ON FILE                          ADDRESS ON FILE                         836 MCCALLIE AVE
                                                                                 CHATTANOOGA, TN 37403




PULSARA                                  PULSE MEDICAL                           PULSE MEDICAL, INC.
2880 TECHNOLOGY BLVD W                   1130 ADA STREET, STE B                  1130 ADA STREET
SUITE 183                                BLUE RIDGE, GA 30513                    SUITE B
BOZEMAN, MT 59718-6937                                                           BLUE RIDGE, GA 30513




PULSE SYSTEMS                            PULSE WORLDWIDE LTD                     PUMNEO, SHIRLEY
33115 COLLECTION CENTER DRIVE            7554 CENTRAL PARKE BLVD                 550 7TH ST SE
CHICAGO, IL 60693-0331                   MASON, OH 45040                         BREWSTER, OH 44613-1520




PUMROY, JUDYE L.                         PUNGERCAR, MILDRED R.                   PUNXSUTAWNEY AREA HOSPITAL
2810 MACAUSLAN ST                        37833 SHENANDOAH LOOP                   81 HILLCREST DRIVE
BIG SPRING, TX 79720                     SPRINGFIELD, OR 97478-0000              PUNXSUTAWNEY, PA 15767
PUNZALAN, RHOME VAN R. Case 20-10766-BLS
                                     PUPILLO,Doc  6 K.Filed 04/07/20
                                              CHERYL                   Page 1442 ofJENNA
                                                                            PURCELL 1969
ADDRESS ON FILE                      303 S.CENTER ST                        6818 STONEY CREEK DRIVE
                                     GALVA, IL 61434                        EDWARDSVILLE, IL 62025




PURCELL JR., KENNETH                  PURCHASE POWER                        PURCHASE POWER
9930 S. PAXTON                        P.O. BOX 371847                       P.O. BOX 371874
CHICAGO, IL 60617                     PITTSBURGH, PA 15250                  PITTSBURG, PA 15250-7874




PURCHASE POWER                        PURCHASE POWER                        PURCHASE POWER
P.O. BOX 371874                       P.O. BOX 371874                       P.O. BOX 856042
PITTSBURGH, PA 15250-0000             PITTSBURGH, PA 15250-7874             LOUISVILLE, KY 40285-6042




PURCHASE POWER                        PURCHASE POWER                        PURDIE, MEGAN
PB BOX 371874                         PO BOX 371874                         ADDRESS ON FILE
PITTSBURGH, PA 15250-7874             PITTSBURGH, PA 15250




PURDUE UNIVERSITY                     PURDY, AMY                            PURE WATER TECHNOLOGY OF GEORGIA
STEWART CENTER, RM G59                ADDRESS ON FILE                       LLC
128 MEMORIAL MALL                                                           5112 RICHMOND RD
W. LAFAYETTE, IN 47907                                                      BEDFORD HEIGHTS, OH 44146




PUREWORKS                             PUREWORKS, INC                        PUREWORKS, INC
DBA UL EHS SUSTAINABILITY             D.B.A. UL EHS SUSTAINABILITY          UL EHS SUSTAINABILITY
P.O. BOX 74008398                     P.O. BOX 74008398                     5000 MERIDIAN BLVD SUITE 600
CHICAGO, IL 60674-8398                CHICAGO, IL 60674-8398                FRANKLIN, TN 37067




PURINGTON, EARNELL                    PURITAN LIFE INS CO OF AMERICA        PURITAN MEDICAL PRODUCTS
P.O. BOX 7                            P O BOX 30969                         DEPT 0669
ROPER, NC 27970                       AMARILLO, TX 79120                    P.O. BOX 120001
                                                                            DALLAS, TX 75312-0669




PURITAN SPRINGS WATER                 PURITAN SPRINGS WATER                 PURITAN SPRINGS
1709 N KICKAPOO                       1709 NORTH KICKAPOO                   1709 NORTH KICKAPOO
LINCOLN, IL 62656-1366                LINCOLN, IL 62656                     LINCOLN, IL 62656-1366




PURITY SOURCE LLC                     PURITY SOURCE PUREWATER SOLUTIONS     PURITY SOURCE WATER SOLUTIONS
P.O. BOX 660831
DALLAS, TX 75266




PURKISS, TIFFANY A.                   PURNELL, ANITRA                       PURNELL-OFFARD, DANEEN
9018 B IROGUOIS AVE                   1004 ASHLAND AVE                      2 BROOKSIDE RD
FORT IRWIN, CA 92310                  CHICAGO HEIGHTS, IL 60411             PARK FOREST, IL 60466
PURPERO, TED            Case 20-10766-BLS   Doc
                                      PURPURA,    6 Filed
                                               JOANNE I.  04/07/20   Page 1443 of TERRI
                                                                          PURSELL, 1969D.
1251 WESTERN AVE SW                    ADDRESS ON FILE                    6099 LAKEVIEW DR.
CANTON, OH 44710-1253                                                     CARTERVILLE, IL 62918




PURSSORD, PETER                        PURTLE, VILLA J.                   PURVIS INDUSTRIES LTD
168 DAYBREAK BLVD                      129 NORTH SUMMITT STREET           P.O. BOX 540757
MURPHY, NC 28906                       HELENA, AR 72342                   DALLAS, TX 75354-0757




PURVIS, C. NATASHA                     PURVIS, DEBORA K.                  PURYEAR, J C
1647 MACKEYS RD                        ADDRESS ON FILE                    568 PRINCE DR
PLYMOUTH, NC 27962                                                        MORGANTON, GA 30560-3580




PUSTELAK, AMANDA                       PUTMAN, CHASE                      PUTNAM LOLA JEAN
9822 NOTTINGHAM AVE APT 304            1381 OLD LARKINSVILLE RD           ADDRESS ON FILE
CHICAGO RIDGE, IL 60415                SCOTTSBORO, AL 35768




PUTNAM, CHRISTINE                      PUTNAM, CLARA JOYCE                PUTNAM, DEBORAH
913 SAGE ST                            598 BAXTER                         ADDRESS ON FILE
EVANSTON, WY 82930-3446                EUGENE, OR 97402




PUTNAM, DEBORAH                        PUTNAM, LOLA J.                    PUTNAM-GILCHRIST, DENA K.
ADDRESS ON FILE                        ADDRESS ON FILE                    P.O. BOX 8484
                                                                          COBURG, OR 97408




PUTTER, KRISTIN N.                     PUTTER, MARTHINUS L.               PUTZ, SANDRA
10 CR 600                              ADDRESS ON FILE                    P.O. BOX 309
WYNNE, AR 72396                                                           CAMPBELLSPORT, WI 53010




PV BUSINESS SOLUTIONS                  PWC HOLDINGS NO 21 LLC             PYNE, LARRAINE A.
3600 SOUTH STATE RD 7 STE 204          PRICEWATERHOUSECOOPERS ADVISORY    2550 VALENCIA RD
MIRAMAR, FL 33023                      SVC                                APTOS, CA 95003
                                       P.O. BOX 75647
                                       CHICAGO, IL 60675-5647



PYRA, ANNE                             PYRAMID ELECTRICAL CONT INC        PYRAMID INTERIORS DISTRIBUTORS
1240 W ROSCOE ST                       300 MONTICELLO PLACE               P.O. BOX 372
CHICAGO, IL 60657                      FAIRVIEW HGTS, IL 62208            DEPT 380
                                                                          MEMPHIS, TN 38101




PYRAMID INTERIORS                      PYSTO, JUNE D.                     PYSZ, JEANNE
61 MILL MASTERS DRIVE                  3321 CHARLESTON RD                 812 OAK RIDGE DR
JACKSON, TN 38305                      WAUKEGAN, IL 60087                 MARYVILLE, IL 62062
PYZNARSKI, ROBERT       Case 20-10766-BLS    Doc 6
                                      Q A SUPPORT      FiledINC
                                                   SERVICES   04/07/20   Page 1444
                                                                              Q U E Sof
                                                                                     T 1969
10830 OAK AVE                         P O BOX 5473                            POB 740736
CHICAGO RIDGE, IL 60415               ATLANTA, GA 31107                       ATLANTA, GA 30374-0736




QAL-TEK ASSOCIATES                     QCC INSURANCE COMPANY                  QCS CLEANING SOLUTIONS INC
3998 COMMERCE CR                       INDEPENDENCE BLUE CROSS                P.O. BOX 752
IDAHO FALLS, ID 83401                  P.O. BOX 8500 - LOCKBOX 3092           MASSILLON, OH 44646
                                       PHILADELPHIA, PA 19178-3092




QCS CLEANING SOLUTIONS INC             QCS CLEANING SOLUTIONS INC             QFIX
P.O. BOX 752                           P.O. BOX 752                           440 CHURCH ROAD
MASSILLON, OH 44648                    WAYNESBURG, OH 44688                   AVONDALE, PA 19311




QHC ARM SHARED SERVICES, LLC           QHC BLUE ISLAND URGENT CARE            QHC CALIFORNIA HOLDINGS, LLC
1209 ORANGE STREET                     HOLDINGS, LLC                          1209 ORANGE STREET
WILMINGTON, DE 19801                   1209 ORANGE STREET                     WILMINGTON, DE 19801
                                       WILMINGTON, DE 19801




QHC HIM SHARED SERVICES, LLC           QHCCS, LLC                             QHG OF MASSILLON, INC.
2 NORTH JACKSON STREET                 2 NORTH JACKSON STREET                 ADDRESS ON FILE
SUITE 605                              SUITE 605
MONTGOMERY, AL 36104                   MONTGOMERY, AL 36104




QHR DEVELOPMENT, LLC                   QHR HEALTHCARE AFFILIATES, LLC         QHR INTENSIVE RESOURCES, LLC
1209 ORANGE STREET                     1209 ORANGE STREET                     2 NORTH JACKSON STREET
WILMINGTON, DE 19801                   WILMINGTON, DE 19801                   SUITE 605
                                                                              MONTGOMERY, AL 36104




QHR INTERNATIONAL, LLC                 QIAGEN INC                             QIAGEN INC.
1209 ORANGE STREET                     P O BOX 5132                           P.O. BOX 5132
WILMINGTON, DE 19801                   CAROL STREAM, IL 60197-5132            CAROL STREAM, IL 60197-5132




QIAGEN N AM HOLDINGS INC               QIAGEN, INC                            QLIKTECH INC
QIAGEN LLC                             PO BOX 5132                            25686 NETWORK PL
P.O. BOX 5132                          CAROL STREAM, IL 60197-5132            CHICAGO, IL 60673-1256
CAROL STREAM, IL 60197-5132




QRS CALIBRATIONS INC. DBA QRS          QRWLPR                                 QSL PRINTING
SOLUTIONS                              P.O. BOX 601070                        P.O. BOX 1184
2140 E. SOUTHLAKE BLVD STE L 703       CHARLOTTE, NC 28260-1070               EUGENE, OR 97440-1184
SOUTHLAKE, TX 76092




QUACKENBUSH, BEVERLY                   QUADRAMED AFFINITY CORP.               QUAIL, BARBARA
93713 GREEN ACRES LANE                 P.O. BOX 74008556                      2544 DAWNING DAY DRIVE
COOS BAY, OR 97420                     CHICAGO, IL 60674-8556                 DACULA, GA 30019
                        Case 20-10766-BLS
QUAKENBUSH, PALMER NATALIE            QUALITYDoc   6 Filed
                                               CLEANING CO. 04/07/20   Page 1445  ofCOLLISION
                                                                            QUALITY  1969 INC
48788 SILVER VALLEY RD.               P.O. BOX 972                          1353 N ILLINOIS
NEWBERRY SPRINGS, CA 92365            CROSSVILLE, AL 35962                  RT 3
                                                                            WATERLOO, IL 62298




QUALITY DISPOSAL COMPANY              QUALITY FLOORING & CLEANING           QUALITY NEW MEXICO
38 N EAST STREET                      1 MCCAIN RD                           P O BOX 25005
FARMINGTON, IL 61531                  WEST MEMPHIS, AR 72301                8205 SPAIN RD NE
                                                                            ALBUQUERQUE, NM 87109




QUALITY NUT CO                        QUALITY REIMBURSEMENT SERVICES INC    QUALITY SHEET METAL
1115 SIXTH ST SW                      150 N SANTA ANITA AVE                 P.O. BOX 497
MASSILLON, OH 44647                   STE 570                               LEXINGTON, TN 38351
                                      ARCADIA, CA 91006-3132




QUALITY SHEET METALS LLC              QUALITY SYSTEMS INC                   QUALITY WATER SERVICES
P O BOX 3272                          NEXTGEN HEALTHCARE                    500 E. WAR MEMORIAL DRIVE
CARBONDALE, IL 62902                  P.O. BOX 809390                       PEORIA, IL 61614
                                      CHICAGO, IL 60680




QUALLS, MELISSA                       QUANCE, DANIEL - ITV                  QUANDARY MEDICAL LLC
ADDRESS ON FILE                       ADDRESS ON FILE                       2629 W 32ND AVE
                                                                            DENVER, CO 80211-5934




QUANDT, TRACEY                        QUANTUM HEALTH INC                    QUANTUM HEALTHCARE
4281 TONTI RD                         7450 HUNTINGTON PARK DR               P.O. BOX 959
SALEM, IL 62881                       COLUMBUS, OH 43235                    HAZARD, KY 41702




QUANTUM MEDICAL                       QUANTUM PLUS INC.                     QUANTUM STORAGE SYSTEMS
15800 NW 15TH AVE                     P.O. BOX 634850                       15800 NW 15TH AVE
MIAMI, FL 33169                       CINCINNATI, OH 45263-4850             MIAMI, FL 33169




QUARLES, JUDY                         QUARLES, JUDY                         QUARLES, JUDY
ADDRESS ON FILE                       3650 DILLINGER ROAD                   ADDRESS ON FILE
                                      CARBONDALE, IL 62901




QUARLES, ROBERT                       QUARRLES, CEDRIC                      QUARTER CIRCLE 7 HOTEL
6405 WATERFORD DR                     709 STANFORD DR                       P.O. BOX 89
BRENTWOOD, TN 37027                   WEST MEMPHIS, AR 72301                ALPINE, TX 79830




QUASIUS INVESTMENT CORP / "GCA"       QUASIUS INVESTMENT CORP               QUASIUS INVESTMENT CORP
P.O. BOX 26074                        DBA GCA                               P.O. BOX 26074
TAMPA, FL 33623                       P.O. BOX 26074                        TAMPA, FL 33623
                                      TAMPA, FL 33623
                      Case 20-10766-BLS
QUASIUS INVESTMENT CORP             QUASIUSDoc   6 Filed
                                             INVESTMENT   04/07/20
                                                        CORPORATION   Page 1446 ofDAVID
                                                                           QUATES, 1969
P.O. BOX 26074                      GCA                                    8047 HALSO MILL RD
TAMPA, FL 33623-0000                P.O. BOX 26074                         GREENVILLE, AL 36037
                                    TAMPA, FL 33623




QUATRIS HEALTHCO                     QUATTLEBAUM PLUMBING CO               QUATTLEBAUM, MONICA
7657 SW MOHAWK ST                    537 SOUTH 7TH ST                      537 SOUTH 7TH STREET
TUALATIN, OR 97062                   WEST HELENA, AR 72390                 WEST HELENA, AR 72390




QUE, EVA                             QUEDENFELD, EMILY                     QUEEN SHANNON K
11901 S MILLARD AVE                  1086 VICTORIA STREET                  3849 CUTCANE RD
APT B307                             ANTIOCH, IL 60002                     MINERAL BLUFF, GA 30559
ALSIP, IL 60803-3695




QUEEN, ASHLEY K.                     QUEEN, DENISE                         QUEEN, JOSEPH S.
ADDRESS ON FILE                      AP                                    147 LAUREL RIDGE DR
                                                                           BLUE RIDGE, GA 30513




QUEEN, LESLIE                        QUEEN, MARGARET D.                    QUEEN, SARAH
36 E RAILROAD AVE                    ADDRESS ON FILE                       4308 SASSAFRAS LN
MINERAL BLUFF, GA 30559                                                    MT VERNON, IL 62864




QUEEN, SAVANNAH                      QUEEN, SHARON H.                      QUEEN, STEPHANIE D.
930 ROBERT MILLER LANE               514 BREEDLOVE DRIVE                   612 DEEPHOLE BRANCH ROAD
MINERAL BLUFF, GA 30559              MONROE, GA 30655                      LOUISA, KY 41230




QUEEN, TENYA                         QUELIN IMAGING                        QUENCH USA
305 ABBOTT TOP RD.                   6910 SANTA TERESA BLVD.               P.O. BOX 781393
ELLIJAY, GA 30540                    SAN JOSE, CA 95119                    PHILADELPHIA, PA 19178




QUENCH                               QUENTIN L SWANSON                     QUERIJERO, EDWARD
P.O. BOX 781393                      1793 MEADOW DR                        ADDRESS ON FILE
PHILADELPHIA, PA 19178-1393          GALESBURG, IL 61401




QUERTERMOUS, AMY M.                  QUERTERMOUS, AMY M.                   QUERUBIN, ARCHIE J.
406 LOCUST ST                        ADDRESS ON FILE                       ADDRESS ON FILE
NORRIS CITY, IL 62869




QUERUBIN, ELENITA M.                 QUERUBIN, JONATHAN B.                 QUERUBIN, JOSE B.
812 MCAREE RD                        ADDRESS ON FILE                       ADDRESS ON FILE
WAUKEGAN, IL 60085
QUESADA, BRITTANY M.      Case 20-10766-BLS   Doc
                                        QUESADA,    6
                                                 LISA      Filed 04/07/20   Page 1447
                                                                                 QUESETofMEDICAL
                                                                                          1969
ADDRESS ON FILE                          ADDRESS ON FILE                          P.O. BOX 1287
                                                                                  BROCKTON, MA 02303




QUEST DIAGNOSTIC CLINICAL LAB.           QUEST DIAGNOSTICS FORM SBCL              QUEST DIAGNOSTICS INC (CA)
3924 COLLECTNS CTR DRIVE                 CLIENT 40006620                          2178 COLLECTIONS CTR DR
CHICAGO, IL 60693-0039                   P.O. BOX 740709                          CHICAGO, IL 60693
                                         ATLANTA, GA 30374-0709




QUEST DIAGNOSTICS NICHOLS INST           QUEST DIAGNOSTICS NICHOLS INST           QUEST DIAGNOSTICS
P O BOX 912512                           P.O. BOX 912512                          12989 COLLECTIONS CTR DR
PASADENA, CA 91110-2512                  PASADENA, CA 91110-2512                  CHICAGO, IL 60693




QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS
13138 COLLECTIONS CENTER DRIVE           14225 NEWBROOK DRIVE                     P O BOX 14730
CHICAGO, IL 60693                        CHANTILLY, VA 20191                      ST LOUIS, MO 63150-4730




QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS
P O BOX 841725                           P O BOX 841725                           P.O. BOX 14730
DALLAS, TX 75284                         DALLAS, TX 75284-1725                    ST. LOUIS, MO 63150-4730




QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS
P.O. BOX 740709                          P.O. BOX 740709                          P.O. BOX 740736
ATLANTA, GA 30374-0409                   ATLANTA, GA 30374-0709                   ATLANTA, GA 30374




QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS
P.O. BOX 740736                          P.O. BOX 775460                          P.O. BOX 912400
ATLANTA, GA 30374-0736                   CHICAGO, IL 60677-5460                   PASADENA, CA 91110-2400




QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS                        QUEST DIAGNOSTICS, INC.
P.O. BOX 912512                          PO BOX 775460                            3924 COLLECTION CENTER DR
PASADENA, CA 91110-2512                  CHICAGO, IL 60677-5460                   CHICAGO, IL 60693-0039




QUEST DIAGNOSTICS, LLC                   QUEST HEALTHCARE SOLUTIONS               QUEST MEDICAL INC
12436 COLLECTION CENTER DR               P.O. BOX 745162                          DBA KENQUEST MEDICAL INC
CHICAGO, IL 60693-2436                   ATLANTA, GA 30374-5162                   6340 S SANDHILL RD STE 8
                                                                                  LAS VEGAS, NV 89120




QUESTELLE, BARRIE L.                     QUEVEDO, STEPHANIE E.                    QUEZADA ARANDA MARIANELA
ADDRESS ON FILE                          9075 HIGH RD                             1809 DEW DROP DR
                                         LUCERNE VALLEY, CA 92356                 MARION, IL 62959
QUIANDRA ELEY           Case 20-10766-BLS    Doc 6
                                      QUICK CASH         Filed 04/07/20   Page 1448  of 1969INC
                                                                               QUICK COLLECT
110-H SAW MEAL CIRCLE                  912 S STATE STREET                      P.O. BOX 55457
PLYMOUTH, NC 27962                     CLARKSDALE, MS 38614                    PORTLAND, OR 97238




QUICK LANE                             QUICK, STEPHEN                          QUICKSERIES PUBLISHING INC
TIRE & AUTOMOTIVE CENTER               3364 OLD 51 RD                          5100 NW 33RD AVE
1910 W COOLIDGE AVE                    SANDOVAL, IL 62882-2530                 STE 247
MARION, IL 62959                                                               FT LAUDERDALE, FL 33309




QUIDEL CORPORATION                     QUIDEL CORPORATION                      QUIDWAI, HUMI (Q)
FILE 50177                             P.O. BOX 50177                          ADDRESS ON FILE
LOS ANGELES, CA 90074-0177             LOS ANGELES, CA 90074




QUIETTE, IRENE CORBIN                  QUIGLEY, ELIZABETH M.                   QUIGLEY, TAMMERA
1592 COUNTY ROAD 625                   2171 ORVILLE AVE                        ADDRESS ON FILE
MENTONE, AL 35984                      GRANITE CITY, IL 62040




QUIJADA, BETSY I.                      QUILES, AUREA E.                        QUILES, NORMA
ADDRESS ON FILE                        6740 DERBY DRIVE APT B                  ADDRESS ON FILE
                                       GURNEE, IL 60031




QUILIZA, LEANN                         QUILL CORPORATION                       QUILLAMA, INGA BAIBA
1119 SILLS CT                          P.O. BOX 37600                          7555 SUNSET WAY 15
CAPITOLA, CA 95010                     PHILADELPHIA, PA 19101-0600             APTOS, CA 95003




QUILLEN, EDDIE                         QUILLEN, SHERRY                         QUILLIN, SANDRA A.
104 HOLLY ST SE                        ADDRESS ON FILE                         9528 S RUTHERFORD
N PHILADELPHIA, OH 44663                                                       OAK LAWN, IL 60453




QUINAIN, MAE S.                        QUINCY COMPRESSOR LLC                   QUINCY COMPRESSOR
ADDRESS ON FILE                        DEPT 3427 LOCKBOX 893427                DEPT 3427 LOCKBOX 893427
                                       P.O. BOX 123427                         P.O. BOX 123427
                                       DALLAS, TX 75312-3427                   DALLAS, TX 75312




QUINCY COMPRESSOR                      QUINLAN ANDREW                          QUINLAN, ANDREW J.
DEPT 3427 LOCKBOX 893427               ADDRESS ON FILE                         ADDRESS ON FILE
PO BOX 123427
DALLAS, TX 75312




QUINLAN, CONSTANCE                     QUINN, ANGELA L.                        QUINN, ANGELICA N.
1491 GLENBREIGH CR                     1320 PRICE MILL RD.                     15909 NC HIGHWAY 125
BARBERTON, OH 44203                    MADISON, GA 30650                       OAK CITY, NC 27857
QUINN, CAROLINE         Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      QUINN, CAROLINE                     Page 1449
                                                                               QUINN, of 1969R.
                                                                                      KARLEE
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE




QUINN, KENNETH                         QUINN, MARIAN                            QUINN, MATTHEW P.
911 E 3RD AVE                          235 KYLE RD                              104 LEON LANE
MONMOUTH, IL 61462                     CRAWFORDSVILLE, AR 72327                 RISING FAWN, GA 30738




QUINN, MATTHEW P.                      QUINN, ROBERT                            QUINN, WALKER W.
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE




QUINNS GREENHOUSE                      QUINNTRELL, JAMES                        QUINONES, STEVE
1060 WEST TENNESSEE AVENUE             P.O. BOX 645                             9425 HWY 377 NE
MCCAYSVILLE, GA 30555                  MCCAYSVILLE, GA 30555                    DEMING, NM 88030




QUINONEZ AURORA                        QUINT, JOHN                              QUINTAIROS PRIETO WOOD & BOYER PA
111 S SAINT JAMES ST                   601 GREENHILL BLVD. NW APT.A 105         9300 SOUTH DADELAND BLVD
WAUKEGAN, IL 60085                     FORT PAYNE, AL 35967                     4TH FLR
                                                                                MIAMI, FL 33156




QUINTANA CALDERON, ELVIRA              QUINTANA, DONNA M.                       QUINTANA, ELIDA
17 DOLORES AVE. APT.21                 ADDRESS ON FILE                          2201 S. LIME
WATSONVILLE, CA 95076                                                           DEMING, NM 88030




QUINTANA, JASON                        QUINTANA, LAWRENCE G.                    QUINTANA, MARTHA
1411 W KELLY ST                        ADDRESS ON FILE                          50 SHADY OAKS DR
SILVER CITY, NM 88061                                                           WATSONVILLE, CA 95076




QUINTANA, SAMUEL                       QUINTANA, VERONICA                       QUINTANAR, PATRICIO
ADDRESS ON FILE                        HCR 31 BOX 20A                           1111 164TH PL
                                       LAS VEGAS, NM 87701                      HAMMOND, IN 46320




QUINTECH INC                           QUINTECH MEDICAL GAS SYSTEM              QUINTECH, INC
P.O. BOX 3488                          P.O. BOX 3488                            DEPT 05-076
DEPT NUMBER 05-076                     DEPT. NUMBER 05-076                      P.O. BOX 3488
TUPELO, MS 38803-3488                  TUPELO, MS 38803-3488                    TUPELO, MS 38803-3488




QUINTECH, INC                          QUINTECH, INC.                           QUINTERO, ROSANNA
PO BOX 3488                            DEPT 05 076                              4219 DIXON STREET
DEPT. NUMBER 05-076                    P.O. BOX 3488                            BIG SPRING, TX 79720
TUPELO, MS 38803-3488                  TUPELO, MS 38803-3488
QUINTILES, INC         Case 20-10766-BLS   Doc
                                     QUINTOS,    6 L.Filed 04/07/20
                                              BONNIE                  Page 1450  of 1969
                                                                           QUINTRELL, DANI YVONNE
P.O. BOX 601070                      ADDRESS ON FILE                        P.O. BOX 645
CHARLOTTE, NC 28260-1070                                                    MCCAYSVILLE, GA 30555




QUIRANTES, SUSAN W.                  QUIRARTE, SONIA                        QUIRIN HANNAH N
308 M STREET                         12819 LINCOLN ST                       4769 SAND ROCK ROAD
SALT LAKE CITY, UT 84103             BLUE ISLAND, IL 60406                  SMITHTON, IL 62285




QUIROZ, CHRISTINA                    QUIROZ, CHRISTINA                      QUIROZ, MONICO
ADDRESS ON FILE                      ADDRESS ON FILE                        1302 LEXINGTON AVE
                                                                            BIG SPRING, TX 79720




QUISENBERRY, WENDY                   QUITER, MARY                           QUITEVIS, APRIL
607 N IDLER LN                       2543 W 102ND ST                        26196 W COONEY ISLAND RD
GREENVILLE, IL 62246                 CHICAGO, IL 60655                      INGELSIDE, IL 60041




QUITEVIS, BEVERLYN G.                QUITTER, JOSEPH                        QUIZON, ELIZABETH
ADDRESS ON FILE                      315 SUNRISE DR                         1618 GRAY RD NE
                                     PARIS, TN 38242                        FORT PAYNE, AL 35967




QUIZON, JESAR S.                     QUORUM HEALTH CORP                     QUORUM HEALTH CORPORATION
ADDRESS ON FILE                      RESTRICTED STOCK GRANTEES              POLITICAL ACTION COMMITTEE
                                     1573 MALLORY LANE SUITE 100            1573 MALLORY LANE, SUITE 100
                                     BRENTWOOD, TN 37027                    BRENTWOOD, TN 37027




QUORUM HEALTH CORPORATION            QUORUM HEALTH CORPORATION              QUORUM HEALTH FOUNDATION, INC.
1209 ORANGE STREET                   4000 MERIDIAN BOULEVARD                1200 SOUTH PINE ISLAND ROAD
WILMINGTON, DE 19801                 FRANKLIN, TN 37067                     PLANTATION, FL 33324




QUORUM HEALTH INVESTMENT COMPANY,    QUORUM HEALTH INVESTMENT COMPANY,      QUORUM HEALTH RESOURCES, LLC
LLC                                  LLC                                    289 S. CULVER ST.
1209 ORANGE STREET                   1573 MALLORY LANE, SUITE 100           LAWRENCEVILLE, GA 30046
WILMINGTON, DE 19801                 C/O QUORUM HEALTH
                                     BRENTWOOD, TN 37027



QUORUM HEALTH RESOURCES, LLC         QUORUM HEALTHCARE                      QUORUM PURCHASING ADVANTAGE, LLC
ATTN DEPT 9100                       2 EAST MAIN STREET                     2 NORTH JACKSON STREET
1573 MALLORY LANE STE 2OO            SUITE 208                              SUITE 605
BRENTWOOD, TN 37027                  DANVILLE, IL 61832                     MONTGOMERY, AL 36104




QUORUM SOLUTIONS, LLC                QURESHI, IRFAN                         QUVA PHARMA INC
2 NORTH JACKSON STREET               213 FREMONT AVENUE                     1075 W PARK ONE DRIVE
SUITE 605                            FORT MORGAN, CO 80701                  SUITE 100
MONTGOMERY, AL 36104                                                        SUGARLAND, TX 77478-0000
QUVA PHARMA INC            Case 20-10766-BLS   Doc 6 INCFiled 04/07/20
                                         QUVA PHARMA,                            Page 1451  of 1969INC
                                                                                      QUVA PHARMA,
3 SUGAR CREEK CENTER                      DEPT 0142                                    DEPT 0142
SUITE 250                                 P.O. BOX 120142                              PO BOX 120142
SUGAR LAND, TX 77478                      DALLAS, TX 75312-0142                        DALLAS, TX 75312-0000




QUYEN NGUYEN                              R & B COMMERCIAL SERVICE, INC                R & B COMMERCIAL SERVICE, INC.
631 WILLOW LN                             P.O. BOX 36378                               P.O. BOX 36378
GREENVILLE, AL 36037                      ALBURQUERQUE, NM 87176-6378                  ALBUQUERQUE, NM 87176-6378




R & J DEVELOPMENT CO LLC                  R D PLASTICS COMPANY INC                     R DENDAK, JUNE
P.O. BOX 2154                             4825 TROUSDALE ROAD                          8671 EASY ST NW
INEZ, KY 41224                            SUITE 203                                    MASSILLON, OH 44646
                                          NASHVILLE, TN 37220




R HAROLD MCCARD JR                        R HOUSE EMBROIDERY & SCREEN PRINTING         R LEPLEY, KEVIN
ADDRESS ON FILE                           307 E. WASHINGTON STREET                     5592 APPLECREEK RD
                                          BENTON, IL 62812                             SMITHVILLE, OH 44677-9715




R MED INC                                 R O I - RETURN ON INVESTMENT/J               R VS TRANSPORTATION
P O BOX 167636                            950 ENSELL ROAD                              P O BOX 456
OREGON, OH 43616                          LAKE ZURICH, IL 60047                        RIBERA, NM 87560




R W PROMOTIONS, INC                       R&D BATTERIES INC                            R&D BATTERIES, INC.
313 STANDARD REED RD                      P.O. BOX 5007                                P.O. BOX 5007
WEST MONROE, LA 71291                     BURNSVILLE, MN 55337                         BURNSVILLE, MN 55337-5007




R&M OIL & SUPPLY, INC.                    R. LAWRENCE VAN HORN                         R.P. LUMBER CO., INC.
P.O. BOX 707                              ADDRESS ON FILE                              12585 NORTH SPARROW LANE
COLUMBIA, IL 52236                                                                     MT. VERNON, IL 62864




R1 RCM INC                                R1 RCM INC. 2800                             R2 INVESTMENTS, LDC
401 N MICHIGAN AVE                        401 N MICHIGAN AVE                           HELDMAN LAW ATTN: RUSS HELDMAN
STE 2700                                  STE 2700                                     218 FOURTH AVE NORTH
CHICAGO, IL 60611                         CHICAGO, IL 60611                            P.O. BOX 826
                                                                                       FRANKLIN, TN 37064



R2 INVESTMENTS, LDC                       R2 INVESTMENTS, LDC                          RAATZ, JESSICA
SUSMAN GODFREY L.L.P.                     SUSMAN GODFREY L.L.P.                        1204 BROOKSIDE PARKWAY
ATTN: ASHLEY MCMILLIAN                    ATTN: STEVEN M. SHEPARD                      BARTLESVILLE, OK 74006
1000 LOUISIANA, STE 5100                  1301 AVENUE OF THE AMERICAS, 32ND FL
HOUSTON, TX 77002                         NEW YORK, NY 10019



RABACK, LINDA                             RABELO, PATRICIA J.                          RABELO, PATRICIA J.
607 N MORRISON AVE                        759 S SAN MIGUEL                             759 SAN MIGUEL
COLLINSVILLE, IL 62234                    DEMING, NM 88030                             DEMING, NM 88030
RABORN, MARK             Case 20-10766-BLS
                                       RABURNDoc 6
                                             JOANN       Filed 04/07/20   Page 1452  of 1969
                                                                               RABY, HEATHER
405 FLOWER STREET                      2750 MOBILE RD                          ADDRESS ON FILE
WATERLOO, IL 62298                     MCCAYSVILLE, GA 30555




RABY, MELINDA                          RABY, MELINDA                           RACEK & ASSOCIATES LLC
4570 BALLPARK RD                       ADDRESS ON FILE                         6200 SOM CENTER RD
STEELEVILLE, IL 62288                                                          STE D25
                                                                               SOLON, OH 44139




RACEY, MATHEW                          RACHAEL DISNEY                          RACHEAL MILLIGAN
375 OLD RT 146 LOOP                    3947 STARLINGTON RD                     1001 S ROSSER ST
VIENNA, IL 62995                       GEORGIANA, AL 36033                     FORREST CITY, AR 72335




RACHEL BAISDEN                         RACHEL BATTLES                          RACHEL BIGHAM
ADDRESS ON FILE                        ADDRESS ON FILE                         42 ROBIN CT
                                                                               GRANITE CITY, IL 62040




RACHEL DAHL                            RACHEL FULLER                           RACHEL GABROVIC
354 COLLEEN CT                         391 N MAIN APT 402                      126 SOUTH WASHINGTON
UNIT F6                                LEXINGTON, TN 38351                     ADDIEVILLE, IL 62214
MESQUITE, NV 89027




RACHEL KREBS                           RACHEL L RIPPEY                         RACHEL LARUE, LPN
ADDRESS ON FILE                        4446 S GARNETT RD
                                       APT 1408
                                       TULSA, OK 74146-4226




RACHEL LEGGITT                         RACHEL M STANFORD                       RACHEL PIPER
705 9TH ST, SUITE 4                    1715 WOODRUFF AVE NW                    425 S MALONE ST
FLORENCE, OR 97439                     MASSILLON, OH 44647                     SIMS, IL 62886




RACHEL SCHROEDER                       RACHEL YODER                            RACHELLE MUELLER
4828 CROWN POINT PLACE                 851 HARRIMAN AVE SW                     8264 SALVAGE ST
ALTON, IL 62002                        BREWSTER, OH 44613-1427                 CHRISTOPHER, IL 62822




RACHEUL, MALCOM                        RACKE, DAVID                            RACKLEY, KIMBERLY
1104 WASHINGTON ST                     213 ILLINOIS AVE                        ADDRESS ON FILE
KEITHSBURG, IL 61442                   E GALESBURG, IL 61430




RAD, BITA                              RADCLIFFE, SHELLEY L.                   RADCOM ASSOCIATES, INC.
ADDRESS ON FILE                        1214 GREEN AVE SW                       2302 GUTHRIE ROAD, SUITE 210
                                       MASSILLON, OH 44647                     GARLAND, TX 75043
RADCOM ASSOCIATES, INC.Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                     RADEL, CHERYL                    Page 1453
                                                                           RADEL, of 1969
                                                                                  JUDITH
P.O. BOX 851408                      2232 PURITAN CR NW                    352 INDIANA AVE NE
MESQUITE, TX 75185-1408              MASSILLON, OH 44647-5323              MASSILLON, OH 44646




RADEMAKER, RYAN                     RADER, AMBER                           RADER, DONALD
510 STATE ROUTE 147                 505 S SMILEY ST                        14361 STANWOOD ST SW
VIENNA, IL 62995                    OFALLON, IL 62269-2315                 NAVARRE, OH 44662




RADER, JACOB                        RADER, JOHN M.                         RADER, LINDA
593 A SCHNEIDERS CROSSING RD        ADDRESS ON FILE                        1308 ALLENDALE BLVD
DOVER, OH 44622                                                            CHESTER, IL 62233




RADEV, AMBER D.                     RADFORD, GALASKE B.                    RADFORD, ZACHARY
ADDRESS ON FILE                     215 COUNTRY CLUB VW                    ADDRESS ON FILE
                                    EDWARDSVILLE, IL 62025




RADIATION HEALTH BRANCH             RADIATION PROTECTION FUND              RADIATION PROTECTION FUND
HSICA DEPT FOR PUBLIC HEALTH        110 ST FRANCIS DRIVE SUITE 2022        110 ST FRANCIS DRIVE SUITE 2022
275 E MAIN STREET                   P.O. BOX 5469                          P.O. BOX 5469
FRANKFORT, KY 46021                 SANTA FE, NM 87502-5469                SANTE FE, NM 87502-5469




RADIATION PROTECTION SERVICES LTD   RADIATION PROTECTION SERVICES          RADIATION PROTECTION SRV
1405 ADLAI STEVENSON DR STE 11      1405 ADLAI STEVENSON DR                1405 ADLAI STEVENSON DR
SPRINGFIELD, IL 62703               SUITE 11                               STE 11
                                    SPRINGFIELD, IL 62703                  SPRINGFILED, IL 62703




RADIATION PROTECTION                RADICH, RAELYNN                        RADIN, RHODA
1405 STEVENSON DR                   333 BLACKSTONE STREET                  450 LOWERY LANE
SUITE 11                            SPRINGFIELD, OR 97477                  MCCAYSVILLE, GA 30555
SPRINGFIELD, IL 62703




RADIOGRAPHIC SERVICES, INC          RADIOLOGICAL PHYSICS ASSOCIATE         RADIOLOGICAL RESOURCES INC
P.O. BOX 64                         P.O. BOX 140910                        182 CHESTERFIELD IND BLVD
LODI, WI 53555                      NASHVILLE, TN 37214                    CHESTERFIELD, MO 63005




RADIOLOGICAL SERVICE TRAINING       RADIOLOGY ASSOCIATES OF CANTON         RADIOLOGY ASSOCIATES PC
30745 SOLON ROAD                    P.O. BOX 72384                         445 HARLOW ROAD SUITE 200
SOLON, OH 44139                     CLEVELAND, OH 44192                    SPRINGFIELD, OR 97477




RADIOLOGY ASSOCIATES                RADIOLOGY CONSULTATION SERVICES, PC    RADIOLOGY GROUP PA
445 HARLOW RD SUITE 200             4545 HARRIS TRAIL, NW                  1825 PARK PL
SPRINGFIELD, OR 97477               ATLANTA, GA 30327-3823                 ATTN: JIM STROUD
                                                                           MONTGOMERY, AL 36106
                       Case 20-10766-BLS
RADIOLOGY IMAGING CONSULTANT                DocINC.
                                     RADIOLOGY   6 Filed 04/07/20   Page 1454  of 1969
                                                                         RADIOMETER AMERICA INC
71 W 156TH ST, STE 110               P O BOX 910                          13217 COLLECTIONS CENTER DR
HARVEY, IL 60426                     HUNTINGTON, WV 25712                 CHICAGO, IL 60693




RADIOMETER AMERICA INC              RADIOMETER AMERICA INC                RADIOMETER AMERICA
13217 COLLECTIONS CENTER DRIVE      13217 COLLECTIONS CTR DR              13217 COLLECTIONS CTR DR
CHICAGO, IL 60693                   CHICAGO, IL 60693                     CHICAGO, IL 60693




RADIOMETER AMERICA                  RADIOMETER AMERICA                    RADIOMETER AMERICA
250 S KRAEMER BLVD                  250 SOUTH KRAEMER BLVD                250 SOUTH KRAEMER LBVD
MAILSTOP: B1.SW.11                  MAILSTOP: B1.SW.11                    MAIL STOP B1.SW.11
BREA, CA 92821                      BREA, CA 92821                        BREA, CA 92821




RADIOPHARMACY INC.                  RADIOPHARMACY INC.                    RADIOPHARMACY, INC
P.O. BOX 787442                     P.O. BOX 787442                       1409 EAST VIRGINIA ST
PHILADELPHIA, PA 19178              PHILADELPHIA, PA 19178-7442           EVANSVILLE, IN 47711




RADLEY, MAUREEN                     RADNY, RICK                           RADOCHONSKI PAUL
P.O. BOX 482                        89 WESTBROOKE                         9335 S. MILLARD AVE
MESQUITE, NV 89024                  TROY, IL 62294                        EVERGREEN PARK, IL 60805




RADOMSKI, BONNIE A.                 RADON MEDICAL, LLC                    RADOSEVICH, BARBARA
P.O. BOX 40533                      14983 MONETA ROAD STE C               ADDRESS ON FILE
EUGENE, OR 97404-0000               MONETA, VA 24121




RADOSEVICH, BARBARA                 RADOVAN, CHARLENE M.                  RADTKE, BARBARA M.
ADDRESS ON FILE                     ADDRESS ON FILE                       ADDRESS ON FILE




RADTKE, BETTY                       RADTKE, EMILY                         RADTUTOR EDUCATIONAL SERVICES LLC
4518 BEVERLY LANE                   ADDRESS ON FILE                       6 CAPER TRAIL
BARTON HOUSE                                                              ASHEVILLE, NC 28806
KENOSHA, WI 53142




RADWELL INTERNATIONAL INC.          RADY, AMANDA J.                       RADY, MIKE H.
P.O. BOX 419343                     13471 PROSPERITY RD                   4638 AUTUMN CV
BOSTON, MA 02241-9343               MARION, IL 62959                      ERDA, UT 84074




RADY, MIKE H.                       RAEBIG, EILEEN F.                     RAEGAN, RHEA
ADDRESS ON FILE                     5237 W JAMES LANE                     2687 HWY 1 SOUTH
                                    CRESTWOOD, IL 60445                   FORREST CITY, AR 72335
RAEL RONICA A            Case 20-10766-BLS    Doc 6
                                       RAEL, DANIEL         Filed 04/07/20   Page 1455   of 1969
                                                                                  RAEL, JODI
1661 W RIDGELINE RD                     ADDRESS ON FILE                           25 INDUSTRIAL ROAD P.O. BOX 3274
P.O. BOX 40                                                                       LAS VEGAS, NM 87701
STOCKTON, UT 84071




RAELYNN RADICH                          RAFA, MAUREEN A.                          RAFAEL GALLEGO
37580 PARSONS CREEK RD                  10729 S. SAWYER                           551 N.W. 42ND AVE 109
SPRINGFIELD, OR 97478                   CHICAGO, IL 60655                         PLANTATION, FL 33317




RAFAEL, ELBA                            RAFAEL, GLORIA M.                         RAFAEL-RAYMUNDO, PAULINA
366 RESERVATION RD APT G8               3004 BURRIS AVENUE                        871 MARIETTA RD
MARINA, CA 93933                        WAUKEGAN, IL 60087                        CANTON, GA 30114




RAFF, DEANNA                            RAFF, DEANNA                              RAFFANTI, PAUL
221 EAST MAIN ST                        P.O. BOX 391                              10607 S PLAHM CT
BEACH CITY, OH 44608                    BEACH CITY, OH 44608                      WORTH, IL 60482




RAFIEE, PURIA                           RAFTOPOULOS, ALEX                         RAGAIN, CHARLES LEON
1710 BRICKTON STATION                   2964 IOWA                                 2314 TESKE ROAD
BUFORD, GA 30518                        GRANITE CITY, IL 62040                    MARION, IL 62959




RAGAN, RONDA                            RAGAN, TAMIE                              RAGER, ASHLEY
3426 HIDDEN PEAK RD                     30064 253RD STREET                        909 N FIRESTONE BLVD
ERDA, UT 84074                          BARRY, IL 62312                           AKRON, OH 44306




RAGLAN, ANNA C.                         RAGLAND, EMMA                             RAGLAND, LUANNE P.
ADDRESS ON FILE                         ADDRESS ON FILE                           19 VICTOR ST
                                                                                  WATERLOO, IL 62298




RAGLAND, SANDRA J.                      RAGON, MINDI J.                           RAGONESI, HOPE
8831 LORI LANE                          ADDRESS ON FILE                           ADDRESS ON FILE
ORLAND PARK, IL 60462




RAGSDALE, GAIL L.                       RAGSDALE, ROCKNE J.                       RAHMAN, DANIELLE A.
1367 SW MAIN ST.                        1192 BUTTER RIDGE ROAD                    ADDRESS ON FILE
ROSEBURG, OR 97470                      ULLIN, IL 62992




RAHMAN, JOSH                            RAHN, JESSICA                             RAHN, NORMAN
208 SUSANN DR                           6362 FAUST RD                             C/O CAROL RAEBER
WEST FRANKFORT, IL 62896                RED BUD, IL 62278                         6539 LL ROAD
                                                                                  RED BUD, IL 62278
RAHN, SUSAN            Case 20-10766-BLS     Doc 6
                                     RAI, SANDEEP       Filed 04/07/20     Page 1456
                                                                                RAIDERof 1969T
                                                                                      DONNA
105 GARDNER                           6262 WOOSLEY DR                           5301 W ARBOR LANE
WATERLOO, IL 62298                    SAN JOSE, CA 95123                        CRESTWOOD, IL 60445




RAIFORD, JENNIFER M.                  RAILWORKERS TIME & RECORD BOOK            RAILWORKERS TIME & RECORD BOOK
ADDRESS ON FILE                       P.O. BOX 368                              PO BOX 368
                                      TROY, MT 59935                            TROY, MT 59935




RAIMEY GLORIA J                       RAIMONDI, KAREN L.                        RAIN FOR RENT
10900 S EBERHARDT                     416 OLD ORCHARD DRIVE                     FILE 52541
CHICAGO, IL 60628                     LASCASSAS, TN 37085                       LOS ANGELES, CA 90074-2541




RAINBOW PURE WATER                    RAINBOW PURE WATER, INC                   RAINBOW RANCH, INC
610 SNEED                             610 SNEED                                 9906 STATE ROUTE 15
CARBONDALE, IL 62902                  CARBONDALE, IL 62902                      NASHVILLE, IL 62263




RAINER, ALBERT D.                     RAINER, SUMMER B.                         RAINER, TYSON
6517 BRIDLE PATH DR                   ADDRESS ON FILE                           ADDRESS ON FILE
MATTESON, IL 60443




RAINER, TYSON                         RAINER, TYSON                             RAINES CAROLYN M
935 OAKGROVE RD                       ADDRESS ON FILE                           538 BEAR TRAIL
RAINSVILLE, AL 35986                                                            MURPHY, NC 28906




RAINES JASMIN C                       RAINES, DAVID W.                          RAINES, KAREN
93262 HOLLAND LANE                    9976 COUNTY RD 14                         5150 1ST ST NW
MARCOLA, OR 97454                     FLAT ROCK, AL 35966                       LAKELAND, FL 33810




RAINEY JAMES                          RAINEY MAYS                               RAINEY WILLIE M
2272 IROQUOIS LANE                    ADDRESS ON FILE                           1650 E 92ND PLACE
ROUND LAKE HEIGHTS, IL 60073                                                    1ST FLOOR
                                                                                CHICAGO, IL 60617




RAINEY, APRIL B.                      RAINEY, JANET M.                          RAINEY, LIONEL
ADDRESS ON FILE                       1024 MAGGIE DRIVE                         P.O. BOX 57
                                      BETHLEHEM, GA 30620                       GREENVILLE, AL 36037




RAINEY, LORNA                         RAINEY, RACHELE R.                        RAINEY, TIFFANY
550 E CARL SANDBURG DR                P.O. BOX 614 750 PLEASANT HILL RD.        1223 SAVANNAH LANE
SEMINARY ESTATES ROOM 208             PARIS, TN 38242                           MONROE, GA 30655
GALESBURG, IL 61401
RAINS, DERAL C.            Case 20-10766-BLS    DocAUTO
                                         RAINSVILLE 6 GLASS
                                                        Filed 04/07/20   Page 1457  of 1969
                                                                              RAINSVILLE CHAMBER OF COMMERCE
17966 AL HIGHWAY 75                       3204 MAIN STREET EAST                P.O. BOX 396
HENAGAR, AL 35978-5625                    RAINSVILLE, AL 35986                 RAINSVILLE, AL 35986




RAINWATER VIRGINIA                        RAINWATER, LOURA                     RAINWATER, THERESA
187 CRYSTAL BAY DR                        187 CRYSTAL BAY DRIVE                312 E 500 N
STANSBURY PARK, UT 84074                  TOOELE, UT 84074                     TOOELE, UT 84074




RAINY LAKE MEDICAL CENTER                 RAINY, HUGH                          RAISING READERS
1400 HIGHWAY 71                           2501 BRIARWOOD AVE SW APT65          P.O. BOX 21856
INTERNATIONAL FALLS, MN 56649-2189        FORT PAYNE, AL 35967                 CHEYENNE, WY 82003




RAKERS, DEBRA A.                          RAKERS, WAYNE                        RAKES, GERALD M.
2623 JANELLE WAY                          471 MAPLE AVE                        G-MARVIN RAKES CONSULTING LLC
EUGENE, OR 97404                          GALESBURG, IL 61401                  9588 MULLINS RD
                                                                               ARRINGTON, TN 37014




RAKESH, CHANDRA                           RAKONCAY, FREDERICK R.               RAKOWSKI, LINDA
396 LAKE INDIAN HILLS CR                  926 E MILLSTONE DR                   11408 SOUTH CENTRAL PARK AVE
CARBONDALE, IL 62902                      LAKE VILLA, IL 60046                 CHICAGO, IL 60655




RALEIGH, DENIS                            RALEIGH, ELLIOT                      RALEIGH, RAVIN
ADDRESS ON FILE                           278 HIGHWAY 1933                     104 WHICK LICK BRANCH ROAD
                                          JACKSON, KY 41339-7234               JACKSON, KY 41339-9037




RALENE TARRANT                            RALLS, AMY                           RALLS, CORRIE
ADDRESS ON FILE                           145 N PINE ST                        1 ANGUS LANE
                                          NASHVILLE, IL 62263                  ANNA, IL 62906




RALLS, KELSEY D.                          RALLS, STEPHANIE L.                  RALPH EDGAR PROPERTIES
ADDRESS ON FILE                           ADDRESS ON FILE                      P.O. BOX 501
                                                                               DIXON, IL 61021




RALPH L FERGUSON                          RALPH, ASHLEY E.                     RALPH, KEVIN C.
1232 CUMBERLAND TR                        4815 TIMBERLAKE CT.                  ADDRESS ON FILE
MONROE, GA 30656-8913                     WATERLOO, IL 62298




RALSTON, LORA                             RAM AIR PRODUCTS CO                  RAM, CAROL D.
1964 N BROAD ST                           2240 CASSENS DR.                     P O BOX 1786
GALESBURG, IL 61401                       FENTON, MO 63026                     DEMING, NM 88031
RAM, DARSHAN              Case 20-10766-BLS
                                        RAMAS, Doc  6
                                               ZAHNIA      Filed 04/07/20   Page 1458
                                                                                 RAMCOof 1969
                                                                                      CONTRACTING, LLC
P O BOX 1786                             ADDRESS ON FILE                         DBA CONSOLIDATED FENCE CO
DEMING, NM 88030                                                                 7 GOVENOR DR
                                                                                 ST. CHARLES, MO 63301




RAMETTA, NANDA L.                        RAMEY KAYLA N                           RAMEY, CHARLES
604 W 10TH ST                            P.O. BOX 232                            80 WINDOL ST
JOHNSTON CITY, IL 62951                  MINERAL BLUFF, GA 30559-0232            MCKENZIE, TN 38201




RAMEY, SHELLE M.                         RAMEY, TRISHA D                         RAMI, MITAL
ADDRESS ON FILE                          2607 PINERIDGE DR NE                    2566 N MALLARD LN
                                         CONYERS, GA 30012                       ROUND LAKE BEACH, IL 60073




RAMION VERSEY                            RAMIREDDYGARI, SRAVANI                  RAMIREZ FREDY
1374 WEBB MEADOWS CT                     ADDRESS ON FILE                         ADDRESS ON FILE
LOGANVILLE, GA 30052




RAMIREZ JULIE                            RAMIREZ KATHLEEN M                      RAMIREZ MARISELA
825 COUNTY ROAD 47                       365 MEADOW CREEK WAY                    8860 GAP RD SE
HUDSON, CO 80642-8603                    BLUE RIDGE, GA 30513                    DEMING, NM 88030




RAMIREZ RAMIREZ, INGRID D.               RAMIREZ, ALEXANDRIA N.                  RAMIREZ, ANA
1614 JUNEWAY TERRACE                     402 WESTOVER RD                         970 GREEN VALLEY RD
ROUND LAKE BEACH, IL 60073               BIG SPRING, TX 79720                    WATSONVILLE, CA 95076




RAMIREZ, BEATRIZ                         RAMIREZ, BRENDA R.                      RAMIREZ, CYNTHIA .
ADDRESS ON FILE                          1912 S GRANITE ST                       ADDRESS ON FILE
                                         DEMING, NM 88030




RAMIREZ, DARLA                           RAMIREZ, DOROTEO                        RAMIREZ, FRED
ADDRESS ON FILE                          2409 SUNSET LN                          ADDRESS ON FILE
                                         LINDENHURST, IL 60046




RAMIREZ, GINA M.                         RAMIREZ, GLORIA E.                      RAMIREZ, JESSICA
16250 DEBRA DR                           ADDRESS ON FILE                         ADDRESS ON FILE
OAK FOREST, IL 60452




RAMIREZ, JOAQUIN M.                      RAMIREZ, JULIUS                         RAMIREZ, KAREN
P.O. BOX 2527                            14 MORGAN CT                            ADDRESS ON FILE
MESQUITE, NV 89024                       SCOTTS VALLEY, CA 95066
RAMIREZ, KASEY L.         Case 20-10766-BLS   Doc
                                        RAMIREZ,    6 A.Filed 04/07/20
                                                 KYLENE                  Page 1459  of LOLA
                                                                              RAMIREZ, 1969
2808 CORONADO                             2021 S TIN                          453 POKIE RD
BIG SPRING, TX 79720                      DEMING, NM 88030                    POCAHONTAS, IL 62275




RAMIREZ, LORETTA J.                       RAMIREZ, LUIS J.                    RAMIREZ, MARIA E.
ADDRESS ON FILE                           38878 N SHERIDAN RD                 ADDRESS ON FILE
                                          BEACH PARK, IL 60099




RAMIREZ, RACHEL                           RAMIREZ, SILVERIO                   RAMIREZ, SIMONA
ADDRESS ON FILE                           2304 S LAS CRUCES ST                2316 FM 1054
                                          DEMING, NM 88030                    ODONNELL, TX 79351




RAMIREZ, STACIE M.                        RAMIREZ, SYLVIA                     RAMIREZ, TRISHA D.
515 RUSS LONG LN                          ADDRESS ON FILE                     18085 WISTERIA ST
PARSONS, TN 38363                                                             HESPERIA, CA 92345




RAMIREZ, VERONICA                         RAMIREZ, WILSON                     RAMIREZ-DELUNA, JOSE
1400 SANTA CLARA                          2921 GILBOA                         P.O. BOX 526
DEMING, NM 88030                          ZION, IL 60099                      MOAPA, NV 89025-0526




RAMIRO, REYES                             RAMMACHER, ADAM                     RAMO, CHRISTINA
P.O. BOX 3447                             ADDRESS ON FILE                     ADDRESS ON FILE
MESQUITE, NV 89027




RAMOLD, GERALD                            RAMON CASTILLO                      RAMON COURTS
6199 ISLEY RD NW                          4095 MAJESTIC VIEW                  4058 W 115TH ST.
CANTON, OH 44718                          DEMING, NM 88030                    APT 410
                                                                              CHICAGO, IL 60655




RAMON, AMBER                              RAMON, ANITA                        RAMONA A CROSS
1801 RIMROCK RD APT G23                   207 11TH STREET NE                  877 LEE ROAD 116
BARSTOW, CA 92311                         FORT PAYNE, AL 35967                MARIANNA, AR 72360




RAMONA HENDERSON                          RAMONA WASHBURN                     RAMONE MARTINEZ
1674 COUNTY ROAD 188                      280 TOWER ROAD                      378 GIANNA WAY
FORT PAYNE, AL 35967                      MCKENZIE, TN 38201                  ST AUGUSTINE, FL 32086




RAMONE, HILLARY K.                        RAMOS, ALEXIS                       RAMOS, AMANDA
ADDRESS ON FILE                           ADDRESS ON FILE                     P.O. BOX 784
                                                                              LOGANDALE, NV 89021
RAMOS, BONNIE           Case 20-10766-BLS
                                      RAMOS, Doc 6 Filed
                                             CONCEPCION A. 04/07/20   Page 1460
                                                                           RAMOS,of 1969
                                                                                  FELIPE
8133 SIR LANCELOT CT                   13000 CHICAGO ST                    1711 S NICKEL ST
EVANS, GA 30809                        BLUE ISLAND, IL 60406               DEMING, NM 88030




RAMOS, LUKE                            RAMOS, RUTH                         RAMOS, SALVADOR M.
328 HARLEM AVENUE                      905 HARRISON ST UNIT A              2041 HIGH STREET
GLENVIEW, IL 60025                     ALPINE, TX 79830                    BLUE ISLAND, IL 60406




RAMOS, STACY                           RAMOSAVELAR, KARLA                  RAMP, LISA A.
10622 S TROY ST                        2380 W 18TH AVE                     ADDRESS ON FILE
CHICAGO, IL 60655                      EUGENE, OR 97402




RAMP,LISA                              RAMPOLD, AMANDA                     RAMSDELL, WILLIAM S.
ADDRESS ON FILE                        8977 PROVO LANE                     1818 KENWOOD DR
                                       ST. LOUIS, MO 63123                 ORRVILLE, OH 44667-2346




RAMSER MEDIA                           RAMSER, CAROL                       RAMSEY STEVE
P.O. BOX 50273                         1224 HILLCLIFF ST                   P.O. BOX 162
AUSTIN, TX 78763                       LOUISVILLE, OH 44641                HENAGAR, AL 35978-0162




RAMSEY WAITE CO                        RAMSEY, AMANDA L.                   RAMSEY, AMANDA
4258 FRANKLIN BLVD                     ADDRESS ON FILE                     ADDRESS ON FILE
EUGENE, OR 97403




RAMSEY, CHRISTEN                       RAMSEY, CORY D.                     RAMSEY, DESIREE M.
700 N BIRD STREET APT 329              605 OAK DRIVE A                     3126 RIO ARRIZA LOOP
ALPINE, TX 79830                       CAPITOLA, CA 95010                  LAS CRUCES, NM 88012




RAMSEY, DONA J.                        RAMSEY, FARRAH                      RAMSEY, JON
11000 GRABER ST SW                     930 OLD JACKSON RD.                 12001 SINCLAIR ST SW
MASSILLON, OH 44647                    HENDERSON, TN 38340                 MASSILLON, OH 44647




RAMSEY, LINDA E.                       RAMSEY, LORNA                       RAMSEY, PATRICIA P.
ADDRESS ON FILE                        4255 WEST 188TH STREET              2935 ROSEBUD RD
                                       COUNTRY CLUB HILLS, IL 60478        LOGANVILLE, GA 30052-3080




RAMSEY, SHERRY                         RAMSEY, TAMARA F.                   RAMSEYER, ROY
1403 WEST CHESTNUT ST                  ADDRESS ON FILE                     C/O ERIC RAMSEYER
MARION, IL 62959                                                           13500 ARNOLD RD
                                                                           DALTON, OH 44618
RAMZA, LAKAYLA L.       Case 20-10766-BLS
                                      RANALLI,Doc  6 Filed 04/07/20
                                               PETER                  Page 1461 of 1969
                                                                           RANCHERO, JESSICA
212 SHERWOOD BLVD                      5320 FOXHILL CR NE                   4008 CYPRESS DR
FYFFE, AL 35971                        CANTON, OH 44705                     APT 203
                                                                            ZION, IL 60099




RANCILIO, JOHN                         RAND, ANN                            RAND, DELLA
608 NORTH 14TH ST                      1058 OLD MILL RD                     280 WASHINGTON ST
HERRIN, IL 62948                       MINERAL BLUFF, GA 30559              WATERLOO, IL 62298




RANDA, EDEN                            RANDALL B ROBERTS                    RANDALL BALDWIN
8605 CLEVELAND RD                      176 MOSHIER HILL RD                  178 SANDY SHORE DR
CRESTON, OH 44217                      GALESBURG, IL 61401                  GRANITE CITY, IL 62040




RANDALL BALLARD                        RANDALL E GUSDORF                    RANDALL HROZIENCIK
GARY MARTOCCIO; SPIELBERGER LAW        9666 OLIVE BLVD                      816 MONROE ST
GROUP                                  SUITE 211                            GALESBURG, IL 61401
4890 W KENNEDY BLVD, STE 950           ST LOUIS, MO 63232
TAMPA, FL 33609



RANDALL K FURLOW                       RANDALL TOBLER                       RANDALL, DARRELL L.
1101 SOUTH STATE ST                    P.O. BOX 1345                        83270 BRADFORD RD
CHRISTOPHER, IL 62822                  OVERTON, NV 89040-1345               CRESWELL, OR 97426




RANDALL, DIANE                         RANDALL, HALEY W.                    RANDALL, JASIE D.
470 JOYNER DRIVE                       ADDRESS ON FILE                      ADDRESS ON FILE
WEST HELENA, AR 72390




RANDALL, KATHRYN K.                    RANDALL, LAWRENCE                    RANDALL, SONDRA
516 S. TIN ST.                         2107 E CHARLES ST                    159 E PLAINVIEW DR
DEMING, NM 88030                       WEST FRANKFORT, IL 62896             WARRENTON, GA 30828-3655




RANDELL, AMY L.                        RANDI MITCHELL                       RANDI PARCEL
ADDRESS ON FILE                        ADDRESS ON FILE                      1626 MONROE ST
                                                                            GALESBURG, IL 61401




RANDI PARCEL                           RANDLE VANESSA                       RANDLE, MARY
ADDRESS ON FILE                        845 E 152ND ST                       502 N 45TH ST
                                       PHOENIX, IL 60426                    EAST SAINT LOUIS, IL 62205




RANDLE, RICHARD E, DR                  RANDLE, SIDNEY                       RANDLEMAN, HARRY RAYMOND
86734 MAHOGANY LANE                    422 N WASHINGTON STREET              38965 DEXTER RD SPC 10
SPRINGFIELD, OR 97477                  WEST HELENA, AR 72390                P.O. BOX 194
                                                                            DEXTER, OR 97431
RANDLES, BETTY          Case 20-10766-BLS
                                      RANDOLDoc    6 Filed 04/07/20
                                              STEEPLETON              Page 1462 ofELIZABETH
                                                                           RANDOL, 1969
1619 OVERLOOK AVE SW                  27 STATE RTE 164                     AP JANET
MASSILLON, OH 44647-7642              GALESBURG, IL 61401                  SPRINGFIELD, OR 97478




RANDOLPH COUNTY HEALTH DEPT          RANDOLPH COUNTY TREASURER             RANDOLPH COUNTY TREASURER
2515 STATE STREET                                                          1 TAYLOR STREET
CHESTER, IL 62233                                                          ROOM 205
                                                                           CHESTER, IL 62233




RANDOLPH, ANGIE R.                   RANDOLPH, DEBORAH L.                  RANDOLPH, GUNNER W.
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




RANDOLPH, JAMES                      RANDOLPH, KATHY J.                    RANDOLPH, MELISSA K.
1321 PRAIRIE ESTATE DRIVE            1305 SO 16TH                          ADDRESS ON FILE
NEW LENOX, IL 60451                  MOUNT VERNON, IL 62864




RANDOLPH, STEFFANIE R.               RANDSTAD NORTH AMERICA INC            RANDY C KELLETT
ADDRESS ON FILE                      P.O. BOX 742689                       P.O. BOX 2284
                                     ATLANTA, GA 30374-2689                OVERTON, NV 89040




RANDY FRANKEL                        RANDY OLSON                           RANDY TODD AUTO GLASS
ADDRESS ON FILE                      2677 15TH AVE                         16315 HWY 412 EAST
                                     ALEXIS, IL 61412                      LEXINGTON, TN 38351




RANDY TUCKER                         RANDY W HEAD                          RANES, ELIZABETH
509 NORTH WATER                      187 HWY 2W                            1649 W MAIN STREET
JONESBORO, IL 62952                  PALENSTINE, AR 72372                  GALESBURG, IL 61401




RANEY, DONNA L.                      RANEY, TERESA K.                      RANGE CAFE AT THE PLAZA HOTEL
510 LINKS DR                         1220 CHAPPARAL RD                     230 PLAZA
MESQUITE, NV 89027                   MESQUITE, NV 89027                    LAS VEGAS, NM 87701




RANGE, SHARLA                        RANGEL, MELISSA                       RANGEL, SIFIGREDO
ADDRESS ON FILE                      14 ALGONQUIN DR APT 3                 1403 N HICKORY AVE
                                     INDIAN HEAD PARK, IL 60525            ROUND LAKE, IL 60073




RANGRA THEATERS                      RANKIN, BETTY                         RANKIN, CARLA A.
109 EAST HOLLAND AVE                 7074 EDWARDS RIDGE RD SE              200 WINGFOOT DR
ALPINE, TX 79830                     UHRICHSVILLE, OH 44683                APTOS, CA 95003
RANKIN, KENNETH          Case 20-10766-BLS   Doc
                                       RANKINS,    6 L.Filed 04/07/20
                                                DORRIS                  Page 1463 of 1969
                                                                             RANSDELL, ANGIE
8471 N GOSHEN LN                         108 GLENDALE AVE                     938 L STREET
MT VERNON, IL 62864                      GREENVILLE, AL 36037                 SPRINGFIELD, OR 97477




RANSDELL, ANJEANETTE L.                  RANSOM, DONALD                       RAO, JAMES
ADDRESS ON FILE                          21 BEALE COURT DR                    795 MORNING SUN DRIVE
                                         BLAIRSVILLE, GA 30512                TWIN FALLS, ID 83301




RAO, RICARDO                             RAO, SUJATHA                         RAPALEE, CHRISTINA D.
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




RAPER, TANISHA                           RAPHAEL ESCOVAR MD                   RAPID TEMPS, INC
311 CAULFIELD DRIVE                      ADDRESS ON FILE                      9670 EAGLE RANCH ROAD
SWANSEA, IL 62226                                                             SUITE 2-B
                                                                              ALBUQUERQUE, NM 87114




RAPIN, JANE E.                           RAPOZA, ALISA                        RAPP, HAROLD
ADDRESS ON FILE                          ADDRESS ON FILE                      5339 STAUNTON RD
                                                                              EDWARDSVILLE, IL 62025-6533




RAPPA, HALEY M.                          RAPPI, PAMELA                        RAPPUHN, TERRY ALLISON
187 PALM AVENUE APT 34                   ADDRESS ON FILE                      ADDRESS ON FILE
MARINA, CA 93933




RAQUEL D BETTON                          RAQUEL SWEAT                         RARE CHOPHOUSE
11137 S UNION AVE                        P.O. BOX 1024                        224 S 10TH STREET
CHICAGO, IL 60628                        LOGANDALE, NV 89021                  MT VERNON, IL 62864




RASCHEN, MICHAEL B.                      RASCOE, MICHELLE                     RASCOE, NATJASSIA
7364 KIDLEWOOD DR                        1015 ETHAN CT                        ADDRESS ON FILE
EDWARDSVILLE, IL 62025                   WILLIAMSTON, NC 27892




RASCOE, VILLIA S.                        RASCON, CESAR                        RASDALL, PHYLICIA
ADDRESS ON FILE                          7610 LINCOLN AVE                     4232 JOHNSON WAY LOT B
                                         HESPERIA, CA 92345                   GREEN RIVER, WY 82935




RASEL, FRANCIS G.                        RASH, JENNIFER D.                    RASHMIKANT MD, PATEL
127 ADAMS ROAD                           ADDRESS ON FILE                      20 TOWER COURT STE D
HENRY, TN 38231                                                               GURNEE, IL 60031
RASHONDA HALL              Case 20-10766-BLS    Doc 6 M.Filed 04/07/20
                                         RASKA, ROSALBA                  Page 1464 of 1969
                                                                              RASMUSSEN KEITH
5916 STAGHORN DRIVE                       ADDRESS ON FILE                     P.O. BOX 1124
TOLEDO, OH 46314                                                              LYMAN, WY 82937-1124




RASMUSSEN, ADRIANA T.                     RASMUSSEN, BAILEE R.                RASMUSSEN, CORBIN N.
ADDRESS ON FILE                           319 EMERSON AVE                     ADDRESS ON FILE
                                          EVANSTON, WY 82930-4962




RASMUSSEN, DANNETTE                       RASMUSSEN, ELAINE M.                RASMUSSEN, JAMIA
2159 N 130 W                              ADDRESS ON FILE                     ADDRESS ON FILE
TOOELE, UT 84074




RASMUSSEN, JENNIFER L.                    RASMUSSEN, MEGAN                    RASSIK COMPLETE RECOVERY INC
ADDRESS ON FILE                           785 WATERVIEW DRIVE                 1155 CEDAR COURT
                                          ROUND LAKE PARK, IL 60073           CARBONDALE, IL 62901




RATAJCZYK, PAMELA D.                      RATCLIFF, MIRTA                     RATCLIFF, PATRICIA
ADDRESS ON FILE                           115 HIGHLAND DRIVE                  2705 MINERAL BLUFF HWY
                                          HAZARD, KY 41701                    MINERAL BLUFF, GA 30559




RATCLIFF, WILLIAM ZACK                    RATCLIFFE, MICHAEL                  RATHKE, DAVID
P.O. BOX 65                               258 MILL CREEK ROAD                 5630 N ISLAND DR NW
MORGANTON, GA 30560                       FORT GAY, WV 25514                  CANTON, OH 44718-1624




RATHMELL, BARBARA                         RATHMELL, ROBERT Q.                 RATHOD, JACKSON P.
1181 LONG RUN RD                          1186 LONG RUN RD                    ADDRESS ON FILE
MILL HALL, PA 17751-9370                  MILL HALL, PA 17751




RATLEFF, DARWANA T.                       RATLEFF, DARWANA T.                 RATLIFF, BARBARA S.
3125 MOONLIGHT RIDGE ARC                  ADDRESS ON FILE                     ADDRESS ON FILE
LAS CRUCES, NM 88011




RATLIFF, BETHANY N.                       RATLIFF, BEVERLY J.                 RATLIFF, CLYDE
411 HARLEY DR                             ADDRESS ON FILE                     8953 S CONSTANCE AVE
LOUISA, KY 41230                                                              CHICAGO, IL 60617




RATLIFF, JESSICA L.                       RATLIFF, LAURA G.                   RATLIFF, MELINDA C.
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE
RATLIFF, STEPHANIE      Case 20-10766-BLS
                                      RATLIFF,Doc  6
                                               TERRY        Filed 04/07/20   Page 1465  ofTINA
                                                                                  RATLIFF, 1969M.
ADDRESS ON FILE                         3021 FORESTVIEW DR                         24814 81ST STREET
                                        ASHLAND, KY 41102                          SALEM, WI 53168




RATLIFF, TRISTA                         RATON NATURAL GAS CO.                      RATON UTILITIES
ADDRESS ON FILE                         P.O. BOX 308                               P.O. BOX 99
                                        1360 SOUTH SECOND ST                       RATON, NM 87740
                                        RATON, NM 87740




RATTLER, BRENDA                         RATZKELLER, LLC                            RAU, JENNIFER
1313 CLARIANNA STREET                   JAMES O RATZ                               4950 BLUFF RD
WEST HELENA, AR 72390                   1019 VETERANS ST                           VALMEYER, IL 62295
                                        RED BUD, IL 62278




RAU, JENNIFER                           RAUBE, THOMAS                              RAUDEBAUGH, BEVERLY A.
ADDRESS ON FILE                         255 CEDAR LANE                             153 1/2 IRVING RD
                                        TUNNEL HILL, IL 62972                      EUGENE, OR 97404




RAUGUST, ROLLIN                         RAUSCH, PENNY                              RAVANELLIS RESTAURANT
6985 NEW COLUMBIA RD                    317 SOUTH STREET                           3 AMERICAN VILLAGE
BELKNAP, IL 62908                       SMITHTON, IL 62285                         GRANITE CITY, IL 62040




RAVEN, RANDALL LARR                     RAVI MD, VIMAL                             RAVINIA
260 OAK HILL DR                         1646 RIVER ST APT 818                      305 CROSS TRAIL
MORGANTON, GA 30560                     KINGSTON POINTE                            MCHENRY, IL 60050
                                        DES PLAINES, IL 60016




RAVNIKAR, LAURA L.                      RAWLINGS CO C/O AETNA                      RAWLINGS COMPANY LLC COB
6327 50TH ST                            P.O. BOX 2000                              P.O. BOX 589
KENOSHA, WI 53144                       LAGRANGE, KY 40031-2000                    LAGRANGE, KY 40031-5089




RAWLINGS COMPANY LLC, THE               RAWLINGS COMPANY LLC, THE                  RAWLINGS FINANCIAL SERVICES
ATT FAY CLARK                           ATTN REFUNDS                               P.O. BOX 589
P.O. BOX 2000                           P.O. BOX 2010                              LAGRANGE, KY 40031-0589
LA GRANAGE, KY 40031-2000               LA GRANGE, KY 40031




RAWLINGS FINANCIAL SERVICES             RAWLINGS FINANCIAL                         RAWLINGS, BRENDA
P.O. BOX 589                            PO BOX 589                                 ADDRESS ON FILE
LAGRANGE,, KY 40031-0589                LAGRANGE, KY 40031




RAWLINS, JUDY                           RAWLS, JASON                               RAWLS, LORI A.
2759 GINGER HILL ESTATES RD             225 CROOKED ST                             ADDRESS ON FILE
THOMASON, GA 30824                      TREZEVANT, TN 38258-3065
RAWSON, MILANA        Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                    RAY BEATRICE                    Page 1466  of 1969
                                                                         RAY HOUSERS TERMITE & PEST CO
1321 ORD GROVE AVENUE               1863 MICHIGAN CITY RD                 P.O. BOX 1076
SEASIDE, CA 93955                   UNIT 3W                               FORREST CITY, AR 72335
                                    CALUMET CITY, IL 60409




RAY HOUSERS TERMITE & PEST CONTROL   RAY HOUSERS                          RAY KAYLA
2020 E BROADWAY                      P O BOX 1076                         375 N AMERICA RD
FORREST CITY, AR 72336-0000          FORREST CITY, AR 72335               HARRISBURG, IL 62946




RAY MICHAEL ALAN                     RAY RESH                             RAY, ABBY DANIELLE
ADDRESS ON FILE                      2427 CARLENE AVE SW                  1713A DEAN ROAD NE
                                     MASSILLON, OH 44647                  FORT PAYNE, AL 35967-7662




RAY, CARRIE                          RAY, CHRISTOPHER G.                  RAY, CYNTHIA M.
3563 SADDLEBROOK DR                  ADDRESS ON FILE                      ADDRESS ON FILE
LOGANVILLE, GA 30052




RAY, DARREL                          RAY, DEARIKA                         RAY, EDWARD J.
ADDRESS ON FILE                      5793 BRETT MICHAEL LN APT. 5         3200 W 76TH LN
                                     BELLEVILLE, IL 62223                 MERRILLVILLE, IN 46410




RAY, HARMONY N.                      RAY, HARMONY                         RAY, HEATHER L.
17 LANIER DR                         OR                                   116 FORREST HEIGHTS
CHATSWORTH, GA 30705                                                      PARIS, TN 38242




RAY, JANIE                           RAY, JOHN K.                         RAY, JOHN K.
235 E TENNESSEE AVE                  ADDRESS ON FILE                      603 W UVALDE
MCCAYSVILLE, GA 30555                                                     ALPINE, TX 79830




RAY, KITTY LEA                       RAY, LAWRENCE VAN HORN               RAY, MARCO
P O BOX 2787                         ADDRESS ON FILE                      ADDRESS ON FILE
BLUE RIDGE, GA 30513




RAY, MARONDIA M.                     RAY, MAUREEN I.                      RAY, MELVA A.
12401 S PRINCETON AVE                P.O. BOX 9163                        4613 SW 316TH PL
CHICAGO, IL 60628                    WAUKEGAN, IL 60079                   FEDERAL WAY, WA 98023-0000




RAY, NED J.                          RAY, RENADA L.                       RAY, SARA M
P O BOX 234                          12942 W PLAYFIELD DRV                436 PHILLIPS 273 RD
1125 S FLY AVE                       CRESTWOOD, IL 60445-1121             LEXA, AR 72355
GOREVILLE, IL 62939
RAY, SHELBY             Case 20-10766-BLS    Doc 6
                                      RAY, SOLIDAY        Filed 04/07/20   Page 1467  of 1969
                                                                                RAY, SUMMER
P.O. BOX 192                           54 LONG LANE                             2915 31ST APT 210
BRINKLEY, AR 72021                     CARBONDALE, IL 62902-7363                ZION, IL 60099




RAYAS, MONICA FOR MIRACLE RAYAS        RAYBURN, CHRISTINA                       RAYBURN, LINDA
96 TEAKWOOD DR                         74 CLYDE MCDONALD RD                     203 E MEADOW
LEXINGTON, TN 38351                    MURPHY, NC 28906                         WAYNE CITY, IL 62895




RAYE, HOPE                             RAYE, LINDA S.                           RAYKIN, DANIELLA
2911 FLETCHER AVENUE                   325 JEANETTE PL                          10546 136TH
CANTON, OH 44705                       MUNDELEIN, IL 60060                      LARGO, FL 33774




RAYMOND E GRIFFIN LIVING TRUST         RAYMOND F ZIEGLER JR                     RAYMOND MALCOM
84618 PHEASANT LANE                    101 LYNN ST                              308 SWAMP ST NE
PLEASANT HILL, OR 97455                PO BOX 315                               HARTVILLE, OH 44632
                                       VICTORIA, IL 61485




RAYMOND MEYER SR                       RAYMOND ORTIZ                            RAYMOND PELOSI
17860 AKIN BLACKTOP                    ADDRESS ON FILE                          260 21ST ST NW
BENTON, IL 62812-6105                                                           MASSILLON, OH 44647




RAYMOND, JILEK                         RAYMOND, MARTIE S.                       RAYMOND, SHARON KAYE
10351 MENARD AVE                       ADDRESS ON FILE                          902 W POPLAR
OAK LAWN, IL 60453                                                              WEST FRANKFORT, IL 62896




RAYMUNDO, JOANN                        RAYMUNDO, JOANN                          RAYMUNDO, ROMANO F.
2922 CONCORD LANE                      2922 CONCORD LANE                        ADDRESS ON FILE
WADSORTH, IL 60083                     WADSWORTH, IL 60083




RAYNOR JOANNA                          RAYNOR, KEVIN S.                         RAYNOR, TYLER
1190 CEDAR POINT DR                    ADDRESS ON FILE                          ADDRESS ON FILE
WILLIAMSTON, NC 27892




RAYNORHENOCH, SHERRY                   RAYNOW, LISA                             RAYOS, LELONY
102 SOUTH EVANS ST                     820 MCKINLEY AVE SW                      1408 SCURRY ST
ROBERSONVILLE, NC 27871                BREWSTER, OH 44613-1446                  BIG SPRING, TX 79720




RAZO, ALEJANDRA                        RAZOR, BESSIE                            RAZOR, FREDA W.
5763 DROUBAY RD APT 4                  108 MCINTYRE ST                          ADDRESS ON FILE
ERDA, UT 84074                         WILLIAMSTON, NC 27892
RAZOR, SHAYLE M.       Case 20-10766-BLS
                                     RAZOR, Doc 6 Filed
                                            SYMPHONY C. 04/07/20   Page 1468   of 1969
                                                                        R-B INSTRUMENTS
ADDRESS ON FILE                       112 CENTER ST                      PO BO 742333
                                      WILLIAMSTON, NC 27892              HOUSTON, TX 77274




RBC CAPITAL MARKETS CORPORATION       RC MEDICAL, INC                    RD PLASTICS CO INC
(0235)                                P O BOX 833                        P.O. BOX 111300
ATTN STEVE SCHAFER OR PROXY MGR       12 ELLEN DRIVE                     NASHVILLE, TN 37222
60 S 6TH ST - P09                     TOLLAND, CT 06084
MINNEAPOLIS, MN 55402-1106



RD PLASTICS COMPANY INC               RD PLASTICS COMPANY, INC.          REA, KARISSA
4825 TROUSDALE DRIVE, SUITE 203       P O BOX 111300                     ADDRESS ON FILE
NASHVILLE, TN 37220                   NASHVILLE, TN 37222




REA, SUSAN R.                         REAB, TARA A.                      READ, DENISE
ADDRESS ON FILE                       2283 BLUE SPRING RUN               P.O. BOX 714
                                      FORT WAYNE, IN 46808               LAS VEGAS, NM 87701




READ, LOUELLA A.                      READ, MARGARET C.                  READ, ROBERTA
ADDRESS ON FILE                       ADDRESS ON FILE                    P.O. BOX 2837
                                                                         LAS VEGAS, NM 87701




READDIE, TARANLAL S.                  READERS DIGEST                     READERS DIGEST
ADDRESS ON FILE                       P.O. BOX 433031                    P.O. BOX 6097
                                      PALM COAST, FL 32143-3031          HARLAM, IA 51593-1597




READING, LAURA F.                     READY LINK                         READYLINK INC
ADDRESS ON FILE                       P.O. BOX 1047                      P.O. BOX 1047
                                      THOUSAND PALMS, CA 92276           THOUSAND PALMS, CA 92276




REAGAN HONEA                          REAGAN, CHARLOTTE                  REAGAN, GARY M.
285 4TH ST SW                         719 WEST BIRCH ST                  ADDRESS ON FILE
LOT 2                                 DEMING, NM 88030
SYLVANIA, AL 35988




REAGAN, MADYSON                       REAGAN-WOOD, HEATHER B.            REAKA, AMY J.
683 S STATE ST                        ADDRESS ON FILE                    33 ARNOLD DR
EAST GALESBURG, IL 61430                                                 DUPO, IL 62239




REAKA, AMY J.                         REAL KLEEN SERVICES                REAL WORLD & LATE PHASE RESEARCH
ADDRESS ON FILE                       P.O. BOX 1375                      P.O. BOX 601070
                                      EVANSTON, WY 82930                 CHARLOTTE, NC 28260-1070
REALDENY MEDICAL LLC     Case 20-10766-BLS    Doc 6 LEADERSHIP
                                       REALITY-BASED  Filed 04/07/20   Page 1469  of 1969 A.
                                                                            REAM, KIMBERLY
P.O. BOX 88                             20330 VETERANS DR                    ADDRESS ON FILE
SALYERSVILLE, KY 41465                  SUITE 1
                                        ELKHORN, NE 68022




REAR, ROBERT                            REARICK, HERBERT                     REARICK, LINDA L.
308 MINT AVE                            220 CLEVLAND AVE SE                  10847 MILLERSBURG SW
EUGENE, OR 97404                        BREWSTER, OH 44613                   MASSILLON, OH 44647




REASON, ANGELA S                        REASON, PAMELA M.                    REAVES MARILYN HOLLANDE
2541 SWEET HOME RD                      ADDRESS ON FILE                      80 W 37TH AVE
WILLIAMSTON, NC 27892-7652                                                   EUGENE, OR 97405




REAVES, JASON                           REAVES, LARRY                        REAVILL, DEBBIE S.
3284 NEW SEARCY RD                      P.O.BOX 34                           115 W CENTER ST
GREENVILLE, AL 36037                    ROBERSONVILLE, NC 27871              FAIRFIELD, IL 62837




REBA BYRD                               REBECAH SHARPE                       REBECCA ADAMS
2479 RANDOLPH STILL RD                  13212 TABOR RD                       ADDRESS ON FILE
GOOD HOPE, GA 30641                     COLLINSVILLE, AL 35961




REBECCA ANN HEGYESI                     REBECCA BRIDGES                      REBECCA CABANAS
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




REBECCA CRAWFORD                        REBECCA D OWEN                       REBECCA EDWARDS
2013 KNOX RD 280E                       99 WHITEHEAD RD SW                   ADDRESS ON FILE
GALESBURG, IL 61401                     OXFORD, GA 30054-3314




REBECCA FRESHWATER                      REBECCA GIBBS                        REBECCA HARP
ADDRESS ON FILE                         30 PAT DR                            804 6TH STREET
                                        COLLINSVILLE, IL 62234               PAINTSVILLE, KY 41240




REBECCA HUTCHINSON                      REBECCA HYMAS                        REBECCA J WARNER
14845 GAYHEAD RD                        P.O. BOX 1672                        7149 N. IL HWY 37
APPLE VALLEY, CA 92307                  LOGANDALE, NV 89021                  MT. VERNON, IL 62864




REBECCA KIRGAN                          REBECCA L BLADES                     REBECCA LEE-HALL
401 E FIRST ST                          10775 YELLOWBANKS RD                 ADDRESS ON FILE
MAQUON, IL 61401                        BENTON, IL 62812
REBECCA NEWSOME        Case 20-10766-BLS   Doc
                                     REBECCA    6 Filed 04/07/20
                                             NICHOLAS                  Page 1470 of OGDEN
                                                                            REBECCA 1969
821 JACKSON ST                        255 N SPERRY                          3445 GUILFORD AVE NW
THOMSON, GA 30824                     BUSHNELL, IL 61422                    CANTON, OH 44718




REBECCA OSBORNE                       REBECCA POPE                          REBECCA REDMOND
1103 ROBERT                           14079 SOUTH HWY 3                     10843 S EGGLESTON AVE
GODFREY, IL 62035                     LOUISA, KY 41230                      CHICAGO, IL 60628




REBECCA SCHRAUTH                      REBECCA WORKMAN, DO                   REBEL BARN CATERING
ADDRESS ON FILE                       ADDRESS ON FILE                       79 YELLOW BRICK ROAD
                                                                            FORT GAY, WV 25514




RECALDE, SABRINA V.                   RECEIVABLE MANAGEMENT SERVICES        RECERA, WILFREDO B.
ADDRESS ON FILE                       P.O. BOX 361348                       15624 SAYRE AVENUE
                                      COLUMBUS, OH 43236                    OAK FOREST, IL 60452




RECHTIN, DEVIN R.                     RECINOS, MARIA                        RECINTO, ELIZABETH
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




RECKLEIN, CRYSTAL D.                  RECKMAN, BRANDI                       RECONNECT THERAPY
ADDRESS ON FILE                       342 HUSTON ST                         2844 TRACELAND DRIVE
                                      GALESBURG, IL 61401                   TUPELO, MS 38801




RECORD AUTOMATIC DOORS                RECORD AUTOMATIC DOORS                RECORD, MARGARET A.
P.O. BOX 57158                        PO BOX 57158                          P.O. BOX 914
PLEASANT HILL, IA 50327               PLEASANT HILL, IA 50327               MINERAL BLUFF, GA 30559




RECOVERY DEPARTMENT                   RECREATION SUPPLY CO                  RECRUITING.COM
P.O. BOX 31658                        P.O. BOX 2757                         DEPT 880121
TAMPA, FL 33631                       BISMARK, ND 58502                     P.O. BOX 29650
                                                                            PHOENIX, AZ 85038-9650




RECTOR, JOHANNA                       RECTOR, MATTHEW                       RED ARCH MEDICAL
4465 CASTLEGATE BLVD                  121 N. 13TH STREET                    P.O. BOX 556
UNIONTOWN, OH 44685                   MT. VERNON, IL 62864                  AMERICAN FORK, UT 84003




RED BUD ATHLETIC ASSOCIATION          RED BUD CHAMBER OF COMMERCE           RED BUD CLINIC CORP.
ATTN: JOSH ECKART                     P.O. BOX 66                           208 SOUTH LASALLE STREET
1110 AUSTIN DR                        RED BUD, IL 62278                     SUITE 814
RED BUD, IL 62278-0000                                                      CHICAGO, IL 60604
                      Case 20-10766-BLS
RED BUD CONSTRUCTION SUPPLY         RED BUDDoc   6 Filed
                                             ELEMENTARY   04/07/20
                                                        SCHOOL             Page 1471  ofFIRE
                                                                                RED BUD  1969DEPARTMENT
P.O. BOX 182                        200 W FIELD DR                               P.O. BOX 33
RED BUD, IL 62278                   RED BUD, IL 62278                            RED BUD, IL 62278




RED BUD HOSPITAL CORPORATION           RED BUD ILLINOIS HOSPITAL COMPANY         RED BUD ILLINOIS HOSPITAL COMPANY, LLC
208 SOUTH LASALLE STREET               325 SPRING STREET                         208 SOUTH LASALLE STREET
SUITE 814                              RED BUD, IL 62278                         SUITE 814
CHICAGO, IL 60604                                                                CHICAGO, IL 60604




RED BUD LIONS CLUB                     RED BUD PHYSICIAN GROUP, LLC              RED BUD REGIONAL CARE
830 S MAIN ST                          1209 ORANGE STREET                        RESIDENT TRUST
RED BUD, IL 62278                      WILMINGTON, DE 19801                      350 W.S. 1ST STREET
                                                                                 RED BUD, IL 62278




RED BUD REGIONAL CLINIC COMPANY, LLC   RED BUD REGIONAL HOSPITAL                 RED BUD ROTARY
1209 ORANGE STREET                     ENTITY 0168                               P.O. BOX 93
WILMINGTON, DE 19801                   325 SPRING STREET                         RED BUD, IL 62278
                                       RED BUD, IL 62278




RED BUD WINERY INC                     RED HAWK SECURITY                         RED HAWK SECURITY
1524 W MARKET ST                       7296 SOLUTION CENTER                      P.O. BOX 650394
RED BUD, IL 62278                      CHUBB                                     DALLAS, TX 75265-0394
                                       CHICAGO, IL 60677-7002




RED STAR FIRE PROTECTION               RED TOP CAB                               RED, BUD IGA
8780 19TH ST. 226                      1108 SOUTH COURT ST                       1010 SOUTH MAIN STREET
ALTA LOMA, CA 91701                    MARION, IL 62959                          RED BUD, IL 62278




REDA G HIGGS                           REDA SLONE AND THE LAW OFFICE OF          REDAR, LISA D.
1810 CARRIAGE HILL ST NW               NICK VAUGHN PA                            329 W GLENGATE AVE
MASSILLON, OH 44646-2704               AND COLLINS COLLINS & CONLEY PLLC         CHICAGO HTS, IL 60411
                                       P.O. BOX 727
                                       HINDMAN, KY 41822



REDCLOUD, ALMA G.                      REDCLOUD, ALMA                            REDD, CHARLES
103 FREDERICK ST.                      103 FREDRICK ST                           ADDRESS ON FILE
ANNA, IL 62906                         ANNA, IL 62906




REDD, CRYSTAL Y.                       REDD, DEBRA A.                            REDD-BLEDSOE, BROOKLYN
1227 PHILLIPS 300 ROAD                 ADDRESS ON FILE                           P.O. BOX 393
WEST HELENA, AR 72390                                                            LOGANDALE, NV 89021-0393




REDDEN LONI                            REDDEN, KATHLEEN R.                       REDDEN, LYNNE A.
P.O. BOX 121                           ADDRESS ON FILE                           2307 WEST DOUGLAS
ROBERTSON, WY 82944-0121                                                         MARION, IL 62959
REDDICK EMMA             Case 20-10766-BLS   Doc
                                       REDDICK,    6 Filed
                                                BETHYLEE C. 04/07/20      Page 1472  of DIANA
                                                                               REDDICK, 1969
6001 W MAIN STREET EXT                  108 VICTORIA AVENUE                    1708 WHISPERING CREEK DRIVE
WILLIAMSTON, NC 27892                   WILLIAMSTON, NC 27892                  EDMOND, OK 73013




REDDING, AIMEE                          REDDING, DEBORAH                       REDDITT DEBORAH A
1639 PEACE CHAPEL RD                    ADDRESS ON FILE                        ADDRESS ON FILE
DECATURVILLE, TN 38329




REDDITT, JAMES DONALD                   REDFEARN, TAMMIE                       REDFERN, RITA
2440 WILLAKENZIE RD                     ADDRESS ON FILE                        419 W MAIN ST
EUGENE, OR 97401-0000                                                          APPLE CREEK, OH 44606




REDISKE HEIDI                           REDMAN, LAUREN                         REDMON, DEVITA A.
10004 MEREDITH LN SE                    809 SOUTHWEST PLACE APT D              ADDRESS ON FILE
HUNTSVILLE, AL 35803                    EDWARDSVILLE, IL 62025




REDMON, SHELBY A.                       REDMOND, FELICIA R.                    REDMOND, SHIRLEY
ADDRESS ON FILE                         661 GORDON AVE                         1420 W. 110TH ST
                                        CALUMET CITY, IL 60409                 CHICAGO, IL 60643-3620




REDNOUR, JULIE                          REDNOUR, TINA M.                       REDOC/NET HEALTH SYSTEMS
7590 E RICHVIEW RD                      ADDRESS ON FILE                        P.O. BOX 72046
MT. VERNON, IL 62864                                                           CLEVELAND, OH 44192




REDSTONE, JOHNATHEN                     REDWOOD CAPITAL MANAGEMENT, LLC        REDWOOD TREEHOUSE LLC
2307 WOODLAWN AVE                       REDWOOD MASTER FUND LTD                P.O. BOX 13144
GRANITE CITY, IL 62040                                                         SPRINGFIELD, IL 62791




REECE JR, CHARLES P.                    REECE JR., CHARLES P.                  REECE THOMAS H
ADDRESS ON FILE                         ADDRESS ON FILE                        830 N 8TH STREET
                                                                               HARRISBURG, OR 97446




REECE WILLIAM H JR                      REECE, AMANDA M.                       REECE, AMANDA
4051 HWY 2                              2434 HANCOCK ROAD                      61 THRASHER LANE
BLUE RIDGE, GA 30513-3803               SOCIAL CIRCLE, GA 30025                BLUE RIDGE, GA 30513




REECE, CARMEN                           REECE, JOSEPH                          REED ADRIANA
ADDRESS ON FILE                         4001 WILLIAMS AVE APT K-142            448 S JONES MILL ROAD
                                        FT PAYNE, AL 35967                     ELLIJAY, GA 30540
REED SUSAN G                Case 20-10766-BLS    Doc 6 Filed
                                          REED, ARMSTRONG,     04/07/20
                                                           MUDGE & MORISSEY Page 1473  of 1969
                                                                                 REED, ASHLIE
609 EAST 2ND STREET                         P.O. BOX 368                         3303 HARBOR RIDGE DRIVE
BLUE RIDGE, GA 30513                        EDWARDSVILLE, IL 62025               ZION, IL 60099




REED, AUDREANNA                             REED, BRANDON K.                     REED, CASSIE L.
991 KY 1717 P.O. BOX 1113                   ADDRESS ON FILE                      ADDRESS ON FILE
BOONEVILLE, KY 41314




REED, CHARLA A.                             REED, CHERYL C.                      REED, CHERYL C.
ADDRESS ON FILE                             198 D DRIVE                          ADDRESS ON FILE
                                            CHOCOWINITY, NC 27817




REED, CHERYL                                REED, DANA                           REED, DONNA M.
113 COUNTY ROAD 865                         ADDRESS ON FILE                      11068 GALAXY DR
COLLINSVILLE, AL 35961                                                           MARYLAND HEIGHTS, MO 63043




REED, ERIKA L.                              REED, ESSIE                          REED, J T.
ADDRESS ON FILE                             1546 W WATER ST                      ADDRESS ON FILE
                                            PRAIRIE GREEN AT FAYS
                                            BLUE ISLAND, IL 60406-5094




REED, JORDAN D.                             REED, KATHY                          REED, LAURIE B.
ADDRESS ON FILE                             1540 HUMMEL VALLEY ROAD              79 SUNRISE GAP
                                            NEW PHILADELPHIA, OH 44663           BLUE RIDGE, GA 30513




REED, LINDA S.                              REED, LORI W.                        REED, MARY A.
ADDRESS ON FILE                             5365 N WINCHESTER DRIVE ST GEORGE    668 LINDEN ST
                                            ST GEORGE, UT 84770                  DRESDEN, TN 38225




REED, MARY M.                               REED, MELANIE                        REED, PAULETTE
ADDRESS ON FILE                             730 SOUTH LEDFORD                    315 TRAYLOR STREET EAST
                                            HARRISBURG, IL 62946                 FYFFE, AL 35971




REED, RHONDA                                REED, SANDRA CAROL                   REED, SHARON K.
ADDRESS ON FILE                             41404 MCKENZIE HWY                   ADDRESS ON FILE
                                            SPRINGFIELD, OR 97478-0000




REED, SUSIE                                 REED, TIFFANY P.                     REED, TIFFANY
HC 65 BOX 604                               ADDRESS ON FILE                      ADDRESS ON FILE
MANILA, UT 84046-9701
REED, TIMOTHY P.         Case 20-10766-BLS
                                       REEDER,Doc  6 Filed
                                               ELIZABETH A. 04/07/20   Page 1474 ofKIMBERLY
                                                                            REEDER, 1969
5365 N WINCHESTER DR                    ADDRESS ON FILE                     ADDRESS ON FILE
ST. GEORGE, UT 84770




REEDS SPRAYFOAM INSULATION INC          REED-SIMPSON, ZONDERA V.            REEDY, LEWIS A.
15 COLEMAN ROAD                         2718 RIDGELY COURT                  2616 NE BLOOMFIELD CT
BELFRY, KY 41514                        SNELLVILLE, GA 30039                ROSEBURG, OR 97470




REEL FALESHA K                          REEL, ALEXANDRA C                   REEL, LOLA M.
508 RUBY JOHNSON DRIVE                  192 N BLACKBERRY LN                 6972 CR 124
SCOTTSBORO, AL 35768-7001               FAYETTEVILLE, PA 17222              DUTTON, AL 35744




REEL, SANDRA                            REEL, TIM J.                        REELTIME MEDIA
ADDRESS ON FILE                         ADDRESS ON FILE                     604 CARRIAGE HILL DR
                                                                            STUART WILLIS
                                                                            GLENVIEW, IL 60025




REENE, LONG                             REEP, CLARISSA M.                   REES, DAVID B.
ADDRESS ON FILE                         1665 CURTIS AVE                     20 S STATE ST HC 13 BOX 4192
                                        EUGENE, OR 97401                    WALES, UT 84667




REES, HEIDI A.                          REES, JANEY                         REESE, DWIGHT
ADDRESS ON FILE                         P.O. BOX 338                        771 LAMB ST
                                        FORT BRIDGER, WY 82933              GIBSON, GA 30810




REESE, JANET M.                         REESE, KARI J.                      REESE, SANDY
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




REESE, TIMOTHY V.                       REESE, VIRGINIA R.                  REESE, WENDY
224 SARAH CIR NE                        195 GULCH RD                        128 RYAN RIDGE NE
NAVARRE, OH 44662                       TRENTON, GA 30752                   NAVARRE, OH 44662




REESER, GRADY                           REEVE ROBERT DAVID                  REEVE, DAVID J.
7712 FOREST HILLS LANE                  3800 POWELL LN                      449 MONTICELLO PL
WATERLOO, IL 62298                      UNIT 1104                           EDWARDSVILLE, IL 62025
                                        FALLS CHURCH, VA 22041




REEVE, LORETTA G.                       REEVES ENTERPRISE                   REEVES GLASS & MIRROR SHOP
ADDRESS ON FILE                         41 VOLUNTEER DR                     DBA THE GLASS & MIRROR SHOP
                                        LEXINGTON, TN 38351                 1513 TROY RD
                                                                            EDWARDSVILLE, IL 62025
REEVES MICHAEL D         Case 20-10766-BLS
                                       REEVESDoc  6 AFiled 04/07/20
                                             SR, MACK                        Page 1475 ofANNA
                                                                                  REEVES, 1969E.
P.O. BOX 1076                           2327 NEAL ST                              ADDRESS ON FILE
GRANTSVILLE, UT 84074                   AUGUSTA, GA 30906




REEVES, CHARLOTTE                       REEVES, ILEANA                            REEVES, JAIDEN A.
2634 EAST 24TH STREET                   1011 VINE STREET                          5211 D STREET
GRANITE CITY, IL 62040                  COLLINSVILLE, IL 62234                    SPRINGFIELD, OR 97478




REEVES, JARDANA C.                      REEVES, JENAY                             REEVES, JENAY
ADDRESS ON FILE                         2831 KINGSTREAM WAY                       3089 FOX CHASE CT
                                        SNELLVILLE, GA 30039-4966                 SNELLVILLE, GA 30039-6259




REEVES, JIMMY D.                        REEVES, KENNETH                           REEVES, MALLORY
2492 STATE HWY 150 S                    8205 HWY 22A                              ADDRESS ON FILE
EVANSTON, WY 82930-5325                 LEXINGTON, TN 38351




REEVES, MELISSA A.                      REEVES, PRECIOUS C.                       REEVES, SANDIE
ADDRESS ON FILE                         323 UNIVERSITY                            206 ROSE AVE
                                        BELLEVILLE, IL 62221                      CRYSTAL LAKE, IL 60014




REEVES-FOWLER, VALARI E.                REFFSTRUP, ETHEL LOUISE                   REFRIGERATION HARDWARE SUPPLY
104 NATALIE DR                          1210 SPYGLASS DR                          632 FARSIGHT CIRCLE
SWANSEA, IL 62226                       EUGENE, OR 97401                          GRAND JUNCTION, CO 81505




REFRIGERATION SALES CORP                REFRIGERATION SUPPLIES DISTRIBUTOR        REFUGE TEMPLE
9450 ALLEN DR STE A                     15360 BONANZA RD                          411 S HILL ST
VALLEY VIEW, OH 44125                   VICTORVILLE, CA 92392-0000                MARION, IL 62959




REGALADO, DANIELLE M.                   REGAN, TIMOTHY                            REGENCE BC/BS OF OR
ADDRESS ON FILE                         22154 WINDSOR CT                          P.O. BOX 1271
                                        RICHTON PARK, IL 60471-1132               PORTLAND, OR 97207-1271




REGENCE BCBS OF OREGON                  REGENCE BCBS OF UT                        REGENCE BCBS UTAH
P.O. BOX 3318                           P.O. BOX 3016                             P.O. BOX 30162
SARASOTA, FL 34230                      ATTN: CASH MANAGEMENT                     TACOMAAKE CITY, WA 98401-3016
                                        TACOMA, WA 98401-3016




REGENCE BCBS UTAHTWORK                  REGENCE BLUESHIELD                        REGENCE BX BS OF OREGON
P.O. BOX 3016                           P.O. BOX 3016                             P.O. BOX 91048
TACOMA, WA 98401-3016                   TACOMA, WA 98401                          SEATTLE, WA 98111-9148
REGENSBERG, PATRICIA        Case 20-10766-BLS
                                          REGINA Doc 6 Filed 04/07/20
                                                 A WADE                    Page 1476
                                                                                REGINAof 1969
                                                                                       HARDISON
3292 STATE HWY 518                         6841 YELLOW BRICK RD                 ADDRESS ON FILE
CLEVELAND, NM 87715                        DUQUOIN, IL 62832




REGINA HERRERA                             REGINA HOLMAN                        REGINA JONES, POA
403 OLIVIA ROAD                            63318 ISTHMUS HEIGHTS RD             1056 W 108TH PL
LAS VEGAS, NM 87701                        COOS BAY, OR 97420-8286              CHICAGO, IL 60643




REGINA LYLES WEBB                          REGINA M SHEPPARD                    REGINA STEVENSON
ADDRESS ON FILE                            3444 MEADOW WOOD ST NW               416 HAMILTON ST
                                           MASSILLON, OH 44646                  GREENVILLE, AL 36037




REGINA TERRAZAS                            REGINALD COUCH                       REGIONAL HOSPITAL OF JACKSON
ADDRESS ON FILE                            10 WRIGHT CR                         37 SANDSTONE CIRCLE
                                           NORTH LITTLE ROCK, AR 72113          JACKSON, TN 38305




REGIONS BANK                               REGIONS BANK                         REGIONS BANK
201 MILAN PKWY                             321 N ROSSER                         ATTN: STACY SCALA
2ND FLR                                    FORREST CITY, AR 72335               100 GRAND AVENUE S.
BIRMINGHAM, AL 35211                                                            FORT PAYNE, AL 35967




REGIONS EQUIPMENT FINANCE LTD              REGISTER, ELIZABETH                  REGISTER-MAIL PFP
1900 5TH AVE, N, FL 24                     GALESBURG, IL 61401                  P.O. BOX 310
BIRMINGHAM, AL 35203                                                            GALESBURG, IL 61402




REGISTER-MAIL PFP                          REGISTRY DATA SOLUTIONS              REGISTRY PARTNERS INC
PO BOX 310                                 MARKETING RESOURCES OF BURLINGTON    2607 HOLLY HILL ST STE D
GALESBURG, IL 61402                        2966 S. CHURCH ST, PMB 287           BURLINGTON, NC 27215
                                           BURLINGTON, NC 27215-8670




REGISTRY PARTNERS, INC.                    REGNA, BRIAN                         REGNA, JACKIE
2607 HOLY HILL ST SUITE D                  918 RUSKIN AVE                       5163 OLD CARPENTER RD
BURLINGTON, NC 27215                       EDWARDSVILLE, IL 62025               EDWARDSVILLE, IL 62025




REHAB ALLIANCE                             REHAB PRACTICE MGNT, LLC             REHABCARE
22995 MILL CREEK DRIVE                     9364 ANSLEY LANE                     P O BOX 502096
SUITE A                                    BRENTWOOD, TN 37027-3312             ST LOUIS, MO 63150-2096
LAGUNA HILLS, CA 92653




REHG, BETH M.                              REHLING, CRIS                        REHM, HAROLD GEORGE
ADDRESS ON FILE                            106 KNOX RD 850 N                    3580 BARDELL AVE
                                           GALESBURG, IL 61401                  EUGENE, OR 97401
REHM, LANCE            Case 20-10766-BLS   Doc
                                     REHMAN,    6 Filed 04/07/20
                                             ABDUR                 Page 1477 ofROBERT
                                                                        REHMER, 1969
1487 N 150 W                         ADDRESS ON FILE                    4131 FF ROAD
WASHINGTON, IN 47501-9231                                               COLUMBIA, IL 62236




REHMER, SHERYL L.                   REIBER JAMES A                      REIBER, JAMES
ADDRESS ON FILE                     752 E LOSEY ST                      ADDRESS ON FILE
                                    GALESBURG, IL 61401




REICHEL, NANCY                      REICHERT INC                        REICHERT INC.
1 ALHAMBRA CT                       3362 WALDEN AVENUE                  WELLS FARGO BANK
SWANSEA, IL 62226-1650              DEPEW, NY 14043                     P.O. BOX 9202
                                                                        PHILADELPHIA, PA 19178-9202




REICHERT, INC                       REICHERT, INC                       REICHERT, ROBERT A.
C/O WELLS FARGO BANK                C/O WELLS FARGO BANK                ADDRESS ON FILE
P.O. BOX 789202                     PO BOX 789202
PHILADELPHIA, PA 19178              PHILADELPHIA, PA 19178




REID RONNIE T                       REID VALES                          REID, ALAN HOFMANN
130 MOORES RD                       2250 HIGHWAY Z                      D/B/A HOFMANN MEDICAL
MINERAL BLUFF, GA 30559             PEVELY, MO 63070-2504               820 COUNTRY CLUB ROAD
                                                                        CENTRALIA, IL 62801




REID, ALLISON M.                    REID, CAMILLE R.                    REID, CAROLYN J.
11710 CREEKVIEW CT                  ADDRESS ON FILE                     8125 WILLOW DR. UNIT D
MOKENA, IL 60448                                                        PALOS HILLS, IL 60465




REID, CHRISTELLA                    REID, JENNIFER C.                   REID, MELODY A.
917 THUNDERHEAD DR                  1911 20TH ST.                       ADDRESS ON FILE
SAINT LOUIS, MO 63138               ZION, IL 60099




REID, SARA                          REID, TOSHA                         REIDER, ALLISON M.
275 E 1850 NORTH RD                 55 BARBERRY CIRCLE                  5949 N IL HWY 37
WEST SALEM, IL 62476                COVINGTON, GA 30016                 BONNIE, IL 62816




REIDER, ALLISON                     REIF, MICHELLE                      REIGHART, PRISCILLA A.
ADDRESS ON FILE                     ADDRESS ON FILE                     418 KORMAN RD NE
                                                                        MASSILLON, OH 44646




REIKA IGNATIUS                      REILING, JASON                      REILLY FLORA E
ADDRESS ON FILE                     1212 13TH ST                        6891 RT 37
                                    HIGHLAND, IL 62249                  MARION, IL 62959
REILLY, JAMIE             Case 20-10766-BLS
                                        REILLY, Doc  6 Filed 04/07/20
                                                JODY W.                 Page 1478
                                                                             REILLY,of 1969
                                                                                    JOSIE
226 LAKE FORREST RD                      ADDRESS ON FILE                     ADDRESS ON FILE
LYNCHBURG, TN 37352




REILLY, LACI L.                          REILLY, M.D., MARTHA M              REILLY, WILLIAM
4718 NANCY ST.                           ADDRESS ON FILE                     ADDRESS ON FILE
FORT IRWIN, CA 92310




REILSON, LAURA                           REIMAN, JACOB                       REIMAN, KELCIE
108 JEFFERSON ST                         148 HURRICANE ROAD                  148 HURRICANE RD
ST. JACOB, IL 62281                      MURPHYSBORO, IL 62966               MURPHYSBORO, IL 62966




REIMBURSEMENT RECOVERY INC               REINACHER, GARY                     REINALDO VILLALOBOS-OCAMPO
5123 VIRGINIA WAY                        1867 LAKEVIEW ACRES RD              ADDRESS ON FILE
STE A-12                                 MARYVILLE, IL 62062
BRENTWOOD, TN 37027




REINECKE, ERIC                           REINFELD, EVELYN                    REINGLASS, STEVEN
206 OAKLAND AVE                          1274 TOURIST PARK RD                3080 WARBLER PLACE
CAPITOLA, CA 95010                       HALIFAX, PA 17032-8935              HIGHLAND PARK, IL 60035




REINHARDT, MARGIE E.                     REINHOLD, LAURA                     REINHOLD, RAYMOND P.
1605 LINDELL BLVD                        ADDRESS ON FILE                     214 GODIAR STREET
GRANITE CITY, IL 62040                                                       PRAIRIE DU ROCHER, IL 62277




REINHOLD, RUTHY A.                       REINICKE, GLENN J.                  REINICKE, STEPHANIE M.
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




REINKING, CAROL                          REIS, ALAN                          REISER, ANDREW
1105 ST LOUIS ST                         594 LAKEVIEW CIRCLE                 8130 LINCOLN STREET
EDWARDSVILLE, IL 62025                   MORGANTON, GA 30560                 MERRILLVILLE, IN 46410




REIST, RONALD G.                         REITER DAIRY OF AKRON               REITER, DENNIS
P.O. BOX 687                             75 REMITTANCE DR                    3531 HILTON ST NW
MC CAYSVILLE, GA 30555                   STE 6469                            MASSILLON, OH 44646
                                         CHICAGO, IL 60675




REITHKNECHT, KRISTIN J.                  REITMAN, JANET K.                   REITMANN LINDA L
316 BELLE AIRE AVENUE                    ADDRESS ON FILE                     250 VISTA HILLS RD
BOURBONNAIS, IL 60914                                                        MURPHY, NC 28906
REITZ LORI A           Case 20-10766-BLS     Doc 6
                                     REITZ, ROGER         Filed 04/07/20   Page 1479 of 1969
                                                                                RELADYNE WEST, LLC
414 S LIBRARY                         1565 MILE POST RD                          8137 SOUTH STATE
WATERLOO, IL 62298                    SUNBURY, PA 17801                          MIDVALE, UT 84047-0000




RELAY FOR LIFE                        RELAYHEALTH                                RELAYHEALTH
RE:CANCER GOLF SCRAMBLE               5995 WINDWARD PARKWAY                      P.O. BOX 98347
1217 E. 17TH ST                       ALPHARETTA, GA 30005                       CHICAGO, IL 60693-8347
BIG SPRING, TX 79720




RELAYSON LOMER                        RELAYSON, MARY KATHRYN P.                  RELIABLE FIRE EQUIPMENT COMPANY
ADDRESS ON FILE                       ADDRESS ON FILE                            12845 SOUTH CICERO AVE
                                                                                 ALSIP, IL 60803




RELIABLE NURSING SOLUTIONS,INC        RELIABLE SANITATION SERVICE                RELIABLE SANITATION SERVICE
16057 KAMANA ROAD B                   601 S MARKET ST                            P.O. BOX 210
APPLE VALLEY, CA 92307                WATERLOO, IL 62298                         WATERLOO, IL 62298




RELIAMAX LENDING SERVICES, LLC        RELIANCE CONNECTS                          RELIANCE STANDARD LIFE
P.O. BOX 91910                        301 S BROADWAY                             2001 MARKET ST
SIOUX FALLS, SD 57109-1910            P.O. BOX 189                               PHILADELPHIA, PA 19103
                                      ESTACADA, OR 97023




RELIANCE STANDARD                     RELIANCE WHOLESALE, INC                    RELIANT
505 SOUTH LENOLA RD                   P.O. BOX 24685                             P.O. BOX 650475
SUITE 231                             TAMPA, FL 33623-4685                       DALLAS, TX 75265-0475
MOORESTOWN, NJ 08057




RELJIN, EMILY                         RELLA SHUMWAY                              RELLEKE, PATRICIA
704 SPARROW WAY                       945 NORTHRIDGE AVE                         4824 DANIELLE
WADSWORTH, OH 44281                   SPRINGFIELD, OR 97477                      GRANITE CITY, IL 62040




RELLER, TODD                          RELODE LLC                                 REMAR INC
18000 WEST OXFORD RD                  7000 EXECUTIVE DR                          6200 E. DIVISION ST
STAUNTON, IL 62088                    BLDG 2 SUITE 190                           LEBANON, TN 37090
                                      BRENTWOOD, TN 37027




REMBERT, ELBERT L.                    REMEL, INC                                 REMENARIC, RUTH L.
303 W 112TH PL                        P.O. BOX 96299                             194 6TH ST SW
CHICAGO, IL 60628                     CHICAGO, IL 60693                          BREWSTER, OH 44613-1336




REMICADE ANTITRUST LITIGATION         REMINGTON MEDICAL INC                      REMINGTON MEDICAL INC
BERGER MONTAGUE                       6830 MEADOWRIDGE COURT                     6830 MEADOWRIDGE CT
ATTN: DAVID F. SORENSEN, ZACHARY D.   ALPHARETTA, GA 30202                       ALPHARETTA, GA 30005
CAPLAN & ANDREW C. CURLEY
PHILADELPHIA, PA 19103
REMINGTON MEDICAL INC Case 20-10766-BLS    DocASHLEY
                                    REMINGTON,  6 Filed 04/07/20           Page 1480  of 1969
                                                                                REMINGTON, WHITTLEY
6830 MEADOWRIDGE CT                 837 GREEN AVE SW                             547 50 TH AVE
ALPHARETTA, GA 30202                MASSILLON, OH 44647                          SWEET HOME, OR 97386




REMKUS, DIANE                            REMLEIN, DORRIS                         REMONDINI, MARY K.
15312 S KNOX                             P O BOX 710                             5525 HWY 418 SW
APT 8                                    DEMING, NM 88031                        DEMING, NM 88030
OAK FOREST, IL 60452




RENAISSANCE IMAGING MEDICAL              RENALCARE ASSOCIATES                    RENALCARE ASSOCIATES, SC
ASSOCIATES                               420 NE GLEN OAK AVENUE                  IL KIDNEY DISEASE & HYPERTENSION
P.O. BOX 190                             SUITE 401                               420 NE GLEN OAK AVE 401
SIMI VALLEY, CA 93062                    PEORIA, IL 61603                        PEORIA, IL 61603




RENAULT, VICKI L.                        REND LAKE COLLEGE                       REND LAKE PLUMBING & HEATING
ADDRESS ON FILE                          468 N. KEN GRAY PARKWAY                 P.O. BOX 25
                                         INA, IL 62846                           14532 E SADDLE CLUB RD
                                                                                 BONNIE, IL 62816




RENDER, JAMES A.                         RENDLEMAN, GARY                         RENE CAPULE
332 HAZEL AVE                            3885 NEW SARATOGA RD                    ADDRESS ON FILE
BELLEVILLE, IL 62223                     ANNA, IL 62906-0000




RENEA HOLCOMB                            RENEE A KELLY                           RENEE HOLLIDAY
ADDRESS ON FILE                          504 BRIGHAM TRL                         41758 EDS GROCERY ROAD
                                         AUGUSTA, GA 30909-6046                  WILLIAMSTON, NC 27892




RENEE LOVELESS/PETTY CASH TRUSTEE        RENEE WRIGHT                            RENEESHA BETTIS
ADDRESS ON FILE                          1219 COUNTY RD 51                       ADDRESS ON FILE
                                         MCKENZIE, AL 36556




RENELL, LEE GREIER                       RENEW BIOMEDICAL                        RENEW THAT NOW, INC.
1407 JONATHAN AVE SW                     2345 DR FE WRIGHT DR                    4710 DESOTO PARKWAY
NORTH CANTON, OH 44720                   JACKSON, TN 38305                       FORT PAYNE, AL 35967




RENEX DIALYSIS SERVICES OF ATLANTA INC   RENFRO, JESSICA W.                      RENFROE MEDICAL
FRESENIUS-PEACHTREE BILLING OFC IP       ADDRESS ON FILE                         P.O. BOX 1402
16343 COLLECTIONS CENTER DR                                                      WEST MEMPHIS, AR 72303
CHICAGO, IL 60693




RENFROE, REBECCA E.                      RENICKER, DUSTY                         RENIGAR, TODD
ADDRESS ON FILE                          3319 COLE AVE SE                        118 SFC 310
                                         NEW PHILADELPHIA, OH 44663-7736         FORREST CITY, AR 72335
RENN, SHANNON L.         Case 20-10766-BLS
                                       RENNER,Doc 6 Filed 04/07/20
                                               BROEDY                      Page 1481 ofTRACY
                                                                                RENNER, 1969
ADDRESS ON FILE                         409 E COURT ST                          446 S SOANGETAHA RD
                                        FARMINGTON, IL 61531                    GALESBURG, IL 61401




RENNIE, SANDRA JEAN                     RENO, BENJAMIN J.                       RENSHAW, WILLIAM
5550 E ST                               ADDRESS ON FILE                         184 HIDDEN HILLS CIRCLE
SPRINGFIELD, OR 97478                                                           LEXINGTON, TN 38351




RENSTROM ELIZABETH                      RENT-ALL & SALES INC.                   RENTERIA, DANIA
34 BLUEBIRD DR                          8460 EXPRESS DRIVE                      1903 S. PLATINUM AVE
STURGEON BAY, WI 54235                  RT 13 WEST                              DEMING, NM 88030
                                        MARION, IL 62959




RENTERIA, DANIA                         RENTERIA, MIGUEL                        RENTERIA, VALERIE
ADDRESS ON FILE                         1222 SADDLER                            11549 S KOLIN AVE
                                        DEMING, NM 88030                        ALSIP, IL 60803




RENTFRO, DONALD                         RENTNER, DEANNA L.                      RENTOKIL NORTH AMERICA INC
1743 PINENEEDLE RD                      10219 265TH CT                          P.O. BOX 13848
MONTGOMERY, AL 36106-2615               TREVOR, WI 53179                        READING, PA 19612-3848




RENTOKIL NORTH AMERICA INC              RENTOKIL PEST CONTROL                   RENZO, IBERIS
P.O. BOX 472127                         P.O. BOX 13848                          2150 AUGUSTA DR SE
CHARLOTTE, NC 28247-2127                READING, PA 19612-3848                  MASSILLON, OH 44646




REPP, DAVID                             REPPERT STEPHANIE A                     REPUBLIC BANK
427 SANDY AVE NE                        640 MAIN ST                             1560 S RENAISSANCE TOWNE DR, STE 260
MASSILLON, OH 44646                     ANTIOCH, IL 60002                       BOUNTIFUL, UT 84010




REPUBLIC HEALTH RESOURCES, LLC          REPUBLIC SERVICES OF OHIO HAULING LLC   REPUBLIC TIMES, LLC
C/O WELLS FARGO                         870                                     P O BOX 147
P.O. BOX 202056                         P.O. BOX 9001099                        WATERLOO, IL 62298
DALLAS, TX 75320-2056                   LOUISVILLE, KY 40290-1099




REPUBLIC TIMES, LLC                     REPUBLIC WASTE SVCS                     REPUBLIC/ALLIED SERVICES
P.O. BOX 147                            P.O. BOX 9001099                        18500 N ALLIED WAY
WATERLOO, IL 62298                      LOUISVILLE, KY 40290-1099               PHOENIX, AZ 85054




REPUBLIC/ALLIED SERVICES                RES MED                                 RES MED
P.O. BOX 9001099                        LOCKBOX 51054                           LOCKBOX 534593
LOUISVILLE, KY 40290-1099               LOS ANGELES, CA 90051-5354              ATLANTA, GA 30353-4593
RESCH, TARA              Case 20-10766-BLS   Doc
                                       RESCHKE,   6 Filed 04/07/20
                                                MELISSA              Page 1482
                                                                          RESCO of 1969
3416 AIRPORT RD                        ADDRESS ON FILE                    230 WEST 700 SOUTH
CENTRALIA, IL 62801-6238                                                  SALT LAKE CITY, UT 84110




RESCUE 1 EXPRESSO, LLC               RESENDIZ, GUSTAVO                    RESERVE ACCOUNT
411 NORTH WOLCOTT AVE                ADDRESS ON FILE                      P.O. BOX 223648
SUITE 40                                                                  PITTSBURGH, PA 15250-2648
CHICAGO, IL 60622




RESERVE NATIONAL INS CO              RESGONIA, TARA D.                    RESH, DALE H.
P.O. BOX 26620                       ADDRESS ON FILE                      OR GRACE JOANNE RESH
OKLAHOMA CITY, OK 73126                                                   540 MAIN ST N
                                                                          NAVARRE, OH 44662-1075




RESH, KAREN                          RESHAPE LIFESCIENCES, INC            RESIDENCE INN
229 TREASURE ISLAND DRIVE            1001 CALLE AMANECER                  25 CLUB RD
APTOS, CA 95003                      SAN CLEMENTE, CA 92673               EUGENE, OR 97401




RESING, MICHAEL H.                   RESKE, RICHARD RUDOLF                RESMED CORP
ADDRESS ON FILE                      571 COBURG RD APT 2                  P.O. BOX 534593
                                     EUGENE, OR 97401-0000                ATLANTA, GA 30353-4593




RESOLUTION CONSULTING, INC           RESONANT LEGAL MEDIA LLC             RESOURCEONE ADMIN
P.O. BOX 270903                      RLMTRIALGRAPHIX                      P.O. BOX 4830
LOUISVILLE, CO 80027                 413 S WASHINGTON ST                  TULSA, OK 74159
                                     ALEXANDRIA, VA 22314




RESPIRONICS INC                      RESPIRONICS INC                      RESPIRONICS INC
1010 MURRY RIDGE LANE                P.O. BOX 405740                      PO BOX 405740
MURRYSVILLE, PA 15668                ATLANTA, GA 30384-5740               ATLANTA, GA 30384-5740




REST HAVEN FLORIST                   RESTOFF, JUSTIN A.                   RESTREPO, JUAN
64 BRACKETT WAY                      ADDRESS ON FILE                      1924 NW WOODLAND DR
BLAIRSVILLE, GA 30512                                                     CORVALLIS, OR 97330




RESURGENCE LEGAL GROUP, LLC          RETA A UNDERWOOD,CONSULTANTS FOR     RETA JAMES
3000 LAKESIDE DR                     LONG TERM CARE                       5106 LAYTHAN JACE CT
SUITE 3095                           1030 BLUEGRASS PARKWAY               SNELLVILLE, GA 30039
BANNOCKBURN, IL 60015-1249           LAGRANGE, KY 40031




RETAIL PLACE LLC                     RETAIL PLACE, LLC                    RETAIL RESOURCE LLC
C/O FOREST LERCH                     C/O FOREST LERCH                     25180 NETWORK PLACE
7700 STONEBRIDGE GOLF DR             7700 STONEBRIDGE GOLF DR             CHICAGO, IL 60673-1251
MARYVILLE, IL 62062                  MARYVILLE, IL 62062
RETAIL TWO, LLC        Case 20-10766-BLS    Doc LLC
                                     RETAIL TWO,  6 Filed 04/07/20   Page 1483 of 1969
                                                                          RETHEMEYER JR, ROBERT F.
7700 STONEBRIDGE DRIVE               7700 STONEBRIDGE GOLF DR              97 ELLIOTT DR
MARYVILLE, IL 62062                  MARYVILLE, IL 62062                   NORTHUMBERLAND, PA 17857




RETIREE MEDICAL INS PLAN             RETKO GROUP LLC                       RETRIEVE MEDICAL EQUIPMENT LLC
P.O. BOX 10439                       C/O TERRA PRPERTIES INC               1566 WAYNESBORO DR
DES MOINES, IA 50306                 110 EXECUTIVE DRIVE                   HUDSON, OH 44236
                                     HIGHLAND, IL 62249-1269




RETRIEVEX INC                        RETTA MCBRIDE                         RETTER VANESSA
ACCESS INFORMATION PROTECTED         1589 OLD STAGE RD                     14 COVERED BRIDGE LANE
P.O. BOX 310511                      GREENVILLE, AL 36037                  GLEN CARBON, IL 62034
DES MOINES, IA 50331-0511




RETTER, LISA                         RETTIG, KENNA                         RETTLE, TAMIKO
ADDRESS ON FILE                      116 EAST AVE                          ADDRESS ON FILE
                                     RED BUD, IL 62278




RETTLE, TAMIKO                       RETURN ON INVESTMENT SYSTEMS          RETURN ON INVESTMENT
ADDRESS ON FILE                      950 ENSELL ROAD                       950 EUSELL RD
                                     LAKE ZURICH, IL 60047                 LAKE ZURICH, IL 60047




RETURN ON INVESTMENTS SYSTEMS        REULECKE, ANITA                       REUSMANN, KIMBERLY
950 E ENSELL RD                      226 E WOODCREST                       5760 ATLANTA HWY
LAKE ZURICH, IL 60047                COLLINSVILLE, IL 62234                RUTLEDGE, GA 30663




REUSS, SARA                          REUSS, SARA                           REUTEBUCH, CHRISTIE
209 S EAST ST                        ADDRESS ON FILE                       ADDRESS ON FILE
NEW ATHENS, IL 62264




REUTIMAN, JUDY                       REV IT LOGISTICS, LLC                 REV IT LOGISTICS, LLC
340 DEVONSHIRE CRT                   1555 GRAMERCY RD                      1555 GRAMERCY RD
HIGHLAND, IL 62249                   SALT LAKE CITY, UT 84104              SUITE 800
                                                                           SALT LAKE CITY, UT 84104




REV TIM ANDERSON                     REV TIM ANDERSON                      REVA WEEMS
P.O. BOX 209                         PO BOX 209                            ADDRESS ON FILE
ALTONA, IL 61414                     ALTONA, IL 61414




REVELL, CYNTHIA                      REVELLI, DEBORAH                      REVELS, MICHELLE
87047 TERRITORIAL ROAD               ADDRESS ON FILE                       3644 FIRE DEPARTMENT RD
VENETA, OR 97487                                                           WILLIAMSTON, NC 27892
                     Case 20-10766-BLS
REVENUE ASSISTANCE CORP                    Doc 6 Filed 04/07/20
                                   REVIS, CAROL                   Page 1484 of 1969
                                                                       REVOLUTION EXTERIORS LLC
3711 CHESTER AVE                   ADDRESS ON FILE                      71 N 705 W
CLEVLAND, OH 44114                                                      OREM, UT 84057




REVSPRING INC                      REX BIRCH                            REX, WAYNE
26988 NETWORK PL                   P.O. BOX 299                         3274 RIDGE RD NW
CHICAGO, IL 60673-1269             LYMAN, WY 82937                      STRASBURG, OH 44680-8951




REXFORD, ELIZABETH                 REXFORD, ELIZABETH                   REY, FLOR
430 FINCH DR                       430 FINCH DR                         ADDRESS ON FILE
EAST ALTON, IL 62024               GRANITE CITY, IL 62040




REYES EBONY                        REYES KEVIN                          REYES LEON, MARIA C
256 HOLIDAY LN                     509 LAKEHURST ROAD                   ADDRESS ON FILE
HANINESVILLE, IL 60073             WAUKEGAN, IL 60085




REYES LEON, MARIA C.               REYES, ANGELINA                      REYES, ANITA
ADDRESS ON FILE                    ADDRESS ON FILE                      78 RAINES COURT APT.5
                                                                        COLLINSVILLE, AL 35961




REYES, CHESTON                     REYES, CONSUELO                      REYES, DARIUS K.
ADDRESS ON FILE                    2042 GIDEON AVE                      107 E DEL RIO
                                   ZION, IL 60099                       ALPINE, TX 79830




REYES, ELIZABETH H.                REYES, EMELIO                        REYES, JACQUELINE
120 MONTEBELLO DR                  230 S LINCOLN AVE 1                  2708 ELIZABETH AVENUE
WATSONVILLE, CA 95076              WAUKEGAN, IL 60085-5446              ZION, IL 60099




REYES, JOSEPHINE                   REYES, MELINDA                       REYES, NADINE M.
1625 CHATTAHOOCHEE COURT           2309 MARSHALL DRIVE                  3600 DIXON ST
ATLANTA, GA 30349                  BIG SPRING, TX 79720                 BIG SPRING, TX 79720




REYES, REBECCA                     REYES, SOCORRO                       REYES, STEPHANIE M.
712 MAIN STREET APT C              605 6T ST                            ADDRESS ON FILE
LEWISTOWN, IL 61542                HOLLISTER, CA 95023




REYES, XAVIER E.                   REYES, YURI                          REYES-NUTTER, ANGELITA C.
ADDRESS ON FILE                    2042 GIDEON AVE                      ADDRESS ON FILE
                                   ZION, IL 60099
REYES-VASQUEZ, ISABEL   Case 20-10766-BLS   Doc
                                      REYLING,     6 D.Filed 04/07/20
                                               HILARY                   Page 1485
                                                                             REYNA,of 1969
                                                                                   VICTOR
P.O. BOX 71                             1104 ALAN DR                         114 N GENESEE ST APT 3B
LITTLEFIELD, AZ 86432                   MCLEANSBORO, IL 62859                WAUKEGAN, IL 60085




REYNE, MARIE A.                         REYNEN, KYLE                         REYNOLDS ELECTRIC INC
ADDRESS ON FILE                         ADDRESS ON FILE                      OMNI COMM
                                                                             2175 W 2ND AVE
                                                                             EUGENE, OR 97402




REYNOLDS MARIE A                        REYNOLDS, AIMEE L.                   REYNOLDS, ANGELA
ADDRESS ON FILE                         ADDRESS ON FILE                      14544 COTTAGE GROVE AVE
                                                                             U8
                                                                             DOLTON, IL 60419




REYNOLDS, BRANDON                       REYNOLDS, DAVID B.                   REYNOLDS, DONNA E.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




REYNOLDS, EMMITT                        REYNOLDS, GARY A.                    REYNOLDS, KATRINA L.
10155 S HOXIE AVE                       216 W SIXTH ST                       460 HARLAN AVE
CHICAGO, IL 60617                       HARTFORD, IL 62048                   HERMLEIGH, TX 79526




REYNOLDS, KEDRA                         REYNOLDS, KERRI L.                   REYNOLDS, KEVIN M.
833 MEADOW RD                           25 WHITNEY CT                        21973 ROSEMARY RD
COLERAIN, NC 27924                      COVINGTON, GA 30016                  FRANKFORT, IL 60423




REYNOLDS, LORIA L.                      REYNOLDS, MANUELA                    REYNOLDS, MARY AMY
ADDRESS ON FILE                         808 PEACH LANDING                    6736 S DUVAL ISLAND DR
                                        ALPINE, TX 79830                     FLORAL CITY, FL 34436




REYNOLDS, MICHAEL                       REYNOLDS, MICHELE                    REYNOLDS, NANCY S.
4545 TWIN LAKES DRIVE                   ADDRESS ON FILE                      ADDRESS ON FILE
MONROE, GA 30656




REYNOLDS, PENNY                         REYNOLDS, PRESSLEY                   REYNOLDS, RANDY R
1318 BUTTER POINT RD                    ADDRESS ON FILE                      1024 HWY 49
JACKSON, KY 41339                                                            WEST HELENA, AR 72390




REYNOLDS, REBECCA                       REYNOLDS, REBECCA                    REYNOLDS, STACEY
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE
REYNOLDS, TINA M.        Case 20-10766-BLS   DocWILLIE
                                       REYNOLDS, 6 Filed
                                                       J. 04/07/20       Page 1486  of 1969
                                                                              REZA ASHRAF
1196 COUNTY RD 143                      3083 MOBILE RD.                       2053 TRAMORE CT
GAYLESVILLE, AL 35973                   MCCAYSVILLE, GA 30555                 CHESTERFIELD, MO 63017




REZA, JUAN                              REZABEK, LINDA J.                     REZABEK, LINDA J.
403 MESA BLVD 202                       750 ARKANSAS RD.                      ADDRESS ON FILE
MESQUITE, NV 89027                      HIGHLAND, IL 62249




REZNACK, VICTOR                         REZULT GROUP INC, THE                 RF TECHNOLOGIES INC
19 NORTHBRIDGE CT                       340 SEVEN SPRINGS WAY                 P.O. BOX 8444
EDWARDSVILLE, IL 62025                  STE 700                               CAROL STREAM, IL 60197-8444
                                        BRENTWOOD, TN 37027




RG MEDIA COMPANY                        RHEA MEDICAL CENTER                   RHEA, KATHY
3500 CHAD DR                            9400 RHEA COUNTY HIGHWAY              1720 W 107TH ST
EUGENE, OR 97408-7348                   DAYTON, TN 37321-7922                 CHICAGO, IL 60643




RHEA, TANYA M.                          RHEINECKER, DONNA                     RHINE,GERALD
ADDRESS ON FILE                         7152 STATE ROUTE 156                  P.O. BOX 941
                                        WATERLOO, IL 62298-0000               LOCK HAVEN, PA 17745




RHOADES, CLYDE F.                       RHOADES, KIMBERLY SUE                 RHOADES, ROSE M.
1100 LINE ST                            2709 MARSHALL AVE                     423 N WALNUT
SUNBURY, PA 17801                       GRANITE CITY, IL 62040                CANAL FULTON, OH 44614




RHOADES, ROSE                           RHOADES, SARA                         RHOADS MELISSA A
423 WALNUT AVE                          4520 SW 20TH PLACE                    164 N RODEO DR
CANAL FULTON, OH 44614                  CAPE CORAL, FL 33914-0000             P.O. BOX 327
                                                                              STOCKTON, UT 84071




RHOADS, JOHN                            RHOADS, REBECCA K.                    RHODE ISLAND DIVISION OF TAXATION
109 W KING                              2501 BRIARWOOD AVE APT F45            1 CAPITOL HILL
AVON, IL 61415-0204                     FORT PAYNE, AL 35967                  PROVIDENCE, RI 02908




RHODE ISLAND GENERAL TREASURER          RHODE ISLAND GENERAL TREASURER        RHODE ISLAND STUDENT LOAN AUTHORITY
UNCLAIMED PROPERTY DIVISION             UNCLAIMED PROPERTY DIVISION           P.O. BOX 81071
50 SERVICE AVE                          P.O. BOX 1435                         WARWICK, RI 02888-0089
WARWICK, RI 02886                       PROVIDENCE, RI 02901-1435




RHODEN, MICHAEL S.                      RHODENIZER, ANGELA W.                 RHODES CENTERS FOR
1412 FORT GAINES PLACE                  1556 PHILLIPS 300 ROAD                BETTER HEARING
BRENTWOOD, TN 37027                     WEST HELENA, AR 72390                 P.O. BOX 219
                                                                              BROOKPORT, IL 62910
RHODES JARROD L         Case 20-10766-BLS
                                      RHODESDoc  6 ASSOCIATES
                                             KELLY   Filed 04/07/20   Page 1487 ofALESIA
                                                                           RHODES, 1969
2283 HAVERFORD CT                      1036 BRANCHVIEW DR STE 202          2190 ROANS CREEK LEVEE RD
MARYVILLE, IL 62062                    P.O. BOX 146                        YUMA, TN 38390
                                       CONCORD, NC 28026-0146




RHODES, EBONEY                         RHODES, JODEE                       RHODES, KYLE J.
216 WILLOW DRIVE                       8846 DAY AVE SW                     ADDRESS ON FILE
WILLIAMSTON, NC 27892                  NAVARRE, OH 44662




RHODES, KYLE                           RHODES, MARK                        RHODES-RENDON, SKYENORA R.
ADDRESS ON FILE                        571 WEST FORD AVE                   P.O.BOX 291
                                       BARBERTON, OH 44203                 FREEDOM, CA 95019




RHONDA CHERRY                          RHONDA DUNN                         RHONDA DUNN-PETTY CASH
P.O. BOX 354                           ADDRESS ON FILE                     ADDRESS ON FILE
ROBERSONVILLE, NC 27871




RHONDA GRIFFIN                         RHONDA HEATHERLY, NP                RHONDA HENRY
7021 GEORGETOWN ST NW                  P.O. BOX 265                        19538 ST RT 3
EAST CANTON, OH 44730-2088             DUQUOIN, IL 62832                   RUSH, KY 41168




RHONDA METCALF                         RHONDA R MAYNARD                    RHONDA WASHBURN FOR KAY WASHBURN
4538 BUSS BRANCH                       119 CHESHIRE DRIVE                  1585 TIMBERLAKE WILDERVILLE RD
WATERLOO, IL 62298                     ANDERSONVILLE, TN 37705             LEXINGTON, TN 38351




RHS BAND BOOSTERS                      RHUMAN RENEE                        RHYMER, BRITNEY J.
1260 GODWIN DRIVE                      P.O. BOX 172                        ADDRESS ON FILE
WILLIAMSTON, NC 27892                  CHESHIRE, OR 97419-0000




RIABLE LAW FIRM                        RIBAR, RICHARD S.                   RIBBING ANDREW J
P.O. BOX 3701                          21046 TAIL FEATHERS                 3232 ERIN DR
LITTLE ROCK, AR 72203                  MOKENA, IL 60448                    GRANITE CITY, IL 62040




RIBEIRO, CAMILLA                       RIBERAL, LISA D.                    RICABAL, CLARA
1795 47TH AVE UNIT A                   ADDRESS ON FILE                     145 OLD GRAHAM HILL ROAD
CAPITOLA, CA 95010                                                         SANTA CRUZ, CA 95060




RICARDO POSTIGO-ALARCON MD             RICARDO POSTIGO-ALARCON MD          RICARDO, ALLAN
1809 DEW DROP DR                       ADDRESS ON FILE                     1409 ELM AVENUE
MARION, IL 62959                                                           ROUND LAKE, IL 60073
RICARDO, BRANDON        Case 20-10766-BLS   DocPATRICIA
                                      RICCABONI, 6 Filed 04/07/20     Page 1488  of 1969
                                                                           RICCARDINI, JUDITH L.
1409 ELM AVE                           5502 MARKET AVE N B                  14749 S LONG
ROUND LAKE, IL 60073                   CANTON, OH 44721-3225                OAK FOREST, IL 60452




RICCI, LINDSEY                         RICCIO, MARYANN                      RICE EARL N
2410 MAGNOLIA ST                       7827 S NARRAGANSETT                  401 MARLO STREET NE
DENVER, CO 80207-0000                  BURBANK, IL 60459                    FORT PAYNE, AL 35967




RICE EQUIPMENT COMPANY                 RICE PAYNE                           RICE WILMA
12895 PENNRIDGE                        P.O. BOX 91                          ADDRESS ON FILE
BRIDGETON, MO 63044                    OIL SPRINGS, KY 41238




RICE, AMY - ICEO                       RICE, AMY                            RICE, AMY
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




RICE, ANGELINE                         RICE, BETTY                          RICE, BRITTANY J.
1169 HOLLAND AVE NE                    7581 OLD HWY. 76                     1811 JACKSON AVE. NW
EAST CANTON, OH 44730                  MORGANTON, GA 30560                  MASSILLON, OH 44646




RICE, COURTNEY                         RICE, CYMANTHA                       RICE, DAWN
ADDRESS ON FILE                        ADDRESS ON FILE                      1811 JACKSON AVE NW
                                                                            MASSILLON, OH 44646




RICE, DWAYNE, MD                       RICE, FREDDIE DWIGHT                 RICE, GAGE
ADDRESS ON FILE                        9855 LAKEWOOD HWY                    1738 OAKDALE
                                       MINERAL BLUFF, GA 30559-3417         WYNNE, AR 72396




RICE, JASON M.                         RICE, JAYNE                          RICE, JENNIFER
ADDRESS ON FILE                        7376 STONEHILL AVE NW                ADDRESS ON FILE
                                       CANAL FULTON, OH 44614




RICE, JESSICA T.                       RICE, MARILYN                        RICE, OSCAR E.
ADDRESS ON FILE                        593 E 1180 ST                        1298 BUCKS BR ROAD
                                       WOODHULL, IL 61490                   MARTIN, KY 41649




RICE, TONY                             RICE, WILMA J.                       RICES LANDSCAPES
36 COUNTY ROAD 43                      ADDRESS ON FILE                      1651 55TH ST NE
FYFFE, AL 35971                                                             CANTON, OH 44721
RICH BOOSTER CLUB      Case 20-10766-BLS    Doc 6N Filed 04/07/20
                                     RICH CHARLES                        Page 1489   ofSTEVEN
                                                                              RICH JR., 1969 H.
LORRI FRANDSEN                        901 MITCHELL BRANCH RD                   ADDRESS ON FILE
P.O. BOX 162                          MORGANTON, GA 30560
WOODRUFF, UT 84086




RICH, ALLISON                         RICH, CATHERINE                          RICH, CHRISTA N.
ADDRESS ON FILE                       ADDRESS ON FILE                          P.O. BOX 833
                                                                               BLAIRSVILLE, GA 30514




RICH, GABRIELLE H.                    RICH, IAN                                RICH, JERRY A.
600 WAGNER STREET                     ADDRESS ON FILE                          1817 RICHVIEW RD
MIDLAND, TX 79701                                                              MT VERNON, IL 62864




RICH, JOHN                            RICH, LAUREN R.                          RICH, PAIGE L.
ADDRESS ON FILE                       1817 RICHVIEW ROAD                       ADDRESS ON FILE
                                      MOUNT VERNON, IL 62864




RICH, PAUL                            RICH, ROBYN G.                           RICH, SARAH
4750 BOYD RD                          441 TIMBER LN                            676 MOONBEAM WAY
ANNA, IL 62906                        HUNTINGDON, TN 38344                     MESQUITE, NV 89027




RICH, TARA N.                         RICHARD A LOGSDON                        RICHARD ALLISON
ADDRESS ON FILE                       5014 S LAKE CAMELOT DRIVE                ADDRESS ON FILE
                                      MAPLETON, IL 61547




RICHARD ANDERSON                      RICHARD B GILBERT                        RICHARD BECKER
14 PARKWOOD CIRCLE                    1484 N ACADEMY ST                        5 AHNA CT
DAHINDA, IL 61428                     GALESBURG, IL 61401                      COLUMBIA, IL 62236




RICHARD BECKMAN                       RICHARD BUTLER                           RICHARD CHRISTINE
3355 N DELTA HWY 148                  ADDRESS ON FILE                          14600 S INDIANA
EUGENE, OR 97408                                                               APT 402
                                                                               DOLTON, IL 60419




RICHARD COURTNEY                      RICHARD CRAWFORD                         RICHARD E BUTLER
9785 JUSTUS AVE SW                    507 N FIFTH ST                           125 SEA OAKS CT
BEACH CITY, OH 44608                  MONMOUTH, IL 61462                       NOLENSVILLE, TN 37135




RICHARD ELLIS                         RICHARD KATZ & BETTY KATZ JT TEN         RICHARD KOSTOFF
1301 FRANK ST APT 9                   2214 MCMINN ST                           2313 EMERT AVE
GALESBURG, IL 61401                   ALIQUIPPA, PA 15001-2715                 GRANITE CITY, IL 62040
RICHARD L HOAGLAND   Case 20-10766-BLS   Doc
                                   RICHARD      6 Filed
                                           L. PROCTOR     04/07/20
                                                      & IRENE         Page 1490
                                                              N. PROCTOR   RICHARDofLOGSDON
                                                                                     1969
14350 LINCOLN ST                                                           5014 S LAKE CAMELOT DR
NORTH LAWRENCE, OH 44666                                                   MAPLETON, IL 61547




RICHARD NICHOLS                       RICHARD OLIVA                         RICHARD OLSON
1124 OLA ROBERSON RD                  2425 TIMBER CREEK                     3831 MIRROR POND WAY
WILLIAMSTON, NC 27892                 ST. JACOB, IL 62281                   EUGENE, OR 97408




RICHARD S BECKER & ASSOCIATES -       RICHARD SANDERS                       RICHARD SWANSON
CHARTERED                             605 E CHURCH STREET                   520 HACKBERRY RD
7128 FAIRFAX RD                       ROYAL OAKS CARE CENTER                GALESBURG, IL 61401
BETHESDA, MD 20814                    KEWANEE, IL 61443




RICHARD TRAN                          RICHARD WOLF MEDICAL INSTRUMENT       RICHARD WOLF MEDICAL INSTRUMENT
106 W MINER ST                        2573 MOMENTUM PLACE                   353 CORPERATE WOODS DRIVE
WATAGA, IL 61488                      CHICAGO, IL 60689-5325                VERNON HILLS, IL 60061




RICHARD WOLF MEDICAL INSTRUMENTS      RICHARD, MICHAEL                      RICHARD, SHARI A.
CORP                                  P.O. BOX 10981                        ADDRESS ON FILE
2573 MOMENTUM PLACE                   EUGENE, OR 97440-2981
CHICAGO, IL 60689-5325




RICHARD-ALLAN SCIENTIFIC              RICHARD-ALLAN SCIENTIFIC              RICHARDS MED EQUIPMENT
98194 COLLECTION CENTER DR            98194 COLLECTIONS DR                  P.O. BOX 850
CHICAGO, IL 60693-8194                CHICAGO, IL 60693-8194                WHEELING, IL 60090




RICHARDS MED EQUIPMENT                RICHARDS MEDICAL EQUIPMENT            RICHARDS TERRY
PO BOX 850                            P.O. BOX 850                          1010 MT ZION RD
WHEELING, IL 60090                    WHEELING, IL 60090-0850               ELLIJAY, GA 30536




RICHARDS TOWING INC                   RICHARDS, BARBARA                     RICHARDS, BRANDON
1216 E PINE STREET                    804 STONECREEK DR                     1737 ANDOVER RD
DEMING, NM 88030                      MONROE, GA 30655                      ORRVILLE, OH 44667




RICHARDS, CARLITA M.                  RICHARDS, CHARLES QUIMBY              RICHARDS, CHERYL R.
670 JERRE LANE                        175 COUNTY RD 183                     ADDRESS ON FILE
LEWISBURG, TN 37091                   DAWSON, AL 35963-3255




RICHARDS, DAWN M.                     RICHARDS, DAWN                        RICHARDS, LARRY
ADDRESS ON FILE                       ADDRESS ON FILE                       6178 HWY 38 E
                                                                            HUGHES, AR 72348
RICHARDS, MARY K.      Case 20-10766-BLS     Doc
                                      RICHARDS,    6 R.Filed 04/07/20
                                                 RUTH                   Page 1491  of 1969
                                                                             RICHARDS, TIERNEY K.
1618 MEMORY LANE LOT 031 P.O. BOX 485 2175 COUNT BRANCH RD                    60 N 200 W P.O. BOX 254
CHOCOWINITY, NC 27817                 ELLIJAY, GA 30540                       TROPIC, UT 84776




RICHARDS, TINA                        RICHARDS, TRACY A.                      RICHARDSON SANDRA D
4597 N HIGHWAY 3                      878B CASTLE VIEW DR                     1909 MOODY RIDGE RD
LOUISA, KY 41230                      LAS VEGAS, NM 87701                     SCOTTSBORO, AL 35768




RICHARDSON, AARON M.                  RICHARDSON, AMANDA R.                   RICHARDSON, ANGELA K.
ADDRESS ON FILE                       12408 PROSPERITY RD                     48 GLEN ECHO
                                      MARION, IL 62959                        GLEN CARBON, IL 62034




RICHARDSON, ANGELA                    RICHARDSON, ANITA                       RICHARDSON, BETTY
48 GLEN ECHO DR                       344 WEST DAVIS ST                       108 W 9TH
GLEN CARBON, IL 62034                 WYNNE, AR 72396                         FORSAN, TX 79733




RICHARDSON, BRITTANY L.               RICHARDSON, CHERYL L.                   RICHARDSON, CHERYL
ADDRESS ON FILE                       2915 LANDING CIRCLE                     ADDRESS ON FILE
                                      GRIMESLAND, NC 27837




RICHARDSON, CHRIS                     RICHARDSON, CHRIS                       RICHARDSON, CHRISTINA
ADDRESS ON FILE                       ADDRESS ON FILE                         16712 VIENNA STREET
                                                                              WEST FRANKFORT, IL 62896




RICHARDSON, CLAUDE WADE               RICHARDSON, DIXIE L.                    RICHARDSON, DOROTHY MALYND
650 N 800 W                           ADDRESS ON FILE                         P.O. BOX 265
PROVO, UT 84601-1407                                                          TERLINGUA, TX 79852




RICHARDSON, DUSTIN R.                 RICHARDSON, EURYDICE                    RICHARDSON, GARY D.
424 SOUTHERN HILLS DR                 22425 JEAN CT APT GA                    7021 MILITIA HILL NW
MONROE, GA 30655                      RICHTON PARK, IL 60471                  CANTON, OH 44718




RICHARDSON, JAELYN                    RICHARDSON, JAMEKA                      RICHARDSON, JENNIFER
8006 HILLCREST DRIVE                  3105 PEBBLEBROOK LN                     326 SEVERE ST
MILAN, TN 38358                       HEPHZIBAH, GA 30815                     GRANTSVILLE, UT 84029




RICHARDSON, JULIE                     RICHARDSON, KENNESHA                    RICHARDSON, KIMIE
1192 OTIS DRIVE                       P.O.BOX 2054                            1751 FOUNTAINBLEU DRIVE
BETHLEHEM, GA 30620                   FORREST CITY, AR 72336                  WORDEN, IL 62097
RICHARDSON, LANETTE    Case 20-10766-BLS    Doc 6LAURA
                                     RICHARDSON,      Filed 04/07/20   Page 1492  of 1969
                                                                            RICHARDSON, LOIS
388 W BATTERY PARK CIR               3414 WESTMONT, APT. 2                   218 LAWSON AVE
STANSBURY PARK, UT 84074             MT. VERNON, IL 62864                    WYNNE, AR 72396




RICHARDSON, MELINDA Y.                RICHARDSON, MICHELLE                   RICHARDSON, PATRICIA GAI
437 WIEGERSTOWN RD                    25617 S LINDEN AVE                     260 TERRA LINDA AVE
OFALLON, IL 62269                     MONEE, IL 60449                        EUGENE, OR 97404




RICHARDSON, REGINA                    RICHARDSON, ROBERT A.                  RICHARDSON, ROBERT E.
ADDRESS ON FILE                       111 TUBB LOOP ROAD                     ADDRESS ON FILE
                                      BIG SPRING, TX 79720




RICHARDSON, SKY N.                    RICHARDSON, TADARRO                    RICHARDSON, TARA P.
ADDRESS ON FILE                       115 WOODSIDE WAY                       ADDRESS ON FILE
                                      NICHOLASVILLE, KY 40356




RICHARDSON, TIFFANY                   RICHARDSON, VALERIE                    RICHARDT, MICHAEL
5407 SONIA AVE. NW                    23265 KINGS HWY                        2815 ELISHA AVE
MASSILLON, OH 44647                   MACEDONIA, IL 62860                    ZION, IL 60099




RICHART, ANGELA R.                    RICHARZ, STACY                         RICHDALE TRUST, THE
ADDRESS ON FILE                       ADDRESS ON FILE                        C/O GWENN ABIGAIL
                                                                             1205 CALLAJON ARIAS
                                                                             SANTA FE, NM 87501




RICHERSON, KRISTEN D.                 RICHERSON, SARAH                       RICHES MARI
2815 JOHNSON FORK RD                  11632 HONALEE HILLS DR                 718 W CLARK
VANCLEVE, KY 41385                    CARBONDALE, IL 62901                   P.O. BOX 40
                                                                             GRANTSVILLE, UT 84029




RICHES, KARMEL                        RICHES, SHERYL                         RICHEY, ANGELA
740 CYPRESS POINTE DR. E              210 ELMTOWNE BLVD                      308 SAND MOUNTAIN DRIVE
PEMBROKE PINES, FL 33027              LEXINGTON, TN 38351                    RAINSVILLE, AL 35986




RICHEY, ANTHONY                       RICHEY, JENNIFER L.                    RICHEY, MARK
28 COUNTY ROAD 144                    ADDRESS ON FILE                        2336 DWIGHT AVE
GROVEOAK, AL 35975                                                           GRANITE CITY, IL 62040




RICHEY, TERRI                         RICHINS, ASHLEE                        RICHINS, ASHLEY
713 LOOKOUT TERRACE E                 455 ELM ST                             455 ELM STREET
FORT PAYNE, AL 35967                  EVANSTON, WY 82930                     EVANSTON, WY 82930
RICHINS, PARALEE        Case 20-10766-BLS
                                      RICHKO,Doc 6 Filed
                                             ANTHONY E.  04/07/20   Page 1493  of 1969
                                                                         RICHMOND  LISA
12 IRREANTUM RD                        26228 W CHANNEL AVE               1313 S 121ST LANE
ANIMAS, NM 88020                       ANTIOCH, IL 60002                 AVONDALE, AZ 85323




RICHMOND, BEVERLY                      RICHMOND, MARY S.                 RICHMOND, TOMEICA N.
219 ILLINI DR                          ADDRESS ON FILE                   1224 WINDSOR ST.
GALESBURG, IL 61401                                                      GADSDEN, AL 35903




RICHMOND-MUNYON, HEATHER M.            RICHTER, BENJAMIN                 RICHTER, DORIS
1811 PACKARD COURT                     1003 TROY-OFALLON RD              2444 EAST BONNIE BROOK
SPRING HILL, TN 37174                  TROY, IL 62294                    WAUKEGAN, IL 60087




RICHTER, KURT D.                       RICHTER, MEGAN                    RICHTER, MICHELLE
ADDRESS ON FILE                        287 S. SLUSSER CT                 570 FRIENDSHIP SCHOOL RD
                                       GRAYSLAKE, IL 60030               ANNA, IL 62906




RICHTER, SARA                          RICHTER, SUSAN B.                 RICHTER, TANYA
ADDRESS ON FILE                        17462 W MEADOWBROOK DR            1003 TROY-OFALLON RD
                                       GRAYSLAKE, IL 60030               TROY, IL 62294




RICK DOLLINS                           RICK FLORES - ICEO                RICK SANDOVAL
ADDRESS ON FILE                        ADDRESS ON FILE                   103 S SNAPP ST
                                                                         ABINGDON, IL 61410




RICK SCHUMACHER                        RICK SMITH                        RICK STEISKAL CONCRETE
ADDRESS ON FILE                        1914 BRINGLE FERRY RD             39471 W OAK AVE AVE
                                       SALISBURY, NC 28146               ANTIOCH, IL 60002




RICK STEPHANIE J                       RICKARD, MICHELLE L.              RICKARD, MICHELLE
469 BRIAR COVE RD                      21165 NEOLA RD                    ADDRESS ON FILE
MORGANTON, GA 30560                    APPLE VALLEY, CA 92308




RICKEL, PHIL A.                        RICKER, JEFFREY D.                RICKERT, ALICE N.
709 GRANITE PL                         1011 14TH ST SW                   106 BREEZE DR
SPRINGFIELD, OR 97477-0000             MASSILLON, OH 44647-7607          CARTERVILLE, IL 62918




RICKERT, CATHERINE B.                  RICKETTS, DAN                     RICKETTS, QUENT
611 SUNLIGHT ROAD                      705 W 1ST AVE                     P.O. BOX 65
ELLIJAY, GA 30540                      MONMOUTH, IL 61462                MOUNTAIN VIEW, WY 82939-0065
RICKETTS, SCHAE          Case 20-10766-BLS    Doc
                                       RICKETTS,    6 Filed 04/07/20
                                                 THIESHA                Page 1494
                                                                             RICKEYof 1969
                                                                                   DEERMAN
3813 LAKE ST                            167 HEMLOCK STREET                   ADDRESS ON FILE
GRANITE CITY, IL 62040                  PARK FOREST, IL 60466




RICKEY, SHARON                          RICKFORD, JOHN                       RICKHOFF, JUDITH A.
725 W LOSEY ST                          2555 VIEWMONT AVE                    1467 BROADWAY ST
GALESBURG, IL 61401                     SPRINGFIELD, OR 97477-1783           BLUE ISLAND, IL 60406-2705




RICKMAN, CANDICE                        RICKORDS, SARA                       RICKSECKER, CAROLYN
380 HAYS RD                             ADDRESS ON FILE                      1117 WALES RD NE
DARDEN, TN 38328                                                             MASSILLON, OH 44646




RICKY G DEERMAN                         RICKY G. DEERMAN AND JENNY W.        RICKY LOFTON
ADDRESS ON FILE                         DEERMAN                              16680 NATCHEZ TRACE ROAD
                                                                             LEXINGTON, TN 38351




RICKY RATLIFF                           RICKY SCOTT                          RICKY SHARP
200 DOUGLAS PKWY APT 404                ADDRESS ON FILE                      373 N CHERRY ST
PIKEVILLE, KY 41501                                                          GALESBURG, IL 61401




RICO, JOSE C.                           RICO, MARIA                          RICOH AMERICAS CORP
1620 WOODRIDGE DR                       109 KLASSEN LANE                     P.O. BOX 41602
ROUND LAKE BEACH, IL 60073              WATSONVILLE, CA 95076                PHILADELPHIA, PA 19101-1602




RICOH AMERICAS CORPORATION              RICOH USA INC                        RICOH USA INC
P O BOX 532530                          P.O. BOX 31001-0850                  P.O. BOX 31001-0850
ATLANTA, GA 30353-2530                  PASADENA, CA 91110-0850              WESTERN DISTRICT - W89
                                                                             PASADENA, CA 91110-0850




RICOH USA INC                           RICOH USA INC                        RICOH USA INC
P.O. BOX 532530                         P.O. BOX 660342                      P.O. BOX 802815
ATLANTA, GA 30353-2530                  DALLAS, TX 75266-0342                CHICAGO, IL 60680-2815




RICOH USA INC                           RICOH USA, INC                       RICON, ANDRES
P.O. BOX 827577                         POB 532530                           2000 JARBES
PHILADELPHIA, PA 19182-7577             ATLANTA, GA 30353-2530               DEMING, NM 88030-0000




RIDDELL, AMANDA K                       RIDDELL, ERIN                        RIDDICK, DAWN
P.O. BOX 45                             2591 WALNUT AVENUE                   2390 ANGE TOWN RD
6249 HWY 44                             GENEVA, IL 60134                     JAMESVILLE, NC 27892
HELENA, AR 72342
RIDDICK, KAREN            Case 20-10766-BLS
                                        RIDDICK,Doc 6 Filed 04/07/20
                                                 PAMELA                Page 1495  ofTOMMIE
                                                                            RIDDICK, 1969
117B SOMERSET DRIVE                      P.O.BOX 1485                       P.O.BOX 1485
PLYMOUTH, NC 27962                       WILLIAMSTON, NC 27892              WILLIAMSTON, NC 27892




RIDDLE, BETTY J.                         RIDDLE, ELYSE                      RIDDLE, JENA E.
137 CHERRY ST                            2944 COLONY WOODS CR SW            845 WOODLAND DR.
BARNWELL, SC 29812-3026                  CANTON, OH 44706                   HENDERSON, TN 38340




RIDDLE, KAUNA                            RIDDLE, KAUNA W.                   RIDDLE, KAUNA/665 CASH TRUSTEE
ADDRESS ON FILE                          ADDRESS ON FILE                    ADDRESS ON FILE




RIDDLE, OLIVIA D.                        RIDEAU, BERNADETTE C.              RIDEN, DENISE
5451 HIGHWAY 1                           4600 W 122ND ST APT 204            547 BARNES MOUNTAIN ROAD
LOUISA, KY 41230                         ALSIP, IL 60803                    ELLIJAY, GA 30540




RIDENBARK, BROOKE L.                     RIDENOUR, CHARMAINE                RIDENOUR, HUNTER
ADDRESS ON FILE                          2100 DAWN PLACE                    6629 COUNTY ROAD 200E
                                         GRANITE CITY, IL 62040             KIRKLIN, IN 46050




RIDENOUR, JESSICA A.                     RIDENOUR, JOLENE                   RIDENOUR, REGINA A.
5125 WHITSELL WAY                        104 HATHAWAY AVE                   ADDRESS ON FILE
GRANITE CITY, IL 62040                   EVANSTON, WY 82930-5030




RIDER CHRISTY                            RIDER, ALEX                        RIDER, EVERN
683 SWEET GUM RD                         160 DEERWOOD CIRCLE                1038 SALEM RD
DUQUOIN, IL 62832                        MCKENZIE, TN 38201                 MINERAL BLUFF, GA 30559




RIDER, WILLIAM                           RIDER-SMITH, LYNDA                 RIDGE, AMANDA N.
405 SOUTH STREET                         170 BELMONT STREET                 38978 UPPER CAMP CREEK RD
ANNA, IL 62906                           LABELLE, FL 33935                  SPRINGFIELD, OR 97478




RIDGEWAY LYNNE STRACK                    RIDGWAY ERICA J                    RIDING LEILA B
209 ANDERSON DRIVE                       626 LAKEFIELD DRVIE                111 QUIRK ST
P.O. BOX 364                             COLUMBIA, IL 62236                 GRANTSVILLE, UT 84029
CHERRY LOG, GA 30522




RIDINGS, NANCY                           RIDINGS, RONALD WILLIAM            RIDLEY, CECILIA M.
4792 NAMEOKI RD                          33925 MOUNT TOM DR                 5033 EAGLES NEST COURT
GRANITE CITY, IL 62040                   HARRISBURG, OR 97446-0000          LOGANVILLE, GA 30052
RIDLEY, JANICE L.     Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                    RIEB PAMELA                    Page 1496  of 1969
                                                                        RIEBELING JACOB
950 T CT                            37244 N CAPILLO AVE                  337 KOPP ROAD
COTTAGE GROVE, OR 97424-0000        LAKE VILLA, IL 60046                 WATERLOO, IL 62298




RIEBELING MICHELLE                  RIECHMANN, ASHLEY                    RIECHMANN, LISA A.
201 RIDGEVIEW DR                    13576 STATE RT 140                   ADDRESS ON FILE
COLUMBIA, IL 62236                  POCAHONTAS, IL 62275




RIEDEL, PETER D.                    RIEDER, SILVIA                       RIEGER, ELAINE L.
578 KELLY BLVD                      2260 BROOKVIEW RD                    19339 HURRICANE DR
SPRINGFIELD, OR 97477-0000          CASTLETON, NY 12033-3704             CARLINVILLE, IL 62626




RIEMER, LINDA DIANE                 RIERA, SALLY                         RIES, TIFFANY
55 CORLISS LN APT 23                ADDRESS ON FILE                      2237 KEIM DR
EUGENE, OR 97404                                                         NEW ATHENS, IL 62264




RIFE, FURNELL                       RIFE, JANNISE                        RIFFE, AMY J.
ADDRESS ON FILE                     16954 GLEN OAKS DR                   ADDRESS ON FILE
                                    COUNTRY CLUB HILLS, IL 60478




RIGBY, ROBERT T.                    RIGBY, SCOTT                         RIGBY, SUSAN E.
307 SHENANDOAH DR                   1243 S 1010 W                        145 COUNTRY CLUB
MONROE, GA 30655-3400               TOOELE, UT 84074-3506                STANSBURY PARK, UT 84074




RIGDON, JESSICA L.                  RIGDON, KATHRYN D.                   RIGEY, STACY R.
ADDRESS ON FILE                     P.O. BOX 850                         707 N. PALO VERDE P.O. BOX 191
                                    MCCAYSVILLE, GA 30555                LITTLEFIELD, AZ 86432




RIGGENBACH, TERRY                   RIGGINS MARGARET                     RIGGINS, CHARLENE K.
955 SCHROCK RD                      2669 WEAVER CREEK ROAD               ADDRESS ON FILE
ORRVILLE, OH 44667                  BLUE RIDGE, GA 30513




RIGGINS, SAVANNA N.                 RIGGINS, TRACY                       RIGGLE, ROBERT
ADDRESS ON FILE                     P.O. BOX 851                         788 OAKCREST LN NE
                                    LOGANDALE, NV 89021                  MASSILLON, OH 44646




RIGGS ROSEMARY                      RIGGS, DAROLD                        RIGGS, HILLARY V.
27 LEGACY DR                        155 SHARP ST                         3536 GROSS ROAD
GRANITE CITY, IL 62040              P.O. BOX 253                         SANTA CRUZ, CA 95062
                                    FORT BRIDGER, WY 82933
RIGGSBEE, MARCINE L.   Case 20-10766-BLS    Doc 6BENEFIT
                                     RIGHT CHOICE   FiledADMIN
                                                           04/07/20   Page 1497  of 1969
                                                                           RIGHT WAY LAUNDRY, INC
ADDRESS ON FILE                        P.O. BOX 2920                        P.O. BOX 6
                                       MILWAUKEE, WI 53201                  LOUISA, KY 41230




RIGNEY, KELLY A.                       RIHM, DAVID M.                       RILEY BRIANNA
ADDRESS ON FILE                        2693 BOULDERCREST CT                 8837 S RICHMOND
                                       SNELLVILLE, GA 30078                 EVERGREEN PARK, IL 60805




RILEY CARLA                            RILEY DENNIS J                       RILEY L PATTERSON
381 KNOX HIGHWAY 37                    381 KNOX HWY 37                      P O BOX 2321
WATAGA, IL 61488                       WATAGA, IL 61488                     DEMING, NM 88031




RILEY SMOKEHOUSE                       RILEY SUSAN MICHELLE                 RILEY WARNOCK & JACOBSON PLC
906 E DEYOUNG                          3950 KATHRYN AVE                     1906 WEST END AVE
MARION, IL 62959                       SPRINGFIELD, OR 97478                NASHVILLE, TN 37203




RILEY WARNOCK & JACOBSON PLC           RILEY, CONSTANCE                     RILEY, CYNTHIA
4000 ONE WILLAIMS CTR                  1166 N PRAIRIE ST                    6098 RED UD RD NE
TULSA, OK 74172                        GALESBURG, IL 61401                  RANGER, GA 30734




RILEY, DARNAE D.                       RILEY, DARRYELLE                     RILEY, DEBORAH
ADDRESS ON FILE                        1105 SHAWNEE TRAIL APT 1             336 GAYLE CARTER ROAD
                                       CARTERVILLE, IL 62918                TOMAHAWK, KY 41262




RILEY, DONOVAN W.                      RILEY, JAMES WHITCOMB, JR.           RILEY, JEAN
ADDRESS ON FILE                        1818 CURTIS DR                       220 N PLEASANT AVE
                                       NORTH AUGUSTA, SC 29841              GALESBURG, IL 60401




RILEY, JESSE E.                        RILEY, JESSE                         RILEY, JOHN
224 WASHAKIE DR.                       196 ARROWHEAD DR SUITE 1             ADDRESS ON FILE
EVANSTON, WY 82930                     EVANSTON, WY 82930




RILEY, LAURA A.                        RILEY, PATRICK L.                    RILEY, RENE C
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




RILEY, RENE C.                         RILEY, SEIKO                         RILEY, TANYA
ADDRESS ON FILE                        ADDRESS ON FILE                      815 STATE ROUTE 4
                                                                            MARISSA, IL 62257
RILEY, TIMOTHY         Case 20-10766-BLS
                                     RIMAGE Doc
                                             CORP.6  Filed 04/07/20    Page 1498  ofNICHOLE
                                                                            RIMBOIU, 1969
570 E TURKEYFOOT LAKE RD             P.O. BOX 860585                         1233 DELAWARE AVE SW
AKRON, OH 44319                      MINNEAPOLIS, MN 55486-0585              CANTON, OH 44710




RIMKUS, MICHAEL E.                   RINA HAWKINS                            RINALDI JR, JOHN DAVID
1509 MAPLE KNOLL CT                  154 GURNEY LANE                         32406 TAYLOR BUTTE RD
NAPERVILLE, IL 60563                 LANGSTON, AL 35755                      COTTAGE GROVE, OR 97424




RINCON, MARIA                        RINCONCAZARES, ADRIAN                   RINDCHEN, SUSAN M.
405 NW 11TH ST                       2145 31ST ST APCE 39                    14011 WEYGANDT ST NW
BIG SPRING, TX 79720                 SPRINGFIELD, OR 97477                   NORTH LAWRENCE, OH 44666




RINDERKNECHT, STEVE                  RINELLA, MARY J.                        RING, JOYCE
309 OAKSHIRE CT                      3116 WILLAMSON CO PKWAY                 50 JACOB ST
GLEN CARBON, IL 62034                MARION, IL 62959                        P.O. BOX 3
                                                                             WOLF LAKE, IL 62998




RING, KATHRYN J.                     RINGER, KELLI                           RINKES, ROBERT B.
581 INDIAN TRAIL RD                  1106 A BURT HILL DRIVE NW               937 10TH ST NE
ANTIOCH, IL 60002                    FORT PAYNE, AL 35968                    MASSILLON, OH 44646-4700




RIO GRANDE PATHOLOGY SERVICES        RIO GRANDE RADIOLOGICAL PHYSICS         RION, ROBERT
745 VIA MRANDA LN                    P.O. BOX 25604                          324 ORANGE ST
EL PASO, TX 79922                    ALBUQUERQUE, NM 87125-5604              JONESBORO, IL 62952




RIOS MORALES, MANUEL                 RIOS, CINDY                             RIOS, JAZMINE
421 WISCONSIN ST P.O. BOX 1494       4520 PALM                               720 W JONATHAN DRIVE
COLUMBUS, NM 88029                   BIG SPRING, TX 79720                    ROUND LAKE, IL 60073




RIOS, KATRINA                        RIOS, NEREIDA B.                        RIOS, TANIA
1011 E 12TH APT B                    907 W. STOCKTON ST.                     2104 HARDING AVE
BIG SPRING, TX 79720                 ALPINE, TX 79830                        WAUKEGAN, IL 60085




RIPKA HICKS, BRITNAY N.              RIPKEN, CAL                             RIPLEY, JOHN C.
ADDRESS ON FILE                      P.O. BOX 224                            ADDRESS ON FILE
                                     ATTN:BRAD DERFIELD
                                     LOUISA, KY 41230




RIPPELMEYER, TERRY                   RIPPENTROP, ASHLEY                      RIPPER, JULIE M.
5082 MAEYS RD                        105 MEADOW LANE                         ADDRESS ON FILE
WATERLOO, IL 62298-4146              MONROE CENTER, IL 61052
RIPPER, LESLIE R.           Case 20-10766-BLS
                                          RIPPER,Doc  6 R. Filed 04/07/20
                                                 LESLIE                          Page 1499  of 1969
                                                                                      RIPPERDA, HERBERT R.
275 SHADY LANE                              ADDRESS ON FILE                            ADDRESS ON FILE
EAST ALTON, IL 62024




RIPPLINGER, DESIRAE                         RIPPY, KERRI ANN                           RISE ABOVE
2617 S 9040 W 101 APT 101                   120 N KANSAS ST                            2017 FERN DRIVE
MAGNA, UT 84044                             EDWARDSVILLE, IL 62025                     LOUISA, KY 41230




RISHER, JESSICA E.                          RISHER, STEFANIE                           RISINGER, DEBORAH
ADDRESS ON FILE                             4329 WEST STATE STREET P.O. BOX 93         1103 GROTTO TRAIL
                                            MIDVALE, OH 44653                          MESQUITE, NV 89034




RISK MANAGEMENT                             RISKONNECT INC                             RISNER, SANDRA
P.O. BOX 6850                               DEPT 3563                                  107 RISNER ROAD
SANTA FE, NM 87502                          P.O. BOX 123563                            CAMPTON, KY 41301
                                            DALLAS, TX 75312-3563




RIST, DOROTHEA                              RISTAU, SUSAN                              RIST-LUCAS, JOETTA
1512 CAROLINE WAY                           844 WALNUT RDG 4344                        15316 CHICAGO RD
LOGANVILLE, GA 30052-7267                   ELLIJAY, GA 30536                          APT 1AX
                                                                                       DOLTON, IL 60419




RIST-LUCAS, JOETTA                          RISTON, BONNIE J.                          RITA ALBERS
15316 CHICAGO RD, APT 1E                    16688 PUMPHOUSE ROAD                       209 HENRY ST
DOLTON, IL 60419                            TAMMS, IL 62988                            GERMANTOWN, IL 62245




RITA BEASLEY                                RITA G MCBRYAR                             RITA GENE DUNN KASTRUP
14722 MONTGOMERY HWY                        4357 COUNTY ROAD 121                       2424 PAYNE ST
HIGHLAND HOME, AL 36041                     FORT PAYNE, AL 35968                       EVANSTON, IL 60201-2513




RITA GRULL                                  RITA M SECK MD                             RITA MEREDITH
1319 KILLARNEY DR                           1419 NW 118TH ST                           1259 HWY 38 EAST
GREENVILLE, IL 62246-1327                   GAINESVILLE, FL 32606                      WIDENER, AR 72394




RITA PRENTICE                               RITA TRONE                                 RITCHEY, CAITLIN M.
6581 WALES CROSSING                         1156 N FARNHAM ST                          1079 NE PARKVIEW CT
APT A                                       GALESBURG, IL 61401                        BEND, OR 97701
NORTH CANTON, OH 44720




RITCHEY, MARTHA J                           RITCHEY, MICHAEL P.                        RITCHEY, SHARON
395 ROAD 992                                1865 BAKERS GROVE ROAD                     4985 AMESBURY CR NW
MENTONE, AL 35984                           HERMITAGE, TN 37076                        MASSILLON, OH 44646-9580
RITCHIE, AILIE R.         Case 20-10766-BLS
                                        RITCHIE,Doc  6 M.Filed 04/07/20
                                                 ANDREA                      Page 1500  ofANDREA
                                                                                  RITCHIE, 1969
2120 COTTAGE AVE                          ADDRESS ON FILE                         ADDRESS ON FILE
GRANITE CITY, IL 62040




RITCHIE, CARIE G.                         RITCHIE, DAWN ELIZABETH                 RITCHIE, MEGAN
1951 JOY AVE                              38950 ROGERS LN                         ADDRESS ON FILE
GRANITE CITY, IL 62040                    DEXTER, OR 97431




RITCHIE, MEGAN                            RITCHIE, VICTORIA B.                    RITE VALUE PHARMACY
ADDRESS ON FILE                           ADDRESS ON FILE                         P.O. BOX 297
                                                                                  LOUISA, KY 41230




RITTER, ALEISHA                           RITTER, CAYLA N.                        RITTER, FAITH
512 TPWER RPAD                            408 W LEATHERWOOD RD.                   1137 E QUINCY AVE
HERRIN, IL 62948-6125                     BIG SPRING, TX 79720                    COTTAGE GROVE, OR 97424




RITTER, JAMES A.                          RITTER, KAREN                           RITTER, TINA
400 PARKS ROAD                            3710 BUTTERLY DRIVE                     ADDRESS ON FILE
BLUE RIDGE, GA 30513                      XENIA, IL 62899




RITTER, ZACK L.                           RITTMAIER, KARLENE R.                   RITUALO, LETICIA R.
ADDRESS ON FILE                           415 24TH STREET NW                      ADDRESS ON FILE
                                          MASSILLON, OH 44647




RITZEL, MATT                              RITZER, HAL                             RIVAS, CAROLINA AMAYA
408 S RAPP AVE                            25098 PERKINS RD                        P O BOX 1045
COLUMBIA, IL 62236                        VENETA, OR 97487                        COLUMBUS, NM 88029




RIVAS, JESSICA M.                         RIVAS, KATIE                            RIVAS, MARIANA
1322 VICTORIA AVE                         1908 W GREENWOOD AVE                    1380 N 6TH STREET
NORTH CHICAGO, IL 60064                   WAUKEGAN, IL 60087                      SPRINGFIELD, OR 97477




RIVER CREST HOSPITAL, INC                 RIVER RADIO                             RIVER ROOFING
1636 HUNTERS GLEN ROAD                    324 BROADWAY ST                         1484 S. B STREET
SAN ANGELO, TX 76901                      CAPE GIRARDEAU, MO 63701                SPRINGFIELD, OR 97477




RIVER TO RIVER HEART GROUP, LLC           RIVER TO RIVER RESIDENTIAL              RIVERA ANGEL
208 SOUTH LASALLE STREET                  CORPORATION C/O MIKILYN SHUTT           234 S JACKSON ST
SUITE 814                                 P.O. BOX 1759 1500 SANDBAR DRIVE        WAUKEGAN, IL 60085
CHICAGO, IL 60604                         MARION, IL 62959
RIVERA KIMBERLY          Case 20-10766-BLS
                                       RIVERA Doc  6 REY
                                              MEDINA,  Filed
                                                         J.  04/07/20   Page 1501
                                                                             RIVERAof 1969
                                                                                   SALVADOR
34254 N TRILLIUM WAY                     ADDRESS ON FILE                     2754 N LEWIS AVE
ROUND LAKE, IL 60073                                                         WAUKEGAN, IL 60087




RIVERA SR., JAMIE A.                     RIVERA VICKY                        RIVERA, ALICE
5832 KY 15                               603 WILLIAMS AVE NE                 P.O. BOX 371
CAMPTON, KY 41301                        FORT PAYNE, AL 35967                MARFA, TX 79843




RIVERA, ALICIA                           RIVERA, AMANDA M.                   RIVERA, AMANDA R.
1617 HILLTOP RD                          406 FLORENCE STREET                 2912 SOUTH FM 821
BIG SPRING, TX 79720                     HAMMOND, IN 46324                   COAHOMA, TX 79511




RIVERA, AMANDA                           RIVERA, AMY A.                      RIVERA, ANGELA
SMMC MARKETING DEPT                      ADDRESS ON FILE                     4856 PINEMORE LN
1601 WEST ELEVENTH PL                                                        LAKE WORTH, FL 33463
BIG SPRING, TX 79720




RIVERA, ANGELIC N.                       RIVERA, ANITA                       RIVERA, ERICA
12928 HYPERION LN                        15824 S FINCH AVE                   619 S 8TH ST 2
APPLE VALLEY, CA 92308                   HARVEY, IL 60426                    DEMING, NM 88030




RIVERA, JAQUELINE E.                     RIVERA, KATHY                       RIVERA, LORENA A.
ADDRESS ON FILE                          ADDRESS ON FILE                     739 COUNTY RD 255
                                                                             FORT PAYNE, AL 35967




RIVERA, MARIA I.                         RIVERA, MICHELLE C.                 RIVERA, SHAUNTAE
2538 LANGLEY DR.                         ADDRESS ON FILE                     P.O. BOX 281
BIG SPRING, TX 79720                                                         CLEVELAND, NM 87715




RIVERA, SHEREE-DAWN                      RIVERA, TARA                        RIVERA, VANESSA
5101 N A ST APT 156                      1221 E 158TH ST                     ADDRESS ON FILE
MIDLAND, TX 79705                        SOUTH HOLLAND, IL 60473




RIVERA-ESPANA, NATALIA F.                RIVERANERIO, RAMON                  RIVERA-VEGA, ALLISON M.
367B FAIRMOUNT AVE                       2514 W RIDGELAND AVE                1601 WEST LEATHERWOOD RD 14
SANTA CRUZ, CA 95062                     ZION, IL 60099                      BIG SPRING, TX 79720




RIVERBANK BUILDING SUPPLY                RIVERLINK HEALTH                    RIVERRIDGE EXCAVATING AND LOGGING
P.O. BOX 864                             P.O. BOX 851858                     P.O. BOX 337
WILLIAMSTON, NC 27892                    RICHARDSON, TX 75085-1858           WALTERVILLE, OR 97489
                       Case 20-10766-BLS
RIVERS EDGE HOSPITAL & CLINIC        RIVERS,Doc  6 WFiled 04/07/20
                                             ANGELA                    Page 1502
                                                                            RIVERS,of 1969
                                                                                    NANCY
1900 NORTH SUNRISE DRIVE             3380 BROOKVIEW DR                      1028 INDIAN WOOD RD
ST. PETER, MN 56082                  LOGANVILLE, GA 30052                   LEWISTON WOODVILLE, NC 27849




RIVERS, SUMMER I.                     RIVERS, SUMMER                        RIVERSIDE CHRISTIAN SCHOOL
100 LAUREL CIRCLE                     BRMG                                  55TH DISTRICT PROGRAM
BLUE RIDGE, GA 30513                                                        GENERAL DELIVERY
                                                                            LOST CREEK, KY 41348




RIVERSIDE EMERGENCY PHYSICIANS LLP    RIVERSTONE MOUNTAIN PROFESSIONALS,    RIVERSTONE MOUNTIAN OPERATIONS LLC
ATTN:ACCTS REC / TSG RESOURCES INC    LLC                                   101 RIVERSTONE VISTA
P.O. BOX 677979                       101 RIVERSTONE VISTA, STE 201         SUITE 201
DALLAS, TX 75267-7979                 BLUE RIDGE,, GA 30513                 BLUE RIDGE, GA 30513




RIVERSTONE MOUNTIAN OPERATIONS, LLC   RIVERSTONE PHARMACY                   RIVERVIEW HEALTH
101 RIVERSTONE VISTA                  101 RIVERSTONE VISTA                  323 SOUTH MINNESOTA STREET
SUITE 201                             SUITE 107                             CROOKSTON, MN 56716
BLUE RIDGE, GA 30513                  BLUE RIDGE, GA 30513




RIZALINO Z LLAVE                      RIZALINO, Z LLAVE                     RIZOENRIQUEZ, ROSALINDA
816 E GROVE                           816 E GROVE                           2122 MARSHALL PKY
GALESBURG, IL 61401                   GALESBURG, IL 61401                   WAUKEGAN, IL 60085




RIZVI NAUSHEEN                        RIZVI, SYEDA KHADIJA                  RIZZO, ABIGAIL
4450 EASTWOOD AVE                     4450 EASTWOOD AVE                     13 ECHO CT UNIT 3
GURNEE, IL 60031                      GURNEE, IL 60031                      VERNON HILLS, IL 60061




RIZZOLO, , STEVEN JOHN MD             RIZZS, KATHLEEN J.                    RJK INVESTMENTS, INC.
607 ST. ENODOC CIRCLE                 15952 JAMIE CT                        POB 296
PRESCOTT, AZ 86301                    OAK FOREST, IL 60452                  EPWORTH, GA 30541




RKG DESIGN GROUP, LLC                 RLH PROPERTIES, LLC                   RLJ FARMING
15255 S 94TH AVE                      3401 HEARTLAND ST                     5625 TOWNSHIP RD 150E
ORLAND PARK, IL 60462                 MARION, IL 62959                      LA FAYETTE, IL 61449




R-MED, INC                            R-MED, INC.                           RMS PROPERTIES LLC
P.O. BOX 167636                       P O BOX 167636                        1111 NORTH PLAZA DR
OREGON, OH 43616-7636                 OREGON, OH 43616-7636                 STE 201
                                                                            SCHAUMBURG, IL 60173




RMS PROPERTIES                        RMS                                   RN NETWORK
1111 N. PLAZA DR. STE 200             P.O. BOX 19646                        P.O. BOX 974088
SCHAUMBURG, IL 60173                  MINNEAPOLIS, MN 55419                 DALLAS, TX 75397-4088
RNA MEDICAL             Case 20-10766-BLS   Doc 6
                                      RNA MEDICAL       Filed 04/07/20   Page 1503  of 1969
                                                                              RNA MEDICAL
7 JACKSON RD                          7 JACKSON RD                            7 JACKSON ROAD
DEVENS, MA 01434                      DEVENS, MA 01434-4026                   DEVENS, MA 01434




RNA MEDICAL                           RNA MEDICAL                             ROACH III, THOMAS J.
7 JACKSON ROAD                        ATTN: ACCOUNTS RECEIVABLE               ADDRESS ON FILE
DEVENS, MA 01434-4026                 7 JACKSON ROAD
                                      DEVENS, MA 01434-4026




ROACH, CARMEN                         ROACH, CATHERINE J.                     ROACH, JENNIFER
2804 PARKWAY RD                       1581 CENTERVILLE RD                     ADDRESS ON FILE
BIG SPRING, TX 79720                  WEST LIBERTY, KY 41472




ROACH, PAUL                           ROADRUNNER DELIVERY                     ROADWORKS LLC
2660 SLEEPY HOLLOW RD                 P.O. BOX 25812                          12068 OLD FRANKFORT RD
MONROE, GA 30655-5584                 EUGENE, OR 97402                        MARION, IL 62959




ROAN, JAMEY L.                        ROANE MCLAUGHLIN                        ROANOKE DINING
411 N WILSON ST                       ADDRESS ON FILE                         1380 FAIRWAY DRIVE
WYNNE, AR 72396                                                               WILLIAMSTON, NC 27892




ROANOKE RIVERS NURSING AND REHAB      ROANOKE THERAPY SERVICES                ROBARD CORP
P.O.BOX 6249                          P.O. BOX 1181                           821 E. GATE DR.
KINSTON, NC 28501                     WILLIAMSTON, NC 27892                   MOUNT LAUREL, NJ 08054




ROBB, MARK                            ROBB, TOMMYE L.                         ROBBIE HOWARD, RICKY HOWARD FOR
212 MIRA VISTA DR.                    ADDRESS ON FILE                         160 HOWARD LN
SANTA CRUZ, CA 95060                                                          LEXINGTON, TN 38351




ROBBIE LINDSAY                        ROBBIES EQUIPMENT SALES & RENTAL        ROBBIES EQUIPMENT
P.O. BOX 506                          6301 HWY 70 E                           6301 HWY 70 R
MOAPA, NV 89025                       WIDNER, AR 72394                        WIDENER, AR 72394




ROBBINS RUSSELL ENGLERT ORSECK        ROBBINS RUSSELL ENGLERT ORSECK          ROBBINS, ALICIA
UNTEREINER SAUBER                     UNTEREINER SAUBER                       P.O. BOX 7412
2000 K ST NW                          2000 K ST NW, 4TH FL                    BUNKERVILLE, NV 89007-0412
STE 4TH FLR                           WASHINGTON, DC 20006
WASHINGTON, DC 20006



ROBBINS, ARA                          ROBBINS, DONALD                         ROBBINS, ERIN P.
3309 VILLAGE GREEN CT                 13065 GULLEY LANE                       951 MOUNT VERNON DR.
MILLSTADT, IL 62260                   BENTON, IL 62812                        GRAYSLAKE, IL 60030
ROBBINS, JAMES KORBET Case 20-10766-BLS    Doc
                                    ROBBINS,     6 L. Filed 04/07/20
                                             JANET                     Page 1504  of LAURA
                                                                            ROBBINS, 1969 M.
1088 S 44TH ST                      2624 GLEN FLORA WAY                      ADDRESS ON FILE
SPRINGFIELD, OR 97478               FORT SMITH, AR 72908




ROBBINS, PATRICIA A.                  ROBBINS, TANYA R.                      ROBBINS, TARA MD
288 EAST 200 NORTH                    ADDRESS ON FILE                        ADDRESS ON FILE
WASHINGTON, UT 84780




ROBEFF, PAMELA K.                     ROBERDS, JOSEPH                        ROBERSON TERRY P
ADDRESS ON FILE                       1012 ALAN DR                           1780 SMITHWICK CRK CH RD
                                      RED BUD, IL 62278                      WILLIAMSTON, NC 27892




ROBERSON TOWN TAX COLLECTOR           ROBERSON, AIMIE                        ROBERSON, ALFRED
P.O. BOX 487                          2012 CRATT RD                          725 SAINT REGIS
ROBERSONVILLE, NC 27871               WILLIAMSTON, NC 27892                  WEST HELENA, AR 72390




ROBERSON, ALLI S.                     ROBERSON, ALYSHA V.                    ROBERSON, ANITA S.
2205 12TH AVE                         585 S. GENESEE ST. APT.5               2908 BIG MILL RD
ALBANY, GA 31707                      WAUKEGAN, IL 60085                     WILLIAMSTON, NC 27892




ROBERSON, CHARLEY                     ROBERSON, CHRISTY P.                   ROBERSON, DEBBIE H.
3585 PINEY GROVE CHURCH RD            ADDRESS ON FILE                        ADDRESS ON FILE
JAMESVILLE, NC 27846




ROBERSON, HALEY K.                    ROBERSON, LAURA D.                     ROBERSON, LOUISA
833 BEAR CREEK PT                     ADDRESS ON FILE                        903 HYLAND AVE
MANSFIELD, GA 30055                                                          WILLIAMSTON, NC 27892




ROBERSON, MADISON                     ROBERSON, PAULINE                      ROBERSON, RICHARD
1960 COUNTY ROAD 214                  3124 ASH AVE                           565 SFC 2524
MONROE, GA 30656                      GRANITE CITY, IL 62040                 COLT, AR 72326




ROBERSON, SHANA                       ROBERSON, SHARON C.                    ROBERSON, TAMIKIO L.
945 E 17TH STREET                     ADDRESS ON FILE                        ADDRESS ON FILE
COLORADO CITY, TX 79512




ROBERSON, TERRY F.                    ROBERSONVILLE ICE & COAL, INC          ROBERSONVILLE TOWN TAX COLLECTOR
5743 SPORTSMAN ROAD                   P.O. BOX 106                           114 S MAIN ST
WATERLOO, IL 62298                    ROBERSONVILLE, NC 27871                ROBERSONVILLE, NC 27871
ROBERSONVILLE TOWN TAXCase   20-10766-BLS
                        COLLECTOR     ROBERTDoc    6 HATCHER
                                              & DEBBIE Filed 04/07/20   Page 1505 ofABBOTT
                                                                             ROBERT  1969 & BETTY ABBOTT JT TEN
P.O. BOX 487                          4204 SFC 311                            301 S PLUM ST
ROBERSONVILLE, NC 27871               FORREST CITY, AR 72335                  BEARDEN, AR 71720-8821




ROBERT B EVNEN, SECRETARY OF STATE    ROBERT B STEELE                         ROBERT BISHOP
P.O. BOX 94608                        P.O. BOX 517                            11607 OWLS HOLLOW ROAD
LINCOLN, NE 68509                     LASALLE, IL 61301                       GADSDEN, AL 35901




ROBERT BOND                           ROBERT BROOKE & ASSOCIATES              ROBERT BRUSE
3821 BAILEY RD                        1465 AXTELLDR                           P.O. BOX 1645
WILLIAMSTON, NC 27846                 SUITE B                                 LOGANDALE, NV 89021-1645
                                      TROY, MI 48084




ROBERT CROWLEY                        ROBERT D MCDANIEL                       ROBERT E LEE & NANCY P LEE JT TEN
1172 STACEY LANE                      3491 OLD HUNTINGDON RD                  4043 CORONATION
MACOMB, IL 61455                      LEXINGTON, TN 38351-4721                WILLIAMSBURG, VA 23188-2798




ROBERT FULLER                         ROBERT G COOPER                         ROBERT GRISSOM
ADDRESS ON FILE                       1222 S OLD CENTRAL RD                   488 DEERWOOD
                                      GREENVILLE, AL 36037                    LEXINGTON, TN 38351




ROBERT H BASS                         ROBERT H FISH                           ROBERT HALF INTERNATIONAL INC
4010 PINEWOOD DR                      ADDRESS ON FILE                         R HALF FINANCE & ACCOUNTING
JACKSON, MS 39211                                                             P.O. BOX 743295
                                                                              LOS ANGELES, CA 90074-3295




ROBERT HALF INTERNATIONAL             ROBERT HECK                             ROBERT J MOORE
12400 COLLECTIONS CENTER DRIVE        217 S EAST 1ST STREET                   11675 NIGHT HERON DRIVE
CHICAGO, IL 60693                     GALVA, IL 61434                         NAPLES, FL 34119




ROBERT J MOORE                        ROBERT J NORMAN DO                      ROBERT J WILLIAMS
ADDRESS ON FILE                       6433 SHENANDOAH AVE NW                  3401 ZIA CT
                                      CANTON, OH 44718-3944                   DEMING, NM 88030




ROBERT JOHNSON JR                     ROBERT JOHNSON JR                       ROBERT K BETHUNE
P.O. BOX 19                           PO BOX 19                               91 COUNTY ROAD 823
KNOXVILLE, IL 61448                   KNOXVILLE, IL 61448                     HIGDON, AL 35979




ROBERT K HOGAN 88285                  ROBERT K. WRIGHT                        ROBERT LEMASTER
JAVICH BLOCK LLC                      7511 GREENHILL BLVD. N.W.               144 CRANBERRY DRIVE
1100 SUPERIOR AVENUE, 9TH FLOOR       FORT PAYNE, AL 35967                    LOUISA, KY 41230
CLEVELAND, OH 44114-2518
ROBERT M CLARK           Case 20-10766-BLS
                                       ROBERTDoc 6 Filed
                                             M SWAYZE,      04/07/20
                                                       FNP-BC          Page 1506 ofMACKEL
                                                                            ROBERT  1969
765 EAGLETON DR                         ADDRESS ON FILE                     ADDRESS ON FILE
MARTINEZ, GA 30907




ROBERT MANN                             ROBERT MEREDITH                     ROBERT MERRILL CO
ADDRESS ON FILE                         2286 WINDISH DR APT 4               4049 S HOWICK ST
                                        GALESBURG, IL 61401                 SALT LAKE CITY, UT 84107




ROBERT MILLER                           ROBERT MORGAN                       ROBERT N BEDSOLE
ADDRESS ON FILE                         604 E MILL ST                       147 BOUTWELL ST
                                        KNOXVILLE, IL 61448                 GREENVILLE, AL 36037-1301




ROBERT NASH                             ROBERT OLLISON                      ROBERT ONEAL
1029 HWY 334                            2378 S MT ZION RD                   348 S OAK STREET
HUGHES, AR 72348                        GREENVILLE, AL 36037-7807           COTTAGE HILLS, IL 62018




ROBERT PALMER, JR                       ROBERT RICHARDSON                   ROBERT RUSSELL
ADDRESS ON FILE                         12539 S MARSHFIELD                  2454 HWY 79W
                                        APT 2                               MARIANNA, AR 72360
                                        CALUMET PARK, IL 60827




ROBERT SAMPSON                          ROBERT SANDERS WASTE SYSTEMS        ROBERT SCHILLING
2732 LINCOLN PARK DR                    P.O. BOX 870                        81 THOMAS BLVD NW
GALESBURG, IL 61401                     ALTON, IL 62002                     MASSILLON, OH 44647




ROBERT SCOFIELD                         ROBERT SEXTON                       ROBERT SORENSEN
3700 BABCOCK LANE 109                   ADDRESS ON FILE                     3120 PFLUM LANE
EUGENE, OR 97401-7059                                                       FALLON, NV 89406




ROBERT STUART                           ROBERT THURMAN                      ROBERT TRASK
7 BROOKSHIRE LANE                       P.O. BOX 984                        708 OAK AVE
EDWARDSVILLE, IL 62025                  OVERTON, NV 89040                   HAMLET, NC 28345




ROBERT W MITCHELL                       ROBERT, JAMIE N.                    ROBERT, JASKOLSKI
1916 N BROAD ST                         ADDRESS ON FILE                     42007 N SMITH ST
GALESBURG, IL 61401                                                         ANTIOCH, IL 60002




ROBERT, PAUTLER                         ROBERTA BLACKWELL                   ROBERTA J PICKEL
7581 PAUTLER RD                         1217 SPRINGBROOKE DR                1285 S CHERRY ST
EVANSVILLE, IL 62242                    EDWARDSVILLE, IL 62025              GALESBURG, IL 61401
ROBERTA JENKINS          Case 20-10766-BLS   Doc
                                       ROBERTA     6 Filed 04/07/20
                                               L HENDERSON            Page 1507 of L1969
                                                                           ROBERTA   THURMAN
4412 KINGSGATE CV                       100 PARK AVE                       103 N CARLYSLE
LOGANVILLE, GA 30052                    CALUMET CITY, IL 60409             ABINGDON, IL 61410




ROBERTS II, MICHAEL D.                  ROBERTS LISA A                     ROBERTS NELLIE
101 CRESTWOOD LANE                      26558 W WILMOT RD                  1054 COUNTRY CLUB RD
SPRING HILL, TN 37174                   ANTIOCH, IL 60002                  WILLIAMSTON, NC 27892




ROBERTS PATRICIA R                      ROBERTS RODNEY GOLDEN              ROBERTS SHERRI J
176 MOSHIER HILL RD                     345 GRIZZLEY AVE                   P.O. BOX 165
GALESBURG, IL 61401                     EUGENE, OR 97404                   COPPERHILL, TN 33708




ROBERTS, ALEXANDER                      ROBERTS, BEATRICE                  ROBERTS, CANDRA
1920 ROCK HILL RD                       951 STEAKHOUSE RD                  ADDRESS ON FILE
SHARON, TN 38255                        KNOXVILLE, IL 61448




ROBERTS, CARLA L.                       ROBERTS, CHERIE D.                 ROBERTS, DICKIE LEE
639 SADDLE RIDGE DR                     ADDRESS ON FILE                    3702 PEPPERTREE DR
BETHLEHEM, GA 30620                                                        EUGENE, OR 97402-0000




ROBERTS, DINA M.                        ROBERTS, FREDRIC                   ROBERTS, GAYE S.
9 SILVER OAKS LN APT 8                  110 LINDNER LN                     ADDRESS ON FILE
EDWARDSVILLE, IL 62025                  EUGENE, OR 97404




ROBERTS, GLENN                          ROBERTS, GLORIA                    ROBERTS, GRETA
13137 BLUFFSIDE LANE                    P.O. BOX 27                        ADDRESS ON FILE
VICTORVILLE, CA 92394                   VENICE, IL 62090




ROBERTS, ICIE RUTH                      ROBERTS, JAMES C.                  ROBERTS, JANICE
364 N 36TH ST                           550 TOWN BRANCH RD                 ADDRESS ON FILE
SPRINGFIELD, OR 97478-0000              JEFFERSONVILLE, KY 40337




ROBERTS, JEAN G.                        ROBERTS, JENNI                     ROBERTS, JESSICA L.
266 COUNTY ROAD 151                     882 FOXBORO DR                     ADDRESS ON FILE
PISGAH, AL 35765                        APT K203
                                        N SALT LAKE, UT 84054




ROBERTS, JOAN P.                        ROBERTS, JOAN                      ROBERTS, JULIE
3216 WILLOW AVE                         ADDRESS ON FILE                    ADDRESS ON FILE
GRANITE CITY, IL 62040
ROBERTS, KATHRYN A.     Case 20-10766-BLS   Doc
                                      ROBERTS,    6 Filed 04/07/20
                                               KELLEY                Page 1508 of 1969
                                                                          ROBERTS, LAVERNE ROY
ADDRESS ON FILE                        2504 STARFIRE LANE                  484 SALTY WAY
                                       LOGANVILLE, GA 30052                EUGENE, OR 97404




ROBERTS, LINDSEY M.                    ROBERTS, LISA A.                    ROBERTS, MELISSA G.
2109 YORKTOWNE DR                      861 DAN AVE                         189 PINEHILL DRIVE
VALPARAISO, IN 46383                   CANAL FULTON, OH 44614              JACKSON, KY 41339




ROBERTS, MONA                          ROBERTS, NANCY LEE                  ROBERTS, NANCY S.
211 JAMES ST                           1729 EDISON AVE                     406 PINCKNEYVILLE RD
WINDER, GA 30680                       APT 3                               MARISSA, IL 62257
                                       GRANITE CITY, IL 62040




ROBERTS, NANCY                         ROBERTS, NANCY                      ROBERTS, NAOMI W.
6704 WILLOW PLACE                      ADDRESS ON FILE                     104 DIXON CIRCLE
GODFREY, IL 62035                                                          WILLIAMSTON, NC 27892




ROBERTS, NOEL P.                       ROBERTS, PAMELA W.                  ROBERTS, PAMELA W.
5138 N VISSCHER ST                     ADDRESS ON FILE                     ADDRESS ON FILE
TACOMA, WA 98407-0000




ROBERTS, PAULA D.                      ROBERTS, PAULA                      ROBERTS, REBECCA J.
3915 MCCALL RD                         124 STORY CIRCLE                    1627 CERRONI DRIVE
LEXINGTON, TN 38351                    GLEN CARBON, IL 62034               TOOELE, UT 84074




ROBERTS, RICHARD                       ROBERTS, RONALD E.                  ROBERTS, RYAN P.
203 SAN JUAN LN                        2400 AUGUSTA DR SE                  ADDRESS ON FILE
MESQUITE, NV 89027                     MASSILLON, OH 44646




ROBERTS, SAMMIE L.                     ROBERTS, SANDRA                     ROBERTS, SETH GARRETT
717 BROADWAY                           ADDRESS ON FILE                     31507 BROADMOOR DR
VENICE, IL 62090                                                           EVERGREEN, CO 80439




ROBERTS, SHELLI K.                     ROBERTS, SHIRLEY J.                 ROBERTS, TEKA A.
ADDRESS ON FILE                        2285 E STREET                       ADDRESS ON FILE
                                       SPRINGFIELD, OR 97477




ROBERTS, VANESSA R.                    ROBERTS, VIRINA L.                  ROBERTS, WENDY
8075 HIGHWAY 378                       300 E 3RD ST.                       406 SOUTH ST
VANCLEVE, KY 41385                     DEMING, NM 88030                    GREENVILLE, AL 36037
                     Case 20-10766-BLS
ROBERTS-DAUGHERTY, JULIE                   Doc 6BRANDY
                                   ROBERTSHAW,      Filed 04/07/20   Page 1509 of 1969
                                                                          ROBERTSON BRETT D
ADDRESS ON FILE                    2139 N 50 W                            303 JOY DRIVE
                                   TOOELE, UT 84074                       O FALLON, IL 62269




ROBERTSON FURNITURE COMPANY          ROBERTSON SHEILA JOY                 ROBERTSON, ALLISON K.
119 PLAZA ST                         P.O. BOX 967                         ADDRESS ON FILE
WEST HELENA, AR 72390                LYMAN, WY 82937-0967




ROBERTSON, AMELIA                    ROBERTSON, ANNALISA                  ROBERTSON, BILLIE R.
112 ELDERLY HOUSING ROW              ADDRESS ON FILE                      380 WEST STREET
DONGOLA, IL 62926                                                         WOLF LAKE, IL 62998




ROBERTSON, BILLIE R.                 ROBERTSON, CAMRON                    ROBERTSON, CORAL B.
ADDRESS ON FILE                      1705 FORT GAY ROAD                   ADDRESS ON FILE
                                     FORT GAY, WV 25514-7282




ROBERTSON, CYNTHIA C.                ROBERTSON, DEREK                     ROBERTSON, HEATHER L.
ADDRESS ON FILE                      ADDRESS ON FILE                      90 DAVID STREET
                                                                          MCKENZIE, TN 38201




ROBERTSON, JACQUELINE                ROBERTSON, JAIME L.                  ROBERTSON, JOHN W.
ADDRESS ON FILE                      ADDRESS ON FILE                      312 ROOSEVELT
                                                                          WEST MEMPHIS, AR 72301




ROBERTSON, KAREN M.                  ROBERTSON, KEITH                     ROBERTSON, LICIA
ADDRESS ON FILE                      301 1/2 WILLIFORD RD                 1919 PARKWOOD DR
                                     P.O. BOX 524                         BIG SPRING, TX 79720
                                     JONESBORO, IL 62952




ROBERTSON, MAGGIE                    ROBERTSON, PHYLLIS                   ROBERTSON, SAMANTHA J.
1621 AUDREY RIDGE                    ADDRESS ON FILE                      126 BRADFISCH DR
MONROE, GA 30656                                                          GRAFTON, IL 62037




ROBERTSON, SARAH A.                  ROBERTSON, SHERI                     ROBEY, CAROL L.
1360 ROCKHOUSE FORK RD               1675 ST. ANTHONY                     10262 MORTON RD
SALYERSVILLE, KY 41465               FLORISSANT, MO 63033                 MASSILLON, OH 44647




ROBICHEAUX, JAMES W.                 ROBILLARD, AMY D.                    ROBIN BARBER
ADDRESS ON FILE                      ADDRESS ON FILE                      4803 WILLIAMSBURG VILLAGE DR
                                                                          JACKSON, TN 38305
ROBIN D SHAFFER         Case 20-10766-BLS    Doc 6
                                      ROBIN DAVIS        Filed 04/07/20   Page 1510
                                                                               ROBIN EofHOLLOWAY
                                                                                         1969
131 W MARKET ST                        811 N. COMMERCIAL                        65 STONY PT
MIDDLEBURG, PA 17842                   BENTON, IL 62812                         GOREVILLE, IL 62939-2782




ROBIN GARDNER                          ROBIN GEHRING                            ROBIN GRIESBAUM
15156 STATE HWY 149                    5082 HWY 78 N                            ADDRESS ON FILE
WEST FRANKFORT, IL 62896               WHEATLEY, AR 72396




ROBIN HEIDE                            ROBIN HELMS FOR HEATH HELMS              ROBIN M BERRY
ADDRESS ON FILE                        565 CANDY MEADOW FARM ROAD               14590 N TWO MILE CREEK LN
                                       LEXINGTON, TN 38351                      MT VERNON, IL 62864




ROBIN REEVES                           ROBIN WATT                               ROBIN, HANNER
4012 CYPRESS CT                        608 JOSEPH DRIVE                         4916 KASKASKIA ROAD
COUNTRY CLUB HILLS, IL 60478           FAIRVIEW HEIGHTS, IL 62208               WATERLOO, IL 62298




ROBINETTE WANDA                        ROBINETTE, KAYE                          ROBINETTE, KRISTINA
ADDRESS ON FILE                        125 BAMPTON CT                           111 JERRY BOTTOM ROAD
                                       EUGENE, OR 97404                         HUDDY, KY 41535




ROBINETTE, LARRY                       ROBINETTE, MARYANN                       ROBINETTE, WANDA G.
995 FERN DRIVE                         427 SILVER FOX DR                        1112 E ASH ST
LOUISA, KY 41230                       LOUISA, KY 41230                         HERRIN, IL 62948




ROBINETTE, WANDA                       ROBINSON DORAL JEAN                      ROBINSON GLADYS
ADDRESS ON FILE                        730 E STREET                             ADDRESS ON FILE
                                       SPRINGFIELD, OR 97477




ROBINSON HEATHER                       ROBINSON JOYCE E                         ROBINSON SHAUNTAE M
732 RIDGE AVE                          12144 S LASALLE STREET                   12820 S WOOD ST APT 2D
ROCK SPRINGS, WY 82901-5039            CHICAGO, IL 60628-6619                   APT 5
                                                                                BLUE ISLAND, IL 60406




ROBINSON, ALICE M.                     ROBINSON, ALICE                          ROBINSON, ANDREA L.
ADDRESS ON FILE                        ADDRESS ON FILE                          7801 OAK PARK AVE
                                                                                BURBANK, IL 60459




ROBINSON, ANDREA                       ROBINSON, ANITA L.                       ROBINSON, AUDREY D.
503 CANTERBURY CT                      ADDRESS ON FILE                          1103 E MOUND STREET
TROY, IL 62294                                                                  SPARTA, IL 62286
ROBINSON, AZALIA          Case 20-10766-BLS   Doc
                                        ROBINSON,   6 Filed 04/07/20
                                                  BEATRICE                   Page 1511  of 1969
                                                                                  ROBINSON, BRITTANY N.
140 FAIRFIELD                            ADDRESS ON FILE                           ADDRESS ON FILE
LEXINGTON, TN 38351




ROBINSON, CARL P.                        ROBINSON, CAROLYN D.                      ROBINSON, CODY
P.O. BOX 328                             14423 S PARNELL AVE                       ADDRESS ON FILE
MARFA, TX 79843                          RIVERDALE, IL 60827




ROBINSON, DANIELLE                       ROBINSON, DEBORAH S.                      ROBINSON, DELONDA M.
16649 KIMBARK AVE                        5190 EMIL DR SW APT 404                   2005 W 146TH STREET
SOUTH HOLLAND, IL 60473                  NAVARRE, OH 44662                         DIXMOOR, IL 60426




ROBINSON, DORIS                          ROBINSON, ELIZABETH A.                    ROBINSON, EUGENE
11359 S CHURCH ST                        TO THE ESTATE OF 403 BURNS STREET         2379 COUNTY ROAD 445
CHICAGO, IL 60643                        LOUISA, KY 41230                          FORT PAYNE, AL 35968




ROBINSON, FELICIA M.                     ROBINSON, FREDERICK J.                    ROBINSON, GEORGE E.
ADDRESS ON FILE                          142 OAK PARK DRIVE                        ADDRESS ON FILE
                                         NASHVILLE, TN 37207




ROBINSON, HELEN G.                       ROBINSON, JACQUELINE N.                   ROBINSON, JEANNIE
865 OAK AVE SE                           2445 LYNCH AVE                            171 SHACKS BRANCH ROAD
MASSILLON, OH 44646                      GRANITE CITY, IL 62040                    JACKSON, KY 41339




ROBINSON, JESSICA                        ROBINSON, JOYCE                           ROBINSON, JOYCE
203 15TH ST SW                           12144 SOUTH LASALLE                       38377 N LOYOLA AVE
FORT PAYNE, AL 35967                     CHICAGO, IL 60628                         BEACH PARK, IL 60087




ROBINSON, JUSTIN O.                      ROBINSON, KALEY E.                        ROBINSON, KAREN I.
118 WENDY STREET                         ADDRESS ON FILE                           ADDRESS ON FILE
WARFIELD, KY 41267




ROBINSON, KATHERYN M.                    ROBINSON, KIARA                           ROBINSON, KIARA
11335 4TH AVE                            ADDRESS ON FILE                           P.O. BOX 67 308 NELSON
PLEASANT PRAIRIE, WI 53158                                                         ELAINE, AR 72333




ROBINSON, KRISTI J.                      ROBINSON, KRISTI                          ROBINSON, LISA D.
6 N. REBECCA                             ADDRESS ON FILE                           102 FLETCHER PL
GLENWOOD, IL 60425                                                                 GREENVILLE, NC 27858
ROBINSON, LOVETTE       Case 20-10766-BLS   Doc
                                      ROBINSON,   6 Filed 04/07/20
                                                LOVETTE              Page 1512  of 1969
                                                                          ROBINSON, LUCY
ADDRESS ON FILE                        ADDRESS ON FILE                    251 WILDERNESS LANE
                                                                          INEZ, KY 41224-7300




ROBINSON, MAEGAN K.                    ROBINSON, MARIANNE C.              ROBINSON, MEGAN E.
ADDRESS ON FILE                        179 VIRGINIA DRIVE                 1115 ROSE BEND ROAD
                                       BLUE RIDGE, GA 30513               CAMPTON, KY 41301




ROBINSON, MELISSA K.                   ROBINSON, MIA                      ROBINSON, MICHAEL
724 N. LACKEY AVE.                     3505 WOOD DUCK DR                  11539 VILLA CT APT 3-A
LOUISA, KY 41230                       SWANSEA, IL 62226                  ALSIP, IL 60803




ROBINSON, MICHEAL A.                   ROBINSON, MONIQUE                  ROBINSON, ODESSA P.
409 OAK POINT DR                       ADDRESS ON FILE                    311 WOODARD ST
LEXINGTON, TN 38351                                                       FORREST CITY, AR 72335




ROBINSON, RAMONA A.                    ROBINSON, RAYMOND                  ROBINSON, REGINA L.
13228 SOUTH CORLISS                    ADDRESS ON FILE                    ADDRESS ON FILE
CHICAGO, IL 60827




ROBINSON, REGINA M.                    ROBINSON, RONALD                   ROBINSON, SAMELIA
ADDRESS ON FILE                        420 OAK VALLEY ROAD                505 N 39TH ST
                                       FORT GAY, WV 25514                 BELLEVILLE, IL 62226




ROBINSON, SHARON L.                    ROBINSON, SHELISE D.               ROBINSON, SHELLY J.
725 TERRACE STREET                     ADDRESS ON FILE                    599 HOT WATER RD
LAS VEGAS, NM 87701                                                       TELLICO PLAINS, TN 37385




ROBINSON, SHERRY                       ROBINSON, TAMERRA                  ROBINSON, THELMA
62 ROLLING HILLS ROAD                  4301 STILLWATER CT                 508 W 107TH
LOUISA, KY 41230                       WILSON, NC 27893                   CHICAGO, IL 60628




ROBINSON, TIFFANY                      ROBINSON, TINA                     ROBINSON, TREVIANIA
142 S ASHLAR                           ADDRESS ON FILE                    207 TRADITIONS DR
WEST HELENA, AR 72390                                                     LOGANVILLE, GA 30052




ROBINSONTSCHEAU, SARAH                 ROBISON, GARY                      ROBISON, MARIE A.
1674 JEAN CT                           114 N MARTIN AVE                   ADDRESS ON FILE
EUGENE, OR 97402-3006                  WAUKEGAN, IL 60085
ROBISON, VERONICA J.     Case 20-10766-BLS    DocMICHELE
                                       ROBITAILLE, 6 Filed
                                                         A. 04/07/20   Page 1513 ofAMELIA
                                                                            ROBLES, 1969
743 W 740 S                             ADDRESS ON FILE                     ADDRESS ON FILE
TOOELE, UT 84074




ROBLES, CLAUDIA                         ROBLES, ELIZABETH                   ROBLES, JOHN
617 OAKWOOD DR.                         316 PEQUIN TRAIL SE                 9430 S HAMILTON
ROUND LAKE BEACH, IL 60073              ALBUQUERQUE, NM 87123               CHICAGO, IL 60643




ROBLES, KIRSTEN                         ROBLES, LUZ M.                      ROBLES, MAUREEN A.
12 RETA COURT                           627 GRANADA ST                      13643 S LAWLER AVE
GRANITE CITY, IL 62040                  SOLEDAD, CA 93960                   CRESTWOOD, IL 60445




ROBLES, NELLIE                          ROBLES, NICHOLAS A.                 ROBNETT, LAURA
905 NORTH SCURRY STREET                 4039 SARATOGA AVE UNIT 110          513 COUNTRY CLUB ROAD
BIG SPRING, TX 79720                    DOWNERS GROVE, IL 60515             CENTRALIA, IL 62801




ROBSHAW, DEBORAH A.                     ROBSON, EDWIN                       ROBSON, URSULA
P.O. BOX 371                            621 JOYCE RD.                       1383 BRIARHAVEN LANE
BLUE RIDGE, GA 30513                    MURPHY, NC 28906                    CLERMONT, FL 34711




ROBSON, URSULA                          ROBY, JENNIFER                      ROBYN FREE
621 JOYCE RD.                           1103 N. VANBUREN                    ADDRESS ON FILE
MURPHY, NC 28906                        MARION, IL 62959




ROBYN FRENCH                            ROBYN RICHARDSON                    ROCCA, KYLE J.
ADDRESS ON FILE                         3031 SUGAR SHACK LANE               5724 VOGEL PL
                                        STAUNTON, IL 62088                  MILLSTADT, IL 62260




ROCHA FERNANDEZ, MARGARITA              ROCHA-MELGOZA, JASMIN               ROCHE DIAGNOSTIC CORP
110 GERA COURT                          65 BRIGHT VIEW LN                   MAIL CODE 5021
WATSONVILLE, CA 95076                   WATSONVILLE, CA 95076               P.O. BOX 660367
                                                                            DALLAS, TX 75266-0367




ROCHE DIAGNOSTIC CORP                   ROCHE DIAGNOSTIC CORP               ROCHE DIAGNOSTIC CORP
MAIL CODE 5508                          MAIL CODE 5508                      MAIL CODE 5508
P.O. BOX 105046                         P.O. BOX 71209                      P.O. BOX 71209
ATLANTA, GA 30348-5046                  CHARLOTE, NC 28272-1209             CHARLOTTE, NC 28272-1209




ROCHE DIAGNOSTIC CORP                   ROCHE DIAGNOSTIC CORP               ROCHE DIAGNOSTIC CORP
MAIL CODE 5508                          MAIL CODE 5508                      POB 71209
P.O. BOX 71209                          P.O. BOX 7120946                    MAIL CODE 5508
DALLAS, TX 75266-0367                   CHARLOTTE, NC 28272-1209            CHARLOTTE, NC 28272-1209
ROCHE DIAGNOSTICS CORPCase 20-10766-BLS    Doc 6 Filed
                                    ROCHE DIAGNOSTICS CORP 04/07/20   Page 1514
                                                                           ROCHE of 1969
                                                                                 LABORATORIES
MAIL CODE 5021                      MAIL CODE 5508                         ROCHE LABORATORIES
P.O. BOX 660367                     PO BOX 71209                           99999-9999
DALLAS, TX 75266-0367               CHARLOTTE, NC 28272-1209




ROCHE, KIMBERLY                      ROCHE, SHERRY                         ROCHEFORT, JENNIFER D.
3931 W 151ST STREET                  5350 YORK RD                          ADDRESS ON FILE
MIDLOTHIAN, IL 60445                 ELLIS GROVE, IL 62241




ROCHELLE D PAYNE                     ROCHELLE DIPPEL                       ROCHESTER CASSETTE REPAIR DBA RC
ADDRESS ON FILE                      ADDRESS ON FILE                       IMAGING
                                                                           50 OLD HOJACK LANE
                                                                           HILTON, NY 14468




ROCK ALLISON M                       ROCK SPRINGS IV CENTER                ROCK, HOPE M.
5236 GREENBRIAR LN                   400 2ND STREET SUITE A1               ADDRESS ON FILE
MADISON, OH 44057                    ROCK SPRINGS, WY 82901




ROCK, JUDY R.                        ROCKBRIDGE UNDERWRITING               ROCKET MEDICAL
411 WEST NATIONAL STREET             2925 RICHMOND AVE                     150 RECREATION PARK DRIVE
LAS VEGAS, NM 87701                  STE 1600                              UNIT 1
                                     HOUSTON, TX 77098                     HINGHAM, MA 02043




ROCKETT, SUSAN                       ROCKFORD MUTUAL                       ROCKINGHAM MANOR
5265 E GROVES RD                     527 COLMAN CENTER DR                  804 S LONG DR
HUMBOLDT, IL 61931                   ROCKFORD, IL 61125-0626               ROCKINGHAM, NC 28379




ROCKTAPE                             ROCKWELL MEGAN E                      ROCKWELL, MARVIN
1610 DELL AVE                        493 E 1370 N                          8744 SOAPBERRY DR
CAMPBELL, CA 95008                   TOOELE, UT 84074                      MAGNA, UT 84044




ROCKWELL, SHAN M.                    ROCKWOOD, BARBARA                     ROCKWOOD, KATHRYNE G.
16 S KOSSUTH ST                      12830 S PEORIA ST                     215 ALTIVO
MILLSTADT, IL 62260                  CHICAGO, IL 60643                     LA SELVA BEACH, CA 95076




ROCKY BRANCH BARNS, LLC              ROCKY MOUNTAIN AIR SOLUTIONS          ROCKY MOUNTAIN HEALTH PLAN
155 TRUCK STOP ROAD                  P.O. BOX 78000                        2275 CROSSROADS BLVD
GRAYSON, KY 41143                    DEPT 78716                            P.O. BOX 10600
                                     DETROIT, MI 48278-0716                GRAND JUNCTION, CO 81502




ROCKY MOUNTAIN POWER                 ROCKY MOUNTAIN POWER                  ROCKY MOUNTAIN SCHOOL OF BASEBALL
1407 W NORTH TEMPLE                  P.O. BOX 26000                        560 WEST 600 NORTH
SALT LAKE CITY, UT 84116             PORTLAND, OR 97256-0001               LOGAN, UT 84321
RODARTE, GRISELDA         Case 20-10766-BLS   Doc
                                        RODDEN, LUKE6       Filed 04/07/20   Page 1515  of 1969
                                                                                  RODE, DEBORAH
140 FERNSIDE ST                          ADDRESS ON FILE                          7835 WINDING WAY N
SANTA CRUZ, CA 95060                                                              TIPP CITY, OH 45371




RODEFFER, KELLY                          RODEFFER, MEGAN                          RODELL, ALLISON T.
304 WEST HURST                           P.O. BOX 143                             51 MILL CT
BUSHNELL, IL 61422                       STRONGHURST, IL 61480                    INDIAN CREEK, IL 60061




RODELL, WEH                              RODELY, TAMMY L.                         RODEN, JERRY
55 N 5TH ST                              ADDRESS ON FILE                          5930 MARZILLI ST NW
BREESE, IL 62230                                                                  APT D1
                                                                                  CANTON, OH 44718




RODEN, MEAGAN M.                         RODGERS JACQUELINE K                     RODGERS ROBERT
704 SCOTT AVE S                          18 DILLARD CHAPEL RD                     3316 SHARON PL
RAINSVILLE, AL 35986                     BLAIRSVILLE, GA 30512                    ZION, IL 60099




RODGERS, AMBER                           RODGERS, ANNETTE                         RODGERS, BETTY
513 S HAUGHTON ST APT A                  3770 ED GROCERY RD                       25 WOODLAND DR APT 25
WILLIAMSTON, NC 27892                    WILLIAMSTON, NC 27892                    LEXINGTON, TN 38351




RODGERS, BOBBY                           RODGERS, CHRIS                           RODGERS, GIZIELLE M.
280 MCPEAKE LN                           2019 FOXRIDGE DR                         ADDRESS ON FILE
LEXINGTON, TN 38351                      ISLAND LAKE, IL 60042




RODGERS, LINDA D.                        RODGERS, MALIA                           RODGERS, MARLEEN
3201 PARKWAY CT B                        103 WEST ASH STREET                      2916 GRAND AVE
GREENVILLE, NC 27834                     NEW BADEN, IL 62265                      GRANITE CITY, IL 62040




RODGERS, SAMANTHA                        RODGERS, TRACY L.                        RODGERS-DAVIS, DUWANDA R.
1061 SMITHWICK STREET                    2824 WOODBURY CIRCLE                     1418 MEMORIAL DR
JAMESVILLE, NC 27846                     ST. GEORGE, UT 84790                     CALUMET CITY, IL 60409




RODITIS, NICHOLAS                        RODMAN, DONNA A.                         RODMAN, JANE M
11017 S WESTWOOD DR                      ADDRESS ON FILE                          201 PHILLIPS 247 RD
PALOS HILLS, IL 60465-2325                                                        LEXA, AR 72355




RODMAN, ROGER M.                         RODMAN,EARL                              RODNEY A KENNEDY
2100 CECILIA                             411 BRISTOL RD                           104 WESTMINSTER DR
BIG SPRING, TX 79720                     AUGUSTA, GA 30907-2723                   RAINBOW CITY, AL 35906-3704
RODNEY BAYSINGAR         Case 20-10766-BLS
                                       RODNEYDoc  6 Filed 04/07/20
                                              BURBACH                Page 1516 ofBUSH
                                                                          RODNEY  1969
PO BOX 157                              6314 MILLER DR                    3117 PINEAPPLE HWY
ALTONA, IL 61414                        EDWARDSVILLE, IL 62025            GREENVILLE, AL 36037




RODNEY E BALL                           RODNEY R WALKER                   RODNEY RICE
564 BRIGHTLEAF PL NW                    1387 SKYLIGHT WAY                 14 SUMERSET PLACE
CONCORD, NC 28027-4542                  MESQUITE, NV 89034                COLLINSVILLE, IL 62234




RODRIGUES, DEBORAH                      RODRIGUEZ DAMARIS                 RODRIGUEZ ITARA, BLANCA L.
11317 LAKESHORE SOUTH                   12444 MORGANTON HWY               1402 MELROSE AVE.
AUBURN, CA 95602                        MORGANTON, GA 30560               ROUND LAKE BEACH, IL 60073




RODRIGUEZ JOSHUA                        RODRIGUEZ, ADRIANA                RODRIGUEZ, ALLISON E.
372 HAWTHORN LANE                       22 MELROSE AVE                    4205 THEO
ANTIOCH, IL 60002                       WATSONVILLE, CA 95076             BIG SPRING, TX 79720




RODRIGUEZ, ALLISON                      RODRIGUEZ, AMBER                  RODRIGUEZ, ANA I.
1601 W 11TH PL                          ADDRESS ON FILE                   2621 31ST ST
BIG SPRING, TX 79720                                                      ZION, IL 60099




RODRIGUEZ, ANGELA                       RODRIGUEZ, ARACELY                RODRIGUEZ, AUDREY B.
329 S 9TH STREET                        ADDRESS ON FILE                   704 N. ORANGE
LEBANON, PA 17042                                                         ALPINE, TX 79830




RODRIGUEZ, AWILDA                       RODRIGUEZ, BIBIANA                RODRIGUEZ, CACILIA B.
12722 GREENWOOD AVE                     ADDRESS ON FILE                   ADDRESS ON FILE
APT 2
BLUE ISLAND, IL 60406




RODRIGUEZ, CARMEN M.                    RODRIGUEZ, CARMEN M.              RODRIGUEZ, CECILIA
601 S. SLATE STREET                     ADDRESS ON FILE                   28478 COCHISE AVE
DEMING, NM 88030                                                          BARSTOW, CA 92311




RODRIGUEZ, CECILIA                      RODRIGUEZ, CHRISTINE A.           RODRIGUEZ, DORA F.
389 CHAPPELL RD                         74 ARTHUR RD.                     ADDRESS ON FILE
FREEDOM, CA 95019                       WATSONVILLE, CA 95076




RODRIGUEZ, DORALUZ                      RODRIGUEZ, ERICA                  RODRIGUEZ, ERIK
ADDRESS ON FILE                         1900 MITTEL AVE                   901 W. 6TH ST
                                        BIG SPRING, TX 79720              BIG SPRING, TX 79720
RODRIGUEZ, ERIKA        Case 20-10766-BLS   DocESMERALDA
                                      RODRIGUEZ, 6 Filed 04/07/20   Page 1517  of 1969
                                                                         RODRIGUEZ, HECTOR
4670 SPEARHEAD RD NW                   ADDRESS ON FILE                   ADDRESS ON FILE
DEMING, NM 88030




RODRIGUEZ, HEIDI L.                    RODRIGUEZ, JEAUNINA N.            RODRIGUEZ, JOHN A. JR.
ADDRESS ON FILE                        ADDRESS ON FILE                   1732 ARMORY RD
                                                                         BARSTOW, CA 92311




RODRIGUEZ, JOSE                        RODRIGUEZ, JOSHUA D.              RODRIGUEZ, JULIEANA
1559 AUBURN LANE                       230 OLD ADOBE RD                  4235 CORAL BERRY TATH
GURNEE, IL 60031                       WATSONVILLE, CA 95076             APT 203
                                                                         GURNEE, IL 60031




RODRIGUEZ, JULYE R.                    RODRIGUEZ, KARINA                 RODRIGUEZ, KERRY K.
1752 ASHELY DR                         17835 HARPER RD                   ADDRESS ON FILE
GREENVILLE, NC 27834                   TINLEY PARK, IL 60487




RODRIGUEZ, KRYSTLE                     RODRIGUEZ, LESLIE                 RODRIGUEZ, LIDIA
ADDRESS ON FILE                        1519 E 17TH                       ADDRESS ON FILE
                                       BIG SPRING, TX 79720




RODRIGUEZ, LINDA                       RODRIGUEZ, LOIS                   RODRIGUEZ, LYZZETTE
5019 LANGLEY CT.                       49 BLANCA LN 31                   301 ROYAL OAKS BLVD APT. 3502
OAK FOREST, IL 60452                   WATSONVILLE, CA 95076             FRANKLIN, TN 37067




RODRIGUEZ, MARIA D.                    RODRIGUEZ, MARIA                  RODRIGUEZ, MARILYN
705 CALLE DEL RIO                      P.O. BOX 2154                     4203 WREN LN
WATSONVILLE, CA 95076                  FREEDOM, CA 95019                 ZION, IL 60099




RODRIGUEZ, MARINA                      RODRIGUEZ, MARINA                 RODRIGUEZ, MELISSA S.
6315 MAXIM DR SW                       ADDRESS ON FILE                   ADDRESS ON FILE
DEMING, NM 88030




RODRIGUEZ, MELODY                      RODRIGUEZ, MIRIAM                 RODRIGUEZ, NOEMI
P.O. BOX 398                           1046 6TH ST                       13906 KIOWA RD
CLEVELAND, NM 87715                    LV, NM 87701                      APPLE VALLEY, CA 92307




RODRIGUEZ, NOVELLA                     RODRIGUEZ, OLGA                   RODRIGUEZ, PABLO R.
2013 BARTON BRIDGE RD                  13607 MONTE DEL SOL               1515 SUNDAY DR
MONROE, GA 30655                       CASTROVILLE, CA 95012             DEMING, NM 88030
RODRIGUEZ, REFUGIO       Case 20-10766-BLS   DocRITA
                                       RODRIGUEZ, 6 M.Filed 04/07/20   Page 1518  of 1969
                                                                            RODRIGUEZ, ROSA
52 WILKIE AVE                           262 CRESTVIEW DR                    ADDRESS ON FILE
WATSONVILLE, CA 95076                   WATSONVILLE, CA 95076




RODRIGUEZ, SALLY J.                     RODRIGUEZ, SANTIAGO                 RODRIGUEZ, SONIA Y.
801 NORTH 9TH STREET                    407 S 11TH ST                       6638 KENTUCKY AVE
ALPINE, TX 79830                        DEMING, NM 88030                    HAMMOND, IN 46323




RODRIGUEZ, VANESSA E.                   RODRIGUEZ, YOLANDA                  RODRIGUEZ-CHACON, EUNICE M.
ADDRESS ON FILE                         ADDRESS ON FILE                     120 SHELL DR.
                                                                            WATSONVILLE, CA 95076




RODRIGUEZ-DIAZ, MIGUEL                  RODRIGUEZ-VARGAS, JESSICA M.        RODRIQUEZ DORA
767 MOSS DR 31                          ADDRESS ON FILE                     ADDRESS ON FILE
MESQUITE, NV 89027




RODRIQUEZ, AMBER L.                     RODRIQUEZ, CHANEEL                  RODWORKS
P.O. BOX 3501 901 TIMOTHY LANE          610 COLGATE AVE                     1305 TASA CREEK DRIVE
BIG SPRING, TX 79720                    BIG SPRING, TX 79720                CRESWELL, OR 97426-9722




ROE, ADAM                               ROE, BONNIE                         ROE, ELIZABETH J.
521 HILLSBORO AVE                       2627 122ND PL                       ADDRESS ON FILE
EDWARDSVILLE, IL 62025                  BLUE ISLAND, IL 60406




ROE, JAMES F.                           ROE, JAMES                          ROE, JASON R.
110 HIAWATHA TRAIL                      9 SOUTH SHORE CV                    526 N 1ST ST
BLUE RIDGE, GA 30513                    JACKSON, TN 38305                   MONMOUTH, IL 61462




ROE, TABITHA M.                         ROEBUCK, AMY G.                     ROEBUCK, DEBORAH L.
1523 MADOLA RD                          184 CO RD 1009                      2922 BROWN RD
EPWORTH, GA 30541                       FORT PAYNE, AL 35968-5154           JAMESVILLE, NC 27846




ROEBURCK, ALLISON L                     ROEDEL, CATHERINE                   ROEGNER, NATHAN
11307 NC HWY 125                        2080 LAKE SHORE DR SOUTH            ADDRESS ON FILE
OAK CITY, NC 27857                      GOREVILLE, IL 62939




ROELL, MARTIN E.                        ROESCH, AMBER                       ROESCH, AMBER
ADDRESS ON FILE                         27915 BONANZA RD                    445 OAKMONT DR
                                        BARSTOW, CA 92311                   BARSTOW, CA 92311
ROESER, CHARLES W.       Case 20-10766-BLS   Doc
                                       ROESSLER   6 Filed 04/07/20
                                                LAURA                Page 1519 of 1969GEORGE W.
                                                                          ROETHEMEYER,
3051 BLUE ASH AVE NW                    2430 HANOVER RD                   17 BRIARCLIFF DR
CANTON, OH 44708                        COLUMBIA, IL 62236                GRANITE CITY, IL 62040




ROETMAN, JAMES T.                       ROEVER, CAROL                     ROEVER, JUDY F.
2732 ALMADEN ST                         4962 G ROAD                       4020 VICKY
EUGENE, OR 97405-0000                   WATERLOO, IL 62298                BIG SPRING, TX 79720




ROEVER, ROBERT                          ROGALINER LAW OFFICES PC          ROGAN, LISA
4020 VICKY STREET                       12201 MERIT DR                    ADDRESS ON FILE
BIG SPRING, TX 79720                    STE 600
                                        DALLAS, TX 75251-2301




ROGELIO JIMENEZ                         ROGER CLARK                       ROGER FULKS
1121 173RD ST                           418 N MAIN AVE                    18226 BACK MASSILLON RD
HAZEL CREST, IL 60429                   WYOMING, IL 61491                 NORTH LAWRENCE, OH 44666




ROGER JOHNSTON                          ROGER JONES                       ROGER L WARD
420 E MCCLURE ST                        218 CRESTVIEW DR                  500 COLLEGE ST
KEWANEE, IL 61443                       EVANSTON, WY 82930                GLEASON, TN 38229




ROGER MCKAY                             ROGER RUTLEDGE                    ROGER, AARON L.
431 SUBLIMITY CREST                     1063 LEE 215                      88 ROSEWOOD DRIVE
MESQUITE, NV 89027                      MARIANNA, AR 72360                BLUE RIDGE, GA 30513




ROGERS BRANDI N                         ROGERS KELLY R                    ROGERS LOUISE M
705 WILLIAMS AVENUE NE                  6 BRIANS WAY                      P.O. BOX 881
FORT PAYNE, AL 35967                    COLLINSVILLE, IL 62234            EAST ELLIJAY, GA 30539




ROGERS MACHINERY COMPANY, INC           ROGERS MOLLY                      ROGERS NATASHA T
14650 SW 72ND AVENUE                    1644 ROSY TURN                    86136 GARDEN VALLEY RD
PORTLAND, OR 97224                      EUGENE, OR 97404                  EUGENE, OR 97405




ROGERS TERRY W                          ROGERS, ANASA                     ROGERS, ANGELA D.
2713 DAY ROAD SW                        10196 ALLEN DR SW                 ADDRESS ON FILE
HUNTSVILLE, AL 35801                    COVINGTON, GA 30014




ROGERS, BILLY R.                        ROGERS, BIRGIT                    ROGERS, BRANDY
6090 MOBILE RD                          ADDRESS ON FILE                   1931 S WILSON AVE UNIT 20
GREENVILLE, AL 36037-7129                                                 CALUMET CITY, IL 60409
ROGERS, CARLA           Case 20-10766-BLS   Doc
                                      ROGERS,    6 Filed 04/07/20
                                              CHARLOTTE             Page 1520 ofCHARLOTTE
                                                                         ROGERS, 1969
ADDRESS ON FILE                        ADDRESS ON FILE                   ADDRESS ON FILE




ROGERS, DAVID A.                       ROGERS, DOUGLAS JR                ROGERS, HALEY H.
3962 NEW EBENEZER RD                   541 WEST FREDRICKS                761 COUNTY ROAD 509
HIGHLAND HOME, AL 36041-4412           BARSTOW, CA 92311                 CEDAR BLUFF, AL 35959




ROGERS, HANNAH C.                      ROGERS, HAYWOOD C.                ROGERS, JANIE E.
4206 COUNTY ROAD 38                    830 EAST LOGSBORO RD              3948 LUVERNE RD
SECTION, AL 35771                      TARBORO, NC 27886                 GREENVILLE, AL 36037




ROGERS, JERRY                          ROGERS, KATRINA M.                ROGERS, KENNETH
1995 COTTON CREEK RD                   ADDRESS ON FILE                   111 BROAD AVE
CAMDEN, TN 38320                                                         KNOXVILLE, IL 61448




ROGERS, KYLEE                          ROGERS, LACEY                     ROGERS, LANITA
P.O. BOX 1893                          ADDRESS ON FILE                   4254 HARDSCRABBLE RD
ALPINE, TX 79831                                                         MINERAL BLUFF, GA 30559




ROGERS, LINDA M.                       ROGERS, MAXINE                    ROGERS, MEGHAN
ADDRESS ON FILE                        2361 AIRPORT RD                   2501 COUNTY ROAD 83
                                       GREENVILLE, AL 36037              FORT PAYNE, AL 35967




ROGERS, MELODY D                       ROGERS, ROLLAND L.                ROGERS, SARA S.
726 FAIRWAY DRIVE                      OR VICKI HELLGREN                 ADDRESS ON FILE
WEST HELENA, AR 72390                  1774 MEADOWBROOK RD SW
                                       MASSILLON, OH 44647




ROGERS, SARA                           ROGERS, SARA                      ROGERS, SARAH
ADDRESS ON FILE                        ADDRESS ON FILE                   ADDRESS ON FILE




ROGERS, SHARRON                        ROGERS, SHERRI A.                 ROGERS, SHONDANISHEA
5131 S MARSHFIELD AVE                  1456 MARILYN AVE NW               2404 RONEY DR
CHICAGO, IL 60629                      CANTON, OH 44708-3131             GRANITE CITY, IL 62040




ROGERS, SPENCER                        ROGERS, STACY                     ROGERS, STEVEN
64 ARENAS VALLEY RD P.O. BOX 1664      215 S FROELICH LN                 12 KLAVIER DR
SILVER CITY, NM 88062                  ABINGDON, IL 61410                MURPHYSBORO, IL 62966
ROGERS, SUE              Case 20-10766-BLS   Doc
                                       ROGERS,     6 Filed 04/07/20
                                               TIFFANY                Page 1521 ofTYLER
                                                                           ROGERS, 1969P.
3917 VILLAGE LANE                       2019 BECKWITH AVE                  25007 CLINTON
APT D                                   MADISON, IL 62060                  BERWYN, IL 60402
GRANITE CITY, IL 62040




ROGERSON, BUD                           ROGERSON, CATHY                    ROGERSON, LISA C.
8325 US HWY 17                          1875 JACK ROBERSON RD              ADDRESS ON FILE
WILLIAMSTON, NC 27892                   WILLIAMSTON, NC 27892-0000




ROGERSON, LISA R.                       ROGERSON, SANDY D.                 ROGERSON, VICKIE S.
ADDRESS ON FILE                         ADDRESS ON FILE                    ADDRESS ON FILE




ROGERS-SMITH, THERESA A.                ROGISTER, DANA                     ROGNEY, BETZANY D.
9390 WALKER ROAD                        3930 MCWHORTER ST                  8111 SALERNO DRIVE UNIT B
JOHNSTON CITY, IL 62951                 BETHEL, NC 27812-7507              FORT IRWIN, CA 92310




ROGNEY, BETZANY                         ROHAN, ANN M.                      ROHAN, JEAN
820 E MOUNTAIN VIEW STREET              2638 W. 104TH STREET               426 WEST 500 SOUTH
BARSTOW, CA 92311                       CHICAGO, IL 60655                  APT B
                                                                           TOOELE, UT 84074




ROHLFING, AMY MD                        ROHLOFF, ISAMAR                    ROHN, KRISTIN A.
ADDRESS ON FILE                         11512 250TH AVE.                   5114 ASHMONT AVE SW
                                        TREVOR, WI 53179                   CANTON, OH 44706




ROHR, ALFRED                            ROHR, DUANE                        ROHR, ROBERT
13325 STANWOOD RD SW                    460 MARION AVE NW                  1832 STONER AVE NE
MASSILLON, OH 44647-9718                MASSILLON, OH 44646                MASSILLON, OH 44646




ROHRBACH, TONIA                         ROHRER, DANIEL                     ROHRER, KATHERINE
1016 CORONADO ST APT D                  4130 BRAMSHAW RD NW                ADDRESS ON FILE
NEEDLES, CA 92363                       CANTON, OH 44718




ROHRER, PAMELA                          ROHRER, STEPHEN                    ROHRING, DIANE
1314 MAIN AVE W                         21 COUNTY ROAD 7730                804 TEAGUE RD
MASSILLON, OH 44647                     WYNNE, AR 72396                    ELLIJAY, GA 30536




ROHRMAYER, MARY                         ROHRSCHEIB, DONNA                  ROHWEDER, MARY TRUST
319 LAKE SHORE DR                       123 PHILLIPS 251 RD                ATTN MARY ANN PEDIGO
LINDENHURST, IL 60046                   LEXA, AR 72355                     311 E SIMMONS ST APT 206
                                                                           GALESBURG, IL 61401
ROJAS GENARO          Case 20-10766-BLS    Doc 6 S. Filed 04/07/20
                                    ROJAS, AYLEEN                    Page 1522
                                                                          ROJAS,of 1969
                                                                                GENARO
DBA AIRE-MASTER OF SOUTHERN NM      54 GEORGE CAGLE DRIVE                 P O BOX 920483
P O BOX 920483                      COLLINSVILLE, AL 35961                EL PASO, TX 79902
EL PASO, TX 79902




ROJAS, JENNIFER                      ROJAS, ROBERT M.                     ROJAS, RUBY
615 W PALATINE RD                    831 F ST                             ADDRESS ON FILE
PALATINE, IL 60067                   SPRINGFIELD, OR 97477




ROJAS, VERONICA Y.                   ROJAS,BENJAMIN - M.D.                ROKKE, BRENDAN
ADDRESS ON FILE                      1870 W WINCHESTER RD STE 241         ADDRESS ON FILE
                                     LIBERTYVILLE, IL 60048




ROKOS, CARMA                         ROKOSKY, MICHELE R.                  ROLAND DERRY
10658 KECK RD                        4735 EASTLAND AVE NE                 330 BELLEVIEW CT
ST. JACOB, IL 62281                  LOUISVILLE, OH 44641                 GALESBURG, IL 61401




ROLAND PATRICIA ANN                  ROLAND, DERRY                        ROLFE, GLORIADEAN B.
2560 CREEK RD NW                     330 BELLEVIEW CT                     101 KIMBERLY COVE
FORT PAYNE, AL 35968-3213            GALESBURG, IL 61401                  WIDENER, AR 72394




ROLFE, MARY                          ROLLAND, DANA M.                     ROLLCALL
ADDRESS ON FILE                      ADDRESS ON FILE                      P.O. BOX 744313
                                                                          ATLANTA, GA 30384-4313




ROLLENE, KEITH                       ROLLENE, LYNN                        ROLLER, CYNTHIA
7 E. MONAVILLE RD                    7 E. MONAVILLE RD                    12 BARLEY DR
LAKE VILLA, IL 60046                 LAKE VILLA, IL 60046                 TROY, IL 62294




ROLLIE, JAMI                         ROLLIN RAUGUST                       ROLLING, LEO J.
2750 E. IL HWY 15                    6985 NEW COLUMBIA RD                 1855 BREWER AVE
WOODLAWN, IL 62898                   BELKNAP, IL 62908                    EUGENE, OR 97401-0000




ROLLINGS, JANET                      ROLLINS GINGER                       ROLLINS, ARLENE J.
6222 THURSTON RD                     460 AUSTIN STREET                    4255 GREENLEAF COURT 302
SPRINGFIELD, OR 97478                BLUE RIDGE, GA 30513                 PARK CITY, IL 60085




ROLLINS, BENJAMIN                    ROLLINS, THOMAS E.                   ROLLIS, JOYCE
476 E MINGO PARK DR                  10802 BLUFF RD                       2205 REYNOLDSBURG ROAD
SANDY, UT 84070                      COLUMBIA, IL 62236                   PARIS, TN 38242
ROLLS, BARBARA          Case 20-10766-BLS   DocJANICE
                                      ROLLYSON,  6 Filed 04/07/20   Page 1523
                                                                         ROLPH,of 1969
                                                                               MICHAEL
832 SOUTH AVE SE                       1398 KNOX RD 1600 E               1729 CARIBBEAN DRIVE
MASSILLON, OH 44646                    DAHINDA, IL 61428                 SARASOTA, FL 34231




ROLSTON, DIANE                         ROLSTON, REBECCA                  ROMAN HEATHER
ADDRESS ON FILE                        717 HAFEN LANE UNIT 20D           ADDRESS ON FILE
                                       MESQUITE, NV 89027




ROMAN, CHRISTINA D.                    ROMAN, CHRISTINA                  ROMAN, DANA
ADDRESS ON FILE                        ADDRESS ON FILE                   8215 N ORAVLE RD
                                                                         APT 157
                                                                         TUSCON, AZ 85704-6451




ROMAN, DEREK                           ROMAN, DOROTHY A.                 ROMAN, EMILY
2606 PORTAGE AVE                       14 NM HIGHWAY 65                  2907 SPRUCE HILL TER
WAUCONDA, IL 60084                     LASVEGAS, NM 87701                BELLEVILLE, IL 62221-4398




ROMAN, MARIBEL                         ROMANO, CORA                      ROMANO, GUY J.
872 TIMBER LAKE DR                     5010 AVALON RD                    859 NEW TERRACE CT
ANTIOCH, IL 60002                      CARROLLTON, OH 44615              KEIZER, OR 97303




ROMEO MARIA                            ROMEO, MONIQUE D.                 ROMERO DEANNA
1821 UNION                             ADDRESS ON FILE                   ADDRESS ON FILE
BLUE ISLAND, IL 60406




ROMERO JOHN M                          ROMERO, ARLENE                    ROMERO, ARTHUR J.
10618 MARC CT                          911 E 37TH ST                     ADDRESS ON FILE
BEACH PARK, IL 60087                   SILVER CITY, NM 88061




ROMERO, AUSTIN L.                      ROMERO, BRIAN                     ROMERO, DAISY
5132 COVENTRY LN                       9011 CARONDELET PL                117 LYNBROOK CT
GURNEE, IL 60031                       BRENTWOOD, TN 37027               WATSONVILLE, CA 95076




ROMERO, DEANNA J.                      ROMERO, DESIREE M.                ROMERO, DESTINEE
ADDRESS ON FILE                        ADDRESS ON FILE                   ADDRESS ON FILE




ROMERO, INEZ                           ROMERO, JANET                     ROMERO, JENNIFER
1628 FORANE ST                         ADDRESS ON FILE                   8814 ODIN SW
BARSTOW, CA 92311                                                        ALBUQUERQUE, NM 87121
ROMERO, JEYAH           Case 20-10766-BLS
                                      ROMERO,  Doc  6 Filed 04/07/20
                                                 JOCSAN                Page 1524 of JULIE
                                                                            ROMERO,  1969
17471 EASTGATE DR                     504 1/2 S JUAREZ ST                   608 CAYLOR DR.
COUNTRY CLUB HILLS, IL 60478          DEMING, NM 88030                      BIG SPRING, TX 79720




ROMERO, KRISTOFER G.                  ROMERO, MANUEL V                      ROMERO, MELISSA J.
95 COUNTY ROAD B019 P.O BOX 455       M & M LAWN CARE                       ADDRESS ON FILE
CLEVELAND, NM 87715                   P.O. BOX 7007
                                      BUNKERVILLE, NV 89007-7007




ROMERO, OLIVIA                        ROMERO, PEARL                         ROMERO, RACHEL
118 PECOS ST                          ADDRESS ON FILE                       743 LEE DRIVE
LAS VEGAS, NM 87701                                                         LAS VEGAS, NM 87701




ROMERO, SARAH                         ROMERO, STEPHANIE                     ROMERO-MONTANO, AMANDA F.
ADDRESS ON FILE                       320 S. COMMERCE ST                    ADDRESS ON FILE
                                      LAS VEGAS, NM 87701




ROMERO-MONTANO, AMANDA                ROMILUS, MARLENE                      ROMINE, DANIEL L.
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




ROMINIECKI, ANDREW J.                 ROMO, ALONSO                          ROMONOSKY, RICHARD
124 S WHITE CEDAR DR                  P O BOX 147                           1000 S CHENEY
MILTON, DE 19968                      SANTA CLARA, NM 88026                 HARRISBURG, IL 62946




ROMPH, CRAIG                          RON BEEBE                             RON HARTMAN
12984 AUTUMN VIEW DR                  1064 LAKEVIEW ROAD SOUTH              818 CHERRY DR
ST LOUIS, MO 63146                    DAHINDA, IL 61428                     GENESEO, IL 61254




RON ROBINSON                          RONALD ANDRES                         RONALD CHEDIAK MD
12234 S BISHOP ST                     505 SOUTH VANBUREN                    612 N 11TH
CHICAGO, IL 60643                     NEW ATHENS, IL 62264                  HERRIN, IL 62948




RONALD E PROMISSON                    RONALD J SHANOR                       RONALD JACKSON
280 E HURST ST                        803 OAK CREST LN NE                   1352 TOWNSHIP RD 2715 N
BUSHNELL, IL 61422                    MASSILLON, OH 44646                   OQUAWKA, IL 61469




RONALD KETNER                         RONALD LOCKE MD                       RONALD R. TRUDEL
704 S ILLINOIS ST                     ADDRESS ON FILE                       LNR ENTERPRISES, LLC
GOOD SAMARITAN SOCIETY                                                      8303 SOUTH VALIANT DRIVE
GENESEO, IL 61254-1782                                                      SALT LAKE CITY, UT 84121-6039
RONALD SOMMER            Case 20-10766-BLS
                                       RONALD,Doc  6 Filed
                                               PATRICK D.  04/07/20   Page 1525
                                                                           RONDA of 1969
                                                                                 BROOKS
P.O. BOX 134                            212 HAMPTON DR                     787 KNOX RD 1025 E
BALDWIN, IL 62217                       PLYMOUTH, NC 27962                 GILSON, IL 61436




RONDON, LUISANGEL A.                    RONE, ROGER L                      RONELL MONTOYA
819 S.HIGHWAY 3                         P.O. BOX 37                        ADDRESS ON FILE
LOUISA, KY 41230                        22078 BLACK ST
                                        THOMPSONVILLE, IL 62890




RONER, VICKIE LYNN                      RONIN SURGICAL CORP                RONNIE LITTLEFIELD
P.O. BOX 50371                          10573 W PICO BLVD STE 406          ADDRESS ON FILE
EUGENE, OR 97405                        LOS ANGELES, CA 90064




RONNIE WATTS                            RONQUILLO, GLORIA                  RONSPIES, JENNIFER
437 BIG BRANCH ROAD                     4203 HENRY AVE                     455 WILLOW
DUNLOW, WV 25511-8135                   HAMMOND, IN 46327                  NEW LENOX, IL 60451




ROOD, JAMES                             ROOK, RONALD E.                    ROOKER CLERK, RICHARD R.
810 TROY OFALLON RD                     9039 TRAPHAGEN ST NW               GENERAL SESSIONS CLERKS OFFICE
TROY, IL 62294                          MASSILLON, OH 44646                P.O. BOX 196304
                                                                           NASHVILLE, TN 37219-6304




ROOKER, KAREN S.                        ROOKER, MICHAEL PATRICK            ROOKS, SHANNETTE
3498 HWY 136 EAST                       47433 SCHOOL ST                    655 WEST 129TH PL
JASPER, GA 30143                        OAKRIDGE, OR 97463                 CHICAGO, IL 60628




ROONEY LAW FIRM, THE PC, THE            ROOSEVELT ALECHIA                  ROOSEVELT COLEY
P.O. BOX 57359                          716 N SYCAMORE ST                  12508 S LOWE
CHICAGO, IL 60657-0359                  FLORA, IL 62839                    CHICAGO, IL 60628




ROOSEVELT EDMONDS                       ROOSEVELT, BRENDA                  ROOSEVELT, JOSHUA
500 KITTLE RD                           19 CRESTWOOD DR                    1000 WINDYPASS 114
FORREST CITY, AR 72335                  GLEN CARBON, IL 62034              BARSTOW, CA 92311




ROOT, CAROL                             ROOT, MICAH B.                     ROPER, ALEXANDRA
311 LOCUST ST                           ADDRESS ON FILE                    501 LYON ST
RED BUD, IL 62278                                                          COLUMBIA, MO 65201




ROPER, JOHNNY                           ROPER, MEGAN                       ROPER, MICHELE R.
228 BUTLER ESTATE                       ADDRESS ON FILE                    14598 MAST LANE P.O BOX 1024
GREENVILLE, AL 36037                                                       HELENDALE, CA 92342
ROPES & GRAY LLP        Case 20-10766-BLS
                                      ROPES &Doc
                                              GRAY6LLPFiled 04/07/20   Page 1526
                                                                            ROQUE,of 1969 L.
                                                                                   RODNEY
1211 AVENUE OF THE AMERICAS           800 BOYLSTON ST                        DBA ABSOLUTE REPAIR AND MAINT
NEW YORK, NY 10036-8704               PRUDENTIAL TOWER                       P O BOX 531
                                      BOSTON, MA 02199-3600                  DEMING, NM 88031




RORIE, SUSAN E.                        ROSA BAUTISTA                         ROSA E GONZALEZ FAJARDO
ADDRESS ON FILE                        2800 BROADWAY ST                      677 MAPLE ST
                                       TRAILER 25                            JUNCTION CITY, OR 97448
                                       BLUE ISLAND, IL 60406-5126




ROSA MARTINEZ                          ROSALES, ESMERALDA                    ROSALES, LAURA
RE: PATIENT REFUND                     13441 GREENWOOD AVENUE                ADDRESS ON FILE
1109 SYCAMORE                          BLUE ISLAND, IL 60406
BIG SPRING, TX 79720




ROSALES, LORENA M.                     ROSALES, MARGARITA                    ROSALES, PAULA
26629 BLUE WATER RD 665 P.O. BOX 665   434 HAGIN CIRCLE                      ADDRESS ON FILE
HELENDALE, CA 92342                    ELLIJAY, GA 30536




ROSALIA AVILA                          ROSALIE A LONG                        ROSALIE GARRETT
2129 136TH ST                          45 PENNSYLVANIA AVE                   1317 NELSON AVE
BLUE ISLAND, IL 60406                  MILL HALL, PA 17751                   GALESBURG, IL 61401




ROSALIE GOODMAN                        ROSALIND FRANKLIN UNIVERSITY          ROSAMILIA, DANIEL
256 3RD AVE NW                         OF MEDICINE AND SCIENCE               ADDRESS ON FILE
BEACH CITY, OH 44608                   3333 GREEN BAY RD
                                       NORTH CHICAGO, IL 60064




ROSARIO CESAR A                        ROSARIO DEBORAH                       ROSARIO, ANTHONY A.
2415 CHESTNUT ST                       2839 BETHEL BLVD                      3604 DIXON
WAUKEGAN, IL 60087                     ZION, IL 60085                        BIG SPRING, TX 79720




ROSARIO, ANTHONY                       ROSCOE MYRMINGOS                      ROSE ANN LYNN
3604 DIXON ST                          1403 MOHER BLVD                       979 BATEMAN ST
BIG SPRING, TX 79720                   FRANKLIN, TN 37027                    GALESBURG, IL 61401




ROSE JR., JAMES C.                     ROSE JR., JAMES C.                    ROSE KINGSTON
411 LIVINGSTON ST.                     ADDRESS ON FILE                       ADDRESS ON FILE
CARLYLE, IL 62231




ROSE M KELLER                          ROSE MEDICAL SERVICES, INC            ROSE SCHUERMANN
1002 15TH ST SW                        3508 BRANDEN LEE DR                   ADDRESS ON FILE
MASSILLON, OH 44647                    MARRYVILLE, TN 37804
ROSE, ALICIA            Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      ROSE, ANDREW                  Page 1527  of 1969
                                                                         ROSE, ANN LYNN
3189 RIVER RD                         3736 STRATTON                      979 BATEMAN ST
MINERAL BLUFF, GA 30559               LOGANDALE, NV 89021                GALESBURG, IL 61401




ROSE, AREMEDIA                      ROSE, DAVID B.                       ROSE, DIANA SUE
P.O. BOX 112                        ADDRESS ON FILE                      340 E VINE ST NUM 14
ELAINE, AR 72333                                                         MURRAY, UT 84107




ROSE, JOEL                          ROSE, MAGGY A.                       ROSE, SARAH J.
ADDRESS ON FILE                     1595 LAWRENCE ST                     ADDRESS ON FILE
                                    EUGENE, OR 97401-0000




ROSE, SEIGFRIED                     ROSE, SHARI L.                       ROSE, STACY E.
3415 ROANOKE ST NW                  ADDRESS ON FILE                      430 6TH AVENUE
MASSILLON, OH 44646                                                      SANTA CRUZ, CA 95062




ROSE, TIMOTHY                       ROSEANN DEVAULT                      ROSEANNE SAIZ
P.O. BOX 254                        ADDRESS ON FILE                      804 PECOS STREET
CAMPTON, KY 41301-0000                                                   LAS VEGAS, NM 87701




ROSEBERRY DANNY LEE SR              ROSEBERRY, TERESA                    ROSEBERRY, TERESA
85169 TERRITORIAL HWY               440 PHILLIPS RD 253 LOOP             ADDRESS ON FILE
P.O. BOX 25522                      LEXA, AR 72355
EUGENE, OR 97402




ROSEBERRY, TERESA                   ROSECRANTS, STEVEN E.                ROSELLA D. JORDAN
ADDRESS ON FILE                     5850 W 124TH PLACE                   ADDRESS ON FILE
                                    ALSIP, IL 60803




ROSELLE HERNANDEZ                   ROSEMAN, HINDA S.                    ROSEMANN, CRAIG A.
ADDRESS ON FILE                     8143 S JEFFREY BLVD                  25111 W CLARIDAN
                                    CHICAGO, IL 60617                    ANTIOCH, IL 60002




ROSEMARY CHAPMAN                    ROSEMARY J PAGE                      ROSEMARY LONG
1030 WEST SHORE DR                  1158 HARMONY CHURCH RD NE            1500 MILITARY DR
GALESBURG, IL 61401                 MONROE, GA 30655-7617                STEPHENVILL, TX 76402




ROSEMARY PAGE                       ROSEMARY SUAREZ                      ROSEN, TOBY L.
115 2ND AVE SE                      305 SHAW AVE NE                      P.O. BOX 616
BEACH CITY, OH 44608                MASSILLON, OH 44646                  MEMPHIS, TN 38101
ROSENBAUM, EARL         Case 20-10766-BLS   Doc BARRY
                                      ROSENBLUM, 6 Filed
                                                      N. 04/07/20   Page 1528  of 1969 DAWN O.
                                                                         ROSE-NEIDKOWSKI,
2829 WHISPERING OAKS DR               ADDRESS ON FILE                    ADDRESS ON FILE
BUFFALO GROVE, IL 60084




ROSENTHAL, LANA                     ROSETTA NESTOR                       ROSHONG, JODI
102 KARRAKER ST                     3598 BLACHLEYVILLE RD                3845 WILLWOOD ST NW
JONESBORO, IL 62952                 WOOSTER, OH 44691-9766               MASSILLON, OH 44646




ROSIE CHRISTAL                      ROSING, DAVID                        ROSITAS INC.
3103 SEDGEBOROUGH DR                986 N VILLAGE DRIVE UNIT 4           540 W. MAIN ST.
BIG SPRING, TX 79721-0000           ROUND LAKE BEACH, IL 60073           BARSTOW, CA 92311




ROSKOS, KIMBERLY                    ROSS CONSTRUCTION, INC               ROSS E. HANLEY
742 MEADOW VIEW DR NW               504 W JACKSON                        P.O. BOX 389
CANAL FULTON, OH 44614              P.O. BOX 249                         JACKSON, MS 39205-0389
                                    MARION, IL 62959




ROSS EVELYN B                       ROSS F BASS JR                       ROSS FORD TOYOTA
581 BULLEN GAP RD                   306 COVINGTON COVE                   P O BOX 818
BLUE RIDGE, GA 30513                MADISON, MS 39110                    WYNNE, AR 72396




ROSS JOHNNY B                       ROSS JULIE                           ROSS PLUMBING
P.O. BOX 583                        119 N 7TH ST                         159 LEE ROAD 743
MINERAL BLUFF, GA 30559             MARION, IL 62959                     MARIANNA, AR 72360-9107




ROSS ROBIN G                        ROSS, ALICIA                         ROSS, ANGELIA
924 N MAIN ST                       2481 GLEN EAGLES DR.                 ADDRESS ON FILE
ABINGDON, IL 61410                  OLYMPIA FIELDS, IL 60461




ROSS, BARBARA A.                    ROSS, BARBARA                        ROSS, CHARLES
3244 RAYANNA ST NW                  520 KELTON RD                        225 N 10TH ST
MASSILLON, OH 44646                 MONROE, GA 30656                     MONMOUTH, IL 61462




ROSS, GARRY K.                      ROSS, GINA                           ROSS, JACE
ADDRESS ON FILE                     41 TEAKWOOD DRIVE                    2212 W 118TH ST
                                    LEXINGTON, TN 38351                  CHICAGO, IL 60643




ROSS, JASON                         ROSS, JEFFREY A.                     ROSS, JERRY
2817 TWIN FALLS DR                  1970 BROADWAY                        2016 ALPINE CIRCLE
PLAINFIELD, IL 60586                STE 1045                             SILVER CITY, NM 88061
                                    OAKLAND, CA 94612-2251
ROSS, JOANNA M.        Case 20-10766-BLS    DocW.6
                                     ROSS, JOHN           Filed 04/07/20   Page 1529  of 1969
                                                                                ROSS, KAREN
ADDRESS ON FILE                       32 MASON STREET                           ADDRESS ON FILE
                                      CALUMET CITY, IL 60409




ROSS, LACY R.                         ROSS, LISA J.                             ROSS, MARY B.
260 W 6TH AVE UNIT 6                  ADDRESS ON FILE                           ADDRESS ON FILE
EUGENE, OR 97401




ROSS, MARY I.                         ROSS, PAUL                                ROSS, PHYLLIS A.
5095 GLENDALE RD                      ADDRESS ON FILE                           3563 RIDGE RD NW
HENDERSON, TN 38340                                                             STRASBURG, OH 44680




ROSS, REBECCA L.                      ROSS, RITA M.                             ROSS, ROBIN G.
375 THOMAS DR                         3049 LAKEVIEW DR                          924 N MAIN ST
FYFFE, AL 35971                       METROPOLIS, IL 62960                      ABINGDON, IL 61410




ROSS, RONALD D.                       ROSS, ROSEMARY D.                         ROSS, STEPHANIE
ADDRESS ON FILE                       3643 VINEYARD AVE NW                      519 MOCKINGBIRD
                                      CANTON, OH 44708                          APT B
                                                                                TROY, IL 62294




ROSS, VERICKA                         ROSSELLI, CHRISTINE                       ROSSER, JEREMY
ADDRESS ON FILE                       14613 AVERS AVE                           ADDRESS ON FILE
                                      MIDLOTHIAN, IL 60445




ROSSI, PENELOPE                       ROSSITER, HANK                            ROSSMAN, ELAINA N.
9915 S HOMAN                          3111 ALPINE DRIVE                         801 KNOX RD 1025E
EVERGREEN PARK, IL 60805              DALTON, OH 44618                          GILSON, IL 61436




ROSSMAN, JOHN F.                      ROSSON, ANNIE                             ROSS-REATH, BRITTNI
551 34TH AVE                          515 HIDDEN HILL LANE                      ADDRESS ON FILE
SANTA CRUZ, CA 95062                  JONESBORO, IL 62952




ROSSSTEWART, LINDSAY C.               ROSZELL, EVELYN                           ROTARY CLUB OF BARSTOW
2103 LITTLE ROUND TOP DR              422 BLUEBIRD LN                           P.O. BOX 684
EDWARDSVILLE, IL 62025                TROY, IL 62294                            BARSTOW, CA 92312




ROTARY CLUB OF BLUE RIDGE             ROTARY CLUB OF GRANITE CITY               ROTARY CLUB OF HEARTLAND
POB 2495                              ROTARY CLUB-MAYORS BREAKFAST              WILLIAMSON COUNTY
BLUE RIDGE, GA 30513                  P.O. BOX 8                                104 PMB, 1117 NORTH CARBON ST
                                      GRANITE CITY, IL 62040                    MARION, IL 62959
ROTARY CLUB OF MARION Case 20-10766-BLS
                                    ROTARYDoc
                                            CLUB6     Filed
                                                  OF MT.    04/07/20
                                                         VERNON        Page 1530 ofCLUB
                                                                            ROTARY  1969OF WILLIAMSTON
P O BOX 341                         P.O. BOX 2456                            P.O. BOX 9
MARION, IL 62959                    MT. VERNON, IL 62684                     WILLIAMSTON, NC 27892




ROTARY CLUB                           ROTARY CLUB                            ROTARY DISTRICT 6510 CHARITIES
P.O. BOX 68                           PO BOX 68                              1200 SAMANTHA DR
GALESBURG, IL 61401                   GALESBURG, IL 61401                    CARTERVILLE, IL 62918




ROTARY WEST CLUB OF MT. VERNON        ROTH, APRIL R.                         ROTH, DAVID J.
P.O.BOX 684                           21 COURTESY LN                         508 PATTON DR
MT VERNON, IL 62864                   ALTON, IL 62002                        TROY, IL 62294




ROTH, KARA K.                         ROTH, NANCY                            ROTHBARTH, HEATHER M.
ADDRESS ON FILE                       2778 135TH ST                          53 ENOTA VILLAGE DRIVE APT 213
                                      ALEXIS, IL 61412                       YOUNG HARRIS, GA 30582




ROTHERMEL, VERNON                     ROTHSCHILD, KAY                        ROTICH, MARK
701 WOODS AVE                         1130 CAMPGROUND ROAD                   ADDRESS ON FILE
LOCK HAVEN, PA 17745-3228             ANNA, IL 62906




ROTO-ROOTER                           ROUNDCOUNT, DANIELLE                   ROUNDS RICHARD S
P.O. BOX 42237                        7 HUNTINGTON PLACE DR                  ADDRESS ON FILE
EUGENE, OR 97404                      GLEN CARBON, IL 62034




ROUNDS, SCOTT                         ROUNDY, CARLINA M.                     ROURK, DAVID
838 EAST 900 NORTH                    ADDRESS ON FILE                        12 STARRY NIGHT PATH
TOOELE, UT 84074                                                             MURPHY, NC 28906




ROUSE MORTUARY SERVICE/CREMATO        ROUSE, BRANDY L.                       ROUSE, CHRISTOPHER
2111 DICKINSON AVE ST N               1933 FRANKLIN CT                       3521 NORTHPINES DR
GREENVILLE, NC 27834                  GURNEE, IL 60031                       AUGUSTA, GA 30906




ROUSE, MATTHEW                        ROUSE, RICHARD A.                      ROUSE, STACIE N.
8773 OLD LEBANON TROY RD              466 JACKSON TRAIL RD                   ADDRESS ON FILE
TROY, IL 62294                        HONORAVILLE, AL 36042




ROUSEY, CARA                          ROUSH, CHERIE                          ROUSTIO, CARTER
804 S 34TH STREET                     182 WOODLAND DR                        12817 NORTH RIDGE
MT. VERNON, IL 62864-6208             GREENVILLE, AL 36037                   HIGHLAND, IL 62249
ROUTH, RANDY              Case 20-10766-BLS    Doc 6 L. Filed 04/07/20
                                        ROUTT, AMANDA                    Page 1531
                                                                              ROUTT,of 1969 S.
                                                                                    AR-NEISHA
ADDRESS ON FILE                           ADDRESS ON FILE                     23 KINNEY DR
                                                                              BELLEVILLE, IL 62221




ROUTT, AR-NEISHA                          ROUX ASSOCIATES INC                 ROVITO, KEVIN A.
112 ROSETTE DR                            209 SHAFTER STREET                  ADDRESS ON FILE
BELLEVILLE, IL 62220                      ISLANDIA, NY 11749




ROW, DUSTIN                               ROWAN, DIANE                        ROWAN, JENNIFER
611 COLUMBIA AVE                          11217 S WASHTENAW AVW               ADDRESS ON FILE
COLUMBIA, IL 62236                        CHICAGO, IL 60655




ROWAN, JENNIFER                           ROWAN, TARA D.                      ROWAN-FERRIS, BELLE
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE




ROWDEN, KRISTINA                          ROWE STACY G                        ROWE, AMANDA M.
382 KELKIM STREET                         495 W UTAH AVE APT 122              ADDRESS ON FILE
MESQUITE, NV 89027                        TOOELE, UT 84074




ROWE, HOLLY R.                            ROWE, TIMOTHY R.                    ROWE, WILLIAM T.
ADDRESS ON FILE                           ADDRESS ON FILE                     1022 E NAVAJO ST
                                                                              BARSTOW, CA 92311-0000




ROWELL JORDAN                             ROWELL, BRANDI                      ROWELL, BRAXTON
607 COUNTY ROAD 558                       5660 COUNTY ROAD 843                P.O. BOX 285
GROVEOAK, AL 35975-2451                   DAWSON, AL 35963                    SECTION, AL 35771




ROWELL, NISAMANEE                         ROWELL, TAMARA                      ROWLAND, CAROLYN
ADDRESS ON FILE                           138 SHORT STREET                    286 HENDERSON RD
                                          GERALDINE, AL 35974                 JACKSON, TN 38305




ROWLAND, CHERYL                           ROWLAND, DADA                       ROWLAND, KELSEA L.
525 SPRINGFIELD HILL                      4424 GROVE LAKE ST                  ADDRESS ON FILE
JONESBORO, IL 62952                       LOGANVILLE, GA 30052-8152




ROWLAND, STAYCE                           ROWLETTE, KAREN                     ROWLEY AMELIA
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE
ROWLEY BIOCHEMICAL      Case 20-10766-BLS  Doc
                                      ROWLEY,    6
                                              ANNA        Filed 04/07/20   Page 1532 of FAREL
                                                                                ROWLEY,  1969C.
DANVERS IND. PARK                      4900 SE 102ND PL                         559 PLATEAU RD
10 ELECTRONICS AVE                     LOT 108                                  MESQUITE, NV 89027
DANVERS, MA 01923                      BELLEVIEW, FL 34420-2937




ROWLEY, MILDRED H.                     ROWOLD, LISA M.                          ROWOLD, MELVIN
3451 WEST MURTLE LOOP                  220 N MAIN ST                            8384 E SPRINGVIEW RD
FLORENCE, OR 97439                     TRENTON, IL 62293                        BALDWIN, IL 62217




ROWSEY, SHEILA                         ROWTON, CAROLYN                          ROXANN M MIZNER
43 POPLAR ST                           230 SFC 715                              220 3RD AVE NE
LEXINGTON, TN 38351                    WIDENER, AR 72394                        BEACH CITY, OH 44608




ROY A PARKIN                           ROY F. COLLIER COMMUNITY CENTER          ROY HOPPER
873 BATEMAN ST                         1200 MAIN STREET                         1461 CORAL BERRY LN
GALESBURG, IL 61401                    INEZ, KY 41224                           DOWNERS GROVE, IL 60515




ROY JORDON                             ROY S WELCH                              ROY VONDRAN
500 PLEASANT HILL CENTER               2102 WILLIAMSON RD                       2604 HWY 1 S
CEDAR GROVE, TN 38321                  LUVERNE, AL 36049                        MARIANNA, AR 72360




ROY WALKER COMMUNICATIONS INC          ROY, AMY S.                              ROY, JOANN
441 CHURCH CAMP ROAD                   4205 PRIMROSE CT                         ADDRESS ON FILE
MAKANDA, IL 62958                      ZION, IL 60099




ROY, NORMAN L.                         ROY, RICHARD V.                          ROYAL ACADEMY OF SURGICAL
411 AVINGTON DRIVE                     ACCURATE INSTRMT REPAIR SERV             ASSISTING, INC
WATERLOO, IL 62298                     14 COOL MEADOWS DR                       8400 E PRENTICE AVE, STE 1500
                                       BALLWIN, MO 63011                        GREENWOOD VILLAGE, CO 80111




ROYAL BANK OF CANADA                   ROYAL CLEANERS                           ROYAL CLEANING
ROYAL BANK OF CANADA- NY BRANCH        461 WEST FIRST ST                        2335 E SECOND STREET
                                       BLUE RIDGE, GA 30513                     GALESBURG, IL 61401




ROYAL CROWN BOTTLING CORP              ROYAL CUP COFFEE                         ROYAL CUP DINE MOR
1100 INDEPENDENCE AVE                  P.O. BOX 841000                          P.O. BOX 170971
EVANSVILLE, IN 47714                   DALLAS, TX 75284-1000                    BIRMINGHAM, AL 35217




ROYAL CUP INC                          ROYAL NEIGHBORS OF AMERICA               ROYAL PAPERS INC
P.O. BOX 841000                        P.O. BOX 10850                           P.O. BOX 39922
DALLAS, TX 75284-1000                  MEDICARE SUPPLEMENT CLAIMS               2701 HEREFORD ST
                                       CLEARWATER, FL 33757-8850                ST. LOUIS, MO 63139-1021
ROYAL PUBLISHING         Case 20-10766-BLS   Doc 6 Filed 04/07/20
                                       ROYAL PUBLISHING                Page 1533
                                                                            ROYAL of 1969
                                                                                  RECOGNITION INC
7620 N. HARKER DR                      7620 NORTH HARKER DRIVE               P.O. BOX 659
PEORIA, IL 61615-1849                  PEORIA, IL 61615                      MUSKEGO, WI 53150




ROYAL RECOGNITION, INC                 ROYAL WHOLESALE                       ROYAL, RANDI L.
PO BOX 659                             615 OLD FAIRFIELD RD                  3775 HERMANAS RD SW
MUSKEGO, WI 53150                      MT VERNON, IL 62864                   DEMING, NM 88030




ROYBAL, JENNIFER                       ROYCE EDWARD, LINDSAY                 ROYCE ROLLS RINGER
1305 1ST STREET                        658 S 57TH ST SPC 27                  16 RIVERVIEW TERRACE NE
LAS VEGAS, NM 87701                    SPRINGFIELD, OR 97478-0000            GRAND RAPIDS, MI 49505




ROYE, AMANDA                           ROYER GROUP INC                       ROYER, CAROL E.
1812 COLONIAL DRIVE                    ROYERCOMM GRAPHIC EXPRESSIONS         1246 SOCIAL CIRCLE PKWY
MARION, IL 62959                       7120 AIRPORT HWY                      SOCIAL CIRCLE, GA 30025-4673
                                       PENNSAUKEN, NJ 08109




ROYER, COURTNEY J.                     ROYER, HANNAH                         ROY-FEQUIERE MAGALI
2409 HODGES AVE                        304 SHIRK ADDITION LANE               1737 N KELLOGG
GRANITE CITY, IL 62040                 LOCK HAVEN, PA 17745                  GALESBURG, IL 61401




ROY-FEQUIERE, MAGALI                   ROYSTER, JALA                         ROYSTER, VALERIE
1737 N KELLOGG                         ADDRESS ON FILE                       14206 KIMBARD AVE
GALESBURG, IL 61401                                                          DOLTON, IL 60419




ROZANN M SNYDER                        ROZANNA CANO                          ROZELL, JOSHUA
1384 N HENDEERSON ST                   1320 S ROSWELL ST                     3219 WESTCHESTER DR
APT 402                                DEMING, NM 88030                      GRANITE CITY, IL 62040
GALESBURG, IL 61401




ROZELLE, JAMES                         ROZMAN, CLAIRE                        ROZYCKE, JEAN
237 MEADOWOOD LANE                     ADDRESS ON FILE                       2214 DELMAR
BLUE RIDGE, GA 30513                                                         GRANITE CITY, IL 62040




ROZYCKI, KATHLEEN A.                   ROZYCKI, KATHLEEN A.                  ROZYCKI, KATHY
ADDRESS ON FILE                        12 FRONTENAC                          12 FRONTENAC
                                       GRANITE CITY, IL 62040                GRANITE CITY, IL 62040




ROZZO, REBEKA                          ROZZO, REBEKA                         RPH ON THE GO
ADDRESS ON FILE                        ADDRESS ON FILE                       8430 W BRYN MAWR AVENUE SUITE 1150
                                                                             CHICAGO, IL 60631
                       Case
RPI RADIOLOGICAL PHYSICS LLC 20-10766-BLS    Doc 6 Filed
                                      RPI RADIOLOGICAL       04/07/20
                                                       PHYSICS LLC      Page 1534  of 1969
                                                                             RPS IMAGING
2222 SEDWICK DR                       2222 SEDWICK RD                        1815 WASHINGTON STREET
DURHAM, NC 27713                      DURHAM, NC 27713                       MICHIGAN CITY, IN 46360




RR LANDSCAPE SUPPLY                   RSANALYSIS, INC.                       RTI SURGICAL INC
3900 W. 167TH STREET                  1035 SUNCAST LANE, SUITE 130           P.O. BOX 11404
MARKHAM, IL 60428                     EL DORADO HILLS, CA 95762              COLUMBIA, SC 29211-1404




RTI SURGICAL INC                      RTI SURGICAL INC                       RTI SURGICAL, INC
P.O. BOX 11404                        P.O. BOX 734031                        P.O. BOX 734031
COLUMBUS, SC 29211-1404               CHICAGO, IL 60673-4031                 CHICAGO, IL 60673-4031




RUARK, EMILY                          RUBALCAVA, QUICHE I.                   RUBEL, ROY
1567 PRICE MILL RD                    1654 DOLPHIN DRIVE                     1001 S. 34TH STREET
BISHOP, GA 30621                      APTOS, CA 95003                        MT VERNON, IL 62864




RUBENACKER, CARMIN                    RUBENSTEINS CONTRACT CARPET L          RUBICELIA SALGADO
ADDRESS ON FILE                       P.O. BOX 10637                         751 HIGGINS RD
                                      EUGENE, OR 97440                       BARSTOW, CA 92311




RUBICH, CHRISTINA L.                  RUBICH, CHRISTINA                      RUBIN, SHEAR-YASHUV
943 BERWICK                           943 N. BERWICK BLVD                    2876 PARK AVE D
WAUKEGAN, IL 60085                    WAUKEGAN, IL 60085                     SOQUEL, CA 95073




RUBINAS, EVELYN L.                    RUBINOS, JOY D.                        RUBIO, LISA
1600 WASHINGTON AVE                   ADDRESS ON FILE                        1709 OWENS ST
CAIRO, IL 62914                                                              BIG SPRING, TX 79720




RUBIO, MARIA S.                       RUBIO, MARY C.                         RUBISON KAREN S
1220 NATALIE LANE                     4638 W SPENCER LANE                    202 S WESTVIEW DR
WATSONVILLE, CA 95076                 ALSIP, IL 60803                        KNOXVILLE, IL 61448




RUBY COLEMAN                          RUBY ELECTRIC INC                      RUBY NICHOLS
1545 CRUM BYBASS ROAD                 341 S MEADOWBROOK RD                   974 SFC 221
CRUM, WV 25669                        SPRINGFIELD, IL 62711                  FORREST CITY, AR 72335




RUBY NORWOOD                          RUBY, CRYSTAL                          RUBY, KIRK
3706 CREST DR                         ADDRESS ON FILE                        523 BELEHR DR
HEPHZIBAH, GA 30815                                                          WEST MEMPHIS, AR 72301
RUBY, KIRK             Case 20-10766-BLS
                                     RUCKER,Doc    6 Filed 04/07/20
                                              ALBERT                  Page 1535 ofLOUISE
                                                                           RUCKER, 1969
523 BELEHR DR                        116 CLIFFIE ST                        711 AUBURN AVE
WEST MEMPHIS, TN 72301               FORREST CITY, AR 72335                WEST MEMPHIS, AR 72301




RUCKER, NANETTE                      RUCKER, TIA M.                        RUCKMAN, KYNA B.
9145 S RICHMOND                      609 GRAND AVE SW                      936 17TH ST NE
EVERGREEN PARK, IL 60805             FT PAYNE, AL 35967                    MASSILLON, OH 44646




RUDD, DONNA                          RUDD, JESSE                           RUDD, JESSE
405 N CENTER ST                      P.O. BOX 507                          P.O. BOX 507
COLLINSVILLE, IL 62234               SALYERSVILLE, KY 41465                SALYVERSVILLE, KY 41465




RUDD, THEODORA                       RUDD, THEODORA                        RUDDICK, PATRICK L.
8200 W. AMARILLO BLVD 412            P.O. BOX 2354                         282 RIVER TRACE DRIVE
AMARILLO, TX 79124                   BIG SPRING, TX 79721                  MARION, AR 72364




RUDDICK, PATRICK L.                  RUDINE, SHANNON F.                    RUDIS, ANTHONY
ADDRESS ON FILE                      P.O. BOX 1543                         220 ANNAPOLIS LANE
                                     ALPINE, TX 79831-1543                 VIENNA, IL 62995




RUDLOFF, MARIA                       RUDMAN, JASON, MD                     RUDOLPH, ALMA
1707 S LIME ST                       1901 BRICKELL AVE                     15 PORK CHOP DRIVE
DEMING, NM 88030                     B505                                  LAS VEGAS, NM 87701
                                     MIAMI, FL 33129




RUDOLPH, DAISY                       RUDOLPH, EARL H.                      RUECKERT, KENDRA D.
488 S CONECUH ST                     ADDRESS ON FILE                       6128 SCHOONER LANE
APT 5                                                                      STANSBURY PARK, UT 84074
GREENVILLE, AL 36037




RUEGG, CLAUDINE L.                   RUEGG, KIMBERLY S.                    RUEHL, RENAY
13955 ELTON SW                       10841 POORMAN ST. S.W.                ADDRESS ON FILE
NAVARRE, OH 44662                    NAVARRE, OH 44662




RUELAZ, CRUZ                         RUESCH, CHERYL R.                     RUESCHMAN, MARK
2 N. RIDGE CREST CIR.                ADDRESS ON FILE                       2577 BARNSTONE AVE SW
SILVER CITY, NM 88061                                                      CANTON, OH 44706




RUESGA, ALISHA                       RUESGA, ALISHA                        RUETER, DENNIS
ADDRESS ON FILE                      35236 WALNUT ST.                      630 LAKEFIELD DR
                                     BARSTOW, CA 92311                     COLUMBIA, IL 62236
RUETER, TYLER          Case 20-10766-BLS
                                     RUETER,Doc  6 Filed 04/07/20
                                             TYLER                  Page 1536 ofTYLER
                                                                         RUETER, 1969
249 COUNTRY CLUB RD APT 12           ADDRESS ON FILE                     ADDRESS ON FILE
CENTRALIA, IL 62801




RUFENER, MELINDA                    RUFF, ARIEL                          RUFF, DORRIS
2446 MANCHESTER AVE NW              210 CIRCLE DR                        408 W LATIMER ST
NORTH LAWRENCE, OH 44666            EDWARDSVILLE, IL 62025               ABINGDON, IL 61410




RUFF, TRACIE                        RUFFIN, LORETTA                      RUFFINO, ROBERTA
709 NICHOLSON RD                    ADDRESS ON FILE                      ADDRESS ON FILE
BLAIRSVILLE, GA 30512




RUFINO, FLORIBERTA                  RUGER MANDY E                        RUGER, BEVERLY
914 ADAMS ST                        217 OAK STREET                       312 BILL LOU DR
WAUKEGAN, IL 60085                  WATERLOO, IL 62298                   COLLINSVILLE, IL 62234




RUGER, CHET                         RUGGERI, DAVID                       RUGGLES KAREN S
2021 STRATFORD DRIVE                6754 DEER HILL RD                    1538 SUMMIT ST
SLC, UT 84109                       WATERLOO, IL 62298                   GALESBURG, IL 61401




RUGGLES, KAREN S.                   RUHL, JOY                            RUHOF CORP
1538 SUMMIT ST                      1862 KNOX RD 1350 E                  393 SAGAMORE AVE
GALESBURG, IL 61401                 KNOXVILLE, IL 61448                  MINEOLA, NY 11501




RUHOF CORP                          RUHOF CORP., THE                     RUIZ GUADALUPE
393 SAGAMORE AVE                    393 SAGAMORE AVE                     972 CLEMSON AVE
MINEOLA, NY 11501-1977              MINEOLA, NY 11501-1919               FAIRVIEW HTS, IL 62208




RUIZ MARIA                          RUIZ, ALONDRA G.                     RUIZ, ANTHONY
ADDRESS ON FILE                     ADDRESS ON FILE                      212 HAYDEN AVE
                                                                         EVANSTON, WY 82930




RUIZ, BLONDINA M.                   RUIZ, CANDY Y.                       RUIZ, DOROTEA
3105 N LEWIS                        1395 SAN MIGUEL CANYON RD A          12520 W PADDOCK AVE
WAUKEGAN, IL 60087                  ROYAL OAKS, CA 95076                 BEACH PARK, IL 60087




RUIZ, GABRIELA                      RUIZ, GUADALUPE                      RUIZ, JACQUELINE
ADDRESS ON FILE                     131 WISCONSIN AVE                    2314 WALNUT ST
                                    WAUKEGAN, IL 60085                   WAUKEGAN, IL 60087
RUIZ, JAVIER F.            Case 20-10766-BLS     Doc 6
                                         RUIZ, LAURA        Filed 04/07/20   Page 1537   of 1969
                                                                                  RUIZ, LAUREN
ADDRESS ON FILE                           ADDRESS ON FILE                         1618 E 17TH
                                                                                  BIG SPRING, TX 79720




RUIZ, LISA J.                             RUIZ, MARY C.                           RUIZ, MIRELLA
ADDRESS ON FILE                           2202 W 121ST PLACE                      14 VISTA ST
                                          BLUE ISLAND, IL 60406                   WATSONVILLE, CA 95076




RUIZ, NICK                                RUIZ, RUBY V.                           RUIZ, SANDY
713 ARNOLD STREET                         13730 SUMMER WIND ST.                   1908 SHELLY DR
LORDSBURG, NM 88045                       VICTORVILLE, CA 92394                   DEMING, NM 88030




RUIZ, SARA                                RUIZ, SHAUN M                           RUIZ-CHAVEZ, DOLORES
ADDRESS ON FILE                           342 N PATROIT DR                        510 RAYNOLDS AVENUE
                                          HAINESVILLE, IL 60030                   LAS VEGAS, NM 87701




RUIZ-GUZMAN, ALONDRA                      RULAND, HOWARD D.                       RULE HEIDI J
109 KLASSEN LANE                          299 BLAZER AVE                          978 OLD DIAL RD
WATSONVILLE, CA 95076                     EUGENE, OR 97404                        MORGANTON, GA 30560




RUMEX INTERNATIONAL CORP                  RUMMELL, REBECCA S.                     RUMPKE WASTE REMOVAL & RECYCLING
13770 58TH ST N 303                       1144 MOBILE RD NE                       4598, 10795 HUGHES RD
CLEARWATER, FL 33760-0000                 CARROLLTON, OH 44615                    CINCINNATI, OH 45251




RUMPKE                                    RUMSEY, CAMERON                         RUMSEY, GERRIE
P.O. BOX 538710                           1305 CYPRESS STREET                     P.O. BOX 2083
CINCINNATI, OH 45253-8710                 HARRISBURG, IL 62946                    TUNICA, MS 38676




RUN TO SUCCEED, LLC                       RUNBERG, DONALD E.                      RUNDQUIST, STACEY
DBA RTS SPORTS                            2951 COBURG RD APT 352                  625 RODEO ST
702 N CARBON ST, SUITE A                  EUGENE, OR 97408                        LOUISVILLE, OH 44641
MARION, IL 62959-0000




RUNIONS, ASHLEY N.                        RUNYEN, AMANDA                          RUNYON, SANDRA L.
ADDRESS ON FILE                           1824 MAPLEWOOD DRIVE                    ADDRESS ON FILE
                                          LINDENHURST, IL 60046




RUNYON, TRISTA P.                         RUOF, KIMBERLY                          RUONA, SHARON
ADDRESS ON FILE                           10470 MANCHESTER AVE S.W.               1409 MACARTHUR DR
                                          BEACH CITY, OH 44608                    WAUKEGAN, IL 60087
RUPEIKA, JERRY          Case 20-10766-BLS
                                      RUPERT,Doc  6 FiledL. 04/07/20
                                              CHRISTOPHER                 Page 1538 ofJAMIE
                                                                               RUPERT, 1969JOYCE
4634 W SPENCER LN                       7 BEVERLY DR                           1118 BECKMAN ST SE
ALSIP, IL 60803                         BEECH CREEK, PA 16822                  MASSILLON, OH 44646




RUPERT, LYNN M.                         RUPP, DEVEN                            RUPPRECHT, NORMA
8070 PARKFORD N.W.                      176 SEMINOLE DR                        3554 SOUTH STATE RT 157
MASSILLON, OH 44646                     EVANSTON, WY 82930                     GLEN CARBON, IL 62034




RURAL BENEFIT CARRIER                   RURAL CARRIER BENEFIT PLAN             RURAL CARRIER BENEFIT
P.O. BOX 7711                           P O BOX 7404                           P.O. BOX 7404
LONDON, KY 40742                        LONDON, KY 40742                       LONDON, KY 40742




RURAL CARRIER BENEFIT                   RURAL HEALTH INC                       RURAL KING
PO BOX 7404                             513 NORTH MAIN                         1301 ENTERPRISE WAY
LONDON, KY 40742                        ANNA, IL 62906                         MARION, IL 62959




RURAL RADIOLOGY ASSOC., PLLC            RURAL REHAB, INC.                      RURAL SURGICAL ASSOCIATES OF LAS
ATTN: CONNIE WAGNER                     KIM STURGILL                           VEGAS
12687 W CEDAR DR SUITE 200              60 MADDEN DRIVE                        12687 W CEDAR DRIVE
LAKEWOOD, CO 80228                      GRAYSON, KY 41143                      SUITE 200
                                                                               LAKEWOOD, CO 80228



RURAL SURGICAL ASSOCIATES               RUSH UNIVERSITY MED CTR PRS            RUSH UNVERSITY MEDICAL CENTER
3080 JOE BATTLE BOULEVARD               GEN ACTG ATTN: EXTERNAL BILLING        GENERAL ACCOUNTING:EXT BILLING
SUITE A                                 1700 W VAN BUREN SUITE 278             1700 W VAN BUREN, TOB 278
EL PASO, TX 79938                       CHICAGO, IL 60612                      CHICAGO, IL 60612-3833




RUSH, ANNMARIE                          RUSH, MATTHEW W.                       RUSH-HOPKINS, GAILE V.
28 WESTERN AVENUE                       1565 BROOKFIELD HWY                    4921 FAIROAKS DRIVE
EAST MILLINOCKET, ME 04430              CHARLOTTE, MI 48813                    COUNTRY CLB HILLS, IL 60478




RUSHING, BRANDY L.                      RUSHING, CECILIA B                     RUSHING, CECILIA B.
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




RUSHING, CECILIA                        RUSHING, CRYSTAL D.                    RUSHING, DAVID
ADDRESS ON FILE                         ADDRESS ON FILE                        9605
                                                                               CHERRY WOOD AVE
                                                                               MCKENZIE, TN 38201




RUSHING, EDWIN                          RUSHING, HONEY R.                      RUSHING, JASON
P.O. BOX 23                             2204 S MONTICELLO                      364 GANDER VALLEY LA
DONGOLA, IL 62926                       BIG SPRING, TX 79720                   LEXINGTON, TN 38351
RUSHING, LAURA E.         Case 20-10766-BLS   Doc
                                        RUSHING,    6 Filed
                                                 ROBERT J.  04/07/20   Page 1539 of 1969
                                                                            RUSHTON, MARGARET L.
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




RUSHTON, SHIRLEY A.                      RUSKTASCHEL, DAVID                  RUSS BRAUNECKER INC
106 BIG BRANCH CT                        11982 SHOSHONE AVE NW               2309 S BANKER ST
NORTH AUGUSTA, SC 29860                  UNIONTOWN, OH 44685-9179            EFFINGHAM, IL 62401




RUSSEL, BERTHA                           RUSSELECTRIC                        RUSSELL CADWELL
14422 S INDIANA AVE 330                  SOUTH SHORE PARK                    1892 MCMASTERS
RIVERDALE, IL 60827                      C/O WELDY LAMONT ASSOCIATES         GALESBURG, IL 61401
                                         HINGHAM, MA 02043-4387




RUSSELL HIM CONSULTING SERVICES          RUSSELL J BATTAGLIA                 RUSSELL KIMBALL
P.O. BOX 234                             622 CLAREMONT AVE                   OR DOROTHY KIMBALL
ELLERSLIE, GA 31807                      MESQUITE, NV 89027-0000             2235 RIO GRANDE CR SE
                                                                             MASSILLON, OH 44646




RUSSELL M HOPE                           RUSSELL MELODY                      RUSSELL MOONEY
P.O. BOX 680802                          14819 CHAMPLAIN AVE                 1220 MT MCKINLEY DR
FORT PAYNE, AL 35968                     APT 2B                              GRAYSON, GA 30017
                                         DOLTON, IL 60419




RUSSELL NOLES                            RUSSELL TINA L                      RUSSELL W SPADE
600 TAYLOR CEMETRY RD.                   704 ADA STREET                      246 ATTIG RD
BUENA VISTA, TN 38318                    BLUE RIDGE, GA 30513                SELINSGROVE, PA 17870-7506




RUSSELL, CHAD A                          RUSSELL, CHELBI M                   RUSSELL, CHELBI
2550 HWY 79 W                            ADDRESS ON FILE                     ADDRESS ON FILE
MARIANNA, AR 72360




RUSSELL, CYNTHIA L.                      RUSSELL, DARYLE                     RUSSELL, GUS
ADDRESS ON FILE                          1313 SOUTH HILLVIEW ST              1214 HUGHES ST
                                         LOCK HAVEN, PA 17745                EUGENE, OR 97402




RUSSELL, HEATHER                         RUSSELL, HEATHER                    RUSSELL, JEFFEREY
1710 VERMONT AVE. SE                     939 INVERNESS AVE                   1885 GREENWAY RD
MASSILLON, OH 44646                      NASHVILLE, TN 37204                 HURON, TN 38345




RUSSELL, JOANNE                          RUSSELL, JUSTIN                     RUSSELL, KAREN L.
918 PAIGE CT                             ADDRESS ON FILE                     ADDRESS ON FILE
SOCIAL CIRCLE, GA 30025
RUSSELL, KATIE           Case 20-10766-BLS   Doc
                                       RUSSELL,    6 Filed 04/07/20
                                                KRISTI                Page 1540 of LISA
                                                                           RUSSELL, 1969
608 BELLE AVE                          ADDRESS ON FILE                     12770 E IL HIGHWAY 148
PINCKNEYVILLE, IL 62274-1502                                               MT VERNON, IL 62864




RUSSELL, LOUIS D.                    RUSSELL, MICHELLE                     RUSSELL, MISTY J.
P.O. BOX 134                         ADDRESS ON FILE                       ADDRESS ON FILE
912 N WASHINGTON APT 16
DU QUOIN, IL 62832




RUSSELL, NAJLA A.                    RUSSELL, NANCY R.                     RUSSELL, OCTAVIA E.
325 RIVER LAUREL DRIVE               ADDRESS ON FILE                       ADDRESS ON FILE
BELLEVILLE, IL 62220




RUSSELL, PAMELA J.                   RUSSELL, PAMELA                       RUSSELL, PAUL H.
28922 SPADRA ST                      504 WEST WHITE ST APT R               601 WINDWOOD DR
BARSTOW, CA 92311                    MILLSTADT, IL 62260                   GREENVILLE, AL 36037




RUSSELL, PENELOPE M.                 RUSSELL, STEPHANIE A.                 RUSSELL, TAYLOR M.
1447 HARRIS RD                       8624 KENDALL LANE                     1821 HERMON AVE
ELLERSLIE, GA 31807                  ORLAND PARK, IL 60462                 ZION, IL 60099




RUSSELL, TRENA                       RUSSELL, WILLIAM B.                   RUSSI, SCOTT
ADDRESS ON FILE                      148 N E 58TH AVE.                     85182 BLUE HERON WAY
                                     PORTLAND, OR 97213                    EUGENE, OR 97405




RUSSO, MARY                          RUSSO, VALERIE                        RUSSO, VALERIE
939 VIA VERDE                        ADDRESS ON FILE                       ADDRESS ON FILE
DEL REY OAKS, CA 93940




RUSTAD, AUBRE A.                     RUSTIN, MARGARET                      RUSTYS HOME CENTER
2235 CLEAR VUE LN                    425 REID AVE                          418 EAST DAVIE
SPRINGFIELD, OR 97477                TROY, IL 62294                        ANNA, IL 62906




RUSZKOWSKI JOHN E JR                 RUSZKOWSKI JOHN E. JR.                RUTH ANN GRAHAM
369 SERENITY CV                      369 SERENITY CV                       468 COLUMBUS AVE
BLAIRSVILLE, GA 30512                BLAIRSVILLE, GA 30512                 GALESBURG, IL 61401




RUTH BILLS                           RUTH C BILLS                          RUTH E SMITH
11885 STRAUSSER NW                   11885 STRAUSSER ST NW                 720 E GUARDLOCK DR
CANAL FULTON, OH 44614               CANAL FULTON, OH 44614-9487           LOCK HAVEN, PA 17745
RUTH I SMITH           Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                     RUTH KAEMPER                  Page 1541  of 1969
                                                                        RUTH KLINGELSMITH
14 W MILL ST                         3054 FLORAVILLE ROAD                6251 KEMARY AVE SW
SELINSGROVE, PA 17870-1654           SMITHTON, IL 62285                  NAVARRE, OH 44662-9017




RUTH, KENT                          RUTHENBERG, CONSTANCE S.             RUTHERFORD, BARBARA
63 21ST ST NW                       12616 HIGHLAND AVE                   530 SLINGERLAND DR
MASSILLON, OH 44647                 BLUE ISLAND, IL 60406                SCHAUMBERG, IL 60193




RUTHERFORD, KELLI                   RUTHERFORD, RODNEY                   RUTKOWSKI, ALEXANDRA
45 BRIAR PATCH DR                   P.O. BOX 914                         13 COUNTY ROAD 748
COVINGTON, GA 30014                 LITTLEFIELD, AZ 86432                WYNNE, AR 72396




RUTLAND, CHERYL                     RUTLEDGE ADVERTISING                 RUTLEDGE ALAN
94 HADDOCK DR                       P.O. BOX 625                         2601 COUNTY RD 180
BLUE RIDGE, GA 30513                MCKENZIE, TN 38201                   RAINSVILLE, AL 35986-3619




RUTLEDGE, GROSS W.                  RUTLEDGE, JONEE                      RUTLEDGE, JUDITH
1500 VILLAGE DR APT 231             1222 ROSENWALD                       811 SWEDENBURG RD
COTTAGE GROVE, OR 97424             LAS VEGAS, NM 87701                  KNOXVILLE, IL 61448




RUTLEDGE, WILLIAM PAUL              RUTT, JASON L.                       RUTTY, ROBERT R.
ADDRESS ON FILE                     156 PAULS LN                         2622 N AUGUSTA DR
                                    LOCK HAVEN, PA 17745                 WADSWORTH, IL 60083




RUTZ, TRACY                         RUVALCABA, LIZETH                    RUYBAL, JUSTINE
5904 CROWE FARN ROAD                14838 BALMORAL DR                    137 WEST 600 NORTH
WATERLOO, IL 62298                  VICTORVILLE, CA 92394                208
                                                                         TOOELE, UT 84074




RUZIC STEPHANIE E                   RYAN FOY                             RYAN FREEMAN
1725 RHODES ST                      ADDRESS ON FILE                      ADDRESS ON FILE
MADISON, IL 62060




RYAN HAYS                           RYAN JOHNSON                         RYAN SULLIVAN
585 HWY 3193                        ADDRESS ON FILE                      104 OAK CT
JACKSON, KY 41339                                                        VALMEYER, IL 62295




RYAN, AMANDA                        RYAN, ASHLEIGH                       RYAN, DONNA
121 ILLINI LANE                     906 320TH STREET                     8549 HWY 242 WEST
WOOD RIVER, IL 62095                NEW WINDSOR, IL 61465                LEXA, AR 72355
RYAN, ELIZABETH A.        Case 20-10766-BLS    Doc A.6
                                        RYAN, KAYLA          Filed 04/07/20   Page 1542  of 1969
                                                                                   RYAN, NATALIE
ADDRESS ON FILE                           ADDRESS ON FILE                          ADDRESS ON FILE




RYAN, NATALIE                             RYAN, NITA                               RYAN, TIMOTHY J.
ADDRESS ON FILE                           P O BOX 292371                           6339 SHADOW RIDGE COURT
                                          PHELAN, CA 92371                         BRENTWOOD, TN 37027




RYAN, VALERIA                             RYANCRUDUP TRACEY Y                      RYAN-LAWSON, TINA A.
109 WEST MAIN STREET                      82 ODYSSEY DRIVE                         ADDRESS ON FILE
LOUISA, KY 41230                          TINLEY PARK, IL 60477




RYAN-LONG, ELIZABETH M.                   RYBAK, JOSEPH                            RYBAR GROUP INC, THE
ADDRESS ON FILE                           1714 HAZELWOOD DR                        3150 OWEN RD
                                          LINDENHURST, IL 60046                    FENTON, MI 48430




RYBERG, SANDRA J.                         RYBOLT, LEAH L.                          RYCE JR., DENNIS J.
ADDRESS ON FILE                           ADDRESS ON FILE                          10615 S CALUMET AVE
                                                                                   CHICAGO, IL 60628




RYCOR MEDICAL                             RYDALCH-PERKINS, RANDEE                  RYDER, DANIEL J.
2053 ATWATER DR                           P.O. BOX 143                             2015 PINE STREET
NORTH PORT, FL 34288                      STOCKTON, UT 84071                       MURPHYSBORO, IL 62966




RYDER, HOLLY A.                           RYDER, VANESSA H.                        RYERSON, NORMAN E.
2015 PINE STREET                          ADDRESS ON FILE                          4623 FOX HOLLOW RD
MURPHYSBORO, IL 62966                                                              EUGENE, OR 97405




RYLANDER, JUDITH                          RYLANDS, BAILEY S.                       RYLEE, MILDRED L.
127 N JOY ST                              ADDRESS ON FILE                          1162 COOPER RD
P.O. BOX 115                                                                       SNELLVILLE, GA 30039
ONEIDA, IL 61467




RYMER, JOYCE                              RYNEARSON, SUESS, SCHNURBUSCH            RYNER, JEFF
2178 JOE HORTON RD                        & CHAMPION                               2986 100TH ST
HURON, TN 38345                           500 N. BROADWAY, STE 1550                ALEXIS, IL 61412
                                          ST. LOUIS, MO 63102




RYSNKI, LISA                              RZANSA, MARYANN E.                       S & B JOINT VENTURE
24684 SUGAR CREEK RD                      131 DESERT WINDS WAY                     RE:PATIENT REFUND
ASHELY, IL 62808                          MESQUITE, NV 89027                       2003 DRIVER RD
                                                                                   BIG SPRING, TX 79720
S & K REPAIR LLC         Case 20-10766-BLS    Doc 6 Filed
                                       S & O MECHANICAL INC 04/07/20   Page 1543   of 1969 INC
                                                                            S & S WORLDWIDE,
5075 ROBY ROAD                          11444 STIRITZ ROAD                  ACCOUNTS RECEIVABLE
ENVILLE, TN 38332                       WEST FRANKFORT, IL 62896            P.O. BOX 210
                                                                            HARTFORD, CT 06141-0210




S E MECHANICAL LLC                      S I BUILDER SUPPLY LLC              S J PITTS (SMITH)
P.O. BOX 397                            104 W CHESTNUT ST                   407 BAY COVE
MESQUITE, NV 89024                      ANNA, IL 62906                      RIDGELAND, MS 39157




S&D PLAZA                               S&S WORLDWIDE                       S. FLORIDA UTILIZATION REVIEW
P.O. BOX 688                            P.O. BOX 516                        2002 MACY DRIVE
KEMMERER, WY 83101                      COLCHESTER, CT 06415                ROSWELL, GA 30076-6346




S.A. HALL, MD, PA                       S.C. YOUNG LLC                      S.FLORIDA UTILIZATION REVIEW
812B NEWMAN DRIVE                       P.O. BOX 1848                       2002 MACY DRIVE
HELENA, AR 72342                        PAINTSVILLE, KY 41240               ROSWELL, GA 30076




SAAR, AMY                               SAATHOFF, TREVOR                    SAATHOFF, TREVOR
410 OAK ST                              17 FOREST HILL LANE                 4206 TIGER LILY LANE
JERSEY SHORE, PA 17740                  EDWARDSVILLE, IL 62025              GURNEE, IL 60031




SAATKAMP, KENZI                         SAAVEDRA, ELPIDIA                   SAAVEDRA, GENESIS M.
ADDRESS ON FILE                         ADDRESS ON FILE                     535 MONTE VISTA RD
                                                                            DEMING, NM 88030




SAAVEDRA, GENESIS M.                    SAAVEDRA, SANDRA A.                 SAAVEDRA, SHARALEE
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




SABAJ, VICTORIA                         SABALESKI, JENNIFER                 SABANDAL, SYVEL S.
ADDRESS ON FILE                         2300 BALDWIN RD.                    39694 N WARREN LANE
                                        NEW ATHENS, IL 62264                BEACH PARK, IL 60083




SABETGHADAM, PAYMAN                     SABETGHADAM, PAYMAN                 SABIN, NICOLE J.
                                        2122 HOLLY TERRACE APT 8            617 EAST HIGH AVENUE
                                        DALTON, GA 30720                    NEW PHILADELPHIA, OH 44663




SABO, SHARON L.                         SABOURIN, SPENCER C.                SABRA ROBB
ADDRESS ON FILE                         ADDRESS ON FILE                     1078 STEP RD
                                                                            GILSON, IL 61436
SABRINA MCKINNEY      Case 20-10766-BLS
                                    SACCO, Doc
                                           LEAH 6    Filed 04/07/20   Page 1544 of 1969
                                                                           SACHTLEBEN, CATHY
P.O. BOX 173                        7171 BENTLEY CT NW                     ADDRESS ON FILE
STANDING CHAPTER 13 TRUSTEE         MASSILLON, OH 44646
MONTGOMERY, AL 36101-0173




SACHTLEBEN, CATHY                    SACHTLEBEN, TODD R.                   SACKETT MICHAEL V
8 LINDEN CT                          8 LINDEN COURT                        2619 NORTH ST
COLLINSVILLE, IL 62234               COLLINSVILLE, IL 62234                GRANITE CITY, IL 62040




SACKETT NICOLASA                     SACKETT, AMANDA R.                    SACKETT, NICOLASA
ADDRESS ON FILE                      5417 PIN OAK ST                       ADDRESS ON FILE
                                     SHERWOOD, AR 72120




SACKMAN, SHAWN                       SACKVILLE, CHAIRTY K.                 SACKVILLE, MARK A.
5751 BOSLER ST                       ADDRESS ON FILE                       ADDRESS ON FILE
LOUISVILLE, OH 44641




SADDLER DANNY                        SADDLER, TINA R.                      SADDLER, TINA
648 CAREN DR                         145 JAMESTOWN RD                      1632 W LATHAM LANE
BUFFALO GROVE, IL 60089              MACOMB, IL 61455                      PEORIA, IL 61614




SADIM MAURA                          SADIM, MAURA                          SADLER, DONNA K.
102 METROPOLITAN AVE                 102 METROPOLITAN AVE                  121 ASHLAR ST
WAUKEGAN, IL 60085                   WAUKEGAN, IL 60085                    JONESBORO, IL 62952




SADLER,MIKA                          SAENZ ISRAEL                          SAENZ, BRENDA
350 MAYS LN                          2315 GILBOA AVE                       ADDRESS ON FILE
DONGOLA, IL 62926                    ZION, IL 60099




SAENZ, HOPE                          SAENZ, KIERSTEN                       SAFE & SAVORY SOLUTIONS
P.O. BOX 331                         1292 RIDGEWOOD CT                     624 BROOK STONE COURT
STANTON, TX 79782-0000               COLLINSVILLE, IL 62234                FREEBURG, IL 62243




SAFE AUTO INSURANCE CO               SAFE KIDS UINTA COUNTY                SAFE TRAVEL TRANSPORTATION
P.O. BOX 1183196                     350 CITY VIEW DR STE 101              2413 MARTIN LUTHER KING JR DR
COLUMBUS, OH 43218                   EVANSTON, WY 82930                    NORTH CHICAGO, IL 60064




SAFECO INSURANCE                     SAFECO                                SAFEGUARD BUSINESS SYSTEMS
210 LANDMARK DR                      ATTN REFUNDS                          MATHEW MOCK
ATTN WILBER & ASSOCIATES             P.O. BOX 515097                       P.O. BOX 41725
NORMAL, IL 61761                     LOS ANGELES, CA 90051-5097            CENTERVILLE, OH 45441
                       Case 20-10766-BLS
SAFEGUARD BUSINESS SYSTEMS                  DocBUSINESS
                                     SAFEGUARD    6 Filed    04/07/20
                                                           SYSTEMS      Page 1545
                                                                             SAFETYof 1969
                                                                                    & PROTECTION MANAGEMENT INC
P. O. BOX 88043                      P.O. BOX 88043                           5101 WASHINGTON ST
CHICAGO, IL 60680-1043               CHICAGO, IL 60680-1043                   SUITE 2A
                                                                              GURNEE, IL 60031




SAFETY CARE TRANSPORTATION INC.       SAFETY KLEEN CORP                       SAFETY NATIONAL CASUALTY CORP.
10180 I AVE. SUITE C                  P.O. BOX 382066                         15509 COLLECTIONS CENTER DR
HESPERIA, CA 92345                    PITTSBURGH, PA 15250-8066               CHICAGO, IL 60693




SAFETY NATIONAL CASUALTY CORP.        SAFETY-KLEEN                            SAFEWAY TAXI
1832 SCHUETZ RD                       P O BOX 650509                          2628 VELMA LANE
ST. LOUIS, MO 63146                   DALLAS, TX 75265-0509                   FLATWOODS, KY 41139




SAFFELS, JOEL A.                      SAFFORD, GENEL                          SAFFORD-PAPPAS, CATHERINE M.
635 COUNTY ROAD 121                   2148 HILLSINGER RD                      ADDRESS ON FILE
FORT PAYNE, AL 35968                  AUGUSTA, GA 30904




SAFREED, BONNIE                       SAGE PRODUCTS INC.                      SAGE PRODUCTS, LLC
11888 LINCOLN WAY NW                  2785 PAYSPHERE CIRCLEEET                3909 THREE OAKS RD
MASSILLON, OH 44647                   CHICAGO, IL 60674                       CARY, IL 60013




SAGE RESOLUTIONS                      SAGE SERVICES GROUP, LLC                SAGE, STEPHEN J.
P.O. BOX 27845                        506 DEANNA LANE                         3347 W 95TH STREET
ALBUQUERQUE, NM 87125-7845            CHARLESTON, SC 29492                    APT 2A
                                                                              EVERGREEN PARK, IL 60805




SAGE, WAYNE                           SAGEL, SABRINA M.                       SAGENT PHARMACEUTICALS INC
P.O. BOX 82                           ADDRESS ON FILE                         LOCKBOX 28549
CAMERON, IL 61423                                                             28549 NETWORK PLACE
                                                                              CHICAGO, IL 60673-1285




SAGER, JANE L.                        SAGER, SHANE                            SAGERS, DOUG
ADDRESS ON FILE                       1108 CONTINENTAL ST.                    243 HOME TOWN COURT
                                      ROCK SPRINGS, WY 82901                  TOOELE, UT 84074-0000




SAGERS, MICALL P.                     SAGERS, NATHAN                          SAGERS, TAMMY J.
ADDRESS ON FILE                       516 CEMETARY ROAD                       1033 N MAIN
                                      RUSH VALLEY, UT 84069                   RUSH VALLEY, UT 84069




SAGUINSIN, PRIMA R.                   SAHA, SIBU P                            SAHABI, JAMILA Y.
ADDRESS ON FILE                       ADDRESS ON FILE                         226 W PRAIRIE LANE
                                                                              ROUND LAKE, IL 60073
SAHAGUN, MIGUEL A.        Case 20-10766-BLS     Doc 6 O.Filed 04/07/20
                                        SAHID, JEANEEN                       Page 1546  of 1969
                                                                                  SAHR, BRADLEY
20043 ARBOR LANE                          24 W 108TH ST                           6823 DEER CREEK
MOKENA, IL 60448                          CHICAGO, IL 60628                       EDWARDSVILLE, IL 62025




SAIA, RICHARD J.                          SAIF                                    SAIGE MILROY
ADDRESS ON FILE                           400 HIGH ST SE                          2090 CORNELIA ROAD
                                          SALEM, OR 97312-1000                    GALESBURG, IL 61401




SAINDON, GINA M.                          SAINSBURY, JESSICA                      SAINT ELIZABETH MEDICAL CENTER
519 HARDY WATER DRIVE                     316 E CLARK ST NUM D8                   2100 MADISON AVE
LAWRENCEVILLE, GA 30045                   TOOELE, UT 84074                        GRANITE CITY, IL 32040




SAINT ELIZABETH MEDICAL CENTER            SAINT LOUIS UNIVERSITY MEDICAL CENTER   SAINT LOUIS UNIVERSITY
2100 MADISON AVE                          DEPARTMENT OF RADIOLOGY                 ATTN KATHLEEN MERLO
GRANITE CITY, IL 62040                    3635 VISTA AT GRAND DT 2                1402 SOUTH GRAND BLVD
                                          ST LOUIS, MO 63110-0250                 ST LOUIS, MO 63104




SAINT LOUIS UNIVERSITY                    SAINT LOUIS UNIVERSITY                  SAINZ, LACIE
SCHOOL OF MEDICINE                        SUSAN SCHULER 3635 VISTA AVE            701 N 5TH STREET APT B3011
3839 LINDELL BLVD                         15TH FLOOR DESLOGE TOWERS               LEBANON, OR 97355
ST LOUIS, MO 63108                        ST LOUIS, MO 63110




SAITH, SHARMA MD                          SAIZ GILBERT D                          SAIZ, AMANDA R.
7434 OAKLAND DRIVE                        323 MARYANNE AVE                        1605 EUBANKS RD
PORTAGE, MI 49024-0000                    BARSTOW, CA 92311                       BIG SPRING, TX 79720




SAIZ, AMBER                               SAJAN, JANCY P.                         SAJUAN, CHRISTINA
3306 DREXEL                               ADDRESS ON FILE                         ADDRESS ON FILE
BIG SPRING, TX 79720




SALADO, JOHN                              SALAPACK, KRISTI L.                     SALAS, JESSICA M.
1614 BOSTON ST                            2519 LIST ST NW                         201 HANSEN AVE
SALINAS, CA 93906                         MASSILLON, OH 44646                     EVANSTON, WY 82930




SALAS, JUANA                              SALAS, MARIA JUANITA                    SALAS, MARIA R.
195 LANTANA LN                            HC 68 BOX1BB                            ADDRESS ON FILE
MESQUITE, NV 89027-6326                   SAPELLO, NM 87745




SALAS, SOPHIA T.                          SALAS, TRACI C.                         SALAS, TRACY
1015 SHERMAN DR                           ADDRESS ON FILE                         ADDRESS ON FILE
SALINAS, CA 93907
SALAS-BERRY, NEISHA M.    Case 20-10766-BLS    Doc 6R. Filed 04/07/20
                                        SALAT, FRANK                    Page 1547  ofASHLEY
                                                                             SALAZAR  1969
1875 DOUGLAS DRIVE                       4032 W 90TH PLACE                   434 LYNN TER
HOLLADAY, TN 38341                       HOMETOWN, IL 60456                  WAUKEGAN, IL 60085




SALAZAR ELISEO                           SALAZAR LINDA                       SALAZAR, ADRIANA
HC 68 BOX 1F                             ADDRESS ON FILE                     ADDRESS ON FILE
SAPELLO, NM 87745




SALAZAR, ADRIANNA                        SALAZAR, ANTONIO                    SALAZAR, CATHERINE
ADDRESS ON FILE                          429 PEGGY LN                        5413 SULTAN STREET
                                         LAS VEGAS, NM 87701                 LAS VEGAS, NM 87701




SALAZAR, DESTINY                         SALAZAR, GABRIELA                   SALAZAR, LEONA D.
779 E 890 N                              6169 E. CORTLAND AVE.               ADDRESS ON FILE
TOOELE, UT 84074                         FRESNO, CA 93727




SALAZAR, LINDA V.                        SALAZAR, MAX J                      SALAZAR, MELISSA M.
ADDRESS ON FILE                          HC 80 BOX 204A                      614 LINDA LANE
                                         LAS VEGAS, NM 87701                 BIG SPRING, TX 79720




SALAZAR, TAMMY L.                        SALAZAR, VALERIA C.                 SALCEDO, JACKELYN
ADDRESS ON FILE                          903 N GOLIAD ST                     105 MESA VERDE DR
                                         BIG SPRING, TX 79720                WATSONVILLE, CA 95076




SALCIDO, CLARA C.                        SALDANA, TIFFANY                    SALDANA, YOLANDA
ADDRESS ON FILE                          21 MADOLA RD.                       5206 SHADOW ESTATES
                                         EPWORTH, GA 30541                   SAN JOSE, CA 95135




SALDIVAR, ANDREW                         SALDIVAR, KARINA M.                 SALDIVAR, VALERIE
26230 W ALEXANDER AVE                    ADDRESS ON FILE                     813 S 13TH ST
ANTIOCH, IL 60002                                                            DEMING, NM 88030




SALEEM, KASHIF                           SALEFSKI, PATRICIA L.               SALEH CODI
ADDRESS ON FILE                          8013 174TH PL                       2532 POPULAR POINT RD
                                         TINLEY PARK, IL 60477               WILLIAMSTON, NC 27892




SALEM SECURITY INC                       SALEM TIMES-COMMONER                SALEM TOWNSHIP HOSPITAL
8708 S. BENNETT STE. 24                  120 SOUTH BROADWAY                  1201 RICKER DRIVE
CHICAGO, IL 60617                        SALEM, IL 62881                     SALEM, IL 62881
                      Case 20-10766-BLS
SALEM TOWNSHIP HOSPITAL                    Doc 6 L.Filed 04/07/20
                                    SALER, CHARLES                  Page 1548  of 1969
                                                                         SALERNO, JULIE H.
ATTN: ACCOUNTING                    828 NASSAU ST W                       ADDRESS ON FILE
1201 RICKER DRIVE                   EAST CANTON, OH 44730
SALEM, IL 62881




SALES, ADRIAN                       SALES, LESLIE R.                      SALES, VERA A.
476 BECK ST.                        14141 85TH AVE                        ADDRESS ON FILE
WATSONVILLE, CA 95076               ORLAND PARK, IL 60462




SALGADO ANABEL                      SALGADO ROSARIO                       SALGADO, ARACELI
1004 LAKEHURST DR APT 102           303 N BERWICK                         436 SHERWOOD COURT
WAUKEGAN, IL 60085                  WAUKEGAN, IL 60085                    WATSONVILLE, CA 95076




SALGADO, CARLOS                     SALGADO, CRISTINA                     SALGADO, ENIF
21 AUGUSTA DR.                      311 ARTHUR ROAD                       1921 N LEWIS AVE APT 201
GILBERTS, IL 60136                  WATSONVILLE, CA 95076                 WAUKEGAN, IL 60087




SALGADO, GREGORIO H.                SALGADO, MEGAN S.                     SALGADO, ROSA
7811 S KILPATRICK AVE               ADDRESS ON FILE                       328 MESA VERDE DRIVE
CHICAGO, IL 60652                                                         WATSONVILLE, CA 95076




SALGADO, UFEMIA                     SALGER TAMARA                         SALGER, JAMIE C.
ADDRESS ON FILE                     6085 EDGEWOOD RD                      ADDRESS ON FILE
                                    RED BUD, IL 62278




SALGER, JAMIE                       SALGER, MICHAELE                      SALGUERO, NATASHA D.
204 CLARENCE DR                     ADDRESS ON FILE                       172 B. AVENUE
RED BUD, IL 62278                                                         EVANSTON, WY 82930




SALGUERO, NATASHA D.                SALIGRAM, CHANDRASHEKAR R.            SALINAS NANCY
ADDRESS ON FILE                     ADDRESS ON FILE                       157 ANTARES CIR
                                                                          ROUND LAKE BEACH, IL 60073




SALINAS, AMANDA NACOLE              SALINAS, AMANDA                       SALINAS, DARRICK
ADDRESS ON FILE                     3620 EDDY ST                          1825 AZALEA DR
                                    AMARILLO, TX 79109                    AUBREY, TX 76227




SALINAS, DENNY                      SALINAS, ELADIA                       SALINAS, GENESIS G.
1266 LACROIX LANE APT. 265          106 S SAINT JAMES ST                  6608 HARVEST DR NW
TOOELE, UT 84074-0000               WAUKEGAN, IL 60085                    FORT PAYNE, AL 35967-8379
                        Case 20-10766-BLS
SALINAS, JOSE JAIME DBA SALINAS              Doc
                                      SALINAS,     6 Filed 04/07/20
                                               JULIUS                  Page 1549  ofMADISEN
                                                                            SALINAS, 1969
ENTERPRISES                           924 GLEN CT WAUKEGAN, IL              ADDRESS ON FILE
2830 CANTO ROAD SE                    WAUKEGAN, IL 60085
DEMING, NM 88030




SALING, PATRICIA                     SALIOT, RUTH C.                        SALLER-KUIKMAN, LINDA D.
649 KINGSTON CIRCLE                  4156 BRENTWOOD LN                      6833 W 179TH ST
TOOELE, UT 84074-0000                WAUKEGAN, IL 60087                     TINLEY PARK, IL 60477




SALLEY, REGINALD                     SALLIE MAE - F                         SALLIE MAE 2
9708 S LOWE AVE                      DEPT OF EDUCATION LOAN SERVICES        P.O. BOX 9532
CHICAGO, IL 60628                    P.O. BOX 740351                        WILKES-BARRE, PA 18773-9532
                                     ATLANTA, GA 30374-0351




SALLIE MAE SERVICIN                  SALLIE MAE                             SALLIE MAE
P.O. BOX 9532                        P.O. BOX 740351                        P.O. BOX 8459
WILKS-BARRE, PA 18773-9532           ATLANTA, GA 30374-0351                 PHILADELPHIA, PA 19101




SALLIE MAE                           SALLIE, JENNIFER                       SALLIEMAE
P.O. BOX 9500                        ADDRESS ON FILE                        ACCT 9424070034-2
WILKES BARRE, PA 18773-9500                                                 P O BOX 9533
                                                                            WILKES-BARRE, PA 18773-9533




SALLO, MARTHA                        SALLY BOYER-MYERS                      SALLY CRAMER
45 FOREST AVE SE                     ADDRESS ON FILE                        609 W JACKSON ST
MASSILLON, OH 44646                                                         PO BOX 101
                                                                            ABINGDON, IL 61410




SALLY KIDD                           SALLY ROBINSON                         SALLY, ROBERT
402 HAMILTON NE                      242 S GARDEN WAY                       910B OAK HILL RD
MASSILLON, OH 44646                  EUGENE, OR 97401-5827                  LAKE BARRINGTON, IL 60010




SALLYSMOKING BUTT BBQ                SALM, CLARA M.                         SALMAN, ROBERT
2904 GAULT AVE S                     ADDRESS ON FILE                        101 OAK RIDGE ST
FORT PAYNE, AL 35967                                                        ELLIJAY, GA 30536




SALMERON, MANUEL E.                  SALMI, MELISSA                         SALMON, CHARLES
P.O. BOX 165                         257 MEYER AVE                          119 N SUMMIT ST
MONTEZUMA, NM 87731                  HAMEL, IL 62046                        APT C
                                                                            LOCK HAVEN, PA 17745-2449




SALMON, LEONEL                       SALMONS TYLER                          SALMONS, FRANKLIN
ADDRESS ON FILE                      1570 BELLE PLAINE AVE                  P.O. BOX 1103
                                     GURNEE, IL 60031                       FORT GAY, WV 25514-1103
SALMONS, JESSICA         Case 20-10766-BLS   Doc
                                       SALMONS,   6 D.Filed 04/07/20
                                                KAYLA                       Page 1550
                                                                                 SALON of 1969
                                                                                       STORE
ADDRESS ON FILE                         ADDRESS ON FILE                          4620 A WALDO INDUSTRIAL PARK
                                                                                 HIGH RIDGE, MO 63049




SALOPEK, LAURIE                         SALSMAN, KAREN                           SALT PAYROLL CONSULTANTS INC
1339 20TH ST SW                         1177 FAMILY CT                           111 2ND AVE NE, STE 1000
MASSILLON, OH 44647                     GALESBURG, IL 61401                      ST PETERSBURG, FL 33701




SALTER LABS                             SALTER, ANNA                             SALTIKOV, REBECCA A.
8399 SOLUTIONS CENTER                   2014 FT DALE RD                          307 RANCH VIEW ROAD
CHICAGO, IL 60677-8003                  GREENVILLE, AL 36037                     SANTA CRUZ, CA 95064




SALTSGAVER, ERICA L.                    SALTZ, LAUREN A.                         SALUBRE, JUSES P.
ADDRESS ON FILE                         2 CHOESTOE VALLEY CIR                    1418 SOUTH COPPER STREET
                                        BLAIRSVILLE, GA 30512                    DEMING, NM 88030




SALVADOR GARCIA, ANAYA                  SALVADOR, JOSEPH                         SALVATIERRA, LUCY D.
8895 COUNTY RD 51                       962 KNOWLES RD                           ADDRESS ON FILE
COLLINSVILLE, AL 35961                  GURNEE, IL 60031




SALVATIERRA-FIGUEROA, CARLOS R.         SALVATION ARMY OF BIG SPRING, THE        SALVATION ARMY, THE
559 SOMERSET LN                         P.O. BOX 1248                            P.O. BOX 1243
CLARKSVILLE, TN 37042                   BIG SPRING, TX 79721-1248                906 TOWER SQUARE PLAZA
                                                                                 MARION, IL 62959




SALVATORE FIDUCIA                       SALVO, HELLEN                            SALVUCCI, ELIZABETH
84545 PARKWAY RD                        1103 STOUT RD                            8305 A SHILOH ST
PLEASANT HILL, OR 97455-9628            FORT PAYNE, AL 35967                     FORT IRWIN, VA 92310




SALYARDS, MARY E.                       SALYER, ANDREA D.                        SALYER, BEVERLY
616 BRIDGE STREET                       ADDRESS ON FILE                          224 LUCY CASTLE HOLLOW
WATSONVILLE, CA 95076                                                            RIVER, KY 41254




SALYER, JERISTA C.                      SALYER, JOHN F.                          SALYER, ROY
3285 MEREDITH BRANCH                    ADDRESS ON FILE                          449 T SALYER BRANCH
ROYALTON, KY 41464                                                               FLAT GAP, KY 41219




SALYER, SHIRCHRISTA R.                  SALYER, TIM                              SALYERS DARRICK D
ADDRESS ON FILE                         423 KY RT 689                            84338 CHRISTENSEN RD
                                        FLATGAP, KY 41219                        EUGENE, OR 97405-9503
SALYERS, CANDACE        Case 20-10766-BLS   Doc 6WATER
                                      SALYERSVILLE Filed 04/07/20
                                                       WORKS              Page 1551  of 1969
                                                                               SALYERSVILLE WATER WORKS
411 WEST MISSISSIPPI                   182 COLLEGE STREET                      182 COLLEGE STREET
JONESBORO, IL 62952                    SALYERSVILLE, KY 41465                  SALYERSVILLE, KY 41465-9183




SAM CONSTRUCTION                       SAM CONSTRUCTION                        SAM ROMERO
213 GRAND AVE SW                       213 GRAND AVENUE S                      DBA VEGAS VILLAGE APARTME
FT PAYNE, AL 35967                     FORT APYNE, AL 35967                    921 5TH ST
                                                                               LAS VEGAS, NM 87701




SAMANIEGO, NEIL E.                     SAMANO, MARIA C                         SAMANO, SANJUANA
ADDRESS ON FILE                        3108 ELIM AVE                           12569 W 33RD ST
                                       ZION, IL 60099                          ZION, IL 60099




SAMANTA, NIRMAL K.                     SAMANTHA C. MASCARI                     SAMANTHA CASPER CHANGE FUND
ADDRESS ON FILE                        1355 N SANDBURG TER                     CUSTODIAN
                                       APT 2003                                310 S MCCASKEY ROAD
                                       CHICAGO, IL 60610                       WILLIAMSTON, NC 27892




SAMANTHA DAVIS                         SAMANTHA JACKSON                        SAMANTHA KRAFT
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




SAMANTHA L ROWLAND                     SAMANTHA LEWIS                          SAMANTHA M WILLIAMS
656 PERI LEIGH RD                      P.O. BOX 912                            725 COURTNEY DR
HARLEM, GA 30814                       WOOTEN, KY 41776                        CROWN POINT, IN 46307




SAMANTHA MARTIN                        SAMANTHA MCLEESE                        SAMANTHA MULLIN
ADDRESS ON FILE                        520 N MAGNOLIA ST                       P.O. BOX 8512
                                       ELMWOOD, IL 61529                       HOT SPRINGS VILLAGE, AR 71910




SAMANTHA RODGERS                       SAMANTHA STARNES                        SAMBA
1061 SMITHWICK STREET                  4421 BYPASS RD                          11301 OLD GEORGETOWN RD
WILLIAMSTON, NC 27892                  LOGANVILLE, GA 30052                    ROCKVILLE, MD 20852-2800




SAMBLANET-MILLER, SARAH L.             SAMBRANO FUNERAL & CREMATION INC        SAMFORD UNIVERSITY
5609 DUNDEE STRASBURG RD. NW           4606 OLD GRAND AVE                      800 LAKESHORE DRIVE
STRASBURG, OH 44680                    GURNEE, IL 60031                        BIRMINGHAM, AL 35229




SAMIR PATEL                            SAMMIE MCCOY                            SAMMONS PRESTON INC.
ADDRESS ON FILE                        1621 5TH ST                             P.O. BOX 93040
                                       MADISON, IL 62060                       CHICAGO, IL 60673
SAMMONS, CONNIE A.       Case 20-10766-BLS  Doc
                                       SAMMONS,   6 G.Filed 04/07/20
                                                DAVID                  Page 1552 of 1969
                                                                            SAMMONS, KATIE MARIE
ADDRESS ON FILE                         P.O. BOX 584                         5215 NE 71ST ST
                                        PAINTSVILLE, KY 41240                VANCOUVER, WA 98661-1492




SAMOLIS MONICA                          SAMONDS, CHRISTINE                   SAMONDS, CHRISTINE
35190 N MOODY ST                        ADDRESS ON FILE                      18364 SPRINGWOOD DR
INGLESIDE, IL 60041                                                          GRAYSLAKE, IL 60030




SAMONDS, CHRISTINE                      SAMONDS, MICHAEL                     SAMPLE, CHARLES C.
ADDRESS ON FILE                         18364 SPRINGWOOD DR                  254 MACKEYVILLE RD
                                        GRAYSLAKE, IL 60030                  MACKEYVILLE, PA 17750




SAMPLE, RICKY D.                        SAMPLE, SUSAN F.                     SAMPLE, TORY L.
305 E. JEFFERSON ST                     24 SECONDO WAY                       305 E. JEFFERSON ST.
ANNA, IL 62906                          ROYAL OAKS, CA 95076                 ANNA, IL 62906




SAMPLES KAREN R                         SAMPLES, JAMES                       SAMPLES, JULIA LYNNETTE
431 SEARS AVE                           ADDRESS ON FILE                      1620 COUNTY RD 123
FYFFE, AL 35971                                                              DUTTON, AL 35744




SAMPSON ALLYSON P                       SAMPSON, ALLYSON P.                  SAMPSON, CURLETT L.
180 COUNTY RD 403                       180 CR 403                           ADDRESS ON FILE
DUTTON, AL 35744-7934                   DUTTON, AL 35744




SAMPSON, DOUGLAS                        SAMPSON, MARIE A.                    SAMPSON, NIKKI
ADDRESS ON FILE                         85 KEEL CT                           1526 S WOODBINE CIRCLE
                                        STANSBURY PARK, UT 84074             GALESBURG, IL 61401




SAMPSON, ROBERT                         SAMS, HARRY JR                       SAMSUNG FINANCIAL SOLUTIONS
2732 LINCOLN PARK DR                    350 WEST PARK                        P.O. BOX 911608
GALESBURG, IL 61401                     SPARTA, IL 62286                     DENVER, CO 80291-1608




SAMUEL B DULANEY                        SAMUEL K MARTIN                      SAMUEL LAU
433 EAST COOK                           1069 MEADOWLARK LN                   90928 DIAMOND RIDGE LP
FORREST CITY, AR 72335                  LOCK HAVEN, PA 17745-8818            EUGENE, OR 97408




SAMUEL SHERLING                         SAMUEL, MARIE                        SAMUELS DORIS
P.O. BOX 344                            706 N DIVISION ST                    9751 S CHARLES ST APT 2B
GREENVILLE, AL 36037                    CARTERVILLE, IL 62918                CHICAGO, IL 60643
SAMUELS, JACKSON       Case 20-10766-BLS    Doc
                                     SAMUELS,    6 LFiled 04/07/20
                                              MIRIAM                    Page 1553 of 1969
                                                                             SAMUELS, NICOLAS
101 EAST SPRING STREET APARTMENT 3   351 COPPER SPRINGS DR                    ADDRESS ON FILE
ANNA, IL 62906                       MESQUITE, NV 89027




SAMUELS, TAYLOR                      SAMUELS, TRENTON P.                      SAMUELS, TRICIA D.
ADDRESS ON FILE                      ADDRESS ON FILE                          104 SOUTH ILLINOIS STREET
                                                                              JONESBORO, IL 62952




SAN BERNARDINO CIVIL DIVISION        SAN BERNARDINO COUNTY FIRE               SAN BERNARDINO COUNTY MEDICAL
157 WEST 5TH STREET, 3RD FLOOR       PROTECTION DISTRICT                      SOCIETY
SAN BERNARDINO, CA 92415             157 W FIFTH STREET 2ND FL                MEDICAL SOCIETY
                                     SAN BERNARDINO, CA 92415                 1859 W.REDLANDS BLVD.
                                                                              REDLANDS, CA 92373-3119



SAN BERNARDINO COUNTY SHERIFF        SAN BERNARDINO COUNTY                    SAN BERNARDINO SECURED
157 W.5TH STREET 3RD FLOOR           351 N MT VIEW AVE                        TREASURER TAX COLLECTOR
SAN BERNARDINO, CA 92415-0225        SAN BERNARDINO, CA 92415-0010            268 WEST HOSPITALITY LANE 1ST FLOOR
                                                                              SAN BERNARDINO, CA 92415-0360




SAN BERNARDINO TREASURER-TAX         SAN DIEGO DOOR AND HARDWARE, INC         SAN GABRIEL, NILO B.
COLLECTOR                            1349 WILSON ROAD                         ADDRESS ON FILE
268 W HOSPITALITY LN                 RAMONA, CA 92065-0000
SAN BERNARDINO, CA 92415




SAN MIGUEL CLINIC CORP.              SAN MIGUEL COUNTY CLERK                  SAN MIGUEL COUNTY TREASURER
206 S CORONADO AVE                   500 W NATIONAL AVE 113                   500 W NATIONAL ST
ESPANOLA, NM 87532                   LAS VEGAS, NM 87701                      SUITE 111
                                                                              LAS VEGAS, NM 87701-3768




SAN MIGUEL HOSPITAL CORPORATION      SAN MIGUEL/MORA COUNTY FAIR              SANBORN MORGAN T
206 S CORONADO AVE                   ASSOCIATION                              4624 BRUNNING CT
ESPANOLA, NM 87532                   P.O. BOX 325                             DUNWOODY, GA 30338
                                     LAS VEGAS, NM 87701




SANBORN, JENESA                      SANBORN, WENDY L.                        SANCHEZ DE MUNOZ, SUSANA
5443 HAMPTON WAY                     ADDRESS ON FILE                          1371 BRIGANTINO DR
STANSBURY PARK, UT 84074                                                      HOLLISTER, CA 95023




SANCHEZ GRISELDA                     SANCHEZ MARICELA                         SANCHEZ RUFINA
2616 HERMON AVE                      223 S 7TH ST                             ADDRESS ON FILE
ZION, IL 60099                       MONMOUTH, IL 61462




SANCHEZ, ALBERT M.                   SANCHEZ, ALLISON M.                      SANCHEZ, ALLISON
2311 NEW MEXICO AVE                  ADDRESS ON FILE                          ADDRESS ON FILE
LAS VEGAS, NM 87701
SANCHEZ, BILL           Case 20-10766-BLS   Doc
                                      SANCHEZ,    6 WAYNE,
                                               DAVID Filed M.D.
                                                           04/07/20   Page 1554 of 1969
                                                                           SANCHEZ, ELIAS H
P.O. BOX 332                           1207 FIGHTING BUCK AVE               P.O. BOX 270
LYMAN, WY 82937                        ALPINE, TX 79830                     MARFA, TX 79843




SANCHEZ, ELIZABETH                     SANCHEZ, ESBIE                       SANCHEZ, HEATHER A.
ADDRESS ON FILE                        P.O. BOX 1221                        2617 NEW MEXICO AVE
                                       FREEDOM, CA 95019                    LAS VEGAS, NM 87701




SANCHEZ, IVAN                          SANCHEZ, JESSICA                     SANCHEZ, JOSE ALAREZ
13132 S HOUSTON AVE                    822 N WISCONSIN STREET 822 N         ADDRESS ON FILE
CHICAGO, IL 60633                      WISCONSIN STREET
                                       COLUMBUS, NM 88029




SANCHEZ, JUANITA                       SANCHEZ, KRYSTINE                    SANCHEZ, LAWRENCE
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




SANCHEZ, LETICIA                       SANCHEZ, MARLEN                      SANCHEZ, MICHELLE
732 SARATOGA DR                        ADDRESS ON FILE                      603 N. RUNNELS STREET
SALINAS, CA 93906                                                           BIG SPRING, TX 79720




SANCHEZ, MIGUEL                        SANCHEZ, NANCY                       SANCHEZ, RAQUEL P.
ADDRESS ON FILE                        244 GREEN MEADOW DR APT C            621 NORTH MISSOURI P.O. BOX 272
                                       WATSONVILLE, CA 95076                COLUMBUS, NM 88029




SANCHEZ, REGINALDO G.                  SANCHEZ, ROMINA                      SANCHEZ, STEPHANIE J.
ADDRESS ON FILE                        ADDRESS ON FILE                      6947 W BURNING SKY CT
                                                                            WEST JORDAN, UT 84081




SANCHEZ-ESQUIBEL, STEPHANIE            SANCHEZ-SIFUENTES, YADIRA            SANCHEZ-VEGA, JOSE
ADDRESS ON FILE                        780 KNIGHT AVE APT 8                 18772 ASH DRIVE
                                       PARK CITY, IL 60085                  LAKEVILLA, IL 60046




SAND MOUNTAIN ELECTRIC COOP            SAND MOUNTAIN ELECTRIC COOP          SAND ROCK HIGH SCHOOL
402 MAIN ST W                          P.O. BOX 277                         1950 SAND ROCK AVE
RAINSVILLE, AL 35986                   RAINSVILLE, AL 35986                 SAND ROCK, AL 35983




SAND ROCK MINERAL WATER CO             SANDBERG SHAYLA                      SANDEFER, BRITTANY
1312 TUSCARAWAS ST E                   62 ARBOR SPRINGS                     2786 HWY 1 SOUTH
CANTON, OH 44707                       TROY, IL 62294                       MARIANNA, AR 72360
SANDER, ERIN C.          Case 20-10766-BLS   Doc 6BERNARD
                                       SANDERBECK,   FiledP.04/07/20   Page 1555 of 1969
                                                                            SANDERBRINK, DAVID D.
ADDRESS ON FILE                         2915 CHIPPENDALE ST NW               ADDRESS ON FILE
                                        MASSILLON, OH 44646




SANDERLIN, HOLLY                        SANDERLIN, STEPHANIE                 SANDERLING RENAL SERVICES
P.O. BOX 71                             P.O. BOX 75                          P.O. BOX 198813
CRUMROD, AR 72328                       LAMBROOK, AR 72353                   NASHVILLE, TN 37219-8813




SANDERS - ITV, CHARLES                  SANDERS COLLECTION AGENCY            SANDERS DEBBIE
4600 CEDAR FOREST RD                    1218 HWY 49                          235 WASHAKIE DR
GLEN ALLEN, VA 23060                    WEST HELENA, AR 72390                EVANSTON, WY 82930-5621




SANDERS SHAYNE                          SANDERS SONYA KIM                    SANDERS, ANTOINETTE L.
7 FOX MILL DR                           2861 LAY SPRINGS ROAD                ADDRESS ON FILE
MARYVILLE, IL 62062                     GADSDEN, AL 35904-7181




SANDERS, CHARLES R.                     SANDERS, CHARLIE                     SANDERS, COURTNEY L.
ADDRESS ON FILE                         229 SFC 434                          595 CRESCENT LOOP
                                        FORREST CITY, AR 72335-7557          VIENNA, IL 62995




SANDERS, COURTNEY L.                    SANDERS, CURTIS                      SANDERS, DAVID S.
ADDRESS ON FILE                         4831 TREES EDGE LN                   721 TOCCOA CAMP TRAIL
                                        FLORISSANT, MO 63033                 MINERAL BLUFF, GA 30559




SANDERS, DAVID S.                       SANDERS, DAVID S.-CEO                SANDERS, DEBORAH S.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




SANDERS, DIANE                          SANDERS, DOMINICK B.                 SANDERS, DORRIS
2786 NEW PORT ROYAL ROAD                1301 ARDWICK CT                      2646 FREE UNION RD
THOMPSONS STATION, TN 37179             MEMPHIS, TN 38119                    JAMESVILLE, NC 27846-9301




SANDERS, DRAKE A.                       SANDERS, HARVEY L.                   SANDERS, HEATHER M.
595 CRESCENT LOOP                       ADDRESS ON FILE                      1193 CEDAR RIDGE DR
VIENNA, IL 62995                                                             EUGENE, OR 97401




SANDERS, HERBERT                        SANDERS, HOYT                        SANDERS, JAIME L.
1806 STODDARD ST.                       ADDRESS ON FILE                      ADDRESS ON FILE
CAPE GIRARDEAU, MO 63701
SANDERS, JANET            Case 20-10766-BLS   Doc
                                        SANDERS, JILL6       Filed 04/07/20   Page 1556 of 1969
                                                                                   SANDERS, JUDY
2616 ALBROOK DR.                          3611 ACORN CT                            17714 ARCADIA AVENUE
BIG SPRING, TX 79720                      CONYERS, GA 30012                        LANSING, IL 60438




SANDERS, LARRY                            SANDERS, LISA M.                         SANDERS, MALISSA
1239 ORIOLE ST                            16889 ANTHONY AVE                        ADDRESS ON FILE
VENICE, IL 62090                          HAZEL CREST, IL 60429




SANDERS, MECHELLE                         SANDERS, REBECCA C.                      SANDERS, RICHARD
P O BOX 95                                828 AUBURN LN                            605 E CHURCH STREET
FORREST CITY, AR 72336                    LINDENHURST, IL 60046                    ROYAL OAKS CARE CENTER
                                                                                   KEWANEE, IL 61443




SANDERS, VICKIE                           SANDERS, WHITNEY                         SANDERS-HAGGINS, ANITA
ADDRESS ON FILE                           1305 IOWA STREET                         641 BEECHWOOD
                                          MADISON, IL 62060                        WEST HELENA, AR 72390




SANDERS-HAGGINS, ANITA                    SANDERSON, DAVID W.                      SANDERSON, LAURA R., M.D.
ADDRESS ON FILE                           129 CARR DRIVE                           ADDRESS ON FILE
                                          SPRING HILL, TN 37174




SANDHAR, DASONDA                          SANDI ATKINS                             SANDIA MEDICAL RESOURCES
3648 SNOWBERRY RD                         ADDRESS ON FILE                          LUCIANO DE ANGELIS
EUGENE, OR 97403-3261                                                              955 N RESLER DR 104 SUITE 123
                                                                                   EL PASO, TX 79912




SANDIFORD, ALISON                         SANDLIN, PATTY                           SANDMAN, JILL H.
9 BLUE SURF COURT                         937 HARDBURLY RD.                        57 LIPPINCOTT RD
20586                                     BULAN, KY 41722                          FOX LAKE, IL 60020
JASPER, GA 30143




SANDMEIER, FREDERICK J.                   SANDNER GROUP, THE                       SANDOVAL CARLOTA
ADDRESS ON FILE                           155 NORTH WACKER                         P.O. BOX 507
                                          STE 3700                                 DUGWAY, UT 84022
                                          CHICAGO, IL 60606




SANDOVAL CASTILLO, CLAUDIA                SANDOVAL, ALICIA                         SANDOVAL, AMBER
128 WEEKS DR                              5245 PELAYO RD SW                        2455 CANTO RD SE
WATSONVILLE, CA 95076                     DEMING, NM 88030                         DEMING, NM 88030




SANDOVAL, AUBREY                          SANDOVAL, DEMI                           SANDOVAL, DENISE
ADDRESS ON FILE                           507 S SANTA ROSA                         ADDRESS ON FILE
                                          DEMING, NM 88030
SANDOVAL, JESSICA S.      Case 20-10766-BLS   DocJORGE
                                        SANDOVAL,  6 Filed
                                                       E.  04/07/20   Page 1557 of 1969
                                                                           SANDOVAL, KENNETH
ADDRESS ON FILE                          ADDRESS ON FILE                   ADDRESS ON FILE




SANDOVAL, MARIA                          SANDOVAL, MARTHA H.               SANDOVAL, NANCY
ADDRESS ON FILE                          4625 RABBIT FARM RD               171 WHITING RD
                                         LOGANVILLE, GA 30052              WATSONVILLE, CA 95076




SANDOVAL, SARAH L.                       SANDOVAL, TERESA                  SANDOVAL, TYSON
ADDRESS ON FILE                          ADDRESS ON FILE                   ADDRESS ON FILE




SANDOVAL-AGUAYO, EFREN                   SANDOZ, DEBORAH J.                SANDRA A FLANAGAN
ADDRESS ON FILE                          ADDRESS ON FILE                   3761 PURPLE LAKE
                                                                           COLUMBIA, PA 17512




SANDRA ARMSTRONG                         SANDRA BAILEY                     SANDRA BATES
401 CAPEADOR ST NW                       1604 SOUTH GRAND AVE              3922 VICTORY AVE
PALM BAY, FL 32907-2940                  BRINKLEY, AR 72302                LOUISVILLE, OH 44641




SANDRA BOWEN                             SANDRA CARRIER                    SANDRA CASTRO
C/O 104 LEGION DR                        7334 HWY 121 WEST                 9271 BLACK DIAMOND RD
LAS VEGAS, NM 87701                      MARIANNA, AR 72360                MARSHALLVILLE, OH 44645




SANDRA CURTIS                            SANDRA FARMER                     SANDRA GUY
935 DAYTON DR APT 3                      ADDRESS ON FILE                   11903 S RIDGEWAY AVE
GALESBURG, IL 61401                                                        ALSIP, IL 60803




SANDRA HALL                              SANDRA J BABEY                    SANDRA KING
ADDRESS ON FILE                          2934 NE 7TH DR                    2004 HICKORY AVE NE
                                         BOCA RATON, FL 33431-6903         MASSILLON, OH 44646




SANDRA LONG                              SANDRA MADVIG                     SANDRA NOFSINGER
309 W MAIN ST                            1186 LOMBARD ST                   1395 PEBBLE CHASE CR NE
ALEDO, IL 61231                          GALESBURG, IL 61401               MASSILLON, OH 44646




SANDRA POOR                              SANDRA R BRAUN                    SANDRA RAPER
30 CROWN POINTE BLVD                     486 LONG IRON LANE                1863 HWY 306E
HIGHLAND, IL 62249                       MESQUITE, NV 89027                COLT, AR 72326
SANDRA S MCDONALD       Case 20-10766-BLS
                                      SANDRADoc 6 Filed 04/07/20
                                            SAAVEDRA                    Page 1558  of 1969
                                                                             SANDRIDGE, CHELSEA N.
113 MAGIC LILY DR                     ADDRESS ON FILE                         1602 COLE LANE
GRIFFIN, GA 30223                                                             BIG SPRING, TX 79720




SANDROCK, BROCK                       SANDROCK, JEFFREY                       SANDRY EARL D
1233 PERKINS AVE NW                   424 29TH ST NW                          307 S SAGE ST
CANTON, OH 44703                      MASSILLON, OH 44647                     PO BOX 161
                                                                              ONEIDA, IL 61467




SANDS, JENNA M.                       SANDUSKY, CHRISTINE                     SANDUSKY, PHYLLIS DAWANDA
225 S. CROWNHILL ROAD                 10101 W PARMER LN APT 1014              1112 S 14TH ST
ORRVILLE, OH 44667                    AUSTIN, TX 78717                        HERRIN, IL 62948




SANDWISCH, MICHAEL D.                 SANDY VALLEY TRANSPORTATION             SANFILIPPO KAREN L
ADDRESS ON FILE                       81 RESOURCE COURT                       7419 W 170TH STREET
                                      PESTONSBURG, KY 41653                   TINLEY PARK, IL 60477




SANFILIPPO, KRISTINE                  SANFORD, RICHARD                        SANFORD, STACY
ADDRESS ON FILE                       3447 PECAN LN                           167 WIGLEY LANE
                                      WOOSTER, OH 44691-5903                  RAINSVILLE, AL 35986




SANFORD-JOSEPH, BETTYE                SANGUANKEO, ANAWIN M.D.                 SANGUANKEO, ANAWIN MD
713 PEDEN ST                          ADDRESS ON FILE                         ADDRESS ON FILE
LAURINBURG, NC 28352




SANIPAC INC                           SANOFI PASTEUR INC                      SANOFI PASTEUR INC.
P.O. BOX 10928                        12458 COLLECTIONS CTR DR                12458 COLLECTIONS CENTER DR
EUGENE, OR 97440-2928                 CHICAGO, IL 60693                       CHICAGO, IL 60693




SANOFI PASTEUR                        SANOFI PASTEUR                          SANOFI PASTEUR, INC.
12458 COLLECTIONS CENTER              12458 COLLECTIONS CTR                   12458 COLLECTIONS CENTER DR
CHICAGO, IL 60693                     CHICAGO, IL 60693                       CHICAGO, IL 60693




SANOR, JEFFERY                        SANOR, SARAH J.                         SANROMAN MARIA
9861 WARMINGTON ST SW                 3370 KNOX SCHOOL RD                     460 N OAKWOOD AVE
NAVARRE, OH 44662                     HOMEWORTH, OH 44634                     WAUKEGAN, IL 60085-3015




SANSING-WILLIAMS, COURTNEY            SANTA CLARA SQUARE                      SANTA CRUZ COUNTY TRESURER
712 S NEWMARK DR                      P.O. BOX 60041- DEPARTMENT 200
TOOELE, UT 84074                      CITY OF INDUSTRY, CA 91716-0041
SANTIAGO GLORIA         Case 20-10766-BLS   Doc
                                      SANTIAGO,   6 Filed 04/07/20
                                                ANGELA                 Page 1559  of 1969
                                                                            SANTIAGO, IVAN
110 N MARTIN AVE                       547 SOUTH ST                         1710 GOLF RD APT 122
WAUKEGAN, IL 60085                     GREENVILLE, AL 36037                 WAUKEGAN, IL 60087




SANTIAGO, JACKIE                       SANTIAGO, REYNALDO                   SANTIAGO, WENDY
ADDRESS ON FILE                        2375 N LOTUS DR                      8428 TENNESSEE
                                       ROUND LAKE HEIGHTS, IL 60073         ST. LOUIS, MO 63125




SANTIANO, RUBY G.                      SANTILLANES, LORETTA                 SANTILUKKA, PICHET
1081 SANDPIPER DRIVE                   ADDRESS ON FILE                      610 ROCK HILL
CHESTERTON, IN 46304                                                        RED BUD, IL 62278




SANTOLAJA, ANGEL H.                    SANTOLIN DIANA K                     SANTOMEN, LYNNE E.
ADDRESS ON FILE                        7923 RICHARDSON LN                   8201 ABIGAIL CIRCLE NW
                                       MANORCARE PALOS EAST                 NORTH CANTON, OH 44720-4900
                                       TINLEY PARK, IL 60487




SANTOS, ANDREW                         SANTOS, ANTHONY J.                   SANTOS, ANTHONY
P.O. BOX 1323                          ADDRESS ON FILE                      ADDRESS ON FILE
OVERTON, NV 89040




SANTOS, BELINDA B.                     SANTOS, CHIE                         SANTOS, CONCEPCION C.
10055 AMES AVENUE                      36721 N TRAER TER                    ADDRESS ON FILE
BEACH PARK, IL 60099                   GURNEE, IL 60031




SANTOS, ENRIQUE                        SANTOS, FIDES F.                     SANTOS, FIDES F.
ADDRESS ON FILE                        8 CLARK DRIVE                        ADDRESS ON FILE
                                       FAIRVIEW HEIGHTS, IL 62208




SANTOS, IVY ETHEL L.                   SANTOS, ROSELLE                      SANTOS, TRICIA A.
5137 W 79TH ST APT 2W                  911 S BLUE BONNET DR                 ADDRESS ON FILE
BURBANK, IL 60459                      DEMING, NM 88030




SANTOS, WILFREDO L.                    SANTOS-MARTINEZ, NYDIA               SANTUCCI, DENNIS
179 W ELMWOOD DR                       P.O. BOX 1392                        15636 N. SQUIRE LANE
CHICAGO HEIGHTS, IL 60411              ALPINE, TX 79831                     MT. VERNON, IL 62864




SANZEN, JESSICA                        SAP AMERICA INC                      SAP AMERICA INC
485 OAK DR AVE SW                      MARK ANDREW BENTON, CORPORATE        P.O. BOX 7780-824024
STRASBURG, OH 44680                    COUNSEL                              PHILADELPHIA, PA 19182-4024
                                       3999 WEST CHESTER PIKE
                                       NEWTOWN SQUARE, PA 19073
SAPINOSA, MARCIA P.      Case 20-10766-BLS    Doc L6
                                       SAPP, JANET         Filed 04/07/20   Page 1560   of 1969
                                                                                 SAPP, SHAMECKA
ADDRESS ON FILE                         304 E FORD ST                            15252 SENECA RD SPC 102
                                        ENERGY, IL 62933                         VICTORVILLE, CA 92392




SARA AVERY                              SARA GIBSON                              SARA GUIDETTI,MD
84074                                   ADDRESS ON FILE                          P.O. BOX 1787
                                                                                 ALPINE, TX 79831




SARA HAMMEL                             SARA HAWKINS                             SARA JOHNSON
1801 SWANWICK ST                        ADDRESS ON FILE                          P.O. BOX 1602
CHESTER, IL 62233-1125                                                           COTTAGE GROVE, OR 97424




SARA ROGERS                             SARA TUTTLE                              SARABIA, SAMANTHA
ADDRESS ON FILE                         14 LINDEN HTS                            28045 BRUCITE RD
                                        MCKENZIE, TN 38201                       BARSTOW, CA 92311




SARAH A GILFILLAN BROWN                 SARAH BASTIDA                            SARAH BOND
1583 210TH AVE                          ADDRESS ON FILE                          P.O.BOX 151
GALESBURG, IL 61401                                                              1045 REBUBLICAN RD
                                                                                 WINDSOR, NC 27983




SARAH BROWN                             SARAH CRENSHAW PETTY CASH                SARAH E JOHNS
ADDRESS ON FILE                         CUSTODIAN                                1903 CALICO ROAD
                                        ADDRESS ON FILE                          MARION, IL 62959




SARAH EASLEY                            SARAH FLEER-PINCKNEY                     SARAH FRERICHS
622 EAST DAVIS                          1198 ARCADIA DR                          ADDRESS ON FILE
FORREST CITY, AR 72335                  GALESBURG, IL 61401




SARAH J BROOKS                          SARAH J DESAI                            SARAH KIMBRO
ADDRESS ON FILE                         429 COVINGTON DRIVE                      4025 PARK LANE
                                        WATERLOO, IL 62298                       GRANITE CITY, IL 62040




SARAH KING                              SARAH L LAWREY                           SARAH M BELHASEN, MD AND FRANKLINE K
ADDRESS ON FILE                         2706 BERTRAND RD                         BELHASEN II
                                        AUGUSTA, GA 30906-3218




SARAH M JUSTUS                          SARAH M. COLLART                         SARAH MARVEL
4316 FRUITLAND DR                       2325 W SCHOOL ST., BASEMENT APT          716 S BROAD ST
LOUISVILLE, OH 44641                    CHICAGO, IL 60618                        KNOXVILLE, IL 61448
SARAH MILLER              Case 20-10766-BLS   Doc 6
                                        SARAH MOORE       Filed 04/07/20   Page 1561
                                                                                SARAH of 1969
                                                                                      ROSE
5536 OAK STREET                         ADDRESS ON FILE                         ADDRESS ON FILE
HIGHLAND, IL 62249




SARAH SEXTON                            SARAH SHILLING                          SARAH SILVEIRA
257 E WATER ST                          4626 4TH ST NW                          ADDRESS ON FILE
GALESBURG, IL 61401                     CANTON, OH 44708




SARAH SORIA MACHADO                     SARAH STALEY                            SARASIN LYNNA ROXANNE
ADDRESS ON FILE                         17356 E KENDALL RD                      541 HONEYSUCKLE LANE
                                        MT VERNON, IL 62864                     EUGENE, OR 97401




SARDESON, PEGGY                         SARGEANT, TERRA                         SARGENT, KINYADA
36853 CAMARILLO AVE                     210 N ALEXANDER ST                      333 BENSLEY AVE
BARSTOW, CA 92311                       ALEXIS, IL 61412                        CALUMET CITY, IL 60409




SARGENT, LANELLE                        SARGENT, PHYLLIS D.                     SARGENT, SAMANTHA
11 FOREST DRIVE                         ADDRESS ON FILE                         ADDRESS ON FILE
MARYVILLE, IL 62062




SARGENT, TASHA N.                       SARGISIAN, MARIE                        SARLES, TAMMY L.
3336 BERWIN GREEN DRIVE                 525 BALDWIN AVE                         ADDRESS ON FILE
BELLEVILLE, IL 62220                    WAUKEGAN, IL 60085




SARLES, TAMMY                           SARMIENTO-JACOBO, CATHERINE             SARNO CLAUDIA
ADDRESS ON FILE                         4654 BARCELONA WAY                      2866 S ENSIGN PARK DR
                                        UNION CITY, CA 94587                    MAGNA, UT 84044




SARPY, SHREESE L.                       SARTA                                   SARTAIN, DARRYL
811 STERLING HEIGHTS DR                 1600 GATEWAY BLVD SE                    5501 SHANNA AVENUE NE
ANTIOCH, IL 60002                       CANTON, OH 44704                        FORT PAYNE, AL 35967




SARTIN, BRANDY N.                       SARTIN, DELORIS                         SARULLO, VITO
ADDRESS ON FILE                         P.O. BOX 30                             175 S 37
                                        WARFIELD, KY 41267                      BONNIE, IL 62816




SARVER, VIOLET J.                       SASHA HOSTO                             SASSER, EDDIE
ADDRESS ON FILE                         ADDRESS ON FILE                         416 PAL ST
                                                                                GREENVILLE, AL 36037
SATCOM GLOBAL INC      Case 20-10766-BLS
                                     SATCOMDoc    6 INC
                                              GLOBAL  Filed 04/07/20   Page 1562 ofGLOBAL
                                                                            SATCOM  1969 LTD
1 TARA BOULEVARD SUITE 301           3130 N ARIZONA AVE, STE 105            325 E ELLIOT RD SUITE 25
NASHUA, NH 03062                     CHANDLER, AZ 85225                     CHANDLER, AZ 85225




SATELLITE SPORTS CONNECTION           SATHER, KELLY                         SATIN STITCH INC
1100 CABINVIEW CT                     221 CHAMPS AVE                        960 WILSON ST
CHESTERFIELD, MO 63017                EVANSTON, WY 82930                    EUGENE, OR 97402




SATTERFIELD, ANGELA                   SATTERFIELD, GENE E.                  SATTERLY, ROCKY G.
PO BX 1092                            329 MCCOLLUM DR                       2225 SOLITUDE ROAD
MCCAYSVILLE, GA 30555                 FORREST CITY, AR 72335                ALBERTVILLE, AL 35950




SATTERTHWAITE, GAYLEE                 SATTERTHWAITE,COURTNEY                SATTLER, CHANDRA A.
894 WRANGLERS RIDGE                   P.O. BOX 334                          ADDRESS ON FILE
MESQUITE, NV 89034                    RANDOLPH, UT 84064




SATTLER, MAGEN D.                     SATUR, CERI                           SAUCEDA, DULCE
319 N 40TH ST                         2005 RUSHMORE DR                      509 N PINE ST
BELLEVILLE, IL 62226                  BARSTOW, CA 92311                     WAUKEGAN, IL 60085




SAUCEDO, LISSETTE                     SAUCEDO, REGINALDO S.                 SAUER, ANNE T.
1513 WHEELER DR. APT. 25              10626 S EWING AVE                     2143 LINDSEY RD
SALINAS, CA 93906                     CHICAGO, IL 60617                     PARSONS, TN 38363




SAUERBRUNN, KAYLA R.                  SAUERHAGE, SONDRA K.                  SAUERHAGE, WHITNEY
ADDRESS ON FILE                       ADDRESS ON FILE                       2605 NORTHBRIDGE CT
                                                                            GRANITE CITY, IL 62040




SAUERLAND, REBECCA                    SAUERWEIN, KASEY R.                   SAUGER, MELISSA
236 CROSS CREEK LANE                  168 TAFT ST                           907 ARTHUR RD
LINDENHURST, IL 60046                 MARISSA, IL 62257                     MONTOURSVILLE, PA 17754




SAUL EWING ARNSTEIN & LEHR LLP        SAUL EWING ARNSTEIN & LEHR LLP        SAUL RYANN
161 N. CLARK SUITE 4200               CENTRE SQUARE WEST                    3319 HERSHISER CT
ATTN: ACCOUNTS RECEIVABLE             1500 MARKET ST - 38TH FLR             EDWARDSVILLE, IL 62025
CHICAGO, IL 60601                     PHILADELPHIA, PA 19102-2186




SAUL, RICKI                           SAUL-COLLINS, ELIZABETH               SAULPAUGH, TIM
933 S WEST ST                         ADDRESS ON FILE                       702 S CACTUS BOX 3
GALESBURG, IL 61401                                                         ALPINE, TX 79830
SAULPAUGH, TIMOTHY T.   Case 20-10766-BLS   Doc DEANNA
                                      SAULSGIVER, 6 Filed 04/07/20    Page 1563 of 1969
                                                                           SAUNDERS CO-OIL EQUIP DIV
ADDRESS ON FILE                        1037 ANDREW AVE NE                   NOAH D. PERKINS
                                       MASSILLON, OH 44646-5880             P.O. BOX 1787
                                                                            BIG SPRING, TX 79721-1787




SAUNDERS EDITH                         SAUNDERS HOSPITAL                    SAUNDERS, DANIEL
3511 PORTSMOUTH DR                     C/O LINDA CASPER                     5901 LONGBROOK ST SW
ZION, IL 60099                         619 W WOODS ST                       MASSILLON, OH 44646
                                       AVON, IL 61415




SAUNDERS, ELIZABETH                    SAUNDERS, ERIC                       SAUNDERS, JENNIFER R.
492 KNOX CHAPEL RD                     3417 N MIDLAND DR APT 210            4230 LAKE HEIGHTS RD NW
SOCIAL CIRCLE, GA 30025-4601           MIDLAND, TX 79707                    CANTON, OH 44708




SAUNDERS, JOEL E.                      SAUNDERS, MARGARET R.                SAUNDERS, MELISSA
202 MARION LANE                        ADDRESS ON FILE                      P.O. BOX 732
EUGENE, OR 97404                                                            LYMAN, WY 82937




SAUNDERS, PAULA G.                     SAUNDERS, TREAH                      SAUTMAN, MATTHEW
ADDRESS ON FILE                        P.O. BOX 3222                        102 WHITSELL WAY
                                       FORREST CITY, AR 72335               APT 102
                                                                            GRANITE CITY, IL 62040




SAVAGE CANDACE J                       SAVAGE, ARTHUR                       SAVAGE, JUDY
177 MAIN STREET                        4126 N MT ZION RD                    124 SPRANKLE ST NE
COPPERHILL, TN 37317                   HONORAVILLE, AL 36042                NAVARRE, OH 44662




SAVAGE, NICOLE H.                      SAVANNAH HEARD                       SAVANNAH JORDAN
ADDRESS ON FILE                        ADDRESS ON FILE                      421 SOUTHERN HILLS DR
                                                                            MONROE, GA 30655-5599




SAVARD, PATRICIA                       SAVE THE KIDS FOUNDATION INC         SAVNAC CANVAS & SIGN CO
1010 LONGWOOD RD                       P.O. BOX 921                         P.O. BOX 8
MADISON, GA 30650                      PLEASANT GROVE, UT 84062             ROBBINSVILLE, NC 28771




SAWARS NEUROLOGICAL INSTITUTE, P.C.    SAWICKI, MICHAEL E.                  SAWYER PAMELA K
P.O. BOX 2227                          400 E. FLORIDA ST. APT. 2            15 MOTOR SPORT DR
CARBONDALE, IL 62902                   DEMING, NM 88030                     BLAIRSVILLE, GA 30512




SAWYER, ABRIELLE                       SAWYER, AIMEE R.                     SAWYER, CATRINA R.
7552 W 63RD PL                         ADDRESS ON FILE                      1336 CHURCH AVE
SUMMIT, IL 60501                                                            RAINSVILLE, AL 35986
SAWYER, CINDY L.        Case 20-10766-BLS  Doc
                                      SAWYER,    6 Filed
                                              DOUGLAS M. 04/07/20          Page 1564 of EDERLINDA
                                                                                SAWYER,  1969     L.
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




SAWYER, JAMES F.                         SAWYER, JERI K.                         SAWYER, KRISTEN G.
ADDRESS ON FILE                          4 DOGWOOD ESTATES                       ADDRESS ON FILE
                                         GLEN CARBON, IL 62034




SAWYER, ROY                              SAWYER, TIFFANY                         SAWYER, TREVOR
194 DEWEYS PIER RD                       37453 PEARL RD                          2808 CHERRY ST
COLUMBIA, NC 27925                       LUCERNE VALLEY, CA 92356                MT. VERNON, IL 62864




SAWYER, WANDA R.                         SAWYERS, ALMARIE L.                     SAXEN, DR. RONALD
ADDRESS ON FILE                          ADDRESS ON FILE                         2400 WALES AVE NW
                                                                                 MASSILLON, OH 44646




SAXMAN, KARL A., M.D.                    SAXTON, CHERISE                         SAXTON, MARK I.
ADDRESS ON FILE                          P.O. BOX 53                             1254 E PIONEER RD
                                         ROBERTSON, WY 82944                     DRAPER, UT 84020




SAYAGO DE ARAMBURU, MARIA DE LAS M.      SAYBAN, DEEANN M.                       SAYE, SHELBEY R.
ADDRESS ON FILE                          P.O. BOX 163                            841 NEWPORT BAY DR
                                         MENLO, GA 30731                         EDWARDSVILLE, IL 62025




SAYGER, KIMBERLEY R.                     SAYLES CATHELINE R                      SAYLOR, JANE E.
ADDRESS ON FILE                          1620 EAST GROVER AVE                    ADDRESS ON FILE
                                         COTTAGE GROVE, OR 97424




SAYLOR, MARSHA                           SAYRE, REBECCA S.                       SAZON, ARA TOSCA M.
ARBITRATOR AND MEDIATOR                  41249 NATIONAL TRAILS HIGHWAY           1944 MADISON AVE
4111 E. MADISON ST 22                    DAGGETT, CA 92327                       GURNEE, IL 60031
SEATTLE, WA 98112




SBC TAX COLLECTOR                        SBEIH M.D., MOHD A.                     SBLI USA LIFE INS.
268 WEST HOSPITALITY LANE, FIRST FLOOR   ADDRESS ON FILE                         ATTN: REFUNDS
SAN BERNARDINO, CA 92415-0360                                                    P.O. BOX 10854
                                                                                 CLEARWATER, FL 33757-8854




SC AFFILIATES, LLC                       SC DEPARTMENT OF HEALTH & HUMAN         SCA HOLDCO INC
569 BROOKWOOD VILLAGE, SUITE 901         SERVICES                                9900 BREN ROAD EAST
BIRMINGHAM, AL 35209                     P.O. BOX 8355                           MINNETONKA, MN 55343
                                         COLUMBIA, SC 29202-8355
SCA HOLDCO INC         Case 20-10766-BLS    Doc 6 FiledLLC
                                     SCA PHARMACEUTICALS,   04/07/20   Page 1565
                                                                            SCADU of 1969
SURGICAL CARE AFFILIATES LLC         P.O. BOX 896546                        STATE COLLECTION & DISTR
569 BROOKWOOD VILLAGE - STE 109      CHARLOTTE, NC 28289-6546               P.O. BOX 98950
BIRMINGHAM, AL 35209                                                        LAS VEGAS, NV 89193-8950




SCA-EUGENE, INC.                      SCAGGS, CAROLE A.                     SCAI HOLDINGS, LLC
569 BROOKWOOD VILLAGE, SUITE 901      ADDRESS ON FILE                       9900 BREN ROAD EAST
BIRMINGHAM, AL 35209                                                        MINNETONKA, MN 55343




SCAIFE, VICKIE M.                     SCALES, MARGY                         SCALES, STEPHEN
12829 S RACINE AVE                    32 LAGRIMAS RD NE                     32 LAGRIMAS RD NE
CALUMET PARK, IL 60827                DEMING, NM 88030                      DEMING, NM 88030




SCALES, TASHEKA A.                    SCANLAN INTERNATIONAL                 SCANLAN INTERNATIONAL
15227 SUNSET DR                       ONE SCANLAN PLAZA                     ONE SCANLAN PLAZA
DOLTON, IL 60419                      ST PAUL, MN 55107-1681                ST PAUL, MS 55107-1681




SCANLON, AMY M.                       SCANTRON CORP                         SCAPARDINE, JOSEPH
ADDRESS ON FILE                       P O BOX 93038                         14008 WATERBERRY DR
                                      CHICAGO, IL 60673-3038                APT 1206
                                                                            CRESTWOOD, IL 60418




SCARBALIS, JANICE                     SCARBERRY, MARCY D.                   SCARBOROUGH, SHERREL
925 GEORGE AVE                        ADDRESS ON FILE                       123 SKYLINE DR
WAUKEGAN, IL 60085                                                          EVANSTON, WY 82930-5428




SCARBRAUGH, MATTIE P.                 SCARBROUGH, REBECCA                   SCARDINA, STEPHANIE
1905 MILL POND RD                     344 HERMOSA WAY                       10926 S. RIDGELAND AVE
JAMESVILLE, NC 27846                  MESQUITE, NV 89027                    WORTH, IL 60482




SCASSA, LOUISE                        SCATES MARY A                         SCATES, DANA
656 MUSKINGUM AVE NW                  1135 WILDERSVILLE TIMBERL             1141 TIMBERLAKE WILDERSVILLE RD
BREWSTER, OH 44613                    LEXINGTON, TN 38351                   LEXINGTON, TN 38351




SCATTONE, MARSHA                      SCATURRO, GINA L.                     SCATURRO, GINA L.
401 S. DOUGLAS ST                     ADDRESS ON FILE                       ADDRESS ON FILE
MCLEANSBORO, IL 62859-1570




SCENIC MOUNTAIN ANESTHESIA            SCENIC MOUNTAIN ANESTHESIA            SCENIC MOUNTAIN AUXILLARY
SERVICES - VALENZUELA                 P.O. BOX 1612                         1601 W 11TH PLACE
P.O. BOX 1547                         SEDALIA, MO 65302                     BIG SPRING, TX 79720
SEDALIA, MO 65302-1547
                      Case
SCENIC MOUNTAIN MEDICAL     20-10766-BLS
                        CENTER               Doc CORPORATION
                                     SCG CAPITAL  6 Filed 04/07/20   Page 1566  of 1969
                                                                          SCG CAPITAL CORPORATION
ENTITY 0135                          251 LITTLE FALLS DR                   7 W PARK PLACE
1601 WEST 11TH PLACE                 WILMINGTON, DE 19808                  STAMFORD, CT 06901
BIG SPRING, TX 79720




SCG CAPITAL CORPORATION              SCG CAPITAL CORPORATION               SCHAACK, DAVID
74 W PARK PL                         74 WEST PARK PLACE                    15163 LAGUNA SECA DR
STAMFORD, CT 06901                   STAMFORD, CT 06901                    APPLE VALLEY, CA 92307




SCHAAF, BARBARA LOUISE               SCHAAKE, GAY N.                       SCHAAKE, MYRON
953 SOUTH U ST                       1432 ESIC DR                          7130 KENNEDY DR
COTTAGE GROVE, OR 97424              EDWARDSVILLE, IL 62025                MORO, IL 62067




SCHAAR, SAMANTHA                     SCHABLOWSKY, MARY E.                  SCHACTNER NORBERT M
817 GENEVA ST SW                     3954 CREEK NATION BLACKTO             246 E DAYTON ST
SUGARCREEK, OH 44681                 MULKEYTOWN, IL 62865                  GALESBURG, IL 61401




SCHACTNER, NORBERT M.                SCHAEFER, BEATRICE                    SCHAEFER, BRITTANY R.
246 E DAYTON ST                      515 LOCUST                            5160 S FORK RD
GALESBURG, IL 61401                  RED BUD, IL 62278                     PRAIRIE DU ROCHER, IL 62277




SCHAEFER, NATHANIEL J.               SCHAEFER, PATTI L.                    SCHAEFER, RICHARD B.
ADDRESS ON FILE                      ADDRESS ON FILE                       90 JACOB ST
                                                                           P.O. BOX 124
                                                                           WOLF LAKE, IL 62998




SCHAEFER, RONALD                     SCHAEFER, THOMAS                      SCHAEFER, TYLER
1062 MANCHESTER AVE SW               ADDRESS ON FILE                       305 PATHWAY DR.
NORTH LAWRENCE, OH 44666                                                   LAKE VILLA, IL 60046




SCHAEFFER, TRAVIS                    SCHAER, JYL K.                        SCHAERER MEDICAL USA, INC
13885 MADISON RD                     14199 ORRVILLE ST NW                  675 WILMER AVE
NASHVILLE, IL 62263                  NORTH LAWRENCE, OH 44666              CINCINNATI, OH 45226




SCHAFER, JASON                       SCHAFER, JONATHAN D.                  SCHAFER, SONJA
5560 PRANZ PL                        1200 N GARFIELD ST APT 422            P.O. BOX 846
EUGENE, OR 97402                     ARLINGTON, VA 22201                   MARVELL, AR 72366




SCHAFER, WENDY L.                    SCHAFFNER, REBEKAH                    SCHALK, RAYMOND E.
2470 PHEASANT BLVD 10                ADDRESS ON FILE                       2630 N DELANY RD APT 105
SPRINGFIELD, OR 97477                                                      WAUKEGAN, IL 60087
SCHALLER SUSAN M        Case 20-10766-BLS    Doc
                                      SCHALMO,     6 Filed
                                                BRENDA M.  04/07/20   Page 1567 of 1969
                                                                           SCHANTHAL, KRISTEN E.
13604 PHEASANT CIR                    550 27TH ST NW                        ADDRESS ON FILE
HOMER GLEN, IL 60491-9483             MASSILLON, OH 44647




SCHANUEL, VICTORIA A.                SCHANZ, SARA R.                        SCHARDAN ANGELA L
1476 MANCHESTER DR                   ADDRESS ON FILE                        505 BIRCH LN
SHILOH, IL 62269                                                            MARYVILLE, IL 62062




SCHARF, MARION                       SCHARON, ROSEANNE                      SCHARTIGER, DOROTHY
C/O CHERYL MUETH                     9212 DRAYTON LN                        1280 CHERRY RD
21 JOTHAM CT                         FT MILL, SC 29707-5850                 APT 319
MILLSTADT, IL 62260                                                         MASSILLON, OH 44647




SCHARTIGER, MARILYN                  SCHARVER, ROBERT C.                    SCHATTAUER, PAUL C.
337 SANDY AVE NE                     122 GLICK ST NW                        323 S SCOVILLE AVE
MASSILLON, OH 44646                  BREWSTER, OH 44613                     OAK PARK, IL 60302




SCHAUFELBERGER JAMES                 SCHAUFELBERGER, ALICE K.               SCHECK & SIRESS PROSTHETICS, INC
240 GAINES CIR                       ADDRESS ON FILE                        1 S 376 SUMMIT AVE
CROSSVILLE, AL 35962-0156                                                   COURT E
                                                                            OAKBROOK TERRACE, IL 60181




SCHEDULING.COM                       SCHEDULING.COM, INC                    SCHEDULING.COM, INC
P.O. BOX 123680                      DEPT 3680                              DEPT 3680
DEPT: 3680                           P.O. BOX 123680                        P.O. BOX 123680
DALLAS,, TX 75312-3680               DALLAS, TX 75312-3680                  DALLAS,, TX 75312-3680




SCHEE SIX                            SCHEER SURGICAL S.C.                   SCHEER, MICHAEL
3183 POWDER RIVER DRIVE              20 TOWER COURT STE A                   ADDRESS ON FILE
EUGENE, OR 97408                     GURNEE, IL 60031




SCHEFFEL, JAMES                      SCHEFFER, JULIE A.                     SCHEFFERT, DONNA
202 CENTRAL AVE                      ADDRESS ON FILE                        ADDRESS ON FILE
COLLINSVILLE, IL 62234




SCHEIBAL, VELMA                      SCHEIBE ROBERT S                       SCHEIBE, CATHY
25 HALLECK AVE                       4326 LEVEE ROAD                        3389 FREDERICKSBURG RD
EDWARDSVILLE, IL 62025-1882          VALMEYER, IL 62295                     WOOSTER, OH 44691




SCHEIBEL, CRAIG                      SCHEIBEL, NICHOLAS                     SCHEIDERER, EMIL
P.O. BOX 336                         119 STONEBRIAR DR                      1847 ELM RD
NEW ATHENS, IL 62264                 TROY, IL 62294                         ROE, AR 72134
SCHEIDT, KENZIE A.       Case 20-10766-BLS   Doc 6ANN Filed
                                       SCHELLBERG,    K.    04/07/20   Page 1568  of 1969 ALISON K.
                                                                            SCHELLHAMMER,
ADDRESS ON FILE                         7098 PONTEBERRY ST                   ADDRESS ON FILE
                                        CANTON, OH 44718




SCHEMBECHLER, RICHARD                   SCHEMMER, VIRGINIA                   SCHEMPP, TYLER
1086 PERKINS TER                        5305 HAZEL RD                        2226 STATE ST
MEMPHIS, TN 38117-5506                  EDWARDSVILLE, IL 62025               GRANITE CITY, IL 62040




SCHENCK, RUSSELL R.                     SCHENK JR, WILLIAM                   SCHEPERGERDES, STEPHAN M., M.D.
ADDRESS ON FILE                         1417 WHITTIER DR                     ADDRESS ON FILE
                                        DEMING, NM 88030




SCHERER M.D., MICHAEL A.                SCHERER MARY C                       SCHERER, MERANDA
ADDRESS ON FILE                         386 WOODSONG RD                      7018 GOSHEN RD
                                        BLUE RIDGE, GA 30513                 EDWARDSVILLE, IL 62025




SCHERER, MICHAEL DPM                    SCHERER, PAUL MD                     SCHERLE, JOSHUA J.
ADDRESS ON FILE                         ADDRESS ON FILE                      129 ROOSEVELT
                                                                             WATERLOO, IL 62298




SCHERLE, ROBERT                         SCHEVE, LYNNE ANN                    SCHICK, DENNIS
5032 PONTIAC LANE                       520 ENGLISH LANE                     924 BONNIE LANE
EVANSVILLE, IL 62242                    WINTHROP HARBOR, IL 60096            PEOTONE, IL 60468




SCHICKINGER, MARTHA                     SCHIED, PETER J.                     SCHIED, PETER
2017 CONNIE LANE                        11040 S. HARDING                     6819 LINDEN DR
BLUE RIDGE, GA 30513                    CHICAGO, IL 60655                    PALOS HEIGHTS, IL 60463




SCHIEFER, CHARLES W.                    SCHIEFFER, SHARON S.                 SCHIEFFER, SHARON
10144 TOWNSEND ROAD                     ADDRESS ON FILE                      ADDRESS ON FILE
LEBANON, IL 62254




SCHIENSCHANG, SHIRLEY A.                SCHIERER, CHELSEY M.                 SCHIERER, GREGORY
5363 CHAIN OF ROCKS RD                  2321 W. MINERS DR.                   ADDRESS ON FILE
EDWARDSVILLE, IL 62025                  DUNLAP, IL 61525




SCHIERHOFF, JULIA A.                    SCHIFFERDECKER, JAMES                SCHILHAB, CATHERINE
ADDRESS ON FILE                         388 SPRING LAKE ROAD                 1308 TIPTON RD W
                                        MILLSTADT, IL 62260                  VICTORIA, TX 77905
SCHILLER HARDWARE     Case 20-10766-BLS    Doc
                                    SCHILLER,   6 Filed 04/07/20
                                              JOSEPH               Page 1569   of 1969
                                                                        SCHILLING, BROOKE R.
11525 BLANKENBAKER ACCESS DRIVE     2732 FULMER ST NW                    ADDRESS ON FILE
LOUISVILLE, KY 40299                MASSILLON, OH 44647




SCHILLING, CASSIE D.                SCHILLING, EMILEE                    SCHILLING, HEATHER M.
ADDRESS ON FILE                     ADDRESS ON FILE                      ADDRESS ON FILE




SCHILLING, JENNA M.                 SCHILLING, KATHRYN                   SCHILLING, MALLORY M.
7621 NEBO RD                        7782 OTTEN ROAD                      4834 W MARGARET ST
EVANSVILLE, IL 62242                EVANSVILLE, IL 62242                 MONEE, IL 60449




SCHILOUSKY, BRADY                   SCHIMANSKI, RACHEL A.                SCHINDLER, CARRIE L.
ADDRESS ON FILE                     ADDRESS ON FILE                      180 SFC 219
                                                                         FORREST CITY, AR 72335




SCHINDLER, RANDY                    SCHIPPER, MORGAN                     SCHIRACK, EDWARD T.
336 VENTURA AVE                     2424 PERSIMMON WOOD DR               14786 WARWICK DRIVE NW
EUGENE, OR 97405                    BELLEVILLE, IL 62221                 CANAL FULTON, OH 44614




SCHIRMER, SANDRA                    SCHISLER, NEIL                       SCHLAIKJER, CHRISTINA L.
1240 RISDEN PLACE                   219 W MAIN ST                        14 ROCK CHURCH DRIVE
EUGENE, OR 97404                    KNOXVILLE, IL 61448                  O FALLON, MO 63368




SCHLAKE, KATHY A.                   SCHLATTER, SARAH J.                  SCHLAU, DOROTHY J.
1268 N KELLOGG ST                   ADDRESS ON FILE                      ADDRESS ON FILE
GALESBURG, IL 61401




SCHLEAPPI, CYNTHIA                  SCHLEGEL, JOHN, JR.                  SCHLEGEL, RENA R.
1601 PLYMOUTH KNOLL                 257 NATCHEZ TRACE DR                 1995 OLD STATE RT 76
MASSILLON, OH 44646                 LEXINGTON, TN 38351                  MCKENZIE, TN 38201




SCHLEMMER, TIFFANY B.               SCHLENDER, MARK FREDRIC              SCHLESINGER KARLA J
101 DEBRA LN APT. 15                602 N 68TH PLACE                     420 CIRCLE DR
WATERLOO, IL 62298                  SPRINGFIELD, OR 97478                PRAIRIE DU ROCHER, IL 62277




SCHLEY, AARON                       SCHLICHTER, MARK                     SCHLICHTING, HOWARD
8600 HIGH MILL AVE NW               225 CRESTVIEW DR UNIT D              ADDRESS ON FILE
CANAL FULTON, OH 44614-8842         WAUCONDA, IL 60084
SCHLITZ, KACY             Case 20-10766-BLS   Doc 6L. KRISTEN
                                        SCHLOEMANN,    Filed 04/07/20   Page 1570 of 1969
                                                                             SCHLOEMANN, LISA K.
288 4TH STREET                           400 INSIGNIA DRIVE                   ADDRESS ON FILE
MOUNT OLIVE, IL 62069                    HERRIN, IL 62948




SCHLOER, ANGELA K.                       SCHLOSSER, SONIA L.                  SCHLOSSER, SONIA L.
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




SCHLOSSER, VANESSA                       SCHLOTTER, CARRIE L.                 SCHLUND, KATELYNN
38703 N. SHERIDAN RD 92                  520 VAN ZANT ST                      147 W 400 N
BEACH PARK, IL 60099                     CHESTER, IL 62233                    TOOELE, UT 84074




SCHLUTER RAY G                           SCHLUTER, KELLI                      SCHMEINK, JOHN P.
1740 CYPRESS ROAD                        301 ORANGE ST                        ADDRESS ON FILE
DONGOLA, IL 62926                        ANNA, IL 62906




SCHMELZEL, JEFFREY                       SCHMERSAHL, KIMBERLY G.              SCHMESKI, KELLY
8022 CHARLESTON                          ADDRESS ON FILE                      2064 SUTCLIFFE DRIVE
TROY, IL 62294                                                                ROMEOVILLE, IL 60446




SCHMID, DENA                             SCHMID, JAMI J.                      SCHMIDGALL, CHAD
7009 SEMINARY RIDGE CT                   242 UNION                            11501 N BALLYMORE AVE
EDWARDSVILLE, IL 62025                   GILLESPIE, IL 62033                  DUNLAP, IL 61525




SCHMIDT CHRISTOPHER R                    SCHMIDT JR., DONALD L.               SCHMIDT, ALICIA D.
6742 ROCKWELL RD                         ADDRESS ON FILE                      4331 MODOC RD
ALHAMBRA, IL 62001                                                            EVANSVILLE, IL 62242




SCHMIDT, ALICIA D.                       SCHMIDT, FRANCIS                     SCHMIDT, JOHN P. - ITV
ADDRESS ON FILE                          12424 GARNELL ST NW                  ADDRESS ON FILE
                                         MASSILLON, OH 44647




SCHMIDT, LAWRENCE P.                     SCHMIDT, LONNY H.                    SCHMIDT, LUCYANN
155 SONYA LANE                           928 ALECIA LN                        ADDRESS ON FILE
COPPERHILL, TN 37317                     WATERLOO, IL 62298-2259




SCHMIDT, LYNDA                           SCHMIDT, MIREYA                      SCHMIDT, RHONDA
364 CANDLESTICK WAY                      ADDRESS ON FILE                      6810 ALHAMBRA ROAD
AUGUSTA, GA 30907                                                             ALHAMBRA, IL 62001
SCHMIDT, SIERRA V.      Case 20-10766-BLS   Doc
                                      SCHMIEG,    6 A.Filed 04/07/20
                                               BECKY                   Page 1571  of CHERYL
                                                                            SCHMITT, 1969 A.
ADDRESS ON FILE                         ADDRESS ON FILE                     5 SAN FELIPE
                                                                            FT PIERCE, FL 34951-2814




SCHMITT, PAUL S.                        SCHMITT, ZACHARY D.                 SCHMITZ, TROY
265 CHIMNEY ROCK LN                     43 UPPER BLUFFS VIEW COURT          1205 CHATHAM COURT
EUGENE, OR 97404                        EUREKA, MO 63025                    LIBERTYVILLE, IL 60048




SCHMUNK, STEVEN PAUL                    SCHMUTZ, ANDREW D.                  SCHNEEDLE, EMIL
924 N 62ND STREET                       ADDRESS ON FILE                     907 HIGH ST
SPRINGFIELD, OR 97478                                                       FREDERICKTOWN, MO 63645




SCHNEIDER ELECTRIC IT USA, INC          SCHNEIDER SHERI L                   SCHNEIDER, BARBARA K.
5081 COLLECTIONS CENTER DR              2936 N MAIN ST                      ADDRESS ON FILE
CHICAGO, IL 60693-5081                  PRINEVILLE, OR 97754-0000




SCHNEIDER, BONNIE L.                    SCHNEIDER, CASSANDRA L.             SCHNEIDER, CHRIS
P.O. BOX 297                            ADDRESS ON FILE                     940 QUARRY RD
YERMO, CA 92398                                                             LITTLETON, CO 80124-9704




SCHNEIDER, CHRISTOPHER OR PAM           SCHNEIDER, DIANE                    SCHNEIDER, FRANCES A.
45 ARROW LEAF STREET                    329 BB ROAD                         6408 EDGE WATER DR
HIGHLAND, IL 62249                      COLUMBIA, IL 62236                  WATERLOO, IL 62298




SCHNEIDER, JENNIFER                     SCHNEIDER, KREG                     SCHNEIDER, MICHAEL C.
ADDRESS ON FILE                         9 WESTWOOD DR                       ADDRESS ON FILE
                                        MORO, IL 62067




SCHNEIDER, NICOLE                       SCHNEIDER, RAQUEL                   SCHNEIDER, TOBY
ADDRESS ON FILE                         650 ARBOR WAY                       1433 WOODBINE DR
                                        BARSTOW, CA 92311                   ROUND LAKE BEACH, IL 60073




SCHNEIDER, VICTORIA LENI                SCHNEIDEWIND, DAVID                 SCHNEPEL, GINGER K.
99 WEST 52ND AVE                        22 OAK LEAF DR                      ADDRESS ON FILE
EUGENE, OR 97405                        MARYVILLE, IL 62062




SCHNITKER, KRISTINE                     SCHNOEKER, DANIELLE                 SCHNOEKER, DANIELLE
326 E. MAPLE STREET                     ADDRESS ON FILE                     ADDRESS ON FILE
HOYLETON, IL 62803
SCHNUCKS                 Case 20-10766-BLS   Doc 6 AMANDA
                                       SCHOBLOCHER,  Filed L.04/07/20   Page 1572 of 1969
                                                                             SCHOEBER, HERMAN
3100 MADISON AVE                         ADDRESS ON FILE                     2522 WESTMORELAND DR
GRANITE CITY, IL 62040                                                       GRANITE CITY, IL 62040




SCHOENBECK, BAYLEE                       SCHOENBERG, DEBORAH K.              SCHOENBERG, KRISTIN R.
5638 E BURBANK RD                        ADDRESS ON FILE                     ADDRESS ON FILE
WOODLAWN, IL 62898




SCHOENBROD, JONATHAN C.                  SCHOENEBECK, TRACI                  SCHOENENBERG, MARK
719 FILMORE ST                           226 ARBOR MEADOWS CT                403 BASS DRIVE
MONTEREY, CA 93940                       FAIRVIEW HEIGHTS, IL 62208          TROY, IL 62294-1261




SCHOENEWALDT, NANCY M.                   SCHOENFELD SABRINA                  SCHOENFELDT SISSY
ADDRESS ON FILE                          6790 E SENACA ST                    P.O. BOX 1238
                                         INVERNESS, FL 34452                 ALPINE, TX 79831




SCHOENGARTH, MINDY A.                    SCHOEPPNER, LORI B.                 SCHOFIELD, MARY L.
P.O. BOX 333                             16052 LOUISVILLE STREET             1475 KENYON AVE SW
MOUNTAIN VIEW, WY 82939                  HOMEWORTH, OH 44634                 MASSILLON, OH 44647




SCHOFIELD, MICHELLE                      SCHOFIELD, NELSON W.                SCHOFIELD, PATRICIA
4269 ANNADAKE CIRLCE                     2652 VICKERY RD                     604 FLOWERS ST
JONESBORO, AR 42404                      GREENVILLE, AL 36037-7022           GREENVILLE, AL 36037




SCHOKNECHT, JOAN                         SCHOLARSHIP GOLF OUTING             SCHOLTES, SHARON K.
3330 WINHAVEN DR                         113 HOLLY TERRACE                   78 COUNTY ROAD 519
WAUKEGAN, IL 60087                       ANNA, IL 62906                      CENTRE, AL 35960




SCHOLTZ IV, HARRY A.                     SCHOLTZ, HARRY                      SCHOLVIN, JODI A.
ADDRESS ON FILE                          ADDRESS ON FILE                     314 S FRONT ST
                                                                             SUNBURY, PA 17801-3042




SCHOLZ, WAYNE                            SCHOLZEN PRODUCTS CO INC            SCHON, EDEN RAE
4344 BENTON ELM DR                       P.O. BOX 628                        1509 MCOY DR
PLANO, TX 75024                          HURRICANE, UT 84737                 EDWARDSVILLE, IL 62025




SCHONE JR., ROBERT G.                    SCHOOL OUTFITTERS LLC               SCHOOL SISTERS OF NOTRE DAME
ADDRESS ON FILE                          P.O. BOX 638517                     320 E RIPA AVE
                                         CINCINNATI, OH 45212                ST LOUIS, MO 63125
SCHOOLCRAFT, ALEXIS       Case 20-10766-BLS  DocVERONICA
                                        SCHOOMBIE, 6 Filed 04/07/20   Page 1573 of 1969DONNA MARIE
                                                                           SCHOONHOVEN,
3893 EAGLE RIDGE DR                      270 N 200 W                       1425 T STREET
ELGIN, IL 60124                          TOOELE, UT 84074                  SPRINGFIELD, OR 97477




SCHOPEN JESSE                            SCHOPEN, MORGAN                   SCHOPPMAN COMPANY
240 NEW HOUSE LN                         305 VASSAR DR SE                  1995 NORTH PARK PLACE SE
ROUND LAKE PARK, IL 60046                ALBUQUERQUE, NM 87106             SUITE 250
                                                                           ATLANTA, GA 30339




SCHORN, JUSTIN P.                        SCHOTT, KATHLEEN                  SCHOUTEN, DAVID
1494 LEEWARD COURT                       151 TROY ROAD                     P.O. BOX 1002
GRAYSLAKE, IL 60030                      COLLINSVILLE, IL 62234            LOGANDALE, NV 89021-1002




SCHOUTEN, TAMMY                          SCHOWE, MELYNN                    SCHRACK, SANDRA
463 W 2440 S                             135 WEST LAKE DRIVE               32 WOODLAND DR
HURRICANE, UT 84737                      EDWARDSVILLE, IL 62025            LOCK HAVEN, PA 17745




SCHRADER ANGELA                          SCHRADER, ALISA                   SCHRADER, JASON M.
814 COUNTRY CLUB DR                      ADDRESS ON FILE                   2633 CANDLEWICK CT.
REDBUD, IL 62278                                                           MURFREESBORO, TN 37127




SCHRADER, MAY                            SCHRADERS TREE SERVICE            SCHRAGE, SERENA
4104 ST RT 154                           210 TURNER AVE NE                 236 WASH WILSON RD
PINCKNEYVILLE, IL 62274                  FORT PAYNE, AL 35967              BLUE RIDGE, GA 30513-2235




SCHRAM, ANDRIA                           SCHRAM, SARAH H. M.D.             SCHRAMM, MONICA Y.
6 STONEBROOKE                            ADDRESS ON FILE                   ADDRESS ON FILE
TROY, IL 62294




SCHREDER, FRANCIS A.PS                   SCHREDER, JILL E.                 SCHREIBER JASON
12 HENRY COURT                           ADDRESS ON FILE                   412 COPPER BEND RD
RUMA, IL 62278                                                             MARYVILLE, IL 62062




SCHREIBER LESLIE N                       SCHREIBER, AMY D                  SCHREIMAN, KATHERINE
11942 ANN ST                             90437 ALVADORE RD                 22045 W CALVIN DR
BLUE ISLAND, IL 60406                    JUNCTION CITY, OR 97448           ANTIOCH, IL 60002




SCHREINER, ALETA                         SCHREINER, ALEXIS M.              SCHRODER, LOREN D.
351 E MAIN ST                            ADDRESS ON FILE                   1810 SOUTH LINCOLN ST
APPLE CREEK, OH 44606                                                      HOLDREGE, NE 68949
SCHROEDER, ALICE D.       Case 20-10766-BLS   Doc DANIEL
                                        SCHROEDER, 6 Filed
                                                         C. 04/07/20   Page 1574 of 1969
                                                                            SCHROEDER, KATHERINE
ADDRESS ON FILE                          5478 OAKCREST DR                   505 ROLAND AVENUE
                                         IMPERIAL, MO 63052                 NEW BADEN, IL 62265




SCHROEDER, KATHLEEN M.                   SCHROEDER, REBECCA                 SCHROTH, WANDA
ADDRESS ON FILE                          2013 STATE ST.                     515 GUM CREEK RD.
                                         ALTON, IL 62002                    OXFORD, GA 30054




SCHUBAUER, LYLE                          SCHUBEL, JESSICA                   SCHUBERT, ANDREW E
2350 MADISON AVE UNIT 103                1754 SPRUCE STREET                 6593 SKYLARK ROAD
GRANITE CITY, IL 62040                   GRANITE CITY, IL 62040             TAMAROA, IL 62888




SCHUCHARDT, BLAKE                        SCHUCHARDT, LEWIS                  SCHUCHARDT, NORRIS A
ADDRESS ON FILE                          8279 GALL ROAD                     596 ST HWY 145 N
                                         WATERLOO, IL 62298                 SIMPSON, IL 62985




SCHUCHMANN, EARL                         SCHUELKE, JENNA                    SCHUELLER, FAITH M.
5269 WHITE OAK DRIVE                     4926 DRIFTWOOD DR                  ADDRESS ON FILE
C/O KENT SCHUCHMAN                       PONTOON BEACH, IL 62040
SMITHTON, IL 62285




SCHUERCH CORPORATION                     SCHUERMANN, ROSE                   SCHUERR, TIMOTHY
DBA SCHUREMED                            ADDRESS ON FILE                    308 E MAIN ST
452 RANDOLPH ST                                                             SMITHVILLE, OH 44677-9554
ABINGTON, MA 02351-1170




SCHUETZ MEGAN E                          SCHUETZ, KEESHA                    SCHUETZ, LYNN
3229 EZRA AVE                            830 GORE CANYON LOOP               10959 CEDAR GROCE RD.
ZION, IL 60099                           GOREVILLE, IL 62939                MARION, IL 62959




SCHULER, BRADLEY E.                      SCHULER, MELISSA                   SCHULER-FAUST, CHERYL
423 BOB WOOD DR                          1205 SURREY COURT APT 4            8525 STATE RT 143
LOGANVILLE, GA 30052                     GODFREY, IL 62035                  EDWARDSVILLE, IL 62025




SCHULMEISTER ANGELA M                    SCHULT, DAVID                      SCHULTE, LEA
907 WEST MILLER DRIVE                    15578 LINCOLN WAY W                4517 N REARDON LANE
STAUNTON, IL 62088                       DALTON, OH 44618-9537              BONNIE, IL 62816




SCHULTE, LORAN E.                        SCHULTE, LORAN E.                  SCHULTE, LORAN
4517 N REARDON LANE                      ADDRESS ON FILE                    ADDRESS ON FILE
BONNIE, IL 62816
SCHULTE, SHARON          Case 20-10766-BLS   Doc CARRIE
                                       SCHULTHEIS, 6 Filed 04/07/20   Page 1575 of 1969
                                                                           SCHULTHEIS, KAREN
P.O. BOX 94                             4001 SEQUOIA DR                     2364 KASKASKIA RD
WILMOT, OH 44689                        EDWARDSVILLE, IL 62025              FULTS, IL 62244




SCHULTHES, SALLIE                       SCHULTHESS JACKIE                   SCHULTHIES, LAURA
10153 E IL RTE 116                      301 S REED LN                       P.O. BOX 841
LONDON MILLS, IL 61544                  P.O. BOX 194                        LOGANDALE, NV 89021
                                        WOODRUFF, UT 84086




SCHULTZ CATHY A                         SCHULTZ VICTORIA A                  SCHULTZ, ASHLYN B.
3337 RED BUD AVENUE                     7434 BLUE POND BLVD E               3390 FRIENDSHIP CHURCH RD
GRANITE CITY, IL 62040                  FORT PAYNE, AL 35967                DONGOLA, IL 62926




SCHULTZ, BEVERLY A.                     SCHULTZ, COREY L                    SCHULTZ, GLENDA LEE
25188 W. COLUMBIA BAY DRIVE             19521 HIGHWAY 126                   903 COUNTY RD 332
LAKE VILLA, IL 60046                    WALTON, OR 97490                    PISGAH, AL 35765




SCHULTZ, HILARY E.                      SCHULTZ, HILARY E.                  SCHULTZ, JAMIE
1060 PEMBRIDGE RD                       1060 PEMBRIDGE RD                   P.O. BOX 1433
LAKE ZURICH, IL 60047                   LAKE ZURICH, IL 60097               LOGANDALE, NV 89021




SCHULTZ, JILLIAN                        SCHULTZ, JOSEPH A                   SCHULTZ, MELISSA
397 GARDENER RD                         7928 TRINITY CIRCLE U3NW            12 S PINE LN
MONROEVILLE, AL 36460                   TINLEY PARK, IL 60487               GLENWOOD, IL 60425




SCHULTZ, STACEY                         SCHULZ KAREN                        SCHULZ, KYLE
2006 MARHOFER AVE.                      431 18TH AVE N.W.                   1607 AMOS CT
STOW, OH 44224                          NAPLES, FL 34120                    GRANITE CITY, IL 62040




SCHULZE, RICHARD D.                     SCHULZMADLOCK, DIANNA               SCHUMACHER, AMBER
P.O. BOX 1465                           3070 LONGWOOD DR                    ADDRESS ON FILE
SNYDER, TX 79550                        REEDSPORT, OR 97467




SCHUMACHER, DEBORAH L.                  SCHUMACHER, RICK J.                 SCHUMACHER, RUTH E.
ADDRESS ON FILE                         ADDRESS ON FILE                     810 LAURI JO LN SW
                                                                            MASSILLON, OH 44647




SCHUMANN, MAURINE R.                    SCHUMER, VICKI M.                   SCHUNEMAN, ANDREA
192 SAN MARINO WAY                      ADDRESS ON FILE                     2621 PERSIMMON PLACE
MESQUITE, NV 89027                                                          BLOOMINGTON, IL 61701
SCHUREMED               Case 20-10766-BLS   Doc
                                      SCHURER,   6 Filed 04/07/20
                                               SYDNEE                Page 1576 of 1969
                                                                          SCHUSSELE, SHELLY K.
452 RANDOLPH ST                        ADDRESS ON FILE                     2168 GRAND ST
ABINGTON, MA 02351                                                         NOLENSVILLE, TN 37135




SCHUSTER, RAY DEAN                     SCHUTT JOAN L                       SCHWAB, DARLA E.
P.O. BOX 91                            11554 S RIDGELAND AVE               3199 MIDAY AVE
SORENTO, IL 62086                      WORTH, IL 60482                     LOUISVILLE, OH 44641




SCHWALM, DAWN M.                       SCHWANDER, LYNN                     SCHWANTZ, JACLYN
145 WASHINGTON BLVD                    603 CRAWFORD ST                     ADDRESS ON FILE
CENTRALIA, IL 62801                    COLLINSVILLE, IL 62234-2521




SCHWANTZ, MICHAEL A.                   SCHWARTZ KIMBERLY A                 SCHWARTZ, JULIA
ADDRESS ON FILE                        ADDRESS ON FILE                     3129 JAMES AVE
                                                                           WINTHROP HARBOR, IL 60096




SCHWARTZ, KATHRYN S.                   SCHWARTZKOPF PRINTING INC.          SCHWARTZKOPF, FAYE
ADDRESS ON FILE                        4121 HUMBERT RD                     5575 MM ROAD
                                       ALTON, IL 62002                     RED BUD, IL 62278




SCHWARZ, EDWARD ROSS, M.D.             SCHWARZBACH, MEGHANN                SCHWARZINGER, CHERLYN
ADDRESS ON FILE                        221 ARNOLD AVE                      33969 N LAKE RD
                                       BEN LOMOND, CA 95005                GAGES LAKE, IL 60030




SCHWEBKE, SONJA E.                     SCHWEBKE, SONJA E.                  SCHWEGEL, SUSAN
5605 CONEFLOWER CT                     ADDRESS ON FILE                     3928 DOYLE ROAD
WOOD RIVER, IL 62095                                                       RED BUD, IL 62278




SCHWEICKERT, HEIDI A.                  SCHWEINHART, WILLIAM D.             SCHWEITZ, IRENE
ADDRESS ON FILE                        430 PRESTWICK COURT                 1735 JUNIPER AVE
                                       NASHVILLE, TN 37205                 COOS BAY, OR 97420-2020




SCHWEITZER, SCOTT                      SCHWERTFEGER, DANNETTE T.           SCHWICHOW, ROBERT
4626 FISCHER RD                        718 N HARPER ST                     5211 HICKORY LN
FULTS, IL 62244                        MARION, IL 62959                    MCHENRY, IL 60051




SCHWIERJOHN, BRANDY                    SCHWIND, DIANE M.                   SCHWIND, WILLIAM
11223 POPEYE RD                        125 MEREDITH LANE                   10205 W MANZANITA DR
BREESE, IL 62230-2431                  GLEN CARBON, IL 62034-3089          SUN CITY, AZ 85373
SCHWOERER, FRED A        Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       SCI DEPOSITORY                  Page 1577  of 1969
                                                                            SCI SOLUTIONS
700 E LINCOLN AVE                       ATTN: STAFFCARE INC. LOCKBOX        DEPT 3680
LIBERTYVILLE, IL 60048                  P.O. BOX 281923                     P.O. BOX 123680
                                        ATLANTA, GA 30384-1923              DALLAS, TX 75312-3680




SCIANNA, MARCI                          SCIBA, CHERYL K.                    SCIENTIFIC DEVICE LABORATORY INC
732 PARADISO CT                         ADDRESS ON FILE                     411 JARVIS AVENUE
SOQUEL, CA 95073-2347                                                       DES PLAINES, IL 60018




SCIENTIFIC LABORATORY DIVISION          SCI-FIT                             SCIO MANAGEMENT SOLUTIONS LLC
1101 CAMINO DE SALUD NE                 5151 S. 110TH E. AVE                P O BOX 11407
ALBUQUERQUE, NM 87102                   TLASA, OK 99243                     BIRMINGHAM, AL 35246-1611




SCOFIELD, TOSHA                         SCOGGIN, MAKAYLA M.                 SCOGGINS, CLAUDIA
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




SCOGGINS, JENNIFER                      SCOIGLETTI, ANN M                   SCOIGLETTI, ANN M.
1229 BIRCHWOOD DR                       5328 138TH ST                       5328 138 ST
MONMOUTH, IL 61462                      CRESTWOOD, IL 60445                 CRESTWOOD, IL 60418




SCOLES HERNANDEZ, BARBARA C.            SCOLES HERNANDEZ, BARBARA           SCOLES, CHARLES
ADDRESS ON FILE                         ADDRESS ON FILE                     439 RED CEDAR RD
                                                                            LAKE VILLA, IL 60046




SCONYERS, CAROL                         SCOPAZZI, KRISTINE                  SCOPPECHIO CREATIVE ALLIANCE
10203 KLENKE ROAD                       10340 NEW AVENUE                    400 WEST MARKET STREET SUITE 1400
ALHAMBRA, IL 62001                      GILROY, CA 95020                    LOUISVILLE, KY 40202




SCOTHORN BRENDA LEE                     SCOTT & SCOTT LLP                   SCOTT & WHITE MEMORIAL HOSPITAL
830 19TH ST                             550 RESERVE ST                      BAYLOR SCOTT & WHITE HEALTH
SPRINGFIELD, OR 97477                   STE 200                             2001 BRYAN ST - STE 2200
                                        SOUTHLAKE, TX 76092                 DALLAS, TX 75201




SCOTT A PARRY, MD PC                    SCOTT ALICIA                        SCOTT CARE
1490 E FOREMASTER DR                    11133 S WALLACE                     PNC BANK
STE 150                                 CHICAGO, IL 60628                   PO BOX 73790-N
ST GEORGE, UT 84790                                                         CLEVELAND, OH 44193




SCOTT COLWELL                           SCOTT DAIGLE                        SCOTT EMERICK M.D.
302 STOCKDALE LANE                      8244 HEATHER LANE                   ADDRESS ON FILE
ABINGDON, IL 61410                      WATERLOO, IL 62298
SCOTT EQUIPMENT, LLC Case 20-10766-BLS    Doc 6 GLENN
                                   SCOTT HAROLD      Filed 04/07/20   Page 1578
                                                                           SCOTT of 1969
                                                                                 HINZE
1477 US ROUTE 34                   142 CHAVIES ROAD                        2908 WELLINGTON DR
BIGGSVILLE, IL 61418-0000          RAINSVILLE, AL 35986                    CEDAR FALLS, IA 50613




SCOTT HOOVER                         SCOTT JACQULINE L                     SCOTT M BAKER
1416 MANCHESTER LN                   HRMC                                  621 E GUARDLOCK DR
MESQUITE, NV 89027                   HELENA, AR 72342                      LOCK HAVEN, PA 17745




SCOTT MAZE                           SCOTT MCCABE                          SCOTT TALLENT
775 SULLIVAN RD                      1395 BENSON ST SW                     135 S BAGLY AVENUE
GOREVILLE, IL 62939                  MASSILLON, OH 44647                   LOUISVILLE, KY 40206




SCOTT WEAVER                         SCOTT WILKINSON                       SCOTT, AMANDA
ADDRESS ON FILE                      6467 SONGBIRD CR NE                   18970 US HWY 64
                                     CANTON, OH 44721-3576                 WILLIAMSTON, NC 27892




SCOTT, ANGELA                        SCOTT, ARIEL                          SCOTT, ARTHUR C
ADDRESS ON FILE                      2609 WASSON RD APT 30                 7162 BLUE POND BLVD E
                                     BIG SPRING, TX 79720                  FORT PAYNE, AL 35968-6431




SCOTT, CHAD C.                       SCOTT, CHARLOTTE                      SCOTT, CYNTHIA S.
ADDRESS ON FILE                      346 ROYALTON RD                       ADDRESS ON FILE
                                     ELKVILLE, IL 62932-2300




SCOTT, DANYELL RENEE                 SCOTT, DAWNA                          SCOTT, DERRICK
2071 FIVE CENT RD                    ADDRESS ON FILE                       825 BOYLES RUN RD
WILLIAMSTON, NC 27892                                                      SUNBURY, PA 17801




SCOTT, DIANA                         SCOTT, DINA                           SCOTT, EDER
16333 COTTAGE GROVE AVE              1589 MARY TODD LANE                   1113 W MAIN ST
SOUTH HOLLAND, IL 60473              OFALLON, IL 62269                     COLLINSVILLE, IL 62234




SCOTT, EDWARD A                      SCOTT, ELLEN                          SCOTT, ELLIOTT
1072 CLAY HARRIS DR                  2555 FRIZZELL RD                      12570 SANDUSKY DR SW
WILLIAMSTON, NC 27892                LEXINGTON, TN 38351                   BEACH CITY, OH 44608




SCOTT, ELSIE V.                      SCOTT, ELSIE                          SCOTT, EMMA
2940 BROWNSVILLE RD                  P.O. BOX 845                          10603 S CHURCH ST
MOUNT VERNON, IL 62864               GLEASON, TN 38229                     CHICAGO, IL 60643
SCOTT, ERIC R.          Case 20-10766-BLS    Doc 6 L. Filed 04/07/20
                                      SCOTT, EUNICE                    Page 1579
                                                                            SCOTT,of 1969
                                                                                  GINA R.
ADDRESS ON FILE                         2600 HIGHWAY 118 NORTH              1801 44TH AVE
                                        ALPINE, TX 79830                    CAPITOLA, CA 95010




SCOTT, HEATHER C.                       SCOTT, HEATHER                      SCOTT, JACQUELINE L.
ADDRESS ON FILE                         11 MEMORIAL DR                      203 FAIRVIEW ST
                                        SMITHTON, IL 62285                  WEST HELENA, AR 72390




SCOTT, JACQUELINE M.                    SCOTT, JANNA                        SCOTT, JEANETTE
1154 OLD JACKSON RD                     125 EMERALD WAY WEST                ADDRESS ON FILE
LEXINGTON, TN 38351                     GRANITE CITY, IL 62040




SCOTT, JESSICA L.                       SCOTT, JESSICA                      SCOTT, JOHN GREGORY
302 S ORANGE ST                         ADDRESS ON FILE                     1490 ACACIA AVENUE
JONESBORO, IL 62952                                                         EUGENE, OR 97408




SCOTT, JUANTIA                          SCOTT, KAILEY M.                    SCOTT, KRISTINA E.
212 HAWKINSON AVE                       3730 W 97TH ST                      1200 E. GRAND AVE APT 9-4B
GALESBURG, IL 61401                     EVERGREEN PK, IL 60805-2936         CARBONDALE, IL 62901




SCOTT, KY L.                            SCOTT, LAWRENCE                     SCOTT, LISA K.
40 JASON DR                             81160 LOST CREEK ROAD               ADDRESS ON FILE
GLEN CARBON, IL 62034                   DEXTER, OR 97431




SCOTT, LORY E.                          SCOTT, MATTHEW                      SCOTT, NANCY A.
4752 BROOKWOOD ST                       345 N INDIANA AVE                   223 SCHAAR DRIVE
EUGENE, OR 97405                        SALEM, IL 62881                     DOVER, OH 44622




SCOTT, RAISTLYN L.                      SCOTT, RICKY K.                     SCOTT, RICKY K.
ADDRESS ON FILE                         ADDRESS ON FILE                     498 SYCAMORE LANE
                                                                            MCKENZIE, TN 38201




SCOTT, SAMANTHA                         SCOTT, SANDRA                       SCOTT, SEAN K
1075 SCOTT RD.                          ADDRESS ON FILE                     1000 BRIAN RD
LEXINGTON, TN 38351                                                         BIG SPRING, TX 79720-8079




SCOTT, SHERRY C.                        SCOTT, STACEY L.                    SCOTT, TAMIKA S.
P.O. BOX 485                            ADDRESS ON FILE                     26108 S RUBY STREET
ROBERSONVILLE, NC 27871                                                     MONEE, IL 60449
SCOTT, TIESHA            Case 20-10766-BLS    Doc 6
                                       SCOTT, TRESSA     Filed 04/07/20   Page 1580 of 1969
                                                                               SCOTTCARE CORPORATION
ADDRESS ON FILE                         1136 HOFFMANN ESTATE DR                C/O SCOTT FETZER, NATL CITY BANK
                                        COLUMBIA, IL 62236                     P.O. BOX 73790-N
                                                                               CLEVELAND, OH 44193-0363




SCOTT-GROSS COMPANY INC.                SCOTT-HENDERSON, DAPHNE                SCOTTS HILL HIGH SCHOOL
                                        536 NORTHRIDGE DR.                     7871 STATE ROUTE 100
                                        SCOTTS VALLEY, CA 95066                REAGAN, TN 38368




SCOTT-STACY, ASHLEY M.                  SCOTT-TOBIN, MARY E.                   SCOTTY PEELER, INC
66 MAGNOLIA DRIVE                       185 E NORTH ST                         1380 EAST AVE
BELLEVILLE, IL 62221                    BONNIE, IL 62816                       STE 124, PMB 308
                                                                               CHICO, CA 95926




SCOW, MATTHEW                           SCRIBE AMERICA LLC                     SCRIBEAMERICA LLC
335 E 740 N                             P O BOX 417756                         P.O. BOX 417756
TOOELE, UT 84074                        BOSTON, MA 02241-7756                  BOSTON, MA 02241-7756




SCROGGINS, ALLAN                        SCRUB-N-UP                             SCRUBS AND STUFF LLC
ADDRESS ON FILE                         12401 HESPERIA RD STE 2                105 PROSPECT AVE SUITE 102
                                        VICTORVILLE, CA 92395                  WEST HARTFORS, CT 06106




SCRUBS ON WHEELS                        SCRUGGS CYNTHIA                        SCRUGGS, LAURIE A.
1730 GATEWAY CT.                        973 COUNTY RD 197                      33 ROAD 941
ELKHART, IN 46514-0000                  FLAT ROCK, AL 35966                    FORT PAYNE, AL 35967




SCRUM, DIANE K.                         SCUDDER ERIN                           SCUDERA, ROSE M.
ADDRESS ON FILE                         503 SOUTH MAIN STREET                  ADDRESS ON FILE
                                        COLUMBIA, IL 62236




SCULLIN, ROBERT                         SCUTT, VIRGINIA                        SDS GROUP INC
17 EASY ST                              775 NEW HOPE RD                        P O BOX 969
SELINSGROVE, PA 17870                   BUNCOMBE, IL 62912                     LAKE VILLA, IL 60046




SEABERG, BRITTNEY R.                    SEABOLT, PATRICIA                      SEABORN, BRYAN
37548 LYONS WOODS CT.                   2995 HUMPHREY MILL RD                  37 KATIE LYNN CT
BEACH PARK, IL 60087                    MINERAL BLUFF, GA 30559                GLEN CARBON, IL 62034




SEAGRAVES, JANET K.                     SEAGRAVES, MELISSA K.                  SEALS, CHRIS D
ADDRESS ON FILE                         440 GREENUP RD                         768 E MAIN ST
                                        RACELAND, KY 41169                     GRANTSVILLE, UT 84029
SEAMEN, KATHRYN          Case 20-10766-BLS
                                       SEAN D Doc 6 Filed 04/07/20
                                              SAMUELS                    Page 1581  of 1969
                                                                              SEAN DILDAY
18 CHERRY TREE LANE                     3222 AMBER DR                         315 MIDLAND ST
GLEN CARBON, IL 62034                   AUGUSTA, GA 30906                     GLEASON, TN 38229




SEAN HILL                               SEARCY, KARLI                         SEARCY, MICHAEL
ADDRESS ON FILE                         662 BLUERIDGE DR                      12465 MEADOW LANE
                                        TOOELE, UT 84074                      APT 2
                                                                              BLUE ISLAND, IL 60406




SEARL, BETTY                            SEARLE, SHERI                         SEARS STEPHANIE M
1217 20TH AVE                           680 WILD HORSE CT                     2062 ADAMS STREET
SEATON, IL 61476                        GRANTSVILLE, UT 84029                 EUGENE, OR 97405




SEARS WENDI                             SEARS, ROBERT D.                      SEASAY, ABBAL J.
2407 N TEDY LANE                        1001 CAPITAN ST NW                    163 CRESTVIEW COURT
ROUND LAKE BEACH, IL 60073              LOS LUNAS, NM 87031                   WATSONVILLE, CA 95076




SEASONING, LLC                          SEASPINE SALES, LLC                   SEASTRUNK, CARRIETTA
506 PUBLIC SQUARE                       P.O. BOX 207146                       12725 RACINE
BENTON, IL 62812                        DALLAS, TX 75320-7146                 CALUMET PARK, IL 60827




SEASTRUNK, TAISHA                       SEATON, SCHERINA                      SEAY, PATSY D
12725 S RACINE AVE                      P.O. BOX 17289                        168 OLETA COURT D12
CALUMET PARK, IL 60827                  CHICAGO, IL 60617                     ELLIJAY, GA 30540




SEBASTIAN MARIA                         SEBASTIAN, MICHELLE                   SEBES MONICA
808 COUNTY RD 479                       1435 NO 380 E                         2800 NORTH PINE ST
ALBERTVILLE, AL 35951                   TOOELE, UT 84074                      WAUKEGAN, IL 60087




SEBIA, INC                              SECCER, COLE                          SECHRIST INDUSTRIES, INC
1705 CORPORATE DRIVE                    400 A AVENUE                          28598 NETWORK PLACE
SUITE 400                               FORREST CITY, AR 72335                CHICAGO, IL 60673-1285
NORCROSS, GA 30093




SECK, NANCY K.                          SECK, RITA                            SECKETA, DIANE
1401 MANCHESTER LANE                    P.O. BOX 910099                       25176 W NEWBERRY LN
MESQUITE, NV 89027                      ST GEORGE, UT 84791                   LAKE VILLA, IL 60046




SECOND BAPTIST CHURCH OF MT VERNON,     SECOND HARVEST FOOD BANK OF MIDDLE    SECOND RISE LLC
IL                                      TN                                    1800 SW 1ST AVE
                                        331 GREAT CIRCLE RD                   STE 606
                                        NASHVILLE, TN 37228                   PORTLAND, OR 97201
SECOND ROUND SUB, LLC Case 20-10766-BLS
                                    SECOR, Doc
                                           JULIET6  Filed 04/07/20       Page 1582
                                                                              SECOR,of 1969
                                                                                     LINDA
C/O MACHOL & JOHANNES, LLC          219 SOUTH CHARLES                         ADDRESS ON FILE
700 17TH STREET SUITE 200           EDWARDSVILLE, IL 62025
DENVER, CO 80202




SECRETARY OF STATE INDEX DEPT        SECRETARY OF STATE                       SECRETARY OF STATE
111 E MONROE ST                      111 E MONROE                             325 DON GASPAR-SUITE 300
SPRINGFIELD, IL 62756                SPRINGFIELD, IL 62756                    SANTA FE, NM 87503




SECRETARY OF STATE                   SECRETARY OF STATE                       SECRETARY OF STATE
3701 WINCHESTER RD                   3701 WINCHESTER RD                       INDEX DEPARTMENT
SPRINGFIELD, IL 62707                SPRINGFIELD, IL 62707-9700               111 E MONROE
                                                                              SPRINGFIELD, IL 62756




SECRETARY OF STATE                   SECRETARY OF STATE                       SECRETARY OF STATE
LICENSE RENEWAL                      VEHICLE SERVICE DEPT                     VEHICLE SERVICES DEPT
3701 WINCHESTER RD                   501 S 2ND ST ROOM 014                    3701 WINCHESTER ROAD
SPRINGFIELD, IL 62707-9700           SPRINGFIELD, IL 62756                    SPRINGFIELD, IL 62707-9700




SECURE CARE PRODUCTS, LLC            SECURE COM INC                           SECURE HORIZONS/ SR
DEPT 1530                            1940 DON STREET 100                      P.O. BOX 30968
P.O. BOX 4110                        ATTN. NOTARY SECTION                     SALT LAKE CITY, UT 84130
WOBURN, MA 01888-4110                SPRINGFIELD, OR 97477-1994




SECURE ONE SELF                      SECURE PLUS COMPLETE                     SECURE RECORD STORAGE, INC.
6953 DEER HILL ROAD                  P.O. BOX 5220                            1775 FOUNDERS PARKWAY
WATERLOO, IL 62298                   KINGSTON, NY 12402                       ALPHARETTA, GA 30009




SECURE STORAGE                       SECURE TELEHEALTH, INC.                  SECURE TRANSPORTATION OF OREGON
350 LAKEHURST RD                     9150 HARMONY DRIVE                       LLC
WAUKEGAN, IL 60085                   PITTSBURGH, PA 15237                     5729 MAIN ST 247
                                                                              SPRINGFIELD, OR 97478




SECURE TRANSPORTATION                SECUREONE, INC                           SECURFIRST MEDICAL TRANSPORT, LLC
5729 MAIN ST247                      4701 W MIDLOTHIAN TURNPIKE, STE 2        1083 HWY 99N
SPRINGFIELD, OR 97478                CRESTWOOD, IL 60445                      EUGENE, OR 97402




SECURITAS SECURITY SERVICES          SECURITIES & EXCHANGE COMMISSION         SECURITIES AND EXCHANGE COMMISSION
12672 COLLECTIONS CENTER DR          P.O. BOX 979081                          ATLANTA REGIONAL OFFICE
CHICAGO, IL 60693                    ST LOUIS, MO 63197-9000                  ATTN: WALTER E. JOSPIN, REGIONAL DIR
                                                                              950 E PACES FERRY, NE, STE 900
                                                                              ATLANTA, GA 30326-1382



SECURITIES AND EXCHANGE COMMISSION   SECURITIES AND EXCHANGE COMMISSION       SECURITIES AND EXCHANGE COMMISSION
BOSTON REGIONAL OFFICE               CHICAGO REGIONAL OFFICE                  DENVER REGIONAL OFFICE
ATTN: PAUL LEVENSON, REGIONAL DIR    ATTN: DAVID A. GLOCKNER, REGIONAL DIR    ATTN: JULIE K. LUTZ, REGIONAL DIR
33 ARCH ST, 23RD FL                  175 W JACKSON BLVD, STE 1450             1961 STOUT ST, STE 1700
BOSTON, MA 02110-1424                CHICAGO, IL 60604                        DENVER, CO 80294-1961
SECURITIES AND EXCHANGE  Case    20-10766-BLS
                           COMMISSION             DocAND
                                          SECURITIES  6 EXCHANGE
                                                           Filed 04/07/20
                                                                    COMMISSIONPage 1583   of 1969
                                                                                   SECURITIES   AND EXCHANGE COMMISSION
FORT WORTH REGIONAL OFFICE                LOS ANGELES REGIONAL OFFICE              MIAMI REGIONAL OFFICE
ATTN: SHAMOIL SHIPCHANDLER, REG. DIR      ATTN: MICHELE WEIN LAYNE, REGIONAL DIR   ATTN: ERIC I. BUSTILLO, REGIONAL DIR
801 CHERRY ST, STE 1900, UNIT 18          444 S FLOWER ST, STE 900                 801 BRICKELL AVE, STE 1800
FORT WORTH, TX 76102                      LOS ANGELES, CA 90071                    MIAMI, FL 33131



SECURITIES AND EXCHANGE COMMISSION       SECURITIES AND EXCHANGE COMMISSION        SECURITIES AND EXCHANGE COMMISSION
NEW YORK REGIONAL OFFICE                 NEW YORK REGIONAL OFFICE                  PHILADELPHIA REGIONAL OFFICE
ATTN: ANDREW CALAMARI, REGIONAL DIR      MARC BERGER, REGIONAL DIRECTOR            ATTN: G. JEFFREY BOUJOUKOS, REG. DIR
BROOKFIELD PL, 200 VESEY ST, STE 400     BROOKFIELD PLACE; 200 VESEY ST, STE 400   ONE PENN CTR, 1617 JFK BLVD, STE 520
NEW YORK, NY 10281-1022                  NEW YORK, NY 10281-1022                   PHILADELPHIA, PA 19103



SECURITIES AND EXCHANGE COMMISSION       SECURITIES AND EXCHANGE COMMISSION        SECURITIES AND EXCHANGE COMMISSION
SALT LAKE CITY REGIONAL OFFICE           SAN FRANCISCO REGIONAL OFFICE             SEC HEADQUARTERS
ATTN: RICHARD BEST, REGIONAL DIR         ATTN: JINA CHOI, REGIONAL DIR             100 F STREET, NE
351 S. WEST TEMPLE ST, STE 6.100         44 MONTGOMERY ST, STE 2800                WASHINGTON, DC 20549
SALT LAKE CITY, UT 84101                 SAN FRANCISCO, CA 94104



SECURITY ALARM CORPORATION               SECURITY ALARM CORPORATION                SECURITY CONCEPTS
410 SW COLUMBIA STREET STE 120           P.O. BOX 665                              P.O. BOX 536
BEND, OR 97702-3026                      1511 EAST MAIN                            LAS CRUCES, NM 88004
                                         SALEM, IL 62881




SECURITY ENGINEERS                       SECURITY FINANCE & TAX SERV               SECURITY FINANCE
P.O. BOX 11984                           4 LITCHFIELD PLAZA                        822 S MORRISON AVE
BIRMINGHAM, AL 35202                     LITCHFIELD, IL 62056                      COLLINSVILLE, IL 62234




SECURITY FIRE PROTECTION INC             SECURITY SERVICES                         SEDEIKIENE, GITANA
4495 S MENDENHALL RD                     P.O. BOX 7163                             10 ECHO COURT APT 8
MEMPHIS, TN 38141-6702                   600 W ADAMS ST                            VERNON HILLS, IL 60061
                                         DOTHAN, AL 36302




SEDGEWICK                                SEDGWICK CLAIMS                           SEDGWICK CMS
P.O. BOX 14628                           P.O. BOX 14452                            P O BOX 14155
LEXINGTON, KY 40512                      LEXINGTON, KY 40512                       LEXINGTON, KY 40512




SEDGWICK CMS                             SEDGWICK CMS                              SEDGWICK
P.O. BOX 14434                           P.O. BOX 14510                            P O BOX 14493
LEXINGTON, KY 40512-4434                 LEXINGTON, KY 40512                       LEXINGTON, KY 40512




SEDGWICK                                 SEDGWICK                                  SEDGWICK
P O BOX 14543                            P.O. BOX 14015                            P.O. BOX 14141
LEXINTON, KY 40512                       LEXINGTON, KY 40512                       LEXINGTON, KY 40512




SEDGWICK, HAILEY                         SEDILLO, KELMA D                          SEDLACEK, ROSILAND R.
1135 WOODBINE CIR W                      743 E ARROW ST                            586 N. 625 W.
GALESBURG, IL 61401                      TOOELE, UT 84074                          HOBART, IN 46342
SEDLOCK, ADRIANE        Case 20-10766-BLS
                                      SEDON, Doc   6 J Filed 04/07/20
                                              MICHAEL                   Page 1584  ofD1969
                                                                             SEDRICK   HICKS
3358 ROLLING RIDGE RD NE              1541 48TH ST NW                         5261 HWY 284
CANTON, OH 44721                      CANTON, OH 44709-1217                   FORREST CITY, AR 72335




SEDYCIAS, DAVID O                     SEE, ASHLEY E.                          SEE, ASHLEY
304 S MAIN ST                         ADDRESS ON FILE                         ADDRESS ON FILE
EDWARDSVILLE, IL 62025




SEE, JAMES M.                         SEEGER, CAROLYN                         SEELY ANDREW
ADDRESS ON FILE                       875 BROWN AVE                           38 WILLOW ST
                                      GALESBURG, IL 61401                     GRANTSVILLE, UT 84029




SEELY, CHELSI A.                      SEELY, KENNETH                          SEESENGOOD, ERICA
ADDRESS ON FILE                       22241 NISQUALLY RD SPC 144              1805 EASTGATE ST
                                      APPLE VALLEY, CA 92308                  OLNEY, IL 62450




SEGADOR, MERRY LESAN                  SEGAR, JANET M                          SEGARRA, RYLIE
3202 FENN ST.                         2660 E 27TH ST                          170 WILLOWOOD RD
BIG SPRING, TX 79720                  GRANITE CITY, IL 62040                  LITCHFIELD, IL 62056




SEGERSTEN, MARGARET                   SEGOVIA, AMBER                          SEGUISMAR, RUFFA M.
ADDRESS ON FILE                       ADDRESS ON FILE                         1700 IDAHO ST.
                                                                              GREEN RIVER, WY 82935




SEGURA BALVANITA                      SEGURA, ASHLEY R.                       SEGURA, CLAUDIA V.
2415 GILBOA AVE                       P.O. BOX 3273                           411 SANTA ROSA STR
ZION, IL 60099                        LAS VEGAS, NM 87701                     DEMING, NM 88030




SEGURA, CLAUDIA V.                    SEGURA, JESSICA M.                      SEGURA, LESLIE
ADDRESS ON FILE                       2801 CARRETAS COURT                     ADDRESS ON FILE
                                      LAS CRUCES, NM 88007




SEGURA, ROSARIO                       SEGURA-REINA, PEDRO                     SEGURITAN, MARY ANN
239 BOCKIUS ST                        57 ROAD 9053                            1430 42ND AVE APT 1
WATSONVILLE, CA 95076                 VALLEY HEAD, AL 35989                   CAPITOLA, CA 95010




SEGWAY ORTHOPAEDICS, INC              SEIBER, AIMIE E.                        SEIBER, DONALD
5205 AVENIDA ENCINAS, STE C           ADDRESS ON FILE                         5900 EDGEWOOD RD
CARLSBAD, CA 92008                                                            RED BUD, IL 62278
SEIBER, TRACY             Case 20-10766-BLS    Doc
                                        SEIDLER,    6 Filed 04/07/20
                                                 PATRICK                     Page 1585  ofCHERYL
                                                                                  SEIFERT, 1969 E.
619 S GRACE                              1019 CAMBRIDGE DR                        2845 AUTUMN ST NW
MARISSA, IL 62257                        LIBERTYVILLE, IL 60048                   MASSILLON, OH 44647




SEIGLER, RICKEY E.                       SEILER, MEREDITH B                       SEILHEIMER, MICHELLE
171 LANIER RD                            272 TENNIS COURT LN                      ADDRESS ON FILE
JOHNSTON, SC 29832-2856                  LOCK HAVEN, PA 17745




SEIP KENDRA L                            SEIRRA, FORRISTALL                       SEITZ, BLAKE A.
535 TOLLGATE RD                          120 WHITE OAK PARK LN                    1960 TUDOR COURT
ANNA, IL 62906                           BLUFORD, IL 62814-1538                   CHARLOTTESVILLE, VA 22902




SEITZ, STEPHANIE A.                      SEIU – UNITED HEALTHCARE WORKERS         SEIU HEALTHCARE IL BENEFIT FUND
ADDRESS ON FILE                          WEST                                     2229 S HALSTED ST
                                         560 THOMAS L. BERKLEY WAY                SUITE 122
                                         OAKLAND, CA 94612                        CHICAGO, IL 60608




SEIU HEALTHCARE IL IN                    SEIU HEALTHCARE IL, IN, MO AND KS        SEIU HEALTHCARE
209 W JACKSON BLVD, STE 200              2229 S. HALSTED                          2229 S HALSTED
CHICAGO, IL 60606                        CHICAGO, IL 60608                        SUITE 122
                                                                                  CHICAGO, IL 60608




SEIU LOCAL 49                            SEIU UNITED HEALTHCARE WORKERS -         SEIU, LOCAL 49
3536 SE 26 AVE                           WEST                                     3536 SE 26TH AVE
PORTLAND, OR 97202                       C/O UNION BANK OF CALIFORNIA             PORTLAND, OR 97202
                                         P.O. BOX 45218
                                         SAN FRANCISCO, CA 94145



SEKHARAN, MATHANGI MD                    SEKHARAN, MATHANGI R.                    SEKHARAN, SWAETA
ADDRESS ON FILE                          ADDRESS ON FILE                          14492 TWIN LAKES CT
                                                                                  GREEN OAKS, IL 60048




SELBE, CAROLYN                           SELCK, MEGAN K                           SELCO COMMUNITY CREDIT UNION
P.O. BOX 393                             2601 CHRISTOPHER OAKS LN                 P.O. BOX 7487
RAINSVILLE, AL 35986                     WATERLOO, IL 62298                       SPRINGFIELD, OR 97475-0487




SELECT ACCOUNT                           SELECT CARE OF TEXAS                     SELECT CARE
P.O. BOX 64193                           P.O. BOX 505057                          P.O. BOX 30192
ST PAUL, MN 55164                        ST LOUIS, MO 63150                       SALT LAKE CITY, UT 84130-0192




SELECT COMFORT RETAIL CORP               SELECT HEALTH                            SELECT HEALTH
NW 6147 P.O. BOX 1450                    ATTN: RECOVERY                           ATTN:RECOVERY
MINNEAPOLIS, MN 55485-6147               P.O. BOX 30192                           P.O. BOX 30192
                                         SALT LAKE CITY, UT 84130                 SALT LAKE CITY, UT 84130
SELECT HEALTH            Case 20-10766-BLS
                                       SELECT Doc   6 Filed 04/07/20
                                               HEALTH                  Page 1586
                                                                            SELECTof 1969
                                                                                   HEALTH
OVERPAYMENT DEPT                       P.O. BOX 27368                       P.O. BOX 27368
P.O. BOX 30192                         P.O. BOX 30192                       P.O. BOX 30192
SALT LAKE CITY, UT 84130-0192          SALT LAKE CITY, UT 84127             SALT LAKE CITY, UT 84127-0368




SELECT HEALTH                         SELECT HEALTH                         SELECT HEALTH
P.O. BOX 27368                        P.O. BOX 30192                        RECOVERIES DEPT
RECOVERIES DEPARTMENT                 SALT LAKE CITY, UT 84130              P.O. BOX 27368
SALT LAKE CITY, UT 84127                                                    SALT LAKE CITY, UT 84127-7368




SELECT HEALTH/ IHC                    SELECT HEALTH/ IHC                    SELECT MARKETING & DIST
ATTN REFUND DEPARTMENT                P.O. BOX 30192                        2817 BRECKENRIDGE IND CT
P.O. BOX 30192                        ATTN REFUND DEPARTMENT                ST LOUIS, MO 63144
SALT LAKE CITY, UT 84130              SALT LAKE CITY, UT 84130




SELECT MEDICAL CORPORATION            SELECT POS & PERIPHERALS LLC          SELECT SIRES MIDAMERICA
ATTN: AUTUMN BUTZ                     7275 BUSH LAKE ROAD                   833 W 400 N
4714 GETTYSBURG RD.                   EDINA, MN 55439                       LOGAN, UT 84321
MECHANICSBURG, PA 17055




SELECT-TECH                           SELENA LALIS                          SELF STEVE
250 THOMPSON STREET                   401 W ILLINOIS ST                     329 CRAWFORD RD
SHELBYVILLE, TN 37160                 STEEVEVILLE, IL 62288                 MCCAYSVILLE, GA 30555




SELF, CHRISTI                         SELF, DAVID R.                        SELF, JORDAN M.
704 RICHIE RD                         ADDRESS ON FILE                       ADDRESS ON FILE
BIG SPRING, TX 79720




SELINA BAKER                          SELK, ELIZABETH                       SELKER, ZACHARY S.
445 140TH AVE                         544 ELYSIAN BLVD                      1631 HAMPTON KNOLL DR.
KIRKWOOD, IL 61447                    BIG BEAR CITY, CA 92314               AKRON, OH 44313




SELKIRK, ANGELA                       SELL, JUDITH A.                       SELLADO, MELINDA
1540 E BROOKS ST                      ADDRESS ON FILE                       231 EVAN CIRCLE
GALESBURG, IL 61401                                                         FREEDOM, CA 95019




SELLARS, DANIELLE                     SELLEROLI, DIXIE                      SELLERS, DIANE
1504 W WALNUT ST                      ADDRESS ON FILE                       ADDRESS ON FILE
MARION, IL 62959




SELLERS, JESSICA                      SELLERS, KEESHA Y.                    SELLERS, ONDREA E .
203 MARKET ST P.O. BOX 95             4830 KENTWALK DRIVE                   345 CROSS ROADS DRIVE
ELLIS GROVES, IL 62241                HOUSTON, TX 77041                     SOCIAL CIRCLE, GA 30025
SELLIN, ARLENE M.       Case 20-10766-BLS    Doc 6
                                      SELLS, WANDA        Filed 04/07/20   Page 1587
                                                                                SELMA of 1969
                                                                                      BALDWIN
18265 ADA ST                           11989 SINCLAIR ST SW                     4774 OLDE PUMP ST 57
LANSING, IL 60438                      MASSILLON, OH 44647                      WALNUT CREEK, OH 44687-0128




SELOGY, BRETT A.                       SELPH, STEPHANIE                         SELTZER LLC
114 14TH ST NW                         ADDRESS ON FILE                          P.O. BOX 26125
MASSILLON, OH 44647                                                             EUGENE, OR 97402




SELVAGE KAREN A                        SELVY, CASSANDRA                         SELZER, JOAN M.
346 ROBINHOOD WAY                      821 S FRONT STREET                       1560 KEUPER BLVD NE
FYFFE, AL 35971-0331                   WYNNE, AR 72396                          MASSILLON, OH 44646




SEMC PATHOLOGY                         SEMILOTA, WADE                           SEMINARY MANOR
34 KINGSLEY WAY                        1245 E GRAND AVE                         2435 N SEMINARY ST
GLEN CARBON, IL 62034                  CARBONDALE, IL 62901                     GALESBURG, IL 61401




SEMLER TECHNOLOGIES, INC               SEMMLER, JOYCE M.                        SEMPLE, JENNIFER
4252 SE INTERNATIONAL WAY, STE         ADDRESS ON FILE                          1065 DANA CT
DBA ADVANCED VASCULAR DYNAMICS                                                  ANTIOCH, IL 60002
MILWAUKIE, OR 97222




SENA, MARIAH M.                        SENA, VANESSA D.                         SENAS, CARIZZA
ADDRESS ON FILE                        ADDRESS ON FILE                          7049 BUCHANAN DR.
                                                                                GURNEE, IL 60031




SENDER, MICHELE A.                     SENECA MEDICAL LLC                       SENGELE, MARIE M.
ADDRESS ON FILE                        P.O. BOX 933006                          ADDRESS ON FILE
                                       CLEVELAND, OH 44193




SENGLE, LAURA                          SENIOR SAINTS HALL OF FAME               SENIOR TV/STELLAR
605 SENGLE LANE                        P.O. BOX 454                             815 E TALLMADGE AVENUE
JULIAN, PA 16844                       MT. VERNON, IL 62864                     AKRON, OH 44310




SENSABAUGH, BRENDA J.                  SENSORS SAFETY PRODUCTS INC              SENSOSCIENTIFIC, INC
ADDRESS ON FILE                        6003 CHAPEL HILL ROAD                    685 COCHRAN ST SUITE 200
                                       SUITE 117                                SIMI VALLEY, CA 93065
                                       RALEIGH, NC 27607-5153




SENSOSCIENTIFIC, INC                   SENTELL, BROOKE N.                       SENTERS, JILLIAN V.
685 COCHRAN ST, SUITE 200              ADDRESS ON FILE                          5959 HIGHWAY 1760
SIMI VALLEY, CA 93065                                                           LOUISA, KY 41230
                       Case 20-10766-BLS
SENTINEL CIRCULATION DEPT.                  Doc
                                     SENTINEL     6 Filed
                                               SECURITY       04/07/20
                                                        LIFE INS         Page 1588  of SECURITY
                                                                              SENTINEL 1969 LIFE INS
232 EAST BROADWAY                    P.O. BOX 27248                           P.O. BOX 27248
CENTRALIA, IL 62801                  SALT LAKE CITY, UT 84127                 SALT LAKE CITY, UT 84127-0248




SENTINEL SPECIALISTS INC               SENTRY EXTERMINATING                   SENTRY FIRE PROTECTION, INC
1900 N.E.57TH ST                       P.O. BOX 504                           P.O. BOX 1138
FT LAUDERDALE, FL 33308                PLYMOUTH, NC 27962                     WAYNE, WV 25570




SENTRY INSURANCE                       SENTRY SECURITY                        SEPASSI, MOE
2225 MINNESOTA AVE                     75 REMITTANCE DRIVE DEPT 6805          P.O. BOX 26051
P.O. BOX 8032                          CHICAGO, IL 60675-6805                 EUGENE, OR 97402
STEVENS POINT, WI 54481




SEPE, INC.                             SEPOS, VIRGINIA                        SEPOT, EILEEN
245 FISCHER AVENUE C-4                 279 GAIL AVE NE                        20315 REALE CIRCLE
COSTA MESA, CA 92627                   MASSILLON, OH 44646                    VENICE, FL 34293




SEPTEMBER PROCTOR                      SEPTER, KRISTA                         SEQUOYAH WATER,LLC
151 MARY WAY                           112 12TH ST NW                         POB 940
CUNNINGHAM, TN 37052-0000              STRASBURG, OH 44680                    BLUE RIDGE, GA 30513




SERA, ALFRED C.                        SERA, JULIE A.                         SERACARE LIFE SCIENCES INC
ADDRESS ON FILE                        1018 SHELLY DR                         DBA LGC CLINICAL DIAGNOSTICS
                                       DEMING, NM 88030                       DEPT CH 16362
                                                                              PALATINE, IL 60055-6362




SERAFIN, PAUL R.                       SERATTE, DONDIE E                      SERENITY LANE
16829 S. ODELL                         81294 LOST CREEK RD                    P.O. BOX 8549
TINLEY PARK, IL 60477                  DEXTER, OR 97431                       COBURG, OR 97408




SERES, CAROLYN S.                      SERES, MICHAEL                         SERGE MARINKOVIC
ADDRESS ON FILE                        630 DIVIDING RIDGE RD                  ADDRESS ON FILE
                                       MINERAL BLUFF, GA 30559




SERGE MUTEJ                            SERGENT, APRIL                         SERGENT, ZACHARY
1072 OLIVE ST                          ADDRESS ON FILE                        ADDRESS ON FILE
APT B2
GALESBURG, IL 61401




SERIM RESEARCH CORP                    SERIM RESEARCH CORP                    SERLES, MICHAEL A.
3506 REEDY DR                          P.O. BOX 4002                          ADDRESS ON FILE
ELKHART, IN 46514                      ELKHART, IN 46514
SERNA LUPITA           Case 20-10766-BLS
                                     SEROKA,Doc   6 Filed 04/07/20
                                              AMANDA                    Page 1589
                                                                             SERRA,of 1969
                                                                                   JOYCE
184 HOLLAND DR                       523 W LATIMER ST                        8423 OPAL ST NW
EVANSTON, WY 82930-2526              ABINGDON, IL 61410                      MASSILLON, OH 44646




SERRA, MARY P.                       SERRANO, JOSEPH N                       SERRANO, SAMANTHA J.
2520 BEGONIA PLACE                   38731 E WILLIAMS                        8810 C AVE APT 240
SANTA CRUZ, CA 95062                 P O BOX 243                             HESPERIA, CA 92345
                                     YERMO, CA 92398-0000




SERRITENO, JULIO C.                  SERVALL TERMITE & PEST CONROL           SERVANTS OF MARY SR ANN MARIE
833 LEWIS RD                         900 TYSON AVE                           CAPORALE, OSM
ROYAL OAKS, CA 95076                 PARIS, TN 38242                         10942 S AVENUE A
                                                                             CHICAGO, IL 60617




SERVATIUS, AMBER MD                  SERVICE ELECTRIC COMPANY                SERVICE EMPLOYEES INTERNATIONAL
8114 E RIDGE DR                      29100 RADIO ROAD                        UNION
PLEASANT PRAIRIE, WI 53158           BARSTOW, CA 92311                       1130 K STREET, SUITE 300
                                                                             SACRAMENTO, CA 95814




SERVICE EMPLOYEES INTERNATIONAL      SERVICE GLASS CO                        SERVICE GLASS COMPANY
UNION                                715 7TH STREET                          715 SEVENTH STREET
1800 MASSACHUSETTS AVE NW            HUNTINGTON, WV 25701                    HUNTINGTON, WV 25701
WASHINGTON, DC 20036




SERVICE MASTER OF PARIS              SERVICE OFFICE SUPPLY & PRINTING        SERVICE PLUS
85 SERVICEMASTER DR                  P.O. BOX 894                            P.O. BOX 401474
PARIS, TN 38242                      FLATWOODS, KY 41139                     HESPERIA, CA 92340-1474




SERVICE, SHYANNA                     SERVICEMASTER CLEANING &                SERVICEMASTER SELECT
ADDRESS ON FILE                      RESTORATION                             74 MILLWELL CT
                                     9966 SAMUEL ROAD                        MARYLAND HEIGHTS, MO 63043
                                     CARTERVILLE, IL 62918




SERVPRO OF MIDLAND                   SERVPRO OF SPRINGFIELD                  SERVPRO OF UNION,TOWNS,FANNIN &
W. LANE HOLLOWAY, INC.               P.O. BOX 611                            GILMER COUNTIES
P.O. BOX 8244                        SUTHERLIN, OR 97479                     FRANCHISE 9658
MIDLAND, TX 79708                                                            P.O. BOX 148
                                                                             HIAWASSEE, GA 30546



SESOCK, BRENT                        SESSER-VALIER CUSD 196                  SESSIONS, JOHN
312 EVERGREEN TRAIL                  ATTN: NATALIE M. PAGE                   4040 OLD SPARTA RD
HERRIN, IL 62948                     4626 STATE HWY 154                      EVERGREEN, AL 36401
                                     SESSER, IL 62884




SESSIONS, MARK                       SETNESS, LAURAL                         SETON IDENTIFICATION PRODUCTS
9754 MANZANITA AVE.                  1125 N 58TH ST 53                       P.O. BOX 95904
BEN LOMOND, CA 95005                 SPRINGFIELD, OR 97478                   CHICAGO, IL 60694
                       Case 20-10766-BLS
SETON IDENTIFICATION PRODUCTS        SETON, Doc   6 B.Filed 04/07/20
                                             THOMAS                    Page 1590 ofJOHN
                                                                            SETSER, 1969
P.O. BOX 95904                       8515 S GREEN ST. APT 2B                850 SALYERS BRANCH
CHICAGO, IL 60694-5904               CHICAGO, IL 60620                      FLATGAP, KY 41219




SETSER, JONI                          SETSER, SANDRA K.                     SETTEMBRE, NICOLE F
83 TOME SETSER CEMETERY ROAD          ADDRESS ON FILE                       201 BAYHILL BLVD
TOMAHAWK, KY 41262                                                          GLEN CARBON, IL 62034




SETTLE, AMY C.                        SETTLE, DOUG                          SETTLE, SUSAN M.
209 13TH STREET UNIT 2014             701 STEVENS AVE.                      2422 TALBOT ST
ELLIJAY, GA 30540                     BARSTOW, CA 92311                     CUYAHOGA FALLS, OH 44221




SETTLE, TANA                          SETTLEMEYER, JOAN                     SETTLEMIRE, SAMMY DALE
ADDRESS ON FILE                       219 MAPLE ST                          1225 NE CANYON DRIVE
                                      JERSEY SHORE, PA 17740                TOLEDO, OR 97391




SETTLEMOIR, REBECCA J.                SETTLES HOTEL COMPANY, LLC            SETTLES, ANGEL L.
2219 PONTOON RD                       DBA THE HOTEL SETTLES                 8330 VARDON LANE APT 301
GRANITE CITY, IL 62040                200 E. 3RD ST                         CORDOVA, TN 38016
                                      BIG SPRING, TX 79720




SETTLES, LINDA A                      SETZER, ROBERT                        SEULEAN, LORI A.
2534 CARSWELL ST                      210 DOVE CT                           ADDRESS ON FILE
HEPHZIBAH, GA 30815                   LOGANVILLE, GA 30052-2685




SEV MALLORY I LLC                     SEV MALLORY I LLC                     SEVENSKI, CARRIE
SOUTHEAST VENTURE                     WOOD CALDWELL, PRINCIPAL              ADDRESS ON FILE
4011 ARMORY OAKS DR                   4011 ARMORY OAKS DRIVE
NASHVILLE, TN 37204                   NASHVILLE, TN 37204




SEVERIN, KATHLEEN M.                  SEVERINE SHEREE S                     SEVERS, BETTY
P.O. BOX 313                          6105 OLD CARPENTER ROAD               740 FULTON AVE
BLUE RIVER, OR 97413                  EDWARDSVILLE, IL 62025                WINTHROP HARBOR, IL 60096




SEWARD, CHARLES                       SEWELL, TERRY A.                      SEXTON, BETTY
ATTN ALISA BYCROFT                    ADDRESS ON FILE                       203 MAPLE STREET NW
117 S 1ST ST                                                                FORT PAYNE, AL 35967
MONMOUTH, IL 61462




SEXTON, EDWIN D.                      SEXTON, GERALD                        SEXTON, GREG
122 PARKMAN RD                        3279 WAGON WHEEL RD                   1212 FOREST DR
HONORAVILLE, AL 36042                 FT DEPOSIT, AL 36032                  WILLIAMSTON, NC 27892
SEXTON, KIMBERLY M.     Case 20-10766-BLS
                                      SEXTON,Doc  6
                                              LACEY     Filed 04/07/20    Page 1591 ofMADELINE
                                                                               SEXTON, 1969 L.
17228 COMANCHE COURT                   404 FIRE TOWER ROAD                     ADDRESS ON FILE
LOCKPORT, IL 60441                     DRESDEN, TN 38225




SEXTON, MARIANNE                       SEXTON, MAXINE                          SEXTON, MELISSA
2851 MAPLE AVE NE                      OR MELODY SEXTON BETHUNE - ADMIN        1667 KY 486
CANTON, OH 44714                       12056 SINCLAIR ST SW                    WEBBVILLE, KY 41180
                                       MASSILLON, OH 44647




SEXTON, PEYTON                         SEXTON, ROBERT C.                       SEXTON, SARAH
8655 HWY 284                           ADDRESS ON FILE                         ADDRESS ON FILE
WYNNE, AR 72396




SEYBERT PROPERTIES LLC                 SEYFERTH, ASHLEY                        SEYMOUR MARCIA
P O BOX 1594                           425 E CHURCH ST                         27482 CROW RD
DEMING, NM 88031                       SPARTA, IL 62286                        EUGENE, OR 97402




SEYMOUR, CHARLES                       SEYMOUR, NORMA L.                       SEYMOUR, PEGGY T.
69 ROLLING PARK DR N                   1034 RODMAN NE                          920 HWY 138 NW
MASSILLON, OH 44647                    MASSILLON, OH 44646                     MONROE, GA 30655




SEYMOURE, RALPH                        SFC OF ILLINOIS LLC                     SFC OF ILLINOIS LLC
ADDRESS ON FILE                        1348 N HENDERSON ST                     P.O. BOX 1081
                                       STE 6                                   DUQUOIN, IL 62832-0000
                                       GALESBURG, IL 61401




SFC OF ILLINOIS, LLC                   SFC OF ILLINOIS, LLC                    SFC OF ILLINOIS, LLC
1348 N HENDERSON ST                    3801 NAMEOKI RD                         4805 BROADWAY
STE 6                                  STE 15                                  UNIT B
GALESBURG, IL 61401                    GRANITE CITY, IL 62040                  MT. VERNON, IL 62864-0000




SFMPE-CRITTENDEN, LLC                  SFUR                                    SFUR-SOUTH FLORIDA UTILIZATION REVIEW
TENET PHYSICIAN RESOURCES              2002 MACY DRIVE                         2002 MACY DRIVE
6005 PARK AVE STE 325B                 ROSWELL, GA 30076                       ROSWELL, GA 30076-6346
MEMPHIS, TN 38119




SGT ENTERPRISES                        SHAANNON, LINDA                         SHABAN, ASEEL
P.O. BOX 466                           1164 WATERFALL VW                       11755 S LEAMINGTON AVE
PLACERVILLE, CA 95667                  MESQUITE, NV 89034-1131                 ALSIP, IL 60803




SHABAZZ, DENISE                        SHACKELFORD ODESSA                      SHACKELFORD, CARY DALE
20650 CICERO AVE UNIT 341              ADDRESS ON FILE                         23 RANGER RD
MATTESON, IL 60443                                                             ALPINE, TX 79830
SHACKELFORD, ODESSA M.Case 20-10766-BLS    Doc 6 ODESSA
                                    SHACKELFORD,    FiledM.04/07/20   Page 1592 of 1969
                                                                           SHACKLES, TRACIE E.
ADDRESS ON FILE                     502 THOMPSON ST. P.O. BOX 972           119 SULLIVAN LANE
                                    MARVELL, AR 72366                       MOUNDS, IL 62964-2331




SHADDON, STACY L.                    SHADOWENS, WILMA FLODENE               SHADRICK, BRANNON W.
ADDRESS ON FILE                      11674 CEDAR GROVE ROAD                 ADDRESS ON FILE
                                     MARION, IL 62959




SHADWICK, EDNA                       SHAFER, CYNTHIA                        SHAFER, JENNIFER L.
403 ALABAMA AVE NW                   6470 HIGHWAY 190                       ADDRESS ON FILE
FORT PAYNE, AL 35967                 MCKENZIE, TN 38201




SHAFER, TIMOTHY                      SHAFER-FRANKS, CANDACE                 SHAFFER PATRICIA S
1333 17TH ST NW                      49 SFC 332                             492 SHARP TOP CIRCLE
CANTON, OH 44703                     FORREST CITY, AR 72335                 BLAIRSVILLE, GA 30512




SHAFFER, BOBBY                       SHAFFER, LILLIAN                       SHAFFER, MICHELE
441 DEWEY ST APT 3                   1209 CARNWISE ST SW                    1065 RIGHT FORK IRISH CREEK RD
WHEELERSBURG, OH 45694               CANTON, OH 44706                       WEBBVILLE, KY 41180




SHAFFER, MICHELE                     SHAFFER, PEGGY J.                      SHAFFER, RICHARD D.
ADDRESS ON FILE                      520 N WATER STREET                     ADDRESS ON FILE
                                     UHRICHSVILLE, OH 44683




SHAFFER, SCOTT                       SHAFFER, SHERRIE L.                    SHAH, ALPA
1065 RIGHT FORK IRISH CREEK RD       6132 MUFFLY AVE SW                     9618 BOUCHAINE PASS
WEBBVILLE, KY 41180                  NAVARRE, OH 44662                      BRENTWOOD, TN 37027




SHAH, KETAN A.                       SHAH, KRUTI P.                         SHAH, RAINA
ADDRESS ON FILE                      264 IOWA                               3389 WHIRLAWAY DRIVE
                                     OAK PARK, IL 60302                     NORTHBROOK, IL 60062




SHAHAN, DELAINA D.                   SHAHAN, WILLIAM L.                     SHAILEN MHAPSEKAR
ADDRESS ON FILE                      10825 ORRVILLE ST. NW                  905 S 8TH STREET
                                     MASSILLON, OH 44647                    DEMING, NM 88030




SHAINA TENINTY                       SHAKA HEMPEN                           SHAKESPEAR, NICHOLAS
999 BROOKSIDE DR                     ADDRESS ON FILE                        P.O. BOX 52
EUGENE, OR 97405                                                            LOGANDALE, NV 89021-0052
SHAKESPEAR, ROBERT       Case 20-10766-BLS   Doc
                                       SHALANNE   6 Filed 04/07/20
                                                WHITED                        Page 1593  of 1969 ELIZABETH C.
                                                                                   SHALLENBERGER,
P.O. BOX 755                            ADDRESS ON FILE                             ADDRESS ON FILE
MOAPA, NV 89025-0755




SHALLENBERGER, LOGAN P.                 SHAMIKA SIMMONS                             SHAMOON, KRISTIN
ADDRESS ON FILE                         C/O DEREK J SIEGEL; KUEHN BEASLEY &         237 VETERANS PKWY APT. D
                                        YOUNG PC                                    COLUMBIA, IL 62236
                                        23 S FIRST ST
                                        BELLEVILLE, IL 62220



SHAMP, CLIFFORD                         SHAMP, JOAN                                 SHAMROCK LABELS
13133 MOUNT EATON ST SW                 5 SUNSET AVE                                34 DAVIS DRIVE
NAVARRE, OH 44662                       ANIMAS, NM 88020                            BELLWOOD, IL 60104




SHAMROCK RESTAURANT                     SHAMROCK SPECIALTY SYSTEMS INC              SHAMROCK, LESTER
101 WEST BLVD                           34 DAVIS DRIVE                              5980 WASHINGTON ST
WILLIAMSTON, NC 27892                   P.O. BOX 143                                GURNEE, IL 60031
                                        BELLWOOD, IL 60104




SHANA SMITH                             SHANAHAN, KEVIN J.                          SHANAN, KELLY
6931 S CORNELL                          10206 S. ARTESIAN AVE.                      P.O. BOX 2022
CHICAGO, IL 60649                       CHICAGO, IL 60655                           OVERTON, NV 89040-2022




SHANASIA, LUCAS                         SHANDA GOULD                                SHANDS, ALINE
2144 FLUTTER LANCE                      2109 PINE TREE DR/ C-15                     5919 STATE ROUTE 162
GREENVILLE, NC 27834                    BUFORD, GA 30518                            GLEN CARBON, IL 62034




SHANE GENTRY                            SHANE SINDLINGER                            SHANE, SAMY SHAHRAM
2009 RICHVIEW DR                        1874 NW 155TH CT                            85898 LORANE HWY
ST JACOB, IL 62281                      CLIVE, IA 50325-7870                        P.O. BOX 51419
                                                                                    EUGENE, OR 97405-0000




SHANE, TAMMY                            SHANEICE PENNY                              SHANEL ORSI
182 TIMBERLINE CT                       ADDRESS ON FILE                             ADDRESS ON FILE
DAHINDA, IL 61428




SHANER, ROCKI                           SHANER, STACEY A.                           SHANESE COUNCIL
P.O. BOX 7426                           ADDRESS ON FILE                             P.O.BOX 704
BUNKERVILLE, NV 89007                                                               ROBERSONVILLE, NC 27871




SHANEYFELT, VIRGINIA C                  SHANK, CATHY                                SHANKLES JANA
4350 STATE RT 146 W                     70 WILSON AVE                               P.O. BOX 326
VIENNA, IL 62995                        COLLINSVILLE, IL 62234                      SYLVANIA, AL 35988
SHANKLES JOYCE        Case 20-10766-BLS    Doc
                                    SHANKLES,   6 BFiled 04/07/20
                                              DIANE                 Page 1594 of 1969
                                                                         SHANKLES, EDEN
112 ROBERSONVILLE MANOR             2830 BROWDER RD NW                   567 COUNTY ROAD 1000
ROBERSONVILLE, NC 27871             FORT PAYNE, AL 35968-3202            VALLEY HEAD, AL 35989




SHANKLES, HOLLIS                    SHANKLES, JOSEPH D                   SHANKLES, MARY M.
191 COUNTY ROAD 703                 2772 COUNTY ROAD 121                 900 35TH STREET S.W.
RAINSVILLE, AL 35986                FORT PAYNE, AL 35968-5229            FT. PAYNE, AL 35967




SHANKLES, MICHAEL                   SHANKLES, RONALD LEE                 SHANKLIN, JETTA
89 COUNTY RD 1000                   222 MARTIN LANE                      1414 HIGHLANDER ST SW
VALLEY HEAD, AL 35989-3536          RAINSVILLE, AL 35986-5627            MASSILLON, OH 44647




SHANKS, REX A.                      SHANNA WITGES                        SHANNON ANDRETTA
435 MEADOW DR                       ADDRESS ON FILE                      985 JANET DR
TROY, IL 62294                                                           KNOXVILLE, IL 61448




SHANNON CLINIC                      SHANNON COWMAN                       SHANNON COX
P.O. BOX 22000                      875 W SUNNYVIEW AVE                  649 KNOX RD 150E
SAN ANGELO, TX 76902-0000           KNOXVILLE, IL 61448                  ABINGDON, IL 61410




SHANNON GUNN                        SHANNON HILLEY                       SHANNON HOBBS
11021 VIOLET DRIVE                  ADDRESS ON FILE                      75 COUNTY RD 757
RED BUD, IL 62278                                                        WYNNE, AR 72396-0000




SHANNON ICKLER WOLFE                SHANNON JOHNSON                      SHANNON M REESE
ADDRESS ON FILE                     ADDRESS ON FILE                      271 OLD GREENWOOD RD
                                                                         MILLVILLE, PA 17846-9114




SHANNON MEDICAL CENTER              SHANNON MEDICAL CENTER               SHANNON MONROE
                                    120 E HARRIS                         ADDRESS ON FILE
                                    SAN ANGELO, TX 76903




SHANNON MORGAN MD                   SHANNON MORGAN                       SHANNON MORRIS
ADDRESS ON FILE                     6903 PORTOBELLO RD NW                2 POTOMAC DR
                                    FORT PAYNE, AL 35967-0000            APT B
                                                                         FAIRVIEW HEIGHTS, IL 62208




SHANNON PHILLIPENAS                 SHANNON SCOTT                        SHANNON, DAVID A.
P.O. BOX 93                         385 CLARK ST                         ADDRESS ON FILE
LOGANDALE, NV 89021                 GALESBURG, IL 61401
SHANNON, KELVIN K.     Case 20-10766-BLS   Doc
                                     SHANNON,   6 Filed
                                              LAKESHA R. 04/07/20      Page 1595 of 1969
                                                                            SHANNON, TARA
737 HARRISON DR                       ADDRESS ON FILE                       99 ALADA RD
EVANS, GA 30809                                                             ANIMAS, NM 88020




SHANNON-MOORE, JESTINA                SHANTEAU, NOEL L.                     SHANYNE DOUGLAS
4109 BARRINGTON DRIVE                 ADDRESS ON FILE                       1889 PINEHURST VIEW CT
GREENVILLE, NC 27834                                                        GRAYSON, GA 30017




SHAPAKA, KIMBERLY J.                  SHARA, PHILIP J.                      SHARA, PHILIP
ADDRESS ON FILE                       750 CHERRY AVE                        960 NORTH 16TH, SUITE 304
                                      EUGENE, OR 97404                      SPRINGFIELD, OR 97477




SHARECARE HEALTH DATA SRVC LLC        SHARED IMAGING, LLC                   SHARED IMAGING, LLC
8344 CLAIREMONT MESA BLVD             801 PHOENIX LAKE AVENUE               LOCK BOX 88544
SUITE 201                             STREAMWOOD, IL 60107                  MILWAUKEE, WI 53288-0544
SAN DIEGO, CA 92111




SHARED MEDICAL SERVICES, INC          SHAREE L TAYLOR                       SHARI HILL
209 LIMESTONE PASS                    207 E MAIN ST                         1470 COUNTY ROAD 151
COTTAGE GROVE, WI 53527               APT 303                               COLLINSVILLE, AL 35961
                                      LOCK HAVEN, PA 17745




SHARI SMITH                           SHARIER, HAROLD                       SHARITA HENDERSON
ADDRESS ON FILE                       525 DARTMOUTH ST SE                   10105 S UNION
                                      BREWSTER, OH 44613                    CHICAGO, IL 60628




SHARKEY, JUDY                         SHARMA SAITH MD AND ASSC INC          SHARMA SAITH, MD
203 S FERKEL ST                       7434 OAKLAND DRIVE                    7434 OAKLAND DRIVE
COLUMBIA, IL 62236                    PORTAGE, MI 49024-0000                PORTAGE, MI 49024-0000




SHARN ANESTHESIA INC                  SHARN ANESTHESIA                      SHARN,INC.
DEPT 2459                             DEPT 2459                             P.O. BOX 844359
P.O. BOX 11407                        P.O. BOX 11407                        BOSTON, MA 02284-4359
BIRMINGHAM, AL 35246-2459             BIRMINGHAM, AL 35246-2459




SHARON ALBERS                         SHARON ANTHONY & MICHAEL PLUCINSKY    SHARON BORELL
7629 BALSON AVE                       JT TEN                                407 26TH ST NW
ST. LOUIS, MO 63130                   3112 E MARILYN RD                     MASSILLON, OH 44647
                                      PHOENIX, AZ 85032-5020




SHARON HARTLINE                       SHARON HEUBNER                        SHARON JACOBS
ADDRESS ON FILE                       119 SUNNYVIEW PLACE                   ADDRESS ON FILE
                                      DAHINDA, IL 61428
SHARON JUSTICE        Case 20-10766-BLS
                                    SHARONDoc  6 Filed 04/07/20
                                           K BAXTER               Page 1596 ofK 1969
                                                                       SHARON   LAMOTTA
2838 ELWOOD DRIVE                    5725 SHERBOURNE DR SW             3499 GREENBRIAR AVE
ASHLAND, KY 41102                    CANTON, OH 44706                  ALLIANCE, OH 44601




SHARON K REED                        SHARON PUTMAN                     SHARON QUEEN
ADDRESS ON FILE                      1103 6TH ST                       514 BREEDLOVE DRIVE
                                     LAS VEGAS, NM 87701               MONROE, GA 30655-2036




SHARON RICKEY                        SHARON SAMPLE                     SHARON VON LEHE
725 WEST LOSEY                       680 VERMONT AVE                   23W212 GREAT WESTER AVE
GALESBURG, IL 61401                  MOSS BEACH, CA 94038-9724         GELN ELLYN, IL 60137




SHARON YOUNG - CASH DRAWER           SHARON YOUNG                      SHARP MEDICAL/BRIDGEPORT CAPITAL
372 POOLE CIRCLE                     ADDRESS ON FILE                   SERVICES
FYFFE, AL 35971                                                        P.O. BOX 101004
                                                                       ATLANTA, GA 30392-1094




SHARP, ANGELIQUE                     SHARP, AUSTIN N.                  SHARP, ELSIE LOU
409 LINCOLN AVE                      537 FISHER RD                     919 MINT MEADOW WAY
INGELSIDE, IL 60041                  RISING FAWN, GA 30738             SPRINGFIELD, OR 97477-0000




SHARP, HALEY M.                      SHARP, JULIE                      SHARP, LISA D.
ADDRESS ON FILE                      605 ELGIN ST                      ADDRESS ON FILE
                                     BIG SPRING, TX 79720




SHARP, MELISSA                       SHARP, OTIS W.                    SHARP, RICKY
501 JACKSON AVE NW                   ADDRESS ON FILE                   373 N CHERRY ST
MASSILLON, OH 44646                                                    GALESBURG, IL 61401




SHARP, RONETTE R.                    SHARP, SAVANNAH                   SHARP, THELMA
ADDRESS ON FILE                      77 W 400 N                        1703 GREENHILLS DR
                                     TOOELE, UT 84074-0000             MURRAY, KY 42071-3137




SHARP, VERONICA L.                   SHARPE, ARALEE J.                 SHARPE, JEFFREY
222 GARY LANE                        ADDRESS ON FILE                   56 SHADDLE AVE 312
MERLIN, OR 97532                                                       MUNDELEIN, IL 60060




SHARPE, KATIE R.                     SHARPE, TIFFANY A.                SHARPTON, TINA L.
ADDRESS ON FILE                      3056 ASH DR                       3117 OLD FLAT BRANCH RD
                                     GOOD HOPE, GA 30641-2517          ELLIJAY, GA 30540
SHARPTON, TINA L.      Case 20-10766-BLS   DocTINA
                                     SHARPTON,  6 Filed 04/07/20   Page 1597 of BURNETTE
                                                                        SHARRON 1969
ADDRESS ON FILE                       ADDRESS ON FILE                   ADDRESS ON FILE




SHARVER, LINDA                        SHATTEEN-FALKNER, ANGIE E.        SHATTUCK, TINA
3005 MARTA ST SW                      12301 S SANGAMON APT 1            4342 HWY 242 WEST
MASSILLON, OH 44646                   CALUMET PARK, IL 60827            LEXA, AR 72355




SHAUGHNESSY, AMY L.                   SHAUGHNESSY, ERIN M.              SHAUGHNESSY, THOMAS G.
1587 MONTEREY COURT                   4945 W 106TH PLACE                24225 W TRACY LN
GURNEE, IL 60031                      OAK LAWN, IL 60453                ANTIOCH, IL 60002




SHAULL, BARTON                        SHAUN M THOMAS                    SHAUN THOMAS
6600 HWY 412 W                        ADDRESS ON FILE                   ADDRESS ON FILE
LEXINGTON, TN 38381




SHAUNA ENOCH                          SHAVER, DANIELLE                  SHAVER, JOHN
2200 ALLEN AVE NW                     3684 DOVER RD                     4 LINCOLN DR
MASSILLON, OH 44647-6158              WOOSTER, OH 44691                 MT VERNON, IL 62864




SHAVER, TRILBY                        SHAVERE, JOSEPH                   SHAVERS, WILLIAM
826 HIDDEN VALLEY DR                  791 LANGLEY FARMS DR              15 ROE CREEK ROAD
MORGANTON, GA 30560                   LOGANVILLE, GA 30052-7961         CATLETTSBURG, KY 41129




SHAW DONNA                            SHAW, AMANDA L.                   SHAW, ANNETTE
11 AUSTIN AVE                         155 WOODLAWN AVE. APT. A          352 ENDLESS VIEW RD.
BLUE RIDGE, GA 30513                  WINDER, GA 30680                  MINERAL BLUFF, GA 30559




SHAW, DAVID M.                        SHAW, DEBRA                       SHAW, DEENA
1610 ROLESON LN                       321 HAPPY HOLLOW DR               204 MISSISSIPPI ST
JONESBORO, AR 72404                   FORREST CITY, AR 72335            WYNNE, AR 72396




SHAW, JEFFREY                         SHAW, KIMBERLY S.                 SHAW, MANDY A.
134 OLETA CT                          ADDRESS ON FILE                   266 WEST 700 NORTH
ELLIJAY, GA 30540                                                       TOOELE, UT 84074




SHAW, MORGAN C.                       SHAW, STEPHANIE R.                SHAWGO, RICK
ADDRESS ON FILE                       ADDRESS ON FILE                   236 GRAND AVE
                                                                        WATERLOO, IL 62298
SHAWMED INC               Case 20-10766-BLS
                                        SHAWN Doc  6
                                              CURTIS       Filed 04/07/20   Page 1598
                                                                                 SHAWNof 1969
                                                                                      HEDDEN
198 W. BROADWAY                          ADDRESS ON FILE                         1177 GREENLEAF STREET
EUGENE, OR 97401-0000                                                            GALESBURG, IL 61401




SHAWN HICKEY                             SHAWN HICKEY                            SHAWN HOLDERFIELD
1035 WOODBINE CIRCLE E                   2012 CORNELIA CT                        ADDRESS ON FILE
GALESBURG, IL 61401                      GALESBURG, IL 61401




SHAWN JUDE                               SHAWN M PRITCHARD                       SHAWN PAICE
ADDRESS ON FILE                          1539 E LOSEY ST                         P.O. BOX 881
                                         GALESBURG, IL 61401                     OVERTON, NV 89040




SHAWNA DOMINGUEZ                         SHAWNAMARIE BLASHFORD                   SHAWNEE ADMINISTRATIVE
2695 LUNA RD                             ADDRESS ON FILE                         204 EAST OAK ST
DEMING, NM 88030                                                                 WEST FRANKFORT, IL 62896




SHAWNEE CC FOUNDATION                    SHAWNEE HEALTH SERVICE AND              SHAWNEE HOODS
8364 SHAWNEE COLLEGE RD                  DEVELOPMENT CORP                        3132 SYCAMORE RD
ULLIN, IL 62992                          P.O. BOX 577, 109 CALIFORNIA ST         CARTERVILLE, IL 62918
                                         CARTERVILLE, IL 62918




SHAWNEE LEAR                             SHAWNEE SERVICES INC                    SHAWNEE STATE UNIVERSITY & SHEREE
ADDRESS ON FILE                          P O BOX 151                             HAY
                                         HURST, IL 62949                         46 3RD STREET
                                                                                 LOUISA, KY 41230




SHAWNEE WORSHIP CENTER                   SHAWVER JEANNIE                         SHAY, MONA D.
P.O. BOX 661                             1815 RURAL ST APT 4                     3109 KENNESAW CIRCLE
VIENNA, IL 62995                         ROCKFORD, IL 61107                      CANTON, OH 44708




SHAY, RAHEL G.                           SHAY, TRACY                             SHAYLA ORTIZ
ADDRESS ON FILE                          1586 10TH ST                            881 TUCSON ST
                                         CUYAHOGA FALLS, OH 44221                MESQUITE, NV 89027




SHAYNE HARRIS                            SHC SERVICES INC                        SHEA, CHANCE
274 S GARLAND RD                         P.O. BOX 677896                         207 WASHINGTON RD
MCKENZIE, AL 36456-4125                  DALLAS, TX 75267-7896                   LAKE FOREST, IL 60045




SHEA, SANDRA L.                          SHEA, TERILYN                           SHEAHAN, LAUREN
ADDRESS ON FILE                          12737 W 28TH ST                         3228 WATSON RD
                                         BEACH PARK, IL 60099                    ST. LOUIS, MO 63139
SHEALY, EDWARD           Case 20-10766-BLS
                                       SHEARD,Doc 6 Filed
                                               NASTOSHIYA Q. 04/07/20   Page 1599 of 1969
                                                                             SHEARER, DEBORAH J.
2804 W 142ND PL                          ADDRESS ON FILE                      ADDRESS ON FILE
BLUE ISLAND, IL 60406




SHEARER, MARGARET                        SHEARER, RACHEL                      SHEARER, THERESA
13026 CLOVER DR                          818 W ERDA WAY                       118 THOMAS BLVD NW
KANSAS CITY, KS 66109                    ERDA, UT 84074                       MASSILLON, OH 44647-9106




SHECKLER, FREDERICK E.                   SHEDDS TREE SERVICE                  SHEDLOCK, JONATHAN
645 MILLER ST                            767 MARBLE CITY RD.                  425 ALLENDALE WAY
P.O. BOX 27                              MINERAL BLUFF, GA 30559              CAMP HILL, PA 17011
BUSHNELL, IL 61422




SHEEHAN & SHEEHAN PA                     SHEEHAN, JESSICA L.                  SHEEHAN, KATHERINE P.
P.O. BOX 271                             ADDRESS ON FILE                      7658 W STERLING DR
ALBUQUERQUE, NM 87103                                                         FRANKFORT, IL 60423




SHEEHAN, ROSE R.                         SHEEHAN, TAMMY                       SHEEHY, JUSTIN
553 ADARE RD                             804 S JESSE ST                       14832 S RICHMOND
BARTLETT, IL 60103                       CHRISTOPHER, IL 62822                POSEN, IL 60469




SHEEHY, ROBERT                           SHEENA M HAYNES                      SHEET METAL WORKERS NATL HEALT
10808 ROYAL GLEN DR                      3688 COUNTY ROAD 369                 P.O. BOX 1449
ORLAND PARK, IL 60467-4578               PISGAH, AL 35765                     GOODLETTSVILLE, TN 37070




SHEETS, BRITTANY                         SHEETS, CINDY                        SHEFFIELD, GERALD O.
925 7TH ST APT B                         1509 DODDS                           3273 JEFFERSON MARION RD
LAS VEGAS, NM 87701                      MT. VERNON, IL 62864                 SE
                                                                              JEFFERSON, OR 97352




SHEFFIELD, SHEILA G.                     SHEFFLER, ELIJAH                     SHEIKH, SHAWN
ADDRESS ON FILE                          532 ETHAN CT                         2552 WESTMORELAND
                                         SPRINGFIELD, OR 97477                GRANITE CITY, IL 62040




SHEILA ANDERSON-ROQUE                    SHEILA BOWENS                        SHEILA CLAYTON
ADDRESS ON FILE                          ADDRESS ON FILE                      1315 MAIN ST APT 15
                                                                              JAMESVILLE, NC 27846




SHEILA FORD                              SHEILA HOFFMAN                       SHEILA NORDSTROM
3200 WEST POINT AVE                      965 N CONECUH ST                     9 COBBLESTONE CT
COLLINSVILLE, IL 62234                   GREENVILLE, AL 36037                 GRANITE CITY, IL 62040
SHEILA PEPMILLER          Case 20-10766-BLS    Doc 6
                                        SHEILA RUTH       Filed 04/07/20   Page 1600
                                                                                SHEILA of 1969
                                                                                       TILLER
1407 BROEKING RD                         140 HOLLYHOCK LANE                     1454 EMERSON WAY
MARION, IL 62959                         EDWARDSVILLE, IL 62025-4227            MONROE, GA 30656




SHEILAS STEM & BUD SHOP                  SHELBY BEAN                            SHELBY CUCUTA
P O BOX 455                              21122 N. MOONBEAM LANE                 505 N E ST
FORT GAY, WV 25514                       TEXICO, IL 62889                       MONMOUTH, IL 61462




SHELBY DAY                               SHELBY RED R                           SHELBY THOMPSON
205 MEADOWCREEK CIRCLE                   25 LAKE SHORE DRIVE N                  ADDRESS ON FILE
LEXINGTON, TN 38351                      GOREVILLE, IL 62939




SHELBY, CYNTHIA Y.                       SHELBY, DENNIS R.                      SHELBY, SUSAN F.
1001 HIGHLAND ST                         ADDRESS ON FILE                        4555 HWY 34 SOUTH
BENTON, IL 62812                                                                HARRISBURG, IL 62946




SHELDON ARCHIBALD                        SHELDON CLARK HIGH SCHOOL              SHELDON, RHETTA
1150 S STATE ST                          388 CARDINAL LANE                      17713 S HARLEM AVE APT 2-S
RICHMOND, UT 84333-1578                  INEZ, KY 41224                         TINLEY PARK, IL 60477




SHELGREN DAVID MAC                       SHELGREN, DAVID MAC                    SHELIA BROOKS
2661 N 5TH ST                            2661 N 5TH ST                          402 SOUTH ST
SPRINGFIELD, OR 97477                    SPRINGFIELD, OR 97477                  GREENVILLE, AL 36037




SHELIA D ROBERTS                         SHELIA M ROUGEAUX                      SHELIA STARKEY
469 CARL DAVIS RD NW                     6239 SETTLERS SQUARE LANE              76 ROAD 9042
MONROE, GA 30656-3435                    KATY, TX 77449                         HENAGER, AL 35978




SHELL, JENNIFER J.                       SHELLENBERG, KERRI                     SHELLENBERGER, ZOIE A.
286 BRUSHY CREEK RD                      312 WICKLIFFE ST                       772 N MAIN ST 118
GEORGIANA, AL 36033                      TROY, IL 62294                         TOOELE, UT 84074




SHELLEY MALONE                           SHELLEY MCARTHUR                       SHELLEY MEYERS
1002 E REEVES ST                         P O BOX 28                             15 RUSHTON DRIVE
MARION, IL 62959                         HOLLOW ROCK, TN 38342                  MT. VERNON, IL 62864




SHELLEY, KAREN R.                        SHELLNUT, SHEILA F.                    SHELLY HEPNER
9759 ALABAMA HWY 40                      1908 GODFREY AVE                       6340 SHEPLER CHURCH AVE SW
HENAGAR, AL 35978                        FT.PAYNE, AL 35967                     NAVARRE, OH 44662
SHELLY LANEY              Case 20-10766-BLS   Doc
                                        SHELTON JB 6        Filed 04/07/20   Page 1601  of TURNBULL
                                                                                  SHELTON  1969 INC
ADDRESS ON FILE                          2536 N POPLAR ST                         P.O. BOX 22008
                                         WAUKEGAN, IL 60087                       EUGENE, OR 97402




SHELTON, AMBER DAWN                      SHELTON, AMY                             SHELTON, DAVID CRAIG
601 S RUSSELL                            1500 N. 8TH STREET P.O. BOX 417          597 BROWNS CHAPEL RD
MARION, IL 62959                         HERRIN, IL 62948                         RAINSVILLE, AL 35986-4805




SHELTON, DENETTA                         SHELTON, GAYLE                           SHELTON, JEREMY A.
990 CO. ROAD 25 NORTH                    15667 E WINDSONG RD                      ADDRESS ON FILE
WAYNE CITY, IL 62895                     MOUNT VERNON, IL 62864




SHELTON, JULIE A.                        SHELTON, LISA H.                         SHELTON, MICHAEL
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE




SHELTON, MICHAEL                         SHELVER NP, MARTHA                       SHEMWELL, KANDEE K.
ADDRESS ON FILE                          16 WINDY RIDGE CT                        1528 GARFIELD
                                         MAUMELLE, AR 72113-7503                  GRANITE CITY, IL 62040




SHENANDOAH LIFE INSURANCE                SHENELL ROBERTS                          SHENJE, LINCOLN
P.O. BOX 14459                           2005 MADISON AVE                         3 WEST PINE COURT
CLEARWATER, FL 33766-4459                WEST MEMPHIS, AR 72301                   SAINT LOUIS, MO 63108




SHENOUDA, MARIANNE G.                    SHEPARD SHAMONA D                        SHEPARD STEPHEN M
924 WEST 67TH                            421 S LINCOLN AVE                        35668 ENTERPRISE RD
DARIEN, IL 60561                         WAUKEGAN, IL 60085                       CRESWELL, OR 97426-0000




SHEPARD, ANTONESHIA L.                   SHEPHERD KAYLA                           SHEPHERD MARTHA M
ADDRESS ON FILE                          2470 TURKEY CREEK ROAD                   P.O. BOX 22
                                         HALLIE, KY 41821                         MCCAYSVILLE, GA 30555




SHEPHERD PEGGY S                         SHEPHERD PEGGY S                         SHEPHERD, ALISON H.
1190 MILLHOLLAND RD                      1190 MILLHOLLAND RD.                     23 CR 7429
MINERAL BLUFF, GA 30559                  MINERAL BLUFF, GA 30559                  WYNNE, AR 72396




SHEPHERD, ALISON H.                      SHEPHERD, ALISON                         SHEPHERD, ALISON
ADDRESS ON FILE                          ADDRESS ON FILE                          ADDRESS ON FILE
SHEPHERD, CHELSEA R. Case 20-10766-BLS    DocJARED
                                   SHEPHERD,   6 Filed 04/07/20   Page 1602 of 1969
                                                                       SHEPHERD, JOSHUA R.
82 GREENLAWN CEMETERY RD           857 MADISON AVE                      ADDRESS ON FILE
LOUISA, KY 41230                   EDWARDSVILLE, IL 62025




SHEPHERD, KRISTIN D.               SHEPHERD, LINDSEY                    SHEPHERD, PHILIP
ADDRESS ON FILE                    1770 PULLEYS MILL RD                 1190 ILLHOLLAND RD
                                   GOREVILLE, IL 62939                  MINERAL BLUFF, GA 30559




SHEPHERD, PHILLIP                  SHEPHERD, RACHELLE N.                SHEPHERD, ROBERT L.
1190 MILLHOLLAND RD.               859 BETHESDA MISSION RD              529 NORVEL ST
MINERAL BLUFF, GA 30559            CAMPTON, KY 41301                    GREENVILLE, AL 36037-2839




SHEPHERD, SHERRY L.                SHEPHERD, SUSANNE                    SHEPHERD, WILLIAM L.
ADDRESS ON FILE                    3200 APPERSON DR                     ADDRESS ON FILE
                                   MIDLAND, TX 79705




SHEPHERD, WILLIAM                  SHEPLER, CHRISTINA                   SHEPPARD, BAILEY
ADDRESS ON FILE                    11764 TOWNSHIP ROAD 252              ADDRESS ON FILE
                                   GLENMONT, OH 44628




SHEPPARD, DIANE R.                 SHEPPARD, TAMMY S.                   SHEPPARD, TIFFANY HEATHER
ADDRESS ON FILE                    ADDRESS ON FILE                      195 THURMOND LN
                                                                        BEECH BLUFF, TN 38313




SHER & SHABSIN, PC                 SHERADEN, TIM                        SHERARD, ANNETTE
1 CAMPBELL PLAZA                   1820 CHERRY STREET                   1232 WINDY PASS
STE 1A NORTH                       MT. VERNON, IL 62864                 BARSTOW, CA 92311
ST. LOUIS, MO 63139




SHERATON, THE                      SHERE, HENRY E.                      SHERECIA WILLIS
10605 DEERWOOD PARK BLVD           ADDRESS ON FILE                      C/O NELSON O. TYRONE, TYRONE LAW FIRM
JACKSONVILLE, FL 32256                                                  1201 PEACHTREE ST., NE, SUITE 2000
                                                                        ATLANTA, GA 30361




SHERER, JANICE                     SHERER, MARTHA J.                    SHERFY, MARGARET S
OR GAIL S TALERICO                 ADDRESS ON FILE                      4429 SEILER RD
12981 ELTON ST SW                                                       DORSEY, IL 62021
NAVARRE, OH 44662




SHERI HOHENBERY                    SHERI SPURGIN                        SHERI WILSON
1180 BRIDGEPORT RD                 ADDRESS ON FILE                      3204 MULBERRY AVE
LONDON MILLS, IL 61544                                                  MT VERNON, IL 62864
SHERIDAN ROAD FINANCIALCase 20-10766-BLS   Doc
                                     SHERIDAN,   6 T.Filed 04/07/20
                                               DERIC                  Page 1603  of 1969
                                                                           SHERIDAN, JESSICA
707 SKOKIE BOULEVARD, SUITE 400      ADDRESS ON FILE                        9070 S CHIMISA RANCH RD
NORTHBROOK, IL 60062                                                        SHOW LOW, AZ 85901




SHERIDAN, JUSTIN K.                  SHERIDAN, JUSTIN K.                    SHERIDAN, KOLBE J. - CEO
4228 WEST PINE BLVD                  ADDRESS ON FILE                        BARSTOW COMMUNITY HOSPITAL
ST. LOUIS, MO 63108                                                         820 EAST MOUNTAIN VIEW
                                                                            BARSTOW, CA 92311




SHERIDAN, KOLBE J.                   SHERIDAN, KOLBE                        SHERIDAN, SARA J.
4228 WEST PINE BLVD                  7153 WALES VIEW CIR NW                 ADDRESS ON FILE
ST. LOUIS, MO 63108                  UNIT D
                                     NORTH CANTON, OH 44720




SHERIFF COMMUNITY IMPACT PROGRAM     SHERLIN, STEVEN A.                     SHERLIN, STEVEN A.
310 E MAIN STREET                    ADDRESS ON FILE                        1416 MOHAWK TRAIL
C/O SHERIFF CHUCK JACKSON                                                   MURFREESBORO, TN 37129
LOUISA, KY 41230




SHERMAN COMMUNITY FOUNDATION         SHERMAN DANA                           SHERMAN TONI P
ATTN: PAULI GALIN                    1405 E MAIN ST                         37521 RIVERSIDE DR
210 S. SILVER AVE                    APT 803                                PLEASANT HILL, OR 97455
DEMING, NM 88030                     WEST FRANKFORT, IL 62896




SHERMAN WILLIAMS CO, THE             SHERMAN, CAROL                         SHERMAN, JOANN
6400 BUSINESS PK LOOP RD             332 E LEGRANDE DR                      ADDRESS ON FILE
PARK CITY, UT 84098-6208             GRANTSVILLE, UT 84029




SHERMAN, MANDY                       SHERMAN, PAULA                         SHERMAN, SONYIA
535 BURGLAND AVE.                    2359 HICKORY CREEK RD                  1770 MACEDONIA
GALESBURG, IL 61401                  DUBOIS, IL 62831                       HENRY, TN 38231-6616




SHERMAN-BRANDON, SARA B.             SHERMANPFEIFFER, SAMUEL                SHERMER EVELYN M
ADDRESS ON FILE                      ADDRESS ON FILE                        1817 STANFORD PL
                                                                            EDWARDSVILLE, IL 62025




SHERON, PAULA J.                     SHERON, TYISHA J.                      SHERON, TYISHA
ADDRESS ON FILE                      1405 81ST STREET                       2144 89TH ST
                                     KENOSHA, WI 53143                      APT 3
                                                                            KENOSHA, WI 53143




SHERON, WILLIAM E.                   SHERRELL, KENI S.                      SHERRI ELLSWORTH
ADDRESS ON FILE                      ADDRESS ON FILE                        247 E. 200 AVE
                                                                            P.O. BOX 184
                                                                            PATOKA, IL 62875
SHERRI HAYNES           Case 20-10766-BLS
                                      SHERRI Doc  6 Filed 04/07/20
                                             MCMILLAN                Page 1604
                                                                          SHERRIof 1969- PETTY CASH
                                                                                MEATTE
2819 MITCHELL ST                       573 OSPREY ST                       ADDRESS ON FILE
HUMBOLDT, TN 38343                     MESQUITE, NV 89027




SHERRIE BROCK                          SHERRIE DOLBEE                      SHERRILL KATHERINE
537 N BROAD ST                         519 SHERIDAN                        2377 ROCKWOOD ST
GALESBURG, IL 61401                    BETHALTO, IL 62010                  EUGENE, OR 97405




SHERRILL, DAVID H.                     SHERRY A WILLIAMS                   SHERRY BOWEN
ADDRESS ON FILE                        2908 GREENBRIAR DR                  ADDRESS ON FILE
                                       FT WAYNE, IN 46804




SHERRY C SCOTT                         SHERRY CHERRY                       SHERRY KITCH
P.O. BOX 485                           ADDRESS ON FILE                     428 KNOX HWY 37
ROBERSONVILLE, NC 27871                                                    WATAGA, IL 61488




SHERRY L HAMNER                        SHERRY MASSIE                       SHERRY MCLAUGHLIN
8069 GOODRICH RD SW                    379 MAIN ST                         ADDRESS ON FILE
NAVARRE, OH 44662                      P.O. BOX 374
                                       ULLIN, IL 62992




SHERRY MYERS                           SHERRY NORRIS                       SHERVINSKIE, NATHAN
204 DOUGLAS ST                         1220 GIBSON RD                      44 HARVEY LN
AVON, IL 61415                         GREENVILLE, AL 36037-6620           MILL HALL, PA 17751




SHERWIN WILLIAMS CO, THE               SHERWIN WILLIAMS CO, THE            SHERWIN WILLIAMS CO.
1901 W DEYOUNG ST                      7443 2307 SCURRY ST                 ADDRESS ON FILE
MARION, IL 62959                       BIG SPRING, TX 79720




SHERWIN WILLIAMS CO., INC.             SHERWIN WILLIAMS CO., INC.          SHERWIN WILLIAMS CO., INC.
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




SHERWIN WILLIAMS CO., INC.             SHERWIN WILLIAMS CO., INC.          SHERWIN WILLIAMS CO., INC.
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE




SHERWIN WILLIAMS CO., INC.             SHERWIN WILLIAMS CO., INC.          SHERWIN WILLIAMS CO., INC.
ADDRESS ON FILE                        ADDRESS ON FILE                     ADDRESS ON FILE
                        Case 20-10766-BLS
SHERWIN WILLIAMS CO., INC.                  Doc
                                      SHERWIN    6 Filed
                                              WILLIAMS        04/07/20
                                                       CO., INC.         Page 1605 of WILLIAMS
                                                                              SHERWIN 1969 CO., INC.
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




SHERWIN WILLIAMS CO., INC.             SHERWIN WILLIAMS CO., INC.             SHERWIN WILLIAMS CO., INC.
ADDRESS ON FILE                        ADDRESS ON FILE                        ADDRESS ON FILE




SHERWIN WILLIAMS, INC                  SHERWIN-WILLIAMS CO, THE               SHERWIN-WILLIAMS CO, THE
720 INDUSTRIAL BLVD                    3020 MADISON AVE                       308 TYSON AVE
ELLIJAY, GA 30540                      GRANITE CITY, IL 62040-3618            PARIS, TN 38242-4597




SHERWIN-WILLIAMS COMPANY               SHERWIN-WILLIAMS                       SHERWOOD, CLAIRE
704 LINCOLN WAY E                      2246 PROMENADE COURT                   115 PINE CONE RD
MASSILLON, OH 44646                    GALESBURG, IL 61401                    BLUE RIDGE, GA 30513-5004




SHERWOOD, IRENE                        SHERWOOD, JESSICA L.                   SHERWOOD, SUSAN
6988 B STREET                          602 S GLENVIEW                         854 S 810 W
SPRINGFIELD, OR 97478                  CARBONDALE, IL 62901                   TOOELE, UT 84074




SHERYL COOPER                          SHERYL PAVLAK                          SHERYL PIORKOWSKI
5727 SECREST RD                        ADDRESS ON FILE                        501 LONGVIEW AVE
WOOSTER, OH 44691                                                             CANAL FULTON, OH 44614




SHERYL REHMER                          SHETH, RAJENDRA                        SHETLER, ANDREW
ADDRESS ON FILE                        ADDRESS ON FILE                        9131 COUNTY RD 245
                                                                              HOLMESVILLE, OH 44633




SHETLER, BARBARA A.                    SHETLER, RENEE J.                      SHEW BROS., INC D/B/A
1123 SEQUOIA DR NW                     1899 DEERMONT AVE NW                   RON SHEW WELDING & FABRICATING
STRASBURG, OH 44680                    MASSILLON, OH 44647                    812 WEST LONGSTREET RD
                                                                              MARION, IL 62959




SHEW, MARIEA M.                        SHIBE, MARTIN                          SHICK, CAMERON
39508 HOWARD ROAD                      P.O.BOX 338                            ADDRESS ON FILE
MARCOLA, OR 97454                      IRVINGTON, IL 62848




SHIDLER, ANITA                         SHIELA ANDERSON-ROQUE                  SHIELDS DOROTHY J
425 ORRVILLA DR                        ADDRESS ON FILE                        205 ROCKING CHAIR RD
APT 39                                                                        MINERAL BLUFF, GA 30559
ORRVILLE, OH 44667
SHIELDS JANETTE          Case 20-10766-BLS
                                       SHIELDSDoc    6 Filed 04/07/20
                                               JR., BOBBY               Page 1606  ofJULIE
                                                                             SHIELDS  1969 D
803 W VINE ST                            1382 LAUREL SPRINGS RD               251 HOMETOWN COURT
TOOELE, UT 84074                         MINERAL BLUFF, GA 30559              TOOELE, UT 84074




SHIELDS, AMY                             SHIELDS, ANJELA M.                   SHIELDS, EMILY B.
472 W 670 N                              ADDRESS ON FILE                      961 SEVEN OAKS BLVD
TOOELE, UT 84074-0000                                                         APT 6105
                                                                              SMYRNA, TN 37167




SHIELDS, HELEN S                         SHIELDS, KATHERINE J.                SHIELDS, KELLIE S
10994 W US HIGHWAY 64                    ADDRESS ON FILE                      212 VAN BUREN ST
MURPHY, NC 28906                                                              RED BUD, IL 62278




SHIELDS, KRISTINE D.                     SHIELDS, KYLEE R.                    SHIELDS, KYLEE
1725 RIDGE ROAD                          ADDRESS ON FILE                      ADDRESS ON FILE
HOMEWOOD, IL 60430




SHIELDS, MARLA                           SHIELDS, SIERRA                      SHIELDS, VICKIE
6630 SHIELDS LN                          5342 BRICK SCHOOL RD                 16547 N. BLUE JAY LANE
RED BUD, IL 62278-2811                   NEW ATHENS, IL 62264                 BLUFORD, IL 62814




SHIFLET, FRANK                           SHIKITA BROWN                        SHILL LESLIE C
66 ARBOR SPRINGS                         ADDRESS ON FILE                      908 N RADCLIFF ST
TROY, IL 62294                                                                MARION, IL 62959




SHILL, ELAINE A.                         SHILLCOX, CHRYSTANNE                 SHILLCUTT DIANE
ADDRESS ON FILE                          5365 SOUTH 750 EAST                  294 TRAILS END RD
                                         SO OGDEN, UT 84405                   BLUE RIDGE, GA 30513




SHILLING STACEY A                        SHILLING, JEFFREY                    SHILOH BAPTIST CHURCH OF WAUKEGAN
10805 BRANDT ROAD                        2320 SOUTHWAY ST SW                  800 S GENESEE STREET
ALHAMBRA, IL 62001                       APPLE CREEK, OH 44646                WAUKEGAN, IL 60085




SHIMANSKI, ISABEL C.                     SHIMENETTO ISABEL M                  SHIMKUS, KAREN
ADDRESS ON FILE                          25282 W LEHMANN BLVD                 504 SUMNER BLVD
                                         LAKE VILLA, IL 60046                 COLLINSVILLE, IL 62234-1934




SHINDYAKOV, PAVEL A.                     SHINN, SAMANTHA J.                   SHINPAUGH, MELODIE
ADDRESS ON FILE                          ADDRESS ON FILE
SHIOZAWA, TROY          Case 20-10766-BLS    Doc
                                      SHIPLEY,    6 Filed
                                               COURTNEY A. 04/07/20   Page 1607  ofDIANNE
                                                                           SHIPLEY, 1969 O.
P.O. BOX 1060                          ADDRESS ON FILE                      32567 N CENTER LN
LOGANDALE, NV 89021                                                         GRAYSLAKE, IL 60030




SHIPLEY, MARGARET                      SHIPLEY, SHARON                      SHIPMAN MARGARET L
ADDRESS ON FILE                        2455 BROWN RD                        52 MYRTLE LANE
                                       JAMESVILLE, NC 27846                 SYLVANIA, AL 35988-4261




SHIPP, DENISE H.                       SHIPP, JESSICA R.                    SHIPP, STEFANIE L.
7271 LUVERNE HWY                       914 JOPLIN STREET                    5803 GRANDVIEW TERRACE
GREENVILLE, AL 36037                   BENTON, IL 62812                     WATERLOO, IL 62298




SHIPPERT MEDICAL TECHNOLOGIES          SHIPPEY, MARY                        SHIPTON, JOSEPH
6248 S TROY CIRCLE UNIT A              2138 BREEDLOVE SPRGS CT              308 W SANFORD STREET
CENTENNIAL, CO 80111                   MONROE, GA 30656                     BUNKER HILL, IL 62014-0000




SHIPWAY, PAM                           SHIRAH, JULIE D.                     SHIREMAN MARY B
202 BRIAR LN                           ADDRESS ON FILE                      120 MOSSY CREEK TRL
LINDENHURST, IL 60046                                                       MURPHY, NC 28906




SHIREY, JENNIFER                       SHIRL K FLORAL DESIGNS               SHIRLEY GRAVES
2105 CECILIA ST.                       2701 PONTOON RD                      3904 HOMESTEAD COURT
BIG SPRING, TX 79720                   GRANITE CITY, IL 62040               GRANBURY, TX 76049




SHIRLEY HUTCHINS                       SHIRLEY L HARTING                    SHIRLEY L SANDY
5420 JUNE IVEY RD NW                   17 ROSECLAIR LANE                    240 S CONECUH ST
BETHLEHEM, GA 30620-4707               CENTRALIA, IL 62801                  GREENVILLE, AL 36037




SHIRLEY M HUDSON                       SHIRLEY MILLER                       SHIRLEY R MELLOTT
1665 DEBSAN CICLE                      ADDRESS ON FILE                      110 NW LEBANON RD LOT 107
GREENVILLE, NC 27834                                                        DALTON, OH 44618




SHIRLEY WADIAN                         SHIRLEY WILLS                        SHIRLEY, AMANDA L.
2121 MAIN AVE NW                       1713 PARKVIEW DR                     898 RICHARD BROWN BLVD.
MASSILLON, OH 44647                    HIGHLAND, IL 62249                   VOLO, IL 60073




SHIRLEY, BROCK                         SHIRLEY, DOTTIE J                    SHIRLEY, DOTTIE J.
1919 LOGAN ST., REAR                   ADDRESS ON FILE                      ADDRESS ON FILE
MURPHYSBORO, IL 62966
SHIRLEY, KATHY           Case 20-10766-BLS    Doc
                                       SHIRLEY,    6 Filed 04/07/20
                                                SAMUEL                  Page 1608   of GEORGEANNE
                                                                             SHIRLING, 1969       F.
17741 HWY 70 WEST                       ADDRESS ON FILE                       6940 HIGHLAND PARK DRIVE
WHEATLEY, AR 72392                                                            NASHVILLE, TN 37205




SHISHEM, EDWARD M, ATTORNEY             SHISKO, SUSAN E                       SHIVE, BETTY
53 W JACKSON BLVD                       3123 COLGATE PL                       2550 CLEVELAND AVE NW
SUITE 928                               GRANITE CITY, IL 62040                CANTON, OH 44709
CHICAGO, IL 60604




SHIVER, CHRISTOPHER R.                  SHIVER, JULIAN                        SHIVERS, WILLIAM
104 14TH ST SW                          7329 LAKE WALTON BLVD                 494 DYERSBURG HWY
FORT PAYNE, AL 35967                    COVINGTON, GA 30014                   TRENTON, TN 38382-9576




SHIVES, JASON, MD                       SHOAF, EMILY                          SHOAF, PATTI F.
80 E. LAKE RD                           962 WESTMEADE DRIVE                   ADDRESS ON FILE
HATTISBURG, MS 39402                    CHESTERFIELD, MO 63005




SHOAF, PATTI                            SHOAFFS WINDOW CLEANING               SHOAT JR., EDMOND F.
ADDRESS ON FILE                         1278 W BATH RD                        9708 NOTTINGHAM AVE APT 2
                                        CUYAHOGA FALLS, OH 44223-3057         CHICAGO RIDGE, IL 60415




SHOCKEY TOUR INC                        SHOCKLEY, NICHOLAS K.                 SHOCKWATCH INC DBA SPOTSEE
11117 DECIMAL DRIVE                     ADDRESS ON FILE                       P.O. BOX 679123
LOUISVILLE, IL 40299                                                          DALLAS, TX 75267-9123




SHOCKWATCH INC DBA SPOTSEE              SHOEMAKE KATHY L                      SHOEMAKE, CHAD
PO BOX 679123                           105 JACKSON LANE                      903 E. ILLINOIS AVE
DALLAS, TX 75267-9123                   ENERGY, IL 62933                      CARTERVILLE, IL 62918




SHOEMAKE, CHERYL J.                     SHOEMAKE, CHERYL J.                   SHOEMAKER, AMANDA
3314 PECAN GROVE ROAD                   ADDRESS ON FILE                       ADDRESS ON FILE
ALMA, AR 72921




SHOEMAKER, NATALIE D.                   SHOEMAKER, NELLIE                     SHOEMAKER, SCOTT
ADDRESS ON FILE                         ADDRESS ON FILE                       1600 HAAG AVE SW
                                                                              MASSILLON, OH 44646-9410




SHOEMAKER, SISSY                        SHOENFELT, WARREN S.                  SHOFFNER, MEGAN D.
1010 PUEBLO DR                          7404 SHEPLER CHURCH AVE               ADDRESS ON FILE
BARSTOW, CA 92311                       NAVARRE, OH 44662
SHOGREN, TERESA          Case 20-10766-BLS   Doc 6 CHERYL
                                       SHOLLENBERGER, Filed 04/07/20   Page 1609 of 1969
                                                                            SHOMAKEER, JILL
3200 PARKLAND DR                        22375 MISSORI RD                     885 MACEDONIA RD
BOSSIER CITY, LA 71111                  ASHLEY, IL 62808                     MCKENZIE, TN 38201




SHON LOQUASTO                           SHONK, VIRGINIA                      SHONTS, JENNIFER M.
8246 COUNTY HWY 17                      9959 ERIE AVE SW                     1229 EASTON ST NE
NASHVILLE, IL 62263                     BEACH CITY, OH 44608-9724            CANTON, OH 44721




SHOOK, PATRICIA F.                      SHOOK, PATRICIA                      SHOPE, BRIAN
8930 N ST RT 159                        8930 N. STATE ROUTE 159              339 OAK ST
DORSEY, IL 62021                        DORSEY, IL 62021                     JERSEY SHORE, PA 17740




SHOPE, HOKUOKEKAI L.                    SHOPE, ROBERT                        SHOPINSKI, DEB
53 N GLENWOOD AVE                       6452 DORAL DR NW                     226 W. JACKSON STREET
TOOELE, UT 84074                        CANTON, OH 44718                     P.O. BOX 115
                                                                             ASHLEY, IL 62808




SHOPPERS WEEKLY PAPER                   SHORB, KAREN L.                      SHORES, KRISTI
P O BOX 1223                            885 COUNTY ROAD 1362 NORTH           37 FOREST VIEW RD
CENTRALIA, IL 62801                     CARMI, IL 62821                      DAHINDA, IL 61428




SHOREWOOD HOME & AUTO, INC.             SHORT ALISA                          SHORT TIFFANY A
3445 EAGLE NEST DR                      440 FAWN LANE                        ADDRESS ON FILE
CRETE, IL 60417                         MURPHY, NC 28906




SHORT, ANGELA V.                        SHORT, BRITTANY J.                   SHORT, CHELSEE
1760 REDDICKS GROVE CHURCH RD.          109 HERON DRIVE                      210 W MAIN STREET
WILLIAMSTON, NC 27892                   LOUISA, KY 41230                     LOUISA, KY 41230




SHORT, DEVON O.                         SHORT, JILL                          SHORT, LISA R.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




SHORT, MARCIA                           SHORT, SHANNON                       SHORT, SHEILA K.
1309 SPRINGHILL AVE NE                  3571 APALACHEE RIDGE                 109 HERON DR
MASSILLON, OH 44646                     MONROE, GA 30656                     LOUISA, KY 41230




SHORT, TIFFANY T.                       SHORTLEDGE, ADDALEE I.               SHORTSTANCL,E TERESA
ADDRESS ON FILE                         359 W WINTER RD                      2218 CARMEL BLVD
                                        LOGANTON, PA 17747                   ZION, IL 60099
SHOSTRAND, ANTHONY        Case 20-10766-BLS
                                        SHOTTS,Doc 6 D. Filed 04/07/20
                                                CAROL                    Page 1610 of 1969
                                                                              SHOTWELL, MARILYN G
P.O. BOX 553                              607 S. PRAIRIE ST                    3060 PARK AVE
MCKENZIE, TN 38201                        KNOXVILLE, IL 61448                  MATTITUCK, NY 11952




SHOULDERS, JAILYN E.                      SHOULTS, VELVET                      SHOUP, ALONA J.
ADDRESS ON FILE                           4217 E FARM ROAD 132                 8061 FIVE POINTS RD
                                          SPRINGFIELD, MO 65802                SMITHVILLE, OH 44677




SHOUP, ROSAURA                            SHOUSE, KENNY                        SHOUSE, SHELLIE D.
2614 CENTRAL DR                           1361 KY 708                          ADDRESS ON FILE
BIG SPRING, TX 79720                      BOONEVILLE, KY 41314




SHOUSE, WILMA                             SHOUSE-NEACE, VICTORIA               SHOWALTER, JENNIFER L.
4430 HIGHWAY 205                          P.O. BOX 189                         113 STONEBRIDGE CROSSING DR
CAMPTON, KY 41301-9793                    LOST CREEK, KY 41348                 MARYVILLE, IL 62062




SHOWERS, BROOKS                           SHOWERS, GLORIA J.                   SHOWERS, HELEN
576 MAIN ST                               P.O. BOX 116                         9775 BIMELER ST NE
JERSEY SHORE, PA 17740-8159               MC ELHATTAN, PA 17748-0116           BOLIVAR, OH 44612




SHOWERS, SACHA                            SHRADER, BRANDI                      SHRADER, NATASHA H.
1196 CEMENT HOLLOW RD                     ADDRESS ON FILE                      ADDRESS ON FILE
JERSEY SHORE, PA 17740




SHRADER, TAYLOR L.                        SHRECKENGAST, ANDREA                 SHRECKENGAST, BESSIE
1612 DOGTOWN RD SE P.O. BOX 681683        47 BILLS LN                          6 MANN AVE
FORT PAYNE, AL 35967                      BEECH CREEK, PA 16822                MILL HALL, PA 17751




SHRED IT USA                              SHRED IT USA                         SHRED-IT CHICAGO
23166 NETWORK PLACE                       28883 NETWORK PLACE                  28883 NETWORK PLACE
CHICAGO, IL 60673-1252                    CHICAGO, IL 60673                    CHICAGO, IL 60673-1288




SHRED-IT USA LLC                          SHRED-IT USA                         SHRED-IT USA
28883 NETWORK PLACE                       28883 NETWORK PLACE                  P.O. BOX 101007
CHICAGO, IL 60673-0000                    CHICAGO, IL 60673-1288               PASADENA, CA 91189-1007




SHRED-IT USA                              SHRED-IT                             SHRED-IT
P.O. BOX 13574                            28883 NETWORK PLACE                  28883 NEWORK PLACE
NEW YORK, NY 10087-3574                   CHICAGO, IL 60673-1288               CHICAGO, IL 60673-1288
SHREEVES, BRENT          Case 20-10766-BLS
                                       SHREVE,Doc 6 Filed 04/07/20
                                               BECKY                      Page 1611 ofGREGG
                                                                               SHREVE, 1969
824 KNOX HIGHWAY 8                      P.O.BOX 14                             9484 MENNONITE RD
GILSON, IL 61436                        WAYNE CITY, IL 62895                   WADSWORTH, OH 44281




SHREVE, JANELL                          SHREVE, MARY A.                        SHRI SAIBABA LLC
3335 WISE CREEK LN                      ADDRESS ON FILE                        1965 HARRISON DRIVE
AIKEN, SC 29801-2512                                                           EVANSTON, WY 82930




SHRIDER, TRISTA                         SHRILEY BRYSON                         SHRINE OUR LADY OF THE SNOWS
324 OHIO AVE NE                         11775 RIDER LANE                       C/O BETTE MEYER-MI HITS HOME
MASSILLON, OH 44646                     SHAWNEETOWN, IL 62984                  442 S DE MAZENOD DR
                                                                               BELLEVILLE, IL 62223




SHROCK, ERVIN                           SHROFF, DR. MANISH                     SHROUDER, ISABEL
14641 NAVARRE RD SW                     715 SAGE CIRCLE                        ADDRESS ON FILE
WILMOT, OH 44689-9701                   BIG SPRING, TX 79720




SHROYER, JACK                           SHRUM, GREG A.                         SHRYACK, MELODY
218 HIGH ST NW                          6905 GOEDDELTOWN RD                    8368 E AIRPORT RD
NAVARRE, OH 44662                       WATERLOO, IL 62298                     IPAVA, IL 61441




SHSMD                                   SHSMD/AHA                              SHUBERT, KATHERINE A.
P.O. BOX 75315                          75 REMITTANCE DRIVE, SUITE 1885        ADDRESS ON FILE
CHICAGO, IL 60675-5315                  CHICAGO, IL 60675-1885




SHUBERT, RHONDA E.                      SHUBERT, TAELOR J.                     SHUBIN, DESIREE - ITV
66 WESTVIEW DRIVE                       235 W 200 S                            ADDRESS ON FILE
BLUE RIDGE, GA 30522                    TOOELE, UT 84074




SHUBIN, DESIREE R.                      SHUCK, CHRISTIE L.                     SHUCK, DAWN M.
ADDRESS ON FILE                         ADDRESS ON FILE                        1114 LARKIN DR SW
                                                                               NEW PHILADELPHIA, OH 44663




SHUGART KELSEY                          SHUGART, ANNA MARIA                    SHUGART, ASHLEY
419 SADDLE ROAD                         1508 BOULDER DR SE                     707 E 16TH ST
GRANTSVILLE, UT 84029                   FORT PAYNE, AL 35967-7219              BIG SPRING, TX 79720




SHUGART, BYRON L.                       SHUGRUE, STEPHEN M.                    SHUKITES, ANNABELLE L.
102 PLAYA BLVD                          703 SCOTT DR                           304 N VICTOR ST
LA SELVA BEACH, CA 95076                BIG SPRING, TX 79720                   CHRISTOPHER, IL 62822
SHULL BOB L               Case 20-10766-BLS    DocL. 6
                                        SHULL, BOB         Filed 04/07/20   Page 1612
                                                                                 SHULL, of 1969
                                                                                        KRISTY M.
262 340TH ST                              262 340TH ST                            5880 BENJAMIN ST. SW
RIO, IL 61472                             RIO, IL 61472                           CANTON, OH 44706




SHULTS, MELISSA                           SHULTZ, LORA                            SHULTZ, MITRA SUSAN
825 W RAVINSWOOD ROAD                     905 N ELLISON ST                        ADDRESS ON FILE
PEORIA, IL 61615                          ABINGDON, IL 61410




SHULTZ, MITRA                             SHUMAKER, PAULA                         SHUMAN, SHERRY G.
ADDRESS ON FILE                           5108 COLIN CT                           2102 BREEDLOVE SPRINGS CT
                                          SELLERBURG, IN 47172                    MONROE, GA 30656




SHUMSKY THERAPEUTIC PILLOWS LLC           SHUMWAY, DORETTA                        SHURTZ, TIFFANY
P.O. BOX 821                              780 FREDRICKSON LANE                    3501 E. BONNIE RD
ATTN. ACCOUNTS PAYABLE                    VERNON, UT 84080                        SCHELLER, IL 62883-2416
MIDDLETOWN, OH 45042




SHUTTERSTOCK INC                          SHUTTLEWORTH LAW FIRM LLC               SHUTTS KARJOLA, MEGAN M.
DEPT CH 17445                             AND FITZGERALD ENTERPRISES INC          ADDRESS ON FILE
PALATINE, IL 60055-7445                   9359 W 75TH ST
                                          OVERLAND PARK, KS 66204




SHY, PHYLLIS T.                           SHYANNE R REYNOLDS                      SHYMKUS, SUSAN A.
12609 MAPLE AVE                           119 BUCK EARL LN                        915 LOCUST LANE
BLUE ISLAND, IL 60406                     MIDDLESBURG, PA 17842                   PEOTONE, IL 60468




SI, ABEGAIL                               SIADEK, ROSE MARIE                      SIATKOWSKI, DAVID
ADDRESS ON FILE                           116 RUECK                               818 LOGAN ST
                                          COLUMBIA, IL 62236                      ALTON, IL 62002




SIATOS, SUE E.                            SIBERT MARY J                           SIBERT, SAVANNAH
815 LYNN DR                               2211 LAURA ST, APT 226                  ADDRESS ON FILE
GOODLETTSVILLE, TN 37072                  SPRINGFIELD, OR 97477-0000




SIBIA, JASWANT                            SIBLEY AUTO & FARM SUPPLY INC           SIBLEY, ELIZABETH K.
114 WEST HONEYSUCKLE DRIVE                81 PLAZA AVE                            ADDRESS ON FILE
ROUNDLAKE, IL 60073                       WEST HELENA, AR 72390




SIBLEY, JAMES                             SIBLEY, KENDRA                          SICHE
61N RIVERBEND DR                          708 EAST PEARL STREET                   P.O. BOX 192
MARION, AR 72364                          JERSEYVILLE, IL 62052                   CARBONDALE, IL 62903
SICHLING, CHERI           Case 20-10766-BLS
                                        SICHTA, Doc 6 A.Filed 04/07/20
                                                GEORGE                   Page 1613  ofRAMONA
                                                                              SICKLES, 1969 A.
110 N 3RD ST APT10                        3455 CARRIAGE LANE                  104 WEST LOWER STREET
MONMOUTH, IL 61462                        HUMBOLDT, TN 38343                  ABINGDON, IL 61410




SID MARKS FLOOR INSTALLATIONS             SIDDENS, ANGELA                     SIDDIQUI, DR.. AISHA
1175 SEQUOIA AVE                          ADDRESS ON FILE                     28455 PINEHURST CIRCLE
SPRINGFIELD, OR 97477                                                         EASTON, MD 21601




SIDDON-BATI, TARA A.                      SIDDON-BATI, TARA                   SIDDOWAY, KAREN
ADDRESS ON FILE                           ADDRESS ON FILE                     P.O. BOX 252
                                                                              LAKETOWN, UT 84038-0252




SIDDOWAY, KYLIA                           SIDDOWAY, KYLIA                     SIDEBARR TECHNOLOGIES
ADDRESS ON FILE                           ADDRESS ON FILE                     650 N MARKET ST
                                                                              WATERLOO, IL 62298




SIDES, TERRIE                             SIDES, TERRIE                       SIDIJAYA, CORDELIA
ADDRESS ON FILE                           ADDRESS ON FILE                     7552 OAKRIDGE ROAD
                                                                              APTOS, CA 95003




SIDLE, MACKENZIE                          SIDNEY BOWDEN                       SIDNEY L HENNESSEY
1654 NORTH KANSAS RD                      238 COUNTRY CLUB DR                 150 CINDY LN
ORRVILLE, OH 44667-9636                   GREENVILLE, AL 36037                MONTGOMERY, AL 36116-7517




SIDNEY REGIONAL MEDICAL CENTER            SIDNEY SPARKS MD                    SIDNEY, JENNIFER
1000 POLE CREEK CROSSING                  ADDRESS ON FILE                     228 SOUTH 10TH STREET
SIDNEY, NE 69162-1799                                                         WEST HELENA, AR 72390




SIDWELL LARRY DUANE                       SIDWELL, LARRY                      SIEBEL, SUSAN M.
6921 B STREET                             1812 RICHVIEW ROAD                  3887 NORTH CLAREY STREET
SPRINGFIELD, OR 97478-0000                MT. VERNON, IL 62864                EUGENE, OR 97402




SIEBENEICHER, ADOLPH                      SIEBERT ELECTRIC                    SIECKOWSKI, THEODORE
923 TURTLE COVE                           P O BOX 2286                        713 KINGSTON BLVD
MESQUITE, NV 89027                        APPLE VALLEY, CA 92307-0043         MCHENRY, IL 60050




SIECZKOWSKI, JAMIE L.                     SIEDHOFF, RICH                      SIEDLINSKI, ANNE M.
1960 WINNSTEAD PLACE                      2132 MIRACLE                        1129 HYDE PARK LANE
LOGANVILLE, GA 30052                      GRANITE CITY, IL 62040              NAPERVILLE, IL 60565
SIEFFERT, KENNETH      Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                     SIEG, DAVID                          Page 1614
                                                                               SIEGELof 1969
                                                                                     AARON MD
2350 CANDY MOUNTAIN RD               P.O. BOX 1201                             1 SOUTH GREENLEAF, SUITE A
MURPHY, NC 28906                     BLUE RIDGE, GA 30513                      GURNEE, IL 60031




SIEGEL, AARON                        SIEGEL, GERALD                            SIEGEL, MARISSA
8 BRISTOL COURT                      1839 BURBANK RD                           408 CALIFORNIA AVE
LINCOLNSHIRE, IL 60069               WOOSTER, OH 44691-2111                    EAST GALESBURG, IL 61430




SIEGEL, SANDRA D.                    SIEGFRIED, ALEXANDER                      SIEGFRIED, KIMBERLY K.
420 BROADWAY AVENUE                  108 STORK ST                              ADDRESS ON FILE
BARSTOW, CA 92311                    ANNA, IL 62906




SIEGRIST, STEPHEN P.                 SIEKMANN, KIM                             SIELLA MEDICAL
848 SANTA MARIA WAY                  78 MCCULLERS RD                           12 HUGHES ST. SUITE D 105
MESQUITE, NV 89027                   BLAIRSVILLE, GA 30512                     IRVINE, CA 92618




SIEMBAB & SONS CONSTRUCTION INC      SIEMENS DIAGNOSTICS FINANCE CO LLC        SIEMENS DIAGNOSTICS, INC.
P O BOX 925                          1717 DEERFIELD RD                         P.O. BOX 121102
BARSTOW, CA 92312                    DEERFIELD, IL 60015                       DALLAS, TX 75312-1102




SIEMENS DIAGNOSTICS, INC.            SIEMENS FINANCIAL SERVICES INC            SIEMENS FINANCIAL SERVICES INC
POB 121102                           170 WOOD AVE S                            170 WOOD AVE S
DALLAS, TX 75312-1102                ISELIN, NJ 08830                          SOUTH ISELIN, NJ 08830




SIEMENS FINANCIAL SERVICES INC       SIEMENS H/C DIAGNOSTICS(EX-DADE)          SIEMENS HEALTHCARE (BAYER)
P.O. BOX 2083                        P.O. BOX 121102                           P.O. BOX 121102
CAROL STREAM, IL 60132-2083          DALLAS, TX 75312-1102                     DALLAS, TX 75312




SIEMENS HEALTHCARE (BAYER)           SIEMENS HEALTHCARE DIAG INC               SIEMENS HEALTHCARE DIAG INC
P.O. BOX 121102                      100 GBC DR                                BLDG 500, MS 500
DALLAS, TX 75312-1102                NEWARK, DE 19702                          P.O. BOX 6101
                                                                               NEWARK, DE 19714




SIEMENS HEALTHCARE DIAG INC          SIEMENS HEALTHCARE DIAG INC               SIEMENS HEALTHCARE DIAGNOSTICS 0186
BLDG 500, MS 530 P.O. BOX 6101       P.O. BOX 6101, BLDG 500, MS 530           P.O. BOX 121102
NEWARK, DE 19714                     NEWARK, DE 19714                          DALLAS, TX 75312-1102




SIEMENS HEALTHCARE DIAGNOSTICS INC   SIEMENS HEALTHCARE DIAGNOSTICS INC        SIEMENS HEALTHCARE DIAGNOSTICS
2800                                 P.O. BOX 121102                           40 LIBERTY BOULEVARD
P.O. BOX 121102                      DALLAS, TX 75312                          MALVERN, PA 19355
DALLAS, TX 75312-1102
                      Case 20-10766-BLS
SIEMENS HEALTHCARE DIAGNOSTICS      SIEMENSDoc   6 Filed
                                             HEALTHCARE      04/07/20 INCPage 1615
                                                          DIAGNOSTICS,        SIEMENSofHEALTHCARE
                                                                                        1969        DIAGNOSTICS, INC.
LYNELLE OLIVER NORDLOH              FORMERLY DADE BEHRING                     P.O. BOX 121102
NATIONAL ACCOUNT MANAGER            P.O. BOX 121102                           DALLAS, TX 75312-1102
1881 PRINCETON DR                   DALLAS, TX 75312-1102
LOUISVILLE, KY 40205



SIEMENS INDUSTRY INC                    SIEMENS MEDICAL FINANCIAL SERVICES       SIEMENS MEDICAL SOLUTIONS
P.O. BOX 2134                           P.O. BOX 2083                            DIAGNOSTICS
CAROL STREAM, IL 60132-2134             CAROL STREAM, IL 60132-2083              115 NORWOOD PARK SOUTH
                                                                                 NORWOOD PARK SOUTH, MA 02062




SIEMENS MEDICAL SOLUTIONS USA INC       SIEMENS MEDICAL SOLUTIONS USA, INC       SIEMENS MEDICAL SOLUTIONS USA, INC
51 VALLEY STREAM PKWY                   40 LIBERTY BOULEVARD                     DEPT LA 21536
MALVERN, PA 19355                       MALVERN, PA 19355                        PASADENA, CA 91185-1536




SIEMENS MEDICAL SOLUTIONS USA, INC      SIEMENS MEDICAL SOLUTIONS                SIEMENS MEDICAL SOLUTIONS
P O BOX 121102                          DEPT CH 14195                            P O BOX 121102
DALLAS, TX 75312-1102                   PALATINE, IL 60055-4195                  DALLAS, TX 75312-1102




SIEMENS MEDICAL SOLUTIONS               SIEMENS                                  SIEMERS, NICOLE A.
P.O. BOX 120001                         PO BOX 121102                            ADDRESS ON FILE
DEPT 0733                               DALLAS, TX 75312-1102
DALLAS, TX 75312




SIEMON, SARAH                           SIENES, ROCHELLE                         SIENTRA, INC.
109 HUCKLEBERRY LANE                    900 CHARLTON ROAD                        420 S FAIRVIEW AVE STE 200
BOULDER CREEK, CA 95006                 LAKE VILLA, IL 60046                     GOLETA, CA 93117




SIERASKI, MARIA G.                      SIERRA COFIELD                           SIERRA COLLINS
313 BRIARWOOD DR.                       413 PINE STREET                          100 FM 1996
WATSONVILLE, CA 95076-1059              GERALDINE, AL 35974                      OGLESBY, TX 76561




SIERRA HEALTH & LIFE                    SIERRA VISTA APARTMENTS                  SIERRA VISTA HOSPITAL AUXILIARY, INC.
P.O. BOX 15645                          P.O. BOX 1362                            800 E. 9TH AVENUE
LAS VEGAS, NV 89114                     LAS VEGAS, NM 87701                      TRUTH OR CONSEQUENCES, NM 87901




SIERRA VISTA HOSPITAL DEVELOPMENT       SIERRA VISTA HOSPITAL                    SIERRA VISTA HOSPITAL
ORGANIZATION                            800 E. 9TH AVENUE                        800 EAST 9TH AVENUE
800 E. 9TH AVENUE                       TRUTH OR CONSEQUENCES, NM 87901          TRUTH OR CONSEQUENCES, NM 87901
TRUTH OR CONSEQUENCES, NM 87901




SIERRA WIRELESS AMERICA, INC.           SIERRA-MARTINEZ, ARELY                   SIESTA MEDICAL, INC.
SUITE A 2738 LOKER AVE WEST             558 BRYN MAWR ST                         101 CHURCH ST.
CARLSBAD, CA 92010                      PARK CITY, IL 60085                      SUITE 3
                                                                                 LOS GATOS, CA 95030
SIEVERS, TIFFANY H.      Case 20-10766-BLS    Doc
                                       SIEVERT,     6 Filed 04/07/20
                                                WILLIAM                 Page 1616
                                                                             SIFERDof  1969
                                                                                   II, CHARLES
2209 KINGSPOINTE DR                     9177 BLETCHLEY AVE NW                 905 101ST STREET
MARION, IL 62959                        NORTH CANTON, OH 44720                PLEASANT PRAIRIE, WI 53158




SIFUENTES, ANTONIO MANUEL               SIGHTLIFE SURGICAL INC                SIGHTPATH MEDICAL LLC
1210 PARK SHORE DR.                     P.O. BOX 101659                       5775 WEST OLD SHAKOPEE BLVD
CUMMING, GA 30041                       PASADENA, CA 91189                    SUITE 90
                                                                              BLOOMINTON, MN 55437




SIGHTPATH MEDICAL LLC                   SIGITE, ELIZABETH                     SIGLE, LUKE
P.O. BOX 204253                         2320 BENTON                           815 MCKEE STREET
DALLAS, TX 75320-4253                   GRANITE CITY, IL 62040                STATE COLLEGE, PA 16803




SIGMAN, LOGAN                           SIGN CRAFT, INC.                      SIGN DEPOT
301 SILVERTHORNE DRIVE                  1301 ANTIOCH PIKE                     150 W MAIN ST
FREEBURG, IL 62243                      NASHVILLE, TN 37211                   GALESBURG, IL 61401




SIGN FACTORY                            SIGN PRO                              SIGN SHOP, THE
11323 HANNUM AVENUE                     463 WASHINGTON                        P.O. BOX 2504
CULVER CITY, CA 90230                   EUGENE, OR 97402                      1176 HIGHWAY 49
                                                                              WEST HELENA, AR 72390




SIGN TECH OUTDOOR                       SIGNAL MEDICAL CORP.                  SIGNAL MEDICAL CORP.
452 BROAD ST.                           1000 DES PERES RD                     400 PYRAMID DRIVE
CLEVELAND, TN 37311                     STE 140                               MARYSVILLE, MI 48040
                                        ST. LOUIS, MO 63131




SIGNATURE FLIGHT SUPPORT                SIGNATURE FRAMEWORKS LLC              SIGNATURE MEDICAL GROUP, INC
CORPORATION                             THE AMBIANCE GROUP                    12639 OLD TESSON RD
P.O. BOX 402458                         6015 NEIGHBORLY AVE                   SUITE 115
ATLANTA, GA 30384-2458                  NASHVILLE, TN 37209                   ST LOUIS, MO 63128




SIGNATURE MEDICAL GROUP, INC            SIGNATURE SVCS & PROMO PROD           SIGNCRAFT, INC.
12639 OLD TESSON ROAD                   2099 MCGINTY RD NWSW                  1301 ANTIOCH PIKE
ST LOUIS, MO 63129                      NORTH CANTON, OH 44720                NASHVILLE, TN 37211




SIGNCRAFT, INC.                         SIGNET HEALTH CORPORATION             SIGNS, TROPHIES & MORE
2510 PERIMETER PLACE DR                 253 W. HICKORY ST., SUITE 100         P.O. BOX 130
NASHVILLE, TN 37214                     ATTN: JERRY G. BROWDER, CEO           249 HWY 15 S.
                                        DENTON, TX 76201                      CAMPTON, KY 41301




SIGURDSON, JENNIFER L.                  SIHHRA                                SIHS WORKCARE WEST
419 ROSS                                HARRISBURG MEDICAL CENTER             HERRIN HOSPITAL
EVANSTON, WY 82930                      P.O. BOX 428                          P.O. BOX 1845
                                        HARRISBURG, IL 62946                  INDIANAPOLIS, IN 46206-1845
SIKDER, AYESHA M          Case 20-10766-BLS
                                        SIKORA,Doc
                                               GERI 6
                                                    L.        Filed 04/07/20   Page 1617  of 1969
                                                                                    SIKORSKI, SANDRA
ADDRESS ON FILE                           7437 W 160TH ST                            65 MAIN ST UNIT 35
                                          TINLEY PARK, IL 60477                      IVORYTON, CT 06442




SILANG, APRIL CELESTE                     SILAS, PATRICE                             SILBERER, TIMOTHY
14616 KOLIN AVE                           15543 S.VILLA CT,APT3B                     418 MARMAC DR
MIDLOTHIAN, IL 60445                      ALSIP, IL 60803                            GALESBURG, IL 61401




SILCO FIRE & SECURITY                     SILFIES DAWN, DMD                          SILHA, KEVIN
10765 MEDALLION DR                        370 SUMMIT ST                              6180 INDIAN TRAIL RD
CINCINNATI, OH 45241                      ELGIN, IL 60120                            GURNEE, IL 60031




SILK ROAD MEDICAL INC                     SILK, CHARLES T.                           SILK, MICHAEL
DEPT LA 24734                             ADDRESS ON FILE                            494 NUTHATCH WAY
PASADENA, CA 91185                                                                   LINDENHURST, IL 60046




SILKWORM, INC                             SILKWORM, INC                              SILKWORM, INC
102 SOUTH SEZMORE DR.                     102 SOUTH SEZMORE DR.                      P.O. BOX 340
P.O. BOX 340                              P.O. BOX 340                               MURPHYSBORO, IL 62966-0340
MURPHYSBORO, IL 62966                     MURPHYSBORO, IL 62966-0340




SILLA, PATRICIA                           SILLINS, KARYN A.                          SILLITOE, THAMARA REGIA B.
9250 ROHRLAND ST NW                       ADDRESS ON FILE                            ADDRESS ON FILE
MASSILLON, OH 44647-1234




SILONY MEDICAL GROUP                      SILVA CHAVEZ, JEANETTE                     SILVA FLORES, ALYSSA
8200 NW 27TH STREET SUITE 104             P O BOX 1854                               712 S 2ND AVE
DORAL, FL 33122-0000                      HELENDALE, CA 92342                        BARSTOW, CA 92311




SILVA GRACIELA                            SILVA, CAROL B.                            SILVA, CLOVER
1400 16TH ST                              10221 NE SUNROSE LN                        307 HEARTLAND DR
NORTH CHICAGO, IL 60064                   BAINBRIDGE ISLAND, WA 98110-1127           HOLLISTER, CA 95023




SILVA, CRISTIANO                          SILVA, DANIELLE                            SILVA, DAVID K.
130 BREEZY HILL LANE                      13708 HARTLE GROVE PL 302                  1134 TURKEY KNOB
MURPHY, NC 28906                          CLERMONT, FL 34711                         LAS CRUCES, NM 88012




SILVA, HEIDI M.                           SILVA, JOHN D.                             SILVA, KATELYN E.
ADDRESS ON FILE                           6385 DONA ANA RD SE                        833 GASS AVE
                                          DEMING, NM 88030                           BELLEVILLE, IL 62220
SILVA, MICHAEL P.        Case 20-10766-BLS     Doc 6
                                       SILVA, NICOLE      Filed 04/07/20   Page 1618   of 1969
                                                                                SILVA, RENE
1307 LINDBERGH ST.                      1043 SANTO ANTONIO DR. 126              ADDRESS ON FILE
BIG SPRING, TX 79720                    COLTON, CA 92324




SILVA, RHONDA                           SILVA, ROGER E.                         SILVA, ROGER
P O BOX 664                             ADDRESS ON FILE                         ADDRESS ON FILE
SILVER CITY, NM 88062




SILVA, SUZANNA                          SILVA, VICTORIA                         SILVAS JOHN J
127 RAILROAD AVE                        ADDRESS ON FILE                         P.O. BOX 92
LAS VEGAS, NM 87701                                                             COLLINSVILLE, AL 35961




SILVAS, PAOLA                           SILVEIRA, SARAH                         SILVEO, NELIA
5290 IL ROUTE 173                       ADDRESS ON FILE                         3242 HEATHROW LANE BELLEVILLE
RICHMOND, IL 60071                                                              BELLEVILLE, IL 62221




SILVER IMAGING INC                      SILVER OAKS SHOPPING CENTER LLC         SILVER REEF BIOMED SVCS INC
212 W BROADWAY                          MANAGEMENT MARKETING SERVICES INC       6285 S MOJAVE RD STE E
SILVER CITY, NM 88061                   P O BOX 1494                            LAS VEGAS, NV 89120
                                        NORTHBROOK, IL 60065-1494




SILVER SPIKES                           SILVER STAR PAINTING                    SILVER, AMY L
ATTN: MARY LOU CAMERON                  20066 RIMROCK ROAD EAST                 521 COUNTY RD 685
P O BOX 2302                            APPLE VALLEY, CA 92307                  SYLVANIA, AL 35988
DEMING, NM 88031




SILVER, JACLYN M.                       SILVER, JACLYN                          SILVER, MELISSA
30 HATTON AVE APT. 107                  1460 G STREET                           68 COUNTY ROAD 326
EUGENE, OR 97404                        SPRINGFIELD, OR 97477                   FYFFE, AL 35971




SILVER, STEWART                         SILVERMAN, IRA                          SILVERS, SANDRA S.
256 DAVIS RD                            12346 S BENOCK DR                       2585 CULBERSON RD
BLUE RIDGE, GA 30513                    APT 106                                 MURPHY, NC 28906
                                        ALSIP, IL 60803




SILVERTHORN, MICHELLE F.                SILVERTHORNE, JOYCE L.                  SILVERTHORNE, KRISTA L.
846 TODD AVE.                           ADDRESS ON FILE                         2021 NATHAN ROBERSON RD
LEWISBURG, TN 37091                                                             JAMESVILLE, NC 27846




SILVERTHORNE, TROY L.                   SILVERVUE                               SILVEY, MARILYN
ADDRESS ON FILE                         8911 S SANDY PARKWAY                    ADDRESS ON FILE
                                        SANDY, UT 84070
SILVIA CIFUENTES       Case 20-10766-BLS     Doc 6
                                     SILVIA CORTEZ     Filed 04/07/20   Page 1619   of 1969
                                                                             SILVIA TRUJILLO
ADDRESS ON FILE                       P.O. BOX 163                            199 QUAIL RUN
                                      OVERTON, NV 89040                       MESQUITE, NV 89027




SIM, JANET KAY                        SIMBURGER, KIM                          SIMCO, AMANDA
3383 MARVIN DR                        1729 BREMEN AVE                         ADDRESS ON FILE
EUGENE, OR 97404                      GRANITE CITY, IL 62040




SIMCOX, JAMES                         SIMES, TINA                             SIMKIN, GALINA, MD
66 LADY SLIPPER LN                    P.O. BOX 3021                           ADDRESS ON FILE
MANCHESTER, NH 03109-5448             WEST HELENA, AR 72390




SIMKIN, GALINA, MD                    SIMMERMON, PATRICIA                     SIMMERT, AMANDA J.
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




SIMMONDS, DARREN                      SIMMONS KANDY K                         SIMMONS, AMY E
420 OAKWOOD DR                        34788 SANDI LANE                        ADDRESS ON FILE
TROY, IL 62294                        P.O. BOX 2364
                                      BARSTOW, CA 92312-0000




SIMMONS, AMY                          SIMMONS, ANGELA D                       SIMMONS, BARBARA W.
306 SPYGLASS DRIVE                    1294 PANOLA RD                          97 ROXY REESE RD
STANSBURY PARK, UT 84074              LAPINE, AL 36046-5312                   PLYMOUTH, NC 27962




SIMMONS, BREANA                       SIMMONS, BRIAN E.                       SIMMONS, FREDERICK DALE
11 KENSINGTON HEIGHTS RD              5730 OAK DR NW                          103 PERRY STREET
BELLEVILLE, IL 62226                  CANTON, OH 44718                        WILLIAMSTON, NC 27892




SIMMONS, HAYDEN                       SIMMONS, JOLEAN                         SIMMONS, LAKEISHA
ADDRESS ON FILE                       1142 W 107TH ST                         530 GEORGIA CIRCLE
                                      CHICAGO, IL 60643-3765                  LOGANVILLE, GA 30052




SIMMONS, LETITIA A.                   SIMMONS, MARILYN                        SIMMONS, MARK
430 NEW SARATOGA RD                   7633 CINDELL ST SE                      ADDRESS ON FILE
ANNA, IL 62906                        EAST CANTON, OH 44730




SIMMONS, MARY L                       SIMMONS, SEBASTIAN                      SIMMONS, SHARRON
47 WOODHAVEN RD                       3750 DESERT MARINA DR. 39               73 COTTON BLOSSOM RD
GREENVILLE, AL 36037                  LAUGHLIN, NV 89029                      GREENVILLE, AL 36037-6712
SIMMONS, TAMARA         Case 20-10766-BLS   Doc
                                      SIMMONS,    6 Filed 04/07/20
                                               TANISHA               Page 1620 of 1969
                                                                          SIMMONS, VALERIE D.
P.O. BOX 67                            ADDRESS ON FILE                     ADDRESS ON FILE
VALIER, IL 62891




SIMMONS-JONES, ANGELA                  SIMMS, AMANDA                       SIMMS, JEFFREY C.
1017 NORTHWESTERN AVE.                 978 HWY 578                         14262 N. MEMORY LANE
FAIRVIEW HEIGHTS, IL 62208             WINNSBORO, LA 71295                 MT. VERNON, IL 62864




SIMMS, MARY E.                         SIMMS, MARY K.                      SIMMS, TARAHA J.
415 CHATHAM COVE                       38373 N. NORTH AVE                  ADDRESS ON FILE
WINTHROP HARBOR, IL 60096              BEACH PARK, IL 60087




SIMNAR SURGICAL, INC                   SIMON, AUBREY                       SIMON, CAROL M.
557 WEST 600 SOUTH                     ADDRESS ON FILE                     ADDRESS ON FILE
BOUNTIFUL, UT 84010




SIMON, GLADYS                          SIMON, RUSSELL C.                   SIMON, RUSSELL C.
3960 BEAUMONT AVE NW                   CHAPTER 13 TRUSTEE                  CHAPTER 13 TRUSTEE
MASSILLON, OH 44647-9553               P.O. BOX 1898                       P.O. BOX 2199
                                       MEMPHIS, TN 38101-1898              MEMPHIS, TN 38101-2199




SIMON, TERESA                          SIMON, THOMAS                       SIMON, TOM
ADDRESS ON FILE                        225 RIMROCK DR                      150 ARROWHEAD DR
                                       EVANSTON, WY 82930                  EVANSTON, WY 82930




SIMONA MENDEZ                          SIMONDS JONATHAN                    SIMONE, GLORIE
1202 S LANCASTER ST                    4689 MARTINS CREEK RD               P.O. BOX 13
BIG SPRING, TX 79720-0000              MURPHY, NC 28906                    BIG BEND NATIONAL, TX 79834




SIMONETTI, CHRISTI                     SIMONS X-RAY CORPORATION            SIMONS, CARY M.
ADDRESS ON FILE                        711 W 800 S                         ADDRESS ON FILE
                                       SALT LAKE CITY, UT 84104




SIMONS, CARY                           SIMONS, KIMBERLY                    SIMONSEN, MELANIE J.
ADDRESS ON FILE                        1716 W MAIN ST                      ADDRESS ON FILE
                                       WILLIAMSTON, NC 27892




SIMONTON, AMANDA                       SIMOWITZ, SUSAN R.                  SIMPKINS, ALMA
724 ROWE RD                            5 SUMMERVILLE LN                    1020 TODD AVE
MONROE, GA 30655                       AUGUSTA, GA 30909-1813              NORTH AUGUSTA, GA 29841
SIMPKINS, JENNIFER A.    Case 20-10766-BLS    Doc
                                       SIMPKINS,    6 Filed 04/07/20
                                                 LORETTA               Page 1621  of 1969
                                                                            SIMPKINS, REGINA A.
ADDRESS ON FILE                         ADDRESS ON FILE                      151 GREYSTONE ROAD
                                                                             CHOCOWINITY, NC 27817




SIMPKINS, SANDY                         SIMPLE ELEGANCE EVENTS, LLC          SIMPLE SOLUTIONS PRINTING, INC
2376 SPANKEM BRANCH ROAD                20363 NYACK CT                       P.O. BOX 601
LOUISA, KY 41230                        APPLE VALLEY, CA 92308               110 E. MAIN ST
                                                                             WEST FRANKFORT, IL 62896




SIMPLE SOLUTIONS PRINTING,INC           SIMPLEX GRINNELL LP                  SIMPLEX GRINNELL LP
P.O. BOX 601                            DEPT CH 10320                        DEPT CH 10320
110 E MAIN STREET                       PALATINE, IL 60055                   PALATINE, IL 60055-0320
WEST FRANKFORT, IL 62896




SIMPLIFY COMPLIANCE HOLDINGS LLC        SIMPLIFY COMPLIANCE LLC              SIMPLIFY COMPLIANCE LLC
HCPRO/DECISION HEALTH                   100 WINNERS CIRCLE STE 300           HCPRO/H3 GROUP
P.O. BOX 5094                           BRENTWOOD, TN 37024                  P.O. BOX 5094
BRENTWOOD, TN 37024-5094                                                     BRENTWOOD, TN 37024-5094




SIMPLIFY COMPLIANCE LLC                 SIMPLY THICK, LLC                    SIMPLY THICK, LLC
P.O. BOX 5094                           200 SOUTH HANLEY RD                  P.O. BOX 844369
BRENTWOOD, TN 37024-5094                SUITE 1102                           KANSAS CITY, MO 64184-4369
                                        SAINT LOUIS, MO 63105




SIMPSON CASSANDRA                       SIMPSON, AMANDA L.                   SIMPSON, ASPEN M.
1245 ARTHUR ST                          7952 ALABAMA HWY 68                  ADDRESS ON FILE
CALUMET CITY, IL 60409                  COLLINSVILLE, AL 35961




SIMPSON, CECILIA                        SIMPSON, CORY                        SIMPSON, GARY
192 COUNTY RD 870                       9 JUPITER DR                         286 283RD ST
COLLINSVILLE, AL 35961-4204             SWANSEA, IL 62226                    ALEXIS, IL 61412




SIMPSON, HALLIE G.                      SIMPSON, LYNETTE                     SIMPSON, MALEAH
192 COUNTY ROAD 870                     2654 MILL RD                         27 ROSE CIR APT. A
COLLINSVILLE, AL 35961-4204             JAMESVILLE, NC 27846-9230            LEXINGTON, TN 38351




SIMPSON, SARAH J.                       SIMPSON, SETH KENNETH                SIMPSON, TINA M.
ADDRESS ON FILE                         211 SPRING STREET                    296 HIGH ST
                                        COLLINSVILLE, AL 35961-4179          HUNTINGDON, TN 38344




SIMPSON, TOMMY                          SIMS JANA S                          SIMS, ANN
4736 MANNINGHAM RD                      600 WALNUT ST                        ADDRESS ON FILE
GREENVILLE, AL 36037                    KNOXVILLE, IL 61448
SIMS, ANN M.             Case 20-10766-BLS    Doc L.
                                       SIMS, DENISE 6      Filed 04/07/20   Page 1622   of 1969
                                                                                 SIMS, DONNA R.
ADDRESS ON FILE                          36-23 RD ST NW                          3413 VICKSBURG DR
                                         MASSILLON, OH 44647                     EDWARDSVILLE, IL 62025




SIMS, EMORY                              SIMS, GERALD W.                         SIMS, JANA S.
287 SPRINGDALE DR                        351 ULLIN AVE                           600 WALNUT ST
WINDER, GA 30680                         ULLIN, IL 62992                         KNOXVILLE, IL 61448




SIMS, LAURA I.                           SIMS, MARY KAY                          SIMS, RANDY MARK JR
1010 BLUEBONNET AVE                      349 NUNNALLY FARM RD.                   P.O. BOX 345
BIG SPRING, TX 79720                     MONROE, GA 30655                        RAINSVILLE, AL 35986




SIMS, RUSSELL                            SIMS, RUTH A.                           SIMS, STEPHANIE
774 GREENBRIAR DR                        ADDRESS ON FILE                         4413 W BROWNSTONE WAY
HENAGAR, AL 35978-5605                                                           WAUKEGAN, IL 60085




SIMS, TONY FOR DWIGHT SIMS SR            SIMULAIDS, INC                          SIMUNICH, HEATHER
216 POLLOCK ST                           P.O. BOX 1289                           314 S. 10TH ST.
LEXINGTON, TN 38351                      16 SIMULAIDS DR                         BELLEVILLE, IL 62220
                                         SAUGERTIES, NY 12477




SINC                                     SINCLAIR BROADCAST GROUP                SINCLAIR, CAROL P.
1170 CEDAR COURT                         P.O. BOX 206270                         1912 BAKER STREET
CARBONDALE, IL 62901-5300                DALLAS, TX 75320-6270                   ROCKINGHAM, NC 28379




SINCLAIR, REGAN D.                       SINCLAIR, RICHARD                       SINCLAIR, SAMANTHA
323 PAVILION CIRCLE                      3168 FANNIE THOMPSON ROAD               3168 FANNIE THOMPSON RD.
SARATOGA SPRINGS, UT 84045               MONROE, GA 30656                        MONROE, GA 30656




SINDE, MICHAEL R.                        SINDLINGER, SHANE                       SINES, JOHN F.
12718 GREENWOOD                          1874 NW 155TH CT                        3031 BEECHWOOD AVE
BLUE ISLAND, IL 60406                    CLIVE, IA 50325-7870                    ALLIANCE, OH 44501-4440




SINGER RETIREES                          SINGER, CHARLES                         SINGER, CHRISTINA L.
P.O. BOX 17264                           ADDRESS ON FILE                         3693 RUDELLE DRIVE
GREENVILLE, SC 29606                                                             FLORISSANT, MO 63031




SINGER, GERALD R.                        SINGER, RACHEL                          SINGER, THOMAS L.
ADDRESS ON FILE                          2133 WINSLOW AVE. NW                    12823 ORRVILLE ST NW
                                         MASSILLON, OH 44647                     NORTH LAWRENCE, OH 44666-9728
SINGH, ASHLEY N.         Case 20-10766-BLS    DocK.6
                                       SINGH, KYLE          Filed 04/07/20   Page 1623  of 1969
                                                                                  SINGLETARY, BONITA C.
2690 MANOR DR                           ADDRESS ON FILE                            750 REMINGTON CIR
SPRINGFIELD, OR 97477                                                              WINDER, GA 30680




SINGLETON APRIL                         SINGLETON III, LANCE A.                    SINGLETON, BARBARA
2433 WILSON AVE                         ADDRESS ON FILE                            1030 CBH LODGE RD
GRANITE CITY, IL 62040                                                             WASHINGTON, NC 27889




SINGLETON, BARBARA                      SINGLETON, GABRIELLE                       SINGLETON, JESSICA
ADDRESS ON FILE                         ADDRESS ON FILE                            16650 N MORRISON LN
                                                                                   MT VERNON, IL 62864




SINGLETON, MARY L                       SINGLETON, PAT                             SINGLETON, PAUL
449 CLIFFROSE AVE                       220 LENOX                                  122 GARDEN MANOR COURT
MESQUITE, NV 89027                      GRANITE CITY, IL 62040                     LOGANVILLE, GA 30052




SINGLEY, ANNA                           SINISCALCHI, EYRIN L.                      SINISH, HELEN
75 EMMA LN                              6004 BAYSHORE DR                           14740 S ALSBANY AVE
WINDER, GA 30680                        STANSBURY PARK, UT 84074                   POSEN, IL 60469




SINITZKI, DAVID                         SINKOVEC, LISA E.                          SINKS, JANET
5044 SWITCHGRASS LANE                   ADDRESS ON FILE                            15046 N LOYALA LN
NAPERVILLE, IL 60564                                                               MT VERNON, IL 62864




SINN, MERLYN                            SIO, ERNESTO M.                            SIOBHAN ALLEN
526 LEGACY PLACE                        13244 W SHEFFIELD LN                       5707 S HONORE ST
APARTMENT 36                            BEACH PARK, IL 60083                       CHICAGO, IL 60636
WATERLOO, IL 62298




SIOBHAN BERRESFORD                      SIOLO, BRENDA                              SIPE, CATHERINE M.
745 MCKINLEY AVE SW                     1748 N. SERENITY DR                        ADDRESS ON FILE
BREWSTER, OH 44613                      ST. GEORGE, UT 84770




SIPE, SARAH R.                          SIPES, ANTHONY D.                          SIPES, BOBBY
2023 CLEARVIEW DR NE                    215 ATLANTIC AVE                           1840 HIGHWAY 104 N
MASSILLON, OH 44646-2001                HENRY, TN 38231                            CEDAR GROVE, TN 38321




SIPMA                                   SIPMA                                      SIPPER, ELIZABETH
P.O. BOX 233                            P.O. BOX 233                               503 JEFF COATS ST
ATTN TRACY HAGSTON, TREASURER           ATTN TRACY HAGSTON, TREASURER              LUVERNE, AL 36049
MARION, IL 62959                        MARION, IL 62959-0000
SIPSY, ALYSSA R.      Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                    SIRAJ, CINDY                        Page 1624  of BRYNNE
                                                                             SIRCHER, 1969 M
229 DOGWOOD CIRCLE NW               8620 16TH AVE                            6325 WINDMERE LN
FORT PAYNE, AL 35967                KENOSHA, WI 53143                        MARION, IL 62959




SIRCHIE FINGER PRINT LABS           SIREGAR, RONALD                          SIRIUS SATELITE RADIO
100 HUNTER PLACE                    783 SAN ANDREAS RD                       P.O. BOX 9001399
YOUNGSVILLE, NC 27596               LA SELVA BEACH, CA 95076                 LOUISVILLE, KY 40290-1399




SIRKO, ALAN                         SIRKO, DONALD                            SIROIS, JANE M.
57 DEER RUN LANE                    7349 GREENHEDGE ROAD                     12895 W KEITH AVE
NEW DOUGLAS, IL 62074               EDWARDSVILLE, IL 62025                   WAUKEGAN, IL 60085




SIROTEK, ANCEL R.                   SIRTAK, CHRISTINA E.                     SISCO
87371 CEDAR FLAT RD                 THE ESTATE OF 115 WEST HOMER             P.O. BOX 389
SPRINGFIELD, OR 97478-0000          HARRISBURG, IL 62946                     DUBUQUE, IA 52004-0389




SISCO                               SISCO, CARMALETTA B.                     SISK, DEREK
PO BOX 389                          506 NORTH HANCOCK                        ADDRESS ON FILE
DUBUQUE, IA 52004-0389              MCLEANSBORO, IL 62859




SISK, GEORGE                        SISK, KISA L.                            SISK, SHASTA
5500 OLD RT 13                      ADDRESS ON FILE                          ADDRESS ON FILE
JUNCTION, IL 62954




SISKIND SUSSER PC                   SISKIND SUSSER PC                        SISLER, BETHANY J.
1028 OAKHAVEN RD                    P.O. BOX 770840                          ADDRESS ON FILE
MEMPHIS, TN 38119                   MEMPHIS, TN 38177-0840




SISON, ANGELINA F.                  SISON, MARIO JOSE L.                     SITES, LOU E.
6838 FOXWORTH LANE                  1900 HIGHWAY 1 SPC 90                    190 TIGER HILL ROAD
GURNEE, IL 60031                    MOSS LANDING, CA 95039                   LOUISA, KY 41230




SITTER MARY                         SITTON CONSULTING GROUP                  SITTON, CARROLLEE
2705 AVENUE E                       1177 N. GREEN MOUNT RD.                  410 E MAIN ST
225                                 SUITE 200                                LEBANON, IL 62254
STERLING, IL 61081                  OFALLON, IL 62269




SITZES, JOSEPH                      SIU SCHOOL OF MEDICINE                   SIU, MATTHEW
1509 SHADOW RDG                     ATTN: DEB DAVID/PHYS ASST PROGRAM        115 SOUTH MILLS STREET 310
COLUMBIA, IL 62236-3362             600 AGRICULTURE MC 6516                  MADISON, WI 53715
                                    CARBONDALE, IL 62901
SIUBA, ALINA                Case 20-10766-BLS    Doc 6 OUTREACH
                                          SIUE EDUCATION Filed 04/07/20   Page 1625
                                                                               SIUE of 1969
15123 S 82ND AVENUE                        SIUE CAMPUS BOX 1084                BOX 1620
ORLAND PARK, IL 60462                      EDWARDSVILLE, IL 62026-1084         CAREER DEVELOPEMENT CTR
                                                                               EDWARDSVILLE, IL 62026-1620




SIUE                                       SIVBA                               SIVELS, SHAWN M.
RENDLEMAN HALL, RM 1101                    C/O JOHANNA MANDRELL                85 CROSSROAD SCHOOL ROAD
BOX 1042                                   416 N 21ST ST                       ELDORADO, IL 62930
EDWARDSVILLE, IL 62025-1042                HERRIN, IL 62948




SIVERD, GREGORY                            SIVIA LAW SERVICES                  SIZEMORE BENJAMIN
4213 TANNYBROOKE LN NW                     217 SOUTH MAIN ST                   3303 W HAWTHORNE CT
APT A                                      ATTN: JENNIFER HAYNES               MARION, IL 62959
CANTON, OH 44718                           EDWARDSVILLE, IL 62025




SIZEMORE LORI A                            SIZEMORE, CAIRL                     SIZEMORE, DEBRA L.
3303 W HAWTHORNE CT                        1950 E ST                           ADDRESS ON FILE
MARION, IL 62959                           SPRINGFIELD, OR 97477-4264




SIZEMORE, DENICE                           SIZEMORE, ELAINE                    SIZEMORE, JAMES, R.NCS.T
1097 KY ROUTE 680                          ADDRESS ON FILE                     434 NOTTINGHAM RD
MCDOWELL, KY 41647                                                             FLORENCE, AL 35633




SIZEMORE, KATHY                            SIZEMORE, NORMA J.                  SIZEMORE, RHONDA W.
229 WESTCHASE DRIVE                        106 COLLIER ROAD                    3936 COUNTY ROAD 180
NASHVILLE, TN 37205                        BEATTYVILLE, KY 41311               RAINSVILLE, AL 35986




SIZENBACH, BRANDIE A.                      SIZEWISE RENTALS, LLC               SIZEWISE
1803 WINSTON                               3555 WEST RENO AVE                  P.O. BOX 320
BIG SPRING, TX 79720                       STE E                               ELLIS, KS 67637
                                           LAS VEGAS, NV 89118




SKADDEN ARPS SLATE MEAGHER & FLOM          SKAER, FAY L.                       SKAER, WENDY
LLP                                        ADDRESS ON FILE                     310 N MOORE ST
P.O. BOX 1764                                                                  WATERLOO, IL 62298
WHITE PLAINS, NY 10602-1764




SKAGG,S MABLE A.                           SKAGGS COMPANIES INC                SKAGGS, BRITTANIE
487 MARSHALL RD NE                         3828 SOUTH MAIN ST                  ADDRESS ON FILE
RAINSVILLE, AL 35986-4345                  SALT LAKE CITY, UT 84115




SKAGGS, DIANNA L.                          SKAGGS, MICHELLE                    SKAGGS, TERRY
650 LITTLE MUD LICK RD.                    ADDRESS ON FILE                     ADDRESS ON FILE
STAFFORDSVILLE, KY 41256
SKALLBERG, ERMA          Case 20-10766-BLS
                                       SKANES,Doc  6 Filed 04/07/20
                                               JARVIS                 Page 1626 of 1969
                                                                           SKARNULIS, ASHLEY
421 150TH ST                            80 ELEM ST                          9429 S 86TH CT
UNSWORTH TERI HCPOA                     BRANTLEY, AL 36009                  HICKORY HILLS, IL 60457-1784
SEATON, IL 61476




SKATES, AMANDA                          SKEENS CLEANING                     SKEENS, JANNIE
922 CHARLIE ATHA RD                     P.O. BOX 1133                       ADDRESS ON FILE
LOGANVILLE, GA 30052                    LOUISA, KY 41230




SKEENS, JENNIFER A.                     SKEENS, KAYLA M.                    SKEETE, ALANI
ADDRESS ON FILE                         101 MARGARET ST                     2110 AMETHYST AVE
                                        SOUTH POINT, OH 45680               BARSTOW, CA 92311




SKELETAL DYNAMICS LLC                   SKELETAL DYNAMICS LLC               SKELLY, CHRISTOPHER
8905 SW 87TH AVE., 201                  LOCKBOX 9492                        ADDRESS ON FILE
MIAMI, FL 33176                         P.O. BOX 70280
                                        PHILADELPHIA, PA 19176-0280




SKELLY, MARY D                          SKELTON, ELOISE                     SKELTON, KATHLEEN
125 BIRCH ST SW                         ADDRESS ON FILE                     1440 CARSON CT
BEACH CITY, OH 44608                                                        HOMEWOOD, IL 60430




SKF USA INC.                            SKIDMORE, JOHN T.                   SKIDMORE, SHANNON L.
ATTN: REFUND DEPT                       2614 COUNTY RD 255                  ADDRESS ON FILE
P.O. BOX 7011                           FORT PAYNE, AL 35967
WYOMISSING, PA 19610




SKILES GROUP                            SKILES, BRADY                       SKILL SURVEY INC
1810 N GREENVILLE AVE                   443 SCARBROUGH LOOP                 DEPT CH 17210
RICHARDSON, TX 75081                    HUMBOLDT, TN 38343                  PALATINE, IL 60055-7210




SKILLICORN, KAREN                       SKILLPATH SEMINARS                  SKINCEUTICALS
P.O. BOX 1494                           P.O. BOX 804441                     P.O. BOX 731080
FREEDOM, CA 95019                       KANSAS CITY, MO 64108               DALLAS, TX 75373




SKINNER BETTY J                         SKINNER SAMANTHA                    SKINNER, AMBER M.
313 WARSON LN                           385 TIMBERWOLF DR                   507 S PINE
GRANITE CITY, IL 62040                  GOREVILLE, IL 62939                 ZEIGLER, IL 62999




SKINNER, AUDREY                         SKINNER, BRYAN W.                   SKINNER, CHADWICK T.
ADDRESS ON FILE                         1033 N KELLOGG                      5384 E HOUSTON RD
                                        GALESBURG, IL 61401                 WOODLAWN, IL 62898
SKINNER, CHRISTINE M.    Case 20-10766-BLS   Doc
                                       SKINNER,    6 Filed
                                                DEBORAH D. 04/07/20   Page 1627  of DIANA
                                                                           SKINNER, 1969
ADDRESS ON FILE                         17326 E ANGLING RD                 P O BOX 810
                                        MOUNT VERNON, IL 62864             COLUMBUS, NM 88029




SKINNER, DIMITRY                        SKINNER, EBONIE                    SKINNER, JESSICA
ADDRESS ON FILE                         409 SOUTH 8TH ST                   319 W MAIN ST
                                        MONMOUTH, IL 61462                 LOUISA, KY 41230




SKINNER, LACEY L.                       SKINNER, LISA                      SKINNER, MARY
5384 E HOUSTON RD                       ADDRESS ON FILE                    ADDRESS ON FILE
WOODLAWN, IL 62898




SKINNER, MARY                           SKINNER, SETH MAE A.               SKINNER, SKYE
ADDRESS ON FILE                         ADDRESS ON FILE                    1834 EAST 21ST STREET
                                                                           CHEYENNE, WY 82001-0000




SKINNER, TANYA                          SKINNER, WILLIAM D.                SKIPPER, JASON L.
301 E NORTH ST                          ADDRESS ON FILE                    ADDRESS ON FILE
KNOXVILLE, IL 61448




SKIPPER, KATELYN                        SKIPPER, MARTHA                    SKIPPER, STEPHANIE
2817 WILLOW AVE                         1830 SPRING HILL RD                3183 E STATE HWY 106
GRANITE CITY, IL 62040                  GREENVILLE, AL 36037               GEORGIANA, AL 36033




SKIPPER, TONY                           SKIRTEN, BREEAH K.                 SKLAR, BRIAN
1644 AVANT RD                           884 POOL STREET 73                 ADDRESS ON FILE
CHAPMAN, AL 36015                       EUGENE, OR 97401




SKOCZYLAS, AGNIESZKA M.                 SKOKLO, SUZANNE                    SKOPLJAK, JASMIN
ADDRESS ON FILE                         489 WIOLSHIRE DR                   593 SUMMIT OAKS COURT
                                        HOLLISTER, MO 65672                NASHVILLE, TN 37221




SKOVORTEGA, MOLLIE K.                   SKROPKA, AUDREY                    SKULARK, JUANITA S.
2402 PARK VIEW DR                       9767 COUNTY RD 1150 N              2949 STAFFORD DRV
EUGENE, OR 97408-0000                   MCLEANSBORO, IL 62859              MARKHAM, IL 60428




SKUNDRICH, KRISTI L.                    SKYLAR, HOWARD                     SKYLER A SLADE
727 BERRY ROAD                          4452 KELL RD                       104 E MCCARTY ST
WOOD RIVER, IL 62095                    KELL, IL 62853                     MUNCIE, IL 61857
SKYLER VANDERPOOL        Case 20-10766-BLS   Doc
                                       SKYLLAS,    6 M.Filed 04/07/20
                                                CINDA                    Page 1628 of LLC
                                                                              SKYTRON 1969
ADDRESS ON FILE                          251 GAIL AVE NE                      16208 COLLECTIONS CENTER DRIVE
                                         MASSILLON, OH 44646                  CHICAGO, IL 60693




SKYTRON LLC                              SKYTRON                              SKYTRON, LLC
P.O. BOX 675164                          5085 CORPORATE EXCHANGE BLVD.        PO BOX 675164
DETROIT, MI 48267-5164                   GRAND RAPIDS, MI 49512               DETROIT, MI 48267-5164




SLACK, JUDITH                            SLADE, ELISE MARIE                   SLADE, SKYLER A.
2140 BETHANY CHURCH RD                   5491 N ARDENNES WAY                  104 E MCCARTY ST
MONROE, GA 30655-4805                    STANSBURY PARK, UT 84074             MUNCIE, IL 61857




SLAGER, EMMA L.                          SLAGLE, SARAH B.                     SLAM CATERING
90065 FIR BUTTE RD                       875 CHERRY RD                        1144 TEAL DR
EUGENE, OR 97402                         MASSILLON, OH 44647                  RED BUD, IL 62278




SLAM DUNK SPORTS MARKETING               SLATER LAWRENCE                      SLATER, JESSIKA
1012 N UNIVERSITY BLVD                   1008 TIMBERLAKE DR                   501 S MOUND
MIDDLETOWN, OH 45042                     ANTIOCH, IL 60002                    WAYNE CITY, IL 62895




SLATER, LINDSAY                          SLATER, REBECCA LYNN                 SLATER, VICKIE
ADDRESS ON FILE                          5424 SW TREVOR CIR                   P.O. BOX 588
                                         LAWTON, OK 73505                     WAYNE CITY, IL 62895




SLATON, EDWARD                           SLATON, MARILYN                      SLATON, PHYLLUS A.
2203 ASHLAND PL AVE                      37924 US HIGHWAY 11                  813 W RICHLAND CIR
MOBILE, AL 36607                         VALLEY HEAD, AL 35989-4426           AUBURN, AL 36832




SLATON, VERNIE W.                        SLAUGHTER, ALMA FOR MARK SLAUGHTER   SLAUGHTER, DEMERA
2899 COUNTY ROAD 739                     130 HILLCREST DR                     4181 186TH ST
HENAGAR, AL 35978                        LEXINGTON, TN 38351                  COUNTRY CLUB HILLS, IL 60478




SLAUGHTER, DIANA                         SLAUGHTER, KIMBERLY D.               SLAUGHTER, NEWCOLOW
1452 TIMMS CIR SE                        573 TALATHA CHURCH RD                3147 WEST 83RD PLACE
ATLANTA, GA 30316                        AIKEN, SC 29803-3615                 CHICAGO, IL 60652




SLAUGHTER, TEYONNA                       SLAUGHTER, YASMIN                    SLAUSON, ROBERT B.
1121 OHIO STREET                         684 CASSANDRA LANE                   420 SUNSET DR
WEST HELENA, AR 72342                    UNIVERSITY PARK, IL 60484            EDWARDSVILLE, IL 62025
SLAVENS, JEANNE           Case 20-10766-BLS   Doc
                                        SLAVENS,    6 A.Filed 04/07/20
                                                 STACY                   Page 1629   of 1969
                                                                              SLAY, JENNY L.
8533 BALDWIN RD                           ADDRESS ON FILE                     509 S. AYLESFORD
SPARTA, IL 62286-3403                                                         BIG SPRING, TX 79720




SLAY, LINDA                               SLAYMAN, RON                        SLAYTON THOMAS
47460 HIGHWAY 58                          5260 FLEETWOOD AVE NW               2511 S ILLINOIS LOT 116
OAKRIDGE, OR 97463                        CANTON, OH 44718                    CARBONDALE, IL 62903




SLAYTON, HOLLY M.                         SLAYTON, KATRINA S.                 SLAYTON, KRISTOPHER
6450 HWY 68                               202 PRAIRIE AVENUE                  400 BERNICE ST
GAYLESVILLE, AL 35973                     SOUTH ROXANA, IL 62087              COLLINSVILLE, IL 62234




SLAYTON, STORMY D.                        SLC DIAGNOSTIC IMAGING, LLC         SLECKA, DARLA
63 VERNON ST                              11248 SOUTH PERVENCHE LANE          ADDRESS ON FILE
FYFFE, AL 35971                           SOUTH JORDAN, UT 84095




SLEDGE, ROSALINE                          SLEDGE, VICTORIA                    SLEE, CHRISTINE
1101 RIVERVIEW DRIVE                      324 N 8TH ST                        20 FOX TRAIL DR
SOUTH HOLLAND, IL 60473                   MT VERNON, IL 62864                 GLEN CARBON, IL 62034




SLEEP MEDICINE ASSOC LLC                  SLEEPCUES, PA                       SLEEPWORKS, LLC
P.O. BOX 1433                             1009 WADE AVE                       430 WOODRUFF RD
MURPHYSBORO, IL 62966                     UNIT 340                            SUITE 450
                                          RALEIGH, NC 27605                   GREENVILLE, SC 29607




SLEEVE, NONO                              SLEMAN, SUSAN M.                    SLEMMER, ANGIE
P.O. BOX 742                              404 SEAFARER DR                     5908 N STATE ROUTE 157
RIDERWOOD, MD 21139                       GRAYSLAKE, IL 60030                 EDWARDSVILLE, IL 62025




SLESINSKI, BRIAN                          SLETTELAND, AMI                     SLG MEDIA GROUP, LLC
7920 BROOKFIELD DRIVE                     ADDRESS ON FILE                     1507 HIGHWAY 2565
CASEYVILLE, IL 62232                                                          LOUISA, KY 41230




SLIDER, ANGELA M.                         SLIGER, BRETT                       SLIGER, LESLIE B.
7207-D WALES VIEW CIR NW                  P.O. BOX 5228                       208 24TH ST SW
NORTH CANTON, OH 44720                    EUGENE, OR 97405                    FORT PAYNE, AL 35967




SLIKE, BRIDGETTE                          SLINKARD, PAULINA                   SLIWINSKI, AMANDA K
ADDRESS ON FILE                           7 LOU JUAN DR                       12240 GREENWOOD AVE
                                          GLEN CARBON, IL 62034               BLUE ISLAND, IL 60406
SLOAN CORPORATION       Case 20-10766-BLS   Doc LEWIS
                                      SLOAN SMITH 6 Filed 04/07/20     Page 1630
                                                                            SLOAN,of 1969
                                                                                  CYNTHIA
13316 A STREET                         7130 TARPON CT                       9806 E. WEBB ROAD
OMAHA, NE 68144                        FLEMING ISLAND, FL 32003-3785        MT. VERNON, IL 62864




SLOAN, DORIS A.                        SLOAN, HEATHER A.                    SLOAN, JASON L.
127 W 3RD ST                           ADDRESS ON FILE                      1677 MILL ALY 7
SAINT AUGUSTINE, IL 61474                                                   EUGENE, OR 97401




SLOAN, JOHN D.                         SLOAN, KAREN M.                      SLOAT, JERA
ADDRESS ON FILE                        4309 DEE ANN COURT                   9795 E IL HIGHWAY 148
                                       ABILENE, TX 79606                    BONNIE, IL 62816




SLOCUM ORTHOPEDICS                     SLOCUM, AMANDA F.                    SLOMKOWSKI, FRANK
55 COBURG RD                           ADDRESS ON FILE                      11137 S. WASHTENAW AVE.
EUGENE, OR 97401                                                            CHICAGO, IL 60655




SLONE, GREGORY                         SLONE, JIMMA                         SLONE, KELSEY
ADDRESS ON FILE                        ADDRESS ON FILE                      ADDRESS ON FILE




SLONE, KEN                             SLONE, KRISTY N.                     SLONE, LUTHER G.
15063 GREENRIDGE RD                    ADDRESS ON FILE                      ADDRESS ON FILE
GIRARD, IL 62640




SLONE, MATTHEW E.                      SLOVERNICK, G. KENT                  SLOVIN & ASSOCIATES CO LPA
1598 DEER LICK RD                      2908 E SR 119                        644 LINN ST
LOUISA, KY 41230                       RICHFIELD, UT 84701-9424             STE 720
                                                                            CINCINNATI, OH 45203




SLOVNIK, JEANMARIE                     SLOWINSKI EVA                        SLOWTALKER, LAKYLA
2517 N GARRICK AVE                     8542 CEDAR ST                        ADDRESS ON FILE
WAUKEGAN, IL 60087                     FOX LAKE, IL 60020




SLP SCIENTIFIC LABORATORY PRODUCTS,    SLUSS, EMMA L.                       SLUTZ, VERL
INC                                    525 JEFFREY PINE COURT               2550 CLEVELAND AVE NW
2511 TECHNOLOGY DRIVE                  OFALLON, IL 62269                    CANTON CHRISTIAN HOME
SUITE 112                                                                   CANTON, OH 44709
ELGIN, IL 60124



SM LAWRENCE INC                        SMALL, DANIELLE                      SMALL, TRACY
245 PRESTON STREET                     132 ELDORADO CT                      8552 HERMITAGE
JACKSON, TN 38301                      EVANSTON, WY 82930-0000              CHICAGO, IL 60620
SMALLEY SUSAN           Case 20-10766-BLS   Doc
                                      SMALLEY, GAIL6B. Filed 04/07/20   Page 1631  of GAIL
                                                                             SMALLEY, 1969 B.
1743 COUNTY RD 23                     ADDRESS ON FILE                         P.O. BOX 374 947 CO RD 641
CROSSVILLE, AL 35962-0000                                                     MENTONE, AL 35984




SMALLEY, PEGGY D.                     SMALLWOOD, CATHY E.                     SMALLWOOD, INEZ
19651 ALABAMA HWY 75                  2900 GRAND AVE                          ADDRESS ON FILE
HENAGAR, AL 35978                     GRANITE CITY, IL 62040




SMALLWOOD, JENNIFER U.                SMALLWOOD, KENNETH J.                   SMALLWOOD, MYRTIS H.
1095 SWINSON ROAD                     ADDRESS ON FILE                         504 US 13 17 SOUTH
JAMESVILLE, NC 27846                                                          WINDSOR, NC 27983




SMALLWOOD, RENEE M.                   SMALLWOOD, STEPHEN NMN                  SMARGIASSI, JENNY
ADDRESS ON FILE                       334 WOODARD ROAD                        100 BRIDWATER LANE
                                      WINDSOR, NC 27983                       HIGHLAND, IL 62249




SMART CARE EQUIPMENT SOLUTIONS        SMART MICHAEL                           SMART, BROOKLYN
EEC ACQUISITION LLC                   2017 GREYSTEM CIR APT 103               ADDRESS ON FILE
P.O. BOX 74008980                     GURNEE, IL 60031
CHICAGO, IL 60674-8980




SMART, JAY S.                         SMART, KATHRYN                          SMART, LAURA A.
1508 POSEY                            139 HILLSIDE DR                         ADDRESS ON FILE
MARION, IL 62959                      HOWARD, PA 16841-2617




SMART, SUMMER A.                      SMART-FUJII, KELLY E.                   SMARTSHEET.COM INC
ADDRESS ON FILE                       ADDRESS ON FILE                         DEPT 3421
                                                                              P.O. BOX 123421
                                                                              DALLAS, TX 75312-3421




SMARTSIGN                             SMARTT LISA                             SMEED SOUND SERVICE INC
300 CADMAN PLAZA WEST STE. 1303       300 PARROTT RD                          790 W 8 AVE
BROOKLYN, NY 11201                    DRESDEN, TN 38225                       EUGENE, OR 97402




SMEED SOUND SERVICE INC               SMELTZER, RONALD                        SMERZ, CHARLES
790 WEST 8TH AVE                      1264 PARK AVE                           258 W MAIN ST APT. B
EUGENE, OR 97402                      LOCK HAVEN, PA 17745-8694               GLEN CARBON, IL 62034




SMILE MAKERS                          SMILE MAKERS                            SMILE MAKERS
425 SHA LANE                          P.O. BOX 2543                           P.O. BOX 2543
P.O. BOX 2543                         SPARTANBURG, SC 29304                   SPARTANBURG, SC 29304-0000
SPARTANBURG, SC 29307
SMILEMAKERS           Case 20-10766-BLS    Doc 6INCFiled 04/07/20
                                    SMILEMAKERS,                       Page 1632
                                                                            SMILEY,of 1969 L.
                                                                                    KATHRYN
PO BOX2543                          P.O. BOX 2543                            901 E FM 700 APT 321
SPARTANBURG, SC 29304               SPARTANBURG, SC 29304-2543               BIG SPRING, TX 79720




SMILEY, PENNY                       SMITH & NEPHEW (FORMERLY ACUFEX)         SMITH & NEPHEW ENDOSCOPY
135 ATHERTON LOOP                   130 FORBES BLVD                          1450 BROOKS ROAD
APTOS, CA 95003                     MANSFIELD, MA 02048                      MEMPHIS, TN 38116




SMITH & NEPHEW ENDOSCOPY            SMITH & NEPHEW ENDOSCOPY                 SMITH & NEPHEW ENDOSCOPY
P O BOX 60333                       P.O. BOX 205651                          P.O. BOX 60333
CHARLOTTE, NC 28260-0333            DALLAS, TX 75320-5651                    CHARLOTTE, NC 28260




SMITH & NEPHEW ENDOSCOPY            SMITH & NEPHEW INC                       SMITH & NEPHEW INC
P.O. BOX 60333                      1450 BROOKS ROAD                         P.O. BOX 205651
CHARLOTTE, NC 28260-0333            MEMPHIS, TN 38116                        DALLAS, TX 75320-5651




SMITH & NEPHEW INC                  SMITH & NEPHEW INC                       SMITH & NEPHEW INC
P.O. BOX 60333                      P.O. BOX 785921                          P.O. BOX 933782
CHARLOTTE, NC 28260-0333            PHILADELPHIA, PA 19178-5921              ALTANTA, GA 31193-3782




SMITH & NEPHEW ORTHO                SMITH & NEPHEW ORTHOPAEDICS              SMITH & NEPHEW ORTHOPAEDICS
P.O. BOX 933782                     P.O. BOX 205651                          P.O. BOX 205651
ATLANTA, GA 31193                   DALLAS, TN 72320-5651                    DALLAS, TX 75320-5651




SMITH & NEPHEW ORTHOPAEDICS         SMITH & NEPHEW ORTHOPAEDICS              SMITH & NEPHEW ORTHOPEDIC
P.O. BOX 785921                     P.O. BOX 933782                          PO BOX 785921
PHILADELPHIA, PA 19178-5921         ATLANTA, GA 31193-3782                   PHILADELPHIA, PA 19178




SMITH & NEPHEW PLC                  SMITH & NEPHEW RICHARDS                  SMITH & NEPHEW US
JEREMY SPENCER, NATIONAL ACCOUNT    P.O. BOX 933782                          P.O. BOX 205651
MANAGER                             ATLANTA, GA 31193-3782                   DALLAS, TX 75320-5651
7135 GOODLETT FARMS PKWY
CORDOVA, TN 38016



SMITH & NEPHEW- WOUND MNGT          SMITH & NEPHEW                           SMITH & NEPHEW, INC WOUND
75 REMITTANCE DR                    PO BOX 205651                            MANAGEMENT
STE 6493                            DALLAS, TX 75320-5651                    P.O. BOX 205651
CHICAGO, IL 60675-6493                                                       DALLAS, TX 75320-5651




SMITH & NEPHEW/ORTHOPAED INC        SMITH ALLYSSA JUSTYNE                    SMITH BETTY A
P.O. BOX 933782                     5295 CYNTHIA CT                          ADDRESS ON FILE
ATLANTA, GA 31193-3782              SPRINGFIELD, OR 97478
SMITH BETTY              Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       SMITH CARLENE                 Page 1633  of 1969
                                                                          SMITH COOK, REGENA
ADDRESS ON FILE                         1141 TEWES LANE                    3102 STEVENS ST
                                        BEACH PARK, IL 60099               FORT PAYNE, AL 35967




SMITH CRYSTAL                           SMITH DEBRA                        SMITH EDITH M
ADDRESS ON FILE                         ADDRESS ON FILE                    1515 W GLEN FLORA AVE
                                                                           WAUKEGAN, IL 60085




SMITH EVELYN C                          SMITH HELEN LOUISE                 SMITH IVY
14419 S HALSTED                         1092 WANDA                         298 A STREET
APT 1C                                  GRANITE CITY, IL 62040             STANTON, KY 40380
RIVERDALE, IL 60827




SMITH JAMES A                           SMITH JARED                        SMITH JESSICA A
ADDRESS ON FILE                         160 LAURA LANE                     ADDRESS ON FILE
                                        BLUE RIDGE, GA 30513




SMITH JEWEL S                           SMITH JUDY KAY                     SMITH LINDA A
39 ECHO RD                              729 71ST STREET                    707 CREEKBEND LN
MORGANTON, GA 30560                     SPRINGFIELD, OR 97478              ANTIOCH, IL 60002




SMITH MARGARET O                        SMITH MARY L                       SMITH MEDICAL MD, INC.
3547 HYACINTH ST                        ADDRESS ON FILE                    P.O. BOX 7247-7784
EUGENE, OR 97404                                                           PHILADELPHIA, PA 19170-7784




SMITH MEDICAL PARTNERS                  SMITH MICHAEL R                    SMITH MIKE R
26748 NETWORK PLACE                     ADDRESS ON FILE                    2349 FLYCATCHER LN
CHICAGO, IL 60673-1267                                                     WEST VALLEY CITY, UT 84119




SMITH PAINTING                          SMITH PAMELA                       SMITH POWER PRODUCTS
363 COUNTY RD 739                       ADDRESS ON FILE                    P.O. BOX 27527
HENAGAR, AL 35978                                                          SALT LAKE CITY, UT 84127




SMITH RANDY STEVE                       SMITH RHONDA J                     SMITH ROCHELLE J
1836 CO RD 730                          114 CREEK DRIVE                    2815 PERSHING
HENAGAR, AL 35978-4027                  RAINSVILLE, AL 35986               GRANITE CITY, IL 62040




SMITH RONALD G                          SMITH SAMANTHA E                   SMITH SAMUEL W
509 NORTH 2ND ST                        1805 MARION ST                     2613 W RIDGELAND AVE
ALPINE, TX 79830                        CARTERVILLE, IL 62918              WAUKEGAN, IL 60085
SMITH SHAUNA TERESA      Case 20-10766-BLS    Doc
                                       SMITH SR.,   6 Filed
                                                  JOSEPH D. 04/07/20   Page 1634  of 1969
                                                                            SMITH TAMI
527 PARK ST                             704 OXEN DR                         2619 COLUMBIA LAKES DR 3A
SPRINGFIELD, OR 97477                   BELLEVILLE, IL 62221                COLUMBIA, IL 62236




SMITH TERI L                            SMITH TERRY L                       SMITH TRISHA
3101 EDGEWOOD PARK                      4181 COUNTY RD 27                   ADDRESS ON FILE
MARION, IL 62959                        FORT PAYNE, AL 35968-5503




SMITH, ABIGAIL E.                       SMITH, ADRIENNE R.                  SMITH, ADRIENNE
4735 BLUE RIBBON DR                     1256 ORIOLE ST                      11350 S HERMOSA AVE
CATLETTSBURG, KY 41129                  VENICE, IL 62090                    CHICAGO, IL 60643




SMITH, ADRIENNE                         SMITH, ALEXIS                       SMITH, ALICIA
6961 HIGHWAY 243 S                      6325 RIDGE AVE                      26130 LANCELET ST.
LEXA, AR 72355                          ST.LOUIS, MO 63133                  APPLE VALLEY, CA 92308




SMITH, ALYCE                            SMITH, AMANDA P.                    SMITH, AMANDA
1710 OBERLIN CT NW                      ADDRESS ON FILE                     ADDRESS ON FILE
CANTON, OH 44703-1320




SMITH, AMANDA                           SMITH, AMANDA                       SMITH, AMBER
ADDRESS ON FILE                         ADDRESS ON FILE                     1293 KREIGH LN
                                                                            KNOXVILLE, IL 61448




SMITH, AMBER                            SMITH, AMELIA M.                    SMITH, ANDRA L.
614 LORI AVE NE                         ADDRESS ON FILE                     2850 E 38TH AVE
MASSILLON, OH 44646                                                         EUGENE, OR 97405




SMITH, ANDRE                            SMITH, ANDREA M.                    SMITH, ANDREA
3010 W. 171ST STREET                    400 CEDAR RIDGE LANE APT 106        P.O. BOX 213
HAZEL CREST, IL 60429                   RICHTON PARK, IL 60471              MOAPA, NV 89025




SMITH, ANDREW P.                        SMITH, ANDREW                       SMITH, ANGEL A.
ADDRESS ON FILE                         ADDRESS ON FILE                     1989 BELVIEW RD
                                                                            HENAGAR, AL 35978




SMITH, ANGELI P.                        SMITH, ARLAN                        SMITH, ARTIE K.
ADDRESS ON FILE                         29 OPEN FORK LANE                   P.O. BOX 447
                                        JACKSON, KY 41339                   MOUNTAINBURG, AR 72946
SMITH, BETH              Case 20-10766-BLS    Doc 6A. Filed 04/07/20
                                       SMITH, BETTY                       Page 1635
                                                                               SMITH, of 1969
                                                                                      BETTY
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




SMITH, BEVERLY A.                       SMITH, BEVERLY J.                      SMITH, BEVERLY L.
ADDRESS ON FILE                         19 A. SHENANDOAH AVENUE                ADDRESS ON FILE
                                        JACKSONVILLE, IL 62650




SMITH, BEVERLY                          SMITH, BOB                             SMITH, BRANDY N.
ADDRESS ON FILE                         THREE FORKS HISTORICAL CALENDAR        509 S 20TH ST
                                        P.O. BOX 557                           BELLEVILLE, IL 62226
                                        BEATTYVILLE, KY 41311




SMITH, BREANNA                          SMITH, BRENDA                          SMITH, BRITTANY L.
8152 S DAMEN AVE                        ADDRESS ON FILE                        ADDRESS ON FILE
CHICAGO, IL 60620




SMITH, BRITTIANY                        SMITH, CAROLYN E.                      SMITH, CASSANDRA M.
162 HIDDEN SPRINGS LOOP                 ADDRESS ON FILE                        ADDRESS ON FILE
VALLEYHEAD, AL 35989




SMITH, CASSANDRA M.                     SMITH, CERA                            SMITH, CHANDA
17579 E IL HWY 142                      8796 RT 166                            ADDRESS ON FILE
OPDYKE, IL 62872                        CREAL SPRINGS, IL 62922




SMITH, CHARLA L.                        SMITH, CHARLENE N.                     SMITH, CHARLES H.
7400 HWY 69 S                           4290 LOGAN DR.                         140 CASTLETON DR
SPRINGVILLE, TN 38256                   LOGANVILLE, GA 30052                   HARVEST, AL 35749




SMITH, CHARLES RODERIC                  SMITH, CHARLIE                         SMITH, CHENOAH D.
3316 AMHERST WAY                        598 MEADOWBROOK WAY                    1905 HOLIDAY SHORES RD
EUGENE, OR 97408                        MARIANNA, AR 72360                     SCOTTSBORO, AL 35769




SMITH, CHERI A.                         SMITH, CHRISTA D.                      SMITH, CHRISTIE L.
ADDRESS ON FILE                         ADDRESS ON FILE                        ADDRESS ON FILE




SMITH, CHRISTIE                         SMITH, CHRISTINA T.                    SMITH, CHRISTINE
ADDRESS ON FILE                         2605 SAN MATEO DR.                     ADDRESS ON FILE
                                        PLAINFIELD, IL 60586
SMITH, CHRISTOPHER       Case 20-10766-BLS    Doc 6S. Filed 04/07/20
                                       SMITH, CONNIE                   Page 1636
                                                                            SMITH, of 1969
                                                                                   CRYSTAL
1358 JOHN STOWE SPUR                    ADDRESS ON FILE                     ADDRESS ON FILE
MONROE, GA 30656




SMITH, CYNTHIA L.                       SMITH, CYNTHIA                      SMITH, DANELLE M.
1250 AMANDA SW                          12841 HOYNE AVE                     1324 CHESTNUT ST
MASSILLON, OH 44647                     BLUE ISLAND, IL 60406               WAUKEGAN, IL 60085




SMITH, DANIEL P.                        SMITH, DANIELLE                     SMITH, DARLA J.
4348 W. 77TH PLACE                      1230 SE LAMBERT STREET              ADDRESS ON FILE
CHICAGO, IL 60652                       PORTLAND, OR 97202




SMITH, DAWN M.                          SMITH, DEBORAH A.                   SMITH, DEBORAH L.
201 MAPLE WAY                           15468 RIDGEWAY                      ADDRESS ON FILE
BOULDER CREEK, CA 95006                 MARKHAM, IL 60428




SMITH, DEBRA D.                         SMITH, DEBRA J.                     SMITH, DEBRA
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




SMITH, DEVIN M.                         SMITH, EDD                          SMITH, EDDA M.
712 N MADISONT                          331 HAYGOOD DR                      10100 S PEORIA ST
MARION, IL 62959                        GREENVILLE, AL 36037                CHICAGO, IL 60643




SMITH, ELLECE                           SMITH, EMERALD                      SMITH, ERIKA
1502 N PARK DR                          ADDRESS ON FILE                     1639 FLORENCE AVE
ROUND LAKE, IL 60073                                                        GALESBURG, IL 61401




SMITH, ETHAN G.                         SMITH, EVELYN C.                    SMITH, FAYE B.
205 N WASHINGTON BLVD                   12524 S ADA ST                      416 SHALLOWFORD CR
WEST FRANKFORT, IL 62896                CALUMET PARK, IL 60827              AUGUSTA, GA 30907-3618




SMITH, FAYE                             SMITH, GAGE                         SMITH, GARI
6003 GREAT GIN                          810 PARK ST                         289 BARNHILL ST
GROVETOWN, GA 30813-8111                TROY, AL 36081                      LEXINGTON, TN 38351




SMITH, GARRISON B.                      SMITH, GEOFF B.                     SMITH, GEORGE A.
258 PLEASANT PLAINS RD                  ADDRESS ON FILE                     1371 TARA ST
JACKSON, TN 38305                                                           BARSTOW, CA 92311
SMITH, GERTTE           Case 20-10766-BLS    Doc 6
                                      SMITH, GINA          Filed 04/07/20   Page 1637
                                                                                 SMITH, of 1969
                                                                                        GLORY
12036 S JUSTINE ST                     6356 GEORGETOWN ST.                       1127 REED PLACE
CHICAGO, IL 60643                      LOUISVILLE, OH 44641                      MONROE, GA 30655




SMITH, GRACIE                          SMITH, GREG B                             SMITH, GWENDOLYN FAYE
ADDRESS ON FILE                        P.O. BOX 1308                             2510 WEST ISLAND RD
                                       GRANTSVILLE, UT 84029                     WILLIAMSTON, NC 27892




SMITH, HALEY                           SMITH, HELEN Q.                           SMITH, HERSCHEL B.
605 E ALABAMA AVE                      223 EAST CIMMARON WAY                     1118 PURIFOY
ALBERTVILLE, AL 35950                  ERDA, UT 84074                            FORREST CITY, AR 72335




SMITH, HILLARY                         SMITH, JADA P.                            SMITH, JADA S.
802 S MAIN ST                          9143 S MICHIGAN AVE                       904 POPLAR AVE W APT 3
MARISSA, IL 62257                      CHICAGO, IL 60619                         WYNNE, AR 72396




SMITH, JADEN                           SMITH, JADEN                              SMITH, JAIME A.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




SMITH, JAMES N.                        SMITH, JAMES                              SMITH, JANE W.
223 S. HARPER AVE.                     1802 1/2 W 3RD AVE P.O. BOX 671           328 NORTH MADISON AVENUE
GLENWOOD, IL 60425                     WILLIAMSON, WV 25661                      MONROE, GA 30655




SMITH, JARED S.                        SMITH, JASMINE N.                         SMITH, JASON C.
4220 SARATOGA AVE 110                  12692 LAKE BENTON RD., LOT 5              ADDRESS ON FILE
DOWNERS GROVE, IL 60515                BENTON, IL 62812




SMITH, JASON                           SMITH, JENNIFER L.                        SMITH, JENNIFER L.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




SMITH, JENNIFER P.                     SMITH, JENNIFER                           SMITH, JESSICA A.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




SMITH, JESSICA E.                      SMITH, JESSICA L.                         SMITH, JESSICA N.
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE
SMITH, JEWELL           Case 20-10766-BLS     DocL.6
                                      SMITH, JOAN         Filed 04/07/20   Page 1638
                                                                                SMITH, of 1969
                                                                                       JOHN
9986 HWY 73                             6868 KLICK STREET SW                    19670 N 2000TH RD
BRYANT, AL 35958                        MASSILLON, OH 44646                     BUSHNELL, IL 61422




SMITH, JOSEPH S.                        SMITH, JUDY L.                          SMITH, JULIE A.
ADDRESS ON FILE                         1624 VERMONT S.E.                       1604 100TH AVE
                                        MASSILLON, OH 44646                     BERWICK, IL 61417




SMITH, JULIE A.                         SMITH, JULIE A.                         SMITH, KANDY C.
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




SMITH, KARA L.                          SMITH, KARA                             SMITH, KASEY A.
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




SMITH, KATHLEEN L.                      SMITH, KATHLEEN                         SMITH, KATHLEEN
2432 LONG LANE                          ADDRESS ON FILE                         ADDRESS ON FILE
LEBANON, PA 17046




SMITH, KAYLIN                           SMITH, KELLY R.                         SMITH, KELLY S.
33 WINDY LN                             ADDRESS ON FILE                         509 HIGHLAND DRIVE
BEECH CREEK, PA 16822                                                           RAINSVILLE, AL 35986




SMITH, KELLY S.                         SMITH, KERRI D.                         SMITH, KERRI
ADDRESS ON FILE                         P.O. BOX 663                            143 N HALE ST
                                        GRANTSVILLE, UT 84029                   UNIT A
                                                                                GRANTSVILLE, UT 84029




SMITH, KIM S.                           SMITH, KIMBERLY A.                      SMITH, KIMBERLY A.
4634 COUNTY RD 121                      4630 EL LLANO RD                        4987 KINGS MEADOW DRIVE
FORT PAYNE, AL 35968-5121               LAS VEGAS, NM 87701                     BARTLETT, TN 38135




SMITH, KIMBERLY                         SMITH, KORY M.                          SMITH, KRISHONNA I.
14507 RIDGEWAY AVE                      ADDRESS ON FILE                         205 N BLAYNEY STREET P.O. BOX 322
MIDLOTHIAN, IL 60445                                                            ALEXIS, IL 61412




SMITH, KRISTIN J.                       SMITH, KYLE T.                          SMITH, LAKEEF
12549 SOUTH MENARD AVENUE               3119 MCALLISTER ST.                     1930 APPLEGATE LN
PALOS HEIGHTS, IL 60463                 MILAN, TN 38358                         EDWARDSVILLE, IL 62025
SMITH, LAKESTRA R.        Case 20-10766-BLS     Doc 6 S. Filed 04/07/20
                                        SMITH, LATESHA                    Page 1639
                                                                               SMITH, of 1969
                                                                                      LEIGH SLP
ADDRESS ON FILE                           616 EMERALD AVE                       P O BOX 1885
                                          ALTON, IL 62002                       SILVER CITY, NM 88062




SMITH, LESLIE C.                          SMITH, LINDA A.                       SMITH, LINDSAY
427 S 58TH STREET APT C                   64 KAREN DR                           4498 GAUNTT RD SE
SPRINGFIELD, OR 97478                     GRANITE CITY, IL 62040                OXFORD, GA 30054




SMITH, LISA A.                            SMITH, LISA                           SMITH, LISA
ADDRESS ON FILE                           ADDRESS ON FILE                       ADDRESS ON FILE




SMITH, LORI C.                            SMITH, LORI J.                        SMITH, LYDIA
ADDRESS ON FILE                           ADDRESS ON FILE                       166 N HIGHLAND
                                                                                GALESBURG, IL 61401




SMITH, MANDI K.                           SMITH, MARIAH                         SMITH, MARKENI N
ADDRESS ON FILE                           ADDRESS ON FILE                       259 MAPLE ST
                                                                                MARIANNA, AR 72360




SMITH, MARTIN D                           SMITH, MARTIN D.                      SMITH, MARY ALICE
ADDRESS ON FILE                           ADDRESS ON FILE                       1616 CORNELL DR
                                                                                AUGUSTA, GA 30904-5040




SMITH, MARY L.                            SMITH, MARY P.                        SMITH, MARY
ADDRESS ON FILE                           ADDRESS ON FILE                       ADDRESS ON FILE




SMITH, MARY                               SMITH, MEGAN                          SMITH, MEGGAN
ADDRESS ON FILE                           90530 HILL ROAD                       3047 PARTRIDGE LN
                                          SPRINGFIELD, OR 97478                 CATLETTSBURG, KY 41129-8000




SMITH, MELISSA A.                         SMITH, MICHAEL D.                     SMITH, MICHAEL D.
ADDRESS ON FILE                           1567 ROSEWOOD LN                      ADDRESS ON FILE
                                          SCHERERVILLE, IN 46375




SMITH, MICHAEL D.                         SMITH, MICHAEL PA                     SMITH, MICHAEL PA
ADDRESS ON FILE                           955 FAIR OAKS AVE SW                  ADDRESS ON FILE
                                          NORTH CANTON, OH 44720
SMITH, MICHAEL           Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       SMITH, MICHELE                Page 1640
                                                                          SMITH, of 1969
                                                                                 NAKEMA
ADDRESS ON FILE                         8867 NORTH TRITON LANE            P.O. BOX 284
                                        NT VERNON, IL 62864               TURTLETOWN, TN 37391




SMITH, NANCY M.                         SMITH, PAMELA S.                  SMITH, PAMELA
1657 BARNES CHAPEL RD.                  ADDRESS ON FILE                   ADDRESS ON FILE
BLUE RIDGE, GA 30513




SMITH, PATRICIA                         SMITH, PATRICIA                   SMITH, PETRINA
11 COUR DE LA REINE                     145 SFC 359                       ADDRESS ON FILE
PALOS HILLS, IL 60465                   FORREST CITY, AR 72335




SMITH, PHILANDER D.                     SMITH, RACHELLE A.                SMITH, RAE DAWN
ADDRESS ON FILE                         1308 SCURRY ST. UNIT A            ADDRESS ON FILE
                                        BIG SPRING, TX 79720




SMITH, REBECCA F.                       SMITH, REGINA B.                  SMITH, RHONDA L.
ADDRESS ON FILE                         ADDRESS ON FILE                   234 HARMON NW
                                                                          BREWSTER, OH 44613




SMITH, RHONDA L.                        SMITH, RICHARD A.                 SMITH, RICHARD
545 CANFORD AVENUE N.E.                 ADDRESS ON FILE                   ADDRESS ON FILE
MASSILLON, OH 44646




SMITH, RICHARD                          SMITH, RICKY                      SMITH, ROBERT DAVID
ADDRESS ON FILE                         2113 HAMILTON DR                  3950 COBURG ROAD SPC 74
                                        GRANITE CITY, IL 62040            COBURG, OR 97408




SMITH, ROBERTA L.                       SMITH, ROBYN J.                   SMITH, ROBYN M.
P O BOX 1885                            944 B STREET                      ADDRESS ON FILE
SILVER CITY, NM 88062                   SPRINGFIELD, OR 97477




SMITH, ROSETTA                          SMITH, SABRINA M.                 SMITH, SARAH A.
2952 GILBERT AVE NE                     796 SFC 700                       ADDRESS ON FILE
CANTON, OH 44705-4753                   FORREST CITY, AR 72335




SMITH, SARAH E.                         SMITH, SARAH L.                   SMITH, SARAH
2325 DRY POND RD NW                     ADDRESS ON FILE                   ADDRESS ON FILE
MONROE, GA 30656
SMITH, SARAH            Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      SMITH, SCHELENA               Page 1641
                                                                         SMITH, of 1969
                                                                                SCOTT J.
ADDRESS ON FILE                        7798 HWY 172                       ADDRESS ON FILE
                                       WEST LIBERTY, KY 41472




SMITH, SCOTT M.                        SMITH, SHANE R.                    SMITH, SHANNON L.
ADDRESS ON FILE                        16464 GEORGE DR                    1313 OAKMONT AVENUE
                                       OAK FOREST, IL 60452               FLOSSMOOR, IL 60422




SMITH, SHARI A.                        SMITH, SHARON J.                   SMITH, SHARON
3205 LEGHORN LANE SW                   1723 COUNTY ROAD 835               ADDRESS ON FILE
DEMING, NM 88030                       FORT PAYNE, AL 35968




SMITH, SHELIA A.                       SMITH, SHELIA A.                   SMITH, SHONTIA
613 SAINT REGIS                        ADDRESS ON FILE                    ADDRESS ON FILE
WEST HELENA, AR 72390




SMITH, SLADE                           SMITH, STACY                       SMITH, STACY
P.O. BOX 2044                          ADDRESS ON FILE                    ADDRESS ON FILE
BEAVER, UT 84713




SMITH, STEPHEN R.                      SMITH, STEVEN J.                   SMITH, STEVEN L.
5029 PENBROOK DR.                      ADDRESS ON FILE                    6797 FM 2668
FRANKLIN, TN 37069                                                        BAY CITY, TX 77414




SMITH, STEVEN                          SMITH, SUDIE B.                    SMITH, SUSAN A.
ADDRESS ON FILE                        9134 AL HIGHWAY 137                ADDRESS ON FILE
                                       VALLEY HEAD, AL 35989-4247




SMITH, SUSAN D.                        SMITH, SUSAN                       SMITH, TAMARA T.
ADDRESS ON FILE                        ADDRESS ON FILE                    ADDRESS ON FILE




SMITH, TAMARA                          SMITH, TAMILA                      SMITH, TAYLOR
ADDRESS ON FILE                        14036 S TRACY AVE                  ADDRESS ON FILE
                                       RIVERDALE, IL 60827




SMITH, TAYLOR                          SMITH, TERESA D.                   SMITH, TERESA L.
ADDRESS ON FILE                        ADDRESS ON FILE                    371 MACKINAW
                                                                          CALUMET CITY, IL 60409
SMITH, TERESA W.      Case 20-10766-BLS     DocM.6
                                    SMITH, TERI           Filed 04/07/20   Page 1642
                                                                                SMITH, of 1969
                                                                                       TERI
ADDRESS ON FILE                       105 EAST PURVIS STREET                    P.O. BOX 952
                                      ROBERSONVILLE, NC 27871                   LOGANDALE, NV 89021




SMITH, TERRANDUS                      SMITH, TERRI LEANN                        SMITH, THOMAS E.
460 PIPKIN RD                         114 LYNDSEY LN                            ADDRESS ON FILE
JACKSON, TN 38505                     CARTERVILLE, IL 62918




SMITH, THOMAS                         SMITH, TIMOTHY A.                         SMITH, TINA
ADDRESS ON FILE                       ADDRESS ON FILE                           ADDRESS ON FILE




SMITH, TINA                           SMITH, TODD MD                            SMITH, TONY
ADDRESS ON FILE                       ADDRESS ON FILE                           ADDRESS ON FILE




SMITH, TONY                           SMITH, TRACY L.                           SMITH, TRACY
ADDRESS ON FILE                       1761 COUNTY HIGHWAY 13                    36 MILL HALL RD
                                      XENIA, IL 62899                           LOCK HAVEN, PA 17745-8193




SMITH, TRISHA L.                      SMITH, TRISHA                             SMITH, TRISTA A.
ADDRESS ON FILE                       ADDRESS ON FILE                           1117 RAY AVE NW
                                                                                NEW PHILADELPHIA, OH 44663




SMITH, VANESSA D.                     SMITH, VICTORIA                           SMITH, VIRGINIA ELLEN
ADDRESS ON FILE                       1101 N 16TH ST                            3700 BABCOCK LN SPC 90
                                      HERRIN, IL 62948                          EUGENE, OR 97401




SMITH, WALTER                         SMITH, WILLIAM D.                         SMITH, WILLIAM G.
1021 HAMILTON PL                      510 KELLY                                 1922 OWEN DR. NE
GARY, IN 46403                        BARSTOW, CA 92311                         FORT PAYNE, AL 35967




SMITH, WILLIAM S.                     SMITH, YVONNE E.                          SMITHBURG, DONALD R.
11846 LAWLER AVE                      ADDRESS ON FILE                           2474 ROCKY FORK ROAD
ALSIP, IL 60803                                                                 NOLENSVILLE, TN 37135




SMITH-BURTON, YVONNE C.               SMITH-CARTER, DIONNE E.                   SMITHFIELD SURGICAL PARTNERS
17000 KEDZIE AVE                      7435 S VERNON AVE                         1905 BISSELL ST UNIT 1
HAZEL CREST, IL 60429                 CHICAGO, IL 60619                         CHICAGO, IL 60614
SMITH-FULLEN, RACHAEL D.Case 20-10766-BLS    DocTHOMAS
                                      SMITHGALL,   6 FiledW. 04/07/20   Page 1643  of 1969 ANDREA M.
                                                                             SMITH-GILLESPIE,
418 W. CAMBRIDGE ST                   772 PLUNKETS RUN RD                    ADDRESS ON FILE
ALLIANCE, OH 44601                    MILL HALL, PA 17751




SMITHKLINE BEECHAM CORP               SMITHLUELEN PENELOPE                   SMITHPRO COMMERCIAL PAINTING
GLAXOSMITHKLINE PHARMACEUTICALS       100 DR                                 1612 FAIRVIEW AVE
P.O. BOX 740415                       MOSCOW, TN 38057                       ST LOUIS, MO 63132-0000
ATLANTA, GA 30374-0415




SMITHS CUSTOMER CHARGES               SMITHS MEDICAL ASD INC                 SMITHS MEDICAL ASD, INC.
P.O. BOX 644481                       POB 7247-7784                          P.O. BOX 7247-7784
ACCT402560                            PHILADELPHIA, PA 19170-7784            PHILADELPHIA, PA 19170-7784
PITTSBURGH, PA 15264-4481




SMITHS MEDICAL MD, INC                SMITHS MEDICAL PM                      SMITHS MEDICAL
P.O. BOX 7247-7784                    P.O. BOX 7247-7784                     PO BOX 7247-7784
PHILADELPHIA, PA 19170-7784           PHILADELPHIA, PA 19170-7784            PHILADELPHIA, PA 19170




SMITHSON, RANDY LEE                   SMITLEY, ROSEMARY J.                   SMMC CANCER CRUSHERS
205 SMITHSON LANE                     1814 HANKINS RD NE                     C/O JULIE ALVAREZ
BUNCOMBE, IL 62912                    MASSILLON, OH 44646                    1601 W. 11TH PLACE
                                                                             BIG SPRING, TX 79720




SMMC MEDICAL GROUP                    SMOAK, MARGIE                          SMOCK, TINA M.
1999 BRYAN STREET                     4236 RHENEY RD                         235 HONEYSUCKLE LANE
SUITE 900                             HEPHZIBAH, GA 30815-4730               VIENNA, IL 62995
DALLAS, TX 75201




SMOKE GUARD CALIFORNIA, INC.          SMOKE N TRAIN, THE                     SMOLANOVICH, ELIZABETH L.
1915 MARK COURT 100                   CLARENCE GARCIA                        300 PETERY LANE
CONCORD, CA 94520                     P.O. BOX 324                           APTOS, CA 95003
                                      GUADALUPITA, NM 87722




SMOLINSKI, MARK                       SMOLLEY, KIMBERLY                      SMOOT WILLIAM D
345 LAWN TERRACE                      ADDRESS ON FILE                        912 S VIRGINIA
ROUND LAKE, IL 60073                                                         MARION, IL 62959




SMOOT, MICHELLE B                     SMOOT, WILLIAM W.                      SMRECZYNSKI, TOMASZ
2114 ORCHID BLOSSOM COURT             35 GASKIN MINE SPUR                    14612 S STONEGATE DR
SAINT PETERS, MO 63376                HEROD, IL 62947                        HOMER GLEN, IL 60491




SMT HEALTH SYSTEMS                    SMUCKLER, MEGAN                        SMUTNY, ANGELA
1380 LEGION RD                        125 CARLYLE EAST                       1140 GANITE LN
DETROIT LAKES, MN 56501               BELLEVILLE, IL 62221                   LOGANVILLE, GA 30052-2632
SMW PLUS               Case 20-10766-BLS   Doc
                                     SMYSER,    6 Filed 04/07/20
                                             RENEE                 Page 1644 ofSUSAN
                                                                        SMYTHE, 1969
P.O. BOX 1449                        ADDRESS ON FILE                    335 LAKEWOOD DR
GOODLETTSVILLE, TN 37070                                                ORRVILLE, OH 44667




SNAPPY POPCORN                      SNAPSHOT INTERACTIVE                SNAUER, KIM
P.O. BOX 160                        1530 RIVERSIDE DR                   1460 G STREET
BREDA, IA 51436                     NASHVILLE, TN 37206                 SPRINGFIELD, OR 97477




SNAUER, KIMBERLY C.                 SNAUFFER SR, ROBERT                 SNEDIGAR, JOYCE
ADDRESS ON FILE                     7787 TAHITI ST NW                   1208 KEY LARGO TERRACE
                                    MASSILLON, OH 44646-2351            EDWARDSVILLE, IL 62025




SNEED, EDWARD                       SNEED, LINDA                        SNEED, TOMMY L.
147 WALNUT COVE                     3162 EBENEZER RD                    13 WEYBRIDGE CT
MCKENZIE, TN 38201                  MURPHY, NC 28906                    EDWARDSVILLE, IL 62025




SNEED-TUCKER, HEIDI J.              SNELL & WILMER LLP                  SNELL CLEON S
ADDRESS ON FILE                     ONE ARIZONA CENTER                  244 BRYNBROOKE
                                    400 E VAN BUREN                     DAWSONVILLE, GA 30534
                                    PHOENIX, AZ 85004-2202




SNELL MATTHEW R                     SNELL, CINDY M.                     SNELL, JENNIFER
29 OAKBROOKE                        169 OAK CREEK BLVD.                 215 SINK HOLE RD
TROY, IL 62294                      SCOTTS VALLEY, CA 95066             JONESBORO, IL 62952




SNELL, JODIE J.                     SNELL, KAREN                        SNELL, RYAN
605 E WHITEHILL RD                  ADDRESS ON FILE                     169 OAK CREEK BLVD
CYPRESS, IL 62923                                                       SCOTTS VALLEY, CA 95066




SNELL, SHOLEENA W.                  SNELL, TALEEA                       SNELSON, MELISSA
5213 ANETO DRIVE                    ADDRESS ON FILE                     2101 GARFIELD
LAREDO, TX 78043                                                        GRANITE CITY, IL 62040




SNIDER INTERNATIONAL INC            SNIDER INTERNATIONAL INC            SNIDER RODNEY
P.O. BOX 1705                       PO BOX 1705                         742 GRAND TOWER RD
GALESBURG, IL 61401                 GALESBURG, IL 61401                 GRAND TOWER, IL 62942




SNIDER, JOAN DENICE                 SNIDER, KARLI J.                    SNIDER, LENA R.
3950 GOODPASTURE LOOP, APT G210     ADDRESS ON FILE                     210 TAFT LANE
EUGENE, OR 97401-0000                                                   VIENNA, IL 62995
SNIDER, PATRICK C.     Case 20-10766-BLS
                                     SNIDER,Doc  6 M. Filed 04/07/20
                                            SHEILA                     Page 1645
                                                                            SNIDER,of 1969 D.
                                                                                    TIMOTHY
ADDRESS ON FILE                        1120 GREEN RD                         ADDRESS ON FILE
                                       CYPRESS, IL 62923




SNIDER, TRACIE T.                      SNIDER, TRACIE                        SNIDERWIN, HEIDI
ADDRESS ON FILE                        ADDRESS ON FILE                       20887 W BOBTAIL
                                                                             THOMPSONVILLE, IL 62890




SNIPES, HENRY D.                       SNITCHLER, KAREN                      SNM SHRM
2615 SHAYWEN CR                        713 HERITAGE ROAD                     P O BOX 1084
SNELLVILLE, GA 30078                   VALPARAISO, IN 46385                  LAS CRUCES, NM 88005




SNMMI                                  SNODE, JUSTIN                         SNODGRASS, DOROTHY J.
1850 SAMUEL MORSE DRIVE                1508 CREEKSIDE CIRCLE                 ADDRESS ON FILE
RESTON, VA 20190-5316                  MINOOKA, IL 60447




SNODGRASS, LAURA                       SNODSMITH, CHARLOTTE                  SNOOK FRANK W
ADDRESS ON FILE                        612 DOWNING                           2580 ELYSIUM AVE
                                       MT. VERNON, IL 62864                  EUGENE, OR 97401-0000




SNOOK, GARY MD                         SNOOK, KRISTA L.                      SNOOK, M.D., GARY
ADDRESS ON FILE                        3196 KENTWOOD DR                      6484 SOUTH HEUGHS CANYON DR
                                       EUGENE, OR 97401                      HOLLADAY, UT 84121




SNOW & SAUERTEIG LLP                   SNOW & SAUERTEIG LLP                  SNOW NANCY M
203 EAST BERRY ST STE 1100             203 EAST BERRY ST STE 1100            ADDRESS ON FILE
FORT WAYNE, IN 46802                   FT WAYNE, IN 46802-2715




SNOW, AMEY B.                          SNOW, DUDLEY I.                       SNOW, GARY E.
STORYBOOK STUDIOS                      ADDRESS ON FILE                       448 S HALE ST
P.O. BOX 2183                                                                GRANTSVILLE, UT 84029
OVERTON, NV 89040




SNOW, HALEY                            SNOW, JUDY                            SNOW, LAKEYSHEE
93 BONDS AVENUE                        162 SNOWBIRD LN                       693 SHERLING LAKE RD
EAST ALTON, IL 62024                   MINERAL BLUFF, GA 30559               APT 427
                                                                             GREENVILLE, AL 36037




SNOW, NANCY                            SNOW, RYAN B.                         SNOW, SHIRLEY
ADDRESS ON FILE                        3110 WALNUT CIRCLE                    1400 S 13TH ST
                                       SAINT GEORGE, UT 84790                MT VERNON, IL 62864
SNOWDEN, AUDREY         Case 20-10766-BLS  Doc
                                      SNOWDEN,   6 Filed
                                               DEBBIE L. 04/07/20          Page 1646 of 1969
                                                                                SNOWDEN, FRANKIE L.
759 14TH ST SE                         1327 PHILLIPS 210 RD                      185 PENDLAND ST APT 304
MASSILLON, OH 44646                    LEXA, AR 72355                            ELLIJAY, GA 30540-4435




SNOWER LAUREN MD                       SNOWISS, ALVIN L. F/B/O ESTATE OF         SNYDER COUNTY COURTHOUSE
ADDRESS ON FILE                        WILBUR LINGLE                             P.O. BOX 217
                                       333 NORTH VESPER ST                       ATTN: ACCOUNTING
                                       LOCK HAVEN, PA 17745                      MIDDLEBURG, PA 17842




SNYDER ENVIRONMENTAL &                 SNYDER SHEILA KAY                         SNYDER, ANNA
CONSTRUCTION INC                       248 RUSSELL RD                            ADDRESS ON FILE
P.O. BOX 3317                          CARBONDALE, IL 62901
LITTLE ROCK, AR 72203




SNYDER, CHRISTIE                       SNYDER, ELIZABETH                         SNYDER, JASON
6030 WENTWORTH LN SW                   225 BIRCHWOOD DR                          5106 DEERFIELD AVE NW
CANTON, OH 44706                       LOGANVILLE, GA 30052-3099                 NORTH LAWRENCE, OH 44666-9617




SNYDER, JENNIFER M.                    SNYDER, MARIA E.                          SNYDER, MELANIE L.
ADDRESS ON FILE                        2118 SOUTH EMERSON DRIVE                  ADDRESS ON FILE
                                       DEMING, NM 88030




SNYDER, MICHAEL T.                     SNYDER, PATRICIA A.                       SNYDER, PATRICIA
10947 EMERSON RD                       1417 DEER RUN                             116 SMITH LN
APPLECREEK, OH 44606                   GURNEE, IL 60031                          MILL HALL, PA 17751




SNYDER, RILEY                          SNYDER, ROZANN M.                         SO CAL ED
1126 D SCHAFFER LN                     1384 N HENDEERSON ST                      4175 S LASPINA ST
FAIRMONT, WV 26554                     APT 402                                   TULARE, CA 93274
                                       GALESBURG, IL 61401




SO CAL ED                              SO IL WELLNESS EXPO                       SO, JOSEPH, MD
P.O. BOX 300                           JOHN A. LOGAN COLLEGE                     4 KENTFIELD
ROSEMEAD, CA 91772                     700 LOGAN COLLEGE DR                      MATTOON, IL 61938
                                       CARTERVILLE, IL 62918




SO. IL SECURITY CONS.                  SOANGETAHA COUNTRY CLUB                   SOANGETAHA COUNTRY CLUB
P.O. BOX 1096                          P.O. BOX 926                              PO BOX 926
MURPHYSBORO, IL 62966                  GALESBURG, IL 61401                       GALESBURG, IL 61401




SOAPY JOES                             SOAR LUNCHEON                             SOARD, CALEB
2811 VETERANS MEM DR                   10 CENTRAL INDUSTRIAL DRIVE               6630 CLARKSVILLE PIKE
MT VERNON, IL 62864                    SUITE 4                                   JOELTON, TN 37080
                                       GRANITE CITY, IL 62040
SOBASKY, HEATHER M.     Case 20-10766-BLS   Doc
                                      SOBASKY,   6 Filed 04/07/20
                                               HEATHER                   Page 1647 of 1969
                                                                              SOBCZAK, SHARON L.
ADDRESS ON FILE                        ADDRESS ON FILE                         18730 LORAS LANE
                                                                               COUNTRY CLUB HILL, IL 60478




SOBECKI KENNETH R                      SOBECKS, ROBERT                         SOBISKI, ERIN R.
1201 TULIP TREE CT                     2027 SUMMER EVENING DR                  11530 S LEE RD
LAKE VILLA, IL 60046                   CANAL FULTON, OH 44614-8487             ALSIP, IL 60803




SOBREPENA, ROMEO                       SOBRIO, JOSEPH                          SOCIAL SECURITY ADM
253 S IRONWOOD                         P.O. BOX 904                            P.O. BOX 3430
LINDENHURST, IL 60046                  LOGANDALE, NV 89021-0904                PHILADELPHIA, PA 19122-9985




SOCIETY FOR CORPORATE GOVERNANCE       SOCIETY FOR HEALTHCARE EPIDEMIOLOGY     SOCIETY FOR HEALTHCARE STRATEGY
240 W 35TH ST, STE 400                 OF AMERICA                              P.O. BOX 75315
NEW YORK, NY 10001                     1300 WILSON BOULEVARD                   AND MARKET DEVELOPMENT
                                       ARLINGTON,, VA 22209                    CHICAGO, IL 60675-5315




SOCIETY FOR HUMAN RESOURCE MGMT        SOCIETY FOR VASCULAR ULTRASOUND         SOCIETY HUMAN RESOURCE MGMT
P.O. BOX 791139                        P.O. BOX 75491                          PO BOX 791139
BALTIMORE, MD 21279-1139               C/O MEMBERSHIP DIVISION                 BALTIMORE, MD 21279
                                       BALTIMORE, MD 21275-5491




SOCIETY OF CORPORATE COMPLIANCE &      SOCIETY OF ST VINCENT DEPAUL            SOCIETY OF THORACIC SURGEONS
ETHICS & HC COMP                       5211 BULL VALLEY RD                     P.O. BOX 809265
HEALTH CARE COMPLIANCE ASSOCIATION     MCHENRY, IL 60050                       CHICAGO, IL 60680-9265
6500 BARRIE RD - STE 250
MINNEAPOLIS, MN 55435



SOCIETY OF THORACIC SURGEONS, THE      SOCIETY OF TRAUMA NURSES                SODERSTROM DERMATOLOGY
633 N ST CLAIR ST STE FL 2320          446 EAST HIGH STREET                    4909 N GLEN PARK PLACE
CHICAGO, IL 60611                      LEXINGTON, KY 40507                     PEORIA, IL 61614




SODEXO                                 SODEXO, INC / PERFORMANCE INTERIORS     SODINI, LEANDRIA L.
P.O. BOX 352                           P.O. BOX 360170                         ADDRESS ON FILE
A/P                                    PITTSBURGH, PA 15251-6170
BUFFALO, NY 14240




SODRE DE ALMEIDA, LUANA                SOEDER, JOHN H., III                    SOEHNIEN, CATHERINE
37392 INDIAN AVE                       ATTORNEY FOR PLAINTIFF                  11345 PORTLAND AVE SW
YERMO, CA 92398                        1 CAMPBELL PLAZA STE 1A NORTH           BEACH CITY, OH 44608
                                       ST LOUIS, MO 63139




SOEHNLIN, BRUCE                        SOFTWARE ONE INC                        SOFTWARE ONE INC
ATTN: SHERRY DUFFY                     20875 CROSSROADS CIR, STE 1             DEPT CH 10768
480 DD ROAD, UNIT 313                  WAUKESHA, WI 53186-4052                 PALATINE, IL 60055-0768
COLUMBIA, IL 62236
SOFTWARE ONE INC             Case 20-10766-BLS   DocONE
                                           SOFTWARE  6 INC.
                                                         Filed 04/07/20        Page 1648 of 1969
                                                                                    SOFTWARE ONE
DEPT CH 10768                               20875 CROSSROADS CIRCLE, SUITE 1        20875 CROSSROADS CIRCLE
PALATINE, WI 60055-0768                     WAUKESHA, WI 53186                      WAUKESHA, WI 53186-4052




SOFTWARE ONE, INC                           SOFTWAREONE, INC.                       SOGEFI
20875 CROSSROADS CIRCLE                     DEPT CH10768                            5589 CHERIOT ROAD
SUITE 1                                     PALATINE, IL 60055-0768                 CINCINNATI, OH 45247
WAUKESHA, WI 53186-4093




SOHO COMM INC                               SOKOL STEVE C                           SOKOL, CAROL J.
P O BOX 962036                              5898 N BLEEKER ST                       310 S HIGH ST
EL PASO, TX 79996                           STANSBURY PARK, UT 84074                SELINSGROVE, PA 17870-1308




SOLA, JAMES B. MD                           SOLA, JAMES B. MD                       SOLAND, CLAUDIA M.
ADDRESS ON FILE                             ADDRESS ON FILE                         ADDRESS ON FILE




SOLANO RENEE M                              SOLANO, JUAN                            SOLANO, MARIA
4112 CORNELL AVE                            2701 7TH ST TRL 20                      P O BOX 1125
PARK CITY, IL 60085                         LAS VEGAS, NM 87701-0000                HATCH, NM 87937-1125




SOLARES, EDITH                              SOLARES, JAZMIN                         SOLARES, RIGOBERTO
ADDRESS ON FILE                             ADDRESS ON FILE                         ADDRESS ON FILE




SOLARIS LABORATORY SERV, LLC                SOLARWINDS                              SOLER, ERIDANIA
10175 GATEWAY BLVD. W                       P.O. BOX 730720                         2818 BETHEL BLVD
SUITE 116                                   DALLAS, TX 75373-0720                   ZION, IL 60099
EL PASO, TX 79925




SOLEY, PATRICIA                             SOLEYMANI, KAMBIZ                       SOLHEIM, JOHN H.
4546 NOBLE LOON ST NW                       ADDRESS ON FILE                         P.O. BOX 238
MASSILLON, OH 44646-9543                                                            DEERWOOD, MN 56444




SOLIANT HEALTH, INC.                        SOLIANT PHYSICIAN STAFFING LLC          SOLICH, DONNA
LOCKBOX: DEPT CH 14430                      DEPT CH 14430                           4704 BUSHY PRAIRIE ROAD
PALATINE, IL 60055-4430                     PLANTINE, IL 60055-4430                 WATERLOO, IL 62298




SOLINGER, RICHARD                           SOLIS JAIME                             SOLIS, AUTUMN
1110 E. CLIFF DRIVE APT. 1                  ADDRESS ON FILE                         ADDRESS ON FILE
SANTA CRUZ, CA 95062
SOLIS, JAIME             Case 20-10766-BLS     Doc 6
                                       SOLIS, JAIME       Filed 04/07/20     Page 1649   of 1969
                                                                                  SOLIS, TASHA N.
1609 S TENNYSON DR.                     ADDRESS ON FILE                            86 WALL ST APT 7A
DEMING, NM 88030                                                                   SCOTTSBORO, AL 35768




SOLIZ, STEPHANIE A.                     SOLLENSKOG, ANNICA L.                      SOLLER, TRACIE
2907 HUNTERS GLEN                       ADDRESS ON FILE                            420 INDEPENDENCE CIRCLE
BIG SPRING, TX 79720                                                               ROCK SPRINGS, WY 82901




SOLLITTO, PHILIP R.                     SOLOMON, ALLISON B.                        SOLOMON, ASHLEE
ADDRESS ON FILE                         927 STATE ROUTE 1820                       17197 FREEMANSPUR RD.
                                        CUNNINGHAM, KY 42035                       HERRIN, IL 62948




SOLOMON, CATHY                          SOLOMON, CHRISTENE L.                      SOLOMON, FRANKIE J.
205 STAR LANE                           600 SUMMIT ST                              ADDRESS ON FILE
P.O. BOX 106                            EVANSTON, WY 82930-3532
GLEN CARBON, IL 62034




SOLOMON, JANE                           SOLOMON, JOSH                              SOLOMON, KATELYN
P.O. BOX 444                            720 NE 170TH ST                            P.O. BOX 1434
LOGANDALE, NV 89021-0444                NORTH MIAMI BEACH, FL 33162                LOGANDALE, NV 89021




SOLOMON, SUSAN                          SOLOMON, TAMEKA CORNELIOUS                 SOLORZANO GUERRERO, MARIA I.
10506 W RAVINE VIEW CT                  P.O. BOX 237                               921 STEINBECK DR
NORTH ROYALTON, OH 44133                ULLIN, IL 62992                            HOLLISTER, CA 95023




SOLORZANO, FRANSICO                     SOLSTAS LAB PARTNERS                       SOLSYS MEDICAL LLC
P.O. BOX 88                             P.O. BOX 751337                            11830 CANON BLVD
COLLINSVILLE, AL 35961                  CHARLOTTE, NC 28275-1337                   SUITE A
                                                                                   NEWPORT NEWS, VA 23606




SOLSYS MEDICAL LLC                      SOLSYS MEDICAL LLC                         SOLSYS MEDICAL, LLC
600 THIMBLE SHOALS DR                   600 THIMBLE SHOALS DR                      11830 CANON BLVD
STE 200                                 STE 200                                    SUITE A
NEWPORT NEWS, VA 23606                  NEWPORT NEWS, VA 23606-0000                NEWPORT NEWS, VA 23606




SOLUS ALTERNATIVE ASSET                 SOLUS ALTERNATIVE ASSET                    SOLUS ALTERNATIVE ASSET
MANAGEMENT- F.M.                        MANAGEMENT- F.M.                           MANAGEMENT- F.M.
SOLUS OPPORTUNITIES IDF SERIES          SOLUS SENIOR HIGH INCOME DEDICATED         SOLUS SENIOR HIGH INCOME FUND LP
INTERESTS OF THE SALI MULTI-SERIES      FUND LP
FUND, L.P.



SOLUTIENT TECHNOLOGIES LLC              SOLUTION DYNAMICS INC                      SOLUTION MATRIX, INC.
6616 PROMWAY AVE NW                     P.O. BOX 866                               60 COMMERCE ROAD
NORTH CANTON, OH 44720                  BROOKFIELD, WI 53008                       ROCKY MOUNT, VA 24151
SOLUTIONS MATRIX INC       Case 20-10766-BLS   Doc 6 Filed
                                         SOMA TECHNOLOGY INC 04/07/20   Page 1650  of 1969A.
                                                                             SOMA, THOMAS
60 COMMERCE RD                            166 HIGHLAND PARK DR                2109 GIDEON AVE APT 11
ROCKY MOUNT, VA 24151                     BLOOMFIELD, CT 06002                ZION, IL 60099




SOMENTAC, JEZREEL                         SOMERS, MIA                         SOMERSET CAPITAL GROUP LTD
ADDRESS ON FILE                           P.O. BOX 217                        612 WHEELERS FARM RD
                                          NEWBERRY SPRINGS, CA 92365          MILFORD, CT 06461




SOMERSET CPAS AND ADVISORS                SOMMERS, JESSICA                    SOMPO PRO
3925 RIVER CROSSING PKWY                  1460 G STREET                       1221 AVENUE OF THE AMERICAS
STE 300                                   SPRINGFIELD, OR 97477               NEW YORK, NY 10020
INDIANAPOLIS, IN 46240




SOMPOLSKI, MARK                           SOMRATY, TRICIA                     SON, YU KYUNG
1405 FLOSSMOOR AVE                        3185 WINSLOW WAY                    ADDRESS ON FILE
WAUKEGAN, IL 60085                        ARNOLD, MO 63010




SONDAG, CAROL                             SONESTA MEDICAL                     SONGER, NEAL E.
504 CREEKWOODS LANE                       2 DEBUSH AVENUE C-3                 P.O. BOX 424
WATERLOO, IL 62298                        MIDLETON, MA 01949                  MINERAL BLUFF, GA 30559




SONI, TORAL                               SONIA SCHLOSSER                     SONJA M GREEN
701 S WELLS ST APT. 2205                  ADDRESS ON FILE                     P.O. BOX 207
CHICAGO, IL 60607                                                             JOHNSON, SC 29832




SONJA SCHWEBKE                            SONN SIGNS & DECALS, INC            SONNENBURG, JENAFER
ADDRESS ON FILE                           1322 LEWIS ST                       126 CRYSTAL BAY DRIVE
                                          ST LOUIS, MO 63102                  STANSBURY PARK, UT 84074




SONNY NICHOLS                             SONO, HARRIET W.                    SONOSITE FUGI FILM
806 FT DALE RD                            ADDRESS ON FILE                     21919 30TH DR SE
GREENVILLE, AL 36037                                                          BOTHELL, WA 98021




SONOSOURCE, LLC                           SONOVA USA INC                      SONSEL, DAVID
1435 SE 73RD PLACE                        SDS 12-2392                         34010 HIGH POINT
OCALA, FL 34480                           P.O. BOX 86                         MAGNOLIA, TX 77355-0000
                                          MINNEAPOLIS, MN 55486-2392




SONTAG, VALERIE A.                        SOOMRO, ABDUL G.                    SOOMRO, ABDUL G.
ADDRESS ON FILE                           ADDRESS ON FILE                     ADDRESS ON FILE
SOOTHING SCENTS INC     Case 20-10766-BLS    Doc LYLE
                                      SOPER JOHN  6 Filed 04/07/20    Page 1651
                                                                           SOPER,of 1969
                                                                                  JANA L.
P.O. BOX 311367                       3715 CAMP LEACH ROAD                 ADDRESS ON FILE
ENTERPRISE, AL 36331-1367             WASHINGTON, NC 27889




SOPER, STEVEN                        SOPHER, AMY J.                        SOPHER, HAYLEE A.
939 65TH PLACE                       ADDRESS ON FILE                       928 DAYTON DRIVE APT 2
SPRINGFIELD, OR 97478                                                      GALESBURG, IL 61401




SOPHIA AIELLO                        SOPHIA ARWOOD                         SOPHIE, CRYSTAL
363 STILES ROAD                      ADDRESS ON FILE                       ADDRESS ON FILE
EPWORTH, GA 30541




SOPIDA BONDURANT                     SOPON, TANAKORN                       SOPON, TANAKORN
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




SORENSEN, CANDY                      SORENSEN, ERIK A.                     SORENSEN, GREGORY
118 CITATION LANE                    ADDRESS ON FILE                       ADDRESS ON FILE
EVANSTON, WY 82930




SORENSEN, LEVI B.                    SORENSEN, MARY J.                     SORENSEN, SAMANTHA J.
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




SORENSEN, SARAN E.                   SORENSEN, STEPHANIE                   SORENSEN, THOMAS E.
ADDRESS ON FILE                      ADDRESS ON FILE                       21661 KNOB PRAIRIE ROAD
                                                                           THOMPSONVILLE, IL 62890




SORENSEN,SARAN                       SORENSON INTERPRETIVE SERVICES        SORENSON LONNIE W
ADDRESS ON FILE                      4192 S.RIVERBOAT RD.                  173 MORGAN CIR
                                     SALT LAKE CITY, UT 84123              EVANSTON, WY 82930-4940




SORENSON, CONNIE B.                  SORENSON, GARY                        SORGEA, KIMBERLY A.
ADDRESS ON FILE                      ADDRESS ON FILE                       ADDRESS ON FILE




SORIA-MACHADO, SARAH                 SORIANO, NOEMI                        SORIERO, CHARLES
ADDRESS ON FILE                      282 BEDFORD LN                        231 RT LANCE RD
                                     VOLO, IL 60073                        MORGANTON, GA 30560
SORIN GROUP USA INC      Case 20-10766-BLS    Doc 6USA Filed
                                       SORIN GROUP     INC   04/07/20   Page 1652  of 1969
                                                                             SORN, KATHERINE
P.O. BOX 416863                          PO BOX 416863                        ADDRESS ON FILE
BOSTON, MA 02241-6863                    BOSTON, MA 02241-6863




SORNA CORPORATION                        SORNBERGER, AMY                      SOROPTIMIST INTERNATIONAL
2020 SILVER BELL RD 17                   243 N SHORE PL                       OF BARSTOW
EAGNA, MN 55122                          DAHINDA, IL 61428                    P.O. BOX 876
                                                                              BARSTOW, CA 92312-0876




SORRELL, KERRI                           SORRELLS, CHELSEA N.                 SOS SECURITY LLC
3150 MT PARAN CHURCH RD                  ADDRESS ON FILE                      P.O. BOX 21577
SOCIAL CIRCLE, GA 30025-3700                                                  NEW YORK, NY 10087-1577




SOSA, BRENDA                             SOSA, SELENE K.                      SOSA, STEPHANIE A.
138 ALTA VISTA STREET                    3236 DUKE AVENUE                     ADDRESS ON FILE
WATSONVILLE, CA 95076                    BIG SPRING, TX 79720




SOTELO EDGAR                             SOTELO, ANTONIO                      SOTELO, JACQUELINE
1313 BRENTWOOD DR                        817 S MCALISTER AVE                  4209 TALLGRASS CT
ROUND LAKE BEACH, IL 60073               WAUKEGAN, IL 60085                   ZION, IL 60099




SOTELO, TONYA R.                         SOTER, BRITTANY                      SOTIROPOULOS, JODY L.
ADDRESS ON FILE                          727 PEAK VIEW CIRCLE                 ADDRESS ON FILE
                                         DRAPER, UT 84020




SOTO CHRISTINA                           SOTO JOSE M                          SOTO, CRISTINA
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




SOTO, JENNIFER                           SOTO, JUANA                          SOTO, LORETTA CROOK
ADDRESS ON FILE                          5180 STEPHANIE DRIVE                 2024 GREENBRIER DR
                                         GRANITE CITY, IL 62040               COLLINSVILLE, IL 62234




SOTO, MARIA                              SOTO, MARICELA                       SOTO, SARAI
202 E PINEVIEW DR                        308 N BUTRICK ST APT 2               615 HOLDRIDGE AVE
ROUND LAKE PARK, IL 60073                WAUKEGAN, IL 60085                   WINTHROP HARBOR, IL 60096




SOTO, TONI A.                            SOTO-HERNANDEZ, JOSE MANUEL          SOTTILE & BARILE, LLC
721 MOUNT VERNON AVE                     ADDRESS ON FILE                      11351 PEARL ST., STE 300
BARSTOW, CA 92311                                                             STRONGSVILLE, OH 44136
SOTZKY, GLENN D.           Case 20-10766-BLS   Doc
                                         SOUDER,    6 Filed 04/07/20
                                                 DEENA                       Page 1653 ofHALEY
                                                                                  SOUDER, 1969M.
ADDRESS ON FILE                           100 SHORT ST                            37194 HILLS CREEK ROAD
                                          APT B2                                  SPRINGFIELD, OR 97478
                                          LOCK HAVEN, PA 17745




SOUDER, JOEDY L.                          SOULE MEDICAL                           SOUMBINSKI, ANASTASIOS
113 GLADWYN DR                            4322 PET LANE                           848 SOUTH 690 WEST
MILLSTADT, IL 62260                       LUTZ, FL 33559                          TOOELE, UT 84074




SOUND & SYSTEMS OF TEXAS INC              SOUND ERGONOMICS, LLC                   SOUND SONIC, INC
9200 MAYFLOWER AVE                        6830 NE BOTHELL WAY, SUITE C-236        8731 GLENSHIRE ST
EL PASO, TX 79925                         KENMORE, WA 98028                       TINLEY PARK, IL 60487




SOUNDCOM SYSTEMS                          SOUNDSIDE GROUP, THE                    SOURATHA, PHETHAY
227 DEPOT ST                              128 CYPRESS RD                          641 S MURIEL DR
CLEVELAND, OH 44017                       MERRY HILL, NC 27957                    BARSTOW, CA 92311-3141




SOURCE HOV HEALTHCARE                     SOURCE HOV HEALTHCARE                   SOURCE MARK, LLC
P.O. BOX 142589                           PO BOX 142589                           100 WINNERS CIRCLE, SUITE 250
DRAWER 9039                               DRAWER 9039                             BRENTWOOD, TN 37027
IRVING, TX 75014-2589                     IRVING, TX 75014-2589




SOURCE MARK, LLC                          SOURCE MARK, LLC                        SOURCE MEDICAL PRODUCTS, INC
P.O. BOX 306349                           PO BOX 306349                           1201 ROCKLAND RD
NASHVILLE, TN 37230-6349                  NASHVILLE, TN 37230                     LAKE FOREST, IL 60044




SOURCE MEDICAL                            SOURCEMARK, LLC                         SOURCEMD
P.O. BOX 11407                            P.O. BOX 306349                         826 KINGS CANYON CT
BIRMINGHAM, AL 35246-0927                 NASHVILLE, TN 37230-6349                COPPELL, TX 75019




SOURCEMED                                 SOURCEONE HEALTHCARE TECHNOLOGIES       SOURCEONE HEALTHCARE TECHNOLOGIES
ATTN: ACCTS RECEIVABLE                    INC                                     4444 VIEWRIDGE AVE STE A
P.O. BOX 11407                            8020 TYLER BLVD                         SAN DIEGO, CA 92123
BIRMINGHAM, AL 35246                      MENTOR, OH 44060




SOURCEONE HEALTHCARE TECHNOLOGIES         SOURCEONE HEALTHCARE TECHNOLOGIES       SOURCEONE HEALTHCARE TECHNOLOGIES
4909 MURPHY CANON RD, STE 120             4909 MURPHY CANON RD, STE 120           P O BOX 8004
MERRY X-RAY/SOURCEONE HC, INC             MERRY X-RAY/SOURCEONE HC, INC           MENTOR, OH 44061-8004
SAN DIEGA, CA 92123-4300                  SAN DIEGO, CA 92123-4300




SOURCEONE HEALTHCARE TECHNOLOGIES         SOURDRY, MARTIN A.                      SOUSA, AMY C.
P.O. BOX 8004                             P.O. BOX 996                            31 OCEAN MIST
MENTOR, OH 44061-8004                     VENETA, OR 97487                        LA SELVA BEACH, CA 95076-1925
SOUTH ALABAMA MEDICAL Case    20-10766-BLS
                        SCIENCE               Doc 6 DEPARTMENT
                                       SOUTH CAROLINA   Filed 04/07/20
                                                                  OF      Page 1654
                                                                               SOUTH of 1969 STATE TREASURERS
                                                                                     CAROLINA
FOUNDATION                             REVENUE                                 OFFICE
2451 USA MEDICAL CTR DR                300 A OUTLET POINTE BLVD                UNCLAIMED PROPERTY PROGRAM
MASTIN 709                             COLUMBIA, SC 29210                      1200 SENATE ST - WADE HAMPTON RM224
MOBILE, AL 36617-2293                                                          COLUMBIA, SC 29201



SOUTH CENTRAL COLFAX COUNTY            SOUTH DAKOTA STATE TREASURER - UCP      SOUTH EUGENE BASEBALL
P.O. BOX 458                           500 E CAPITOL ST - STE 212              P.O. BOX 50988
SPRINGER, NM 87747                     ATTN: UNCLAIMED PROPERTY                EUGENE, OR 97405
                                       PIERRE, SD 57501




SOUTH FLORIDA UTILIZATION REVIEW       SOUTH GEORGE                            SOUTH HOLLAND BUSINESS ASSOCIATION
2002 MACY DR                           6650 MALACHITE WAY                      P.O. BOX 334
ROSWELL, GA 30076-6346                 STANSBURY PARK, UT 84074                SOUTH HOLLAND, IL 60473




SOUTH PARK PLUMBING                    SOUTH PENNY L (ESTATE)                  SOUTH SUBURBAN COLLEGE
12451 S VINCENNES ROAD                 1 EAST MCGUIRE                          16333 S KILBOURNE AVE
BLUE ISLAND, IL 60406                  MAKANDA, IL 62958                       OAK FOREST, IL 60452




SOUTH SUBURBAN HEATING & AIR CONDIT    SOUTH WESTERN COMMUNICATIONS            SOUTH WESTERN COMMUNICATIONS
2914 BERNICE AVENUE                    4871 ROSEBUD LANE                       ATTN ACCOUNTS RECEIVABLE
LANSING, IL 60438                      NEWBURGH, IN 47630                      4871 ROSEBUD LANE
                                                                               NEWBURGH, IN 47630




SOUTH, DEBORAH JEAN                    SOUTHARD, WILMA                         SOUTHEAST CHILD SAFETY INST
108 BURNS FARM BLVD                    4248 DIVISION ST                        CHILDRENS HOSPITAL OF AL
EDWARDSVILLE, IL 62025                 GRANITE CITY, IL 62040                  1600 7TH AVENUE SOUTH
                                                                               BIRMINGHAM, AL 35233




SOUTHEAST ID                           SOUTHEAST ID                            SOUTHEAST IMAGING LLC
5830 N.W. 163RD ST                     5830 N.W. 163RD ST                      P.O. BOX 3457
MIAMI LAKES, FL 33014                  MIAMI LAKES, FL 33104                   LITTLE ROCK, AR 72203




SOUTHEAST MO HOSPITAL ASSOC.           SOUTHEAST PUBLICATIONS                  SOUTHEAST PUBLICATIONS
1701 LACE STREET                       2150 SOUTHWEST 10TH STREET              7676-B PETERS RPAD
CAPE GIRARDEAU, MO 63701-0000          SUITE A                                 PLANTATION, FL 33324
                                       DEERFIELD BEACH, FL 33442




SOUTHEAST REIMBURSEMENT GROUP,LLC      SOUTHEAST SURGICAL ASSISTING LLC        SOUTHEAST TRANS INC
5625 CEDAR ROCK DRIVE                  KRISTIN GARNER JOSEPH CSFA              4751 BEST RD 300
NASHVILLE, TN 37211                    P.O. BOX 55                             ATLANTA, GA 30337
                                       OXFORD, GA 30054




SOUTHEASTERN ILLINOIS ELECTRIC         SOUTHEASTERN BIOMEDICAL, INC            SOUTHEASTERN CARPENTERS
COOPERATIVE, INC.                      P.O. BOX 654                            P.O. BOX 1449
P.O. BOX 961                           GRANITE FALLS, NC 28630                 GOODLETTSVILLE, TN 37070
CARRIER MILLS, IL 62917-0961
SOUTHEASTERN COMMUNITY Case   20-10766-BLS
                          COLLEGE             Doc 6 IL Filed
                                       SOUTHEASTERN            04/07/20
                                                         ELECTRIC COOPE   Page 1655 of 1969ILLINOIS COLLEGE
                                                                               SOUTHEASTERN
1500 W AGENCY RD                       100 COOPERATIVE WAY                      3575 COLLEGE ROAD
WEST BURLINGTON, IA 52655              CARRIER MILLS, IL 62917                  HARRISBURG, IL 62946




SOUTHEASTERN ILLINOIS ELECTRIC          SOUTHEASTERN PATHOLOGY, P C             SOUTHEASTERN POND MANAGEMENT
COOPERATIVE, INC.                       311 W 8TH ST                            2469 HWY 31
P.O. BOX 961                            ROME, GA 30165                          CALERA, AL 65040
CARRIER MILLS, IL 62917-0961




SOUTHER, GREGORY S.                     SOUTHERLAND, CHEYANN D.                 SOUTHERN BONE & JOINT CLINIC INC
ADDRESS ON FILE                         937 WEST TENNESSEE AVE                  12277 APPLE VALLEY ROAD 288
                                        MCCAYSVILLE, GA 30555                   APPLE VALLEY, CA 92308




SOUTHERN BUS & MOBILITY                 SOUTHERN CALIFORNIAL EDISON             SOUTHERN COMFORT POOLS
12950 KOCH LANE                         P.O. BOX 600                            2325 NEW ERA RD
BREESE, IL 62230                        ROSEMEAD, CA 91771                      MURPHYSBORO, IL 62966




SOUTHERN DUPLICATING OF MS              SOUTHERN ELEVATOR CO                    SOUTHERN EVENTS PARTY RENTAL LLC
4345 HWY 61 SOUTH                       P.O. BOX 538596                         101 ALPHA DR
CLARKSDALE, MS 38614                    ATLANTA, GA 30353-8596                  FRANKLIN, TN 37064




SOUTHERN FS                             SOUTHERN FURNITURE CO.                  SOUTHERN GOSPETALITY
P.O. BOX 728                            4000 NORTH WASHINGTON                   P.O. BOX 220
2002 E. MAIN STREET                     FORREST CITY, AR 72336                  AVA, IL 62907
MARION, IL 62959




SOUTHERN IL AIDS COALITION              SOUTHERN IL FAIR ASSOCIATION            SOUTHERN IL GLASS INC
P.O. BOX 3595                           P.O. BOX 144                            P.O. BOX 1792
CARBONDALE, IL 62902                    ANNA, IL 62906                          MT VERNON, IL 62864




SOUTHERN IL HLTH CARE ASSOC             SOUTHERN IL REFUND ACCOUNT              SOUTHERN IL TILE & CARPET
531 VANDALIA ST                         1001 C. SOUTHWEST BLVD.                 513 SOUTH 10TH STREET
STE 101                                 JEFFERSON CITY, MO 65109                MT. VERNON, IL 62864
COLLINSVILLE, IL 62234




SOUTHERN ILINOISAN                      SOUTHERN ILL MEDICAL ASSOC              SOUTHERN ILLINOIS COMMUNITY
C/O LEE NEWSPAPERS                      KATHY SWAFFORD, MD                      FOUNDATION
P.O. BOX 742548                         1680 LICK CREEK RD                      3000 W. DEYOUNG ST
CINCINNATI, OH 45274-2548               ANNA, IL 62906                          STE 800-B
                                                                                MARION, IL 62959-5558



SOUTHERN ILLINOIS DERMATOLOGY PC        SOUTHERN ILLINOIS GOLF CARTS            SOUTHERN ILLINOIS HEALTHCARE
1209 EAST MAIN STREET, SUITE A          12212 CEDAR GROVE                       ATTN: PFS
WEST FRANKFORT, IL 62896                MARION, IL 62959                        1239 E MAIN ST
                                                                                CARBONDALE, IL 62901
                        Case 20-10766-BLS
SOUTHERN ILLINOIS HEALTHCARE                 Doc
                                      SOUTHERN      6 Filed
                                                 ILLINOIS     04/07/20
                                                          HELATHCARE       Page 1656 of 1969
                                                                                SOUTHERN ILLINOIS LABORERS &
P O BOX 3988                          FOUNDATION                                 EMPLOYEES
ATTN:KARLA DILLOW ACCOUNTING          2401 GOOSE LAKE RD                         5100 ED SMITH WAY
CARBONDALE, IL 62902-3988             SAUGET, IL 62206                           SUITE A
                                                                                 MARION, IL 62959



SOUTHERN ILLINOIS LOCAL                SOUTHERN ILLINOIS MEDICAL ASSO            SOUTHERN ILLINOIS MEDICAL CARE
MEDIA GROUP                            ATTN KATHY SWAFFORD MD                    ASSOCIATES, LLC
P.O. BOX 184                           1680 LICK CREEK RD                        208 SOUTH LASALLE STREET
DUQUOIN, IL 62832                      ANNA, IL 62906                            SUITE 814
                                                                                 CHICAGO, IL 60604



SOUTHERN ILLINOIS MEDICAL              SOUTHERN ILLINOIS MEDICAL                 SOUTHERN ILLINOIS MINERS
DEVELOPMENT CORPORATION                DEVELOPMENT CORPORATION                   1000 MINERS DR
                                       509 HAMACHER ST. SUITE 202                MARION, IL 62959
                                       WATERLOO, IL 62298




SOUTHERN ILLINOIS PROFESSIONAL         SOUTHERN ILLINOIS TOWER CO,INC            SOUTHERN ILLINOIS VIDEO SYSTEMS, LLC
MANAGEMENT ASSOC.                      P.O. BOX 222                              P O BOX 1096
P.O. BOX 233                           WATERLOO, IL 62298                        1000 HANSON STREET
MARION, IL 62959                                                                 MURPHYSBORO, IL 62966




SOUTHERN ILLINOIS WELLNESS             SOUTHERN ILLINOIS WHOLESALE PAINT         SOUTHERN LITHO IV LLC
EXPO JOHN A LOGAN COLLEGE              AND SUPPLY                                9010 STRADA STELL CT STE 103
700 LOGAN COLLEGE DRIVE                P.O. BOX 3526                             NAPLES, FL 34109
CARTERVILLE, IL 62918                  CARBONDALE, IL 62901




SOUTHERN NV TRANSIT COALITION          SOUTHERN ORTHOPEDICS                      SOUTHERN PRINTING N GRAPHICS LLC
SNTC                                   ASSOC. SC ATTN: GREG THOMPSON             108 E MAIN ST
797 HARDY WAY                          510 LINCOLN DR                            DRESDEN, TN 38225
MESQUITE, NV 89027                     HERRIN, IL 62948




SOUTHERN SEVEN HD                      SOUTHERN SMOKIES RADIOLOGY                SOUTHERN SPOON
37 RUSTIC CAMPUS DRIVE                 93 FAMILY CHURCH ROAD, STE C              102 BLAIRS WAY
ULLIN,, IL 62992-2226                  MURPHY, NC 28906                          LOUISA, KY 41230




SOUTHERN TERMITE AND PEST CONTROL      SOUTHERN TORCH INC                        SOUTHERN TRADITIONS LANDSCAPING LLC
P.O. BOX 2224                          P.O. BOX 614                              1529 MONROE DR
WEST HELENA, AR 72390                  RAINSVILLE, AL 35986                      MONROE, GA 30655




SOUTHERN TROPHY HOUSE                  SOUTHEY, CAMEE EUGENIA                    SOUTHSIDE LANDSCAPING CO
2705 NOLENSVILLE RD                    25861 FLECK RD                            13641 S. CHATHAM
NASHVILLE, TN 37211                    VENETA, OR 97487                          BLUE ISLAND, IL 60406




SOUTHWEST ALARM & FIRE                 SOUTHWEST CALIBRATION LABS INC            SOUTHWEST CLEANING
P O BOX 878291                         340 S EQUESTRIAN CT                       JANSEN CLEANING SERV
KANSAS CITY, MO 64187-8291             GILBERT, AZ 85296                         P.O. BOX 65593
                                                                                 LUBBOCK, TX 79464-5593
SOUTHWEST CONSULTING Case  20-10766-BLS
                     ASSOCIATES LP         Doc DETOURS
                                    SOUTHWEST     6 Filed 04/07/20    Page 1657 of 1969
                                                                           SOUTHWEST DISPOSAL LC
2805 DALLAS PKWY                    P.O. BOX 3242                          A WASTE CONNECTIONS CO
STE 620                             LAS VEGAS, NM 87701                    P O BOX 679859
PLANO, TX 75093                                                            DALLAS, TX 75267




SOUTHWEST ENVIROTEC                  SOUTHWEST EQUIPMENT RENTAL            SOUTHWEST FIRE PROTECTION
5486 DEL REY BLVD                    1211 E POPLAR ST                      20726 DEL ORO
LAS CRUCES, NM 88012                 DEMING, NM 88030                      APPLE VALLEY, CA 92308




SOUTHWEST GAS CORPORATION            SOUTHWEST GAS CORPORATION             SOUTHWEST HAZARD CONTROL
5241 SPRING MOUNTAIN RD              P.O. BOX 98890                        1953 W GRANT
LAS VEGAS, NV 89150-0002             LAS VEGAS, NV 89193-8890              TUCSON, AZ 85745




SOUTHWEST ORTHOPEDICS, S.C.          SOUTHWEST PHYSICIANS ASSOC, SC        SOUTHWEST SECURITY ALARMS
9618 SOUTHWEST HWY                   10749 CHERRYWOOD DR                   P.O. BOX 281
OAK LAWN, IL 60453                   PALOS PARK, IL 60464-3701             BALMORHEA, TX 79718




SOUTHWEST SECURITY ALARMS            SOUTHWESTERN BELL TELEPHONE           SOUTHWESTERN CARDIAC ARRHYTHMIA
P.O. BOX 630                         COMPANY                               INSTITUTE
SARAGOSA, TX 79780-0630              AT&T P.O. BOX 5001                    1190 NORTH SPRINGCREEK PLACE
                                     CAROL STREAM, IL 60197-5001           SUITE C1
                                                                           SPRINGVILLE, UT 84663



SOUTHWESTERN COLLEGE                 SOUTHWESTERN ELECTRIC COOPERATIVE,    SOUTHWESTERN ELECTRIC COOPERATIVE,
REFUNDS                              INC                                   INC
2500 CARLYLE AVE                     525 US RT 40                          525 US RT 40
BELLEVILLE, IL 62221                 GREENVILLE, IL 62246                  GREENVILLE, IL 62246-0549




SOUTHWESTERN ELECTRIC COOPERATIVE,   SOUTHWESTERN ILLINOIS BUS CO          SOUTHWICK, CARYN
INC                                  2421 OLD PLANK ROAD                   1516 ALEXANDER CT
525 US RT 40                         CHESTER, IL 62233                     WAUKEGAN, IL 60085
GREENVILLE, IL 62246-3358




SOUTHWICK, JACQUELYN F.              SOUTHWOOD, MELISSA D.                 SOUTHWORTH, ANDREA N.
1399 GOLDEN NEEDLE TRL               ADDRESS ON FILE                       ADDRESS ON FILE
MESQUITE, NV 89034




SOVEY, LYNNE                         SOWARDS, BRUCE                        SOWDER, APRIL
416 RACQUET LANDING                  4351 SOUTH HWY 201                    158 LODGEPOLE
APTOS, CA 95003                      BLAINE, KY 41124                      EVANSTON, WY 82930




SOWDER, APRIL                        SOWELL, LEAH C.                       SOWLE, IDA M.
159 LODGEPOLE DR                     1435 W 13TH AVE APT 5                 220 BOB WHITE COURT
EVANSTON, WY 82930                   EUGENE, OR 97402                      DAYTONA BEACH, FL 32119
SOWLE, RONALD         Case 20-10766-BLS   DocANGELO
                                    SOYANGCO, 6 Filed 04/07/20   Page 1658 of 1969
                                                                      SPACELABS MEDICAL INC
19 PINECONE LN                      3315 N SEMINARY STREET             P.O. BOX 404151
MURPHY, NC 28906                    GALESBURG, IL 61401                ATLANTA, GA 30384-4151




SPACHER, VALERIE                    SPACHER, VALERIE                   SPACHER, VALERIE
ADDRESS ON FILE                     505 S. STATE ST.                   ADDRESS ON FILE
                                    FREEBURG, IL 62243




SPAGNOLI, ALLISON                   SPAID, JEANNETTE A.                SPAID, WILLIAM
4754 W 101ST ST                     1315 MCAREE RD                     3325 CHARLESTON RD
APT 5B                              WAUKEGAN, IL 60085                 WAUKEGAN, IL 60087
OAK LAWN, IL 60453




SPAIN, TRISHA A.                    SPAKE, KRISTAN A.                  SPAKES, MICHELLE
ADDRESS ON FILE                     2636 ALEXIS WAY                    11952 HIGHWAY 121 S
                                    MONROE, GA 30656                   LEXA, AR 72355




SPALDING, JIM                       SPALLA, LAURA J.                   SPANISH PEAKS REGIONAL MEDICAL
ADDRESS ON FILE                     11936 GREENWOOD                    CENTER
                                    BLUE ISLAND, IL 60406              23500 U.S. HIGHWAY 160
                                                                       WALSENBURG, CO 81089-9525




SPANN, KIMMY                        SPANTAK, JOHN                      SPARKLETTS AND SIERRA SPRINGS
174 PLANTATION DR                   4257 IVY LN                        DS WATERS OF AMERICA, INC
LEXINGTON, TN 38351                 CHEBOYGAN, MI 49721                P.O. BOX 660579
                                                                       DALLAS, TX 75266-0579




SPARKMAN, TARA J.                   SPARKS OLIVIA J                    SPARKS, FREEDA J.
ADDRESS ON FILE                     14247 W 150 N                      888 LAKE DR
                                    LINTON, IN 47441                   HENAGAR, AL 35978-5301




SPARKS, JON D.                      SPARKS, MORGAN S.                  SPARKS, NICOLAS
101 PIEDMONT ROAD                   ADDRESS ON FILE                    46 BLAKEMOOR FLTS APT 7
CENTRE, AL 35960                                                       DEBORD, KY 41214




SPARKS, RHONDA R.                   SPARKS, SHARON KELLI               SPARKS, SHARON
ADDRESS ON FILE                     ADDRESS ON FILE                    ADDRESS ON FILE




SPARKS, SHERRI L.                   SPARKS, STACIE                     SPARKS, SUSAN RENAE
ADDRESS ON FILE                     308 LONGLEY LANE                   213 DILBECK ROAD E
                                    MARIANNA, AR 72360                 RAINSVILLE, AL 35986-4317
                     Case 20-10766-BLS
SPARTA COMMUNITY HOSPITAL          SPARTADoc    6 Filed
                                           COMMUNITY      04/07/20
                                                       HOSPITAL        Page 1659
                                                                            SPARTAof 1969 HOSPITAL
                                                                                   COMMUNITY
ATTN: ACCOUNTING                   MEDICAL STAFF FUND                       MEDICAL STAFF FUND
P.O. BOX 297                       818 E BROADWAY                           818 EAST BROADWAY
SPARTA, IL 62286                   SPARTA, IL 62286-0000                    SPARTA, IL 62286




SPARTA COMMUNITY HOSPITAL             SPARTAN TOOL, LLC                     SPARWASSER, SHARON
P.O. BOX 297                          25582 NETWORK PLACE                   309 S FALCON POINTE
818 EAST BROADWAY                     CHICAGO, IL 60673-1255                VALMEYER, IL 62295
SPARTA, IL 62286




SPARZA, ARIANNA E.                    SPATES, NIKIA N.                      SPATES, NIKIA N.
2248 VERNON ST                        400 SUNRISE DRIVE APT3                ADDRESS ON FILE
BLUE ISLAND, IL 60406                 BELLEVILLE, IL 62220




SPATH, MICHAEL                        SPATH, PATSY                          SPATZ, WILLIAM H.
130 MULBERRY ST                       130 MULBERRY ST                       ADDRESS ON FILE
MARIANNA, AR 72360                    MARIANNA, AR 72360




SPAULDING, AMBER                      SPAULDING, COURTNEY M.                SPAULDING, KENDRA D.
358 MOSES FORK                        ADDRESS ON FILE                       105 SWAN LANE
DINGESS, WV 25671                                                           LOUISA, KY 41230




SPAULDING, PEGGY J.                   SPAUR, CAROL                          SPAWN, JAMES L.
P.O. BOX 624                          ADDRESS ON FILE                       ADDRESS ON FILE
HARDEVILLE, SC 29927




SPEAKER, COURTNEY A.                  SPEARMAN, ARETHA M.                   SPEARS, ALEXANDER B.
451 E NORTH ST                        365 BRANCHWOOD DRIVE                  ADDRESS ON FILE
GALESBURG, IL 61401                   COVINGTON, GA 30016




SPEARS, BAILEY K.                     SPEARS, DONNA W.                      SPEARS, MADISON
ADDRESS ON FILE                       1701 SMITH GAP RD NW                  ADDRESS ON FILE
                                      FORT PAYNE, AL 35968




SPEAR-ULIBARRI, KERI M.               SPEAS, WANDA L.                       SPECIAL METALS RETIREE VEBA
ADDRESS ON FILE                       ADDRESS ON FILE                       5TH FLOOR 60 BLVD OF ALLIES
                                                                            PITTSBURGH, PA 15222




SPECIAL OLYMPICS ARKANSAS AREA VIII   SPECIAL OLYMPICS FANNIN COUNTY        SPECIALCARE HOSPITAL MANAGEMENT
P O BOX 1857                          P.O. BOX 2013                         CORPORATION
FORREST CITY, AR 72335                BLUE RIDGE, GA 30513-0000             502 EARTH CITY EXPY 311
                                                                            EARTH CITY, MO 63045
SPECIALIST IN ANESTHESIACase 20-10766-BLS    Doc IN6 MEDICAL
                                      SPECIALISTS       FiledIMAGING
                                                               04/07/20
                                                                     SC   Page 1660  of 1969
                                                                               SPECIALISTS IN MEDICAL IMAGING SC
500 SOUTH MERAMEC AVE                 P.O. BOX 3272                             P.O. BOX 3273
ST LOUIS, MO 63105                    INDIANAPOLIS, IN 46206-0000               INDIANAPOLIS, IN 46206-3272




SPECIALISTS IN MEDICAL IMAGING SC       SPECIALISTS IN MEDICAL IMAGING          SPECIALISTS ON CALL INC
PO BOX 3273                             PO BOX 3272                             1768 BUSINESS CENTER DR
INDIANAPOLIS, IN 46206-3272             INDIANAPOLIS, IN 46206-0000             SUITE 100
                                                                                RESTON, VA 20190




SPECIALISTS ON CALL, INC.               SPECIALISTS ON CALL, INC.               SPECIALTY CARE INC
1768 BUSINESS CENTER DRIVE              P.O. BOX 785667                         ONE AMERICAN CENTER
SUITE 100                               PHILADELPHIA, PA 19178-5667             3100 WEST END AVENUE SUITE 800
RESTON, VA 20190                                                                NASHVILLE, TN 37203




SPECIALTY INCENTIVES, INC.              SPECIALTY MEDICAL SYSTEMS, INC.         SPECIALTY MEDICAL SYSTEMS, INC.
5475 EAST EVANS AVE.                    1911 BROADWAY                           1911 BROADWAY
DENVER, CO 80222                        KANSAS CITY, MO 64103                   KANSAS CITY, MO 64108




SPECIALTY SURGICAL INSTRUMENT           SPECIALTY SURGICAL INSTRUMENTATION      SPECIALTY SURGICAL INSTRUMENTS
P.O. BOX 759159                         SYMMETRY SURGICAL                       SSI COLLECTIONS
BALTIMORE, MD 21275-9159                P.O. BOX 759159                         P.O. BOX 759159
                                        BALTIMORE, MD 21275-9159                BALTIMORE, MD 21275-9159




SPECIALTYCARE CARDIOVASCULAR RE         SPECIALTYCARE INC                       SPECK, BRADLEY J.
DEPT 1614                               DEPT 1614                               ADDRESS ON FILE
P.O. BOX 11407                          P.O. BOX 11407
BIRMINGHAM, AL 35246-1614               BIRMINGHAM, AL 35246-1614




SPECTRA EAST                            SPECTRA LABORATORIES, INC               SPECTRACORP TECHNOLOGIES
3850 N CAUSEWAY BLVD 300                P.O. BOX 3708                           P.O. BOX 814409
METAIRIE, LA 70002                      BOSTONAS, MA 02241-3708                 DALLAS, TX 75381-4409




SPECTRALINK CORPORATION                 SPECTRANETICS CORP                      SPECTRIO LLC DBA ON HOLD CO
P.O. BOX 740431                         DEPT CH 19038                           6840 WEST 70TH STREET
ATLANTA, GA 30374-0431                  PALATINE, IL 60055-9038                 SHREVEPORT, LA 71129




SPECTRIO LLC                            SPECTRIO LLC                            SPECTRIO LLC
311 N 3RD AVE                           4033 TAMPA RD SUITE 103                 P.O. BOX 890271
WAUSAU, WI 54401                        OLDSMAR, FL 34677                       CHARLOTTE, NC 28289-0271




SPECTRIO LLC                            SPECTRIO, LLC                           SPECTRUM BUSINESS
PO BOX 890271                           P.O. BOX 890271                         P.O. BOX 742613
CHARLOTTE, NC 28289-0271                CHARLOTTE, NC 28289-0271                CINCINNATI, OH 45274-2613
                      Case
SPECTRUM DYNAMICS MEDICAL   INC20-10766-BLS
                                        SPECTRUMDoc  6 Filed 04/07/20
                                                   ENTERTAINMENT & EVENTS   Page 1661 of 1969
                                                                                 SPECTRUM HEALTH PARTNERS LLC
301 N CATTLEMEN ROAD SUITE 109          6025 UNITY DRIVE                          341 COOL SPRINGS BLVD
SARASOTAO, FL 34232                     SUITE E                                   STE 305
                                        NORCROSS, GA 30071                        FRANKLIN, TN 37067




SPECTRUM PAINTING, LLC                  SPECTRUM TECHNOLOGIES INC                 SPECTRUM TECHNOLOGIES, INC
316 WEST 9TH AVENUE                     P.O. BOX 126                              TRANSCAT INC.
MONMOUTH, IL 61462                      1228 STATE RT 487                         P.O. BOX 62827
                                        PAXINOS, PA 17860                         BALTIMORE, MD 21264-2827




SPECTRUM, THE                           SPEECE, CAROL Y.                          SPEED, JOHNNIE
P.O. BOX 677307                         ADDRESS ON FILE                           100 SFC 608
DALLAS, TX 75267-7307                                                             HUGHES, AR 72348




SPEEDEE CASH                            SPEENER, MELINDA S.                       SPEER, TERESA
411 SOUTH STATE                         ADDRESS ON FILE                           525 BUTLER SCHOOL RD
CLARKSDALE, MS 38614                                                              BRUCETON, TN 38317




SPEIDEL ZACHARY                         SPEIDEL, ZACHARY                          SPEIGHT, REGINA
ADDRESS ON FILE                         ADDRESS ON FILE                           36 LEGACY COURT
                                                                                  GRANITE CITY, IL 62040




SPEIGHTS, ROSETTA P.                    SPEIGHTS, WYLENA                          SPEK, VICKIE
13129 W WAKEFIELD DRIVE                 3150 W GRANDVILLE AVE 108                 490 LINKS DR
BEACH PARK, IL 60083                    WAUKEGAN, IL 60085                        MESQUITE, NV 89027-8915




SPELLER, BONNIE L.                      SPELLER, CODY A.                          SPELLER, TAMIKO
ADDRESS ON FILE                         ADDRESS ON FILE                           409 CEDAR ST
                                                                                  WINDSOR, NC 27983




SPELLER, WANDA K.                       SPENCE, BRITTANI                          SPENCE, GARRY
ADDRESS ON FILE                         2751 STARK ST                             803 DALLAS STREET
                                        EUGENE, OR 97404                          BIG SPRING, TX 79720




SPENCE, IAN G.                          SPENCE, JAIME                             SPENCE, PATRICIA
924 LOPEZ LANE                          ADDRESS ON FILE                           106 CHESTNUT LANE
MONROE, GA 30655                                                                  BLAIRSVILLE, GA 30512-6381




SPENCE, PATRICIA                        SPENCE, ROSE                              SPENCE, TAMI B.
405 SUNNY COURT                         704 JOE WARD FORK RD                      ADDRESS ON FILE
FRUITLAND, FL 34731                     VANCLEVE, KY 41385
SPENCER CONKLE           Case 20-10766-BLS   Doc
                                       SPENCER    6 A Filed 04/07/20
                                               JOHN                      Page 1662 of 1969
                                                                              SPENCER, ALEXIS R.
401 SCENIC ROAD                         882 PARKVIEW RD                        1893 GARDEN WAY APT 13
FORT PAYNE, AL 35967                    GALESBURG, IL 61401                    EUGENE, OR 97401




SPENCER, ANGELICA                       SPENCER, DONNA                         SPENCER, DONNIE R.
2432 PANORAMA DR                        ADDRESS ON FILE                        1032 DAWAHARE DR
EUGENE, OR 97405                                                               HAZARD, KY 41701




SPENCER, EDITH                          SPENCER, GLAFIRA                       SPENCER, JACEY L.
863 NE HOLCOMB DRIVE                    15718 PEGGY LN 7                       208 S AND S LUMBER RD
MUNDELEIN, IL 60060                     OAK FOREST, IL 60452-3105              ROGERS, KY 41365




SPENCER, KACI                           SPENCER, KELSIE                        SPENCER, PAUL SAMUEL
ADDRESS ON FILE                         9513 MINE FORK RD P.O. BOX 284         111 THOMASON LN
                                        SALYERSVILLE, KY 41465                 EUGENE, OR 97404-0000




SPENCER, ROSALEE M.                     SPENCER, SHARENE                       SPENCER, SHEINQA S.
ADDRESS ON FILE                         5685 PARSON ROAD                       ADDRESS ON FILE
                                        WILDERSVILLE, TN 38388




SPENCER, STEPHANIE                      SPERO FAMILY SERVICES                  SPHINX TEMPLE 25
ADDRESS ON FILE                         2023 RICHVIEW ROAD                     432 BONANAZA ST
                                        MT. VERNON, IL 62864                   WEST HELENA, AR 72390




SPICER HOWARD                           SPICER, AARON                          SPICER, ASHLEY H.
10116 CRESCENT DRIVE                    1120 MANNS HILL RD                     2698 ROCKLICK RD
FLORENCE, KY 41042                      LITTLETON, NH 03561                    JACKSON, KY 41339




SPICER, IWANA                           SPICER, PATRICIA A.                    SPICER, SARAH N.
7696 HIGHWAY 15 SOUTH                   ADDRESS ON FILE                        ADDRESS ON FILE
JACKSON, KY 41339-8383




SPICER, TIFFINI C.                      SPICER-GARRISON, MELISSA A.            SPICUZZA, ALYSSA A.
15207 REMINGTON RD                      ADDRESS ON FILE                        ADDRESS ON FILE
MARION, IL 62959




SPICUZZA, ALYSSA                        SPIEGEL, MARGARET                      SPIELBERGER LAW GROUP
ADDRESS ON FILE                         2211 NELSON LN                         202 S HOOVER BLVD
                                        OSKALOOSA, IA 52577                    TAMPA, FL 33609
SPIELER, TERRI        Case 20-10766-BLS   Doc
                                    SPIELMAN,   6 Filed
                                              COURTNEY E. 04/07/20      Page 1663  of 1969
                                                                             SPIERLING, SAMANTHA K.
2255 NEW HOPE CHURCH RD             ADDRESS ON FILE                           ADDRESS ON FILE
MONROE, GA 30655




SPIES, MICHAEL                       SPIGELMIRE, ELEANOR                      SPIGNER, SHARON L.
2724 CRESTVIEW DR NW                 102 WALESKA LN                           P.O. BOX 1582
DOVER, OH 44622                      ELLIJAY, GA 80536                        RAINSVILLE, AL 35986




SPILLER HUBERT                       SPILLER, KASSANDRA                       SPILLER, TYLER
9780 W OAK FOREST DR                 1922 ILLINOIS AVE                        ADDRESS ON FILE
BEACH PARK, IL 60099                 MURPHYSBORO, IL 62966




SPILLMAN, DEREK R.                   SPILLMAN, KRISTIN                        SPILLMAN-KAZEE, CRYSTAL D.
ADDRESS ON FILE                      ADDRESS ON FILE                          ADDRESS ON FILE




SPILMAN, DEBRA                       SPIN MASTER, INC                         SPINAL ELEMENTS
482 E PEAKVIEW LN                    PMB 10053                                DEPT 3885 P.O. BOX 123885
GRANTSVILLE, UT 84029                300 INTERNATIONAL DRIVE STE 100          DALLAS, TX 75312-3885
                                     WILLIAMSVILLE, NY 14221




SPINAL ELEMENTS, INC.                SPINAL SIMPLICITY LLC                    SPINALGRAFT TECHNOLOGIES LLC
3115 MELROSE DRIVE STE 200           6600 COLLEGE BLVD.                       4642 COLLECTION CENTER DR
CARLSBAD, CA 92010                   SUITE 220                                CHICAGO, IL 60693-0046
                                     OVERLAND PARK, KS 66211




SPINALGRAFT TECHNOLOGIES             SPINDLER, JOANNE L.                      SPINE & PAIN ASSOCIATES
P.O. BOX 409201                      14956 KENTON AVENUE                      OF SOUTHERN ILLINOIS
ATLANTA, GA 30384-9201               MIDLOTHIAN, IL 60445                     2700 TURNBERRY DRIVE
                                                                              MARION, IL 62959




SPINE CRAFT, LLC                     SPINE HOSPITAL OF LOUISIANA, THE         SPINE WAVE INC
777 OAKMONT LANE                     10105 PARK ROWE CIRCLE                   TERRY BRENNAN, CHIEF FINANCIAL
WESTMONT, IL 60559                   BATON ROUGE, LA 70810                    OFFICER
                                                                              3 ENTERPRISE DR 210
                                                                              SHELTON, CT 06484



SPINE WAVE, INC                      SPINEART USA INC                         SPINELLI CHRIS
P.O. BOX 347418                      23332 MILL CREEK DRIVE STE 150           P.O. BOX 574
PITTSBURGH, PA 15251-4418            LAGUNA HILLS, CA 92653                   GOLCONDA, IL 62938




SPINELLI, STEPHEN M.                 SPINEOLOGY INC                           SPINEOLOLGY INC
379 3RD ST                           P.O. BOX 734065                          P.O. BOX 9202
WADSWORTH, OH 44281                  CHICAGO, IL 60673-4065                   MINNEAPOLIS, MN 55480
SPINK, CHRISTINA         Case 20-10766-BLS
                                       SPINKS, Doc 6 Filed
                                               ROCHELLE A. 04/07/20   Page 1664
                                                                           SPINO, of 1969
                                                                                  ANGELA
407 WINONA                              12253 S MCDANIELS ST APT G         540 WOODVIEW ROAD
BETHALTO, IL 62010                      ALSIP, IL 60803                    LAKE BARRINGTON, IL 60010




SPIRAL SOFTWARE                         SPIRES, SUE E.                     SPIRIDON MARTZAKLIS
7909 CHARLESTON CT                      67 HERON DR                        3215 FRANCIE AVE NW
BETHESDA, MD 20817                      LOUISA, KY 41230                   CANTON, OH 44718




SPIRIPLEX, INC.                         SPIROX, INC.                       SPITALE, JOSEPH
100 TRI STATE INTERNATIONAL, 100        595 PENOBSCOT DRIVE                60783 HAMMOCK ST NW
LINCOLNSHIRE, IL 60069                  REDWOOD CITY, CA 94063             CANAL FULTON, OH 44614




SPITTLE, NICHOLAS E.                    SPITTLE, NICK                      SPIVEY SR, ROBERT
9004 CANAL PL NW                        488 MEADOW LN                      346 SMITH AVE NW
MASSILLON, OH 44647                     WOOSTER, OH 44691-1519             CANTON, OH 44708




SPIVEY, HOPE                            SPIVEY, JONATHAN                   SPIVEY, VERNA
1772 BATEMAN ST                         P.O. BOX 204                       P.O. BOX 416
GALESBURG, IL 61401                     ROSICLARE, IL 62982                ROSICLARE, IL 62982




SPIVEY, ZACHORY L.                      SPIWAK, MARGARET                   SPLITTER, LAWRENCE G.
686 N 690 E                             336 W HIGHPLAINS ROAD              ADDRESS ON FILE
TOOELE, UT 84074                        ROUND LAKE, IL 60073




SPOHR, JOANN                            SPOK INC                           SPOK INC
ADDRESS ON FILE                         6850 VESAR CENTER, STE 420         P.O. BOX 204155
                                        SPRINGFIELD, VA 22151              DALLAS, TX 75320-4155




SPOK INC                                SPOK, INC                          SPORT-N-PRINT
P.O. BOX 660324                         P.O. BOX 204155                    599 CHRISTOPHER STREET
DALLAS, TX 75266-0324                   DALLAX, TX 75320-4155              STANSBURY PARK, UT 84074-0000




SPORTS MEDIA GROUP, LLC                 SPORTS PROMOTION NETWORK           SPORTSMITH LLC
1 HORTICULTURAL LN                      P.O. BOX 200548                    5925 S 118 E AVE
EDWARDSVILLE, IL 62025                  ARLINGTON, TX 76006                TULSA, OK 74146




SPOT COOLERS                            SPOTANSKI, CLAUDIA R.              SPOTTS, BETTY V.
29749 NETWORK PLACE                     7257 NORTH SLIM LANE               348 CREEK HILL RD
CHICAGO, IL 60673-1297                  ASHLEY, IL 62808                   HERNDON, PA 17830
SPOUR, LARRY F.         Case 20-10766-BLS   Doc
                                      SPRADLIN,   6 Filed
                                                CYNTHIA N. 04/07/20    Page 1665 of 1969
                                                                            SPRADLIN, CYNTHIA S.
1901 GEORGE ST                        ADDRESS ON FILE                        ADDRESS ON FILE
LAWRENCEVILLE, IL 62439




SPRADLIN, JESSICA L.                 SPRADLING, BROOKE C.                    SPRAGG, ALYSSA
ADDRESS ON FILE                      1950 2ND ST APT. K103                   1201 NORTH CHURCH ST
                                     SPRINGFIELD, OR 97477                   RUSH VALLEY, UT 84069




SPRAGG, MICHAEL R.                   SPRAGG, SUEDELL                         SPRAGUE PEST SOLUTIONS
ADDRESS ON FILE                      ADDRESS ON FILE                         P.O. BOX 2222
                                                                             TACOMA, WA 98401-2222




SPRANKLE KIMBERLY A                  SPRATLIN, CHASE                         SPRENKLE, CHARLES A.
621 BUCKINGHAM DR                    701 E CHURCH ST                         121 W 11TH AVE
TROY, IL 62294                       MONROE, GA 30655                        SHAMOKIN DAM, PA 17876




SPRIGGS, LORRIE                      SPRING CITY SECURITY, INC               SPRING DENISE
8169 KY ROUTE 172                    2410 E. 24TH ST                         1595 LICKSKILLET CR
FLATGAP, KY 41219                    BIG SPRING, TX 79720                    EPWORTH, GA 30541




SPRING VALLEY DAIRY                  SPRING VALLEY LAKE COUNTRY CLUB         SPRING, ALVIN
P.O. BOX 20970                       13229 SPRING VALLEY PKWY                167 HARTER AVE NW
KEIZER, OR 97307                     VICTORVILLE, CA 92395                   CANTON, OH 44708




SPRING, RICHARD                      SPRINGBOARD HEALTHCARE                  SPRINGBOARD INC
5020 15TH ST SW                      6910 E CHAUNCEY LANE, STE 120           6910 E CHAUNCEY LANE, STE 120
CANTON, OH 44710-1104                PHOENIX, AZ 85054                       PHOENIX, AZ 85054




SPRINGER, JASON                      SPRINGER, LINDSEY                       SPRINGER, REBECCA
33 E ROSEWOOD AVE                    290 CADES ATWOOD RD                     1965 N 170 W
AKRON, OH 44301                      MILAN, TN 38358                         TOOELE, UT 84074




SPRINGER, WILLIAM W.                 SPRINGFIELD CLINIC LLP                  SPRINGFIELD EDUCATION FOUNDATION
1023 JACKSON                         MIDWEST OCCUPATIONAL HEALTH ASSOC       P.O. BOX 663
LAS VEGAS, NM 87701                  P.O. BOX 19217                          SPRINGFIELD, OR 97477
                                     SPRINGFIELD, IL 62794-9217




SPRINGFIELD ELECTRIC SUP             SPRINGFIELD ELECTRIC SUPPLY COMPANY     SPRINGFIELD FAMILY PHYSICIANS LLP
P.O. BOX 4106                        700 NORTH 9TH STREET                    BECKY PURKAPLE MD
SPRINGFIELD, IL 62708                SPRINGFIELD, IL 62702                   220 MARCOLA ROAD
                                                                             SPRINGFIELD, OR 97477
                       Case LLP
SPRINGFIELD FAMILY PHYSICIANS 20-10766-BLS    Doc FAMILY
                                       SPRINGFIELD 6 Filed   04/07/20
                                                          PHYSICIANS LLP     Page 1666  of 1969
                                                                                  SPRINGFIELD FAMILY PHYSICIANS LLP
CAROLINE COULTER, DO                   MATTHEW SHAW MD                             YUMI AIKAWA DO
2280 MARCOLA ROAD                      2280 MARCOLA ROAD                           2280 MARCOLA ROAD
SPRINGFIELD, OR 97477                  SPRINGFIELD, OR 97477                       SPRINGFIELD, OR 97477




SPRINGFIELD FAMILY PHYSICIANS           SPRINGFIELD HOSPITAL                       SPRINGFIELD NEIGHBORHOOD WATCH
YUMI AIKAWA DO                          25 RIDGEWOOD ROAD                          230 4TH STREET
2280 MARCOLA ROAD                       SPRINGFIELD, VT 05156                      SPRINGFIELD, OR 97477-0000
SPRINGFIELD, OR 97477




SPRINGFIELD OREGON HOLDINGS, LLC        SPRINGFIELD PEPSI-COLA BOTTLING CO         SPRINGFIELD UTILITY BOARD
1209 ORANGE STREET                      2900 SINGER AVE                            250 A ST
WILMINGTON, DE 19801                    SPRINGFIELD, IL 62703                      P.O. BOX 300
                                                                                   SPRINGFIELD, OR 97477




SPRINGFIELD UTILITY BOARD               SPRINGFIELD, KEISHA                        SPRING-GREEN
P.O. BOX 300                            8 NORTH 16TH STREET                        P.O. BOX 503
SPRINGFIELD, OR 97477-0077              BELLEVILLE, IL 62220                       GALESBURG, IL 61401




SPRINKLE, PAMELA                        SPRINT CORP                                SPRINT
27 SUNSET                               6200 SPRINT PKWAY                          P.O. BOX 219100
MT. VERNON, IL 62864                    OVERLAND PARK, KS 66251                    KANSAS CITY, MO 64121-9100




SPRINT                                  SPRIVEY, CLIFTON E.                        SPROUSE, GRETCHEN
P.O. BOX 4181                           P.O. BOX 381                               11146 W WADSWORTH RD
CAROL STREAM, IL 60197-4181             MARYVILLE, IL 62062                        BEACH PARK, IL 60099




SPROWLS, ROBBYN K.                      SPRUEL, LINDA M.                           SPRUILL, EDDIE
16451 PITTSBURG RD                      ADDRESS ON FILE                            312 STEEPLE CHASE DR
PITTSBURG, IL 62974                                                                WASHINGTON, NC 27889




SPRUILL, JALISHA S.                     SPRUILL, TIFFANY                           SPRY, CARLEEN M.
ADDRESS ON FILE                         1931 MAIN STREET                           2331 W 121ST ST
                                        JAMESVILLE, NC 27846-0000                  BLUE ISLAND, IL 60406




SPS MEDICAL SUPPLY CORP                 SPUHLER, VICTORIA                          SPURGIN, SHERI
P.O. BOX 74007010                       3390 LINCOLN WAY NW                        ADDRESS ON FILE
CHICAGO, IL 60674-7010                  MASSILLON, OH 44647




SPURLING, HAPPY                         SPURLOCK LARRY                             SPURLOCK, AMBER
1299 CHARLES LANEY RD.                  3065 MOSCOW RD                             59TOWNSHIP ROAD 1034
MURPHY, NC 28906-0000                   DONGOLA, IL 62926                          SOUTH POINT, OH 45680
SPURLOCK, DIANA         Case 20-10766-BLS    DocPEGGY
                                      SPURLOCK,   6 Filed 04/07/20    Page 1667 of 1969
                                                                           SPURLOCK, RONALD
P.O. BOX 572                          2330 COLOGNA                         1165 HALL CHURCH RD
BEATTYVILLE, KY 41311-0572            MARSHVIELD, MO 65706-8263            MAKANDA, IL 62958




SPURLOCK, TAMYRA C.                  SPURLOCK, THOMAS                      SPURLOCK-WATSON, JESSICA
15909 AL HWY 117                     2003 CANTWELL CT                      3595 ST RT 146 EAST
HENAGAR, AL 35978                    SPRING HILL, TN 37174                 ANNA, IL 62906-0000




SPYRISON, MARY ANN T.                SQUALLS, EARL W.                      SQUIER, LAURA
523 EMERALD AVENUE                   9312 S ADA                            ADDRESS ON FILE
CHICAGO HEIGHTS, IL 60411            CHICAGO, IL 60620




SQUILLA, FIORINDO                    SQUIRE, MELANIE                       SQUIRE, SUSAN
P.O. BOX 82                          208 S FROELICH LN                     840 19TH ST
WOOLRICH, PA 17779                   ABINGDON, IL 61410                    SPRINGFIELD, OR 97477-4214




SQUIRES MELINDA SUE                  SQUIRES, MOLLY S.                     SQUIRES, SHANE
16178 E FRANKLIN ROAD                2538 MAPLE GROVE RD                   APG
EWING, IL 62836                      MORGANTON, GA 30560




SQUIRES, SHAYNE R.                   SRADER, LAWRENCE M.                   SRADER, MAYRA C.
2538 MAPLE GROVE RD                  400 S PLATINUM AVE                    ADDRESS ON FILE
MORGANTON, GA 30560                  DEMING, NM 88030




SRADER, MAYRA C.                     SRIKANTH, SANAGAVARAPU                SRINIVASAN, LAVANYA, MD PRS
400 S PLATINUM AVE                   1308 ALMADEN LN                       ADDRESS ON FILE
DEMING, NM 88030                     GURNEE, IL 60031




SROKA, ROBYN A.                      SRPHO                                 SSEEO
ADDRESS ON FILE                      ATTN LEAH HOSKINS                     P.O. BOX 855
                                     875 EIGHTH ST NE                      LOMBARD, IL 60148-0855
                                     MASSILLON, OH 44646




SSI COLLECTIONS                      SSI COLLECTIONS/SYMMETRY SURGI        SSI CONTRACTING INC
P.O. BOX 759159                      P.O. BOX 759159                       P.O. BOX 448
BALTIMORE, MD 21275-9159             BALTIMORE, MD 21275-9159              FORREST CITY, AR 72335




SSI CONTRACTING INC                  SSI GROUP INC, THE                    SSI GROUP, INC.
P.O. BOX 448                         P.O. BOX 11407                        4721 MORRISON DRIVE
FORREST CITY, AR 72336               BIRMINGHAM, AL 35246-2455             MOBILE, AL 36691
                      Case 20-10766-BLS
SSM CARDINAL GLENNON CHILDRENS             Doc
                                    SSM CARE     6 Filed COMPANY
                                              MANAGEMENT    04/07/20    Page 1668  of 1969
                                                                             SSM HEALTH CARE - CVO
MEDICAL CENTER                      ATTN: NEVENA KIRILOVA/FINANCE             1015 CORPORATE LAKE DRIVE
1465 S GRAND BLVD                   1173 CORPORATE LAKE                       SUITE 150
ST LOUIS, MO 63104                  ST LOUIS, MO 63132-1716                   ST. LOUIS, MO 63132




SSM HEALTH SLU HOSPITAL               SSM HEALTH ST MARYS HOPITAL             SSM HEALTH
3635 VISTA AVENUE                     ATTN PERINATAL OUTREACH                 CARDINAL GLENNON CHILDRENS
ST. LOUIS, MO 63110-2539              6420 CLAYTON ROAD                       HOSP 1195 CORPORATE LAKE DR
                                      ST. LOUIS, MO 63117                     ST LOUIS, MO 63132-0000




SST LLC                               SST PACKAGE EXPRESS                     ST AIMIE, ISABELLA
8220 PETERSBURG ST STE 2              P.O. BOX 3257                           2009 ARDEN CREST DR.
ANCHORAGE, AK 99507                   WILSONVILLE, OR 97070-3315              BETHLEHEM, GA 30620




ST ALICE CATHOLIC CHURCH              ST ANTHONYS MEMORIAL HOSP               ST BENEDIT CHURCH
1520 F STREET                         503 N MAPLE ST                          2339 WEST YORK ST
SPRINGFIELD, OR 97477                 EFFINGHAM, IL 62401-0000                BLUE ISLAND, IL 60406




ST CLAIR WINERY & TASTING ROOM LLC    ST CLAIR, AMY B.                        ST CLAIR, AMY
1325 DE BACA RD SE                    ADDRESS ON FILE                         ADDRESS ON FILE
DEMING, NM 88030




ST CLEMENT COMM FOUNDATION            ST COLUMBIA CELIA                       ST COLUMBIA, JOE, SR.
P.O. BOX 54                           ADDRESS ON FILE                         112 BERNICE ST
RED BUD, IL 62278                                                             HELENA, AR 72342




ST DAVIDS HEALTHCARE PARTNERSHIP      ST ELIZABETH HOSP MEDICAL               ST FRANCIS COUNTY COLLECTOR
98 SAN JACINTO BLVD                   STAFF SERVICES                          P.O. BOX 1817
SUITE 1800                            1 ST. ELIZABETH HOSPITAL                FORREST CITY, AR 72336
AUSTIN, TX 78701                      OFALLON, IL 62269




ST FRANCIS COUNTY FAIR                ST FRANCIS COUNTY TAX COLLECTOR         ST FRANCIS COUNTY TAX COLLECTOR
1192 SFC 762                          P.O. BOX 1817                           P.O. BOX 1817
FORREST CITY, AR 72335                FORREST CITY, AR 72335                  FORREST CITY, AR 72336-1817




ST FRANCIS COUNTY VETERANS OFFICE     ST FRANCIS MEDICAL CENTER               ST GEORGE, TIFFANY L.
313 SOUTH IZARD SUITE 1               7074 SOLUTION CENTER                    100 ELLER MOUNTAIN RD
FORREST CITY, AR 72335                CHICAGO, IL 60677-7000                  BLAIRSVILLE, GA 30512




ST GERMAIN-HOERNLEIN, STACEY R.       ST GERMAIN-HOERNLEIN, STACEY R.         ST HEALTH PLANNING/DEVELOPMENT
ADDRESS ON FILE                       ADDRESS ON FILE                         P.O. BOX 303025
                                                                              MONTGOMERY, AL 36130-3025
ST JAMES, PHO           Case 20-10766-BLS
                                      ST JOHNDoc   6 Filed 04/07/20
                                              ASSOCIATES              Page 1669  ofTHE
                                                                           ST JOHN  1969
                                                                                       BAPTIST SCHOOL
30 E 15TH SUITE 402                   P O BOX 1203                          519 HAZEL STREET
CHICAGO HEIGHTS, IL 60411             BLOOMINGTON, IN 47402-1203            RED BUD, IL 62278




ST JOHN, JASON                       ST JOHN, RICKY L.                      ST JOHNS HOSPITAL
P.O. BOX 1301                        2912 S BROAD STREET APT.C4             TRAINING CTR/NURSING SERV
LOGANDALE, NV 89021                  SCOTTSBORO, AL 35769                   800 EAST CARPENTER
                                                                            SPRINGFIELD, IL 62769




ST JOHNS LUTHERAN SCHOOL             ST JUDE MEDICAL NEUROMODULATIO         ST JUDE MEDICAL NEUROMODULATIO
ATTN: DINNER AUCTION                 22400 NETWORK PL                       22400 NETWORK PLACE
808 S MAIN ST                        CHICAGO, IL 60673-1224                 CHICAGO, IL 60673-1224
RED BUD, IL 62278




ST JUDE MEDICAL SC INC/ATRIAL DI     ST JUDE MEDICAL SC INC/DAIG            ST JUDE MEDICAL SC INC/DAIG
ONE LILLEHEI PLAZA                   22400 NETWORK PLACE                    22400 NETWORK PLACE
ST PAUL, MN 55117                    CHICAGO, IL 60673                      CHICAGO, IL 60673-1224




ST JUDE MEDICAL SC INC/HEART V       ST JUDE MEDICAL SC INC/HEART           ST JUDE MEDICAL SC INC/HEART
22400 NETWORK PLACE                  22400 NETWORK PL                       22400 NETWORK PLACE
CHICAGO, IL 60673-1224               CHICAGO, IL 60673-1224                 CHICAGO, IL 60673-1224




ST JUDE MEDICAL                      ST LOUIS BOILER SUPPLY CO              ST LOUIS BUSINESS JOURNAL
22400 NETWORK PLACE                  617 HANLEY INDUSTRIAL CT               SUBSCRIPTIONS
CHICAGO, IL 60673-1224               ST LOUIS, MO 63144                     P.O. BOX 36919
                                                                            CHARLOTTE, NC 28236-9904




ST LOUIS CARDINALS LLC               ST LOUIS CARDIOVASCULAR INSTIT         ST LOUIS CHILDRENS HOSPITAL
ATTN: SEASON TICKETS                 325 W LINCOLN                          AFTER HOURS SERVICE MS 90 67 801
700 CLARK ST                         BELLEVILLE, IL 62220                   ONE CHILDRENS PLACE
ST LOUIS, MO 63102                                                          ST LOUIS, MO 63110-1077




ST LOUIS POST DISPATCH               ST LOUIS UNIVERISTY                    ST LOUIS UNIVERSITY
P.O. BOX 790168                      CME OFFICE                             CME OFFICE
ST LOUIS, MO 63179-0168              3839 LINDELL BLVD                      3839 LINDELL BLVD
                                     ST LOUIS, MO 63108                     ST LOUIS, MO 63108




ST LOUIS UNIVERSITY                  ST LUCE, TERESA M.                     ST LUKES DES PERES HOSPITAL
YOUNG HALL RM 106                    ADDRESS ON FILE                        ATTN: MEDICAL STAFF OFFICE
3839 LINDELL BLVD                                                           2345 DOUGHERTY FERRY RD
ST LOUIS, MO 63108                                                          ST LOUIS, MO 63122




ST MARY MEDICAL CENTER               ST OF AL DEPT OF PUBLIC HEALTH         ST PAUL UNITED
7102 SOLUTION CENTER                 CENTER FOR HEALTH STATS                CHURCH OF CHRIST
CHIGAGO, IL 60677                    P.O. BOX 5625                          200 N MAIN ST
                                     MONTGOMERY, AL 36103                   WATERLOO, IL 62298
ST PIERRE, SUSAN           Case 20-10766-BLS   Doc
                                         ST SURG, LLC 6
                                                      D/B/AFiled 04/07/20
                                                            SEATTLE              Page 1670   of 1969
                                                                                      ST VINCENT DE PAUL
1284 KEY WEST DR                            TECHNOLOGY - SURGICAL DIVISION             FOOD PANTRY
EDWARDSVILLE, IL 62025                      3915 152ND STREET, NE                      204 WEST MILL STREET
                                            MARYSVILLE, WA 98271                       WATERLOO, IL 62298




ST. AUGUSTINE CHURCH                        ST. CATHERINE, ALICE                       ST. DENNIS, PAMULA
ATTN: BLDG & GROUNDS                        325 SANTA CRUZ ROAD                        18418 THOMAS CT.
1910 WEST BELLE                             ARCADIA, CA 91007                          ADELANTO, CA 92301
BELLEVILLE, IL 62226




ST. ELIZABETHS HOSPITAL                     ST. FRANCIS CARDIOLOGY ASSOCIATES,         ST. FRANCIS COUNTY TAX COLLECTOR
P.O. BOX 26934                              LLC                                        313 S IZARD ST
SALT LAKE CITY, UT 84126                    6005 PARK AVE STE 500-B                    FORREST CITY, AR 72336
                                            MEMPHIS, TN 38119




ST. FRANCIS COUNTY TAX COLLECTOR            ST. JEAN, ZAHRAIN R.                       ST. JOHN UCC CEMETERY
ATTN: BOBBY MAY, SHERIFF & COLLECTOR        3640 POPLAR ROAD                           2550 MARYVILLE RD
P.O. BOX 1817                               FLOSSMOOR, IL 60422                        GRANITE CITY, IL 62040
FORREST CITY, AR 72336-1817




ST. JOSEPHS HOSPITAL, BREESE, OF THE        ST. JOSEPHS SPECIALTY CLINIC               ST. LAWRENCE, KATHLEEN
HOSPITAL SISTERS OF THE THIRD ORDER         C/O BALKE BROWN TRANSWESTERN               8 HICKORY LANE
OF ST. FRANCIS                              1001 HIGHLANDS PLAZA W 150                 COLUMBIA, IL 62236
ST. JOSEPHS SPECIALTY CLINICS C/O           ST. LOUIS, MO 63110
BALKE BROWN TRANSWESTERN
13075 MANCHESTER ROAD
SUITE 250
ST. LOUIS, MO 63131

ST. LOUIS HEART AND VASCULAR                ST. MARY PHARMACY                          ST. MARYS HOSPITAL
ATTN NANCY                                  3333 N. SEMINARY                           ATTN: KELLY MARHANKA-FINANCE
11155 DUNN RD, STE 304E                     GALESBURG, IL 61401                        420 N PLEASANT
ST. LOUIS, MO 63136                                                                    CENTRALIA, IL 62801




ST.COLUMBIA, CELIA                          ST.LOUIS CARRIAGE COMPANY                  ST.LOUIS DRAPE
ADDRESS ON FILE                             1000 CERRE STREET                          1902 VALLEY PARK ROAD
                                            ST.LOUIS, MO 63102                         FENTON, MO 63026




ST.LUCE, TERESA                             ST.MARYS GOOD SAM INC.                     ST.MARYS GOOD SAMARITAN PHO
ADDRESS ON FILE                             CORESOURCE ADJ DEPT                        ATTN:KAROL POTTER
                                            P.O. BOX 25946                             400 NORTH PLEASANT AVE
                                            OVERLAND PARK, IL 66225                    CENTRALIA, IL 62801




STAAB, JOANIE                               STABILE, BRYCE                             STABLE STEP LLC
P.O. BOX 397                                201 FIELD CROSSING DR                      961 SEVILLE WAY
CAMPTON, KY 41301                           UNIT 8                                     RD
                                            HIGHLAND, IL 62249                         WADSWORTH, OH 44281




STACEY HENSON                               STACEY L WOODBURY                          STACEY MAHAT
1229 46TH AVENUE                            1060 PARK ST                               136 STONEBRIDGE CROSSING
SWEET HOME, OR 97386-3229                   OXFORD, GA 30052-4411                      MARYVILLE, IL 62062
STACEY SHIRLEY            Case 20-10766-BLS
                                        STACEY,Doc  6 Filed 04/07/20
                                                AMY PA                  Page 1671 ofJOHN
                                                                             STACEY, 1969THOMAS
315 HICKORY ST                           217 PINE SHORE DRIVE APT. 42        508 N SCHOOL LN
GREENVILLE, AL 36037                     CARBONDALE, IL 62902-0000           LANCASTER, PA 17603




STACEY, MELISSA A.                       STACEY, RACHEL L.                   STACHNIW M.D., MYRON B.
ADDRESS ON FILE                          ADDRESS ON FILE                     132 VALLEY VIEW ROAD
                                                                             GALESBURG, IL 61401




STACI GOODEN                             STACIE ENDRIZZI                     STACIE ROUSE
1812 W. TYLER STREET                     ADDRESS ON FILE                     ADDRESS ON FILE
HERRIN, IL 62948




STACK, DONNA                             STACK, JONATHAN                     STACY CHANDLER
251 S WILSON HEIGHTS RD                  2700 CRESTLINE                      815 147TH ST
COLLINSVILLE, IL 62234                   BIG SPRING, TX 79720                AVON, IL 61415




STACY HOSICK                             STACY LYNN LANGLEY                  STACY ODUM
526 GILLHAM APT 1                        750 FLOATING MILL RD                P.O. BOX 772
TROY, IL 62294                           SILVER POINT, TN 38582-0000         CARRIER MILLS, IL 62917




STACY POEPPER                            STACY RUSSELL                       STACY SLAVENS
PETTY CASH CUSTODIAN                     4621 GRANDVIEW AVE NE               ADDRESS ON FILE
509 HAMACHER ST STE 103                  CANTON, OH 44705
WATERLOO, IL 62298




STACY SYSTEMS, INC                       STACY WILLIAMS                      STACY WOMACK
501 POST OAK DR                          ADDRESS ON FILE                     701 OGLESBY ST
NEWARK, TX 76071                                                             GREENVILLE, AL 36037




STACY, BRIAN                             STACY, CAROLYN                      STACY, CHRISTINE M.
3122 BUFFALO CREEK ROAD                  130 WOODLAND TRAIL                  ADDRESS ON FILE
WILLIAMSON, WV 25661                     ELKIN, NC 28621




STACY, CRYSTAL M.                        STACY, MADDISON T.                  STACY, RANDY
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




STACY, TAYLOR                            STADTMILLER, CAROL                  STAFF CARE, INC.
ADDRESS ON FILE                          1480 AINTREE DRIVE                  P.O. BOX 281923
                                         FLORISSANT, MO 63033-3117           ATLANTA, GA 30384-1923
STAFF CARE, INC.         Case 20-10766-BLS   Doc
                                       STAFFORD   6 Filed
                                                DONALD C  04/07/20   Page 1672  of 1969
                                                                          STAFFORD HARDMAN
POB 281923                              3114 WILLIAMSON PARKWAY           ADDRESS ON FILE
ATLANTA, GA 30384-1923                  APT 15 LIBERTY VILLAGE
                                        MARION, IL 62959




STAFFORD JOANNE L                       STAFFORD, ANDREA                  STAFFORD, COURTNEY
300 STONE ST                            416 W. 5TH ST.                    P.O. BOX 224
CARTERVILLE, IL 62918                   ST JACOB, IL 62281                MCLEMORESVILLE, TN 38235




STAFFORD, JANET M.                      STAFFORD, LILLIAN J.              STAFFORD, MIRANDA G.
ADDRESS ON FILE                         ADDRESS ON FILE                   200 STAFFORD LN
                                                                          GOREVILLE, IL 62939




STAFFORD, RICHARD H.                    STAFFORD, SHARON                  STAFFORD, SKYLA
65 HIGDON LANE                          970 GROOMS RD                     ADDRESS ON FILE
MCKENZIE, TN 38201                      BRUCETON, TN 38317




STAFONIA, ANDREWS                       STAFSTROM, DAVID                  STAGG JOHN
1400 MEEKS RD                           245 RUE SANS SOUCI                352 HEBER LANE
ROBERSONVILLE, NC 27871                 BETHALTO, IL 62010-2839           GRANTSVILLE, UT 84029




STAGG, DONNA S.                         STAGG, MICKELL                    STAHL RITA KAY
233 LAKEWOOD DR                         1811 E PINE CANYON RD             134 SUNRISE RD
ANTIOCH, IL 60002                       TOOELE, UT 84074                  BLUE RIDGE, GA 30513




STAHL, JAUNETTE R.                      STAHL, JAUNETTE R.                STAHL, JERAMIE
ADDRESS ON FILE                         CPR TRAINING ON WHEELS LLC        10808 88TH ST
                                        155 ADMIRAL BENBOW WAY            PLEASANT PRAIRIE, WI 53158
                                        MESQUITE, NV 89027




STAHL, JIJI J.                          STAHL, MELISSA                    STAHLHUT, ANDREW
ADDRESS ON FILE                         259 VAN DELL DR                   5518 OAK STREET
                                        ROCK SPRING, GA 30739             HIGHLAND, IL 62249




STAHLHUT, THIMOTHY                      STAIR, NINA                       STAIRS, PAULA
412 CAMELOT DR                          624 MEADOW LANE                   P.O. BOX 493
COLLINSVILLE, IL 62234                  LIBERTYVILLE, IL 60048            ANNA, IL 62906




STAISIUNAS, ALLISON M.                  STAKER, JODY                      STALEY, JILL R.
7828 BRISTOL LANE                       627 LAKERIDGE CT                  13 ST GEORGE DR
TINLEY PARK, IL 60477                   MESQUITE, NV 89027                BOURBONNAIS, IL 60914
STALEY, JUDY             Case 20-10766-BLS
                                       STALEY,Doc 6L. Filed 04/07/20
                                              ROBIN                    Page 1673
                                                                            STALEY,ofSAMANTHA
                                                                                      1969 L.
ADDRESS ON FILE                         21303 S 93RD AVE                    3143 HIGHWAY AVENUE
                                        FRANKFORT, IL 60423                 HIGHLAND, IN 46322




STALL, ADAM                             STALLARD, JAN S.                    STALLARD, KRISTA
1631 JERUSHIA ROAD                      ADDRESS ON FILE                     4112 KASEBERG LN
BOONEVILLE, KY 41314                                                        GRANITE CITY, IL 62040




STALLINGS, ANGELIA J                    STALLINGS, BONNIE                   STALLINGS, DUSTIN H.
2605 PRISCILLA DR                       6771 RIVER ROAD                     490 VERNON THOMAS RD
AUGUSTA, GA 30906-3170                  WASHINGTON, NC 27889                MCKENZIE, TN 38201




STALLINGS, GLENN                        STALLINGS, JOYCE                    STALLS, ALLIE
P.O. BOX 758                            12 LAKEDALE DRIVE                   1164 COREY DRIVE
GUNTERSVILLE, AL 35976                  SALEM, IL 62881                     WILLIAMSTON, NC 27892




STALLS, APRIL                           STALLS, JAMES E., JR.               STALLWORTH, MICHAEL D.
1164 COREY DRIVE                        1584 EDWARD ANGE RD                 910 WHITE OAK LN
WILLIAMSTON, NC 27892                   JAMESVILLE, NC 27846                UNIVERSITY PARK, IL 60484




STALLWORTH, OJHANAE                     STAMBAUGH, JUSTIN P.                STAMBAUGH, MARK
ADDRESS ON FILE                         150 DOUGLAS AVE                     5026 KY 1094
                                        MCKENZIE, TN 38201                  CAMPTON, KY 41301




STAMM, CRAIG                            STAMM, LEROY                        STAMP, DISHONA
10 JESSICA COURT                        9668 SOUTH PRAIRIE RD               ADDRESS ON FILE
RED BUD, IL 62278                       RED BUD, IL 62278




STAMP, NORMA                            STAMPER, JEANNIE                    STAMPER, KIMBERLY
620 S MAIN ST                           P.O BOX 507                         393 PETERS FORK RD
ANNA, IL 62906                          BULAN, KY 41722                     HAZARD, KY 41722




STAMPER, SHIRLEY N.                     STAN WATKEVICH                      STANCHFIELD, SHANNON
ADDRESS ON FILE                         464 RAVEN WAY                       1554 N COLAVITO WAY
                                        NAPLES, FL 34110-1165               TOOELE, UT 84074




STANCIL, DOROTHY                        STANCILL, WENDY M.                  STANDARD & POORS FINANCIAL SERVICES
2014 W MAIN ST                          ADDRESS ON FILE                     LLC
WILLIAMSTON, NC 27892                                                       S&P GLOBAL RATINGS
                                                                            2542 COLLECTION CENTER DR
                                                                            CHICAGO, IL 60693
STANDARD ELECTRIC WORKSCase 20-10766-BLS    Doc
                                     STANDARD     6 Filed 04/07/20
                                                EXTERMINATING CO     Page 1674 of 1969
                                                                          STANDARD LIFE ACC INS
22000 HWY 18                         505 13TH STREET                       P.O. BOX 1892
APPLE VALLEY, CA 92307               KEOVA, WV 25530                       GALVESTON, TX 77553




STANDARD LIFE INSURANCE              STANDARD LIFE INSURANCE               STANDARD MAINTENANCE COMPANY LLC
P.O. BOX 10546                       PO BOX 10546                          1898 VANDERHORN DR
SPRINGFIELD, MO 65808                SPRINGFIELD, MO 65808                 MEMPHIS, TN 38134




STANDARD NUCLEAR CONSULTANTS         STANDARD NUCLEAR CONSULTANTS          STANDARD NUCLEAR CONSULTANTS, INC
P.O. BOX 362                         PO BOX 362                            42W802 SMITH ROAD
MANHATTAN, IL 60442                  MANHATTAN, IL 60442                   ELBURN, IL 60119




STANDARD PLUMBING AND HEATING CO     STANDARD PLUMBING SUPPLY              STANDARD TEXTILE CO., INC.
435 WALNUT AVE SE                    P.O. BOX 708490                       P.O. BOX 630302
CANTON, OH 44702                     SANDY, UT 84070                       CINCINNATI, OH 45263-0302




STANDARD TEXTILE CO., INC.           STANDARD TEXTILE                      STANDARD, COURTNEY
P.O. BOX 772273                      DEPT 0302                             40 OLD POND PL
DETROIT, MI 48277-2273               CINCINNATI, OH 45263-0302             COVINGTON, GA 30014




STANDBY POWER SUPPORT                STANDEFER, SUMMER                     STANDLY, KRISTEN
SYSTEMS, INC                         15 NORTHWOOD DR                       902 N D STREET UNIT B
P.O. BOX 4963                        BETHALTO, IL 62010                    COEUR D"ALENE, ID 83814
ODESSA, TX 79760-4963




STANDRIDGE HEATING AIR & ELECTRIC    STANDRIDGE, JEFF                      STANDRIDGE, MACK
119 SFC 219                          599 SFC 320                           1319 SFC 219
FORREST CITY, AR 72335               FORREST CITY, AR 72335                FORREST CITY, AR 72335




STANDRIDGE, SONYA                    STANFIELD, BRENDA                     STANFILL, PAMELA
ADDRESS ON FILE                      131 MINCE CIRCLE LOT17                446 WESTWOOD DR
                                     RAINSVILLE, AL 35986                  LEXINGTON, TN 38351




STANFORD SHARON                      STANFORD, CALEB                       STANFORD, MARK
4255 CROWNWOOD AVE                   333 S MAIN ST                         97 SCOTT ST
DAYTON, OH 45415                     LEXINGTON, TN 38351                   LEXINGTON, TN 38351




STANFORD, MYSSHALAE D.               STANGER, GLORIA                       STANIAK, DOLORES A.
ADDRESS ON FILE                      312 FAIRLAWN AVE SW                   111 TREEHILL LOOP
                                     MASSILLON, OH 44646                   EUGENE, OR 97405
STANIEC, DENISE M.          Case 20-10766-BLS    DocDEBBIE
                                          STANIFORD, 6 Filed
                                                           S. 04/07/20        Page 1675  of 1969
                                                                                   STANKIEWICZ, MARIA
P.O. BOX 811                               ADDRESS ON FILE                          3829 W 66TH STREET
MONEE, IL 60449                                                                     CHICAGO, IL 60629




STANLEY ACCESS TECHNOLOGIES                STANLEY ACCESS TECHNOLOGIES, LLC         STANLEY CONVERGENT SECURITY
POST OFFICE BOX 0371595                    P.O. BOX 0371595                         SOLUTIONS INC
PITTSBURGH, PA 15251                       PITTSBURGH, PA 15251-7595                DEPT CH 10651
                                                                                    PALATINE, IL 60055




STANLEY DIANNE K                           STANLEY HEALTHCARE SOLUTIONS             STANLEY R HAAS
1190 RAINBOW AVE N                         DEPT CH 10504                            1304 DAY ST
RAINSVILLE, AL 35986-6619                  PALATINE, IL 60055-0504                  GALESBURG, IL 61401




STANLEY STEEMER                            STANLEY STEEMER                          STANLEY V HAJDUK
3823 LEE STREET                            ATTN: BRIDGETTE                          200 LINDA VISTA AVE
AYDEN, NC 28513                            6125 U.S. HWY 45 SOUTH                   LA SELVA BEACH, CA 95076-1807
                                           PADUCAH, KY 42001




STANLEY V HOLM                             STANLEY, BONNIE K.                       STANLEY, DARRELL
25116 W 105TH TER                          663 HASTINGS PLACE                       47828 US HWY 11
OLATHE, KS 66061                           LINDENHURST, IL 60046                    VALLEY HEAD, AL 35989




STANLEY, DAVID N                           STANLEY, DEBORAH                         STANLEY, DOYLE
                                           47828 US HWY 11                          523 PISGAH RD
                                           VALLEY HEAD, AL 35989                    ELLIJAY, GA 30536




STANLEY, EDWIN HERBERT                     STANLEY, GWENDOLYN                       STANLEY, KENDRA L.
458 ELM ST NW                              14413 S ATLANTIC AVE                     1156 S. CEDAR ST
FORT PAYNE, AL 35967-2332                  RIVERDALE, IL 60827                      GALESBURG, IL 61401




STANLEY, MEGAN                             STANLEY, NATASHA                         STANLEY, SHERRI D.
ADDRESS ON FILE                            3655 LYNCHBURG STREET                    ADDRESS ON FILE
                                           MEMPHIS, TN 38135




STANO, RICHARD                             STANS AUTO UPHOLSTERY                    STANS SPORTSWORLD, INC
1683 BEAUMONT AVE NW                       540 WILSON STREET                        47 E GREEN ST
MASSILLON, OH 44647                        EUGENE, OR 97402                         CHAMPAIGN, IL 61820




STANSBURY CROSSING, LLC                    STANSBURY DAYS TRIATHLON                 STANSBURY FITNESS LLC
2733 E. PARLEYS WAY, STE 300               5992 BAYSHORE DR                         ANYTIME FITNESS STANSBURY PARK
SALT LAKE CITY, UT 84109                   STANSBURY PARK, UT 84074                 500 E VILLAGE BLVD SUITE 103
                                                                                    STANSBURY, UT 84074
STANSBURY HIGH SCHOOL Case 20-10766-BLS   DocPARK
                                    STANSBURY   6 COMMUNITY
                                                    Filed 04/07/20
                                                              ASSOC   Page 1676 of 1969
                                                                           STANSBURY YOUTH BASEBALL
5300 N ABERDEEN LANE                1 COUNTRY CLUB, SUITE 4                306 SPYGLASS DR
STANSBURY PARK, UT 84074            STANSBURY PARK, UT 84074               STANSBURY PARK, UT 84074




STANSELL, SEAN N.                    STANTON, PAULA M.                     STANULIS, MILDRED O.
269 COUNTY ROAD 853                  100 N GRAPEVINE RD 6D                 2008 CHESTNUT ST
FORT PAYNE, AL 35967                 MESQUITE, NV 89027                    WAUKEGAN, IL 60087




STAPLER, JANE                        STAPLES ADVANTAGE                     STAPLES ADVANTAGE
104 GRAND VIEQW CIR                  DEPT ATL                              DEPT ATL
EVANSTON, WY 82930                   P.O. BOX 405386                       P.O. BOX 405386
                                     ATLANTA, GA 30384                     ATLANTA, GA 30384-5386




STAPLES ADVANTAGE                    STAPLES ADVANTAGE                     STAPLES ADVANTAGE
DEPT DAL                             DEPT DET                              DEPT DET
P.O. BOX 83689                       P.O. BOX 83689                        PO BOX 83689
CHICAGO, IL 60696-3689               CHICAGO, IL 60696-3689                CHICAGO, IL 60696-3689




STAPLES ADVANTAGE                    STAPLES ADVANTAGE                     STAPLES ADVANTAGE
DEPT LA                              P O BOX 83689                         P.O. BOX 105748
P.O. BOX 83689                       CHICAGO, IL 60696-3689                ATLANTA, GA 30348-5748
CHICAGO, IL 60696-3689




STAPLES ADVANTAGE                    STAPLES ADVANTAGE                     STAPLES ADVANTAGE
P.O. BOX 405386                      P.O. BOX 60409                        P.O. BOX 660409
ATLANTA, GA 30384-5386               DALLAS, TX 75266-0409                 DALLAS, TX 75266-0409




STAPLES ADVANTAGE                    STAPLES ADVANTAGE, INC.               STAPLES BUSINESS ADVANTAGE
P.O. BOX 83689                       DEPT ATL                              P.O. BOX 105748
CHICAGO, IL 60696-3689               P O BOX 105748                        ATLANTA, GA 30348-5748
                                     ATLANTA, GA 30348-5748




STAPLES BUSINESS ADVANTAGE           STAPLES BUSINESS ADVANTAGE            STAPLES CONTRACT & COMMERCIAL
P.O. BOX 660409                      STAPLES                               P.O. BOX 105748
DALLAS, TX 75266-0409                P.O. BOX 660409                       ATLANTA, GA 30348-5748
                                     DALLAS, TX 75266-0409




STAPLES CONTRACT & COMMERICIAL       STAPLES INC                           STAPLES INC.
P O BOX 660409                       STAPLES BUSINESS ADVANTAGE            RON HOWARD, NATIONAL ACCOUNT
DALLAS, TX 75266-0409                P.O. BOX 105748                       MANAGER
                                     ATLANTA, GA 30348-5748                500 STAPLES DR
                                                                           FRAMINGHAM, MA 01702



STAPLES PROMOTIONAL PRODUCTS         STAPLES PROMOTIONAL PRODUCTS          STAPLES TECH SOLUTIONS
BIN 150003                           BIN 150003                            PO BOX 95230
P O BOX 88003                        P.O. BOX 790322                       CHICAGO, IL 60694
MILWAUKEE, WI 53288-8003             ST LOUIS, MO 63179-0322
STAPLES TECHNOLOGIES   Case 20-10766-BLS   Doc
                                     STAPLES    6 FiledSOLOUTIONS
                                             TECHNOLOGY  04/07/20   Page 1677  ofTECHNOLOGY
                                                                         STAPLES  1969      SOLUTIONS
P.O. BOX 95230                        P.O. BOX 95230                      P.O. BOX 105748
CHICAGO, IL 60694                     CHICAGO, IL 60694                   ATLANTA, GA 30348-5748




STAPLES TECHNOLOGY SOLUTIONS          STAPLES TECHNOLOGY                  STAPLES, BETTY
P.O. BOX 95230                        P.O. BOX 95230                      8635 CUB RUN HWY
CHICAGO, IL 60694                     CHICAGO, IL 60694                   MUNFORDVILLE, AR 42765




STAPLETON, AILEEN                     STAPLETON, MATTHEW E.               STAPLETON, PAMELA A.
14592 PITTSBURG RD                    ADDRESS ON FILE                     18694 EWING RD
MARION, IL 62959                                                          MARION, IL 62959




STAPLETON, STEPHANIE M.               STAPLETON, TAMMY S.                 STAPLEY PHARMACY INC
ADDRESS ON FILE                       5579 KY RTE 172                     102 E CITY CENTER ST
                                      FLATGAP, KY 41219                   ST GEORGE, UT 84770-3460




STAPP, KERRY L.                       STAPP, LAUREN M.                    STAPP, PAMELA P.
34234 N ST                            ADDRESS ON FILE                     P.O. BOX 414
BARSTOW, CA 92311                                                         RUTLEDGE, GA 30663




STARBUCKS CORPORATION                 STARCHER, KENYA M.                  STAREK, CATHERINE
P.O. BOX 74008016                     ADDRESS ON FILE                     807 N METTER AVENUE
CHICAGO, IL 60674-8016                                                    COLUMBIA, IL 62236




STAREK, JOSEPH                        STARK & KNOLL CO LPA                STARK COUNTY MEDICAL SOC
5100 SAND ROCK RD                     3475 RIDGEWOOD RD                   4942 HIGBEE AVE NW
SMITHTON, IL 62285                    AKRON, OH 44333                     CANTON, OH 44718




STARK COUNTY TREASURER                STARK KENDRA D                      STARK MEDICAL SPECIALTIES
P.O. BOX 24815                        93 COUNTY ROAD 1031                 325 MARION AVE NW
CANTON, OH 44701-4815                 FORT PAYNE, AL 35968                MASSILLON, OH 44646




STARK, JAMES E.                       STARK, KRISTIN NICOLE               STARK-BREDEWEG, KAREN J.
2455 N 19TH ST                        4504 ROCKAWAY LOOP NE               ADDRESS ON FILE
SPRINGFIELD, OR 97477-0000            RIO RANCHO, NM 87124




STARKEY LABORATORIES INC              STARKEY, SHELIA K.                  STARKEY, STEPHEN P.
P.O. BOX 9457                         76 ROAD 9047                        18983 N. MILLER LAKE LN
MINNEAPOLIS, MN 55440                 HENAGAR, AL 35978                   MT. VERNON, IL 62864
STARKS, BONNE JANE         Case 20-10766-BLS
                                         STARKS,Doc 6 Filed 04/07/20
                                                 DECOTY                         Page 1678 ofLOUELLEN
                                                                                     STARKS, 1969
3677 REVELL ST                            258 E 136TH PL                             4211 FERN CLIFF AVE
EUGENE, OR 97404-0000                     CHICAGO, IL 60827                          MIDLAND, TX 79707




STARLA HAYS                               STARLA TALAVERA                            STARMARK
5800 BIBLE GROVE RD                       5606 BONNELL VISTA ST 2                    P.O. BOX 2942
LEXINGTON, TN 38351                       AUSTIN, TX 78731                           CLINTON, IA 52733




STARNES, ANTOINETTE L.                    STARNES, JOHN W.                           STARNES, LINDA KAY
ADDRESS ON FILE                           313 MAIN ST W                              2801 W 22ND ST
                                          GLENCOE, AL 35905                          GRANITE CITY, IL 62040




STARNES, LINDA                            STARODUBTSEVA, IRINA                       STARON, SYLVIA
2801 WEST 22ND ST                         2340 FOUR OAKS GRANGE ROAD                 13617 OLD POST RD
GRANITE CITY, IL 62040                    EUGENE, OR 97405                           ORLAND PARK, IL 60467




STARR INDEMNITY & LIABILITY COMPANY       STARR INDEMNITY & LIABILITY COMPANY        STARR TERRY L
8401 NORHT CENTRAL EXPRESSWAY             ATTN: FINANCIAL LINES DEPT                 36977 GOATS RD
5TH FL                                    399 PARK AVENUE, 8TH FLOOR                 SPRINGFIELD, OR 97478
DALLAS, TX 75225                          NEW YORK, NY 10022




STARR WOOD CARDIAC GROUP                  STARR, ERIC                                STARR, JAMES W.
9155 SW BARNES ROAD 240                   RT 1 BOX 528                               292 COBB BLUFF
PORTLAND, OR 97225                        WILLIAMSON, WV 25661                       MURPHY, NC 28906




STARR, KAYLA                              STARR, WILLS                               STARSURGICAL, INC
424 LONG RUN RD                           237 SHOAL CREEK CHURCH RD                  7781 LAKEVIEW DRIVE
MILL HALL, PA 17751-8711                  CLEVELAND, GA 30528-5209                   BURLINGTON, WI 53105




START TO FINISH                           STARTECHTEL.COM, INC.                      STARTINA HELLER
1231 W HIGHWAY 49                         206 N. TOWNE AVE.                          ADDRESS ON FILE
WEST HELENA, AR 72390                     POMONA, CA 91767




STASIENKO, RITA                           STASTNY, JOHN                              STASZEWSKI, ADAM E.
301 UNIT A 12TH ST                        P.O. BOX 141                               11604 S. MEADOW LANE DRIVE
HERRIN, IL 62948                          LOGANDALE, NV 89021                        MERRIONETTE PARK, IL 60803




STAT IMAGING SOLUTIONS LLC                STAT PACKS                                 STATE AND LOCAL TAX SOLUTIONS INC
P.O. BOX 590627                           204 PLAYA DELLA ROSITA                     SALT SOLUTIONS
ORLANDO, FL 32859                         SUITE 4                                    14400 METCALF AVE
                                          WASHINGTON, UT 84780                       OVERLAND PARK, KS 66223
STATE BAR OF GEORGIA     Case 20-10766-BLS    Doc 6OF REGISTRATION
                                       STATE BOARD     Filed 04/07/20      Page 1679  of 1969UNIT
                                                                                STATE CENTRAL
P.O. BOX 102054                          FOR THE HEALING ARTS                   P.O. BOX 6219
ATLANTA, GA 30368-2054                   P.O. BOX 7001                          INDIANAPOLIS, IN 46206-6219
                                         JEFFERSON CITY, MO 65102




STATE CHEMICAL SOLUTIONS                 STATE DISBURSEMENT UNIT                STATE ELECTRIC
P.O. BOX 844284                          P.O. BOX 5400                          P.O. BOX 890889
BOSTON, MA 02284-4284                    CAROL STREAM, IL 60197-5400            CHARLOTTE, NC 28289-0889




STATE FARM PIPMPC C4 T1 TEAM             STATE FARM AUTO INSURANCE              STATE FARM AUTO
P.O. BOX 106170                          P.O. BOX 2363                          P.O. BOX 106170
ATLANTA, GA 30348                        STATE FARM AUTO INS                    ATLANTA, GA 30348
                                         BLOOMINGTON, IL 61702-2363




STATE FARM CLAIMS                        STATE FARM INS.HEALTH OPERATION        STATE FARM INSURANCE COMPANIES
P.O. BOX 106170                          CENTER EAST                            P.O. BOX 588002
ATLANTA, GA 30348                        P.O. BOX 3070                          INSURANCE SUPPORT CTR-EAST
                                         NEWARK, OH 43058                       NORTH METRO, GA 30029




STATE FARM INSURANCE                     STATE FARM INSURANCE                   STATE FARM INSURANCE
4121 SOUTH WATER TOWER                   P O BOX 2308                           P.O. BOX 106169
MT VERNON, IL 62864                      BLOOMINGTON, IL 61702                  ATLANTA, GA 30348




STATE FARM INSURANCE                     STATE FARM INSURANCE                   STATE FARM MUTUAL AUTO INS
P.O. BOX 3070                            P.O. BOX 661011                        P.O. BOX 3070
NEWARK, OH 43058-3070                    DALLAS, TX 75266                       NEWARK, OH 43058




STATE FARM MUTUAL AUTO INS               STATE FARM                             STATE FARM
P.O. BOX 3070                            1 STATE FARM PLAZA                     8516 S PULASKI RD
NEWARK, OH 43058-3070                    BLOOMINGTON, IL 61710                  STATE FARM
                                                                                CHICAGO, IL 60652




STATE FARM                               STATE FARM                             STATE FARM
CLAIMS DEPT                              P.O. BOX 106145                        P.O. BOX 106170
P.O. BOX 6610                            ATLANTA, GA 30348-6145                 ATLANTA, GA 30348
DALLAS, TX 75266




STATE FARM                               STATE FARM                             STATE FARM
P.O. BOX 106170                          P.O. BOX 106171                        P.O. BOX 106171
ATLANTA, GA 30348-6171                   ATLANTA, GA 30348                      ATLANTA, GA 30348-6171




STATE FARM                               STATE FARM                             STATE FARM
P.O. BOX 10670                           P.O. BOX 160170                        P.O. BOX 3070
ATLANTA, GA 30348                        ATLANTA, GA 30348                      NEWARK, OH 43058
STATE FARM               Case 20-10766-BLS    Doc 6
                                       STATE FARM        Filed 04/07/20   Page 1680  of 1969 CO
                                                                               STATE FINANCIAL
PO BOX 10670                            PO BOX 3070                            29 E MAIN
ATLANTA, GA 30348                       NEWARK, OH 43058                       BELLEVILLE, IL 62220




STATE FIRE MARSHAL - IL                 STATE FIRE MARSHAL - IL                STATE FIRE MARSHAL - IL
CASHIER BOILERS                         CASHIER, ELEVATORS                     IL OFFICE OF THE STATE FIRE MARSHAL
P.O. BOX 3331                           P.O. BOX 3332                          P.O. BOX 3331
SPRINGFIELD, IL 62708-3331              SPRINGFIELD, IL 62708-3332             SPRINGFIELD, IL 62708-3331




STATE FIRE MARSHAL - IL                 STATE HEALTH PLANNING & DEVELOPMENT    STATE MUTUAL INS CO
P.O. BOX 3331                           AGENCY                                 P.O. BOX 10811
SPRINGFIELD, IL 62708-3331              ATTN: ALVA LAMBERT                     CLEARWATER, FL 33757
                                        P.O. BOX 303025
                                        MONTGOMERY, AL 36130-3025



STATE MUTUAL INS CO                     STATE NATIONAL BANK                    STATE OF ALABAMA ATTORNEY GENERAL
PO BOX 10811                            FOR BIG SPRINGS HOSP/SMMC              ATTN: STEVE MARSHALL
CLEARWATER, FL 33757                    P.O. BOX 1271                          501 WASHINGTON AVE
                                        BIG SPRING, TX 79721-1271              MONTGOMERY, AL 36104




STATE OF ALABAMA ATTORNEY GENERAL       STATE OF ALABAMA DEPT OF LABOR         STATE OF ALABAMA DEPT. OF REVENUE
ATTN: STEVE MARSHALL                    649 MONROE STREET                      P.O. BOX 327820
P.O. BOX 300152                         MONTGOMERY, AL 36131                   MONTGOMERY, AL 36132-7820
MONTGOMERY, AL 36130-0152




STATE OF ALASKA, UNCLAIMED PROPERTY     STATE OF ALASKA, UNCLAIMED PROPERTY    STATE OF ARIZONA
PROGRAM                                 PROGRAM                                801 E JEFFERSON ST
333 WILLOUGHBY AVE                      STATE OF ALASKA                        PHOENIX, AZ 85034
11TH FL STATE OFFICE BLDG               UNCLAIMED PROPERTY PROGRAM
JUNEAU, AK 99801-1770                   P.O. BOX 110405
                                        JUNEAU, AK 99811-0405

STATE OF ARKANSAS ATTORNEY GENERAL      STATE OF ARKANSAS DEPT OF FINANCE &    STATE OF ARKANSAS DEPT OF FINANCE &
ATTN: LESLIE RUTLEDGE                   ADMIN                                  ADMIN
323 CENTER ST, STE 200                  CORPORATION INCOME TAX                 P.O. BOX 8090
LITTLE ROCK, AR 72201-2610              P.O. BOX 919                           COLLECTION SECTION
                                        LITTLE ROCK, AR 72203-0919             LITTLE ROCK, AR 72203



STATE OF CALIFORNIA ATTORNEY GENERAL    STATE OF CALIFORNIA ATTORNEY GENERAL   STATE OF CALIFORNIA DEPT OF HEALTH
ATTN: XAVIER BECERRA                    ATTN: XAVIER BECERRA                   CARE SVCS
1300 I ST, STE 1740                     P.O. BOX 944255                        DSH UNIT MS4518-SAFETY NET FIN DIV
SACRAMENTO, CA 95814                    SACRAMENTO, CA 94244-2550              P.O. BOX 997436
                                                                               SACRAMENTO, CA 95899-7436



STATE OF CALIFORNIA FRANCHISE TAX       STATE OF CALIFORNIA LABOR AND          STATE OF CALIFORNIA
BOARD                                   WORKFORCE DEVELOPMENT AGENCY           P.O. BOX 826215 MIC:3A
P.O. BOX 942857                         800 CAPITOL MALL                       EMPLOYMENT DEVELOPMENT DEPARTMENT
SACRAMENTO, CA 94257-0501               MIC 55                                 SACAMENTO, CA 94230-6215
                                        SACRAMENTO, CA 95814



STATE OF CALIFORNIA                     STATE OF CALIFORNIA                    STATE OF CONNECTICUT TREASURER
P.O. BOX 826276                         P.O. BOX 989073                        UNCLAIMED PROPERTY DIVISION
EMPLOYMENT DEVELOPMENT DEPARTMENT       EMPLOYMENT DEVELOPMENT DEPARTMENT      P.O. BOX 150435
SACRAMENTO, CA 94230-6276               SACRAMENTO, CA 95798-9073              HARTFORD, CT 06115-0435
STATE OF CONNECTICUT Case 20-10766-BLS
                                   STATE OFDoc 6 Filed
                                            DELAWARE       04/07/20
                                                        ESCHEATOR           Page 1681  of DELAWARE
                                                                                 STATE OF 1969
P.O. BOX 2974                      OFFICE OF UNCLAIMED PROPERTY                  DIVISION OF CORPORATIONS
DEPARTMENT OF REVENUE SERVICES     820 N FRENCH ST - 8TH FLR                     P.O. BOX 5509
HARTFORD, CT 06104-2974            WILMINGTON, DE 19801-0000                     BINGHAMTON, NY 13902-5509




STATE OF GEORGIA ATTORNEY GENERAL      STATE OF GEORGIA DISABILITY               STATE OF GEORGIA
ATTN: CHRIS CARR                       DETERMINATION                             DEPARTMENT OF LABOR - EMPLOYER
40 CAPITOL SQUARE, SW                  P.O. BOX 57                               ACCOUNTS SEC
ATLANTA, GA 30334                      STONE MOUNTAIN, GA 30086                  148 ANDREW YOUNG INTL BLVD., NE
                                                                                 SUSSEX PL - RM 738
                                                                                 ATLANTA, GA 30303-1751

STATE OF IL/HEALTHCARE AND FAMILY      STATE OF ILLINOIS ATTORNEY GENERAL        STATE OF ILLINOIS COMPTROLLER
SERVICES                               ATTN: KWAME RAOUL                         325 W ADAMS ST
P.O. BOX 19491                         100 W RANDOLPH ST                         SPRINGFIELD, IL 62704
SPRINGFIELD, IL 62794                  CHICAGO, IL 60601




STATE OF ILLINOIS DEPT OF EMPLOYMENT   STATE OF ILLINOIS HEALTH PLAN             STATE OF ILLINOIS,HFS
SECURITY                               ATTN: FINANCIAL                           HFS/BUREAU OF FISCAL OPERATIONS
P.O. BOX 19299                         1831 CHESTNUT STREET                      P.O. BOX 19491
SPRINGFIELD, IL 62794-9300             ST LOUIS, MO 63103                        SPRINGFIELD, IL 62794-9491




STATE OF INDIANA                       STATE OF IOWA TREASURER                   STATE OF KENTUCKY ATTORNEY GENERAL
OFFICE OF THE INDIANA ATTORNEY         MAC N8200-071 800 WALNUT ST               ATTN: ANDY BESHEAR
GENERAL                                UNCLAIMED PROPERTY DIVISION               700 CAPITOL AVE, STE 118
UNCLAIMED PROPERTY DIVISION            DES MOINES, IA 50309                      FRANKFORT, KY 40601-3449
35 SOUTH PARK BLVD
GREENWOOD, IN 46143

STATE OF MICHIGAN                      STATE OF MICHIGAN                         STATE OF NEBRASKA
7285 PARSONS DR                        MICHIGAN DEPARTMENT OF TREASURY           NEBRASKA STATE TREASURERS OFFICE
DIMONDALE, MI 48821                    UNCLAIMED PROPERTY DIVISION               UNCLAIMED PROPERTY DIVISION
                                       P.O. BOX 30756,                           809 P STREET
                                       LANSING, MI 48909                         LINCOLN, NE 68508



STATE OF NEVADA ATTORNEY GENERAL       STATE OF NEVADA                           STATE OF NEVADA
ATTN: AARON FORD                       BUREAU/ HLTH CARE QLTY & COMP             MECHANICAL COMPLIANCE SECTION
100 N CARSON ST                        727 FAIRVIEW DR STE E                     3360 W SAHARA AVE STE 170
CARSON CITY, NV 89701                  CARSON CITY, NV 89701                     LAS VEGAS, NV 89102




STATE OF NEVADA                        STATE OF NEVADA                           STATE OF NEW MEXICO ATTORNEY
NEVADA UNCLAIMED PROPERTY              RADIATION CONTROL PROGRAM                 GENERAL
OFFICE OF THE TREASURER                675 FAIRVIEW DR, STE 218                  ATTN: HECTOR BALDERAS
555 E WASHINGTON AVENUE                CARSON CITY, NV 89701                     408 GALISTEO ST
LAS VEGAS, NV 89101-1070                                                         VILLAGRA BLDG
                                                                                 SANTA FE, NM 87501

STATE OF NEW MEXICO ATTORNEY           STATE OF NEW MEXICO DEPARTMENT OF         STATE OF NEW MEXICO DEPT OF FINANCE
GENERAL                                HEALTH                                    P.O. BOX 26110
ATTN: HECTOR BALDERAS                  DIVISION OF HEALTH IMPROVEMENT            SANTA FE, NM 87502-6110
PO DRAWER 1508                         P.O. BOX 25886
SANTA FE, NM 87504-1508                ALBUQUERQUE, NM 87125



STATE OF NEW MEXICO TAXATION &         STATE OF NEW MEXICO                       STATE OF NEW MEXICO
REVENUE DEPT                           DEPARTMENT OF HEALTH                      HEALTH FACILITY LICENSING & CERT
ATTN: CALL CENTER BUREAU               P O BOX 26110                             P O BOX 25886
P.O. BOX 8485                          SANTA FE, NM 87502                        ALBUQUERQUE, NM 87125
ALBUQUERQUE, NM 87198
STATE OF NEW MEXICO      Case 20-10766-BLS    Doc
                                       STATE OF     6 Filed 04/07/20
                                                 NM ASO                  Page 1682  of NORTH
                                                                              STATE OF 1969 CAROLINA ATTORNEY
OFFICE OF THE SECRETARY                P.O. BOX 27489                          GENERAL
325 DON GASPAR - STE 301               ALBUQUERQUE, NM 87125                   ATTN: JOSH STEIN
SANTA FE, NM 87501-0000                                                        9001 MAIL SERVICE CTR
                                                                               RALEIGH, NC 27699-9001



STATE OF NORTH CAROLINA ATTORNEY      STATE OF NORTH CAROLINA                  STATE OF NORTH CAROLINA
GENERAL                               ATTN: FINANCIAL RECOVERY                 DHHS-DISABILITY DETERMINATION SRVS
ATTN: JOSH STEIN                      P.O. BOX 30048                           2019 MAIL SERVICE CENTER
P.O. BOX 629                          DURHAM, NC 27702-3048                    RALEIGH, NC 27699
RALEIGH, NC 27602-0629



STATE OF NV-DEPT OF PUBLIC SAFETY     STATE OF OREGON ATTORNEY GENERAL         STATE OF OREGON EMPLOYMENT DIV
RCC DIVISION                          ATTN: ELLEN F. ROSENBLUM                 COLLECTIONS UNIT 21, P.O. BOX 4395
333 W NYE LN 100                      1162 COURT ST, NE                        PORTLAND, OR 97208-4395
CARSON CITY, NV 89706                 SALEM, OR 97301-4096




STATE OF TENNESSEE ATTORNEY GENERAL   STATE OF TENNESSEE                       STATE OF TENNESSEE
ATTN: HERBERT H. SLATERY, III         665 MAINSTREAM DRIVE                     DEPT OF FINANCE & ADMINISTRATION
P.O. BOX 20207                        NASHVILLE, TN 37243                      312 ROSA PARKS AVE,WRS TWR 20TH FLR
NASHVILLE, TN 37202-0207                                                       NASHVILLE, TN 37243-0294




STATE OF TEXAS ATTORNEY GENERAL       STATE OF TEXAS ATTORNEY GENERAL          STATE OF TN DIVISION OF TENNCARE
ATTN: KEN PAXTON                      ATTN: KEN PAXTON                         P.O. BOX 305133
300 W 15TH ST                         P.O. BOX 12548                           NASHVILLE, TN 37203
AUSTIN, TX 78701                      AUSTIN, TX 78711-2548




STATE OF TN, DIVISION OF TENNCARE     STATE OF UT DEPT OF COMMERCE             STATE OF UTAH ATTORNEY GENERAL
310 GREAT CIRCLE RD. FLOOR 4 EAST     DIV OF CORP & COMMERCIAL CODE            ATTN: SEAN D. REYES
ATTN: ACCOUNTING                      P.O. BOX 146705                          350 N STATE ST, STE 230
NASHVILLE, TN 37243-1700              SALT LAKE CITY, UT 84114-6705            SALT LAKE CITY, UT 84114-2320




STATE OF UTAH ATTORNEY GENERAL        STATE OF WEST VIRGINIA                   STATE OF WEST VIRGINIA
ATTN: SEAN D. REYES                   322 70TH ST SE                           P.O. BOX 2666
P.O. BOX 142320                       UNCLAIMED PROPERTY DIVISION              TAX ACCOUNT ADMIN DIVISION
SALT LAKE CITY, UT 84114-2320         CHARLESTON, WV 25304                     CHARLESTON, WV 25330-2666




STATE OF WYOMING ATTORNEY GENERAL     STATE OF WYOMING DIV OF HEALTH CARE      STATE OF WYOMING DIV OF HEALTH CARE
ATTN: BRIDGET HILL                    FINANCING                                FINANCING
KENDRICK BUILDING                     ATTN: S ROGERS WYO DEPT OF HEALTH        ATTN:S ROGERS WYO DEPT OF HEALTH
2320 CAPITOL AVE                      6101 YELLOWSTONE ROAD, SUITE 210         6101 YELLOWSTONE ROAD, SUITE 210
CHEYENNE, WY 82002                    CHEYENNE, WY 82002                       CHEYENNE, WY 82002



STATE OF WYOMING                      STATE STREET (0997, 2375, 2950)          STATE SYSTEMS INC
P.O. BOX 667                          ATTN PROXY DEPARTMENT                    P.O. BOX 372 DEPT 90
CHEYENNE, WY 82003                    1776 HERITAGE DRIVE                      MEMPHIS, TN 38101
                                      NORTH QUINCY, MA 02171




STATE TREASURER OF MISSISSIPPI        STATE VOLUNTEER MUTUAL INSURANCE CO      STATE WATER RESOURCES CONTROL
501 NORTH WEST ST - STE 1101A         MSC 30036                                BOARD
UNCLAIMED PROPERTY DIVISION           P.O. BOX 415000                          P.O. BOX 1888
JACKSON, MS 39201                     NASHVILLE, TN 37241-5000                 SACRAMENTO, CA 95812-1888
STATELER, DONALD      Case 20-10766-BLS    Doc
                                    STATELINE    6 Filed
                                               METALS      04/07/20
                                                      OF WYOMING      Page 1683 of 1969
                                                                           STATEMENT APPAREL, INC
2400 BROOKSIDE AVENUE               P.O. BOX 844                            P.O. BOX 127
WAUKEGAN, IL 60085                  EVANSTON, WY 82930                      TOPTON, PA 19562




STATEMENT APPAREL, INC.              STATEWIDE ELEVATOR INSPECTIONS         STATEWIDE PUBLISHING, LLC
P.O. BOX 127                         P.O. BOX 496913                        P.O. BOX 203
TOPTON, PA 19562                     GARLAND, TX 75049-6913                 EUREKA, IL 61530




STATEWIDE SALES                      STATLAB MEDICAL PRODUCTS INC           STATLER, TANI
5580 COUNTY RD 565                   P.O. BOX 678056                        P.O. BOX 361
HANCEVILLE, AL 35077                 DALLAS, TX 75267-8056                  MESQUITE, NV 89024-0361




STATON, CARLENE                      STATON, JOHN P.                        STATON, SARAH
5069 STATON RIDGE ROAD               11504 US HYW 258                       ADDRESS ON FILE
BELKNAP, IL 62908                    SCOTLAND NECK, NC 27874




STATTON, LAURA                       STATZ, LLOYD                           STAUB, BRADLEY
792 N HWY 138                        592 N 780 E                            10579 SILVER CREEK RD
GRANTSVILLE, UT 84029                TOOELE, UT 84074                       NEW DOUGLAS, IL 62074




STAUBLE, EVALINA RAINE               STAUDHAMMER, SARA A.                   STAULCUP, ELIZABETH
1360 S STREET                        5040 NECTAR WAY                        633 CHIMNEY HILL CR S
SPRINGFIELD, OR 97477-0000           EUGENE, OR 97405-0000                  EVANS, GA 30809-4475




STAUTHAMMER, TODD                    STAUTZ, SAMANTHA                       STAVELY, CHARLES
ADDRESS ON FILE                      36619 N BEVERLY AVE                    C/O BEVERLY THOMAS
                                     GURNEE, IL 60031                       812 EAGLES HARBOR DR
                                                                            HODGES, SC 29653-9093




STAVIN HALSEL                        STAVROFF, THERESA J.                   STAXI CORP LIMITED
4311 RAPTOR PL                       2209 WALTHAM PL SW                     P.O. BOX 71543
SNELLVILLE, GA 30039-2747            CANTON, OH 44706                       CHICAGO, IL 60694-1543




STAXI CORPORATION                    STAYER, JOHN                           STAYTON, LAPRECE
2820 NORTHUP WAY SUITE 130           1110 BELAIR DR NW                      ADDRESS ON FILE
BELLEVUE, WA 98004                   NORTH CANTON, OH 44720




STAYWELL COMPANY LLC, THE            STAYWELL COMPANY                       STEACH, MARNA
MMUSA ACQUISITION II CORP            P.O. BOX 90477                         507 WEST WOOD ST
P.O. BOX 90477                       CHICAGO, IL 60696                      AVON, IL 61415
CHICAGO, IL 60696-0477
STEADMAN, NOLAN K.         Case 20-10766-BLS   DocRECREATION
                                         STEADMANS 6 Filed 04/07/20
                                                             INC.     Page 1684 of GEOFFREY
                                                                           STEARNS 1969 L
377 UPLAND DR                            916 NORTH MAIN STREET             2888 TAYLOR ST
TOOELE, UT 84074                         TOOELE, UT 84074                  EUGENE, OR 97405




STEARNS, CHARLIE                         STEARNS, GLENN                    STEARNS, LISA A.
205 ELIZABETH ST                         CHAPTER 13 TRUSTEE                ADDRESS ON FILE
EVERGREEN, AL 36401                      P O BOX 2368
                                         MEMPHIS, TN 38101-2368




STEARNS, TERIONNA L.                     STEBBINS, BETTY A.                STEBBINS, JENNIFER A.
ADDRESS ON FILE                          ADDRESS ON FILE                   7855 HIGHWAY 137
                                                                           VALLEY HEAD, AL 35989




STEBBINS, MICKEY                         STEBBINS, TERESA M.               STECYK, DONNALAINA
340 S CENTER ST                          ADDRESS ON FILE                   1287 CO RD 600 E
GRANTSVILLE, UT 84029-0000                                                 ENFIELD, IL 62835




STEDMAN, THOMAS GIRARD                   STEED, JOHNNIE R.                 STEED, NORMAN E.
2120 LAMAR LANE                          2854 MAIN STREET POWELL           11166 ORRVILLE ST NW
EUGENE, OR 97401                         RAINSVILLE, AL 35986-4577         MASSILLON, OH 44647-9511




STEED, TRACY                             STEEDLEY, ALICE                   STEEDLEY, HENRY
367 CLIFTY HEIGHTS DRIVE                 10478 COUNTY RD 50                10478 COUNTY ROAD 50
MARION, IL 62959                         FYFFE, AL 35971                   FYFFE, AL 35971




STEEL CITY RIDE SCHOLARSHIP              STEEL, BAKKER                     STEEL, CONSTANCE
C/O LINDA AMES                           292 ANITA TERRACE 102             28980 US HWY 64
43 LEGACY DR                             ANTIOCH, IL 60002                 JAMESVILLE, NC 27846
GRANITE CITY, IL 62040




STEELE ANGELA DAWN                       STEELE DAISY V                    STEELE MEMORIAL MEDICAL CENTER
347 BROWN STREET                         P.O. BOX 82                       P.O. BOX 700
FYFFE, AL 35971-5125                     213 S SEVENTH ST                  203 SOUTH DAISY
                                         LOVEJOY, IL 62059-0082            SALMON, ID 83467-0700




STEELE, BROOKE A.                        STEELE, JACQUELINE                STEELE, KELSEY
ADDRESS ON FILE                          3124 N. MAIN ST.                  190 CHURCH AVE
                                         SOQUEL, CA 95073                  RAINSVILLE, AL 35986




STEELE, KIM L.                           STEELE, LINDSAY                   STEELE, MARIA
717 SAINT REGIS                          7930 HWY 22 A                     ADDRESS ON FILE
WEST HELENA, AR 72390                    LEXINGTON, TN 38351
STEELE, NICHOLAS       Case 20-10766-BLS
                                     STEELE,Doc   6 B.Filed 04/07/20
                                             RICHARD                   Page 1685
                                                                            STEELE,ofROBBIE
                                                                                      1969
126 SHORE DR. SOUTHWEST              101 N HELMS ST                          2040 ROWE SCHOOL RD
EDWARDSVILLE, IL 62025               LEXINGTON, TN 38351                     PURYEAR, TN 38251




STEELE, WILLIAM J.                    STEEN, AMBER J.                        STEEN, PEGGY
ADDRESS ON FILE                       5103 WASSON RD                         4263 ELY RD
                                      BIG SPRING, TX 79720                   WOOSTER, OH 44691




STEEPLETON, RANDOL                    STEFAN COLLIER NEELY                   STEFANI, CARI L.
27 STATE RTE 164                      ADDRESS ON FILE                        224 E. HALIFAX DR.
GALESBURG, IL 61401                                                          WATERLOO, IL 62298




STEFANI, KORTNEY L.                   STEFANIE KESSINGER                     STEFANIE MYERS
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




STEFANOFF TINA M                      STEFFEE, RONALD                        STEFFENS KARA MARIE
2301 BERN AVE                         447 TAMMY CR                           4 ILLINI CT
GRANITE CITY, IL 62040                CANAL FULTON, OH 44614                 LITCHFIELD, IL 62056




STEFFER, DANA D.                      STEFFY HOME FURNISHINGS, INC.          STEFL, ELIZABETH A.
15010 COSTA LEON                      P.O. BOX 924                           ADDRESS ON FILE
SAN ANTONIO, TX 78245                 MT. VERNON, IL 62864




STEFL, ELIZABETH A.                   STEGALL JUDITH F                       STEGALL, ADRIAN
2824 YALE DR                          974 FM 2608                            1045 C STREET
GRANITE CITY, IL 62040                CENTER, TX 75935                       WYNNE, AR 72396




STEGALL, KELSEY                       STEGALL, LATISHA                       STEGALL, PENNY
5 NIGHTINGALE CT                      385 INDEPENDENCE RD                    2575 HIGHWAY 70
GRANITE CITY, IL 62040                LEXINGTON, TN 38351                    CEDAR GROVE, TN 38321




STEGENS, DANA                         STEGENS, ROXANNA M.                    STEGLE KRISTEN B
609 OHIO AVE                          609 OHIO AVE                           2165 BOYD ROAD
GALESBURG, IL 61401                   GALESBURG, IL 61401                    ANNA, IL 62906




STEGLE, KATHY L.                      STEGMANN, D S                          STEHLEY, RUBY
ADDRESS ON FILE                       ESTATE OF P.O. BOX 1521                990 MEDICAL DR
                                      LUCERNE VALLEY, CA 92356               MILLERSBURG, PA 17061
STEIBEL, ABBIGAIL E.      Case 20-10766-BLS
                                        STEIBEL,Doc 6 Filed 04/07/20
                                                 CHARLES               Page 1686  ofCOLIN
                                                                            STEIBEL, 1969
ADDRESS ON FILE                          1008 WHITE OAK DRIVE               P.O. BOX 32
                                         RED BUD, IL 62278                  PRAIRIE DU ROCHER, IL 62277




STEIBEL, JOANIE                          STEIBEL, JULIA                     STEIBEL, VICKI
7108 SS ROAD                             1585 G ROAD                        ADDRESS ON FILE
WATERLOO, IL 62298                       PRAIRIE DU ROCHER, IL 62277




STEIMER, ALMA D.                         STEIN PHILLIP M                    STEIN, JERRY L.
1255 38TH AVE SPC 88                     839 MARTIN LANE                    2147 UNIV COMMONS DR SE
SANTA CRUZ, CA 95062                     GOREVILLE, IL 62939                MASSILLON, OH 44646




STEINBERG, ANDREW                        STEINBERG, BETTY L.                STEINER ANDRE
301 MEADOW DRIVE                         107 TREEHILL LP                    108 ANGEL OAK COURT
BETHALTO, IL 62010                       EUGENE, OR 97405-0000              EDWARDSVILLE, IL 62025




STEINER, BARBARA                         STEINER, DOUGLAS J.                STEINER, JANET
341 N MILLBORNE RD                       3515 BANYAN STREET NW              11860 BACK MASSILLON RD
ORRVILLE, OH 44667-9311                  MASSILLON, OH 44646                ORRVILLE, OH 44667-9759




STEINER, JENNIFER                        STEINER, MARIE                     STEINER, PAUL
2307 FAIRVIEW CIR                        3151 ROWMONT AVE SW                ADDRESS ON FILE
BELLEVILLE, IL 62226                     MASSILLON, OH 44646




STEINER, PAULA L.                        STEINER, PAULA                     STEINER, SUSAN R.
ADDRESS ON FILE                          ADDRESS ON FILE                    412 NETHERWOOD AVENUE NW
                                                                            CANTON, OH 44708




STEINFELT, JOHN R.                       STEINGRUBY, JOHN                   STEINHEIMER, AMBER
631 SHADOW RANCH LN                      3623 BRANDT RD                     ADDRESS ON FILE
ROSEBURG, OR 97470                       FULTS, IL 62244




STEINHOFER, JOYCE                        STEINKE, ANGEL M.                  STEINMETZ KENDRA N
41201 N ELIME RD                         1197 N ST                          706 MINE B RD
ANTIOCH, IL 60002                        SPRINGFIELD, OR 97477              HERRIN, IL 62948




STEINMETZ, MEGAN J.                      STEINSULTZ, AMBER                  STEINSULTZ, JARRETT
ADDRESS ON FILE                          5670 SILVER FOX DR                 ADDRESS ON FILE
                                         CARTERVILLE, IL 62918
STEINWAY, KELLY K.       Case 20-10766-BLS   Doc
                                       STEJSKAL,   6 R.
                                                 DANIEL Filed 04/07/20   Page 1687   of 1969
                                                                              STELL, ALEXIS
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




STELL, GUS                               STELLA MCCOY                         STELLA OSTER
1313 W HENDERSON                         619 JOHNSON DR                       P.O. BOX 2803
MARION, IL 62959                         WEST MEMPHIS, AR 72301               MESQUITE, NV 89024




STELLA SCOTT S                           STELLHORN, JENNIFER                  STELLHORN, JULIE
40658 N GRIDLEY DRIVE                    334 E SOUTH 6TH ST                   113 EAST OLIVE ST
ANTIOCH, IL 60002                        RED BUD, IL 62278-1749               BALDWIN, IL 62217




STEMM, CYNTHIA                           STENBERG, IRENE F.                   STENBERG, LEROY T.
1505 VALLEY FORGE                        156 DESERT ROSE WAY                  2427 HWY 52 EAST
COLLINSVILLE, IL 62234                   MESQUITE, NV 89027                   ELLIJAY, GA 30536




STENGER, TYLER J.                        STENNIS, THERISA A.                  STENSTROM PETROLEUM SERVICE GROUP
ADDRESS ON FILE                          676 HOME BLVD. APT.203               2422 CENTER STREET
                                         GALESBURG, IL 61401                  ROCKFORD, IL 61108




STEP SAVER INC                           STEPHANI FOSTER                      STEPHANIE AVALOS
1901 W 2425 S                            ADDRESS ON FILE                      4302 COOKSON RD
WOODS CROSS, UT 84087                                                         E. ST. LOUIS, IL 62201




STEPHANIE BARROW                         STEPHANIE CAPPS                      STEPHANIE DOMINGUEZ
P.O. BOX 253                             3600 S. WATERTOWER PL                ADDRESS ON FILE
DRAIN, OR 97435-0253                     MT. VERNON, IL 62864




STEPHANIE DOUGLAS                        STEPHANIE FARIS                      STEPHANIE GALE-GARDNER
15 SUSAN CT                              20 WHEAT RIDGE LN                    514 COVINGTON DR
FAIRVIEW HEIGHTS, IL 62208               MILLSTADT, IL 62260-1255             WATERLOO, IL 62298-3297




STEPHANIE GAMBETTA                       STEPHANIE GOMEZ                      STEPHANIE LANGLEY
80 LAKE WARREN DR                        1416 TULAROSA ST                     ADDRESS ON FILE
MONMOUTH, IL 61462                       DEMING, NM 88030




STEPHANIE MALINSKI                       STEPHANIE MANNING                    STEPHANIE MAYNARD
ADDRESS ON FILE                          1280 NATHAN ROBERSON RD              1170 KINGSTON RD
                                         JAMESVILLE, NC 27846                 UNIONTOWN, OH 44685-9512
STEPHANIE P CLARK      Case 20-10766-BLS   DocREHG
                                     STEPHANIE  6 Filed 04/07/20       Page 1688 of 1969
                                                                            STEPHANIE RICHARDSON
871 FRANKLIN RD NE                    70 W 5TH ST                           123 TRANQUIL LANE
MASSILLON, OH 44646                   ST JACOB, IL 62281                    MARTIN, TN 38237




STEPHANIE STILL                       STEPHANIE VAZQUEZ-TORRES              STEPHEN A PURVIS DO
P.O. BOX 555                          P.O. BOX 1297                         535 E AVENIDA DEL RIO
FORSAN, TX 79733                      MESQUITE, NV 89024                    CLEWISTON, FL 33440




STEPHEN BERNARD                       STEPHEN LITTON                        STEPHEN M BALLA
343 HEARTWOOD LANE                    P.O. BOX 9                            3629 BOSWORTH AVE NE
ROSEBURG, OR 97471                    TOMAHAWK, KY 41262                    CANTON, OH 44705




STEPHEN P MCLAUGHLIN                  STEPHEN R CARROLL JR                  STEPHEN ROHRER
100 N 11TH ST                         PERIMETER DEFENSE PEST CONTROL        21 CR 7730
HERRIN, IL 62948                      2617 LIBERTY DR                       WYNNE, AR 72396
                                      MARYVILLE, IL 62062




STEPHEN WATSON                        STEPHEN YOUNG                         STEPHENS - CEO, NORMAN FLOYD
219 MADISON ST                        679 BEECH WOOD LN                     VISTA MEDICAL CENTER
GALESBURG, IL 61401                   MESQUITE, NV 89027-0000               1324 NORTH SHERIDAN RD
                                                                            WAUKEGAN, IL 60085




STEPHENS INTERNATIONAL RECRUITING     STEPHENS RUDD, KIMBERLY E.            STEPHENS, BETH A.
INC.                                  1517 W MAIN STREET                    ADDRESS ON FILE
97 LAKESHORE PLAZA                    EVANSTON, WY 82930
LAKEVIEW, AR 72642-9122




STEPHENS, BETH                        STEPHENS, BETH                        STEPHENS, BRENDA S.
ADDRESS ON FILE                       ADDRESS ON FILE                       103 29TH ST SW
                                                                            FORT PAYNE, AL 35967-4609




STEPHENS, CATHY A.                    STEPHENS, CLINT                       STEPHENS, DANIEL A.
ADDRESS ON FILE                       7012 S HIGHWAY 3                      ADDRESS ON FILE
                                      LOUISA, KY 41230




STEPHENS, DANIELLE                    STEPHENS, DANNY S.                    STEPHENS, DAVID
229 RIMROCK DR.                       2233 LEE ST                           2807 QUAIL CREEK CT.
EVANSTON, WY 82930                    RUTLEDGE, AL 36071                    ELLICOTT CITY, MD 21042




STEPHENS, DONALD                      STEPHENS, EMILY                       STEPHENS, GAYLA MARIE
6891 COUNTY ROAD 78                   16245 LAKE VIEW LN                    1475 COUNTY ROAD 146
FORT PAYNE, AL 35967                  APPLE VALLEY, CA 92307                HIGDON, AL 35979-0063
STEPHENS, ISHMA         Case 20-10766-BLS    DocJAYCEE
                                      STEPHENS,   6 Filed
                                                        N. 04/07/20   Page 1689 of 1969
                                                                           STEPHENS, JENNIFER
264 COUNTY ROAD 885                   6316 COUNTY ROAD 127                  ADDRESS ON FILE
VALLEY HEAD, AL 35989-3304            FORT PAYNE, AL 35967




STEPHENS, JESSICA F.                 STEPHENS, JESSICA                      STEPHENS, JOHN T.
ADDRESS ON FILE                      750 CIPRES STREET                      1123 CUT CANE RD
                                     WATSONVILLE, CA 95076                  MINERAL BLUFF, GA 30559




STEPHENS, LORI R.                    STEPHENS, NORMAN F.                    STEPHENS, PHILLIP D.
ADDRESS ON FILE                      ADDRESS ON FILE                        1985 BEAR TRAP ROAD
                                                                            WILLIAMSTON, NC 27892




STEPHENS, TRACY                      STEPHENS, TYLER D.                     STEPHENS, VANESSA M.
ADDRESS ON FILE                      22576 OJAI RD                          ADDRESS ON FILE
                                     APPLE VALLEY, CA 92308




STEPHENSON, ALLEN W.                 STEPHENSON, LINSE J.                   STEPHENSON, LISA A.
416 HAMILTON ST                      ADDRESS ON FILE                        202 N 20TH STREET
GREENVILLE, AL 36037                                                        LAMESA, TX 79331




STEPHENSON, MICHAEL                  STEPHENSON, TINA                       STEPHENSON, VONDA
8751 S. BISHOP                       2328 IOWA                              2001 DUBLOON CT
CHICAGO, IL 60620                    GRANITE CITY, IL 62040                 EDWARDSVILLE, IL 62025




STEPHENSON, WILLIAM DALE             STEPHENSON, WILLIAM                    STEPNIAK, EWA
ADDRESS ON FILE                      3116 KING FARM RD.                     ADDRESS ON FILE
                                     FOUNTAIN, NC 27829




STEPP, ANGELA                        STEPP, ANGIE                           STEPP, DONALD
14 BELLVIEW                          14 BELLVIEW TERR                       P.O. BOX 1300
MARIANNA, AR 72360                   MARIANNA, AR 72360                     KERMIT, WV 25674




STEPP, GARY                          STEPP, JOANNA A.                       STEPP, KERI J.
P.O. BOX 1379                        ADDRESS ON FILE                        2764 BIBLE UNION RD
INEZ, KY 41224                                                              MARTIN, TN 38237




STEPP, MELISSA R.                    STEPP, SADIE                           STEPP, STEPHEN G.
ADDRESS ON FILE                      ADDRESS ON FILE                        ADDRESS ON FILE
STEPPIC, BARBARA         Case 20-10766-BLS   DocINC
                                       STEPSAVER  6      Filed 04/07/20   Page 1690  of 1969
                                                                               STEPULKOSKI, LINDA
101 INCARD                              1917 W 2425 S                           328 ANGELICO RIDGE
DENTON, TX 76209-3404                   WOODS CROSS, UT 84087                   MURHPY, NC 28906




STERBENZ, MEGHAN                        STERICYCLE INC                          STERICYCLE COMMUNICATION SOLUTIONS
434 W WELLINGTON AVE APT 201            P.O. BOX 6575                           INC
CHICAGO, IL 60657                       CAROL STREAM, IL 60197-6575             26604 NETWORK PL
                                                                                CHICAGO, IL 60673-1266




STERICYCLE COMSOL                       STERICYCLE COMSOL                       STERICYCLE COMSOL
26604 NETWORK PL                        26604 NETWORK PLACE                     26604 NETWORK PLACE
CHICAGO, IL 60673-1266                  CHICAGO, IL 60673                       CHICAGO, IL 60673-1266




STERICYCLE ENVIRONMENTAL SOLUTIONS,     STERICYCLE INC (HANSEN)                 STERICYCLE INC - SHREDIT
INC                                     4010 COMMERCIAL AVE                     28883 NETWORK PL
29338 NETWORK PLACE                     NORTHBROOK, IL 60082                    CHICAGO, IL 60673-1288
CHICAGO, IL 60673-0772




STERICYCLE INC                          STERICYCLE INC                          STERICYCLE INC
P O BOX 6575                            P.O. BOX 6575                           P.O. BOX 6575
CAROL STREAM, IL 60197-6575             CAROL STREAM, IL 60197                  CAROL STREAM, IL 60197-6575




STERICYCLE INC                          STERICYCLE INC                          STERICYCLE INC
P.O. BOX 6575                           P.O. BOX 6582                           P.O. BOX 6582
CAROL STREAM, IL 60197-6582             CAROL STREAM, IL 60197                  CAROL STREAM, IL 60197-6582




STERICYCLE                              STERICYCLE                              STERICYCLE
2355 WAUKEGAN RD                        27727 NETWORK PLACE                     2850 100TH COURT NE
BANNOCKBURN, IL 60015                   CHICAGO, IL 60673                       BLAINE, MN 55449




STERICYCLE                              STERICYCLE                              STERICYCLE
29338 NETWORK PLACE                     P.O. BOX 6575                           P.O. BOX 6578
CHICAGO, IL 60673-1293                  CAROL STREAM, IL 60197-6575             CAROL STREAM, IL 60197-6575




STERICYCLE, INC                         STERICYCLE, INC                         STERICYCLE, INC
P O BOX 6578                            P.O. BOX 6578                           P.O. BOX 6582
CAROL STREAM, IL 60197-6578             CAROL STREAM, IL 60197-6578             CAROL STREAM, IL 60197-6582




STERICYCLE, INC.                        STERICYCLE, INC./30                     STERICYLE SPECIALTY WASTE SOLUTIONS,
P.O. BOX 6578                           POB 6582                                INC
CAROL STREAM, IL 60197-6578             CAROL STREAM, IL 60197-6582             2355 WAUKEGAN RD
                                                                                BANNOCKBURN, IL 60015
                      Case
STERICYLE SPECIALTY WASTE    20-10766-BLS
                          SOLUTIONS,         DocINC6 Filed 04/07/20
                                      STERILMED                          Page 1691
                                                                              STERIS of 1969
                                                                                     CORP
INC.                                  62792 COLLECTIONS CENTER DR             LOCKBOX 771652
2120 SOUTHWEST BOULEVARD              CHICAGO, IL 60693-0627                  1652 SOLUTION CENTER
TULSA, OKŸ 74107                                                              CHICAGO, IL 60677




STERIS CORP                            STERIS CORP                            STERIS CORP
LOCKBOX 771652                         LOCKBOX771652                          P.O. BOX 531809
1652 SOLUTIONS CENTER                  CHICAGO, IL 60677-1006                 ATLANTA, GA 30353-1809
CHICAGO, IL 60677-1006




STERIS CORPORATION                     STERIS CORPORATION                     STERIS CORPORATION
5960 HEISLEY RD                        LOCK BOX 771652                        LOCKBOX 771652
MENTOR, OH 44060                       1652 SOLUTIONS CENTER                  1652 SOLUTIONS CENTER
                                       CHICAGO, IL 60677                      CHICAGO, IL 60677-1006




STERIS CORPORATION                     STERIS CORPORATION                     STERIS CORPORATION
P O BOX 676548                         P.O. BOX 644063                        P.O. BOX 676548
DALLAS, TX 75267-6548                  PITTSBURGH, PA 15264-4063              DALLAS, TX 75267-6548




STERIS CORPORATION,INC                 STERIS CORPORATION/BANK ONE            STERIS IMS
P.O. BOX 676548                        P.O. BOX 676548                        P.O. BOX 531809
ACCT28057                              DALLAS, TX 75267-6548                  ATLANTA, GA 30353-1809
DALLAS, TX 75267-6548




STERIS INSTRUMENT MANAGEMENT           STERIS INSTRUMENT MGMT SERVICES, INC   STERIS INSTRUMENT MGMT SERVICES, INC
SERVICES                               P.O. BOX 531809                        P.O. BOX 531809
LOCKBOX 771652                         ATLANTA, GA 30353-1809                 ATLANTAS, GA 30353-1809
1652 SOLUTION CENTER
CHICAGO, IL 60677-1006



STERIS INSTRUMENT MGMT SERVICES, INC   STERITECH GROUP                        STERLIN, SANDRA
P.O. BOX 676548                        P.O. BOX 472127                        605 SILVER LEAF DRIVE
DALLAS, TX 75267-6548                  CHARLOTTE, NC 28247                    JOLIET, IL 60431




STERLING COMMERCIAL CREDIT             STERLING COMMERCIAL CREDIT             STERLING INFOSYSTEMS INC
10559 CITATION DR                      CRAVIN A CUP / LIZBETH HOLT            STERLING TALENTWISE
SUITE 204                              10559 CITATION DR, SUITE 204           P.O. BOX 3876
BRIGHTON, MI 48116                     BRIGHTON, MI 48116                     SEATTLE, WA 98124-3876




STERLING MEDICAL/JOHN NELSON           STERLING                               STERLING, CATHIE
6786 BOWDEN RD                         P.O. BOX 102255                        211 ALBANY DR NW
HONORAVILLE, AL 36042                  PASADENA, CA 91189-2255                CANTON, OH 44708




STERN & ASSOCIATES INC                 STERN, CATHY L.                        STERN, CELIA S
3914 N US HWY 301                      ADDRESS ON FILE                        7722 HAVENBROOK WAY
STE 700                                                                       SPRINGFIELD, VA 22153
TAMPA, FL 33619
STERN, SCOTT B.          Case 20-10766-BLS   Doc
                                       STERNES     6 KEITH
                                               PH.D.,  Filed
                                                           L. 04/07/20   Page 1692 of 1969
                                                                              STERRETT, TANNER
4933 CHARLAIS LANE                       ADDRESS ON FILE                      1619 SHADY GROVE RD.
PARK CITY, UT 84098                                                           MURPHY, NC 28906




STETINA, JOYCE                           STEVE CLARK & ASSOCIATES INC         STEVE VARDELL
7642 LEBANON RD                          950 GLENN DR                         DBA DAYLIGHT DONUTS
COLLINSVILLE, IL 62234                   STE 250                              1965 MADISON AVE
                                         FOLSOM, CA 95630                     GRANITE CITY, IL 62040




STEVE WISNASKY                           STEVEN ANDY SHERLIN                  STEVEN BEADLE SURVEYING CO INC
4243 SOUTH PERADOTTI                     1416 MOHAWK TR                       312 WEST JUSTICE RD
EDWARDSVILLE, IL 62025                   MURFREESBORO, TN 37129               CABOT, AR 72023




STEVEN BROWN                             STEVEN CLARK                         STEVEN COURTNEY
ADDRESS ON FILE                          22258 183 AVE                        203 S ELM ST
                                         LAMOTTE, IA 52054                    PAGELAND, SC 29728-2020




STEVEN DEAN                              STEVEN FIELDS                        STEVEN HARVEY
4804 S. LANGLEY                          322 SKYLINE VIEW DR                  11244 E. RADIO TOWER RD
CHICAGO, IL 60615                        COLLINSVILLE, IL 62234               MT. VERNON, IL 62864-7875




STEVEN J FINK & ASSOC P C                STEVEN K NORRIS                      STEVEN M LYNCH
25 E WASHINGTON ST                       347 CRABB LANE                       3379 GLASS RD
STE 1233                                 WYNNE, AR 72396                      MONROE, GA 30656
CHICAGO, IL 60602




STEVEN MARK MANNING, MD                  STEVEN RICHERSON                     STEVEN ROGERS
ADDRESS ON FILE                          5226 BETHEL ROAD                     3954 LUVERNE HWY
                                         BENTON, IL 62812                     GREENVILLE, AL 36037




STEVEN SMITH                             STEVEN SMITH                         STEVEN SNOW
ADDRESS ON FILE                          76 HUMMINGBIRD LN                    1215 BRIDGE PARK WAY
                                         GREENVILLE, AL 36037                 LAYTON, UT 84041-8126




STEVEN T DAVIS                           STEVEN V LAMBERT                     STEVEN WANG
631 RICHMOND DR                          407 MONROE ST NW                     112 DONALDSON AVE APT 2
LANCASTER, PA 17601-8813                 MASSILLON, OH 44647                  RUTHERFORD, NJ 07070




STEVEN, NELLIS                           STEVENS AVIATION INC                 STEVENS GARDNER, TIFFANY
511 2ND ST NW                            P.O. BOX 840267                      1810 IVY CREST DR
FORT PAYNE, AL 35967-2047                DALLAS, TX 75284-0267                BRENTWOOD, TN 37027
STEVENS JESSICA          Case 20-10766-BLS   Doc
                                       STEVENS     6 Filed 04/07/20
                                               JIMMY                  Page 1693 of TRACI
                                                                           STEVENS  1969
ADDRESS ON FILE                         P.O. BOX 1187                      ADDRESS ON FILE
                                        JACKSON, KY 41339-5187




STEVENS, AMEY                           STEVENS, ANDREA R.                 STEVENS, ANDREA
1241 CHAGAL AVENUE                      2961 CO RD 119                     2961 COUNTY RD 119
LANCASTER, CA 93535                     FORT PAYNE, AL 35968               FORT PAYNE, AL 35967




STEVENS, ANITA F.                       STEVENS, BETTY                     STEVENS, BRIAN M.
ADDRESS ON FILE                         18 FONTAINEBLEAU DR                825 PINETREE LN
                                        GRANITE CITY, IL 62040             APTOS, CA 95003




STEVENS, CANDY S.                       STEVENS, DESTINY K.                STEVENS, DONALD E.
3486 FULLERS RIDGE ROAD                 825 PINETREE LN                    9705 RAYMOND DR
LOUISA, KY 41230                        APTOS, CA 95003                    BELLEVILLE, IL 62223




STEVENS, FAITH A.                       STEVENS, JEFFERY                   STEVENS, KAMI
917 N 1340 EAST                         917 PINE ST                        ADDRESS ON FILE
TOOELE, UT 84074                        GALESBURG, IL 61401




STEVENS, LISA K.                        STEVENS, LISA M.                   STEVENS, MARISSA A.
707 82ND STREET                         ADDRESS ON FILE                    70 C ST
PLEASANT PRAIRIE, WI 53158                                                 LOUISA, KY 41230




STEVENS, MARY I.                        STEVENS, MICHAEL                   STEVENS, PAUL L.
1441 COUNTY RD 217                      ADDRESS ON FILE                    474 AMVALE NE AVE
FORT BRIDGER, WY 82933                                                     MASSILLON, OH 44646




STEVENS, SHEILA                         STEVENS, SKYLYNN                   STEVENS, STEPHANIE M.
663 DEPOT ROAD                          120 EAST GORE STREET               8041 S CALIFORNIA
PAINTSVILLE, KY 41240                   GOREVILLE, IL 62939                CHICAGO, IL 60652




STEVENS, TRAVIS L.                      STEVENS, VAL                       STEVENS, VICKI L.
101 CRISSARA DR                         ADDRESS ON FILE                    401 WEST LINCOLN ST
WATSONVILLE, CA 95076                                                      BELLEVILLE, IL 62222




STEVENS, VICTOR BRUCE                   STEVENS, WALLACE                   STEVENS, ZACHARY
1238 S 58TH STREET                      ADDRESS ON FILE                    ADDRESS ON FILE
SPRINGFIELD, OR 97478-0000
STEVENS-BOWLING, MARY Case
                      A.   20-10766-BLS     DocGENE
                                    STEVENSON    6 Filed
                                                     A     04/07/20      Page 1694 of 1969
                                                                              STEVENSON, CARLA A.
ADDRESS ON FILE                     2161 37TH STREET                           501 OGLESBY STREET
                                    SPRINGFIELD, OR 97477-0000                 SALEM, IL 62881




STEVENSON, CAROLYN M.                STEVENSON, DIANE S.                       STEVENSON, KELSEA
3209 N PARISH AVE                    422 W 4TH ST                              301 C.E. BRAWNER ROAD
PEORIA, IL 61604                     WATERLOO, IL 62298                        WYNNE, AR 72396




STEVENSON, KELVIN D.                 STEVENSON, MARY A.                        STEVENSON, PETRA G.
ADDRESS ON FILE                      ADDRESS ON FILE                           ADDRESS ON FILE




STEVENSON, PETRA                     STEVENSON, SARAH                          STEVIG, SHELDON
ADDRESS ON FILE                      ADDRESS ON FILE                           180 YELLOW CREEK RD
                                                                               EVANSTON, WY 82930




STEWARD DEBRA J                      STEWARD HEALTH CHOICE ARIZONA INC         STEWARD HEALTH CHOICE
5906 GAULT AVE N                     410 N 44TH ST                             410 NORTH 44TH ST STE 900
FORT PAYNE, AL 35967-8112            STE 500       ATTN:REFUNDS                PHOENIX, AZ 85008
                                     PHOENIX, AZ 85008-0000




STEWARD TEXAS HOSPITAL HOLDING LLC   STEWARD TRACY L                           STEWARD, ARLENE
                                     2909 WILLOW AVE                           2590 CAROLINA DRIVE
                                     GRANITE CITY, IL 62040                    BETHLEHEM, GA 30620




STEWARD, TAMMY E.                    STEWART CHRIS                             STEWART KARLA
ADDRESS ON FILE                      36607 ALDER BRANCH RD                     1301 E 6TH ST APT 2
                                     SPRINGFIELD, OR 97478                     WEST FRANKFORT, IL 62896




STEWART LAUREN L                     STEWART SANDRA L                          STEWART SILVER
750 RIVER RD                         ADDRESS ON FILE                           256 DAVIS RD
EUGENE, OR 97404                                                               BLUE RIDGE, GA 30513




STEWART STEVEN S                     STEWART WAYNE KENLEY                      STEWART YASMINE
2538 W 117TH PLACE                   19500 GALATIA POST                        914 LORELEI DR
CHICAGO, IL 60655                    MARION, IL 62959                          ZION, IL 60099-1378




STEWART, ALEXANDER D.                STEWART, BART                             STEWART, BETTY A.
102 POCAHANTAS ST APT 14             1800 W CENTER ST                          ADDRESS ON FILE
LOUISA, KY 41230                     EVANSTON, WY 82930-3152
STEWART, CALLIE        Case 20-10766-BLS   Doc
                                     STEWART,   6 L.Filed 04/07/20
                                              CARIE                  Page 1695 of 1969
                                                                          STEWART, CRAIG S.
1500 CAMINO DOCE SE                   1379 E. KNOX ST.                     ADDRESS ON FILE
DEMING, NM 88030                      GALESBURG, IL 61401




STEWART, DANA                         STEWART, DAYNA                       STEWART, DIANNE L.
723 ERIE ST N                         12955 W MAWMAN AVE                   15357 8TH AVE
MASSILLON, OH 44646                   BEACH PARK, IL 60087                 PHOENIX, IL 60426




STEWART, DWIGHT                       STEWART, EMILY                       STEWART, GARY L.
6887 N VERMONT LN                     ADDRESS ON FILE                      ADDRESS ON FILE
MT VERNON, IL 62864




STEWART, GINGER M.                    STEWART, HEATHER M.                  STEWART, HEATHER M.
ADDRESS ON FILE                       ADDRESS ON FILE                      7400 ROB ST. NW
                                                                           MASSILLON, OH 44646




STEWART, JERRI D.                     STEWART, JOHN                        STEWART, KAREN G.
ADDRESS ON FILE                       4350 S LAKE PARK AVE                 4991 SPEARHEAD RN NW
                                      CHICAGO, IL 60653                    DEMING, NM 88030




STEWART, KEVIN S.                     STEWART, KIMBERLY A.                 STEWART, MARION
ADDRESS ON FILE                       ADDRESS ON FILE                      943 S CANAL ST
                                                                           CANAL FULTON, OH 44614




STEWART, MARK                         STEWART, MAX                         STEWART, MELISSA L.
6148 W PATTI DR                       7 FAIRWAY RD                         814 SE 1ST ST
WEST VALLEY CITY, UT 84128            GALESBURG, IL 61401                  GALVA, IL 61434




STEWART, MICHELE A.                   STEWART, MIRANDA K.                  STEWART, NICOLETTE
ADDRESS ON FILE                       213 S LIBRARY ST                     1900 S. 3RD AVENUE
                                      WATERLOO, IL 62298                   MAYWOOD, IL 60153




STEWART, PATTY K.                     STEWART, PHYLLIS K.                  STEWART, ROBERT
ADDRESS ON FILE                       ADDRESS ON FILE                      509 SFC 932
                                                                           BRINKLEY, AR 72021




STEWART, SAMUEL                       STEWART, SANDRA L.                   STEWART, SANDRA
1150 TRADITIONS WAY                   ADDRESS ON FILE                      ADDRESS ON FILE
JEFFERSON, GA 30549
STEWART, SEAN            Case 20-10766-BLS   Doc
                                       STEWART,   6 L.Filed 04/07/20
                                                SHANE                  Page 1696 of 1969
                                                                            STEWART, SHARON L.
ADDRESS ON FILE                         1500 CAMINO DOCE, SE                 P O BOX 682969
                                        DEMING, NM 88030                     FRANKLIN, TN 37068




STEWART, SHARON L.                      STEWART, SUSAN J.                    STEWART, TAYLER
ADDRESS ON FILE                         11572 BINNEY ROAD                    891 105TH AVE
                                        NEW DOUGLAS, IL 62074                JOY, IL 61260




STEWART, TIFFANI                        STEWART, WENDY E.                    STEWART, YASMINE
2704 HUNTERS RIDGE                      316 S. IRON ST                       914 LORELEI DRIVE
EDWARDSVILLE, IL 62025                  DEMING, NM 88030                     ZION, IL 60099




STEYER, EMMA                            STGERMAIN, MICHAEL                   STICE, DALTON
7734 CAMBRIDGE AVE NW                   3801 KINGFISHER CT                   317 W CHERRY STREET
MASSILLON, OH 44646                     LOGANVILLE, GA 30052-3906            GRANTSVILLE, UT 84029-0000




STICH, DEANNA                           STICKLE MYRA L                       STICKLE, MYRA L.
ADDRESS ON FILE                         215 E WEST ST                        215 E WEST ST
                                        ONEIDA, IL 61467                     ONEIDA, IL 61467




STICKLER, THOMAS L.                     STICKLEY THOMAS A                    STIDD, KAITLYN
ADDRESS ON FILE                         5570 PAHRUMP VALLEY BLVD             3361 125TH ST.
                                        PAHRUMP, NV 89048-7360               PLEASANT PRAIRIE, WI 53158




STIEBER, RUSSELL A.                     STIEFEL LARRY                        STIEFEL, DAX
1769 20TH AVE                           256 COUNTY RD 446                    14310 HOLLYWOOD LANE E
KENOSHA, WI 53140                       FORT PAYNE, AL 35968-4409            FORT PAYNE, AL 35967




STIEFEL, LISA                           STIEFEL, WANDA B. WILBORN            STIEG, TRICIA M.
ADDRESS ON FILE                         64 COUNTY RD 617                     ADDRESS ON FILE
                                        SECTION, AL 35771




STIEN, BARBARA                          STIENING JEFFREY S                   STIENKE, ROBERT
1592 1ST ST NE                          308 LIBERTY CT                       134 FOREST GLEN DRIVE
APT F                                   WATERLOO, IL 62298                   ELLIJAY, GA 30540
MASSILLON, OH 44646




STIERLE, LYNLEE                         STIERWALT, JASON                     STILES, JAMES D
P.O. BOX 1243                           130 DUNWOODY DR                      215 CEDAR SPRINGS RD
MOUNTAIN VIEW, WY 82939-1243            GLEN CARBON, IL 62034                TURTLETOWN, TN 37391
STILES, JO ANNE       Case 20-10766-BLS
                                    STILES, Doc  6 L. Filed 04/07/20
                                            SHELLY                     Page 1697
                                                                            STILES,of 1969
                                                                                   SHELLY
599 HIWASSEE DAM ACCESS R           215 CEDAR SPRINGS ROAD                  BO
MURPHY, NC 28906                    TURTLETOWN, TN 37391                    COPPERHILL, TN 37317




STILL, RACHEL                         STILL, STEPHANIE A.                   STILLA, FRANK J.
1107 MILES AVE SW                     729 BERNARD ST SW                     2321 EASTWOOD AVE NE
CANTON, OH 44710                      MASSILLON, OH 44647                   MASSILLON, OH 44646




STILLE SURGICAL, INC                  STILLER DANIELLE M                    STILLEY, CAROL J.
943 PARKVIEW BLVD                     ADDRESS ON FILE                       1702 MELMAR DRIVE
LOMBARD, IL 60148                                                           MARION, IL 62959




STILLEY, KRISTEL                      STILLEY, LYNN D.                      STILLSON, JENNIFER L.
ADDRESS ON FILE                       ADDRESS ON FILE                       894 BRENNAN WAY
                                                                            HOLLISTER, CA 95023




STILSON LEAH                          STILSON, ROBERT                       STILSON, SHAN
3813 PARKWAY LN                       255 RIDGEVIEW CIRCLE                  ADDRESS ON FILE
ZION, IL 60099                        MORGANTON, GA 30560




STILTNER, JASON                       STILWELL, AARON                       STILWELL, BRANDI
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




STIMPSON, WILLIAM S.                  STINE, JOAN A.                        STINER, WILLIAM
2376 FRIENDSHIP AVE                   4043 GOSHEN LAKE CT S                 P.O. BOX 7412
SAND ROCK, AL 35983-9799              AUGUSTA, GA 30906                     BUNKERVILLE, NV 89007-0412




STINES, MATTHEW                       STINNETT HENRY                        STINNETT, AMY
18 AMY CT                             3791 U ST                             ADDRESS ON FILE
RED BUD, IL 62278                     SPRINGFIELD, OR 97477




STINNETT, PATRICIA L.                 STINNETTE, KIERRA                     STINSON LEONARD STREET
ADDRESS ON FILE                       ADDRESS ON FILE                       ACCOUNTING DEPARTMENT
                                                                            P.O. BOX 843052
                                                                            KANSAS CITY, MO 64184-3052




STINSON, CASIE                        STINSON, DARYL                        STINSON, SANDRA E.
ADDRESS ON FILE                       9778 MCKENZIE GRADE RD                5557 STARLINGTON RD
                                      GREENVILLE, AL 36037                  GEORGIANA, AL 36033
STINSON, SHEILA          Case 20-10766-BLS   Doc
                                       STINSON,    6
                                                TROY     Filed 04/07/20   Page 1698   of 1969
                                                                               STIPE, EMILY C.
P O BOX 541                             2780 S SHACKLEVILLE RD                  1451 HAMILTON AVE E
WYNNE, AR 72396                         GREENVILLE, AL 36037                    WYNNE, AR 72396




STIPE, LESLEY                           STIPPEC, BARBARA                        STIRNAMAN, STEVE
591 CR 301                              101 INCA RD                             444 W MILL ST
GAIL, TX 79738                          DENTON, TX 76209                        RUMA, IL 62278




STITCHED 360 IMAGING                    STITES, ATEEL LYN                       STITES, THOMAS P.
2635 SUNNYVIEW LANE                     176 KALA KEATON RD                      ADDRESS ON FILE
EUGENE, OR 97405                        BLUE RIDGE, GA 30513




STIVERS, THOMAS                         STL COMMUNICATIONS INC                  STL COMMUNICATIONS
132 WOLVERINE RD                        100 CHESTERFIELD BUSINESS PKWY          100 CHESTERFIELD BUS PWY
JACKSON, KY 41339                       SUITE 300                               STE 300
                                        CHESTERFIELD, MO 63005                  CHESTERFIELD, MO 63005




STOBINSKE-SAWYER, PAULETTE              STOCK TRANSPORT, INC                    STOCKERT, JAMES
13201 WESTERN AVE. APT. 1R              10037 FAUST RD                          15240 WARWICK DR NW
BLUE ISLAND, IL 60406                   LEBANON, IL 62254-2819                  CANAL FULTON, OH 44614-8524




STOCKING NICHOLAS                       STOCKING, NICHOLAS K.                   STOCKINGER, BETHANY G.
ADDRESS ON FILE                         ADDRESS ON FILE                         1703 JULIANNE DR.
                                                                                MARION, IL 62959




STOCKINGER, BETHANY G.                  STOCKTON CHRISTINE M                    STOCKTON, LORETTA
ADDRESS ON FILE                         2217 WASHINGTON ST                      721 JEFFREY AVE NW
                                        PAVILION OF WAUKEGAN                    MASSILLON, OH 44646
                                        WAUKEGAN, IL 60085




STOCKTON, REANA L.                      STODA, FRANCINE L.                      STODGHILL, DENNIS
ADDRESS ON FILE                         ADDRESS ON FILE                         3591 APALACHEE RIDGE
                                                                                MONROE, GA 30656




STODOLA, BRIAN                          STOECKLEIN, HOLBROOK HILL, M.D.         STOFF, JOSEPH
10664 W EASTWOOD RD RD                  435 B STREET                            P.O. BOX 726
BEACH PARK, IL 60087                    SALT LAKE CITY, UT 84103                EDWARDSVILLE, IL 62025




STOFFER, JENNIFER N.                    STOGNER NICOLETTE                       STOKELY, MARTHA
540 EAST NASSAU ST                      3720 WILBORN AVE NE                     900 HORSE CREEK RD
EAST CANTON, OH 44730                   FORT PAYNE, AL 35967                    BEECH ISLAND, SC 29842
STOKES MICHELE           Case 20-10766-BLS
                                       STOKES,Doc  6 Filed 04/07/20
                                               ASHLEY                  Page 1699 ofBRADY
                                                                            STOKES, 1969
732 COUNTY RD 386                       5403 HUDSON DR SW                   110 NORTH DEER MTN ROAD
DUTTON, AL 35744                        NAVARRE, OH 44662-9245              EVANSTON, WY 82930




STOKES, CHISTOPHER                      STOKES, ERIN                        STOKES, JAMES
3724 E STATE HWY 106                    12948 FORESTVIEW RD                 227 SOUTH STREET
GEORGIANA, AL 36033                     PALOS HEIGHTS, IL 60463             TROY, IL 62294-0000




STOKES, JENNA                           STOKES, JUNE                        STOKES, KARLA
619 E FREMONT ST                        P.O. BOX 71570                      2169 SHROPSHIRE HOLLOW ROAD
GALESBURG, IL 61401                     EVANSTON, WY 82930-3452             DANDRIDGE, TN 37725




STOKES, LORNA M.                        STOKES, MELANIE R.                  STOKES, MICHELLE
ADDRESS ON FILE                         6448 OLD SH 69 P.O. BOX 88          428 N F ST
                                        SUGAR TREE, TN 38380                MONMOUTH, IL 61462




STOKES, RAYMOND W.                      STOKOWSKI, TIMOTHY                  STOLBA, MARY I.
7836 ARTHUR AVE NW                      2515 W 114TH ST                     ADDRESS ON FILE
CANAL FULTON, OH 44614                  CHICAGO, IL 60655-1408




STOLTE, MARIE                           STOLTE, MARIE                       STOLTZ, DIANE M.
1117 CORAL                              ADDRESS ON FILE                     398 HANCOCK DRIVE
RED BUD, IL 62278                                                           NEW LENOX, IL 60451




STOLZE, MARK                            STONE EUGENIA                       STONE, ALEXIS
1 GINGERWOOD ESTATES                    97 LIBBY LANE                       500 S LIBRARY ST APT 1
GLEN CARBON, IL 62034                   MENTONE, AL 35984                   WATERLOO, IL 62298




STONE, CARI C.                          STONE, CASSIE                       STONE, CHARLETT R.
ADDRESS ON FILE                         1022 S MADISON ST                   755 RHUBENS BRANCH ROAD
                                        LEWISTOWN, IL 61542                 LOUISA, KY 41230




STONE, GARRETT                          STONE, HASKEL P.                    STONE, JACKIE S.
894 CARISSA RD                          ADDRESS ON FILE                     ADDRESS ON FILE
SYLVANIA, AL 35988




STONE, KATHLEEN                         STONE, KIMBERLY                     STONE, MELISSA
ADDRESS ON FILE                         1084 SAN MIGUEL CANYON RD. D        ADDRESS ON FILE
                                        ROYAL OAKS, CA 95076
STONE, MINDY            Case 20-10766-BLS
                                      STONE, Doc   6 L. Filed 04/07/20
                                             PHILLIP                     Page 1700
                                                                              STONE,of 1969
                                                                                    SARA
1906 N. ILLINOIS AVE.                    ADDRESS ON FILE                      ADDRESS ON FILE
CARBONDALE, IL 62901




STONE, SHARI                             STONE, SUSAN                         STONE, TAYLOR
ADDRESS ON FILE                          18188 E BARREL RD                    2101 EARLEBECK RD
                                         MOUNT VERNON, IL 62864               HUGHES, AR 72348




STONE, TERESA K.                         STONE-CASPER, DEBRA M.               STONEFORT CAMPGROUND
ADDRESS ON FILE                          ADDRESS ON FILE                      1960 KNOX RD 1700E
                                                                              VICTORIA, IL 61485




STONEKING, ANASTASIA M.                  STONELAKE, KRISTEN D.                STONER SHANE A
ADDRESS ON FILE                          ADDRESS ON FILE                      805 AMHURST DR
                                                                              EAST ALTON, IL 62024




STONER, CANDY                            STONER, HOLLEEA                      STONER, KARL
1700 W CHURCH ST                         ADDRESS ON FILE                      637 RUBY AVE
APT B2                                                                        EUGENE, OR 97404
ORRVILLE, OH 44667




STOOKEY, MARK                            STOOPS, JAIME E.                     STOP ALARMS
125 S RUSSEL LANE                        216 RIDGE DR                         1646 WEST CHESTER PIKE STE 31
RUSH VALLEY, UT 84069-0000               SMITHTON, IL 62285                   WEST CHESTER, PA 19382




STOPCZYK, JAN K.                         STOPKA KATHY                         STOPKA, MICHAEL
ADDRESS ON FILE                          105 LAKEWOOD DR                      102 LAFAYETTE ST
                                         GLEN CARBON, IL 62034                ANNA, IL 62906




STORAGE STABLES                          STORAGE SYSTEMS UNLIMITED INC        STORAGE SYSTEMS UNLIMITED
51 ARROWHEAD DR                          POB 369                              3343 ASPEN GROVE DR
EVANSTON, WY 82930                       FRANKLIN                             FRANKLIN, TN 37067
                                         FRANKLIN, TN 37065




STORAGE SYSTEMS UNLIMITED                STORCH, MEGAN I.                     STORE SUPPLY WAREHOUSE LLC
P.O. BOX 369                             5647 VALERIUS ST SW                  BIN 110280
FRANKLIN, TN 37065                       NAVARRE, OH 44662                    P.O. BOX 88280
                                                                              MILWAUKEE, WI 53288-8280




STORE SUPPLY WAREHOUSE LLC               STOREY, JAMIE R.                     STOREY, PHYLLIS
BIN 110280                               9055 N TRITON LN                     P.O. BOX 1930
PO BOX 88280                             MOUNT VERNON, IL 62864               MARVELL, AR 72366
MILWAUKEE, WI 53288-8280
STORIZ, SUSAN E.        Case 20-10766-BLS    Doc
                                      STORLIEN,   6 A.
                                                MEGAN Filed 04/07/20     Page 1701
                                                                              STORM of 1969 LTD
                                                                                    SECURITY,
8922 PARKSIDE LN                        246 H ST                              P.O. BOX 927
ST JOHN, IN 46373                       SPRINGFIELD, OR 97477                 LONDON, KY 40743




STORMENT, TANYA L.                      STORTONI, VALERIE                     STORTS, SUZANNE
ADDRESS ON FILE                         8823 MANGO AVE                        P.O. BOX 303
                                        MORTON GROVE, IL 60053                LOUISA, KY 41230




STORTZUM TIESHA                         STORTZUM, TIESHA R.                   STORWOLD, KENNEDY
ADDRESS ON FILE                         ADDRESS ON FILE                       645 COUNTRY CLUB
                                                                              STANSBURY PARK, UT 84074




STORY JEFFERY                           STORY, ASHLEY E.                      STORY, LILLY
10991 HIGHWAY 40                        ADDRESS ON FILE                       ADDRESS ON FILE
HENAGAR, AL 35978




STORY, MD, ROBERT MICHAEL               STORZ OPHTHALMICS INCORPORATED        STOTT, LYNN
1903 SPRING DR NW                       COBURN INTRAOCULAR LENSES             441 N. 2070 E.
FORT PAYNE, AL 35968                    POST OFFICE BOX 75807                 ST. GEORGE, UT 84790
                                        CHARLOTTE, NC 28275




STOTTS, NICOLE R.                       STOUDER, SETH T.                      STOUGH, ASHLEY
219 CAROL LN                            408 WINDSOR CT                        2325 GRAND AVE
GRAYSLAKE, IL 60030                     NASHVILLE, TN 37211                   GRANITE CITY, IL 62040




STOUGH, GRACE                           STOUGHTON, TIMOTHY                    STOUT CRYSTAL
14385 MORGANTON HWY                     P.O. BOX 1661                         521 WATER WHEEL LANE
MORGANTON, GA 30560                     ANTHONY, NM 88021-1661                STANSBURY PARK, UT 84074




STOUT IMAGES LLC                        STOUT JOHN                            STOUT RISIUS ROSS INC
P.O. BOX 70525                          286 CHEYENNE TRAIL                    4000 TOWN CENTER
ODESSA, TX 79769                        BLUE RIDGE, GA 30513                  20TH FLR
                                                                              SOUTHFIELD, MI 48075




STOUT, GLORIA                           STOUT, LISA M.                        STOUT, MARY J.
8015 PONY HILLS PL NW                   4980 TN 105                           114 SOUTH SPENCER
ALBUQUERQUE, NM 87114                   TREZEVANT, TN 38258                   MOUNDS, IL 62964




STOUT, NANCY C.                         STOUT, SUSAN Y.                       STOVALL, CHARLENE
286 CHEYENNE TRAIL                      P.O. BOX 71                           10633 S CALUMET AVE
BLUE RIDGE, GA 30513                    MARION, IL 62959                      CHICAGO, IL 60628
STOVALL, DONNA L.       Case 20-10766-BLS
                                      STOVERDoc 6 EFiled 04/07/20
                                            ROBERT                  Page 1702 ofELKE
                                                                         STOVER, 1969
ADDRESS ON FILE                        1418 N ACADEMY ST                 1418 N ACADEMY ST
                                       GALESBURG, IL 61401               GALESBURG, IL 61401




STOVER, PORSCHE                        STOVER, ROBERT E.                 STOVER, SHERRY
2805 ESHCOL AVE.                       1418 N ACADEMY ST                 1743 MONTER AVE
ZION, IL 60099                         GALESBURG, IL 61401               LOUISVILLE, OH 44641-2506




STOWE, MADISON W.                      STOWELL, AMY                      STOWELL, SUSAN M.
407 ALDERSON RD                        9 PAUL DR                         ADDRESS ON FILE
WASHINGTON, NC 27889                   GRANITE CITY, IL 62040




STOWELL, SUSAN                         STOWERS, DANIEL                   STOYANOFF, LINDA
ADDRESS ON FILE                        421 W. 5TH. ST                    3120 N. AUGUSTA DRIV
                                       BENTON, IL 62812                  WADSWORTH, IL 60083




STOYANOFF, MARC                        STOYANOFF, MARC                   STRACENER, CATHY L.
ADDRESS ON FILE                        ADDRESS ON FILE                   362 WINDSOR RD
                                                                         ALBERTVILLE, AL 35950




STRACK, ANN                            STRADINGER, TERESA                STRAIN, JESSICA
ADDRESS ON FILE                        ADDRESS ON FILE                   14094 N HARMONY LN
                                                                         MOUNT VERNON, IL 62864




STRAIN, MELISSA R.                     STRAKA, NANCY E.                  STRAKUSEK, LORI B.
1006 HOWELL                            10814 MICHIGAN DRIVE              ADDRESS ON FILE
BIG SPRING, TX 79720                   SPRING GROVE, IL 60081




STRALEY, MARY                          STRALEY, SHELBY A.                STRAND, JANET E.
1023 ESCALONA DR                       ADDRESS ON FILE                   ADDRESS ON FILE
SANTA CRUZ, CA 95060




STRAND, JANET                          STRAND, LEONARD                   STRAND, MILLIE H
ADDRESS ON FILE                        408 NEWMAN ST                     372 BEDI AVE
                                       KNOXVILLE, IL 61448               GALESBURG, IL 61401




STRANG, ROBERT P.                      STRANGE, CHARLES                  STRANGE, COBY J.
39160 N WINCHESTER RD                  1002 N DEAN ST                    ADDRESS ON FILE
WADSWORTH, IL 60083                    BUSHNELL, IL 61422
STRANGE, KYLE            Case 20-10766-BLS
                                       STRATA Doc  6 TECHNOLOGY
                                              DECISION Filed 04/07/20      Page 1703
                                                                                STRATAof 1969 TECHNOLOGY
                                                                                       DECISION
923 WASHINGTON BLVD                      HOLDINGS LLC                           HOLDINGS LLC
BUSHNELL, IL 61422                       DAN MICHELSON, CHIEF EXECUTIVE         P.O. BOX 945911
                                         OFFICER                                ATLANTA, GA 30394-5911
                                         200 E. RANDOLPH STREET, 49TH FL
                                         CHICAGO, IL 60601-6463

STRATEGIC EQUIPMENT, LLC                 STRATMAN, KENNETH                      STRATTON COLLEEN M
P.O. BOX 654020                          804 ERNST CT                           7967 GRIZZLY HOLLOW
DALLAS, TX 75265-4020                    WATERLOO, IL 62298                     WATERLOO, IL 62298




STRATTON DEBRA SUE                       STRATTON, BRITTNEY                     STRATTON, CARL
ADDRESS ON FILE                          ADDRESS ON FILE                        1630 3RD ST
                                                                                MADISON, IL 62060




STRATTON, DEBRA S.                       STRATTON, JAMES                        STRATTON, KIMBERLY
ADDRESS ON FILE                          24 OAKLAWN ESTATES                     ADDRESS ON FILE
                                         HAGERHILL, KY 41222




STRATTON, NIKKI L.                       STRATUS NETWORKS                       STRATUS NETWORKS
1473 N 420 E                             4700 N PROSPECT RD                     4700 N PROSPECT ROAD
TOOELE, UT 84074                         SUITE 8                                PEORIA HEIGHTS, IL 61616
                                         PEORIA HEIGHTS, IL 61616-6496




STRATUS VIDEO, LLC                       STRAUB, ROBERT                         STRAUCH M.D., CARL E.
P.O. BOX 674954                          1445 JUMANA LOOP                       ADDRESS ON FILE
DETRIOT, MI 48267-4954                   APOLLO BEACH, FL 33572-0000




STRAUCH, CARL E.                         STRAUGHN, LISA KAYE                    STRAUGHN, LISA KAYE
ADDRESS ON FILE                          4594 WHYEM DRIVE                       ADDRESS ON FILE
                                         NEW FRANKLIN, OH 44319




STRAUS, JOEL                             STRAW LAUREL E                         STRAW, LAUREL E.
14 LAZARCHEFF DR                         1661 N BROAD ST                        1661 N BROAD ST
CAHOKIA, IL 62206                        GALESBURG, IL 61401                    GALESBURG, IL 61401




STRAYHORN, HEATHER                       STRAYHORN, SHERRY                      STRAZER, EDITH B
11963 HIGHWAY 49                         ADDRESS ON FILE                        1324 N SHERIDAN RD
BRINKLEY, AR 72021                                                              WAUKEGAN, IL 60085




STREAM                                   STRECK INC                             STRECK INC.
P.O. BOX 650026                          P.O. BOX 45625                         P.O. BOX 45625
DALLAS, TX 75265                         OMAHA, NE 68145                        7002 SOUTH 109TH STREET
                                                                                OMAHA, NE 68145-0625
                      Case 20-10766-BLS
STRECK LABORATORIES INC             STRECKDoc    6 FiledINC
                                            LABORATORIES, 04/07/20   Page 1704
                                                                          STRECKof 1969
P.O. BOX 45625                      P O BOX 45625                         7002 SOUTH 109TH STREET
OMAHA, NE 68145-0625                OMAHA, NE 68145-0625                  OMAHA, NE 68128




STRECK, INC.                         STRECK, VERNA                        STREED, MARY F.
P.O. BOX 45625                       P.O. BOX 462                         3615 16TH ST
OMAHA, NE 68145                      AVIS, PA 17721                       ROLLING HILLS MANOR
                                                                          ZION, IL 60099




STREET, HOLLEY A.                    STREETE, AGNES J.                    STREETER, JOSEPH K.
2505 HIDDEN CREEK COURT              454 HUFF ST                          319 S BROADWAY AVE
COLUMBIA, TN 38401                   LAWRENCEVILLE, GA 30046              RIVERTON, WY 82501




STREETER, ROGER                      STREETT, AGATA                       STREHL SUSAN L
3368 PLANTERS WAY                    501 N WOODSIDE CT                    ADDRESS ON FILE
FARMVILLE, NC 27828                  LOCKPORT, IL 60441




STREHL, SUSAN L.                     STREMMEL, DENNIS                     STRESSLER, MALLORY
ADDRESS ON FILE                      1435 E SYCAMORE ST                   ADDRESS ON FILE
                                     CANTON, IL 61520




STREZO, LINDSAY R.                   STRICKER, D                          STRICKER, SCOTT
ADDRESS ON FILE                      797 WEHUTTY RD                       797 WEHUTTY RD.
                                     MURPHY, NC 28906                     MURPHY, NC 28906




STRICKER, SHAE                       STRICKHOLM, AARON                    STRICKLAND PAPER COMPANY
447 PALM COVE CT                     P.O. BOX 1233                        P.O. BOX 11407
MESQUITE, NV 89027-0000              MOUNTAIN VIEW, WY 82939              BIRMINGHAM, AL 35246




STRICKLAND RANDALL                   STRICKLAND, AMANDA G.                STRICKLAND, GARY
P.O. BOX 1045                        ADDRESS ON FILE                      416 CYPRESS CREEK RD
BLUE RIDGE, GA 30513                                                      COLLINSVILLE, IL 62234




STRICKLAND, GREGORY                  STRICKLAND, HEATHER S.               STRICKLAND, KENDRA L.
2800 SCENIC DRIVE                    5020 HEBRON TRACE DRIVE              541 DESHA DRIVE
BLUE RIDGE, GA 30513                 NOLENSVILLE, TN 37135                JACKSON, TN 38301




STRICKLAND, MARIA D.                 STRICKLAND, PATTY L.                 STRICKLAND, PHILIP
2800 SCENIC DR 4103                  1908 JONATHAN DRIVE SW               ADDRESS ON FILE
BLUE RIDGE, GA 30513                 FORT PAYNE, AL 35968
STRICKLER, ALLISON        Case 20-10766-BLS    Doc
                                        STRICKLIN    6 Filed 04/07/20
                                                  & ASSOCIATES           Page 1705  of 1969
                                                                              STRICKLIN & ASSOCIATES
ADDRESS ON FILE                          330 N WABASH AVE, 23RD FL             330 NORTH WABASH ST
                                         CHICAGO, IL 60654                     23RD FLR
                                                                               CHICAGO, IL 60611




STRICKLIN, NANCY K.                      STRICKLING, KELLY                     STRIKE PRO OF TEXAS
ADDRESS ON FILE                          330 SAN LUIS AVE                      4106 MANANA MOUNTAIN CIRCLE
                                         WATSONVILLE, CA 95076                 SPICEWOOD, TX 78669




STRIKE PRO TECH OF TEXAS INC             STRIKE PRO TECH OF TEXAS, INC         STRIKE PRO TECH OF TEXAS, INC
6261 MONTGOMERY RD                       222 KNIGHTS CIRCLE                    4106 MANANA MOUNTAIN CIRCLE
MIDLOTHIAN, TX 76065                     STREETMAN, TX 75859                   SPICEWOOD, TX 78669




STRIKE PRO TECH OF TEXAS, INC.           STRIMLING, M.D., BRUCE S.             STRINDBERG, GAIL
4106 MANANA MOUNTAIN CIRCLE              ADDRESS ON FILE                       2289 EAST PINE CANYON ROAD
SPICEWOOD, TX 78669                                                            LINCOLN, UT 84074




STRINE, MERVIN                           STRINGER, EARNEST G.                  STRINGER, MADELINE L.
4256 GREENWAY TRAIL ST NW                1880 ROPER RD                         ADDRESS ON FILE
MASSILLON, OH 44647                      HONORAVILLE, AL 36042




STRINGER, WHITNEY                        STRINGFELLOW, JIMMY                   STRINGFIELD, JERRY
15473 COUNTY ROAD 925 N                  500 KITTLE RD CRESTPARK               2110 SILVER LEA CT
MCLEANSBORO, IL 62859                    FORREST CITY, AR 72335                EUGENE, OR 97404




STRIPLIN, JULIE                          STROEHLEIN, STEPHANIE                 STROGOV MD, PETER
407 E DONNEWALD ST                       ADDRESS ON FILE                       1359 OLD WATER WORKS ROAD
WORDEN, IL 62097                                                               FORT PAYNE, AL 35968




STROH, VICTORIA                          STROHMAYER, PAUL MD                   STROHMAYER, PAUL
ADDRESS ON FILE                          1 SOUTH GREENLEAF                     5310 DAYBREAK DRIVE
                                         SUITE A                               LIBERTYVILLE, IL 60048
                                         GURNEE, IL 60031




STROHMEIER, SPENCER K.                   STROKE SURVIVORS EMPOWERING EACH      STROMING, SHELBY L.
1815 ESIE DR                             OTHER INC                             ADDRESS ON FILE
EDWARDSVILLE, IL 62025                   P O BOX 855
                                         LOMBARD, IL 60145-0855




STRONG, ERIC                             STRONG, KEVINNA                       STRONG, LILLIAN
2980 CHUCKANUT ST                        116 MCALPINE DR                       651 ROUAULT AVE
EUGENE, OR 97408                         SAINT LOUIS, MO 63137                 LAS CRUCES, NM 88005
STRONG, MILENA M.         Case 20-10766-BLS   Doc
                                        STRONG,    6 L.Filed 04/07/20
                                                SHELBY                  Page 1706 ofTAMARA
                                                                             STRONG, 1969 M.
7321 TIMEVIEW WAY                        101 DAYMOND DR                      ADDRESS ON FILE
SALINAS, CA 93907                        WHICK, KY 41390




STRONG, TAMARA                           STROPES, DEBRA                      STROPOLI, MARINA
ADDRESS ON FILE                          1505 BALFOUR RD                     2800 SCENIC DR STE 4
                                         WEST MEMPHIS, AR 72301              BLUE RIDGE, GA 30513




STROTHER, MARGIE R.                      STROUD, ELIZABETH                   STROUD, MARCIA
ADDRESS ON FILE                          ADDRESS ON FILE                     1632 FORT GAY ROAD
                                                                             FORT GAY, WV 25514




STROUDWATER ASSOCIATES                   STROUP, KEVIN H.                    STROUSE, JEAN L.
1685 CONGRESS ST                         ADDRESS ON FILE                     P.O. BOX 505
STE 202                                                                      LAMAR, PA 16848-0505
PORTLAND, ME 04102




STROUSE, KATHY JO                        STRUGALA, AGNIESZKA                 STRUKEL, MARY
110 COLLEGE ST                           3082 CASTLEBURY PLACE               510 SHERI AVE NE
BRUCETON, TN 38317-0000                  GALESBURG, IL 61401                 MASSILLON, OH 44646




STRUSS, MACDONELL B.                     STRUTHERS, AMY                      STRUTHERS, AMY
154 BEAVER COVE RD                       ADDRESS ON FILE                     ADDRESS ON FILE
TURTLETOWN, TN 37391




STRUTHERS, CHRISALEE                     STRUVE, JULIE                       STRUVE, JULIE
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




STRYJEWSKI ROBERT J                      STRYJEWSKI, DAVID                   STRYKER 1706
306 ELMWOOD LN                           1611 HENRY PL
ANTIOCH, IL 60002                        WAUKEGAN, IL 60085




STRYKER CAPITAL                          STRYKER COMMUNICATIONS              STRYKER COMMUNICATIONS
P.O. BOX 740425                          21343 NETWORK PLACE                 22491 NETWORK PLACE
ATLANTA, GA 30374-0425                   CHICAGO, IL 60673-1213              CHICAGO, IL 60673




STRYKER CORPORATION                      STRYKER CRANIOMAXILLOFACIAL         STRYKER CRANIOMAXILLOFACIAL
21343 NETWORK PLACE                      21343 NETWORK PLACE                 21343 NETWORK PLACE
CHICAGO, IL 60673-1213                   CHICAGO, IL 60673                   CHICAGO, IL 60673-1213
STRYKER ENDOSCOPY    Case 20-10766-BLS
                                   STRYKERDoc   6 Filed 04/07/20
                                            ENDOSCOPY              Page 1707 of ENDOSCOPY
                                                                        STRYKER 1969
1901 ROMENCE RD PARKWAY            21343 NETWORK PLACE                  C/O STRYKER SALES CORP
PORTAGE, MI 49002                  CHICAGO, IL 60673-1213               P.O. BOX 93276
                                                                        CHICAGO, IL 60673




STRYKER ENDOSCOPY                   STRYKER ENDOSCOPY                   STRYKER FINANCE
P.O. BOX 93276                      PO BOX 93276                        950 TRADE CENTER WAY, STE 200
CHICAGO, IL 60673-3276              CHICAGO, IL 60673-3276              KALAMAZOO, MI 49002




STRYKER FLEX FINANCIAL              STRYKER FLEX FINANCIAL              STRYKER FLEX FINANCIAL
1111 OLD EAGLE SCHOOL RD            25652 NETWORK PLACE                 A DIVISION OF STRYKER SALES
WAYNE, PA 19087                     CHICAGO, IL 60673-1256              CORPORATION
                                                                        1111 OLD EAGLE SCHOOL RD
                                                                        WAYNE, PA 19087



STRYKER HOWMEDICA OSTEONICS         STRYKER HOWMEDICA OSTEONICS         STRYKER INSTRUMENTS DIVISION 0198
CORPORATION                         CRANIOMAXILLOFACIAL DIV             1901 ROMENCE ROAD PARKWAY
325 CORPORATE DRIVE                 21343 NETWORK PLACE                 PORTAGE, MI 49002
MAHWAH, NJ 07430                    CHICAGO, IL 60673-1213




STRYKER INSTRUMENTS                 STRYKER INSTRUMENTS                 STRYKER INSTRUMENTS
21343 NETWORK PLACE                 21343 NETWORK PLACE                 P.O. BOX 70119
CHICAGO, IL 60673-1213              CHICAGO, IL 60673-1213              CHICAGO, IL 60673-0119




STRYKER MEDICAL                     STRYKER MEDICAL                     STRYKER MEDICAL
P.O. BOX 70119                      P.O. BOX 93308                      PO BOX 93308
CHICAGO, IL 60673-0119              CHICAGO, IL 60673-3308              CHICAGO, IL 60673




STRYKER NEUROVASCULAR               STRYKER ORTHOPAEDICS INC.           STRYKER ORTHOPAEDICS
26046 NETWORK PLACE                 BOX 93213                           BOX 93213
CHICAGO, IL 60673                   CHICAGO, IL 60673-3213              CHICAGO, IL 60673-3213




STRYKER ORTHOPAEDICS                STRYKER ORTHOPAEDICS                STRYKER SALES CORP
MICHAEL RAY , NATIONAL ACCOUNT      P.O. BOX 93213                      P.O. BOX 70119
MANAGER                             CHICAGO, IL 60673-3213              CHICAGO, IL 60673
325 CORPORATE DRIVE
MAHWAH, NJ 07430



STRYKER SALES CORP                  STRYKER SALES CORP                  STRYKER SALES CORP
P.O. BOX 70119                      P.O. BOX 93308                      STRYKER FLEX FINANCIAL
CHICAGO, IL 60673-0119              CHICAGO, IL 60673-3308              25652 NETWORK PL
                                                                        CHICAGO, IL 60673-1256




STRYKER SALES CORPORATION           STRYKER SALES CORPORATION           STRYKER SALES CORPORATION
12100 COLLECTIONS CENTER DRIVE      1901 ROMENCE RD PKWY                21343 NETWORK PLACE
CHICAGO, IL 60693-0121              PORTAGE, MI 49002                   CHICAGO, IL 60673-1213
                       Case 20-10766-BLS
STRYKER SALES CORPORATION            STRYKER Doc  6 CORPORATION
                                               SALES  Filed 04/07/20     Page 1708 of SALES
                                                                              STRYKER 1969CORPORATION
25652 NETWORK PLACE                  2825 AIRVIEW BOULEVARD                   ENDOSCOPY DIVISION
CHICAGO, IL 60673-1256               KALAMAZOO, MI 49002                      P.O. BOX 93276
                                                                              CHICAGO, IL 60673-3276




STRYKER SALES CORPORATION             STRYKER SALES CORPORATION               STRYKER SALES CORPORATION
P O BOX 93308                         P.O BOX 93308                           P.O. BOX 70119
CHICAGO, IL 60673-3308                CHICAGO, IL 60673-3308                  CHICAGO, IL 60673-0119




STRYKER SALES CORPORATION             STRYKER SALES CORPORATION               STRYKER SALES CORPORATION
P.O. BOX 93276                        P.O. BOX 93308                          P.O. BOX 93308
CHICAGO, IL 60673-3276                CHICAGO, IL 60673                       CHICAGO, IL 60673-0000




STRYKER SALES CORPORATION             STRYKER SALES CORPORATION               STRYKER SALES CORPORATION
P.O. BOX 93308                        STRYKER FLEX FINANCIAL                  STRYKER INSTRUMENTS
CHICAGO, IL 60673-3308                25652 NETWORK PL                        21343 NETWORK PL
                                      CHICAGO, IL 60673-1256                  CHICAGO, IL 60673-1213




STRYKER SPINE                         STRYKER SUSTAINABILITY SOLUTIONS        STRYKER SUSTAINABILITY SOLUTIONS
21912 NETWORK PLACE                   1810 W DRAKE DRIVE                      P.O. BOX 29387
CHICAGO, IL 60673-1912                TEMPE, AZ 85283                         PHOENIX, AZ 85038-9387




STRYKER                               STRYKER/ENDOSCOPY                       STRYKER/ORTHOPAEDICS
P.O. BOX 93308                        P.O. BOX 93276                          BOX 93213
CHICAGO, IL 60673-3308                CHICAGO, IL 60673                       CHICAGO, IL 60673-3308




STRYKER/ORTHOPAEDICS                  STRYKER/ORTHOPAEDICS                    STRZELCZAK, MARZENA E.
P.O. BOX 93213                        P.O. BOX 93213                          706 ROLLING GREEN ST
CHICAGO, IL 60673                     CHICAGO, IL 60673-3308                  GURNEE, IL 60031




STUARD & ASSOCIATES, INC.             STUART BELL                             STUART, JOAN C.
2500 LINCOLN HILL RD                  2119 ESTHER AVE SW                      860 HIGH CASHES VALLEY RD
MARTINSVILLE, IN 46151-0000           CANTON, OH 44706-2327                   CHERRY LOG, GA 30522




STUART, LAURA D                       STUART, SHERYDON                        STUART, VERONICA
P.O. BOX 212                          2310 S STATE RD 16                      ADDRESS ON FILE
BLUE RIDGE, GA 30513                  P.O. BOX 312
                                      RANDOLPH, UT 84064-0312




STUBBLEFIELD BLAKE                    STUBBLEFIELD, KAREN                     STUBBLEFIELD, PATRICIA A.
526 RED SCHOOL BUSH RD                ADDRESS ON FILE                         200 8TH STREET
BLUE RIDGE, GA 30513                                                          SYLVANIA, AL 35988
STUBBLEFIELD, PHILLIP     Case 20-10766-BLS
                                        STUBBS,Doc 6 Filed 04/07/20
                                                AMBER                       Page 1709 ofNICHOLE
                                                                                 STUBBS, 1969
ADDRESS ON FILE                          ADDRESS ON FILE                         1205 GREEN STREET
                                                                                 HARRISBURG, IL 62946




STUBBS, PATRICK J.                       STUBBS, RAWLYNSHKA                      STUBBS, TOMMY
ADDRESS ON FILE                          2031 KESWICK VILLAGE COURT              7171 OLD MONTICELLO
                                         CONYERS, GA 30013                       COVINGTON, GA 30014




STUBE, CANDICE L.                        STUCKER, ASHLEIGH                       STUCKER, CHARITY A.
17662 GILBERT DRIVE                      ADDRESS ON FILE                         ADDRESS ON FILE
LOCKPORT, IL 60441




STUCKER, MARK                            STUDENT LOANS DRB EDUCATION LOAN        STUDER GROUP
23300 DRAKE ROAD                         DIVISION                                P.O. BOX 71676
CREAL SPRINGS, IL 62922                  MOHELA/LAUREL ROAD P.O. 1022            CHICAGO, IL 60694
                                         CHESTERFIELD, MO 63006-1022




STUDER GROUP, LLC                        STUDER GROUP, LLC                       STUDER REBEKAH
350 WEST CEDAR STREET                    P.O. BOX 71676                          210 COUNTRY WAY
SUITE 300                                CHICAGO, IL 60694-1676                  EVANSTON, WY 82930-9515
PENSACOLA, FL 32502




STUDER, BRIANNA L.                       STUDER, CHARLOTTE                       STUDER, PATRICIA L.
12136 NAVARRE RD SW                      13415 BAUGHMAN ST SW                    400 STUART ST. N.W.
NAVARRE, OH 44662                        NAVARRE, OH 44662-9631                  MASSILLON, OH 44646




STUDER, WALTER E.                        STUDIO 84                               STUDLEY LEONARD
7909 BLOUGH AVE SW                       1418 WALNUT ST                          236 W FOREST AVE APT 305
NAVARRE, OH 44662                        MURPHYSBORO, IL 62966-0000              ROUND LAKE, IL 60073




STUFFLEBEAM, DENVER                      STULLEY, MOLLIE                         STULLKEN-BIARKIS, KATHYRN
1725 LYNN DR                             46 VANHOOSE ROAD                        116 BRIAR LN
ORRVILLE, OH 44667-2341                  SITKA, KY 41255-9308                    EDWARDSVILLE, IL 62025




STUMBERG, ROBERTA R.                     STUMPF, EUNICE                          STUMPF, SANDRA
5303 BLUE ST                             105 GARDNER STREET                      224 PAUL SIMON DRIVE
LAS VEGAS, NM 87701                      WATERLOO, IL 62298                      WATERLOO, IL 62298




STUPASKY, CURTIS E.                      STUPASKY, WILLOW M.                     STURGELL, OKEY
ADDRESS ON FILE                          ADDRESS ON FILE                         P.O. BOX 122
                                                                                 CRUM, WV 25669
STURGILLSIMMONS ANNE RCase 20-10766-BLS
                                    STURGISDoc   6 Filed 04/07/20
                                            HOSPITAL                  Page 1710
                                                                           STURM,of 1969 L.
                                                                                  MICHELE
3306 KING EDWARDS COURT             916 MYRTLE AVENUE                       ADDRESS ON FILE
EUGENE, OR 97401                    STURGIS, MI 49091-2391




STURTEVANT, KIMBERLY LYNN           STUTSMAN, STEVEN                        STUTZMAN, REBEKAH L.
210 BALTIMORE WAY                   5064 TALATON ST                         1788 MOUNT EATON RD. N
VANCOUVER, WA 98664-0000            LOVES PARK, IL 61111                    DALTON, OH 44618




STYERS, JESSICA                     STYERS, JESSICA                         STYLES, GEORGE
170 REMINGTON RD                    31 EISENHOWER CROSS RD                  19244 STATE HIGHWAY 21
HOWARD, PA 16841                    MILL HALL, PA 17751                     MINTER, AL 36761




SUA, MA. JHUBAIL ANGELICA           SUAREZ, ROSA                            SUAREZ, YASMIN
ADDRESS ON FILE                     35 E GLENWOOD ST                        88 SANTA CLARA ST.
                                    TOOELE, UT 84074                        WATSONVILLE, CA 95076




SUBER-VENTURA, MENDI A.             SUBHAS, THELMA B.                       SUBIA, TONI
258 DUNDEE DR.                      ADDRESS ON FILE                         311 WINTER STREET
MONTEREY, CA 93940                                                          VAN HORN, TX 79855




SUBLETTE ELECTRIC OF WY             SUBSIDIUM HEALTHCARE, LLC D/B/A         SUBURBAN SOFTNER CO
P.O. BOX 114                        SCHUMACHER CLINICAL PARTNERS            P.O. BOX 296
DIAMONDVILLE, WY 83116              CONSULTING SERVICES                     OAK FOREST, IL 60452
                                    200 CORPORATE BLVD
                                    LAFAYETTE, LA 70508



SUBWAY                              SUCCAROTTE, ANGELA K.                   SUCCAROTTE, ANGELA K.
810 RIVER LOOP 1                    154 EMERALD WAY EAST                    ADDRESS ON FILE
EUGENE, OR 97404                    PONTOON BEACH, IL 62040




SUDA, TARISSA                       SUDDENLINK COMMUNICATIONS PAC           SUDDENLINK
11318 LAVENDER LANE                 12444 POWERSCOURT DR, STE 420           P.O. BOX 2342
FRANKFORT, IL 60423                 SAINT LOUIS, MO 63131                   WEST HELENA, AR 72390




SUDDENLINK                          SUDDENLINK                              SUDDENLINK
P.O. BOX 70340                      P.O. BOX 742535                         P.O. BOX 742698
PHILADELPHIA, PA 19176-0340         CINCINNATI, OH 45274-2535               CINCINNATI, OH 45274-2698




SUE ANDERSON                        SUE DOAK                                SUE E SIATOS
150 NORTHVIEW DR                    236 BELDEN DR                           934 WINDSOR GREEN BLVD
KNOXVILLE, IL 61448                 EDWARDSVILLE, IL 62025-3179             GOODLETTSVILLE, TN 37072
SUE HALL, JUANITA       Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                      SUE ROGERS                             Page 1711  of 1969
                                                                                  SUE XIONG
23535 NORTH 1530 EAST ROAD            3917 VILLAGE LANE APT D                     ADDRESS ON FILE
DANVILLE, IL 61834-5571               GRANITE CITY, IL 62040




SUEME ALEXANDER J                      SUEMNICHT, LEROY                           SUESS, CHRISTOPHER
729 HILLCASTLE RD                      809 SOUTH EAST STREET                      1183 W 15TH ST
COLUMBIA, IL 62236                     NEW ATHENS, IL 62264                       EUGENE, OR 97402-0000




SUGG KIMBERLY A                        SUHRE, LEONARD                             SUHRE, RICHARD
2820 EDWARDS                           7270 ALHAMBRA ROAD                         6805 STATE RT 4
GRANITE CITY, IL 62040                 ALHAMBRA, IL 62001                         ALHAMBRA, IL 62001




SUIDIKA, S CHARLES A.                  SUITS, THOMAS D.                           SUKACH, LANA
1629 FRAZIER ST                        30 HIAWATHA LANE                           1333 GOLF AVE
WAUKEGAN, IL 60087                     GALESBURG, IL 61401                        HIHGLAND PARK, IL 60035




SUKACH, SVITLANA                       SUKACH, VOLODYMIR                          SUL ROSS ALUMNI ASSOCIATION
ADDRESS ON FILE                        ADDRESS ON FILE                            BOX C-187
                                                                                  ALPINE, TX 79832




SUL ROSS STATE UNIVERSITY RODEO CLUB   SUL ROSS STATE UNIVERSITY SL OFFICE        SUL ROSS STATE UNIVERSITY
P.O. BOX C-110                         P.O. BOX C-121                             C/O TAMMY JAMISON
ALPINE, TX 79832                       ALPINE, TX 79832                           P.O. BOX C-118
                                                                                  ALPINE, TX 79832




SUL ROSS STATE UNIVERSITY              SULCER, DONNA L.                           SULIT, BEATRIZ P.
P.O. BOX C-171                         2794 MAYS BRIDGE RD                        ADDRESS ON FILE
ALPINE, TX 79832                       PARIS, TN 38242




SULLEY, AYLA                           SULLINS, LLOYD L. JR                       SULLIVAN CONSTANCE
419 PONDEROSA AVE                      14674 ASHE LANE                            417 COUNTY RD 714
OFALLON, IL 62269                      MARION, IL 62959                           BRYANT, AL 35958




SULLIVAN COUNTY COMMUNITY HOSPITAL     SULLIVAN HEALTHCARE CONSULTING LLC         SULLIVAN MARY E
2200 NORTH SECTION STREET              3452 LAKE LYNDA DR                         P.O. BOX 215
SULLIVAN, IN 47882                     ORLANDO, FL 32817                          705 W BENNETT ST
                                                                                  CREAL SPRINGS, IL 62922




SULLIVAN VERONICA ROSEANN              SULLIVAN, BRANDY                           SULLIVAN, CARRIE E.
380 HOPE LOOP                          ADDRESS ON FILE                            672 FRANKLIN AVE
EUGENE, OR 97402-0000                                                             FRANKFORT, IL 60423
SULLIVAN, CHRISTINE J.   Case 20-10766-BLS    Doc
                                       SULLIVAN,    6 MD
                                                 CLYDE Filed 04/07/20   Page 1712  of 1969
                                                                             SULLIVAN, COLT G.
3001 BIENVILLE DRIVE                     229 TOMAHAWK DR.                     ADDRESS ON FILE
SMYRNA, TN 37167                         EVANSTON, WY 82930




SULLIVAN, CONNIE                         SULLIVAN, CRYSTINA                   SULLIVAN, CYNTHIA C.
204 BLAINE ST                            24 CRAIG ST                          ADDRESS ON FILE
BIGGSVILLE, IL 61418                     LYNCHBURG, TN 37352-0000




SULLIVAN, DENNIS                         SULLIVAN, FREDRICK                   SULLIVAN, GARY L.
1604 COLES CT                            5642 S WINCHESTER AVE. APT.1         550 UNION SPRINGS RD
EDWARDSVILLE, IL 62025                   CHICAGO, IL 60636                    COBDEN, IL 62920




SULLIVAN, GREGORY                        SULLIVAN, JANICE M.                  SULLIVAN, JESSICA F.
3934 RT 37                               10608 S TALMAN                       46 GUM CREEK ROAD
MARION, IL 62959                         CHICAGO, IL 60655                    OXFORD, GA 30054




SULLIVAN, JOHN H., DDS                   SULLIVAN, JOSEPH EARL                SULLIVAN, KAREN
P.O. BOX 496                             49 BALD VIEW TERRACE                 6692 HIGHWAY 79 WEST
LEXINGTON, TN 38351                      BLAIRSVILLE, GA 30512                MORO, AR 72368




SULLIVAN, LAURA                          SULLIVAN, LEAH F.                    SULLIVAN, NICOLE
18 NORTHWOOD                             ADDRESS ON FILE                      18135 TURTLE RUN COURT
MARYVILLE, IL 62062                                                           ORLAND PARK, IL 60467




SULLIVAN, VENITA                         SULSER, ROBIN                        SUMAN AMBER D
163 CRESTVIEW COURT                      208 S MULBERRY ST                    308 DOCKERY LANE
WATSONVILLE, CA 95076                    SESSER, IL 62884                     MINERAL BLUFF, GA 30559




SUMANO-AQUINO, GABRIEL A.                SUMANOY, RHIZA                       SUMIBCAY, EMMA JOY S.
13 LAWRENCE AVE                          ADDRESS ON FILE                      23 MACLEOD WAY
WATSONVILLE, CA 95076                                                         SCOTTS VALLEY, CA 95066




SUMMA HEALTH SYSTEM                      SUMMACARE SECURE MEDICARE            SUMMACARE
75 ARCH STREET SUITE G-1                 P.O. BOX 3620                        P.O. BOX 3620
AKRON, OH 44304                          AKRON, OH 44309-3620                 AKRON, OH 44309




SUMMAGE, DOROTHY                         SUMMAGE, SANDRA D.                   SUMMER, LISA L.
805 DAWSON RD APT 11                     4553 S STATE ST                      717 NORTH MORRISON AVENUE
FORREST CITY, AR 72335                   CHICAGO, IL 60609                    COLLINSVILLE, IL 62234
SUMMERALL, OLAND          Case 20-10766-BLS  Doc 6DEBORAH
                                        SUMMERFELT   Filed 04/07/20        Page 1713 of 1969
                                                                                SUMMERFELT DEBORAH
465 COUNTY RD 363                        9041 COOPER RD                         9041 COOPER RD
ATTALLA, AL 35954-8130                   PLEASANT PRAIRIE, WI 53158-0000        PLEASANT PRAIRIE, WI 53158-0000




SUMMERFORD, RETHA OTINGER                SUMMERS, ABRON                         SUMMERS, BRENNAN
411 HUGINS ST                            402 WALNUT STREET                      219 EASTERN AVE
FYFFE, AL 35971                          SESSER, IL 62884                       GREENVILLE, IL 62246




SUMMERS, CHRISTIAN M.                    SUMMERS, CYNTHIA D.                    SUMMERS, EUNICE
ADDRESS ON FILE                          ADDRESS ON FILE                        667 OLD MIDDLE FORK
                                                                                INEZ, KY 41224




SUMMERS, MICHAEL D.                      SUMMERS, SHARON                        SUMMERSVILLE GRADE SCHOOL
ADDRESS ON FILE                          2 BRENTWOOD CT                         ATTN: BOOSTER CLUB
                                         GRANITE CITY, IL 62040                 1118 FAIRFIELD ROAD
                                                                                MT. VERNON, IL 62864




SUMMIT APPLIANCE                         SUMMIT COMMUNITY CARE                  SUMMIT EMERGENCY MEDICINE, LLC
770 GARRISON AVENUE                      P.O. BOX 7368                          206 S CORONADO AVE
BRONX, NY 10474-0000                     COLUMBUS, GA 31908                     ESPANOLA, NM 87532




SUMMIT ENVIRONMENTAL SERVICES INC        SUMMIT IMAGING INC                     SUMMIT OF FORT PAYNE, THE
P.O. BOX 397                             306 SE 291 HWY-STE 2                   1000 LAUREL LANE SW
KEVIL, KY 42053                          LEES SUMMIT, MO 64063                  FORT PAYNE, AL 35967




SUMMIT PACKAGING INC                     SUMMIT PROFESSIONAL EDUCATION          SUMMIT SIGN & GRAPHICS LLC
1401 WEST VALLEY HWY N                   ATTN CRISTINA MARCIANO                 330 SOUTHPORT DR
AUBURN, WA 98001                         P.O. BOX 908                           COLUMBIA, IL 62236
                                         FRANKLIN, TN 37065




SUMNER ONE                               SUMNER ONE                             SUMPTION, CHARLES
COPYING CONCEPTS                         P.O. BOX 5180                          2016 MAIN AVE W
P.O. BOX 5180                            ST. LOUIS, MO 63139-0180               MASSILLON, OH 44647-7333
ST LOUIS, MO 63139-0180




SUMSION, SHANTELLE                       SUN CITY MESQUITE HOA                  SUN COMM TECHNOLOGIES, INC
ADDRESS ON FILE                          1350 FLAT TOP MESA DR                  1301 SOUTH ST FRANCIS DR
                                         MESQUITE, NV 89034                     SANTA FE, NM 87505




SUN LIFE ASSURANCE COMPANY OF            SUN LOAN - HARRISBURG                  SUN LOAN COMPANY
CANADA                                   100 S COMMERCIAL STREET                1000 LEIGH RD
ONE SUN LIFE EXECUTIVE PARK              SUITE B                                ANNA, IL 62906
P.O. BOX 81915                           HARRISBURG, IL 62946
WELLESLEY HILLS, MA 02481
SUN LOAN COMPANY          Case 20-10766-BLS   Doc 6
                                        SUN LOAN           Filed 04/07/20   Page 1714  of 1969
                                                                                 SUN LOAN
501 BELT LINE RD.                       1119 N CARBON                            508 KNOX SQUARE DRIVE
STE 20J                                 MARION, IL 62959                         STE 105
COLLINSVILLE, IL 62234                                                           GALESBURG, IL 61401




SUN MEDICAL INC                         SUN RESORT LLC                           SUN TRUST BANK
7112 SANDY LAKE RD                      P.O. BOX 1917                            RAPID RIVER TRADING, LLC
QUINLAN, TX 75474                       MESQUITE, NV 89024-1917                  TRUST FEE UNIT
                                                                                 P.O. BOX 26489
                                                                                 RICHMOND, VA 23261-6489



SUN, RALPH                              SUNBELT PAPER AND PACKAGING OF FP        SUNBELT RENTALS INC
15560 SAYRE AVE                         P.O. BOX 511                             P.O. BOX 409211
OAK FOREST, IL 60452                    SAGINAW, AL 35137                        ATLANTA, GA 30384-9211




SUNBRIGHT CLEANING                      SUNBURY CLINIC COMPANY, LLC              SUNBURY HOSPITAL COMPANY, LLC
& MAINTENANCE SYSTEMS                   1209 ORANGE STREET                       1209 ORANGE STREET
P O BOX 1291                            WILMINGTON, DE 19801                     WILMINGTON, DE 19801
CARBONDALE, IL 62903




SUND, KUMIKO                            SUNDERLAND, SHERRY                       SUNDIGITAL
7004 STONEY CREEK DRIVE                 ADDRESS ON FILE                          203 NORTH PARK AVE
EDWARDSVILLE, IL 62025                                                           WILLIAMSTON, NC 27892




SUNDSTROM, MARTHA T.                    SUNLAND LEASING CO                       SUNMEDICA INC
4815 BROOKWOOD ST                       P.O. BOX 3262                            1661 ZACHI WY
EUGENE, OR 97405                        EL PASO, TX 79923                        REDDING, CA 96003




SUNMEDICA                               SUNPRO INC                               SUNRISE CREDIT SERVICES INC
1661 ZACHI WAY                          7640 WHIPPLE AVE NW                      P.O. BOX 9100
REDDING, CA 96003                       NORTH CANTON, OH 44720                   FARMINGDALE, NY 11735-9100




SUNSET HILLS MORTUARY INC               SUNSHINE HOUSE, THE                      SUNSHINE SHOP INC, THE
2400 WAALEW RD.                         205 E SUL ROSS AVE                       1912 CHURCH ST
APPLE VALLEY, CA 92307                  ALPINE, TX 79830                         NASHVILLE, TN 37203




SUNSTONE CONSULTING LLC                 SUNTECH MEDICAL INC                      SUNTRUST BANK - FD MGR.
1645 WHITLEY DR                         507 AIRPORT BLVD SUITE 117               TRUIST BANK
HARRISBURG, PA 17111                    MORRISVILLE, NC 27560                    TRUST FEE UNIT
                                                                                 P.O. BOX 26489
                                                                                 RICHMOND, VA 23261-6489



SUNTRUST BANK                           SUNUN, MARIA                             SUPER CIRCUITS
TRUST FEE UNIT                          P.O. BOX 1298                            15505 LONG VISTA DR
P.O. BOX 26489                          ROBERSONVILLE, NC 27871                  SUITE 250
RICHMOND, VA 23261-6489                                                          AUSTIN, TX 78728-0000
                      Case 20-10766-BLS
SUPER DUPER PUBLICATIONS                   Doc MASTERCARD
                                    SUPERFLEET   6 Filed 04/07/20   Page 1715  of 1969
                                                                         SUPERIOR AIR GROUND AMBULANCE
P.O. BOX 24997                      P.O. BOX 70995                        P O BOX 1407
GREENVILLE, SC 29616                CHARLOTTE, NC 28272-0995              ELMHURST, IL 60126




SUPERIOR AMBULANCE                  SUPERIOR AUTOCATHETER                 SUPERIOR CARPET
P.O. BOX 6482                       2137 VERMILLION ST                    P.O. BOX 1352
ALBQUERQUE, NM 87197                STE 250                               LAS VEGAS, NM 87701-1352
                                    HASTINGS, MN 55033




SUPERIOR ELEVATOR INSPECTIONS       SUPERIOR FIRE PROTECTION              SUPERIOR HEALTH PLAN
1730 GILSINN LANE                   AFPG, INC                             ATTN: REFUND DEPT
FENTON, MO 63026                    PO 74008409                           P.O. BOX 3000
                                    CHICAGO, IL 60674-8409                FARMINGTON, MO 63640




SUPERIOR HEALTH PLAN                SUPERIOR HEALTH PLANS                 SUPERIOR HEALTHPLAN
VASCULAR ULTRASOUND CLAIMS          5900 E BEN WHITE BLVD                 REFUDND DEPT:
P.O.BOX 664007                      SUITE 400                             P.O. BOX 3003
DALLAS, TX 72566                    AUSTIN, TX 78741                      FARMINGTON, MO 63640-3803




SUPERIOR LOCKSMITH INC              SUPERIOR MONITORING LLC               SUPERIOR PRINTING INC DBA SUPERIOR
7679 S REDWOOD RD                   712 S. MILWAUKEE AVE                  PRESS
WEST JORDAN, UT 84084               LIBERTYVILLE, IL 60048                9440 NORWALK BLVD
                                                                          SANTA FE SPRINGS, CA 90670




SUPERIOR RENTAL                     SUPERIOR SELECT HEALTH PLAN           SUPERIOR SOFT WATER, INC
P.O. BOX 3300                       P.O. BOX 3630                         3536 SOUTH 1950 WEST
EVANSTON, WY 82931-3300             LITTLE ROCK, AR 72202                 SALT LAKE CITY, UT 84119-3826




SUPERIOR WATER & AIR, INC           SUPERTECH, INC                        SUPP ALBERT
3536 S 1950 W                       4505 WYLAND DR SUITE 400              415 RIGGIN RD
WEST VALLEY CITY, UT 84119          ELKHART, IN 46516                     TROY, IL 62294




SUPPLEMENTAL HEALTH CARE            SUPPLY 4GI, LLC                       SUPPLY WORKS
P O BOX 677896                      19120 FREEPORT ST.                    P.O. BOX 404284
DALLAS, TX 75267-7896               NW UNIT 10                            ATLANTA, GA 30384
                                    ELK RIVER, MN 55330




SUPPLY WORKS                        SUPPLYWORKS                           SUPPORT PAYMENT CLEARINGHOUSE
PO BOX 404284                       P.O. BOX 404284                       P.O. BOX 52107
ATLANTA, GA 30384                   ATLANTA, GA 30384-4284                PHOENIX, AZ 85072-2107




SUPREME LAUNDRY & CLEANERS INC      SUPREME RADIO COMM                    SURAPANENI, KRISHNA
2630 E YANDELL                      4017 N PROSPECT                       5021 E CRESENT DR
EL PASO, TX 79903                   PEORIA HEIGHTS, IL 61616              ANAHEIM HILLS, CA 92807
SURE CLEAN EUGENE       Case 20-10766-BLS   Doc 6
                                      SURE PRINT       Filed 04/07/20      Page 1716  of 1969
                                                                                SURE PRINT
P.O. BOX 50576                        513 WEST PINE STREET                      SUITE A
EUGENE, OR 97405                      DEMING, NM 88030                          300 W SPRUCE
                                                                                DEMING, NM 88030




SURE-TECH DIAGNOSTICS ASSOCIAT        SURE-TECH                                 SURFACE TILE & CARPET
11040 LIN VALLE D                     11040 LIN-VALLE, STE D                    921 SOUTH DIAMOND AVE.
ST LOUIS, MO 63123                    ST LOUIS, MO 63123-7210                   DEMING, NM 88030




SURGE STAFFING LLC                    SURGE STAFFING                            SURGICAL ADVANTAGE, LLC
P.O. BOX 532240                       P.O. BOX 532240                           P.O. BOX 35565
ATLANTA, GA 30353                     ATLANTA, GA 30281-0000                    TULSA, OK 74153-0565




SURGICAL ASSOCIATES OF METRO          SURGICAL CARE AFFILIATES, LLC             SURGICAL CARE ASSOCIATES, LTD
ATLANTA LLC                           569 BROOKWOOD VILLAGE, SUITE 901          6703 159TH STREET, STE 110
AND DONALD MAYNARD MD                 BIRMINGHAM, AL 35209                      TINLEY PARK, IL 60477
2151-B WEST SPRING ST - STE 240
MONROE, GA 30655



SURGICAL CONCEPTS AND INNOVATIONS     SURGICAL CONCEPTS                         SURGICAL DIRECT INC
11757 KATY FREEWAY, 1300              4919 WARRENSVILLE CENTER RD               2355 CENTERLINE IND DR
HOUSTON, TX 77494                     CLEVELAND, OH 44128                       ST LOUIS, MO 63146




SURGICAL DIRECT INC                   SURGICAL DIRECT INC                       SURGICAL EQUIPMENT PEOPLE LLC, THE
2355 CENTERLINE INDUSTRIAL DR         ATTN: ACCOUNTS RECEIVABLE                 1725 LOUISVILLE DR
ST LOUIS, MO 63146                    909 S WOODLAND BLVD                       KNOXVILLE, TN 37912
                                      DELAND, FL 32720




SURGICAL EQUIPMENT PEOPLE LLC, THE    SURGICAL EQUIPMENT PEOPLE LLP, THE        SURGICAL EYE ASSOCIATES OF
1725 LOUISVILLE DR                    1725 LOUISVILLE DR                        TENNESSEE, LLC
KNOXVILLE, TN 37921                   KNOXVILLE, TN 37921                       112 STONEBRIDGE BLVD
                                                                                JACKSON, TN 38305




SURGICAL INSTRUMENT SERVICE           SURGICAL PRINCIPALS INC                   SURGICAL PRINCIPALS INC
151 N BRANDON DRIVE                   1625 SOUTH TACOMA WAY                     DBA THE OR COMPANY USD
GLENDALE HEIGHTS, IL 60139            TACOMA, WA 98409                          1625 S TACOMA WAY
                                                                                TACOMA, WA 98409




SURGICAL PRINCIPALS, INC.             SURGICAL SPECIALITIES                     SURGICAL SPECIALTIES CORP
1625 SOUTH TACOMA WAY                 PO BOX 419407                             P.O. BOX 419407
TACOMA, WA 98409                      BOSTON, MA 02241-9407                     BOSTON, MA 02241-9407




SURGILUM, LLC                         SURGIMARK INC                             SURGIMARK, INC
1717 SHIPYARD BLVD, STE 140           1703 CREEKSIDE LOOP                       1703 CREEKSIDE LOOP
WILMINGTON, NC 28403                  SUITE 110                                 SUITE 110
                                      YAKIMA, WA 98902                          YAKIMA, WA 98902
SURGIN INC              Case 20-10766-BLS    Doc INC.
                                      SURGI-TECH,  6 Filed 04/07/20    Page 1717
                                                                            SURIYAof 1969
                                                                                  WANNISA
P.O. BOX 511333                       557 WEST 600 SOUTH                    3116 WILLOW AVE
LOS ANGELES, CA 90051-7888            BOUNTIFUL, UT 84010                   GRANITE CITY, IL 62040




SURMAY, PAUL                         SURMITIS, JOSEPH                       SURPRENANT, SARAH
1202 ALPINE DR                       7600 HEARTHSTONE AVE NW                ADDRESS ON FILE
BRANDON, FL 33510-3208               NORTH CANTON, OH 44720




SURRATT, LORETTA                     SURROZ, ROSE                           SURVEY MONKEY INC
ADDRESS ON FILE                      125 FIELDSTONE CT                      15765 COLLECTIONS CENTER DR
                                     LAKE VILLA, IL 60046                   CHICAGO, IL 60693-5765




SURVEYMONKEY INC                     SURVEYMONKEYCOM LLC                    SURWALD, SHARON T.
ONE CURIOSITY WAY                    C/O BANK OF AMERICA LOCKBOX SERVICE    689 DELTA WAY
SAN MATEO, CA 94403                  15765 COLLECTIONS CENTER DR            WATSONVILLE, CA 95076
                                     CHICAGO, IL 60693




SUSAN A FOWLER                       SUSAN BAKER                            SUSAN BELL
3880 CR 700 E                        2110 CARROLL LAKE RD                   ADDRESS ON FILE
MCLEANSBORO, IL 62859                MCKENZIE, TN 38201




SUSAN CARSON                         SUSAN DISMORE                          SUSAN E MCVAY
1084 BROWN AVE                       9532 N. STRAW LANE                     P.O. BOX 14398
GALESBURG, IL 61401                  MT. VERNON, IL 62864-6362              AUGUSTA, GA 30919




SUSAN E STEELE                       SUSAN GRAY                             SUSAN H CROMPTON
9780 DEEPSTEP RD                     340 JAMESTOWN RD                       932 GLENCOE WAY
SANDERSONVILLE, GA 31082-4966        MACOMB, IL 61455                       EVANS, GA 30809




SUSAN HAWKINS                        SUSAN HILEMAN                          SUSAN HOLLIDAY
ADDRESS ON FILE                      1504 WEST MAIN ST                      1495 TICE ROAD
                                     COLLINSVILLE, IL 62234                 WILLIAMSTON, NC 27892




SUSAN JOHNSTON                       SUSAN KAMP                             SUSAN LYNN MUCHLER
570 ETNA STREET                      ADDRESS ON FILE                        ADDRESS ON FILE
RUSSELL, KY 41169




SUSAN PETTIS                         SUSAN R WELTY                          SUSAN ROBINSON ROBERSON
ADDRESS ON FILE                      7740 KENWOOD CR NW                     230 S. MAIN STREET
                                     MASSILLON, OH 44646                    EWING, IL 62836-1450
SUSAN SCHULTZ             Case 20-10766-BLS   Doc 6
                                        SUSAN TAYLOR        Filed 04/07/20   Page 1718
                                                                                  SUSAN of 1969
                                                                                        THOR
722 LILLIAN ST                           ADDRESS ON FILE                          1725 JEFFERSON ST
COLLINSVILLE, IL 62234                                                            GALESBURG, IL 61401




SUSAN WESTBROOK                          SUSAN, ASHLEY                            SUSAN, IWEMA
P.O. BOX 102                             265 COUNTY RD 43                         10608 S CENTRAL PARK
170 E BACK ST                            CEDAR BLUFF, AL 35959                    CHICAGO, IL 60655
HECKER, IL 62248




SUSANNE BRAMLETT                         SUSQUE-VIEW HOME INC                     SUSSMAN, PAMELA J.
53 HATHAWAY RD                           22 CREE DR                               ADDRESS ON FILE
MOBILE, AL 36608-1905                    LOCK HAVEN, PA 17745




SUTHERLAND, JAMES                        SUTHERLAND, JEREMY                       SUTHERLAND, LIZABETH A.
121 W SIMMONS ST                         755 BROADMORE WAY                        ADDRESS ON FILE
APT 502                                  TOOELE, UT 84074
GALESBURG, IL 61401




SUTHERLAND, STEPHANIE B.                 SUTIN THAYER & BROWNE APC                SUTIN THAYER & BROWNE APC
ADDRESS ON FILE                          6100 UPTOWN BLVD NE                      BURNS WHITE CTR
                                         STE 400                                  48TH 26 ST
                                         ALBUQUERQUE, NM 87110                    PITTSBURGH, PA 15222




SUTTELL & HAMMER PS                      SUTTER, ROSANNE                          SUTTERER, JOAN
P O BOX C-90006                          ADDRESS ON FILE                          200 EDNA LANE
BELLEVUE, WA 98009                                                                SPARTA, IL 62286




SUTTON, CYNTHIA                          SUTTON, GARY W.                          SUTTON, HARRY
10346 PARKMAN DR APT. B                  4026 INDIAN HILLS DR                     407 E WASHINGTON
ST. LOUIS, MO 63123                      AUGUSTA, GA 30906                        FAIRFIELD, IL 62837




SUTTON, JAMES, PA                        SUTTON, KAREN J.                         SUTTON, LEIGH A.
10249 N TAMARACK WAY                     ADDRESS ON FILE                          1008 HOWELL AVE
CEDAR HILLS, UT 84062                                                             BIG SPRING, TX 79720




SUTTON, NANCY ANNE                       SUTTON, ROBERT L.                        SUTTON, STEPHEN R.
1183 SKYLARK LN                          6 PIN OAK DR                             188 CORTEZ COVE
EUGENE, OR 97401                         TROY, IL 62294                           DYERSBURG, TN 38024




SUTTON-PETERSON, SUSAN                   SUTURE EXPRESS                           SUVER, MELODY
ADDRESS ON FILE                          P.O. BOX 842806                          416 W COLLEGE ST
                                         KANSAS CITY, MO 64184-2806               HARRISBURG, IL 62946
SUYDAM, AMANDA           Case 20-10766-BLS    Doc 6
                                       SUZAN THOMAS       Filed 04/07/20   Page 1719 of BURGE,
                                                                                SUZANNE 1969 MD
ADDRESS ON FILE                         ADDRESS ON FILE                         ADDRESS ON FILE




SUZANNE L BARNHART                      SUZANNE L SOWASH                        SUZETTE CORBIN
602 FAIRMOUNT AVE                       199 COUNTY ROAD 261                     170 SIDES DRIVE
SUNBURY, PA 17801-1671                  FORT PAYNE, AL 35967                    ALBERTVILLE, AL 35950




SUZETTE OSBURN PHOTOGRAPHY              SVENDSEN, JANICE WILLAND                SVMIC
2800 HWY 1 SOUTH                        1030 NORTH 1ST PLACE                    5005 MARYLAND WAY
MARIANNA, AR 72360                      SPRINGFIELD, OR 97477                   STE 300
                                                                                BRENTWOOD, TN 37027




SVOBODA, YOLANDA                        SVS PATIENT SAFETY ORGANIZATION         SWAFFORD, BRYAN W.
1404 BEACH ROAD                         38678 EAGLE WAY                         ADDRESS ON FILE
BEACH PARK, IL 60099                    CHICAGO, IL 60678-1386




SWAFFORD, DALTON                        SWAFFORD, DENVER                        SWAFFORD, JUANELL
ADDRESS ON FILE                         HC 60 BOX 249                           5079 BURRUSS MILL RD
                                        SALYERSVILLE, KY 41465                  CUMMING, GA 30041-8821




SWAFFORD, MICHAEL D.                    SWAFFORD, RENEE L.                      SWAGART, DOROTHY
ADDRESS ON FILE                         ADDRESS ON FILE                         2426 BEAUMONT AVE NW
                                                                                MASSILLON, OH 44647




SWAILS, CANDIS                          SWAIN, LELIA L                          SWAIN, NANCY
1044 COUNTY ROAD 87                     3826 RACE TRACK ROAD                    230 DELL DR NE
HENAGAR, AL 35978                       ROBERSONVILLE, NC 27871                 DEMING, NM 88030




SWAIN, THOMASINA                        SWALLOW, DENISE R.                      SWAN, JANICE L.
222 LILLY LANE                          8960 SHERIDAN RD APT. 3                 ADDRESS ON FILE
ROPER, NC 27970                         KENOSHA, WI 53143




SWAN, JOHNNY                            SWAN, MARGIE                            SWAN-BOLEN, SHARON R.
P.O. BOX 8                              7016 E HOBBES RD                        ADDRESS ON FILE
BENTON, IL 62812                        WOODLAWN, IL 62898




SWANGER, MARK                           SWANGO, PAMELA                          SWANN, JASON C.
4713 LONG RUN RD                        21944 STRODA LANE                       205 N ILLINOIS AVE
LOGANTON, PA 17747                      HARRISBURG, OR 97446                    WEST FRANKFORT, IL 62896
SWANN, SARAH J.         Case 20-10766-BLS  Doc
                                      SWANSON,   6 Filed 04/07/20
                                               ANGELA                       Page 1720 of 1969
                                                                                 SWANSON, BILLIE C.
ADDRESS ON FILE                        7515 25TH AVE                              70 BRIGGS ST
                                       KENOSHA, WI 53143                          MCCAYSVILLE, GA 30555




SWANSON, BRIDGETTE M.                  SWANSON, CODY R.                           SWANSON, JEROME
833 WILLARD ST.                        7964 AL 75                                 773 N SOANGETAHA RD
GALESBURG, IL 61401                    IDER, AL 35981                             GALESBURG, IL 61401




SWANSON, QUENTIN                       SWANSON, RUNCHANA                          SWANSON, TIFFANY
1793 MEADOW DR                         1784 BRETT STREET                          7907 W 97TH PL
GALESBURG, IL 61401                    TOOELE, UT 84074                           HICKORY HILLS, IL 60457




SWAPP, CRAIG                           SWARTWOOD, CHRISTOPHER                     SWARTZ, CHERYL
P.O. BOX 7093901                       175 KELLY DR                               8472 BEECHCREEK ST NW
SANDY, UT 84070                        JERSEY SHORE, PA 17740-6001                MASSILLON, OH 44646-9201




SWARTZENTRUBER, BRENT R.               SWARTZLANDER, MARY                         SWARTZLANDER, SALLY L.
2461 ASHWELL AVE. SW                   P.O. BOX 1034 18799 TRANSFORMER RD         P.O. BOX 396
MASSILLON, OH 44646                    VENETA, OR 97487                           RITTMAN, OH 44270




SWAYZE, ROBERT M.                      SWEANEY, CANDACE E.                        SWEANY, JAMES
ADDRESS ON FILE                        ADDRESS ON FILE                            ADDRESS ON FILE




SWEARENGIN, KAYLA                      SWEARINGEN DARLENE KAY                     SWEAT, AUDRA C.
205 S 47TH STREET                      78503 SEARS RD                             3685 HENDERSON ROAD
SPRINGFIELD, OR 97478                  COTTAGE GROVE, OR 97424                    SARDIS, TN 38371




SWEATT, JONETTA D.                     SWEATT, MONICA M.                          SWEENEY ALICE WENDLING
2701 CLANTON                           1717 POMONA DR.                            175 S GARDEN WAY, APT 317
BIG SPRING, TX 79720                   LAS CRUCES, NM 88011                       EUGENE, OR 97401-0000




SWEENEY, ASHLEY                        SWEENEY, CYNTHIA R.                        SWEENEY, DALLAS
124 LAURA FORK ROAD                    572 S. SADDLE RD                           255 RATLIFF TOWN ROAD
FORT GAY, WV 25514                     GRANTSVILLE, UT 84029                      LOUISA, KY 41230




SWEENEY, LORETTA                       SWEENEY, STEPHEN                           SWEENEY, WALTER E.
ADDRESS ON FILE                        P.O. BOX 36                                11854 S OAKLEY AVE
                                       ROBERTSON, WY 82944                        CHICAGO, IL 60643
                    Case 20-10766-BLS
SWEENY COMMUNITY HOSPITAL                DocPATISSERIE
                                  SWEET LIFE  6 Filed 04/07/20    Page 1721
                                                                       SWEET,of 1969
                                                                              ASHIA
305 N. MCKINNEY                   742 MONROE ST                        ADDRESS ON FILE
SWEENY, TX 77480                  EUGENE, OR 97402




SWEET, CAITLYN                     SWEET, TIFFINY K.                   SWEETBAY LANDSCAPING, INC
426 E MISSISSIPPI ST               10045 FREEMAN SPUR BLACKTOP         1004 29TH STREET
FORREST CITY, AR 72335             WEST FRANKFORT, IL 62896            ASHLAND, KY 41101




SWEETEN, ASHLEY N.                 SWEETEN, ASHLEY N.                  SWEETSER, CHERISH D.
ADDRESS ON FILE                    20899 NORTH MILLER LAKE LANE        ADDRESS ON FILE
                                   TEXICO, IL 62889




SWEEZEY, DEBRA                     SWEGLES, ALEXANDRA J.               SWELAM, SHERIF
3360 DOSTER RD                     6 SHEPHERDS PLACE                   1900 DILL ROAD APT 10
RUTLEDGE, GA 30663                 MONTEREY, CA 93940                  BARSTOW, CA 92311




SWENSEN, BARBARA J.                SWENSEN, DANA L.                    SWENSON, ANGIE
ADDRESS ON FILE                    ADDRESS ON FILE                     790 FAIRVIEW LOOP
                                                                       COTTAGE GROVE, OR 97424




SWENSON, CHRISTI L.                SWI,P JEAN                          SWIDINSKY, TEDDI
ADDRESS ON FILE                    10501 SANDALWOOD DR                 142 FRONTAGE ROAD 2142
                                   COLUMBIA, IL 62236                  LAS VEGAS, NM 87701-0000




SWIER, GINA E.                     SWIER, GINA E.                      SWIFT CREEK COURIER, THE
361 ARDON AVE                      4509 ALTURA ST                      236 MAIN ST
EUGENE, OR 97404                   EUGENE, OR 97404                    CAMPTON, KY 41301




SWIFT MEDICAL INC                  SWIFT, BRIAN                        SWIFT, ELIJAH
1 RICHMOND STREET WEST SUITE 300   1180 OAKVIEW DR                     529 GEORGIA CR
TORONTO, ON M5H 3W4                WILLIAMSTON, NC 27892               LOGANVILLE, GA 30052-6938
CANADA




SWIFT, MARSHA L.                   SWIGERT TIMOTHY A                   SWIGERT, TERRY
203 HIGH ST                        2540 JERDEN AVE                     511 E DETROIT AVE
ALMA, IL 62807                     GRANITE CITY, IL 62040              MONMOUTH, IL 61462




SWINAMER DEBORAH A                 SWINDELL, CHRISTOPHER               SWINDELL, MARION A.
38 KNIGHT DR                       11420 US HIGHWAY 264                ADDRESS ON FILE
ELLIJAY, GA 30540                  SWANQUATER, NC 27885-9216
SWINDERMAN, DANIELLE Case 20-10766-BLS    Doc
                                   SWINDLE,     6 Filed 04/07/20
                                             MISTY                 Page 1722 of 1969PAMELA
                                                                        SWINDLEHURST,
4245 TANSY CR NW                   P.O. BOX 56                          P.O. BOX 603
MASSILLON, OH 44646-1316           MELLWOOD, AR 72367                   EVANSTON, WY 82931




SWINDLEHURST, PAMELA                SWINDLEHURST, WESTON                SWINDLEHURST, WESTON
ADDRESS ON FILE                     215 KINGFISHER AVE                  ADDRESS ON FILE
                                    EVANSTON, WY 82930




SWINEHART, AMY                      SWINEHART, BROOK                    SWINEHART, FRANK V.
7502 LYNX AVE NE                    66 CLOVER LN                        55726 THRASHERS COURT
CANTON, OH 44721-2130               LOCK HAVEN, PA 17745                INDIAN LAND, SC 29707




SWINEHART, RANDAL G.                SWINEY, JENNIFER                    SWINEY, PATRICIA
ADDRESS ON FILE                     ADDRESS ON FILE                     232 OLD GIBSON RD
                                                                        HAMLET, NC 28345




SWINFORD PUBLICATIONS               SWINFORD, CHRISTIE                  SWINGING ON A STAR
P.O. BOX 10                         ADDRESS ON FILE                     28241 CROWN VALLEY PKWY, F150
1205 TOWER SQUARE PLAZA                                                 LAGUNA NIGUEL,, CA 92677
MARION, IL 62959




SWINNEY, VICTOR R.                  SWISE ROSEMARY L                    SWISHER, ANITA L.
ADDRESS ON FILE                     49 CIRCLE DR                        884 9TH STREET NE
                                    GALESBURG, IL 61401                 MASSILLON, OH 44646




SWISS LOG TRANSLOGIC CORPORATION    SWITZER, KEITH A.                   SWONGER, KIMBERLY
11325 MAIN ST                       9976 CHAMPAIGN RD                   10085 NAVARRE RD SW
BROOMFIELD, CO 80020                JOHNSTON CITY, IL 62951-2937        NAVARRE, OH 44662-9403




SWOPE, PIETRA                       SWOPES, COLEEN U.                   SWORD, JOYCE
2609 DENVER ST.                     2118 BOSTON AVE SE                  236 C ST SW
GRANITE CITY, IL 62040              FORT PAYNE, AL 35967                NAVARRE, OH 44662




SWORD, MARY E.                      SWORD, RUFUS                        SWORTWOOD, WILLIAM E.
ADDRESS ON FILE                     P.O. BOX 752                        P.O. BOX 213
                                    FORT GAY, WV 25514                  LAMAR, PA 16848




SYBIL KEMP                          SYDNEY HUGHES                       SYED HALDER IMAM
664 IRIS LN                         2502 LYNN DR                        421 N CLITON STREET
WINDER, GA 30680                    BIG SPRING, TX 79720                APT 219
                                                                        SYRACUSE, NY 13204
SYKES, AURA            Case 20-10766-BLS    Doc 6 Filed
                                     SYKES, KARENNYTHIA E. 04/07/20       Page 1723 ofHERME
                                                                               SYLORA, 1969
1508 OLIVE ST                          ADDRESS ON FILE                         608 PRESTWICK DR
HIGHLAND, IL 62249                                                             FRANKFORT, IL 60423




SYLVAN FIBEROPTICS                     SYLVESTER, LARRY G.                     SYLVESTER, NATALIE
P.O. BOX 501                           62 COUNTY RD 500 N                      2340 FOXWOOD DR.
IRWIN, PA 15642                        THOMPSONVILLE, IL 62890                 NEW LENOX, IL 60451




SYLVESTER, PATIENCE                    SYLVIA A HEUSTESS                       SYLVIA CAMPOS
ADDRESS ON FILE                        5439 HWY 1 S                            12936 HIGHLAND AVE
                                       FORREST CITY, AR 72335                  BLUE ISLAND, IL 60406




SYLVIA CANTU                           SYLVIA HENRIQUEZ                        SYLVIA TAYLOR
1616 HARDING                           ADDRESS ON FILE                         1501 WOODLAND POINT DR
BIG SPRING, TX 79720                                                           APT 410
                                                                               NASHVILLE, TN 37214




SYLVIA TORREZ                          SYMANSKI, HENRY                         SYMBOLARTS LLC
224 PERTH AVE                          11 PHILHOWER RD                         6083 SOUTH 1550
BARSTOW, CA 92311                      CALIFON, NJ 07830                       OGDEN, UT 84405




SYMMETRY SURGICAL COLLECTIONS          SYMMETRY SURGICAL                       SYMMETRY SURGICAL
P.O. BOX 759159                        P.O. BOX 759159                         SSI COLLECTIONS
BALTIMORE, MD 21275-9159               BALTIMORE, MD 21275-9159                PO BOX 759159
                                                                               BALTIMORE, MD 21275-9159




SYMPHONY ASSET MANAGEMENT              SYMPHONY ASSET MANAGEMENT               SYMPHONY ASSET MANAGEMENT
BAYCITY ALTERNATIVE INVESTMENT         BAYCITY SENIOR LOAN MASTER FUND LTD.    GOLDMAN SACHS TRUST II GOLDMAN
FUNDS SICAV-SIF- BAYCITY US SENIOR                                             SACHS MULTI-MANAGER NON-CORE FIXED
LOAN FUND                                                                      INCOME FUND




SYMPHONY ASSET MANAGEMENT              SYMPHONY ASSET MANAGEMENT               SYMPHONY ASSET MANAGEMENT
MENARD INC-1                           MUNICIPAL EMPLOYEES ANNUITY AND         NOMURA MULTI MANAGERS FUND - GLOBAL
                                       BENEFIT FUND OF CHICAGO 1               BOND-1




SYMPHONY ASSET MANAGEMENT              SYMPHONY ASSET MANAGEMENT               SYMPHONY ASSET MANAGEMENT
NUVEEN CREDIT STRATEGIES INCOME FD     NUVEEN FLOATING RATE INCOME FUND        NUVEEN FLOATING RATE INCOME
                                                                               OPPORTUNITY FUND




SYMPHONY ASSET MANAGEMENT              SYMPHONY ASSET MANAGEMENT               SYMPHONY ASSET MANAGEMENT
NUVEEN SENIOR INCOME FUND              NUVEEN SHORT DURATION CREDIT            NUVEEN SYMPHONY FLOATING RATE
                                       OPPORTUNITIES FUND                      INCOME FUND
                     Case 20-10766-BLS
SYMPHONY ASSET MANAGEMENT                 DocASSET
                                   SYMPHONY     6 Filed   04/07/20 Page 1724
                                                    MANAGEMENT                of 1969
                                                                        SYMPHONY   ASSET MANAGEMENT
PENSIONDANMARK                     PRINCIPAL DIVERSIFIED REAL ASSET CIT PRINCIPAL FUNDS INC,-DIVERSIFIED REAL
PENSIONSFORSIKRINGSAKTIESELSKAB-1                                       ASSET FUND




SYMPHONY ASSET MANAGEMENT             SYMPHONY ASSET MANAGEMENT             SYMPLR
SYMPHONY CLO XVII, LTD                SYMPHONY FLOATING RATE SENIOR LOAN    124 FIRST AVENUE SOUTH
                                      FUND                                  SUITE 200
                                                                            FRANKLIN, TN 37064




SYNCB/AMAZON                          SYNERGY BUSINESS ENVIRONMENTS         SYNERGY CLAIMS
P.O. BOX 530958                       800 6TH AVE SOUTH                     217 S TRYON STREET
ATLANTA, GA 30353-0958                STE 200                               CHAROLETTE, NC 28202
                                      NASHVILLE, TN 37203




SYNERGY COVERAGE SOLUTIONS            SYNERGY SURGICALISTS, INC.            SYNISKI, STEPHEN
217 SOUTH TRYON ST                    280 W. KAGY BOULEVARD                 11671 SILVERCREEK ROAD
CHARLOTTE, NC 28202                   SUITE D, 320                          ALHAMBRA, IL 62001
                                      BOZEMAN, MT 59715




SYNTHES USA                           SYNTHES USA                           SYNTHES USA
5972 COLLECTIONS CENTER DRIVE         P.O. BOX 8538 662                     P.O. BOX 8538-662
CHICAGO, IL 60693                     PHILADELPHIA, PA 19171-0662           PHILADELPHIA, PA 19171




SYNTHES USA                           SYNTHES                               SYSCO ATLANTA LLC
P.O. BOX 8538-662                     DO NOT USE                            P.O. BOX 490379
PHILADELPHIA, PA 19171-0662           PHILADELPHIA, PA 19171-0662           ATLANTA, GA 30349




SYSCO CORPORATION                     SYSCO CORPORATION                     SYSCO FOOD OF CENTRAL ALABAMA
P.O. BOX 5910                         SYSCO LAS VEGAS                       1000 SYSCO DRIVE
LUBBOCK, TX 79408                     6201 E CENTENNIAL PRKWY               CALERA, AL 35040
                                      LAS VEGAS, NV 89115-1775




SYSCO FOOD SERVICE OF ST LOUIS        SYSCO FOOD SERVICES OF NM             SYSCO FOOD SERVICES RALEIGH LL
3850 MUELLER ROAD                     P O BOX 25887                         P.O. BOX 129
ST CHARLES, MO 63301                  ALBUQUERQUE, NM 87125-5887            SELMA, NC 27576-9105




SYSCO FOOD SERVICES                   SYSCO FOOD SERVICES                   SYSCO FOOD SERVICES, INC
3850 MUELLER RD                       P.O. BOX 2210                         P.O. BOX 490379
ST CHARLES, MO 63301-8042             WILSONVILLE, OR 97070                 COLLEGE PARK, GA 30349




SYSCO INTERMOUNTAIN                   SYSCO LOS ANGELES, INC                SYSCO MEMPHIS
P.O. BOX 190                          P.O. BOX 1508                         4359 BF GOODRICH BLVD
WEST JORDAN, UT 84084                 WALNUT, CA 91788-1508                 MEMPHIS, TN 38118-7306
SYSCO NEW MEXICO      Case 20-10766-BLS    Doc 6 Filed
                                    SYSCO/LOUISVILLE       04/07/20
                                                      FOOD SERVICES    Page 1725 of 1969
                                                                            SYSCO/SFS OF ST. LOUIS
P.O. BOX 25887                      P.O. BOX 32470                           3850 MUELLER RD
601 COMANCHE ROAD NE                LOUISVILLE, KY 40232                     ST CHARLES, MO 63301-8042
ALBUQUERQUE, NM 87125




SYSMEX AMERICA INC                   SYSMEX AMERICA INC                      SYSMEX AMERICA INC
28241 NETWORK PL                     28241 NETWORK PL                        577 APTAKISIC RD
CHICAGO, IL 60673                    CHICAGO, IL 60673-1282                  LINCOLNSHIRE, IL 60069




SYSTEM 13, INC                       SYSTEM SERVICE SPECIALIST               SYSTEMATIC ART INC
1648 STATE FARM BLVD                 148 WEST MUTTON HOLLOW RD               9190 W OLYMPIC BLVD STE 301
CHARLOTTLESVILLE, VA 22911-0000      KAYSVILLE, UT 84037-0000                BEVERLY HILLS, CA 90212




SYSTEMS WEST ENGINEERS INC           SYZYGY MEDICAL, LLC                     SZABO, MILDRED L.
411 HIGH STREET                      1200 E BROADWAY                         1107 LONGBRANCH DRIVE NE
EUGENE, OR 97401-2427                ALTON, IL 62002                         CANTON, OH 44714




SZCZEBLEWSKI, PATRICIA K.            SZCZEPANSKI, LAWRENCE                   SZEWCZYK, MEGAN E.
4479 PARK ST                         6949 SWAN ROAD                          2043 38TH PLACE
MULKEYTOWN, IL 62865                 TAMAROA, IL 62888                       HIGHLAND, IN 46322




SZMUC, RICHARD                       SZOSTAK, RHONDA                         SZULC, EVA M.
23869 HIGH PASS ROAD                 2298 STATE RT 13                        13620 AMELIA DR
JUNCTION CITY, OR 97448              COULTERVILLE, IL 62237                  LEMONT, IL 60439




SZYMANEK, ROBERT                     SZYMANSKI DONNA                         SZYMECZEK, SOPHIA ANGELA
ADDRESS ON FILE                      11932 S LOCKWOOD AVE                    4288 WEST PINE STREET
                                     ALSIP, IL 60803                         FARMVILLE, NC 27828




SZYPURA, ANNE M.                     T & T LOGISTICS LLC                     T HAM SIGN INC
ADDRESS ON FILE                      P.O. BOX 1282                           P.O. BOX 155
                                     MARYLAND HEIGHTS, MO 63043-0282         MT. VERNON, IL 62864




T MADDEN & ASSOCIATES                T.E. DELOSS EQUIPMENT RENTALS           T.M.H.P.
114 S MAIN ST                        P.O. BOX 459                            ATTN: MEDICAID AUDITS
JONESBORO, GA 30236                  BARSTOW, CA 92312-0459                  12357-B RIATA TRACE PRKWAY
                                                                             AUSTIN, TX 78727




TAAKA, KAREN A.                      TAAKA, SCOTT D.                         TAAKA, SCOTT D.
ADDRESS ON FILE                      17045 E. MARLOW RD.                     ADDRESS ON FILE
                                     MT. VERNON, IL 62864
TAALA, ORDIS TOM S.    Case 20-10766-BLS    Doc 6 COFiled
                                     TAB PRODUCTS           04/07/20
                                                       DBA AMES         Page 1726  of 1969CO LLC
                                                                             TAB PRODUCTS
3270 DEL MONTE BLVD APT 42           24923 NETWORK PLACE                      AMES
MARINA, CA 93933                     CHICAGO, IL 60673-1249                   24923 NETWORK PL
                                                                              CHICAGO, IL 60673-1249




TABARES, JAVIER                       TABB, VERNEISHA J.                      TABEEFAR, HAMED
1145 JOHNS LANDING CT                 105 AUTUMN PINE DR 7                    885 WESTMORELAND DR 15
LAWRENCEVILLE, GA 30045-7170          FAIRVIEW HEIGHTS, IL 62208              VERNON HILLS, IL 60061




TABETHA COLE                          TABOR, JON M.                           TABOR, ROBERT W.
ADDRESS ON FILE                       P.O. BOX 223                            597 NELSON AVE
                                      ALPINE, TX 79831                        TOOELE, UT 84074




TABOR. LINDSEY N                      TABOTABO, MARIA A.                      TABUENA, ARMIDA A.
905 E REEVES ST                       ADDRESS ON FILE                         ADDRESS ON FILE
MARION, IL 62959




TAC MED, INC.                         TACKER, TREY                            TACKETT, ANDREA
P.O. BOX 1646                         P.O. BOX 137                            1239 MEADES BRANCH RD
MISSION, TX 78573                     MARION, AR 72364                        LOUISA, KY 41230




TACKETT, BRANDI S.                    TACKETT, CECIL C.                       TACKETT, KIMBERLY B.
ADDRESS ON FILE                       ADDRESS ON FILE                         85 OLD MILITARY RD E
                                                                              COLT, AR 72326




TACKETT, LINDA                        TACKETT, MARIA A.                       TACORE MEDICAL
1560 GREEN VALLEY RD                  ADDRESS ON FILE                         P.O. BOX 1344
STAFFORDSVILLE, KY 41256                                                      LAKE DALLAS, TX 75065




TACY MEDICAL, INC.                    TACY MEDICAL, INC.                      TACY MEDICAL, INC.
2386 SHANNON RD                       ATTN ACCOUNTS PAYABLE                   POB 15807
FERNANDINA BEACH, FL 32034            P.O. BOX 15807                          FERNANDINA BEACH, FL 32035
                                      FERNANDINA BEACH, FL 32035-3114




TADAAKI KOKAJI                        TADDA, MARION                           TADLOCK, HUNTER
1299 BERTHA HOWE AVE                  12230 S RIDGELAND AVE                   1046 CEDAR HILL DR
MESQUITE, NV 89027                    PALOS HEIGHTS, IL 60463                 WILLIAMSTON, NC 27892




TADLOCK, JIMMY B                      TAFFER, HAYLEY K.                       TAFFER, HUNTER LAYNE
350 TOLLGATE RD                       ADDRESS ON FILE                         44411 US HWY 17
ANNA, IL 62906                                                                WILLIAMSTON, NC 27892
TAFOYA, ANGELICA       Case 20-10766-BLS
                                     TAFOYA,Doc  6 Filed 04/07/20
                                             BRITTANY               Page 1727 ofJESUS
                                                                         TAFOYA, 1969
500 MOUNTAIN VIEW DR APT 26          ADDRESS ON FILE                     823 SMITH LN
LAS VEGAS, NM 87701                                                      LAS VEGAS, NM 87701




TAFOYA, WILFRED                     TAFT, AMIE                           TAG TRUCK ENTERPRISES MED DUTY
ADDRESS ON FILE                     4105 PARKWAY                         673 E BROOKS RD
                                    BIG SPRING, TX 79720                 MEMPHIS, TN 38116




TAGELDIN, MUMEN                     TAGGART, BARRY                       TAGGART, DONNA
3410 VETERANS MEMORIAL DR APT 814   807 E BUZIANIS WAY                   1371 WASHINGTON ST
MT. VERNON, IL 62864                TOOELE, UT 84074                     EUGENE, OR 97401




TAGGART, SUSAN                      TAGGART, TERENCE                     TAGLIAVIA, HELENE M.
807 BUZIANIS WAY                    1017 ORIOLE DR                       10455 W YORK HOUSE RD
TOOELE, UT 84074                    OFALLON, IL 62269                    BEACH PARK, IL 60087




TAGUDAR, MANUEL T.                  TAING, VANNAK                        TAIT MICHAEL
1002 S PRINCETON CT                 ADDRESS ON FILE                      126 SANDSTONE DRIVE
WAUKEGAN, IL 60085                                                       EVANSTON, WY 82930




TAIT, ANNETTE H.                    TAIT, MICHAEL                        TAIT, PAMELA
17991 NEW OHIO COAL RD              126 SANDSTONE DR                     200 N WILLOW ST
P.O. BOX 232                        EVANSTON, WY 82930                   MESQUITE, NV 89027-4714
PITTSBURG, IL 62974




TAKAHASHI MIKE                      TAKALA, RANDY                        TAKE, RANDY
2500 HARVEST LN                     ADDRESS ON FILE                      909 WEST MAIN ST
SPRINGFIELD, OR 97477                                                    ALHAMBRA, IL 62001




TAKENOBU, HARIYA                    TAKKT AMERICAN HOLDING INC           TALAAT MAXIMOUS
3005 COOPERATE DR                   HUBERT COMPANY LLC                   820 EAST MOUNTAIN VIEW ST.
WINCHESTER, KY 40391                25401 NETWORK PL                     BARSTOW, CA 92311
                                    CHICAGO, IL 60673-1254




TALAMANTES, GEORGINA                TALAMONTI, DEBORAH A.                TALAMPAS, JUN
282 MANFRE RD                       300 JAY RAY COURT                    ADDRESS ON FILE
WATSONVILLE, CA 95076               MANTENO, IL 60950




TALAVERA, STARLA R.                 TALBERT, COURTNEY                    TALBERT, JENNIFER J.
6804 N. CAPITAL OF TEXAS HWY 314    73 STONEBROOK DR                     9731 S WENTWORTH AVE
AUSTIN, TX 78731                    HIGHLAND, IL 62249                   CHICAGO, IL 60628
TALBERT, TERRY           Case 20-10766-BLS
                                       TALBOT,Doc 6
                                              CHLOE      Filed 04/07/20   Page 1728  ofNATHAN
                                                                               TALBOT,  1969
110 EAST SECOND ST                      729 EINSTEIN PLACE                     ADDRESS ON FILE
P.O. BOX 168                            GILROY, CA 95020
GALESBURG, IL 61401




TALBOTT, MARK                           TALENT PLUS, INC                       TALENTWISE INC
15 ANGLING RD                           ONE TALENT PLUS WAY                    P.O. BOX 3876
GALESBURG, IL 61401                     LINCOLN, NE 68506-5987                 SEATTLE, WA 98124-3876




TALENTWISE, INC.                        TALENTWISE, INC.                       TALENTWISE, INC.
P.O. BOX 102255                         P.O. BOX 3876                          PO BOX 102255
PASADENA, CA 91189                      SEATTLE, WA 98124-3876                 PASADENA, CA 91189




TALIAFERRO, BOBBIE                      TALICITY MARSHALL                      TALL TREE ADMINISTRATORS
210 157TH ST                            4011 9TH ST NW                         P.O. BOX 1807
CALUMET CITY, IL 60409                  CANTON, OH 44708-3757                  DRAPER, UT 84020




TALL TREE ADMINISTRATORS                TALL TREE ADMINISTRATORS               TALL TREE ADMINISTRATORS
P.O. BOX 1807                           P.O. BOX 71570                         P.O. BOX 71747
DRAPER, UT 84020-0000                   SALT LAKE CITY, UT 84171-0570          SALT LAKE CITY, UT 84171




TALLA, MICHELE                          TALLENT, DEBORAH                       TALLENT, GREGORY S.
ADDRESS ON FILE                         P.O. BOX 586                           ADDRESS ON FILE
                                        CEDAR BLUFF, AL 35959




TALLEY FLOWERS                          TALLEY JAMES PERRY                     TALLEY, BRIAN
ADDRESS ON FILE                         3597 HAYDEN BRIDGE RD                  70 AVIAN TRAIL
                                        SPRINGFIELD, OR 97477-0000             MURPHY, NC 28906




TALLEY, BRITTANY A.                     TALLEY, JENNIFER R.                    TALLEY, KELLY L.
3833 EDMONDS DR                         ADDRESS ON FILE                        ADDRESS ON FILE
SCOTTSBORO, AL 35769




TALLEY, RICKI M.                        TALLEY,GARY D.                         TALLY, ASHLEY
ADDRESS ON FILE                         7352 COUNTY RD 121                     ADDRESS ON FILE
                                        FORT PAYNE, AL 35968




TALUSAN, JONATHAN                       TAMAKLOE, PRINCE                       TAMAYO, VICTOR
1128 SILLS CT. APT 3                    7727 SOUTH COLFAX AVE APT., 3A         3632 EDWARD DR
CAPITOLA, CA 95010                      CHICAGO, IL 60649                      CRETE, IL 60417-1517
TAMIKA ROBINSON            Case 20-10766-BLS
                                         TAMIKA Doc   6 Filed 04/07/20
                                                S. GAINER                 Page 1729 ofHEATHER
                                                                               TAMMEN, 1969 M.
7216 S SEELEY AVE                         P.O.BOX 1611                         300 MINERAL SPRINGS RD
CHICAGO, IL 60636-3730                    111 WILLOW ACRES                     BLUE RIDGE, GA 30513
                                          WILLIAMSTON, NC 27892




TAN YING                                  TAN, ERICSON C.                      TAN, RUDYARD A.
2830 CAPITAL DR                           ADDRESS ON FILE                      ADDRESS ON FILE
EUGENE, OR 97403




TANAEL, MICHAEL AARON M.                  TANAEL, RONALD A.                    TANG, DARLA
ADDRESS ON FILE                           ADDRESS ON FILE                      512 DELEVAN ST
                                                                               COLLINSVILLE, IL 62234




TANKERSLEY, JANICE R.                     TANKERSLEY, TERA                     TANKOLOGY
137 KEENER ST                             192 TENNIS COURT                     P.O. BOX 201567
HARLEM, GA 30814-3534                     BLUE RIDGE, GA 30513                 AUSTIN, TX 78720-1567




TANKSLEY, CYNTHIA D.                      TANNER DUCHARME                      TANNER, ALIESHA M
4341 WHITE PINE CT                        609 VALLEY VIEW DR                   4068 FORSYTHIA ST
AUGUSTA, GA 30906-8122                    MESQUITE, NV 89027                   SPRINGFIELD, OR 97478




TANNER, ANDREW                            TANNER, CHRIS D.                     TANNER, MICAH
MOUNTAIN HIGH ELECTRONICS                 3101 TOWNBLUFF DR APT. 114           P.O. BOX 703
3155 S AUTUMN BLAZE COVE                  PLANO, TX 75075                      BLAIRSVILLE, GA 30514
WEST VALLEY CITY, UT 84128




TANNER, O.C.                              TANNER, O.C.                         TANNER, RICHARD
1930 SOUTH STATE ST                       P.O. BOX 410023                      ADDRESS ON FILE
SALT LAKE CITY, UT 84115                  SALT LAKE CITY, UT 84141-0023




TANNER, RICHARD                           TANNER, ROYCE                        TANNER, STEVEN
ADDRESS ON FILE                           2020 BUTTERFLY LN                    5344 LUVERNE HWY
                                          MONROE, GA 30655-5539                GREENVILLE, AL 36037




TANNER, TAMBERLYN                         TANNICA PARHAM                       TANNICA PARHAM
33 ALBION ST                              ADDRESS ON FILE                      ADDRESS ON FILE
MCCAYSVILLE, GA 30555




TANT, BETHENY                             TANTENGCO, FRIEDO MARIO              TANTOCO, WYNDEE S.
8042 BIENVILLE DR A107                    2750 ALAN CT                         179 W ELMWOOD DR
NASHVILLE, TN 37211                       WAUKEGAN, IL 60085                   CHICAGO HEIGHTS, IL 60411
TANTON, WILLIAM       Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                    TANYA RUSSELL                         Page 1730  of 1969
                                                                               TANYA SKINNER
2260 IBSEN AVE                      128 RIDGEFIELD DR                          301 E NORTH ST
COTTAGE GROVE, OR 97424-1902        MADISON, MS 39110-7487                     KNOXVILLE, IL 61448




TAO, RICHARD S.                    TAOS HEALTH SYSTEMS, INC. D/B/A HOLY        TAOS HEALTH SYSTEMS, INC.
ADDRESS ON FILE                    CROSS HOSPITAL                              HOLY CROSS HOSPITAL
                                   1397 WEIMER ROAD                            1397 WEIMER RD
                                   TAOS, NM 87571                              TAOS, NM 87571-6253




TAOS ORTHOPEDIC INSTITUTE          TAP INDUSTRIES                              TAPIA, AMANDA L.
1219-A GUSDORF RD                  35 N CONALCO DR                             P.O. BOX 32
TAOS, NM 87571                     JACKSON, TN 38301                           SERAFINA, NM 87569




TAPIA, FELIPE                      TAPIA, JENNIFER D.                          TAPIA, PHYLLIS A.
ADDRESS ON FILE                    ADDRESS ON FILE                             ADDRESS ON FILE




TAPIADOR, MILAGROS R.              TAPLIN, TRACY                               TARDIFF, MELANIE
1415 HICKORY ST                    4920 MARY CT                                2422 N SIMSON WAY APT 2D
WAUKEGAN, IL 60085                 COUNTRY CLUB HILLS, IL 60478                WAUKEGAN, IL 60087




TAREK DAMMAD, M.D.                 TARGET SOLUTIONS LEARNING LLC               TARIQ, AMBREEN F., M.D.
465 SAINT MICHAELS DR              4890 W KENNEDY BLVD                         4880 SAND DUNE CIRCLE
STE 209                            SUITE 300                                   APT 204
SANTA FE, NM 87505                 TAMPA, FL 33609                             WEST PALM BEACH, FL 33417




TARLETON, DEBRA                    TARLTON, LINDA                              TAROCHIONE, ROBERTA
1107 EVERGREEN DR NW               420 SOUTH MILL ST                           32766 N OVERCASH RD
STRASBURG, OH 44680                HARRISBURG, IL 62946                        LONDON MILLS, IL 61544




TARRACCIANO, STEPHANIE             TARRAGANO, JESSICA S.                       TARRANT, JULIE M.
1200 JAMES WALTER DR               ADDRESS ON FILE                             1727 SANTA ROSA ST
LOGANVILLE, GA 30052                                                           EUGENE, OR 97404




TARRANT, RALENE I.                 TARTER, CATHY M.                            TARTER, SARAH L.
ADDRESS ON FILE                    1251 ACORN ST                               ADDRESS ON FILE
                                   LEMONT, IL 60439




TARVER, KENNETHIAN                 TARVER, MARIAH                              TARWOOD, JEFFRY A.
7428 WILD BRICK DR                 7954 S GREEN ST                             2213 20TH ST
DALLAS, TX 75342                   CHICAGO, IL 60620                           ZION, IL 60099
TASTE OF GALESBURG        Case 20-10766-BLS    Doc
                                        TASTE OF    6 Filed 04/07/20
                                                 GALESBURG              Page 1731   of 1969
                                                                             TATE, AMY M.
P.O. BOX 304                             PO BOX 304                          115 REGENT ST
GALESBURG, IL 61402                      GALESBURG, IL 61402                 DOVER, OH 44622




TATE, CATHRINE M.                        TATE, COLTON D.                     TATE, ERIC J.
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




TATE, GERRI                              TATE, JON M.                        TATE, KIMBERLY
190 W VINE ST                            ADDRESS ON FILE                     ADDRESS ON FILE
GRANTSVILLE, UT 84029




TATE, MARY A                             TATE, SHAMIRA                       TATES PLUMBING, LLC
17658 LARKIN LANE                        4129 216TH ST                       571 RACETRACK RD
COUNTRY CLUB HILLS, IL 60478             MATTESON, IL 60443                  CENTRALIA, IL 62801




TATHAM, MARY L.                          TATIANA, HENRY                      TATRO, DAWN M.
ADDRESS ON FILE                          20 ROOSEVELT BLVD                   ADDRESS ON FILE
                                         BERLIN, NJ 08009-1193




TATRO, MARIA                             TATTEGRAIN, ADELINE                 TATUM BEARD
ADDRESS ON FILE                          18560 CEDAR AVE                     3945 LYNDALE DR NW
                                         COUNTRY CLUB HILLS, IL 60478        FORT PAYNE, AL 35968




TATUM BEARD                              TATUM LANCE                         TATUM, PAUL
3945 LYNDALE DRIVE NW                    13914 S INDIANA                     80 SEACLIFF DR
FORT PAYNE, AL 35968                     APT G-E                             APTOS, CA 95003
                                         RIVERDALE, IL 60827




TAUBE, MICHELLE J, M.D.                  TAUBER, ROBERT                      TAUCER, KENT A.
ADDRESS ON FILE                          3040 SANDY CREEK CT                 ADDRESS ON FILE
                                         LOGANVILLE, GA 30052




TAULA, PELENATO                          TAULBEE, IDA                        TAULBEE, KIMBERLY J.
714 NORTH 310 EAST                       600 TRACE FORK RD                   ADDRESS ON FILE
TOOELE, UT 84074                         JACKSON, KY 41339




TAULBEE, MANUELA                         TAULBEE, MELANIE M.                 TAULBEE, TASHIA L.
6613 HARVEST LANE                        ADDRESS ON FILE                     125 KINGS RIDGE RD 19
STANSBURY PARK, UT 84074                                                     JACKSON, KY 41339
TAULBEE, TASHIA          Case 20-10766-BLS   DocELEANOR
                                       TAURENCE,  6 Filed 04/07/20       Page 1732 of GUADALUPE
                                                                              TAVAREZ, 1969     V.
1196 MAIN ST                            402 IRWIN ST                           ADDRESS ON FILE
JACKSON, KY 41339                       LOCK HAVEN, PA 17745-2318




TAVCOM, INC.                            TAVII, PEARL                           TAWNEY, THOMAS
9 EAST LOOCKERMAN ST                    15 CEDAR RUN LANE                      610 HARRISON AVE. S.W.
STE 202-416                             APT 10                                 CANTON, OH 44706
DOVER, DE 19901                         LAKE ST LOUIS, MO 63367




TAXATION & REVENUE DEPT                 TAXATION & REVENUE DEPT                TAXI, TIPSY
STATE OF NEW MEXICO                     STATE OF NEW MEXICO                    P.O. BOX 131
P O BOX 25128                           P.O. BOX 25128                         ALPINE, TX 79831
SANTA FE, NM 87504-5128                 SANTA FE, NM 87504-5128




TAYLON, GARY                            TAYLOR BROTHERS OF UTAH INC            TAYLOR HICKS
1565 SCANDIA ST                         P.O. BOX 16393                         P.O. BOX 178
EUGENE, OR 97402                        BOISE, ID 83715                        MOUNTAIN VIEW, WY 82939




TAYLOR JIMMY C                          TAYLOR, AJONI                          TAYLOR, ALFRED
P.O. BOX 813                            ADDRESS ON FILE                        125 LAKELAND CIRCLE
DUCKTOWN, TN 37326                                                             MOUNT GILEAD, NC 27306




TAYLOR, ALOAH D.                        TAYLOR, AMANDA                         TAYLOR, AMBER
128 SUNDOWN LN                          824 W. 700 S.                          ADDRESS ON FILE
BRINKLEY, AR 72021                      TOOELE, UT 84074




TAYLOR, ANGELA C.                       TAYLOR, ANGELA                         TAYLOR, ANNIE M.
ADDRESS ON FILE                         ADDRESS ON FILE                        15796 AL HIGHWAY 75
                                                                               HENAGAR, AL 35978




TAYLOR, ASHLEY L                        TAYLOR, ASHLEY                         TAYLOR, ASHLEY
ADDRESS ON FILE                         ADDRESS ON FILE                        2260 MARIS WAY
                                                                               MONROE, GA 30655




TAYLOR, ASHUNI                          TAYLOR, ASIAN P.                       TAYLOR, AYANNA
9 CARRIAGE LN                           ADDRESS ON FILE                        644 SCHOOL ST
EDWARDSVILLE, IL 62025                                                         CLARKSDALE, MS 38614




TAYLOR, BELINDA                         TAYLOR, BENNY                          TAYLOR, BLADE W.
4100 LINCOLN LANE                       4000 E CHARLESTON BLVD STE 230         ADDRESS ON FILE
ROBBINS, IL 60472                       LAS VEGAS, NV 89104
TAYLOR, BRADLEY S.        Case 20-10766-BLS
                                        TAYLOR,Doc  6 Filed 04/07/20
                                                BRANDON                Page 1733  ofBRIAN
                                                                            TAYLOR,  1969T.
730 JOHNSON LANE                         406 BURGERTOWN RD                   29 CARDINAL DR
VIENNA, IL 62995                         COPPERHILL, TN 37317                MURPHYSBORO, IL 62966




TAYLOR, BRITTANY M.                      TAYLOR, BROOKE P.                   TAYLOR, BRYLIE
126 38TH ST SW                           ADDRESS ON FILE                     ADDRESS ON FILE
CANTON, OH 44706




TAYLOR, CARLA                            TAYLOR, CARY M                      TAYLOR, CATHY M.
7945 NC HWY 11N                          ADDRESS ON FILE                     ADDRESS ON FILE
BETHEL, NC 27812




TAYLOR, CATHY                            TAYLOR, CHARLENE                    TAYLOR, CHARLOTTE L.
10816 N DAVID CT                         573 HIGHLAND AVE                    ADDRESS ON FILE
PEORIA, IL 61615                         ALTON, IL 62002




TAYLOR, CRYSTAL                          TAYLOR, CYNTHIA R.                  TAYLOR, DAWN
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




TAYLOR, DEBRA A.                         TAYLOR, DONNA J                     TAYLOR, ELBERT R.
ADDRESS ON FILE                          57 KING PLACE                       1255 OAK VIEW DR.
                                         YOUNG HARRIS, GA 30582              WILLIAMSTON, NC 27892




TAYLOR, ELISABETH LEIGH                  TAYLOR, EVE-LYNN                    TAYLOR, EVITA H.
34024 VAN DUYN RD                        ADDRESS ON FILE                     206 N GREENBAY RD APT 413
COBURG, OR 97408                                                             WAUKEGAN, IL 60085




TAYLOR, FORTUNA                          TAYLOR, FRANCESCA E.                TAYLOR, FRANCINE T.
ADDRESS ON FILE                          ADDRESS ON FILE                     10438 S CHARLES
                                                                             CHICAGO, IL 60643




TAYLOR, GLADYS                           TAYLOR, HAYLEY                      TAYLOR, JAMES
1371 TARA ST                             ADDRESS ON FILE                     ADDRESS ON FILE
BARSTOW, CA 92311




TAYLOR, JAMIE ZELLER                     TAYLOR, JASON                       TAYLOR, JEANINIA
1705 FELTS DR                            948 STATE HWY 116                   20 OLD VILLAGE RIDGE RD
MARION, IL 62959                         ROSEVILLE, IL 61473                 MOUNDS, IL 62964
TAYLOR, JENNIFER M.      Case 20-10766-BLS
                                       TAYLOR,Doc  6 Filed 04/07/20
                                               JENNIFER               Page 1734  ofJESSICA
                                                                           TAYLOR,  1969
52 LICK CREEK COURT                     323 S 7TH ST                        ADDRESS ON FILE
LOUISA, KY 41230                        MONMOUTH, IL 61462




TAYLOR, JIMMY C.                        TAYLOR, JOANNE M.                   TAYLOR, JOHN P
P.O. BOX 813                            14617 S BEECH ST                    5393 OLYMPIC CIRCLE
DUCKTOWN, TN 37326                      ORLAND PARK, IL 60462               EUGENE, OR 97402




TAYLOR, JUANITA                         TAYLOR, JUDITH                      TAYLOR, JULIE
150 MOLLY WAY                           1532 BALD EAGLE MTN                 5236 KASKASKIA RD
SANTA CRUZ, CA 95065                    MILL HALL, PA 17751                 WATERLOO, IL 62298




TAYLOR, KATHLEEN                        TAYLOR, KEITH A.                    TAYLOR, KELSEY
541 OREGON ST                           225 NORTH DIVISION ST               4937 CARRIAGE DR.
WATSONVILLE, CA 95076                   FORREST CITY, AR 72335              GURNEE, IL 60031




TAYLOR, KIRSTIN                         TAYLOR, KRISTEN S.                  TAYLOR, LATISHA
4937 CARRIAGE DR.                       ADDRESS ON FILE                     ADDRESS ON FILE
GURNEE, IL 60031




TAYLOR, LAURINDA                        TAYLOR, LEGGETT                     TAYLOR, LYNN K.
ADDRESS ON FILE                         2291 GARRETT RD LOT 15              21372 BRITTANY DR
                                        WILLIAMSTON, NC 27892               FRANKFORT, IL 60423




TAYLOR, MARCELLA B.                     TAYLOR, MARGARET R.                 TAYLOR, MARILYN F.
2825 SARATOGA ST                        1429 LABOON RD NE                   6546 IRON LIEGE TRAIL
GRANITE CITY, IL 62040                  MONROE, GA 30655                    TALLAHASSEE, FL 32309




TAYLOR, MARY ELLEN                      TAYLOR, MARY R                      TAYLOR, MATTHEW
15200 MOELLERS RD                       1930 MEADOW BRANCH RD               2710 MANNEN ST
MARION, IL 62959                        WILLIAMSTON, NC 27892               MT. VERNON, IL 62864




TAYLOR, MAXWELL                         TAYLOR, MELVA D                     TAYLOR, MISTY
ADDRESS ON FILE                         2721 MARSCHALK RD                   ADDRESS ON FILE
                                        AUGUSTA, GA 30904-5241




TAYLOR, MISTY                           TAYLOR, MISTY                       TAYLOR, NICHOLAS T.
2717 ANN DR                             ADDRESS ON FILE                     1705 FELTS DR
BIG SPRING, TX 79720                                                        MARION, IL 62959
TAYLOR, NICOLE          Case 20-10766-BLS
                                      TAYLOR,Doc  6 Filed
                                              REBECCA S   04/07/20   Page 1735  ofRESHAE
                                                                          TAYLOR,  1969
1106 GREEN OAK DR.                     36911 N HELEN DR                   179 SPANN RD
HUNTINGDON, TN 38344                   LAKE VILLA, IL 60046               GEORGIANA, AL 36033




TAYLOR, ROBERT D.                      TAYLOR, ROBIN T.                   TAYLOR, SCHENEA
360 WABASH AVE N                       ADDRESS ON FILE                    115 WOLFE LANE
BREWSTER, OH 44613                                                        ATHENS, GA 30605




TAYLOR, SHAUGHN ALLEN                  TAYLOR, SHERRI                     TAYLOR, STUART
500 S MOSELY UNIT 14                   103 CLAREMONT TERRACE              2475 W STATE HWY 106
ALPINE, TX 79831                       SANTA CRUZ, CA 95060               GEORGIANA, AL 36033




TAYLOR, SUSAN M.                       TAYLOR, SUSAN M.                   TAYLOR, SYLVIA E.
437 TANYA AVE NW                       ADDRESS ON FILE                    APARTMENT 205 1501 WOODLAND POINTE
MASSILLON, OH 44646                                                       DR
                                                                          NASHVILLE, TN 37214




TAYLOR, TANYA D.                       TAYLOR, TANYA                      TAYLOR, TANYA
ADDRESS ON FILE                        5100 W 96TH ST                     644 SCHOOL ST
                                       OAK LAWN, IL 60453                 CLARKSDALE, MS 38614




TAYLOR, TED                            TAYLOR, THOKO E.                   TAYLOR, TROY
985 PIGEON CREEK RD                    2161 RUBY DR                       1466 HURRICANE BRANCH
GREENVILLE, AL 36037                   BARSTOW, CA 92311                  BOONS CAMP, KY 41204-8052




TAYLOR, TUFTS                          TAYLOR-BURNETTE, TANISHA V.        TAYLOR-COLE, CAROLYN
515 WREN DR                            3550 RED WILLOW CT                 29621 S KLEMME RD
MT. VERNON, IL 62864                   BUFORD, GA 30519                   BEECHER, IL 60401




TAYON, CASSIE G.                       TAYSE, MELISSA A.                  TAYSOM, BELINDA S.
ADDRESS ON FILE                        338 GNAU AVE SW                    ADDRESS ON FILE
                                       MASSILLON, OH 44646




TBJ INCORPORATED                       TC INTERIORS, INC.                 TC THUNDER BASEBALL
1671 ORCHARD DR                        918 N SHERIDAN RD                  P.O. BOX 323
CHAMBERSBURG, PA 17201                 WAUKEGAN, IL 60085                 TOOELE, UT 84074




TC4H FRC TEAM 4348                     TCEQ                               TCF EQUIPMENT FINANCE INC
P.O. BOX 706                           IOP APPLICATION                    11100 WAYZATA BLVD, STE 801
TOOELE, UT 84074                       P.O. BOX 13088                     MINNETONKA, MN 55305
                                       AUSTIN, TX 78711-3088
TCF EQUIPMENT FINANCE Case 20-10766-BLS     Doc 6 FINANCE
                                    TCF EQUIPMENT     Filed 04/07/20       Page 1736  of 1969FINANCE
                                                                                TCF EQUIPMENT
1111 W SAN MARNAN DR, STE A2 W      A DIVISION OF TCF NATIONAL BANK             A DIVISION OF TCF NATIONAL BANK
WATERLOO, LA 50701-8926             11100 WAYZATA BLVD, STE 801                 1111 W SAN MAMAN DRIVE, STE A
                                    MINNETONKA, MN 55305                        WATERLOO, IA 50701-8926




TCF EQUIPMENT FINANCE                 TCF EQUIPMENT FINANCE                     TCM/TIME INC CO
P.O. BOX 77077                        PO BOX 77077                              P.O. BOX 62121
MINNEAPOLIS, MN 55480-7777            MINNEAPOLIS, MN 55480-7777                TAMPA, FL 33662-2121




TD AMERITRADE CLEARING, INC. (0188)   TD CANADA TRUST BRANCH                    TD INDUSTRIES, INC
ATTN MANDI FOSTER OR PROXY MGR        2001 BLVD ROBERT-BOURASSA                 P.O. BOX 300008
1005 AMERITRADE PLACE                 MONTREAL, QC H3A 2A6                      DALLAS, TX 75303-0008
BELLEVUE, NE 68005                    CANADA




TDS MED, INC.                         TDS MED, INC.                             TDS MED, INC.
1000 EAST HILLSBORO BLVD STE 200      1000 EAST HILLSBORO BLVD SUITE 200        1181 S ROGERS CIRCLE STE 10
DEARFIELD BEACH, FL 33441             DEARFIELD BEACH, FL 33441                 BOCA RATON, FL 33487




TDS METROCOM                          TDS TELECOMMUNICATIONS LLC                TDS
P.O. BOX 94510                        525 JUNCTION RD                           DEPT 0012
PALATINE, IL 60094-4510               MADISON, WI 53717                         PALATINE, IL 60055-0012




TEACHERS HEALTH TRUST                 TEAGUE CAYLA B                            TEAGUE, CAYLA B
P.O. BOX 96238                        ADDRESS ON FILE                           ADDRESS ON FILE
LAS VEGAS, NV 89193-6238




TEAGUE, MARY F                        TEAL, JENNIFFER                           TEAL, SARA
301 JONES ST APT 540A                 340 PALM AVE                              ADDRESS ON FILE
BLUE RIDGE, GA 30513                  BARSTOW, CA 92311




TEALL, SUSAN M.                       TEAM COLTON DIPG FOUNDATION               TEAMSTERS, LOCAL 912
345 ROBINHOOD WAY                     P.O. BOX 520                              22 EAST FIFTH STREET
FYFFE, AL 35971                       JACKSON, KY 41339                         WATSONVILLE, CA 95076




TEASLEY, PATRICIA                     TEAT, BETTY J.                            TEC COMMUNICATIONS
42590 N FOREST LN                     3637 COUNTY RD 107                        20234 DETROIT RD
ANTIOCH, IL 60002                     FORT PAYNE, AL 35967                      CLEVELAND, OH 44116




TEC ONE ENTERPRISE, LLC               TEC                                       TECH 24 COMMERCIAL FOODSERVICE
3618 KNOLL DRIVE                      P.O. BOX 940                              REPAIR INC
NEWBERG, OR 97132                     JACKSON, MS 39205                         P.O. BOX 638959
                                                                                CINCINNATI, OH 45262
TECH ELECTRONICS INC    Case 20-10766-BLS    Doc 6 Filed
                                      TECH ELECTRONICS INC 04/07/20       Page 1737  of 1969
                                                                               TECH ELECTRONICS
P.O. BOX 790379                        P.O. BOX 790379                         P O BOX 790379
ST LOUIS, MO 63179                     ST LOUIS, MO 63179                      ST LOUIS, MO 63179




TECH ELECTRONICS                       TECH MAHINDRA LIMITED                   TECH MAHINDRA LIMITED
P.O. BOX 790379                        4965 PRESTON PARK BLVD                  ASST. GENERAL COUNSEL
ST LOUIS, MO 63179                     STE 500                                 4965 PRESTON PARK BLVD
                                       PLANO, TX 75093                         SUITE 500
                                                                               PLANO, TX 75093



TECH MEDICAL SERVICES, INC             TECH ONE BIOMEDICAL SERVICES INC        TECH ONE BIOMEDICAL, LLC
1110 N. GERALD                         159 N MARION ST. PMB 163                10115 FRANKLIN AVE
NIXA, MO 65714                         OAK PARK, IL 60301                      FRANKLIN PARK, IL 60131-1819




TECH SYSTEMS, INC                      TECH, JOSE                              TECHLOWEC, MELISSA D.
4942 SUMMER OAK DR                     559 LAKEHURST RD                        225 COUNTY RD 690
BUFORD, GA 30518                       APT 1L                                  FORT PAYNE, AL 35968
                                       WAUKEGAN, IL 60085




TECHNA PRINT                           TECHNICAL PRODUCTS INC OF               TECHNO-AIDE
909 GARFIELD ST                        805 MARATHON PKWY STE 150               P.O. BOX 305172
EUGENE, OR 97402                       LAWRENCEVILLE, GA 30045                 DEPT 96
                                                                               NASHVILLE, TN 37230




TECHNO-AIDE                            TECHNOLOGY IMAGING SERVICES             TECHNOLOGY PARTNERS, INC.
PO BOX 305172                          P.O. BOX 3589                           8757 RED OAK BLVD.
DEPT 96                                YOUNGSTOWN, OH 44513                    CHARLOTTE, NC 28217
NASHVILLE, TN 37230




TECHPRO INC                            TECHPRO INC                             TECHSCAN, INC
2000 GARY LANE                         2000 GARY LANE                          P.O. BOX 189
GENEVA, IL 60134                       GENEVA, IL 60134-0000                   MANCHACA, TX 78652




TECHWAY SERVICE, INC.                  TED R SANDERS MOVING                    TEDDER, KAITLYN D.
12880 VALLEY BRANCH LN, STE 120        7149 CENTENNIAL BLVD                    302 SHANKLES CIR SW
FARMERS BRANCH, TX 75234               NASHVILLE, TN 37209                     RAINSVILLE, AL 35986




TEDESCO, ANTHONY J.                    TEDESCO, TIMOTHY                        TEE JAY CENTRAL INC
4196 GREENWAY TRAIL ST. NW             2816 NATIONAL AVE                       P.O. BOX 130
MASSILLON, OH 44646                    GRANITE CITY, IL 62040                  208 EAST SECOND ST
                                                                               GRIDLEY, IL 61744




TEE JAY CENTRAL INC                    TEE JAY SERVICE COMPANY                 TEEL, JAMES H
PO BOX 130                             958 CORPORATE BLVD                      138 WASHINGTON ST
208 EAST SECOND ST                     AURORA, IL 60502                        WILLIAMSTON, NC 27892
GRIDLEY, IL 61744
TEEL, MARY S.            Case 20-10766-BLS    Doc 6
                                       TEEL, MELINDA     Filed 04/07/20      Page 1738  of 1969
                                                                                  TEELS USED CARS & TRUCKS
ADDRESS ON FILE                         1700 YALE AVE.                             ATTN JAMES TEEL
                                        BIG SPRING, TX 79720                       138 WASHINGTON ST
                                                                                   WILLIAMSTON, NC 27892




TEEPLES, CAROL LEE                      TEGEL, LARRY                               TEHANDON, HECTOR
913 N 650 E                             10 ERNST DR                                14757 TRUMBULL AVE
TOOELE, UT 84074                        GLEN CARBON, IL 62034                      MIDLOTHIAN, IL 60445




TEICHROEB, ESTHER                       TEICHROEB, LYDIA                           TEKAMPE, TOM
1802 EUBANKS RD                         213 JOHNSTON RD.                           409 BALDWIN AVE
BIG SPRING, TX 79720                    BIG SPRING, TX 79720                       WAUKEGAN, IL 60085




TEKSYSTEMS, INC                         TELECOMMUNICATIONS UNLIMITED, INC.         TELEDATA CONTRACTORS INC
7437 RACE RD                            P.O. BOX 7078                              7060 W WARM SPRINGS RD
320 W. 18TH ST                          ABILENE, TX 79608-7078                     UNIT 190
HANOVER, MD 21076                                                                  LAS VEGAS, NV 89113




TELEFLEX FUNDING LLC                    TELEFLEX LLC                               TELEFLEX LLC
P.O. BOX 936729                         2917 WECK DR                               P.O. BOX 936729
ATLANTA, GA 31193-6729                  DURHAM, NC 27709                           ATLANTA, GA 31193-6729




TELEFLEX LLC                            TELEFLEX MEDICAL INC.                      TELEFLEX MEDICAL INC.
TELEFLEX FUNDING LLC                    P.O. BOX 601608                            WECK CLOSURE SYSTEMS
P.O. BOX 936729                         CHARLOTTE, NC 28260-1608                   P.O. BOX 601608
ATLANTA, GA 31193-6729                                                             CHARLOTTE, NC 28260-1608




TELEFLEX MEDICAL                        TELEFLEX MEDICAL                           TELEFLEX MEDICAL
3015 CARRINGTON MILL BLVD               P.O. BOX 601608                            P.O. BOX 936729
MORRISVILLE, NC 27560                   CHARLOTTE, NC 28260                        ATLANTA, GA 31196-6729




TELEFLEX                                TELEFLEX, LLC                              TELEHANY, DENISE
PO BOX 936729                           P.O. BOX 936729                            1844 MACKENZIE COURT NORTH
ATLANTA, GA 31193-6729                  ATLANTA, GA 31193-6729                     MIDDLEBURG, FL 32068




TELEHEALTH SERVICES                     TELEHEALTH SERVICES                        TELEHEALTH SERVICES
1100 CRESCENT GREEN, STE 200            4191 FAYETTEVILLE RD                       AR DEPT / TELERENT LEASING CORP
CARY 27518                              RALEIGH, NC 27603                          P.O. BOX 26627
                                                                                   RALEIGH, NC 27611




TELEMATE.NET SOFTWARE                   TELEMEDICINE MANAGEMENT, INC               TELEMEDX CORPORATION
P.O. BOX 921328                         101 LIDENWOOD DR                           P.O. BOX 775818
NORCROSS, GA 30010-1328                 STE 225                                    CHICAGO, IL 60677-5818
                                        MALVERN, PA 19348
TELEMEDX, LLC             Case 20-10766-BLS    Doc 6 PC
                                        TELE-PHYSICANS Filed 04/07/20   Page 1739  of 1969 P.C.
                                                                             TELE-PHYSICIANS
P.O. BOX 775818                          1768 BUSINESS CENTER DR              P.O. BOX 785667
CHICAGO, IL 60677-5818                   STE 100                              PHILADELPHIA, PA 19178-5567
                                         RESTON, VA 20190




TELEREM, LLC                             TELERENT LEASING CORPORATION         TELERENT LEASING
18 AVON COURT                            ACCTS RECEIVABLE DEPT                P.O. BOX 26627
BEACON FALLS, CT 06403                   P.O. BOX 26627                       RALEIGH, NC 27611
                                         RALEIGH, NC 27611-6627




TELFORD, DAN                             TELFORD, ELENA                       TELLADO, VANESA
1626 S 1340 E CIRCLE                     P.O. BOX 12                          ADDRESS ON FILE
ST. GEORGE, UT 84790                     RANDOLPH, UT 84064-0012




TELLAGORRY, JAVIER A.                    TELLE, ANN M.                        TELLEZ, JENARO
ADDRESS ON FILE                          918 N. WOOSTER AVE.                  531 N OAKWOOD AVE
                                         DOVER, OH 44622                      WAUKEGAN, IL 60085




TELLEZAL, VAREZ JOSE                     TELLEZESPINOSA, CRISTOBAL            TELLOR, CODY E.
916 HIGHLAND AVE                         335 N MCAREE RD                      ADDRESS ON FILE
WAUKEGAN, IL 60085                       WAUKEGAN, IL 60085




TEMP-CONTROL MECHANICAL (TCM)            TEMPERATURE EQUIPMENT CORP.          TEMPLE, BURT
4800 N CHANNEL AVE                       LOCKBOX 774503                       P.O. BOX 1141
PORTLAND, OR 97217                       4503 SOLUTIONS CENTER                BIG SPRING, TX 79721
                                         CHICAGO, IL 60677-4005




TEMPLE, ROCHELLE L .                     TEMPLE, TEXAS                        TEMPLE, TIFFANY
269 PINE ACRES RD                        2710 GRAY ST.                        ADDRESS ON FILE
WINDSOR, SC 29856-2119                   ALPINE, TX 79830




TEMPLE, TONYA M.                         TEMPLE, TONYA                        TEMPLE, VENUS
ADDRESS ON FILE                          ADDRESS ON FILE                      5316 COTTONTAIL LANE UNIT A
                                                                              FORT IRWIN, CA 92310




TEMPLEMAN, THERESA A.                    TEMPLETON, BARBARA A.                TEMPLETON, LISA
ADDRESS ON FILE                          877 W SOUTH LINKS DR                 556 LONGHI
                                         WASHINGTON, UT 84780                 COLLINSVILLE, IL 62234




TEMPTIME CORPORATION                     TENACORE HOLDINGS INC                TENANTBASE INC
P.O. BOX 28744                           1525 E EDINGER AVE                   225 ARIZONA AVE
NEW YORK, NY 10087-8744                  SANTA ANA, CA 92705                  STE 350
                                                                              SANTA MONICA, CA 90401
TENBRINK, PAULA D.     Case 20-10766-BLS    Doc 6INCFiled 04/07/20
                                     TENEX HEALTH                          Page 1740  of 1969
                                                                                TENEX HEALTH INC
10015 BURTON DR                       26902 VISTA TERRACE                        26902 VISTA TERRACE
HENAGAR, AL 35978                     LAKE FOREST, CA 92630                      LAKE FOREST, CA 92630-8123




TENHAAF, VICKI L.                     TENHOLDER, NIKKI                           TENHOLDER, PAMELA
ADDRESS ON FILE                       103 RIDGE LANE                             6767 WOODHILL RUN
                                      COLUMBIA, IL 62236                         WATERLOO, IL 62298




TENILLE GAINES, LYZA                  TENISHA TEO                                TENNA, DAVIS
P.O. BOX 238                          ADDRESS ON FILE                            84 MANDYS MEADOW
CROSSVILLE, AL 35962                                                             INEZ, KY 41224




TENNANT SALES & SERVICE COMPANY       TENNANT, ASHLEY                            TENNANT, DAVID E.
P.O. BOX 71414                        ADDRESS ON FILE                            100 STONE BRIDGE BLUFF DR
CHICAGO, IL 60694-1414                                                           MARYVILLE, IL 62062




TENNANT, SUE                          TENNESSEE AMBULANCE SRV ASSOC              TENNESSEE B&E DIVISION
5830 BENJAMIN ST SW                   544 WEST MAIN ST                           220 FRENCH LANDING DR
CANTON, OH 44706                      STE 131                                    2ND FLOOR
                                      GALLATIN, TN 37066                         NASHVILLE, TN 37243




TENNESSEE BOARD OF PHARMACY           TENNESSEE BOARD OF PHARMACY                TENNESSEE CHILD SUPPORT
665 MAINSTREAM DR                     710 JAMES ROBERTSON PARKWAY                P.O. BOX 305200
NASHVILLE, TN 37243                   NASHVILLE, TN 37243                        NASHVILLE, TN 37229




TENNESSEE CHILD SUPPORT               TENNESSEE DEPARTMENT OF REVENUE            TENNESSEE DEPT OF COMMERCE &
STATE DISBURSEMENT UNIT               500 DEADRICK ST                            INSURANCE
P.O. BOX 305200                       NASHVILLE, TN 37242                        DIVISION OF CONSUMER AFFAIRS
NASHVILLE, TN 37229                                                              500 JAMES ROBERTSON PKWY 12TH FL
                                                                                 NASHVILLE, TN 37243-0600



TENNESSEE DEPT OF ENVIRONMENT &       TENNESSEE DEPT OF ENVIRONMENT &            TENNESSEE DEPT OF ENVIRONMENT &
CONSERVATION                          CONSERVATION                               CONSERVATION
312 ROSA L PARK AVE                   DIVISION OF RADIOLOGICAL HEALTH            WRS TN TOWER, 10TH FLOOR
TENNESSEE TOWER - 2ND FL              312 ROSA L PARKS AVE                       312 ROSA L PARKS AVE
NASHVILLE, TN 37243                   NASHVILLE, TN 37243                        NASHVILLE, TN 37243



TENNESSEE DEPT OF HEALTH FISCAL       TENNESSEE DEPT OF HEALTH                   TENNESSEE DEPT OF HEALTH
SERVICES                              710 JAMES ROBERTSON PKWY                   ATTN DENISE BURTON
710 JAMES ROBERTSON PKWY              NASHVILLE, TN 37243                        MEDICAL LABORATORY BOARD
ANDREW JOHNSON BUILDING 6TH FL                                                   710 JAMES ROBERTSON PKWY
NASHVILLE, TN 37243                                                              NASHVILLE, TN 37243



TENNESSEE DEPT OF HEALTH              TENNESSEE DEPT OF HEALTH                   TENNESSEE DEPT OF HEALTH
ATTN EDDIE STEWART, SUPERVISOR        ATTN KIMBERLY CATES                        BUREAU OF TENNCARE
BUREAU OF HEALTH LICENSURE AND        OFFICE OF HEALTH CARE FACILITIES, CLIA     PROVIDER REGISTRATION
REGULATION DIVISION OF HEALTH CARE    CERTIFICATION                              310 GREAT CIRCLE RD
FACILITIES                            665 MAINSTREAM DR, 2ND FLOOR               NASHVILLE, TN 37243
710 JAMES ROBERTSON PKWY              NASHVILLE, TN 37243
NASHVILLE, TN 37243
                      Case 20-10766-BLS
TENNESSEE DEPT OF HEALTH                   DocDEPT
                                    TENNESSEE    6 OFFiled 04/07/20
                                                        HEALTH          Page 1741 of 1969
                                                                             TENNESSEE DEPT OF HEALTH,DIVISION OF
OFFICE OF EMERGENCY MEDICAL         RECORDS MANAGEMENT                        LICENSURE & REGULATI
SERVICES                            710 JAMES ROBERTSON PKWY                  OFFICE OF EMERGENCY MEDICAL
665 MAINSTREAM DR                   NASHVILLE, TN 37243                       SERVICES
NASHVILLE, TN 37243                                                           665 MAINSTREAM DR
                                                                              NASHVILLE, TN 37243

TENNESSEE DEPT OF LABOR &              TENNESSEE DEPT OF LABOR &              TENNESSEE DEPT OF REVENUE
WORKFORCE                              WORKFORCE                              ANDREW JACKSON ST OFF BLD
220 FRENCH LANDING DR                  BOILER & ELEVATOR DIV                  500 DEADRICK STREET
NASHVILLE, TN 37243-1002               220 FRENCH LANDING DR                  NASHVILLE, TN 37242
                                       NASHVILLE, TN 37243-1002



TENNESSEE DEPT OF REVENUE              TENNESSEE DEPT OF STATE                TENNESSEE HEALTH SERVS. AND DEVEL.
ANDREW JACKSON STATE OFFICE BUILDING   DIVISION OF BUSINESS SERVICES          AGENCY (HSDA)
500 DEADERICK ST                       312 ROSA L PARKS AVE - 6TH FLR         161 ROSA L. PARKS BOULEVARD
NASHVILLE, TN 37242                    NASHVILLE, TN 37243                    NASHVILLE, TN 37243




TENNESSEE MEDICAL ASSOCIATION          TENNESSEE OCCUPATIONAL SAFETY AND      TENNESSEE SECRETARY OF STATE
P.O. BOX 281166                        HEALTH ADMINISTRATION                  DIVISION OF BUSINESS SERVICES
NASHVILLE, TN 37228-8502               220 FRENCH LANDING DR                  312 ROSA L. PARKS AVE SNODGRASS
                                       NASHVILLE, TN 37243                    TOWER, 6TH FLOOR
                                                                              NASHVILLE, TN 37243



TENNESSEE SOCIETY OF CERTIFIED         TENNIE, FRALEY                         TENNISON, JENIFER M.
PUBLIC ACCOUNTANTS                     2 BIG SANDY RIVER RD                   ADDRESS ON FILE
201 POWELL PLACE                       FORT GAY, WV 25514
BRENTWOOD, TN 37027-7522




TENNOVA HEALTHCARE CLEVELAND           TENNOVA HEALTHCARE JACKSON HOSPITAL    TENNOVA HEALTHCARE SHELBYVILLE
P.O. BOX 198029                        367 HOSPITAL BLVD                      P.O. BOX 403621
ATLANTA, GA 30384-8029                 JACKSON, TN 38305                      ATTN CARRIE SEGROVES
                                                                              ATLANTA, GA 30384




TENNOVA, SHELBYVILLE                   TENNYSON, KAREN                        TENORIO, CONNIE M.
2835 US 231                            1171 N NATURE CT                       ADDRESS ON FILE
SHELBYVILLE, TN 37160                  ROUND LAKE BEACH, IL 60073




TENORIO, MARY                          TENUTA, MONICA C                       TEO, TENISHA M.
1 AMADEUS DR                           13414 MEDINA DR                        ADDRESS ON FILE
LAS VEGAS, NM 87701                    ORLAND PARK, IL 60462




TEO, TENISHA                           TEPFER, NICK                           TEPPO, JACK K.
ADDRESS ON FILE                        113 JEANETTE DR                        35 ROLLING ACRES CR E
                                       GRANITE CITY, IL 62040                 MASSILLON, OH 44647




TEQUILA JOHNSON                        TER LOUW, JOHN R.                      TERAN JR, FRANCISCO
ADDRESS ON FILE                        ADDRESS ON FILE                        38285 N SHERIDAN RD
                                                                              LOT 34
                                                                              BEACH PARK, IL 60087
TERAN, ALEJANDRO        Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      TERAN, ANDRES                 Page 1742
                                                                         TERAN,of 1969 O.
                                                                               EDUARDO
ADDRESS ON FILE                        ADDRESS ON FILE                   ADDRESS ON FILE




TERAN, TABITHA                         TERBRAK, EMILY N.                 TERCEIRA, KELLY
ADDRESS ON FILE                        ADDRESS ON FILE                   123 E MAIN ST
                                                                         WILLIAMSTON, NC 27892




TERESA BAXTER                          TERESA K RANEY                    TERESA LOZIER
1645 SPRUCE AVE                        1220 CHAPPARAL RD                 775 225TH AVE
GALESBURG, IL 61401                    MESQUITE, NV 89027-0000           MONMOUTH, IL 61462




TERESA, KYLE                           TERHES, JOHN M.                   TERMINIX INTERNATIONAL COMPANY LP
225 E UTAH AVE                         2465 OAK GROVE DR                 PROCESSING CENTER
TOOELE, UT 84074                       EUGENE, OR 97403                  P.O. BOX 742592
                                                                         CINCINNATI, OH 45274-2592




TERMINIX PROCESSING CENTER             TERMINIX                          TERMINIX, INC.
P.O. BOX 742592                        P.O. BOXX 742592                  POB 742592
CINCINNATI, OH 45274-2592              CINCINNATI, OH 45274-2592         CINCINNATI, OH 45274-2592




TERMINIX, INC.                         TERNIG, JAMES J.                  TERRA CYCLE REGULATED WASTE LLC
PROCESSING CENTER                      ADDRESS ON FILE                   2200 OGDEN AVE
P.O. BOX 742592                                                          STE 100
CINCINNATI, OH 45274-2592                                                LISLE, IL 60532-1972




TERRACE FENCE CO                       TERRAZA, JUANA                    TERRAZAS, KORNELIA M
3208 W COMMERCIAL DR                   967 COUNTY RD 515                 503 LYNN TER
MARION, IL 62959                       RAINSVILLE, AL 35986              WAUKEGAN, IL 60085




TERRAZAS, REGINA M.                    TERRELL, DAINA ELAINE             TERRELL, EDEN
ADDRESS ON FILE                        3718 COUNTY RD 141 LOT H          310 EAST SOUTH ST
                                       IDER, AL 35981                    HARRISBURG, IL 62946




TERRELL, MARQUITA                      TERRELL, TANYA N.                 TERRELL, TINA S.
4206 MAPLE LN APT 1C                   431 KIRKLAND RD APT 7313          ADDRESS ON FILE
ZION, IL 60099                         COVINGTON, GA 30016




TERRI HARTMAN, NP                      TERRIL, LORI                      TERRILL, LISA
ADDRESS ON FILE                        P.O. BOX 302                      ADDRESS ON FILE
                                       LOGANDALE, NV 89021
TERRON, JESSICA          Case 20-10766-BLS   Doc 6
                                       TERRY BAINE       Filed 04/07/20   Page 1743
                                                                               TERRY of 1969
                                                                                     BRUNER
ADDRESS ON FILE                        113 COUNTY ROAD 865                     943 N CHERRY ST
                                       COLLINSVILLE, AL 35961                  GALESBURG, IL 61401




TERRY CORNWELL                         TERRY GRISWOLD                          TERRY HIGLEY
2504 PROPES LN                         1565 STATE HWY 164                      ADDRESS ON FILE
GRANITE CITY, IL 62040                 CAMERON       IL, IL 61423




TERRY L ARTERBRIDGE                    TERRY PAINTER                           TERRY TALBERT
P.O.BOX 1484                           PO BOX 101                              110 EAST SECOND ST
ROBERSONVILLE, NC 27871                STRONGHURST, IL 61480                   PO BOX 168
                                                                               GALESBURG, IL 61401




TERRY, ANNE                            TERRY, BROOKE                           TERRY, DERON
131 PHILLIPS RD                        16 NORTH 12TH ST                        ADDRESS ON FILE
CARBONDALE, IL 62902                   BELLEVILLE, IL 62220




TERRY, JANET L.                        TERRY, JANET L.                         TERRY, KAITLYN E.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE




TERRY, LISA A.                         TERRY, RHONDA                           TERRY, SANDRA H.
3231 HILTON ST NW                      12831 S JUSTINE ST                      273 SALEM GLEN WAY SE
MASSILLON, OH 44646                    CALUMET PARK, IL 60827                  CONYERS, GA 30013




TERRY, SANDRA                          TERRY, SHIRLEY RONALD                   TERRY, TALIAH
ADDRESS ON FILE                        P.O. BOX 85                             302 E OLD MILL RD
                                       VALLEY HEAD, AL 35989                   APT 3
                                                                               MESQUITE, NV 89027




TERRYBERRY COMPANY LLC                 TERSIP, CHERYL                          TERUEL, JOHN
2033 OAK INDUSTRIAL DR NE              ADDRESS ON FILE                         ADDRESS ON FILE
GRAND RAPIDS, MI 49505




TERUM0 MEDICAL CORP                    TERUMO BCT                              TERUMO CARDIOVASCULAR SYSTEMS CORP
P.O. BOX 281285                        DEPT 7087                               6200 JACKSON RD
ATLANTA, GA 30384                      CAROL STREAM, IL 60122-7087             ANN ARBOR, MI 48103




TERUMO CARDIOVASCULAR SYSTEMS CORP     TERUMO CARDIOVASCULAR SYSTEMS           TERUMO MEDICAL CORPORATION
P.O. BOX 281402                        P.O. BOX 281402                         P.O. BOX 281285
ATLANTA, GA 30384-1402                 ATLANTA, GA 30384-1402                  ATLANTA, GA 30384-1285
                      Case 20-10766-BLS
TERUMO MEDICAL CORPORATION                  Doc 6BRITTANY
                                    TERWILLIGER,     Filed 04/07/20     Page 1744  of 1969
                                                                             TERWILLIGER, TOSHA
P.O. BOX 841733                     207 S STOCKDALE LN                        2877 100TH
DALLAS, TX 75284-1733               ABINGDON, IL 61410                        ALEXIS, IL 61412




TESFAI, DIESAWIT T.                   TESKA, KATHLEEN M.                      TESKE, JONATHAN
ADDRESS ON FILE                       ADDRESS ON FILE                         8 FAIRVIEW AVE
                                                                              ANNA, IL 62906




TESSARO, LARRY                        TESSS KITCHEN                           TESTA, COLLEEN
219 BAUER LN                          316 HIGH ST                             216 9TH ST
MARYVILLE, IL 62062                   FORT GAY, WV 25514                      RENOVO, PA 17764




TETON VALLEY HEALTH CARE, INC.        TETRA FINANCIAL GROUP LLC               TETZLER, LARISSA D.
120 EAST HOWARD ST                    6995 UNION PARK CENTER, STE 400         ADDRESS ON FILE
DRIGGS, ID 83422                      COTTONWOOD HEIGHTS, UT 84047




TEXAS ASSOCIATION OF                  TEXAS CHILD SUPPORT DISB UNIT           TEXAS CHILD SUPPORT DISB UNIT
RURAL HEALTH CLINICS                  P O BOX 659791                          P.O. BOX 659791
P.O. BOX 203878                       SAN ANTONIO, TX 78265-9791              SAN ANTONIO, TX 78265-9791
AUSTIN, TX 78720-3878




TEXAS COMMISSION ON                   TEXAS COMMISSION ON                     TEXAS COMPTROLLER OF PUBLIC
ENVIRONMENTAL QUALITY                 ENVIRONMENTAL QUALITY                   ACCOUNTS UNCLAIMED PROPERTY
12100 PARK 35 CIRCLE                  P.O. BOX 13087                          LYNDON B. JOHNSON STATE OFFICE BLDG
AUSTIN, TX 78753                      AUSTIN, TX 78711-3087                   111 E 17TH ST
                                                                              AUSTIN, TX 78774



TEXAS COMPTROLLER OF PUBLIC           TEXAS COMPTROLLER OF PUBLIC             TEXAS COMPTROLLER OF PUBLIC
ACCOUNTS                              ACCOUNTS                                ACCOUNTS
CAPITOL STATION                       LYNDON B JOHNSON STATE OFFICE BLDG      LYNDON B. JOHNSON STATE OFFICE BLDG
P.O. BOX 13528                        111 E 17TH ST                           111 E 17TH ST
AUSTIN, TX 78711-3528                 AUSTIN, TX 78774                        AUSTIN, TX 78774



TEXAS COMPTROLLER OF PUBLIC           TEXAS COMPTROLLER OF PUBLIC             TEXAS DEPT OF HEALTH
ACCOUNTS                              ACCOUNTS                                BUREAU OF RADIATION CONTROL
SALES & USE TAX                       UNCLAIMED PROPERTY DIV                  P.O. BOX 12190
P.O. BOX 149355                       P.O. BOX 12019                          AUSTIN, TX 78711-2190
AUSTIN, TX 78714-9355                 AUSTIN, TX 78711-2019



TEXAS DEPT OF PUBLIC SAFETY           TEXAS DEPT OF STATE HEALTH SERVICES     TEXAS DEPT OF STATE HEALTH SERVICES
CONTROLLED SUBSTANCES REGISTRATION    1100 WEST 49TH ST                       CASH RECEIPTS BRANCH, MC 2003
SECTION                               AUSTIN, TX 78756-3199                   P.O. BOX 149347
P.O. BOX 4087                                                                 AUSTIN, TX 78714-9347
AUSTIN, TX 78773-0001



TEXAS DEPT OF STATE HEALTH SERVICES   TEXAS DEPT OF STATE HEALTH SERVICES     TEXAS DEPT OF
RADIATION CONTROL PROGRAM MC 2003     RADIATION MACHINE SOURCE GROUP, MC      LICENSING & REGULATION
P.O. BOX 149347                       2835                                    P.O. BOX 12157
AUSTIN, TX 78714-9347                 P.O. BOX 149347                         AUSTIN, TX 78711
                                      AUSTIN, TX 78714-9347
TEXAS DISPOSAL SYSTEMSCase 20-10766-BLS    DocTRAUMA
                                    TEXAS EMS    6 Filed  04/07/20
                                                     & ACUTE             Page 1745  of 1969 HEALTHCARE
                                                                              TEXAS ESSENTIAL
P.O. BOX 660816                     CARE FOUNDATION                           PARTNERSHIPS FOUNDATION
DALLAS, TX 75266-0816               3400 ENFIELD RD                           401 W 15TH ST
                                    AUSTIN, TX 78703                          STE 840
                                                                              AUSTIN, TX 78701



TEXAS GUARANTEED STUDENT LOAN        TEXAS HEALTH AND HUMAN SERVICES          TEXAS HEALTH AND HUMAN SERVICES
CORPORATION                          ATTN GINA SMITH                          ATTN NANCY BAIRD-PHONSNASINH
TRELLIS COMPANY                      HEALTH CARE FACILITIES REGULATION        HEALTH FACILITY COMPLIANCE
P.O. BOX 659601                      HHSC AR MC1470
SAN ANTONIO, TX 78265-9601           1100 WEST 49TH ST
                                     AUSTIN, TX 78756

TEXAS HEALTH AND HUMAN SERVICES      TEXAS HEALTH AND HUMAN SERVICES          TEXAS HEALTH AND HUMAN SERVICES
FACILITY LICENSING GROUP             MEDICAID & HEALTHCARE PARTNERSHIP        SVC CODE 529201039
P.O. BOX 149347 (MC 2835)            ATTN: PROVIDER ENROLLMENT                P.O. BOX 149055
AUSTIN, TX 78714-9347                P.O. BOX 200795                          AUSTIN, TX 78714-9055
                                     AUSTIN, TX 78720-0795



TEXAS HEALTH AND HUMAN SERVICES      TEXAS HEALTHCARE HOLDINGS II, LLC        TEXAS HHSC
TEXAS MEDICAID PROGRAM               GREYSTONE BD                             DEPOSIT IN BUDGET 22156, FUND 152
BROWN-HEATLY BUILDING                109 WEST PARK DR, STE 230                P.O. BOX 149055
4900 N. LAMAR BLVD.                  BRENTWOOD, TN 37027                      AUSTIN, TX 78714-9055
AUSTIN, TX 78751-2316



TEXAS HOSPITAL ASSOC.                TEXAS MEDICAID & HEALTHCARE              TEXAS MEDICAID & HEALTHCARE
P.O. BOX 95353                       PARTNERSHIP                              PARTNERSHIP
GRAPEVINE, TX 76099-9733             12357-B RIATA TRACE                      P.O. BOX 204270
                                     AUSTIN, TX 78727                         ATTN: CAROLYN JONES
                                                                              AUSTIN, TX 78720-4270



TEXAS OCCUPATIONAL SAFETY AND        TEXAS OFFICE OF THE ATTORNEY GENERAL     TEXAS ORGANIZATION OF RURAL &
HEALTH ADMINISTRATION                CONSUMER PROTECTION DIVISION             COMMUNITY HOSPITALS
LA COSTA GREEN BLDG. 1033            300 W 15TH ST                            P.O. BOX 203878
LA POSADA DR. STE 375                AUSTIN, TX 78701                         AUSTIN, TX 78720-3878
AUSTIN, TX 78752-3832



TEXAS PHONE & DATA TECHNOLOGIES      TEXAS PIPE TRADES HEALTH PLAN            TEXAS RAG DOLL
1004 W. FRONT ST                     P.O. BOX 7186                            1305 SOUTH GREGG ST
MIDLAND, TX 79701                    BOISE, ID 83707                          BIG SPRING, TX 79720




TEXAS RAG DOLL                       TEXAS ROADHOUSE                          TEXAS SECRETARY OF STATE
CARRLA CARR, LLC                     501 WINCHESTER AVE                       1019 BRAZOS ST
P.O. BOX 75343                       ASHLAND, KY 41101                        AUSTIN, TX 78701
CHICAGO, IL 60675-5343




TEXAS SECRETARY OF STATE             TEXAS SELECT STAFFING LLC                TEXAS STATE BOARD OF PHARMACY
BUSINESS & COMMERCIAL SECTION        P.O. BOX 577                             WILLIAM P. HOBBY BUILDING
P.O. BOX 13697                       WEST BEND, WI 53095                      333 GUADALUPE ST, STE 3-500
AUSTIN, TX 78701                                                              AUSTIN, TX 78701




TEXAS STATE BOARD OF PHARMACY        TEXAS STATE BOARD OF PHARMACY            TEXAS STATE COMPTROLLER
WILLIAM P. HOBBY BUILDING            WILLIAM P. HOBBY BUILDING                LYNDON B. JOHNSON STATE OFFICE BLDG
333 GUADALUPE ST, STE 3-600          333 GUADALUPE ST, STE. 3-600-21          111 E 17TH ST
AUSTIN, TX 78701                     AUSTIN, TX 78701                         AUSTIN, TX 78774
                       Case 20-10766-BLS
TEXAS TECH UNIVERSITY HEALTH                DocUNIVERSITY
                                     TEXAS TECH   6 Filed HEALTH
                                                          04/07/20     Page 1746  of 1969
                                                                            TEXAS TECH UNIVERSITY HEALTH
SCIENCES CTR                         SCIENCES CTR                            SCIENCES CTR
3601 WEST 4TH ST                     800 W 4TH ST                            P.O. BOX 5868
LUBBOCK, TX 79430                    ODESSA, TX 79763                        LUBBOCK, TX 79408




TEXAS WORKFORCE COMMISSION           TEXAS WORKFORCE COMMISSION              TEXAS, RAC J.
101 E 15TH ST                        TAX DEPARTMENT                          P.O. BOX 60125
RM 122                               P.O. BOX 149037                         SAN ANGELO, TX 76906
AUSTIN, TX 78778-0001                AUSTIN, TX 78714-9037




TEXTILE CARE SERVICES                TFG LEASING FUND III LLC                TFHC LLC
2295 WEST CUSTER RD                  6995 UNION PARK CENTER, STE 400         509 LAKEWOOD DR
SALT LAKE CITY, UT 84104-4214        COTTONWOOD HEIGHTS, UT 84047            TROY, IL 62294




TFHC. LLC                            TGR GEOTECHNICAL, INC                   TGSLC
C/O GARY CANTRELL                    3037 S HARBOR BLVD                      P.O. BOX 659601
509 LAKEWOOD DR                      SANTA ANA, CA 92704                     SAN ANTOINIO, TX 78265-9601
TROY, IL 62294




TGSLC                                THACKER, BONITA                         THACKER, JANET
P.O. BOX 659601                      1811 E MADISON                          309 MOORE
SAN ANTONIO, TX 78265-9601           WEST MEMPHIS, AR 72301                  ELDORADO, IL 62930




THACKER, JOEL                        THACKER, SHANE L.                       THACKREY, LANCE
P.O. BOX 720                         799 E 540 N                             ADDRESS ON FILE
LOUISA, KY 41230                     TOOELE, UT 84074




THACKSTON, SAMANTHA M.               THAGARD, WILLIAM                        THAI, BINH
ADDRESS ON FILE                      5965 LUVERNE HWY                        1089 BALLEWTOWN RD
                                     GREENVILLE, AL 36037                    BLUE RIDGE, GA 30513




THALLURI MD, RANGA                   THAPAR MD., PRADEEP                     THARAN, CHAD A.
4005 DUNOON CIR NW                   10745 165TH ST                          ADDRESS ON FILE
CANTON, OH 44718-2248                ORLAND PARK, IL 60467




THARP, JOSHUA                        THARP, MICHAEL                          THARP, ROGER L.
ADDRESS ON FILE                      ADDRESS ON FILE                         6650 HIGHLAND DR
                                                                             PALOS HEIGHTS, IL 60463




THARPS FLOWERS                       THATCHER OAKS, INC                      THATCHER, JAMIE L.
1205 COLUMBUS RD                     718 N INDUSTRIAL DR                     ADDRESS ON FILE
DEMING, NM 88030                     ELMHURST, IL 60126
THATCHER, JONATHON      Case 20-10766-BLS
                                      THAYNE,Doc  6 D. Filed 04/07/20
                                              LLOYD                        Page 1747  of 1969
                                                                                THD AMERICA, INC.
ADDRESS ON FILE                         P.O. BOX 1823.                           1731 SE ORALABOR RD
                                        COLUMBUS, NM 88029                       ANKENY, IA 50021-9412




THD AMERICA, INC.                       THD AMERICA, INC.                        THE BANK OF HAMPTON ROADS
190 INDUSTRIAL RD, UNIT 2               9 TECH CIRCLE., STE 103                  1145 NORTH ROAD STREET
WRENTHAM, MA 02093-2217                 NATICK, MA 01760                         ELIZABETH CITY, NC 27909




THE BANK OF HAMPTON ROADS               THE BARR GROUP INC                       THE BARR GROUP, INC
P.O. BOX 1908                           503-C LIGON DR                           503-C LIGON DRIVE
ELIZABETH CITY, NC 17906-1908           NASHVILLE, TN 37204                      NASHVILLE, TN 37204




THE BLOSSOM SHOP                        THE BRIAN GRANT FOUNDATION               THE CARPER SHOP, INC
301 SOUTH 12TH ST                       650 NE HOLLADAY ST SUITE 1600            405 WASHINGTON ST
MT. VERNON, IL 62864                    PORTLAND, OR 97232                       WILLIAMSTON, NC 27892




THE CARPET COMPANY INC                  THE CENTER FOR MEDICAL ED INC            THE CITY OF MESQUITE
1585 W 7TH AVE                          P.O. BOX 600
EUGENE, OR 97402                        CREAMERY, PA 19430




THE COOK LAW OFFICE                     THE DAISY FOUNDATION                     THE DAISY FOUNDATION
PO BOX 286                              11995 DUNBAR RD                          11995 DUNBAR ROAD
GOODLETTSVILLE, TN 37070                GLEN ELLEN, CA 95442                     GLEN ELLEN, CA 95442




THE DENTAL BOX COMPANY                  THE DENTAL BOX COMPANY, INC.             THE ESTATE OF BEVERLY J. HUBBARD
P.O. BOX 66940                          PO BOX 66940                             ATTN:LESLIE ROBB
ST LOUIS, MO 63166-6940                 ST. LOUIS, MO 63166                      4674 PEPPERWOOD DRIVE
                                                                                 PENNGROVE, CA 84663




THE ESTATE OF BRENDA SCHNEEDLE          THE ESTATE OF CARL B WAZLAVEK            THE ESTATE OF CLAUDETTE PRICE
131 OHIO ST                             15028 LINCOLN WAY E                      1131 CALHOUN
EAST ALTON, IL 62024                    DALTON, OH 44618                         MADISON, IL 62060




THE ESTATE OF DAVID ADAMS               THE ESTATE OF GERALDINE KARKLINS         THE ESTATE OF GREEN WADE A
3522 COUNTY ROAD 58                     931 CREST VIEW DR                        P.O. BOX 2561
GAYLESVILLE, AL 35973                   MESQUITE, NV 89027                       BLUE RIDGE, GA 30513




THE ESTATE OF JAMES A KOHLER            THE ESTATE OF LEANNA POORE               THE ESTATE OF MARIE WILLE
7025 MT PLEASANT ST NW                  23 CAMELOT DR                            7656 PRAIRIETOWN RD
NORTH CANTON, OH 44720                  EDWARDSVILLE, IL 62025                   WORDEN, IL 62097
                       Case 20-10766-BLS
THE ESTATE OF MARY A HENDERSON              DocOF
                                     THE ESTATE  6 STEPHEN
                                                     Filed GUARR
                                                           04/07/20   Page 1748  of 1969
                                                                           THE ESTATE OF VINCENT GADDY
329 LORI AVE NE                      20 SHANNON DR                          2503 STRATFORD LANE
MASSILLON, OH 44646                  WYNNE, AR 72396                        GRANITE CITY, IL 62040




THE HOME DEPOT PRO                   THE HOME DEPOT                         THE INDEPENDENT
13924 COLLECTION CENTER DR           222 E 2400 N                           P.O. BOX 5214
CHICAGO, IL 60693                    TOOELE, UT 84074-0000                  CAROL STREAM, IL 60197-5214




THE INDOOR GARDEN                    THE INSIDE LINE                        THE JOINT COMMISSION RECEIVABLES
965 TYINN 10                         115 LW BESIGNER DR                     P.O. BOX 734505
ATTN. GROUP BENEFITS                 CARPENTERSVILLE, IL 60110              CHICAGO, IL 60673-4505
EUGENE, OR 97402




THE JOINT COMMISSION                 THE KEY MAN                            THE KIESEL CO
P.O. BOX 734505                      AAA LOCKSMITH SVCS INC                 DEPT 23729 LK BOX 790100
CHICAGO, IL 60673-4505               1066 S. BLUFF ST, STE B                ST LOUIS, MO 63179-0100
                                     ST. GEORGE, UT 84770




THE LIFE SERVICES NETWORK TRUST      THE MCHUGHES LAW FIRM, LLC             THE MEDICAL PROTECTIVE COMPANY
C/O CLAIMSONE                        P.O. BOX 2180                          23289 NETWORK PLACE
225 SMITH RD                         LITTLE ROCK, AR 72203                  CHICAGO, IL 60673-1232
ST CHARLES, IL 60174




THE METROHEALTH FOUNDATION           THE NORTH HIGHLAND COMPANY LLC         THE OBSERVER
METROHEALTH MEDICAL CTR              VICE PRESIDENT                         P.O.BOX 989
2500 METROHEALTH DR RM H571          5105 MARYLAND WAY                      BLUE RIDGE, GA 30513
CLEVELAND, OH 44109-1998             SUITE 200
                                     BRENTWOOD, TN 37027



THE PHOENIX COMPANY, LLC             THE PRINCIPAL FINANCIAL GROUP          THE PRINCIPAL FINANCIAL GROUP
P.O. BOX 940                         711 HIGH ST                            P.O. BOX 9394
MCCAYSVILLE, GA 30555-0000           DES MOINES, IA 50392                   DES MOINES, IA 50306-9394




THE RAWLINGS COMPANY LLC             THE RAWLINGS COMPANY                   THE RAWLINGS COMPANY
ATTN: REFUNDS                        P.O. BOX 2000                          P.O. BOX 2000
P.O. BOX 2010                        LA GRANGE, KY 40031-2000               LAGRANGE, KY 40031
LA GRANGE, KY 40031-0000




THE RAWLINGS COMPANY, LLC            THE REPOSITORY                         THE REPOSITORY
ACCELERATED RECOVERY DIVISION        500 SOUTH MARKET AVE                   P.O. BOX 5214
P.O. BOX 589                         CANTON, OH 44702                       CAROL STREAM, IL 60197-5214
LAGRANGE, KY 40031




THE SHERWIN-WILLIAMS CO              THE SPECTRUM                           THE STAYWELL COMPANY, LLC
140 RIVERSIDE RD A                   P.O. BOX 677307                        P.O. BOX 90477
MESQUITE, NV 89027                   DALLAS, TX 75267-7307                  CHICAGO, IL 60696-0477
THE SURGICAL EQUIPMENTCase 20-10766-BLS
                      PEOPLE, LLC          Doc 6 INDEMINITY
                                    THE TRAVELERS    Filed 04/07/20
                                                             CO        Page 1749  of DEPARTMENT
                                                                            THE UTAH 1969       OF
1725 LOUISVILLE DRIVE               TRAVELERS CL REMITTANCE CTR              TRANSPORTATION
KNOXVILLE, TN 37912                 P.O. BOX 660317
                                    DALLAS, TX 75266-0317




THEA F RUBIN, ATTORNEY AT LAW        THEBEAU, KIM                            THEDACARE INC
2011 MALL ST, STE B                  214 CORAL DR                            2809 N PARK DR LN
COLLINSVILLE, IL 62234               COLLINSVILLE, IL 62234                  APPLETON, WI 54911




THEELER, GINA                        THEIA CAPITAL II LLC                    THEIS, BRIAN
ADDRESS ON FILE                      951 YAMATO RD, STE 160                  838 OAKCREST LN NE
                                     BOCA RATON, FL 33431                    MASSILLON, OH 44646




THEIS, GERALDINE                     THEISEN, CAROL J                        THEISS, RACHELE
805 S MONROE                         2829 SUNSET                             1209 BRADFORD RD NE
MILLSTADT, IL 62260                  FLOSSMOOR, IL 60422                     MASSILLON, OH 44646-4125




THELMA KELLER CONVENTION CENTER      THENARSE, TREASURE                      THEODOR, JESSICA L.
1202 N. KELLER DR                    14061 JOCKEY LANE                       757 SHAWNEE RD
P.O. BOX 747                         VICTORVILLE, CA 92394                   POCAHONTAS, IL 62275
EFFINGHAM, IL 62401




THEODORE, TERRY                      THERA COM LLC                           THERACOM LLC
3620 ELLIOTT BLVD                    PAYMENT CENTER                          PAYMENT CENTER
AUGUSTA, GA 30906-5204               P.O. BOX 640105                         P O BOX 640105
                                     CINCINNATI, OH 45264-0105               CINCINNATI, OH 45264




THERACOM                             THERACOM                                THERACOM, INC
P.O. BOX 640105                      PAYMENT CENTER                          P O BOX 640105
CINCINNATI, OH 45264-0105            P.O. BOX 640105                         CINCINNATI, OH 45264-0105
                                     CINCINNATI, OH 45264-0105




THERACOM, INC. A CAREMARK CO.        THERACOM, LLC                           THERAPAK, LLC
PAYMENT CENTER POB 640105            PAYMENT CENTER                          651 WHARTON DR
CINCINNATI, OH 45264-0105            P O BOX 640105                          CLAREMONT, CA 91711
                                     CINCINNATI, OH 45264-0105




THERAPAK, LLC                        THERAPEUTIC RESEARCH CENTER LLC         THERAPY PHYSICS, INC.
651 WHARTON DRIVE                    3120 W MARCH LN                         2501 CHERRY AVE STE. 270
CLAREMONT, CA 91711                  STOCKTON, CA 95219                      SIGNAL HILL, CA 90755




THERESA A LUNDEEN                    THERIAULT & JOSLIN PC                   THERMAL BALANCE INC.
523 N PRAIRIE ST APT 1               141 MAIN ST                             109 WIND HAVEN DR.
GALESBURG, IL 61401                  STE 4                                   STE 101
                                     MONTPELIER, VT 05602-2916               NICHOLASVILLE, KY 40356
                     Case
THERMAL EQUIPMENT SERVICE CO.20-10766-BLS
                                      THERMALDoc   6 Filed 04/07/20
                                                SOLUTIONS-OHIO INC       Page 1750 ofFISHER
                                                                              THERMO  1969SCIENTIFIC LLC
680 BIZZELL DR                        P.O. BOX 661                             P.O. BOX 842339
LEXINGTON, KY 40510                   PROCTORVILLE, OH 45669                   (ASHEVILLE)
                                                                               DALLAS, TX 75284-2339




THERMO FISHER SCIENTIFIC LLC         THETFORD, MEGAN A.                        THFC, LLC
P.O. BOX 842339                      1000 W UNION ST APARTMENT B
DALLAS, TX 75284-2339                MARION, IL 62959




THIAB, KARAMA K. MD                  THIBODAUX REGIONAL MEDICAL CENTER         THIBODEAUX, MARCUS
ADDRESS ON FILE                      602 NORTH ACADIA RD                       1544 ANSA BROUSSARD HWAY
                                     P.O. BOX 1118                             BREAUX BRIDGE, LA 70517
                                     THIBODAUX, LA 70302-1118




THIEL, BARBARA A.                    THIEL, JOHN E.                            THIEL, JORDYN
1403 W 4TH ST                        ADDRESS ON FILE                           2609 WILLIAMSBURG LN NW APT 3
LOCK HAVEN, PA 17745                                                           CANTON, OH 44708




THIEL, JUDITH                        THIEL, WILLIAM                            THIELKE, STACEY L.
307 EAST JOHNSON ST                  845 BEACH PL                              4021 GREENRIDGE DR
COLLINSVILLE, IL 62234               MUNDELEIN, IL 60060                       UNIONTOWN, OH 44685




THIEMAN, FLOYD                       THIEN, TAMMY C                            THIEN, TAMMY L.
857 COUNTY RD 855                    ADDRESS ON FILE                           3950 TOMPKINSVILLE RD.
COLLINSVILLE, AL 35961                                                         EDMONTON, TN 42129




THIEN, THOMAS DALE                   THIENES DONALD DALE                       THIENES, DONALD DALE
831 WILLIAMS ST                      87828 UPLAND STREET                       87828 UPLAND ST
EUGENE, OR 97402                     P.O. BOX 512                              P.O. BOX 512
                                     WALTERVILLE, OR 97489-0000                WALTERVILLE, OR 97489




THIES, CHRISTINE                     THIES, TERESA G.                          THIESSEN, LISA
ADDRESS ON FILE                      802 RITTER ST APT 4                       2960 COLONY WOOD CR SW
                                     PINCKNEYVILLE, IL 62274                   CANTON, OH 44706-3350




THIESSEN, LISA                       THIGPEN, DORRIS                           THIGPEN, JEANETTE
820 TANGLEWOOD DR NE                 P.O. BOX 161                              7947 S KINGSTON
MASSILLON, OH 44646                  FT DEPOSIT, AL 36032-0161                 CHICAGO, IL 60617




THIGPEN, KAITLIN C.                  THIGPEN, SUSAN                            THIGPEN, TERESA
560 306 W OLD MILITARY RD            ADDRESS ON FILE                           P.O. BOX 654
COLT, AR 72326                                                                 FT DEPOSIT, AL 36032-0654
THIGPEN, TIERA            Case 20-10766-BLS    Doc 6 Filed
                                        THIRD GENERATION      04/07/20
                                                         PAINTING CO           Page 1751  of 1969
                                                                                    THIRD PARTY REIMBURSEMENT SOLUTIONS
946 W 129TH PL                            P.O. BOX 24728                             LLC
CHICAGO, IL 60643                         EUGENE, OR 97402                           12104 COPPER WAY
                                                                                     STE 200
                                                                                     CHARLOTTE, NC 28277



THIRD PARTY SERVICES                      THIS ABLE VETERAN                          THISSEN, CAITLIN A.
P.O. BOX 34602                            1714 WOLF CREEK RD                         2283 12TH ST S.W.
WASHINGTON, DC 20043                      CARBONDALE, IL 62902                       AKRON, OH 44314




THISSEN, REBEKAH F.                       THOLE, DOUGLAS M                           THOLE, MARSHA K.
2283 12TH ST S.W.                         469 BRIAR COVE RD                          ADDRESS ON FILE
AKRON, OH 44314                           MORGANTON, GA 30560




THOMA, HEATHER                            THOMA, KARA                                THOMAJ, IRMA
760 HIGHLAND PARK DR.                     25 FAIRVIEW DR                             2599 CHAMBERLAIN RD AP 5
AKRON, OH 44319                           LOUISA, KY 41230                           FAIRLAWN, OH 44333




THOMAN, KIMBERLEE                         THOMAS CHAVIS                              THOMAS D. MILLER
ADDRESS ON FILE                           P.O.BOX 68                                 ADDRESS ON FILE
                                          PARMELE, NC 27861-0068




THOMAS D. MILLER                          THOMAS F BULLARD & LYNDA S BULLARD         THOMAS F PARKER
ADDRESS ON FILE                           JT TEN
                                          91 BEFFA ROAD
                                          TIETON, WA 98947-9706




THOMAS J. MADDEN & ASSOCIATES, INC.       THOMAS JR, WILLIE                          THOMAS KAREN LYNN
935 HWY 124                               946 WILDLIFE TRAIL                         78420 SEARS RD
BLDG 400, STE 401                         MORGANTON, GA 30560                        COTTAGE GROVE, OR 97424-0000
BRASELTON, GA 30517




THOMAS L WILEY JR                         THOMAS MCKEMIE                             THOMAS MEDICAL INC
THE WOMENS CLINIC                         474 KNOX HWY 26                            6102 VICTORY WAY
501 MARSHALL ST STE 400                   GALESBURG, IL 61401                        INDIANAPOLIS, IN 46278
JACKSON, MS 39202-1687




THOMAS OCONNOR                            THOMAS PLUMBING                            THOMAS PUBLISHING
283 KNOX RD 800E                          2354 LAKESHORE DR                          P.O. BOX 184
WATAGA, IL 61488                          COLUMBIA, IL 62236                         DUQUOIN, IL 62832




THOMAS STITES, MD                         THOMAS WALLACE                             THOMAS WINSKI
ADDRESS ON FILE                           1340 N KELLOGG ST                          250 W RAILROAD ST
                                          GALESBURG, IL 61401                        ROSEVILLE, IL 61473
THOMAS, ABRAHAM            Case 20-10766-BLS   Doc
                                         THOMAS,     6 Filed 04/07/20
                                                 ALBERT                 Page 1752 ofALICE
                                                                             THOMAS, 1969A.
ADDRESS ON FILE                           2195 N PHEASANT RIDGE CT           4985 BOULDERS DR
                                          ROUND LAKE BEACH, IL 60073         GURNEE, IL 60031




THOMAS, ALLYSSE                           THOMAS, ANDREA ESQ.                THOMAS, ANDREA ESQ.
457 E COATSVILLE AVE                      ADDRESS ON FILE                    9476 TRILLIUM DR
SALT LAKE CITY, UT 84115                                                     ST LOUIS, MO 63126




THOMAS, ANGELA D                          THOMAS, ANN                        THOMAS, ASHLEY M.
653 SUNSET DR                             14 BONNIE LN                       303 12TH ST
IDER, AL 35981-3400                       WYNNE, AR 72396                    WOOD RIVER, IL 62095




THOMAS, ASHLEY WIGLEY                     THOMAS, BERNADETTE                 THOMAS, BIGHAM
ADDRESS ON FILE                           13150 S LANGLEY AVE                ADDRESS ON FILE
                                          RIVERDALE, IL 60827




THOMAS, BRADLEY T.                        THOMAS, BRANDY                     THOMAS, BUDDY L.
2000 COUNTY RD 33                         5717 WARREN AVE                    212 DILBECK RD E
FYFFE, AL 35971                           WASHINGTON PARK, IL 62204          RAINSVILLE, AL 35986




THOMAS, CARLETTE                          THOMAS, CAROLYN                    THOMAS, CHARLES FRED
6043 ALLEMONG DR                          2090 87TH ST                       ADDRESS ON FILE
MATTESON, IL 60443                        MONMOUTH, IL 61462




THOMAS, CHARLES FRED                      THOMAS, CHARLES                    THOMAS, CHRISTIAN A.
174 THOMAS LANE                           ADDRESS ON FILE                    ADDRESS ON FILE
HUNTINGTON, TN 38344




THOMAS, CORSHEA L.                        THOMAS, CYNTHIA                    THOMAS, DEBBIE R.
195 OLD PERRY RD                          ADDRESS ON FILE                    1456 MANCHESTER RD
BONAIRE, GA 31005-3706                                                       MASSILLON, OH 44647




THOMAS, DEEPAK M.                         THOMAS, DEVIN                      THOMAS, ELAINE
ADDRESS ON FILE                           156 N ARCADIA DR                   1600 GRAND AVE SW
                                          BOGART, GA 30622                   FORT PAYNE, AL 35967




THOMAS, ELENA                             THOMAS, ELIZABETH B.               THOMAS, ELIZABETH M.
ADDRESS ON FILE                           1408 ARROWHEAD RD NW               ADDRESS ON FILE
                                          FORT PAYNE, AL 35967-1845
THOMAS, ELIZABETH        Case 20-10766-BLS   Doc
                                       THOMAS, ETOI6       Filed 04/07/20   Page 1753 ofEVELYN
                                                                                 THOMAS, 1969
ADDRESS ON FILE                         4105 CHARLESTON RD                       1940 180TH ST
                                        MATTESON, IL 60443                       GALESBURG, IL 61401




THOMAS, FREDA M.                        THOMAS, GARRIE                           THOMAS, GERALD D.
ADDRESS ON FILE                         1500 CARDINAL LANE                       1008 OLD HWY 5
                                        WINDER, GA 30680                         BLUE RIDGE, GA 30513




THOMAS, GLENDA                          THOMAS, JACK W.                          THOMAS, JACKQUELINE M.
234 HERITAGE PL                         140 THOMAS DR                            ADDRESS ON FILE
DALTON, OH 44618                        MORGANTON, GA 30560




THOMAS, JAMES I.                        THOMAS, JAMES W                          THOMAS, JANICE
P.O. BOX 167                            P.O. BOX 3486                            ADDRESS ON FILE
SALYERSVILLE, KY 41465                  WEST HELENA, AR 72390




THOMAS, JEFFREY D.                      THOMAS, JESSICA M.                       THOMAS, JESSICA
ADDRESS ON FILE                         5482 N SCARSBOROUGH WAY                  6445 VINEYARD ESTATES DR
                                        STANSBURY PARK, UT 84074                 HOLLISTER, CA 95023




THOMAS, JOHNNIE L.                      THOMAS, JONATHAN                         THOMAS, JULIE
10725 S EBERHART AVE                    574 ABBINGTON LANE                       ADDRESS ON FILE
CHICAGO, IL 60628-3707                  DOUGLASVILLE, GA 30134




THOMAS, KAREN LYNN                      THOMAS, KARLINE M.                       THOMAS, KATERRA C.
78420 SEARS RD                          ADDRESS ON FILE                          ADDRESS ON FILE
COTTAGE GROVE, OR 97424




THOMAS, KATHERINE A.                    THOMAS, KATI                             THOMAS, KENT
BEARE GROVE RD                          14227 KEELER AVE                         3490 YOUTH MONROE RD
ELLIS GROVE, IL 62241                   CRESTWOOD, IL 60418                      LOGANVILLE, GA 30052




THOMAS, KRISTIN A.                      THOMAS, KRUSZKA                          THOMAS, KURTZ
ADDRESS ON FILE                         DBA BLIND CORNER                         8801 ROSEWOOD HILLS DR
                                        552 ST. PIERRE ST                        EDWARDSVILLE, IL 62025
                                        FLORISSANT, MO 63031-5032




THOMAS, LAQUANDRA M.                    THOMAS, LILY M.                          THOMAS, MAIISHA
22 RACHEL DR. APT 8                     26 LAKEVIEW                              12323 S RACINE AVE
JACKSON, TN 38305                       TOOELE, UT 84074                         CALUMET PARK, IL 60827
THOMAS, MARCIA          Case 20-10766-BLS   Doc
                                      THOMAS,    6 Filed
                                              MARGARET L. 04/07/20   Page 1754 ofMARILYN
                                                                          THOMAS, 1969 E.
2145 OAKRIDGE AVE                      1506 NORTH CENTRAL                 ADDRESS ON FILE
MONROE, GA 30656                       APT D
                                       MARION, IL 62959




THOMAS, MARSHENA J.                    THOMAS, MICAH J.                   THOMAS, MONICA C.
ADDRESS ON FILE                        ADDRESS ON FILE                    9919 TOPAZ AVE
                                                                          HESPERIA, CA 92345




THOMAS, MONIKA N.                      THOMAS, MORENO                     THOMAS, NENNINGER
ADDRESS ON FILE                        12717 DIVISION                     8300 BURLINGTON DR
                                       BLUE ISLAND, IL 60406              TROY, IL 62294




THOMAS, NOLAN                          THOMAS, OLESEN                     THOMAS, ORR
P.O. BOX 447                           8510 NEARWOOD ST NW                1201 ELMOS DR
FT DEPOSIT, AL 36032                   MASSILLON, OH 44646                WILLIAMSTON, NC 27892




THOMAS, ORTIZ                          THOMAS, OWENS                      THOMAS, PATRICIA E.
P.O. BOX 75                            12830 BAYSIDE POINTE               ADDRESS ON FILE
ROWE, NM 87562                         WINNEBAGO, IL 61088-8019




THOMAS, PATRICIA                       THOMAS, PATRICIA                   THOMAS, PAUTLER
ADDRESS ON FILE                        ADDRESS ON FILE                    1929 STEMLER RD
                                                                          COLUMBIA, IL 62236




THOMAS, PERKS                          THOMAS, PHIPPS                     THOMAS, RACHEL M.
2468 HEIDELBERG AVE SE                 704 CHERRY RD NE                   902 MARION AVE NW
MASSILLON, OH 44646-9628               MASSILLON, OH 44646                MASSILLON, OH 44646




THOMAS, RACHEL                         THOMAS, RAYMOND S.                 THOMAS, RECKER
180 REEVES RD                          1419½ S. HAYWORTH AVE.             202 SOUTH CLINTON ST
GRANTSBURG, IL 62943                   LOS ANGELES, CA 90035              NEW ATHENS, IL 62264




THOMAS, REIKOWSKI                      THOMAS, RENEE                      THOMAS, RICKY
7358 PORTAGE ST NW                     3808 CALVIN ST                     P.O. BOX 74
MASSILLON, OH 44646                    BIG SPRING, TX 79720               COPPERHILL, TN 37317




THOMAS, ROG                            THOMAS, ROIS                       THOMAS, ROTH
14137 TERRY DR                         411 E MADISON                      291 VINEYARD LANE
ORLAND PARK, IL 60462                  MILLSTADT, IL 62260                MESQUITE, NV 89027
THOMAS, ROYSHUNDRIA     Case 20-10766-BLS   Doc
                                      THOMAS,    6 CHRISTOPHER
                                              SHAUN Filed 04/07/20   Page 1755 ofSHAUN
                                                                          THOMAS, 1969M.
ADDRESS ON FILE                        2605 STATE ST                      305 HICKORY ST
                                       GRANITE CITY, IL 62040             P.O. BOX 141
                                                                          ALHAMBRA, IL 62001




THOMAS, SHAUN M.                       THOMAS, SHELIA                     THOMAS, SHIRLEY
ADDRESS ON FILE                        P.O. BOX 646                       896 TYLERTON CIRCLE
                                       BOONEVILLE, KY 41314               GRAYSLAKE, IL 60030




THOMAS, SHIWAND D.                     THOMAS, SMITHA                     THOMAS, SOLEIM
207 LORETTA LN                         2315 SOUTH ST                      83531 PAPENFUS RD
GODFREY, IL 62035                      ELGIN, IL 60123                    PLEASANT HILL, OR 97455




THOMAS, STEVIE                         THOMAS, STRINGER                   THOMAS, SUZAN
1758 APPALACHIAN HWY                   1312 MAPLE CREEK AVE               ADDRESS ON FILE
HOKES BLUFF, AL 35903                  LOGANVILLE, GA 30052




THOMAS, TANYA R.                       THOMAS, TISHA                      THOMAS, VIERHELLER
233 NORTH 8TH ST                       1990 TRIBBLE WALK DR               211 W CANAL ST
WEST HELENA, AR 72390                  LAWRENCEVILLE, GA 30045            PORT WASHINGTON, OH 43837




THOMAS, WALLACE                        THOMAS, WILKESHIA                  THOMAS, WILLA G.
1340 N KELLOGG ST                      103 KATHRYN ST                     11882 OLD HWY. 76
GALESBURG, IL 61401                    EAST ST LOUIS, IL 62203            MORGANTON, GA 30560




THOMAS, WILLARD G. JR                  THOMAS, WINSKI                     THOMASIN, LEE
9061 BLUE RIDGE DR                     250 W RAILRD ST                    200 NEW SEARCY RD
BLUE RIDGE, GA 30513                   ROSEVILLE, IL 61473                GREENVILLE, AL 36037




THOMASINE, COCKERHAM                   THOMAS-LEWIS, NANCEE               THOMASON LAW FIRM
703 NATCHEZ TRACE DR                   1704 BOROWOOD DR                   111 LOMAS BLVD NW
LEXINGTON, TN 38351                    NASHVILLE, TN 37217                STE 502
                                                                          ALBUQUERQUE, NM 87102




THOMASON, BRADLEY D.                   THOMASON, CRYSTAL N.               THOMASON, DONNA C.
ADDRESS ON FILE                        223 HAYDEN AVE                     ADDRESS ON FILE
                                       EVANSTON, WY 82930




THOMASON, JESSICA D.                   THOMASON, JESSICA                  THOMASON, LEILA
ADDRESS ON FILE                        ADDRESS ON FILE                    1158 CO HWY 9
                                                                          CISNE, IL 62823
THOMASON, WILLIAM R.    Case 20-10766-BLS    DocWILLIAM
                                      THOMASON,   6 Filed
                                                        R. 04/07/20   Page 1756 of 1969
                                                                           THOMASSEN, CHRISTA
671 HAPPY TRAILS LN                   7 SHIPWATCH RD                       ADDRESS ON FILE
MINERAL BLUFF, GA 30559               SAINT HELENA ISLAND, SC 29920




THOMERSON & FREEMAN PC               THOMPKINS, CASSIE                     THOMPSON & KNIGHT LLP
P.O. BOX 473                         216 W FOREST AVE                      98 SAN JANCINTO BLVD, STE 1900
GREENVILLE, SC 29602                 APT 205                               AUSTIN, TX 78701
                                     ROUND LAKE, IL 60073




THOMPSON & KNIGHT LLP                THOMPSON COBURN LLP                   THOMPSON ELECTRONICS
P.O. BOX 660684                      P.O. BOX 18379M                       905 S. BOSCH RD
DALLAS, TX 75266-0684                ST LOUIS, MO 63195                    PEORIA, IL 61607




THOMPSON ELEVATOR INSPECTION         THOMPSON HOPPPS PUMP                  THOMPSON PATRICIA MAXINE
SERVICE INC                          PO BOX 909                            27616 HIGHWAY 36
830 E RAND RD                        MOLINE, IL 61266                      P.O. BOX 489
UNIT 10                                                                    JUNCTION CITY, OR 97448-0000
MT PROSPECT, IL 60056



THOMPSON SURGICAL INSTRUMENTS, INC   THOMPSON TRACTOR                      THOMPSON, ABBIE L.
10170 E CHERRY BEND RD               P.O. BOX 934005                       2956 GENOA AVE SW
TRAVERSE CITY, MI 49684              ATLANTA, GA 31193-4005                CANTON, OH 44706




THOMPSON, ARTHUR                     THOMPSON, BEN                         THOMPSON, BILLIE J.
22 GINGER RIDGE LANE                 3005 EDGEWOOD AVE                     ADDRESS ON FILE
GLEN CARBON, IL 62034                GRANITE CITY, IL 62040




THOMPSON, BRENDA M.                  THOMPSON, BUFFY M.                    THOMPSON, BYRON
210 AZTEC ST                         ADDRESS ON FILE                       1718 MCCURDY LOOP RD E
BIG SPRING, TX 79720                                                       FORT PAYNE, AL 35967




THOMPSON, CARL W.                    THOMPSON, CARRIE N.                   THOMPSON, CASSANDRA
10960 BEACH BLVD                     ADDRESS ON FILE                       4116 CHARLESTON RD
LOT 29                                                                     MATTESON, IL 60443
JACKSONVILLE, FL 32246-4830




THOMPSON, CATHERINE A.               THOMPSON, CHRISTABEL                  THOMPSON, CHRYSTAL G.
1901 PONTOON RD                      2799 HUMPHREY MILL RD                 23054 HWY 39
GRANITE CITY, IL 62040               MINERAL BLUFF, GA 30559               BRINKLEY, AR 72021




THOMPSON, CLARA M                    THOMPSON, CLIFFORD T.                 THOMPSON, CLIFFORD
9716 65TH ST                         2799 HUMPHREY MILL RD                 4799 BLUE RIDGE DRIVE SUITE 104
KENOSHA, WI 53142                    MINERAL BLUFF, GA 30559               BLUE RIDGE, GA 30513
THOMPSON, CONSTANCE Case 20-10766-BLS    DocCORI
                                  THOMPSON,   6 S.Filed 04/07/20   Page 1757 of 1969
                                                                        THOMPSON, DANIELLE
10382 SUDBURY CR NW               1043 W LOSEY ST                        15074 NORTH SEAGULL
NORTH CANTON, OH 44720            GALESBURG, IL 61401                    BLUFORD, IL 62814




THOMPSON, DARJAE                    THOMPSON, ELISABETH                  THOMPSON, ELIZABETH
1603 CARR DR                        331 9TH ST                           3324 GREENBRIER CREEK RD
ST LOUIS, MO 63106                  EVANSTON, WY 82930-3417              FORT GAY, WV 25514




THOMPSON, ELTONJIA                  THOMPSON, EMILY M.                   THOMPSON, ERIC A.
6613 BRIDLE PATH DR                 2274 HUMPHREY MILL RD                921 CURRYTOWNE BLVD
MATTESON, IL 60443                  MINERAL BLUFF, GA 30559              NORTH AUGUSTA, SC 29860




THOMPSON, ERIN                      THOMPSON, FELICIA                    THOMPSON, GERALDINE
ADDRESS ON FILE                     342 MIDWAY DR                        3657 CRAWFORDVILLE DR
                                    MUNDELEIN, IL 60060                  AUGUSTA, GA 30903-9450




THOMPSON, HALEY                     THOMPSON, HILARY                     THOMPSON, HOPPPS PUMP
P.O. BOX 884                        ADDRESS ON FILE                      P.O. BOX 909
SILVER CREEK, GA 30173                                                   MOLINE, IL 61266




THOMPSON, JAMES O                   THOMPSON, JAMES                      THOMPSON, JAMIE L.
1689 COUNTY RD 255                  800 COUNTY RD 380                    ADDRESS ON FILE
FORT PAYNE, AL 35967                CENTRE, AL 35960




THOMPSON, JASON                     THOMPSON, JAYLIN                     THOMPSON, JENNIFER L.
2420 CENTER ST                      4208 WHITETAIL CT                    ADDRESS ON FILE
GRANITE CITY, IL 62040              JOLIET, IL 60431




THOMPSON, JENNIFER N.               THOMPSON, JO ANN                     THOMPSON, JOHNNIE
ADDRESS ON FILE                     ADDRESS ON FILE                      160 E WORLD ST
                                                                         GREENVILLE, AL 36037




THOMPSON, JORDAN                    THOMPSON, JOYCE E.                   THOMPSON, KEITH
2670 BODY BARN RD                   ADDRESS ON FILE                      11556 S OAKLEY AVE
ANNA, IL 62906                                                           CHICAGO, IL 60643




THOMPSON, KIM                       THOMPSON, KIRK                       THOMPSON, KIRSTEN
ADDRESS ON FILE                     2221 CARDINAL                        P.O. BOX 272
                                    GRANITE CITY, IL 62040               FORT GAY, WV 25514
THOMPSON, LAUREN K.      Case 20-10766-BLS   DocLESLIE
                                       THOMPSON, 6 Filed    04/07/20
                                                       FRANCES         Page 1758 of 1969
                                                                            THOMPSON, MACHINERY
ADDRESS ON FILE                         2544 SOUTH 350 WEST                 P.O. BOX 535496
                                        WASHINGTON, UT 84780                ATLANTA, GA 30353-5496




THOMPSON, MADISON J.                    THOMPSON, MARANDA A.                THOMPSON, MARK D.
27992 EDGEWATER DR                      ADDRESS ON FILE                     ADDRESS ON FILE
EUGENE, OR 97402




THOMPSON, MARQUES                       THOMPSON, MARSHA L                  THOMPSON, MARTINA M.
1805 JACK ROBERSON RD                   1007 JEFFERSON ST SE                2024 GILEAD AVE
WILLIAMSTON, NC 27892                   NEW PHILADELPHIA, OH 44663          ZION, IL 60099




THOMPSON, MARTINA; CHARGE NO.           THOMPSON, MERLE M                   THOMPSON, MICHAEL C.
2019CF1467                              581 S JOHNSON LANE                  228 GENTRY BOUCHER RD.
C/O ILLINOIS DEPT OF HUMAN RIGHTS       RUSH VALLEY, UT 84069               KENTON, TN 38233
100 W RANDOLPH ST, STE 10-100
CHICAGO, IL 60601



THOMPSON, MICHELE                       THOMPSON, MILDRED I                 THOMPSON, NATIANA
ADDRESS ON FILE                         601 W NEW YORK AVE                  2504 A BLUFF VIEW CT
                                        SEBRING, OH 44672                   GREENVILLE, NC 27834




THOMPSON, NIGEL                         THOMPSON, NOEL                      THOMPSON, NOEL
8600 N. REARDON LN                      138 SILVER SAGE DR. APT A           ADDRESS ON FILE
MT. VERNON, IL 62864-7175               EVANSTON, WY 82930




THOMPSON, NOREEN                        THOMPSON, PAMELA M.                 THOMPSON, PATRICIA MAXINE
3341 TEOUMSEH RIVER RD                  ADDRESS ON FILE                     27616 HIGHWAY 36
LANSING, MI 48906                                                           P.O. BOX 489
                                                                            JUNCTION CITY, OR 97448




THOMPSON, PATTIE L.                     THOMPSON, PETER                     THOMPSON, RANDY M
4245 ROSEBUD RD                         422 COATSVILLE AVE                  805 COURTNIE CIRCLE
METROPOLIS, IL 62960                    SALT LAKE CITY, UT 84115            ODENVILLE, AL 35120




THOMPSON, REBA J                        THOMPSON, REMEDIOS                  THOMPSON, RHETA
5 QUAIL RUN                             ADDRESS ON FILE                     2226 STONER AVE NE
BLUE RIDGE, GA 30513                                                        MASSILLON, OH 44646-4935




THOMPSON, ROXY                          THOMPSON, SHARON D.                 THOMPSON, SHARON
706 MERLIN CT                           ADDRESS ON FILE                     ADDRESS ON FILE
TROY, IL 62294
THOMPSON, SHELBY P.       Case 20-10766-BLS   DocSHELLY
                                        THOMPSON, 6 Filed 04/07/20      Page 1759 of 1969
                                                                             THOMPSON, SHIELA
ADDRESS ON FILE                         ADDRESS ON FILE                       5204 MILL CREEK RD
                                                                              GENOA, WV 25517




THOMPSON, SYLVIA M.                     THOMPSON, TAMMY                       THOMPSON, THERESA
612 WEST PIKE ST APT 1                  2309 HILLCREST                        11968 LAGUNA DR
LOUISA, KY 41230                        HARRISBURG, IL 62946                  MARION, IL 62959




THOMPSON, TRISH                         THOMPSON, VICTORIA                    THOMS, JAMES A.
3039 CHESTNUT GAP ROAD                  18231 AIDA CT                         12259 S REXFORD ST
BLUE RIDGE, GA 30513                    HOMEWOOD, IL 60430                    ALSIP, IL 60803-2525




THOMSEN, JANA L.                        THOMSON PROFESSIONAL & REGULATORY     THOMSON, ANDREW K.
368 CATHEDRAL DR                        INC                                   ADDRESS ON FILE
SCOTTS VALLEY, CA 95066                 THOMSON TAX & ACCTG - CHECKPOINT
                                        P.O. BOX 71687
                                        CHICAGO, IL 60694-1687



THOMSON, CELESTE                        THOMSON, STEVEN                       THOMSON-WEST/BARCLAYS
507 MITCHELL RD.                        8278 PORTAGE ST NW                    P.O. BOX 6292
COMO, MS 38619                          MASSILLON, OH 44646                   CAROL STREAM, IL 60197-6292




THOMTE, AUTUMN R.                       THOR, SUSAN                           THORBS, DORRIS
ADDRESS ON FILE                         1725 JEFFERSON ST                     426 SUMIT AVE
                                        GALESBURG, IL 61401                   COLLINSVILLE, IL 62234




THORBURG, JEANICE                       THORLEY, DONNA L.                     THORN, ELLA M.
8559 B RD                               3976 LINDBERGH AVE NW                 9310 ROHRLAND ST NW
VALMEYER, IL 62295                      CANTON, OH 44718                      MASSILLON, OH 44647-1236




THORN, JIM                              THORNBERRY, DOROTHY                   THORNBERRY, JAMI V.
9310 ROHRLAND ST NW                     610 27TH ST NW                        ADDRESS ON FILE
MASSILLON, OH 44647-1236                MASSILLON, OH 44647




THORNE, HEIDE                           THORNHILL, AMANDA N.                  THORNLEY, SCOTT
8317 312TH AVE                          306 CR 345                            1405 BIRMINGHAM AVE
BURLINGTON, WI 53105                    PISGAH, AL 35765                      JASPER, AL 35501




THORNOCK, BRUCE                         THORNSBERRY, ALLISON L.               THORNSBERRY, KRISTIN
261 APPALOOSA DR                        79 ENGLEWOOD DR                       4207 GREAT BASIN LANE
EVANSTON, WY 82930-9572                 GLEN CARBON, IL 62034                 LAS CRUCES, NM 88011
THORNSBERRY, KRISTIN     Case 20-10766-BLS   DocSCOTT
                                       THORNTON   6 Filed 04/07/20      Page 1760 of 1969
                                                                             THORNTON, CARLOTTA
ADDRESS ON FILE                         14973 CALICO ROAD                    12231 FAIRWAY CR
                                        MARION, IL 62959                     UNIT D
                                                                             BLUE ISLAND, IL 60406




THORNTON, DONALD L.                     THORNTON, JAMES W                    THORNTON, JEAN E.
4798 WENDOVER ST                        75 LICK CREEK WATER RD               530 TRELAKE DR
EUGENE, OR 97404                        BUNCOMBE, IL 62912                   CANAL FULTON, OH 44614




THORNTON, KATELAND                      THORNTON, SCOTT                      THORNTON, SYLVESTER
3 N. DELAWARE AVE                       14973 CALICO RD                      P.O. BOX 2053 P.O. BOX 2053
BELLEVILLE, IL 62221                    MARION, IL 62959                     CLARKSDALE, MS 38614




THORNTON, THERESA                       THORON, AMANDA                       THORP, FRED
5843 COLUMBINE RD                       3777 GREENBRIAR ESTATES              801 ALANTIC AVE
COULTERVILLE, IL 62237                  EDWARDSVILLE, IL 62025               WAUKEGAN, IL 60085




THORP, JAMIE M.                         THORPE, BARBARA L.                   THORPE, BRENDA V.
936 6TH ST SW                           3811 GLEN EAGLES BLVD APT 111        ADDRESS ON FILE
SYLVANIA, AL 35988                      UNIONTOWN, OH 44685




THORPE, CAMI                            THORPE, FRANK                        THORPE, JESSE J.
5436 HAMPTON WAY                        3596 HWY 541                         215 CEMETERY RD
STANSBURY, UT 84074                     JACKSON, KY 41339                    JACKSON, KY 41339




THORPE, JOHNNY                          THORPE, MARCUS A.                    THORPE, MELISSA
1034 SMITH BR RD                        ADDRESS ON FILE                      108 GEM CT
JACKSON, KY 41339                                                            WHITE HOUSE, TN 37188




THORPE, MORGAN D.                       THORSTEN, RAYMOND W.                 THORUP, AMANDA M.
ADDRESS ON FILE                         ADDRESS ON FILE                      345 N COLEMAN ST
                                                                             TOOELE, UT 84074




THORUP, PATRICIA                        THOTTAPURATHU, BINDU                 THOUVENOT, WADE & MOERCHEN, INC
351 HAW PATCH LN                        436 MEYERSON WAY                     4940 OLD COLLINSVILLE RD
EVANSTON, WY 82930                      WHEELING, IL 60090                   SWANSEA, IL 62226




THRAILKILL, WILLIAM P.                  THRASH, AMY                          THRASH, ELESIA
79 RD 9027                              849 OAK GROVE RD                     P.O. BOX 183
FLAT ROCK, AL 35966                     RAINSVILLE, AL 35986                 FYFFE, AL 35971
THRASH, KATY              Case 20-10766-BLS
                                        THRASH,Doc   6 Filed 04/07/20
                                                RAYMOND                 Page 1761 of 1969
                                                                             THRASHER, JULIE
102 LAVERNE DR                          537 COUNTY RD 897                     2632 PONTOON RD
RAINSVILLE, AL 35986-4451               RAINSVILLE, AL 35986-3629             GRANITE CITY, IL 62040




THRASHER, KATHY                       THRASHER, KIMBERLY                      THRASHER, MICHAEL
144 COUNTY RD 473                     ADDRESS ON FILE                         1003 RICHLAND
DUTTON, AL 35744                                                              WEST MEMPHIS, AR 72301




THRASHER, SANDRA S.                   THREATT, DEBRA R.                       THREE FORKS REGIONAL JAIL
132 BRITTANY LANE                     611 W 129TH PL                          2221 FAIRGROUND RIDGE RD
GUYTON, GA 31312                      CHICAGO, IL 60628                       BEATYVILLE, KY 41311




THREE FORKS REGIONAL JAIL             THREE FORKS TRADITION                   THREE RIVERS FOOD MART
2475 CENTER ST                        P.O. BOX 557                            1910 HIGHWAY 2565
BEATTYVILLE, KY 41311                 BEATTYVILLE, KY 41311                   LOUISA, KY 41230




THREE RIVERS GIFT SHOP                THREE RIVERS HEALTH & REHAB             THREE RIVERS HEALTH
P.O. BOX 30                           2334 SOUTH 41ST STREET                  701 SOUTH HEALTH PARKWAY
LOUISA, KY 41230                      WILMINGTON, NC 28403                    THREE RIVERS, MI 49093-9362




THREE RIVERS MEDICAL CENTER           THREE RIVERS MEDICAL CLINIC             THREE RIVERS MEDICAL CLINICS, INC.
ENTITY 0117                           P.O. BOX 30                             306 W. MAIN ST
2485 HWY 644                          LOUISA, KY 41230                        STE 512
LOUISA, KY 41230                                                              FRANKFORT, KY 40601




THREE RIVERS MEDICAL GIFT SHOP        THREECP, LLC                            THREET, MARY N.
P.O. BOX 769                          3426 WOODHAVEN DR                       1610 EDGAR CEMTERTY RD
LOUISA, KY 41230                      SOMERSET, KY 42503-9527                 PARIS, TN 38242




THRIVENT FINANCIAL FOR LUTH           THRIVENT FINANCIAL LUTHERANS            THRIVENT FINANCIAL
4321 NORTH BALLARD RD                 625 FOURTH AVE S                        4321 N BALLARD RD
APPLETON, WI 54919                    MINNEAPOLIS, MN 55415-1624              APPLETON, WI 54919-0001




THRIVENT FINANCIAL                    THROGMORTON, AMANDA                     THUENEMANN-BAKER, PAMELA M.
HEALTH CLAIMS & SERVICE DEPT          ADDRESS ON FILE                         653 FINGER HILL RD
4321 N BALLARD RD                                                             MARISSA, IL 62257
APPLETON, WI 54919-0001




THUENEMANN-BAKER, PAMELA M.           THUMA, TIMOTHY N.                       THUNDERBOLT BROADCASTING CO
ADDRESS ON FILE                       ADDRESS ON FILE                         P.O. BOX 318
                                                                              MARTIN, TN 38237
THURAU, GARREN            Case 20-10766-BLS
                                        THURIESDoc  6 Filed 04/07/20
                                                JACKSON                 Page 1762  of JACKSON
                                                                             THURIES,  1969
301 FREEDOM DR                           P.O.BOX 14                           P.O. BOX 14
HECKER, IL 62248                         ROPER, NC 27970                      ROPER, NC 27970




THURM, ANDREA L.                         THURMAN MOORE                        THURMAN, KIMBERLY K.
ADDRESS ON FILE                          2471 MARROWBONE CREEK ROAD           117 WEST 1ST ST
                                         KERMIT, WV 25674                     E GALESBURG, IL 61430




THURMAN, KIMBERLY K.                     THURMANN, HOLLY L                    THURMOND, DUSTIN
ADDRESS ON FILE                          42 HAWLEY ST APT 201                 8351 COUNTY RD 38
                                         GRAYSLAKE, IL 60030                  SECTON, AL 35771




THURMOND, MARSHIA                        THURSTON BAGEL SPHERE                THURSTON HIGH SCHOOL
108 E MCDONALD                           810 WILLAMETTE ST                    333 58TH ST
MARION, IL 62959                         EUGENE, OR 97401                     SPRINGFIELD, OR 97478




THURSTON HIGH SCHOOL                     THURSTON, BETTY                      THWEATT, KELLEY E.
333 58TH STREET                          10400 S ALBANY                       733 COUNTY RD 48
SPRINGFIELD, OR 97478-0000               CHICAGO, IL 60655                    FYFFE, AL 35971




THYER, CARLA D.                          THYSSENKRUPP ELEVATOR CORP           THYSSENKRUPP ELEVATOR CORP
ADDRESS ON FILE                          9200 MARKET PLACE                    P.O. BOX 3796
                                         BROADVIEW HTS, OH 44147              CAROL STREAM, IL 60132-3796




THYSSENKRUPP ELEVATOR CORP               THYSSENKRUPP ELEVATOR CORPORATION    THYSSENKRUPP ELEVATOR
P.O. BOX 933004                          PO BOX 3796                          PO BOX 933004
ATLANTA, GA 31193-3004                   CAROL STREAM, IL 60132-3796          ATLANTA, GA 31193




TI SERVICES, LLC                         TIAOKHIAO, SINTHASATH                TIBBETTS, BRYANNA
P.O. BOX 3589                            ADDRESS ON FILE                      3613 APT 1C 15TH ST
YOUNGSTOWN, OH 44513                                                          KENOSHA, WI 53143




TIBBS, DEBRA S.                          TIBER, HUDSON                        TICE, DOUGLAS S.
ADDRESS ON FILE                          1801 K ST NW                         11801 KNOB RD
                                         BANK OF AMERICA                      CUMBERLAND, MD 21502
                                         WASHINGTON, DC 20006




TICER, MICHELLE K.                       TICER, MICHELLE K.                   TICHENOR, CHELSEY K.
1201 GRAND AVE                           ADDRESS ON FILE                      ADDRESS ON FILE
JOHNSTON CITY, IL 62951
                       Case 20-10766-BLS
TICIAS FLOORING ESSENTIALS           TIDDENS,Doc  6 Filed 04/07/20
                                               STEVEN                 Page 1763   of 1969LLC
                                                                           TIDI PRODUCTS
704 S MAIN ST                        257 IDA AVE                            P.O. BOX 776290
BIG SPRING, TX 79720                 ANTIOCH, IL 60002                      CHICAGO, IL 60677-6290




TIDI PRODUCTS, LLC                   TIDMAN, LEE A.                         TIDMAN, LEE
P.O. BOX 776290                      ADDRESS ON FILE                        ADDRESS ON FILE
CHICAGO, IL 60677-6290




TIDMAN, RAYMOND E.                   TIDMAN, RAYMOND E.                     TIDMORE, LINDA
ADDRESS ON FILE                      ADDRESS ON FILE                        3631 DEAN RD NE
                                                                            FORT PAYNE, AL 35967




TIDRICK, KRISTY D.                   TIDWELL, GARY L.                       TIDWELL, JENNIFER R.
1146 2ND ST NW                       410 CIRCLE DR                          ADDRESS ON FILE
NEW PHILADELPHIA, OH 44663           BIG SPRING, TX 79720




TIDWELL, JENNIFER R.                 TIDWELL, JOE ANN                       TIDWELL, JUSTIN
1067 COUNTY RD 502                   1300 S CARLSBAD ST                     1561 CANYON DR
FORT PAYNE, AL 35968                 DEMING, NM 88030                       OGDEN, UT 84405




TIDWELL, JUSTIN                      TIDWELL, KAPRICE                       TIDWELL, LAURIE M.
1561 CANYON DRIVE                    4655 S LAKE PARK AVE APT 219           ADDRESS ON FILE
OGDEN, UT 84405-0000                 CHICAGO, IL 60653




TIEMANN, MICHAEL A.                  TIERCE, BARBARA                        TIERRA, MARSHALL
60 ANNEBRIAR DR                      ADDRESS ON FILE                        105 TAYLOR PARK LANE
MARYVILLE, IL 62062                                                         COLERAIN, NC 27924




TIETZ, JANIE                         TIFANI BAKER                           TIFFANI GARCIA
7861 STONEFORT RD                    ADDRESS ON FILE                        131 DUFFIELD AVE
CREAL SPRINGS, IL 62922                                                     GALESBURG, IL 61401




TIFFANIE, STEWART                    TIFFANY CHIAPPETTA PHOTOGRAPHY         TIFFANY HELMS
3005 CHERRY ST                       505 N RIVERSIDE DR                     1020 S B ST
MT. VERNON, IL 62864                 STE 201                                MONMOUTH, IL 61462
                                     GURNEE, IL 60031




TIFFANY M MARSHALL                   TIFFANY, CASSELBERRY                   TIFFANY, HELMS
509 W NORTH ST                       162 FERGUSON DR                        1020 S B ST
ABINGDON, IL 61410                   LEXINGTON, TN 38351                    MONMOUTH, IL 61462
TIFFENBACK, MICHELE C.   Case 20-10766-BLS
                                       TIFFENYDoc 6 Filed 04/07/20
                                              JENNINGS               Page 1764   of 1969M.
                                                                          TIGAN, ADELINE
2821 U.S. HWY. 34                       ADDRESS ON FILE                    ADDRESS ON FILE
ALTONA, IL 61414




TIGAN, ADELINE                          TIGER LILY                         TIGER, RILEY E.
ADDRESS ON FILE                         601 GAULT AVE S., STE. 100         ADDRESS ON FILE
                                        FORT PAYNE, AL 35967




TIGNOR, SARAH E.                        TIGUILA, SANDRA C.                 TILIB-LINDAS, JAY-JAY M.
8961 WEAVERS RUN RD                     ADDRESS ON FILE                    ADDRESS ON FILE
TIPPECANOE, OH 44699




TILK, SHARI                             TILL, MARY                         TILLER, JAMES E.
41 WESTBURY DR                          13771 HALSO MILL RD                952 WILLIAM DR
BELLEVILLE, IL 62220                    GREENVILLE, AL 36037               KNOXVILLE, IL 61448




TILLER, MACENZIE L.                     TILLER, SHEILA K.                  TILLER-HEWITT HEALTHCARE STRATEGIES
3370 FALCON DR                          420 ARMOR DR                       13914 STATE ROUTE 143
SPRINGFIELD, OR 97477                   LOGANVILLE, GA 30052               POCAHONTAS, IL 62275




TILLERY CLARA MAE                       TILLERY, GUINEVERE                 TILLERY, MANDY
76472 LOCUST ST                         24063 W HAWTHORNE LN               ADDRESS ON FILE
OAKRIDGE, OR 97463                      ANTIOCH, IL 60002




TILLETT, DIANA                          TILLEY, KIMBERLY C.                TILLEY, PAMELA S.
2511 ROSEBAY ST                         ADDRESS ON FILE                    ADDRESS ON FILE
EUGENE, OR 97402




TILLMAN, ALLISON                        TILLMAN, ALLISON                   TILLMAN, ALLISON
317 E FIELD DR                          ADDRESS ON FILE                    ADDRESS ON FILE
RED BUD, IL 62278




TILLMAN, EDITH                          TILLMAN, WILLIAM                   TILLOTSON, SANDRA
102 PEACE AND HARMONY RD                1328 VALLEY RD                     P.O. BOX 288
GLEASON, TN 38229                       HENAGAR, AL 35978                  FORT BRIDGER, WY 82933-0288




TILSON, LAUREN                          TIM BARBER, CRNA                   TIMAN, JUVY A.
215 PINEWOOD DR                         3158 BARBER RD                     275 WEBB RD
GODFREY, IL 62035                       JAMESVILLE, NC 27846               WATSONVILLE, CA 95076
TIME WARNER CABLE        Case 20-10766-BLS    Doc 6CABLE
                                       TIME WARNER    Filed 04/07/20       Page 1765
                                                                                TIME of 1969
P.O. BOX 0901                           P.O. BOX 60074                          P.O. BOX 62121
CAROL STREAM, IL 60132                  CITY OF INDUSTRY, CA 91716-0074         TAMPA, FL 33662




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FORT PAYNE, AL 35968                    FORT PAYNE, AL 35968-0000               FORT PAYNE, AL 39568




TIMESCAPES, INC                         TIMINS, BRUCE                           TIMM, ETHLEEN
1208 SOUTH BOULEVARD                    2117 BRYANT DR                          ADDRESS ON FILE
EVANSTON, IL 60202                      DEMING, NM 88030




TIMM, KATHY                             TIMMERMAN, LYNNE T.                     TIMMINS, DENNIS
801 WILKINS DR                          2944 HARVEST LN                         ADDRESS ON FILE
MONROE, GA 30655                        LINDENHURST, IL 60046




TIMMONS, ALICE                          TIMMONS, KAYLA                          TIMMONS, KIMBERLY D.
P.O. BOX 828                            45 MORNINGSIDE DR                       ADDRESS ON FILE
MOUNTAIN VIEW, WY 82939-0828            GLEN CARBON, IL 62034




TIMMONS, KIMBERLY D.                    TIMMONS, KIMBERLY                       TIMMONS, TYLER R.
ADDRESS ON FILE                         ADDRESS ON FILE                         530 MARGARET AVE
                                                                                GRANITE CITY, IL 62040




TIMOTHY BURTON                          TIMOTHY E HOERMAN LTD                   TIMOTHY FIQUETT
1404 CAROLINE CT                        323 N WASHINGTON ST                     347 ROAD 1980
COLUMBIA, TN 38401                      WESTMONT, IL 60559                      VALLEY HEAD, AL 35989




TIMOTHY FORD                            TIMOTHY GRIFFITH C/O CRYSTAL GRIFFITH   TIMOTHY STONE, RN
C/O STEPHEN D. ELLIS, PAUL FRANK        20752 HIGHWAY 23
COLLINS PC                              LOUISA, KY 41230
ONE CHURCH ST.
BURLINGTON, VT 05402



TIMOTHY W JAMES                         TIMOTHY WHEELER                         TIMS, DIANA
1344 COUNTY ROAD 97                     2800 CUMBERLAND AVENUE                  P.O. BOX 703
FORT PAYNE, AL 35968                    ASHLAND, KY 41102                       MOUNTAIN VIEW, WY 82939-0703
TINA R SADDLER              Case 20-10766-BLS    Doc
                                          TINAJERO,   6 Filed 04/07/20
                                                    DOMINGO              Page 1766  of ASHLEY
                                                                              TINCHER, 1969 N.
145 JAMESTOWN RD                           13667 WESTERN AVE                  90 FIRE STATION DR
MACOMB, IL 61455                           TRLR 40                            JACKSON, KY 41339
                                           BLUE ISLAND, IL 60406




TINCHER, CATHY L.                          TINCHER, LISA                      TINDAL, DELORES
ADDRESS ON FILE                            ADDRESS ON FILE                    2892 DAMASCUS RD
                                                                              HONNORAVILLE, AL 36042-5651




TINDELL, JILL A.                           TINGSON, ESTERBELLE S.             TINKLER, RALPH
8614 S 89TH E PLACE                        3109 MONTEREY LANE                 1415 38TH ST NW
TULSA, OK 74133                            WADSWORTH, IL 60083                CANTON, OH 44709




TINLEY TEE TIRE CO., INC.                  TINLIN, KAREN                      TINSLEY, CLYDE R.
2020 S COLUMBUS RD                         P.O. BOX 344                       2221 ANTHONY RD
DEMING, NM 88030                           DELLROY, OH 44620                  AUGUSTA, GA 30904




TINSLEY, LESIA                             TINZIE, WILLIAM L                  TIONGSON, MARY E.
231 TENNESSEE ST                           997 PERSHING ST                    21 LONGFELLOW CIRLE
MCKENZIE, TN 38201                         FORREST CITY, AR 72335             SALINAS, CA 93906




TIPLER, KAYLA A.                           TIPPETS, ASHBY                     TIPPETTS, IVAN
ADDRESS ON FILE                            P.O. BOX 446                       P.O. BOX 333
                                           LYMAN, WY 82937                    LYMAN, WY 82937-0333




TIPPETTS, TRAVIS P.                        TIPPY, KIMBERLY J.                 TIPSWORD, TAYLOR M.
ADDRESS ON FILE                            ADDRESS ON FILE                    ADDRESS ON FILE




TIPTON, BANIKKA L.                         TIPTON, PAUL A                     TIPTON, SANDY
1108 WILLSHIRE DR.                         39 FITTS CT                        6115 CASA FELIZ
MT. VERNON, IL 62864                       BLUE RIDGE, GA 30513               ALBUQUERQUE, NM 87111




TIPTON, THOMAS ANTHONY                     TIRETTA STRIBLING                  TIREY ANTHONY
1070 COUNTY RD 642                         P.O. BOX 29425                     ADDRESS ON FILE
MENTONE, AL 35984-2913                     CHICAGO, IL 60629




TIREY, MARILYN L.                          TIREY, MARILYN                     TISCH, DONALD GENE
ADDRESS ON FILE                            ADDRESS ON FILE                    601 CEDAR LANE
                                                                              MARION, IL 62959
TISCHNER, KAITLYN      Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                     TISHA HIEL                      Page 1767  ofASHLEY
                                                                          TISHAW,  1969 ASHLEY
444 EAST COVINGTON CIRCLE            PO BOX 92                            4220 COUNTY RD 127
STANSBURY PARK, UT 84074             PRAIRIE CITY, IL 61470               FORT PAYNE, AL 35968




TISSER, SARAH                       TISTINIC, MARSHA                      TITAN SIGN SERVICES
ADDRESS ON FILE                     41400 N LINCOLN AVE                   1426 NEW STANSBURY RD
                                    ANTIOCH, IL 60002                     TURTLETOWN, TN 37391




TITAN SPINE LLC                     TITE, KRISTEN                         TITENSOR, RUTHANN
MEQUON RESEARCH CENTER              3820 CHRISTIAN CHAPEL RD              405 SOUTH WASHINGTON ST P.O. BOX 359
6140 W EXECUTIVE DR STE A           DONGOLA, IL 62926                     GRANTSVILLE, UT 84029
MEQUON, WI 53092




TITLE CASH OF ILLINOIS INC          TITLE LENDERS INC DAB MO PAYDA        TITSWORTH, GAYLA J.
1000 LEIGH AVE                      3491 NAMEOKI RD                       710 BEECH HOLLOW RD
ANNA, IL 62906                      GRANITE CITY, IL 62040                HARRISBURG, IL 62946




TITTLE, ARLA R.                     TITTLE, HILLARY                       TITUS, ANN
1040 MARKET ST                      PO BOC 37                             886 9TH ST
SUNBURY, PA 17801                   ST JOHN, VI 00831                     MEEKER, CO 81641




TKO SURGICAL INC                    TKT WHOLESALE LLC                     TLC EXPRESS COURIERS, LLC
3 MONROE PARKWAY SUITE P443         1212 SCENIC RD E.                     259 TWP RD 1204
LAKE OSWEGO, OR 97035               FORT PAYNE, AL 35967                  PROCTORVILLE, OH 45669




TLC MEDICAL, LLC                    TLC TURFMASTER                        TLM DRAIN SERVICE
3131 W. 76TH ST                     P.O. BOX 701                          525 MAYO DR
STE 2                               MARION, AR 72364                      TOOELE, UT 84074
DAVENPORT, IA 52806




TMA OPERATIONS LLC                  TMA OPERATIONS, LLC                   TMG MARKETING SOLUTIONS
1601 WEST PARK DR                   3704 MEDALLION PLACE                  821 SW ALSBURY RD
SUITE 4B                            NEWPORT, AR 72112                     STE C
LITTLE ROCK, AR 72204                                                     BURLESON, TX 76028




TMI ENERGY                          TMI-ASG                               TML EMPLOYEE BENEFITS
9826 S LEAVITT                      715 GODDARD AVE                       P.O. BOX 149190
CHICAGO, IL 60643                   CHESTERFIELD, MO 63005                AUSTIN, TX 78714




T-MOBILE CENTRAL LLC                TMPARTNERS, PLLC                      TMPARTNERS, PLLC
12920 SE 38TH ST                    211 FRANKLIN RD                       5210 MARYLAND WAY, STE200
BELLEVUE, WA 98006                  STE 200                               BRENTWOOD, TN 32027
                                    BRENTWOOD, TN 37027
TN CARRIERS INC           Case 20-10766-BLS    Doc
                                        TN CHILD    6 Filed
                                                 SUPPORT      04/07/20
                                                         RECEIPTING            Page 1768  ofOF1969
                                                                                    TN DEPT    HEALTH,DIVISION OF
3180 MILLINGTON RD                        P.O. BOX 305200                            LICENSURE & REGULATI
MEMPHIS, TN 38127                         NASHVILLE, TN 37229                        665 MAINSTREAM DRIVE
                                                                                     OFFICE OF EMERGENCY MEDICAL SERVICE
                                                                                     NASHVILLE, TN 37243



TN DEPT. OF HEALTH - EMS DIVISION         TN VALLEY                                  TNCARE AMERIGROUP
665 MAINSTREAM DRIVE                      3400 LEBANON PIKE                          P.O. BOX 61010
NASHVILLE, TN 37243                       MURFREESBORO, TN 37129                     VIRGINIA BEACH, VA 23466




TNCARE AMERIGROUP                         TNCARE BLUE                                TNCARE UHC COMMUNITY
THREE LAKEVIEW PLACE                      1 CAMERON HILL CIRCLE                      P.O. BOX 5220
22 CENTURY BLVD STE 310                   STE 0002                                   KINGSTON, NY 12402
MEMPHIS, TN 37214                         CHATTANOOGA, TN 37402




TO THE ESTATE OF ADAM WEISGARBER          TO THE ESTATE OF ALICE JOHNSON             TO THE ESTATE OF AMELIA SPARKS
11861 MOFFITT ST SW                       74 SHORT RD                                OR MARY SPARKS MCMUNN
MASSILLON, OH 44647                       PARIS, TN 38242                            711 S ROOSEVELT AVE
                                                                                     COLUMBUS, OH 43209-2538




TO THE ESTATE OF BARBARA J OTT            TO THE ESTATE OF BARBARA WOODS             TO THE ESTATE OF BETTY TRIPLETT
5020 QUINCY ST NW                         5110 ERIE AVE NW                           15000 WYNNCREST RD SW
CANTON, OH 44708                          CANAL FULTON, OH 44614                     NAVARRE, OH 44662




TO THE ESTATE OF BONNIE FISHER            TO THE ESTATE OF CAROL V STEINBERG         TO THE ESTATE OF CATHERINE FOXE
834 8TH ST NE                             2542 COMMONS TRACE                         C/O CATHERINE F KENNEDY
MASSILLON, OH 44646                       AUGUSTA, GA 30909-2221                     2330 SHILO ST
                                                                                     AUGUSTA, GA 30906




TO THE ESTATE OF CHARLES DESHIELDS        TO THE ESTATE OF CHARLES E SCHARVER        TO THE ESTATE OF CHARLES HALL
7470 FOREST HOME RD                       OR ALICE F SCHARVER                        2985 BOLTZ RD SE
FOREST HOME, AL 36030-5018                7978 PARKFORD ST NW                        NEW PHILADELPHIA, OH 44663
                                          MASSILLON, OH 44646




TO THE ESTATE OF CHARLES HYKES            TO THE ESTATE OF CHARMANE                  TO THE ESTATE OF CHERYL WILES
1520 KEUPER BLVD NE                       SOMERVILLE                                 204 W 2ND ST SW
MASSILLON, OH 44646                       580 BAKER RD APT C                         BREWSTER, OH 44613
                                          MARTIN, TN 38237-4541




TO THE ESTATE OF CHESTER R LAW            TO THE ESTATE OF CULLEN PFENDLER           TO THE ESTATE OF DAN WILSON
604 YEEND AVE                             2507 HARSH AVE SE                          P.O. BOX 85
CHICKASAW, AL 36611                       MASSILLON, OH 44646-5046                   MARTIN, TN 38237




TO THE ESTATE OF DANIEL CSEAK             TO THE ESTATE OF DAVID GARVIN              TO THE ESTATE OF DEBORAH FINDLEY
1135 WALNUT RD SW                         1510 42ND ST NW                            OR RUSSELL J FINDLEY SR
MASSILLON, OH 44647                       CANTON, OH 44709                           719 NILES ST SW
                                                                                     MASSILLON, OH 44647-7717
                       Case
TO THE ESTATE OF DELBERT      20-10766-BLS
                         L RATLIFF            Doc 6 OFFiled
                                       TO THE ESTATE    DENISE04/07/20
                                                                A KOCH    Page 1769
                                                                               TO THEof 1969OF DOLORES STEPHAN
                                                                                     ESTATE
6832 RED DEER CR NW                    500 FOREST LN                            1500 LAURENBROOK LN NE
CANTON, OH 44708                       POTTSVILLE, PA 17901-8333                MASSILLON, OH 44646




TO THE ESTATE OF DONNA TSOCHEFF        TO THE ESTATE OF DORIS ELLIS             TO THE ESTATE OF DOROTHY DEMHARTER
239 LUZON CT                           122 ILLINI DR                            OR SHARON DIERINGER
AKRON, OH 44319                        APT B                                    20 BRIAR MEADOW
                                       EFFINGHAM, IL 62401                      HUNTSVILLE, TX 77320-1951




TO THE ESTATE OF DOROTHY KHULINS       TO THE ESTATE OF FLOYD L CHAPMAN         TO THE ESTATE OF FRANCES KINGSBURY
336 LAKE AVE NE                        OR DAVID B CHAPMAN                       3433 GOODYEAR ST NW
MASSILLON, OH 44646                    12656 KIMMENS RD SW                      MASSILLON, OH 44646
                                       MASSILLON, OH 44647




TO THE ESTATE OF FRANCES YACKEE        TO THE ESTATE OF GAROLD E ROSS           TO THE ESTATE OF GEORGE VENABLES
239 HAYES AVE NE                       OR BRENDA L ROSS                         549 S CANAL ST
MASSILLON, OH 44646-4357               800 SANDY AVE NE                         CANAL FULTON, OH 44614
                                       MASSILLON, OH 44646




TO THE ESTATE OF GWENN M HULDERMAN     TO THE ESTATE OF JACK SHEARER            TO THE ESTATE OF JAMES ADKINS
3726 SOUTHWAY ST SW                    8390 OXFORD CHASE CR NW                  1112 MANCHESTER AVE SW
MASSILLON, OH 44646-9497               MASSILLON, OH 44647-7869                 NORTH LAWRENCE, OH 44666




TO THE ESTATE OF JAMES DANIELS         TO THE ESTATE OF JAMES ESKEW             TO THE ESTATE OF JAMES LONG
2232 HARSH AVE SE                      4858 CRYSTAL LAKE AVE NW                 OR JOAN L LONG
MASSILLON, OH 44646                    CANAL FULTON, OH 44614-8217              3105 BRUSH RD
                                                                                RICHFIELD, OH 44286




TO THE ESTATE OF JAMES MARTIN          TO THE ESTATE OF JOHN HARTMAN            TO THE ESTATE OF JOHN L RAINES
723 TAYLOR ST SW                       OR PAMELA S HARTMAN                      3406 LOCHLOMOND ST
MASSILLON, OH 44647                    836 STANDISH CT NW                       DALTON, OH 44618
                                       MASSILLON, OH 44647




TO THE ESTATE OF JOHN STIVER           TO THE ESTATE OF JOYCE RUPERT            TO THE ESTATE OF JUDITH C RIES
526 GRAPE ST                           1018 GRACKLE LN SW                       3060 STONEBROOKE LN
LOCK HAVEN, PA 17745-3955              CARROLLTON, OH 44615                     MEDINA, OH 44256




TO THE ESTATE OF KATHLEEN HARMON       TO THE ESTATE OF KENNETH O SAMPSEL       TO THE ESTATE OF LAVONNE SPEICHER
409 S MILL ST                          OR ROBERT SAMPSEL & DUANE SAMPSEL        270 MILL ST N
ORRVILLE, OH 44667                     P.O. BOX 132                             APT A
                                       BEACH CITY, OH 44608                     DALTON, OH 44618




TO THE ESTATE OF LAWRENCE RHODES       TO THE ESTATE OF LESLIE SPECK            TO THE ESTATE OF LOCKE FRANCES
27 8TH ST NE                           1161 BRADFORD RD NE                      1939 MICHIGAN CITY RD
MASSILLON, OH 44646                    MASSILLON, OH 44646                      CALUMET CITY, IL 60409
TO THE ESTATE OF MARIANCase  20-10766-BLS
                       I BANKS               Doc 6 OFFiled
                                      TO THE ESTATE         04/07/20
                                                       MARLAND D GERBER Page 1770
                                                                             TO THEof 1969OF MARY ENGLERT
                                                                                    ESTATE
724 GREENE ST                         OR EILEEN GERBER                       10875 FORTY CORNERS RD NW
APT 210                               200 LEONARD AVE SW                     MASSILLON, OH 44647-9551
AUGUSTA, GA 30901                     MASSILLON, OH 44646




TO THE ESTATE OF MINNIE E MILLER      TO THE ESTATE OF PATRICIA              TO THE ESTATE OF PAUL LAROCQUE
157 ALICE SMITH DR                    STILGENBAUER                           6 PARKWOOD DR
PORTLAND, TN 37148                    622 CRIDER AVE NE                      LOCK HAVEN, PA 17745
                                      NEW PHILADELPHIA, OH 44663




TO THE ESTATE OF PAUL RICHARDSON      TO THE ESTATE OF RONNIE CARROLL        TO THE ESTATE OF THOMAS FILICKY
3474 PIGEON RUN RD SW                 4863 WOODSTONE AVE NW                  7033 HARVEY AVE NW
MASSILLON, OH 44647                   MASSILLON, OH 44647                    NORTH CANTON, OH 44720-8839




TO THE ESTATE OF THOMAS MILLER        TO THE ESTATE OF TOM FOX               TO THE ESTATE OF VIRGINIA STOKES
318 1ST ST NE                         C/O VIRGINIA FOX                       1865 WALL RD NW
UNIT UPPR                             P.O. BOX 12                            MONROE, GA 30656-4892
MASSILLON, OH 44646-5557              ST. HELENS, KY 41368




TO THE ESTATE OF WAYNE KING           TO THE ESTATE OF WILLIAM GARRETT       TO THE ESTATE OF WILLIAM MOULOS JR
OR JACKIE KING                        391 MAIN ST SW                         OR RUTH E MOULOS
6991 FLENNER ST SW                    BREWSTER, OH 44613                     336 BASIN ST NW
NAVARRE, OH 44662                                                            NAVARRE, OH 44662




TO THE ESTATE OF WILMA SNELLGROVE     TOAL, CONNIE                           TOAL, JOHN
916 GEORGIA AVE                       4176 STATE RT 156                      16 BRIARHILL LANE
NORTH AUGUSTA, GA 29841-3421          WATERLOO, IL 62298                     COLUMBIA, IL 62236




TOBLER, RANDALL                       TOBLER, TARA                           TOBYS INSTRUMENT SHOP, INC.
P.O. BOX 1345                         ADDRESS ON FILE                        1382 INDUSTRIAL DR STE 6
OVERTON, NV 89040-1345                                                       SALINE, MI 48716




TOCALINO, JENNY K.                    TODD HUBLER                            TODD, ALEXIS
ADDRESS ON FILE                       472 E BEIL AVE                         5304 S. DREXEL APT C3
                                      NAZARETH, PA 18064-1158                CHICAGO, IL 60615




TODD, BRYAN                           TODD, DANIEL J.                        TODD, DAWN
7790 130TH AVE.                       475 N CASS AVE APT 204                 ADDRESS ON FILE
BRISTOL, WI 53104                     WESTMONT, IL 60559




TODD, GLENN M.                        TODD, HUK L.                           TODD, JANINE
87 COUNTY RD 867                      1383 VISTA DEL CUIDAD                  1854 STATE HWY 164
COLLINSVILLE, AL 35961                MESQUITE, NV 89027                     KIRKWOOD, IL 61447
TODD, JERRY              Case 20-10766-BLS    Doc 6
                                       TODD, KAYLA          Filed 04/07/20   Page 1771  of 1969
                                                                                  TODD, LISA C.
1002 N. JOHNSON ST                      ADDRESS ON FILE                           1383 VISTA DEL CUIDAD
MARION, IL 62959                                                                  MESQUITE, NV 89027




TODD, LORRAINE                          TODD, RANDY                               TODD, STEPHEN R.
203 KING ST                             16315 HWY 412E                            P.O. BOX 680425
KERNERSVILLE, NC 27284                  LEXINGTON, TN 38351                       FORT PAYNE, AL 35968-1605




TODD, SUSAN                             TODD, TIFFANY                             TODD, VALERIE
323 LONGVIEW DR                         ADDRESS ON FILE                           488 CALAIS DR
COLUMBIA, IL 62236                                                                MESQUITE, NV 89027




TODD, WILSON                            TODICH, LORI L.                           TOENJES, DEAN
2143 N ASTER PL                         3036 25TH ST NW                           7842 STATE RT 156
ROUND LAKE BEACH, IL 60073              CANTON, OH 44708                          WATERLOO, IL 62298




TOEPFER, BRANDY L.                      TOFANI, LORETTA                           TOGNOCCHI, DANIELLE
ADDRESS ON FILE                         EUGENE, OR 97405                          205 WARBLER CT
                                                                                  LINDENHURST, IL 60046




TOKARZ, RAISA                           TOLARSLATER, LADWYINA Y                   TOLCHIN, BRANDON R.
5561 MARGIE LN                          618 WASHINGTON ST                         1205 HILLSIDE RD
OAK FOREST, IL 60452-3744               WAUKEGAN, IL 60085                        PASADENA, CA 91105




TOLER, BRADLEY                          TOLER, CAITLYN R.                         TOLER, CHARLES F JR
538 N MAIN ST                           ADDRESS ON FILE                           1208 W WALNUT
JONESBORO, IL 62952                                                               MARION, IL 62959




TOLER, LAUREN H.                        TOLER, MICHELLE                           TOLER, SHELIA G
ADDRESS ON FILE                         940 S 7TH AVE                             1156 CEDAR HILL DR
                                        KANKAKEE, IL 60901                        WILLIAMSTON, NC 27892




TOLES, CORALYN R.                       TOLES, LATOYA S.                          TOLHURST, EMALENE
1743 HURON RD SE                        1107 ARCH AVE SE                          4 LAKEVIEW ACRES DR
MASSILLON, OH 44646                     MASSILLON, OH 44646                       COLLINSVILLE, IL 62234




TOLISON, LEA                            TOLLE, MEGAN                              TOLLEY, JENNIFER
2305 BRUMLEY RD                         3530 SHEPARD RD                           500 CAMPER RD
BIG SPRING, TX 79720                    NORMAL, IL 61761                          DECATURVILLE, TN 38329
TOLLEY, JOSEPH J        Case 20-10766-BLS    Doc
                                      TOLLIVER,    6 Filed 04/07/20
                                                ALLISON               Page 1772  of 1969
                                                                           TOLLIVER, RANDY
2323 W 112TH ST                        806 MEAD                             P.O. BOX 44
CHICAGO, IL 60643                      EDWARDSVILLE, IL 62025               FT DEPOSIT, AL 36032




TOLLIVER, SYDNI                        TOLMAN, CINDY                        TOLSIA HIGH FOOTBALL BOOSTERS
1013 WEST MAIN ST                      4535 HERMANAS GRADE SW               P.O. BOX 642
MARVELL, AR 72366                      DEMING, NM 88030                     FORT GAY, WV 25514




TOLSIA LADY REBELS                     TOLSIA YOUTH FOOTBALL LEAGUE         TOLSON, KATHERINE
1 REBEL DR                             42 RAMEY LANE                        544 HARVEST RIDGE RD
FORT GAY, WV 25514                     FORT GAY, WV 25514                   CAMPTON, KY 41301




TOLSON, SANDRA S.                      TOM HENSLEY                          TOM HOUSE & ASSOCIATES LLC
1232 14TH ST N.W.                      1063 JOHNSTON STREET                 THOMAS DEAN HOUSE
CANTON, OH 44703                       GALESBURG, IL 61401-0000             1 WELLS FARGO CT
                                                                            ST PETERS, MO 63376




TOMADO, CATHALIN RIZEL M.              TOMAHSAH, MICHELLE                   TOMARCHIO, ANTHONY
ADDRESS ON FILE                        2106 W CRESCENT AVE                  220 N. 8TH ST
                                       WAUKEGAN, IL 60085                   MT. VERNON, IL 62864




TOMASCHEFSKY, GARY                     TOMAZZOLI, HALEY                     TOMCZAK, STEPHAN
14612 BRD ST                           302 WEST WALNUT                      38569 N SHERIDAN RD LOT 415
HENAGAR, AL 35978                      JONESBORO, IL 62952                  BEACH PARK, IL 60099




TOMCZYK, RONALD                        TOMKOWIAK, JOAN M.                   TOMLIN EUGENE SAMUEL
119 JIMS RD                            ADDRESS ON FILE                      47634 TELLER ROAD
BLAIRSVILLE, GA 30512                                                       OAKRIDGE, OR 97463-0000




TOMLIN, EUGENE SAMUEL                  TOMLINSON, RONALD                    TOMMY HENDERSON
47634 TELLER RD                        910 HILLCREST ST                     ADDRESS ON FILE
OAKRIDGE, OR 97463                     COLUMBIA, IL 62236




TOMMY TS PLUMBING SOLUTIONS            TOMPKINS, LISA F.                    TOMS HVAC
P.O. BOX 866                           ADDRESS ON FILE                      233 MAIN ST
BARSTOW, CA 92312                                                           EVANSTON, WY 82930




TOMS PLACE                             TOMSO, MICHAEL                       TONE, JENNIFER N.
P.O. BOX 442                           312 AMBROSE DR                       3700 SCOTCH PINE DR SE
DESOTO, IL 62924                       TROY, IL 62294                       DEMING, NM 88030
TONEE, GUY                Case 20-10766-BLS
                                        TONER, Doc  6 Filed 04/07/20
                                               FLORENCE                   Page 1773  of 1969
                                                                               TONG PHOON THAI RESTAURANT
19 FIELDCREST                            250 LONG RUN RD                        4563 STATE ROUTE 3
P.O. BOX 643                             MILL HALL, PA 17751                    RED BUD, IL 62278
COLUMBIA, IL 62236




TONG, CONNIE                             TONGATE, SCOTT                         TONI ENGLE
ADDRESS ON FILE                          ADDRESS ON FILE                        61401




TONI, HANNER                             TONIKEE CHANDLER                       TONINO, RITA G.
814 JACKIES LN                           ADDRESS ON FILE                        ADDRESS ON FILE
EUGENE, OR 97404




TONJA B MOSLEY                           TONY BLEYER MEMORIAL                   TONYAN, DANA M.
4255 SIENA CIR                           SCHOLARSHIP SIU FOUNDATION             23526 125TH ST
WELLINGTON, FL 33414-4410                1235 DOUGLAS DR                        TREVOR, WI 53179
                                         CARBONDALE, IL 62901




TOOELE APPLIED TECH COLLEGE              TOOELE CAB COMPANY                     TOOELE CITY ARTS COUNCIL
88 S TOOELE BLVD                         355 WEST 700 SOUTH                     90 N MAIN ST
TOOELE, UT 84074                         TOOELE, UT 84074                       TOOELE, UT 84074




TOOELE CITY CORP UTILITIES               TOOELE CITY CORP                       TOOELE CITY CORPORATION UTILITIES
P.O. BOX 89                              90 NORTH MAIN                          90 N MAIN ST
TOOELE CITY, UT 84074-0089               TOOELE, UT 84074                       TOOELE, UT 84074




TOOELE CITY CORPORATION                  TOOELE CITY CORPORATION                TOOELE CITY PARS/RECREATION
90 N MAIN ST                             90 N MAIN STREET                       90 N MAIN ST
P. O. BOX 89                             TOOELE, UT 84074                       TOOELE, UT 84074
TOOELE, UT 84074-0089




TOOELE CLINIC CORP.                      TOOELE COUNTY AGING & ADULT SERVICES   TOOELE COUNTY ASSESSOR
1108 E. SOUTH UNION AVE                  ATTN FRANK REED                        47 S. MAIN ST
MIDVALE, UT 84047                        151 N MAIN ST. STE 200                 TOOELE, UT 84074
                                         TOOELE, UT 84074




TOOELE COUNTY AUDITORS OFFICE            TOOELE COUNTY AUDITORS OFFICE          TOOELE COUNTY CHAMBER COMMERCE
47 S. MAIN ST                            47 SOUTH MAIN ST                       154 S MAIN ST
TOOELE, UT 84074                         TOOELE, UT 84074                       TOOELE, UT 84074




TOOELE COUNTY CLERK                      TOOELE COUNTY CLERK                    TOOELE COUNTY CORPORATION
47 S. MAIN ST                            47 S. MAIN STREET                      TOOELE COUNTY SHERIFFS OFFICE
TOOELE, UT 84074                         TOOELE, UT 84074                       1960 SOUTH MAIN STREET
                                                                                TOOELE, UT 84074
                      Case 20-10766-BLS
TOOELE COUNTY HEALTH DEPT           TOOELEDoc     6 RECORDER
                                             COUNTY  Filed 04/07/20   Page 1774
                                                                           TOOELEof 1969 SCHOOL DISTRICT
                                                                                  COUNTY
151 NORTH MAIN                      47 S. MAIN ST                           92 LODGESTONE WAY
TOOELE, UT 84074                    213                                     TOOELE, UT 84074
                                    TOOELE, UT 84074




TOOELE COUNTY SOLID WASTE            TOOELE COUNTY TREASURER                TOOELE COUNTY TREASURER
47 S. MAIN ST                                                               47 S. MAIN ST
TOOELE, UT 84074                                                            TOOELE, UT 84074




TOOELE COUNTY, STATE OF UTAH         TOOELE FLORAL                          TOOELE HIGH SCHOOL
47 S MAIN ST                         351 NORTH MAIN ST                      301 WEST VINE ST
TOOELE, UT 84074                     TOOELE, UT 84074                       TOOELE, UT 84074




TOOELE HOSPITAL CORPORATION          TOOELE HOSPITAL CORPORATION            TOOELE ORTHOPEDICS & SPORTS
155 FRANKLING RD, STE 400            1573 MALLORY LANE, STE 100             MEDICINE SPECIALISTS
BRENTWOOD, TN 37027                  BRENTWOOD, TN 37027                    2321 N 400 E
                                                                            SUITE 200
                                                                            TOOELE, UT 84074



TOOELE ORTHOPEDICS & SPORTS          TOOELE ROTARY CLUB                     TOOELE TRANSCRIPT BULLETIN
MEDICINE SPECIALISTS                 772 N MAIN ST                          58 NORTH MAIN
2321 N 400 E, STE 300                TOOELE, UT 84074                       P. O. BOX 390
STE 300                                                                     TOOELE, UT 84074
TOOELE, UT 84074



TOOELE TRANSCRIPT BULLETIN           TOOELE UTE FOOTBALL                    TOOELE VALLEY PROFESSIONAL OFFICES,
P.O. BOX 390                         251 JULIE ANN CT                       LLC
TOOELE, UT 84074                     TOOELE, UT 84074                       4885 SOUTH 900 EAST
                                                                            STE 208
                                                                            SALT LAKE CITY, UT 84117



TOOELE VALLEY, LLC                   TOOLE, JAYNE S.                        TOOLS FOR SURGERY
10800 FARLEY                         3269 MAPLEWOOD DR                      1339 STONY BROOK RD
STE 265                              NORTH AUGUSTA, SC 29841-8647           STONY BROOK, NY 11790
OVERLAND PARK, KS 66210




TOOMAN, MONICA R.                    TOOMBS, JOHNNA                         TOOMBS, VERA
64 RUSTIC VIEW                       14051 HIGHWAY 79 S                     3010 WEST WARRANT BLVD
MORGANTON, GA 30560                  MCKENZIE, TN 38201                     CHICAGO, IL 60612




TOONE, JANETTE                       TOONE, KENA                            TOP ECHELON CONTRACTING, LLC
571 GOLD DUST RD                     898 TURTLE COVE                        P.O. BOX 72186
GRANTSVILLE, UT 84074                MESQUITE, NV 89027                     CLEVELAND, OH 44192-0002




TOP GEAR DESIGNS                     TOP GUNN MAINTENANCE                   TOP TIER BAND
166-2117 BUFFALO RD                  585 OLD LINCOLN HWY                    C/O JD DOHNAL
ROCHESTER, NY 14624                  GRANTSVILLE, UT 84029                  3255 NEW HOPE RD
                                                                            HENDERSONVILLE, TN 37075
TOPALIDIS M.D., DIMITRIOS Case 20-10766-BLS    Doc
                                        TOPARIS,     6 Filed 04/07/20
                                                 REGINA                 Page 1775 of 1969
                                                                             TOPDEWSKI, MICHAEL
3857 TELFORD DR NW                      143 OLD DAIRY RD                      196 NORTHSIDE DR
CANTON, OH 44718                        CHAPMANVILLE, WV 25508-7688           COPPERHILL, TN 37317-6465




TOPDEWSKI, MICHAEL                    TOPE, HEIDI L.                          TOPETE, YESENIA
196 NORTHSIDE DR.                     16194 FOX LAKE RD                       ADDRESS ON FILE
COPPERHILL, TN 37317                  MARSHALLVILLE, OH 44645




TOPHAM, CAMILLE R.                    TOPHAM, ROCKY                           TOPOLSKI, VIRGINIA
4615 UTAH TRAIL                       314 E 910 N                             13138 S SACRAMENTO
ENOCH, UT 84721                       TOOELE, UT 84074                        BLUE ISLAND, IL 60406




TOR, MONICA                           TOR, SETH A.                            TORGERSON, RINA
ADDRESS ON FILE                       ADDRESS ON FILE                         2801 NORTH PINE ST
                                                                              WAUKEGAN, IL 60087




TORINA, BARBARA A.                    TORNABENI, LINDA L.                     TORNES, ANN
ADDRESS ON FILE                       8222 S.NASHVILLE AVE                    1075 LAKEVIEW DR
                                      BURBANK, IL 60459                       MESQUITE, NV 89027




TORNIER INC                           TORNIER INC                             TORNIER, INC
P.O. BOX 4631                         P.O. BOX 4631                           P.O. BOX 4631
HOUSTON, TX 77210                     HOUSTON, TX 77210-4631                  HOUSTON, TX 77210-4631




TOROSA, NEWBERN                       TORRANTS, ROBBIE L.                     TORRE, SHEILA M.
875 ALBERTON RD                       1559 SFC 107                            212 OAK ST SE
LEXINGTON, TN 38351                   PALESTINE, AR 72372                     MASSILLON, OH 44646




TORRES AUSTIN                         TORRES, AMANDA D.                       TORRES, AMBERLYNN V.
629 FRANKLIN ST                       6417 SHERIDAN RD LOWER                  ADDRESS ON FILE
WAUKEGAN, IL 60085                    KENOSHA, WI 53143




TORRES, ANGEL                         TORRES, ANGELIQUE                       TORRES, BERTHA
ADDRESS ON FILE                       ADDRESS ON FILE                         P.O. BOX 286
                                                                              GUADALUPITA, NM 87722




TORRES, BRAULIA C                     TORRES, BRIGITTE                        TORRES, CARMELITA
1064 N BERWICK BLVD                   1310 HWY 176                            ADDRESS ON FILE
WAUKEGAN, IL 60085                    BIG SPRING, TX 79720
TORRES, CESAR           Case 20-10766-BLS
                                      TORRES,Doc 6 Filed
                                              CHACON, LIBNI 04/07/20   Page 1776 ofCHEYANNE
                                                                            TORRES, 1969
ADDRESS ON FILE                         2312 FLORENCE ST/UNIT 2             4885 ASTER ST 177
                                        BLUE ISLAND, IL 60406               SPRINGFIELD, OR 97478




TORRES, CLARISSA P.                     TORRES, CYNTHIA A.                  TORRES, CYNTHIA K.
35 MONTE VISTA AVE                      ADDRESS ON FILE                     419 SUNSET BLVD
WATSONVILLE, CA 95076                                                       BIG SPRING, TX 79720




TORRES, DEBORAH L.                      TORRES, ELIDA O                     TORRES, FRANCISCO I.
1901 DILL RD. A3                        P.O. BOX 1217                       156 SANTA CLARA ST
BARSTOW, CA 92311                       MARFA, TX 79843                     WATSONVILLE, CA 95076




TORRES, GEORGE V.                       TORRES, JENNIFER T.                 TORRES, JESUS
ADDRESS ON FILE                         147 SANTA PAULA DR                  5491 HWY 243 SOUTH
                                        DALY CITY, CA 94015                 MARIANNA, AR 72360




TORRES, JOSE L.                         TORRES, JOSE                        TORRES, LAURA A.
11949 MAPLE AVE                         921 MUIRFIELD AVE                   ADDRESS ON FILE
BLUE ISLAND, IL 60406                   WAUKEGAN, IL 60085




TORRES, LEE ROY L.                      TORRES, LINDA                       TORRES, LYNNE M
ADDRESS ON FILE                         10100 W PICKFORD AVE                2534 GABRIEL AVE
                                        BEACH PARK, IL 60099                ZION, IL 60099




TORRES, MARES M.                        TORRES, MICHELLE                    TORRES, PRISCILLA L.
ADDRESS ON FILE                         ADDRESS ON FILE                     1408 WOOD ST
                                                                            BIG SPRING, TX 79720




TORRES, PROSPERO                        TORRES, RAUL L.                     TORRES, RENA
ADDRESS ON FILE                         767 MOSS DR UNIT 7                  94 WINDING WAY
                                        MESQUITE, NV 89027                  WATSONVILLE, CA 95076




TORRES, ROSE M.                         TORRES, SHERRI S.                   TORRES, SOPHIA E.
612 SANTA ANA                           2240 PLEASANT VALLEY RD             476 FERRIS AVE
LAS VEGAS, NM 87701                     APTOS, CA 95003                     MARINA, CA 93933




TORRES, SUZANNE                         TORRES, TERESA F.                   TORRES, TOMAS
ADDRESS ON FILE                         37 KINGFISHER DR.                   8053 KEYSTONE AVE
                                        WATSONVILLE, CA 95076               SKOKIE, IL 60076
TORRES, TRINIDAD         Case 20-10766-BLS
                                       TORRES,Doc  6 Filed
                                               VICTORIA C. 04/07/20         Page 1777 ofWILLIAM
                                                                                 TORRES, 1969 J.
650 DOGWOOD LANE                        6 ROXBURY CT                             ADDRESS ON FILE
MESQUITE, NV 89027                      GRANITE CITY, IL 62040




TORRES, WILLIAM                         TORRES, YADIRA                           TORREZ, GINGER
ADDRESS ON FILE                         5880 SUR RD SE                           1158 MULBERRY ST
                                        DEMING, NM 88030                         GALESBURG, IL 61401




TORREZ, MELODIE A.                      TOSCANO, MARIA J.                        TOSELLO, CHERYL
ADDRESS ON FILE                         958 VIA CARLOTTA CT                      165 BALDWIN ST
                                        MESQUITE, NV 89027                       SANTA CRUZ, CA 95060




TOSH PORK, LLC                          TOSH, ALEXIS Q.                          TOSHIBA AMERICA MEDICAL CREDIT
1586 ATLANTIC AVE                       513 MOBILE ST                            A PROGRAM OF TOSHIBA AMERICA
P O BOX 308                             BRIGHTON, IL 62012                       MEDICAL SYSTEMS INC
HENRY, TN 38231                                                                  1111 OLD EAGLE SCHOOL RD
                                                                                 WAYNE, PA 19087



TOSHIBA FINANCIAL SERVICES              TOSHIBA INTERNATIONAL CORPORATION        TOTAL ECLIPSE
10201 CENTURION PKWY N, STE 100         13131 W. LITTLE YORK RD                  417 NORTH MAIN ST
JACKSONVILLE, FL 32256                  HOUSTON, TX 77041                        RED BUD, IL 62278




TOTAL FACILITY MAINTENANCE INC          TOTAL PAVING AND BRICK SERVICE           TOTAL RENAL CARE, INC
P.O. BOX 726                            1551 N DELANY RD                         P.O. BOX 781607
WOOD DALE, IL 60191                     GURNEE, IL 60031                         PHILADELPHIA, PA 19178-1607




TOTAL RENAL CARE, INC                   TOTAL RESULTS, INC                       TOTAL SCOPE INC
P.O. BOX 8500-1607                      1034 SAVONNE CT                          17 CREEK PARKWAY
PHILADELPHIA, PA 19178-1607             CHESTERFIELD, MO 63005                   UPPER CHICHESTER, PA 19061




TOTAL SCOPE, INC.                       TOTAL WOMENS HEALTHCARE                  TOTALMED STAFFING INC
17 CREEK PARKWAY                        114 WEST ROCKLAND RD                     10 E. COLLEGE AVE STE 300
BOOTHWYN, PA 19061                      STE 201                                  APPLETON, WI 54911
                                        LIBERTYVILLE, IL 60048




TOTTEN, MICHAEL                         TOTTLEBEN SCIENTIFIC CO                  TOUCHETTE REGIONAL HOSPITAL
P.O. BOX 273                            P.O. BOX 24                              5900 BOND AVE
OVERTON, NV 89040-0273                  EDWARDSVILLE, IL 62025                   CENTERVILLE, IL 62207




TOUCHETTE, ANNE                         TOUCHPOINTCARE, LLC                      TOUCHTONE COMMUNICATIONS INC
601 S MARKET ST                         215 E. PARK AVE                          9800 HILLWOOD PKWY, STE 140
NEW ATHENS, IL 62264                    STE D                                    FORT WORTH, TX 76177
                                        LIBERTYVILLE, IL 60048
                       Case 20-10766-BLS
TOUCHTONE COMMUNICATIONS             TOURK, Doc  6 Filed 04/07/20
                                            NATASHA                 Page 1778 of STEFANIE
                                                                         TOUSLEY, 1969 A.
P.O. BOX 780593                      391 STUART MOUNTAIN ROAD            7915 BEACH RD
PHILADELPHIA, PA 19178               MINERAL BLUFF, GA 30559             WADSWORTH, OH 44281




TOUSSEL, KENNETH                    TOVAR SNOW PROFESSIONALS             TOVAR SNOW PROFESSIONALS
16976 72ND RD NORTH                 P.O. BOX 6749                        PO BOX 6749
LOXAHATCHEE, FL 33470               CAROL STREAM, IL 60197               CAROL STREAM, IL 60197-0000




TOVAR, CRISTIAN J.                  TOVES, BERTHA                        TOW, PHYLLIS
904 COUNTRYWOOD DR                  601 AGNES DR.                        100 N LAWRENCE
ZION, IL 60099                      BARSTOW, CA 92311                    DESOTO, IL 62924




TOWER DENNIS                        TOWER, DENNIS                        TOWERS, SIERRA M.
4811 AVALON ST                      4811 AVALON ST                       ADDRESS ON FILE
EUGENE, OR 97402-0000               EUGENE, OR 97402




TOWERY, TIFFANY                     TOWERY, WALTER K                     TOWLE, SCOTT
ADDRESS ON FILE                     1829 SPRUCE ST                       ADDRESS ON FILE
                                    GRANITE CITY, IL 62040




TOWLES, HOLLIE                      TOWN & COUNTRY FLOWERS               TOWN AND COUNTRY ADVERTISING
80 ANNIE CT                         P.O. BOX 6                           P.O. BOX 5104
COVINGTON, GA 30014                 SALYERSVILLE, KY 41465               SCOTTSDALE, AZ 85261




TOWN OF BEAR GRASS                  TOWN OF COLLINSVILLE                 TOWN OF FYFE
ATTN KEVIN HARRIS                   P.O. BOX 390                         P.O. BOX 8
1730 TAR RIVER LANDING              COLLINSVILLE, AL 35961               FYFE, AL 35971
WILLIAMSTON, NC 27892




TOWN OF HUNTINGDON AUTOMATED        TOWN OF IDER WASTEWATER TRMT         TOWN OF IDER WASTEWATER TRMT
TRAFFICE SAFETY PROG                10793 AL HWY 75                      P.O. BOX 157
DEPARTMENT 888534                   IDER, AL 35981                       IDER, AL 35981
KNOXVILLE, TN 37995-8534




TOWN OF IDER                        TOWN OF LYMAN                        TOWN OF LYMAN
P.O. BOX 157                        81 GROCE RD                          P.O. BOX 300
IDER, AL 35981                      LYMAN, SC 29365                      LYMAN, WY 82937




TOWN OF LYMAN                       TOWN OF MOINTAIN VIEW                TOWN OF MOUNTAIN VIEW
P.O. BOX 300                                                             4176 BENTON ST
LYMAN, WY 82937-0300                                                     MOUNTAIN VIEW, CO 80212-7326
TOWN OF MOUNTAIN VIEW Case 20-10766-BLS
                                    TOWN OFDoc  6 Filed 04/07/20
                                             PLYMOUTH              Page 1779 of PLYMOUTH
                                                                        TOWN OF 1969
P.O. BOX 249                        124 EAST WATER ST                   124 EAST WATER STREET
MOUNTAIN VIEW, WY 82939             PLYMOUTH, NC 27962                  PLYMOUTH, NC 27962-0000




TOWN OF ROBERSONVILLE               TOWN OF SILVER CITY                 TOWN OF SILVER CITY
P.O. BOX 47                         P O BOX 1188                        P.O. BOX 1188
ROBERSONVILLE, NC 27871             SILVER CITY, NM 88062-1188          SILVER CITY, NM 88062-1188




TOWN OF WILLIAMSTON                 TOWN OF WILLIAMSTON                 TOWN OF WILLIAMSTON
102 E MAIN ST                       102 E MAIN ST                       P.O. BOX 506
P.O. BOX 506                        WILLIAMSTON, NC 27892               WILLIAMSTON, NC 27892
WILLIAMSTON, NC 27892




TOWN OF WILLIAMSTON                 TOWN OF WILLIAMSTON                 TOWN OF WILLIAMSTON
PARADE FOR CHRISTMAS                TAX OFFICE                          WATER & SEWER DEPARTMENT
P.O. BOX 506                        P.O. BOX 506                        P.O. BOX 506
WILLIAMSTON, NC 27892               WILLIAMSTON, NC 27892               WILLIAMSTON, NC 27892




TOWN SQUARE PUBLICATIONS LLC        TOWN SQUARE PUBLICATIONS            TOWNE PARK LLC
P.O. BOX 6754                       PO BOX 6754                         P.O. BOX 79349
CAROL STREAM, IL 60197-6754         CAROL STREAM, IL 60197-0000         BALTIMORE, MD 21279-0349




TOWNER, SHARON                      TOWNES, LORENZO M.                  TOWNSEND PLUMBLING & ELECTRIC
P.O. BOX 822                        123 CHESTNUT AVE                    300 REED RD
FORREST CITY, AR 72335              MCKENZIE, TN 38201                  LEXINGTON, TN 38351




TOWNSEND RELATIONSHIP CENTER        TOWNSEND SYSTEMS                    TOWNSEND SYSTEMS
405 E 12450 S STE C                 148 CONALCO DR                      P.O. BOX 1000
DRAPER, UT 84020                    JACKSON, TN 38301                   DEPT 481
                                                                        MEMPHIS, TN 38148-0481




TOWNSEND, BRIANNA                   TOWNSEND, BRIANNA                   TOWNSEND, CHARLOTTE
147 BARRETT DR.                     ADDRESS ON FILE                     ADDRESS ON FILE
EVANSTON, WY 82930




TOWNSEND, HELEN S.                  TOWNSEND, JACQUELINE                TOWNSEND, JARA
915 TIMOTHY LANE                    7351 S TALMAN AVE                   ADDRESS ON FILE
BIG SPRING, TX 79720                CHICAGO, IL 60629




TOWNSEND, JULIE E.                  TOWNSEND, KAYE                      TOWNSEND, RODERICK C.
501 MORENO ST                       166 HARRIS ST                       ADDRESS ON FILE
LAS VEGAS, NM 87701                 P.O. BOX 945
                                    GRANTSVILLE, UT 84029
TOWNSEND, TERRY E.      Case 20-10766-BLS  DocTHERESA
                                      TOWNSEND, 6 Filed
                                                      A. 04/07/20     Page 1780 of 1969 KIMBERLY A.
                                                                           TOWNSEND-SCOTT,
ADDRESS ON FILE                        1700 CAMBRIAN DR                    11311 S LOTHIAR AVE
                                       SALINAS, CA 93906                   CHICAGO, IL 60643




TOWNSON CLARA R JENKINS                TOWNSON, CATHERINE T.               TOWS SEPTIC SERVICE
3490 COUNTY RD 712                     P.O. BOX 583                        P.O. BOX 971
HENAGAR, AL 35978                      MURPHY, NC 28906                    BLUE RIDGE, GA 30513




TOWS SEPTIC SERVICE                    TOY PERKINS, MARCY A.               TOY REBECCA
POB 971                                ADDRESS ON FILE                     ADDRESS ON FILE
BLUE RIDGE, GA 30513




TOY, CHRISTINA                         TOY, REBECCA N.                     TOY, REBECCA
8301 SHILOH ST                         ADDRESS ON FILE                     ADDRESS ON FILE
FORT IRWIN, CA 92310




TOYA GATSON                            TOYYETI, KRISHNA                    TRACAN, LEWIS
1229 E MAIN ST                         2847 N SOUTHERN HILLS DR            305 ARROWHEAD DR
GALESBURG, IL 61401                    WADSWORTH, IL 60083                 TROY, IL 62294




TRACE AMBULANCE INC                    TRACE CREEK CONSTRUCTION INC        TRACE MEDICAL
8400 W 183RD PLACE                     P.O. BOX 539                        1533 S COUNTY FARM RD43-174
TINELY PARK, IL 60487                  VANCEBURG, KY 41179                 UNIT 2
                                                                           WHEATON, IL 60189




TRACE SERVICES, INC                    TRACI ANDREWS                       TRACIS LLC
815 E. IRVING PARK RD                  2635 MEADOWLANE DR                  2103 GAULT AVE N
ROSELLE, IL 60172                      GRANITE CITY, IL 62040              FORT PAYNE, AL 35967




TRACTOR SUPPLY COMPANY                 TRACTOR SUPPLY COMPANY              TRACY FLETCHER
200 POWELL PLACE                       5401 VIRGINIA WAY                   3077 JENNIES CREEK ROAD
BRENTWOOD, TN 37027                    BRENTWOOD, TN 37027                 KERMIT, WV 25674-8095




TRACY KANE                             TRACY RENNER                        TRACY, JAMIE L.
ADDRESS ON FILE                        446 S SOANGETAHA RD                 ADDRESS ON FILE
                                       GALESBURG, IL 61401




TRACY, JULIE K.                        TRACY, LOIS                         TRADE WEST CONSTRUCTION INC
ADDRESS ON FILE                        135 ROLLING PARK DR N               300 W HAFEN LN
                                       MASSILLON, OH 44647                 MESQUITE, NV 89027
TRAFF, JULIE A.         Case 20-10766-BLS   Doc
                                      TRAINER,    6 L. Filed 04/07/20
                                               TRACY                       Page 1781  of 1969
                                                                                TRAITEUR, KATHRYN L.
108 N FARNHAM ST                        ADDRESS ON FILE                          ADDRESS ON FILE
GALESBURG, IL 61401




TRAMBA, IVEY                            TRAMEL, KRISTA D.                        TRAMEL, MICHAEL R.
2501 BRIARWOOD AVE SW APT43             ADDRESS ON FILE                          ADDRESS ON FILE
FORT PAYNE, AL 35967-6005




TRAMMEL, ANDREW                         TRAMMELL, MICHAEL P.                     TRAMPE, ANDREA
1131 OTIS DR                            ADDRESS ON FILE                          320 W. LINDEN ST
BETHLEHEM, GA 30620                                                              EDWARDSVILLE, IL 62025




TRAMUTOLO, DIANE                        TRAN, DAN                                TRAN, LY
ADDRESS ON FILE                         ADDRESS ON FILE                          7735 166TH ST
                                                                                 TINLEY PARK, IL 60477




TRAN, PHUONG T.                         TRAN, QUAN                               TRAN, RICHARD S.
24 ERIC LANE                            ADDRESS ON FILE                          ADDRESS ON FILE
ELLIJAY, GA 30536




TRAN, SYLVIE                            TRANDEL, FERDIE                          TRANDEL, RAY
708 KELLER AVE                          3330 WEST 102ND ST                       3330 WEST 102ND ST
WAUKEGAN, IL 60085                      EVERGREEN PARK, IL 60805                 EVERGREEN PARK, IL 60805




TRANE U.S. INC                          TRANE U.S. INC. (FKA AMERICAN            TRANE US INC
P.O. BOX 98167                          STANDARD, INC.)                          P.O. BOX 406469
CHICAGO, IL 60693                       P.O. BOX 98167                           ATLANTA, GA 30384-6469
                                        CHICAGO, IL 60693




TRANE US INC                            TRANE                                    TRANNIE WOODSON
P.O. BOX 845053                         PO BOX 98167                             351 MT ARIE RD
DALLAS, TX 75284-5053                   CHICAGO, IL 60693                        GREENFIELD, TN 38230




TRANSAMERICA LIFE INS                   TRANSAMERICA PREMIER LIFE INS CO         TRANSAMERICA PREMIER LIFE INS CO
P.O. BOX 2510                           ADMINISTRATIVE OFFICE                    P.O. BOX 3350
ROCKVILLE, MD 20847                     P.O. BOX 3350                            GRAND RAPIDS, IA 52406-3550
                                        CEDAR RAPIDS, IA 52406




TRANSAMERICA PREMIER LIFE               TRANSCAT, INC.                           TRANSCAT, INC.
PO BOX 3350                             35 VANTAGE POINT DR                      P.O. BOX 62827
ADMINISTRATIVE OFFICE                   ROCHESTER, NY 14624                      BALTIMORE, MD 21264-2827
CEDAR RAPIDS, IA 52406
TRANSCEND MEDICAL      Case 20-10766-BLS   Doc CORP
                                     TRANSLOGIC 6 Filed 04/07/20       Page 1782 of 1969
                                                                            TRANSLOGIC CORP
133 WOODS COVE ROAD                   11325 MAIN ST                         11325 MAIN STREET
SCOTTSBORO, AL 35768                  BROOMFIELD, CO 80020-2855             BROOMFIELD, CO 80020-2855




TRANSMOTION MEDICAL                   TRANSPERFECT CORPORATE                TRANSPORT WORKERS UNION
WINCO MFG, LLC                        HEADQUARTERS                          HEALTH & WELFARE
5516 SW 1ST LANE                      1250 BROADWAY, 32ND FL                9411 PHILADELPHIA RD.STE S
OCALA, FL 34474                       NEW YORK, NY 10006                    BALTIMORE, MD 21237




TRANSWORLD SYSTEMS, INC               TRANSWORLD SYSTEMS, INC               TRANSWORLD SYSTEMS, INC
500 VIRGINA DR                        P.O. BOX 15109                        P.O. BOX 15616
STE 514                               WILMINGTON, DE 19850                  DEPT 415
FORT WASHINGTON, PA 19034                                                   WILMINGTON, DE 19850




TRAPP, MADELYN                        TRASK, HANNAH                         TRATTEL COURT REPORTING &
ADDRESS ON FILE                       3200 DAVIS AVE                        VIDEOGRAPHY PC
                                      GRANITE CITY, IL 62040                P.O. BOX 36297
                                                                            ALBUQUERQUE, NM 87176




TRAUB, MELISSA                        TRAUTMAN, ROBERT - ITV                TRAUTMAN, SAMANTHA
11190 NORMAN RD.                      419 CREEKSIDE COVE                    263 E 9TH AVE
MARION, IL 62959                      BRYANT, AR 72022                      JUNCTION CITY, OR 97448




TRAVEL INSURED INTERNATIONAL          TRAVEL LANE COUNTY                    TRAVEL NURSE ACROSS AMERICA
855 WINDING BROOK DR                  P.O. BOX 10286                        DEPT 730068896
P.O. BOX 6503                         EUGENE, OR 97440                      P O BOX 660919
GLASTONBURY, CT 06033-6503                                                  DALLAS, TX 75266-0919




TRAVEL NURSE ACROSS AMERICA, LLC      TRAVELERS - HCN COORDINATOR           TRAVELERS CL REMITTANCE
5020 NORTHSHORE DR                    P.O. BOX 660456                       P O BOX 660317
NORTH LITTLE ROCK, AR 72118           DALLAS, TX 75266-0456                 DALLAS, TX 75266-0317




TRAVELERS CL REMITTANCE               TRAVELERS INDEMINITY CO, THE          TRAVELERS WORKERS COMPENSATION
P.O. BOX 660317                       TRAVELERS CL REMITTANCE CTR           P.O. BOX 2928
DALLAS, TX 75266-0317                 P.O. BOX 660317                       OVERLAND PARK, KS 66201
                                      DALLAS, TX 75266-0317




TRAVELERS WORKERS COMPENSATION        TRAVELERS WORKERS COMPENSATION        TRAVELERS
P.O. BOX 3205                         P.O. BOX 4614                         ONE TOWER SQUARE 7MS
NAPERVILLE, IL 60566                  BUFFALO, NY 14240-4614                HARTFORD, CT 06183




TRAVELERS                             TRAVELERS                             TRAVELSTEAD, BRIAN
P.O. BOX 650293                       P.O.BOX 4614                          909 W BRDWAY BLVD
DALLAS, TX 75265                      BUFFALO, NY 14240-4614                JOHNSTON CITY, IL 62951
TRAVELSTEAD, JAMIE      Case 20-10766-BLS    Doc 6JERRY
                                      TRAVELSTEAD,     Filed 04/07/20   Page 1783  of 1969
                                                                             TRAVELSTEAD, VAN A.
P.O. BOX 191                          1917 MARKET RD                          1613 S LAKE DR
JOHNSTON CITY, IL 62951               MARION, IL 62959                        MARION, IL 62959




TRAVIS GIELISH                        TRAVIS JANWAY                           TRAVIS, CYNTHIA D.
39771 PLACE ROAD                      P.O. BOX 8                              16552 N MCCAULEY LANE
FALL CREEK, OR 97438                  ROBERTSON, WY 82944                     MT. VERNON, IL 62864




TRAVIS, EDNA RUTH                     TRAVIS, HENRY S.                        TRAVIS, JACQUELINE R
487 RUBY JOHNSON DR                   1313 LINCOLN ST APT 706                 116 N PORTER ST APT 1
SCOTTSBORO, AL 35769                  EUGENE, OR 97401                        PARIS, TN 38242




TRAVIS, JANWAY                        TRAVIS, MARK A.                         TRAVIS, RICHEY
P.O. BOX 8                            ADDRESS ON FILE                         3348 COLGATE PLACE
ROBERTSON, WY 82944                                                           GRANITE CITY, IL 62040




TRAVIS, RIDGEWAY                      TRAVIS, SHAKIRA L.                      TRAVIS, TERRY
1605 HICKORY LANE                     ADDRESS ON FILE                         14133 SOUTH COUNTY LINE RD
THOMPSONVILLE, IL 62890                                                       WEST FRANKFORT, IL 62896




TRAVIS, UBEL                          TRAVIS, VENUS J.                        TRAVLERS; CLAIMS DEPT
2145 NIRVANA                          ADDRESS ON FILE                         P.O. BOX 682165
EUGENE, OR 97401                                                              FRANKLIN, TN 37068-2165




TRAYBSZA, KELLY                       TRAYLOR BARNETT, KAREN                  TRAYLOR BARNETT, KAREN
124 W. KENTUCKY AVE                   P.O. BOX 680167                         ADDRESS ON FILE
BEECHER, IL 60401                     FORT PAYNE, AL 35968




TRAYLOR, BRANDY                       TRAYLOR, LOGAN A.                       TRAYLOR, RACHEL G
2962 HWY 259 N                        ADDRESS ON FILE                         781 COUNTY RD 108
MORO, AR 72368                                                                RAINSVILLE, AL 35986-3541




TRAYLOR, TINA                         TRCA                                    TREACE MEDICAL CONCEPTS,INC
ADDRESS ON FILE                       P.O. BOX 202056                         DEPT CH 17535
                                      DALLAS, TX 75320-2056                   PALATINE, IL 60055-7535




TREAD TECH                            TREADWAY, DIANDRA S.                    TREADWELL, PATRICIA
22 W HAZEL DELL                       2055 CITY VIEW ST                       1722 ROCK VIEW TERRACE
SPRINGFIELD, IL 62703                 EUGENE, OR 97405                        LOGANVILLE, GA 30052
TREAKLE , JO ANN      Case 20-10766-BLS   DocOF
                                    TREASURER 6 THEFiled
                                                    US 04/07/20        Page 1784 of 1969
                                                                            TREASURER STATE OF IOWA
920 WHEATRIDGE                        DEPARTMENT OF THE NAVY                 LUCAS STATE OFFICE BLDG
TROY, IL 62294                        161 TURNER ST STE B                    321 E 12TH ST, 1ST FL
                                      PENSACOLA, FL 32508                    DES MOINES, IA 50319




TREASURER STATE OF IOWA               TREASURER STATE OF OHIO                TREASURER STATE OF OHIO
TREASURER OF STATE                    6606 TUSSING RD                        8895 E MAIN ST
UNCLAIMED PROPERTY DIVISION           P.O. BOX 4009                          REYNOLDSBURG, OH 43068
P.O. BOX 10430                        REYNOLDSBURG, OH 43068
DES MOINES, IA 50306-0430



TREASURER STATE OF OHIO               TREASURER STATE OF OHIO                TREASURER, STATE OF CONNECTICUT,
ODM FISCAL OPERATIONS/CREDIT BALANC   OHIO EPA-DAPC NTV EMISSIONS            UNCLAIMED PROPERTY DIVISION
L-3656                                DEPT L 2711                            55 ELM ST
COLUMBUS, OH 43260-3656               COLUMBUS, OH 43260-2711                HARTFORD, CT 06106




TREASURER, STATE OF CONNECTICUT,      TREASURER, STATE OF MAINE              TREASURER, STATE OF NEW HAMPSHIRE
UNCLAIMED PROPERTY DIVISION           OFFICE OF THE STATE TREASURER          STATE OF NEW HAMPSHIRE TREASURY
UNCLAIMED PROPERTY DIVISION           39 STATE HOUSE STATION                 ABANDONED PROPERTY DIVISION
P.O. BOX 150435                       AUGUSTA, ME 04333-0039                 25 CAPITOL ST
HARTFORD, CT 06115-0435                                                      CONCORD, NH 03301-6312



TREASURER, STATE OF NEW JERSEY        TREASURER, STATE OF WYOMING            TREECE, JAMES O.
STATE OF NEW JERSEY DEPARTMENT OF     OFFICE OF HEALTHCARE LICENSING         403 NORTH GREEN ST
THE TREASURY                          6101 YELLOWSTONE RD,STE 186C           ANNA, IL 62906
UNCLAIMED PROPERTY ADMINISTRATION     CHEYENNE, WY 82002
P.O. BOX 214
TRENTON, NJ 08625-0214

TREECE, PATRICK                       TREECE, STEPHANIE                      TREETOP PRODUCTS, INC.
530 NIMMO RD                          2542 PONTOON RD                        222 E. STATE ST
DONGOLA, IL 62926                     GRANITE CITY, IL 62040                 BATAVIA, IL 60510




TREGO, LISA S.                        TREISCH, BESS M.                       TREISCH, RYAN T.
ADDRESS ON FILE                       4113 SW LEBANON RD                     4113 SOUTH WEST LEBANON RD
                                      DALTON, OH 44618                       DALTON, OH 44618




TREJO, ELIDA G.                       TRELLIS COMPANY                        TREMAROLI, JUDY A.
2317 ELIM AVE                         P.O. BOX 659601                        11110 FRANKLIN AVE.
ZION, IL 60099                        SAN ANTONIO, TX 78265-9601             CHICAGO HEIGHTS, IL 60411




TREMBLY, MICHELLE                     TREMCO WEATHERPROOFING                 TREMCO
948 STONY HOLLOW DR                   3735 GREEN RD                          P.O. BOX 931111
KNOXVILLE, IL 61448                   BEACHWOOD, OH 44122-5730               CLEVELAND, OH 44193-0511




TRENT, CRITES                         TRENT, MADISON                         TRENT, RANDI N.
735 HAPPY HOLLOW RD                   ADDRESS ON FILE                        ADDRESS ON FILE
GOREVILLE, IL 62939
TRENTMAN, JAMIE            Case 20-10766-BLS   Doc
                                         TRENTYN     6 Filed 04/07/20
                                                 , LOUVIER-GIBSON         Page 1785
                                                                               TREON of 1969
                                                                                     STEPHEN
4212 CYPRESS OAK LANE                     729 N HICKERY                        P.O. BOX 1107
SMITHTON, IL 62285                        CENTRALIA, IL 62801                  COPPERHILL, TN 37317




TREPANIER, GAY A.                         TRES, BELANGEE                       TRESCH, LESLIE
744 KIRKWOOD                              P.O. BOX 224                         4025 ASHFORD CIR
WINTHROP HARBOR, IL 60096                 BELLE RIVE, IL 62810-0224            HOLLISTER, CA 95023




TRESPESES, RAZZI S.                       TREVINO, ALICE L.                    TREVINO, ARTURO A.
ADDRESS ON FILE                           1417 SYCAMORE                        312 MCDONALD RD
                                          BIG SPRING, TX 79720                 BIG SPRING, TX 79720




TREVINO, BEATRICE                         TREVINO, KAREN S.                    TREVINO, KIMBERLY L
602 NW 8TH ST                             2115 MILFIELD CR                     12735 LAKE VISTA DR
BIG SPRING, TX 79720                      SNELLVILLE, GA 30078                 GIBSONTON, FL 33534




TREVINO, RUDY                             TREVIZO, GUILLERMINA                 TREVIZO, SULEIKA
1009 MOUNTAIN VIEW DR                     665 EVERS ST                         9113 SANDPIPER COURT
JOLIET, IL 60432                          GREEN RIVER, WY 82935                ORLAND PARK, IL 60462




TREVOR, PAISLEY                           TREXLER, MARY J.                     TREY TACKER
726 OXFORD AVE NE                         ADDRESS ON FILE                      P.O. BOX 137
MASSILLON, OH 44646-4150                                                       MARION, AR 72364




TRI ANIM HEALTH SERVICES, INC             TRI CITY ANYTIME FITNESS, LLC        TRI CITY EQUIPMENT CO.
25197 NETWORK PLACE                       P.O. BOX 18423                       527 W FOURTH STREET
CHICAGO, IL 60673-1251                    SALT LAKE CITY, UT 84118             DAVENPORT, IA 52801




TRI CITY EQUIPMENT CO.                    TRI CITY PORT DISTRICT               TRI STAR
527 W FOURTH ST                           1635 W FIRST ST                      261 W JACKSON
DAVENPORT, IA 52801                       GRANITE CITY, IL 62040-1838          STE 650
                                                                               CHICAGO, IL 60606




TRI STATE DISPOSAL                        TRI STATE DISTRIBUTION, INC          TRI STATE FENCING
13903 S. ASHLAND AVE                      P.O. BOX 600                         3519 OAKLAND AVE
RIVERDALE, IL 60827-3216                  SPARTA, TN 38583                     CATLETTSBURG, KY 41129




TRI STATE OXYGEN INC                      TRI STATE SWAT                       TRIAD DEAF SERVICES
BOX 121                                   2714 INDIAN RUN RD                   408 9TH ST SW STE 2100
ASHLAND, KY 41105-0121                    FLATWOODS, KY 41139                  CANTON, OH 44707
TRIAD DEAF SERVICES      Case 20-10766-BLS    Doc 6SYSTEMS,
                                       TRIAD HEALTH   Filed INC.
                                                             04/07/20   Page 1786   of 1969
                                                                             TRIAD ISOTOPES
408 9TH ST SW STE 2100                   P.O. BOX 845                        ATTN ACCOUNTS RECEIVABLE
CANTON, OH 44707-4714                    WARSAW, KY 41095                    P.O. BOX 415921
                                                                             BOSTON, MA 02241




TRIAD ISOTOPES                           TRIAD OF OREGON, LLC                TRIAGE, LLC
ATTN: ACCOUNTS RECEIVABLE                1209 ORANGE ST                      12020 PACIFIC ST
P.O. BOX 415921                          WILMINGTON, DE 19801                OMAHA, NE 68154
BOSTON, MA 02241




TRIANGLE HEALTHCARE EXECUTIVES           TRI-ANIM CORP                       TRI-ANIM HEALTH SERVICE INC
FORUM                                    25197 NETWORK PLACE                 25197 NETWORK PLACE
P.O. BOX 2731                            CHICAGO, IL 60673-1251              CHICAGO, IL 60673-1251
DURHAM, NC 27715




TRI-ANIM HEALTH SERVICES, INC.           TRIARCO                             TRIBBLE, JAY F.
25197 NETWORK PLACE                      P.O. BOX 463                        ADDRESS ON FILE
CHICAGO, IL 60673-1251                   FORT ATKINSON, WI 53538




TRIBBLE, JEREMY LOGAN                    TRIBETT, VELMA                      TRICARE ACTIVE DUTY CLAIMS
716 COUNTY RD 33                         9404 S CALUMET AVE                  P.O. BOX 7968
FYFEE, AL 35971                          CHICAGO, IL 60619                   MADISON, WI 53707




TRICARE EAST REFUNDS/RECOUPM             TRICARE EAST REGION                 TRICARE EAST REGION
P.O. BOX 8967                            ATTN RECOUPMENTS                    ATTN RECOUPMENTS
MADISON, WI 53708-8967                   P.O. BOX 7937                       P.O. BOX 8967
                                         MADISON, WI 53707-7937              MADISON, WI 53708-8967




TRICARE EAST REGION                      TRICARE EAST REGION                 TRICARE EAST REGION
ATTN REFUND/RECOUPMENT                   ATTN: REFUNDS/RECOUPMENTS           P.O. BOX 7981
P.O. BOX 8967                            P.O. BOX 7937                       MADISON, WI 53707-7981
MADISON, WI 53708-8967                   MADISON, WI 53707-7937




TRICARE EAST REGION                      TRICARE EAST REGION                 TRICARE EAST
P.O. BOX 8923                            P.O. BOX 8967                       P.O. BOX 7889
MADISON, WI 53707-8923                   ATTN: REFUNDS/RECOUPMENTS           MADISON, WI 53707
                                         MADISON, WI 53708-8967




TRICARE EAST                             TRICARE FINANCE ATTN REFUNDS        TRICARE FINANCE
P.O. BOX 7981                            P.O. BOX 100279                     ATTN REFUNDS
MADISON, WI 53707-7981                   COLUMBIA, SC 29203                  P.O. BOX 870153
                                                                             SURFSIDE BEACH, SC 29587




TRICARE FINANCE                          TRICARE FOR LIFE (WPS)              TRICARE FOR LIFE WPS
P.O. BOX 870153                          P.O. BOX 7890                       P.O. BOX 7928
SURFSIDE BEACH, SC 29587-9753            MADISON, WI 53707-7028              ATTN: REFUNDS
                                                                             MADISON, WI 53707
TRICARE FOR LIFE          Case 20-10766-BLS
                                        TRICAREDoc  6 Filed 04/07/20
                                                FOR LIFE               Page 1787  ofFOR
                                                                            TRICARE  1969
                                                                                        LIFE
ATTN REFUNDS                             ATTN REFUNDS                        ATTN: REFUNDS
P O BOX 7928                             P.O. BOX 7928                       P.O. BOX 7928
MADISON, WI 53707                        MADISON, WI 53707                   MADISON, WI 53707-7928




TRICARE FOR LIFE                         TRICARE FOR LIFE                    TRICARE FOR LIFE
P O BOX 7890                             P.O. BOX 7064                       P.O. BOX 7889
MADISON, WI 53707                        CAMDEN, SC 29020                    ATTN: PATIENT REFUNDS
                                                                             MADISON, WI 53707-7889




TRICARE FOR LIFE                         TRICARE FOR LIFE                    TRICARE FOR LIFE
P.O. BOX 7889                            P.O. BOX 7889                       P.O. BOX 7890
MADISON, WI 53707                        MADISON, WI 53707-7889              MADISON, WI 53707-7890




TRICARE FOR LIFE                         TRICARE FOR LIFE                    TRICARE FOR LIFE
P.O. BOX 7928                            P.O. BOX 7928                       POB 7889
MADISON, WI 53707                        MADISON, WI 53707-7928              MADISON, WI 53707-7890




TRICARE NORTH REGIION                    TRICARE NORTH REGION                TRICARE NORTH REGION
PO BOX 870141                            P.O. BOX 870140                     P.O. BOX 870141
SURFSIDE BEACH, SC 29587                 SURFSIDE BEACH, SC 29587            SURFSIDE BEACH, SC 29587




TRICARE NORTH                            TRICARE SOUTH REGION                TRICARE SOUTH REGION
P.O. BOX 870140                          ATTN CLAIMS DEPARTMENT              ATTN REFUNDS
SURFSICLE BEACH, SC 29587-9740           P.O. BOX 7031                       P.O. BOX 100279
                                         CAMDEN, SC 29020                    COLUMBIA, SC 29203-3279




TRICARE WEST FINANCE                     TRICARE WEST REGION                 TRICARE WEST REGION
FINANCE                                  ATTN CLAIMS DEPARTMENT              ATTN CLAIMS DEPARTMENT
P.O. BOX 202111                          P.O. BOX 202111                     P.O. BOX 7064
FLORENCE, SC 29502-2111                  FLORENCE, SC 29502-2111             CAMDEN, SC 29020




TRICARE WEST REGION                      TRICARE WEST REGION                 TRICARE WPS
ATTN REFUNDS                             P.O. BOX 100268                     ATTN: REFUND DEPT
P.O. BOX 100268                          COLUMBIA, SC 29202                  P.O. BOX 7889
COLUMBIA, SC 29202                                                           MADISON, WI 53707-7889




TRICARE                                  TRICARE                             TRICARE
P.O. BOX 7889                            P.O. BOX 7937                       PO BOX 7889
MADISON, WI 53707                        MADISON, WI 53707-7937              MADISON, WI 53707




TRICASO, JOANNA                          TRICE MEDICAL, INC                  TRI-CITY ELECTRIC COMPANY OF IOWA
4497 HONEYMOON DR                        P.O. BOX 392743                     6225 N BRADY ST
NORTH CANTON, OH 44720                   PITTSBURGH, PA 15251-9747           DAVENPORT, IA 52806
TRI-CITY ELECTRIC        Case 20-10766-BLS
                                       TRICOM Doc  6 TELESTAR
                                              INC DBA  Filed 04/07/20
                                                              NETWORKS Page 1788
                                                                            TRICOMof 1969
                                                                                   INC DBA TELESTAR NETWORKS
6225 N BRADY ST                          P O BOX 2019                           P.O. BOX 2019
DAVENPORT, IA 52806                      LAS CRUCES, NM 88004                   LAS CRUCES, NM 88004




TRICORE REFERENCE LABORATORIES           TRICORE REFERENCE LABORATORIES         TRICORE REFERENCE LABORATORIES
P O BOX 27935                            P.O. BOX 25627                         P.O. BOX 27935
ALBUQUERQUE, NM 87125-7935               ALBUQUERQUE, NM 87125-5627             ALBUQUERQUE, NM 87125-7935




TRI-COUNTY PUBLISHING                    TRIDENT USA MOBILE INFUSION SERVICES   TRI-DIM FILTER CORP
THE MCKENZIE BANNER                      LLC                                    P.O. BOX 822001
P.O. BOX 100                             P.O. BOX 746350                        PHILADELPHIA, PA 19182-2001
MCKENZIE, TN 38201                       ATLANTA, GA 30374-6350




TRIGG COUNTY HOSPITAL                    TRIGG, FRANK S.                        TRIGG, FRANK S.
254 MAIN ST                              ADDRESS ON FILE                        210 WINDY VALLEY RD
CADIZ, KY 42211-9153                                                            BLUE RIDGE, GA 30513




TRIGG, MARIE L.                          TRIGG, REBECCA J.                      TRIGG, STAN
ADDRESS ON FILE                          ADDRESS ON FILE                        RMG




TRIGGER DEBRA S                          TRIGGER, DEBRA S                       TRIGGS, TONIA
1686 MCMASTERS AVE                       1686 MCMASTERS AVE                     4012 WEST 105TH ST
GALESBURG, IL 61401-5107                 GALESBURG, IL 61401-5107               OAK LAWN, IL 60453




TRIKA MEDICAL INC.                       TRIL, FRANCISCO                        TRIL, JONATHAN
18095 HIGHWAY 18 STE B                   3408 E 106TH ST                        3408 E 106TH ST
APPLE VALLEY, CA 92307                   CHICAGO, IL 60617                      CHICAGO, IL 60617




TRILBA, SNYDER                           TRILLIANT SURGICAL LTD                 TRILLIANT SURGICAL LTD
500 4TH AVE SW                           6721 PORTWEST DR, STE 160              727 NORTH SHEPHERD DRIVE
APT 20                                   HOUSTON, TX 77024                      SUITE 100
BEACH CITY, OH 44608-9711                                                       HOUSTON, TX 77007




TRILLIUM COMMUNITY HEALTH PLAN           TRILLIUM COMMUNITY HEALTH PLAN         TRILLIUM COMMUNITY HEALTH PLAN
ATTN REFUND DEPT                         ATTN: REFUND DEPT                      UO RIVERFRONT RESEARCH PARK
P.O. BOX 11756                           P.O. BOX 11756                         1800 MILLRACE DR
EUGENE, OR 97440-3956                    EUGENE, OR 97440-3956                  EUGENE, OR 97440-3956




TRILLIUM MCAID                           TRILLIUM MCAID                         TRILLIUM MCAID
P O BOX 11740                            P O BOX 5030                           P.O. BOX 11740
EUGENE, OR 97440                         FARMINGTON, MO 63640                   EUGENE, OR 97440
TRILLIUM MCAID            Case 20-10766-BLS    Doc
                                        TRILLIUM    6 Filed 04/07/20
                                                 MEDICARE                 Page 1789   ofMEDICARE
                                                                               TRILLIUM  1969
P.O. BOX 5030                            P O BOX 3060                           P.O. BOX 3060
FARMINGTON, MO 63640                     FARMINGTON, MO 63640-3822              FARMINGTON, MO 63640-3822




TRIMARK MARLINN, LLC                     TRIMARK MARLINN, LLC                   TRIMBLE, ANGELA M.
6100 W 73RD ST                           P.O. BOX 8570                          ADDRESS ON FILE
BEDFORD PARK, IL 60638                   CAROL STREAM, IL 60197-8570




TRIMBLE, DEBORAH L.                      TRIMBLE, MARTHA SUE                    TRIMBLE, TONYA
ADDRESS ON FILE                          1837 N BERRA BLVD A107                 5477 LANYARD LANE
                                         TOOELE, UT 84074                       STANSBURY PARK, UT 84074




TRIMED INC                               TRIMNELL, JESSICA                      TRINCHERO, SHELLEY A.
P.O. BOX 55189                           ADDRESS ON FILE                        365 GAULT ST
VALENCIA, CA 91385-0189                                                         SANTA CRUZ, CA 95062




TRINH, KATHLEEN                          TRINIDAD DE LA CRUZ, CARMEN Y.         TRINIDAD, REYNA KEYSHLIANN
ADDRESS ON FILE                          4329 S CALIFORNIA AVE                  ADDRESS ON FILE
                                         CHICAGO, IL 60632




TRINISYS LLC                             TRINITE, DONNA                         TRINITY REGIONAL HOSPITAL SACHSE, LLC
P.O. BOX 2212                            661 BLAIR CT.                          ATTENTION: WILLIAM W. PERSEFIELD,
BRENTWOOD, TN 37024-2212                 BETHLEHEM, GA 30620                    MANAGING PARTNER
                                                                                11501 E. NORTHWEST HIGHWAY
                                                                                DALLAS, TX 75218



TRINITY STERILE, INC                     TRINITY TOWER & COIL CLEANING          TRINITY VIDEO COMMUNICATIONS
889 S MATLACK ST                         16678 LAGEMAN LN                       11003 BLUEGRASS PARKWAY
WEST CHESTER, PA 19382                   BRIGHTON, IL 62012                     STE 600
                                                                                LOUISVILLE, KY 40299




TRIPLE X-RAY, INC                        TRIPLE X-RAY, INC                      TRIPLETT, DIANA K.
2102 DEEANNA LANE                        P.O. BOX 1109                          ADDRESS ON FILE
MIDLAND, TX 79707                        STANTON, TX 79782




TRIPLETT, DONNA D.                       TRIPLETT, KATHERINE M                  TRIPP, AMANDA J.
1400 W SWAN ST APT 216                   333 ORCHARD CT                         ADDRESS ON FILE
STEPHENVILLE, TX 76401                   TROY, IL 62294




TRIPP, HEATHER M.                        TRIPP, JACK                            TRIPP, JANELL M.
2420 COUNTY RD 138                       104 HOLLY TERRACE                      2587 MILL CREEK RD
HENAGAR, AL 35978                        ANNA, IL 62906                         NEWPORT, NC 28570
TRIPP, JORDAN            Case 20-10766-BLS     Doc 6
                                       TRIPP, LARRY ELMERFiled 04/07/20   Page 1790   of 1969
                                                                               TRIPP, TABITHA
103 E. JOHNSON ST. P.O. BOX 85         822 SCOTT AVE N                         1730 MCCLOUD LOOP
VALIER, IL 62891                       RAINSVILLE, AL 35986                    ANNA, IL 62906




TRIPP, TABITHA                          TRIPP, TERRY A                         TRISCAN INC
335 MCCLOUD LOOP                        P.O. BOX 102                           1317 S 1700 W
ANNA, IL 62906                          RAINSVILLE, AL 35986                   SYRACUSE, UT 84075




TRI-SPAN CONSTRUCTION, LLC              TRISTAR RISK MANAGEMENT                TRISTAR RISK MANAGEMENT
P.O. BOX 163                            ATTN COLLEEN BERGER                    P.O. BOX 2805
LOUISA, KY 41230                        P.O. BOX 2803                          CLINTON, IA 52733
                                        CLINTON, IA 52733-2803




TRI-STATE DISPOSAL INC                  TRI-STATE ELECTRIC MEMBERSHIP CORP.    TRI-STATE EMC
13903 S ASHLAND AVE                     P.O. BOX 530812                        2310 BLUE RIDGE DR
RIVERDALE, IL 60827                     ATLANTA, GA 30353-0812                 BLUE RIDGE, GA 30513




TRI-STATE EMC                           TRI-STATE OPHTHALMICS, INC             TRI-STATE ROOFING CO.
P.O. BOX 530812                         10 SEALS DR                            P.P. BOX 1231
ATLANTA, GA 30353-0812                  MONROE, NY 10950-3949                  CHARLESTON, WV 25324




TRI-STATE SYSTEMS, INC.                 TRI-TECH FORENSICS, INC.               TRITSCHLER, ASHLEY
85 SOUTHVIEW DR                         8770 TRADE STEET                       ADDRESS ON FILE
CADIZ, KY 42211                         LELAND, NC 28451




TRIVERS ASSOCIATES INC                  TRIWEST HEALTHCARE ALLIANCE            TRIWEST HEALTHCARE ALLIANCE
100 N BRDWAY                            15810 N 28TH AVE                       P.O. BOX 14491
STE 1800                                PHOENIX, AZ 85053                      MADISON, WI 53708
ST LOUIS, MO 63102




TRIWEST HEALTHCARE ALLIANCE             TRIWEST VAPC3                          TRIWEST WPS VAPC3
P.O. BOX 42049                          P.O. BOX 14491                         P.O. BOX 14491
ATTENTION: TRIWEST AR TEAM              MADISON, WI 53708                      MADISON, WI 53708
PHOENIX, AZ 85080-2049




TRIWEST                                 TRIWEST                                TRL SYSTEMS, INC.
ATTN ACCOUNTING                         P.O. BOX 14491                         9531 MILLIKEN AVE.
P O BOX 7926                            ATTN: WPS-VAPC3                        RANCHO CUCAMONGA, CA 91730
MADISON, WI 53707                       MADISON, WI 53708




TROEHLER, COURTNEY                      TROEHLER, LAURA S.                     TROEMNER LLC
208 ORCHARD ST                          ADDRESS ON FILE                        P.O. BOX 21098
ZEIGLER, IL 62999                                                              NEW YORK, NY 10087-1098
TROGDON, SARAH           Case 20-10766-BLS    Doc 6
                                       TROIN, EVALEA        Filed 04/07/20   Page 1791 of 1969
                                                                                  TROMBETTA, MARY J.
2204 ALABAMA                            7330 ST RT 162                             10645 S CENTRAL PARK AVE
BIG SPRING, TX 79720                    TROY, IL 62294                             CHICAGO, IL 60655




TROMBLA, MATTHEW J.                     TROMBLEY, ELIZABETH                        TRONE, RITA
568 S. 68TH PLACE                       P.O. BOX 2492                              1156 N FARNHAM ST
SPRINGFIELD, OR 97478                   OVERTON, NV 89040                          GALESBURG, IL 61401




TRONE, SARAH M.                         TRONEX INTERNATIONAL INC                   TROOP 44 BOY SCOUTS OF AMERICA
ADDRESS ON FILE                         LOCKBOX 1997                               102 WEST JEFFERSON
                                        P.O. BOX 8500-1997                         ANNA, IL 62906
                                        PHILADELPHIA, PA 19178-1997




TROPHY HOUSE, THE                       TROSLEY, CINDY L.                          TROTH, DAVID
2007 CARTER AVE                         ADDRESS ON FILE                            P.O. BOX 1132
ASHLAND, KY 41101                                                                  ROBERSONVILLE, NC 27871




TROTMAN , GREGORY A.                    TROTMAN, DEWAYNE                           TROTMAN, STANLEY
651 COUNTY RD 788                       ADDRESS ON FILE                            1692 CARLYLE RD
IDER, AL 35981                                                                     RAINSVILLE, AL 35986




TROTTER, BRENDA M.                      TROTTER, PATRICIA                          TROTTER, RONALD
1400 W 119TH ST                         1005 E MAIN ST                             1014 MULLIGAN DR
APT 2                                   KNOXVILLE, IL 61448                        MT. VERNON, IL 62864-2099
CHICAGO, IL 60643-5008




TROTTIER, ANASTASIA                     TROTTIER, JIMMY G.                         TROUT, VICKIE L.
6687 N ELIZA LANE UNIT B                ADDRESS ON FILE                            ADDRESS ON FILE
STANSBURY PARK, UT 84074




TROUT-LACY, NELIDA A.                   TROVILLION, TRACY                          TROWBRIDGE, SUZANNE
115 ONYX DR                             9830 STATE ROUTE 146 E                     18279 E. LIBERTY RD
WATSONVILLE, CA 95076                   GRANTSBURG, IL 62943                       OPDYKE, IL 62872




TROXEL, CHELSY                          TROXEL, KELLIE R.                          TROXEL, KELLIE
19526 CRAB ORCHARD RD                   ADDRESS ON FILE                            124 CLINTON HILL DR
MARION, IL 62959                                                                   SWANSEA, IL 62226




TROXTEL, DONALD G.                      TROXTEL, LATASHA M.                        TROY AREA CHAMBER OF COMMERCE
1365 BUKLEY DR E                        157 COUNTY RD 792                          647 E US HIGHWAY 40
FORT PAYNE, AL 35967-7476               FLAT ROCK, AL 35966-8703                   TROY, IL 62294
TROY BERRY                 Case 20-10766-BLS   Doc 6 OFFiled
                                         TROY CHAMBER        04/07/20
                                                       COMMERCE          Page 1792  of 1969
                                                                              TROY, BERRY
1460 G STREET                             647 E US HIGHWAY 40                 1460 G ST
SPRINGFIELD, OR 97477                     TROY, IL 62294-2208                 SPRINGFIELD, OR 97477




TROYER, ALVIN                             TROYER, BELLE                       TROYER, JAMES
18273 HUPRICK RD                          5212 E MESSNER RD                   4748 FREDERICKSBURG RD
NORTH LAWRENCE, OH 44666                  APPLE CREEK, OH 44606               WOOSTER, OH 44691-9488




TROYER, MONIQUE                           TROYER, PHILLIP L                   TROYER, STEVEN
7686 TOWNSHIP RD 671                      4430 TOWNSHIP RD 447                12693 BACK MASSILLON RD
DUNDEE, OH 44624                          SUGARCREEK, OH 44681                ORRVILLE, OH 44667-9722




TRUAX PATIENT SERVICES                    TRUBY, TODD A.                      TRUCK CENTERS, INC.
1112 RAILRD ST SE                         2909 ELIZABETH AVE                  2280 FORMOSA RD
STE 4                                     ZION, IL 60099                      P.O. BOX 150
BEMIDJI, MN 56601                                                             TROY, IL 62294-0150




TRUDEL, RONALD R.                         TRUE NORTH CUSTOM PUBLISHING        TRUE NORTH CUSTOM PUBLISHING LLC
8303 S. VALIANT DR                        COMPANY, LLC                        P.O. BOX 116575
SALT LAKE CITY, UT 84121                  1301 RIVERFRONT PARKWAY             ATLANTA, GA 30368
                                          STE 112
                                          CHATTANOOGA, TN 37402



TRUE NORTH CUSTOM                         TRUE, ANGELA N.                     TRUE, ANGELA
5600 BRAINERD RD STE 1                    ADDRESS ON FILE                     ADDRESS ON FILE
CHATTANOOGA, TN 37411




TRUELOVE, KAYLA N.                        TRUESDALE, DEBORAH                  TRUESDALE, KIMBERLEE
ADDRESS ON FILE                           126 AUTUMN CHASE LN                 647 S 1350 E
                                          BEECH ISLAND, SC 29842-8036         TOOELE, UT 84074




TRUEX, CHUCK                              TRUEX, JEFFREY                      TRUGREEN PROCESSING CENTER
119 RIVERBEND FARM RD                     3150 N MAGNOLIA LN                  P.O. BOX 9001033
BLAIRSVILLE, GA 30512                     WADSWORTH, IL 60083                 LOUISVILLE, KY 40290-1033




TRUITT, SHYLA M.                          TRUJILLO SHANNON                    TRUJILLO, CARMEN
2416 RIDGEDALE AVE                        ADDRESS ON FILE                     2113 SOUTH NICKEL
GRANITE CITY, IL 62040                                                        DEMING, NM 88030




TRUJILLO, KAMILLE                         TRUJILLO, PHYLLIS                   TRUJILLO, SHANNON
P.O BOX 317                               P.O. BOX 1092                       ADDRESS ON FILE
RANDOLPH, UT 84064                        LAS VEGAS, NM 87701
TRUJILLO, VICTORIA       Case 20-10766-BLS    Doc 6 D. Filed 04/07/20
                                       TRULL, FREDDIE                        Page 1793  of 1969
                                                                                  TRULY GOOD FOODS
320 WASHINGTON ST                        402 CORNELL AVE APT 2A                   DEPT 40375
RED BUD, IL 62278                        CALUMET CITY, IL 60409                   P.O. BOX 2153
                                                                                  BIRMINGHAM, AL 35287-9404




TRULY GOOD FOODS                         TRULY GOOD FOODS                         TRUMAN, SHELBIE E.
DEPT 40375                               DEPT 40375                               ADDRESS ON FILE
P.O. BOX 740209                          P.O. BOX 740209
ATLANTA, GA 30374-0209                   ATLANTA, GA 30374-0209




TRUMBULL, DAKOTA J.                      TRUMPF MEDICAL SYSTEMS, INC.             TRUNKETT & TRUNKETT PC
445 SALTY WAY                            1046 LEGRAND BOULEVARD                   20 N WACKER DR
EUGENE, OR 97404                         CHARLESTON, SC 29492                     SUITE 1434
                                                                                  CHICAGO, IL 60606




TRUNNELL, BARBARA ANN                    TRUPATH SOLUTIONS LLC                    TRUSS, NICOLE
2863 LYDICK WAY                          426 REGENCY CT                           ADDRESS ON FILE
EUGENE, OR 97401                         MURFREESBORO, TN 37129




TRUST 1113375                            TRUST 1 DTD 7/28/2000                    TRUST 430
C/O CHICAGO LAND TRUST COMPANY,          C/O PHILLIP H HAMILTON                   C/O BOATSMENS BANK OF SOUTH CENTRAL
TRUSTEE                                  1305 DADRUAN PROFFESIONAL PARK           ILLINOIS
WAUKEGAN, IL 60085                       GODREY, IL 62035                         A/K/A SECURITY BANK AND TRUST CO
                                                                                  9TH & MAIN ST
                                                                                  IL 62864

TRUSTA HARRISON LPN                      TRUSTEES OF THE IBEW LOCAL 1             TRUSTEES OF THE IBEW LOCAL 1
ADDRESS ON FILE                          HEALTH & WELFARE FUND                    HEALTH & WELFARE FUND
                                         P.O. BOX 6088                            P.O. BOX 6088
                                         ST LOUIS, MO 63139                       ST LOUIS, MO 63139-0000




TRUSTMARK                                TRUSTWORTHY ANESTHESIA CARE, PLLC        TRUSTY, DEBRA
P.O. BOX 2920                            331 SMITH CHAPEL RD                      523 KALSONEN LP
CLINTON, IA 52733                        TULLAHOMA, TN 37388                      SPRINGFIELD, OR 97478




TRUSTY, KAREN                            TRUSTY-MANNS, FELICIA N.                 TRUTH FREEDOM RECORDS
33 EAST SOUTHCREST CIRCLE                ADDRESS ON FILE                          4338 HARTS COURT
EDWARDSVILLE, IL 62025                                                            PADUCAH, KY 42001




TRUVEN HEALTH ANALYTICS INC              TRUVEN HEALTH ANALYTICS INC              TRUWE, ANNA W.
39353 TREASURY CENTER                    39353 TREASURY WAY                       ADDRESS ON FILE
CHICAGO, IL 60694-9300                   CHICAGO, IL 60694-9300




TRUWE, SHELLEY F.                        TSAI M.D., JOHN C.                       TSALIAGOS, NIKOLAS
ADDRESS ON FILE                          7532 BETHANY CIR. NW                     1429 TIMBERLINE SR
                                         NORTH CANTON, OH 44720                   JOLIET, IL 60431
TSAO, ETHAN Y.           Case 20-10766-BLS   Doc AMY
                                       TSCHANNEN, 6 E.Filed 04/07/20   Page 1794 of 1969
                                                                            TSCHUDY, RONALD
2367 MARK RD NE                         ADDRESS ON FILE                     3086 CIRCLEVIEW DR NW
RIO RANCHO, NM 87144                                                        DOVER, OH 44622




TSG RESOURCES, INC.                     TSI INCORPORATED                    TSIKOURIS, GEORGE
200 CORPORATE BOULEVARD                 500 CARDIGAN ROAD                   15154 WINDSOR DRIVE
LAFAYETTE, LA 70508                     SHOREVIEW, MN 55126-3996            ORLAND PARK, IL 60462




TSIPORA LEDERMAN                        TSOULOS, MARY E.                    TUB PROS, THE
14 HAZOHAR STREET                       7132 SPRINGSIDE DR                  1010 RICHARD DR
NETANYA 42723                           DOWNERS GROVE, IL 60516             WEST MEMPHIS, AR 72301
ISRAEL




TUB SURGEON                             TUBBS, CASSANDRA J.                 TUBBS, MARCUS C.
4736 CHAUTAUQUA RD                      ADDRESS ON FILE                     6419 COMMONWEALTH RD.
MURPHYSBORO, IL 62966                                                       MIDLAND, TX 79706




TUCHOLKO, ALITZ                         TUCKER JOHN VINCENT                 TUCKER KIMBERLY J
726 COMMUNITY DR                        6223 WATCHTOWER RD NE               539 LAUREL DR
BELLEVILLE, IL 62223                    TACOMA, WA 98422-1359               MARBLE, NC 28905




TUCKER, AMBER                           TUCKER, ANNA                        TUCKER, BRIAN K.
ADDRESS ON FILE                         ADDRESS ON FILE                     220 OLD PARIS ROAD
                                                                            MCKENZIE, TN 38201




TUCKER, BRIAN K.                        TUCKER, CURTIS                      TUCKER, DONALD T.
ADDRESS ON FILE                         ADDRESS ON FILE                     2103 AMOS DRIVE
                                                                            APT D
                                                                            GRANITE CITY, IL 62040




TUCKER, DORA J.                         TUCKER, GLADSTONE A.                TUCKER, HEATHER S.
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




TUCKER, JENNIFER                        TUCKER, JENNIFER                    TUCKER, JOSALYN
2905 W 20TH ST                          ADDRESS ON FILE                     1085 HOLIDAY DR APT 621
GRANITE CITY, IL 62040                                                      FORREST CITY, AR 72335




TUCKER, JOSETTE                         TUCKER, KAREN                       TUCKER, KIMBERLY J.
11842 E. LYONS RD                       108 S 10TH ST                       539 LAUREL DR
LONDON MILLS, IL 61544                  OQUAWKA, IL 61469                   MARBLE, NC 28905
TUCKER, KRISTIN R.     Case 20-10766-BLS
                                     TUCKER,Doc  6 M.Filed 04/07/20
                                             LEANNA                   Page 1795 ofLORI
                                                                           TUCKER, 1969M.
10758 CANTERBURY DRIVE               200 FOREST AVE SW                     2044 BYNUM RD
MOKENA, IL 60448                     FORT PAYNE, AL 35967                  DRESDEN, TN 38225




TUCKER, MELODY H.                    TUCKER, PATRICIA I.                   TUCKER, SCOTT C
ADDRESS ON FILE                      88 CO RD 905                          33 SILVER OAK DR
                                     FORT PAYNE, AL 35967                  EUGENE, OR 97404




TUCKER, SHARON R.                    TUCKER, TIFFANY                       TUCKER, TRUEIE
ADDRESS ON FILE                      ADDRESS ON FILE                       P.O. BOX 193
                                                                           DAGGETT, CA 92327




TUCKER, VICKIE                       TUCKEY, MARGARET A.                   TUDOR, TERESA K.
116 N CHURCH AVE                     3432 VILLAGE LANE                     415 S FAIRVIEW DR
BEACH CITY, OH 44608-0117            FOUNTAINVIEW MANOR                    HARLEM, GA 30814-5016
                                     GRANITE CITY, IL 62040




TUFANO, DOMINICK J.                  TUFT, ANNETTE M.                      TUG VALLEY HIGH SCHOOL FOOTBALL
23803 N FOREST DR                    178 WASHAKIE                          555 PANTHER AVENUE
LAKE ZURICH, IL 60047                EVANSTON, WY 82930                    WILLIAMSON, WV 25661




TUGGLE, SUSAN K.                     TUKIVAKALA, PRABHAKARA R.             TUKIVAKLA, P REDDY
P.O. BOX 580                         ADDRESS ON FILE                       ADDRESS ON FILE
WEST FRANKFORT, IL 62896




TULIANI, TUSHAR A.                   TULICKI, SANDY L.                     TULL BROTHERS, INC
ADDRESS ON FILE                      15542 WESTMINSTER DR                  P.O. BOX 867
                                     ORLAND PARK, IL 60462                 CORINTH, MS 38834




TULLIS, ELAINE N.                    TULLIS, RYAN                          TULLY, KANDY
P.O. BOX 7231                        ADDRESS ON FILE                       ADDRESS ON FILE
ATHENS, GA 30604




TULLY, SANDRA K.                     TUMINARO, CAROL K.                    TUNGETT, LAURA A.
ADDRESS ON FILE                      2431 CHAPMAN CT.                      ADDRESS ON FILE
                                     ROLLING MEADOWS, IL 60008




TUNNELL, ASHLEY L.                   TUNNELL, KATARZYNA                    TURBYFILL BRENDA J
57 ENOTA VILLAGE DR AP110            637 HIGH MEADOW DR                    63 DOGWOOD LANE
YOUNG HARRIS, GA 30582               JEFFERSON, GA 30549-8846              COLLINSVILLE, AL 35961-3526
TURCHANIK, ROBERT         Case 20-10766-BLS   DocPATRICK
                                        TURCHIANO, 6 Filed 04/07/20      Page 1796
                                                                              TURCK of
                                                                                    JR.,1969
                                                                                         ROBERT W.
3516 LINCOLN WAY E                       3445 YORK RD                          ADDRESS ON FILE
APT D3                                   ORRVILLE, OH 44667-9274
MASSILLON, OH 44646




TURCK, BOB                               TURCOTTE JUSTIN L                     TURF TAMER INC
2560 STRATFORD LANE                      4031 N CLAREY ST                      2204 AIRPORT ROAD WEST
GRANITE CITY, IL 62040                   EUGENE, OR 97402                      FORT PAYNE, AL 35968




TURK, JOYCE B.                           TURK, MONIKA                          TURKALJ, PETER
50 RUBY AVE                              2470 CENTERPOINT RD                   3731 21ST ST NW
EUGENE, OR 97404-0000                    HENDERSONVILLE, TN 37075              CANTON, OH 44708




TURKS CRANE SERVICE, INC                 TURKSON, KOFI B.                      TURLEY, BARBARA
P.O. BOX 2521                            7741 BEAR RIDGE STREET                18 PRIMROSE LN
WEST HELENA, AR 72390                    LAS VEGAS, NV 89113                   TRENTON, IL 62293




TURLINGTON, BENJAMIN                     TURNBACH,WARREN,RICE,LLOYD,FREDERIC   TURNBOW, STEVEN T.
2219 RAY TURNER RD                       K & SMITH PC                          2908 WILLOW AVE.
OAK CITY, NC 27857                       P.O. BOX 129                          GRANITE CITY, IL 62040-6047
                                         GADSDEN, AL 35902




TURNBULL, RODNEY                         TURNER DAIRIES-JACKSON                TURNER DAIRY (DIV OF COLEMAN DA)
1825 DEVONSHIRE DR NW                    P.O. BOX 1000, DEPT 023               P.O. BOX 1000
CANTON, OH 44708                         MEMPHIS, TN 38148-0023                DEPT 23
                                                                               MEMPHIS, TN 38148-0023




TURNER GRIGGS, MARY                      TURNER HOLDINGS LLC                   TURNER LAWN SERVICE
200 21ST AVE S                           P.O. BOX 1000                         DOYLE TURNER, OWNER
APT 503                                  DEPT 23                               P.O. BOX 1033
NASHVILLE, TN 37203                      MEMPHIS, TN 38148-0023                JACKSON, KY 41339




TURNER, ANGELA L.                        TURNER, ANTHONY M.D.                  TURNER, ASHLEY-ANN A.
16 CRESCENT DRIVE                        ADDRESS ON FILE                       ADDRESS ON FILE
SCOTTS VALLEY, CA 95066




TURNER, BRAD                             TURNER, BUFFY                         TURNER, CHARLOTTE Y.
92 W. WOODLAND DR                        1700 LOWERY RD                        ADDRESS ON FILE
E. ALTON, IL 62024                       MORGANTON, GA 30560




TURNER, CURTISHA                         TURNER, DANIELLE A.                   TURNER, DANIELLE A.
1231 E 7TH ST                            707 HARTMAN LANE                      ADDRESS ON FILE
ALTON, IL 62002                          WATERLOO, IL 62298
TURNER, DAWN M.          Case 20-10766-BLS
                                       TURNER,Doc 6 Filed
                                               DONIELLE K. 04/07/20    Page 1797 ofDONNA
                                                                            TURNER, 1969R.
5480 LICK CREEK RD                      3248 RUSTIC LN                      ADDRESS ON FILE
ANNA, IL 62906                          CROWN POINT, IN 46307




TURNER, FREDA B.                        TURNER, GENA                        TURNER, GENE
ADDRESS ON FILE                         38 HYATT DRIVE                      38 HYATT DRIVE
                                        MINERAL BLUFF, GA 30559             MINERAL BLUFF, GA 30559




TURNER, GOLDIE                          TURNER, GREGORY G.                  TURNER, HEATHER N.
178 BEATTYVILLE RD                      18208 S. RAVISLOE TER.              609 PLEASENT CRT
JACKSON, KY 41339                       COUNTRY CLUB HILLS, IL 60478        MARION, IL 62959




TURNER, HOPE C.                         TURNER, HOWARD D.                   TURNER, JAYCE
4496 HORTON STREET                      ADDRESS ON FILE                     330 SHERMAN RD
CEDAR BLUFF, AL 35959                                                       ANNA, IL 62906




TURNER, JOCELYN                         TURNER, JOHN L.                     TURNER, JOHN
111 VERA ST                             ADDRESS ON FILE                     ADDRESS ON FILE
CARTERVILLE, IL 62918




TURNER, JOHNNY D.                       TURNER, JORDAN                      TURNER, JOYCE M.
191 ELLIOT TURNER LANE                  P.O. BOX 249                        ADDRESS ON FILE
BOONEVILLE, KY 41314                    JACKSON, KY 41339




TURNER, JULIANA                         TURNER, KAR0N M.                    TURNER, LOLA
416 MCKINNEY STREET                     222 KEEF AVENUE                     294 S HALE ST
BLUE RIDGE, GA 30513                    RAINSVILLE, AL 35986-5346           GRANTSVILLE, UT 84029




TURNER, MADALYN P.                      TURNER, MARILYN                     TURNER, MARILYN
1113 S WEBSTER ST                       ADDRESS ON FILE                     ADDRESS ON FILE
HARRISBURG, IL 62946




TURNER, MAYME J.                        TURNER, MEGAN O.                    TURNER, MICHAEL J.
ADDRESS ON FILE                         ADDRESS ON FILE                     3759 193RD PLACE
                                                                            LANSING, IL 60438




TURNER, NANCY J.                        TURNER, NICHOLAS A.                 TURNER, NOEL S
28140 MORGANTON HWY                     ADDRESS ON FILE                     3518 OSPREY DRIVE
SUCHES, GA 30572                                                            SPRINGFIELD, OR 97477-0000
TURNER, PAUL              Case 20-10766-BLS
                                        TURNER,Doc 6 Filed 04/07/20
                                                RAECHEL               Page 1798 ofREAYSHA
                                                                           TURNER, 1969
ADDRESS ON FILE                          615 NORTH 640 WEST                509 S 20TH ST
                                         TOOELE, UT 84074                  BELLEVILLE, IL 62226




TURNER, RODDY D.                         TURNER, SARA                      TURNER, SHERYL
1245 E MAIN STREET                       ADDRESS ON FILE                   648 N FALLS CIR
BLUE RIDGE, GA 30513                                                       PINGREE GROVE, IL 60140




TURNER, TAMMI                            TURNER, VIRGINIA C.               TURNER, WILLARD R.
1508 BRADY RD                            22403 LAKESHORE DR                3048 MAIN ST SHILOH
HOPE HULL, AL 36043                      RICHTON PARK, IL 60471            FYFFE, AL 35971-3302




TURNER, ZETH B.                          TURPIN, DANIEL                    TUSC CTY COMMON PLEAS COURT
1705 NORTH 1030 WEST                     2644 COLUMBIA ST                  P.O. BOX 628
OREM, UT 84057                           EUGENE, OR 97403-1819             NEW PHILADELPHIA, OH 44663




TUSHAR TULIANI MD                        TUSHAR TULIANI MD                 TUSSEY, BOBBI
ADDRESS ON FILE                          ADDRESS ON FILE                   1507 KARIN ST
                                                                           IRONTON, OH 45638




TUTCO INC                                TUTEN, TESIA L.                   TUTHILL, TERRI
25069 NETWORK PLACE                      ADDRESS ON FILE                   783 S. BROAD ST.
CHICAGO, IL 60673-1250                                                     KNOXVILLE, IL 61448




TUTKA, DEBORAH                           TUTT, SHIRLEY                     TUTTERROW, BRITTANY N.
51 THOMAS LANE                           111 TUTT LANE                     90-B FRIENDSHIP RD.
GLEN CARBON, IL 62034-1202               CAMPTON, KY 41301                 MINERAL BLUFF, GA 30559




TUTTLE, MARK                             TUTTLE, SUSAN R.                  TUUK, ALICE F.
7189 HARDSCRABBLE RD                     ADDRESS ON FILE                   17553 HENRY ST
MINERAL BLUFF, GA 30559                                                    LANSING, IL 60438




TUZON, AMY E.                            TW HEAT & AIR LLC                 TWANA SPARKS
126 WILLOW CREEK ST                      1703 OLD MARATHON RD              P O BOX 44
WATSONVILLE, CA 95076                    ALPINE, TX 79830                  SILVER CITY, NM 88062




TWANA, SPARKS                            TWEED BARBARA E                   TWEED, BARBARA E.
P.O. BOX 44                              494 MONROE ST                     494 MONROE ST
SILVER CITY, NM 88062                    GALESBURG, IL 61401               GALESBURG, IL 61401
TWESTEN, LISA H.        Case 20-10766-BLS   Doc 6 LLC
                                      TWH SOLUTIONS Filed 04/07/20         Page 1799
                                                                                TWIGS of 1969
ADDRESS ON FILE                        SMARTPLAN EQUIPMENT PLANNING             2542 E 25TH ST
                                       1052 CHAPEL CREEK TR                     GRANITE CITY, IL 62040
                                       ALBANY, NY 47150




TWILA MILLER                           TWILA, DHABOLT                           TWILLEY, BRUCE WILLARD
ADDRESS ON FILE                        P.O. BOX 484                             3157 COUNTY RD 115
                                       BETHLEHEM, GA 30620                      FORT PAYNE, AL 35967-6771




TWILLEY, CYNTHIA                       TWILLEY, LAURA S.                        TWILLEY, REBA
ADDRESS ON FILE                        ADDRESS ON FILE                          5780 COUNTY ROAD 127
                                                                                FORT PAYNE, AL 35967-6706




TWIN CITY ATHLETIC ASSOC               TWIN EAGLE RESOURCE MANAGEMENT LLC       TWIN EAGLE RESOURCE MGMT LLC
P.O. BOX 2901                          75 REMITTANCE DRIVE DEPT 3251            8847 W SAM HOUSTON PKWY N
WEST HELENA, AR 72390                  CHICAGO, IL 60675-3251                   HOUSTON, TX 77040




TWITTY THOMAS                          TWITTY, THOMAS                           TWO MEN MOVERS
76 MOSS LANE                           76 MOSS LANE                             149 HALLIE DRIVE
BLUE RIDGE, GA 30513                   BLUE RIDGE, GA 30513-4855                MINERAL BLUFF, GA 30559




TWO THOMPSONS LLC                      TWOS COMPANY INC                         TWYLAS FLOWER SHOP
205 31ST AVE N 209                     500 SAW MILL RIVER RD                    100 PARK PLAZA
NASHVILLE, TN 37203                    ELMSFORD, NY 10523                       RED BUD, IL 62278




TX CHILD SUPPORT SDU                   TX DEPT. OF LICENSING/REGULATIONS        TXU ENERGY RETAIL COMPANY LLC
P.O. BOX 659791                        P.O. BOX 12157                           UNITED WASTE SOLUTIONS, LLC
SAN ANTONIO, TX 78265-9791             AUSTIN, TX 78711-9202                    P.O. BOX 197-508
                                                                                NASHVILLE, TN 37219-7507




TXU ENERGY                             TY INC                                   TY INC
9778 FOREST LN                         P.O. BOX 5934                            PO BOX 5934
DALLAS, TX 75243                       CHICAGO, IL 60680                        CHICAGO, IL 60680




TY WAKEFIELD                           TY, MICHAEL C.                           TYCO FIRE & SECURITY MGMT INC
P.O. BOX 7252                          4437 CYPRESS RIDGE COURT                 JOHNSON CONTROLS FIRE PROTECTION LP
BUNKERVILLE, NV 89007                  SEASIDE, CA 93955                        DEPT CH 10320
                                                                                PALATINE, IL 60055-0320




TYCO FIRE & SECURITY US MANAGEMENT     TYCO INTEGRATED SECURITY LLC             TYERYAR, BRETT A.
INC                                    P.O. BOX 371967                          ADDRESS ON FILE
DEPT CH 10320                          PITTSBURGH, PA 15250-7967
SIMPLEXGRINNELL LLC
PALATINE, IL 60055-0320
TYLER HELD                Case 20-10766-BLS    Doc 6DEKALB
                                        TYLER WILKS,   Filed  04/07/20
                                                           CO.REV              Page 1800
                                                                                    TYLER, of 1969
                                                                                           ASHLEY
3185 WINSLOW WAY                          COMMISSIONER                              ADDRESS ON FILE
ARNOLD, MO 63010                          206 GRAND AVENUE S W
                                          FORT PAYNE, AL 35968




TYLER, HOLLEY                             TYLER, JON L. JR                          TYLEX INC
42 PRATO PARK DRIVE                       93212 TERRITORIAL HWY                     P.O. BOX 8285
MISSOURI CITY, TX 77459                   JUNCTION CITY, OR 97448                   TYLER, TX 75711-8285




TYLKE, NELSON R.                          TYNAN, JACQUELINE D.                      TYNDALL, TIFFANY R.
2712 DEERMONT AVE NW                      506 RACHEL CIR. NW                        3378 OAKLEY RD
MASSILLON, OH 44647-9537                  MASSILLON, OH 44646                       STOKES, NC 27884




TYNER, DALE                               TYNER, KATHERINE E.                       TYNER, SHAWNA
313 ANDREWS DRIVE                         ADDRESS ON FILE                           7688 BROOKLYN AVE
MARIANNA, AR 72360                                                                  SPRINGDALE, AR 72762




TYPENEX MEDICAL LLC                       TYRA, DIANA C.                            TYRONE FLOYD BERRY
303 E WACKER DR, SUITE 1030               ADDRESS ON FILE
CHICAGO, IL 60601




TYSON RAINER                              TYSON, DONNA J.                           TYSON, ELLEN D.
ADDRESS ON FILE                           57 N ASBURY CHURCH RD                     ADDRESS ON FILE
                                          WASHINGTON, NC 27889




TYSON, PATSY R.                           TYSON, ROBYN                              TYSON, SARAH E.
74 REMINGTON LANE                         1360 HELLS HOLLOW RD                      1123 MAIN STREET WEST
WASHINGTON, NC 27889                      BLUE RIDGE, GA 30513                      RAINSVILLE, AL 35986




TYUS, GEORGE JR                           TZ MEDICAL INC                            TZ MEDICAL INC
1817 EDWARDSVILLE RD                      17750 SW UPPER BOONES FERRY RD 150        17750 SW UPPER BOONES FERRY RD
MADISON, IL 62060                         PORTLAND, OR 97224                        STE 150
                                                                                    PORTLAND, OR 97224-4000




TZ MEDICAL INC                            U CONSTRUCTION LLC                        U OF OKLA HEALTH SCIENCES CTR
17750 SW UPPER BOONES FERRY               P.O. BOX 1532                             P.O. BOX 718
150                                       ALPINE, TX 79831                          WEXFORD, PA 15090-0718
PORTLAND, OR 97224




U S DEPARTMENT OF EDUCATION               U S DEPT OF EDUCATION                     U.S. ATTORNEYS OFFICE; SANDRA L.
DIRECT LOAN PAYMENT CENTER                POB 105081                                STEINVOORT
POB 530260                                NATIONAL PAYMENT CENTER                   DEMAND NO. 16-162
ATLANTA, GA 30353-0260                    ATLANTA, GA 30348-5081                    185 SOUTH STREET
                                                                                    SUITE 300
                                                                                    SALT LAKE CITY, UT 84111
                         Case L.
U.S. ATTORNEYS OFFICE; SANDRA 20-10766-BLS     Doc
                                       U.S. BANK    6 Filed
                                                 EQUIPMENT      04/07/20
                                                            FINANCE         Page 1801   of N.A.
                                                                                 U.S. BANK 1969 (2803)
STEINVOORT                             P.O. BOX 790448                             ATTN PAUL KUXHAUS OR PROXY MGR
DEMAND NO. 16-163                      ST. LOUIS, MO 63179-0448                    1555 N. RIVER CENTER DRIVE
185 SOUTH STREET                                                                   SUITE 302
SUITE 300                                                                          MILWAUKEE, WI 53212
SALT LAKE CITY, UT 84111

U.S. BANK NATIONAL ASSOC KONICA         U.S. BANK                                  U.S. CELLULAR
MINOLTA PREMIER                         ATTN: SHAREN RITTER                        DEPT 0205
P.O. BOX 790448                         US BANK TOWER CINCINNATI                   PALATINE, IL 60055-0205
ST LOUIS, MO 63179-0448                 425 WALNUT ST
                                        CINCINNATI, OH 45202



U.S. CUSTOMS AND BORDER PROTECTION      U.S. DEPARTMENT OF EDUCATION AWG           U.S. DEPARTMENT OF EDUCATION AWG
1300 PENNSYLVANIA AVENUE, NW            P.O. BOX 790356                            P.O. BOX 790356
WASHINGTON, DC 20229                    CASE1026853268-C.ALMAZAN                   CASE1029743580-C.MARTIN
                                        ST. LOUIS, MO 63179-0356                   ST.LOUIS, MO 63179-0356




U.S. DEPARTMENT OF EDUCATION AWG        U.S. DEPARTMENT OF EDUCATION AWG           U.S. DEPARTMENT OF EDUCATION TS
P.O. BOX 790356                         P.O. BOX 790356                            P.O. BOX 790356
ST LOUIS, MO 63179-0356                 ST. LOUIS, MO 63179-0356                   ST LOUIS, MO 63179-0356




U.S. DEPARTMENT OF EDUCATION            U.S. DEPARTMENT OF EDUCATION               U.S. DEPARTMENT OF EDUCATION
DIRECT LOAN PAYMENT CENTER              NATIONAL PAYMENT CENTER                    NATIONAL PAYMENT CENTER
P.O. BOX 530260                         P.O. BOX 105028                            P.O. BOX 105081
ATLANTA, GA 30353-0260                  ATLANTA, GA 30348-5028                     ATLANTA, GA 30348-5081




U.S. DEPARTMENT OF EDUCATION            U.S. DEPARTMENT OF EDUCATION               U.S. DEPARTMENT OF EDUCATION
NATIONAL PAYMENT CENTER                 NATIONAL PAYMENT CENTER                    P.O. BOX 105193
P.O. BOX 790356                         P.O. BOX 790356                            ATLANTA, GA 30348-5193
ST LOUIS, MO 63179-0356                 ST. LOUIS, MO 63179-0356




U.S. DEPARTMENT OF EDUCATION            U.S. DEPARTMENT OF EDUCATION               U.S. DEPARTMENT OF EDUCATION
P.O. BOX 2837                           P.O. BOX 4414                              P.O. BOX 69184
PORTLAND, OR 97208-2837                 PORTLAND, OR 97208-4414                    HARRISBURG, PA 17106-9184




U.S. DEPARTMENT OF EDUCATION            U.S. DEPARTMENT OF EDUCATION               U.S. DEPARTMENT OF EDUCATION
P.O. BOX 740283                         P.O. BOX 790321                            P.O. BOX 790321
E900229789-S.HARRIS                     (GREAT LAKES BORROWER SERVICES)            ST LOUIS, MO 63179-0321
ATLANTA, GA 30374-0283                  ST LOUIS, MO 63179-0321




U.S. DEPARTMENT OF EDUCATION            U.S. DEPARTMENT OF HEALTH AND HUMAN        U.S. DEPARTMENT OF JUSTICE
P.O. BOX 790321                         SERVICES OFFICE OF THE INSPECTOR           950 PENNSYLVANIA AVENUE, NW
ST. LOUIS, MO 63179-0321                GENERAL                                    WASHINGTON, DC 20530-0001
                                        ROOM 5527, COHEN BUILDING
                                        330 INDEPENDENCE AVE., S.W.
                                        WASHINGTON, DC 20201

U.S. DEPARTMENT OF JUSTICE              U.S. DEPARTMENT OF LABOR OSHA              U.S. DEPARTMENT OF LABOR
DRUG ENFORCEMENT ADMINISTRATION         950 22ND STREET NORTH, SUITE 1050          S-2521
OFFICE OF DIVERSION CONTROL             BIRMINGHAM, AL 35203                       200 CONSITUTION AVE, NW
8701 MORRISSETTE DRIVE                                                             WASHINGTON, DC 20210
SPRINGFIELD, VA 22152
                        Case 20-10766-BLS
U.S. DEPARTMENT OF THE TREASURY               Doc 6 OF
                                      U.S. DEPARTMENT  Filed
                                                          THE 04/07/20
                                                              TREASURY     Page 1802   of 1969 OF THE TREASURY
                                                                                U.S. DEPARTMENT
ALCOHOL AND TOBACCO TAX AND TRADE     BUREAU OF FISCAL SER                       CBE GROUP INC
BUREAU (“TTB”)                        P.O. BOX 51317                             P.O. BOX 979110
1310 G STREET NW, BOX 12              PHILADELPHIA, PA 19115                     ST LOUIS, MO 63197-9000
WASHINGTON, DC 20005



U.S. DEPARTMENT OF THE TREASURY        U.S. DEPARTMENT OF THE TREASURY           U.S. DEPARTMENT OF THE TREASURY
DEBT MANAGEMENT SERVICES               INTERNAL REVENUE SERVICE                  OFFICE OF THE TREASURER
P.O. BOX 979101                        P.O. BOX 24017                            1500 PENNSYLVANIA AVENUE, NW
ST LOUIS, MO 63197-9000                FRESNO, CA 93779-4017                     ROOM 2134
                                                                                 WASHINGTON, DC 20220



U.S. DEPARTMENT OF THE TREASURY        U.S. DEPARTMENT OF THE TREASURY           U.S. DEPARTMENT OF THE TREASURY
P.O. BOX 219236                        P.O. BOX 24017                            P.O. BOX 830794
KANSAS CITY, MO 64121-9236             FRESNO, CA 93779-4017                     BIRMINGHAM, AL 35283-0794




U.S. DEPARTMENT OF THE TREASURY        U.S. DEPARTMENT OF THE TREASURY           U.S. DEPARTMENT OF THE TREASURY
P.O. BOX 9054                          P.O. BOX 979111                           P.O. BOX 979111
ANDOVER, MA 01810-9054                 FISCAL SERVICE                            US BANK DMS CON
                                       ST LOUIS, MO 63197                        ST LOUIS, MO 63197




U.S. DEPARTMENT OF THE TREASURY        U.S. DEPT HEALTH & HUMAN SERVICES         U.S. DEPT OF HOMELAND SECURITY
P.O. BOX 979113                        200 INDEPENDENCE AVE, SW                  PREMIUM PROCESSING-NEBRASKA SER
US BANK - DMS PNR                      WASHINGTON, DC 20201                      CTR
ST LOUIS, MO 63197-9000                                                          850 S STREET
                                                                                 LINCOLN, NE 68508



U.S. DEPT OF STATE                     U.S. ENDOSCOPY GROUP                      U.S. ENDOSCOPY
DIRECTORATE OF DEFENCE TRADE           5976 HEISLEY RD                           5976 HEISLEY ROAD
CONTROLS                               MENTOR, OH 44060                          MENTOR, OH 44060
COMPLIANCE & REGISTRATION DIV
2401 E STREET NW, SA-1, RM H1200
WASHINGTON, DC 20522-0112

U.S. ENDOSCOPY                         U.S. ENVIRONMENTAL PROTECTION             U.S. HEALTHWORKS MEDICAL GROUP OF
STERIS CORP, LOCK BOX 771652           AGENCY                                    TENNESSEE PC
1652 SOLUTION CENTER                   OFFICE OF GENERAL COUNSEL 2310A           P.O. BOX 741827
CHICAGO, IL 60677-1006                 1200 PENNSYLVANIA AVENUE, NW              ATLANTA, GA 30374
                                       WASHINGTON, DC 20460



U.S. HEALTHWORKS MEDICAL GROUP OF      U.S. HEALTHWORKS                          U.S. HEALTHWORKS
TEXAS INC                              20835 AVE STANFORD                        2626 FULTON DR NW
P.O. BOX 404974                        WEST VALENCIA, CA 91355                   CANTON, OH 44718-3507
ATLANTA, GA 30384




U.S. IMPLANT SOLUTIONS LLC             U.S. LAWNS NORTHEAST                      U.S. LAWNS OF SO IL, INC
DBA ITS USA                            P.O. BOX 1248                             P O BOX 261
1778 PARK AVE NORTH SUITE 200          JONESBORO, AR 72493                       ENERGY, IL 62933-0261
MAITLAND, FL 32751




U.S. LAWNS OF SO IL, INC               U.S. LAWNS OF SOUTHERN ILLINOIS           U.S. LAWNS
P.O. BOX 261                           P.O. BOX 261                              P.O. BOX 1248
ENERGY, IL 62933-0261                  ENERGY, IL 62933-0261                     JONESBORO, AR 72403
U.S. LAWNS              Case 20-10766-BLS    Doc 6 LLCFiled 04/07/20
                                      U.S. MED-EQUIP                   Page 1803   of 1969INC
                                                                            U.S. MED-EQUIP,
P.O. BOX 173                          P.O. BOX 4339                          P.O. BOX 41321
MINERAL BLUFF, GA 30559               HOUSTON, TX 77210-4339                 HOUSTON, TX 77241




U.S. MED-EQUIP, INC                   U.S. MED-EQUIP, INC.                   U.S. NUCLEAR REGULATORY COMM
P.O. BOX 4339                         P.O. BOX 41321                         ACCOUNTS RECEIVABLE TEAM
HOUSTON, TX 77210-4339                HOUSTON, TX 77241                      P.O. BOX 979051
                                                                             ST LOUIS, MO 63197-9000




U.S. NUCLEAR REGULATORY COMMISSION    U.S. POST OFFICE                       U.S. POSTAL SERVICE
ATTN: MICHELLE R. SIMMONS, SENIOR     726 PARK PLAZA                         333 ERIE ST S
HEALTH PHYSICIST; KARLA FUELL,        MT VERNON, IL 62864                    MASSILLON, OH 44646
COUNSEL
NRC REGION IV OFFICE
1600 E. LAMAR BLVD.
ARLINGTON, TX 76011

U.S. POSTAL SERVICE                   U.S. POSTAL SERVICE                    U.S. POSTAL SERVICE
NEOPOST- 8061523                      P.O. BOX FEE PAYMENT                   POSTMASTER
POB 7247-0217                         POSTMASTER                             790 HWY 15 N
PHILADELPHIA, PA 19170-0217           MOUNTIAN VIEW, WY 82939                JACKSON, KY 41339




U.S. POSTMASTER                       U.S. POSTMASTER                        U.S. POSTMASTER
476 E MAIN ST                         501 MAIN ST                            790 HWY 15 NORTH
GALESBURG, IL 61401                   BIG SPRING, TX 79720                   JACKSON, KY 41339




U.S. POSTMASTER                       U.S. REGENTS                           U.S. SECURITY ASSOC, INC
FEDERAL BUILDING                      UCSD RADIOLOGY BUSINESS OFFICE         P.O. BOX 931703
201 W SPRUCE                          410 DICKINSON ST., SUITE 128           ATLANTA, GA 31193
DEMING, NM 88030                      SAN DIEGO, CA 92103




U.S. STANDARD PRODUCTS                U.S. STEEL CORPORATION                 U.S. STEEL CORPORATION
P.O. BOX 668985                       1520 20TH STREET                       1951 STATE ST
POMPANO BEACH, FL 33066               GRANITE CITY, IL 62040                 GRANITE CITY, IL 62040




U.S. TOURS GREST EXPERIENCES          U.S. TOURS                             U.S. TRAINING COUNCIL
7000 GRAND CENTRAL AVE                7000 GRAND CENTRAL AVE                 825 N 300 W, STE C155
VIENNA, WV 26105                      VIENNA, WV 26105                       NORTH GATE BLDG
                                                                             SALT LAKE CITY, UT 84103




UAB RADIOLOGY                         UAMS EAST FOUNDATION                   UAMS
619 19TH STREET SOUTH                 1393 HWY 242 SOUTH                     4301 W MARKHAM ST
ROOM JT-N323                          HELENA, AR 72342                       SLOT 165
BIRMINGHAM, AL 35249                                                         LITTLE ROCK, AR 72205




UAMS                                  UBEROI M.D., RINKU                     UBS AG, STAMFORD BRANCH
4301 W MARKHAM ST                     5669 ASPEN HEIGHTS DR                  600 WASHINGTON BLVD
SLOT 560                              LAS VEGAS, NV 89118                    SAMFORD, CT 06901
LITTLE ROCK, AR 72205
                      Case 20-10766-BLS
UBS AG, STAMFORD BRANCH                    Doc 6SERVICES
                                    UBS FINANCIAL    Filed 04/07/20
                                                            INC         Page 1804  of 1969 BANK
                                                                             UBS INVESTMENT
600 WASHINGTON BLVD                 UBS EQUITY PLAN ADVISORY SVCS OPS        UBS AG, STAMFORD BRANCH
STAMFORD, CT 06901                  315 DEADERICK ST - 6TH FLOOR
                                    NASHVILLE, TN 37238




UBS, AG STAMFORD BRANCH               UC REGENTS                             UCARE
(ABL LENDERS)                         185 BERRY ST                           P.O. BOX 52
ATTN: DL – UBS AGENCY                 LOBBY 2, SUITE 100, BOX 0506           MINNEAPOLIS, MN 55440-0052
600 WASHINGTON BOULEVARD              SAN FRANCISCO, CA 94017
STAMFORD, CT 06901



UCBLN MENTORABILITY                   UCCELLO, GREGORY P.                    UCH PETTY CASH
236 9TH ST                            3642 WALES AVE NW                      517 N MAIN
EVANSTON, WY 82930                    APT B                                  ANNA, IL 62906
                                      MASSILLON, OH 44646




UCLA MEDICAL CENTER-RADIOLOGY         UCSD NO 1                              UDALL, ALISON
10833 LE CONTE AVE                    531 10TH STREET                        37 E 1810 N
ROOM B2-240 CHS                       EVANSTON, WY 82930                     TOOELE, UT 84074
LOS ANGELES, CA 90095-1721




UDANY, CAROL A.                       UDAYA LIYANAGE, MD                     UDY, LATESHA
ADDRESS ON FILE                       P.O. BOX 854                           62 MILLPOND
                                      MARION, IL 62959                       STANSBURY PARK, UT 84074




UEAC, INC DBA UTAH ENGINEERING        UEC TOOELE CINEMA                      UFCW HEALTH & WELFARE FUND
3020 SOUTH WEST TEMPLE                1600 N PINE CANYON RD                  9199 MARKET PL
SALT LAKE CITY, UT 84115              TOOELE, UT 84074                       STE 1
                                                                             BROADVIEW HEIGHTS, OH 44147




UFCW LOCAL 655 WELFARE FUND           UFCW LOCAL 655 WELFARE FUND            UFCW LOCAL 655 WELFARE FUND
13537 BARRETT PARKWAY DR              13537 BARRETT PKWY DRIVE               13537 BARRETT PKWY DRIVE
SUITE 100                             STE 100                                STE 100
MANCHESTER, MO 63021                  MANCHESTER, MO 63021                   ST LOUIS, MO 63021




UFCW LOCAL H&WF                       UGBAJA, STEPHANIE M.                   UGI CENTRAL PENN GAS INC
UFCW LOCAL HEALTH & WELF              1231 MCADOO ST.                        P.O. BOX 189
1649 W ADAMS ST                       FORREST CITY, AR 72335                 C/O TORRES CREDIT SVCS
CHICAGO, IL 60612                                                            CARLISLE, PA 17013-0189




U-HAUL                                UHC AARP MCARE OPTUM                   UHC AARP
P.O. BOX 52128                        P.O. BOX 30539                         P.O. BOX 740819
PHOENIX, AZ 85072                     SALT LAKE CITY, UT 84130               ATLANTA, GA 30374-0819




UHC AARP                              UHC CENTENNIAL PLAN                    UHC CENTENNIAL PLAN
P.O. BOX 74084                        P.O. BOX 31348                         P.O. BOX 31350
ATLANTA, GA 30374-0804                SALT LAKE CITY, UT 84131-1348          SALT LAKE CITY, UT 84131-0350
UHC COMMUNITY PLAN      Case 20-10766-BLS    Doc 6 PLAN
                                      UHC COMMUNITY   Filed 04/07/20   Page 1805  of ADV
                                                                            UHC MCR  1969
P.O. BOX 5220                         PO BOX 101760                         P.O. BOX 30995
KINGSTON, NY 12402-5220               ATLANTA, GA 30374                     SALT LAKE CITY, UT 84130-0995




UHC MEDICAID HPE REFUNDS              UHC MEDICAID                          UHC MEDICARE COMPLETE
P.O. BOX 241684                       P.O. BOX 8207                         P.O. BOX 659742
MONTGOMERY, AL 36124-1684             KINGSTON, NY 12402-8207               SAN ANTONIO, TX 78265




UHC MEDICARE SOLUTIONS                UHC MEDICARE SOLUTIONS                UHC OF OREGON
P.O. BOX 31362                        P.O. BOX 31362                        P O BOX 30974
SALT LAKE CITY, UT 84131              SALT LAKE CITY, UT 84131-0362         SALT LAKE CITY, UT 84130-0974




UHC OF OREGON                         UHC PLAN OF THE RIVER                 UHC RECOVERIES
P.O. BOX 30974                        P.O. BOX 7550                         P.O. BOX 100199
SALT LAKE CITY, UT 84130-0974         PHOENIX, AZ 85011-7550                PITTSBURGH, PA 15233




UHC RIVER VALLEY                      UHC SECURE PLAN                       UHC
P.O. BOX 7550                         P.O. BOX 5220                         P O BOX 30884
PHOENIX, AZ 85011-0000                KINGSTON, NY 12402-5220               SALT LAKE CITY, UT 84130




UHC                                   UHC                                   UHC
P.O. BOX 30884                        P.O. BOX 30985                        P.O. BOX 6249
SALT LAKE CITY, UT 84130              SALT LAKE CITY, UT 84130              LINCOLN, NE 68506




UHC-OVERNIGHT DELIVERY                UHEAA                                 UHEAA
LOCKBOX 101760                        P.O. BOX 145107                       P.O. BOX 561480
3585 ATLANTA AVE                      SALT LAKE CITY, UT 84114-5107         DENVER, CO 80256-1480
HAPEVILLE, GA 30354




UHS OF SUMMIT RIDGE LLC               UHS SURGICAL SERVICES                 UINTA BANK (D)
250 SCENIC HWY                        P.O. BOX 851315                       P.O. BOX 159
LAWRENCEVILLE, GA 30046               MINNEAPOLIS, MN 55485-1313            MOUNTIAN VIEW, WY 82939




UINTA BOCES NO 1 FOUNDATION, INC.     UINTA CO AMBULANCE SERVICE            UINTA CO CIRCUIT COURT - KKH
1013 WEST CHEYENNE DR. NO A           99 E HAYEN AVE                        225 9TH STREET
EVANSTON, WY 82930                    EVANSTON, WY 82930                    EVANSTON, WY 82930-0000




UINTA CO CIRCUIT COURT - KW           UINTA CO CIRCUIT COURT-JR             UINTA CO CIRCUIT COURT-KB
225 9TH STREET                        225 9TH STREET                        225 9TH STREET
EVANSTON, WY 82930-0000               EVANSTON, WY 82930-0000               EVANSTON, WY 82930-0000
                       Case 20-10766-BLS
UINTA CO CIRCUIT COURT-MW                   Doc
                                     UINTA CO  FAIR6BOARD
                                                       Filed 04/07/20   Page 1806   of PEACE
                                                                             UINTA CO  1969 OFFICERS ASSOC
225 9TH STREET                       P.O. BOX 636                             ATTN: LORA PARIMAN/GOLF TOURNAMENT
EVANSTON, WY 82930-0000              EVANSTON, WY 82930                       77 COUNTY ROAD 109
                                                                              EVANSTON, WY 82930




UINTA CO PUBLIC HEALTH                UINTA CO SCHOOL DIST 1                  UINTA CO SCHOOL DIST 4
350 CITY VIEW DR                      P.O. BOX 6002                           BUSINESS OFFICE
SUITE 101                             EVANSTON, WY 82930                      MOUNTIAN VIEW, WY 82939
EVANSTON, WY 82930




UINTA COUNT CIRCUT COURT AAS          UINTA COUNTY CIRCIT COURT MM            UINTA COUNTY CIRCUIT COURT -B
225 9TH STREET                        225 9TH STREET                          225 9TH STREET
EVANSTON, WY 82930                    EVANSTON, WY 82930                      EVANSTON, WY 82930




UINTA COUNTY HERALD                   UINTA COUNTY SCHOOL DISTRIC 6           UINTA COUNTY SUICIDE PREVENTION TASK
P.O. BOX 210                          P.O. BOX 1090                           FORCE
EVANSTON, WY 82931-0210               LYMAN, WY 82937                         350 CITY VIEW DR STE 201
                                                                              EVANSTON, WY 82930




UINTA COUNTY TREASURER                UINTA COUNTY TREASURER                  UINTA NON-PROFITS UNITED
225 9TH ST                            225 9TH STREET                          104 CHEYENNE DRIVE
EVANSTON, WY 82930                    EVANSTON, WY 82930                      EVANSTON, WY 82930




UINTA RECYCLING INC                   UINTA SENIOR CITIZENS                   UIPG/CAMPUSCARE
P.O. BOX 1022                         P.O. BOX 728                            P.O. BOX 8030
EVANSTON, WY 82931                    EVANSTON, WY 82930                      WESTCHESTER, IL 60154




UJAGBOR, LINDA                        ULAM, JESSICA E.                        ULIBARRI, ALEXANDRA
ADDRESS ON FILE                       ADDRESS ON FILE                         318 ALAMO ST
                                                                              LAS VEGAS, NM 87701




ULIBARRI, JANET                       ULIBARRI, MICHAEL                       ULIBARRI, SANTANA
510 VEGAS DRIVE                       HC 72 BOX 142                           P.O. BOX 2021
LAS VEGAS, NM 87701                   RIBERA, NM 87560-0000                   LAS VEGAS, NM 87701




ULINE                                 ULLOA, ALBERTO                          ULLOM, JEFFERY
P.O. BOX 88741                        ADDRESS ON FILE                         1606 VANTAGE DR
ATTN: ACCOUNTS RECEIVABLE                                                     LOUISVILLE, OH 44641
CHICAGO, IL 60680-1741




ULMENSTINE, HEATHER A.                ULMER, LYNNE                            ULREY, DORRINE J.
14234 S HARRISON AVE                  790 H D ATHA RD                         ADDRESS ON FILE
POSEN, IL 60469                       MONROE, GA 30655-5624
ULRICH MEDICAL USA INC Case 20-10766-BLS    Doc 6 USA
                                     ULRICH MEDICAL   Filed
                                                         INC 04/07/20    Page 1807
                                                                              ULRICH,of 1969
                                                                                      BRETT
18221 EDISON AVE                     29579 NETWORK PLACE                      223 STEWART AVE SW
CHESTERFIELD, MO 63005               CHICAGO, IL 60673-1295                   MASSILLON, OH 44646




ULRICH, BROOKE                        ULRICH, KARI L.                         ULTIMATE FITNESS
20615 HWY. 22                         ADDRESS ON FILE                         720 E FLORIDA
MCKENZIE, TN 38201                                                            DEMING, NM 88030




ULTIMATE INTERNET ACCESS INC.         ULTIMATE SECURITY OF AMERICA INC        ULTIMATE SOFTWARE GROUP INC, THE
3633 INLAND EMPIRE BLVD SUITE 890     P.O. BOX 1330                           P.O. BOX 930953
ONTARIO, CA 91764                     FAYETTEVILLE, GA 30214-1330             ATLANTA, GA 31193-0953




ULTRA CLEAN SYSTEMS, INC              ULTRALINQ HEALTHCARE SOLUTIONS INC      ULTRALINQ HEALTHCARE SOLUTIONS INC
P.O. BOX 152                          27 UNION SQUARE, WEST STE 204           38 WEST 21ST ST, 6TH FL
OLDSMAR, FL 34677                     NEW YORK, NY 10003                      NEW YORK, NY 10010




ULTRALINQ HEALTHCARE SOLUTIONS        ULTRALINQ HEALTHCARE                    ULUNNA MACBEAN, MD
27 UNION SQUARE WEST                  SOLUTIONS INC                           155 HARMAN LANE
204                                   27 UNION SQUARE WEST STE 204            PETERSBURG, WV 26847
NEW YORK, NY 10003                    NEW YORK, NY 10003




UMBRELLA ASPHALT LLC                  UMC HEALTH SYSTEM                       UMINSKI, EDWARD
955 N 720 W                           RE:PATIENT REFUNDS                      4444 LINCOLN WAY E
TOOELE, UT 84074                      P.O. BOX 5980                           APT 10
                                      LUBBOCK, TX 79408                       MASSILLON, OH 44646-3354




UMPHREY, KATHERINE G.                 UMPHREY, VIRGIL                         UMPQUA VALLEY FIRE SERVICES, INC
ADDRESS ON FILE                       2159 AL HWY 68                          171 EXCHANGE AVE
                                      COLLINSVILLE, AL 35961                  ROSEBURG, OR 97470




UMR C/O PRS ATTN:MSC410836            UMR HEALTH PLAN                         UMR
RE:PATIENT REFUND                     75 REMITTANCE DR                        ATTN:MSC 410836
P.O. BOX 415000                       STE 6019                                P.O. BOX 415000
NASHVILLE, TN 37241                   CHICAGO, IL 60675-6019                  NASHVILLE, TN 37241-0836




UMR                                   UMR                                     UMR
P.O. BOX 145804                       P.O. BOX 30541                          P.O. BOX 30541
CINCINNATI, OH 45205                  SALT LAKE CITY, UT 84130                SALT LAKE CITY, UT 84130-0541




UMR                                   UMR                                     UMR
P.O. BOX 8033                         PO BOX 30541                            REFUND DEPARTMENT
ADJUSTMENT TEAM                       SALT LAKE CITY, UT 84130-0541           P.O. BOX 30541
WAUSAU, WI 54402                                                              SALT LAKE CITY, UT 84130-0541
UMWA FUNDS               Case 20-10766-BLS   Doc 6
                                       UMWA FUNDS       Filed 04/07/20   Page 1808 of 1969
                                                                              UMWA H&R FUNDS
P.O. BOX 94785                         P.O. BOX 99002                         P.O. BOX 99002
LUBBOCK, TX 79493-4785                 LUBBOCK, TX 79490-9002                 LUBBOCK, TX 79490-9002




UMWA HEALTH & RETIREMENT FUND          UMWA HEALTH & RETIREMENT FUND          UMWA HEALTH & RETIREMENT FUNDS
P.O. BOX 16227                         P.O. BOX 99002                         P.O. BOX 16227
LUBBOCK, TX 79490-6227                 LUBBOCK, TX 79490-9002                 LUBBOCK, TX 79490-6227




UMWA HEALTH AND RETIREMENT FUNDS       UNBOUND MEDICINE, INC                  UNDERFANGER MOVING & STORAGE INC
P.O BOX 16227                          223 W MAIN ST, SUITE C                 MAYFLOWER STORAGE
LUBBOCK, TX 79490-6227                 CHARLOTTESVILLE, VA 22902              3601 W MAYFLOWER BLVD
                                                                              SPRINGFIELD, IL 62711




UNDERHILE, MARY A.                     UNDERHILL, MARY                        UNDERWOOD, COURTNEY
107 E JONES ST                         4559 AARON LANE                        664 PARKS RD
MARION, IL 62959                       ELM CITY, NC 27822                     ELLIJAY, GA 30540




UNDERWOOD, EMMA                        UNDERWOOD, GREGORY                     UNDERWOOD, LINDA J.
331 COUNTY HIGHWAY 34                  P.O. BOX 1302                          ADDRESS ON FILE
BLOUNTSVILLE, AL 35031                 BLUE RIDGE, GA 30513




UNDERWOOD, REGINA                      UNDERWOOD, RETA A.                     UNDERWOOD, RETA A.
2090 COUNTY RD 400                     CONSULTANTS FOR LONG TERM CARE INC     CONSULTANTS FOR LONG TERM CARE INC
FYFFE, AL 35971                        1030 BLUEGRASS PKWY                    P.O. BOX 487
                                       LAGRANGE, KY 40031                     LAGRANGE, KY 40031




UNDERWOOD, SHIRLEY                     UNDERWOOD, SUZAN                       UNDERWRITERS SAFETY & CLAIMS, INC
1509 GODFREY AVE NE                    361 COHUTTA                            1700 EASTPOINT PARKWAY
FORT PAYNE, AL 35967                   BLUE RIDGE, GA 30513                   LOUISVILLE, KY 40220-4140




UNETIXS VASCULAR INC                   UNETIXS VASCULAR, INC                  UNFRIED, ANDREW
125 COMMERCE PARK RD                   125 COMMERCE PARK RD                   917 COPPER RIDGE DR
NORTH KINGSTOWN, RI 02852-3008         NORTH KINGSTOWN, RI 02852              MARYVILLE, IL 62062




UNGER, ANNABEL P.                      UNGER, BYRON                           UNGER, CHLOIE
25629 S LINDEN AVE                     18600 GOLFVIEW AVE                     116 W WILLARD ST.
MONEE, IL 60449                        HOMEWOOD, IL 60430                     WATAGA, IL 61488




UNGER, MADELYN G.                      UNICARE HEALTH PLANS OF WV             UNICARE
2202 OAKLEAF DRIVE                     P.O. BOX 91                            LAMONT HANLEY ASSC
FRANKLIN, TN 37064                     CHARLESTON, WV 25321-0091              P.O. BOX 179
                                                                              MANCHESTER, NH 03105
                       Case
UNIFIED BIOLOGICS COMPANY LLC 20-10766-BLS
                                       UNIFIEDDoc    6 Filed 04/07/20
                                               LIFE INSURANCE            Page 1809
                                                                              UNIFIEDof 1969
                                                                                      LIFE XCHANGE BENEFITS
6295 MAXTOWN RD                        RE: PATIENT REFUND                      P.O. BOX 25326
SUITE 700                              13931 QUAIL POINTE DRIVE                OVERLAND PARK, KS 66225-5326
WESTERVILLE, OH 43082                  OKLAHOMA CITY, OK 73134




UNIFIRST CORP                         UNIFIRST CORPORATION                     UNIFIRST CORPORATION
1024 S 200 W                          700 SOUTH ETIWANDA AVE                   P.O. BOX 730
SLC, UT 84101                         ONTARIO, CA 91761                        ROSSVILLE, GA 30741




UNIFIRST HOLDINGS, L.P.               UNIFORMS 2 U 2 LLC                       UNION BANNER
6920 COMMERCE AVE                     5014 PULASKI PIKE                        17549 COUNTY FARM ROAD
EL PASO, TX 79915                     HUNTSVILLE, AL 35810                     CARLYLE, IL 62231




UNION CNTY CHAMBER OF COMMERCE        UNION CO COLORFEST BIATHLON              UNION COUNTY AMBULANCE
301 SOUTH MAIN STREET                 6447 BURBERRY DR                         P.O. BOX 37
SUITE 1                               PADUCAH, KY 42001                        JONESBORO, IL 62952
ANNA, IL 62906




UNION COUNTY COUNSELING SERV          UNION COUNTY COUNTRY CLUB, INC           UNION COUNTY ECONOMIC DEVELOPMENT
P.O. BOX 548                          430 E JEFFERSON STREET                   201 S. MAIN ST
ANNA, IL 62906                        ANNA, IL 62906                           ANNA, IL 62096




UNION COUNTY HOSPITAL AUX             UNION COUNTY HOSPITAL                    UNION COUNTY HOSPITAL
517 NORTH MAIN STREET                 517 N MAIN ST                            ENTITY 0125
ANNA, IL 62906                        ANNA, IL 62906                           517 NORTH MAIN STREET
                                                                               ANNA, IL 62906




UNION COUNTY TREASURER                UNION COUNTY TREASURER                   UNION COUNTY WOMEN IN BUSINESS
                                      309 WEST MARKET STREET, ROOM 123         P.O. BOX 17
                                      JONESBORO, IL 62952                      JONESBORO, IL 62952




UNION FOOD & COMMERCIAL WORKERS H &   UNION PACIFIC RAILROAD                   UNION TELEPHONE CO
W                                     P.O. BOX 161020                          P.O. BOX 160
9199 MARKET PL, STE 1                 SALT LAKE CITY, UT 84116-1020            MOUNTAIN VIEW, WY 82939
BROADVIEW HTS, OH 44147




UNION TELEPHONE COMPANY               UNIPOWER CORP                            UNITA COUNTY TREASURER
P.O. BOX 160                          1157 VALLEY PARK DR                      225 9TH ST
MOUNTAIN VIEW, WY 82939-0160          SUITE 150                                EVANSTON, WY 82930-3415
                                      SHAKOPEE, MN 55379




UNITA COUNTY TREASURER                UNITA COUNTY TREASURER                   UNITA COUNTY TREASURER
225 9TH STREET                        P.O. BOX 1530                            P.O. BOX 1530
EVANSTON, WY 82930-3415               EVANSTON, WY 82930-1530                  EVANSTON, WY 82931-1530
                       Case
UNITAS MEDICAL SERVICES, INC 20-10766-BLS     Doc 6 SERVICES,
                                      UNITAS MEDICAL    Filed 04/07/20
                                                               INC       Page 1810
                                                                              UNITEDof
                                                                                    AD1969
                                                                                       LABEL
10515 LIBERTY AVE                     10515 LIBERTY AVE                       7810 SOLUTION CENTER
ST LOUIS, MO 63132                    ST. LOUIS, MO 63132                     CHICAGO, IL 60677




UNITED AD LABEL                        UNITED AD LABEL                        UNITED AD LABEL/UAL
7810 SOLUTION CENTER                   P.O. BOX 538602                        RR DONNELLEY8
CHICAGO, IL 60677-7008                 ATLANTA, GA 30353                      P.O. BOX 932721
                                                                              CLEVELAND, OH 44193




UNITED AD LABEL/UAL                    UNITED AMERICAN CAB                    UNITED AMERICAN INS CO
RR DONNELLEYS                          56 FULTON STREET                       POB 8080
P.O. BOX 932721                        GALESBURG, IL 61401                    MCKINNEY
CLEVELAND, OH 44193                                                           MCKINNEY, TX 75070-8080




UNITED AMERICAN INS.CO                 UNITED AMERICAN INSURANCE CO           UNITED AMERICAN INSURANCE CO
P.O.BOX 8080                           5 S PUBLIC SQUARE                      P O BOX 8080
MCKINNEY, TX 75070-8080                CARTERSVILLE, GA 30120                 MCKINNEY, TX 75070-8080




UNITED AMERICAN INSURANCE CO           UNITED AMERICAN INSURANCE CO           UNITED AMERICAN INSURANCE
P.O. BOX 8080                          P.O. BOX 8080                          P.O. BOX 8080
ATTN CLAIMS                            MCKINNEY, TX 75070                     MCKINNEY, TX 75070-8080
MCKINNEY, TX 75070-8080




UNITED BLOOD SERVICES                  UNITED COMMERCIAL TRAVELERS OF         UNITED COMMUNITY BANK
P.O. BOX 53022                         AMERICA
PHOENIX, AZ 85072-3022                 1801 WATERMARK DR
                                       STE 100
                                       COLUMBUS, OH 43215-8619



UNITED COMMUNITY BANK                  UNITED ELITE HOSPITALISTS LLC          UNITED ENERGY TRADING LLC
ATTN: JENNIFER DALRYMPLE               12632 S HARLEM AVE                     225 UNION BLVD
4000 APPALACHIAN HWY                   PALOS HEIGHTS, IL 60463                STE 200
BLUE RIDGE, GA 30513                                                          LAKEWOOD, CO 80228




UNITED FINANCE COMPANY                 UNITED GIVERS FUND OF DEKALB COUNTY    UNITED GROUP PROGRAMS, INC.
P.O. BOX 70246                         P.O. BOX 680292                        2500 NORTH MILITARY TRAIL
SPRINGFIELD, OR 97475                  FORT PAYNE, AL 35968                   SUITE 450
                                                                              BOCA RATON, FL 33431




UNITED HEALTH CARE                     UNITED HEALTH CARE                     UNITED HEALTH CARE
ATTN: RECOVERY SERVICES                P.O. BOX 30551                         P.O. BOX 30555
P.O. BOX 101760                        SALT LAKE CITY, UT 84130-0551          SALT LAKE CITY, UT 84130
ATLANTA, GA 30392-1760




UNITED HEALTH GROUP RCVRY              UNITED HEALTH GROUP RECOVERY           UNITED HEALTH GROUP RECOVERY
POB 740804                             SERVICES                               SERVICES
ATLANTA, GA 30374                      LOCKBOX 11760                          P.O. BOX 101760
                                       3585 ATLANTA AVE                       ATLANTA, GA 30374
                                       HAPEVILLE, GA 30354
                       Case 20-10766-BLS
UNITED HEALTH GROUP RECOVERY                Doc 6 GROUP
                                     UNITED HEALTH   FiledRECOVERY
                                                            04/07/20     Page 1811
                                                                              UNITEDof 1969ONE
                                                                                    HEALTH
SERVICES                             SERVICES                                 REFUND DEPARTMENT
P.O. BOX 101760                      P.O. BOX 740804                          P.O. BOX 31374
ATLANTA, GA 30392-1760               ATLANTA, GA 30374-0804                   SALT LAKE CITY, UT 84131-0374




UNITED HEALTHCARE AARP                UNITED HEALTHCARE ADVANTAGE             UNITED HEALTHCARE CLAIMS DIVISION
PRS                                   P.O. BOX 31362                          P.O. BOX 740819
P.O. BOX 415000                       SALT LAKE CITY, UT 84131-0362           ATLANTA, GA 30374-0819
NASHVILLE, TN 37241




UNITED HEALTHCARE COMM PL             UNITED HEALTHCARE COMM PL               UNITED HEALTHCARE COMMUNITY PLAN
P O BOX 31348                         P O BOX 31350                           ATTN: RECOVERY SERVICES
SALT LAKE CITY, UT 84131-1348         SALT LAKE CITY, UT 84131                P O BOX 101760
                                                                              ATLANTA, GA 30392-1760




UNITED HEALTHCARE COMMUNITY PLAN      UNITED HEALTHCARE COMMUNITY PLAN        UNITED HEALTHCARE COMMUNITY PLAN
ATTN:JOHNSON & ROUNTREE PREMIUM       C/O JOHNSON & ROUNDTREE PREMIUM         P O BOX 301599
P.O. BOX 301599                       P O BOX 301599                          DALLAS, TX 75303-1599
DALLAS, TX 75303-1599                 DALLAS, TX 75303-1599




UNITED HEALTHCARE COMMUNITY PLAN      UNITED HEALTHCARE COMMUNITY PLAN        UNITED HEALTHCARE COMMUNITY PLAN
P.O. BOX 301599                       P.O. BOX 31348                          P.O. BOX 31350
DALLAS, TX 75303-1599                 SALT LAKE CITY, UT 84131-1348           ATTN: REFUNDS
                                                                              SALT LAKE CITY, UT 84131-0350




UNITED HEALTHCARE COMMUNITY PLAN      UNITED HEALTHCARE COMMUNITY PLAN        UNITED HEALTHCARE INS CO
P.O. BOX 740804                       P.O. BOX 8207                           9900 BREN RD
ATLANTA, GA 30374-0804                KINGSTON, NY 12402-8207                 MINNETONKA, MN 55343-9664




UNITED HEALTHCARE INS CO              UNITED HEALTHCARE INS                   UNITED HEALTHCARE INSURANCE CO
9900 BREN ROAD                        P.O. BOX 740800                         P.O. BOX 740800
MINNETONKA, MN 55343                  ATLANTA, GA 30374-0000                  ATTN. REFUNDS
                                                                              ATLANTA, GA 30374-0800




UNITED HEALTHCARE INSURANCE           UNITED HEALTHCARE INSURANCE             UNITED HEALTHCARE INSURANCE
COMPANY                               COMPANY                                 COMPANY
9900 BREN ROAD EAST                   9900 BREN ROAD EAST                     ATTN CLAIMS CHECK CONTROL
CLAIMS RECOVERY DEPT                  MINNETONKA, MN 55343-9664               P.O. BOX 740819
MINNETONKA, MN 55343-9664                                                     ATLANTA, GA 30374-0819



UNITED HEALTHCARE INSURANCE           UNITED HEALTHCARE INSURANCE             UNITED HEALTHCARE INSURANCE
COMPANY                               COMPANY                                 COMPANY
ATTN: RECOVERY SERVICES               ATTN: RECOVERY SERVICES                 LOCKBOX 101760
P.O. BOX 101760                       P.O. BOX 740804                         3585 ATLANTA AVE
ATLANTA, GA 30392-1760                ATLANTA, GA 30374-0804                  HAPEVILLE, GA 30354



UNITED HEALTHCARE INSURANCE           UNITED HEALTHCARE INSURANCE             UNITED HEALTHCARE INSURANCE
COMPANY                               COMPANY                                 COMPANY
P.O. BOX 101760                       P.O. BOX 31350                          P.O. BOX 740800
ATLANTA, GA 30392-1760                SALT LAKE CITY, UT 84131-0350           BUFFALO SERVICE CENTER
                                                                              ATLANTA, GA 30374-0800
                       Case 20-10766-BLS
UNITED HEALTHCARE INSURANCE                 Doc 6 Filed
                                     UNITED HEALTHCARE      04/07/20
                                                        INSURANCE        Page 1812
                                                                              UNITEDof 1969
                                                                                    HEALTHCARE INSURANCE
COMPANY                              COMPANY                                  COMPANY
P.O. BOX 740800                      P.O. BOX 740800                          P.O. BOX 740801
REFUND DEPARTMENT                    REFUND DEPARTMENT                        ATLANTA, GA 30374
ATLANTA, GA 30374-0000               ATLANTA, GA 30374-0800



UNITED HEALTHCARE INSURANCE           UNITED HEALTHCARE INSURANCE             UNITED HEALTHCARE MCR
COMPANY                               COMPANY                                 P.O. BOX 740804
P.O. BOX 740802                       VASCULAR ULTRASOUND CLAIMS              ATLANTA, GA 30374-0804
ATLANTA, GA 30374                     P.O. BOX 740804
                                      ATLANTA, GA 30374-0804



UNITED HEALTHCARE MEDICAID            UNITED HEALTHCARE MEDICARE SOL          UNITED HEALTHCARE MEDICARE
P.O. BOX 31361                        P.O. BOX 30974                          SOLUTIONS
SALT LAKE CITY, UT 84131              SALT LAKE CITY, UT 84130-0974           ATTN: RECOVERY SERVICES
                                                                              P.O. BOX 101760
                                                                              ATLANTA, GA 30392-1760



UNITED HEALTHCARE MEDICARE            UNITED HEALTHCARE MEDICARE              UNITED HEALTHCARE MEDICARE
SOLUTIONS                             SOLUTIONS                               SOLUTIONS
P.O. BOX 101760                       P.O. BOX 1459                           P.O. BOX 2625
ATLANTA, GA 30392-1760                MN008-W235                              JOHNSON & ROUNDTREE PREMIUM
                                      MINNEAPOLIS, MN 55440-1549              DEL MAR, CA 92014



UNITED HEALTHCARE MEDICARE            UNITED HEALTHCARE MEDICARE              UNITED HEALTHCARE MEDICARE
SOLUTIONS                             SOLUTIONS                               SOLUTIONS
P.O. BOX 30436                        P.O. BOX 30974                          RECOVERY SERVICES
SALT LAKE CITY, UT 84130-0436         SALT LAKE CITY, UT 84130-0974           P.O. BOX 101760
                                                                              ATLANTA, GA 30392-1760



UNITED HEALTHCARE OF NM INC           UNITED HEALTHCARE OF WI BADGERCARE      UNITED HEALTHCARE PLAN OF THE RIVER
P.O. BOX 7550                         P.O. BOX 5280                           VALLEY INC
PHOENIX, AZ 85011-7550                KINGSTON, NY 12402-5280                 P.O. BOX 7550
                                                                              PHOENIX, AZ 85011




UNITED HEALTHCARE PLAN OF THE RIVER   UNITED HEALTHCARE REFUND                UNITED HEALTHCARE SERVICE
VALLEY INC                            DEPARTMENT                              HEALTH CARE ACCOUNT
P.O. BOX 7550                         P.O. BOX 101760                         P.O. BOX 30555
PHOENIX, AZ 85011-7550                ATLANTA, GA 30392-1760                  SALT LAKE CITY, UT 84130




UNITED HEALTHCARE SERVICES INC        UNITED HEALTHCARE SERVICES              UNITED HEALTHCARE SERVICES
HEALTHCARE ACCOUNT SVC CTR            P.O. BOX 740803                         P.O. BOX 9047
LOCKBOX 1017603585 ATLANTA AVE        ATLANTA, GA 30374                       PLEASANTON, CA 94566-9047
HAPEVILLE, GA 30354




UNITED HEALTHCARE SERVICES, INC.      UNITED HEALTHCARE SERVICES, INC.        UNITED HEALTHCARE SERVICES, INC.
9900 BREN ROAD EAST                   DULUTH SERVICE CENTER                   P.O. BOX 740803
MINNETONKA, MN 55343-9664             P.O. BOX 30884                          ATLANTA, GA 30374
                                      SALT LAKE CITY, UT 84130




UNITED HEALTHCARE SERVICES, INC.      UNITED HEALTHCARE SERVICES, INC.        UNITED HEALTHCARE SERVICES, INC.
P.O. BOX 9047                         P.O. BOX 9047                           P.O. BOX 981506
MEDICARE AND RETIREMENT               UNITED HEALTHCARE CLM DIV               EL PASO, TX 79998
PLEASANTON, CA 94566-9047             PLEASANTON, CA 94566-9047
                      CaseINC.
UNITED HEALTHCARE SERVICES, 20-10766-BLS    Doc 6 Filed
                                     UNITED HEALTHCARE       04/07/20
                                                         SHARED   SERVICES Page 1813
                                                                                UNITEDof 1969
                                                                                       HEALTHCARE
P.O. BOX 981506                      P.O. BOX 30783                             1001 BENTON RD
HEALTH CARE ACCT SVC CTR             SALT LAKE CITY, UT 84130-0783              PITTSBURGH, PA 15221
EL PASO, TX 79998




UNITED HEALTHCARE                       UNITED HEALTHCARE                       UNITED HEALTHCARE
75 REMITTANCE DR, ST 6019               75 REMITTANCE DR, ST 609                9900 BREN RD
CHICAGO, IL 60675                       CHICAGO, IL 60675                       MINNETONKA, MN 55343




UNITED HEALTHCARE                       UNITED HEALTHCARE                       UNITED HEALTHCARE
9900 BREN ROAD                          9900 BREN ROAD                          ATT: REFUNDS
MINNESOTA, MN 55343                     MINNETONKA, MN 55343-9664               P.O. BOX 5220
                                                                                KINGSTON, NY 12402-5220




UNITED HEALTHCARE                       UNITED HEALTHCARE                       UNITED HEALTHCARE
ATTN: OVERPAYMENTS                      ATTN: RECOVERY SERVICES                 ATTN: REFUNDS
P.O. BOX 31353                          P.O. BOX 740804                         P.O. BOX 31362
SALT LAKE, UT 84131-0353                ATLANTA, GA 30374-0804                  SALT LAKE CITY, UT 84131-0362




UNITED HEALTHCARE                       UNITED HEALTHCARE                       UNITED HEALTHCARE
ATTN:UNITED HEALTHCARE SHARED SVC       GROUP RECOVERY CENTER                   OVERNIGHT DEL LOCKBOX 101760
P.O. BOX 30783                          LOCKBOX 1017603585 ATLANTA AVE.         3585 ATLANTA AVE
SALT LAKE CITY, UT 84130-0783           HAPEVILLE, GA 30354                     HAPEVILLE, GA 30354-0000




UNITED HEALTHCARE                       UNITED HEALTHCARE                       UNITED HEALTHCARE
OVERPAYMENT DEPT.                       P O BOX 30436                           P O BOX 30555
9900 BREN ROAD                          SALT LAKE CITY, UT 84130-0436           SALT LAKE CITY, UT 84130-0555
MINNETONKA, MN 55343




UNITED HEALTHCARE                       UNITED HEALTHCARE                       UNITED HEALTHCARE
P O BOX 31353                           P O BOX 31361                           P O BOX 31362
SALT LAKE CITY, UT 84131-0353           SALT LAKE CITY, UT 84131-0361           SALT LAKE CITY, UT 84130




UNITED HEALTHCARE                       UNITED HEALTHCARE                       UNITED HEALTHCARE
P O BOX 31362                           P O BOX 740800                          P O BOX 7550
SALT LAKE CITY, UT 84131                ATLANTA, GA 30374                       PHOENIX, AZ 85011-0000




UNITED HEALTHCARE                       UNITED HEALTHCARE                       UNITED HEALTHCARE
P.O. BOX 101760                         P.O. BOX 101760                         P.O. BOX 188012
ATLANTA, GA 30392                       ATLANTA, GA 30392-1760                  OVERPAYMENT UNIT
                                                                                CHATTANOOGA, TN 37422




UNITED HEALTHCARE                       UNITED HEALTHCARE                       UNITED HEALTHCARE
P.O. BOX 19032                          P.O. BOX 209011                         P.O. BOX 209011
GREENBAY, WI 54307-9032                 DALLAS, TX 72320                        DALLAS, TX 75320-9011
UNITED HEALTHCARE        Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       UNITED HEALTHCARE                Page 1814
                                                                             UNITEDof 1969
                                                                                   HEALTHCARE
P.O. BOX 301599                         P.O. BOX 301599                      P.O. BOX 30304
DALLAS, TX 75303-1599                   JOHNSON & ROUNDTREE                  MATTESON SERVICE CENTER
                                        DALLAS, TX 75303-1599                SALT LAKE CITY, UT 84130-0304




UNITED HEALTHCARE                       UNITED HEALTHCARE                    UNITED HEALTHCARE
P.O. BOX 30436                          P.O. BOX 30555                       P.O. BOX 30783
SALT LAKE CITY, UT 84130-0436           SALT LAKE CITY, UT 84130-0555        SALT LAKE CITY, UT 84130-0783




UNITED HEALTHCARE                       UNITED HEALTHCARE                    UNITED HEALTHCARE
P.O. BOX 30995                          P.O. BOX 31348                       P.O. BOX 31353
SALT LAKE CITY, UT 84130-0995           SALT LAKE CITY, UT 84131             SALT LAKE CITY, UT 84131-0353




UNITED HEALTHCARE                       UNITED HEALTHCARE                    UNITED HEALTHCARE
P.O. BOX 31361                          P.O. BOX 31362                       P.O. BOX 31362
SALT LAKE CITY, UT 84131-0361           SALT LAKE CITY, UT 84130             SALT LAKE CITY, UT 84131




UNITED HEALTHCARE                       UNITED HEALTHCARE                    UNITED HEALTHCARE
P.O. BOX 659732                         P.O. BOX 732159                      P.O. BOX 732159
SAN ANTONIO, TX 78265                   C/O EQUICLAIM LLC                    DALLAS, TX 75373-2159
                                        DALLAS, TX 75373-2159




UNITED HEALTHCARE                       UNITED HEALTHCARE                    UNITED HEALTHCARE
P.O. BOX 740800                         P.O. BOX 740800                      P.O. BOX 740800
ATLANTA, GA 30374                       ATLANTA, GA 30374-0800               REFUND DEPARTMENT
                                                                             ATLANTA, GA 30374-0800




UNITED HEALTHCARE                       UNITED HEALTHCARE                    UNITED HEALTHCARE
P.O. BOX 740804                         P.O. BOX 7550                        P.O. BOX 9047
RECOVERY SERVICE                        PHOENIX, AZ 85011-7550               PLEASANTON, CA 94566
ATLANTA, GA 30374-0804




UNITED HEALTHCARE                       UNITED HEALTHCARE                    UNITED HEALTHCARE
P.O. BOX 981506                         P.O.BOX 30555                        P.O.BOX 740800
EL PASO, TX 79998                       SALT LAKE CITY, UT 84130-0555        ATLANTA, GA 30374-0800




UNITED HEALTHCARE                       UNITED HEALTHCARE                    UNITED HEALTHCARE
PO BOX 30304                            PO BOX 740802                        PO BOX 740804
MATTESON SERVICE CENTER                 ATLANTA, GA 30374                    ATLANTA, GA 30374
SALT LAKE CITY, UT 84130-0304




UNITED HEALTHCARE                       UNITED HEALTHCARE                    UNITED HEALTHCARE
POBOX 101760                            RECOVERY SERVICES                    RECOVERY SERVICES
ATLANTA, GA 30392                       P.O. BOX 101760                      P.O. BOX 740804
                                        ATLANTA, GA 30392-1760               ATLANTA, GA 30374-0804
UNITED HEALTHCARE        Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       UNITED HEALTHCARE/HEALTH DATA        Page 1815
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REFUND DEPARTMENT                       INSIGHTS                                 RECOVERY SERVICES
P.O. BOX 101760                         P.O. BOX 60270                           P.O. BOX 101760
ATLANTA, GA 30392-1760                  LOS ANGELES, CA 90060                    ATLANTA, GA 30392-1760




UNITED HEALTHCARE-RAILROAD              UNITED HLTHCR AZ                         UNITED HLTHCRE MILTY & VETRN
P.O. BOX 30985                          COMMUNITY CARE                           9700 HEALTH CARE LN
CLAIMS                                  P.O. BOX 5290                            ATTN: FINANCE/REFUND
SALT LAKE CITY, UT 84130                KINGSTON, NY 12402-5290                  MINNETONKA, MN 55343




UNITED HOSPITAL SYSTEM, INC             UNITED LABORATORIES                      UNITED MAILING SERVICES
6308 EIGHTH AVE                         P.O. BOX 410                             3625 N. 126TH ST
KENOSHA, WI 53143-5082                  ST CHARLES, IL 60174                     BROOKFIELD, WI 53005




UNITED MEDICAL RSRCS                    UNITED NATIONAL LIFE INS                 UNITED NATIONAL LIFE INS
ACCENT                                  P.O. BOX 1154                            PO BOX 1154
P.O. BOX 543099                         GLENVIEW, IL 60025-1154                  GLENVIEW, IL 60025-1154
OMAHA, NE 68154




UNITED OF OMAHA LIFE INS CO             UNITED OF OMAHA LIFE INS CO              UNITED OF OMAHA LIFE INS
ATTN: REFUND DEPARTMENT                 MUTUAL OF OMAHA PLZ                      MUTUAL OF OMAHA PLAZA
3300 MUTUAL OF OMAHA PLZ                OMAHA, NE 68175                          OMAHA, NE 68175-0001
OMAHA, NE 68175-1004




UNITED OF OMAHA LIFE INSURANCE          UNITED OF OMAHA LIFE INSURANCE           UNITED OF OMAHA LIFE INSURANCE
COMPANY                                 COMPANY                                  COMPANY
3300 MUTUAL OF OMAHA                    8 MEDICARE SUPPLEMENT CLAIMS DEPT        8 MEDICARE SUPPLEMENT CLAIMS DEPT
OMAHA, NE 68175                         MUTAL OF OMAHA PLAZA                     MUTUAL OF OMAHA PLAZA
                                        OMAHA, NE 68175                          OMAHA, NE 68175



UNITED OF OMAHA LIFE INSURANCE          UNITED OF OMAHA LIFE INSURANCE           UNITED ORTHO
COMPANY                                 COMPANY                                  P.O. BOX 287
ATTN: REFUND DEPARTMENT                 MUTUAL OF OMAHA PLAZA                    NEW HAVEN, IN 46774
3300 MUTUAL OF OMAHA PLZ                OMAHA, NE 68175
OMAHA, NE 68175



UNITED PARCEL SERVICE                   UNITED PARCEL SERVICE                    UNITED PARCEL SERVICE
LOCKBOX 577                             P.O. BOX 7247-0244                       P.O. BOX 7247-0244
CAROL STREAM, IL 60132-0577             PHILADELPHIA, PA 19170                   PHILADELPHIA, PA 19170-0001




UNITED PARCEL SERVICE                   UNITED PETROLEUM                         UNITED POWER & BATTERY CORP
POB 7247-0244                           SERVICE INCORPORATED                     6833 JOYCE STREET
PHILADELPHIA, PA 19170-0001             4444 UNION BLVD                          ARVADA, CO 80007
                                        ST LOUIS,, MO 63115




UNITED POWER AND BATTERY                UNITED RADIO                             UNITED REFRIGERATION INC
6833 JOYCE STREET                       9200 S OKETO AVE                         P.O. BOX 644628
ARVADA, CO 80007                        BRIDGEVIEW, IL 60455                     PITTSBURGH, PA 15264-4628
                       Case 20-10766-BLS
UNITED REFRIGERATION INC                    Doc 6 FiledINC
                                     UNITED REFRIGERATION   04/07/20      Page 1816
                                                                               UNITEDof 1969
                                                                                     REFRIGERATION
P.O. BOX 677036                      P.O. BOX 740703                           PO BOX 677036
DALLAS, TX 75257-7036                ATLANTA, GA 30374-0703                    DALLAS, TX 75267




UNITED SENIORS INC                    UNITED SERVICES AUTOMOBILE               UNITED SHOCK WAVE SERVICES - NON PRS
MOAPA VALLEY SENIOR CTR               ASSOC                                    P.O. BOX 2178
P.O. BOX 2039                         P.O. BOX 60545                           DES PLAINES, IL 60017-2178
OVERTON, NV 89040-2039                SAINT LOUIS, MO 63160




UNITED SHOCKWAVE SERVICES LTD         UNITED SHOCKWAVE SERVICES LTD            UNITED SHOCKWAVE SERVICES LTD
P.O. BOX 2178                         P.O. BOX 2178                            P.O.BOX 2178
DES PLAINES, IL 60017                 DES PLAINES, IL 60017-2178               DES PLAINES, IL 60017




UNITED SPECIALTY INSURANCE COMPANY    UNITED STARS SPORTS PROGRAM              UNITED STATES DEPARTMENT OF JUSTICE
1900 L DON DODSON DR                  POBOX 634                                950 PENNSYLVANIA AVENUE, NW
BEDFORD, TX 76021                     MT VERNON, IL 62864                      WASHINGTON, DC 20530-0001




UNITED STATES DRUG TESTING LABS       UNITED STATES ENDOSCOPY GROUP INC        UNITED STATES OF AMERICA
1700 S MOUNT PROSPECT RD              5976 HELSLEY ROAD
DES PLAINES, IL 60018                 MENTOR, OH 44060




UNITED STATES OF AMERICA, ET AL.      UNITED STATES OF AMERICA, ET AL.         UNITED STATES PHARMACOPEIAL
US ATTORNEYS OFFICE - AUG             US ATTORNEYS OFFICE - AUGUSTA            CONVENTION INC, THE
ATTN: SHANNON HEATH STATKUS           ATTN: JASON W. BLANCHARD                 12601 TWINBROOK PKWY
P.O. BOX 2017                         P.O. BOX 2017                            ROCKVILLE, MD 20852-1790
AUGUSTA, GA 30901                     AUGUSTA, GA 30903



UNITED STATES POSTAL SERVICE          UNITED STATES POSTAL SERVICE             UNITED STATES POSTAL SERVICE
121 E MAIN ST                         425 S. 2ND AVE                           CMRS-PB
WILLIAMSTON, NC 27892                 BARSTOW, CA 92311                        P O BOX 0566
                                                                               CAROL STREAM, IL 60132-0566




UNITED STATES POSTAL SERVICE          UNITED STATES POSTAL SERVICE             UNITED STATES POSTMASTER
POSTMASTER                            USPS-HASLER                              760 A STREET
BLUE ISLAND, IL 60406                 P.O. BOX 894757                          SPRINGFIELD, OR 97477-9998
                                      LOS ANGELES, CA 90189-4757




UNITED STATES POSTMASTER              UNITED STATES POSTMASTER                 UNITED STATES STEEL CORP
UNITED STATES POST OFFICE             UNITED STATES POST OFFICE                P.O. BOX 267
108 MADISON ST.                       LOUISA, KY 41230                         PITTSBURG, PA 15230
LOUISA, KY 41230




UNITED STATES STEEL CORP              UNITED STATES TREASURER                  UNITED STATES TREASURY
P.O. BOX 267                          INTERNAL REVENUE SERVICE                 INTERNAL REVENUE SERV CTR
PITTSBURGH, PA 15230                  P.O. BOX 47421, STOP 74                  CINCINNATI, OH 45999-0009
                                      DORAVILLE, GA 30362
UNITED STATES TREASURYCase 20-10766-BLS    Doc 6 TREASURY
                                    UNITED STATES   Filed 04/07/20       Page 1817
                                                                              UNITEDof 1969TREASURY
                                                                                    STATES
INTERNAL REVENUE SERVICE            LEVY PROCEEDS                             PO BOX 219236
P.O. BOX 145566                     P.O. BOX 219236                           KANSAS CITY, MO 64121-9236
CINCINNATI, OH 45250-5556           KANSAS CITY, MO 64121-9236




UNITED STATES WELDING INC.           UNITED STEEL, PAPER AND FORESTRY,        UNITED STEEL, PAPER AND FORESTRY,
                                     RUBBER, MANUFACTURING, ENERGY,           RUBBER, MANUFACTURING, ENERGY,
                                     ALLIED INDUSTRIAL AND SERVICE            ALLIED INDUSTRIAL AND SERVICE
                                     WORKERS INTERNATIONAL UNION              WORKERS INTERNATIONAL UNION
                                     60 BOULEVARD OF THE ALLIES               DISTRICT 12 OFFICE
                                     PITTSBURGH, PA 15222                     695 JERRY ST, STE 208
                                                                              CASTLE ROCK, CO 80104

UNITED STEEL, PAPER AND FORESTRY,    UNITED STEEL, PAPER AND FORESTRY,        UNITED STEEL, PAPER AND FORESTRY,
RUBBER, MANUFACTURING, ENERGY,       RUBBER, MANUFACTURING, ENERGY,           RUBBER, MANUFACTURING, ENERGY,
ALLIED INDUSTRIAL AND SERVICE        ALLIED INDUSTRIAL AND SERVICE            ALLIED INDUSTRIAL AND SERVICE
WORKERS INTERNATIONAL UNION          WORKERS INTERNATIONAL UNION              WORKERS INTERNATIONAL UNION
DISTRICT 7 OFICE                     DISTRICT 8 OFFICE                        SUB-DISTRICT 1 OFFICE
1301 TEXAS ST                        85 C. MICHAEL DAVENPORT BLVD             7218 WEST 91ST ST
GARY, IN 46402                       STE B                                    BRIDGEVIEW, IL 60455
                                     FRANKFORT, KY 40601

UNITED STEEL, PAPER AND FORESTRY,    UNITED STEEL, PAPER AND FORESTRY,        UNITED STEEL, PAPER AND FORESTRY,
RUBBER, MANUFACTURING, ENERGY,       RUBBER, MANUFACTURING, ENERGY,           RUBBER, MANUFACTURING, ENERGY,
ALLIED INDUSTRIAL AND SERVICE        ALLIED INDUSTRIAL AND SERVICE            ALLIED INDUSTRIAL AND SERVICE
WORKERS INTERNATIONAL UNION          WORKERS INTERNATIONAL UNION              WORKERS INTERNATIONAL UNION
SUB-DISTRICT 1 OFFICE                SUB-DISTRICT 2 OFFICE                    SUB-DISTRICT 2 OFFICE
861 SOUTH VILLAGE OAKS DRIVE         10 CENTRAL INDUSTRIAL DRIVE              3150 CARLISLE BLVD NE, STE 21
SUITE 206                            SUITE 4                                  ALBUQUERQUE, NM 87110
COVINA, CA 91724                     GRANITE CITY, IL 62040

UNITED STEEL, PAPER AND FORESTRY,    UNITED STEELWORKERS OF AMERICA, AFL-     UNITED STEELWORKERS
RUBBER, MANUFACTURING, ENERGY,       CIO                                      P.O. BOX 644485
ALLIED INDUSTRIAL AND SERVICE        140 KINGS DAUGHTER DRIVE                 PITTSBURGH, PA 15264-4485
WORKERS INTERNATIONAL UNION          SUITES 100 & 200
SUB-DISTRICT 4 OFFICE                FRANKFORT, KY 40601
11838 CAPITAL WAY
LOUISVILLE, KY 40299-6322

UNITED TEACHERS ASSO.INS.CO          UNITED TEACHERS ASSO.INS.CO              UNITED TELEPHONE COMPANY OF OHIO
P.O. BOX 30010                       P.O.BOX 30010                            P.O. BOX 4300
AUSTIN, TX 78755-3010                AUSTIN, TX 78755-3010                    CENTURYLINK
                                                                              CAROL STREAM, IL 60197-4300




UNITED THERMAL INDUSTRIES, INC       UNITED WASTE SOLUTIONS LLC               UNITED WASTE SOLUTIONS LLC
901 W ROBINSON DR                    225 NOAH DR, STE 384                     P.O. BOX 197-508
P.O. BOX 423                         FRANKLIN, TN 37064                       NASHVILLE, TN 37219-7507
MARION, IL 62959




UNITED WASTE SOLUTIONS, LLC          UNITED WAY OF BIG SPRING                 UNITED WAY OF KNOX COUNTY
P.O. BOX 197-508                     P.O. BOX 24                              311 E MAIN ST
NASHVILLE, TN 37219-7507             BIG SPRING, TX 79721                     SUITE 511
                                                                              GALESBURG, IL 61401




UNITED WAY OF KNOX COUNTY            UNITED WAY OF KNOX COUNTY                UNITED WAY OF SO IL
P.O. BOX 807                         PO BOX 807                               P.O. BOX 1901
GALESBURG, IL 61401-0807             GALESBURG, IL 61401-0807                 MARION, IL 62959




UNITED WAY OF SOUTH CENTRAL IL       UNITED WAY OF STARK CO                   UNITED WAY OF WILLIAMSON COUNTY
P.O. BOX 711                         401 MARKET AVE N STE 300                 209 GOTHIC COURT
MT. VERNON, IL 62864                 CANTON, OH 44702                         STE 107
                                                                              FRANKLIN, TN 37067
UNITED WAY              Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      UNITED WAY                     Page 1818
                                                                          UNITEDof 1969 HEALTH SERVICES
                                                                                WOMENS
3171 GATEWAY LOOP                     P.O. BOX 362                         1700 WEST PARK DRIVE, STE 410
SPRINGFIELD, OR 97477-1164            BARSTOW, CA 92312                    WESTBOROUGH, MA 01581




UNITED WOMENS HEALTH SERVICES       UNITED WORK LIFE INSURANCE             UNITED WORLD LIFE INS CO
1700 WEST PARK DRIVE, STE 410       3316 FARNAN ST.                        ATTN: REFUND DEPT
WESTBOROUGH, MA 01581-3915          OMAHA, NE 68175                        3316 FARNAM ST
                                                                           OMAHA, NE 68175




UNITED WORLD LIFE INS.CO.           UNITED WORLD LIFE INS.CO.              UNITED WORLD LIFE INSURANCE
3316 FARNAM ST                      3316 FARNAM ST                         ATTN: MEDICARE SUPPLEMENT
8 MEDICARE SUP DEP                  OMAHA, NE 68175                        3316 FARNAM ST
OMAHA, NE 68175                                                            OMAHA, NE 68175




UNITEDHEALTH GROUP INCORPORATED     UNITEDHEALTH ONE                       UNITHERM INC
9900 BREN ROAD EAST                 P.O. BOX 31374                         P.O. BOX 1189
MINNETONKA, MN 55343-9664           SALT LAKE CITY, UT 84131-0374          LEBANON, OH 45036




UNITRON                             UNITY HEALTH                           UNITY POINT HEALTH - METHODIST
SDS 12-2392                         840 CAROLINA STREET                    221 NE GLEN OAK AVE
P.O. BOX 86                         SAUK CITY, WI 53583-1374               PEORIA, IL 61636
MINNEAPOLIS, MN 55486-2392




UNITY POINT HEALTH                  UNITY POINT HEALTH                     UNITY ST CLEMENT HEALTH SERVICES
P.O. BOX 83381                      PO BOX 83381                           C/O SISTERS OF MERCY HEALTH SYSTEM
CHICAGO, IL 60691                   CHICAGO, IL 60691                      INC
                                                                           2039 N GRETER RD
                                                                           ST LOUIS, MO 63131



UNIV HEALTH CARE/AIR MED            UNIVERSAL CHEMICAL LLC                 UNIVERSAL HOSP SERVICE
50 N MEDICAL DR. PA405              P.O. BOX 15127                         PO BOX 851313
SALT LAKE CITY, UT 84032            ST LOUIS, MO 63110                     MINNEAPOLIS, MN 55485-1313




UNIVERSAL HOSPITAL SERVICES INC     UNIVERSAL HOSPITAL SERVICES            UNIVERSAL LINEN SERVICES
P.O. BOX 851313                     P.O. BOX 851313                        1807 COMMERCE ROAD
MINNEAPOLIS, MN 55485-1313          MINNEAPOLIS, MN 55485-1313             LOUISVILLE, KY 40208




UNIVERSAL MEDICAL INC               UNIVERSAL MEDICAL RESOURCES            UNIVERSAL PRINTING SOLUTIONS
P.O. BOX 1829                       207 LANGE DR                           10573 WEST PICO BLVD, SUITE 610
OLDSMAR, FL 34677                   WASHINGTON, MO 63090                   LOS ANGELES, CA 90064-2438




UNIVERSITY ACCOUNTING SERV LLC      UNIVERSITY ACCOUNTING SERV LLC         UNIVERSITY HEALTH SERVICES INC
P O BOX 5865                        P.O. BOX 5865                          UNIVERSITY HOSPITAL
CAROL STREAM, IL 60197-5865         CAROL STREAM, IL 60197-5865            1350 WALTON WAY
                                                                           AUGUSTA, GA 30901
                       Case 20-10766-BLS
UNIVERSITY HEALTH SERVICES                  DocMEDICAL
                                     UNIVERSITY   6 Filed 04/07/20
                                                       CENTER-TRAUMA      Page 1819  of 1969
                                                                               UNIVERSITY OF ALABAMA AT BIRMINGHAM
4468 FORSYTH RD                      4815 ALAMEDA                               1808 7TH AVENUE SOUTH, BDB 201
MACON, GA 31210                      EL PASO, TX 79905                          CARDIOVASCULAR DISEASE FELLOWSHIP
                                                                                BIRMINGHAM, AL 35294-0012




UNIVERSITY OF ALABAMA HEALTH         UNIVERSITY OF ARKANSAS/MEDICAL             UNIVERSITY OF CINCINNATI
FOUNDATION                           4301 WEST MARKHAM                          OFFICE OF THE BURSAR
P.O. BOX 55309                       LITTLE ROCK, AR 72205                      P.O. BOX 932605
BIRMINGHAM, AL 55309                                                            CLEVELAND, OH 44193




UNIVERSITY OF ILLINOIS               UNIVERSITY OF KENTUCKY                     UNIVERSITY OF NEW MEXICO MSC09 5222
COLLEGE OF MEDICINE                  AND EMILEIGH JEWELL                        HSC FINANCIAL SERVICE DIVISION
ONE ILLINI DR                        110 BAILEY LANE                            1 UNIVERSITY OF NEW MEXICO
PEORIA, IL 61605                     LOUISA, KY 41230                           ALBUQUERQUE, NM 87131-0001




UNIVERSITY OF NEW MEXICO, DEPT OF    UNIVERSITY OF PITTSBURGH-REGISTRAR         UNIVERSITY OF SOUTH ALABAMA
RADIOLOGY                            OFFICE                                     RADIOLOGY: PROG.COORD. VERIFICATION
MSC 10 5530                          G-3 THACKERY HALL                          2451 USA MEDICAL CNTR DR MASTIN 315
1 UNIVERSITY OF NEW MEXICO           PITTSBURGH, PA 15260                       MOBILE, AL 36617
ALBUQUERQUE, NM 87131



UNIVERSITY OF TEXAS AT DALLAS        UNIVERSITY OF TEXAS HEALTH SCI             UNIVERSITY OF TEXAS HEALTH SCIENCE
ATTN: CANDACE DOMINIC, M/S WT11      7703 FLOYD CURL DRV MC7800                 CENTER/HOUSTON
800 W CAMPBELL RD                    DEPARTMENT OF RADIOLOGY                    INTERNAL MEDICINE/DANA FOSTER
RICHARDSON, TX 45080                 SAN ANTONIO, TX 78229-3900                 6431 FANNIN ST, SUITE MSB 1.134
                                                                                HOUSTON, TX 77030



UNIVERSITY OF UT HLTH PLANS          UNIVERSITY OF UTAH NEPHROLOGY DIV          UNIVERSITY OF UTAH DEPT OF PEDIATRICS
P.O. BOX 45180                       NEPHROLOGY DIVISION                        ATTN PEDIATRIC ACCOUNTING
ATTN: ACCOUNTING                     295 CHIPETA WAY STE 4000                   P.O. BOX 581289
SALT LAKE CITY, UT 84145-0180        SALT LAKE CITY, UT 84108                   SALT LAKE CITY, UT 84158




UNIVERSITY OF UTAH HEALTH            UNIVERSITY OF UTAH                         UNIVERSITY OF UTAH
P.O. BOX 413144                      50 NORTH MEDICAL DRIVE                     ATTN: REFUNDS
SALT LAKE CITY, UT 84141-3144        PO FY19                                    P.O. BOX 45180
                                     SALT LAKE CITY, UT 84132-0001              SALT LAKE CITY, UT 84145




UNIVERSITY OF UTAH                   UNIVERSITY OF UTAH                         UNIVERSITY OF UTAH
DIALYSIS PROGRAM                     DIV OF ER MED ATTN JILLIAN QUINN           UNIVERSITY OF UTAH AIRMED
P.O. BOX 27071                       30 N 1900 E ROOM 1C26                      525 E 100 S, STE. 3660
SALT LAKE CITY, UT 84127-0071        SALT LAKE CITY, UT 84132                   SALT LAKE CITY, UT 84102




UNIVERSITY OF WASHINGTON LAB         UNIVERSITY PHYSICIANS & SURGEONS           UNIVERSITY PROFESSIONAL SERVICES
MEDICINE                             1600 MEDICAL CENTER DRIVE                  P.O. BOX 3590
P.O. BOX 9468                        SUITE G500                                 PORTLAND, OR 97208-3590
SEATTLE, WA 98109-0468               HUNTINGTON, WV 25701




UNIVERSITY UTAH SCHOOL OF MED        UNIVERSITY UTAH VASCULAR                   UNLIMITED DEVELOPMENT INC
295 CHIPETA WAY                      30 N 1900 E                                285 S FARNHAM ST
SUITE 4000                           SUITE 3C344                                GALESBURG, IL 61401
SALT LAKE CITY, UT 84108             SALT LAKE CITY, UT 84132
UNLIMITED DEVELOPMENT Case 20-10766-BLS    Doc 6GROUP
                                    UNM MEDICAL     Filed
                                                       INC 04/07/20   Page 1820 of 1969
                                                                           UNMHSC
285 S FARNHAM ST                    P.O. BOX 912137                        FAMILY & COMMUNITY MEDICINE
GALESBURG, IL 61401                 DENVER, CO 80291-2137                  MSC09-5040 1 UNM
                                                                           ALBUQUERQUE, NM 87131




UNREIN WENDOLYN DONETTE              UNRUH, BRIDGET                        UNTERBRINK KARI
P.O. BOX 500                         25 BRITTON FORD RD                    5866 UNTERBRINK ROAD
HARRISBURG, OR 97446                 SPRINGVILLE, TN 38256                 MORO, IL 62067




UNUM GROUP                           UNUM LIFE INSURANCE COMPANY OF        UNVERFERTH, LINDA
1 FOUNTAIN SQ STE 1                  AMERICA                               ADDRESS ON FILE
CHATTANOOGA, TN 37402                P.O. BOX 406955
                                     ATLANTA, GA 30384-6955




UNWIN, DONALD R.                     UP TO DATE, INC                       UPALA, SIKARIN
ADDRESS ON FILE                      WOLTERS KLUWER                        ADDRESS ON FILE
                                     230 3RD AVE, SUITE 1000
                                     WALTHAM, MA 02451




UPALA, SIKIRIN MD                    UPC MEDICAL SUPPLIES                  UPCHURCH EUGENE T
ADDRESS ON FILE                      11030 WEAVER AVE                      150 BROOK LN
                                     SOUTH EL MONTE, CA 91733              MINERAL BLUFF, GA 30559




UPCHURCH MECHANICAL                  UPCHURCH, BLAIR E.                    UPCHURCH, SHAWN
1555 HOLLYWOOD DRIVE                 ADDRESS ON FILE                       1600 N 17TH ST APT 2
JACKSON, TN 38305                                                          MT. VERNON, IL 62864




UPMC INSURANCE COMPANIES             UPMC LOCKHAVEN                        UPMC SUSQUEHANNA
600 GRANT ST                         24 CREE DR                            P.O. BOX 64058
12TH FLR                             LOCK HAVEN, PA 17745                  BALTIMORE, MD 21264-4058
PITTSBURGH, PA 15219




UPMC WORK PARTNERS                   UPP ROSELLA                           UPREHS
500 ROSS ST                          11289 OAKMOND RD 159                  REFUND DEPARTMENT
CLAIMS MGMT SVCS                     448 W MAIN ST                         P.O. BOX 161020
PITTSBURGH, PA 15262                 SOUTH JORDAN, UT 84009                SALT LAKE CITY, UT 84116-1020




UPS - UNITED PARCEL SERVICE          UPS FREIGHT                           UPS SUPPLY CHAIN SOLUTIONS, INC
P.O. BOX 809488                      28013 NETWORK PLACE                   28013 NETWORK PLACE
CHICAGO, IL 60680-9488               CHICAGO, IL 60673-1280                CHICAGO, IL 60673-1280




UPS                                  UPTAIN, AMBER                         UPTON BIRD
LOCKBOX 577                          253 LANE DRIVE                        400 MEDAL LANE APT 16
CAROL STREAM, IL 60132-5077          CROSSVILLE, AL 35962                  CLARENDON, AR 72029
UPTON, KRISTY L.         Case 20-10766-BLS   Doc 6 Filed
                                       URBAN PARTNERSHIP    04/07/20
                                                         BANK          Page 1821
                                                                            URBAN of 1969 AGENCY
                                                                                  RENEWAL
ADDRESS ON FILE                         7936 S COTTAGE GROVE                1200 MAIN STREET
                                        CHICAGO, IL 60619                   EVANSTON, WY 82930




URBAN, DONALD                           URBAN, ERIK                         URBAN, MARY K
2042 UNIVERSITY COMMONS DR SE           ADDRESS ON FILE                     203 25TH ST NW
MASSILLON, OH 44646                                                         MASSILLON, OH 44647




URBAN, PEGGY                            URBANO, IDA G.                      URBANO, IDA J.
229 S WARDELL ST                        2446 LEWIS ST APT. 2                2446 LEWIS 1
UHRICHSVILLE, OH 44683                  BLUE ISLAND, IL 60406               BLUE ISLAND, IL 60406




URBANSKI, HELEN J.                      URBAS, JEFFERY                      URBEN, SUSAN L., M.D.
39062 N WALNUT ST                       8515 SHERRI AVE NW                  ADDRESS ON FILE
LAKE VILLA, IL 60046                    CANAL FULTON, OH 44614




URBINA, CRUZ W.                         URDANIAK, JUSTINA                   URE, RICHARD
ADDRESS ON FILE                         10205 86TH - 310                    941 E BRYAN ROAD
                                        PALOS HILLS, IL 60465               ERDA, UT 84074




URESIL CORPORATION                      URESIL, LLC                         URESIL, LLC
5418 W. TOUHY AVENUIE                   5418 W. TOUHY AVE                   5418 W. TOUHY AVENUIE
SKOKIE, IL 60077                        SKOKIE, IL 60077                    SKOKIE, IL 60077




URGENT CARE ASSOCIATION OF              URGENT CARE ENTERPRISE LLC          URIAS, ASUNCION
AMERICA 28600 BELLA VISTA PKWY          CARENOW URGENT CARE -ATL            P.O. BOX 446
STE 2010                                P.O. BOX 742606                     FORT DAVIS, TX 79734
WARRENVILLE, IL 60555                   ATLANTA, GA 30374-2606




URIBE, RIGOBERTO                        URIBE-GUTIERREZ, DAISY              URIOSTE, CHRISTINE
14811 KILPATRICK, 1E                    173 RODRIGUEZ ST. 11                418 RITA STREET
MIDLOTHIAN, IL 60445                    WATSONVILLE, CA 95076               LAS VEGAS, NM 87701




URIOSTE, LYNETTE                        URIOSTE, RAMONA                     UROPARTNERS LLC
611 SABINO                              798 DON GALLEGOS                    3 SOUTH GREENLEAF ST STE J
LAS VEGAS, NM 87701                     LAS VEGAS, NM 87701                 GURNEE, IL 60031




URQUIDEZ, PATRICIA                      URSE, ANTHONY                       URSERY, APRIL
P.O. BOX 1541                           17397 S 70TH AVE, UNIT G            ADDRESS ON FILE
FORT DAVIS, TX 79734                    TINLEY PARK, IL 60477
URSPRUNG, CURTIS J.       Case 20-10766-BLS
                                        URSRY, Doc 6 Filed 04/07/20
                                               JOHANNA                       Page 1822 ofSPURLOCK
                                                                                  URSULA, 1969
6925 N STATE HWY 37                      1010 FLORA STREET                        447 28TH ST NW
GOREVILLE, IL 62939                      BARSTOW, CA 92311                        MASSILLON, OH 44647




URSULA, TRUJILLO                         US ARMY                                  US BANK EQUIPMENT FINANCE
P.O. BOX 35                              1635 1ST ST                              A DIVISION OF US BANK NATIONAL
BUENA VISTA, NM 87712                    GRANITE CITY, IL 62040                   ASSOCIATION
                                                                                  1310 MADRID ST
                                                                                  MARSHALL, MN 56258



US BANK EQUIPMENT FINANCE                US BANK EQUIPMENT FINANCE, A DIVISION    US BANK NA
P.O. BOX 790448                          OF US BANK NA                            400 CITY CENTER
ST LOUIS, MO 63179-0448                  1310 MADRID ST                           OSHKOSH, WI 54901
                                         MARSHALL, MN 56258




US BANK NA                               US BANK NA                               US BANK NA
400 CITY CENTER                          555 SW OAK ST                            777 E WISCONSIN AVE
OSHKOSH, WI 64901                        PORTLAND, OR 97204                       MILWAUKEE, WI 53202




US BANK NATIONAL ASSOC KONICA            US BANKS EQUIPMENT FIANCE, A DIVISION    US DEPARTMENT OF EDUCATION AWG
MINOLTA PREMIER                          OF US BANK NA                            P.O. BOX 790356
P O BOX 790448                           1310 MADRID ST                           ST LOUIS, MO 63179
ST LOUIS, MO 63179-0448                  MARSHALL, MN 56258




US DEPARTMENT OF EDUCATION               US DEPARTMENT OF EDUCATION               US DEPARTMENT OF EDUCATION
DEPARTMENT OF EDUCATION AWG              NATIONAL PAYMENT CENTER                  NATIONAL PAYMENTS CENTER
P.O. BOX 790356                          P.O. BOX 10581                           P.O. BOX 105081
ST. LOUIS, MO 63179-0356                 ATLANTA, GA 30348-5081                   ATLANTA, GA 30348-5081




US DEPARTMENT OF EDUCATION               US DEPARTMENT OF EDUCATION               US DEPARTMENT OF EDUCATION
P O BOX 790321                           P.O. BOX 2837                            P.O. BOX 69184
ST LOUIS, MO 63179-0321                  PORTLAND, OR 97208-2837                  HARRISBURG, PA 17106-9184




US DEPARTMENT OF EDUCATION               US DEPT EDUCATION                        US DEPT EDUCATION
P.O. BOX 790321                          NATIONAL PAYMENT CENTER                  NATIONAL PAYMENT CENTER
ST LOUIS, MO 63179-0321                  PO BOX 105081                            PO BOX 790356
                                         ATLANTA, GA 30348                        ST LOUIS, MO 63179




US DEPT OF ED-OSLA                       US DEPT OF EDUC                          US DEPT OF EDUCATION AWG
P.O. BOX 4278                            NATIONAL PMT CTR                         PO BOX 790356
PORTLAND, OR 97208-4278                  P.O. BOX 105081                          ST LOUIS, MO 63179
                                         ATLANTA, GA 30348-5081




US DEPT OF EDUCATION NATL                US DEPT OF EDUCATION                     US DEPT OF EDUCATION
PAYMENT CENTER                           NATIONAL PAYMENT CTR                     NATIONAL PAYMENT CTR
P.O. BOX 105081                          P.O. BOX 105081                          P.O. BOX 790356
ATLANTA, GA 30348-5081                   ATLANTA, GA 30348-5081                   ST LOUIS, MO 63179-0356
US DEPT OF EDUCATION      Case 20-10766-BLS
                                        US DEPTDoc  6 Filed 04/07/20
                                                OF EDUCATION           Page 1823  of 1969 OF EDUCATION
                                                                            US DEPTARTMENT
P.O. BOX 790356                          PO BOX 105081                      P.O. BOX 105081
ST LOUIS, MO 63179-0356                  ATLANTA, GA 30348                  ATLANTA, GA 30348-5081




US ENDOSCOPY GROUP INC                   US MED-EQUIP, LLC                  US POSTAL SERVICE
C/O STERIS CORP                          PO BOX 4339                        ATTN: P.O. BOX 189 PAYMENT
P.O. BOX 644063                          HOUSTON, TX 77210-4339             102 S MAIN ST
PITTSBURGH, PA 15264-4063                                                   LYMAN, WY 82937




USA FUNDS                                USA MDT OF SOUTH MILWAUKEE         USAA CASUALTY INS COMPANY
C/O GC SERVICES                          6021 56TH AVE                      P.O. BOX 33490
LP P.O. BOX 32500                        SUITE 102                          SAN ANTONIO, TX 78265
COLUMBUS, OH 43232                       KENOSHA, WI 53142




USAA GENERAL INDEMNITY COMPANY           USAA LIFE INSURANCE COMPANY        USAA
P.O. BOX 33490                           P.O. BOX 12750                     P.O. BOX 127500
SAN ANTONIO, TX 78265                    PENSACOLA, FL 32591                ATTN: CLAIMS DEPT
                                                                            PENSACOLA, FL 32591




USACS INTEGRATED ACUTE CARE              USB AG STAMFORD BRANCH             USCD NO 1 FOOD SERVICES
SERVICES OF IL LLC                       600 WASHINGTON BLVD                P.O. BOX 6002
4535 DRESSLER ROAD NW                    STAMFORD, CT 06901                 EVANSTON, WY 82931-6002
CANTON, OH 44718




USDH-FISCAL OPERATIONS                   USE O033 - J H KAPLAN              USHER, JOHN F.
P. O. BOX 144003                         ADDRESS ON FILE                    715 N MAIN LOT 50
SALT LAKE CITY, UT 84114-4003                                               TOOELE, UT 84074




USHER, TRISTY                            USOC BIO MEDICAL LLC               USOC MEDICAL
130 WORTHINGTON ST                       20 MORGAN                          14 HUGHES SUITE B106
GRANTSVILLE, UT 84029                    IRVINE, CA 92618                   IRVINE, CA 92618




USOC MEDICAL                             USRY, MAKAYLA C.                   USRY, MARY BUDILL
20 MORGAN                                1204 GARDEN DRIVE                  12411 BLUEPOND BLVD
IRVINE, CA 92618                         SCOTTSBORO, AL 35768               SYLVANIA, AL 35988




USRY, MICHAEL                            USRYBLAND, COYATITTA L.            UT DEPT ENVIRONMENTAL QUALITY
285 MABRAY LANE                          710 OLD WASHINGTON RD              P.O. BOX 144880
MORGANTON, GA 30560                      THOMSON, GA 30824-4010             SALT LAKE CITY, UT 84114-4880




UT SOUTHWESTERN MED CENTER               UTAH ATLS                          UTAH BOARD OF PHARMACY
5323 HARRY HINES BLVD                    1352 HARRISON AVE                  160 E 300 S
DEPT OF RAD/BUSINESS AFFAIRS             SLAT LAKE CITY, UT 84105           SALT LAKE CITY, UT 84114-6741
DALLAS, TX 75390-9114
UTAH BUREAU OF EMS       Case 20-10766-BLS    Doc 6 FiledAUTHORITY
                                       UTAH COMMUNICATIONS      04/07/20   Page 1824  of 1969 OF COMMERCE
                                                                                UTAH DEPARTMENT
P.O. BOX 142004                        5215 WILEY POST WAY 550                  DIVISION OF CONSUMER PROTECTION
SALT LAKE CITY, UT 84114-2004          SALT LAKE CITY, UT 84116                 160 E 300 S 2ND FL
                                                                                P.O. BOX 146704
                                                                                SALT LAKE CITY, UT 84114-6704



UTAH DEPARTMENT OF ENVIRONMENTAL        UTAH DEPARTMENT OF ENVIRONMENTAL        UTAH DEPARTMENT OF HEALTH
QUALITY                                 QUALITY                                 ATTN: JOSEPH MINER, EXECUTIVE
DIVISION OF RADIATION CONTROL           X-RAY SECTION                           DIRECTOR
195 NORTH 1950 WEST                     195 NORTH 1950 WEST                     CANNON HEALTH BUILDING
SALT LAKE CITY, UT 84116                SALT LAKE CITY, UT 84116                288 NORTH 1460 WEST
                                                                                SALT LAKE CITY, UT 84116

UTAH DEPARTMENT OF HEALTH               UTAH DEPARTMENT OF HEALTH               UTAH DEPARTMENT OF HEALTH
BUREAU OF EMS                           BUREAU OF LABORATORY IMPROVEMENT        DIVISION OF FAMILY HEALTH AND
P.O. BOX 142004                         P.O. BOX 141010                         PREPAREDNESS
SALT LAKE CITY, UT 84114-2004           SALT LAKE CITY, UT 84114                BUREAU OF HEALTH FACILITY LICENSING
                                                                                AND CERTIFICATION
                                                                                P.O. BOX 144103
                                                                                SALT LAKE CITY, UT 84114-4103

UTAH DEPARTMENT OF HEALTH               UTAH DEPARTMENT OF HEALTH               UTAH DEPARTMENT OF HEALTH
DIVISION OF MEDICAID AND HEALTH         HEALTH FACILITY LICENSING               P O BOX 142004
FINANCING                               CERTIFICATION AND RESIDENT              SALT LAKE CITY, UT 84114
P.O. BOX 143106                         ASSESSMENT
SALT LAKE CITY, UT 84114-3106           P.O. BOX 144103
                                        SALT LAKE CITY, UT 84114-4103

UTAH DEPARTMENT OF HEALTH               UTAH DEPARTMENT OF HEALTH               UTAH DEPARTMENT OF HEALTH
P.O. BOX 142004                         P.O. BOX 143106                         P.O. BOX 144103
SALT LAKE CITY, UT 84114                SALT LAKE CITY, UT 84114                SALT LAKE CITY, UT 84114-4103




UTAH DEPARTMENT OF HEALTH               UTAH DEPT OF COMMERCE                   UTAH DEPT OF ENVIRONMENTAL QUALITY
UTAH MEDICAID PROGRAM                   P.O. BOX 146705                         195 NORTH 1950 WEST
P.O. BOX 143106                         SALT LAKE CITY, UT 84114-6705           SALT LAKE CITY, UT 84114
SALT LAKE CITY, UT 84114




UTAH DEPT OF ENVIRONMENTAL QUALITY      UTAH DIV. OF OCCUPATIONAL AND           UTAH DIV. OF OCCUPATIONAL AND
P.O. BOX 144810                         PROFESSIONAL LICENSING                  PROFESSIONAL LICENSING
SALT LAKE CITY, UT 84114-4810           PHARMACY                                UTAH CONTROLLED SUBSTANCE DATABASE
                                        160 EAST 300 SOUTH                      160 EAST 300 SOUTH
                                        SALT LAKE CITY, UT 84111                SALT LAKE CITY, UT 84111



UTAH FABRICATION INC                    UTAH FIRE EQUIPMENT                     UTAH FIRE EQUIPMENT
1485 W JAMES WAY                        P.O. BOX 651276                         P.O. BOX 651276
TOOELE, UT 84074                        SALT LAKE CITY, UT 84165                SLC, UT 84165




UTAH HEALTH INFO NETWORK                UTAH HOSPITAL ASSOCIATION               UTAH HOSPITALS AND HEALTH SYSTEMS
1226 E 6600 S                           2180 SOUTH 1300 EAST 440                ASSOCIATION
SALT LAKE CITY, UT 84121-0000           SALT LAKE CITY, UT 84106                UHA TRUST SERVICES ACCOUNT
                                                                                2180 S 1300 E - STE 440
                                                                                SALT LAKE CITY, UT 84106



UTAH LABOR COMMISSION                   UTAH MEDIA PARTNERS, LLC                UTAH MEDICAID
160 EAST 300 SOUTH                      4770 SOUTH 5600 WEST                    UNIVERSITY HEALTH PLAN
3RD FLOOR                               WEST VALLEY CITY, UT 84118              P.O. BOX 45180
SALT LAKE CITY, UT 84114-6600                                                   SALT LAKE CITY, UT 84145-0180
UTAH MEDICAL PRODUCTS Case
                       INC 20-10766-BLS    Doc 6PRODUCTS
                                    UTAH MEDICAL     Filed 04/07/20
                                                           INC            Page 1825  of 1969
                                                                               UTAH MEDICAL PRODUCTS INC
7043 S 300 W                        7043 SOUTH 300 WEST                         7043 SOUTH 300 WEST
WEST MIDVALE, UT 84047              MIDVALE, UT 84047                           MIDVALE, UT 84047-0421




UTAH MEDICAL PRODUCTS INC.            UTAH MOTORSPORTS CAMPUS, INC.             UTAH OCCUPATIONAL SAFETY AND
7043 SOUTH 300 WEST                   512 SOUTH SHEEP LANE                      HEALTH ADMINISTRATION
MIDVALE, UT 84047-0421                GRANTSVILLE, UT 84401                     160 EAST 300 SOUTH, 3RD FLOOR
                                                                                P.O. BOX 146600
                                                                                SALT LAKE CITY, UT 84114-6600



UTAH PATHOLOGY SERVICES, INC          UTAH PIPE TRADES WELFARE TRUST            UTAH PUBLIC HEALTH LABORATORY
5330 S 900 E                          P.O. BOX 1975                             4431 SOUTH 2700 WEST
120                                   SAN RAMON, CA 94583                       TAYLORSVILLE, UT 84129-8600
SALT LAKE CITY, UT 84117




UTAH REGIONAL HOSPITALISTS            UTAH SAFETY COUNCIL                       UTAH SECRETARY OF STATE
P.O. BOX 3299                         1574 WEST 1700 SOUTH                      160 E. 300 S., 2ND FLOOR
CARSON CITY, NV 89702                 SALT LAKE CITY, UT 84104                  SALT LAKE CITY, UT 84111




UTAH SPORTS HALL OF FAME FOUNDATION   UTAH STATE TAX COMMISSION                 UTAH STATE TAX COMMISSION
1355 ELK HOLLOW ROAD                  210 N 1950 W                              47 S MAIN
NORTH SALT LAKE, UT 84054             SALT LAKE CITY, UT 84134                  TOOELE, UT 84074




UTAH STATE TAX COMMISSION             UTAH STATE TAX COMMISSION                 UTAH STATE TREASURERS OFFICE
GARNISHMENTS                          SALES TAX                                 350 N STATE ST - STE 180
210 N 1950 W                          210 N 1950 W                              UNCLAIMED PROPERTY DIVISION
SALT LAKE CITY, UT 84134              SALT LAKE CITY, UT 84134-0400             SALT LAKE CITY, UT 84114




UTAH TELEHEALTH NETWORK               UTAH VALLEY RADIOLOGY ASSOCIATES,         UTAX STATE TAX COMMISSION
101 WASATCH DR, RM 215                INC.                                      47 S MAIN
SALT LAKE CITY, UT 84112              P.O. BOX 657                              TOOELE, UT 84074-2131
                                      OREM, UT 84057




UTE CONFERENCE, INC                   UTE ORTEGA                                UTHE, RAEANN
6647 HARVEST DRIVE                    325 NEW MEXICO 65                         1911 WILDROSE DRIVE
STANSBURY PARK, UT 84074              LAS VEGAS, NM 87701                       CREST HILL, IL 60403




UTILITRA, LLC                         UTLAK M.D., DAVID J.                      UTLAK, BARBARA L.
P.O. BOX 158                          5650 FOXCHASE AVENUE NW                   5650 FOXCHASE AVE NW
EDWARDSVILLE, IL 62025-0000           CANTON, OH 44718                          CANTON, OH 44718




UTLEY JR., JAMES                      UTLEY, GAYLA                              UTSLER, CAROLYN S.
ADDRESS ON FILE                       3014 LEXINGTON DR                         4685 MANCHESTER AVE SW
                                      MONROE, GA 30655                          NAVARRE, OH 44662
UTTECH CAROLANN JEAN    Case 20-10766-BLS    Doc 6
                                      UTTER, LORNA       Filed 04/07/20   Page 1826  of 1969
                                                                               UTZ, MEGAN
2837 RIDGELINE RD                      226 S C ST                              192 W 700 N
P.O. BOX 296                           MONMOUTH, IL 61462                      TOOELE, UT 84074
STOCKTON, UT 84071




UWI, INC                               UY, MARIA E.                            UZOHO, BEVERLY
237 WEST 8600 SOUTH                    ADDRESS ON FILE                         109 E DESERT VIEW DR
MIDVALE, UT 84047                                                              BARSTOW, CA 92311




UZUETA, SAYRA                          V COVINGTON LLC                         V RED SMITH PEST CONTROL
ADDRESS ON FILE                        2615 WASHINGTON ST                      P.O. BOX 404
                                       WAUKEGAN, IL 60085                      WATERLOO, IL 62298




V&S AUTOMOTIVE                         V.I.P. MEDICAL TRANSPORTATION           VA CHOICE PLAN
712 WALES AVE                          87 HIGHWAY 32                           P.O. BOX 2748
MASSILLON, OH 44646                    LOUISA, KY 41230                        VIRGINIA BEACH, VA 23450




VA HEALTH ADMIN - CHAMPVA              VA HEALTH ADMIN/CHAMP VA                VA HEALTH NET FEDERAL
P.O. BOX 469064                        773 CHERRY CREEK NORTH DRIVE            P.O. BOX 9110
DENVER, CO 80246-9064                  DENVER, CO 80209                        VIRGINIA BEACH, VA 23452




VA MARION IL                           VA MEDICAL CENTER                       VA MEDICAL CENTER
2401 WEST MAIN STREET                  2401 WEST MAIN STREET                   ATTN:OVERPAYMENTS
MARION, IL 62959                       MARION, IL 62959                        300 VETERANS BLVD
                                                                               BIG SPRING, TX 79720




VA RISK SERVICES                       VA ST LOUIS HEALTHCARE SYSTM            VA TRI WEST PCCC
TRADITIONAL SQUARE                     MEDICAL CENTER                          P.O. BOX 7926
2730 CENTENNIAL RD.                    1 JEFFERSON BARRACKS                    MADISON, WI 53707-7926
TOLEDO, OH 43617                       ST LOUID, MO 63125




VA TRIWEST PCCC                        VA                                      VACA, LETICIA
P.O. BOX 981646                        913 NW GARDEN VALLEY RD                 ADDRESS ON FILE
EL PASO, TX 79998                      ROSEBURG, OR 97470




VACCA, ANTHONY C.                      VACCARO LUMBER CO INC                   VACI, LAUREN
ADDRESS ON FILE                        P.O. BOX 2015                           7325 167TH ST
                                       FORREST CITY, AR 72335                  TINLEY PARK, IL 60477




VACIMURPHY, KATHLEEN J.                VACO LLC                                VACO LLC
8070 W 167TH PLACE                     5410 MARY LAND WAY, STE 460             P.O. BOX 667
TINLEY PARK, IL 60477                  BRENTWOOD, TN 37027                     BRENTWOOD, TN 37024-0000
VACO NASHVILLE LLC        Case 20-10766-BLS   DocTHRESIA
                                        VADAKARA,  6 Filed
                                                         T. 04/07/20          Page 1827
                                                                                   VADYM of 1969
                                                                                         DIDENKO
P.O. BOX 667                             ADDRESS ON FILE                           18008 PINNACLE CT
BRENTWOOD, TN 37024                                                                TAMPA, FL 33647-2305




VAH, LTD DBA MEDICAL RESOURCES           VAHEY, JOSEPH                             VAIDYA, CHANDNI
GROUP LIMITED                            115 WILLOW DRIVE                          ADDRESS ON FILE
P.O. BOX 248                             COLLINSVILLE, IL 62234
MORTON, IL 61550-0248




VAIL CLINIC, INC. D/B/A VAIL HEALTH      VAIL, KIMBERLY                            VALADEZ, AMBER L.
HOSPITAL                                 102 INDUSTRIAL DRIVE                      721 BUCKNELL AVE.
181 WEST MEADOW DRIVE                    ANNA, IL 62906                            BIG SPRING, TX 79720
VAIL, CO 81657




VALADEZ, ANNA                            VALADEZ, MARISOL                          VALARIE HATFIELD
14139 S WESTERN AVE 329                  12418 MAPLE AVE                           5001 SW 20TH ST
BLUE ISLAND, IL 60406                    BLUE ISLAND, IL 60406                     OCALA, FL 34474-8733




VALDEMAR, BONNOT                         VALDERRAMA, JOSE ELEUTERIO GALO C.        VALDEZ, ANDY
1108 CENTRAL PARK DR                     ADDRESS ON FILE                           P.O. BOX 471
ROUND LAKE BEACH, IL 60073                                                         CARRIER MILLS, IL 62917




VALDEZ, BRITNEY A.                       VALDEZ, CHRISTOPHER                       VALDEZ, DIANA G.
1309 S LOVINGTON ST                      ADDRESS ON FILE                           2512 HUNTERS RIDGE
DEMING, NM 88030                                                                   EDWARDSVILLE, IL 62025




VALDEZ, DYANA M.                         VALDEZ, EDWARD B.                         VALDEZ, GERMAINE C.
ADDRESS ON FILE                          3001 S KING DR UNIT 1514                  ADDRESS ON FILE
                                         CHICAGO, IL 60616




VALDEZ, LORILEE                          VALDEZ, MELISSA F.                        VALDEZ, MICHELLE L.
17 VARELA LN                             878 N IRON 23                             ADDRESS ON FILE
LAS VEGAS, NM 87701                      DEMING, NM 88030




VALDEZ, NORA R.                          VALDEZ, NORMA C.                          VALDEZ, NORMA
908 S A ST                               720 S. IRON ST                            900 W. ASH
MONMOUTH, IL 61462                       DEMING, NM 88030                          DEMING, NM 88030




VALDEZ, ROGER J.                         VALDEZ, ROGER                             VALDEZ, ROY
ADDRESS ON FILE                          ADDRESS ON FILE                           141 ALMA ST
                                                                                   WATSONVILLE, CA 95076
VALDEZ, VIRGINIA        Case 20-10766-BLS    Doc
                                      VALDIVIA,    6
                                                NOEL     Filed 04/07/20   Page 1828 of 1969
                                                                               VALDOVINOS, JASMIN
607 LARKSPUR ST                         9737 S MARQUETTE AVE                    ADDRESS ON FILE
SOLEDAD, CA 93960                       CHICAGO, IL 60617




VALE, ANN                               VALEIKIENE, RAMUNE                      VALENCE HEALTH FAMILY NETWORK
790 VIRGINA AVE S                       ADDRESS ON FILE                         P.O. BOX 981731
PARSONS, TN 38363                                                               EL PASO, TX 79998-1731




VALENCIA WALTERS                        VALENCIA, JUDITH                        VALENCIA, LEONARD
1126 WYLEY AVENUE                       557 EAGLE ST                            180 IVY CREEK DR
AKRON, OH 44306                         MESQUITE, NV 89027                      BOGART, GA 30622




VALENCIA, LUCERO                        VALENCIA, NAOMI                         VALENTIN CASTILLO
P.O. BOX 1738                           200 S SALEM RD                          7489 BOOKHAM CT
LITTLEFIELD, AZ 86432                   BIG SPRING, TX 79720                    CARLTON, OR 97111




VALENTINA, LARA                         VALENTINE & KEBARTAS, LLC               VALENTINE ASSOCIATES LLC
220 S JAMES ST                          15 UNION STREET                         1613 BROAD RUN RD
DEMING, NM 88030                        LAWRENCE, MA 01840-1866                 LANDENBERG, PA 19350




VALENTINE, ANNIE                        VALENTINE, CATHERINE A.                 VALENTINE, HOWARD L
7423 S KING DR                          37131 N GANSTER RD                      334 W RIVEREDGE DR
2ND FLOOR SOUTH                         BEACH PARK, IL 60087                    ELLIJAY, GA 30536
CHICAGO, IL 60619




VALENTINE, JOHN                         VALENTINE, LORI                         VALENTINE, MEGHAN J.
1212 JACOB                              1412 WEST CHERRY                        ADDRESS ON FILE
P.O. BOX 93                             HERRIN, IL 62948
MAEYSTOWN, IL 62256-0093




VALENTINE, RADIO                        VALENTINE, WHITNEY                      VALENTINO, RICHARD
P.O. BOX 277                            3469 W 155TH ST                         521 B STREET
VALENTINE, TX 79854                     SYMPHONY OF CRESTWOOD                   MERIDEN, CT 06450
                                        MARKHAM, IL 60428




VALENTYNA, DOMINIQUE                    VALENZENO, SARAH                        VALENZUELA LIDIA
ADDRESS ON FILE                         2837 MARGARET DR.                       15822 LEXINGTON AVE
                                        MONTGOMERY, IL 60538                    HARVEY, IL 60426




VALENZUELA, ALYSSA C.                   VALENZUELA, CHRISTIAN R.                VALENZUELA, ISMAEL
233 W ALFRED DR                         5509 DELMAR ST                          318 PLUM ST
TOOELE, UT 84074                        EAST SAINT LOUIS, IL 62201              COLLINSVILLE, IL 62234
VALENZUELA, JESSICA        Case 20-10766-BLS   Doc 6
                                         VALENZUELA,     Filed
                                                     KARINA V. 04/07/20   Page 1829  of 1969
                                                                               VALENZUELA, MANUELA
1741 PURDUE AVE                            ADDRESS ON FILE                      1837 N BERRA BLVD APT D308
BIG SPRING, TX 79720                                                            TOOELE, UT 84074




VALENZUELA, MARCOS                         VALERA, CARMEN                       VALERA, MODESTA
5040 SAN ISIDRO RD SE                      1729 N BERWIN ST                     843 LA CUESTA CT
DEMING, NM 88030                           WAUKEGAN, IL 60085                   SALINAS, CA 93905




VALERIE I FOX & JAMES FOX JT TEN           VALERIO, ARTURO                      VALERIUS, JULIE
343 OLD MILL RD                            2018 S IRON                          ADDRESS ON FILE
PARKESBURG, PA 19365-9111                  DEMING, NM 88030




VALITEQ                                    VALITEQ/LAB SAFETY CORP              VALKO, ALEXA
P.O. BOX 245                               1725 INDUST. AVE                     ADDRESS ON FILE
CUMBERLAND, WI 54829-0245                  CUMBERLAND, WI 54829




VALLADARES, MIRANDA N.                     VALLANCE, TERINA                     VALLE, CHEYENNE R.
ADDRESS ON FILE                            116 BUENA VISTA DRIVE                ADDRESS ON FILE
                                           ASHLAND, KY 41101




VALLE, GENEVE R.                           VALLEE, KATHY                        VALLEROY KATHERINE M
929 UNIVERSITY AVE APT 8                   3467 KY ROUTE 3                      6504 MM ROAD
SALINAS, CA 93901                          VAN LEAR, KY 41265                   RED BUD, IL 62278




VALLEROY, AMANDA M.                        VALLEROY, ANGELA                     VALLEROY, JILL I.
325 SOUTH VINE STREET                      708 COUNTRY CLUB DR                  ADDRESS ON FILE
SPARTA, IL 62286                           RED BUD, IL 62278




VALLES, HILDA V.                           VALLETT, ROBIN                       VALLEY CREDIT SERVCS
ADDRESS ON FILE                            ADDRESS ON FILE                      P.O. BOX 2046
                                                                                SALEM, OR 97308




VALLEY FIRE PROTECTION SYSTEMS, LLC        VALLEY PROTEINS, INC.                VALLEY, ANDRE K
101 N RADDANT ROAD                         P.O. BOX 643393                      423 RIGHTOR STE 2
BATAVIA, IL 60510                          CINCINNATI, OH 45264                 HELENA, AR 72342




VALLEY, ELIZABETH R.                       VALLEY, SUSAN K.                     VALLEY, SUSAN K.
ADDRESS ON FILE                            416 VALLEY VIEW DR                   ADDRESS ON FILE
                                           EAST ALTON, IL 62024
VALLO, KIRSTEN N.         Case 20-10766-BLS   Doc 6PARTNERS
                                        VALOR EQUITY  Filed 04/07/20
                                                            II LP         Page 1830  ofNEALE
                                                                               VALORIE, 1969
ADDRESS ON FILE                          875 N MICHIGAN AVE, STE 3214          1015 YOUTH JERSEY RD
                                         CHICAGO, IL 60611                     LOGANVILLE, GA 30052




VALOROSO, CRESENCIA D.                   VALSAINT, KIMBERLEY                   VALUE MANAGEMENT GROUP LLC
50 HONEYSUCKLE DR                        200 DAFFODIL COURT                    VMG HEALTH
WATSONVILLE, CA 95076                    CANE RIDGE, TN 37013                  P.O. BOX 674046
                                                                               DALLAS, TX 75267-4046




VALUEMED INC                             VALVERDE, YVONNE                      VAMD CTR NONVA CARE 04FJB
P.O. BOX 245                             1416 ROSWELL                          1 JEFFERSON BARRACKS DR
BLUE ISLAND, IL 60406                    DEMING, NM 88030                      ST LOUIS, MO 63125-4181




VAMOS, ATTILA J.                         VAN ABBEMA, CAITLIN P.                VAN ABBEMA, CAITLIN P.
ADDRESS ON FILE                          ADDRESS ON FILE                       7817 GOLF COURSE RD
                                                                               MC LEANSBORO, IL 62859




VAN AMERONGEN, ALEX                      VAN BREUSEGEN, KEELER                 VAN DER LINDE, ANNA L.
537 SHADY LN                             2826 WOODSON DRIVE                    22 CR 703
LEBANNON, IL 62254                       COLUMBIA, IL 62236                    WYNNE, AR 72396




VAN DOREN, TYLER                         VAN DORF FREUD AND ASSOCIATES         VAN DRESS, AMY M.
ADDRESS ON FILE                          111 N WABASHAVE                       234 GAIL AVE NE
                                         CHICAGO, IL 60602                     MASSILLON, OH 44646




VAN DYKE, GARY                           VAN FLEET, JOHN                       VAN GORP, LYNN
2006 HIGHWAY 101                         ADDRESS ON FILE                       ADDRESS ON FILE
FLORENCE, OR 97439-9723




VAN HOOSER, SUSAN                        VAN HORN ADVOCATE                     VAN HORNE, LAURA
106 DOUGLAS ST                           P.O. BOX 8                            2301 MEADOW LN
ANNA, IL 62906                           VAN HORN, TX 79855                    CENTRALIA, IL 62801




VAN KEMPEN, JESSICA A.                   VAN METER ASHBROOK & ASSOCIATES INC   VAN NOY, WILLIAM J.
3104 W 118TH ST                          41 S HIGH ST                          3948 T ST
MERRIONETTE PARK, IL 60803               STE 3710                              OMAHA, NE 68107
                                         COLUMBUS, OH 43215




VAN ORDEN, ANTHONY G.                    VAN ORDSTRAND, SHEA D.                VAN SANT, KELLIE M.
ADDRESS ON FILE                          ADDRESS ON FILE                       ADDRESS ON FILE
VAN SANT, VIVIAN L.     Case 20-10766-BLS    DocJOHN
                                      VAN SICKEL, 6 D.
                                                     Filed 04/07/20      Page 1831  of 1969
                                                                              VAN ZANDT, LARRY S.
ADDRESS ON FILE                        1036 ANDOVER ST                         446 NEWPORT RD.
                                       LAWRENCE, KS 66049                      BLUE RIDGE, GA 30513-5335




VAN ZEYL, STACEY L.                    VAN, KELLY                              VANARSDALE, JAY
ADDRESS ON FILE                        11094 SIMPKINS RD                       6070 OLD ALTON EDWARDSVILLE RD
                                       MARION, IL 62959                        EDWARDSVILLE, IL 62025




VANBEUSEKOM, STEVEN P.                 VANBOGELEN, KEITH R.                    VANBREMEN, DEBORAH A.
7805 SAN FRANCISCO RD SE               5696 DELAWARE AVE                       1731 WINDSOR RD NE
DEMING, NM 88030                       GURNEE, IL 60031                        MASSILLON, OH 44646




VANBUREN ANGELA                        VANBUREN MORGAN J                       VANBUUL, CAROL
7608 ROSCOW HOLLOW RD                  311 HILLGARD LANDING                    728 CHIMNEY TRACE
PRAIRIE DU ROCHER, IL 62277            HECKER, IL 62248                        MONROE, GA 30656




VANCE, CHRISTOPHER                     VANCE, DYLAN                            VANCE, GARY L.
P.O. BOX 21                            18538 GLADVILLE AVE.                    ADDRESS ON FILE
WAYNE, WV 25570                        HOMEWOOD, IL 60430




VANCE, LAURA                           VANCE, PEGGY                            VANCE, TEDDY
206 DUNDEE DR                          105 WHITE OAK PARK LN                   118 WINTERBROOK PL
LOCKPORT, IL 60441                     BLUFORD, IL 62814-1537                  BEECH ISLAND, SC 29842-7552




VANCIL, LORI                           VANDALIA BUS LINES                      VANDE LUNE, DANIEL
530 PINE ST                            P.O. BOX 400                            6093 VINTAGE STREET
KEWANEE, IL 61443                      CASEYVILLE, IL 62232                    EL PASO, TX 79932




VANDELENA, LEE                         VANDELFT, JOHN A.                       VANDEMARK, EDWINA
ADDRESS ON FILE                        P.O. BOX 174                            ADDRESS ON FILE
                                       SERAFINA, NM 87569




VANDERBILT UNIV/FINANCIAL MGMT         VANDERBILT UNIVER. MEDICAL CTR.         VANDERBILT UNIVERSITY MED CTR
DEPT 1236                              NEONATAL OUTREACH                       POISON CENTER ADMIN
P.O. BOX 121236                        DEPT 1236                               501 OXFORD HOUSE
DALLAS, TX 75312-1236                  P.O. BOX 121236                         NASHVILLE, TN 37232-4632
                                       DALLAS, TX 75312-1236



VANDERBILT, CLAUDETTE D.               VANDERHOEF, ROBERT                      VANDERHOFF, DAVID JAMES
7 ASH ST                               1943 NORTH AVE                          195 GREEN LANE
PARK FOREST, IL 60466                  WAUKEGAN, IL 60087                      P.O. BOX 41586
                                                                               EUGENE, OR 97404
VANDERMEER, BARBARA    Case 20-10766-BLS   Doc 6SHERI
                                     VANDERPOOL,   Filed
                                                      L. 04/07/20   Page 1832 of 1969
                                                                         VANDERPOOL, SKYLER C.
ADDRESS ON FILE                       7895 HWY 140 E                      ADDRESS ON FILE
                                      BUCHANAN, TN 38222




VANDERPOOL, SKYLER                    VANDERVERE, NATASHA                 VANDERWOUDE, KRISTIN MARIE
ADDRESS ON FILE                       2302 GIDEON AVE                     8918 BRANTON AVE
                                      ZION, IL 60099                      HIGHLAND, IN 46322




VANDEVELDE, LINDA                     VANDEVER, TINA                      VANDIVER, ARIN
512 SWANK STREET                      28 MEADOWBROOKE DR                  1333 WAGNER RD
GALVA, IL 61434                       TROY, IL 62294                      PORTER, IN 46304




VANDOM, DAWN R.                       VANDORN, DONNA                      VANDYKE, JARED
ADDRESS ON FILE                       807 ROCK HILL DR                    P.O. BOX 1381
                                      RED BUD, IL 62278                   LOGANDALE, NV 89021




VANDYKE, LESA K.                      VANESSA B.GADDY                     VANESSA COX FOR CORBIN COX
ADDRESS ON FILE                       1306 BIG MILL RD                    175 STAGE RD
                                      WILLIAMSTON, NC 27892               REAGAN, TN 38368




VANESSA GOMEZ                         VANESSA MAIN                        VANESSA MANCINAS
ADDRESS ON FILE                       210 S. WEST ST                      6530 COLUMBUS ROAD
                                      KNOXVILLE, IL 61448                 DEMING, NM 88030




VANESSA MATHEWS                       VANESSA MENDEZ                      VANESSA NIXON
2698 MT PLEASANT RD                   3233 CORNELL AVE                    ADDRESS ON FILE
GREENVILLE, AL 36037                  BIG SPRING, TX 79720-0000




VANESSA WEATHERS                      VANESSA WILLIAMS                    VANFLEET, JANET L.
1506 W 107TH ST                       1503 PARKSIDE DRIVE                 954 MULBERRY ST
CHICAGO, IL 60643                     BOLINGBROOK, IL 60490               GALESBURG, IL 61401




VANFOSSEN, GREGORY                    VANFOSSON, CRISTAL                  VANGILDER, SHANNON N.
P.O. BOX 15                           ADDRESS ON FILE                     ADDRESS ON FILE
TUSCARAWAS, OH 44682




VANGRIMBERGEN MEGAN                   VANGUARD GROUP                      VANGUARD GROUP
181 W 400 N                           455 DEVON PARK DRIVE                VANGUARD P.O. BOX 1110
TOOELE, UT 84074                      WAYNE, PA 19087                     VALLEY FORGE,, PA 19482-1110
VANHAM, LEAH L.         Case 20-10766-BLS   DocANGELA
                                      VANHOOSE, 6 Filed
                                                      D. 04/07/20   Page 1833 of 1969
                                                                         VANHOOSE, ANGELA D.
ADDRESS ON FILE                        ADDRESS ON FILE                    ADDRESS ON FILE




VANHOOSE, DAWN N.                      VANHOOSE, JAYMEE S.                VANHOOSE, JUDY S.
ADDRESS ON FILE                        124 MINERAL SPRINGS RD             ADDRESS ON FILE
                                       FORT GAY, WV 25514




VANHOOSE, MARTHA D.                    VANHOOTEGEM, DIANE F.              VANHORN, MARY C.
1256 FIVE FORKS ROAD                   522 EDWARDS AVE                    ADDRESS ON FILE
LOUISA, KY 41230                       GALESBURG     IL, IL 61401




VANKOMEN CINDY                         VANLENTE, SCOTT L                  VANMASTEN, DIANE L.
7809 N BOULDER DR                      974 ANGELS LANDING TRAIL           350 PEARL ST APT 1809
LAKE POINT, UT 84074                   MESQUITE, NV 89034                 EUGENE, OR 97401




VANMETER, AMBER                        VANMETER, TERRY L.                 VANN, BARRY
207 WOODSIDE DR                        508 N MAIN ST                      9438 US HWY 258
DRESDEN, TN 38225                      CARRIER MILLS, IL 62917            MURFREESBORO, NC 27855




VANNATTA, MARY                         VANNOY, DARRELYN                   VANOVA, BARBARA
9221 HENSEL ST SW                      109 WATERHOLE WAY                  11795 SW TUALATIN RD 9
NAVARRE, OH 44662                      GRANTSVILLE, UT 84029              TUALATIN, OR 97062




VANOVER, ANNA M.                       VANOY JOHN                         VANOY, ELIZABETH
ADDRESS ON FILE                        11432 S WALLACE STREET             1466 PAMI LANE
                                       CHICAGO, IL 60628                  SANTA CRUZ, CA 95062




VANSICKLE, RUTH                        VANSKIKE, BRENDA L.                VANTAGE MEDICAL GROUP
204 BLACKBERRY AVENUE                  116 NORTH 3RD ST APT 6             2115 COMPTON AVE 301
LOUISA, KY 41230                       MONMOUTH, IL 61462                 CORONA, CA 92881




VANTAGE MEDICAL GROUP                  VANTAGE TECHNOLOGY, INC            VANVALKENBURG, DEBBIE
2115 COMPTON AVE. DEPT 100             P.O. BOX 428                       ADDRESS ON FILE
CORONA, CA 92881                       EFFINGHAM, IL 62401




VANVOOREN, AARON J.                    VANZANDT, ANGI K.                  VANZANDT, JAMES G
39 OAKVIEW RD                          ADDRESS ON FILE                    721 ANDERSON STREET
CARBONDALE, IL 62901-8126                                                 CARTERVILLE, IL 62918
VANZANDT, KAREN B.      Case 20-10766-BLS   DocINC
                                      VAPOTHERM 6 Filed 04/07/20   Page 1834 of 1969
                                                                        VAPOTHERM INC
ADDRESS ON FILE                       P.O. BOX 74006627                 P.O. BOX 74008627
                                      CHICAGO, IL 60674-7400            CHICAGO, IL 60674-7400




VAPOTHERM INC.                        VARACKY, PAULA A.                 VARELA, NAOMI
22 INDUSTRIAL DRIVE, STE 1            384 THURSTON NW                   21 VARELA LN
EXETER, NH 03833                      CANAL FULTON, OH 44614            LAS VEGAS, NM 87701




VARGAS MARIA                          VARGAS, ANGELIA                   VARGAS, CHANTAL
ADDRESS ON FILE                       ADDRESS ON FILE                   ADDRESS ON FILE




VARGAS, CHERYL L.                     VARGAS, ERIN                      VARGAS, GUSTAVO
ADDRESS ON FILE                       1782 S SEMINARY ST                13034 SEELEY AVE APT GE
                                      GALESBURG, IL 61401               BLUE ISLAND, IL 60406




VARGAS, JANIE                         VARGAS, LAURIA                    VARGAS, LORI
20 RIVERA RD SW                       3325 W 124TH PLACE                43 FLETCHER CT.
DEMING, NM 88030                      PALOS HEIGHTS, IL 60463           WATSONVILLE, CA 95076




VARGAS, MARIA L.                      VARGAS, RUTH E.                   VARGAS, VERONICA
ADDRESS ON FILE                       127 GRANT ST                      746 ARCE ST.
                                      WATSONVILLE, CA 95076             WATSONVILLE, CA 95076




VARGHESE, ANCY                        VARGHESE, SALI                    VARIABLE ANNUITY LIFE INSURANCE
ADDRESS ON FILE                       34420 N BOBOLINK TRL              COMPANY, THE
                                      GRAYSLAKE, IL 60030               5353 SCOTTS VALLEY DR
                                                                        STE A
                                                                        SCOTTS VALLEY, CA 95066



VARIHUE, CLARISSA O.                  VARIHUE, MICHAEL                  VARNELL N GAINES
ADDRESS ON FILE                       250 ROSE COURT                    1708 FLAGLER RD
                                      EUGENE, OR 97401                  AUGUSTA, GA 30909




VARNER, DEBRA K.                      VARNER, ELIZABETH J.              VARNER, NELDA
373 KNOX HWY 37                       5389 STATE RTE 516 NW             792 E ASPEN ST
WATAGA, IL 61488                      DOVER, OH 44622                   TOOELE, UT 84074




VARNER, SHARON K.                     VARNER, SHELBY                    VARNER, VICKI
1908 WEBSTER GROVE DRIVE              5389 STATE ROUTE 516              465 WOODS CT
MEBANE, NC 27302                      DOVER, OH 44622                   MESQUITE, NV 89027-0000
VARNEY, JOHNETA M.      Case 20-10766-BLS
                                      VARNEY,Doc   6
                                              LITIZA       Filed 04/07/20    Page 1835 of 1969
                                                                                  VARNOLD, DEBBIE A.
2690 ASA CREEK                          32781 E MILL ST                            407 W FIRST
LEANDER, KY 41222                       EUGENE, OR 97408-0000                      GALESBURG, IL 61401




VARNUM MICHELLE                         VARNUM, LINDA S.                           VARSITY INK, LLC
626 BLOOM ST                            ADDRESS ON FILE                            ATTN: BRENDA A RICHINS
RED BUD, IL 62278                                                                  926 MAIN ST
                                                                                   EVANSTON, WY 82930




VARUN CHAUHAN, M.D.                     VASAMED, INC                               VASCONCELLOS, PATRICIA A.
1 LAFAYETTE PLAISANCE                   7615 GOLDEN TRIANGLE DRIVE SUITE A         222 ROWARDENNAN DRIVE
APT 2011                                EDEN PRAIRE, MN 55344                      BEN LOMOND, CA 95005
DETROIT, MI 48207




VASCULAR ACCESS TEACHING AIDS, INC      VASCULAR SOLUTIONS INC                     VASCULAR SOLUTIONS INC
308 S. SEQUOIA PKWY                     6464 SYCAMORE COURT N                      P.O. BOX 1178
CANBY, OR 97013                         MAPLE GROVE, MN 55369                      MAPLE GROVE, MN 55311




VASCULAR TECHNOLOGY INC                 VASQUEZ GARCIA, JUANA                      VASQUEZ OLGA M
12 MURPHY DRIVE                         215 54TH ST                                1855 HIGH STREET
NASHUA, NH 03062                        SPRINGFIELD, OR 97478                      BLUE ISLAND, IL 60406




VASQUEZ, AMANDA                         VASQUEZ, BELINDA                           VASQUEZ, CYNTHIA
2507 CHEYENNE DR                        1005 CHERRY STREET                         108 N 24TH ST
BIG SPRING, TX 79720                    COLORADO CITY, TX 79512                    LAMESA, TX 79331




VASQUEZ, JORGE                          VASQUEZ, LISETTE                           VASQUEZ, MARLA
49 BLANCA LANE 902                      2706 HEBRON AVE                            ADDRESS ON FILE
WATSONVILLE, CA 95076                   APT C
                                        ZION, IL 60099




VASQUEZ, MARY L.                        VASQUEZ, RACHEAL                           VASQUEZ, RUBEN A.
ADDRESS ON FILE                         15424 BURWOOD DR                           96 SANDALWOOD AVE
                                        VICTORVILLE, CA 92394                      SILVER CITY, NM 88061




VASQUEZ, SIERRA M.                      VASQUEZ,ROSE                               VASSAR & ASSOCIATES LLC
P.O. BOX 1233                           P.O. BOX 126                               VA ESCROW
BLUE RIDGE, GA 30513                    CHACON, NM 87713                           2730 CENTENNIAL RD
                                                                                   TOLEDO, OH 43617




VASSAU, MARY                            VATE, INA                                  VATOLE, JASON
3775 GRAND AVE                          3255 TIG KNIGHT ROAD                       20 SOUTH WILLIAMS ST
HERITAGE WOODS                          LOGANVILLE, GA 30052                       COTTAGE HILLS, IL 62018
GURNEE, IL 60031
VA-TRIWEST PCCC          Case 20-10766-BLS
                                       VATTER,Doc 6 Filed 04/07/20
                                              MARGARET               Page 1836 ofCANDICE
                                                                          VAUGHN, 1969
P.O. BOX 981646                         ADDRESS ON FILE                   1085 HOLIDAY DR
EL PASO, TX 79998-1646                                                    FORREST CITY, AR 72335




VAUGHN, CONNIE S.                       VAUGHN, DANIEL C.                 VAUGHN, DOUGLAS G.
ADDRESS ON FILE                         344 ST JULIAN PL                  6242 HWY. 124
                                        NORTH AUGUSTA, GA 29860           MCKENZIE, TN 38201




VAUGHN, HANNAH M.                       VAUGHN, HEATHER W.                VAUGHN, JASON P.
ADDRESS ON FILE                         ADDRESS ON FILE                   14026 DAHLIA DRIVE
                                                                          VICTORVILLE, CA 92392




VAUGHN, JOSEPH P.                       VAUGHN, KRISTIN K.                VAUGHN, LENORA I.
8428 WENDELL CREEK DR                   12217 SARAVILLE RD                145 ONYX PL
SAINT JACOB, IL 62281                   MARION, IL 62959                  ATHENS, GA 30605-4397




VAUGHN, LORI A.                         VAUGHN, MARJORIE J.               VAUGHN, MARY L.
ADDRESS ON FILE                         1125 N 58TH SP 25                 621 EAST PARK AVE
                                        SPRINGFIELD, OR 97478             WEST HELENA, AR 72390




VAUGHN, MARY                            VAUGHN, RYAN M.                   VAUGHN, SENTERIA S.
210 WILCOX ST                           507 S AIKMAN ST                   ADDRESS ON FILE
ZEIGLER, IL 62999                       MARION, IL 62959




VAUGHN, SHELBI L.                       VAUGHN, STEPHANIE                 VAUGHN, TOM
2709 LYNN                               644 HIGHWAY 1                     CHAPTER 13 STANDING TRUSTEE
BIG SPRING, TX 79720                    LOUISA, KY 41230                  P.O. BOX 588
                                                                          MEMPHIS, TN 38101-0588




VAUGHN, TONY                            VAUGHN, TROY                      VAUGHN, WESLEY
ADDRESS ON FILE                         12401 VILLA WAY                   2345 LIFE CUT OFF RD
                                        JOHNSTON CITY, IL 62951           LEXINGTON, TN 38351




VAUGHN, YVONNE                          VAUGHNS ROOFING, INC.             VAUGHT, JAMIE
ADDRESS ON FILE                         12800 HICKORY HILLS LANE          3201 EDGEWOOD AVE
                                        MARION, IL 62959                  GRANITE CITY, IL 62040




VAUPEL JULIE R                          VAUPEL, JASON                     VAUPEL, JULIE R.
981 E LOSEY ST                          17675 CO RD 1950 N                981 E LOSEY ST
GALESBURG, IL 61401                     EWING, IL 62836-0000              GALESBURG, IL 61401
                        Case 20-10766-BLS
VAUPELL MOLDING & TOOLING             VAVEAO,Doc    6 Filed 04/07/20
                                               KIRISIMASI              Page 1837 of 1969
                                                                            VAVRECAN, CAROLYN
NV 6116                               378 E 1370 N                          1800 DEMING STATION RD NW
PO 1450                               TOOELE, UT 84074                      DEMING, NM 88030
MINNEAPOLIS, MN 55485-6116




VAWTER CONSULTING LLC                 VAWTER, CHANDA                        VAZQUEZ DE LA O, GUADALUPE
1930 VILLAGE CIRCLE CENTER 3-1883     1140 WASHINGTON BLVD                  ADDRESS ON FILE
LAS VEGAS, NV 89134                   BUSHNELL, IL 61422




VAZQUEZ, CANDY                        VAZQUEZ, DELIA                        VAZQUEZ, JOANN
ADDRESS ON FILE                       1034 HILL WOOD CIRCLE                 1796 CAL YOUNG RD
                                      ROUND LAKE BEACH, IL 60073            EUGENE, OR 97401




VAZQUEZ, JOSE VICENTE                 VAZQUEZ, KASSANDRA                    VAZQUEZ, MARITZA
906 GODFREY AVE NE                    ADDRESS ON FILE                       609 S. JACKSON ST.
FORT PAYNE, AL 35967-2821                                                   WAUKEGAN, IL 60085




VCKB MANAGEMENT LTD                   VEALE, SENTRICE                       VECCHETTI ROBERT A
3200 PARKWAY                          2700 MERIDIAN DR                      10 SHILOH CT
BIG SPRING, TX 79720                  GREENVILLE, NC 27834                  EDWARDSVILLE, IL 62025




VECSEY, BRETT                         VECTOR SECURITY SYSTEMS               VEDDER, WILLIAM
735 E. 36TH PLACE                     P.O. BOX 89462                        2416 RAY BLUFF RD
EUGENE, OR 97405                      CLEVELAND, OH 44101                   MILLINGTON, TN 38053-0212




VEGA GLORIA E                         VEGA, ALEXIS                          VEGA, OLIVIA
49 S ELMWOOD AVE                      ADDRESS ON FILE                       P.O. BOX 1175
WAUKEGAN, IL 60085                                                          WEST MEMPHIS, AR 72303




VEGA, ZULEIKA                         VEGA-ROGERS, ANGELA M.                VEGAS PROPANE
1215 E ORANGE                         ADDRESS ON FILE                       4610 EAKER STREET
DEMING, NM 88030                                                            N LAS VEGAS, NV 89081




VEGA-WYATT, SHERI                     VEIGEL, ELPHA B.                      VEIT, DAWN M.
1515 FRIENDSHIP SCHOOL RD             4515 22ND ST NW                       1254 PLUM TREE CT. A2
ANNA, IL 62906                        APT 121                               SCHAUMBURG, IL 60193
                                      CANTON, OH 44708




VELA, APRIL                           VELA, BELINDA                         VELA, DAWN
12102 MAPLE AVE                       1803 CHOCTAW DR.                      1014 PINEVIEW DRIVE
BLUE ISLAND, IL 60406                 BIG SPRING, TX 79720                  JOLIET, IL 60432
VELA, DELIA              Case 20-10766-BLS    Doc 6
                                       VELA, FELIPE        Filed 04/07/20   Page 1838   of 1969
                                                                                 VELA, KRISTEN
7312 WHITE OAK AVE                      833 N 100 W                              510 NE 8TH ST
HAMMOND, IN 46324                       TOOELE, UT 84074                         BIG SPRING, TX 79720




VELASCO, MAE S.                         VELASCOS CATERING                        VELASQUES, ROBERT
ADDRESS ON FILE                         NINFA VELASCO                            202 W MISSISSIPPI ST
                                        604 HIGHLAND                             JONESBORO, IL 62952
                                        BIG SPRING, TX 79720




VELASQUEZ, CYNTHIA T.                   VELASQUEZ, GASPAR                        VELASQUEZ, GUADALUPE
ADDRESS ON FILE                         P.O. BOX 603                             ADDRESS ON FILE
                                        COLLINSVILLE, AL 35961-0603




VELASQUEZ, JESSICA                      VELASQUEZ, SONIA D.                      VELAZCO, ALYSSA
1230 TAMARA CT                          523 ROGGE ST P.O. BOX 1555               2019 LORI DR.
HOLLISTER, CA 95023                     WATSONVILLE, CA 95077                    DEMING, NM 88030




VELAZQUEZ, ARTURO                       VELAZQUEZ, ERASMO                        VELEZ, ALMA
2537 COLLINS ST                         2521 N LEWIS AVE                         9 MONTEREY VISTA DR
BLUE ISLAND, IL 60406                   WAUKEGAN, IL 60087                       WATSONVILLE, CA 95076




VELEZ, CLAUDIA                          VELEZ, ERICA J.                          VELEZ, EVELYN I.
503 N BUTRICK ST                        ADDRESS ON FILE                          1945-A LEXINGTON AVE
WAUKEGAN, IL 60085                                                               GREAT LAKES, IL 60088




VELEZ, KIMBERLY M.                      VELLIODIS, JESSICA                       VELTMAN, JENNIFER L.
24 LARKMOOR DR                          2440 D STREET                            ADDRESS ON FILE
GLEN CARBON, IL 62034                   SPRINGFIELD, OR 97477




VENABLE, CAITLIN J.                     VENABLE, ROGER L.                        VEND WEST SERVICES, INC
225 JENKINS DR                          2516 COUNTY RD 835                       P.O. BOX 1137
HENAGAR, AL 35978-9801                  FORT PAYNE, AL 35968-0000                COOS BAY, OR 97420




VENEGAS RADILLO, LETICIA                VENICE BRANHAM (CNO)                     VENTECH MEDICAL, INC
ADDRESS ON FILE                         TRIAL                                    100 N. LAIRD LANE
                                        LEXINGTON, KY 40514                      WATSEKA, IL 60970




VENTIGAN, PATRICK C.                    VENTO, ROBERT A.                         VENTRELLA, MARY MARGARET A.
12852 SOUTH APPLE LANE                  101 CREEKSIDE CROSSING                   16741 S 89TH AVENUE
ALSIP, IL 60803                         STE 1700-108                             ORLAND HILLS, IL 60487
                                        BRENTWOOD, TN 37027
VENTURA, MARGARET A.     Case 20-10766-BLS   Doc
                                       VENTURE    6 Filed 04/07/20
                                               EXPRESS               Page 1839 of 1969
                                                                          VENTURINI, ANGELO
ADDRESS ON FILE                         131 INDUSTRIAL BLVD                655 POINT PLEASANT RD
                                        LAVERGNE, TN 37086                 BUCHANAN, TN 38222-3691




VENTURO MARY F                          VENUTO, NICK                       VEOLIA ES TECHNICAL SOL, LLC
45 BAY RIDGE DR                         7018 KNIGHT AVE NW                 ELECTRONIC RECYCLING DIV
GOREVILLE, IL 62939                     CANTON, OH 44708                   28900 NETWORK PLACE
                                                                           CHICAGO, IL 60673-1289




VERA, STEPHANIE J.                      VERATHON INC                       VERATHON INC
ADDRESS ON FILE                         20001 NORTH CREEK PARKWAY          P.O. BOX 935117
                                        BOTHELL, WA 98011-8218             ATLANTA, GA 31193




VERATHON INC                            VERATHON INC                       VERATHON INC.
P.O. BOX 935117                         PO BOX 935117                      P.O. BOX 935117
ATLANTA, GA 31193-5117                  ATLANTA, GA 31193                  ATLANTA, GA 31193-5117




VERATHON MEDICAL INC                    VERATHON MEDICAL                   VERATHON, INC.
P.O. BOX 935117                         P.O. BOX 935117                    POB 935117
ATLANTA, GA 31193-5117                  ATLANTA, GA 31193-5117             ATLANTA, GA 31193-5117




VERDELL, KIMBERLY P.                    VERDIA, RAQUEL                     VERDUZCO, JESUS
1811 BYNUM RD                           331 E BEACH ST 3                   1506 N MARTIN AVE
DRESDEN, TN 38225                       WATSONVILLE, CA 95076              WAUKEGAN, IL 60085




VERGEL, AARON                           VERHEYEN, MELANIE S.               VERHOEVEN, KENNETH
10680 W WOODLAND AVE                    189 KNOX ROAD 1400N                481 COUNTY ROAD 9025
BEACH PARK, IL 60087                    GALESBURG, IL 61401                FORT PAYNE, AL 35967




VERICEL CORPORATION                     VERICEL CORPORATION                VERICOR, LLC
24 FRANK LLOYD WRIGHT DR                P.O. BOX 200204                    703 WESTERN AVE
LOBBY K                                 PITTSBURG, PA 15251-0204           HOLMEN, WI 54636-9787
ANN ARBOR, MI 48105




VERIDIKAL HEALTHCARE SOLUTIONS, LLC     VERIFY                             VERIFY
16004 SW TUALATIN-SHERWOOD ROAD         206 SOUTH SIXTH STREET             6 LAWRENCE SQUARE
UNIT 505                                SPRINGFIELD, IL 62701              SPRINGFIELD, IL 62704
SHERWOOD, OR 97140-8521




VERINDA, MAGEE-DAWSON                   VERISYS CORPORATION                VERIZON COMMUNICATIONS INC
18141 CHERRYWOOD LN                     1001 N FAIRFAX ST                  1095 AVE OF THE AMERICAS
HOMEWOOD, IL 60430                      STE 640                            NEW YORK, NY 10036
                                        ALEXANDRIA, VA 22314-1798
                        Case
VERIZON CONNECT FLEET USA LLC20-10766-BLS
                                      VERIZONDoc   6 Filed
                                               CONNECT FLEET 04/07/20
                                                             USA LLC    Page 1840  ofCREDIT
                                                                             VERIZON  1969 INC
P O BOX 347472                        P.O. BOX 347472                         6929 N LAKEWOOD AVE
PITTSBURGH, PA 15251-4472             PITTSBURGH, PA 15251-4472               TULSA, OK 74117




VERIZON WIRELESS                      VERIZON WIRELESS                        VERIZON WIRELESS
ACCT 619608658-00002                  FORMERLY ALLTEL WIRELESS                P O BOX 25505
POB 660108                            P.O. BOX 660108                         LEHIGH VALLEY, PA 18002-5505
DALLAS, TX 75266-0108                 DALLAS, TX 75266-0108




VERIZON WIRELESS                      VERIZON WIRELESS                        VERIZON WIRELESS
P.O. BOX 25505                        P.O. BOX 25505                          P.O. BOX 660108
LEHIGH VALLEY, PA 18002               LEHIGH VALLEY, PA 18002-5505            DALLAS, TX 75266




VERIZON WIRELESS                      VERIZON WIRELESS                        VERIZON
P.O. BOX 660108                       PO BOX 25505                            P.O. BOX 4830
DALLAS, TX 75266-0108                 LEHIGH VALLEY, PA 18002                 TRENTON, NJ 08650-4830




VERLA LEACH                           VERLEY, NICOLE M.                       VERMAUX, MICHELLE
2816 SARATOGA ST                      616 1/2 E BUENA VISTA ST                1500 PLEASANT RIDGE
GRANITE CITY, IL 62040                BARSTOW, CA 92311                       MARYVILLE, IL 62062




VERMONT DEPARTMENT OF TAXES           VERMONT STATE TREASURERS OFFICE         VERN DALES WATER CENTER INC
133 STATE STREET                      UNCLAIMED PROPERTY DIVISION             3827 KIRBY AVE NE
MONTPELIER, VT 05633-1401             109 STATE STREET                        CANTON, OH 44705
                                      MONTPELIER, VT 05609-6200




VERN DUWELL                           VERNEDA, GILCHRIST                      VERNIER SALES & SERVICE INC
1460 G STREET                         12440 S BENCK DR                        6786 SUSEWIND LANE
SPRINGFIELD, OR 97477                 APT 202                                 WATERLOO, IL 62298
                                      ALSIP, IL 60803




VERNIER SALES & SERVICE INC           VERNON BEHNKEN                          VERNON JOHNSON MD
6786 SUSEWIND LANE                    ADDRESS ON FILE                         P.O. BOX 30
WATERLOO, IL 62298-0000                                                       BIG SPRING, TX 79721




VERNON MORSE                          VERONEAU, SAMANTHA                      VERONICA A SIERGEY
15 PARK LN                            363 WELLS LASSITER RD                   10530 S 81ST AVE
BIG FLATS, NY 14814-7953              JACKSON, TN 38301                       PALOS HILLS, IL 60465




VERONICA ARIZMENDI                    VERONICA MATLEY                         VERONICA RAMIREZ
220 MORNING GLORY RD                  900 W ASH ST                            1912 S TIN
CLINT, TX 79836-0000                  DEMING, NM 88030                        DEMING, NM 88030
VERONICA WEEKS           Case 20-10766-BLS   Doc
                                       VERONIKA   6 Filed 04/07/20
                                                HODGSON                   Page 1841 of 1969
                                                                               VERSAGE, JESSICA L.
548 CINDERLLA LOOP                      ADDRESS ON FILE                         ADDRESS ON FILE
EUGENE, OR 97404




VERSE, JAZMINA S.                       VERSITI, INC                            VERSYN, LINDA
12510 VINCENNES RD                      29779 NETWORK PLACE                     371 EAST 2ND STREET
BLUE ISLAND, IL 60406                   CHICAGO, IL 60673-1297                  BLUE RIDGE, GA 30513




VERTERANO, KAREN                        VERTIFLEX                               VERTIN, KAITLYN C.
ADDRESS ON FILE                         DEPT 3662                               25059 WEST PAWNEE LANE
                                        P.O. BOX 123662                         CHANNAHON, IL 60410
                                        DALLAS, TX 75312-3662




VERTOS MEDICAL INC                      VERZENI, RUDOLPH A.                     VERZOSA, JOBELYN P.
P.O. BOX 848901                         1010 DEERTRACK ROAD                     196 W OLMSTED LANE
LOS ANGELES, CA 90084-8901              WILLIAMSTON, NC 27892                   ROUND LAKE PARK, IL 60073




VERZOSA, RAUL A.                        VESCO, SHIRLEY                          VEST KAREN ANN
196 W OLMSTED LANE                      865 3RD ST SE                           9691 AL HIGHWAY 117
ROUND LAKE BEACH, IL 60073              NEW PHILADELPHIA, OH 44663-2311         VALLEY HEAD, AL 35989




VEST, RICHARD D.                        VESTAL, HAZEL                           VETERANS ADMIN OP ONLY
1241 BISCHOFF RD                        148 YOSHINO DR                          6900 N PECOS RD
GRANITE CITY, IL 62040                  JACKSON, TN 38301                       COMMUNITY CARE STE 1H110B
                                                                                N LAS VEGAS, NV 89086




VETERANS ADMINISTRATION                 VETERANS ADMINISTRATION                 VETERANS ADMINISTRATION
1030 JEFFERSON AVENUE                   2401 WEST MAIN ST                       300 VETERANS BLVD
MEMPHIS, TN 38104                       MARION, IL 62959                        BIG SPRING, TX 79720




VETERANS ADMINISTRATION                 VETERANS ADMINISTRATION                 VETERANS ASSISTANCE CTR OF LUNA
601 HWY 6 WEST                          P.O. BOX 7926                           COUNTY INC
IOWA,CITY, IA 52246                     MADISON, WI 53707                       4045 OVERHILL DR
                                                                                DEMING, NM 88030




VETERANS HONOR FLIGHT OF SO IL          VETERANS LEGACY                         VETERANS ON PARADE
10400 TERMINAL DR STE 200               POP BOX 11226                           P.O. BOX 344
MARION, IL 62959                        EUGENE, OR 97440                        MARION, IL 62959




VETTER, TIMOTHY                         VIAGER, MICHELLE L.                     VIBBERT, JONI
3 GINGER BEND                           ADDRESS ON FILE                         2706 WINTER LANE
GLEN CARBON, IL 62034                                                           MARION, IL 62959
VIC THE PICC             Case 20-10766-BLS
                                       VICARIO,Doc  6 J. Filed 04/07/20
                                                JAMES                       Page 1842  ofNICOLE
                                                                                 VICARIO, 1969 M.
1351 E PINE STREET                        ADDRESS ON FILE                         9604 MEADE AVE
SUITE F                                                                           OAK LAWN, IL 60453
LODI, CA 95240-0832




VICARTHUR, FACTORA                        VICENTE, RICHARD                        VICENZI, SAMANTHA N.
1301 GREENRIDGE DR NE                     335 CENTER ST                           ADDRESS ON FILE
MASSILLON, OH 44646-2582                  APT 101
                                          LOCK HAVEN, PA 17745-2740




VICK, REBECCA L.                          VICKERS, MICHELE                        VICKERS, MISTY
5170 HWY 382 W                            ADDRESS ON FILE                         860 SUNSET DR
ELLIJAY, GA 30540                                                                 FOREST HOME, AL 36030




VICKERS, WHITNEY N.                       VICKI A OMEARA                          VICKI BIRDITT
210 WOOD TRAIL CIR                        275 NORMANDY DR                         1126 S 5TH ST
MARION, AR 72364                          TAVERNIER, FL 33070-2736                MONMOUTH, IL 61462




VICKI SCATES                              VICKIE ONEILL                           VICKIE SANDERS
930 EDGE RD                               58 SANTA ANITA                          ADDRESS ON FILE
REAGAN, TN 38368                          MARYVILLE, IL 62062




VICKIS FLOWERS & GIFTS                    VICKROY, ASHLEY R.                      VICKS PLUMBING
P.O. BOX 2016                             ADDRESS ON FILE                         1701 NORTH 7TH STREET
RAINSVILLE, AL 35986                                                              ALPINE, TX 79830




VICTOR AGUADO CARMONA                     VICTOR CRUZ DBA VALUED MEDICAL CARE     VICTOR GONZALES
598 W VALLEY RD                           LLC                                     326 LANEY DR
LOGANTOWN, PA 17747                       1617 S TENNYSON ST                      FORREST CITY, AR 72336
                                          DEMING, NM 88030




VICTOR PENIX                              VICTOR VALLEY GLOBAL MEDICAL CENTER     VICTORIA BELANGER
1061 MEADOWBROOK LANE                     POBOX 844362                            P.O. BOX 879
LOUISA, KY 41230-0000                     LOS ANGELES, CA 90084-4362              LOGANDALE, NV 89021




VICTORIA CULLEN                           VICTORIA ERICSON                        VICTORIA KETTERLING
ADDRESS ON FILE                           248 N WESTVIEW DR                       ADDRESS ON FILE
                                          KNOXVILLE, IL 61448




VICTORIA LEGGE                            VICTORIA MEADOR                         VICTORIA MIRAMONTES
815 OAK ST                                109 E WEST ST                           P.O. BOX 2372
GALESBURG, IL 61401                       P.O. BOX 418                            MESQUITE, NV 89024
                                          ONEIDA, IL 61467
VICTORIA MOLLET         Case 20-10766-BLS    Doc
                                      VICTORIN,    6 B.Filed 04/07/20
                                                JIMMY                    Page 1843  ofELECTRONICS
                                                                              VICTORY  1969
205 BUCHANAN                            2505 COLLINS DRIVE APT A3              16701 NEWBURRY CROSSING
WATERLOO, IL 62298                      LAS VEGAS, NM 87701                    FLORISSANT, MO 63034




VICTORY ELECTRONICS                     VICTORY SIGN INDUSTRIES, LTD           VICTORY, JAIME H.
P.O. BOX 410753                         2109 LAFAYETTE ROAD                    457 JOLON DR
ST. LOUIS, MO 63141                     FORT OGLETHORPE, GA 30742-3770         WATSONVILLE, CA 95076




VICTORY, JUSTIN J.                      VIDAL, BARELA                          VIDAL, JOE J.
457 JOLON DR                            P.O. BOX 183                           1511 N EDWARDS
WATSONVILLE, CA 95076                   RAINSVILLE, NM 87736                   MIDLAND, TX 79701




VIDANT MEDICAL CENTER                   VIDAR SYSTEMS CORPORATION              VIDAURRI, JOHN R.
ATTN: PATHOLOGY DEPT                    365 HERNDON PARKWAY                    128 PIONEER ROAD
P.O. BOX 6028                           HERNDON, VA 20170                      WATSONVILLE, CA 95076
GREENVILLE, NC 27835-6028




VIDELKA MICHAEL J                       VIELWEBER, CAITLIN C.                  VIEMED
3015 FARMINGTON DR                      ADDRESS ON FILE                        202 N. LUKE STREET
LINDENHURST, IL 60046                                                          STE A
                                                                               LAFAYETTE, LA 70506




VIENNA TIMES                            VIERK NATIONAL SUPPLY, LLC             VIERNES, DEBRA D.
P.O. BOX 457                            2300 COMMONWEALTH AVE                  ADDRESS ON FILE
VIENNA, IL 62995                        NORTH CHICAGO, IL 60064




VIETH, ROBERT                           VIEVA, MASSIE                          VIEW ON MESQUITE MAGAZINE INC
512 PATTON DRIVE                        305 29TH ST NW                         VIEW ON MAGAZINE
TROY, IL 62294                          MASSILLON, OH 44647                    1405 CHAPARRAL DR
                                                                               MESQUITE, NV 89027




VIEYRA, LETICIA                         VIEYRA, VERONICA L.                    VIGIL DANTE
12803 IRVING                            12803 IRVING AVENUE                    P.O. BOX 381
BLUE ISLAND, IL 60406                   BLUE ISLAND, IL 60406                  MORA, NM 87732




VIGIL JR., DANIEL S.                    VIGIL, AMBERLEE                        VIGIL, ARNALDO
ADDRESS ON FILE                         ADDRESS ON FILE                        14811 SAINT LOUIS AVE.
                                                                               MIDLOTHIAN, IL 60445




VIGIL, CANDICE                          VIGIL, CONNIE                          VIGIL, FLAVIO
ADDRESS ON FILE                         ADDRESS ON FILE                        104 LEGION DR
                                                                               LAS VEGAS, NM 87701
VIGIL, JOEY              Case 20-10766-BLS     Doc 6
                                       VIGIL, KATIE       Filed 04/07/20   Page 1844    of 1969
                                                                                VIGIL, SELENA M.
503 LUGAR DEL PARAISO                   ADDRESS ON FILE                          ADDRESS ON FILE
LAS VEGAS, NM 87701




VIGIL, STEPHANIE D.                     VIGIL, TAYLOR                            VIGIL, THERESA S.
4038 STATE ROAD 68 P.O. BOX 1887        ADDRESS ON FILE                          ADDRESS ON FILE
RANCHOS DE TAOS, NM 87557




VIGIL, YVONNE & SAMMY D.                VIGILANT-SHANKS, SARAH                   VIGIL-BRITO, AMY A.
P.O. BOX 67324                          5013 180TH STREET                        2701 7TH ST SP 193
ALBUQUERQUE, NM 87193                   COUNTRY CLUB HILLS, IL 60478             LAS VEGAS, NM 87701




VIGUS, RONALD J.                        VILA, ELAINE                             VILLA, ALONSO
ADDRESS ON FILE                         84 OWL ROOST TRAIL                       ADDRESS ON FILE
                                        BLAIRSVILLE, GA 30512




VILLA, ALYSE                            VILLA, BRIANNA M.                        VILLA, DEIDRE E.
ADDRESS ON FILE                         422 S DIAMOND AVE                        6807 ASTER STREET
                                        DEMING, NM 88030                         SPRINGFIELD, OR 97478




VILLA, HOLLY                            VILLAGE OF ALSIP STREE FAIR              VILLAGE OF ALSIP
3520 N SWAN ST                          4500 W 123RD ST                          4500 W 123 STREET
SILVER CITY, NM 88061                   ALSIP, IL 60803                          ALSIP, IL 60803




VILLAGE OF ALSIP                        VILLAGE OF AVON                          VILLAGE OF CALUMET PARK
4500 W 123RD ST                         POB 77                                   12409 S. THROOP ST
ALSIP, IL 60803                         AVON, IL 61415                           CALUMET PARK, IL 60827




VILLAGE OF FOX LAKE                     VILLAGE OF GLEN CARBON                   VILLAGE OF GLEN CARBON
66 THILLEN DRIVE                        151 N MAIN ST                            P.O. BOX 757
FOX LAKE, IL 60020                      GLEN CARBON, IL 62034                    GLEN CARBON, IL 62034




VILLAGE OF GURNEE                       VILLAGE OF GURNEE                        VILLAGE OF GURNEE, THE
325 N OPLAINE                           P.O. BOX 2804                            325 N OPLAINE ROAD
GURNEE, IL 60031                        BEDFORD PARK, IL 60499-2804              GURNEE, IL 60031-2636




VILLAGE OF LINDENHURST                  VILLAGE OF LINDENHURST                   VILLAGE OF LINDENHURST
2301 E SAND LAKE ROAD                   2301 SAN LAKE RD                         430 S WELLWOOD AVE
LINDENHURST, IL 60046                   LINDENHURST, IL 60046                    LINDENHURST, NY 11757
VILLAGE OF NAVARRE       Case 20-10766-BLS
                                       VILLAGEDoc 6 Filed
                                              OF ROUND      04/07/20
                                                       LAKE BEACH      Page 1845  ofOF1969
                                                                            VILLAGE    ROUND LAKE
27 CANAL ST W                           1937 N MUNICIPAL WAY                 422 N CEDAR LAKE ROAD
NAVARRE, OH 44662                       ROUND LAKE BEACH, IL 60073           ROUND LAKE, IL 60073




VILLAGE OF ROUND LAKE                   VILLAGE OF SOUTH HOLLAND             VILLAGE OF WAYNE CITY
442 N CEDAR LAKE RD                     16226 WAUSAU AVENUE                  102 S MAINE
ROUND LAKE, IL 60073                    SOUTH HOLLAND, IL 60473              WAYNE CITY, IL 62895




VILLAGE OF WAYNE CITY                   VILLAGE OF WINTHROP HARBOR           VILLAGOMEZ, CINDY
P.O. BOX 176                            830 SHERIDAN ROAD                    ADDRESS ON FILE
WAYNE CITY, IL 62895                    WINTHROP HARBOR, IL 60096




VILLAGOMEZ, ESTELA                      VILLAGOMEZ, PHYLLIS L.               VILLALOBOS, AGUEDA
302 W 13TH ST                           3605 WEST 150TH STREET               5 PROGRESS DR
CHICAGO HEIGHTS, IL 60411               MIDLOTHIAN, IL 60445                 WATSONVILLE, CA 95076




VILLALOBOS, DENISE E.                   VILLALOBOS, JORGE                    VILLALOBOS, PEDRO F.
ADDRESS ON FILE                         ADDRESS ON FILE                      29268 ARROWHEAD AVE
                                                                             BARSTOW, CA 92311




VILLALOBOS, REINALDO                    VILLALOBOS, RUBEN                    VILLALOBOS, TATIANA
ADDRESS ON FILE                         25552 ASH ROAD                       508 N HARRISON ST APT 206
                                        BARSTOW, CA 92311                    ALPINE, TX 79830




VILLALOBOS, VANESSA E.                  VILLALOBOSDIAZ, FILIBERTO            VILLALOBOS-ESTRADA, JOSE HIGINIO
600 E RIMROCK RD SPC 4                  15303 ASHLAND AVE                    P.O. BOX 1344
BARSTOW, CA 92311                       HARVEY, IL 60426                     WATSONVILLE, CA 95077




VILLALUZ, JANETTE                       VILLALUZ, JANETTE                    VILLANEDA, BRIANA A.
ADDRESS ON FILE                         ADDRESS ON FILE                      P.O. BOX 10641
                                                                             SALINAS, CA 93912




VILLANUEVA, DANIELA D.                  VILLANUEVA, GRISELDA                 VILLANUEVA, RAUL J.
ADDRESS ON FILE                         415 1ST STREET WEST                  706 TAYLOR ST
                                        FORT PAYNE, AL 35967                 BAYARD, NM 88023




VILLAROMAN, LEO                         VILLAROSA, DANIEL M., MD             VILLARREAL ANDREA
3303 CRESTMONT DRIVE                    18064 WIKA RD STE 102                ADDRESS ON FILE
MIDLAND, TX 79707                       APPLE VALLEY, CA 92307
VILLARREAL, ANDREA        Case 20-10766-BLS    DocEDILIA
                                        VILLARREAL, 6 Filed   04/07/20
                                                         BERENICE        Page 1846  of 1969
                                                                              VILLARREAL, ELIZABETH
ADDRESS ON FILE                           ADDRESS ON FILE                      10391 W. YALE AVE.
                                                                               BEACH PARK, IL 60099




VILLARREAL, JEREMY                        VILLARREAL, JOSHUA                   VILLARREAL, MARISA
10391 W YALE                              2407 ELIM AVE                        403 E HARRIET ST
BEACH PARK, IL 60099                      ZION, IL 60099                       ALPINE, TX 79830




VILLASENOR, ALFREDO                       VILLASENOR, ALFREDO                  VILLASENOR, EDGAR
233 BERKSHIRE DR                          501 WEST CAMBRIA DR                  ADDRESS ON FILE
LAKE VILLA, IL 60046                      ROUND LAKE, IL 60073




VILLASENOR, ELVIRA                        VILLASENOR, HECTOR                   VILLATORRO, MARIA
3413 W 124TH ST                           ADDRESS ON FILE                      185 MOUNT VERNON
ALSIP, IL 60803                                                                BOAZ, AL 35957




VILLEGAS, CHRISTINA E.                    VILLEGAS, JESSE                      VILLEGAS, NANCY
9107 PEPPERWOOD TRAIL                     161 DESERT DR                        321 KELKIM ST.
ORLAND HILLS, IL 60487                    SPACE 58                             MESQUITE, NV 89027
                                          MESQUITE, NV 89024




VILLEGAS, RAUL                            VILLEGAS, ROCIO                      VILLEGAS, ROSA
P.O. BOX 1792                             ADDRESS ON FILE                      321 KELKIM ST
MESQUITE, NV 89024-0000                                                        MESQUITE, NV 89027




VILLEGAS-DOWNS, MICHELLE                  VILLENA, JEANETTE                    VILLILO, CLAUDIA S.
ADDRESS ON FILE                           3027 20TH PLACE                      18124 RITA ROAD 2D
                                          NORTH CHICAGO, IL 60064              TINLEY PARK, IL 60477




VILMER, ELAINE ROSE                       VINAS, AMELIA G.                     VINATIERI, HEATHYR N.
2145 LYNCH AVE                            ADDRESS ON FILE                      ADDRESS ON FILE
GRANITE CITY, IL 62040




VINCE GREEN - ITV                         VINCENT LAIRD                        VINCENT R BELL
5319 HOMESTEAD RD                         524 KENWICK DR                       907 W 4TH ST
FT WAYNE, IN 46814                        GALESBURG, IL 61401                  LOCK HAVEN, PA 17745




VINCENT T GREEN                           VINCENT, AMBAR                       VINCENT, BILLIE
ADDRESS ON FILE                           ADDRESS ON FILE                      ADDRESS ON FILE
VINCENT, DEBRA A.        Case 20-10766-BLS   Doc
                                       VINCENT,    6
                                                GARY       Filed 04/07/20   Page 1847  of LAIRD
                                                                                 VINCENT,  1969
6 MIMOSA DRIVE                          205 S 54TH ST 48                         524 KENWICK DR
GRANITE CITY, IL 62040                  SPRINGFIELD, OR 97478-6284               GALESBURG, IL 61401




VINCENT, MIQUELA J.                     VINCENT, STEVEN W.                       VINCIGUERRA, YVONNE M.
240 CENTER STREET                       131 W VIENNA                             2238 120TH ST
EAST CANTON, OH 44730                   ANNA, IL 62906                           BLUE ISLAND, IL 60406




VINEYARD ANDREA G                       VINEYARD JUSTIN                          VINING, ERICA J.
155 SUNRISE CIR                         155 SUNRISE CIR                          310 S CARBON ST
KEMMERER, WY 83101-5400                 KEMMERER, WY 83101-5400                  MARION, IL 62959




VINING, JAMES D.                        VINKEN, ELIZABETH                        VINSON CORY D
3451 WHITE MISSION DRIVE                118 COUNTY ROAD 426                      ADDRESS ON FILE
LAS VEGAS, NV 89129                     SWEETWATER, TX 79556




VINSON DAVIS                            VINSON, ALYSSA M.                        VINSON, CORY
205 RICKETS CREEK CIRCLE                32630 AMARYLIS AVE                       ADDRESS ON FILE
SUGAR TREE, TN 38380                    BARSTOW, CA 92311




VINSON, ERICA                           VINSON, JULIE S.                         VINSON, LAWRENCE A.
134 SOURWOOD DRIVE                      ADDRESS ON FILE                          277 GRANDDADDY HOLLOW RD
LOUISA, KY 41230                                                                 LOUISA, KY 41230




VINSON, MARK E.                         VINSON, SARAH                            VINSON, SHELLY J.
314 WEST MAIN ST.                       ADDRESS ON FILE                          ADDRESS ON FILE
GREENFIELD, TN 38230




VINSON, YOLANDA S.                      VINTAGE HEALTH RESOURCES, INC            VINYARD, MARY
142 AUTUMN PINE DR                      2032 EXETER RD, SUITE 2                  2640 STATE ST
FAIRVIEW HEIGHTS, IL 62208              GERMANTOWN, TN 38138                     GRANITE CITY, IL 62040




VINZON, ELOIDA M.                       VIOLA WILLIAMS                           VIOLA, FISHER
ADDRESS ON FILE                         519 FOREST DR                            8397 MILMONT ST
                                        GREENVILLE, AL 36037                     MASSILLON, OH 44646




VIOLA, FREEMAN                          VIOLETA LOBER                            VIP CORPORATE HOUSING
2588 PORTER DR                          P.O. BOX 1744                            18421 EDISON AVE
LAWRENCEVILLE, GA 30044-7117            MESQUITE, NV 89024-1744                  CHESTERFIELD, MO 63005
VIP JACKSON MAGAZINE       Case 20-10766-BLS   Doc 6JOSEFiled 04/07/20
                                         VIRAMONTES,                          Page 1848  of 1969
                                                                                   VIRAMONTES, LUPITA
P.O. BOX 1007                             ADDRESS ON FILE                           52 WILKIE AVE
SHELBYVILLE, TN 37162                                                               WATSONVILLE, CA 95076




VIRAMONTES, MINETTE S.                    VIRES, COURTNEY                           VIRES, TIMOTHY
ADDRESS ON FILE                           ADDRESS ON FILE                           ADDRESS ON FILE




VIRGIL JONES                              VIRGIL, TAWANNA                           VIRGIN VALLEY CAB LLC
764 WELLINGTON DR                         319 W SWANN ST                            5010 S VALLEY VIEW BLVD
MONROE, GA 30655-8498                     CHICAGO, IL 60609                         LAS VEGAS, NV 89118




VIRGIN VALLEY DISPOSAL INC                VIRGIN VALLEY WATER DISTRICT              VIRGIN, CONNIEANN
501 RIVERSIDE ROAD                        500 RIVERSIDE ROAD                        1842 I ST
MESQUITE, NV 89027                        MESQUITE, NV 89027                        SPRINGFIELD, OR 97477




VIRGINIA ANN DUNN                         VIRGINIA BOWDEN                           VIRGINIA DEPARTMENT OF TAXATION
4912 DARLINGTON CT                        184 LEATHERSTOCKING TRAIL                 1957 WESTMORELAND ST
NASHVILLE, TN 37211-5105                  MOUTNAING HOME, AR 72653                  RICHMOND, VA 23230




VIRGINIA JOHNSON                          VIRGINIA L JONES                          VIRGINIA M ANGELO
P.O. BOX 177                              1786 HWY 131                              P.O. BOX 205
TOPMOST, KY 41862-0177                    FORREST CITY, AR 72335                    CRYSTAL SPRINGS, MS 39059-0205




VIRGINIA PARHAM                           VIRGINIA ROBERTSON DBA DESERT AIR         VIRGINIA T MOORE
4663 PINE DR                              QUALITY INC                               3691 MACEDONIA RD
LOGANVILLE, GA 30052                      P.O. BOX 64                               UNION POINT, GA 30669-1625
                                          MESILLA PARK, NM 88047




VIRGO JULIE A                             VIRGO SERVICE COMPANY LLC                 VIRIGINIA WOODROW
204 ZIMMERMAN ST                          951 YAMATO RD, STE 160                    961 E FREMONT ST
CARTERVILLE, IL 62918                     BOCA RATON, FL 33431                      GALESBURG, IL 61401




VIRQUEZ & ASSOCIATES                      VIRRE LYNNE L                             VIRTUAL IMAGING
5430 JIMMY CARTER BLVD                    300 HAZELWOOD DR                          5600 BROKEN SOUND BLVD
STE 216                                   LINDENHURST, IL 60046                     BOCA RATON, FL 33487-0000
NORCROSS, GA 30093




VIRTUAL MEDICAL STAFF, LLC                VIRTUAL RADIOLOGIC CORPORATION            VIRTUAL RADIOLOGIC PROFESSIONALS OF
2655 NORTHWINDS PARKWAY                   25983 NETWORK PLACE                       MINNESOTA, PA
104 SEVENTH STREET                        CHICAGO, IL 60673-1259                    25983 NETWORK PLACE
ALPHARETTA, GA 30005                                                                CHICAGO, IL 60673-1259
                       Case 20-10766-BLS
VIRTUAL RADIOLOGIC PROFESSIONALS     VIRTUALDoc   6 Filed 04/07/20
                                             RADIOLOGIC                   Page 1849  ofRADIOLOGIC
                                                                               VIRTUAL  1969
25983 NETWORK PLACE                  25983 NETWORK PLACE                        PROFESSIONS OF MINNESOTA
CHICAGO, IL 60673-1259               CHICAGO, IL 60673-1259                     25983 NETWORK PLACE
                                                                                CHICAGO, IL 60673-1259




VISE, ERIC R.                         VISHNU MADIREDDY, MD                      VISION DATA SPACES
ADDRESS ON FILE                       15542 CATALINA CT                         18425 KANIS ROAD
                                      ORLAND PARK, IL 60462-0000                LITTLE ROCK, AR 72223




VISION NASHVILLE COOL SPRINGS LLC     VISION PROFESSIONAL SERVICES, LLC         VISION SERVICE PLAN INSURANCE
HILTON GARDEN INN                     P.O. BOX 734931                           COMPANY
9150 CAROTHERS PKWY                   DALLAS, TX 75373-4931                     P.O. BOX 742788
FRANKLIN, TN 37402                                                              LOS ANGELES, CA 90074-8001




VISIONEM, INC                         VISIPLEX INC                              VIST, AUDREY
DBA TCAR EDUCATION PROGRAMS           1287 BARCLAY BOULEVARD                    220 STANTON DR
P.O. BOX 930330                       BUFFALO GROVE, IL 60089                   BUFFALO GROVE, IL 60089
ATLANTA, GA 31193-0330




VISTA HEALTH F/K/A VICTORY / ST       VISTA HEALTH MEDICAL STAFF                VISTA HEALTH SYSTEM
THERESE ENTERPRISES INC               1324 N SHERIDAN ROAD                      ENTITY 0186
1324 N SHERIDAN RD                    WAUKEGAN, IL 60085                        1324 N. SHERIDAN RD
WAUKEGAN, IL 60085                                                              WAUKEGAN, IL 60085




VISTA IMAGING ASSOCIATES              VISTA LINDENHURST MOB LLC                 VISTA LINDENHURST MOB
P.O. BOX 8453                         DEPT 9527                                 111 S WASHINGTON AVENUE
CAROL STREAM, IL 60197                P.O. BOX 160                              SUITE 202
                                      HOPKINS, MN 55343                         PARK RIDGE, IL 60068




VISTA LINDENHURST MOB                 VISTA LINDENHURST MOB                     VISTA LINDENHURST MOB
120 WEST 22ND STREET                  2031 GRAND AVENUE                         2650 WARRENVILLE ROAD
OAK BROOK, IL 60523                   LINDENHURST, IL 60046                     SUITE 280
                                                                                DOWNERS GROVE, IL 60515




VISTA LINDENHURST MOB                 VISTA MEDICAL CENTER EAST                 VISTA MEDICAL STAFF
3 SOUTH GREENLEAF                     ATTN: KIM SCHULER                         1324 N SHERIDAN ROAD
SUITE J                               2145 CHENAULT DRIVE, SUITE 100            WAUKEGAN, IL 60085
GURNEE, IL 60031                      CARROLLTON, TX 75006




VISTA PHYSICIAN SEARCH & CONSULTING   VISTACOM                                  VISTALAB TECHNOLOGIES INC.
9910 WEST LAYTON                      9824 WHITHORN DR                          2 GENEVA ROAD
GREENFIELD, WI 53228                  HOUSTON, TX 77095                         BREWSTER, NY 10509




VISTAS HOAPICE SERVICES               VITAL CARE INDUSTRIES INC                 VITAL CARE INDUSTRIES INC
3046 CORPORATE WAY                    7650 WEST 185TH ST, STE C                 7650 WEST 185TH ST, STE C
MIRAMAR, FL 33025                     TINELY PARK, IL 60477-6290                TINLEY PARK, IL 60477-6290
VITAL CARE REPS INC      Case 20-10766-BLS    DocREPS
                                       VITAL CARE 6 INC
                                                      Filed 04/07/20        Page 1850   of 1969
                                                                                 VITAL CARE REPS INC
18470 TOMPSON COURT                     7650 W 185 ST                             7650 WEST 185TH ST
SUITE 1-B                               TINLEY PARK, IL 60477                     TINLEY PARK, IL 60477
TINELY PARK, IL 60477




VITAL CARE REPS INC                     VITAL CARE REPS INC                       VITAL CARE REPS
7650 WEST 185TH ST, STE C               7650 WEST 185TH ST, STE C                 7650 W 185TH ST
TINELY PARK, IL 60477-6290              TINLEY PARK, IL 60477-6290                STE C
                                                                                  TINLEY PARK, IL 60477




VITAL HOSPITAL SYSTEMS I                VITAL RECORDS CONTROL - DEST              VITAL RECORDS CONTROL - SCAN
P.O. BOX 11750                          DEPT 5874                                 DEPT 5874
CLAYTON, MO 63105                       P.O. BOX 11407                            P.O. BOX 11407
                                        BIRMINGHAM, AL 35246-5874                 BIRMINGHAM, AL 35246-5874




VITAL RECORDS CONTROL OF AL             VITAL RECORDS CONTROL OF AL               VITAL RECORDS CONTROL OF AL, LLC
DEPT 5874                               P.O. BOX 11407 DEPT 5874                  DEPT 5874
P.O. BOX 11407                          BIRMINGHAM, AL 35246-5874                 P.O. BOX 11407
BIRMINGHAM, AL 35246-5874                                                         BIRMINGHAM, AL 35246-5874




VITAL RECORDS CONTROL OF AR             VITAL RECORDS CONTROL OF ARKANSAS         VITAL RECORDS CONTROL OF VA
DEPT 5874                               INC.                                      DEPT 5874
P.O. BOX 11407                          DEPT 5874                                 P.O. BOX 11407
BIRMINGHAM, IL 35246-5874               P.O. BOX 11407                            BIRMINGHAM, AL 35246-5874
                                        BIRMINGHAM, AL 35246-5874



VITAL RECORDS CONTROL OF VA             VITAL RECORDS CONTROL OF VIRGINIA         VITAL RECORDS CONTROL OF VIRGINIA
P.O. BOX 13057                          DEPT 5874                                 P.O. BOX 11407
MAUMELLE, AR 72113                      P.O. BOX 11407                            DEPT. 5874
                                        BIRMINGHAM, AL 35246-5874                 BIRMINGHAM, AL 35246-5874




VITAL RECORDS CONTROL OF VIRGINIA       VITAL RECORDS CONTROL                     VITAL RECORDS CONTROL
PO BOX 13057                            868 MT MORIAH RD                          868 MT MORIAH ROAD
MAUMELLE, AR 72113                      MEMPHIS, TN 38117                         MEMPHIS, TN 38117




VITAL RECORDS CONTROL                   VITAL RECORDS CONTROL                     VITAL RECORDS HOLDINGS LLC
DEPT 5874                               PO BOX 11407                              5400 MELTECH BLVD, STE 101
P.O. BOX 11407                          BIRMINGHAM, AL 35246-5874                 MEMPHIS, TN 38117
BIRMINGHAM, AL 35246-5874




VITAL RECORDS HOLDINGS LLC              VITAL SCAN LLC                            VITAL STATISTICS UNIT
DEPT 5874                               DEPT 5874                                 P.O. BOX 12040
P.O. BOX 11407                          P.O. BOX 11407                            AUSTIN, TX 78711-2040
BIRMINGHAM, AL 35246-5874               BIRMINGHAM, AL 35246-5874




VITAL, RAMONA J.                        VITALANT                                  VITALCOR, INC
ADDRESS ON FILE                         P.O. BOX 53022                            100 E CHESTNUT AVE
                                        PHOENIX, AZ 85072-3022                    WESTMONT, IL 60559
VITALE, JASPER S.       Case 20-10766-BLS    Doc
                                      VITALITEC INTL6INC.Filed 04/07/20   Page 1851  of 1969
                                                                               VITALSCAN LLC
1511 GEDERN DRIVE                        10 CORDAGE PARK CIRCLE                868 MT MORIAH RD
COLUMBIA, IL 62236                       SUITE 200                             VITAL RECORDS CONTROL
                                         PLYMOUTH, MA 02360                    MEMPHIS, TN 38117




VITALWARE, LLC                           VITAS HEALTHCARE CORP                 VITAS HEALTHCARE
1200 CHESTERLEY DRIVE                    CLAIMS AND ACCTS PAY                  ATTN: JULIA KICIELINSKI
SUITE 200                                123 SE 3RD AVE 440                    8 EXECUTIVE DRIVE STE 150
YAKIMA, WA 98902                         MIAMI, FL 33131                       FAIRVIEW HEIGHTS, IL 62208




VITT, JEFFRY L.                          VITTORIO, GADDINI A.                  VIVA BIG BEND
42860 N JANETTE ST                       6328 DESERT LEAF ST 101               P.O. BOX 390
ANTIOCH, IL 60002                        NORTH LAS VEGAS, NV 89081             ALPINE, TX 79830




VIVA MCR                                 VIVA MEDICARE                         VIVAN KAHRIG
417 20TH STREET NORTH                    P.O. BOX 55209                        1864 HAZEL ST
BIRMINGHAM, AL 35203                     BIRMINGHAM, AL 35255                  APPLE CREEK, OH 44606




VIVIAN ELDRIDGE                          VIVIAN GARNER                         VIVIAN GOINS-PETTY CASH CUSTODIAN
9120 E BOYD RD                           3914 NEW CHURCH RD                    ADDRESS ON FILE
MT VERNON, IL 62864                      PINCKNEYVILLE, IL 62274-0000




VIVIANA ESTRADA CANO                     VIVIANOS CONCRETE                     VIVKI TODD
ADDRESS ON FILE                          P.O. BOX 283                          5940 TIMBERLAKE WILDERVILLE RD
                                         DIAMONDVILLE, WY 83116                LEXINGTON, TN 38351




VIZIENT, INC                             VIZZINIA, ANTHONY                     VLACOVSKY, GINA M.
75 REMITTANCE DRIVE, SUITE 1855          6801 PORTOBELLO RD NW                 1120 LINWOOD AVE SW
CHICAGO, IL 60675-1344                   FORT PAYNE, AL 35968-3048             CANTON, OH 44710




VLADIMIR, LEONOV                         VLAHOVICH, JOSEPH F.                  VLAHOVICH, TERRI A.
629 AMERICAN HOLLY PLACE                 ADDRESS ON FILE                       ADDRESS ON FILE
OVIEDO, FL 32765




VLAHOVICH, TERRI                         VLIES, PAMELA A.                      VM CARDIO VASCULAR INC
ADDRESS ON FILE                          ADDRESS ON FILE                       4235 CENTERGATE
                                                                               SAN ANTONIO, TX 78217




VM ELECTRONICS, LLC                      VMG HEALTH                            VN & ASSOCIATES
5080 NORTH KIMBERLY AVE                  P.O. BOX 674046                       5552 SW 88TH COURT
STE 112                                  DALLAS, TX 75267-4046                 GAINESVILLE, FL 32608
CHICAGO, IL 60630
VNUK, RICHARD              Case 20-10766-BLS     Doc 6 Filed 04/07/20
                                         VO & J INVESTMENTS             Page 1852
                                                                             VOCKE,of 1969
                                                                                    NICOLE
18 SERATOGA COURT                         1101 VALMEYER RD                   290 ANITA TERRACE
GRAYSLAKE, IL 60030                       COLUMBIA, IL 62236                 APT 203
                                                                             ANTIOCH, IL 60002-2466




VODEHNAL, NANCY J.                        VOEGELE, MARCUS                    VOEGTLE, DON J.
7124 MESQUITE DRIVE                       2528 WESTMORELAND DR               3341 PRAIRIE HILL ROAD
MOHAVE VALLEY, AZ 86440                   GRANITE CITY, IL 62040             BELLEVILLE, IL 62220




VOEGTLE, JACQUELINE E.                    VOGEL, CRYSTAL                     VOGEL, NIKKI
4 S VIRGINIA AVE                          ADDRESS ON FILE                    160 SUNRISE DRIVE
BELLEVILLE, IL 62220                                                         FREEBURG, IL 62243




VOGELER, GARY A.                          VOGELER, RAE ELLEN                 VOGHT, LINDA L
3120 DAVIS AVE                            3120 DAVIS AVE                     3509 CROWN POINT ST NW
GRANITE CITY, IL 62040                    GRANITE CITY, IL 62040             MASSILLON, OH 44646




VOGL, SUSAN                               VOGT, BLAINE E.                    VOGT, ELIZABETH
454 N CROOKED LAKE LN                     3143 PINE HILLS DR SW              2750 WAYNESBURG DR SE
LINDENHURST, IL 60046                     MASSILLON, OH 44646-3925           CANTON, OH 44707




VOGT, HOLLY                               VOGT, SHIRLEY                      VOGWILL, PATRICK D.
102 CIRCLE DRIVE UNIT 5B                  4608 BLACKJACK ROAD                ADDRESS ON FILE
RAINSVILLE, AL 35986                      RED BUD, IL 62278




VOIGHT RICHELLE                           VOJVODA, WALLACE                   VOLBERG, CAROLANN
1837 N BERRA BLVD F104                    5854 CALIENTE WAY                  ADDRESS ON FILE
TOOELE, UT 84074                          GILROY, CA 95020




VOLCANO CORPORATION                       VOLKER WINKLER, MD                 VOLKER, ASHLI
24250 NETWORK PLACE                       205A HOSPITAL DRIVE                1510 E. OLD COLORADO CITY HWY
CHICAGO, IL 60673-1242                    MCKENZIE, TN 38201                 BIG SPRING, TX 79720-8804




VOLKMAN, MARSHA L.                        VOLL, MATTHEW                      VOLLING, LISA A.
ADDRESS ON FILE                           1604 PATRIOTS PTE SE               ADDRESS ON FILE
                                          CANTON, OH 44709




VOLLMER, GLORIA                           VOLLSTEDT LUCIANA                  VOLPE ANGEL FOUNDATION
623 HAMACHER STREET                       370 CHESHIRE AVE                   5285 DOLORES SW
WATERLOO, IL 62298                        EUGENE, OR 97401-0000              CANTON, OH 44706
VOLUNTEER REGIONAL        Case 20-10766-BLS   Doc IN
                                        VOLUNTEERS 6 MEDICINE
                                                       Filed 04/07/20
                                                              CLINIC    Page 1853  ofJEANETTE
                                                                             VOLZER,  1969
P.O. BOX 501067                          2260 MARCOLA ROAD                    7310 MUDBROOK ST NW
ST LOUIS, MO 63150-1067                  SPRINGFIELD, OR 97477                MASSILLON, OH 44646-1098




VON ALMEN, MARTIN                        VON BOKEL, JANICE                    VON DER LANCKEN, GUSTAVO M.
3150 NASHVILLE HWY                       709 TOWER GROVE DR UNIT C            ADDRESS ON FILE
LEWISBURG, TN 37091                      FAIRVIEW HEIGHTS, IL 62208




VON KANEL, PAIGE                         VON LEHE, SHARON K.                  VONBERG, HOLLY
ADDRESS ON FILE                          23W212 GREAT WESTERN                 108 RICHARD
                                         GLEN ELLYN, IL 60137                 GILLESPIE, IL 62033




VONCO MEDICAL CO.                        VONCO MEDICAL PRODUCTS INC           VONCO MEDICAL
1625 W CROSBY RD                         1625 W CROSBY RD                     1625 WEST CROSBY RD
STE 120                                  STE 120                              STE 120
CARROLLTON, TX 75006                     CARROLLTON, TX 75006                 CARROLLON, TX 75006




VONDA MILLER                             VONDRAN LINDA                        VONDRAN, ANGELA G.
306 RELLER                               SPD HRMC                             ADDRESS ON FILE
ROXANA, IL 62084                         HELENA, AR 72342




VONDRAN, ANGELA                          VONDRAN, LINDA D.                    VONDRAN, SARAH
ADDRESS ON FILE                          1500 BUFORD RD                       ADDRESS ON FILE
                                         MOUNTAIN HOME, AR 72653




VONSICK, JAMES E., ATTY                  VORIS, SUSAN                         VORMELKER, TAMERA H.
P.O. BOX 3145                            713 W SPRUCE                         212 RIVER WIND DR
LOUISVILLE, KY 40201-3145                DEMING, NM 88030                     NORTH AUGUSTA, SC 29841




VOROSHUCK, LORA Y.                       VORTEK SURGICAL                      VORTEX INDUSTRIES INC.
43907 COUNTRY RIDGE COURT                7626 EAST 88TH PLACE                 1801 W. OLYMPIC BLVD FILE 1095
TEMECULA, CA 92592                       INDIANAPOLIS, IN 46256               PASADENA, CA 91199




VOSHAGE, CASEY N.                        VOSIKA, AYLA E.                      VOSS LIGHTING
ADDRESS ON FILE                          ADDRESS ON FILE                      ATTN: ACCTS RECEIVABLE
                                                                              P.O. BOX 22159
                                                                              LINCOLN, NE 68542-2159




VOSS, HERBY K.                           VOSS, JANEL M.                       VOSS, MELISSA
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE
VOSS, TARA               Case 20-10766-BLS    DocJ.6
                                       VOSS, VIOLA        Filed 04/07/20   Page 1854 of 1969
                                                                                VOSSELLER, PAMELA L.
ADDRESS ON FILE                         913 ILINOIS AVENUE                       1600 RHODODENDRON DR 188
                                        RED BUD, IL 62278                        FLORENCE, OR 97439




VOSSELLER, PAMELA                       VOSSEN JOSEPH K                          VOSTATEK, NICHOLE
1460 G STREET                           66 STAR CREEK CT                         2310 EGRET CT
SPRINGFIELD, OR 97477                   MORGANTON, GA 30560                      LINDENHURST, IL 60046




VOTTELER, DEBORA A.                     VOVENILEK, THEODORE                      VOWAN, ADAM S.
658 E ANN ST                            8717 DUBLIN RIDGE CR NW                  ADDRESS ON FILE
DOLTON, IL 60419                        MASSILLON, OH 44646




VOWAN, ADAM SETH                        VOYDA, BRITTNEY                          VOYLES, DONALD
ADDRESS ON FILE                         ADDRESS ON FILE                          1446 SEA PINES ST
                                                                                 MESQUITE, NV 89027




VOZENILEK, PHYLLIS E.                   VPAY INC                                 VRANISH CLARA
8717 DUBLIN RIDGE CR NW                 3701 W PLANO PKWY 200                    1912 WEST ANDERSON
MASSILLON, OH 44646-1208                PLANO, TX 75075                          EVANSTON, WY 82930-3158




VRANJES, ANA L.                         VRANJES, BLAGICA                         VRANJES, MATKO
506 BREWINGTON AVE.                     816 TUTLE AVE                            506 BREWINGTON AVE.
WATSONVILLE, CA 95076                   WATSONVILLE, CA 95076                    WATSONVILLE, CA 95076




VRANJES, SNJEZANA                       VRC-VITAL RECORDS CONTROL                VREEKEN, MARK C.
145 SUDDEN STREET                       DEPT. 5874                               ADDRESS ON FILE
WATSONVILLE, CA 95076                   P.O. BOX 11407
                                        BIRMINGHAM, AL 35246




VRP OF IL, SC                           VRP OF MN, P.A.                          VSC FIRE & SECURITY
25983 NETWORK PLACE                     25983 NETWORK PLACE                      2500 COMMERCE STREET
CHICAGO, IL 60673-1259                  CHICAGO, IL 60673-1259                   SUITE A
                                                                                 JONESBORO, AR 72401




VSP GLOBAL                              VU, COLE                                 VUGTEVEEN, JAMES L.
3333 QUALITY DR                         ADDRESS ON FILE                          246 N 10TH ST
RANCHO CORDOVA, CA 95670                                                         MONMOUTH, IL 61462




VUKSON, JENNY                           VULCRAFT                                 VULIN, CHRISTOPHER L.
239 CRANE STREET                        7205 GAULT AVE N                         ADDRESS ON FILE
EDWARDSVILLE, IL 62025                  FORT PAYNE, AL 35967
VWR INTERNATIONAL INC Case 20-10766-BLS    Doc 6 INC
                                    VYAIRE MEDICAL   Filed 04/07/20   Page 1855
                                                                           VYAIREof 1969 INC
                                                                                 MEDICAL
P.O. BOX 640169                     26125 NORTH RIVERWOODS BLVD             29429 NETWORK PLACE
PITTSBURGH, PA 15264-1069           METTAWA, IL 60045                       CHICAGO, IL 60673-1294




VYAIRE MEDICAL INC.                  VYAIRE MEDICAL INC.                    VYAIRE MEDICAL, INC
26125 NORTH RIVERWOODS BLVD          29429 NETWORK PLACE                    29429 NETWORK PLACE
METTAWA, IL 60045                    CHICAGO, IL 60673-1294                 CHICAGO, IL 60673-1294




VYAIRE MEDICAL, INC.                 VYGON USA                              VYGON USA
29429 NETWORK PLACE                  P.O. BOX 787426                        PO BOX 787426
CHICAGO, IL 60673-1294               PHILADELPHIA, PA 19178-7426            PHILADELPHIA, PA 19178-7426




W L GORE & ASSOCIATES INC            W NUHSBAUM INC                         W RESTAURANT & LOUNGE, THE
MEDICAL PRODUCTS DIVISION            760 RIDGEVIEW DRIVE                    7230 ILLINOIS 152
P.O. BOX 751331                      MCHENRY, IL 60050                      DUQUOIN, IL 62832
CHARLOTTE, NC 28275




W W GRAINGER INC                     W. L. GORE                             W. LARRY CASH
P.O. BOX 419267                      PO BOX 751331                          C/O ROBBINS, RUSSELL, ENGLERT,
DEPT 472 - 806009965                 CHARLOTTE, NC 28275                    ORSECK, UNTEREINER & SAUBER LLP
KANSAS CITY, MO 64141-6267                                                  ATTN: GARY A. ORSECK
                                                                            2000 K ST, NW, 4TH FL
                                                                            WASHINGTON, DC 20006

W.J. BURKE ELECTRIC CO               W.S. SCOTT COMPANY                     W.W. GRAINGER INC
P.O. BOX 462                         P.O. BOX 165                           GRAINGER DEPT 864489521
10575 HWY 127                        CLINTON, MS 39060                      P.O. BOX 419267
MURPHYSBORO, IL 62966                                                       KANSAS CITY, MO 64141-6267




W6 ENTERPRISES, LLC                  WAAG-FM                                WAAG-FM
DBA - JAMES T WEBBER                 154 EAST SIMMONS ST                    154 EAST SIMMONS STREET
1981 BERRA BLVD.                     GALESBURG, IL 61401                    GALESBURG, IL 61401
TOOELE, UT 84074




WACHOLTZ, MARTHA N.                  WACHOWIAK RUTH                         WACHTEL, JESSICA M.
232 BOISMENUE AVE                    1048 MAGNOLIA AVE                      ADDRESS ON FILE
EAST CARONDELET, IL 62240            GURNEE, IL 60031




WACHTEL, KATHERINE J.                WACKER SIGNS                           WADDELL, BRANDI L.
ADDRESS ON FILE                      13076 BARRS SW                         ADDRESS ON FILE
                                     MASSILLON, OH 44647




WADDELL, STEVEN                      WADDY, YASHICA                         WADE DORTCH ROOFING, LLC
998 FT DEPOSIT RD                    801 E 169TH PL                         P.O. BOX 53
FT DEPOSIT, AL 36032                 SOUTH HOLLAND, IL 60473                PARIS, TN 38242
WADE, AARON              Case 20-10766-BLS    Doc 6 D. Filed 04/07/20
                                       WADE, ANGELA                     Page 1856  of 1969
                                                                             WADE, CHELSEA
703 VINCENNES AVE                        ADDRESS ON FILE                     ADDRESS ON FILE
FLORA, IL 62839




WADE, CHELSEA L.                         WADE, CHERYL                        WADE, DANIEL
ADDRESS ON FILE                          667 HORTON ST                       18164 BACK MASSILLON RD
                                         BREWSTER, OH 44613                  NORTH LAWRENCE, OH 44666-9515




WADE, DORISROSE M.                       WADE, EDWARD                        WADE, ELIZABETH
ADDRESS ON FILE                          255 E BOLIVAR 3                     1200 EVERGREEN PLACE
                                         SALINAS, CA 93906                   MARION, IL 62959




WADE, JOHN D.                            WADE, LORI                          WADE, MICHELE
56 EAGLE NEST RD                         558 BRIAR COVE RD                   921 GREEN AVE
JACKSON, KY 41339                        MORGANTON, GA 30560                 MASSILLON, OH 44647




WADE, PATRICIA S.                        WADE, RACHEL E.                     WADE, RICKY L.
11911 LOCHWOOD ST SW                     117 HALL ST                         ADDRESS ON FILE
MASSILLON, OH 44647                      RAINSVILLE, AL 35986




WADE, RONNIE E.                          WADE, SHAYLA                        WADE, TINA M.
157 CRATEN DRIVE                         126 ONEIDA TRAIL                    ADDRESS ON FILE
RAINSVILLE, AL 35986                     MALVERN, OH 44644




WADECK, JOHN C.                          WADHAMS, BONNIE                     WADIAN, BRIAN
87 CLINTONDALE HILL RD                   3306 120TH AVE                      3043 MAPLEGROVE AVE
MILL HALL, PA 17751                      NEW WINDSOR, IL 61465               LOUISVILLE, OH 44641




WADLEY, MEGAN E.                         WADLEY, NELMA                       WADSWORTH, DEWAYNE
ADDRESS ON FILE                          90 CIRCLE DR                        3091 COUNTY ROAD 776
                                         LEXINGTON, TN 38351                 IDER, AL 35981




WADSWORTH, ELISA                         WADSWORTH, PAMELA                   WAECHTLER, FELECIA
424 CLOVER LN                            4616 7TH ST NW                      P.O. BOX 1526
ERDA, UT 84074                           CANTON, OH 44708                    LYMAN, WY 82937




WAEL HALASEH, MD                         WAFFORD, DEBRA                      WAGAN, RONALD R.
ADDRESS ON FILE                          P.O. BOX 401                        ADDRESS ON FILE
                                         AROMAS, CA 95004
WAGEMANN MARY            Case 20-10766-BLS  Doc
                                       WAGENO,    6 Filed 04/07/20
                                               MEKURIA                  Page 1857
                                                                             WAGES,of 1969
                                                                                    JEFFERY
1791 DEMASCUS RD                        3616 MONTREAL CREEK CIR APT 2        ADDRESS ON FILE
BLUE RIDGE, GA 30513                    CLARKSTON, GA 30021




WAGEWATCH INC                           WAGEWORKS                            WAGEWORKS, INC.
P.O. BOX 15851                          P.O. BOX 60010                       1100 PARK PLACE, STE 400
PHOENIX, AZ 85060-5851                  PHEONIX, AZ 85082                    SAN MATEO, CA 94403




WAGEWORKS, INC.                         WAGGLE, ALENE                        WAGGLE, TARYN J.
P.O. BOX 45772                          401 S UNION AVE                      2025 AMHERST RD NE
SAN FRANCISCO, CA 94145-0772            BRINKLEY, AR 72021                   MASSILLON, OH 44646




WAGGONER MONTY RAYMOND                  WAGGONER, CHRISTAL D.                WAGGONER, MONTY
88271 LAKESIDE DR                       25139 ALPINE RD                      88271 LAKE SIDE DR
VENETA, OR 97487-0000                   MONROE, OR 97456                     VENETA, OR 97487




WAGLER, JOSIAH                          WAGNER EQUIPMENT CO                  WAGNER LASHAUNDA
3631 BLACKBURN RD NW                    P.O. BOX 919000                      2413 NAMEOKI DR
CANTON, OH 44718                        DENVER, CO 80291-9000                GRANITE CITY, IL 62040




WAGNER M.D., ROBERT H.                  WAGNER THOMAS S                      WAGNER, GABRIEL M.
ADDRESS ON FILE                         309 CROFT AVE                        720 OLIVE STREET
                                        RAINSVILLE, AL 35986-5319            SUITE 2990
                                                                             ST LOUIS, MO 63101-2308




WAGNER, AMANDA                          WAGNER, AUBREY                       WAGNER, BENJAMIN
1102 TAMARACK LANE                      4807 HAZEL ROAD                      23 JUNIPER COVE
MARION, IL 62959                        EDWARDSVILLE, IL 62025               BANNER, KY 41603




WAGNER, CHELSEA D.                      WAGNER, CHRISTINE                    WAGNER, DAN L.
2594 17TH STREET                        ADDRESS ON FILE                      2025 KOOPMANS AVE
SPRINGFIELD, OR 97477                                                        SANTA CRUZ, CA 95062




WAGNER, DONNA M.                        WAGNER, DONNA M.                     WAGNER, DWIGHT
ADDRESS ON FILE                         1613 S 20TH STREET                   3695 HOT SPRINGS BLVD
                                        ROGERS, AR 72758                     LAS VEGAS, NM 87701




WAGNER, JESSE                           WAGNER, KIM                          WAGNER, MD, ROBERT H.
3089 CO RD 610                          531 STANSBURY AVE                    ADDRESS ON FILE
FORT PAYNE, AL 35968                    TOOELE, UT 84074
WAGNER, RAMONA K.        Case 20-10766-BLS  Doc
                                       WAGNER,    6 Filed 04/07/20
                                               RAMONA                Page 1858 of VERONICA
                                                                          WAGNER, 1969
ADDRESS ON FILE                         ADDRESS ON FILE                   2690 HWY 70 EAST
                                                                          FORREST CITY, AR 72335




WAGONER COMMUNITY HOSPITAL              WAGONER, ANGELA S.                WAGSTAFF, ABIGAIL A.
1200 WEST CHEROKEE STREET               324 OLD MILITARY RD. WEST         226 CITY VIEW DRIVE
WAGONER, OK 74467-4624                  COLT, AR 72326                    EVANSTON, WY 82930




WAGSTAFF, MCKAYDREE                     WAHL, CECILIA M.                  WAHL, TAMMY
3151 EAST CHALK CREEK ROAD              ADDRESS ON FILE                   ADDRESS ON FILE
COALVILLE, UT 84017




WAINWRIGHT, CHRISTOPHER P.              WAITE, JESSE D.                   WAITES, DARBY
12181 HWY 171                           ADDRESS ON FILE                   4412 HWY 243 SOUTH
JAMESVILLE, NC 27846                                                      LEXA, AR 72355




WAITES, MARGARET A.                     WAITS, LYNN D.                    WAKEFIELD & ASSOCIATES
2741 WASHINGTON AVE                     1201 OWLTOWN RD                   C/O BRYAN THOMAS
GRANITE CITY, IL 62040                  BLAIRSVILLE, GA 30512             11 LOMAS BLVD NW SUITE 502
                                                                          ALBUQUERQUE, NM 87102




WAKEFIELD RILEY                         WAKEFIELD, JAMIE                  WAKEFIELD, TRAVIS
9192 W HILLCREST                        P.O. BOX 7252                     880 CHAPARRAL DR
P.O. BOX 300                            BUNKERVILLE, NV 89007             MESQUITE, NV 89027
DIAMONDVILLE, WY 83116-0300




WAKELEY, RACHAEL                        WAKUS, HELEN                      WALCH, JOE
ADDRESS ON FILE                         480 DD ROAD                       1460 G STREET
                                        COLUMBIA, IL 62236                SPRINGFIELD, OR 97477




WALCH, JOSEPH P.                        WALCOTT RX PRODUCTS               WALCOTT, GARY V JR
ADDRESS ON FILE                         3 HARRYS COURT, STE D             297 MINERAL SPGS RD APT17
                                        OCEAN VIEW, NJ 08230              BLUE RIDGE, GA 30513




WALDBARD, ALEX - FLORIST                WALDEN JOSEPH                     WALDEN SHARON
7801 CLAYTON ROAD                       P O BOX 1251                      19 TIMBERLAKE TRAIL
ST. LOUIS, MO 63105                     MC CAYSVILLE, GA 30555            BLUE RIDGE, GA 30513




WALDEN, CHRISTINA M.                    WALDEN, DARRELL M.                WALDEN, JESSICA L.
6782 COUNTY ROAD 72 LOT A               POB 1475                          P.O. BOX 614
FYFFE, AL 35971                         BLUE RIDGE, GA 30513              MORGANTON, GA 30560
WALDEN, JOSEPH           Case 20-10766-BLS   Doc
                                       WALDEN, LARA6T. Filed 04/07/20          Page 1859 ofSANFORD
                                                                                    WALDEN, 1969 B.
P.O. BOX 1251                            2208 COUNTY ROAD 328                       P.O. BOX 157
MC CAYSVILLE, GA 30555                   DAWSON, AL 35963                           COPPERHILL, TN 37317




WALDON, GENE B.                          WALDREP, VALERIE P.                        WALDRIP KIMBERLY
2101 NE STEINBECK DR                     ADDRESS ON FILE                            132 FALLING LEAF WAY
BENTONVILLE, AR 72712                                                               MASCOUTAH, IL 62258




WALDRIP, BRAD                            WALDRIP, TRACY                             WALDROP, KERRY W.
612 CAMPBELL DR                          832 ARCH TANNER RD                         1101 S SHELLY DR
MARION, AR 72364                         BETHLEHEM, GA 30620                        DEMING, NM 88030




WALGREEN BENEFIT FUND                    WALIGORSKI, WALTER AND JANET               WALINSKI & ASSOCIATES P.C.
102 WILMOT RD                                                                       2215 ENTERPRISE DR, STE 1512
MS1237                                                                              WESTCHESTER, IL 60154
DEERFIELD, IL 60015




WALINSKI & ASSOCIATES P.C.               WALK, MICHELLE A.                          WALKER ,CLAY
2215 ENTERPRISE DR. STE 512              63 REAY STREET, HWY. 150 S P.O. BOX 2503   1116 JACKSON ST
WESTCHESTER, IL 60154                    EVANSTON, WY 82931                         WAUKEGAN, IL 60085




WALKER BERNICE                           WALKER FIELDS                              WALKER HALEY NICOLE
1708 HWY 413 N                           290 PREECE ROAD                            214 COUNTY RD 295
LYMAN, WY 82937                          INEZ, KY 41224                             FORT PAYNE, AL 35967




WALKER JR., ALBERT                       WALKER LINDA J                             WALKER LINDA
ADDRESS ON FILE                          56 ORCHARD BLVD                            ADDRESS ON FILE
                                         BLUE RIDGE, GA 30513




WALKER LOUIS Y                           WALKER MARY S                              WALKER MARY S
2517 BERRY CT                            ADDRESS ON FILE                            3916 POTSDAM AVE APT 5068
WAUKEGAN, IL 60085                                                                  SIOUX FALLS, SD 57104




WALKER NIKKI                             WALKER RANDALL LAMAR                       WALKER REBECCA C
2490 STATE HWY 414                       85 WALKER VALLEY LANE                      600 CUTCANE RD
LYMAN, WY 82937-9051                     ELLIJAY, GA 30540                          MINERAL BLUFF, GA 30559




WALKER RODNEY ALLEN                      WALKER, LEE L.                             WALKER, ALISSA M.
39084 ROGERS LANE                        1605 N BENTLEY ST                          43 WEST CRETCHER STREET
P.O. BOX 71                              MARION, IL 62959                           GRAYSON, KY 41143
DEXTER, OR 97431
WALKER, AMBER M.          Case 20-10766-BLS   Doc
                                        WALKER,    6 A.Filed 04/07/20
                                                ASHLEE                  Page 1860 ofASHLEY
                                                                             WALKER, 1969
16103 AMBIANCE WAY                       ADDRESS ON FILE                     2577 GRAND AVE
FRANKLIN, TN 37067                                                           GRANITE CITY, IL 62040




WALKER, BARBARA                          WALKER, BRENDA G.                   WALKER, BRITTANY N.
1776 BROWN AVE                           ADDRESS ON FILE                     167 MIDDLE SCHOOL ROAD
GALESBURG, IL 61401                                                          JACKSON, TN 38305




WALKER, CARRIE                           WALKER, CHRISTINA                   WALKER, DAVID J.
ADDRESS ON FILE                          1204 JASMINE DR APT B               403 W KNOB ST
                                         KENT, OH 44240                      WALTONVILLE, IL 62894




WALKER, DERRICK D.                       WALKER, EMMA L.                     WALKER, HANNAH A.
804 NORTH FORREST ST                     ADDRESS ON FILE                     420 BROADWAY
FORREST CITY, AR 72335                                                       EAST ALTON, IL 62024




WALKER, JACK K.                          WALKER, JACQUELINE                  WALKER, JALEESA
4409 AVERY AVE                           1161 PRICE MILL RD                  ADDRESS ON FILE
AUGUSTA, GA 30907-9744                   MADISON, GA 30650




WALKER, JAMES C.                         WALKER, JAMES                       WALKER, JAMES
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




WALKER, JAMIE A.                         WALKER, JANELL                      WALKER, KAITLYN
ADDRESS ON FILE                          31359 HWY 49                        14435 S WALLACE AVE
                                         BRINKLEY, AR 72021                  RIVERDALE, IL 60827




WALKER, KIMBERLY R.                      WALKER, LANA                        WALKER, LESLIE M.
522 COUNTY ROAD 139                      ADDRESS ON FILE                     2614 KINCAID ST
BRYANT, AL 35958                                                             EUGENE, OR 97405




WALKER, LINDSEY K.                       WALKER, LINDSY M.                   WALKER, LYNDA
8655 LAKEWOOD HWY                        ADDRESS ON FILE                     ADDRESS ON FILE
MINERAL BLUFF, GA 30559




WALKER, MANDY N.                         WALKER, MARY ANN                    WALKER, MARY
305 AUSTIN STREET                        1733 CUTCANE ROAD                   ADDRESS ON FILE
BLUE RIDGE, GA 30513                     MINERAL BLUFF, GA 30559
WALKER, MERRY            Case 20-10766-BLS   Doc
                                       WALKER,     6 Filed
                                               MICHAEL C.  04/07/20         Page 1861 ofOMEISHA
                                                                                 WALKER, 1969 R.
14 DAVIS PLACE                          2120 N POPLAR ST                         2127 LINCOLN AVE APT. 5
COLLINSVILLE, IL 62234                  WAUKEGAN, IL 60087                       GRANITE CITY, IL 62040




WALKER, PATRICIA                        WALKER, REBECCA                          WALKER, RYAN M.
2340 CEMETERY ROAD                      383 KNOX RD 50 EAST                      ADDRESS ON FILE
MORRIS, IL 60450                        ABINGDON, IL 61410




WALKER, SAMMIE                          WALKER, SHANNON                          WALKER, SHANNON
2673 CEDAR GROVE                        1368 SPRUCE AVE                          ADDRESS ON FILE
BELLEVILLE, IL 62221                    GALESBURG, IL 61401




WALKER, SHEILA D.                       WALKER, SHIRLEY L.                       WALKER, SUYIN
2668 COUNTY ROAD 122                    512 TANYA AVE NW                         2410 HEBRON
FORT PAYNE, AL 35968                    MASSILLON, OH 44646                      ZION, IL 60099




WALKER, TAMARA                          WALKER, TAMIEKA                          WALKER, TAMIEKA
614 SAUNDERS CIRCLE                     ADDRESS ON FILE                          510 E REEVES ST D
EVANSTON, WY 82930                                                               MARION, IL 62959




WALKER, TERRI                           WALKER, THOMAS                           WALKER, TINA P.
700 CO RD 451                           10060 STEINER STORE RD                   ADDRESS ON FILE
DUTTON, AL 35744                        HONORAVILLE, AL 36042




WALKER, TINA                            WALKER, VICKI S.                         WALKER, VICTORIA P.
513 SFC 239                             ADDRESS ON FILE                          ADDRESS ON FILE
COLT, AR 72326




WALKER, VICTORIA                        WALKER, WESLEY E.                        WALKUP THEODORE W
ADDRESS ON FILE                         522 COUNTY ROAD 139                      3187 STARK ST
                                        BRYANT, AL 35958                         EUGENE, OR 97404




WALL & CEILING SPECIALTIES              WALL STREET SYSTEMS UK LIMITED           WALL THOMAS
29771 E ENID ROAD                       30 ST MARY AXE - FLR 26 FINANCE          1180 WEEKS CREEK RD
EUGENE, OR 97402                        LONDON EC3A BEP                          BLUE RIDGE, GA 30513
                                        UNITED KINGDOM




WALL, ELIZABETH K.                      WALL, HEATHER M.                         WALL, SARAH
ADDRESS ON FILE                         1902 W. BIG SKY DRIVE P.O BOX 585        904 E ST. LOUIS STREET
                                        STOCKTON, UT 84071                       WEST FRANKFORT, IL 62896
WALL, THOMAS               Case 20-10766-BLS   Doc 6J
                                         WALLA KATHY          Filed 04/07/20   Page 1862 of ENTERPRISES
                                                                                    WALLACE 1969
1180 WEEKS CREEK RD                       ADDRESS ON FILE                           1812 21ST AVE
BLUE RIDGE, GA 30513                                                                EAST MOLINE, IL 61244




WALLACE TELECOMMUNICATIONS, INC           WALLACE, ADIEL                            WALLACE, ALEXIS D.
2050-A EASTGATE DRIVE                     409 TULANE DR                             5300 ABBOTTSWOOD DRIVE
GREENVILLE, NC 27858                      WEST MEMPHIS, AR 72301                    SMYRNA, TN 37167




WALLACE, ALYSSA                           WALLACE, AMANDA N.                        WALLACE, CHELSEA
152 E. VIENNA ST. APT. 3                  208 N 7TH AVE                             1527 THOMAS RD
ANNA, IL 62906                            BARSTOW, CA 92311                         DU QUOIN, IL 62832




WALLACE, COURTNEY                         WALLACE, DANA                             WALLACE, DANE
ADDRESS ON FILE                           2300 ARNOLD                               529 HILLSBORO AVE
                                          GRANITE CITY, IL 62040                    EDWARDSVILLE, IL 62025




WALLACE, DEAN                             WALLACE, DEBORAH                          WALLACE, DELOIS J.
5026 VIOLET KNOLL AVE NE                  375 S CENTRAL AVE                         18822 PARK AVENUE
CANTON, OH 44705                          WOOD RIVER, IL 62095                      LANSING, IL 60438




WALLACE, DONETTA R                        WALLACE, DORIS S.                         WALLACE, HAZELEE M.
ADDRESS ON FILE                           P.O. BOX 153                              1999 BAIRD AVE
                                          400 W BARNHILL ST                         GALESBURG, IL 61401
                                          EVERETTS, NC 27825




WALLACE, JANIE                            WALLACE, JENNIFER A.                      WALLACE, JENNIFER A.
ADDRESS ON FILE                           131 WOODLAND HILLS LOOP                   2127 EAST B STREET
                                          WILDERSVILLE, TN 38388                    BELLEVILLE, IL 62221




WALLACE, JOHNATHAN                        WALLACE, JULIE M.                         WALLACE, JULIE
138 BELL AVE                              ADDRESS ON FILE                           ADDRESS ON FILE
ORRVILLE, OH 44667




WALLACE, MATTHEW L.                       WALLACE, OLIVIA N.                        WALLACE, PATRICIA B.
ADDRESS ON FILE                           ADDRESS ON FILE                           P.O. BOX 6148
                                                                                    SANDERSVILLE, GA 31082-6148




WALLACE, RICHARD L.                       WALLACE, ROBERT                           WALLACE, ROGER SCOTT
133 LEE 447 ROAD                          451 VERBENA LN                            2400 CARDINAL AVE
MORO, AR 72368                            MESQUITE, NV 89027                        GRANITE CITY, IL 62040
WALLACE, SHARON L.     Case 20-10766-BLS   Doc
                                     WALLACE,   6 M.
                                              SHEILA Filed 04/07/20      Page 1863 of 1969
                                                                              WALLACE, SHELBY
13380 SPRING VALLEY PARKWAY 8148 SVL ADDRESS ON FILE                          2824 CHERYL ST
BOX                                                                           EUGENE, OR 97408
VICTORVILLE, CA 92395




WALLACE, TASHA N.                    WALLACE, TESHA R.                        WALLACE, TESSANNE
ADDRESS ON FILE                      5300 ABBOTTSWOOD DRIVE                   2907 LINCOLN WAY NW
                                     SMYRNA, TN 37167                         MASSILLON, OH 44647




WALLACE, WHITNEY                     WALLEN, KIMBERLY A.                      WALLEN, TIFFANY D.
6910 LEATHERWOOD DR                  ADDRESS ON FILE                          ADDRESS ON FILE
MIDLAND, TX 79705




WALLER LANSDEN DORTCH & DAVIS LLP    WALLER LANSDEN DORTCH & DAVIS LLP        WALLER, CLYDE
511 UNION ST, STE 2700               P.O. BOX 198966                          5215 HODE ROAD
NASHVILLE, TN 37219                  NASHVILLE, TN 37219-8966                 WARFIELD, KY 41267




WALLER, HANNAH                       WALLER, JOSEPHINE                        WALLER, MICHELLE D.
15355 ANN MARIE DR                   5215 HODE ROAD                           ADDRESS ON FILE
OAK FOREST, IL 60452                 WARFIELD, KY 41267-9054




WALLICK, CINDY J.                    WALLING FAMILY PARTNERSHIP LP            WALLS ELLEN R CHAMBERS
6278 HILLTOP DR NW                   2206 21ST AVE SOUTH - STE 200            462 RIDGE ROAD
STRASBURG, OH 44680                  ATTN: LEO BERMUDEZ                       BLUE RIDGE, GA 30513
                                     NASHVILLE, TN 37212




WALLS, BERTHA                        WALLS, DANYEESA                          WALLS, LINDA
1135 CHRISTIAN CHAPEL RD             13902 S WABASH ST                        783 SAN ANDREAS RD
CEDAR GROVE, TN 38321                RIVERDALE, IL 60827                      LAS SELVA, CA 95076




WALLS, ROSE                          WALLS, TAMERA J.                         WALLWORK, BRANDON
203 WEST FIRST ST                    1535 SOUTH SAWBURG AVENUE                7620 FLEMING HILLS DR SW
ELLIS GROVE, IL 62241                ALLIANCE, OH 44601                       HUNTSVILLE, AL 35802




WALMART CLAIMS MGMT,INC              WALMART COMMUNITY BRC                    WALMART
P.O. BOX 14731                       P.O. BOX 530934                          2802 OUTER ROAD DRIVE
LEXINGTON, KY 40512                  ATLANTA, GA 30353-0934                   MARION, IL 62959




WALPOLE, KELLY M.                    WALRAVEN, RICKY                          WALRAVEN, TAMMIE
6897 GEORGETOWN ST NE                108 OVERLOOK DR                          108 OVERLOOK DR
EAST CANTON, OH 44730                LOGANVILLE, GA 30052                     LOGANVILLE, GA 30052
WALSH, AMBER L.          Case 20-10766-BLS
                                       WALSH, Doc
                                              JOHN 6
                                                   P. Filed 04/07/20   Page 1864
                                                                            WALSH,of 1969
                                                                                   JOHN P.
9511 SCHALLER RD                        100 KENSINGTON LN NE                ADDRESS ON FILE
LENZBURG, IL 62255                      WARREN, OH 44484




WALSH, JOHN                             WALSH, MAUREEN                      WALSH, PHYLLIS
ADDRESS ON FILE                         12833 S CLINTON AVE APT 1           45 ERNEST AVE
                                        BLUE ISLAND, IL 60406               APT 414
                                                                            FOX LAKE, IL 60020




WALTA, DESTINY L.                       WALTEE, DUNIGAN                     WALTER ENGLISH
5 BRIARWOOD CT                          12132 S MICHIGAN AVE                8330 S BLACKSTON
FREEBURG, IL 62243                      2ND FLOOR                           CHCIAGO, IL 60619
                                        CHICAGO, IL 60628-6649




WALTER HEDRICK TANYA                    WALTER M HARRIS                     WALTER SOKOL
5500 N 1550 E RD                        3633 US HIGHWAY 17                  410 VALLEY DR
HEYWORTH, IL 61745                      WILLIAMSTON, NC 27892               MYRTLE CREEK, OR 97457-9767




WALTER, DAWN                            WALTER, HOLLY M.                    WALTER, JESSE
ADDRESS ON FILE                         ADDRESS ON FILE                     7259 PAUTLER RD
                                                                            EVANSVILLE, IL 62242




WALTER, KRISTEN                         WALTERMIRE, MARK                    WALTERS ELYSE M
ADDRESS ON FILE                         27 FOX MILL DR                      511 LEAH LANE
                                        MARYVILLE, IL 62062                 CRESWELL, OR 97426-0000




WALTERS METAL FABRICATION               WALTERS TOYOTA-NISSAN               WALTERS, JANET
3660 HYW.111                            30 WALTERS LN                       720 KY RT 1624
P.O. BOX 1245                           PIKEVILLE, KY 41501                 FLATGAP, KY 41219
GRANITE CITY, IL 62040




WALTERS, JASON                          WALTERS, JOE                        WALTERS, KIRK
300 W 60TH ST APT B304                  16370 HWY 424                       61401
WESTMONT, IL 60559                      YUMA, TN 38390




WALTERS, MATTHEW STEWART                WALTHALL, MARKUS                    WALTHER, KAREN
300 SEQUOYAH DRIVE NE LOT 116           11631 S LAFLIN ST                   52 EBERHART DR
FORT PAYNE, AL 35967                    CHICAGO, IL 60643-5031              CASEYVILLE, IL 62232-2259




WALTHIER, AMY L.                        WALTKE MELODY                       WALTKO, JONATHAN H.
20688 MICHIGAN ISLAND DR.               836 E 930 N                         ADDRESS ON FILE
FRANKFORT, IL 60423                     TOOELE, UT 84074
                     Case 20-10766-BLS
WALTON ANESTHESIA ASSOCIATES PC    WALTONDoc   6 Filed
                                           ATHLETIC       04/07/20
                                                    FITNESS CENTER   Page 1865 ofCOUNTY
                                                                          WALTON  1969 CLERK OF SUPERIOR
2151 WEST SPRING ST                1205 W SPRING ST                       COURT
MONROE, GA 30655                   MONROE, GA 30655                       303 S HAMMOND DR - STE 335
                                                                          WALTON COUNTY GOVERNMENT BLDG
                                                                          MONROE, GA 30655



WALTON PULMONARY AND SLEEP           WALTON, CAMILLE H.                   WALTON, JUANITA
MEDICINE PC                          1341 E 50TH PLACE                    4150 S BERKELEY AVE
101 TARA COMMONS DR                  GARY, IN 46409                       CHICAGO, IL 60653
LOGANVILLE, GA 30052




WALTON, KENISHA                      WALTON, NORMA S.                     WALTON, ROBERTA R.
4580 NC HWY 125                      ADDRESS ON FILE                      ADDRESS ON FILE
OAK CITY, NC 27857-9417




WALTRIP, KELLY B.                    WALTS, JENNIFER J.                   WALWER, LORRIE J.
1961 MAIN ST STE 141                 175 HOLLY DR                         ADDRESS ON FILE
WATSONVILLE, CA 95076                BLAIRSVILLE, GA 30512




WALZ LABEL                           WALZ, MIKE                           WAMBLE, RJ
624 HIGH POINT LN                    P.O. BOX 433                         9766 OLD LINCOLN TRAIL
E PEORIA, IL 61611                   EPWORTH, GA 30541                    FAIRVIEW HEIGHTS, IL 62208




WAMPLER, KEVIN G.                    WANDA A CARTER                       WANDA BURT
P.O. BOX 433 120 JOHNSON BR          996 260TH AVE                        ADDRESS ON FILE
HAGER HILL, KY 41222                 GERLAW, IL 61435




WANDA DRAIN                          WANDA J MAY                          WANDA J THOMPSON
860 COUNTY ROAD 43                   88282 HWY 101N                       P.O. BOX 248
FYFFE, AL 35971                      FLORENCE, OR 97439                   CROSS FORK, PA 17729-0248




WANDA M BRITTON                      WANDLING, PATRICIA                   WANG GEOFFREY
13986 WOOSTER AVE                    650 WESTERN AVE                      655 GOODPASTURE ISLAND RD
NORTH LAWRENCE, OH 44666             COLLINSVILLE, IL 62234-1426          APT 37
                                                                          EUGENE, OR 97401




WANG, SUSAN                          WANG, YAO                            WANHALA JUDITH
2750 ORCHARD ST SPACE 23             19 LINWOOD AVENUE                    ADDRESS ON FILE
SOQUEL, CA 95073-2670                APT 5B
                                     BUFFALO, NY 14209




WANHALA, JUDITH C.                   WANN, NIKOLETTE M.                   WANNER, SARA M.
ADDRESS ON FILE                      ADDRESS ON FILE                      2620 FALLEN OAK CIR. NE
                                                                          MASSILLON, OH 44646
WANTOLA MATTHEW C      Case 20-10766-BLS
                                     WANTZ, Doc  6 Filed 04/07/20
                                            DENNIS                  Page 1866 of 1969
                                                                         WARBINGTON, ALLISON
34809 N LINCOLN AVENUE               2582 DEERFORD AVE SW                 960 SANDY FORD RD
LAKE VILLA, IL 60046                 MASSILLON, OH 44647                  SOCIAL CIRCLE, GA 30025-3821




WARBURTON, AMBER                    WARBURTON, ANAVIC L.                  WARD RIKKI R
ADDRESS ON FILE                     ADDRESS ON FILE                       P.O. BOX 348
                                                                          523 N BUSH AVE
                                                                          HURST, IL 62949




WARD ROYER, CARLA C.                WARD, ALISHA                          WARD, AMY
262 EASTGATE DR 181                 1000 SORRELLS DRIVE                   1075 MEADOWBROOK LANE
AIKEN, SC 29803                     JACKSONVILLE, AR 72076                LOUISA, KY 41230




WARD, ANDREA L.                     WARD, ANDREA                          WARD, BRYAUNA A.
2104 SUMMIT CT                      2104 SUMMIT CT                        ADDRESS ON FILE
LOGANVILLE, GA 30052                LOGANVILLE, GA 30052-3657




WARD, CARLA C.                      WARD, CHRISTINA L.                    WARD, DIANA L.
262 EASTGATE DR                     ADDRESS ON FILE                       ADDRESS ON FILE
AIKEN, SC 29803-7698




WARD, DINA POWELL                   WARD, GENEVA                          WARD, HELEN C.
11042 S PARNELL AVE                 1008 DOSS HILL ROAD                   3 RUSHMORE DR
CHICAGO, IL 60628-4030              FORT GAY, WV 25514                    GLEN CARBON, IL 62034




WARD, IRENE                         WARD, JALYN                           WARD, JESSICA
417 SOUTH 18TH ST                   P.O. BOX 317                          867 N1480 E
WEST MEMPHIS, AR 72301              STOCKTON, UT 84071                    TOOELE, UT 84074




WARD, KASSIDY R.                    WARD, KATHRYN E.                      WARD, KELLI B.
ADDRESS ON FILE                     894 VICKERY RD                        6251 TARA HILL DRIVE
                                    GREENVILLE, AL 36037-7048             DUBLIN, OH 43017




WARD, KENNETH H.                    WARD, KERRY                           WARD, KIMBERLY D.
4648 DELTA SPRINGS LANE             ADDRESS ON FILE                       8045 S MAPLEWOOD AVENUE
FRANKLIN, TN 37064                                                        CHICAGO, IL 60652




WARD, KRISTY                        WARD, LAWANDA                         WARD, MICHELE
281 THORNOCK AVE                    33 ELM STREET                         2565 MORSE DR
EVANSTON, WY 82930-2544             PARK FOREST, IL 60466                 CONWAY, AR 72032
WARD, MICHELLE L.         Case 20-10766-BLS   DocL.6
                                        WARD, MIDA         Filed 04/07/20   Page 1867
                                                                                 WARD, of
                                                                                       ORA1969
                                                                                           L.
ADDRESS ON FILE                          67 OAKEY LN MILO RD                     935 ALABAMA ST
                                         TOMAHAWK, KY 41262                      WEST HELENA, AR 72390




WARD, PEGGY S.                           WARD, REBECCA M.                        WARD, REBEKAH B.
ADDRESS ON FILE                          ADDRESS ON FILE                         ADDRESS ON FILE




WARD, RODNEY K.                          WARD, STEVEN A.                         WARD, STEVEN A.
ADDRESS ON FILE                          ADDRESS ON FILE                         1075 MEADOWBROOK LN
                                                                                 LOUISA, KY 41230




WARD, STORMMIE                           WARD, TAD                               WARD, TALMAGE
1701 MORRISON DR                         ADDRESS ON FILE                         4273 HWY 581
BIG SPRING, TX 79720                                                             ULYSSES, KY 41264




WARD, VINYA G.                           WARDEN, STACEY                          WARDS PRESSURE WASHING
ADDRESS ON FILE                          ADDRESS ON FILE                         P.O. BOX 826
                                                                                 MT VERNON, IL 62864




WARE CALVIN                              WARE WILLA D                            WARE, ANTHONY GENE
112 W 103RD PLACE                        155 FRIENDSHIP RD                       P.O. BOX 701
CHICAGO, IL 60628                        MINERAL BLUFF, GA 30559                 BLUE RIDGE, GA 30513




WARE, CARSON                             WARE, JAZMAINE                          WARE, JESSIE R.
43 ERNST DR                              2343 N SAMSON WAY                       1955 TENNIS COURT RD
GLEN CARBON, IL 62034                    WAUKEGAN, IL 60087                      BLUE RIDGE, GA 30513




WARE, MICHAEL                            WAREHOUSE DIRECT OFFICE PRODUCTS        WARNER, CARA
P.O. BOX 437760                          2001 S MOUNT PROSPECT RD                930 ALABAMA AVE SW
CHICAGO, IL 60643-7760                   DES PLAINES, IL 60018                   DALTON, OH 44618




WARNER, JULIE A.                         WARNER, KELLY                           WARNER, ROSE
815 BALBOA AVE UNIT 205                  118 LILLEY RD                           1980 BEAUMONT AVE NW
CAPITOLA, CA 95010                       WASHINGTON, NC 27889                    MASSILLON, OH 44647-9587




WARNER, SARAH M.                         WARNER, TARA                            WARNKE, ERIKA C.
5214 WILLIAMS PL                         855 STONECREEK RD SW                    ADDRESS ON FILE
GODFREY, IL 62035                        NEW PHILADELPHIA, OH 44663-7586
WARR, ALYSSA L.         Case 20-10766-BLS    Doc 6 L. Filed 04/07/20
                                      WARR, AUDREY                     Page 1868
                                                                            WARR, of 1969
                                                                                  CHANCE
ADDRESS ON FILE                         4848 TOMS LANE                      ADDRESS ON FILE
                                        ERDA, UT 84074




WARR, LORRIN                            WARR, MYRLYNN                       WARREN BELCHER
4848 TOMS LANE                          156 MCMICHAEL ST                    P.O. BOX 531
ERDA, UT 84074                          P.O. BOX 622                        LEXINGTON, TN 38351
                                        GRANTSVILLE, UT 84029




WARREN DONNA                            WARREN E FOSTER                     WARREN JR., JOSEPH D.
1509 BRENTWOOD DR                       1979 POSEY RD                       ADDRESS ON FILE
ROUND LAKE BEACH, IL 60073              LAPINE, AL 36046




WARREN LAVONNA                          WARREN PUMP & SUPPLY                WARREN T COOK
ADDRESS ON FILE                         1551 JACKSON AVE.                   1208 BAYPOINT DR
                                        HUNTINGTON, WV.                     SENECA, SC 29672-9159
                                        HUNTINGTON, WV 25704




WARREN, BENJAMIN                        WARREN, BILLIE J.                   WARREN, CAT
903 RHODES ST                           ADDRESS ON FILE                     P.O. BOX 842116
WILLIAMSTON, NC 27892-1649                                                  DALLAS, TX 75284-2116




WARREN, CECELIA ANNE                    WARREN, CHRISTOPHER B.              WARREN, DEBORAH L
863 PRESCOTT ST                         109 SHIRLWIN ST                     ADDRESS ON FILE
SPRINGFIELD, OR 97477-0000              GRANITE CITY, IL 62040




WARREN, DIANA                           WARREN, HOPE                        WARREN, JAN E.
935 SPARKS RD.                          ADDRESS ON FILE                     134 S 1ST STREET
MORGANTON, GA 30560                                                         TOOELE, UT 84074




WARREN, JODY                            WARREN, JOEY                        WARREN, JULIE
ADDRESS ON FILE                         1606 THURMAN GRIFFIN RD             116 WASHINGTON STREET APT 410
                                        WILLIAMSTON, NC 27892               ANNA, IL 62906




WARREN, KRISTIN W.                      WARREN, LAINE N.                    WARREN, LAVONNA
ADDRESS ON FILE                         481 CAPTAIN REID LANE               ADDRESS ON FILE
                                        PRAIRIE GROVE, AR 72753




WARREN, LISA D.                         WARREN, MICHAEL A.                  WARREN, PEGGY A.
333 SHERWOOD DR.                        1407 MT. VERNON AVE.                ADDRESS ON FILE
GLEN CARBON, IL 62034                   BIG SPRING, TX 79720
WARREN, RONALD B.      Case 20-10766-BLS
                                     WARREN,Doc  6 Filed 04/07/20
                                              TRACI                 Page 1869 of WANDA
                                                                         WARREN, 1969
413 N BRYAN                          49 PARK ST                          3200 122ND ST
WEST FRANKFORT, IL 62896             MARSHALLVILLE, OH 44645             PLEASANT PRAIRIE, WI 53158




WARREN-KING, DIANA L.               WARRICK, EMILY A.                    WARWICK ENTERPRISES
12342 SOUTH BISHOP APT 2S           135 PHILLIPS 331                     P.O. BOX 28
CALUMET PARK, IL 60827              WEST HELENA, AR 72390                GRINNELL, IA 50112




WASATCH ELECTRIC                    WASCOM, ALEX                         WASH STEVEN R
A DIVISION OF DYNALECTRIC CO        3054 COUNTY RD 25                    113 COUNTY RD 465
2455 W 1500 S, SUITE A              DOTHAN, AL 36303                     FORT PAYNE, AL 35967-7280
SALT LAKE CITY, UT 84101-0000




WASH, KACI A.                       WASH, LATONYA                        WASHBURN LAUNDRY & DRYCLEANING
2 HIGHLAND COVE                     1900 CANAL STREET                    5005 BLAIRS FOREST LANE NE
BIG SPRING, TX 79720                BLUE ISLAND, IL 60406                SUITE F
                                                                         CEDAR RAPIDS, IA 52402




WASHBURN MACHINERY INC              WASHINGTON CO BOMBERS                WASHINGTON COUNTY HOSPITAL
175 GAYLORD ST                      C/O SCOTT CRAGEN                     P.O. BOX 909
ELK GROVE VILLAGE, IL 60007         P.O. BOX 135                         400 EAST POLK STREET
                                    OKAWVILLE, IL 62271                  WASHINGTON, IA 52353-1254




WASHINGTON ELEMENTARY SCHOOL        WASHINGTON EUGENIA                   WASHINGTON NATIONAL INS CO
402 E MAIN ST                       10232 S MORGAN ST                    11825 N PENNSYLVANIA
MARION, IL 62959                    CHICAGO, IL 60643                    CARMEL, IN 46032




WASHINGTON STATE DEPARTMENT OF      WASHINGTON TINA R                    WASHINGTON UNIVERSITY
REVENUE                             8432 S WOLCOTT                       DEPT OF INTERNAL MED
UNCLAIMED PROPERTY SECTION          CHICAGO, IL 60620                    P.O. BOX 60352
P.O. BOX 34053                                                           ST LOUIS, MO 63160-0352
SEATTLE, WA 98124-1053



WASHINGTON, BRENDA                  WASHINGTON, JOE                      WASHINGTON, MARK A.
12039 S LASALLE ST                  465 BRAMUCCI RD                      11217 RUESTA DR APT. 3
CHICAGO, IL 60628                   EARLE, AR 72331                      SAINT LOUIS, MO 63138




WASHINGTON, MATTHEW C.              WASHINGTON, SANDY                    WASHKO & ASSOCIATES LLC
ADDRESS ON FILE                     780 NICHOLAS CT                      16 POCKET CT
                                    MONROE, GA 30655                     NORTHPORT, NY 11768




WASILEWSKI, SEBASTIAN               WASSMER, THOMAS                      WASSON CHARISA
15312 TEEBROOK DRIVE                221 N BLUEGRASS WAY                  1246 E 850 N
ORLAND PARK, IL 60462               P.O. BOX 217                         TOOELE, UT 84074
                                    GRANTSVILLE, UT 84029
WASSON, CHARISA          Case 20-10766-BLS  Doc
                                       WASSON,    6 Filed 04/07/20
                                               CHRISTINE                Page 1870 of TRACY
                                                                             WASSON, 1969 B.
1232 E 940 N                            502 WEST HAROLD STREET               871 RAUM RD
TOOELE, UT 84074                        STEELEVILLE, IL 62288                HEROD, IL 62947




WASTE CONNECTIONS INC                   WASTE CONNECTIONS INC                WASTE CONNECTIONS OF MISSOURI
2630 PARK AVE                           P.O. BOX 660177                      196 NW INDUSTRIAL CT
BRONX, NY 10451                         DALLAS, TX 75266-0177                BRIDGETON, MO 63044




WASTE CONNECTIONS OF MISSOURI           WASTE CONNECTIONS OF MO              WASTE INDUSTRIES
P.O. BOX 742695                         P.O. BOX 679859                      P.O. BOX 791519
CINCINNATI, OH 45274-2695               DALLAS, TX 75267                     BALTIMORE, MD 21279-1519




WASTE MANAGEMENT JACKSON-TN             WASTE MANAGEMENT                     WASTE MANAGEMENT
P.O. BOX 55558                          1001 FANNIN, STE 4000                P O BOX 4648
BOSTON, MA 02205-5558                   HOUSTON, TX 77002                    CAROL STREAM, IL 60197-4648




WASTE MANAGEMENT                        WASTE MANAGEMENT                     WASZAK ANNA
P.O. BOX 4648                           P.O. BOX 5558                        12558 S PAULINA
CAROL STREAM, IL 60197-4648             BOSTON, MA 02205-5558                CALUMET PARK, IL 60827




WASZAK, NATALIE H.                      WATANABE-OTOOLE, NICHOLAS            WATCHMAN PATROL
10954 S LAWNDALE AVE                    4325 W ROME BLVD                     16085 TUSCOLA RD. STE 7
CHICAGO, IL 60655                       NORTH LAS VEGAS, NV 89084            APPLE VALLEY, CA 92307




WATER GEAR, INC.                        WATER OF LIFE                        WATER WATER INC
P.O. BOX 759                            120 YELLOW CREEK RD                  FORMERLY CULLIGAN WATER
PISMO BEACH, CA 93448                   EVANSTON, WY 82930                   P.O. BOX 2291
                                                                             BIG SPRING, TX 79721-2291




WATER WAY DISTRIBUTING CO INC           WATER WAY DISTRIBUTING CO INC        WATERBIRTH SOLUTIONS, INC
2919 3RD AVE N                          P.O. BOX 11786                       10644 RHODY DR
BIRMINGHAN, AL 35203                    BIRMINGHAM, AL 35202-1786            PORT HADLOCK, WA 98339




WATERFIELD GLENDA M                     WATERFIELD, CANDI                    WATERFIELD, LARRY G.
9619 E ILLINOIS 116                     5280 EVERETTS RD                     9619 E IL HWY 116
LONDON MILLS, IL 61544                  WILLIAMATON, NC 27892                LONDON MILLS, IL 61544




WATERLOGIC                              WATERLOO CHAMBER OF COMMERCE         WATERLOO CHAMBER OF COMMERCE
P.O. BOX 677867                         P.O. BOX 1                           P.O. BOX 1
DALLAS, TX 75267-7867                   118 E THIRD ST                       118 E THIRD ST
                                        WATERLOO, IL 62298                   WATERLOO, IL 62298-0000
                     Case 20-10766-BLS
WATERLOO HEALTHCARE LLC                   DocHIGH
                                   WATERLOO    6 SCHOOL
                                                   Filed 04/07/20   Page 1871 of 1969
                                                                         WATERLOO LIONS CLUB
3730 E. SOUTHERN AVE               505 BULLDOG BLVD                      P.O. BOX 254
PHOENIX, AZ 85040                  WATERLOO, IL 62298                    WATERLOO, IL 62298




WATERLOO SELF STORAGE               WATERMAN, COURTNEY B.                WATERMAN, JANA R.
136 WILLIAMSBURG LN                 5124 A STREET                        ADDRESS ON FILE
WATERLOO, IL 62298                  SPRINGFIELD, OR 97478




WATERMAN, LINDA K.                  WATERMAN, RHONDA                     WATERMARK AUTO GROUP
ADDRESS ON FILE                     ADDRESS ON FILE                      2611 BLUE HERON DR
                                                                         SUITE 200
                                                                         MARION, IL 62959




WATERS, ALICIA                      WATERS, ANGELA P.                    WATERS, ANNA S.
ADDRESS ON FILE                     P.O. BOX 842                         407 SANS SOUCI RD.
                                    HIAWASSEE, GA 30546                  WINDSOR, NC 27983




WATERS, ANSLEY                      WATERS, CARLA                        WATERS, CHARLOTTE N.
161 TALLENT RD                      ADDRESS ON FILE                      312 SMAW RD
COPPERHILL, TN 37317                                                     WASHINGTON, NC 27889




WATERS, DAVID B.                    WATERS, JANA                         WATERS, MITCHELL D.
ADDRESS ON FILE                     ADDRESS ON FILE                      6495 US HIGHWAY 264 EAST
                                                                         GREENVILLE, NC 27834




WATERS, PATTIE A.                   WATERS, TONY                         WATERWORKS BOARD OF SECTION
1816 READING RD                     457 EAST D AVENUE                    87 CIRCLE DR
SPRINGFIELD, IL 62703               P.O. BOX 125                         RAINSVILLE, AL 35986
                                    RADOM, IL 62876




WATERWORKS BOARD OF SECTION         WATHEN PAMELA G                      WATHEN, KATHERINE
P.O. BOX 1159                       286 JOHN CIRCLE                      3016 ALABAMA AVE NW
RAINSVILLE, AL 35986                ELLIJAY, GA 30540                    FORT PAYNE, AL 35967




WATKIN, TAMMY Y.                    WATKINS ANNA M                       WATKINS CATHERINE M
ADDRESS ON FILE                     1851 GALLOWAY RD                     84 T STREET
                                    BLUE RIDGE, GA 30513                 SPRINGFIELD, OR 97477




WATKINS NADINA M                    WATKINS VERONICA G                   WATKINS, ADRIAN L
912 N BUTRICK ST                    2314 ELISHA AVE                      355 SOUTH COANZA
WAUKEGAN, IL 60085                  ZION, IL 60099                       WEST HELENA, AR 72390
WATKINS, ANGELA          Case 20-10766-BLS   Doc
                                       WATKINS,    6 S.Filed 04/07/20
                                                BETTY                     Page 1872  of BRANDIE
                                                                               WATKINS, 1969
ADDRESS ON FILE                          P.O. BOX 345                           215 VFW LN
                                         CROSSVILLE, AL 35962-0953              ANNA, IL 62906




WATKINS, CAROLSUE A.                     WATKINS, CINDY                         WATKINS, CYNTHIA G.
ADDRESS ON FILE                          806 VICKERY RD                         P.O. BOX 248
                                         GREENVILLE, AL 36037                   BLUE RIDGE, GA 30513




WATKINS, DARQIETA R.                     WATKINS, DESTINY R.                    WATKINS, GENEVA
758 N. CLOVERLEAF                        98 ADAMS DR                            202 PROSPERITY
SPRINGFIELD, OR 97477                    MINERAL BLUFF, GA 30559                CARTERVILLE, IL 62918




WATKINS, GERARD                          WATKINS, KATHERINE                     WATKINS, LEA A.
P.O. BOX 247                             ADDRESS ON FILE                        ADDRESS ON FILE
KENNETT, MO 63857




WATKINS, MARIE                           WATKINS, MOLLY B.                      WATKINS, OPHRA
101 COUNTRY CLUB RD                      2180 CARROLL LAKE ROAD                 1451 LEE 309 RD
WEST MEMPHIS, AR 72301                   MCKENZIE, TN 38201                     MARIANNA, AR 72360




WATKINS, REBECCA                         WATKINS, RITA K.                       WATKINS, RONNIE
ADDRESS ON FILE                          ADDRESS ON FILE                        6906 HWY 1 SOUTH
                                                                                MARIANNA, AR 72360




WATKINS, ROOSEVELT                       WATKINS, SARAH                         WATKINS, SHARON K.
12781 W SOUTHVIEW AVE                    ADDRESS ON FILE                        ADDRESS ON FILE
WAUKEGAN, IL 60085




WATKINS, TAMMY Y.                        WATKINS, TAMMY Y.                      WATKINS, TIFFANY
17525 GRAPEVINE RD                       ADDRESS ON FILE                        243 TRADITIONS DRIVE
CHESTER, AR 72934                                                               LOGANVILLE, GA 30052




WATKINS, TINA                            WATKINS, TOSHIKO                       WATSON EMIL V
ADDRESS ON FILE                          55 WILLOWDALE LAKE AVE NW              1995 GRASSY CREEK RD
                                         NORTH CANTON, OH 44720                 COPPERHILL, TN 37317




WATSON FLORIST                           WATSON SYSCO FOOD SERVICES,INC         WATSON, BRENDA S.
107 SO 5TH                               ACCT 288860                            ADDRESS ON FILE
WEST HELENA, AR 72390                    P.O. BOX 5910
                                         LUBBOCK, TX 79408
WATSON, CAROL LOU       Case 20-10766-BLS  Doc
                                      WATSON,    6 Filed
                                              CHASSITY C. 04/07/20      Page 1873 of CHRISTY
                                                                             WATSON, 1969 L.
5987 PUMICE ST                         105 MCKEE STREET                      ADDRESS ON FILE
SPRINGFIELD, OR 97478                  LEXA, AR 72355




WATSON, CONNIE                         WATSON, CONSTANCE E.                  WATSON, DONNA J.
6950 WILD BILL COURT                   ADDRESS ON FILE                       3411 CO RD 221
CHEYENNE, WY 82001                                                           COLLINSVILLE, AL 35961




WATSON, EMILY M.                       WATSON, GARRETT S.                    WATSON, ICE
4700 MARTLING ROAD                     ADDRESS ON FILE                       P.O. BOX 621
ALBERTVILLE, AL 35951                                                        JONESBORO, AR 72403




WATSON, JERI K.                        WATSON, JESSICA L.                    WATSON, JESSICCA D.
ADDRESS ON FILE                        3595 STATE ROUTE 146                  4917 WILLOW LN
                                       ANNA, IL 62906                        GRANITE CITY, IL 62040




WATSON, LARRY I.                       WATSON, PAMELA E                      WATSON, REBECCA
204 S KING ST                          4703 TAILS CREEK RD                   4009 SARA ST
WINDSOR, NC 27983                      ELLIJAY, GA 30540                     GRANITE CITY, IL 62040




WATSON, SEAN D.                        WATSON, SHANE - CEO                   WATSON, STEPHEN
ADDRESS ON FILE                        ADDRESS ON FILE                       219 MADISON ST
                                                                             GALESBURG, IL 61401




WATSON, SUE                            WATSON, TALISHA                       WATSON, TARA
1089 PINE NUT WAY                      12744 S LOOMIS                        2981 OLD MILL RD
MESQUITE, NV 89034                     RIVERDALE, IL 60827                   RUTLEDGE, GA 30663




WATSON, WENDY R.                       WATSONVILLE COMMUNITY HOSPITAL        WATSONVILLE PUBLIC WORKS & UTILITIES
11 PAR DRIVE APT 9                     ENTITY 0152                           250 MAIN ST
LITTLE ROCK, AR 72210                  75 NIELSON STREET                     WATSONVILLE, CA 95076
                                       WASTONVILLE, CA 95076




WATT MAN LED LIGHTING                  WATT, DONNA JO                        WATT, TIMOTHY
P.O. BOX 1345                          3207 LIME AVE                         2130 SE SANDY CT.
DECATUR, GA 30031                      MT. VERNON, IL 62864                  TROUTDALE, OR 97060




WATT, WANDA L.                         WATTERS, ALICIA                       WATTS JR., OV
ADDRESS ON FILE                        ADDRESS ON FILE                       219 LICK BRANCH NOCTOR RD.
                                                                             NOCTOR, KY 41357
WATTS PAMELA G            Case 20-10766-BLS     Doc 6
                                        WATTS SADIE   L   Filed 04/07/20   Page 1874
                                                                                WATTS,of 1969
                                                                                       ANGIE
101 2ND AVENUE                          2741 EZRA AVE                           3005 S LAS CRUCES ST
RAINSVILLE, AL 35986-5011               BARTONS                                 DEMING, NM 88030
                                        ZION, IL 60099




WATTS, ASHLEY D.                         WATTS, BARRICK                         WATTS, BELINDA
4175 HIGHWAY 3193                        P.O. BOX 1249                          811 WIREGRASS RD
JACKSON, KY 41339                        401 AVE                                HAMLET, NC 28345
                                         FORT DAVIS, TX 79734




WATTS, BONNIE                            WATTS, CHARLES E.                      WATTS, DEBRA M.
437 BIG BRANCH ROAD                      904 A N HIGHLAND                       962 MASSER ST
DUNLOW, WV 25511-8135                    MARION, IL 62959                       SUNBURY, PA 17801




WATTS, JAY                               WATTS, JEFF                            WATTS, NIKKI
2327 KY 205                              2395 HO HUM HOLLOW RD                  65 ROBINSON DR
CAMPTON, KY 41301                        MONROE, GA 30655-5531                  PAINTSVILLE, KY 41240




WATTS, SAJEN                             WATTS, SYDNEY                          WATTS, THOMAS G.
867 JERUSHIA ROAD                        607 SMELTER ROAD                       9146 S. HOMAN AVE.
BOONEVILLE, KY 41314                     TOOELE, UT 84074                       EVERGREEN PARK, IL 60805




WATTS, TIMOTHY                           WATTS,DAVID FOR WATTS, MEREDITH        WATTSMOORE, NANCY R.
ADDRESS ON FILE                          205 RUSH RD                            3620 W 120TH ST APT 106
                                         WILDERSVILLE, TN 38388                 ALSIP, IL 60803




WATWOOD, ANGELA D.                       WAUGH, ANGIE                           WAUGH, CHRISTOPHER
806 RACHELS VIEW                         2026 STATE HWY 164                     111 LEXINGTON DR
HERMITAGE, TN 37076                      MONMOUTH, IL 61462                     COLINSVILLE, IL 62234




WAUGH, DEBRA J.                          WAUGH, MIKE                            WAUKEGAN ALUMNAE CHPTR
ADDRESS ON FILE                          1400 VILLA VERDE DR                    DELTASIGMATHETA SORORITY IN
                                         GREENVILLE, IL 62246                   P.O. BOX 972
                                                                                WAUKEGAN, IL 60079-0000




WAUKEGAN CHAMBER OF COMMERERCE           WAUKEGAN CLINIC CORP.                  WAUKEGAN FIRE DEPARTMENT
214 W. WASHINGTON ST 2ND FLOOR           208 SOUTH LASALLE STREET               1101 BELVIDERE ROAD
WAUKEGAN, IL 60085                       SUITE 814                              WAUKEGAN, IL 60085
                                         CHICAGO, IL 60604




WAUKEGAN GURNEE GLASS INC                WAUKEGAN HOSPITAL CORPORATION          WAUKEGAN ILLINOIS HOSPITAL COMPANY,
1200 N ESTES                             208 SOUTH LASALLE STREET               LLC
GURNEE, IL 60031                         SUITE 814                              1573 MALLORY LANE, SUITE 100
                                         CHICAGO, IL 60604                      BRENTWOOD, TN 37027
WAUKEGAN MAIN STREET Case 20-10766-BLS    DocPARK
                                   WAUKEGAN    6 DISTRICT
                                                    Filed 04/07/20   Page 1875 of 1969
                                                                          WAUKEGAN POSTMASTER
100 N. MARTIN LUTHER KING JR AVE   2000 BELVIDERE ROAD                    326 N GENESSE
WAUKEGAN, IL 60085                 WAUKEGAN, IL 60085                     WAUKEGAN, IL 60085




WAUKEGAN ROOFING CO, INC             WAUKEGAN ROOFING CO, INC             WAUKEGAN SAFE & LOCK LTD
1320 GLADSTONE AVE                   252 CHADDICK DR                      1621 GRAND AVE
WAUKEGAN, IL 60085                   WHEELING, IL 60090                   WAUKEGAN, IL 60085




WAUKEGAN SPEEDY LOAN                 WAUKEGAN SPEEDY LOANS                WAUKEGAN SPEEDY LOANS
P.O. BOX 184                         P.O. BOX 1906                        P.O. BOX 190660
DES PLAINES, IL 60016                DES MOINES, IL 60017-0000            DES MOINES, IL 60017-0000




WAUKEGAN STEEL SALES                 WAUKEGAN TO COLLEGE                  WAUKEGAN TOWNSHIP
1201 BELVIDERE RD                    410 GRAND AVENUE                     149 S GENESEE ST
WAUKEGAN, IL 60085                   WAUKEGAN, IL 60085                   WAUKEGAN, IL 60085




WAVE FORM SYSTEMS INC                WAWCZAK, MONICA                      WAXIE SANITARY SUPPLY
P.O. BOX 6989                        ADDRESS ON FILE                      P.O. BOX 748802
PORTLAND, OR 97208-6989                                                   LOS ANGELES, CA 90074-8802




WAXIES ENTERPRISES INC               WAY GEARY L                          WAY ROBERT L
P.O. BOX 748802                      1141 STATE HWY 164                   103 N SCHWARTZ ST
LOS ANGELES, CA 90074-8802           MONMOUTH, IL 61462                   ABINGDON, IL 61410




WAY, GEARY L.                        WAY, ROBERT L.                       WAY, TIMOTHY M.
1141 STATE HWY 164                   103 N SCHWARTZ ST                    4134 RODE AVE
MONMOUTH, IL 61462                   ABINGDON, IL 61410                   GRANITE CITY, IL 62040




WAYDES LOCK SHOP                     WAYLON, GLOVER                       WAYMAN, CHEUNG
672 SFC 718                          700 S 23RD STREET                    55 DAISY LANE
FORREST CITY, AR 72335-0000          MT. VERNON, IL 62864                 KERMIT, WV 25674-0256




WAYMAN, EMALEE                       WAYMIRE, RUTH A.                     WAYNA BUTTS
ADDRESS ON FILE                      ADDRESS ON FILE                      3235 DUKE AVE
                                                                          BIG SPRING, TX 79720-0000




WAYNE A NEISWENDER                   WAYNE BURGESS, MICHAEL               WAYNE CITY HIGH SCHOOL
6884 REDBAY PARK RD 201              330 E. SPANGLE                       P.O. BOX 427
NAPLES, FL 34109-6102                STAUNTON, IL 62088                   WAYNE CITY, IL 62895
WAYNE CO PRESS           Case 20-10766-BLS   Doc 6 MAGISTRATE
                                       WAYNE COUNTY Filed 04/07/20
                                                              COURT   Page 1876
                                                                           WAYNEof 1969NEWS, THE
                                                                                COUNTY
213 E MAIN                              CLERK                              P.O. BOX 2017
FAIRFIELD, IL 62837                     P.O. BOX 667                       HUNTINGTON, WV 25720-2017
                                        WAYNE, WV 25570




WAYNE EVANS                             WAYNE HAMMERSCHMIDT                WAYNE J ROPER DBA ROPER ELECTR
P.O. BOX 882                            1086 WOODBINE CIRCLE E             RT 1, BOX 1632
LOGANDALE, NV 89021                     GALESBURG, IL 61401                LAS VEGAS, NM 87701




WAYNE RAKERS                            WAYNE SAGE                         WAYNE SMITH
471 MAPLE AVE                           PO BOX 82                          269 LINWAY RD
GALESBURG, IL 61401                     CAMERON, IL 61423                  LOCK HAVEN, PA 17745




WAYNE T SMITH TTEE THE 2009 WTS         WAYNE T SMITH                      WAYNE T. SMITH
IRREVTRUST                              504 WESTVIEW AVE                   C/O ROBBINS, RUSSELL, ENGLERT,
FBO CHERYL SMITH & DESCENDANTS U/A      NASHVILLE, TN 37205-3824           ORSECK, UNTEREINER & SAUBER LLP
DTD 02/27/09                                                               ATTN: GARY A. ORSECK
504 WESTVIEW AVENUE                                                        2000 K ST, NW, 4TH FL
NASHVILLE, TN 37205-3824                                                   WASHINGTON, DC 20006

WAYNE, IVEY R.                          WAYNES CUSTOM KITCHENS             WAYNE-WHITE COUNTIES ELEC COOP
532 LEES CHAPEL RD                      7657 HWY 15 SOUTH                  1501 W MAIN ST
HENAGAR, AL 35978-6005                  JACKSON, KY 41339                  FAIRFIELD, IL 62837




WAYNE-WHITE COUNTIES ELECTRIC           WAYT, MATTHEW P.                   WC ALTERNATIVE SERVICES
COOPERATIVE                             245 LAKEWOOD DR                    200 MALLORY LANE SUITE 130 601
PO DRAWER E                             ORRVILLE, OH 44667                 FRANKLIN, TN 37067
FAIRFIELD, IL 62837-0090




WC ARGO GRP                             WC CMI                             WC CMI
P.O. BOX 469010                         P.O. BOX 1288                      P.O. BOX 14731
SAN ANTONIO, TX 78246                   BENTONVILLE, AR 72712              LEXINGTON, KY 40512




WC ESIS                                 WC OF UTAH                         WC WYOMING
P.O. BOX 6561                           P.O. BOX 2227                      1510 EAST PERSHING BLVD
SCRANTON, PA 18505                      SANDY, UT 84091                    SOUTH WING
                                                                           CHEYENNE, WY 82002




WC WYOMING                              WC/UNDERWRITERS SAFETY             WCIL-FM
P.O. BOX 2661                           P.O. BOX 5336                      MISSISSIPPI RIVER RADIO
PORTLAND, OR 97208                      KNOXVILLE, TN 37928                324 BROADWAY STREET
                                                                           CAPE GIRARDEAU, MO 63701




WCISLO, KATHLEEN M.                     WD MUSIC LLC                       WDI / CAROLINA COUNTRY STAMPEDE
841 W GUNNISON 2                        303 ST PAUL                        P.O. BOX 464
CHICAGO, IL 60640                       COLUMBIA, IL 62236                 WILLIAMSTON, NC 27892
WDML 106.9FM             Case 20-10766-BLS   Doc
                                       WE CARE    6 Filed 04/07/20
                                               VOLUNTEERS               Page 1877 of 1969
                                                                             WEARSTLER, JOHN
P.O. BOX 1508                           190 ARROWHEAD DR.                    3454 STATE ST NW
MT. VERNON, IL 62864                    EVANSTON, WY 82930                   NORTH CANTON, OH 44720




WEATHERBEE, ELEANOR                     WEATHERBY HEALTHCARE                 WEATHERBY LOCUMS INC
4642 REDFOX DR NW                       P.O. BOX 972633                      P O BOX 972633
MASSILLON, OH 44646                     DALLAS, TX 75397                     DALLAS, TX 75397-2633




WEATHERBY LOCUMS INC                    WEATHERBY LOCUMS                     WEATHERBY LOCUMS, INC
P.O. BOX 972633                         CHG HEALTHCARE SERVICES, INC.        P.O. BOX 972633
DALLAS, TX 75397-2633                   SALT LAKE CITY, UT 84121-5892        DALLAS, TX 75397-2633




WEATHERFORD, ALAN D.                    WEATHERFORD, ALAN                    WEATHERFORD, MAUREEN E.
ADDRESS ON FILE                         ADDRESS ON FILE                      ADDRESS ON FILE




WEATHERFORD, SHERRY                     WEATHERFORD, TAMMY S.                WEATHERS, GAYLON J.
ADDRESS ON FILE                         114 THOMPSON ST                      ADDRESS ON FILE
                                        COLT, AR 72326




WEATHERSTON THERESA                     WEAVER EVA                           WEAVER HARLEY
165 CRYSTAL BAY DRIVE                   2045 CAMPGROUND RD                   41 THOMPSON CT
STANSBURY PARK, UT 84074                ANNA, IL 62906                       ELLIJAY, GA 30540




WEAVER JR., HENRY O.                    WEAVER MARY JEAN                     WEAVER, ALVIN D.
95 ALDRIDGE LN                          P.O. BOX 345                         2800 DURSTINE RD
WATSONVILLE, CA 95076                   LOWELL, OR 97452                     DUNDEE, OH 44624




WEAVER, CHANCEY                         WEAVER, GORDON                       WEAVER, JACQUELINE
92 S AVALLON DR                         P.O. BOX 168                         ADDRESS ON FILE
ST. GEORGE, UT 84770                    LITTLEFIELD, AZ 86432




WEAVER, JEFFREY                         WEAVER, KRISTA LYNN                  WEAVER, LAURA
ADDRESS ON FILE                         3320 JOHNSON RD                      7000 S MOUNT EATON RD
                                        GRANITE CITY, IL 62040               DALTON, OH 44618




WEAVER, MAURICE D.                      WEAVER, REAGAN C.                    WEAVER, REBECCA A.
753 COUNTY ROAD 762                     85 EVANS ROAD                        2357 TOLLWOOD CT
HENAGAR, AL 35978-3363                  LEESBURG, AL 35983                   GRAYSON, GA 30017-1820
WEAVER, RUTH            Case 20-10766-BLS  Doc
                                      WEAVER,    6 Filed 04/07/20
                                              SCOTT                 Page 1878 of SCOTT
                                                                         WEAVER,  1969
1215 MOSCOW RD                         ADDRESS ON FILE                   ADDRESS ON FILE
DONGOLA, IL 62926




WEAVER, SOPHIA                         WEAVER, TINA                      WEAVER-MULLIN, MARJORIE L.
ADDRESS ON FILE                        ADDRESS ON FILE                   172 MONTEBELLO DR
                                                                         WATSONVILLE, CA 95076




WEB TPA                                WEB TPA                           WEBB MEDICAL LLC
ATTN: REFUND DEPARTMENT                P.O. BOX 2415                     1241 CARPENTER ST
P.O. BOX 99906                         GRAPEVINE, TX 76099               PHILADELPHIA, PA 19147
GRAPEVINE, TX 76099-9706




WEBB, ALIA                             WEBB, ALMA                        WEBB, AMY
1702 JULIANNE DR                       54 DOGWOOD HEIGHTS                9778 THREEWAY ROAD
MARION, IL 62959                       INEZ, KY 41224                    BATH SPRINGS, TN 38311




WEBB, ANN                              WEBB, ANNA J.                     WEBB, BETTY
ADDRESS ON FILE                        ADDRESS ON FILE                   6827 S ROCKWELL
                                                                         CHICAGO, IL 60629




WEBB, BRADEN T.                        WEBB, BRANDI S.                   WEBB, CHAUNCEY
360 WEBB TOWN ROAD                     9 GLENWICK CV                     2072 GREEN ACRES RD
TUNNEL HILL, IL 62972                  BIG SPRING, TX 79720              WILLIAMSTON, NC 27892




WEBB, CHESTER                          WEBB, DANA M.                     WEBB, DARLENE
153 HICKORY HOLLOW                     ADDRESS ON FILE                   300 SHOPPINGWAY APT 17
GRAYSON, KY 41143                                                        WEST MEMPHIS, AR 72301




WEBB, E. R.                            WEBB, ELIZABETH A.                WEBB, EULLA
75 DOVE LANE                           ADDRESS ON FILE                   6216 HIGHWAY 1 N
LOUISA, KY 41230                                                         MARIANNA, AR 72360




WEBB, J. B.                            WEBB, JEFFREY S.                  WEBB, JOHNNA M.
ADDRESS ON FILE                        ADDRESS ON FILE                   ADDRESS ON FILE




WEBB, JOHNNY E.                        WEBB, KELSEY                      WEBB, MITCHELL
771 FLEETWOOD DR                       P.O. BOX 1394                     270 E CLAYTON LANE
TOOELE, UT 84074                       PANHANDLE, TX 79068               LOUISA, KY 41230
WEBB, OSCAR LEE       Case 20-10766-BLS    Doc 6 G. Filed 04/07/20
                                    WEBB, RANDALL                    Page 1879  of 1969
                                                                          WEBB, REGINA LYLES
285 ISAAC PARK ROAD                   6801 W 19TH ST LOT 272               ADDRESS ON FILE
LOUISA, KY 41230                      LUBBOCK, TX 79407




WEBB, SHARON                          WEBB, SIERRA                         WEBB, STEVE D.
P. O. BOX 3                           ADDRESS ON FILE                      360 WEBB TOWN ROAD
TOOELE, UT 84074                                                           TUNNELL HILL, IL 62972




WEBB, TAMMY J.                        WEBB, TAMMY                          WEBB, TAMMY
ADDRESS ON FILE                       ADDRESS ON FILE                      ADDRESS ON FILE




WEBB, TANNER                          WEBB, VICKI                          WEBBER THOMAS M
96 WESTMOUNT DRIVE                    6322 SPANKEM BRANCH RD               2925 PARKWAY CT
LOUISA, KY 41230                      LOUISA, KY 41230-6173                GALESBURG, IL 61401




WEBBER, AMANDA                        WEBBER, CARLA JEAN                   WEBBER, DR DAVID, DO
ADDRESS ON FILE                       P.O. BOX 1131                        504 PECAN ST
                                      P.O. BOX 1131                        HELENA, AR 72342
                                      CORVALLIS, OR 97339




WEBBER, JARRETT                       WEBBER, MCNUTT                       WEBBER, PAMELA
102 TURNER ST.                        P.O. BOX 433                         977 BREEZY BLUFF DRIVE
CRAWFORDSVILLE, AR 72327              MINERAL CITY, OH 44656-0433          GALESBURG, IL 61401




WEBBER, SHERRY M.                     WEBBER, SUSAN L.                     WEBBS AUTO REPAIR
ADDRESS ON FILE                       318 E. NORTH ST.                     2630 OLD HUNTINGDON ROAD
                                      KNOXVILLE, IL 61448                  LEXINGTON, TN 38351




WEBER & OLCESE PLC                    WEBER BRANDY K                       WEBER CHEVROLET
2700 STANLEY GAULT PARKWAY            ADDRESS ON FILE                      3499 PROGRESS PARKWAY
SUITE 130                                                                  GRANITE CITY, IL 62040
LOUISVILLE, KY 40223




WEBER FIRE & SAFETY                   WEBER GRANITE CITY FORD, LLC         WEBER, ALISA E.
P.O. BOX 29109                        3465 PROGRESS PKWY                   540 30TH AVE
ST LOUIS, MO 63126                    GRANITE CITY, IL 62040               SANTA CRUZ, CA 95062




WEBER, AMANDA M.                      WEBER, ANGELA D.                     WEBER, BRANDY K.
ADDRESS ON FILE                       ADDRESS ON FILE                      ADDRESS ON FILE
WEBER, CHRISTINE       Case 20-10766-BLS
                                     WEBER,Doc
                                           FRED 6
                                                I.      Filed 04/07/20   Page 1880
                                                                              WEBER,of 1969
                                                                                     KAREN
ADDRESS ON FILE                       2320 CREVE COEUR MILL RD                3919 TAPLIN COURT
                                      MARYLAND HEIGHTS, MO 63043-8501         BRIDGETON, MO 63044




WEBER, LINDSAY A.                     WEBER, LORI                             WEBER, MONICA
ADDRESS ON FILE                       33939 SUFFECH RD                        2850 GORDON AVE NW
                                      NEWBERRY SPRINGS, CA 92365              MASSILLON, OH 44647




WEBFOOT JUNIORS VOLLEYBALL CLUB       WEBLEY, SYDNEY                          WEBSTER JOSHUA WILLIAM
P.O. BOX 5492                         ADDRESS ON FILE                         P.O. BOX 201
EUGENE, OR 97405                                                              MOSQUERO, NM 87733




WEBSTER VALERIE                       WEBSTER, CHARLES                        WEBSTER, JEANNA R.
1341 LORRAINE PL                      96 E SCHOOL ST                          ADDRESS ON FILE
WAUKEGAN, IL 60085                    TURRELL, AR 72384




WEBSTER, LESLIE A.                    WEBSTER, REBECCA L.                     WEBSTER, REBECCA
ADDRESS ON FILE                       ADDRESS ON FILE                         ADDRESS ON FILE




WECK CLOSURE SYSTEM                   WECO                                    WEDDINGTON, ALLEN
P.O. BOX 601608                       P.O. BOX 41390                          103 GAIL COVE
CHARLOTTE, NC 28260-1608              EUGENE, OR 97404                        MARION, AR 72364




WEDEL, JOSHUA                         WEDEMEYER, VIRGINIA                     WEDGE, ANITA
1307 GERBER WOODS DRIVE               ADDRESS ON FILE                         606 SCOTT CT
EDWARDSVILLE, IL 62025                                                        FOX LAKE, IL 60020




WEEAMS, SHARON M.                     WEECH, ANNA I.                          WEED, HEATHER
ADDRESS ON FILE                       261 N LINWOOD ROAD                      ADDRESS ON FILE
                                      GALESBURG, IL 61401




WEEDEN, KAREN                         WEEDMAN, STORMY M.                      WEEG, GREGORY
104 E PEARL GEORGETOWN ST             ADDRESS ON FILE                         810 CENTRAL PARK DRIVE
GEORGETOWN, AR 72143                                                          ROUND LAKE BEACH, IL 60073




WEEG, LINDA L.                        WEEKS, HALEY                            WEEKS, KATHY A.
P.O. BOX 337                          3255 GATEWAY STREET APARTMENT 9         ADDRESS ON FILE
ROUND LAKE BEACH, IL 60073            SPRINGFIELD, OR 97477
WEEKS, ROBERT              Case 20-10766-BLS
                                         WEEKS, Doc 6 J. Filed 04/07/20
                                                TAYLOR                    Page 1881 of DR.
                                                                               WEEMES, 1969KRISTOPHER
262 N 725 W                                ADDRESS ON FILE                      530 HIGHLAND DRIVE
HOBART, IN 46342                                                                RAINSVILLE, AL 35986




WEEMS, AMANDA D.                           WEEMS, REVA S.                       WEG, NICHOLAS
ADDRESS ON FILE                            ADDRESS ON FILE                      3751 W 116STH ST
                                                                                ALSIP, IL 60803




WEGENER, ELAINE J.                         WEGENER, MELISSA                     WEGENER, PAMELA
3355 N DELTA HWY UNIT 54                   130 ASPEN GROVE DR W                 1022 THOMAS DRIVE
EUGENE, OR 97408                           EVANSTON, WY 82930-4771              RED BUD, IL 62278




WEGESCHEIDE, JESSICA                       WEGESCHEIDE, JESSICA                 WEGG, VANESSA E.
123 MADISON DRIVE APT A                    ADDRESS ON FILE                      15325 WALNUT ROAD
WATERLOO, IL 62298                                                              OAK FOREST, IL 60452




WEGIEL, ADAM                               WEHKING, BEVERLY                     WEHRLE, LINDSAY M.
3016 99TH ST                               520 NANCY DRIVE                      ADDRESS ON FILE
HIGHLAND, IN 46322                         CENTRALIA, IL 62801




WEI, JING                                  WEICK, KEITH                         WEIDAUER, CARL S.
13320 SOUTHEAST 162ND AVE                  213 JACOB ST NE                      ADDRESS ON FILE
APT. 265                                   NAVARRE, OH 44662-8532
HAPPY VALLEY, OR 97015




WEIDENHAMER, HOLLY                         WEIDMAN, MARSHALL A.                 WEIDNER, WHITNEY K.
301 W BERNARD ST                           415 SPRUCE LN                        712 GOLIAD ST
ABINGDON, IL 61410                         MONROE, GA 30655                     BIG SPRING, TX 79720




WEIGELT, CYNTHIA L.                        WEIGNER, DAVID                       WEIHL, JAMES
343 SOQUEL AVE PMB112                      216 DELLFIELD LN                     2914 DELORA LANE
SANTA CRUZ, CA 95062                       COLUMBUS, OH 43230-3222              HERRIN, IL 62948




WEIKEL, ALLYSON                            WEIL II, DAVID                       WEILACHER, ANDREW
126 HIAWATHA TRL                           720 TERN CT                          1742 BAIRD AVE
LOCK HAVEN, PA 17745                       NASHVILLE, TN 37221                  GALESBURG, IL 61401




WEILACHER, JAMIE                           WEINBERG, HOWARD                     WEINBERGER, MATHEW
1742 BAIRD AVE                             18836 WILDFLOWER WAY                 ADDRESS ON FILE
GALESBURG, IL 61401                        LAKE VILLA, IL 60046
WEINER, MARTIN MD        Case 20-10766-BLS
                                       WEINER,Doc 6 MDFiled 04/07/20
                                               MARTIN                  Page 1882  of 1969
                                                                            WEINSTEIN, LENNA
209 BRAMPTON                            ADDRESS ON FILE                      2904 W LOG CIR UNIT B
LAKE FOREST, IL 60045                                                        LITTETON, CO 80120-8114




WEINTRAUB-BLAKE, AMY E.                 WEIR FORD, LLC                       WEIR, FRANCES
5368 AMBER MEADOWS DR                   1615 S MAIN ST                       4019 30TH ST NE
IMPERIAL, MO 63052                      P.O. BOX 166                         CANTON, OH 44705-4863
                                        RED BUD, IL 62278




WEIR, JOHN                              WEIR, MICHELLE R.                    WEIRAUCH, JESSICA M.
15812 N. MCCAULEY LN                    ADDRESS ON FILE                      ADDRESS ON FILE
MT. VERNON, IL 62864




WEIS, BEVERLY O.                        WEIS, BEVERLY O.                     WEIS, JENNIFER
2208 BEAVER CREEK LN                    4037 WHISPERING PINES RD             ADDRESS ON FILE
AIKEN, SC 29803                         AUGUSTA, GA 30906




WEIS, KATHY                             WEIS, LEAH C.                        WEIS, MICHAEL S.
470 COUNTY ROAD 159 P.O. BOX 2485       ADDRESS ON FILE                      2532 18TH ST APT 11
EVANSTON, WY 82930                                                           KENOSHA, WI 53140




WEISBRODT, AUTUMN S.                    WEISE, DONALD J.                     WEISENSTEIN, KENT
ADDRESS ON FILE                         235 BIG PLUM RUN RD                  5381 LIVE OAK DRIVE
                                        LOCK HAVEN, PA 17745                 SMITHTON, IL 62285




WEISGARBER, GARNON P.                   WEISS, JON GREGORY                   WEISS, LOIS
440 23RD ST NW                          3313 FALCON DR                       127 WESTVIEW PLACE
MASSILLON, OH 44647-0000                SPRINGFIELD, OR 97477                WATERLOO, IL 62298




WEISSERT, LAUREN                        WEISSERT, PAIGE L.                   WEKG
319 CORTNER DR                          319 CORTNER DR                       1501 HARGIS LANE
SMITHTON, IL 62285                      SMITHTON, IL 62285                   JACKSON, KY 41339




WELBORN LISA                            WELBORNE, DAVIS                      WELCH ALLYN INC
2528 RONEY DR                           702 MURPH MILL RD                    P.O. BOX 73040
GRANITE CITY, IL 62040                  ST MATTHEWS, SC 29135                CHICAGO, IL 60673-7040




WELCH ALLYN PRODUCT SERVICE             WELCH ALLYN, INC                     WELCH ALLYN, INC.
4619 JORDAN RD                          P.O. BOX 73040                       POB 73040
SKANEA PELES FALLS, NY 13153            CHICAGO, IL 60673-7040               CHICAGO, IL 60673-7040
WELCH MAVAMARIE J         Case 20-10766-BLS   Doc 6 S Filed 04/07/20
                                        WELCH SHERRY                   Page 1883
                                                                            WELCH,of 1969
                                                                                   ANGELA
615 S 1350 E                             277 OAK DRIVE                      ADDRESS ON FILE
TOOELE, UT 84074                         MC CAYSVILLE, GA 30555-2604




WELCH, BOBBY                             WELCH, CRYSTAL A.                  WELCH, DAMITA D.
277 OAK DRIVE                            258 TURKEY CREEK                   9178S S HARVARD AVE
MCCAYSVILLE, GA 30555                    LANGLEY, KY 41645                  CHICAGO, IL 60620




WELCH, DONALD                            WELCH, JACQUELINE                  WELCH, JEREMY
P.O. BOX 1551                            1829 E GRANT AVE                   21308 OAK REST RD
MASSILLON, OH 44648                      LINDENHURST, IL 60048              PIASA, IL 62079




WELCH, LANE                              WELCH, NICHOLE                     WELCH, NIKIAYA
BOX 197                                  604 WEST 17TH ST                   9750 CRESCENT PARK CIRCLE DR UNIT 449
COPPERHILL, TN 37317                     BIG SPRING, TX 79720               ORLAND PARK, IL 60462




WELCH, RAYMOND L.                        WELCH, ROBERT                      WELCH, SUSAN P
1927 LEGION RD                           5932 THOMPSON PARK BLVD            BO
ELLIJAY, GA 30540                        INDIANAPOLIS, PA 46237-3104




WELCH, SUSAN P.                          WELCH, TIFFANY N.                  WELCH, TRISTIN J.
2216 RIVER ROAD                          2202 IRONWOOD RIDGE CT.            ADDRESS ON FILE
MINERAL BLUFF, GA 30559                  DACULA, GA 30019




WELCH, VICTOR M.                         WELCH-ALLYN INC                    WELCHRADABAUGH TRINITY N
2209 CENTRAL AVE                         P O BOX 73040                      4425 ALTURA ST
AUGUSTA, GA 30904-4405                   CHICAGO, IL 60673-7040             EUGENE, OR 97404




WELCOME CARD                             WELCOME WAGON                      WELDEN, BILLY JR
13364 SE 124TH AVE                       5830 CORAL RIDGE DR STE 240        2566 COUNTY ROAD 141
CLACKAMAS, OR 97015-9322                 CORAL SPRINGS, FL 33076            IDER, AL 35981




WELDEN, JENNIFER                         WELDING, JARVIS                    WELDON SANDRA A
611 COUNTY ROAD 507                      124 E PINE STREET                  117 BERRY RD
RAINSVILLE, AL 35986                     CANTON, IL 61520                   BLAIRSVILLE, GA 30512




WELDON, BRANDY N.                        WELDON, DIANA R.                   WELDON, EVA J.
ADDRESS ON FILE                          137 COMPTON TERRACE                4183 COUNTY RD 159
                                         FREEDOM, CA 95019                  FLAT ROCK, AL 35966-8221
WELDON, PETE             Case 20-10766-BLS
                                       WELGE, Doc  6 J.Filed 04/07/20
                                              MELISSA                     Page 1884 ofKAREN
                                                                               WELKER, 1969J.
389 ILLINOIS AVE                         ADDRESS ON FILE                       143 CUMBERLAND GAP
GALESBURG, IL 61401                                                            EPWORTH, GA 30541




WELL CARE RECOVERY DEPT                  WELL MED                              WELLCARE HEALTH CARE
P.O. BOX 31658                           P.O. BOX 400066                       P.O. BOX 31584
TAMPA, FL 33631-3584                     SAN ANTONIO, TX 78229                 COST CONTAINMENT UNIT
                                                                               TAMPA, FL 33631-3584




WELLCARE HEALTH PLAN                     WELLCARE HEALTH PLANS INC             WELLCARE HEALTH PLANS INC
POB 31584                                CLAIM REFUNDS                         P.O. BOX 31372
TAMPA, FL 33631                          P.O. BOX 8500 7296                    TAMPA, FL 38631
                                         PHILADELPHIA, PA 19178




WELLCARE HEALTH PLANS INC                WELLCARE HEALTH PLANS INC             WELLCARE HEALTH PLANS INC
P.O. BOX 8500-7296                       P.O. BOX 8500-7296                    POB 31584
PHILADELPHIA, PA 17178-7296              PHILADELPHIA, PA 19178-7296           TAMPA, FL 33631




WELLCARE HEALTH PLANS INC                WELLCARE HEALTH PLANS INC.            WELLCARE HEALTH PLANS
RECOVERY DEPARTMENT                      P.O. BOX 31584                        P.O. BOX 31224
P.O. BOX 31372                           TAMPA, FL 33631                       TAMPA, FL 33631
TAMPA, FL 33631




WELLCARE HEALTH PLANS, INC.              WELLCARE HEALTHCARE                   WELLCARE OF GA, INC
ATTN: CCU RECOVERY                       P.O. BOX 31584                        P.O. BOX 31370
P.O. BOX 31584                           ATTN: CLAIMS RECOVERY                 TAMPA, FL 33631
TAMPA, FL 33631-3584                     TAMPA, FL 33631




WELLCARE OF GEORGIA                      WELLCARE OF IL-HARMONY HEALTH PLAN    WELLCARE OF KENTUCKY
P.O. BOX 31370                           P.O. BOX 31372                        P.O. BOX 31584
ATTN REFUNDS                             TAMPA, FL 33631-3372                  TAMPA, FL 33631-3584
TAMPA, FL 33631




WELLCARE                                 WELLCARE                              WELLE, KIM
P.O. BOX 31584                           REFUND DEPARTMENT                     300 JAMESTOWN COURT
TAMPA, FL 33631-3584                     P.O. BOX 31426                        COLLINSVILLE, IL 62234
                                         TAMPA, FL 33631-3426




WELLE, RICHARD                           WELLEN, ALAN                          WELLEN, JEFFREY
115 CIRCLE DR                            9425 CR 2025 N                        127 BAYFIELD DR
EDWARDSVILLE, IL 62025                   DAHLGREN, IL 62828                    GLEN CARBON, IL 62034




WELLEN, NATALIE                          WELLENDORF, DEBORAH S.                WELLER, CYNTHIA
9425 CR 2025N                            971 BLACKBURN                         237 BARBER AVE NE
DAHLGREN, IL 62828                       GRAYSLAKE, IL 60030                   BREWSTER, OH 44613
WELLER, NICOLE M.        Case 20-10766-BLS   Doc ENVIROMENTAL
                                       WELLINGTON 6 Filed 04/07/20          Page 1885 of FLORIST
                                                                                 WELLMAN 1969 & GREENHOUSE
70 CEDARBROOKE                          ATT: ACCTS RECEIVABLE                    1624 HIGHLAND LANE
TROY, IL 62294                          607 HANLEY INDUST CT                     QUINCY, IL 62305
                                        ST LOUIS, MO 63144




WELLMAN HARDWARE                        WELLMAN, D. LYNN                         WELLMAN, LESLIE
309 E MAIN STREET                       P.O. BOX 315                             44 C STREET
LOUISA, KY 41230                        COLUMBIA, IL 62236                       LOUISA, KY 41230




WELLMAN, SARAH                          WELLMARK INC                             WELLMARK INC
ADDRESS ON FILE                         P.O. BOX 9232                            PO BOX 9232
                                        DES MOINES, IA 50306                     DES MOINES, IA 50306




WELLNESS NETWORK, THE                   WELLNESS WORKS                           WELLS CHEREE S
N27 W23539 PAUL RD STE 100              ATTN: ACCOUNTS REC                       P.O. BOX 1505
PEWAUKEE, WI 53072                      P.O. BOX 677979                          MURPHY, NC 28906
                                        DALLAS, TX 75267-7979




WELLS FARGO - BROKER                    WELLS FARGO BANK NA (2027)               WELLS FARGO BANK NM NA
WELLS FARGO BANK, N.A.                  ATTN LORA DAHLE OR PROXY MGR             P.O. BOX 173793
                                        550 SOUTH 4TH STREET                     DENVER, CO 80217-3793
                                        MAC N9310-141
                                        MINNEAPOLIS, MN 55415



WELLS FARGO BANK/DEPUY SYNTHES          WELLS FARGO CLEARING SERVICES LLC        WELLS FARGO EDUCATION CR
P.O. BOX 8535-662                       (0141)                                   P.O. BOX 10365
PHILADELPHIA, PA 19171-0662             ATTN PROXY DEPARTMENT                    DES MOINES, IA 50306-0365
                                        H0006-08N
                                        2801 MARKET STREET
                                        ST. LOUIS, MO 63103

WELLS FARGO EDUCATION FINANCIAL         WELLS FARGO FINANCIAL LEASING INC        WELLS FARGO FINANCIAL LEASING INC
SERVICES                                P.O. BOX 105743                          P.O. BOX 310594
301 E 58TH ST NORTH                     KONICA MINOLTA PREMIER FINANCE           KONICA MINOLTA PREMIER FINANCE
SIOUX FALLS, SD 57104                   ATLANTA, GA 30348-5743                   DES MOINES, IA 50331-0594




WELLS FARGO LEASING                     WELLS FARGO VENDOR FINANCIAL             WELLS FARGO VENDOR FINANCIAL
MAC F0005.055 WALNUT STREET             SERVICES LLC                             SERVICES LLC
DES MOINES, IA 50309                    P.O. BOX 105710                          P.O. BOX 51043
                                        ATLANTA, GA 30348-5710                   LOS ANGELES, CA 90051-5343




WELLS FARGO                             WELLS FARGO                              WELLS JOHNSON COMPANY
401 N. RESEARCH PKWY, 1ST FLOOR         ATTN: DONNA TURI                         P.O. BOX 18230
MAC D4004-017                           851 N ORIANNA ST                         TUCSON, AZ 85731-8230
WINSTON-SALEM, NC 27101-4157            PHILADELPHIA, PA 19123




WELLS JOSEPH                            WELLS KELLIE MICHELLE                    WELLS REALTY, LLC
23 RUSHMORE DRIVE                       2626 COUNTY RD 515                       P.O. BOX 1315
GLEN CARBON, IL 62034                   RAINSVILLE, AL 35986-3636                INEZ, KY 41224
WELLS SMITH, TERESA     Case 20-10766-BLS
                                      WELLS, Doc 6 Filed 04/07/20
                                             GLENDA                 Page 1886
                                                                         WELLS,of 1969
                                                                               BETTY JEAN
3355 BEAR GRASS RD                     POBOX 601                         39691 MOHAWK LOOP
WILLIAMSTON, NC 27871                  WILLIAMSTON, NC 27892             MARCOLA, OR 97454




WELLS, BRUCE F.                        WELLS, CATHLEEN                   WELLS, CHARLENE
5349 W DIXIE DRIVE                     5879 HOXIE AVE                    223 2ND ST SW
ALSIP, IL 60803                        CALUMET CITY, IL 60409            APT 319
                                                                         MASSILLON, OH 44646-6502




WELLS, CHEREE                          WELLS, DEBRA D.                   WELLS, ERNESTINE
P.O. BOX 1505                          815 CR 166                        14220 DREXEL AVE
MURPHY, NC 28906                       SAND ROCK, AL 35983               DOLTON, IL 60419-1361




WELLS, FRED B                          WELLS, HAYLI D.                   WELLS, JENNY - PETTY CASH
1223 MOON ROAD                         92 BIG CAT FORK RD                1601 NEWCASTLE RD
COAHOMA, MS 38617                      LOUISA, KY 41230                  FORREST CITY, AR 72335-0000




WELLS, JENNY L.                        WELLS, JIMMY VAN                  WELLS, JONATHAN W.
110 CR 236                             P.O. BOX 651                      ADDRESS ON FILE
CHERRY VALLEY, AR 72324                RAINSVILLE, AL 35986-1711




WELLS, KARLA T.                        WELLS, KATIE M.                   WELLS, KELSEA
ADDRESS ON FILE                        3049 N. AMBASSADOR AVE.           ADDRESS ON FILE
                                       ODESSA, TX 79764




WELLS, KIMBERLY                        WELLS, LISA D.                    WELLS, LONNIE
428 NORTH RICE AVENUE                  459 IL HIGHWAY 15                 7688 LEBANON RD
LOUISA, KY 41230                       WAYNE CITY, IL 62895              COLLINSVILLE, IL 62234




WELLS, LORI L.                         WELLS, MALLORY B.                 WELLS, MARGUERITE M.
2708 KENNEDY RD NE                     ADDRESS ON FILE                   555 SHORT CREEK RD P.O. BOX 755
FORT PAYNE, AL 35967                                                     HYDEN, KY 41749




WELLS, MARK                            WELLS, NAOMI                      WELLS, NICOLE L.
ADDRESS ON FILE                        4553 S. WABASH AVE.               ADDRESS ON FILE
                                       CHICAGO, IL 60653




WELLS, PAIGE                           WELLS, PAMELA M.                  WELLS, REBECCA C.
ADDRESS ON FILE                        ADDRESS ON FILE                   ADDRESS ON FILE
WELLS, RUSSELL        Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                    WELLS, SCHEMIKA                  Page 1887
                                                                          WELLS,of 1969
                                                                                SHARON
2740 WEATHERSTONE CIR               60565 MARSHFIELD AVE                  ADDRESS ON FILE
CONYERS, GA 30094                   CHICAGO, IL 60636-2249




WELLS, WYSHAWNDA                     WELSER ALBERT                        WELSH CHRISTOPHER WILLI
135 E 133RD ST APT 1A                283 N 630 E                          1455 W 12TH AVE
CHICAGO, IL 60827                    TOOELE, UT 84074                     JUNCTION CITY, OR 97448




WELSH, OMEDA                         WELSH, STEPHEN E.                    WELSHS BOILER SERVICE INC
OR DANNY WELSH                       828 WILLOW GRASS CT.                 6060 ISLETA BLVD SW
1540 GREENBRIER RIDGE WAY APT 1603   COVINGTON, GA 30014                  ALBUQUERQUE, NM 87105
KNOXVILLE, TN 37909




WELTEN, JACLYNN                      WELTER, JOANNE                       WELTLICH, TRACEY
ADDRESS ON FILE                      36468 N EASTMOOR AVE                 3237 RUBY AVE NW
                                     INGLESIDE, IL 60041                  MASSILLON, OH 44647




WELTMAN, WEINBERG & REIS CO LPA      WELTMAN, WEINBERG & REIS CP.,        WELTON, CHERYL
P.O. BOX 5402                        P.O. BOX 5402                        3257 WAYNE
CLEVELAND, OH 44101-0402             CLEVELAND, OH 44101-0402             GRANITE CITY, IL 62040




WELTY, BRIAN                         WELTY, CHRISTINE                     WELTY, DAWERENCE
1137 SWEETBRIAR PLACE                ADDRESS ON FILE                      243 US HIGHWAY 45
GALESBURG, IL 61401                                                       CISNE, IL 62823-9012




WELZEL, VERONICA L.                  WENCLOFF, EDWARD S.                  WENDY FRAZIER
P.O. BOX 680711                      12955 HIGHLAND AVE                   ADDRESS ON FILE
FORT PAYNE, AL 35968-0307            BLUE ISLAND, IL 60406




WENDY FRAZIER, MD                    WENDY M STANCILL                     WENDY SANBORN
ADDRESS ON FILE                      ADDRESS ON FILE                      ADDRESS ON FILE




WENDY TUCKER                         WENDY WHITTINGTON                    WENGERD, JOSEPH E.
P.O. BOX 921                         2715 LOGAN ST                        3313 US 62
MOUNTAIN VIEW, WY 82939              MT VERNON, IL 62864                  MILLERSBURG, OH 44654




WENIG, DONNA N.                      WENNERGREN, THOMAS                   WENSLOW, KEN
12205 GREGORY ST                     865 VIA DEL CERCHI                   APG
BLUE ISLAND, IL 60406                HENDERSON, NV 89011
WENSLOW, KENNETH D.     Case 20-10766-BLS   DocMICHAEL
                                      WENSLOW,   6 Filed
                                                       R. 04/07/20   Page 1888 of 1969
                                                                          WENSLOW, MICHAEL
386 VILLAGE CREEK DR                   ADDRESS ON FILE                    ADDRESS ON FILE
JASPER, GA 30143




WENSLOW, MICHAEL                       WENTZ, GEORGE                      WENTZEL, JOHN
ADDRESS ON FILE                        3581 MARY LN                       1218 MANCHESTER AVE SW
                                       LOGANVILLE, GA 30052-4022          NORTH LAWRENCE, OH 44666




WENZEL SPINE INC                       WENZEL, JENNIFER R.                WENZEL, ROBERT A.
1130 RUTHERFORD LN STE 200             304 WILSON PARK LANE               47 16TH ST SE
AUSTIN, TX 78753                       GRANITE CITY, IL 62040             MASSILLON, OH 44646




WERFEN USA LLC                         WERFEN USA LLC                     WERFEN USA LLC
P O BOX 347934                         P.O. BOX 347934                    P.O. BOX 347934
PITTSBURG, PA 15251-4934               PITTSBURG, PA 15251-4934           PITTSBURGH, PA 15251




WERFEN USA LLC                         WERKHEISER, CAROLE                 WERNER, CHARLES
P.O. BOX 347934                        26 SHEPHERDS PL                    61478 SKYLARK ST SW
PITTSBURGH, PA 15251-4934              MORGANTON, GA 30560-4254           CANTON, OH 44706-3162




WERNER, CHUCK A                        WERNER, GEORGE                     WERNSMAN, MADELINE
1278 HERITAGE HEIGHTS                  1115 STURBRIDGE DR                 ADDRESS ON FILE
MESQUITE, NV 89034                     LOUISVILLE, OH 44641




WERNSMAN, ROBERT                       WERNSMAN, SUSAN                    WERSTLER, MARK
616 KNOX RD 450 E                      616 KNOX RD 450 E                  407 COMMONWEALTH AVE NE
ABINGDON, IL 61410                     ABINGDON, IL 61410                 MASSILLON, OH 44646




WERTH RUDOLPH, CARRIE A.               WERTH-RUDOLPH, CARRIE              WERTZ, LARRY R.
ADDRESS ON FILE                        ADDRESS ON FILE                    35 WERTZ LN
                                                                          RENOVO, PA 17764




WES MARTIN INTERIORS INC               WESA, SUSAN                        WESBROOK, WALTER
2600 AKRON RD                          1499 WASHINGTON                    4712 BENNING AVE
WOOSTER, OH 44691                      STAUNTON, IL 62088                 GRANITE CITY, IL 62040




WESCO INS CO CLAIMS FUNDING            WESCO INSURANCE COMPANY            WESCO INSURANCE COMPANY
AMTRUST NORTH AMERICA                  420 MAPLE                          P.O. BOX 318004
P.O. BOX 94405                         YUKON, OK 73099                    CLEVELAND, OH 44131-880
CLEVELAND, OH 44101
WESCO SUPPLY LLC         Case 20-10766-BLS   Doc
                                       WESELEK,   6 Filed 04/07/20
                                                ERWIN                       Page 1889 of 1969
                                                                                 WESHINSKEY, SHENA
63 LEONARD STREET                       564 FORK RD SE                           P.O. BOX 2841
WEST HELENA, AR 72390                   NEW PHILADELPHIA, OH 44663               CARBONDALE, IL 62901-0000




WESLEY MAUPIN                           WESLEY SMITH                             WESLEY, CAROL
70 THOMAS LANE                          1130 WINDCREST ACRES                     241 DAFFODIL LN
LEXINGTON, TN 38351                     GALESBURG, IL 61401                      GREENVILLE, AL 36037




WESLEY, CODY                            WESLEY, LATICIA                          WESLEY, SEABOLT
167 WOODLAND DR                         ADDRESS ON FILE                          484 HIGHWAY 81 SW
GREENVILLE, AL 36037-1430                                                        COVINGTON, GA 30014-0618




WESLEY, SHILLING                        WESLEY, STUDDARD                         WESLEY,SHERRELL
840 HEMLOCK ST NW                       5174 HAWKINS ACADEMY RD                  155 SKYVIEW DR
MASSILLON, OH 44647                     SOCIAL CIRCLE, GA 30025                  SOCIAL CIRCLE, GA 30025-5126




WESLEYS CUSTOM GRAPHICS, INC            WESSEL, CHRISTI                          WESSEL, DALE
208 W DEYOUNG                           16225 CELTIC CIRCLE                      19430 VOGEL ROAD
MARION, IL 62959                        MANHATTAN, IL 60442                      CARLYLE, IL 62231




WEST BEND                               WEST COAST MEDICAL RESOURCES, LLC        WEST FANNIN ELEMENTARY SCHOOL
1900 SOUTH 18TH AVE                     520 HOWARD COURT                         5060 BLUE RIDGE DRIVE
WEST BEND, WI 53095                     CLEARWATER, FL 33756                     BLUE RIDGE, GA 30513




WEST INTERACTIVE SERVICES               WEST INTERACTIVE SERVICES                WEST LLC
CORPORATION                             CORPORATION                              P.O. BOX 74007143
P.O. BOX 561484                         P.O. BOX 74007082                        CHICAGO, IL 60674-7143
DENVER, CO 80256-1484                   CHICAGO, IL 60674-7082




WEST MEMPHIS CHAMBER                    WEST MEMPHIS FIRE EXTINGUISHER CO        WEST MEMPHIS UTILITY COMMISION
108 W BROADWAY                          P.O. BOX 2062                            604 EAST COOPER
WEST MEMPHIS, AR 72301                  WEST MEMPHIS, AR 72303                   P.O. BOX 1868
                                                                                 WEST MEMPHIS, AR 72301




WEST MONROE APOSTOLIC CHURCH            WEST PUBLISHING CORPORATION              WEST SHOSHONE HOSPITAL DISTRICT NO. 1
P.O. BOX L                              THOMSON REUTERS WEST PAYMENT             SHOSHONE MEDICAL CENTER
1609 WEST MONROE ST                     CENTER                                   25 JACOBS GULCH
HERRIN, IL 62948                        P.O. BOX 6292                            KELLOGG, ID 83837-2023
                                        CAROL STREAM, IL 60197-6292



WEST TECHS CHILL WATER SPEC.            WEST TENNESSEE ANESTHESIA                WEST TENNESSEE EMS DIRECTORS
142 N CLACK                             17-C BRENTSHIRE SQUARE                   ASSOCIATION
ABILENE, TX 79603                       JACKSON, TN 38305                        110 MAPLE WOOD DR
                                                                                 CAMDEN, TN 38320
WEST TENNESSEE MOVINGCase  20-10766-BLS
                     & STORAGE LLC         Doc 6 Filed
                                    WEST TENNESSEE         04/07/20
                                                    REGIONAL BLOOD       Page 1890  of 1969
                                                                              WEST TEXAN MEDIA GROUP LLC, THE
3021 HWY 45 BYPASS                  P.O. BOX 1000                              P.O. BOX P
SUITE 108                           DEPT 958                                   MARFA, TX 79843
JACKSON, TN 38305                   MEMPHIS, TN 38148-0958




WEST TEXAS CENTERS FOR MHMR          WEST TEXAS ICE                            WEST TEXAS MAXILLOFACIAL SURGERY
409 RUNNELS                          106 S HARRISON                            10175 GATEWAY BLVD WEST
BIG SPRING, TX 79720                 ALPINE, TX 79830                          SUITE 304
                                                                               EL PASO, TX 79925-7618




WEST TEXAS MEDIA GROUP LLC, THE      WEST TEXAS NATIONAL BANK - ALPINE         WEST TEXAS NATIONAL BANK
P.O. BOX P                           ATTN: LINDA OASFIPER                      101 E. AVENUE E
MARFA, TX 79843                      101 EAST AVE E                            ALPINE, TX 79830
                                     ALPINE, TX 79830




WEST TEXAS PEST MANAGEMENT           WEST TN AIR COMPRESSOR                    WEST TN COFFEE SERVICE
703 PVT H CORDOVA JR DR              4088 HIGHWAY 45 SOUTH                     P.O. BOX 1566
ALPINE, TX 79830                     PINSON, TN 38366                          JACKSON, TN 38302




WEST UNIFIED COMMUNICATIONS          WEST VIRGINIA FAMILY HEALTH               WEST VIRGINIA STATE TAX DEPT
SERVICES INC                         P.O. BOX 890406                           COMPLIANCE DIVISION
P.O. BOX 281866                      CAMP HILL, PA 17089-0406                  P.O BOX 229
ATLANTA, GA 30384-1866                                                         CHARLESTON, WV 25301




WEST, AMANDA N.                      WEST, AMANDA S.                           WEST, AMANDA
ADDRESS ON FILE                      ADDRESS ON FILE                           ADDRESS ON FILE




WEST, AMY J.                         WEST, AMY                                 WEST, BRAYDEN
3025 CRESCENTVIEW DR SW              4455 MIDDLE FORK                          255 BLUE BIRD LANE
MASSILLON, OH 44646                  VAN LEAR, KY 41265-0000                   LOUISA, KY 41230




WEST, BRUCE J.                       WEST, CHRISTINA D.                        WEST, CHRISTOPHER
ADDRESS ON FILE                      5040 FIRST ST.                            215 E 1ST ST
                                     CYPRESS, IL 62923                         OFALLON, IL 62269-2129




WEST, DAVID                          WEST, DEANN GAIL                          WEST, DEBBRA L.
PO. BOX 151                          175 ADMIRAL BENBOW                        ADDRESS ON FILE
SYLVESTER, TX 79506                  MESQUITE, NV 89027




WEST, EVELYN                         WEST, GWEN                                WEST, JANET
HC 81 BOX 862                        ADDRESS ON FILE                           188 SEMINOLE DR
BLAINE, KY 41124                                                               GALESBURG, IL 61401
WEST, JANIE              Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                       WEST, JAQUIMARIE              Page 1891  of 1969
                                                                          WEST, JODI
1010 WOODS ROAD                         350 S WAGON WHEEL APT B           ADDRESS ON FILE
GLEASON, TN 38229                       GREEN RIVER, WY 82935




WEST, JOY E.                            WEST, JUSTINA L.                  WEST, KAREN
ADDRESS ON FILE                         ADDRESS ON FILE                   P.O. BOX 69
                                                                          HENEFER, UT 84033




WEST, KATHERINE F.                      WEST, KIMBERLY                    WEST, LAUREN A.
ADDRESS ON FILE                         ADDRESS ON FILE                   ADDRESS ON FILE




WEST, LAVEL L.                          WEST, LISA M.                     WEST, LORI L.
658 MEMORIAL DRIVE                      1585 BALLINGER AVE SE             ADDRESS ON FILE
CALUMET CITY, IL 60409                  MASSILLON, OH 44646




WEST, MADISYN A.                        WEST, OWEN E                      WEST, PRISCILLA
1037 TURTLE DOVE TRAIL                  318 E BUCKEYE ST                  341B W STALLINGS STREET
WATERLOO, IL 62298                      DEMING, NM 88030                  CLAYTON, NC 27520




WEST, REGINA D.                         WEST, SARAH B.                    WEST, SHALANNA
2630 COUNTY ROAD 114                    225 N WALNUT GROVE RD             661 N 38TH ST
VALLEY HEAD, AL 35989                   CREAL SPRINGS, IL 62922           EAST ST LOUIS, IL 62205




WEST, SHONATA F.                        WEST, SUCRESSA                    WEST, TRAVIS S.
458 CARLYLE E                           207 SUNSET STREET                 976 35TH AVE
BELLEVILLE, IL 62221                    CENTRE, AL 35960                  SANTA CRUZ, CA 95062




WEST, WARREN K.                         WESTAR PRINTING                   WESTBAY, BETTE J.
ELMORE MOUNTAIN ROAD                    COPY CENTER & STAR STAMP          ADDRESS ON FILE
POBOX 325                               243 7TH STREET, STE. B
MORRISVILLE, VT 05661                   EVANSTON, WY 82930




WESTBROOK ROSETTA                       WESTBROOK, AMBER D.               WESTBROOK, SABRINA
P.O. BOX 297                            1509 HUNTER MOON WAY              1109 CHURCH ST
ENERGY, IL 62933                        BEAUMONT, CA 92223                SHADY DALE, GA 31085




WESTBROOK, SHONTELL                     WESTBROOK, VICKI L.               WEST-COMBS, JENNIFER E.
1692 MLK ST                             ADDRESS ON FILE                   1995 PRASLIN ST
WYNNE, AR 72396                                                           EUGENE, OR 97402
WESTCOTT, RICHARD D.     Case 20-10766-BLS   Doc 6 JASON
                                       WESTENBERGER, Filed 04/07/20         Page 1892 of 1969ADAM S.
                                                                                 WESTENHOFER,
4125 DOUGLAS RD                         ADDRESS ON FILE                          ADDRESS ON FILE
MILLSTADT, IL 62260




WESTENHOFER, ADAM                       WESTENHOFER, STEVE                       WESTERN ARIZONA REGIONAL MEDICAL
ADDRESS ON FILE                         3017 PUTTING GREEN RD                    CENTER
                                        DEMING, NM 88030                         2735 SILVER CREEK RD
                                                                                 BULLHEAD CITY, AZ 86442




WESTERN ARIZONA REGIONAL MEDICAL        WESTERN ASPHALT MAINTENANCE INC          WESTERN COMMERCIAL SVCS LLC
CENTER                                  P.O. BOX 2460                            2311 S INDUSTRIAL RD
P.O. BOX 847173                         EUGENE, OR 97402                         LAS VEGAS, NV 89102
DALLAS, TX 75284




WESTERN EXTERMINATOR CO                 WESTERN ILLINOIS REGIONAL COUNCIL        WESTERN ILLINOIS WORKS
2943 E ALEXANDER DR                     223 S RANDOLPH STREET                    P.O. BOX 231
NORTH LAS VEGAS, NV 89030               MACOMB, IL 61455-0000                    49 N PRAIRIE ST
                                                                                 GALESBURG, IL 61401




WESTERN ILLINOIS WORKS                  WESTERN INSTITUTIONAL REVIEW BOARD       WESTERN INSTITUTIONAL REVIEW BOARD
PO BOX 231                              INC                                      P.O. BOX 150434
49 N PRAIRIE ST                         DEPT 106091                              DEPT 106091
GALESBURG, IL 61401                     P.O. BOX 150434                          HARTFORD, CT 06115-0434
                                        HARTFORD, CT 06115-0434



WESTERN LITIGATION INC                  WESTERN LITIGATION INC                   WESTERN OPHTHALMICS
1900 W. LOOP S., SUITE 1500             450 WEST 4TH ST                          19019 36TH AVE WEST
HOUSTON, TX 77027                       ROYAL OAK, MI 48067                      SUITE G
                                                                                 LYNWOOD, WA 98036-5713




WESTERN SCIENTIFIC CO.                  WESTERN SKY COMMUNITY CARE               WESTERN SKY
25061 AVE. STANFORD UNIT 110            ATTN: ACCOUNTING                         7700 FORSYTH BLVD
VALENCIA, CA 91355                      5300 HOMESTEAD RD NE                     ST LOUIS, MO 63105-0000
                                        ALBUQUERQUE, NM 87110




WESTERN STAR COMMUNICATIONS             WESTERN STATES FIRE PROTECTION CO        WESTERN SUMMIT LLC
P.O. BOX 418                            7020 S TUCSON WAY                        5220 S UNIVERSITY DRIVE STE C-202
SANDY, UT 97055                         CENTENNIAL, CO 80112                     DAIVE, FL 33328




WESTERN SUMMIT LLC                      WESTERN SUMMIT LLC                       WESTERN SURETY COMPANY
5220 S UNIVERSITY DRIVE STE C-202       5220 S UNIVERSITY DRIVE STE C-202        101 S REID ST
DAIVE, FL 33328-0000                    DAVIE, FL 33328                          STE 300
                                                                                 SIOUX FALLS, SD 57103




WESTERN SURETY COMPANY                  WESTERN UNITED LIFE INSURANCE            WESTERN UNITED LIFE INSURANCE
P.O. BOX 5077                           P.O. BOX 925309                          PO BOX 925309
SIOUX FALLS, SD 57117-5077              HOUSTON, TX 77292                        HOUSTON, TX 77292
WESTERN UNITED LIFE      Case 20-10766-BLS   Doc
                                       WESTERN   6 Filed
                                               WYOMING     04/07/20
                                                       BEVERAGES             Page 1893 of 1969
                                                                                  WESTERVELT, JOHNSON, NICOLL & KELLER
P.O. BOX 924408                         P.O. BOX 1336                              411 HAMILTON BLVD
HOUSTON, TX 77292                       ROCK SPRINGS, WY 82902                     STE 1400
                                                                                   PEORIA, IL 61602




WESTEX DOCUMENT, INC                    WESTEX DOCUMENT, INC.                      WESTFIELD INSURANCE
815 S. GILBERT DR                       REESE TECHNOLOGY CENTER                    325 N LASALLE STREET
LUBBOCK, TX 79416-2128                  815 S.GILBERT DR                           SUITE 600
                                        LUBBOCK, TX 79416-2128                     CHICAGO, IL 60654




WESTFIELD INSURANCE                     WESTGATE VALLEY PROFESSIONAL               WESTMED INC
P.O. BOX 5005                           152 WESTGATE VALLEY PROF, 13305-B          5580 S NOGALES HWY
WESTFIELD CTR, OH 44251                 8641 SOLUTIONS CTR                         TUCSON, AZ 85706-3333
                                        CHICAGO, IL 60677-8006




WESTMORELAND, STEVEN                    WESTON, ADAMS                              WESTON, ALICE
224 COUNTY ROAD 602                     P.O. BOX 1662                              128 PERRY DR NW
FORT PAYNE, AL 35968                    LOGANDALE, NV 89021                        CANTON, OH 44708-5045




WESTON, CULLEN                          WESTON, EMMALEE                            WESTON, KELLY
350 MCGINNIS                            275 SOUTH MAIN STREET P.O. BOX 414         ADDRESS ON FILE
ALTON, IL 62002                         RANDOLPH, UT 84064




WESTOVER PHARMACY                       WESTWICKE HOLDINGS LLC                     WESTWOOD, SHERRI
710 W. MARCY                            2800 QUARRY LAKE DR                        P.O. BOX 1348
BIG SPRING, TX 79720                    STE 380                                    SILVER CITY, NM 88062
                                        BALTIMORE, MD 21209




WETHINGTON, KARIN                       WETLE, CHRISTOPHER                         WETMORE, SARAH
3114 TAYLOR CT                          4040 SPRING BLVD                           2706 OLD BETHEL RD
JOHNSBURG, IL 60051                     EUGENE, OR 97405-0000                      IUKA, IL 62849




WETTACH, ROSE MARY                      WETTERBURG JAMES                           WETTIG, MATTHEW A
2710 WINCHESTER WOODS                   40 CLEVELAND AVE                           516 SOUTH STREET
APT B                                   LAKE VILLA, IL 60046                       ANNA, IL 62906
WOOSTER, OH 44691-5330




WETTLIN, ANGELICA                       WETZEL MARY H                              WETZEL, KRISTIN
ADDRESS ON FILE                         229 GREEN VALLEY TRAIL                     9707 E DIX IRVINGTON RD
                                        MINERAL BLUFF, GA 30559                    DIX, IL 62830




WETZEL, MARY L                          WETZEL, RYAN                               WETZEL, SHELBY
39 SEASON LN                            8121 MARIGOLD ROAD                         321 RING OF KERRY DR.
MILL HALL, PA 17751                     EVANSVILLE, IL 62242                       BELLEVILLE, IL 62221
WEX BANK                Case 20-10766-BLS    Doc 6 Filed 04/07/20
                                      WEX BANK                      Page 1894
                                                                         WEX of 1969
P.O. BOX 4337                         P.O. BOX 6293                      P.O. BOX 4337
CAROL STREAM, IL 60197-4337           CAROL STREAM, IL 60197-6293        CAROL STREAM, IL 60197-4337




WEX, INC DBA SPEEDWAY               WEXFORD HEALTH SERVICES              WEXFORD HEALTH SOURCES
P.O. BOX 6293                       P.O. BOX 16218                       P.O. BOX 16218
CAROL STREAM, IL 60197-6293         PITTSBURGH, PA 15242                 ATTN CLAIMS DEPT
                                                                         PITTSBURGH, PA 15242




WEXFORD HEALTH SOURCES              WEYBRIGHT, AMANDA P.                 WEYBRIGHT, GALE
PO BOX 16218                        230 OLD ADOBE ROAD                   1240 FRANK ST
ATTN CLAIMS DEPT                    WATSONVILLE, CA 95076                GALESBURG, IL 61401
PITTSBURGH, PA 15242




WEYENBERG, LISA                     WEYER LAURA                          WEYLAND, BAYLEE E.
ADDRESS ON FILE                     210 MICAH                            3087 RUIZ DR. P.O. BOX 438
                                    KEMMERER, WY 83101-2013              STOCKTON, UT 84071




WEYLAND, REBECCA                    WEYMILLER, DAVID                     WEYMOUTH, STACY
141 N RODEO DR                      926 3RD ST NE                        4813 LONE ROCK LN
P.O. BOX 277                        MASSILLON, OH 44646                  SMITHTON, IL 62285
STOCKTON, UT 84071




WFU RADIOLOGY                       WFU RADIOLOGY                        WGIL-AM
WAKE FOREST BAPTIST HEALTH          WAKE FOREST BAPTIST HEALTH           154 EAST SIMMONS
MEDICAL CENTER BLVD                 MEDICAL CENTER BLVD                  GALESBURG, IL 61401
WINSTON SALEM, NC 27157-1088        WINSTON-SALEM, NC 27157-1088




WHALEN, ELIZABETH M.                WHALEN, MARY                         WHALEY, DENNIS G.
ADDRESS ON FILE                     1875 VICTORIAN COURT                 ADDRESS ON FILE
                                    SNELLVILLE, GA 30078




WHALEY, MERANDA P.                  WHARTON, JUDITH                      WHATCOTT, ASHLEY M.
231 STATE RTE. 13                   421 S 6TH ST                         186 SEMINOLE DR
COULTERVILLE, IL 62237              HERRIN, IL 62948                     EVANSTON, WY 82930




WHATLEY, JENNIFER R.                WHAYNE SUPPLY COMPANY                WHAYNE SUPPLY COMPANY
21 WHITEHEAD RD                     DEPARTMENT 8326                      DEPRATMENT 8326
OXFORD, GA 30054                    CAROL STREAM, IL 60122-8326          CAROL STREAM, IL 60122-8326




WHDM                                WHEALON, STEVEN R.                   WHEALON, STEVEN R.
110 INDIA RD                        5669 DALTON LN                       ADDRESS ON FILE
PARIS, TN 38242                     SMITHTON, IL 62285
WHEAT, LEONARD          Case 20-10766-BLS
                                      WHEAT, Doc
                                             MARY6      Filed 04/07/20   Page 1895
                                                                              WHEAT,of 1969
                                                                                     MICHELLE
5259 S PAULINA                         5767 OLD BAUM CHURCH RD                 94 ROME POINT
CHICAGO, IL 60609                      WATERLOO, IL 62298                      BLUE RIDGE, GA 30513




WHEAT, MICHELLE                        WHEATON, ERIKA D.                       WHEATON, TAMMY H.
ADDRESS ON FILE                        ADDRESS ON FILE                         840 HALL CHURCH ROAD
                                                                               MAKANDA, IL 62958




WHEELCHAIR & WALKER RENTALS            WHEELER CRNA, CHRIS                     WHEELER DERRICK
P.O. BOX 512301                        3448 SHARON COURT                       191 WINN RD
EL PASO, TX 79951-0001                 CATLETTSBURG, KY 41129                  SCOTTSBORO, AL 35769




WHEELER ELECTRIC INC                   WHEELER KYLE H                          WHEELER, ALLYSON N.
120 MONROE ST                          309 W HIGH STREET                       ADDRESS ON FILE
EUGENE, OR 97402                       ANNA, IL 62906




WHEELER, AMBER D.                      WHEELER, CHRISTOPHER S.                 WHEELER, CHRISTOPHER S.
109 S. CARROLL ST                      ADDRESS ON FILE                         3448 SHARON COURT
NORRIS CITY, IL 62869                                                          CATLETTSBURG, KY 41129




WHEELER, CRYSTAL D.                    WHEELER, DAWN L.                        WHEELER, DAWN L.
340 30TH ST.                           32461 RED BUD DRIVE                     ADDRESS ON FILE
HUNTINGTON, WV 25702                   BRIGHTON, IL 62012




WHEELER, DAWN                          WHEELER, DEVIN                          WHEELER, DEVIN
ADDRESS ON FILE                        32461 REDBUD DR                         ADDRESS ON FILE
                                       BRIGHTON, IL 62012




WHEELER, DRETHA                        WHEELER, JAIME C.                       WHEELER, KENDRA
797 HGIHWAY 2562                       2101 TRACE DRIVE                        ADDRESS ON FILE
BLAINE, KY 41124                       MONROE, GA 30655




WHEELER, KEVIN S.                      WHEELER, KYLEE M.                       WHEELER, KYLEE M.
ADDRESS ON FILE                        952 WEST 770 SOUTH                      ADDRESS ON FILE
                                       TOOELE, UT 84074




WHEELER, MAC ARTHUR                    WHEELER, MARGARET                       WHEELER, MEGHAN E.
ADDRESS ON FILE                        312 LEE 125 RD                          1677 LOWER GRAGSTON CREEK RD
                                       MORO, AR 72368                          PRICHARD, WV 25555
WHEELER, MORGAN           Case 20-10766-BLS   Doc
                                        WHEELER,   6 Filed 04/07/20
                                                 PAULA                      Page 1896 of 1969
                                                                                 WHEELER, SUSANNA
607 N LOCK AVE                           607 N LOCK AVE                          12764 IRVING AVE 2A
LOUISA, KY 41230                         LOUISA, KY 41230                        BLUE ISLAND, IL 60406




WHEELER, TERRY L.                        WHEELER, TERRY                          WHEELER, TIMOTHY M. MD PSC
ADDRESS ON FILE                          ADDRESS ON FILE                         2800 CUMBERLAND AVE
                                                                                 ASHLAND, KY 41102




WHEELER, VALERIE                         WHEELER, VANIA                          WHEELING ADMIN OFFICE
353 PARK WAY CT W                        582 28TH ST. APT C                      1110 MAIN ST
MARTINEZ, GA 30907-1556                  SPRINGFIELD, OR 97477                   WHEELING, WV 26003




WHEELINGS, LINDA                         WHEN TO WORK, INC.                      WHEWELL, CARRIE L.
ADDRESS ON FILE                          360 E 1ST ST 301                        1729 CUDDY DRIVE
                                         TUSTIN, CA 92780                        CHATHAM, IL 62629




WHIDDEN, PAMELA                          WHIDDETT, CONNIE A.                     WHIDDON, JONATHAN
4254 FOREST HOME RD                      93729 PITNEY LANE                       2708 COUNTY ROAD
GREENVILLE, AL 36037                     JUNCTION CITY, OR 97448                 FORT PAYNE, AL 35968




WHIDDON, SERENITY                        WHIDDON, STACY                          WHINERY, KRISTINA L.
236 RD 984                               3544 CHAPEL HILL RD                     1312 CENTER ST
FT PAYNE, AL 35968                       RUTLEDGE, AL 36071                      EVANSTON, WY 82930




WHIPKEY, CLIFFORD                        WHIPPLE, BRUCE E.                       WHIPPLE, JAY D.
415 SENECA ST NE                         1201 EDISON AVE                         MARK WHIPPLE PEST CONTROL
MASSILLON, OH 44646                      SUNBURY, PA 17801                       P.O. BOX 534
                                                                                 LOGANDALE, NV 89021-0534




WHIPPLE, JUDY R.                         WHIPPLE, JUSTIN                         WHIPPLE, KIMBERLY N.
1241 HIGHLAND AVE                        217 MEADOWLARK CV                       312 WEST CASE STREET
SUNBURY, PA 17801-2414                   MEDINA, TN 38355-6880                   KINMUNDY, IL 62854




WHISLER INC                              WHISLER PLUMBING AND HEATING INC        WHISMAN, SARAH L.
2521 LINCOLN WAY E                       2521 LINCOLN WAY E                      ADDRESS ON FILE
MASSILLON, OH 44646                      MASSILLON, OH 44646




WHISTLER, AMANDA M.                      WHITAKER DANA                           WHITAKER JASON
ADDRESS ON FILE                          1129 E 47TH ST                          109 AR VANCLEVE ROAD
                                         APT 1B                                  CAMPTON, KY 41301-9601
                                         CHICAGO, IL 60653
WHITAKER NATIONAL CORP.Case 20-10766-BLS   Doc
                                     WHITAKER,   6 Filed
                                               ABAGAIL J. 04/07/20   Page 1897  of 1969
                                                                          WHITAKER, CYNTHIA - ITV
P.O. BOX 936451                      ADDRESS ON FILE                       215 NIKKI LN
ATLANTA, GA 31193-6451                                                     PARIS, TN 38242




WHITAKER, IKEYA                      WHITAKER, JESS B.                     WHITAKER, MELINDA
P.O. BOX 122                         575 BEECH GROVE RD                    1460 KNOX LANE
HAMILTON, NC 27840                   HURON, TN 38345                       WILLIAMSTON, NC 27892




WHITAKER, TAMMY                      WHITAKER, TIMOTHY S.                  WHITAKER, WILLIE M
ADDRESS ON FILE                      ADDRESS ON FILE                       632 MEADOWBROOK WAY
                                                                           MARIANNA, AR 72360




WHITAKER, ZARIA F.                   WHITCOMB, GARY D.                     WHITE ANNA
ADDRESS ON FILE                      ADDRESS ON FILE                       274 SPENCER RIDGE ROAD
                                                                           ROGERS, KY 41365-9009




WHITE CARDIOPULMONARY IN             WHITE DORIS L                         WHITE ELIZABETH A
P.O. BOX 546                         P.O. BOX 36                           80 LAVISTA DR
ARROYO GRANDE, CA 93421-0546         VALLEY HEAD, AL 35989-0036            BLUE RIDGE, GA 30513




WHITE ELLEN T                        WHITE ELMER T                         WHITE JOAN B
151 OLIVERS TRAIL                    112 W ACADEMY ST                      ADDRESS ON FILE
CHERRYLOG, GA 30522                  WILLIAMSTON, NC 27892




WHITE MARY                           WHITE MICHAEL R                       WHITE MOTOR COMPANY
ADDRESS ON FILE                      1321 GORDON AVENUE                    675 EATON ROAD
                                     CALUMET CITY, IL 60409                FORREST CITY, AR 72335




WHITE NATHANIEL                      WHITE OAK HEALTHCARE                  WHITE SHAQUILLE L
33 DB HENSON DRIVE                   1700 WHITE STREET                     101 EWING
LOST CREEK, KY 41348                 MOUNT VERNON, IL 62864-0000           MADISON, IL 62060




WHITE SURGICAL, INC.                 WHITE TONY M                          WHITE, ALBERT
14520 EGRETS COURT                   ADDRESS ON FILE                       ADDRESS ON FILE
FORT WAYNE, IN 46814




WHITE, ALICIA A.                     WHITE, ALISA                          WHITE, ALYSSA D.
29 SAN PEDRO DR                      ADDRESS ON FILE                       66 COUNTY ROAD 845
ALAMOGORDO, NM 88310                                                       HENAGAR, AL 35978
                      Case 20-10766-BLS
WHITE, AMY FOR WEBB WHITE                  DocL.6 Filed 04/07/20
                                    WHITE, AMY                     Page 1898
                                                                        WHITE, of 1969LASHAY
                                                                               ANGELA
204 GANDERVALLEY LANE               209 N MAIN ST                        700 VANDERBILT AVE
LEXINGTON, TN 38351                 COAHOMA, TX 79511                    WEST MEMPHIS, AR 72301




WHITE, ANGELINE                       WHITE, BRAD                        WHITE, BRENDA
1709 PIGEON ROOST ROAD P.O. BOX 213   6967 MOAKE SCHOOL ROAD             ADDRESS ON FILE
PILGRIM, KY 41250                     MARION, IL 62959




WHITE, BRENDA                         WHITE, BRUCE D.                    WHITE, CHARLES ALLEN
5703 OHLWINE RD                       ADDRESS ON FILE                    497 COUNTY RD 358
RED BUD, IL 62278                                                        GROVEOAK, AL 35975-4918




WHITE, CHRISTINA K.                   WHITE, CHRISTY L.                  WHITE, CYNTHIA R.
504 N MULBERRY                        60 SFC 803                         3006 CHESTNUT LN NE
WEST FRANKFORT, IL 62896              FORREST CITY, AR 72335             FORT PAYNE, AL 35967




WHITE, DAISY                          WHITE, DARREN                      WHITE, DARRIUS
117 HALE ST                           3137 CORA LEE CT                   10524 S PULASKI RD
WINDSOR, NC 27983                     EDENTON, NC 27932                  OAK LAWN, IL 60453




WHITE, DAVID FOR WHITE, TUCKER        WHITE, DAVID J.                    WHITE, DEEELLEN B.
278 BELLMEADE DR                      ADDRESS ON FILE                    12928 KYLER CT.
LEXINGTON, TN 38351                                                      MARION, IL 62959




WHITE, DEIDRE C.                      WHITE, DORRIS                      WHITE, DOUGLAS E.
ADDRESS ON FILE                       P.O. BOX 36                        37 OAK VALLEY DR
                                      VALLEY HEAD, AL 35989              SPRING HILL, TN 37174




WHITE, EVA S.                         WHITE, FANNIE                      WHITE, FREDA
ADDRESS ON FILE                       1978 HICKORY GROVE RD              96 PINE VALLEY RD
                                      WILLIAMSTON, NC 27892-8287         SCOTTS HILL, TN 38374




WHITE, GLENDA                         WHITE, GUY A.                      WHITE, HELEN K.
2630 CLAUDE BREWER RD                 902 N MAIN 28                      2668 SPRINGER RD APT 13
LOGANVILLE, GA 30052-4228             SAN ANGELO, TX 76903               GALESBURG, IL 61401




WHITE, IAN                            WHITE, IVY                         WHITE, JASON R.
2750 SHADOW VIEW DR APT. 410W         2580 MCCASKEY RD                   203 N PARK AVE
EUGENE, OR 97408                      WILLIAMSTON, NC 27892              WILLIAMSTON, NC 27892
WHITE, JESSE - SECRETARY Case   20-10766-BLS
                           OF STATE             Doc 6 Filed 04/07/20
                                         WHITE, JESSI                  Page 1899
                                                                            WHITE, of
                                                                                   JIM1969
LICENSE RENEWAL                          202 BEAR RIVER DR APT 3110         120 PRAIRIE ROAD
3701 WINCHESTER ROAD                     EVANSTON, WY 82930                 CARTERVILLE, IL 62918
SPRINGFIELD, IL 62707-9700




WHITE, JOHN MARTIN                    WHITE, JOHN T.                        WHITE, JUSTIN T.
P.O. BOX 166596                       ADDRESS ON FILE                       68 PEACHTREE HILLS RD
AUGUSTA, GA 30919-2596                                                      MURPHY, NC 28906




WHITE, KAITLIN M.                     WHITE, KAREN G.                       WHITE, KARLIE S.
3921 HIGHWAY 15 S                     4404 MICHAEL JOHN LN                  1401 JOHNSON
JACKSON, KY 41339                     RICHTON PARK, IL 60471                BIG SPRING, TX 79720




WHITE, KATHRYN A.                     WHITE, KATLIN                         WHITE, LILLIAN
ADDRESS ON FILE                       379 UPPER RIVER CANEY RD              P.O. BOX 1601
                                      LOST CREEK, KY 41348                  MARFA, TX 79843




WHITE, LINDA C.                       WHITE, LINDA I.                       WHITE, MARTY
P.O. BOX 429                          ADDRESS ON FILE                       8573 STATE RT 143
COAHOMA, TX 79511                                                           EDWARDSVILLE, IL 62025-6846




WHITE, MARY B.                        WHITE, MEGAN                          WHITE, PAMELA M.
ADDRESS ON FILE                       ADDRESS ON FILE                       ADDRESS ON FILE




WHITE, PAULA                          WHITE, RAINEY                         WHITE, RENEE
505 WEEPING WILLOW DR.                ADDRESS ON FILE                       ADDRESS ON FILE
LOGANVILLE, GA 30052




WHITE, ROBERTA                        WHITE, SAMUEL R.                      WHITE, SHAVONE L.
772 HICKY RD APT 6                    250 OUTBACK LANE                      452 W 117TH ST
MARIANNA, AR 72360                    COULTERVILLE, IL 62237                CHICAGO, IL 60628




WHITE, SHEILA K.                      WHITE, SHELLY I.                      WHITE, SHONA L.
2540 STATE STREET                     ADDRESS ON FILE                       ADDRESS ON FILE
GRANITE CITY, IL 62040




WHITE, SOPHIA G.                      WHITE, TANGELA                        WHITE, TERI L.
ADDRESS ON FILE                       ADDRESS ON FILE                       2890 DUNBARTON AVE NW
                                                                            CANTON, OH 44708
WHITE, TIMICA            Case 20-10766-BLS    Doc 6 W.Filed 04/07/20
                                       WHITE, TIMOTHY                  Page 1900
                                                                            WHITE, of 1969
                                                                                   TONI
91 ELLEN DR                             P.O. BOX 336                        12741 S THROOP ST
LYNWOOD, IL 60411                       SAVANNAH, TN 38372                  CALUMET PARK, IL 60827




WHITE, TONY MD                          WHITE, VERNON H.                    WHITE, WHITNEY
ADDRESS ON FILE                         2409 CARLETON                       900 LEGACY PARK DRIVE APARTMENT 1834
                                        BIG SPRING, TX 79720                LAWRENCEVILLE, GA 30043




WHITE, YOLANDA                          WHITE,GEORGE                        WHITECAP, LINEN
ADDRESS ON FILE                         1596 COUNTY ROAD 147                P.O. BOX 539
                                        HENAGAR, AL 35978                   COLUMBIA, NC 27925-0539




WHITED, SHALANNE                        WHITEHAIR, MARY                     WHITEHEAD, ASHLEY D.
ADDRESS ON FILE                         506 CARVER ST NW                    ADDRESS ON FILE
                                        MASSILLON, OH 44647




WHITEHEAD, DANIEL S.                    WHITEHEAD, DEANA L.                 WHITEHEAD, FELTON
2514 ANN                                1544 PORTIA RD                      7308 S SANGAMON STREET
BIG SPRING, TX 79720                    GRAYSLAKE, IL 60030                 CHICAGO, IL 60621




WHITEHEAD, JANE NANCY                   WHITEHEAD, MINNIE                   WHITEHEAD, PARIS
2529 IVY LN                             10524 PRAIRIE                       18412 CLYDE AVE
GRANITE CITY, IL 62040                  CHICAGO, IL 60628                   LANSING, IL 60438




WHITEHOUSE, EMILY                       WHITEHURST, ALEXANDRA M.            WHITEHURST, DONNIE S.
271 MILLCREEK WAY                       11920 HICKORY GROVE                 2869 EDS GROCERY RD
TOOELE, UT 84074                        DUNLAP, IL 61525                    WILLIAMSTON, NC 27892




WHITEHURST, HEATHER N.                  WHITELEY, CORA                      WHITELY, DELMER C.
705 TAYLOR STREET                       1764 HARBOR DR                      1026 HWY 134
WINDSOR, NC 27983                       SPRINGFIELD, OR 97477-5352          HAZEL GREEN, KY 41332




WHITELY, LESLIE                         WHITELY, MARLENE                    WHITELY, REGINA
ADDRESS ON FILE                         ADDRESS ON FILE                     ADDRESS ON FILE




WHITEN, ROBERT                          WHITENER, BRITTANY                  WHITENER, CRYSTAL L.
ADDRESS ON FILE                         ADDRESS ON FILE                     19691 WEST US 64
                                                                            MURPHY, NC 28906
                      Case 20-10766-BLS
WHITENER-NEEDLING, MELANIE                  Doc
                                    WHITESIDE    6 Filed 04/07/20
                                               CHRISTOPHER W        Page 1901  of 1969
                                                                         WHITESIDE II, LEN W.
6395 ST RT 146W                     2005 BIG CREEK CHURCH RD              ADDRESS ON FILE
JONESBORO, IL 62952                 DONGOLA, IL 62926




WHITESIDE LOUISE M                  WHITESIDE, AMI                        WHITESIDE, JIMMY D.
1325 PARK AVE                       414 S MAIN ST                         93 FARMER ROAD
WINTHROP HARBOR, IL 60096           TROY, IL 62294                        FYFFE, AL 35971




WHITE-WAGONER, JOAN - CEO           WHITE-WAGONER, JOAN L.                WHITEWATER INC
ADDRESS ON FILE                     111 RIVER CHASE                       624 COUNTRY CLUB DR
                                    WASHINGTON, NC 27889                  EVANSTON, WY 82930




WHITFIELD, AMANDA L.                WHITFIELD, AMANDA L.                  WHITFIELD, CRYSTAL
2121 CHAVIES RD                     ADDRESS ON FILE                       1590 FIVE CENT RD
FORT PAYNE, AL 35968                                                      WILLIAMSTON, NC 27892




WHITFIELD, GLADYS                   WHITFIELD, JOSH                       WHITFIELD, VIVIAN S.
12139 S PRINCETON AVE               TNCC                                  1756 OLD EVERETTS ROAD
CHICAGO, IL 60628                   3307 MILLER RD.                       EVERETTS, NC 27825
                                    POWELL, TN 37849




WHITING, GLEN                       WHITING, SUSAN                        WHITLEY JANETTA A
4130 S E ST                         1501 W MAPLEWOOD                      1365 SPRUCE ST APT 207
SPRINGFIELD, OR 97478-7595          MARION, IL 62959                      FLORENCE, OR 97439




WHITLEY, EDWIN                      WHITLEY, GEORGE                       WHITLEY, HALA
2459 SHOAL CREEK ROAD               222 DOUBLE SPRINGS RD                 ADDRESS ON FILE
MONROE, GA 30656                    MONROE, GA 30656




WHITLOCK, DAMIEN ANTONIO K.         WHITLOCK, WAYNE                       WHITMAN PARTNERS INC.
ADDRESS ON FILE                     542 WASHINGTON ST                     3030 SW 1ST AVE
                                    APT 1011                              PORTLAND, OR 97201
                                    WAUKEGAN, IL 60085




WHITMAN, GRACE                      WHITMAN, RONNIE                       WHITMORE, AARON
3561 VERNON WAY                     933 VICKERY RD                        437 QUARTERHORSE DR
EUGENE, OR 97401                    GREENVILLE, AL 36037                  BEAR RIVER, WY 82930-9592




WHITMORE, DAVID & SANDRA            WHITMORE, DAVID                       WHITMORES PLUMBING SERVICE INC
17264 CASEY ROAD                    17264 CASEY ROAD                      408 B 11TH ST
LIBERTYVILLE, IL 60048              LIBERTYVILLE, IL 60048                BIG SPRING, TX 79720
                     CaseINC
WHITMORES PLUMBING SERVICE 20-10766-BLS    DocWRECKER
                                    WHITMORES   6 Filed  04/07/20
                                                       SERVICE      Page 1902 of ATKINS
                                                                         WHITNEY  1969
408 E.11TH ST                       600 GREENWOOD AVE                    719 MAIN ST
BIG SPRING, TX 79720                WAUKEGAN, IL 60087                   APT.4
                                                                         MT. VERNON, IL 62864




WHITNEY BANK                        WHITNEY HAMPTON                      WHITNEY MEDICAL SOLUTIONS
HANCOCK WHITNEY BANK                90 W 157TH PL                        5737 W HOWARD ST
                                    HARVEY, IL 60426                     NILES, IL 60714




WHITNEY NEACE                       WHITNEY NICHOLS                      WHITNEY WALDEN
ADDRESS ON FILE                     509 S. WALNUT                        2121 NORTH CENTER STREET
                                    BETHALTO, IL 62010                   MARYVILLE, IL 62062




WHITNEY, BRENDA L.                  WHITNEY, DOROTHY E.                  WHITNEY, LISA
ADDRESS ON FILE                     ADDRESS ON FILE                      19131 FALLINGWATER LANE
                                                                         MARINA, CA 93933




WHITSEL, CAROL E.                   WHITSEL, TIMOTHY J.                  WHITSITT, ANGELA R.
ADDRESS ON FILE                     90440 SHADOWS DRIVE                  ADDRESS ON FILE
                                    SPRINGFIELD, OR 97478




WHITT, AMANDA P.                    WHITT, AMANDA                        WHITT, DONALLE R.
ADDRESS ON FILE                     ADDRESS ON FILE                      ADDRESS ON FILE




WHITT, JEREMY D.                    WHITT, MARGARET                      WHITTAKER, MARCIE A.
ADDRESS ON FILE                     P.O. BOX 532                         112 LODGEPOLE DR
                                    INEZ, KY 41224                       EVANSTON, WY 82930




WHITTAKER, MARCIE A.                WHITTED, ANTHONY D.                  WHITTEN, AMANDA M.
ADDRESS ON FILE                     129 RIVERVIEW DR                     ADDRESS ON FILE
                                    WASHINGTON, NC 27889




WHITTEN, BROOKE                     WHITTEN, THOMAS E.                   WHITTENBARGER, JOEY
2101 BRIARWOOD AVE SW               ADDRESS ON FILE                      851 SUGAR CREEK RD
FORT PAYNE, AL 35967                                                     BLUE RIDGE, GA 30513-4060




WHITTENBURG, LARRY                  WHITTENBURG, SHAVONN                 WHITTET, CHRISTINE
P.O. BOX 38                         375 MERRILL AVE                      1398 N CHERRY ST
310 BRANCH STREET                   CALUMET CITY, IL 60409               GALESBURG, IL 61401
ELLIS GROVE, IL 62241
WHITTINGTON, ROD S.      Case 20-10766-BLS   Doc
                                       WHITTLE,    6 Filed 04/07/20
                                                KATHERINE                 Page 1903  of EMILY
                                                                               WHITTON  1969
200 INVERNESS CIRCLE                    355 FAILS RD                           P.O. BOX 393
PRINCETON, KY 42445                     GREENVILLE, AL 36037                   MCCAYSVILLE, GA 30555




WHITTON, KEITH                          WHITWELL CHRISTINA                     WHOLESALE COMMERCIAL LAUNDRY
398 OUTLOOK ROAD                        1210 WOOD BRIDGE ST                    EQUIPMENT
MURPHY, NC 28906                        COLLINSVILLE, IL 62234                 2950 HWY 77
                                                                               SOUTHSIDE, AL 35907




WHOLESALE PAPER & CHEMICAL              WHOLESALE SECURITY, LP WATCHMAN        WHORTON, HEATHER
DBA FORT PAYNE WHOLESALE                PATROL                                 3245 COUNTY ROAD 40
P.O. BOX 680640                         16085 TUSCOLA RD. STE 7                CENTRE, AL 35960
FORT PAYNE, AL 35968                    APPLE VALLEY, CA 92307




WHYTE, DAWN-MARIE                       WIABEL, LYNN M.                        WIBH AM
366 SPRING LEAP CIRCLE                  3921 W 147TH PLACE                     330 S MAIN ST
WINTER GARDEN, FL 34787                 MIDLOTHIAN, IL 60445                   ANNA, IL 62906




WICK, JENNIFER J.                       WICK, JENNY S.                         WICKE, ANGELA
ADDRESS ON FILE                         ADDRESS ON FILE                        146 MAPLE RD
                                                                               CLAY CITY, IL 62824




WICKED MOTORSPORTS                      WICKER, ELLA D.                        WICKES, GEORGE
1229 N 80 E                             1260 HILLSIDE RD.                      1160 BARBER DR
TOOELE, UT 84074                        MONROE, GA 30655                       EUGENE, OR 97405-4413




WICKHAM, LARRY                          WICKHAM, NANCY R.                      WICKLINE, NANCY L.
1529 RODGER AVE                         11 DEVON HILL LN                       ADDRESS ON FILE
GRANITE CITY, IL 62040                  GRANITE CITY, IL 62040




WICKMAN DAVID A                         WIDING, SHIRLEY                        WIDMANN, ROGER H.
2 AZALEA CT                             2418 MEADOWS AVE NW                    36 SCENIC VALLEY LN
EDWARDSVILLE, IL 62025                  MASSILLON, OH 44647                    ELLIJAY, GA 30536




WIDMER, MELANIE                         WIDOFF, LEANNA                         WIDUCKI, PETER
621 BROOKHILL DR                        2474 ROYALANN LN                       3555 DRISCOLL RD APT 2
COVINGTON, GA 30014                     EUGENE, OR 97405-9237                  RHINELANDER, WI 54501




WIEBBECKE, BARBARA                      WIEBE, PHYLLIS                         WIEBLER, STACEY D.
585 WALTON FERRY ROAD                   423 EMERIL CT                          20701 DIAMOND SPRINGS RD
HENDERSONVILLE, TN 37075                ORRVILLE, OH 44667                     CARLYLE, IL 62231
                      Case
WIEDERHOLD & ASSOCIATES INC 20-10766-BLS
                                     WIEGANDDoc  6 Filed 04/07/20
                                              JENNIFER              Page 1904 of 1969
                                                                         WIEGAND, DONNA M.
2300 BETHELVIEW RD                   2923 STAUNTON RD                     ADDRESS ON FILE
STE 100 BOX 455                      EDWARDSVILLE, IL 62025
CUMMING, GA 30040




WIEGAND, EMILY D.                   WIEGAND, SHIRLEY A.                   WIEGARD, ANGELA
ADDRESS ON FILE                     216 SHERWOOD DR                       5344 MILL ROAD
                                    GLEN CARBON, IL 62034                 EVANSVILLE, IL 62242




WIEGARD, BERNELL                    WIEGARD, DALE J.                      WIEGERS, JULIA
1112 TEAL DRIVE                     5344 MILL ROAD                        101 FORESTVIEW DR
RED BUD, IL 62278                   EVANSVILLE, IL 62242                  BELLEVILLE, IL 62220




WIEGMAN, DOMINIQUE D.               WIEHLE, SANDRA A.                     WIELANSKY ALYSSA
ADDRESS ON FILE                     13903 VIEWFIELD CT                    24 DUNLEITH DR
                                    HOUSTON, TX 77059                     SAINT LOUIS, MO 63124




WIELGOPOLAN, KYLIE                  WIELT, JULIE                          WIENKE, KIMBERLY A.
ADDRESS ON FILE                     12727 FRANKLIN CEMETARY RD            14924 SHEILA CT.
                                    WHITTINGTON, IL 62897                 OAK FOREST, IL 60452




WIERSCHKE, JENNIFER M.              WIERZCHUCKI, ANDREW M.                WIESE DAVID
ADDRESS ON FILE                     6938 WHITE PINE LN                    559 WILSON AVENUE
                                    RED BUD, IL 62278                     COLUMBIA, IL 62236




WIESE USA-SERVICE                   WIESE, PETER JOHN                     WIESEMANN, ERIN E.
1435 WOODSON RD                     93130 GIANT OAK DR                    ADDRESS ON FILE
ST. LOUIS, MO 63132                 JUNCTION CITY, OR 97448




WIESEMANN, JOHN                     WIESEN, JESSICA M.                    WIESER, HOLLIS
ADDRESS ON FILE                     ADDRESS ON FILE                       1090 BURD AVE NE
                                                                          MASSILLON, OH 44646




WIESTKE MOORE                       WIETING MICHAEL                       WIETTING, LINDSAY E.
ADDRESS ON FILE                     114 SOUTH BELLEMONTE RD               ADDRESS ON FILE
                                    BLOOMINGTON, IL 61701




WIGAL, CHERYL L.                    WIGG, WILLIAM J.                      WIGG, WILLIAM JAY
1019 LAKE AVENUE N.E.               1056 MARTHA CT                        1460 G STREET
MASSILLON, OH 44646                 EUGENE, OR 97401                      SPRINGFIELD, OR 97477
WIGGINS, ANTOINE O.    Case 20-10766-BLS
                                     WIGGINS,Doc  6 Filed 04/07/20
                                               ARLENE                Page 1905  of COURTNEY
                                                                          WIGGINS, 1969     R.
APT.J3 LANDMARK STREET               8823 S MICHIGAN AVE                   124 MEADOW DRIVE P.O. BOX 343
GREENVILLE, NC 27834                 CHICAGO, IL 60619                     MURFREESBORO, NC 27855




WIGGINS, EARL                        WIGGINS, JANE B.                      WIGGINS, LATONYA
1455 KNOTTLEY RIVER RD               926 BLUEBIRD RD                       P.O. BOX 104
MURPHY, NC 28906                     AUGUSTA, GA 30904                     OAK CITY, NC 27857




WIGGINS, MELODY J.                   WIGGINS, TERESA A.                    WIGGINS, TERESA
320 BEVAN WAY                        313 NORTH SEBASTIAN ST                HRMC
TOOELE, UT 84074                     WEST HELENA, AR 72390                 HELENA, AR 72342




WIGGINSKOLB RACHEAL A                WIGGONTON, DELAINE                    WIGGONTON, THOMAS M.
26111 W LAKE AVE                     114 OAK DR                            ADDRESS ON FILE
ANTIOCH, IL 60002                    RAINSVILLE, AL 35986




WIGGS, SHANE                         WIGINGTON, SHERRI L.                  WIGINGTON, YVONNE
921 EAST CLARK TRAIL                 602 HIGHLAND DR                       ADDRESS ON FILE
HERRIN, IL 62948                     BIG SPRING, TX 79720




WIGLEY, CAYLA MADONNA                WIGLEY, JELANE                        WIGLEY, MEGAN
98 COUNTY RD 495                     ADDRESS ON FILE                       1012 COUNTY ROAD 255
FORT PAYNE, AL 35968-3210                                                  FORT PAYNE, AL 35967




WIGLEY, ROGER                        WIHTOL, GABRIEL                       WIKOFF, WILLIAM
P.O. BOX 327                         ADDRESS ON FILE                       1416 GREENRIDGE WAY
SYLVANIA, AL 35988                                                         LOGANVILLE, GA 30052




WILBANKS, ANNE                       WILBANKS, CANDACE                     WILBANKS, LILLIE M.
61 OLD HIX ST                        ADDRESS ON FILE                       ADDRESS ON FILE
SUMMERVILLE, GA 30747




WILBARGER COUNTY HOSPITAL DISTRICT   WILBERGER, SPENCER GAYLORD            WILBERT, AZURE D.
WILBARGER GENERAL HOSPITAL           34325 MATTHEWS ROAD                   P.O. BOX 1062
920 HILLCREST DRIVE                  EUGENE, OR 97405                      BIG SPRING, TX 79721
VERNON, TX 76384-3132




WILBERT, CONNIE M.                   WILBERT, MARILYN                      WILBORN SHANNON M
545 AUBREY DR                        P.O. BOX 606                          16032 COUNTY RD 50
ATHENS, GA 30606                     OVERTON, NV 89040                     GROVEOAK, AL 35975-4315
WILBORN, STEPHANIE        Case 20-10766-BLS   Doc
                                        WILBURN,    6 Filed
                                                 ANASTACIA D. 04/07/20   Page 1906  of BRENT
                                                                              WILBURN, 1969 G.
554 CLEMENTS ROAD                       ADDRESS ON FILE                        604 ASHTONBERRY PL
RAINSVILLE, AL 35986-0000                                                      LOGANVILLE, GA 30052-6715




WILBURN, CAPEL                         WILBURN, DEMARIUS J.                    WILBURN, HEATHER C.
208 ORANGE                             ADDRESS ON FILE                         ADDRESS ON FILE
ANNA, IL 62906




WILBURN, JOSHUA R.                     WILBURN, KIMBERLY A.                    WILBURN, SHARON
7463 CO RD 76                          1092 COUNTY ROAD 252                    773 COUNTY ROAD 402
GROVEOAK, AL 35975                     FORT PAYNE, AL 35967                    GROVEOAK, AL 35975




WILCOX CATES, KRISTA D.                WILCOX SHERRY LEE                       WILCOX, JENNIFER L.
ADDRESS ON FILE                        P.O. BOX 574                            104 ORCHARD COURT APT. 2
                                       MARCOLA, OR 97454                       PEOTONE, IL 60468




WILCOX, RICHARD                        WILCOX, SARAH                           WILCOX, SHERRY LEE
402 PLUM ST                            P.O. BOX 443                            P.O. BOX 574
EDWARDSVILLE, IL 62025                 MENTONE, AL 35984-0443                  MARCOLA, OR 97454




WILCOX, TRISH L.                       WILCOXEN DIANE A                        WILCOXEN, DIANE A.
1010 N BROADWAY                        538 E THIRD ST                          538 E THIRD ST
LEWISTOWN, IL 61542                    GALESBURG, IL 61401                     GALESBURG, IL 61401




WILD GOOSE CHASE, INC.                 WILD TILE BY NELSON ARTS                WILD, ALLEN D.
9955 S VIRGINIA AVE                    4200 WESTWOOD DRIVE                     4637 FULTS RD
CHICAGO, IL 60415                      MT. VERNON, IL 62864                    FULTS, IL 62244




WILD, AUDREY K.                        WILD, TANYA                             WILD, TIMMY A
802 SOUTH 67TH AVE                     445 STEVEN DR                           3366 KK ROAD
SPRINGFIELD, OR 97478                  RED BUD, IL 62278                       WATERLOO, IL 62298




WILDE, HEIDI A.                        WILDER SANDRA DENISE                    WILDER, CARLA
ADDRESS ON FILE                        8028 S PHILLIPS AVENUE                  23820 SARA COURT
                                       UNIT 2                                  CRETE, IL 60417
                                       CHICAGO, IL 60617




WILDER, KYLEE A.                       WILDER, SUSAN C.                        WILDER, TAMMY C.
ADDRESS ON FILE                        ADDRESS ON FILE                         800 CEDAR RIDGE LANE APT 208
                                                                               RICHTON PARK, IL 60471
WILDERMAN, DAWN N.         Case 20-10766-BLS   Doc 6KATHY
                                         WILDERMUTH,   Filed
                                                          J. 04/07/20   Page 1907  of 1969
                                                                             WILDERNESS-BLAKELY, EUNICE
9608 EAST WILLIAMS                        135 LUCINDA AVE                     6952 BIRCH AVE
BONNIE, IL 62816                          BELLEVILLE, IL 62220                GARY, IN 46403




WILDFIRE INTERNET                         WILDHABER, LISA I.                  WILER, DIANA
P.O. BOX 1021                             ADDRESS ON FILE                     2500 OLD STAGE RD
GRANITE CITY, IL 62040-1021                                                   HUNTINGDON, TN 38344




WILES JEANIE                              WILES, JILL                         WILES, MEAGAN
34877 N ROCK ISLAND ST                    336 W NIMISILA RD                   6037 OLD ALTON RD
INGLESIDE, IL 60041                       NEW FRANKLIN, OH 44319-4900         GRANITE CITY, IL 62040




WILEY, ANDREW T.                          WILEY, DIANE                        WILEY, JENNIFER L.
ADDRESS ON FILE                           11040 NATURE TRAIL RD               ADDRESS ON FILE
                                          SPARTA, IL 62286




WILEY, JUSTIN                             WILEY, MINDY                        WILEY, NAKIA
346 LAKE INDIAN HILLS DR                  463 INDUSTRIAL BLVD, B2             ADDRESS ON FILE
CARBONDALE, IL 62902                      BLUE RIDGE, GA 30513




WILEY, VEDA F.                            WILFERD, DAVID                      WILFORD PRINTING
12329 S BISHOP                            7232 CRYSTAL LAKE CT                227 S. 10TH STREET
CALUMET PARK, IL 60827                    ST LOUIS, MO 63129                  MT. VERNON, IL 62864




WILGUS, BRIAN E.                          WILHELM, HOLLIS J.                  WILHELM, KARA R.
34 ERNST DR                               6225 BOATMAN DR NW                  7532 BETHANY CR NW
GLEN CARBON, IL 62034                     CANAL FULTON, OH 44614              NORTH CANTON, OH 44720




WILHITE, TIFFANY A.                       WILHOITE, KATIE                     WILK, GERALD
1273 MODOC ST                             403 N MAIN ST                       4717 HONEYCOMB DR
SPRINGFIELD, OR 97477                     ANNA, IL 62906                      EUGENE, OR 97404




WILKEN, AILEIGH B.                        WILKERSON SHARON                    WILKERSON, GEORGE
218 ROOSEVELT ST                          P.O. BOX 129                        1963 BANYAN TREE
LEBANON, IL 62254                         GOLCONDA, IL 62938                  COLLINSVILLE, IL 62234




WILKERSON, HEATHER C.                     WILKERSON, JAMIE                    WILKERSON, JAMIE
ADDRESS ON FILE                           ADDRESS ON FILE                     512 W JEFFERSON AVE
                                                                              PATOKA, IL 62875
WILKERSON, JENNIFER      Case 20-10766-BLS   DocJENNIFER
                                       WILKERSON, 6 Filed 04/07/20   Page 1908  of 1969
                                                                          WILKERSON, JOSHUA A.
201 NORTH CHERRY ST                     ADDRESS ON FILE                    ADDRESS ON FILE
FREEBURG, IL 62243




WILKERSON, LACEY                        WILKERSON, LEKISHA C.              WILKERSON, MARGARET A.
171 SANDY SHORE DRIVE                   8644 S. 86TH AVE. APT. 303         ADDRESS ON FILE
GRANITE CITY, IL 62040                  JUSTICE, IL 60458




WILKERSON, MARGARET ANN                 WILKERSON, MARY JO                 WILKERSON, TRACY L.
ADDRESS ON FILE                         1706 E ELM ST                      ADDRESS ON FILE
                                        WEST FRANKFORT, IL 62896




WILKERSON, TRACY MD                     WILKERSON, VALENCIA D.             WILKERSON, WILLIAM S.
ADDRESS ON FILE                         ADDRESS ON FILE                    4225 LAKESIDE BLVD
                                                                           MONROE, GA 30655




WILKES, LINDA                           WILKES, PATRICIA D.                WILKES, WENDELL
50 WILSHIRE WALK                        67 LAKESIDE DR                     307 WESTSIDE LANE NW
COVINGTON, GA 30016                     BLAIRSVILLE, GA 30512              BROOKHAVEN, MI 39601




WILKES-BARRE BEHAVIORAL HOSPITAL        WILKEY, AUSTIN                     WILKEY, MARCILYN
COMPANY LLC                             P.O. BOX 1734                      7573 HILL CITY RD
562 WYOMING AVE                         LOGANDALE, NV 89021                BENTON, IL 62812-6727
KINGSTON, PA 18604




WILKEY, RONALD R.                       WILKEY, SHARON A.                  WILKIN, JUDY
502 S DOGWOOD ST                        ADDRESS ON FILE                    675 W 900 N
BELLE RIVE, IL 62810                                                       ST GEORGE, UT 84770




WILKIN,S SHAYLEEN                       WILKINS SCHNELLER LAW LLC          WILKINS, ANGELA
1588 DUROCHER LANE                      1926 CHOUTEAU AVE                  3613 W. HWY 80
TOOELE, UT 84074                        ST LOUIS, MO 63103                 BIG SPRING, TX 79720




WILKINS, BARBARA A.                     WILKINS, DALANEE                   WILKINS, DENITA
3544 198TH ST                           264 WALNUT AVE                     1445 WINCHESTER GROVE CT
FLOSSMOOR, IL 60422                     GALESBURG, IL 61410                O FALLON, IL 62269




WILKINS, HAROLD                         WILKINS, JESSICA L.                WILKINS, JONI
1250 WILKINS ROAD                       1665 WILSHIRE DR                   2904 SARATOGA ST
HURON, TN 38345                         APTOS, CA 95003                    GRANITE CITY, IL 62040
WILKINS, MARIAH G.       Case 20-10766-BLS
                                       WILKINS,Doc 6 HFiled
                                                ROBERT JR   04/07/20      Page 1909  of 1969
                                                                               WILKINSON, ALVIN
792 DELTA WAY                           P.O. BOX 680011                         8812 ROSEWOOD HILLS DR
WATSONVILLE, CA 95076                   FORT PAYNE, AL 35968-1601               EDWARDSVILLE, IL 62025




WILKINSON, ANGELA                       WILKINSON, BRYAN                        WILKINSON, JAYCEE R.
536 EAST MEADE ST                       35 LANDS END CT                         460 CHRISTOPHER ST
BUNKER HILL, IL 62014                   GLEN CARBON, IL 62034                   STANSBURY PARK, UT 84074




WILKINSON, SCOTT A.                     WILKINSON, STEPHANIE P.                 WILKINSON, WENDY
525 SANTA MARGARITA WAY                 ADDRESS ON FILE                         ADDRESS ON FILE
APTOS, CA 95003




WILKISON, DOROTHY A.                    WILKS APRIL N                           WILKS JERRY W
10122 S WASHTENAW                       202 FARMER RD                           1601 COUNTY ROAD 523
CHICAGO, IL 60655                       FYFFE, AL 35971                         FYFFE, AL 35971-4302




WILKS KALA D                            WILKS TINA M                            WILKS TRACY
649 LIBERTY RD                          ADDRESS ON FILE                         154 WADE ST
HENAGAR, AL 35978-0280                                                          RAINSVILLE, AL 35986




WILKS, ERICA                            WILKS, JERRY                            WILKS, ROY
1424 CLEARWATER STREET                  1601 COUNTY ROAD 523                    154 WADE STREET
FLATWOODS, KY 41139                     FYFFE, AL 35971                         RAINSVILLE, AL 35986




WILKS, SAM                              WILKS, SANDRA P.                        WILKS, TINA
1947 KNOTTY POPLAR RD                   10735 S DREW ST                         ADDRESS ON FILE
WEBBVILLE, KY 41180-8432                CHICAGO, IL 60643




WILKS, TUCKER LANE                      WILL DURKIN                             WILL, SARA M.
2279 COUNTY RD 76                       2480 URBANA AVE SE                      1019 N LEWIS AVE
FYFFE, AL 35971-3406                    MASSILLON, OH 44646-7448                WAUKEGAN, IL 60085




WILL, TIMOTHY M.                        WILLAMALANE ADULT ACTIVITY CNTR         WILLAMALANE PARK & REC
5050 WILDER DR UNIT B                   215 W. C STREET                         250 SOUTH 32ND STREET
SOQUEL, CA 95073                        SPRINGFIELD, OR 97477                   SPRINGFIELD, OR 97478-6302




WILLAMETTE COMMUNITY HEALTH             WILLAMETTE VALLEY AWARDS                WILLAMETTE VALLEY BABE RUTH INC
SOLUTIONS                               P.O. BOX 1636                           P.O. BOX 7885
                                        SPRINGFIELD, OR 97477                   SPRINGFIELD, OR 97475
WILLAMETTE VALLEY COMMCase  20-10766-BLS
                       HLTH PLAN            Doc VALLEY
                                     WILLAMETTE    6 Filed 04/07/20
                                                       COMMUN HEALTH   Page 1910  ofHEALEY
                                                                            WILLARD  1969
P.O. BOX 5550                        PLAN                                   1025 DAY ST
SALEM, OR 97304-0550                 P.O. BOX 5550                          GALESBURG, IL 61401
                                     SALEM, OR 97304




WILLARD STULL                        WILLARD, CARTER                        WILLARD, CHERI L.
1366 260TH AVE                       205 P&N LANE                           ADDRESS ON FILE
ALEXIS, IL 61412                     LOUISA, KY 41230




WILLARD, CHERYL L.                   WILLARD, HEALEY                        WILLARD, HEATHER L.
3243 SUMMER CT E                     1025 DAY ST                            8440 S HWY 150 P.O. BOX 2130
SNELLVILLE, GA 30039                 GALESBURG, IL 61401                    EVANSTON, WY 82930




WILLARD, HEATHER L.                  WILLARD, HOLLY R.                      WILLARD, RENEE J.
8440 S HWY 150 P.O. BOX 2130         1280 BARROW HILL RD                    33 JERSEY FLEUR DR 9241
EVANSTON, WY 82931                   FORREST CITY, AR 72335                 ELLIJAY, GA 30540




WILLARD, STULL                       WILLBRINCK, TODD                       WILLCOX, ERIC
1366 260TH AVE                       601 WOODTHRUSH ST                      940 PRIMEROSE LN. NE
ALEXIS, IL 61412                     TROY, IL 62294                         DEMING, NM 88030




WILLDEN, MEGAN H.                    WILLECKE MARY L.                       WILLEFORD ROBIN
ADDRESS ON FILE                      P.O. BOX 8642                          309 E 7TH N ST
                                     GURNEE, IL 60031                       MOUNT OLIVE, IL 62069




WILLEMSEN-GILBERT, JENNIFER L.       WILLES AMANDA                          WILLETT, SYDNEY M.
ADDRESS ON FILE                      966 W 370 S                            916 COUNTY ROAD 25
                                     TOOELE, UT 84074                       CROSSVILLE, AL 35962




WILLETTE, TREVOR J.                  WILLEY, KRYSTAL                        WILLI, MIRANDA
ADDRESS ON FILE                      6220 WATER VALLEY RD                   14623 MAIN ST APT B204
                                     COBDEN, IL 62920                       MILL CREEK, WA 98012




WILLIAM A FORNESS                    WILLIAM A. HINZ, M.D.                  WILLIAM BRISCOLINO
1509 KINSELLA AVE                    ADDRESS ON FILE                        140 KNOLL DR
SWANSEA, IL 62226                                                           KIRKWOOD, IL 61447




WILLIAM BUCK                         WILLIAM CLARK                          WILLIAM D SCHWEINHART
1045 SEPTEMBER LANE                  ADDRESS ON FILE                        430 PRESTWICK CT
WILLIAMSTON, NC 27892-0000                                                  NASHVILLE, TN 37205
WILLIAM DAVENPORT        Case 20-10766-BLS
                                       WILLIAMDoc
                                              DAVID6TOM,
                                                      Filed
                                                         M.D. 04/07/20      Page 1911  ofE 1969
                                                                                 WILLIAM   BOWLUS MD PA
ADDRESS ON FILE                          ADDRESS ON FILE                          24 WIMBLEDON DR
                                                                                  JACKSON, MS 39211-2443




WILLIAM EBBING JR.                       WILLIAM F YARBROUGH JR & JODIE A         WILLIAM H BREATHARD
1817 E MAIN ST                           YARBROUGH JT TEN                         245 E HIGH ST
GALESBURG, IL 61401-5428                 3315 BOLIDE ST                           LONDON, OH 43140-1431
                                         SEBRING, FL 33872-3202




WILLIAM HENNENFENT                       WILLIAM HERRON                           WILLIAM HURST
1218 KNOX HWY 12                         5834 HWY 261                             2366 KNOX RD 1950N
GILSON, IL 61436                         MARIANNA, AR 72360                       WILLIAMSFIELD, IL 61489




WILLIAM J OWEN                           WILLIAM JARRETT                          WILLIAM JEROME GAY, DO
208 RICKENBAKER ST                       ADDRESS ON FILE                          835 KY HWY 30 EAST
JACKSON, SC 29831-3559                                                            BOONEVILLE, KY 41314




WILLIAM K HAMMOND                        WILLIAM L THORNTON                       WILLIAM L.PIERCE
2915 COBBS WAY                           P.O. BOX 643                             439C REPUBLIC RD
ANDERSON, SC 29621-4258                  SOCIAL CIRCLE, GA 30025-0643             WINDSOR, NC 27983




WILLIAM LEADY JR                         WILLIAM LEE PRICE                        WILLIAM M. GRACEY
11397 E COAL CHURCH RD                   1460 G STREET                            NELSON, MULLINS, RILEY &
LONDON MILLS, IL 61544                   SPRINGFIELD, OR 97477                    SCARBOROUGH, LLP
                                                                                  ATTN: JAMES AUMAN HALTOM
                                                                                  ONE NASHVILLE PLACE; 150 FOURTH AVE,
                                                                                  NORTH, STE 1100
                                                                                  NASHVILLE, TN 37219

WILLIAM MAHER                            WILLIAM MIZE                             WILLIAM MOLLET
5959 REDBUD LANE                         4370 TIFFANY LN                          8198 AUDUBION ST NW
EDWARDSVILLE, IL 62025                   LOGANVILLE, GA 30052-3591                MASSILLON, OH 44646




WILLIAM MOORE                            WILLIAM NEWTON HOSPITAL                  WILLIAM NORRIS JENNINGS
ADDRESS ON FILE                          1300 EAST 5TH AVE
                                         WINFIELD, KS 67156




WILLIAM P STAMPER                        WILLIAM R BALSOM, M.D.                   WILLIAM REILLY
220 OAK DR                               ADDRESS ON FILE                          ADDRESS ON FILE
BEECH ISLAND, SC 29842




WILLIAM S F FREEMAN                      WILLIAM S. HUSSEY                        WILLIAM SETH PENN
FREEMAN & FREEMAN LLC                    NELSON, MULLINS, RILEY &                 301 E. POCAHONTAS RD
P.O. BOX 383                             SCARBOROUGH, LLP                         HIGHLAND, IL 62249
GREENVILLE, SC 29602                     ATTN: JAMES AUMAN HALTOM
                                         ONE NASHVILLE PLACE; 150 FOURTH AVE,
                                         NORTH, STE 1100
                                         NASHVILLE, TN 37219
WILLIAM WILKERSON          Case 20-10766-BLS
                                         WILLIAM,Doc 6 Filed 04/07/20
                                                  GLENN                         Page 1912  ofJANIS
                                                                                     WILLIAM, 1969
1020 E 1670TH                             316 EVERGREEN TRAILS                       2523 WALNUT ST
GALVA, IL 61434                           HERRIN, IL 62948                           WAUKEGAN, IL 60085




WILLIAMS & COMPANY CONSULTING, INC.       WILLIAMS & COMPANY CONSULTING, INC.        WILLIAMS ARTHUR L
P.O. BOX 9400                             PO BOX 9400                                21133 DIVISION ST
SIOUX CITY, IA 51102                      SIOUX CITY, IA 51102                       THOMPSONVILLE, IL 62890




WILLIAMS BELINDA                          WILLIAMS BRANDON CODY                      WILLIAMS BRIDGETT
7940 S PRAIRIE AVE                        8183 AL HIGHWAY 73                         2034 HONORE AVE APT 1
CHICAGO, IL 60619                         BRYANT, AL 35958-4123                      NORTH CHICAGO, IL 60064




WILLIAMS CLYDE L                          WILLIAMS EDDIE JR                          WILLIAMS ERVIN
571 BEAVER RUN RD                         P.O. BOX 313                               P.O. BOX 5
BLAIRSVILLE, GA 30512                     201 KENNEDY ST                             HAMILTON, NC 27840
                                          COLP, IL 62921




WILLIAMS FIRE SPRINKLER CO INC            WILLIAMS FIRE SPRINKLER CO, INC            WILLIAMS FUEL ACQUISITION INC
14677 HWY 64 WEST                         P.O. BOX 1048                              232 CRAVEN STREET
P.O. BOX 1048                             WILLIAMSTON, NC 27892                      NEW BERN, NC 28560
WILLIAMSTON, NC 27892




WILLIAMS FURNITURE CO                     WILLIAMS HANNAH B                          WILLIAMS I, RONNIE B.
P.O. BOX 458                              5113 SHEILA DR                             ADDRESS ON FILE
MCKENZIE, TN 38201                        GRANITE CITY, IL 62040




WILLIAMS JESSE                            WILLIAMS JONES, JESSICA L.                 WILLIAMS JR, JEROME C.
14304 AVALON AVENUE                       ADDRESS ON FILE                            3538 173RD ST APT24
DOLTON, IL 60419                                                                     HAMMOND, IN 46323




WILLIAMS JR, JOHN                         WILLIAMS KIMBERLY                          WILLIAMS KYLE S
P.O. BOX 393                              ADDRESS ON FILE                            ADDRESS ON FILE
MARVELL, AR 72366




WILLIAMS M.D., BONNIE M.                  WILLIAMS MARLENE ANN                       WILLIAMS MECHANICAL SERVICES
ADDRESS ON FILE                           32655 VINTAGE WAY                          508 KELSEY
                                          COBURG, OR 97408                           JONESBORO, AR 72404




WILLIAMS MECHANICAL                       WILLIAMS OFFICE PRODUCTS                   WILLIAMS PLUMBING & ELECTRIC
P.O. BOX 17038                            500 EAST BROADWAY                          52 FIRST ST
JONESBORO, AR 72403                       ALTON, IL 62002                            LEXINGTON, TN 38351
WILLIAMS PS, BRAD L.     Case 20-10766-BLS    Doc
                                       WILLIAMS    6 Filed
                                                RHONDA L   04/07/20   Page 1913  of ROBERTS
                                                                           WILLIAMS 1969 - CEO, PAMELA
421 W RIVERSIDE AVE                     6969 COUNTY RD 43                  HENDERSON COUNTY COMMUNITY
STE 512                                 SECTION, AL 35771                  HOSPITAL
SPOKANE, WA 99201                                                          200 WEST CHURCH ST
                                                                           LEXINGTON, TN 38351



WILLIAMS RODNEY E                       WILLIAMS ROSELLA                   WILLIAMS ROSLYN
303 HARLAN                              P.O. BOX 2142                      3309 W 85TH PLACE
LONDON MILLS, IL 61544                  BLAIRSVILLE, GA 30512              CHICAGO, IL 60652




WILLIAMS SCOTSMAN INC                   WILLIAMS, AARYN E.                 WILLIAMS, ALEXANDRIA
P.O. BOX 91975                          2572 IVY RD                        5835 WHITE RIDGE CIRCLE S
CHICAGO, IL 60693-1975                  GREENVILLE, NC 27858               OLIVE BRANCH, MS 38654




WILLIAMS, ALEXIS J.                     WILLIAMS, ALFREDA                  WILLIAMS, AMIE L.
1426 COUNTY ROAD 359                    1013 W MARKET ST                   2285 FRIENDLY STREET
CROSSVILLE, AL 35962                    ORRVILLE, OH 44667-1705            EUGENE, OR 97405




WILLIAMS, ANALEIA L.                    WILLIAMS, ANGELA F.                WILLIAMS, ANGELEANA
ADDRESS ON FILE                         841 DEVINE ST                      712 N DIVISION
                                        ALLIANCE, OH 44601                 FORREST CITY, AR 72335




WILLIAMS, ARIKA                         WILLIAMS, ASHLEY E.                WILLIAMS, ASHLEY N.
105 N PINE ST                           ADDRESS ON FILE                    17 CR 726
ZEIGLER, IL 62999                                                          WYNNE, AR 72396




WILLIAMS, ASHLEY                        WILLIAMS, BAILEY C.                WILLIAMS, BELINDA
2836 FOREST AVE                         180 S HALE STREET                  2460 RED OAK BEND
GRANITE CITY, IL 62040                  GRANTSVILLE, UT 84029              OXFORD, GA 30054




WILLIAMS, BEVERLY D.                    WILLIAMS, BRANDI                   WILLIAMS, BRENDA H.
227 CIRCLE DR APT H3                    1434 FM 2836                       P.O. BOX 1082
RAINSVILLE, AL 35986                    COLORADO CITY, TX 79512            COPPERHILL, TN 37317




WILLIAMS, BRITTANY                      WILLIAMS, BRITTLEE                 WILLIAMS, CAMILLE
ADDRESS ON FILE                         ADDRESS ON FILE                    ADDRESS ON FILE




WILLIAMS, CARENA                        WILLIAMS, CARMEN                   WILLIAMS, CHAD
317 COLONIAL DR APT A                   6531 SAGAMORE HILL CT              ADDRESS ON FILE
MARION, AR 72364                        FLORISSANT, MO 63033
WILLIAMS, CHANELLE        Case 20-10766-BLS    Doc
                                        WILLIAMS,   6 Filed 04/07/20
                                                  CHASITY              Page 1914  of 1969
                                                                            WILLIAMS, CHELSEA
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




WILLIAMS, CHEYENNE                       WILLIAMS, CHRISTINA L.              WILLIAMS, CLARENCE
ADDRESS ON FILE                          2350 BELMONT ROAD                   3394 BERKSHIRE BND SE
                                         ARNOLDSVILLE, GA 30619              CONYERS, GA 30013




WILLIAMS, CLARISSA B.                    WILLIAMS, CONSTANCE K.              WILLIAMS, CRYSTAL R.
ADDRESS ON FILE                          1308 MAIN AVE. W.                   6103 KNOLLWOOD RD APT 312
                                         MASSILLON, OH 44647                 WILLOWBROOK, IL 60527




WILLIAMS, CYBIL L.                       WILLIAMS, CYNTHIA                   WILLIAMS, DAJUAN
8434 SANDERS RD                          ADDRESS ON FILE                     3873 RODNEY DR
OOLTEWAH, TN 37363                                                           PONTOON BEACH, IL 62040




WILLIAMS, DAMIAN O.                      WILLIAMS, DANIELLE S.               WILLIAMS, DANNYE M.
1710 VINEYARD DR                         1890 WEST ISLANDS ROAD              12230 WASHINGTON AVE APT 3
GURNEE, IL 60031                         WILLIAMSTON, NC 27892               BLUE ISLAND, IL 60406




WILLIAMS, DARIUS D.                      WILLIAMS, DARRIUS D.                WILLIAMS, DAWSON C.
ADDRESS ON FILE                          14 HOLLOWAY DR UNIT B               109 N MERRITT ST
                                         COLLINSVILLE, IL 62234              ODIN, IL 62870




WILLIAMS, DEANNA S.                      WILLIAMS, DIANNA L.                 WILLIAMS, DONNA J.
2318 N MAIN ST A                         712 LOCUST ST.                      310 WEST DAVIE ST.
SALINAS, CA 93906                        RED BUD, IL 62278                   ANNA, IL 62906




WILLIAMS, DONNA                          WILLIAMS, DORRIS                    WILLIAMS, DYLAN
ADDRESS ON FILE                          21 EDGEBROOK LN                     4075 AERIAL WAY APT 242
                                         CENTRALIA, IL 62801                 EUGENE, OR 97402




WILLIAMS, EARL D.                        WILLIAMS, ERIN                      WILLIAMS, EVELYN F.
P.O. BOX 385                             4564 S THORNWOOD AVE                ADDRESS ON FILE
JOHNSTON CITY, IL 62951                  SALT LAKE CITY, UT 84123




WILLIAMS, FAITH                          WILLIAMS, FRANCES G.                WILLIAMS, GINO
45418 MCKEE AVE                          305 YORK LN                         P.O. BOX 2436
CALDWELL, OH 43724-9320                  AUGUSTA, GA 30909                   MESQUITE, NV 89024
WILLIAMS, GREG            Case 20-10766-BLS    Doc
                                        WILLIAMS,    6 Filed 04/07/20
                                                  HALEY                 Page 1915  of 1969
                                                                             WILLIAMS, HEATHER
P.O. BOX 965                             805 ROWLAND MILL RD                  13996 OTTER CREEK WEST
RAINSVILLE, AL 35986                     BRUCETON, TN 38318                   FIELDON, IL 62031




WILLIAMS, HYNISSAH                       WILLIAMS, JACK EDWARD                WILLIAMS, JACQUELEEN
2125 119TH PLACE                         600 W 6TH AVE RM 104                 ADDRESS ON FILE
BLUE ISLAND, IL 60406                    JUNCTION CITY, OR 97448-0000




WILLIAMS, JACQUELINE J.                  WILLIAMS, JACQUELINE M.              WILLIAMS, JAMES D JR
1936 TENNYSON AVE NE                     2628 ARSENAL ST                      P.O. BOX 63
MASSILLON, OH 44646                      SAINT LOUIS, MO 63118                OLIVE BRANCH, IL 62969




WILLIAMS, JAMES P.                       WILLIAMS, JAN W.                     WILLIAMS, JANENE
ADDRESS ON FILE                          ADDRESS ON FILE                      125 S WACKER DR STE 2700
                                                                              CHICAGO, IL 60606




WILLIAMS, JEFFERY RYAN                   WILLIAMS, JEFFREY SCOTT              WILLIAMS, JENNIFER A.
615 HORTON ROAD W                        195 COUNTY ROAD 122                  ADDRESS ON FILE
FORT PAYNE, AL 35967-0815                PIEDMONT, AL 36272




WILLIAMS, JENNIFER                       WILLIAMS, JERRY W                    WILLIAMS, JESSICA
1091 WILDFLOWER WAY                      597 SFC 352                          33561 N. ROYAL OAK LANE APT 206
MADISON, GA 30650                        FORREST CITY, AR 72335               WILDWOOD, IL 60030




WILLIAMS, JESSILYN S.                    WILLIAMS, JOHN LEWIS                 WILLIAMS, JOSEPH
208 WILSON STREET                        112 WINSTON FARM ROAD                ADDRESS ON FILE
LEXINGTON, TN 38351                      WINDSOR, NC 27983




WILLIAMS, KAREEM                         WILLIAMS, KAREN                      WILLIAMS, KARLIE
160 E 145TH ST                           210 BETH ST                          ADDRESS ON FILE
HARVEY, IL 60426                         GREENVILLE, NC 27858




WILLIAMS, KATELYN M.                     WILLIAMS, KATHLEEN D.                WILLIAMS, KATHLEEN
9 JOSHUA DR                              ADDRESS ON FILE                      ADDRESS ON FILE
METROPOLIS, IL 62960




WILLIAMS, KATHY J.                       WILLIAMS, KAYLA L.                   WILLIAMS, KHARI K.
34787 AVE H                              ADDRESS ON FILE                      206 HARVEY ST WEST
YUCAIPA, CA 92399                                                             HELENA, AR 72390
WILLIAMS, KIARA          Case 20-10766-BLS    Doc
                                       WILLIAMS, KIM6B. Filed 04/07/20   Page 1916  of 1969
                                                                              WILLIAMS, KIMBERLY A.
1714 W MAIN ST                           208 OKAY RD                           85102 TUDOR STREET
WILLIAMSTON, NC 27892                    SARATOGA, AR 71859                    PLEASANT HILL, OR 97455




WILLIAMS, KIMBERLY D.                    WILLIAMS, KIMBERLY T.                 WILLIAMS, KIMBERLY
133 E UNION ST APT. 2                    ADDRESS ON FILE                       ADDRESS ON FILE
EDWARDSVILLE, IL 62025




WILLIAMS, KRISTIN C.                     WILLIAMS, KRISTIN                     WILLIAMS, KRISTIN
1117 HICKORY LANE                        3650 HWY 22 SOUTH                     ADDRESS ON FILE
TUNICA, MS 38676                         LEXINGTON, TN 38351




WILLIAMS, KYLE                           WILLIAMS, LADAWN                      WILLIAMS, LANISHA
ADDRESS ON FILE                          42 W 114TH PL 2ND FL                  5 MARS DR
                                         CHICAGO, IL 60628                     BELLEVILLE, IL 62226




WILLIAMS, LARONDA M.                     WILLIAMS, LAUREN C.                   WILLIAMS, LEAH D.
ADDRESS ON FILE                          1107 W WALKUP AVE                     440 ALBERTON RD
                                         CARBONDALE, IL 62901                  LEXINGTON, TN 38351




WILLIAMS, LILLIAN R.                     WILLIAMS, LISA                        WILLIAMS, LISA
ADDRESS ON FILE                          2811 FIRELIGHT DR.                    ADDRESS ON FILE
                                         ST. LOUIS, IL 63129




WILLIAMS, LORENE K.                      WILLIAMS, LORI A.                     WILLIAMS, LUCILLE
ADDRESS ON FILE                          ADDRESS ON FILE                       12541 S JUSTINE ST
                                                                               CALUMET PARK, IL 60827




WILLIAMS, MALINA                         WILLIAMS, MALLORY                     WILLIAMS, MARI SUZETTE
ADDRESS ON FILE                          475 PC 251                            ADDRESS ON FILE
                                         LEXA, AR 72355




WILLIAMS, MARILYN                        WILLIAMS, MARK A.                     WILLIAMS, MARY E
ADDRESS ON FILE                          ADDRESS ON FILE                       365 E 100 S
                                                                               TOOELE, UT 84074




WILLIAMS, MARY J.                        WILLIAMS, MARY LOU                    WILLIAMS, MARY
ADDRESS ON FILE                          1069 POKE AVE                         ADDRESS ON FILE
                                         GREENVILLE, IL 62246
WILLIAMS, MELINDA EVIE B.Case 20-10766-BLS    Doc
                                       WILLIAMS,   6 Filed
                                                 MELISSA K. 04/07/20   Page 1917  of 1969
                                                                            WILLIAMS, MICKENZIE J.
2400 MERRILY DRIVE                     5343 FOREST RIDGE DR                  ADDRESS ON FILE
BIG SPRING, TX 79720                   LOGANVILLE, GA 30052




WILLIAMS, MONICA D.                   WILLIAMS, NAOMI S.                     WILLIAMS, NATIAYOUN L.
1312 WILD ROSE DR SE                  4908 13TH ST SW                        ADDRESS ON FILE
CONYERS, GA 30013                     CANTON, OH 44710




WILLIAMS, NEDRA                       WILLIAMS, NISSAN                       WILLIAMS, PAMELA J.
2001 INDIAN WOOD RD                   2611 ARACATUBA AVE                     ADDRESS ON FILE
WINDSOR, NC 27983                     LAS VEGAS, NV 89121




WILLIAMS, PAMELA K.                   WILLIAMS, PATRICIA K.                  WILLIAMS, PAULA G.
93 LEE RD 306                         14432 MERIDIAN RD                      ADDRESS ON FILE
MARIANNA, AR 72360                    SANDOVAL, IL 62882




WILLIAMS, PAULA                       WILLIAMS, RACHAEL                      WILLIAMS, RACHEL E.
ADDRESS ON FILE                       494 WESTWOOD DR                        2604 HIGHWAY 1 SOUTH
                                      LEXINGTON, TN 38351                    MARIANNA, AR 72360




WILLIAMS, RAYMOND D.                  WILLIAMS, RAYMOND J.                   WILLIAMS, REBECCA D.
ADDRESS ON FILE                       1676 BRAMBLEBUSH NW                    2314 CANSLER AVE
                                      MASSILLON, OH 44646                    GADSDEN, AL 35904




WILLIAMS, REBECCA S.                  WILLIAMS, REGINA                       WILLIAMS, ROBYN M.
P.O. BOX 1121                         ADDRESS ON FILE                        222 N 9TH STREET
RAINSVILLE, AL 35986                                                         MOUNT VERNON, IL 62864




WILLIAMS, ROGER E.                    WILLIAMS, ROGER                        WILLIAMS, RONALD CURTIS
ADDRESS ON FILE                       ADDRESS ON FILE                        P.O. BOX 717
                                                                             MINERAL BLUFF, GA 30559




WILLIAMS, RUSSELL D.                  WILLIAMS, SANDRA A.                    WILLIAMS, SEAN
ADDRESS ON FILE                       ADDRESS ON FILE                        ADDRESS ON FILE




WILLIAMS, SHARI N.                    WILLIAMS, SHAUN                        WILLIAMS, SHERRIE
1510 N GARFIELD ST APT 103            6714 S MICHIGAN AVE                    117 AVALON STREET
MARION, IL 62959                      CHICAGO, IL 60637                      WOOD RIVER, IL 62095
WILLIAMS, SHIRLENE      Case 20-10766-BLS    Doc
                                      WILLIAMS,    6 Filed
                                                SHIRLEY J. 04/07/20     Page 1918  of 1969
                                                                             WILLIAMS, SHIRLEY
322 LOCH HAVEN DR                      100 NORTH GRAPEVINE ROAD APARTMENT     38230 N RUSSELL AVE
CONYERS, GA 30013                      6X                                     BEACH PARK, IL 60087
                                       MESQUITE, NV 89027




WILLIAMS, SOPHIA                       WILLIAMS, STACIE                       WILLIAMS, SYDNEY
547 W FREDRICKS ST                     ADDRESS ON FILE                        ADDRESS ON FILE
BARSTOW, CA 92311




WILLIAMS, TACHICA S.                   WILLIAMS, TAMIKA J.                    WILLIAMS, TAMMIE M.
ADDRESS ON FILE                        354 SOUTH DEARBORN STREET              ADDRESS ON FILE
                                       MOBILE, AL 36603




WILLIAMS, TEMPRA S.                    WILLIAMS, TENNIKA                      WILLIAMS, TERESA L.
ADDRESS ON FILE                        11709 S KEDZIE                         1721 YALE
                                       MERRIONETTE PARK, IL 60803             BIG SPRING, TX 79720




WILLIAMS, TERESA L.                    WILLIAMS, TIFFANIE                     WILLIAMS, TIFFANY R.
601 JORDAN DR                          78 BROOKHILL COURT                     ADDRESS ON FILE
BLUE RIDGE, GA 30513                   COLLINSVILLE, IL 62234




WILLIAMS, TODD - ITV                   WILLIAMS, TODD M.                      WILLIAMS, TORI
2682 ASPEN                             2604 CHEYENNE                          1331 KELLY ST NW
SILOAM SPRINGS, AR 72761               BIG SPRING, TX 79720                   NEW PHILADELPHIA, OH 44663




WILLIAMS, TRACEY M.                    WILLIAMS, TRACIE                       WILLIAMS, TYLAN A.
ADDRESS ON FILE                        207 PHILLIPS 327 RD                    254 KAUMAKANI ST
                                       WEST HELENA, AR 72390                  HONOLULU, HI 96825




WILLIAMS, ULYSSES J                    WILLIAMS, VAN                          WILLIAMS, VANESSA R.
239 DESOTA                             222 WILLIAMS TOWN RD                   ADDRESS ON FILE
WEST HELENA, AR 72390                  MINERAL BLUFF, GA 30559




WILLIAMS, VANESSA                      WILLIAMS, VGER A.                      WILLIAMS, VICTORIA F.
3030 W 65TH AVE                        5302 S BLACKSTONE AVE                  ADDRESS ON FILE
MERRIVILLIE, IN 46410                  CHICAGO, IL 60615




WILLIAMS, VICTORIA H.                  WILLIAMS, WHITNEY                      WILLIAMS, WILLIAM L.
402 W SPRING STREET APT 8              107 VISTAVIEW COVE                     717 LAKE AVENUE N.E.
ANNA, IL 62906                         MARION, AR 72364                       MASSILLON, OH 44646
WILLIAMS, WILLIAM S.     Case 20-10766-BLS    Doc
                                       WILLIAMS,    6 T.Filed 04/07/20
                                                 WILLIE                      Page 1919  of 1969 NEDRA
                                                                                  WILLIAMS-HARRIS,
3231 N KINGS CROSS                       ADDRESS ON FILE                          204 WILLIAMS ST
FAYETTEVILLE, AR 72703                                                            WILLIAMSTON, NC 27892




WILLIAMS-JUSTICE, AMIYAH N.              WILLIAMS-LANG, JOHNATHAN A.              WILLIAMSON CO AMBULANCE
8 TIMOTHY LN                             1341 E 50TH PL                           808 E DEYOUNG ST
BELLEVILLE, IL 62226                     GARY, IN 46409                           MARION, IL 62959




WILLIAMSON CO F.O.P.                     WILLIAMSON CO-ATTN BRINSON VENABLE       WILLIAMSON COUNTY 911
LODGE 197                                407 NORTH MONROE ST                      1001 W DEYOUNG ST
404 N VAN BUREN ST                       104                                      MARION, IL 62959
MARION, IL 62959                         MARION, IL 62959




WILLIAMSON COUNTY COLLECTOR              WILLIAMSON COUNTY FAIR                   WILLIAMSON COUNTY HIGH SCHOOL
ASHLEY GOTT                              P.O. BOX 605                             FIRE SCIENCE ACADEMY
407 N MONROE SUITE 104                   MARION, IL 62959                         1700 WILDCAT DRIVE
MARION, IL 62959                                                                  MARION, IL 62959




WILLIAMSON COUNTY HISTORICAL             WILLIAMSON COUNTY TREASURER              WILLIAMSON COUNTY TRUSTEE
MUSEUM                                                                            1320 W MAIN ST 203
105 S. VAN BUREN ST                                                               FRANKLIN, TN 37604
MARION, IL 62959




WILLIAMSON COUNTY TRUSTEE                WILLIAMSON COUNTY TRUSTEES OFFICE        WILLIAMSON COUNTY
P.O. BOX 1365                                                                     HEARTLAND ROTARY
FRANKLIN, TN 37065-1365                                                           1117 NORTH CARBON, PMB 104
                                                                                  MARION, IL 62959




WILLIAMSON MEDICAL CENTER                WILLIAMSON ROBERT E                      WILLIAMSON, BETHANY R.
4321 CAROTHER PARKWAY                    83056 ROGERS RD                          720 COUNTRY CLUB DR APT 2
FRANKLIN, TN 37067                       P.O. BOX 868                             RED BUD, IL 62288
                                         CRESWELL, OR 97426




WILLIAMSON, DEBRA                        WILLIAMSON, DONNA                        WILLIAMSON, FRANKLIN
186 OLD DUCKTOWN RD                      ADDRESS ON FILE                          BI-COUNTY HEALTH DEPARTMENT
TURTLETOWN, TN 37391                                                              8160 EXPRESS DRIVE
                                                                                  MARION, IL 62959




WILLIAMSON, GLORIA                       WILLIAMSON, KARA N.                      WILLIAMSON, MARICA
119 GLEN IRIS DR                         411 S LOCK AVENUE                        2213 AUTUMN
MONROE, GA 30655                         LOUISA, KY 41230                         WEST MEMPHIS, AR 72301




WILLIAMSON, MARIE E.                     WILLIAMSON, MARILYN                      WILLIAMSON, NIKISHA PARKER
ADDRESS ON FILE                          ADDRESS ON FILE                          2170 RUBY DR.
                                                                                  BARSTOW, CA 92311
WILLIAMSON, RANDY         Case 20-10766-BLS    Doc SOPHIA
                                        WILLIAMSON, 6 Filed 04/07/20        Page 1920  of 1969
                                                                                 WILLIAMSON, WARREN
2160 CENTENARY RD                        ADDRESS ON FILE                         211 NORTH COLLEGE ST
LUVERNE, AL 36049                                                                GREENVILLE, AL 36037-2001




WILLIAMSPERRY, ASONYA L.                 WILLIAMSTON CLEANERS                    WILLIAMSTON CLINIC CORP.
12611 S CENTRAL PARK AVE                 317 WEST MAIN STREET                    160 MINE LAKE CT
ALSIP, IL 60803                          WILLIAMSTON, NC 27892                   SUITE 200
                                                                                 RALEIGH, NC 27615




WILLIAMSTON FIRE EXTINGUIS SRV           WILLIAMSTON FIRE, RESCUE, EMS           WILLIAMSTON GLASS & MIRROR
201 EAST BLVD                            901 WASHINGTON ST                       403 WASHINGTON STREET
P.O. BOX 1022                            WILLIAMSTON, NC 27892-0000              WILLIAMSTON, NC 27892
WILLIAMSTON, NC 27892




WILLIAMSTON HBP SERVICES, LLC            WILLIAMSTON HOSPITAL CORPORATION        WILLIAMSTON OFFICE SUPPLY CO
1209 ORANGE STREET                       160 MINE LAKE CT                        825 EAST BLVD
WILMINGTON, DE 19801                     SUITE 200                               P.O. BOX 1062
                                         RALEIGH, NC 27615                       WILLIAMSTON, NC 27892




WILLIAMSTON YOUTH BASEBALL               WILLIARD, HENRY                         WILLIE BUTTS
P.O. BOX 1626                            824 BONSEL ST NE                        87 FEDERAL RD
WILLIAMSTON, NC 27892                    NAVARRE, OH 44662                       FT DEPOSIT, AL 36032




WILLIE COX                               WILLIE E JOHNSON                        WILLIE WILLIAMS
8725 TRIO LANE                           18452 CENTER AVE                        ADDRESS ON FILE
EDWARDSVILLE, IL 62025                   HOMEWOOD, IL 60438




WILLIE WINTERS                           WILLIE, JESSICA                         WILLIES LEBANESE & NW CUISINE
730 BIRCH ST                             345 52ND ST                             400 INTERNATIONAL WAY SUITE 150
ORRVILLE, OH 44667-2123                  SPRINGFIELD, OR 97478                   SPRINGFILED, OR 97477




WILLIFORD, CARRIE A.                     WILLIFORD, SHANNON T.                   WILLINGHAM CHERYLE
924 CAPRICE RD                           10242 STATE RT 45 SOUTH                 160 OLD HWY 64
WEST FRANKFORT, IL 62896                 WINGO, KY 42088                         MURPHY, NC 28906




WILLINGHAM, CARRIE D.                    WILLINGMYRE PATRICIA                    WILLINS, TIARRA D.
7439 WEST 56TH STREET                    5806 CONSTITUTION AVE                   210 LAUGHRUN DR
SUMMIT, IL 60501                         GURNEE, IL 60031-0000                   FORREST CITY, AR 72335




WILLIS (BERMUDA) LTD                     WILLIS LIMITED                          WILLIS OF TENNESSEE, INC
WELLESLEY HOUSE - 2ND FLR                51 LIME ST                              26 CENTURY BLVD
90 PITTS BAY ROAD RD                     LONDON MILLS EC3M 7DQ                   NASHVILLE, TN 37214
PEMBROKE HM 08                           UNITED KINGDOM
BERMUDA
WILLIS RICKY N          Case 20-10766-BLS     Doc 6 WATSON
                                      WILLIS TOWERS    Filed MIDWEST
                                                             04/07/20INC   Page 1921   of 1969WATSON SOUTHEAST INC
                                                                                WILLIS TOWERS
2759 COUNTY RD 121                    93245 NETWORK PL                           29982 NETWORK PL
FORT PAYNE, AL 35968-6003             CHICAGO, IL 60673-1932                     CHICAGO, IL 60673-1299




WILLIS TOWERS WATSON SOUTHEAST INC     WILLIS, ANITA V.                          WILLIS, CHERRI
P.O. BOX 305025                        3014 PARSON CIRCLE                        ADDRESS ON FILE
26 CENTURY BLVD.                       MARINA, CA 93933
NASHVILLE, TN 37214




WILLIS, DARRELL LLOYD                  WILLIS, EVELYN                            WILLIS, JERICA
300 N 38TH ST                          3158 BARBER RD                            1226 PREIS LN APT 2
SPRINGFIELD, OR 97478                  JAMESVILLE, NC 27846                      GODFREY, IL 62035




WILLIS, JOHNSON                        WILLIS, KRYSTAL                           WILLIS, MARY
503 PAR DR 4                           21 NORTHBROOK DRIVE                       ADDRESS ON FILE
MARION, AR 72364                       SPARTA, IL 62286




WILLIS, SHANRIKA                       WILLIS, SHARON D                          WILLIS, SHEILA D.
8069 HWY 39 S P.O. BOX 250             P.O. BOX 152                              ADDRESS ON FILE
TURNER, AR 72383                       123 PHILLIPS 321 RD
                                       POPLAR GROVE, AR 72374




WILLIS, SHERRI                         WILLIS-WEBB, MELINDA                      WILLITS, DAVID
ADDRESS ON FILE                        503 OSPREY DR                             39250 N DELANY RD
                                       PONTOON BEACH, IL 62040                   WADSWORTH, IL 60083




WILLMORE, SONDRA                       WILLOUGHBY, JERRY                         WILLOUGHBY, MADISON
10727 NORTH SPRING                     1331 N WALNUT ST                          ADDRESS ON FILE
MT VERNON, IL 62864                    DOVER, OH 44622-2644




WILLOUGHBY, NICOLE L.                  WILLOUGHBY, RICHARD L.                    WILLOW CREEK FALLS & VINEYARD
447 WINCHESTER PLACE                   ADDRESS ON FILE                           P.O. BOX 1138
FAIRVIEW HEIGHTS, IL 62208                                                       BLUE RIDGE, GA 30513




WILLOW EMERGENCY PHYSICIANS LLC        WILLOW FALLS RESORT                       WILLS, AUTUMN C.
200 WEST CHURCH ST                     6228 AIRPARK DRIVE                        2760 ALDRIDGE ROAD
LEXINGTON, TN 38351                    CHATTANOOGA, TN 37421-0000                COBDEN, IL 62920




WILLS, HALEY                           WILLS, MEGAN A.                           WILLS, MEGAN PETTY CASH CUSTODIAN
476 CRABTREE RD                        2712 COUNTY ROAD 52                       ADDRESS ON FILE
MURPHYSBORO, IL 62966                  COLLINSVILLE, AL 35961
                      Case 20-10766-BLS
WILLYARD JR, LAWRENCE A.            WILMERDoc
                                            HALE 6  Filed 04/07/20         Page 1922  of 1969
                                                                                WILMINGTON SAVINGS FUND SOCIETY FSB
303 S BUCHANON                      (COUNSEL TO GLAS AS DIP AGENT)               500 DELAWARE AVE
MARION, IL 62959                    ATTN: ANDREW GOLDMAN                         WILMINGTON, DE 19801-0000
                                    250 GREENWICH ST, 45TH FL
                                    NEW YORK, NY 10007



WILMINGTON SAVINGS FUND SOCIETY, FSB   WILMINGTON SAVINGS FUNDS SOCIETY          WILSON & ASSOCIATES, PLLC
(INDENTURE TRUSTEE FOR SENIOR NOTES)   PATRICK J. HEALY, SENIOR VICE PRESIDENT   400 W CAPITAL AVE STE 1400
ATTN: GEOFFREY J. LEWIS                WSFS BANK CENTER                          LITTLE ROCK, AR 72201
500 DELAWARE AVE.                      WILMINGTON, DE 19801
WILMINGTON, DE 19801



WILSON BONNIE                          WILSON CALEB S                            WILSON LINDA L
ADDRESS ON FILE                        281 W ELDENDALE DR                        4 HARMON LANE
                                       HECKER, IL 62248                          COLLINSVILLE, IL 62234




WILSON MEDICAL CENTER                  WILSON MEDICAL SPECIALTIES INC            WILSON STURM, JAMIE K.
2600 OTTAWA ROAD                       14360 NE 21ST ST                          811 ROCKROSE DRIVE
P.O. BOX 360                           BELLEVUE, WA 98007                        PROSPER, TX 75078
NEODESHA, KS 66757-0360




WILSON VALERIE                         WILSON W WATFORD                          WILSON, ALICE
ADDRESS ON FILE                        6920 STINSON RD                           P.O. BOX 1223
                                       GEORGIANA, AL 36033                       CAMPTON, KY 41301




WILSON, ALITA                          WILSON, ALIYA I.                          WILSON, ALLAN
6227 S THROOP ST                       1303 COLLINS LANE                         311 SNIVELY AVE NW
1ST FL                                 MARION, IL 62959                          MASSILLON, OH 44646
CHICAGO, IL 60636-1828




WILSON, AMANDA L.                      WILSON, ANGELA M.                         WILSON, ANGELA
392 VALLEYVIEW CIR                     1125 JACOB DR                             829 OAKLAND
DAHINDA, IL 61428                      RED BUD, IL 62278                         MT VERNON, IL 62864




WILSON, ANITA                          WILSON, ANNETTE R.                        WILSON, ANNETTE
ADDRESS ON FILE                        ADDRESS ON FILE                           ADDRESS ON FILE




WILSON, ANNIE LOUISE                   WILSON, ASHLEE                            WILSON, ASHLEE
4041 CARVER ST                         8012 APPLETON DRIVE                       ADDRESS ON FILE
BEECH ISLAND, SC 29842-7320            ST. LOUIS, MO 63130




WILSON, BESSIE                         WILSON, BONNIE                            WILSON, BRENT A.
11342 S WALLACE ST                     ADDRESS ON FILE                           ADDRESS ON FILE
CHICAGO, IL 60628
WILSON, CARROLL         Case 20-10766-BLS
                                      WILSON,Doc  6 Filed 04/07/20
                                              CHERISE                Page 1923  ofCHERYL
                                                                          WILSON,  1969 A.
1051 N BROAD ST                        ADDRESS ON FILE                     ADDRESS ON FILE
GALESBURG, IL 61401




WILSON, CHERYL R.                      WILSON, CHERYL                      WILSON, CHLOE L.
14439 CORINTH ROAD                     ADDRESS ON FILE                     ADDRESS ON FILE
MARION, IL 62959




WILSON, CHRISTINA                      WILSON, CHRISTINE                   WILSON, CHRISTOPHER
ADDRESS ON FILE                        38081 N LEE AVE                     2639 MATHEW CT
                                       SPRING GROVE, IL 60081              GRANITE CITY, IL 62040




WILSON, CRAIG, MD                      WILSON, DANIELLE                    WILSON, DANIELLE
72 LOCKSLEY LANE                       26025 ROUTE 52                      ADDRESS ON FILE
SPRINGFIELD, IL 62704                  FORT GAY, WV 25514




WILSON, DANNY W.                       WILSON, DENISE                      WILSON, DONALD B. SR.
THE ESTATE OF P.O. BOX 85              ADDRESS ON FILE                     3302 OAK RIDGE DR
MARTIN, TN 38237-0085                                                      AUGUSTA, GA 30909




WILSON, DONNA L.                       WILSON, DORRIS                      WILSON, DUSTY L.
ADDRESS ON FILE                        407 NAVAJO DRIVE                    100 NORTH JAMES STREET
                                       WESTERVILLE, OH 43081               SPARTA, IL 62286




WILSON, EDDIE                          WILSON, EDNA                        WILSON, EVETTE M.
353 W 124TH ST                         847 SCENIC DRIVE                    4969 DULCE NORTE ST
CHICAGO, IL 60628                      SECTION, AL 35771                   NORTH LAS VEGAS, NV 89031




WILSON, GORDON K.                      WILSON, GREGORY                     WILSON, JACK F.
1316 NW CONSTELLATION                  3074 BROOKSONG WAY                  DBA CLINLAB SERVICES CO
BEND, OR 97703                         DACULA, GA 30019                    457 W ALLEN AVE, STE 110
                                                                           SAN DIMAS, CA 91773




WILSON, JENNIFER G.                    WILSON, JESSIE                      WILSON, JOHNNY L.
ADDRESS ON FILE                        772 US 150 E                        42 HEMLOCK DR
                                       GALESBURG, IL 61401                 BELLEVILLE, IL 62221




WILSON, JUDY L.                        WILSON, KAREN H.                    WILSON, KATHLEEN S.
ADDRESS ON FILE                        1881 FIRE TOWER RD                  6 PERA DRIVE
                                       MARTIN, TN 38237                    WATSONVILLE, CA 95076
WILSON, KENNETH         Case 20-10766-BLS
                                      WILSON,Doc  6 Filed 04/07/20
                                              KRISTEN                    Page 1924  ofLACEY
                                                                              WILSON,  1969J.
503 S BROAD ST                         ADDRESS ON FILE                         901 E FM-700 APT 325
KNOXVILLE, IL 61448                                                            BIG SPRING, TX 79720




WILSON, LAURA                          WILSON, MARCI                           WILSON, MARIA
3222 COUNTY ROAD 46                    1835 RIDGLEY BLVD                       4566 MAY DR
DAWSON, AL 35963                       EUGENE, OR 97401                        EDWARDSVILLE, IL 62025-7353




WILSON, MARLENA                        WILSON, MARY C.                         WILSON, MARY L.
660 OLD FEDERAL RD S.                  105 W WATER ST P.O. BOX 604             610 NE 9TH ST
CHATSWORTH, GA 30705-6676              PLYMOUTH, NC 27962                      BIG SPRING, TX 79720




WILSON, MARY                           WILSON, MARY                            WILSON, MELISSA
458 GROSVENOR AVE NW                   ADDRESS ON FILE                         1501 SOUTH 13TH STREET
MASSILLON, OH 44647                                                            HERRIN, IL 62948




WILSON, MICHELLE PURVIS                WILSON, MILBURN WALKER                  WILSON, OTTALINE
P.O. BOX 245                           3571 BANNER STREET                      P.O. BOX 68
ROBERSONVILLE, NC 27871                EUGENE, OR 97404                        MORO, AR 72368




WILSON, PATRICIA A.                    WILSON, PRECIOUS                        WILSON, RENEE L.
1025 ROBERTS                           ADDRESS ON FILE                         ADDRESS ON FILE
GILSON, IL 61436




WILSON, RICHARD A.                     WILSON, RONI J.                         WILSON, RONNIE E.
6515 SYLVIAN                           ADDRESS ON FILE                         ADDRESS ON FILE
NO CANTON, OH 44720




WILSON, RONNIE EARL                    WILSON, RONNY B.                        WILSON, ROSE A.
1249 KELSEY LANE                       2442 CO RD 43                           531 RACHEL CIRCLE NW
WILLIAMSTON, NC 27892                  FYFFE, AL 35971                         MASSILLON, OH 44646




WILSON, STACIE L.                      WILSON, STEPHANIE FOR STEVEN WILSON     WILSON, SUSAN
10019 BERRY RD NE                      49 TYLER RD                             ADDRESS ON FILE
KENSINGTON, OH 44427                   LEXINGTON, TN 38351




WILSON, SUSAN                          WILSON, TABITHA D.                      WILSON, TAILLEUR A.
ADDRESS ON FILE                        ADDRESS ON FILE                         ADDRESS ON FILE
WILSON, TED               Case 20-10766-BLS
                                        WILSON,Doc  6
                                                TIMMY     Filed 04/07/20   Page 1925  ofTINA
                                                                                WILSON,  1969M.
622 CO HWY 13                            72 KELSEY VIEW DR                       ADDRESS ON FILE
KEENES, IL 62851                         TOOELE, UT 84074




WILSON, TRINA                            WILSON, VALERIE V.                      WILSON, VICKI S.
3183 ST HWY 37                           ADDRESS ON FILE                         58 ALABAMA STREET
WEST FRANKFORT, IL 62896                                                         HENAGAR, AL 35978




WILSON, VICTOR GENE                      WILSON, VIOLA                           WILSON, WHITNEY
1835 MARKET ST                           1166 MARTIN LUTHER KING JR DR           107 NANNEY ST
MADISON, IL 62060                        MADISON, GA 30650                       GLEASON, TN 38229




WILSON, WILLIAM                          WILSON, WILMA ANN                       WILSON-BOLLING, TERESA
16391 E MARKELY RD                       1120 W FAIRVIEW DR SPC 72               ADDRESS ON FILE
FAIRVIEW, IL 61432                       SPRINGFIELD, OR 97477




WILSON-COOK MEDICAL INC                  WILSON-DALE, CHARITY                    WILSTON, URIAH M.
22988 NETWORK PLACE                      1610 PACE STREET                        1061 SOUTH 900 WEST
CHICAGO, IL 60673                        LONGMONT, CO 80504                      TOOELE, UT 84074




WILTERMOOD, SANDRA M                     WILTON, ABBOTT                          WILYAT, SUSAN KIRKPATRICK
1567 JASON LEE AVE                       13150 US HWY 31                         P.O. BOX 557
COTTAGE GROVE, OR 97424                  HOPE HULL, AL 36043-5023                BEACH CITY, OH 44608-0557




WILZER SCIAKY, JULIE A.                  WIMBERLY, PAMELA                        WIMBERLY, ROBERT
371 E MARSILE ST                         3120 SPICEWOOD DR                       430 FRONT ST
BOURBONNAIS, IL 60914                    AUGUSTA, GA 30909-6493                  COBDEN, IL 62920




WIMBLEY, CURTIS                          WIMBLEY, EUNICE                         WIMBLEY, KEVIN
114 WARWICK ST                           2602 AUTUMN                             1726 N MANSARD BLVD 1-D
PARK FOREST, IL 60466                    WEST MEMPHIS, AR 72301                  GRIFFITH, IN 46319




WIMES, YADA                              WIMMER, ROGER D.                        WINANS, PATRICK D.
4149 FIELDWAY RD                         814 FRANKLIN ST                         924 LONG MILL RD
REX, GA 30273                            WAUKEGAN, IL 60085                      ATHENS, TN 37303




WINANS, SUSAN L.                         WINBERRY, STEVEN                        WINBIGLER, ASHLEY
2220 SUMMER EVENING CR                   5072 YELLOW BANKS ROAD                  391 WESTPORT RD
CANAL FULTON, OH 44614                   MULKEYTOWN, IL 62865                    GALESBURG, IL 61401
WINBIGLER, ELIZABETH      Case 20-10766-BLS   Doc 6ERIKA
                                        WINCHESTER,    Filed
                                                         K.  04/07/20    Page 1926 of 1969
                                                                              WINCHESTER, TERESA M.
391 WESTPORT RD                          ADDRESS ON FILE                       P.O. BOX 3776
GALESBURG, IL 61401                                                            MESQUITE, NV 89024




WINCHESTER, TERESA                       WINDBIEL, KENDELL                     WINDER HMA, LLC
P.O. BOX 3776                            348 N HOLLIS AVE                      289 S. CULVER ST.
675 JOSHUA TREE AVE                      SHARON, TN 38255                      LAWRENCEVILLE, GA 30046
MESQUITE, NV 89024-3776




WINDERS, ASHLEY                          WINDHAM-KHAN, RHONDA                  WINDINGS, ELIZABETH
189 HOMBERG RD                           210 N LAKE ST                         953 SHUMAKER RD
GOLCONDA, IL 62938                       HEMET, CA 92544                       VILLA RIDGE, IL 62996




WINDLAND, RHONDA G.                      WINDLEY, BARBARA                      WINDOM, KENNETH
1773 CR RD 450 N                         625 CENTER ST                         622 LOWERY RD
FAIRFIELD, IL 62837                      EVANSTON, WY 82930-3546               VALLEY HEAD, AL 35989-3861




WINDSOR JAMIE                            WINDSOR WELLCARE HEALTH               WINDSOR WELLCARE HEALTH
8430 STEELECREST LN                      P.O. BOX 31658                        P.O. BOX 4438
TROY, IL 62294                           TAMPA, FL 33631-3584                  SCRANTON, PA 18505




WINDSOR, PHYLLIS                         WINDSTREAM COMMUNICATIONS LLC         WINDSTREAM HOLDINGS INC
ADDRESS ON FILE                          3036 S 31ST ST                        P.O. BOX 9001908
                                         TEMPLE, TX 76502                      LOUISVILLE, KY 40290-1908




WINEBURNER, BETTY L.                     WINEBURNER, JOSEPH J.                 WINER MCKENNA & BURRITT LLP
2325 WATERMAN AVE.                       ADDRESS ON FILE                       1999 HARRISON ST
GRANITE CITY, IL 62040                                                         STE 600
                                                                               OAKLAND, CA 94612




WINFIELD, EVAN S.                        WINFIELD-RUSSO, CHRYSTI               WINFREY, DARWIN
21657 W. PINE STREET                     1325 GERBER WOODS                     2509 COLLINS DR APT E-12
LAKE VILLA, IL 60046                     EDWARDSVILLE, IL 62025                LAS VEGAS, NM 87701




WINFREY, HERBERT                         WING ELIZABETH B                      WINGARD, AMELIA S.
2268 NOLEN DR                            P.O. BOX 796                          130 BROADWARY DR APT 216
FLINT, AR 48504                          BLUE RIDGE, GA 30513                  BLUE RIDGE, GA 30513




WINGERTER, JAMES                         WINGERTER, REBECCA                    WINGPO, REYNALDO
4055 PARROT RD NW                        2912 WARREN AVE                       651 RAVINIA DR
STRASBURG, OH 44680                      GRANITE CITY, IL 62040                GURNEE, IL 60031
WINIFRED GILES           Case 20-10766-BLS     Doc
                                       WINIFRED, ANN6THOMAS
                                                         Filed 04/07/20   Page 1927  of 1969
                                                                               WINIFRED, FRENCH
2521 ORCHARD ST                        1725 VP LUNN DR                          18214 PHEASANT LAKE DR
BLUE ISLAND, IL 60406-1518             SPRING HILL, TN 37174                    TINLEY PARK, IL 60487




WINIGMAN, CARY                          WININGER, KATRINA N.                    WINK, BOBBIE J.
9264 ARROW RD NW                        392 W 17TH AVE                          811 WEST ERNESTINE AVE
MINERVA, OH 44657                       EUGENE, OR 97401                        CHRISTOPHER, IL 62822




WINK, BOBBIE J.                         WINKELER, ALEXANDER J.                  WINKFIELD, NORMAN
ADDRESS ON FILE                         1412 MONTCLAIRE AVE                     10141 S. KING DR. APT 1
                                        EDWARDSVILLE, IL 62025                  CHICAGO, IL 60628




WINKLE, DANIEL E.                       WINKLE, DANIEL                          WINKLE, DAWN
ADDRESS ON FILE                         ADDRESS ON FILE                         12906 S MOBILE AVE
                                                                                PALOS HEIGHTS, IL 60463




WINKLEMANN, TIMOTHY J.                  WINKLER, JAMIE                          WINKLER, JOHN M.
6449 OLD BAUM CHURCH RD                 439 W. VIRGINIA ST.                     2741 E. TUCSON RD P.O. BOX 928
WATERLOO, IL 62298                      COLUMBIA, IL 62236                      LITTLEFIELD, AZ 86432




WINKLER, JOLYN S.                       WINKLER, MARY                           WINKLER, TERRY
2741 E TUCSON ROAD BOX 928              4360 22ND ST NW                         P.O. BOX 852
LITTLEFIELD, AZ 86432                   CANTON, OH 44708                        MCCAYSVILLE, GA 30555




WINKLESS, DIANE                         WINKLEY, FREIDA C.                      WINKOWSKI ANNA
5 LEN DR                                P.O. BOX 334                            1813 N ASPEN DRIVE
HIGHLAND, IL 62249-2863                 BRENTWOOD, TN 37024-0334                MOUNT PROSPECT, IL 60056




WINKOWSKI, ANNA R.                      WINLAND, MARY D                         WINLECTRIC
5907 JOE HESNI BOULEVARD                7782 JUSTUS AVE SW                      1806 CLARK STREET
ALEXANDRIA, LA 71303                    NAVARRE, OH 44662-9489                  CARTERVILLE, IL 62918




WINN STEVEN                             WINN, BRANDY S.                         WINN, ELIZABETH LACY
1183 PALISADES CT                       ADDRESS ON FILE
ROCK SPRINGS, WY 82935-7100




WINN, SUSAN                             WINNIE, KENNEY                          WINSLOW LAURA M
941 PETTIBONE RD                        519 DEER CREEK RD                       520 SHERIDAN ST
GREENVILLE, AL 36037                    O FALLON, IL 62269                      BETHALTO, IL 62010
WINSLOW, CHRISTY          Case 20-10766-BLS   Doc
                                        WINSLOW,   6 Filed 04/07/20
                                                 CRYSTAL                    Page 1928  of 1969
                                                                                 WINSLOW, DONALD
ADDRESS ON FILE                          200 GOLDEN LANE                         41122 N CLARA AVE
                                         ROPER, NC 27970                         ANTIOCH, IL 60002




WINSLOW, KAYLA                           WINSTEAD, WILLIAM E.                    WINSTED, KAYLA L.
3073 MATT DRIVE 202                      4506 BRITTANY DR.                       830 BURTON ST
EUGENE, OR 97408                         ROWLETT, TX 75088                       HARRISBURG, OR 97446




WINSTON & STRAWN LLP                     WINSTON & STRAWN                        WINSTON, BLACKBURN
36235 TREASURY CENTER                    (COUNSEL FOR UBS, AG AS ADMIN AGENT     114 HILLCREST DR
CHICAGO, IL 60694-6200                   UNDER ABL FACILITY) ATTN: CAREY D.      GREENVILLE, AL 36037
                                         SCHREIBER, JOHN G. KALYVAS & WILLIAM
                                         BREWER
                                         200 PARK AVENUE
                                         NEW YORK, NY 10166-4193

WINSTON, DOUG                            WINSTON, ISZABELLE                      WINSTON, MARY C.
2021 HICKORY ST                          2021 HICKORY STREET                     88 ARABELLE DRIVE
WAUKEGAN, IL 60087                       WAUKEGAN, IL 60087                      BELLEVILLE, IL 62220




WINSTON, ROSE                            WINSTON-HUMMONS, MAUKESHA               WINSUPPLY COMMERCIAL CHARGE
635 N PINE AVE                           3429 W 124TH ST                         P.O. BOX 105525
CHICAGO, IL 60644                        ALSP, IL 60803-1013                     ATLANTA, GA 30348-5525




WINSUPPLY                                WINT, ALLSION                           WINT, EVETTE E.
1804 CLARK ST                            5407 S COTTAGE GROVE                    ADDRESS ON FILE
CARTERVILLE, IL 62918                    CHICAGO, IL 60615




WINTER ROY E                             WINTER, ALICE J.                        WINTER, AMI J.
2211 LAURA ST                            709 N SHERIDAN RD                       990 DUDLEY ST
SPRINGFIELD, OR 97477                    WAUKEGAN, IL 60085                      GALESBURG, IL 61401




WINTER, CALY E.                          WINTER, CANDANCE                        WINTER, DAVID
739 FEDERAL PKWY.                        1416 APPALACHEE FALLS                   4207 JAY DR
LINDENHURST, IL 60046                    MONROE, GA 30655                        ZION, IL 60099




WINTER, DEBBIE                           WINTER, SHEILA                          WINTER, TRACEY
894 COYOTE RD                            1387 COUNTY ROAD 1700 E                 2012 SECLUSION TR
PINCKNEYVILLE, IL 62274                  GEFF, IL 62842                          MONROE, GA 30656




WINTERGREEN GROUP LLC                    WINTERROWD, REBECCA M.                  WINTERS JAMES L
                                         212 PEARL ST                            3321 VILLAGE LANE
                                         VIENNA, IL 62995                        GRANITE CITY, IL 62040
                         Case 20-10766-BLS
WINTERS, APRIL - CASH DRAWER                  Doc
                                       WINTERS,    6 Filed 04/07/20
                                                BONNIE                 Page 1929  of CHELSEA
                                                                            WINTERS, 1969
3960 CO RD 22                          727 W SLOAN ST                        ADDRESS ON FILE
COLLINSVILLE, AL 35961-0000            HARRISBURG, IL 62946




WINTERS, DUANE H.                    WINTERS, EMMA                           WINTERS, MARK B.
ADDRESS ON FILE                      1607 GRAND AVENUE SW                    25189 KYLE RD
                                     FORT PAYNE, AL 35967                    P.O. BOX 28
                                                                             MONROE, OR 97456-0000




WINTERS, MELANIE                     WINTERS, SABRINA F.                     WINTERS, TENISHIA
ADDRESS ON FILE                      ADDRESS ON FILE                         920 NORTH 88TH STREET
                                                                             EAST SAINT LOUIS, IL 62203




WINTERS, TERA L.                     WINTERS, YVONNE M.                      WINTERVILLE WATERMELON FESTIVAL
ADDRESS ON FILE                      1617 TERRACE RD                         1136 DAVENPORT PLACE
                                     HOMEWOOD, IL 60430                      WINTERVILLE, NC 28590




WINTHROP HARBOR FIRE ASSOCIATION     WINTRIP, CHRISTOPHER A.                 WINTRUST ASSETS FINANCE INC
830 SHERIDAN RD                      138 WALES RD NE                         3665 PARK PL W., STE 150
WINTHROP HARBOR, IL 60096            MASSILLON, OH 44646                     MISHAWAKA, IN 46545




WIPFLI LLP                           WIRELESS U S A                          WIRELESSBEEHIVE.COM, LLC
P.O. BOX 3160                        P.O. BOX 775582                         P.O. BOX 1169
MILWAUKEE, WI 53201-3160             ST LOUIS, MO 63177-5582                 TOOELE, UT 84074




WIREMAN, ASHLEY D.                   WIRTANEN, VICKI L.                      WIRTES, MORGAN
ADDRESS ON FILE                      14306 S TRIPP AVENUE                    2147 SARAVILLE RD.
                                     MIDLOTHIAN, IL 60445                    CREAL SPRINGS, IL 62922




WIRTH, SALLY                         WISCO SUPPLY, INC                       WISCONSIN DEPARTMENT OF REVENUE
P.O. BOX 487                         P.O. BOX 214                            2135 RIMROCK RD
MOAPA, NV 89025                      EL PASO, TX 79942                       MADISON, WI 53713




WISCONSIN DEPARTMENT OF REVENUE      WISCONSIN DEPARTMENT OF REVENUE         WISCONSIN DEPT OF REVENUE
P.O. BOX 268                         UNCLAIMED PROPERTY SECTION              P O BOX 8960
MADISON, WI 53790-0001               2135 RIMROCK RD                         MADISON, WI 53708-8960
                                     MADISON, WI 53714




WISCONSIN DEPT OF REVENUE            WISCONSIN PHYSICIAN SERVICES            WISCONSIN PHYSICIANS SERVICE
P.O. BOX 930208                      P.O. BOX 1604                           INSURANCE CORPORATION
MILWAUKEE, WI 53293-0208             MEDICARE PART A                         1717 W BROADWAY
                                     OMAHA, NE 68101-0001                    MADISON, WI 53713-1834
                       Case 20-10766-BLS
WISCONSIN PHYSICIANS SERVICES GHA           DocSTATE
                                     WISCONSIN    6 Filed   04/07/20OF
                                                     OF LABORATORY       Page 1930 ofSEAN
                                                                              WISDOM, 1969M.
ATTN: AUDIT SUPERVISOR               HYGIENE                                  1863 PIONEER PKWY E PMB. 107
1717 W BROADWAY                      P.O. BOX 78770                           SPRINGFIELD, OR 97477
MADISON, WI 53713-1837               MILWAUKEE, WI 53278-0770




WISE, BETTY H.                        WISE, GREGORY R.                        WISE, JUNE ELAINE
42 DOCK DR                            1060 HWY 81                             29652 LUSK RD
NORTH AUGUSTA, SC 29860-9600          LOGANVILLE, GA 30052-4561               EUGENE, OR 97405-0000




WISE, KARA N.                         WISE, KATHRYN N.                        WISE, KELSI L.
3316 CROWNPOINT NW                    22B HOLLOWAY DRIVE                      ADDRESS ON FILE
MASSILLON, OH 44646                   COLLINSVILLE, IL 62234




WISE, LISA M.                         WISE, MARIANNE C                        WISE, NANCY
603 HATCHEL STREET                    1327 LORRELL AVE SW                     4955 HIGBEE AVE NW
DRESDEN, TN 38225                     NORTH CANTON, OH 44720                  APT 300
                                                                              CANTON, OH 44718-3639




WISEMAN, AMANDA                       WISEMAN, CHAD                           WISEMAN, LISETTE S.
ADDRESS ON FILE                       1845 ADELMAN LOOP                       108 S SPILLERTOWN RD
                                      EUGENE, OR 97402                        MARION, IL 62959




WISEMAN, TAMARA K.                    WISEMAN, VALERIE                        WISHARD, MORGAN J.
6595 YOST ST NW                       ADDRESS ON FILE                         660 WILLARD ST
CANTON, OH 44718                                                              GALESBURG, IL 61401




WISMER, CAROL                         WISNASKY, ASHLEY                        WISNIEWSKI, THOMAS HUGO
3106 SPRUCE TERRACE                   713 LAFAYETTE AVENU                     1786 CAL YOUNG RD APT 191
ISLAND LAKE, IL 60042                 GODFREY, IL 62035                       EUGENE, OR 97401




WISZ, DONALD E.                       WISZ, JAMES                             WIT INC
10852 S BELL AVE                      2625 YORK ST                            900 TOWER DR
CHICAGO, IL 60643                     BLUE ISLAND, IL 60406-2047              STE 325
                                                                              TROY, MI 48098




WITCHER, VICKI L.                     WITCHEY, DOROTHY                        WITGES, AMANDA S.
580 CR 724                            733 STURDEVANT ST                       ADDRESS ON FILE
WYNNE, AR 72396                       LOCK HAVEN, PA 17745




WITGES, SHANNA                        WITHAM, BREVIN MICHAEL                  WITHERINGTON, ANNETTE
ADDRESS ON FILE                       7527 THURSTON RD                        2460 COTTONWOOD AVE
                                      SPRINGFIELD, OR 97477                   MELBOURNE, FL 32904-5638
WITHERS BROADCASTING Case 20-10766-BLS    Doc 6 R. Filed 04/07/20
                                   WITHERS,DANA                     Page 1931  of 1969ABBEY
                                                                         WITHERSPOON,
P.O. BOX 127                       P.O.BOX 1508                          3279 STEWARD RD
MARION, IL 62959                   MT VERNON, IL 62864                   MONROE, GA 30655-5785




WITHERSPOON, OTISHA                 WITHROW, STACY L.                    WITKEWIZ, HILLIARY
2970 E HOWELL DR                    505 SHAWNEE ST                       403 W WILMINGTON AVENUE
LAWRENCEVILLE, GA 30044             LOUISVILLE, OH 44641                 ORIENT, IL 62874




WITMER, CHARLENE                    WITT JASON                           WITT, CONNIE
510 H HAYES                         11031 S CENTRAL PARK AVE             107 MUELLER LANE
SAVOY, TX 75479                     CHICAGO, IL 60655                    WATERLOO, IL 62298




WITT, KAREN R.                      WITT, RACHEL L.                      WITT, THOMAS
2335 PAARKER CITY RD                ADDRESS ON FILE                      690 HUNSAKER LN
CREAL SPRINGS, IL 62922                                                  EUGENE, OR 97404-0000




WITTEN, JAMMIE L.                   WITTEN, JORDAN                       WITTEN, WENDY R.
ADDRESS ON FILE                     ADDRESS ON FILE                      ADDRESS ON FILE




WITTENBRINK, BRENT                  WITTERS, ANN                         WITTHAR, PATRICIA JEAN
61 CHERRY DRIVE                     1803 WARREN ST                       1333 N 1ST ST
MT. VERNON, IL 62864                MARION, IL 62959                     SPRINGFIELD, OR 97477




WITTICHEN SUPPLY CO, INC            WITTIG, MARY E.                      WITTMER, DANIEL
2609 CLINTON AVE WEST               43 GRATHLER LANE                     1580 SMITH KRAMER ST NE
HUNTSVILLE, AL 35805-3089           STONEFORT, IL 62987                  HARTVILLE, OH 44632




WITTORFF, LINDA ANN                 WITTROCK HEALTHCARE LLC              WITZEL, BRYON J.
6015 MICA ST                        8829 E STATE RD 46                   ADDRESS ON FILE
SPRINGFIELD, OR 97478               GREENSBURG, IN 47240




WITZEL, KEVIN                       WITZIG, WYATT                        WIWCZAROSKI AMY L
16245 N. MCCAULEY LN                33463 MT TOM DR                      1404 EBERHART AVE
MT. VERNON, IL 62864-8540           HARRISBURG, OR 97446-0000            EDWARDSVILLE, IL 62025




WIXOM, PAMELA                       WJPF-AM/WCIL-AM                      WJSN FM WEKG AM
ADDRESS ON FILE                     MISSISSIPPI RIVER RADIO              INTERMOUNTAIN BROADCAST.
                                    324 BROADWAY STREET                  1501 HARGIS LANE
                                    CAPE GIRARDEAU, MO 63701             JACKSON, KY 41339
WKGN MEDICAL PLAZA     Case 20-10766-BLS   Doc 6
                                     WKYH-AM            Filed 04/07/20   Page 1932 of 1969
                                                                              WLGC RADIO
20 TOWER COURT                       P.O. BOX 1227                            GREENUP COUNTY BROADCASTING
SUITE D                              CORBIN, KY 40702                         1524 WINCHESTER AVENUE
GURNEE, IL 60031                                                              ASHLAND, KY 41101




WMCL                                 WMI                                      WMIX
P.O. BOX 818                         P.O. BOX 572450                          3501 BROADWAY
BENTON, IL 62812                     ATTN: REFUND DEPARTMENT                  P.O. BOX 1508
                                     SALT LAKE CITY, UT 84157-2450            MT VERNON, IL 62864




WNM COMMUNICATIONS CORP              WNSV                                     WOEHLER, BRANDY
DBA WESTERN INTERACTIVE              186 E. ST. LOUIS STREET                  1623 HARRISON ST
P O BOX 524                          NASHVILLE, IL 62263                      GALESBURG, IL 61401
SILVER CITY, NM 88061




WOHLFEIL, DANIELLE                   WOHLWEND, BRITTANY D.                    WOJCIECHOWSKI, MICHELLE
ADDRESS ON FILE                      ADDRESS ON FILE                          13 WESTBROOKE
                                                                              TROY, IL 62294




WOJNAROWICZ DANIEL THOMAS            WOJNAROWICZ, DANIEL THOMAS               WOJTAK, LAURA
32744 DILLARD RD                     32744 DILLARD RD                         2122 27TH STREET
EUGENE, OR 97405                     EUGENE, OR 97405                         KENOSHA, WI 53140




WOLBER, SABINE                       WOLBRINCK, TODD                          WOLCZYZ, MICHAEL
ADDRESS ON FILE                      601 WOOD THRUSH ST                       6268 FORMOOR LANE
                                     TROY, IL 62294                           GURNEE, IL 60031




WOLD, AMBER                          WOLF JR., RICHARD E.                     WOLF, CRYSTAL C.
119 E PRAIRIE ST                     ADDRESS ON FILE                          ADDRESS ON FILE
WATAGE, IL 61488




WOLF, DIXIE L.                       WOLF, ERNEST                             WOLF, GLENDA
P.O. BOX 1187                        1841 S 11TH ST                           1201 TENNYSON SP 79
OVERTON, NV 89040                    BELLEVILLE, IL 62226                     DEMING, NM 88030




WOLF, IVA J.                         WOLF, MICHELLE                           WOLF, RICK
ADDRESS ON FILE                      ADDRESS ON FILE                          6428 MARDEL AVE
                                                                              ST. LOUIS, MO 63109




WOLF, SHARI L.                       WOLFE CO. MIDDLE SCHOOL                  WOLFE COUNTY HEALTH CARE AND REHAB
2114 GRACE                           BOYS BASKETBALL                          P.O. BOX 1450
BIG SPRING, TX 79720                 P.O. BOX 460                             CORBIN, KY 40702
                                     CAMPTON, KY 41301
                    Case
WOLFE COUNTY HOMECOMING    20-10766-BLS
                        FESTIVAL           Doc 6 JAIL
                                    WOLFE COUNTY    Filed
                                                      FUND04/07/20   Page 1933
                                                                          WOLFE of 1969NEWS
                                                                                COUNTY
P.O. BOX 851                        P.O. BOX 429                          P O BOX 129
CAMPTON, KY 41301                   CAMPTON, KY 41301                     CAMPTON, KY 41301




WOLFE COUNTY SHERIFF                 WOLFE COUNTY                         WOLFE, ARTHUR
P.O. BOX 812                         P.O. BOX 812                         232 OHIO AVE NE
CAMPTON, KY 41301                    CAMPTON, KY 41301                    MASSILLON, OH 44646-4650




WOLFE, BRIAN                         WOLFE, CASSANDRA M.                  WOLFE, JACK P.
1517 WOODLINE AVE                    ADDRESS ON FILE                      213 WEST HEATHERWOOD DRIVE
NORTH LAWRENCE, OH 44666                                                  BARBERTON, OH 44203




WOLFE, JOHN                          WOLFE, MARY                          WOLFE, MICHELLE L.
211 GLENVIEW AVE                     708 2ND ST SE                        ADDRESS ON FILE
DOVER, OH 44622                      FORT PAYNE, AL 35967




WOLFE, SARA                          WOLFER, KARI M.                      WOLFF& WOLFF TRIAL LAWYERS
1059 STATE AVE NE                    ADDRESS ON FILE                      1034 S BRENTWOOD BLVD
MASSILLON, OH 44646                                                       SUITE 1990
                                                                          ST. LOUIS, MO 63117




WOLFF, DAVID                         WOLFF, DEBRA M.                      WOLFF, LINDA
1150 OVERLOOK LANE                   9990 PAGE RD                         5421 CHARGLOW CT
MONROE, GA 30656                     STREETSBORO, OH 44241                ST LOUIS, MO 63129




WOLFF, MARLO C                       WOLFLEY, AVA                         WOLFLEY, DUSTINE M.
P.O. BOX 181                         P.O. BOX 445                         ADDRESS ON FILE
EVERGREEN, AL 36401                  MOAPA, NV 89025




WOLFORD, REBECCA                     WOLGAMOTT, MERLE                     WOLLES, LYNDA
1233 CHAPEL ROAD                     10715 ORRVILLE ST NW                 360 NORTH MULBERRY
LOUISA, KY 41230                     MASSILLON, OH 44647                  HERSCHER, IL 60941




WOLLIN, MARTIN                       WOLLMANN, TODD ERIC                  WOLLRAB, JAMIE
736 N PRAIRIE                        915 COUNTRY CLUB DRIVE               1098 LEANNE DRIVE
GALESBURG, IL 61401                  RED BUD, IL 62278                    KNOXVILLE, IL 61448




WOLNER, AMALIA J.                    WOLOWICZ KAREN MARIE                 WOLOWICZ, JULE J.
ADDRESS ON FILE                      76328 RAINBOW ST                     ADDRESS ON FILE
                                     P.O. BOX 309
                                     OAKRIDGE, OR 97463
WOLOWINA, DEBRA          Case 20-10766-BLS    DocBARBARA
                                       WOLTERINK,   6 Filed 04/07/20   Page 1934 of KLUWER
                                                                            WOLTERS 1969 DRUG INFORMATION,
16338 OXFORD DR                        5539 W 128TH PL                      INC.
TINLEY PARK, IL 60477-1740             CRESTWOOD, IL 60445                  CHICAGO LOCKBOX 62456
                                                                            62456 COLLECTION CENTURY DR
                                                                            CHICAGO, IL 60693



WOLTERS KLUWER FINANCIAL SERVICES     WOLTERS KLUWER HEALTH INC             WOLTERS KLUWER HEALTH
INC                                   P.O. BOX 460090                       P.O. BOX 1600
33082 COLLECTION CENTER DR            ST LOUIS, MI 63146                    HAGERSTOWN, MD 21741-1600
CHICAGO, IL 60693-0330




WOLTERS KLUWER LEGAL                  WOLTERS KLUWER                        WOLTERS, LUIS J.
& REGULATORY US                       CCH INCORPORATED                      ADDRESS ON FILE
P.O. BOX 71882                        P.O. BOX 4307
CHICAGO, IL 60694-1882                CAROL STREAM, IL 60197-4307




WOLZ, ROBERT                          WOMACK JOSEPH                         WOMACK, PATRICIA M.
480 DD ROAD                           18579 AL HWY 75                       126 BANDI LANE
GARDEN PLACE SENIOR LIVING CENTER     HENAGAR, AL 35978-5634                HOLLYWOOD, AL 35752
COLUMBIA, IL 62236




WOMACK, RACHEL H.                     WOMACK, WAYNE L.                      WOMANS DAY MAGAZINE
ADDRESS ON FILE                       ADDRESS ON FILE                       P.O.BOX 37870
                                                                            BONNE, IA 50037-4870




WOMBLE BOND DICKINSON (US) LLP        WOMEN CERTIFIED INC.                  WOMEN UNITED OF SOUTH CENTRAL IL
P.O. BOX 601879                       3440 HOLLYWOOD BLVD.                  802 S. 42ND STREET
CHARLOTTE, NC 28260-1879              SUITE 100                             P.O. BOX 711
                                      HOLLYWOOD, FL 33021                   MT. VERNON, IL 62864




WOMENS CARE PC                        WOMENS CENTER INC, THE                WOMENS CLINIC OF FORREST CITY INC, THE
P.O. BOX 70368                        610 S THOMPSON ST                     902 HOLIDAY DR
SPRINGFIELD, OR 97475                 CARBONDALE, IL 62901                  STE 103
                                                                            FORREST CITY, AR 72335




WOMICK DISPOSAL INC                   WOMMACK, JOANN                        WONSICK, THOMAS R.
1555 OLD HWY 51 N                     1442 NC 461                           438 19TH ST NW
ANNA, IL 62906                        AHOSKIE, NC 27910                     MASSILLON, OH 44647




WOO, JAY                              WOO, MELODY                           WOOD ELECTRONICS
1204 PINTO LN                         347 COUNTY RD 293                     117 ROYAL
GRAYSLAKE, IL 60030-0000              FORT PAYNE, AL 35968                  WEST MONROE, LA 71291




WOOD JUDITH A                         WOOD RIVER PRINTING & PUB INC.        WOOD THURMAN C
819 MADISON AVE                       22 N FIRST ST                         1125 N 58TH ST SPC 58
MADISON, IL 62060                     WOOD RIVER, IL 62095                  SPRINGFIELD, OR 97478
WOOD, ANGELA M.        Case 20-10766-BLS   Doc 6
                                     WOOD, BRENDA        Filed 04/07/20   Page 1935
                                                                               WOOD, of 1969 M.
                                                                                     BRITTANY
300 LILLIAN DRIVE                     ADDRESS ON FILE                          ADDRESS ON FILE
BARSTOW, CA 92311




WOOD, CHANDLER                        WOOD, CHERYL C.                          WOOD, DENITA K.
35 HIDDEN RIDGE LANE                  513 SOUTH GRAND AVENUE                   ADDRESS ON FILE
MURPHY, NC 28906                      CHATHAM, IL 62629




WOOD, DENNIS                          WOOD, DORRIS                             WOOD, DOUGLAS
300 S IRON ST                         1 WILSON PARK DR                         742 ROTCH AVE NE
DEMING, NM 88030                      GRANITE CITY, IL 62040                   MASSILLON, OH 44646




WOOD, ELIZABETH A.                    WOOD, ELIZABETH A.                       WOOD, HERBERT ERNEST
ADDRESS ON FILE                       408 NORTH 11TH STREET                    1397 TAMARACK ST
                                      ALPINE, TX 79830                         SPRINGFIELD, OR 97477-0000




WOOD, HUNTER                          WOOD, JENNIFER M.                        WOOD, JERRY O
17418 MCCARRON RD                     1520 CAROLINE WAY                        6974 COUNTY RD 78
HOMER GLEN, IL 60491                  LOGANVILLE, GA 30052                     FORT PAYNE, AL 35967-7050




WOOD, JOYCE                           WOOD, KAREN M.                           WOOD, KATI R.
629 LEE ROAD 203                      513 EDWARDS BLVD                         774 PHILLIPS ROAD 353
MARIANNA, AR 72360                    BIG SPRING, TX 79720                     POPLAR GROVE, AR 72374




WOOD, KENDALL A.                      WOOD, KENNA F.                           WOOD, LARRY E.
ADDRESS ON FILE                       ADDRESS ON FILE                          8505 GOLD HILL ROAD
                                                                               SHAWNEETOWN, IL 62984




WOOD, LORI A.                         WOOD, MADISON                            WOOD, MEGAN D.
ADDRESS ON FILE                       ADDRESS ON FILE                          3470 MANASSAS DRIVE
                                                                               EDWARDSVILLE, IL 62025




WOOD, NOEL                            WOOD, SEAN                               WOOD, SHELBY C.
3032 6TH STREET SW                    13423 SHAFT DR                           ADDRESS ON FILE
CANTON, OH 44710                      CYPRESS, TX 77429




WOOD, SUSAN M.                        WOOD, TIFFANY M.                         WOODALL AMANDA
ADDRESS ON FILE                       ADDRESS ON FILE                          290 JOLLY ROAD
                                                                               FYFFE, AL 35971-3517
WOODALL, DONNA M.        Case 20-10766-BLS  Doc
                                       WOODALL,   6 L.Filed 04/07/20
                                                JERRY                   Page 1936 of 1969
                                                                             WOODALL, STEVIE
5105 AL HIGHWAY 273                     511 CHEROKEE DRIVE SW                 406 W PIKE ST
CEDAR BLUFF, AL 35959                   FORT PAYNE, AL 35967                  APT A
                                                                              CRAWFORDSVILLE, IN 47933




WOODARD CLEANING & RESTORATION          WOODARD, CHRISTINE                    WOODARD, PATRICIA
2647 ROCK HILL INDUSTRIAL CT            8006 MEADOWFIELD RD                   1100 UNION CHURCH RD
ST. LOUIS, MO 63144                     WATERLOO, IL 62298                    MCKENZIE, TN 38201-7340




WOODARD, PRINCESS T.                    WOODBURY, MARGARET                    WOODBURY-BEACH COMPANY INC
ADDRESS ON FILE                         198 KNIGHTS SQUARE                    6329 CRYSTAL HILL ROAD
                                        BLAIRSVILLE, GA 30512                 N LITTLE ROCK, AR 73218




WOODCOCK, JODY                          WOODDELL, AMY M.                      WOODFORD, NICOLE
412 MORRISON AVE                        1245 CHERRY ST.                       ADDRESS ON FILE
WATERLOO, IL 62298                      COLORADO CITY, TX 79512




WOODHURST, HEATHER ALICIA               WOODLAND, JAMIE                       WOODLAND, JENNIFER
82208 RIVER DR                          100 ASPEN CIR                         ADDRESS ON FILE
CRESWELL, OR 97426-9861                 PARK CITY, UT 84098-5182




WOODLAWN HIGH SCHOOL BASEBALL           WOODLEY, JAZIEN                       WOODLEY, VICKEY L.
300 N. CENTRAL STREET                   3501 S MISSOURI ST                    112 HIGHLAND WOODS DR
WOODLAWN, IL 62898-0000                 PINE BLUFF, AR 71601                  COOPERHILL, TN 37317




WOODLOCK, JESSE G.                      WOODMAN, SUSAN                        WOODRICH, ANDREA L.
45 THURRELL RD                          540 HIGHLAND VIEW CRT                 ADDRESS ON FILE
SOUTH BERWICK, TOWN OF, ME 03908        MESQUITE, NV 89027




WOODROW, VIRIGINIA                      WOODRUFF ELECTRIC COOPERATIVE CORP    WOODRUFF ELECTRIC
961 E FREMONT ST                        3201 HWY 1 N                          P.O. BOX 1619
GALESBURG, IL 61401                     FORREST CITY, AR 82335                3190 N WASHINGTON
                                                                              FORREST CITY, AR 72336-1619




WOODRUFF ELECTRIC                       WOODRUFF ELECTRIC                     WOODRUFF ROBERTA T
P.O. BOX 1619                           P.O. BOX 1619                         218 S EAST RANCH RD
FORREST CITY, AR 72335                  FORREST CITY, AR 72336-1619           GRANTSVILLE, UT 84029




WOODRUFF, ANGELA                        WOODRUFF, CRYSTAL                     WOODRUFF, GLENN
2680 DEWEY HOGAN RD                     12528 S ELIZABETH ST                  31826 HERMAN RD
MONROE, GA 30656                        CALUMET PARK, IL 60827                EUGENE, OR 97408-9483
WOODRUFF, HEATHER         Case 20-10766-BLS  DocKYLE
                                        WOODRUFF, 6 D.
                                                     Filed 04/07/20   Page 1937 of 1969
                                                                           WOODRUFF, MECHELLE S.
128 COBBLE CREEK DR.                     ADDRESS ON FILE                    1533 ESTHER AVE
EVANSTON, WY 82930                                                          WOODRIVER, IL 62095




WOODRUFF, MICHELLE A.                    WOODRUFF, TERESA E.                WOODRUM, GARY
1900 M.L.K BLVD APT 716                  101 GIOFRE AVE                     1123 HAWTHORNE RIDGE
BIG SPRING, TX 79720                     MARYVILLE, IL 62062                MACOMB, IL 61455




WOODS CRYSTAL                            WOODS ELIZABETH A                  WOODS JR., MICHAEL M.
636 35TH ST                              ADDRESS ON FILE                    1469 PARKER ST
CAIRO, IL 62914                                                             SPRINGFIELD, OR 97477




WOODS WILLIAM E MD SC                    WOODS, ANDREA                      WOODS, ANGELIQUE
351 GREENLEAF STE A                      ADDRESS ON FILE                    840 VICTORY DR
PARK CITY, IL 60085                                                         COLLINSVILLE, IL 62234




WOODS, ARIEL                             WOODS, AUDRIA                      WOODS, BRIONIKA T.
7201 S RICHMOND ST                       14063 SEA SHELL ST                 2931 27TH ST APT 110
CHICAGO, IL 60629                        FONTANA, CA 92336                  ZION, IL 60099




WOODS, BUFFY M.                          WOODS, CAROL                       WOODS, EMILIO
ADDRESS ON FILE                          6780 WOODLAND HILL RD SW           ADDRESS ON FILE
                                         NAVARRE, OH 44662




WOODS, FIONA                             WOODS, GEORGIA                     WOODS, JAMIE
UNKNOWN                                  543 N WEST ST                      162 CO RD 989
BLUE RIDGE, GA 30513                     GALESBURG, IL 61401                FYFFE, AL 35971




WOODS, JANET B.                          WOODS, JENNIFER                    WOODS, JIMMY
ADDRESS ON FILE                          900 W. DAYTON ST. APT. A-1         683 UPPER LAUREL
                                         GALESBURG, IL 61401                CLAYHOLE, KY 41317




WOODS, KATRINA                           WOODS, KELA                        WOODS, KEVIN E.
216 PAMELA DRIVE                         1632 HELEN ST                      THERAPEUTIC GI ASSOCIATES
BOLINGBROOK, IL 60440                    ST LOUIS, MO 63106                 P.O. BOX 98010
                                                                            ATLANTA, GA 30359




WOODS, LESLIE BRUCE                      WOODS, MARGARET T.                 WOODS, MATTIE
135 FEDERAL LANE                         1784 WILBER ROAD                   610 S. HANCOCK
EUGENE, OR 97404-0000                    BLAINE, KY 41124                   MCLEANSBORO, IL 62859
WOODS, MELINDA B.         Case 20-10766-BLS
                                        WOODS,Doc 6 A. Filed 04/07/20
                                              SHEILA                    Page 1938 ofTRACY
                                                                             WOODS,  1969Y.
ADDRESS ON FILE                          17850 CENTRAL PARK                  441 E. 107TH STREET APT 1A
                                         COUNTRY CLUB HILLS, IL 60478        CHICAGO, IL 60628




WOODS, WANDA D.                          WOODSON, JESSICA K.                 WOODSON, LESLIE L.
13049 S EVANS AVE                        ADDRESS ON FILE                     ADDRESS ON FILE
CHICAGO, IL 60827




WOODSON, RITA                            WOODSON, STEVE                      WOODSON, STEVE
163 BAILEY ST                            1454 POMEGRANATE TRAIL              ADDRESS ON FILE
MCKENZIE, TN 38201                       MESQUITE, NV 89027




WOODSON, SUPORIA                         WOODWARD, GAILE                     WOODWORTH, JACINTA
ADDRESS ON FILE                          556 W MAIN ST                       P.O. BOX 664/202 1/2 W. MARKET ST.
                                         LOCK HAVEN, PA 17745                JONESBORO, IL 62952




WOODWORTH, SUSIE                         WOODY, JAMES D.                     WOODY, TAYLOR
3710 CO RD 83                            1302 ORIOLE ST                      ADDRESS ON FILE
PISGAH, AL 35765                         VENICE, IL 62090




WOODYARD, NANCY J.                       WOODY-LAWAL, DEBRA                  WOOFTER, NICOLE
ADDRESS ON FILE                          13083 S ELLIS AVE                   ADDRESS ON FILE
                                         CHICAGO, IL 60827




WOOLARD GEORGE C                         WOOLARD, ELVANATTE                  WOOLARD, JAMIE S.
1638 GOOSE ROAD                          3070 PINEY WOODS RD                 ADDRESS ON FILE
ROBERSONVILLE, NC 27871                  JAMESVILLE, NC 27846




WOOLARD, JANIE P.                        WOOLARD, KELLY M.                   WOOLARD, LESTER LEE
ADDRESS ON FILE                          ADDRESS ON FILE                     1494 TYNER ROAD
                                                                             WILLIAMSTON, NC 27892




WOOLARD, PAMELA M.                       WOOLARD, TAMMY                      WOOLEY, LISA M.
ADDRESS ON FILE                          1309 S. 13TH                        P.O. BOX 112
                                         HERRIN, IL 62948                    WALTERVILLE, OR 97489




WOOLFORD, LINDSEY                        WOOLSEY JERRY                       WOOLSEY, ARMINDA
970 APACHE HILLS DR. NW                  1087 LEGRANDE DR                    ADDRESS ON FILE
DEMING, NM 88030                         GRANTSVILLE, UT 84029
WOOLSEY, MICHELLE K.       Case 20-10766-BLS  Doc
                                         WOOLSEY,   6 Filed
                                                  STACEY L. 04/07/20   Page 1939 of 1969 LARENE C.
                                                                            WOOLSTENHULME,
ADDRESS ON FILE                           ADDRESS ON FILE                   ADDRESS ON FILE




WOOLSTON-PETERSON, LORETTA                WOOMER, PATRICIA                  WOOSTER COMMUNITY HOSPITAL
P.O. BOX 2088                             ADDRESS ON FILE                   1761 BEALL AVENUE
OVERTON, NV 89040-2088                                                      WOOSTER, OH 44691




WOOTEN TAMMY K                            WOOTEN, BONNIE                    WOOTEN, BRANDI
339 GEORGE WALLACE ROAD                   565 CARLYLE RD                    173 KELLY DRIVE
RAINSVILLE, AL 35986-4341                 RAINSVILLE, AL 35986-3322         HENAGAR, AL 35978




WOOTEN, FRANCES K.                        WOOTEN, GLENDA                    WOOTEN, HANNAH
400 COUNTY RD 728                         ADDRESS ON FILE                   1551 TIMBER HEIGHTS DR
CEDAR BLUFF, AL 35959-3931                                                  LOGANVILLE, GA 30052-5626




WOOTEN, HEATHER                           WOOTEN, MIKKI                     WOOTEN, ROGER D.
ADDRESS ON FILE                           1013 KENDRAS RUN                  117 JOLLEY RD
                                          GALLATIN, TN 37066                FYFFE, AL 35971-4301




WOOTEN, SHAMELA                           WOOTEN, SIDNEY WAYNE              WOOTEN, WHITNEY L.
850 ELDRIDGE AVE ALT F21                  260 COUNTY RD 218                 ADDRESS ON FILE
WYNNE, AR 72396                           RAINSVILLE, AL 35986-3600




WOOTON, STEPHANIE L.                      WOOTTEN, CHELSEA                  WOOTTEN, MICHAEL
ADDRESS ON FILE                           ADDRESS ON FILE                   296 DOGWOOD DRIVE
                                                                            IDER, AL 35981




WOOTTON, RICHARD K.                       WOOZ-FM                           WORDELMAN, AMANDA L.
5165 VERANDA SE                           MISSISSIPPI RIVER RADIO           8305 HIGHWAY 436
DEMING, NM 88030                          324 BROADWAY STREET               MCKENZIE, TN 38201
                                          CAPE GIRARDEAU, MO 63701




WORIES, PETER                             WORK, RALPH & PEGGY               WORKCAMPNE INC.
ADDRESS ON FILE                           265 OLD MCKENZIE RD               189 CHARLES BANCROFT HWY
                                          MCKENZIE, TN 38201                LITCHFIELD, NH 03052-2491




WORKERS CHOIC                             WORKERS COMPENSATION FUND         WORKHEISER, GARNAFAY M.
10315 PROFESSIONAL CIR                    ATTN: RECOVERY                    145 N WHITESBORO ST
RENO, NV 89521                            100 WEST TOWNE RIDGE PKWY         GALESBURG, IL 61401
                                          SANDY, UT 84070
WORKIN.COM INC           Case 20-10766-BLS  Doc
                                       WORKMAN   6 Filed
                                               PUBLISHING   04/07/20
                                                          COMPANY        Page 1940 of 1969
                                                                              WORKMAN, AIMEE
343 CHURCH STREET                       225 VARICK ST                         1165 BLAINE CREEK ROAD
SANTA CRUZ, CA 95060                    NEW YORK, NY 10014-4381               LOUISA, KY 41230




WORKMAN, ALAN                           WORKMAN, BETH                         WORKMAN, CATHERINE
P.O. BOX 675                            305 SPERRY BRANCH ROAD                280 RIVERSIDE RD 9E
MOUNT GAY, WV 25637                     PRICHARD, WV 25555                    MESQUITE, NV 89027




WORKMAN, ELEANOR T.                     WORKMAN, JONATHAN P.                  WORKMAN, JONATHAN P.
1030 OLEANDER DR                        ADDRESS ON FILE                       6613 FOX VIEW DRIVE
AUGUSTA, GA 30904                                                             EDWARDSVILLE, IL 62025




WORKMAN, M.D., MARC                     WORKMAN, MARC                         WORKMAN, STACEY A.
ADDRESS ON FILE                         ADDRESS ON FILE                       510 S VIRGINIA AVE
                                                                              MARION, IL 62959




WORKMAN, TONI R.                        WORKPLACE INTERGRA-MIDWEST            WORKPLACE RESOLUTIONS LLC
601 PAUL CT.                            8852 GLASS CHIMNEY LANE               ATTN:RICHARD D FINCHER
HERRIN, IL 62948                        FISHERS, IN 46037                     10308 NORTH 49TH PLACE
                                                                              PARADISE VALLEY, AZ 85253




WORKSTEPS, INC                          WORLD BIRD SANCTUARY                  WORLD FIANANCE CORPORATION
3019 ALVIN DEVANE BLVD                  125 BALD EAGLE RIDGE RD               807 N COURT ST SUITE A
STE 150                                 VALLEY PARK, MO 63088                 MARION, IL 62959
AUSTIN, TX 78741-7415




WORLD FINANCE CO.                       WORLD FINANCE CORP ILLINOIS           WORLD FINANCE CORP OF IL
2630 MASCOUTAH AVE, SUITE 104           221 NORTH PARK AVENUE                 2715 N CENTER ST
BELLEVILLE, IL 62221                    HERRIN, IL 62948-3149                 MARYVILLE, IL 62062




WORLD FINANCE CORP OF IL                WORLD FINANCE CORP OF ILLINOIS        WORLD FINANCE CORP
3102 NAMKEOKI RD                        203 KNOX SQ DR                        159 E BETHALTO DR
STE A                                   SUITE 111                             BETHALTO, IL 62010
GRANITE CITY, IL 62040-5056             GALESBURG, IL 61401




WORLD FINANCE CORPORATION               WORLD FINANCE CORPORATION             WORLD FINANCE
3695 E. VIENNA ST                       OF ILLINOIS                           4 AMERICAN VILLAGE
ANNA, IL 62906                          1353A SPARTA CENTRE DR                GRANITE CITY, IL 62040-3711
                                        SPARTA, IL 62286-2311




WORLD FUEL SERVICES INC                 WORLD LINK INC                        WORLD POINT
2458 PAYSPHERE CR                       905 M. AVENUE                         DEPT 10414
CHICAGO, IL 60674-0024                  ATTN: KAREN BOOK                      PO BOX 87618
                                        KALONA, IA 52247                      CHICAGO, IL 60680-0618
                     Case 20-10766-BLS
WORLD WIDE INTERPRETERS                   Doc 6
                                   WORLDPOINT   ECC, Filed
                                                     INC   04/07/20    Page 1941 of 1969
                                                                            WORLDWIDE BENEFIT SERVICES LLC
P.O. BOX 270568                    DEPT 10414                                C/O SELMAN & CO
HOUSTON, TX 77277                  P.O. BOX 87618                            6110 PARKLAND BLVD
                                   CHICAGO, IL 60680-0618                    CLEVELAND, OH 44124




WORLEY, CLYDE                        WORLEY, DANA L.                         WORLEY, DANA L.
17 PENN STATE AVE                    P.O. BOX 1091                           ADDRESS ON FILE
LOGANTON, PA 17747                   HUGHES, AR 72348




WORLEY, JUDYTH                       WORLEY, PATRICIA L.                     WORLEY, PATRICIA
15242 RAINBOW LAKE RD                ADDRESS ON FILE                         2030 HARRY ARNOLD RD
NEWCOMERSTOWN, OH 43832-8802                                                 MONROE, GA 30655




WORLEY, SANDRA G.                    WORLIE, SPEARMON JR                     WORM, DANA
ADDRESS ON FILE                      108 KENWOOD DR E                        544 RIVER RIDGE RD
                                     MAPLEWOOD, MN 55117                     BLUE RIDGE, GA 30513-5138




WORMS, JAN S.                        WORRELL, JAMES W.                       WORSTELL, DELORIS
115 GRANT DR MT (ASCP)               P.O. BOX 686                            P.O. BOX 2087
MASCOUTAH, IL 62258                  MEEKER, CO 81641                        WEST HELENA, AR 72390




WORTHAN ASHTON                       WORTHAN, ASHTON                         WORTHEN, CHARITY F.
ADDRESS ON FILE                      ADDRESS ON FILE                         11970 STATE RT 37 N
                                                                             GOREVILLE, IL 62939




WORTHEN, PAUL                        WORTHINGTON DIRECT HOLDINGS LLC         WORTHINGTON, CHRISTINE
2972 WASHINGTON AVE                  6301 GASTON AVE STE 670                 ADDRESS ON FILE
GRANITE CITY, IL 62040               DALLAS, TX 75214




WORTHINGTON, TIA                     WORTHY, DEBORAH F.                      WOYNER, WILLIAM R.
87 HOLLY DRIVE                       1802 KEEN STREET                        1327 KENMORE AVE
CHATSWORTH, GA 30705-5125            LAS VEGAS, NM 87701                     ROUND LAKE BEACH, IL 60073




WOZNIAK, CHRISTINE A.                WOZNY, CARISSA                          WPS - GHA
1301 PHEASANT CHASE CIR              ADDRESS ON FILE                         REIMBURSEMENT
BEECHER, IL 60401                                                            1717 W BROADWAY
                                                                             MADISON, WI 53713-1834




WPS - MEDICARE                       WPS - TRICARE REFUNDS                   WPS GHA - MAC J5 PART A
3333 FARNAM STREET                   P.O. BOX 7928                           P.O. BOX 8799
SUITE 700                            MADISON, WI 53707-7928                  MADISON, WI 53708-8799
OMAHA, NE 68131
                      Case 20-10766-BLS
WPS GHA FINANCIAL REPORTING         WPS GHA Doc 6 Filed 04/07/20   Page 1942 of 1969
                                                                        WPS GHA
P.O. BOX 8788                       ATTN AUDIT SUPERVISOR               ATTN: AUDIT SUPERVISOR
MEDICARE PART A                     1717 W. BROADWAY                    P.O. BOX 8550
MADISON, WI 53708                   MADISON, WI 53713-1834              MADISON, WI 53708-8550




WPS GHA                             WPS GHA                             WPS GHA
ATTN:DON ONEAL                      DON ONEAL                           P.O. BOX 8550
1717 W BROADWAY                     P.O. BOX 8696                       MADISON, WI 53708-8550
MADISON, WI 53713-1834              MADISON, WI 53708-8696




WPS GHA                             WPS GOVERNMENT HEALTH ADMIN         WPS HEALTH INSURANCE
REIMBURSEMENT                       1717 W BROADWAY                     P.O. BOX 8190
1717 WEST BROADWAY                  MADISON, WI 53713                   MADISON, WI 53713
MADISON, WI 53713-1834




WPS TRICARE EAST                    WPS TRICARE FOR LIFE                WPS TRICARE FOR LIFE
ATTN: REFUNDS                       P.O. BOX 7890                       P.O. BOX 7928
P.O. BOX 7889                       MADISON, WI 53707-7890              MADISON, WI 53707-7928
MADISON, WI 53707




WPS TRICARE                         WPS TRICARE                         WPS/TRICARE FOR LIFE OP
P.O. BOX 7890                       POB 7928                            WPS TRICARE
MADISON, GA 53707-7890              MADISON, WI 53707-7928              P.O. BOX 7889
                                                                        MADISON, WI 53707-7890




WPS/TRICARE FOR LIFE                WPS/TRICARE FOR LIFE                WPS/TRICARE FOR LIFE
ATTN REFUNDS                        ATTN REFUNDS                        P.O. BOX 7889
P.O. BOX 7928                       P.O. BOX 7928                       MADISON, WI 53707-7889
MADISON, WI 53707-7928              MADISON, WI 53708-7928




WPS/TRICARE FOR LIFE                WPS/TRICARE FOR LIFE                WPS/TRICARE
P.O. BOX 7890                       P.O. BOX 7928                       ATTN: RECOUPMENT
MADISON, WI 53707-7890              ATT:REFUNDS                         P.O. BOX 7928
                                    MADISON, WI 53707-7928              MADISON, WI 53708-7928




WPS/TRICARE                         WPS-VA                              WPS-VAPC3 TRIWEST
ATTN: REFUNDS                       P.O. BOX 14491                      P.O. BOX 7926
P.O. BOX 8967                       MADISON, WI 53708-0491              MADISON, WI 53707
MADISON, WI 53708-8967




WQRL-FM                             WRAY, AMY                           WREN, DALE
P.O. BOX 818                        5610 NE 22ND AVE                    14850 ORIENT MINE ROAD
BENTON, IL 62812                    PORTLAND, OR 97211                  MARION, IL 62959




WREN, PATRIC C.                     WRENN, JERRY                        WRENN, NATHANIEL
ADDRESS ON FILE                     11730 S EGGLESTON AVE               ADDRESS ON FILE
                                    CHICAGO, IL 60628
WREZ                      Case 20-10766-BLS
                                        WRIGHTDoc  6 F Filed 04/07/20
                                              ALISON                    Page 1943
                                                                             WRIGHTof 1969
                                                                                    AMANDA
P.O. BOX 7501                            88 2ND ST                           706 BETHEL RD
PADUCAH, KY 42002                        MCCAYSVILLE, GA 30555               VALLEY HEAD, AL 35989




WRIGHT ELISE                             WRIGHT JARED                        WRIGHT LINDSEY & JENNINGS LLP
1841 WHITEPATH RD                        ADDRESS ON FILE                     200 WEST CAPITOL AVE
ELLIJAY, GA 30540                                                            STE 2300
                                                                             LITTLE ROCK, AR 72201




WRIGHT MEDIAL TECHNOLOGY, INC            WRIGHT MEDICAL GROUP                WRIGHT MEDICAL TECHNOLOGY INC
1023 CHERRY ROAD                         P.O. BOX 503482                     P.O. BOX 503482
MEMPHIS, TN 38117                        ST LOUIS, MO 63150-3482             ST LOUIS, MO 63150




WRIGHT MEDICAL TECHNOLOGY INC            WRIGHT MEDICAL TECHNOLOGY           WRIGHT MEDICAL TECHNOLOGY
P.O. BOX 503482                          P.O. BOX 503482                     PO BOX 503482
ST LOUIS, MO 63150-3482                  ST LOUIS, MO 63150-3482             ST LOUIS, MO 63150-3482




WRIGHT MELISSA                           WRIGHT ROSEANN                      WRIGHT, ALLISON
1827 HERMON AVE FRONT 2                  400 SOUTH 310 WEST                  3607 DEAN RD NE
ZION, IL 60099                           TOOELE, UT 84074                    FORT PAYNE, AL 35967




WRIGHT, AMY                              WRIGHT, ANDREW M.                   WRIGHT, ANGELA D.
1310 CLEMENT RD                          ADDRESS ON FILE                     118 CR 652
WEST MEMPHIS, AR 72301                                                       WYNNE, AR 72396




WRIGHT, ANGELA M.                        WRIGHT, ANGIE K.                    WRIGHT, ASHLEY
2777 MAIN STREET SHILOH                  2296 COUNTY ROAD 642                165 HALE AVENUE P.O. BOX 121
RAINSVILLE, AL 35986                     MENTONE, AL 35984                   LOVELY, KY 41231




WRIGHT, BECKY G                          WRIGHT, CANDIE                      WRIGHT, CINDY L.
1191 BELL HILL ROAD                      1550 COUNTY ROAD 223                ADDRESS ON FILE
MURPHY, NC 28906                         COLLINSVILLE, AL 35961




WRIGHT, DEBORAH M.                       WRIGHT, DENISE L.                   WRIGHT, DEWAYNE
ADDRESS ON FILE                          ADDRESS ON FILE                     ADDRESS ON FILE




WRIGHT, EDWARD P                         WRIGHT, ERICA A.                    WRIGHT, ERICA A.
120 DAVID ST                             7172 HWY 227 SOUTH                  ADDRESS ON FILE
HELENA, AR 72342                         CROSSVILLE, AL 35962
WRIGHT, ERIN L.         Case 20-10766-BLS
                                      WRIGHT,Doc
                                              ERIN6       Filed 04/07/20   Page 1944 ofETHAN
                                                                                WRIGHT, 1969A.
902 S. CHAPEL ST                       ADDRESS ON FILE                          114 ESTATE VIEW DRIVE
LOUISVILLE, OH 44641                                                            FYFFE, AL 35971




WRIGHT, IAM                            WRIGHT, JACKLON                          WRIGHT, JANA M.
9548 S YATES                           4352 COUNTY ROAD 469                     ADDRESS ON FILE
CHICAGO, IL 60617                      COLLINSVILLE, AL 35961




WRIGHT, JANET E.                       WRIGHT, JEFFREY A.                       WRIGHT, JENNIFER
ADDRESS ON FILE                        24482 NEWPORT DR                         533 W 126TH PL
                                       CRETE, IL 60417                          CHICAGO, IL 60628




WRIGHT, JESSICA V.                     WRIGHT, JULIE                            WRIGHT, KATHY R.
1489 FORREST DRIVE                     4204 W FM 818                            520 WESTOVER RD
BARBERTON, OH 44203                    BIG SPRING, TX 79720                     BIG SPRING, TX 79720




WRIGHT, KATHY R.                       WRIGHT, KAYLA J.                         WRIGHT, KEELEY
ADDRESS ON FILE                        P.O. BOX 1136                            ADDRESS ON FILE
                                       KERMIT, WV 25674




WRIGHT, KRISTINE L.                    WRIGHT, LADAVIUS                         WRIGHT, LAVERNE
284 ANITA TERRECE 108                  814 LAUGHRUN DR                          7061 W NORTH AVE APT 101
ANTIOCH, IL 60002                      FORREST CITY, AR 72335                   OAK PARK, IL 60302




WRIGHT, LISA R.                        WRIGHT, LIZA F.                          WRIGHT, LOLA
305 E 8TH                              807 N MADELINE DRIVE                     57 QUARRY RD
WEST FRANKFORT, IL 62896               SHAWNEE, OK 74801                        NORTH BERWICK, ME 03906




WRIGHT, LYDIA L.                       WRIGHT, LYNDSIE D.                       WRIGHT, LYNELL LOUISE
ADDRESS ON FILE                        ADDRESS ON FILE                          13443 MOZART ST
                                                                                BLUE ISLAND, IL 60406




WRIGHT, MACIE C.                       WRIGHT, MARK                             WRIGHT, MARY M.
ADDRESS ON FILE                        1116 COUNTY ROAD 631                     510 JACKSON STREET
                                       MENTONE, AL 35984                        MASCOUTAH, IL 62258




WRIGHT, MCKAYLA G.                     WRIGHT, MEGAN                            WRIGHT, MEGHAN
ADDRESS ON FILE                        ADDRESS ON FILE                          ADDRESS ON FILE
WRIGHT, NANCY J.          Case 20-10766-BLS
                                        WRIGHT,Doc  6 Filed
                                                NATASHA L.  04/07/20   Page 1945 ofPHILIP
                                                                            WRIGHT, 1969
ADDRESS ON FILE                          ADDRESS ON FILE                    1215 SHADWELL LN
                                                                            MONROE, GA 30655-5694




WRIGHT, RACHEL A                         WRIGHT, RACHEL                     WRIGHT, RACHEL
ADDRESS ON FILE                          16135 SCENIC CT                    ADDRESS ON FILE
                                         WADSWORTH, IL 60083




WRIGHT, RAYMOND                          WRIGHT, ROBERT                     WRIGHT, ROBERT
18442 W GRAND DR                         ADDRESS ON FILE                    ADDRESS ON FILE
GRAYSLAKE, IL 60030




WRIGHT, ROBERTA M.                       WRIGHT, SARAH C.                   WRIGHT, SHELLO
ADDRESS ON FILE                          403 FREEMAN ST                     23786 TERRITORIAL ROAD
                                         ANNA, IL 62906                     MONROE, OR 97456




WRIGHT, SHERRIE ANN                      WRIGHT, TABATHA L.                 WRIGHT, TABATHA
100 N GRAPEVINE RD                       13341 S KOSTNER AVE                RE: PATIENT REFUNDS
APT 1 D                                  ROBBINS, IL 60472                  111 PETERSON RD
MESQUITE, NV 89027-5102                                                     BIG SPRING, TX 79720




WRIGHT, TABITHA                          WRIGHT, TERESA G.                  WRIGHT, TERESA
ADDRESS ON FILE                          ADDRESS ON FILE                    ADDRESS ON FILE




WRIGHT, TIMOTHY P.                       WRIGHT, TONIA                      WRIGHT, TONIA M.
905 WEST EAGLE PASS                                                         7047 DEER LODGE CIR UNIT 101
ALPINE, TX 79830                                                            JACKSONVILLE, FL 32256




WRIGHT, TRACY R.                         WRIGHT, VERNA G                    WRIGHT, WANDA L.
ADDRESS ON FILE                          2410 PHILLIPS 115 RD               ADDRESS ON FILE
                                         MARVELL, AR 72366




WRIGHT-VERKAMMAN, MARILYN E.             WRIGLEY MARY                       WRIGLEY, BARBARA J.
ADDRESS ON FILE                          2859 KEEBLER RD                    ADDRESS ON FILE
                                         MARYVILLE, IL 62062




WRIGLEY, JUANITA                         WRINN, MELODIE D.                  WRISTBANDS MEDTECH USA
1006 B JOEB LANE                         ADDRESS ON FILE                    P.O. BOX 402389
MURPHYSBORO, IL 62966                                                       ATLANTA, GA 30384-2389
WRISTON, ELIZABETH A. Case 20-10766-BLS     Doc 6JENNIFER
                                    WROBLEWSKI,       Filed 04/07/20   Page 1946 of 1969
                                                                            WRS GROUP, LTD
868 S MAPLE ST P.O. BOX 72          2588 CITY VIEW ST                       P.O. BOX 21207
TILDEN, IL 62292                    EUGENE, OR 97405                        WACO, TX 76702-1207




WRS GROUP, LTD                        WRXX-FM                               WSAZ
PO BOX 21207                          P.O. BOX 1508                         P.O. BOX 14200
WACO, TX 76702                        MT. VERNON, IL 62864                  TALLAHASSEE, FL 32317-4200




WS-DYNOCO PETROLEUM MGMT LLC          WSIL-TV                               WSP GHA
DBA WESLEYS CHEVRON                   1416 COUNTRY AIRE DR                  REIMBURSEMENT
P.O. BOX 1350                         CARTERVILLE, IL 62918-5124            P.O. BOX 8788
LOGANDALE, NV 89021-1350                                                    MADISON, WI 53708-8788




WSTRN STATES FIRE PROTECTION          WSTRN TMSTERS WELFARE TRUST           WTG FUELS INC
STATEWIDE FIRE PROTECTION             2323 EASTLAKE AVE EAST                P.O. BOX 1398
P.O. BOX 412007                       SEATTLE, WA 98102                     ALPINE, TX 78931
BOSTON, MA 02241-2007




WU, ANNE                              WUAKEGAN ILLINOIS HOSPITAL COMPANY    WUERTLEY, TINA M.
HC61 BOX 8                            LLC                                   ADDRESS ON FILE
MIAMI, NM 87729                       4000 MERIDIAN BLVD
                                      FRANKLIN, TN 37067




WUERTLEY, WANDA                       WUERTZ BRIAN                          WUEZ-FM
ADDRESS ON FILE                       1725 CLOVER RIDGE                     MISSISSIPPI RIVER RADIO
                                      COLUMBIA, IL 62236                    324 BROADWAY STREET
                                                                            CAPE CIRARDEAU, MO 63701




WULF, ROSMARIE                        WULFING LINDSEY R                     WUNDER, ROBERT
811 N PRAIRIE ST                      1605 STONEBROOKE DR                   947 KNOX RD 750 E
BETHALTO, IL 62010                    EDWARDSVILLE, IL 62025                GILSON, IL 61436




WUNDERLICH, MARY O.                   WUNDERLICH, MARY O.                   WURSTLE KURT R
ADDRESS ON FILE                       5127 PALESTINE RD                     322 CHERRY LOG LANE
                                      CHESTER, IL 62233                     BLUE RIDGE, GA 30513




WURTZ, BONNIE                         WURTZ, HEATHER                        WUTHRICH, JESSICA A.
405 1ST ST SW                         4394 BYERS RD                         ADDRESS ON FILE
BREWSTER, OH 44613                    PERRYSVILLE, OH 44864-9606




WUTZEN, LANA                          WVHR-100.9                            WXLT-FM
814 INDIANA LANE                      215 BAKER RD                          MISSISSIPPI RIVER RADIO
ELK GROVE VILLAGE, IL 60007           HUNTINGDON, TN 38344                  324 BROADWAY STREET
                                                                            CAPE GIRARDEAU, MO 63701
WYANT, MARIVIC           Case 20-10766-BLS
                                       WYANT, Doc 6
                                              TERRY      Filed 04/07/20   Page 1947
                                                                               WYATT of 1969
                                                                                     LISA DIANE
114 WAVERLY WOOD                        506 HUGHEY LN                           3032 STAPP DRIVE
HELENA, AR 72342                        ANNA, IL 62906                          EUGENE, OR 97408




WYATT MICHAEL G                         WYATT OLIVER                            WYATT TARRANT & COMBS LLP
33 RALPH RICHEY ROAD APT 57             451 PARK VIEW DR                        500 WEST JEFFERSON ST - STE 2800
GERALDINE, AL 35974-0594                MESQUITE, NV 89027                      ATTN: ACCOUNTING DEPT
                                                                                LOUISVILLE, KY 40202




WYATT TINA L                            WYATT, CAYCE                            WYATT, CHRISTINA M.
2304 BENTON                             534 TAYLOR ST                           20 WEST MARKET STREET
GRANITE CITY, IL 62040                  BRUCETON, TN 38317                      MARSHALLVILLE, OH 44645




WYATT, CLARA                            WYATT, DUNSTON                          WYATT, ELEANOR E.
1045 COLT BRILLIANT                     133 BERRYVILLE RD                       10843 HWY 79 S
GRANITE CITY, IL 62040                  JONESBORO, IL 62952                     HENRY, TN 38231




WYATT, GLENNA                           WYATT, JACQUELINE M.                    WYATT, KELSEY R.
170 CARROLLTON ST                       ADDRESS ON FILE                         710 S INMAN DR
MAGNOLIA, OH 44643                                                              WALNUT RIDGE, AR 72476




WYATT, LISA                             WYATT, MELISSA                          WYATT, MELISSA
1160 BRADLEY GIN ROAD                   1612 ELM RUN                            ADDRESS ON FILE
MONROE, GA 30656                        NASHVILLE, TN 37214




WYATT, REBECCA L.                       WYATT, TARRANT & COMBS, LLP             WYDRA, ROBERT
ADDRESS ON FILE                         250 WEST MAIN STREET                    202 WILLOW DR.
                                        SUITE 1600                              COLLINSVILLE, IL 62234
                                        LEXINGTON, KY 40507-1746




WYDRA, TAMMY                            WYLER INDUSTRIAL WORKS INC              WYLIE, TAISIA
202 WILLOW DR                           P.O. BOX 1071                           14835 LEXINGTON AVE
COLLINSVILLE, IL 62234-5148             EL PASO, TX 79946                       HARVEY, IL 60426




WYMAN, LYNN                             WYMAN, MARKLE                           WYNDEN STARK LLC
132 GOVERNORS LN                        P.O. BOX 4                              DEPT LA 24861
AIKEN, SC 29801                         WILSONVILLE, IL 62093                   PASADENA, CA 91185-0000




WYNN HATTIE R                           WYNN RITA M BIDDLE                      WYNN, KHARA S.
1454 EVERETTS RD                        1070 COUNTY RD 144                      ADDRESS ON FILE
WILLIAMSTON, NC 27892                   GAYLESVILLE, AL 35973-4215
WYNN, KIERSTY R.        Case 20-10766-BLS    Doc 6 R. Filed 04/07/20
                                      WYNN, KIERSTY                       Page 1948
                                                                               WYNN, of 1969
                                                                                     PATRICIA
151 THORNOCK AVE                        ADDRESS ON FILE                        12123 S ADA
EVANSTON, WY 82930                                                             CHICAGO, IL 60643




WYNN, RIAN                              WYNN, TAYLOR S.                        WYNN, VICKIE
10802 WHITE OAK FALLS CT                ADDRESS ON FILE                        1415 LAKE LUCILLE CT
CYPRESS, TX 77429                                                              WATERLOO, IL 62298




WYNNE PROGRESS                          WYNNE PROGRESS                         WYNNE ROTARY
P O BOX 308                             P.O. BOX 308                           P.O. BOX 1011
WYNNE, AR 72396                         WYNNE, AR 72396                        WYNNE, AR 72396




WYNNE SPORTS COMMISION                  WYNNE, DONALD WAYNE                    WYNNE, HOLLY M.
P.O. BOX 561                            154 SOUTH RIVER RD                     ADDRESS ON FILE
WYNNE, AR 72396                         PLYMOUTH, NC 27962




WYNNE, HOPE T.                          WYNNE, KRISTI                          WYNNE, MICHAEL D.
3855 RDS GROCERY RD                     ADDRESS ON FILE                        1130 RIDGEFIELD DRIVE
WILLIAMSTON, NC 27892                                                          BISHOP, GA 30621




WYNNE, TERESA L.                        WYO CANCER SUR PROG                    WYO DEPT OF AGRICULTURE
ADDRESS ON FILE                         6101 YELLOWSTONE ROAD                  2219 CAREY AVENUE
                                        ROOM 259 A                             CHEYENNE, WY 82002
                                        CHEYENNE, WY 82002




WYO DEPT OF FAMILY SERVICES             WYO DEPT OF HEALTH                     WYO DEPT OF HEALTH
ATTN:CENTRAL REGISTRY                   OFF OF RURAL HEALTH                    PREVENTIVE HEALTH & SAFETY
2300 CAPITOL AVE,3RD FL                 6101 YELLOWSTONE RD SUITE 510          208 SOUTH COLLEGE DR.
CHEYENNE, WY 82002-0409                 CHEYENNE, WY 82002                     CHEYENNE, WY 82002




WYO DEPT. OF REVENUE                    WYO STATE BOARD OF PHARMACY            WYOMING CHILD SUPPORT ND
HERSCHLER BLDG.                         1712 CAREY AVENUE, SUITE 200           2300 CAPITAL AVE
122 W. 25TH. ST.                        CHEYENNE, WY 82002                     5TH FLOOE SUITE A
CHEYENNE, WY 82002-0110                                                        CHEYENNE, WY 82003




WYOMING COMMUNITY FOUNDATION            WYOMING DEPARTMENT OF HEALTH           WYOMING DEPARTMENT OF HEALTH
1472 N 5TH ST                           401 HATHAWAY BUILDING                  ATTN: DIANNE WHITLOCK; HEALTHCARE
LARAMIE, WY 82072                       CHEYENNE, WY 82002                     LICENSING & SURVEYS CLIA CERTIFICATION
                                                                               6101 YELLOWSTONE RD., STE. 186C
                                                                               CHEYENNE, WY 82002



WYOMING DEPARTMENT OF HEALTH            WYOMING DEPARTMENT OF HEALTH           WYOMING DEPARTMENT OF HEALTH
ATTN: TAMMY SCHMITT AGING DIVISION      WYOMING MEDICAID                       WYOMING MEDICAID
HEALTHCARE LICENSING AND SURVEYS        6101 YELLOWSTONE ROAD, STE. 210        PROVIDER RELATIONS
HATHAWAY BLDG, SUITE 510                CHEYENNE, WY 82009                     P.O. BOX 667
2300 CAPITOL AVENUE                                                            CHEYENNE, WY 82003-0667
CHEYENNE, WY 82002
WYOMING DEPARTMENT OFCase      20-10766-BLS
                          REVENUE       WYOMINGDoc    6 FiledOF04/07/20
                                                  DEPARTMENT    WORKFORCEPage 1949
                                                                              WYOMINGof 1969
                                                                                        DEPARTMENT OF WORKFORCE
122 W. 25TH STREET, STE. E301           SERVICES                              SERVICES
CHEYENNE, WY 82002-0110                 P.O. BOX 2648                         P.O. BOX 2760
                                        UNEMPLOYMENT TAX                      CASPER, WY 82602
                                        CASPER, WY 82602-2648



WYOMING DEPT OF ENVIRONMENTAL          WYOMING DEPT OF REVENUE                WYOMING DEPT OF WORKFORCE SERVICES
QUALITY                                122 WEST 25TH STREET, 2ND FLOOR WEST   1510 EAST PERSHING BLVD
200 W 17TH ST                          CHEYENNE, WY 82002-0110                WEST WING
CHEYENNE, WY 82002                                                            CHEYENNE, WY 82002




WYOMING FINANCIAL INSURANCE            WYOMING HOSPITAL ASSOC.                WYOMING OCCUPATIONAL SAFETY AND
P.O. BOX 130                           2005 WARREN AVE                        HEALTH ADMINISTRATION
CASPER, WY 82602                       CHEYENNE, WY 82001-3725                1510 EAST PERSHING - WEST
                                                                              CHEYENNE, WY 82002




WYOMING OFFICE OF THE ATTORNEY         WYOMING PUBLIC HEALTH LABORATORY       WYOMING SECRETARY OF STATE
GENERAL                                208 SOUTH COLLEGE DR                   2020 CAREY AVE
CONSUMER PROTECTION UNIT               CHEYENNE, WY 82002                     STE 700
2320 CAPITOL AVE                                                              CHEYENNE, WY 82002-0020
CHEYENNE, WY 82002



WYOMING SECRETARY OF STATE             WYOMING STATE BOARD OF PHARMACY        WYOMING STATE HOSPITAL
HERSCHLER BUILDING EAST, SUITE 101     ATTN: PHYLLIS CHAPMAN                  P.O. BOX 177
122 W. 25TH STREET                     MARY K. WALKER, EXECUTIVE DIRECTOR     ATTN: LAREE ALLRED
CHEYEENE, WY 82002-0020                1712 CAREY AVENUE, STE 200             EVANSTON, WY 82931-0177
                                       CHEYENNE, WY 82002



WYOMING STATE TREASURER                WYOMING WORKERS COMPENSATION           WYOMNING ECONOMIC DEVELOPMENT
122 WEST 25TH ST - STE E300            P.O. BOX 20006                         ASSOC
HERSCHLER BLDG E - UNCLAIMED PROPER    CHEYENNE, WY 82003                     C/O ALIGN, 1401 AIRPORT PKWY
CHEYENNE, WY 82002                                                            SUITE 300
                                                                              CHEYENNE, WY 82001



WYROSKI, ROBIN L.                      WYRWICKI, MICHELLE M.                  WYSINGER, EVELYN
1105 N LOTUS DR                        9608 S. HAMLIN AVE                     12008 S YALE AVE
ROUND LAKE BEACH, IL 60073             EVERGREEN PARK, IL 60805               CHICAGO, IL 60628




WYSOCKI, SALLY                         WYSSBROD, MELINDA G.                   WYTOSKI, MARY
15963 78TH AVE                         ADDRESS ON FILE                        603 TINAMOU LANE
TINLEY PARK, IL 60477                                                         SPRINGFIELD, OR 97477-0000




WYVETT, MARGARET                       WYVONNE, SISK                          X.L. AMERICA INC.
15555 PARK LN                          699 LEE 407                            70 SEAVIEW AVE UNIT 6
SOUTH HOLLAND, IL 60473                MARIANNA, AR 72360                     STAMFORD, CT 06902




XANDEGAR CAROL                         XANITOS                                XANITOS, INC.
864 JEFFERSON DR                       75 REMITTANCE DR                       DON SCHWEER, NATIONAL ACCOUNT
LINDENHURST, IL 60046-8723             DEPT 6529                              EXECUTIVE
                                       CHICAGO, IL 60675                      3809 W CHESTER PIKE SUITE 210
                                                                              NEWTOWN SQUARE, PA 19073
XCEL STAFFING SOLUTIONSCase 20-10766-BLS    Doc 6 Filed 04/07/20
                                     XENCO MEDICAL                    Page 1950
                                                                           XENON of 1969 SERVICES
                                                                                 TECHNICAL
2701 GRAND AVENUE                    9930 MESA RIM ROAD                    2203 ANSBURY DRIVE
WAUKEGAN, IL 60085                   SAN DIEGO, CA 92121                   HOUSTON, TX 77018




XEROX CAPITAL SERVICES, LLC          XEROX CORP                            XEROX CORPORATION
P.O. BOX 802555                      P.O. BOX 202882                       P O BOX 7405
CHICAGO, IL 60680-2555               DALLS, TX 75320                       PASADENA, CA 91109-7405




XEROX CORPORATION                    XEROX CORPORATION                     XEROX CORPORATION
P.O. BOX 650361                      P.O. BOX 7405                         P.O. BOX 802555
DALLAS, TX 75265-0361                PASADENA, CA 91109-7405               CHICAGO, IL 60680




XEROX CORPORATION                    XEROX CORPORATION                     XEROX CORPORATION
P.O. BOX 802555                      P.O. BOX 802555                       P.O. BOX 827598
CHICAGO, IL 60680-2555               CHJICAGO, IL 60680-2555               PHILADELPHIA, PA 19182-7598




XEROX CORPORATION                    XEROX FINANCIAL SERVICES              XEROX FINANCIAL SERVICES
PO BOX 802555                        45 GLOVER AVE                         P.O. BOX 202882
CHICAGO, IL 60680                    NORWALK, CT 06856                     DALLAS, TX 75320-2882




XEROX                                XHEMO, MARIANA                        XIAOHUA, ASHER
PO BOX 650361                        5120 N ONEIDA AVE                     2910 ASHLYN DR
DALLAS, TX 75265                     NORRIDGE, IL 60706                    ATLANTA, GA 30340




XIAOYING, W.                         XINOL, JOANNA                         XIONG, MAIKOU
1735 CO RD 678                       38 S GRETTA AVE                       4121 GREENLEAF CT 303
FORT PAYNE, AL 35967                 WAUKEGAN, IL 60085                    PARK CITY, IL 60085




XIONG, SUE                           XIONG, SUE                            XIQUES, PAMELA D.
ADDRESS ON FILE                      ADDRESS ON FILE                       2655 BROMMER ST
                                                                           SANTA CRUZ, CA 95062




XL BERMUDA LTD                       XL BERMUDA LTD.                       XL INSURANCE AMERICA, INC.
OHARA HOUSE                          XL HOUSE                              100 CONSTITUTION PLAZA
ONE BERMUDIANA ROAD                  ONE BERMUDIANA RD                     HARTFORD, CT 06103
HAMILTON HM 08                       HAMILTON HM JX
BERMUDA                              BERMUDA



XL SPECIALTY INS COMPANY             XL SPECIALTY INSURANCE COMPANY        XM SATELLITE RADIO INC
XL PROFESSIONAL INSURANCE            SEAVIEW HOUSE 70                      P.O. BOX 9001399
100 CONSTITUTION PLAZA, 13TH FLOOR   SEAVIEW AVE                           LOUISVILLE, KY 40290-1399
HARTFORD, CT 06103                   STAMFORD, CT 06902
XODUS MEDICAL         Case 20-10766-BLS    Doc 6 INC.
                                    XODUS MEDICAL,  Filed 04/07/20 Page 1951
                                                                        XORAN of 1969
                                                                               TECHNOLOGIES
702 PROMINENCE DR                   WESTMORELAND BUS &RESEARCH PARK     5210 SOUTH STATE RD
NEW KENSINGTON, PA 15068            702 PROMINENCE DRIVE                ANN ARBOR, MI 48108
                                    NEW KENSINGTON, PA 15068




XPRESS YOURSELF                     X-RITE                               X-SPINE SYSTEMS, INC
3090 HWY 64, WEST                   62750 COLLECTION CENTER              DEPT CH 16872
SUITE 103                           CHICAGO, IL 60693                    PALATINE, IL 60055-1471
MURPHY, NC 28906




XTREME SIGNS & DESIGNS              XYZ CORPORATION                      YABES, ORLANDO
640 N FALLS BLVD                                                         2806 CORONADO AVE
WYNNE, AR 72396                                                          BIG SPRING, TX 79720




YABIAS, DAVID                       YABONI, LORI                         YABUKU, PAMELA
113 GRASS VALLEY DR                 801 ARROWOOD LANDING                 ADDRESS ON FILE
EVANSTON, WY 82930                  BLAIRSVILLE, GA 30512




YABUT, SHELLA                       YACKELL, DAVID R.                    YACKO, TRUDY L.
ADDRESS ON FILE                     ADDRESS ON FILE                      6115 MELODY RD NE
                                                                         CANTON, OH 44721




YAEGER, BRIAN A                     YAHYA, AIDA Y.                       YALDA, REEM S.
14903 S 88TH AVENUE                 ADDRESS ON FILE                      2511 CHESTNUT ST.
ORLAND PARK, IL 60462                                                    WAUKEGAN, IL 60087




YAMAMOTO, DON                       YAMASHITA, DEREK J.                  YAMHILL CCO
538 CLUB HOUSE DR.                  3094 LAKE DR, APT. G3                P.O. BOX 40328
APTOS, CA 95003                     MARINA, CA 93933                     PORTLAND, OR 97240




YAMNITZ, KAREN                      YANCEY CASSANDRE R L                 YANCEY GARLAND
6822 DEER CREEK                     5343 CHRISTOPHER DR                  1317 COUNTY RD 318
EDWARDSVILLE, IL 62025              OAK FOREST, IL 60452                 DAWSON, AL 35963-3848




YANCEY WHALEY                       YANCEY, CINDY                        YANCEY, PORSCHE D.
550 COUNTY ROAD 189                 205 COUNTY ROAD 762                  1006 NEWCASTLE CT
CEDAR BLUFF, AL 35959               HENAGAR, AL 35978                    OLD HICKORY, TN 37138




YANCEY, SHAUNA                      YANCEY-JOHNSON, RITA J.              YANEZ, CYNTHIA M.
106 DEBORANN DRIVE                  2320 ELISHA AVE                      2410 CARLETON DR
CARRIER MILLS, IL 62917             ZION, IL 60099                       BIG SPRING, TX 79720
YANEZ, NEREYDA           Case 20-10766-BLS    Doc 6
                                       YANEZ, TROY        Filed 04/07/20   Page 1952  of 1969
                                                                                YANG JOSEFINO
2111 EDGEWOOD DR                        18836 E WEBER RD                        1099 OLD FARM RD
WOODSTOCK, IL 60098                     MT VERNON, IL 62864                     ROUND LAKE, IL 60073




YANG, STEPHANIE                         YANIT, KAY H                            YANIT, KAY H.
338 ROYAL OAKS DR                       ADDRESS ON FILE                         ADDRESS ON FILE
WINDER, GA 30680




YANKE BIONCS CLINICS INC                YANKEY, CHRIS                           YAO WANG
303 W EXCHANGE ST                       903 W HOLMES ST                         19 LINWOOD AVENUE
AKRON, OH 44302-1708                    CHESTER, IL 62233-1220                  APT 5B
                                                                                BUFFALO, NY 14209




YARA, MIA C.                            YARBER, CHARLOTTE                       YARBERRY, STEVE
ADDRESS ON FILE                         720 LOWE RD                             ADDRESS ON FILE
                                        CROSSVILLE, TN 38572




YARBOROUGH, CRISSY K.                   YARBOROUGH, LEVI                        YARBRO, CHARLES
ADDRESS ON FILE                         ADDRESS ON FILE                         3920 ROGERS RD
                                                                                SCOTTS HILL, TN 38374




YARBRO, JUDITH                          YARBRO, PHILLIP G.                      YARBROUGH LISA
101 PARKVIEW CTS                        779 SFC 313                             ADDRESS ON FILE
LEXINGTON, TN 38351-0000                FORREST CITY, AR 72335




YARBROUGH, ALETTA N.                    YARBROUGH, ANGELA                       YARBROUGH, BILLY
299 COUNTY ROAD 892                     ADDRESS ON FILE                         507 GRANDVIEW DRIVE
COLLINSVILLE, AL 35961                                                          EDWARDSVILLE, IL 62025




YARBROUGH, CHARLES                      YARBROUGH, HEATHER I.                   YARBROUGH, JOANN
NEW HOPE, AL 35760                      ADDRESS ON FILE                         525 CATHERINE DR
                                                                                RED BUD, IL 62278




YARBROUGH, LISA G.                      YARBROUGH, MARLINA                      YARBROUGH, TAMIKO L.
ADDRESS ON FILE                         824 LASALLE DR                          38 BROADLEAF COVE
                                        CAHOKIA, IL 62206                       JACKSON, TN 38305




YARBROUGH, THERESA J.                   YARDE, BRIAN KEITH                      YARDE, BRIAN KEITH
10709 WEST INDAIN CREEK RD.             609 WYATT DRIVE                         ADDRESS ON FILE
SAN ANGELO, TX 76901                    ST PETERS, MO 63376
YARDLEY, MCKAYLA          Case 20-10766-BLS
                                        YARELL,Doc 6 Filed 04/07/20
                                               CARDOZA                Page 1953 of JAMES
                                                                           YARNELL, 1969
709 W CLARK ST                           P O BOX 665                       514 NORTH PLYMOUTH ST
GRANTSVILLE, UT 84029                    COLUMBUS, NM 88029                SANTA CRUZ, CA 95060




YARNIK, WENDY L.                         YARZA APRIL M                     YARZA, ANGELICA
ADDRESS ON FILE                          2005 WAVERLY PLACE                ADDRESS ON FILE
                                         WAUKEGAN, IL 60085




YASHBIR MEHTA AND ASHIMA MEHTA           YASIR MD, MEKKI                   YASUDA M.D., GREGORY
                                         222 S. GREENLEAF                  ADDRESS ON FILE
                                         SUITE 112
                                         GURNEE, IL 60031




YATES HENRY J                            YATES JILL                        YATES JULIANNE
P.O. BOX 242                             9508 CRYSTAL DRIVE                2829 IDAHO AVE
SYLVANIA, AL 35988-0242                  BUNKER HILL, IL 62014             GRANITE CITY, IL 62040




YATES, CARA L.                           YATES, CHARITY D.                 YATES, GAYLE
509 HOUSTON LOOP RD SW                   21 HUNTLEIGH WDS                  P.O. BOX 55
FORT PAYNE, AL 35968                     SAINT LOUIS, MO 63131             COBDEN, IL 62920




YATES, KATHY A.                          YATES, KELSEY                     YATES, LANNY
ADDRESS ON FILE                          3087 SAWYERS MILL RD              2522 NORTH HWY 3
                                         CAMDEN, TN 38320                  LOUISA, KY 41230




YATES, LULA                              YATES, MARK                       YATES, RANDALL A.
68 MADISONS FORK                         ADDRESS ON FILE                   6822 MANSLICK RD.
DANA, KY 41615                                                             CORDOVA, TN 38018




YATES, ROGER                             YATESVILLE STATE PARK             YAX, VELMA
10531 HWY 142                            ATTN: MISSY KENNEDY               3010 GRIFFIS CT
MT VERNON, IL 62864                      P.O. BOX 767                      AUGUSTA, GA 30906-4308
                                         LOUISA, KY 41230




YAZMIN PEREA                             YBARRA, ANGIE                     YBARRA, IRAN
P O BOX 486                              612 STATE ST                      ADDRESS ON FILE
COLUMBUS, NM 88029                       BIG SPRING, TX 79720




YBARRA, STEPHANIE N.                     YBARRA-SINGER, SANDRA             YEAGER, NICHOLAS C.
ADDRESS ON FILE                          1011 FRAN LIN PARKWAY             1219 N VINE ST
                                         MUNSTER, IN 46321                 ORRVILLE, OH 44667
YEAGER, NORMAN           Case 20-10766-BLS
                                       YEAGER,Doc 6 &Filed
                                               RONALD IDA 04/07/20       Page 1954 ofTINA
                                                                              YEAGER, 1969
13084 MANSHOLT RD                       6466 HIGHWAY 124                      ADDRESS ON FILE
BUNKER HILL, IL 62014                   MCKENZIE, TN 38201




YEAGLEY, KATHLEEN A.                    YEARGIN, BARBARA J.                   YEAST, CARLA J.
130 NANTAHALA LN APT C                  13333 HWY 44                          1290 N. SEMINARY
BLAIRSVILLE, GA 30512                   MARIANNA, AR 72360                    GALESBURG, IL 61401




YEDINAK, AMBER                          YEE, ALLEN Y.                         YEE, ALLEN Y.
ADDRESS ON FILE                         1556 MONTEREY CT                      ADDRESS ON FILE
                                        GURNEE, IL 60031




YEH, AMELIA Y., MD                      YEIMI, BUSTOS                         YEKATRINA FAYN
CHEST & SLEEP MEDICINE PA               5790 HONDURAS RD SE                   ADDRESS ON FILE
3210 ANTILLEY RD                        DEMING, NM 88030
ABILENE, TX 79606




YELEY, MICHELLE E.                      YELLOW CAB                            YELLOW PAGES UNITED
16 LUCKY LN                             4137 MARTINDALE RD NE                 P.O. BOX 50038
GRANITE CITY, IL 62040                  CANTON, OH 44705                      JACKSONVILLE, FL 32240-0038




YELLOW PAGES UNITED                     YELLOW PAGES, INC.                    YELLOW TRANSPORTATION, INC.
P.O.BOX 53282                           CORPORATE BILLING CENTER              P.O. BOX 730375
ATLANTA, GA 30355                       P.O. BOX 9950                         DALLAS, TX 75373-0333
                                        ANAHEIM, CA 92812




YELLOWTAIL MORGAN                       YEMANE, AZEB E.                       YEMM
1480 MARTINGALE ST                      5200 COE AVE 2128                     2195 N. HENDERSON ST
EUGENE, OR 97401-0000                   SEASIDE, CA 93955                     GALESBURG, IL 61401




YEN, CHIH J.                            YENNI, BRUCE                          YERBY SANDRA T
259 OAKWOOD DR                          416 N WOOSTER AVE                     126 WINNSTEAD DR
JACKSON, KY 41339                       STRASBURG, OH 44680                   LEESBURG, GA 31763




YESCO, LLC                              YESENIA, CAMPA                        YESENIA, TEJEDU
P.O. BOX 11676                          14901 TERMINI SAN LUIS PASS RD        3270 186TH ST
TACOMA, WA 98411                        GALVESTON, TX 77554-0000              LANSING, IL 60438-3256




YEUNG, DAHLIA F.                        YINGLING, STEPHANIE R.                YLAGAN NOVELYN
ADDRESS ON FILE                         420 SHERI AVE NE                      3070 CARYN LANE
                                        MASSILLON, OH 44646                   WAUKEGAN, IL 60085
YLAGAN, NOVELYN          Case 20-10766-BLS
                                       YLONDADoc 6 Filed 04/07/20
                                             G WHITE                        Page 1955  ofJEFFERSON
                                                                                 YMCA OF  1969     COUNTY
3070 CARYN LANE                        111 EAST WALKER ST                        1304 BROADWAY
WAUKEGAN, IL 60085                     AUGUSTA, GA 30901                         MT. VERNON, IL 62864




YMCA OF WEST STARK CO                  YMCA OF WESTERN STARK COUNTY              YMCA
131 TREMONT AVE SE                     131 TREMONT AVE SE                        130 SOUTH OAK
MASSILLON, OH 44646                    MASSILLON, OH 44646-6637                  RED BUD, IL 62278




YNIGUEZ, CHRISTOPHER D.                YNOSTROZA, TIMOTHY                        YOAKUM, LAURICA
ADDRESS ON FILE                        4145 N GOLD ST                            1104 MARION ST
                                       SILVER CITY, NM 88061                     CARTERVILLE, IL 62918




YOCUM, SHERI B.                        YODER, ABE                                YODER, BRIAN & RADELLE
435 WEST BURLINGTON STREET             3031 COUNTY ROAD 200                      6326 WEST ST JOHN AVENUE
PRAIRIE CITY, IL 61470                 DUNDEE, OH 44624                          GLENDALE, AZ 85308




YODER, CAMERON                         YODER, CARLA                              YOGESH, TEJPAL
2908 TOWNSHIP ROAD 190                 2456 MICHAEL WAY                          736 WILSON LANE
BALTIC, OH 43804                       WOOSTER, OH 44691                         HINSDALE, IL 60521




YOHO, JUDITH                           YOKEM, PHYLLIS                            YOKUM, LINDSAY
25 POND DR                             195 W MAPLE                               8746 GREENMEADOW AVE.
LOCK HAVEN, PA 17745                   ROSEVILLE, IL 61473                       CANAL FULTON, OH 44614




YOLANDA M SZOBONYA                     YOLANDA RICHARDS                          YOLONDA GILL
7824 TROPICAIRE BLVD                   3129 W 100TH PL                           P.O. BOX 1007
NORTH PORT, FL 34286-4014              EVERGREEN PK, IL 60805                    SUTHERLIN, OR 97479




YON, MATTHEW                           YONKER, ASHLEY E.                         YOON, ERIC
ADDRESS ON FILE                        210 FARMWAY DR SE                         ADDRESS ON FILE
                                       CLEVELAND, TN 37323




YOOST, TIMOTHY (PRS)                   YORE, DIANNA L.                           YORK CAPITAL MANAGEMENT
ADDRESS ON FILE                        8436 NIELSEN DRIVE                        767 FIFTH AVENUE, 17TH FLOOR
                                       TINLEY PARK, IL 60487                     NEW YORK, NY 10153




YORK CAPITAL MANAGEMENT, L.P.-FUND     YORK CAPITAL MANAGEMENT, L.P.-FUND        YORK CAPITAL MANAGEMENT, L.P.-FUND
MANAGER                                MANAGER                                   MANAGER
YORK CLO-1 LTD.                        YORK CLO-2 LTD.                           YORK CLO-3 LTD.
767 FIFTH AVENUE, 17TH FLOOR           767 FIFTH AVENUE, 17TH FLOOR              767 FIFTH AVENUE, 17TH FLOOR
NEW YORK, NY 10153                     NEW YORK, NY 10153                        NEW YORK, NY 10153
YORK CAPITAL MANAGEMENT, Case   20-10766-BLS
                           L.P.-FUND             Doc 6MANAGEMENT,
                                         YORK CAPITAL     Filed 04/07/20
                                                                    L.P.-FUND Page 1956   of 1969
                                                                                   YORK CAPITAL  MANAGEMENT, L.P.-FUND
MANAGER                                  MANAGER                                   MANAGER
YORK CLO-4 LTD.                          YORK CLO-5 LTD.                           YORK CLO-6 LTD.
767 FIFTH AVENUE, 17TH FLOOR             767 FIFTH AVENUE, 17TH FLOOR              767 FIFTH AVENUE, 17TH FLOOR
NEW YORK, NY 10153                       NEW YORK, NY 10153                        NEW YORK, NY 10153



YORK CAPITAL MANAGEMENT, L.P.-FUND       YORK CAPITAL MANAGEMENT, L.P.-FUND        YORK JR., KENNETH W.
MANAGER                                  MANAGER                                   ADDRESS ON FILE
YORK CLO-7 LTD.                          YORK GLOBAL FINANCE BDH, LLC
767 FIFTH AVENUE, 17TH FLOOR             767 FIFTH AVENUE, 17TH FLOOR
NEW YORK, NY 10153                       NEW YORK, NY 10153



YORK MEAGHAN                             YORK MEDICAL PHYSICS                      YORK RISK SERVICE GROUP INC
28381 MOUNT STEPHEN AVE                  22805-C SAVI RANCH PARKWAY                P.O. BOX 183188
CANYON CNTRY, CA 91387                   YORBA LINDA, CA 92887                     COLUMBUS, OH 43218-3188




YORK, DANIEL , DO                        YORK, DEBRA R.                            YORK, EMILY M.
550 MEDICAL CENTER DRIVE                 ADDRESS ON FILE                           210 N BENTLEY STREET
FORT PAYNE, AL 35968                                                               MARION, IL 62959




YORK, HENRY                              YORK, JEAN                                YORK, KARA R.
840 COUNTY ROAD 118                      2170 COUNTY ROAD 159                      ADDRESS ON FILE
FORT PAYNE, AL 35967                     FLAT ROCK, AL 35966




YORK, KIMBERLY                           YORK, MELINDA GAIL                        YORK, RICHARD
ADDRESS ON FILE                          3855 CO RD 326                            P.O. BOX 2727
                                         FLAT ROCK, AL 35966-5428                  BLUE RIDGE, GA 30513




YORK, TIMOTHY D.                         YORK, TIMOTHY D.                          YORK, WILHELMENIA
6285 HARRIS ROAD                         ADDRESS ON FILE                           5499 HWY 68
UNION CITY, TN 38261                                                               TURTLETOWN, TN 37391




YOSHIFUJI, CHIKAKO                       YOSHII, DOMINIQUE                         YOST, BARBARA
202 BANGOR CT                            102 MARCELA DRIVE                         1014 IRVINGTON AVE NE
HUBERT, NC 28539                         WATSONVILLE, CA 95076                     MASSILLON, OH 44646-4424




YOST, IRENE                              YOST, PAUL                                YOTHERS, JEFFREY
200 MARION AVE NW                        1632 W WILLOW ST                          28 WILLIAMSON HEIGHTS
MASSILLON, OH 44646                      COAL TOWNSHIP, PA 17866                   LOCK HAVEN, PA 17745




YOUDI, TIAN                              YOUELS, BRUCE                             YOUGFIELD, DOUGLAS
1 CLAY ST                                1426 KEUPER BLVD NE                       519 TOPAZ STREET
HAMLET, NC 28345                         MASSILLON, OH 44646-4344                  KEMMERER, WY 83101-0000
YOUMAN, SHANNON M.       Case 20-10766-BLS  Doc
                                       YOUMANS   6 KFiled 04/07/20
                                               GERRY                 Page 1957 of 1969
                                                                          YOUMANS KENNETH B
205 PINE ST                             955 W PIERCEVILLE RD              955 PIERCEVILLE RD
WAVELAND, MS 39576                      MCCAYSVILLE, GA 30555             MCCAYSVILLE, GA 30555




YOUMANS, ANGELYNNE                      YOUMANS, JESSICA A.               YOUMANS, KENNETH B.
109 W BUENA VISTA ST                    1073 W ROOFTOP DRIVE              955 PIERCEVILLE RD
BARSTOW, CA 92311                       MIDVALE, UT 84047                 MCCAYSVILLE, GA 30555




YOUNG AMBER L                           YOUNG ASHLEY DIANA                YOUNG ELECTRIC SIGN CO
319 HERSCHLER AVE                       2789 COUNTY RD 322                YESCO LLC
EVANSTON, WY 82930-5005                 HENAGAR, AL 35978-6505            P.O. BOX 11676
                                                                          TACOMA, WA 98411-6676




YOUNG KEALY                             YOUNG LUCAS A                     YOUNG MUSICIANS, INC.
2820 JETHRO CT                          234 GLEN CARBON RD                BOARD OF DIRECTORS
ZION, IL 60099                          GLEN CARBON, IL 62034             P.O. BOX 394
                                                                          EVANSTON, WY 82930




YOUNG NANCY S                           YOUNG PEOPLE IN RECOVERY          YOUNG SHARON L
122 YOUNG AVENUE                        150 ONEIDA STREET                 ADDRESS ON FILE
ANNA, IL 62906                          DENVER, CO 80220




YOUNG SR., TERRY O.                     YOUNG VICKI KAY                   YOUNG WILLIAM J
15247 PAGE AVE                          ADDRESS ON FILE                   7975 AL HIGHWAY 40
HARVEY, IL 60426                                                          HENAGAR, AL 35978




YOUNG, ALICIA M.                        YOUNG, AMANDA L.                  YOUNG, AMANDA
P.O. BOX 1958                           ADDRESS ON FILE                   ADDRESS ON FILE
BLUE RIDGE, GA 30513




YOUNG, ANNAMARIA                        YOUNG, ANNETRA D.                 YOUNG, ANTHONY M.
P.O. BOX 202                            16621 S ASHLAND                   ADDRESS ON FILE
ROWE, NM 87562                          MARKHAM, IL 60428




YOUNG, BETH                             YOUNG, BONNIE                     YOUNG, CARLA
2754 OLD KINGS BRIDGE ROAD              179 COTTONWOOD DR                 P.O. BOX 1193
NICHOLSON, GA 30565                     FRANKLIN, TN 37069                MESQUITE, NV 89024




YOUNG, CATINA R.                        YOUNG, CHRISTINE M.               YOUNG, CLYDE
821 N CHERRY ST APT. 4                  ADDRESS ON FILE                   ADDRESS ON FILE
OFALLON, IL 62269
YOUNG, COURTNEY D.     Case 20-10766-BLS
                                     YOUNG, Doc  6
                                            DANIEL        Filed 04/07/20   Page 1958
                                                                                YOUNG,of 1969
                                                                                       DIANE L.
150 WOODRUFF 381                      ADDRESS ON FILE                            ADDRESS ON FILE
MCCRORY, AR 72101




YOUNG, DONNA                          YOUNG, DORRIS T.                           YOUNG, DR. STEVEN
103 HARRISON ST                       208 BAKER ST                               510 LINCOLN DR
AVON, IL 61415                        MONROE, GA 30655                           HERRIN, IL 62948




YOUNG, ELIZABETH R.                   YOUNG, ELIZABETH                           YOUNG, ERIC
59 LEICESTER DRIVE B                  569 BLUE BIRD ROAD                         505 COUNTY RD
AKRON, OH 44319                       MINERAL BLUFF, GA 30559                    EVANSTON, WY 82930-2103




YOUNG, EUGENE                         YOUNG, GWEN                                YOUNG, HALI
714 MESA SPRINGS DR                   3960 N 570 W                               ADDRESS ON FILE
MESQUITE, NV 89027                    ERDA, UT 84074




YOUNG, HEATHER L.                     YOUNG, HEATHER                             YOUNG, JANILEE J.
ADDRESS ON FILE                       ADDRESS ON FILE                            ADDRESS ON FILE




YOUNG, JEAN                           YOUNG, JERRY E.                            YOUNG, JOANNE B.
2676 EAGLE WAY APT 7                  ADDRESS ON FILE                            ADDRESS ON FILE
HIGHLAND, IL 62249




YOUNG, JOHNNY DAVID                   YOUNG, JORDAN                              YOUNG, KAITLYN N.
944 COUNTY RD 494                     608 BAGGOTT ST                             ADDRESS ON FILE
FORT PAYNE, AL 35968                  ZEIGLER, IL 62999




YOUNG, KAREN D.                       YOUNG, KAREN                               YOUNG, KARI D.
ADDRESS ON FILE                       ADDRESS ON FILE                            807 NORTH LOCK AVE
                                                                                 LOUISA, KY 41230




YOUNG, KATHLEEN S.                    YOUNG, KATHY                               YOUNG, KENNETH A.
ADDRESS ON FILE                       4340 LAKESIDE BLVD                         ADDRESS ON FILE
                                      MONROE, GA 30655




YOUNG, KRISTIN L.                     YOUNG, LYDA                                YOUNG, M.D., CLAYTON W.
ADDRESS ON FILE                       161 DAVID STREET                           ADDRESS ON FILE
                                      MCKENZIE, TN 38201
YOUNG, MARCELLA A.       Case 20-10766-BLS
                                       YOUNG, Doc 6 Filed
                                              MARJORIE W. 04/07/20     Page 1959
                                                                            YOUNG,of 1969 K.
                                                                                   MELINDA
14401 S HOXIE                           698 GARNET DR                        ADDRESS ON FILE
BURNHAM, IL 60633                       ELLIJAY, GA 30540




YOUNG, MELISSA                          YOUNG, MONICA                        YOUNG, NATHAN C.
315 FRANCISCA DR                        281 KYLE RD                          ADDRESS ON FILE
FLORISSANT, MO 63031                    CRAWFORDVILLE, AR 72327




YOUNG, NINA                             YOUNG, RANDALL                       YOUNG, REBECCAH M.
1260 N JOHNSON STREET                   14365 SE BLUFF RD                    20549 EAST FAIRFIELD RD
KAHOKA, MO 65445                        SANDY, OR 97055                      BLUFORD, IL 62814




YOUNG, RYAN                             YOUNG, SHARON R.                     YOUNG, STEPHEN W
ADDRESS ON FILE                         ADDRESS ON FILE                      42168 N 4TH AVE
                                                                             ANTIOCH, IL 60002




YOUNG, TAMICA                           YOUNG, TERRANCE O.                   YOUNG,GEORGENE
910 SHERWOOD LAKE                       15108 CORNELL                        1127 SHRIVER AVE SE
APT 2A                                  DOLTON, IL 60419                     MASSILLON, OH 44646
SCHERERVILLE, IN 46375




YOUNGBLOOD, MARY                        YOUNGBLOOD, STEVE                    YOUNGKYU, CHOI
245 W SANBORN ST                        6486 STEPHENS ROAD                   693 SHERLING LAKE RD
GALESBURG, IL 61401                     YOUNG HARRIS, GA 30582               APT 108
                                                                             GREENVILLE, AL 36037




YOUNGMAN, MARK                          YOUNGMAN, TIMOTHY                    YOUNGQUIST, JESSICA
150 HOMESTEAD CT                        2065 TREMONT AVE SW                  1535 165TH AVE
EDWARDSVILLE, IL 62025                  MASSILLON, OH 44647                  CAMERON, IL 61423




YOUNGS PROFESSIONAL SERVICES            YOUNGS SECURITY SYSTEMS INC          YOUNGS UPHOLSTERY SERVICE
200 GREENLEAVES BOULEVARD               440 N 1ST ST                         P.O. BOX 174
SUITE 5                                 SPRINGFIELD, IL 62702                HWY 476
MANDEVILLE, LA 70448                                                         LOST CREEK, KY 41348




YOUNGS, BETH A.                         YOUNGSTOWN FIRE AND SAFETY           YOUNOMICS
ADDRESS ON FILE                         7310 ASSOCIATE AVE                   P.O. BOX 5865
                                        CLEVELAND, OH 44144                  ACCT 360001417873
                                                                             CAROL STREAM, IL 60197




YOUNT, BARBARA                          YOUR BRIDGE TO COMMUNICATION         YOUR PROFESSIONAL PARTNERS, INC
28 SNOWBIRD LANE                        DORIS MARIE DUNNAM                   712 N CARBON ST
GRANITE CITY, IL 62040                  P.O. BOX 367                         MARION, IL 62959-1025
                                        BIG SPRING, TX 79721
YOURMEMBERSHIP.COM INCCase 20-10766-BLS    Doc 6 Filed INC
                                    YOURMEMBERSHIP.COM.,     04/07/20   Page 1960 of 1969
                                                                             YOUSSEF, HISHAM T.
DEPT 3461                           DEPT 3461 P.O. BOX 123461                 340 SALLY HOLLER RD
P.O. BOX 123461                     DALLAS, TX 53123-4610                     HARRISBURG, IL 62946
DALLAS, TX 75312-3461




YOUWNA, DENT                          YOVAN, PHILLIP HENRY                    YOVANDICH, JOURDAN D.
2113 ASBURY SQ                        1838 PRASLIN STREET                     809 GLEN CROSSING RD
ATLANTA, GA 30346-0000                EUGENE, OR 97402                        GLEN CARBON, IL 62034




YOWELL, SUSAN M.                      YP                                      YU KYUNG SON
588 BRIDLE PATH CIRCLE                P.O. BOX 5010                           ADDRESS ON FILE
MESQUITE, NV 89034                    CAROL STREAM, IL 60197-5010




YU KYUNG                              YU MD, NELSON                           YU, YAN
ADDRESS ON FILE                       338 SELL LN                             ADDRESS ON FILE
                                      RICHLAND, WA 99352-0000




YUHAS, LASHANDRA D.                   YULA, LAURA ANN                         YUNG, HANNAH M.
45560 STATE HIGHWAYS 118 NORTH 9      21141 CEDARFALLS DR                     ADDRESS ON FILE
ALPINE, TX 79830                      SANTA CLARITA, CA 91350-0000




YUNG, HANNAH                          YURCHENKO, ALYONA                       YURECK, DARIN M.
ADDRESS ON FILE                       733 N MILLS ST                          2940 MARSHALL AVE
                                      CARRIER MILLS, IL 62917                 GRANITE CITY, IL 62040




YURINICH, TARA                        YUROCK, MARY                            YVONNE DE LA O
3024 SCENICWOOD LANE                  444 S 4TH ST                            P O BOX 1940
WOODRIDGE, IL 60517                   CASEYVILLE, IL 62232                    SILVER CITY, NM 88062




YVONNE GRIFFITH                       YVONNE PRIMROSE                         YZAGUIRRE, RACHEL
2518 10TH ST NW                       5335 MAIN ST SPACE 12                   ADDRESS ON FILE
CANTON, OH 44708-4227                 SPRINGFIELD, OR 97478




ZABINSKI, MORGAN                      ZACH DALIN, LLC                         ZACH HICKS
130 MERRY ACRES LANE                  1015 WASHINGTON AVE 503                 7965 STATE HWY 14
CARTERVILLE, IL 62918                 ST. LOUIS, MO 63101                     BENTON, IL 62812




ZACH, MICHELE                         ZACHA, BRENDA M.                        ZACHA, JENNA
P.O. BOX 1585                         ADDRESS ON FILE                         209 N. MAIN ST
BLUE RIDGE, GA 30513                                                          MORO, IL 62067
ZACHARY D BUCHANAN        Case 20-10766-BLS   Doc
                                        ZACHARY    6 SUTTLES
                                                DAVID  Filed 04/07/20   Page 1961 of REHMER
                                                                             ZACHARY 1969
740 COUNTY ROAD 300 N                    ADDRESS ON FILE                     425 WASHINGTON ST
WAYNE CITY, IL 62895                                                         RED BUD, IL 62278




ZACHARY STENDER, MD                      ZACHARY STEVENS                     ZACHARY ZVONAR
ADDRESS ON FILE                          ADDRESS ON FILE                     1171 BOND STREET
                                                                             CARLYLE, IL 62231




ZACHEM, SARAH                            ZACK PRODUCTS CORPORATION           ZACK, TIM
2568 EDGEWATER DRIVE                     P.O. BOX 1841                       8452 TRIPLE LAKES RD
EUGENE, OR 97401                         CRANBERRY TWP, PA 16066             DUPO, IL 62239




ZADAR TECHNOLOGIES                       ZADINA, NICOLE M.                   ZAGARELLA, CHRISTINA
2593 CENTER RD                           ADDRESS ON FILE                     65 RIVER MIST DR
HINCKLEY, OH 44233                                                           HOSCHTON, GA 30548




ZAGOTTA NICHOLAS C.                      ZAHEER MD, RABANI                   ZAHN, ALAN J.
2425 DUNDONALD LANE                      600 E WILLIAMS                      ADDRESS ON FILE
FLOSSMOOR, IL 60422                      BARSTOW, CA 92311




ZAHN, BETH A.                            ZAIDI, SYED                         ZAIZ, THOMAS J.
11262 3RD AVENUE                         ADDRESS ON FILE                     ADDRESS ON FILE
PLEASANT PRAIRIE, WI 53158




ZAIZ, TOM                                ZAJAC, MARK                         ZAK, ANNA
224 OAK RIDGE CT.                        65 OAKBROOKE                        2970 PRISCILLA AVE
FAIRVIEW HEIGHTS, IL 62208               TROY, IL 62294                      HIGHLAND PARK, IL 60035




ZAKKAR, MOHAMED, MD                      ZALESKI, JEFF C.                    ZALESKI, MARTIN
6081 KELLER DRIVE                        966 W 700 S                         1038 LILLY RD
BURR RIDGE, IL 60527                     TOOELE, UT 84074-2999               ALLIANCE, OH 44601-3856




ZAMBRANO GABRIEL                         ZAMEER, SAMINA                      ZAMMARELLI, CHRISTOPHER J.
16441 LOUIS AVE                          31 CONGRESSIONAL DR                 ADDRESS ON FILE
SOUTH HOLLAND, IL 60473                  LITTLE ROCK, AR 72210




ZAMMIT, JAMIE L.                         ZAMORA ANTONIO F                    ZAMORA RICARDO
2342 CUMBERLAND DRIVE                    2334 VERNON ST                      118 GRANDVIEW CT
TROY, MI 48085                           BLUE ISLAND, IL 60406               VOLO, IL 60020
ZAMORA, ALMA            Case 20-10766-BLS   Doc
                                      ZAMORA,    6 Filed
                                              CASSANDRA J. 04/07/20   Page 1962 ofEVER
                                                                           ZAMORA, 1969
36 JEANETTE WAY                        ADDRESS ON FILE                     334 E STRRET APT 1
WATSONVILLE, CA 95076                                                      SPRINGFIELD, OR 97477




ZAMORA, JOSEFINA R.                    ZAMORA, LAURIE                      ZAMORA, LETICIA
600 RIMROCK RD SPC 49                  ADDRESS ON FILE                     ADDRESS ON FILE
BARSTOW, CA 92311




ZAMORA, LORENA                         ZAMORA, LUPITA O.                   ZAMORA, MARIA J.
48 MONTEREY VISTA DR                   525 AIRPORT BLVD 5                  531 CENTER ST
WATSONVILLE, CA 95076                  WATSONVILLE, CA 95076               WATSONVILLE, CA 95076




ZAMORA, MELISA ANN A.                  ZAMORA, MICHAEL                     ZAMORA, RICCA
1651 NEWPORT COURT                     510 S. GRAND AVE BOX 21             450 MCBROOM AVE
SALINAS, CA 93906                      LAS VEGAS, NM 87701                 BARSTOW, CA 92311




ZAMORA, ROSARIO                        ZAMORA, SHELBY                      ZAMORA-BIBAY, DIVINA
DBA ROSARIOS RENTAL                    2065 BARCELONA CIR                  ADDRESS ON FILE
5855 ANGUS RD SE                       BARSTOW, CA 92311
DEMING, NM 88030




ZAMUDIO, LESLIE D.                     ZAND, SHEILA M.                     ZANDERS BRANDI
5206 BIG WILLS RD NW                   10403 LAKESHORE DR                  520 STEVEN DRIVE
FORT PAYNE, AL 35967-8434              PLEASANT PRAIRIE, WI 53158          RED BUD, IL 62278




ZANDERS, DENNIS                        ZANDERS, JILL                       ZANDERS, RUTH
10266 PINE CREST ROAD                  ADDRESS ON FILE                     605 TURNER DR
RED BUD, IL 62278                                                          MADISON, GA 30650




ZANE, RENZO                            ZANES PLUMBING & HEATING            ZAPANTA, JOEL S.
5 SUNSHINE DR                          1400 APACHE HILLS DR NW             2806 ANN DRIVE
LOCK HAVEN, PA 17745                   DEMING, NM 88030                    BIG SPRING, TX 79720




ZAPATA, BARBARA                        ZAPATA, LUZ G.                      ZAPATA, TERA D.
1100 1/2 SANTA CLARA                   404 WALLACE ST                      ADDRESS ON FILE
DEMING, NM 88030                       CHICAGO HEIGHTS, IL 60411




ZAPP ELECTRIC                          ZAPPIA, RYAN S.                     ZARATE, SAUL C
1131 LUNDA DR                          126 BOSTON AVENUE                   408 ALARGO DR. P.O. BOX 116
BARSTOW, CA 92311                      BEAUMONT, CA 92223                  LA MESA, NM 88044
ZARAZUA, MARICELA         Case 20-10766-BLS   Doc
                                        ZARECKI,    6 Filed 04/07/20
                                                 JEROME                 Page 1963  of 1969
                                                                             ZARINANA, MARITZA
ADDRESS ON FILE                          17327 CARLYLE CT                     1007 BERWICK BLVD
                                         TINLEY PARK, IL 60487                WAUKEGAN, IL 60085




ZAROGOZA, SUSAN C.                       ZASTANY, ROBERT                      ZASTOUPIL LORIN E
351 LAKESIDE DRIVE                       29 CAMDEN CT                         90255 FISH HATCHERY ROAD
STANSBURY PARK, UT 84074                 CROSSVILLE, TN 36558                 WALTERVILLE, OR 97489




ZATARAIN, LEOCADIA                       ZATKHEY, NATALIYA                    ZAVAGLIA, DAWN S.
832 COUNTY RD 1000                       30 LAKE BLVD                         ADDRESS ON FILE
VALLEY HEAD, AL 35989-3596               APT 674
                                         BUFFALO GROVE, IL 60089-4369




ZAVALA CELESTINA                         ZAVALA, ELSIE                        ZAVALA, JOANNA
116 ST THOMAS LANE                       619 N MARTIN AVE                     ADDRESS ON FILE
EAST SAINT LOUIS, IL 62206               WAUKEGAN, IL 60085




ZAVALA, REYNA                            ZAVALA, RIGOBERTO                    ZAVALA, RIGOBERTO
ADDRESS ON FILE                          ADDRESS ON FILE                      ADDRESS ON FILE




ZAVARELLI, MARY R                        ZAVASKI, ABIGAIL                     ZAWADA, CHESTER J.
OR JOHN ZAVARELLI                        3420 SE 2ND CT                       ADDRESS ON FILE
1912 31ST ST NW                          OCALA, FL 34471
CANTON, OH 44709-2701




ZAWODNIAK, JOAN M.                       ZAX CORPORATION                      ZAYA, NINEF E.
ADDRESS ON FILE                          P.O. BOX 706                         70 CONSTANCE LANE
                                         GREENLAND, NH 03840                  NORTHBROOK, IL 60062




ZAYATE LUTSIYA                           ZAYATS, LUTSIYA                      ZBE PROPERTIES, LLC
ADDRESS ON FILE                          ADDRESS ON FILE                      725 STATION CROSSING
                                                                              WATERLOO, IL 62298




ZBYNSKI, MARCINE                         ZDORNE, TREVOR                       ZEAFLA, ALLISON C.
4468 W BUTTERNUT LN                      13345 E. ARKANSAS AVE.               ADDRESS ON FILE
WAUKEGAN, IL 60085                       AURORA, CO 80012




ZEBEDE, KRISTINE                         ZEBOSKI, BRENDA                      ZEBRA TECHNOLOGIES CORPORATION
2001 GARDEN AVE. APT. 5                  1140 MIDWAY COURT                    6048 EAGLE WAY
EUGENE, OR 97403                         MARION, IL 62959                     CHICAGO, IL 60678
                       Case 20-10766-BLS
ZEBRA TECHNOLOGIES CORPORATION              Doc 6 Filed
                                     ZEBRA TECHNOLOGIES       04/07/20 LLC
                                                           INTERNATIONAL Page 1964   of 1969
                                                                              ZEBRA TECHNOLOGIES    INTERNATIONAL,
6048 EAGLE WAY                       6048 EAGLE WAY                           LLC
CHICAGO, IL 60678-1060               CHICAGO, IL 60678-1060                   6048 EAGLE WAY
                                                                              CHICAGO, IL 60678-1060




ZEFON INTERNATIONAL                     ZEGLIN, DIANA                           ZEHIREVA, SVETOZARA S.
5350 SW 1ST LANE                        1415 BURR OAK ROAD                      1704 GREENLEAF AVE
OCALA, FL 34474                         HOMEWOOD, IL 60430                      DES PLAINES, IL 60018




ZEHNDER, WILLIAM                        ZEIGER, DANNY                           ZEIGLER, VICKI C.
407 BLUEBIRD LN                         2209 KASKASKIA RD                       ADDRESS ON FILE
TROY, IL 62294                          FULTS, IL 62244




ZEIMET, WILMA                           ZEISEL, TENLEY                          ZELASKO, MATTHEW
2916 S 13TH STREET                      8451 GATE PARKWAY W                     22 BEL AIR DR
C/O JAMES JOHNSON                       347                                     CENTRALIA, IL 62801
MT. VERNON, IL 62864                    JACKSONVILLE, FL 32216




ZELAYA MARADIAGA, DANIEL E.             ZELENY, GEORGE Y.                       ZELEZNAK, ADRIENNE
13125 W PICKFORD AVENUE                 4225 JADE ST APT 2                      10546 BROOKS LN UNIT C6
WADSWORTH, IL 60083                     CAPITOLA, CA 95010                      CHICAGO RIDGE, IL 60415




ZELIS PAYMENTS                          ZELL, SHERRY                            ZELLA, GRAVES
18167 US HIGHWAY 19 NORTH               176 MOUNTAIN STONE TRL                  3129 STATE HIGHWAY 137
SUITE 300                               LOCK HAVEN, PA 17745                    LENORAH, TX 79749-4008
CLEARWATER, FL 33764




ZELLER CONSTRUCTION INC                 ZELLER TECHNOLOGIES, INC.               ZELLERS, MARTIN
11732 LONGSTREET ROAD                   4250 HOFFMEISTER AVENUE                 3575 US HWY 17
MARION, IL 62959                        ST. LOUIS, MO 63125                     WILLIAMSTON, NC 27892-8211




ZELMA, OTTO                             ZELMA, PRESLEY                          ZELNIK REALTY GROUP
11580 MILLERSBURG RD SW                 462 SHAFTSBURY RD                       NATIONAL UC REALTY
MASSILLON, OH 44647-7208                LEXINGTON, KY 40505                     5401 W KENNEDY BLVD 540
                                                                                TAMPA, FL 33609-0000




ZELPHA ANDERSON                         ZEMAN, ALICIA H.                        ZEMAN, SARAH
124 LAKE WARREN DR                      1244 ACKERMAN DR                        7225 WEST 105TH STREET APT. 2A
MONMOUTH, IL 61462                      GRANITEVILLE, SC 29829-4094             PALOS HILLS, IL 60465




ZENA I. MONJI, M.D.                     ZENDEJAS, MARISOL                       ZENGO, STACEY
ADDRESS ON FILE                         14905 S SAN FRANCISO                    1131 BRIGHTON LANE
                                        POSEN, IL 60469                         BOGART, GA 30622
ZENITH, THE              Case 20-10766-BLS   Doc SOLUTIONS
                                       ZENO OFFICE 6 Filed INC
                                                           04/07/20   Page 1965   of 1969
                                                                           ZENZ, CATHY
P.O. BOX 1558                           P.O. BOX 865120                    3545 WOODLAWN
SARASOTA, FL 34230                      ORLANDO, FL 32886                  GURNEE, IL 60031




ZEPEDA, EDDIE DBA PRIMECARE             ZEPP, DAVID                        ZEPTOMETRIX CORPORATION
ORTHOTICS                               2020 RIDGECREST DR NW              878 MAIN STREET
1401 S DON ROSER STE E2                 MASSILLON, OH 44646                BUFFALO, NY 14202
LAS CRUCES, NM 88011




ZERBE, REBECCA                          ZERMENO, ILSE                      ZEROWET, INC
363 BREWERY HOLLOW RD                   3406 MARSHFIELD BLVD               P.O. BOX 4375
LOCK HAVEN, PA 17745                    PARK CITY, IL 60085                PALOS VERDES PENINSULA, CA 90274




ZERTUCHE, PAIGE N.                      ZESCHKE, LISA A.                   ZETA PHI BETA SORORITY INC
ADDRESS ON FILE                         707 MCKINLEY ST                    P.O. BOX 9028
                                        ANNA, IL 62906                     WAUKEGAN, IL 60079-9028




ZEUS SCIENTIFIC, INC                    ZHAO, NIANZHEN                     ZHIZHEN, ZHANG
P.O. BOX 38                             407 MEADOW RIDGE LANE              110 E PINE ST
RARITAN, NJ 08869-0038                  PROSPECT HEIGHTS, IL 60070         DEMING, NM 88030




ZHORNE, JEAN M.                         ZHU, TONG MD                       ZIAN, ROSARIO
ADDRESS ON FILE                         ADDRESS ON FILE                    11734 S ARTESIAN AVE
                                                                           CHICAGO, IL 60655




ZIARNEK, NICOLE R.                      ZICKUS, JOAN K.                    ZICKUS, MEGHAN
10146 AVA ROAD                          ADDRESS ON FILE                    2714 CABIN CREEK CT
AVA, IL 62907                                                              EDWARDSVILLE, IL 62025




ZIEGELASCH, PAULA                       ZIEGELE, MARY                      ZIEGENHAGEL, MARK F.
87762 SALTAIRE ST                       4253 KENWOOD AVE                   4654 DULCINEA DRIVE
FLORENCE, OR 97439                      GURNEE, IL 60031                   LAS CRUCES, NM 88005




ZIEGLER JR, RAYMOND F.                  ZIEGLER, GRACE                     ZIELINSKI, ROBERT
101 LYNN ST                             2720 STRATFORD LANE                ADDRESS ON FILE
P.O. BOX 315                            GRANITE CITY, IL 62040
VICTORIA, IL 61485




ZIELINSKI, TAYLOR                       ZIELINSKY ROBERT EARL              ZIELKE, WHITNEY
25542 W CHESNEY DR                      ADDRESS ON FILE                    1403 MONROE ST
LAKE VILLA, IL 60046                                                       GALESBURG, IL 61401
ZIERLE, NORMA D.            Case 20-10766-BLS
                                          ZIERLE, Doc 6 D. Filed 04/07/20
                                                  NORMA                       Page 1966   of DESIREE
                                                                                   ZILLIGEN, 1969
163 EMILY WAY                               P.O. BOX 850                            ADDRESS ON FILE
MESQUITE, NV 89027                          MESQUITE, NV 89024




ZIMMER 0133                                 ZIMMER BIOMET 0165                      ZIMMER BIOMET
P.O. BOX 840166                             14235 COLLECTIONS CENTER DR             675 MASSACHUSETTS AVE 12FL
DALLAS, TX 75284-0166                       CHICAGO, IL 60693                       CAMBRIDGE, MA 02139




ZIMMER INC                                  ZIMMER US INC                           ZIMMER US INC
14235 COLLECTIONS CENTER DR                 14235 COLLECTIONS CTR DR                200 W OHIO AVE
CHICAGO, IL 60693                           CHICAGO, IL 60693                       DOVER, OH 44622




ZIMMER US INC                               ZIMMER US INC                           ZIMMER US INC
75 REMITANCE DR                             P.O. BOX 840166                         ZIMMER BIOMET
STE 3283                                    DALLAS, TX 75284-0166                   14235 COLLECTIONS CNTR DR
CHICAGO, IL 60675-3283                                                              CHICAGO, IL 60693




ZIMMER US                                   ZIMMER US, INC - SPINE DEVISION         ZIMMER US, INC
14235 COLLECTION CENTER DR                  75 REMITTANCE DRIVE SUITE 6931          14235 COLLECTIONS CENTER
CHICAGO, IL 60693                           CHICAGO, IL 60675-6931                  CHICAGO, IL 60693




ZIMMER US, INC                              ZIMMER US, INC. 0186                    ZIMMER US, INC. 1531
75 REMITTANCE DRIVE                         P.O. BOX 277530                         P.O. BOX 277530
SUITE 6931                                  ATLANTA, GA 30384-5730                  ATLANTA, GA 30384-5730
CHICAGO, IL 60675-6931




ZIMMER US, INC. 1706 Z716                   ZIMMER US, INC.                         ZIMMER US, INC.
P.O. BOX 277530                             345 EAST MAIN STREET                    JORDAN HOWELL, NATIONAL ACCOUNT
ATLANTA, GA 30384-5730                      WARSAW, IN 46580                        MANAGER
                                                                                    345 E MAIN STREET
                                                                                    WARSAW, IN 46581



ZIMMER US, INC.                             ZIMMER US, INC./30                      ZIMMER USA 1706
P.O. BOX 277530                             POB 277530                              14235 COLLECTIONS CENTER DRIVE
ATLANTA, GA 30384-7530                      ATLANTA, GA 30384-7530                  CHICAGO, IL 60693




ZIMMER, DANIEL B.                           ZIMMER, HOLLY                           ZIMMER, INC.
996 TROUT GULCH                             8406 HILLTOP DR                         P.O. BOX 277530
APTOS, CA 95003                             TROY, IL 62294                          ATLANTA, GA 30384-7530




ZIMMER, NICOLE                              ZIMMERLY, DORIS E.                      ZIMMERMAN BRIANNA MICHEL
8691 ST. LEOS RD                            9456 PLEASANT HOME RD                   4141 E LAKE DR
RUMA, IL 62278                              STERLING, OH 44276                      GRANITE CITY, IL 62040
ZIMMERMAN, BARBARA        Case 20-10766-BLS   Doc CHASE
                                        ZIMMERMAN, 6 Filed 04/07/20      Page 1967  of 1969
                                                                              ZIMMERMAN, KATE
303 MARY ST APT 1                        163 CARTER RD                        113 GROVE STREET
JONESBORO, IL 62906                      SUNBURY, PA 17801                    ANNA, IL 62906




ZIMMERMAN, PAUL                          ZIMMERMAN, THOMAS                    ZIMMERMAN, THOMAS
1633 DELMAR                              1236 E WHITLOCK                      84074
GRANITE CITY, IL 62040                   SALT LAKE CITY, UT 84106




ZINGELMAN, JOHN S.                       ZINK, CAROL                          ZINSCHLAG JENNIFER
968 E HIGH NOON CIR.                     2847 FASNACHT CR NW                  7747 PRAIRIETOWN RD
WASHINGTON, UT 84780                     MASSILLON, OH 44646-0100             WORDEN, IL 62097




ZINSCHLAG, RYAN                          ZINSER, CINDY L.                     ZINSERLING, BRIAN M.
7747 PRAIRIETOWN RD                      206 TOWLER DR                        24351 BOLTON HILL RD.
WORDEN, IL 62097                         LOGANVILLE, GA 30052                 VENETA, OR 97487




ZINSERLING, DIXIE S.                     ZINSMEISTER, PAULA M.                ZION TOWNSHIP
ADDRESS ON FILE                          4645 7TH STREET S.W.                 1015 27TH STREET
                                         CANTON, OH 44710                     ZION, IL 60099




ZION UNITED CHURCH OF CHRIST             ZIP TRANSPORTATION, LLC              ZIPFEL, TYLER
930 WEST CHERRY                          5530 W 110TH ST, UNIT 6              ADDRESS ON FILE
MARION, IL 62959                         OAK LAWN, IL 60453




ZIPLINE MEDICAL INC                      ZIPRECRUITER INC                     ZIRILLO, SIERRA
747 CAMDEN AVE                           ATTN: ACCTS RECEIVABLE               1110 E MAIN ST
SUITE A                                  401 WILSHIRE BLVD, 11TH FLOOR        LOUISVILLE, OH 44641
CAMPBELL, CA 95008-0000                  SANTA MONICA, CA 90401




ZIRINO, DEBORAH A.                       ZIRKELBACH, DAVID                    ZIRKLE, DAVID L.
10806 CANTERBURY DR                      1301 HILL ST                         12950 W 173RD AVE
MOKENA, IL 60448                         MT VERNON, IL 62864                  LOWELL, IN 46356




ZIRMED INC                               ZITEK, DICK GERALD                   ZIVO, ALEXIS
1311 SOLUTIONS CENTER                    88597 KNIGHT RD                      235 AVONELLE DR
CHICAGO, IL 60677-1311                   VENETA, OR 97487                     CHICAGO HEIGHTS, IL 60411




ZNIDERSIC, GARY F.                       ZOBAKU, ACHOLONU                     ZOCHOWSKI GREGORY ADAM
1317 CHESTNUT ST                         223 CAMPUS VILLAGE                   376 SO 58TH ST
WAUKEGAN, IL 60085                       LOCK HAVEN, PA 17745                 SPRINGFIELD, OR 97478
                      Case 20-10766-BLS
ZOELLER EDUCATION SERVICES                 Doc
                                    ZOELLICK     6 MDFiled 04/07/20
                                             DAVID                    Page 1968  of 1969
                                                                           ZOELLICK, DAVID
1600 LISA LANE                      1926 DARRELL STREET                     1926 DARNELL STREET
MARION, IL 62959                    LIBERTYVILLE, IL 60048                  LIBERTYVILLE, IL 60048




ZOELLNER, LESLIE                     ZOEPHEL, EDNA S.                       ZOHFELD, KEVIN P.
301 NORTH MARKET                     2117 ESHCOL AVE                        9094 141ST ST
SPARTA, IL 62286                     ZION, IL 60099                         SEMINOLE, FL 33776




ZOHO CORPORATION 4926                ZOLDOCK, HAROLD                        ZOLFO, MICHAEL
P.O. BOX 894926                      363 EVERGREEN LANE                     2634 W 122ND ST
LOS ANGELES, CA 90189-4926           MINERAL BLUFF, GA 30559                BLUE ISLAND, IL 60406




ZOLL LIFECOR CORP                    ZOLL MEDICAL COPR./30                  ZOLL MEDICAL CORPORATION
121 GAMMA DRIVE                      POB 27028                              269 MILL ROAD
PITTSBURGH, PA 15238-2919            NEW YORK, NY 10087-7028                CHELMSFORD, MA 01824-4105




ZOLL MEDICAL CORPORATION             ZOLL MEDICAL                           ZOLL SERVICES, LLC
P.O. BOX 27028                       P O BOX 27028                          121 GAMMA DRIVE
NEW YORK, NY 10087-7028              NEW YORK, NY 10087-7028                PITTSBURGH, PA 15238-2919




ZOLLA, BRIAN                         ZOLLIE, OWENS                          ZOLLINGER IMMIGRATION, A LAW CORP
3420 LAUREN AVE NW                   62 BLUEBERRY DR                        P.O. BOX 1029
MASSILLON, OH 44646                  BREWTON, AL 36426                      HARVEY, LA 70059-1029




ZOLPER-PECK, JENNIFER                ZONA, LIVESAY                          ZOOM MEDIA CORP
ADDRESS ON FILE                      29917 HIGH ST                          ATTN: ACCOUNTS RECEIVABLE
                                     CENTRALIA, IL 62801                    8 PENN CENTER WEST SUITE 100
                                                                            PITTSBURGH, PA 15276-0137




ZOOM VIDEO COMMUNICATIONS INC        ZOPP DANIELLE                          ZORGER, BARBARA A.
P.O. BOX 398843                      500 E MARY DR                          956 17TH ST NE
SAN FRANCISCO, CA 94139-8843         TROY, IL 62294                         MASSILLON, OH 44646




ZORNES, TAMMY                        ZOTTA, ANNA                            ZOTZ, SANDRA
165 20TH NE STREET                   4220 2ND ST NW                         10450 FAUST ROAD
MASSILLON, OH 44646                  CANTON, OH 44708-5404                  LEBANON, IL 62254




ZOZAYA, SADIE L.                     ZSAKO, BLANCA Y.                       ZUBAY, DONNA L.
921 NE SAVAGE STREET                 ADDRESS ON FILE                        ADDRESS ON FILE
GRANTS PASS, OR 97526
ZUBOVICH, VICTORIA G.     Case 20-10766-BLS   Doc DAVID
                                        ZUCKERMAN, 6 Filed 04/07/20        Page 1969 of 1969
                                                                                ZUERCHER JENNIFER L
ADDRESS ON FILE                          4949 ASHLEY WAY                         1705 PARTRIDGE PL
                                         ERDA, UT 84074                          EDWARDSVILLE, IL 62025




ZULLI, KIMBERLY A.                       ZULU HEALTH INC                         ZUMWALT, JOLI M.
4839 15TH ST. NW                         625 FAIR OAKS AVE SUITE 260             2940 HWY 418 SW
CANTON, OH 44708                         SOUTH PASADENA, CA 91030                DEMING, NM 88030




ZUNIGA, ALFREDO                          ZUNIGA, GLADYS                          ZUNIGA, MERCEDES B.
ADDRESS ON FILE                          ADDRESS ON FILE                         315 S JACKSON ST
                                                                                 WAUKEGAN, IL 60085




ZUNIGA, MIGUEL JR                        ZUNIGARAMIREZ, JOSEFINA                 ZUNIGNA JUAN
280 55TH ST APT C12                      622 N MARTIN AVE                        40 HANCOCK DRIVE
FORT PAYNE, AL 35967-3020                WAUKEGAN, IL 60085                      SCOTTSBORO, AL 35769




ZUPKUS, DIANA L.                         ZURCHER, WILLIE J.                      ZURCHER-JOYCE, VICKIE
ADDRESS ON FILE                          P.O. BOX 4                              31708 SAILORS CV
                                         WILMOT, OH 44689-0004                   AVON LAKE, OH 44012




ZUREK, HEATHER A.                        ZURICH - NORTHEAST, MASE & WEST         ZURICH AMERICAN INSURANCE COMPANY
266 ASPEN DR                             REGIONAL UNDERWRITING REGIONAL          1299 ZURICH WAY
BEECHER, IL 60401                        MANAGER                                 SCHAUMBURG, IL 60196
                                         4 WORLD TRADE CENTER
                                         150 GREENWICH ST., FLOOR 53
                                         NEW YORK, NY 10007

ZURICH NORTH AMERCIA                     ZURITA, DOUGLAS                         ZWALD, AMY
1299 ZURICH WAY                          ADDRESS ON FILE                         165 VALLEY VIEW DR
SCHAUMBURG, IL 60196-1056                                                        JERSEY SHORE, PA 17740-8528




ZWANZIGER, MARCIA M.                     ZWICK PARTNERS LP AND APARNA RAO,       ZWICK PARTNERS LP
ADDRESS ON FILE                          INDIVIDUALLY AND ON BEHALF OF ALL       BRAMLETT LAW OFFICES ATTN: PAUL KENT
                                         OTHERS SIMILARLY SITUATED               BRAMLETT
                                         BRAMLETT LAW OFFICES ATTN: PAUL KENT    40 BURTON HILLS BLVD., STE 200
                                         BRAMLETT                                P.O. BOX 150734
                                         40 BURTON HILLS BLVD., STE 200          NASHVILLE, TN 37215
                                         P.O. BOX 150734
                                         NASHVILLE, TN 37215

ZWISSLER, MARCIA C.                      ZYCHOWSKI, DAVID A.                     ZYGA TECHNOLOGY, INC
177 RAINBOW DR LOT 7780                  3357 COLUMBIA AVE                       5600 ROWLAND ROAD, SUITE 200
LIVINGSTON, TX 77399                     MERCED, CA 95340                        MINNETONKA, MN 55343




ZYNX HEALTH INC
P.O. BOX 404246
ATLANTA, GA 30384-4246




Total: 59008
